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   2   UNITED STATES BANKRUPTCY COURT
   3   DISTRICT OF DELAWARE

   4   - - - - - - - - - - - - - - - - - - - - -x
   5   In the Matter of:

   6   HIGHLAND CAPITAL MANAGEMENT, L.P.,                Case No.

   7               Debtor.                               19-12239(CSS)

   8   - - - - - - - - - - - - - - - - - - - - -x
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  10
  11                   United States Bankruptcy Court

  12                   824 North Market Street

  13                   Wilmington, Delaware
  14
  15                   December 2, 2019

  16                   10:07 AM
  17
  18

  19   B E F O R E:

  20   HON. CHRISTOPHER S. SONTCHI

  21   CHIEF U.S. BANKRUPTCY JUDGE

  22
  23   ECR OPERATOR:    LESLIE MURIN

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   2   Motion for Entry of an Order (I) Authorizing Bradley D. Sharp
   3   to Act as Foreign Representative Pursuant to 11 U.S.C. Section
   4   1505 and (II) Granting Related Relief (Docket No. 68).
   5

   6   Motion of the Official Committee of Unsecured Creditors for

   7   Entry of an Order Authorizing Filing Under Seal of the Omnibus

   8   Objection of the Official Committee of Unsecured Creditors to
   9   the Debtor's (1) Motion for Final Order Authorizing Continuance

  10   of the Existing Cash Management System, (II) Motion to Employ
  11   and Retain Development Specialists, Inc. to Provide a Chief

  12   Restructuring Officer, and (III) Precautionary Motion for

  13   Approval of Protocols for "Ordinary Course" Transactions
  14   (Docket No. 123).

  15
  16   Motion of Debtor for Entry of Interim and Final Orders
  17   Authorizing Debtor to File Under Seal Portions of Its Creditor

  18   Matrix Containing Employee Address Information (Docket No. 8).

  19
  20   Debtor's Application for an Order Authorizing the Retention and

  21   Employment of Foley Gardere, Foley & Lardner LLP as Special

  22   Texas Counsel, Nunc Pro Tunc to the Petition Date (Docket No.
  23   69).

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   2   Debtor's Application for an Order Authorizing the Retention and
   3   Employment of Lynn Pinker Cox & Hurst LLP as Special Texas
   4   Litigation Counsel, Nunc Pro Tunc to the Petition Date (Docket
   5   No. 70).

   6

   7   Motion of Debtor for Entry of Interim and Final Orders

   8   Authorizing (A) Continuance of Existing Cash Management System
   9   and Brokerage Relationships, (B) Continued Use of the Prime

  10   Account, (C) Limited Waiver of Section 345(b) Deposit and
  11   Investment Requirements, and (D) Granting Related Relief

  12   (Docket No. 5).

  13
  14   Motion Pursuant to 11 U.S.C. Sections 105(a) and 363(b) to

  15   Employ and Retain Development Specialists, Inc. to Provide a

  16   Chief Restructuring Officer, Additional Personnel, and
  17   Financial Advisory and Restructuring-Related Services, Nunc Pro

  18   Tunc as of the Petition Date (Docket No. 75).

  19
  20   Precautionary Motion of the Debtor for Order Approving

  21   Protocols for the Debtor to Implement Certain Transactions in

  22   the Ordinary Course of Business (Docket No. 77).
  23

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   2   Motion of the Official Committee of Unsecured Creditors for an
   3   Order Transferring Venue of This Case to the United States
   4   Bankruptcy Court for the Northern District of Texas (Docket No.
   5   86).

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  25   Transcribed by:     Clara Rubin




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  10          JEFFREY N. POMERANTZ, ESQ.
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  14          Office of the United States Trustee

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    7   JENNER & BLOCK

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   10         TERRI L. MASCHERIN, ESQ.
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    9   BY:   BRIAN P. SHAW, ESQ.

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   12   SCHULTE ROTH & ZABEL LLP

   13         Attorneys for CLO Entities, Intertrust Entities
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   18         Attorneys for Acis Capital Management GP, et al.

   19   BY:   RAKHEE V. PATEL, ESQ.

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    2   ALSO PRESENT:
    3         ISAAC D. LEVENTON, ESQ., Asst. General Counsel, Highland
    4         Capital Management
    5         FRANK WATERHOUSE, Partner and CFO, Highland Capital

    6         Management

    7         BRADLEY SHARP, Pres. and CEO, Development Specialists,

    8         Inc.
    9         FRED CARUSO, COO, Development Specialists, Inc.

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    1                           P R O C E E D I N G S
    2            THE CLERK:    All rise.

    3            THE COURT:    Please be seated.

    4            MR. O'NEILL:    Good morning, Your Honor.
    5            THE COURT:    Good morning.

    6            MR. O'NEILL:    James O'Neill, Pachulski Stang Ziehl &

    7   Jones, here today on behalf of the debtor, Highland Capital

    8   Management.    With me, Your Honor, at counsel table is Jeff
    9   Pomerantz, Ira Kharasch, John Morris, Greg Demo, and Max

   10   Litvak, representing the debtor.      Also in the courtroom with
   11   us, from our client, Isaac Leventon and Frank Waterhouse and,

   12   from DSI, Brad Sharp and Fred Caruso.

   13            THE COURT:    Welcome.
   14            MR. O'NEILL:    Your Honor, we have a number of matters

   15   on the agenda today, but we are going to proceed with item

   16   number 12 on the agenda, which is the committee's venue motion.
   17   So I will yield the podium to them.

   18            THE COURT:    Okay.

   19            MR. CLEMENTE:    Good morning, Your Honor.

   20            THE COURT:    Good morning.

   21            MR. CLEMENTE:    Matthew Clemente from Sidley Austin,

   22   proposed counsel to the official committee of unsecured
   23   creditors.    With me here today, my colleagues Dennis Twomey and

   24   Penny Reid, along with our co-counsel from Young Conaway, Mike

   25   Nestor and Sean Beach.




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    1             Your Honor, we have filed our venue motion.       We
    2   believe that venue -- it's appropriate to transfer venue to the

    3   bankruptcy court in the District of Texas for the reasons that

    4   we laid out in the motion.     Based on Your Honor's --
    5   discussions with Your Honor this morning, we understand that we

    6   would proceed with what I believe would be a short proffer from

    7   the debtor, we would have an opportunity to cross, and then we

    8   would proceed to argument from there.       If that's acceptable to
    9   Your Honor, that's --

   10             THE COURT:   That's fine.     Thank you.
   11             MR. CLEMENTE:    -- that's the way we'd proceed.

   12             THE COURT:   Yes.

   13             MR. CLEMENTE:    Thank you, Your Honor.
   14             MR. POMERANTZ:    Good morning, Your Honor.     Jeff

   15   Pomerantz, Pachulski Stang Ziehl & Jones, on behalf of the

   16   debtor.   We'd also like at this time, Your Honor, to move into
   17   evidence Exhibits A through U, except for Exhibit G.        Exhibit G

   18   is one of those documents that we refer to in chambers as would

   19   be subject to seal.    We don't need to refer to it in connection

   20   with the venue motion.     But if Your Honor would like, I can

   21   approach with a binder containing the --

   22             THE COURT:   Yeah, I don't have those.
   23             MR. POMERANTZ:    -- exhibits.    There have been no

   24   objections to them.

   25             MR. POMERANTZ:    Your Honor, if Mr. Sharp were called




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    1   to testify, he would testify --
    2              THE COURT:   Hang --

    3              MR. POMERANTZ:    Oh, sorry.

    4              THE COURT:   Hang on.     Okay.
    5              MR. POMERANTZ:    Okay.

    6              THE COURT:   Look at the documents.        It's the first

    7   I've seen them.

    8        (Pause)
    9              THE COURT:   So you're moving A through U, except for

   10   G?
   11              MR. POMERANTZ:    Correct, Your Honor.

   12              THE COURT:   Any objection?

   13              MR. CLEMENTE:    Sorry, Your Honor, one --
   14              THE COURT:   No; yeah, that's fine.

   15              MR. CLEMENTE:    No objection, Your Honor.

   16              THE COURT:   All right, they're admitted without
   17   objection, other than G.      G is not admitted at this time.

   18        (Debtors' Exhibits A through U, except for Exhibit G, were

   19   hereby received into evidence, as of this date.)

   20              THE COURT:   All right, you may proceed with the

   21   proffer.

   22              MR. POMERANTZ:    Thank you, Your Honor.
   23              If Mr. Sharp were called to testify, he would testify

   24   that he is the proposed chief restructuring officer of the

   25   debtor; he's also the president of Development Specialists,




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    1   Inc., a financial advisory firm.      He would testify that he's
    2   been a restructuring professional with over twenty-five years

    3   of experience as a trustee, a chief restructuring officer, and

    4   a financial advisor, in a myriad of industries.       He would
    5   testify that he has been appointed as chief restructuring

    6   officer in four cases in Delaware, including In re Variant

    7   before Judge Shannon, In re Woodbridge before Judge Carey, In

    8   re WL Homes before Judge Shannon, and In re Beverly Hills
    9   Bancorp before Judge Carey.

   10            He would testify that he has a national practice, he's
   11   physically headquartered in Los Angeles, and it would be as

   12   convenient for him to travel to this court in Delaware than it

   13   would be for him to travel to Dallas.      He would testify that
   14   the debtor's counsel, Pachulski Stang Ziehl & Jones, has

   15   offices in Delaware and, if the case were transferred, the

   16   debtor would need to retain local counsel in Dallas.
   17            He would testify that he was initially engaged by the

   18   debtor on October 7, 2019 and that, prior to his engagement as

   19   a CRO, he had no prior involvement with Highland or any of its

   20   senior management employees or principals.       He would testify

   21   that he was introduced to Highland by Pachulski Stang Ziehl &

   22   Jones.
   23            He would testify that, since his engagement, he and

   24   his colleague, Fred Caruso, who functions as an extension of

   25   him in his role as chief restructuring officer, and other




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    1   employees of DSI have devoted themselves to learning about the
    2   debtor's business and financial affairs, knowledge that only

    3   increases as the days go by.     He would testify that he and

    4   others from DSI have spent hundreds of hours meeting with
    5   various employees of the debtor and reviewing and accessing the

    6   debtor's books and records.     He would testify that he's been

    7   given complete access to a wealth of information by the debtor,

    8   and nothing he or his team have requested from the debtor have
    9   been withheld by them.

   10            He would testify that the debtor's a limited
   11   partnership organized under the laws of Delaware and that the

   12   debtor's general partner, Strand Advisors, is a corporation

   13   organized under Delaware law as well, and Strand is the manager
   14   of the debtor.    He would testify that over ninety-nine percent

   15   of the debtor's limited partnerships are held by Delaware

   16   entities.
   17            He would testify that the debtor owns and manages a

   18   sophisticated financial-advisory-services and money-management

   19   business that has assets and interests all over the world; that

   20   the debtor's assets under management, including its own

   21   proprietary assets and those of its clients, through various

   22   related parties, exist in the United States, Asia, South
   23   America, and Europe.

   24            He would testify that the debtor has over two-and-a-

   25   half billion dollars of assets under management and receives




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    1   management and advisory fees from a multitude of sources around
    2   the world.   He would also testify that the debtor provides

    3   shared services for approximately 7.5 billion of assets managed

    4   by a variety of affiliated and unaffiliated entities, including
    5   other affiliated registered investment advisors.

    6            He would testify that although the debtor is based in

    7   Dallas, the debtor's affiliates and related parties maintain

    8   offices or have personnel in many international locales,
    9   including Buenos Aires, Rio de Janeiro, Singapore, and Seoul.

   10   He would testify that the debtor owns and manages targeted
   11   funds in Korea, South America, and Singapore.

   12            He would testify that the debtor's filed the motion

   13   that's pending today to appoint him as foreign representative
   14   in order to manage certain foreign interests, including those

   15   proceedings pending in Bermuda and Cayman.       He would testify

   16   that the principal assets in the United States consist of
   17   custodial and noncustodial interests and investments located

   18   all over the country, and that the debtor's prime brokerage

   19   account that holds the bulk of the debtor's liquid assets is

   20   located in New York City with Jefferies.

   21            He would testify the debtor owes approximately 30

   22   million dollars to Jefferies on account of margin obligations
   23   that are secured by the securities in the prime account, and

   24   that the debtor's other principal secured creditor, Frontier

   25   State Bank, is based in Oklahoma City and is owed approximately




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    1   5.2 million dollars as of the petition date.
    2            He would testify that one aspect of the debtor's

    3   business is management advisory services in connection with

    4   various investments and collateralized loan obligations, or
    5   "CLOs", and that the debtor previously provided submanager,

    6   subadvisory, and shared services to Acis CLOs pursuant to

    7   certain contractual agreements that were terminated during the

    8   course of Acis' bankruptcy in or around August 2018.        He would
    9   testify that he's informed and believes that the compensation

   10   structure for subadvisory and shared-service agreements is
   11   different for CLOs than with other types of private equity or

   12   hedge funds that the debtor manages.

   13            He will testify that a focus of DSI's efforts in this
   14   case will be to evaluate the appropriateness and the economics

   15   of the shared-service agreements and subadvisory agreements

   16   that the debtor's a party to with both affiliated and
   17   unaffiliated third parties, and he would determine what

   18   modifications are appropriate given the facts and

   19   circumstances.

   20            He would testify that, since the petition date and, he

   21   believes, since August 2018, the debtor has not had any direct

   22   business dealings with respect to Acis or the CLO assets for
   23   which Acis serves as CLO manager, and that the debtor no longer

   24   advises or subadvises any active CLOs; the debtor only has CLOs

   25   that are in liquidation and in the process of monetizing their




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    1   underlying assets and paying off their remaining investors'
    2   revenues that will decrease over time; and that the CLO portion

    3   of the debtor's business provides just ten percent of the

    4   debtor's revenue, which, again, will shrink over time.
    5            He would testify that the debtor derives ninety

    6   percent of its other revenue from managing asset classes that

    7   have nothing to do with Acis, including private equity, hedge

    8   fund, mutual funds, open-ended retail funds, and real-estate
    9   funds.

   10            He would testify that the debtors and Acis assert
   11   various substantial disputed and unliquidated claims against

   12   each other, and the debtor has outstanding claims against Acis

   13   that total no less than eight million dollars for services
   14   rendered.    He would testify that the debtor and Acis have been,

   15   and continue to be, involved in highly contentious litigation,

   16   including matters that are subject to multiple appeals from the
   17   bankruptcy court and pending fraudulent-transfer claims brought

   18   by Acis against the debtor, in Texas.      He would testify the

   19   debtor is currently supporting two pending appeals of orders of

   20   the Texas bankruptcy court, granting the involuntary petition

   21   against Acis and confirming Acis' Chapter 11 plan that put Mr.

   22   Terry in charge of Acis.
   23            He would testify that, although he serves subject to

   24   the debtor's ability to terminate him, he has full

   25   responsibility with respect to analyzing and pursing insider




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    1   transactions and is in charge of the debtor's restructuring
    2   efforts, and that he has no prior relationship with either Acis

    3   or the Texas bankruptcy court with respect to this matter.          He

    4   would testify that his goal in this case is to maximize the
    5   value of the debtor's estate for the benefit of all

    6   constituents, and he intends to evaluate all available

    7   strategic options for accomplishing the goal, and hopes to work

    8   constructively with the committee in that regard.
    9            He believes that the outcome of this case will not

   10   turn on the day-to-day management of the debtor's assets but
   11   instead will be driven by the debtor's ability to restructure

   12   its balance sheet and maximize the value of its assets, many of

   13   which are liquid.    He would testify that either he or Fred
   14   Caruso would provide substantially all the testimony that would

   15   be provided for the debtor in this case.

   16            Lastly, he would testify that he's been on the job for
   17   over a month-and-a-half, that the debtor has been following the

   18   protocols set out in the motion for which approval is being

   19   sought today.   He would testify the debtor's being transparent

   20   with the creditors' committee, has met with and communicated

   21   with FTI on many occasions, and shared a lot of information.

   22   And he would testify that there have been no allegations made
   23   by the committee or any other party, regarding any post-

   24   petition impropriety by the debtor.

   25            That concludes my proffer of Mr. Sharp's testimony.




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    1             THE COURT:     All right, thank you very much.
    2             Does anyone wish to cross-examine the witness?

    3             UNIDENTIFIED SPEAKER:      Yes, Your Honor.

    4             THE COURT:    Yes?
    5             UNIDENTIFIED SPEAKER:      Yeah.

    6             THE COURT:    Okay.

    7             MS. REID:    Yes, Your Honor.

    8             THE COURT:    Mr. Sharp, would you please take the
    9   stand?    And remain standing for your affirmation.

   10             THE CLERK:    Would you step up to the stand, please?
   11   Raise your right hand.

   12        (Witness affirmed)

   13             THE CLERK:    Please state and spell your name for the
   14   record.

   15             THE WITNESS:    Bradley Sharp, B-R-A-D-L-E-Y; last name,

   16   S-H-A-R-P.
   17             THE CLERK:    Thank you.

   18             THE COURT:    Very good.

   19             MS. REID:    Good morning, Your Honor.     Penny Reid on

   20   behalf of the creditors' committee.

   21             THE COURT:    Good morning.

   22             Mr. Sharp, just -- you look like a veteran, but if you
   23   could stay close to the microphone, I'd appreciate it.

   24             THE WITNESS:    Yes, sir.

   25             THE COURT:    Thank you.




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    1   CROSS-EXAMINATION
    2   BY MS. REID:

    3   Q.   Mr. Sharp, you've only met Mr. Dondero once; correct?

    4   A.   That is correct.
    5   Q.   And that was in Dallas; correct?

    6   A.   That is correct.

    7   Q.   And your team has been at the debtor's offices; correct?

    8   A.   Yes.
    9   Q.   And worked over a hundred hours at the debtor's offices;

   10   correct?
   11   A.   Yes.

   12   Q.   And that's all been in Dallas; correct?

   13   A.   Yes.
   14   Q.   Your team has not been to a New York office; has it?

   15   A.   No.

   16   Q.   Has your team -- your team has not been to Korea; has it?
   17   A.   No.

   18   Q.   Your team has not been to Singapore; has it?

   19   A.   With respect to this engagement, no.

   20   Q.   Okay.    And you haven't met any employees in the Singapore

   21   office; have you?

   22   A.   No.
   23   Q.   And under this proposed engagement, you're going to report

   24   to Mr. Dondero; correct?

   25   A.   Yes.




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    1            MS. REID:     We will reserve our rights to further
    2   question him on the other issues, non-venue issues.

    3            THE COURT:     Of course.

    4            MR. SHAW:    Good morning, Your Honor.     Brian Shaw on
    5   behalf of Acis Capital Management, a creditor.

    6            THE COURT:     Yes, Mr. Shaw, you may proceed.

    7   CROSS-EXAMINATION

    8   BY MR. SHAW:
    9   Q.   Mr. Sharp, you were hired nine days before the bankruptcy

   10   petition was filed in this case; correct?
   11   A.   Correct.

   12   Q.   Other than the retention of DSI, are there any other new

   13   managers at the debtor, that didn't exist prior to the
   14   bankruptcy filing?

   15            MR. MORRIS:    Objection.     Beyond the scope, Your Honor.

   16   This should be a traditional cross.
   17            THE COURT:     You're going to need to find a microphone

   18   or talk into one that's in front of you.

   19            MR. MORRIS:    John Morris, Pachulski Stang Ziehl &

   20   Jones, for the debtor.

   21            This line of questioning is beyond the scope.        This

   22   should be a traditional cross.       The moving parties have called
   23   no witnesses, as Your Honor is aware.

   24            THE COURT:     Well, they reserved the right to call

   25   witnesses based on what you did in your direct.        So I'm not




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    1   going to hold them to technicalities.
    2               You may proceed.

    3               MR. SHAW:    Thank you, Judge.

    4               THE COURT:    Do you remember the question, Mr. Shaw?
    5               THE WITNESS:    I do.

    6   A.   Not that I'm aware of.

    7   Q.   Okay.    So other than -- so DSI is the only difference pre-

    8   petition and post-petition; is that right?
    9   A.   With respect to management.     Obviously, the company's now

   10   operating in bankruptcy, which is significantly different.
   11   Q.   You testified, in your proffer, regarding the provision of

   12   shared services and subadvisory to Acis; do you remember that

   13   proffer your counsel commented about?
   14   A.   I do.

   15   Q.   And one of the core parts of the debtor's business is the

   16   provision of shared services and subadvisory services to
   17   affiliates and nonaffiliates; right?

   18   A.   Yes.

   19   Q.   Okay.    And so that was true for Acis and it's true for

   20   current affiliates of the debtor; right?

   21   A.   Yes, except for, you know, Acis was primarily CLOs, which

   22   is a reducing part of the debtor's business.
   23   Q.   Do you have any reason to believe that the Northern

   24   District of Texas cannot hear this case expeditiously and

   25   fairly?




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    1   A.   No.
    2              MR. SHAW:    Pass the witness.

    3              THE COURT:    Any other cross-examination?
    4              Hearing none, any -- redirect; that's what it's
    5   called.    There we go.

    6              MR. MORRIS:    No, thank you, Your Honor.

    7              THE COURT:    All right.   Thank you, sir.   You may step

    8   down.
    9              THE WITNESS:    Thank you.

   10              THE COURT:    Any further evidence by any party, in
   11   connection with the venue motion only?

   12              MR. CLEMENTE:   Your Honor, I believe we would like to

   13   call Mr. Waterhouse to the stand to testify in connection with
   14   the venue motion briefly.

   15              THE COURT:    All right.   Mr. Waterhouse.   I thought

   16   we -- there we go.      If you could please take the stand as well,
   17   sir, and remain standing.

   18              MR. GUERKE:    May it please the Court.   Good morning,

   19   Your Honor.    Kevin Guerke on behalf of the creditors'

   20   committee.

   21              THE CLERK:    Please raise your right hand.

   22        (Witness affirmed)
   23              THE CLERK:    Please state and spell your name for the

   24   record.

   25              THE WITNESS:    Yes; it's Frank Waterhouse, F-R-A-N-K,




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    1   W-A-T-E-R-H-O-U-S-E.
    2               THE CLERK:   Thank you.

    3               THE COURT:   Thank you.   Please be seated and try to

    4   remain close to the microphone, if you would, please.        It's a
    5   little awkward here.

    6               You may proceed.

    7   DIRECT EXAMINATION

    8   BY MR. GUERKE:
    9   Q.   Mr. Waterhouse, you've worked for the debtor, Highland

   10   Capital Management, L.P., since 2006; correct?
   11   A.   Yes.

   12   Q.   You started there as a senior accountant; right?

   13   A.   That is correct.
   14   Q.   You were promoted to chief financial officer at the end of

   15   2011; correct?

   16   A.   Yes.
   17   Q.   That's the title that you hold today; right?

   18   A.   Yes.

   19   Q.   You also currently hold the title of partner; right?

   20   A.   Yes.

   21   Q.   You were made partner three or four years ago; correct?

   22   A.   Yes.    I mean, I don't remember the exact time but, yeah,
   23   approximately three or four years ago.

   24   Q.   You are an officer in Highland Affiliates; correct?

   25   A.   Yes.




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    1   Q.   James Dondero is the president of Highland Capital
    2   Management, L.P.; right?

    3   A.   Yes.

    4   Q.   Mr. Dondero owns and controls Highland's general partner,
    5   Strand Advisors, Inc.; right?

    6               MR. MORRIS:   Your Honor, I'm just going to object for

    7   the record.     This is supposed to be a rebuttal witness.        This

    8   isn't rebutting anything; it's just new facts --
    9               THE COURT:    He's laying

   10               MR. MORRIS:   -- that they're seeking --
   11               THE COURT:    I'm sure he's laying foundation.

   12               MR. GUERKE:   I am, Your Honor.    It's background, it's

   13   foundation.     It has to go (sic) with the organizational
   14   structure.

   15               THE COURT:    That's fine.   Objection overruled.

   16   Q.   Mr. Waterhouse, Mr. Dondero owns and control Highland's
   17   general partner, Strand Advisors, Inc.; correct?

   18   A.   I don't remember his exact title but, yes, he is

   19   president.

   20   Q.   He owns a hundred percent of the equity in Strand; right?

   21   A.   Yes.

   22   Q.   He also has a limited-partnership interest in Highland;
   23   correct?

   24   A.   That is correct.

   25   Q.   Mr. Dondero's the portfolio manager of all Highland funds;




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    1   right?
    2               MR. MORRIS:    Objection to the form of the question.

    3               THE COURT:     Overruled.
    4               You can answer.
    5   A.   Yes, he -- he is the portfolio manager or the -- or a co-

    6   portfolio manager.        We have several funds.   I -- I -- I can't

    7   recall if he is the sole portfolio manager on every single fund

    8   or -- but he -- he -- but yes, he is -- he is a portfolio
    9   manager.

   10   Q.   As the president of Highland, Mr. Dondero promoted you to
   11   CFO back in 2011; right?

   12   A.   Yes.    My -- my promotion was recommended by the -- the

   13   former CFO and, as president, Mr. Dondero had to, you know,
   14   obviously, approve that taking.

   15   Q.   You report to Mr. Dondero; right?

   16   A.   Yes.
   17   Q.   He's your boss; correct?

   18   A.   Yes.

   19   Q.   And after the transition period from the old CFO to you,

   20   you've reported only to Mr. Dondero; right?

   21   A.   That is correct.

   22   Q.   After the bankruptcy was filed, you still report to Mr.
   23   Dondero; right?

   24   A.   Yes.

   25   Q.   And Mr. Dondero doesn't report to anyone; correct?




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    1   A.   Yeah, not -- not to my knowledge.     Yeah, it's correct.
    2   Q.   Mr. Dondero has the ability to terminate you; right?

    3   A.   Again, I -- I assume so.    Again, I think I -- I testified

    4   earlier last week, I -- I -- I -- you know, again, I don't know
    5   through this process -- again, I'm not -- bankruptcy is not

    6   something that I -- I am, you know, a specialist.        I'm not a

    7   bankruptcy attorney.    But maybe the CRO can, or Jim, or

    8   something in -- in conjunction.     But I think, theoretically,
    9   yes.

   10   Q.   Post-bankruptcy, you don't report to Bradley Sharp; right?
   11            MR. MORRIS:    Objection, Your Honor.     Same objection:

   12   beyond the scope.

   13            THE COURT:    Overruled.
   14   A.   I do not.

   15   Q.   Post-bankruptcy, you don't report to Fred Caruso; correct?

   16   A.   I do not.
   17   Q.   Mr. Sharp doesn't have the power to terminate your

   18   employment; right?

   19   A.   Again, I'll --

   20            THE COURT:    Actually, he already answered that

   21   question; said he wasn't sure.

   22   Q.   Mr. Waterhouse, there are six groups below Mr. Dondero in
   23   Highland's organizational chart; correct?

   24   A.   Give or -- give or take.

   25   Q.   The heads of those groups are the executive-level




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    1   management employees that you describe in your declaration that
    2   was submitted in association with the first-day motions; right?

    3   A.   Yes.

    4   Q.   You manage one of those teams; correct?
    5   A.   Yes.

    6   Q.   Your team is made up of the corporate accounting folks,

    7   Funding Accounting, the tax group, Valuation, Operations,

    8   Retail Fund Operations, Human Resources, and IT; right?
    9   A.   That -- that is correct.

   10   Q.   The other Highland teams are the legal-compliance team --
   11   correct?

   12   A.   Yes.

   13   Q.   The credit-research team; right?
   14   A.   Yes.

   15   Q.   Public-relations team; correct?

   16   A.   Yes.
   17   Q.   Private-equity team; right?

   18   A.   Yes.

   19   Q.   And the trading team; true?

   20   A.   Yes.

   21   Q.   The heads of each one of those groups report up to Mr.

   22   Dondero; isn't that true?
   23   A.   Yes, and we -- we -- well, and we also -- and -- but we

   24   have a risk-management team as well, at Highland.        That -- that

   25   risk-management team reports up through the trading team.




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    1   Q.   As the CFO, your office is in Dallas, Texas; right?
    2   A.   Yes.   My -- yes, we office in -- or my office is in

    3   Dallas, Texas.

    4   Q.   That's been the location of your office since you joined
    5   Highland; correct?

    6   A.   My current location in Dallas, Texas, is not the same as

    7   it was when I joined Highland Capital in October of 2006.

    8   Q.   You started in 2006 and your office was in Dallas; right?
    9   A.   Well, my offices were in Dallas but it was not at the same

   10   location as we are currently.
   11   Q.   Your current offices are also in Dallas; right?

   12   A.   Yes, their address is in Dallas, Texas.

   13   Q.   Over seventy Highland employees work out of Highland's
   14   Dallas office; right?

   15   A.   Yes.

   16   Q.   Dallas is the only location where Debtor Highland
   17   employees work; correct?

   18   A.   Yes.

   19   Q.   Mr. Dondero's office is in Dallas; true?

   20   A.   Yes.

   21   Q.   Members of the legal team have offices in Dallas; right?

   22   A.   Yes.
   23   Q.   You meet with Mr. Dondero at a minimum of once a week;

   24   correct?

   25   A.   Yes, give or take.




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    1   Q.   Usually those meetings are in his office in Dallas; right?
    2   A.   Yes.

    3   Q.   All the group heads that we just discussed all have

    4   offices in Dallas; right?
    5   A.   Yes.   We used to -- our -- our risk-management team used

    6   to be officed in New York.     But yes, we -- we -- yes.

    7   Q.   You mentioned New York.    There's a location in New York

    8   that we discussed at your deposition; do you remember that?
    9   A.   Yes.

   10   Q.   That office in New York is not in Highland -- the debtor's
   11   name; true?

   12   A.   That is correct.

   13   Q.   It's in another nondebtor-entity name; correct?
   14   A.   Yes.

   15   Q.   There are no Highland employees in that New York location;

   16   correct?
   17   A.   That is correct.

   18   Q.   In the proffer that you just heard, and at your

   19   deposition, there was some discussion about offices outside of

   20   the United States.    Do you recall that?

   21   A.   Yes.

   22   Q.   The people who work in those locations are not employees
   23   of the debtor, Highland Capital Management, L.P.; right?

   24   A.   That's right.

   25   Q.   The offices outside the U.S. are subsidiary offices with




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    1   subsidiary employees; correct?
    2   A.   That is correct.

    3   Q.   You've never been to those offices; right?

    4   A.   I have not.
    5   Q.   You have members of team who include David Klos, Clifford

    6   Stoops, and some other folks; right?

    7   A.   Yes.

    8   Q.   You have standing weekly meetings with those folks --
    9               THE COURT:    All right --

   10   Q.   -- right?
   11               THE COURT:    -- I'm going to reprimand -- this is well

   12   beyond -- I was giving you some leeway but, if this is what you

   13   wanted to put on -- it's your motion, sir.        I mean, this is --
   14   you're laying your foundation in your case-in-chief.         Why

   15   didn't you put this on to begin with?

   16               MR. GUERKE:   Your Honor, it's rebuttal to the proffer
   17   that Mr. Sharp just offered.

   18               THE COURT:    In what way?

   19               MR. GUERKE:   Related to the organizational structure

   20   and how decisions are made currently at the debtor.

   21               MR. MORRIS:   Your Honor, if I may.   I don't believe

   22   any aspect of the proffer went to the location of decision-
   23   making.

   24               THE COURT:    Would you like to reply to that?

   25               MR. GUERKE:   Yes.   The proffer was made that decisions




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    1   are made in California and around the country, and around the
    2   world I believe.   And this evidence rebuts that; that the

    3   organizational structure and the day-to-day operations are

    4   still run in Dallas, Texas, as they were before bankruptcy.
    5             And, Your Honor, I have three questions, then I'll sit

    6   down.

    7             THE COURT:    Okay.   All right, I'll allow it.

    8   Q.   When you meet with people on your team that we just
    9   identified, you meet with them in Dallas; correct?

   10   A.   That's correct.
   11             MR. GUERKE:    Those are my only questions.      Thank you,

   12   Mr. Waterhouse.

   13             THE COURT:    All right.
   14             THE WITNESS:    Thank you.

   15             THE COURT:    That was direct.    Any further direct?

   16             Yes, sir.
   17             MR. SHAW:    Real briefly, Your Honor.

   18   DIRECT EXAMINATION

   19   BY MR. SHAW:

   20   Q.   Mr. Waterhouse, as the CFO of the debtor, were you aware

   21   that the debtor intended to file bankruptcy prior to the

   22   filing?
   23             MR. MORRIS:    Objection.    Beyond the scope.

   24             MR. SHAW:    Judge, we designated any witness that they

   25   designated, so I don't know that we necessarily have called --




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    1             THE COURT:    Well, yeah, but it's your motion --
    2             MR. SHAW:    Correct.

    3             THE COURT:    -- and you declined to put any evidence on

    4   in support of your motion.     They then put on evidence in
    5   opposition to your motion.     So you're limited, sir, to

    6   rebutting the evidence they put on.      You had your chance to

    7   make your case-in-chief; you decided not to do it.        It's not my

    8   fault.
    9             MR. SHAW:    My understanding was that we were -- that,

   10   depending upon what the proffer was, which we -- we're not
   11   aware of what the proffer was before today, that we reserved

   12   the right to call Mr. Waterhouse, which I understood from our

   13   chambers conference is what we exercised that right to do.          If
   14   I misunderstood how procedurally we were going about it,

   15   then --

   16             THE COURT:    Well, I don't understand how -- that
   17   doesn't make any sense to me.     You get a free shot to hear

   18   their case first, and then you get to make your direct case?

   19   Why would I allow that?    It's your motion.

   20             MR. SHAW:    Understood.

   21             THE COURT:    All right, so let's stick to rebutting

   22   what they put on.
   23             MR. SHAW:    Okay.

   24             THE COURT:    I gave a lot of leeway to your colleague;

   25   I'll give you leeway.     But I don't really want to sit through




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    1   forty-five minutes of direct that you could have done in the
    2   first place.

    3            MR. SHAW:    And I promise you, I have a very few

    4   limited questions.
    5            THE COURT:    All right.

    6   BY MR. SHAW:

    7   Q.   With regard -- where is Mr. Dondero today?

    8   A.   I don't know.
    9   Q.   For the shared services and subadvisory services that the

   10   debtor previously provided Acis -- are you aware of those?
   11   A.   I'm aware of them generally.

   12   Q.   All right.    Have you ever reviewed the shared-services and

   13   subadvisory agreements between Acis and Highland?
   14   A.   I'm sure I reviewed them at -- at some point, but I

   15   honestly can't recall.

   16   Q.   How are those agreements different than the shared-
   17   services and subadvisory agreements currently between the

   18   debtor and various affiliates?

   19            MR. MORRIS:    Objection.    No foundation.

   20            MR. SHAW:    It's directly relevant to -- the foundation

   21   being he said he's aware of them.       I --

   22            MR. MORRIS:    The witness just testified that he's not
   23   familiar with them as he sits here --

   24            THE COURT:    I can't hear you.

   25            MR. MORRIS:    The witness just testified that he's not




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    1   familiar with them as he sits here today.       He may have seen
    2   them in some -- at some point in the past.

    3            THE COURT:    Well, he can qualify the answer further.

    4   Overruled.
    5            You can answer.

    6   A.   You know, again, I -- I don't -- I don't know.       I don't

    7   have the documents in front of me.      I -- I -- like I said, I'm

    8   generally aware of -- of the Acis agreements.       You know, I
    9   don't have these agreements memorized to any certain degree, so

   10   I -- I -- I -- I don't know specifically.
   11   Q.   As -- you're familiar with the -- as the CFO, with the

   12   shared-services and subadvisory agreements that govern the

   13   seven billion dollars in assets under management that the
   14   debtor provides for affiliates and nonaffiliates; right?

   15   A.   Yes, I'm generally aware of those agreements.

   16   Q.   And are those agreements typical in form?      Do they differ
   17   widely in their content?

   18   A.   Again, I don't know -- I mean, they -- they can.       Again,

   19   it -- it depends on the nature of the services.       And -- you

   20   know, it -- there isn't a standard template, I would say, for

   21   shared services.   Yes, they can differ.     As I said, I don't

   22   have those agreements memorized, so I can't speak as to how
   23   they are similar or how they are not.

   24            MR. SHAW:    Pass the witness.

   25            THE COURT:    Thank you.




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    1            I guess it'll be cross of your own witness.         Any
    2   cross?

    3            MR. MORRIS:    No, thank you, Your Honor.

    4            THE COURT:    All right, sir, thank you.      Mr.
    5   Waterhouse, you may step down.

    6            THE WITNESS:    Thank you.

    7            THE COURT:    You're welcome.

    8            Any further evidence?
    9            MS. PATEL:    Your Honor, as I referenced, we just have

   10   some exhibits; I believe these to be the unobjected-to pieces
   11   of it.   We -- Acis provided a witness-and-exhibit list.          These

   12   are the unobjected-to exhibits, and we would just move them in.

   13   And --
   14            THE COURT:    Is this the ones I already have?

   15            MS. PATEL:    No, Your Honor.     I believe you only have

   16   the debtor's.
   17            THE COURT:    Yeah.

   18            MS. PATEL:    And I will apologize, Your Honor; we've

   19   given debtors a copy of the exhibits.       Our -- there was

   20   miscommunication.    They are not bound.

   21            THE COURT:    That's fine.

   22            MS. PATEL:    But they are numbered.
   23            THE COURT:    All right.

   24            MS. PATEL:    If I may approach?

   25            THE COURT:    Yes.    Please don't hurt yourself.     It's a




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    1   bit of a mess there.
    2              MS. PATEL:    There's a little trash back here.

    3              THE COURT:    These are all not objected to; is that

    4   correct?
    5              MS. PATEL:    (Indiscernible), Your Honor, but I go

    6   through them.

    7              THE COURT:    Are they -- okay.

    8              MS. PATEL:    What I've handed the Court and to opposing
    9   counsel are Exhibits 1 -- Acis Exhibits 1 through 18, with the

   10   exclusion of Exhibit 3 and Exhibit 9, which were objected to;
   11   and then also Exhibit Numbers 24 and 25, which were not

   12   objected to.    We do have one additional exhibit, Your Honor,

   13   that was objected to, that I would like to move in.
   14              THE COURT:    All right.   Is there any objection to the

   15   admission of the documents that counsel has represented there's

   16   no objection to?
   17              MR. MORRIS:   No, Your Honor.

   18              THE COURT:    Okay.   They are admitted without

   19   objection.

   20        (Acis' Exhibits 1 through 18, with the exception of Nos. 3

   21   and 9; and Exhibits 24 and 25, were hereby received into

   22   evidence, as of this date.)
   23              MS. PATEL:    If I may approach, Your Honor?

   24              THE COURT:    Yes.

   25              Thank you.




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    1            MS. PATEL:    And, Your Honor, my co-counsel will handle
    2   that -- will handle it since we -- this was a late objection

    3   and he prepared with respect to this; I prepared with respect

    4   to argument.
    5            THE COURT:    Okay.

    6            Yes, sir.

    7            MR. CLEMENTE:    I believe there's a hearsay objection

    8   regarding this.
    9            MR. MORRIS:    Relevance and hearsay, Your Honor.

   10            THE COURT:    Okay.
   11            MR. CLEMENTE:    Your Honor, I'll address hearsay first.

   12   Federal Rule of Evidence 807 is a residual exception to the

   13   hearsay rule; provides that a hearsay statement is admissible
   14   if the statement is supported by sufficient guarantees of

   15   trustworthiness, after considering the totality of the

   16   circumstances under which it was made and evidence, if any,
   17   corroborating the statement, and (2) it is more probative on

   18   the point for which it is offered, than any other evidence that

   19   the proponent can obtain through reasonable efforts.

   20            This is an email exchange between counsel for Acis and

   21   the courtroom deputy for Judge Jernigan, just requesting and

   22   ask -- inquiring about the court's availability.       Everything
   23   about that email supports the fact that it is -- that it is

   24   authentic and that there's no question about whether or not it

   25   is -- it's trustworthy.    How would we put on evidence of




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    1   whether or not Judge Jernigan in the Northern District of Texas
    2   has sufficient time to hear these numerous motions that are

    3   set, other than by providing something like this?        I mean, we

    4   can't call or depose the courtroom deputy or the judge.           So
    5   based upon that, also -- there also is an exception, under the

    6   hearsay rule, to a public record.       I think this also falls

    7   within that exception to the rule.       So for that reason, we

    8   don't believe the hearsay objection is proper.
    9            As far as relevance, it goes to the argument about

   10   transfer and whether or not the transferee court can
   11   expeditiously hear the matter.     And that's one of the elements

   12   and one of the core questions about judicial efficiency.

   13            So for those reasons, we believe that the objections
   14   are not well-founded and we offer this exhibit.        And it's

   15   Exhibit 26.

   16            THE COURT:    Reply?
   17            MR. MORRIS:    Briefly, Your Honor.

   18            THE COURT:    Yes.

   19            MR. MORRIS:    I'm not aware of any case where a court

   20   has ever considered, let alone decided, a venue motion on the

   21   availability of another court's time.       So I don't think it's

   22   relevant at all.   I do think it's an out-of-court statement
   23   being offered for the truth of the matter asserted, and I do

   24   believe it's hearsay.

   25            MR. CLEMENTE:    It most certainly is hearsay, Judge;




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    1   just to respond.    But the question is not whether it's hearsay
    2   but whether it's admissible.     And of course the Court is well

    3   aware that hearsay can be admissible, and one of the exceptions

    4   is the exception that I outlined.
    5              THE COURT:   All right, I'll overrule the objection and

    6   admit the document.     It is hearsay but it clearly meets the

    7   reliability aspects for the exception to hearsay.        With regard

    8   to the relevance, I think its relevance is very -- well, let me
    9   put it this way; I think it's tangentially relevant.        I mean,

   10   it certainly is relevant whether the Northern District of Texas
   11   has the ability to handle the case were it transferred there.

   12   To me that's -- I don't even think that's disputed, I mean,

   13   it's obvious, it's a fantastic bankruptcy court.       They're more
   14   than capable of handling it.     So I -- it's probably

   15   duplicative, if nothing else.

   16              Also, it's very carefully written so that you don't
   17   actually identify what case you're talking about.        So whether

   18   the courtroom deputy realized what you were saying or not

   19   saying with regard to this specific motion is obviously

   20   unclear.    But I will allow it for very limited purposes.

   21        (Email exchange between Acis' counsel and Hon. Jernigan's

   22   courtroom deputy was hereby received into evidence as Acis'
   23   Exhibit 26, for the stated limited purposes, as of this date.)

   24              MR. CLEMENTE:   Thank you, Your Honor.

   25              THE COURT:   Any other evidence?




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    1             I'm going to -- all right, last chance.      I'm going to
    2   close the evidentiary record.

    3             All right, the evidentiary record's closed.       Let's

    4   take a short recess; then I'll hear argument.       We will start
    5   with the movants and their supporters, and then we'll turn it

    6   over to the debtor.    Okay?   We'll take a short recess.

    7             UNIDENTIFIED SPEAKER:     Thank you, Your Honor.

    8        (Recess at 10:48 a.m. until 11:05 a.m.)
    9             THE COURT:   Be seated.    Sorry about the delay.       We had

   10   some computer difficulties.     But they're all ironed out.
   11             You may proceed.

   12             MR. CLEMENTE:   Thank you, Your Honor.     Again, Matthew

   13   Clements from Sidley Austin, on behalf of the committee.
   14             Your Honor, to begin, everything we rely on in our

   15   venue argument is uncontested and uncontroverted and is in the

   16   record that either the debtor's exhibits or the Asic's (sic)
   17   exhibits or the record of this case, or published opinions of

   18   the Dallas bankruptcy court, and which Your Honor can take

   19   judicial notice of -- we believe that that record more than

   20   amply carries our evidentiary burden with respect to the venue

   21   motion.

   22             With respect to the Sharp proffer, Your Honor, it
   23   attempted to create the appearance of a debtor with operations

   24   in far-flung jurisdictions, employees at nondebtor entities

   25   that may be located in places other than Dallas, offices that




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    1   may be in New York that aren't actually debtor offices.           And
    2   the testimony of Mr. Waterhouse rebutted that and made clear

    3   that the debtor has no employees other than in Dallas and that

    4   Mr. Dondero makes all of the decisions, and he is in Dallas.
    5   The nerve center of this debtor is in Dallas.       And we wanted to

    6   make that clear, Your Honor, after the proffer, the rebuttal,

    7   and the evidentiary record.     We believe that the evidentiary

    8   record is largely uncontroverted with respect to the arguments
    9   that we're going to be made (sic) in our venue motion, and that

   10   Mr. Sharp's testimony has been effectively rebutted.
   11            With that, Your Honor, we believe that this case is

   12   atypical and presents a set of unique facts which we believe

   13   are uncontroverted, that warrant transfer of venue to the
   14   Dallas bankruptcy court.    And frankly, Your Honor, it does beg

   15   the question as to why the debtor chose not to file in Dallas,

   16   what we believe the most logical venue is, in the first
   17   instance.    Let's talk about some of these unique facts here;

   18   then we'll move into some of the arguments we made in our

   19   motion, and then we'll talk about some of the things that the

   20   debtor made (sic) in its reply.

   21            First and perhaps most importantly, which is obvious

   22   from the nature of this proceeding, not a single creditor or
   23   party-in-interest has filed papers supporting the debtor's

   24   venue in Delaware, other than, obviously, the debtor.        The

   25   official committee has unanimously supported venue transfer to




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    1   Dallas, Texas.    Acis, in its own capacity as creditor, has
    2   joined the transfer request.     It's not surprising to us, Your

    3   Honor, that no creditor has affirmatively come out in favor of

    4   venue in Delaware, because the debtor is in Dallas and, in
    5   fact, that is where its nerve center is.

    6            Your Honor, we do believe that it's particularly

    7   significant because in this case, although schedules and

    8   statements have not yet been filed, the creditors' committee
    9   makes up the vast majority of creditors in this case, in terms

   10   of absolute dollar amounts.     There may be multiple creditors in
   11   number, but the vast majority of dollar amount of creditors are

   12   represented by the official committee of unsecured creditor

   13   (sic).
   14            There was reference to Jefferies.       They're owed thirty

   15   million dollars.    There was reference to Frontier Bank.

   16   They're owed five million dollars.      A single claim of one
   17   committee member dwarfs that by multiples, Your Honor.        So we

   18   believe the fact that no other creditor supports venue in

   19   Delaware is a very significant fact, Your Honor, and is not

   20   controverted.

   21            Second, Your Honor, until a few months ago, the Acis

   22   case, which is pending in the Dallas bankruptcy court, was an
   23   affiliated case.    And again, this can be gleaned from the

   24   published decisions and the record that's been put into

   25   evidence.    Had this case been filed prior to confirmation of




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    1   the Acis plan, under Rule 1014 the Dallas bankruptcy court
    2   would be the appropriate court to determine venue.        And

    3   although I would never suppose to predetermine how a judge

    4   would rule, I think there would have been a high probability
    5   that the Dallas court would have taken venue over the debtor's

    6   case.

    7            This is important, Your Honor, because the third point

    8   I'd like to make is that Highland and the debtor, and as we
    9   have described in our papers and related attachments, and as

   10   Mr. Sharp referred to in his proper -- in his proffer, has
   11   itself filed an appeal, seeking to overturn the confirmed Acis

   12   plan of reorganization and return the equity that was

   13   distributed to Mr. Terry under that confirmed plan, to an
   14   entity called Nutro (ph.).

   15            Second on Nutro, Your Honor.      Nutro's wholly owned by

   16   Mr. Dondero and, therefore, if Acis were returned underneath
   17   Nutro, it would become an affiliate of this debtor, and Acis

   18   would once again be subject to, as an initial matter, a

   19   venue -- excuse me, this debtor would be subject to, as an

   20   initial matter, a venue determination by the Dallas bankruptcy

   21   court.   If we have a successful appeal, we would have

   22   affiliated cases with dueling jurisdictions, Your Honor, and
   23   the Dallas bankruptcy court, as I mentioned, would determine

   24   venue.

   25            On that, Your Honor, the debtor must believe -- it's




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    1   not just me speculating.    The debtor must believe that there is
    2   a material possibility of this occurrence, as it has been

    3   seeking to employ counsel -- and you'll hear about that

    4   shortly -- and expend estate resources on behalf of Nutro, a
    5   nondebtor affiliate, in an attempt to have the Acis

    6   confirmation order overturned, with, again, the result being

    7   Acis would, again, be a debtor affiliate.       Therefore, the

    8   debtor cannot argue that such possibility does not materially
    9   impact the venue decision or is remote, in particular where

   10   they're trying to convince the committee and this Court to use
   11   estate resources to achieve that very outcome.       The debtor's

   12   effectively arguing for a ruling on appeal, but the debtor is

   13   an affiliate of Acis, in which case the current Chapter 11
   14   proceeding should be in Dallas, Texas.

   15            Fourth, Your Honor --

   16            THE COURT:    Well --
   17            MR. CLEMENTE:    Yes, Your Honor.

   18            THE COURT:    -- let me interrupt you for a moment,

   19   because that hasn't happened.     As we sit here today --

   20            MR. CLEMENTE:    That's correct, Your Honor.

   21            THE COURT:    -- they're not affiliates.     There seems to

   22   be an assumption that, were this case to be transferred to the
   23   Northern District of Texas, it would be assigned to -- sorry,

   24   I'm losing my notes --

   25            MR. CLEMENTE:    Judge Jernigan, Your Honor.




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    1            THE COURT:    Jernigan, yes.    Thank you.   Sorry.      I know
    2   Judge Jernigan fairly well.

    3            But if they're not affiliates, isn't the case subject

    4   to random assignment under the normal procedures in the
    5   Northern District of Texas?     And if it's not assigned to Judge

    6   Jernigan, don't your arguments about judicial knowledge and

    7   experience in connection with this case fall away because

    8   nobody other than Judge Jernigan has that special knowledge in
    9   Texas?   And all -- what other colleagues would be able to do

   10   there is simply walk down the hall and talk to her.        And of
   11   course, I can pick up the phone and talk to her any time, as

   12   well.

   13            So I'm just teasing out this assumption that
   14   definitely feels to be behind everybody's arguments, that she's

   15   going to get this case.    Is there anything in the record that

   16   would support that?    Is there some sort of rule I'm not aware
   17   of in Texas or that I'm -- am I assuming something that's not

   18   consistent with practice down there, which is that this case

   19   would be randomly assigned?

   20            MR. CLEMENTE:    Your Honor, I believe you are correct

   21   in the sense that the case would be randomly assigned, but I

   22   believe Your Honor could look at -- as I understand, there are
   23   three judges located in the Dallas court district; one is

   24   obviously Judge Houser.    I could be getting the name wrong.

   25   But she's overseeing the Puerto Rican proceeding --




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    1            THE COURT:    Um-hum.
    2            MR. CLEMENTE:    -- so her docket is clearly beyond --

    3            THE COURT:    She's also --

    4            MR. CLEMENTE:    -- full.
    5            THE COURT:    -- about to retire, so I don't even know

    6   if she's taking new cases.

    7            MR. CLEMENTE:    Correct.    So that leaves two judges,

    8   Your Honor.   And we understand -- perhaps Acis' counsel would
    9   be able to expand on that, given their familiarity with the

   10   Dallas bankruptcy court, but that judge is not being assigned
   11   new cases, given a circumstance with that particular judge.

   12            But to answer your direct question, Your Honor, I

   13   believe you are correct; it would be a random assignment.           But
   14   we do believe that there is a high probability it would wind up

   15   with Judge Jernigan.

   16            THE COURT:    But it might be a pool of one; right?
   17            MR. CLEMENTE:    That is correct, Your Honor.      And even

   18   if it wasn't, I think, clearly, for all the reasons we'll

   19   discuss, we would have a very strong case to make that it

   20   should be transferred to Judge Jernigan, even if it initially

   21   got somebody else on the --

   22            THE COURT:    Well, you know, I mean, if a judge were a
   23   lawyer, a judge couldn't have both these cases.       A judge (sic)

   24   couldn't have a case with two warring former affiliates,

   25   because it would create a conflict of interest.       Now, those




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    1   rules don't apply to judges.     We're assumed to be above all
    2   that.   But -- since we don't have clients.      But it does -- it

    3   might inform someone's decision about do I really feel

    4   comfortable having Acis and Highland, given the situation -- I
    5   mean, they wouldn't be jointly administered, certainly, of

    6   course.   They're --

    7             MR. CLEMENTE:   That's correct, Your Honor.

    8             THE COURT:    Again, they're not affiliates, at least as
    9   we stand here today; although the debtors are trying to change

   10   that, purportedly.     It might create a situation where a judge
   11   might take that into consideration in deciding whether to have

   12   the case or not.   And I --

   13             Now, we deal all the time with jointly administered
   14   affiliated cases, right, because there's always intercompany

   15   debt --

   16             MR. CLEMENTE:   That's correct.
   17             THE COURT:    -- and we all just assume it away (ph.).

   18             MR. CLEMENTE:   That's correct, Your Honor.

   19             THE COURT:    But this is a little different in that

   20   they're not affiliates.

   21             MR. CLEMENTE:   I do think, Your --

   22             THE COURT:    Again, she would -- the judge wouldn't be
   23   required -- Judge Jernigan wouldn't be required -- it's not a

   24   recusal issue.    It's not a disqualification issue.      It's just

   25   a -- sort of something to think about in making the decision.




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    1             MR. CLEMENTE:   I don't disagree, Your Honor.      I do
    2   think Your Honor hit on it, though.      Bankruptcy judges are

    3   unique in that perspective that they're put in situations all

    4   the time where a decision may impact one particular entity to
    5   the detriment of another entity that's also before Your Honor

    6   in connection with a particular bankruptcy proceeding.

    7             THE COURT:   Yeah.

    8             MR. CLEMENTE:   With that, Your Honor, I'll continue to
    9   move forward.

   10             THE COURT:   Yeah, please.
   11             MR. CLEMENTE:   Fourth, and this gets back to the point

   12   we were just discussing with Your Honor, we do not believe

   13   there's any credible dispute that the Dallas court has already
   14   upped the learning curve relative to this Court.       Again, not

   15   that Your Honor wouldn't be able to come up to speed and that

   16   Your Honor has tremendous capacity to do that, but the record
   17   is clear, from our perspective, that the Dallas bankruptcy

   18   court has already had to wrestle with issues involving the

   19   debtor.   There has been extensive proceeding (sic) in the

   20   Dallas bankruptcy court, not just the bankruptcy court but also

   21   the district court, with respect to the Acis case.

   22             There are several written opinions, again, that Your
   23   Honor can take judicial notice of and which are also in the

   24   record, that provide, after an extensive and developed factual

   25   record, that Acis only operated through Debtor Highland -- the




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    1   debtor, Highland.    It is clear that the Dallas court had to
    2   develop an understanding of how the debtor's complex business

    3   worked.   It is the same business as the debtor engages in here,

    4   albeit a subset.
    5             That's consistent with Mr. Sharp's testimony.         Mr.

    6   Sharp didn't say that they no longer are in the CLO business.

    7   He characterized it in a certain fashion, but the debtor

    8   clearly still manages and advises CLOs.      That is a part of the
    9   debtor's business.    That is what was at issue in the Acis

   10   proceeding. And also, as Mr. Waterhouse testified to quite
   11   clearly in the rebuttal, and as Mr. Sharp testified to in the

   12   cross, it's the same principal actors:      Mr. Dondero and others

   13   on his management team.
   14             Your Honor, this case, although the idea is to get a

   15   fresh start, we believe will necessary require a backward-

   16   looking review of the facts.     And the Dallas court has upped
   17   the learning curve from that perspective.       The committee

   18   recognizes that the Dallas court would take time and determine

   19   issues as presented to it.     And depending on the issue, the

   20   past experience of the court will have varying degrees of

   21   relevance.   But that experience is nonetheless important to the

   22   committee to ensure maximum efficiency, with an entity that has
   23   demonstrated itself to be highly litigious, Your Honor.           One

   24   needs only to review the top-twenty list of creditors, made up

   25   largely of law firms and other professionals, to make the




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    1   determination that the debtor is highly litigious, as well as
    2   the record in this proceeding.

    3             So Your Honor, those four facts, we believe, are

    4   unique, and we believe that they strike in favor of
    5   transferring venue to Dallas.     I do want to walk through some

    6   of the arguments we made in our papers, as well, but I wanted

    7   to highlight what we believe are truly distinguishing features

    8   of this particular situation.
    9             Your Honor, as we more fully lay out in our papers, we

   10   do believe the convenience of the parties supports transfer of
   11   venue.    The debtor's nerve center is in Dallas; Mr. Waterhouse

   12   was clear on that.    Mr. Dondero is the portfolio manager for

   13   all of the Highland funds, and he is the one-hundred-percent
   14   owner of Strand.   Strand's the general partner of this debtor.

   15   All decisions run through Mr. Dondero.      And it's clear that Mr.

   16   Dondero and all of the other key personnel are located in
   17   Dallas.

   18             Your Honor, a large number of creditors are located in

   19   Dallas; you need not look past the list of twenty largest

   20   unsecured creditors to determine that.      There are almost a

   21   majority of those creditors that are located in Texas.        While

   22   the committee agrees that the overall organization with several
   23   thousand affiliates is complex -- and you'll hear about that as

   24   we go on this afternoon -- there's 2,000 affiliated entities

   25   with Highland -- the debtor is only Highland.       And so the idea




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    1   that there may be offices in far-flung jurisdictions, those are
    2   not debtor offices.

    3            Your Honor, the interests of justice also support the

    4   transfer of venue.    The Dallas bankruptcy court has clearly
    5   invested time and resources that are applicable to this debtor.

    6   In this context, the learning curve that is referred to in the

    7   cases clearly favors transfer of venue to Dallas.        Although

    8   this case has been pending for a while, Your Honor, there's
    9   only been a first-day hearing with very limited relief granted,

   10   and one brief status conference.
   11            There are also economic efficiencies in Dallas.

   12   Dallas is convenient for all debtor employees.       Yes, people can

   13   get on planes, but it's hard to argue that being a mile-and-a-
   14   half away from the courthouse isn't more convenient.

   15            THE COURT:    I don't know.    Parking's tough.

   16            MR. CLEMENTE:    And perhaps an overnight trip is
   17   helpful for the family life, Your Honor.      It depends.

   18            Dallas is convenient for the professionals.        It's easy

   19   to fly in and out of Dallas, as we point out in our papers,

   20   Your Honor.    There's no real, I believe, disagreement that

   21   Dallas would not be convenient.

   22            Additionally, Your Honor, and we think that this is a
   23   unique factor as well, if the long history of Highland's

   24   litigious nature is any indicator here, there will be discovery

   25   disputes.    And under Rule 45, contested nonparty discovery




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    1   would likely occur in the Northern District in Texas, in
    2   Dallas.    Given the massive number of nondebtor affiliates --

    3   again, we only have 1 box here; there's, like, 2,000 others.

    4   It is highly likely that nonparty discovery will become an
    5   issue.

    6              The fact that -- I heard Mr. Sharp testify in his

    7   proffer that he believes he and Mr. Caruso will provide all of

    8   the testimony.    That's great and good and well for him to think
    9   that.    I think the committee's going to take a different view

   10   of that, Your Honor.
   11              Our own limited history in this case shows the

   12   relevance of Dallas.    Two of the three depositions occurred in

   13   Dallas.    I believe we informed Your Honor of that on the status
   14   call that we had.    And the third didn't, only because we

   15   believe Mr. Sharp was not able to travel to Dallas.

   16              The justice that the debtor seeks in the Acis case,
   17   Your Honor, yields a result that this places -- excuse me, Your

   18   Honor.    The justice that we talked about in the appeal with

   19   respect to the Acis confirmation order yields a result that

   20   places this debtor in the Dallas bankruptcy court, which is

   21   also in the interest of justice.

   22              So, Your Honor, we believe there are several unique
   23   factors.    We believe that the traditional factors, as we lay

   24   out in our papers, support the transfer of venue.        And I wanted

   25   to just briefly touch on some of the objections that the debtor




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    1   raised to our venue motion.     First, the debtor thinks too
    2   little of the Dallas court, in asserting that we're trying to

    3   gain some type -- the committee is trying to gain some type of

    4   litigation advantage.    We have no doubt, as Your Honor has
    5   tremendous respect for the Dallas court, that the Dallas court

    6   will take each issue as it comes to it, without prejudice or

    7   predetermination.    History and experience doesn't mean

    8   prejudice or predetermination; it just means familiarity, Your
    9   Honor.   That's all it means.

   10            Our point is simply that the Dallas court clearly had
   11   to spend time wrestling with the debtor, how it operated, and

   12   its opaque structure.    And let me spend a second on how.        As we

   13   point out in our reply and, again, as the record is clear based
   14   on the published opinions, Acis had no employees; it was a box.

   15   And it subcontracted its management services to the debtor.

   16   The Dallas court examined that contract, that subadvisory
   17   agreement that Mr. Sharp and, I believe, Mr. Waterhouse

   18   referred to, and had to become familiar with it.       That's clear

   19   from the published opinions.     And the debtor has numerous other

   20   similar contracts.

   21            The Dallas court also made determinations -- and

   22   these, again, are in published opinions -- whether certain of
   23   the debtor's contracts with Acis were personal-services

   24   contracts.   Again, they may differ, Your Honor, in terms of the

   25   specifics, but these are clear examples of where the Dallas




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    1   bankruptcy court had to wrestle with contracts of Highland, the
    2   way Highland operated, and the way that it was managed.

    3             Additionally, Your Honor, on the point of litigation

    4   advantage, as I thought about this, I think the debtor's, sort
    5   of, arguments regarding a litigation advantage, frankly, worked

    6   the other way.    If I may, here, for a second, Your Honor.          Mr.

    7   Dondero is the sole controlling party, as the testimonies made

    8   clear.    He's based in Dallas.   As we demonstrated in our
    9   papers, Dallas is clearly the most efficient and convenient

   10   forum for the creditors.    And the creditors have sent this
   11   message loud and clear through this motion to transfer and the

   12   lack of any party affirmatively supporting the debtor and venue

   13   in Delaware.
   14             Mr. Dondero, in our view, as he has shown in the past,

   15   consistently makes decisions that are in his best interest,

   16   potentially fleeing from a jurisdiction and not his creditors.
   17   And we believe that fleeing from the Dallas court, that is,

   18   steps away from his office -- and that is convenient for his

   19   creditors and, frankly, seems to be the most logical choice of

   20   venue -- again, understanding -- we don't dispute that the

   21   debtor is a Delaware limited partnership.       We're not disputing

   22   that.    But we're talking about what's logical.     That's the
   23   point that I would like to make here, Your Honor.

   24             Again, back to --

   25             THE COURT:   Well, I mean --




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    1            MR. CLEMENTE:    Yes, Your Honor.
    2            THE COURT:    -- I mean, a cynic -- and after almost

    3   fourteen years, maybe I'm becoming one; I don't know.        But a

    4   cynic would say -- and not necessarily badly (ph.), that both
    5   sides want -- are interested in forum-shopping; the debtor

    6   fleeing, obviously, adverse rulings in Texas, and the creditors

    7   fleeing Delaware to go back to the home of adverse rulings

    8   against the debtor in Texas.     And it's six one, half dozen the
    9   other.   However, at least the cases -- or some of the cases say

   10   that the debtor is entitled to some deference in its forum-
   11   shopping, as opposed to the creditor, in their opposition, in

   12   their forum-shopping.    I'm not sure I buy that.     And as a

   13   matter of fact, I've ruled previously that there is no
   14   deference --

   15            MR. CLEMENTE:    Correct.

   16            THE COURT:    -- that should be afforded to the debtor,
   17   in the EFH case.   But --

   18            MR. CLEMENTE:    That's correct, Your Honor.

   19            THE COURT:    -- I just throw that out there.

   20            MR. CLEMENTE:    And I believe Your Honor also made a

   21   point, in the EFH ruling, regarding the support of the various

   22   parties for the venue.    And so I believe that is actually a
   23   very strong factor that weighs in favor of transfer to --

   24            THE COURT:    Well, and -- yeah, I mean --

   25            MR. CLEMENTE:    -- Dallas.




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    1            THE COURT:    -- and that case had -- the government of
    2   Texas or the committee, or both, supported venue.        That case

    3   probably, thankfully, would have been sent to Texas, freed up

    4   five years of my life, and twenty appeals and --
    5            MR. CLEMENTE:    You're stronger for it, though --

    6            THE COURT:    -- everything else.

    7            MR. CLEMENTE:    -- Your Honor.

    8            THE COURT:    Yeah -- I don't know about that.      I'm
    9   heavier, that's for sure.

   10            MR. CLEMENTE:    I wish I could blame that for my
   11   weight, Your Honor, but I can't.

   12            Your Honor, back -- very briefly, because we did touch

   13   on it already.    We do believe that the Dallas court experience
   14   is highly relevant, contrary to what the debtor remarks in

   15   their objection.   The debtor again tries to cast the Acis

   16   bankruptcy as being narrow and only involving CLOs.        Again, the
   17   testimony, I believe, showed, in -- shows, in point of fact,

   18   the debtor does manage a significant number of CLOs.        Even if

   19   they are in liquidation, there are still decisions that are

   20   being made.   And therefore, exposure to how the debtor operated

   21   with respect to CLOs is highly relevant.

   22            Your Honor, I already mentioned, so I won't repeat
   23   myself, that Acis was a box and it had no employees, and

   24   therefore, obviously, the court had to look through to what was

   25   going on at Highland in terms of how the debtor was managed.




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    1              Your Honor, the CRO, unfortunately, I believe, for the
    2   debtor, does not cleanse the venue choice.       The CRO was not

    3   around.    The CRO didn't decide venue.    And as clear from the

    4   testimony, the CRO reports to Mr. Dondero.       Nothing has
    5   changed.    There has been no management changes.     I believe that

    6   was also consistent with the testimony.      And everybody still

    7   reports to Mr. Dondero, and he's located in Dallas, and Dallas

    8   is the nerve center.
    9              Additionally, as I mentioned, the cases will be very

   10   much about the past, unfortunately, Your Honor, a time when the
   11   CRO was not involved, and about transactions and conduct

   12   engaged in by the debtor and Mr. Dondero in the run-up to this

   13   bankruptcy.
   14              In short, I believe the CRO issue is a red herring,

   15   Your Honor; it doesn't erase the history the Dallas bankruptcy

   16   court has with the debtor through the Acis proceeding, and it
   17   doesn't erase the history of the decision-making process that

   18   the debtor engaged in, in the past and currently engages in

   19   today.

   20              With that, Your Honor -- we already had a colloquy

   21   about how we do not believe the Dallas bankruptcy court is

   22   conflicted, so I won't spend any further time on that.         But I
   23   would like to sum up.    Your Honor, let me be very clear.        We

   24   have the utmost respect for you and for this Court, so I want

   25   to make sure that Your Honor is very clear on that.        However,




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    1   the committee respectfully believes that this case presents the
    2   unique combination of facts which dictate that the transfer of

    3   venue to the Dallas bankruptcy court is appropriate.

    4            THE COURT:    You don't need to worry.     My ego assumes
    5   you have respect for me.

    6        (Laughter)

    7            MR. CLEMENTE:    Thank you for that, Your Honor.         Unless

    8   Your Honor has any questions, I'll sit.
    9            THE COURT:    I do not.   There may be others in support

   10   who want to be heard.
   11            Mr. Pomerantz (sic).

   12            MR. LUCIAN:    Your Honor, for the record, John Lucian

   13   of Blank Rome, local counsel for Acis.
   14            Just during the break, we had a binder made for Your

   15   Honor so that the exhibits that Ms. Patel had handed up that

   16   were admitted -- I know Mr. Morris has no objection to us
   17   handing that up, Your Honor.     It's the -- 1 through 26, with

   18   the ones that were not admitted.      This will save you from --

   19            THE COURT:    Is that these?

   20            MR. LUCIAN:    Yeah.    That's the -- you got them in the

   21   binder now.

   22            THE COURT:    Okay.    Is this in there --
   23            MR. LUCIAN:    Yeah.

   24            THE COURT:    -- the email?

   25            MR. LUCIAN:    Yes; 26, yes.    If you want to switch to




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    1   that.   Perfect.
    2            MS. PATEL:    Thank you, Your Honor.     For the record,

    3   Rakhee Patel on behalf of Acis Capital Management, L.P., who

    4   joined in the committee's motion.       And I will make reference to
    5   those -- certain of those documents.       I'm generally loathe to

    6   hand up big binders or big stacks of documents without telling

    7   the Court of what's been handed up.      So, very briefly, Your

    8   Honor, I will say, Exhibits 1 and 2 (sic) in the binder are the
    9   involun -- the issue -- I'm sorry, the opinion issued by the

   10   Dallas bankruptcy court, in connection with the involuntary
   11   trial, and Exhibit number 2 is the opinion that was issued in

   12   connection with confirmation of Acis' plan.       I would also point

   13   the Court to Exhibit Number 17, which is the actual
   14   confirmation order in Acis Capital Management.       And I'll make

   15   reference to one other exhibit as I go through my presen -- or

   16   a number of other exhibits, but -- one additional ruling by the
   17   court, as I go through my presentation.

   18            THE COURT:    What was the date of -- oh, okay.      Never

   19   mind.   So the confirmation was late January?

   20            MS. PATEL:    Yes, Your Honor.     January 31st, 2019.      And

   21   the plan went effective on February 15th of 2019.

   22            THE COURT:    Okay.
   23            MS. PATEL:    And the Highland bankruptcy, I believe,

   24   was just a little bit over eight months later.

   25            And, Your Honor, I'll try not to duplicate necessarily




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    1   what the committee did, and I will promise to keep this as
    2   brief as I can.    I'm happy to answer any questions, because

    3   standing here before you is the counsel -- at least the

    4   bankruptcy counsel that lived and breathed the Acis case from
    5   the date that they were filed on January 30th of 2018, through

    6   today.

    7            Now, Your Honor -- and along with my co-counsel, Mr.

    8   Shaw, who has been living and breathing, frankly, the issues
    9   longer than I have, even.

   10            Your Honor, I will repeat something that was in our
   11   moving papers.    And I know Your Honor and Your Honor's team has

   12   probably read all the moving papers. but I think this bears

   13   repeating, and that is that this case is unique.       It is, in my
   14   mind, exceptionally unique.     These facts are so unique, Your

   15   Honor, that I would venture to say I don't think that this is

   16   necessarily a case that would even possibly or remotely or even
   17   tangentially open any floodgates, because these facts are so

   18   different from the typical motion to transfer venue.

   19            Your Honor, touching quickly on the burden-of-proof

   20   issue that Your Honor referenced in your colloquy with Mr.

   21   Clemente.    Your Honor, Acis concedes, obviously, the burden of

   22   proof is clear that it's the preponderance of the evidence.
   23   And I won't go through ad nauseum all of the factors.        I know

   24   the Court is exceptionally familiar with all the factors on

   25   both the convenience-of-the-parties and interest-of-justice




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    1   side.   But I would just note that, at least in the Court's
    2   prior rulings, you've said that the factors are not really a

    3   scorecard, that we're not counting three factors versus three

    4   factors, or four versus two.
    5            And I would just --

    6            THE COURT:    Well, that follows with my fundamental

    7   tenet, which is that any legal test with more than three

    8   factors is useless.    It's just a -- it's just a question of
    9   discussion.

   10            MS. PATEL:    I think -- and I think this Court has wide
   11   discretion with whether to transfer this case or not.

   12            Your Honor, one final quick point that I'll call

   13   the -- kind of the four corners or setting the table, for
   14   purposes of go-forward, is back to the reference to the -- that

   15   there's no real deference, necessarily, to the debtor's choice

   16   of venue.    That's sort of subsumed in the burden of proof.        The
   17   movant bears a burden of proof and, if they meet the

   18   preponderance of the evidence, then the burden shifts.        And

   19   that's really kind of where the debtor's choice of forum weighs

   20   in.

   21            Now, Your Honor, one other quick point is that there's

   22   been a lot of discussion in the objections and the responses
   23   and the replies, indicating that this whole issue is about Acis

   24   as a creditor.    And what I'm here to say, Your Honor, is that

   25   this, actually, the issue, the motion to transfer venue, is not




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    1   really about Acis as a creditor.      And I'm here representing
    2   Acis as a creditor.    This has been painted as there's one

    3   creditor that's driving this, and that's Acis.       That's just

    4   simply not the case, Your Honor.
    5             The reality is that you've got hundreds of millions of

    6   dollars or claims represented by the committee, as a fiduciary

    7   to those claims, that have made this motion.       This is not Acis'

    8   motion.   Yes, we did join with respect to it.      And really, it
    9   has -- that has more to do with the fact that we're the Texas

   10   folks, we're the Texas creditor.      And we -- again, I and Mr.
   11   Shaw lived and breathed the Texas cases.      And I'm here to stand

   12   before the Court and answer any questions you may have with

   13   respect to what happened, what transpired, but, more
   14   importantly, what could happen on a go-forward basis.

   15             Your Honor, it's important -- and I -- again, harking

   16   back to this concept of this is unique.      As Your Honor noted in
   17   EFH, had the committee signed on, had the Texas comptroller

   18   signed on, perhaps that outcome would have been a little bit

   19   different.   But here, Your Honor, we've got the committee

   20   moving for transfer of venue.     And I think that's really

   21   significant.   And I'll go through in a little bit sort of the

   22   debt stack that we're dealing with here, and you'll see that,
   23   hands down, the committee is the fulcrum debt here.        It is the

   24   fulcrum debt, Your Honor.

   25             Your Honor, one final quick note on forum-shopping.




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    1   And there's been conversation with respect to the committee's
    2   forum-shopping, the debtor's relationship.       Look, I've read

    3   Your Honor's prior opinions and I really do think the issue

    4   boils down to -- I think it's probably neutral with respect to
    5   both sides.   As Your Honor pointed out, the debtor has the

    6   ability to choose the state of its incorporation as its venue

    7   for filing of bankruptcy.     And also, the committee has the

    8   ability to move, to transfer, pursuant to 1412, to a place that
    9   is the interest of justice and the convenience of the parties.

   10   I really view that as being the -- there should be no negatives
   11   cast on, frankly, either side, with respect to forum-shopping,

   12   because it's kind of invited by the structure of the statute.

   13            So if the case isn't about Acis as a creditor, what is
   14   this case about?   Well, I -- or what is this motion about?

   15   Here I really do think that -- at its heart, that this

   16   particular motion to transfer, and probably motions to transfer
   17   in general, boil down to the bankruptcy case itself.        So here

   18   that would be -- this is all about Highland's bankruptcy and

   19   where it should be administered, what makes sense.

   20            And, Your Honor, I want to go through a couple of

   21   different subtopics on this.     First I want to talk about the

   22   business lines that the debtor engages in.       What does it do?
   23   And this is all from the -- what I'm going to refer the Court

   24   to is all included in the first-day declaration of Mr.

   25   Waterhouse, which is Debtor's Exhibit O.




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    1            And, Your Honor, in Mr. Waterhouse's declaration, he
    2   goes through the three kind of general lines of the debtor's

    3   business.    First is proprietary trading.    And that involves

    4   sort of trading with the debtor's money or leveraged money in
    5   certain brokerage accounts.     And I really think that

    6   proprietary trading is probably that line of business -- when

    7   we're thinking about which court is best suited to oversee that

    8   line of business and what's going to happen with respect to it,
    9   I think that's really neutral.     I think both Delaware and

   10   Dallas could adequately handle that issue.
   11            The issue really becomes a lot more focused, though,

   12   when we look at the other two lines of business.       The next line

   13   of business is investment management services.       And this is --
   14   and a big piece of that is the debtor's operation of its CLOs

   15   or collateralized loan obligations.

   16            If the 2018 financials -- again, I believe they're
   17   contained in debtor's exhibits -- if you take a look at those

   18   you'll see that as a part of investment management fee revenue,

   19   a lot of the revenue that was generated is related to the

   20   debtor's operation of eighteen CLOs along with some managed

   21   separate accounts, et cetera.

   22            Your Honor, the CLO piece and the separate accounts
   23   are issues that the Dallas court was faced with through Acis'

   24   bankruptcy and Highland's management of it.       And I'll borrow

   25   from Mr. Clemente his phrase:     Acis was effectively a box.       It




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    1   had no employees of its own.     It only had two officers, Mr.
    2   Dondero and Mr. Waterhouse, who was the treasurer of Acis,

    3   until their resignation shortly after the appointment of --

    4   shortly after the involuntary filings and the appointment of a
    5   trustee.

    6              Now, Your Honor, the other -- the last piece that's

    7   also involved is shared services.       So we've got investment

    8   management, and there's subpieces of it.       And I won't represent
    9   to the Court that is Judge Jernigan familiar with every aspect

   10   of Highland's investment management services?       No, likely not.
   11   But neither is this Court.     This Court is still, very much so,

   12   on the learning curve with respect to that.

   13              And I would submit, Your Honor, that Judge Jernigan is
   14   frankly just further along that learning curve with respect to

   15   the investment management services.

   16              On shared services, Your Honor, as Mr. Clemente
   17   referenced, the opinions are very clear -- again, Exhibits 1

   18   and 2 -- with respect to there is -- it's clear that Judge

   19   Jernigan had to evaluate shared services.       And I'll kind of

   20   summarize what the structure of what Judge Jernigan had to

   21   evaluate was.    Again, Acis is a box.     It was provided its

   22   services by Highland, pursuant to two key agreements:        a
   23   subadvisory agreement and a shared-services agreement.        And

   24   that shared-services agreement is relatively generic.        And all

   25   that is is the subadvisory -- I like to think of it as that's




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    1   the thinking brain stuff.     That's the investment advisory.
    2   Does this comply with SEC guidelines?      Should these trades be

    3   made?   What does the marketplace look like?

    4            Shared services, on the other hand, Your Honor, are
    5   all that middle- and back-office typical type stuff.        There's

    6   no real rocket science with respect to it.       It's just providing

    7   infrastructure:   accounting, legal, bookkeeping functions, all

    8   those things that any sort of generic business would provide.
    9            And again, that is something that Judge Jernigan is

   10   just more familiar with.    She is familiar with Highland's
   11   business modus operandi.

   12            And, Your Honor, if you look sort of across the

   13   Highland structure, you will see that Acis really was just a
   14   little microcosm.    It's a little template, because it gets

   15   repeated throughout the Highland empire.

   16            And one of the exhibits -- and forgive me; I didn't
   17   bring up the other exhibit list, but multiple parties have

   18   designated it, and it's the entities list.       And there's 2,000

   19   entities, approximately.    I didn't count them all up.      But

   20   that's a number that's been thrown around:       2,000 entities

   21   under this.   And they are all each little microcosms.

   22   Certainly, Judge Jernigan is further along with respect to the
   23   Acis microcosm, but also with respect to the template as well.

   24            Your Honor, with respect to then, therefore, economy

   25   or -- judicial economy or efficiency, again, Judge Jernigan,




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    1   further along the learning curve.
    2              Your Honor, now turning then to the debt stack, as I

    3   had referenced earlier -- again, this is all set forth in the

    4   declaration of Mr. Waterhouse -- you've got two secured
    5   lenders, Jefferies and Frontier.      And no one's heard with

    6   respect to -- from them with respect to their position.           Your

    7   Honor, these are two creditors that are vastly oversecured, and

    8   so really they -- I'll put them as sort of neutral with respect
    9   to what's going to happen in this bankruptcy case.

   10              Then the next item in the debt stack that Mr.
   11   Waterhouse identifies is Highland CLO Management.        Well, Your

   12   Honor, it's a note that was transferred -- Highland is the

   13   obligor on the note.    It's about nine-and-a-half million
   14   dollars.    And it was a note that was previously held by Acis

   15   and that was transferred to an entity by the name of Highland

   16   CLO Management, by Mr. Dondero.
   17              Highland CLO Management, in turn -- Mr. Waterhouse

   18   references that there's sort of -- Highland doesn't have a

   19   beneficial interest with respect to it.      But if you look at the

   20   retention applications that are set for hearing a little bit

   21   later today, you'll see that actually the debtors (sic) are

   22   claiming there is an interest in this, that the debtor has an
   23   interest in making sure that Highland CLO Management has a

   24   defense when it comes to the issue of was that transfer from

   25   Acis to Highland CLO Management a fraudulent transfer.




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    1            And again, these are issues that Judge Jernigan has
    2   had to grapple with all throughout the bankruptcy case.           There

    3   have been no -- there has been no adjudication that it was a

    4   fraudulent transfer; but certainly she's had to evaluate it in
    5   connection with four injunctions that were issued in connection

    6   with the Acis case.

    7            First there was a -- excuse me -- a sua sponte

    8   injunction.    Second there came an ex parte injunction.      Third
    9   there was a preliminary injunction.      And then fourth there was

   10   a plan injunction.    And that plan injunction, Your Honor, is
   11   embodied in Exhibit Number 17.     And again, all of these

   12   transfers and transactions -- part of the debt stack of

   13   Highland has been evaluated by Judge Jernigan.
   14            Last in the debt stack, but certainly not least, Your

   15   Honor, we have the general unsecureds.      And Mr. Waterhouse, in

   16   his deposition that was held in Dallas, estimated that perhaps
   17   the general unsecureds could be upwards of two billion dollars,

   18   all told.

   19            Now, just looking at the twenty largest, we're still

   20   in the hundreds of millions, and we don't have the benefit of

   21   schedules yet.    But this is -- this is the big dog.      This is

   22   the big layer of debt.    This is who is really the fulcrum here.
   23            And keep in mind, Your Honor, this is a free-fall

   24   bankruptcy.    No one knows where this is going to go.      At the

   25   first-day hearings, debtor's Counsel referenced that there




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    1   could be sales of assets and divestiture of certain things,
    2   operational restructuring.     There's really no idea where this

    3   case is headed.   And I think that's significant, Your Honor,

    4   because this is an operational restructure or perhaps a
    5   liquidation.

    6            I hope not.    I hope that this is an operational

    7   restructure and that all creditors can be paid either in full

    8   or close to in full, but that's significant.       And the reason
    9   why it's significant here is because, Your Honor, you've got

   10   the fiduciary for that fulcrum debt voting with their feet with
   11   what could happen -- what should happen on a plan.

   12            And they're saying we think this case should be

   13   administered in Texas.    And I think, again, going back to what
   14   makes this case so unique, I think that's what makes it so

   15   unique is that there are -- just from a dollar perspective and

   16   volume perspective, the significant creditors and the committee
   17   with respect to who's a fiduciary telling you, Judge, we think

   18   this case should be administered in Texas.       And those votes are

   19   going to be important with respect to any exit that happens

   20   here.

   21            Your Honor, I'll hit sort of on another factor, the

   22   sort of forum's interest or a local interest in the
   23   controversy.   And I concede, clearly -- and I think Your Honor

   24   has referenced in the past -- Delaware, when it -- when an

   25   entity is organized under Delaware law, that the forum state




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    1   has an interest in protecting its entities.       However, I will
    2   say, I think what's different here is --

    3            THE COURT:    Say that again?

    4            MS. PATEL:    I'm sorry, Your Honor.     I probably
    5   misstated that.   That the state of incorporation has an

    6   interest in entities that are --

    7            THE COURT:    Yeah, but --

    8            MS. PATEL:    -- formed under its state's law.
    9            THE COURT:    -- you're in the wrong court for that.

   10   That's state court.    This is --
   11            MS. PATEL:    I'm sorry?

   12            THE COURT:    -- the --

   13            MS. PATEL:    Oh, yeah.
   14            THE COURT:    You're in the wrong court for that.        I

   15   don't care about that.    This is --

   16            MS. PATEL:    All right.
   17            THE COURT:    -- this is federal court.

   18            MS. PATEL:    Fair enough.     I'll take that one, then.

   19            THE COURT:    This is federal court.     That's for the

   20   chancery and the governor.

   21            MS. PATEL:    Well, Your Honor, and going back just to

   22   the issue of the unique factors here, usually, Your Honor, in a
   23   motion to transfer venue, you have what I'll call relatively

   24   similarly situated courts, certainly if you've got a transfer-

   25   of-venue motion that was filed as early as the one that was




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    1   filed in this case, within the first few weeks of the case, and
    2   within, I believe, two days of the committee's formation.

    3            That's just not the scenario here, Your Honor.           You

    4   have a bankruptcy court in Texas who is familiar with various
    5   aspects of the debtor's business.       Is it familiar with every

    6   aspect of the debtor's business?      No.   But that certainly can't

    7   be said as to the Delaware Court either, that you are familiar

    8   with every aspect of the debtor's business.
    9            Your Honor, in Texas there's not only a bankruptcy

   10   court, there's a district court who is familiar with all of
   11   the -- with aspects of the debtor's business, and that is the

   12   Honorable Judge Fitzwater.

   13            And what I will say -- Your Honor was asking questions
   14   with respect to the judge -- the bankruptcy judge that it would

   15   be assigned to.   I'm happy to address those from my

   16   perspective.   But what I will note is that every appeal that
   17   stemmed out of the Acis bankruptcy case -- and there were in

   18   excess of ten -- every single one was transferred ultimately to

   19   Judge Fitzwater for adjudication.

   20            So even if -- even if we look just one layer up from

   21   the bankruptcy court to the district court, Judge Fitzwater is

   22   intimately familiar.    And now we've got three -- in connection
   23   with the Acis cases -- three appeals that are pending before

   24   the Fifth Circuit, two of which involve Highland or a Highland-

   25   related entity.




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    1            Your Honor, I want to quickly touch on the --
    2            THE COURT:    Is it the practice in the -- it's the

    3   practice in our district court that once a district judge is

    4   assigned an appeal in connection with a bankruptcy, any further
    5   appeals in that bankruptcy go to that district judge.        Is that

    6   the practice in Texas?

    7            MS. PATEL:    It's the practice, Your Honor.      I don't

    8   believe that there's a specific local rule that says that that
    9   will happen, but that's functionally what happens.        And

   10   sometimes you have to make a motion to transfer between two
   11   courts, but invariably, it usually goes to sort of either the

   12   first-filed court or kind of the first court to really get into

   13   a substantive issue.
   14            THE COURT:    Okay.

   15            MS. PATEL:    Your Honor, I'll touch on a couple more

   16   quick points.   It is offensive to me when I read through the
   17   debtor's pleadings and that there is an implication that the

   18   Dallas court is somehow biased.      I think of Judge Jernigan and

   19   I think of this Court and I think of virtually every bankruptcy

   20   court that I've ever had the privilege of appearing before as

   21   being fair and impartial.      And this concept of bias, that's

   22   only grounded in the fact that the debtors have -- or I'm
   23   sorry -- the debtor has lost a few.

   24            And I will say, just to kind of forestall that easy

   25   conclusion based on the opinions, I would note, in Acis'




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    1   exhibits, if you look at Exhibit Number 12, that is -- it's an
    2   email that the court sent in connection with Acis' first

    3   confirmation hearing.    And that was a confirmation hearing that

    4   occurred in August of 2018.     And the court ultimately denied
    5   confirmation of the first sort of plan.      And there were kind of

    6   three sub-plans.   But the court denied it.

    7            And so again, I'm offended that there would be even an

    8   implication that the court is somehow biased, because this
    9   isn't a scenario where there have been only adverse rulings to

   10   Highland in connection with the Acis bankruptcy case.        Judge
   11   Jernigan has called the balls and strikes as she sees them,

   12   Your Honor.

   13            Your Honor, I'll conclude with the following, which is
   14   that I would venture to guess that if this Court were in sort

   15   of -- if we reversed the scenario and this Court had expended

   16   hundreds of hours, hundreds of pages of opinions, untold hours
   17   of its courtroom staff's time, going through and poring through

   18   an exceptionally voluminous record, over 100,000 pages, and

   19   having expended over forty days of courtroom time, with that

   20   significant of an interest in the case and that expenditure of

   21   time, I would venture to guess that this Court would want this

   22   case transferred back to Delaware, if it had been filed
   23   anywhere else.

   24            And so I would submit to Your Honor that this Court

   25   should -- this case should be transferred to Dallas for all of




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    1   the reasons proffered by the committee and as joined by Acis.
    2   Thank you, Your Honor.

    3             THE COURT:    You're welcome.

    4             Anyone else in favor of the motion?
    5             All right.    This time it will be short.      We're going

    6   to take a very short recess, and then I'll hear from the

    7   debtor.

    8        (Recess at 11:50 a.m. until 12:00 p.m.)
    9             THE CLERK:    All rise.

   10             THE COURT:    Please be seated.     I apologize.   I know
   11   it's getting warmer and warmer in here.        And we're trying to

   12   contact -- we're trying to find someone in Maintenance who's

   13   working today.
   14             MR. POMERANTZ:   It's usually motivation to get the

   15   hearings done quickly, in my experience.

   16             THE COURT:    Yeah, it's -- if I take off my robe, don't
   17   be offended.   I do have clothes on underneath.

   18             MR. BOWDEN:   Thank you.

   19             THE COURT:    I heard you, Mr. Bowden.

   20             All right, go ahead.

   21             MR. POMERANTZ:   Good afternoon, again, Your Honor.

   22   Jeff Pomerantz, Pachulski Stang Ziehl & Jones, on behalf of the
   23   debtors-in-possession (sic).     Before I go on to my prepared

   24   remarks, I just want to address a couple of the points that

   25   were raised by Mr. Clemente and Acis' Counsel.




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    1            First, we are not aware of any formal statement that
    2   Judge Hale, in the Northern District of Texas, is not taking

    3   cases.   So I think Your Honor's point was a good one.       There's

    4   no definite -- there's no requirement, and it may or may not be
    5   that this case gets transferred, if Your Honor were to transfer

    6   it.

    7            Second, Your Honor, Highland has -- there have been

    8   appeals made not only from confirmation of the plan but also
    9   from the involuntary itself.     If the involuntary appeal

   10   succeeded, there wouldn't even be a bankruptcy case to be
   11   related to.   And in any event, the case law says that events

   12   that may or may not happen in the future are not really

   13   relevant to the venue analysis.
   14            Lastly, Your Honor, Mr. Clemente started by saying he

   15   thinks the facts are largely in dispute, and you heard Counsel

   16   then go through in detail, as did Acis' Counsel, about how
   17   there's no dispute that Judge Jernigan has a learning curve.

   18            Of course they need to say that because that is the

   19   focus and the crux of their venue-transfer argument.        As I will

   20   demonstrate in my comments and as the evidence is before the

   21   Court, other than the opinions that were written and other than

   22   the amount of time the court has spent, there is no real nexus
   23   between what happened in that case and what happened in this

   24   case.

   25            We have no doubt that Judge Jernigan learned all about




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    1   Acis, learned all about Acis' relationship to Highland.           But
    2   the real issue before Your Honor is what does that have to do

    3   with this debtor, this debtor's assets and liabilities, and

    4   this debtor's operations.     And as my comments will show, we
    5   think that's a significantly overblown argument.

    6              Your Honor, during their presentation, Counsel really

    7   strayed a little bit from what the motion and the joinders sort

    8   of said.    There they went through a painstaking analysis of the
    9   various factors supporting venue.       I know Your Honor said that

   10   over three factors, you don't find that helpful, but the courts
   11   have relied on a series of factors.

   12              And I think the reason why they have strayed away from

   13   that and focused on the committee being the one to support the
   14   transfer-of-venue motion and the facts of the Acis case is

   15   because when you pare it down, the actual factors demonstrate

   16   that there is no way the committee can carry its burden to
   17   demonstrate that venue should be transferred.

   18              However -- Your Honor pointed to this at the

   19   beginning, in mentioning comments about forum-shopping -- the

   20   committee and Acis are really being disingenuous, and they have

   21   not told you the real reason that they want the case before

   22   Judge Jernigan.
   23              At the first-day hearing, Your Honor, Acis said they

   24   intended to file a motion for an appointed trustee.        The

   25   committee has told the debtor it intends to file a motion to




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    1   appoint a trustee after this hearing.      The motion has not yet
    2   been filed, Your Honor, because they want Judge Jernigan to

    3   rule on that motion.    And it's not because she's familiar with

    4   this debtor's business, this debtor's assets, or this debtor's
    5   liabilities, because she generally is not.       It is because she

    6   formed negative views regarding certain members of the debtor's

    7   management that the committee and Acis hope will carry over to

    8   this case.
    9            The convenience of the parties and the interests of

   10   justice and how this case is so unique are just a pretext.
   11   They want a trustee to run the debtor, and they want Judge

   12   Jernigan and not Your Honor to rule on that motion.        That, Your

   13   Honor, is not a proper reason to transfer venue, but rather a
   14   transparent litigation ploy.

   15            Similarly, Acis also wants the case to proceed in its

   16   home court where it has enjoyed success in litigating against
   17   the debtor.    Your Honor mentioned the conflicts-of-interest

   18   theories.    They're not just conflicts of interest between two

   19   jointly administered debtors.     These go to the crux of what the

   20   Acis case is about and significant claims against the debtor.

   21            The Court may ask, appropriately -- and the Court

   22   did -- why would the debtor file the case in Delaware?        Chapter
   23   11 is all about a fresh start.     The debtor recognized concerns

   24   that the creditors had with certain aspects of its pre-petition

   25   conduct, and proactively appointed Brad Sharp as chief




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    1   restructuring officer with expanded powers, to oversee the
    2   debtor's operations.

    3             Mr. Sharp worked with the debtor and Counsel to craft

    4   a protocol for transactions that would be subject to increased
    5   transparency.   The debtor didn't have to do that.       As Your

    6   Honor mentioned at the first-day hearing, the debtor operates

    7   its business in the ordinary course.      But given the

    8   circumstances surrounding this case, given the history, we
    9   felt, and the CRO, importantly, felt it was important to get on

   10   the table what the debtor, through the CRO, believed was
   11   ordinary and what was not, so we could have a transparent

   12   discussion, discussion that, while we've made headway with the

   13   committee, we have not yet been able to come to an agreement.
   14             The debtor filed the case in this district because it

   15   wanted a judge to preside over this case that would look at

   16   what's going on with this debtor, with this debtor's
   17   management, this debtor's post-petition conduct, without the

   18   baggage of what happened in a previous case, which contrary to

   19   what Acis and the committee says, has very little to do with

   20   this debtor.

   21             These form insufficient grounds, Your Honor, to

   22   overturn the debtor's choice of venue, and the motion should be
   23   denied.

   24             I would like to now walk through the statutory

   25   analysis, something that Counsel avoided, because again, I




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    1   think it highlights the weakness of their argument.
    2            It is clear that the Delaware venue is proper, and

    3   1408 says the places where a Chapter 11 debtor can file the

    4   case.   As the vast majority of debtors who file cases in this
    5   district, the debtor filed here because it was domiciled in

    6   Delaware.    It is a Delaware LP.   But it goes further than that.

    7   99.94 percent of its LP interests are owned by Delaware

    8   entities.    And the general partner, Strand Advisors, is a
    9   Delaware general partner.

   10            While many cases, Your Honor, before this court, rely
   11   on the domicile of one affiliate to bring other non-Delaware

   12   related affiliates before the court, that's not the case here.

   13   All you have, virtually, are Delaware entities, through the
   14   ownership structure.

   15            As I will also discuss in a few moments, Your Honor,

   16   domicile is not the only connection that this debtor has to
   17   this district, as significant litigation matters involving the

   18   debtor, including those commenced by committee members, that

   19   was the catalyst to the filing, are pending in Delaware.

   20   Accordingly, the committee acknowledges, as they must, that

   21   Delaware is, of course, a proper venue.

   22            However, they rely on 1412 which sets forth the
   23   standard -- test that the movant has to meet in order to

   24   transfer venue, either for the convenience of the parties or

   25   the interest of the justice.




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    1            And courts, including the written opinions in this
    2   district by your colleagues, most often cite to the six factors

    3   in the CORCO decision in the Fifth Circuit in 1979.        And as

    4   Judge Gross, in his 2016 opinion in Restaurants Acquisition
    5   makes clear, the movant bears the burden of demonstrating that

    6   the factors strongly weigh in favor of a transfer.

    7            Similarly, Judge Gross stated in that case -- and I

    8   know Your Honor may not fully subscribe -- that courts
    9   generally grant substantial deference to the debtor's choice of

   10   forum.
   11            And in the case here, where not only do you have the

   12   debtor is a Delaware entity, but virtually all of its holdings

   13   are well -- are Delaware entities as well, it is even more
   14   appropriate to defer to the debtor's choice of forum.        As Judge

   15   Walsh said in his 1998 opinion at PWS Holding, it is a

   16   fundamental legal tenet that every citizen of a state is
   17   entitled to take advantage of the state and federal judicial

   18   process in that state.

   19            So the question before Your Honor is whether the facts

   20   in this case strongly weigh in favor of a venue transfer such

   21   that the Court will disregard the debtor's reasoned business

   22   judgment to commence the case in this district?
   23            We submit, Your Honor, that the committee and Acis

   24   have not come close to meeting that standard, and the CORCO

   25   factors do not support a transfer.




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    1            The first one is the proximity of creditors.        And the
    2   committee is focused on the fact that the committee -- the

    3   representative fiduciary of the estate -- has determined that

    4   venue is appropriate.    But the factor not only looks at the
    5   number of creditors, it looks at the dollar amount of the

    6   creditors.   And if you analyze -- an analysis of either

    7   demonstrates that convenience of the parties does not support a

    8   transfer of venue in this case.
    9            The debtor has two secured creditors.       Jefferies is

   10   headquartered in New York City.     Frontier Bank is headquartered
   11   in Oklahoma.   There was reference by Acis' Counsel to HCLOF.

   12   Their secured claim is unrelated to the note that was at issue

   13   in Acis, and there's nothing in the record to say that that
   14   secured instrument has anything to do with the Acis case.

   15   Neither of those creditors has weighed in on the motion to

   16   transfer venue.
   17            So let's look at the unsecured creditors.        Of the

   18   twenty that were listed in the debtor's petition, seven have

   19   Texas addresses.    Five of those are debtor's either current or

   20   former law firms.    Two of them are in the courtroom today.        And

   21   as Your Honor I'm sure appreciates, debtor professionals --

   22   former debtor professionals are not usually active in
   23   bankruptcy cases.    Indeed, none of them filed a notice of

   24   appearance in this case.

   25            The other two that have Texas addresses are the claims




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    1   related to Acis:    the Acis claim and the Josh Terry claim.
    2   There are no other unsophisticated creditors that the Court

    3   needs to worry about that would not be able to travel to

    4   Delaware, as needed.
    5              The two largest unsecured creditors in the top twenty

    6   are the Redeemer Committee and Patrick Daugherty, each of whom

    7   had pre-petition litigation pending against the debtor that

    8   they each commenced in the Delaware Chancery Court.        And the
    9   arbitration proceeding that preceded the Redeemer chancery

   10   court litigation was pending in New York City.
   11              UBS, a member of the committee, listed as number

   12   nineteen with a disputed and unliquidated claim, will likely

   13   claim it is the largest creditor of the estate.       It is based in
   14   New York.    It has litigation pending against the debtor in New

   15   York, and used Latham & Watkins' DC office for that litigation.

   16              And lastly, the fifth largest creditor, Your Honor,
   17   Meta-e Discovery, is also on the committee.       Where is their

   18   address?    Stamford, Connecticut.

   19              As Judge Gross reasoned in Restaurants Acquisition, in

   20   order to overcome the strong presumption in favor of the venue

   21   transfer, a transfer must substantially improve the

   22   administrative feasibility with respect to the creditor body as
   23   a whole.    So the committee sits out there and Acis sits out

   24   there saying that it's convenient for the creditors, it's much

   25   more convenient in Dallas.     Their actions belie their




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    1   statements.   All this litigation was focused on either Delaware
    2   or the Northeast.    It is just simply disingenuous for them to

    3   argue otherwise.

    4             The next factor, Your Honor, is the proximity of the
    5   debtor.   And in applying this factor, the courts focus

    6   primarily on the parties who appear in court.       The debtor

    7   retained Brad Sharp, and he has demonstrated its intention --

    8   and the debtor has demonstrated its intention of having Mr.
    9   Sharp be the face of the reorganization efforts before the

   10   Court.
   11             Indeed, in cases where a CRO is reported, Your Honor,

   12   the CRO is more apt to testify in court than any other debtor

   13   representative.    And I believe Mr. Sharp's testimony, which was
   14   uncontroverted, was that he expects that he and Mr. Caruso will

   15   provide the bulk of the testimony required from debtor

   16   representatives during this bankruptcy case; and that's because
   17   the debtor has given Mr. Sharp broad authority to evaluate the

   18   propriety of post-petition transactions and to pursue and

   19   analyze insider claims.

   20             And at today's hearing the debtor will offer the

   21   testimony of Mr. Sharp and his colleague, Mr. Caruso, to

   22   support the relief requested.     They have developed a
   23   substantial amount of knowledge regarding the debtor's assets,

   24   liabilities, and operations, in the six weeks they've been on

   25   the job; and that knowledge will continue to grow.




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    1            And Mr. Sharp has significant experience, as he
    2   testified to, being a CRO in cases in this district; and he

    3   could travel just as easily to Delaware as he can to Texas.

    4            While the debtor acknowledges that other debtor
    5   employees like Frank Waterhouse may be called to testify, as he

    6   was today, the involvement of the debtor's personnel in this

    7   court is likely to be immaterial.       And he was the only Texas

    8   person called to testify in this case.       And if the committee
    9   and Acis felt it was so important that representatives of the

   10   debtor be -- it would be easier for them to travel to court,
   11   they didn't call any witnesses in today, which is the most

   12   important hearing in the case.

   13            Also, Your Honor, our offices, as you know, are in
   14   Delaware.    And while it's true that we practice all around the

   15   country, we would need separate counsel if we were to -- if the

   16   case was to be -- to move.
   17            And similarly, the committee retained Young Conaway,

   18   which took a significantly active role in the litigation

   19   leading up to today.    That information and knowledge and

   20   expertise would be lost if the case was transferred.

   21            Next, Your Honor, related, is the proximity of

   22   witnesses.    And a I said, the committee can't demonstrate that
   23   witnesses in this case would find Texas a substantially more

   24   convenient forum than this court.       And you would have expected

   25   them to have subpoenaed Texas witnesses if that were so




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    1   important.
    2              Location of assets, Your Honor, is one of the CORCO

    3   factors.     And the committee makes a big point that all the

    4   decision-making is in Texas and all the people are in Texas and
    5   the office is in Texas.    The courts that look at location of

    6   assets as being critical typically involve cases that are

    7   single-asset real-estate cases, or cases that are small local

    8   businesses that have significant regional connections.
    9              But if you look at the debtor's assets here, it's not

   10   the case.     Their assets generally include financial instruments
   11   and investments in a wide variety of public stock; advisory

   12   contracts; shared services; and interests in nonpublic hedge

   13   funds and private equity funds.
   14              The assets are located throughout the United States

   15   and in Latin America, Korea, and Singapore.       And the majority

   16   of the debtor's liquid assets are in New York.       We were not --
   17   we don't dispute the point that there aren't significant people

   18   in Dallas and that the offices are in Dallas and all the

   19   employees.    We don't dispute that.    But the assets are far-

   20   flung around the country, and the cases, again, that focus on

   21   the assets, focus on local expertise that the court will bring

   22   to bear, particularly in real-estate cases with respect to
   23   valuation.    You have nothing of that here.

   24              The debtor intends to use its Chapter 11 to provide

   25   breathing room and to evaluate, hopefully in a constructive way




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    1   with the committee, how best to maximize value for the debtor's
    2   assets through a consensual restructuring; and there's no

    3   reason to believe why Texas rather than this court, would be a

    4   more appropriate forum for this restructuring.
    5            The last factor, Your Honor, is the economic

    6   administration of the estate, which the courts generally point

    7   to as the most important factor.      And the committee points to

    8   five reasons, which is essentially retreads of its previous
    9   arguments.

   10            Again, they argue a higher concentration of creditors
   11   in Texas and Midwest.    That's not the case, as I mentioned.

   12   They argue that there's a higher concentration of professionals

   13   in Texas and Midwest.    And if you look at all the
   14   professionals, they're all from national firms; they're all

   15   metropolitan areas that practice routinely before this Court.

   16   And the concept that the flights being different and the
   17   mileage being different is in any way -- is in any way

   18   important, is just not -- is just not the case.

   19            People practice in a global, national world, these

   20   days.   And if that argument succeeded, most of the -- your

   21   brethren and yourself would not have much to do, because that

   22   argument could support transfers in most cases.
   23            THE COURT:    Well, I think really goes to why -- I

   24   mean, I know this is the standards that are generally applied,

   25   but it's a case from 1979.     It's really behind the times.        I




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    1   don't think the factors reflect corporate practice of
    2   bankruptcy reality of 2019.

    3            MR. POMERANTZ:    And that's exactly what Judge Gross

    4   said in the Caesar's opinion --
    5            THE COURT:    Right.

    6            MR. POMERANTZ:    -- which is cited in the material,

    7   that this argument, given technology, given frequency of air --

    8   ease of air travel, it's just not a relevant factor anymore.
    9            And the two pages that the movants spent in the brief

   10   talking to you about how many direct flights there are from LA
   11   to Delaware as opposed to LA to Dallas, that, Your Honor, I

   12   think is just silly.

   13            The committee also argues that most creditors would
   14   need to retain local counsel if they were here.       Well, if you

   15   look, the case has been pending a month-and-a-half, and other

   16   than notices of appearance filed by committee members, there
   17   have only been two notices of appearance that have been filed

   18   that are unrelated to debtor entities.      And one of those is

   19   Daugherty, who commenced litigation in chancery court.        So the

   20   argument that is made typically in cases where they're filed in

   21   jurisdictions far off from where the debtor's operating is, is

   22   that it'll be burdensome on the mom-and-pop creditor, Your
   23   Honor, we don't have mom-and-pop creditors here.       And there's

   24   nobody out there with material claims against the estate that

   25   will not have the ability and have trouble and demonstrated the




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    1   willingness to hire Delaware Counsel.
    2            The last argument --

    3            THE COURT:    Even when you do have mom and -- again, to

    4   comment on reality, even when you do have mom-and-pop creditors
    5   in businesses that are very locally focused, general practice

    6   today is to make their claims irrelevant, in that to the extent

    7   they have avoidance claims, they're paid on the first day.

    8   Their real concern is whether the business will continue or
    9   not.

   10            Now, it's certainly true that pension claims are
   11   important, and proofs of claim are important.       But we have

   12   many -- all courts have many procedures in place to ensure that

   13   those types of creditors can participate without having to go
   14   to the courthouse.

   15            MR. POMERANTZ:    Yes.   So, Your Honor, Judge Gross also

   16   mentioned that in the Restaurants Acquisition case, which was a
   17   Texas-based --

   18            THE COURT:    He's a smart guy.

   19            MR. POMERANTZ:    We'll be sorry to see him go, Your

   20   Honor.

   21            THE COURT:    Yeah, absolutely.

   22            MR. POMERANTZ:    Which was a Texas-based restaurant
   23   chain that had more of a local flair.      But he made the comments

   24   Your Honor made.

   25            The last argument the committee makes is that Texas is




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    1   more convenient.    And this is really the crux, which I'll spend
    2   some time over the next few minutes.

    3            Texas is more convenient -- convenient -- because the

    4   Texas bankruptcy court, where Acis is pending has, in their
    5   words, already expended great time and effort familiarizing

    6   itself with the debtor and its operations.       You've heard

    7   statements like "learning curve".       You heard statements about

    8   everything that the debtor -- that Judge Jernigan has found out
    9   about this debtor, and how important and how helpful it is, and

   10   how Your Honor will be behind the learning curve.        We just
   11   don't buy that, Your Honor.

   12            And aside from that argument, the arguments that the

   13   committee makes for transfer are arguments that could be made
   14   in any case before Your Honor.

   15            THE COURT:    Yeah, I was going to say that's kind of an

   16   interesting argument, because actually it assumes Judge
   17   Jernigan's going to ignore the rules of evidence in making

   18   factual findings, because you're limited to the record before

   19   you on a specific motion.     And what fact you may have learned

   20   with regard to something a person has done, maybe that goes

   21   into questions of credibility on cross-examination or direct

   22   testimony, but to actually base your decision on a fact that's
   23   not in the record for the specific proceeding would be

   24   improper.

   25            MR. POMERANTZ:    Look, I agree, Your Honor.      And the




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    1   familiarity with the type of business -- if I wasn't speaking
    2   to Your Honor or your brethren or many other judges around the

    3   country, I'd say well, maybe there are certain judges who

    4   haven't dealt with large financial services company, may not
    5   know what a CLO, may not know what a hedge fund is or private

    6   equity fund is.   I'm very confident that Your Honor has had

    7   many cases with sophisticated financial instruments, likely CLO

    8   obligations, so that Your Honor not only has a good base of
    9   knowledge that would give you the same base of knowledge that

   10   Judge Jernigan has, but as we've also found, you are a fairly
   11   quick study and that I have no doubt that you could come up-to-

   12   speed without very little effort.

   13            So their argument is a grossly overstated
   14   interpretation of what the Acis case was about and that what

   15   was learned in that case has any relevance.       As a part -- as a

   16   result of the Acis plan confirmation, Acis is no longer part of
   17   the debtor's organizational structure.      The debtor owns no

   18   equity in Acis.   And the debtor no longer provides any advisory

   19   services to Acis.

   20            We admit that Judge Jernigan conducted many hearings,

   21   and she issued several lengthy opinions, and she heard from a

   22   variety of witnesses.    And I'm sure Your Honor -- if Your Honor
   23   has not -- Your Honor might read the opinions that she wrote

   24   that are attached to the exhibits, the plan confirmation

   25   opinion, the arbitration opinion, the involuntary opinion; and




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    1   you will conclude, I believe, as I have concluded, that ninety-
    2   five percent of that stuff has nothing to do with this debtor.

    3            It focused on the CLO obligations -- CLO business, the

    4   relationship, the transfers of certain assets away from Acis
    5   that basically Acis is claiming were fraudulent conveyances,

    6   and that was the real focus; not on any of the debtor's

    7   business operations.

    8            Acis was the advisory arm through which the debtor
    9   structured its collateral loan portfolio.       The fees -- the

   10   uncontroverted evidence is the fees generated from the CLO
   11   business represent approximately ten percent of the debtor's

   12   revenue and that that will reduce over time, because since the

   13   market crash in 2009 the debtor has not created any new CLO
   14   funds.   So there's no active management and advisory services

   15   going on for the CLOs.    They're just being liquidated in the

   16   normal course.    Their importance will continue to decrease.
   17   And even right now, it's only ten percent.

   18            The debtor generates its revenues from trading public

   19   securities; its equity positions in a variety of nonpublic,

   20   private-equity, and hedge funds; and advisory and back-office

   21   service provided to third parties.      It is the monetization of

   22   those assets that will provide the basis for the restructuring
   23   of this debtor.   And Judge Jernigan's prior experience with the

   24   small sliver of what the debtor's business currently is, will

   25   be only marginally relevant, at all.




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    1            Acis didn't have any other balance-sheet assets.           They
    2   were basically an advisor of CLOs.

    3            For example, Judge Jernigan has no experience or

    4   knowledge surrounding the debtor's multi-strat. fund; its
    5   Korean, Latin American, or Singapore private-equity

    6   investments; its investments in the PetroCap funds; or the

    7   other myriad of assets that are on the debtor's balance sheet

    8   which Your Honor will likely will hear about in connection with
    9   the hearings that will go on later.

   10            The committee and Acis make a big point of arguing
   11   that Judge Jernigan is familiar with the shared-service and

   12   management agreements between Acis and the debtor.        However,

   13   there was a lot of testimony from the podium on that.        The only
   14   testimony before Your Honor is that the contracts are

   15   different.   Mr. Waterhouse wasn't even familiar with the

   16   contracts, couldn't provide any testimony.       But Mr. Sharp
   17   testified that the type of shared-service and advisory

   18   agreements for CLOs are markedly different than the type of

   19   services and advisory agreements for non-CLO entities.        While

   20   Acis' Counsel stood up there and said there's a template and

   21   they're pretty much the same, that was purely argument.           There

   22   was no evidence in the record to reflect that.
   23            And in fact, the only two agreements that involved

   24   Highland in the Acis case were these two agreements.        But

   25   again, they're like apples and oranges.




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    1            In any event, Your Honor, one of the matters that Mr.
    2   Sharp is focusing on will be the appropriate economic

    3   arrangement between the debtor and its affiliates and

    4   nonaffiliates, through its shared-services and advisory
    5   agreements.    That has been a focus of DSI's analysis.      The

    6   committee has indicated that's something that they want to

    7   focus on.    And Mr. Sharp will come up with a recommendation as

    8   to what those should be, and it'll be that recommendation
    9   that'll be based on the market rate for these contracts in

   10   these particular businesses that will be relevant for Your
   11   Honor to consider, at some point.

   12            They attached a post-confirmation opinion that Judge

   13   Jernigan issued with respect to denial of a motion to seek
   14   arbitration regarding provisions of those agreements.        But if

   15   you read that opinion carefully, you will see that the primary

   16   issues in that case were whether an arbitration provision
   17   actually survived, given that the last version of the agreement

   18   did not have them -- there were five different iterations in

   19   each of the agreements.    And after concluding that the

   20   arbitration provision did survive, she ultimately ruled that

   21   that notwithstanding, she would not enforce arbitration because

   22   the claims were too related to the other claims that were being
   23   asserted.    Again, nothing to do with the debtor's business.

   24            In fact, Your Honor, after today, I have no doubt that

   25   Your Honor will be a lot more familiar -- if Your Honor is not




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    1   already -- with what the debtor does.       So Your Honor will hear
    2   testimony from Mr. Caruso; Your Honor will hear testimony from

    3   Mr. Sharp, about various aspects of the debtor's business, what

    4   it's doing, its management structure, how that structure is
    5   working.    All that you will hear, which will put you in an

    6   advanced state, compared to Judge Jernigan, as opposed to being

    7   behind.

    8              And there are other aspects of this case that are on
    9   the way that have nothing to do with Acis.       For example, we

   10   just filed a motion to approve ordinary-course bonuses to
   11   employees.    And we may also seek approval of a KERP and a KEIP.

   12   Acis had their own employees, and Judge Jernigan had no special

   13   knowledge of the debtor that would put her in a better position
   14   to give her an advantage over this Court in determining an

   15   appropriate compensation structure.

   16              It isn't that difficult.     Your Honor hears it all the
   17   time:   KEIPs, KERPs.   Judge Jernigan hears it all the time.        My

   18   point is, Your Honor, there's nothing that would help her, from

   19   her knowledge of Acis, that would justify a transfer of venue.

   20              They also stress that -- in their papers, that Judge

   21   Jernigan heard a lot of testimony from debtor's management.

   22   But they really don't discuss what the content of that
   23   testimony is or how it's, in any event, relevant to this case.

   24   They just really want to rely on the sheer volume of

   25   information that they have foisted on Your Honor, citing to the




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    1   entire record, by saying there's so much; there's been hundreds
    2   of pages, dozens of hearings, and then that means Judge

    3   Jernigan is in a much better position.

    4             If they wanted to point to specific things in the
    5   record where the judge had specific knowledge, they could have.

    6   They shouldn't (sic) have.      And they're trying to do this on a

    7   big holistic view, but when Your Honor looks at the record, I

    8   think Your Honor will conclude otherwise.
    9             In any event, it's not really -- they don't explain

   10   why familiarity with the debtor's management is at all
   11   relevant.    Look, they clearly want a trustee in this case and

   12   believe that because Judge Jernigan found debtor's management

   13   to not be credible, she'll be more apt to appoint a trustee
   14   than this Court.    But that argument doesn't withstand scrutiny.

   15             This case is different.       This case is being managed by

   16   a CRO.   This case had the debtor file a motion it didn't have
   17   to file for ordinary-course protocols.       This case has -- thus

   18   far, you haven't heard anything about any discovery disputes,

   19   you haven't heard anything -- although you heard a couple weeks

   20   ago there might be issues with cooperation, we provided a

   21   substantial amount of documents, produced witnesses, in a

   22   significantly accelerated time frame.        You have heard nothing
   23   about that.

   24             So any un-cooperation or difficulty of any -- that

   25   they may have encountered in the Acis case, there's no evidence




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    1   that that's occurring here, for good reason; because Mr. Sharp
    2   is in charge.    And although he is still reporting to Mr.

    3   Dondero, as his corporate structure, Mr. Dondero can terminate

    4   him, and if he terminates him, he has to give notice.         That's
    5   appropriate.    That's one of the issues we address in connection

    6   with the U.S. Trustee's concerns with the CRO motion.         In order

    7   to file a corporate governance, he has to report.        But there

    8   are certain things, as you'll hear later, that he has been
    9   given primary responsibility for.

   10             Your Honor, Chapter 11 is about giving a debtor a
   11   fresh start, and this court is no -- this case is no exception.

   12   This Court is fully capable of evaluating the veracity of the

   13   debtor's witnesses; and transferring the case to Judge
   14   Jernigan, when the real motivation is because of how she has

   15   dealt with the prior case -- which they may not say it, but

   16   that's clearly what's happening here -- would be unduly
   17   prejudicial to the debtor.

   18             We have nothing against Judge Jernigan.       She is a fine

   19   jurist.   But in this case I think it's a challenge and there's

   20   a reason why we decided to have the case filed here.

   21             And then I'll also point to Your Honor the significant

   22   adversity between the two estates.      Your Honor mentioned that.
   23   Counsel said, well, it happens in all cases.        True.   We've been

   24   involved in many, many cases with multi debtors, that they have

   25   issues in intercompany claims.      That's a fact of modern




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    1   corporate life.
    2             But this is different.     The whole -- one of the -- the

    3   most significant asset of Acis are their claims against this

    4   debtor.   How those claims are prosecuted and when they succeed,
    5   may make or break the Acis case as to whether unsecured

    6   creditors get paid or not.

    7             In a case like this, this factor does not support a

    8   transfer of venue; we argue that it supports keeping the case
    9   before Your Honor so that it can maintain the separateness of

   10   the estates.
   11             In conclusion, Your Honor, we don't believe the

   12   committee has come close to satisfying its burden that a change

   13   of venue is appropriate under 1412.      And as I mentioned at the
   14   beginning of my presentation, the committee's motive in

   15   bringing the motion and Acis' motive in joining the motion is

   16   clear.    Even though the debtor has installed a CRO with
   17   expanded powers, with impeccable credentials to address

   18   creditor concerns, the committee and Acis are focused on the

   19   appointment of a Chapter 11 trustee and believe the transfer of

   20   the case to Texas is the most likely to get that goal

   21   accomplished.

   22             But rather than filing the case -- or filing a trustee
   23   motion here, they took their shot on a venue motion and hope

   24   that Your Honor will give them a shot to do it in Texas.

   25             Your Honor, for those reasons, we respectfully request




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    1   that Your Honor deny the motion.
    2              THE COURT:   Thank you.

    3              MR. POMERANTZ:     Does Your Honor have any more

    4   questions?
    5              THE COURT:   No.

    6              MR. POMERANTZ:     Thank you, Your Honor.

    7              THE COURT:   Reply?

    8              MR. CLEMENTE:    Briefly, Your Honor.    I will be brief.
    9   It will be a little less organized, because I'll just run

   10   through some points very quickly.
   11              THE COURT:   Okay.

   12              MR. CLEMENTE:    First of all, on Restaurant

   13   Acquisitions, I believe in that opinion, Your Honor, there were
   14   creditors that supported venue in Delaware.        We do not have a

   15   single creditor on the record supporting Delaware -- excuse

   16   me -- supporting venue in Delaware.
   17              Regarding the litigation in New York and Delaware,

   18   that's a red herring, Your Honor.       They're forced creditors.

   19   They were forced to bring lawsuits to achieve their view of

   20   justice.    It's not relevant to whether -- the location of

   21   that -- those lawsuits being in Delaware and New York.            They

   22   were forced to bring those lawsuits in order to get paid by Mr.
   23   Dondero and the debtor.

   24              Your Honor, we didn't call witnesses this morning,

   25   because we believe -- as I mentioned in my argument -- that the




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    1   uncontroverted facts support our venue-transfer motion.           The
    2   other motions are their burden, Your Honor.       And so I wanted to

    3   remind Your Honor of that.

    4             Regarding Young Conaway, obviously, we shouldn't -- it
    5   shouldn't be held against us that we decided that the smart and

    6   prudent thing to do is to have able Co-Counsel advise us as we

    7   proceed in front of Your Honor.      So I believe that that's

    8   something that simply is of no moment.
    9             The location of the assets, Your Honor, these are

   10   financial instruments.     They're interests in limited
   11   partnerships.    They're documents.     They're things that are

   12   created by documents.     And again, it's not controverted.

   13   That's all located in Dallas, Your Honor.
   14             So this idea of far-flung assets throughout the

   15   country just simply isn't true.      These are documents.     They're

   16   interests.   They're things that exist on paper.
   17             Your Honor, we have not made this about the mom-and-

   18   pop creditors.    We take Your Honor's comments to heart on that.

   19   As Counsel for Acis suggested, this is about the large body of

   20   unsecured creditors that are sitting at the bottom of this cap

   21   structure with oversecured creditors on top of it.        And this

   22   large body of unsecured creditors has said we believe that
   23   venue is appropriate in Dallas.

   24             Regarding the rules of evidence, of course Judge

   25   Jernigan is not going to ignore the rules of evidence.            But




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    1   we're talking about judicial efficiency.
    2             For example, when I need to look at an indenture, I

    3   know in article 2 it's going to have payment terms.        That's the

    4   type of thing that we're talking about, Your Honor; not that
    5   she's going to pre-judge or ignore the rules of evidence as she

    6   makes her determinations.

    7             Finally, Your Honor, two things that I would -- that I

    8   would like to say.    The testimony you may hear this afternoon,
    9   obviously that should not factor into what you're up the

   10   learning curve today, right now, in terms of considering the
   11   venue motion.    That would put the cart before the horse, I

   12   think.

   13             And, Your Honor, I'd be remiss if I didn't talk about
   14   this ordinary-course motion that we keep hearing about.           If

   15   they didn't need it, they shouldn't have filed it.        But

   16   instead, what they're trying to do is create some type of
   17   transparency and legitimacy around transactions that I think

   18   we'll make clear, are not in the ordinary course.

   19             And the final point that I would make there, Your

   20   Honor; it's interesting Mr. Pomerantz referred to the multi-

   21   strategy transaction.     That one is -- Your Honor, I will

   22   call -- a doozy.    And you will hear more about it this
   23   afternoon, to the extent Your Honor decides not (sic) to keep

   24   venue.

   25             With that, unless you have questions for me, I'll sit




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    1   down.
    2             THE COURT:   No questions.

    3             MR. CLEMENTE:    Thank you.

    4             THE COURT:   Thank you.
    5             MS. PATEL:   Your Honor, I'll be brief, and I won't

    6   repeat anything that Mr. Clemente, on behalf of the committee,

    7   said.    But I did want to just address kind of the first point

    8   Mr. Pomerantz made with respect to Judge Hale, and he's not
    9   aware of any formal statement that Judge Hale is not taking

   10   cases.    Your Honor, that's accurate.     I'm not aware of any
   11   formal statement that Judge Hale is not taking cases either.

   12             So to answer Your Honor's question, in terms of random

   13   assignment, in the Northern District of Texas, where I have
   14   practiced my entire career, and primarily practice before the

   15   courts that are there -- and I'm a former law clerk to Judge

   16   Hale also -- I will say that although there may be a random
   17   assignment, it is not -- absolutely not unheard of that when

   18   you've got the matter -- for example, if a case were assigned

   19   to Judge Hale, but Judge Houser were to hear first-day matters

   20   and other significant matters, that Judge Hale would then

   21   transfer that case for judicial efficiency and economy within

   22   the district, to Judge Houser for further proceedings.
   23             In other words, the Northern District of Texas always

   24   finds the easiest way in which to handle matters.        And I am

   25   confident, Your Honor, that if this matter were transferred to




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    1   the Northern District of Texas, that despite whoever it would
    2   be assigned to, that everyone is well aware of the time that

    3   Judge Jernigan has spent becoming familiar with Highland, these

    4   issues, and the amount of court resources that have been
    5   expended, such that this case would be transferred to Judge

    6   Jernigan.

    7             But perhaps that's just a question for Judge Jernigan

    8   and her courtroom staff or the Northern District of Texas and
    9   the courtroom -- I'm sorry -- the court clerk or the staff

   10   that's there.
   11             Your Honor, one last very quick point.       The comment

   12   was made that -- with respect to CLOs that Highland hasn't had

   13   a new CLO since 2009.     That, Your Honor, is because every new
   14   CLO that was issued from 2009 going forward to 2017, every one

   15   of those was issued in Acis.      Acis was the structured-credit

   16   arm of Highland.    It is how it issued new CLOs.
   17             Indeed, it issued seven CLOs under Acis, with over two

   18   billion dollars in assets under management.       The fact that

   19   there have been no new CLOs since then, simply means that they

   20   haven't been able to get one off the ground.

   21             But make no mistake, Your Honor, the CLO business is

   22   valuable enough that it is now the subject of significant
   23   litigation because of all of the attempts to transfer those CLO

   24   assets away.    So in terms of the court's familiarity, I would

   25   submit, again, that the bankruptcy court is clearly more




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    1   familiar with a significant piece of Highland's business.
    2             One last thing, Your Honor, and somewhat similar to

    3   that, that Judge Jernigan was not familiar with the Korean

    4   entities, the Singapore entities, or the multi-strat.         I submit
    5   to Your Honor that this Court hasn't been exposed to those

    6   things as well, other than conclusory statements that well,

    7   we've got some Korean assets; oh, we've got some Singapore

    8   assets; and we've got multi-strat; and other than Mr.
    9   Waterhouse's, like, five-minute testimony at the first-day

   10   hearing where I was questioning him with respect to the assets
   11   which he didn't really quite know about what's inside a

   12   multi-strat.

   13             Other than that, this Court hasn't been exposed either
   14   to those assets, so when we're looking at the broad playing

   15   field rather than looking at specific assets, there is a

   16   learning curve.    Judge Jernigan is further along it with
   17   respect to certain things.     Otherwise both courts are similarly

   18   situated or neutral to each other.      But it's those assets that

   19   she is familiar with, the business model of Highland, and that

   20   further along the learning curve that she is, that's what's

   21   significant here, Your Honor.

   22             And that will play into, clearly, what will ultimately
   23   be how Highland is going to restructure.       Again, the creditors

   24   here have voted with their feet in filing this transfer motion.

   25   And these are the very same creditors, Your Honor, that will be




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    1   necessary in order for this -- if it's going to be a successful
    2   restructure, they're the ones that are necessary to make it a

    3   successful restructure.     Thank you.

    4             THE COURT:   You're welcome.
    5             All right, let's break for lunch until 1:45.        And when

    6   I come back at 1:45 -- when we come back at 1:45, I am going to

    7   issue an oral decision on this motion.       All right.

    8        (Recess at 12:39 p.m. until 1:47 p.m.)
    9             THE CLERK:   All rise.

   10             THE COURT:   Please be seated.
   11             Okay, good afternoon.     Thank you for coming back.       I'm

   12   now prepared to rule on the motion to transfer venue, which I'm

   13   going to grant.
   14             So I think, as I hinted at during argument, that the

   15   case law that we're kind of clinging to on motions to transfer

   16   venue, really do not reflect the modern reality of Chapter 11
   17   practice in the U.S. and internationally.        And I think a lot of

   18   the parts of the test really don't reflect what's going on

   19   generally in Chapter 11 cases.

   20             The thing I take greatest umbrage -- no, "umbrage"

   21   isn't the right word -- but disagree with the most is the idea

   22   that there's somehow a strong presumption of the debtor's
   23   choice of forum.

   24             Look, every debtor that files bankruptcy -- certainly

   25   every sophisticated Chapter 11 debtor that files bankruptcy --




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    1   is engaged in forum-shopping.      There is an element to that.
    2   Where you file will depend on a lot of things that are unique

    3   to the forum.

    4             I don't think you need to be ashamed of that.           I don't
    5   think that's bad.    As long as the venue you're choosing is

    6   appropriate under the law, certainly you're going to make

    7   decisions based on what the law is in that particular district,

    8   perhaps even a preference to individual judges or judge in that
    9   district.

   10             To compound that with a strong presumption in favor of
   11   the debtor is to really give a boost to the debtor's choice of

   12   forum, which is made -- included in the decision-making process

   13   is an element of forum-shopping, to a level that makes it very
   14   difficult to overcome that presumption.

   15             Of course, the creditors that file a motion to

   16   transfer venue are engaged in forum-shopping themselves.
   17   Otherwise, why would they be switching forums and going for a

   18   different location.    Again, I don't think that the word "forum-

   19   shopping" should have the negative connotation that it has come

   20   to have in the law.    It is the reality of bankruptcy practice.

   21             Now, if that's involved -- if that goes a step further

   22   and somehow involves chicanery or something inappropriate just
   23   from an ethical standpoint, of course that's problematic.            But

   24   there's absolutely no indication here whatsoever that anyone,

   25   on behalf of the debtor or the creditors or the Dallas court or




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    1   the Delaware court, is doing anything other than acting
    2   appropriately.

    3             The question about a motion to transfer venue is

    4   whether the motion should be granted by a preponderance of the
    5   evidence.    If you add a strong presumption, you're turning it

    6   into a harder motion to be granted; and I don't think that's

    7   appropriate.

    8             However, I find the laundry list of factors that are
    9   generally discussed to be irrelevant or almost irrelevant to

   10   the actual issues that are going on, particularly in a case
   11   like this.    And I'll get to that in a second.

   12             So six of the debtors are located in Texas; UBS is

   13   located in New York.     UBS is located everywhere.     Wells Fargo
   14   is located everywhere.     Certainly companies have executive

   15   suites.   But whether or not that should be the decision about

   16   where a case should file, to me, isn't particularly clear.          It
   17   depends on the facts of the case.

   18             I think a more general approach that would involve

   19   looking at the facts and circumstances of a case and seeing

   20   whether it points to a specific jurisdiction might be a more

   21   helpful way of proceeding.     And that's what this case is really

   22   about.
   23             This is a unique case, I think.      It is a different

   24   case than those that we usually run into.       And although maybe

   25   not completely different from every case, but in any event,




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    1   this case is very focused on responding to existing litigation.
    2   And that existing litigation of a former affiliate, as of a few

    3   months ago, and a pending appeal that could make it a current

    4   affiliate, is located in the Northern District of Texas.
    5             The judge in the Northern District of Texas has done a

    6   tremendous amount of work and has done -- issued a number of

    7   opinions, had a number of trials.       That work creates a

    8   familiarity with the facts, issues, and players in a case
    9   which, while it may not affect the actual decision based on

   10   evidence on a motion-by-motion basis, certainly could color a
   11   judge's approach to a case.

   12             Judges are human.    Judges make judgments over time as

   13   to the parties, as to the lawyers.       That's not inappropriate,
   14   as long as you stick by the rules of evidence.        But it

   15   certainly can color what credibility you might give to a

   16   witness or to counsel.
   17             I think here we have a situation where the real

   18   gravitas of this case is in Dallas.      The two facts that really

   19   come out to me are, in this case, the fact that the executive

   20   suite is very focused and very Dallas-oriented.        It's a global

   21   empire, but it's clearly focused in Dallas.       And the existing

   22   litigation in the Acis bankruptcy that's been going on for some
   23   time; those are the two predominant factors.

   24             Everything else kind of falls away.       The creditors are

   25   scattered.   The assets are scattered.      The economic




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    1   administration isn't being affected one way or the other.           I
    2   mean, people can get on planes and you can go to Philly or you

    3   can go to Dallas.    Either way, you're stuck on American

    4   Airlines.    But so be it.
    5             It can be done.    And as a result, I think that the

    6   best solution here, to give the debtors a fair shot at

    7   reorganization, but to balance the creditors' rights and the

    8   creditors' desires, is to move the case to Texas.
    9             And on that latter point, just to finish up.        As I

   10   said with my previous decision in EFH, it was striking in that
   11   case that only one creditor moved to transfer venue and that

   12   none of the other creditors either actively opposed or simply

   13   stayed silent with regard to that motion, including significant
   14   creditors, like the official committee.

   15             In this case, we have the opposite.       We have the

   16   debtor defending its venue choice, of course.        But there's a
   17   lot of silence, because there's no one else on that side.           I

   18   thought it highly significant that Jefferies and -- is it

   19   Fortress?

   20             UNIDENTIFIED SPEAKER:     Frontier.

   21             THE COURT:   Frontier, thank you.     That Jefferies and

   22   Frontier did not take a position.       And no other creditors
   23   opposed the committee's motion.      And the committee consists of

   24   a series of very large creditors.

   25             So I think that given these facts and circumstances,




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    1   particularly the unique nature of the ongoing litigation and
    2   the existing tie to Dallas, the executive suite and management,

    3   principal place of business, if you will, being focused in

    4   Dallas, and creditors -- as Counsel said -- voting with their
    5   feet to move the case to Dallas, and applying just a good old

    6   fashioned preponderance of the evidence standard, that the

    7   Court should grant the motion, which I will do.

    8             Now, I need an order.     And we will get the machinery
    9   in place, as soon as I get the order signed, to transfer the

   10   file as quickly as possible.
   11             I did call Judge Jernigan prior -- right before I came

   12   out -- well, right before I went and got lunch and then came

   13   out -- to inform her what I was going to do, so the Dallas
   14   court is aware that this is -- that this is an issue that's

   15   coming their way.

   16             Is there anything -- I'm not going to create a lot of
   17   law of the case for Judge Jernigan on matters that don't need

   18   to be decided today.     Is there anything the parties actually

   19   agree on that needs to go forward today or can go forward

   20   today?   If not, I'd rather just save everything for Judge

   21   Jernigan to have a fresh look at.       I know that she did mention

   22   that she has availability on her calendar over the next several
   23   weeks.   So you should be able to get on it rather quickly, once

   24   the case gets transferred.

   25             We used to send big boxes in the mail to do this, but




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    1   now it's just hitting a couple buttons on a computer to take
    2   care of that.

    3              So is there anything we could -- we need to decide?

    4              Okay.    Just a question.    Obviously there are estate
    5   professionals -- Pachulski not really a problem, since you'll

    6   stay in the case, but I'm thinking of Young Conaway -- and I

    7   don't know if there are any other firms that are Delaware firms

    8   that might fall out of the case that would be subject to the
    9   Court.   But I'll leave that for Judge Jernigan to decide

   10   whether to retain them for a limited period of time or to pay
   11   them or not pay them.      Hopefully, of course, they've earned

   12   their money; they should be paid.

   13              Yes, sir.
   14              MR. KHARASCH:   Your Honor, Ira Kharasch of Pachulski.

   15   I think Your Honor, there is one vital matter that you should

   16   hear today and rule on.     I would think it would be generally an
   17   easy motion.    It is the application to employ the CRO.          That is

   18   within the debtor's business judgment, given -- as we described

   19   the reasons for that, considering the concerns raised by

   20   creditors.

   21              I think it's critical that the CRO be formally

   22   engaged.    They've done a tremendous amount of work in the past
   23   six weeks.    They've been at the company full time, for a team,

   24   for a month.    They have done a lot of good stuff in this case.

   25   They have a lot more things to do.




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    1              The CRO has been tasked under the modified -- under
    2   the protocols, with broadened authority to take all kinds of

    3   and accept all kinds of decision-making over key decisions of

    4   this case, involving insider transactions, ordinary-course
    5   transactions.    We've done a lot of work modifying the protocols

    6   that relate to that.

    7              This company is operating every day.      I think the CRO

    8   and his team deserve some comfort that they should get employed
    9   as of today, Your Honor.     I -- you know --

   10              THE COURT:   Let me hear from the committee.
   11              MR. CLEMENTE:   Thank you, Your Honor.     Matthew

   12   Clemente on behalf of the committee.

   13              Your Honor, we don't agree with that.      Again, it's not
   14   about DSI being paid or not being paid.       As Your Honor

   15   mentioned with Young Conaway, that isn't the issue.        But to the

   16   extent Your Honor has any familiarity with the motions, they're
   17   all intertwined.    The CRO is all part of the protocols that

   18   they're advancing in the ordinary-course motion.

   19              So this isn't about simply retaining a professional to

   20   ensure that that professional gets paid.       It really is about

   21   setting what I like to call concrete pillars in the ground in

   22   terms of how the debtor views the case should be managed going
   23   forward.    And I think based on Your Honor's ruling, that's

   24   something that Judge Jernigan should be given the opportunity

   25   to weigh in on.




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    1              So again, it's not about Mr. Sharp and his firm
    2   getting paid.    I don't believe that that is the issue.          They

    3   can continue doing what they've been doing, up to this point,

    4   just like we have, for example, at Sidley, and the rest of the
    5   professionals that haven't been retained.       And I don't see why

    6   that should cause a problem.

    7              But we do believe that that is integrated with the

    8   other suite of motions that would be before Your Honor; and we
    9   think it's appropriate for Judge Jernigan to make those

   10   decisions.
   11              THE COURT:   All right.    Well, I don't view a retention

   12   application to be an emergent basis to hear a motion anyway.

   13   But I'm certainly not going to agree to sign it over objection
   14   of the committee, given how I just ruled.       So --

   15              MR. CLEMENTE:   Thank you, Your Honor.

   16              THE COURT:   -- I'd also say.    So I'd ask the committee
   17   Counsel to circulate a form of order and submit it under

   18   certification of counsel.     I think the simpler the better; just

   19   for the reasons set forth on the record, and it's transferred.

   20   Don't put a lot of findings in there.       That'll just cause

   21   trouble.    That's my belief.   But you can negotiate what you

   22   want to negotiate, and as soon as that's ready, upload it,
   23   inform chambers, we'll get it signed, and we'll start the

   24   machinery in place.

   25              MR. CLEMENTE:   Great.    Thank you very much, Your




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    1   Honor.   We appreciate it.
    2             THE COURT:   All right.    We're adjourned.

    3        (Whereupon these proceedings were concluded at 2:02 PM)

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   13                   the exception of Nos. 3 and
   14                   9; and Exhibits 24 and 25

   15   26              Email exchange between Acis'            40

   16                   counsel and Hon. Jernigan's
   17                   courtroom deputy

   18
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   21   Motion of the Official Committee of              105         13

   22   Unsecured Creditors for an Order
   23   Transferring Venue of this Case to the

   24   United States Bankruptcy Court for the

   25   Northern District of Texas, granted.




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    2                        C E R T I F I C A T I O N

    3

    4   I, Clara Rubin, certify that the foregoing transcript is a true
    5   and accurate record of the proceedings.

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   10                                        December 3, 2019

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                           IN THE UNITED STATES BANKRUPTCY COURT
        1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION
        2
                                           )    Case No. 19-34054-sgj-11
        3   In Re:                         )    Chapter 11
                                           )
        4   HIGHLAND CAPITAL               )    Dallas, Texas
            MANAGEMENT, L.P.,              )    January 9, 2020
        5                                  )    9:30 a.m. Docket
                      Debtor.              )
        6                                  )    DEBTOR'S MOTION TO COMPROMISE
                                           )    CONTROVERSY WITH OFFICIAL
        7                                  )    COMMITTEE OF UNSECURED
                                           )    CREDITORS [281]
        8                                  )
        9                       TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
       10                    UNITED STATES BANKRUPTCY JUDGE.

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        1              DALLAS, TEXAS - JANUARY 9, 2020 - 9:56 A.M.

        2             THE COURT:   All right.    Let's roll to Highland now.

        3   Let's get appearances from lawyers in the courtroom, please.

        4             MR. POMERANTZ:    Good morning, Your Honor.     Jeff

        5   Pomerantz; Pachulski Stang Ziehl & Jones.      Happy New Year,

        6   Your Honor.

        7             THE COURT:   Happy New Year.

        8             MR. POMERANTZ:    Here on behalf of the Debtor.

        9             THE COURT:   Okay.   Thank you.

       10             MS. HAYWARD:    Good morning, Your Honor.    Melissa

       11   Hayward and Zachery Annable on behalf of the Debtor.

       12             THE COURT:   Good morning.

       13             MS. LAMBERT:    Lisa Lambert, and I think Ms. Kippes

       14   will be joining me, representing William Neary, the United

       15   States Trustee.

       16             THE COURT:   Thank you.

       17             MS. CHIARELLO:    Good morning, Your Honor.     Annmarie

       18   Chiarello and Rakhee Patel here on behalf of Acis Capital

       19   Management, LP and Acis Capital Management GP, LLC.

       20             THE COURT:   Thank you.

       21             MR. CLEMENTE:    Good morning, Your Honor.     Matthew

       22   Clemente from Sidley Austin on behalf of the Official

       23   Committee of Unsecured Creditors.      With me today are my

       24   partners Dennis Twomey and Penny Reid.

       25             THE COURT:   Okay.   Good morning.    All right.    Is that




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        1   all of the courtroom appearances?

        2          All right.   We have several people on the phone.      I think

        3   most of them are just listening in.      If you're on the phone,

        4   though, and you wish to appear, you may do so at this time.

        5               MR. BENTLEY:   Good morning, Your Honor.     This is

        6   James Bentley of Schulte Roth & Zabel.        Also on the line is my

        7   co-counsel, Joseph Bain of Jones Walker.         We represent the

        8   Issuers.

        9               THE COURT:   Okay.   Good morning.

       10               MS. MASCHERIN:   Good morning, Your Honor.     This is --

       11               MR. MAXCY:   Good morning.   Patrick --

       12               MS. MASCHERIN:   Good morning, Your Honor.     This is

       13   Terri Mascherin of Jenner & Block.       Also on the line with me

       14   is my partner, Mark Hankin.      We represent the Redeemer

       15   Committee of the Highland Crusader Fund, which is one of the

       16   members of the Unsecured Creditors' Committee.

       17               THE COURT:   Okay.   Good morning.

       18               MR. MAXCY:   Good morning, Your Honor.     This is

       19   Patrick Maxcy from Dentons US, LLP on behalf of Jefferies,

       20   LLC.

       21               THE COURT:   Okay.   Thank you.   All right.   Well, I

       22   guess that is it for the phone appearances.

       23          Mr. Pomerantz, we're -- we have just one matter on the

       24   calendar, the motion to compromise with the Committee.           I saw

       25   two limited objections, and then a U.S. Trustee's broader




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        1   objection.   I'll start with, Do you have any of these

        2   objections worked out?

        3             MR. POMERANTZ:    Yes, we do.

        4             THE COURT:   Okay.

        5             MR. POMERANTZ:    We believe we have the Jefferies

        6   objection worked out, as well as the objection of the Issuers.

        7   And I'll, during the course of my presentation, alert Your

        8   Honor to how that's worked out.

        9             THE COURT:   Okay.

       10             MR. POMERANTZ:    And then we'll have a revised order

       11   that basically addresses each of their concerns, or at least

       12   Jefferies' concerns, but the statements on the record for the

       13   Issuers' concerns.

       14             THE COURT:   Okay.   Very good.

       15             MR. POMERANTZ:    Good morning again, Your Honor.      Jeff

       16   Pomerantz; Pachulski, Stang, Ziehl & Jones.      I'm joined in the

       17   courtroom by Ira Kharasch, Greg Demo, and John Morris from my

       18   office.   I would also like to introduce the Court to the

       19   proposed new members of the board of directors of Strand

       20   Advisors, which is the Debtor's general partner.       They're all

       21   sitting in the first row behind counsel's well.       And that's

       22   Mr. James Seery, --

       23             THE COURT:   Good morning.

       24             MR. POMERANTZ:    -- Mr. John Dubel, --

       25             THE COURT:   Good morning.




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        1             MR. POMERANTZ:    -- and the Honorable Russell Nelms.

        2             THE COURT:   Yes.   I've met him before.

        3             MR. POMERANTZ:    As have we.   We thought you would

        4   remember him.

        5        The resumes of Mr. Seery and Mr. Dubel were attached to

        6   the motion filed on December 27th, and those two resumes and

        7   the resume of the Honorable Judge Nelms were attached to the

        8   reply that was filed last evening.     And while Mr. Seery and

        9   Mr. Dubel may be new names to Your Honor, we know that you are

       10   familiar with Judge Nelms, who sat with you in this district.

       11             THE COURT:   Uh-huh.

       12             MR. POMERANTZ:    Also in the courtroom, Your Honor, is

       13   Brad Sharp, the Debtor's chief restructuring officer from DSI,

       14   --

       15             THE COURT:   Good morning.

       16             MR. POMERANTZ:    -- and his colleague, Fred Caruso,

       17   who spends most of his working hours at the Debtor's Dallas

       18   headquarters.

       19             THE COURT:   Good morning.

       20             MR. POMERANTZ:    We have the declaration of Mr. Sharp

       21   that we would move into evidence at this point in time.

       22             THE COURT:   All right.    I've got a stack of paper.

       23   If you have an extra copy for me to use, --

       24             MS. HAYWARD:    Your Honor, may I approach with the --

       25             THE COURT:   You may.




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        1             MS. HAYWARD:    Your Honor, it was filed, the

        2   declaration was filed.     I'm not sure that we have a copy of --

        3             MR. POMERANTZ:    Your Honor, we will also at the

        4   appropriate time during my presentation, I'll bring up to Your

        5   -- ask to bring up to Your Honor revisions to the term sheet

        6   that was attached to the motion.

        7             THE COURT:   Okay.

        8             MR. POMERANTZ:    Copies have been given to Ms. Lambert

        9   as well as the Committee.

       10             THE COURT:   Okay.   Very good.    All right.   Well, what

       11   was handed to me was the preliminary term sheet as well as the

       12   CVs for the proposed new board members.      I don't see the

       13   declaration --

       14             MR. POMERANTZ:    Your Honor, if I may approach, I have

       15   a copy.

       16             THE COURT:   You may.     All right.   Very good.

       17             MR. POMERANTZ:    So we would move that declaration

       18   into evidence.

       19             THE COURT:   All right.    The Court will admit this.

       20   It was filed on the docket at 327, but I will additionally

       21   admit it as Exhibit 1 today.

       22        (Debtor's Exhibit 1 is received into evidence.)

       23             THE COURT:   At some point in time, I want to give

       24   parties the opportunity to cross-examine Mr. Sharp.       Do you

       25   want to do that now, or shall we hear an opening statement?




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        1              MR. POMERANTZ:   However Your Honor prefers.       I mean,

        2   maybe it's helpful to hear argument first, and then, before

        3   the Trustee --

        4              THE COURT:   I think I'd like to hear opening

        5   statements and then we'll --

        6              MR. POMERANTZ:   Thank you.

        7              THE COURT:   -- make the opportunity available.       Okay.

        8               OPENING STATEMENT ON BEHALF OF THE DEBTOR

        9              MR. POMERANTZ:   Your Honor, by way of background, we

       10   appeared before Your Honor on December 6th and December 19th.

       11   And during each of those hearings, we described for the Court

       12   negotiations that were underway between the Committee and the

       13   Debtor which, if successful, would have -- would eliminate the

       14   need for contested and uncertain and costly litigation

       15   regarding the appointment of a Chapter 11 trustee and really

       16   put this case in a position where the Debtor and the Committee

       17   would be able to work together constructively towards

       18   negotiation of a plan.

       19       As a result of our hearing on December 19th, Your Honor

       20   entered a scheduling order that set deadlines for either the

       21   filing of a motion to approve a settlement, or alternatively,

       22   the filing of one or more motions for the appointment of a

       23   trustee.

       24       As set forth and required by the scheduling order, we

       25   filed our motion on December 27th, and in that motion we




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        1   sought approval of a term sheet and ancillary documents

        2   between the Debtor and the Committee, which I'll describe

        3   shortly.

        4        While a couple of items had not yet been agreed to at the

        5   time the motion was filed, I'm pleased to report that over the

        6   last couple of days we've been able to reach closure with the

        7   Committee with respect to those items, and there would also be

        8   some modifications to the term sheet, which I'll go through in

        9   a few moments.

       10        The motion, Your Honor, seeks approval of the term sheet,

       11   which accomplishes a variety of things that, again, will allow

       12   the Debtor and the Committee to put the acrimony that has

       13   existed in this case for the first three months behind us and

       14   allow us to focus on productive matters.         In the last 24

       15   hours, as I mentioned, there have been a few changes to the

       16   term sheet that I will describe.       And I would like to hand up

       17   Your Honor a redline and a clean copy of the revised term

       18   sheet and exhibits.     May I approach?

       19              THE COURT:   All right.    You may.     Do you have an

       20   extra for the law clerk?      Okay.   Thank you.

       21        (Pause.)

       22              MR. POMERANTZ:     Your Honor, the term sheet does a

       23   number of things.    Would you like me to give Your Honor some

       24   time to look through the redlines?

       25              THE COURT:   No.    You may proceed.




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        1             MR. POMERANTZ:    Okay.   The term sheet does a number

        2   of things.   The first thing the term sheet does is appointment

        3   of an independent board at Strand Advisors.       Strand Advisors

        4   is the GP of the Debtor.     The Debtor is an LP.    The Debtor

        5   previously had filed a motion to approve the retention of Brad

        6   Sharp as the chief restructuring officer, and that initial

        7   agreement and motion contain details regarding the scope of

        8   Mr. Sharp's authority and the scope of what the Debtor could

        9   do without Mr. Sharp's prior consent.

       10        The Committee raised concerns that the structure was not

       11   sufficient to ensure that decisions were being made for the

       12   Debtor only in their best interests and without any

       13   inappropriate influence from Mr. Dondero.

       14        To address the Committee's concerns, a focal point of the

       15   settlement was the Debtor's agreement to appoint an

       16   independent board of directors at Strand who would be

       17   responsible for managing the operations of the Debtor.

       18        Over the last few weeks, a principal aspect of the

       19   negotiations between the Committee and the Debtor have been

       20   discussing who should the independent directors be.

       21   Conceptually, the Debtor and the Committee both agreed that

       22   the board should include, first, a person with significant

       23   industry experience in which the Debtor operates -- hedge

       24   funds, money management; second, a person with deep

       25   restructuring experience from the financial advisor side; and




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        1   third, a person with some sort of judicial or governmental

        2   experience.

        3        The Debtor originally provided the Committee with three

        4   proposed candidates.    The Committee considered the Debtor's

        5   request, but instead presented the Debtor with four different

        6   candidates and asked the Debtor to choose from those four.

        7   The Debtors interviewed each of those people and ultimately

        8   agreed on Messrs. Dubel and Seery, who were each on the

        9   original list.

       10        As of the deadline to file the motion on December 27th,

       11   the Committee and the Debtor had still not agreed on the

       12   identity of the third board member, but the parties were

       13   hopeful that an agreement could ultimately be reached and we

       14   decided to go ahead and file the motion.      As I'm sure Your

       15   Honor saw in the motion, it was contingent upon everyone

       16   agreeing on the third board member.

       17        Ultimately, the Debtor and the Committee both agreed that

       18   Mr. Dubel and Mr. Seery could identify the third board member

       19   out of a pool of four people:       Two of the people originally

       20   requested by the Committee and two people identified by the

       21   Debtor.   This week and over the weekend, Mr. Seery and Mr.

       22   Dubel interviewed each of the four candidates, and ultimately

       23   decided on the appointment of Judge Nelms as the third

       24   independent board member.

       25        The board, as it will be constituted going forward, in the




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        1   Debtor's opinion, consists of three exceptional individuals

        2   who are independent of the Debtor, have a sterling reputation

        3   in the community, and bring to the Debtor a variety of the

        4   skills that we believe, and believe the Committee agrees,

        5   gives the Debtor the best opportunity to achieve a consensual

        6   restructuring and otherwise manage the affairs of the Debtor

        7   in the best interests of the stakeholders.

        8        It is contemplated that the Debtor will continue to retain

        9   the services of DSI as the chief restructuring officer, and

       10   ultimately the board will determine if it's important to

       11   retain a CEO going forward.

       12        The second thing that the term sheet does, Your Honor, was

       13   the removal of Mr. Dondero as an officer and director of

       14   Strand and eliminate all of his control over decision-making

       15   of the Debtor.   The Debtor recognized early on in this case

       16   that Mr. Dondero's continuing role with the Debtor in a

       17   position of authority made the Committee extremely uneasy.

       18   Accordingly, the term sheet provides for him removing himself

       19   as an officer and director of Strand and that he would no

       20   longer be in a position of control at the Debtor.

       21        However, since the filing of the motion, over the last

       22   several days, concerns have been raised about whether removing

       23   Mr. Dondero from the business entirely would have unintended

       24   consequences.    I believe I may have mentioned at prior

       25   hearings that, because of his involvement as a portfolio




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        1   manager under various contracts with third parties, that there

        2   could be adverse economic consequences to the Debtor if he

        3   didn't stay in some role.

        4        As a result of discussions over the last 24 hours, the

        5   Committee has agreed and the Debtor agreed to modify the term

        6   sheet to allow the new board to decide whether to retain Mr.

        7   Dondero in his capacity as a portfolio manager, provided,

        8   however, that he will not receive any compensation and he will

        9   agree to resign if requested by the board.

       10        In any event, he will have no decision-making control at

       11   all and he will report to the independent board.

       12        The corporate governance documents that create the new

       13   independent board of Strand also provide that Mr. Dondero, as

       14   the owner of the equity in Strand, may not replace the board

       15   without the Committee consent or court order.

       16        The third major aspect of the term sheet, Your Honor, was

       17   the agreement on operating protocols, and it really relates to

       18   the ground rules for the Debtor's operations going forward and

       19   when notice to the Committee is required of certain

       20   transactions that would otherwise be in the ordinary course of

       21   business.

       22        Importantly, Your Honor, we are not trying to modify the

       23   Bankruptcy Code in any way.     Any transactions out of the

       24   ordinary course of business would still be subject to Your

       25   Honor's approval.




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        1        However, in this case, as we indicated in the initial

        2   motion we filed when the case was in Delaware, whether or not

        3   something is ordinary is not straightforward in a case such as

        4   the Debtor's, given the nature of the Debtor's operations.           So

        5   we thought it was important to establish ground rules up

        6   front, and establishing those ground rules was one of the

        7   things we did initially in the case.      We had opposition from

        8   the Committee, and we've worked through the opposition and

        9   ultimately arrived at the operating protocols that are

       10   attached to the term sheet.

       11        They have been slightly modified in nonmaterial ways in

       12   the documents I handed up to Your Honor.

       13        They were subject to substantial negotiations between the

       14   Debtor and the Committee, and we also expect them to be the

       15   subject of future discussions with the Committee and the

       16   independent board after the independent board takes -- takes

       17   place.   Takes over.

       18        Two parties in interest, Your Honor, Jefferies and a group

       19   of Issuers, the CLOs, have filed comments to the term sheet,

       20   which I'll describe in a few moments.

       21             THE COURT:    Okay.

       22             MR. POMERANTZ:    The next aspect, Your Honor, of the

       23   term sheet was the provision of standing to the Creditors'

       24   Committee to pursue certain insider claims.

       25        During the negotiations, the Committee requested immediate




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        1   standing to investigate and potentially prosecute claims

        2   against insiders to the extent those insiders were not

        3   employed by the Debtor.    Granting standing at this stage of

        4   the case was a difficult give by the Debtor.       However, the

        5   Committee impressed upon the Debtor the importance of them

        6   being able to control the filing of any actions against the

        7   insiders, and the Debtor decided to accede to the Committee's

        8   request.

        9        It still remains the Debtor's hope that, with the creation

       10   of the independent board, that the Debtor, the Committee, and

       11   any insiders who might be subject to any such claims will be

       12   able to come together and negotiate a consensual resolution of

       13   this case.   While all parties, I'm sure, can and know how to

       14   litigate, hopefully they will agree that a negotiated outcome

       15   is better than a litigated outcome.

       16        The next aspect of the term sheet, Your Honor, was the

       17   document preservation protocols, and it provides for certain

       18   procedures to be put in place to address the Committee's

       19   concerns about document preservation.      They are contained in

       20   an exhibit to the term sheet.       Again, slight nonmaterial

       21   modifications were made in what I handed up to Your Honor.

       22   And essentially they provide also for the Committee's access

       23   to privileged documents to aid in their investigation and

       24   prosecution of claims to which they are granted standing, and

       25   also sets forth a procedure to be followed to address concerns




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        1   if the information is subject to shared privileges by several

        2   entities.

        3        As I mentioned, Your Honor, three parties have filed

        4   responses to the motion.     The first is Jefferies.    Jefferies

        5   is a secured creditor of the Debtor with respect to its margin

        6   account held at Jefferies, and also has a similar account held

        7   by a non-debtor affiliate.       They have asked for clarification

        8   that, one, nothing in the protocols or the motion affects its

        9   rights under the underlying agreements or the safe harbor

       10   provisions of the Bankruptcy Code entitling them to enforce

       11   their remedies; and two, that the Debtors will not trade in

       12   the prime account without Jefferies' consent, and if that

       13   consent is sought and not obtained, only subject to court

       14   order.

       15        The Debtor has agreed to include language in the order to

       16   address Jefferies' concern, and at the conclusion of my

       17   presentation I'll submit to Your Honor an order and a redline

       18   containing that language.

       19               THE COURT:   Okay.

       20               MR. POMERANTZ:   The second objection -- or not

       21   objection, Your Honor -- the second statement was filed by a

       22   group of Issuers of CLO obligations.

       23               THE COURT:   Uh-huh.

       24               MR. POMERANTZ:   And they were concerned that certain

       25   aspects of the operating protocols which require notice to the




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        1   Committee prior to the Debtor being able to take certain

        2   actions could conflict with the provisions of the underlying

        3   agreements which might require the Debtor to take action on a

        4   more expedited basis.

        5        Neither the Issuers or the Debtor are aware of any

        6   potential transactions that will arise prior to the next

        7   hearing before Your Honor on January 21st.      We understand --

        8   we were not party to these discussions between the Committee

        9   and the Issuers yesterday, but we understand the way it's been

       10   resolved is that the Issuers will withdraw their objection as

       11   it relates to going forward today, subject to being able to

       12   come back to the Court on the 21st and revisit the issue if

       13   additional changes are not made acceptable to them to resolve

       14   their issues and concerns.

       15             THE COURT:    Okay.

       16             MR. POMERANTZ:    But I think all parties acknowledge

       17   that over the next 12 days this is a theoretical issue rather

       18   than a practical issue.

       19             THE COURT:    Okay.

       20             MR. POMERANTZ:    This brings us, Your Honor, to the

       21   United States Trustee's opposition, which is really the only

       22   true objection to the motion that has been filed.       No creditor

       23   has filed an objection, no investor has filed an objection,

       24   and no governmental agency -- which the U.S. Trustee in its

       25   objection purports to be pursuing their interests -- has filed




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        1   an objection, either.

        2        As Your Honor probably recalls, at the December 19th

        3   hearing the Trustee indicated its intent to oppose any

        4   agreement between the Debtor and the Committee that would

        5   involve corporate governance and to file its own motion for

        6   the appointment of the trustee.     That motion is currently

        7   scheduled for hearing on January 21st.      We had asked the U.S.

        8   Trustee to reserve judgment on the Committee's and Debtor's

        9   agreement until after we had come to an agreement and after we

       10   had presented it to the Trustee, in hopes that it would

       11   address their concerns.    However, as the Court told us -- as

       12   the U.S. Trustee told us and Your Honor at the December 19th

       13   hearing, there was nothing short of appointment of a trustee

       14   that would satisfy the Trustee.

       15        The comments really didn't make sense to us, and I believe

       16   it perplexed Your Honor, but here we are.

       17        At its core, Your Honor, the U.S. Trustee's objection is

       18   really a request that the Court substitute its business

       19   judgment for that of the Debtor and the Committee, the

       20   Committee who represents the substantial majority of all

       21   claims in this case, when both of them have decided that

       22   agreeing to certain changes in corporate governance, among

       23   other things, is preferable to the uncertain, costly, and

       24   time-consuming litigation over a trustee, and also the

       25   uncertainty, even if a trustee was appointed, on how the case




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       1   would be administered.

       2        To the contrary, under the corporate governance proposal,

       3   we have three highly-qualified individuals who are poised to

       4   take over management of the Debtor, and each bring with them

       5   various skills that one trustee would not have.

       6        The Trustee has filed its motion for appointment of a

       7   trustee, and I'm sure on the 21st will argue that the Code

       8   requires it.   However, that's not the issue before Your Honor

       9   today.   It's not whether a trustee is appropriate.      It's

      10   whether the motion and the term sheet is a sound exercise of

      11   the Debtor's business judgment under Section 363, and,

      12   importantly, a reasonable compromise of the pending disputes

      13   between the Debtor and the Committee.

      14        The Trustee's objection raises three general points, none

      15   of which have any merit.     First, the Trustee argues that there

      16   is a lack of disclosure of significant matters.       The first

      17   aspect that the Trustee raises to, or points to, is the

      18   absence of identification of the third board member and the

      19   absence of disclosure of the compensation that the board

      20   members will receive, which will be backstopped by the Debtor.

      21        As I described before, Your Honor, the identity of the

      22   third member of the board was a fluid process which was only

      23   resolved earlier this week, and the Debtor did not believe

      24   that it was appropriate to reach agreement on director

      25   compensation until all board members could provide input.




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        1   Last night, we filed a reply to the Trustee's objection in

        2   which we disclosed the identity of the third board member, and

        3   we'll also disclose the proposed compensation to be provided

        4   to them, which essentially is as follows.       Each member of the

        5   board will receive $60,000 a month for the first three months

        6   of the case, $50,000 a month for the next three months of the

        7   case, and the presumption thereafter would be $30,000 a month.

        8   However, people recognize that this case will look a lot

        9   differently six months from now, and while the presumption is

       10   $30,000, the Debtor, the independent board members, and the

       11   Committee will sit down, see how the case looks, and decide

       12   whether any modifications are appropriate.

       13       The amount of compensation, which at first blush may seem

       14   significant, really reflects the significant amount of work

       15   that the Debtor, the Committee, and the independent directors

       16   anticipate will be required from them not only to get up to

       17   speed about the case, but to effectively manage this complex

       18   Debtor's business operations.       The directors have heard from

       19   the Debtor and the Committee of all the issues, of all the

       20   concerns, and this is not an enviable task that they are

       21   undertaking.   The compensation they are being provided thus

       22   far we believe is appropriate under the circumstances and

       23   commensurate with the work that they are going to be expected

       24   to complete.

       25       If they are successful and they are able to achieve a




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        1   consensual restructuring here, the million and a half or so

        2   that will be spent on them will be best million and a half

        3   dollars I think spent in this case.

        4        Your Honor, we also have updated corporate governance

        5   documents which --

        6        (Pause.)

        7             MR. POMERANTZ:    Your Honor, may I approach with the

        8   updated corporate governance documents?

        9             THE COURT:    You may.    Okay.

       10             MR. POMERANTZ:    As I will discuss in a moment, Your

       11   Honor, there is really no need for the Court to approve the

       12   corporate governance documents, as they have been executed by

       13   Strand, which is not a debtor before this Court.       However,

       14   there are a couple of matters in those documents that I want

       15   to bring to the Court's attention that do impact on the

       16   Debtor.

       17             THE COURT:    Okay.

       18             MR. POMERANTZ:    First, as is typical for board

       19   members, Strand has agreed to indemnify the independent

       20   directors to the full extent permitted by law.       The

       21   independent directors have requested that the Debtors backstop

       22   Strand's agreement, and the Debtor and the Committee agree,

       23   and the documents so provide.

       24        Strand has also committed to obtain directors and officers

       25   coverage for the independent directors.      It has been located,




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        1   it's in the process of being finalized and bound, and the

        2   Debtor will pay the cost of that coverage.

        3        The independent directors have also asked for language in

        4   the order approving the settlement that requires a party

        5   seeking to assert a claim against the independent directors

        6   relating to their role as an independent director to

        7   demonstrate to this Court that a claim is colorable before

        8   filing the claim and providing the Court with jurisdiction

        9   over any such claim.     This is language that's similar in other

       10   similar types of cases.

       11               THE COURT:   Uh-huh.

       12               MR. POMERANTZ:   That will be reflected in the order.

       13        Next, the Trustee objects to the failure of the Debtor to

       14   identify who the potential chief executive officer of the

       15   Debtor will be.    And essentially, she's arguing that you have

       16   to identify that CEO now; it has to be subject to court

       17   approval.    However, there's no requirement that any company

       18   retain a CEO.    It's not a corporate law requirement.        And the

       19   fact that the board reserves the right to retain a CEO in the

       20   future is consistent with corporate law and is not a basis to

       21   deny the motion.    And in any event, normally, the retention of

       22   a CEO is not a subject that is brought to the Court's

       23   attention for Court approval.

       24        So the lack of any clarity over the identity of the CEO is

       25   a reflection of the fact that this independent board does not




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        1   know if a CEO is required.     They will come in, they are going

        2   to interview all the employees, they're going to sit down with

        3   the CRO, they're going to sit down with counsel, they're going

        4   to sit down with the Committee, and ultimately they will

        5   decide if a CEO is to be retained.      And if a CEO is to be

        6   retained, they will go through the process of identifying who

        7   that CEO is.   But again, it's not a reason to deny the motion.

        8        The Trustee has also argued that because the Committee is

        9   not granted standing to pursue claims against current

       10   employees, as opposed to former employees, that there might be

       11   some statute of limitations concerns with respect to claims

       12   against those employees.     The argument doesn't really make

       13   sense to us.   In the standard case, the Debtor retains causes

       14   of action.   And the Committee can investigate causes of

       15   action.   And at some point during the case, a Committee could

       16   come in and could demand that the Debtor prosecute them, and

       17   if the Debtor unreasonably refuses, could seek standing before

       18   the Court.

       19        In this case, the Debtors agreed up front that the

       20   Committee has the standing to prosecute certain claims against

       21   insiders that are not employees of the Debtor, which obviates

       22   the need for standing.    So we've gone one step more.        But the

       23   Trustee is arguing that that leaves a void for the claims that

       24   are not subject to the agreement on standing.

       25        However, the term sheet provides that the board is going




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        1   to make determinations on what employees should remain, what

        2   employees should not remain.     To the extent the board

        3   terminates any employees and there are claims against them,

        4   then basically the Committee will have the ability to bring

        5   those claims.

        6          To the extent that those people aren't terminated, we have

        7   no doubt that the Committee, in the course of its

        8   investigation, will determine whether claims should be brought

        9   against those people, and at some point in time may ask the

       10   Debtor to prosecute those claims or ultimately seek standing.

       11          In any event, these things are not being swept under the

       12   rug.    There's no real legitimate concern that there's any

       13   statute of limitations issue that will prevent those claims

       14   from being prosecuted.

       15          I am very much aware and have no doubt that the Committee

       16   is going to be laser-focused on claims, and any concern that

       17   statute of limitations is going to lapse I think is not well-

       18   taken.

       19          The Trustee next argues that the Court does not have the

       20   jurisdiction to implement the corporate governance matters,

       21   and for that reason the motion should be denied.       They -- she

       22   argues that because Strand is not a debtor, that the Court has

       23   no authority to appoint --

       24               MS. LAMBERT:   Your Honor, I object.   The United

       25   States Trustee is a he.     I am not the United States Trustee,




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        1   and the attacks ad hominem are inappropriate.

        2              THE COURT:   All right.   Well, clarification, the U.S.

        3   Trustee is the guy in Washington.      But anyway, you may

        4   proceed.

        5              MR. POMERANTZ:    I apologize to Ms. Lambert.

        6              MS. LAMBERT:   Actually, he's downstairs right now.

        7   Bill Neary.

        8              MR. POMERANTZ:    I apologize to --

        9              THE COURT:   Oh, well, I thought you meant the big guy

       10   in Washington.   But anyway, you may proceed.

       11              MR. POMERANTZ:    I apologize to Ms. Lambert and no

       12   offense was meant.

       13              THE COURT:   Okay.

       14              MR. POMERANTZ:    So, the U.S. Trustee argues that

       15   because Strand is not a debtor that the Court has no authority

       16   to appointment the independent directors and limit Mr.

       17   Dondero's right to remove the independent directors.          The

       18   Debtor is not really seeking authority to appoint -- to have

       19   court authority for the appointment of the directors at

       20   Strand.    Again, as I mentioned before, that authority exists

       21   outside of bankruptcy.      Strand is not a debtor.   Strand could

       22   appoint anyone it wants to carry out its responsibility as the

       23   general partner of the Debtor, and it's exercising its

       24   corporate authority to do so by installing a board at Strand.

       25       Nor is the Debtor seeking court authority for Strand to




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        1   enter into the corporate governance documents.       Other than the

        2   couple of items I mentioned before, Your Honor, Strand can

        3   enter into these documents without authority from this Court.

        4   The only court authority that was required:       Debtor to

        5   backstop the indemnification obligations, Debtor to pay

        6   compensation to the board members, and Debtor to pay for the

        7   D&O policy.

        8        With respect to the Court's right to limit Mr. Dondero's

        9   ability to terminate the independent directors, the term sheet

       10   contemplates the Court approving a stipulation which limits

       11   Mr. Dondero's ability to terminate the independent directors,

       12   and if he does in fact seek to terminate the appointment of

       13   the independent directors, he would be in violation of court

       14   order.    But even more importantly, Your Honor, if he decided

       15   to terminate the independent directors without the Committee's

       16   consent and without the Debtor's consent, I wouldn't imagine

       17   it would take anyone very long to come back before Your Honor

       18   and ask Your Honor to very quickly appoint a trustee.

       19        Accordingly, Your Honor, I think the argument of lack of

       20   jurisdiction over Strand is a red herring and should be

       21   denied.

       22        Lastly, Your Honor, the Trustee makes a curious argument

       23   that a trustee is needed to protect all investors and

       24   governmental authorities.     The Trustee argues that this case

       25   demands transparency which can only be accomplished by a




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        1   Chapter 11 trustee.

        2        One thing I think the Debtor and the Committee and the

        3   U.S. Trustee will agree on, this case does demand

        4   transparency.   And we believe we've installed a corporate

        5   governance structure, an operating protocol structure, a

        6   document preservation structure, that does just that, provides

        7   transparency that this Debtor has not been subject to and

        8   which is quite different from the case that was before Your

        9   Honor before.

       10        So we believe that what the Debtor and the Committee have

       11   done is not only in the interests of the Debtor, the

       12   creditors, but investors and all governmental entities.

       13        And no investor or governmental entity has had any

       14   concerns or any problems with what is being done.       They

       15   haven't filed any objection.     The U.S. Trustee apparently is

       16   proceeding by proxy asserting those interests.

       17        Second, nothing in the term sheet or any of the documents

       18   limits the rights of investors or of governmental entities to

       19   seek a trustee, to seek documents, or to do anything they

       20   would -- that they would be entitled to do under the

       21   Bankruptcy Code.

       22        In any event, Your Honor, the fact that the Trustee

       23   believes that a trustee is more appropriate, again, is an

       24   argument that they can make at the January 21st hearing.          It's

       25   not a basis for denial of this motion.




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        1        In conclusion, Your Honor, the only economic stakeholders

        2   in this case believe that proceeding with the transactions

        3   contemplated by the term sheet is in the best interest of the

        4   estate, will maximize their ability to achieve a consensual

        5   restructuring, and move this case through the system as

        6   quickly and efficiently as possible.      The term sheet is a

        7   valid exercise of the Debtor's business judgment under 363 and

        8   an appropriate compromise of controversy, and the Trustee's

        9   objections are really nothing more than a rehash of its

       10   request for an appointment of a trustee.

       11        For all these reasons, Your Honor, we request that the

       12   Court overrule the U.S. Trustee's objection and approve the

       13   motion.

       14             THE COURT:    All right.   Well, before I hear from our

       15   objectors, is there any friendly commentary?       Mr. Clemente, I

       16   figured you might want to address this.

       17             MR. CLEMENTE:    I do, Your Honor.    And good morning.

       18             THE COURT:    Good morning.

       19       OPENING STATEMENT ON BEHALF OF THE OFFICIAL COMMITTEE OF

       20                           UNSECURED CREDITORS

       21             MR. CLEMENTE:    For the record, Matthew Clemente from

       22   Sidley Austin on behalf of the Official committee of Unsecured

       23   Creditors.   I do have some comments that I would like to make,

       24   Your Honor, some, so please bear with me.       I will try and be

       25   brief.




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        1             THE COURT:   Okay.

        2             MR. CLEMENTE:    I think as late as 1:00 o'clock in the

        3   morning I wasn't sure that I would be in front of you with

        4   this settlement fully in place in a manner that was

        5   satisfactory to my Committee.       As I mentioned to you in my

        6   prior appearances in front of you, every provision was

        7   important to the Committee, and they all work together.          As

        8   Your Honor can imagine, there was a lot of negotiation that

        9   took place, including late in the day and early morning, to

       10   come to that conclusion.

       11        Some comments on our perspective as a committee, Your

       12   Honor.   As an initial matter, we were absolutely not okay with

       13   the governance structure that was in place when the petition

       14   was filed.   As we detailed in our objections to the CRO motion

       15   and the protocol motion back when the case was in Delaware,

       16   the Committee has very real and identifiable concerns about

       17   the Debtor's ability to dispatch its fiduciary duty.          And the

       18   Committee very seriously contemplated moving for a Chapter 11

       19   trustee daily.   That conversation is something that the

       20   Committee continues to -- continued to engage in, Your Honor.

       21   So it's something that they considered very, very carefully.

       22        That was the lens through which the Committee was

       23   approaching negotiations over the settlement agreement and the

       24   independent director structure.      That's how they viewed it.

       25   That's the backdrop against which they came to it.




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        1        The Committee had two primary goals that it had sought to

        2   achieve with the settlement agreement.      The first was to

        3   ensure that Mr. Dondero does not remain in a position of

        4   management authority or control in any fashion with the

        5   Debtor.   Goal number two was to ensure that the value of the

        6   Debtor's estate is preserved and maximized.       Those two goals

        7   needed to work together.

        8        The Committee   believes that the carefully-crafted

        9   settlement agreement achieves these objectives in a manner

       10   that is more beneficial to the estate than a potential Chapter

       11   11 trustee and a related fight over its appointment at this

       12   time.

       13        The lynchpin of the settlement, Your Honor, is the

       14   appointment of the three independent directors.       And as Mr.

       15   Pomerantz outlined for you, that was the subject of intense

       16   discussion, negotiation, debate among the Committee and with

       17   the Debtor.   But we believe that Mr. Seery, Mr. Dubel, and

       18   Judge Nelms are fully independent, highly qualified, and bring

       19   relevant and complementary skillsets to this board.       Mr.

       20   Pomerantz referred to that, but we believe that the three

       21   directors all bring unique talents and attributes that will

       22   allow them to function effectively as a board and provide the

       23   appropriate oversight and direction that we believe is

       24   necessary here.

       25        However, regardless of how independent or highly skilled




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        1   they may be, they would be of no use if they weren't bestowed

        2   with the appropriate power.     So that was another point that

        3   was very important to the Committee, and we believe that the

        4   settlement does this.    The settlement makes clear that the

        5   independent directors are granted exclusive control over the

        6   Debtor, including over all employees.      That's absolutely

        7   critical to the Committee.

        8        The settlement also provides that the CRO and the Debtor's

        9   professionals shall report and serve at the direction of the

       10   independent directors.    That is also very important.

       11        And let me be clear, Your Honor, because I think you may

       12   have raised this at a prior hearing:      This is not a board that

       13   we expect to work at 50,000 feet, as demonstrated by the

       14   compensation structure that Mr. Pomerantz outlined for you.

       15   This will be a board that's hands-on, members of which will be

       16   on the ground, at the Debtor, with a strong presence and a

       17   clear message of who is in charge.      That is critical for this

       18   Committee.

       19        Additionally, as Mr. Pomerantz mentioned, the new board,

       20   in consultation with the Committee, is empowered to determine

       21   whether a CEO should be retained.     It's possible that one of

       22   the independent directors could be that CEO, Your Honor.        But

       23   we wanted to make clear that that was an important part of the

       24   structure, should the board determine that that was the way it

       25   wanted to go.




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        1        So, in sum, Your Honor, we believe that the independent

        2   board has the clear authority and the skillset that's

        3   necessary to take control and will be actively and

        4   aggressively doing so.

        5        But let me be clear, rest assured, Your Honor, this is not

        6   going to be a board that answers to the Committee in that

        7   sense.   I think that we will all be moving together

        8   directionally, but it's very possible that I will be in front

        9   of Your Honor arguing against a decision that this independent

       10   board made.   So I want to assure Your Honor that although the

       11   Committee was very active and in fact picked Mr. Seery and Mr.

       12   Dubel, and then Mr. Pomerantz detailed how the third director

       13   was picked, we understand who their duty -- what their duty is

       14   and we also understand that they're not a rubberstamp for the

       15   Committee, Your Honor.    And so I wanted to make that point to

       16   you to assure Your Honor that that's not the structure that's

       17   being set up here, nor are they the type of individuals that

       18   would allow that to happen.

       19        Additionally, Your Honor, the settlement grants the

       20   Committee standing to pursue estate causes of action against

       21   the related parties.    That was very important to us, Your

       22   Honor.

       23        And in addition to that, the settlement provides the

       24   Committee access to privileged documents and sets forth a

       25   discovery protocol that will assist the Committee in its




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        1   investigation.

        2        The Committee strongly believes that Mr. Dondero's

        3   repeated past behavior, that there are many questionable

        4   transactions that will need to be thoroughly investigated and

        5   pursued.   And so having those causes of action with the

        6   economic party in interest related to those causes of action,

        7   the Committee and its constituencies, we thought was very

        8   important and very critical.

        9        Granting standing, Your Honor, as I mentioned, avoids any

       10   issues regarding who will be controlling those claims.

       11        I'll touch on this in a moment, but Mr. Pomerantz talked

       12   about Mr. Dondero remaining in name as an employee.       Let me

       13   assure Your Honor that that is not a backdoor around the

       14   Committee's ability to investigate and immediately pursue

       15   claims against him should that be the course that we choose to

       16   take.   So he's not part of that carve-out for current

       17   employees.   That's not at all happening.     That would never be

       18   something that my Committee would be comfortable with.          So I

       19   wanted to make clear to Your Honor that that's not something

       20   that's happening with sort of this late edition of Mr.

       21   Dondero's continuing on in name as an employee.

       22        Your Honor, the settlement also lays out a very detailed

       23   set of operating protocols which we do believe are appropriate

       24   and provides the Committee with transparency, which I've been

       25   expressing to Your Honor we've needed since this case has




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        1   started.

        2        Finally, as we point out in our reply and as would always

        3   be the case, should new facts develop or the situation demand

        4   it, the Committee reserves the right to seek a Chapter 11

        5   trustee, as does any other party in interest, to the extent it

        6   may be appropriate at that time.

        7        In short, Your Honor, the Committee very carefully and

        8   diligently weighed the independent director option versus the

        9   Chapter 11 trustee option.     The Committee had very clear goals

       10   in mind, as I expressed to you, and determined that those

       11   goals could be achieved in a value-maximizing manner through

       12   the independent director structure.

       13        The negotiations were very intense, and it was only after

       14   the Committee determined that each piece of the settlement was

       15   to its satisfaction did it ultimately conclude that the

       16   settlement maximizes value for all stakeholders while at the

       17   same time protecting those stakeholders from exposure to

       18   continuing insider dealing, breaches of duty, and

       19   mismanagement.

       20        Therefore, the Committee believes approving the settlement

       21   is in the best interest of the estate, and therefore it

       22   believes it should be approved.

       23        I do want to offer a word about Mr. Dondero continuing as

       24   an employee.   As Your Honor was aware, the term sheet as

       25   originally filed provided that Mr. Dondero would, among other




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        1   things, resign as an employee of the Debtor.      Mid to late

        2   afternoon yesterday, Mr. Ellington called me and said that the

        3   Debtor was now of the view that Mr. Dondero should remain on

        4   as an employee in that capacity for the benefit of the estate.

        5   The Committee was, very appropriately, very skeptical of this,

        6   as well as the sort of last-minute offer, last-minute, you

        7   know, addition, however you want to view it -- some might

        8   argue retrade -- that Mr. Dondero was to leave the Debtor,

        9   period.   That was our view.   That was the way that the term

       10   sheet was initially structured.     And under no circumstances

       11   was the Committee going to allow Mr. Dondero to have any

       12   control over this Debtor.

       13       Your Honor, the Committee doesn't know what, if any, the

       14   consequences are of removing Mr. Dondero as an employee.         And

       15   we're not conceding at all that there are any value lost by

       16   removing Mr. Dondero as an employee.     Instead, what we're

       17   doing is we're staying true to our structure with the

       18   independent directors and we're empowering them to decide.

       19   And so it's consistent with, you know, our goals of having the

       20   independent director structure in place.      And under the

       21   settlement as now constructed, even with this late addition or

       22   adjustment, Mr. Dondero would remain as an employee in name

       23   only, subject in all respects to the direction, oversight, and

       24   removal by the independent board.     And importantly, should

       25   they decide to do that, Mr. Dondero shall resign.       And he




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        1   shall receive no compensation.

        2        So he will not be in control of this Debtor.      The

        3   independent directors are.     And he's not going to be empowered

        4   to make decisions on behalf of the Debtor.      Instead, we're

        5   empowering our independent directors to make those decisions

        6   and determinations on behalf of the Debtor.

        7        I wanted -- I thought it was important that I provide that

        8   perspective to Your Honor, as this is something that came in

        9   at a very, very late hour.

       10        Overall, Your Honor, for the reasons I have stated and the

       11   reasons in our reply, the Committee, as a fiduciary of all

       12   creditors in this case, believes that the settlement is in the

       13   best interests of the creditors and should be approved.         And

       14   at this time, it's the better alternative than the cost,

       15   delay, and uncertainty resulting from a Chapter 11 trustee

       16   fight and the potential appointment of a Chapter 11 trustee.

       17        It is time to put the governance issues behind us, Your

       18   Honor, and to move forward to determine how to maximize value

       19   for the creditors and how to get them paid.

       20        Your Honor, just regarding the specific resolutions of

       21   objections that Mr. Pomerantz put on the record, I agree with

       22   how Mr. Pomerantz characterized those, and the Committee is

       23   supportive of those resolutions as well.

       24        Those are all my remarks, Your Honor, but I am happy to

       25   answer any questions or address any concerns Your Honor may




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       1   have.

       2              THE COURT:   Okay.   Two follow-up questions.       First, I

       3   know I asked you this at a previous hearing and you told me,

       4   but your Committee, as I recall, is very well constituted.

       5   Just remind me of the members.

       6              MR. CLEMENTE:   Yes.

       7              THE COURT:   You have a representative from the

       8   Redeemer Committee, --

       9              MR. CLEMENTE:   Yes, Your Honor.

      10              THE COURT:   -- which is a $140 million or so

      11   arbitration award?

      12              MR. CLEMENTE:   Yes, Your Honor.

      13              THE COURT:   Okay.   And who else is on the Committee?

      14   Is an Acis representative?

      15              MR. CLEMENTE:   Acis is on the Committee, Your Honor.

      16              THE COURT:   Uh-huh.

      17              MR. CLEMENTE:   Meta-e Discovery, who is a trade

      18   vendor of the Debtor, is on the Committee.       And UBS

      19   Securities, who is also --

      20              THE COURT:   Okay.

      21              MR. CLEMENTE:   -- a litigation claimant, is on the

      22   Committee.

      23        It was the U.S. Trustee in Delaware's parting gift to me

      24   to name a four-member committee, Your Honor.

      25        (Laughter.)




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        1             THE COURT:   Okay.   Makes it awkward at times.       And

        2   then back to the Dondero subject.

        3             MR. CLEMENTE:    Yes, Your Honor.

        4             THE COURT:   I mean, again, both Mr. Pomerantz and you

        5   clarified that the proposal now is the new board will decide

        6   if he stays on, Mr. Pomerantz said as a portfolio manager.

        7             MR. CLEMENTE:    That is correct, Your Honor.

        8             THE COURT:   Am I -- I mean, I'm hearing that

        9   correctly?

       10             MR. CLEMENTE:    That is correct, Your Honor.

       11             THE COURT:   So, right now, whatever officer positions

       12   he has, he's technically not resigning?       Or --

       13             MR. CLEMENTE:    He is resigning as an officer of the

       14   company, Your Honor.

       15             THE COURT:   Okay.   He's resigning?    So the board will

       16   just decide, is he going to be a portfolio manager or some --

       17   whatever the employee title is?

       18             MR. CLEMENTE:    Or they could decide that he's not

       19   necessary.

       20             THE COURT:   Or not necessary?    In any event, no

       21   compensation?

       22             MR. CLEMENTE:    That is correct, Your Honor.

       23             THE COURT:   Okay.

       24             MR. CLEMENTE:    And as you can see, the term sheet

       25   provides that Mr. Dondero shall not cause any related entity




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        1   to terminate any agreements with the Debtor as well.          That was

        2   language that was added last night as well.

        3             THE COURT:    All right.   So they're going to make the

        4   decision, does he help preserve value by staying in some

        5   capacity or not?

        6             MR. CLEMENTE:    That is correct, Your Honor.

        7             THE COURT:    Okay.

        8             MR. CLEMENTE:    That, cutting through it, that is the

        9   way that ultimately the Committee views it.

       10             THE COURT:    Okay.

       11             MR. CLEMENTE:    And if there's an opportunity -- and

       12   I'm not conceding that there is.      I'm not conceding that he

       13   preserves any value.

       14             THE COURT:    Uh-huh.

       15             MR. CLEMENTE:    But we wanted to give the option to

       16   our independent directors to make that determination.         Because

       17   if there's an opportunity to preserve value, that's what we're

       18   trying to achieve.

       19             THE COURT:    Okay.   And I don't even know if you've

       20   thought through this.     Would there be some sort of notice

       21   filed on record in the case if --

       22             MR. CLEMENTE:    If --

       23             THE COURT:    -- if the decision is made to --

       24             MR. CLEMENTE:    To -- to --

       25             THE COURT:    -- hire him or keep him as a portfolio




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        1   manager?

        2               MR. CLEMENTE:   So, I think the default under the term

        3   sheet, as revised, is he stays in that capacity in terms of

        4   name.    The independent directors will -- they're subject to

        5   his control and direction, and they could decide to remove

        6   him.

        7               THE COURT:   Uh-huh.

        8               MR. CLEMENTE:   Perhaps if Your Honor --

        9               THE COURT:   Okay.

       10               MR. CLEMENTE:   We could provide notice if they make

       11   the determination to remove him, but I think the default is

       12   that, you know, he's in that -- he's remaining as that

       13   employee name currently.     So that's the current default.

       14               THE COURT:   Okay.   All right.   Thank you.

       15               MR. CLEMENTE:   Thank you very much, Your Honor.

       16               THE COURT:   Well, Ms. Patel, you're getting up so

       17   I'll hear -- I don't know who all has been in the loop over

       18   this overnight development.

       19          OPENING STATEMENT ON BEHALF OF ACIS CAPITAL MANAGEMENT

       20               MS. PATEL:   Your Honor, Acis has been in the loop as

       21   a member of the Committee.       And I will be very brief with

       22   respect to Acis's individual comments.        And I just want to be

       23   clear:    Obviously, I'm here as counsel for Acis, and so this

       24   is Acis's individual position.       Mr. Clemente aptly and very

       25   ably handled the Committee's overall position with respect to




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        1   this.

        2        But Your Honor, I just want to, on behalf of Acis, make

        3   sure that, because of these developments, that's really -- I

        4   really had hoped to have zero role today, but I want to make

        5   sure that we're -- Acis is on record with respect to our

        6   position.   And obviously, given Your Honor's knowledge and

        7   oversight of the long history of Acis's bankruptcy case and

        8   seeing some of the events that transpired there, I'm sure that

        9   this will all, against that backdrop, make an awful lot of

       10   sense.

       11        But, you know, it's this continued role for Mr. Dondero

       12   that is of concern.    You know, this issue even being raised

       13   within like the last 48 hours by Mr. Ellington, the timing of

       14   it just creates an issue.     I mean, did this -- how could this

       15   possibly have come out of left field when this is such a huge

       16   part of what the Debtor does in its ordinary course of

       17   business, is serve as a portfolio manager, and these are

       18   contracts that have been negotiated, generally speaking,

       19   internally by Highland.     So the fact that if Mr. Dondero were

       20   to exit the structure and there would be some potential

       21   ramifications to that, I've got to wonder how much of a

       22   surprise could that really have been to Highland folks.

       23        But I just wanted to highlight, in connection with the

       24   term sheet -- this is the preliminary term sheet that was

       25   handed up Your Honor, and I believe Your Honor has a redline




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        1   version of it as well --

        2             THE COURT:    Uh-huh.

        3             MS. PATEL:    -- on Page 2, with respect to the role of

        4   Mr. James Dondero, there's various provisions in there.         And I

        5   guess I would be remiss, Your Honor, if I didn't say, at least

        6   out of the gate, Acis obviously supports the implementation of

        7   this independent board of directors.      We believe all the

        8   candidates are very capable and are -- we put our reliance

        9   upon them.

       10        Obviously, we don't concede any issues.      We'll see what

       11   we're going to do.     But certainly, for the time being, we do

       12   support the entry of this agreement of the settlement -- or,

       13   I'm sorry, approval of the settlement agreement by the Court

       14   that lets the independent board be put into place.

       15        But what I'll focus the Court on, on Page 2 under the role

       16   of Mr. James Dondero, it goes through various provisions as to

       17   what he'll resign to -- positions he'll resign from and that

       18   he will remain as an employee of the Debtor, including

       19   maintaining his title as portfolio manager for all funds and

       20   investment vehicles for which he currently holds that title.

       21   And then it goes on to provide as to who he'll report to and

       22   how he will be governed, which includes by the independent

       23   board, he will receive no compensation, and that he will be

       24   subject to at all times the supervision, direction, and

       25   authority of the independent directors.




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        1         Again, we have faith that the independent directors will

        2   oversee this and will govern his role accordingly.        However,

        3   given Acis's history with how transactions have transpired at

        4   Highland, we remain highly cautious with respect to what

        5   happens next.

        6         And to that end, Your Honor, the very last sentence there

        7   on Page 2, "Mr. Dondero shall not cause any related entity to

        8   terminate any agreements with the Debtor," is a key provision

        9   of this that keeps Acis, as a Committee member, on board with

       10   this agreement.    I wanted to highlight that and note that, in

       11   the last less than 48 hours, in the last 12 hours, or maybe a

       12   little bit more than that, call it 18 to be safe, that's where

       13   -- that's a provision that's been -- that's where we've ended

       14   up.   It's all of these issues have been going at lightning

       15   speed, but I did want to just, for the record and so everybody

       16   is clear, that is an important piece of this agreement to --

       17   for Acis.

       18         And as Your Honor knows, this Debtor, Highland, is wont to

       19   try to terminate agreements and to try -- in an attempt to try

       20   and transfer valuable contracts away and valuable revenue

       21   stream away from an entity to an alternate entity.        And that's

       22   really the heart of our concern, Your Honor.

       23         So, with that, I just wanted to be clear and be on record

       24   as to Acis's position.     Thank you.

       25               THE COURT:   Thank you.   All right.




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        1             MR. POMERANTZ:    Your Honor, if I briefly may respond

        2   to the issues with Mr. Dondero while they are fresh in Your

        3   Honor's mind?

        4             THE COURT:    Okay.   Okay.

        5             MR. POMERANTZ:    Your Honor, look, we appreciate the

        6   timing of this coming to the attention of the Committee as

        7   being less than optimal.     As Your Honor can appreciate, this

        8   case that's been filed three months ago, a lot of people are

        9   looking very carefully at what's happening to the Debtor.

       10   Investors are looking.     There was a transfer of venue.       There

       11   have been a lot of reports about potential trustee motions.

       12   And we believe a lot of parties are waiting to see the outcome

       13   of this hearing and the trustee hearing to determine whether

       14   they will determine to continue to do business with the

       15   Debtor.

       16        It's not only an issue of contractual rights.       It's also

       17   an issue of whether investors feel comfortable on who is

       18   managing, who is managing their investments.

       19        This issue of Mr. Dondero's continuing role has been

       20   something that at the Debtor we've continued to grapple with

       21   over the last several weeks.     It's always been our thought

       22   that we should do nothing that would unduly harm the company

       23   from an economic standpoint.     I think the Committee shares

       24   that.   That if it's determined by an independent board -- and

       25   don't take current Debtor professionals, don't take current




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        1   Debtor employees' word for it -- but if they determine that

        2   there's an economic benefit by keeping him on to preserve

        3   material revenue stream, they should be able to make that

        4   determination.    I think that's really at the core here.       And I

        5   think the Committee got ultimately comfortable with it because

        6   it will be an independent board, the majority of the members

        7   identified and chosen by them and accepted by the Debtor.

        8        So, again, we apologize to the parties and the Court for

        9   bringing this on late.      It wasn't my intent to come here and

       10   present modified versions of the term sheet that hadn't been

       11   filed.   But that's where we are, and that's why it has come

       12   up, and that's why it's an extremely important issue, because

       13   preserving whatever revenue we can for the Debtor is

       14   important.

       15        Now, at the end of the day, the board may either decide

       16   that he doesn't preserve the revenue, or the negatives from

       17   keeping him involved with the company outweigh any benefits.

       18   And that's a decision they will have to make, and it'll be

       19   their province to make.      So I just wanted to give Your Honor

       20   that perspective.

       21              THE COURT:   Okay.

       22              MR. DAUGHERTY:    Your Honor, may I approach?

       23              THE COURT:   Mr. Daugherty?   You may.

       24            OPENING STATEMENT ON BEHALF OF PATRICK DAUGHERTY

       25              MR. DAUGHERTY:    I apologize.   I was not planning to




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        1   address the Court at all today.      I would have had my attorney

        2   here for it.   But I just ask a little bit of indulgence to

        3   represent myself pro se for this issue.

        4        This is the first I've heard that Mr. Dondero would stay

        5   with the company.    I think it's an awful idea.     There's a

        6   litany of reasons for that.

        7        By the way, I'm completely in support of this -- of this

        8   board that's been chosen.     I have every confidence that

        9   they'll be able to make good decisions eventually.       But

       10   they're stepping into this thing new.      Obviously, I've been

       11   through this in your court with Acis and other matters, and I

       12   have deep, deep concerns about Mr. Dondero continuing in that

       13   role, simply because of the influence it has on the rest of

       14   the organization and the message that it sends, both

       15   internally and externally, of where the company goes from

       16   here.

       17        So I just wanted to let you know my thoughts.       I wasn't

       18   planning to make them.    I haven't filed anything.     But that's

       19   where I stand.

       20             THE COURT:    All right.   Thank you, Mr. Daugherty.

       21        All right.   Before we hear from the U.S. Trustee, who I

       22   know is going to have a lot to say, let me just circle back

       23   briefly to Jefferies counsel and the CLO Issuers' counsel.

       24   You heard the representations of Mr. Pomerantz earlier about,

       25   well, first, in the case of Jefferies, that the Debtor has




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        1   agreed to language to address your concerns.      Do you want to

        2   weigh in on that and confirm that you're content that you're

        3   going to have language to work out your concerns?

        4             OPENING STATEMENT ON BEHALF OF JEFFERIES, LLC

        5             MR. MAXCY:   Thank you, Your Honor.     Patrick Maxcy for

        6   Jefferies.

        7        No, I don't have anything additional to add to what Mr.

        8   Pomerantz said.    The language that we have worked out will

        9   speak for itself and will be included in the order.

       10             THE COURT:   All right.    Thank you.

       11        And counsel for the CLO and CDO Issuers, do you confirm

       12   that you would be in agreement to basically withdraw your

       13   objections for now, but perhaps come back and make argument on

       14   the 21st if you have not worked out language with the

       15   Committee that you think works?

       16           OPENING STATEMENT ON BEHALF OF THE ISSUER GROUP

       17             MR. BENTLEY:    James Bentley from Schulte Roth for the

       18   Issuers, Your Honor.

       19         I believe the deal that Mr. Pomerantz and Mr. Clemente

       20   and I have discussed was adjourning our objection to the 21st,

       21   --

       22             THE COURT:   Okay.

       23             MR. BENTLEY:    -- rather than withdrawing it.

       24             THE COURT:   Okay.

       25             MR. BENTLEY:    We're -- we believe we will be able to




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        1   come up with language acceptable to the Issuers, but we would

        2   like to reserve the right to come back to the Court on our

        3   limited objection if we cannot, given that our issue is really

        4   -- really only relates to the 25 Issuers we represent.

        5             THE COURT:   Okay.     Thank you very much.

        6       All right.    Ms. Lambert?

        7      OPENING STATEMENT ON BEHALF OF THE UNITED STATES TRUSTEE

        8             MS. LAMBERT:   May it please the Court.       As the Debtor

        9   acknowledges, the motion that they are settling, the issues

       10   that they are settling, are the issues that the U.S. Trustee

       11   has raised in his motion to appoint a Chapter 11 trustee.         As

       12   a matter of statutory construction, Section 1104 does not

       13   contemplate settlement of these issues.      1112, in contrast,

       14   has a provision that if the Court finds and determines that

       15   there is cause to convert a case, there are unusual

       16   circumstances and the Court can find a reasonable

       17   justification for the wrongdoing or the error that occurred

       18   that led to cause -- for example, administrative defects in

       19   1112, not filing monthly operating reports -- and that can be

       20   cured.   The Court has to make a finding that those -- these

       21   defects can be cured within a reasonable period of time.

       22   Section 1104 contains no analog to his.

       23       If the Court finds cause to direct the appointment of a

       24   Chapter 11 trustee, then the Court is supposed to appoint a

       25   Chapter 11 trustee.    And Trailer Ferry and AWECO both stand




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        1   for the proposition that, on today's day, we're supposed to

        2   have evidence about what the management issues are that led to

        3   this agreement.    There's been no evidence.    There's been no

        4   allegations in the motion for settlement.      And so the U.S.

        5   Trustee is prepared to put that evidence on.

        6        And Your Honor, one aspect of this is that the arbitration

        7   agreement has been sealed.     And there are people on the phone.

        8   I don't know who's on the phone.     The U.S. Trustee has opposed

        9   the sealing of the arbitration -- not arbitration agreement,

       10   the arbitration judgment -- has opposed the sealing of that.

       11   And then they referenced a confidentiality order as the basis

       12   to seal it.    The U.S. Trustee also opposed that

       13   confidentiality motion, which was filed subsequently to the

       14   motion to seal.

       15        There is no confidentiality order.     An interim order was

       16   entered sealing the arbitration award, but -- and the U.S.

       17   Trustee has honored that by redacting all of the pleadings

       18   that we filed relating to that, but it's important today for

       19   the U.S. Trustee to be able to discuss it in argument, and it

       20   is here -- and we have it prepared to be admitted into an

       21   exhibit.

       22        So, to proceed with my argument, Your Honor, I need some

       23   clarification about what I can say.

       24              THE COURT:   You want clarification from me on what

       25   you can say?




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        1              MS. LAMBERT:   Well, I mean, either that or we need to

        2   clear the room.

        3              THE COURT:   I've read the arbitration award.

        4              MS. LAMBERT:   Right.

        5              THE COURT:   It's in my brain.

        6              MS. LAMBERT:   Right.    Okay.

        7              THE COURT:   Uh-huh.

        8              MS. LAMBERT:   And so one of the arguments here today

        9   is that the U.S. Trustee is representing the SEC and

       10   representing other Government agencies and things.       No.

       11   Obviously, that is not the U.S. Trustee --

       12              THE COURT:   I didn't hear that.

       13              MS. LAMBERT:   Okay.    The -- one of the positions has

       14   been, in the papers, is, well, that we don't have standing to

       15   raise their issues.     And that's true.

       16              THE COURT:   Okay.

       17              MS. LAMBERT:   But the problem is that the U.S.

       18   Trustee has been constrained from discussing those issues with

       19   the SEC.   The arbitration award is very relevant to the SEC's

       20   oversight.   I anticipate the evidence today will be that the

       21   SEC, after the financial crisis of 2008, imposed restrictions

       22   on this Debtor on breach of fiduciary duty issues.       I

       23   anticipate that the arbitration findings would be very

       24   relevant to whether those issues are ongoing or not.

       25              THE COURT:   Okay.   Let me weigh in.   I view the legal




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        1   standard that this Court has to weigh today as being:         Is the

        2   Debtor proposing something that is reflective of sound

        3   business judgment, reasonable business judgment?       And to the

        4   extent this is a compromise of controversies with the

        5   Committee, is this fair and equitable and in the best interest

        6   of the estate?

        7        And as Mr. Pomerantz has said, you know, a lot of this

        8   maybe doesn't even need Court approval.      But to the extent

        9   there are aspects of this that are appropriate to seek Court

       10   approval on, you know, this is my task.      I have to look at

       11   what's presented, and is this reflective of sound business

       12   judgment?   Is this fair and equitable?     Is it in the best

       13   interest?

       14        So, assuming there are tons of bad facts here reflected in

       15   the arbitration award, reflected in other evidence, bad facts

       16   that might justify a trustee, a Chapter 11 trustee, is this

       17   nevertheless, what's proposed today, a reasonable compromise

       18   of, you know, the trustee arguments the Committee could make

       19   or, you know, is this a reasonable framework for going

       20   forward?    Okay?

       21        So I guess what I'm saying is I'm confused about, you

       22   know, do I need to look at the arbitration award?       Do we need

       23   to have evidence of all of that?     I can assume that there are

       24   terrible facts out there that might justify a trustee, but I'm

       25   looking at what's proposed.     Is this a fair and equitable way




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        1   to resolve the disputes?    Is it sound business judgment?

        2   Frankly, is it a pragmatic solution here to preserve value?

        3   So that's the legal standard I have in my mind here.

        4             MS. LAMBERT:    Yes, Your Honor.

        5             THE COURT:    Okay.

        6             MS. LAMBERT:    The standard is whether it is fair and

        7   equitable to resolve the issues in the Chapter 11 trustee

        8   motion, and it is the U.S. Trustee's position that they are

        9   not resolved by this.    And how are they not resolved?       Number

       10   one, they're not resolved because the problems that led to the

       11   breach of fiduciary duty issues and findings are more

       12   pervasive, both based on this Court' finding in the Acis case

       13   and in the arbitration court's finding in Mr. Dondero.        Other

       14   officers are implicated.

       15             THE COURT:    But how --

       16             MS. LAMBERT:    Other employees are implicated.

       17             THE COURT:    Okay.   I feel like maybe we're talking at

       18   each other, not getting each other.      I've got a proposed

       19   solution here to totally change the playing field, if you

       20   will.   Bring in incredibly qualified people to --

       21             MS. LAMBERT:    Those people --

       22             THE COURT:    -- to change out the, you know, the

       23   person that you say breached fiduciary duties, the, you know,

       24   mismanagement, whatever bad labels we have here, but bring in

       25   a clean slate.




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        1             MS. LAMBERT:    No, Your Honor, because employees

        2   remain at the Debtor who are problematic.      The board that is

        3   appointed owes a fiduciary duty to whom?      Strand.   Dondero.

        4   He's still the board -- he is the sole stockholder.       Yes.     In

        5   addition, --

        6             THE COURT:   And they won't be taking directions from

        7   him.

        8             MS. LAMBERT:    In addition, --

        9             THE COURT:   The term sheet is they won't be taking

       10   directions from him.

       11             MS. LAMBERT:    Your Honor, there is no evidence before

       12   the Court today that Mr. Dondero has entered a stipulation.

       13   This is part of the problem.     This continues --

       14             THE COURT:   Well, if he doesn't, in five minutes the

       15   Committee is going to be filing their trustee motion, right?

       16             MS. LAMBERT:    Well, then we haven't saved any time or

       17   any money.    This is the whole issue.    They have to put on

       18   evidence that this is a resolution of issues.       We're going to

       19   have the motion to appoint a Chapter 11 trustee either way.

       20             THE COURT:   All right.    Well, we did have the

       21   evidence of Mr. Sharp.    Would you like to cross-examine him at

       22   this point?

       23             MS. LAMBERT:    Your Honor, I would like to put the

       24   U.S. Trustee's exhibits into evidence and then cross-examine

       25   him.




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       1               THE COURT:   All right.   Your exhibits?

       2               MR. POMERANTZ:   Your Honor, we would object to any

       3   exhibits.    The Trustee has not filed an exhibit list.

       4               MS. LAMBERT:   Your Honor, this matter was set on an

       5   expedited basis and the Court does not require exhibit and

       6   witnesses lists when a matter is filed on an expedited basis.

       7   It's impossible, when a response is filed at 5:00 o'clock the

       8   evening before and supplements are made in the morning of the

       9   hearing, for the U.S. Trustee to put on a witness and exhibit

      10   list.

      11               MR. POMERANTZ:   Your Honor, we were here on the 19th.

      12   We set out a briefing schedule.       And maybe it was a couple

      13   days short of normal notice.      Ms. Lambert agreed to issue

      14   discovery by a certain date, and she at no point said that

      15   because there was 13 days' notice as opposed to longer period

      16   that she couldn't comply and provide a witness list.

      17        We provided with a witness list.      We provided an exhibit

      18   list.   The Trustee's effort and attempt to now submit exhibits

      19   and rely on maybe there were some changes this morning, that

      20   just doesn't cut it, and that's not fair and that's not due

      21   process.

      22               THE COURT:   Okay.   I sustain the objection.      The

      23   exhibits won't be admitted since there was no exhibit list.

      24               MS. LAMBERT:   Your Honor, I do not have an exhibit

      25   list from them.    And they --




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        1               THE COURT:   Well, they haven't offered any.

        2               MS. LAMBERT:   They put on new exhibits this morning.

        3   The exhibits that the U.S. Trustee has are all things that

        4   they are familiar with.

        5               THE COURT:   Let me back up.    They didn't introduce

        6   any exhibits.    They --

        7               MS. LAMBERT:   But they introduced the declaration,

        8   they introduced the supplements to the agreement that were

        9   drafted this morning, they've introduced the new corporate

       10   resolutions, all of which they handed me this morning.

       11               THE COURT:   All right.   Well, the declaration of Mr.

       12   Sharp, it's two pages long.      It is, I don't think, any kind of

       13   surprise information.

       14               MS. LAMBERT:   Your Honor, --

       15               THE COURT:   I'll allow you to cross-examine him.

       16               MS. LAMBERT:   -- the U.S. Trustee's exhibits are no

       17   surprise, either.    The Acis opinion is no surprise to anybody

       18   in this courtroom.

       19               THE COURT:   Okay.   Well, what are your exhibits?

       20               MS. LAMBERT:   The --

       21               THE COURT:   I probably should have asked.

       22               MS. LAMBERT:   The exhibits are the Acis opinion, the

       23   arbitration awards or the determinations, both the partial and

       24   the final, and the SEC's original judgment.        There are four

       25   exhibits.




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        1              THE COURT:   All right.    Well, Mr. Pomerantz, what

        2   would you like to say?      One of them I have obviously seen,

        3   since I wrote it.

        4              MR. POMERANTZ:    Yes, you've written it.    You wrote

        5   it.

        6         (Laughter.)

        7              MR. POMERANTZ:    Your Honor, I think this is a tempest

        8   in a teapot.   The Committee's brief that it filed in

        9   opposition to the CRO retention, the ordinary course

       10   protocols, and the cash management motion had a litany of

       11   description of the Redeemer litigation, of the SEC litigation.

       12   There are plenty of bad facts out here.       Okay?   We have an

       13   interim order to seal.      There was no hearing set today for our

       14   final hearing.

       15         The Trustee has objected to that order, and I suspect that

       16   will be heard on the 21st.      We don't think it's appropriate to

       17   introduce the Redeemer award.       However, we have read the

       18   redacted provisions or portion of the U.S. Trustee's brief,

       19   and we have no problem if the U.S. Trustee limits its argument

       20   to the redacted portion in presenting that to the Court.

       21         In other words, we don't believe that the few sentences

       22   that were redacted need to be redacted.

       23         However, to the extent they intend to submit the

       24   arbitration award, we don't think it's appropriate, we don't

       25   think it's necessary, we think Your Honor hit it right, that




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        1   the issues today are not whether there's mismanagement at the

        2   Debtor.    Okay?

        3        The U.S. Trustee's position is, notwithstanding this new

        4   structure, it doesn't work.         She has a trustee motion on.       She

        5   can argue on the 21st that it doesn't work.         Nobody is

        6   prejudicing her right to do so.

        7        We think it's prejudicial, it's unfair, it's procedurally

        8   improper to submit the Redeemer arbitration award and to allow

        9   the Trustee to do anything other than describe exactly what

       10   she has in her pleading.

       11               THE COURT:    Okay.   I sustain the objection to those

       12   exhibits.    Again, I've read them.       They're in my brain.     I

       13   wrote one of them.       But I will allow you to cross-examine Mr.

       14   Sharp.    So, Mr. Sharp, would you please come to the witness

       15   stand?    Please raise your right hand.

       16                 BRADLEY SHARP, DEBTOR'S WITNESS, SWORN

       17               THE COURT:    All right.    Please be seated.

       18               MS. LAMBERT:    To clarify, Your Honor, has the Court

       19   considered the Acis opinion and the arbitration opinions based

       20   on judicial notice?

       21               THE COURT:    And we're doing a lot of hair-splitting

       22   here.    I'm just letting you know I -- the facts are in my

       23   brain.    You can't extract them from my brain.       Okay?

       24               MS. LAMBERT:    Okay.

       25               THE COURT:    I know there have been a lot of bad




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        1   things, arguably bad things.      But to me, the real issue here

        2   today is whether this framework that has been heavily

        3   negotiated with the Committee reflects reasonable business

        4   judgment on the part of the Debtor, is a fair and equitable

        5   resolution of the Committee's, you know, arguments in favor of

        6   a trustee, and whether this makes, you know, sense going

        7   forward to allow this Debtor to go forward without a trustee.

        8   Okay?

        9        So I really think that the evidence you want is not

       10   terribly relevant.     We technically aren't here on a trustee

       11   motion today.     We're here on whether a new board and the

       12   terms, the protocols suggested, reflect reasonable business

       13   judgment and reflect a fair compromise of arguments the

       14   Committee has raised.    All right?     So I don't know how much

       15   more clear I can make that.     I guess the technical answer is

       16   I'm not taking judicial notice of those things for purposes of

       17   today.

       18        All right.    You may proceed.

       19                            CROSS-EXAMINATION

       20   BY MS. LAMBERT:

       21   Q    Mr. Strand, can you state your name for --

       22   A    Sorry.   Bradley Sharp, S-H-A-R-P.

       23   Q    Sharp.   Mr. -- oh, sorry.

       24   A    No relation to Strand.

       25   Q    All right.    Strand is the general partner of the Debtor,




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        1   right?

        2   A    That is correct.

        3   Q    And there has been no change in the board of the Debtor

        4   except Mr. Dondero's resignation; is that right?

        5   A    Well, it's a little different, because the -- Strand is

        6   the general partner of the Debtor.

        7   Q    Yes.

        8   A    So the new board will be acting and in control of the

        9   Debtor.

       10   Q    Yes.   And there is -- Strand is a non-debtor, correct?

       11   A    That is correct.

       12   Q    And the stock of the non-debtor, Strand, is owned by

       13   Dondero?

       14   A    Mr. Dondero owns Strand Advisors.

       15   Q    In its entirety?

       16   A    That is correct.

       17   Q    So the board will owe a fiduciary duty to Mr. -- to Mr.

       18   Dondero?

       19   A    The board will have a fiduciary duty to the Debtor and to

       20   Strand Advisors.

       21   Q    All right.

       22   A    Their duty is to the entity.

       23   Q    The -- Strand, as the general partner, as an entity, owes

       24   a fiduciary duty to the Debtor, right?

       25               MR. MORRIS:   Objection to the extent it calls for a




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        1   legal conclusion.

        2                THE COURT:   Sustained.

        3   BY MS. LAMBERT:

        4   Q    Do you know?

        5   A    As a lay person.     I'm not an attorney.

        6   Q    Okay.    So you don't know what the fiduciary roles of the

        7   board will be; is that right?

        8   A    Well, the fiduciary board will be acting -- you know,

        9   looking at it from my perspective as the chief restructuring

       10   officer, the new board will be acting as the Debtor-in-

       11   Possession.     And, you know, they will be directing the Debtor-

       12   in-Possession.     You know, the Debtor-in-Possession has duties

       13   to all parties in interest, and they will be directing the

       14   Debtor.   They will be directing me as CRO.

       15   Q    And, in addition, there may be a CEO, right?

       16   A    That is contemplated, correct.

       17   Q    It is contemplated?     It --

       18   A    It is -- it is an option that the board has if they think

       19   a CEO is necessary.

       20   Q    But you don't know whether a CEO is going to be appointed

       21   or not?

       22   A    That's up to the board.

       23   Q    And you don't know what the compensation for that

       24   individual might be, right?

       25   A    Again, that's up to the board.




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        1   Q    Mr. Dondero is going to be an employee of the Debtor,

        2   right?

        3   A    That's correct.

        4   Q    And Mr. Dondero started the Debtor, correct?

        5   A    I believe so.

        6   Q    And he also started Strand, right?

        7   A    I believe that's correct.

        8   Q    And he is also in control of a number of entities that the

        9   Debtor does business with; is that right?

       10   A    That is correct.

       11   Q    Mr. Ellington is going to remain on with the Debtor?

       12   A    That -- Mr. Ellington is an employee.      All employees are

       13   now subject to the board.

       14   Q    Okay.   And Mr. Ellington's role with the Debtor is what?

       15   A    He is general counsel with the Debtor.

       16   Q    And there are other in-house attorneys with the Debtor,

       17   right?

       18   A    That's correct.

       19   Q    And who else is there currently?

       20   A    I don't have the list in front of me, you know, the

       21   employee list.   As of now, because obviously this is still --

       22   hasn't been effected, so the board has not made any decisions

       23   with respect to any employees going forward.

       24   Q    And the CFO remains the same?

       25   A    Yeah, that is, again, as of now.     I don't know what the




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        1   board is going to do, if anything.

        2   Q    Do you have any anticipation of what you would recommend

        3   to the board regarding the CFO?

        4   A    You know, I have many recommendations I have not made to

        5   the board yet.    I just met them this morning.

        6   Q    Are you aware that historically this Court has found that

        7   the lawyers provided bad advice to the Debtor?

        8               MR. MORRIS:    Objection to the form of the question.

        9               THE COURT:    Sustained.

       10   BY MS. LAMBERT:

       11   Q    Do you have any knowledge about whether there have been

       12   findings that the law firm gave erroneous advice to the

       13   Debtor?     Or, I mean, the in-house counsel gave erroneous

       14   advice.

       15               MR. MORRIS:    Objection to the form of the question.

       16               THE COURT:    Sustained.

       17               MS. LAMBERT:    Your Honor, I'm asking for the

       18   foundation.

       19               THE COURT:    Rephrase.

       20   BY MS. LAMBERT:

       21   Q    Do you -- are you aware of any concerns about the in-house

       22   counsel?

       23   A    Yes.

       24   Q    What is your knowledge?

       25   A    I have read the rulings from this Court.




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       1   Q    And what is your understanding of those rulings?

       2   A    I don't recall specifically.     I read that early on when I

       3   was first employed.    But there have been concerns with respect

       4   to, you know, management of the Debtor.

       5   Q    As the CRO, have you made any recommendations to change

       6   employees to date?

       7   A    As of now, I don't have a -- the board.      You know, the

       8   board has just been employed.     We have not made

       9   recommendations up to this point.      We are still -- obviously,

      10   have been evaluating our position and what needs to happen.           I

      11   think it's important for the Debtor at this time, a little

      12   stability would be a good thing for -- until we develop the

      13   direction going forward.

      14   Q    Are you familiar with the compensation terms for the

      15   directors?

      16   A    Yes.

      17   Q    And the directors are employees of Strand but paid by the

      18   Debtor; is that right?

      19   A    Oh, I'm not sure they're employees of Strand, but they are

      20   paid by the Debtor, their compensation.      That's correct.

      21   Q    And yet the compensation is technically through Strand,

      22   right?

      23   A    They -- they are.    They have to act through the general

      24   partner of the Debtor because of the corporate structure.

      25   Q    One of the portions of the agreement is that the Committee




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        1   acquires litigation claims.     Are you familiar with that?

        2   A    I am.

        3   Q    Have you parsed out which litigation claims those might be

        4   at this point?

        5   A    I think the agreement says they have litigation claims

        6   against insiders and related parties.      So I don't know what

        7   those individual claims are.     I don't know what exists.

        8   Q    Are you aware that the Committee obtains the attorney-

        9   client privilege and work product privilege?

       10   A    Yeah.   Subject to the terms of those agreements, correct.

       11   Q    Have you gone through the documents and determined which

       12   ones would fall on -- which attorney files would fall on which

       13   side?

       14   A    Not as of yet.

       15   Q    Have you been taking direction from Mr. Dondero?

       16   A    We've had -- I've had limited interaction with Mr. Dondero

       17   since my retention.    You know, we have been complying with the

       18   protocols that we had been negotiating with the Committee and

       19   providing information to the Committee.      We have been, as a

       20   result of those protocols, instructing management of the

       21   company on compliance with those protocols.      So they have

       22   brought to us transactions that they would like to do.        We

       23   have reviewed those transactions and compared it to the

       24   proposed protocols and have been enforcing those.       So if

       25   management has asked to do a transaction that does not meet




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        1   within those protocols, we have been declining the

        2   transaction.   And that -- you know, the company has agreed

        3   with that decision and accepted that decision.

        4   Q    When you say management, who are you -- to whom are you

        5   referring?

        6   A    You know, the whole management team at the company.         In-

        7   house counsel.     The CFO.   You know, I've had limited

        8   interaction with Mr. Dondero.       One interaction was he did

        9   question one of my decisions that I made.       We discussed it and

       10   he accepted my conclusion.

       11   Q    You're at the Debtor every day?

       12   A    My team is.

       13   Q    You are not?

       14   A    I have had some travel restrictions due to a medical

       15   issue, but I have three of my team there every day.

       16   Q    Is Mr. Dondero there every day?

       17   A    I don't know.    I don't think so.    In the few days I'm

       18   there, I've not seen him.

       19   Q    Is Mr. Ellington there every day?

       20   A    No.

       21   Q    Who on the management team is there every day?

       22   A    You know, our primary interaction is with Isaac Leventon,

       23   Frank Waterhouse, the CFO.     You know, primary interaction, you

       24   know, with David Klos, who is the controller, in dealing with

       25   the financial issues.




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        1         Obviously, we spend a lot -- my team spends a lot of time

        2   with the head of compliance.

        3   Q     Were you surprised by this addition that Mr. Dondero would

        4   remain as an employee?

        5   A     I can't say I was surprised.    It is an issue that we

        6   struggle with, given the nature of this company's business.

        7   You know, I see the change in the language and, you know, as

        8   CRO, I am comfortable with it.

        9   Q     So, as CRO, if Mr. Dondero is necessary now, you recognize

       10   that he was necessary three weeks ago?

       11   A     I'm not saying that he's necessary.     I'm saying that it is

       12   important for the board to be able to make that decision.

       13   Q     And it wasn't important when the settlement was filed?

       14   A     It was the -- it was a struggle at the time.      I was

       15   concerned at the time it was filed the unintended consequences

       16   of Mr. Dondero resigning completely and disappearing, because

       17   there are a significant number of funds that the Debtor deals

       18   with related parties that are controlled by Mr. Dondero, and I

       19   was worried about the financial impact with it.       I knew this

       20   issue was important to the Committee.      And if that's something

       21   that the Debtor agreed to and the Committee agreed to, so be

       22   it.

       23         You know, I think the last-minute compromise is acceptable

       24   and appropriate.    I think the language as negotiated is going

       25   to be very helpful to the Debtor.      And I think, then, it's up




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       1   to the board to make the decision, with full knowledge on

       2   what's the best avenue forward.

       3   Q    And the language as negotiated was added because, in the

       4   past, there have been problems with Mr. Dondero changing or

       5   terminating agreements with related entities, right?

       6   A    There was that -- I've seen that -- issues raised in the

       7   Acis case.

       8              MS. LAMBERT:   No further questions.

       9              THE COURT:   All right.   Any redirect?

      10              MR. POMERANTZ:   Not from the Debtor.

      11              THE COURT:   Anyone have examination?     No?   All right.

      12   Thank you, Mr. Sharp.     You're excused.

      13              THE WITNESS:   Thank you.

      14        (The witness steps down.)

      15              THE COURT:   All right.   Are we going to have any

      16   other, I guess, witnesses, evidence?

      17                CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      18              MR. POMERANTZ:   No, Your Honor.    I just had a couple

      19   points.   One, Ms. Lambert mentioned that she hadn't seen a

      20   copy of the stipulation referred to, which was prohibiting Mr.

      21   Dondero from terminating the board.       There's a good reason for

      22   her not having seen it.     I hadn't provided it to her.       It just

      23   came this morning, right before the hearing.       I have one

      24   signed copy.    I have other copies that I could represent, even

      25   though they're unsigned, are the same, so I would like to




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        1   provide Your Honor.     I'll keep the signed copy but provide you

        2   with an unsigned copy, but it's the same, and also give one to

        3   the U.S. Trustee.

        4              THE COURT:   But you've got a signature of Mr. Dondero

        5   on that?

        6              MR. POMERANTZ:   Yes, I do.

        7              THE COURT:   Okay.

        8              MR. POMERANTZ:   May I approach?

        9              THE COURT:   You may.    Thank you.

       10              MR. POMERANTZ:   Your Honor, maybe for the record it

       11   would be appropriate for me to show Your Honor the signature,

       12   so you could say that you've seen it?

       13              THE COURT:   Yes.    Yes.

       14              MR. POMERANTZ:   May I approach again?

       15              THE COURT:   You may.    (Pause.)    Okay.   Thank you.

       16   The record will reflect I've seen Mr. Dondero's signature.

       17              MR. POMERANTZ:   Your Honor, one of the threads that

       18   Ms. Lambert said to Your Honor is that there were employees

       19   still remaining at the Debtor and that those employees may

       20   have been involved in some wrongdoing.

       21        I submit, Your Honor, if Your Honor appointed a Chapter 11

       22   trustee today, what would a Chapter 11 trustee do?         A Chapter

       23   11 trustee wouldn't terminate every employee at the Debtor.             A

       24   Chapter 11 trustee, if he or she was doing what they should

       25   do, would go down to the company, would interview members of




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        1   the company, senior management, and decide who should stay on

        2   and who should not stay on.

        3        That, I submit, Your Honor, is exactly what this board

        4   will do.   So the concept of there being something different

        5   done, if you have a board here or not, I don't think makes

        6   sense.

        7        And lastly, Your Honor, Ms. Lambert expressed the issue as

        8   whether it's fair and equitable to resolve the U.S. Trustee

        9   issues in this way.    I don't think that's the standard.       The

       10   only fair and equitable I understand is in plan confirmation.

       11   I think Your Honor said it straight, which is:       Is this a

       12   valid exercise of the Debtor's business judgment and is it an

       13   appropriate compromise of controversy?      That is the standard.

       14   And, again, we have always acknowledged that, notwithstanding

       15   how Your Honor rules today, the Trustee reserves the right to

       16   come back to court and argue a trustee is appropriate on the

       17   21st.

       18        We believe, Your Honor, that many of the cases, in this

       19   circuit and elsewhere, look to the continuing management of

       20   the company and whether management issues have been addressed

       21   as a significant factor in determining whether a trustee is

       22   appointed.   And it'll come as no surprise, of course, if Your

       23   Honor grants our motion today, this will be a lynchpin of our

       24   opposition to the trustee motion.

       25        But, again, those issues are for another day, and we




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        1   believe that we have satisfied our standard, and we request

        2   that Your Honor approve the motion.

        3             THE COURT:    All right.   Other closing arguments?

        4       CLOSING ARGUMENT ON BEHALF OF THE UNITED STATES TRUSTEE

        5             MS. LAMBERT:    Yes, Your Honor.    As the Debtor

        6   acknowledges, the Court has no jurisdiction over Strand.            This

        7   is a complicated structure.     A trustee avoids all of the

        8   complications involved in the Court exercising jurisdiction

        9   over an entity that it doesn't have jurisdiction over.

       10        To enter a stock stipulation related to a non-debtor is

       11   highly irregular, and Mr. Dondero is the person behind that.

       12   It has happened in cases where people have been in these kinds

       13   of structures, like that FSLIC used to put in these kinds of

       14   structures -- there's published opinion, the Gaubert case --

       15   where the person continued to exercise control even though

       16   they had a stock trust.

       17        The Court needs a person beholden to the Court.          The

       18   evidence is that, historically, this Debtor has entered into

       19   things that breached its fiduciary duty and resulted in self-

       20   dealing and liability for the Debtor.      The evidence is that

       21   these go beyond Mr. Dondero and the Court does not have

       22   jurisdiction over his stock.     The Court does not have

       23   jurisdiction over Strand.     The board members of Strand are not

       24   employees of the Court, they're employees of Strand, a non-

       25   debtor.   These members have a fiduciary duty to Strand.




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        1        Yes, Strand is the general partner of this Debtor and has

        2   a fiduciary duty, but all these fiduciary duties intermix in

        3   ways that result in conflicts for this case.       These conflicts

        4   are unnecessary.    The Court could just appoint a trustee who

        5   only owes a fiduciary duty to the members and creditors of

        6   this case, as well as the next (inaudible).

        7        There is no evidence that this is cheaper.      There is no

        8   evidence that this is a total resolution, because issues are

        9   left open, such as whether or not a CEO is going to be

       10   appointed, how much that person is going to cost.

       11        Finally, Your Honor, the sealing has constrained the

       12   ability of some of the parties to understand what's going on

       13   in this case.   And that is material to the argument about who

       14   is here, because we don't know who -- that all the people who

       15   would have participated in this discussion had an opportunity

       16   to participate in it.

       17        Yes, the creditors have a fiduciary duty, and I believe

       18   that they represented to the best of their ability, but they

       19   are not charged with the issues that others are charged with,

       20   such as the SEC.

       21        There is no evidence that the officers are disinterested.

       22   Rather, the new officers are going to be conflicted by the

       23   nature of their position.     There's no evidence that it's

       24   cheaper.   And a trustee, if appointed, could be appointed on

       25   an hourly basis.    This is a Chapter 11 trustee.




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       1        They argue that the trustee would not have the knowledge,

       2   and yet they've been able to find three candidates to serve

       3   for the board who are qualified.      So there's no evidence that

       4   it would not be better to have a trustee for that reason as

       5   well.

       6        The evidence is that, historically, the Redeemer Committee

       7   was set up to prevent these kinds of transactions and have

       8   oversight.   Historically, the evidence is it did not work.

       9   For this reason, the statute provides a solution, and the

      10   Court should impose it.     The Court should deny this motion as

      11   not being in the interest of the estate, as not being a sound

      12   exercise of discretion, because it's really the discretion of

      13   Strand, not the Debtor, and it will remain the discretion of

      14   Strand, not the Debtor.

      15        Thank you.

      16              THE COURT:   All right.   Anyone else have comments?

      17              MR. POMERANTZ:   Your Honor, just a couple of minor

      18   points.

      19              THE COURT:   Okay.

      20                CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      21              MR. POMERANTZ:   Ms. Lambert started by saying the

      22   Court doesn't have jurisdiction over Strand.       I know I just

      23   handed her the stipulation, but the last paragraph of the

      24   stipulation specifically says that the parties stipulate and

      25   agree that the Court shall have exclusive jurisdiction over




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        1   all matters arising from or related to the interpretation and

        2   implementation of this stipulation and the adjudication of any

        3   parties breaching the stipulation.

        4       So the Court does have jurisdiction now that the

        5   stipulation has been signed, assuming that the Court enters

        6   it, so I think that addresses that issue.

        7       Your Honor, the evidence of the disinterestedness of the

        8   members of the board, we've provided their curriculum vitaes.

        9   We've made representations that they have no connections with

       10   the Debtor or any of the parties in interest.      We don't think

       11   that, just because they become appointed and become a director

       12   of Strand, that that renders them disinterested [sic], and we

       13   think that the Trustee's arguments that being at a different

       14   level creates different duties is just not -- is not accurate.

       15   I don't think that the Committee would have had any appetite

       16   for this type of structure had they believed that each of

       17   these board members wouldn't feel that their fiduciary duty

       18   was to the Debtor's estate.    And they all are seasoned

       19   restructuring people from different aspects, all understand

       20   their fiduciary duties well, and all are prepared to carry

       21   them out.

       22       Lastly, the Trustee points to the historic issues, and

       23   specifically mentioned the Redeemer Committee and that

       24   structure didn't work.    Well, I think it speaks volumes, Your

       25   Honor, that not only the Redeemer Committee, are they on the




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        1   Committee and the Committee has supported this motion, but the

        2   Redeemer Committee hasn't come to Your Honor and said that,

        3   notwithstanding that structure that may or may not have been

        4   effective, this structure is ineffective.

        5        And at the end, Your Honor, the Trustee is trying to

        6   replace the business judgment of the Debtor.       The Debtor is

        7   entitled to deference of the judgment, again, focusing on the

        8   correct standard.    And, again, the Trustee will have her day

        9   in -- his day in court in connection with the ultimate trustee

       10   motion on the 21st.

       11        Thank you, Your Honor.

       12             THE COURT:    Anyone else?

       13        All right.   Well, the Court is going to note a few things

       14   as part of its ruling, obviously.      The new proposed

       15   independent board members for Strand, Strand obviously being

       16   the general partner of the Debtor, Highland -- Mr. James

       17   Seery, Mr. John Dubel, and retired Judge Russ Nelms -- are

       18   highly-qualified individuals with respect to the industry.

       19   Some of them with respect to restructuring.       Certainly, in the

       20   case of retired Judge Nelms, with regard to fiduciary duties

       21   and the Bankruptcy Code requirements.

       22        These three individuals were chosen by the Creditors'

       23   Committee, whose constituency is broad, whose constituency is

       24   owed well over $100 million.     And they were chosen by the

       25   Committee after literally months of negotiation.       Obviously,




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        1   this bankruptcy was filed in October, and it appears to this

        2   Court, from the representations of counsel, that from the very

        3   beginning of the case -- the Committee was, I guess, appointed

        4   a week or two after the case was filed in October -- there's

        5   been haggling over corporate governance of this Debtor.

        6          So we have highly-qualified individuals.    We have

        7   individuals who were chosen by the well-constituted Creditors'

        8   Committee.    And what has been proposed to the Court is that it

        9   is these independent directors that would have sole and

       10   exclusive management and control of the Debtor.

       11          An interesting jurisdictional argument has been made, and

       12   it's one of those arguments that, frankly, you know, sounds

       13   good when you first hear it, but when you really drill down

       14   about the governance structure here, I mean, obviously, this

       15   Debtor is a limited partnership and it acts through a general

       16   partner.    It's the general partner that controls the Debtor

       17   entity.    And while Strand Advisors, Inc., the general partner,

       18   may not technically be in bankruptcy, it's the structure of

       19   these entities such that it controls the Debtor.       So the

       20   jurisdictional argument, when you drill down, feels a little

       21   off.

       22          Moreover, we have language in the stipulation where Strand

       23   is stipulating and consenting, if you will, to this Court's

       24   exercise of jurisdiction over it.

       25          There are many things about the compromise here that have




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        1   very compelling appeal.    Among them, certainly, the Committee

        2   that's negotiated this term sheet retains the right at any

        3   time to move for a Chapter 11 trustee if it believes there are

        4   grounds.   The Committee is granted standing to pursue estate

        5   claims, certain estate claims right off the bat, without

        6   having to come back and ask the Court, without having to rely

        7   on the Debtor to pursue that.       There are document production

        8   provisions, document preservation provisions, a shared

        9   privilege negotiated, that are very powerful tools for the

       10   Committee, and certainly operating protocols that have been

       11   negotiated regarding the Debtor's operations that are very

       12   powerful tools for the Committee.

       13        I said many times during the Acis case -- those who were

       14   here will remember -- that the company, Acis, was not a great

       15   fit for Chapter 11.    Lots of companies aren't great fits for

       16   Chapter 11, I suppose, but the kind of business it was was

       17   kind of tough to maneuver in Chapter 11.       Human beings and

       18   their expertise create value.       And while we had a Chapter 11

       19   trustee, a stranger come in and take control over Acis, you

       20   know, there's great uncertainty whether that stranger is going

       21   to be able to preserve value and have the smooth transition

       22   into Chapter 11 that's really going to be the best fit.

       23        Here, as I've said earlier, the legal standard I view as

       24   controlling here is 363 and whether what has been proposed

       25   reflects reasonable business judgment.      Is there a sound




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        1   business justification for proposing the independent slate of

        2   directors at the GP level for the Debtor, the protocols, the

        3   negotiation with the Committee, the document sharing, the

        4   standing given to them?    Does all of this reflect reasonable

        5   business judgment?    And I find, quite clearly, it does.       I

        6   find it to be a pragmatic solution to the Committee's concerns

        7   about existing management and control.

        8        And I think I used the words "fair and equitable," not

        9   just Ms. Lambert, because it is also presented to the Court as

       10   a 9019 compromise of disputes with the Committee, and we

       11   traditionally use a fair and equitable and best interest of

       12   the estate analysis in this context.      So, to the extent that

       13   applies, I do find this a fair and equitable way of resolving

       14   the disputes with the Committee, and I find this to be in the

       15   best interest of the estate.     So I do approve this.

       16        And by approving this motion, I'm approving the term sheet

       17   as it's been presented, the various terms therein, the

       18   exhibits thereto.    I'm specifically approving the new

       19   independent directors, the document management and

       20   preservation process, the standing to the Committee over

       21   certain of the estate claims, the reporting requirements, the

       22   operating protocols, the whole bundle of provisions.

       23        Now, there is one specific thing I want to say about the

       24   role of Mr. Dondero.    When Ms. Patel got up and talked about

       25   the newest language that has been added to the term sheet, she




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        1   highlighted in particular the very last sentence on Page 2 of

        2   the term sheet, the sentence reading, "Mr. Dondero shall not

        3   cause any related entity to terminate any agreements with the

        4   Debtor."    Her statement that that was important, it really

        5   resonated with me, because, you know, as I said earlier, I

        6   can't extract what I learned during the Acis case, it's in my

        7   brain, and we did have many moments during the Acis case where

        8   the Chapter 11 trustee came in and credibly testified that,

        9   whether it was Mr. Dondero personally or others at Highland,

       10   they were surreptitiously liquidating funds, they were

       11   changing agreements, assigning agreements to others.          They

       12   were doing things behind the scenes that were impacting the

       13   value of the Debtor in a bad way.

       14        So not only do I think that language is very important,

       15   but I am going to require that language to be put in the

       16   order.    Okay?   So we're not just going to have an order

       17   approving the term sheet that has that language.       I want

       18   language specifically in the order.      You know, you can figure

       19   out where the appropriate place to stick it in the order is,

       20   but I want specific language in here regarding Mr. Dondero's

       21   role.    I also -- the language in there that his role as an

       22   employee of the Debtor will be subject at all times to the

       23   supervision, direction, and authority of the Debtors, I want

       24   that language in there as well.     Let's go ahead and put the

       25   language in there that at any time, in any event, the




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        1   independent directors can determine he's no longer going to be

        2   retained.    I want that in the order.

        3        And I'm sure most of you can read my mind why, but I want

        4   it crystal clear that if he violates these terms, he's

        5   violated a federal court order, and contempt will be one of

        6   the tools available to the Court.     He needs to understand

        7   that.   Mr. Ellington needs to understand that.      You know, if

        8   there are any games behind the scene, not only do I expect the

        9   Committee    is going to come in and highlight that to the Court

       10   and file a motion for a trustee or whatever, but we're going

       11   to have a contempt of court issue.

       12        So, anybody want to respond to that?

       13               MR. POMERANTZ:   Your Honor, Jeff Pomerantz; Pachulski

       14   Stang Ziehl & Jones.

       15        We hear Your Honor.     What I thought I'd do now is I have a

       16   clean redline of the order, of course not including the

       17   provision you just requested, --

       18               THE COURT:   Uh-huh.

       19               MR. POMERANTZ:   -- which we will go back and upload

       20   and hope to get an order signed by Your Honor today, if you're

       21   around.   But to go over the other changes, the changes to

       22   Jefferies, the other language changes I discussed before.          I

       23   gave a copy to Ms. Lambert and to the Committee.       May I

       24   approach with a --

       25               THE COURT:   You may.




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        1             MR. POMERANTZ:    Thank you.

        2             THE COURT:    Okay.   All right.   (Pause.)    All right.

        3   The form of order looks fine to me.       Obviously, you'll add the

        4   Dondero-related language, and we may have further wording

        5   tweaks negotiated with the CLO Issuers.      But, again, I approve

        6   all of this.   I didn't say on the record the compensation, but

        7   certainly I am approving that as reasonable.       I expect these

        8   three directors are going to be working very, very hard.          And

        9   so, as you said, not 50,000-foot level monitoring, actually

       10   rolling up sleeves on-site, so I think the compensation is

       11   reasonable.

       12             MR. POMERANTZ:    Thank you, Your Honor.      We will

       13   submit an order shortly that includes Your Honor's language

       14   requested.

       15             THE COURT:    Okay.

       16             MR. POMERANTZ:    Are you around this afternoon?

       17             THE COURT:    I am around, --

       18             MR. POMERANTZ:    Okay.

       19             THE COURT:    -- so just pick up the phone or send an

       20   email to Traci, my courtroom deputy, --

       21             MR. POMERANTZ:    Yes.

       22             THE COURT:    -- so she can tell me, "It's in your

       23   queue to sign."

       24             MR. POMERANTZ:    She has been extremely helpful and

       25   responsive.




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        1               THE COURT:   Good.   I'm glad to hear that.

        2               MR. POMERANTZ:   Yes.

        3               THE COURT:   Now, as far as future scheduling, I did

        4   have her sitting by, listening, in case we needed to discuss

        5   anything.    Obviously, we're going to have a kind of a

        6   carryover placeholder on the 21st as part of the trustee

        7   motion hearing for any remaining issues with the CLO Issuer.

        8   And, you know, that's just a placeholder if necessary to hear

        9   language controversies.

       10        My courtroom deputy was concerned, because you have a lot

       11   of pending motions that have just sort of sat there pending

       12   because this was the big issue, right?      She wants to make sure

       13   she sets anything you need a setting on.      And I don't know if

       14   you want to discuss that today or go back as a group and --

       15               MR. POMERANTZ:   We're happy to -- I think, you know,

       16   I think that's appropriate to do.      We had the motion to

       17   appoint the CRO.

       18               THE COURT:   Uh-huh.

       19               MR. POMERANTZ:   That was pending.   That gets resolved

       20   by this motion.    We will submit an order --

       21               THE COURT:   Okay.

       22               MR. POMERANTZ:   -- with the new agreement that was

       23   attached to the term sheet.

       24        We had the cash management order which Judge Sontchi had

       25   issued an interim order.     We will have a final order with




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        1   respect to that.

        2              THE COURT:   Okay.

        3              MR. POMERANTZ:   We will be withdrawing the motion to

        4   approve ordinary course protocols which was originally on for

        5   hearing.

        6              THE COURT:   Uh-huh.

        7              MR. POMERANTZ:   I think on the 21st we have currently

        8   set a motion to approve the retention or Mercer, which is the

        9   Debtor's compensation consultant, --

       10              THE COURT:   Uh-huh.

       11              MR. POMERANTZ:   -- and an analog motion that was

       12   originally set for today with respect to insiders, non-

       13   insiders, but is on for non-insiders and insiders on the 21st,

       14   --

       15              THE COURT:   Uh-huh.

       16              MR. POMERANTZ:   -- which is the motion to approve

       17   bonuses.

       18              THE COURT:   Uh-huh.

       19              MR. POMERANTZ:   Of course, the Debtor's new board is

       20   going to be wanting to very carefully review that.       And we are

       21   going back and today having our first new board meeting with

       22   the board to start bringing them up to speed.       But we

       23   presently intend, subject to, obviously, their direction, to

       24   go forward on the 21st.

       25        We also have the retention of Lynn Pinker and Foley




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        1   Gardere, which had been filed and was brought on for hearing

        2   previously.   It had been delayed, again, for the board to look

        3   at the issues.    We expect to have that on for the 21st.        And I

        4   believe, I believe that would be it.

        5             MS. LAMBERT:    No, Your Honor, the --

        6             MR. POMERANTZ:    No?

        7             MS. LAMBERT:    -- U.S. Trustee has objected to the

        8   motion to seal, which was the second item on the Wilmington

        9   Court's docket that got -- and it got transferred here.          The

       10   U.S. Trustee has also objected to the motion for protective

       11   order.   The issues overlap.      We request that they be set as

       12   quickly as possible.

       13             MR. POMERANTZ:    We're happy to set both of those for

       14   the 21st as well.

       15             THE COURT:    All right.    So I think what I'm going to

       16   ask you to do is just get on the phone, one of you, with Traci

       17   and just make sure she's clear on everything you need set on

       18   the 21st, and then you can do a big notice of hearing, just

       19   kind of listing all of these matters.

       20             MR. POMERANTZ:    Your Honor, with respect to the CRO

       21   motion -- order and the cash management order, I was wondering

       22   if it would be helpful for my colleague Mr. Demo to go over

       23   the amendments to those orders -- we would like those to be

       24   entered today -- to see if Your Honor has any questions.

       25             THE COURT:    All right.    That would be good.     Mr.




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        1   Clemente, did you have something first?

        2               MR. CLEMENTE:    Just very quickly, Your Honor.       We had

        3   filed our retention applications for the Committee

        4   professionals and filed CNOs, and your office had indicated

        5   you wanted to get through today, which I totally understand,

        6   but I just wanted to make sure that Your Honor didn't lose

        7   sight of those.    I don't believe there were any objections to

        8   those, but I think your intent was probably to deal with them

        9   after today, but I just wanted to --

       10               THE COURT:   All right.   Yes, it was to get through

       11   today.

       12               MR. CLEMENTE:    Yes.

       13               THE COURT:   So, since you've had plenty of time run

       14   on those, you can submit orders and I'll get them signed in

       15   chambers.

       16               MR. CLEMENTE:    Thank you very much, Your Honor.

       17   Appreciate it.

       18               THE COURT:   Okay.   Thank you.   Counsel?

       19               MR. DEMO:    Good afternoon, Your Honor.     Greg Demo,

       20   Pachulski Stang, on behalf of the Debtor.       I'm happy to keep

       21   this as brief as possible, but I think walking through the

       22   cash management motion has the most changes.

       23               THE COURT:   Okay.

       24               MR. DEMO:    The biggest change there, and we had

       25   discussed this with the United Stated Trustee in Delaware, is




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        1   that in our initial motion we disclosed that the Debtor had

        2   bank accounts at BBVA and then also at NexBank.        Those

        3   accounts have been moved to East West Bank, --

        4               THE COURT:   Okay.

        5               MR. DEMO:    -- which is a party to a depository

        6   agreement with the United Stated Trustee.

        7               THE COURT:   Okay.

        8               MR. DEMO:    The only exception to that is a

        9   certificate of deposit that is at NexBank.        It's a relatively

       10   small amount of money.      It's $135,000.    But it also is pledged

       11   as collateral on a lease.        So that has been -- proven

       12   problematic to move.      The Trustee for Delaware did say that

       13   was okay.    I would hope that the Trustee for Texas would agree

       14   with that.    We did disclose it in the initial debtor

       15   interview.

       16        But those are the bank accounts.        The bank accounts at

       17   BBVA and NexBank, with the exception of that CD, were all

       18   closed as of yesterday.

       19               THE COURT:   Okay.

       20               MR. DEMO:    So now we are going to be using East West

       21   Bank for all operating accounts, all cash, going forward.

       22        The other two accounts are the account at Jefferies, which

       23   is the prime brokerage account.

       24               THE COURT:   Uh-huh.

       25               MR. DEMO:    That account, we are keeping open.




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        1   Obviously, there have been conversations with Jefferies that

        2   are going to be reflected in the proposed order on the

        3   settlement, but we do propose to keep the Jefferies prime

        4   brokerage account open as well.

        5        And then we filed a supplement for another prime brokerage

        6   account that we have at a prime broker called Maxim Group.

        7   That account has $30 million in securities in it, give or

        8   take, and then literally like $100 in cash.      The Debtor

        9   considers that account more an investment than actual

       10   operating account, but we would like to keep that account open

       11   as well, just so it can continue holding those securities.

       12        Jefferies and Maxim, neither of them are on the depository

       13   list, so we are requesting a waiver of 345(b) for those two

       14   accounts, and then also requesting a waiver of 345(b) with

       15   respect to the certificate of deposit at NexBank.

       16             THE COURT:   Okay.

       17             MR. DEMO:    That's where we're at at cash management.

       18   And I guess, sorry, one more thing.      In the original cash

       19   management motion, we had a series of intercompany

       20   transactions that we disclosed, and we had gotten interim

       21   relief from the Delaware court to make those payments up to a

       22   hundred -- or, $1.7 million.     We are below that account, and

       23   on a go-forward basis, all of those intercompany transactions

       24   are getting subsumed into the settlement motion and the

       25   operating protocols and all of that.      But we are asking for




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        1   final relief on the intercompany transactions that we made

        2   under the interim order.

        3              THE COURT:   Okay.   All right.    Who wishes to be heard

        4   on this?   I don't know how much discussion we've had outside

        5   the courtroom on this.

        6              MS. LAMBERT:    We haven't -- normally, a bond would be

        7   appropriate for the Jefferies and the other small account.

        8   The estate is at risk on the CD, but it's not that much money.

        9   It's not worth bonding.      It'll be more expensive to bond it.

       10       NexBank, as you know, Your Honor, is a bank where Mr.

       11   Dondero is the CEO.     So that was part of the reason that

       12   NexBank was carved out.     But the -- so I would like them to

       13   bid bonds on the Jefferies and the other account.        And if we

       14   -- let's carry it on those issues so that we can see how

       15   expensive bonding it would be, and if it's cost-prohibitive,

       16   maybe we reconsider.      But in the past, the bonds haven't been

       17   very expensive, relatively.

       18              MR. DEMO:    We're happy to discuss that with the U.S.

       19   Trustee.   I mean, just for the record, the Jefferies account,

       20   you know, does support a margin loan.        It's $80 million in

       21   securities.    It's $30 million at Maxim.      They're SIPC.   I

       22   mean, it's Jefferies and, you know, another large prime

       23   broker.    Again, we're happy to discuss it with the Trustee.           I

       24   don't know that it's necessary, but we will discuss it.

       25              THE COURT:   Okay.   Well, you all can discuss it, and




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        1   if you have an unopposed order, an agreed order, --

        2             MR. DEMO:    Uh-huh.

        3             THE COURT:    -- you can upload it and I'll sign it.

        4   Otherwise, if you need hearing time on the 21st, --

        5             MR. DEMO:    Okay.

        6             THE COURT:    -- we'll get it all figured out then and

        7   --

        8             MR. DEMO:    Okay.   All right.

        9             THE COURT:    -- resolve it then.

       10             MR. DEMO:    Thank you, Your Honor.    And then I guess

       11   the other motion is the CRO retention.      This one should

       12   hopefully be pretty brief.       We are just filing a new proposed

       13   order that attaches the engagement letter, as has been

       14   modified by all of the settlement discussions.       I believe the

       15   Committee is on board with that, and it's consistent.         It was

       16   one of the attachments that you approved this morning in

       17   connection with the settlement.

       18             THE COURT:    All right.    Comments on that?

       19             A VOICE:    None, Your Honor.

       20             THE COURT:    Committee,    you're good?

       21             MS. LAMBERT:    The U.S. Trustee had also objected to

       22   the CRO motion, but it's some of the same issues that the

       23   Committee raised.     And the CRO, my understanding, is now not

       24   an employee of the board but totally overseen by the board,

       25   and with that, we can withdraw our objection.




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        1             THE COURT:    All right.    Very good.   I'll sign your

        2   order on the CRO, then.

        3             MR. DEMO:    Okay.    Thank you, Your Honor.

        4             THE COURT:    All right.    Well, if there's nothing

        5   else, I'll be on the lookout for your orders.       And, again, if

        6   you could coordinate with Traci to make sure she's clear on

        7   everything you need set on the 21st.

        8             MR. POMERANTZ:    Thank you very much, Your Honor.

        9             THE COURT:    All right.

       10             MR. CLEMENTE:    Thank you, Your Honor.

       11             MR. DEMO:    Thank you, Your Honor.

       12             THE CLERK:    All rise.

       13        (Proceedings concluded at 11:54 a.m.)

       14                                    --oOo--

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       17

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       19

       20                                  CERTIFICATE

       21        I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
       22   above-entitled matter.
       23     /s/ Kathy Rehling                                  12/10/2020

       24   ______________________________________             ________________
            Kathy Rehling, CETD-444                                Date
       25   Certified Electronic Court Transcriber




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                           IN THE UNITED STATES BANKRUPTCY COURT
        1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION
        2
                                           )    Case No. 19-34054-sgj-11
        3   In Re:                         )
                                           )
        4   HIGHLAND CAPITAL               )    Dallas, Texas
            MANAGEMENT, L.P.,              )    February 19, 2020
        5                                  )    9:30 a.m.
                      Debtor.              )
        6                                  )    MOTIONS
                 __                        )
        7
                                TRANSCRIPT OF PROCEEDINGS
        8              BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                             UNITED STATES BANKRUPTCY JUDGE.
        9
            APPEARANCES:
       10
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       11                                  John A. Morris
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       12                                  780 Third Avenue, 34th Floor
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                                           (972) 755-7104
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       22   of Unsecured Creditors:        SIDLEY AUSTIN, LLP
                                           One South Dearborn Street
       23                                  Chicago, IL 60603
                                           (312) 853-7539
       24

       25




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        1   APPEARANCES, cont'd.:
        2   For the Official Committee     Juliana Hoffman
            of Unsecured Creditors:        SIDLEY AUSTIN, LLP
        3                                  2021 McKinney Avenue, Suite 2000
                                           Dallas, TX 75201
        4                                  (214) 981-3413
        5   For Acis Capital               Rakhee V. Patel
            Management GP, LLC,            Annmarie Antoinette Chiarello
        6   et al.:                        Phillip L. Lamberson
                                           WINSTEAD, P.C.
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                                           Dallas, TX 75201
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        9   For Acis Capital               Brian Patrick Shaw
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       10   et al.:                        500 N. Akard Street, Suite 1900
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       17                                  (212) 756-2000
       18   For Redeemer Committee of      Mark A. Platt
            the Highland Crusader          FROST BROWN TODD, LLC
       19   Fund:                          100 Crescent Court, Suite 350
                                           Dallas, TX 75201
       20                                  (214) 580-5852
       21   For Redeemer Committee of      Marc B. Hankin
            the Highland Crusader          JENNER & BLOCK, LLP
       22   Fund:                          919 Third Avenue
            (Telephonic)                   New York, NY 10022-3098
       23                                  (212) 891-1600
       24

       25




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        1   APPEARANCES, cont'd.:
        2   For the U.S. Trustee:          Lisa L. Lambert
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                     transcript produced by transcription service.




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        1              DALLAS, TEXAS - FEBRUARY 19, 2020 - 9:43 A.M.

        2              THE COURT:   All right.   Well, we have Highland

        3   matters.    Let's get lawyer appearances, in the courtroom

        4   first.

        5              MR. DEMO:    Good morning, Your Honor.   Greg Demo;

        6   Pachulski Stang Ziehl & Jones, on behalf of the Debtor.          With

        7   me are Jeff Pomerantz and John Morris.

        8              THE COURT:   Okay.   Good morning.

        9              MR. POMERANTZ:   Good morning.

       10              MR. CLEMENTE:    Good morning, Your Honor.    Matthew

       11   Clemente and Juliana Hoffman from Sidley Austin on behalf of

       12   the Official Committee of Unsecured Creditors.

       13              THE COURT:   Good morning.

       14              MS. HAYWARD:    Good morning, Your Honor.    Melissa

       15   Hayward and Zachery Annable also on behalf of the Debtor.

       16              THE COURT:   Good morning.

       17              MS. LAMBERT:    Lisa Lambert with the U.S. Department

       18   of Justice on behalf of the U.S. Trustee, William Neary.

       19              THE COURT:   Good morning.

       20              MS. PATEL:   Good morning, Your Honor.     Rakhee Patel,

       21   Phil Lamberson, and Annemarie Chiarello of Winstead, P.C., and

       22   also Brian Shaw of Rogge Dunn Group, on behalf of Acis Capital

       23   Management, LP and Acis Capital Management, GP, LLC.

       24              THE COURT:   Thank you.

       25              MR. PLATT:   Good morning, Your Honor.     Mark Platt




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        1   from Frost Brown Todd on behalf of the Redeemer Committee of

        2   the Highland Crusader Fund.     I believe that at least Marc

        3   Hankin from Jenner & Block is on the line as well.

        4              THE COURT:   Okay.   Thank you.

        5              MS. ANDERSON:   Good morning, Your Honor.     Amy

        6   Anderson with Jones Walker on behalf of the Issuers.          And I

        7   believe Mr. James Bentley with Schulte Roth is also on the

        8   phone.

        9        And I apologize for interrupting the flow.      I would ask if

       10   Mr. Bentley and I could be excused after the uncontested

       11   matters are taken up this morning, just to avoid       --

       12              THE COURT:   Okay.

       13              MS. ANDERSON:   -- having us -- I don't want to re-

       14   interrupt later, if that is all right with Your Honor.

       15              THE COURT:   Okay.   That's fine.   Thank you.

       16              MS. ANDERSON:   Okay.

       17              THE COURT:   All right.   That looks like all the

       18   courtroom appearances.     On the phone, we heard that James

       19   Bentley is there.    Do you want to appear, Mr. Bentley?

       20              MR. BENTLEY:    Yes, that's correct, Your Honor.      Good

       21   morning.

       22              THE COURT:   All right.

       23              MR. BENTLEY:    Good morning, Your Honor.    James

       24   Bentley; Schulte Roth & Zabel; for the Cayman Issuers.

       25              THE COURT:   All right.   And someone else was there




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        1   for the Redeemer Fund.      I can't remember.    Was it Mr. Clubok

        2   you said, or anyone else on the phone?

        3               MR. HANKIN:    Marc Hankin from Jenner & Block, --

        4               THE COURT:    Oh, okay.

        5               MR. HANKIN:    -- Your Honor.

        6               THE COURT:    All right.    Mr. Hankin.   Anyone else on

        7   the phone who wants to appear may go ahead.

        8          All right.   I guess we're good to go.     Well, I'll turn now

        9   -- Mr. Demo, are you going to start us off today?

       10               MR. DEMO:    Yes, Your Honor.

       11               THE COURT:    Someone delivered a wonderful notebook

       12   and an easy-to-follow agenda.         I appreciate whosever hard work

       13   was behind that.     It really helps us get prepared back in

       14   chambers.    So, thank you.

       15               MR. DEMO:    And we're happy to do it, Your Honor,

       16   because, honestly, it helps us, I think, as much as it helps

       17   you.

       18               THE COURT:    Okay.

       19               MR. DEMO:    And we do have extra copies if anybody

       20   needs a copy of the agenda.

       21               THE COURT:    Okay.

       22               MR. DEMO:    Generally speaking, we'd kind of like to

       23   go in the order of the agenda, I think, with two exceptions.

       24   I know that Ms. Adams and Mr. Bentley have to move, so I

       25   thought maybe we could do their objection to the settlement




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        1   motion first.

        2               THE COURT:   Okay.   So that's the carryover matter.

        3               MR. DEMO:    Correct, Your Honor.

        4               THE COURT:   We obviously have an order in place, but

        5   we kept it open to accommodate their issues.

        6               MR. DEMO:    Correct.

        7               THE COURT:   Okay.

        8               MR. DEMO:    And that's Item 7 on Page 7.

        9               THE COURT:   All right.

       10               MR. DEMO:    And I think this one -- and anybody can

       11   correct if I'm wrong -- will go pretty easily.        We've come to

       12   an agreement with the Objecting Parties.

       13               THE COURT:   All right.

       14               MR. DEMO:    We are planning on submitting, under a

       15   notice, a revised copy of the operating protocols that were

       16   approved by this Court in connection with the settlement that

       17   addresses those Objectors' concerns.       And then once that is

       18   filed, the Objecting Parties will withdraw their objection.

       19               THE COURT:   All right.   Anyone wish to speak up on

       20   this matter?

       21        All right.   Well, as I recall, the concern had been that

       22   they didn't want the agreed-upon operating protocols with the

       23   Committee to somehow change contractual rights of the parties,

       24   and so --

       25               MR. DEMO:    That is correct, Your Honor.    And we took




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        1   their language and we carved out a small universe of CLO

        2   Issuers, --

        3              THE COURT: Okay.

        4              MR. DEMO:    -- exactly as they asked for.

        5              THE COURT:    All right.    Well, again, I'll ask:     Does

        6   anyone have any comment about this revised process?

        7         All right.   Well, that sounds perfectly fine to me, so

        8   we'll look for the revised copy of the operational procedures.

        9              MR. DEMO:    Okay.    Great, Your Honor.

       10         And then I guess the only other exception to the order of

       11   the agenda --

       12         (Garbled phone noises.)

       13              THE COURT:    Is someone on the phone wishing to speak

       14   up?   (no response)     All right.    I guess not.

       15              MR. DEMO:    Yeah.    I guess the only other exception to

       16   the order in the agenda is the Foley Gardere retention

       17   application.

       18              THE COURT:    Okay.

       19              MR. DEMO:    We would like to do that last.     It is a

       20   contested hearing and I think we are going to have some

       21   evidence on that.

       22              THE COURT:    All right.    All right.    Sounds fine.

       23              MR. DEMO:    Then, I guess, just going through the

       24   agenda in the order that it's written, the first one is the

       25   Lynn Pinker retention application.       We had originally filed




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        1   that retention application back in October.       We recently

        2   withdrew it.   We're not going to go forward on it.

        3             THE COURT:   All right.

        4             MR. DEMO:    The second matter, and I guess the second

        5   two matters, hopefully, we can take at the same time.         These

        6   are two uncontested matters.      Certificates of no objection

        7   have been filed for both of them.      The first is the foreign

        8   representative motion.

        9             THE COURT:   Yeah, and I will tell you, I don't know

       10   if it's shown up on PACER yet, --

       11             MR. DEMO:    Okay.

       12             THE COURT:   -- but I actually already signed an order

       13   on that, --

       14             MR. DEMO:    Okay.

       15             THE COURT:   -- as well as exclusivity.

       16             MR. DEMO:    Perfect.

       17             THE COURT:   But, you know, I saw the certificates of

       18   no objection, but perhaps we need to talk about it in case

       19   anyone wants to comment in any way.

       20             MR. DEMO:    If anybody does, I mean, if you've already

       21   entered them -- I know PACER was down, so I don't think we've

       22   seen it yet.

       23             THE COURT:   Okay.

       24             MR. DEMO:    But we're fine moving on if --

       25             THE COURT:   Well, yeah.    The foreign representative




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        1   motion looked like a no-brainer, if you will.

        2              MR. DEMO:    Uh-huh.

        3              THE COURT:    It was filed way back in October, right?

        4              MR. DEMO:    Correct.    Right.

        5              THE COURT:    And no one had ever objected.       It's just

        6   that there are some foreign proceedings out there; --

        7              MR. DEMO:    Right.    Right.

        8              THE COURT:    -- you wanted to make sure that there was

        9   a human being who had authority to act in those?

       10              MR. DEMO:    Correct.

       11              THE COURT:    All right.     So, if no one has any

       12   comment, I did go ahead and sign the order approving that.

       13              MR. DEMO:    Okay.

       14              THE COURT:    Similarly, exclusivity.        I signed an

       15   order on that yesterday.        In probably nine out of ten cases, I

       16   would have had a hearing with evidence.

       17              MR. DEMO:    Uh-huh.

       18              THE COURT:    But, again, that one seemed like a no-

       19   brainer.   We had no objections, and obviously you've been in

       20   court a lot, with a lot of things happening.

       21              MR. DEMO:    Yes.

       22              THE COURT:    So it seemed like a no-brainer to give

       23   more time on that.      So, does anyone have anything they wanted

       24   to say about that?      (no response)      All right.

       25              MR. DEMO:    Okay.




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        1             THE COURT:     So that is granted.    I can't remember,

        2   off the top of my brain, what the extended time frame was.             Do

        3   you want to say that on the record?       Because I've just blanked

        4   out at the moment.

        5        (Counsel confer.)

        6             MR. DEMO:    It's -- we extended it for four months,

        7   Your Honor.

        8             THE COURT:     Okay.   All right.   So that was June, June

        9   12th as the deadline for filing a plan, and then the

       10   solicitation period would expire on August 11th, 2020.        That's

       11   what I've approved.

       12             MR. DEMO:    Yes.

       13             THE COURT:     All right.

       14             MR. DEMO:    Okay.     The next matter is the bar date

       15   motion.   There was an automatic bar date set for April 8th --

       16             THE COURT:     Uh-huh.

       17             MR. DEMO:    -- in connection with the 341 notice.       We

       18   just wanted to have procedures for filing claims approved by

       19   this Court.

       20             THE COURT:     Okay.

       21             MR. DEMO:    You know, we filed the motion.      There are

       22   no objections.   We did have some comments from the United

       23   States Trustee, which we've incorporated into a redlined

       24   order.

       25        Something came up last night where, the way that it works




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        1   because we have a lot of investors, is that a lot of people

        2   get notice through their custodians and through the different

        3   administrators.

        4             THE COURT:   Uh-huh.

        5             MR. DEMO:    And so we worked that into the motion.

        6   The United States Trustee has asked for an extension of 45

        7   days for those folks to file their claim.      We're okay with

        8   that.   We're going to work with her afterwards, and we will

        9   submit a revised form of order.

       10             THE COURT:   Okay.    So, just to be clear, the proposed

       11   deadlines, as revised, would be what?

       12             MR. DEMO:    It depends on when the notice is actually

       13   able to be sent out.

       14             THE COURT:   Okay.

       15             MR. DEMO:    We need to work through some technical

       16   issues on that.

       17             THE COURT:   Okay.    Ms. Lambert?

       18             MS. LAMBERT:    So, Judge Jernigan, I think the Court

       19   is familiar with this from when we solicit Equity Committees.

       20   It's the same issue here.      You go to TD Ameritrade and then

       21   they send the notice to the direct holders, but also asked

       22   that they include correspondence to the TD Ameritrade or

       23   Merrill Lynch equivalents saying -- instructing them to send

       24   the notice of the bar date to their direct holders.

       25       So we're going to agree on the phrasing of the letter.




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        1   I'm hopeful that we can attach that to the order so the Court

        2   can see what it looks like.

        3               THE COURT:   All right.

        4               MR. DEMO:    Okay.   And we'll work through those

        5   issues, Your Honor, and have something to you as soon as

        6   possible.

        7               THE COURT:   All right.   And you're also asking for

        8   bar dates, really, bar date for 503(b)(9) claims as well?

        9               MR. DEMO:    Yeah.   We don't think we're going to have

       10   any.

       11               THE COURT:   Okay.

       12               MR. DEMO:    So it's really just out of an abundance of

       13   caution.

       14               THE COURT:   Okay.   All right.   Well, I'll look for

       15   that form of order --

       16               MR. DEMO:    Okay.

       17               THE COURT:   -- and be happy to sign it as you all

       18   have negotiated it.

       19               MR. DEMO:    Okay.   And then skipping over Foley

       20   Gardere, there is one still outstanding objection on that, so

       21   we will hear that in due course.

       22               THE COURT:   Okay.

       23               MR. DEMO:    The next one is Item 6 on Page 6, and

       24   that's the PensionDanmark motion to lift the stay.        We have an

       25   agreement in principle with PensionDanmark that the Committee




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        1   has signed off on.     We're just going through and working

        2   through the paperwork.    And so we would like to just push this

        3   to the next hearing date, with the expectation that we would

        4   get the paperwork filed in between then and we wouldn't have

        5   to have it set.

        6             THE COURT:    All right.    So we will carry this to our

        7   next omnibus hearing date.       I don't know if we have one

        8   automatically set at this point or --

        9             MR DEMO:    It's March 13th.

       10             THE COURT:    March--?

       11             MR. DEMO:    12th.

       12             MS. HAYWARD:    11th.

       13             MR. DEMO:    11th.    I'm sorry.   I was in the ballpark.

       14             THE COURT:    Okay.    So, carried to March 11th, as

       15   necessary.

       16             MR. DEMO:    Uh-huh.

       17             THE COURT:    All right.

       18             MR. DEMO:    And then I guess the next thing, skipping

       19   over the CLO Issuers' objection, which we already addressed,

       20   --

       21             THE COURT:    Uh-huh.

       22             MR. DEMO:    -- is the sealing conference motion.

       23             THE COURT:    Okay.

       24             MR. DEMO:    And I would turn this over to my

       25   colleague, John Morris.




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        1             THE COURT:    All right.

        2             MR. MORRIS:    Good morning, Your Honor.    John Morris,

        3   Pachulski Stang Ziehl & Jones.

        4             THE COURT:    Good morning.

        5             MR. MORRIS:    I hope that this doesn't take too much

        6   time.   But following the last hearing that we had, the Court

        7   had rendered a ruling with respect to the Committee's sealing

        8   motion.   And regrettably, the Debtor and the U.S. Trustee's

        9   Office were unable to agree on a form of order.       And that led

       10   to kind of a back-and-forth about the scope of the protective

       11   order that had been entered.

       12        So, because we couldn't come to an agreement, and because

       13   the Debtor had concerns about the interpretation and the

       14   position, frankly, that the U.S. Trustee was taking with

       15   respect to the protective order, we filed our motion for the

       16   entry of an order concerning the sealing motion and for a

       17   conference.    And that was filed at Docket 397.

       18        The Court subsequently entered the Debtor's proposed order

       19   on the sealing motion, on the Committee's sealing motion.         So

       20   that's moot.

       21        The only issue, to the extent there is an issue, and I'm

       22   not sure that there is, but to the extent that there is an

       23   issue, it was just the Debtor's desire to make clear on the

       24   record that the words of the protective order are clear and

       25   unambiguous and that they apply to any party who receives




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        1   documents in this bankruptcy case, whether it's in connection

        2   with a contested matter or an adversary proceeding, and that

        3   order applies both to documents previously received and to

        4   documents that will be received in the future.

        5        We had asked the U.S. Trustee's Office to make -- just to

        6   agree that they would abide by the protective order.          And I'm

        7   not casting aspersions, I'm not saying, you know, they're bad

        8   people or anything, but we never got the crystal-clear

        9   response that we needed and expected, frankly, that the order

       10   says what the order says and the U.S. Trustee's Office would,

       11   you know, would abide by it.

       12             THE COURT:    Okay.   So, --

       13             MR. MORRIS:    So that's why we asked for this status

       14   conference.

       15             THE COURT:    So this is more than just the issue of

       16   the Redeemer Committee arbitration award --

       17             MR. MORRIS:    Correct.

       18             THE COURT:    -- that was the attachment to the --

       19             MS. LAMBERT:    No, Your Honor.

       20             THE COURT:    Wait.   Oh, okay.   Well, what I was about

       21   to say is I was understanding from your presentation that you

       22   thought this was about more than just the arbitration award,

       23   the Redeemer Committee arbitration award that had been

       24   attached to that Committee objection and that was subject to

       25   the motion to seal.




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        1        You think it is also about items marked Confidential that

        2   the U.S. Trustee received before the entry of the protective

        3   order?

        4               MR. MORRIS:    As it explicitly provides for.     And I'll

        5   just say that the concerns arise from the written

        6   communications that we received, where the U.S. Trustee's

        7   Office specifically said that they would file matters

        8   unredacted and without seal.       And we asked them to simply

        9   retract that statement, because the order says what the order

       10   says.    And I think it's a fair concern that the Debtor has in

       11   this regard, and it was really a very simple request.         Please,

       12   please, I mean, you can't file documents unredacted and

       13   without seal because there's a protective order in place.

       14               THE COURT:    Okay.   Now, Ms. Lambert, you say -- what

       15   were you about to say?

       16               MS. LAMBERT:    First, Your Honor, I want to be clear

       17   that the U.S. Trustee -- everyone in the U.S. Trustee's Office

       18   intends to honor the Court's orders.       There are many things

       19   that we debate hotly and that we feel animated about in terms

       20   of legal advocacy, but we intend to honor both the office and

       21   the individual that holds that office when the Court has made

       22   a ruling.

       23        The issue that is presented to the Court is what is the

       24   effect of dismissing a motion to seal on the basis that it is

       25   moot?    There's black-letter law that sealing should be for




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        1   limited time periods and things should be unsealed --

        2             THE COURT:   Okay.   Can I stop you?    Are you saying

        3   that you think the sole issue here is just the arbitration

        4   award?

        5             MS. LAMBERT:    Yes, Your Honor.

        6             THE COURT:   Okay.   So, so --

        7             MS. LAMBERT:    And this is how it springs back to the

        8   protective order.

        9             THE COURT:   Okay.   Let me --

       10             MS. LAMBERT:    The U.S. --

       11             THE COURT:   Let me stop you, because what about other

       12   documents besides the arbitration award that the U.S. Trustee

       13   might have received prior to the Court signing the protective

       14   order?

       15             MS. LAMBERT:    The U.S. Trustee did not receive any

       16   other items that --

       17             THE COURT:   Okay.   So we are just talking about the

       18   arbitration?

       19             MS. LAMBERT:    We have not to this date received any

       20   other items than those items --

       21             THE COURT:   Okay.

       22             MS. LAMBERT:    -- that were subject to the motion to

       23   seal.

       24             THE COURT:   Okay.

       25             MS. LAMBERT:    And this is the U.S. Trustee's




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        1   position.    The Court --

        2               THE COURT:    I will say that one of the Debtor's

        3   lawyers is shaking his head.        I want to see if there's a

        4   disagreement about, did the U.S. Trustee receive more items?

        5   Was that --

        6               MR. MORRIS:    I would say, Your Honor, I don't know

        7   exactly what was delivered, because I'm, --

        8               THE COURT:    Okay.

        9               MR. MORRIS:    -- right, I'm part of a team.      But I do

       10   know that we gave, for example, information about bonus --

       11   about, you know, personnel bonus motions that is confidential.

       12               MS. LAMBERT:    But the issue about what was going to

       13   be filed unsealed was related to the items in the motion to

       14   seal and the U.S. Trustee's attendant motion for the

       15   appointment of a Chapter 11 Trustee, which had been redacted.

       16               THE COURT:    Okay.   Let me -- I'm going to take a shot

       17   at making this go quicker.        What I meant when I ruled that,

       18   well, the objection of the Committee is moot now because it

       19   was resolved by other orders; therefore, I think the motion to

       20   file under seal the arbitration award is moot because it was

       21   connected to the Committee's objection; you know, that was a

       22   quick, off-the-cuff comment.        What I was trying to say is I

       23   didn't think this needed any more court time.        There was no

       24   case in controversy anymore.        I didn't know why I needed to

       25   resolve an objection to the motion to file under seal.




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        1        What I meant is it's going to be like it never even

        2   happened, right?    And what I probably should have done is

        3   said, Committee, you want to make an oral motion to withdraw

        4   your objection and withdraw your motion to seal, you know,

        5   orally, I'll grant it orally and just remove it from the

        6   record, so to speak.

        7        And I thought we were passing off to another day whether

        8   that arbitration award, if someone wanted to file it and file

        9   it publicly or disclose it, they could then file a motion

       10   later.

       11             MR. MORRIS:    Your Honor?

       12             MS. LAMBERT:    Here's the -- here's the --

       13             MR. MORRIS:    Your Honor, if I may?

       14             THE COURT:    Uh-huh.

       15             MR. MORRIS:    You've done exactly what you've said.

       16             THE COURT:    Okay.

       17             MR. MORRIS:    I don't think there is an issue now.

       18             THE COURT:    Okay.

       19             MR. MORRIS:    I've heard from the U.S. Trustee's

       20   Office what I asked for probably three times in writing, that

       21   they are going to abide by the terms of the protective order.

       22   With respect to the sealing order, Your Honor has entered an

       23   order.   It declared the Committee's motion to seal moot, and

       24   it specifically provided that anybody who's received the

       25   awards has to treat them in accordance with the protective




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        1   order.

        2             THE COURT:    Yeah.

        3             MR. MORRIS:    Nobody's appealed that order.

        4             THE COURT:    Okay.

        5             MR. MORRIS:    It's now the -- it's -- whatever the

        6   U.S. Trustee's interpretation is of the law is kind of

        7   irrelevant at this point because the order has been entered

        8   and it hasn't been appealed.

        9             THE COURT:    Okay.

       10             MS. LAMBERT:    Here's the thing, Your Honor.       The case

       11   law, Omni Video, similar things.       There are two issues.

       12   Number one is whether the mootness of the underlying issue

       13   means that the pleadings should be unredacted, which is black

       14   letter that at some point pleadings should be unredacted and

       15   made available to the public.       And the Court's ruling is that

       16   by replacing the management the Court has mooted anything that

       17   might be scandalous about that or that might be problematic

       18   about it, and therefore --

       19             THE COURT:    What is the it?    I'm not following.

       20             MS. LAMBERT:    -- the arbitration award and the

       21   pleadings attendant were redacted, but the --

       22             THE COURT:    I haven't said anything about -- I mean,

       23   I denied a Chapter 11 trustee motion because I thought the new

       24   management was a correct way to go forward in this case.

       25             MS. LAMBERT:    Correct.




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        1             THE COURT:   The arbitration award, what I meant was

        2   it's like it never happened now.       And if I --

        3             MS. LAMBERT:    Right.

        4             THE COURT:   -- need to do an amended order saying the

        5   Committee has permission to withdraw the objection and

        6   withdraw the motion to seal, I'll --

        7             MS. LAMBERT:    That's --

        8             THE COURT:   -- I'll do that, --

        9             MS. LAMBERT:    But --

       10             THE COURT:   -- so there's nothing on the record to

       11   make public.

       12             MS. LAMBERT:    But withdrawing the motion, objection,

       13   does not delete it from the record, Your Honor.

       14             THE COURT:   Well, I'm going to make it so.         I'm going

       15   to make it so.   And then if, one day, you or someone else --

       16             MS. LAMBERT:    Your Honor, currently, --

       17             THE COURT:   -- wants to be relieved from the

       18   protective order and asks that it be publicly filed, I'll

       19   consider --

       20             MS. LAMBERT:    Your Honor?

       21             THE COURT:   -- the merits of that.

       22             MS. LAMBERT:    Your Honor, the thing is that the

       23   Committee, when it filed its original objection, did not

       24   redact.   So this information has been in the public domain for

       25   months now.    And the arbitration --




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        1              THE COURT:    Wait.   Okay.   This all happened in

        2   Delaware, so I don't know their procedure.        Are you saying it

        3   was on the public PACER?

        4              MS. LAMBERT:    They didn't redact.

        5              MR. MORRIS:    No.    Your Honor, the Redeemer Award

        6   (inaudible).   The order says what the order says.       It's been

        7   entered.   I mean, this is the concern, is that we have this

        8   never-ending debate.      I've heard -- the Debtor has heard what

        9   it needed to hear, and that is the U.S. Trustee's Office will

       10   abide by the terms of the protective order.

       11        With respect to the Committee's motion to seal, we're done

       12   with that.

       13              MS. LAMBERT:    There is no --

       14              MR. MORRIS:    An order has been entered.

       15              MS. LAMBERT:    There is no motion to seal.     The normal

       16   effect of -- the dismissal of a motion to seal on the basis

       17   that it is moot is that everything attendant to that becomes

       18   unredacted and unsealed.

       19        In addition, there's a separate issue that the Debtor gets

       20   to talk about what the amounts in the Redeemer awards were

       21   unilaterally, without -- and the Committee gets to talk about

       22   it unilaterally.    They've mentioned what the findings were in

       23   four different spots in their objection that are not redacted.

       24   And the U.S. Trustee is the only one that's held to the motion

       25   to seal, which we have honored, but the --




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        1             THE COURT:    I don't understand why we're having this

        2   discussion.   For now, I've made it a moot issue, a dead issue.

        3   The objection to which the arbitration award was attached as

        4   an exhibit became moot.    Maybe I'm not using the best legal

        5   description, but it was resolved.       And I didn't feel the need

        6   for us to have a dispute about whether that motion to seal,

        7   which related to the objection --

        8             MS. LAMBERT:    The motion to seal --

        9             THE COURT:    -- was meritorious or not.     If -- again,

       10   --

       11             MS. LAMBERT:    But the motion to --

       12             THE COURT:    -- to me, there's an easy fix.      If you're

       13   -- if you think it's necessary, I'll grant the --

       14             MR. MORRIS:    Your Honor?

       15             THE COURT:    This seems like wasted energy, --

       16             MS. LAMBERT:    But --

       17             THE COURT:    -- granting the Committee authority to

       18   withdraw their objection and their motion to seal --

       19             MS. LAMBERT:    But, Your Honor, --

       20             THE COURT:    -- so that it's off the record.

       21             MS. LAMBERT:    -- the interim sealing order didn't

       22   impact just their objection.       It impacted the U.S. Trustee's

       23   motion to dismiss.     It impacted the evidence.     The finding

       24   that these issues are moot because they're resolved means that

       25   the Court should unredact them because it's no longer




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        1   confidential.   It's no longer a problem.     If the evidence is

        2   --

        3             THE COURT:    Why are we having this discussion?       Why

        4   is this important in this Chapter 11 case?      The arbitration

        5   award may get in one day, and someone may ask me, and I may

        6   say yes, I may say no.    It depends on what the legal arguments

        7   are.

        8             MS. LAMBERT:    It's --

        9             THE COURT:    Why is this relevant right now?

       10             MS. LAMBERT:    It's important to the public's

       11   perception, and the U.S. Trustee is charged with making the

       12   information about a case available to the public.

       13             MR. MORRIS:    Your Honor, there is no motion --

       14             MS. LAMBERT:    This -- these -- these arbitration --

       15             MR. MORRIS:    There's no relief that's been sought.

       16             MS. LAMBERT:    The arbitration awards have been

       17   discussed in the press, Your Honor.      And the press --

       18             THE COURT:    Well, let me just say this.     Okay?    This

       19   was obviously -- there was an arbitration award.       It was never

       20   confirmed with a judgment by a court.      And I am presuming -- I

       21   don't need to decide today -- but I'm presuming that there is

       22   some legal argument that someone feels can be made about why

       23   that arbitration award is confidential.      You know, it

       24   obviously --

       25             MR. MORRIS:    The Committee made that argument in




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        1   their motion.

        2               THE COURT:    Obviously, if there had been a judgment,

        3   it all would have been out in the world.      And I will say I

        4   cannot remember ever being in a situation where someone wanted

        5   to keep an arbitration award confidential in a bankruptcy

        6   case.   Maybe it happens.     I'm just -- I've never seen it.      So

        7   if there is a day where someone wants me to find this

        8   arbitration award can be made public, I may very well do it.

        9   I don't know.    I'll hear the legal arguments.     But I am just

       10   asking, why are we arguing about this today?

       11               MS. LAMBERT:    We're arguing about it today because it

       12   remains a point of interest and a point of information sharing

       13   to government creditors and other creditors that are involved

       14   in the case, as well as the public.

       15               THE COURT:    They're not in here, the SEC or whoever

       16   you're --

       17               MS. LAMBERT:    Well, how would they know to be in

       18   here?

       19               THE COURT:    Because maybe they've seen the press that

       20   you're talking about.      All right.   I don't know --

       21               MR. MORRIS:    Your Honor, we -- the Debtor's heard

       22   what --

       23               THE COURT:    The protective order governs.   And my

       24   prior order with regard to the sealing motion I think made

       25   clear, but if it didn't, I'm going to say right now:          As far




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        1   as I'm concerned, the arbitration award, nothing gets unsealed

        2   on the Court's docket, and no one will file it or disclose it

        3   without bringing a motion, and we'll have a legal argument and

        4   evidence or whatever we need and I'll rule on the issue.

        5               MS. LAMBERT:   So, Your Honor, my understanding is

        6   that the Court is striking the objection to the CRO that the

        7   Committee filed and striking the U.S. Trustee's motion to

        8   dismiss, which was redacted, and striking the evidence, and

        9   those will not be on the docket available to the public at

       10   all.

       11               THE COURT:   That's not what I'm doing.    I don't -- I

       12   don't even know -- I don't understand why you're saying that.

       13               MS. LAMBERT:   Well, you can't just withdraw the

       14   objection.    The objection had the exhibits attached to it.

       15   The issue that the U.S. Trustee -- I'm sorry, but I'm always

       16   charged with this issue -- is trying to unseal documents and

       17   trying to determine the proper date for unsealing them.         They

       18   attached to the arbitration award, like a motion for summary

       19   judgment.    That's the practice in Delaware.     And so the issue

       20   is, at what point will that become unsealed?       It's a higher

       21   standard --

       22               THE COURT:   The answer is no, without an order from

       23   this Court.

       24               MS. LAMBERT:   It is a higher standard than for

       25   confidentiality.    And in addition, --




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        1               THE COURT:    All right.    If you want to file a motion

        2   and we set it for hearing and we have briefing, we'll do that.

        3   But, for now, there's -- there are two orders that I will tell

        4   you on the record what they mean is, right now, the

        5   arbitration award is not to be publicly disclosed.          Not by the

        6   Court on the docket system.         Not by any person.

        7          If someone wants to publicly disclose it, they can file a

        8   motion and we'll talk about whether it's protected or not.

        9               MR. MORRIS:    Thank you.

       10               THE COURT:    Whether there are grounds, legal grounds,

       11   to protect it.

       12               MR. MORRIS:    Thank you, Your Honor.

       13               THE COURT:    I've told you I'm skeptical.     I'm

       14   skeptical.    But, you know, we'll see.       Okay?

       15               MS. LAMBERT:    Okay.    Your Honor, the FJC publication

       16   is very clear that the Court should be trying, when issues are

       17   moot, to unseal items.      And this is why our advocacy is this

       18   way.    And I will move to unseal it.

       19               THE COURT:    All right.

       20               MR. DEMO:    For the record, Your Honor, again, Greg

       21   Demo; Pachulski Stang Ziehl & Jones; for the Debtor.

       22          Before we move on to the Foley retention, two quick

       23   housekeeping matters.

       24               THE COURT:    Uh-huh.

       25               MR. DEMO:    We would like to set the next omnibus




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        1   hearing date on April 22nd.     At that date, we would do the

        2   quarterly fee applications and whatever else comes up onto the

        3   docket.

        4             THE COURT:   All right.     Have you run that by Traci

        5   Ellison yet?

        6             MR. DEMO:    We have not.

        7             THE COURT:   Okay.

        8             MR. DEMO:    We've talked to the Committee about it,

        9   though.

       10             THE COURT:   So I will call her right now.

       11             MR. DEMO:    And then, I guess, Your Honor, before you

       12   do that, we are actually asking for a hearing date on March

       13   4th at 1:30 as well.    We're going to have an expedited motion

       14   that we'll be filing, I think, this week.       So if you're going

       15   to check with her, I guess it might make sense to check on

       16   both of those dates.

       17             THE COURT:   Okay.

       18        (Court confers with Clerk telephonically.)

       19             THE COURT:   Okay.   We can give you April 22nd, as you

       20   requested, at 9:30.

       21             MR. DEMO:    Okay.   Thank you.

       22             THE COURT:   Okay.   So that's going to be an omnibus.

       23        (Court confers with Clerk telephonically.)

       24             THE COURT:   All right.     We can give you March 4th at

       25   1:30.




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        1         How about a preview of what we're going to -- what are we

        2   going to be seeing?

        3               MR. DEMO:    And, Your Honor, I guess we had also

        4   reserved March 2nd, and we can release that date.

        5               THE COURT:   What?   I'm sorry.

        6               MR. DEMO:    We had previously reserved March 2nd at

        7   9:30 for the expedited motion, which I'll describe briefly in

        8   a second.    We don't need the March 2nd date.

        9               THE COURT:   So, okay.

       10               MR. DEMO:    Yeah.

       11               THE COURT:   All right.      So I'll tell Traci that one

       12   --

       13               MR. DEMO:    Yeah.   Okay.    Perfect.   Thank you.

       14               THE COURT:   -- is off.      Okay.   What is this going to

       15   be?

       16               MR. DEMO:    The expedited motion, we obviously run a

       17   series of investment funds.       From time to time, those funds,

       18   either through liquidation or just through normal proceeds

       19   generation, make distributions out to their investors.

       20         Under the protocols, distributions out to what are

       21   related, called related entities under the protocols, which

       22   include Mr. Dondero, entities owned by Mr. Dondero, and

       23   numerous other categories, those entities cannot receive their

       24   distributions from those investment vehicles if the Committee

       25   objects to those distributions unless we come to the Court and




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        1   we get Your Honor's approval.

        2        That issue has come up.    We are hoping to make those

        3   distributions to these related entities.      The Committee has

        4   said that they will object, but they've also agreed to the

        5   motion to expedite.

        6             THE COURT:   All right.

        7             MR. DEMO:    So that's the issue that's going to be in

        8   front of Your Honor on March 4th.

        9             THE COURT:   All right.    When are you going to file

       10   the motion?

       11             MR. DEMO:    We are hoping to file it, I think, by

       12   Friday.

       13             THE COURT:   Okay.   So that would be -- what are we at

       14   now, the 19th?

       15             MR. DEMO:    Yeah.

       16             THE COURT:   Okay.   So that'd be --

       17             MR. DEMO:    Yeah.   And obviously, --

       18             THE COURT:   -- a couple weeks.

       19             MR. DEMO:    -- yeah, we'll endeavor to get it filed as

       20   soon as possible.

       21             THE COURT:   Okay.

       22             MR. DEMO:    And then I guess the last item, Your

       23   Honor, is the Foley Gardere retention application.

       24             THE COURT:   Okay.

       25             MR. DEMO:    And, you know, this should be a relatively




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        1   simple retention application.       You know, we'll get into it a

        2   little bit more.    There are two objections that were

        3   originally filed, one by the Committee and one by Acis.

        4   Yesterday morning, the Committee withdrew their objection, so

        5   the only objection to the Foley Gardere retention application

        6   is by Acis.

        7        In the courtroom with me are Holland O'Neil with Foley

        8   Gardere -- she's the partner in charge of that representation

        9   -- and then also The Honorable Russell Nelms, who's a member

       10   of the Independent Board of Directors of Strand Advisors, the

       11   party that manages the Debtor.      And I should be remiss if I

       12   didn't mention that the two other independent directors, James

       13   Seery and John Dubel, are also in the courtroom, --

       14              THE COURT:   Okay.

       15              MR. DEMO:    -- as is the Debtor's chief restructuring

       16   officer.

       17        And as I said, Your Honor, really, the only thing, the

       18   only substantive thing we're here this morning on is this

       19   retention application.     The retention application is under

       20   Section 327 of the Bankruptcy Code, and it's to represent the

       21   Debtor in three matters related to the Acis bankruptcy and the

       22   resulting litigation.

       23        Judge Nelms is going to be testifying in support of the

       24   Foley retention this afternoon.

       25              THE COURT:   Okay.




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        1             MR. DEMO:   We filed the retention application on

        2   October 29th, along with the retention application of Lynn

        3   Pinker.   As I mentioned earlier, the Lynn Pinker retention

        4   application was withdrawn.    Two objections were filed to the

        5   Foley retention:   One by the Committee, one by Acis.

        6       The Committee -- or, sorry, the Debtor addressed those two

        7   objections in an omnibus reply that we filed on November 21st.

        8   The primary response to those objections was providing

        9   additional disclosure to this Court concerning the parties

       10   being represented by Foley, the proceedings in which Foley was

       11   going to represent those parties, and the allocation of fees,

       12   of Foley's fees, across those parties.

       13       The reply disclosed, and Judge Nelms will also testify,

       14   that the Debtor had originally intended to engage Foley on

       15   four matters, not three.    The first matters is general matters

       16   just relating to the Acis bankruptcy, status conferences,

       17   proof of claim issues.    The second matter is the appeal to the

       18   Fifth Circuit of the confirmation order.      The third matter was

       19   the appeal, again to the Fifth Circuit, of the entry of the

       20   involuntary petition.    And then the fourth matter was the

       21   appeal of Winstead's retention as counsel to both Mr. Terry,

       22   who is a pre-petition creditor of Acis, and Robert [sic]

       23   Phelan as the Chapter 11 trustee.

       24       The two appeals, the appeal of the confirmation order and

       25   the appeal of the involuntary petition, have been fully




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        1   briefed to the Fifth Circuit, and some of that briefing was

        2   done, by necessity, post-petition, because of the drag in time

        3   between when we filed the retention and now.       And the Fifth

        4   Circuit has actually set both of those appeals for oral

        5   argument.   They've been consolidated for purposes of oral

        6   argument, and both of the appeals are set for March 30th, so

        7   about six weeks away.

        8        Now, it's an understatement to say a lot has happened in

        9   this case since we filed the reply on November 21st.          One of

       10   the most major things in this case, as the Court knows, is the

       11   appointment of the Board of Directors.      The Board of Directors

       12   was appointed on January 9th and it oversees the management of

       13   the Debtor.   Judge Nelms is in this courtroom and will be

       14   testifying as to what the Board did to familiarize itself with

       15   the Acis litigation and with Foley's retention.       And you'll

       16   hear from Judge Nelms that the Board had extensive

       17   conversation with the Debtor's employees, including the

       18   Debtor's internal legal team, Ms. O'Neil with Foley Gardere,

       19   attorneys from Pachulski regarding the status of the Acis

       20   litigation and the bankruptcy and Foley's retention.

       21        You'll also hear that Judge Nelms reached out directly to

       22   Josh Terry, the major party in the Acis litigation, and that

       23   Judge Nelms met with both Josh Terry and Ms. Patel to discuss

       24   the status of the Acis litigation.

       25        And then finally you'll hear, as part of that diligence,




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        1   that the Board analyzed the economic benefit of proceeding

        2   with Foley's retention in all three of those matters that I

        3   mentioned and also conducted their own diligence on the claims

        4   that are being raised in those matters.

        5       As a result of that diligence, and I'll discuss the

        6   explicit reasons later, the Board determined that it is in the

        7   best interest of the Debtor and its estate to proceed with

        8   Foley's retention with respect to the three matters I

        9   mentioned earlier:    the Acis general bankruptcy, the appeal of

       10   the confirmation order, and the appeal of the involuntary

       11   petition.

       12       The Debtor has also asked for Foley's assistance on

       13   certain ancillary matters, like including about disclosures of

       14   the Acis litigation, including what needs to go on the

       15   schedules and things like that.

       16       As a result of this diligence, however, the Board decided

       17   to drop the Winstead appeal.     So Acis -- I'm sorry, Foley is

       18   not going to be retained to challenge Winstead's retention in

       19   that proceeding.   And assuming that Foley is retained, Foley

       20   will prepare the papers to withdraw that objection as soon as

       21   possible.

       22       As a quick aside, though, you know, Foley was directed by

       23   the Debtor to continue with the Winstead matter post-petition.

       24   Incurred about $25,000 of fees.     And we believe that Foley was

       25   working in good faith on that.      So although we're not going to




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        1   proceed with the Winstead matter, we would still ask that

        2   Foley be entitled to file a fee application for those fees.

        3   The Committee has agreed with this, and we have a form of

        4   proposed order with the Committee that contemplates Foley's

        5   payment or Foley's receiving payment for the Winstead fees of

        6   $25,000.

        7              THE COURT:   Wait.   You're talking about, if I approve

        8   their retention, rolling that into the retention order?

        9              MR. DEMO:    We are, Your Honor.

       10              THE COURT:   Okay.

       11              MR. DEMO:    No?

       12              THE COURT:   That's a no-go, I'll tell you right now.

       13              MR. DEMO:    Okay.

       14              THE COURT:   I mean, --

       15              MR. DEMO:    And we can, we can deal with that.

       16              THE COURT:   Yeah.

       17              MR. DEMO:    But I --

       18              THE COURT:   I'm not going to say yes or no to any

       19   fees I haven't seen.

       20              MR. DEMO:    Okay.   And -- well, I'm sorry.   What's

       21   going to be rolled into the order is their ability to file for

       22   those fees.   Everybody would still have the right to object to

       23   those fees.   You would have the right to say yes or no on

       24   those fees.   The only thing that we would be asking for is

       25   that they would be able to apply for those fees and that the




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        1   fact that they weren't retained on that matter specifically

        2   would not be a basis for an objection to those fees.          So it's

        3   a little bit different.

        4              THE COURT:   Okay.

        5              MR. DEMO:    We're not trying to cut off anybody's

        6   right to object to those fees.

        7              THE COURT:   Okay.   But I don't want to put some

        8   imprimatur on their ability to ask for them.

        9              MR. DEMO:    Okay.

       10              THE COURT:   Okay?   So, you know, it's just another

       11   day.

       12              MR. DEMO:    Yeah.

       13              THE COURT:   If they ask for that in a fee app -- if I

       14   approve their retention and they ask for it in a fee app,

       15   we'll --

       16              MR. DEMO:    Okay.   Understood, Your Honor.

       17              THE COURT:   -- decide whether it's meritorious or

       18   not.

       19              MR. DEMO:    Okay.

       20              THE COURT:   Okay.

       21              MR. DEMO:    And then I guess, just moving on, you

       22   know, as you'll hear from Judge Nelms, all of the elements of

       23   227(e), you know, have been met.      You know, first, Foley is

       24   being retained for a special purpose.      Nobody has objected on

       25   that basis.




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        1        Second, Foley is not being retained to conduct the

        2   Debtor's bankruptcy case.     That's my firm, Pachulski Stang.

        3   Again, nobody has objected on that basis.

        4        Third, Foley represented the Debtor prior to the petition

        5   date on these matters.    Again, nobody has objected on that

        6   basis.

        7        And, fourth, you know, as Judge Nelms will testify, the

        8   retention of Foley and Foley's continued prosecution of the

        9   Acis matters is in the best interest of the Debtor's estate.

       10        And then fifth and finally, Foley has no adverse interest

       11   with respect to the matters on which it is being retained.

       12        Now, as I mentioned, there were two omnibus objections

       13   that were filed.    There was the Committee's objection and then

       14   there was Acis's objection.     Both of these objections really

       15   had one common theme, which was that there was insufficient

       16   disclosure as to how the fees were going to be allocated, and,

       17   honestly, whether or not Mr. James Dondero would benefit from

       18   Foley's retention without paying his share of those fees.

       19        Now, we had a meeting with the Committee on Friday and we

       20   walked through this issue.     And as a result of that, the

       21   Committee withdrew its objection.

       22        What we told to the Committee is that, prior to the Acis

       23   bankruptcy -- and this goes primarily to the retention -- or,

       24   the prosecution of the involuntary petition appeal.       In that

       25   appeal, Foley is representing just Neutra.      Foley is not




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        1   representing the Debtor.    Now, the economic benefit to the

        2   estate, though, in that appeal accrues almost solely to the

        3   Debtor.   It does not accrue to Neutra or to Neutra's economic

        4   interest owners, which, full disclosure, are Mr. James Dondero

        5   and Mr. Mark Okada.

        6       The reason why the Debtor -- and you'll hear, again, hear

        7   this from Judge Nelms -- believes that it's in the economic

        8   best interest of its estate to pay for Neutra's fees in that

        9   appeal is that, if Neutra is successful in that appeal, the

       10   involuntary petition obviously will be struck, the involuntary

       11   will be unwound, and the economic interest and the economic

       12   ownership of Acis will revert to Neutra.

       13       Upon that reversion, Highland Capital Management will be

       14   reinstated as the advisor to Neutra.

       15       Now, if Neutra -- I'm sorry, if Acis then generates fees,

       16   those fees are going to be paid about 85 percent to satisfy

       17   the contractual obligations under that advisory agreement.

       18       So, on a go-forward basis, again, if Neutra is successful,

       19   85 percent of the revenue generated by Acis will go to Neutra.

       20   That remaining 15 percent will be used to satisfy the claim

       21   that Acis -- I'm sorry, that Highland Capital Management has

       22   against Acis for the pre-, post-petition, and gap period

       23   services that it provided to Acis under the advisory

       24   agreements.   That claim is about $8 million.

       25       So, 85 percent of the revenue on a go-forward basis is




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        1   going to be used to satisfy the obligations under the

        2   management agreement.    The balance of that is going to be used

        3   to satisfy that $8 million claim.

        4        That means that, you know, if our math is right -- and

        5   obviously, the numbers are not static -- that there's not

        6   going to be any contributions or any distributions to the

        7   upstream equity, to Mr. Dondero or Mr. Okada, for about four

        8   years.   After that four years, 85 percent of the revenue is

        9   still going to go to Highland Capital Management, the Debtor,

       10   under those advisory agreements.

       11        So for that reason, we do believe, and Judge Nelms will

       12   testify, that the true economic beneficiary of the Neutra

       13   appeal of the involuntary petition is actually Highland

       14   Capital Management.

       15             THE COURT:    I don't want to jump ahead too much, but

       16   are we going to talk today about mootness as a potential issue

       17   with both of these appeals?      I mean, you know, I have to say

       18   it's very compelling to me that you tell me all the briefing

       19   has been done --

       20             MR. DEMO:    Uh-huh.

       21             THE COURT:    -- and oral argument is set in March, so

       22   -- but is mootness a --

       23             MR. DEMO:    We don't --

       24             THE COURT:    Was there ever a motion to dismiss for

       25   mootness or --




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        1             MR. DEMO:    Not that I'm aware of, Your Honor.

        2             THE COURT:    Okay.

        3             MR. DEMO:    And all the briefing has been done.

        4             THE COURT:    Okay.

        5             MR. DEMO:    Again, oral argument is set.     And as far

        6   as I know, nobody has raised that issue.

        7             THE COURT:    Okay.

        8             MR. DEMO:    So I think that we're still proceeding as

        9   to whether --

       10             THE COURT:    And, again, I'm leaping ahead, but I'm

       11   just -- you know, you went through the scenario --

       12             MR. DEMO:    Uh-huh.

       13             THE COURT:    -- to show that, you know, Dondero and --

       14   if the involuntary was reversed, you know, no money would ever

       15   get there.   But you're painting a picture, to me, that, again,

       16   it feels a little farfetched.       But the evidence will either,

       17   you know, bear it out or not.

       18             MR. DEMO:    Again, the evidence, you know, I think,

       19   will bear it out.

       20        And I think what's important also is, when you're thinking

       21   about this, is to think of the actual universe of post-

       22   petition fees that Foley is going to incur for those services,

       23   for the briefing of the two appeals and then for the

       24   bankruptcy services, versus the actual economic gain that the

       25   Debtor could and hopefully will get if those appeals are




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        1   successful.

        2              THE COURT:   Okay.

        3              MR. DEMO:    So, Foley --

        4              THE COURT:   And hopefully the evidence will really go

        5   to this.

        6              MR. DEMO:    Yes.

        7              THE COURT:   I'm trying to think of -- I'm trying to

        8   decide what life looks like --

        9              MR. DEMO:    Right.

       10              THE COURT:   -- if there is a successful reversal.

       11              MR. DEMO:    Right.

       12              THE COURT:   And I'm not at all clear.      So the

       13   evidence and argument will hopefully make me clear.

       14              MR. DEMO:    Yes.   And, honestly, Your Honor knows the

       15   facts and circumstances --

       16              THE COURT:   Right.

       17              MR. DEMO:    -- better than me and probably better than

       18   anyone.

       19              THE COURT:   Uh-huh.

       20              MR. DEMO:    But I think what's --

       21              THE COURT:   I mean, we've had -- we had terminated

       22   contracts --

       23              MR. DEMO:    Right.

       24              THE COURT:   -- with Highland.      We have a Reorganized

       25   Debtor now, which, you know, --




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        1             MR. DEMO:    Right.

        2             THE COURT:    -- has new contractual arrangements.

        3             MR. DEMO:    Right.

        4             THE COURT:    I just, I'm not sure how that all goes

        5   away if there's a reversal.       So I'm --

        6             MR. DEMO:    Right.

        7             THE COURT:    I'm really wanting to drill down on the

        8   benefit --

        9             MR. DEMO:    Okay.    And --

       10             THE COURT:    -- to Highland.

       11             MR. DEMO:    And we can do that.    But I think --

       12             THE COURT:    Okay.

       13             MR. DEMO:    -- it's helpful to talk about --

       14             THE COURT:    Uh-huh.

       15             MR. DEMO:    -- the universe of fees first and then

       16   talk about the related benefit for that.

       17        Foley Gardere has helpfully filed two post-petition fee

       18   applications.   Those fee applications disclose that, on all

       19   three of these matters, Foley has billed about $330,000.         We

       20   believe that Foley was probably going to bill, up through the

       21   end of oral argument, about $500,000.

       22        And then, you know, again -- and not getting too deep into

       23   it, because I do think this is something that's better for

       24   testimony because I think it goes to, you know, what the Board

       25   believes is the economic benefit to the estate -- but if the




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        1   Neutra appeal is successful, if the confirmation order appeal

        2   is successful, then the post-petition fees that are going to

        3   accrue or we believe are going to accrue to Highland Capital

        4   Management under those contracts are tens of millions of

        5   dollars a year.

        6        The post-petition and gap period and pre-petition fees

        7   that we believe that Acis owes to Highland are $8 million a

        8   year.   And then there's the go-forward fees.

        9        So we believe that, for spending $500,000, the benefits to

       10   the estate are actually going to be in the tens of millions of

       11   dollars.   So, you know, even though, you know, reasonable

       12   minds can differ as to the merits -- and, again, we'll put on

       13   some testimony about that, although there's obviously

       14   privilege issues and things like that -- the actual economic

       15   benefit to the estate is $500,000 versus the possible benefit

       16   of $50 million, possibly more dollars, plus the removal of a

       17   substantial portion of Acis's proof of claim, which is -- I

       18   think it says not less than $75 million.      So you're looking

       19   at, if we're successful, fees into the estate --

       20              THE COURT:   Well, that's a different issue, though.

       21   Isn't that --

       22              MR. DEMO:    It is, but it --

       23              THE COURT:   Isn't that the Acis adversary proceeding

       24   component?

       25              MR. DEMO:    Yes.




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        1             THE COURT:    So, --

        2             MR. DEMO:    But if the -- if the -- and, again, I

        3   don't want to get too far into this --

        4             THE COURT:    Uh-huh.

        5             MR. DEMO:    -- because I don't want to get into, you

        6   know, legal arguments that are going to be on appeal.

        7             THE COURT:    Uh-huh.

        8             MR. DEMO:    But what we believe is that, and what

        9   Judge Nelms will testify to and what you'll hear, is that if

       10   the confirmation order and the involuntary petition are

       11   erased, especially the involuntary petition, and we go back to

       12   status quo ante, the benefit to the estate is going to be in

       13   the tens of millions of dollars, at a minimum, plus the

       14   possible diminution, to a large extent, of a proof of claim

       15   that is not less than $75 million, and we've heard numbers of

       16   up to $300 million.

       17        So you're looking to spend $500,000 on these two matters

       18   for a benefit to the estate that's going to be astronomically

       19   more than that.    So the benefit to the estate versus the money

       20   that is going out of the estate, especially since everything

       21   has been briefed and set for oral argument, I guess,

       22   personally, I find it difficult to not see that benefit and

       23   not to see that spending that half a million dollars to

       24   possibly get back $50-plus million, I just don't see how

       25   that's not a benefit to the estate and how that does not




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        1   warrant the retention of Foley Gardere in the limited matters

        2   that we're honestly asking them to be retained for.

        3             THE COURT:    All right.

        4             MR. DEMO:    Okay.

        5             THE COURT:    I'll hear other opening statements on

        6   this.

        7             MR. LAMBERSON:    Good morning, Your Honor.      Phillip

        8   Lamberson on behalf of Acis Capital Management.

        9        First of all, let me start off with outlining exactly what

       10   our limited objection relates to.       We are not objecting to the

       11   Debtor retaining Foley Gardere to handle the litigation

       12   matters for the Debtor.    So, for example, the Acis litigation,

       13   anything related to the Acis bankruptcy, that's fine.         We

       14   don't have any objection to that.

       15             THE COURT:    So the mega-adversary proceeding against

       16   Highland and affiliates that is stayed, --

       17             MR. LAMBERSON:    Uh-huh.

       18             THE COURT:    -- I have a giant Report and

       19   Recommendation on my desk that was ready to go about the time

       20   the Highland bankruptcy was filed -- but it's stayed:         You

       21   would have no objection to Gardere defending Highland --

       22             MR. LAMBERSON:    Correct.

       23             THE COURT:    -- in that if ever a motion to lift stay

       24   is filed and that goes forward?

       25             MR. LAMBERSON:    Correct.




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        1              THE COURT:   Okay.

        2              MR. LAMBERSON:   And, for example, I believe counsel

        3   mentioned this:    To the extent that there's a status

        4   conference in the Acis case or something like that, we don't

        5   have any issue with Foley representing the Debtor as it

        6   relates to that.

        7       We don't have any objection to the representation of the

        8   Debtor as it relates to the Debtor's appeal of the

        9   confirmation order.     We don't have any objection to Neutra's

       10   retention of Foley at all.      In fact, we don't have any basis

       11   to object to Neutra's retention of Foley Gardere.       Neutra is

       12   not a debtor.

       13       We fully expect and anticipate that we'll be opposite

       14   Foley Gardere in the appeal which is going to be argued at the

       15   end of next month, as well as any matters in front of this

       16   Court.

       17       What we do object to is the Debtor agreeing -- frankly,

       18   pre-agreeing -- to pay Foley Gardere for litigation costs

       19   incurred by non-debtors, and, specifically, Neutra.       And as

       20   counsel outlined, and the reply filed by the Debtors is very

       21   clear on this point, Neutra is not a subsidiary of the Debtor.

       22   Neutra is ultimately owned one hundred percent by Mr. Dondero

       23   and Mr. Okada.

       24       So why, why are we objecting?      There's a couple of

       25   reasons.   Number one, this is obviously an extremely unusual




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        1   request.   It's not really a --

        2              THE COURT:   Okay.   Let me just make sure I heard you

        3   correct.   The only thing that Acis is objecting to is the

        4   Debtor paying fees for Gardere -- Foley Gardere's

        5   representation of Neutra?

        6              MR. LAMBERSON:   Correct.

        7              THE COURT:   Okay.   So, --

        8              MR. LAMBERSON:   Right.   And let me --

        9              THE COURT:   -- you don't have a problem with Foley

       10   representing the Debtor in these appeal -- well, the Debtor

       11   isn't an appellant in the involuntary appeal, right?          Or no?

       12              MR. LAMBERSON:   It is -- no.    So, the Debtor is an

       13   appellant in the --

       14              THE COURT:   The confirmation order.

       15              MR. LAMBERSON:   -- confirmation order appeal.

       16              THE COURT:   Uh-huh.

       17              MR. LAMBERSON:   It's one of two appellants.

       18              THE COURT:   Uh-huh.

       19              MR. LAMBERSON:   The other one is Neutra.

       20              THE COURT:   Uh-huh.

       21              MR. LAMBERSON:   Neutra is the only appellant in the

       22   confirmation order -- I'm sorry, in the order for relief

       23   appeal.

       24              THE COURT:   Okay.   So you don't have any problem with

       25   Foley's retention; it's just you don't want the Debtor to pay




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        1   Neutra's legal fees?

        2              MR. LAMBERSON:   Correct.

        3              THE COURT:   And there needs to be some allocation in

        4   the confirmation appeal between Neutra and the Debtor, and it

        5   needs to all be paid by Neutra, --

        6              MR. LAMBERSON:   Correct.

        7              THE COURT:   -- not the Debtor?    Okay.

        8              MR. LAMBERSON:   Yeah.    That's exactly correct, Your

        9   Honor.

       10              THE COURT:   Okay.   Just --

       11              MR. LAMBERSON:   So I wanted to be clear on that, --

       12              THE COURT:   Okay.

       13              MR. LAMBERSON:   -- that we're not -- we understand

       14   that they're --

       15              THE COURT:   Okay.

       16              MR. LAMBERSON:   -- going to be our opponents going

       17   forward, and we're fine with that.

       18              THE COURT:   Uh-huh.

       19              MR. LAMBERSON:   I actually like Mrs. O'Neil.

       20        So, why are we objecting?      So, there's a couple of

       21   reasons.   One is procedural and one is really more

       22   substantive.   So, this is obviously a strange request under

       23   Section 327.   327 is to approve counsel for the Debtor, for

       24   the estate.    And this request doesn't really fit.

       25        So, for example, you engage Foley Gardere.       You agree that




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        1   the Debtor is going to pay fees under 330.        Okay.    Well, how

        2   do we apply 330 in this situation, right?      What constitutes

        3   reasonable and necessary as it relates to the Debtor when the

        4   work wasn't done for the Debtor?     What constitutes a

        5   determination of whether it was beneficial to the Debtor when,

        6   again, the work wasn't done for the Debtor?

        7        There's other issues, obviously.     Who controls Neutra?

        8   It's not controlled by the Debtor.      The Debtor doesn't own any

        9   of Neutra.   Who is making litigation decisions for Neutra?

       10   All we know is that the Debtor is paying the freight for

       11   whatever Neutra decides to do going forward.

       12        The other issue, Your Honor, and this is probably the

       13   broader issue, is this decision evidences a continuation of a

       14   failed litigation strategy that precipitated this bankruptcy

       15   in the first place.    Right?   So, we all heard that the reason

       16   Highland Capital Management had to file bankruptcy is because

       17   they couldn't pay the Crusader judgment.      Right?      They had a

       18   $190 million judgment, or about to be judgment against them,

       19   and they couldn't pay it.

       20        So let's look at the Committee.     Right?    We have a

       21   Committee with four members on it.      Three of them are

       22   litigants.   Three of them are in active litigation against the

       23   Debtor.

       24        If you look at the Top 20 List in this case, of the Top

       25   10, only one of them is not a litigation creditor, and that's




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        1   -- I'm trying to -- is an insider creditor.       The rest of the

        2   Top 10 are either litigation adversaries or they're law firms

        3   that were paid to fight the litigation adversaries.

        4        So why is the Debtor continuing its strategy of fighting

        5   every last issue, and using various instrumentalities to do

        6   it, and then paying the freight for all of it?       That's exactly

        7   how we got to where we are today in this case.

        8        So, let me address also the benefit from the Neutra

        9   appeal.   And, Your Honor, I think that's definitely an area

       10   that we need to probe.     Because, like you, I don't get it.        I

       11   think what they're outlining is sort of a fantasyland where

       12   money is going to rain from the sky when they win this appeal,

       13   or if they win this appeal.     And obviously, their reply goes

       14   on for pages about the benefit to the Debtor.

       15        So, just using basic odds of winning -- and I'm not going

       16   to go to the substance of this appeal, which I think is

       17   probably worse than the basic odds -- there's a 90 percent

       18   chance that the Fifth Circuit just affirms the -- Judge

       19   Fitzwater's ruling.    Right?   I mean, there's a 90 percent

       20   chance that what the Debtor gets out of this is an affirmance

       21   that says, "You lose."     Right?

       22        But even if it's reversed, --

       23             THE COURT:    What are you basing that on?     Because

       24   Fitzwater affirmed 90 percent of the time?

       25             MR. LAMBERSON:    Well, so, actually, Judge -- and Ms.




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        1   Chiarello can probably address this more specifically -- Judge

        2   Fitzwater actually gets affirmed, I think, more than 90

        3   percent of the time, --

        4             THE COURT:    Probably, yes.

        5             MR. LAMBERSON:    -- but the general reversal rate at

        6   the Fifth Circuit is about ten percent.      So, and that

        7   obviously includes things like 1983 appeals and things like

        8   that.

        9        But even if it is reversed, which I think we'd all agree

       10   is fairly unlikely, again, money isn't just going to start

       11   raining down on Highland Capital.      So what's most likely going

       12   to happen if the Fifth Circuit decides to reverse -- and let

       13   me, let me point out one issue, Your Honor.       The only issue on

       14   appeal, I should say the only -- there are various issues on

       15   appeal, and I'll just click through them.      So, one of them is

       16   whether Neutra has standing to appeal.      Right?   Whether they

       17   qualify under the person aggrieved standard that the Fifth

       18   Circuit uses.   That's obviously a gating issue.      And, by the

       19   way, that's the basis of Judge Fitzwater's ruling affirming

       20   this Court's ruling, which was basically Neutra doesn't have

       21   standing to appeal the order for relief.      They're not the

       22   Debtor.

       23        So the first issue is whether Neutra is a person

       24   aggrieved.   Okay?

       25        The second issue, and this is the substantive bankruptcy




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        1   issue, the only substantive bankruptcy issue, is whether the

        2   order for relief should have been arbitrated.       Right?    So

        3   that's the next issue.    That would be, frankly, the issue that

        4   the Fifth Circuit would have to reverse on, is that well, yes,

        5   this should have been arbitrated.      Right?   The order for

        6   relief should have been arbitrated.

        7        And then the final issue that we raised on appeal is

        8   whether, even if Neutra has standing and even if there was

        9   some right to arbitration, whether Neutra, via the putative

       10   debtor, waived its right to arbitration by waiting until

       11   literally, and you'll remember this, literally the day before

       12   the order for relief file started, to raise its request for

       13   arbitration.   Right?

       14        So, assuming that they get some reversal, what's really

       15   likely to happen is that the Court, the Fifth Circuit is going

       16   to send it back to you on a remand and say, This is the

       17   standard you should have applied, you need to make this

       18   finding, or something like that, right?      It's very unlikely

       19   the Fifth Circuit is going to say, We're going to reverse and

       20   we're just going to render, right, and this thing just goes

       21   away forever, particularly considering that the only live

       22   substantive issue is whether the order for relief should have

       23   been arbitrated, right?

       24        But even if Neutra wins and its relief is wholly granted,

       25   well, what does that mean?     That doesn't mean that the




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        1   involuntary goes away.    It doesn't mean the order for relief

        2   permanently goes away.    It means that we go arbitrate it.

        3   Right?    That's what they asked for, is that we go arbitrate

        4   it.   So now we go arbitrate it.    Right?

        5         So, basically, if you break it down, if, in the unlikely

        6   event Neutra wins on appeal, it doesn't mean the bankruptcy

        7   permanently goes away.    What it means is we have more

        8   litigation.    Right?   And that's what normally happens when

        9   there's a reversal on appeal, right?      You relitigate the

       10   issues that were litigated in the first place.

       11         So this concept -- you're exactly right, Your Honor.       This

       12   sounds like fantasyland.     This concept that money is just

       13   going to fall out of the sky and onto Highland because Neutra

       14   got a reversal is just not going to happen.

       15         There's some other problems here, obviously.      Counsel just

       16   spent a lot of time talking about how all of Acis's funds are

       17   going to get paid to Highland.      Well, that completely misses

       18   the point that Josh Terry has an eight, probably somewhere in

       19   the neighborhood of maybe $12 million judgment now against

       20   Acis.    They're just going to ignore that?    They're just going

       21   to ignore the fact that their largest creditor has a judgment

       22   against them and is just hanging out there?       That's going to

       23   have some impact on what happens to all that cash flow.

       24         And then, finally -- and we'll talk about this in more

       25   substance when we get to the testimony -- as you recall, this




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        1   was the entire basis of the Acis case:      Mr. Dondero and

        2   Highland Capital were aggressively trying to liquidate Acis

        3   when we showed up in your Court asking for relief.       So what

        4   makes anybody think that that isn't going to continue

        5   happening if there's not a bankruptcy anymore?       Right?

        6        And Your Honor will recall that you had to twice enjoin

        7   Dondero affiliates, HCLOF, from liquidating the PMAs and

        8   Acis's assets during the bankruptcy.      Right?   So the concept

        9   that if they win on appeal and there is no bankruptcy,

       10   everything just goes away and we're not in this Court at all,

       11   that Acis is going to have all of these valuable PMAs and cash

       12   flow and it's all going to go to the benefit of Highland, is

       13   completely contrary to what happened during the Acis case and

       14   what precipitated the Acis case.

       15        One other issue that we raised in the objection and in the

       16   Debtor's omnibus reply is what we call the DAF litigation,

       17   which is litigation filed in the Southern District       of New

       18   York.   And Your Honor, I think you probably remember that from

       19   the pleadings.   I do want to point out that -- so this, this

       20   is a serious issue for Acis.     And the reason is because,

       21   contrary to what was stated in the reply -- admittedly, this

       22   happened after the reply -- but contrary to what happened --

       23   was stated in the reply, that litigation has now been expanded

       24   to include Acis and Mr. Terry and Brigade, and with basically

       25   the same allegations of CLO mismanagement that were raised in




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       1   this Court during the confirmation hearing.

       2        So this is a very significant matter to us.       We are very

       3   concerned that this Debtor is involved in that and is

       4   promoting it in some way.     And we want Your Honor to be aware

       5   of that litigation and the actions that are taken challenging

       6   your rulings in a court that's miles and miles away from here.

       7        Thank you, Your Honor.

       8              THE COURT:    All right.   Mr. Morris, are you ready to

       9   call your witness?

      10              MR. MORRIS:    Yes, I am, Your Honor.    The Debtor calls

      11   Russell Nelms.

      12              THE COURT:    All right.

      13              MR. MORRIS:    Your Honor, I have some exhibit binders.

      14   May I hand up?

      15              THE COURT:    You may.    All right.   Well, odd as it is,

      16   I suppose I in this context need to swear you in.

      17                 RUSSELL NELMS, DEBTOR'S WITNESS, SWORN

      18              THE COURT:    All right.   Please be seated.

      19              MR. MORRIS:    John Morris for Pachulski Stang Ziehl &

      20   Jones on behalf of the Debtor, Your Honor.

      21        Before we get to the testimony, the Debtor has put on its

      22   exhibit list nine specific documents that are in the binder

      23   before you, and the Debtor moves for the introduction of those

      24   documents into evidence.

      25              THE COURT:    All right.   Any objection?




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        1                MR. LAMBERSON:    No objections, Your Honor.

        2                THE COURT:    Exhibits 1 through 9 are admitted.

        3        (Debtor's Exhibits 1 through 9 are received into

        4   evidence.)

        5                MR. MORRIS:    Thank you, Your Honor.

        6                              DIRECT EXAMINATION

        7   BY MR. MORRIS:

        8   Q    Mr. Nelms, do you currently have a relationship to the

        9   Debtor?

       10   A    I do.

       11   Q    And what is that relationship?

       12   A    I am one of three independent directors of the Debtor.

       13   Q    And when were you appointed?

       14   A    January the 9th of this year.

       15   Q    Did you just listen to the opening statement on behalf of

       16   Acis?

       17   A    I did.

       18   Q    And did you hear the reference to the DAF litigation?

       19   A    I did.

       20   Q    And did you hear the allegation that the Debtor somehow

       21   was involved in the prosecution of the DAF litigation?

       22   A    I heard that, yes.

       23   Q    Okay.    Did there come a time last week that the Board

       24   learned of the possibility of a filing with respect to the DAF

       25   litigation?




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        1   A    We learned about the filing of the DAF litigation sometime

        2   within the last two weeks.

        3   Q    And what did the Board do in response to learning that

        4   information?

        5   A    Well, first of all, I -- we met with Ms. Patel and her

        6   client, Josh Terry.    They expressed their concerns about the

        7   DAF litigation.    And so the Board used its influence to

        8   encourage the trustee of the DAF, Grant Scott, to dismiss that

        9   litigation, and we have gotten Mr. Scott's commitment to

       10   dismiss the litigation.

       11        There's a little bit of an issue there concerning about

       12   whether some of the claims can -- they may need to be

       13   dismissed without -- the preference is, of course, to dismiss

       14   them without prejudice, but there are some issues about that.

       15   But I'm told by Mr. Scott that he's going to dismiss the

       16   litigation.

       17   Q    Let's go back in time before this was filed.      Did the

       18   Board express its view as to whether there should be a filing

       19   at all?

       20   A    It was really a very brief thing.     This was probably a

       21   couple weeks or so ago, kind of late in the day at the end of

       22   a long, long day, one of those long days we've been having.

       23   Someone brought into a board meeting I guess a copy of this

       24   new DAF complaint.    It had not been filed at that time.       They

       25   showed it to Mr. Dubel.    He looked at it and just kind of




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        1   asked what it was.       There was a brief explanation of what it

        2   was.    And Mr. Dubel said, Tell them not to file this.        He

        3   goes, This is only going to cause us problems.       And that's the

        4   last we heard of it before it was filed.

        5   Q      And what law firm filed that complaint?

        6   A      That was filed by the Lynn Pinker firm.

        7   Q      And after the Board learned that Lynn Pinker filed this,

        8   in spite of the Board's instructions, did the Board take any

        9   steps with respect to Lynn Pinker?

       10   A      Well, of course, we -- one of the matters that previously

       11   was before the Court was the Lynn Pinker application to be

       12   retained in this case.      And I'll just say that it was -- it

       13   was a factor that went into our deliberations concerning our

       14   decision not to go forward with the Lynn Pinker litigation.

       15   Q      So, I just want to make sure I have this right.        So the

       16   Board, upon learning of a possible filing, gave instructions

       17   not to do so; is that right?

       18   A      It did.

       19   Q      And upon learning that it was filed, it became one of the

       20   factors that the Board relied upon in determining not to

       21   pursue the Lynn Pinker retention; is that right?

       22   A      That's correct.

       23   Q      And you personally reached out to Mr. Terry and Ms. Patel

       24   to discuss the issue; is that right?

       25   A      Mr. Seery and I did, the two of us.




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        1   Q    And you used whatever influence you had to try to reach an

        2   agreement for the withdrawal of that complaint without

        3   prejudice; is that right?

        4   A    That's correct.

        5   Q    Okay.   Now, let's get back to the issues that are relevant

        6   to the actual motion.    Are you aware that the Debtor has

        7   sought the Court's approval to retain Foley Gardere as special

        8   counsel?

        9   A    I am.

       10   Q    And have you reviewed the court filings with respect to

       11   that motion?

       12   A    Yes, I have.

       13   Q    Okay.   Can you describe for the Court generally the

       14   matters for which the Debtor seeks to retain Foley Gardere?

       15   A    There are three matters, essentially.      One is an appeal in

       16   the Fifth Circuit which concerns the entry of the order for

       17   relief in the involuntary petition itself.      The second is an

       18   appeal in the Fifth Circuit that concerns the confirmation of

       19   the Acis plan.   And the third matter is the assertion of,

       20   prosecution of a proof of claim that Highland Capital

       21   Management would have in the Acis bankruptcy.

       22   Q    Okay.   And are these the special purposes for which the

       23   Debtor seeks to retain Foley?

       24   A    Yes.

       25   Q    Do you know whether there are matters that were part of




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        1   the original motion but which the Debtor no longer seeks to

        2   pursue?

        3   A    One of the matters that was pending when we took office

        4   was an appeal, and I believe it was still in the District

        5   Court, and that related to an alleged conflict of interest by

        6   the Winstead firm.     And so there was an objection to their

        7   fees and an appeal concerning payment of Winstead fees.         And

        8   the Board has decided not to go forward with that appeal.

        9   Q    Okay.   So the Board -- did you hear the opening from

       10   Acis's counsel that charged that the Debtor was just doing

       11   more scorched-earth litigation tactics?      Did you hear that

       12   charge?

       13   A    I heard that, yes.

       14   Q    Okay.   But yet the Board has instructed Foley not to

       15   pursue the Winstead matter; is that right?

       16   A    That's correct.

       17   Q    And just again, for the record, why did the Board make

       18   that decision?

       19   A    The Board made that decision because we just thought it

       20   was in the best interest of the Debtor and this estate not to

       21   do that.

       22   Q    And did the Debtor see any benefit to pursuing that

       23   particular litigation?

       24   A    You know, there -- a benefit could be articulated, but we

       25   decided not to pursue it.




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        1   Q    Okay.    So, that, plus the Neutra appeal, are two -- I

        2   mean, I apologize, withdrawn.       That, plus the DAF matter, are

        3   two examples where the Board exercised its judgment not to

        4   pursue pending litigation; is that fair?

        5   A    That's correct.

        6   Q    Okay.    Is the Board supportive of the Debtor's application

        7   to retain Foley for the three matters you have described?

        8   A    It is.

        9   Q    And without revealing privileged communications, can you

       10   describe generally the diligence that the Board conducted to

       11   reach that decision?

       12   A    Well, we met with some of the people that work at

       13   Highland.     We met with the Debtor's attorneys, the Pachulski

       14   firm.    We did have a couple of meetings with Ms. Patel and Mr.

       15   Terry.    Some of us have reviewed the pleadings, some more than

       16   others.    And, well, we may have done other things, but those

       17   are the ones that come to mind right now.

       18   Q    I don't know if you mentioned it, but did you confer with

       19   Ms. O'Neil?

       20   A    Oh, yes, we did.    We talked with Ms. O'Neil about it.

       21   Q    Okay.    And what was the purpose of the diligence that you

       22   just described for the Court?

       23   A    Well, ultimately, what we as a board were trying to do was

       24   to conduct kind of a cost-benefit analysis to the estate:         How

       25   much will this potentially cost us?      What's the potential




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        1   upside of pursuing it?    And based upon that cost-benefit

        2   analysis, we thought that this was the best thing to do.

        3   Q    Okay.    Let's just focus on a couple of very narrow 327(e)

        4   issues.     Is the Debtor seeking to retain Foley to act as

        5   general bankruptcy counsel?

        6   A    No.

        7   Q    And which firm serves as general bankruptcy counsel?

        8   A    That would be the Pachulski firm.

        9   Q    Okay.    And do you know whether Foley Gardere represented

       10   the Debtor's interest in each of the three matters that you've

       11   described?

       12   A    It has been representing the Debtor previously.

       13   Q    Okay.    So let's talk about those three matters.        The first

       14   one I believe you said was with respect to the representation

       15   of the Debtor in connection with an $8 million claim that it

       16   has against Acis; is that right?

       17   A    That's correct.

       18   Q    And is that the claim -- is that the subject of a formal

       19   proof of claim?

       20   A    Yes.

       21   Q    Okay.

       22   A    It is a claim filed in the Acis case.

       23   Q    I've placed before you an exhibit binder, and I would ask

       24   you to turn first to Exhibit 4.

       25   A    Okay.




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        1   Q    And is that one of the proofs of claim that the Debtor has

        2   filed against Acis?

        3   A    It is.

        4   Q    And you'll see that attached to the proof of claim a few

        5   pages in there's a document called the Third Amended and

        6   Restated Sub-Advisory Agreement.     Do you see that?

        7   A    Yes.

        8   Q    Do you know what that document is?     Generally?

        9   A    Well, generally, I know what this document is.

       10   Q    All right.   And what's your general understanding of the

       11   document?

       12   A    This is an advisory agreement that -- the only thing that

       13   I know, I can tell you, really, about this agreement is it

       14   gives rise to and generates fees that would inure to the

       15   benefit of the Debtor.

       16   Q    Okay.    And a few pages past that, you'll see something

       17   called a Fourth Amended and Restated Shared Services

       18   Agreement.    Do you see that?

       19   A    Yes.

       20   Q    Is it your understanding that that was another source of

       21   revenue that the Debtor generated when it had this agreement

       22   in place with Acis?

       23   A    Yes.

       24   Q    Okay.    Do you have an understanding as to, you know,

       25   ballpark, what the annual fees were that the Debtor received




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        1   pursuant to these agreements prior to the Acis bankruptcy?

        2   A    Well, I think, prior to the bankruptcy, it was more, and

        3   perhaps significantly more, than it is today.       It may have

        4   been in the $12 million range per annum.       I think it's less

        5   than that today.

        6   Q    Okay.   And can you turn to Exhibit 5, please?      Is that

        7   another proof of claim that was filed in the bankruptcy case,

        8   the Acis bankruptcy case?

        9   A    Yes.    This is a little bit different.    This is an

       10   application for an administrative expense claim.       The prior

       11   proof of claim that we looked at related to a pre-petition

       12   claim that the Debtor had, then a gap period claim that the

       13   Debtor had, and this is post-petition.      So this is an

       14   administrative claim.    It's basically for the same services,

       15   but just different time periods.

       16   Q    Okay.   And who was responsible for preparing Exhibits 4,

       17   5, and 6?

       18   A    Ms. O'Neil and the Foley firm.

       19   Q    Okay.   And has the Board reached a conclusion that it's in

       20   the Debtor's best interest to retain Foley on a post-petition

       21   basis to prosecute these claims?

       22   A    It has.

       23   Q    And why -- what's the justification for that?       Why did the

       24   Board reach that decision?

       25   A    Well, we believe it's in the best interest of the Debtor.




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        1   Obviously, a couple of things there.       I realize we may have a

        2   very long road ahead of us with respect to these things.        But

        3   the overall aspirational goal is to have an income stream

        4   that's associated with these agreements.       The goal is to have

        5   an amount of money out there that's available to pay our pre-

        6   petition claims, the gap claims, the administrative claims,

        7   while at the same time acknowledging that this company has the

        8   obligation to satisfy and fulfill Mr. Terry's claim as well.

        9   Q    All right.    Let's just focus for the moment on the three

       10   proofs of claim.    The aggregate amount is approximately $8

       11   million.   Do I have that right?

       12   A    Yes, that's right.

       13   Q    And from the Board's perspective, is the -- are those

       14   claims an asset of the estate?

       15   A    They are.

       16   Q    And does the Board want to retain Foley for the purpose of

       17   trying to recover that asset?

       18   A    It does.

       19   Q    And has the Board concluded that Foley is familiar with

       20   these particular claims?

       21   A    Foley is familiar with these claims, yes.

       22   Q    And -- okay.    Let's move on, then, to the second task for

       23   which the Debtor seeks approval to retain Foley, and that is

       24   with respect to the confirmation order.      That's one of the

       25   tasks, right?




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        1   A    It is.

        2   Q    Okay.    And this is one of the Fifth Circuit arguments

        3   that's scheduled for six weeks from now; is that right?

        4   A    That's correct.

        5   Q    Okay.    And has Foley represented the Debtor throughout the

        6   proceedings that are leading up to this oral argument?

        7   A    It has.

        8   Q    And did Foley prepare all of the briefing in connection

        9   with the arguments?

       10   A    It did prepare the briefing.      It did that, in some

       11   respects, along with Lynn Pinker.

       12   Q    Okay.    Did you personally review the Debtor's briefs that

       13   were filed in connection with the appeal?

       14   A    I have reviewed those.

       15   Q    Okay.    Have you reviewed every single piece of the record

       16   on appeal?

       17   A    I would doubt that I have.

       18   Q    Okay.    Do you have a general understanding of the nature

       19   of the appeal?    Of -- and this would --

       20   A    Are we talking now about the confirmation appeal?

       21   Q    Yes.    Just the confirmation.    Yeah.

       22   Q    Well, the appeal has basically two broad elements, and the

       23   first is an argument that the plan was not brought in good

       24   faith.   Section 1129(a)(3).    And that goes back to the

       25   arbitration issue.     Generally speaking, that because -- the




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        1   allegation is that because Mr. Terry refused to arbitrate,

        2   then the plan was tainted by that lack of good faith.         And the

        3   second issue, broad issue that's involved in that appeal has

        4   to do with, oh, the injunction, the breadth and scope of the

        5   injunction, which the Debtor contends is -- was improper.

        6   Q    And if the Fifth Circuit reverses the underlying decision,

        7   has the Board made a determination of the possible benefits

        8   that the Debtor may receive?

        9   A    Well, there's two aspects of that appeal.      One would be a

       10   narrower decision.     I suppose, if it's just related to the

       11   injunction, it's -- it's hard to quantify exactly what that

       12   would mean.

       13   Q    Okay.

       14   A    The bigger issue, of course, has to do with the

       15   arbitration.   And if the -- theoretically, at least, the

       16   arbitration, if the Fifth Circuit agreed on the issue of

       17   arbitration, then the argument would be that we would -- that

       18   in the arbitra... well, it is true to say that -- well, I

       19   think I'm kind of getting ahead of myself here.

       20   Q    You are, just a bit.    Let's just focus on the confirmation

       21   appeal.   That's been consolidated for oral argument purposes

       22   --

       23   A    It has.

       24   Q    -- with the appeal of the involuntary; is that right?

       25   A    That's correct.




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        1   Q      Okay.   And just to sum up this piece of it, did Foley

        2   represent the Debtor with respect to all of the underlying

        3   proceedings?

        4   A      It did.

        5   Q      And why does the Board believe it's in the Debtor's best

        6   interest to retain Foley to conduct the oral argument and to

        7   finish up this proceeding?

        8   A      Well, first of all, I think the Court would agree with me

        9   that Foley is a very competent law firm.      It's competent to do

       10   the work that they've been charged to do.

       11          Second, pretty much all the work on the appeal is already

       12   in the can.      The only thing that's left to be done at this

       13   point in time is to make the oral argument.      Obviously, if we

       14   didn't go forward with the Foley firm, we'd have to find

       15   somebody who could make the argument.      So, we would -- but we

       16   would lose the benefit of Foley's experience that they have in

       17   the case so far.

       18          I think there will be a cost element that would be

       19   associated with bringing somebody new up to speed with respect

       20   to this.

       21          So, those, generally speaking, are the benefits that we

       22   see.

       23   Q      Okay.   Let's turn then, finally, to the Neutra appeal.       Do

       24   you have a general understanding of that matter for which the

       25   Debtor seeks to retain Foley?




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        1   A   Yeah.   The Neutra appeal, what happened in Neutra is that

        2   Neutra, to my understanding, moved to intervene in the

        3   involuntary proceeding.    I think that intervention was denied.

        4   And so that appeal has to do with the fact that Neutra

        5   contends that it should have been permitted to intervene, that

        6   the matter of collections should have been arbitrated.

        7       I think that one of the issues in there is this -- in that

        8   appeal is who decides on the issue of arbitrability.          Is it

        9   this Court, or is it the arbitrators themselves?

       10       So, those are the issues that are present in the Neutra

       11   appeal.

       12   Q   Okay.   Is the Debtor named a party to the appeal?

       13   A   The Debtor is not a named party in the Neutra appeal.

       14   Q   But the Board nevertheless wants to retain Foley on a

       15   post-petition basis to prosecute that appeal; is that right?

       16   A   That's correct.

       17   Q   And why is that?

       18   A   Well, I think both -- we recognize and I think the Fifth

       19   Circuit recognizes as well that these two things, that these

       20   two appeals kind of go hand-in-glove.      The 1129(a)(3) argument

       21   basically is dependent upon the arbitration issue, which is

       22   fleshed out in the Neutra appeal.

       23       And so, at the end of the day, the way that the Board sees

       24   this is that the Debtor is the most immediate beneficiary of

       25   the economic benefit of the Neutra appeal.      We see the




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        1   possibility of an income stream there.      We see the possibility

        2   of the ability to pay our claims in the Acis case.       And I

        3   think -- one of the things I think that is of particular focus

        4   when it comes to all of this litigation is the fact that, as I

        5   understand it, Mr. Terry started out with an $8 million claim,

        6   and I think he bid $1 million of that claim for the interest

        7   that he got in Acis, which reduced it, say, to $7 million.

        8   And I think Mr. Terry's interest now over time I believe it's

        9   been reduced to somewhere between $4 to $6 million.       So

       10   that's, that's a claim.

       11        But in this case, Mr. Terry has filed a proof of claim for

       12   $70 million.     And my understanding from our visit with Mr.

       13   Terry and his counsel is that that claim could get up to $300

       14   million.     And so, as a board, we look at that and what we're

       15   concerned about is the migration, the alleged migration of a

       16   tremendous amount of value from Highland down to Acis.          So, at

       17   the end of the day, it doesn't really matter who you regard as

       18   the ultimate equity owner of Acis, whether it's Mr. Terry or

       19   whether it's Mr. Dondero:     The migration of that value

       20   downstream to Acis is of no real benefit to Highland Capital

       21   at all.

       22   Q    Is this one of the issues that the Board discussed with

       23   the Committee last week in connection with this motion?

       24   A    Yes.    It is.

       25   Q    Okay.    And let's just go back to the income stream for a




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        1   second.     The income stream that the Board is hoping it will

        2   get if the decision is reversed, is that income stream derived

        3   from the two agreements that we just looked at?

        4   A    It is.

        5   Q    So those are the two very agreements that the Board would

        6   look to have reinstated if it were to succeed on the appeal;

        7   is that right?

        8   A    Yes.

        9   Q    Now, does the Board know exactly the form of relief the

       10   Fifth Circuit is going to grant?

       11   A    I have no earthly idea.

       12   Q    Right?    But has the Board made a determination that the

       13   outcome of Neutra obtaining control of Acis is one

       14   possibility?

       15   A    It's certainly a possibility.

       16   Q    And is that the potential benefit that the Board focused

       17   on in deciding to pursue this motion?

       18   A    Yes.    I mean, I'm glad to adopt the percentages that Mr.

       19   Terry's counsel has mentioned today.      I guess if the cost-

       20   benefit analysis is that we're going to pay a couple hundred

       21   thousand dollars here to get to the end of the road, and the

       22   benefit is millions of dollars, well, even if our chances are

       23   only ten percent, I think that's a shot worth taking.

       24   Q    Thank you very much.    If the Fifth Circuit reversed,

       25   because this is a point that was also made in the Acis




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        1   opening, what would happen to Mr. Terry's claim?       Or what's

        2   your understanding or what's the Board's view as to whether or

        3   not it would intend to satisfy Mr. Terry's claim?

        4   A    I know, speaking on my behalf, that I'd -- the claim that

        5   Mr. Terry got through arbitration I regard as a valid claim.

        6   I think it's one that would have to be addressed no matter who

        7   is in charge of paying the obligations of Neutra.

        8   Q    Has the Board concluded that it's in the Debtor's best

        9   interest to retain Foley for the purpose of prosecuting the

       10   Neutra appeal, or at least in issuing the oral argument?

       11   A    Yes.

       12   Q    Okay.   And when is the argument scheduled for?

       13   A    March the 30th.

       14   Q    And is the fact that that's all that's left with respect

       15   to this aspect of the engagement a factor that the Board took

       16   into account in its decision?

       17   A    Yes.

       18   Q    Has the Board reached a decision as to who the real

       19   economic party in interest is with respect to the Neutra

       20   appeal?

       21   A    Yes.    We believe ultimately that our Debtor would bear the

       22   most economic interest in the outcome.      And, really, because

       23   of the amount of the obligations that are owed, both to Mr.

       24   Terry, to Highland Capital, by the time that you have this

       25   kind of runoff of all the revenue streams, I'm not really sure




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        1   that there would be anything left for either Mr. Dondero or

        2   Mr. Okada.

        3   Q    So, --

        4   A    That's -- that's a view from 50,000 feet, not even 30,000

        5   feet.

        6   Q    Okay.    Well, let's talk about the specific benefits,

        7   potential benefits, if it's reversed on appeal.       Does the

        8   Board believe it's possible that the two contracts get

        9   reinstated?

       10   A    It is possible.

       11   Q    And is that a motivating factor in supporting this motion?

       12   A    It is.

       13   Q    What would happen to the $8 million claim that the Debtor

       14   has against Acis right now in the Acis bankruptcy?       Does the

       15   Board have a view as to what would happen to that?

       16   A    It would be our aspiration to collect that claim on behalf

       17   of our client, which is Highland Capital Management.

       18   Q    And would -- is it the Board's expectation that if it was

       19   in that position it would get paid hundred-cent dollars,

       20   rather than at least a portion of it as a general unsecured

       21   claim?

       22   A    Again, that would be our aspiration.

       23   Q    Uh-huh.    What would happen to the adversary proceeding?

       24   Do you have an understanding as to what would happen in the

       25   adversary proceeding with respect to Mr. Terry if the Fifth




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        1   Circuit reverses and Neutra regains control of Acis?

        2   A    Well, I'm assuming -- I'm assuming that that adversary

        3   proceeding would go away.

        4   Q    Okay.    And would that -- is that a potential benefit to

        5   the estate?

        6   A    That would be a benefit to the estate if it did.

        7   Q    And do all of the factors that we just discussed go into

        8   the cost-benefit analysis that the Board did in deciding to

        9   pursue only these three very limited aspects of the

       10   engagement?

       11   A    Yes.

       12   Q    Okay.    Has the Board considered the potential harm to the

       13   Debtor if the motion is denied?

       14   A    We have.

       15   Q    And have -- can you share with the Court the issues that

       16   the Board has identified as potentially being adverse if the

       17   motion is denied?

       18   A    It's really just the other -- the flip side of the coin of

       19   benefit, which is added expense, loss of the experience that

       20   the Foley firm has, perhaps delay of time in finding somebody

       21   else, bringing them up to speed, not just with respect to the

       22   two appeals but with respect to the proof of claim.       And there

       23   may be others that I'm not thinking of right now.

       24   Q    Did the Board consider the potential loss of the

       25   institutional knowledge that Foley has and the potential




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        1   adverse impact it would have on the quality of the oral

        2   argument?

        3   A    It did.

        4   Q    Okay.   So, two of the three matters that the Debtor seeks

        5   to retain Foley for are appeals to the Fifth Circuit; is that

        6   right?

        7   A    Yes.

        8   Q    And did those matters originate in this courtroom?

        9   A    They did.

       10   Q    And you were colleagues with Judge Jernigan at one time,

       11   weren't you?

       12   A    Yes.    We were bench colleagues for twelve years.

       13   Q    And do you believe Judge Jernigan is a good judge?

       14   A    I do.

       15   Q    Do you believe she's a fair judge?

       16   A    I do.

       17   Q    Do you believe she tries to get it right every single

       18   time?

       19   A    I know she tries to get it right every time.

       20   Q    So then why is the Board seeking to prosecute these

       21   appeals of Judge Jernigan's decision?

       22   A    Well, it's in the best interest of our client to do that.

       23   And I have not -- I have to say there's always a little bit of

       24   discomfort that comes with something like this, but I do know

       25   this from my time on the bench, and that is that when you take




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        1   the job that Judge Jernigan has, you take it with full

        2   understanding of how the system works.      And in the system,

        3   half the people lose at any one given time.       And when you

        4   lose, you tend to be disappointed in the result, and the

        5   result of that is that you get the right to go to the next

        6   court and have someone say that the judge got it wrong.

        7        So those of us that take the bench understand that that's

        8   the system, and I don't think -- for the most part, we're not

        9   threatened by that.    And so I, you know, as uncomfortable as

       10   this may -- this may put -- a position it may put me in from

       11   time to time, I think that -- I think Judge Jernigan

       12   understands the roles that we all play in this system.          And so

       13   --

       14   Q    Just, okay, just to summarize:     If the motion is granted,

       15   what's the absolute worst-case scenario here for the Debtor?

       16   A    I'm sorry.    Would you say that again?

       17   Q    If the motion is granted and the Debtor is allowed to

       18   retain Foley for the three tasks which you have described, do

       19   you have an understanding as to what -- what's the worst that

       20   could happen?     They'd have to pay Foley's fees, right?

       21   A    We'd have to pay -- well, subject to Judge Jernigan's

       22   approval, --

       23   Q    Right.

       24   A    -- those fees would be paid.

       25   Q    And subject to everybody's opportunity to object, right?




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        1   A      Right.

        2   Q      But if the fees were paid at a hundred percent, nobody

        3   objected and Judge Jernigan approved of them, what's the

        4   maximum exposure that the Debtor has from this?

        5   A      I think Foley has about $311,000, I believe, right now in

        6   time.    And I think they would probably have about maybe

        7   another $100,000 more.      And I know -- I hate to scoff at the

        8   notion that $400,000 is a lot of -- is not a lot of money.

        9   But, you know, in the grand scheme of things in this case,

       10   it's -- I won't say it's a rounding error, but it's not a lot

       11   of money.

       12   Q      And forget about, I mean, not forget about, but in

       13   addition to its relative size to the overall case, how does

       14   that compare to the relative economic benefit that the Debtor

       15   believes it will recover if the appeal is successful?

       16   A      Well, I think the cost is -- the cost is less than half a

       17   million, and the potential benefits are in the millions.

       18               MR. MORRIS:    Okay.   Just one moment, Your Honor, if I

       19   may?

       20               THE COURT:    Okay.

       21          (Pause.)

       22               MR. MORRIS:    All right.    Just a few more questions,

       23   Your Honor.

       24               THE COURT:    Okay.

       25   BY MR. MORRIS:




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        1   Q    Mr. Nelms, did Neutra pay a portion of the fees, Foley's

        2   fees prior to the petition date in connection with an April

        3   litigation?    Do you know?

        4   A    If they did, I'm not aware of it.

        5   Q    Okay.    Do you know what would happen to the appeal if

        6   there was no funding for the appeal?

        7   A    Well, I think I know what the result of the appellant not

        8   showing up for an appellant argument would be.

        9   Q    And what would that be?

       10   A    Well, I think that would be a pretty quick resolution.

       11   Q    Do you think the case would be dismissed, the appeal would

       12   be dismissed?

       13   A    I think so.

       14   Q    And would that be the loss of a potential material benefit

       15   and asset of the Debtor's estate?

       16   A    It would be.

       17   Q    Can you think of any way to ensure the appeal is

       18   prosecuted today other than making sure the Debtor funds it?

       19   A    I'll put it this way.    I think the most certainty can be

       20   added to this case by having the Debtor fund this matter

       21   through the end of March.

       22   Q    And from --

       23   A    I think that's -- that's -- for the time being, that's the

       24   easiest, most simple path.

       25   Q    And you say for the time being.      Has the Board reached an




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        1   agreement to never request, from Neutra or anybody else,

        2   contributions for the funding of this case?

        3   A    No.   Ultimately, there is going to be at some point in

        4   this case a settling of accounts between the Debtor and Mr.

        5   Dondero, just as there are -- will be a settling of accounts

        6   between the Debtor and other parties in interest.         We, as the

        7   Board, have just chosen not to have that fight today.

        8   Q    And why did the Board reach that decision?

        9   A    Because we just thought it was in the best interest of the

       10   Debtor to proceed that way.

       11   Q    And is that because you need this appeal argued on March

       12   30th?

       13   A    It is.

       14   Q    And that's because of all of the potential benefits that

       15   you've identified; is that right?

       16   A    Right.

       17   Q    Okay.

       18                MR. MORRIS:    I have no further questions, Your Honor.

       19                THE COURT:    Okay.   Cross?

       20                MR. LAMBERSON:   Yes, Your Honor.

       21                               CROSS-EXAMINATION

       22   BY MR. LAMBERSON:

       23   Q    Good morning, Mr. Nelms.

       24   A    Good morning.

       25   Q    How's it to be on that side of the bench?




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        1   A    Not so fun.

        2   Q    It's not great, right?

        3                MR. LAMBERSON:   And Your Honor, we have an exhibit

        4   notebook, which we're not -- we're not going to use all these

        5   exhibits.     We actually -- you'll notice that there are some

        6   empty tabs in here.       We downsized the exhibits from the

        7   exhibit list, and I'm not going to use all these.       So I'll

        8   just introduce them as I get to them.

        9                THE COURT:   Okay.

       10   BY MR. LAMBERSON:

       11   Q    Let me pick up on your last point.

       12                MS. CHIARELLO:   Your Honor, may we approach?     We have

       13   binders.

       14                THE COURT:   You may.

       15   BY MR. LAMBERSON:

       16   Q    So, let me pick up on your last point, Mr. Nelms.         So, who

       17   -- who owns Neutra?

       18   A    Well, if you follow the stream all the way up, it is owned

       19   75 percent by Mr. Dondero and 25 percent by Mr. Okada.

       20   Q    Okay.    And Mr. Dondero is one of the richest men in

       21   Dallas.    Correct?

       22   A    I don't know.

       23   Q    Presumably?      Mr. Okada is also one of the richest men in

       24   Dallas?

       25   A    I don't know.     I haven't lived in Dallas in 17 years.




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        1   Q      Okay.    Fair enough.    But they can't -- they can't pay the

        2   litigation costs for their own entity?

        3   A      Well, I don't know that they -- whether they can or

        4   whether they can't.

        5   Q      Right.    So, are you familiar with an entity called

        6   Highland CLO Funding?

        7   A      Vaguely, yeah.

        8   Q      Okay.    And Highland CLO Funding is one of the appellants

        9   in the appeal of the confirmation order, correct?

       10   A      That's correct.

       11   Q      Okay.    And one of the issues on appeal is actually the

       12   plan injunction that's embedded in the confirmed plan,

       13   correct?

       14   A      That's correct.

       15   Q      Right.    And is your understanding that that's really

       16   Highland CLO Funding's main appeal issue?

       17   A      I think it probably would be, yes.

       18   Q      Okay.    And is there any reason that Highland CLO Funding

       19   can't pay Neutra's legal fees to have -- have another

       20   appellant in the Fifth Circuit?

       21   A      I don't know the answer to that question.

       22   Q      Okay.    So, let me -- let me -- I'm going to try to keep

       23   this coordinated, but my notes are a little bit over the

       24   place, so I apologize in advance if I move around a little

       25   bit.




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        1        So, you had testified earlier that -- and I'm just trying

        2   to synopsize your testimony -- that you -- that the Board

        3   believes the primary benefit of paying Neutra's legal expenses

        4   related to the order for relief appeal and the confirmation

        5   appeal is the income stream that would be evidenced by the

        6   sub-advisory agreement, right?

        7   A    Yes.

        8   Q    Okay.    And I'm -- when I say sub-advisory agreement, I'm

        9   talking about this is the attachment to the Debtor's Exhibit

       10   4, which is the proof of claim.

       11   A    Right.

       12   Q    Right?    And so it's your understanding that the way that

       13   works is Acis Capital Management, my client, is the portfolio

       14   manager for a bundle of CLOs, right?

       15   A    That's my understanding.

       16   Q    And that before the Acis bankruptcy, the sub-advisory

       17   agreement allowed Highland Capital Management to sub-advise

       18   those CLOs for a fee, correct?

       19   A    That's correct.

       20   Q    Okay.    So, I'm going to focus on the confirmation appeal.

       21   So, you understand that the plan injunction prevents the

       22   liquidation of the CLOs and the Acis portfolio management

       23   agreement?

       24   A    That is my understanding.

       25   Q    Okay.    And the reason that, frankly, we had to get the




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        1   plan injunction is because HCLOF three times tried to

        2   liquidate, redeem the CLOs, including twice in the bankruptcy

        3   case?

        4   A   I understand that was an issue.       But -- I have a general

        5   understanding as to what you're saying, but not a specific

        6   understanding.   But I'm not disagreeing with you.

        7   Q   Yeah.    Okay.   And so if the plan goes away, the plan

        8   injunction goes away, then is there any reason to think that

        9   HCLOF isn't going to liquidate the CLOs?

       10   A   I would not know.

       11   Q   And in that case, there's not going to be any cash flow

       12   under the portfolio management agreements or the sub-advisory

       13   agreements, right?

       14   A   If you're asking me if that's a possibility, I'd say it's

       15   certainly within the realm of possibilities.

       16   Q   Okay.    So, staying on the confirmation appeal, so let's --

       17   let's assume that, for whatever reason, the Fifth Circuit

       18   decides that the confirmation order needs to be reversed and

       19   they send it back down to Judge Jernigan and say, "Try again."

       20   Would you agree that that would effectively reactivate the

       21   Acis case?

       22   A   Well, I don't know, because, you know, one of the issues

       23   in the appeal is who gets to make the decision with respect to

       24   arbitrability.   Because I know that it's the Appellants'

       25   position that the decision as to whether or not it should be




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        1   arbitrated, something such as collections, should they go to

        2   be decided by the arbitrator, --

        3   Q    Let me stop you, just to be clear.       I'm talking about the

        4   confirmation appeal, the appeal of the confirmation order.

        5   A    Uh-huh.

        6   Q    Right?    Okay.   I'm not talking about the order for relief

        7   appeal.

        8   A    I may be conflating the two, so I'm sorry.

        9   Q    Yeah, yeah, and I -- and it's -- yeah, it's -- but it is

       10   confusing.     But I'm talking about the confirmation appeal.         So

       11   the appeal of the Court's confirmation order confirming the --

       12   I think was the third amended plan.        Okay?   So, I'm focusing

       13   on that appeal only.      If the Fifth Circuit says, "Nope.      Try

       14   again," then you would agree with me that that effectively

       15   reactivates the Acis Chapter 11 case?

       16   A    Well, I think it depends.      If you -- would you like me to

       17   explain why I think it depends?

       18   Q    Yeah.    Go ahead.   I don't -- because, I mean, honestly,

       19   I'm not exactly sure what happened, so I would actually -- I

       20   would like your opinion.

       21   A    Well, given that the first issue in the confirmation

       22   appeal is the issue of good faith, and the foundation of that

       23   pretty much is the whole arbitration issue, if the Fifth

       24   Circuit were to reverse on that basis, then I don't

       25   necessarily know that it would go back to the Bankruptcy




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        1   Court.

        2        If it was reversed just on the narrower issue with respect

        3   to the injunction, and maybe whether the injunction was too

        4   broad or something like that, --

        5   Q    Uh-huh.

        6   A    -- and that was the only basis for reversal, I would agree

        7   with you it would go back to Bankruptcy Court.

        8   Q    Okay.    So there's some possibility that a result of the

        9   confirmation appeal is that the Acis Chapter 11 case is

       10   reactivated and we're back in front of Judge Jernigan on that

       11   case, too?

       12   A    That would be a possibility.

       13   Q    Okay.    And then you'd get to talk with Mr. Phelan, right?

       14   That would be fun.

       15   A    Right.

       16   Q    So, so how much money did Highland Capital spend in the

       17   Acis bankruptcy case?

       18   A    I don't know.

       19   Q    Was it -- it was millions and millions, right?

       20   A    I don't know, but I'm -- I'm assuming it exceeded a

       21   million.

       22   Q    Okay.    Well, aren't there -- aren't there claims of unpaid

       23   fees just in the Top 20 list, which we'll point to here in a

       24   minute, in the millions of dollars that relate to the

       25   attorneys that represented Highland in the bankruptcy -- in




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        1   the Acis bankruptcy case?

        2   A    I don't know.

        3   Q    Okay.    So, why, you know, assuming that a result of the

        4   confirmation appeal is that the Acis bankruptcy case is

        5   reactivated, how is that in Highland's best interest?         And I'm

        6   not talking about Neutra, and I'm not talking about HCLOF.

        7   I'm talking about Highland.

        8   A    Well, the -- what would be in our best interest would be

        9   to once again control the sub-advisory agreement and to

       10   generate revenues for the benefit of this estate.       Use those

       11   -- that revenue stream both to address any claims that

       12   Highland might have, as well as Mr. Terry.      That would be the

       13   benefit as we see it.

       14   Q    Right.    But by the time of the confirmation order, --

       15   A    But if your question is, oh, but you're going to be

       16   involved in a lot of other litigation and so how does that

       17   benefit, then I guess my answer to that is it's a -- my answer

       18   is a "Yes, but," and but may exceed the scope of your

       19   question, so I won't --

       20   Q    Okay.

       21   A    -- I won't give you the but answer unless you want me to

       22   do it.

       23   Q    That's fine.    I just -- if we go back, if we go back to

       24   where we were before confirmation, I mean, I'm not talking

       25   about the order for relief, I'm talking about confirmation,




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        1   the sub-advisory agreement had been terminated.       Highland had

        2   been fired and Brigade was managing everything.

        3   A    Right.

        4   Q    So, there wouldn't be any cash flow going to Highland

        5   based on the -- just the reversal of the confirmation order.

        6   A    Well, what would have to happen, of course, is that Neutra

        7   would have to -- would have to appoint us as -- would have to

        8   allow us to come in under the sub-advisory agreement to

        9   perform those services.

       10   Q    Right.    Except that there's a trustee, right?     Robin

       11   Phelan was in charge of everything.

       12   A    Well, you're assuming there's still a bankruptcy.

       13   Q    Right.    Yeah.   Well, I am.   I mean, again -- and maybe I'm

       14   being simplistic about this, but if the confirmation order is

       15   reversed, --

       16             THE COURT:     Counsel is standing.   Do you have an

       17   objection?

       18             MR. MORRIS:     Yeah.   I do, Your Honor, to this whole

       19   line of hypothetical questions.      We do understand, I think

       20   everybody understands, that we don't know if the appeal will

       21   be granted.    I think we do all understand that we don't know

       22   what the form of relief, the exact form of relief will be.

       23   But the testimony here is that the Board has decided that one

       24   possible form of relief is that -- is that Neutra will regain

       25   control of Acis and get these contracts reinstated, get the




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        1   adversary proceeding dismissed, and get paid on its $8 million

        2   claim.

        3        If there's questions about that, I think it's relevant,

        4   but I don't know why we're spending a lot of time on

        5   hypotheticals with a fact witness.

        6             THE COURT:    But the --

        7             MR. MORRIS:    Not an expert witness.

        8             THE COURT:    The business judgment of the Board of the

        9   Debtor is at issue here, correct?

       10             MR. MORRIS:    Correct.    Absolutely.

       11             THE COURT:    Don't these hypotheticals go to, is

       12   reasonable business judgment being exercised here?

       13             MR. MORRIS:    I think he has to lay a foundation and

       14   say, Is this -- is this a hypothetical you considered?        Is

       15   this a hypothetical that you considered?      Because we're just

       16   -- this is like expert testimony almost.      There is no evidence

       17   that any of these factors were considered.         And at the end of

       18   the day, there is no dispute that the scenario that the Board

       19   is saying is worth the investment, basically, is also a

       20   possibility.

       21             THE COURT:    Okay.   I overrule the objection.

       22             MR. LAMBERSON:    Okay.

       23             THE COURT:    You can proceed.

       24             MR. LAMBERSON:    And Your Honor, I'm just about done.

       25             THE COURT:    Okay.




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        1   BY MR. LAMBERSON:

        2   Q    So, okay.   So, we -- but we can agree that -- okay.        Let

        3   me -- let me hopefully do this.     Okay.    So, I mean, I think

        4   that's fine for the confirmation appeal, so now I want to talk

        5   about the order for relief appeal.      Right?   So this is the

        6   appeal of the order for relief or the -- and I stated this

        7   earlier to the Court, but the sole substantive issue in that

        8   appeal is whether this Court should have compelled the order

        9   for relief to arbitration.     Is that right?

       10   A    The sole substantive issue?     I think, if you paint with a

       11   broad brush, yeah.      I would agree with you, yes.

       12   Q    Okay.   Well, and again, I'm not trying to --

       13   A    I know.   So, --

       14   Q    I'm not trying to trap anybody.       The three issues --

       15   A    And I'm not trying to be evasive, either.

       16   Q    Yeah.

       17   A    Yeah.

       18   Q    Are the standing issue, which, in my mind, isn't really a

       19   substantive issue.      And then there's the issue about the

       20   arbitration of the order for relief.       And then, finally, as I

       21   mentioned, we've raised a waiver argument that basically, if

       22   they had a right to arbitrate, which we think they don't, they

       23   waited too long to raise it.      Right?   Those are the three

       24   issues.   Correct?

       25   A    That's correct.




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        1   Q    Okay.    So, let me ask you.       And I'm not going to -- I'm

        2   not going to hold this against you at the Fifth Circuit level,

        3   but, I mean, do you -- do you think an order for relief is

        4   subject to arbitration?

        5                MR. MORRIS:    Objection, Your Honor.    Calls for a

        6   legal conclusion.

        7                THE COURT:    Overruled.

        8                MR. LAMBERSON:   Sure it does.

        9                THE COURT:    Overruled.

       10                THE WITNESS:    I think the -- I think it's a -- I

       11   think there's a colorable argument.

       12   BY MR. LAMBERSON:

       13   Q    Uh-huh.

       14                MR. MORRIS:    Objection withdrawn.

       15   BY MR. LAMBERSON:

       16   Q    So you don't think National Gypsum and Gandy would apply

       17   to an involuntary petition and order for relief?

       18   A    Well, I'll put it this way.        I guess they'll apply if the

       19   Fifth Circuit tells us they do.

       20   Q    Right.

       21   A    That's as much as I can tell you.

       22   Q    Okay.    So, so if that ruling is reversed, right, as I

       23   mentioned earlier -- and let me ask you, actually, another

       24   thing.   So, how often, when you were a judge, how often were

       25   -- I shouldn't say how often -- how many times were your




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        1   rulings reversed?    Just roughly?

        2   A    Was I reversed?

        3   Q    Yeah.

        4   A    I think six.

        5   Q    Not very many claims, right?

        6   A    No.

        7   Q    So how many times was there a reverse and a render?

        8   A    I'm sorry.    Say again?

        9   Q    How many times was there a reverse and a render, where

       10   nothing came back to you, that basically the higher court just

       11   said, It's done?

       12   A    Well, it was rendered every time except on one occasion,

       13   and that --

       14   Q    Uh-huh.

       15   A    -- Stern v. Marshall had just been decided, and so --

       16   gosh, I can't remember the district judge.

       17   Q    Okay.

       18   A    One of the judges reversed but sent it back to me to

       19   reconsider it under the light of the ruling in Stern v.

       20   Marshall, a jurisdictional issue.      So, in all those instances,

       21   it was rendered.

       22   Q    Okay.    So there was nothing -- there was no issue that

       23   came back to you?    The case was just resolved?

       24   A    No.   No issue came back to me.

       25   Q    Okay.




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        1   A   No, you know what, there was a second one.        I think the

        2   second one was In re Mirant.       Commerzbank versus -- MCAR v.

        3   Commerzbank.    That came back as well.

        4   Q   Right.     Okay.    So, again, but focusing on the order for

        5   relief appeal, one possibility is that the Fifth Circuit says,

        6   okay, this may be subject to arbitration, and sends it back to

        7   Judge Jernigan to make additional findings, apply a different

        8   standard, right?       That's possible, right?

        9   A   That's possible.

       10   Q   Okay.    So, in that case, nothing necessarily came out of

       11   the appeal, right?      Like you're just basically back in front

       12   of her on the same issues?

       13   A   Well, I -- that may very well be the case, but --

       14   Q   Okay.    Well, let's assume that the Fifth Circuit does

       15   reverse and render.      Wouldn't -- isn't what they would render

       16   would be a -- compelling this case to arbitration?        Right?

       17   Not that the bankruptcy goes away, disappears.        It would

       18   basically be, "Should have been arbitrated.       Go arbitrate."

       19   A   It's a good question, what the effect of reversing it

       20   would be and sending it back, remanding it.       They -- I mean,

       21   one of the things that they might decide is to say that the

       22   whole issue of arbitration should be decided by an arbitrator.

       23   Q   Uh-huh.

       24   A   That's a possibility.

       25   Q   Right.     But in that situation, the bankruptcy doesn't go




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        1   away.   It just moves to a different forum, right?

        2   A    No, I mean, you're probably right.     That, in and of

        3   itself, would not eviscerate the bankruptcy filing.

        4   Q    Uh-huh.

        5   A    That's true.

        6   Q    And so, in that situation, the result is -- and this is --

        7   that's, frankly, the best situation, is --

        8   A    But, of course, I mean -- can I go back to that?         Just,

        9   I'm not sure about that.     Because, after all, this was an

       10   involuntary petition.

       11   Q    Uh-huh.

       12   A    If it was a voluntary petition, then I would certainly

       13   agree with you wholeheartedly.      Inasmuch as it was an

       14   involuntary petition, I'm not sure about the answer to that

       15   question.

       16   Q    Uh-huh.    Okay.

       17   A    That's a good question.

       18   Q    But you would agree with me that a possible result of even

       19   a reversal of the order for relief appeal would just be more

       20   litigation?

       21   A    Yes.    That's certainly a possibility.

       22   Q    Right.    In this Court?   Maybe in front of an arbitrator?

       23   Maybe both?

       24   A    Yes.    That's possible.

       25   Q    Okay.    All right.   So, still focusing on the order for




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        1   relief appeal, but I want to go to this idea that, again,

        2   there's this cash flow stream that is going to be reinstated

        3   for the benefit of Highland Capital under the sub-advisory

        4   agreement.     Okay?

        5   A    Right.

        6   Q    All right.    So, before the Acis bankruptcy was filed,

        7   Dondero, and at that time, in control of Highland, were

        8   actually in the process of liquidating Acis, weren't they?

        9   A    Were they in the process of liquidating Acis?

       10   Q    Uh-huh.

       11   A    And I take it these are the transfers that were --

       12   concerning your client that prompted the filing of the

       13   involuntary petition itself?

       14   Q    Correct.

       15   A    Is that what you're referring to as the --

       16   Q    Yes.

       17   A    -- liquidation?

       18   Q    Yes.

       19   A    Well, I certainly know that -- I understand those

       20   transfers were taking place.     Now, whether you'd call that a

       21   liquidation or not, I don't know, but I know what you're

       22   referring to --

       23   Q    Okay.

       24   A    -- and I think the answer to your --

       25   Q    So, --




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        1   A    Yeah.

        2   Q    Yeah.    So there were a variety of transfers of assets away

        3   from Acis before --

        4   A    Right.

        5   Q    -- the Acis bankruptcy filing, right?      And, actually, are

        6   you aware that there was actually an agreement between

        7   Highland CLO Management and Acis to transfer those PMAs to

        8   HCLOF Management?

        9   A    No, I'm not aware of that.

       10   Q    Okay.    And as we talked about earlier, HCLOF repeatedly

       11   attempted to redeem the CLOs, even during the Acis bankruptcy,

       12   right?

       13   A    I read about that in Judge Jernigan's opinion, so I'm

       14   assuming that's the case.

       15   Q    Right.    Okay.   And then -- and, in fact, if HCLOF was

       16   successful, that would liquidate the CLOs and it would

       17   effectively terminate the Acis portfolio management

       18   agreements, right?

       19   A    I don't know.

       20   Q    Okay.    But if that was the case, if the portfolio

       21   management agreements went away or no longer had assets to

       22   manage, then the sub-advisory agreement would have no income,

       23   right?

       24   A    If you're asking me if that's something within the realm

       25   of possibilities, I suppose so.




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        1   Q    Okay.    So, if, because of the appeal, the Acis bankruptcy

        2   -- because of the order for relief appeal, if the bankruptcy

        3   -- if the Acis bankruptcy just went entire away, just

        4   disappeared, right, so Mr. Dondero would be in control of

        5   Acis, not you, right?

        6   A    He would be in control.    That's correct.

        7   Q    Okay.    And so if he wanted to terminate the PMAs and enter

        8   new PMAs with Dondero Capital Management, you couldn't keep

        9   him from doing that, could you?

       10   A    Well, I -- no, I could not keep him from doing that.

       11   Q    Okay.    Or if he wanted to terminate the sub-advisory

       12   agreement and enter into a different agreement, I mean, you

       13   couldn't keep him from doing that, either, could you?

       14   A    No, I couldn't.

       15   Q    Right.    So what makes you think that Highland Capital

       16   Management, a debtor that he lost control of, just like Acis,

       17   would benefit from Acis's PMAs, when he was actively trying to

       18   take Acis's PMAs away from Acis?

       19   A    Well, I have -- I spoke to Mr. Dondero about this, and he

       20   -- I asked him the question, and he said that he would

       21   reinstate Highland under the sub-advisory agreement and the

       22   shared services agreement.

       23   Q    Okay.    So, on that point, you did mention earlier that, as

       24   part of your -- as part of the Board's diligence, you talked

       25   with Mrs. O'Neil and you talked to Pachulski.       Obviously,




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        1   you've analyzed the issues.      I can tell you're familiar with

        2   all these, all of the pleadings.       But you also talked with

        3   different Highland Capital employees about the litigation and

        4   the appeals, correct?

        5   A    I did.

        6   Q    Okay.    Who did you talk with?

        7   A    Well, I have to say that the interaction with Highland

        8   employees was actually fairly abbreviated.

        9   Q    Uh-huh.

       10   A    We spoke very, very briefly about this with Isaac Leventon

       11   on the day that we were appointed.      I don't know if the Court

       12   is aware of this or not, but we spoke about it very briefly,

       13   and then he was injured later that night and he really hasn't

       14   been back at the office since then.         So, --

       15   Q    Oh.

       16   A    -- I would say, for the most part, I have relied mainly on

       17   Pachulski.

       18   Q    Okay.    But you did indicate you talked to Mr. Dondero as

       19   well?

       20   A    I talked to him about this issue about reinstatement, yes.

       21                MR. LAMBERSON:   So, Your Honor, I'd like to turn to

       22   --

       23                THE WITNESS:   Oh, you don't have to call me Your

       24   Honor.

       25                THE COURT:   There are two Your Honors.




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        1                MR. LAMBERSON:    Your Honors.   How about that?

        2                THE COURT:    Okay.

        3                THE WITNESS:    Yeah, there's only one judge in the

        4   court today.

        5   BY MR. LAMBERSON:

        6   Q    Could you turn to Exhibit 16, please?       This is Acis's

        7   Exhibit 16.     I'm sorry.    Do you have that, Mr. Nelms?

        8   A    I do.

        9   Q    And could you identify Acis Exhibit 16?

       10   A    Yes.    This is Official Form 204 in the current case, the

       11   one we're here for today.

       12   Q    Right.    So it's the Top 20 List of Creditors for Highland

       13   Capital Management?

       14   A    Yes, that's correct.

       15   Q    Okay.    And have you seen Exhibit 16 before?

       16   A    Pardon me?

       17   Q    Have you seen Exhibit 16 before, the Top 20 List?

       18   A    No, I have not seen it before.

       19   Q    Okay.

       20                MR. LAMBERSON:    Your Honor, we'd ask for the

       21   admission of Exhibit 16.

       22                THE COURT:    Any objection?

       23                MR. MORRIS:    Just on relevance grounds.   Can we at

       24   least establish a foundation as to which element of 327(e)

       25   this goes to?




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        1                THE COURT:    Response?

        2                MR. LAMBERSON:   Well, Your Honor, what I'm going to

        3   point out is that the top ten creditors, other than an insider

        4   creditor, are all litigation-based, and that the, as I pointed

        5   out in my opening, the origin of this case was a bad

        6   litigation strategy.

        7                MR. MORRIS:    No objection to the introduction of this

        8   exhibit for that limited purpose.

        9                THE COURT:    All right.   It's admitted.

       10        (Acis Capital Management GP, LLC's Exhibit 16 is received

       11   into evidence.)

       12   BY MR. LAMBERSON:

       13   Q    All right.    So, Mr. Nelms, you said you hadn't seen this

       14   before, but I think you'll probably be familiar with the

       15   information on it generally.       So let's walk through this

       16   quickly.     So, this is the Top 20 List of Creditors.       The first

       17   creditor is Redeemer Committee, listed as litigation, do you

       18   see that, for about $190 million?

       19   A    Yes.

       20   Q    And that's the arbitration award that precipitated this

       21   filing, correct?

       22   A    It is.

       23   Q    Okay.    So the next claim is Pat Daugherty, litigation

       24   claim.   It's $11.7 million.      Do you see that?

       25   A    Yes.




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        1   Q    So, do you know what is Mr. Daugherty's history with

        2   Highland Capital?     And try to keep it under five minutes.

        3   A    Yeah.    Mr. Daugherty is a former employee.       And I know he

        4   has some contractual disputes with the company based upon his

        5   separation.

        6   Q    Right.    And he's a long-time litigant with Highland

        7   Capital, correct?

        8   A    He is, yes.

        9   Q    Yes.    So the next one is CLO HoldCo.       This is about $11.5

       10   million.     CLO HoldCo is an insider of the Debtor, correct?        If

       11   you know.

       12   A    Is -- is it an insider?       I don't know.

       13   Q    Okay.    Well, Grant Scott, the party here, is Mr. Dondero's

       14   college roommate.     Do you know that?

       15   A    That's my understanding, yes.

       16   Q    Okay.    So, Creditor #4, McKool Smith, for two point --

       17   roughly $2.1 million.       Do you see this?     This is for

       18   attorneys' fees incurred by Highland Capital, correct?

       19                MR. MORRIS:    Objection, Your Honor.    I still fail to

       20   see how this is at all connected to any of the elements of

       21   327(e) or the retention of Foley.

       22                THE COURT:    Okay.   I overrule.

       23   BY MR. LAMBERSON:

       24   Q    So, this is -- this -- these are fees incurred by Highland

       25   Capital, you know, a variety of venues, right, including this




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                                         Nelms - Cross                        102


        1   one, state court fights against Mr. Terry, right?

        2   A    I thought -- McKool Smith, I thought they were involved in

        3   the Redeemer litigation, but they may be involved in other

        4   litigation as well.

        5   Q    Okay.    Fair enough.    And do you know, this claim is

        6   disputed by the Debtor, correct?

        7   A    Yes.

        8   Q    Okay.    And do you know, obviously subject to the stay, but

        9   do you know if this claim is being arbitrated or has been sent

       10   to arbitration?

       11   A    No, I don't know any -- no, I don't know.

       12   Q    Okay.    That's fair enough.    So, then #5 -- I'll move it

       13   along here.    Meta Discovery, Meta-e Discovery, they're a

       14   litigation vendor, right?

       15   A    I'm sorry, would you ask your question again?

       16   Q    Meta-e Discovery, the next creditor.       They're a litigation

       17   vendor and they provide litigation support services?

       18   A    I don't know what they do.

       19   Q    Okay.    Fair enough.    Foley Gardere.   Obviously, that's the

       20   law firm you all are seeking to have engaged.        DLA Piper.

       21   This relates to fees incurred in connection with the Terry

       22   arbitration award, correct?

       23   A    I think so.

       24   Q    Okay.    Reid Collins.    These are fees related to the UBS

       25   lawsuit, correct?




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        1   A    I don't know.

        2   Q    Okay.    Josh and -- Joshua and Jennifer Terry.      This is a

        3   litigation claim, right?       This is -- this is an IRA claim,

        4   right?

        5   A    It is.

        6   Q    NWCC.    This is also a litigation claim?      In other words, a

        7   litigant fighting with Highland?

        8   A    I can only intuit that just because of the fact that it's

        9   a law firm.

       10   Q    Okay.    Fair enough.    So, out of the Top 20 -- or, out of

       11   the Top 10 Creditors, basically, they're all litigants or

       12   attorneys paid to fight litigants, with the exception of

       13   Dondero's college roommate.       Right?

       14   A    With the exception of what?

       15   Q    Mr. Dondero's college roommate that has a claim based on

       16   some entity.

       17   A    Yes.    They're -- they all have some nexus to litigation.

       18   Q    Okay.    And let me just ask you:       If you were able to

       19   completely set aside all of Highland Capital's litigation

       20   issues, right, just like -- just like the concept of the order

       21   for relief appeal makes the Acis bankruptcy go away forever,

       22   if you could snap your fingers and make all of Highland's

       23   litigation go away forever, would Highland have any financial

       24   problems at all?

       25   A    Well, I don't know that I know the answer to that, but I




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        1   -- but it's certainly to say that litigation up to this point

        2   has been the driving force behind its bankruptcy filing.

        3   Q    Okay.    Fair enough.    Okay.   So, Mr. Nelms, would you turn

        4   -- could you turn to Acis Exhibit 27?

        5   A    Okay.

        6   Q    Do you have that?

        7   A    I do.

        8   Q    Okay.    And can you identify Exhibit 27?

        9   A    Yes.    My understanding is that this was the lawsuit that

       10   was filed by the DAF and CLO HoldCo in the Southern District

       11   of New York.

       12   Q    Okay.    And so I had mentioned this in my opening, and I

       13   believe counsel had asked you about what we call the DAF

       14   litigation.    Is this the complaint that's the basis of the DAF

       15   litigation?

       16   A    Yeah, that's my understanding.       It is.

       17   Q    Okay.    And I think you had testified earlier that the

       18   board was actually shown a copy of this complaint, was before

       19   it was filed, and --

       20   A    I wouldn't call it -- I'm sorry, go ahead, ask your

       21   question.

       22   Q    No, no, I -- that's fine.

       23   A    I wouldn't call it a board presentation.       I just remember

       24   it being handed to Mr. Dubel and Mr. Dubel looking at it,

       25   asking what it was, and saying, Tell them not to do this.




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        1   Q    Okay.    Thank you.    And -- but it's your understanding that

        2   the complaint was filed anyway?

        3   A    It is my understanding it was filed later.

        4   Q    Okay.    And in fact, this has a file-stamp at the top,

        5   which I'm sure you're very familiar with.        Correct?   Has a

        6   PACER file-stamp at the top.

        7   A    Right.

        8   Q    Right.

        9                MR. LAMBERSON:   So, Your Honor, we'd ask for the

       10   admission of Exhibit 27.

       11                THE COURT:    Any objection?

       12                MR. MORRIS:    No objection.

       13                THE COURT:    Admitted.

       14        (Acis Capital Management GP, LLC's Exhibit 27 is received

       15   into evidence.)

       16                MR. LAMBERSON:   And I'll be relatively quick.

       17   BY MR. LAMBERSON:

       18   Q    I had mentioned in my opening that we -- I should say Acis

       19   was concerned that Highland Capital Management had some

       20   participation in this, and I probably should have been clearer

       21   in saying that Highland Capital Management employees had some

       22   participation in Exhibit 27.       Has the Board done any

       23   investigation as to whether any Highland Capital employees

       24   were involved in the preparation of Exhibit 27 or the filing

       25   of Exhibit 27?




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        1   A    No, we have not.    At least, let me speak for myself.      I

        2   haven't done that investigation.

        3   Q    Uh-huh.   And your counsel had mentioned that -- I believe

        4   this is correct -- your counsel had mentioned that you all had

        5   reached out -- the Board, I should say -- reached out to Grant

        6   Scott, who's the -- who's in control of the DAF as well as CLO

        7   HoldCo, and, you know, had sort of convinced them that it

        8   probably -- to dismiss this lawsuit.        Correct?

        9   A    Yes.

       10   Q    Okay.   And but do you -- as far as you know, it hasn't

       11   been dismissed yet?

       12   A    It hasn't been dismissed.      There's some kind of technical

       13   things there, and I don't know if you want to go into them or

       14   not, but it hasn't been dismissed, but I have a high degree of

       15   certainty that this is going to get dismissed.

       16   Q    Okay.   Fair enough.    And are you aware that there was

       17   already a press release issued related to this lawsuit that

       18   was picked up by various CLO publications?

       19   A    When you say "already," are you talking about a specific

       20   time?

       21   Q    Well, that -- I guess what's I'm getting at is are you

       22   aware that the filing of this lawsuit has already resulted in

       23   various articles in CLO journals, periodicals?

       24   A    I'm aware of it having appeared in one publication.

       25   Q    Okay.   And so is it fair to say that the damage is already




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        1   done and that, you know, dismissal of these claims probably

        2   isn't really all that -- isn't really all that significant

        3   when they've already, you know, put it in the press?

        4   A   I don't know if the damage has already been done or not.

        5   Q   Okay.

        6               MR. LAMBERSON:   Give me just a second, Your Honor.

        7               THE COURT:   Okay.

        8       (Pause.)

        9   BY MR. LAMBERSON:

       10   Q   So, there is actually one other -- there is one point.

       11   And I told you in advance that I was afraid I might be jumping

       12   around a little bit, so I'm going to jump around a little bit.

       13   Let me go back to the order for relief appeal.      So, this is

       14   the appeal of the Court's order for relief that started the

       15   Acis bankruptcy.

       16       One of the things you testified about related -- on your

       17   direct testimony is one of the benefits, one of the potential

       18   benefits, understanding we don't know what's going to happen,

       19   of the order for relief appeal is that if the -- if that

       20   ruling was reversed and the Acis bankruptcy went away, then

       21   the adversary would go away, the adversary between Acis

       22   Capital Management and Highland Capital Management.       Correct?

       23   A   Well, yes.     In my opinion, the adversary opinion -- excuse

       24   me, the adversary proceeding would go away.      Would a lawsuit

       25   under TUFTA be avoided altogether by Mr. Terry?




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        1   Q    Right.

        2   A    I don't know that it would take that away.

        3   Q    Okay.    And that's -- you actually anticipated my question,

        4   --

        5   A    Uh-huh.

        6   Q    -- which was:    It's fair to say that, even if the

        7   adversary went away between Acis and Highland Capital

        8   Management, that the -- certain of the claims in the adversary

        9   -- for example, the fraudulent transfer claims or derivative

       10   claims -- would not necessarily go away because they could be

       11   asserted by Mr. Terry as a judgment creditor, correct?

       12   A    They could, but the consequences of asserting that claim

       13   outside of bankruptcy are vastly different than asserting them

       14   inside of a bankruptcy case.

       15   Q    Uh-huh.    Right.

       16   A    At least potentially.

       17   Q    And just to close the thought here, are you aware that one

       18   of Acis's main arguments during the order for relief trial was

       19   that we didn't need an involuntary, that Mr. Terry could just

       20   go litigate all that stuff in state court?

       21   A    Yeah, I think so.    I think I am aware of that.     Yes.

       22   Q    Okay.    So you'd agree with me that, even on your possible

       23   day on the order for relief appeal, that doesn't make the --

       24   what I'll call the Terry litigation, right, the judgment

       25   litigation, go away?




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        1   A    No.   No.   The reversal on appeal would not necessarily

        2   make the Terry litigation go away.

        3   Q    Okay.    Thank you.

        4                MR. LAMBERSON:    That's all I have, Your Honor.

        5                THE COURT:    All right.   Redirect?

        6                MR. MORRIS:    I just have a few questions, Your Honor.

        7                THE COURT:    Okay.

        8                              REDIRECT EXAMINATION

        9   BY MR. MORRIS:

       10   Q    Can you turn to Exhibit 16 in your binder, sir?

       11   A    Which one?

       12   Q    I guess it's the Acis exhibits.

       13   A    The Acis?    Okay.

       14   Q    Yeah.    The List of Top 20 Creditors.

       15   A    Okay.

       16   Q    You were taken through each and every one of those to make

       17   the point that they're largely litigation claims.          Is that

       18   fair?

       19   A    Say again, please?

       20   Q    You were taken through many of those creditors to

       21   establish that --

       22   A    I was.

       23   Q    -- that the Debtor was involved in a lot of litigation; is

       24   that right?

       25   A    It was.




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        1   Q    Okay.    And the Board was appointed on January 9th; is that

        2   right?

        3   A    Yes.

        4   Q    Did the Board have anything to do with any of the claims

        5   that are set forth in Exhibit 16?

        6   A    No.

        7   Q    Did the Board authorize the filing of any suits that are

        8   related to any of the claims that are set forth in Exhibit 16?

        9   A    No.

       10   Q    Did the Board direct the defense of any suits that were

       11   commenced against Highland with respect to Exhibit 16?

       12   A    No.

       13   Q    Okay.    Has the Board been trying to diminish and eliminate

       14   litigation where it thought it was in the Debtor's best

       15   interests?

       16   A    It has.

       17   Q    And is that, for example, why the Board decided not to

       18   pursue the Winstead matter?

       19   A    It is.

       20   Q    Is that why the Board has used its efforts to try to

       21   thwart the DAF litigation?

       22   A    Yes.

       23   Q    Does the Debtor control DAF?

       24   A    The Debtor does not control the DAF.

       25   Q    Okay.    Did the Debtor authorize -- withdrawn.     Did the




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        1   Board authorize the filing of the DAF complaint?

        2   A    It did not.

        3   Q    Did the Board know the DAF complaint was going to be

        4   filed?

        5   A    Well, I mean, I know Mr. Dubel was presented with a copy

        6   of the complaint.    We had noticed that that document existed.

        7   But it came as somewhat of a surprise to us when it got filed.

        8   Q    It came as a surprise to you?

        9   A    It did.

       10   Q    Because that's not what was expected after Mr. Dubel said,

       11   Don't file it.     Right?

       12   A    Right.

       13   Q    Okay.    You were asked a bunch of questions on cross about

       14   different possibilities and results and potential orders from

       15   the Fifth Circuit on the assumption that the appeal was

       16   granted.     Do you remember that?

       17   A    Yes.

       18   Q    And some of them were purported to be better or worse for

       19   the Debtor.     Do you remember that?

       20   A    Yes.

       21   Q    If the appeal is not prosecuted, is there any chance that

       22   the contracts that the Board has focused on will be

       23   reinstated?

       24   A    No.

       25   Q    Is it fair to say that if the appeal is not prosecuted the




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       1   chances of the Debtor recovering the tens of millions of

       2   dollars of revenue will be exactly zero?

       3   A    Well, I don't know that it's exactly zero, but severely

       4   diminished.

       5   Q    Yeah.    How about getting paid a hundred-cent dollars on

       6   the $8 million claim that's in the Acis litigation?        If the

       7   appeal is not prosecuted, is there any chance that the Debtor

       8   is likely to recover hundred-cent dollars?

       9   A    Again, that possibility is severely diminished.

      10   Q    Uh-huh.    How about with respect to terminating the

      11   adversary proceeding in the Acis litigation?       If the appeal is

      12   not prosecuted, is there any possibility of that adversary

      13   proceeding just going away and being left with the arbitration

      14   that you've described?

      15   A    Again, a severely diminished possibility.

      16   Q    You mentioned that the $8 million fraudulent transfer as

      17   part of an arbitration would be very different outside of a

      18   bankruptcy case.    Do you remember saying that?

      19   A    I do.

      20   Q    Can you explain to the Court why you believe it would be

      21   different outside of a bankruptcy case?

      22   A    Well, it actually goes to a case that started in my court.

      23   This was the MCAR v. Commerzbank case in In re Mirant, and the

      24   issue in that case, Mirant, when it filed its petition in

      25   bankruptcy, was insolvent, but by the time that its bankruptcy




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        1   concluded, Mirant was a solvent entity.      And so all of its

        2   creditors were paid in full, but the trust that was

        3   established in the Mirant case brought some fraudulent

        4   transfer claims that were predicated on solvency, where these

        5   were constructively fraudulent as opposed to actual.

        6        And so the question was, if all the creditors had been

        7   paid in full, is there standing to bring fraudulent transfer

        8   claims that would basically not benefit creditors but would go

        9   to equity?

       10        I originally -- I ruled that there was no such -- that you

       11   couldn't bring such a cause of action, that the satisfaction

       12   of claims in full extinguished those claims.       And I do recall

       13   that one of the interesting things about that case is that a

       14   lady named Elizabeth Warren wrote -- or proposed -- she

       15   submitted -- they submitted an expert opinion on her behalf,

       16   which I wouldn't let them file because I took the position

       17   that I was an expert, the expert in the Court.

       18        And in any event, it turns out I wasn't the expert.        I was

       19   reversed by Judge Means on that, who said that it's not

       20   limited.   It went up to the Fifth Circuit, and the Fifth

       21   Circuit ruled the same thing.

       22        So my takeaway from all of this is that, in a bankruptcy

       23   setting, as opposed to just a state court setting, that the

       24   potential recovery on account of fraudulent transfers is much

       25   broader, much more unlimited than it would be in the context




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        1   of a state court lawsuit.

        2        So, now, there may be things that would distinguish that,

        3   but that's something to be -- that's something to be troubled

        4   about if you're a director of this company.

        5   Q    And are these the types of things that, without, you know,

        6   just divulging privileged communications, are these the type

        7   of experiences and perspectives that you've shared with the

        8   other board members in the context of considering the various

        9   motions, the various matters for which Foley's retention is

       10   sought?

       11   A    Yes.

       12   Q    Okay.

       13                MR. MORRIS:    Just one second, Your Honor.

       14                THE COURT:    Okay.

       15        (Pause.)

       16                MR. MORRIS:    Nothing further, Your Honor.

       17                THE COURT:    All right.   Any recross on that redirect?

       18                MR. LAMBERSON:    No, Your Honor.

       19                THE COURT:    All right.   Thank you, Mr. Nelms.

       20        (The witness steps down.)

       21                THE COURT:    Any other evidence from Highland?

       22                MR. MORRIS:    Your Honor, we have had admitted our

       23   exhibits.     Among those exhibits are two declarations from Ms.

       24   O'Neil, and so she's available in the courtroom today if

       25   anybody wants to cross-examine on those issues.




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        1                THE COURT:   All right.   Well, I will accept those

        2   declarations as direct evidence.        Any desire to cross-examine

        3   Ms. O'Neil?

        4                MS. PATEL:   Yes, Your Honor.

        5                THE COURT:   All right.   Ms. O'Neil, we'll go ahead

        6   and swear you in on this today.

        7                  HOLLAND O'NEIL, DEBTOR'S WITNESS, SWORN

        8                THE COURT:   All right.   Please be seated.

        9                              CROSS-EXAMINATION

       10   BY MS. PATEL:

       11   Q    Good afternoon, Ms. O'Neil.

       12   A    Good afternoon.

       13   Q    Ms. O'Neil, do you concurrently represent both Highland

       14   Capital Management and Neutra, which is a Cayman entity,

       15   correct?

       16   A    Yes.

       17   Q    Okay.    There are other entities that you either represent

       18   or have represented that are kind of affiliated or within the

       19   Highland umbrella; is that correct?

       20   A    Yes.

       21   Q    Okay.    And that includes, for example, CLO HoldCo was one

       22   such representation.      Isn't that right?

       23   A    Previous.    Previously.

       24   Q    Okay.

       25   A    Not currently.




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        1   Q    Okay.    So, and I believe you say that in your declaration,

        2   right, that you didn't -- that you no longer represent CLO

        3   HoldCo?

        4   A    Correct.

        5   Q    Okay.    And when did that representation cease?

        6   A    It was -- it was very brief.     I came into the case after

        7   the involuntary -- after the orders for relief were entered.

        8   And at that time, there had been the motion to intervene that

        9   included that entity, and it was determined to proceed with an

       10   appeal on that motion to intervene, or the denial of the

       11   motion to intervene, as well as the orders for relief.

       12   Actually, there was a compendium of orders that were appealed

       13   all at the same time.

       14        And so, because that entity had also filed a motion to

       15   intervene, we had included that in the appeal.       And at that

       16   time I was retained, but then by the time we kind of analyzed

       17   the issues, determined it was not necessary to proceed with

       18   that appeal, then I no longer represented that entity and

       19   disengaged.

       20   Q    Okay.    But CLO -- to be clear, CLO HoldCo was actually an

       21   appellant for the order for relief appeal that we've been

       22   talking about today, correct?

       23   A    Initially, yes.

       24   Q    Okay.    And it still remains an appellant; it just didn't

       25   file a brief in the involuntary appeal.      Isn't that right?




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        1   A    It has not filed any brief.      And I would have to look at

        2   the record if it even filed a notice to the Fifth Circuit.            It

        3   did -- was included in the notice to the District Court.          I

        4   just honestly can't recall if it was included in the -- in any

        5   notice to the Fifth Circuit.

        6   Q    Okay.    And did you ever withdraw from your representation

        7   of CLO HoldCo in the District Court appeal?

        8   A    What do you mean, withdraw?

        9   Q    Well, I mean, you entered an appearance.

       10   A    You mean file a notice with the -- with the Court?

       11   Q    Right.

       12   A    I can't recall.

       13   Q    Okay.    Ms. O'Neil, with respect to Neutra, you understand

       14   and you've heard testimony, and I believe it's in the

       15   declarations in support of the retention papers for Foley, and

       16   if you need to look at that I can direct you to the exhibit

       17   book, but it's -- is it your understanding that ultimately

       18   Neutra is owned 75 percent by Mr. Dondero and 25 percent by

       19   Mr. Okada?

       20   A    Yes.

       21   Q    Okay.    And Ms. O'Neil, in connection with your

       22   representation of Neutra, who are the human beings that you

       23   interact with?    Who directs your services?

       24   A    At -- currently?    Are you --

       25   Q    Just on behalf of Neutra.




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        1   A      Predominantly, I get direction from Highland's in-house

        2   counsel.

        3   Q      Okay.   And who would that be?    Who are the people?

        4   A      The people are Mr. J.P. Sevilla, Mr. Isaac Leventon, Ms.

        5   Stephanie Vitiello.       Those are the primary individuals that

        6   direct vis-à-vis Neutra.

        7   Q      Okay.   Have you ever spoke with Mr. Dondero regarding your

        8   representation of Neutra?

        9   A      Yes.

       10   Q      Okay.   And when was that?    When was the last time?

       11   A      It has -- it's been a while.     Certainly, it hasn't been

       12   since this bankruptcy was commenced.        I think the last time I

       13   recall discussing that specifically is when we were together

       14   at the mediation during the course of the bankruptcy.          And I'd

       15   have to look at my calendar.        I can't recall exactly when that

       16   was.

       17   Q      Okay.   And what about Mr. Okada?    Have you -- when was the

       18   last time you spoke with Mr. Okada?

       19   A      I have never spoken with Mr. Okada.

       20   Q      During the course of your entire representation of Neutra,

       21   you've never spoken with Mr. Okada?

       22   A      That is correct.

       23   Q      Okay.   And under -- do you have an understanding of under

       24   what authority Mr. Sevilla or Mr. Leventon or Ms. Vitiello

       25   would have to direct your legal services on behalf of Neutra?




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        1   A    Generally, yes, through the direction from the owners of

        2   Neutra.

        3   Q    Okay.   That would be Mr. Dondero and Mr. Okada?

        4   A    Correct.

        5   Q    Okay.   And it's your understanding, then, that Mr. Dondero

        6   and Mr. Okada have directed Highland's legal department to

        7   direct your services?

        8   A    Yes.    Previously, yes.

        9   Q    Okay.   Do you have -- is there a contract between Neutra

       10   and Highland, or --

       11   A    I don't know.

       12   Q    Okay.   Did you ever ask if there was one?

       13   A    No, I did not.

       14   Q    Okay.   In connection with your representation of Neutra,

       15   do you bill separately for the Neutra representation?

       16   A    Since the bankruptcy was -- since the Highland bankruptcy

       17   was commenced, we set up a separate task code to track the

       18   fees being incurred on the Neutra appeal.      Prior to the

       19   bankruptcy, we did not have a reason to do that.

       20   Q    Okay.   So let's talk about prior to the bankruptcy.        I

       21   believe in your declaration it was disclosed that there were

       22   approximately $2.1 million in billings relating to your

       23   representation of Highland, Neutra, and certain of the

       24   Highland Cayman entities:       Highland CLO Management, Highland

       25   CLO Holdings, and HCF Advisor, amongst others.       Right?




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        1   A      That sounds about right.    I might want to look at the

        2   declaration just to confirm on the number, but that sounds

        3   about right.

        4   Q      Okay.   Well, your declaration can be found under Tab 10.

        5   A      Okay.   (Pause.)    And are you referring to Paragraph 16?

        6   Q      Well, if you look at Page -- at the bottom, you'll see

        7   that there's page numbers, and it says Page 15 of 48.           And

        8   this would be your declaration.

        9   A      Oh, thank you.     I was looking at the --

       10   Q      Uh-huh.    Paragraph 3.

       11   A      -- at the application, that's all.     Correct.   Yes.     Thank

       12   you.

       13   Q      Firm-earned fees of two point -- roughly $2.15 million,

       14   almost, correct?

       15   A      Yes.

       16   Q      Okay.   And there's about $1.4 million of that that was

       17   unpaid from the pre-petition period, correct?

       18   A      Correct.

       19   Q      Okay.   And is it your testimony that, of the $2.15 million

       20   in fees, that there was no apportionment between Highland,

       21   Neutra, and the Cayman defendants?

       22   A      Correct.

       23   Q      Okay.   So, --

       24   A      Not -- not in my account -- not through my accounting

       25   processes.       Obviously, the time entries, you could parse them




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        1   out, if need be.

        2   Q     Okay.   But you didn't keep your time necessarily that way,

        3   where they were already apportioned and parsed?

        4   A     Not under separate task codes, --

        5   Q     Okay.

        6   A     -- as we have done post-bankruptcy.

        7   Q     So, in connection with the billings that would have

        8   represented that $2.15 million, were those bills submitted to

        9   Highland, to Neutra, to the Cayman defendants?

       10   A     They are submitted through an e-billing process that it

       11   goes through a Highland portal and -- in the aggregate.         So

       12   they're submitted through that portal.

       13   Q     Okay.   But the portal goes to Highland, correct?

       14   A     I do not know.   I honestly -- our e-billing department

       15   handles it and I just know it goes through e-billing, an e-

       16   billing portal, and I don't know exactly.      I'm assuming

       17   obviously it goes to Highland.      They certainly get copies of

       18   it.

       19   Q     Okay.   Did you or Foley ever submit a bill to Neutra?

       20   A     I mean, my understanding is that, going through the

       21   portal, we would go to the various parties that are affiliated

       22   with Highland.

       23   Q     Okay.   But you've never directly sent a bill to Neutra for

       24   your representation of Neutra?

       25   A     As I said, it goes through e-billing, so that could be




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        1   interpreted to go directly to them if it goes through an e-

        2   billing process.

        3   Q    Okay.    But I'm asking, have you ever --

        4   A    I'm -- maybe I'm being hyper-technical, but I'm just --

        5   Q    Right.

        6   A    It's being submitted through --

        7   Q    I understand, but I just -- here's where I want to just

        8   direct us, is:     Have you ever addressed a bill to Neutra, Ltd.

        9   care of either Mr. Dondero, Mr. Okada, or its formal business

       10   address?

       11   A    As I indicated, post-petition, we have been segregating

       12   them under a different task code and indicating it's Neutra.

       13   Pre-petition, it was all under the same invoice.

       14   Q    That was submitted to Highland only?

       15   A    Submitted through the e-billing process.

       16   Q    To Highland only, right?

       17                MR. LAMBERSON:   Objection to the form of the

       18   question.     This has been asked about four times.      The witness

       19   is very clear.

       20                THE COURT:   Overruled.   I think she's trying to get

       21   an exact answer to her question, and she feels like she's not

       22   getting it.     So, overruled.

       23                THE WITNESS:   Okay.   Then I apologize, Your Honor.

       24   I'm not -- I just don't know technically, once it goes through

       25   the e-billing, how it's distributed on the other side.             I




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        1   just, I honestly --

        2                THE COURT:   I think the question is, to whom was the

        3   invoice directed?

        4                THE WITNESS:   In terms of the -- not where it was

        5   sent, but who it's directed to?

        6   BY MS. PATEL:

        7   Q    Yes.

        8   A    It would have -- I believe it has the entities on it.        It

        9   definitely has Highland on it for sure.

       10   Q    Okay.    Does it have Neutra on it?

       11   A    Neutra is subject to the engagement letter, so it would be

       12   applicable to -- if our accounting department didn't

       13   technically put Neutra on it, that is not necessarily at any

       14   moment being -- as the engagement letter is -- was with all

       15   those parties.     So I would have to look at the invoice, if it

       16   has all of the clients listed on there.         I honestly -- I just

       17   can't remember right now.

       18   Q    Okay.    Well, --

       19   A    We do have some post-petition invoices, and you'll see

       20   where they're segregated with Neutra.

       21   Q    You raise an interesting point.         If Highland and Neutra

       22   and the other entities are all part of the engagement letter,

       23   is Neutra also liable for all of Highland's legal fees?

       24   A    I don't know the answer to that.

       25   Q    Okay.    Is it your position that because Highland, Neutra,




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        1   and the Cayman defendants are all part of the engagement

        2   letter, that Highland is responsible for Neutra's legal fees?

        3   A    From my firm's standpoint?

        4   Q    Yes.

        5   A    I think the, you know, our perspective is that they were

        6   -- we were primarily working for Highland, so the beneficial

        7   work, and as I think the Court knows, most of the work here

        8   was on behalf of Highland Capital Management.       And it's in our

        9   engagement letter to that effect, effectively.

       10   Q    Sitting here today, Ms. O'Neil, post-petition, who's

       11   calling the legal shots for purposes of Neutra?

       12   A    The -- well, where we have been is the process with the

       13   Fifth Circuit.    The Fifth Circuit schedule was already set

       14   pre-petition, and we have just been complying with the pre-

       15   petition -- or, rather, that schedule, which has rolled post-

       16   petition.    And so our direction pre-petition has just

       17   continued in terms of proceeding with the briefing.       And so,

       18   again, going back to who it was pre-petition, it's the same

       19   legal team giving instructions on behalf of Neutra.

       20   Q    Okay.   And if the question were to be posed, for example,

       21   whether the Neutra involuntary or the order for relief appeal

       22   should be dismissed, for example, who would call the legal

       23   shots on that?    Who would make the decision on that?

       24   A    To dismiss the appeal?

       25   Q    Yeah.




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        1   A    Not proceed with it up to this point?      Despite where we

        2   are at this point, to just -- to just drop it?

        3   Q    Yes.

        4   A    It would be the owners of Neutra.

        5   Q    So that would be Mr. Dondero and Mr. Okada, right?

        6   A    Yes.

        7   Q    Okay.    You -- Ms. O'Neil, were you in the courtroom when

        8   Mr. Demo or -- and Mr. Nelms -- when Mr. Demo made the opening

        9   statement and then when Mr. Nelms was testifying?

       10   A    Yes.

       11   Q    Okay.    And you heard, again, the opening statement and

       12   then the testimony regarding the benefit to Highland of

       13   Highland paying for Neutra's legal fees in connection with the

       14   appeals, correct?

       15   A    I did hear that, yes.

       16   Q    Okay.    All right.   And can you, in your words, then,

       17   articulate, from your perspective as legal counsel to both

       18   entities, what the benefit is to Highland in this bankruptcy

       19   for Foley's representation of Neutra and Highland paying the

       20   bill for it?

       21   A    I just want to make sure I'm not, you know, getting onto

       22   attorney-client privileged discussions in terms of the

       23   benefit.     I think I would agree with what has been stated in

       24   court today.

       25   Q    Okay.    So, so, and just to kind of recap that, if I




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        1   understand it, it's that if Neutra is successful in its appeal

        2   of the involuntary orders for relief and also its appeal of

        3   the confirmation order, then everything goes back and Highland

        4   gets this revenue stream, correct, of about $12 million, plus

        5   it gets paid on an $8 million, approximately, purported claim.

        6   Right?

        7   A   That the -- the agreements would be reinstated, which

        8   would then yield approximately that type of revenue stream as

        9   -- pursuant to the sub-advisor and sub-management agreements

       10   that were in place.

       11   Q   Okay.    And one of the entities -- and I know that the

       12   retention application doesn't actually go to, anymore, Foley's

       13   representation of the Cayman entities, but -- that's kind of

       14   been put to the side.    But you do -- and you do represent

       15   Highland CLO Management, correct, which is a Cayman entity?

       16   A   Correct.

       17   Q   All right.    And it's one of the defendants in the Acis

       18   adversary proceeding, right?

       19   A   And that is the only engagement that we have for that

       20   party, is in conjunction with that adversary proceeding, which

       21   is stayed.   So nothing is going on with that right now.

       22   Q   Well, I understand that, but you --

       23   A   Okay.

       24   Q   My question was, you represent Highland CLO Management,

       25   correct?




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        1   A    In that adversary proceeding.

        2   Q    Okay.    So -- but you also represent it in connection with

        3   -- in -- generally with the bankruptcy as well, Acis's

        4   bankruptcy?

        5   A    There was no involvement until the adversary proceeding,

        6   until they were sued in the adversary proceeding.

        7   Q    Okay.    And in the adversary proceeding, Highland CLO

        8   Management was sued for a few things, correct?

        9   A    In the adversary proceeding?

       10   Q    Yes.

       11   A    Yes.

       12   Q    Okay.    Highland CLO Management, for example, received a

       13   $9.5 million note that Acis was previously the holder of and

       14   that was transferred after Mr. Terry's judgment, correct?

       15   A    Are you asking if that was an allegation in the adversary

       16   proceeding?

       17   Q    Sure.

       18   A    I --

       19   Q    Right.

       20   A    That sounds right.    That's been stayed, and I would have

       21   to defer to the -- obviously, the second amended complaint and

       22   the allegations therein.     So, --

       23   Q    Okay.    And are you aware that your client, Highland CLO

       24   Management, was also sued because it was to receive the

       25   portfolio management agreements under which Acis represents --




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        1   or, I'm sorry, manages the Acis CLOs?

        2   A    That was -- that sounds like one of the allegations from

        3   that point in time.

        4   Q    Okay.   So I guess let me -- let me ask you a slightly

        5   different way.    Are you aware that there was a pre-petition

        6   agreement that was entered into and signed by Mr. Dondero that

        7   transferred the PMAs from Acis to Highland CLO Management?

        8   A    I cannot recall the -- all the evidence at the -- in

        9   conjunction with that at this time, but if that's one of your

       10   representations.    I wasn't representing any of the parties at

       11   that time, but I do recall that there may have been some

       12   evidence presented in that regard.      But I would have to look.

       13   It's been a long time.    And that record is hundreds of

       14   thousands of pages.    I would need to check back on that.

       15   Q    Okay.   But if there were such an agreement, for example,

       16   that transferred the portfolio management agreements from Acis

       17   to another entity, a Cayman entity, can you agree with me,

       18   then, that Mr. Dondero's ownership interest in Neutra would

       19   really be of no import anymore because there wouldn't be a $12

       20   million revenue stream anymore, would there, if Acis wasn't

       21   the portfolio manager of the Acis CLOs?

       22   A    I don't agree with the premi... at the end, when you said,

       23   if Acis isn't the CLO manager, then there would be no revenue

       24   stream from the CLOs if it's not reinstated as the -- as the

       25   manager.




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        1   Q    Okay.   So you agree that if Acis isn't the portfolio

        2   manager of the Acis CLOs, there's no $12 million revenue

        3   stream potential to Highland by virtue of Highland coming back

        4   in as the sub-advisor and shared services provider, right?

        5   A    Okay.   Now, the -- no, I don't know that that's

        6   necessarily the case.

        7   Q    Well, why not?

        8   A    It could be appointed to be the sub-advisor, sub-manager

        9   for -- through a different entity.

       10   Q    Okay.   So it would basically be -- but, again, going back,

       11   it would be through a different entity.      Again, Mr. Dondero's

       12   ownership of Neutra would be of no import then, right?

       13   A    Perhaps I'm not understanding your question.

       14   Q    Well, --

       15   A    I -- it's a hypothetical, and I --

       16   Q    If Acis -- if Acis didn't have these portfolio management

       17   agreements, it doesn't matter if Mr. Dondero wins the Neutra

       18   appeal or not, right?    Because he wouldn't have control of the

       19   Acis entity within which to redirect, through Acis, the sub-

       20   advisory and the shared services agreements, correct?

       21   A    He could direct it through another entity, as I think it's

       22   been well-discussed that Highland had -- Highland had the

       23   personnel to manage the CLOs.       In fact, Mr. Terry was a

       24   Highland employee when he managed the CLOs.       So he could

       25   certainly direct that management through another entity, even




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        1   if it wasn't Acis.        But vis-à-vis Neutra, Neutra would be --

        2   well, before the confirmation of the plan, Neutra owned Acis.

        3   So, vis-à-vis through Neutra, I believe your statement would

        4   be correct.

        5   Q    Okay.    Ms. O'Neil, also as sort of a participant during

        6   the Acis bankruptcy cases --

        7                MS. PATEL:    And Your Honor, I know you're intimately

        8   familiar with all of these.

        9   BY MS. PATEL:

       10   Q    But Ms. O'Neil, do you recall the multiple attempts during

       11   the bankruptcy case to effectuate what was called an optional

       12   redemption, which sought to liquidate the Acis CLOs?

       13   A    By HCLOF, I believe there were two instances, yes.

       14   Q    Okay.    HCLOF executed those optional redemptions, correct?

       15   Mr. Bill Scott, one of the independent directors?        Is that

       16   right?

       17   A    I believe the evidence was presented before the Court --

       18   Q    Okay.

       19   A    -- in that regard.

       20   Q    And during the course of the -- all of those proceedings

       21   with the optional redemptions, Highland was the ultimate

       22   advisor to HCLOF, was it not?

       23   A    I'm not sure I understand what you mean by the ultimate

       24   advisor.

       25   Q    Well, the technical contractual advisor was an entity by




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        1   the name of Highland HCF Advisor, right?      Is the portfolio

        2   manager for Highland CLO Funding?

        3   A    It has been a while since I looked at that org chart or

        4   those issues, so I do not recall off the top of my head.

        5   Q    Okay.   Well, you said that you interacted, for example,

        6   with Neutra -- on your Neutra issues with JP Sevilla, Mr.

        7   Leventon, and Stephanie Vitiello, correct?

        8   A    Yes.

        9   Q    Okay.   Wasn't it really, from a legal perspective, at

       10   least, Mr. Sevilla, Mr. Leventon, who were all advising

       11   Highland CLO Funding as well?

       12   A    I don't know the answer.    You'd have to inquire of them.

       13   Q    So, is it your testimony, then, that Highland had nothing

       14   to do with the optional redemption notices that were issued

       15   during the course of the Acis bankruptcy cases?

       16   A    I'm not sure that I understand the relevance of that as to

       17   whether Highland had any -- had nothing to do with it.          I

       18   think they were certainly involved and were aware.       But they

       19   weren't the -- independently making those determinations.

       20   Q    Okay.

       21   A    As you know, Ms. Patel, there were directors that were

       22   involved.    They testified before this Court.     There -- HCLOF

       23   was represented by counsel as well.      King & Spalding.     So

       24   there were multiple parties involved.

       25   Q    Okay.   So is it, again, your testimony that Highland had




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        1   nothing to do with the optional redemption notices that were

        2   issued during the Acis bankruptcy case?

        3             MR. MORRIS:    Objection, Your Honor.      It may be me,

        4   but I don't understand what this has to do with the Foley

        5   retention application.

        6             THE COURT:    Okay.   We do seem like we're getting a

        7   little far afield.     What's your response to that?

        8             MS. PATEL:    Your Honor, the contention has been made

        9   that if these bankruptcy appeals are somehow granted or in the

       10   District Court and this Court are reversed, --

       11             THE COURT:    Uh-huh.

       12             MS. PATEL:    -- that these cases are going to come

       13   back and that suddenly, magically, there's going to be a $12

       14   million revenue stream flowing out of Acis back into Highland,

       15   and they're going to be able to collect on an $8 million

       16   objected-to claim.

       17        I'm just trying to get to how likely is that really to

       18   happen.   I mean, given the course -- and again, I know Your

       19   Honor was a viewer of all of this -- of the multiple attempts

       20   to try to liquidate these assets, --

       21             THE COURT:    Okay.   I'll allow the question, but it'll

       22   be the end of the line of questioning.       Okay?

       23             MS. PATEL:    Understood.    And Your Honor, just

       24   additionally, it's -- that's part of the appeal that Foley is

       25   handling on the confirmation appeal.       As Mr. Nelms said, it's




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        1   also based on the plan injunction.

        2                THE COURT:   All right.   She can answer the question,

        3   but then we move on to another area.

        4                MS. PATEL:   Okay.

        5   BY MS. PATEL:

        6   Q    So is it your testimony, Ms. O'Neil, that Highland had

        7   absolutely nothing to do with the optional redemptions --

        8   A    I did not --

        9   Q    -- during the bankruptcy case?

       10   A    That is not what I said.

       11   Q    Okay.    So, -- and I get it.     Highland CLO Funding is a

       12   different entity, and the Bankruptcy Court made findings with

       13   respect to the fact that it is controlled in every way by

       14   Highland.     Do you recall that finding?

       15   A    Preliminary findings in conjunction with determining

       16   whether there was a likelihood of success on the merits.           I do

       17   recall that --

       18   Q    Okay.

       19   A    -- those conclusions by the Court.

       20   Q    As a part of the bench memorandum in support of the

       21   confirmation order, correct?

       22   A    Yes.

       23   Q    Okay.

       24   A    Actually, I will -- I will -- I'll correct that.         I'll let

       25   that -- the Court's order speak for itself.         You may have said




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        1   a few things that were more or less than what the Court's

        2   order said, so I'd just defer to what the Court's order said.

        3   Q    Okay.    Well, part of the representation for Foley here is

        4   to represent Highland and Neutra in connection with the

        5   confirmation appeal, correct?

        6   A    Yes.

        7   Q    And part of that confirmation appeal is also -- one of the

        8   grounds there is that you're appealing the plan injunction,

        9   which the plan injunction is what stops the CLOs from being

       10   redeemed, correct?

       11   A    Correct.

       12   Q    Okay.    So, how is Highland damaged by the plan injunction?

       13   A    I think it's fairly obvi... again, I want to not tread too

       14   much on attorney-client privilege.      But, obviously, I have yet

       15   to have a client over my 30-plus years of practicing law that

       16   likes to be subject to any kind of injunction.       It limits --

       17   that injunction is more than just on the -- it's a very broad

       18   injunction.     So I'd like -- if I had the injunction in front

       19   of me, there's -- there's lots of restrictions under that

       20   injunction, and that is prejudicial to Highland to be able to

       21   act freely.

       22   Q    Able to act freely to liquidate CLOs?

       23   A    Among other things, as it may do in the ordinary course of

       24   business, in its opinion, that may be beneficial to his

       25   clients.




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        1   Q    Okay.    Now, Ms. O'Neil, --

        2   A    If I may, may I add one more thing?

        3                THE COURT:   You may.

        4                THE WITNESS:   Okay.    Highland, at least in that role,

        5   could not liquidate CLOs.       So I think that was an improper

        6   statement.     Or suggestion.

        7   BY MS. PATEL:

        8   Q    Okay.    Well, then, what specific actions that Highland

        9   would like to take is it being damaged by the injunction?

       10   A    I would need to look at the -- the injunction is very,

       11   very broad.     So, anything that it can't do freely that is

       12   covered by the injunction is obviously a detriment to

       13   Highland.

       14   Q    Okay.    Now, Ms. O'Neil, if you would turn to Tab 31 in the

       15   book, --

       16   A    All right.

       17   Q    -- please.    And I will ask you, this is the declaration of

       18   Bradley Sharp that was in support of the order authorizing the

       19   retention of Foley Gardere.         Have you had an opportunity to

       20   review this?

       21   A    Yes.

       22   Q    Any dispute with any of the statements in here?

       23   A    I don't recall having a -- I don't -- I think it was

       24   accurate, but --

       25   Q    Okay.    Well, when you read it, did you have any disputes




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        1   with the statements that were in here?

        2   A    I did not see it before it was filed, so -- but having

        3   read it after it was filed, I don't recall having any disputes

        4   with anything that was in it.

        5   Q    Okay.   And I'll turn you specifically to Paragraph 13,

        6   which is found on Page 4 of 5.

        7   A    Okay.

        8   Q    And I'll -- well, let's look at this together.       (reading)

        9   Prior to the petition date, the majority of Foley's and Lynn

       10   Pinker's fees and expenses were paid by a non-debtor entity,

       11   Highland CLO Funding Limited.

       12        Do you see that?

       13   A    Yes.

       14   Q    Okay.   And were Foley's bills sent to Highland CLO

       15   Funding?

       16   A    Yes.

       17   Q    Okay.   And is -- were those bills separate and apart from

       18   the $2.15 million that we talked about earlier that were

       19   remitted through the Highland e-billing system?

       20   A    Separate, yes.

       21   Q    Okay.   About how much in fees has Highland CLO Funding

       22   paid to Foley to date?

       23   A    Nothing post-petition.    Prior -- I mean, during -- from

       24   the inception of the representation of Highland, probably

       25   approximately -- over a million dollars, for sure.




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        1   Q    Over $2 million?

        2   A    I do not believe it is over $2 million.      It's somewhere

        3   between $1 and $2 million.

        4   Q    Okay.   And those separate matters that were billed to

        5   Highland CLO Funding, how did those differ from what was

        6   billed to Highland or to Neutra or to the Cayman defendants?

        7   A    If it was a matter that was clearly of some benefit to

        8   HCLOF, it was billed directly.      Otherwise, there was an

        9   allocation billing for just the general work.       And that was

       10   primarily through an indemnity agreement, as I understood it,

       11   between Highland and HCLOF.

       12   Q    Okay.   And who did the allocation between Highland and

       13   Highland CLO Funding?

       14   A    I was instructed as to what the allocation should be or

       15   asked what I thought the allocation should be on any given

       16   time, and I believe it was the -- it was discussed with the

       17   board of HCLOF as to the allocation.

       18   Q    Okay.   And who were you directed as to the categories of

       19   allocation by that you just referenced?

       20   A    You mean in terms of a person?

       21   Q    Yes.

       22   A    I most frequently discussed this with Mr. Sevilla, but

       23   also had conversations with Mr. Maloney, with King & Spalding,

       24   who was representing HCLOF, and occasionally would have direct

       25   conversations with Mr. Maloney and Mr. Scott and Ms. Bestwick,




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        1   who were the two independent directors of HCLOF.

        2   Q    Okay.    And what types of work generally either were

        3   allocated or apportioned or billed in full to Highland CLO

        4   Funding.     What was the benefit there?

        5   A    The work was -- the work that was going on in the

        6   bankruptcy case.

        7   Q    Okay.    But I -- I understand that it was work in the

        8   bankruptcy case because that's where Foley represented

        9   Highland and various other entities, but I'm asking you

       10   specifically:     What types of categories, and I don't -- you

       11   don't have to go task by task -- but categories of work that

       12   you performed for Highland or Neutra or for the Highland

       13   Cayman defendants that benefited and were billed to Highland

       14   CLO Funding?

       15                MR. MORRIS:    Your Honor, I'm going to again assert a

       16   relevance objection to any of this post-petition stuff.           This

       17   is an application to retain Foley on a post-petition basis

       18   for the benefits to this estate, not with respect to what

       19   happened on a pre-petition basis.

       20                THE COURT:    Your response?

       21                MS. PATEL:    Your Honor, there's been much discussion

       22   about what -- whether Neutra should have to pay this bill or

       23   whether it should not have to pay its own way here.        This is

       24   -- this is, in my mind, a bit of an extraordinary application

       25   in that we're asking a debtor entity to pay for non-debtor




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        1   representation.

        2        I want to inquire as to sort of this jumbled mix of work

        3   that's been performed.    There's -- clearly, Ms. O'Neil said

        4   she hasn't been paid by HCLOF post-petition, but I think we

        5   need to separate out all of these representations, who's

        6   controlling what, and how -- how these bills really should be

        7   paid.

        8             THE COURT:    How the allocation has worked --

        9             MS. PATEL:    Yes.

       10             THE COURT:    -- thus far?

       11             MS. PATEL:    Yes, Your Honor.

       12             THE COURT:    I overrule the relevance objection, but

       13   let me tell you a pickle we're getting into timewise.          I have

       14   a confirmation hearing starting at 1:30.        And we've gone three

       15   hours on this without a bathroom break.        How much longer do

       16   you think you're going to need?     Because we might have to stop

       17   and come back at 2:30 if you're going to need much longer.

       18             MS. PATEL:    Your Honor, I would say give me ten

       19   minutes and I can wrap it up.

       20             THE COURT:    Okay.   Ten minutes.

       21             MS. PATEL:    Okay.

       22             THE WITNESS:    I'm sorry.   What was the question?       I

       23   apologize.

       24   BY MS. PATEL:

       25   Q    I'm trying to remember it myself, Ms. O'Neil.       The




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        1   question was, what specifically -- what -- and I don't -- you

        2   don't have to go task by task.      But categorically, what was

        3   the work that was performed that you would have billed

        4   directly to HCLOF?

        5   A    Prior to King & Spalding's involvement, you may recall

        6   that we were representing HCLOF as well.      So there was direct

        7   bill for the work during the bankruptcy by Foley Gardere for

        8   specific work for HCLOF.

        9        The -- the -- pursuant to the indemnification, as I

       10   understood it, although I never read the indemnification

       11   personally, that there would be an allocation between Highland

       12   to HCLOF for that, for work that they performed that was of

       13   benefit to HCLOF or its equity interest in the CLOs.

       14        And so I was more directed as to what that allocation

       15   should be vis-à-vis the work that was going on.       I think,

       16   generally speaking, because the CLOs were being impacted, as

       17   was well-discussed during the course of the Acis bankruptcy,

       18   by the issues in the bankruptcy, by the temporary injunction

       19   that were in place vis-à-vis their inability to seek an

       20   optional redemption during the course of the bankruptcy, that

       21   they were being significantly impacted by the actions in the

       22   bankruptcy, even though they were not specifically a creditor

       23   in the bankruptcy.

       24   Q    So you performed services on behalf of your client,

       25   Highland, that you then billed to Highland CLO Funding because




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        1   Highland CLO Funding couldn't effectuate an optional

        2   redemption?

        3   A    It was -- it was in conjunction with the overall

        4   activities that were going on in the bankruptcy.

        5   Q    Okay.

        6   A    Not that specifically, no.

        7   Q    All right, Ms. O'Neil.    I've only got a few minutes left.

        8   So let me ask you:    Towards the end of January, did there come

        9   a time where you sent me an email regarding Acis's quarterly

       10   operating reports?

       11   A    Yes.

       12   Q    Okay.    And you copied Mr. Hurst on that email as well,

       13   correct?

       14   A    Correct.

       15   Q    Okay.    And your email was to say, hey, can we set up a

       16   time to talk because I've got -- Highland's got some questions

       17   about the quarterly operating report.       Do you recall that?

       18   A    Yes.

       19   Q    Okay.    And again, just so we're clear, this is around end

       20   of January 2020, right, after the appointment of the Board?

       21   A    Yes.    You --

       22   Q    Okay.

       23   A    I think there's an exhibit.      One of your exhibits is that.

       24   Q    There is.    If you turn to --

       25   A    Or it's a portion of that email communication.




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        1   Q    It is.    It's -- if you turn to Tab 28, this is sort of

        2   your initial email to me, correct?

        3   A    Yeah.    This is not the entire email dialogue, because --

        4   Q    There were other emails afterward.

        5   A    -- I did not get a response and sent a couple of emails

        6   later, several days later, asking for a response.

        7   Q    Right.    And I actually did respond to you after that,

        8   correct?

        9   A    Approximately a week later, yeah.

       10   Q    Okay.    Because I was out sick, actually.

       11   A    Yeah.    That's what you said.

       12   Q    Right.    So, --

       13   A    You didn't say sick, but you were out, so it's okay.

       14   Q    Yeah.    I was out.   And so -- and I will tell you, I was

       15   sick.   So I responded, albeit a little bit late, but I did

       16   respond to you and say, Ms. O'Neil, could you tell me what

       17   your questions are so that I can be prepared?

       18        Does that sound about right?

       19   A    Yeah.

       20   Q    Okay.

       21   A    Yes.

       22   Q    And I never -- I never got a response to that.        You never

       23   told me what your questions were with respect to the quarterly

       24   operating report, right?

       25   A    Yes.    And I --




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        1   Q    Okay.

        2   A    I can explain that.    Because Mr. -- I believe Mr.

        3   Pomerantz said that there was a meeting that was -- and they

        4   would discuss it then, so --

        5   Q    Okay.

        6   A    Or Mr. Demo.   I'm sorry.   Somebody from Pachulski told me

        7   that that would be addressed.       Also, the status conference --

        8   I mean, the questions we had were because there was a February

        9   3rd status conference coming, and I wanted to see if we could

       10   get some clarity so that when we appeared before the status

       11   conference we could limit what we were going to be discussing

       12   with the Court, if anything.

       13   Q    Okay.   Well, what were -- what were the nature of your

       14   questions?   Because there was a conversation between Mr. Terry

       15   and myself and the Board and -- well, certain members of the

       16   Board.   But what were your questions pertaining to?

       17   A    Oh, okay.   Happy to discuss that.     It's kind of awkward to

       18   have it in -- on this, in this --

       19   Q    On Q and A.

       20   A    -- forum, but --

       21   Q    I hear you.

       22   A    We sent -- as the Court will recall, the confirmation

       23   injunction can be lifted if all the claims are paid.          So,

       24   since the plan, the Acis plan was confirmed, we have been

       25   tracking -- and the only way to track it is through the QORs




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        1   -- what the revenues were coming in and what has been paid.

        2   And so -- in terms of expenses and then claims.       And so we

        3   have been -- my paralegal has been tracking this.

        4        As the Court may know from looking at the record, almost

        5   all of -- any other claims that were in the case were either

        6   disallowed or withdrawn.     And so, really, the only claim,

        7   other than Highland's, was Mr. Terry's that was really left to

        8   be paid, other than administrative claims.      And I believe the

        9   administrative claimants had agreed to deferral on some of

       10   their payments after the effective date.

       11        So we had been tracking the payments, which you can track

       12   through the QORs, and it appeared that all of -- including Oak

       13   Tree's most recently allowed administrative claim -- that all

       14   of the administrative claims had been paid, and it appeared at

       15   least approximately a half of Mr. Terry's claim had been paid.

       16        When you look at the QORs, it doesn't specifically say,

       17   "Here's who got what payment," but it shows the claims being

       18   paid down, in addition to just general expenses of the post-

       19   confirmation Debtor.    And I'm -- this is taking a little bit,

       20   but in the disclosure statement to the plan, there had also

       21   been plan projections that set forth the revenues that were

       22   anticipated post-confirmation to pay the claims.       And so

       23   likewise -- as well as the expenses, including to Brigade or

       24   just general operating expenses for Acis.

       25        So, likewise, through the QORs, we had been comparing




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        1   those against what was in the plan projection.         And there were

        2   some things that weren't matching and we simply were having

        3   questions about the expenses seemed to be much higher.

        4   However, the claims were being paid down, so it looked like

        5   Mr. Terry was the only claimant left and was probably owed, by

        6   our calculation, around $4-1/2 million, and that was the only

        7   thing left to be paid.       And, but the revenues per the QOR was

        8   showing cash available of over five and -- $5.3 million.

        9        So, one of the things we wanted to discuss was the

       10   application of using the cash to go ahead and pay down what

       11   was left of Mr. Terry's claim so that the injunction could be

       12   lifted.    But wanted to discuss that with you.       That was the

       13   purpose of that.

       14   Q    Okay.    And I guess let me back up.       One, let me kind of

       15   correct you on a technical point, which is Mr. Terry's claim

       16   isn't the only claim that's left outstanding.         There were also

       17   law firm claims that were lodged as against Acis, correct?

       18   A    I believe there were two --

       19                MR. MORRIS:    Objection, Your Honor.    Just relevance.

       20   I don't get it.

       21                THE COURT:    Okay.   Sustained.   You've gone seven

       22   minutes.     So, three more minutes and we need to wrap it up.

       23                MS. PATEL:    Okay.

       24   BY MS. PATEL:

       25   Q    Well, I guess, Ms. O'Neil, kind of in line with the email,




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        1   the email came in shortly before Acis was sued by your co-

        2   counsel, Lynn Pinker, on behalf of the Charitable DAF and CLO

        3   HoldCo.     Are you aware of this lawsuit?

        4   A    After it was filed.       I was not aware of it before it was

        5   filed.    The second one.     I had seen the first one after it was

        6   filed.    I had not seen the second one until after it was

        7   filed.    We have a conflict with one of the defendants in that,

        8   so --

        9   Q    Okay.    So, and when you say "the first one," are you

       10   talking about when it was originally the Charitable DAF versus

       11   U.S. Bank National Association and Moody's Investors Service?

       12   A    Yes.

       13   Q    Okay.    And that all involved claims by the DAF brought

       14   against U.S. Bank and Moody's at the time relating to the Acis

       15   bankruptcy, right?        It's claims that U.S. Bank didn't manage

       16   --

       17   A    Ms. --

       18   Q    -- as a trustee correctly, correct?

       19   A    Ms. --

       20                MR. MORRIS:    Objection, Your Honor.    She's got no

       21   foundation.     She said she has a conflict and wasn't involved

       22   with this case.

       23                THE COURT:    Sustained.

       24                THE WITNESS:    That's correct.

       25   BY MS. PATEL:




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        1   Q    Okay.    I guess, Ms. O'Neil, let me just ask you:         Did you

        2   have any involvement with -- if you look at Tab 27, that's a

        3   copy of the lawsuit, so that we're all clear exactly which one

        4   I'm asking you about.       This is the lawsuit between the

        5   Charitable DAF and CLO HoldCo, your former client, versus U.S.

        6   Bank National Association, Moody's Investors Service, Acis

        7   Capital Management, Brigade, and Josh Terry.          Did Foley have

        8   any involvement in the drafting or formulation of this

        9   lawsuit?

       10   A    None.

       11   Q    Okay.

       12                MS. PATEL:    No further questions, Your Honor.

       13                THE COURT:    All right.   Any redirect?

       14                MR. MORRIS:    Very briefly.

       15                THE COURT:    Okay.

       16                              REDIRECT EXAMINATION

       17   BY MR. MORRIS:

       18   Q    Ms. O'Neil, you've been representing a number of different

       19   entities associated with Highland since 2018, right?

       20   A    Correct.

       21   Q    And are those entities identified in Plaintiff's Exhibit

       22   #2 in the engagement letter?

       23   A    Plaintiff's 2 or -- sorry.

       24   Q    The Debtor's.

       25   A    The Debtor's 2.       Okay.   Let me switch.   They are.




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        1   Q    Okay.    And since the Board has been appointed, have you

        2   met with board members to discuss the status of the matters

        3   that your firm has been handling?

        4   A    Yes.

        5   Q    And without disclosing attorney-client communications, did

        6   that involve providing a history of the work that you'd done?

        7   A    Yes.

        8   Q    Did that involve providing a history of the work that you

        9   expected to do in the future?

       10   A    Yes.

       11   Q    Did the Board have an opportunity to ask questions of you?

       12   A    Yes.

       13   Q    And did you, in fact, answer the Board's questions?

       14   A    I endeavored to do so to the best of my ability, yes.

       15   Q    Okay.

       16   A    Or I followed up if -- with information via email if I

       17   needed to get additional information.

       18   Q    And is it your understanding that the Board supports your

       19   retention for the purposes that were described earlier by Mr.

       20   Nelms?

       21   A    Yes.

       22   Q    Okay.

       23                MR. MORRIS:    I have nothing further, Your Honor.

       24                THE COURT:    Any recross on that redirect?

       25                MS. PATEL:    No, Your Honor.




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        1             THE COURT:    All right.    Ms. O'Neil, you're excused.

        2             THE WITNESS:    Thank you.

        3        (The witness steps down.)

        4             THE COURT:    All right.    Highland, any more evidence?

        5             MR. MORRIS:    No, Your Honor.     We rest.

        6             THE COURT:    All right.    Is there any evidence from

        7   Acis?

        8             MR. LAMBERSON:    No, ma'am.

        9             THE COURT:    All right.    Let's take a five-minute --

       10   please, five-minute break -- and then we'll hear your closing

       11   arguments.

       12             THE CLERK:    All rise.

       13        (A recess ensued from 12:47 p.m. until 12:56 p.m.)

       14             THE CLERK:    All rise.

       15             THE COURT:    All right.    Please be seated.    We're

       16   going back on the record in Highland.       I'll hear closing

       17   arguments.

       18        I'm going to ask a question.      I need clarification --

       19             MR. DEMO:    Of course.

       20             THE COURT:    -- on this.    First off, in the Acis

       21   adversary that's stayed in the Acis bankruptcy case, Foley,

       22   it's proposed, would represent Highland.        But is Foley also

       23   representing co-defendants in that adversary?        You know, I

       24   think King & Spalding is representing all the co-defendants,

       25   or someone else is, but am I wrong or right about that?




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        1             MR. DEMO:    Yes and no, Your Honor.    I think there's

        2   been some miscommunication on that.       The adversary, as we

        3   understand it, is stayed, and because of that we are not

        4   seeking to represent -- or retain Foley in that adversary,

        5   although we will if that comes up again.      So, in the

        6   adversary, pre-petition, Foley did represent the Debtor and

        7   then a handful of other creditors who were brought into that

        8   adversary, as we understand it, as defendants.         On a go-

        9   forward basis, though, we are proposing to retain Foley on

       10   three things:   General matters in the bankruptcy proceeding;

       11   the appellate --

       12             THE COURT:   General matters in the Acis bankruptcy

       13   proceeding?

       14             MR. DEMO:    Correct, Your Honor.    The appeal involving

       15   the confirmation order.    And the appeal involving the Neutra

       16   litigation.   And --

       17             THE COURT:   Okay.   On the appeal of the involuntary,

       18   --

       19             MR. DEMO:    Yes, ma'am.

       20             THE COURT:   -- only Neutra --

       21             MR. DEMO:    That is correct.

       22             THE COURT:   -- is an appellant.     Okay.    So what

       23   you're asking is for authority for Highland to pay the legal

       24   fees of Neutra on that?

       25             MR. DEMO:    Yes, Your Honor.




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        1             THE COURT:    Okay.

        2             MR. DEMO:    We are.   And we, again, to the --

        3             THE COURT:    And let me -- let me -- and then the

        4   appeal of the confirmation order, are the appellants Highland

        5   and Neutra only, or is HCLOF an appellant?

        6             MR. DEMO:    In terms of Foley's representation, it's -

        7   -

        8             THE COURT:    No, no, no.    Just answer the question.

        9   Who are the appellants in the confirmation order?

       10             MR. DEMO:    Highland, Neutra, and HCLOF.

       11             THE COURT:    Okay.    Who is representing HCLOF?

       12             MR. DEMO:    King & Spalding.

       13             THE COURT:    Okay.    And Foley has thus far been

       14   representing Neutra and Highland?

       15             MR. DEMO:    Correct, Your Honor.

       16             THE COURT:    Okay.    Well, okay.    You may proceed.

       17             MR. DEMO:    And I will be brief.      And I think

       18   ultimately this, this is a relatively simple thing, and I

       19   think you've nailed it.

       20        What are the benefits to the estate of -- because nobody

       21   has objected, again, to Foley representing the Debtor.            What

       22   are the benefits to the estate for Foley representing Neutra

       23   and being paid for that by the Debtor?         And to answer that

       24   question, I think you have to look to all the testimony that

       25   we've heard today, and you also have to look at who's




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        1   objecting, Your Honor.    The Committee is not objecting.       There

        2   is no other committee member objecting besides Acis.          The only

        3   party objecting to Neutra -- or, I'm sorry, to Highland paying

        4   Neutra's fees in the appeal, which, again, are a portion of

        5   the $500,000 that we think is going to be incurred post-

        6   petition on this, excluding today, because today has obviously

        7   gone a little bit long -- the only party objecting to paying a

        8   portion of that $500,000 to have Foley represent Neutra in an

        9   appeal that is happening less than six weeks from now is Acis.

       10       Acis is the party opponent in that.       Acis is the party

       11   that stands to benefit, not just because the involuntary

       12   petition will not be overturned, but because there will be a

       13   lack of leverage and a lack of ability to contest their $75

       14   million, which is where it started, but it keeps growing.

       15   It's at $300 million now.    The only party who's objected to

       16   that is Acis.   None of the other creditors have objected.

       17             THE COURT:   Well, until the past 24 hours, the

       18   Committee was objecting.

       19             MR. DEMO:    Correct, Your Honor.    And we had a --

       20   finally had a chance, with the new Board in place, to discuss

       21   it with the Committee.    And the new Board explained to the

       22   Committee that, in their business judgment, spending this

       23   money, this $500,000 -- which, again, is going to be allocated

       24   across these three matters; not all of it's going to be

       25   allocated to Neutra; a portion of it is going to be allocated




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        1   to Neutra -- $500,000 for the possibility of a recovery to the

        2   estate, the possibility of the ability to challenge a $300

        3   million proof of claim that impacts not just the estate but

        4   the other creditors in the estate, substantially, because

        5   there's only so much money here.       So, --

        6             THE COURT:   Okay.    Let me ask you to recap what the

        7   evidence was on benefit to Highland --

        8             MR. DEMO:    On benefit --

        9             THE COURT:   -- from the overturning of the order for

       10   relief in Acis.

       11             MR. DEMO:    In terms of the overturning of the order

       12   for relief in Acis, there were -- there was testimony on the

       13   possibility -- and again, it's a possibility, and we're not

       14   disputing that.    Acis's attorneys said it was 10 percent.

       15   That's fine.   Maybe it's 10 percent.     There was evidence

       16   presented by Mr. Nelms on the possibility that if the Acis

       17   involuntary is overturned, that the contracts at issue, the

       18   advisory and the sub-management agreements, --

       19             THE COURT:   Well, let's take it sequentially, because

       20   you've got to, you know, look at benefit of the estate --

       21             MR. DEMO:    Understood.

       22             THE COURT:   -- versus time and cost, to some degree,

       23   right?

       24             MR. DEMO:    Right.

       25             THE COURT:   So, Neutra wins.




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        1             MR. DEMO:    Okay.

        2             THE COURT:    Okay?    That means, according to Mr.

        3   Lamberson's argument, which I think is the correct argument,

        4   that we send to arbitration whether it's appropriate for Acis

        5   to be in a bankruptcy.

        6             MR. DEMO:    Correct, Your Honor.

        7             THE COURT:    Okay.

        8             MR. DEMO:    Well, may be correct.

        9             THE COURT:    So, --

       10             MR. DEMO:    I think we did hear there's a different

       11   possibility from Mr. Nelms.

       12             THE COURT:    Well, what is the other possibility?

       13             MR. DEMO:    Well, okay.   Understood, Your Honor.

       14   Okay.

       15             THE COURT:    Okay.

       16             MR. DEMO:    So, say we -- assuming we send it to

       17   arbitration, --

       18             THE COURT:    So that means an arbitration panel is

       19   convened, and at some point, many months from now, an

       20   arbitration panel will either say yes or no, involuntary, you

       21   know, should have gone forward.

       22             MR. DEMO:    Okay.

       23             THE COURT:    Okay?    Let's say the arbitration panel

       24   says no, should not have gone forward.      Then what does the

       25   world look like for Highland?




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        1             MR. DEMO:    I guess, taking it a step back, Your

        2   Honor, assuming that this does go to arbitration, it also

        3   means that the involuntary petition was not entered.          If the

        4   involuntary petition was not entered, which means that the

        5   Acis equity did not go to Mr. Terry, it stayed under Neutra,

        6   at that point --

        7             THE COURT:    Wait, wait, wait.

        8             MR. DEMO:    -- you also go into arbitration.

        9             THE COURT:    Wait, wait.       Wait, wait.   So you're

       10   saying that everything is wiped out in the involuntary, the

       11   Acis bankruptcy case?

       12             MR. DEMO:    Your Honor, and I do want to be really,

       13   honestly, very, very clear about this.         I am -- I am not

       14   saying anything.    I'm not -- trying very hard not to draw a

       15   legal conclusion.     What I'm saying is that the Board has

       16   analyzed this, the Board has applied business --

       17             THE COURT:    But I'm trying to understand --

       18             MR. DEMO:    -- judgment to this, and that there is a -

       19   - there is a possibility.       Now, --

       20             THE COURT:    I'm trying --

       21             MR. DEMO:    -- obviously, reasonable minds can --

       22             THE COURT:    Okay.    Here's where I'm coming from.       And

       23   you can tell me if I'm analyzing this incorrectly, in your

       24   view.   Okay.   We used to have this terrible Fifth Circuit case

       25   -- you know, God help me if this transcript gets sent -- but




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        1   called Pro-Snax.    Okay?

        2               MR. DEMO:    Okay.

        3               THE COURT:   I think the Fifth Circuit has decided

        4   itself that it was terrible, so it's not going to come back to

        5   haunt me, saying that.      So, Pro-Snax said basically the

        6   Bankruptcy Court is a Monday-morning quarterback in looking at

        7   the reasonableness of fees.        You know, did it provide a

        8   benefit to the estate?

        9               MR. DEMO:    Uh-huh.

       10               THE COURT:   And then that got reversed a few years

       11   ago.    I think it was the Woerner case -- Baron & Newburger

       12   (Woerner) -- where the Court said, no, you don't do a

       13   hindsight look.    You look at, at the time fees were expensed,

       14   --

       15               MR. DEMO:    Uh-huh.

       16               THE COURT:   -- was there something like a reasonable

       17   possibility they would benefit the estate?

       18               MR. DEMO:    Yes.

       19               THE COURT:   Okay?     So I'm looking through it in that

       20   lens, so to speak, and I'm like, what benefit to the Highland

       21   estate could there be if the confirmation -- well, if the

       22   order for relief is unwound or the confirmation order is

       23   unwound?    And I'm not there.      I'm not there understanding any

       24   benefit for Highland.

       25          I can understand a benefit, maybe, for Neutra, although I




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        1   am even hard-pressed to see that, because it looks like years

        2   of more litigation.

        3             MR. DEMO:    And Your Honor, I mean, I do think that

        4   there was -- and again, I'm not going to challenge your legal

        5   conclusions -- I do think that there was evidence that in the

        6   Board's business judgment they did analyze this and they see

        7   it, I think, a little bit differently.

        8             THE COURT:    And I should defer heavily to a Board's

        9   reasonable exercise of business judgment.       I've got trouble.

       10   So I'm just trying to --

       11             MR. DEMO:    Understood.    And I think, when you look at

       12   that business judgment, --

       13             THE COURT:    Uh-huh.

       14             MR. DEMO:    -- you know, obviously, I don't disagree.

       15   I do think that when you have a three-person independent board

       16   of this caliber who's come into a difficult situation, has

       17   reviewed all of the evidence, talked to all the applicable

       18   people, when things happened with the DAF litigation that they

       19   didn't like, they took action to stop that.        When they looked

       20   at the Winstead appeal and they said, you know, there's not a

       21   benefit to the estate here, let's drop they, they dropped it.

       22             THE COURT:    But again, work with --

       23             MR. DEMO:    When they --

       24             THE COURT:    Work with me.    Fifth Circuit reverses the

       25   order for relief.     I don't think you have disagreed with




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        1   Lamberson's argument that best-case scenario in that reversal

        2   scenario is that an arbitration panel now looks at, should

        3   this Acis -- you know, should it have gone forward in a

        4   bankruptcy?

        5             MR. DEMO:    Well, I guess, Your Honor, then maybe I --

        6             THE COURT:   So, in that many --

        7             MR. DEMO:    -- I'm not being clear.

        8             THE COURT:   -- months, let's say eight months that an

        9   arbitration panel takes to decide, what happens during that

       10   eight months?

       11             MR. DEMO:    Well, then I guess, Your Honor, I need to

       12   step back, because I have not -- absolutely not been clear.

       13   If it goes to an arbitration panel, our view -- and I think

       14   Ms. O'Neil's briefs to the Fifth Circuit are clear on this --

       15   the arbitration panel is going to arbiter or arbitrate whether

       16   or not there was a fraudulent conveyance.      It's going to

       17   arbitrate how to resolve the claims.      It's not going to

       18   arbitrate whether or not the involuntary petition should ever

       19   have been entered.

       20             THE COURT:   Wait, wait.    What does that mean?       Of

       21   course.   That's the starting point of it all, right?         The

       22   appeal is the Bankruptcy Court wrongly held a trial on the

       23   involuntary petition and ordered for relief.       It should have

       24   deferred to an arbitration panel to do that.       Isn't that

       25   appeal number one that we're talking about?




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        1             MR. DEMO:    Yes, but --

        2             THE COURT:   Neutra's appeal?

        3             MR. DEMO:    Yes, it is.

        4             THE COURT:   Okay.

        5             MR. DEMO:    But I do think there's a nuance.       And I do

        6   want to defer to the pleadings that were filed with the Fifth

        7   Circuit, because I don't want here to get myself out in front

        8   of that Fifth Circuit appeal, because obviously I do very much

        9   want that appeal to go forward.      And maybe we lose and maybe

       10   we win, but if we win, I think the --

       11             THE COURT:   If Neutra wins.

       12             MR. DEMO:    If Neutra wins, one of the outcomes -- and

       13   again, I understand that, you know, reasonable minds can

       14   differ that there --

       15             THE COURT:   Okay.

       16             MR. DEMO:    -- of the outcomes.

       17             THE COURT:   But one of the outcomes.

       18             MR. DEMO:    One of the outcomes is that the

       19   involuntary petition is unwound, withdrawn, and the parties go

       20   to arbitration on the claims.       If that were to happen, --

       21             THE COURT:   Wait.   It's unwound and they go to

       22   arbitration on what claims?     The claims in the adversary

       23   proceeding that's been filed in Acis?

       24             MR. DEMO:    Again, Your Honor, I'm not the appellate

       25   lawyer here.   I mean, this is why we are here.




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        1             THE COURT:    But how do you skip over the arbitration

        2   of the order for relief?       Because if Joshua Terry, who

        3   commenced it, you know, he has the right now to argue to an

        4   arbitration panel that this should have been in bankruptcy,

        5   right?   He doesn't have to just agree that the adversary

        6   proceeding is now arbitrated.       Right?

        7             MR. DEMO:    Well, again, Your Honor, I don't want to

        8   substitute my judgment for the judgment of the Board.         I think

        9   the judgment of the Board is that there is a scenario and that

       10   it's worth exploring and that it's worth the -- what we

       11   honestly think is a limited amount of money to explore.

       12   Because I think, if we explore that, we explore the

       13   possibility, quite honestly, of taking it out of bankruptcy,

       14   then, yes, in that scenario, and which we do it think is

       15   possible, in that scenario, and call it whatever probability

       16   you want, but if you're going to spend half a million dollars

       17   to get to a scenario that could reap you -- and I don't want

       18   to put a number on it -- but millions of dollars in future

       19   revenue, millions of dollars in terms of --

       20             THE COURT:    You're melding.      You're collapsing.   And

       21   we all know as lawyers that's not how it works.        Things happen

       22   sequentially, okay?

       23             MR. DEMO:    Okay.    Then I guess, going --

       24             THE COURT:    There's a setting aside -- well, there's

       25   a reversal of the Bankruptcy Court's issuance of an order for




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        1   relief.

        2             MR. DEMO:    Okay.

        3             THE COURT:    And that means you should have deferred

        4   to an arbitration panel, Judge Jernigan.       And so they remand

        5   so that I can, consistent with that appellate ruling, say,

        6   We're staying the bankruptcy and it's going to arbitration to

        7   decide whether an order for relief.      Is there really any

        8   realistic scenario where we skip that step?

        9             MR. DEMO:    We think that there's a scenario that is

       10   worth exploring.

       11             THE COURT:    I feel like your colleagues are really

       12   dying to chime in because they think they've got the answer to

       13   my question, no offense to you.

       14             MR. MORRIS:    I really -- I don't, Your Honor, but if

       15   I may.

       16             THE COURT:    Uh-huh.

       17             MR. MORRIS:    I think Ms. O'Neil is the appellate

       18   lawyer.   Maybe she should speak on this very precise point, --

       19             THE COURT:    Okay.    Because --

       20             MR. MORRIS:    -- if that's okay with the Court.

       21             THE COURT:    Because I see many miles --

       22             MR. MORRIS:    Yeah.

       23             THE COURT:    -- to go before we sleep if there's a

       24   reversal, and I'm trying to figure -- well, you know, we all

       25   know that, right?




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        1             MS. O'NEIL:    Your Honor, if I may.

        2             THE COURT:    Uh-huh.

        3             MS. O'NEIL:    And I did not want to interrupt Mr.

        4   Demo, and he's done a great job, but obviously we've been

        5   involved with the appeal.

        6             THE COURT:    Right.

        7             MS. O'NEIL:    We've prepared the briefs.

        8             THE COURT:    So how does it play out if there's a

        9   reversal in favor of Neutra --

       10             MS. O'NEIL:    If I may, Your Honor.

       11             THE COURT:    -- of the order for relief?

       12             MS. O'NEIL:    The issue on the appeal is not to send

       13   the concept to arbitration of the involuntary petitions.

       14             THE COURT:    Okay.

       15             MS. O'NEIL:    It is that Mr. Terry was not a qualified

       16   petitioner because he was bound by an arbitration, a binding

       17   arbitration agreement, and that the issue that he -- by

       18   proceeding with these involuntary petitions, he commenced a

       19   suit, a proceeding that was, at its core, about fraudulent

       20   transfers, and that that should have gone to arbitration.         And

       21   to proceed and try to engage this Court's jurisdiction on

       22   something that he had contractually agreed to go to

       23   arbitration on was improper.

       24        So, if Neutra wins on that argument, and I would encourage

       25   the Court, we -- I think the briefs are in one of the




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        1   exhibits, but certainly I would provide them to the Court

        2   before the Court makes a determination if it would help.         If

        3   there -- if Neutra wins on that appeal, then our position

        4   would be that yes, the bankruptcy is effectively void ab

        5   initio, and that's what we believe the case law supports.

        6         Where that would put the parties, potentially -- and

        7   again, we're speculating what the Fifth Circuit may or may not

        8   due to instruct this Court to do -- could reverse and render,

        9   as it were, as Mr. Nelms testified happened to him previously,

       10   but could instruct this Court to abstain, which I think was --

       11   and that is one of the various motions and the orders that the

       12   Court had denied.    All of these are wrapped up in the appeal,

       13   Your Honor.    And in doing so, instruct the petitioner, Mr.

       14   Terry, and Acis to go arbitrate the issue of the fraudulent

       15   transfers.    That would reinstate Acis.    Acis could reinstate

       16   Highland as the manager of the CLOs.

       17             THE COURT:    So every single order in the Acis case

       18   would be null and void?

       19             MS. O'NEIL:    We believe that the case law is that it

       20   would be void ab initio.     And now, Your Honor, practically

       21   speaking, --

       22             THE COURT:    Void ab initio?    Okay.   That could only

       23   -- is that hinged to a subject matter jurisdiction, lack of

       24   subject matter jurisdiction --

       25             MS. O'NEIL:    Partially, that's part of the argument.




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        1             THE COURT:    -- theory?

        2             MS. O'NEIL:    That's part of the argument.     Yes, Your

        3   Honor.

        4             THE COURT:    Okay.

        5             MS. O'NEIL:    Practically speaking, it is our belief,

        6   although it is not clear, is what I've tried to kind of convey

        7   to the Court, and in conjunction with this conversation I was

        8   trying to have with Mr. Terry's counsel/Acis's counsel, is

        9   that we believe Mr. Terry has been paid down.       Practically

       10   speaking, if that happens and he's only left with a claim or

       11   currently has a claim of $4 million, $4-1/2 million, which is

       12   what we think it is, or it's somewhere in that neighborhood,

       13   that -- and there's sufficient cash in Acis to pay that claim

       14   off -- it is a claim Judge -- Mr. Nelms testified to the fact

       15   that it would need to be paid -- then there may not even need

       16   to be a fraudulent transfer lawsuit because the claim would --

       17   what's left of the claim would just be paid off.       And then

       18   Acis -- Neutra would be back in ownership of Acis, Acis would

       19   engage Highland to come back in and do what it was doing

       20   before, Mr. Terry got his claim paid off, and there we are.

       21             THE COURT:    Okay.

       22             MR. DEMO:    That's honestly pretty much it, Your

       23   Honor.   And we think that -- and the Board thinks that the

       24   benefit of pursuing that is worth it, quite honestly.         And

       25   they think, in their business judgment, that it's worth paying




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        1   those Neutra fees -- which again, are a portion of the

        2   $500,000, only a portion -- because that benefit accrues to

        3   the estate, or could accrue to the estate in a situation

        4   where, in their business judgment, it's worth going forward on

        5   this.

        6             THE COURT:   Okay.   The appeal -- okay.     Let me make

        7   sure I heard this correctly.       The appeal of the confirmation

        8   order, whereas we have Neutra only on the appeal --

        9             MR. DEMO:    Correct.

       10             THE COURT:   -- of the order for relief, the appeal of

       11   the confirmation order is Highland, Neutra, and HCLOF.

       12             MR. DEMO:    Correct.

       13             THE COURT:   And King & Spalding still represents

       14   HCLOF in connection with that appeal.

       15             MR. DEMO:    Correct.    And they're the only law firm

       16   representing HCLOF in that appeal.

       17             THE COURT:   So here's what I'm struggling with.       You

       18   know, what initially seemed like kind of a compelling argument

       19   -- all the briefing has been done, oral argument is set in

       20   March -- it feels like to me the main beneficiaries of a

       21   reversal of that confirmation order are HCLOF and Neutra.

       22   Foley can represent Neutra.       Neutra can pay.   King & Spalding

       23   can represent HCLOF.    HCLOF can pay.    And that seems like the

       24   reasonable scenario to me.

       25             MR. DEMO:    And I hear that.    But I think -- and I




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        1   think Mr. Nelms --

        2               THE COURT:   Because let's --

        3               MR. DEMO:    -- testified to it, but --

        4               THE COURT:   Work with me.    Let's say they don't

        5   reverse the order for relief --

        6               MR. DEMO:    Okay.

        7               THE COURT:   -- but they do reverse the confirmation

        8   order.

        9               MR. DEMO:    Okay.

       10               THE COURT:   So, Chapter 11 Trustee is in place

       11   representing Highland, and he can -- I'm sorry -- he is the

       12   spokesperson for the Acis, the controller of the Acis estate.

       13   He might go forward with plan number four, five, whatever it

       14   would be.

       15               MR. DEMO:    Okay.

       16               THE COURT:   Or say, I think it's time to convert this

       17   to 7.    I mean I'm just trying to figure out --

       18               MR. DEMO:    And I guess I do want to go back to one

       19   thing, --

       20               THE COURT:   Uh-huh.

       21               MR. DEMO:    -- because I do not think there is another

       22   economic beneficiary that would pay Neutra's fees.        I think if

       23   the Debtor is not allowed to pay Neutra's fees, nobody will

       24   pay Neutra's fees, and that portion of the appellate argument

       25   will fall by the wayside.        Because --




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        1             THE COURT:   So Neutra loses, but I don't see how

        2   Highland loses.    You have not painted a scenario where it's

        3   clear to me there's any economic benefit to the estate.

        4             MR. DEMO:    I would, I would, with all --

        5             THE COURT:   And you're telling me, Defer to the

        6   Board's business judgment.     But I'm --

        7             MR. DEMO:    Well, I --

        8             THE COURT:   I'm concerned that the evidence hasn't

        9   shown me --

       10             MR. DEMO:    I would also ask, Your Honor, --

       11             THE COURT:   -- all of the --

       12             MR. DEMO:    -- in all --

       13             THE COURT:   -- scenarios that lead to their

       14   reasonable business judgment on this.

       15             MR. DEMO:    As Ms. O'Neil just said, I mean, this is

       16   above the Fifth -- to the Fifth Circuit.       The Fifth Circuit is

       17   set to hear this in six weeks.      And if the Fifth Circuit rules

       18   the way that Ms. O'Neil just said, I do think, and I think the

       19   Board thinks -- actually, I know the Board thinks -- that

       20   there is a tangible benefit to the estate here.        And so I know

       21   that I'm asking you to defer to their judgment, --

       22             THE COURT:   All I heard was --

       23             MR. DEMO:    -- but I'm also asking just for --

       24             THE COURT:   -- that they'd reinstate the sub-advisory

       25   and shared services agreements.




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        1               MR. DEMO:    Which are --

        2               THE COURT:    Which, by the way, Highland moved to

        3   terminate, moved to compel rejection at one point during the

        4   case, and then, when that didn't work, HCLOF started calling

        5   for redemption.

        6               MR. DEMO:    And it's not the --

        7               THE COURT:    This is nuts for me --

        8               MR. DEMO:    It's not -- it's not the -- Your Honor,

        9   it's --

       10               THE COURT:    Tell me why it's not nuts for me to think

       11   --

       12               MR. DEMO:    Because it's not the same Highland.

       13               THE COURT:    -- that Highland would be thrilled to

       14   have Acis back managing the CLOs and subcontracting with

       15   Highland.    I mean, that --

       16               MR. DEMO:    It's not, it's not the same Highland.       The

       17   stuff that happened prior to the institution of the Board was

       18   the stuff that happened prior to the institution of the Board.

       19   There is new management of Highland.         That new management is

       20   working very hard.       As you've seen, Your Honor, that new

       21   management is willing to push back.         That new management, with

       22   the DAF, which you've heard testimony of, that new management

       23   is working to get that motion withdrawn.         That new management

       24   is not going forward with Lynn Pinker because of actions that

       25   it took that it thought subverted their control and their




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        1   management of the Debtor.     The new management decided to drop

        2   an appeal that they did not think had any merit.

        3        It's not the same Debtor, Your Honor.      It is a board

        4   consisting of three highly-qualified people who are exercising

        5   their own judgment.    So all of that stuff that happened prior

        6   to January 9th, I don't want to say hey, it's a clear line in

        7   the sand, but it is.    Mr. Dondero is not in control of

        8   Highland Capital Management.

        9             THE COURT:    But he is in control of Neutra.

       10             MR. DEMO:    He is the economic beneficiary of Neutra.

       11   That is correct.    But Mr. Dondero did tell Mr. Nelms, as Mr.

       12   Nelms testified, that he would reinstate those contracts.         And

       13   I understand that.     But again, as you've seen, Mr. Nelms and

       14   the Board have been able to push back, have been able to exert

       15   control, to exert influence, and to exert management over an

       16   institution that is very difficult to manage.

       17        And I do think that deference to that is something that

       18   should very much be considered, because it's very easy to

       19   think of this as Old Highland, but this is New Highland, who

       20   has done an independent, objective review of these claims, who

       21   has sat with Ms. O'Neil, who has sat with Pachulski, who has

       22   sat with Mr. Terry and Ms. Patel and talked about this stuff,

       23   and still thinks that there is a benefit here to the estate,

       24   and that spending the $500,000 to pursue that benefit, which

       25   is not just a benefit to Highland but it's a benefit to




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        1   Highland other -- to Highland's other creditors, I guess, Your

        2   Honor, quite honestly, I would ask that you to defer to that

        3   new management, because it is not -- it is not Old Highland.

        4        All that stuff that people have talked about -- I mean,

        5   you've seen today in court, you've heard testimony about very

        6   qualified people working to stop that and working to put this

        7   estate into a position where it can reorganize, where it can

        8   come to agreements with its creditors, where it can work

        9   through this process, where it can come out the other side.

       10        But if we take away that Board's ability to manage

       11   litigation with one of their biggest creditors, whose

       12   litigation claim keeps growing, all you're doing is

       13   benefitting that one creditor, not to the detriment of Mr.

       14   Dondero but to the detriment of the other creditors in this

       15   case.

       16        UBS has a claim.    Redeemer has a claim.    Meta-e has a

       17   claim.    McKool's has a claim.     You can run through that whole

       18   list.    And if you take away the Board's right to direct

       19   litigation that is going directly to the Board's ability to

       20   control runaway claims, to negotiate with creditors, and to

       21   come up with an idea of how to split the pie, then, with all

       22   respect, Your Honor, you are infringing on that Board's

       23   business judgment and that Board's ability to reorganize this

       24   case.

       25        This case isn't just about --




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        1             THE COURT:    It wouldn't be taking away.     And here is

        2   a nuance that -- I think it is perfectly reasonable, in case

        3   you don't know where I'm heading on this, for Foley to

        4   represent Highland in the Acis case, in that adversary

        5   proceeding, if it goes forward, because heck yeah, Highland

        6   has been sued for huge amounts of money.

        7             MR. DEMO:    Understood.

        8             THE COURT:    Their claim, that is many millions, has

        9   been objected to.     So, heck yeah, this estate needs good

       10   representation of Highland in that case, where there are many

       11   unresolved issues still in the Acis case.

       12        But on the appeal, I am just still lost as to how there is

       13   any chance in the world Highland benefits in those appeals.

       14   Neutra, heck yeah.     Maybe they get their Acis back and can

       15   instruct it to, you know, stop suing Highland or whatever.

       16   Dondero controlling Neutra can do that.      Okay?   And HCLOF, it

       17   doesn't want Acis to have anything to do anymore with managing

       18   its equity piece of those CLOs.      Sure.   But how -- I mean,

       19   you're telling me that there could be a scenario -- here's

       20   what I'm hearing.     That there is a benefit in having all those

       21   fraudulent transfer claims arbitrated, I guess, not litigated

       22   in the Bankruptcy or District Court, and there's a benefit in

       23   having all of the management agreements, portfolio management

       24   agreements reinstated.    And I just, I don't see how that

       25   happens anytime soon based on how I perceive a reversal of




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        1   orders on appeal happening.

        2             MR. DEMO:    And I guess I don't know what else to say

        3   on that point.    We do think there's a $12 million tangible

        4   benefit to reinstating those contracts.      We think there's a

        5   tangible benefit to allowing Neutra to go forward with its

        6   appeal.   And again, there is nobody else who I think would pay

        7   that freight besides the Debtor, because that benefit, we

        8   believe, goes to the Debtor.

        9             THE COURT:    How many years of life are there left on

       10   the CLOs that Acis manages?

       11             MR. DEMO:    I would have to check, Your Honor.       I

       12   don't know off the top of my head.       I can ask.   But --

       13             THE COURT:    I mean, you're saying $12 million.       I

       14   mean, I don't --

       15             MR. DEMO:    I, you know, --

       16             THE COURT:    There's not a -- I'm just not sure where

       17   that number is coming from.     I never heard direct evidence of

       18   that.

       19             MR. DEMO:    Okay.   Well, I guess, Your Honor, I mean,

       20   again, I would just ask that you defer to the business

       21   judgment of the Board and allow them to position this

       22   litigation in a way that best enables them to deal with every

       23   creditor's claim, and not just the claims of one creditor.

       24   And if they cannot fight the claims of the creditor, then they

       25   can't negotiate how that pot is going to be split in a fashion




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        1   that benefits everybody.

        2        So I guess, Your Honor, I mean, I don't know what else to

        3   say about the benefits of the Neutra appeal except that the

        4   testimony, I think, speaks for itself.      But, you know, I --

        5   and in terms of --

        6             THE COURT:    Again, fight the claim of a creditor.

        7   Foley can represent Highland in the adversary proceeding,

        8   wherever that goes forward.

        9             MR. DEMO:    Yeah.

       10             THE COURT:    Probably District Court, not this Court.

       11   At least some of it, if not all of it.      But anyway, I'm

       12   digressing.   They can object to Acis's proof of claim.         They

       13   can object to Terry's proof of claim.      I mean, --

       14             MR. DEMO:    And conversely, Your Honor, if -- if --

       15             THE COURT:    -- this has nothing to do with -- I mean,

       16   I don't get the appeal.     I mean, I --

       17             MR. DEMO:    Right.

       18             THE COURT:    Neutra can appeal, HCLOF can appeal, but

       19   I'm not seeing the benefit to Highland.

       20             MR. DEMO:    And I guess the only thing I would say,

       21   Your Honor, is if there is an improper benefit, we are not

       22   saying that the fee applications are sacrosanct.        People can

       23   challenge the improper benefit there.

       24        And again, the settlement gave broad discretion to the

       25   Committee to pursue insider claims.      So if an insider is




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        1   receiving a benefit from this, the Committee has standing to

        2   pursue that.

        3        So it's not a null set, Your Honor, whereas cutting off

        4   the appeal now does take away that possibility.

        5               THE COURT:   How would I be cutting off the appeal?

        6   I'm not cutting off the appeal.        King & Spalding can go in

        7   there and fight hard.      Foley can go in there and fight hard

        8   for Neutra.    So, --

        9               MR. DEMO:    One second, Your Honor.

       10        (Counsel confer.)

       11               MR. DEMO:    And I guess, you know, Your Honor, and I

       12   do want to reiterate that there is no other party with an

       13   economic incentive to fight the Neutra appeal the way that the

       14   Debtor has an economic incentive.

       15               THE COURT:   That makes no sense to me.     HCLOF is the

       16   one who hated this injunction.

       17               MR. DEMO:    That's not the Neutra appeal, Your Honor.

       18   That's the confirmation order.

       19               THE COURT:   Well, okay.    Neutra gets its company back

       20   if they win.

       21               MR. DEMO:    And we would get our contracts back.

       22               THE COURT:   And arguably, it can control Acis, maybe,

       23   okay, and it can assign management contracts to whoever it

       24   wants.   That just -- and it says it'll assign them to

       25   Highland.    If you can trust Jim Dondero, then Highland's going




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        1   to benefit if Neutra wins that appeal.       Right?

        2             MR. DEMO:    Yes.   Yes, Your Honor.

        3             THE COURT:    Okay.   So that --

        4             MR. DEMO:    Highland would benefit greatly --

        5             THE COURT:    Okay.

        6             MR. DEMO:    -- if Neutra were to win that appeal.

        7             THE COURT:    Okay.   Okay.   Well, but first Neutra

        8   benefits, right?    And then --

        9             MR. DEMO:    No.

       10             THE COURT:    -- Highland only secondarily benefits --

       11             MR. DEMO:    I -- I --

       12             THE COURT:    -- if Jim Dondero keeps his word and

       13   gives the management contracts back to Highland.

       14             MR. DEMO:    Jim Dondero would also have to repay the

       15   $8 million in claim, even if he didn't reinstate those

       16   contracts.   And that $8 million would be hundred-cent dollars.

       17             THE COURT:    Okay.

       18             MR. DEMO:    So, worst case, --

       19             THE COURT:    It would have been nice to have him

       20   testify as to all of this.

       21             MR. DEMO:    Worst --

       22             THE COURT:    It would be more compelling if I had him.

       23             MR. DEMO:    Well, --

       24             THE COURT:    Okay?   But I don't think --

       25             MR. DEMO:    -- I can only do so much, Your Honor.




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        1              THE COURT:   -- that's going to happen anytime soon.

        2              MR. DEMO:    But I guess worst-case scenario is that

        3   it's $8 million in hundred-cent dollars.

        4              THE COURT:   Okay.

        5              MR. DEMO:    And that's not nothing for $500,000.      And

        6   only a portion of that $500,000.

        7              THE COURT:   Okay.

        8              MR. DEMO:    Thank you, Your Honor.

        9              THE COURT:   Okay.   Mr. Lamberson?

       10              MR. LAMBERSON:    Your Honor, do you want a closing

       11   from me?   Or no?

       12              THE COURT:   I don't really need it.    Thank you.

       13              MR. LAMBERSON:    Okay.

       14              THE COURT:   Okay.

       15              MR. LAMBERSON:    Because I know your hearing starts in

       16   about two minutes.

       17              THE COURT:   All right.   So, I just hate it that we

       18   spent so much time on this.     I hate it that we spent so much

       19   time, but, I mean, I understand.      I understand.   You know, I

       20   think the employment application was filed pretty early in the

       21   case, right, and -- October 29th.      And it was continued,

       22   continued, continued, because we were getting objections from

       23   the Committee, or they wanted time to look at it, I guess.

       24   And now you're kind of up against the wire, right, because

       25   oral arguments are set at the Fifth Circuit next month.          So I,




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        1   you know, I hate it that we were here, but I understand it.

        2        But I'm concerned.    I'm concerned -- well, here's the

        3   deal.    We have a great board, and I totally get that

        4   Bankruptcy Courts should defer heavily to the reasonable

        5   exercise of business judgment by a board.       And we've got great

        6   professionals.    And we've got this case, I think, on a good

        7   track as a general matter now.      But I'm concerned that Dondero

        8   or certain in-house counsel has -- you know, they're smart,

        9   they're persuasive -- that -- what are the words I want to

       10   look for -- they have exercised their powers of persuasion or

       11   whatever to make the Board and the professionals think that

       12   there is some valid prospect of benefit to Highland with these

       13   appeals, when it's really all about Neutra, HCLOF, and Mr.

       14   Dondero.    That's what I believe.

       15        I mean, this is awkward, right, because you want to defer

       16   to the debtor-in-possession, but I have this long history, and

       17   I can think through the scenarios.      If this is reversed, here

       18   is how it will play out.     If this is reversed, here is how it

       19   might play out.    And I know, you know, there are multiple ways

       20   it might play out, but I cannot believe there is a chance in

       21   the world there is economic benefit to Highland if these

       22   things get reversed.    Economic benefit to Neutra:     Yeah,

       23   maybe.    Economic benefit to HCLOF:    Well, they'll get what

       24   they want.    You know, whether it's an economic benefit, I

       25   don't know.    But benefit to Highland?    I just don't think the




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        1   evidence has been there to convince me it's reasonable

        2   business judgment for Highland to pay the legal fees

        3   associated with the appeal.

        4        And even more concerning to me is a valid point was made

        5   that Highland is in bankruptcy because of litigation,

        6   litigation, litigation.     The past officers and directors and

        7   controls' propensity to fight about everything.       This isn't a

        8   balance sheet restructuring, okay?       It's not a Chapter 11

        9   caused by operational problems or revenue disruption or who

       10   knows what kind of disruption.      It's about years of litigation

       11   finally coming home to roost.       And this just appears to be

       12   more of the same, potentially.

       13        Okay.   Parties have a right to appeal.      I respect that.

       14   Neutra, go for it.    HCLOF, go for it.     But this estate and its

       15   creditors should not bear the burden of having Highland pay

       16   for that, when, again, I don't think there's any evidence to

       17   suggest they could benefit at the end of the day.

       18        So what I'm going to do is I'm going to approve the

       19   retention of Foley to represent Highland in the Acis case.          We

       20   all know the adversary is stayed right now.       It may or may not

       21   ever be un-stayed, depending on what strategies people want to

       22   pursue.   But Highland, I think a meritorious case has been

       23   presented, and under 327(e) I will approve Foley representing

       24   Highland in all Acis matters.       Okay?   The Acis bankruptcy

       25   case.   The adversary proceeding, if it goes forward.         And so




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        1   that's my ruling.

        2        I will additionally rule, for the avoidance of doubt, that

        3   if Foley wants to represent Neutra in the appeals and get paid

        4   by Neutra, I don't have any problem with that.        In other

        5   words, I'm not going to find something like there's a conflict

        6   with the estate, you know, because of its simultaneous

        7   representation of Neutra.       That's fine.   But I'm not going to

        8   approve Highland paying anything in connection with either of

        9   those appeals.    So that is the ruling of the Court.

       10        Have I left any gaps here?

       11             MR. DEMO:    Your Honor, just one clarification.

       12             THE COURT:    Uh-huh.

       13             MR. DEMO:    Foley is representing Highland Capital

       14   Management in the appeal of the confirmation order to the

       15   Fifth Circuit.    I just want to clarify that your ruling that

       16   Highland can represent -- I'm sorry -- Foley can represent

       17   Highland in all Acis matters extends to their representation

       18   of Highland Capital Management in the appeal of the

       19   confirmation order that's set for March 30th.

       20             THE COURT:    Okay.    Let me think through that.

       21             MR. DEMO:    And again, Your Honor, there's been no

       22   objection to that.

       23             THE COURT:    King & Spalding is in there representing

       24   HCLOF.   Foley would be representing both Neutra and Highland

       25   in connection with the confirmation order?




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        1              MR. DEMO:    Technically, but Neutra really has

        2   nothing.   It's a coattail party in that case.      Highland

        3   Capital Management, to the extent that they could bifurcate

        4   Neutra, it would still be doing the exact same work.          So if

        5   there is an issue there with the representation of Neutra,

        6   we'd still ask that Foley be allowed to represent Highland

        7   Capital Management in that appeal.

        8              THE COURT:   Okay.   So you're telling me Neutra

        9   doesn't really benefit from that appeal, so you want Highland

       10   to pay all of the fees of Foley in connection with the

       11   confirmation order appeal?

       12              MR. DEMO:    All I'm asking, Your Honor, is that Foley

       13   can represent Highland Capital Management in that appeal.           And

       14   again, there's been no objection to that.       What happens with

       15   Neutra, I, you know, I understand your position.         I am simply

       16   asking for a clarification that Foley can continue

       17   representing the Debtor in the Debtor's appeal of the

       18   confirmation order.

       19              THE COURT:   All right.   I will say yes to that, but

       20   they need to be prepared to have their fees split.         I'm not

       21   saying 50/50, I don't know what the percentage is, but they

       22   are going to be allocated between Neutra and Highland, and

       23   they should not expect to get a hundred percent of those

       24   covered by Highland at the end of the day.       Okay?    There's

       25   going to be a deep dive into looking at how that allocation




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        1   should work, okay?

        2             MR. DEMO:    And they will be filing fee apps,

        3   obviously, on all of the matters that they are --

        4             THE COURT:    Okay.   Anything else?

        5             MR. POMERANTZ:    One moment, Your Honor.

        6             THE COURT:    Okay.

        7        (Pause.)

        8             MR. DEMO:    Yeah.    And Your Honor, I do just want to

        9   clarify that when we talk about the involuntary petition

       10   appeal, that when we talk about its effect on the fraudulent

       11   conveyance action, to the extent that -- and I would like to

       12   clarify your position on this, Your Honor.       Is your position

       13   that the appeal of the involuntary, if successful, would have

       14   no impact on the fraudulent conveyance actions in the Acis

       15   litigation?

       16        Because I do think that it is clear that --

       17             THE COURT:    I think we don't know.    We would have to

       18   see --

       19             MR. DEMO:    And I guess that's -- that's --

       20             THE COURT:    -- what the Fifth Circuit states.

       21             MR. DEMO:    And my --

       22             THE COURT:    And it may be:    Bankruptcy Court, stay

       23   the proceedings and defer, send it to arbitration.       "It" being

       24   re-litigation of --

       25             MR. DEMO:    Understood.




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        1             THE COURT:   -- the involuntary.

        2             MR. DEMO:    And --

        3             THE COURT:   That may be, to me, a likely scenario,

        4   but maybe not.

        5             MR. DEMO:    And -- and --

        6             THE COURT:   Maybe they'll say something else.

        7             MR. DEMO:    Understood.   And I think we're honestly on

        8   the same page with that.

        9             THE COURT:   Uh-huh.

       10             MR. DEMO:    Because to the extent that it does put it

       11   into arbitration, to the extent that there is that

       12   possibility, that it changes the color of those fraudulent

       13   conveyance claims, changes the color of Acis's $300 million

       14   proof of claim, which goes to settlement strategy, which goes

       15   to the benefits to other creditors, which goes to a whole

       16   panoply of other things that tie into a benefit to the estate.

       17   And I don't want to re-argue what we've already argued, but I

       18   think, as Your Honor said, that chance that there is going to

       19   be a change to the fraudulent conveyance, either because it

       20   throws them into an arbitration or because it somehow

       21   otherwise colors it, is, in and of itself, a substantial

       22   benefit to the estate -- leaving aside the dollars from the

       23   contracts, leaving aside the $8 million proof of claim --

       24   because that benefit goes to, again, that $300 million proof

       25   of claim that Acis has filed, which impacts the estate, which




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        1   impacts other creditors, and which impacts the settlement

        2   mechanics in this case.

        3        So to the extent that there is a chance that the

        4   involuntary changes that and recolors it, there is a

        5   substantial benefit to the estate in that, because it allows

        6   the estate to work with creditors --

        7             THE COURT:   I mean, --

        8             MR. DEMO:    -- to figure out a way to settle claims in

        9   a way that are --

       10             THE COURT:   I get what you're saying, but guess what?

       11   You can object to that $300 million proof of claim.       And we

       12   might have a very interesting conversation about --

       13             MR. DEMO:    What --

       14             THE COURT:   Well, it's the same judge either way, but

       15   -- well, I guess I don't get what you're saying.       You have the

       16   ability to object to the proof of claim whether there's

       17   affirmance or --

       18             MR. DEMO:    Yeah.   But --

       19             THE COURT:   -- reversal, right?     I'm just --

       20             MR. DEMO:    We don't have a -- you know, we may not

       21   have to get -- I'm sorry, Your Honor, and I'll stop it -- but

       22   we may not have to get there.       Objecting to the proof of claim

       23   is quali... it is quantitatively and qualitatively different

       24   than a Fifth Circuit order saying that there are changes to

       25   the fraudulent conveyance, there are changes to the




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        1   distribution of equity under the plan.      Maybe there is no plan

        2   -- or maybe there is no bankruptcy at all.

        3        Those things fundamentally change the dynamics of this

        4   case in a way that's good for the estate.      And those things

        5   can only happen if there's an order from the Fifth Circuit

        6   entering that.    We can object all down the pipe, and we are

        7   going to object, Your Honor, and I assume other people will

        8   object as well.    But our objecting does not have the same

        9   benefit to the estate as a Fifth Circuit opinion saying,

       10   Fraudulent conveyance claims go to arbitration; saying, There

       11   is no involuntary petition.

       12        Now, I understand that there are questions as to the

       13   probability of those things, but the fact that there is a

       14   probability of those things happening and the cost to the

       15   estate is a hundred thousand dollars, I understand what Your

       16   Honor has said and I don't want to overstay my welcome, but I

       17   do think we are -- at least maybe I am presenting it wrong --

       18   but that Fifth Circuit order either way is going to calcify

       19   and solidify this in ways that are beneficial to the estate

       20   and beneficial to how this bankruptcy is going to progress.

       21             THE COURT:   Okay.   I understand you feel passionately

       22   about that, but just so you know, for future purposes or not,

       23   I'm not there because, you know, among other things, we -- you

       24   know, life has changed.    You know, if the Fifth Circuit says

       25   reversal, not a darn thing should happen in a bankruptcy case




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        1   of Acis, you know, it can all go to arbitration, well, that's

        2   the Acis litigation, right?     But Acis has filed a proof of

        3   claim now.   And are you going to tell me the Fifth Circuit is

        4   going to say the arbitration that should have happened in the

        5   earlier Acis case trumps, if you will, adjudication of a proof

        6   of claim now in a new case?

        7             MR. DEMO:    And the claims are --

        8             THE COURT:    I mean, I'm just -- someone mentioned

        9   Gandy and National Gypsum, and there's even a more recent

       10   Fifth Circuit case dealing with arbitration which --

       11             MR. DEMO:    The claims, Your Honor, are state law

       12   claims if there's no bankruptcy, and I think --

       13             THE COURT:    But there is a bankruptcy.     There's a

       14   Highland bankruptcy now.     And there's a proof of claim --

       15             MR. DEMO:    Not if the Fifth Circuit --

       16             THE COURT:    -- in the Highland case.

       17             MR. DEMO:    -- overturns the involuntary petition.

       18             THE COURT:    Yeah.   I just -- okay.   We're just, we're

       19   having academic conversations, and I'm probably guilty for

       20   going down this trail.     So, anyway, is there anything further,

       21   then?

       22             MR. LAMBERSON:    No, Your Honor.

       23             THE COURT:    I need a few orders.

       24             MR. LAMBERSON:    If they want to prepare an order and

       25   send it to us, we're happy to look --




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        1             THE COURT:    Okay.   Thank you all.

        2        (Proceedings concluded at 1:44 p.m.)

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       20                               CERTIFICATE

       21        I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
       22   above-entitled matter.
       23     /s/ Kathy Rehling                                  02/20/2020

       24   ______________________________________            ________________
            Kathy Rehling, CETD-444                               Date
       25   Certified Electronic Court Transcriber




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   Counsel for Highland Capital Management Fund Advisors, L.P.,
   NexPoint Advisors, L.P., Highland Income Fund, NexPoint
   Strategic Opportunities Fund, and NexPoint Capital, Inc.

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     ³)XQGV´ E\DQGWKURXJKWKHLUXQGHUVLJQHGFRXQVHOKHUHE\VXEPLWWKLVPRWLRQIRUDQRUGHURI

     WKH&RXUWXQGHU%DQNUXSWF\&RGH D DQGLPSRVLQJWHPSRUDU\UHVWULFWLRQVRQ

     +LJKODQG &DSLWDO 0DQDJHPHQW /3¶V WKH ³'HEWRU´  DELOLW\ WR LQLWLDWH VDOHV DV SRUWIROLR

     PDQDJHU RURWKHUVLPLODUFDSDFLW\ IRUFHUWDLQQRQGHEWRULQYHVWPHQWYHKLFOHV WKH³&/2V´ 

     ,QVXSSRUWRIWKH0RWLRQWKH)XQGVDQG$GYLVRUVVXEPLWWKH'HFODUDWLRQRI'XVWLQ1RUULV WKH

     ³'HFODUDWLRQ´ DWWDFKHGKHUHWRDQGVWDWHDVIROORZV

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              A.         General Background on the Advisors and their Advised Funds

                       (DFK$GYLVRULVUHJLVWHUHGZLWKWKH866HFXULWLHVDQG([FKDQJH&RPPLVVLRQ

      ³6(&´ DVDQLQYHVWPHQWDGYLVRUXQGHUWKH,QYHVWPHQW$GYLVHUV$FWRIDVDPHQGHG WKH

     ³$GYLVHUV$FW´ 

                       (DFKRIWKH$GYLVRUVDGYLVHVVHYHUDOIXQGVLQFOXGLQJ WKH)XQGV(DFKRIWKH

     )XQGV LV D UHJLVWHUHG LQYHVWPHQW FRPSDQ\ RU EXVLQHVV GHYHORSPHQW FRPSDQ\ XQGHU WKH

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                       $V DQ LQYHVWPHQW FRPSDQ\ RU EXVLQHVV GHYHORSPHQW FRPSDQ\ HDFK )XQG LV

     RYHUVHHQE\DPDMRULW\LQGHSHQGHQWERDUGRIWUXVWHHVVXEMHFWWR$FWUHTXLUHPHQWV7KDW

     ERDUGUHYLHZVDQGDSSURYHVFRQWUDFWVZLWKRQHRIWKH$GYLVRUVIRUWKHUHVSHFWLYH)XQG7KH

     )XQGV GR QRW KDYH HPSOR\HHV ,QVWHDG HDFK )XQG UHOLHV RQ LWV UHVSHFWLYH $GYLVRU DFWLQJ

     SXUVXDQWWRDGYLVRU\DJUHHPHQWVWRSURYLGHWKHVHUYLFHVQHFHVVDU\WRWKH)XQG¶VRSHUDWLRQV

              B.         The CLOs

                       7KH&/2VDUH$EHUGHHQ/RDQ)XQGLQJ/WG%UHQWZRRG&/2/WG(DVWODQG

     &/2/WG*OHQHDJOHV&/2/WG*UD\VRQ&/2/WG*UHHQEULDU&/2/WG-DVSHU&/2/WG

     /LEHUW\ &/2 /WG 5HG 5LYHU &/2 /WG 5RFNZDOO &'2 /WG 5RFNZDOO &'2 ,, /WG




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     6RXWKIRUN&/2/WG6WUDWIRUG&/2/WG/RDQ)XQGLQJ9,,//&DQG:HVWFKHVWHU&/2/WG

                       7KH&/2VDUHVHFXULWL]DWLRQYHKLFOHVIRUPHGWRDFTXLUHDQGKROGSRROVRIGHEW

     REOLJDWLRQV 7KH\ DOVR LVVXHG YDULRXV WUDQFKHV RI QRWHV DQG SUHIHUHQFH VKDUHV ZKLFK DUH

     LQWHQGHGWREHUHSDLGIURPSURFHHGVRIWKHVXEMHFW&/2¶VSRRORIGHEWREOLJDWLRQV7KHQRWHV

     LVVXHGE\WKH&/2VDUHSDLGDFFRUGLQJWRDFRQWUDFWXDOZDWHUIDOOZLWKWKHYDOXHUHPDLQLQJLQ

     WKH&/2DIWHUWKHQRWHVDUHIXOO\SDLGIORZLQJWRWKHKROGHUVRIWKHSUHIHUHQFHVKDUHV

                       7KH&/2VZHUHFUHDWHGPDQ\\HDUVDJR0RVWRIWKH&/2VDUHDWWKLVSRLQW

     SDVWWKHLUUHLQYHVWPHQWSHULRGDQGKDYHSDLGRIIDOOWKHWUDQFKHVRIQRWHVRULQDIHZLQVWDQFHV

     DOOEXWWKHODVWDQGPRVWMXQLRUWUDQFKH$FFRUGLQJO\PRVWRIWKHHFRQRPLFYDOXHUHPDLQLQJLQ

     WKH&/2VDQGDOORIWKHXSVLGHEHORQJVWRWKHKROGHUVRIWKHSUHIHUHQFHVKDUHV7KHUHSD\PHQW

     VWDWXVRIWKHQRWHVLQWKH&/2VDVRI1RYHPEHULVVKRZQRQ([KLELW$WRWKH'HFODUDWLRQ

     DQG WKH )XQGV¶ FROOHFWLYH RZQHUVKLS RI WKH SUHIHUHQFH VKDUHV LV VKRZQ RQ ([KLELW % WR WKH

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     LQWHUHVWVLQPRVWRIWKHRWKHU&/2V

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     SRUWIROLRPDQDJHU ,QWKLVFDSDFLW\WKH'HEWRULVUHVSRQVLEOHDPRQJRWKHUWKLQJVIRUPDNLQJ

     GHFLVLRQVWRVHOOWKH&/2V¶DVVHWV$OWKRXJKWKHSRUWIROLRPDQDJHPHQWDJUHHPHQWVYDU\WKH

     DJUHHPHQWV JHQHUDOO\ LPSRVH D GXW\ RQ WKH 'HEWRU ZKHQ DFWLQJ DV SRUWIROLR PDQDJHU WR

     PD[LPL]HWKHYDOXHRIWKH&/2¶VDVVHWVIRUWKHEHQHILWRIWKH&/2¶VQRWHKROGHUVDQGSUHIHUHQFH



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     DJUHHPHQWVEXWWKH'HEWRUKDVWKHVDPHJHQHUDOULJKWVDQGREOLJDWLRQVIRUHDFK&/2,QWKLV
     0RWLRQWKH)XQGVDQG$GYLVRUVKDYHXVHGWKHWHUP³SRUWIROLRPDQDJHU´ZKHQUHIHUULQJWRWKH
     'HEWRU¶VUROHIRUHDFK&/2UHJDUGOHVVRIWKHSUHFLVHWLWOHLQWKHXQGHUO\LQJGRFXPHQWV


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              C.         The Operating Protocols

                       $VSDUWRIWKHUHVROXWLRQRIFHUWDLQGLVSXWHVEHWZHHQWKH'HEWRUDQGWKH2IILFLDO

     &RPPLWWHH RI 8QVHFXUHG &UHGLWRUV WKH ³&RPPLWWHH´  WKH 'HEWRU LV RSHUDWLQJ XQGHU WKH

     UHVWULFWLRQVDQGSURYLVLRQVRIFHUWDLQRSHUDWLQJSURWRFROV WKH³2SHUDWLQJ3URWRFROV´ DSSURYHG

     E\WKH&RXUW6HH1RWLFHRI'HEWRU¶V$PHQGHG2SHUDWLQJ3URWRFROV 'RFNHW1R $PRQJ

     RWKHU WKLQJV WKH 2SHUDWLQJ 3URWRFROV LQFOXGH SURYLVLRQV UHJXODWLQJ WKH 'HEWRU¶V DFWLRQV RQ

     EHKDOIRIRWKHUHQWLWLHV:LWKUHVSHFWWRWKH&/2VKRZHYHUWKH2SHUDWLQJ3URWRFROVJHQHUDOO\

     H[HPSWWKH'HEWRUIURPWKHUHJXODUDSSURYDOSURFHVVLQYROYLQJWKH&RPPLWWHHZKHUHWKH'HEWRU

     DFWVDVSRUWIROLRPDQDJHUIRUWKH&/2V6HHHJ2SHUDWLQJ3URWRFROVDW,9 %  D 

              C.         Recent Asset Sales and the Advisors’ Requests for a Temporary Pause in Sales

                       7KH &RXUW UHFHQWO\ DSSURYHG WKH 'HEWRU¶V 'LVFORVXUH 6WDWHPHQW IRU WKH )LIWK

     $PHQGHG3ODQRI5HRUJDQL]DWLRQRI+LJKODQG&DSLWDO0DQDJHPHQW/3 'RFNHW1R 

      WKH³'LVFORVXUH6WDWHPHQW´ 

                      7KH'LVFORVXUH6WDWHPHQWGLVFXVVHVWKH'HEWRU¶VUROHDVSRUWIROLRPDQDJHUIRU

     WKH&/2V ZKLFKWKH'LVFORVXUH6WDWHPHQWGHILQHVDV³,VVXHUV´ LQ$UWLFOH,, 8  SJ $IWHU

     H[SODLQLQJWKH'HEWRU¶VUROHDQGQRWLQJVRPHSURRIVRIFODLPILOHGE\WKH&/2VWKH'LVFORVXUH

     6WDWHPHQWVWDWHVDVIROORZV

              7KH ,VVXHUV KDYH WDNHQ WKH SRVLWLRQ WKDW WKH UHMHFWLRQ RI WKH 3RUWIROLR
              0DQDJHPHQW$JUHHPHQWV LQFOXGLQJDQ\DQFLOODU\GRFXPHQWV ZRXOGUHVXOWLQ
              PDWHULDO UHMHFWLRQ GDPDJHV DQG KDYH HQFRXUDJHG WKH 'HEWRU WR DVVXPH VXFK
              DJUHHPHQWV1RQHWKHOHVVWKH,VVXHUVDQGWKH'HEWRUDUHZRUNLQJLQJRRGIDLWK
              WR DGGUHVV DQ\ RXWVWDQGLQJ LVVXHV UHJDUGLQJ VXFK DVVXPSWLRQ 7KH 3RUWIROLR
              0DQDJHPHQW $JUHHPHQWV PD\ EH DVVXPHG HLWKHU SXUVXDQW WR WKH 3ODQ RU E\
              VHSDUDWHPRWLRQILOHGZLWKWKH%DQNUXSWF\&RXUW
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               $JUHHPHQWV LQFOXGLQJ ZKHWKHU WR DVVXPH WKH 3RUWIROLR 0DQDJHPHQW
               $JUHHPHQWV
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     PDNHFOHDUWKDWDVVXPLQJFRQILUPDWLRQRIWKH'HEWRU¶VFKDSWHUSODQLQLWVFXUUHQWIRUPWKH

     'HEWRULQWHQGVWROLTXLGDWHLWVUHPDLQLQJDVVHWVRYHUWKHQH[WWZR\HDUVFRQFOXGLQJLQ'HFHPEHU

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     LQ FHUWDLQ &/2V LQFOXGLQJ VDOHV GXULQJ WKH KLVWRULFDOO\ OLJKW 7KDQNVJLYLQJ WUDGLQJ ZHHN

     EHFDXVHWKH)XQGVDQG$GYLVRUVYLHZWKRVHDVVHWVDVKDYLQJJUHDWHUYDOXHLIKHOGDVORQJWHUP

     LQYHVWPHQWV:KHQWKH$GYLVRUVEHFDPHDZDUHWKH'HEWRUZDVFRQVLGHULQJWKHVHWUDQVDFWLRQV

     1H[3RLQWUHTXHVWHGWKDWWKH'HEWRUQRWFRQVXPPDWHWKHVDOHV

                      1H[3RLQWKDVUHTXHVWHGLQWZROHWWHUVWKDWWKH'HEWRUUHIUDLQIURPFDXVLQJWKH

     &/2VWRVHOOIXUWKHUDVVHWVZLWKRXWSULRUQRWLFHDQGFRQVHQWRI1H[3RLQW&RXQVHOWRWKH)XQGV

     DQG $GYLVRUVKDVDOVRUHTXHVWHGE\HPDLOWKDWWKH'HEWRUDJUHHFRQVHQVXDOO\WRWHPSRUDULO\

     VXVSHQG IXUWKHU VDOHV RI WKH &/2V¶ DVVHWV DQGRU FRQILUP WKDW WKH 'HEWRU LV QRW SUHVHQWO\

     SODQQLQJIXUWKHUVDOHVLQWKHLPPHGLDWHIXWXUH7KH'HEWRUKDVUHIXVHGWKHVHUHTXHVWV

               D.       HCMLP Decisions Illustrating Its Short-Term Approach

                      &RQVLVWHQWZLWKLWVSURSRVDOWROLTXLGDWHDOORILWVDVVHWVE\WKHHQGRISHU

     WKH'LVFORVXUH6WDWHPHQW+&0/3KDVHQJDJHGLQWUDQVDFWLRQVWDNLQJDVKRUWWHUPDSSURDFKWR

     YDOXH

                      ,Q DGGLWLRQ WR WKH VDOHV QRWHG DERYH GXULQJ 7KDQNVJLYLQJ ZHHN GXULQJ WKH

     FKDSWHUFDVHWKH'HEWRUKDVGLUHFWHGWKHGLVSRVLWLRQRIRWKHUDVVHWVLQDPDQQHUWKDWVXJJHVWV

     DIRFXVRQTXLFNPRQHWL]DWLRQDWWKHH[SHQVHRIPD[LPL]LQJUHWXUQVIRULQYHVWRUVDQGRUWKH




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     HVWDWH )RU H[DPSOH 'HEWRUFRQWUROOHG HQWLWLHV VROG D FROOHFWLYH PDMRULW\ LQWHUHVW LQ DQ

     XQVHFXUHG WHUP ORDQ WR 2PQL0D[ ,QWHUQDWLRQDO ,QF 2WKHU QRQ'HEWRU FRQWUROOHG HQWLWLHV

     DGYLVHGE\WKH$GYLVRUVZHUHDEOHWRVHFXUHDVXEVWDQWLDOO\EHWWHUSULFHIRUWKHLUVWDNHLQWKH

     VDPHDVVHWE\EHLQJZLOOLQJWRKROGLWDQGWUDQVDFWLQJDWDODWHUGDWH*LYHQWKH'HEWRUFRQWUROOHG

     HQWLWLHV ODUJH RZQHUVKLS LQ WKH XQVHFXUHG ORDQ WKH $GYLVRUV EHOLHYH WKH 'HEWRU ZDV ZHOO

     SRVLWLRQHGWRUHDOL]HDKLJKHUSULFH

                      $OVR XSRQ LQIRUPDWLRQ DQG EHOLHI WKH 'HEWRU WKURXJK LWV ZKROO\ RZQHG

     VXEVLGLDU\ 7UXVVZD\ +ROGLQJV //& ³7UXVVZD\´  FRQVXPPDWHG D VDOH WUDQVDFWLRQ ZKHUH

     7UXVVZD\VROGDGLYLVLRQ663+ROGLQJV//&LQZKLFK7UXVVZD\KDGDPDMRULW\LQWHUHVW8SRQ

     LQIRUPDWLRQDQGEHOLHIWKHVDOHZDVFRQGXFWHGZLWKRXWDIRUPDOFRPSHWLWLYHELGGLQJSURFHVV

     DQG UHVXOWHG LQ D ORVV RI  PLOOLRQ GHVSLWH FHUWDLQ PHWULFV RI 663 +ROGLQJV //& KDYLQJ

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     &RXUWSURKLELWWKH'HEWRUIURPDXWKRUL]LQJDQ\VXFKVDOHVIRUDSHULRGRIGD\VDEVHQWIXUWKHU

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                                                       Counsel for Highland Capital Management Fund
                                                       Advisors, L.P., NexPoint Advisors, L.P.,
                                                       Highland Income Fund, NexPoint Strategic
                                                       Opportunities Fund, and NexPoint Capital, Inc.




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                         )
    In re:                                               )      Chapter 11
                                                         )
    HIGHLAND CAPITAL MANAGEMENT, L.P.                    )      Case No. 19-34054 (SGJ11)
                                                         )
             Debtors.                                    )      (Jointly Administered)
                                                         )
                                                         )

                                DECLARATION OF DUSTIN NORRIS

             I, Dustin Norris, hereby declare pursuant to 28 U.S.C. § 1746, that the following is true

    and correct.

             1.      I am the Executive Vice President of NexPoint Advisors, L.P. (“NexPoint”).

             2.      I submit this Declaration based on my personal knowledge and information

    supplied to me by other members of NexPoint’s management. I submit this Declaration in support

    of the Motion for Order Imposing Temporary Restrictions on Debtor’s Ability, as Portfolio

    Manager, to Initiate Sales by Non-Debtor CLO Vehicles (the “Motion”) by NexPoint, Highland

    Capital Management Fund Advisors, L.P. (“HCMFA”, and together with NexPoint, the

    “Advisors”), Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint

    Capital, Inc. (together, the “Funds”).

             3.      The Motion concerns the following non-debtor investment vehicles: Aberdeen

    Loan Funding, Ltd., Brentwood CLO, Ltd., Eastland CLO, Ltd., Gleneagles CLO, Ltd., Grayson

    CLO, Ltd., Greenbriar CLO, Ltd., Jasper CLO, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd.,

    Rockwall CDO, Ltd., Rockwall CDO II Ltd., Southfork CLO, Ltd., Stratford CLO Ltd., Loan

    Funding VII, LLC, and Westchester CLO, Ltd. (collectively, the “CLOs”).



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             4.     The Funds each hold interests in the CLOs.

             5.     The CLOs are securitization vehicles formed to acquire and hold pools of debt

    obligations. They also issued various tranches of notes and preference shares, which are intended

    to be repaid from proceeds of the subject CLO’s pool of debt obligations. The notes issued by the

    CLOs are paid according to a contractual waterfall, with the value remaining in the CLO after the

    notes are fully paid flowing to the holders of the preference shares.

             6.     The CLOs were created many years ago. Most of the CLOs are, at this point, past

    their reinvestment period and have paid off all the tranches of notes or, in a few instances, all but

    the last and most junior tranche. Accordingly, most of the economic value remaining in the CLOs,

    and all of the upside, belongs to the holders of the preference shares. The repayment status of the

    notes in the CLOs as of November 2020 is shown on Exhibit A hereto, and the Funds’ collective

    ownership of the preference shares is shown on Exhibit B hereto.

             7.     The CLOs have each separately contracted for Highland Capital Management, L.P.

    (the “Debtor”) to serve as the CLO’s portfolio manager. The title given to the Debtor by the CLOs

    varies from CLO to CLO based on the relevant agreements, but the Debtor has the same general

    rights and obligations for each CLO. In this capacity, the Debtor is responsible, among other

    things, for making decisions to sell the CLOs assets. Although the portfolio management

    agreements vary, the agreements generally impose a duty on the Debtor when acting as portfolio

    manager to maximize the value of the CLO’s assets for the benefit of the CLO’s noteholders and

    preference shareholders.

             8.     During the chapter 11 case, the Debtor has directed the disposition of other assets

    in a manner that suggests a focus on quick monetization at the expense of maximizing returns for

    investors and/or the estate. For example, Debtor-controlled entities sold a collective majority



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  interest in an unsecured term loan to OmniMax International, Inc. Other non-Debtor controlled

  entities, advised by the Advisors, were able to secure a substantially better price for their stake in

  the same asset by being willing to hold it and transacting at a later date. Given the Debtor-

  controlled entities large ownership in the unsecured loan, the Advisors believe the Debtor was

  well-positioned to realize a higher price.

           9.     Also, upon information and belief, the Debtor, through its wholly owned subsidiary

  Trussway Holdings, LLC (“Trussway”), consummated a sale transaction where Trussway sold a

  division, SSP Holdings, LLC, in which Trussway had a majority interest. Upon information and

  belief, the sale was conducted without a formal competitive bidding process and resulted in a loss

  of $10 million, despite certain metrics of SSP Holdings, LLC having improved materially since it

  was acquired in 2014.

           10.    The Advisors did not agree with the Debtor’s decision to execute recent sales for

  certain of the CLOs, because the Advisors viewed those assets as having greater value if held as

  long-term investments. When the Advisors became aware the Debtor was considering these

  transactions, NexPoint requested that the Debtor not consummate the sales.

           11.    Upon information and belief, none of the CLOs need liquidity at the current time,

  as the next quarterly waterfall payments are not due until February 2021.

         I declare under the penalty of perjury under the laws of the United States that the
  foregoing is true and correct.

           Executed this 8th day of December, 2020, in Allen, Texas,



                                                By:
                                                          Dustin Norris




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                                      EXHIBIT A




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                                      CLO Note Repayment Status1

     Aberdeen Loan Funding, Ltd.

                    Security                   CUSIP                 Remaining Balance
         Class A Notes                       00306LAA2                                   $0
         Class B Notes                       00306LAB0                                   $0
         Class C Notes                       00306LAC8                                   $0
         Class D Notes                       00306LAD6                                   $0
         Class E Notes                       00306MAA0                                   $0
         Class I Preference Shares           00306M201                       $12,000,000.00
         Class II Preference Shares          00306M300                       $36,000,000.00

     Brentwood CLO, Ltd.

                    Security                    CUSIP                Remaining Balance
         Class A-1A Notes                    107265AA8                                   $0
         Class A-1B Notes                    107265AM2                                   $0
         Class A-2 Notes                     107265AC4                                   $0
         Class B Notes                       107265AE0                                   $0
         Class C Notes                       107265AG5                                   $0
         Class D Notes                       107265AK5                       $10,279,258.35
         Class I Preference Shares            107264202                      $34,400,000.00
         Class II Preference Shares           107264400                      $37,000,000.00

     Eastland CLO, Ltd.

                    Security                    CUSIP                Remaining Balance
         Class A-1 Notes                     277345AA2                                   $0
         Class A-2a Notes                    277345AC8                                   $0
         Class A-2b Notes                    277345AE4                                   $0
         Class A-3 Notes                     277345AG9                                   $0
         Class B Notes                        277345AJ3                                  $0
         Class C Notes                       277345AL8                                   $0
         Class D Notes                       27734AAA1                        $3,251,287.27
         Class I Preference Shares           27734A202                       $85,000,000.00
         Class II Preference Shares          27734A400                       $38,500,000.00




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         As of December 1, 2020.


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     Gleneagles CLO, Ltd.

                Security                   CUSIP                 Remaining Balance
      Class A-1 Notes                                                                $0
      Class A-2 Notes                                                                $0
      Class B Notes                                                                  $0
      Class C Notes                                                                  $0
      Class D Notes                                                                  $0
      Class 1 Combination Notes                                                      $0
      Class 2 Combination Notes                                                      $0
      Preference Shares            37866PAB5 & G39165AA6                 $91,000,000.00

     Grayson CLO, Ltd.

                 Security                  CUSIP                 Remaining Balance
      Class A-1a Notes                   389669AA0                                   $0
      Class A-1b Notes                   389669AB8                                   $0
      Class A-2 Notes                    389669AC6                                   $0
      Class B Notes                      389669AD4                                   $0
      Class C                            389669AE2                                   $0
      Class D                            389668AA2                        $9,011,534.74
      Class I Preference Shares          389669203                       $52,500,000.00
      Class II Preference Shares         389669302                       $75,000,000.00

     Greenbriar CLO, Ltd.

                 Security                  CUSIP                 Remaining Balance
      Class A Notes                      393647AA0                                   $0
      Class B Notes                      393647AB8                                   $0
      Class C Notes                      393647AC6                                   $0
      Class D Notes                      393647AD4                                   $0
      Class E Notes                      39364PAA0                                   $0
      Class I Preference Shares          39364P201                       $20,000,000.00
      Class II Preference Shares         39364P300                       $60,000,000.00

     Jasper CLO, Ltd.

                Security                   CUSIP                 Remaining Balance
      Class A Notes                                                                  $0
      Class B Notes                                                                  $0
      Class C Notes                                                                  $0
      Class D-1 Notes                                                                $0
      Class D-2 Notes                                                                $0
      Preference Shares                  471315200                       $70,000,000.00



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     Liberty CLO, Ltd.

                Security                  CUSIP                  Remaining Balance
      Class A-1a Notes                                                               $0
      Class A-1b Notes                                                               $0
      Class A-1c Notes                                                               $0
      Class A-2 Notes                                                                $0
      Class A-3 Notes                                                                $0
      Class A-4 Notes                                                                $0
      Class B Notes                                                                  $0
      Class C Notes                                                                  $0
      Class Q-1 Notes                                                                $0
      Class P-1 Notes                                                                $0
      Class E Certificates         EP0175232 & 530360205                 $94,000,000.00

     Red River CLO, Ltd.

                 Security                 CUSIP                  Remaining Balance
      Class A Notes                     75686VAA2                                    $0
      Class B Notes                     75686VAB0                                    $0
      Class C Notes                     75686VAC8                                    $0
      Class D Notes                     75686VAD2                                    $0
      Class E Notes                     75686XAA8                                    $0
      Class I Preference Shares         75686X209                        $36,000,000.00
      Class II Preference Shares        75686X308                        $45,000,000.00

     Rockwall CDO, Ltd.

                 Security                 CUSIP                  Remaining Balance
      Class A-1LA Notes                 774262AA7                                    $0
      Class A-1LB Notes                 774262AB5                                    $0
      Class A-2L Notes                  774262AC3                                    $0
      Class A-3L Notes                  774262AD1                                    $0
      Class A-4L Notes                  774262AE9                                    $0
      Class B-1L Notes                  774262AF6                                    $0
      Class X Notes                     774262AG4                                    $0
      Class I Preference Shares         774272207                        $33,200,000.00
      Class II Preference Shares        774261127                        $45,000,000.00




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     Rockwall CDO II Ltd.

                 Security                  CUSIP                 Remaining Balance
      Class A-1LA Notes                 77426NAA1                                    $0
      Class A-1LB Notes                 77426NAB9                                    $0
      Class A-2L Notes                  77426NAC7                                    $0
      Class A-3L Notes                  77426NAD5                                    $0
      Class B-1L Notes                  77426NAE3                                    $0
      Class B-2L Notes                  77426RAA2                         $9,838,508.11
      Class I Preference Shares          77426R203                       $42,200,000.00
      Class II Preference Shares         77426R401                       $44,000,000.00

     Southfork CLO, Ltd.

                Security                  CUSIP                  Remaining Balance
      Class A-1a Notes                                                               $0
      Class A-1b Notes                                                               $0
      Class A-1g Notes                                                               $0
      Class A-2 Notes                                                                $0
      Class A-3a Notes                                                               $0
      Class B Notes                                                                  $0
      Class C Notes                                                                  $0
      Preference Shares                  84427P202                       $80,200,000.00
      Class I Composite Note                                              $2,000,000.00

     Stratford CLO Ltd.

                 Security                 CUSIP                  Remaining Balance
      Class A-1 Notes                   86280AAA5                                    $0
      Class A-2 Notes                   86280AAC1                                    $0
      Class B Notes                     86280AAD9                                    $0
      Class C Notes                     86280AAE7                                    $0
      Class D Notes                     86280AAF4                                    $0
      Class E Notes                     86280AAG2                                    $0
      Class I Preference Shares         86280A202                        $17,500,000.00
      Class II Preference Shares        86280A301                        $45,500,000.00




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     Loan Funding VII, LLC (aka Valhalla)

                 Security                     CUSIP                 Remaining Balance
      Class A-1-A Notes
      Class A-2 Notes
      Class B Notes
      Class C-1 Notes
      Class C-2 Notes
      Class I Preference Shares             91914QAA4                       $82,000,000.00

     Westchester CLO, Ltd.

                 Security                      CUSIP                Remaining Balance
      Class A-1-A Notes                     95736XAA6                                   $0
      Class A-1-B Notes                     95736XAB4                                   $0
      Class B Notes                         95736XAD0                                   $0
      Class C Notes                         95736XAE8                                   $0
      Class D Notes                         95736XAF5                                   $0
      Class E Notes                         95736XAG3                        $9,141,575.05
      Class I Preference Shares              95736T206                      $80,000,000.00




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                                     EXHIBIT B




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                                 Holdings of Preference Shares1 in CLOs


               CLO                HIF                NSOF            NC            Total
        Aberdeen                  0%                 30.21%           0%          30.21%
        Brentwood                 0%                 40.06%           0%          40.06%
        Eastland                31.16%               10.53%           0%          41.69%
        Gleneagles               9.74%                8.52%           0%          18.26%
        Grayson                 49.10%               10.75%         0.63%         60.48%
        Greenbriar                0%                 53.44%           0%          53.44%
        Jasper                    0%                 17.86%           0%          17.86%
        Liberty                   0%                 10.64%           0%          10.64%
        Red River                 0%                 10.49%           0%          10.49%
        Rockwall                 6.14%               19.57%           0%          25.71%
        Rockwall II             14.56%                5.65%           0%          20.21%
        Southfork                 0%                  7.30%           0%           7.30%
        Stratford                 0%                 69.05%           0%          69.05%
        Loan Funding VII          0%                 1.83%            0%
                                                                                   1.83%
        (aka Valhalla)
        Westchester                0%                44.38%          0%           44.38%




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        Class E Certificates for Liberty CLO, Ltd.


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    
    Counsel for Highland Capital Management Fund Advisors, L.P.,
    NexPoint Advisors, L.P., Highland Income Fund, NexPoint
    Strategic Opportunities Fund, and NexPoint Capital, Inc.




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                          IN THE UNITED STATES BANKRUPTCY COURT
        1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
        2
                                           )    Case No. 19-34054-sgj-11
        3   In Re:                         )    Chapter 11
                                           )
        4   HIGHLAND CAPITAL               )    Dallas, Texas
            MANAGEMENT, L.P.,              )    Wednesday, December 16, 2020
        5                                  )    1:30 p.m. Docket
                      Debtor.              )
        6                                  )    - MOTION FOR ORDER IMPOSING
                                           )    TEMPORARY RESTRICTIONS [1528]
        7                                  )    - DEBTOR'S EMERGENCY MOTION TO
                                           )    QUASH SUBPOENA AND FOR ENTRY
        8                                  )    OF PROTECTIVE ORDER [1564,
                                           )    1565]
        9                                  )    - JAMES DONDERO'S MOTION FOR
                                           )    ENTRY OF ORDER REQUIRING
       10                                  )    NOTICE AND HEARING [1439]
                                           )
       11
                                TRANSCRIPT OF PROCEEDINGS
       12              BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                             UNITED STATES BANKRUPTCY JUDGE.
       13
            WEBEX APPEARANCES:
       14
            For the Debtor:                Jeffrey N. Pomerantz
       15                                  PACHULSKI STANG ZIEHL & JONES, LLP
                                           10100 Santa Monica Blvd.,
       16                                    13th Floor
                                           Los Angeles, CA 90067-4003
       17                                  (310) 277-6910

       18   For the Debtor:                John A. Morris
                                           Gregory V. Demo
       19                                  PACHULSKI STANG ZIEHL & JONES, LLP
                                           780 Third Avenue, 34th Floor
       20                                  New York, NY 10017-2024
                                           (212) 561-7700
       21
            For the Official Committee     Matthew A. Clemente
       22   of Unsecured Creditors:        SIDLEY AUSTIN, LLP
                                           One South Dearborn Street
       23                                  Chicago, IL 60603
                                           (312) 853-7539
       24

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        1              DALLAS, TEXAS - DECEMBER 16, 2020 - 1:35 P.M.

        2              THE COURT:    All right.   This is Judge Jernigan.       We

        3   have settings in Highland.       We have -- I guess the very first

        4   thing that we had set today was a motion of Dondero, Mr.

        5   Dondero wanting some sort of revised procedures for "future

        6   estate transactions occurring outside the ordinary course of

        7   business."    Then, related to that, we received the other day

        8   -- I'm not showing it on the calendar, I'm not sure if that

        9   means it's moot now or not, but we had a motion for protective

       10   order and a motion to quash with regard to certain depositions

       11   that Mr. Dondero wanted in connection with his motion.            The

       12   Debtor filed that motion to quash.       It was to quash a

       13   deposition of Mr. Dubel, Mr. Nelms, Mr. Sevilla, and Mr.

       14   Caruso.    And then we have the CLO Motion, what I'm calling the

       15   CLO Motion, of --

       16        (Interruption.)

       17              THE COURT:    Okay.   Let's --

       18              MR. POMERANTZ:   Your Honor, this is Jeff Pomerantz.

       19   The first two motions have been resolved.        And after Your

       20   Honor takes appearances, I'm happy to inform the Court of the

       21   proposed resolution, and there's an agreed order that we would

       22   upload after the hearing.

       23              THE COURT:    Okay.   Well, that is certainly music to

       24   my ears.    All right.   So I was just trying to lay out the

       25   program for what I thought was set, potentially three motions,




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        1   one of which was a deposition dispute.

        2        All right.   So let's go ahead and get appearances.          Mr.

        3   Pomerantz, you're obviously appearing for the Debtor team.

        4              MR. POMERANTZ:    Yes.   Good morning, Your Honor.       Or

        5   good afternoon, Your Honor.      Jeff Pomerantz; Pachulski Stang

        6   Ziehl & Jones.    Also on the video with me today are John

        7   Morris and Greg Demo.      They will be handling the CLO Motion,

        8   and I will be reporting to the Court on the resolution of Mr.

        9   Dondero's motion and our corollary discovery motions.

       10              THE COURT:    Okay.   All right.   Well, why don't I take

       11   an appearance from Mr. Dondero next.       Mr. Lynn, I see you

       12   there.

       13              MR. LYNN:    Yes, Your Honor.    I am here with Bryan

       14   Assink, who will replace me after the preliminaries when our

       15   business is done.      Other than concurring with Mr. Pomerantz, I

       16   wanted to advise Your Honor that in the last 30 minutes we

       17   filed an additional motion where we're seeking a clarification

       18   with respect to the temporary restraining order that the Court

       19   entered last week.

       20              THE COURT:    All right.   Well, I did see an email from

       21   my courtroom deputy right before walking in about that motion,

       22   and so that's why I was a little surprised and said "Music to

       23   my ears" that there was an agreed order on the Dondero

       24   motions.   But I'll get the details --

       25              MR. LYNN:    Well, we're --




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        1             THE COURT:    I'll get the details about that in a

        2   minute.   Let me go ahead and get the other appearances.

        3        For the Movants on what I've called the CLO Motion, who do

        4   we have appearing?

        5             MR. WRIGHT:    Good afternoon, Your Honor.     It's James

        6   Wright of K&L Gates for the -- I guess I'll call them the

        7   Movant for this motion.

        8             THE COURT:    Yes.   Sometimes you're referred to as the

        9   Advisors and the Funds and -- but Movants on Docket Entry

       10   1528.

       11        All right.    For the Committee, I know you have weighed in

       12   on a couple of these motions.       Who do we have?

       13             MR. CLEMENTE:    Good afternoon, Your Honor.        Matt

       14   Clemente with Sidley Austin on behalf of the Committee.

       15             THE COURT:    All right.    Well, we have a lot of folks

       16   on the phone.     I think I've covered everybody who filed a

       17   pleading for today.     Is there anyone else who would like to

       18   appear?   I'd really like to restrict it only to those who have

       19   filed pleadings today.

       20             MS. MATSUMURA:    This is Rebecca Matsumura from King &

       21   Spalding representing Highland CLO Funding, Ltd.       I don't

       22   expect I'll be weighing in today, but there are a couple

       23   issues that I may say a sentence on, so I want to go ahead and

       24   make my appearance now.

       25             THE COURT:    All right.    Thank you.   Anyone else?




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        1              MR. BAIN:    Yes, Your Honor.    Joseph Bain; Jones

        2   Walker; on behalf of the CLO Issuers.

        3              THE COURT:    All right.

        4              MR. BAIN:    And Your Honor, if we may make certain

        5   comments at the requisite time, we'd appreciate it.

        6              THE COURT:    All right.   Thank you.   Anyone else?

        7        All right.   Well, Mr. Pomerantz, let's hear about the

        8   agreements you have on the Dondero-related motions.

        9              MR. POMERANTZ:   Happy to, Your Honor.      And yes, Mr.

       10   Lynn is correct, we saw also an emergency motion that came

       11   through that I'll have a couple of comments at the end of my

       12   presentation.

       13        So, as I mentioned before, Your Honor, I'm pleased to

       14   report that with respect to the two motions that Your Honor

       15   scheduled for today's hearing, we have an agreement with Mr.

       16   Dondero.   One was the motion of Mr. Dondero requiring

       17   transactions out of the ordinary course to be brought before

       18   this Court.   The second was the Debtor's motion to quash a

       19   series of subpoenas that had been issued in the last two days,

       20   requiring board members and others to testify.

       21        As part of the agreement, we have agreed with Mr. Dondero

       22   that his motion, which is presently set for today, shall be

       23   continued to January 4th, which is the same date set as the

       24   continued hearing on the preliminary injunction relating to

       25   the TRO that Your Honor had entered last week.




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        1        As part of that agreement, the Debtor has agreed that it

        2   will provide Mr. Dondero with three business days' notice

        3   before selling any non-security assets from any managed funds

        4   accounts through and including January 13th, which is the date

        5   set for confirmation.

        6        While, as the Court is aware, the Debtor doesn't believe

        7   that any notice, opportunity for hearing, or an order from the

        8   Court is required in connection with such transactions, as the

        9   Debtor does not have any current plans to sell non-security

       10   assets from managed funds before confirmation, it was willing

       11   to agree to the notice requirement as essentially a way of

       12   resolving the motion before Your Honor today and continuing

       13   until the 4th.

       14        As part of the agreement as well, Your Honor, the parties

       15   have agreed that there will be no further discovery in

       16   connection with the motion that is set.      That'll be no

       17   additional discovery by Mr. Dondero, so he is withdrawing the

       18   subpoenas as it relates to this motion, and there will be no

       19   further discovery as -- by the Debtor.      As Your Honor, I

       20   think, is aware, there were depositions conducted of both Mr.

       21   Seery and Mr. Dondero on Monday in connection with this

       22   motion, but the discovery will not happen over the next couple

       23   of weeks.

       24        Mr. Dondero wanted to make sure, and the Debtor didn't

       25   have any opposition, that that agreement with respect to no




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        1   discovery only relates to the pending motion before the Court.

        2   And in connection with any other matters relating to this

        3   bankruptcy case, Mr. Dondero would reserve the right to pursue

        4   discovery, and of course the Debtors would reserve the right

        5   to challenge discovery if we believed it was inappropriate or

        6   unduly burdensome.

        7       With respect to the motion that was just filed, Your

        8   Honor, we had a chance to briefly review it.      We haven't had a

        9   chance to discuss it with the board.     In any event, we don't

       10   think there's an emergency.    Mr. Dondero wants the opportunity

       11   to approach and communicate with the board.      I've told Mr.

       12   Lynn that communications regarding the plan are to go through

       13   Mr. Seery.   Mr. Seery is the Debtor's chief executive officer.

       14   He's the chief restructuring officer.      And at this point, the

       15   board doesn't see a reason or have a desire to meet with Mr.

       16   Dondero to talk about his plan, but, again, would be happy to

       17   receive any written communications that Mr. Dondero has.

       18       Mr. Dondero has sought to modify the TRO to allow him to

       19   speak to the board.    Again, if the board agreed to speak with

       20   Mr. Dondero, that wouldn't violate the TRO, provided that

       21   counsel would be present.    But at this point, the board has

       22   decided that it would be inappropriate and not a good use of

       23   anyone's time to have that communication and that Mr. Dondero

       24   should continue to communicate through Mr. Seery, the Debtor's

       25   chief executive officer.




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        1        If Your Honor, after reading the motion and hearing my

        2   comments, and I'm sure Judge Lynn's comments that he will make

        3   to Your Honor, Your Honor wants to set it for hearing, we

        4   would submit, Your Honor, there's no emergency and that a

        5   hearing could be set next week, but we would think Your Honor

        6   might be able to dispose of the motion just on the papers and

        7   the limited argument that would go on today.

        8             THE COURT:    All right.

        9             MR. POMERANTZ:    Thank you, Your Honor.

       10             THE COURT:    All right.   Mr. Lynn, first, could you

       11   confirm the terms of the agreed order that Mr. Pomerantz just

       12   announced are consistent with what you and your client

       13   believed was negotiated?

       14             THE CLERK:    He's on mute.

       15             THE COURT:    You're on mute, sir.

       16             MR. LYNN:    Mr. Pomerantz has correctly stated the

       17   agreement of the parties.     I am pleased to advise Your Honor

       18   that I expect that we will withdraw the motion that is

       19   presently pending to be heard on January 4th, since all we

       20   were asking for was notice until confirmation date.       If those

       21   sales are going to take place before then, we don't have a

       22   problem any longer with the pre-confirmation activity of Mr.

       23   Seery.

       24        With regard to the motion that we filed requesting that

       25   the temporary restraining order be modified, we would point




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        1   out, respectfully, that the independent board is the board of

        2   directors of Strand Advisors.       Strand Advisors belongs to Mr.

        3   Dondero.   It is not unreasonable for the sole stockholder of

        4   Strand Advisors to ask the board questions or present thoughts

        5   to the board or ask its advice.       Mr. Seery, on the other hand,

        6   while being a member of the board of Strand, is the chief

        7   executive officer and the chief restructuring officer of

        8   Highland, which is not the same as Strand.

        9        Furthermore, Your Honor, Mr. Dondero has been attempting

       10   for several months to negotiate an arrangement by which the

       11   Debtor can continue as a going concern.      It is his desire to

       12   discuss further with the board as a whole what he can do in

       13   that regard.   I think the Court, by directing him originally

       14   to participate in the mediation that took place in September,

       15   expected him to do so.      He has attempted to do so.   And while

       16   he has not gotten a response from the Creditors' Committee

       17   that is definitive, he has at least caught the interest of Mr.

       18   Seery, though that interest may have died for a variety of

       19   reasons in recent weeks.

       20        And by the way, next week is fine with us.      We're not in a

       21   hurry beyond that if the Court feels further discussion would

       22   be useful.

       23              MR. POMERANTZ:    Your Honor, just a couple of points

       24   in response.

       25        Mr. Dondero has the right to request an audience with the




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        1   board.    He has requested the audience with the board.       The

        2   board has considered it and decided not to communicate in that

        3   fashion with Mr. Dondero at this time.      There is nothing that

        4   Your Honor can do in the TRO that would change that, other

        5   than ordering the board to speak with Mr. Dondero, which I

        6   highly doubt Your Honor would do.

        7          Having said that, this board in general and Mr. Seery in

        8   particular have been very supportive of an overall resolution

        9   to this case, not only with the creditors, but with Mr.

       10   Dondero.    Mr. Seery has spent tens if not hundreds of hours

       11   over the last several months working with Mr. Dondero to try

       12   to get him in a position to present something that would have

       13   traction with the Unsecured Creditors.      Unfortunately, that

       14   hasn't occurred.    We understand there have been communications

       15   between Mr. Lynn and Mr. Clemente.      And if there is any hope

       16   of a plan and any traction with the creditors, this Debtor in

       17   general and Mr. Seery in particular stands ready, willing, and

       18   able to do anything within the Debtor's power to help that

       19   out.

       20          So, it's not really the Debtor standing in the way.      It's

       21   an economic agreement ultimately that needs to be reached with

       22   Mr. Clemente and his constituents and Mr. Lynn.       And if that

       23   can be reached, we will be the first to jump on that bandwagon

       24   and do everything humanly possible to have that occur.

       25          Thank you, Your Honor.




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        1               THE COURT:    All right.   Well, again, I've not read

        2   the motion.    I've just seen an email that I have this motion.

        3   I'm a little bit confused.      I don't want to spend too long on

        4   this because we have another motion to get to.         But I'm a

        5   little bit confused on how Dondero wants the TRO to be

        6   modified.    If he has the right already to request an audience

        7   of the board, what is it that is problematic about the TRO

        8   that he wants modified?

        9               THE CLERK:    He's on mute.

       10               THE COURT:   You're on mute.

       11               MR. LYNN:    Sorry, Your Honor.    As I told you before,

       12   you must forgive me, my command of technology is not great.

       13        In response, I would say that I question whether it is

       14   appropriate, in advance of a meeting with the board of his

       15   company, that what he wants to talk about should be screened.

       16   And that is what has occurred in our effort to meet by

       17   telephone with the board.

       18        Any such meeting would, of course, be subject to the

       19   restraints that are included in the temporary restraining

       20   order, in that both Mr. Pomerantz or his designee and I would

       21   participate in any such discussion.        I respectfully submit

       22   Strand is his.    Nobody may like that, but it is his, and he

       23   ought to be able to talk to his own board.

       24               THE COURT:    Is this about having a conversation

       25   without the Committee's involvement?        I just don't -- hmm.        I




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        1   just need to see the motion.

        2        Mr. Clemente, anything you want to add at this juncture?

        3   Have you even reviewed the motion yet?

        4             MR. CLEMENTE:    Your Honor, I apologize.    I haven't

        5   actually even seen the motion.      And so I have no comment on

        6   it, Your Honor.    I apologize for not having been able to look

        7   at it.

        8             THE COURT:    Okay.   Well, what about the agreed order

        9   that's been announced?    Any comment on that?

       10             MR. CLEMENTE:    Your Honor, we support the resolution

       11   that Mr. Pomerantz announced on the record.

       12             THE COURT:    Okay.   All right.   Well, I assume there's

       13   nothing further, then, on the Dondero motions that were

       14   scheduled today?

       15        All right.    So I will happily accept the agreed order that

       16   has been announced.    For now, we will continue the Dondero

       17   motion that was Docket Entry No. 1439 to January 4th, when the

       18   preliminary injunction hearing is set.       And we -- I understand

       19   there are going to be no more discovery requests in connection

       20   with these matters that were set today.

       21        And I will review the motion that Mr. Dondero has filed

       22   shortly before today's hearing in chambers later, and I will

       23   have my courtroom deputy communicate to the lawyers whether I

       24   see fit to set it for an emergency hearing next week or rule

       25   on the pleadings or set it for January 4th.      Those are, I




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        1   guess, the three possibilities I can think of that I might

        2   decide upon.

        3          So, again, I'm not making any ruling at all on a motion I

        4   haven't read yet.       So I'll -- the courtroom deputy will let

        5   you all know, if not later today, tomorrow.         Probably

        6   tomorrow, because I have a confirmation hearing set later

        7   today in another case.

        8          All right.   So, thank you all for working these issues

        9   out.    And Mr. Pomerantz, Mr. Dondero -- or, excuse me, Mr.

       10   Lynn, anything further on the Dondero disputes?

       11               MR. POMERANTZ:    Nothing from the Debtor, Your Honor.

       12               MR. LYNN:    Your Honor, nothing from Mr. Dondero.       May

       13   I be excused?

       14               THE COURT:    Is anyone anticipating needing Mr.

       15   Dondero's counsel for the other matter?        All right.      If not,

       16   then I certainly have no problem with you dropping off the

       17   line, Mr. Lynn.     Thank you.

       18               MR. LYNN:    Thank you, Your Honor.

       19               THE COURT:    Okay.   All right.   So let's turn next to

       20   the CLO Motion.     I take it there are no agreements on this

       21   one?

       22               MR. POMERANTZ:    There are not, Your Honor.

       23               MR. WRIGHT:    There are not, Your Honor.     I can

       24   confirm that.

       25               THE COURT:    All right.   Mr. Wright, do you have




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        1   anything you want to say as far as an opening statement before

        2   we go to the evidence?

        3             MR. WRIGHT:    I don't, Your Honor.    My intention, if

        4   it's okay with you, you asked me to bring a witness, so I do

        5   have Mr. Norris from my client, and I was going to just remind

        6   the Court who I am and state the name of all of my Movants,

        7   and then I was going to move directly to put him on the stand

        8   and go through a brief direct.

        9             THE COURT:    All right.     I think I heard Mr. Morris is

       10   going to handle this phase of the hearing.

       11             MR. DEMO:    And Your Honor, this is Greg Demo from

       12   Pachulski on behalf of the Debtor.

       13             THE COURT:    Oh, okay.

       14             MR. DEMO:    We would like to make a brief opening

       15   statement before we have witnesses, if that's all right with

       16   Your Honor.

       17             THE COURT:    All right.     I'm fine with that.    So, --

       18             MR. DEMO:    All right.

       19             THE COURT:    -- go ahead.

       20             MR. DEMO:    All right.    Well, thank you, Your Honor.

       21   Again, Greg Demo; Pachulski Stang; on behalf of the Debtor.

       22        We are here today on what really amounts to the third of

       23   three motions that deal with Mr. Dondero's attempts, either

       24   directly or through a proxy, to transfer control away from the

       25   Debtor and back to Mr. Dondero.




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        1        The current motion is filed by NexPoint Capital and

        2   Highland Capital Management Fund Advisors and three of their

        3   managed funds:    Highland Income Fund, NexPoint Capital, and

        4   NexPoint Strategic Opportunities Funds.

        5        Mr. Dondero owns and controls NexPoint Capital and

        6   Highland Capital Management Fund Advisors.      While both

        7   NexPoint Capital and Highland Capital Management Fund Advisors

        8   are governed by boards, the boards have no investment

        9   authority with respect to the funds they manage, nor was the

       10   boards' approval necessary to file the motion, or obtained.

       11        Mr. Dondero is the sole portfolio manager for NexPoint

       12   Strategic Opportunities Fund and Highland Income Fund.          Mr.

       13   Dondero is one of three portfolio managers for NexPoint

       14   Capital.   Mr. Dondero's decisions are not subject to

       15   oversight.

       16        The Movants disclosed these facts in their recent SEC

       17   filings, and there can be no dispute that Mr. Dondero is the

       18   controlling figure behind the Movants in the relief being

       19   sought in the motion which seeks to impede the Debtor's

       20   efforts to exercise its rights as a CLO manager.

       21        The fact that this motion was even filed is quite

       22   surprising, since on December 7th the Debtor filed a complaint

       23   and TRO based upon Mr. Dondero's unlawful efforts to frustrate

       24   the Debtor's efforts to sell assets from the very CLOs that

       25   are the subject of this motion.




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        1        The Court granted the TRO on December 10th.      Mr. Dondero

        2   also filed a motion seeking similar relief in November, which

        3   has now been adjourned to January 4th.

        4        The Movants are essentially now seeking an order from this

        5   Court enjoining the Debtor from exercising its rights as a CLO

        6   manager and requiring the Debtor to seek the Movants' and Mr.

        7   Dondero's permission to fulfill its obligations as a manager

        8   for the CLOs.

        9        The Movants, however, do not come right out and say this,

       10   and instead couch the motion as seeking to simply pause the

       11   CLOs' asset sales while the Movants and the Debtor engage in

       12   discussions regarding the future of the CLOs' management.

       13        In the motion, the Movants also argue the Debtor has made

       14   decisions detrimental to the interests of the preference

       15   shareholders because the Debtor is trying to monetize its

       16   assets in a manner inconsistent with the preference shares'

       17   objectives.

       18        The Movants simply mischaracterize the facts, the parties'

       19   respective rights under contracts, and the law.

       20        First, to the extent the Movants hold interests, they hold

       21   only preference shares in the CLOs and are minority investors

       22   in the preference shares of 12 of the 15 CLOs at issue.         In

       23   one third of the CLOs, the Movants' interests sit behind

       24   senior debt which must be paid first.

       25        Notably, Your Honor, no other investors in the CLOs are




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        1   here or have expressed support for the Movants' position.

        2        Second, the Movants simply have no right under the

        3   contracts governing the CLOs to the relief they are

        4   requesting.    The CLOs are governed by a series of agreements

        5   which were agreed to long ago and dictate the rights of all

        6   investors of the CLOs.    The enforceability of those agreements

        7   is relied on by all investors, not just the Movants.

        8        Under these agreements, investment discretion is given to

        9   the CLOs' manager -- in this case, the Debtor -- and no

       10   investor has the right to direct the CLO manager.       The manager

       11   was chosen to manage the CLOs' assets.      No individual investor

       12   was chosen to manage the CLOs' assets.

       13        Simply said, there will be no evidence that the Movants

       14   have the right to do what they're trying to do, and there will

       15   be no evidence that the Movants' preferences with respect to

       16   the CLOs' assets is in line with that of the other investors

       17   in the CLOs.

       18        Under the relevant agreements, if an investor is not happy

       19   with a manager's performance, the investor's rights are

       20   generally limited to replacing the manager.      The investors

       21   here -- excuse me, the Movants here -- have not done that and

       22   cannot do that.    Under the agreements, replacement requires at

       23   least the majority of the preference shares that are not

       24   affiliates of the managers.     In 12 of the 15 CLOs, the Movants

       25   hold a substantial minority interest position.       They are not




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        1   the majority.   In the three CLOs in which they are the

        2   majority, the Movants still cannot replace the Debtor as the

        3   investment manager because they are the Debtor's affiliates.

        4        It is indisputable that, prior to January 9th, when Mr.

        5   Dondero was removed from control of the Debtor, that the

        6   Debtor, NexPoint Advisors, Highland Capital Management Fund

        7   Advisors, and the three funds were the Debtor's affiliates

        8   because of Mr. Dondero's common control.

        9        After January 9th, where the Court removed Mr. Dondero

       10   from control of the Debtor, the Debtor is arguably, under the

       11   documents, not an affiliate.     However, Your Honor, the Movants

       12   have disclosed in their recent proxy statements filed in 2020

       13   that they still consider themselves the Debtor's affiliate,

       14   and they should be bound by that statement.      The Movants, by

       15   virtue of Mr. Dondero's being removed from control of the

       16   Debtor, should not be able to use that removal to reassert

       17   control over the CLOs that were taken away from Mr. Dondero

       18   when he was removed in January 2020.

       19        The Debtor believes that additional briefing may be needed

       20   on this issue, and that a ruling specifically on this issue

       21   and the parties' relative rights under the CLO management

       22   agreements may be needed.     The Debtor reserves its right to

       23   brief this issue and to bring it before this Court, either as

       24   a declaratory judgment or any other procedurally-appropriate

       25   motion.




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        1        Because the Debtor -- excuse me.     The Movants have no

        2   right to the relief requested.      They argue that the relief is

        3   justified because of the mismatch between the investors'

        4   timelines and the Movants'.     This is not true.    The Movants

        5   cite to three transactions to justify their statement in the

        6   motion:   SSP, OmniMax, and certain recent transactions.

        7        The recent transactions were the attempted sales of two

        8   public equities immediately before Thanksgiving that Mr.

        9   Dondero interfered with.     You'll hear testimony from Mr. Seery

       10   about each of these transactions and how each was in the best

       11   interest of the CLOs.

       12        First, SSP.   SSP is a steel business that was suffering

       13   for a number of reasons.     The Debtor's investment team

       14   believed SSP should be sold since 2019.      The Debtor received

       15   multiple offers for SSP, the Debtor evaluated these offers,

       16   and the Debtor choose the one that was the best.       The SSP sale

       17   closed in early November.

       18        Notably, Your Honor, none of the CLOs held an equity

       19   interest in SSP, its parent, or in Trussway.       Instead, they

       20   held debt, and they got exactly what they bargained for,

       21   repayment of their debt obligations in full.

       22        OmniMax, Your Honor, is the second one.      It is a

       23   fabricator of building materials.      The CLOs and the Movants

       24   held an interest in OmniMax debt which they have been trying

       25   to refinance or equitize since 2019.      That deal was intended




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        1   to include the Movants, but instead of working with the

        2   Debtor, Mr. Dondero held out and used the threat of litigation

        3   against OmniMax to secure a higher price for the Movants, to

        4   the detriment of the CLOs.

        5        As Mr. Seery will testify, these two transactions were all

        6   about maximizing value and have nothing to do with investment

        7   timelines.

        8        Finally, Your Honor, the Movants reference the

        9   Thanksgiving transactions.     These transactions were discussed

       10   in the context of Mr. Dondero's TRO.      Mr. Seery directed

       11   Debtor personnel, on the advice of his investment team, to

       12   sell these securities.    Mr. Dondero blocked those trades.         Now

       13   the Movants argue that the reason those trades were blocked

       14   was because of a mismatch between the Movants' and the

       15   Debtor's investment timelines.      That is not the case.     Mr.

       16   Seery will testify as to these trades.      The Debtor is an

       17   investment manager and appreciates that its decisions with

       18   respect to how it manages its assets are -- is a judgment

       19   call.   The evidence, however, will show that the Debtor at all

       20   times exercised that judgment in good faith based on all

       21   available information.

       22        The Movants may disagree with the Debtor's judgment, Your

       23   Honor, but that is irrelevant.      The Movants have no right to

       24   interfere with the Debtor's management of the CLOs.       There is

       25   simply no statutory or contractual basis for this, not under




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       1   Section 363 and not under the CLO agreements.

       2        Finally, Your Honor, -- I guess not finally.       There's one

       3   more point I want to make.     But Your Honor, this -- what we're

       4   here on today is notably similar to the Acis bankruptcy that

       5   Your Honor noted last time we were here last week.       In that

       6   bankruptcy, HCLOF tried to direct the collateral manager to

       7   take certain actions that HCLOF thought were in the best

       8   interest of the CLOs.     In this case, the Movants, through Mr.

       9   Dondero, are trying to file an action that functionally seeks

      10   to direct the Debtor to take interests that the Movants

      11   believe are in their best interest.      There is substantial

      12   overlap between the litigation in Acis and the litigation

      13   here.

      14        Finally, Your Honor, the Debtor has been in discussions

      15   with the CLOs' counsel on this issue.      And the Debtor has been

      16   informed that the CLOs' position is that the Debtor's ability

      17   to operate under the management agreements should not be

      18   interfered with, not by the Movants or not by any other party.

      19        Thank you, Your Honor.    With that, I will turn it over to

      20   Mr. Norris.   Or, I'm sorry, Mr. Wright.

      21              THE COURT:    All right.   Mr. Wright, you may call your

      22   witness.

      23              MR. WRIGHT:   All right, Your Honor.    Dustin Norris

      24   should be -- should be dialed in and should be available on

      25   screens.




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        1             THE COURT:    Okay.    I'm going to --

        2             MR. WRIGHT:    I'll pause and have him confirm that.

        3             THE COURT:    I'm going to ask you, Mr. Wright, to

        4   speak up or closer to your device.        I didn't hear the name of

        5   your witness.

        6             MR. WRIGHT:    Sure.   Sorry.    It's Dustin Norris.    I --

        7   last time, you were having trouble hearing me, and so I'm

        8   trying a different device this time.       I actually followed the

        9   instructions that I found very helpful, so I'm trying my phone

       10   in hopes that it will work better.

       11             THE COURT:    All right.

       12             MR. WRIGHT:    But, yeah, it's Dustin Norris.       D-U-S-T-

       13   I-N, N-O-R-R -- N-O-R-R-I-S.

       14             THE COURT:    All right.    Mr. Norris, can you say

       15   "Testing one two" so we pick up your video?

       16             MR. NORRIS:    Testing one two.

       17             THE COURT:    All right.

       18             MR. NORRIS:    Testing one two.

       19             THE COURT:    All right.    Please raise your right hand.

       20                DUSTIN NORRIS, MOVANTS' WITNESS, SWORN

       21             THE COURT:    All right.    Mr. Wright, you may proceed.

       22             MR. WRIGHT:    Thank you, Your Honor.

       23                           DIRECT EXAMINATION

       24   BY MR. WRIGHT:

       25   Q    Mr. Norris, you're employed by NexPoint Advisors?




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        1   A    I am.   That's correct.

        2   Q    And what is your title and role there?

        3   A    Yeah.   I am the executive vice president of NexPoint

        4   Advisors.    In that role, I oversee business development,

        5   marketing, sales, investor relations.      And as far as the funds

        6   advised by the advisor, I'm the liaison with the independent

        7   board on the business side.

        8   Q    Thank you.   Do you also have a role for Highland Capital

        9   Management Fund Advisors?

       10   A    I do.   I'm also the same executive vice president and

       11   fulfill that same role as it pertains to business development,

       12   sales, investor relations.     And in both, I'm also working on

       13   product development.    So, launching, developing new products

       14   and investment funds.

       15   Q    Do you also have a role for Highland Income Fund, NexPoint

       16   Strategic Opportunities Fund, and NexPoint Capital, Inc.?

       17   A    I do.   I'm also executive vice president for each of those

       18   funds.

       19   Q    Thank you.   Have you ever served on the boards of these

       20   three funds?

       21   A    I have.    I've served as the interested trustee, sole

       22   interested trustee for each of these funds.      I'm no longer the

       23   board member or interested trustee, but still serve as an

       24   officer, executive vice president, for each fund.

       25   Q    At times, I'm going to refer to NexPoint Advisors, LP and




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        1   Highland Capital Management Fund Advisors, LP simply as the

        2   Advisors, to avoid having to keep saying their long names.

        3   And similarly with the three funds that are part of the

        4   motion, I may just call them the Funds.

        5        Can you explain the relationship between the Advisors and

        6   the Funds, briefly?

        7   A    Yeah.   So, each of these are investment companies that are

        8   registered under the Investment Company Act of 1940.          So, with

        9   that comes a unique relationship between an investment advisor

       10   and the funds themselves.     The Funds don't have employees.

       11   They rely on the investment advisor and investment advisor

       12   employees.   And between the Funds and the Advisors is an

       13   investment advisory agreement.      And the Funds themselves are

       14   also overseen by an independent board, and that's by statute

       15   by the 1940 Act.

       16   Q    Okay.   And just to be clear, when you said that these are

       17   -- entities are investment companies, you meant that the three

       18   Funds are investment companies?

       19   A    Correct.   Correct.   The three Funds are investment

       20   companies.   The investment advisors are not investment

       21   companies.

       22   Q    Thank you.    Can you explain the role of the board for the

       23   Funds?

       24   A    Yeah.   So, as prescribed by the Investment Company Act of

       25   1940, there are certain obligations related to an investment




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        1   company, and one of those is they must be overseen by an

        2   independent board.    And the independent board has a

        3   responsibility to oversee the -- certain material agreements,

        4   including the advisory agreement.      And we meet regularly with

        5   the boards.    They overseas certain processes and, again, all

        6   material contracts.    And the board is, by Section 15(c) of the

        7   1940 Act, required by law to annually review the capabilities

        8   of the Advisor and to either approve or reject the advisory

        9   contracts.    So, each year, those contracts are renewed by the

       10   independent board.

       11        There are certain obligations of the Fund and operations

       12   that are delegated responsibility to the investment advisors.

       13   That includes portfolio management and investment decisions.

       14   But all those are overseen by the board.

       15   Q    Okay.    And are the boards involved in the day-to-day

       16   operations of the Funds?

       17   A    They're not.

       18   Q    Okay.    And do you know who the members of the boards of

       19   these three Funds are?

       20   A    I do.

       21   Q    Could you share that with us?

       22   A    Yeah.    So, the -- there is one interested trustee of each

       23   board, and that's John Honis.       And then for the Highland

       24   Income Fund and the NexPoint Strategic Opportunities Fund --

       25   sorry, for NexPoint -- for Highland Income Fund and NexPoint




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        1   Capital, we have the same three disinterested or independent

        2   trustees, and that's Bryan Ward, Dr. Bob Froehlich, and Ethan

        3   Powell.   And for NexPoint Strategic Opportunities Fund, we

        4   have the same four trustees, one interested, three

        5   independent, but there's another fourth independent trustee,

        6   Ed Constantino.

        7   Q    And when you refer to independent trustees, do you mean

        8   independent for purposes of the Investment Company Act of

        9   1940, as amended?

       10   A    That's correct.   They, by statute, they are independent

       11   trustees.   They also have an independent legal counsel.        Stacy

       12   Louizos represents them from Blank Rome.      And also two of

       13   these Funds are listed on the New York Stock Exchange, and the

       14   New York Stock Exchange has various independence requirements

       15   that each independent director has met.

       16   Q    Thank you.   And which are the two Funds that are listed on

       17   NYSE?

       18   A    The Highland Income Fund and the NexPoint Strategic

       19   Opportunities Fund are both NYSE-listed.

       20   Q    And I know you probably haven't memorized everybody who

       21   invests in the Funds, but can you give us a general idea of

       22   who invests in these Funds?

       23   A    Certainly.   I definitely have not memorized them.       There

       24   are thousands of individual investors in each of these Funds.

       25   Part of my role overseeing investor relations and sales, I do




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        1   talk to a lot of those investors.      But the majority of the

        2   investors in each of these Funds are individual investors.

        3       As '40 Act Funds, almost anybody with a brokerage account

        4   can buy them.    They have tickers, particularly the Funds that

        5   are listed.    Closed-end funds.    And so, with that, it is mom-

        6   and-pop investors.      It's retail investors,   including myself.

        7   I've allocated my 401(k) to these funds, the majority of my

        8   401(k) to these funds.     But there are also institutional

        9   investors.    There's hedge funds.   There's ETFs.    There are

       10   large high-net-worth individuals.      But the majority of it is

       11   individual investors that have invested through their

       12   brokerage firms, be it Wells Fargo, Morgan Stanley, or Cetera.

       13   These are -- these are -- these are the individual investors.

       14   Q   Thank you.    Does Mr. Dondero have investments in the

       15   Funds?   Do you know?

       16   A   He does.    He's invested in each of the Funds.

       17   Q   Does he have a majority investment in any of the Funds?

       18   A   He does not have a majority investment in any of the

       19   Funds.

       20   Q   Thank you.    Does Mr. Dondero have a control relationship

       21   with the two Advisors?

       22   A   Yes.     He does.   With the Advisors.

       23   Q   And does he have a control relationship with the Funds?

       24   A   As it pertains to portfolio management, he is a portfolio

       25   manager of each Fund.     But as discussed, as I mentioned, the




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        1   independent board on an annual basis has the ability to

        2   terminate or renew our advisory contracts, and that -- that

        3   dynamic removes the control, overall control, of the Funds in

        4   that regard.

        5   Q    Are you familiar with the motion that the Court I think

        6   has accurately referred to as the CLO Motion that was filed by

        7   the two Advisors and the three Funds?

        8   A    Yes.    I am familiar with it.

        9   Q    And I'm going to ask you a question now that I think is of

       10   interest to the Court, based on the last time I was in front

       11   of Judge Jernigan.    Were any employees of the Debtor involved

       12   in deciding to bring this motion or in preparing the motion?

       13   A    No.    None of the HCMLP employees, to my knowledge, were

       14   involved in preparing or deciding to bring the motion.

       15   Q    Okay.    And you investigated who was involved in preparing

       16   the motion, so your knowledge is pretty good on this point?

       17   A    Correct.    I have.   And none were involved, based on that

       18   investigation.

       19   Q    (garbled) involved in deciding to bring a motion,

       20   preparing it, other than outside counsel and my firm?

       21   A    Yeah.    So, the initial cause for concern was raised by Mr.

       22   Dondero himself to our legal -- internal legal team and

       23   compliance team.    And working together with them, myself, and

       24   outside counsel, and senior management of Highland Capital

       25   Management Fund Advisors, including Joe Sowin, we prepared the




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        1   order.    Or, sorry, not the order, the motion.

        2   Q    All right.    Thank you.    Were the boards of the three Funds

        3   involved at all with bringing the motion?

        4   A    They were not involved in the preparation of the motion

        5   itself.   They were aware and supportive, but they did not

        6   prepare the motion.

        7   Q    You provided a (audio gap), correct?

        8   A    Sorry.   You did cut out there.      I didn't hear the

        9   question.

       10   Q    I'll try again.     You provided a declaration (garbled)

       11   motion, correct?

       12   A    I did, yes.

       13   Q    And there are two exhibits to your declaration.          There's

       14   an Exhibit A and an Exhibit B.

       15   A    Correct.

       16   Q    Exhibit A, does this reflect the current repayment status

       17   of the various CLOs as we -- as you understand it to be as of

       18   December 1st?

       19   A    Yes, it does.

       20   Q    And does Exhibit (garbled) of the three Funds --

       21               THE COURT:   Okay.   Mr. --

       22   BY MR. WRIGHT:

       23   Q    -- and the various CLOs, --

       24               THE COURT:   Mr. Wright?

       25   BY MR. WRIGHT:




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        1   Q   -- as you understand it?

        2              THE COURT:    Mr. Wright, time out.    Two things.

        3   First, I don't know what you can do to improve --

        4              MR. WRIGHT:    Sure.

        5              THE COURT:    -- your connection, but you're

        6   occasionally breaking up a little.

        7       But second, can we be clear for myself, the record,

        8   everyone else, what you're referring to right now?        We have an

        9   Advis... your witness and exhibit list is at Docket 1573.          Is

       10   that what I should be looking at first?

       11              MR. WRIGHT:    Yes, Your Honor.    The declaration of Mr.

       12   Norris.    It's Docket 1522-1.     And it's on our exhibit list.

       13   It may be the only exhibit on our exhibit list, frankly.

       14              THE COURT:    Okay.    So you're talking about his

       15   declaration now, not the witness and exhibit list with the

       16   attachments to it?      Actually, it is attached here.    Exhibit A.

       17   Okay.    I'm there.   I went to Exhibit A in your attachments to

       18   your exhibit list at 1573.

       19       All right.    Let's try again with your question you just

       20   asked.

       21              MR. WRIGHT:    Sure.

       22   BY MR. WRIGHT:

       23   Q   So, Mr. Norris, Exhibit A, this reflects the current

       24   repayment status of the CLOs that are the subject of the

       25   motion as of December 1.     Correct?




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        1   A    Correct.

        2   Q    And then --

        3               MR. WRIGHT:   Your Honor, if you turn to Exhibit B,

        4   which is just a couple pages forward.

        5               MR. MORRIS:   Your Honor, I would ask that this be put

        6   up on the screen, if possible.

        7               THE COURT:    Yes.    Can you do that, please?

        8               MR. WRIGHT:    I'm sorry.    I couldn't hear that, John.

        9               THE COURT:    He asked if you could --

       10               MR. MORRIS:    I would --

       11               THE COURT:    -- share your screen.     Can you share your

       12   screen as to what you're looking at?

       13               MR. WRIGHT:    Can I share my screen?     Last time I was

       14   using a computer and you were having trouble hearing me, so

       15   this time I'm doing it on my phone.         So my phone, no, I don't

       16   have this on my phone to share my screen that way.           It's

       17   Docket 1522-1, and it's the only exhibit that was on our

       18   exhibit list.

       19               MR. MORRIS:   No objection, Your Honor.

       20               MR. WRIGHT:   All it shows is the holdings in Funds in

       21   the CLOs.    That's all it is.

       22               MR. MORRIS:   No objection, Your Honor.

       23               THE COURT:    Okay.

       24               MR. NORRIS:   I'm sorry, John.      I didn't hear.

       25               THE COURT:    Give me a minute, because I was at 1573,




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       1   your witness and exhibit list.

       2        (Pause.)

       3              THE COURT:    Okay.    That's not the correct docket

       4   number.

       5              MR. MORRIS:    Your Honor?

       6              THE COURT:    Yes?

       7              MR. MORRIS:    If I may, it's John -- it's John Morris.

       8   It's Docket No. 1528.     And the declaration can be found at

       9   Page 12 of 26.

      10              MR. WRIGHT:   Thank you.

      11              THE COURT:    1528?

      12              MR. WRIGHT:   That's bizarre, because I have a

      13   printout of it and it says Docket 1522-1.

      14              THE COURT:    Okay.    1528 is the -- the actual motion

      15   we've set for hearing.

      16              MR. MORRIS:   And it's attached to that, yes.        If you

      17   -- if you go to PDF Page 12, it's the first page of the

      18   declaration.

      19              THE COURT:    Okay.    I'm there now.   Okay.   So we're on

      20   that declaration.    And then you were having the witness look

      21   first at Exhibit A to that declaration.        And then where are

      22   you having him look next?        Exhibit B, which is entitled

      23   "Holdings of Preferred Shares in CLOs"?

      24              MR. WRIGHT:   Exhibit B, Your Honor.

      25              THE COURT:    Okay.    Continue.




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        1                MR. WRIGHT:    (garbled) I think some of the exhibits

        2   that I have had the wrong docket number printed on the top,

        3   and I --

        4   BY MR. WRIGHT:

        5   Q    Exhibit B.    So, Mr. Norris, Exhibit B to your declaration

        6   shows the holdings of the preference shares of the Funds in

        7   the various CLOs that are the subject of the motion, correct?

        8   A    That's correct.       One clarification.   It shows the

        9   percentage ownership of each of those preference share

       10   tranches that each Fund owns.

       11   Q    Thank you.    Mr. Norris, do the three Funds have a date by

       12   which they have to liquidate their investments?

       13   A    Sorry, you did skip out there.      If you could you repeat

       14   the question.     I apologize.

       15   Q    It's frustrating.      Do the three Funds have a date by which

       16   they must liquidate their investments?

       17   A    No.   They do not.

       18   Q    Okay.    Can you briefly explain why the Advisors and the

       19   Funds brought this motion?

       20   A    Yeah.    The Advisors and the Funds were concerned with

       21   certain transactions, as described in the motion.        As

       22   preference share owners, we own the majority or a substantial

       23   portion of the economics of most of these CLOs, and in three

       24   instances the majority of the economic benefit.        And there was

       25   concern with the way that the sales were executed.        And so,




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        1   with that, we're simply asking for a temporary relief in order

        2   to benefit and to maximize the recovery for our preference

        3   shares that we own.

        4   Q    Thank you.

        5             MR. WRIGHT:    All right, Your Honor.    I have no

        6   further questions for Mr. Norris, although I guess I reserve

        7   the right to redirect.

        8             THE COURT:    All right.   Cross-examination?

        9             MR. MORRIS:    Thank you, Your Honor.

       10                            CROSS-EXAMINATION

       11   BY MR. MORRIS:

       12   Q    Good afternoon, Mr. Norris.     Can you hear me?

       13   A    I can.   Thank you, Mr. Morris.

       14   Q    All right.   I'm going to go into a little bit more detail

       15   about some of the topics that you discussed.       To be clear

       16   here, there are five moving parties; is that right?

       17   A    That's correct.    The two Advisors and the three Funds.

       18   Q    And one of the advisory firms is Highland Capital

       19   Management Fund Advisors, LP; is that right?

       20   A    That's correct.

       21   Q    And I'll refer to that as Fund Advisors; is that okay?

       22   A    That's great.

       23   Q    James Dondero and Mark Okada are the beneficial owners of

       24   Fund Advisors, correct?

       25   A    That is my understanding, yes.




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        1   Q    And your understanding is that Mr. Dondero controls Fund

        2   Advisors, correct?

        3   A    That's correct.

        4   Q    And the other advisory firm that brought the motion is

        5   NexPoint Advisors, LP; is that right?

        6   A    That is correct.

        7   Q    And Mr. Dondero is the beneficial owner of NexPoint; is

        8   that right?

        9   A    A family trust where Jim is the sole beneficiary, I

       10   believe, controls or owns NexPoint Advisors.

       11   Q    Okay.    And Mr. Dondero --

       12   A    Or 99.9 percent of NexPoint Advisors.

       13   Q    Thank you for the clarification.     Mr. Dondero controls

       14   NexPoint; is that right?

       15   A    Correct.

       16   Q    All right.   And I'm going to refer to Fund Advisors and

       17   NexPoint as the Advisors going forward; is that fair?

       18   A    That's fair.

       19   Q    Each of the Advisors manages certain funds; is that right?

       20   A    That is correct.

       21   Q    And three of those funds that are managed by the Advisors

       22   are the Movants on this motion, correct?

       23   A    Correct.

       24   Q    All right.    The Advisors caused these three Funds to

       25   invest in CLOs that are managed by the Debtor; is that right?




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        1   A    The portfolio managers working for the Advisors did.

        2   That's correct.

        3   Q    And Mr. Dondero is the portfolio manager of the Highland

        4   Income Fund; is that right?

        5   A    He is one of the portfolio managers for that Fund.

        6   Q    And he's also --

        7   A    I believe there are two.

        8   Q    And he's also a portfolio manager of NexPoint Capital,

        9   Inc., one of the Movants here, right?

       10   A    That is correct.

       11   Q    And he's also the portfolio manager of NexPoint Strategic

       12   Opportunities Fund, another Movant; is that right?

       13   A    Yes.    That is correct.

       14   Q    Okay.    And I think you testified earlier that each of

       15   these Funds has a board.    Is that right?

       16   A    That is correct.

       17   Q    But the boards don't make investment decisions for the

       18   Funds, do they?

       19   A    They do not.   They have delegated that authority.

       20   Q    And that authority to make investment decisions is

       21   delegated to the Advisors; is that right?

       22   A    Yes.

       23   Q    Okay.    And none of the boards of the Funds who are Movants

       24   here adopted any resolution authorizing the Funds to file this

       25   motion; is that right?




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        1   A    To my knowledge, that is correct.

        2   Q    And in fact, the boards were not required to approve the

        3   filing of this motion, correct?

        4   A    I'm not -- I believe that's a legal question, but to my

        5   knowledge, there was not a requirement of the board to -- or,

        6   to adopt a resolution for that.

        7   Q    Okay.    Let's talk a little bit about your background.      I

        8   think you testified that you're the executive vice president

        9   at NexPoint Advisors, one of the Movants.      Is that right?

       10   A    That's right.

       11   Q    Who's the president of NexPoint Advisors, LP?

       12   A    Mr. Dondero.

       13   Q    And you report directly to him; is that right?

       14   A    I do.

       15   Q    You're also the executive vice president of Fund Advisors,

       16   another Movant; is that right?

       17   A    Correct.

       18   Q    And Mr. Dondero is the president of Fund Advisors; is that

       19   right?

       20   A    He is not.   There is no president of Fund Advisors.       But

       21   he -- yeah.

       22   Q    You're the president of another entity called NexPoint

       23   Securities; is that right?

       24   A    That's correct.

       25   Q    And you're also the executive vice president of the 11 or




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        1   12 funds that are managed by the Advisors here, right?

        2   A    Yes.    That is correct.

        3   Q    Okay.    You've been working for Highland Capital Management

        4   or other Highland-related entities for a little more than a

        5   decade; is that right?

        6   A    That's correct.       Since June 2010.

        7   Q    Okay.    Now, you don't personally make any investment

        8   decisions for -- for the Funds.       Is that right?

        9   A    That's correct.

       10   Q    And you don't hold yourself out as an investment manager,

       11   do you?

       12   A    I do not.

       13   Q    And you've never worked for a CLO, have you?

       14   A    Never worked for a -- for a C -- employed by a CLO.

       15   Worked on accounting, various other aspects, but never worked

       16   for a CLO.

       17   Q    Okay.    You referred earlier to the declaration that you've

       18   submitted in support of the motion.       Do you remember that?

       19   A    I do.

       20   Q    I've got an assistant on the line here.

       21                MR. MORRIS:    Ms. Cantey, can we put up onto the

       22   screen Debtor's Exhibit C, which I believe was Mr. Norris's

       23   declaration?     And if we could go to Page 12 of 26.     Oh, all

       24   right.

       25   BY MR. MORRIS:




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        1   Q    And, again, Mr. Norris, as we did in the deposition

        2   yesterday, I'll remind you of the difficulty of doing a

        3   virtual examination.    And if at any time I ask you a question

        4   about your declaration that prompts you to think you need to

        5   see another portion of the declaration, will you let me know

        6   that?

        7   A    Yes, I will.

        8   Q    Okay.   Because I'm not here to test your memory.        I'm just

        9   here to ask you certain questions.     So please let me know if

       10   you need to see something that's not on the screen itself.

       11        You didn't write any portion of this declaration; is that

       12   right?

       13   A    I did not.

       14   Q    And you didn't provide any substantive comments to the

       15   declaration as drafted because you agreed with -- with the

       16   declaration as written by others; is that fair?

       17   A    Correct.

       18   Q    And all of the key information in your declaration was

       19   supplied by NexPoint's management; isn't that right?

       20   A    Correct.

       21   Q    The individuals who provided the information that's in

       22   your declaration include D.C. Sauter, Jason Post, Mr. Dondero,

       23   and outside counsel at K&L Gates; is that right?

       24   A    Correct.

       25   Q    And Mr. Sauter is in-house counsel at the Advisors; is




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        1   that right?

        2   A    That is right.

        3   Q    And Mr. Post is the chief compliance officer at NexPoint;

        4   is that right?

        5   A    That's correct.

        6   Q    The whole idea for this motion initiated with Mr. Dondero;

        7   isn't that right?

        8   A    The concern, yes, the concern originated, and his concern

        9   was voiced to our legal and compliance team.

       10   Q    Okay.

       11                MR. MORRIS:   Can we take the declaration down for --

       12   oh, actually, no, I'm sorry, leave it there, and let's talk

       13   about Exhibit B.     Now we can all see it.   If you can scroll

       14   down to Exhibit B, please.      Okay.

       15   BY MR. MORRIS:

       16   Q    This page is attached to your declaration, right?

       17   A    That's correct.

       18   Q    And this page is intended to show the percentage of

       19   preferred shares owned by each of the Movant Funds and the 15

       20   different CLOs, right?

       21   A    That's right.

       22   Q    And the Debtor is the portfolio manager for each of these

       23   CLOs; is that right?

       24   A    Yes.

       25   Q    And it's your understanding that the Debtor's management




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        1   of the CLOs on this page is governed by written agreements

        2   between the Debtor and each of the CLOs, right?

        3   A    Yes.

        4   Q    None of the Movants are parties to the agreements between

        5   the Debtor and each of the CLOs pursuant to which the Debtor

        6   serves as portfolio manager; is that correct?

        7   A    I believe that is correct.     One, I think, important --

        8   even though they're not subject to the agreement, they are the

        9   -- they have the economic ownership of each of these CLOs.

       10   Q    But they're not party to the agreement; is that right?

       11   A    Not that I'm aware of.

       12   Q    Okay.    And in preparing for this motion and preparing for

       13   your testimony, you didn't personally review any of the

       14   agreements between the Debtor and any of the CLOs listed on

       15   this page, right?

       16   A    No.    I relied on legal counsel for that review.

       17   Q    Okay.    And, but even though you didn't review the

       18   agreements, it's your understanding that among the

       19   responsibilities that the Debtor has as the portfolio manager

       20   is buying and selling assets on behalf of the CLOs; is that

       21   right?

       22   A    Yes.    And I believe I specifically stated in my statement,

       23   if you want to turn to it, what I (audio gap) to regarding the

       24   CLOs' duties under the agreements.

       25   Q    Okay.    It's your understanding, in fact, that nobody other




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        1   than the Debtor has the right or the authority to buy and sell

        2   assets on behalf of the CLOs listed on Exhibit B, correct?

        3   A    That's my understanding.

        4   Q    Okay.    And it's also your understanding, your specific

        5   understanding, that holders of preferred shares do not make

        6   investment decisions on behalf of the CLO; is that right?

        7   A    Correct.

        8   Q    And that's something that the Advisors knew when they

        9   decided to invest in the CLOs on behalf of the Movant Funds;

       10   is that fair?

       11   A    That's right.   And at that time, the knowledge in the

       12   purchase was with Highland Capital Management, LP and the

       13   portfolio management team at that time.

       14   Q    And it's still with Highland Capital Management, LP; isn't

       15   that right?

       16   A    That's correct.   I'm not sure that the portfolio

       17   management team looks the same, but it was HCMLP.

       18   Q    Okay.    Let's just look at this document for a second.      The

       19   first column has the list of the CLOs in which the Movant

       20   Funds have invested; is that right?

       21   A    Correct.

       22   Q    And the second column, HIF, that stands for Highland

       23   Income Fund; is that right?

       24   A    Yes, sir.

       25   Q    And Highland Income Fund is one of the Funds who are the




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        1   Movants here, right?

        2   A    That is correct.

        3   Q    And the percentages below that show the percentage of the

        4   preference shares of each of the CLOs that that particular

        5   fund holds; is that right?

        6   A    That's right.

        7   Q    And then the third column relates to NexPoint Strategic

        8   Opportunities Fund, one of the Movants here; is that right?

        9   A    That's correct.

       10   Q    And the next column, the fourth column, relates to

       11   NexPoint Capital, Inc.'s holding of preference shares in the

       12   15 CLOs, right?

       13   A    That's right.

       14   Q    So, NexPoint Capital doesn't hold any preference shares in

       15   any of the CLOs except for a less-than-one-percent interest in

       16   Grayson; am I reading that correctly?

       17   A    Yes, that's correct.

       18   Q    Okay.   And then the last column is intended to show the

       19   aggregate portion or percentage of preference shares that the

       20   three moving Funds have in each of the 15 CLOs; is that right?

       21   A    Yes, that's right.

       22   Q    Okay.   Am I reading this correctly that, for 12 of the 15

       23   Funds, the moving Funds own less than a majority of the

       24   outstanding preferred shares?

       25   A    Yes, that's correct.




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        1   Q    And is it also -- am I also reading this correctly to

        2   conclude that the moving Funds owned less than 70 percent of

        3   every one of these CLOs; is that right?

        4   A    That's correct.

        5   Q    You don't know who owns the preferred shares in the CLOs

        6   that are not owned by the Movant Funds, do you?

        7   A    I don't know any -- any specific owners.

        8   Q    And some of these CLOs still have notes that are

        9   outstanding; is that right?

       10   A    Yes.    Very small amounts as a percentage of the overall

       11   CLO original capital structure, but yes, some still have small

       12   --

       13   Q    So, --

       14   A    -- notes.    Small amounts of notes.

       15   Q    Okay.    I'm sorry to interrupt.    If we looked at Exhibit A,

       16   if we took the time to look at Exhibit A, Exhibit A would

       17   show, for each of the 15 CLOs, which of those CLOs still had

       18   notes outstanding and the amount of out -- the dollar value of

       19   those notes.     Is that right?

       20   A    That's correct.

       21   Q    Okay.    And your understanding is that -- your

       22   understanding -- withdrawn.       The payment -- the distributions

       23   from the CLOs are made pursuant to a waterfall; is that right?

       24   A    Yes, that's correct.

       25   Q    And your understanding of the waterfall process is that




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        1   the notes that are still outstanding at any CLO must be paid

        2   -- must be paid in full before the preferred shares receive

        3   any recovery; is that right?

        4   A    So, I would say that my understanding is slightly

        5   different.    It's going to be dependent on each indenture.

        6   But, in general, interest payments are made to the debt

        7   holders, and anything extra is then allocated to the equity.

        8   But ultimate recovery, to your point, would be once those --

        9   once the debt is paid off.     And that's the critical thing

       10   here, where the preference shares here now with most of these

       11   CLOs almost all the way wound down, with the exception of a

       12   small piece of debt.    The equity owns the lion's share of the

       13   economic interest of every one of these CLOs.       And I think

       14   that's important.

       15   Q    Okay.    Some of the CLOs still have outstanding notes.       Is

       16   that right?

       17   A    Yes.    As we discussed on -- Exhibit A will have the notes

       18   that are -- that are remaining on those.

       19   Q    And you don't know who holds the notes in the other CLOs,

       20   right?

       21   A    I don't.

       22   Q    The only holders of preferred shares that are pursuing

       23   this motion are the three Funds managed by the Advisors,

       24   right?

       25   A    In this motion, yes.




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                                     Norris - Cross                         47

        1   Q    You're not aware of any holder of preferred shares

        2   pursuing this motion other than the three Funds managed by the

        3   Advisors, correct?

        4   A    No, I'm not aware of any others.

        5   Q    You didn't personally inform any holder of preferred

        6   shares, other than the Funds that are the Movants, that this

        7   motion would be filed, did you?

        8   A    No, I did not.

        9   Q    You're not aware of any steps taken by either of the

       10   Advisors to provide notice to holders of preferred shares that

       11   this motion was going to be filed, are you?

       12   A    I'm not, no.

       13   Q    And you're not aware of any attempt that was made to

       14   obtain the consent of all of the holders of the preferred

       15   shares to seek the relief sought in this motion, correct?

       16   A    That's correct.

       17   Q    You don't have any personal knowledge, personal knowledge,

       18   as to whether any holder of preferred shares other than the

       19   Funds managed by the Advisors wants the relief sought in the

       20   motion, correct?

       21   A    Correct.

       22   Q    You don't have any personal knowledge as to whether any of

       23   the CLOs that are subject to the contracts that you described

       24   want the relief that's being requested in this motion, right?

       25   A    That's correct.   I have not spoken or been involved at all




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        1   directly with the CLOs.    I'm representing the Funds.

        2   Q    Okay.   Now, two of the Funds, two of the three Movant

        3   Funds, I believe you testified are publicly traded; is that

        4   right?

        5   A    That's correct.

        6   Q    And that's the Highland Income Fund and the NexPoint

        7   Strategic Opportunities Fund; is that right?

        8   A    That's right.   That's right.

        9   Q    And because they are publicly-traded, the shareholders in

       10   those two funds can sell their shares any time the market is

       11   open; is that right?

       12   A    If they're willing to take the price that the market is

       13   willing to give, yes.

       14   Q    Yes.

       15   A    Between market hours.

       16   Q    And if they -- if they don't like the way the assets that

       17   are -- that the Funds have been invested, one of the things

       18   they could do is simply sell their shares, right?

       19   A    Yes.

       20   Q    And the third fund, the shareholders in the third fund

       21   have the right to sell out not on a public market but on a

       22   quarterly basis; is that right?

       23   A    Correct.

       24   Q    That third Movant Fund is NexPoint Capital; do I have that

       25   right?




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                                     Norris - Cross                         49

        1   A    Correct.

        2   Q    So they also have the ability to exit if they don't like

        3   management on a quarterly basis; is that right?

        4   A    Correct.

        5   Q    All right.    Can we turn to Paragraph -- Paragraphs 8 and 9

        6   of your declaration?    Okay.   Paragraph 8 describes a

        7   transaction that's been referred to as OmniMax; is that right?

        8   A    Yes.

        9   Q    And Paragraph 9 refers to a transaction involving SSP

       10   Holdings, LLC; do I have that right?

       11   A    That's correct.

       12   Q    Do you know what SSP stands for?

       13   A    See if we say it in there.     SSP Holdings, LLC.

       14   Q    Right.   Do you know what SSP stands for?

       15   A    I don't.   Something Steel Products.     I --

       16   Q    Okay.    You don't need to guess.    These are the only two

       17   transactions that the Movants question; is that right?

       18   A    These transactions, as well as certain transactions around

       19   Thanksgiving time.

       20   Q    Okay.    We'll talk about those.    But those transactions

       21   about -- around Thanksgiving time aren't in your declaration,

       22   are they?

       23   A    Not specifically mentioned by name.

       24   Q    Okay.    Let's talk about the two that are mentioned by

       25   name, Trussway and SSP.    The Movants do not contend that




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        1   either transaction was the product of fraudulent conduct, do

        2   they?

        3   A    No.

        4   Q    The Movants do not contend that the Debtor breached any

        5   agreement by effectuating these transactions, do they?

        6   A    I don't believe so.

        7   Q    In fact, the Movants do not contend that the Debtor

        8   violated any agreement at any time in the management of the

        9   CLOs listed on Exhibit B; is that right?

       10   A    That's right.

       11   Q    The Movants don't even question the Debtor's business

       12   judgment, only the results of the trans -- of these two

       13   transactions.   Is that right?

       14   A    That's right.   And results is the key here and the

       15   approach.

       16   Q    I see.   And the reason the Movants do not question the

       17   Debtor's business judgment is because you don't know what

       18   factor or factors the Debtor considered in executing these

       19   transactions, right?

       20   A    That's right.   I can't look into the mind or know the

       21   business judgment and the inputs that went into this.         We do

       22   know the outcomes.    And to us, that's troubling, right, as the

       23   owners of the lion's share or the majority or even significant

       24   amounts of the economic ownership of the CLOs.       And having

       25   insight into those transactions, as mentioned in my statement,




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        1   really just trying to maximize recoveries for our Funds.

        2                MR. MORRIS:   Your Honor, I move to strike the portion

        3   of his answer following that which was responsive to the

        4   question.

        5                THE COURT:    All right.   I grant that motion.

        6                MR. MORRIS:   Okay.

        7   BY MR. MORRIS:

        8   Q    Sir, you never asked the Debtor what factors it considered

        9   in making these trades, right?

       10   A    I did not.

       11   Q    And you have no reason to believe that anyone on behalf of

       12   the Movants ever asked the Debtor why it executed these

       13   trades, right?

       14   A    I don't have any knowledge.        There could have been

       15   somebody from -- from the Movants.         But I did not.

       16   Q    Okay.    On OmniMax, the Movants disagree with the price at

       17   which the Debtor effectuated the trade, right?

       18   A    Correct.

       19   Q    And I believe there was a meeting of the boards of the

       20   Funds back in August at which Mr. Seery appeared.           Do I have

       21   that right?

       22   A    I believe it was August, but he did appear.

       23   Q    And the purpose of the appearance was so that Mr. Seery

       24   could give an update on the bankruptcy; is that right?

       25   A    That's correct, and on the services provided by Highland




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        1   Capital Management, LP to our Advisor.       Advisors.   They

        2   provide various shared services.

        3   Q    And it was during that meeting that Mr. Seery forthrightly

        4   told the boards the price at which he was planning to execute

        5   the OmniMax transaction, correct?

        6   A    Correct.

        7   Q    The transaction hadn't yet occurred, right?

        8   A    I'm not sure if it had been finalized.      He had a price,

        9   and these -- these things are negotiated.      This was, I

       10   believe, a company in restructuring.       So I don't know whether

       11   it had been transacted or not.

       12   Q    Okay.    The board didn't ask Mr. Seery not to execute the

       13   transaction, did it?

       14   A    Not to my knowledge.    The board wouldn't -- I don't think

       15   the board would have that authority, either.

       16   Q    Okay.    But it's here asking the Court to cause the Debtor

       17   to pause in the execution of any trades in the CLOs; is that

       18   right?

       19   A    I think the order speaks in that regard.

       20   Q    Yeah.    Okay.   Let's talk about the SSP transaction for a

       21   moment.     It's your understanding that Trussway Holdings, LLC

       22   owned a majority interest in SSP Holdings, LLC, right?          That's

       23   in Paragraph 9.

       24   A    Yes.    The statement in Paragraph 9 is what I believe is

       25   correct.




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        1   Q    Okay.    And it's also your understanding that Trussway is a

        2   wholly-owned subsi... I'm sorry, that SSP Holdings is a

        3   wholly-owned subsidiary -- withdrawn.      It's also your

        4   understanding that Trussway is a wholly-owned subsidiary of

        5   the Debtor, right?

        6   A    Yes.

        7   Q    But Trussway is not a debtor in bankruptcy, right?

        8   A    I'm not sure.

        9   Q    Okay.    You have no reason to believe that; is that fair?

       10   A    That it's not a debtor in bankruptcy?      That Trussway is

       11   not in bankruptcy itself?

       12   Q    Correct.

       13   A    Yeah.    I have no knowledge of Trussway's situation.

       14   Q    Okay.    But you -- but according to your declaration that

       15   was prepared by the Advisors' management team, Trussway and

       16   not the Debtor owned SSP Holdings, LLC.      Is that right?

       17   A    I'm looking here at the statement just to make sure.

       18   Q    Sure.

       19        (Pause.)

       20   A    I -- again, I -- the statement is correct, and I believe

       21   speaks for itself regarding entity ownership.

       22   Q    The only things you know about the SSP transaction are,

       23   one, that you believe it was made without a formal bidding

       24   process; and two, that it resulted in a $10 million loss.         Is

       25   that right?




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                                     Norris - Cross                         54

        1   A    Correct.

        2   Q    Okay.   But, again, neither you, or to the best of your

        3   knowledge, anybody at Advisors, ever spoke with anybody at the

        4   Debtor about the circumstances concerning either of the

        5   transactions, right?

        6   A    I don't know the conversations that were had at anyone

        7   else from our Advisors, but this is the knowledge that -- that

        8   I have.

        9   Q    Okay.   And it's the only knowledge you have, right?       You

       10   don't know anything about the SSP transaction other than those

       11   two facts, right?

       12   A    Correct.

       13   Q    In fact, I think you testified yesterday that you've been

       14   very remote from the SSP transaction, right?

       15   A    That's correct.

       16   Q    And that it's not a transaction that you have much

       17   knowledge on.   Fair?

       18   A    Fair.

       19   Q    Let's just talk briefly about the transactions that

       20   occurred (garbled) Thanksgiving.     They're not specifically

       21   referred to in your declaration; is that right?

       22   A    That's correct.

       23   Q    And you have no knowledge about any transaction that Mr.

       24   Seery wanted to execute around Thanksgiving; is that right?

       25   A    I know there were transactions and there were concerns




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        1   from our management team, but I'm not aware of what the

        2   transactions were.

        3   Q    In fact, you can't even identify the assets that Mr. Seery

        4   wanted to sell around Thanksgiving, or at least you couldn't

        5   at the time of your deposition yesterday.        Is that right?

        6   A    That's correct.

        7   Q    And you have no knowledge as to why Mr. Seery wanted to

        8   make those particular trades at around Thanksgiving?

        9   A    No, I don't.

       10   Q    And in fact, you don't even know if the transactions that

       11   Mr. Seery wanted to close around Thanksgiving ever in fact

       12   closed.   Is that fair?

       13   A    Correct.

       14   Q    Okay.    Let's just -- let's just finish up with a few

       15   questions about the boards.

       16                MR. MORRIS:   Ms. Cantey, can we put up Debtor's

       17   Exhibit EEEE?     Four E's, Your Honor.     Thank you.

       18   BY MR. MORRIS:

       19   Q    This particular page identifies the directors for each of

       20   the three Movant Funds; is that right?

       21   A    Let me take a look and confirm.        (Pause.)   Yes.   That

       22   looks correct.

       23   Q    Okay.    And this was prepared by the Movants; is that

       24   right?

       25   A    I'm not sure who prepared it.




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        1   Q    Okay.   To the best of your knowledge, does this document

        2   accurately reflect the composition of the boards of each of

        3   the three Movant Funds?

        4   A    Yes, it does.

        5   Q    Okay.   John Honis, I think you mentioned him earlier.

        6   He's on all three boards.    Is that right?

        7   A    That's correct.    And the reason being we have a unitary

        8   board structure, so -- which is very common in '40 Act Fund

        9   land, where the board sits, for efficiency purposes, on

       10   multiple fund boards, and there's a lot of economies of scale

       11   from an operating standpoint.       So, yes, they sit on multiple

       12   boards.

       13   Q    Okay.   And for purposes of the '40 Act, Mr. Honis has been

       14   deemed to be an interested trustee.       Is that right?

       15   A    That's correct.

       16   Q    Okay.   But you don't specifically know what facts caused

       17   that designation; you only know that the designation exists.

       18   Right?

       19   A    That's right.    And I know they are disclosed in the proxy

       20   -- or, in the -- the relative filings related to those Funds.

       21   Q    Okay.   Three other people are common to all three of the

       22   Movant Funds.     I think you've got Dr. Froehlich, Ethan Powell,

       23   --

       24   A    Froehlich.

       25   Q    Froehlich.    Ethan Powell and Bryan Ward.     Right?




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                                     Norris - Cross                         57

        1   A    That is correct.

        2   Q    Okay.    All three of those individuals actually serve on

        3   the 11 or 12 boards that you mentioned earlier that are

        4   managed by the Advisors, right?

        5   A    Yes, that is correct.

        6   Q    And they're the same Funds for which you serve as an

        7   executive vice president, right?

        8   A    Yes.    That's correct.

        9   Q    So, for all of the Funds that are managed by the Advisors,

       10   you serve as executive vice president and all four of these

       11   directors -- trustees serve as trustees on the boards, right?

       12   A    Yes, that's correct.

       13   Q    Okay.    In exchange for serving on all of these boards, the

       14   three individuals -- Dr. Froehlich, Mr. Ward, and Mr. Powell

       15   -- each receive $150,000 a year for services across the

       16   Highland complex; is that right?

       17   A    That's correct.

       18   Q    Dr. Froehlich has been serving as a board member across

       19   the Highland complex for seven or eight years now; is that

       20   right?

       21   A    That's correct.

       22   Q    Mr. --

       23   A    I believe it's about seven or eight years.

       24   Q    And Mr. Powell, he actually was employed by Highland or

       25   related entities from about 2007 or 2008 until 2015, right?




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                                     Norris - Cross                          58

        1   A    That's correct.

        2   Q    And Mr. Ward, the third of the independent trustees, he's

        3   been serving as a board member on various Highland-related

        4   funds on a continuous basis since about 2004.       Do I have that

        5   right?

        6   A    Yeah, I believe that's correct.

        7   Q    Okay.    Just a couple of final questions.    You would agree,

        8   would you not, sir, that portfolio managers have an obligation

        9   to effectuate transactions concerning the assets that they

       10   manage based on their business judgment?

       11   A    Yes.    And in accordance with whatever governing documents

       12   govern the fund structure.

       13   Q    And you would personally expect a portfolio manager to

       14   execute a transaction that he or she reasonably believes in

       15   good faith and in their business judgment would maximize value

       16   for the CLO, even if the CLO did not need cash at that

       17   particular time.    Is that right?

       18   A    I think it would come down to the governing documents.

       19   And I think what you're getting at here is, in this instance,

       20   these sales and the intent of the portfolio manager.          And our

       21   view, again, is -- and the request for the motion is simply

       22   there is a lot at play here.     Several negotiations.    And in

       23   order to maximize returns, simply asking for a pause on

       24   transactions.

       25   Q    All right.    Let me -- let me ask the question again, and I




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        1   would ask that you please listen carefully to the question.

        2   You would expect a portfolio manager would execute a

        3   transaction that he or she believes maximizes value, even if

        4   the CLO didn't need cash at that particular moment in time.

        5   Correct?

        6   A    Yeah.    As long as that is maximizing value for the

        7   stakeholders, and in the instance of a CLO, the economic

        8   interest is owned by the equity holders.          So, to their

        9   benefit, yes, that -- that would be the idea.

       10                MR. MORRIS:    Your Honor, I have no further questions.

       11                THE COURT:    Any redirect, Mr. Wright?

       12                MR. WRIGHT:    Only briefly, Your Honor.

       13                              REDIRECT EXAMINATION

       14   BY MR. WRIGHT:

       15   Q    Mr. Norris, I think you were asked at one point about how

       16   long you'd been working for Highland Capital Management, which

       17   there's -- there's Highland Capital Management Fund Advisors

       18   and then there's Highland Capital Management, LP, Debtor.            And

       19   I wanted to give you an opportunity to just explain when and

       20   what years you worked for HCMLP and then when and what years

       21   you worked for NexPoint Advisors or Highland Capital

       22   Management Fund Advisors.

       23   A    Yes.    From June 2010, I was employed by Highland Capital

       24   Management, LP, until July or August of 2012, at which time I

       25   was then hired by Highland Capital Management Fund Advisors,




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        1   not HCML -- no longer employed by HCMLP, and have worked since

        2   that time for HCMFA and NexPoint Advisors and not for the

        3   Debtor, HCMLP.

        4   Q    Okay.    So -- and I'm sorry if I missed a year, but it's

        5   been about ten years since you had worked for HCMLP or been an

        6   employee of HCMLP, correct?

        7   A    Yeah.    It's been over eight years since I have left

        8   employment by HCMLP.       Ten and a half years ago, I started

        9   working for HCMLP, and then two years after that transitioned

       10   away and started working for the Advisors that are part of

       11   this motion.

       12   Q    Thank you for clarifying.

       13                MR. WRIGHT:    Your Honor, I hope -- you directed us to

       14   have a witness here today, and so we do.         And I know that you

       15   had asked me at the last hearing some questions about the

       16   involvement of people at HCMLP, which I tried to address with

       17   Mr. Norris in my direct.       But I, you know, I do want to make

       18   sure that we've answered any questions that you have.

       19                THE COURT:    All right.   Yes, that's fine.    Are you

       20   -- does that conclude your redirect?

       21                MR. WRIGHT:    It does, Your Honor.

       22                THE COURT:    Any recross, Mr. Morris, on that

       23   redirect?

       24                MR. MORRIS:    No, thank you, Your Honor.

       25                THE COURT:    All right, then.    That concludes the




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        1   testimony of Mr. Norris.

        2        Any other evidence, Mr. Wright?

        3             MR. WRIGHT:    I do not, Your Honor, although I guess I

        4   would offer the Exhibit A and Exhibit B to Mr. Norris's

        5   declaration --

        6             THE COURT:    Any objection to that?

        7             MR. WRIGHT:    -- into evidence.

        8             MR. MORRIS:    No, Your Honor.

        9             THE COURT:    All right.   Those are admitted.

       10        (Movants' Exhibits A and B are received into evidence.)

       11             THE COURT:    All right.   Well, Mr. Morris, did you

       12   want to put on any evidence?

       13             MR. MORRIS:    Does the -- do the Movants rest, Your

       14   Honor?

       15             THE COURT:    I understood that they rest.     Correct,

       16   Mr. Wright?

       17             MR. WRIGHT:    That's correct, Your Honor.

       18             MR. MORRIS:    Your Honor, I would move, effectively,

       19   for a directed verdict here.     The Movants have the burden of

       20   establishing a prima facie case to entitlement to the relief

       21   that's been requested, and they have failed to meet that

       22   burden.   The Debtor has -- we -- the undisputed facts are the

       23   Debtor has the contractual right, and indeed, the obligation,

       24   to serve as the portfolio manager of the CLOs pursuant to

       25   written agreements.




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        1        The Movants are not parties to those agreements.         The

        2   testimony is undisputed that there are many holders of

        3   preferred shares and notes that have had no notice of this

        4   proceeding that will undoubtedly be impacted by the tying of

        5   the hands of the portfolio manager.      The chart that was

        6   attached as Exhibit B expressly shows just what a large

        7   portion of interested parties and people who would be affected

        8   by this motion are not -- they didn't get notice.       There was

        9   no attempt to get notice.     There was no attempt to get their

       10   consent.    All of that testimony is now in the record, and I

       11   think due process alone would prevent the entry or even the

       12   consideration of an order of this type.

       13        There is nothing improper that's been alleged.       There is

       14   no -- there is no allegation of fraud.      There is no allegation

       15   of breach of contract of any kind.      There's not even a

       16   question of business judgment.      The Movants didn't even do

       17   their diligence to ask the Debtor why they made these

       18   transactions.    There is nothing in the record that shows that

       19   the Debtor, as the portfolio manager of the CLOs, did anything

       20   improper.

       21        The only thing that the Movants care about is that they

       22   don't like the results in two particular trades.       I don't

       23   think that that meets their burden of persuasion that the

       24   Court should enter an order of this type, and I would like to

       25   relieve Mr. Seery of the burden, frankly, and the Court, of




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        1   having to put on testimony to justify transactions that really

        2   aren't even being questioned, Your Honor.

        3        So the Debtor would respectfully move for the denial of

        4   the motion and the relief sought therein.

        5              THE COURT:   All right.   Your request for a directed

        6   verdict, something equivalent to a directed verdict here, is

        7   granted.   I agree that the Movant has wholly failed to meet

        8   its burden of proof here today to show the Court, persuade the

        9   Court that, as Mr. Morris said, I should essentially tie the

       10   hands of the Debtor as a portfolio manager here, as stated.

       11   Nothing improper has been alleged.      There has been no showing

       12   of a statutory right here, or a contractual right here, on the

       13   part of the Movants.

       14        I am -- I'm utterly dumbfounded, really.      I agree with the

       15   -- I was going to say innuendo; not really innuendo -- I agree

       16   with part of the theme, I think, asserted by the Debtor here

       17   today that this is Mr. Dondero, through different entities,

       18   through a different motion.     I feel like he sidestepped the

       19   requirement that I stated last week that if we had a contested

       20   hearing on his motion, Dondero's motion, that I was going to

       21   require Mr. Dondero to testify.      He apparently worked out an

       22   eleventh hour agreement with the Debtor on his motion to avoid

       23   that.   But, again, these so-called CLO Motions very clearly,

       24   very clearly, in this Court's view, were pursued at his sole

       25   direction here.




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        1       This is almost Rule 11 frivolous to me.       You know, we're

        2   -- we didn't have a Rule 11 motion filed, and, you know, I

        3   guess, frankly, I'm glad that a week before the holidays begin

        4   we don't have that, but that's how bad I think it was, Mr.

        5   Wright and Mr. Norris.     This is a very, very frivolous motion.

        6   Again, no statutory basis for it.      No contractual basis.      You

        7   know, you didn't even walk me through the provisions of the

        8   contracts.   I guess that would have been fruitless.      But you

        9   haven't even shown something equitable, some lack of

       10   reasonable business judgment.

       11       Bluntly, don't waste my time with this kind of thing

       12   again.   You wasted my time.   We have 70 people on the video.

       13   Utter waste of time.

       14       All right.     So, motion is denied.   Mr. Morris, please

       15   upload an order.

       16             MR. MORRIS:    Thank you, Your Honor.

       17             THE COURT:    All right.   Do we have any other business

       18   to accomplish today?

       19             MR. POMERANTZ:    I don't think so, Your Honor.        I know

       20   we will see you tomorrow in connection with Mr. Daugherty's

       21   relief from stay motion.

       22             THE COURT:    Well, yeah, we do have that.    Okay.     We

       23   will see you tomorrow.     We stand adjourned.

       24             MR. CLEMENTE:    Thank you, Your Honor.

       25             MR. MORRIS:    Thank you, Your Honor.




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        1             THE CLERK:    All rise.

        2             (Proceedings concluded at 3:05 p.m.)

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       19                               CERTIFICATE

       20        I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
       21   above-entitled matter.
       22     /s/ Kathy Rehling                                  12/17/2020

       23   ______________________________________            ________________
            Kathy Rehling, CETD-444                               Date
       24   Certified Electronic Court Transcriber
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   'LVWULFW RI 'HODZDUH WKH ³'HODZDUH &RXUW´  &DVH 1R  &66  WKH ³+LJKODQG

   %DQNUXSWF\&DVH´ 

                       2Q 2FWREHU   WKH 86 7UXVWHH LQ WKH 'HODZDUH &RXUW DSSRLQWHG DQ

   2IILFLDO&RPPLWWHHRI8QVHFXUHG&UHGLWRUV WKH³&RPPLWWHH´ ZLWKWKHIROORZLQJPHPEHUV D 

   5HGHHPHU &RPPLWWHH RI +LJKODQG &UXVDGHU )XQG E  0HWDH 'LVFRYHU\ F  8%6 6HFXULWLHV

   //& DQG 8%6 $* /RQGRQ %UDQFK FROOHFWLYHO\ ³8%6´  DQG G  $FLV &DSLWDO 0DQDJHPHQW

   /3DQG$FLV&DSLWDO0DQDJHPHQW*3//& FROOHFWLYHO\³$FLV´ 

                       2Q'HFHPEHUWKH'HODZDUH&RXUWHQWHUHGDQRUGHUWUDQVIHUULQJYHQXHRI

   WKH+LJKODQG%DQNUXSWF\&DVHWRWKLV&RXUW>'RFNHW1R@ 

                       7KH 'HEWRU KDV FRQWLQXHG WR RSHUDWH DQG PDQDJH LWV EXVLQHVV DV D GHEWRULQ

   SRVVHVVLRQSXUVXDQWWR%DQNUXSWF\&RGHVHFWLRQV D DQG1RWUXVWHHRUH[DPLQHUKDV

   EHHQDSSRLQWHGLQWKLVFKDSWHUFDVH

                       2Q 1RYHPEHU   WKH 'HEWRU ILOHG WKH Fifth Amended Plan of

   Reorganization of Highland Capital Management, L.P. >'RFNHW 1R @ WKH ³3ODQ´   7KH

   &RXUWKDVVFKHGXOHGDFRQILUPDWLRQKHDULQJRQWKH3ODQIRU-DQXDU\,IFRQILUPHGWKH

   'HEWRUZLOOEHVXFFHHGHGE\WKH5HRUJDQL]HG'HEWRUDQG3ODQZLOOFUHDWHD&ODLPDQW7UXVWDQGD

   /LWLJDWLRQ 6XE7UXVW DV WKRVH WHUPV DUH GHILQHG LQ WKH 3ODQ  WKH 5HRUJDQL]HG 'HEWRU WKH

   &ODLPDQW7UXVWDQGWKH/LWLJDWLRQ6XE7UXVWDUHFROOHFWLYHO\UHIHUUHGWRKHUHLQDVWKH³6XFFHVVRU

   (QWLWLHV´DQGWRJHWKHUZLWKWKH6XFFHVVRU(QWLWLHV¶GLUHFWRUVRIILFHUVHPSOR\HHVSURIHVVLRQDOV

   DQGDJHQWVLQFOXGLQJEXWQRWOLPLWHGWRWKH&ODLPDQW7UXVWHHDQGWKH/LWLJDWLRQ7UXVWHH DVWKRVH

   WHUPV DUH GHILQHG LQ WKH 3ODQ  DQG DQ\ SURIHVVLRQDOV HQJDJHG E\ WKH &ODLPDQW 7UXVWHH DQG

   /LWLJDWLRQ7UXVWHHWKH³6XFFHVVRU3DUWLHV´ 


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    $OOGRFNHWQXPEHUVUHIHUWRWKHPDLQGRFNHWIRUWKH+LJKODQG%DQNUXSWF\&DVHPDLQWDLQHGE\WKLV&RXUW


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   $        0U-DPHV'RQGHUR2ZQVDQGRU&RQWUROV(DFKRIWKH'HIHQGDQWV

                 0U 'RQGHUR GLUHFWO\ RU LQGLUHFWO\ RZQV DQGRU HIIHFWLYHO\ FRQWUROV HDFK RI WKH

   'HIHQGDQWV

   The Advisors and the Funds

                 2Q'HFHPEHU0U'XVWLQ1RUULV ³0U1RUULV´ WHVWLILHGXQGHURDWKLQ

   VXSSRUW RI WKH Motion for Order Imposing Temporary Restrictions on Debtor’s Ability, as

   Portfolio Manager, to Initiate Sales by Non-Debtor CLO Vehicles >'RFNHW1R@WKDWZDV

   EURXJKWE\WKH$GYLVRUVDQG)XQGV WKH³5HVWULFWLRQ0RWLRQ´ 

                 0U1RUULVLVWKH([HFXWLYH9LFH3UHVLGHQWRIHDFKWKH$GYLVRUVDQGHDFKRIWKH

   )XQGV

                 'XULQJWKHKHDULQJRQWKH5HVWULFWLRQ0RWLRQ WKH³+HDULQJ´ 0U1RUULVWHVWLILHG

   WKDW0U'RQGHUR D GLUHFWO\RULQGLUHFWO\RZQVDQGFRQWUROVHDFKRIWKH$GYLVRUVDQG E LVWKH

   SRUWIROLRPDQDJHURIHDFKRIWKH)XQGVHDFKRIZKLFKLVDGYLVHGE\RQHRIWKH$GYLVRUV

                 0U 1RUULV¶V WHVWLPRQ\ LV FRUURERUDWHG E\ DPRQJ RWKHU WKLQJV D  WKH )XQGV¶

   SXEOLF ILOLQJV ZLWK WKH 6HFXULWLHV DQG ([FKDQJH &RPPLVVLRQ LQ ZKLFK HDFK RI WKH )XQGV

   GLVFORVHGWKDWWKH$GYLVRUVZHUHRZQHGDQGFRQWUROOHGE\0U'RQGHUR DQGWKDW0U'RQGHUR

   ZDVWKHSRUWIROLRPDQDJHUIRUHDFKRIWKH)XQGVDQG E WKHDVVHUWLRQLQDOHWWHUGDWHG'HFHPEHU

   VHQWRQEHKDOIRIWKH$GYLVRUVDQGWKH)XQGVWKDW³0U'RQGHURLVWKHOHDG DQGLQ

   VRPHFDVHVWKHVROH SRUWIROLRPDQDJHUIRUFHUWDLQRIWKH)XQGV+HLVLQWLPDWHO\LQYROYHGLQWKH

   GD\WRGD\RSHUDWLRQVDQGLQYHVWPHQWGHFLVLRQVUHJDUGLQJWKRVH)XQGVDQGWKHRSHUDWLRQVRIWKH

   $GYLVRUV´

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   LQIRUPDWLRQ DQG EHOLHI WKH '$) LV PDQDJHG E\ WKH &KDULWDEOH '$) +ROGFR /WG ³'$)

   +ROGFR´ ZKLFKLVWKHPDQDJLQJPHPEHURIWKH'$)

                             2QLQIRUPDWLRQDQGEHOLHI'$)+ROGFRLVRZQHGE\WKUHHGLIIHUHQW

   FKDULWDEOHIRXQGDWLRQV+LJKODQG'DOODV)RXQGDWLRQ,QF+LJKODQG6DQWD%DUEDUD)RXQGDWLRQ

   ,QFDQG+LJKODQG.DQVDV&LW\)RXQGDWLRQ,QF FROOHFWLYHO\WKH³+LJKODQG)RXQGDWLRQV´ 2Q

   LQIRUPDWLRQDQGEHOLHI0U'RQGHURLVWKHSUHVLGHQWDQGRQHRIWKHWKUHHGLUHFWRUVRIHDFKRIWKH

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   LQWHOOHFWXDOSURSHUW\ODZ\HUEDVHGLQ5DOHLJK1RUWK&DUROLQD0U'RQGHUR¶VFROOHJHURRPPDWH

   LVDOVRDQRIILFHUDQGGLUHFWRURIHDFKRIWKH+LJKODQG)RXQGDWLRQV

                  $OWKRXJKWKH'HEWRULVWKHQRQGLVFUHWLRQDU\LQYHVWPHQWDGYLVRUWRWKH'$)WKH

   'HEWRUGRHVQRWKDYHWKHULJKWRUDELOLW\WRFRQWURORUGLUHFWWKH'$)RU&/2+ROGFR,QVWHDG

   RQLQIRUPDWLRQDQGEHOLHIWKH'$)WDNHVDQGFRQVLGHUVLQYHVWPHQWDQGSD\PHQWDGYLFHIURPWKH

   'HEWRU EXW XOWLPDWH GHFLVLRQV DUH LQ WKH FRQWURO RI 0U 6FRWW ZKR DFWV VXEVWDQWLDOO\ DW 0U

   'RQGHUR¶VGLUHFWLRQ

   %      7KLV&RXUWKDV(QWHUHG7ZR2UGHUVWKDWDUH,PSOLFDWHGE\WKH
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   E\WKH'HEWRU

                  2Q 'HFHPEHU   WKH 'HEWRU ILOHG WKDW FHUWDLQ Motion of the Debtor for

   Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

   Governance of the Debtor and Procedures for Operations in the Ordinary Course>'RFNHW1R

   @ WKH³6HWWOHPHQW0RWLRQ´ 2Q-DQXDU\WKLV&RXUWHQWHUHGDQ2UGHUJUDQWLQJWKH

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                 $VSDUWRIWKH6HWWOHPHQW2UGHUWKLV&RXUWDOVRDSSURYHGDWHUPVKHHW WKH³7HUP

   6KHHW´  >'RFNHW 1R @ EHWZHHQ WKH 'HEWRU DQG WKH 2IILFLDO &RPPLWWHH RI 8QVHFXUHG

   &UHGLWRUV WKH³&RPPLWWHH´ SXUVXDQWWRZKLFK0U-RKQ6'XEHO0U5XVVHOO1HOPVDQG0U

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   HDFKRIWKH'HIHQGDQWVLVGLUHFWO\RULQGLUHFWO\RZQHGDQGRUFRQWUROOHGE\0U'RQGHURDQGRU

   0U6FRWW

                 'HIHQGDQWV¶ DFWLRQV DQG WKUHDWHQHG DFWLRQV DOVR LPSOLFDWH WKH Order Granting

   Debtor’s Motion for a Temporary Restraining Order Against James Dondero>$GY3UR1R

   VJM 'RFNHW 1R @ HQWHUHG RQ 'HFHPEHU   WKH ³752´ DQG WRJHWKHU ZLWK WKH

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                 3XUVXDQWWRWKH752WKH&RXUWWHPSRUDULO\HQMRLQHGDQGUHVWUDLQHG0U'RQGHUR

   IURP DPRQJ RWKHU WKLQJV ³LQWHUIHULQJ ZLWK RU RWKHUZLVH LPSHGLQJ GLUHFWO\ RU LQGLUHFWO\ WKH

   'HEWRU¶VEXVLQHVV´DQGIURP³FDXVLQJHQFRXUDJLQJRUFRQVSLULQJZLWK D DQ\HQWLW\RZQHGRU

   FRQWUROOHGE\>0U'RQGHUR@DQGRU E DQ\SHUVRQRUHQWLW\DFWLQJRQKLVEHKDOIIURPGLUHFWO\

   RULQGLUHFWO\HQJDJLQJLQDQ\3URKLELWHG&RQGXFW>DVGHILQHGLQWKH752@´LQFOXGLQJLQWHUIHULQJ

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   GR VR E\ LQLWLDWLQJ WKH SURFHVV IRU UHPRYLQJ WKH 'HEWRU DV WKHSRUWIROLR PDQDJHU RI WKH &/2V

   6XFKFRQGXFWYLRODWHVWKH2UGHUVDQGIORXWVWKH&RXUW¶VGHFLVLRQRQWKH5HVWULFWLRQ0RWLRQDQG

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   VHFXULWLHV WKDW 0U 6HHU\ KDG SHUVRQDOO\ DXWKRUL]HG  7KH $GYLVRUV HQJDJHG LQ WKLV FRQGXFW

   QRWZLWKVWDQGLQJ D  WKH GHQLDO RI WKH 5HVWULFWLRQ 0RWLRQ DQG WKH &RXUW¶V SRLQWHG FRPPHQWV

   GXULQJWKDW+HDULQJRQWKH5HVWULFWLRQ0RWLRQDQG E 0U1RUULV¶VVZRUQDFNQRZOHGJPHQWVRQ

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   &/2VLVJRYHUQHGE\ZULWWHQFRQWUDFWVDVWRZKLFKQRQHRIWKH$GYLVRUVRU)XQGVDUHSDUWLHV LL 

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   KROGHUVRISUHIHUHQFHVKDUHV VXFKDVWKH)XQGV KDYHQRULJKWWRPDNHLQYHVWPHQWGHFLVLRQVRQ

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   'RQGHUR See Declaration of Mr. James P. Seery, Jr. in Support of Debtor’s Motion for a

   Temporary Restraining Order Against Mr. James Dondero>$GY3UR1R'RFNHW1R@

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                 Second DOVR RQ 'HFHPEHU   WKH 'HIHQGDQWV ZURWH WR WKH 'HEWRU DQG

   UHQHZHG WKHLU ³UHTXHVW´ WKDW WKH 'HEWRU UHIUDLQ IURP VHOOLQJ DQ\ DVVHWV RQ EHKDOI RI WKH &/2V

   XQWLO WKH FRQILUPDWLRQ KHDULQJ WKH ³'HFHPEHU  /HWWHU´   ,Q VXSSRUW RI WKHLU ³UHTXHVW´ WKH

   'HEWRU UHDVVHUWHG DOPRVW YHUEDWLP WKH DUJXPHQWV DGYDQFHG LQ FRQQHFWLRQ ZLWK WKH 5HVWULFWLRQ

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   ZLWKGUDZWKHLU'HFHPEHU/HWWHUDQGFRQILUPWKDWQHLWKHUWKH'HIHQGDQWVQRUDQ\RQHDFWLQJRQ

   WKHLU EHKDOI ZLOO WDNH DQ\ IXUWKHU VWHSV WR LQWHUIHUH ZLWK WKH 'HEWRU¶V GLUHFWLRQV DV WKH &/2V¶

   SRUWIROLR PDQDJHU E\ WKH FORVH RI EXVLQHVV RQ 'HFHPEHU    7KH 'HIHQGDQWV IDLOHG WR

   FRPSO\ZLWKWKH'HEWRU¶VGHPDQGV

                 Third WKH 'HIHQGDQWV WKUHDWHQHG WR VHHN WR UHPRYH WKH 'HEWRU DV WKH SRUWIROLR

   PDQDJHU RI WKH &/2V  6SHFLILFDOO\ LQ D OHWWHU GDWHG 'HFHPEHU   WKH ³'HFHPEHU 

   /HWWHU´  WKH 'HIHQGDQWV LQIRUPHG WKH 'HEWRU WKDW RQH RU PRUH RI WKHP ³LQWHQG WR QRWLI\ WKH

   UHOHYDQWWUXVWHHDQGRULVVXHUVWKDWWKHSURFHVVRIUHPRYLQJWKH'HEWRUDVIXQGPDQDJHUVKRXOG

   EHLQLWLDWHGVXEMHFWWRDQGZLWKGXHGHIHUHQFHIRUWKHDSSOLFDEOHSURYLVLRQVRIWKH8QLWHG6WDWH

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   DJUHHPHQWVZLWKWKH&/2VDQGWKDWWKHUHZDVQRIDFWXDOOHJDORUFRQWUDFWXDOEDVLVWRUHPRYH

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   DQGLPSOLHGWKDWWKH'HEWRUZRXOGEHHFRQRPLFDOO\UHVSRQVLEOHIRUVXFKGDPDJH

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   FRQWLQXLQJWRZRUNRQEHKDOIRIWKH(QWLWLHV7KH'HEWRUDOVRQRWHGWKDWLWZLOOWDNHDOOVWHSVWR

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   RWKHUZLVH DWWHPSWLQJ WR LQIOXHQFH DQG LQWHUIHUH ZLWK WKH 'HEWRU¶V GHFLVLRQV FRQFHUQLQJ WKH

   SXUFKDVHRUVDOHRIDQ\DVVHWVRQEHKDOIRIWKH&/2V

                 'HIHQGDQWV¶FRQGXFWKDVSUR[LPDWHO\FDXVHGDQGZLOOFRQWLQXHWRFDXVHGDPDJH

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                 7KH3ODLQWLIILVHQWLWOHGWRGDPDJHVLQDQDPRXQWWREHGHWHUPLQHGDWWULDODULVLQJ

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   LQWHUIHUHQFHV ZLWK WKH 'HEWRU¶V PDQDJHPHQW FRQWUDFWV WKDW LI QRW SURKLELWHG ZLOO FDXVH WKH

   'HEWRULUUHSDUDEOHGDPDJHVWKH'HEWRULVWKHUHIRUHOLNHO\WRSUHYDLORQLWVXQGHUO\LQJFODLPIRU

   WRUWLRXVLQWHUIHUHQFHZLWKFRQWUDFW

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   'HIHQGDQWVDUHOLNHO\WRHQJDJHLQVRPHRUDOORIWKH3URKLELWHG&RQGXFWWKHUHE\LQWHUIHULQJZLWK

   WKH'HEWRU¶VRSHUDWLRQVPDQDJHPHQWRIDVVHWVDQGFRQWUDFWXDOREOLJDWLRQVDOOWRWKHGHWULPHQW

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                                   Counsel for Plaintiff Highland Capital Management, L.P.




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                          IN THE UNITED STATES BANKRUPTCY COURT
        1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
        2
                                          )     Case No. 19-34054-sgj-11
        3   In Re:                        )     Chapter 11
                                          )
        4   HIGHLAND CAPITAL              )     Dallas, Texas
            MANAGEMENT, L.P.,             )     Tuesday, January 26, 2021
        5                                 )     9:30 a.m. Docket
                      Debtor.             )
        6                                 )     MOTION FOR ENTRY OF ORDER
                                          )     AUTHORIZING DEBTOR TO
        7                                 )     IMPLEMENT KEY EMPLOYEE
                                          )     PLAN [1777]
        8                                 )
                                          )
        9   HIGHLAND CAPITAL              )     Adversary Proceeding 21-3000-sjg
            MANAGEMENT, L.P.,             )
       10                                 )
                                          )
       11             Plaintiff,          )
                                          )
       12   v.                            )     PLAINTIFF'S MOTION FOR A
                                          )     PRELIMINARY INJUNCTION AGAINST
       13   HIGHLAND CAPITAL              )     CERTAIN ENTITIES OWNED AND/OR
            MANAGEMENT FUND ADVISORS,     )     CONTROLLED BY MR. JAMES
       14   L.P., et al.                  )     DONDERO [5]
                                          )
       15             Defendants.         )
                                          )
       16
                                TRANSCRIPT OF PROCEEDINGS
       17              BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                             UNITED STATES BANKRUPTCY JUDGE.
       18
            WEBEX APPEARANCES:
       19
            For the Debtor:               Jeffrey Nathan Pomerantz
       20                                 PACHULSKI STANG ZIEHL & JONES, LLP
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       24                                 780 Third Avenue, 34th Floor
                                          New York, NY 10017-2024
       25                                 (212) 561-7700




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     1   APPEARANCES, cont'd.:
     2   For the Official Committee     Matthew A. Clemente
         of Unsecured Creditors:        SIDLEY AUSTIN, LLP
     3                                  One South Dearborn Street
                                        Chicago, IL 60603
     4                                  (312) 853-7539
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     7                                  (214) 777-4261
     8   For Certain Defendants:        Davor Rukavina
                                        Julian Vasek
     9                                  MUNSCH, HARDT, KOPF & HARR
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    14                                  Raleigh, NC 27609
                                        (919) 743-7306
    15
         For James D. Dondero:          John T. Wilson
    16                                  BONDS ELLIS EPPICH SCHAFER
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                                          Suite 1000
    18                                  Fort Worth, TX 76102
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    19
         For the U.S. Trustee:          Lisa L. Lambert
    20                                  OFFICE OF THE UNITED STATES
                                          TRUSTEE
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    22                                  (214) 767-8967
    23   Recorded by:                   Michael F. Edmond, Sr.
                                        UNITED STATES BANKRUPTCY COURT
    24                                  1100 Commerce Street, 12th Floor
                                        Dallas, TX 75242
    25                                  (214) 753-2062




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     1   Transcribed by:                Kathy Rehling
                                        311 Paradise Cove
     2                                  Shady Shores, TX 76208
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        1               DALLAS, TEXAS - JANUARY 26, 2021 - 9:40 A.M.

        2               THE COURT:   All right.   We have Highland settings

        3   this morning:     a Motion for Approval of a KERP, which I didn't

        4   see objections to, and then a Preliminary Injunction hearing.

        5   Let me get appearances from the parties who have filed

        6   pleadings.

        7        For the Debtor team, I see Mr. Morris.        Who do we have

        8   appearing?

        9               MR. POMERANTZ:   Good morning, Your Honor.     It's Jeff

       10   Pomerantz and John Morris appearing on behalf of the Debtor.

       11   I will handle the KERP motion, which we'll propose goes first

       12   and quickly, and then Mr. Morris will handle the adversary

       13   proceeding.

       14               THE COURT:   All right.   Very good.

       15        All right.    Let me get appearances from the Defendants in

       16   the preliminary injunction matter.       Do we have Mr. Kane or

       17   someone for CLO Holdco?

       18               MR. KANE:    Yes, Your Honor.   John Kane for CLO

       19   Holdco, Ltd.

       20               THE COURT:   All right.   What about for the Funds and

       21   Advisors?    I guess we have a couple of law firms involved.

       22   Who do we have appearing for the K&L Gates firm?

       23               MR. HOGEWOOD:    Good morning, Your Honor.    This is Lee

       24   Hogewood with K&L Gates, and also with our firm appearing

       25   today is Emily Mather.




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        1             THE COURT:    Okay.   I didn't get Emily's last name.

        2   Could you repeat that?

        3             MR. HOGEWOOD:    I'm sorry, Your Honor.    Emily Mather,

        4   M-A-T-H-E-R.

        5             THE COURT:    Thank you.

        6        All right.   For the Munsch Hardt team, do we have Mr.

        7   Rukavina or someone else appearing?

        8             MR. RUKAVINA:    Your Honor, good morning.     This is

        9   Davor Rukavina.   I represent all of the Defendants in the

       10   adversary except CLO Holdco.

       11        Pursuant to the Court's instructions, Mr. Dondero is also

       12   present here in my conference room, so he is here.       He is not

       13   on the camera, but he is here.

       14             THE COURT:    Okay.   All right.   And does Mr. Dondero

       15   have counsel, his individual counsel appearing today?

       16             MR. WILSON:    Your Honor, John Wilson for Jim Dondero.

       17             THE COURT:    Okay.   Thank you.   Do we have Creditors'

       18   Committee lawyers on the phone today?

       19             MR. CLEMENTE:    Yes, Your Honor.    Good morning.

       20   Matthew Clemente; Sidley Austin; on behalf of the Official

       21   Committee of Unsecured Creditors.

       22             THE COURT:    All right.   Thank you.

       23        All right.   Well, obviously, if any other lawyer is dying

       24   to chime in at some point today, I will consider letting that

       25   happen.   But, again, I think we've got the parties who have




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       1   filed pleadings having appeared at this point.       So, let's turn

       2   to the KERP motion.     Mr. Pomerantz?

       3              MR. POMERANTZ:    Yes, Your Honor.   Good morning again.

       4   On January 19th, the Debtor filed its motion for approval of a

       5   Key Employee Retention Program which would substitute out its

       6   annual bonus plan.

       7        We have not received any opposition to the motion,

       8   although the United States Trustee did ask some questions

       9   which we are prepared to address in connection with the

      10   proposed proffer of Mr. Seery's testimony.       I'm happy to make

      11   a full presentation of the motion to Your Honor, if you would

      12   like, or I could just present Mr. Seery's proffer, which I

      13   should -- which I believe will establish the factual predicate

      14   and the evidence to support the motion.

      15              THE COURT:   All right.    Let's just go straight to the

      16   proffer, please.

      17               MR. POMERANTZ:    Okay.   Thank you, Your Honor.

      18                 PROFFER OF TESTIMONY OF JAMES P. SEERY

      19              MR. POMERANTZ:    Mr. Seery is on the video today, and

      20   if he was called to testify he would testify that his name is

      21   James P. Seery, Jr. and that he is the chief executive officer

      22   and chief restructuring officer of Highland Capital

      23   Management.

      24        He would also testify that he was one of the independent

      25   directors appointed to the Court on January 9th, 2020.




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        1   Because of his role with the Debtor, he is familiar with the

        2   company's day-to-day operations, including its -- the

        3   company's employee and wage benefit and bonus plans relating

        4   to the employees.

        5        He would testify that he has been involved in the

        6   negotiation and drafting of the company's plan of

        7   reorganization, and is familiar with the expected operation of

        8   the Claimant Trust and Reorganized Debtor post-confirmation in

        9   connection with the plan.

       10        He would testify that the plan generally provides for the

       11   monetization of the company's assets for the benefit of

       12   creditors and stakeholders, and he would testify that, as part

       13   of the plan process, he worked closely with DSI, the company's

       14   financial advisor, to assess both the costs of the Debtor's

       15   current employee base and the projected cost of operations in

       16   connection with the Reorganized Debtor and Claimant Trust

       17   following the effective date.

       18        He would testify that, to ensure the continued smooth

       19   operation of the company in connection with the continuation

       20   and consummation of the plan for the benefit of all

       21   stakeholders, that he worked with DSI to determine the

       22   appropriate staffing needs necessary for the company's

       23   remaining operations.

       24        He would testify that he analyzed the current employees to

       25   determine which, if any, would need to be continued to be




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        1   retained by the Debtor and operate during the Reorganized

        2   Debtor and Claimant Trust period following the effective date

        3   of the plan.

        4        He would testify as part of that analysis he reviewed the

        5   roles and functions of the non-insider employees with respect

        6   to the services that they needed, and he reviewed the wages,

        7   benefits, and bonuses for those remaining non-insider

        8   employees necessary for those functions.

        9        He would testify, that based upon his review, the company

       10   determined that it was in the best interests of the estate to

       11   terminate the existing annual bonus plan, as it was no longer

       12   necessary to effectively incentivize the remaining non-insider

       13   employees who would be terminated prior to being entitled to

       14   any further payments under the annual bonus plan.

       15        He would testify that, instead, the company developed a

       16   new retention plan that was designed to incentivize the non-

       17   insider employees to remain with the company for as long as

       18   they are needed to assist in the effectuation of the plan.

       19        He would testify that Mr. Waterhouse and Surgent, arguably

       20   two insiders of the Debtor, are not eligible for the retention

       21   plan, and that's not because there is any concern regarding

       22   their loyalty, but the Debtor is looking at ways to

       23   appropriately incentivize and compensate those people as

       24   appropriate in the future.

       25        He would testify that there are a few persons on the list




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        1   of people who are part of the retention plan with a title that

        2   includes director or manager; however, he would testify that

        3   none of those individuals are corporate officers or directors

        4   of the Debtors -- the Debtor, and that the titles are for

        5   convenience only.    He would testify that the individuals who

        6   are employed in these roles do not have any authority

        7   whatsoever to make any decisions on behalf of the Debtor.

        8        He would testify that in connection with the new retention

        9   plan, the non-insider employees may be offered the opportunity

       10   to enter into a termination agreement with the company that

       11   will provide specified benefits and payments in return for the

       12   non-insider employee remaining as an employee in good standing

       13   with the company through the separation date.

       14        He would testify that a key component of the retention

       15   plan is that non-insider employees will be entitled to the

       16   specific bonus payments provided that they do not voluntarily

       17   terminate their employment with the Debtor prior to the

       18   separation date and are not terminated for cause.

       19        He would testify that that is in contrast to the existing

       20   or the prior annual bonus plan, which provided that non-

       21   insider employees would not receive their bonus payments if

       22   they were not employed by the Debtor on the vesting date for

       23   any reason except on account of disability, including

       24   termination without cause.

       25        Mr. Seery would further testify that the retention plan is




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        1   being offered to approximately 53 employees, and the projected

        2   aggregate amount of payments under the retention plan is

        3   approximately $1,481,000, which is $32,000 approximately less

        4   than the amount that would have been paid to such employees

        5   under the annual bonus plan.

        6        He would testify that the retention plan includes 20

        7   employees who are not entitled to benefits under the annual

        8   bonus plan.   Fourteen employees are entitled to receive more

        9   under the retention plan than they would have received under

       10   the annual bonus plan.

       11        With respect to the 20 employees I've previously mentioned

       12   who are not otherwise entitled to receive anything under the

       13   annual bonus plan, the vast majority of those -- 18 -- will be

       14   entitled to payments of $2,500 each, and the other two

       15   entitled to payments of $10,000 and $7,500, respectively.

       16        Mr. Seery would testify that he believes that these

       17   additional payments are reasonable in light of the current

       18   status of the company and the value to be added to the estate

       19   through the retention of these employees, and that this plan

       20   is more accurately and narrowly-tailored to achieve the

       21   company's reorganization goals.

       22        On this basis, Your Honor, Mr. Seery would testify that he

       23   presented the proposed retention plan to the independent

       24   directors and they agreed with Mr. Seery's assessment that

       25   entry into the retention plan was in the best interests of the




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        1   estate and its creditors.

        2        He would also testify that he had negotiations with the

        3   Creditors' Committee and its advisors regarding the retention

        4   plan and that the Committee is supportive of the retention

        5   plan.

        6        And that would conclude my proffer of testimony from Mr.

        7   Seery, Your Honor.

        8             THE COURT:    All right.   Mr. Seery, if you could say

        9   "Testing, one, two" so we can catch your audio and video,

       10   please?

       11             MR. SEERY:    Testing, one, two, Your Honor.

       12             THE COURT:    All right.   There you are.    Please raise

       13   your right hand.

       14                 JAMES P. SEERY, DEBTOR'S WITNESS, SWORN

       15             THE COURT:    All right.   Thank you.   Is there anyone

       16   who has questions at this time for Mr. Seery?

       17        (No response.0

       18             THE COURT:    All right.   Well, I'll just double-check

       19   with the Committee.    It's been represented that you all are in

       20   support of this.    Mr. Clemente, if you could confirm that on

       21   the record?

       22             MR. CLEMENTE:    That's correct, Your Honor.        The

       23   Committee has no objection to the motion, so Mr. Pomerantz's

       24   statements are accurate.

       25             THE COURT:    All right.   Anyone else?




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        1               MS. LAMBERT:    This is Lisa Lambert for the United

        2   States Trustee.     The U.S. Trustee has reviewed the actual data

        3   about the comparatives, and the U.S. Trustee, based on the

        4   stipulations, has no objection.

        5               THE COURT:    All right.   Thank you.   Anyone else?

        6          All right.   Well, the Court will approve this motion.

        7   First, while the notice was expedited, the Court finds that it

        8   was sufficient under the circumstances.        We are many months

        9   into the case, it's been vetted by the Committee, and the

       10   Court is satisfied with the level of notice here.

       11          The Court finds that this is a KERP that is justified by

       12   all the facts and circumstance of this case, to use the

       13   wording of Section 503(c)(3) of the Bankruptcy Code.          There

       14   also appears to be a very sound business purpose justifying

       15   the proposed KERP.       It appears to be reasonable in all ways,

       16   and fair under the circumstances, so I do approve it.

       17          All right.   So if you all will get the order uploaded

       18   electronically, I will promise to sign it promptly.

       19               MR. POMERANTZ:    We will do so, Your Honor.      Thank

       20   you.

       21               THE COURT:    All right.   So, the preliminary

       22   injunction.    Mr. Morris, I heard you were going to be taking

       23   the lead on that, so go ahead.

       24               MR. MORRIS:    Indeed.   Good morning, Your Honor.     John

       25   Morris; Pachulski, Stang, Ziehl & Jones; for the Debtor.




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        1             THE COURT:    Good morning.

        2             MR. MORRIS:    A few items before I give what I hope

        3   will be an informative opening statement.       I trust that Your

        4   Honor has not had the opportunity, because it was just filed a

        5   moment ago, to see that the Debtor filed on the docket notice

        6   of a settlement with CLO Holdco, Ltd., one of the Defendants

        7   here today.

        8             THE COURT:    I have not seen that.    Okay.

        9             MR. MORRIS:    Right.   So you'll find that at Docket

       10   1838.

       11             THE COURT:    Okay.

       12             MR. MORRIS:    It really is a very simple settlement,

       13   Your Honor.    In exchange for the withdrawal of CLO Holdco's

       14   objection to the Debtor's plan of reorganization, the Debtor

       15   is dismissing CLO Holdco from this adversary proceeding with

       16   prejudice.    There are, you know, some other bells and whistles

       17   there, the most important of which to the Debtor is simply

       18   that, under the CLO management agreements, most of them but

       19   not all of them require that a level of cause be established

       20   before the contracts can be terminated, and CLO Holdco has

       21   agreed that, before it seeks to terminate a contract for

       22   cause, there will be a gating provision or a gatekeeping

       23   provision that requires them to come to this Court to simply

       24   establish whether or not there is a colorable claim -- not for

       25   a determination on the merits, but simply to protect the




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        1   Debtor from frivolous lawsuits.

        2        So that's really the sum and substance of it.       Mr. Kane is

        3   on the line now, and if I've either inaccurately or

        4   incompletely characterized the settlement, I'm sure he'll take

        5   the opportunity to supplement the record.      But we don't see

        6   any need, really, to go through a full 9019 motion here.

        7   There's no releases.    There's no exchange of money.     It's the

        8   withdrawal of a plan objection in consideration for the

        9   dismissal of an injunctive proceeding.

       10        So we did want to alert you to that.      And as a result,

       11   there was one witness that we intended to call today, Grant

       12   Scott.   Mr. Scott is the director of CLO Holdco.      And with the

       13   resolution of the issues between the Debtor and CLO Holdco, we

       14   have no intention of calling Mr. Scott today.       But I'd like to

       15   give Mr. Kane an opportunity to be heard just in case he's got

       16   anything to add.

       17             THE COURT:    All right.   Mr. Kane, can you confirm?

       18   Do you have anything to change about what you heard?

       19             MR. KANE:    Your Honor, I do not.    The settlement

       20   agreement speaks for itself.     We did reach an agreement with

       21   Debtor's counsel and the Debtor yesterday evening, fairly late

       22   in the evening.    Mr. Morris's synopsis of the proposed

       23   settlement is accurate.    The Debtor has agreed to dismiss CLO

       24   Holdco from the preliminary injunction adversary proceeding

       25   with prejudice.




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        1             THE COURT:    All right.   Well, thank you.    I've pulled

        2   it up on my screen.     It's very short and to the point.     And I

        3   agree with the comment of Mr. Morris that I don't think a

        4   formal 9019 motion is required here, given no consideration is

        5   going back and forth, or releases.      It's just exactly as you

        6   described orally.    So, I appreciate that.    It simplifies a

        7   little bit what we have set today.      And we will accept this

        8   settlement as being in place as we roll forward.        All right?

        9   Thank you.

       10             MR. MORRIS:    Thank you, Your Honor.

       11        So, before I get to the substance of the argument, I would

       12   like to take care of some housekeeping items relative to

       13   today's proceedings.

       14             THE COURT:    Okay.

       15             MR. MORRIS:    You know, this has been a bit of a

       16   challenge for me personally, and it's going to be a little bit

       17   of a challenge today for Ms. Canty, my assistant, in part

       18   because it's almost like Groundhog's Day.      This is, I think,

       19   the third time that we're covering some of the same issues.

       20   We had covered them the first time on December 16th in

       21   connection with what I'll now just simply refer to as the

       22   Defendants, the Defendants' motion to try to limit the Debtor

       23   from trading the CLO assets.     We heard a lot of what we're

       24   going to hear today again on January 8th in connection with

       25   the preliminary injunction motion against Mr. Dondero.        And so




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        1   there's already a ton of evidence in the record.       We do

        2   believe that we need to present our evidence today, but one of

        3   the challenges that we'll face, and I think we'll be able to

        4   do it efficiently, Your Honor, is there may just be some back

        5   and forth between various documents.      But everything's gone

        6   pretty smoothly, and I'm optimistic we'll get through that

        7   part of it today.

        8        So I want to deal with the exhibits themselves, Your

        9   Honor.   As you may have seen, there have been a number of

       10   different filings relating to the Debtor's exhibits for this

       11   particular motion, and I just want to go through the exhibits

       12   and make sure that we're all on the same page here.       I want to

       13   tell the Court exactly what happened and why and where we are

       14   today.

       15        The Debtor timely filed its original witness and exhibit

       16   list on January 22nd.    They filed that witness and exhibit

       17   list at Docket 39 in this Adversary Proceeding 21-3000.         The

       18   exhibit list referenced Exhibits A through I'll just say

       19   AAAAA.   It was a lot of exhibits, and somebody had the wise

       20   idea to convert them to numbers, but it wasn't me, so I can't

       21   take credit.   But we're left with letters, and they go from A

       22   through AAAAA.

       23        After filing that initial exhibit list, we realized that

       24   --

       25        (Interruption.)




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        1             THE COURT:    All right.      Does someone have their

        2   device unmuted?    Okay.    It went away.     Go ahead, Mr. Morris.

        3             MR. MORRIS:      Thank you.    So, shortly after filing

        4   that initial exhibit list, we realized that we forgot to file

        5   among the exhibits AAAAA.      So at Docket #40 in the adversary

        6   proceeding, the Court can find Debtor's Exhibit AAAAA.

        7        And then we're going to -- I'm going to refer in a few

        8   minutes -- I'm going to use in a few minutes some

        9   demonstrative exhibits, and I'm going to use them again with

       10   Mr. Seery.   And these exhibits concern trading in AVYA and SKY

       11   securities that you've heard about previously.

       12        But I'm pointing that out now because I'm kind of old

       13   school, Your Honor, and I won't use a demonstrative exhibit if

       14   it doesn't have the evidence in the record.          And what we

       15   realized, Your Honor, is we made two additional mistakes on

       16   Friday with all the papers that we filed.          The backup for

       17   these demonstratives was mistakenly included on the exhibit

       18   list for the confirmation hearing as opposed to the

       19   preliminary injunction hearing.         That was error number one.

       20   And error number two, we hadn't redacted the information to

       21   show only the SKY and AVYA.

       22        And that's why, Your Honor, at Docket #48, you will find

       23   our amended exhibit list that includes what we have identified

       24   as Exhibits BBBBB as in boy through SSSSS as in Sam.          And

       25   those exhibits, Your Honor, are the backup to the




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        1   demonstrative exhibits.      I don't expect to use them at all,

        2   but I do believe strongly that one should not use a

        3   demonstrative exhibit unless the evidence is in the record to

        4   support it, and now it is.

        5        So that's why, Your Honor, I do appreciate your court

        6   staff.   I do appreciate Your Honor.        I think you either had

        7   before you and you may have signed an order on redacting.

        8   This is what it was all about.         It was just to make sure we

        9   had the proper evidence in the record, so I appreciate that.

       10        At this time, Your Honor, I think, just because I'll be

       11   referring to it in the opening, the Debtor would move for the

       12   admission into evidence of Exhibits A through SSSSS.

       13               THE COURT:    All right.    Is there any objection?

       14               MR. RUKAVINA:    Your Honor, there is.    Your Honor, I

       15   object to UUUU.    I'll object to VVVV as in Victor.       I object

       16   to AAAAA.    That's it, Your Honor.

       17        I will note that there are several exhibits in here of

       18   relevance to CLO Holdco that may not be relevant to my

       19   clients, but those are my limited objections for now.

       20               THE COURT:    All right.    Before we ask the nature of

       21   your objection, let me ask Mr. Morris:         Shall we just --

       22               MR. MORRIS:    Yeah.

       23               THE COURT:    -- carve these out for now, and then if

       24   you want to offer them the old-fashioned way, we'll hear the

       25   objection then?




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        1             MR. MORRIS:    Yes, although I can make it very clear

        2   that UUUU should not be in there precisely because it's

        3   demonstrative.   We had talked that yesterday and I agreed; I

        4   just forgot that.    UUUU should not be part of the record.

        5             THE COURT:    Okay.   And so you'll just decide later do

        6   you want to offer VVVV and AAAAA the old-fashioned way?

        7             MR. MORRIS:    Correct.

        8             THE COURT:    All right.   So, for the record, I am

        9   admitting by stipulation -- with three exceptions I'll note --

       10   all of the exhibits of the Debtor that appear at Exhibits 39

       11   and, well, and 48.     And we're carving out of that admission

       12   UUUU, VVVV, and AAAAA, which actually appears at Exhibit --

       13   Docket Entry 40.    Those are not admitted at this time.

       14        (Debtor's Exhibits A through SSSSS, exclusive of Exhibits

       15   UUUU, VVVV, and AAAAA, are received into evidence.)

       16             THE COURT:    All right.   Go ahead, Mr. Morris.

       17             MR. MORRIS:    Yes.

       18             MR. RUKAVINA:    Well, Your Honor, while we're talking

       19   about housekeeping -- Mr. Morris, I apologize.       Is there more

       20   housekeeping?

       21             MR. MORRIS:    I'd like to continue.    I was going to

       22   describe the witnesses.

       23               OPENING STATEMENT ON BEHALF OF THE DEBTOR

       24             MR. MORRIS:     So, Your Honor, the Debtor is going to

       25   call three witnesses today.     The first witness will be Mr.




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        1   Dondero, the second will be Jason Post, and then the third

        2   will be Mr. Seery.

        3       Obviously, Mr. Dondero and Mr. Seery are very familiar to

        4   the Court and they will cover much but not all of the same

        5   ground that you've heard previously.

        6       Mr. Post, I believe, is a new witness appearing in this

        7   court for the first time.    I understand that he is the chief

        8   compliance officer of each of the Debtors [sic].       He had

        9   worked at Highland Capital Management, the Debtor, for more

       10   than a decade, I believe, but moved over to NexPoint to work

       11   with Mr. Dondero shortly after Mr. Dondero resigned from

       12   Highland Capital on or about October 10th last year.

       13       So those are the three witnesses that we plan to present

       14   today, and I'd like to describe briefly kind of what we think

       15   the evidence will show.

       16       The theme from our perspective here, Your Honor, is that

       17   this is a case that is about power and not rights.       The Debtor

       18   brings this motion for preliminary injunction in order to

       19   protect itself from the interference of Mr. Dondero and the

       20   Defendants, entities that there will be no dispute he owns and

       21   controls.

       22       You may have read in the papers, and I suspect you will

       23   hear today from the Defendants, the clarion call for

       24   contractual rights and the need for this Court to protect

       25   their contractual rights.    This is a red herring, Your Honor.




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        1   There are no contractual rights at issue here.       What Mr.

        2   Dondero and the Defendants really want is to maintain control,

        3   or at least to deny Mr. Seery from exercising the Debtor's

        4   valuable contractual rights.     If there are any contractual

        5   rights at issue here, it is the Debtor's.      The Debtor is the

        6   party to the CLO management agreements, and it's those very

        7   rights that are being infringed upon.

        8        This was supposed to have been resolved 53 or 54 weeks ago

        9   now, Your Honor, when Mr. Dondero agreed and this Court

       10   ordered that Mr. Dondero could not use related entities to

       11   terminate any of the Debtor's agreements.      There is no dispute

       12   that each of the Defendants is a related entity for purposes

       13   of the January 9th order, since Mr. Dondero and Mr. Norris

       14   have already testified that the Defendants are owned and/or

       15   controlled by Mr. Dondero.

       16        Notwithstanding the plain language of the January 9th

       17   order, which Mr. Dondero not only agreed to, but it may be one

       18   of the very few orders in this case that he hasn't appealed,

       19   notwithstanding the plain language, Your Honor, he persists,

       20   and that is why we are here.

       21        How do we know that this is about power and not rights?

       22   How do we know that everything that's going to be described

       23   for you, what the evidence is going to show that this is about

       24   power and not rights, is very simple.      Mr. Dondero and Mr.

       25   Post will testify -- I'm just going to give four, five, six




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        1   examples here -- are going to testify that Mr. Seery's AVYA

        2   trades were not in the Funds' best interests.       It's an

        3   irrelevant point, Your Honor.       There is no contractual right

        4   that gives them the ability to terminate because they don't

        5   like trades that are being made.       They can sell.   If they

        6   don't like it, they can sell.       That's what's really funny

        7   about this.

        8        But what's -- what makes it even more clear that this is

        9   about power and not rights is the evidence is going to show

       10   that Mr. Dondero sold AVYA shares throughout 2020.        He sold

       11   those shares right up until the day he resigned.        And yet six

       12   days after resigning, NexPoint sends a letter saying, Don't

       13   sell any assets.

       14        Ms. Canty, can we put up Exhibit number -- Demonstrative

       15   Exhibit 1, please?

       16        Okay, Your Honor.    We have redacted this to shield from

       17   public disclosure the name of each fund that's trading, but

       18   the backup, as I alluded to earlier, in Exhibits BBBBB through

       19   SSSSS, some portion of those documents, that's where these

       20   demonstrative figures come from.

       21        And as you can see, beginning on January 29, 2000,

       22   continuing through the bottom of the page, October 9th, 2020,

       23   when Mr. Dondero left Highland Capital, he traded millions and

       24   millions and millions of dollars in AVYA stock.

       25        Can we go to Demonstrative Exhibit #2, please?




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        1          This chart is really -- no, I apologize if I -- the other

        2   one.    The AVYA trading activity chart.    Yeah.

        3          This one is really interesting, Your Honor, because it

        4   shows the trading throughout the year of AVYA stock, and you

        5   can see the brown bars there represent Mr. Dondero's trades.

        6   And you can see just how many trades there are.       There are

        7   over a million shares, I think, if you added it up.       They're

        8   represented by the brown bars.      You can see him selling AVYA

        9   stock throughout the period, sometimes at a price really near

       10   its bottom.

       11          And then Mr. Seery tries and actually does sell some stock

       12   toward the end of the year.     That's the green bars on the

       13   right.    A very, very tiny amount compared to Mr. Dondero.       And

       14   he sells it at a substantially greater price than Mr. Dondero

       15   sold the AVYA stock.     And yet they're here telling you, Your

       16   Honor, that somehow Mr. Seery is mismanaging the CLOs and they

       17   disagree with what he's doing and he's not acting in the best

       18   interests of the investors.     That's what they want -- but this

       19   is what the evidence shows, Your Honor.

       20          With respect to SKY, if we could go to the next slide,

       21   please.

       22          So this is SKY.   Now, Mr. Dondero did not trade any SKY

       23   securities, but Mr. Seery did.      And this was another security

       24   -- and we'll get to the evidence in a moment -- that Mr.

       25   Dondero interfered with and tried to stop.      So Mr. Seery




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        1   succeeded sometimes and he was stopped sometimes, but the

        2   point is, Your Honor, look at the price that Mr. Seery sold.

        3         And remember, you heard this before and you're going to

        4   hear it again.    Nobody from the Defendants ever asked Mr.

        5   Seery, Why do you want to trade this?      Not that they even had

        6   to.   Not that Mr. Seery needs to defend himself, frankly.

        7   He's got the authority under the management contracts to act

        8   in the way that he thinks is in the best interest.       But look

        9   at this chart.    He made these sales, Your Honor, at more than

       10   twice the price of the bottom.

       11         How can they have any credibility?    How can Mr. Dondero

       12   and Mr. Post come into this courtroom and assert that Mr.

       13   Seery is doing anything other than a fabulous job?       He is

       14   selling at the top of the market.     Because they think that

       15   some high -- in the future, it's going to go higher?          It's

       16   prudent, Your Honor.

       17         Mr. Seery is going to tell you the work that he did.           He

       18   is going to give you the rationale for his decisions.         And the

       19   only conclusion that I hope and believe the Court will be able

       20   to reach is that these were not only rational decisions but

       21   they were prudent, taking some money off the table when the

       22   stock was near its high.

       23         That's how we know, this is more evidence how we know this

       24   is about power.    It's not about rights.    It's not about

       25   justice.   It's not about anything having to do with anything




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        1   other than Mr. Dondero wanting to maintain control.

        2       How else do we know?     What other evidence is there that

        3   this is about power and not rights?       Again, the timing.      The

        4   calendar here is going to be very, very important.        The first

        5   demand from NexPoint from the Defendants that Mr. Seery stop

        6   trading came on October 16th.       It was less than a week after

        7   Mr. Dondero -- like, where does this come from?        There's no

        8   right to demand stopping of trading.       You don't get to do it.

        9   And they're going to minimize it.       They're going to spend the

       10   whole day, Your Honor, either -- either focusing on the law or

       11   trying to minimize.    And they'll say, well, it was just a

       12   request, Your Honor.    And if it was a third-party request, I

       13   bet Mr. Seery -- Mr. Seery is going to tell you, if it was a

       14   third party, he wouldn't care.       But when you put all of this

       15   together, it is oppressive.    It is an exertion -- it's an

       16   attempt at exertion of control.      That's how it's perceived and

       17   that's actually what happened.

       18       Do you need more evidence?       Again, they'll talk about

       19   termination for cause and how they have the right and the

       20   Court -- you, Your Honor, don't have the power to infringe

       21   upon their contractual rights.      But there will be no evidence.

       22   Absolutely none.   Mr. Post is going to tell you, in fact, that

       23   he has no evidence of any breach, of any default, of any

       24   reason whatsoever that cause might exist for the termination

       25   of these contracts.    That's how you know this is about power




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        1   and not rights.

        2        Last point on the issue of power versus rights:          Who were

        3   the counterparties to the CLO agreements?      Did the CLO Issuers

        4   -- where are they?    They're not here.    They're not here to

        5   tell the Court that Mr. Seery is breaching his duty.          They're

        6   not here to tell the Court that the Debtor is in default.          In

        7   fact, what Mr. Seery is going to tell you, and it won't be

        8   rebutted, is that the CLO Issuers are close to finalizing a

        9   deal that will permit the Debtor to assume the CLO management

       10   contracts.

       11        Mr. Post or Mr. Dondero might get up on the stand today

       12   and say, oh, because people have left the firm, that somehow

       13   they don't have the ability to service the contracts anymore.

       14   You know who doesn't believe that?     The contractual

       15   counterparty, the Issuers.     It's about power, Your Honor.

       16   It's not about rights.

       17        There is substantial evidence that warrants the imposition

       18   of a preliminary injunction, substantial evidence, much of

       19   which you've heard already.

       20        The October and November letters demanding or requesting

       21   that the Debtor halt trades.     There's no right to that.

       22        Mr. Dondero's interference with the support of Joe Sowin,

       23   the Advisors' trader, around Thanksgiving, when they actively

       24   moved in.    And it's in the emails.   It's in the record.       We'll

       25   put in the record again.




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        1        And then he made the threat to Thomas Surgent -- Mr.

        2   Dondero made the threat to Thomas Surgent about potential

        3   personal liability.

        4        The ridiculous -- remember the ridiculous motion that was

        5   heard on December 16th, a motion so devoid of factual or legal

        6   basis that the Court granted the Debtor a directed verdict and

        7   dismissed the motion as frivolous?      Notably, neither Mr.

        8   Dondero nor Mr. Post testified at that hearing.       Yet, within a

        9   week, Your Honor -- the hearing was on a Wednesday.       The

       10   hearing was on Wednesday, December 16th.      The Court entered

       11   the order on Friday, December 18th.      On Monday, December 21st,

       12   the next business day, Mr. Dondero and Mr. Post and the

       13   lawyers for the Defendants held conference calls to figure out

       14   what to do next.

       15        And the very next day, the evidence is going to show --

       16   it's already in the record -- Mr. Dondero again actively

       17   stopped Mr. Seery's trades from being effectuated.       They sent

       18   their first letter.    This is less than a week after that

       19   hearing, Your Honor.    They sent another letter asking the

       20   Debtor -- again, they requested -- minimize -- this is what

       21   you're going to hear:    Well, we just sent a letter requesting

       22   no more trading.

       23        What happened the next day, December 23rd?      They send

       24   another letter and they say, We're thinking about terminating

       25   the contracts.    Now we think we're going to terminate the




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        1   contracts.   And we just want to let you know we're thinking

        2   about terminating the contracts.

        3       And we call them -- and Mr. Seery is going to testify to

        4   this -- we say, What are you doing?     Every time we just said,

        5   Please withdraw your letter.     There's no basis for doing this.

        6   Leave us alone and let us do our job.     They wouldn't -- they

        7   refused to withdraw the letter.

        8       And finally -- again, Mr. Seery will testify to this -- we

        9   told them, If you think you really have a basis for

       10   terminating the contract, make your motion to lift the stay.

       11   And if you don't, the Debtor will file the motion that brings

       12   us here today.

       13       And that's how we got here, because they continued to

       14   interfere with the trading.    They continued to send these

       15   specious letters that are implicit threats.      Mr. Seery is

       16   going to tell you that every one of these, he -- is an

       17   implicit threat.   We asked them, Just withdraw the letters and

       18   stop it.   We asked them to make their own motion if you think

       19   so strongly of it.    They wouldn't do that, either.     They just

       20   want it hanging out there.    They just want it all hanging out

       21   there over Mr. Seery's head so that he knows somebody's --

       22   somebody's watching and somebody's planning, you know, to take

       23   action.

       24       It's not right, Your Honor.     They have no right to any of

       25   this.   There's nothing in the contract that allows them to




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        1   make even a good-faith -- to make any claim that they have

        2   cause to terminate the contract.      They have no right under any

        3   circumstances to stop Mr. Seery from trading.

        4         What they are going to tell you is there's no agreement

        5   between the Advisors and the Debtor that requires the Advisors

        6   to execute the trades.    And they're right about that.        They're

        7   actually right about that.      But here's the thing, Your Honor.

        8   What Mr. Seery is going to tell you is that Advisors has the

        9   trading desk.    For more than a decade, they executed the

       10   trades.   Through the entirety of this bankruptcy case, until

       11   Mr. Dondero left Highland, they executed the trades.          Even

       12   after Mr. Dondero left Highland in October, they continued to

       13   execute the trades.    And on December 22nd, they fold their

       14   hands and they say, Nope, I don't care about the course of

       15   dealing, I don't care what impact it has, you can't make me do

       16   it.   So Mr. Seery has tried end-arounds, and that'll be in the

       17   record, too, and that's when the threats to Surgent come.

       18   That's when the threat to Surgent come, when we try to do the

       19   workaround.     Cannot do it.

       20         This is just not right, Your Honor.     It's just not right.

       21   There's order -- there's the January 9th order.       There was the

       22   TRO that was in effect that we're going to hear about again,

       23   because that TRO not only applied to Mr. Dondero, it prevented

       24   him from conspiring with or even encouraging a related entity

       25   from engaging in prohibited conduct.      And that prohibited




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        1   conduct, as Your Honor knows, because it's your order, is

        2   plain and as unambiguous as can possibly be:       Don't interfere

        3   with the Debtor's business.     It's all we're asking for.      It's

        4   the only reason we're here today.

        5        Interestingly, Your Honor, probably the best piece of

        6   evidence that I'll put in front of you today are going to be

        7   the words out of Mr. Post's mouth, because basically what he's

        8   going to tell you is that, as chief compliance officer, he has

        9   never once in the history of his employment told Mr. Dondero

       10   to stop.   In fact, what he's going to tell you is that he

       11   defers to the investment professionals, and that but for the

       12   TRO that is consensually in place today, it would depend on

       13   the facts and circumstances as to whether or not he actually

       14   does anything as chief compliance officer to stop this

       15   conduct.   Depends on the -- maybe he can explain to Your Honor

       16   what facts and circumstances he thinks, as chief compliance

       17   officer, would allow the Advisors to interfere with the

       18   Debtor's business.    It'll be interesting to hear him answer

       19   that question.

       20        That's all I have, Your Honor.     I look forward to

       21   presenting the evidence today.      I'd like this done once and

       22   for all.   It's time to move on.     And the Debtor -- the Debtor

       23   is in bankruptcy.    Your Honor, I think, has every power, every

       24   right, and frankly, you know -- I feel very strongly about

       25   this, obviously, Your Honor -- the Debtor needs the breathing




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        1   space and to be left alone so it can do its job.        And we'll

        2   respectfully request at the end of this that the Court enter

        3   an order allowing it to do so.

        4        Thank you, Your Honor.

        5               THE COURT:   All right.   We were hearing some

        6   distortion there, I'm not sure where it was coming from, but

        7   we'll try to keep it reined in.

        8        Mr. Rukavina, your opening statement.

        9               MR. RUKAVINA:   Your Honor, thank you.    Can the Court

       10   hear me?

       11               THE COURT:   Yes.

       12          OPENING STATEMENT ON BEHALF OF CERTAIN DEFENDANTS

       13               MR. RUKAVINA:   Your Honor, I think it's important

       14   first to note a few obvious things.       One, what we're talking

       15   about today is enjoining future rights, future rights under a

       16   contract.    Hearing Mr. Morris's opening, it sounds like we're

       17   trying a breach of contract case.       There is no declaratory

       18   relief sought for whether there is grounds for a breach of

       19   contract case.    And prior to assumption and prior to

       20   confirmation, the automatic stay applies.

       21        So let me be clear that what they're asking the Court to

       22   do today is to excise from these contracts our rights in the

       23   future, effectively for all time, as I'll explain.

       24        The second thing that merits real consideration is that it

       25   is the Funds, Your Honor, not the Advisors, it is the Funds




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       1   that have the right to remove the Debtor as manager.

       2        Those Funds, as you will hear, have independent boards.

       3   Mr. Dondero doesn't own those Funds.      He's not on those

       4   boards.   He doesn't control them.

       5        When Mr. Morris talks about Mr. Norris's prior testimony,

       6   that testimony was limited to the Advisors.       And yes, Mr.

       7   Dondero does own the Advisors, and Mr. Dondero, while I won't

       8   say controls the Advisors, certainly has a lot of input.         That

       9   is not the case for the Funds, which are the ones with the

      10   contractual powers here to remove the Debtor.

      11        You will hear that those -- that that board or those

      12   boards meet frequently, they have independent counsel, and

      13   they take separate actions, including very recently where they

      14   did not do something that was advised and acted independently.

      15        And the third thing that makes this case different and

      16   that all of us should bear in mind is that we're talking today

      17   about other people's money.     There's more than one billion

      18   dollars of investment funds, retirement funds, pension funds,

      19   firefighter funds, school funds, wealthy individuals, having

      20   nothing in the world to do with Mr. Dondero or anyone in this

      21   case.

      22        So what we're talking about here today, Your Honor, is

      23   that if my retirement manager files bankruptcy, that I for all

      24   time would be effectively enjoined from removing him, no

      25   matter what he may do in the future, just because he needs




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        1   that revenue.

        2        That is an absolutely inappropriate use of a preliminary

        3   injunction.   It is the modification of a contract that the

        4   Debtor seeks to assume, and there is going to be no evidence

        5   on the underlying elements that the Court must consider.

        6        I say that, Your Honor, because I'm new to -- I'm late to

        7   this case but I have studied in detail what Your Honor did in

        8   the Acis case.   And I think that we have to qualitatively

        9   differentiate today from Acis.      In Acis, there were

       10   allegations of fraudulent transfer.      When Your Honor enjoined

       11   future actions, I believe in part it was because the

       12   legitimate owner of those rights might not have been having

       13   those rights.

       14        So that was a very important difference.      Here, there's no

       15   question that we have more than billion dollars of other

       16   people's funds at issue.

       17        Also in Acis, as confirmed by the District Court, there

       18   was the exercise of an optional redemption right, which could

       19   have very well been used as a weapon to strip the manager of

       20   its rights.   That's not the case here today.     We are talking

       21   about removing the Debtor in the future -- not today, not

       22   prior to assumption, in the future -- for such things as if

       23   the Debtor commits fraud, if Mr. Seery is indicted for

       24   felonies, if the Debtor absconds with our funds.       We are

       25   talking about potential hypothetical actions in the future




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        1   that are not even ripe based on the Debtor's potential

        2   wrongful actions, not based anything on our motivations or our

        3   intentions.

        4        So this is a different case than Your Honor has heard so

        5   far in these cases.    And what it boils down to, Your Honor, is

        6   will the Court give judicial immunity to the post-assumption,

        7   post-confirmation Debtor over the next two or three years as

        8   it manages and liquidates more than a billion dollars of other

        9   people's funds?    It is their money at issue.

       10        So, in order to do this, the Debtor first has to tell Your

       11   Honor that it has a likelihood of merits on the success [sic]

       12   of some claim.    The Debtor cannot just come to you -- because

       13   the Debtor knows Your Honor's opinion on 105(a) and the

       14   Supreme Court law -- and the Debtor cannot just say, Judge,

       15   please give us an injunction because it's convenient or

       16   because we don't want to comply with our obligations.         So they

       17   concoct a tortious interference claim.      They argue that there

       18   is an automatic stay violation, which, as Your Honor knows,

       19   all of us bankruptcy lawyers take most seriously.       And they

       20   argue that, well, whatever Mr. Dondero has been enjoined from

       21   doing, somehow we a priori are also enjoined.       Basically, an

       22   alter ego with no facts, law, trial, or due process.

       23        On the tortious interference, Your Honor will hear

       24   absolute evidence that cannot be refuted that all that we did,

       25   all that we did was we refused, our employees refused to make




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        1   a ministerial entry into a computer program of two trades that

        2   Mr. Seery authorized.    Those trades closed exactly as Mr.

        3   Seery wanted.    Those trades closed, were executed, before Mr.

        4   Seery asked our employees to do his bidding.       And the reason

        5   why our employees were instructed not to do what Mr. Seery

        6   wanted was because our chief compliance officer looked at it,

        7   those employees looked at it, and they all said, What is this?

        8   Our internal protocols were not followed.       We don't know

        9   anything about these trades.     We have fiduciary duties, we

       10   have SEC obligations, and Mr. Seery has his own employees whom

       11   he can instruct to enter these two trades into the computer

       12   and our employees aren't going to do it.       It's as simple as

       13   that.

       14       Mr. Dondero did not command that decision.        Mr. Dondero

       15   did not instruct that decision.

       16       Our employees not doing what Mr. Seery requested of them

       17   is not tortious interference.       It is not interference as a

       18   matter of law.   There was no breach of contract as a result.

       19       So the two elements -- two of the elements required for

       20   tortious interference, there will be zero evidence on.        But in

       21   the bigger picture, what they're talking about again is

       22   restraining our rights in the future.       And whether -- whether

       23   we are party to these contracts or a third-party beneficiary,

       24   it doesn't matter, because we are not a stranger to these

       25   contracts.   These contracts expressly give us rights.        And a




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        1   party exercising their right under a contract, it could be

        2   breaching that contract, but it cannot be tortious

        3   interference as a matter of law.

        4        And if Your Honor is concerned about us tortiously

        5   interfering in the future, then the Court should enjoin us

        6   from tortious interference in the future, not excise from the

        7   contract the remedies that the Debtor must accept if it wants

        8   to assume these contracts.

        9        Moving to the automatic stay issue, the sole and exclusive

       10   argument for why we violated the stay is because our counsel,

       11   a seasoned, gentlemanly bankruptcy lawyer of many years'

       12   experience, sent two letters to seasoned veteran bankruptcy

       13   lawyers for the Debtor.    Communications.    Communications

       14   amongst counsel.

       15        The first, the December 22nd letter, is a request:         Okay,

       16   we lost in front of Judge Jernigan, Judge Jernigan called our

       17   motion frivolous, we get that, but we ask you to please stop

       18   trading until the plan is confirmed.      A request which the

       19   Debtor ignored.    Or that's not true, didn't ignore:     refused

       20   to comply with.

       21        The second letter, a day later, after various

       22   communications, was:    Okay, we are going to initiate the

       23   process of terminating you as the servicer.

       24        Mr. Dondero had nothing in the world to do with these

       25   letters.   Mr. Dondero did not direct these letters.      This was




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        1   professional advice from outside counsel and the independent

        2   boards of the Advisors believing that their fiduciary duty

        3   compelled that.

        4        And guess what, that letter even said:      subject to the

        5   automatic stay.    You heard from Mr. Morris that they basically

        6   said, File your stay motion.

        7        Our follow-up letter clarified anything that we might do

        8   is subject to the automatic stay.      We never said we're going

        9   to act in a way that the stay doesn't permit.       We said we're

       10   going to come to this Court first.

       11        But even all that, all those communications, while it may

       12   be interesting, are irrelevant, because we never took any

       13   action.   You will hear that we never communicated with the

       14   CLOs, the Trustees, or the Issuers, anything like we went over

       15   with the Debtor, anything like, Please start the process of

       16   removing the Debtor.    We have done nothing of the sort, we

       17   will do nothing of the sort, precisely because of the

       18   automatic stay.

       19        So I equate this, Your Honor, to your average home lender

       20   whose lawyer sends a letter to the borrower saying, You don't

       21   have insurance; we're going to start the process of

       22   foreclosure.    You're past due on your post-petition adequate

       23   protection payments; we're going to start the foreclosure

       24   process; we're going to go seek a list of stay.       That is not

       25   actionable.    It is not a stay violation.    Those are




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        1   communications, not actions.     And that is precisely what

        2   seasoned professional counsel should be doing.

        3        And now, Your Honor, we move to the Mr. Dondero issue.

        4   The argument is, well, on January the 9th, Mr. Dondero,

        5   apparently for all time, in perpetuity, agreed that he will

        6   not cause the related entities to terminate these agreements.

        7   And then the argument is, well, the Court entered a TRO

        8   against Mr. Dondero and the Court entered a preliminary

        9   injunction against Mr. Dondero.     Okay?

       10        I don't see where the problem is.      Mr. Dondero is

       11   prohibited from causing us to terminate these agreements.

       12   There are many ways, with independent boards, that Mr. Dondero

       13   has nothing to do with that.     And he will have nothing to do

       14   with that in the future.     So if the concern is enjoining us

       15   because of an injunction against Mr. Dondero, enjoin Mr.

       16   Dondero.   Just like if the concern is that we're going to

       17   tortiously interfere, you enjoin us from tortious

       18   interference.   Or if we're going to violate the stay, enjoin

       19   us from violating the stay.     But do not for all time assume

       20   that any right that we may exercise in the future will

       21   necessarily be tainted and the corrupt product of Mr.

       22   Dondero's instructions.    You will see today on the evidence

       23   that that has not happened and it will not happen.

       24        And whatever Mr. Dondero may have agreed to, we are

       25   separate entities.    Again, the Funds have -- are not




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        1   controlled or owned, and Mr. Dondero is not on the board.         So

        2   whatever he may have agreed to is between the Court and the

        3   Debtor and him, but he never agreed to that on behalf of the

        4   Funds.     He never agreed to that on behalf of the Advisors, who

        5   have their own independent fiduciary duties and duties under

        6   the law.

        7        So, Your Honor, there will be no substantial likelihood of

        8   success on the merits.    There will be no likelihood of success

        9   on the merits.    And I'm talking about the post-assumption,

       10   post-confirmation time frame.       The issue is fundamentally

       11   different pre-assumption and pre-confirmation.       But post-

       12   assumption and post-confirmation, the Debtor will not show a

       13   likelihood of success on the merits.      The Debtor will not show

       14   any irreparable injury.    None.

       15        Mr. Seery will testify that managing these agreements for

       16   the coming couple or three years will have some value to the

       17   Debtor.    He doesn't know what the profitability of that is to

       18   the Debtor.    You will hear that, in fact, managing these

       19   contracts for the next two years does not bring any

       20   profitability to the Debtor.       The Debtor will lose money

       21   managing of them.    But whatever damages there are are monetary

       22   damages, and monetary damages are not an irreparable injury as

       23   a matter of law.

       24        Now, the Debtor says, well, the Court can enter an

       25   injunction in the aid of restructuring, but this injunction




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        1   will happen after restructuring.

        2        On the balance of harm and public interest, Your Honor, I

        3   think we're dealing with more than a billion dollars of clean,

        4   innocent third-party funds.     The balance of harm here weighs

        5   against granting this injunction.      If we try to do anything in

        6   the post-confirmation world, the Debtor has all of its rights

        7   and remedies to contest what we do.      If we do it wrong, we're

        8   liable in contract or in tort, there's monetary damages, and

        9   the Debtor has already successfully organized.

       10        But if the Debtor does something wrong in the future and

       11   we cannot take action to stop a gross mismanagement or a

       12   denution [sic] of the Debtor or an abscondence with funds,

       13   then think about the harm to the innocent investors here.

       14   Because if we even go to court, your Court, any court, we will

       15   be in violation of a federal court injunction.

       16        Your Honor, this is not the appropriate purpose of an

       17   injunction for the preservation of the status quo.       The status

       18   quo, by definition, cannot extend post-assumption or post-

       19   confirmation.   This is not a proper exercise of equity.        We

       20   have done nothing wrong, we have threatened to do nothing

       21   wrong, and we will do nothing wrong to justify forever being

       22   prejudiced and enjoined from exercising our contractual and

       23   statutory rights.

       24        Your Honor, this TRO extends through February the 15th.

       25   We asked the Debtor to continue this hearing.       We asked the




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        1   Debtor to go to our independent boards and seek approval of

        2   the same settlement that the Debtor has with CLO Holdco, which

        3   we learned about last night.        We simply haven't had the time

        4   to get those boards aligned up and present a settlement to

        5   them.    We're trying to put together a competing plan.

        6       Your Honor, there is no reason to go forward today except,

        7   like Mr. Morris said, power.        Power.   Mr. Seery's power, Your

        8   Honor.    Not ours.   Mr. Seery's power in perpetuity or for

        9   judicial immunity, get out of jail free card.         Thank you.

       10              THE COURT:    All right.    Mr. Morris, you may call your

       11   witness.

       12              MR. MORRIS:    Yeah.    I just want to make a motion to

       13   strike the notion of a get out of jail free card.         I

       14   appreciated everything counsel had to say, but I think that's

       15   a little -- a little over the top.

       16       We call Mr. James Dondero, please.

       17              THE COURT:    Mr. Dondero, --

       18              MR. RUKAVINA:    Your Honor, bear with me.

       19              THE COURT:    Okay.

       20              MR. RUKAVINA:    Your Honor, bear with me.     I'm going

       21   to get out of this chair.        Mr. Dondero will get in this chair.

       22   And so that there's no reverberation, I will be sitting next

       23   to Mr. Dondero in case I have to make any objections.

       24              THE COURT:    Okay.    All right.   Good morning, Mr.

       25   Dondero.




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        1                  MR. DONDERO:    Good morning.

        2                  THE COURT:    Please raise your right hand.

        3                    JAMES DONDERO, DEBTOR'S WITNESS, SWORN

        4                  THE COURT:    Thank you.    Mr. Morris, go ahead.

        5                  MR. MORRIS:    May I proceed, Your Honor?

        6                  THE COURT:    Yes.

        7                                 DIRECT EXAMINATION

        8   BY MR. MORRIS:

        9   Q      Good morning, Mr. Dondero.         Okay.   John Morris; Pachulski,

       10   Stang, Ziehl & Jones; for the Debtor.             Can you hear me okay,

       11   sir?

       12   A      Yes.

       13   Q      There are no board members here on behalf of any of the

       14   Funds to testify or offer any evidence; isn't that right?

       15   A      Not that I'm aware of.

       16   Q      Okay.    And you knew the hearing was going to be today on

       17   the preliminary injunction, right?

       18   A      Yes.

       19   Q      And you had an opportunity to confer with the boards of

       20   the Funds in advance of this hearing, right?

       21   A      No.

       22   Q      There's no -- there's no -- no board member is expected to

       23   testify, fair?

       24   A      Correct.

       25   Q      So the Court isn't going to hear any evidence as to the




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        1   board's perception of what's happening here, right?

        2   A    Not that I'm aware of.

        3   Q    Okay.    Until January 9th, 2020, you controlled the debtor

        4   Highland Capital Management, LP; isn't that right?

        5   A    I don't remember exactly when these -- when the

        6   independent board was put in place, but up until around that

        7   time, I believe.

        8   Q    Okay.    So, January 2020?

        9   A    Yes.

       10   Q    And during that month, you completed an agreement with the

       11   Creditors' Committee where you ceded control of the Debtor

       12   pursuant to a court order, right?

       13   A    Pursuant to a court ...?       I thought it was pursuant to a

       14   negotiation where they would have fiduciary responsibility to

       15   the estate in my absence.       That's -- that's what I think the

       16   (garbled).

       17   Q    Okay.    You're aware -- so you entered into an agreement

       18   with the Creditors' Committee pursuant to which you ceded

       19   control of the Debtor, right?

       20                MR. RUKAVINA:   Your Honor, I'll object.     That

       21   agreement speaks for itself.        And if Mr. Morris wants to

       22   present it to Mr. Dondero, he can.

       23                THE COURT:    Um, --

       24                MR. MORRIS:    Sure.   Ms. Canty, can we please put up

       25   --




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        1                 THE COURT:    All right.   Well, I --

        2                 MR. MORRIS:    I'm happy to put it up, Your Honor.

        3                 THE COURT:    I overrule that objection.    You can ask.

        4   And then if he's not sure, you can present the agreement.             All

        5   right?      Go ahead.

        6                 MR. MORRIS:    Okay.

        7   BY MR. MORRIS:

        8   Q     Mr. Dondero, is there any doubt in your mind that in

        9   January of 2020 you gave up control of Highland in favor of an

       10   independent board at the Strand Advisors level?

       11   A     No.    I -- yes, I agree with that.

       12   Q     Okay.    And do you recall that, in connection with that

       13   agreement, the Court entered an order?

       14   A     Several orders.       Which one?

       15   Q     Okay.

       16                 MR. MORRIS:    Can we please put up Docket No. 339?

       17                 MS. CANTY:    Sure, just one second.

       18                 MR. RUKAVINA:    And you have it here.

       19         John, I have the order if just want Mr. Dondero to review

       20   it.

       21                 MR. MORRIS:    I think -- I think everybody should have

       22   the benefit of seeing it.        But thank you very much.

       23         Your Honor, while we take this moment, can you just remind

       24   me of when the Court needs to take a break today, so that I'm

       25   mindful of that and respectful of your time?




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       1               THE COURT:    11:30.

       2               MR. MORRIS:    Okay.   And what time will we reconvene?

       3               THE COURT:    Well, I have said 1:00.   I hope it can be

       4   a little sooner, but let's just plan on 1:00, okay, so there's

       5   no confusion.

       6               MR. MORRIS:    Okay.   All right.   All right.   So, on

       7   the screen here, we have Exhibit OOOO, which is in the record.

       8   BY MR. MORRIS:

       9   Q    This is an order that was entered by the Court on January

      10   9th, 2020.    Do you see that, sir?

      11   A    Yes.

      12               MR. MORRIS:    Can we scroll down to Paragraph 9,

      13   please?     (Pause.)   Are you having problems, Ms. Canty?

      14               MS. CANTY:    It's on the screen.    You can't see it?

      15               MR. MORRIS:    Yeah.   Can you scroll down to Paragraph

      16   9?

      17               MS. CANTY:    It's on Paragraph --

      18               MR. MORRIS:    That's on Page 2, I believe.

      19               MS. CANTY:    Yeah, I have it up.    I'm not sure what

      20   the disconnect is, because I can see it on my screen.          I'm

      21   going to stop it and reshare it.

      22               MR. MORRIS:    Thank you very much.

      23        (Pause.)

      24               MS. CANTY:    Do you see it now?

      25               MR. MORRIS:    Okay.   Beautiful.




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        1   BY MR. MORRIS:

        2   Q    Mr. Dondero, if you'd just read Paragraph 9 out loud.

        3   A    (reading)    Mr. Dondero shall not cause any related entity

        4   to terminate any agreements with the Debtor.

        5   Q    Okay.    So you understood, as part of the corporate

        6   governance settlement pursuant to which you avoided the

        7   imposition of a trustee, that you agreed that you wouldn't

        8   cause any related entity to terminate any agreements with the

        9   Debtor, right?

       10   A    Uh, --

       11   Q    Is that correct?      You understood that paragraph?

       12   A    Yes.

       13   Q    Okay.    And you didn't appeal this particular order, did

       14   you, sir?

       15   A    I -- I believe I've refuted -- I've adhered to that order

       16   entirely.

       17   Q    Okay.    NexPoint Advisors LP, is one of the defendants in

       18   this matter, right?

       19   A    Yes.

       20        (Pause.)

       21   Q    Can you hear me, sir?

       22   A    Yes.    Yes, I said, "Yes."

       23                MR. NICHOLSON:   Well, John, did you -- did you ask a

       24   question?     Because you went offline for a few seconds there.

       25                MR. MORRIS:   I asked whether NexPoint Advisors, LP




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        1   was an advisory firm.

        2                THE WITNESS:    Yes.

        3   BY MR. MORRIS:

        4   Q    And you have a direct or indirect ownership interest in

        5   NexPoint Advisors, LP, correct?

        6   A    Yes.

        7   Q    And you understand that, based on that direct or indirect

        8   ownership interest, NexPoint Advisors, LP is a related entity

        9   under Paragraph 9 of this order, right?

       10   A    Yes.

       11   Q    Okay.    Highland Capital Management Fund Advisors, LP is

       12   one of the other defendants in this case, right?

       13   A    Yes.

       14   Q    And we'll refer to that entity as Fund Advisors; is that

       15   fair?

       16   A    Yes.

       17   Q    And we'll refer to Fund Advisors together with NexPoint

       18   Advisors, LP as the Advisors; is that fair?

       19   A    Yes.

       20   Q    Okay.    Fund Advisors is also an advisory firm; is that

       21   (audio gap)?

       22   A    I missed that last question.

       23                MR. RUKAVINA:    John, you're freezing up on us.     Is it

       24   on our end, Your Honor, or is it on Mr. Morris's end?

       25                MR. MORRIS:    Just let me know -- just let me know




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        1   when it happens.

        2               THE COURT:    Yes.    I'm hearing him.   But go ahead, Mr.

        3   Morris.     Let's try again.

        4               MR. MORRIS:    Okay.

        5   BY MR. MORRIS:

        6   Q    You have a direct or indirect ownership interest in Fund

        7   Advisors, correct, sir?

        8   A    Yes.

        9   Q    (audio garbled)      And based on that direct or indirect

       10   interest, you would agree that Fund Advisors is a related

       11   entity for purposes of this order, correct?

       12   A    Yes.

       13   Q    In addition to your ownership interest, you're also the

       14   president of Fund Advisors; is that (audio gap)?

       15               THE COURT:    All right.    Now --

       16               THE WITNESS:    I believe so.

       17               THE COURT:    Yes.    Now I'm starting to have some

       18   trouble, Mr. Morris.       Every once in a while, you're freezing

       19   towards the end of a sentence.         So I don't know what can be

       20   done, but it's --

       21               MR. MORRIS:    All right.    Let me know if that

       22   continues.

       23               THE COURT:    Okay.

       24   BY MR. MORRIS:

       25   Q    To use your words -- to use your words, Mr. Dondero, it's




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        1   fair to say that you generally control Fund Advisors, right?

        2   A    Yes.

        3   Q    And based on that, you acknowledge that Fund Advisors is a

        4   related entity under the Court's order, correct?

        5   A    Yes.

        6   Q    And together, the Advisors that you own and control manage

        7   certain investment funds, correct?

        8   A    Yes.

        9   Q    And three of those funds are defendants in this case,

       10   correct?

       11   A    Yes.

       12   Q    And you are the portfolio manager of each of those funds;

       13   is that right?

       14   A    I believe so.

       15   Q    Okay.    Let's talk about the events that led to this

       16   matter.     CLO stands for Collateralized Loan Obligations,

       17   correct?

       18   A    I'm sorry.     Repeat that, please?

       19   Q    Sure.    CLO stands for Collateralized Loan Obligations,

       20   correct?

       21   A    Yes.

       22   Q    Years ago, the Advisors that you own and control caused

       23   the investment funds that they manage to buy the interests in

       24   CLOs that are managed by the Debtor, correct?

       25   A    Yes.    Yes.




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        1   Q    Okay.    And those Funds still hold an equity interest

        2   today, correct?

        3   A    Yes.

        4   Q    And K&L Gates is one of the law firms that represents the

        5   Advisors and the Funds that are managed by the Advisors,

        6   correct?

        7   A    Yes.

        8   Q    You would agree that the Debtor is party to certain

        9   contracts that give it the right and the responsibility to

       10   manage certain CLO assets, right?

       11   A    Yes.

       12   Q    And you recall that --

       13                MR. RUKAVINA:   Your Honor, Mr. Morris is frozen on

       14   our end.

       15                THE COURT:    Yes.   Mr. Morris, you just froze.

       16                MR. RUKAVINA:   We heard nothing, Mr. Morris.

       17                THE COURT:    Yes.

       18                MR. MORRIS:    Okay.

       19   BY MR. MORRIS:

       20   Q    Sir, do you recall that you resigned from the Debtor on or

       21   around October 10th, 2020?

       22   A    Yes.

       23   Q    Okay.    And shortly thereafter, K&L Gates sent a couple of

       24   letters to the Debtor on behalf of the Advisors and the Funds,

       25   correct?




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       1   A    Yes.

       2   Q    Okay.

       3                MR. MORRIS:   Can we take a look at these?   These are

       4   documents that were admitted into evidence in a different

       5   matter, but they're actually referred to in his prior

       6   testimony, which is in evidence in this case.        So I would just

       7   ask Ms. Canty to go to Trial Exhibit B, which was filed in the

       8   Adversary Proceeding 20-3190 at Docket 46.       And for the

       9   record, it's PDF Page #184 out of 270.        I just want to take a

      10   look at these two letters.

      11   BY MR. MORRIS:

      12   Q    Okay.    Do you see this letter, sir?

      13   A    Yes.

      14   Q    And NexPoint is one of the defendants here; is that right?

      15   A    Yes.

      16   Q    And that's one of the Advisors that you own and generally

      17   control, correct?

      18   A    Yes.

      19   Q    And so this letter is sent less than a week after you've

      20   left Highland Capital Management, right?

      21   A    Yes.

      22   Q    Do you recall this particular letter?

      23   A    No.

      24   Q    Can -- you're familiar with the substance of this letter

      25   and the other one that was sent in November, correct?




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        1   A    Could you pull it a little higher and let me read it?

        2   Q    Yes.   Sure.

        3               MR. RUKAVINA:    If this is an exhibit, I can show it

        4   to him as an exhibit, Mr. Morris.

        5               MR. MORRIS:    I don't know that this is one of the

        6   marked exhibits.     It's one of the exhibits that's used within

        7   his prior testimony.       So, but I want to give Mr. Dondero a

        8   chance to review it.       And please let us know if you need to

        9   scroll further down.

       10        (Pause.)

       11               MR. RUKAVINA:    You're going to have to scroll down.

       12               THE WITNESS:    Scroll down a little further, please.

       13        (Pause.)

       14               MR. RUKAVINA:    Mr. Morris, can you please scroll

       15   down?   Neither Mr. Dondero nor I can read the balance.

       16   BY MR. MORRIS:

       17   Q    There you go.    (Pause.)    So, you see at the top of the

       18   page there there is a reference to the sale of assets and a,

       19   quote, "a rush to sell these assets at fire sale prices."          Is

       20   that what you think -- did you think that Mr. Seery was

       21   selling (audio garbled) CLO assets at fire sale prices in

       22   October 2020, --

       23               MR. RUKAVINA:    Your Honor, --

       24               MR. MORRIS:     -- less than a week after --

       25               MR. RUKAVINA:    Your Honor, I'll object.    We did not




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        1   hear Mr. Morris's question.

        2                THE COURT:    All right.   Could you repeat the

        3   question?

        4                MR. MORRIS:    Okay.   Yes, Your Honor.

        5   BY MR. MORRIS:

        6   Q    Mr. Dondero, on or about October 16th, did you personally

        7   believe that Mr. Seery was in a rush to sell CLO assets at

        8   fire sale prices?

        9   A    I believe he had no business purpose to sell any of the

       10   assets, which I believe he stated that to Joe Sowin, our

       11   trader.   I -- I -- there was no business purpose stated or

       12   ever given or obvious from the sales.         And --

       13   Q    Okay.

       14   A    -- I (indecipherable) draft this letter.

       15   Q    Okay.

       16                MR. MORRIS:    I move to strike, Your Honor.     It's a

       17   very simple question --

       18                THE COURT:    Sustained.

       19                MR. MORRIS:    -- and it has to do solely with Mr.

       20   Dondero's state of mind.

       21   BY MR. MORRIS:

       22   Q    Mr. Dondero, on or about October 16th, did you personally

       23   believe that Mr. Seery was in a rush to sell CLO assets at

       24   fire sale prices?

       25   A    He was in a rush to sell them for some reason with no




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        1   business purpose.     I don't know the reason.

        2                THE COURT:    All right.   Can you --

        3   BY MR. MORRIS:

        4   Q    Okay.    And you never asked him, right?

        5                THE COURT:    Yes.   Yes or no answer, Mr. Dondero.

        6                THE WITNESS:    Never asked him.

        7                MR. MORRIS:    Okay.   Can we turn to the next exhibit,

        8   which is Exhibit C on that same docket?

        9        (Pause.)

       10   BY MR. MORRIS:

       11   Q    While we're waiting, can you just read the last sentence

       12   of the paragraph that ends at the top of the page, Mr.

       13   Dondero, beginning, "Accordingly"?

       14   A    (reading)    Accordingly, we hereby request that no CLO

       15   assets be sold without prior notice and prior consent from the

       16   Advisors.

       17   Q    Are you aware of any contractual provision pursuant to

       18   which the Funds or the Advisors can -- can expect that the

       19   Debtor will refrain from any -- selling any assets without

       20   giving prior notice and obtaining prior consent from those

       21   entities?

       22   A    I think the documents have an overall good-faith/fair-

       23   dealing clause which would cover something like this, I

       24   believe.

       25   Q    Your -- is it your testimony, sir, that the duty of good




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        1   faith and fair dealing requires the Debtor to give notice to

        2   the Advisors and to obtain the Advisors' prior consent before

        3   they can sell any CLO assets?

        4   A     Well, I think -- yes, I do.        I think --

        5   Q     All right.

        6   A     Yes.    Yeah.

        7   Q     Okay.    And then the next month, another letter was sent by

        8   NexPoint to Mr. Seery.        Do you recall that?

        9   A     Not specifically.      If you bring it up, we can talk about

       10   it.

       11                 MR. MORRIS:    Can we scroll down a little bit?

       12         (Pause.)

       13                 MS. CANTY:    John, are you talking to me?    I was

       14   frozen out.      I just got back on.      I apologize.

       15                 MR. MORRIS:    That's okay.   Can we just scroll down so

       16   Mr. Dondero can see more of this particular letter?

       17                 MS. CANTY:    Okay.

       18                 MR. MORRIS:    Okay.

       19   BY MR. MORRIS:

       20   Q     Can you just read out loud, Mr. Dondero, out loud the last

       21   two sentences, please, beginning with, "We understand"?

       22   A     (reading)    We understand that Charitable DAF Holdco, Ltd.

       23   has made a similar request.          Accordingly, we hereby re-urge

       24   our request that no CLO assets be sold without prior notice to

       25   and prior consent from the Advisors.




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        1   Q     What's the Charitable DAF Holdco, Ltd.?

        2   A     I think that's who you settled with yesterday.

        3   Q     Do you have an interest in that entity?

        4   A     No.   It's a bona fide charity.     It was one of the largest

        5   in Dallas before it got cut in half by Acis.

        6   Q     Does -- are you familiar with the Get Good and the Dugaboy

        7   Investment Trusts?

        8               MR. RUKAVINA:    Your Honor, at this time I would

        9   object to relevance.      I don't see what this has to do with

       10   tortious interference and stay violation on December 22nd and

       11   December 23rd, 2020.

       12               THE COURT:    Response?

       13               MR. MORRIS:    Your Honor, I'm trying to establish that

       14   Charitable DAF Holdco, Ltd. is another entity in which Mr.

       15   Dondero holds a beneficial interest.

       16               THE COURT:    Okay.    Overrule the objection.

       17               MR. RUKAVINA:    John, you're not only frozen, now

       18   you're off.

       19               MR. MORRIS:    Yeah, I can see myself.    You can't hear

       20   me?

       21               MR. RUKAVINA:    We can now, but Your Honor, we lost

       22   Mr. Morris for a bit there.

       23               THE COURT:    All right.   I think we were --

       24               MR. MORRIS:    Okay.

       25               THE COURT:    -- waiting on an answer from Mr. Dondero,




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        1   actually.

        2                THE WITNESS:    We didn't hear the question at --

        3   BY MR. MORRIS:

        4   Q    Sure.    Are you familiar with the Get Good and Dugaboy

        5   Investment Trusts?

        6   A    Yes.

        7   Q    Are you the beneficiary of those trusts?

        8                MR. RUKAVINA:    Your Honor, again, objection to

        9   relevance.     These are non-parties, and what his personal

       10   interests are has no relevance to this.

       11                THE COURT:   Overruled.

       12                THE WITNESS:    The Get Good Trust, Get -- I believe

       13   those are defective grantor trusts.        I don't believe I have

       14   any interest whatsoever in those.        Dugaboy is a perpetual

       15   Delaware trust.     I don't know how that's set up, but I believe

       16   I do have an interest there until I pass.

       17   BY MR. MORRIS:

       18   Q    In fact, you're -- you're the sole beneficiary of the

       19   Dugaboy Investment Trust, right?

       20   A    Until I pass.    It's a -- it's a estate planning trust.

       21   Q    I appreciate that.       And the Dugaboy and the Get Good

       22   Trusts are the owners of the Charitable DAF Holdco Ltd.,

       23   correct?

       24   A    No.    Not as far as I know.

       25   Q    Okay.




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        1   A    (garbled) time at all.

        2   Q    All right.    So we just looked at these two letters, sir.

        3   And you were familiar with the substance of the letters before

        4   they were sent, right?

        5   A    Uh, just --

        6                MR. MORRIS:    You can take it down, Ms. Canty.

        7                THE WITNESS:    Just generally.   Again, I wasn't

        8   involved directly with the letters.

        9   BY MR. MORRIS:

       10   Q    You were aware of the letters before they were sent,

       11   right?

       12   A    Yes.

       13   Q    And you discussed the substance of the letters with

       14   NexPoint, correct?

       15   A    Not the substance of the letters, just the substance of

       16   the issue.

       17   Q    You actually discussed the substance of the letters with

       18   NexPoint, correct?

       19   A    I -- Again, I remember it being the substance of the

       20   issue.   Generally, at most, the substance of the letters.

       21   Q    And you discussed the substance of the letters with the

       22   Advisors' internal counsel, too, right?

       23   A    The sub -- generally, the substance, yes, but more the

       24   issue than the letter.

       25   Q    Okay.    If I pull up your transcript from the TRO hearing,




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        1   would that refresh your recollection that you discussed the

        2   substance of these letters with NexPoint and with the

        3   Advisors' internal counsel?

        4   A    I'd like to clarify with the testimony I just gave.

        5   Q    Okay.    Would you -- do you have any reason to believe that

        6   you did not previously testify that you discussed the

        7   substance of the letters with NexPoint and with NexPoint

        8   Advisors' internal counsel?

        9   A    I repeat the same testimony.          Generally.   Like, those

       10   letters that you put on the screen, I have no recollection of

       11   those specifically.

       12                MR. MORRIS:    Ms. Canty, can we please call up on the

       13   screen Exhibit NNNN, which was the transcript from the January

       14   8th, 2021 preliminary injunction hearing?

       15                MR. RUKAVINA:    Mr. Morris, just one sec.       I'm trying

       16   to find it on paper.

       17                MR. MORRIS:    Yeah.   It's four Ns.

       18                MR. RUKAVINA:    One, two, three, four.      (inaudible)

       19   put that on the screen.

       20                MS. CANTY:    John, I'm not sure what's going on, but

       21   it won't come up on the screen.           I've tried three times.     I'm

       22   going to keep trying.

       23                MR. MORRIS:     All right.    I have it in front of me.

       24   Do you have it, too?

       25                MR. RUKAVINA:    Yes, the witness has it --




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        1             MR. MORRIS:     Okay.

        2             MR. RUKAVINA:      -- in front of him.      This is NNNN,

        3   just to confirm?

        4             MR. MORRIS:    Yes.     And it is the January 8th

        5   transcript.

        6   BY MR. MORRIS:

        7   Q    Mr. Dondero, were you asked these questions and did you

        8   give these answers?     Question:    Are you familiar with --

        9             MR. RUKAVINA:      Where are you, John?     Where are you?

       10   Where are you?    We -- we -- we --

       11             MR. MORRIS:    I apologize.     Page 40.    I'm going to

       12   read Page 40, Lines 1 through 14.

       13             MR. RUKAVINA:      Okay.   He has it in front of him, if

       14   you just want him to read it.

       15   BY MR. MORRIS:

       16   Q    Did you give these answers at Page 40, beginning Line 1:

       17        "Q   And were you -- and you were familiar, you were

       18        aware of these letters before they were sent; is that

       19        correct?

       20        "A   Yes.

       21        "Q   And you generally discussed the substance of these

       22        letters with NexPoint; is that right?

       23        "A   Generally, yes.

       24        "Q   You    discussed    the    letters   with   the   internal

       25        counsel; is that right?




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        1        "A     Yes.

        2        "Q     That's D.C. Sauter?

        3        "A     Yes.

        4        "Q     And you have been on some calls with K&L Gates

        5        about these letters, right?

        6        "A     I believe so.

        7        "Q     And    you   knew   these   letters   were   being   sent,

        8        correct?

        9        "A     Yeah.   They're -- they're reported.

       10   Q    Did you give those answers to those questions at the prior

       11   hearing?

       12   A    I -- I believe it's what I -- it's almost exactly what I

       13   just said, but yes.

       14   Q    And you supported the sending of the letters; isn't that

       15   right?

       16   A    Absolutely.

       17   Q    And you encouraged the sending of the letters, right?

       18   A    Absolutely.

       19   Q    Around Thanksgiving, you learned that Mr. Seery had given

       20   a direction to sell certain securities owned by CLOs managed

       21   by the Debtor, correct?

       22   A    Yes.

       23   Q    And when you learned that, you personally intervened to

       24   stop the trades, correct?

       25   A    Yes.




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        1   Q    Let's -- I want to look at that email string that we

        2   looked at once before.     It can be found at Trial Exhibit D

        3   found on Docket No. 46 in the adversary proceeding. It's PDF

        4   Number -- it's PDF Page 189 of two (garbled).

        5             MR. RUKAVINA:    Did you catch that?

        6             THE COURT:    Which -- which exhibit number -- letter

        7   is it?

        8             MR. MORRIS:     It's on the docket in the Adversary

        9   Proceeding 20-3190.     And in that adversary proceeding, at

       10   Docket No. 46, you've got the Debtor's exhibit list.          And

       11   Exhibit D, which can be found at PDF Page 189 of 270, is the

       12   email string I'm looking for.

       13        I apologize, Your Honor.     It wasn't until I was reading

       14   the transcript yesterday that I realized I needed these

       15   documents.   But they are in the record.     Obviously, they're

       16   referred to in the transcript that is in the record.

       17             THE COURT:    Okay.

       18             MR. RUKAVINA:    Your Honor, I would like to interject

       19   for the record here that this is the first time my clients

       20   have been sued.    They have a right to be confronted with the

       21   witnesses and testimony and evidence against them.       So if Mr.

       22   Morris wants to introduce this as an exhibit here today,

       23   that's one thing, but I object to any notion that there's a

       24   prior record that is going to tie my clients' hands.          It might

       25   tie Mr. Dondero's hands, but not my clients' hands.




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        1             MR. MORRIS:    I'd move for the introduction into

        2   evidence of this document that has emails not only from Mr.

        3   Dondero, but from Joe Sowin, the head trader of the

        4   Defendants.

        5             MR. RUKAVINA:    And Your Honor, I have no problem with

        6   that admission.   I just want to make it clear that we're not

        7   conceding that whatever happened in this case previous to this

        8   is a part of today's record.      That's all.    So I do not have a

        9   problem with the admission of this.        I would, however, ask

       10   you, Mr. Morris, to have someone email it to us so that I can

       11   use it today if I need to.

       12             THE COURT:    All right.

       13             MR. MORRIS:    Okay.    Will do.

       14             THE COURT:    So, I'll --

       15             MR. MORRIS:     We'll do that at the --

       16             THE COURT:    I'll admit it into evidence.      You'll need

       17   to not only email it Mr. Rukavina, but you'll need to file a

       18   supplement to your exhibit and witness list after the hearing

       19   showing the admission of --

       20             MR. RUKAVINA:    And Mr. Morris, if you could email it

       21   to Mr. -- if you could email it to Mr. Vasek as well, because

       22   obviously I can't get to it now.       Thank you.

       23             MR. MORRIS:     Sure.

       24             THE COURT:    All right.    So this --

       25             MR. MORRIS:    Okay.    So, --




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       1                 THE COURT:    For the record, let's just be clear what

       2   the record is -- this is going to be called on the record.                  I

       3   think you are up to SSSSS, so this would be TTTTT when you

       4   file it on the record.         All right?    Go ahead.

       5                 MR. MORRIS:    Thank you very much, Your Honor.

       6          (Debtor's Exhibit TTTTT is received into evidence.)

       7   BY MR. MORRIS:

       8   Q      Mr. Dondero, you recall looking at this email string at

       9   the last hearing, right?

      10   A      Yes.

      11   Q      Let's start at the bottom, please, with Mr. Covitz's

      12   email.

      13          (Pause.)

      14                 MR. RUKAVINA:    Hey, John, real quick, now we've lost

      15   you.    We've lost you and we're not seeing anything from your

      16   assistant.      Do you have the email, Mr. Vasek?

      17                 MR. MORRIS:    I'm here.    Can you hear me?

      18                 MS. CANTY:    I'm here.    (garbled) on the screen.

      19                 MR. MORRIS:     Yeah.    Can we scroll down to the bottom?

      20                 MS. CANTY: I did.       I don't know why it's not showing

      21   on you guys' screen.

      22                 MR. MORRIS:    Hopefully this gets fixed.      Yeah.    We've

      23   never had this problem before, Your Honor.           I'm not sure what

      24   the issue is, but I do apologize.

      25                 THE COURT:    All right.    Well, I can hear you, but we




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        1   don't see movement of the exhibit.

        2               MR. MORRIS:    Yeah.   When I began earlier today by

        3   suggesting that this was going to be challenging, this was not

        4   one of the challenges I anticipated.

        5               THE COURT:    Okay.    All right.

        6               MR. RUKAVINA:    Do you have the email yet?

        7               MS. CANTY: I'm sorry.      I don't know what's happening

        8   on this end.    I have three streams of Internet going, and I

        9   don't think it's the Internet.         I don't know what's going on.

       10               MR. MORRIS:    Hmm.

       11               MR. RUKAVINA:    Yeah, John, what I'm suggesting is

       12   that you have an associate email it to Mr. Vasek immediately

       13   and then we can present it to Mr. Dondero.

       14               MR. MORRIS:    I'll tell you what.     While that -- one

       15   more try.

       16               MR. CANTY:    Can you see it now?

       17               MR. MORRIS:    Okay.   Yes.

       18   BY MR. MORRIS:

       19   Q    All right.    Mr. Dondero, Hunter Covitz is an employee of

       20   the Debtor, right?

       21               MR. RUKAVINA:    Hold on a sec.     Hold on a sec.

       22        Your Honor, I believe that I have the right to see the

       23   full email here.    I believe that Mr. Dondero does.       And we've

       24   just seen the first little bit and now some middle piece.

       25               THE COURT:    All right.    So are you saying --




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        1               MR. MORRIS:     And in the order that --

        2               THE COURT:    -- you want to see the whole string?

        3               MR. RUKAVINA:    Well, I think -- Mr. Dondero, do you

        4   need to see the whole string?       I don't know what this is, but

        5   maybe you do.

        6               MR. DONDERO:    It depends on what the question is.        I

        7   can answer some questions off of this email.

        8               THE COURT:    Okay, let's go.

        9               MR. MORRIS:    Yeah.

       10   BY MR. MORRIS:

       11   Q    All right.   So, for the moment, Mr. Covitz is an employee

       12   of the Debtor, correct?

       13   A    Yes.

       14   Q    And he's the author of this email in front of us, correct?

       15   A    Yes.

       16   Q    And Mr. Covitz helps to manage the CLO assets on behalf of

       17   the Debtor, correct?

       18   A    Yes.

       19   Q    Mr. Covitz is giving directions to Matt Pearson and Joe

       20   Sowin to sell certain securities held by the CLOs, correct?

       21   A    Yes.

       22   Q    And if we can scroll up, I think we can see that you

       23   received a copy of this email?

       24        (Pause, 11:15 a.m.)

       25               MR. MORRIS:    What I would like to do instead, we'll




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        1   take a break in about 15 or 20 (audio gap).         When we

        2   disconnect, we'll get a better connection after the break.

        3   And in the interim, I've got testimony that I would like

        4   that's already been admitted into the record but there's

        5   portions of which I would like to read into the record from

        6   Dustin Norris, who is the executive vice president for each of

        7   the Defendants.    And maybe it would be easiest for me to do

        8   that.

        9              THE COURT:    Okay.

       10              MR. MORRIS:    All right.     On Docket No. 39.

       11              MR. RUKAVINA:    Your Honor, I apologize.      Your Honor,

       12   I apologize.    We did not hear --

       13              MR. MORRIS:     I'm going to read into the record a

       14   portion of Mr. Norris' testimony from the December 16th

       15   hearing.

       16              MR. RUKAVINA:    Your Honor, I do not see that

       17   transcript in the exhibits.      If Mr. Morris could give me an

       18   exhibit.

       19              MR. MORRIS:    Exhibit B as in boy.

       20              MR. RUKAVINA:    Thank you.

       21              MR. MORRIS:    All right.    Instead of putting it on the

       22   screen, if we could take the exhibit down, Ms. Canty.         He can

       23   just follow along.      Beginning at Page 38, Line 7 through       -- 7

       24   through 17.

       25        Are you there, Mr. Rukavina?




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        1              MR. RUKAVINA:      I am.     Thank you.   I have it in front

        2   of Mr. Dondero.

        3              MR. MORRIS:       Okay.    Page 38, Lines 7 through 17:

        4        "Q    I   think   you    testified    that   you're   one   of    the

        5        executive vice presidents at NexPoint Advisors, one of

        6        the Movants.      Is that right?

        7        "A    That's right.

        8        "Q    Who is the president of NexPoint Advisors, LP?

        9        "A    Mr. Dondero.

       10        "Q    And you report directly to him; is that right?

       11        "A    I do.

       12        "Q    You're also the executive vice president of Fund

       13        Advisors, another Movant; is that right?

       14        "A    Correct."

       15              MR. MORRIS:       Beginning on Page 38, Line 25:

       16        "Q    You're also the executive vice president (audio

       17        gap) that are managed by the Advisors here, right?

       18        "A    Yes.    That is correct."

       19              MR. MORRIS:       Then going back to Page 35, beginning at

       20   Line 15:

       21        "Q    To be clear here, there are five moving parties;

       22        is that right?

       23        "A    That's correct.           The two Advisors and the three

       24        Funds.

       25        "Q    And one of the advisory firms is Highland Capital




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        1        Management Fund Advisors, LP; is that right?

        2        "A      That's correct.

        3        "Q      And I'll refer to that as Fund Advisors; is that

        4        okay?

        5        "A      That's great.

        6        "Q      James Dondero and Mark Okada are the beneficial

        7        owners of Fund Advisors, correct?

        8        "A      That is my understanding.

        9        "Q      And     your    understanding        is   that   Mr.     Dondero

       10        controls Fund Advisors, correct?

       11        "A      That's correct.

       12        "Q      And   the      other   advisory   firm    that   brought       the

       13        motion is NexPoint Advisors, LP; is that right?

       14        "A      That is correct.

       15        "Q      And     Mr.    Dondero   is    the    beneficial       owner    of

       16        NexPoint; is that right?

       17        "A      A family trust where Jim is the sole beneficiary,

       18        I believe, controls or owns NexPoint Advisors.

       19        "Q      Okay.    And Mr. Dondero --

       20        "A      Or 99 percent of NexPoint Advisors.

       21        "Q      Mr. Dondero controls NexPoint; is that right?

       22        "A      Correct."

       23                MR. MORRIS:       Continuing at Line 16 on Page 36:

       24        "Q      All   right.       And   I'm    going     to   refer    to     Fund

       25        Advisors and NexPoint as the Advisors going forward; is




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       1        that fair?

       2        "A   That's fair.

       3        "Q   Each of the Advisors manages certain funds; is

       4        that right?

       5        "A   That is correct.

       6        "Q   And three of those funds that are managed by the

       7        Advisors are Movants on this motion, correct?

       8        "A   Correct.

       9        "Q   All right.     The Advisors caused these three Funds

      10        to invest in CLOs that are managed by the Debtor; is

      11        that right?"

      12        "A   --"

      13             MR. RUKAVINA:    Your Honor, I object.    Is there a

      14   question at the end of this?     I mean, Mr. Dondero can't

      15   possibly remember all this and then be asked a question.

      16             MR. MORRIS:    He doesn't have to answer any questions.

      17   I'm just reading the evidence into the record.

      18             THE COURT:    Okay.

      19             MR. RUKAVINA:    Your Honor?

      20             MR. MORRIS:    Since we're having difficulty --

      21             MR. RUKAVINA:    Your Honor, that's a matter for

      22   summation.   That's -- this is a question and answer, I submit.

      23             THE COURT:    Well, I overrule.

      24             MR. MORRIS:    Your Honor, here's -- here's --

      25             THE COURT:    This has been admitted into --




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        1               MR. MORRIS:     Yeah.

        2               THE COURT:     -- evidence.     And if he wants to

        3   highlight to the Court portions of the evidence, he can.

        4        Go ahead.

        5               MR. MORRIS:     Thank you, Your Honor.

        6        "A     The portfolio managers working for the Advisors

        7        did.    That's correct.

        8        "Q     And Mr. Dondero is the portfolio manager of the

        9        Highland Income Fund; is that right?

       10        "A     He is one of the portfolio managers for that Fund.

       11        "Q     And he's also --

       12        "A     I believe there are two.

       13        "Q     And    he's   also   a   portfolio   manager   of   NexPoint

       14        Capital, Inc., one of the Movants here, right?

       15        "A     That is correct.

       16        "Q     And he's also the portfolio manager of NexPoint

       17        Strategic Opportunities Fund, another Movant; is that

       18        right?

       19        "A     Yes.    That is correct."

       20               MR. MORRIS:     Going to Line -- Page 41, Lines 6

       21   through 9:

       22        "Q     The whole idea for this motion initiated with Mr.

       23        Dondero; isn't that right?

       24        "A     The concern, yes, the concern originated, and his

       25        concern was voiced to our legal and compliance team."




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        1             MR. MORRIS:       Page 42, Lines 4 through 11:

        2        "Q   None of the Movants are parties to the agreements

        3        between the Debtor and each of the Debtors pursuant --

        4        each of the CLOs pursuant to which the Debtor serves as

        5        portfolio manager; is that correct?

        6        "A   I     believe    that     is    correct.        One,    I   think,

        7        important -- even though they're not (audio gap), they

        8        are the -- they have the economic ownership of each of

        9        these CLOs.

       10        "Q   But they're not party to the agreement; is that

       11        right?

       12        "A   Not that I am aware of."

       13             MR. MORRIS:       Page 42, Line 25:

       14        "Q   Okay.      It's    your    understanding,       in     fact,   that

       15        nobody other than the Debtor has the right or the

       16        authority to buy and sell assets on behalf of the CLOs

       17        listed on Exhibit B, correct?

       18        "A   That is my understanding.

       19        "Q   Okay.      And    it's    also    your   understanding,        your

       20        specific     understanding,         that   holders     of    preferred

       21        shares do not make investment decisions on behalf of

       22        the CLO; is that right?

       23        "A   (audio gap)

       24        "Q   And that's something the Advisors knew when they

       25        decided to invest in the CLOs on behalf of the Movant




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        1        Funds; is that fair?

        2        "A   That's right.     And at that time, the knowledge in

        3        the purchase was with Highland Capital Management, LP

        4        and the portfolio management team at the time.

        5        "Q   And it's still with Highland Capital Management,

        6        LP; isn't that right?

        7        "A   That's correct.        I'm not sure that the portfolio

        8        management team looks the same, but it was HCMLP."

        9             MR. MORRIS:     Moving on to Page 46, Line 22:

       10        "Q   The   only   holders    of   preferred   shares    that    are

       11        pursuing this motion are the three Funds managed by the

       12        Advisors, right?

       13        "A   In this motion, yes.

       14        "Q   You're not aware of any holder of preferred shares

       15        pursuing this motion other than the three Funds managed

       16        by the Advisors, correct?

       17        "A   No, I'm not aware of any others.

       18        "Q   You   didn't    personally      inform   any      holder    of

       19        preferred shares, other than the Funds that are the

       20        Movants, that this    motion would be filed, did you?

       21        "A   No, I did not.

       22        "Q   You're not aware of any steps taken by either of

       23        the Advisors to provide notice to holders of preferred

       24        shares that this motion was going to be filed, are you?

       25        "A   I'm not, no.




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        1        "Q   And you're not aware of any attempt that was made

        2        to obtain the consent of all of the noteholder -- of

        3        all the holders of the preferred shares to seek the

        4        relief that is sought in this motion, correct?

        5        "A   That's correct.

        6        "Q   You don't have any personal knowledge, personal

        7        knowledge, as to whether any holder of preferred shares

        8        other than the Funds managed by the Advisors wants the

        9        relief sought in this motion, correct?

       10        "A   Correct.

       11        "Q   You    don't     have   any    personal       knowledge       as    to

       12        whether    any   of   the    CLOs    that    are    subject    to       the

       13        contracts that you described want the relief that's

       14        being requested in this motion, right?

       15        "A   That's      correct.      I    have     not    spoken    or    been

       16        involved    at    all     directly     with     the    CLOs.            I'm

       17        representing the Funds."

       18             MR. MORRIS:        Moving to Page 49.         I just have a bit

       19   more, Your Honor.      Page 49, Line 9.          And this is the reference

       20   to his declaration.

       21        "Q   And Paragraph 9 refers to a transaction involving

       22        SSP Holdings, LLC; do I have that right?

       23        "A   That's correct.

       24        "Q   Do you know what SSP stands for?

       25        "A   See if we say it in there.             SSP Holdings, LLC.




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        1        "Q   Right.    Do you know what SSP stands for?

        2        "A   I don't.       Something Steel Products.                 I --

        3        "Q   Okay.     You don't need to guess.                      These are the

        4        only two transactions that the Movants question; is

        5        that right?

        6        "A   These      transactions,              as      well       as         certain

        7        transactions around Thanksgiving time.

        8        "Q   Okay.          We'll        talk    about    those.           But    those

        9        transactions about -- around Thanksgiving time aren't

       10        in your (audio gap)?

       11        "A   Not specifically mentioned by name.

       12        "Q   Okay.    Let's talk about the two that are mentioned

       13        by name, Trussway and SSP.                The Movants do not contend

       14        that either transaction was the product of fraudulent

       15        conduct, do they?

       16        "A   No.

       17        "Q   The     Movants        do     not    contend      that    the       Debtor

       18        breached      any      agreement           by      effectuating           these

       19        transactions, do they?

       20        "A   I don't believe so.

       21        "Q   In    fact,     the    Movants       do     not   contend       that      the

       22        Debtor    violated     any        agreement      at    any    time       in    the

       23        management of the CLOs listed on Exhibit B; is that

       24        right?

       25        "A   That's right.




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        1        "Q     The   Movants      don't    even   question   the    Debtor's

        2        business judgment, only the results of the trans -- of

        3        these two transactions.           Is that right?

        4        "A     That's right.      And the results is the key here,

        5        and the approach."

        6               MR. MORRIS:     Moving on to Page 51, Line 8:

        7        "Q     Sir, you never asked the Debtor what factors it

        8        considered in making these trades, right?

        9        "A     I did not.

       10        "Q     And you have no reason to believe that anyone on

       11        behalf of the Movants ever asked the Debtor why it

       12        executed these (audio gap), right?

       13        "A     I don't have any knowledge.          There could have been

       14        somebody from (audio gap) Movants.           But I do not."

       15               MR. MORRIS:     Page 54, Line 19:

       16        "Q     Let's just talk briefly about the transactions

       17        that   occurred     (garbled)      Thanksgiving.         They're    not

       18        specifically referred to in your declaration; is that

       19        right?

       20        "A     That's correct.

       21        "Q     And you have no knowledge about any transaction

       22        that Mr. Seery wanted to execute around Thanksgiving;

       23        is that right?

       24        "A     I   know   there    were   transactions     and    there    were

       25        concerns from our management team, but I'm not aware of




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        1        what those transactions were.

        2        "Q      In fact, you can't even identify the assets that

        3        Mr. Seery wanted to sell around Thanksgiving, or at

        4        least    you     couldn't      at   the      time    of     your   deposition

        5        yesterday.       Is that right?

        6        "A      That's correct.

        7        "Q      And you have no knowledge as to why Mr. Seery

        8        wanted to make particular trades around Thanksgiving?

        9        "A      No, I don't.

       10        "Q      And     in    fact,     you     don't        even      know     if    the

       11        transactions         that    Mr.    Seery     wanted      to    close    around

       12        Thanksgiving ever in fact closed.                    Is that fair?

       13        "A      Correct."

       14                MR. MORRIS:         Last one.       Page 56, Line 1:

       15        "Q      Okay.        To the best of your knowledge, does this

       16        document       accurately      reflect        the    composition        of    the

       17        boards of each of the three Movant Funds?

       18        "A      Yes, it does.

       19        "Q      Okay.        John    Honis,     I    think    you      mentioned      him

       20        earlier.       He's on all three boards.               Is that right?

       21        "A      Yeah, that's correct.                And the reason we're --

       22        we're being -- we have a unitary board structure, so --

       23        which is very common in '40 Act Fund land, where the

       24        board sits, for efficiency purposes, on multiple fund

       25        boards, and there's a lot of economies of scale from an




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        1        operating standpoint.     So, yes, they sit on multiple

        2        boards.

        3        "Q   Okay.   And for purposes of the '40 Act, Mr. Honis

        4        has been deemed to be an interested trustee.         Is that

        5        right?

        6        "A   That's correct.

        7        "Q   Okay.   But you don't specifically know what (audio

        8        gap) caused that designation; you only know that the

        9        designation exists.    Right?

       10        "A   That's right.     And I know they are disclosed in

       11        the proxy -- or, in the -- the relative filings related

       12        to those Funds.

       13        "Q   Okay.   Three other people are common to all three

       14        Movant Funds.     I think you've got Dr. Froehlich, Ethan

       15        Powell, --

       16             MR. MORRIS:    I think he -- pronunciation.

       17        "A   Froehlich.

       18        "Q   Ethan Powell and Bryan Ward.      Right?

       19        "A   That is correct.

       20        "Q   Okay.      All three of those individuals actually

       21        serve on the 11 or 12 boards that you mentioned earlier

       22        that are managed by the Advisors, right?

       23        "A   That is correct.

       24        "Q   And they're the same Funds for which you serve as

       25        the executive vice president, right?




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        1        "A    This is correct -- yes.        That's correct.

        2        "Q    So, for all of the Funds that are managed by the

        3        Advisors, you serve as executive vice president and all

        4        four of these directors -- trustees serve as trustees

        5        on the boards, right?

        6        "A    Yes, that's correct.

        7        "Q    Okay.      In exchange for serving on all of these

        8        boards, the three individuals -- Dr. Froehlich, Mr.

        9        Ward, and Mr. Powell         -- each receive $150,000 a year

       10        for   services      across   the   Highland     complex;   is   that

       11        right?

       12        "A    That's correct.

       13        "Q    Dr. Froehlich has been serving as a board member

       14        across the Highland complex for seven or eight years

       15        now; is that right?

       16        "A    That's correct.

       17        "Q    Mr. --

       18        "A    I believe it's about seven or eight years.

       19        "Q    Mr. Powell, he actually was employed by Highland

       20        related -- Highland or related entities from about 2007

       21        or 2008 until 2015, right?

       22        "A    That's correct.

       23        "Q    And     Mr.   Ward,    the   third   of    the   independent

       24        trustees, he's been serving on a board or various of --

       25        on various Highland-related funds on a continuous basis




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        1        since about 2004.     Do I have that right?

        2        "A     Yeah, I believe that's correct."

        3               MR. MORRIS:    Your Honor, that concludes the reading

        4   of the portions of Mr. Norris's testimony that I wanted to

        5   present to the Court.

        6        I know it's 11:30 now, and I would respectfully request

        7   that we simply adjourn and let Your Honor tend to your

        8   business.

        9               THE COURT:    Okay.

       10               MR. MORRIS:    And hopefully when we come back at 1:00

       11   o'clock, we'll have a better connection.

       12               THE COURT:    All right.   So, we are going to go into

       13   recess until 1:00 o'clock Central.        Mike, can people just stay

       14   connected, or should they --

       15               THE CLERK:    Yes.    They can stay.   Yes.

       16               THE COURT:    You can stay or reconnect, whichever you

       17   want.     But we'll see you at 1:00.

       18               MR. MORRIS:    Thank you, Your Honor.

       19               THE CLERK:    All rise.

       20        (A luncheon recess ensued from 11:33 a.m. until 1:37 p.m.)

       21               THE CLERK:    All rise.    The United States Bankruptcy

       22   Court for the Northern District of Texas, Dallas Division, is

       23   now in session, the Honorable Stacey Jernigan presiding.

       24               THE COURT:    Good afternoon.    Please be seated.

       25   Apologies.    I was a little ambitious in my time estimate.         So,




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        1   anyway, I didn't have any control over getting in and out of

        2   Parkland Hospital, so I'm just grateful to be here.

        3        All right.    We were in the middle of direct examination of

        4   Mr. Dondero.    Mr. Morris, are you ready to proceed?

        5             MR. MORRIS:    I am, Your Honor, and I'm hopeful that

        6   the computer issues have resolved themselves.        It remains to

        7   be seen once we try.     If problems arise again, I plan on just

        8   putting this on mute and dialing in through the telephone,

        9   kind of the other alternative.

       10             THE COURT:    All right.

       11             MR. MORRIS:    So (garbled) and I apologize to Mr.

       12   Dondero, too.     I know I'm testing his patience.      But it's not

       13   for any reason other than technological.

       14             THE COURT:    All right.

       15             MR. MORRIS:    And Your Honor, you don't have to

       16   apologize for keeping us waiting.       That's okay.

       17             THE COURT:    Okay.

       18             MR. MORRIS:    But thank you.

       19             THE COURT:    All right.    Mr. Dondero, --

       20             MR. MORRIS:    All right.    So, --

       21             THE WITNESS:    Yeah.

       22             THE COURT:    I was just going to remind you, I have to

       23   remind you you're still under oath.

       24        Are you ready, Mr. Morris?

       25             MR. MORRIS:    I am, Your Honor.




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        1               THE COURT:    All right.    You may proceed.

        2               MR. MORRIS:    And we're going to begin with the

        3   document that we had difficulty scrolling through earlier,

        4   which we have now sent to counsel, and that would be what was

        5   marked as Exhibit D on Docket No. 46.

        6               THE COURT:    All right.

        7               MR. MORRIS:    That's the email string that we had seen

        8   earlier that I think Your Honor admitted into evidence.            Do I

        9   have that right?

       10               THE COURT:    Yes.

       11               MR. MORRIS:    Okay.

       12                       DIRECT EXAMINATION, RESUMED

       13   BY MR. MORRIS:

       14   Q    So, let's just start at the bottom and see if we can do

       15   this more easily, Mr. Dondero.         And again, I apologize for

       16   keeping you waiting before.        Starting at the bottom, that's an

       17   email from Hunter Covitz.        Do you see that?

       18   A    Yeah, I see it.

       19   Q    And he's an employee of the Debtor, right?

       20   A    Yes.

       21   Q    And your understanding is that Mr. Covitz actually helps

       22   the Debtor manage the CLO assets, right?

       23   A    Yes.

       24   Q    And in this email, Mr. Covitz is giving directions to Matt

       25   Pearson and Joe Sowin regarding certain securities held by the




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        1   CLOs, right?

        2   A    Yes.

        3   Q    And if we could scroll up, hopefully, we can see that you

        4   received a copy of this email.

        5                MR. MORRIS:   Yeah.   Right there.

        6   BY MR. MORRIS:

        7   Q    Do you see that?

        8   A    Yes.

        9   Q    And then -- and then you instructed the recipients of Mr.

       10   Covitz's email not to sell the SKY securities as had been

       11   instructed by Mr. Seery, correct?

       12   A    Yes.

       13   Q    And you understood when you gave that instruction that the

       14   people on the email were trying to execute trades that Mr.

       15   Seery had authorized, correct?

       16   A    Incorrect.

       17   Q    You didn't know that, sir?

       18   A    What I knew was that Seery had not authorized the trade,

       19   he had orchestrated the trade.       Hunter is not an analyst with

       20   any particular knowledge.      I called Hunter, why would he sell

       21   those?   And he said Seery told him to sell those.       So it

       22   wasn't that Seery authorized Hunter trading it.        It was Seery

       23   told Hunter to trade it, which is -- which is a material

       24   difference in my mind.

       25   Q    Okay.    So I'll ask you again.    At the time you gave the




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        1   instruction, "No, do not," you knew that you were stopping

        2   trades that had been authorized and directed by Mr. Seery,

        3   correct?

        4   A    Yes.

        5   Q    You didn't speak with Mr. Seery before sending this email,

        6   did you?

        7   A    No.

        8   Q    And you took no steps to seek the Debtor's consent before

        9   instructing the recipients of this email to stop executing the

       10   SKY transactions.     Is that right?

       11   A    I'm sorry.    I missed the first part of that question.

       12   Q    Okay.    You took no steps to seek the Debtor's consent

       13   before instructing the recipients of this email to stop

       14   executing the SKY transactions that were authorized by Mr.

       15   Seery, correct?

       16   A    I don't -- I'm not sure I was permitted to talk to Seery

       17   at this point, but I don't recall specifically, no.

       18   Q    You didn't seek consent, did you, before stopping these

       19   trades?

       20   A    No.

       21   Q    Okay.    In response to your instruction --

       22                MR. MORRIS:   If we could scroll up to the next

       23   response.

       24   BY MR. MORRIS:

       25   Q    You see the response from Mr. Pearson?




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        1   A    Yes.

        2   Q    And in response to your instructions, Mr. Pearson canceled

        3   all of the SKY and AVYA sales that the Debtor had directed but

        4   which had not yet been executed, right?

        5   A    Yes.

        6   Q    Okay.

        7                MR. MORRIS:   Can we scroll up to the next email,

        8   please?

        9   BY MR. MORRIS:

       10   Q    And you responded again, right?      That's your response?

       11   A    Yes.

       12   Q    Can you read your response out loud, please?

       13   A    (reading) HFAM and DAF have instructed Highland in writing

       14   not to sell any CLO underlying assets.        There is potential

       15   liability.     Don't do it again, please.

       16   Q    And the writings that you refer to there are the two

       17   letters that we looked at earlier, the October 16 and the

       18   November 24 letter, right?

       19   A    I believe so.    If not, if there's a third or fourth

       20   letter, all the letters in aggregate.

       21   Q    All right.    And you, you interpreted those letters not as

       22   requests but, as you tell the recipients of your email here,

       23   that they were actually instructions, right?

       24   A    That was -- that was my choice of words.       I don't know if

       25   I thought about it that clearly.




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        1   Q    Okay.    But the reci... you have no reason to believe that

        2   the recipient of this email wouldn't understand that you

        3   believed that Highland had been instructed not to do these

        4   trades, right?

        5   A    I'm sorry.    Can you ask that again?     I had no reason to

        6   believe what?

        7   Q    That's okay.    I'll move on.     At this juncture, the

        8   reference to potential liability was intended for Mr. Pearson,

        9   right?

       10   A    Frankly, when you violate the Advisers Act, the CFO has

       11   liability.     I mean, I'm sorry, the chief compliance officer

       12   has liability, and anybody who has an awareness that it

       13   violates the Advisers Act has potential liability also.

       14   Q    And is it -- is it your testimony and your position that

       15   Mr. Pearson had potential liability under the Advisers Act for

       16   carrying out Mr. Seery's trade requests?

       17   A    Yes, once he was informed that the underlying investors

       18   didn't want assets sold and Seery had stated he had no

       19   business purpose in selling those assets.

       20                MR. MORRIS:    I move to strike the latter part of the

       21   answer, Your Honor.        Mr. Dondero has testified repeatedly

       22   multiple times that he has never communicated with Mr. Seery

       23   about why he wanted to make these transactions.

       24                THE COURT:    I grant that.

       25   BY MR. MORRIS:




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        1   Q    Mr. Sowin responded and indicated that he would follow

        2   your instructions, right, if we scroll to the next email?

        3   A    I'm sorry.    What part are you saying, or what part are you

        4   referring to?

        5   Q    Mr. Sowin.    Who is Mr. Sowin?

        6   A    He's Matt Pearson's boss.      He's the head trader.

        7   Q    And he works for the Advisors, right?

        8   A    Yes.

        9   Q    He's one of your employees, right?

       10   A    Yes.

       11   Q    Mr. Sowin followed your instructions as set forth in this

       12   email, right?

       13   A    He did a bunch of things, but, yes, I believe -- yes,

       14   that's a fair way to characterize.

       15   Q    And the only information that you know of that he's

       16   relying upon to state that Compliance should never have

       17   approved this order was your email that preceded it, right?

       18   A    No.

       19   Q    No?    There's nothing else on this email other than your

       20   email that preceded it, correct?

       21   A    Correct.

       22   Q    Okay.    A few days later, you learned that Mr. Seery was

       23   trying a workaround to effectuate the trades anyway, right?

       24   A    I believe so.

       25                MR. MORRIS:   Can we scroll up to the next email?




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        1   BY MR. MORRIS:

        2   Q      This is your response to Mr. Surgent, right?

        3   A      Yes.

        4   Q      Now, Mr. Surgent hasn't written anything.    He is not part

        5   of this conversation, is he?

        6   A      No.

        7   Q      But you bring him into the conversation, right?

        8   A      Because he's the chief compliance officer at Highland,

        9   yes.

       10   Q      He's not -- he's not the chief compliance officer for the

       11   Advisors.      He's the chief compliance officer for a company

       12   that you no longer work for, right?

       13   A      Correct, but he has personal liability for violations of

       14   the Advisers Act.

       15   Q      Okay.   And you thought it was your responsibility to

       16   remind him of that, right?

       17   A      It was my view of the situation, and at least he could

       18   evaluate it himself if I reminded him of it, yes.

       19   Q      Uh-huh.   What does it mean to do a workaround?    What did

       20   you mean by that?

       21   A      There's a concept in compliance called you can't do

       22   something indirectly that you can't do directly, and that's

       23   what I was referring to there.

       24   Q      Does that mean that he was trying to effectuate the trade

       25   without the assistance of the Advisors?




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        1   A      I believed he was trying to do it without compliance and

        2   without proper regard for investors, so that's why I described

        3   it as a workaround.

        4                  MR. MORRIS:    I move to strike.

        5                  THE COURT:    Sustained.

        6   BY MR. MORRIS:

        7   Q      I'm asking you a very specific question.

        8                  MR. MORRIS:    Can I have a ruling, Your Honor?        Thank

        9   you.

       10                  THE COURT:    Yes.

       11   BY MR. MORRIS:

       12   Q      Did you, when you used the phrase workaround, did you mean

       13   that he was trying to effectuate the trade without relying on

       14   the Advisors' employees?

       15   A      No.

       16   Q      Okay.    But you found out about the trade and you thought

       17   it was a good idea to send Mr. Surgent this email, right?

       18   A      Yes.

       19   Q      Can you read the last line of your email?

       20   A      (reading)    You might want to remind him and yourself that

       21   the chief compliance officer has personal liability.

       22   Q      Personal liability for effectuating a trade that Mr. Seery

       23   had authorized, correct?

       24   A      For violating the Advisers Act, is what I meant.

       25   Q      Uh-huh.    Did you report anybody to the SEC?




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        1   A    I would be happy to if it's permitted by the Court.

        2   Q    But you didn't -- you never asked the Court to do that,

        3   right?

        4   A    No.

        5   Q    It didn't seem important enough for you to take that step,

        6   right?     But you wanted -- you had to make sure that you told

        7   Mr. Surgent that he might be personally liable, right?        That

        8   was what you needed to do?

        9   A    Could you repeat that question, please?

       10   Q    You needed to make sure that Mr. Surgent knew that you

       11   were threatening him with personal liability if he followed

       12   Mr. Seery's instructions, right?

       13   A    No.

       14   Q    As a factual matter, you never asked Mr. Seery why he

       15   wanted to make these trades, right?

       16   A    I asked Joe Sowin to ask him.

       17   Q    As a factual matter, you never asked Mr. Seery why he

       18   wanted to make these trades, correct?

       19   A    I believe I wasn't permitted to talk to him.

       20   Q    In November 2020?    What would have prevented that?

       21   A    I believe Scott Ellington was the go-between at that

       22   point in time.

       23   Q    Is it your testimony that you never spoke with Jim Seery

       24   in November 2020?

       25   A    I believe in an unauthorized fashion, the day after




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        1   Thanksgiving I talked to him, but that's the only day I can

        2   remember.

        3   Q    Should we call up the email where you threatened him not

        4   to do it again?

        5   A    That was an email.

        6   Q    Ah.    So you could communicate by email?    Did you ever send

        7   Mr. Seery an email and say, Why do you want to do these

        8   trades?

        9   A    No.

       10   Q    But somehow you thought you couldn't even speak to him?

       11   You couldn't speak to him but you can send him emails?        That's

       12   the world that you live in, right?      That's what you think?

       13   A    I have no comment on that.

       14   Q    All right.   So, after this exchange, --

       15               MR. MORRIS:    And this is what I read out-of-order

       16   before, Your Honor.       We moved to the December 16th hearing.

       17   BY MR. MORRIS:

       18   Q    And you remember, Mr. Dondero, that the Defendants made

       19   that motion that asked the Court to stop the Debtor from

       20   trading in the CLO assets?      Do you remember that?

       21   A    I'm sorry.   You're asking me do I remember letters were

       22   sent?   Yes.

       23   Q    No.    Do you remember that there was a hearing in mid-

       24   December?

       25   A    Yes.




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        1   Q    Okay.

        2                MR. MORRIS:    And Your Honor, for the record, Exhibit

        3   A is the Debtor -- is the Defendants' motion.        Exhibit B is

        4   the transcript that we had looked at earlier or that I had

        5   read portions of earlier.

        6                THE COURT:    Okay.

        7                MR. MORRIS:    And Exhibit C is the order that the

        8   Court entered denying the Defendants' motion.

        9        Can we call up Exhibit C, please?

       10   BY MR. MORRIS:

       11   Q    All right.    Do you see --

       12                MR. MORRIS:    If we could scroll to the very top,

       13   please.     All right.

       14   BY MR. MORRIS:

       15   Q    Do you see this document is dated December 18th, sir?

       16   A    Yes.

       17   Q    And if we scroll down, this is the order denying the

       18   motion of the Advisors and the Funds for an order trying to

       19   temporarily restrict the Debtor's ability as portfolio manager

       20   from initiating sales.       Do you see that?

       21   A    Yes.

       22   Q    Okay.    So, this is December 18th.      And if you'll recall,

       23   the TRO was issued against you on December 10th.        Do you

       24   remember that?

       25   A    I don't believe it was the 10th.




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        1   Q    Okay.    It was in December, and it was just before this.

        2   Is that fair?

        3   A    I believe there was an intent, and then the actual filing

        4   I think was much later.       I don't have -- I don't have the

        5   knowledge.     I don't have the knowledge of when the TRO was put

        6   in place.

        7   Q    Okay.    (Pause.)     Okay.   We talked earlier about how you

        8   interfered with Mr. Seery's trading activities around

        9   Thanksgiving.     Do you remember that?

       10   A    Yes, I do.    I do remember the trading then, also.

       11   Q    Okay.    And do you remember that just before Christmas you

       12   interfered with Mr. Seery's tradings again?

       13   A    Yes.

       14   Q    Okay.

       15                MR. MORRIS:    If we can call up Exhibit K from Docket

       16   No. 46, which I have shared with counsel?

       17                THE WITNESS:    You know what?

       18   BY MR. MORRIS:

       19   Q    Yeah.

       20   A    Let's handle these each incident one at a time.           And I

       21   don't want to use the word "interfering" or accept the word

       22   "interfering" as an answer because I think my participation in

       23   each situation was very different.

       24                MR. MORRIS:    All right.    Can we scroll down?

       25   BY MR. MORRIS:




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        1   Q    This is a letter that my firm wrote to Mr. Lynn.         Mr. Lynn

        2   is your lawyer.     Is that right?

        3   A    Yes.

        4                MR. MORRIS:    And if we could start down at the first

        5   page.   We've seen these letter before.       A little further.

        6   BY MR. MORRIS:

        7   Q    Do you see there is a reference there to the Debtor's

        8   management of CLOs?

        9   A    Yes.

       10   Q    And there is a recitation of the history that we talked

       11   about a bit earlier.       If we -- if we look further in that

       12   paragraph to around Thanksgiving, when you intervened to block

       13   the trades.

       14   A    Yes, I see that sentence.

       15   Q    Okay.

       16                MR. MORRIS:    And then if we can go to the next page,

       17   the next paragraph.        Yeah, that's where.

       18   BY MR. MORRIS:

       19   Q    Then we referred to the December 16th hearing, right?         And

       20   then the next paragraph says, "On December 22, 2020" --

       21                MR. MORRIS:    Can you scroll down just a little bit?

       22   Nope, the other way.       Yeah, right there.

       23   BY MR. MORRIS:

       24   Q    "On December 22, 2020, employees of NPA and HCMFA" --

       25   those are the Advisors, right?




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        1   A    Yes.

        2   Q    -- "notified the Debtor that they would not settle the

        3   CLO's sale of the AVYA and SKY security."       Have I read that

        4   correctly?

        5   A    Yes.

        6   Q    All right.    On or about December 22nd, you personally

        7   instructed employees of the Advisors not to trade the SKY and

        8   AVYA securities that Mr. Seery had authorized.       Is that right?

        9   A    No.

       10   Q    You personally instructed, on or about December 22, 2020,

       11   employees of those Advisors to stop doing the trades that Mr.

       12   Seery had authorized with respect to SKY and AVYA, right?

       13   A    No.    You know, we need to look at source documents.       My

       14   recollection is I encouraged Compliance to look at those

       15   trades.     But I'm willing to be -- I'm willing to be -- get

       16   source documents again, if you'd like.

       17   Q    All right.    My source document is your prior testimony.

       18               MR. MORRIS:   Can we please call up Exhibit NNNN at

       19   Page 73?    Beginning at Line 2?     Okay.

       20   BY MR. MORRIS:

       21   Q    Page 73, beginning at Line 2, did you give the following

       22   answer to my question?

       23        "Q     And   you   personally   instructed,   on   or    about

       24        December 22nd, 2020, employees of those Advisors to

       25        stop doing the trades that Mr. Seery had authorized




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        1        with respect to SKY and AVYA, right?

        2        "A      Yeah.    Maybe we're splitting hairs here, but I

        3        instructed      them   not   to   trade   them.   I   never    gave

        4        instructions not to settle the trades that occurred,

        5        but that's a different ball of wax."

        6   Q    Did you give that answer, sir?

        7   A    I believe I confused dates or misspoke there, but I did

        8   give that answer.

        9   Q    Okay.    Thank you.     Stated a different way, you personally

       10   instructed the Advisors' employees not to execute the trades

       11   that Mr. Seery had authorized but which had not yet been made,

       12   right?

       13   A    No.   Not -- not on December 22nd.         That was in November.

       14   November 22nd, I did not do that.

       15   Q    Okay.

       16                MR. MORRIS:    Can we go to Page 76, please?      Line 15.

       17   BY MR. MORRIS:

       18   Q    Did you give this answer to my question?

       19        "Q      And you would agree with me, would you not, that

       20        you instructed the employees of the Advisors not to

       21        execute the very trades that Mr. Seery identifies in

       22        this email, correct?

       23        "A      Yes."

       24   Q    Did you give that answer, sir?

       25   A    Well, like I said, I -- I confused the Thanksgiving




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        1   trades, the week of Thanksgiving, with my more nuanced

        2   responses to later trades.

        3               MR. MORRIS:    I move to strike, Your Honor.      It's a

        4   very simple question.

        5               THE COURT:    Granted.

        6   BY MR. MORRIS:

        7   Q    Did you give that answer to my question, sir?

        8   A    I -- yes, I did.

        9   Q    Thank you.   Now, all of this is just a week after that

       10   December 16th hearing, right?

       11   A    Yes.

       12   Q    And right after that hearing, the K&L Gates firm sent, on

       13   behalf of the Defendants, more letters to the Debtors, right?

       14   A    Yes.

       15               MR. MORRIS:    Can we please pull up the first letter?

       16   It's Exhibit DDDD.       And if we can go not to our response but

       17   to the original letter that was sent that's attached to this.

       18   I think it is Exhibit A.      Right there.

       19   BY MR. MORRIS:

       20   Q    That's the first of the letters, December 22, 2020.         Do

       21   you see that?

       22   A    Yes.

       23               MR. MORRIS:    And can we scroll down to the end of the

       24   letter to see what the request is here?      Right there.

       25   BY MR. MORRIS:




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        1   Q    Can you read the end of that letter right there, sir?

        2   A    (reading)    Sincerely, A. Lee Hogewood, III.

        3   Q    Nice.   I meant the actual substance.

        4   A    (reading)    For the foregoing and other reasons, we request

        5   that no further CLO transactions occur, at least until the

        6   issues raised by and addressed in the Debtor's plan are

        7   resolved at the confirmation hearing.

        8   Q    Okay.   And that's similar in substance to the letter that

        9   was sent on behalf of the Defendants on October 16th that you

       10   saw and approved, right?

       11   A    I did not see and approve.

       12   Q    All right.    The record will speak for itself.     And it's

       13   similar in substance to the letter that was sent on November

       14   24th by the K&L Gates clients on behalf of the Defendants,

       15   right?

       16   A    I don't know.

       17   Q    We looked at it before.    Should we get it again?

       18   A    It's a -- all the letters, as far as I understand, were

       19   similar in requesting that the -- the beneficial owners of the

       20   CLOs were requesting that no wholesale liquidation of their

       21   assets occur.     That's how I understand it.

       22   Q    And that's --

       23   A    You asked my understanding.     That's my understanding.

       24   Q    Okay.   And notwithstanding the request in this letter,

       25   when you were -- when you were talking to the traders at your




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        1   shop, you actually told them that the Debtor was instructed

        2   not to do these trades, right?

        3   A    Are you parsing "instructed" versus "requested"?         I don't

        4   understand the question.

        5   Q    I am, in fact.    You used a very different phrase when

        6   speaking to your employees than you did -- then your lawyers

        7   did when they wrote to the Debtor, right?

        8   A    It seems to be a difference, yes.

        9   Q    Okay.    So, this is on December 22nd.      Now, the night

       10   before, you participated in a meeting with Grant Scott and

       11   with the lawyers for the Defendants, right, to talk about what

       12   you guys were going to do with respect to the Debtor's

       13   management of the CLOs.      Isn't that right?

       14   A    I don't remember specifically.

       15   Q    Okay.    But is it fair to say it's true, is it not, that

       16   during the week leading up to Christmas you participated in

       17   several phone calls with the K&L Gates firm and with other

       18   members of the Defendants' -- the Advisors, Mr. Sowin or Mr.

       19   Post or Mr. Sauter, and the lawyers, right?        You were all

       20   together talking about these issues during the week before

       21   Christmas, right?

       22                MR. RUKAVINA:   Your Honor, I'm going to object.     If

       23   counsel is asking what was discussed with counsel present for

       24   the purpose of legal advice, that is an inappropriate

       25   question.




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        1               THE COURT:    Okay.

        2               MR. MORRIS:    I'm certainly not.     I'm asking if the

        3   conversations took place.

        4               MR. RUKAVINA:    And the conversations -- the question

        5   was, did they discuss what to do with respect to the CLOs?

        6   That would be privileged, Your Honor.          If they discussed

        7   football, that's not privileged, but what to do with the CLO

        8   management agreements is privileged.

        9               THE COURT:    Okay.   I sustain.

       10               MR. MORRIS:    Can we please call up Exhibit TT?       I'm

       11   sorry, TTT.    Nope, TTTT.    TTTT.   Can you scroll down a bit?

       12   Right there.

       13   BY MR. MORRIS:

       14   Q    Do you see -- this is an email from Grant Scott to Scott

       15   Ellington; do you see that?

       16   A    Yes.

       17   Q    And at this point, Mr. Ellington is still working for the

       18   Debtor, right?

       19   A    Yes.   I believe he was settlement counsel.

       20   Q    Uh-huh.   And do you see that this is an email that refers

       21   to your availability for a 9:00 a.m. call?

       22   A    Yes.

       23   Q    And do you see that there's a question as to whether the

       24   K&L people can make it?

       25   A    Yes.




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        1   Q    And you understand that refers to K&L Gates, right?

        2   A    I -- I guess so.

        3   Q    And so does this refresh your recollection that at or

        4   around Christmas, or in the days leading up to Christmas, you

        5   participated in calls with Mr. Scott, with Scott Ellington,

        6   and with the K&L Gates folks?

        7   A    I -- I don't know.        I don't know if -- if I actually did

        8   or not.   But I was highly concerned with inappropriate

        9   behavior.

       10   Q    And you were available -- and did you tell somebody that

       11   you were available for this call on the morning of the 23rd?

       12   A    I don't know.

       13   Q    This is the day after you stopped the trades, right?

       14   A    Again, I didn't stop the trades on the 23rd.

       15   Q    You stopped them on the 22nd, right?

       16   A    No, I stopped them on the week of Thanksgiving.

       17               MR. MORRIS:      Can we go back to Exhibit NNNN, the

       18   transcript?       Page 73?

       19   BY MR. MORRIS:

       20   Q    Let me see if I can refresh your recollection.            Tab 2.

       21   Did you give this answer to this question:

       22        "Q     And    you   personally    instructed,   on   or     about

       23        December 22, 2020, employees of those Advisors to stop

       24        doing the trades that Mr. Seery had authorized with

       25        respect to SKY and AVYA, right?




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        1        "A      Yeah.    Maybe we're splitting hairs here, but I

        2        instructed them not to trade them."

        3   Q    Did you give that answer to the question?

        4   A    Yes.

        5   Q    Okay.

        6   A    But we -- we corrected.

        7   Q    All right.      You didn't correct it at the preliminary

        8   injunction hearing, did you?

        9   A    No, I did not.

       10   Q    Okay.    So as far as the Court knows as of this moment,

       11   that's the only testimony that you've ever given on the topic,

       12   right?

       13   A    I'm trying to give some now.

       14   Q    Okay.    And on December 22nd, that's the date that the

       15   first letter was also sent, right, we just looked at?

       16   A    All right.      Okay.

       17   Q    You agree with that, right?

       18   A    I don't remember the date on the letter.        If you want to

       19   pull it up, I'll say it is the 22nd or the 23rd, whatever it

       20   says.     I don't know.

       21   Q    Sure.

       22                MR. MORRIS:     Let's go back to DDDD, please.   And if

       23   we can just go to the top of the letter.        Thank you.

       24   BY MR. MORRIS:

       25   Q    K&L Gates.      December 22nd.    That's the letter, right?




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        1   A    Yes.

        2   Q    And according to the testimony that you gave at the

        3   preliminary injunction hearing on January 8th, that's the day

        4   that you also stopped AVYA and SKY trades, right?

        5   A    I'm not agreeing to that testimony.      I am changing the

        6   testimony.

        7   Q    Okay.    And then we just saw that other exhibit where they

        8   were trying to arrange a phone call with you, the K&L Gates

        9   lawyers, and Mr. Ellington and Grant Scott for the 23rd.         Do

       10   you remember that one we just looked at?

       11   A    Yes.

       12   Q    And then later on the day on the 23rd, K&L Gates sends

       13   another letter, right?

       14                MR. MORRIS:   Can we call up EEEE?   And can we scroll

       15   to the Exhibit A, to our response?      Right there.

       16   BY MR. MORRIS:

       17   Q    That's the 23rd.      Do you see that letter?

       18   A    Yes.

       19   Q    Again, this is one week after the hearing, right?

       20   A    Yes.

       21   Q    Okay.    And this is a letter where K&L Gates states on

       22   behalf of the Defendants that they are contemplating taking

       23   steps to terminate the CLO management agreements, right?

       24   A    I don't know.    Can you scroll down, if you want to ask me

       25   --




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        1   Q    Sure.

        2                MR. MORRIS:   Can we flip to the next page, please?

        3   Keep going.     Right there.

        4   BY MR. MORRIS:

        5   Q    Can you read the first sentence of the paragraph

        6   beginning, "Consequently"?

        7   A    (reading)    Consequently, in addition to our request of

        8   yesterday, where appropriate and consistent with the

        9   underlying contractual provisions, one or more of the entities

       10   above intend to notify the relevant Trustees and/or Issuers

       11   that the process of removing the Debtor as fund manager should

       12   be initiated, subject to and with due deference to the

       13   applicable provisions of the United States Bankruptcy Code,

       14   including the automatic stay of Section 362.

       15   Q    Okay.    So, on December 23rd, the Defendants told the

       16   Debtor that they intended to notify the relevant Trustees

       17   and/or the Issuers that the process of removing the Debtor as

       18   the fund manager should be initiated, right?

       19   A    That's what it says.

       20   Q    And then the K&L Gates firm sent yet another letter to the

       21   Debtor, right?     Do you remember that?

       22   A    No.

       23                MR. MORRIS:   Can we get up FFFF, please?

       24   BY MR. MORRIS:

       25   Q    This is dated December 31st.      Do you see that?




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        1   A    Yes.

        2                MR. MORRIS:   Can we scroll down a bit?

        3   BY MR. MORRIS:

        4   Q    Do you recall this is the letter where they claim that

        5   they've been damaged by the Debtor's eviction of you from the

        6   Highland offices?

        7   A    I don't remember specifically, but that's true.

        8   Q    Okay.    So we just saw these three letters, in addition to

        9   your -- the -- at least the testimony you gave regarding your

       10   conduct on the 22nd of December.      You were aware that all of

       11   these letters were being sent by K&L Gates, correct?

       12   A    Yes, generally.

       13   Q    And you were supportive of the sending of these letters,

       14   right?

       15   A    Absolutely.    They were appropriate.

       16   Q    And you pushed and encouraged the chief compliance officer

       17   and the general counsel to send these letters, right?

       18   A    I'd like to think that they believed and they acted

       19   largely on their own judgment, but I strongly believed it was

       20   a violation of the Advisers Act, and stated that numerous

       21   times.

       22   Q    Sir, you pushed and encouraged the chief compliance

       23   officer and the general counsel to send these letters,

       24   correct?

       25   A    No, I wouldn't use those words.




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        1   Q    Do you understand that the Debtor demanded that the K&L

        2   Gates clients or the Defendants withdraw these letters?

        3   A    I believe they requested it.        I didn't -- I didn't know

        4   the former, what you mean by demand, but --

        5   Q    Well, it's fair to say you never instructed the K&L Gates

        6   clients or the Defendants to withdraw these letters, right?

        7   A    No.    I still believe they are appropriate and accurate.            I

        8   wouldn't withdraw them today.

        9   Q    Okay.    Sir, throughout 2020, when you were still the

       10   portfolio manager at Highland Capital Management, it's true

       11   that you sold AVYA shares on numerous occasions on behalf of

       12   both the CLOs and on behalf of the Funds outside of the

       13   holdings of the CLOs?

       14   A    Always with a business purpose, yes.         That is still a

       15   small percentage of our total AVYA holdings, and we still

       16   liked AVYA.

       17   Q    Sir, I'm going to ask you just one more time.          In 2020,

       18   you sold AVYA stock many times on behalf of the CLOs and on

       19   behalf of the Funds?

       20   A    Yes.

       21   Q    Thank you.

       22                MR. MORRIS:    No further questions, Your Honor.

       23                THE COURT:    All right.   Mr. Rukavina?

       24                MR. RUKAVINA:    Your Honor, I will reserve my

       25   questions to my case in chief, and I would request a very




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        1   short restroom break.

        2              THE COURT:    All right.    Mr. Dondero, we're --

        3              MR. RUKAVINA:    And I do mean short.     I will --

        4              THE COURT:    I'm sorry.    What?

        5              MR. RUKAVINA:    And I do mean short, Your Honor.       I

        6   just need to run and be back -- I can be back in three

        7   minutes.

        8              MR. MORRIS:     No problem, Your Honor.

        9              THE COURT:    Okay.   You're finished for now, Mr.

       10   Dondero, but you're going to be recalled, so hang tight.

       11        Your next witness, Mr. Morris?

       12              MR. MORRIS:    The Debtor calls Jason Post.

       13              MR. RUKAVINA:    Your Honor, may I be excused to run to

       14   the restroom and Mr. Vasek take over for a few minutes?

       15              THE COURT:    Oh.   Okay.   I'm sorry.   If you made that

       16   request, I didn't hear you.      So that's fine.

       17        All right.   Mr. Post, --

       18              MR. MORRIS:    Your Honor, can we just -- I apologize

       19   for interrupting.    Can we just direct Mr. Dondero not to speak

       20   with anybody about anything at any time?        Not by phone, not by

       21   text, not by email, not by meeting, not by anything?          Because

       22   he's still on the stand.

       23              MR. RUKAVINA:    Well, Your Honor, anything at any

       24   time.   I think I know that Mr. Morris is being facetious, but

       25   if he's trying to get the rule invoked, that's different.




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        1                MR. MORRIS:    Okay.     I'm trying to get the rule

        2   invoked.

        3                THE COURT:    Okay.    All right.   I'm not going to make

        4   that instruction.        All right.    So, --

        5                MR. RUKAVINA:    I've got to run to the restroom.       I'll

        6   be -- listen for the instructions.

        7                THE COURT:    Jason Post, you've been called to the

        8   witness stand.     Could you say, "Testing, one, two"?

        9                MR. POST:    (Indiscernible.)

       10                THE COURT:    All right.    Please raise --

       11                MR. POST:    Testing, one, two.

       12                THE COURT:    Thank you.    Please raise your right hand.

       13                    JASON POST, DEBTOR'S WITNESS, SWORN

       14                THE COURT:    All right.    Mr. Morris, go ahead.

       15                               DIRECT EXAMINATION

       16   BY MR. MORRIS:

       17   Q    Good afternoon, Mr. Post.         We met the other day.    Do you

       18   remember that?

       19   A    I do.

       20   Q    Okay.    So, again, just to remind you, my name is John

       21   Morris.    I'm an attorney at Pachulski, Stang, Ziehl & Jones.

       22   We represent the Debtor here.          You're the chief compliance

       23   officer for each of the Defendants; is that right?

       24   A    I am.

       25   Q    And in your role as the chief compliance officer, your job




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        1   is to act as a liaison between regulatory bodies and internal

        2   working groups with respect to the rules and regulations for

        3   the funds advised by the Advisors; is that correct?

        4   A    Correct, that's -- that's the (inaudible).      Correct.

        5   Q    All right.    And internally, you report to Mr. Dondero.

        6   Isn't that right?

        7   A    Correct.

        8   Q    And you've been working with Mr. Dondero since 2008 when

        9   you joined Highland Capital Management, correct?

       10   A    I worked at Mr. Dondero's firm since 2008, but I reported

       11   to other direct reports during that time outside of Mr.

       12   Dondero.     I started to report to him directly in October of

       13   2020.

       14   Q    Okay.

       15   A    (overspoken)

       16   Q    But you've -- you've worked at Highland -- you worked at

       17   Highland since 2008, fair?

       18   A    Yes.

       19   Q    Okay.    And you were employed by Highland up until October

       20   2020, correct?

       21   A    Yes.

       22   Q    Okay.    And at that time, Mr. Dondero left and he went to

       23   NexPoint and you went to NexPoint.      Is that right?

       24   A    Shortly after Mr. Dondero left Highland, I transitioned

       25   over to NexPoint.




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        1   Q    And that's where Mr. Dondero is, right?

        2   A    Correct.

        3   Q    Okay.   You joined Highland in 2008, and in around 2011 you

        4   joined Highland's internal legal and compliance team, correct?

        5   A    That's correct.

        6   Q    And in 2015, while still employed by Highland, Mr. Dondero

        7   appointed you as the chief compliance officer of the Advisors

        8   and the Funds, right?

        9   A    Technically, the retail board appointed me the CCO of the

       10   Funds, and then I was appointed internally.      I believe Mr.

       11   Dondero was part of that decision for the Advisors.

       12   Q    Had you ever worked with the retail boards before that?

       13   A    There was about -- I worked with them for about a year

       14   prior to that.

       15   Q    Okay.   And you've served as the CCO, the chief compliance

       16   officer, of each of the Advisors and each of the Funds since

       17   September 2015 on a continuous basis, right?

       18   A    That is correct.

       19   Q    You know Thomas Surgent; is that right?

       20   A    I do.

       21   Q    Mr. Surgent has been the Debtor's chief compliance officer

       22   since around 2013 or 2014; is that right?

       23   A    I believe -- uh -- I -- I think that's correct.          It may be

       24   a year or two off.     He took the role after the former CO

       25   resigned, which I don't know if that was 2011 or 2012.          I




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        1   can't recall specifically.

        2   Q      Okay.   But he's been -- he's been in that position for a

        3   long time, right?      Fair enough?

        4   A      Yes, that's fair.

        5   Q      And during the whole time that you were employed by

        6   Highland and serving as the chief compliance officer for the

        7   Funds and the Advisors, you reported to Mr. Surgent?

        8   A      Internally.    Yes, that's correct.

        9   Q      Yeah.   And you respect Mr. Surgent; isn't that right?

       10   A      During the time I reported to him, yes.

       11   Q      Yeah.   And you believed that he did his job well, right?

       12   A      As far as I could see, yes.

       13   Q      You viewed it as -- you viewed him as a mentor, did you

       14   not?

       15   A      Yes.    I mean, when I joined the legal compliance team, you

       16   know, he was there.      He was a senior member on the team.      And

       17   he, you know, helped educate me, along with other, you know,

       18   external sources, et cetera, on the compliance function.

       19   Q      Uh-huh.    He trained you for the work you're doing now,

       20   right?

       21   A      With respect to the on-the-job training, yes.

       22   Q      Uh-huh.    Despite all of that, throughout all the

       23   proceedings, the court hearings, all of the issues that we're

       24   talking about in this case, you never, ever stopped to discuss

       25   any of these issues with your former mentor, Mr. Surgent; is




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        1   that right?

        2   A    The -- with respect to, for example, the trade (garbled)

        3   that you were talking about earlier?

        4   Q    Let's do it this way.    From the time that you left

        5   Highland until today, you've never discussed with Mr. Surgent

        6   Mr. Seery's trades; is that right?

        7   A    I believe there was a discussion after -- I can't recall

        8   exactly the context.    There was a discussion after the trades

        9   in the November time frame.     And then I believe there was a --

       10   I responded to an email exchange in the December time frame

       11   regarding booking of the trades.

       12   Q    Sir, you -- you've never spoken with Mr. Surgent about any

       13   issue concerning the Debtor's management of the CLOs, correct?

       14   A    I don't recall directly, no.

       15   Q    In fact, you're not aware of anyone acting on behalf of

       16   the Advisors or the Funds who has reached out to Mr. Surgent

       17   to get his views on any of the issues related to this motion.

       18   Isn't that right?

       19   A    I believe previously there's correspondence that Mr.

       20   Dondero had with Surgent.     But aside from that, I'm not aware

       21   of any.

       22   Q    Is that the email where he reminded him of his personal

       23   liability?    Is that the one you're thinking of?

       24   A    Correct.

       25   Q    Yeah.    Do you know of any other communication -- do you




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        1   know of any other communication that any of the Defendants had

        2   with Mr. Surgent concerning the Debtor's management of the

        3   CLOs?

        4   A    With Mr. Surgent directly, I don't -- I don't -- I don't

        5   believe so.

        6   Q    Yeah.    You graduated from Baylor; is that right?

        7   A    Correct.

        8   Q    But you don't have any certifications or licenses

        9   applicable to your work, correct?

       10   A    Correct.

       11   Q    You don't have any specialized training or education

       12   that's relevant to your work as a chief compliance officer,

       13   correct?

       14   A    Correct.

       15   Q    Your job -- your training is limited to on-the-job

       16   training; isn't that right?

       17   A    That is correct.

       18   Q    You've never spoken at any conferences on compliance

       19   matters, have you?

       20   A    Spoken, no.    Attended, yes.

       21   Q    You don't recall presenting any papers at any compliance-

       22   related conferences, do you?

       23   A    That is correct.

       24   Q    You've never published anything in connection with your

       25   work as a compliance officer; isn't that right?




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        1   A    Not that I can recall.

        2   Q    Let's talk about the CLO management agreements briefly.

        3   You're aware that the Debtor is party to certain management

        4   agreements pursuant to which it serves as the portfolio

        5   manager for certain CLOs, correct?

        6   A    Correct.

        7   Q    And until your lawyers recently asked you to review them,

        8   you last had reason to review a CLO management agreement about

        9   five or six years ago; isn't that right?

       10   A    I believe that's correct.

       11   Q    And the request from your lawyers to look at the CLO

       12   management agreements, that request came in late November/

       13   early December; isn't that right?

       14   A    I believe that's around the right time frame.

       15   Q    And the portions of the management agreements that you

       16   read were the portions that your counsel asked you to read;

       17   isn't that right?

       18   A    Correct.

       19   Q    And other than the general recollection of having read

       20   something about the rights of preference shareholders, you

       21   don't recall much about the agreements at all; isn't that

       22   right?

       23   A    I mean, the agreements are very lengthy in nature.         You

       24   know, I think it was probably rights that the preference

       25   shareholders had, and, you know, possibly indemnification




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        1   provisions.     But aside from that, I don't recall anything else

        2   specifically right now.

        3   Q    As the chief compliance officer of the Advisors and the

        4   Funds, you don't know whether any of them are party to the CLO

        5   management agreements between the Debtors and -- between the

        6   Debtor and the Issuers, correct?

        7                MR. RUKAVINA:    And Your Honor, I would just object to

        8   the extent that that calls for a legal conclusion.          This

        9   witness is not a lawyer.

       10                THE COURT:    Overruled.

       11                THE WITNESS:    I'm sorry.   Can you repeat the

       12   question, please?

       13   BY MR. MORRIS:

       14   Q    Sure.    As the chief compliance officer for each of the

       15   Defendants, you don't know whether any of them are party to

       16   the CLO management agreements between the Debtor and the

       17   Issuers, correct?

       18   A    They're not the named collateral manager, but they're a

       19   security holder of the CLOs, so they should be entitled to,

       20   you know, the rights that those security holders are afforded

       21   under those agreements.

       22                MR. MORRIS:    I move to strike, Your Honor.

       23                THE COURT:    Granted.

       24   BY MR. MORRIS:

       25   Q    All right.    So, now, Mr. Post, I know this is difficult,




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        1   and I do appreciate that it's difficult just to focus on the

        2   question.     Your counsel will have the opportunity to ask you

        3   whatever he wants.     But I would respectfully request that you

        4   listen to my question and only answer my question.        It really

        5   is very likely to require just a yes or no answer.

        6        So, let me try again.      As the chief compliance officer of

        7   the Advisors and the Funds, you don't know whether any of them

        8   are a party to the CLO management agreements between the

        9   Debtor and the Issuers, correct?

       10   A    I don't believe they are, correct.

       11   Q    Okay.    Let's talk about that prior hearing.      Now, by the

       12   way, Mr. Post, did you listen in to Mr. Dondero's testimony

       13   earlier?

       14                MR. RUKAVINA:    Mr. Post was here with me --

       15                MR. MORRIS:   Yeah.

       16                MR. RUKAVINA:    -- as my representative..

       17                MR. MORRIS:   Okay.   I -- there's no problem.   I just

       18   -- I just -- that way there's some background and he has some

       19   context.     That's the only reason I asked.

       20   BY MR. MORRIS:

       21   Q    You're aware that the Funds and the Advisors previously

       22   filed a motion in the Bankruptcy Court asking the Court to

       23   institute a pause in the Debtor's ability to sell CLO assets,

       24   correct?

       25   A    Correct.




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        1   Q    And you recall that that happened in mid-December, around

        2   December 16th; is that right?

        3   A    That sounds correct.

        4   Q    And in connection with that motion, you provided

        5   information to counsel that they requested from you, right?

        6   A    Yes.    I was part of the working -- internal working group,

        7   with internal and external counsel.

        8   Q    Other than providing that information, you generally

        9   agreed with the position being taken that it wasn't in the

       10   best interest of the Funds involved for Highland to make any

       11   trades; isn't that right?

       12   A    Yes.    And that was based off of discussions with the

       13   investment professionals.

       14   Q    And the investment professionals are Mr. Sowin and Mr.

       15   Dondero, correct?

       16   A    Correct.

       17   Q    Okay.   So you're the chief compliance officer, and they

       18   made a motion that was based on the idea that the fund

       19   manager, Highland Capital Management, shouldn't trade any

       20   assets in the CLOs.    Do I have that right?

       21   A    I believe that's what the motion contained.

       22   Q    But you don't even remember who authorized the filing of

       23   the motion; isn't that right?

       24   A    I believe it was pursuant to discussions internally and

       25   with external counsel, and I believe Mr. Norris signed the




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        1   filing, if I -- if I recall correctly.

        2   Q      Sir, you don't remember who authorized the filing of the

        3   motion, correct?

        4   A      It -- it was pursuant to a discussion with the investment

        5   professionals and counsel, and it was in the best interest of

        6   the Funds to make the filing.           So I think it was a

        7   collaborative determination.

        8                  MR. MORRIS:    I move to strike, Your Honor.

        9                  THE COURT:    Granted.

       10                  MR. MORRIS:    Ms. Canty, can we please pull up Mr.

       11   Post's deposition transcript?           And let's go to Page 35.     Line

       12   21.    Okay.

       13   BY MR. MORRIS:

       14   Q      Do you remember giving the following answer to the

       15   following question:

       16          "Q      Who authorized the filing of this motion?

       17          "A      I can't recall specifically who authorized it."

       18   Q      Did you give that answer to my question just the other

       19   day?

       20   A      That's -- that's what it says there, yes.

       21   Q      And it says that because that's, in fact, what you

       22   testified to under oath the other day, right?

       23   A      Correct.

       24   Q      Okay.    And the one thing that you know for certain is that

       25   you didn't authorize the filing of the motion; isn't that




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        1   right?

        2   A    I didn't sign anything in connection with the filing.

        3   Q    All right.    Listen carefully to my question.      The one

        4   thing that you're certain of is that you did not authorize the

        5   filing of the motion as the chief compliance officer of the

        6   Debtors, correct?

        7   A    Correct.

        8   Q    Okay.    But you did participate in conversations with Mr.

        9   Dondero and counsel concerning the motion; is that fair?

       10   A    There were conversations with Mr. Dondero initially, and

       11   then the conversations were then more so with internal and

       12   external counsel in terms of the filing.

       13   Q    Okay.    So they started just with Mr. Dondero, and then

       14   they moved on to counsel.       Is that what you're saying?

       15   A    I can't recall specifically.      It may have been part of a

       16   discussion internally with internal counsel and Mr. Dondero.

       17   I just -- I can't recall the specifics.

       18   Q    Okay.    But Mr. Dondero certainly supported the filing of

       19   the motion, right?

       20   A    Yes.    From an investment perspective, it was in the best

       21   interest of the Funds in terms of the sales that were

       22   occurring.

       23   Q    Okay.

       24                MR. MORRIS:    I move to strike.

       25                THE COURT:    Granted.




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        1   BY MR. MORRIS:

        2   Q    It's a very simple question.     Mr. Dondero supported the

        3   filing of the motion; is that correct?

        4   A    Yes.

        5   Q    You did not file a declaration in support of the motion;

        6   is that correct?

        7   A    Me personally, no.

        8   Q    Okay.   So you're the chief compliance officer of the

        9   Defendants; is that right?

       10   A    Correct.

       11   Q    But instead of you filing a declaration, Mr. Norris filed

       12   the declaration.    Do I have that right?

       13   A    Correct.    My understanding is one person needs to sign the

       14   declaration.

       15   Q    And remind me, what is Mr. Norris's position?       He's the

       16   executive vice president, right?

       17   A    Correct.

       18   Q    What responsibilities does he have?      Does he have trading

       19   responsibility?

       20   A    He does not.

       21   Q    Does he have compliance responsibility?

       22   A    Not directly, no.

       23   Q    Does he have investment responsibility?

       24   A    He's familiar with the composition of the portfolios in

       25   his role as a product strategy team member.




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        1   Q    Does he have investment responsibility, sir?

        2   A    He is not making direct investments for the -- for the

        3   Funds.

        4   Q    Okay.   So he doesn't -- and he's not a compliance person,

        5   right?

        6   A    Correct.

        7   Q    And he's not a lawyer, right?

        8   A    Correct.

        9   Q    But nevertheless, as the chief compliance officer, you

       10   believed that Mr. Norris's declaration contained all of the

       11   information that was relevant to support the motion, right?

       12   A    It was a determin... or a collaborative determination in

       13   conjunction with counsel.     But I, you know, I don't -- yeah,

       14   it was -- it was a collaborative determination.       There were

       15   multiple elements that went into that -- the letter.

       16   Q    Okay.   You believed that the motion and Mr. Norris's

       17   declaration contained all the relevant facts that supported

       18   the Advisors and the Funds' requests to the Court, correct?

       19   A    Yes.

       20   Q    In fact, you believed that Mr. Norris was the most

       21   knowledgeable person to testify on behalf of the Movants;

       22   isn't that right?

       23   A    I think it was -- he was identified pursuant to

       24   discussions with counsel to be the most knowledgeable.

       25   Q    I'm going to ask you just about you and not counsel.        You




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        1   believed at the time that Mr. Norris was the most

        2   knowledgeable witness to testify on behalf of the Movants;

        3   isn't that right?

        4   A      Yes.

        5   Q      And you didn't testify -- not only didn't you submit a

        6   declaration, but you didn't testify at the hearing, did you?

        7   A      Correct on both.

        8   Q      Okay.   And you listened to parts of the hearing, but not

        9   all of it, because you were busy doing other stuff, right?

       10   A      Correct.

       11   Q      You didn't listen to Mr. Norris's testimony at all, right?

       12   A      I don't believe I did.

       13   Q      You didn't listen to the Court when the Court rendered its

       14   decision, did you?

       15   A      I don't -- I don't believe I did.

       16   Q      And you didn't read the transcript from the hearing, did

       17   you?

       18   A      I don't -- correct.    I did not.

       19   Q      Okay.   So in your capacity as the chief compliance

       20   officer, you didn't believe that you should take the time to

       21   review the transcript, did you?

       22   A      Correct.   I mean, just it was filed based off of the

       23   belief that the -- that the trades weren't in the best

       24   interest, and I -- and no, I didn't read it personally.

       25   Q      And you didn't believe, in -- that in your capacity as the




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        1   CCO, the chief compliance officer, that it was in the scope of

        2   your responsibility to listen to the hearing, correct?

        3   A    I was -- I wasn't asked to listen, and quite frankly, I

        4   don't -- I don't recall if I remember the timing, but I did

        5   not listen.

        6   Q    Okay.    And in your capacity as the chief compliance

        7   officer, you didn't believe that it was in the scope of your

        8   responsibilities to listen to the hearing; isn't that right?

        9   A    Correct.

       10   Q    And because you didn't listen to the hearing or review the

       11   transcript, you were unaware of what the Court said or how

       12   Judge Jernigan described the motion or the people involved in

       13   presenting the case on behalf of the Defendants, right?

       14   A    Correct, but I -- I believe I probably would have received

       15   some guidance from counsel who attended or listened to the

       16   hearing.

       17   Q    Well, after the hearing was over, you did speak to Mr.

       18   Norris, right?

       19   A    Very briefly.

       20   Q    In fact, --

       21   A    Very --

       22   Q    In fact, the only thing you can remember about your

       23   conversation with Mr. Norris following the hearing was

       24   discussing with him how long the hearing took.       Isn't that

       25   right?




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        1   A    Correct, because I -- I believe I heard it was a short

        2   hearing.

        3   Q    And that's -- that's all -- that's all you asked Mr.

        4   Norris about, about the hearing, right?      That's all you

        5   remember talking to him about?

        6   A    I believe so, correct.

        7   Q    You don't recall discussing with Mr. Norris any other

        8   aspect of the hearing other than the length of time it took to

        9   conduct, correct?

       10   A    I don't recall specifically.

       11   Q    And you have no recollection of ever discussing with Mr.

       12   Dondero what happened at the hearing, right?

       13   A    I don't think I talked with Jim, Jim Dondero about that.

       14   Q    Nor did you talk to Mr. Dondero about the Court's ruling;

       15   isn't that right?

       16   A    Correct.

       17   Q    Okay.    Let's talk about the events that occurred after the

       18   hearing, in the two weeks following the hearing.       The

       19   Defendants for which you serve as the chief compliance officer

       20   sent three separate letters to the Defendant [sic], correct?

       21   A    If you could bring them up, I can confirm.

       22   Q    Sure.

       23                MR. MORRIS:   Let's start with DDDD, please.     Okay.

       24   Okay.   Can we scroll to the attachment, please?

       25   BY MR. MORRIS:




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        1   Q   All right.     So this is the first letter, Mr. Post.       Do you

        2   recall, on or about December 22nd, the K&L Gates firm sent, on

        3   behalf of the Advisors and Funds for which you serve as the

        4   chief compliance officer, a letter to the Debtors?

        5   A   Yes.

        6   Q   Okay.

        7               MR. MORRIS:   And can we call the next exhibit?      I

        8   guess it's EEEE.

        9       And I don't mean to be quick about these.       If there's any

       10   reason that you want to read them, I wasn't planning on asking

       11   any questions about the substance of the letters of this

       12   witness.

       13   BY MR. MORRIS:

       14   Q   But Mr. Post, I don't mean to be quick here.       So if you

       15   think there's a benefit to you to reading the letters, please

       16   let me know.

       17       Do you see, December 23rd, the next day, another letter

       18   was sent by K&L Gates?

       19   A   Yes.

       20   Q   Okay.    And do you recall generally that the Advisors and

       21   Funds for which you serve as chief compliance officer told the

       22   -- told the Debtor that they were going to begin the process

       23   of seeking to terminate the CLO management agreements?

       24   A   I believe -- I believe that was contained in the letter,

       25   so long as it was done in compliance with the Court.




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        1   Q    Uh-huh.    And do you remember there was a third letter that

        2   was sent?

        3   A    If you wouldn't mind pulling it up.

        4   Q    Yeah, not at all.

        5                MR. MORRIS:    Can we get the December 31st letter?      I

        6   think it might be -- yeah.

        7   BY MR. MORRIS:

        8   Q    Now, here's the December 31st letter.         Do you remember the

        9   December 31st letter was the one where K&L Gates suggested

       10   that the Advisors and the Funds had suffered damages because

       11   the Debtor evicted Mr. Dondero from the Highland suite of

       12   offices?

       13   A    I -- I had heard of that letter being drafted, but I don't

       14   recall -- I obviously don't recall a specific date.          But if it

       15   says December 31st, --

       16   Q    Okay.    Mr. Dondero was one of the main voices in the

       17   decision to send these letters, correct?

       18   A    He was part of the preliminary conversation and expressed

       19   his opinion, and then myself and others internally, and with

       20   external counsel, then worked to draft the letters.

       21                THE COURT:    All right.   Mr. Post, I am going to

       22   interject.     I have heard Mr. Morris give you this instruction

       23   many times.     Maybe it's time for me to.      Maybe it's past time

       24   for me to.

       25        Most of his questions simply require a yes or no answer.




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        1   If you feel like there are other things that you want to

        2   supplement your testimony with, Mr. Rukavina is going to have

        3   a chance to question you, and that would be the situation

        4   where maybe you could give more fulsome answers.        But please

        5   listen to the question.     If it's a yes or no answer, that's

        6   all we want you to give right now.       Okay?   Got it?

        7             THE WITNESS:     Understood.

        8             THE COURT:    Okay.

        9             MR. MORRIS:    Thank you, Your Honor.

       10   BY MR. MORRIS:

       11   Q    Mr. Post, Mr. Dondero was one of the main voices in the

       12   decision to send the letters; isn't that correct?

       13   A    He was a voice.

       14             THE COURT:    That was not a yes --

       15   BY MR. MORRIS:

       16   A    And he was -- he --

       17             THE COURT:    Okay.

       18             THE WITNESS:     I'm --

       19             THE COURT:    Please, just a yes or no answer, okay?

       20             THE WITNESS:     No.

       21             MR. MORRIS:    Okay.   Can we go to Mr. Post's

       22   transcript, please, Page 47?        Line 22?

       23        And Your Honor, when we pull it up on the screen, there is

       24   an objection, and I would respectfully request that the Court

       25   rule on the objection before I read the question and the




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       1   answer.

       2             THE COURT:      All right.

       3             MR. MORRIS:        So if we could just call up Page 47

       4   beginning at Line 22.

       5             MR. RUKAVINA:       Page 47, Line 22.

       6             THE COURT:      Okay.

       7             MR. MORRIS:        One moment.      Give her a moment.     She's

       8   not there.

       9             MR. RUKAVINA:        Do you remember what exhibit this is?

      10             MR. MORRIS:        Yeah.   There it is.     Beginning at Line

      11   22, "Do you know?"      And there is Mr. Rukavina's objection.

      12             MR. RUKAVINA:       Your Honor, it's very simple.          He

      13   can't go into Mr. Dondero's head.           But he -- but if Mr.

      14   Dondero told him something, that's different.             So I think

      15   counsel can rephrase the question and it's perfectly fine, but

      16   he can't go into Mr. Dondero's state of mind.

      17             MR. MORRIS:        Your Honor, I'm not asking for Mr.

      18   Dondero's state of mind.        I'm asking for Mr. Post's knowledge.

      19   "Do you know?"

      20             THE COURT:      Okay.      I'll overrule the objection.         He

      21   can answer.

      22   BY MR. MORRIS:

      23   Q    All right.      So, Mr. Post, do you remember giving this

      24   answer to the following question:

      25        "Q   Do   you    know    whether   Mr.    Dondero   supported    the




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        1        sending of each of these three letters?

        2        "A      I don't -- I don't recall specifically.       I think

        3        he had his views on certain of the transactions that

        4        were occurring, and he wasn't in agreement with those

        5        transactions, as one of the main voices."

        6   Q    Do you see that?

        7   A    I do.

        8   Q    Does that refresh your recollection that Mr. -- that you

        9   testified that Mr. Dondero was one of the main voices?

       10   A    Yes.

       11   Q    Okay.    Mr. Dondero --

       12                MR. MORRIS:   You can take that down now for the

       13   moment, please.

       14   BY MR. MORRIS:

       15   Q    Mr. Dondero had his views on certain of the transactions

       16   that were occurring, and he wasn't in agreement with those

       17   transactions.     Isn't that right?

       18   A    Yes.

       19   Q    All right.    Going back to the letters that we just looked

       20   at quickly, you recall the Debtor responded to each of those

       21   letters, but as the chief compliance officer, you couldn't

       22   really recall what the Debtor said in response.        Is that fair?

       23   A    I'm -- I believe they -- I'm sorry.       I can't recall

       24   specifically without seeing the letters.

       25   Q    Okay.    So you don't recall that, in response, the Debtor




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        1   requested that the Advisors and the Funds withdraw the

        2   letters, right?

        3   A    I believe that was requested in the letters.

        4   Q    Okay.    But the Funds and the Advisors didn't comply with

        5   that request, right?

        6   A    To my knowledge, they have not withdrawn the letters.

        7   Q    You do recall that the Debtor specifically asked the

        8   Defendants to file their lift stay motion so that they could

        9   finally resolve the issue of whether or not the Advisors and

       10   the Funds could actually terminate the agreement, right?

       11   A    I -- I'm sorry.       Can you repeat that question, please?

       12   Q    Do you recall that the Funds and the Advisors informed the

       13   Debtor that they were going to initiate steps to terminate the

       14   CLO management agreements, including moving to lift the stay?

       15   A    I think they indicated that they were going to take steps,

       16   but it would be pursuant to what was permitted in the court.

       17   Q    And do you remember that the Debtor specifically asked the

       18   Defendants to do exactly that, to bring this matter to a

       19   conclusion, to file the motion so that the Court could resolve

       20   the issue of whether or not they had a right to terminate the

       21   agreement?     You remember that, right?

       22                MR. RUKAVINA:    Objection, compound, Your Honor.

       23                THE WITNESS:    I can't --

       24                THE COURT:    I'm sorry.

       25                MR. MORRIS:    I can't recall.




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        1             THE COURT:    Was there an objection?

        2             MR. RUKAVINA:    Yes, Your Honor.    That's four

        3   questions in one.    That's compound.

        4             MR. MORRIS:    I'll rephrase, Your Honor.

        5             THE COURT:    Okay.   And let me interject a minute.

        6   Mr. Post, you have this habit of not looking squarely at the

        7   camera but looking over to your right.      And in a normal

        8   courtroom setting, that might be fine, but I have no way of

        9   knowing if some lawyer or some other person is -- you're

       10   looking at them and they're somehow instructing you.          I would

       11   certainly hope that's not what's going on, but it just kind of

       12   leaves room for me to wonder when you're not looking squarely

       13   at the camera.    So can you start looking squarely at the

       14   camera, please?

       15             MR. RUKAVINA:    Your Honor, I can explain that, and

       16   certainly there's no funny business going on.       There are two

       17   cameras on Mr. Post.    One is on a laptop.    We're looking at

       18   the Court on the big camera.     I'm sitting behind Mr. Post.       So

       19   if the Court would prefer that Mr. Post look directly into the

       20   laptop, then that's what he'll do, or if the Court would

       21   prefer that he look into the big camera.

       22             THE COURT:    Okay.   Well, I prefer he look into the

       23   big camera just because it --

       24             MR. RUKAVINA:    So keep looking there?    Yeah.

       25             THE COURT:    No, no, no, no.   Okay.   I don't know what




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       1   -- I thought -- okay.         Do you see what I'm seeing?    I don't

       2   know if you can see what I'm seeing.

       3                 MR. MORRIS:     Yes.

       4                 THE COURT:    I'm seeing the left side of his face.

       5                 THE WITNESS:    I'm sorry.   I'll just look at the

       6   laptop.   Sorry.     I was -- I was looking at who was speaking to

       7   me.

       8                 THE COURT:    Okay.    Well, I don't --

       9                 MR. MORRIS:    Okay.

      10                 THE COURT:    I don't know the setup, so it was

      11   confusing to me.

      12         All right.    This is better.      Thank you.

      13                 THE WITNESS:    Yeah.   I apologize.

      14                 MR. RUKAVINA:    We'll focus on the laptop, Judge.

      15   BY MR. MORRIS:

      16   Q     All right.    So the question, Mr. Post, is:       You do recall

      17   that the Debtor specifically asked the Defendants to file

      18   their motion to lift the stay so that the issue could finally

      19   be resolved; isn't that right?

      20   A     I can't recall that specifically.

      21   Q     You believe that may be one of the options that the Debtor

      22   specifically proposed, right?

      23   A     It -- yes.

      24   Q     Okay.    But the Defendants never filed their lift stay

      25   motion to terminate the agreements; isn't that right?




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        1   A    I don't believe so.

        2   Q    Right.    So the Debtor filed its complaint and its request

        3   for the injunction, right?

        4   A    Correct.

        5   Q    As the CO -- as the CCO, you may have reviewed the

        6   Debtor's complaint and motion, but you can't recall, given all

        7   the documentation that's involved, right?

        8   A    Correct.

        9   Q    You can't recall any facts that the Debtor asserted in

       10   support of its motion; isn't that right?

       11   A    I can't recall specifically.     Correct.

       12   Q    But the one thing you do know is that the Debtor's motion

       13   is based on its entitlement to transact business pursuant to

       14   their arrangement with the CLOs as collateral manager,

       15   correct?

       16   A    Yes.

       17   Q    Now, you heard that there was supposed to be an initial

       18   hearing on the Debtor's motion for a temporary restraining

       19   order against the Defendants, right?

       20   A    Correct.

       21   Q    But you don't believe the motion for the TRO got heard,

       22   and you presume it got resolved, right?

       23   A    I don't believe it was heard.

       24   Q    Okay.    And you understand that there is a TRO in place

       25   now, pursuant to which the Advisors and the Funds are




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        1   prevented from interfering with the Debtor's execution of its

        2   rights under the CLO management agreements, right?

        3   A    Correct.

        4   Q    Before the TRO was resolved, you weren't personally

        5   involved in the process of deciding what witnesses would be

        6   called and what exhibits would be offered into evidence; is

        7   that right?

        8   A    No.

        9              MR. MORRIS:   During the deposition, Your Honor,

       10   subject to correction from Mr. Rukavina, I believe that the

       11   Defendants and the Debtor reached the following two

       12   stipulations.

       13        First, the Defendants and the Debtor stipulate that Mr.

       14   Post was not going to be called as a witness at the TRO

       15   hearing.

       16              MR. RUKAVINA:    That is correct.

       17              MR. MORRIS:   And second, the Defendants and the

       18   Debtor stipulate that the Defendants were not going to offer

       19   into evidence any exhibits other than those specifically

       20   listed on their witness and exhibit list.

       21              MR. RUKAVINA:    That being the witness and exhibit

       22   list filed before the TRO.       That is correct.

       23              MR. MORRIS:   Okay.

       24   BY MR. MORRIS:

       25   Q    Let's talk about Mr. Seery for a minute.       You know who Mr.




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        1   Seery is, correct?

        2   A    Correct.

        3   Q    You understand he's an independent director and the CEO of

        4   the Debtor, right?

        5   A    Correct.

        6   Q    And you also understand that his -- in his capacity as the

        7   Debtor's CEO, Mr. Seery is authorized to sell certain

        8   securities and assets that are owned by the CLOs, correct?

        9   A    Correct.

       10   Q    In your opinion as the CCO, the chief compliance officer

       11   of the Advisors and the Funds, Mr. Seery has the knowledge and

       12   experience to trade securities on behalf of the CLOs, correct?

       13   A    Correct.

       14   Q    But you don't believe that it's in the Funds' best

       15   interest for Mr. Seery to sell SKY and AVYA securities, right?

       16   A    Correct.

       17   Q    But even though you reached that decision about Mr. Seery,

       18   you have no knowledge as to whether Mr. Dondero ever traded

       19   either of those securities before he resigned from Highland;

       20   isn't that right?

       21   A    I saw some trades that were shown on the screen earlier.

       22   I don't think I recalled at the time I was asked on Friday.

       23   Q    As of the time -- as of Friday, you had no knowledge as to

       24   whether Mr. Dondero had traded in AVYA securities prior to his

       25   departure from Highland, correct?




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        1   A    Correct.

        2   Q    And before, before forming your view as the chief

        3   compliance officer that Mr. Seery's trading of AVYA was not in

        4   the best interest of the Funds, you made no effort to see if

        5   Mr. Dondero had sold the exact same securities Mr. Seery was

        6   selling, correct?

        7   A    Correct.

        8   Q    And the sole source of information that you relied upon to

        9   reach your opinion that the trades weren't in the best

       10   interest of the Funds is Jim Dondero and Joe Sowin, correct?

       11   A    I'm sorry.   Can you repeat that?    You kind of cut out at

       12   the beginning.

       13   Q    Sure.   And please, any time that happens, let me know.       We

       14   had some problems this morning.

       15        The sole source of information that you relied upon to

       16   reach your opinion that the trades weren't in the best

       17   interest of the funds is Jim Dondero and Joe Sowin; isn't that

       18   correct?

       19   A    Correct.    They're the investment professionals, yes.

       20   Q    And you have no understanding as to why Mr. Seery wanted

       21   to sell the AVYA and SKY securities, do you?

       22   A    I was told that -- I don't know why he wanted to sell them

       23   personally, correct.

       24   Q    Okay.   In fact, before reaching your conclusion as the CCO

       25   that Mr. Seery's trades were not in the best interest of the




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        1   Fund, you did not undertake any investigation of any kind to

        2   try to determine why Mr. Seery wanted to sell AVYA or SKY

        3   stock, correct?

        4   A    Correct.    I didn't reach out to Mr. Seery.

        5   Q    All right.    You believe that Mr. Dondero and Mr. Sowin's

        6   opinion that Mr. Seery's trades aren't in the Funds' best

        7   interest should be heard pursuant to the Advisers Act, right?

        8   A    Correct.

        9   Q    Specifically, Section 2000 -- 206 of the Advisers Act,

       10   right?

       11   A    Correct.

       12   Q    Have you ever read Section 206 of the Advisers Act?

       13   A    Yes.

       14   Q    Okay.

       15                MR. MORRIS:    Ms. Canty, can you please put up the

       16   demonstrative for Section 206 of the Advisers Act?

       17                MR. RUKAVINA:    Your Honor, the witness just asked me

       18   for water.     Nothing more.

       19                THE COURT:    Okay.

       20                MR. MORRIS:    Yeah.   No problem.

       21   BY MR. MORRIS:

       22   Q    I've put on the screen Section 206 of the Advisers Act,

       23   Mr. Post.     Can you please tell the Court what provision of 206

       24   you believe Mr. Seery allegedly breached when he sought to

       25   sell AVYA and SKY securities?




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        1   A    It would be Number 4.

        2   Q    Do you believe that Mr. Seery engaged in fraudulent,

        3   deceptive, or manipulative practices by trying to trade AVYA

        4   and SKY securities?

        5   A    The -- as collateral manager for the CLOs, they're

        6   supposed to maximize returns for the preference shares, which

        7   we didn't believe the sales reflected that, and so they

        8   weren't acting, --

        9               THE COURT:   Okay.

       10               THE WITNESS:   -- you know, pursuant to their duties

       11   --

       12               THE COURT:   Here I -- here I go --

       13               THE WITNESS:   -- under the collateral management --

       14               THE COURT:   Here I go again.   Here you go again.

       15               THE WITNESS:   I'm sorry.

       16               THE COURT:   It really was a yes or no question.     All

       17   right?

       18   BY MR. MORRIS:

       19   Q    You're the -- you're the chief compliance officer, right?

       20   A    Yes.

       21   Q    And this is the provision in Section 4 that you cite to as

       22   the provision that Mr. Seery violated when he attempted to

       23   sell SKY and AVYA securities, correct?

       24   A    Yes.

       25   Q    Did Mr. Seery engage in an act, practice, or course of




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        1   business which was fraudulent when he looked to sell those

        2   securities?

        3   A    No.

        4   Q    Do you believe that Mr. Seery engaged in an act, a

        5   practice, or a course of business which was deceptive when he

        6   went to sell the SKY and the AVYA securities?

        7   A    Yes.

        8   Q    Who did he deceive?

        9   A    The investors of the CLOs, --

       10   Q    How?

       11   A    -- the preference shareholders.

       12   Q    How?

       13   A    By selling securities that the preference shareholder

       14   investors believed had further upside to them.

       15   Q    Did he lie to them?

       16   A    I don't believe he talked to the investors.

       17   Q    But you're putting your reputation on the line here and

       18   you're swearing under oath that Mr. Seery deceptively tried to

       19   sell SKY and AVYA securities?

       20   A    I believe that based off of a review and discussion with

       21   counsel.

       22   Q    Do you think he was manipulative?

       23   A    No.

       24   Q    Did you -- did you check in with the SEC to tell them that

       25   you had a bad actor here?




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        1   A    No.

        2   Q    You first formed your view that the Debtor violated

        3   Section 206 of the Advisers Act after the sales started to

        4   occur in the CLOs, correct?

        5   A    Correct.

        6   Q    But you don't know when the sales actually started, right?

        7   A    I believe there were sales --

        8   Q    And I assume, since you were the chief compliance officer

        9   since 2015, you don't believe that Mr. Dondero's sale of AVYA

       10   stock was deceptive, right?

       11   A    You would have to ask Mr. Dondero that, but I believe he

       12   was selling for cash, cash needs for other funds.

       13               MR. MORRIS:    Okay.   I move to strike.   I'm asking him

       14   not --

       15               THE COURT:    Sustained.

       16   BY MR. MORRIS:

       17   Q    I'm asking about you.     I'm asking about you.     You're the

       18   chief compliance officer, right?

       19   A    Yes.

       20   Q    And you don't believe that when Mr. Dondero sold AVYA

       21   stock that he was engaged in deceptive practices, do you?

       22   A    No.

       23   Q    And that's because you don't even know whether he sold

       24   AVYA stock; isn't that right?

       25   A    On Friday, I -- that is correct.




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        1   Q    In fact, the only reason you learned that Mr. Seery wanted

        2   to sell AVYA and SKY stock is because Mr. Dondero told you;

        3   isn't that right?

        4   A    I believe I was forwarded the email after -- after there

        5   was communications on the sales.

        6   Q    And that's the email where Mr. Dondero told Mr. Surgent

        7   that he had personal liability, correct?

        8   A    I -- I believe it was an email prior to that about were

        9   trades being requested and Mr. Dondero responding.

       10   Q    You're familiar with the email where Mr. Dondero

       11   interfered with Mr. Seery's trades?

       12   A    Yes.

       13   Q    Okay.   And you're aware that Mr. Dondero told Mr. Surgent

       14   that he faced potential liability if he continued to follow

       15   Mr. Seery's instructions, correct?

       16   A    Correct.   Based off of Mr. Dondero's view.

       17   Q    Notwithstanding all of that, in your capacity as the chief

       18   compliance officer, you don't believe it's ever appropriate

       19   for an investor to step in and impede transactions that have

       20   been authorized by the portfolio manager unless the contract

       21   permits the investor to step in; isn't that right?

       22   A    I believe -- I'm sorry, can you repeat that, please?

       23   There was a lot of question.

       24   Q    Sure.   Sure.   In your capacity as the chief compliance

       25   officer, you don't believe it's ever appropriate for an




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        1   investor to step in and impede transactions that were

        2   authorized by the portfolio manager unless the contract

        3   permits the investor to do so; isn't that correct?       Isn't that

        4   correct?

        5   A    Yes.

        6   Q    Okay.   I know you're not a lawyer, but you are the chief

        7   compliance officer of the Funds; isn't that right?

        8   A    Correct.

        9   Q    And you can't point to anything in any contract that gives

       10   Mr. Dondero the right to step in and impede transactions that

       11   have been authorized by Mr. Seery; isn't that correct?

       12   A    He's entitled rights as preference shareholders for the --

       13   for the Funds that hold those preference shareholders.        So,

       14   indirectly, he should be afforded those rights as portfolio

       15   manager for those Funds.

       16   Q    Sir, you can't point to anything in any contract that

       17   gives Mr. Dondero the right to step in and impede transactions

       18   that have been authorized by Mr. Seery; isn't that correct?

       19   A    Correct.

       20   Q    Okay.   But yet you have never told Mr. Dondero that he

       21   should not interfere with Mr. Seery's trades; isn't that a

       22   fact?

       23   A    Correct.

       24   Q    In fact, you never personally took any steps at any time

       25   to make sure that there would be no further interference with




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        1   the Debtor's trading activities; isn't that correct?

        2   A    Correct.

        3   Q    And that's because you believe, as the chief compliance

        4   officer of the Funds, that Mr. Dondero should have the leeway

        5   to make the determination as to whether or not the

        6   transactions are appropriate; isn't that correct?

        7   A    He should be able to be heard in the transactions that are

        8   being made, correct.

        9   Q    Sir, not to be heard, but to make the determination.        Let

       10   me ask the question again.     You believe, as the CO -- CCO of

       11   the Funds, that Mr. Dondero should have the leeway to make the

       12   determination as to whether or not the transactions are

       13   appropriate; isn't that correct?

       14   A    Yes.

       15   Q    Okay.    And you completely deferred to Mr. Dondero; isn't

       16   that right?

       17   A    For the investment determination, yes.

       18   Q    And based on that deference, you never took any steps at

       19   any time to make sure no one on behalf of the Advisors or the

       20   Funds impeded or stopped transactions authorized by Mr. Seery,

       21   correct?

       22   A    Correct.

       23   Q    You understand there's a TRO in place today that prevents

       24   Mr. Dondero and the Advisors and the Funds from interfering

       25   with Mr. Seery's trading activities; isn't that right?




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        1                  MR. RUKAVINA:    I'm going to object to that, Your

        2   Honor, to the extent that calls for a legal conclusion.              And I

        3   do think it mischaracterizes the testimony.           I'm sorry.     The

        4   TRO.

        5                  THE COURT:   Overruled.

        6   BY MR. MORRIS:

        7   Q      You can answer, sir.      Would you like me to repeat the

        8   question?

        9   A      Yes, please.

       10   Q      You understand that there is a TRO in place -- TRO in

       11   place today that prevents Mr. Dondero, the Advisors, and the

       12   Funds from interfering with Mr. Seery's trading activities on

       13   behalf of the CLOs, correct?

       14   A      Correct.

       15   Q      But in the absence of the TRO, in your view, whether you

       16   tell Mr. Dondero not to interfere with Mr. Seery's trades

       17   depends on the facts and circumstances that exist at the time,

       18   right?

       19   A      Correct.    From a -- yes.

       20   Q      Okay.    And up until this point, there have been no facts

       21   and circumstances that have caused you to tell Mr. Dondero not

       22   to interfere with Mr. Seery's trades on behalf of the CLOs,

       23   correct?

       24   A      He can't because of the TRO.

       25   Q      Correct.    But if the TRO wasn't in place, it's possible




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        1   that you wouldn't take any steps to stop Mr. Dondero from

        2   impeding Mr. Seery's trades; isn't that right?

        3   A    I mean, if Mr. Dondero or other investment professionals

        4   have a view, that they should be -- they should have a right

        5   to be heard as preference shareholders of the CLOs.

        6   Q    Okay.   But if the TRO wasn't in place, you wouldn't act to

        7   stop Mr. Dondero from interfering or impeding the Debtor's

        8   trades on behalf of the CLO; isn't that right?

        9   A    He would -- if he would be permitted to talk to Mr. Seery.

       10   Q    Okay.   Prior to the imposition of the TRO, you took no

       11   steps to stop Mr. Dondero from interfering with Mr. Seery's

       12   trades, correct?

       13   A    Correct.

       14   Q    And if the TRO wasn't in place, it's possible you wouldn't

       15   take any steps to stop Mr. Dondero from impeding -- impeding

       16   Mr. Seery's trades again; isn't that right?

       17   A    If there's an investment rationale as to why they feel the

       18   trades shouldn't be done, I -- again, I feel like Mr. Dondero

       19   or the other investment professionals should be able to raise

       20   those points with Mr. Seery.

       21   Q    Do you think they should be able to stop the trades?

       22   A    I -- I -- I think they should be able to question the

       23   trades.    But flat-out stop them, I'd probably say no.

       24   Q    Then why didn't you do anything before the TRO was

       25   entered?




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        1   A    Um, I'm sorry, can you repeat the -- do anything in -- in

        2   what manner?

        3   Q    Why didn't you take any steps before the TRO was entered

        4   to stop Mr. Dondero from interfering and stopping and impeding

        5   the Debtor's trades?

        6   A    I think, as I recall, there was only one -- one set of

        7   trades in question that he stepped in on.

        8   Q    So, one is okay?    How about two?

        9   A    Or, sorry.   There were two trades on one day that -- that,

       10   you know, he questioned.    Or stepped in on.    I don't -- I

       11   don't recall him stopping any other trades thereafter.

       12   Q    That's all you know about, right?

       13   A    Correct.

       14   Q    And with that knowledge, it never occurred to you to tell

       15   Mr. Dondero to knock it off, did it?

       16   A    He believed the trades weren't in the best interest for

       17   the investors, so I did not.

       18   Q    And that's what you mean by deferring to him; isn't that

       19   right?

       20   A    From the investment perspective, yes.

       21   Q    Thank you for your -- thank you for your honesty.        As the

       22   CCO, you have never communicated with the Issuers about the

       23   Debtor's performance under the CLO management agreements;

       24   isn't that right?

       25   A    Correct.




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        1   Q    And that's because you didn't believe it was in your

        2   responsibility as the CCO to check with the Issuers to see if

        3   the Issuers believed that the Debtor was in compliance with

        4   the CLO management agreements, correct?

        5   A    That communication would have involved counsel and that

        6   communication didn't occur.     I wouldn't have reached out to

        7   them directly.

        8   Q    Yeah.   You didn't believe it was within your

        9   responsibility as the chief compliance officer to communicate

       10   with the Issuers to see if they had any views as to Mr.

       11   Seery's performance as portfolio manager, correct?

       12   A    Correct, because it would have involved me working with

       13   counsel and there was never direction to do that.

       14   Q    As the chief compliance officer of the Defendants, you

       15   have no idea if anyone on behalf of the Advisors or the Funds

       16   ever asked the Issuers whether they believed the Debtor was in

       17   default under the CLO management agreements, correct?

       18   A    Correct.

       19   Q    As the CCO, you have no idea if anyone on behalf of the

       20   Advisors or the Funds ever asked the Issuers whether they

       21   believed was in breach under the CLO management agreements,

       22   correct?

       23   A    Correct.    I believe there was a call that I wasn't a part

       24   of, that it was just involving lawyers, that I don't know what

       25   was discussed on the call.     So, correct.




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        1   Q    As the CCO, you have no idea if anyone on behalf of the

        2   Advisors or Funds ever asked the Issuers whether they believed

        3   it was appropriate to try to take steps to terminate the CLO

        4   management agreements; isn't that right?

        5   A    Correct.

        6   Q    None of the Issuers joined any of the letters that were

        7   sent on behalf of the Funds and the Advisors, right?

        8   A    I didn't -- I don't recall seeing their names listed.

        9   Q    As the CCO, you don't have any understanding as to what

       10   the standard is for terminating the CLO management agreements

       11   unless you get legal advice; isn't that right?

       12   A    Yes.   It was -- it would be a discussion with counsel,

       13   given the complexity of the agreements.

       14   Q    But as a factual matter, you're not aware of any facts

       15   that would support the termination of the CLO management

       16   agreements except that there were trades that Mr. Dondero

       17   didn't think were in the best interests of the Funds; isn't

       18   that right?

       19   A    Yes.   And because the belief was those trades weren't

       20   maximizing value for the preference shareholders.

       21               MR. MORRIS:    I move to strike everything after the

       22   word yes, Your Honor.

       23               THE COURT:    Granted.

       24               MR. MORRIS:    I have no further questions.

       25               THE COURT:    All right.   Mr. Rukavina?




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        1             MR. RUKAVINA:    Your Honor, I'll reserve my questions

        2   for my case in chief.

        3             THE COURT:    All right.     Mr. Post, that concludes your

        4   testimony for now.     Stick around.

        5       Mr. Morris?

        6             MR. MORRIS:     Your Honor, last witness, and I hope

        7   it's rather brief, actually.       The Debtor calls James Seery.

        8             MR. RUKAVINA:    Your Honor, may we have a brief

        9   restroom break, all of us in this room, before we start the

       10   next witness?

       11             THE COURT:    All right.     We'll take a five-minute

       12   restroom break.    I know part of the long day is because of my

       13   commitment at the lunch hour, but you all did estimate three

       14   or four hours for this hearing, right?        That's what I recall.

       15             MR. MORRIS:    We did.

       16             MR. RUKAVINA:    Your Honor, I was never consulted on a

       17   time estimate.    I had no idea that someone said three to four

       18   hours.

       19             THE COURT:    All right.

       20             MR. MORRIS:    And part -- part of that is my fault and

       21   the technological problems we had this morning, so I take

       22   responsibility for that, Your Honor, and I sincerely

       23   apologize.

       24             THE COURT:    Okay.   Well, just so you know, we cannot

       25   come back tomorrow.     I've got two -- too booked today tomorrow




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        1   to come back, so --

        2             MR. MORRIS:     I don't expect Mr. Seery to be more than

        3   about 15 minutes.

        4             THE COURT:    Okay.   We'll take a five-minute break.

        5             THE CLERK:    All rise.

        6        (A recess ensued from 3:22 p.m. until 3:32 p.m.)

        7             THE CLERK:    All rise.

        8             THE COURT:    All right.   Please be seated.    I wanted

        9   to clarify one thing I said, just so no one is confused.         I

       10   know that originally you had today, Wednesday, and Thursday,

       11   26th, 27th, and 28th, for confirmation.      So if anyone thought,

       12   oh, we're coming back tomorrow on this if we don't finish,

       13   because originally you had all three of those days, you know,

       14   as soon as we continued the confirmation hearing, we started

       15   filling in Wednesday.     So we have three different Chapter 11

       16   case matters set tomorrow.      And so it was, you know, you give

       17   up time and we have people usually wanting to get that time,

       18   so that's what happened.

       19        But anyway, people, we'll talk fast and we'll get it done

       20   today, right?

       21             MR. RUKAVINA:    Your Honor, my -- Your Honor?      Oh,

       22   wait.   I need to --

       23             THE COURT:    Ooh, it sounds like you're in a cave.

       24   Let's get those headphones on.

       25             MR. MORRIS:    I promise to be as quick as I can, Your




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        1   Honor.

        2              THE COURT:    Okay.   Mr. Rukavina, were you trying to

        3   say something?

        4              MR. RUKAVINA:    I was, Your Honor.     Can you hear me?

        5              THE COURT:    Yes.

        6              MR. RUKAVINA:    This darn video.    Too many -- Your

        7   Honor, we have an agreed TRO that goes through February the

        8   15th.    And I'm certainly not suggesting taking any more of the

        9   Court's time than is necessary, but I cannot commit to

       10   finishing today, especially because Mr. Morris has taken so

       11   much time.    So I think we will do our best, but I just want

       12   the Court to know that there's no urgency to this, and if we

       13   have to come back at some point after Tuesday or Wednesday,

       14   there's no possible harm to the Debtor.

       15              MR. MORRIS:    Your Honor, it's my hope that we can get

       16   this done, and I think the sooner we begin the better.

       17              THE COURT:    Okay.   Well, we're going to try to get it

       18   done.    All right, Mr. Seery.    You've called Mr. Seery to the

       19   stand now?

       20              MR. MORRIS:    Yes, Your Honor.    The Debtor calls James

       21   Seery.

       22              THE COURT:    All right.   Mr. Seery, please raise your

       23   right hand.

       24                 JAMES P. SEERY, DEBTOR'S WITNESS, SWORN

       25              THE COURT:    All right.   Thank you.




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        1                MR. MORRIS:    May I proceed?

        2                THE COURT:    You may.

        3                MR. MORRIS:    Thank you, Your Honor.

        4                              DIRECT EXAMINATION

        5   BY MR. MORRIS:

        6   Q    Good afternoon, Mr. Seery.       Can you hear me okay?

        7   A    I can, yes.

        8   Q    Okay.    Let's just cut to the chase here.      You're the CEO

        9   of the Debtor; is that right?

       10   A    That's correct.

       11   Q    And in that capacity, do you understand that the Debtor is

       12   party to contracts pursuant to which it manages certain CLO

       13   assets?

       14   A    Yes.

       15   Q    And are you personally involved in the management of those

       16   assets?

       17   A    Yes.

       18   Q    Do you have any prior experience managing other people's

       19   money or other people's assets?

       20   A    Yes.

       21   Q    Can you please explain to the Court your experience and

       22   your knowledge as to investing other people's money?

       23   A    Yes.    I was a finance lawyer -- I'll go quickly, if it's

       24   okay.   I can fill in later, if you like.       I was a finance and

       25   bankruptcy lawyer for ten years before I went to Lehman on the




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        1   business side in 1999.

        2       In that role, I started immediately in distressed

        3   investing.   I worked as part of a team of analysts and traders

        4   to build distressed positions in prop (phonetic) business,

        5   trading Lehman Brothers balance sheet at the time.       This was

        6   in 1999 and 2000.    We were one of the most significant

        7   investors on the Street, and I was part of that team, and a

        8   leading part of the team, putting on significant investments

        9   of our balance sheet, which was Lehman's money, into different

       10   kinds of stressed, distressed, high yield investments.        That

       11   included bonds, that included loans, unsecured, subordinated.

       12   Sometimes equity.    Typically, we stayed in credit, but a lot

       13   of this was very distressed credit, which often ended up as

       14   reorg equity.

       15       After that, I began running different teams for making

       16   distressed loans to companies that no one else would lend

       17   money to.    These investments were significant, anywhere from

       18   fifty to a billion dollars.    Some of the largest transactions

       19   in the world at the time were transactions I ran, like a

       20   rescue loan to PG&E for a billion dollars.      That was in 2000.

       21       After that, I continued to grow my career there, running

       22   distressed investments.    In 2005, I took over the loan

       23   business at Lehman.    That included all high-grade loans, high-

       24   yield loans, trading and sales of those loans; managing that

       25   portfolio, which was in excess of $10 or $20 billion,




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        1   depending on the time; exposure both in committed transactions

        2   as well as funded loans; the hedging of that portfolio;

        3   traders and salespeople working for me.      In addition, I had

        4   significant responsibility for the distressed book, as well as

        5   all restructuring business at Lehman.

        6       After Lehman, I -- and I was one of the people who sold

        7   Lehman -- I became a senior investing partner at RiverBirch

        8   Capital.   We were about a billion and a half dollar long/short

        9   investor, mostly stressed and distressed, but a lot of high-

       10   grade trades as well, particularly in preferred stocks.         That

       11   was a global business, but primarily U.S., Europe, some Asian

       12   investments as well.

       13       Since then, I've gotten to Highland.      I've been

       14   responsible for Highland's investments.      After the first

       15   quarter, when the performance managed by Mr. Dondero was

       16   absolutely disastrous -- we lost about $80 million in equity

       17   securities, positions that he managed, about $50 million in

       18   the Select Equity Fund, and about $30 million in the -- in the

       19   Highland internal account.    After Jefferies seized the Select

       20   account, I took over the --

       21              A VOICE:   I think Mr. Seery has sort of gone beyond

       22   the question of his background.

       23              THE WITNESS:   He's asked me if I was experienced in

       24   investing other people's money.     I was giving that background.

       25   But we -- I can stop or I can keep going, if you like.




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        1             THE COURT:    Okay.    If that was an objection, --

        2             MR. MORRIS:    Let's --

        3             THE COURT:    -- I overrule it.    Go ahead.

        4             THE WITNESS:    I've been managing that portfolio.       In

        5   addition, after Mr. Dondero left, but I actually started

        6   looking at it before that, started taking over the CLO

        7   portfolio, or taking a look at it, frankly.       We have a -- we

        8   have an experienced professional sitting on top of it, Hunter

        9   Covitz, who manages the day-to-day exposure.       But those

       10   portfolios -- we call them CLOs, Your Honor, but I think

       11   you've heard testimony before, they're not really.       Acis 7 is

       12   a CLO.   The 1.0 CLOs are very old investment vehicles that are

       13   primarily structured as, right now, closed-end investment

       14   funds.   They don't have the typical diverse portfolio of loans

       15   that a CLO has.     They have mostly reorg equity or positions in

       16   real estate and in MGM.    So the -- the securities we've been

       17   talking about in these trades are publicly-traded liquid

       18   securities that Highland took as post-reorganization equity.

       19   Q    Thank you, Mr. Seery.      Let's cut to the chase on the AVYA

       20   and the SKY.   Nobody seems to have asked you this question,

       21   but did you -- have you looked to sell AVYA and SKY securities

       22   since the time that Mr. Dondero left in October?

       23   A    I have, yes.

       24   Q    Can you please explain to the Court your investment

       25   rationale, the reason why you wanted to sell -- let's just




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        1   take them one at a time.     Let's start with AVYA.    In the last

        2   couple of months, why have you wanted to sell AVYA?

        3   A   Well, the original impetus to sell AVYA came from Mr.

        4   Covitz when it started moving up as a post-reorg security in

        5   the communications space that had -- had really performed

        6   extremely poorly post its Chapter 11.      Mr. Covitz over the

        7   summer felt we should start lightening up on that position.           I

        8   agreed.    He did that.   And Mr. Dondero eventually cut him off.

        9       As it got to the fall, what I did was I got Mr. Covitz, as

       10   well as then the analyst -- the analyst on that is Kunal

       11   Sachdev.   That's the Highland analyst on the position -- as

       12   well as Joe Sowin and Matthew Gray, who's another senior

       13   analyst.   And I looked at all of the equity positions in the

       14   CLOs and wondered why we had them.     What was the view?     Were

       15   they worth keeping?

       16       Primarily, the ones we looked at were four of the post-

       17   reorg equities that were liquid.     A company called Vistra, a

       18   company called Arch Coal.     Vistra is the old TXU, a well-known

       19   bankruptcy.   Arch Coal, another well-known bankruptcy.       Avaya,

       20   a bankruptcy; and Sky Champion, a less -- less-known

       21   bankruptcy but came out of there.

       22       Mr. Gray is the analyst on Vistra and Arch.       We

       23   determined, based upon his recommendations, not to sell those.

       24   Mr. Sachdev was the analyst on Avaya, and he believed that it

       25   had reached its peak, and even though it could continue to go




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        1   up or down -- stocks often do that -- he did not think that

        2   the value was there.    His recommendation was to sell.

        3        Mr. Sowin was in those meetings.      Prior testimony to the

        4   contrary or any statements that were said before are

        5   completely false, they're completely made up, so I know it's

        6   frustrating and I apologize for -- for being frustrated.

        7        So we decided that we would sell the Sky Champion.         A

        8   pretty simple answer.    Highland didn't have an analyst.

        9   Literally didn't have an analyst.      Nobody had a view as to

       10   what the stock was.    It just sat in there, in two CLOs,

       11   without anybody paying any attention to it.

       12        I had Matthew Gray take a look.      He felt that it was at

       13   fair value.    I did my own work on it, felt it was at fair

       14   value, notwithstanding some good tailwinds in -- secular

       15   tailwinds in the home building space, and determined that that

       16   CLO should sell those securities.

       17   Q    Thank you, sir.    Prior to his departure at Highland, did

       18   Mr. Dondero have responsibility over the management of any of

       19   the CLO assets?

       20   A    He did, yes.

       21   Q    And do you understand, do you know whether Mr. Dondero

       22   sold AVYA securities on behalf of the CLOs and on behalf of

       23   the Funds during the time that he was employed as the

       24   portfolio manager from January until October 2020?

       25   A    I do.    And he did sell those securities.    The chart you




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       1   put up, based upon our business record, is accurate, and he

       2   engaged in significant sales of those securities throughout

       3   the year.

       4   Q    Okay.

       5                MR. MORRIS:   Can we please put upon Demonstrative #1?

       6   BY MR. MORRIS:

       7   Q    Okay.    And can you just explain to the Court what this

       8   document is?

       9   A    It's a trade report, one of Highland's -- this shows the

      10   whole platform, so it's the aggregate sales.       The name of the

      11   email -- I apologize, I forgot the system; it just left my

      12   mind.    But the email you saw before is anybody on the platform

      13   used for various trades if they're part of a trading group.

      14   And that's to make sure that, across the portfolio, in its

      15   corporate platform, you aren't running into either compliance

      16   problems or allocation problems that could lead to a

      17   compliance problem.

      18   Q    So this shows sales of Avaya on these particular dates.

      19   The trade is -- the trade symbol is AVYA.      This is a liquid

      20   security.     Trades in, you know, liquid equity markets.      I

      21   believe its average trading volume is somewhere about a

      22   million and a half a day, approximately.      So you have a trade

      23   date.    You have the type of transaction.    It could be a buy or

      24   a sell.    These are all sales.    The quantity.   And then the

      25   price.    And then it would have the Fund, and then the




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        1   aggregate dollars, which is simply multiplying the price times

        2   the quantity.

        3   Q     And if we just scroll down to the end of the document,

        4   October 9th, is that around the time that Mr. Dondero left

        5   Highland?

        6   A     Right around that time.     This was coming into a number of

        7   hearings that we thought it was most important to have Mr.

        8   Dondero depart, particularly in light of some of the positions

        9   that he and his companies were taking vis-à-vis the Debtor.

       10                 MR. MORRIS:   Can we put up Demonstrative Exhibit #2,

       11   please?

       12   BY MR. MORRIS:

       13   Q     Can you explain to the Court what this is?

       14   A     Uh, --

       15                 MR. MORRIS:   And again, just for -- just for the

       16   record -- sorry to interrupt, Mr. Seery -- the backup for this

       17   information can be found at Debtor's Exhibits BBBBB to SSSSS

       18   BY MR. MORRIS:

       19   Q     Go ahead, sir.    Could you explain to the Court what this

       20   is?

       21   A     Yeah.    This is just a pretty straightforward chart showing

       22   the bars being sales and the lines being the -- the closing

       23   sale price of a buy on that day.       And so you can see, you

       24   know, with the market fallout in the early part of the year,

       25   AVYA hit a low, but like most of the securities in the market,




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        1   it has come back very strongly.     And you see Mr. Dondero's

        2   trades earlier in the year, the rest of it during the middle

        3   part of the year, sales in the third quarter, and then, when

        4   he's gone, I began selling in November and December.

        5   Q   Now, so is it fair to say that Mr. Dondero and the

        6   Defendants didn't completely impede and stop the Debtor from

        7   selling AVYA shares?

        8   A   That's fair.    What -- there's a little bit of confusion.

        9   The way the trading desk worked previously is that you have

       10   these separate companies but they're not really separate

       11   companies.   HCFMA is populated by about seven employees.       Many

       12   of them have functions across a number of different companies.

       13   HCFMA exists solely because Highland funds it.      They haven't

       14   paid fees of about three million bucks this year.       They owe

       15   $10 million related to a disastrous bailout of what was an

       16   open-end fund called Global Al a couple years ago where the

       17   SEC, you know, came in and took significant action, almost

       18   shut significant parts of Highland down.      And these traders do

       19   the trading of all the equities across the platform.

       20       So I typically would call them, and this is how we worked

       21   in the spring when I took over the internal account after the

       22   seizure by Jefferies of Mr. Dondero's management of the Select

       23   Equity account.    I would work with Joe Sowin as the trader,

       24   make decisions on what we wanted to do for the day, he would

       25   execute those trades by going out in the market with a broker,




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        1   selling them to -- to the dealer on the other side, run it

        2   through our automated system, and then the trades get closed

        3   with the back office.

        4          So there's the trade, which is your agreement to buy or

        5   sell at a particular dollar price.      That gets inputted into

        6   the OMS system, and then from there it's the back office takes

        7   over, and then ultimately securities are delivered versus

        8   payment to the counterparty.

        9   Q      Okay.   And can you just describe, you know, in one or two

       10   sentences, your interpretation of this chart and how your

       11   sales and the green bars compare to Mr. Dondero's sales and

       12   the brown bars?

       13   A      Well, the two simple obvious answers are, one, they're

       14   smaller, and two, they're at higher prices.

       15   Q      Okay.   You also traded, since Mr. Dondero's departure,

       16   securities known as SKY; is that right?

       17   A      That's correct.   It's Sky Champion Corp.   The ticker is

       18   SKY.

       19   Q      And did Mr. -- to the best of your knowledge, Dr. Mr.

       20   Dondero trade in SKY securities prior to his departure?

       21   A      I don't believe so.   As I said earlier, we didn't appear

       22   to have an analyst on that for some time.      I don't even know

       23   how far back it goes.     It was a bit of an orphan security

       24   sitting in the portfolio.     It's only -- it was only in two of

       25   the CLOs.




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        1   Q    Okay.

        2                MR. MORRIS:    Can we please put up Demonstrative #3,

        3   please?   Okay.

        4   BY MR. MORRIS:

        5   Q    And can you just explain to the judge what's depicted on

        6   this page?

        7   A    Again, similar to the last chart, you have the dollar

        8   price of the security at the close each day, throughout the

        9   year, and then the green bar showing where we began to sell

       10   securities for those CLOs.

       11   Q    And so, again, is it fair to say that Mr. Dondero and the

       12   Defendants haven't completely stopped the Debtor from engaging

       13   in SKY transactions?

       14   A    That's correct.       What we did was the so-called workaround

       15   previously mentioned, was that we decided that I would have to

       16   do the trading directly.       So I'd literally look at the stock

       17   each day, talk to the broker at Jefferies, determine what

       18   level to sell at, communicate with him throughout the day,

       19   work through transactions.       Then he reports in whether he's

       20   been able to sell and execute on our behalf.        When he's done

       21   that, then we have the back office manually enter the trades,

       22   as opposed to doing it from the automated trading desk, and

       23   then have those trades close.       So, so far, knock on wood, we

       24   haven't failed on any trades.

       25   Q    Okay.




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        1             MR. MORRIS:     We can the demonstrative down, please.

        2   BY MR. MORRIS:

        3   Q    Just two more topics here, sir.       Can we talk briefly about

        4   what efforts, if any, the Debtors have made to avoid this

        5   litigation?    I'll just ask them one at a time.     Has the Debtor

        6   made any attempt to transfer the CLO management agreements to

        7   the Defendants or to others?

        8   A    Well, our original construct of our plan was to do that.

        9   We've since determined, when we tried to do that, we got

       10   virtually no response from the Dondero interests.       The

       11   structure of the original thought of the plan was if we didn't

       12   get a grand bargain we would effectively transition a

       13   significant part of the business to Dondero entities, they

       14   would assume employee responsibilities and the operations, and

       15   then assure that the third-party funds were not impacted.

       16        As I think I testified on the -- I can't recall if it was

       17   the deposition or my prior testimony in court -- Mr. Dondero,

       18   true to his word, told me that would be very difficult, he

       19   would not agree, and he has made that very difficult.

       20        So we examined it.    We've determined that we're going to

       21   maintain the CLOs and assume them.     But we originally tried to

       22   contemplate a way to assign those management agreements.

       23   We've had --

       24   Q    All right.

       25   A    -- significant discussions with the CLO Issuers, and




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       1   they're supportive of us retaining them.

       2   Q    Okay.   You were on the -- you've been participating or

       3   listening in to the hearing throughout the day; is that right?

       4   A    I have, yes.   I apologize.     I didn't leave the screen on

       5   because I didn't want to suck up bandwidth.

       6   Q    Are you familiar with all of the K&L Gates letters that

       7   that were reviewed today?

       8   A    I am, yes.

       9   Q    Did the Debtor request that the Defendants withdraw those

      10   letters?

      11   A    Yes, we did.

      12   Q    Had the Defendants withdrawn those letters, might that

      13   have avoided this whole litigation?

      14   A    I think it would have.    What we wanted to have here is a

      15   withdrawal of the letters and an agreement by the clients for

      16   the -- the K&L Gates clients that they wouldn't interfere with

      17   the operations of the Debtor and our drive towards a plan.

      18   They could take their legal positions and object to the plan,

      19   if they like, but interfering on a day-to-day basis was

      20   unacceptable to us in terms of trying to operate this business

      21   in the most efficient manner.

      22        We specifically requested that they do that.       This is, I

      23   don't think, lost on anybody, certainly not on me in my

      24   experience here for years:     These entities are all dominated

      25   and controlled by Mr. Dondero, and each of these attacks is




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        1   specifically coordinated for the purpose of diverting the

        2   Debtor, causing confusion, and forcing us to spend estate

        3   resources.

        4   Q    Do you know if the Debtor also asked the Defendants to

        5   avoid this whole injunction proceeding by simply filing their

        6   motion to lift the stay and see if they could actually win a

        7   motion to terminate the contract?

        8   A    Well, what we did was we contemplated the best, most

        9   efficient way out, and it was either withdrawing the

       10   agreement; if they didn't agree, then we'd said you should

       11   file your stay motion immediately and let's have this

       12   determined.   We told them, short of that, if they weren't

       13   willing to do that, then we would have to put this in front of

       14   the Court to try to make sure that we could operate the

       15   business.

       16   Q    All right.   So, just to summarize, you attempted to sell

       17   the CLO management agreements, but were unable to do so; is

       18   that right?

       19   A    I would say assign.    We would have looked for a payment,

       20   there is a cure payment that we have to make, but we didn't

       21   we didn't conduct an auction for the CLO assets.

       22   Q    And to the best of your knowledge, the Defendants never

       23   withdrew the letters; is that right?

       24   A    They did not.

       25   Q    And to the best of your knowledge, the Debtors -- the




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        1   Defendants never brought their contemplated lift stay motion,

        2   right?

        3   A    They have not, no.

        4   Q    And so why did the Debtor bring this action?

        5   A    Well, quite clearly, to try to prevent the managers and

        6   Mr. Dondero and the Funds from interfering with the way that

        7   we operate the business.     We intend to continue to manage the

        8   CLOs, we intend to assume those contracts, we intend to manage

        9   them post-confirmation, after exit from bankruptcy.       And

       10   causing confusion among the employees, preventing the Debtor

       11   from consummating trades in the ordinary course, deferring

       12   those transactions, we thought put the estate at significant

       13   risk, in addition to the cost.

       14   Q    Did you hear Mr. Rukavina in the opening suggest that

       15   these might, in fact, be money-losing contracts?

       16   A    I did, yes.

       17   Q    Why would the Debtor want to assume money-losing

       18   contracts?

       19   A    They're not money losing contracts.

       20   Q    And why, why do you say that?

       21   A    They generate fee income.      So the fees on each of these

       22   CLOs get paid to the Debtor.     Now, not all of these CLOs, as I

       23   mentioned earlier, are -- none of them are ordinary CLOs,

       24   other than Acis 7.    But not all -- because they don't all have

       25   liquid assets that are able to pay their fees each quarter,




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        1   some are deferred.    There are some CLOs that will probably

        2   never pay any deferred fee because they are underwater.         Those

        3   are not CLOs that Mr. Dondero or the Funds own any of.          That's

        4   not really a surprise.    But we will continue to manage those

        5   and look for ways to exit for those investors who are

        6   noteholders who are underwater in those CLOs.

        7   Q    Okay.   Can you describe for the Court the Debtor's

        8   contentions as to how the conduct that has been adduced

        9   through today's evidence, how is the Debtor harmed by Mr.

       10   Dondero's interference in the trades and the sending of these

       11   letters?

       12   A    I think it's clear in terms of operational risk.         Being

       13   forced to construct a workaround to consummate trades that we

       14   think are in the best interest of the Funds.

       15        It's telling not only that neither Mr. Dondero nor Mr.

       16   Sowin nor -- Mr. Sowin was on the calls and agreed to the

       17   analyst view, by the way -- nor anybody from MHF ever asked me

       18   a question, their lawyers in the deposition never asked me why

       19   we were selling these securities.      They simply want to get in

       20   the way, cause additional risk to the estate, and cause

       21   additional exposure with respect to legal fees, divert our

       22   attention from trying to consummate the case.       I think that's,

       23   in my opinion, that's pretty clear.

       24   Q    Is there any concern on the part of the Debtor that

       25   that Mr. Dondero's emails and conduct is creating uncertainty




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        1   among the staff as to who's in charge?

        2   A      I think they did initially, and if they continued, they

        3   would.    Right now, the workaround is working pretty well.        We

        4   still do keep Mr. Sowin on the emails to make sure that, you

        5   know, from a compliance perspective, that our sales, he knows

        6   about; that we're not stepping on each other's markets, if you

        7   will; that we're not getting in the way that -- in the way if

        8   he wants to sell assets from a different MHF other managed

        9   asset holding, but we do have a workaround that works right

       10   now.

       11          I think the biggest risk is, because it's much more

       12   manual, you have risk of so-called fat-finger trades, where

       13   you think you're selling a thousand and you sell 10,000, you

       14   think you're executing a sale and you're executing a buy, you

       15   think you're executing from an account that has the securities

       16   and end up selling short from an account that doesn't.        So

       17   we've got to be very careful of that, but the team is doing

       18   that now.     There certainly was confusion at the start.

       19   Q      And can you just explain to the Court your view as to how

       20   the Debtor is able to -- how the Debtor will be able to

       21   service the contract on a go-forward basis?

       22   A      The CLO contracts?

       23   Q      Yes.

       24   A      We'll have a team of folks able to manage these assets

       25   with professionals that are experienced credit analysts,




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        1   equity analysts.     I think we'll be able to manage this --

        2   these assets in a pretty straightforward manner.          It's not

        3   going to be very difficult.

        4   Q    Has the Debtor been harmed through the diversion of your

        5   personal attention as CEO in responding to all of this?

        6   A    I like to think that I can juggle a lot of different

        7   things.   I would prefer not to have to be looking at the

        8   securities levels each day and feeding out securities that we

        9   determine to sell through the broker at Jefferies, who,

       10   notwithstanding, is doing a great job.         It's the job of the

       11   trader to actually do that and day-to-day -- throughout the

       12   day monitor the markets and look for the best place to sell.

       13        So do I think I'm getting the best execution?          I think the

       14   trader at Jefferies is excellent.         Do I think if a trader on

       15   the Highland side was involved every step of the way, I think

       16   it would be better.

       17   Q    Have the Debtor's professionals' attention and resources

       18   been diverted to deal with all of this stuff?

       19   A    That -- I think that's -- that's quite clear as well.

       20   It's a significant expense.

       21   Q    Okay.

       22                MR. MORRIS:    Your Honor, I have no further questions

       23   of this witness.

       24                THE COURT:    All right.   Mr. Rukavina?

       25                MR. HOGEWOOD:    Your Honor, if you please, Lee




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        1   Hogewood from North Carolina.        You've admitted me pro hac

        2   vice.   If I may do cross-examination, I would appreciate it.

        3                THE COURT:    All right.   Go ahead.

        4                MR. HOGEWOOD:    Thank you, Your Honor.

        5                                CROSS-EXAMINATION

        6   BY MR. HOGEWOOD:

        7   Q    Mr. Seery, let me ask you about the letters that came from

        8   our firm, and especially from me, beginning on December 22nd.

        9   I think you spoke about those generally.         If you need them to

       10   be called up, I think my questions will be crisp as to the

       11   letters generally, but we could certainly look at them

       12   specifically, if need be.

       13        There was initially a letter dated December 22nd, 2020,

       14   that's Debtor's Exhibit DDDD, at Docket 39.          I take it you've

       15   read that letter?

       16   A    I have, yes.

       17   Q    And it's fair to say that was a request you had seen

       18   before?

       19   A    I don't think that's fair to say, no.

       20   Q    You had not seen a request to discontinue trades until the

       21   confirmation hearing?

       22   A    I don't believe so, no.

       23   Q    Okay.    So that, that was the first time a request had been

       24   made not to trade in the CLO securities prior to confirmation?

       25                MR. MORRIS:    Objection to the form of the question.




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        1                THE COURT:    Overruled.

        2                THE WITNESS:    I --

        3                THE COURT:    Go ahead.    You can answer.

        4                THE WITNESS:    I don't recall you sending me a letter

        5   before that, but I -- if you have, then I apologize.            I

        6   thought I was pretty familiar with them, but I don't recall

        7   you sending me that request previously.

        8   BY MR. HOGEWOOD:

        9   Q    Okay.    I'm sorry.    That was the first request you had

       10   received from me, is that -- that's correct?

       11   A    Yes.

       12   Q    But there had been prior requests of a similar nature?

       13   A    Not to my recollection.        Is there a letter?

       14   Q    All right.    Well, let me -- let me move on.        You

       15   weren't intimidated by my letter, were you?

       16   A    Was I intimidated by your letter?         No, I was not

       17   intimidated.

       18   Q    And it didn't cause -- the letter itself did not cause you

       19   or the Debtor to alter your investment strategy?

       20   A    It did not, no.

       21   Q    And it did not cause you or the Debtor to refrain from

       22   operating the company in the manner that you perceived to be

       23   in its best interest?

       24   A    It did not.

       25   Q    It did not cause you to change any of your trading




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        1   decisions?

        2   A    No.

        3   Q    You and your counsel responded -- or, your counsel

        4   responded to the letter a couple of days later; isn't that

        5   correct?

        6   A    Yes.

        7   Q    And the response rejected the request that had been made

        8   and demanded that the letter be withdrawn; is that right?

        9   A    Yes.

       10   Q    So the range of communication is a set of lawyers

       11   representing adverse parties asserting their respective

       12   positions?   Is that a fair characterization of that set of

       13   communications?

       14   A    No.

       15   Q    Okay.   Would you characterize it differently?

       16   A    Yes.

       17   Q    All right.   How so?

       18   A    I believe you sent a letter with no good-faith basis,

       19   knowing what the contracts say as an experienced lawyer,

       20   knowing there was not cause, yet still making the same

       21   threats, basically couching them as a request.       But I don't

       22   think there was any good-faith exchange of ideas.       No one even

       23   asked me why I was making the trades.       I think you were aware

       24   of that.

       25   Q    You -- but you testified that, nonetheless, the letter did




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        1   not cause you to conduct yourself in any other manner than you

        2   would have conducted had you not received the letter; isn't

        3   that right?

        4   A    That's correct.

        5   Q    So I think there's some confusion, then, and I just want

        6   to clear this up.     There was earlier testimony, both at your

        7   deposition, that -- that my clients actually interfered with

        8   and caused trades not to occur on or around December 22nd and

        9   23rd of 2020.     And that's not correct.

       10                MR. MORRIS:    Objection.    Your Honor, the evidence is

       11   in the record.

       12                MR. HOGEWOOD:    Okay.   Well, let me --

       13                THE COURT:    All right.    You're going to have to

       14   rephrase.

       15   BY MR. HOGEWOOD:

       16   Q    Yeah.    Let me -- let me say it differently.         Focusing

       17   solely on December of 2020, every trade that you initiated

       18   closed; isn't that correct?

       19   A    Every trade.    Yes.    We did not fail one trade.

       20   Q    Okay.    And so the issue that you have raised in your

       21   pleading is that there were -- there was an expectation that

       22   employees of my clients would book trades, which is

       23   essentially a backroom operation, after the trade has closed.

       24   Isn't that right?

       25   A    That's incorrect.




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        1   Q   Okay.    So, once again, let me just get -- there were no

        2   trades that you initiated that failed to close; is that right?

        3   A   That's correct.

        4   Q   And nothing that was done by the Defendants resulted in a

        5   trade that you wished to make in December of 2020 to fail to

        6   occur or fail to close; isn't that right?

        7   A   That incorrect.

        8   Q   So you initiated a trade that did not close?

        9   A   Yes.

       10   Q   In December of 2020?     And when was that?

       11   A   I believe that's the case, yes.

       12   Q   And specifically what trade did not close that you

       13   initiated?

       14   A   I'd have to check the notes, but the specific trades were

       15   my attempt to initiate the trade with the desk.       Then the

       16   trading desk goes into the market and makes the sale.         Once

       17   it's inputted into the order management system, referred to as

       18   an OMS, then it gets processed for closing.       In November and

       19   in December, Mr. Dondero instructed those employees not to

       20   initiate those trades.    So there was never an agreement.       When

       21   I initiated a trade, which was the workaround you saw referred

       22   to, I quite simply called Jefferies directly and I had the

       23   back-office folks manually input it instead of the trading

       24   desk.

       25       Sorry.    I just wanted to make sure we cleared that up.




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        1   Q     No, just -- that -- that's helpful to understand.       But I

        2   think, focusing again solely on December, every trade you

        3   initiated closed?

        4   A     Every trade that I actually went and made in the market

        5   closed.

        6   Q     And indeed, if --

        7              MR. HOGEWOOD:    I observed your demonstrative

        8   exhibits, and if I could ask that the one related to the Avaya

        9   trades be called up, Mr. Morris.        is that possible?

       10              MR. MORRIS:    Yeah, sure.    Is that the first one with

       11   Mr. Dondero's trades, or do you want the chart?

       12              MR. HOGEWOOD:    The -- the -- I think it was your

       13   Demonstrative #2 that showed the timeline of the trades.

       14              MR. MORRIS:    Yeah.   You bet.

       15         (Pause.)

       16              MR. HOGEWOOD:    Thank you.    Thank you very much.

       17   BY MR. HOGEWOOD:

       18   Q     So, just so I understand this document, the bottom axis is

       19   the passage of time, and when we get into the period between

       20   November of 2020 and the end of 2020, 12/31/2020, there are --

       21   there's a green bar that has the numbers 50,000 at the top of

       22   it.   That reflects what, Mr. Seery?       The number of shares or

       23   the dollar amount of the trades?

       24   A     Number of shares.

       25   Q     And while this is not date-specific, do you know when




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      1   those sets of $50,000 trades happened?         Or --

      2   A     I don't --

      3   Q     -- 50,000 shares trades happened?

      4   A     I don't know the specific dates off the top of my head,

      5   no.

      6   Q     But looking at it just in comparison to the calendar, that

      7   -- that's awfully close to December 22nd and 23rd, is it not?

      8   A     It appears to be, yes.

      9                 MR. HOGEWOOD:    And Mr. Morris, if the I guess it's

     10   the SKY document could be pulled up as well?           I just want to

     11   be clear --

     12                 MR. MORRIS:   Demonstrative #3, please.

     13                 MR. HOGEWOOD:    Yes.   Thank you.

     14   BY MR. HOGEWOOD:

     15   Q     The   timeline on this demonstrative is similar, is it not?

     16   A     Yes, it is.

     17   Q     It's showing trades by day throughout the course of the

     18   year?

     19   A     That's correct.

     20   Q     And again, there are a significant number of trades in SKY

     21   on what looks awfully close to the few days before Christmas

     22   of 2020; is that right?

     23   A     That's correct.

     24   Q     Okay.    And this is the period of time that we're talking

     25   about there being interference by the Defendants' employees;




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        1   is that right?

        2   A    Yes.

        3   Q    Okay.    I'll move on.    So, the next letter in question was

        4   one that came the day after, on December 23rd.        Again, that

        5   was a letter from me to your counsel.        Do you recall that

        6   letter?

        7   A    Yes.

        8   Q    And the letter of the 23rd, if we need to look at it, is

        9   the EEEE, Docket 39.     You read that letter as well?

       10   A    Yes.

       11   Q    And you disagreed with the position taken in the letter?

       12   A    I'm trying to remember the specific position in that one.

       13   Was that the one threatening to try to terminate the CLOs

       14   without having checked whether there's cause?        I just don't

       15   recall.

       16   Q    Why don't we call it up, if we can?

       17                MR. HOGEWOOD:    Mr. Morris, if you could help us,

       18   because it's one of your exhibits, that would be great.           But

       19   Ms. Mather has got it up, so that's great.

       20   BY MR. HOGEWOOD:

       21   Q    Mr. Seery, can you see the December 23rd letter?

       22   A    I can, yes.

       23   Q    And I think you referred to it as a threat to terminate

       24   the portfolio management contracts?

       25   A    I wasn't sure.    That's why I was just asking if this was




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        1   that one.     I don't -- I don't recall.

        2   Q    Right.    And if you review the first page and the second

        3   page, does that confirm your recollection that that is the one

        4   related to portfolio management contracts?

        5   A    I can't see the second page.     I believe it is.    I'm not

        6   trying to --

        7   Q    Yeah, no, --

        8   A    If you represent, I'll accept it.

        9   Q    Take your time.

       10   A    (Pause.)    Yes.

       11   Q    Okay.    And I think you already said this:    You strenuously

       12   disagreed with the positions stated in the letter?

       13   A    Yes.

       14   Q    But again, you were not intimidated by the letter?

       15   A    Intimidated?    No.

       16   Q    The letter didn't cause you to change your investment

       17   strategy?

       18   A    No.

       19   Q    It didn't cause you to trade or not trade in a particular

       20   manner?

       21   A    No.

       22   Q    You continued to function the Debtor's operations as you

       23   deemed appropriate?

       24   A    Yes.

       25   Q    To your knowledge, no CLO or Issuer has taken any steps to




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        1   remove the Debtor as the portfolio manager?

        2   A    The CLO or the Issuers?

        3   Q    Yeah.    No one's -- no one's taken a position that you

        4   should -- that the Debtor should be removed as a portfolio

        5   manager?

        6   A    Not -- not from the Issuers, no.

        7   Q    And -- or, I'm sorry.      And so when you -- when you brought

        8   a distinction between the Issuer and the CLO, are you -- are

        9   you referring to CLO Holdco?

       10   A    No.

       11   Q    Okay.    Has a CLO taken steps to remove the Debtor as a

       12   portfolio manager?

       13   A    The CLO is the Issuer.

       14   Q    Okay.

       15   A    So the answer is no.

       16   Q    Okay.    So no one has -- no one has acted to take any -- to

       17   do anything as it relates to the removal of the Debtor as the

       18   portfolio manager?

       19                MR. MORRIS:    Objection to the form of the question.

       20                THE COURT:    Overruled.

       21                THE WITNESS:    I'm quite sure the CLO Issuers haven't,

       22   as they agreed and we've been working with them on an

       23   assumption.     With respect to what your clients have done, I

       24   don't know.

       25   BY MR. HOGEWOOD:




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        1   Q    But you don't have any evidence that my clients have taken

        2   any action in violation of the automatic stay to -- to move or

        3   encourage the removal of the Debtor as the portfolio manager,

        4   do you?

        5   A    Other than the letter?    No.

        6   Q    Other than the letter between me and your counsel?

        7   A    Correct.

        8   Q    All right.   So, and that letter expressly states that any

        9   of those actions that would be taken are subject to the

       10   automatic stay and the Bankruptcy Code; is that right?

       11   A    That's correct.

       12   Q    And as we sit here today, the Debtor is not in breach of

       13   any contract with any of the Issuers; is that right?

       14   A    That's correct.

       15   Q    And the letter didn't cause the Debtor to breach any

       16   contract with any Issuer, did it?

       17   A    Did not.

       18   Q    And I think you've already testified today and you also

       19   testified in deposition that you anticipate that the -- all of

       20   the CLOs will consent to the assumption of the portfolio

       21   management agreements in the context of confirmation; is that

       22   right?

       23   A    Yes.

       24   Q    And the plan supplement that you recently filed, you

       25   provide a mechanism by which the issue of for-cause




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        1   termination is to be resolved, do you not?

        2   A    I don't recall if there's a specific provision in the plan

        3   supplement.    We certainly have, either in the plan or in the

        4   plan supplement, a provision related to the gatekeeper

        5   function.

        6   Q    And that's similar to the settlement that you entered into

        7   with CLO Holdco in terms of resolving both their objection to

        8   confirmation and the lawsuit against them today; is that

        9   right?

       10   A    I believe it's similar.

       11   Q    Okay.    And the gatekeeper is the Bankruptcy Court to

       12   determine, short of a full-blown trial, that if cause exists,

       13   isn't that correct, under the plan?

       14   A    Among other functions, yes.

       15   Q    So if the Court confirms the plan, then the concerns that

       16   you have are resolved by the gatekeeper function that is the

       17   subject of this motion; is that right?

       18   A    I think it depends on the contents of the confirmation

       19   order.

       20   Q    And if the Court denies confirmation, then the stay

       21   remains in effect and the letter related to the removal of the

       22   portfolio manager was expressly subject to the stay; isn't

       23   that right?

       24   A    If the letter says it's subject to the stay?      It does say

       25   that, but it says other false things as well, so I'm not sure




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        1   -- I don't know exactly what you're asking me there.

        2   Q      All right.   It wasn't a very good question, frankly.

        3          Your counsel responded to the December 23rd letter as well

        4   and demanded a retraction; isn't that right?

        5   A      Yes.

        6   Q      And that was sort of a separate (audio gap) with counsel?

        7   A      I'm sorry.   You broke up for a second there, sir.      I'm

        8   sorry.

        9   Q      I'm sorry.   That -- that' -- let's just skip that.         You

       10   had testified that neither letter was withdrawn?

       11   A      I believe that's correct, yes.

       12   Q      Are you familiar -- and -- are you familiar with the fact

       13   that, in the response letters, your counsel insisted that

       14   there be a response and withdrawal by not later than, I

       15   believe, 5:00 on December 28th?        Do you recall that?

       16   A      I don't recall that specifically, but I accept your

       17   representation.

       18   Q      And do you know whether or not there was a response dated

       19   December 28th?

       20   A      I don't believe there was a written response.       I don't --

       21   I don't recall.

       22   Q      All right.

       23                 MR. HOGEWOOD:    Ms. Mather, can you call up

       24   Defendant's Exhibit 84, which is at Docket 45, please?         Thank

       25   you.




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        1   BY MR. HOGEWOOD:

        2   Q    So, Mr. Seery, have you ever seen this letter dated

        3   December 28?

        4   A    I believe I have, yes.

        5   Q    And this letter was not attached to the complaint nor your

        6   declaration nor the request for a TRO or preliminary

        7   injunction, was it?

        8   A    If you say it wasn't.    I don't recall specifically.

        9   Q    Okay.   So, you, by seeing this, you realize now there was

       10   a response by the 28th.     Is that right?

       11   A    Yes.

       12   Q    And in the -- let me just direct your attention to the

       13   final sentence of the first paragraph.       It says -- it makes

       14   once again clear that the -- any efforts to remove the Debtor

       15   as manager would be subject to applicable orders of the

       16   pending bankruptcy case, provisions of the Bankruptcy Code,

       17   and specifically, the automatic stay.      Do you see that?

       18   A    I apologize.    I don't see it.   Which paragraph?

       19   Q    I'm at the very last sentence of the first paragraph.

       20   There's a sentence that --

       21   A    (reading)   Subject to applicable orders in the pending

       22   bankruptcy case, provisions of the Bankruptcy Code,

       23   specifically, the automatic stay.

       24        I read that, yes.

       25   Q    Yes.    Okay.   There was some testimony about the letter




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        1   related to Mr. Dondero's eviction.      I don't intend to belabor

        2   that.    But once again, that was a letter between counsel, was

        3   it not?

        4   A    I believe it -- I believe it was.     I don't recall

        5   specifically now.     I assume -- I assume all of these were

        6   directed to counsel.

        7   Q    Right.    And again, the fact that counsel wrote a letter

        8   requesting that the eviction not occur did not change your

        9   process and you proceeded with the eviction, did you not?

       10   A    I think the letter came after Mr. Dondero was no longer

       11   permitted.    Eviction is an odd word.    He was no longer an

       12   employee, so employee not being able to come into the office

       13   and hang around and disrupt business isn't exactly an

       14   eviction.     So I disagree with your characterization there.

       15   Q    Okay.    Well, so I'll just leave that.    I mean, the --

       16   since this exchange of letters, are you aware -- I mean, there

       17   was some testimony about the Debtors presenting the Defendants

       18   with the choice of either filing a motion for relief from stay

       19   or this injunction proceeding would be brought.       Isn't that

       20   right?

       21   A    Yes.

       22   Q    And no motion for relief from stay was filed, and

       23   therefore this injection proceeding was brought.       Is that

       24   correct?

       25   A    Yes.




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        1   Q    So the other thing that you know was filed by the

        2   Defendants was an objection to confirmation, which was due on

        3   January 5th of 2020, correct?

        4   A    I'm sorry, Mr. Hogewood.      You broke up.   Did you say the

        5   other paper or pleading that was filed?

        6   Q    The pleading that was filed by the -- these who are

        7   Defendants as well as other parties to this case was an

        8   objection to confirmation, the deadline for which was January

        9   5, 2020.     Are you familiar that an objection to confirmation

       10   was filed?

       11   A    I'm familiar that one was filed, yes.

       12   Q    And so the objection to confirmation raised many of these

       13   same issues regarding the circumstances under which the

       14   various CLO agreements could be assumed; isn't that right?

       15   A    I'm not aware of the specifics of the objection.

       16   Q    Okay.    But nonetheless, my client was under no obligation

       17   to initiate yet another motion or lawsuit or pleading against

       18   the Debtor beyond objecting to confirmation, was it?

       19   A    An obligation?    No.

       20   Q    And since the objection to confirmation has been filed,

       21   there have been a number of pleadings filed in the case.          We

       22   obviously were required to respond to the motion for

       23   preliminary injunction, and it says there's been an objection

       24   filed to that.    Are you aware of that?

       25   A    That -- that you objected to the preliminary injunction?




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        1   Q      Yes.

        2   A      Yes, yes, I'm aware of that.

        3   Q      And --

        4   A      I'm very aware.

        5   Q      And you're aware that there was a proposed settlement with

        6   HarbourVest; is that correct?

        7   A      We have an approved settlement with HarbourVest.

        8   Q      Right.    And there were objections filed to that particular

        9   -- or, to that particular settlement agreement, were there

       10   not?

       11   A      Yes.

       12   Q      But none of my clients participated in that objection, did

       13   they?

       14   A      I don't recall the specifics of your clients versus the

       15   other Dondero entities, but I'm certain Mr. Dondero

       16   participated.

       17   Q      But the De... the parties that we represent did not object

       18   to the settlement?

       19   A      I don't recall specifically.

       20   Q      Okay.    And another motion that was filed was for an

       21   examiner.       Isn't that correct?

       22   A      I believe that's the case, yes.

       23   Q      Yeah.    And my clients didn't join that motion, either?

       24   A      No.    It's a bit of whack-a-mole, but they did not -- they

       25   did not -- I don't -- I don't know.         To be honest, I don't




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        1   know if they did or not.

        2   Q    All right.    Toward the end of your testimony, you were

        3   giving some information about the value of these management

        4   contracts in terms of income over the course of the coming

        5   year or two.     What is the projected revenue with respect to

        6   these management contracts?

        7   A    Do you mean the CLO 1.0 management contracts?

        8   Q    Yes.

        9   A    They generate about four-and-a-half to five million

       10   dollars a year, depending on the asset base in total, but

       11   that's accrual, as I mentioned earlier.       It doesn't all come

       12   in in cash.     It depends on the waterfall.        Expect about two-

       13   and-a-half to 2.7 million to come in per year during the

       14   course of the projected time period.

       15        (Echoing.)

       16   Q    Have you done any sort of profitability analysis on the

       17   management contracts?

       18   A    Not specifically on those contracts, no.          We look at the

       19   --

       20   Q    Okay.

       21   A    -- aggregate of the Debtor's receipts versus its costs.

       22   Q    Can you -- so, --

       23                MR. HOGEWOOD:    Ms. Mather, can you call up the

       24   disclosure statement?        This is Docket 1473.    And in

       25   particular, Page 176.




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        1   BY MR. HOGEWOOD:

        2   Q    So, I'm, Mr. Seery, I'm trying to square the 779 for the

        3   month ended -- month period ended in March '21 and no further

        4   revenue coming in on management fees with what you just said.

        5   A    I'm not -- I'm not sure why.       This should -- certainly

        6   should have the management fees according to the CLOs if this

        7   was included in the assumption of those.         We have revenue,

        8   they do generate revenue, they currently generate and they

        9   will continue to generate.

       10   Q    But this is the disclosure statement approved by the

       11   Court, right?

       12   A    Yes.   I'll have to come back and check why that for the

       13   year doesn't have it, unless we were assuming that we wouldn't

       14   receive any into the -- into this vehicle.         I just, I don't

       15   know the answer.

       16               MR. HOGEWOOD:    Your Honor, that's all the questions I

       17   have.   Thank you very much.

       18               THE COURT:    All right.   Redirect?

       19               MR. MORRIS:    Can we just leave this up on the screen

       20   for a second, very quickly, for Mr. Seery?         Can we put the

       21   document back?

       22                             REDIRECT EXAMINATION

       23   BY MR. MORRIS:

       24   Q    Mr. Seery, do you recall that the disclosure statement was

       25   approved back in November?




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        1   A    Yes.

        2                THE COURT:    Could you repeat the question?      I

        3   couldn't hear it.

        4                MR. MORRIS:    Yeah.    That is -- I don't know if

        5   somebody's phone is not on mute.

        6                THE COURT:    Yes.    Please put your device on mute if

        7   you're not the one talking.         Okay.   Someone did.   Go ahead.

        8                MR. MORRIS:    Thank you.

        9   BY MR. MORRIS:

       10   Q    Mr. Seery, do you recall that this disclosure statement

       11   was approved back in November?

       12   A    Yeah.    What I'd said earlier was that I'm not sure if the

       13   -- this plan projection conforms with our decision to maintain

       14   the CLO management contracts, and so there certainly should be

       15   revenue, while it comes in quarterly on the management fee,

       16   the base management fee.          And it's not always -- each CLO is

       17   not always able to pay it in cash.          It will depend on our

       18   ability to monetize assets, because they don't -- a lot of the

       19   assets are not cash-generative.          Some are.   For example, the

       20   Trussway loan is cash generative.           The CCS loan is not.

       21        But I'm just not sure why this doesn't show the management

       22   fees at all.     At least for the whole year, we certainly will

       23   have them, unless this is prior to the determination to assume

       24   those agreements.

       25   Q    Okay.    So if the assumption in November was that the




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        1   agreements would be assigned, there would be no revenue shown.

        2   Is that fair?

        3   A   That would have been the assumption prior to us

        4   determining that we wanted to assume them, yes.

        5   Q   Okay.     And do you recall whether the Debtor became more

        6   convinced that it would assume the contracts rather than

        7   assign them before or after the disclosure statement was

        8   approved?

        9   A   I don't recall the specific timing, but a number of things

       10   happened around this time.    First, the Dondero entities were

       11   unwilling to even engage on assignment because they were on a

       12   much more aggressive, quote, blow up the place strategy.

       13   That's Mr. Dondero's quote.

       14       Number two, we settled with HarbourVest, and that

       15   significantly increased the value of maintaining the CLO

       16   management.    The HarbourVest --   or the HCLOF entities own

       17   significant preferred shares in the 1.0 CLO structures, and

       18   having management of those and being able to monetize those in

       19   accordance with the agreement, maximizing value for the

       20   benefit of HCLOF, would be far, far better for the estate than

       21   letting these assets just sit.      We're not trying to drive the

       22   price down, because we wouldn't be in the business of trying

       23   to buy back those securities on the cheap.      We're in the

       24   business of trying to maximize value.

       25   Q   All right.




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        1               MR. MORRIS:    I have nothing further, Your Honor.

        2               THE COURT:    Any recross on that redirect?

        3               MR. HOGEWOOD:    No, thank you, Your Honor.     Appreciate

        4   the opportunity to appear before you.

        5               THE COURT:    All right.   Thank you.

        6        Mr. Seery, before we let you go, I have a couple of

        7   follow-up questions.

        8                        EXAMINATION BY THE COURT

        9               THE COURT:    These CLOs, I mean, you've said a couple

       10   of times they're not really traditional CLOs, except for the

       11   Acis 7 one.    But I have this question.      I've learned back in

       12   the Acis case most of what I know about CLOs, I suppose.           And

       13   what the witnesses told me there were they typically had a 12-

       14   year life, and then, yeah, there was some period, you know,

       15   the first five years, seven years, something like that, where

       16   it was in a reinvestment/refinancing phase, but then after

       17   that, you know, we couldn't do that anymore and it was kind of

       18   heading towards wind-down.

       19        Anyway, my long-winded question is:        Do these CLOs work

       20   generally like that or not?       Because you said they're

       21   atypical.

       22               THE WITNESS:    They -- they --

       23               THE COURT:    Go ahead.

       24               THE WITNESS:    They used to.

       25               THE COURT:    Okay.




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        1             THE WITNESS:    So these are extremely old.     These go

        2   back to 2006, '07, '08.    These are very old CLOs.     So they're

        3   far beyond their investment periods.      Some of them are coming

        4   up on their maturities on their debt.      Many of them don't have

        5   any debt at all.

        6        So you'll recall, Your Honor, that a CLO is a vehicle

        7   where you take x-hundred million -- we'll use 400 for fun --

        8   million dollars.    You ramp up $400 million of assets.       You

        9   sell off, for our purposes, $350 million of securities.         You

       10   have the AAA securities, the AAs, all the way down.       And then

       11   you have these preference shares.

       12        During a period of time, as cash is generated in the CLO,

       13   the CLO is entitled to reinvest it.      And that keeps it going.

       14   And then it gets beyond its reinvestment period and it's in

       15   what folks usually refer to as its harvest period.       That's

       16   when oftentimes, depending on where rates are, depending on

       17   asset value, the rates for the debt obligations or the rate

       18   you can receive on your assets, you may see refinancings or

       19   resets.   Otherwise, the CLOs begin to wind down.      They have --

       20   they don't have a life, like a partnership with a final date,

       21   but there's maturities on the debt and then there's an

       22   expectation that they would wind down.

       23        These CLOs -- which typically CLOs only invest in

       24   performing loans, and oftentimes, particularly Highland -- and

       25   I could regale you with stories how Highland would take




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        1   virtually non-interest-bearing, seventh lien debt -- that's a

        2   bit of an exaggeration -- but just to keep the fees going, and

        3   not actually convert to equity.        A lot of these, that wasn't

        4   an option, so they've converted to equity.         So I just have one

        5   that I happen to have on my screen, Your Honor, Gleneagles.

        6   The assets in Gleneagles (echoing) are 16 -- MGMs.

        7              THE COURT:   Okay.   Someone needs to put their phone

        8   on mute.   All right.     I'm sorry.

        9              THE WITNESS:    So it has -- it has -- the specifics

       10   aren't particularly important, but its assets are -- just this

       11   one I just pulled up; they're all a little different, and --

       12   but mostly the same -- MGM stock.        This is MGM Studios, which

       13   you read about with James Bond, a very valuable asset.             Across

       14   the Highland platform, there's roughly $500 million worth of

       15   stock.   It doesn't pay off any income.       So if it had debt --

       16   and I'm not sure if Gleneagles still has any; I'd have to

       17   switch screens; I don't believe it does; if it does, it's

       18   small -- it wouldn't get any income-generating -- that's not

       19   income generating asset.

       20        Vistra, which is the TXU stock I talked about before, is

       21   the next biggest asset.      Skyline Corporation, which was the

       22   one we were selling.      That's no longer in there.     TCI

       23   portfolio, which is a Dondero real estate asset it has, it's

       24   an old Las Vegas and Phoenix, Arizona real estate

       25   developments.    Not income-generating.      Not that they don't




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        1   have value, but this is much more like what would be referred

        2   to as a closed-end fund.       It's not going to go out and buy

        3   anything.    It can't.     It can only generate cash by selling

        4   assets, give that cash to the trustee, and then the trustee

        5   pays it through the waterfall.         And that's the way all of

        6   these CLOs work.

        7        Now, some of them do have debt.        And some of them have a

        8   lot of debt, and the preferred shares will never be worth any

        9   money, so we refer to those as being underwater.         No surprise,

       10   the Dondero-related entities don't own any of those junior

       11   securities.

       12        The -- some do have debt.      A lot of that debt is going to

       13   get paid off in the first half of the year because there'll be

       14   refinancings at Trussway and a refinancing at Cornerstone.

       15   They own debt, and that'll generate cash.         It'll go to the

       16   CLOs, go to the trustee.       First it goes to pay the obligations

       17   for the outstanding debt of the CLO, and then the asset

       18   dollars, they get put through the waterfall to pay the more

       19   junior securities.

       20               THE COURT:   Okay.    And --

       21               THE WITNESS:    And I --

       22               THE COURT:   The --

       23               THE WITNESS:    I was going to give you -- I contrast

       24   that to a more typical CLO, which is whether it's beyond its

       25   investment period or not, will have something like 150 to 250,




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        1   sometimes more, loans in it.      150 would be on the loan side.

        2   It'll own -- own those in smaller amounts.       It has

        3   requirements as to what its concentrations are in different

        4   buckets of types of assets.      It has to return -- it has to

        5   have an income-generating ability to satisfy certain covenants

        6   in its debt obligations and in the indenture.       And then it

        7   will, once it gets past its investment period, it will start

        8   to harvest those assets.

        9        There are different ways for the CLO manager to swap

       10   assets, to stay in compliance, to extend out the tenure, but

       11   usually markets start to move and there's some reason for the

       12   CLO manager to do something like a reset or a refinancing or

       13   to call the CLO.

       14        So you'll see a number -- there was one this week, and

       15   there'll be a number because of the conditions in the market

       16   -- of CLOs called by the, effectively, the equity, saying,

       17   Great time to sell, I don't need the short income, call the

       18   CLO, do a BWIC or some other way to get dollars for all of the

       19   assets, pay off all of my debt, and give me the balance of the

       20   proceeds.

       21               THE COURT:   Okay.   All right.   And the plan

       22   contemplates that these will all be wound down over a two-year

       23   period, correct?

       24               THE WITNESS:   It's not a hard -- it's not a hard

       25   period.




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        1               THE COURT:   Okay.

        2               THE WITNESS:   So it's not a two-year period.     We're

        3   going to -- we're going to manage these assets, as any asset

        4   manager would, and we've had direct discussions with some of

        5   the underlying holders, including one of the biggest investors

        6   in the world who's an investor in the CLO but also has a

        7   couple separate accounts which they want us to manage, and

        8   we'll look for opportunities, depending on the market.            We're

        9   not going to -- we're not going to just sell.         It's not a

       10   liquidation.    We're going to find opportunities where, if we

       11   believe it's the right value, we'll sell.        That doesn't mean

       12   we'll sell it all in a big chunk.       We may manage pieces.      We

       13   may hold on to some.

       14        Some of them may perform -- some of the assets may

       15   actually do things differently than others.        For example,

       16   Cornerstone, for unknown reasons, has $60 million of MGM

       17   stock, not an asset that you'd think you'd stuff into a

       18   healthcare business, but this is Highland.         That may be sold

       19   before, for example, Gleneagles sells its MGM.         It'll just

       20   depend on, you know, market and the need of the specific

       21   investor.

       22               THE COURT:   All right.   Thank you.    That's all the

       23   questions I have.

       24               THE WITNESS:   Thank you, Your Honor.

       25               THE COURT:   All right.   So, Mr. Seery, I think we're




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        1   done with you, but we hope you'll stick around for however

        2   longer this goes.

        3             THE WITNESS:    I will indeed.

        4             THE COURT:    Okay.

        5             THE WITNESS:    Thank you.

        6             THE COURT:    Does the Debtor rest, Mr. Morris?

        7             MR. MORRIS:    Yes, Your Honor.    There were those

        8   couple of documents that we had used from the different docket

        9   that we'll certainly put on the docket with the supplement

       10   witness and exhibit list.       I just wanted to point that out.

       11   And I, you know, I don't recall, frankly, if I moved into

       12   evidence each of those extras, and I'm happy to go through it,

       13   but it's very important to me that those documents be part of

       14   the record.   So --

       15             THE COURT:    Okay.    I think what you added was TTTTT,

       16   and I think I admitted it.       You moved to admit it, and I said

       17   yes, but you're going to have to file it on the docket --

       18             MR. MORRIS:    Yeah.

       19             THE COURT:    -- as a supplemental exhibit.

       20             MR. MORRIS:    Right.    And then there were the couple

       21   from the other -- let me see if I can get them.

       22             THE COURT:    I admitted everything else that you filed

       23   on the docket except UUUU, VVVV, and AAAAA.

       24             MR. HOGEWOOD:    Yeah.    And that's fine.

       25        Can we, Ms. Canty, going from Docket No. 46, can we just




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        1   call up Exhibit K to make sure that that's in evidence?

        2   Docket 46 from the Dondero adversary proceeding.

        3        Okay.    So this was the letter, Your Honor, that I used

        4   earlier today with Mr. Dondero.         If you scroll down, where I

        5   examined him on the trading.        This is what led into the

        6   December 22nd trading, if you go to the next page.          So if it's

        7   not in evidence, I would respectfully request that this

        8   document be admitted into evidence, Your Honor.

        9                MR. RUKAVINA:    Your Honor, I object.    This document

       10   is hearsay of Mr. Pomerantz.

       11                THE COURT:    Okay.

       12                MR. MORRIS:     Mr. Dondero has already -- I'm sorry,

       13   Your Honor.

       14                THE COURT:    Okay.   So this is -- I wholesale-admitted

       15   all of your exhibits with those three carved out that I

       16   mentioned.     So you're saying I've not admitted this one yet?

       17                MR. MORRIS:    I just don't recall, because this wasn't

       18   on the exhibit list. I will point out that we had no objection

       19   to the entry into the evidence of all of K&L Gates letters,

       20   and I'm really a little surprised, having heard the testimony

       21   from Mr. Dondero on this particular letter, that there would

       22   be an objection.     But I would respectfully request that it be

       23   admitted as an exception to the hearsay rule.

       24                THE COURT:    All right.   Well, I'm going to overrule

       25   the objection.     I'll admit it.




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        1        So, again, it has to be supplemented on the docket.

        2        (Debtor's Exhibit K is received into evidence)

        3               MR. MORRIS:    Yes.    And there's just one other

        4   document, Your Honor, from that same docket.           It's Exhibit D,

        5   Ms. Canty.    I just want to make sure that's in the record as

        6   well.   And I do apologize again, Your Honor.

        7               THE COURT:    Okay.

        8               MR. MORRIS:    I didn't realize until I was reading --

        9               THE COURT:    We're getting terrible distortion.       I

       10   don't know where it's coming from, but --

       11               MR. MORRIS:    Okay.    And this is, this is the email

       12   that I -- it's Mr. Dondero's own statement, so it's not even

       13   hearsay, but I just want to make sure this is part of the

       14   evidentiary record, Your Honor.        So I move for the admission

       15   of this document as well to our exhibit list.

       16               MR. RUKAVINA:    I believe this document has been

       17   admitted.    I believe -- I believe --

       18        (Echoing.)

       19               MR. RUKAVINA:    Is that us?    Testing.

       20               THE COURT:    All right.   Mike, where is that coming

       21   from?

       22        (Clerk advises.)

       23               THE COURT:    Okay.    Mike thinks it's Mr. Morris, but

       24   -- so put yourself on mute.

       25        Mr. Rukavina, go ahead.




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       1               MR. RUKAVINA:    Your Honor, I think this exhibit is in

       2   already.    If it's not, no objection.

       3               THE COURT:    All right.   So it will be admitted, and

       4   again, you need to file it as a supplement, Mr. Morris.

       5        (Debtor's Exhibit D is received into evidence)

       6               MR. MORRIS:    Yeah.   Thank you, Your Honor.       The

       7   Debtor rests.

       8               THE COURT:    All right.   Mr. Rukavina, I want to go a

       9   while longer, so let's at least -- do you have Mr. Dondero as

      10   well as Mr. Post?

      11               MR. RUKAVINA:    I do, Your Honor.     I have both.

      12               THE COURT:    Okay.    Well, let's go.   You may call your

      13   witness.

      14               MR. RUKAVINA:    Your Honor, we'll call Jason Post.

      15               THE COURT:    All right.   Mr. Post, I swore you in

      16   earlier and I consider you still under oath.           Do you

      17   understand that?

      18               MR. POST:    I do.

      19               THE COURT:    All right.   Go ahead.

      20           JASON POST, DEFENDANTS' WITNESS, PREVIOUSLY SWORN

      21               MR. RUKAVINA:    Oh, turn on the video.      Can you see

      22   how to do that?    Is Jason on the video?      Okay.    All right.

      23   Mr. Post?    Hold on a second.      I'm hearing myself.

      24               THE WITNESS:    I'm hearing the same.

      25               MR. RUKAVINA:    Let me turn down my volume.        Testing.




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        1   Okay.   Mr. Post, can you hear me?

        2                THE WITNESS:    Yes.

        3                MR. RUKAVINA:    Okay.

        4                               DIRECT EXAMINATION

        5   BY MR. RUKAVINA:

        6   Q    You were asked about some of your background and

        7   qualifications.     Just so that the record is clear, you are the

        8   chief compliance officer for both two Advisors and each of the

        9   Funds, correct?

       10   A    Correct.

       11   Q    And I think we refer to these three defendant funds as

       12   retail funds; is that correct?

       13   A    Correct.

       14   Q    Describe what we mean or what you mean by a retail fund.

       15   A    I look at it two ways.         There's private funds, which are

       16   institutional in nature, and retail funds, which are comprised

       17   of open-end funds, closed-end funds, BDCs, ETFs, and that

       18   constitutes the suite of funds that are advised by Highland

       19   Capital Management Fund Advisors and NexPoint Advisors.             And

       20   they generally have a broad swath of investors, including

       21   institutional investors, but also, you know, just regular mom-

       22   and-pop investors.

       23   Q    Okay.    So, for the Highland -- I'm sorry, for the three

       24   retail funds, how much in ballpark investments do they have in

       25   the CLOs that are at issue today?         Ballpark.




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        1   A    Maybe call it a hundred million, ballpark.      Or a hundred

        2   million, give or take.

        3   Q    Okay.   And for all of the CLOs that Highland manages that

        4   the Advisors and other Funds have an interest in, do you have

        5   an estimate of how much it manages of CLO assets?

        6   A    I believe it's approximately a billion, a little over a

        7   billion that HCMLP manages for its CLO assets.

        8   Q    Do you have an estimate of how many individual investors

        9   there are in the three retail funds?

       10   A    I -- thousands.    I don't have an exact number.

       11   Q    Okay.   And I think you mentioned some of the types.       Do

       12   you have any names of the types of investors that Her Honor

       13   might know or have heard of before?

       14   A    Off the top of my head, I do not, just -- but they're

       15   generally constituted or characterized of the investor types

       16   that I mentioned earlier.

       17   Q    Okay.   Now, these three retail funds, do they own voting

       18   preference shares in any of the CLOs that the Debtor manages?

       19   A    Yes.

       20   Q    Okay.   Do they own a majority in any of those CLOs' voting

       21   preference shares?

       22   A    In aggregate, across the three, they would.

       23   Q    Okay.

       24   A    With other CLOs.

       25   Q    What are those three CLOs, sir?




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        1   A    I believe it's Greenbrier, Graceland, and Stratford, if I

        2   recall correctly.

        3                MR. RUKAVINA:    Your Honor, have you received a

        4   couriered binder of our exhibits?

        5                THE COURT:   I have.   I've got them right here.

        6                MR. RUKAVINA:    Now I can't hear the judge.     What's

        7   she saying?

        8                THE COURT:   Yes.   I've got them.

        9                MR. RUKAVINA:    I think you're on mute, Judge.

       10                MR. VASEK:   No, you turned your volume down.

       11                MR. RUKAVINA:    Oh.   I apologize, Your Honor.

       12        So, Mr. Vasek, if you'll please put Exhibit 2 up.

       13   BY MR. RUKAVINA:

       14   Q    Mr. Post, are you the custodian of records for the Funds

       15   and Advisors?

       16   A    Yes.    We're required to keep records of ownership and

       17   trades for the Funds involved.

       18   Q    And you are an actual officer of these Funds and Advisors,

       19   correct?

       20   A    Correct.

       21   Q    Okay.    Are you familiar with this Exhibit 2?

       22   A    I am.

       23   Q    Did you participate in pulling together the underlying

       24   information with others to prepare Exhibit 2?

       25   A    I did.




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        1   Q    Does Exhibit 2 accurately reflect the current ownership of

        2   the various CLOs by the three retail funds that are --

        3   A    At the time it was put together, I believe it did.

        4   Q    And approximately when was that?

        5   A    I believe it was in the November time frame, middle of

        6   November, end of November.

        7   Q    Do you have reason to believe that the numbers we're

        8   referring to would be materially different today?

        9   A    I don't believe they would be materially different.

       10             MR. RUKAVINA:    Your Honor, I move for the admission

       11   of Exhibit 2 as a summary of underlying data.

       12             THE COURT:    All right.   Any objection?

       13             MR. MORRIS:    Yes, Your Honor.    It's hearsay.    I

       14   understand that the witness has testified to it, but just as I

       15   put in the backup for my demonstrative, where's the backup?

       16   We're just supposed to take his word for it?       There's no

       17   ability to check this.    This is not evidence.     It's a

       18   demonstrative.

       19             THE COURT:    All right.   Mr. Rukavina, do you have

       20   backup?

       21             MR. RUKAVINA:    Let me ask the witness a couple more

       22   questions.

       23   BY MR. RUKAVINA:

       24   Q    What would be the backup for this Exhibit 2?

       25   A    We'd have to pull the holdings from the intranet and that




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        1   would identify the quantity that's held by each of the

        2   respective funds and then an aggregate that, over the

        3   preference shares outstanding, would give you the percentages

        4   that are outlined in this exhibit.

        5   Q    Okay.    And is that a database that you have personal

        6   access and authority over?

        7   A    I have personal access to it.        Yes.

        8   Q    Okay.

        9                MR. MORRIS:    Your Honor, voir dire?

       10   BY MR. RUKAVINA:

       11   Q    Can you easily take that data from a computer and show it

       12   to the Court here today?

       13   A    Yes.    It would just require the CUSIPs for each of the

       14   preference shares and then plug it into the intranet and then

       15   that would provide a screenshot of the ownership of the CLOs.

       16   Q    And is this what that is, basically?

       17   A    This is an aggregation -- or, this is a percentage of the

       18   shares outstanding, the preference shares.          So what would be

       19   shown on the intranet would be the quantity and then you'd

       20   have to tie that back to the shares outstanding and that would

       21   give you the percentages that are shown on this exhibit.

       22                MR. MORRIS:    Voir dire, Your Honor?

       23                THE COURT:    I'm sorry?

       24                MR. MORRIS:    May I inquire before this --

       25                THE COURT:    Mr. Morris, is that you?    Okay.   You want




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        1   to take him on voir dire?

        2                MR. MORRIS:    Yes.

        3                THE COURT:    Go ahead.   Uh-huh.

        4                              VOIR DIRE EXAMINATION

        5   BY MR. MORRIS:

        6   Q    Yes.    Mr. Post, did you prepare this document?

        7   A    I provided information and the document was ultimately

        8   prepared by counsel.

        9   Q    So you didn't personally prepare this, right?

       10   A    I didn't personally put this chart together.

       11   Q    And you didn't personally make the calculations on this

       12   chart, right?

       13   A    I would have supplied or assisted in supplying the

       14   holdings with reference to the shares outstanding and then

       15   they would have done the math to place the percentages.

       16   Q    I'm asking a very specific question.          You didn't do the

       17   calculations necessary to come up with the percentages on this

       18   chart, right?

       19   A    Me personally, no, I did not.

       20   Q    And you can't verify that this chart is accurate, can you?

       21   A    I provided, provided the information.         Then it's a

       22   mathematical calculation.

       23   Q    Okay.    You didn't take any steps to determine the accuracy

       24   of this chart, right?         You relied on others?

       25   A    There's a -- I would have cross -- you know, maybe cross-




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        1   referenced some of the percentages against another spreadsheet

        2   that was -- that we had internally.

        3   Q    Sir, I didn't want to know what you would have done.         You

        4   didn't do anything to confirm the accuracy of all of the

        5   numbers on this page, correct?

        6   A    I believe I may have spot-checked a couple of them.          I

        7   can't recall specifically.

        8              MR. MORRIS:    Your Honor, not only don't we have the

        9   backup, but this witness isn't even competent to testify to

       10   the accuracy of the chart.     I renew my objection.

       11              THE COURT:    All right.   I sustain the objection.

       12              MR. RUKAVINA:    Your Honor, I'll --

       13              THE COURT:    It's not allowed.

       14              MR. RUKAVINA:    Going back to the -- take that down.

       15              THE COURT:    All right.   Mr. Rukavina, we're -- our

       16   connection to your office is suddenly not very good.          Both you

       17   and Mr. Post are very hard to hear.       So let's see what we can

       18   to improve.

       19              MR. RUKAVINA:    Is it a question of loudness or

       20   quality?

       21              THE COURT:    Quality.   And I heard you fine just then,

       22   but -- so let's try again.

       23                      DIRECT EXAMINATION, RESUMED

       24   BY MR. RUKAVINA:

       25   Q    Mr. Post, let's go back to those retail funds.        How are




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        1   those funds managed at the top level?

        2   A    They're overseen by a board of trustees.

        3   Q    Okay.    Do you interact with that board of trustees

        4   periodically?

        5   A    I do.

        6   Q    Okay.    Approximately how often?

        7   A    At least quarterly, and generally intervening periods.

        8   I'd probably say anywhere from every five to six weeks, if not

        9   more frequent.

       10   Q    Have you been communicating with them more frequently

       11   recently?

       12   A    Yes.

       13   Q    As the CCO of the funds, who do you ultimately report to?

       14   A    The board.

       15   Q    Is Mr. Dondero on any of those boards?

       16   A    He is not.

       17   Q    Okay.    Are those boards capable, to your experience, of

       18   making independent decisions?

       19                MR. MORRIS:    Objection to the form of the question.

       20                THE COURT:    Overruled.

       21                THE WITNESS:    I think the question, is are they

       22   capable of making independent determinations?          Yes.

       23   BY MR. RUKAVINA:

       24   Q    Okay.    Explain the interaction between the Fund Advisors

       25   and the retail funds.       What -- what does the one do for the




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        1   other, if you will?

        2   A    I'm sorry.   Can you repeat that?     I didn't -- I didn't

        3   hear the question.

        4   Q    So, we have the three retail funds.

        5   A    Yes.

        6   Q    What relationship, if any, is there between the two

        7   Advisor defendants and any retail fund defendants?

        8   A    So, there's an investment advisory agreement that the

        9   Funds have entered into with the investment advisor, and the

       10   investment advisor performs investment functions on behalf of

       11   those Funds, along with other noninvestment functions.

       12   Q    Okay.   So is it fair to conclude that, for investment

       13   purposes, the Advisors make pretty much all, if not all,

       14   decisions for the three Funds?

       15   A    Yes.

       16   Q    Okay.   What about other matters that the board might

       17   consider?    Do the Funds make -- I'm sorry.    Do the Advisors

       18   make other decisions for the Funds, or is it an advisory role?

       19   A    The Advisors may make other decisions or recommendations,

       20   which they then set forth to the board for their approval, if

       21   needed.

       22   Q    Okay.   Does the board have independent counsel?

       23   A    They do.

       24   Q    Okay.   Have you interacted before?

       25   A    I have.




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        1   Q    And is it fair to conclude that the board not only is

        2   capable of making independent decisions but has made

        3   independent decisions recently?

        4             MR. MORRIS:    Objection.    Leading.

        5             THE COURT:    Sustained.

        6             THE WITNESS:    They have.

        7             MR. RUKAVINA:    Okay.

        8             THE COURT:    That was --

        9             MR. RUKAVINA:    And we'll get --

       10             THE COURT:    You don't answer.

       11             MR. RUKAVINA:    Go into that in another bit.

       12             THE WITNESS:    Oh.   Sorry.

       13             MR. RUKAVINA:    Okay.

       14   BY MR. RUKAVINA:

       15   Q    Explain to the Court what your role as the chief

       16   compliance officer for the Advisors and the Funds is.

       17   A    I think, as you mentioned earlier, it's interaction with

       18   the board.   Also with regulatory bodies to the extent

       19   examinations occur.     It could be to ensure oversight and

       20   compliance with a fund's prospectus and SAI limitations, and

       21   then it's establishing policies and procedures and ensuring

       22   that those policies and procedures are adequate to detect any

       23   sort of violations that could occur by the Funds.

       24   Q    And are you an attorney?

       25   A    I am not.




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        1   Q    Do you frequently work with attorneys?

        2   A    I do.

        3   Q    Both in-house and external?

        4   A    Yes.

        5   Q    Good.   And do you frequently rely on the advice of

        6   counsel?

        7   A    I do.   At times will present, you know, if there is a

        8   question or an issue, present the background to either

        9   internal or external counsel and then request their advice on

       10   certain matters.

       11   Q    So when counsel was asking about why you wouldn't appear

       12   at a hearing or listen to a hearing or read a transcript of a

       13   hearing, are those the kinds of things that you would rely on

       14   counsel?

       15   A    Yes.    If counsel were to tell me to, you know, attend the

       16   hearing, I would have attended the hearing.

       17   Q    Okay.   Does -- do the Funds and Advisors also have in-

       18   house counsel?

       19   A    Yes.

       20   Q    I think we established that's D.C. Sauter?

       21   A    He's been the primary point of in-house counsel more

       22   recently, I'd say, within the past three to four months.

       23   Q    Okay.   And would you expect that perhaps he would be

       24   attending hearings and reading transcripts instead of you for

       25   some of these litigated matters?




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        1               MR. MORRIS:    Objection to the form of the question.

        2               THE COURT:    Overruled.

        3               MR. MORRIS:    Leading.

        4               THE COURT:    Overruled.

        5               THE WITNESS:    I believe he would be.

        6   BY MR. RUKAVINA:

        7   Q   Okay.    Well, the implication was made, Mr. Post, that

        8   somehow you were negligent as CCO by not following the

        9   December 16th hearing.      I'd like to know, --

       10               THE COURT:    Okay.   Could you -- could you repeat --

       11   BY MR. RUKAVINA:

       12   Q   -- Did you have counsel at the hearing and did you hear

       13   from --

       14               THE COURT:    Mr. Rukavina, start over with your

       15   question.    It was a little hard to hear.

       16               MR. RUKAVINA:    Okay.

       17   BY MR. RUKAVINA:

       18   Q   Mr. Post, the implication had been made that, because you

       19   weren't at the December 16th hearing and because you had not

       20   read the transcript, that you were somehow deficient as a CCO.

       21   I'd like to know, Did you have the benefit of outside

       22   counsel's views both before and after that hearing as to that

       23   hearing and what happened?

       24   A   Yes.

       25   Q   It's not that you put your head in the sand and ignored




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        1   what's happening, is it?

        2   A    That is correct.

        3   Q    Okay.    And is it fair to say that when you deal with

        4   compliance, you deal with complicated statutes and

        5   regulations?

        6   A    That is correct.

        7   Q    Okay.

        8                MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

        9   (garbled).

       10        (Pause.)

       11   BY MR. RUKAVINA:

       12   Q    Okay.    Taking you back to Mr. Morris's questions, do you

       13   recall Mr. Morris asking you whether you believe that any of

       14   the trades that were being discussed were deceptive?

       15                MR. MORRIS:    Hold on one second, Your Honor.    What

       16   exhibit is this?

       17                THE COURT:    I don't know.   What is it?

       18                MR. RUKAVINA:    Can you hear me, Mr. Post?

       19                THE WITNESS:    They're asking a question as to what

       20   exhibit this is.

       21                MR. RUKAVINA:    Your Honor, this is not an exhibit.

       22   This is a Commission Interpreting Regarding Standard of

       23   Conduct for Investment Advisors, an SEC regulation in

       24   conjunction with 17 CFR 276.

       25                THE COURT:    Okay.   How are we --




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        1               MR. RUKAVINA:    So, Your Honor, these are the actual

        2   regulations.

        3               THE COURT:    I mean, it's -- okay.    The answer to the

        4   question is it's not an exhibit.         You have pulled up 17 CFR

        5   part 276.    Is that what the answer is?

        6               MR. RUKAVINA:    Yes, Your Honor.    And I haven't

        7   offered this as an exhibit.

        8               THE COURT:    All right.

        9               MR. MORRIS:    You have -- Your Honor, I don't know why

       10   this is being put up on the screen now.         It's not an exhibit.

       11   It's not in the record like a couple of those that I had.            I

       12   used the statute that he relied on to cross-examine him with

       13   the 206.    I don't know what this is.      I don't know if it's

       14   accurate.    I don't know anything about it.

       15               MR. RUKAVINA:    Your Honor, this is a rule and

       16   regulation.    This is not an exhibit.       If it is an exhibit, I

       17   haven't moved to admit it yet.         I'm going to use this to

       18   refresh his memory and explain why he believed that the

       19   actions were deceptive, a door opened solely by Mr. Morris.

       20               MR. MORRIS:    His recollection hasn't -- there's no

       21   need to refresh it yet.      He hasn't even answered a question

       22   where he says, "I don't remember."

       23               THE COURT:    Okay.   I sustain the objection here.      I

       24   mean, you can ask him a question, but, again, it's kind of

       25   hard for us to tell what this is, actually.         I mean,




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        1   Commission Interpretation Regarding Standard of Conduct for

        2   Investment Advisors.       I mean, is this actually a -- I mean,

        3   it's not a statute.        I'm not even sure it's a reg.      It's --

        4                MR. MORRIS:    Okay.

        5                THE COURT:    I don't know what it is.    So, --

        6                MR. RUKAVINA:    Your Honor, we'll lay a predicate

        7   later.   First, let me ask some other questions.

        8   BY MR. RUKAVINA:

        9   Q    Again, you recall that you were asked whether, pursuant to

       10   Section 206 of the Advisers Act, you believed the trades that

       11   have been discussed were deceptive.          Do you recall?

       12   A    Yes.

       13   Q    Okay.    And you answered that you believed that they were

       14   deceptive?

       15   A    Correct.    I did.

       16   Q    As the CCO, do you have an understanding of what role, if

       17   any, conflicts of interest play in an advisor's duties under

       18   the Advisers Act?

       19   A    Yes.

       20   Q    Okay.    What is your understanding?

       21   A    All -- all known material conflicts of interests need to

       22   be disclosed -- need to be disclosed by the advisor to the

       23   underlying investors.

       24   Q    Okay.    And why, why do those conflicts of interests have

       25   to be disclosed?




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        1   A    Because an advisor could have a view that may deviate from

        2   the underlying investors' view of how the portfolio could be

        3   managed and in contradiction to it.

        4   Q    And do you have an understanding as to whether, pursuant

        5   to your experience as the CEO [sic], the Advisers Act and the

        6   SEC regulations (garbled) it require an advisor to adopt the

        7   principal's goals as opposed to his or her own goals?

        8               MR. MORRIS:    Objection to the form of the question.

        9   Your Honor, he has not been offered as an expert.         He

       10   shouldn't be permitted to provide -- this is -- this would be,

       11   at best, expert testimony.      I asked him 30 different questions

       12   about his background.       He's got no training.   He's got no

       13   licenses.    He's taken no special courses.     He doesn't have

       14   anything except on-the-job training.        This is not right.

       15               MR. RUKAVINA:    Your Honor, Mr. Morris got to ask yes-

       16   and-no questions all day, leading questions, and the witness

       17   was told that he could explain his answers.         The Court told

       18   him that.    And I am trying to explain his answer as to why he

       19   believed that these transactions were deceptive, especially

       20   because the allegation is that we willfully and intentionally

       21   violated the stay by sending letters that this witness

       22   authorized.    So understanding his understanding is very

       23   important to Your Honor's determination of the actual --

       24               THE COURT:    Well, I sustain the objection.

       25               MR. RUKAVINA:    And Mr. Morris opened this door.




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        1                  THE COURT:   You can ask him why he thought the

        2   actions were deceptive, but he's starting to go into what may

        3   or may not be CFRs and conflicts of interest.         No.   This is

        4   going well beyond asking him, Why do you think it was

        5   deceptive?       And I agree:   It's straying into expert testimony.

        6   BY MR. RUKAVINA:

        7   Q      Mr. Post, you are familiar with the December 22nd AVYA

        8   and SKY sales and transactions which you were asked about by

        9   Mr. Morris and that you previously have testified about,

       10   correct?

       11   A      Correct.

       12   Q      Okay.    How are you familiar with those sales and

       13   transactions as they were occurring?         How did you learn about

       14   them?

       15   A      There was some internal email correspondence.        If I recall

       16   from memory, at the bottom it provided fill information that

       17   Jefferies provided to, I believe, Mr. Seery and others on the

       18   email.    And then it kind of worked its way up to get the

       19   trades that had been executed administratively booked into the

       20   OMS.

       21   Q      Why did you get involved with those transactions?

       22   A      They were requesting that employees of HCMFA book those --

       23   I'm sorry, Highland Capital Management Fund Advisors -- book

       24   those into the system.        And those employees were not a party

       25   to the trade.       I don't believe --




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        1   Q    Well, let me pause you.    Let me pause you.    Those two

        2   employees, who were they?

        3   A    Joe Sowin and Matt Pearson.

        4   Q    Were they at that time employees of the Debtor?

        5   A    They were not.

        6   Q    Okay.    So, how did you come to learn about this ask that

        7   those two employees book -- book it?

        8   A    I believe there was an email that was sent to me, or I was

        9   on it.    I can't recall specifically.

       10   Q    Okay.    And did you undertake any review as to whether

       11   those two employees should or should not do what was being

       12   asked of them?

       13   A    Once it was brought to my attention, I discussed with -- I

       14   looked at it.    It looked like, pursuant to prior

       15   correspondence with -- that Joe Sowin made, he wasn't aware of

       16   the trades.

       17        You know, I also had a discussion with K&L based off of --

       18   our legal counsel based off of a prior letter that was sent,

       19   and just it didn't -- it didn't look right that they would be

       20   booking trades on behalf of the two Advisors that are named in

       21   the letters when they had nothing to do with it and weren't --

       22   weren't a part of any of the pre-trade compliance checks, et

       23   cetera.

       24   Q    What is a pre-trade compliance check?

       25   A    Well, there's an electronic system, a -- or a management




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        1   system we have, the OMS, which is called Verda (phonetic).

        2   And generally, trades are entered into the system by the

        3   portfolio manager, and they then go through pre-trade

        4   compliance checks.    And once those compliance checks are

        5   passed, they're then routed to the trading desk for direction

        6   or execution, where the executing brokers and the trading desk

        7   will then monitor that execution over the course of the day.

        8   And at the conclusion of the trading day, those trades, if

        9   they weren't already allocated, would be allocated, and then a

       10   trade would be sent to custodian prime brokers to identify the

       11   trades that occurred in the respective Funds for those -- or,

       12   on that day, and then they would then be dropped into the

       13   database and our -- the settlement team would kind of work to

       14   settle those trades or ensure that those trades were settled

       15   based off of the stipulated time frame for settlement on the

       16   trades.

       17   Q    So, in all that course of a transaction, what exactly was

       18   it that those two employees of the Advisors were being asked

       19   to do on behalf of the Debtor?      What exactly were they being

       20   asked to do?

       21   A    To just book them in the system because they are trades

       22   that already have been executed.

       23   Q    Did you stop that?

       24   A    I believe I responded and said, you know, it -- they're

       25   employees of, if I recall, employees of one of the named




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        1   Advisors, and believe those trades are in the best interest of

        2   those Advisors, and separately, you know, the Debtor has

        3   designated operators/traders that should be able to enter

        4   those trades as well, aside from Mr. Sowin and Matt Pearson.

        5   Q      So can you think of any reason why Mr. Seery would ask

        6   your employees, as with his own employees, to book these

        7   trades?

        8   A      I believe based off of past practice.

        9   Q      Okay.   But nevertheless, those two trades did not comply

       10   with internal compliance?

       11   A      They weren't run through the OMS.   We try and route trades

       12   through the order management system because there's pre-trade

       13   compliance checks that can be performed, and it reduces any

       14   sort of back-end reallocation or trade errors that may occur

       15   as a result of, you know, trades being entered after the fact,

       16   because quantities could be, you know, referenced incorrectly

       17   or funds could be identified incorrectly.

       18   Q      Based on prior practices, have these internal policies

       19   been followed when perhaps employees of the Debtor asked

       20   employees of the Advisors to take a particular action in the

       21   course of a transaction?

       22   A      Yes.

       23   Q      When internal practices are not followed, what is your

       24   job?    What are you supposed to do?

       25   A      When internal practices are followed, --




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        1   Q    Are not followed.

        2   A    Oh.    Not followed?   To the extent that they're not

        3   followed, we would question, you know, number one, why weren't

        4   they followed?    You know, we -- we try and have all trades

        5   booked in the OMS so that the necessary checks could be

        6   performed, and as I mentioned earlier, to avoid any

        7   reallocation or trade errors.       So I would then question, you

        8   know, why was this done outside of the system?

        9   Q    And if you did not get an appropriate response back to

       10   your question, what are you supposed to do?

       11   A    If I didn't get an appropriate response, would, you know,

       12   research it further and elevate it to senior management and/or

       13   any of the board if it was ultimately an issue.

       14   Q    Are you supposed to stop trades or stop the process if you

       15   see something that you believe is not compliant with your

       16   obligations and the fiduciary obligations of the Advisors?

       17   A    Yes.

       18   Q    Have you done that in the past?

       19   A    Yes.

       20   Q    Have you done that frequently, or infrequently?

       21   A    I would say it's -- it's infrequent, but they do occur.

       22   For example, if a fund is trading in a security that it's not

       23   permitted to invest in based off of a prospectus limitation,

       24   it would get flagged in the OMS and we would then not permit

       25   the trade to go forward because it could cause the breach to




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        1   go further offsides or it could cause it to go offsides.

        2   Q    Okay.    And these December 22nd trades, were they the type

        3   of, in your past experience, problematic trades like you have

        4   interfered or stopped or intervened to stop in other

        5   situations in the past?       Do you understand my question?        That

        6   was an inartful question.          Do you understand it?

        7   A    If the question is because they were done outside of the

        8   system?

        9   Q    Yes.

       10   A    And repeatedly?

       11   Q    Yes.

       12   A    I would have raised the question with the trading desk or

       13   the portfolio manager as to why that's being done, because it

       14   was not in -- not consistent with how we instruct trades be

       15   booked.

       16   Q    Did Mr. Dondero, for these December 22nd transactions,

       17   tell these two employees not to book the trades?

       18                THE COURT:    Okay.    Please repeat the question.     It

       19   was garbled.

       20                MR. RUKAVINA:    Thank you, Your Honor.

       21   BY MR. RUKAVINA:

       22   Q    For these December 22nd trades, did Mr. Dondero tell those

       23   two employees not to book the trades?

       24                MR. MORRIS:    I object, Your Honor.    No foundation.

       25   This witness has no personal knowledge to testify to this --




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        1   to answer this question.

        2                THE COURT:   Overruled.   If he knows.

        3                THE WITNESS:   I do not know.

        4   BY MR. RUKAVINA:

        5   Q    Okay.    Do you have a reason to believe that he did?

        6   A    I don't know.    I just saw the email traffic and Mr. Sowin,

        7   I believe, was questioning the trades, you know, more in the

        8   sense that he wasn't aware of them.         So, I don't -- I don't

        9   know what kind of conversations, what happened in the

       10   background, just that he -- he didn't recognized that rates.

       11   Q    Let me try it this way.     You determined that these trade

       12   would have violated the Advisors' policies and procedures,

       13   correct?

       14   A    Yes, because they were done outside of the OMS.

       15   Q    Did Mr. Dondero tell you to come to that conclusion?

       16   A    He did not.

       17   Q    Did Mr. Dondero pressure you to come to that conclusion?

       18   A    He did not.    He had indicated that there -- there are

       19   these trades, and you should take a look at it from a legal

       20   compliance perspective, which I did.

       21   Q    And you talked to K&L Gates?

       22   A    Correct.

       23   Q    And when Mr. Dondero told you to look at these trades, did

       24   he suggest to you in any way, shape, or form what you should

       25   conclude or decide to do, if anything, with respect to these




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        1   trades?

        2   A    I don't believe so.

        3   Q    Okay.    Let's go back to that question about your view that

        4   some of what Mr. Seery was doing was deceptive under the 1940

        5   Investors Act.    When did you form that view?

        6   A    I believe it was after it was identified that there was

        7   not (inaudible) on certain of the trades that were entered

        8   into at the end of the November time frame, the SKY and AVYA

        9   trades.

       10   Q    And why did you form the opinion that those trades that

       11   Mr. Seery was attempting to do or had done were deceptive

       12   under the statute that Mr. Morris asked you about?

       13   A    It was pursuant to reviewing them and supplemental

       14   discussion.    A review with the portfolio managers and then

       15   supplemental discussion with K&L be it from a (inaudible)

       16   perspective, through, you know, perform in the best interest

       17   of your clients, it was expressed that, at least with respect

       18   to preference shareholders, they were supposed to maximize

       19   value, and those sales, they're not really maximizing value.

       20        And it was also identified that the Debtor was planning to

       21   liquidate the CLOs based off of a filing within the Court

       22   within a few-year period.     And the investors -- or, the Funds

       23   that invested and the preference shareholders, or preference

       24   shares, had a longer-time view in those assets.

       25        So the sales, coupled with the short duration, or the




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        1   anticipated, you know, two-year duration, didn't line up with

        2   the investment objective that they were seeking to maximize

        3   returns.

        4   Q    To your understanding and your experience, does the

        5   servicer of the CLOs owe fiduciary duties to anyone?

        6              THE COURT:    Okay.    I cannot -- someone is flipping

        7   paper.    Please stop flipping paper.      Okay.    Repeat your

        8   question, Mr. Rukavina.

        9              MR. RUKAVINA:    Thank you, Your Honor.

       10   BY MR. RUKAVINA:

       11   Q    In your experience and in your knowledge, does the

       12   servicer of the CLOs owe fiduciary duties to anyone?

       13   A    They should, yeah, the underlying investors in the CLO,

       14   whether it be the Debtor or the equity holders.

       15   Q    Do the Advisors owe fiduciary duties to anyone?

       16              MR. MORRIS:    Your Honor, I'm sorry, I apologize.          I

       17   really do move to strike.        He's not a lawyer.     There is no

       18   foundation.    He's not here as an expert.         There's no basis for

       19   this witness to be talking about who owes who fiduciary

       20   duties.    I don't even think that's the law, what's just been

       21   stated.

       22              THE COURT:    Okay.    I sustain.

       23              MR. RUKAVINA:    Okay.

       24   BY MR. RUKAVINA:

       25   Q    Well, let me make it very easy, then.          Do you have an




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        1   understanding as to whether Advisors subject to the 1940 Act

        2   owe a fiduciary duty?

        3   A    Yes.

        4   Q    Do you have an understanding of how a conflict of interest

        5   plays into a fiduciary duty?

        6   A    Yes.

        7   Q    What is your understanding?

        8   A    If there's a material conflict of interest, it should be

        9   disclosed.

       10   Q    And what did you conclude with respect to Mr. Seery and

       11   the Debtor once the Debtor stated that it will liquidate

       12   within two years?

       13   A    That's not the investment horizon that the underlying

       14   preference shareholders have, especially with respect to the

       15   underlying assets held in those CLOs.      More or less, you're --

       16   they're now put on a clock, and those preference shareholders

       17   may have a longer-term view on the underlying assets of those

       18   CLOs.

       19   Q    Let's move on to those December 22nd and December twenty

       20   -- well, let me strike that.     You heard Mr. Seery testify that

       21   those December 22nd trades closed, correct?

       22   A    I did.

       23   Q    And did you independently look at whether that's true?

       24   A    I did.

       25   Q    And what did you conclude?




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        1   A    They showed a sale in the -- on the intranet.

        2   Q    Okay.    Let's move on to the December 22nd and December

        3   23rd letters.     Are you familiar with those letters from K&L

        4   Gates to counsel for the Debtor?

        5   A    I am.

        6   Q    And did you participate in preparing those letters?

        7   A    I did.

        8   Q    Okay.    And I think Mr. Morris asked you and I think you

        9   testified you supported or agreed with the sending of those

       10   letters.     Is that generally accurate?

       11   A    Yes.

       12   Q    Why?    Why did you support sending those letters?

       13   A    It wasn't in the best interest of the Funds pursuant to

       14   discussions with the portfolio managers and the investment

       15   objectives that they were looking to seek any of those

       16   investment in the preference -- preference securities and

       17   CLOs.

       18   Q    Was that a purpose that you were trying to achieve by

       19   sending those?

       20                THE COURT:   Repeat the question.

       21                THE WITNESS:   Ah, --

       22                THE COURT:   Repeat the question.

       23   BY MR. RUKAVINA:

       24   Q    Was that a purpose that you were trying to achieve by

       25   sending those letters?




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        1   A    Yes.   I believe there was something towards the end of one

        2   or both letters that said, to the extent, you know,

        3   transactions occur, if, for lack of better words, a courtesy

        4   heads up could be given to the Funds and the Advisor.

        5   Q    Did you intend in any way to intimidate the Debtor by

        6   authorizing or supporting the sending of those letters?

        7   A    No.

        8   Q    Did you intend in any way to violate the automatic stay by

        9   sending those letters?

       10   A    No.

       11   Q    Were you trying to engage the Debtor in a dialogue at that

       12   time as to what to do with these CLO management agreements?

       13   A    Yes.   I believe that was stated at one -- at the end of

       14   one or both of the letters.

       15   Q    And I think Mr. Morris discussed with you that the Debtor

       16   sent back letters asking you to withdraw these two letters.

       17   Do you recall that discussion?

       18   A    Yes.

       19   Q    And do you recall saying that we never withdrew these

       20   letters, right?

       21   A    Correct.

       22   Q    Why did we not withdraw these letters?

       23   A    Because we don't believe that the trades that are being

       24   entered into are in the best interest of the shareholders --

       25   i.e., the Funds.




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       1   Q    To your knowledge, did we ever, or did you ever,

       2   communicate to the Trustees or Issuers anything in the nature

       3   of instructing them to terminate the CLO management agreements

       4   with the Debtor?

       5   A    I did not.

       6   Q    To your knowledge, did anyone, for the Funds or Advisors?

       7   A    I don't believe so.

       8   Q    Did you or anyone to your knowledge communicate to the

       9   Issuers or Trustees that the process of removing the Debtor as

      10   manager should commence?

      11   A    I don't believe so.

      12   Q    Okay.    To your knowledge, have any of the Issuers or

      13   Trustees undertaken any steps to remove the Debtor or

      14   terminate these contracts?

      15                MR. MORRIS:    Objection to the extent it calls for the

      16   conduct or knowledge of the Issuers.

      17                THE COURT:    Overruled.   He can answer if he knows.

      18                THE WITNESS:    I don't believe so.

      19   BY MR. RUKAVINA:

      20   Q    Had they, is that something that you would have expected

      21   them to inform the Funds of?

      22   A    Yes.    The Funds would have received some type of

      23   notification if there was a new Advisor on the CLOs.

      24   Q    So, other than these two letters -- let me stop there.

      25   Did any discussion of trying to terminate these contracts




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        1   basically cease with the sending of these two letters and the

        2   Debtor's responsive letters?

        3   A    That's my understanding, yes.

        4   Q    Okay.    And we never did file a motion for lift stay.         Can

        5   you explain to the judge why we didn't file a motion for

        6   relief from the stay?

        7   A    It's my understanding that the intent was that the

        8   management of the CLOs was going to be heard in conjunction

        9   with the confirmation hearing.

       10   Q    And do you recall when that confirmation hearing was

       11   originally set for?

       12   A    I believe it was supposed to start today.        Or tomorrow.

       13   Q    Well, wasn't it earlier in January?        Around January 11th?

       14   A    Uh, I -- I don't recall specifically.

       15                MR. RUKAVINA:    Mr. Vasek, if we could pull up the

       16   Form CLO agreement.       What exhibit is that?

       17        (Pause.    Counsel confer.)

       18                MR. RUKAVINA:    No, that's not.

       19                THE COURT:   Can I ask what we're about to start

       20   doing?

       21                MR. RUKAVINA:    Eight.

       22                THE COURT:   Can I ask what we are about to start

       23   doing?

       24                MR. RUKAVINA:    Your Honor, I apologize.    I'm trying

       25   to find one of the CLO portfolio management agreements.            I'm




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        1   trying to pull it up for you.

        2               THE COURT:    Okay.

        3               MR. RUKAVINA:      It should be in your binder.

        4               THE COURT:    All right.   Well, --

        5               MR. RUKAVINA:      Where is it, Julian?

        6               MR. VASEK:    It should be 8.

        7               MR. RUKAVINA:      I'm sorry?

        8               MR. VASEK:    8.

        9               MR. RUKAVINA:      Your Honor, it's Exhibit 8 in your

       10   binder.

       11               THE COURT:    Exhibit --

       12   BY MR. RUKAVINA:

       13   Q       And Mr. Post, you have that in front of you, right?

       14               MR. RUKAVINA:      Mr. Vasek, if you'll go to Page 14,

       15   please.    Section 14.    Termination by the Issuer for Cause.

       16               MR. VASEK:    Okay.

       17               MR. RUKAVINA:      Your Honor, the contract speaks for

       18   itself, and I'm not about to read the contract to the Court.

       19   The Court can read.       I want to ask him certain questions about

       20   this.    And you'll note that the contract gives the requisite

       21   holders of voting preference shares certain rights.

       22               MR. MORRIS:    Your Honor, respectfully, the witness

       23   has testified that he hadn't seen any of these contracts for

       24   five or six years, until the lawyers asked him to look at it,

       25   and they told him which specific provisions to look at.




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        1        The document does speak for itself.       Counsel should just

        2   make it part of his closing argument.       There's no evidence

        3   that there's a quote/unquote Form CLO Management Agreement.

        4   And I would just respectfully suggest that this is better

        5   saved for closing argument.

        6               THE COURT:    Yes.   What are we going to do here?    He

        7   did not seem like he was an expert on these CLOs in his

        8   earlier testimony.       He hadn't read much of them until

        9   recently.    So where are we going with this?

       10               MR. RUKAVINA:    Well, Your Honor, the question, again,

       11   is -- can you hear me?      The question again is, Are we going to

       12   be enjoined from exercising any rights in the future, so I

       13   would like to take the witness through the importance from a

       14   regulatory perspective and a fiduciary perspective of some of

       15   these rights.    If Your Honor thinks that that's for closing

       16   argument, that's fine.      But I will note that that Your Honor

       17   allowed Mr. Morris for some forty minutes to read prior

       18   testimony into the record.

       19               MR. MORRIS:    I'm happy to respond if Your Honor needs

       20   me to.

       21               THE COURT:    Go ahead.

       22               MR. MORRIS:    There is a complete difference, Your

       23   Honor.   To read statements against interest, to read defense's

       24   own sworn statements that they made at a prior proceeding, as

       25   opposed to trying to get a witness who has admitted that he's




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        1   not familiar with these documents, to try to convince the

        2   Court that they said something that the witness doesn't have

        3   any personal knowledge or expertise about.          It's completely

        4   different.

        5               THE COURT:    All right.   I sustain the objection.       You

        6   can make whatever argument you want in the closing arguments

        7   about whatever provisions of whichever CLO agreements justify

        8   actions.    I guess that's where we're going.

        9               MR. RUKAVINA:    Then, if you could pull up Exhibit 78,

       10   and if Your Honor could turn to Exhibit 78.

       11               THE COURT:    All right.

       12               MR. RUKAVINA:    Is this a confidential -- Julian, what

       13   does it mean, it's confidential?        78.   Is this confidential?

       14               MR. VASEK:    It says confidential on the --

       15               MR. RUKAVINA:    Your Honor, apparently this is a

       16   confidential document, so how does the Court want to proceed

       17   on this WebEx?

       18               THE COURT:    All right.   We're stopping.    We're

       19   stopping.    We have protocols in place in this case, and people

       20   usually file motions to present things under seal or

       21   redactions.    My patience is shot, so we're going to stop.

       22   Let's talk about where we go from here.

       23               MR. MORRIS:     If I may, Your Honor?

       24               THE COURT:    Yes.

       25               MR. MORRIS:    John Morris from Pachulski Stang --




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        1             THE COURT:    Uh-huh.

        2             MR. MORRIS:     -- for the Debtor.

        3             MR. RUKAVINA:    We filed this under seal, right?

        4             MR. MORRIS:    We were --

        5             MR. RUKAVINA:    Oh, I thought we had.

        6             MR. MORRIS:     -- hoping that we would get this

        7   finished today, Your Honor, and the Debtor was really hoping

        8   to get a ruling before confirmation.       But given all that's in

        9   front of us, including the contempt hearing next Friday, just

       10   a couple of days after the confirmation hearing, I think the

       11   Debtor at this point is prepared to agree, if it's okay with

       12   the Defendants' counsel, to push this to the following week,

       13   since the -- you know, with the understanding that everybody

       14   stipulate on the record that the TRO stays in place.          And if

       15   we could have this particular motion heard, I guess, somewhere

       16   -- it's the week of February 8th, the Debtor would consent to

       17   that.

       18             THE COURT:    All right.    Do we already have a --

       19             MR. RUKAVINA:    Your Honor, can the Court --

       20             THE COURT:    -- setting that week?     Because I know we

       21   have confirmation, what, are we set for the 2nd, 3rd, and 4th?

       22   Three days next week.

       23             MR. MORRIS:    I believe -- yeah.     I think it's just

       24   two, Your Honor.   I think --

       25             THE COURT:    Okay.




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        1               MR. MORRIS:     -- confirmation is the 2nd and the 3rd,

        2   and then I think the 5th is the contempt hearing.        I'm not

        3   aware, but I don't -- I don't profess to know the entirety of

        4   the calendar.    I'm not aware of anything that's on for the

        5   following week.

        6               THE COURT:    Does it make sense to continue this to

        7   the 5th?    Because the issues are so overlapping here.       I feel

        8   like it's been a contempt hearing half of today, actually.

        9               MR. MORRIS:    Yeah.

       10               THE COURT:    So, shall we just set it for -- is it

       11   Friday, the 5th?

       12               MR. MORRIS:    It is.

       13               THE COURT:    At 9:30?

       14               MR. MORRIS:    And I think that's a great idea, yeah.

       15   Yeah.

       16               THE COURT:    What do you want to say about that, Mr.

       17   Rukavina?

       18               MR. RUKAVINA:    Thank you, Your Honor.    We're fine

       19   with that.

       20        Let me just point out, so that if the Court is impatient

       21   or frustrated, we did move Exhibit 78 to be filed under seal.

       22   The Court did enter an order allowing it to be filed under

       23   seal.   So that the Court doesn't think that somehow we were

       24   negligent in that.

       25        But February the 5th works for us.




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        1             THE COURT:    Okay.   All right.   So I have an

        2   unredacted clean copy up here, which, if and when I admit it,

        3   we will put it under seal in our exhibit room, or I guess our

        4   electronic exhibit room.

        5        So, we'll come back on the 5th at 9:30.      But I am not -- I

        6   am not done.   Yes, I am frustrated.     Yes, I'm impatient.            I

        7   have asked myself "Why are we here?" so many times today.                Why

        8   are we here?   I mean, I've had this conversation before.            I

        9   mean, we had a, as you know, a very lengthy hearing on the

       10   motion for a TRO or preliminary injunction against Mr. Dondero

       11   personally.    And I think it was Mr. Morris who said, it's a

       12   little bit like Groundhog Day.      You know, that was actually a

       13   more flattering way of describing it than I might have.             I

       14   might have said this is reminding me of Albert Einstein's

       15   definition of insanity.    You all know what I'm talking about?

       16   When you're doing the same thing over and over again and

       17   expecting a different result.

       18        And, you know, no offense, Mr. Dondero, if you're still

       19   there listening, but that's what it feels like to me.         I mean,

       20   it is -- it's the same thing over and over again.       And we've

       21   spent very, very, very little time talking about the January

       22   9th, 2020 corporate governance settlement agreement.          Of

       23   course, it was mentioned extensively in the pleadings, at

       24   least by the Debtor.    But, you know, I've heard all of this

       25   evidence today, and I'm going to hear more evidence,




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        1   apparently, on the 5th.    But Paragraph -- was it 9? --

        2   Paragraph 9 of the January 9th, 2020 settlement agreement.

        3   The order directed Mr. Dondero not to "cause any related

        4   entity to terminate any agreements with the Debtor."

        5        And, you know, I thought to myself as I was reading,

        6   preparing for this hearing, that, you know, I seem to remember

        7   those words meant so, so much to me.      And then this reply

        8   brief was filed by the Debtor at 6:00 or 7:00 o'clock last

        9   night, and it gave an excerpt of the transcript, the hearing

       10   where I approved this corporate governance settlement

       11   agreement, and I said, that language is so important to me

       12   because of my history in the Acis case, I want it in the

       13   order.   I don't even -- I don't want it merely in the term

       14   sheet, and then, of course, the order cross-references,

       15   approves the term sheet.     I want that in the order.    Because,

       16   you know, I knew, even with this highly-qualified independent

       17   board of directors, and even with this very sophisticated

       18   Creditors' Committee with very sophisticated professionals

       19   monitoring everything that happened, and having not just the

       20   monitoring rights but the standing to pursue things, I knew,

       21   even with this great system that had been negotiated in the

       22   January term sheet, there was the possibility of things

       23   happening through Dondero-controlled entities indirectly.         And

       24   so that's why we had that Paragraph 9.      So, --

       25        (Interruption.)




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        1              THE COURT:   I don't know what that was I just heard,

        2   but someone needs to put me on mute.

        3        So, I mean, we've heard a lot.        We've heard a lot, but --

        4              MR. DONDERO:   Hello?    Your Honor?    Your Honor?

        5              THE COURT:   Okay.   I --

        6              MR. DONDERO:   Hi.   Jim Dondero.

        7              THE COURT:   Oh, okay.   I'm still talking.      I'm still

        8   talking.   But I --

        9              MR. DONDERO:   Okay.

       10              THE COURT:   But I said --

       11              MR. DONDERO:   I'm sorry.

       12              THE COURT:   I said at the hearing on the preliminary

       13   injunction as to Mr. Dondero personally, do you remember what

       14   I said, I said life changed when you put your company in

       15   Chapter 11.    And, you know, even if you had stayed on as

       16   president of the Debtor, life changed.        Okay?   Because you're

       17   a debtor-in-possession.    You have to say, "Mother, may I?" to

       18   the Court.    Creditors get to object to things.       So things

       19   changed.

       20        But things really, really, really changed, you know, they

       21   changed in October 2019, and then they changed dramatically in

       22   January 2020, when independent board members were put in place

       23   and you were taken out of management.

       24        So, the reason I'm coming back to that concept is this:

       25   I've heard a lot about the preferred shareholders didn't like




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        1   the trades Mr. Seery was implementing, the sale of AVYA, the

        2   sale of SKY.    They didn't like it.    Well, I mean, I hate to

        3   say something flippant like tough luck, but really:       Tough

        4   luck.   Okay?   We all know that with a company like this, with

        5   a company like Acis, it's complicated, right?       Because you've

        6   got a fiduciary duty to your creditors to maximize value of

        7   the estate so creditors get paid in Chapter 11, right?          But

        8   meanwhile, you know, you've got to have fiduciary duties, I

        9   don't know if it's directly to preferred shareholders or just

       10   to the CLOs.    But whatever it is, you know, there may be

       11   differing views that individual preferred shareholders have.

       12   But Mr. Seery is in charge.     The Debtor is in charge.      You

       13   don't like it, I'm sorry, but he's in charge.

       14        So, you know, I thought, am I going to come in here today

       15   and see all kinds of specific contractual references, where, I

       16   don't know, somehow you have an argument that you can control

       17   buys and sells?    Of course, in this case, it would just be

       18   sells at this point.    You know, no.    I knew I wasn't going to

       19   see that.   And I haven't.

       20        So I don't know what I'm going to hear more on the 5th

       21   that is going to tilt me a different way, but right now, if I

       22   had to rule right now, this would be a total no-brainer to

       23   issue this preliminary injunction.      Okay?   I feel like it's

       24   been teed up almost like find Dondero in contempt, find these

       25   entities in contempt.    What I'm here on today is whether I




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        1   should issue a preliminary injunction, and the December

        2   letters, the emails, the communications, they lead me to

        3   believe that this preliminary injunction is needed because

        4   someone doesn't understand that Mr. Seery is in charge and the

        5   preferred shareholders, the Funds, the Advisors, they don't

        6   have the ability to interfere with what he's doing in running

        7   the company.

        8         And the threats of we're going to, you know, direct -- we

        9   may direct the CLO Issuer to terminate the Debtor:       I mean,

       10   it's just -- there's no sound business justification for that.

       11   Okay?   I don't know what we're doing, where we're going.

       12         Mr. Dondero, I said to you in December, you know, I really

       13   wanted to encourage good-faith negotiations on your possible

       14   pot plan because I thought you wanted to save your baby.         But

       15   the more I hear, the more I feel you're just trying to burn

       16   the house down.     Okay?   Maybe it's an either/or proposition

       17   with you:   I'll either get my company back or I'll burn the

       18   house down.    That's what it feels like.    And I have no choice

       19   but to enter preliminary injunctions with this kind of

       20   behavior.

       21         So, I'm very frustrated.    I'm very frustrated.   I don't

       22   know if anyone wants to say anything or we just end it on this

       23   frustrating note.

       24         Mr. Rukavina, did you want to let your client speak, or

       25   no?




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        1             MR. RUKAVINA:    Your Honor?

        2             THE COURT:   Not your client.

        3             MR. RUKAVINA:    No, but --

        4             THE COURT:   The client representative.

        5             MR. RUKAVINA:    Your Honor, I take issue with what the

        6   Court has said, but we did file a motion yesterday to file a

        7   plan under seal.    It is -- Mr. Dondero, can you mute your

        8   phone?   The Court should have seen that by now.      It is a pot

        9   plan with much more cash consideration.      We have discussed it

       10   with the Debtor and the Committee.       We are in earnest

       11   negotiations.    I have no reason to believe or disbelieve that

       12   we're close to a settlement.

       13        But recall what I said at the beginning.      We asked the

       14   Debtor to continue this hearing.     We said, You have a TRO that

       15   ends February the 15th.    Why are you doing this?     Well, the

       16   Debtor did it to smear Mr. Dondero on a very carefully crafted

       17   record, without telling you the other half of it.       And when I

       18   tried to have Mr. Post explain it, opposing counsel won't let

       19   me even tell you our views.     So there is a competing plan.       We

       20   want to try --

       21             THE COURT:   You tried to get him to testify about

       22   comments to CFRs when he has shown no expertise whatsoever --

       23             MR. RUKAVINA:    That's fine.

       24             THE COURT:   -- to permit that.

       25             MR. RUKAVINA:    And I understand, Your Honor.      I don't




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        1   want -- Your Honor has made her evidentiary rulings.          I'm not

        2   here to second-guess them.

        3       I'm telling you that Mr. Dondero -- and more importantly,

        4   the other companies, i.e., NexPoint -- we heard you loud and

        5   clear.   We did not just send forward some cocktail-napkin term

        6   sheet.   I spent the weekend and Friday preparing a

        7   comprehensive plan and disclosure statement.       I hope that the

        8   Court will allow it to be filed under seal.       Exclusivity has

        9   expired.   I am asking to file it under seal only.

       10              THE COURT:   Tell me what utility that has.      What

       11   utility does that have if you don't have one plan supporter?

       12   I mean, where are we going with this?       I have invited, I have

       13   encouraged, I have directed good-faith negotiations with the

       14   Committee.   If you don't have the Committee on board, what

       15   utility is there in allowing you to file a plan under seal?

       16              MR. RUKAVINA:   Well, if it's filed under seal, Your

       17   Honor, then, really, no one is going to be prejudiced or hurt.

       18   But we have not been told --

       19              THE COURT:   Then why --

       20              MR. RUKAVINA:   -- from the Committee --

       21              THE COURT:   Then why are we doing it?     Help me to

       22   understand the strategy.    Maybe I'm just naïve.

       23              MR. RUKAVINA:   Your Honor, there is no strategy and

       24   the Court is not naïve.    Pursuant to an agreement of the

       25   Committee and the Debtor, I sent that draft plan to them over




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        1   the weekend, and they agree it's not solicitation.        It has not

        2   gone to the creditors.      No one has seen it.

        3       The reason why we sent it to the Committee and the Debtor

        4   was to foster ongoing negotiations.      We had negotiations last

        5   night.   The Committee and the Debtor had negotiations last

        6   night.   We've been promised a response in the next couple of

        7   days, and we have a follow-up meeting scheduled for Thursday.

        8       The reason why I wanted the plan filed under seal is so

        9   that there is a record of what is being discussed so the U.S.

       10   Trustee can see it, if she wants to, and so that other key

       11   constituents, if they want to or have a reason to, can see it.

       12       But I agree with you:      That plan ain't going nowhere if we

       13   don't have some material creditor support.        We won't know that

       14   for a couple more days.

       15       So my only point in saying this to Your Honor is that we

       16   are working earnestly, we are increasing our consideration, we

       17   have heard you loud and clear, and all the parties are

       18   negotiating.

       19       Again, we did not want this hearing to happen today

       20   because it's a step backwards from negotiations, not a step

       21   forward.   Thank you.

       22              MR. POMERANTZ:    Your Honor, may I be heard?

       23              THE COURT:   Go ahead, Mr. Pomerantz.     Go ahead.

       24              MR. POMERANTZ:    Mr. Rukavina sent us over the plan,

       25   and we had no problem with it being sent to the Committee.         He




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        1   then sent us over the motion.       Now, aside from the fact that

        2   the motion contains some statements which the Debtor strongly

        3   disagrees with, with respect to the ability of administrative

        4   claims or other claims to be assumed, but putting that aside,

        5   we were concerned that the filing of a plan on the docket,

        6   unsealed, would be a distraction.

        7        Having said that, we also saw utility in the plan being

        8   put in the hands of the largest creditors so that they can

        9   evaluate what was being proposed.

       10        We told Mr. Rukavina we have no problem if the plan was

       11   filed under seal, stayed under seal until after confirmation,

       12   and then, in exchange, we would agree to something that we

       13   don't think we had to agree:     That he could send the plan to

       14   UBS, to Acis, to Redeemer, to Meta-e, to HarbourVest, and

       15   Daugherty.   Essentially, all the players in the case.        Mr.

       16   Rukavina said he would consider that, and then just filed his

       17   motion.

       18        We don't have any problem with him doing that still,

       19   sending it to the six creditors so they can look at it.          We

       20   don't think it should be unsealed on the docket.

       21        And the discussion of status of negotiations, Your Honor,

       22   as we've told you many times before, we would love there to be

       23   a plan.   We would love there to be support of a plan.        Mr.

       24   Dondero asked to approach the board and speak to the board

       25   yesterday.   We heard him out.      The plan essentially is the




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        1   same document and the same term sheet, I think, that has been

        2   floating around for several weeks.

        3        Having said that, we said, We are not going to stand in

        4   the way of Mr. Dondero and the Creditors' Committee.          And if

        5   the Creditors' Committee and Mr. Dondero have a meeting of the

        6   minds, if there's any desire of them to have more time, we

        7   would be supportive of it.      I'll let Mr. Clemente respond as

        8   to whether there's any negotiation -- (echoing.)       But when Mr.

        9   Rukavina said that last night there were negotiations between

       10   the Debtor and Mr. Dondero, that's just not accurate.         We, we

       11   look at ourselves as the honest broker.      But at the end of the

       12   day, as Your Honor has remarked many times throughout this

       13   case and just remarked a few moments ago, unless the

       14   Creditors' Committee supports this plan, it is DOA.       And we

       15   have communicated that several times to Mr. Dondero and his

       16   team.

       17        So, I just wanted to speak to correct the record.         We're,

       18   again, supportive of a plan if there can be one.       But at this

       19   point, we haven't seen anything, the parties coming any closer

       20   or any more negotiations, and we just have to get confirmed

       21   sooner rather than later (echoing), prepared to go forward.

       22             MR. CLEMENTE:    Your Honor, it's Matt Clemente at

       23   Sidley.   I'm happy to make some comments to Your Honor, --

       24             THE COURT:    Okay.

       25             MR. CLEMENTE:    -- if you -- if you wish.




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        1             THE COURT:    Please do.

        2             MR. CLEMENTE:    I think it's fair to say that the

        3   Committee believes the plan needs to go forward next week,

        4   Your Honor.   We have, of course, taken your direction very

        5   seriously, and we very seriously consider all of the

        6   communications we get from Mr. Dondero.      There exists still a

        7   material value gap in what is being offered under Mr.

        8   Dondero's plan, as well as a quality of the value.

        9        So, Your Honor, while we continue to consider the plan and

       10   what we receive from Mr. Dondero, I do not want to leave Your

       11   Honor with the impression that the Committee feels like we are

       12   close to an agreement, and we anticipate going forward with

       13   the plan next week.

       14        That being said, we of course will respond to Mr. Dondero

       15   as we review the plan, but as I sit here today, I don't

       16   believe that we are close.     But, again, the Committee will

       17   continue to review it, and we should anticipate going forward

       18   with confirmation next week.

       19             THE COURT:    All right.    So, you don't have any

       20   problem with the plan being filed under seal?

       21             MR. CLEMENTE:    Your Honor, we -- the Committee does

       22   have the plan, and I guess I'm not sure I'd see the point of

       23   having it filed it under seal.       I think it serves to confuse

       24   issues.   But, you know, hearing what Your Honor said earlier,

       25   I don't think we need to continue to bring different fights in




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        1   front of Your Honor, so I'm not sure that I see necessarily

        2   the harm in a plan being filed under seal, again, with the

        3   idea that, you know, why bring -- continue to bring fights to

        4   Your Honor if we don't need to?

        5             THE COURT:    All right.

        6             MR. CLEMENTE:    But what I do think is clear, Your

        7   Honor, that I do want to express to you is that the

        8   representations in that motion the Committee do not believe

        9   are accurate.     We do not believe that there's been a

       10   significant value increase.     We do not believe that we are

       11   close.   That would be the point that I would make in

       12   connection with a response to that motion.       So, but in terms

       13   of filing it under seal, I'm not sure the Committee has a

       14   strong feeling that that should not happen.

       15             THE COURT:    Yes.

       16             MR. RUKAVINA:    And Your Honor, very quickly, --

       17             THE COURT:    The words --

       18             MR. RUKAVINA:    -- I never represented that we're

       19   close.

       20             THE COURT:    The words I remember in the motion were

       21   significant value increase, something to that effect.         But

       22   also more recovery than the plan that's on file.

       23        (Echoing.)

       24             THE COURT:    So I was kind of darn curious to see it

       25   just for that.




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        1             MR. RUKAVINA:    And Your Honor, obviously, because

        2   there's many people on this call, I don't want to run afoul of

        3   any kind of procedures.    I'd be happy to walk Your Honor

        4   through, but I can't, not with 90 people on the call.

        5             THE COURT:    Right.

        6             MR. RUKAVINA:    I did not represent that we're close

        7   to a settlement in that motion, and I did not send the plan to

        8   those people that Mr. Pomerantz mentioned.

        9        So, right now, the Committee, the Debtor, and the

       10   employees, because they requested it after Mr. Pomerantz

       11   approved it, have what I would like to file under seal.         I'm

       12   not suggesting here today that it go any farther than being

       13   filed under seal, but at least it be there for some record.

       14             THE COURT:    Well, didn't you -- did I dream this? --

       15   didn't you say that there would be something like 48 hours for

       16   people to object or then it would be filed not under seal?

       17   Did I dream that?

       18             MR. RUKAVINA:    Your Honor, that was my proposal, and

       19   Your Honor can certainly reject that.      Mr. Pomerantz asked

       20   that the plan should never be unsealed pending confirmation of

       21   the Debtor's plan.     I have a different proposal.    Your Honor

       22   will rule and we'll comply with Your Honor's ruling.

       23             MR. DONDERO:    Jim Dondero here.    Can I have two --

       24   two quick minutes and just say two quick things?

       25             THE COURT:    Well, only if your counsel permits it.        I




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       1   don't want to get in --

       2               MR. RUKAVINA:   I just don't -- yeah.    Mr. Dondero, if

       3   you would please just not describe the substance, the economic

       4   substance of our proposed plan, not with so many people on the

       5   line.

       6               MR. DONDERO:    Sure.   I just want to make two quick

       7   points.    I couldn't apologize more for taking the Court's time

       8   today.    It wasn't our 'druthers.     You heard, I think, at least

       9   five or six hours from the Debtor.       You never once heard them

      10   say that their activities didn't violate the Advisers Act.

      11   And they never once said that violating the Advisers Act

      12   wasn't a big deal.    You know, they never said that.

      13          What they tried to say, oh, we have these other contracts.

      14   Let's try and turn this into an injunction against Dondero

      15   interfering.    But they never -- they never denied that Dondero

      16   and the NexPoint team was trying to do what was in the best

      17   interest of investors and that they had violated the Advisers

      18   Act.

      19          I think, in normal course, each side would have had an

      20   expert and you could have opined on whether it was a violation

      21   of the Advisers Act, but they know they did something wrong so

      22   they're trying to make it an injunction against me.            Okay.

      23   That's all I have to say about that point.

      24          As far as the alternative plan, Your Honor, we heard you

      25   loud and clear.    And the economics that we put forward, I




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        1   can't talk them about specifically, but they're at least 20

        2   percent better than what the Debtor has put forward as far as

        3   a plan.    And what we put forward is elegant, it's simpler, it

        4   treats the employees fairly, it gives the business continuity,

        5   it gives investors continuity, and it's not just a harsh,

        6   punitive liquidation that's going to end up in a myriad of

        7   litigation.

        8        We're paying a premium, it's a capitulation price, to try

        9   and get to some kind of settlement.      And I encourage you to

       10   look at it.    It's elegant.   It's straightforward.    It's

       11   simple.    And now that you've encouraged and gotten us up to a

       12   number that's well in excess of the Debtor, maybe a little

       13   pressure on other people to treat employees fairly, maybe not

       14   liquidate a business that's important in Dallas, that has been

       15   a big business for a number of years, doing enormous good

       16   things for a lot of people.

       17        You know, we went into bankruptcy with $450 million of

       18   assets and almost no debt.     And we've been driven into the

       19   ground by the process.    And then the plan is to just harshly

       20   liquidate going forward.     I -- I -- it's crazy.    I don't know

       21   what else to do to stop the train other than what we've

       22   offered.

       23              THE COURT:   All right.   Well, I hear what you're

       24   saying, and I do, just because -- I don't know if you left the

       25   room or not, but we did have discussion of Section 206 of the




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        1   Investment Advisers Act today.      It was put on the screen.     Mr.

        2   Post was asked what was unlawful as far as what had happened

        3   here, what was going on here, what was fraudulent, deceptive,

        4   or manipulative, in parsing through the words of the statute.

        5   And he said Mr. Seery engaged in deceptive acts because he

        6   wasn't trying to maximize value.      Okay?   I'm not an expert on

        7   the Investment Advisers Act, but I know that that was not a

        8   deceptive act.

        9        And so I'll allow the plan to be filed under seal, but

       10   it's not going to be unsealed absent an order of the Court.

       11   Okay?   So we'll just leave it at that for now.      And while I

       12   still encourage good-faith negotiations here, I've said it

       13   umpteen times, where you're tired of the cliché, probably:

       14   The train is leaving the station.      And if you want the Court

       15   to have patience in the process and if you want the parties to

       16   cooperate in good faith, it might help if we didn't have

       17   things like Dugaboy and Get Good Trust filing a motion for an

       18   examiner 15 months into the case.

       19        I mean, it feels to me, Mr. Dondero, whether I'm right or

       20   wrong, that it's like you've got a twofold approach here:         I

       21   either get the company back or I burn the house down.         And I'm

       22   telling you right now, if we don't have agreements, --

       23             MR. DONDERO:    That's not true.

       24             THE COURT:    -- if we don't have agreements and we

       25   come back on the 5th for a continuation of this hearing and a




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        1   motion to hold you in contempt, you know, I'm leaning right

        2   now, based on what I've heard so far, and I know I haven't

        3   heard everything, but I'm leaning right now towards finding

        4   contempt and shifting a whole bundle of attorneys' fees.

        5   That, to me, seems like the likely place we're heading.

        6       I mean, I commented at the December hearing on the

        7   preliminary injunction against you personally that it had been

        8   like a $250,000 hearing, I figured, okay, just guesstimating

        9   everybody's billable rate times the hours we spent.       Well,

       10   here we were again, and I know we've got all this time outside

       11   the courtroom preparing, taking depositions.      I mean, what

       12   else is a judge to think except, by God, let's drive up

       13   administrative expenses as much as we can; if we can't win,

       14   we're going to go down fighting?     That's what this looks like.

       15   Okay?   So if it's not really what's going on, then you've got

       16   to work hard to change my perceptions at this point.

       17             MR. RUKAVINA:    Your Honor, I hear everything what

       18   you're saying, and I'm going to discuss it very bluntly with

       19   my clients.   But we're being asked not to exercise contract

       20   rights in the future.     This is not a contempt hearing.     And

       21   Your Honor, we did ask and offered the estate a million

       22   dollars, found money, plus to waive almost all our plan

       23   objections, if they would just put this case on pause for 30

       24   days.

       25       So we are trying.     We are trying creative solutions here.




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        1   We know that the train is leaving.       We've put our money where

        2   our mouth is.   We will continue trying.     But Your Honor, this

        3   is not a contempt proceeding, and my clients are not Mr.

        4   Dondero.   You've heard they're independent boards.

        5              MR. POMERANTZ:   I can't leave that last comment

        6   without a response.     Yes, there was an offer of a million

        7   dollars, by an entity that owes the estate multiples of that.

        8   So they are offering to pay us something that they already owe

        9   us.   So Mr. Rukavina continues try to do this.      We will not

       10   stand for it.

       11              MR. RUKAVINA:    That is not a fair statement, sir.      I

       12   misrepresented nothing.     We were offering you a million

       13   dollars, with no conditions, earned upon receipt, with no

       14   credit, no deduction for any of our liability.       So you're free

       15   to say no, sir, but you're not going to tell the judge that I

       16   misrepresented something.

       17              THE COURT:   All right.

       18              MR. POMERANTZ:    Should tell the Court --

       19              THE COURT:   You know what?

       20              MR. POMERANTZ:    -- that that entity owed the Debtor.

       21              THE COURT:   You know what?    You know what?      I am more

       22   focused on, Mr. Rukavina, your comment that this Court can't

       23   enjoin your clients from exercising contractual rights when,

       24   again, in January of 2020, the representation was made and it

       25   was ordered, "Mr. Dondero shall not cause any related entity




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        1   to terminate any agreements with the Debtor."        Okay?    That was

        2   -- go back and look at the transcript.      That was so meaningful

        3   to me.

        4        We were facing a possible trustee.      And that's what I did

        5   in the Acis case.    Okay?    I had a Chapter 11 trustee.      And it

        6   was not a perfect fit, to be sure.      But it is where we were

        7   heading in this case, had the lawyers and parties not

        8   negotiated what they did.     That was a very important

        9   provision, convincing me that, you know what, I think the

       10   structure they've got will be better than a trustee.          And it

       11   has, for the most part.      But the fees have gone out the roof,

       12   and I lay that at the feet of Mr. Dondero, for the most part.

       13   Okay?    We have a bomb thrown every five minutes by either him

       14   personally or the Dugaboy or the Get Good Trust or the Funds

       15   or the Advisors or I don't know who else.       Okay?

       16        So the train is leaving the station, unless you all come

       17   to me and say, okay, we've maybe got a -- Mr. Pomerantz's word

       18   -- grand solution here.      Okay?   If you get there in the next

       19   few days, wonderful.    Okay?   But I don't know what else to say

       20   except I'm tired of the carpet-bombing, and if I had to rule

       21   this minute, there would be a huge amount of fee-shifting for

       22   what we went through today, for what we went through in

       23   December, for the restriction motion that, after I called it

       24   frivolous, the lawyers were sending letters pretty much

       25   regurgitating the same arguments.       All right.   So, not a happy




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        1   camper.

        2        But upload your order on the motion to seal the plan.

        3   And, again, it's not going to be unsealed absent a further

        4   order of the Court.      And if you all come to me next week and

        5   say, hey, we've got something in the works here, okay, I'll

        6   consider unsealing it and letting you go down a different

        7   path.    But I'm not naïve.    I feel like this is just more

        8   burning the house down, maybe.        I don't know.    I hope I'm

        9   wrong.    I hope I'm wrong.    But all right.    So I guess we'll

       10   see you next week.

       11              MR. POMERANTZ:     Thank you, Your Honor.

       12              MR. MORRIS:    Thank you, Your Honor.

       13              THE COURT:    All right.    We're adjourned.

       14              MR. RUKAVINA:    Thank you, Your Honor.

       15              THE CLERK:    All rise.

       16        (Proceedings concluded at 6:08 p.m.)

       17                                   --oOo--

       18

       19

       20                                 CERTIFICATE

       21        I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
       22   above-entitled matter.
       23     /s/ Kathy Rehling                                     01/28/2021

       24   ______________________________________                ________________
            Kathy Rehling, CETD-444                                   Date
       25   Certified Electronic Court Transcriber




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                          IN THE UNITED STATES BANKRUPTCY COURT
        1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
        2
                                          )     Case No. 19-34054-sgj-11
        3   In Re:                        )     Chapter 11
                                          )
        4   HIGHLAND CAPITAL              )     Dallas, Texas
            MANAGEMENT, L.P.,             )     Friday, January 8, 2021
        5                                 )     9:30 a.m. Docket
                      Debtor.             )
        6                                 )
                                          )
        7   HIGHLAND CAPITAL              )     Adversary Proceeding 20-3190-sgj
            MANAGEMENT, L.P.,             )
        8                                 )
                      Plaintiff,          )     PRELIMINARY INJUNCTION
        9                                 )     HEARING [#2]
            v.                            )
       10                                 )
            JAMES D. DONDERO,             )
       11                                 )
                      Defendant.          )
       12                                 )
       13                       TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
       14                    UNITED STATES BANKRUPTCY JUDGE.

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     1   APPEARANCES, cont'd.:
     2   For James Dondero,             D. Michael Lynn
         Defendant:                     John Y. Bonds, III
     3                                  Bryan C. Assink
                                        BONDS ELLIS EPPICH SCHAFER
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         Advisors:                      MUNSCH HARDT KOPF & HARR, P.C.
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        1              DALLAS, TEXAS - JANUARY 8, 2021 - 9:41 A.M.

        2              THE COURT:    All right.   We are here for Highland

        3   Capital Management, L.P. versus James Dondero, a preliminary

        4   injunction hearing.      This is Adversary 20-3190.

        5        All right.    Let's start out by getting appearances from

        6   counsel.   First, for the Plaintiff/Debtor, who do we have

        7   appearing?

        8              MR. MORRIS:    Your Honor, John Morris; Pachulski Stang

        9   Ziehl & Jones.    I'm here with my partner, Jeff Pomerantz, and

       10   others.

       11              THE COURT:    All right.   Good morning.   All right.

       12   For Mr. Dondero, who do we have appearing?

       13              MR. LYNN:    Michael Lynn, together with John Bonds,

       14   for Mr. Dondero.

       15              THE COURT:    Good morning.

       16        All right.    I know we have a lot of parties in interest

       17   represented on the video or phone today.       I'm not going to go

       18   through a roll call, other than I'll see if we have the

       19   Committee, the Unsecured Creditors' Committee counsel on the

       20   line.   Do we have anyone appearing for them?

       21              MR. CLEMENTE:    Yes, good morning, Your Honor.

       22   Matthew Clemente from Sidley Austin on behalf of the

       23   Committee.

       24              THE COURT:    Okay.   Thank you.   All right.

       25              MR. CLEMENTE:    Thank you, Your Honor.




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        1             THE COURT:    Well, as I said, I'm not going to do a

        2   roll call.   I don't think we had any specific parties in

        3   interest, you know, file a pleading, or any other parties

        4   other than the Debtor and Mr. Dondero in this adversary.        So

        5   I'll just let the others kind of listen in without appearing.

        6        All right.   Mr. Morris, are you going to start us off this

        7   morning with, I don't know, an opening statement or any

        8   housekeeping matters?

        9             MR. MORRIS:    I have both an opening statement and

       10   housekeeping matters.    I just wanted to see if Mr. Pomerantz

       11   has anything he wants to convey to the Court before I begin.

       12             MR. POMERANTZ:    (garbled)

       13             THE COURT:    Mr. Pomerantz, if you could take your

       14   device off mute, please.

       15             THE CLERK:    He's off mute.   I don't know what --

       16             THE COURT:    Okay.   Well, we're showing you're not on

       17   mute, but we can't hear you.     What now?

       18             THE CLERK:    He's not on mute now.    He's --

       19             THE COURT:    Okay.   Go ahead, Mr. Pomerantz.

       20        (Pause.)

       21             THE CLERK:    He's not coming through.

       22             THE COURT:    We're -- you're not coming through, and

       23   we're not sure what the problem is.      We're not showing you on

       24   mute.

       25        (Pause.)




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        1               THE COURT:    All right.   Should we have him call back

        2   in on his phone?    All right.      If you could, if you have a

        3   phone, maybe you can try calling in on your phone and speak

        4   through your phone, not your computer.

        5               MR. MORRIS:    You know what, Your Honor?     I'm going to

        6   proceed, and Mr. Pomerantz will address the Court at the

        7   conclusion of the hearing on the motion.

        8               THE COURT:    Okay.   Very good.   We usually hear him

        9   loud and clear, so I don't know what's going on this morning.

       10   Go ahead, Mr. Morris.

       11              OPENING STATEMENT ON BEHALF OF THE PLAINTIFF

       12               MR. MORRIS:    Yes.   Thank you very much, Your Honor.

       13   John Morris; Pachulski Stang; for the Debtor.

       14          We are here this morning, Your Honor, on the Debtor's

       15   motion for preliminary injunction against Mr. Dondero.         We

       16   filed last night also an emergency motion for an order to show

       17   cause as to why this Court should not hold Mr. Dondero in

       18   contempt of court --

       19               THE COURT:    All right.

       20               MR. MORRIS:    -- for violating a previously-issued

       21   TRO.

       22               THE COURT:    Yes.    Let me just interject, in case

       23   there's any confusion by anyone.        I am not going to hear the

       24   motion for show cause order this morning.        While I understand

       25   you think there might be some efficiency and overlap in




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        1   evidence, it's not enough notice.      So we'll talk about

        2   scheduling that at the end of the presentations this morning.

        3   All right?

        4             MR. MORRIS:    Thank you for addressing that, Your

        5   Honor.

        6             THE COURT:    Okay.

        7             MR. MORRIS:    Your Honor, then let's just proceed

        8   right to the preliminary injunction motion.       There is ample

        9   evidence to support the Debtor's motion for a preliminary

       10   injunction.   There would have been substantial evidence to

       11   support it based on the conduct that occurred prior to the

       12   issuance of the TRO, but the conduct that did occur following

       13   the TRO only emphasizes the urgent need for an injunction in

       14   this case.

       15        I want to begin by just telling Your Honor what evidence

       16   we intend to introduce here today.      We filed at Docket 46 in

       17   the adversary proceeding our witness and exhibit list.          The

       18   exhibit list contains Exhibits A through Y.       And at the

       19   appropriate time, I will move for the admission into evidence

       20   of those exhibits.

       21        The exhibit list and the witness list also identifies

       22   three witnesses for today.      Mr. Dondero.   Mr. Dondero is here

       23   today.   Notwithstanding Your Honor's comments on December 10th

       24   and on December 16th, when I deposed him on Tuesday he was

       25   unsure whether he was going to come here today to testify.




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        1   And he will inform Your Honor of that on cross-examination.

        2   And so the Debtor was forced to prepare and serve a subpoena

        3   to make sure that he was here today.      But Mr. Dondero is here

        4   today.

        5        Following the conclusion of Mr. Dondero's deposition on

        6   Tuesday, and based in part on the evidence adduced during that

        7   deposition, the Debtor terminated for cause Scott Ellington

        8   and Isaac Leventon.    We had asked counsel for those former

        9   employees to accept service of a trial subpoena so that they

       10   would appear today.    We were told that they would do so if we

       11   gave them a copy of the transcript of Mr. Dondero's

       12   deposition.

       13        We thought that was inappropriate and we declined to do

       14   so, and they declined to accept service of the subpoenas.            We

       15   have spent two days with a professional process server

       16   attempting to effectuate service of the trial subpoenas for

       17   Mr. Ellington and Mr. Leventon, but we were unsuccessful in

       18   doing that.   So we'll only have one witness today, unless we

       19   have cause to call anybody on rebuttal, and that witness will

       20   be Mr. Dondero.

       21        I want to talk for a few moments as to what Mr. Dondero

       22   will testify to and what the evidence will show.       Mr. Dondero

       23   will testify that he never read the TRO, Your Honor.          He will

       24   testify that he didn't participate in the motion on the

       25   hearing for the TRO, that he never read Mr. Seery's




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        1   declaration in support of the Debtor's motion for the TRO,

        2   that he never bothered to read the transcript of the

        3   proceedings on December 10th so that he could understand the

        4   evidence that was being used against him.       He had no knowledge

        5   of the terms of the TRO when he was deposed on Tuesday.

        6        And that's the backdrop of what we're doing here today,

        7   because he didn't know what he was enjoined from doing, other

        8   than speaking to employees.     He actually did testify and he

        9   will testify that he knew he wasn't supposed to speak with the

       10   Debtor's employees, but he spoke with the Debtor's employees

       11   in all kinds of ways, as the evidence will show.

       12        The evidence will also show that Mr. Dondero violated the

       13   TRO by throwing away the cell phone that the company bought

       14   and paid for after the TRO was entered into.       He's going to be

       15   unable to tell you who threw it away.      He's going to be unable

       16   to tell you who gave the order to throw it away.        He's going

       17   to be unable to tell you when after the TRO was entered the

       18   phone was thrown away.

       19        But we do have as one fact and as I believe one violation

       20   of the TRO --

       21              MR. POMERANTZ:    So, I'm on a WebEx.

       22              MR. MORRIS:    Jeff, --

       23              THE COURT:    Mr. Pomerantz, we heard you.    We heard

       24   you say something.      So, apparently, you got your audio

       25   working.




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        1        All right.   Mr. Morris, continue.

        2               MR. MORRIS:   Yeah.   And what Mr. Dondero may tell

        3   you, Your Honor, is that it's really Mr. Seery's fault that

        4   the phone got thrown away, because Mr. Seery announced that

        5   all of the employees were going to be terminated at the end of

        6   January, and because Mr. Seery did that, he and I believe Mr.

        7   Ellington thought it was appropriate to just throw their

        8   phones away, without getting the Debtor's consent, without

        9   informing the Debtor, and switching the phone numbers that

       10   were in the Debtor's account to their own personal names.            So

       11   that's Item No. 1.

       12        Item No. 2 -- and this is in no particular order, Your

       13   Honor.   I don't want you to think that I'm bringing these

       14   things up in terms of priority.      But they're just the order in

       15   which they came up in the deposition, and so I'm just

       16   following it as well.

       17        Item No. 2 is trespass.      On December 22nd, you will hear

       18   evidence that Mr. Dondero personally intervened to yet again

       19   stop trades that Mr. Seery was trying to effectuate in his

       20   capacity as portfolio managers of the CLOs.       He did that just

       21   six days after Your Honor dismissed as frivolous a motion

       22   brought by the very Advisors and Funds that he owns and

       23   controls.

       24        Therefore, the very next day, the Debtor sent him a

       25   letter, sent through counsel a letter, evicting him from the




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        1   premises, demanding the return of the phone, and telling him

        2   that he had to be out by December 30th.

        3        I was stunned, Your Honor, stunned, when I took his

        4   deposition on Tuesday and he was sitting in Highland's

        5   offices.   He hadn't asked for permission to be there.         He

        6   hadn't obtained consent to be there.      But he just doesn't care

        7   what the Debtor has to say here.     He just doesn't.

        8        I don't know when he got there or when he left.          I don't

        9   know if he spoke to anybody while he was there.       But he just

       10   took it upon himself to show up in the Debtor's office,

       11   notwithstanding the very explicit eviction notice that he got

       12   on December 23rd.

       13        Mr. Dondero, as I mentioned, clearly violated the TRO by

       14   knowingly and intentionally and purposely interfering with the

       15   Debtor's trading as the portfolio manager of the CLOs.          This

       16   has just gone on too long.     There have been multiple hearings

       17   on this matter, but he doesn't care.      So he gave the order to

       18   stop trades that Mr. Seery had effectuated.      That's a clear

       19   violation of the TRO, and it certainly supports the imposition

       20   of a preliminary injunction.

       21        Mr. Seery -- Mr. Dondero is going to testify that multiple

       22   letters -- that I'm going to refer to them, Your Honor, as the

       23   K&L Gates Parties, and those are the two Advisors and the

       24   three investment funds and CLO Holdco that are all owned and/

       25   or controlled by Mr. Dondero -- after that hearing on the




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        1   16th, K&L Gates, the K&L Gates Parties sent not one, not two,

        2   but three separate letters.     They said they may take steps to

        3   terminate the CLO management agreements.      After we evicted Mr.

        4   Dondero, sent a letter suggesting that we would be held liable

        5   for damages because we were interfering with their business.

        6        And Mr. Dondero is going to tell you, Your Honor, that he

        7   encouraged the sending of those letters, that he approved of

        8   those letters, that he thought those letters were the right

        9   things to send to the Debtor, even after -- even with the

       10   knowledge of what happened on December 16th.

       11        He's going to tell you he knew about that hearing and he

       12   still, he still approves of those letters, and never bothered

       13   to exercise his control to have those letters withdrawn upon

       14   the Debtor's request.    We asked them to withdraw it, and when

       15   they wouldn't do it, Your Honor, that's what prompted the

       16   filing of yet another adversary proceeding.       And we're going

       17   to have another TRO hearing next Wednesday because they won't

       18   stop.

       19        Next, a preliminary injunction should issue because Mr.

       20   Dondero violated the TRO by communicating with the Debtor's

       21   employees to coordinate their legal strategy against the

       22   Debtor.   The evidence will show, in documents and in

       23   testimony, that on December 12th, while he was prohibited from

       24   speaking to any employee except in the context of shared

       25   services, you're going to see the documents and you're going




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        1   to hear the evidence that on December 12th Scott Ellington was

        2   actively involved in identifying a witness to support Mr.

        3   Dondero's interests at the December 16th hearing.

        4        You will receive evidence that on December 15th Mr.

        5   Ellington and Mr. Leventon collaborated with Mr. Dondero's

        6   lawyers to prepare a common interest agreement.

        7        You will hear evidence that on the next day, December

        8   16th, the day of that hearing, that Mr. Dondero solicited Mr.

        9   Ellington's help to coordinate all of the lawyers representing

       10   Mr. Dondero's interests, telling Mr. Ellington that he needed

       11   to show leadership, and Mr. Ellington readily agreed to do

       12   just that.

       13        You will hear evidence that on December 23rd Mr. Ellington

       14   and Grant Scott communicated in connection with calls that

       15   were being scheduled with Mr. Dondero and with K&L Gates, the

       16   very K&L Gates Clients who filed the frivolous motion that was

       17   heard on December 16th and that persisted in sending multiple

       18   letters threatening the Debtor thereafter.

       19        You will hear evidence that late in December Mr. Dondero

       20   sought contact information for Mr. Ellington and Mr.

       21   Leventon's lawyer, and he will tell you that he did it for the

       22   explicit purpose of advancing their mutual shared interest

       23   agreement, while they were employed by the Debtor.       While they

       24   were employed by the Debtor.

       25        Finally, you will hear evidence, and it will not be




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        1   disputed, you will see the evidence, it's on the documents,

        2   that Mr. Dondero personally intervened to stop the Debtor from

        3   producing the financial statements of Get Good and Dugaboy,

        4   two entities that he controls, that the U.C.C. had been asking

        5   for for some time, that the Debtor had been asking of its

        6   employees for some time to produce.     And it was only when we

        7   got, frankly, the discovery from Mr. Dondero when there's a

        8   text message that says, Not without a subpoena.

        9       The documents are on the Debtor's system.       We just don't

      10    know where they are because they're hidden someplace.         But Mr.

      11    Dondero knows where they are.    He can certainly force -- he

      12    can certainly get them produced.     And one of the things we'll

      13    be asking for when we seek the contempt motion is the

      14    production of those very documents.

      15        So, Your Honor, that's what the evidence is going to show.

      16    I don't think there's going to be any question that a

      17    preliminary injunction ought to issue.     But I do want to spend

      18    just a few minutes rebutting some of the assertions made in

      19    the filing by Mr. Dondero last night.

      20        Of course, they offer no evidence.      There is no

      21    declaration.   There is no document.    There is merely argument.

      22    It's been that way throughout this case.      For a year, Mr.

      23    Dondero has never stood before Your Honor to tell you why

      24    something was wrong being done to him, why -- he hasn't

      25    offered to be here at all, and he's here today, again, only




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        1   because he got a subpoena.     That's the only reason we know

        2   he's here today.

        3        So let's just spend a few minutes talking about the

        4   assertions made in the document last night.       Mr. Dondero

        5   complains about the scope of the injunction, and I say to

        6   myself, in all seriousness, Are you kidding me?       You didn't

        7   even read the TRO and you're going to be concerned about what

        8   the scope of the injunction is?     You didn't even have enough

        9   respect for the Court to read the TRO and we're going to worry

       10   about the scope of some future injunction?      Doesn't make any

       11   sense to me.

       12        But let's talk about the specific arguments that they

       13   make.

       14        Third parties.   They're concerned that somehow third

       15   parties don't have notice of the injunction.       Your Honor,

       16   third parties are not impacted by the injunction.       The only

       17   third parties that are impacted by the injunction are those

       18   that are owned and/or controlled by Mr. Dondero.       If he

       19   doesn't tell them, that's his breach of duty.       He created the

       20   Byzantine empire of over 2,000 entities, and he wants the

       21   Debtor to have the burden of notifying all of them so that

       22   they can all come in here and make 2,000 arguments as to why

       23   they shouldn't be enjoined?

       24        He owns and controls them.     They are the only third

       25   parties who are impacted by this proposed preliminary




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        1   injunction, and he has the responsibility, he has the duty to

        2   inform them, because he owns and controls them.

        3         We know of the K&L Gates Parties.     We know Get Good and

        4   Dugaboy are in this courtroom.      We know CLO Holdco.    So many

        5   of these parties have been so -- they're on the phone now.

        6   They don't have notice?    It is insulting, frankly, to suggest

        7   that the Debtor somehow has some obligation to figure out who

        8   Mr. Dondero owns and controls.      He should know that.      That's

        9   number one.

       10         Number two, there is a statement in there about employees

       11   and how he should be able to speak with them about personal

       12   and routine matters.    As to that, Your Honor, he has forfeited

       13   that opportunity.    He cannot be trusted.    There cannot be any

       14   communication because nobody can police it.       And so we think a

       15   complete bar to any discussion with any employee, except as it

       16   relates to shared services -- because we do have a contractual

       17   obligation; that's what was in it -- ought to be barred.

       18   That's number one.

       19         Number two, there's a reference in the objection to Mr.

       20   Dondero's personal assistant.       I'd like to know who that is,

       21   Your Honor.   I wasn't aware that he still was using a personal

       22   assistant at the Debtor.     I want to know specifically who that

       23   is.   I don't know that they -- you know, I just -- we need to

       24   cut that off.   And he should not be communicating with any

       25   employee.   The Debtor should not be paying for his personal




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        1   assistant.

        2        It's offensive to think that he's still doing that,

        3   particularly after he was terminated or his resignation was

        4   requested back in October precisely because his interests were

        5   adverse to the Debtor.

        6        Number three, he's concerned that the Debtor is somehow

        7   preventing him from speaking to former employees.       We now

        8   know, Your Honor, that that's a, I'm sure, a very specific

        9   reference to Mr. Ellington and Mr. Leventon.       Right?     He wants

       10   a green light to be able to do that.      And you know, I'll leave

       11   it to Your Honor as to whether that's appropriate.       I'll leave

       12   it to their counsel as to whether, going forward, colluding

       13   together against the Debtor at this point in time is in

       14   anybody's best interest.     But I will -- what I will demand in

       15   the preliminary injunction is a very explicit statement that

       16   Mr. Ellington and Mr. Leventon are not to share any

       17   confidential or privileged information that they received in

       18   their capacity as general counsel and assistant general

       19   counsel of the Debtor.

       20        The pot plan.   He's afraid somehow the order is going to

       21   prevent him from pursuing the pot plan.      He's had over a year

       22   to pursue this pot plan, Your Honor.      Frankly, I don't, you

       23   know, I don't know what to say.     He has never made a proposal

       24   that has gotten any traction with the only people who matter.

       25   And it's not the Debtor.     It's the creditors.    It's the




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        1   Creditors' Committee.

        2        If you want to put in an exception that he can call Matt

        3   Clemente, I don't mean to put this on Mr. Clemente, he can

        4   decide whether or not that's appropriate, but the creditors

        5   are the only ones who matter here.         Your Honor, it's not the

        6   Debtor.

        7        And I'll let Mr. Dondero's counsel explain to Your Honor

        8   why he thinks he still needs to pursue a pot plan, and Your

        9   Honor can decide.    I trust Your Honor to decide what

       10   boundaries and what guardrails might be appropriate for him to

       11   continue to pursue his pot plan.

       12        That's all I have, Your Honor.         Not much.

       13               THE COURT:    All right.

       14               MR. MORRIS:    But I think there's going to be --

       15   there's going to be an awful lot of evidence.           This is going

       16   to be a lengthy examination.       I ask the Court for your

       17   patience.

       18               THE COURT:    I've got --

       19               MR. MORRIS:    But that's all I have.

       20               THE COURT:    I've got all day, if we need it.

       21               MR. MORRIS:    Okay.

       22               THE COURT:    I hope we don't, but I've got all day if

       23   we need it.    All right.

       24               MR. MORRIS:    That's what I have, Your Honor.

       25               THE COURT:    All right.    Mr. Dondero's counsel, your




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        1   opening statement?

        2               MR. BONDS:    Your Honor, I would reserve my opening

        3   statement to the end of the hearing.

        4        I would also point out that anything that Mr. Morris just

        5   said was not evidence, and we think that the evidence will

        6   show completely differently than argued or articulated by Mr.

        7   Morris.

        8               THE COURT:    All right.

        9               MR. BONDS:    That's all.

       10               THE COURT:    Thank you, Mr. Bonds.

       11        Mr. Morris, you may call your witness.

       12               MR. MORRIS:    The Debtor calls James Dondero.

       13               THE COURT:    All right.    Mr. Dondero, this is Judge

       14   Jernigan.    I would ask you to say, "Testing, one, two," so we

       15   pick up your video so I can swear you in.

       16        All right.    Mr. Dondero, if you're speaking up, we're not

       17   hearing you, so please make sure you're unmuted and have your

       18   video --

       19        (Echoing.)

       20               MR. DONDERO:    Hello.   One, two.

       21               THE COURT:    Okay.   We got you.

       22               MR. DONDERO:    One, two three.

       23               THE COURT:    We got you now.

       24               JAMES D. DONDERO, PLAINTIFF'S WITNESS, SWORN

       25               THE COURT:    All right.    Thank you.




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        1        Mr. Morris, go ahead.

        2               MR. MORRIS:    Thank you, Your Honor.

        3        (Echoing.)

        4               THE COURT:    I'm going to ask everyone except Mr.

        5   Dondero and Mr. Morris to put your device on mute.            We're

        6   getting a little distortion.

        7        All right.    Go ahead.

        8                              DIRECT EXAMINATION

        9   BY MR. MORRIS:

       10   Q    Good morning, Mr. Dondero.       Can you hear me?

       11   A    Yes.

       12        (Echoing.)

       13               THE COURT:    Ooh.    Okay.    We're having a little echo

       14   when you speak, Mr. Dondero.        Do you have -- well, first, you

       15   have headphones.    That always helps.

       16        (Echoing.)

       17               THE COURT:    Okay.   That may help as well.

       18        (Pause.)

       19               THE COURT:    Okay.   Let's try again.      If you could

       20   say, "Testing, one, two."

       21               THE WITNESS:    Is that better?

       22               THE COURT:    That is better, yes.

       23        All right.    Go ahead.

       24               THE WITNESS:    Okay.   Great.

       25               MR. MORRIS:    Thank you.




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       1   BY MR. MORRIS:

       2   Q    Can you hear me, Mr. Dondero?

       3   A    You're a bit faint.       Give me one second.    Okay.   Got you.

       4   Q    Okay.    Thank you.     Who is in the room with you right now?

       5   A    Bonds, Lynn, and a tech.

       6                A VOICE:   Bryan Assink.

       7                THE WITNESS:    Oh, is Assink here?     Oh, okay, I'm

       8   sorry.   All right.       I'm sorry.    Bonds, Lynn, and Bryan Assink.

       9   BY MR. MORRIS:

      10   Q    Okay.    You're testifying today pursuant to a subpoena,

      11   correct?

      12   A    Yes.

      13   Q    Okay.

      14                MR. MORRIS:    And Your Honor, that subpoena can be

      15   found at Docket No. 44 in the adversary proceeding.

      16                THE COURT:    All right.

      17   BY MR. MORRIS:

      18   Q    In the absence of a subpoena, in the absence of a

      19   subpoena, you didn't know if you would show up to testify at

      20   this hearing; is that right?

      21   A    I -- I do what my counsel directs me to do, and I didn't

      22   know at that time whether they would direct me to come or not.

      23   Q    Okay.    And when I -- when I deposed you earlier this week,

      24   you agreed that you may or may not testify; is that right?

      25   A    It depends on what counsel instructs me to do, correct.              I




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        1   didn't know at the time.

        2   Q    Okay.    And you didn't mention anything about counsel when

        3   I asked you the questions earlier this week, correct?

        4   A    That was the undertone in almost all my answers, that I

        5   relied on counsel.

        6                MR. MORRIS:    Your Honor, I move to strike.     I'm

        7   asking very specific questions.         And if I need to go to the

        8   deposition transcript, I'm happy to do that.

        9                THE COURT:    All --

       10                MR. MORRIS:    Just going forward, Your Honor, this is

       11   cross-examination.        It's really yes or no at this point.

       12   That's what I would request, anyway.

       13                THE COURT:    All right.   Mr. Dondero, do you

       14   understand --

       15        (Echoing.)

       16                THE COURT:    Do you understand what Mr. Morris was

       17   raising there?     We really need you to give specific answers --

       18   and usually they're going to be yes or no answers -- to Mr.

       19   Morris's questioning.        Okay?   So let's try again.   Mr. Morris,

       20   go ahead.

       21                THE WITNESS:    Yeah.

       22   BY MR. MORRIS:

       23   Q    Mr. Dondero, you're aware that Judge Jernigan granted the

       24   Debtor's request for a TRO against you on December 10th,

       25   correct?




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        1   A    Yes.

        2   Q    But you never reviewed the declaration that Mr. Seery

        3   filed in support of the Debtor's motion for a TRO, correct?

        4   A    I relied on counsel.

        5   Q    Sir, you never reviewed the declaration that Mr. Seery

        6   filed in support of the Debtor's motion for a TRO, correct?

        7   A    Correct.

        8   Q    You didn't even know the substance of what Mr. Seery

        9   alleged in his declaration at the time that I deposed you on

       10   Tuesday, correct?

       11   A    Correct.

       12   Q    And that's because you didn't even think about the fact

       13   that the Debtor was seeking a TRO against you; isn't that

       14   right?

       15   A    No.

       16   Q    That's not right?

       17   A    No.

       18   Q    All right.

       19               MR. MORRIS:    Your Honor, could I ask my assistant,

       20   Ms. Canty, to put up on the screen what had been designated as

       21   the Debtor's Exhibit Z in connection with the motion for

       22   contempt?    Exhibit Z is the transcript from Tuesday's hearing.

       23               THE COURT:    All right.

       24               MR. MORRIS:    And I would like to -- I'd like to

       25   cross-examine Mr. Dondero on his testimony on Tuesday.




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        1                THE COURT:    All right.   You may.

        2                MR. MORRIS:    Can we put up Page 15, please?     And go

        3   to Lines 15 through 17.

        4   BY MR. MORRIS:

        5   Q    Sir, you recall being deposed on Tuesday by my -- by me,

        6   correct?

        7   A    Yes.

        8   Q    Okay.    Did you hear this question and did you hear this

        9   answer?

       10        "Q      Did you care that the Debtor was seeking a TRO

       11        against you?

       12        "A      I didn't think about it."

       13   Q    Is that -- is that your testimony from the other day?

       14   A    Yes.

       15   Q    You didn't dial in to the hearing when the Court

       16   considered the Debtor's motion for a TRO against you, did you?

       17   A    I -- I don't recall.      I don't think so.

       18   Q    You never read the transcript in order to understand what

       19   took place in this courtroom when Judge Jernigan decided to

       20   enter a TRO against you; isn't that right?

       21   A    I relied on counsel, which has been my testimony all

       22   along.

       23                MR. MORRIS:    Can we go to Page 13 of the transcript,

       24   please?     Beginning at Line 24.

       25   BY MR. MORRIS:




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        1   Q    (reading)

        2        "Q     Did you read a transcript of the hearing?

        3        "A     No."

        4   Q    Did you testify on Tuesday that you did not read a

        5   transcript of the hearing?

        6   A    Yes.

        7   Q    In fact, as of at least last Tuesday, you hadn't even

        8   bothered to read the TRO that this Court entered against you.

        9   Isn't that right?

       10               MR. BONDS:    Your Honor, I'm going to object.

       11        (Echoing.)

       12               THE COURT:    Okay.   We're getting that echo from you

       13   now, Mr. Bonds.      So maybe you need to turn your volume down a

       14   little.     But what is the basis for your objection?

       15        (Echoing.)

       16               MR. BONDS:    Leading and rhetorical.

       17               MR. MORRIS:    I think it's because they're in the same

       18   room.

       19               THE COURT:    Okay.   Do you have -- I don't know what

       20   you're doing.      I guess you're moving to a different room?

       21               MR. BONDS:    I am, Your Honor.

       22               THE COURT:    Okay.

       23        (Echoing.)

       24               THE COURT:    Okay.   I'm waiting for the objection

       25   basis.




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        1              MR. BONDS:    The basis of the objection, Your Honor,

        2   is that --

        3        (Echoing.)

        4              THE COURT:    Okay.    We're going to have to do

        5   something different here.        We can't have this issue for the

        6   entire hearing.   Do you need to get a tech person in there, or

        7   maybe call in on your phone?        I don't know.

        8              MR. BONDS:    Your Honor, I'm going into the conference

        9   room.

       10        (Pause.)

       11              THE COURT:    Okay.    Are we going to try again here?

       12              MR. BONDS:    Yes.    Is this working?

       13              THE COURT:    Yes.

       14              MR. BONDS:    Perfect.    Your Honor, my objection is

       15   that Mr. Dondero has already testified that he relied on his

       16   lawyers.   I don't know where Mr. Morris is going with this,

       17   but it's pretty clear that Mr. Dondero simply relies on his

       18   lawyers to tell him what happened.        I don't know that that's

       19   that different than any other layperson.

       20              MR. MORRIS:    Your Honor, if this is --

       21              THE COURT:    Well, --

       22              MR. MORRIS:    If I may?

       23              THE COURT:    Yes.

       24              MR. MORRIS:    I believe it's terribly relevant to know

       25   how seriously Mr. Dondero takes this Court and this Court's




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        1   proceedings and this Court's orders.         If the Court decides

        2   that it doesn't matter whether or not he read the transcript,

        3   you're the fact-finder and you'll make that decision.          But I

        4   believe it's at least relevant.

        5               THE COURT:    Okay.   I agree and I overrule the

        6   objection.

        7        Go ahead.

        8   BY MR. MORRIS:

        9   Q    Mr. Dondero, as of at least Tuesday, you never bothered to

       10   read the TRO that was entered against you, correct?

       11   A    I'm sorry.    We're dealing with some tech stuff here for a

       12   second.     Can you repeat the question?

       13   Q    Yes.

       14        (Echoing.)

       15   Q    As of Tuesday, you had not bothered to read the TRO that

       16   was entered against you?

       17        (Echoing.)

       18               MR. MORRIS:    Your Honor, can we take a break?       I

       19   can't do this.    I just --

       20               THE COURT:    Okay.   I agree.   Okay.   Mr. Bonds, what

       21   do we need to do to fix these technical problems?         Do I need

       22   to get my IT guy in here and help you?         This is terrible.

       23   This connection is terrible.       And I understand people have

       24   technical problems sometimes, but we've been doing these video

       25   hearings since March, so --




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        1             MR. BONDS:    Your Honor, I have simply gone to another

        2   conference room.    The Debtor (garbled) I think that Mr.

        3   Dondero should be fine.

        4             THE COURT:    Okay.    I don't know what you said except

        5   that you think Mr. Dondero should be fine.      I --

        6             MR. MORRIS:    Is there anybody in that room with a

        7   cell phone on, Mr. Dondero?

        8             THE WITNESS:    No.

        9             MR. BONDS:    And I'm completely over in --

       10             THE COURT:    Okay.

       11             MR. MORRIS:    Can I try and proceed?

       12             THE COURT:    Try to proceed.

       13             MR. MORRIS:    Okay.

       14        (Echoing.)

       15   BY MR. MORRIS:

       16   Q    Mr. Dondero, as of Tuesday you only had a general view of

       17   what this Court restrained you from doing; is that correct?

       18        (Echoing.)

       19             MR. MORRIS:    I'd still -- I -- there's too much

       20   noise, Your Honor.     I can't do it.

       21             THE COURT:    Okay.    We're going to take a five-minute

       22   break.   Mr. Bonds, can you get a technical person there to

       23   work through these problems?

       24        And Mike, let's get Bruce up here to --

       25             THE CLERK:    It's because they're in the same room.




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        1   That's the problem.

        2               THE COURT:    They're -- they're --

        3               THE CLERK:    Judge Jernigan, this is Traci.      Bruce is

        4   on his way up there.

        5               THE COURT:    Thank you.

        6        Mike, explain it to me, because I don't understand.

        7   You're saying if they have two devices on in the same room?

        8               THE CLERK:    The same -- that's the problem.      They're

        9   so close.    And they're trying to use the same device, give it

       10   back to you.

       11               A VOICE:   He has a phone on in the room.

       12               MR. MORRIS:    I asked that question.

       13               THE COURT:    Okay.

       14               MR. MORRIS:    Please instruct the witness to exclude

       15   everybody from the room, to turn off all electronic devices

       16   except the device that's being used for this (garbled).            At

       17   least have --

       18               THE COURT:    All right.   So, the consensus of more

       19   technical people than me is you've got two devices on in the

       20   same room and that's what's causing the distortion and echo.

       21   So I don't know if it's somebody's phone that needs to be

       22   turned off or if you have two iPads or laptops.

       23        (Court confers with Clerk.)

       24        (Pause.)

       25               MR. BONDS:    I think I'm unmuted.    Can people hear me?




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        1              THE WITNESS:    Yes.

        2        (Pause.)

        3              THE COURT:    Okay.    Bruce, can you walk their office

        4   through?   They have, I think, two devices in the same room.

        5   It's a horrible echo.      So, Mr. Bonds or some --

        6              MR. BONDS:    Yes, Your Honor.

        7              THE COURT:    We have a lawyer and the lawyer's client

        8   who is testifying right now in the same room.

        9              I.T. STAFF:    Uh-huh.

       10              THE COURT:    And --

       11              I.T. STAFF:    Yeah.    Yeah.   Because -- is one a call-

       12   in user on a telephone?

       13              THE COURT:    I don't know.     I don't --

       14              I.T. STAFF:    Yeah.    Whatever's coming -- the audio is

       15   feeding back in.    They need to separate if they're both on.

       16   Or just use one and the attorney can slide over and the client

       17   can --

       18              THE COURT:    Okay.

       19              I.T. STAFF:    -- go in his place.    Just use one --

       20              THE COURT:    Our IT person is confirming what everyone

       21   else has been saying, that you really can only have one device

       22   in the same room.    It's just unavoidable, the echoing.

       23              I.T. STAFF:    Unless everybody has --

       24              THE COURT:    Unless everyone has headphones on.

       25              I.T. STAFF:    Right.




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       1                THE COURT:    So we either need everyone to have

       2   headphones on, or one device in the room.         And you all,

       3   awkward as it is, just have to share.         Or I guess you could

       4   have two laptops, but one person has to --

       5                I.T. STAFF:    Has to have a headset.

       6                THE COURT:    Has to --

       7                I.T. STAFF:    Because the other one, the audio is

       8   going to be feeing into the microphone of the other one.

       9                THE COURT:    Okay.   So, Mr. Bonds, I don't know if

      10   you've heard any of that, but --

      11                THE CLERK:    He needs to unmute himself.

      12                THE COURT:    You're on mute, Mr. Bonds.

      13                MR. BONDS:    I'm sorry, Your Honor.     I'm going to sit

      14   next to Mr. Dondero and answer any questions that may come up.

      15                THE COURT:    Okay.

      16                MR. BONDS:    If any objections --

      17                THE COURT:    Okay.   So we're going to have one device?

      18                MR. BONDS:    Yes.

      19                THE COURT:    Okay.   Let's try again.

      20        Okay.    Go ahead, Mr. Morris.

      21   BY MR. MORRIS:

      22   Q    Mr. Dondero, is Mr. Ellington listening to this hearing?

      23                THE COURT:    I didn't hear you, Mr. Morris.     What?

      24   BY MR. MORRIS:

      25   Q    Mr. Dondero, is Mr. Ellington listening to this hearing?




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        1   A    I have no idea.

        2   Q    Is Mr. Leventon listening to this hearing?

        3   A    I have no idea.       I haven't spoken with him.

        4   Q    Okay.    So let's try again.     At least as of today, you

        5   never bothered to read the TRO that was entered against you,

        6   correct?

        7   A    Correct.

        8   Q    As of Tuesday, you only had a general understanding of

        9   what the Court restrained you from doing, correct?

       10        (Echoing.)

       11   A    I had an adequate understanding.

       12   Q    You had a what?

       13   A    Adequate understanding.

       14   Q    Your understanding --

       15                A VOICE:   Your Honor?

       16   BY MR. MORRIS:

       17   Q    -- was that you were prohibited from speaking to the

       18   Debtor's board without counsel and from speaking to the

       19   Debtor's employees; is that right?

       20   A    No.

       21   Q    Okay.

       22                MR. MORRIS:    Can we go to Page 13, Line 8, please?

       23   BY MR. MORRIS:

       24   Q    Were you asked this question and did you give this answer?

       25        "Q      Tell me your understanding of what the temporary




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        1        restraining order restrains you from doing.

        2        "A     To talk to Independent Board directly or talking

        3        directly with employees.

        4        "Q     Is   there    any    other    aspect   of   the     temporary

        5        restraining    order       that   you're   aware   of    that   would

        6        otherwise constrain or restrain your conduct?

        7        "A     Those are the points I (garbled)."

        8   Q    Did you give those answers to the questions that I asked?

        9   A    Yes.

       10   Q    And even with that general understanding, you went ahead

       11   and communicated directly (garbled) employees many, many, many

       12   times after the TRO was entered?

       13   A    Only with regard to shared services, pot plan, and

       14   Ellington, the settlement counsel.

       15   Q    Does the restraining order permit you to speak with

       16   Debtor's employees about the pot plan?

       17        (Echoing.)

       18               THE COURT:    Mr. Morris, let me stop.

       19               MR. MORRIS:     Yeah.      I appreciate that, Your Honor.

       20               THE COURT:    Even --

       21               MR. MORRIS:     It's not working.

       22               THE COURT:    Even your sound is not coming through

       23   clearly.    And I think it's the echo coming out of their

       24   speakers, Mr. Dondero and Mr. Bonds' speakers.               But before we

       25   conclude that, would you turn off your video and ask your




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        1   question again and see if it's any better, just to confirm

        2   it's not a bandwidth issue on your end?        I doubt it is, but --

        3   okay.   So, try asking your question again, and I'm going to

        4   see if it's still distorted.

        5   BY MR. MORRIS:

        6   Q   There's nothing in the TRO that permitted you to speak

        7   with Debtor employees about the pot plan, correct?

        8              THE COURT:    Okay.   Mr. Morris, it's not at your end.

        9   It's -- it's their end.     Okay.   So you can turn your video

       10   back on.

       11       Mr. Bonds?

       12              MR. BONDS:    Yes, ma'am.

       13              THE COURT:    You all are going to have to use earbuds,

       14   apparently.   We're getting -- we're getting a feedback loop,

       15   okay?   Whenever Mr. Morris talks or I talk, we're hearing

       16   ourselves echo through your speakers.

       17              MR. BONDS:    Can you check right now to see if it's

       18   true, if we're experiencing the same problem?

       19              THE WITNESS:    In other words, is this better?         We

       20   unplugged the cord here.

       21              THE COURT:    Well, when you all speak, it's -- it's

       22   better now.   But when --

       23              MR. MORRIS:    It is better.

       24              THE COURT:    But when Mr. Morris asks a question, it's

       25   echoing through your speakers.      But I don't hear myself




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        1   echoing through your speakers.

        2             I.T. STAFF:    Can Mr. Morris say something, please?

        3             THE COURT:    Mr. Morris, say something.

        4             MR. MORRIS:    They may have solved the problem.         They

        5   may have solved the problem.      How's that?

        6             THE COURT:    Okay.    I think the problem is solved,

        7   whatever you did, so let's try once again.

        8        Go ahead, Mr. Morris.      Repeat your last question.     I

        9   didn't hear it.

       10   BY MR. MORRIS:

       11   Q    Mr. Dondero, the temporary restraining order doesn't

       12   permit you to speak with the Debtor's employees about a pot

       13   plan; isn't that right?

       14   A    There was a presentation on the pot plan given to the

       15   Independent Board after the restraining order was put in

       16   place.   What are you implying, that that wasn't proper?

       17             MR. MORRIS:    Your Honor, I move to strike.        It's a

       18   very simple question.

       19             THE COURT:    Okay.    Sustained.   If you could just

       20   answer the specific question, Mr. Dondero.

       21             THE WITNESS:    I don't know.

       22   BY MR. MORRIS:

       23   Q    Fair enough.   Sir, let's talk about some of the events

       24   that led up to the imposition of the TRO.       I appreciate the

       25   fact that you hadn't read Mr. Seery's declaration or any of




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        1   the evidence that was submitted in connection with the TRO, so

        2   let's spend some time talking about that now.       CLO stands for

        3   Collateralized Loan Obligation, correct?

        4   A    Yes.

        5   Q    And the Debtor is party to certain contracts that give it

        6   the exclusive right and responsibility to manage certain CLOs,

        7   correct?

        8   A    Yes.

        9   Q    NexPoint Advisors, LP is an advisory firm.      Do I have that

       10   right?

       11   A    Yes.

       12   Q    And we can refer to that, that firm, as NexPoint; is that

       13   fair?

       14   A    Yes.

       15   Q    You have a direct or indirect ownership interest in

       16   NexPoint, correct?

       17   A    Yes.

       18   Q    You're the president of NexPoint; isn't that right?

       19   A    Yes.

       20   Q    And as the president of NexPoint, it's fair to say that

       21   you control that entity, correct?

       22   A    To a certain extent.

       23   Q    Sir, as the president of NexPoint, it's fair to say that

       24   you control that entity, correct?

       25   A    To a certain extent.




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        1               MR. MORRIS:   Can we go to Page 18 of the transcript,

        2   please?     Lines 19 and 21.

        3   BY MR. MORRIS:

        4   Q    Were you asked this question and did you give this answer?

        5        "Q     As the president of NexPoint, it's fair to say

        6        that you control that entity?

        7        "A     Generally."

        8   Q    Is that the right answer that you gave the other day?

        9   A    I think it's similar to what I just said, yeah, yeah.

       10   Q    Sir, you're familiar with Highland Capital Management Fund

       11   Advisors, LP; is that right?

       12   A    Yes.

       13   Q    And we'll call that Fund Advisors; is that fair?

       14   A    Yes.

       15   Q    And we'll refer to Fund Advisors and NexPoint together as

       16   the Advisors; is that okay?

       17   A    Yes.

       18   Q    Fund Advisors is also an advisory firm, correct?

       19   A    Yes.

       20   Q    You have a direct or indirect ownership interest in Fund

       21   Advisors, correct?

       22   A    Yes.

       23   Q    You're the president of Fund Advisors, correct?

       24   A    Yes.

       25   Q    And you also have an ownership interest in the general




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        1   partner of Fund Advisors; isn't that right?

        2   A    I believe so.

        3   Q    It's fair to say that you control Fund Advisors, correct?

        4   A    Generally.

        5   Q    NexPoint and Fund Advisors manage certain investments

        6   funds; is that right?

        7   A    Yes.

        8   Q    Among the funds that they manage are High Point Income

        9   Fund; is that right?

       10   A    I don't think that's a name that we manage.

       11   Q    Let's put it this way.    There are three funds that are

       12   represented by K&L Gates that are managed by the Advisors,

       13   correct?

       14   A    I don't know.

       15   Q    Okay.   You're the portfolio manager of the investment

       16   funds advised by NexPoint and Fund Advisors, correct?

       17   A    Largely.

       18   Q    And NexPoint and Fund Advisors caused the investment funds

       19   that they manage to invest in CLOs that are managed by the

       20   Debtors, correct?

       21   A    Years ago, they bought the equity interests, if that -- if

       22   that's what you're asking me, in various CLOs.

       23   Q    The two Advisors that you own and control caused the

       24   investment funds to purchase interests in CLOs that are

       25   managed by the Debtor, correct?




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        1   A    Not recently.     Not recently.     Years ago.   Yes.

        2   Q    And they still hold those interests today, correct?

        3   A    Yes.

        4   Q    And K&L Gates represents all of those entities, correct?

        5   A    Yes.

        6   Q    And we'll call those the K&L Gates Clients; is that fair?

        7   A    Yes.

        8   Q    Before the TRO was entered, the K&L Gates Clients sent two

        9   letters to the Debtor concerning the Debtor's management of

       10   certain CLOs, right?

       11   A    Yes.

       12   Q    Okay.

       13                MR. MORRIS:    Your Honor, I just want to take a moment

       14   now, because we're going to start to look at some documents.

       15   The Debtor would respectfully move into evidence Exhibits A

       16   through Y that are on their exhibit list.

       17                THE COURT:    All right.

       18                MR. BONDS:    Your Honor, we have no objection.

       19                THE COURT:    A through Y are admitted.    And for the

       20   record, these appear at Docket No. 46 in this adversary.

       21        (Plaintiff's Exhibits A through Y are received into

       22   evidence.)

       23                MR. MORRIS:    Okay.   Can we please put up Exhibit B as

       24   in boy?     (Pause.)   Ms. Canty?    If you need a moment, just let

       25   us know.




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        1                 MS. CANTY:    Yeah.   I'm pulling it up right now.

        2                 MR. MORRIS:    Thank you.    (Pause.)   Can you scroll

        3   down just a bit?

        4   BY MR. MORRIS:

        5   Q     All right.    Can you see this letter was sent on October

        6   16th?

        7   A     Yes.

        8   Q     And we see the entities that are reflected on this letter.

        9   We've got Highland Capital Management, LP.            That's the

      10    question that they're asking.         And the questions and the

      11    statements are being asserted on behalf of NexPoint Advisors,

      12    LP.   Do you see that?

      13    A     Yes.

      14    Q     And Highland Capital Management Fund Advisors, LP.           Those

      15    are the two Advisors that you own and control, correct?

      16    A     Control to a large extent.

      17    Q     Okay.

      18                  MR. MORRIS:    And can we put up Exhibit C, please?

      19    BY MR. MORRIS:

      20    Q     This is a second letter sent by NexPoint on November 24th.

      21    Do you see that?

      22    A     Yes.

      23    Q     Okay.    And you're familiar with the substance of these

      24    letters, correct?

      25    A     Yes.




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        1   Q      And you were familiar -- you were aware of these letters

        2   before they were sent.       Is that correct?

        3   A      Yes.

        4   Q      And you generally discussed the substance of these letters

        5   with NexPoint; is that right?

        6   A      Generally, yes.

        7   Q      And you discussed the substance of the letters with the

        8   Advisors' internal counsel; is that right?

        9   A      Yes.

       10   Q      That's D.C. Sauter?

       11   A      Yes.

       12   Q      And you have been on some calls with K&L Gates about these

       13   letters, right?

       14   A      I believe so.

       15   Q      And you knew these letters were being sent, correct?

       16   A      Yeah, they're -- they're reported.

       17   Q      You knew these letters for being sent; isn't that right,

       18   sir?

       19   A      Yes.

       20   Q      And you didn't object to the sending of these letters,

       21   correct?

       22   A      No.

       23   Q      In fact, you supported the sending of these letters.      Is

       24   that right?

       25   A      Yes.




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        1   Q    And you have never directed NexPoint to withdraw these

        2   letters, correct?

        3   A    No.

        4   Q    Around Thanksgiving, you learned that Mr. Seery had given

        5   a direction to sell certain securities owned by the CLOs

        6   managed by the Debtors, correct?

        7   A    Yes.

        8   Q    And when you learned that, you personally intervened to

        9   stop the trades, correct?

       10   A    Yes.   I believe they were inappropriate.

       11               MR. MORRIS:    I move to strike the latter part of the

       12   answer, Your Honor.

       13               THE COURT:    It's stricken.

       14               MR. MORRIS:    Can we put up Exhibit D, please?

       15   BY MR. MORRIS:

       16   Q    We looked at this email string the other day.       Do you

       17   recall that?

       18   A    Yes.

       19               MR. MORRIS:    Can we start at the bottom, please?

       20   BY MR. MORRIS:

       21   Q    There's an email from Hunter Covitz.      Do you see that?

       22   A    Yes.

       23   Q    Now, this is November 24th.     It's before the TRO.     Is that

       24   fair?

       25   A    Yes.




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        1   Q    Mr. Covitz is an employee of the Debtor, right?

        2   A    I believe so.

        3   Q    And Mr. Covitz helps manage the CLOs on behalf of the

        4   Debtor.     Is that your understanding?

        5   A    Yes.

        6   Q    And Mr. Covitz in this email is giving directions to Matt

        7   Pearson and Joe Sowin to sell certain securities held by the

        8   CLOs.   Is that correct?

        9   A    No.    He's giving Jim Seery's direction.

       10               MR. BONDS:    And Your Honor, I'm going to object.

       11   This is all before the TRO was ever entered.          It doesn't have

       12   anything to do with today's hearing.

       13               THE COURT:    Overruled.

       14               MR. MORRIS:    May I respond, Your Honor?

       15               THE COURT:    I --

       16               MR. MORRIS:    Okay.   Thank you.

       17               THE COURT:    I think it's relevant.     Go ahead.

       18               MR. MORRIS:    Thank you.    Okay.

       19   BY MR. MORRIS:

       20   Q    Mr. Seery is the CEO of the Debtor; is that right?

       21   A    Yes.

       22   Q    And the Debtor is the contractual party with the CLOs

       23   charged with the exclusive responsibility of managing the

       24   CLOs, correct?

       25   A    I don't believe so.     The Debtor is in default of the




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        1   agreements.

        2                MR. MORRIS:    I move to strike, Your Honor.

        3                THE COURT:    Sustained.

        4   BY MR. MORRIS:

        5   Q    Sir, the Debtor has the exclusive contractual right and

        6   obligation to manage the CLOs, correct?

        7   A    I don't agree with that.

        8   Q    Okay.

        9                MR. MORRIS:    Can we scroll up to the -- just --

       10   BY MR. MORRIS:

       11   Q    Do you see that Mr. Pearson acknowledges receipt of Mr.

       12   Covitz's email?

       13   A    Yes.

       14   Q    And you received a copy of Mr. Covitz's email, did you --

       15   did you not?

       16   A    Yes.

       17                MR. MORRIS:    Can you scroll up a little bit, please?

       18   BY MR. MORRIS:

       19   Q    And can you just read for Judge Jernigan your response

       20   that you provided to Mr. Pearson, Mr. Covitz, and Mr. Sowin on

       21   November 24th?

       22   A    (reading)    No, do not.

       23   Q    You instructed the recipients of Mr. Covitz's email not to

       24   sell the SKY securities as had been specifically instructed by

       25   Mr. Seery, correct?




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        1   A    Yes.

        2   Q    And you understood when you gave that instruction that the

        3   people on the email were trying to execute trades that Mr.

        4   Seery had authorized, correct?

        5   A    No.    I -- no, that isn't how I would describe it.

        6               MR. MORRIS:    A second, Your Honor?

        7               THE COURT:    Okay.

        8        (Pause.)

        9   BY MR. MORRIS:

       10   Q    Sir, when you gave the instruction reflected in this

       11   email, you knew that you were stopping trades that were

       12   authorized and directed by Mr. Seery, correct?

       13   A    I don't think -- I -- I wasn't -- I wasn't sure at the

       14   moment I did that.       I didn't find out until later that it was

       15   Seery who directed it.

       16               MR. MORRIS:    Can we please go back to the deposition

       17   transcript, Debtor's Exhibit Z, at Page 42?        Line 12.

       18   BY MR. MORRIS:

       19   Q    Were you asked this question and did you give this answer?

       20        "Q     At the time that you gave the instruction, "No, do

       21        not," you knew that you were stopping trades that had

       22        been authorized and directed by Mr. Seery, correct?

       23        "A     Yes."

       24   Q    Did you give that answer to my question on Tuesday?

       25   A    I'd like to clarify it, but yes, I did give that answer.




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        1   Q    Okay.    You didn't speak with Mr. Seery before sending your

        2   instructions interfering with his trade, the trades that he

        3   had authorized, correct?

        4   A    No, I did not.

        5   Q    And you took no steps to seek the Debtor's consent before

        6   instructing the recipients of your email to stop executing the

        7   SKY transactions that had been authorized by Mr. Seery,

        8   correct?

        9   A    I'm sorry.    Can you repeat the question?

       10   Q    You took no steps to seek the Debtor's consent before

       11   stepping in to stop the trades that Mr. Seery had authorized,

       12   correct?

       13   A    I took other actions instead.

       14   Q    Okay.    But you didn't seek the Debtor's consent?        That's

       15   not one of the actions you took, right?

       16   A    No, I educated the traders as to why it was inappropriate.

       17                MR. MORRIS:    I move to strike, Your Honor.

       18                THE COURT:    Sustained.

       19   BY MR. MORRIS:

       20   Q    Sir, did you seek the Debtor's consent before stepping in

       21   to stop the trades that Mr. Seery had authorized?

       22   A    No, I did not seek consent.

       23   Q    In response to your instruction, Mr. Pearson canceled all

       24   of the trades that Mr. Seery had authorized, correct?

       25   A    Yes.




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        1                MR. MORRIS:   Can we go back to the exhibit, please?

        2   And if we could just scroll -- stop right there.

        3   BY MR. MORRIS:

        4   Q    That's -- that's Mr. Pearson's response to your email,

        5   confirming that he had canceled both the SKY and the AVAYA

        6   trades that had not yet been executed, correct?

        7   A    Yes.

        8                MR. MORRIS:   Can we scroll to the response to that?

        9   BY MR. MORRIS:

       10   Q    Is this your response?

       11   A    Yes.

       12   Q    Can you read that aloud, please?

       13   A    (reading)    HFAM and DAF have instructed Highland in

       14   writing not to sell any CLO underlying assets.       There is

       15   potential liability.       Don't do it again, please.

       16   Q    The writings that you're referring to are the two letters

       17   from NexPoint, Exhibits B and C that we just looked at,

       18   correct?

       19   A    Yeah.    There might have been a third letter.     I don't

       20   know.   But, yes, generally, those letters.

       21   Q    Okay.    And at this juncture, the reference to potential

       22   liability was a statement intended for Mr. Pearson.       Is that

       23   correct?

       24   A    Um, I -- no.    Pearson wouldn't have had any personal

       25   liability.     It was -- it was meant for the -- there was




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        1   potential liability to the Debtor or to the compliance

        2   officers at the Debtor.

        3                MR. MORRIS:      Can we go to Page 45 of the deposition

        4   transcript, please?        Line -- beginning at Line 11, through 18.

        5   BY MR. MORRIS:

        6   Q    Did I ask these questions and did you give these answers?

        7        "Q      Do   you   see    the   reference   there   in   the   latter

        8        portion of your email, 'There is potential liability.

        9        Don't do it again'?

       10        "A      Yes.

       11        "Q      Who was the intended recipient of that message?

       12        "A      At this juncture, it's Matt Pearson, I believe."

       13   Q    Did you give those answers to my questions on Tuesday?

       14   A    Yeah.    That's not inconsistent.

       15                MR. MORRIS:      Let's go back to the email, please.

       16   BY MR. MORRIS:

       17   Q    Mr. Sowin responded to your email; is that right?

       18                MR. MORRIS:      Can we scroll up?

       19   BY MR. MORRIS:

       20   Q    Okay.    Who's Mr. Sowin?

       21   A    He's the head trader.

       22   Q    Who's he employed by?

       23   A    I believe he's employed by HFAM but not the Debtor.

       24   Q    Okay.    So he's -- he's somebody who's employed by one of

       25   the Advisors; is that right?




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        1   A    I believe so.

        2   Q    And Mr. Sowin responded to your email and he indicated

        3   that he would follow your instructions.         Is that right?

        4   A    Yeah.    He understands that it's inappropriate.        That's

        5   what he's reflecting.       Yes.

        6                MR. MORRIS:    I move to strike, Your Honor.

        7                THE COURT:    Sustained.

        8   BY MR. MORRIS:

        9   Q    Sir, Mr. Sowin responded and indicated that he would

       10   follow your instructions, correct?

       11   A    (no audible response)

       12   Q    Did you answer?       I'm sorry.

       13   A    No, I didn't answer.      It's -- I don't know if you could

       14   expressly say that from that email.         Maybe we should read the

       15   email.

       16                MR. MORRIS:    Let's just move on, Your Honor.

       17                THE COURT:    Okay.

       18   BY MR. MORRIS:

       19   Q    A few days later, you learned -- you learned that Mr.

       20   Seery was trying a workaround to effectuate the trades anyway,

       21   correct?

       22   A    I believe so.

       23   Q    Uh-huh.    And when you learned that, you wrote to Thomas

       24   Surgent; is that right?

       25   A    I -- I believe so.




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        1   Q    I don't -- I don't mean to -- this is not a test here.

        2                MR. MORRIS:    Can we just scroll up to the next email,

        3   please?     Okay.   Stop right there.

        4   BY MR. MORRIS:

        5   Q    When you -- when you learned that Mr. Seery was trying a

        6   workaround, you wrote to Mr. Surgent when you learned that,

        7   right?

        8   A    Yes.

        9   Q    And Mr. Surgent is an employee of the Debtor; is that

       10   correct?

       11   A    I believe he's still the chief compliance officer of the

       12   Debtor.

       13   Q    Okay.    Now, as a factual matter, you never asked Mr. Seery

       14   why he wanted to make these trades; isn't that right?

       15   A    I -- I did not.

       16   Q    Okay.    And before the TRO was entered, there was nothing

       17   that prevented you from picking up the phone and asking Mr.

       18   Seery why he wanted to make these trades, correct?

       19   A    That's not true.

       20                MR. MORRIS:    One second, please, Your Honor.

       21                THE COURT:    Okay.

       22        (Pause.)

       23                MR. MORRIS:    Can we go to Page 60 of the transcript?

       24   Mr. Bonds says -- beginning at Line 14.       There is an objection

       25   there, Your Honor, and I would ask that the Court rule on the




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        1   objection before I read from the transcript.

        2                THE COURT:    Okay.

        3                MR. MORRIS:    There you go.

        4                THE COURT:    (sotto voce)      (reading)    Is there

        5   anything that you're aware of that prevented you from picking

        6   up the phone and asking Mr. Seery for his business

        7   justification for these trades prior to December 10.

        8   Objection, form.

        9        I overrule the objection to the form of that question.

       10                MR. MORRIS:    Okay.

       11   BY MR. MORRIS:

       12   Q    Mr. Dondero, were you asked this question and did you give

       13   this answer?

       14        "Q      Is    there   anything   that    you're     aware   of    that

       15        prevented you from picking up the phone and asking Mr.

       16        Seery for his business justification for these trades

       17        prior to December 10, 2010?

       18        "A      No.   I expressed my disapproval via email."

       19   Q    Is that right?

       20   A    I'd like to adjust that answer to the answer I just gave.

       21   Q    Okay.

       22                MR. MORRIS:    And I move to strike.

       23   BY MR. MORRIS:

       24   Q    I'm just asking you if that's the answer you gave on

       25   Tuesday.




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        1                THE COURT:    Sustained.

        2                THE WITNESS:    Yes.

        3   BY MR. MORRIS:

        4   Q    Thank you.    Now, you wrote to Mr. Surgent because you

        5   wanted to remind him of his personal liability for regulatory

        6   breaches and for doing things that aren't in the best interest

        7   of investors, correct?

        8   A    Yes.

        9   Q    And you actually thought about this and you -- because you

       10   didn't believe that Mr. Surgent had extra insurance and

       11   indemnities like Mr. Seery, right?

       12   A    No.

       13   Q    Didn't you testify to that the other day?

       14   A    I don't remember, but that isn't the only reason.

       15   Q    I didn't ask you if it was the only reason.         Listen

       16   carefully to my question.       Did you send this email because you

       17   -- because you wanted to remind him of his personal liability

       18   for regulatory breaches and for doing things that aren't in

       19   the -- I apologize.        Withdrawn.

       20        You did not believe at the time that you sent this email

       21   that he, Mr. Surgent, had insurance and indemnities like Mr.

       22   Seery, correct?

       23   A    Yes.

       24   Q    Okay.

       25                MR. MORRIS:    Can we go back to the email, please?




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        1   BY MR. MORRIS:

        2   Q    Can you just read the entirety of your email to Mr.

        3   Surgent out loud?

        4   A    (reading)   I understand Seery is working on a workaround

        5   to trade these securities anyway, trades that contradict

        6   investor desires and have no business purpose or investment

        7   rationale.   You might want to remind him and yourself that the

        8   chief compliance officer has personal liability.

        9   Q    Okay.   That's -- that's the message you wanted to convey

       10   to Mr. Surgent, right?

       11   A    Yes.

       12   Q    And, again, you never bothered to ask Mr. Seery what his

       13   businessperson -- purpose or investment rationale was,

       14   correct?

       15   A    I -- I didn't believe I could talk to him directly.

       16   Q    This is before the --

       17   A    That's why I never picked up the phone.

       18   Q    Okay.   You intended to convey the message to Mr. Surgent

       19   that, by following Mr. Seery's orders to execute the trades,

       20   that Mr. Surgent faced personal liability, correct?

       21   A    Yes, he does.

       22   Q    And that's the message you wanted to send to him, right?

       23   A    It's a true and accurate message, yes.

       24   Q    Okay.   Just a few days earlier, you also threatened Mr.

       25   Seery, right?




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        1   A    I wouldn't use the word "threatened."

        2   Q    Okay.    Let's let -- let's let it speak for itself.

        3                MR. MORRIS:   Can we go to Exhibit E, please?    Keep

        4   scrolling down just a bit.

        5   BY MR. MORRIS:

        6   Q    This is an email that you sent to Mr. Seery on November

        7   24th.   And as always, Mr. Dondero -- this is the third time

        8   we're meeting -- if there's something in the document that you

        9   need to see, please just let me know, because I don't -- I

       10   don't mean to test your memory if the document can help

       11   refresh your recollection.

       12                MR. MORRIS:   Can we just scroll up a little bit

       13   further to the top to see the date?

       14   BY MR. MORRIS:

       15   Q    Okay.    So, Jim, there, JD, who is that?

       16   A    That's me.

       17   Q    Okay.    And can you tell by the substance of the email, of

       18   the text messages, this is communications between you and Mr.

       19   Seery, right?

       20   A    Yes.

       21   Q    Okay.    And you see that it's dated November 24th there?

       22   A    Yes.    Right after we were discussing the pipeline.        Or

       23   right when we were working on the pipeline.

       24   Q    Okay.

       25                MR. MORRIS:   Can you scroll down a little bit,




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        1   please?

        2   BY MR. MORRIS:

        3   Q    At 5:26 p.m., you sent Mr. Seery a text, correct?

        4   A    Yes.

        5   Q    Can you read that, please?

        6   A    (reading)   Be careful what you do.    Last warning.

        7   Q    Okay.   This was a warning telling Mr. Seery to stop

        8   selling assets out of the CLOs or the beneficial owners would

        9   take more significant action against him, correct?

       10   A    It was a general statement that what he was doing was

       11   regulatorily inappropriate and ethically inappropriate and he

       12   was in breach of the contracts he was operating.

       13   Q    Neither you nor any entity owned or controlled by you are

       14   parties to the contracts you just referred to; isn't that

       15   correct?

       16   A    I believe they're indirectly parties to those contracts,

       17   especially when they're in default.

       18   Q    Neither you nor any entity owned or controlled by you is a

       19   signatory to any CLO management contract pursuant to which the

       20   Debtor is a party, correct?

       21   A    I -- I don't know and I don't want to make legal

       22   conclusions on that.

       23   Q    Okay.   At the deposition the other day, some of the things

       24   that you suggested the beneficial owners of the CLO interests

       25   might do against Mr. Seery and the Debtor are class action




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        1   lawsuits.    Is that right?

        2   A    I -- I did not suggest the entities I control would do

        3   that.   If anybody on this call were to call a class action

        4   lawsuit -- a class action law firm and tell them what's been

        5   going on with the CLOs, I think a class action law firm would

        6   file it on their own regard, not on the behalf of my entities.

        7               MR. MORRIS:    I move to strike, Your Honor.

        8               THE COURT:    Sustained.

        9   BY MR. MORRIS:

       10   Q    Let's talk about that cell phone.        Okay?   Until at least

       11   December 10th, the day the TRO was entered, you had a cell

       12   phone that was bought and paid by the Debtor, right?

       13   A    Yes.

       14   Q    But sometime after December 10th, your phone was disposed

       15   of or thrown in the garbage; is that right?

       16   A    Yes.

       17   Q    And you don't know when after December 10th the cell phone

       18   that was the Debtor's property was disposed of, right?

       19   A    I don't believe at that point it was the Debtor's

       20   property.    I think I paid it off in full and the Debtor had

       21   announced that they were canceling everybody's cell phones so

       22   it was appropriate for me to get another one.

       23               MR. MORRIS:    I move to strike, Your Honor.

       24               THE COURT:    Sustained.

       25               MR. BONDS:    Your Honor, at some point, I mean, Mr.




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        1   Morris just ought to go on and testify.

        2                MR. MORRIS:    No, this is Mr. Dondero's testimony,

        3   Your Honor.     He gave it the other day.     I'm just asking him to

        4   confirm it, basically.

        5                THE COURT:    Okay.   I overrule the objection, if any

        6   there was, on the part of Mr. Bonds.

        7   BY MR. MORRIS:

        8   Q    Sometime after December 10th, the cell phone that prior to

        9   that time had been owned and paid for by the Debtor was thrown

       10   in the garbage or otherwise disposed of, correct?

       11   A    Yes.

       12   Q    And you don't know when after December 10th that was --

       13   the phone was disposed of, correct?

       14   A    It was on or about that date, I'm sure.

       15   Q    Well, we know it was after December 10th, right?

       16   A    Okay.    Or about that date.

       17   Q    You testified the other day that you just don't know who

       18   made the decision to throw your phone away, right?

       19   A    I could find out, but I don't know.        I would have to talk

       20   to employees.

       21   Q    Did you make any request of the Debtor since your

       22   deposition to try to find out the answer as to who made the

       23   decision to throw your phone away?

       24   A    No.

       25   Q    How did you learn that your phone was thrown away?




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        1   A    As I testified, it's standard operating procedures every

        2   time a senior executive gets a new phone.

        3   Q    Hmm.    You don't know exactly who threw the phone away; is

        4   that right?

        5   A    No, but I can find out.

        6   Q    Okay.    I'm just asking -- I'm not asking you to find out.

        7   I'm just asking you if you know.         Do you know who threw your

        8   phone away?

        9   A    No.

       10   Q    Do you know who made the decision to throw your phone

       11   away?

       12   A    It -- there wasn't a decision.        It was standard operating

       13   procedure.

       14                MR. MORRIS:    I move to strike.

       15                THE COURT:    Sustained.

       16   BY MR. MORRIS:

       17   Q    You and Mr. Ellington disposed of your phones at the same

       18   time, correct?

       19   A    I don't have specific awareness regarding what Mr.

       20   Ellington did with his phone.

       21   Q    It never occurred to you to get the Debtor's consent

       22   before throwing the phone that they had purchased away, right?

       23   A    I'm not permitted to talk to the Debtor.

       24   Q    Sir, it never occurred to you to get the Debtor's consent

       25   before throwing the phone away, correct?




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        1   A   I'm going to stick with the answer I just gave.

        2               MR. MORRIS:         Can we go to Page 75 of the transcript?

        3   Lines 12 through 15.         There is an objection there, Your Honor.

        4   I would respectfully request that the Court rule on the

        5   objection before I read the testimony.

        6               THE COURT:       Okay.    Starting at Line 12?

        7               MR. MORRIS:         12.

        8               THE COURT:       (sotto voce)       (reading)       Did it ever

        9   occur to you to get the Debtor's consent before doing this?

       10   Objection, form.

       11       That objection is overruled.

       12   BY MR. MORRIS:

       13   Q   All right.          Mr. Dondero, did you give this answer to my

       14   question on Tuesday?

       15       "Q      Did    it    ever    occur   to    you   to   get   the   Debtor's

       16       consent before doing this?

       17       "A      No."

       18   A   Yes, I gave that testimony.

       19   Q   Okay.    And you also had the phone number changed from the

       20   Debtor's account to your own personal account; is that right?

       21   A   The phone number changed?            The phone number stayed the

       22   same.

       23   Q   But you had the number changed from the Debtor's account

       24   to your own personal account, correct?

       25   A   The Debtor said they wouldn't pay for it anymore.                    Who




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        1   else could I change it to?

        2              MR. MORRIS:    Your Honor, I move to strike.       It's a

        3   very simple question.

        4              THE COURT:    Sustained.

        5   BY MR. MORRIS:

        6   Q    I'll ask it one more time, Mr. Dondero.       You had the phone

        7   number changed from the Debtor's account to your personal

        8   account, correct?

        9   A    I didn't change the number.      I had the billing changed to

       10   my personal account versus the company account.

       11   Q    And you never asked the Debtor for permission to do that,

       12   correct?

       13   A    No.

       14   Q    And you never told Debtor you were doing that, correct?

       15   A    No.

       16   Q    And nobody ever told Mr. Seery or anybody at my firm that

       17   the phone was being thrown in the garbage, correct?

       18   A    Well, --

       19              MR. BONDS:    To the extent he knows.

       20              THE WITNESS:    Yeah.   I have no idea.   But I didn't.

       21   BY MR. MORRIS:

       22   Q    You didn't believe it was necessary to give the Debtor

       23   notice that you were taking the phone number for your own

       24   personal account and throwing the phone in the garbage,

       25   correct?




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        1   A    Correct.

        2   Q    The phone --

        3                MR. BONDS:    Your Honor, I'm going to object.      He --

        4   Mr. Dondero did not testify he personally threw the phone in

        5   the garbage.

        6                MR. MORRIS:    Withdrawn.

        7                THE COURT:    Okay.

        8   BY MR. MORRIS:

        9   Q    Mr. Dondero, the phone was in Highland's offices on

       10   December 10th, the date the TRO was in effect, correct?

       11   A    I -- I don't -- I -- I -- I don't know.          You know, I don't

       12   know.   It's -- I remember going over to -- well, anyway, I --

       13   I don't know.     We'll leave it at that.

       14                MR. MORRIS:    Can we go to Exhibit G, please?

       15   BY MR. MORRIS:

       16   Q    Who's Jason Rothstein, while we wait?

       17   A    Jason, Jason is our -- is the Highland head of technology.

       18   Q    Okay.    And did you text with him from time to time?           On or

       19   about December 10th?

       20   A    Yes.

       21   Q    Okay.

       22                MR. MORRIS:    Can we just scroll up a little bit?

       23   BY MR. MORRIS:

       24   Q    Is that Mr. Rothstein there?

       25   A    Yes.    Yeah.




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        1   Q   Okay.   And do you see that there's a text message that you

        2   sent to him on December 10th, right at the top?       Can you read

        3   -- can you read the text message Mr. Rothstein --

        4   A   He sent that to me.     At the top.

        5   Q   I apologize.    Thank you for the correction.     Can you read

        6   what Mr. Rothstein told you on December 10th?

        7   A   That my old phone is in the top drawer of Tara's desk.

        8   Q   And who's Tara?

        9   A   My assistant.

       10   Q   Is she still your assistant today?

       11   A   Yes.

       12   Q   And has she been serving as your assistant since the TRO

       13   was entered into on December 10th?

       14   A   Yes.

       15   Q   Okay.   Is it fair to say that you were informed on

       16   December 10th that the phone was not thrown in the garbage,

       17   had not been disposed of, but was instead sitting in Tara's

       18   desk?

       19   A   As of that moment, yes.

       20   Q   Okay.   And it's also fair to say that, as of December

       21   10th, Mr. Rothstein didn't take it upon himself to throw your

       22   old phone in the garbage, right?

       23   A   Not as of that moment.     But like I said, I can find out

       24   how it was disposed of.

       25   Q   If you were curious to do that, would you have done that




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        1   before today?

        2   A    I haven't been curious.

        3   Q    Thank you very much.    Someone you can't identify made the

        4   decision after December 10th to throw the phone in the garbage

        5   without asking the Debtor for permission or seeking the

        6   Debtor's consent, correct?

        7             MR. BONDS:    I'm going to object, Your Honor.      To the

        8   extent that the witness knows, he can answer.

        9             THE COURT:    I -- I didn't hear --

       10             THE WITNESS:    I don't know.

       11             THE COURT:    I didn't hear what your objection was,

       12   Mr. Bonds.   Repeat.

       13             MR. BONDS:    Your Honor, my objection was along the

       14   lines of to the extent that the witness knows, he could

       15   testify, but if he doesn't know, he doesn't need to speculate.

       16             THE COURT:    All right.   Well, I don't hear an

       17   objection there, but go ahead, Mr. Dondero, if you have

       18   knowledge and can answer the question.

       19             THE WITNESS:    I don't know.

       20   BY MR. MORRIS:

       21   Q    Do you recall that the Debtor subsequently gave notice to

       22   you to vacate its offices and to return its cell phone?

       23   A    I don't know.

       24   Q    Did you ever --

       25   A    I know I -- I know I was told to vacate the offices.        I




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        1   didn't see the specific --

        2   Q    Uh-huh.     Your lawyer -- your lawyers never told that

        3   Debtor that the cell phone had been disposed of or thrown in

        4   the garbage, consistent with company practice, right?

        5   A    I don't know.

        6                MR. MORRIS:   Can we put up Exhibit K, please?

        7   BY MR. MORRIS:

        8   Q    This is the letter that my firm sent to your lawyer on

        9   December 23rd.     Do you see that?

       10   A    Yeah, I see it.

       11   Q    Okay.

       12                MR. MORRIS:   Can we scroll down a little bit?       Keep

       13   going.   Okay.    Stop right there.

       14   BY MR. MORRIS:

       15   Q    Do you see that it says that, as a result of the conduct

       16   described above, that the Debtor "has concluded that Mr.

       17   Dondero's presence at the HCMLP office suite and his access to

       18   all telephonic and information services provided by HCMLP are

       19   too disruptive"?

       20   A    Yeah, I see it.

       21   Q    And this is the letter that gave you notice that you had

       22   to vacate the premises by December 30th, correct?

       23   A    I believe so.

       24                MR. MORRIS:   Can we scroll down a little bit?

       25   BY MR. MORRIS:




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        1   Q    You see at the bottom there's a reference to a defined

        2   term of "cell phones"?

        3   A    Yes.

        4   Q    And it says that the Debtor "will also terminate Mr.

        5   Dondero's cell phone plan and those cell phone plans

        6   associated with parties providing personal services to Mr.

        7   Dondero."    Do you see that?

        8   A    Yes.   Yeah.

        9   Q    Have I read that accurately?

       10   A    Yes.

       11   Q    And then my colleagues went on to write, "HCMLP demands

       12   that Mr. Dondero immediately turn over the cell phones to

       13   HCMLP by delivering them to you, Mr. Lynn."       Do you see that?

       14   A    Yes.

       15   Q    Have I read that accurately?

       16   A    Yes.

       17   Q    The last sentence on the page begins, "The cell phones

       18   and."

       19               MR. MORRIS:   And let's scroll down further.

       20   BY MR. MORRIS:

       21   Q    "The cell phones and the accounts are property of HCMLP.

       22   HCMLP further demands that Mr. Dondero refrain from deleting

       23   or wiping any information or messages on the cell phone.

       24   HCMLP, as the owner of the account and cell phones, intends to

       25   recover all information related to the cell phones and




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        1   accounts, and reserves the right to use the business-related

        2   information."     Have I read that accurately?

        3   A    Yes.

        4   Q    Okay.    We were a couple of weeks too late, huh?

        5   A    It sounds like it.

        6   Q    Yeah.    Because the phones were already in the garbage,

        7   right?

        8   A    Yes.

        9   Q    Uh-huh.    But that's not what Mr. Lynn told the Debtor on

       10   your behalf, right?

       11   A    I don't know.

       12   Q    Mr. Lynn -- all right.       Let's -- let's see what Mr. Lynn

       13   said.

       14                MR. MORRIS:    Can we go to Exhibit U, please?

       15   BY MR. MORRIS:

       16   Q    It took Mr. Lynn six days to write a one-paragraph letter

       17   in response, right?        December 29th, he responded?

       18                MR. MORRIS:    Can we scroll down a bit?

       19   BY MR. MORRIS:

       20   Q    Let me read beginning with the second sentence of the

       21   first substantive paragraph.       "We are at present not sure of

       22   the location of the cell phone issued to Mr. Dondero by the

       23   Debtor, but we are not prepared to turn it over without

       24   ensuring the privacy of the attorney-client communications."

       25   And then he goes on.




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        1        Have I read that correctly?

        2   A    Yes.

        3   Q    Okay.    So Mr. Lynn didn't say anything about the phone

        4   being thrown in the garbage, right?

        5   A    No.

        6   Q    He didn't say that it was disposed of, did he?

        7   A    No.

        8   Q    He didn't refer to any company practice or policy, right?

        9   A    No.

       10   Q    Mr. Lynn's not a liar, is he?

       11   A    No, he's not.

       12   Q    He's a decent and honest professional.      Wouldn't you agree

       13   with that?

       14   A    Yes.

       15   Q    And is it fair to say that he conveyed only the

       16   information that he had at the time?

       17   A    I don't know.

       18   Q    Do you have any reason to believe that Mr. Lynn would

       19   withhold from the Debtor the information that the cell phone

       20   had been thrown in the garbage, consistent with company

       21   practice?

       22   A    No, I don't believe he would withhold whatever he knew.

       23   Q    All right.    Let's talk about -- let's talk about other

       24   matters.     You do know, sir, do you not, that the Debtor is

       25   subject to the Bankruptcy Court's jurisdiction?




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        1   A   Yes.

        2   Q   Okay.    And we just saw in the December 23rd letter that

        3   the Debtor demanded that you vacate their offices a week

        4   later, right?

        5   A   Yes.

        6   Q   And you knew that at or around the time the letter was

        7   sent on December 23rd, correct?

        8   A   I -- I don't remember when I knew.

        9   Q   Well, in fact, in fact, you or through counsel asked for

       10   an accommodation and asked for an extension of time to

       11   December 31st; isn't that right?

       12   A   I had to pack up 30 years of stuff in three days.         I -- I

       13   know we asked for some forbearance.       I don't think we got any.

       14   I don't remember the details.       I don't understand why it's

       15   important.

       16   Q   Okay.    It was actually -- withdrawn.      The Debtor actually

       17   gave you seven days' notice, right?       They sent the letter on

       18   December 23rd and asked you to vacate on December 30th,

       19   correct?

       20   A   I don't -- I don't remember.       But, again, I think the

       21   initial response was it was inconsistent with shared services

       22   agreement.   No Highland employees are coming into the office

       23   anyway.    So kicking me out of my office was -- seemed

       24   vindictive and overreaching.     And we tried to get some, you

       25   know, forbearance.




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        1   Q    Okay.

        2                MR. MORRIS:    I move to strike, Your Honor.

        3                THE COURT:    Sustained.

        4   BY MR. MORRIS:

        5   Q    Mr. Dondero, you were given seven days' notice before --

        6   before you were going to be barred from the Debtor's office,

        7   correct?

        8   A    I don't know.

        9   Q    Okay.

       10                MR. MORRIS:    Can we go back to Exhibit K, please?

       11   Oh, actually, it's okay.

       12   BY MR. MORRIS:

       13   Q    We just read, actually, the piece from the Debtor's letter

       14   of December 23rd barring you from the Debtor's office.          Do you

       15   remember that?     And we can go back and look at it if you want.

       16   A    Yes.

       17   Q    Was there anything ambiguous that you recall about the

       18   Debtor's demand that you not enter their offices after

       19   December 30th?

       20   A    Ambiguous?    I can tell you what my understanding was or I

       21   can tell you what the letter says.         What would you like to

       22   know?

       23   Q    I'd just like to know if, as you sit here right now, you

       24   believe there was anything ambiguous about the Debtor's demand

       25   that you vacate the offices as of December 30th?




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        1   A   I mean, I did vacate the offices as of December 30th.

        2   Q   Correct.     And you knew that -- and you were complying with

        3   the Debtor's demand you do that, right?

        4   A   Well, with the Court's demand, I guess.

        5   Q   Okay.    And it's your understanding that you would not be

        6   permitted in the Debtor's offices after that time, correct?

        7   A   Um, (pause), uh, I don't know how to answer that question.

        8   I knew I wouldn't be residing in the offices anymore.         But for

        9   legitimate business purposes, to visit the people at NexPoint

      10    who were in the office, since there are no Highland people in

      11    the office, or to handle a deposition, you know, there was

      12    nothing I thought inappropriate about that.

      13    Q   Did the Debtor tell you that they would allow you to enter

      14    the offices any time you just believed that it would be

      15    appropriate to do that?

      16    A   I used my business judgment.

      17                MR. MORRIS:    I move to strike.

      18    BY MR. MORRIS:

      19    Q   I'm asking you a very --

      20                THE COURT:    Sustained.

      21    BY MR. MORRIS:

      22    Q   -- specific question, sir.         Did the Debtor ever tell you

      23    that they -- that you would be permitted to enter their

      24    offices after December 30th if you, in your own personal

      25    discretion, believed it to be appropriate?




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        1   A    No.

        2   Q    Did the Debtor provide you any exception to their demand

        3   that you vacate the offices, without access, by and after

        4   December 30th?

        5   A    I always do what I think is appropriate and in the best

        6   interests.     I don't know.    I didn't know the specifics of the

        7   Debtor's -- okay, yeah, what the specifics of the Debtor was.

        8   Q    Despite the unambiguous nature of the Debtor's demands

        9   letter, on Tuesday you just walked right into the Debtor's

       10   office and sat for the deposition, correct?

       11   A    I believe that was reasonable, yes.

       12   Q    Okay.    But you didn't -- you didn't have the Debtor's

       13   approval to do that, correct?

       14   A    We didn't have technology to do it anywhere else, so if

       15   the deposition was going to occur, it had to occur there.

       16   Q    Sir, --

       17                MR. MORRIS:    Move to strike.

       18                THE COURT:    Sustained.

       19   BY MR. MORRIS:

       20   Q    And I ask you to just listen very carefully.          And if it's

       21   not clear to you, please let me know.         You did not have the

       22   Debtor's approval to enter their offices on Tuesday to give

       23   your deposition, correct?

       24   A    No.

       25   Q    And you did not even bother to ask the Debtor for




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        1   permission, correct?

        2   A    I'm prohibited from contacting them, so no, I did not.

        3   Q    Okay.    Let's talk about other events that occurred after

        4   the entry of the TRO.       We talked earlier about how you

        5   interfered with Mr. Seery's trading activities on behalf of

        6   the CLOs around Thanksgiving.       Do you remember that?

        7   A    Yes.

        8   Q    But after the TRO was entered, the K&L Gates Clients also

        9   interfered with the Debtor's trading activities, correct?

       10   A    No.

       11                MR. MORRIS:   Can we go to Exhibit K, please?    Can we

       12   start at the first page?       And scroll down just a bit.

       13   BY MR. MORRIS:

       14   Q    Do you see there's an explanation there about the Debtor's

       15   management of CLOs?

       16   A    Yes.

       17   Q    And there's a recitation of the history that we talked

       18   about earlier, where around Thanksgiving you intervened to

       19   block those trades?

       20   A    Yes.

       21   Q    And then the next paragraph refers to the prior motion

       22   that was brought by the CLO entities?         I mean, the K&L Gates

       23   entities, right?

       24   A    Yes.

       25   Q    And you were aware of that motion at the time it was made,




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        1   right?

        2   A    Yes.

        3   Q    And you were supportive of the making of that motion,

        4   right?

        5   A    Supportive?    Yes.

        6                MR. MORRIS:   And scroll down to the next paragraph,

        7   please.

        8   BY MR. MORRIS:

        9   Q    Okay.    So, my colleague wrote that, "On December 22nd,

       10   2020, employees of NPA and HCMFA notified the Debtor that they

       11   would not settle the CLO sale of the AVAYA and SKY

       12   securities."     Have I read that right?

       13   A    Yes.

       14   Q    And that took place six days after the motion that the

       15   Court characterized as frivolous was denied on December 16th?

       16   A    Yes.    I wasn't aware of that, for what that's worth.

       17   Q    Okay.    You personally instructed the employees --

       18   withdrawn.     NPA -- that refers to NexPoint, correct?

       19   A    Yes.

       20   Q    That's an entity you own and control, right?

       21   A    I -- largely.

       22   Q    And that's one of the Advisors we defined earlier, right?

       23   A    Yes.

       24   Q    And HCMFA, that's Fund Advisors, another advisory firm

       25   that you own and control, correct?




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        1   A      Yes.

        2   Q      And you personally instructed, on or about December 22nd,

        3   2020, employees of those Advisors to stop doing the trades

        4   that Mr. Seery had authorized with respect SKY and AVAYA,

        5   right?

        6   A      Yeah.    Maybe we're splitting hairs here, but I instructed

        7   them not to trade them.         I never gave instructions not to

        8   settle trades that occurred.         But that's a different ball of

        9   wax.

       10   Q      Okay.    But you did instruct them not to execute trades

       11   that had not been made yet, right?

       12   A      Yeah.    Trades that I thought were inappropriate, for no

       13   business purpose, I -- I told them not to execute.

       14   Q      Okay.    You actually learned that Mr. Seery wanted to

       15   effectuate these trades the Friday before, right?

       16   A      I don't know, but what did I do?         When did I know it?

       17   What did I do?       When I knew things are inappropriate, I

       18   reacted immediately.         I don't -- I don't -- whenever --

       19   whenever I found out about inappropriate things, I reacted to

       20   the best of my ability.

       21   Q      Okay.

       22                  MR. MORRIS:    I move to strike, Your Honor.

       23                  THE COURT:    Sustained.

       24          Mr. Dondero, I'm going to -- I'm going to interject some

       25   instructions once again here.         Remember we talked about early




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        1   on, and I know you've testified before, but I'll repeat it:

        2   You need to just give direct yes or no answers.

        3        And let me just say that we see witnesses all the time do

        4   what you're doing here, and that is they feel they need to say

        5   more than yes or no.    They feel the need to clarify or

        6   supplement the yes or no answer they give.      And just to remind

        7   you how this works, your lawyer, Mr. Bonds, is going to be

        8   given the opportunity when Mr. Morris is through to ask you

        9   all the questions he wants, and that will be your chance to

       10   clarify yes and no answers to the extent he asks you to

       11   revisit certain of these questions and answers.       Okay?

       12        So I'm going to remind you once again:       yes or no or

       13   direct -- you know, other appropriate direct answers.         Mr.

       14   Bonds can let you clarify later.     All right?

       15        Mr. Morris, continue.

       16             MR. MORRIS:    Okay.   Thank you, Your Honor.

       17        Can we please put up on the screen Exhibit L?       And at the,

       18   I guess, the bottom of Page 1.

       19   BY MR. MORRIS:

       20   Q    This is an email string.    And --

       21             MR. MORRIS:    Go to the email below that, please.

       22   Yeah.   Okay.   Right there.

       23   BY MR. MORRIS:

       24   Q    This is an email from Mr. Seery dated December 18th at

       25   (garbled) :30 p.m.    Do you see that?




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        1   A    Yes.

        2   Q    And in the substantive portion of his email, continuing on

        3   to the next page, he's giving instructions to sell certain SKY

        4   and AVAYA securities that are held by CLOs, correct?

        5   A    Yes.

        6   Q    And Mr. Sowin forwarded this email to you, right?

        7   A    Yes.

        8               MR. MORRIS:   If we can scroll up.

        9   BY MR. MORRIS:

       10   Q    And you forwarded it to Mr. Ellington, right?       I'm sorry.

       11   Let's just give Ms. Canty a chance.

       12               MR. MORRIS:   Keep scrolling up.

       13   BY MR. MORRIS:

       14   Q    So, Mr. Sowin forwarded it to you at 3:34 p.m.       Do you see

       15   that?

       16   A    Yes.

       17   Q    And if we scroll up, you turn around and give it to Mr.

       18   Ellington a few minutes later, right?

       19   A    Yes.

       20   Q    So that you and Mr. Ellington and Mr. Sowin are all aware

       21   that Mr. Seery wants to sell AVAYA and SKY securities on

       22   behalf of the CLOs, right?

       23   A    Yes.

       24   Q    Why did you decide to forward this email to Mr. Ellington?

       25   A    Ellington's role has been of settlement counsel that




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       1   supposedly everybody is able to talk to to try and bridge some

       2   kind of settlement.       Ellington, I thought, should be aware of

       3   things that would make settlement more difficult or create

       4   liabilities for the Debtor.      And so I thought it was

       5   appropriate for him to know.

       6   Q    Okay.    This is the email that caused you to put a stop to

       7   the trades that Mr. Seery wanted to effectuate, correct?

       8   A    This is the -- I'm sorry.       Ask the question again.   This

       9   is the email that what?

      10   Q    This is -- this is how you learned that Mr. Seery wanted

      11   to effectuate rates in AVAYA and SKY securities, right?

      12   A    I -- I learned about it pretty early on of him trading it.

      13   I don't know if it was this email or -- or one of the others.

      14   But yes, it was from -- it was from Joe Sowin.

      15   Q    And you would agree with me, would you not, that you

      16   personally instructed the employees of the Advisors not to

      17   execute the very trades that Mr. Seery identifies in this

      18   email, correct?

      19   A    Yes.

      20   Q    At no time after December 10th, when the TRO was entered

      21   into, did you instruct the employees of the Funds that you own

      22   and control not to interfere or impede the Debtor's management

      23   of the CLOs, correct?

      24                MR. BONDS:   Can you repeat the question?   I'm sorry.

      25   BY MR. MORRIS:




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        1   Q    At no time after December 10th, when the TRO was entered,

        2   did Mr. Dondero instruct any employee of either of the

        3   Advisors that he owns and controls not to interfere or impede

        4   with the Debtor's business and management of the CLOs,

        5   correct?

        6   A    I did not.

        7   Q    Okay.    Neither you nor anybody that you know of ever

        8   provided a copy of the TRO to the employees of the Advisors

        9   that you own and control, correct?

       10   A    I don't know.

       11   Q    Okay.    After the TRO was entered, the K -- after the TRO

       12   was entered, and after the hearing on December 16th, the K&L

       13   Gates Clients sent three more letters to the Debtor, right?

       14   A    Yes.

       15   Q    Okay.

       16                MR. MORRIS:    Your Honor, those are Exhibits M as in

       17   Mary, N as in Nancy, and X as in x-ray.

       18                THE COURT:    Okay.

       19                MR. MORRIS:    Unless the witness thinks there is a

       20   need to look at them specifically -- oh, let me just ask a

       21   couple of questions.

       22   BY MR. MORRIS:

       23   Q    Mr. Dondero, in those letters, it's your understanding

       24   that the K&L Gates Clients again requested that the Debtor not

       25   trade any securities on behalf of the CLOs, right?




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        1   A    Yes.

        2   Q    And it's your understanding that in those letters the K&L

        3   Gates Clients suggested that they might seek to terminate the

        4   CLO management agreements to which the Debtor was a party,

        5   correct?

        6   A    I don't know specifically, but that wouldn't surprise me.

        7   Q    Okay.

        8   A    So, --

        9   Q    Is it your understanding that the K&L Gates Clients also

       10   sent the letter a Debtor -- the Debtor a letter in which they

       11   asserted that your eviction from the offices might cause them

       12   damages and harm?

       13   A    I know there was objections to me -- I assume so.        I don't

       14   know specifically.

       15   Q    And you were aware of these letters at the time that they

       16   were being sent, right?

       17   A    I'm sorry, what?

       18   Q    You were aware of these letters at the time they were

       19   being sent by the K&L Gates Clients, right?

       20   A    Generally, yes.

       21   Q    And you were generally supportive of the sending of those

       22   letters, right?

       23   A    I'm always supportive of doing what we believe is the

       24   right thing, yes.

       25   Q    And in this case, you were supportive of the sending of




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        1   these three letters, correct?

        2   A    I -- yes.

        3   Q    In fact, you pushed and encouraged the chief compliance

        4   officer and the general counsel to send these letters, right?

        5   A    I push them to do the right thing.      I didn't push them

        6   specifically.

        7   Q    Okay.   At the time the letters were sent, you were aware

        8   that the K&L Gates Clients had filed that motion that was

        9   heard on the 16th of December, correct?

       10   A    Yes.

       11   Q    And you were aware that they advanced the very same --

       12   withdrawn.   You're aware that in the letters they advance some

       13   of the very same arguments that Judge Jernigan had dismissed

       14   as frivolous just six days earlier, right?

       15   A    I wasn't at the hearing.    I don't know if it was the same

       16   arguments or similar arguments.     I -- I can't -- I can't

       17   corroborate the similarity or contrast the differences between

       18   the two.

       19   Q    All right.   So it's fair to say, then, that you were

       20   supportive of the sending of these letters, you were aware of

       21   the December 16 argument, but you didn't take the time to see

       22   whether or not any of the arguments being advanced in the

       23   letters were consistent or any different from the arguments

       24   that were made at the December 16th hearing, correct?

       25   A    Correct.    I wasn't directly involved, but still believed




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        1   that fundamentally Seery's behavior was wrong.

        2   Q    You never instructed the K&L Gates Clients to withdraw the

        3   three letters that were sent after December 10th, correct?

        4   A    No.

        5   Q    And you're aware that the Debtor had demanded that those

        6   letters be withdrawn or it would seek a temporary restraining

        7   order against the K&L Gates Clients, correct?

        8   A    I'm not aware of the back and forth.

        9   Q    Okay.   Let's talk about your communications with Mr.

       10   Ellington and Mr. Leventon.     You communicated with them on

       11   numerous occasions after December 16th, correct?

       12   A    No.

       13   Q    No, you didn't communicate with them many times after

       14   December 10th?

       15   A    You're lumping in Ellington and Isaac, and numerous times

       16   is a bad clarifier, so the answer is no.

       17   Q    I appreciate that.    You communicated many times with Mr.

       18   Ellington after December 10th, right?

       19   A    Not -- not outside shared services, pot plan, and him

       20   being the go-between between me and Seery.      I would say

       21   virtually none.

       22   Q    Okay.   On Saturday, December 12th, two days after the

       23   temporary restraining order was entered against you, Mr.

       24   Ellington was involved in discussions with your personal

       25   counsel about who would serve as a witness at the upcoming




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        1   December 16th hearing, correct?

        2   A    I don't -- I don't remember.

        3   Q    Let's see if we can refresh your recollection.

        4                MR. MORRIS:   Can we please put up Exhibit P?    Can we

        5   scroll down?     Okay.

        6   BY MR. MORRIS:

        7   Q    Do you see where Mr. Lynn writes you an email on Saturday,

        8   December 12th, and he says, among other things, it looks like

        9   trial?

       10   A    Yes.

       11   Q    And then if we scroll up a little bit, he wrote further,

       12   "That said, we must have a witness now."      Have I read that

       13   accurately?

       14   A    Yes.

       15   Q    Okay.

       16                MR. MORRIS:   Can we scroll back up?

       17   BY MR. MORRIS:

       18   Q    And this is Mr. Ellington's response, right?

       19   A    Yes.

       20   Q    Can you read Mr. Ellington's response for Judge Jernigan?

       21   A    (reading)    It will be J.P. Sevilla.    I'll tell him that he

       22   needs to contact you first thing in the morning.

       23   Q    Is it your testimony that this email relates to --

       24   withdrawn.     Mr. Ellington is not your personal lawyer, right?

       25   A    No.    Mr. Ellington has been functioning as settlement




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        1   counsel, trying to bridge settlement, --

        2   Q    Okay.

        3   A    -- which is what this email looks like to me.

        4   Q    Okay.    I'll let -- I'll let the judge --

        5                MR. MORRIS:    I move to strike, Your Honor.

        6                THE COURT:    Sustained.

        7   BY MR. MORRIS:

        8   Q    So, after the TRO was entered, you and Mr. Ellington not

        9   only communicated but Mr. Ellington was actively involved in

       10   identifying witnesses to testify on behalf of your interests

       11   at the December 16th hearing, correct?

       12   A    I -- I don't know what the witness was for, but I believe

       13   Ellington was doing his job as settlement counsel, trying to

       14   facilitate settlement.       I don't -- I have no reason to think

       15   this was anything more nefarious.

       16   Q    Okay.    You looked to Mr. Ellington for leadership in

       17   coordinating with all of the lawyers who were working for you

       18   and your personal interests, right?

       19   A    I'm not agreeing with that.

       20   Q    No?   All right.

       21                MR. MORRIS:    Let's look at the next exhibit.     I think

       22   it's Exhibit Q.     And if we could stop right there.

       23   BY MR. MORRIS:

       24   Q    There's an email from Douglas Draper, do you see that, on

       25   December 16th?




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        1   A    Yes.

        2   Q    So this is after the TRO was entered into, right?

        3   A    I believe so.

        4   Q    And Mr. Draper represents Get Good and Dugaboy; is that

        5   right?

        6   A    I believe so.

        7   Q    And he was new to the case at that moment in time, right?

        8   A    On or about, I believe so.

        9   Q    And he was looking to -- he was looking for a joint

       10   meeting among all of the lawyers representing your personal

       11   interests, right?

       12   A    No.    I think he was trying to coordinate -- coordinate or

       13   understand whatever.      But not everybody -- he doesn't just

       14   talk to lawyers around my interests.      I mean, and he hasn't

       15   sought agreements with just lawyers reflecting my interests.

       16   Q    You forwarded Mr. Draper's email to Mr. Ellington, right?

       17   A    Yes.

       18   Q    But you can't remember why you did that, right, or at

       19   least -- withdrawn.       You couldn't remember as of Tuesday's

       20   deposition why you forwarded this email to Mr. Ellington,

       21   right?

       22   A    Not specifically.      But, again, Ellington is settlement

       23   counsel.

       24               MR. MORRIS:    I move to strike, Your Honor, after the

       25   initial phrase "Not specifically."




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        1               THE COURT:    Sustained.

        2               MR. MORRIS:    Can we scroll up a little bit, please?

        3   BY MR. MORRIS:

        4   Q    Mr. Lynn responded initially with a reference to the

        5   assumption that a particular lawyer was with K&L Gates, right?

        6   A    Yes.

        7               MR. MORRIS:    And if we could scroll up a little bit.

        8   BY MR. MORRIS:

        9   Q    That's where you forward this email to Mr. Ellington,

       10   right?

       11   A    Yes.

       12   Q    And can you read to Judge Jernigan what you wrote at 1:33

       13   p.m.?

       14   A    (reading)    I'm going to need you to provide leadership

       15   here.

       16   Q    But at least as of Tuesday's deposition, you couldn't

       17   remember why you needed Mr. Ellington to provide leadership,

       18   right?

       19   A    Correct.    Nor if he did.

       20               MR. MORRIS:    I move to strike the latter portion of

       21   the answer, Your Honor.

       22               THE COURT:    Sustained.

       23   BY MR. MORRIS:

       24   Q    So you have no --

       25        (Echoing.)




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        1             MR. MORRIS:    We're getting --

        2             THE WITNESS:    Can I -- can I hold -- can I hold on

        3   for one second here?     Can I just put you guys on mute, please?

        4             MR. MORRIS:    Sure.

        5        (Pause.)

        6             THE COURT:    All right.

        7             THE CLERK:    John, there's some feedback again.          I'm

        8   sorry.

        9             MR. MORRIS:    That's okay.

       10             THE COURT:    Mr. Bonds, --

       11             MR. MORRIS:    We lost Mr. --

       12             THE COURT:    Mr. Bonds, what's going on?

       13             MR. MORRIS:    We've lost -- the screen --

       14             THE COURT:    You know you can't counsel your client in

       15   the middle of court testimony.       I thought maybe Mr. Dondero

       16   had some non-legal thing going on in the background.          Mr.

       17   Bonds?

       18             MR. BONDS:    Your Honor, I -- I did not in any way

       19   counsel Mr. Dondero.

       20             THE COURT:    Okay.    Well, I'll take your

       21   representation on that.     Are we ready to go forward?

       22             MR. MORRIS:    I'll readily accept Mr. Bonds'

       23   representation as well, Your Honor.

       24             THE COURT:    Okay.

       25             MR. MORRIS:    But I'd ask that it not happen again.




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        1                THE COURT:    Well, fair enough.   I think Mr. Bonds

        2   understands.

        3   BY MR. MORRIS:

        4   Q    Mr. Dondero, you have no recollection of why you forwarded

        5   this email to Mr. Ellington and why you told him you needed

        6   him to provide leadership, correct?

        7   A    Correct.

        8                MR. MORRIS:    And if we can scroll up, can we just see

        9   how Mr. Ellington responded?

       10   BY MR. MORRIS:

       11   Q    All right.    And can you just read for Judge Jernigan what

       12   Mr. Ellington said on December 16th in response to your

       13   statement that you're going to need him to provide leadership

       14   here?

       15   A    (reading)    On it.

       16   Q    Thank you.    In your deposition, you testified without

       17   qualification that Scott Ellington and Isaac Leventon did not

       18   participate in the drafting of a joint interest or mutual

       19   defense agreement.        Do you recall that testimony?

       20   A    Yes, as far as I knew.

       21   Q    And you also testified that you never discussed with

       22   either of them the topic of a joint defense or mutual defense

       23   agreement; is that right?

       24   A    Correct.    That was Draper.

       25   Q    Okay.




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        1                MR. MORRIS:    Can we put up Exhibit 11, please?     I

        2   apologize.     It's Exhibit W.    Okay.   Can we stop right there?

        3   BY MR. MORRIS:

        4   Q    This is an email between some of your counsel and Mr.

        5   Ellington.     Do you see that?

        6   A    Yes.

        7   Q    And a common interest agreement is attached to the

        8   communication.     Is that a fair reading of the portion of the

        9   exhibit that's on the screen?

       10   A    Yes.

       11                MR. MORRIS:    And can we scroll to the top of the

       12   exhibit, please?

       13   BY MR. MORRIS:

       14   Q    And do you see that there is an email exchange between Mr.

       15   Ellington and Mr. Leventon concerning the common interest

       16   agreement?

       17   A    Yes.

       18   Q    Okay.    So it's your testimony that this email may exist

       19   but you had no idea that Mr. Ellington and Mr. Leventon were

       20   working with your lawyers to draft a common interest

       21   agreement?     Is that your testimony?

       22   A    I wasn't part of this.       It looks to me like they were just

       23   included in a -- a final draft.       And, again, Ellington is

       24   settlement counsel.        I -- but I don't want to speculate why or

       25   what they were doing.




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       1   Q    Do you remember that I asked you a few questions the other

       2   day about Multi-Strat financial statements and whether or not

       3   you'd ever given -- you'd ever received any of those documents

       4   from Mr. Ellington and Mr. Leventon?

       5   A    Yes.

       6   Q    Okay.    And you testified under oath that you never got any

       7   financial information, including balance sheets, concerning

       8   Multi-Strat from either of those lawyers, correct?

       9   A    I -- hmm.    I -- I don't remember.       Yeah, I don't remember.

      10   I may have to clarify that, but I don't remember.

      11   Q    You testified under oath the other day that you wouldn't

      12   even think to ask them for financial information relating to

      13   Multi-Strat because it's not natural for them to have it,

      14   right?

      15   A    I -- I'm sorry.

      16                THE WITNESS:    Your Honor, do I just have to answer

      17   these questions yes or no, or is that the -- can I clarify at

      18   all, or can I --

      19                THE COURT:   Well, I mean, if the question simply

      20   directs a yes or no answer, that's correct, you just answer

      21   yes or no.     And I think this one did.

      22        Again, your lawyer is going to have the chance to do

      23   follow-up examination later.

      24   BY MR. MORRIS:

      25   Q    So let me try again.       During your deposition, you




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        1   testified under oath without qualification that you never got

        2   any financial information, including balance sheets,

        3   concerning Multi-Strat from Scott Ellington or Isaac Leventon,

        4   correct?

        5   A    I believe I might have misspoken there.

        6   Q    Okay.    But that was your testimony the other day, right?

        7   A    Yes.

        8   Q    And today, you believe you might have gotten that

        9   information from them, right?

       10   A    Only because Ellington was supposed to be the go-between

       11   and I couldn't go directly to somebody.       But he wouldn't

       12   normally have that information, which is what I was saying.

       13                MR. MORRIS:    Your Honor, I have an exhibit that's not

       14   on the Debtor's exhibit list, and I was going to use it for

       15   impeachment purposes to establish the fact that Mr. Ellington

       16   and Mr. Leventon in fact gave to Mr. Dondero, after December

       17   10th, financial information concerning Multi-Strat, which Mr.

       18   Dondero had previously denied receiving.       May I -- may I use

       19   that document to impeach Mr. Dondero?

       20                THE COURT:    You may.

       21                MR. BONDS:    Your Honor, I'm going to object.   This is

       22   pretty clearly something that should have been disclosed and

       23   it wasn't.

       24                THE COURT:    Well, he says it's purely to impeach the

       25   testimony that Mr. Dondero just now gave.       So we'll -- we'll




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        1   see the document and, you know, I'll either agree with that

        2   being impeachment or not.      So, he may proceed.

        3               MR. BONDS:    Your Honor, I think that the testimony

        4   -- Your Honor, I'm sorry.      I think that the testimony that was

        5   (inaudible) given was that he thought that he may have talked

        6   to Scott or Isaac, not that he did not.

        7               MR. MORRIS:    Your Honor, if I may, the testimony the

        8   other day was unequivocal and unambiguous that not only didn't

        9   he get this information from the two lawyers, but that he had

       10   no reason to believe he would ever get the information from

       11   those two lawyers.

       12        I appreciate the fact that Mr. Dondero today is suggesting

       13   that he may have, but I -- I would still like to use this

       14   document to refresh his recollection and to impeach even the

       15   possibility that he's giving this qualified testimony that he

       16   may have.

       17               THE COURT:    All right.

       18               MR. MORRIS:    There's no doubt that he did.

       19               THE COURT:    I overrule the objection.    You can go

       20   forward.

       21               MR. MORRIS:    Can we please put up on the screen -- I

       22   believe it's Debtor's Exhibit AA.        And if we can scroll down,

       23   please.    And just stop, yeah, towards the top.       All right.

       24   Stop right there.

       25   BY MR. MORRIS:




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        1   Q   Do you see in the first email Mr. Klos -- he's an employee

        2   of the Debtor, right?

        3   A   Yes.

        4   Q   And he provides Multi-Strat balance sheet and financial

        5   information to Mr. Leventon, Mr. Ellington, and Mr.

        6   Waterhouse.    Do you see that?

        7   A   Yes.    He's the person I would normally go to.

        8   Q   Okay.     And they're all Debtor employees, right?

        9   A   Yes.

       10   Q   Okay.     And then Mr. Leventon sends it to you and Mr.

       11   Ellington on February 4th, 2020; is that correct?

       12   A   Yes.

       13   Q   And this is confidential information; is that fair?

       14   A   No.

       15   Q   Okay.     Let's -- let's talk about the next --

       16   A   No, it's not -- wait, wait, hold on a second.        Judge, I

       17   need to clarify this.    I -- it's not confidential information.

       18   It's available to every investor, of which I was one of them.

       19   Okay?   So, let's -- let's not mischaracterize this as some

       20   corporate secret.

       21   Q   Okay.     You interfered with the Debtor's production of

       22   documents; isn't that right?

       23   A   No.

       24   Q   Several times in the last year, various entities have

       25   requested that Dugaboy produce its financial statements,




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        1   correct?

        2   A    Dugaboy is my personal trust.       It's not an entity of the

        3   Debtor in any form or fashion.

        4   Q    Sir, you're aware that several times in the last year

        5   various entities requested that the Debtor produce Dugaboy

        6   financial information, correct?

        7   A    The Debtor is not in a position to do it.        I -- I don't

        8   know if it's been several times or whatever, but it's not

        9   appropriate.

       10               MR. MORRIS:    I move to strike, Your Honor.

       11               THE COURT:    Sustained.

       12   BY MR. MORRIS:

       13   Q    I'll try one more time.      If we need to go to the

       14   transcript, we can.       It's a very simple question.    You knew

       15   and you know that several times in the last year various

       16   entities have requested that the Debtor produce Dugaboy

       17   financial statements, correct?

       18   A    Yes.

       19   Q    Do you recall at the deposition the other day I asked you

       20   whether you had ever discussed with Mr. Ellington and Mr.

       21   Leventon whether or not the Dugaboy financial statements

       22   needed to be produced, and you were directed not to answer the

       23   question by counsel and you followed those directions?

       24   A    Yes.

       25   Q    But you communicated with at least one employee concerning




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        1   the production of the Dugaboy financial statements, correct?

        2   A    Yes.

        3   Q    And that's Melissa Schroth; is that right?

        4   A    Yes.

        5   Q    She's an executive accountant employed by the Debtor,

        6   right?

        7   A    Yes.

        8   Q    And on December 16th, after the TRO was entered into, you

        9   instructed Ms. Schroth not to produce the Dugaboy financials

       10   without a subpoena, correct?

       11   A    That was the advice I had gotten from counsel, yes.

       12   Q    Okay.    The Dugaboy and Get Good financial statements are

       13   on the Debtor's platform, correct?

       14   A    I do not know.

       15   Q    There is no shared services agreement between Dugaboy or

       16   Get Good and the Debtor, correct?

       17   A    I don't know.

       18   Q    You're not aware of any; is that fair?

       19   A    Yes.

       20   Q    Okay.

       21                MR. MORRIS:   Can we put on the screen Exhibit R?    And

       22   can you scroll down a bit?

       23   BY MR. MORRIS:

       24   Q    Okay.    That's Melissa Schroth at the top there; is that

       25   right?




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        1   A   Yes.

        2   Q   And these are texts that you exchanged with her after the

        3   TRO was entered into, correct?

        4   A   Yes.

        5               MR. MORRIS:   Can we scroll down a little bit?

        6   BY MR. MORRIS:

        7   Q   And do you see on December 16th you sent Ms. Schroth an

        8   email -- I apologize -- a text that says, "No Dugaboy details

        9   without subpoena"?

       10   A   Yeah.

       11   Q   But you can't remember why you sent this text, correct?

       12   At least you couldn't as of Tuesday?

       13   A   I believe it was on advice of counsel.

       14   Q   But that's not what you said on Tuesday, correct?

       15   A   I don't remember.

       16   Q   You sent this text even though you knew that various

       17   entities had requested the Dugaboy financials, but you have no

       18   recollection of ever talking to anyone at any time about the

       19   production of those documents, right?

       20   A   Can you repeat the question?

       21   Q   I'll move on.    Let me just -- last topic, and then I'm

       22   going to respectfully request that we just take a short break.

       23   You're familiar with the law firm of Baker & McKenzie; is that

       24   right?

       25       (Echoing.)




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        1   A   I'm sorry.    You broke up on us there.

        2   Q   No problem.    You're familiar with the law firm Baker &

        3   McKenzie, correct?

        4   A   Yes.

        5   Q   That firm has never -- never represented you or any entity

        6   in which you have an ownership interest, correct?

        7   A   Correct.

        8   Q   But in December, the Employee Group, of which Mr. Leventon

        9   and Mr. Ellington was a part, was considering changing counsel

      10    from Winston & Strawn to Baker & McKenzie, right?

      11    A   I believe so.

      12    Q   And you asked -- and because of that, you specifically

      13    asked Mr. Leventon for the contact information for the lawyers

      14    at Baker & McKenzie, right?

      15    A   I believe so.

      16    Q   Okay.

      17                MR. MORRIS:   Can we put up Exhibit S, please?

      18    BY MR. MORRIS:

      19    Q   And who is that email sent from?         I apologize.   Withdrawn.

      20    Who is that text message exchange with?

      21    A   Isaac Leventon.

      22    Q   Okay.    And Mr. Leventon was an employee of the Debtor

      23    after December 10th, correct?

      24    A   Yes.

      25                MR. MORRIS:   Can we scroll down a little bit?




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       1   BY MR. MORRIS:

       2   Q    And on December 22nd, you asked Mr. Leventon for the

       3   contact information at Baker & McKenzie, correct?

       4   A    Yes.

       5   Q    And the reason you asked Mr. Leventon for the contact

       6   information, that was in connection with the shared defense or

       7   mutual defense agreement, right?

       8   A    I -- I don't remember why.        It might have just been for my

       9   records.    I don't know.

      10   Q    The only reason that you could think of for asking for

      11   this information was for the shared defense or mutual defense

      12   agreement, correct?

      13   A    I -- no, it -- I don't know and I don't want to speculate.

      14   I don't want to -- I don't want to speculate.            I -- did -- I

      15   don't think I ever got -- I don't know what your point is.

      16               MR. MORRIS:   May we please go back to the transcript

      17   at Page 136?     At the bottom, Line 23.

      18   BY MR. MORRIS:

      19   Q    Were you asked this question and did you give this answer?

      20        "Q     Do   you   recall   asking      Isaac   Leventon   for     the

      21        contact     information    for   the   --   for   the   lawyers    at

      22        Bakers & McKenzie?

      23        "A     I -- I don't -- I don't -- it might have been for

      24        part of the shared defense, mutual defense whatever

      25        agreement, but that's -- that's the only reason I would




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        1        have asked for it."

        2   Q    Did you give that answer to my question?

        3   A    Yeah.    I shouldn't have speculated.

        4   Q    Okay.    But that's the answer you gave the other day; is

        5   that right?

        6   A    I shouldn't have speculated.        That's my answer today.

        7   Q    And today -- withdrawn.      In fact, you wanted the Baker

        8   contact information in order to help Mr. Draper coordinate the

        9   mutual defense agreement, correct?

       10   A    I don't want to speculate.

       11                MR. MORRIS:    Can we go to Page 139, please?     Lines 2

       12   to 5.

       13   BY MR. MORRIS:

       14   Q    Did you -- did you hear this question and did you give

       15   this answer on Tuesday?

       16        "Q      Why did you want the Baker & McKenzie contact

       17        information?

       18        "A      I was trying to help Draper coordinate the mutual

       19        shared defense agreement, period."

       20   Q    Did you give that answer to my question on Tuesday?

       21   A    Yes.

       22                MR. MORRIS:    Your Honor, I'd respectfully request a

       23   short break to see if I've got anything more.

       24                THE COURT:    All right.   Well, I was going to ask you

       25   how much more do you think you have.         We've been going almost




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        1   two hours.

        2        So we'll take a break.        Let's make it a ten-minute break.

        3   And then, depending on how much more you have and how much Mr.

        4   Bonds is going to have, we'll figure out are we going to need

        5   a lunch break in just a bit.

        6        All right.   So it's 12:00 noon Central.       We'll come back

        7   at 12:10.    Ten minutes.

        8               MR. MORRIS:    Your Honor, may I have an instruction of

        9   the witness not to check his phone for any purposes, not to

       10   make -- not to communicate with anybody until -- until his

       11   testimony is completed?

       12               THE COURT:    All right.    Any -- any --

       13               MR. BONDS:    Your Honor, he's going to speak with me.

       14               THE COURT:    Pardon?

       15               MR. BONDS:    I assumed he will speak to me about just

       16   general events.    I mean, I don't want to be in breach of some

       17   order.

       18               MR. MORRIS:    Yeah.    I would -- I would -- I would ask

       19   for -- you know, it's not -- he's on the stand.         He's still on

       20   the stand.

       21               THE COURT:    Yeah.    He --

       22               MR. MORRIS:    He shouldn't be conferring with counsel,

       23   either.   No disrespect to Mr. Bonds at all.

       24               THE COURT:    Exactly.    I mean, you all can talk about,

       25   you know, the national champion football game or whatever, but




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        1   it would be counseling your client in the middle of testimony

        2   if you -- if you talk about this case at the moment.           So, you

        3   know, --

        4               MR. BONDS:    I understand, Your Honor.

        5               THE COURT:    All right.

        6               MR. BONDS:    I just didn't want to be --

        7               THE COURT:    All right.   So now we'll come back at

        8   12:11.

        9               THE CLERK:    All rise.

       10               MR. MORRIS:    Thank you, Your Honor.

       11        (A recess ensued from 12:01 p.m. until 12:12 p.m.

       12               THE CLERK:    All rise.

       13               THE COURT:    Please be seated.    This is Judge

       14   Jernigan.    We're going back on the record in Highland Capital

       15   versus Dondero.    We have taken an 11-minute break.          It looks

       16   like we have Mr. Dondero and counsel back.         And Mr. Morris,

       17   are you out there, ready to proceed?

       18               MR. MORRIS:    I am, Your Honor.    And I do have just a

       19   few more questions.

       20               THE COURT:    Okay.   I'm sorry.    Mr. Lynn, I see you're

       21   there in the room with Mr. Dondero.        Now, did you want to --

       22               MR. LYNN:    Here's Mr. Bonds.     I apologize.    He was in

       23   the restroom.

       24               THE COURT:    Okay.   All right.   Everyone ready to

       25   proceed?




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        1                MR. MORRIS:    Yes, Your Honor.

        2                THE COURT:    Okay.   Mr. Morris, go ahead.

        3                MR. MORRIS:    Thank you, Your Honor.

        4                        DIRECT EXAMINATION, RESUMED

        5   BY MR. MORRIS:

        6   Q    Can you hear me, Mr. Dondero?

        7   A    Yes.

        8   Q    Did you ever discuss the request of any party to produce

        9   the financial statements of Get Good and Dugaboy with Scott

       10   Ellington?

       11   A    Not that I recall.

       12   Q    Did you ever communicate with Mr. Leventon on the subject

       13   matter of whether or not the financial statements for Get Good

       14   and Dugaboy needed to be produced by the Debtor?

       15   A    No.

       16   Q    Those are the two questions that you were directed not to

       17   answer the other day, right?

       18   A    I don't remember.

       19   Q    Okay.    You mentioned that Mr. Ellington serves in some

       20   capacity as settlement counsel.        Do I have that right?

       21   A    Yes.

       22   Q    Do you know if there's any exception in the TRO that

       23   permits you to communicate directly with Mr. Ellington in his

       24   so-called capacity as settlement counsel?

       25   A    There was no change in his status in the TRO.         It's -- and




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        1   I think he was still used by both the Debtor and by me in that

        2   function.

        3   Q    You said that -- you testified earlier that you understood

        4   that you were prohibited from speaking with the Debtor's

        5   employees, correct?

        6   A    Except for -- except for with regard to the pot plan,

        7   shared services, and Ellington as settlement counsel.         But I

        8   continued to talk to employees about the pot plan as recently

        9   as the end of the year, and I continued to talk to employees

       10   about shared services based on the shared services proposal

       11   that was sent to Ellington and forwarded to me as recently as

       12   two days ago.

       13   Q    You never -- you never read the TRO, right?

       14   A    No.

       15               MR. MORRIS:    Can we have it put up on the screen?       I

       16   don't know the exhibit number, Ms. Canty, but hopefully it's

       17   clear on the exhibit list.

       18               MS. CANTY:    I'm sorry, John.   Can you repeat what

       19   you're looking for?

       20               MR. MORRIS:    The TRO.   (Pause.)   Can we scroll down

       21   to Paragraph 2, please?      Okay.

       22   BY MR. MORRIS:

       23   Q    I appreciate the fact that you've never seen this before,

       24   Mr. Dondero, but let me know if I'm reading Section 2(c)

       25   correctly.    "James Dondero is temporarily enjoined and




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       1   refrained from" -- subparagraph (c) -- "communicating with any

       2   of the Debtor's employees, except for specifically -- except

       3   as it specifically relates to shared services currently

       4   provided to affiliates owned or controlled by Mr. Dondero."

       5        Have I read that correctly?

       6   A    Yes.

       7   Q    Does that provide for any exceptions concerning the pot

       8   plan?

       9   A    The Independent Board requested a meeting on the pot plan.

      10   Q    Okay.   But does it -- I appreciate that, and we'll talk

      11   about that in a moment, but my question is very specifically

      12   looking at the order.    And I, again, appreciate that you've

      13   never seen it before.    But looking at the order now, is there

      14   any exception for you to communicate with the Debtor's

      15   employees concerning the pot plan?

      16   A    I would think the pot plan would fall under that, since

      17   some of the pot plan value is coming from affiliated entities

      18   that are subject to the shared services agreement.       I would

      19   think that would be reasonable, again, plus the -- well, it

      20   was the subject of a meeting with the Independent Board at the

      21   end of the month.

      22   Q    Okay.

      23   A    I still think it's the best alternative for this estate.

      24   Q    Okay.   Did you -- did you ever -- did you ever ask

      25   anybody, on your behalf, have asked the Debtors whether they




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        1   agreed with what you believed was a reasonable interpretation

        2   of the restraining order?

        3   A    I did not.

        4   Q    Okay.    And let's just deal with the notion of settlement

        5   counsel.     Do you see anywhere in this TRO -- and if you want

        6   to read anything more, please let me know -- do you see

        7   anything in this TRO that would permit you to speak with Mr.

        8   Ellington in his so-called role as settlement counsel?

        9   A    Well, I would say, more importantly, I don't see anything

       10   that takes away his role as settlement counsel, which was

       11   formally done six months ago.

       12   Q    Okay.    I did read Section 2(c) correctly, right?

       13   A    Yes.

       14   Q    And the only exception that's in Judge Jernigan's

       15   restraining order that she entered against you relates to

       16   shared services.     Have I read that correctly?

       17   A    Yes.

       18   Q    Okay.    Let's talk about the pot plan for a moment.       After

       19   the TRO was entered, you were interested in continuing to

       20   pursue the pot plan; is that right?

       21   A    I still believe it's the best possible result for this

       22   estate.

       23   Q    And you sought a forum with the Debtor's board, correct?

       24   A    Yes.

       25   Q    And you knew that you couldn't speak directly with any




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        1   member of the Debtor's board unless your counsel and the

        2   Debtor's counsel was -- was present at the same time.

        3   Correct?

        4   A    Yeah.    As a matter of fact, I didn't go.    I just had

        5   counsel go.

        6   Q    And the Debtor's board gave Mr. Lynn a forum for him to

        7   present your pot plan after the TRO was entered.       Isn't that

        8   right?

        9   A    I believe so.

       10   Q    And are you aware that the Debtor's board spent more than

       11   an hour and a half with Mr. Lynn talking about your pot plan

       12   after the TRO was entered?

       13   A    Yes.

       14   Q    And is it fair to say that, notwithstanding Mr. Lynn's

       15   goodwill and Mr. Lynn's efforts to try to get to a successful

       16   resolution here, the terms on which the pot plan were offered

       17   were unacceptable to the Debtor?

       18   A    I wasn't there.    I -- I don't know.

       19   Q    The Debtor never made a counteroffer, did it?

       20   A    Not that I heard.

       21   Q    You'll admit, will you not, that over the last year you or

       22   others acting on behalf -- on your behalf have made various

       23   pot plan proposals to the Official Committee of Unsecured

       24   Creditors?

       25   A    Quite generous pot plans that I think will exceed any




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       1   other recoveries.

       2   Q    Okay.    So you're aware that your pot plan was delivered

       3   either by you or on your behalf to the U.C.C., correct?

       4   A    I -- some were.       Some, I don't know.

       5   Q    Okay.    Has the U.C.C. ever made a counterproposal to you?

       6   A    Nope.

       7                MR. MORRIS:    I have no further questions, Your Honor.

       8                THE COURT:    All right.    Pass the witness.

       9        Mr. Bonds, do you have any time estimate for me,

      10   guesstimate?

      11                MR. BONDS:    My guess is, Your Honor, it'll be about

      12   an hour.     I would hope that we could take some type of a

      13   break, just because I'm a diabetic and need to have some --

      14                THE COURT:    All right.    Well, --

      15                MR. MORRIS:    I have no objection, Your Honor.

      16   Whatever suits the Court.          I'm willing to accommodate Mr.

      17   Bonds always.

      18                THE COURT:    Okay.    Let's take a 45-minute break.

      19   Forty-five minutes.        So, it's 12:22.   We'll come back at seven

      20   minutes after 1:00 Central time.

      21        All right.    We're in recess.

      22                THE CLERK:    All rise.

      23        (A luncheon recess ensued from 12:23 p.m. to 1:15 p.m.)

      24                THE CLERK:    All rise.

      25                THE COURT:    Please be seated.     This is Judge




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        1   Jernigan.     We are going back on the record in Highland Capital

        2   Management versus Dondero.          We took a lunch break.    And when

        3   we broke, Mr. Bonds was going to have the chance to examine

        4   Mr. Dondero.

        5        Let me just make sure we have, first, Mr. Dondero and Mr.

        6   Bonds.   Are you there?

        7                MR. BONDS:    Yes, we are.

        8                THE COURT:    All right.    Very good.    I don't see your

        9   video yet, but -- there you are.          All right.   Mr. Morris, are

       10   you there?

       11                MR. MORRIS:    I am here.    Can you hear me, Your Honor?

       12                THE COURT:    I can.    All right.

       13                MR. MORRIS:    Thank you.

       14                THE COURT:    Well, we've got lots of other people, but

       15   that's all I'll make sure we have at this moment.            All right.

       16   Mr. Bonds, you may proceed.

       17        And, Mr. Dondero, I know you know this, but I'm required

       18   to remind you you're still under oath.

       19        Okay, go ahead.

       20                               CROSS-EXAMINATION

       21   BY MR. BONDS:

       22   Q    Before you resigned as portfolio manager, how long had you

       23   had with Highland Capital Management?

       24   A    Since inception in 1994.

       25   Q    Okay.    And how long have your offices been at the




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        1   Crescent?

        2   A    Eight years.

        3   Q    Okay.   Before you resigned as portfolio manager, did you

        4   spend a lot of time in the office?

        5   A    Yes.    I spent every business day this -- or 2020,

        6   including COVID, in the office.

        7   Q    Okay.   And this is the first time that you are not in the

        8   office, is that right, in decades?

        9   A    Yes.

       10   Q    Can you tell us about the shared services agreement that

       11   exists between the Debtor and the other entities in which you

       12   have an interest?

       13   A    NexPoint, NexBank, the DAF, HFAM, primarily.       I don't know

       14   what other entities paid.     Shared services, which is typical

       15   in finance, for centralized tax, accounting, RICO function, so

       16   that we don't have to have redundant, multiple high-paid

       17   people in different entities.       We'd have them centralized and

       18   with collective experience and collective functionality.         And

       19   so, historically and recently, they pay Highland for those --

       20   fees for those services.    And I, as a non-paid employee, or a

       21   non-employee of Highland but a paid employee of NexBank -- of

       22   NexPoint, was -- and my occupancy and support were part of

       23   those shared services agreement.

       24   Q    What do those agreements allow those entities to do?

       25   A    Would it allow those entities to do?      Well, to access the




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        1   Highland functionality as appropriate, because most of those

        2   entities, as is typical in finance, did not have their own

        3   functionality, legal, tax, and -- legal, tax, and accounting,

        4   but although they've been -- they've been building it lately

        5   in anticipation of the pot plan not going through at Highland.

        6   Q     Okay.    Do those agreements allow you to share office space

        7   with --

        8                 MR. MORRIS:    Objection --

        9                 THE WITNESS:    Yes.

       10                 MR. MORRIS:    -- to the form of the question, Your

       11   Honor.    I think the exhibits and the agreements themselves

       12   would be the best evidence.          They're not in evidence.   They

       13   haven't been offered in evidence.           I have no way to challenge

       14   the witness on anything he's saying.           And on that basis, I'd

       15   -- it's not fair to the Plaintiff.

       16                 THE COURT:    All right.   Mr. Bonds, can I ask you to

       17   repeat your question?        It was muffled and I was about to ask

       18   you to repeat it before I got the objection.           So, repeat the

       19   question so I can --

       20                 MR. BONDS:    Okay.    I'm going to repeat it and amend

       21   it.

       22                 THE COURT:    Okay.

       23   BY MR. BONDS:

       24   Q     Is it your understanding that those agreements allow you

       25   to share office space with the Debtor?




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        1   A    Yes.    Virtually all of NexPoint's employees share the

        2   Highland office space as part of a shared services agreement.

        3   Q    Do those agreements allow you to share -- I'm sorry,

        4   excuse me.    Strike that.   What else do they allow?

        5   A    Typically is used in coordination of systems, servers,

        6   software, cloud software, Internet software, office software,

        7   tax, accounting, and legal functionality are all part of the

        8   shared services agreement, although, you know, much of -- much

        9   of that was stripped, you know, four or five months ago,

       10   especially legal functionality and the accounting

       11   functionality, without the concurrent adjustment in the

       12   building.

       13   Q    Okay.   And you previously testified that you generally

       14   control NexPoint; is that correct?

       15   A    Generally.   And the distinction I was trying to make is,

       16   you know, following the financial crisis in '08, compliance

       17   and the chief compliance officer has personal liability. along

       18   with the rest of the C Suite, and operates independently, with

       19   primary loyalty to the regulatory bodies.      And they're --

       20   they're not controlled, bamboozled, or segued away from their

       21   responsibility.    And at all times, they're supposed to be

       22   doing what they believe is right, regulatorily-compliant, and

       23   in the best interest of investors.

       24        So that was the distinction I was drawing between, A, what

       25   I was trying to remind Thomas of, that he should be




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        1   independent of Seery, in terms of following what he believes

        2   is correct and regulatory-compliant.       And I don't have to push

        3   the NexPoint compliance people and general counsel to do

        4   anything specific, nor could I.     They are supposed to do what

        5   is right from a regulatory investor standpoint, and I believe

        6   that's what they've done.

        7   Q    All right.   And what do you mean by the term or the usage

        8   of the word "generally"?

        9   A    Well, that's the distinction I was just drawing.         I mean,

       10   generally, on regular business strategy, you know, major

       11   investments, you know, other business items, I'm in control of

       12   those entities.    But in terms of the content and allegations,

       13   regulatory opinions that come from compliance and the general

       14   counsel, that is their best views on their own, knowing they

       15   have compliance obligations and personal liability.

       16   Q    Do you believe that NexPoint and its other owners and

       17   interest holders have rights independent from your own in this

       18   case?

       19   A    Right, yes, and obligations, and responsibilities to

       20   investors.    I believe the attempt by the Debtor or Seery to

       21   hide behind contracts that the Debtor has with the CLOs are --

       22   are a spurious, incomplete argument.       You know, they're not in

       23   compliance with those contracts.     Bankruptcy alone is an event

       24   of default.    Not having the key man -- the key men, the

       25   required requisite professionals that they're obligated to




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        1   contractually have working at the Debtor is a clear breach, in

        2   violation of those CLO contracts.     Not having adequate staff

        3   or investment professionals to analyze, evaluate, or follow

        4   the investments in the portfolio is a clear violation.         And

        5   specifically telling investors in the marketplace that you

        6   plan to terminate all employees, a date certain January 24th,

        7   is a proclamation that you're not going to be in any form able

        8   to be a qualified registered investment advisor or qualified

        9   in any which way to manage the portfolio or be in compliance

       10   with the CLO contracts.

       11        I would -- I would further add that the selling of the

       12   securities, and the SKY securities, represent incomplete

       13   intentional incurring of loss against the investors.          You have

       14   securities that are less liquid with, you know, restructured

       15   securities that have been owned for ten years, and they were

       16   sold during the most illiquid weeks of the year, the couple

       17   days before and after Thanksgiving, couple days before and

       18   after Christmas, where the investors could have gotten 10 or

       19   15 percent more on their monies if they were just sold in a

       20   normal week.   It's -- it's preposterous to me.      It's

       21   consistent with Seery not being an investment (garbled).

       22        But it's preposterous to me that -- that this treatment of

       23   investors is allowed or being camouflaged as some kind of

       24   contractual obligation, when the investors have said these

       25   funds are clearly in transition and the manager clearly is




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        1   incapable of managing them.     You know, please don't transact

        2   until the transition is complete.      But Jim Seery has traded

        3   every day, including -- I don't know about today, but every

        4   day this week, selling securities for no investment rationale

        5   and no business purpose.

        6   Q    Are you also portfolio manager for NexPoint?

        7   A    Yeah, I'm a portfolio manager for the closed-end retail

        8   funds, which do have a higher fiduciary obligation than

        9   anything on the institutional side.      I'm a portfolio manager

       10   for those '40 Act funds that are the primary owners of the

       11   CLOs that Seery is selling securities in for some unknown

       12   reason.

       13   Q    And what shared service agreements exist between NexPoint

       14   and the Debtor?

       15   A    Those are the shared service agreements I spoke of.        I

       16   don't want to repeat myself.

       17   Q    And I'm going to call Highland Capital Management Fund

       18   Advisors, LP just Fund Advisors.     Is that okay with you?

       19   A    Yes.

       20   Q    Okay.   And you testified generally -- that you generally

       21   control Fund Advisors; is that correct?

       22   A    Yes.

       23   Q    Do you believe that Fund Advisors and its owners and

       24   interest holders have rights independent from your own in this

       25   case?




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        1   A    Yes.

        2   Q    Are you the portfolio manager for Fund Advisors?

        3   A    Yes.

        4   Q    What shared services agreements exist between Fund

        5   Advisors and the Debtor?

        6                MR. MORRIS:    Objection, Your Honor.   The agreements

        7   themselves are the best evidence of the existence in terms of

        8   any agreement between the Debtor and these entities.

        9                MR. BONDS:    Your Honor, I can fix that.

       10                THE COURT:    Okay.

       11   BY MR. BONDS:

       12   Q    I'm just asking:      What is your understanding, Mr. Dondero,

       13   of the shared service agreements between the Debtor and Fund

       14   Advisors?

       15   A    It's similar to the agreement I mentioned earlier.           It

       16   covers a broad range of centralized services historically

       17   provided by Highland, but now those, while still paying

       18   smaller than historic fees, those entities now have been

       19   required to incur the expenses of duplicating those functions.

       20   Q    Okay.    Do you recall the email string dated November 24th

       21   regarding SKY equity that the Debtor talked about?

       22   A    Yes.

       23   Q    What did you mean when you sent that email about the

       24   trade?   What did you mean, I'm sorry?

       25   A    I was trying to inform the traders, and once they knew --




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        1   they weren't willing to do the trades anymore once they knew

        2   that the underlying investors had requested that their

        3   accounts not being traded until the transition be -- until the

        4   transition of the CLOs was effectuated.

        5        It's -- it's standard by, you know, statute or

        6   understanding, in the money and management business, when

        7   you're moving accounts from one asset manager to another, and

        8   someone requests that you don't do anything to their account,

        9   you don't trade it whimsically.     And so I was -- I was making

       10   sure the traders knew that the underlying investors had

       11   requested that no trades occur in their accounts.

       12        And then I believed it was a clear violation of the

       13   Registered Investment Adviser's Act.       I believe that people

       14   involved at a senior level or at a compliance level could have

       15   material liability, and could create material liability for

       16   the Debtor.   And I think if, as I said before, I think if

       17   anybody on this call were to call the SEC, they would start on

       18   audit on this.

       19             MR. MORRIS:    Your Honor, I move to strike the first

       20   portion of the answer prior to when he started to describe

       21   what he believes and what he thinks.       The first portion of the

       22   answer was devoted to testifying about what is in the

       23   knowledge of the people who he was communicating with.

       24   There's no evidence.    Mr. Dondero, of course, was free to call

       25   any witness he wanted.    He could have called the chief




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        1   compliance officer.      He could have called the general counsel.

        2   He could have called all the people he's now testifying on

        3   behalf of, and he did not.

        4       So I move to strike anything in the record that purports

        5   to reflect or suggest the knowledge on behalf of any party

        6   other than Mr. Dondero.

        7               THE COURT:   Okay.   I'm --

        8               MR. BONDS:   Let me rephrase -- Your Honor, I'm going

        9   to rephrase the question.

       10               THE COURT:   Okay.   Very well.

       11               MR. BONDS:   I'm sorry.

       12               THE COURT:   So the motion to strike is granted.      If

       13   you're going to rephrase, go ahead.

       14               MR. BONDS:   Okay.

       15   BY MR. BONDS:

       16   Q   Mr. Dondero, what did you mean when you said -- that the

       17   emails about the trade?

       18   A   Okay.    I'll give my intention by sending emails to stop

       19   the trade and my basis for those emails.       My intentions were

       20   to inform the traders and to inform the compliance people that

       21   I believe there was a trade that wasn't in the best interest

       22   of the employees that had no business purpose for its

       23   occurring.    And the people involved weren't aware that the

       24   investors had sent over requests not to trade their accounts

       25   while they were in transition.




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        1        So I made the traders aware of that.      I made compliance

        2   aware of that also.    And it's my belief, based on 30 years'

        3   experience in the industry, that it is entirely inappropriate

        4   to trade the accounts of investors that are in transition, and

        5   especially when you're not -- you're not contractually -- you

        6   are contractually in default with that client, to trade their

        7   account whimsically, for no business purpose.       And I thought

        8   it was a clear breach of both regulatory, ethical, and

        9   fairness with regard to the investors.

       10        So I -- what did you know, when did you know it, what did

       11   you do?     I did what I felt was the right thing, which I try

       12   and do every day, and made all the relevant parties aware of

       13   what was going on.

       14   Q    Mr. Dondero, do you recall the text message you sent to

       15   Mr. Seery in which you said, "Be careful what you do"?

       16   A    Yes.

       17   Q    What did you mean by that message?

       18   A    It's -- I even said, Last warning.      I mean, I -- he's

       19   doing things against the interests of investors.       He's

       20   purposely incurring losses by trading in days and weeks and

       21   time of the year, the day before and after Thanksgiving, where

       22   any novice knows the markets are illiquid and anybody who can

       23   read a computer screen can see you get ten percent less --

       24   five or ten percent less than you would the week before or the

       25   week after.     And with as much professional umbrage as




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        1   possible, I was recommending that he stop.

        2   Q      Did you intend to personally threaten Mr. Seery in any

        3   way?

        4   A      No.    It was bad -- bad intentional professional acts

        5   against the interests of investors that flow through to '40

        6   Act retail mom-and-pop investors.      I was trying to prevent

        7   those losses and those bad acts from occurring.       And I believe

        8   everybody who's -- everybody around that issue should be

        9   ashamed of themselves, in my opinion.

       10   Q      Do you now regret sending the text?

       11   A      No.    No, I mean, I could have worded it differently.    I

       12   was angry on behalf of the investors.

       13   Q      And Mr. Dondero, you have management ownership interest in

       14   that entity; is that right?

       15   A      Yes.

       16   Q      Do you believe the interests or other entities in which

       17   you are involved are independent from your personal rights in

       18   this case?

       19   A      Yes.

       20   Q      And do you believe you caused anyone to violate the TRO?

       21   A      No.    I've been -- I've been very conscious to just try and

       22   champion the thing that -- things that I think are important

       23   and the things that I've been tasked to do, like an attractive

       24   pot plan to help resolve this case.      I spend time on that.

       25   But every once in a while, do I have to access, let's say,




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        1   David Klos, who is the person who put the model together, who

        2   has been working on it for six or nine months, and no one else

        3   S has a copy of?     Yes.    Yeah, I have to -- I have to access

        4   him.    I don't believe that's the -- inappropriate or in any

        5   way violating the spirit of the TRO.

        6          I believe settlement in this case is only going to happen

        7   with somebody fostering communication.        And Ellington's role,

        8   which I thought was a good one and I thought he was performing

        9   well as settlement counsel, was an important role.        And I used

       10   him for things like -- and Seery also used him for things.          As

       11   recently as two days before Ellington was fired, Seery gave

       12   him a shared services proposal to negotiate with me.

       13   Ellington has always been the go-between from a settlement and

       14   a legal standpoint.     I think his role there was -- it was

       15   valued.    To try to honor the TRO was things like Multi-Strat,

       16   that I didn't remember correctly.       Ninety percent of the time

       17   or for the last 20 years I would have gone directly to

       18   Accounting and Dave Klos for it, but I purposely went to

       19   settlement counsel in terms of Ellington in order to get the

       20   Multi-Strat information which we needed in order to put the

       21   pot plan together that we went to the Independent Board with

       22   at the end of December.

       23   Q      (faintly)   And do you recall the questions that Debtor's

       24   counsel had regarding the letters sent by K&L Gates to clients

       25   of the Debtor?




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        1               MR. MORRIS:    I'm sorry, Your Honor.   I had trouble

        2   hearing that question.

        3               THE COURT:    Please repeat.

        4               MR. BONDS:    Sure.

        5   BY MR. BONDS:

        6   Q    Do you recall the questions Debtor's counsel had regarding

        7   the letters sent by K&L Gates to the clients of the Debtor --

        8   to the Debtor?

        9   A    Yes.

       10   Q    You testified on direct that the letters were sent to do

       11   the right thing; is that correct?

       12   A    Yes.

       13   Q    What did you mean by that?

       14   A    I don't want to repeat too much of what I just said, but

       15   the Debtor has a contract to manage the CLOs, which in no way

       16   is it not in default of.       It doesn't have the staff.     It

       17   doesn't have the expertise.       Seery has no historic knowledge

       18   on the investments.       The investment staff of Highland has been

       19   gutted, with me being gone, with Mark Okada being gone, with

       20   Trey Parker being gone, with John Poglitsch being gone.

       21        And there's -- there's a couple analysts that are a year

       22   or two out of school.      The overall portfolio is in no way

       23   being understood, managed, or monitored.       And for it to be

       24   amateur hour, incurring losses for no business purpose, when

       25   the investors have requested numerous times for their account




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        1   not to be traded, is crazy to me.         Where the investors say, We

        2   just want our account left alone.         We just want to keep the

        3   exposure.    And Jim Seery decides no, there's -- I'm going to

        4   turn it into cash for no reason.         I'm just going to sell your

        5   assets and turn them to cash and incur losses by doing it the

        6   week of Thanksgiving and the week of Christmas.           I think it's

        7   -- it's shameful.    I'm glad the compliance people and the

        8   general counsel at HFAM and NexPoint saw it the same way.            I

        9   didn't edit their letters, proof their letters, tell them how

       10   to craft their letters.       They did that themselves, with

       11   regulatory counsel and personal liability.          They put forward

       12   those letters.

       13               MR. MORRIS:    Your Honor (garbled) the testimony that

       14   Mr. Dondero just gave about these people saw it.          They're not

       15   here to testify how they saw it.         We know that Mr. Dondero

       16   personally saw and approved the letters before they went out.

       17   He can testify what he thinks, what he believes.          I have no

       18   problem with that.       But there should be no evidence in the

       19   record of what the compliance people thought, believed,

       20   understood, anything like that.         It's not right.

       21               THE COURT:    All right.    That's essentially a --

       22               MR. BONDS:    Your Honor?

       23               THE COURT:    -- a hearsay objection, I would say, or

       24   lack of personal knowledge, perhaps.         Mr. Bonds, what is your

       25   response?




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        1             MR. BONDS:    Your Honor, my response would be that

        2   there are several exhibits the Debtor introduced today that

        3   stand for the proposition that the compliance officers were

        4   concerned.    So I think there is ample evidence of that in the

        5   record.

        6             THE COURT:    I didn't --

        7             MR. MORRIS:    Your Honor, the letter --

        8             THE COURT:    I did not understand what you said is in

        9   the record.    Say again.

       10             MR. BONDS:    Your Honor, I'm sorry.     The -- there are

       11   -- there are references that are replete in the record that

       12   have to do with the compliance officers' understanding of the

       13   transactions.

       14             THE COURT:    I don't know what you're referring to.

       15             THE WITNESS:      Your Honor?

       16             THE COURT:    I've got a lot of exhibits.      You're going

       17   to have to point out what you think --

       18             THE WITNESS:      Can I -- can I -- can I -- can I answer

       19   for -- that for a second?       The letters that were signed by the

       20   compliance people or by the businesspeople at NexPoint and

       21   HFAM objecting to the transactions, those letters were their

       22   beliefs, their researched beliefs.        They weren't --

       23             THE COURT:    Okay.

       24             THE WITNESS:      -- micromanaged by me.   You know, they

       25   weren't -- I agree with them, but those weren't my beliefs




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        1   that they've stated.        Those were their own beliefs and their

        2   own research, --

        3                THE COURT:    All right.

        4                THE WITNESS:    -- and the record should reflect --

        5                THE COURT:    This is clearly hearsay.     I mean, it's

        6   one thing to have a letter, but to go behind the letter and

        7   say, you know, what the beliefs inherent in the words were is

        8   inadmissible.     All right?       So I strike that.

        9                THE WITNESS:    Maybe ask your question again.

       10   BY MR. BONDS:

       11   Q    Yeah.    What is your understanding of the rights that these

       12   parties had and what do you believe that was intended to be

       13   conveyed by the compliance officers?

       14                MR. MORRIS:    Objection.    Calls -- calls for Mr.

       15   Dondero to divine the intent of third parties.           Hearsay.

       16                THE COURT:    I sustain.

       17                MR. BONDS:    Your Honor, --

       18                MR. MORRIS:    No foundation.

       19                MR. BONDS:    -- I don't agree.     I think that this is

       20   asking Mr. Dondero what he thinks.

       21                MR. MORRIS:    The letters speak for themselves, Your

       22   Honor.

       23                THE COURT:    Okay.    I sustain --

       24                MR. MORRIS:    And Mr. --

       25                THE COURT:    I sustain the objection.




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        1             MR. MORRIS:    All right.    Thank you.

        2             THE WITNESS:    Ask me what I know.     Or ask me what my

        3   concerns --

        4   BY MR. BONDS:

        5   Q    Let me ask you this.    What were your concerns relating to

        6   the compliance officers' exhibit?

        7   A    My concerns regarding the transaction, the transactions,

        8   which may repeat what I've said before, but I do want to make

        9   sure it gets in the record.     So if we have to make a -- these

       10   were my concerns, whether or not they were the compliance

       11   people's concerns.    I believe they were, and I believe they

       12   were similar, but I'm just going to say these are -- these

       13   were my concerns.

       14        The Debtor, with its contractual -- with its contract with

       15   the CLOs, were in no way -- was in no way compliant with that

       16   contract or not in default of that contract.        Bankruptcy is a

       17   reason for default.     Not having the key men specified in the

       18   contract currently employed by the Advisor is a violation.

       19   Not having adequate investment staff to manage the portfolio

       20   is a violation of that contract.       Announcing that you're

       21   laying off everybody and will no longer be a registered

       22   investment advisor is proclaiming that you, if you even have

       23   any -- any -- pretend that you're qualified or in compliance

       24   with the contract now, you're broadcasting that you won't be

       25   in three weeks, are -- are all mean that you're not in good




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       1   standing.   Okay?   Number one.

       2        Number two, when the investors know that it's in

       3   transition, you're not in compliance as a manager, you're not

       4   going to be an RIA in three weeks, the accounts are going to

       5   have to transition to somebody else in three weeks, and the

       6   investors ask you, Please don't trade my accounts between now

       7   and then, that is -- that is a -- if it's not a per se, it's

       8   an ethical and a spirit violation of any relationship between

       9   an investor and an asset manager.

      10        To then sell assets -- not replace assets, just sell

      11   assets for cash -- and purposely do it on the least liquid

      12   days of the year -- the day before Thanksgiving, the day after

      13   Thanksgiving, the week of Christmas, this past week, whatever

      14   -- to purposely incur losses so that the investors suffer ten

      15   or fifteen percent losses that other -- on each of those sales

      16   that they wouldn't otherwise have to incur, and for no stated

      17   business purpose, for no investment rationale, with no staff

      18   to even say whether the investment is potentially going up or

      19   down, is -- is -- is -- I've never seen anything else like it.

      20        And I will stand up and say it every day:      I'm glad the

      21   letters went out from HFAM and from NexPoint.       I would never

      22   recommend they get retracted.     And I believe everybody who

      23   signed those letters meant everything in those letters.          And I

      24   believe the letters are correct.     And I believe the whole

      25   selling of CLO assets is a travesty.




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        1        My personal opinion, we need an examiner or somebody here

        2   to look at this junk and look at some of the junk that

        3   occurred earlier this year.     This -- this stuff is

        4   unbelievable to me.

        5   Q    Generally, who holds interests in the CLOs?

        6   A    A vast majority of the CLOs that we're speaking of that

        7   Seery has been selling the assets of are owned by the two

        8   mutual funds, the two '40 Act -- the two '40 Act mutual funds

        9   and the DAF.   Between them, I think out of -- eleven out of

       10   the sixteen CLOs, they own a vast majority, and then I think,

       11   whatever, two or three they own a hundred percent, and I think

       12   two or three they own a significant minority.

       13        And just because they don't own a hundred percent doesn't

       14   somehow allow a registered investment advisor to take

       15   advantage of an investor.     And I -- I've never understood that

       16   defense.   I wouldn't be able -- in my role of 30 years, I

       17   wouldn't be able to tell that to an investor, that, hey, you

       18   had a contract with us, we did something that wasn't in your

       19   best interest, but we got away with it because you didn't own

       20   a hundred percent, you only owned eighty percent.

       21              MR. MORRIS:   Your Honor, I move to strike.        There's

       22   no contract between the Debtor and Mr. Dondero's -- and the

       23   entities that he owns and controls for purposes of the CLO.

       24   The only contract is between the Debtor and the CLOs

       25   themselves.




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        1               THE COURT:    All right.    Well, I overrule whatever

        2   objection that is.       Again, if you want to bring something out

        3   on cross-examination or through Mr. Seery, you know, you're

        4   entitled to do that.

        5        All right.   Please continue.

        6   BY MR. BONDS:

        7   Q    Do you believe these letters were sent by the Funds to the

        8   Advisors because they are trying to protect the independent

        9   entities?

       10   A    They're trying to protect their investors.         They were

       11   trying to protect their regulatory liability for activities

       12   they see that are not in the best interests of investors.

       13               MR. MORRIS:    Objection, Your Honor.     I move to

       14   strike.   He's again testifying as to the intent of the people

       15   who sent the letters who are not here to testify today.

       16               THE COURT:    Sustained.

       17   BY MR. BONDS:

       18   Q    Mr. Dondero, what is your belief as to the letters that

       19   were sent by the Funds and Advisor?         Is -- are they trying to

       20   protect their independent interests?

       21               MR. MORRIS:    Objection, Your Honor.     Asked and

       22   answered.

       23               THE COURT:    Sustained.

       24               THE WITNESS:    Ask me --

       25   BY MR. BONDS:




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        1   Q    What is your understanding of why the letters were sent?

        2               MR. MORRIS:    Objection, Your Honor.    Asked and

        3   answered.

        4               THE COURT:    Sustained.

        5   BY MR. BONDS:

        6   Q    Mr. Dondero, would you have sent the letters?

        7   A    I would have sent the letters exactly or very similar or

        8   probably even more strongly than the letters were stated, for

        9   the purposes of protecting investors, to protecting mom-and-

       10   pop mutual fund investors from incurring unnecessary losses by

       11   an entity that was no longer in compliance with their -- with

       12   their asset management contract and because the investors had

       13   requested that their account just be frozen until it was

       14   transitioned.

       15        That's why I would have sent the letter.        That's why I

       16   believe the letter should be sent.         That's why I'm happy they

       17   were sent.    That's why we've never retracted.

       18   Q    Mr. Dondero, who is Jason Rothstein?

       19               THE COURT:    I did not hear the question.

       20               THE WITNESS:    Jason -- Jason --

       21               MR. BONDS:    Who --

       22               THE COURT:    Please repeat.

       23               MR. BONDS:    Yes.   I asked Mr. Dondero who Jason

       24   Rothstein was.

       25               THE WITNESS:    Jason Rothstein heads up our systems




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        1   department at Highland Capital.

        2   BY MR. BONDS:

        3   Q    Can you explain what your text message to Mr. Rothstein

        4   was about?

        5   A    Which text message?    The one where it was in the drawer?

        6   Q    Yeah.

        7   A    Uh, --

        8   Q    And that was actually from him, not you.

        9   A    Yeah.    That was from him.    I think he transferred icons or

       10   set up personal stuff to the new phone, and he was just saying

       11   that the old phone was in Tara's drawer.

       12   Q    And you don't know whether -- what's happened to the

       13   phones, do you?

       14   A    No.   Like I said, I believe they've been destroyed, but I

       15   -- I can find out.    I mean, I can query and find out who

       16   destroyed it, if that's important.

       17   Q    And you understood that you were not supposed to talk to

       18   the Debtor's employees; is that correct?

       19   A    Like I said, except for my roles regarding shared

       20   services, the pot plan, and trying to reach some type of

       21   settlement, I've had painfully few conversations with the

       22   Debtor's employees.

       23   Q    When you talked to certain employees, did you think it was

       24   an -- under an exception to the TRO, like shared services,

       25   related to the pot plan, or settlement communications?




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        1   A    Yes.

        2               MR. MORRIS:    Your Honor, I move to strike.      Mr.

        3   Dondero never read the TRO.       He's got no basis to say what the

        4   TRO required and didn't require.

        5               MR. BONDS:    That wasn't the -- that wasn't the

        6   question.

        7               THE COURT:    Okay.

        8               MR. BONDS:    I'm sorry.

        9               THE COURT:    Okay.   Rephrase the question, please.

       10               MR. BONDS:    Okay.   I'm sorry.

       11   BY MR. BONDS:

       12   Q    When you talked to these -- to certain employees, did you

       13   think it was under an exception to the TRO, like shared

       14   services, relating to the pot plan, or settlement

       15   communications?

       16   A    Yes.   Absolutely.

       17               MR. MORRIS:    I object.   No foundation.

       18               THE COURT:    Sustained.

       19   BY MR. BONDS:

       20   Q    Mr. Dondero, do you understand -- did your lawyers explain

       21   to you the TRO?

       22   A    Yes.

       23   Q    And who was the lawyer that explained the TRO to you?

       24               MR. MORRIS:    Your Honor, I don't know if we're

       25   getting into a waiver of privilege, but I just want to tell




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        1   you that my antenna are up very high.

        2               THE COURT:   Okay.   Mine are as well, Mr. Bonds.    Are

        3   you about to waive the privilege?

        4               MR. BONDS:   No, Your Honor, I am not.

        5               THE COURT:   Okay.   Well, it sounded like perhaps we

        6   were about to have the witness testify about conversations he

        7   had with lawyers.

        8               MR. BONDS:   I'm sorry, Your Honor.   That was not my

        9   intention.    Again, I'm asking Mr. Dondero to explain for us

       10   his contact with -- or, his impression of the TRO.

       11   BY MR. BONDS:

       12   Q    What did the TRO mean to you?

       13   A    The TRO meant to me that I was precluded from talking to

       14   Highland employees -- which, again, very few, if any, were

       15   coming into the office.     I was not talking to Highland

       16   employees with any regularity anyway.      But there was an

       17   exception with regard to Scott Ellington regard -- Scott

       18   Ellington in terms of him functioning as settlement attorney

       19   to try and bridge the U.C.C., the Independent Board, Jim

       20   Seery, other people, and things that impacted me or other

       21   entities.

       22        I also viewed that there was an exception for the pot

       23   plan, which had been presented and gone over as recently as

       24   December 18th and 20th.     And -- or December 18th, I think, was

       25   the date.




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        1        And you know what, I want to clarify a characterization of

        2   the pot plan.     I still believe it's the best and most likely

        3   alternative for this estate in the long run.          I think what

        4   we've proposed numerous times is more generous than what

        5   anyone will receive in a liquidation and in a more timely

        6   fashion.

        7        And the last time we presented it to the Independent

        8   Board, the Independent Board thought it was attractive and

        9   thought we should go forward with it to the U.C.C. and other

       10   parties.

       11                MR. MORRIS:    Your Honor, I move to strike the last

       12   portion of the answer that purports to describe what the

       13   Independent Board thought.

       14                THE COURT:    Well, --

       15                MR. MORRIS:    No foundation.    Hearsay.

       16                THE COURT:    What is your response to the hearsay

       17   objection, Mr. Bonds?

       18                MR. BONDS:    Your Honor, I don't have one.

       19                THE COURT:    Okay.    I sustain.

       20   BY MR. BONDS:

       21   Q    What exceptions did you believe there were for

       22   communications with employees?

       23   A    Okay.    Thank you.    Yeah.     Like I said, I covered Scott

       24   Ellington and settlement counsel.         I covered the pot plan.

       25   Q    Okay.




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       1   A    My -- my view of the pot plan as -- my view of the pot

       2   plan was that it was very attractive, and I had received

       3   encouragement to go forward with it as something that should

       4   be workable.     That's my testimony on that.

       5        And then -- and we talk about negotiating shared services.

       6   So, there's shared services in terms of overlap in

       7   functionality, but there's also, in terms of negotiating the

       8   shared services agreement, which, as I said, was something

       9   that Ellington was put in charge of three or four days ago by

      10   Jim Seery to negotiate with us.      And he reached out to me to

      11   negotiate it.    And I think the Pachulski deadline on it was

      12   three days later.     That whole process was something that I

      13   viewed as separate from the TRO, especially since it was

      14   initiated by Jim Seery, DSI, et cetera, and consistent with

      15   what Scott Ellington's role had been for the last six, nine

      16   months.

      17   Q    As to the Debtor's request that you vacate the office

      18   space, did you comply with this request?

      19   A    Yes.

      20   Q    What did you think that vacating meant?

      21   A    I moved out all my -- my personal items to a new office at

      22   NexBank.

      23   Q    (faintly)    And, in fact, did you work on the last day over

      24   to 3:00 a.m.?

      25   A    Yes.   4:00.




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        1               THE COURT:    Mr. Bonds, I didn't hear your question.

        2   I didn't hear your question.

        3               MR. BONDS:    Okay.    I'm sorry.

        4   BY MR. BONDS:

        5   Q    Did -- isn't it true that you worked through the night, to

        6   3:00 or 4:00 a.m., to vacate the premises?

        7   A    Yes.   Until 4:00 a.m. on the last day, to organize and

        8   pack up all my stuff, yes.

        9   Q    Did you think your presence in the office, with no other

       10   employees there, violated the spirit of the TRO?

       11   A    No.    I thought it was over the top and meant to tweak me,

       12   but, yeah, there's no -- there's not Debtor employees coming

       13   in since COVID.

       14   Q    (faintly)    Okay.    And you thought you could talk to Mr.

       15   Ellington and -- as settlement counsel; is that correct?

       16               MR. MORRIS:    I'm having trouble hearing it, Your

       17   Honor.

       18               THE WITNESS:    Yes.

       19               THE COURT:    Yeah.    We're -- Mr. Bonds, please make

       20   sure you speak into the device.

       21               MR. BONDS:    I'm sorry.    I'll try to get closer.

       22   Okay.    I asked the Debtor -- or I, excuse me, I asked Mr.

       23   Dondero if he thought he could talk to Ellington as a go-

       24   between or settlement counsel.         And I asked him if that was

       25   correct.




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        1                THE WITNESS:    Yes.   For settlement, shared services,

        2   the pot plan.     Nothing that interrupts or affects the Debtor,

        3   but for those purposes, as has consistently occurred for the

        4   last six months.

        5   BY MR. BONDS:

        6   Q    Okay.    And you saw the texts and emails presented by the

        7   Debtor between you and Mr. Leventon; is that correct?

        8   A    The one regarding Multi-Strat?

        9   Q    Yes.

       10   A    Yes.

       11   Q    In your understanding, did you believe those

       12   communications were allowed under the TRO?

       13   A    Well, yes.    And, again, to clarify my -- my contrasting

       14   testimony, I would never typically have gone to them for that

       15   kind of information, but to be compliant with the TRO, for

       16   Multi-Strat information, which I needed in order to put

       17   together the pot plan that the Independent Board audienced on

       18   December 18, I needed the information on Multi-Strat, and I

       19   requested it as appropriate through settlement counsel

       20   Ellington.     And I think Ellington requested it from Isaac, who

       21   requested it from David Klos.

       22        The whole purpose, I believe -- my belief is the whole

       23   purpose of this TRO is to make it impossible for us to get

       24   information to come up with alternatives other than a -- the

       25   plan proposed by Jim Seery.         It's our -- if -- if -- without




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        1   Ellington in the go-between, which he's now no longer an

        2   employee, I assume the only way we get any information,

        3   balance sheet or anything from Highland Capital, is with a

        4   subpoena.

        5        And as much as I've tried to engage or make an attractive

        6   pot plan for everybody, each one of them has been a complete

        7   shot in the dark, without even knowing the assets and

        8   liabilities of Highland, but just estimating where they were

        9   or were likely to be.

       10   Q    Do you believe your text message with Leventon caused any

       11   harm to the Debtor's business?

       12   A    No.    It potentially fostered a pot plan, because, you have

       13   to know, the pot plan needed -- one of the aspects of the pot

       14   plan was the --

       15   Q    Do you still want to advocate for your pot plan?

       16   A    I think that's eventually where we ultimately end up.        Or

       17   -- or should end up.    Otherwise, I fear it's going to be an

       18   extended, drawn-out process.

       19   Q    And how much did you initially propose to pay creditors in

       20   this case?

       21   A    The most recent -- the most recent pot plan?

       22   Q    No.    The -- initially.

       23   A    The initial pot plan, I believe, was $160 million.

       24   Q    And what about the notes?

       25   A    There was $90 [million] of cash and I believe $70




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        1   [million] of notes.

        2   Q    And what is Multi-Strat?

        3   A    Multi-Strat is a fund that's managed by Highland.        They

        4   used to have $40 or $50 million in value.      It used to contain

        5   a lot of life settlement policies.      And I believe now has $5

        6   or $6 million of value, after assets have been sold.

        7   Q    Do you recall the email Debtor's counsel presented

        8   regarding the balance sheet today?

        9   A    The balance sheet of Multi-Strat?

       10   Q    Correct.

       11   A    Yes.

       12   Q    Do you believe you were entitled to see that document?

       13   A    Yes.   It's just -- again, for the pot plan, I needed it.

       14   But also I'm an investor in that fund and I'm entitled to it.

       15   It's -- there was nothing in there that was improper or

       16   untoward or in any way damaged the Debtor.

       17   Q    And you recall the request for documents sent by the

       18   Debtor; is that correct?

       19   A    On my -- my personal estate plan?

       20   Q    No, on Multi-Strat.

       21   A    The Debtor's request on -- I'm sorry.      What was that?

       22   Q    The Debtor sent you a request for Multi-Strat.       For Duga

       23   -- I'm sorry.

       24   A    For Dugaboy?   Okay.

       25   Q    Dugaboy.




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       1   A    Yeah.    There's -- there's personal estate planning trusts.

       2   Some are active.     Some are inactive.       Some have been around

       3   for 15 years.     But they're -- they're not assets or anything

       4   that's related to the estate.       And that was -- that was my

       5   text to Melissa that said, you know, Not without a subpoena.

       6   Q    Mr. Dondero, if you remember back on Exhibit K, there was

       7   some request that you terminate your offices at the Crescent,

       8   and I think you were given seven days' notice to do that.             Do

       9   you know if Christmas occurred during that time?

      10   A    I believe it did.

      11   Q    So, if Christmas and Christmas Eve are both holidays, how

      12   many days, business days, did they give you to terminate or to

      13   get out of the space?

      14   A    There would have been three business days.         It was Monday

      15   through Wednesday that I moved out.

      16                MR. BONDS:   Your Honor, I'll pass the witness.

      17                THE COURT:   All right.   Mr. Morris?

      18                THE WITNESS:    Take a break.    I hope.

      19                MR. BONDS:   Your Honor, I'm sorry, can I take a ten-

      20   minute break?     I think that I'm going to be through, but I

      21   don't know.

      22                THE COURT:   All right.   I'll give you a ten-minute

      23   break.

      24                MR. BONDS:   All right.   Thank you, Your Honor.

      25                THE COURT:   We're coming back at 2:15.




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        1             THE CLERK:    All rise.

        2        (A recess ensued from 2:06 p.m. until 2:16 p.m.)

        3             THE CLERK:    All rise.

        4             THE COURT:    All right.   Please be seated.    We're back

        5   on the record in Highland versus Dondero.       Mr. Bonds, do you

        6   have more examination?

        7             MR. BONDS:    Your Honor, I have one question.

        8             THE COURT:    Okay.

        9             MR. BONDS:    And that's --

       10             MR. LYNN:    And one more witness.

       11             MR. BONDS:    And one more witness.

       12                        CROSS-EXAMINATION, RESUMED

       13   BY MR. BONDS:

       14   Q    Do you think that Scott Ellington and Isaac Leventon were

       15   treated appropriately by the Debtor?

       16   A    No, I do not.    I don't think they've been treated fairly,

       17   nor do I think other senior employees have been treated

       18   fairly.   I've never seen a bankruptcy like this where, during

       19   complex unwinding of 20 years of various different entities

       20   and structures, relying on the staff, working them hard,

       21   working overtime, a lot of investment professionals like

       22   lawyers and DSI just putting their name on the work of stuff

       23   that was done by internal employees, getting to the end of the

       24   year, trying to pay people zero bonuses and retract prior

       25   years' bonuses, and try and come up with legal charges against




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        1   those people is unusual to this case and my experience, in the

        2   bankruptcies we've been involved in, where typically

        3   management teams get paid multiples of current salary to stay

        4   on and be the experts.

        5       I also think they were put in difficult spots from the

        6   very beginning.    It was Jim Seery that made Scott Ellington

        7   the settlement counsel six, seven months ago.       It was a

        8   broadly-defined role that was never retracted, never adjusted,

        9   never modified, yet somehow he and Isaac violated it.         I don't

       10   know.    I haven't spoken to them since they've been terminated.

       11   They aren't allowed to speak to me, from what I hear.         But I

       12   wish them luck in their claims.

       13              THE COURT:    Okay.   You pass the witness?

       14              MR. BONDS:    Yes, Your Honor.

       15              THE COURT:    All right.   Mr. Morris, do you have

       16   further examination?

       17              MR. MORRIS:    Just a few questions.

       18                            REDIRECT EXAMINATION

       19   BY MR. BONDS:

       20   Q   Mr. Dondero, you knew about this hearing for some time,

       21   right?

       22   A   No.

       23   Q   When did you first learn this hearing was going to take

       24   place?

       25   A   Two days ago.




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        1   Q    Two days ago?

        2   A    When was the depo, three days ago?     Whatever.

        3   Q    And you didn't know prior to the deposition that we would

        4   be having a hearing today on the Debtor's motion for a

        5   preliminary injunction?

        6   A    No.    I thought it was going to be postponed or canceled.

        7   I was waiting for the text last night.

        8   Q    You had an opportunity to call any witness in the world

        9   you wanted to today, right?

       10   A    I guess.

       11   Q    You could have called -- you could have called the chief

       12   compliance officer at the Advisors if you thought the Court

       13   should hear from him as to the compliance issues that you've

       14   testified to, right?

       15   A    I think their letters stand on their own.

       16   Q    Okay.   So you didn't think that it was important for the

       17   Court to hear from Mr. Sowin directly, correct?

       18   A    Sowin is a trader.

       19   Q    I'm sorry.   Who's the chief compliance officer of the

       20   Advisors?

       21   A    Jason Post, as far as NexPoint is concerned.       He's the one

       22   that would have been behind the K&L -- K&L letters.

       23   Q    And he is not here today to testify, right?

       24   A    I think his letters stand on their own and I think

       25   everybody should read them, make sure they read them.




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        1   Q    Okay.    But Mr. Post is not here to answer any questions;

        2   is that right?

        3   A    I don't know if there are any questions beyond what's

        4   obviously stated in the letters.          You should read the letters

        5   carefully.     They're -- they're -- they talk about clear

        6   violations.

        7                MR. MORRIS:    Your Honor, I move to strike.      It's a

        8   very simple question.

        9                THE COURT:    Sustained.    That was another yes or no

       10   answer, Mr. Dondero.         Go ahead.

       11                THE WITNESS:    I'm sorry.

       12   BY MR. MORRIS:

       13   Q    Mr. Dondero, Mr. Post is not here to testify in order to

       14   explain to the Court what he thinks the regulatory issues are,

       15   correct?

       16   A    He's not here today.

       17   Q    And you could have called him as a witness, correct?

       18   A    Yes.

       19   Q    And you thought Mr. Ellington and Mr. Leventon were

       20   treated unfairly, right?

       21   A    Yes.

       22   Q    And there's no reason why they couldn't have come today to

       23   testify, correct?

       24   A    I guess they could have.

       25   Q    And there's no reason why anybody on behalf of the K&L




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        1   Gates clients couldn't have been here to testify, correct?

        2   A    I didn't deem it necessary, I guess.

        3   Q    Okay.   You could have offered into evidence, at least

        4   offered into evidence, any document you wanted, right?

        5   A    Yes.

        6   Q    And you could have offered the judge, for example, the

        7   shared services agreement, the shared services agreements for

        8   which you gave the Court your understanding, right?

        9   A    Which shared services, the one that Seery gave Ellington

      10    three days ago or the original one from years ago?

      11    Q    Any of the ones -- any of the ones that you have referred

      12    to today.    You could have given any of them to the judge,

      13    right?

      14    A    Correct.

      15    Q    And you didn't, right?

      16    A    I did not.

      17    Q    In fact, there's not a single piece of evidence in the

      18    record that corroborates anything you say; isn't that right?

      19    A    I -- I believe all those documents are in the record.

      20    They're just not in the record of this TRO.      But they're all

      21    --

      22    Q    Oh.

      23    A    They're all in the record.

      24    Q    Do you remember that there was a hearing on December 16th?

      25    I think you -- you testified that you're fully aware of that




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        1   hearing that was brought by the K&L Gates Clients.       Do you

        2   remember that?

        3   A    Yes.

        4   Q    Who testified at that hearing on behalf of the K&L Gates

        5   Clients?     Dustin Norris?

        6   A    I believe -- I believe Dustin Norris testified.

        7   Q    Uh-huh.    And what's Mr. Norris's role at the Advisors?

        8   A    He's one of the senior managers.

        9   Q    Is he a compliance officer?

       10   A    No.

       11   Q    Is he a trader?

       12   A    No.    But he's one of the senior managers.

       13   Q    Okay.    They could have called anybody they wanted, to the

       14   best of your understanding, right?

       15   A    I don't think they got a chance to.      Wasn't it an

       16   abbreviated hearing?

       17   Q    They offered Mr. Norris as a witness.      Do you understand

       18   that?

       19   A    I -- all I -- I wasn't there.     I didn't attend virtually.

       20   I -- but I did know that Norris testified.      But I don't know

       21   who else was called, wasn't called, was going to be called,

       22   was on the witness list.      I have no awareness.

       23   Q    Okay.    You were pretty critical of the trades that Mr.

       24   Seery wanted to make that you interfered to stop, right?

       25   A    I think he's subsequently done most of those trades.




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        1   Q    And you called them preposterous because he wanted to do

        2   it around Thanksgiving or around Christmas, at least based on

        3   your testimony, correct?

        4   A    That's when it did occur.

        5   Q    And is it your testimony -- is it your testimony that

        6   every single person in the world who trades securities near a

        7   holiday is making a preposterous trade?

        8   A    I think it's amateur and not what an investment

        9   professional would do.

       10   Q    So you never trade on holidays; is that your testimony?

       11   You've never done it once in your life?

       12   A    Very rarely, unless there's another overriding reason.

       13   And there was no overriding reasons, period.

       14   Q    How would you know that when you didn't even ask Mr. Seery

       15   why he wanted to make the trades?

       16   A    I asked Joe Sowin, who asked Jim Seery.      And Joe Sowin

       17   said that Jim Seery just said for risk reduction.

       18             MR. MORRIS:    I move to strike on the grounds that

       19   it's hearsay, Your Honor.

       20             THE COURT:    Sustained.

       21   BY MR. MORRIS:

       22   Q    You never asked Mr. Seery why he wanted to make the

       23   trades, correct?

       24   A    I'm not allowed to talk to Mr. Seery.

       25   Q    You certainly were around Thanksgiving; isn't that right?




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        1   A    I don't know.

        2   Q    There was no TRO in place at that time, correct?

        3   A    That's true.

        4   Q    You're pretty critical of Mr. Seery and his capabilities;

        5   is that right?

        6   A    He's a lawyer.   He's not an investment professional.

        7   Q    Did you object to his appointment as the CEO of the

        8   Debtor?

        9   A    No.

       10   Q    Have you made any motion to the Court to have him removed

       11   as unqualified?

       12   A    Not yet.

       13   Q    Okay.   But with all the knowledge of all the preposterous

       14   things that he's been doing for months now, you haven't done

       15   it, right?

       16   A    No.

       17   Q    When you -- when -- before you threw the phone in the

       18   garbage, did you back it up?

       19   A    No.

       20   Q    Did it occur to you that maybe you should save the data?

       21   A    No.

       22   Q    You said that the only way you think you might be able to

       23   get information going forward is through a subpoena.          Do I

       24   have that right?

       25   A    I mean, that's how it seems.     I mean, it seems at every




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        1   turn -- and now with Scott Ellington being gone and Isaac

        2   being gone -- I have no idea how the Debtor is ever going to

        3   defend against UBS.

        4               THE COURT:   I did not --

        5               THE WITNESS:   I have no idea how --

        6               THE COURT:   I didn't hear the answer after with

        7   Ellington and Leventon being gone.      I didn't hear the rest of

        8   the answer.    Could you repeat?

        9               THE WITNESS:   I said I have no idea how the Debtor is

       10   ever going to defend itself against UBS.      But I also have no

       11   idea how we're ever going to get any information or ever push

       12   forward any kind of settlement without having any access to

       13   information or anybody to talk to.

       14   BY MR. MORRIS:

       15   Q    Do you trust Judge Lynn?

       16        (Echoing.)

       17   A    Yes.

       18   Q    Is he a good advocate?

       19   A    Yes.   If anybody returns his phone calls.

       20   Q    Do you recall that on October 24th Judge Lynn specifically

       21   asked my law firm to provide information on your behalf in

       22   connection with the Debtor's financial information, their

       23   assets and their liabilities?

       24   A    Yes.

       25   Q    Do you recall that the Debtor simply asked that you




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        1   acknowledge in an email between and among counsel that you

        2   would abide by the confidentiality agreement that was entered

        3   by the Court?

        4   A    I wasn't involved in those details.

        5   Q    Didn't you send an email in which you agreed to receive

        6   the financial information subject to the protective order that

        7   this Court entered?

        8   A    I'm sure I would.    I just don't remember.

        9   Q    That was a condition that the Debtors made.      That doesn't

       10   refresh your recollection?

       11   A    I'm not denying it.    I just don't remember, and --

       12   Q    Okay.   And --

       13   A    (overspoken)

       14   Q    I'm sorry, I don't mean to cut you off.      And in fact, on

       15   December 30th, the day you were supposed to vacate the office,

       16   the Debtor voluntarily provided to Judge Lynn all of the

       17   information that had been requested on your behalf without the

       18   need for a subpoena, right?

       19   A    Yeah.   It took a week.   It's 40,000 pages of mixed

       20   gobbledygook that we're -- we're going through.       But it should

       21   provide enough information for us to negotiate a pot plan if

       22   anybody so chose.

       23   Q    So you didn't need to (echoing) the 40,000 pages of

       24   financial information from the Debtor; all you needed was an

       25   agreement that you would abide by the protective order.




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       1   Correct?

       2   A    I think that was the first thing that was ever produced on

       3   request that I can remember.      But yes.

       4   Q    And it was just a week ago, right?

       5   A    Yes.

       6               MR. MORRIS:    I have no further questions, Your Honor.

       7               THE COURT:    All right.   Mr. Bonds, do you have

       8   anything else?

       9               MR. BONDS:    I do not, Your Honor, as to this witness.

      10   I have one other witness.

      11               THE COURT:    All right.

      12               MR. MORRIS:    Your Honor, I don't know who they plan

      13   on calling, but he's not on the witness list.

      14               THE COURT:    All right.   Well, --

      15               MR. BONDS:    Your Honor, this other witness --

      16               THE COURT:    Just a moment.    This concludes, for the

      17   record, Mr. Dondero's testimony.         But, obviously, stick

      18   around, because we're going to have a lot to talk about when

      19   this is finished as far as the evidence.

      20        All right.   Now, who are you wanting to call that you did

      21   not identify?

      22               MR. BONDS:    I'd like to call Mike Lynn for the

      23   purpose -- or, to -- as a rebuttal witness.

      24               THE COURT:    Lawyer as witness?

      25               MR. MORRIS:    Your Honor?




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        1               THE COURT:    Well, you know, first off, rebuttal of

        2   what?   Rebuttal --

        3               MR. MORRIS:    Exactly.   He's going to rebut his own

        4   client, Your Honor?       He's going to rebut his own client?

        5   There's only been one witness to testify here.          He was on

        6   their exhibit list.       How do they call a witness to rebut their

        7   own client?

        8               THE COURT:    Yes.   What -- I don't --

        9               MR. BONDS:    Your Honor?

       10               THE COURT:    Go ahead.

       11               MR. BONDS:    Mr. Morris testified or attempted to

       12   testify that the pot plan didn't gain any traction.          We will

       13   submit Mike Lynn on that issue.

       14               THE COURT:    No.

       15               MR. MORRIS:    Your Honor?

       16               THE COURT:    I'm not going to allow a lawyer to

       17   testify to rebut lawyer argument.         That's very inappropriate,

       18   in my view.    So, not going to happen.

       19               MR. LYNN:    (garbled)

       20               MR. BONDS:    Your Honor, he would be a fact witness to

       21   discussions with the other side.

       22               MR. MORRIS:    Your Honor, I strenuously object.

       23   They're -- he's only rebutting -- my questions are not

       24   evidence.    The only evidence in the record is Mr. Dondero's

       25   testimony.    Mr. Dondero is their client.       Mr. Dondero was on




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        1   their witness list.       They should not be permitted to call any

        2   witness, with all due respect to Mr. Lynn, to rebut their own

        3   witness.

        4               THE COURT:    All right.

        5               MR. BONDS:    Your Honor, we're not rebutting our

        6   witness.    We are rebutting the testimony that Mr. Morris gave.

        7               THE COURT:    Mr. Morris is a lawyer.    He makes

        8   argument.    He asks questions.     He was not a witness today.

        9   Okay?

       10        So if you want to say whatever you want to say as lawyers

       11   in closing arguments, then obviously you can do that.           But I'm

       12   not going to allow a lawyer to be a witness to rebut something

       13   another lawyer said in argument or in a question.         I -- it's

       14   -- so, I disallow that.

       15        Anything else, then?

       16               MR. BONDS:    No.

       17               THE COURT:    Okay.   And while we're talking about

       18   procedure, actually, Mr. Morris, it's the Debtor's motion, and

       19   I'm not even sure that's all of your evidence.         So, do you

       20   have any more evidence as Movant?

       21               MR. MORRIS:    No, Your Honor.    The Plaintiff and the

       22   Debtor rest.

       23               THE COURT:    All right.   So, at the risk of repeating,

       24   now that the Movant has rested, it would be Mr. Dondero's

       25   chance to put on supplemental evidence.        But what I'm hearing




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        1   from Mr. Morris is there were no witnesses identified on your

        2   witness list?

        3               MR. BONDS:    Other than Mr. Dondero, Your Honor.

        4               THE COURT:    Okay.   All right.    Well, was there any

        5   stipulated documentary evidence that -- that you had --

        6               MR. BONDS:    No, Your Honor.

        7               THE COURT:    All right.    Well, I guess we're done with

        8   evidence.

        9        Mr. Morris, your closing argument?

       10               MR. MORRIS:    All right.    Before I get to that, Your

       11   Honor, I just want to make a very brief statement.          When the

       12   Debtor objected to Mr. Dondero's emergency motion for a

       13   protective order, the Debtor stated that it sought discovery

       14   from Mr. Dondero to determine whether Mr. Dondero may have

       15   violated the TRO by interfering and impeding the Debtor's

       16   business, including by potentially colluding with UBS.          After

       17   that motion was decided, both Mr. Dondero and UBS produced

       18   documents to the Debtor.

       19        Based on the review of that information, the Debtor found

       20   no evidence that Mr. Dondero and UBS colluded to purchase

       21   redeemed limited partnership interests of Multi-Strat, nor any

       22   inappropriate conduct by UBS or its counsel.

       23        The Debtor appreciates the opportunity to clear that part

       24   of the record.

       25               THE COURT:    All right.




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        1               CLOSING ARGUMENT ON BEHALF OF THE PLAINTIFF

        2               MR. MORRIS:   Now, with respect to the motion at hand

        3   today, Your Honor, I want to take you back just about a month

        4   ago to December 10th, 2020.     At that time, we had a hearing on

        5   the Debtor's motion for a TRO.       The motion had been filed in

        6   advance.    Mr. Dondero had filed an objection.     He had concerns

        7   about the scope and the language of the terms of the proposed

        8   TRO.

        9          And at that hearing, Your Honor, if you'll recall, you

       10   listened carefully to the arguments that were made on behalf

       11   of Mr. Dondero.    You heard carefully -- you listened carefully

       12   to the proposed changes that he sought to make.       And you went

       13   through that proposed TRO word by word, Paragraph 2 and 3, and

       14   you read them out loud, and you made decisions at that time as

       15   to whether the Court believed any portion of that was

       16   ambiguous or whether it was clear.       You made determinations at

       17   that time whether or not the provisions were reasonable.

       18          Mr. Dondero wasn't there.    He didn't read the transcript.

       19   He has no idea what you said.       But his lawyers were there, and

       20   they had an opportunity to object and they had an opportunity

       21   to make comments, and the order is what the order is.         And for

       22   whatever reason, Mr. Dondero chose not to read it, or,

       23   frankly, even understand it, based on his testimony.

       24          The fact is, Your Honor, the one thing that the evidence

       25   shows very clearly here is that Mr. Dondero thinks that he is




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        1   the judge.   He believes that he is the decider.      He believes

        2   that he decides what the TRO means, even though he never read

        3   it.   He believes that he decides what exceptions exist in the

        4   TRO, even though he never read it.

        5         He believes that he decides that it's okay to ditch the

        6   Debtor's cell phone without even seeking, let alone obtaining,

        7   the Debtor's consent.    I guess he decides that he can ditch

        8   the phone and trash it without seeking to back it up or

        9   informing the Debtor.

       10         Mr. Dondero believes that he gets to decide that it's okay

       11   to take a deposition from the Debtor's office, even when the

       12   Debtor specifically says you're evicted and you're not allowed

       13   to have access.

       14         Mr. Dondero believes that he gets to decide that Mr. Seery

       15   has no justification for making trades, even though he

       16   couldn't take the time to pick up the phone or otherwise

       17   inquire as to why Mr. Seery wanted to do that.

       18         Mr. Seery -- Mr. Dondero believes that he is the arbiter

       19   and the decision-maker and gets to decide to stop trades,

       20   notwithstanding the TRO, notwithstanding the CLO agreements

       21   that he is not a party to, that his entities are not a party

       22   to.

       23         Mr. Dondero thinks that he gets to decide that the Debtor

       24   has breached the agreements with the CLOs.      He gets to decide

       25   that the Debtor is in default under those agreements.         He gets




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        1   to decide that it's perfectly fine for Ellington and Leventon

        2   to support his interests while they have obvious duties of

        3   loyalty to the Debtor.

        4        It is not right, Your Honor.      It is not right.   I stood

        5   here, I sat here, about four hours ago, five hours ago, and

        6   told the Court what the evidence was going to show, and it

        7   showed every single thing that I expected it to show and

        8   everything I just described for the Court about Mr. Dondero's

        9   belief that he's the decider.

       10        He's not the decider, Your Honor.      You are.   And you made

       11   a decision on June -- on December 10th that he ignored.

       12        There is ample evidence in the record to support the

       13   imposition of a preliminary injunction.      And Your Honor, I'm

       14   putting everybody on notice now that we're amending our

       15   complaint momentarily to add all of the post-petition parties,

       16   because this has to stop.     The threats have to stop.       The

       17   interference has to stop.     Mr. Dondero can always make a

       18   proposal if he thinks that there's something that will capture

       19   the imagination and the approval -- more importantly, the

       20   approval -- of the Debtor's creditors.      We have no interest in

       21   stopping him from doing that.       He's got very able and

       22   honorable counsel, and he can go to them and through them any

       23   time he wants.

       24        But the record is crystal clear here that, notwithstanding

       25   Your Honor's order, one entered after serious deliberation, is




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        1   of no meaning to him.      And we'll be back at the Court's

        2   convenience on the Debtor's motion to hold him in contempt.

        3   It'll just be a repeat of what we've heard today, because,

        4   frankly, the evidence is exactly the same.

        5        With that, Your Honor, unless you have any questions, the

        6   Debtor rests.

        7               THE COURT:   All right.   I do not.

        8        Mr. Bonds?

        9               MR. BONDS:   Your Honor, we would like to divide our

       10   time between Mike Lynn and myself.         Is that a problem?

       11               THE COURT:   That's fine.    Go ahead.

       12               MR. LYNN:    Are we on mute?

       13               MR. BONDS:   No.

       14               CLOSING ARGUMENT ON BEHALF OF THE DEFENDANT

       15               MR. LYNN:    Your Honor, I'm taking a leaf out of Mr.

       16   Phelan's book.    I happened to read the confirmation hearing in

       17   the Acis case regarding what was referred to as Clients A, B,

       18   and C.   And Mr. Phelan, who testified, really gave an oral

       19   argument to the Court which was very persuasive and very

       20   thorough.    So I'm going to sort of do the reverse, because I

       21   hope that the Court would find useful some information

       22   regarding the pot plan about which you've heard many words

       23   spoken but very little to do with what that plan was or how it

       24   came about.

       25        The pot plan was proposed by Mr. Dondero for the first




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       1   time in September of 2020, shortly after the conclusion of the

       2   first round of mediations.     Though there had been versions of

       3   it before, and lesser versions, the pot plan was finally in

       4   the form that would more or less survive it in September.

       5   Under the pot plan, Mr. Dondero proposed to come up with $90

       6   million of cash and $70 million in promissory notes, and that

       7   was to form a pot which creditors would share in.

       8        The proposal was provided to the Debtor and then shared

       9   with the Committee.    Mr. Seery responded with a degree, a

      10   degree only, of enthusiasm to the pot plan, and indeed

      11   provided a counter-term sheet to the pot plan.       He also, so he

      12   said, and I believe him, approached the Committee and said

      13   this is a proposal to be taken seriously.

      14        He proposed some improvements in his view to the pot plan.

      15   No response was received from the Creditors' Committee at that

      16   time.

      17        After going back and forth with the Debtor -- and Mr.

      18   Seery, not unreasonably, was unwilling to propose the pot plan

      19   without some support on the Creditors' Committee -- I

      20   contacted Matt Clemente.     We had a nice conversation.       And at

      21   that time, Mr. Clemente raised two particular concerns.          The

      22   $160 million, which creditors did not think was enough, was

      23   not enough, in part, because that included no consideration

      24   for the acquisition of promissory notes executed some by Mr.

      25   Dondero and some by entities controlled by Mr. Dondero, which




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        1   notes total approximately $90 million.

        2          The second concern was that Mr. Dondero would get a

        3   release under the plan.    During that call, I said the issue of

        4   the notes is subject to negotiation and might well result in a

        5   transfer of those notes, possibly with some amendments, to the

        6   pot, and that Mr. Dondero was prepared, in all likelihood, to

        7   forego a release.

        8          Mr. Clemente agreed to get back to me.    He did.      And he

        9   said to me, I have talked to the Committee about this and they

       10   would like you to go to or they want you to go first to Mr.

       11   Seery, work off of his revised timesheet -- or term sheet,

       12   sorry -- and after you have reached an agreement with him,

       13   come to us, come to the Committee, and we'll negotiate with

       14   you.

       15          Now, I might have agreed that that was a reasonable

       16   approach if there were a possibility that Mr. Seery would

       17   propose a plan without the agreement of creditors.         But the

       18   way I took it was that the Committee was saying go make a deal

       19   with Seery and then we'll start negotiating, and we know,

       20   correctly, that Mr. Seery will not propose a plan that does

       21   not have our support.

       22          So, effectively, we get to go through two rounds of

       23   negotiations, even though effectively everything that is in

       24   the estate, everything -- causes of action against Mr.

       25   Dondero, promissory notes from Mr. Dondero -- everything that




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        1   they would get under a plan or under a liquidation, they would

        2   get under the pot plan.

        3       Now, I wanted you to know that, Your Honor, not because

        4   I'm now trying to get you or anyone else to sell the pot plan.

        5   But I think it's important that Your Honor know that Mr.

        6   Dondero's approach in this case has not been a hostile

        7   approach.

        8       I know the Court had what it found to be an unsatisfactory

        9   experience with Mr. Dondero in the Acis case.      But from the

       10   time I became involved in this case and Mr. Bonds became

       11   involved, we have been quiet, we have said nothing, and we've

       12   done virtually nothing in the case, up until the time after

       13   the mediation, when negotiations regarding a pot plan broke

       14   down.

       15       Since that time, regrettably, there has been a good deal

       16   of hostility, and it's spreading.     I would like to see it stop

       17   spreading.   I will do what I can to make it stop spreading.

       18   But I need others to help me on that.     And it's my hope that I

       19   can count on the Pachulski law firm, the Sidley law firm, and

       20   the firms representing the major creditors to help make that

       21   happen.

       22       I do not think, and I would submit that it is not to the

       23   benefit of the estate, it is not to the likely workout of this

       24   case, that it would be best served by entering a preliminary

       25   injunction, which it appears to me prevents Mr. Dondero from




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        1   saying good morning to one of the employees of the Debtor that

        2   he knows.

        3        It seems to me, Your Honor, that the injunction, by its

        4   terms, as Mr. Morris would have it, is an injunction that

        5   would prevent Mr. Dondero from discussing politics with Mr.

        6   Ellington.    And it seems to me that an injunction that broad,

        7   that extensive, and one which lasts, as far as I can tell,

        8   until infinity, that such an injunction is not the right thing

        9   to do, given, if nothing else, the First Amendment to the

       10   United States Constitution.

       11        That will conclude my presentation, and I will turn it

       12   over to the wiser and better-spoken colleague, John Bonds.

       13   Thank you, Your Honor.

       14               THE COURT:   Thank you.   Mr. Bonds, what else do you

       15   have to say?

       16               CLOSING ARGUMENT ON BEHALF OF THE DEFENDANT

       17               MR. BONDS:   Your Honor, has the Debtor met the

       18   requirements for the issuance of a preliminary injunction?          We

       19   submit that they have not.     And the Fifth Circuit's rules are

       20   fairly clear as to the awarding of a preliminary injunction.

       21        First, let's look at the type of preliminary injunction

       22   that the Debtor would like you to enter today.        It provides

       23   that Mr. Dondero cannot talk to any employee, regardless of

       24   what is being communicated.     Mr. Dondero can pass an employee

       25   on the street, but he can't acknowledge the employee, with




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        1   whom he may have worked for years.      Nor can he talk to his

        2   personal assistants, again, which he has worked with for

        3   years.    Does that violate the First Amendment of the

        4   Constitution?

        5        What about the shared services agreement?      What about the

        6   pot plan which he is advocating as a means of reorganizing the

        7   Debtor?    Not the liquidation proposed by the Debtor.        Can Mr.

        8   Dondero communicate with creditors about the pot plan and the

        9   other proposals without violating the TRO or the preliminary

       10   injunction which deals with interfering with the Debtor's

       11   business?

       12        Your Honor, I think it's important to note that a

       13   preliminary injunction is an extraordinary remedy that may

       14   only be awarded upon a clear showing that the Plaintiff is

       15   entitled to such relief.     Plaintiffs are entitled to a

       16   preliminary injunction if they show, one, a substantial

       17   likelihood that they will prevail on the merits of their

       18   claims; two, a substantial threat that they will suffer an

       19   irreparable injury if the injunction is not granted; three,

       20   their threatened injury outweighs the harm to the estate or

       21   the other party; and four, the public interest will not be

       22   disserved, misserved, if the preliminary injunction is

       23   granted.

       24        The party seeking the preliminary injunction bears the

       25   burden of persuasion on all four requirements.       We believe




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        1   that the Debtor today has failed to carry its burden of

        2   persuasion of proof with regard to the second element, which

        3   I'm going to refer to as the irreparable injury requirement.

        4   In order to show irreparable harm to the Court, the Plaintiff

        5   must prove that if the District Court denied the grant of a

        6   preliminary injunction, irreparable harm would be the result.

        7   Injuries are irreparable only when they cannot be undone

        8   through monetary remedies.     There is no evidence before the

        9   Court today that Mr. Dondero cannot respond to any judgment

       10   that is rendered against him by this Court.

       11        Your Honor, this preliminary injunction does not involve

       12   real property.    Unlike the Saldana case, this request for the

       13   issuance of a preliminary injunction involves personal

       14   property only.    The request that Mr. Dondero cease and desist

       15   all contact with employees is just wrong and may violate the

       16   First Amendment of the Constitution, as I previously stated.

       17        We have other concerns regarding the issuance of a

       18   preliminary injunction.    We feel that the preliminary

       19   injunction is too broad.     It lacks a beginning and an end.

       20   When does the preliminary injunction terminate?       What about

       21   the former employees?    Once they are terminated, can Mr.

       22   Dondero speak to them?    What about the pot plan?     Is it gone

       23   forever?    Can Mr. Dondero talk with the mediators about the

       24   pot plan?   Can Mr. Dondero speak with the members of the

       25   U.C.C.?




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        1          It is easy to criticize Mr. Dondero.      Did he violate the

        2   TRO?    We submit that he didn't and the Debtor says that he

        3   did.    What matters going forward is the lack of evidence of

        4   irreparable harm.

        5          Mr. Seery sure wants to keep Mr. Dondero from talking to

        6   anyone in this case.      Why is that?    Does Mr. Seery believe

        7   that the only way to get his liquidation plan confirmed is to

        8   keep Mr. Dondero from talking to anyone?        How will the

        9   preliminary injunction help the Debtor's creditors?           Does

       10   keeping Mr. Dondero from talking with anyone mean that there

       11   will be a greater return to the creditor body?         Does

       12   precluding Mr. Dondero from talking about his pot plan mean

       13   that the creditors will take home more money on their claims,

       14   or does it eliminate the possibility that they may take home

       15   more money on their claims?

       16          Your Honor, what we are seeing here today is an attempt by

       17   a group to destroy what Mr. Dondero has built over the last

       18   few years.    That isn't the way Chapter 11 should work.

       19          Just one last thing to keep in mind, Your Honor.        Mr.

       20   Seery's plan is a liquidation of the Debtor.         Mr. Dondero's

       21   pot plan is a reorganization of the Debtor.

       22          Thank you, Your Honor.

       23               THE COURT:    All right.   Mr. Morris, you get the last

       24   word.    Anything in rebuttal?

       25               MR. MORRIS:    I would just point out, Your Honor, that




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        1   nobody here has objected to the Debtor's motion for the entry

        2   of a preliminary injunction except Mr. Dondero.       While I

        3   appreciate that this is an adversary proceeding, anybody who

        4   felt strongly about the matter certainly could have moved to

        5   intervene.   The Creditors' Committee could have moved to

        6   intervene.   Mr. Clemente could have stood at the podium and

        7   begged Your Honor not to impose the injunction because he

        8   thought it was in the best interest of creditors to allow Mr.

        9   Dondero to interfere with the Debtor's business and to speak

       10   with their employees.    Nobody has done that, Your Honor.

       11   Nobody's here speaking on behalf of Mr. Dondero.       Nobody's

       12   here to testify on his behalf.       Nobody's -- there's no

       13   evidence in the record that supports or corroborates anything

       14   that he said at all, Your Honor.

       15        Unless Your Honor has any specific questions, the Debtor

       16   is prepared to rest.

       17             THE COURT:    All right.    I do not have any follow-up

       18   questions.

       19        All right.   I have a lot to say.     I'm sorry, I apologize

       20   in advance, but I've got a heck of a lot to say right now.

       21   I'm going to give you a ruling on the motion before me, but

       22   I've got a lot to add onto that, so I hope all the key parties

       23   in interest are listening carefully.      Mr. Bonds, in the video,

       24   I can only see you.    I hope Mr. Dondero is just right there

       25   out of the video camera view.       Okay, there you are.   I wanted




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        1   to make sure you didn't wander off to take a bathroom break or

        2   anything.    So, again, I have a whole lot to say here today.

        3       First, I'm going to rule on the motion.       The Court does

        4   find there is sufficient compelling evidence to grant a

        5   preliminary injunction that is completely consistent with the

        6   prior TRO.   Okay?    So, specifically, the Court today is going

        7   to continue to prevent Mr. Dondero from (a) communicating in

        8   any way, directly or indirectly, with any of the Debtor's

        9   board members -- I think that's really Strand board members --

       10   unless Mr. Dondero's counsel and counsel for the Debtor are

       11   included.    Okay.   I'm saying those words slowly and carefully.

       12   There is no bar on Mr. Dondero talking to the board about a

       13   pot plan or anything else in the universe Mr. Dondero wants to

       14   talk to them about.    There's just a preclusion from him doing

       15   it without his counsel and the Debtor's counsel present.

       16   Okay?

       17       I did that before and I'm doing it now because I've seen

       18   concerning evidence that some communications to Mr. Seery and

       19   others had an intimidating tone, a threatening tone one or two

       20   times, an interfering tone.    So, guess what, we're just going

       21   to have lawyers involved if any more conversations happen.

       22   Okay.

       23       So (b) the preliminary injunction, just as the TRO did, is

       24   going to prevent Mr. Dondero from making any threats of any

       25   nature against the Debtor or any of its directors, officers,




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        1   employees, professionals, or agents.      Okay.   It's almost

        2   embarrassing having to say that or order that with regard to

        3   such an accomplished and sophisticated person, but, you know,

        4   I saw the evidence.    I've got to do what I've got to do.        You

        5   know, words in a text like, Don't do it, this is your last

        6   warning, and some of the other things, that has a threatening

        7   tone, so I'm going to order this.

        8        Third, the preliminary injunction will prevent Mr. Dondero

        9   from communicating with any of the Debtor's employees except

       10   as it specifically relates to shared services provided to

       11   affiliates owned or controlled by Mr. Dondero.

       12        Now, I'm going to elaborate in a couple of ways here.         I

       13   think in closing argument there was a suggestion that he can't

       14   even talk to his friend, Mr. Ellington, about anything.          Well,

       15   I heard today that Mr. Ellington and Mr. Leventon are no

       16   longer employees of the Debtor, so actually that's not an

       17   issue.    But while this is very restrictive, while this

       18   prevents Mr. Dondero from engaging in small talk with Debtor

       19   employees about the weather or the football game or whatever,

       20   it's regrettable, but I feel like I'm forced to order this

       21   now, because, again, the communications that were put in the

       22   record.   Okay?   We just can't take any chances, as far as I'm

       23   concerned, with regard to there being potential interference

       24   with the Debtor's operations that might be harmful or contrary

       25   to creditors' interests.




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        1          Fourth, the preliminary injunction, just like the TRO,

        2   will prevent Mr. Dondero from interfering with or otherwise

        3   impeding the Debtor's business, including but not limited to

        4   the Debtor's decisions concerning its operations, management,

        5   treatment of claims, disposition of assets owned or controlled

        6   by the Debtor, and pursuit of any plan or alternative to the

        7   plan.

        8          Now, I understand the argument that this is pretty broad

        9   and might be, I don't know, subject to some disputes regarding

       10   was it interference, did it impede the Debtor's business or

       11   not?    You know what, if you follow the other prongs of the

       12   preliminary injunction, that you don't talk to the board

       13   without your counsel, Mr. Dondero, and the Debtor's counsel,

       14   and you don't talk to Debtor's employees except with regard to

       15   matters pertaining to the shared services agreement, and,

       16   bottom line, if you just run everything by your attorneys,

       17   you'll be okay.    We won't have this ambiguous, vague,

       18   problematic territory.

       19          Fifth, I will go ahead and, for good measure, belts and

       20   suspenders, whatever you want to call it, prevent Mr. Dondero

       21   from otherwise violating Section 362(a) of the Bankruptcy

       22   Code.

       23          Now, I read the response filed at 9:30 last night by Mr.

       24   Dondero's counsel.    It's a good response.    It makes legal

       25   arguments about that being, you know, it just being too vague.




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        1   Well, to the contrary, it just restates what's already in the

        2   Bankruptcy Code, right?    Persons are prohibited from violating

        3   Section 362(a) of the Bankruptcy Code.      If anything, it's the

        4   sky is blue, right, just stating what is true.       But I

        5   understand Debtor wanting some clarity in an order, because we

        6   want you to take this seriously, Mr. Dondero, and not just do

        7   something and then say, well, you didn't know what was in the

        8   Code.   You know, you need to consult with your lawyer.         That's

        9   going to be in there.

       10        Bottom line, I want that language in there because, Mr.

       11   Dondero, I want you to see an order that this Court expects

       12   you to comply with the Bankruptcy Code.      And again, if you

       13   don't understand, if you're unsure whether you can take action

       14   x or y, consult with your very capable lawyers.

       15        I note that if you listened carefully to these words,

       16   there was nothing in here that stopped Mr. Dondero from

       17   talking to the Creditors' Committee about a pot plan.         Nothing

       18   in this injunction, nothing in the previous TRO, ever

       19   prohibited that.

       20        Last, with regard to the ruling -- and again, I've got a

       21   lot more to say when I'm done -- I am going to further enjoin

       22   Mr. Dondero from what we said in the TRO:      causing,

       23   encouraging, or conspiring with any entity controlled by him

       24   and/or any person or entity acting on his behalf from directly

       25   or indirectly engaging in any of the aforementioned items.




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        1   This is not an injunction as to nonparties to the adversary

        2   proceeding.   It is an injunction as to Mr. Dondero from doing

        3   the various enjoined acts that I previously listed under the

        4   guise of another entity or a person that he controls.

        5        Again, if you're dealing with and through your attorneys,

        6   Mr. Dondero, I don't think this will be hard to maneuver.

        7        I guess I'm actually not through with my ruling yet.        I do

        8   want to add that the Court rules that the injunction shall

        9   last through the time of confirmation of a plan in this case

       10   unless otherwise ordered by this Court.

       11        And as to the legal standards, I want to be clear for the

       12   record that the Court believes this injunction is necessary to

       13   avoid immediate and irreparable harm to the Debtor's estate

       14   and to its reorganization prospects.      I believe that there's a

       15   strong likelihood the Debtor will succeed in a trial on the

       16   merits of this adversary proceeding.      I believe the public

       17   interest strongly favors this injunction.      And I believe the

       18   balance of harms weighs in favor of the Debtor on all of these

       19   various issues.

       20        Again, I want to reiterate, the intimidation and

       21   interference that came through in some of these email and text

       22   communications was concerning to the Court and is a motivation

       23   for this preliminary injunction.

       24        Now, I'm going to add on a couple of things today.         The

       25   first thing I'm going to add on -- and I want this, Mr.




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        1   Morris, in the order you submit.      You didn't ask me for this,

        2   but I'm going to do it.    I'm going to order you, Mr. Dondero,

        3   to attend all future hearings in this bankruptcy case unless

        4   and until this Court orders otherwise.      And I'm doing this --

        5   it's not really that unusual a thing for me to do.       I

        6   sometimes order this in cases when I'm concerned about, you

        7   know, is the businessperson paying attention to what's going

        8   on in the case and is he engaged, is he invested, is he

        9   available when we need him?

       10        In this case in particular, the evidence was that you

       11   didn't read the TRO.    You were not aware of its basic terms

       12   and you didn't read it.    Okay?    So that was what sent me over

       13   the edge as far as requiring this new element that you're

       14   going to attend every hearing.      Obviously, we're doing video

       15   court, so that's not that much of a burden or imposition.         You

       16   can pretty much be anywhere in the world and patch in by

       17   video, since we're in the pandemic and not doing live court.

       18   But I think it's necessary so I know you hear what I rule and

       19   what goes on in this case.

       20        I will tell you that I was having a real hard time during

       21   your testimony deciding if I believe you didn't read the TRO

       22   or know about the different things that were prohibited.         You

       23   know, I was thinking maybe you're not being candid to help

       24   yourself in a future contempt hearing, or actually maybe

       25   you're being a hundred percent honest and candid but you're




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        1   kind of hiding behind your lawyers so that you can argue the

        2   old plausible deniability when it suits you.

        3        But no more.   No more.   I'm not going to risk this

        4   situation again of you not knowing what's in an order that

        5   affects you.    So you must be in court by video until I order

        6   otherwise.

        7        Second, and I regret having to do this, but I want it

        8   explicit in the preliminary injunction that Mr. Dondero shall

        9   not enter Highland Capital Management's offices, regardless of

       10   whether there are subleases or agreements of Highland

       11   affiliates or Dondero-controlled entities to occupy the

       12   office, unless Mr. Dondero has explicit written permission

       13   that comes from Highland's bankruptcy counsel to Dondero's

       14   bankruptcy counsel.    Okay?   If he does, it will be regarded as

       15   trespassing.

       16        And, I don't know, are there security guards on the

       17   premises?    I mean, gosh, I hate to be getting into this

       18   minutia, but -- well, I just want it explicit in the order

       19   that Mr. Dondero, I'm sorry, but you can't go to these offices

       20   without written permission.     And again, that can only be given

       21   from Debtor's counsel to Mr. Dondero's counsel.       Okay?      So

       22   it's going to be trespassing.       You know, someone can call the

       23   Dallas Police Department and have you escorted out.       Again, I

       24   hate having to do that.    It's just, it's embarrassing for me.

       25   I think it's embarrassing for everyone.      But I'm backed up in




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        1   that corner.

        2        Next, I am going to ask that it be clear that Mr. Dondero

        3   can deal with the Unsecured Creditors' Committee and its

        4   professionals with regard to talking about a pot plan.

        5        And next, I'm going to add -- and I think, Mr. Morris, you

        6   requested this at some point today in oral argument -- Mr.

        7   Ellington and Mr. Leventon shall not share any confidential

        8   information that they received as general counsel, assistant

        9   general counsel for the Debtor, without Debtor's counsel's

       10   explicit written permission.     Okay?    So we've got that in

       11   writing.

       12        And, you know, that's a little awkward because they're not

       13   here, they weren't parties to the injunction, but they were

       14   Debtor employees until recently.       If they want to risk

       15   violating that and come back to the Court and argue about

       16   whether they got notice and whatnot of that, they can argue

       17   that, but I want it in the order regardless.

       18        So that is the ruling.    And now I want to kind of talk

       19   about a few other things.     And before we're done here, Mr.

       20   Morris, I'll ask do you have questions, does Mr. Bonds have

       21   questions, does anyone have questions about the ruling.          But I

       22   want to talk about a couple of things.      And again, I hope that

       23   I'm coming through loud and clear, Mr. Bonds, in your office

       24   for Mr. Dondero to hear this.       It's really, really important

       25   that he heard what I'm about to say.       I'm going to say some




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        1   kind of unpleasant things and then I'm going to say some

        2   hopeful things, okay?

        3        Mr. Dondero?    Okay.    Mr. Dondero, I'm going to -- Mr.

        4   Morris, you've got your hands on your head.          Did I miss

        5   something?

        6                MR. MORRIS:    No.    I was just surprised to see Mr.

        7   Dondero on his phone.       I apologize, Your Honor.

        8                THE COURT:    Oh, my goodness.    Were you on your phone,

        9   Mr. Dondero?

       10                MR. DONDERO:    No, I was not.

       11                THE COURT:    Okay.   I want you to listen to this

       12   really closely, and then I promise I'm going to have something

       13   hopeful to say after this very unpleasant stuff.          You know, I

       14   keep a whiteboard up at my bench.         I don't know if you can

       15   read it.     But sometimes I hear something in a hearing and I

       16   think, okay, this is one of my major takeaways from what I

       17   heard today.     And I've got two, I've got two big takeaways

       18   here.   Number one on my whiteboard is Dondero's spoliated

       19   evidence.     Game-changer for all future litigation.       Okay.

       20                MR. DONDERO:    I'm sorry.   I didn't hear that.       I

       21   didn't hear that.     Could you repeat that, please?

       22                THE COURT:    Mr. Dondero, spoliated evidence, game-

       23   changer in future litigation.

       24        Okay.    Let me tell you, the throwing away of the phone,

       25   that was the worst thing I heard all day.         That was far and




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        1   away the worst thing I heard all today.       I don't know what I'm

        2   going to hear down the road to fix this, but if it's really

        3   gone, let me tell you how bad this is.       We have all sorts of

        4   Federal Rules of Civil Procedure that talk about this being a

        5   bad thing, but I wrote an opinion a couple years ago dealing

        6   with spoliation of electronic evidence, and I think it might

        7   be helpful for everyone to read.      It was called In re Correra,

        8   C-O-R-R-E-R-A.   I have no idea what the cite on it is.       But in

        9   this case, Correra, we had a debtor who had a laptop, and he

       10   gave the laptop to his personal assistant, who took it away to

       11   another state.   And at some point during the case, parties

       12   discovered, oh, there's a laptop that may have a treasure

       13   trove of information.    Who knows?     Maybe it does; maybe it

       14   doesn't.   But there's a laptop that we just now learned about

       15   that the personal assistant has.

       16       And so I issued an order that she turn it over, and there

       17   were subpoenas and depositions, blah, blah, blah.        Long story

       18   short, the evidence ended up being that she deleted everything

       19   on the laptop, and then -- this would almost be funny if it

       20   wasn't so serious -- she downloaded thousands of pictures of

       21   cats onto the laptop.    I kid you not, cats.     Meow, meow, cats.

       22   And she downloaded a hundred-something full-length movies.

       23   And we had two days of forensic experts come in and take the

       24   witness stand and tell me about how, okay, this is like an

       25   amateurish -- you've talked about amateur hour today -- this




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        1   is kind of an amateurish way of deleting data, right.         You

        2   first delete all the files on the laptop and then you cover

        3   over all the space to make sure the information is not

        4   retrievable.   You know, this genius ended up retrieving some

        5   of the information.

        6        But the long story short is I sanctioned the debtor and

        7   his assistant jointly and severally.      You'll have to go back

        8   and look at the opinion.     I'm pretty sure it was over a

        9   million dollars.    And I can't remember if that was attorneys'

       10   fee-shifting only, or monetary, like penalty on top of the

       11   attorneys' fees-shifting.     I just can't remember.    But maybe

       12   poor Tara needs to be advised of that opinion, too.       I mean,

       13   --

       14        But the other reason I put game-changer in future

       15   litigation is, in my Correra case, it wasn't just the monetary

       16   million-dollar sanction or whatever it was; it was a game-

       17   changer in future litigation because the adverse party to the

       18   debtor ended up arguing -- and it was the state of New Mexico,

       19   by the way -- they ended up saying, in all future litigation,

       20   we want you -- some adversaries, we want you to make an

       21   adverse inference.    In other words, for all of these elements

       22   that we're trying to prove in our fraudulent transfer

       23   litigation and whatever else was going on, we want you to make

       24   an adverse inference that there would have been evidence there

       25   on that laptop that would have supported some of our causes of




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        1   action and it was destroyed to keep us from having that

        2   evidence.

        3        And they brought forth all kinds of case law.       It's a hard

        4   area.   It's a really, really hard area.     But I ended up --

        5   again, it's not in the main opinion.      It was in subsequent

        6   orders.   I ended up saying, yeah, I think you've met the

        7   standard here to draw adverse inferences.

        8        So, again, this is a very unpleasant message for me to

        9   deliver today.   But the destruction of the phone is my biggest

       10   takeaway of concern today, how that might have ramifications.

       11   You know, there are other bad things, too, about that.         I'm

       12   not even going to go there right now.      But the, you know,

       13   Title 18, you can ask your lawyer what that means, but okay.

       14        My second big takeaway before we get to the hopeful stuff

       15   is -- and this is kind of harsh, what I'm about to say -- but

       16   Ellington and Leventon maybe care more about you, Mr. Dondero,

       17   than their law license.    You know, I guess it's great to have

       18   people in your life who are very, very loyal to you.          I mean,

       19   loyalty is a wonderful thing.       But I am just so worried about

       20   things I've heard.    Again, the phone and in-house lawyers.

       21   The biggest concerns in my brains right now.       I have worried

       22   about them for a while.

       23        You all will -- well, Mr. Dondero, you might not know

       24   this.   But we had a hearing a few months ago, maybe September,

       25   October, where the Creditors' Committee was trying to get




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        1   discovery of documents.    And we had some sort of hearing,

        2   maybe a motion to compel production.     And we had many, many

        3   entities that you control file objections:      NexPoint, NexBank.

        4   I can't even remember.    We just had a whole slew.     CLO Holdco.

        5   Many, many of these entities objected.      And I was trying to

        6   figure out that day who was instructing them.      And oh my

        7   goodness, I hope the in-house layers are not involved in this

        8   document discovery dispute, because, you know, they have

        9   fiduciary duties.   And are -- you know, is it -- it feels like

       10   it's breaching a duty to the bankruptcy estate when it's in

       11   the bankruptcy estate's best interest to get these documents

       12   if you're meanwhile hiring lawyers for these other entities,

       13   Holdco, et cetera, and saying, Fight this.

       14       I never really pressed it very hard back then, but I

       15   raised the issue and I said, I'm really, really concerned

       16   about this.   And I continue to be concerned about it.        I had

       17   experiences with Mr. Ellington in the Acis case where he

       18   testified on the witness stand, and later it looked a heck of

       19   a lot like he might have committed perjury.      I hate to use

       20   such blunt terms.   But I let it go.    I'm just like, you know,

       21   I'm not going to -- you know, I'm going to just hope for the

       22   best that he misspoke.

       23       But I'm getting a really bad taste in my mouth about

       24   Ellington and Leventon, and I hope that they will be careful

       25   and you will be careful, Mr. Dondero, in future actions.




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        1        Is Mr. -- I can't see Mr. Dondero.       I want to make sure

        2   he's not on the phone.     Okay.    Okay.   Thank you.

        3        So where was I going to head next?       I guess I want to say

        4   a couple of things now that I would describe as a little bit

        5   more hopeful, and that is pertaining to this whole pot plan

        6   thing.

        7        You know, I tend to think, without knowing what's being

        8   said outside the courtroom, that a pot plan would be the best

        9   of all worlds, okay, because the plan that we have set for

       10   confirmation next week, I understand we have a lot of

       11   objections, and if I approve it, if I confirm the plan, we're

       12   going to have a lot of appeals and motions for stay pending

       13   appeal, and no matter how that turns out, we're going to have

       14   a lot of litigation.    Okay?   You know, we're going to have

       15   adversaries.   And we have a not-very-workable situation here

       16   where we have these Dondero-controlled affiliates questioning

       17   Mr. Seery's every move.

       18        I would love to have a pot plan that would involve, Mr.

       19   Dondero, you getting to keep your baby, okay?       I acknowledge,

       20   everyone here acknowledges, you are the founder of this

       21   company.   This is your baby.      You created a multi-billion-

       22   dollar empire, okay?    I would be shocked if you didn't want to

       23   keep your baby.    Okay?   If there was a reasonable pot plan, I

       24   would love it.

       25        But I'm telling you, the numbers I heard didn't impress me




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        1   a heck of a lot.    I'm not an economic stakeholder.     It's not

        2   my claim that would be getting paid.     But I can see where

        3   these Creditor Committee members, they're not going to think

        4   $160 million -- $90 million in cash, $70 million in notes, or

        5   vive-versa -- is nearly enough.     Okay?

        6       So I am going -- what just happened?      What just happened?

        7   I lost Mr. Dondero.    Okay.   This is getting kind of humorous,

        8   almost.

        9       Okay.     I am going to order that between now and the end of

       10   the day Tuesday there be good-faith, and I'll say face-to-face

       11   -- Zoom, WebEx, whatever -- negotiations between Mr. Dondero

       12   and his counsel and at least the Committee and its

       13   professionals regarding this pot plan.

       14       Now, the train is leaving the station next Wednesday,

       15   okay?   If we don't have Creditors' Committee and Debtor and

       16   Dondero rushing in here saying, Please continue the

       17   confirmation hearing next Wednesday, if we don't have like

       18   unanimous sentiment to do that, you know, this is a 15-month-

       19   old case, I'm going to go forward with the plan that's on

       20   file.

       21       And it's been a long, expensive case.      I had great

       22   mediators try to give it their best shot to get a grand

       23   compromise.    I just, I'm not going to drag this out unless you

       24   all tell me Wednesday morning, We want you to continue this a

       25   week or two.




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        1       And let me tell you -- this may be the stars lining up, or

        2   it may not be -- I was supposed to have a seven-day trial

        3   starting the week after next, and then I was supposed to have

        4   a four- or five-day day trial starting immediately after that.

        5   And all of those lawyers came in and asked for a continuance

        6   because of COVID.    They wanted a face-to-face trial, and so

        7   I've put them off until April.

        8       So if you wanted to postpone the confirmation hearing to

        9   the following week or even the following week, I have the gift

       10   of time to give you.    But I'm not going to do it lightly.

       11   I'm, again, I'm just going to order face-to-face meetings.

       12   And I said Dondero and his counsel and the Committee and its

       13   professionals.    You know, if -- I'm not slighting the Debtor

       14   here or Mr. Seery, but I'm kind of taking a cue from what Mr.

       15   Morris, I think I heard you say, that at this point it's the

       16   Committee, it's the Committee's money, and I think that's the

       17   starting place.    And if they want to join the Debtor in at the

       18   beginning or midway through, you know, wonderful, but I think

       19   it needs --

       20             MR. POMERANTZ:      Your Honor, this is Jeff -- this is

       21   Jeff Pomerantz.     I hate to interrupt, and I never do that to a

       22   judge, but I did have something to say in my comments about a

       23   continuance that we've talked about with the Committee and

       24   some other developments in the case.

       25             THE COURT:    Oh.




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        1             MR. POMERANTZ:    I'm happy to wait.    But it has -- it

        2   has nothing to do with the comments you said, although, as I

        3   think you've heard from me before, the Debtor has been a

        4   supporter, a supporter of a pot plan.      Mr. Seery has done a

        5   tremendous amount of work working with Mr. Dondero, working

        6   with Mr. Lynn, to try to make that happen.       And if the

        7   Committee is willing to engage in a pot plan, we would

        8   definitely support that.     Because we do agree with Your Honor

        9   that, absent a pot plan, we are looking at a lot of

       10   litigation.

       11        Some of the issues you're going to have to deal with at

       12   the confirmation hearing if we do not have a peace-in-the-

       13   valley settlement is exculpations, releases, moratoriums on

       14   litigation, extensions of your January 9th order --

       15             THE COURT:    Uh-huh.

       16             MR. POMERANTZ:    -- with respect to pursuing certain

       17   people.

       18        So, we get it, and we've gotten it from the beginning.

       19   And Mr. Seery, sometimes even at a fault, has been

       20   singlehandedly focused on trying to get that done.       It's just

       21   unfortunate where we are here.

       22        But having said that, I wanted to first apprise the Court

       23   of a recent major development in the case.       I'm pleased to

       24   report that the Debtor and UBS have reached a settlement in

       25   principle which will resolve all of UBS's claims against the




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        1   estate, all of UBS's claims against Multi-Strat.       The parties

        2   are working on documentation.       The settlement is subject to

        3   internal approvals from UBS, but we've been led to believe

        4   those approvals will occur, and we would hope to file a Rule

        5   9019 motion in the near future.

        6        I'm sure Your Honor is quite pleased to hear that.          The

        7   UBS matters have taken a substantial amount of time.          And with

        8   the settlement of UBS's claims, the only material unresolved

        9   claim, unrelated to Mr. Dondero or the employees, are Mr.

       10   Daugherty.   And Mr. Seery will continue to work with Mr.

       11   Daugherty to try to settle that.

       12             THE COURT:    Okay.

       13             MR. POMERANTZ:    With respect to the scheduling, with

       14   respect to the scheduling, Your Honor, there are three

       15   significant matters on for hearing on the 13th.       The first is

       16   the Debtor's motion to approve a settlement with HarbourVest,

       17   which Mr. Dondero is contesting.       Depositions are being

       18   conducted on Monday, and we anticipate an evidentiary hearing

       19   in connection therewith.

       20        The Debtors, as Mr. Morris indicated earlier on in the

       21   hearing, have also filed a complaint and a motion for a

       22   temporary restraining order against certain of the Advisors

       23   and Funds owned and controlled by Mr. Dondero which relate to

       24   the CLO management agreements for which Your Honor has heard a

       25   lot of testimony today.    We also expect that TRO to be




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        1   contested and for the Court to have an evidentiary hearing.

        2        And as Your Honor mentioned, the confirmation of the plan

        3   was scheduled for Wednesday, and there were 15 objections.         I

        4   would point out, Your Honor, all but four of which were Mr.

        5   Dondero, his related entities that he owns or controls, and

        6   employees or former employees.

        7        The Court previously gave us time on the 13th and the

        8   14th, I think anticipating that we would have a lot and it may

        9   be necessary to go into two days.      However, Your Honor, those

       10   two days are not going to be enough to deal with all the

       11   issues that we have before Your Honor.

       12        So what we suggest, and we've spoken to the Committee and

       13   the Committee is supportive, that we continue confirmation to

       14   a day around January 27th.     This will enable the Debtor to not

       15   only -- and the Committee -- not only to take Your Honor up on

       16   what you'd like to see accomplished in the next few days.         I'm

       17   sure the Debtor is supportive and will be supportive, and we

       18   hope the Committee will engage in good-faith negotiations, and

       19   if there's a way to do a pot plan, we are all for it.         It'll

       20   give time for that to happen.

       21        But at the same time, and I think what you'll hear from

       22   Mr. Clemente, that we're willing to give a continuance, we all

       23   know that if there is not a settlement to be had, if there is

       24   not a pot plan to be had, this case has to confirm, it has to

       25   exit bankruptcy, and at least from the Debtor's perspective, a




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        1   lot of protections will have to be in place that basically

        2   this has not just been a pit stop in Bankruptcy Court and we

        3   return to the litigation ways that Highland is involved in.

        4        So, Your Honor, we believe that the two evidentiary

        5   hearings on for next week probably will fill up both days.         We

        6   would suggest that the first day be the complaint and the TRO

        7   against the Advisors and the Funds for the 13th, and the 14th

        8   be the HarbourVest.

        9        We also recognized as we were preparing for today, Your

       10   Honor, looking ahead, that we thought it was not fair for us,

       11   although we know Your Honor works tirelessly and as hard as

       12   anyone on this hearing and that Your Honor would be prepared

       13   for confirmation and would be prepared for each of those

       14   trials, given the gravity of these issues, the extensive

       15   pleadings, pleadings that you would get in confirmation on

       16   Monday from the Debtor, that it made sense to continue the

       17   hearing.

       18        So, again, fully supportive of Your Honor's mandate to try

       19   to see if we could work things out, fully supportive of a

       20   continuance until the 27th, if that date works for Your Honor,

       21   but we believe we do need to go ahead with the two matters

       22   that are on for calendar next week.

       23              MR. RUKAVINA:   Your Honor, this is Davor Rukavina.

       24   May I be heard briefly?

       25              THE COURT:   Oh my goodness.   Who do you represent,




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        1   Mr. Rukavina?

        2               MR. RUKAVINA:   And I apologize -- Your Honor, I am

        3   the new counsel who will be representing the Funds and

        4   Advisors.    I will probably be taking the laboring oar at

        5   confirmation.

        6        I apologize I'm not wearing a suit and tie.        I did not

        7   anticipate speaking right now.

        8        I support -- to the extent that that's an oral motion for

        9   continuance by Mr. Pomerantz, I certainly support that.           I

       10   would suggest that the Court give us an understanding of that

       11   today, because we do have depositions and discovery lined up

       12   which we can then push if the hearing on confirmation is

       13   pushed to the 27th.      And we have no problem going forward on

       14   the other matters on the 13th.

       15        So, I am co-counsel to K&L Gates, Your Honor, so whoever

       16   the K&L Clients are, they're now my clients as well.          I just

       17   wanted to be heard briefly that we support the recommendation

       18   by Mr. Pomerantz and just urge that the Court give us finality

       19   on that issue today so that we're not burning the midnight

       20   oil, many sets of lawyers preparing for confirmation on the

       21   13th.

       22        Thank you for hearing me, Your Honor.

       23               THE COURT:   All right.   So, just to be clear, the

       24   proposal is that we go forward next Wednesday on the newest

       25   request for a TRO with regard to -- is -- the CLO Funds and




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        1   the Advisors.   I'm forgetting the exact names.      And then that

        2   would take likely the whole day, but whether it does or does

        3   not, we would roll over to Wednesday of next week -- that'd be

        4   the 14th -- to do the HarbourVest.       It's a compromise motion,

        5   right?   Is there anything else?

        6             MR. POMERANTZ:    No, correct, it's the compromise

        7   motion, Your Honor.    There are two pending objections on this

        8   and discovery scheduled for Monday.

        9             THE COURT:   All right.    Well, as far as --

       10             MR. CLEMENTE:    Your Honor?

       11             THE COURT:   Yes, who is that?

       12             MR. CLEMENTE:    Oh, Your Honor, it's Matt Clemente at

       13   Sidley on behalf of the Committee.       I'm here, and I thought

       14   maybe I'd offer just a couple of comments at this point, but

       15   I'm happy to hold them.

       16             THE COURT:   Well, --

       17             MS. SMITH:   And Your Honor, this is Frances Smith.         I

       18   would also like to be heard before you wrap up.

       19             THE COURT:   Okay.   Well, I guess generally I want to

       20   know, does anyone have any objection -- I can't imagine they

       21   would -- but any objection to pushing confirmation out to

       22   around the 27th?    I'm going to say that because I have an

       23   issue middle of the day the 28th.     If we do it the 27th, I

       24   could only go a day and a half, okay?      I have to go out of

       25   town the evening of the 28th, and I would be out the 29th as




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        1   well.   That's Thursday and Friday.     So we'll talk about that.

        2   But anyone, Mr. Clemente or anyone else, want to say anything

        3   about continuing the confirmation?

        4             MR. CLEMENTE:    Your Honor, it's Matt Clemente at

        5   Sidley.   No, Your Honor, we're supportive of that schedule.

        6        And Your Honor, just briefly, I heard my name discussed

        7   quite a bit at this hearing as well as the Committee.         I'm not

        8   going to get into it unless Your Honor would like me to, but

        9   let me be very clear:     The committee has taken very seriously

       10   the pot plan proposals that Mr. Dondero has presented, and

       11   there's much more to the discussion other than what Mr. Lynn

       12   suggested in his remarks.

       13        So I'm not going to get into all that unless Your Honor

       14   thinks it's necessary.     I think it's of no moment here.       But I

       15   did want Your Honor to know that we have carefully considered

       16   the pot plan proposals and have communicated a variety of

       17   issues about that to Mr. Lynn and will continue to take the

       18   direction of Your Honor and engage on a pot plan, Your Honor.

       19   But I did not want there to be any suggestion that we did not

       20   take it seriously and that there was much, much more

       21   consideration and discussion about it than what was suggested.

       22             THE COURT:    Uh-huh.

       23             MR. CLEMENTE:    Thank you, Your Honor.

       24             THE COURT:    All right.

       25             MS. SMITH:    Your Honor, this is Frances Smith.




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        1               THE COURT:    Who do you represent, Ms. Smith?

        2               MS. SMITH:    Your Honor, we were recently retained by

        3   the four senior employees:       Tom Surgent, Frank Waterhouse,

        4   Scott Ellington, Isaac Leventon, along with Baker & McKenzie,

        5   and I believe we have the Baker & McKenzie lawyers Deb

        6   Dandeneau and Michelle Hartmann on the line.

        7        Your Honor, we have listened to the whole hearing.          And I

        8   was not going to make an appearance.      I was following your

        9   instructions and listening carefully.       But Your Honor, I --

       10   first of all, we hate to be before you for the first time in a

       11   discovery dispute.       We did file a very limited objection to

       12   the plan because of the disparate treatment of our clients,

       13   which we are not arguing today, of course.       We received -- it

       14   is our usual practice, Your Honor -- you've known me for a

       15   long time -- to cooperate on having witnesses appear.         We got

       16   -- we were notified very late Tuesday that the Debtor's

       17   counsel would like two of our clients to appear.       We made what

       18   we thought was a reasonable request for a copy of the

       19   transcript from the deposition.      We were invited to the

       20   deposition and then told we could not attend, or our clients

       21   could not attend.    When we offered to make it lawyers-only,

       22   they said no.    So we did not produce our clients without a

       23   subpoena.

       24        Our clients have not been evading service.      As far as we

       25   know, they were each attempted service one time, late




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        1   Wednesday, when they were -- around dinnertime.       Mr. Leventon

        2   was home all day today.    Didn't go any -- or yesterday.

        3   Didn't go anywhere.    Was not served.    Wasn't served this

        4   morning.   The same, as far as we know, with Mr. Ellenton.

        5        Your Honor, on the order that you just entered, I am a

        6   little unclear of where your findings of fact stopped.          First

        7   of all, I do not think that you can enjoin Mr. Ellenton and

        8   Mr. Leventon.    They are not parties to the adversary

        9   proceeding.

       10        You know, we did some very quick research.      There's a

       11   Seventh Circuit case, a district court may not enjoin

       12   nonparties who are not either acting in concert with an

       13   enjoined party nor in the capacity of agents, employees,

       14   officers of the enjoined party.     Mr. Ellington and Mr.

       15   Leventon are not agents, employees, officers of Mr. Dondero.

       16   So I think that, Your Honor, you cannot make that ruling.

       17        Of course, you can rule that Mr. Dondero cannot talk to

       18   Mr. Leventon and Mr. Ellington.     That might be a way to fix

       19   that one part.    But as nonparties, I don't believe that you

       20   can enjoin them.

       21        Also, Your Honor, there was just no evidence against them

       22   to support that.    Out of more than two dozen exhibits, there

       23   was one mention of Mr. Leventon, where all he did was give Mr.

       24   Dondero Matt Clemente's phone number.      And you yourself ruled,

       25   Your Honor, that Mr. Dondero could speak with the Committee,




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        1   so that wouldn't even have been a violation of your orders.

        2   There's three related to Mr. Ellington, but no evidence of

        3   confidential information.

        4        And, Your Honor, I'm very concerned about the comments

        5   that you made about Mr. Ellington and perjury.        I just want to

        6   make sure that it's clear on the record that those were not

        7   findings of fact.    That did not -- there was no evidence about

        8   that today.   And I understand Your Honor's frustration.         I was

        9   -- but I just want to be very clear on the record that those

       10   were not findings of fact that you were making during that

       11   part of your comments.    I was a little unclear about where the

       12   ruling exactly stopped when you said you wanted to add onto

       13   the order and then you were going to make a few more comments.

       14        So that's all I have, Your Honor.

       15             THE COURT:    Okay.

       16             MS. SMITH:    Thank you for listening and --

       17             THE COURT:    Thank you.    Fair comments, one and all.

       18   I'm first going to tweak.       I was concerned.   You heard me

       19   express concern about, you know, Ellington and Leventon aren't

       20   parties to this adversary.       Not here.   So here's -- Mr.

       21   Morris, I assume you're the scrivener.       Let's change what I

       22   said earlier and have the injunction read that Mr. Dondero

       23   shall not request that Mr. Ellington or Mr. Leventon share any

       24   confidential information they received as general counsel or

       25   assistant general counsel for the Debtor without Debtor's




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        1   counsel's explicit written permission, nor accept any

        2   confidential information that the two of them may have

        3   received as general counsel or assistant general counsel for

        4   the Debtor.   Okay?    So the injunction is --

        5             MR. MORRIS:    Your Honor, if I may, --

        6             THE COURT:    Who?

        7             MR. MORRIS:    Your Honor, if I may, that is not

        8   sufficient for us, because that means that they can actually

        9   share it with him as long as he doesn't request it.       I'm a

       10   little surprised --

       11             THE COURT:    No.    You didn't hear the accept -- the

       12   last part.

       13             MR. MORRIS:    Okay.

       14             THE COURT:    I added on at the end, nor shall Mr.

       15   Dondero accept any confidential information.      They -- he shall

       16   not request that they share it, nor shall he accept it.          Okay?

       17   I --

       18             MR. MORRIS:    So, but that -- my concern is that that

       19   makes Mr. Dondero the arbiter of what's confidential and

       20   what's privileged.     And I think that's improper.    I think it's

       21   really reasonable, and I'm surprised -- you know, we're all

       22   advocates here, so I take no issue with counsel, but the order

       23   was going to be pretty simple:      Don't disclose privileged or

       24   confidential information.      If they don't like that, that's

       25   fine.   Just bar Mr. Dondero from speaking to either one of




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        1   them, period, full stop.      Because we should not be in a

        2   position where he doesn't request it but somehow they send it

        3   to him.   It is confidential.

        4        I mean, who's deciding what's confidential here?          Mr.

        5   Ellington?    Mr. Leventon?      Mr. Dondero?   Just stop their

        6   communication.    Mr. Dondero is subject to the Court's order.

        7   He's the one who's subject to this motion.         Bar him from

        8   speaking to either one of them.       It's a very -- very simple

        9   solution.

       10               MR. BONDS:   Your Honor, I agree that it's a simple

       11   solution.    It's, I mean, not correct to assume that Mr.

       12   Dondero is in any way going to breach his obligations to the

       13   Court or to Mr. Ellington and Mr. Leventon.        I don't see where

       14   -- what we're talking about.

       15               MS. SMITH:   Also, Your Honor, I have to object to him

       16   disparaging my clients that way.       There's been no evidence

       17   that they improperly shared any information.        They are

       18   licensed lawyers and they know the Rules of Professional --

       19   they know the rules of professionalism, so --

       20               THE COURT:   Okay.    I, you know, I didn't make a

       21   finding earlier when I held out my two giant takeaways, to get

       22   to your later question, no findings.       But I really hope you

       23   share with them everything I said, the concerns I expressed.

       24   Maybe get the transcript.

       25               MS. SMITH:   Absolutely, Your Honor.




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        1               THE COURT:   Because I have huge concerns about

        2   conflicts of interest here.      Okay?   Huge, huge concerns.     I

        3   had them back when we had the discovery fight, Committee

        4   wanting documents, and, you know, and I still have them.          You

        5   know, did Ellington know about the TRO?

        6               MS. SMITH:   Understood, Your Honor.

        7               THE COURT:   Okay.   So let me backtrack.   We already

        8   had a TRO that prevented Mr. Dondero from talking to any

        9   employees of the Debtor unless it was about shared services

       10   agreement.

       11          So, Mr. Bonds, I'm going to flip it back to you on this

       12   one.    Why shouldn't I at this point just say, okay, guess

       13   what, no talking to Mr. Leventon or Ellington for the time

       14   being?    Why --

       15               MR. BONDS:   First of all, --

       16               MS. SMITH:   Your Honor, that's acceptable to us.

       17               THE COURT:   Okay.   What's wrong with that, Mr. Bonds?

       18               MR. BONDS:   Your Honor, we don't believe that Mr.

       19   Dondero has violated the TRO.

       20          And secondly and more importantly, we don't believe that

       21   there's any way that you can enter an order that singles out

       22   two former employees.     I mean, that's bizarre.

       23               THE COURT:   If I'm concerned that it's thwarting the

       24   reorganization efforts and there are conflicts of interest

       25   here, why can't I?




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        1        You know, this is -- I hate to say it, but I feel like

        2   I've been in the role of a divorce judge today.       We have very

        3   much a corporate divorce that has been in the works, unless we

        4   get this pot plan on track, okay, and I'm a judge having to

        5   enter interim orders keeping one spouse away from the other,

        6   keeping one spouse out of the house, keeping one spouse away

        7   from the kids.    It's not pleasant at all.    But I don't -- the

        8   more I think about it, the more I have authority to do it just

        9   to protect, to protect the nest egg here.

       10             MS. SMITH:    Your Honor, we are perfectly fine with

       11   you enjoining Mr. Dondero from speaking to our clients, and we

       12   will convey that to our clients.

       13             THE COURT:    Okay.   Mr. Bonds, I can't hear you.

       14             MR. BONDS:    I'm sorry, Your Honor.    What evidence is

       15   there of irreparable harm as to Mr. Dondero talking with

       16   either Mr. Leventon or Mr. Ellington?

       17             THE COURT:    Okay.   Do I need to parse through the

       18   communications I saw?    Do I need to parse-

       19             MR. BONDS:    Yeah, I think so.    I mean, I don't

       20   understand.

       21             THE COURT:    Okay.   I never authorized Mr. Ellington

       22   to be the settlement lawyer or whatever, okay?       I never would

       23   have, okay?   And maybe Mr. Seery, you know, said something to

       24   -- early on in the case to make him think he had that

       25   authority, but no, we're done.      Okay?   And I feel like it's




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        1   causing more harm than good right now.        Okay?

        2          I don't know who instructed all of these Dondero-

        3   controlled entities to hire lawyers.        I don't know if

        4   Ellington and Leventon have been giving instructions to these

        5   entities.    But we've got conflicts everywhere now.        Okay?

        6   We've got -- and by the way, I'm just going to list them now.

        7   We have, of course, Bonds Ellis representing Dondero.         We have

        8   Doug Draper, Heller Draper, now representing these trusts, Get

        9   Good Trust, Dugaboy Investment Trust.        We have K&L Gates and

       10   now Munsch Hardt also representing the Advisors, NexPoint and

       11   the various CLO or other Funds.        We have CLO Holdco

       12   represented by Kane Russell Coleman Logan.          We have NexPoint

       13   Real Estate represented by Wick Phillips.        Who have I left --

       14   and, of course, the employees, Baker & McKenzie and Ms. Smith.

       15   We have Spencer Fane in there for other current or former

       16   employees.    We have Loewinsohn Flegle in there for certain

       17   former or current employees.

       18          I mean, the proliferation of lawyers.      And again, I don't

       19   know if Mr. Ellington and Mr. Leventon have had a role in

       20   hiring counsel, wearing their hat for these other entities or

       21   not.    Can anyone tell me?      Maybe I'm worried about something I

       22   shouldn't be worried about.

       23               MR. DONDERO:   You're worried about something you

       24   shouldn't worry about, Your Honor.

       25               THE COURT:   Okay.    So Ellington --




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        1             MR. MORRIS:    Your Honor, I would just point to the

        2   evidence that's in the record, Your Honor.        You have Mr.

        3   Dondero asking Mr. Ellington to show leadership in

        4   coordinating all of the lawyers you just mentioned.        It's in

        5   the record.

        6             THE COURT:    Yes.   I'm just going to, until otherwise

        7   ordered, no conversations between Dondero and Ellington and

        8   Leventon, and that's just going to be my ruling until further

        9   order.   That's what I feel best about.

       10        Now, let me ask you, knowing that I could only give you a

       11   half a day on the 28th of January, if we start the

       12   confirmation hearing on whatever the plan looks like on

       13   January 27th, I mean, do people want to go with that, --

       14             MR. POMERANTZ:    Your --

       15             THE COURT:    -- even knowing we might not finish that

       16   day, or no?

       17             MR. POMERANTZ:    Your Honor, this is Jeff Pomerantz.

       18   Maybe if we could start on the 26th, have the 26th, 27th, and

       19   then maybe half of the 28th.     I would think two and a half

       20   days should be enough, notwithstanding the volume of

       21   objections, because I think you'll find that, while there may

       22   be some evidence, I think the majority of the objections are

       23   really legal in nature.

       24             THE COURT:    All right.    Traci, are you out there in

       25   video-land?




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        1               THE CLERK:   Yes, I'm here.

        2               THE COURT:   Okay.   Have I overcommitted the 26th?       If

        3   we start the 26th at 9:30 in the morning, can we do that?            Or

        4   --

        5               MR. BONDS:   Your Honor?

        6               THE CLERK:   That'd be fine.

        7               THE COURT:   Okay.

        8               THE CLERK:   Just remember that you have an

        9   appointment at lunchtime that day at noon on the 26th.

       10               THE COURT:   Okay.   I --

       11               THE CLERK:   You don't have any court hearings.

       12               THE COURT:   Okay.

       13               MR. BONDS:   Your Honor, I'm sorry.

       14               THE COURT:   Go ahead.

       15               MR. BONDS:   Your Honor, I'm sorry.      This is John

       16   Bonds.   I have a hearing on the 26th that I can't miss.

       17               THE COURT:   Well, can someone else --

       18               MR. POMERANTZ:   Your Honor, we would request, right,

       19   that Mr. Lynn lead the confirmation hearing.          There's a lot of

       20   lawyers.    If we try to look at everyone's calendar, we're

       21   never going to be able --

       22               THE COURT:   Yes.

       23               MR. POMERANTZ:   -- to get something that's good for

       24   everyone.

       25               THE COURT:   Okay.   Yes.    Well, Mr. Lynn or Mr. Assink




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        1   can handle it, Mr. Bonds.

        2        So we're going to start the 26th at 9:30.      We'll go all

        3   day, except I have something at lunchtime, apparently.          And

        4   then we'll go all day on the 27th, and then I can give you

        5   half a day on the 28th.

        6        So you'll upload immediately a notice to that effect, Mr.

        7   Pomerantz.

        8              MR. POMERANTZ:   Yes, we would.

        9        Your Honor, in terms of our documents in support of

       10   confirmation, we want to make it convenient with the Court.

       11   We know your Court would at least need one business day, so we

       12   would prefer to file, say, by 2:00 Central on the 24th, on a

       13   Sunday.    Everyone will have it, and have one business day.          I

       14   mean, the old order only had one business day in advance as

       15   well.   So that's what we would propose for our confirmation

       16   documents to be filed.

       17              MR. RUKAVINA:    Your Honor, this is Davor Rukavina.

       18   An important issue here is how the creditors have voted, and I

       19   have no idea how they have voted.      The voting deadline has

       20   expired.   So I have no problem with what Mr. Pomerantz

       21   suggests, but I do think that the Debtor should file its

       22   tabulation of votes sooner rather than later so we all know

       23   one of the central elements for the hearing that we'll have.

       24              THE COURT:   Okay.

       25              MR. POMERANTZ:   That's fair, Your Honor.     We're




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        1   prepared to file the summary of voting and tabulation by the

        2   15th of January.

        3               THE COURT:   Okay.   Very good.

        4       So, backing up, Mr. Pomerantz, you asked that I approve

        5   you filing any plan modifications by noon on Sunday, the 24th?

        6   Is that what you said?

        7               MR. POMERANTZ:   Yeah.    So, there's a couple of

        8   things.   There's our confirmation brief.

        9               THE COURT:   Uh-huh.

       10               MR. POMERANTZ:    There is our -- any evidence we would

       11   submit, although I suspect we are likely to provide live

       12   testimony, as opposed to a declaration.        There was our summary

       13   of ballots, which we will now do on the 15th.        And to the

       14   extent we have any modifications, we would provide them on

       15   Sunday by 12:00 noon Central time as well.         Yes.

       16               THE COURT:   All right.

       17               MR. RUKAVINA:    Well, Your Honor, this is Davor

       18   Rukavina.    Does that mean the witness and exhibit lists also

       19   will not be due until Sunday at noon?         Because I would request

       20   that we have the normal period of time to exchange exhibits

       21   and witnesses.

       22               MR. BONDS:   Your Honor, I think that the normal time

       23   period is also important in this case.

       24               THE COURT:   Okay.   I'm going to --

       25               MR. POMERANTZ:   Your Honor, we could -- if everyone




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        1   agrees on witness lists, we could do those by 5:00 p.m.

        2   Central on the 22nd.

        3             THE COURT:   Okay.   Let's do that.    Okay.

        4             MR. POMERANTZ:    But that -- but that needs to be for

        5   everybody.

        6             THE COURT:   Oh, it will be for everyone.

        7             MR. RUKAVINA:    Your Honor, no problem.

        8             THE COURT:   Okay.   Let's --

        9             MR. POMERANTZ:    5:00 p.m. Central Standard Time.

       10             THE COURT:   No more discussions.     That'll be the

       11   ruling, okay?    Everything is going to be due by 5:00 p.m.

       12   Central time on Friday, the 22nd.      All right.

       13             MR. POMERANTZ:    Your Honor, is that our brief as

       14   well, or --

       15             THE COURT:   Yes.

       16             MR. POMERANTZ:    -- was that just the witness list?

       17             THE COURT:   Everything.     Brief, witness list, and --

       18             MR. POMERANTZ:    Okay.

       19             THE COURT:   -- plan mods.

       20       Let me look through my notes and see if there's anything

       21   else I want to say.    You know, let me do some quick math here.

       22   I know there was one other thing I wanted to say that involves

       23   math.   Okay.   I think my math is right here.      Okay.   You know,

       24   I mentioned the proliferation of lawyers.       And let me just say

       25   this.   We had -- we've had about 90 people on the -- showing




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        1   up on the video screen today -- 89, 90, 91, 92.       A few, a

        2   little over 90.    Okay?   So let's say 90.     It's been up to 95

        3   earlier.   But let's pretend that 60 of those are lawyers

        4   billing by the hour.    That's very conservative.     Probably many

        5   more than 60.   And let's assume conservatively that the

        6   average billing rate is $700 an hour.      That's probably very

        7   low, right?    We probably don't have many baby lawyers on the

        8   phone.    So that's a very low average.    So, 60 lawyers times

        9   $700 an hour, $42,000 an hour this hearing has cost.          And then

       10   we've been going over seven hours.      So let's say seven,

       11   conservatively, times $42,000.      This hearing has cost $294,000

       12   today.    A preliminary injunction hearing.     I mean, no one

       13   thinks that's chump change.    I don't know, maybe some people

       14   do.   This just seems like a ridiculous way to spend resources.

       15   No offense to all the wonderful lawyers, but this is just --

       16   it's crazy-town, right?     It is crazy-town.    So I implore you,

       17   okay, how about I use that word, I implore you to have these

       18   good-faith discussions on a pot plan.

       19         Please, Mr. Dondero, I mean, don't waste people's time.

       20   $160 million, I know that's not going to cut it.       Okay?     So

       21   it's going to have to be more meaningful.       I just know that in

       22   my gut.

       23         But having said that, I mean, I honestly mean I think a

       24   pot plan -- I think you getting your baby back is the best

       25   thing for everyone.    Okay?   I think it's the best thing for




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        1   everyone.    So I want you all to --

        2               MR. DONDERO:   Judge, I -- Judge, I just need to

        3   interject for a second, because no one follows the big

        4   picture.    We filed for bankruptcy with $450 million of assets.

        5   $360 million of third-party net assets, $90 million of

        6   affiliated notes.    The third-party assets are down to $130

        7   million and falling fast.

        8               MR. POMERANTZ:    Your Honor, I hate to interrupt Mr.

        9   Dondero, but that is not the purpose of this hearing.

       10               THE COURT:   Well, --

       11               MR. POMERANTZ:    Mr. Dondero's statement of the assets

       12   and value is just not something that the Debtors would agree

       13   and support.    I'm sure it's not something the creditors -- I

       14   think we understand what Your Honor is saying.        I think the

       15   Committee understands.       And Your Honor knows that the Debtor

       16   and the Committee are close to the asset values.        And Mr.

       17   Dondero should be making his argument to the Debtor and the

       18   Committee, not Your Honor, in this open forum.

       19               THE COURT:   Okay.

       20               MR. POMERANTZ:    It's just not appropriate.

       21               THE COURT:   And I understand where you're both coming

       22   from.   And he's saying that because I made the comment I made

       23   about $160 million not being enough.

       24       I've seen the evidence.       I've heard the evidence at prior

       25   hearings, Mr. Dondero.       We've had a lot of hearings.     And I




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        1   remember writing that down.     Wow, why did that happen?       Seeing

        2   the dissipation of value.     I couldn't remember the exact

        3   numbers, but I thought it was like $500 million something and

        4   then $300 million or whatever.      And I remember Multi-Strat,

        5   that being sold, and blah, blah, blah, blah.

        6        But having said that, there are a lot of causes of action

        7   that have been hinted at by the Creditors' Committee and

        8   others.    So, causes of action is one of the things they are

        9   looking at when they start thinking about what's appropriate

       10   value.

       11        So I just, I get where everyone is coming from.          I get

       12   where everyone is coming from.      But, again, let's take one

       13   more stab at this, please.     Okay?

       14              MR. POMERANTZ:   Yeah.   And Your Honor, my last

       15   comment.   We're commercial people.     The creditors are

       16   commercial people.    I think we've done a tremendous job in

       17   being able to resolve most every one of the significant

       18   claims.    I think the Court should trust the process.        Mr.

       19   Dondero should trust the process.

       20        And again, if there's a commercial deal to be worked out,

       21   I don't think there's anyone more than of course the Debtor

       22   and the people on the Committee, who have been litigating in

       23   many cases with Mr. Dondero and Highland for ten years, I

       24   don't think it's anyone's desire.      So if there's a reasonable,

       25   rational proposal that the creditors can get behind and want




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       1   to engage, then there'll be a discussion.        If they don't

       2   believe it's a reasonable, rational proposal, they won't.

       3              THE COURT:    Yes.    All right.   Well, I do feel very

       4   good about what I've heard about the UBS issues being worked

       5   out.   I mean, we have come a long way in 15 months, even

       6   though it's frustrating to me and others.        But, again, I know

       7   you all are going to do what you need to do.        And I'll look

       8   for the form of order.      I'm going to see you all, Mr. Dondero,

       9   including you, next Wednesday.       And if there's nothing else,

      10   we stand adjourned.

      11              MS. SMITH:    Your Honor, I'd like to review the form

      12   of order as it regards my clients before it's submitted.

      13              THE COURT:    Okay.

      14              MS. SMITH:    If I could have a courtesy copy, please.

      15              THE COURT:    Yes.    Well, yes.   I'm not going to

      16   require 90 lawyers to get the order, but I will ask Mr.

      17   Pomerantz, Mr. Morris, make sure Ms. Smith gets it and

      18   obviously Mr. Dondero's counsel gets it.        And I probably won't

      19   get it until Monday, it sounds like, but --

      20              MR. POMERANTZ:    That's likely.

      21              THE COURT:    But I'll be on the lookout for it.       Okay.

      22   Thank you.   We stand adjourned.

      23              MS. SMITH:    Thank you, Your Honor.

      24              THE CLERK:    All rise.

      25              MR. MORRIS:    Thank you, Your Honor.




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        1             MR. BONDS:    Thank you, Your Honor.

        2        (Proceedings concluded at 4:09 p.m.)

        3                                  --oOo--

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       18                               CERTIFICATE

       19        I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
       20   above-entitled matter.
       21     /s/ Kathy Rehling                                   01/11/2021

       22   ______________________________________            ________________
            Kathy Rehling, CETD-444                               Date
       23   Certified Electronic Court Transcriber
       24

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                          IN THE UNITED STATES BANKRUPTCY COURT
        1                   FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
        2
                                           )    Case No. 19-34054-sgj-11
        3   In Re:                         )    Chapter 11
                                           )
        4   HIGHLAND CAPITAL               )    Dallas, Texas
            MANAGEMENT, L.P.,              )    Monday, February 8, 2021
        5                                  )    9:00 a.m. Docket
                      Debtor.              )
        6                                  )    BENCH RULING ON CONFIRMATION
                                           )    HEARING [1808] AND AGREED
        7                                  )    MOTION TO ASSUME [1624]
                                           )
        8
                                TRANSCRIPT OF PROCEEDINGS
        9              BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                             UNITED STATES BANKRUPTCY JUDGE.
       10
            WEBEX APPEARANCES:
       11
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       25                                  (504) 299-3300




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         Recorded by:                   Michael F. Edmond, Sr.
     9                                  UNITED STATES BANKRUPTCY COURT
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    25             transcript produced by transcription service.




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       1              DALLAS, TEXAS - FEBRUARY 8, 2021 - 9:08 A.M.

       2              THE COURT:     Please be seated.

       3        (Beeping.)

       4              THE COURT:    Someone needs to turn off their whatever.

       5        All right.   Good morning.     This is Judge Jernigan, and we

       6   have scheduled today a bench ruling regarding the Debtor's

       7   plan that we had a confirmation trial on last week.       This is

       8   Highland Capital Management, LP, Case No. 19-34054.

       9        Let me first make sure we've got Debtor's counsel on the

      10   line.    Do we have --

      11              MR. POMERANTZ:    Yes.

      12              THE COURT:    -- Mr. Pomerantz?

      13              MR. POMERANTZ:    Yes, Your Honor.    Good morning, Your

      14   Honor.    Jeff Pomerantz; Pachulski Stang Ziehl & Jones; on

      15   behalf of the Debtor.

      16              THE COURT:    Okay.   Good morning.   Do we have the

      17   Creditors' Committee on the phone?

      18              MR. CLEMENTE:    Good morning, Your Honor.    Matthew

      19   Clemente of Sidley Austin on behalf of the Creditors'

      20   Committee.

      21              THE COURT:    Good morning.   All right.   We had various

      22   Objectors.   Do we have Mr. Dondero's counsel on the phone?

      23              MR. LYNN:     Yes, Your Honor.   Michael Lynn, together

      24   with John Bonds and Bryan Assink, for Jim Dondero.

      25              THE COURT:    Good morning.   For the Trusts, the




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        1   Dugaboy and Get Good Trusts, do we have Mr. Draper?

        2              MR. DRAPER:    Yes.   Douglas Draper is on the line,

        3   Your Honor.

        4              THE COURT:    Good morning.   Now, for what I'll call

        5   the Funds and Advisor Objectors, do we have Mr. Rukavina and

        6   your crew on the line?

        7              MR. RUKAVINA:    Davor Rukavina.    And Lee Hogewood is

        8   also on the line.

        9              THE COURT:    All right.   Good morning to you.    All

       10   right.    And we had objections pending from the U.S. Trustee as

       11   well.    Do we have the U.S. Trustee on the line?

       12        (No response.)

       13              THE COURT:    All right.   If you're appearing, you're

       14   on mute.    We're not hearing you.

       15        All right.   Well, we have lots of other folks.       I don't

       16   mean to be neglectful of them, but we're going to get on with

       17   the ruling this morning.     This is going to take a while.       This

       18   is a complex matter, so it should take a while.

       19        All right.   Before the Court, of course, for consideration

       20   is the Debtor's Fifth Amended Plan, first filed on November

       21   24, 2020, as later modified on or around January 22, 2021,

       22   with more amendments filed on or around February 1, 2021.             The

       23   Court will hereinafter refer to this as the "Plan."

       24        The parties refer to the Plan as a monetization plan

       25   because it involves the gradual wind-down of the Debtor's




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        1   assets and certain of its funds over time, with the

        2   Reorganized Debtor continuing to manage certain other funds

        3   for a while, under strict governance and monitoring, and a

        4   Claimants Trust will receive the proceeds of that process,

        5   with the creditors receiving an interest in that trust.         There

        6   is also anticipated to be Litigation Sub-Trust established for

        7   the purpose of pursuing certain avoidance or other causes of

        8   action for the benefit of creditors.

        9          The recovery for general unsecured creditors is estimated

       10   now at 71 percent.

       11          The Plan was accepted by 99.8 percent of the dollar amount

       12   of voting creditors in Class 8, the general unsecured class,

       13   but as to numerosity, a majority of the class of general

       14   unsecured creditors did not vote in favor of the plan.

       15   Specifically, 27 claimants voted no and 17 claimants voted

       16   yes.    All but one of the rejecting ballots were cast by

       17   employees who, according to the Debtor, are unlikely to have

       18   allowed claims because they are asserted for bonuses or other

       19   compensation that will not become due.

       20          Meanwhile, in a convenience class, Class 7, of general

       21   unsecured claims under one million dollars, one hundred

       22   percent of the 16 claimants who chose to vote in that class

       23   chose to accept the Plan.

       24          Because of the rejecting votes in Class 8, and because of

       25   certain objections to the Plan, the Court heard two full days




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       1   of evidence, considering testimony from five witnesses and

       2   thousands of pages of documentary evidence, in considering

       3   whether to confirm the Plan pursuant to Sections 1129(a) and

       4   (b) of the Bankruptcy Code.

       5        The Court finds and concludes that the Plan meets all of

       6   the relevant requirements of Sections 1123, 1124, and 1129 of

       7   the Code, and other applicable provisions of the Bankruptcy

       8   Code, but is issuing this detailed ruling to address certain

       9   pending objections to the Plan, including but not limited to

      10   objections regarding certain Exculpations, Releases, Plan

      11   Injunctions, and Gatekeeping Provisions of the Plan.

      12        The Court reserves the right to amend or supplement this

      13   oral ruling in more detailed findings of fact, conclusions of

      14   law, and an Order.

      15        First, by way of introduction, this case is not your

      16   garden-variety Chapter 11 case.      Highland Capital Management,

      17   LP is a multibillion dollar global investment advisor,

      18   registered with the SEC pursuant to the Investment Advisers

      19   Act of 1940.   It was founded in 1993 by James Dondero and Mark

      20   Okada.   Mr. Okada resigned from his role with Highland prior

      21   to the bankruptcy case being filed.      Mr. Dondero was in

      22   control of the Debtor as of the day it filed bankruptcy, but

      23   agreed to relinquish control of it on or about January 9,

      24   2020, pursuant to an agreement reached with the Official

      25   Unsecured Creditors' Committee, which will be described later.




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       1        Although Mr. Dondero remained on as an unpaid employee and

       2   portfolio manager with the Debtor after January 9, 2020, his

       3   employment with the Debtor terminated on October 9, 2020.           Mr.

       4   Dondero continues to work for and essentially control numerous

       5   nondebtor companies in the Highland complex of companies.

       6        The Debtor is headquartered in Dallas, Texas.       As of the

       7   October 2019 petition date, the Debtor employed approximately

       8   76 employees.

       9        Pursuant to various contractual arrangements, the Debtor

      10   provides money management and advisory services for billions

      11   of dollars of assets, including CLOs and other investments.

      12   Some of these assets are managed pursuant to shared services

      13   agreements with a variety of affiliated entities, including

      14   other affiliated registered investment advisors.       In fact,

      15   there are approximately 2,000 entities in the Byzantine

      16   complex of companies under the Highland umbrella.

      17        None of these affiliates of Highland filed for Chapter 11

      18   protection.   Most, but not all, of these entities are not

      19   subsidiaries, direct or indirect, of Highland.       And certain

      20   parties in the case preferred not to use the term "affiliates"

      21   when referring to them.    Thus, the Court will frequently refer

      22   loosely to the so-called, in air quotes, "Highland complex of

      23   companies" when referring to the Highland enterprise.         That's

      24   a term many of the lawyers in the case use.

      25        Many of the companies are offshore entities, organized in




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       1   such faraway jurisdictions as the Cayman Islands and Guernsey.

       2          The Debtor is privately owned 99.5 percent by an entity

       3   called Hunter Mountain Investment Trust; 0.1866 percent by the

       4   Dugaboy Investment Trust, a trust created to manage the assets

       5   of Mr. Dondero and his family; 0.0627 percent by Mark Okada,

       6   personally and through family trusts; and 0.25 percent by

       7   Strand Advisors, Inc., the general partner.

       8          The Debtor's primary means of generating revenue has

       9   historically been from fees collected for the management and

     10    advisory services provided to funds that it manages, plus fees

     11    generated for services provided to its affiliates.

     12           For additional liquidity, the Debtor, prior to the

     13    petition date, would sell liquid securities in the ordinary

     14    course, primarily through a brokerage account at Jefferies,

     15    LLC.    The Debtor would also, from time to time, sell assets at

     16    nondebtor subsidiaries and distribute those proceeds to the

     17    Debtor in the ordinary course of business.

     18           The Debtor's current CEO, James Seery, credibly testified

     19    that the Debtor was "run at a deficient for a long time and

     20    then would sell assets or defer employee compensation to cover

     21    its deficits."    This Court cannot help but wonder if that was

     22    necessitated because of enormous litigation fees and expenses

     23    that Highland was constantly incurring due to its culture of

     24    litigation, as further addressed hereafter.

     25           Highland and this case are not garden-variety for so many




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       1   reasons.    One is the creditor constituency.     Highland did not

       2   file bankruptcy because of some of the typical reasons a large

       3   company files Chapter 11.     For example, it did not have a

       4   large asset-based secured lender with whom it was in default.

       5   It only had relatively insignificant secured indebtedness

       6   owing to Jefferies, with whom it had a brokerage account, and

       7   one other entity called Frontier State Bank.

       8        Highland did not have problems with trade vendors or

       9   landlords.    It did not suffer any type of catastrophic

      10   business calamity.     In fact, it filed Chapter 11 six months

      11   before the COVID-19 pandemic was declared.       The Debtor filed

      12   Chapter 11 due to a myriad of massive unrelated business

      13   litigation claims that it was facing, many of which had

      14   finally become liquidated or were about to become liquidated

      15   after a decade or more of contentious litigation in multiple

      16   fora all over the world.

      17        The Unsecured Creditors' Committee in this case has

      18   referred to the Debtor under its former chief executive, Mr.

      19   Dondero, as a serial litigator.      This Court agrees with that

      20   description.    By way of example, the members of the Creditors'

      21   Committee and their history of litigation with the Debtor and

      22   others in the Highland complex are as follows:

      23        First, the Redeemer Committee of the Highland Crusader

      24   Fund, which I'll call the Redeemer Committee.       This Creditors'

      25   Committee member obtained an arbitration award against the




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       1   Debtor of more than $190 million, inclusive of interest,

       2   approximately five months before the petition date from a

       3   panel of the American Arbitration Association.       It was on the

       4   verge of having that award confirmed by the Delaware Chancery

       5   Court immediately prior to the petition date, after years of

       6   disputes that started in late 2008 and included legal

       7   proceedings in Bermuda.     This creditor's claim was settled

       8   during the bankruptcy case in the amount of approximately

       9   $137.7 million.    The Court is omitting various details and

      10   aspects of that settlement.

      11        The second Creditors' Committee member, Acis Capital

      12   Management, LP, which was formerly in the Highland complex of

      13   companies but was not affiliated with Highland as of the

      14   petition date.    This UCC member and its now-owner, Josh Terry,

      15   were involved in litigation with Highland dating back to 2016.

      16   Acis was forced into an involuntary bankruptcy in the

      17   Bankruptcy Court for the Northern District of Texas, Dallas

      18   Division, by Josh Terry, who was a former Highland portfolio

      19   manager, in 2018 after Josh Terry obtained an approximately $8

      20   million arbitration award and judgment against Acis that was

      21   issued by a state court in Dallas County, Texas.       Josh Terry

      22   was ultimately awarded the equity ownership of Acis by the

      23   Dallas Bankruptcy Court in the Acis bankruptcy case.

      24        Acis subsequently asserted a multimillion dollar claim

      25   against Highland in the Dallas Bankruptcy Court for Highland's




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       1   alleged denuding of Acis in fraud of its creditors, primarily

       2   Josh Terry.

       3        The litigation involving Acis and Mr. Terry dates back to

       4   mid-2016, and has continued on, with numerous appeals of

       5   bankruptcy court orders, including one appeal still pending at

       6   the United States Court of Appeals for the Fifth Circuit.

       7        There was also litigation involving Josh Terry and Acis in

       8   the Royal Court of the Island of Guernsey and in a court in

       9   New York.

      10        The Acis claim was settled during this bankruptcy case in

      11   court-ordered mediation for approximately $23 million.         Other

      12   aspects and details of this settlement are being omitted.

      13        Now, the third Creditors' Committee member, UBS

      14   Securities.    It's a creditor who filed a proof of claim in the

      15   amount of $1,039,000,000 in the Highland case.       Yes, over one

      16   billion dollars.    The UBS claim was based on the amount of a

      17   judgment that UBS received from a New York state court in 2020

      18   after a multi-week bench trial which had occurred many months

      19   earlier on a breach of contract claim against other entities

      20   in the Highland complex.     UBS alleged that the Debtor should

      21   be liable for the judgment.     The UBS litigation related to

      22   activities that occurred in 2008.      The litigation involving

      23   UBS and Highland and its affiliates was pending for more than

      24   a decade, there having been numerous interlocutory appeals

      25   during its history.




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       1        The Debtor and UBS recently announced a settlement of the

       2   UBS claim, which came a few months after court-ordered

       3   mediation.    The settlement is in the amount of $50 million as

       4   a general unsecured claim, $25 million as a subordinated

       5   claim, and $18 million of cash coming from a nondebtor entity

       6   in the Highland complex known as Multistrat.       Other aspects of

       7   this settlement are being omitted.

       8        The fourth and last Creditors' Committee member is Meta-e

       9   Discovery.    It is a vendor who happened to supply litigation

      10   and discovery-related services to the Debtor over the years.

      11   It had unpaid invoices on the petition date of more than

      12   $779,000.

      13        It is fair to say that the members of the Creditors'

      14   Committee in this case all have wills of steel.       They fought

      15   hard before and during the bankruptcy case.       The members of

      16   the Creditors' Committee are highly sophisticated and have had

      17   highly sophisticated professionals representing them.         They

      18   have represented their constituency in this case as

      19   fiduciaries extremely well.

      20        In addition to these Creditors Committee members, who were

      21   all embroiled in years of litigation with Highland and its

      22   affiliates in various ways, the Debtor has been in litigation

      23   with Patrick Daugherty, a former limited partner and employee

      24   of Highland, for many years in both Delaware and Texas state

      25   courts.   Patrick Daugherty filed a proof of claim for "at




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       1   least $37.4 million" relating to alleged breached employment-

       2   related agreements and for the tort of defamation arising from

       3   a 2017 press release posted by the Debtor.

       4        The Debtor and Patrick Daugherty recently announced a

       5   settlement of the Patrick Daugherty claim in the amount of

       6   $750,000 cash on the effective date, an $8.25 million general

       7   unsecured claim, and a $2.75 million subordinated claim.

       8   Other aspects and details of this settlement are being

       9   omitted.

      10        Additionally, an entity known as HarbourVest, who invested

      11   more than $70 million with an entity in the Highland complex,

      12   asserted a $300 million proof of claim against Highland,

      13   alleging, among other things, fraud and RICO violations.         The

      14   HarbourVest claim was settled during the bankruptcy case for a

      15   $45 million general unsecured claim and a $35 million junior

      16   claim.

      17        Other than these claims just described, most of the other

      18   claims in this case are claims asserted against the Debtor by

      19   other entities in the Highland complex, most of which entities

      20   the Court finds to be controlled by Mr. Dondero; claims of

      21   employees who believe that they are entitled to large bonuses

      22   or other types of deferred compensation; and claims of

      23   numerous law firms that did work for Highland and were unpaid

      24   for amounts due to them on the petition date.

      25        Yet another reason this is not your garden-variety Chapter




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       1   11 case is its postpetition corporate governance structure.

       2   Highland filed bankruptcy October 16, 2019.       Contentiousness

       3   with the Creditors' Committee began immediately, with first

       4   the Committee's request for a change of venue from Delaware to

       5   Dallas, and then a desire by the Committee and the U.S.

       6   Trustee for a Chapter 11 or 7 trustee to be appointed due to

       7   concerns over and distrust of Mr. Dondero and his numerous

       8   conflicts of interest and alleged mismanagement or worse.

       9        After many weeks of the threat of a trustee lingering, the

      10   Debtor and the Creditors' Committee negotiated and the Court

      11   approved a corporate governance settlement on January 9, 2020

      12   that resulted in Mr. Dondero no longer being an officer or

      13   director of the Debtor or of its general partner, Strand.

      14        As part of the court-approved settlement, three eminently-

      15   qualified Independent Directors were chosen by the Creditors'

      16   Committee and engaged to lead Highland through its Chapter 11

      17   case.   They were James Seery, John Dubel, and Retired

      18   Bankruptcy Judge Russell Nelms.     They were technically the

      19   Independent Directors of Strand, the general partner of the

      20   Debtor.   Mr. Dondero had previously been the sole director of

      21   Strand, and thus the sole person in ultimate control of the

      22   Debtor.

      23        The three independent board members' resumes are in

      24   evidence.   James Seery eventually was named CEO of the Debtor.

      25   Suffice it to say that this changed the entire trajectory of




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       1   the case.    This saved the Debtor from a trustee.      The Court

       2   trusted the new directors.     The Creditors' Committee trusted

       3   them.   They were the right solution at the right time.

       4        Because of the unique character of the Debtor's business,

       5   the Court believed this solution was far better than a

       6   conventional Chapter 7 or 11 trustee.      Mr. Seery, in

       7   particular, knew and had vast experience at prominent firms

       8   with high-yield and distressed investing similar to the

       9   Debtor's business.     Mr. Dubel had 40 years of experience

      10   restructuring large, complex businesses and serving on their

      11   boards of directors in this context.      And Retired Judge Nelms

      12   had not only vast bankruptcy experience but seemed

      13   particularly well-suited to help the Debtor maneuver through

      14   conflicts and ethical quandaries.

      15        By way of comparison, in the Chapter 11 case of Acis, the

      16   former affiliate of Highland that this Court presided over two

      17   or three years ago, which company was much smaller in size and

      18   scope than Highland, managing only five or six CLOs, a Chapter

      19   11 trustee was elected by the creditors that was not on the

      20   normal rotation panel for trustees in this district, but

      21   rather was a nationally-known bankruptcy attorney with more

      22   than 45 years of large Chapter 11 case experience.        This

      23   Chapter 11 trustee performed valiantly, but was sued by

      24   entities in the Highland complex shortly after he was

      25   appointed, which this Court had to address.       The Acis trustee




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       1   could not get Highland and its affiliates to agree to any

       2   actions taken in the case, and he finally obtained

       3   confirmation of a plan over Highland and its affiliates'

       4   objections in his fourth attempted plan, which confirmation

       5   then was promptly appealed by Highland and its affiliates.

       6        Suffice it to say it was not easy to get such highly-

       7   qualified persons to serve as independent board members and

       8   CEO of this Debtor.     They were stepping into a morass of

       9   problems.   Naturally, they were worried about getting sued, no

      10   matter how defensible their efforts might be, given the

      11   litigation culture that enveloped Highland historically.         It

      12   seemed as though everything always ended in litigation at

      13   Highland.

      14        The Court heard credible testimony that none of them would

      15   have taken on the role of Independent Director without a good

      16   D&O insurance policy protecting them, without indemnification

      17   from Strand, guaranteed by the Debtor; without exculpation for

      18   mere negligence claims; and without a gatekeeper provision,

      19   such that the Independent Directors could not be sued without

      20   the bankruptcy court, as a gatekeeper, giving a potential

      21   plaintiff permission to sue.

      22        With regard to the gatekeeper provision, this was

      23   precisely analogous to what bankruptcy trustees have pursuant

      24   to the so-called "Barton Doctrine," which was first

      25   articulated in an old U.S. Supreme Court case.




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       1         The Bankruptcy Court approved all of these protections in

       2   a January 9, 2020 order.     No one appealed that order.      And Mr.

       3   Dondero signed the settlement agreement that was approved by

       4   that order.

       5         An interesting fact about the D&O policy came out in

       6   credible testimony at the confirmation hearing.        Mr. Dubel and

       7   an insurance broker from Aon, named Marc Tauber, both credibly

       8   testified that the gatekeeper provision was needed because of

       9   the so-called, and I quote, "Dondero Exclusion" in the

      10   insurance marketplace.

      11         Specifically, the D&O insurers in the marketplace did not

      12   want to cover litigation claims that might be brought against

      13   the Independent Directors by Mr. Dondero because the

      14   marketplace of D&O insurers are aware of Mr. Dondero's

      15   litigiousness.    The insurers would not have issued a D&O

      16   policy to the Independent Directors without either the

      17   gatekeeping provision or a "Dondero Exclusion" being in the

      18   policy.

      19         Thus, the gatekeeper provision was part of the January 9,

      20   2020 settlement.    There was a sound business justification for

      21   it.   It was reasonable and necessary.     It was consistent with

      22   the Barton Doctrine in an extremely analogous situation --

      23   i.e., the independent board members were analogous to a three-

      24   headed trustee in this case, if you will.       Mr. Dondero signed

      25   off on it.    And, again, no one ever appealed the order




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       1   approving it.

       2        The Court finds that, like the Creditors' Committee, the

       3   independent board members here have been resilient and

       4   unwavering in their efforts to get the enormous problems in

       5   this case solved.    They seem to have at all times negotiated

       6   hard and with good faith.     As noted previously, they changed

       7   the entire trajectory of this case.

       8        Still another reason why this was not your garden-variety

       9   case was the mediation effort.      In summer of 2020, roughly

      10   nine months into the Chapter 11 case, this Court ordered

      11   mediation among the Debtor, Acis, UBS, the Redeemer Committee,

      12   and Mr. Dondero.    The Court selected co-mediators, since this

      13   seemed like such a Herculean task, especially during COVID-19,

      14   where people could not all be in the same room.        Those co-

      15   mediators were Retired Bankruptcy Judge Allan Gropper from the

      16   Southern District of New York, who had a distinguished career

      17   presiding over complex Chapter 11 cases, and Ms. Sylvia Mayer,

      18   who likewise has had a distinguished career, first as a

      19   partner in a preeminent law firm working on complex Chapter 11

      20   cases, and subsequently as a mediator and arbitrator in

      21   Houston, Texas.

      22        As noted earlier, the Acis claim was settled during the

      23   mediation, which seemed nothing short of a miracle to this

      24   Court, and the UBS claim was settled many months later, and

      25   this Court believes the groundwork for that ultimate




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       1   settlement was laid, or at least helped, through the

       2   mediation.    And as earlier noted, other enormous claims have

       3   been settled during this case, including that of the Redeemer

       4   Committee, who, again, had asserted approximately or close to

       5   a $200 million claim; HarbourVest, who asserted a $300 million

       6   claim; and Patrick Daugherty, who asserted close to a $40

       7   million claim.

       8        This Court cannot stress strongly enough that the

       9   resolution of these enormous claims and the acceptance of all

      10   of these creditors of the Plan that is now before the Court

      11   seems nothing short of a miracle.      It was more than a year in

      12   the making.

      13        Finally, a word about the current remaining Objectors to

      14   the Plan before the Court.     Once again, the Court will use the

      15   phrase "not garden-variety."      Originally, there were over one

      16   dozen objections filed to this Plan.      The Debtor has made

      17   various amendments or modifications to the Plan to address

      18   some of these objections.     The Court finds that none of these

      19   modifications require further solicitation, pursuant to

      20   Sections 1125, 1126, 1127 of the Code, or Bankruptcy Rule

      21   3019, because, among other things, they do not materially

      22   adversely change the treatment of the claims of any creditor

      23   or interest holder who has not accepted in writing the

      24   modifications.

      25        Among other things, there were changes to the projections




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       1   that the Debtor filed shortly before the confirmation hearing

       2   that, among other things, show the estimated distribution to

       3   creditors and compare plan treatment to a likely disbursement

       4   in a Chapter 7.

       5          These do not constitute a materially adverse change to the

       6   treatment of any creditors or interest holders.         They merely

       7   update likely distributions based on claims that have now been

       8   settled, and they've otherwise incorporated more recent

       9   financial data.    This happens often before confirmation

      10   hearings.    The Court finds that it did not mislead or

      11   prejudice any creditors or interest holders, and certainly

      12   there was no need to resolicit the Plan.

      13          The only Objectors to the Plan left at this time were Mr.

      14   Dondero and entities that the Court finds are controlled by

      15   him.    The standing of these entities to object to the Plan

      16   exists, but the remoteness of their economic interest is

      17   noteworthy, and the Court questions the good faith of the

      18   Objectors.    In fact, the Court has good reason to believe that

      19   these parties are not objecting to protect economic interests

      20   they have in the Debtor, but to be disruptors.

      21          Mr. Dondero wants his company back.    This is

      22   understandable.    But it's not a good faith basis to lob

      23   objections to the Plan.     The Court has slowed down

      24   confirmation multiple times on the current Plan and urged the

      25   parties to talk to Mr. Dondero.      The parties represent that




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       1   they have, and the Court believes that they have.

       2        Now, to be specific about the remoteness of the objectors'

       3   interests, the Court will address them each separately.

       4   First, Mr. Dondero has a pending objection.       Mr. Dondero's

       5   only economic interest with regard to the Debtor at this point

       6   is an unliquidated indemnification claim.       And based on

       7   everything this Court has heard, his indemnification claim

       8   will be highly questionable at this juncture.

       9        Second, a joint objection has been filed by the Dugaboy

      10   Trust and the Get Good Trust.      As for the Dugaboy Trust, it

      11   was created to manage the assets of Mr. Dondero and his

      12   family, and it owns a 0.1866 percent limited partnership

      13   interest in the Debtor.     The Court is not clear what economic

      14   interest the Get Good Trust has, but it likewise seems to be

      15   related to Mr. Dondero, and it has been represented to the

      16   Court numerous times that the trustee is Mr. Dondero's college

      17   roommate.

      18        Another group of Objectors that has joined together in one

      19   objection is what the Court will refer to as the Highland and

      20   NexPoint Advisors and Funds.     The Court understands they

      21   assert disputed administrative expense claims against the

      22   estate.   While the evidence presented was that they have

      23   independent board members that run these companies, the Court

      24   was not convinced of their independence from Mr. Dondero.

      25   None of the so-called independent board members of these




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       1   entities have ever testified before the Court.       Moreover, they

       2   have all been engaged with the Highland complex for many

       3   years.

       4        The witness who testified on these Objectors' behalves at

       5   confirmation, Mr. Jason Post, their chief compliance officer,

       6   resigned from Highland after more than twelve years in October

       7   2020, at the same time that Mr. Dondero resigned or was

       8   terminated by Highland.     And a prior witness recently for

       9   these entities whose testimony was made part of the record at

      10   the confirmation hearing essentially testified that Mr.

      11   Dondero controlled these entities.

      12        Finally, various NexBank entities objected to the Plan.

      13   The Court does not believe they have liquidated claims.         Mr.

      14   Dondero appears to be in control of these entities as well.

      15        To be clear, the Court has allowed all of these objectors

      16   to fully present arguments and evidence in opposition to

      17   confirmation, even though their economic interests in the

      18   Debtor appear to be extremely remote and the Court questions

      19   their good faith.    Specifically on that latter point, the

      20   Court considers them all to be marching pursuant to the orders

      21   of Mr. Dondero.

      22        In the recent past, Mr. Dondero has been subject to a TRO

      23   and preliminary injunction by the Bankruptcy Court for

      24   interfering with the current CEO's management of the Debtor in

      25   specific ways that were supported by evidence.       Around the




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       1   time that this all came to light and the Court began setting

       2   hearings on the alleged interference, Mr. Dondero's company

       3   phone supplied to him by Highland, which he had been asked to

       4   turn in, mysteriously went missing.      The Court merely mentions

       5   this in this context as one of many reasons that the Court has

       6   to question the good faith of Mr. Dondero and his affiliated

       7   objectors.

       8        The only other pending objection besides these objections

       9   of the Dondero and Dondero-controlled entities is an objection

      10   of the United States Trustee pertaining to the release,

      11   exculpation, and injunction provisions in the Plan.

      12        In juxtaposition to these pending objections, the Court

      13   notes that the Debtor has resolved earlier-filed objections to

      14   the Plan filed by the IRS, Patrick Daugherty, CLO Holdco,

      15   Ltd., numerous local taxing authorities, and certain current

      16   and former senior-level employees of the Debtor.

      17        With that rather detailed factual background addressed,

      18   because certainly context matters here, the Court now

      19   addresses what it considers the only serious objections raised

      20   in connection with confirmation.      Specifically, the Plan

      21   contain certain releases, exculpation, plan injunctions, and a

      22   gatekeeper provision which are obviously not fully consensual,

      23   since there are objections.     Certainly, these provisions are

      24   mostly consensual when you consider that parties with hundreds

      25   of millions of dollars' worth of legitimate claims have not




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       1   objected to them.

       2        First, a word about plan releases generally, since the

       3   Objectors at times seem to gloss over, in this Court's view,

       4   relevant distinctions, and seem to refer to the plan releases

       5   in this Plan and the exculpations and the plan injunctions all

       6   as impermissible third-party releases, when, in fact, they are

       7   not, per se.

       8        It has, without a doubt, become quite commonplace in

       9   complex Chapter 11 bankruptcy cases to have three categories

      10   of releases in plans.     These three types are as follows.

      11        First, Debtor Releases.     A debtor release involves a

      12   release by the debtor and its bankruptcy estate of claims

      13   against nondebtor third-parties.      For example, a release may

      14   be granted in favor of creditors, directors, officers,

      15   employees, professionals who participated in the bankruptcy

      16   process.    This is the least-controversial type of release

      17   because the debtor is extinguishing its own claims, which are

      18   property of the estate, that a debtor has authority to utilize

      19   or not, pursuant to Sections 541 and 363 of the Bankruptcy

      20   Code.

      21        Authority for a debtor release pursuant to a plan arises

      22   out of Section 1123(b)(3)(A), which indicates that a plan may

      23   provide for "the settlement or adjustment of any claim or

      24   interest belonging to the debtor or to the estate."

      25        In this context, it would appear that the only analysis




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       1   required is to determine whether the release or settlement of

       2   the claim is an exercise of reasonable business judgment on

       3   that part of the debtor, is it fair and equitable, is it in

       4   the best interest of the estate, given all the relevant facts

       5   and circumstances?    Also relevant is whether there's

       6   consideration given of some sort by the releasees.

       7        Now, the second type of very commonplace Chapter 11 plan

       8   release is an exculpation.     Chapter 11 plans also very often

       9   have these exculpation provisions, and they're something much

      10   narrower in scope and time than a full-fledged release.         An

      11   exculpation provision is more like a shield for a certain

      12   subset of key actors in the case for their acts during and in

      13   connection with the case, which acts may have been merely

      14   negligent.

      15        Specifically, a plan may absolve certain actors -- usually

      16   estate fiduciaries -- such as an Official Unsecured Creditors'

      17   Committee and its members, Committee professionals, sometimes

      18   Debtor professionals, senior management, officers and

      19   directors of the Debtor, from any liability for postpetition

      20   negligent conduct -- i.e., conduct which occurred during the

      21   administration of the Chapter 11 case and in the negotiation,

      22   drafting, and implementation of a plan.       An exculpation

      23   provision typically excludes gross negligence and willful

      24   misconduct.    It is usually worded in a passive voice, so it

      25   may seem a little unclear as to whether it is actually a




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       1   release and by whom.

       2        In any event, the rationale is that parties who actively

       3   participate in a court-approved process -- often, court-

       4   approved transactions by court order -- should receive

       5   protection for their work.     Otherwise, who would want to work

       6   in such a messy, contentious situation, only to be sued for

       7   alleged negligence for less-than-perfect end results?

       8        Chapter 11 end results are not always pretty.       One could

       9   argue that these exculpation provisions, though, are much ado

      10   about nothing.    Why?   For one thing, again, the shield is only

      11   as to negligent conduct.     There is no shield for other

      12   problematic conduct, such as gross negligence or willful

      13   misconduct.

      14        Second, in many situations, any claims or causes of action

      15   that might arise will belong to the Debtor or its estate.

      16   Thus, they would already be released pursuant to a debtor

      17   release.

      18        Additionally, there is case law stating that, where a

      19   claim is brought against an estate professional whose fees

      20   have already been approved in a final fee application, any

      21   claims are barred by res judicata.      Thus, exculpated

      22   professionals would only have potential exposure for a very

      23   short window of time, until final fee applications.

      24        Additionally, certain case law in Texas makes clear that

      25   an attorney generally does not owe any duties to persons other




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       1   than his own client.

       2        All of this suggests that the shield of a typical

       3   exculpation provision may rarely become useful or needed.

       4        Moving now to the third type of release, a true third-

       5   party release, Chapter 11 plans also sometimes contain third-

       6   party releases.    A true third-party release involves the

       7   release of claims held by nondebtor third parties against

       8   other nondebtor third parties, and there is often no

       9   limitation on the scope and time of the claims released.

      10        This is the most heavily scrutinized of the three types of

      11   plan releases.    Much of the case authority focuses on whether

      12   a third-party release is consensual or not in analyzing their

      13   propriety and/or enforceability.

      14        In Highland, there are no third-party releases.          Rather,

      15   there are debtor releases and exculpations.       There also happen

      16   to be plan injunctions and gatekeeper provisions that have

      17   been challenged.    The Objectors argue that these provisions

      18   violate the Fifth Circuit's opinion in Pacific Lumber or are

      19   otherwise beyond the jurisdiction or authority of the

      20   bankruptcy court.    These arguments are now addressed.

      21        First, the debtor release is found at Article IX.D of the

      22   Plan.   The language, in pertinent part, reads as follows.         "On

      23   and after the effective date, each Released Party is deemed to

      24   be hereby conclusively, absolutely, unconditionally,

      25   irrevocably, and forever released and discharged by the Debtor




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       1   and the Estate, in each case on behalf of themselves and their

       2   respective successors, assigns, and representatives, including

       3   but not limited to the Claimant Trust and the Litigation Sub-

       4   Trust, from any and all causes of action, including any

       5   derivative claims, asserted on behalf of the Debtor, whether

       6   known or unknown, foreseen or unforeseen, matured or

       7   unmatured, existing or hereafter arising, in law, equity,

       8   contract, tort, or otherwise, that the Debtor or the Estate

       9   would have been legally entitled to assert in their own right,

      10   whether individually or collectively, or on behalf of the

      11   holder of any claim against, or interest in, a debtor or other

      12   person."

      13         There are certain exceptions discussed, and then Released

      14   Parties are defined at Definition 113 of the Plan collectively

      15   as:   the Independent Directors; Strand, solely from the date

      16   of the appointment of the Independent Directors through the

      17   effective date; the CEO/CRO; the Committee, the members of the

      18   Committee, in their official capacities; the professionals

      19   retained by the Debtor and the Committee in the Chapter 11

      20   case; and the employees.     This is a defined term in the Plan

      21   Supplement and does not include certain employees.

      22         To be clear, these are not third-party releases such as

      23   addressed in the Pacific Lumber case.      These are the Debtor's

      24   and/or the bankruptcy estate's causes of action that are

      25   proposed to be released.     Releases by a debtor are




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       1   discretionary and can be provided by a debtor to persons who

       2   have provided consideration to the debtor and the estate.

       3   Section 1123(b)(3)(A) of the Bankruptcy Code permits this.

       4        The evidence here supported the notion that these releases

       5   are a quid pro quo for the Released Parties' significant

       6   contributions to a highly complex and contentious

       7   restructuring.    The Debtor is releasing its own claims.       Some

       8   of the Released Parties would have indemnification rights

       9   against the Debtor.     And the Debtor's CEO, James Seery,

      10   credibly testified that he does not believe any claims exist

      11   as to the Released Parties.     The Court approves the Debtor

      12   releases and overrules the objections to them.

      13        Next, the exculpations appear at Article IX.C of the Plan

      14   and provide as follows:     Subject in all respects to Article

      15   XII.D of the Plan, to the maximum extent permitted by

      16   applicable law, no Exculpated Party will have or incur, and

      17   each Exculpated Party is hereby exculpated from, any claim,

      18   obligation, suit, judgment, damage, demand, debt, right, cause

      19   of action, remedy, loss, and liability for conduct occurring

      20   on or after the petition date in connection with or arising

      21   out of the filing and administration of the Chapter 11 case,

      22   the negotiation and pursuit of a disclosure statement, the

      23   Plan, or the solicitation of votes for or confirmation of the

      24   Plan, the funding or consummation of the Plan, or any related

      25   agreements, instruments, et cetera, et cetera, whether or not




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       1   such Plan distributions occur following the effective date,

       2   the implementation of the Plan, and any negotiation,

       3   transactions, and documentation in connection with the

       4   foregoing clauses, provided, however, the foregoing will not

       5   apply to any acts or omissions of any Exculpated Party arising

       6   out of or related to acts or omissions that constitute bad

       7   faith, fraud, gross negligence, criminal misconduct, or

       8   willful misconduct; or Strand or any employee other than with

       9   respect to actions taken by such entities from the date of

      10   appointment of the Independent Directors through the effective

      11   date.

      12        Exculpated Parties are later defined at Section -- or,

      13   earlier defined at Section 62 of the Plan, Definition No. 62

      14   of the Plan, as later limited by the Debtor, as announced in

      15   the confirmation hearing.     And so these are the Exculpated

      16   Parties:    the Debtor and its successors and assigns; the

      17   employees, certain employees, as defined; Strand; the

      18   Independent Directors; the Committee, the members of the

      19   Committee, in their official capacities; the professionals

      20   retained by the Debtor and the Committee in the Chapter 11

      21   case; the CEO and CRO; and the related persons as to each of

      22   these parties listed in Part (iv) through (viii) above;

      23   provided, for the avoidance of doubt, and it goes on to say

      24   Dondero, Mark Okada, and various others aren't Exculpated

      25   Parties.




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       1        Now, as earlier mentioned, the Objectors argue that

       2   Pacific Lumber, 584 F.3d 229, a Fifth Circuit case from 2009,

       3   categorically rejects the permissibility of nonconsensual

       4   exculpations as well as third-party releases in a Chapter 11

       5   plan.   So the Court is going to take a deep dive into that

       6   assertion.

       7        In Pacific Lumber, the Fifth Circuit reviewed on appeal

       8   numerous challenges to a confirmed plan of affiliated debtors

       9   known as Palco and Scopac and four subsidiaries.         The debtor

      10   Palco owned and operated the sawmill, a power plant, and even

      11   a town called Scotia, California.      The debtor Scopac owned

      12   timberlands.    A creditor, a secured creditor called Marathon

      13   had a claim against Palco's assets.      Marathon estimated

      14   Palco's assets were worth $110 million.       Its claim was $160

      15   million.   Meanwhile, other parties had large secured claims

      16   against the other debtor, Scopac.

      17        The plan that the bankruptcy court confirmed, which was on

      18   appeal to the Fifth Circuit, was filed by both the secured

      19   creditor Marathon and a joint plan proponent called MRC.            MRC

      20   was a competitor of the debtor Palco.      The Marathon/MRC plan

      21   proposed to dissolve all the debtors, cancel intercompany

      22   debts, and create two new entities, Townco and Newco.          Almost

      23   all of the debtor Palco's assets, including the town of

      24   Scotia, California, would be transferred to Townco.           The

      25   timberlands and other assets, including the sawmill, would be




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       1   placed in Newco.

       2          Marathon and MRC proposed to contribute $580 million to

       3   Newco to pay claims against Scopac.      And Marathon would

       4   convert its secured claim against Palco's assets into equity,

       5   giving it full ownership of Townco, a 15 percent stake in

       6   Newco, and a new note for the sawmill's working capital.         MRC

       7   would own the other 80 percent of Newco and would manage and

       8   run the company.

       9          An indenture trustee for the secured indebtedness against

      10   Scopac -- which, by the way, had also been a plan proponent of

      11   a competing plan -- appealed the confirmation order, raising

      12   eight distinct issues on appeal.      One of the eight issues

      13   pertained to what the Fifth Circuit referred to as a

      14   "nondebtor exculpation and release clause."       This issue is

      15   discussed on the last two pages of a very lengthy opinion.

      16          While the complained-of provision is not quoted verbatim

      17   in the Pacific Lumber opinion, it appears to have been a

      18   typical exculpation clause.     Not a third-party release; a

      19   typical exculpation clause.     The Fifth Circuit stated, "The

      20   plan releases MRC, Marathon, Newco, Townco, and the Unsecured

      21   Creditors' Committee, and their personnel, from liability,

      22   other than for willful and gross negligence related to

      23   proposing, implementing, and administering the plan" at Page

      24   251.

      25          The Fifth Circuit held that "the nondebtor releases must




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       1   be struck except with respect to the Creditors' Committee and

       2   its members."

       3        Footnote 26 of the opinion also states that the appellants

       4   had "not briefed why Newco and Townco or their officers and

       5   directors should not be released," and so "we do not analyze

       6   their position."    Rather, the Fifth Circuit merely analyzed

       7   why the exculpation provision was not permissible as to the

       8   two plan proponents, MRC and Marathon.

       9        Thus, the Court views Pacific Lumber as being a holding

      10   that squarely addressed the propriety of two plan proponents,

      11   a secured lender and a third-party competitor purchaser of the

      12   Debtors, obtaining nonconsensual exculpation in the plan.

      13   However, its reasoning certainly cannot be ignored, strongly

      14   suggesting it would not be inclined to approve an exculpation

      15   for any party other than a Creditors' Committee or its

      16   members.

      17        As far as the Fifth Circuit's reasoning, it relied on

      18   Bankruptcy Code Section 524(e) for striking down the

      19   exculpations, stating, "The law states, however, that

      20   discharge of a debt of the debtor does not affect the

      21   liability of any other entity on such debt."       Page 251.    The

      22   opinion suggests that MRC and Marathon may have tried to argue

      23   that 524(e) did not apply to their exculpations because MRC

      24   and Marathon were not liable as co-obligors in any way on any

      25   of the debtor's debt.




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       1        The Fifth Circuit seemed dismissive of this argument,

       2   stating as follows, "MRC/Marathon insist the release clause is

       3   part of their bargain because, without the clause, neither

       4   company would have been willing to provide the plan's

       5   financing.    Nothing in the records suggests that MRC/Marathon,

       6   the Committee, or the Debtor's officers and directors were co-

       7   liable for the Debtor's prepetition debts.       Instead, the

       8   bargain the proponents claim to have purchased is exculpation

       9   from any negligence that occurred during the course of the

      10   case.   Any costs the released parties might incur defending

      11   against suits alleging such negligence are unlikely to swamp

      12   either of these parties or the consummated reorganization.            We

      13   see little equitable about protecting the released nondebtors

      14   from negligence suits arising out of the reorganization."

      15        The Court goes on to note that, in a variety of cases,

      16   that releases have been approved, but these cases "seem

      17   broadly to foreclose nonconsensual nondebtor releases and

      18   permanent injunctions."

      19        The Court then adds at Footnote 27 that the Fifth Circuit

      20   in the past did not set aside challenged plan releases that

      21   were in final nonappealable orders and were the subject of

      22   collateral attack much later, citing its famous Republic

      23   Supply v. Shoaf case, where the Fifth Circuit ruled that res

      24   judicata barred a debtor from bringing a claim that was

      25   specifically and expressly released by a confirmed




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       1   reorganization plan because the debtor -- the objector failed

       2   to object to the release at confirmation.

       3        The Fifth Circuit in Pacific Lumber also noted that the

       4   Bankruptcy Code permits bankruptcy courts to enjoin third-

       5   party asbestos claims under certain circumstances, 524(g),

       6   which the Court said suggests nondebtor releases are most

       7   appropriate as a method to channel mass tort claims towards a

       8   specific pool of assets, citing numerous cases, including

       9   Johns-Manville.

      10        In reach its holding, the Fifth Circuit saw no reason to

      11   uphold exculpation to the plan proponents MRC and Marathon,

      12   seeming to find it inconsistent with 524(e) under the facts at

      13   bar, but the Court did uphold exculpation for the Creditors'

      14   Committee and its members, stating, "We agree, however, with

      15   courts that have held that 1103(c) under the Code, which lists

      16   the Creditors' Committee's powers, implies Committee members

      17   have qualified immunity for actions within the scope of their

      18   duties."    Numerous cites.   "The Creditors' Committee and its

      19   members are the only disinterested volunteers among the

      20   parties sought to be released here.      The scope of protection,

      21   which does not insulate them from willful and gross

      22   negligence, is adequate."

      23        Thus, the Court held that the exculpation provisions in

      24   Pacific Lumber must be struck except with regard to the

      25   Creditors' Committee and its members.




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       1        Now, after all of that, this Court believes the following

       2   can be gleaned from Pacific Lumber.      First, the Fifth Circuit

       3   hinted that consensual exculpations and/or consensual

       4   nondebtor third-party releases are permissible.       The Court

       5   was, of course, dealing with nonconsensual exculpations in

       6   Pacific Lumber.    In this regard, I note Page 252, where the

       7   Court cited various prior Fifth Circuit authority and then

       8   stated, "These cases seem broadly to foreclose nonconsensual

       9   nondebtor releases and permanent injunctions."

      10        The second thing that can be gleaned from Pacific Lumber:

      11   The Fifth Circuit hinted that nondebtor releases may be

      12   permissible in cases involving global settlements of mass

      13   claims against the debtors and co-liable parties.        The Court,

      14   of course, referred to 524(g), but various other cases which

      15   approved nondebtor releases where mass claims were channeled

      16   to a specific pool of assets.

      17        Third, the Fifth Circuit outright held that exculpations

      18   from negligence for a Creditors' Committee and its members are

      19   permissible because the concept is both consistent with

      20   1103(c), "which implies Committee members have qualified

      21   immunity for actions within the scope of their duties," and a

      22   good policy result, since "if members of the Committee can be

      23   sued by persons unhappy with the outcome of the case, it will

      24   be extremely difficult to find members to serve on an official

      25   committee."




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       1        Fourth, the Fifth Circuit recognized in Pacific Lumber

       2   that res judicata may bar complaints regarding an

       3   impermissible plan release, citing to its earlier Republic

       4   Supply v. Shoaf opinion.

       5        Now, being ever-mindful of the Fifth Circuit's words in

       6   Pacific Lumber, this Court cannot help but wonder about at

       7   least three things.

       8        First, did the Fifth Circuit leave open the door that

       9   facts/equities might sometimes justify approval of an

      10   exculpation for a person other than a Creditors' Committee and

      11   its members?    For example, the Fifth Circuit stated, in

      12   referring to the plan proponents Marathon and MRC, that "Any

      13   costs the released parties might incur defending against suits

      14   alleging such negligence are unlikely to swamp either of these

      15   parties or the consummated reorganization."       Here, this Court

      16   can easily expect the proposed exculpated parties to incur

      17   costs that could swamp them and the reorganization based on

      18   the past litigious conduct of Mr. Dondero and his controlled

      19   entities.    Do these words of the Fifth Circuit hint that

      20   equities/economics might sometimes justify an exculpation?

      21        Second, did the Fifth Circuit's rationale for permitted

      22   exculpations to Creditors' Committee and their members, which

      23   was clearly policy-based, based on their implied qualified

      24   immunity flowing from their duties in Section 1103 and their

      25   disinterestedness, and the importance of their role in a




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       1   Chapter 11 case, did this rationale leave open the door to

       2   sometimes permitting exculpations to other parties in a

       3   particular Chapter 11 case besides Creditors' Committees and

       4   their members?    For example, in a situation such as the

       5   Highland case, in which Independent Directors, brought in to

       6   avoid a trustee, are more like a Creditors' Committee than an

       7   incumbent board of directors.

       8        Third, the Fifth Circuit's sole statutory basis was

       9   Section 524(e).    This Court would humbly submit that this is a

      10   statute dealing with prepetition liability in which some

      11   nondebtor is liable with the Debtor.      Exculpation is a concept

      12   dealing with postpetition liability.

      13        The Ninth Circuit recently, in a case called Blixseth v.

      14   Credit Suisse, 961 F.3d 1074 (9th Cir. 2020), approved the

      15   validity of an exculpation clause incorporated into a

      16   confirmed Chapter 11 plan that purported to absolve certain

      17   nondebtor parties that were "closely involved" in drafting the

      18   plan.   They were the largest secured creditor, a purchaser,

      19   and an individual who was an indirect owner of certain of the

      20   debtor companies.    The exculpation was from any negligence,

      21   liability, for "any act or omission in connection with,

      22   related to, or arising out of the Chapter 11 cases."

      23        By the time the appeal was before the Ninth Circuit, the

      24   only issue was the propriety of the exculpation clause as to

      25   the large secured creditor, which was also a plan proponent,




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       1   since all the other exculpated parties had settled with the

       2   appellant.

       3        The Court, in determining that the exculpation clause was

       4   permissible as to the secured lender, concluded that Section

       5   524(e) "does not bar a narrow exculpation clause of the kind

       6   here at issue -- that is, one focused on actions of various

       7   participants in the plan approval process and relating only to

       8   that process," Page 1082.     Why?   Because "Section 524(e)

       9   establishes that discharge of a debt of the debtor does not

      10   affect the liability of any other entity on such debt."         In

      11   other words, the discharge in no way affects the liability of

      12   any other entity for the discharged debt.       By its terms,

      13   524(e) prevents a bankruptcy court from extinguishing claims

      14   of creditors against nondebtors over the very discharged debt

      15   through the bankruptcy proceedings.

      16        The Court went on to explicitly disagree with Pacific

      17   Lumber in its analysis of 524(e), reiterating that an

      18   exculpation clause covers only liabilities arising from the

      19   bankruptcy proceedings and not of any of the debtor's

      20   discharged debt.    Footnote 7, Page 1085.

      21        Ultimately, the Court held that under Section 105(a),

      22   which empowers a bankruptcy court to issue any order, process,

      23   or judgment that is necessary or appropriate to carry out the

      24   provisions of Chapter 11 and Section 1123, which establishes

      25   the appropriate content of the bankruptcy plan, under these




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       1   sections, the bankruptcy court had authority to approve an

       2   exculpation clause intended to trim subsequent litigation over

       3   acts taken during the bankruptcy proceedings and so render the

       4   plan viable.

       5        This Court concludes that, just as the Fifth Circuit left

       6   open the door for consensual exculpations and releases in

       7   Pacific Lumber, just as it left open the door for consensual

       8   exculpations and releases in Pacific Lumber, its dicta

       9   suggests that an exculpation might be permissible if there is

      10   a showing that "costs that the released parties might incur

      11   defending against suits alleging such negligence are likely to

      12   swamp either the Exculpated Parties or the reorganization."

      13   Again, that was a quote from the Fifth Circuit.

      14        If ever there were a risk of that happening in a Chapter

      15   11 reorganization, it is this one.      The Debtor's current CEO

      16   credibly testified that Mr. Dondero has said outside the

      17   courtroom that if Mr. Dondero's own pot plan does not get

      18   approved, that he will "burn the place down."       Here, this

      19   Court can easily expect the proposed exculpated parties might

      20   expect to incur costs that could swamp them and the

      21   reorganization process based on the past litigious conduct of

      22   Mr. Dondero and his controlled entities.

      23        Additionally, this Court concludes that the Fifth

      24   Circuit's rationale in Pacific Lumber for permitted

      25   exculpations to Creditors' Committees and their members, which




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       1   was clearly policy-based based on their implied qualified

       2   immunity flowing from Section 1103 and their importance in a

       3   Chapter 11 case, leaves the door open to sometimes permitting

       4   exculpations to other parties in a particular Chapter 11 case

       5   besides a UCC and its members.

       6        Again, if there was ever such a case, the Court believes

       7   it is this one, in which Independent Directors were brought in

       8   to avoid a trustee and are much more like a Creditors'

       9   Committee than an incumbent board of directors.        While,

      10   admittedly, there are a few exculpated parties here proposed

      11   beyond the independent board, such as certain employees, it

      12   would appear that no one is invulnerable to a lawsuit here if

      13   past is prologue in this Highland saga.

      14        The Creditors' Committee was initially not keen on

      15   exculpations for certain employees.      However, Mr. Seery

      16   credibly testified that there was a contentious arm's-length

      17   negotiation over this and that he needs these employees to

      18   preserve value implementing the Plan.      Mr. Dondero has shown

      19   no hesitancy to litigate with former employees in the past, to

      20   the nth degree, and there is every reason to believe he would

      21   again in the future, if able.

      22        Finally, in this situation, in the case at bar, we would

      23   appear to have a Shoaf reason to approve the exculpations.

      24   The January 9, 2020 order of this Court, Docket Entry 339,

      25   which approved the independent board and an ongoing corporate




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       1   governance structure for this case, and which is incorporated

       2   into the Plan at Article IX.H, provided as follows:           "No

       3   entity may commence or pursue a claim or cause of action of

       4   any kind against any Independent Director, any Independent

       5   Director's agents, or any Independent Director's advisors

       6   relating in any way to the Independent Director's role as an

       7   Independent Director of Strand without the Court (1) first

       8   determining, after notice, that such claim or cause of action

       9   represents a colorable claim of willful misconduct or gross

      10   negligence against Independent Director, any Independent

      11   Director's agents, or any Independent Director's advisors; and

      12   (2) specifically authorizing such entity to bring such a

      13   claim.   The Court will have sole jurisdiction to adjudicate

      14   any claim for which approval of the Court to commence or

      15   pursue has been granted."

      16        This was both an exculpation from negligence as to the

      17   Independent Directors and their agents and advisors, as well

      18   as a gatekeeping provision.     This Court believes that this

      19   provision basically approved an exculpation for the

      20   Independent Directors way back on January 9, 2020 for their

      21   postpetition conduct that might be negligent.       And this is the

      22   law of the case and has res judicata preclusive effect now.

      23        Thus, as to the three Independent Directors, as well as

      24   the other named parties in the January 9, 2020 order, their

      25   agents, their advisors, we have a situation that fits within




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       1   Republic Supply v. Shoaf, and we fit within the exception

       2   articulated in Pacific Lumber.

       3        The Court reserves the right to supplement these findings

       4   and conclusions as to the exculpations, but based on the

       5   foregoing, they are approved and the objections are overruled.

       6        Now, turning to the Plan objection, it appears at Article

       7   IX.F of the Plan and provides, in pertinent part, as follows:

       8   Upon entry of the confirmation order, all enjoined parties are

       9   and shall be permanently enjoined on and after the effective

      10   date from taking any action to interfere with the

      11   implementation or consummation of the Plan.       Except as

      12   expressly provided in the Plan, the confirmation order, or a

      13   separate order of the Bankruptcy Court, all Enjoined Parties

      14   are and shall be permanently enjoined on and after the

      15   effective date, with respect to any claims and interests, from

      16   directly or indirectly -- and then commencing, conducting,

      17   continuing any suit, action, proceeding of any kind, and

      18   numerous other acts of that vein.

      19        The injunction set forth herein shall extend to and apply

      20   to any act of the type set forth in any of the causes above

      21   against any successors to the Debtor, including but not

      22   limited to the Reorganized Debtor, the Litigation Sub-Trust,

      23   and the Claimant Trust, and their respective property and

      24   interests in property.

      25        Plan injunctions like this are commonplace and




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       1   appropriate.    They are entirely consistent with and

       2   permissible under Bankruptcy Code Sections 1123(a)(5),

       3   1123(a)(6), 1141(a) and (c), and 1142, as well as Bankruptcy

       4   Rule 3016(c), which articulates the form that a plan

       5   injunction must be set forth in a plan.

       6        The Court finds the objections to the Plan Injunctions to

       7   be unfounded, and they are thus overruled without much

       8   discussion here.

       9        Now, lastly, the Gatekeeper Provision.       It appears at

      10   Paragraph 4 of Article IX.F of the Plan and provides, in

      11   pertinent part, "Subject in all respects to Article XII.D, no

      12   Enjoined Party may commence or pursue a claim or cause of

      13   action of any kind against any Protected Party that arose or

      14   arises from or is related to the Chapter 11 case, the

      15   negotiation of the Plan, the administration of the Plan, or

      16   property to be distributed under the Plan, the wind-down of

      17   the business of the Debtor or Reorganized Debtor, the

      18   administration of the Claimant Trust or the Litigation Sub-

      19   Trust, or the transactions in furtherance of the foregoing,

      20   without the Bankruptcy Court (1) first determining, after

      21   notice and a hearing, that such claim or cause of action

      22   represents a colorable claim of any kind, including but not

      23   limited to negligence, bad faith, criminal misconduct and

      24   willful misconduct, fraud, or gross negligence against a

      25   Protected Party; and (2) specifically authorizing such




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       1   Enjoined Party to bring such claim or cause of action against

       2   such Protected Party, provided, however, that the foregoing

       3   will not apply to a claim or cause of action against Strand or

       4   against any employee other than with respect to actions taken,

       5   respectively, by Strand or any such employee from the date of

       6   appointment of the Independent Directors through the effective

       7   date.   The Bankruptcy Court will have sole and exclusive

       8   jurisdiction to determine whether a claim or cause of action

       9   is colorable and, only to the extent legally permissible and

      10   as provided for in Article XI, shall have jurisdiction to

      11   adjudicate the underlying colorable claim or cause of action."

      12        This gatekeeper provision appears necessary and reasonable

      13   in light of the litigiousness of Mr. Dondero and his

      14   controlled entities that has been described at length herein.

      15   Provisions similar to this have been approved in this district

      16   in the Pilgrim's Pride case and the CHC Helicopter case.         The

      17   provision is within the spirit of the Supreme Court's Barton

      18   Doctrine.   And it appears consistent with the notion of a pre-

      19   filing injunction to deter vexatious litigants that has been

      20   approved by the Fifth Circuit in such cases as Baum v. Blue

      21   Moon Ventures, 513 F.3d 181, and in the In re Carroll case,

      22   850 F.3d 811, which arose out of a bankruptcy pre-filing

      23   injunction.

      24        The Fifth Circuit, in fact, noted in the Carroll case that

      25   federal courts have authority to enjoin vexatious litigants




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       1   under the All Writs Act, 28 U.S.C. § 1651.       And additionally,

       2   under the Bankruptcy Code, a bankruptcy court can issue any

       3   order, including a civil contempt order, necessary or

       4   appropriate to carry out the provisions of the Code, citing,

       5   of course, 105 of the Bankruptcy Code.

       6        The Fifth Circuit stated that, when considering whether to

       7   enjoin future filings against a vexatious litigant, a

       8   bankruptcy court must consider the circumstances of the case,

       9   including four factors:     (1)   the party's history of

      10   litigation; in particular, whether he has filed vexatious,

      11   harassing, or duplicative lawsuits; (2) whether the party had

      12   a good faith basis for pursuing the litigation, or perhaps

      13   intended to harass; (3) the extent of the burden on the courts

      14   and other parties resulting from the party's filings; and (4)

      15   the adequacy of alternatives.

      16        In the Baum case, the Fifth Circuit stated that the

      17   traditional standards for injunctive relief -- i.e.,

      18   irreparable harm and inadequate remedy at law -- do not apply

      19   to the issuance of an injunction against a vexatious litigant.

      20        Here, although I have not been asked to declare Mr.

      21   Dondero and his affiliated entities as vexatious litigants per

      22   se, it is certainly not beyond the pale to find that his long

      23   history with regard to the major creditors in this case has

      24   strayed into that possible realm, and thus this Court is

      25   justified in approving this provision.




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       1        One of the Objectors' lawyers stated very eloquently in

       2   closing argument, in opposing the plan injunction and

       3   gatekeeping provisions, that "Even a serial killer has

       4   constitutional rights," suggesting that these provisions would

       5   deprive Mr. Dondero and his controlled entities of fundamental

       6   rights or due process somehow.      But to paraphrase the district

       7   court in the Carroll case, no one, rich or poor, is entitled

       8   to abuse the judicial process.      There exists no constitutional

       9   right of access to the courts to prosecute actions that are

      10   frivolous or malicious.     The Plan injunction and gatekeeper

      11   provisions in Highland's plan simply set forth a way for this

      12   Court to use its tools, its inherent powers, to avoid abuse of

      13   the court system, protect the implementation of the Plan, and

      14   preempt the use of judicial time that properly could be used

      15   to consider the meritorious claims of other litigants.

      16        Accordingly, the Objectors' objections to this provision

      17   are overruled.

      18        As earlier stated, this Court reserves the right to alter

      19   or supplement this ruling in a written order.       In this regard,

      20   the Court directs Debtor's counsel -- I hope you are still

      21   awake; it's been a long time -- the Court directs Debtor's

      22   counsel to submit a form of order.      And specifically, I assume

      23   that you've already prepared or have been in the process of

      24   preparing a set of findings of fact, conclusions of law, and

      25   confirmation order that tracks the confirmation evidence and




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       1   recites conclusions of law that the Plan complies with all the

       2   various provisions of Section 1123, 1129, and other applicable

       3   Code provisions.

       4        What I want you to do is take this bench ruling and add it

       5   to what you've prepared.     And what I mean is, as you can tell,

       6   I've been reading:    I will have my courtroom deputy email to

       7   you all a copy of what I just read.      I'll have her obviously

       8   copy the Debtor's counsel, Creditors' Committee, Dondero and

       9   the other Objectors, copy them on this written document she's

      10   going to send out.    And, again, I want you to kind of meld it

      11   into what you've already been preparing.

      12        Obviously, I did not address in this oral ruling every

      13   provision of 1129(a) and (b).     I did not address every 1123

      14   objection.   I did not even address every single objection of

      15   the Objectors.    But, again, any objection I've not

      16   specifically addressed today is overruled.

      17        The briefing, I should say, that the Debtor submitted,

      18   there was a Memorandum of Law in Support of Confirmation filed

      19   on January 22nd.    There was also a reply brief, a hundred

      20   pages or so, separately filed, replying to all the objections.

      21   I don't disagree with anything that was in that.       So, again,

      22   to the extent you want to send me conclusions of law that are

      23   along the lines of that briefing, I would consider that.

      24        And so what I thought is you'll send me the melded

      25   document and I will edit it if I see fit.      I recognize this




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       1   may take a few days, so I don't give you a strict timetable,

       2   just hopefully it won't take too many days.

       3        All right.    Is there anyone out there -- Mr. Pomerantz,

       4   you had to go to jury duty, except I can't believe --

       5              MR. POMERANTZ:    No, I --

       6              THE COURT:   I can't believe you were called, but are

       7   you there?

       8              MR. POMERANTZ:    Your Honor, I am here.    I was luckily

       9   excused, because I probably wouldn't have made it.

      10        Your Honor, one just comment I'd make.      You referred to

      11   the January 9th order.      You didn't refer to the CEO order,

      12   which is your order July 16th, which had the same gatekeeper

      13   provision.    I assume that was the same analysis?

      14              THE COURT:   That was an oversight.     Same analysis.

      15   And that's exactly why I said I reserve the right to

      16   supplement or amend, because I know there had to be places

      17   like that where I omitted to mention something important.

      18              MR. POMERANTZ:    But thank you, Your Honor, for your

      19   thoughtful ruling, and we will certainly incorporate your

      20   materials into the order that we're working on and get it to

      21   you when we can.    But we appreciate it on behalf of the

      22   Debtor.   We know this took a lot of time and a lot of effort.

      23   Hopefully, you got a chance to still watch the Super Bowl

      24   yesterday.

      25              THE COURT:   Well, when I saw that Tom Brady was going




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       1   to win, I turned it off.

       2        I'm sorry.   That's terrible.    You know, my law clerk, my

       3   law clerk that you can't see, Nate, he is from Ann Arbor,

       4   Michigan, University of Michigan, and he almost cried when I

       5   said I didn't like Tom Brady the other day.        So, I apologize.

       6              MR. POMERANTZ:   Your Honor, one other comment.        We

       7   had our motion to assume our nonresidential real property

       8   lease that was also on.     It got missed in all the fanfare, but

       9   it was -- it has been unopposed and essentially done pursuant

      10   to stipulation.    So we'd like to submit an order on that as

      11   well.

      12              THE COURT:   Okay.   I have seen that, and I approve it

      13   under 365.    You may submit the order.    Okay.    Thank you.

      14              MR. POMERANTZ:   Thank you, Your Honor.

      15              THE CLERK:   All rise.

      16        (Proceedings concluded at 10:35 a.m.)

      17                                   --oOo--

      18

      19

      20                                CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23      /s/ Kathy Rehling                                  02/09/2021

      24   ______________________________________             ________________
           Kathy Rehling, CETD-444                                Date
      25   Certified Electronic Court Transcriber




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                          IN THE UNITED STATES BANKRUPTCY COURT
       1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
       2
                                          )    Case No. 19-34054-sgj11
       3    In Re:                        )
                                          )
       4    HIGHLAND CAPITAL              )    Dallas, Texas
            MANAGEMENT, L.P.,             )    July 8, 2020
       5                                  )    1:30 p.m. Docket
                     Debtor.              )
       6                                  )    - MOTION   TO EXTEND EXCLUSIVITY
                                          )      PERIOD   (737)
       7                                  )    - MOTION   TO EXTEND TIME TO
                                          )      REMOVE   ACTIONS (747)
       8        __                        )
       9                        TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
      10                     UNITED STATES BANKRUPTCY JUDGE.

      11    WEBEX/TELEPHONIC APPEARANCES:

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       1                DALLAS, TEXAS - JULY 8, 2020 - 1:37 P.M.

       2               THE COURT:   All right.    Hello.   This is Judge

       3   Jernigan.    Hopefully you can all hear me.      We're ready to

       4   start the Highland hearings we have today, Case No. 19-34054.

       5   Let's start off by getting appearances from those lawyers who

       6   want to appear formally today.        First, for the Debtor, do we

       7   have Mr. Pomerantz or a team from Pachulski Stang?

       8               MR. POMERANTZ:   Yes.   Good morning, Your Honor.       Jeff

       9   Pomerantz; Pachulski Stang Ziehl & Jones; counsel for the

      10   Debtors.

      11               THE COURT:   All right.    Good afternoon.   Anyone else

      12   for the Debtors that wants to appear?

      13               MR. ANNABLE:    Yes, Your Honor.    Yes, Your Honor.

      14   Zachery Annable and Melissa Hayward, local counsel for the

      15   Debtors.

      16               THE COURT:   All right.    Thank you.   All right.     For

      17   the Unsecured Creditors' Committee, I think I see Mr. Clemente

      18   there on the screen.

      19               MR. CLEMENTE:    Good afternoon, Your Honor.      Matthew

      20   Clemente; Sidley Austin; on behalf of the Creditors'

      21   Committee.

      22               THE COURT:   All right.    Very good.   I know we have

      23   lots of other folks on the line.       I'm not sure who else might

      24   want to formally appear.      I'll check on some of the usuals.

      25   For Acis, do we have Ms. Patel or Ms. Chiarello?




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       1              MS. PATEL:   Good afternoon, Your Honor.     Rakhee Patel

       2   and Annmarie Chiarello of the Winstead firm on behalf of Acis

       3   Capital Management, LP.     Also on the phone is Brian Shaw of

       4   the Rogge Dunn Group.

       5              THE COURT:   All right.   Thank you.    For the Redeemer

       6   Committee, do we have anyone appearing for them?

       7              MS. MASCHERIN:   Good morning, Your Honor.

       8              MR. PLATT:   Your Honor, --

       9              MS. MASCHERIN:   Go ahead, Mark.

      10              MR. PLATT:   Sorry.   Mark Platt, Your Honor, on behalf

      11   of the Redeemer Committee of the Highland Crusader Fund.          And,

      12   obviously, Ms. Mascherin is on the screen as well.

      13              THE COURT:   Okay.

      14              MS. MASCHERIN:   Good afternoon, Your Honor.

      15              THE COURT:   Good afternoon.    Let's see.

      16              MR. PLATT:   And Mr. Hankin is on the phone as well,

      17   --

      18              THE COURT:   Okay.

      19              MR. PLATT:   -- Your Honor.

      20              THE COURT:   All right.   Very good.    All right.    Any

      21   other -- UBS, by chance?

      22        (No response.)

      23              THE COURT:   Okay.    Anyone for the CLO Issuers?

      24        (No response.)

      25              THE COURT:   All right.   Anyone I missed?    U.S.




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       1   Trustee, perhaps?

       2        (No response.)

       3              THE COURT:   All right.   Well, --

       4              MR. LYNN:    Your Honor, --

       5              THE COURT:   Okay.

       6              MR. LYNN:    -- good afternoon.    Michael Lynn and John

       7   Bonds for Jim Dondero.

       8              THE COURT:   Oh, okay.    Hello.   How are you?

       9              MR. LYNN:    Well, thank you.

      10              THE COURT:   All right.   Anyone else wishing to appear

      11   at this time?

      12        (No response.)

      13              THE COURT:   All right.   We have a couple of matters

      14   set on our calendar.     A motion to extend the deadline for

      15   removal of actions, to which I saw no written responses, and

      16   then a third motion to extend exclusivity, and I saw a

      17   Committee response to that.

      18        I don't have on my hard calendar anything about a status

      19   conference regarding mediation, but I found in our notes from

      20   our hearing, I believe it was the UBS hearing in middle of

      21   June, that I said, you know, we might want to talk about that

      22   if we don't hear some rosy news or some developing positive

      23   news today at the July 8th hearing.        So we'll kind of put that

      24   on the back burner and see if there's a need to talk about

      25   that today.




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       1          All right.   So, Mr. Pomerantz, are you going to start us

       2   off?

       3               MR. POMERANTZ:   Yes, Your Honor.   And actually, I had

       4   some comments that sort of touched on a few of the issues you

       5   talked about and I think it's apropos to talk about it in the

       6   context of the motion to extend exclusivity, which I do note,

       7   Your Honor, is not objected to.

       8          We had asked in the motion for a 30-day extension and an

       9   additional extension beyond that in increments of 30 days, up

      10   to a maximum of 90 days, with the Creditors' Committee's

      11   consent.    We have read their response.    We understand they are

      12   accepting a 30-day extension, but wanted to put the Debtor and

      13   I'm sure the Court on notice that, at the end of 30 days, they

      14   don't anticipate any further extensions, which I think, based

      15   upon the course of actions, will be just fine, because I

      16   think, as I will report to Your Honor, we expect to be able to

      17   file a plan by then.

      18          But I thought I would take this time, Your Honor, and sort

      19   of (audio gap) little context, and that is the (inaudible) to

      20   give Your Honor just a brief update of the status of the case,

      21   the status on the filing of the Debtor's plan, and as Your

      22   Honor alluded to, the Debtor's thoughts regarding mediation,

      23   because we have spent a lot of time since Your Honor first

      24   raised the issue in the middle of June talking about it, and

      25   we think we have a structure that has significant support from




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       1   the main parties in this case.

       2        So, as I mentioned, Your Honor, at the hearing on June

       3   30th, after stabilizing operations, the Board began to focus

       4   on resolving the significant litigation claims that have been

       5   filed against the estate.     And the first step in that process,

       6   Your Honor, is the Board wanted to commission an independent

       7   analysis of those claims, not burdened by what had come before

       8   it in connection with the analysis.      So we spent a lot of

       9   time, our firm did, providing detailed analysis on the major

      10   claims against the estate, including the Acis claim, the UBS

      11   claim, and the Redeemer claim.

      12        Then the pandemic hit, and a lot of the Board's attention

      13   was spent on dealing with the disruption to the Debtor's

      14   business that was caused by the pandemic.       However, during the

      15   last couple of months, Your Honor, the Board has began to

      16   focus on engaging with UBS, Redeemer, and the Acis groups in

      17   order to assess the ability to be able to resolve the claims

      18   short of contested and time-consuming litigation.        Because as

      19   I mentioned to Your Honor on several occasions, the Board

      20   intended, when it came in on January 9th, and I think has done

      21   a good job, is changing the culture that had existed before,

      22   the culture of litigation, to potentially a culture of

      23   settlement and mediation.

      24        And in that regard, Your Honor, I'm pleased to report that

      25   the Debtor has reached an agreement in principle with the




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       1   Redeemer Committee regarding the allowance of the Redeemer

       2   Committee's claim.    The agreement is subject to resolution of

       3   a few minor drafting issues, and the Debtor anticipates

       4   seeking Court approval of a settlement in the near future.

       5        With respect to Acis, Acis's claims, two weeks ago the

       6   Independent Board made an offer to resolve the Acis claims.

       7   At this point, has not heard back.      Hopes to hear back from

       8   Acis.

       9        In the interim, the Debtor has also filed an objection to

      10   the Acis claim, which it would intend to prosecute if it

      11   cannot be resolved consensually, either before or in

      12   connection with the mediation process that I will lay out that

      13   we would propose to the Court in a few moments.

      14        With respect to the UBS claim, Your Honor, the Board

      15   believes that the Court's ruling on UBS's relief from stay

      16   motion was a necessary first step before settlement

      17   discussions could get off the ground, and the hope is that the

      18   claim could be resolved through mediation, if not sooner, and

      19   the parties discussing potentially different counterproposals.

      20   None have been made yet, but it is the intention of the Board

      21   to engage with UBS.

      22        With respect to the mediation process, Your Honor, the

      23   Board agrees with the comments that the Court made that

      24   mediation could be a very useful tool and a catalyst to a

      25   settlement.   That would resolve the litigation that has




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       1   burdened this estate for many years.

       2        Since the last hearing, Your Honor, I've had discussions

       3   with both Committee counsel, Mr. Clemente, and counsel for

       4   each of the Committee members regarding a mediation process

       5   that I think, subject to Your Honor's concurrence, has broad

       6   support among the major parties, just proving to Your Honor

       7   that the parties can come together and agree on something in

       8   this case.

       9        There is consensus that the Court should order a mediation

      10   that would encompass essentially two general areas.           First,

      11   the mediation would seek to resolve the claims of Acis and

      12   UBS, to the extent the parties cannot reach agreement on their

      13   own prior to the commencement of the mediation.

      14        However, resolving claims against the estate is really

      15   only one part of the equation.      A true global resolution would

      16   also (audio gap) the Debtor's estate may have against Jim

      17   Dondero and related entities, claims that I'm sure Your Honor

      18   recalls the Committee bargained for the ability to prosecute

      19   in connection with the global settlement approved by Your

      20   Honor in January.

      21        I've spoken with Mr. Lynn, Mr. Dondero's counsel.          I know

      22   he's participating in the hearing.      And he has indicated that

      23   Mr. Dondero is willing to participate in a plan mediation

      24   process to see if a global resolution can be reached.

      25        The Debtor and the Committee have also discussed the names




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       1   of potential mediators, and subject, of course, to Your

       2   Honor's approval, the Debtor and the Committee have reached

       3   out to Judge Jones' clerk for the Southern District of Texas

       4   and he has told us that he has the time and the willingness to

       5   mediate.

       6        We also believe that, if available, since there is a lot

       7   in terms of mediation in this case, that it may be helpful to

       8   have two mediators.     And if Judge Isgur -- we haven't reached

       9   out to him -- is also available, we believe that both of those

      10   judges possess the qualities that this case would need to

      11   resolve -- to give the best chance of resolving the claims and

      12   the plan process in an efficient and a timely manner.

      13        We would contemplate that the parties would submit fees to

      14   the mediator by July 31st, and the mediation would occur

      15   sometime in the second half of August.

      16        Notwithstanding the mediation process, however, Your

      17   Honor, the Debtor is moving forward towards expeditiously

      18   filing a plan, which will not need to wait for mediation to

      19   conclude.   And in that regard, Your Honor, the Debtor and the

      20   Committee have worked cooperatively over the last several

      21   weeks to draft a plan that would allow the Debtor to emerge

      22   from Chapter 11 as quickly as possible -- you know, 120 days

      23   or so after it would be filed.

      24        The Debtor and the Committee and its members recognize

      25   that the administrative fees attending to the continued




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       1   administration of this case in bankruptcy is material, and

       2   that one way to reduce them is to emerge from bankruptcy as

       3   quickly as possible.

       4        To that end, Your Honor, the Debtor is optimistic that it

       5   will be able to file a plan by the end of the current

       6   exclusivity period, which, if Your Honor grants the pending

       7   motion, would be August 12th.      And, at present, the plan

       8   contemplates the creation of an asset monetization vehicle

       9   that will seek to monetize the assets in an appropriate

      10   manner.

      11        The Debtor believes that the current plan is confirmable,

      12   whether or not the Debtor is successful in resolving the large

      13   claims against the estate, either consensually or in

      14   mediation.    Worst case, the claims litigation process can

      15   proceed post-confirmation.

      16        At the same time, however, Your Honor, the Independent

      17   Board -- led by Mr. James Seery, who has testified before Your

      18   Honor and who has been appointed as the Debtor's chief

      19   executive officer, subject to Court approval, and that hearing

      20   is scheduled for July 14th -- has also had positive

      21   discussions with Jim Dondero regarding a plan structure that

      22   would not only allow for the prompt exit from Chapter 11 but

      23   could also inject some liquidity into the case that would

      24   allow actual distributions to be made to creditors much more

      25   expedited than perhaps waiting for the monetization of the




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       1   assets.   And Mr. Seery continues to have those discussions

       2   with Mr. Dondero, and he and the Board are cautiously

       3   optimistic that they will bear fruit.

       4        However, Your Honor, just to be clear, the Debtor intends

       5   to file a plan by the expiration of exclusivity whether or not

       6   Mr. Dondero is part of that plan, and his involvement will not

       7   distract the Debtor from emerging from Chapter 11 as quickly

       8   as possible.

       9        So we feel we have presented some rosy news today in terms

      10   of resolution of some of the claims and a path forward, that

      11   we think this case is on a different trajectory than it was

      12   quite some time ago, and we look forward to continuing a

      13   dialogue with the parties before mediation and in mediation,

      14   if Your Honor orders it, and hopefully can have a quick and

      15   (inaudible) resolution of the case.

      16              THE COURT:   All right.   I have a few questions, but

      17   I'll turn to other lawyers to see what they have to say, and

      18   their comments may answer some questions I have.       Mr.

      19   Clemente, go ahead.

      20              MR. CLEMENTE:   Yes, Your Honor.    Thank you.     Matthew

      21   Clemente from Sidley on behalf of the Committee.

      22        Mr. Pomerantz is correct with respect to exclusivity.         As

      23   we laid out in our papers, the Committee has no objection to

      24   the additional 30 days of exclusivity through August 12th, and

      25   the Committee sees no reason why a plan cannot be filed within




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       1   that time frame.

       2        As we laid out in our papers, we at this time don't see

       3   any reason for exclusivity to extend beyond August 12th.         But

       4   I do think that is consistent with the relief that the Debtor

       5   is asking for.

       6        To be sure, Your Honor, given the position of the

       7   Committee and its constituency, we do not see any plan here

       8   that gets done without our consent, frankly, and approval.

       9   And we've made that point consistently to the Debtor, and we

      10   continue to make that point.      Filing a plan with which the

      11   Debtor knows this constituency does not agree, frankly, we

      12   think would be a waste of time and resources and will create

      13   needless litigation, to which Your Honor expressed a strong

      14   distaste for at the last hearing.

      15        So, Your Honor, we will continue to work with the Debtor

      16   in moving forward with a plan, and we are hopeful that the

      17   Debtor will continue to understand the importance of working

      18   cooperatively with the Committee to propose a plan the

      19   Committee can support, as opposed to one it knows the

      20   Committee will take issue with.

      21        So, with that, Your Honor, again, we don't have any issue

      22   or objection to the entry of the exclusivity order, but I did

      23   want to make Your Honor aware of the Committee's views.

      24        Second, Your Honor, with respect to mediation, the

      25   Committee is supportive of the mediation proposal Mr.




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       1   Pomerantz laid out.     Mr. Pomerantz touched on it, and the

       2   Committee has been consistently clear, however, that the

       3   mediation should not distract from the task of moving forward

       4   with a plan, a plan, as Mr. Pomerantz told you, will be

       5   designed to be confirmable even without claim resolution or

       6   Mr. Dondero's involvement.

       7        The Committee believes that it is important that the

       8   claims be addressed first in the mediation, the claim

       9   resolution issues, as they believe that that is the

      10   appropriate sequencing.     It can all happen as part of the same

      11   mediation, but the Committee feels very strongly that the

      12   claims should be addressed first in the context of that

      13   mediation.

      14        And with respect to Mr. Dondero's involvement, the

      15   Committee is not opposed to having his involvement and the

      16   Committee will negotiate in good faith during the mediation

      17   and will be looking to the mediator to help determine the most

      18   effective way to involve Mr. Dondero in the process -- again,

      19   with the very strong view that the claims should be addressed

      20   first in the context of that mediation.

      21        That is all I have, Your Honor, but I'm happy, obviously,

      22   to answer any questions you have.

      23              THE COURT:   Okay.   Let's hear from anyone else.      Any

      24   other lawyers want to weigh in?

      25              MS. PATEL:   Good afternoon, Your Honor.     Rakhee Patel




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       1   on behalf of Acis.     And I will endeavor to not tread the same

       2   ground that Mr. Pomerantz and Mr. Clemente have.        But just to

       3   kind of -- probably more so for the benefit of others that are

       4   participating in the hearing, because I know Your Honor,

       5   you're familiar with our matter, I hit on the two pieces of

       6   litigation that I think, you know, bear discussing in the

       7   context of mediation.     And by the way, just to be clear, I

       8   have -- I have no position different than Mr. Clemente with

       9   respect to exclusivity.

      10          But as Your Honor is aware, there is a lawsuit involving

      11   Acis and Highland Capital Management.      It's an adversary.

      12   It's been through various permutations, the first of which

      13   started roughly two years ago.      I think we just passed the

      14   two-year anniversary of the first adversary that all ended up

      15   being consolidated down and added to over time.        And

      16   immediately prior to Highland's bankruptcy, that adversary was

      17   effectively abated by virtue of the withdrawal of the

      18   reference motion that was filed and argued and the Court was

      19   writing what I understand to be a lengthy Report and

      20   Recommendation in connection with.      And that was then

      21   ultimately stayed by Highland's bankruptcy case in October of

      22   2019.

      23          As Mr. Pomerantz indicated, Highland has now objected to

      24   Acis's proof of claim.     That just came roughly about two weeks

      25   ago.    And keeping in mind, Your Honor, that Acis's proof of




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       1   claim is its complaint in that adversary that I just

       2   referenced.

       3        At present, Acis's response is due somewhere around July

       4   23rd, I believe, and there is a hearing scheduled on that

       5   claim objection on August the 6th.      So a hearing has been set

       6   imminently.

       7        Mr. Pomerantz and Mr. Couch were very kind to put in a

       8   peremptory call immediately prior to the filing, and they

       9   advised that they were going to be filing that claim objection

      10   and that they were going to be setting it for hearing on

      11   August the 6th, and I advised them that I had planned on being

      12   on vacation that week, which is all a very long way of saying,

      13   Your Honor, I think we're going to have to, in light of

      14   mediation, work up an alternate schedule.

      15        And I'm confident that we'll be able to reach that

      16   alternate schedule, but we'll be keeping the mediation and its

      17   scheduling and the parties with schedules in mind.        Because it

      18   doesn't seem to make an awful lot of sense to me to be

      19   litigating the claim objection before we get to mediation.

      20        On the -- on other fronts, and, again, you know, I know

      21   Your Honor presided over the Acis case, obviously, for the

      22   last two and half years, commencing with the involuntary

      23   bankruptcy that touched off that case.       But on the -- on the

      24   related front, is, as I advised the Court at the status

      25   conference during the Acis status conference, there was a suit




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       1   that was filed by Acis against Mr. Dondero, certain of

       2   Highland Capital Management's employees, the former treasurer,

       3   Mr. Waterhouse, as well as CLO Holdco, Grant Scott, and

       4   certain of the Independent Directors of Highland CLO Funding.

       5        And, you know, as Your Honor may recall, that suit was

       6   filed to get ahead of the 546 or -- and/or Section 108 time

       7   period cutoff.    But that suit is now pending.     In connection

       8   with that litigation, Your Honor, there has been -- there are

       9   a couple of answers that were filed and there's -- there have

      10   been a panoply of motions to dismiss filed as well on various

      11   grounds:   Personal jurisdiction -- ranging from personal

      12   jurisdiction, subject matter jurisdiction, 12(b)(6) grounds.

      13   Kind of a smattering of a whole lot of things.       And all of

      14   that bundles together, Your Honor, into a whole lot more

      15   litigation.

      16        So, in thinking about that piece of litigation and its

      17   overall impact on where the parties are, I endeavored to reach

      18   out to all of the counsel, the various counsel for the

      19   constituent groups therein to talk about what we were going to

      20   do with that piece of litigation, certainly now that we are

      21   discussing mediation.    And I've had various positive at least

      22   preliminary discussions with Mr. Bonds, counsel for Mr.

      23   Dondero, and then also Mr. Kane, who is counsel for CLO Holdco

      24   and Grant Scott, and they were generally receptive to the

      25   concept of an abatement, pending mediation, just, again, so we




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       1   can put a pin in the litigation, see where we can get to in

       2   the context of mediation, if some sort of resolution can be

       3   reached that advances the collective ball and hopefully helps

       4   to, if not resolve the litigation, perhaps reduce or certainly

       5   streamline it.

       6          I've reached out to, by email, to counsel for certain of

       7   the other employees who are, at present, evaluating that --

       8   the request for an agreed abatement, and I've also reached out

       9   via email and phone to counsel for the Independent -- the two

      10   Independent Directors for Highland CLO Funding.        That's Mr.

      11   Maloney and Ms. Matsumora.     And I've not heard from them as

      12   yet.

      13          So, in connection with that, Your Honor, likely, at least

      14   as of right now, my thought is that we would basically be

      15   filing a motion tomorrow seeking to abate that piece of

      16   litigation in connection with the mediation that we're

      17   discussing today, and, of course, depending upon the outcome

      18   of today.    And we may seek to expedite that motion to abate if

      19   the parties don't agree to extend at least present responsive

      20   deadlines, et cetera.     Because, again, it doesn't seem to make

      21   an awful lot of sense to be continuing with litigation while

      22   everyone is trying to get into resolution mode.

      23          So, Your Honor, as you know, Acis has tried to remain

      24   consistently in resolution mode, but we hear Your Honor loud

      25   and clear and we will endeavor and try and streamline and at




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       1   least give the best-faith effort at trying to get things

       2   resolved as expeditiously as possible as we can.

       3              THE COURT:   Well, if that is the case, why haven't --

       4   why hasn't the Debtor heard back from you on the offer they

       5   made two weeks ago?

       6              MS. PATEL:   Your Honor, the offer was made after --

       7   shortly after the claim objection was filed.       The claim

       8   objection itself, Your Honor, is a two-page claim objection.

       9   And, frankly, if I turn my camera around, you'd see that I am

      10   surrounded by paper.     We are analyzing the claim objection as

      11   filed.

      12        Your Honor, in terms of talking about Acis's claim, Acis,

      13   as you know, has been -- has been attempting to discuss its

      14   claim, and even during Acis's bankruptcy case, we engaged in

      15   two different mediations to try and resolve the overarching --

      16   a lot of the facts that -- and circumstances that underlie the

      17   complaint, and those were unsuccessful.

      18        Shortly after the Board was appointed -- and by shortly, I

      19   mean I think the hearing was in the morning; we ended up -- I

      20   and Mr. Terry ended up having lunch with the Board and the

      21   Board's counsel to again being fostering a relationship and to

      22   begin discussing Acis's claim in earnest.       And we had a

      23   lengthy meeting at my offices -- if my memory serves, it was

      24   in early February -- with Mr. Nelms and with Mr. Seery.         And

      25   then, frankly, didn't hear a whole heck of a lot with respect




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       1   to our claim or any type of negotiation.      So the first thing

       2   that we heard back with respect to it was just a couple of

       3   weeks ago, and Your Honor, we --

       4        (Audio interruptions.)

       5             THE COURT:   Okay.

       6             MS. PATEL:   We will --

       7             THE COURT:   Someone needs to put their phone on mute.

       8   Okay.   Thank you.

       9             MS. PATEL:   Thank you, Your Honor.     We have

      10   endeavored -- we have rolled up our sleeves and we are

      11   analyzing the claim objection and trying to narrow the issues.

      12   And we will be providing a substantive response back to the

      13   Debtor as quickly as we can.

      14        The settlement proposal, frankly, Your Honor, came in

      15   while Mr. Terry was on vacation, so we did have a little bit

      16   of time lapse on that.

      17             THE COURT:   Okay.   Where are people going on vacation

      18   these days?   I can't get anywhere.

      19             MS. PATEL:   Your --

      20             THE COURT:   I've had to cancel a couple of vacations.

      21   I don't know where people are going.

      22        But okay.   Well, I'm very disappointed, nevertheless, to

      23   hear that there's been zero response in two weeks.

      24        Anyone else wish to make a comment before I get to some

      25   questions I have?




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       1              MR. LYNN:    Your Honor, Michael Lynn for Jim Dondero.

       2        This is just a comment.     The Acis v. Dondero, et al. suit

       3   parallels in many respects the objection to the claim filed by

       4   the Debtor with respect to the Acis claim.       We would probably

       5   seek to join in the objection, if for no other reason than to

       6   preserve our ability to address factual issues that the two

       7   matters have in common, to ensure against a future preclusive

       8   effect.

       9              THE COURT:   Okay.   Anyone else?

      10              MR. POMERANTZ:    Your Honor, this is Jeff Pomerantz

      11   again.    I have a couple of comments with respect to Ms.

      12   Patel's.   Would you like me to address them now?

      13              THE COURT:   Go ahead.    Uh-huh.

      14              MR. POMERANTZ:    Okay.   Your Honor, I think it's

      15   helpful to the Court to understand sort of the big picture in

      16   terms of our discussions with Acis.      Prior to making      a

      17   settlement proposal, which, incidentally, occurred before the

      18   claim objection was filed, a week or so ago -- well, actually,

      19   a few week before that, we had offered to sit down and meet

      20   with Acis with respect to their claim.

      21        The initial response we received back was that, unless the

      22   Guernsey lawsuit was dismissed, they were not interested in

      23   sitting down and meeting with us.      We were disappointed in

      24   that because, as we have consistently maintained since the

      25   Board has taken over, the Board does not control that Guernsey




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       1   lawsuit.    But in any event, that was what Acis's position was.

       2        Subsequently, a few weeks after that, we were told that

       3   Acis would be willing to sit down and have a discussion with

       4   us about their claim, similar to the discussions we had with

       5   Redeemer and similar to the discussions we had with UBS.

       6        To make that discussion most productive, two and a half

       7   days into that -- I certainly realize two and a half days is

       8   not a lot of time -- we provided Ms. Patel and Mr. Shaw with a

       9   draft of the objection, which was mostly identical to the one

      10   that got filed.    There was a couple of minor changes.       We then

      11   had a discussion with them.     I'm not going to, of course,

      12   reveal the substance of the discussion, but the purpose was to

      13   go over our thoughts before it was filed.       And we were told,

      14   as Ms. Patel said, that Mr. Terry was on vacation, and we

      15   didn't expect, after putting, as Ms. Patel said, a roughly 60-

      16   page objection, that they would be able to turn it around.

      17   Several days later, we called up Ms. Patel and Mr. Shaw,

      18   communicated orally a settlement proposal, told them that a

      19   settlement -- told them that an objection would be filed and

      20   offered to, at their convenience, to sit down and talk about

      21   the claims.

      22        We are still hopeful, Your Honor, in light of Ms. Patel's

      23   comments that we will receive a response, that we will receive

      24   a response.    And to the extent we can narrow the issues down

      25   and -- before mediation, I think those ought to be helpful.




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       1        We also spoke to Ms. Patel.     She had indicated she had a

       2   vacation scheduled.     At the time, I think we were starting to

       3   talk about mediation.     And the Debtor has no intention of

       4   mediating while litigating.     We don't believe that's an

       5   effective use of people's time.      So while it is on for August

       6   6th, to the extent Your Honor does order us to mediation and

       7   mediation occurs at the end of August, we would anticipate

       8   that the hearing on the claim objection would be set for some

       9   time in September.     But we are encouraged.

      10        We also, after the additional litigations were filed by

      11   Ms. Patel against Mr. Dondero and certain of the Debtor's

      12   employees, who are still current employees, we had suggested

      13   that it might make sense to have an abatement and a stay of

      14   those proceedings, given the interrelatedness of those

      15   proceedings and the matters in Acis's claim objection.         They

      16   initially rejected that, but I'm very happy to hear that their

      17   view now is that it does make more sense to try to see if we

      18   can coalesce around a mediation process without satellite

      19   litigation occurring.

      20        So we are -- we are, to the -- we're not a party to that

      21   litigation.    We weren't asked.    The first time we had been

      22   told that that litigation would be stayed was I heard it just

      23   a few minutes ago.     But we are very much in support of that

      24   and hope that the parties can coalesce around a mediated

      25   resolution as opposed to a litigated resolution.




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       1               THE COURT:   Okay.   Remind me again the amount of

       2   Acis's proof of claim.

       3               MR. POMERANTZ:   I will let Ms. Patel answer that

       4   because it's a little unclear and there are some -- been

       5   disputes in terms of who said what about it.       So I would ask

       6   Ms. Patel to remind the Court of what they're claiming.

       7               MS. PATEL:   Your Honor, on the face of our -- of the

       8   filed proof of claim, it states that the claim is in excess of

       9   $75 million.

      10               THE COURT:   Okay.   All right.   Anyone else wish to

      11   make a statement today?

      12        (No response.)

      13               THE COURT:   All right.   Well, as I said, I have a few

      14   questions, some I came in here with and some sort of popped up

      15   in my brain as I heard the presentations today.

      16        Mr. Pomerantz, I mean, I feel in many ways I have sort of

      17   only a 30,000-foot level understanding of certain things going

      18   on outside of the courtroom.      And here's what I mean by that.

      19   You made a comment that the Board, you know, had to deal with

      20   the destruction of the Debtor's business caused by the

      21   pandemic.    I think those were your exact words.     I would like

      22   to understand that better, because there was indeed a theme in

      23   your motion to extend exclusivity of, you know, one of the

      24   reasons we're not where we would like to be at this juncture

      25   is, among other things, you know, we had the pandemic hit.




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       1        I don't have a full appreciation of how that has slowed

       2   things down.    I mean, I know there was one specific comment

       3   that Jefferies issued margin calls and so that caused

       4   liquidity issues.    But other than that, I'm not -- I mean,

       5   yes, the capital markets fell off a cliff in March, but my

       6   impression, naïve as it may be, is that things have kind of

       7   bounced back after March.     So, tell me how the pandemic has

       8   had an effect in trying to get to resolution of issues and a

       9   plan.

      10              MR. POMERANTZ:    Absolutely, Your Honor.    So, as I

      11   think Your Honor knows in the calls, the Debtor's primary

      12   assets consist of two things.      One, public stock that it

      13   trades through a proprietary account in its select account,

      14   and other stocks, public stocks, which, as Your Honor

      15   mentioned, the pandemic roiled the stock market, and for the

      16   period of time in March and early April, given the fact that

      17   the Debtor had margin accounts, a substantial amount of the

      18   time spent primarily by Mr. Seery, who effectively started

      19   becoming a CEO at that time -- we'll deal with his motion next

      20   week -- if it wasn't for his efforts, his expertise and

      21   acumen, the result could have been a lot worse.

      22        So he's been spending a lot of time in dealing with

      23   Jefferies, because, as Your Honor is aware, with margin

      24   accounts, there is really limited protections that are

      25   available under the Bankruptcy Code, and the automatic stay




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       1   and other protections don't necessarily apply, and Jefferies

       2   could have turned around and sold all the stock.       So the value

       3   that was preserved took a lot of time and effort.       That was

       4   one area.

       5        The second area, Your Honor, is the Debtor's assets also

       6   include interests in private equity investments.       A lot of the

       7   Debtor's funds that it manages and which the Debtor has

       8   significant interest in have a variety of different companies.

       9   Each of those companies were dealing with the pandemic in

      10   their own different ways, whether it was addressing issues of

      11   applying for PPP loans, whether it was addressing employees,

      12   there's capital structure issues, each of them are potentially

      13   a Chapter 11 making all of their own.

      14        So, again, the type of effort and time that it took --

      15   again, principally, Mr. Seery, acting as CEO, but also, you

      16   know, the other Board members -- was a lot, to stabilize those

      17   investments and to make sure that they were not lost through

      18   actions by lenders or whatnot.

      19        And the third aspect is the Debtor manages funds, still

      20   manages funds and actively manages funds.      And managing funds

      21   that have principally financial-type assets in this

      22   environment has been extremely challenging.

      23        As Your Honor accurately mentions, over the last couple

      24   months the stock market has come to a little more stability.

      25   Whether that will remain is anyone's guess.       And during that




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       1   time, that's when a lot of the efforts that I've mentioned in

       2   terms of the claims work has been put back on.       But there was

       3   a month or two period during the pandemic, the early stages,

       4   that really impacted the Debtor's ability, and it was all-

       5   hands-on-deck to address those issues.

       6        At the same time, though, Your Honor, our firm was working

       7   on the extensive analysis that was required to, for example,

       8   address all the legal issues in connection with what I think I

       9   recall is a 34-count complaint by Acis; for our firm to get up

      10   to speed with respect to the UBS claim, which, as Your Honor

      11   heard a few weeks ago, spanned 11 years of litigation; and

      12   also to address the issues with Redeemer and be in a position

      13   that, as I mentioned before, we have reached a settlement.

      14        So, there were a lot of things going on.       We had hoped to

      15   be where we are now a couple of months ago.       But I think the

      16   Board, under the strong leadership of the Board and the strong

      17   leadership of Mr. Seery, has effectively stabilized the

      18   operations, and we have now been able to, the last couple of

      19   months, really turn to how do we get out of this case, as

      20   evidenced by the comments I made with the substantial effort

      21   that's been made in the plan and the substantial progress I

      22   think has been made on putting the Board in a position to sit

      23   down and have meaningful discussions with creditors

      24   (inaudible).

      25              THE COURT:   Okay.   I mean, again, I don't -- I don't




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       1   have a witness here, but, well, remind me, what do we have set

       2   July 14th?

       3              MR. POMERANTZ:    So, July 14th, Your Honor, we have

       4   two motions.    One is a motion to appoint Jim Seery as the

       5   chief executive officer.     Again, I will talk more about it in

       6   connection with that hearing.      If Your Honor recalls, as part

       7   of the term sheet in January, there was a recognition by the

       8   Committee and by the Debtor that instilling the Board was

       9   obviously critical.     It was critical to avoid this case going

      10   into a different direction.     And I think there was a

      11   recognition that it would be important that somebody stepped

      12   up and become the CEO.

      13        It was too early to tell whether that somebody would come

      14   from the Debtor's board, the newly-installed board, or someone

      15   else, but there was a contemplated process.       And while the

      16   first couple of months of the case were spent, again, on

      17   stabilizing operations, I think starting in mid-March and as

      18   we went on it was pretty clear that, of the three people on

      19   the Board, while all of them are providing invaluable services

      20   in leading the Debtor to where it is now, Mr. Seery was

      21   stepping up primarily because of his significant operational

      22   background in connection with these types of assets.          And he

      23   has essentially been working a couple hundred hours a month or

      24   thereabouts over the last few months doing the things I just

      25   alluded to, and the Debtor has determined to seek his




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       1   retention as a CEO.     Has had discussion with the Committee on

       2   terms.   They're not all finalized or resolved yet, but that

       3   hopefully will be uncontested by the 14th.

       4        Mr. Seery will also undertake the role of chief

       5   restructuring officer, which, as Your Honor recalls, we

       6   already have Brad Sharp as -- from DSI as chief restructuring

       7   officer.    They will essentially become financial advisor.       DSI

       8   has provided a valuable role to the Board and to counsel in

       9   this case.    But given that Mr. Seery will, if the Court

      10   approves the motion, become the CEO, it would make sense that

      11   he be the CRO as well, so it's a separate motion to

      12   essentially transmute the DSI representation from a CRO

      13   representation to a financial advisor representation.         So the

      14   two matters are on, Your Honor, but I've --

      15              THE COURT:   Okay.

      16              MR. POMERANTZ:    -- given Your Honor a preview.

      17              THE COURT:   Well, I'd like to hear testimony from

      18   both of them on the 14th, Mr. Seery and Mr. Sharp.

      19        Again, I -- I mean, ideally, we would have evidence at a

      20   hearing on a motion to extend exclusivity.       And I understand

      21   you didn't have any objections, you worked out essentially an

      22   agreement with the Committee.      So, I mean, I understand you

      23   didn't necessarily think that evidence would be needed.

      24        But I, again, you know, my understanding is 30,000-foot

      25   level.   I'm just trying to understand, you know, with three




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       1   wonderful independent board members and with a CRO and all

       2   these fantastic professionals, it just feels like we -- you

       3   know, multiple things could be going on at once, and I kind of

       4   feel like, you know, January 9th, six months ago, we had the

       5   independent board installed.     We had the protocol order with

       6   the Committee worked out, you know, which we call it a

       7   settlement, but it was mostly a mechanism to allow the

       8   Committee to have oversight and monitoring.       And it just feels

       9   like, January 9th, okay, then we were in a position to really

      10   start focusing on these big claims.      We knew it was Acis and

      11   we knew it was UBS, even though the bar date hadn't hit.         And

      12   it feels like to me we've -- I shouldn't say bought a lot of

      13   time, but a lot of time has gone by for not as many results as

      14   I would like.

      15        Tell me why I'm being unfair.     And, again, I go back to,

      16   okay, if it's the pandemic, help me to understand what it was

      17   about.   You know, I kind of got scared by that phrase you

      18   used, destruction to the Debtor's business caused by the

      19   pandemic.    I mean, I guess part of what I'm getting at here

      20   is, Has there been a massive loss of value by the Debtor

      21   caused by the pandemic, and that has been sort of a halting

      22   event to being able to talk about a plan?

      23               MR. POMERANTZ:   Well, Your Honor, I believe, and I

      24   actually went back to my notes, and I think I said disruption.

      25   I didn't say destruction.




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       1             THE COURT:    Oh.

       2             MR. POMERANTZ:      And if Your Honor heard destruction,

       3   --

       4             THE COURT:    I heard destruction.    Maybe I --

       5             MR. POMERANTZ:      -- or if I misspoke, I apologize.

       6   But there wasn't any implication of a destruction in the

       7   Debtor's business.     Again, financial assets did take a hit.

       8   There were some concerns in how, you know, to monetize those

       9   assets, the stock assets, and working through the Jefferies

      10   issues as well as the private equity issues.

      11        And look, Your Honor:     When the Board took over on January

      12   9th, I think they recognized soon after their appointment that

      13   there was a lot of stuff to do.      There was -- it was a really

      14   steep learning curve.    Highland, as people have described it

      15   in the hearings in this case, is an extremely complicated

      16   structure of companies.

      17        So, yes, perhaps things could have moved a little quicker.

      18   Your Honor does recall the early stages of the case, we dealt

      19   with motions for the appointment of a trustee by the United

      20   States Trustee.    There was other litigation over retention of

      21   professionals and others, which, you know, Your Honor has

      22   commented about in the past, and I think we're past that and

      23   beyond that.   But there has been a lot of work.

      24        And, again, on the claims work, the Board, to be

      25   independent, did not want to rely on the employees of the




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       1   Debtor in evaluating the various claims.      So that took a lot

       2   of time and effort.

       3        So, you know, look, I think you could look at it two ways.

       4   One way you could look at it, that it's been pending six

       5   months and we don't have a plan yet, we don't have the claims

       6   resolution.   I would -- and I tend to be a glass-is-half-full

       7   type of person -- I think the message that we are hearing

       8   today is that the plan process is on track.        We have resolved

       9   one of the three major litigation claims.      We have coalesced

      10   around a mediation process that people can get behind and

      11   hopefully have concluded at the end of August.       That the

      12   process is going to include not only the inbound claims

      13   against the company but potentially the claims by the company

      14   against some of the targets.

      15        I think there is reason for optimism at this point in the

      16   case.   And while, you know, I wish it was May and we were

      17   having this discussion, not July, I still think there has been

      18   a lot of groundwork that was prepared to get to the place

      19   we're here.   And, you know, the Board is laser-focused on

      20   getting results, and getting results quick.

      21             THE COURT:    Okay.   Let me follow on about the

      22   agreement in principle on the Redeemer claim.       They had an

      23   arbitration award.     So that doesn't sound like a major

      24   milestone to me, to be honest.     Tell me why I'm wrong about

      25   that.   They had an arbitration award.




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       1              MR. POMERANTZ:    Sure.   Your Honor, they do have an

       2   arbitration award, but there are several aspects of the

       3   arbitration award that needed negotiation and resolution.         A

       4   significant part of the arbitration award was the Debtor's

       5   obligation to repurchase some Cornerstone shares that Redeemer

       6   had for a certain dollar amount.      Well, obviously, the Debtor

       7   in bankruptcy doesn't have the ability to write a check to

       8   repurchase it.

       9        There was issues on the Debtor's ability to ultimately

      10   recoup different fees that the arbitrator had determined had

      11   been taken inappropriately that had to be repaid, and to what

      12   extent the Debtor would be entitled to a credit.

      13        So, by no means am I telling Your Honor that the Redeemer

      14   claims and issues were as difficult as the Acis and UBS claims

      15   and issues.    But there were a variety of issues, there were a

      16   variety of matters that had to be discussed.       You know, we

      17   worked cooperatively with Redeemer and with Jenner & Block.

      18   And we, again, have reached a resolution that is going to

      19   provide a face amount of a claim which is materially less than

      20   the claim that was on file.

      21        But Your Honor, by no means am I trying to convince Your

      22   Honor that this was the same type of work that needed to go

      23   into -- resolve the others.     But having said that, getting

      24   that claim resolved, which the Debtor believes is the largest

      25   legitimate claim against this estate, I think is an important




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       1   step forward that will lead towards hopefully the confirmation

       2   of a plan and hopefully spur on efforts from all the parties

       3   -- Acis, UBS, and the Debtor -- to try to make the same type

       4   of progress in their claims.

       5              THE COURT:    Okay.   All right.   My next question is, I

       6   mean, you've talked about -- I think it was the previous

       7   hearing I heard you say a term sheet had been provided to the

       8   Committee or going back and forth.       I mean, help me to

       9   understand what you're envisioning the plan is going to look

      10   like in this case.      I mean, I know there's a wide swing

      11   between UBS being owed a billion dollars and being owed

      12   nothing, and Acis being owed $70 million versus, you know,

      13   nothing or wherever you think the number should be, or the

      14   Debtor's board thinks the number should be.        I know, you know,

      15   these are giant questions.       But can you answer for me what

      16   you're envisioning?

      17        I mean, again, one of the pleadings said, you know, the

      18   plan should provide for orderly monetization of assets,

      19   provide for a process for resolution of claims, and pursue

      20   causes of action.    I mean, again, that's kind of 30,000-foot

      21   stuff.   Tell me what you're envisioning.

      22              MR. POMERANTZ:    Sure.   So, Your Honor, just to take a

      23   step back, we -- this case was filed not necessarily for the

      24   traditional reason that cases are filed.    There weren't operational

      25   fixes that needed to be done at the business.




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       1                THE COURT:   Right.

       2                MR. POMERANTZ:   There wasn't a capital structure that

       3   needed to be revised.

       4                THE COURT:   Right.

       5                MR. POMERANTZ:   Right?   So, as everyone knows, the case

       6   was filed because the Redeemer Committee got its arbitration award,

       7   to prevent execution on that.      Okay?

       8        We also had a very complicated business.      There are not many, I

       9   think, examples of asset managers around the country of the type of

      10   Highland Capital that actually go through a Chapter 11.      And it

      11   caused a tremendous amount of upheaval, of issues.      Your Honor,

      12   we've been dealing with the protocols on a daily basis with the

      13   Committee.    Your Honor has seen some of that.

      14        So while the hope was, from the beginning of the case, to end

      15   this case in a nice, tidy bow, get a resolution that would not only

      16   resolve everyone's claims but also try to resolve the claims that

      17   the estate had against third parties, as time was going by the

      18   parties realized that there was nothing more bankruptcy could

      19   provide this company.     This company right now has litigation issues

      20   to deal with that can be resolved with the help of the Bankruptcy

      21   Court, as appropriate, in connection with the claims process.      And

      22   the Board -- and the Committee, for that matter -- were looking at

      23   the substantial amount of fees that were being incurred by the

      24   Debtor professionals and the Committee professionals which were

      25   draining liquidity from the company and started to think, How can we




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       1   exit this case?   Even if we can't get what has been referred to by

       2   people as a grand bargain, how can we exit this case quickly and

       3   efficiently?

       4        So what really has to be done in terms of exiting the case?

       5   Coming up with a way to monetize the assets, a structure in which

       6   those assets can be monetized; not doing anything in the context of

       7   a plan process that would in any way interfere with the

       8   estate's obligations under the Advisers Act with the SEC or

       9   otherwise; and coming up with a governance structure of who's

      10   going to govern that.

      11        So the plan that is currently contemplated -- and it's

      12   more than a term sheet, Your Honor.      We have had numerous

      13   versions of the plan go back and forth.       We are right now

      14   waiting.   The pen is in the hand of the Committee.       We think

      15   we are very close to having a form of a plan and a form of a

      16   disclosure statement that would essentially contemplate some

      17   type of trust vehicle that would monetize the assets.         And the

      18   structure of how that trust would work, whether it's one

      19   trust, whether it's two, whether it's one trustee, whether

      20   it's two, how that trust would be governed, who would be on

      21   the governing board:     Those are all issues that are currently

      22   being worked out.

      23        At the same time, the company is doing a thorough analysis

      24   of every contract and every asset, to make sure that

      25   assignment provisions and contract provisions and regulatory




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       1   issues, that we don't somehow trip up in connection with the

       2   plan process.

       3        So, essentially, at its core and at its minimum, it will

       4   be transferring the assets into a monetization vehicle, some

       5   type of trust vehicle, which, again, the corporate and

       6   regulatory lawyers are working with us, with the bankruptcy

       7   lawyers, to figure out the appropriate way, given the nature

       8   of the Debtor's business, having an oversight board that has,

       9   you know, creditor support.     And if you ask Mr. Clemente,

      10   it'll be total creditor identification of the people, which we

      11   are in discussions of what the Board looks like after.         And

      12   monetization over time, and a way to resolve the claims over

      13   time.

      14        So that is essentially the concept.      Again, to the extent

      15   we can resolve the claims soon, to the extent we can work on a

      16   negotiation with Mr. Dondero to bring in liquidity so that

      17   creditors will not have to wait for the monetization of the

      18   assets, which a lot of these assets are not assets that are

      19   easily monetizable and it will take some time.       But it is --

      20   the Debtor feels strongly and I think the Committee feels

      21   equally as strongly that emerging from Chapter 11 with some

      22   type of vehicle to monetize the assets, governance and

      23   control, and a way to resolve remaining claims, that is the

      24   minimum that can and should be accomplished and that the

      25   Debtor is committed to accomplishing in short order.




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       1        If something else comes out of it where we get more,

       2   again, where the claims are resolved or where we have a grand

       3   bargain with Mr. Dondero, that's something we're going to

       4   strive for.    But at a minimum, it needs to be an asset

       5   monetization vehicle, governance, and a way to -- a structure

       6   to resolve claims.

       7              THE COURT:   Okay.   Asset monetization vehicle.      You

       8   know, subject to regulatory lawyers and corporate lawyers

       9   figuring out the exact mechanics, you're saying essentially

      10   put the business of Highland into a trust or trusts, and then,

      11   I guess, from cash flow of the business over time, the

      12   creditors would be paid?     Or are you saying something more

      13   than that?

      14              MR. POMERANTZ:    Well, again, I think it's on an

      15   asset-by-asset basis.     And, you know, Mr. Seery, you know, is

      16   -- has become very familiar with all the assets, now has a --

      17   ideas in mind which he's shared with the Board on how to best

      18   monetize the assets.     Some assets, there may be a quick sale.

      19   Some assets, it may be over time.      So it's a combination.

      20        This is not going to be a fire sale of the Debtor's

      21   assets.    It's not in the best interest of the Debtor, we

      22   believe.    It's not in the best interest of the creditors.       We

      23   don't think anyone is in favor of that.       It's dealing with

      24   each of the assets in an appropriate manner and figuring out

      25   how to monetize them, recognizing that given -- even though




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       1   the stock market has bounced back, the market for privately-

       2   owned businesses may not have bounced back as much.

       3        So it's figuring out with the appropriate people,

       4   appropriate governance structure, how best to monetize those

       5   assets, recognizing that creditors want to be paid and they're

       6   -- they don't want to be in the business of long-term holds.

       7   So, the Debtor gets that.       But it's really being a thoughtful

       8   approach on how to get the best value from those assets.

       9              THE COURT:   Okay.    There's nothing, though, being

      10   discussed as far as a big chunk of cash distribution up front,

      11   unless Dondero comes up with it?

      12              MR. POMERANTZ:    Well, potentially.    I mean,

      13   potentially, Mr. Dondero is a potential source of liquidity.

      14   There are some significant assets that may be able to be

      15   liquidated sooner rather than later.       So it's something that's

      16   in discussion.

      17        But the lion's share of the value for creditors is likely

      18   going to come over time, unless there is someone who, like Mr.

      19   Dondero, who is essentially willing to buy back the company.

      20   And that is something that's being explored.

      21        So, look, we've had a lot of transparency with the

      22   Committee.    We have weekly meetings, the Board and the

      23   Committee.    We just started a few weeks ago.     I think the

      24   professionals are working together.      They understand what the

      25   assets are in the estate.       So, to that end, I think we have




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       1   been working very cooperatively with our creditors over the

       2   last few months and we're just seeking to do it the best way.

       3        So nothing I've said today, nothing, you know, should come

       4   as and will come as a surprise to the Committee, but we're

       5   working better, recognizing that ultimately the creditors want

       6   to be paid, and doing that in an appropriate manner and a

       7   thoughtful manner is what the Debtor is committed to do with

       8   its partner, the Committee, in this process.

       9              THE COURT:   Okay.   Sort of jumping back, I forgot to

      10   ask earlier when we were talking about Acis:       Has the Fifth

      11   Circuit rescheduled oral argument on the appeal of the Acis

      12   confirmation order and order for relief?

      13              MR. POMERANTZ:   I believe -- Your Honor, maybe Ms.

      14   Patel would know off the top of her head.

      15              THE COURT:   Ms. Patel?

      16              MS. PATEL:   Your Honor, it was -- it was briefly -- I

      17   -- and I say briefly, it was briefly we had -- we got a notice

      18   at some point, I believe in early June, that the Fifth Circuit

      19   had reset oral argument.     And then approximately, I can't

      20   remember exactly, but it was like, I don't know, a week or

      21   maybe ten days later, we got a notice that it was cancelled

      22   again.   We have not received notice that it is rescheduled, so

      23   it is still pending.    But it has not been taken off oral -- it

      24   has not been taken off oral argument at some juncture.

      25              THE COURT:   Okay.   Well, I acknowledge that that is a




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       1   pandemic disruption for sure.      It would have been nice to have

       2   that resolved one way or another by now.

       3               MS. PATEL:   Agreed, Your Honor.     We were trying to

       4   figure out, frankly, in the week to ten days that it took from

       5   the scheduling to how it was cancelled, exactly how our team

       6   was going to get down to New Orleans.         And the -- I think the

       7   leading contender was to rent an RV and drive down so we could

       8   safely get there.    So it certainly has been a casualty of the

       9   pandemic.

      10               THE COURT:   Okay.   All right.    Two more questions.

      11   And this one has been a bit of a tough one for me to decide

      12   whether I should broach this topic or not.        You know, I read

      13   the newspapers, the financial papers, just like everyone else,

      14   and I saw a headline that I wished almost I wouldn't have

      15   seen, and it was a headline about Dondero or Highland

      16   affiliates getting three PPP loans.      And, you know, I'm only

      17   supposed to consider evidence I hear in the courtroom, right,

      18   or things I hear in the courtroom, but I've got this

      19   extrajudicial knowledge right now thanks to just keeping up on

      20   current events.    I decided I needed to ask about this.

      21        What can you tell me about this, Mr. Pomerantz?          I mean, I

      22   assumed, from less-than-clear reporting, that it wasn't

      23   Highland Capital Management, LP, but I'd like to hear anything

      24   you can report about this.

      25               MR. POMERANTZ:   So, look, Your Honor, the first I




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       1   could say is that, to my knowledge, Highland Capital, the

       2   Debtor, has not obtained a PPP loan.      I know there have been

       3   discussions with certain funds that basically have certain

       4   assets, private operating companies, about obtaining PPP

       5   loans.   I don't have the specifics for Your Honor.       I'm happy

       6   to provide that.

       7        Of course, to the extent Mr. Dondero, on any of his

       8   affiliated funds that are under the control of the Debtor, I

       9   would have no way of answering that, but I'm happy to follow

      10   up with that with the Board and report back to Your Honor in

      11   whatever appropriate manner you felt to obtain that

      12   information.

      13              THE COURT:   Okay.   Well, let's have a report on that

      14   on the 14th when we come in.      You know, maybe Mr. Seery or Mr.

      15   Sharp or some other person.     But you can probably imagine the

      16   different things going through my brain.       You know, well,

      17   first, let's see if it was -- you know, I don't -- again, I'm

      18   not expecting it to be Highland Capital Management, LP.          I

      19   would be beyond shocked if, you know, that somehow happened

      20   when they're in bankruptcy.     And, you know, I think it would

      21   require a 364 motion, just like any other borrowing, although

      22   I know it's kind of a forgivable loan.       Strange bird.

      23        But then if it's some affiliate of Highland, I still feel

      24   like we need some transparency and disclosure on that.          I

      25   mean, I -- and who were the human beings behind it.           It just




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       1   raises a lot of questions in my brain.       Anything else?

       2              MR. POMERANTZ:    Your Honor, would you mind saying

       3   what newspaper you found it in?      Because not everything one

       4   reads in the newspaper is accurate, but we will definitely --

       5              THE COURT:   Oh, yeah.   I know --

       6              MR. POMERANTZ:    -- follow up on it and --

       7              THE COURT:   Fake news really is a thing.

       8              MR. POMERANTZ:    I didn't say fake news.

       9              THE COURT:   Oh, I know, I know.     It's not really a

      10   good term.    But Business Insider?    Is that reputable?       Or no?

      11   I thought I saw it in one of the local papers, too.           I mean,

      12   someone tell me if that's, --

      13              MR. POMERANTZ:    We -- we --

      14              THE COURT:   -- you know, something unreliable.

      15              MR. POMERANTZ:    We will investigate it, Your Honor.

      16   I don't know what confidentiality restrictions would be on

      17   whether if any of those entities -- but we will get the

      18   information.    If there's any concern on confidentiality,

      19   perhaps we could have an in-camera on that.       But before we get

      20   ahead of ourselves, let me broach the issue with the Board and

      21   Mr. Sharp and then be in a position to act and respond more

      22   intelligently.

      23              THE COURT:   Okay.   My last topic is to come back to

      24   mediation.    I was surprised that Judge Jones' or Judge Isgur's

      25   staff expressed that they had availability.       They are the




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       1   busiest judges in the country right now.       I'm wondering when

       2   were they contacted.     Was it really recently, or a week or two

       3   ago?    Because they've probably gotten ten new mega-cases in

       4   the past two weeks.

       5               MR. POMERANTZ:   So, Your Honor, the last -- the last

       6   two weeks, again, probably since June 15th, we had been

       7   discussing the structure of a mediation.       We, the Debtor,

       8   proposed perhaps a combination of Judge Isgur and Jones.         We

       9   initially had that conversation with Mr. Clemente, and then we

      10   socialized it with the rest of the Committee members.         As of

      11   last Thursday, I believe it was, we had consensus that Judge

      12   Jones, and if available, also Judge Isgur, would make sense.

      13          I sent an email to Judge Jones' clerk, indicating that we

      14   had a hearing today, that it would be helpful if we got a

      15   response, and this morning, two hours before the hearing,

      16   Judge Jones' clerk responded and told Mr. Clemente and I that

      17   he is available and ready and suggested that we have a

      18   conference with -- again, I'm not sure if it'll be him or his

      19   clerk, to talk about availability.      Of course, we didn't want

      20   to go ahead and have that discussion until, you know, we got

      21   Your Honor's input on it.

      22               THE COURT:   Okay.   I mean, a couple of things come to

      23   mind.    One is I am just flabbergasted that they would have any

      24   availability.    I know they're -- I'm aware of Judge Jones

      25   doing hearings on weekends.




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       1        But second, I'm also concerned what is their idea of

       2   availability.    Because in order for a mediator to meaningfully

       3   help you on this, I mean, it's going to take not just hours

       4   but days of time, unless you want the mediator to just have a

       5   30,000-foot view.    And I mean, I just cannot imagine, --

       6              MR. POMERANTZ:    So, --

       7              THE COURT:   -- once again, that they would have days

       8   and days to come up to speed with, you know, 11 years of

       9   litigation or however long it was, not that long, with UBS,

      10   you know the years with Acis, you know, the various alleged

      11   claims and causes of action, and, you know, the Byzantine

      12   structure here.    I mean, you know, not that they have to be,

      13   you know, as educated as a judge presiding over litigated

      14   matters, but I just cannot imagine they could meaningfully

      15   spend time on this.

      16        So what are you all envisioning?      Because I know what I'm

      17   envisioning, and maybe we're not seeing it the same way.         I

      18   mean, what are you thinking?      That you'll go in and spend a

      19   day with, you know, maybe just each of you doing a 25-page

      20   white paper, and you'll either settle it by the end of the day

      21   or not, or what?

      22              MR. POMERANTZ:    So, let me start by saying that when

      23   everyone raised the issue of Judge Jones and Isgur, everyone

      24   had the same potential concern that Your Honor has mentioned.

      25   You know, my firm and me personally, I'm involved in a couple




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       1   of cases before Judge Jones now, significant cases.           So there

       2   was a concern.

       3        I think people also generally thought that if they

       4   accepted and they knew what they were getting into, they would

       5   want to do a good job and they'd have the time.

       6        We have not had the ability to have an extensive

       7   discussion.    That discussion could either occur with Mr.

       8   Clemente and myself speaking to the clerk or the judge, or if

       9   Your Honor -- nothing stops Your Honor from picking up the

      10   phone, speaking to Judge Jones and asking him as well.

      11        But I expect it to be a very intensive mediation process.

      12   I do understand that Judge Jones only does mediations in

      13   person, so this would require people getting to Houston,

      14   which, in my experience, while I have participated in

      15   mediations virtually on the phone, it's a lot more effective

      16   to be in person.    We would anticipate detailed mediation

      17   briefs.   We would envision each of the parties speaking to

      18   Judge Jones to give him their perspective.       But it would be --

      19   it would be a significant assignment.

      20        Again, whether we would conclude at the end of August, I

      21   don't know, but I would contemplate a good two, three days of

      22   in-person mediation at the end of August, and then probably,

      23   if necessary, to set up for something else, which, again,

      24   there are several different things.      And I mentioned in my

      25   opening remarks why I think people like Judge Jones -- and




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       1   this is also why we thought about Judge Isgur as well -- it's

       2   not often you have two mediators, but two mediators,

       3   especially judges who work together and who are pretty adept

       4   at mediation, I mean, you know, having a bankruptcy judge be a

       5   mediator is fine, but Judge Jones and Isgur, they have done a

       6   lot of that, and I understand have continued to do that,

       7   notwithstanding themselves getting busy.

       8        So I can't answer Your Honor's question of whether they

       9   know what they are getting themselves into.       I would hope that

      10   by, again, a combination, or Mr. Clemente and I speaking to

      11   them or Your Honor speaking to them, they would understand.

      12   And if they are willing to do it -- obviously, Highland is a

      13   high-profile case; I know judges, sitting judges, often like

      14   to help out their brethren who are sitting on the bench.         So

      15   if they are ready and able to do it, we'd think we'll have

      16   lucked out, and we think they would be great to aid the

      17   process.

      18        If for some reason they don't really appreciate or if

      19   Judge Jones doesn't appreciate what it is, then we can go back

      20   to square one, and, you know, I'm sure find other people as

      21   well.   But we'd like to sort of give it a shot.

      22              THE COURT:   Okay.

      23              MR. BJORK:   Your Honor?

      24              THE COURT:   Yes?

      25              MR. BJORK:   May I be heard?    This is Jeff Bjork with




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       1   Latham, hi, on behalf of UBS.       I apologize.    I just wanted to

       2   say that, from our perspective, we have concern, we raised

       3   this concern about Judge Jones or Isgur having the time to

       4   really evaluate the claims.       I mean, as you noted, our claim

       5   is complex, to say the least.       So is Acis's.   There's a lot of

       6   history behind it.

       7        And so while we appreciate the fact that there is a

       8   mediation process that will be moving forward, we have raised

       9   the prospect of having a separate mediator like Dan Weinstein

      10   or someone of that ilk to serve as a mediator with respect to

      11   our claim dispute, with the goal of trying to advance that in

      12   advance of August.

      13        So we have put that out to the Debtors.        We raised that

      14   today in advance of this hearing.       We're happy to progress

      15   that discussion.    But I wanted you to understand, from our

      16   perspective, we share your concern.

      17              THE COURT:   Okay.   Anyone else?

      18              MR. POMERANTZ:   So, just on that, Your Honor, --

      19              THE COURT:   Uh-huh.

      20              MR. POMERANTZ:   -- you know, we understood UBS's

      21   view.   We believe each of the other Committee members and the

      22   Committee believe Judge Jones would be the appropriate person.

      23   And, again, I think we're all I think somewhat in the dark

      24   here, and I think the next step is to really find out the time

      25   that they have available to devote to it.      And, again, if they




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       1   have the time to devote to it, I don't think Mr. Bjork could

       2   challenge that Judge Jones would be an excellent mediator and

       3   excellent to resolve a complicated issue like the UBS claim.

       4               THE COURT:   Uh-huh.   But you all cannot go down to

       5   Houston live anytime in the near future.      I don't know if

       6   you're reading.     Houston is pretty much like New York was two

       7   months ago.    It's -- well, the death rate is not as terrible

       8   because it's younger people getting it, but it's the hotspot

       9   for coronavirus right now.     And --

      10               MR. POMERANTZ:   And we understand that, Your Honor.

      11               THE COURT:   Uh-huh.

      12               MR. POMERANTZ:   And, again, you know, we're sitting

      13   here on July 8th.    A lot could change by August 25th.       A lot

      14   couldn't change.    I'm not, you know, I'm not sure there are

      15   other places in the country people like to travel to more.           I

      16   mean, you know, --

      17               THE COURT:   Uh-huh.

      18               MR. POMERANTZ:   -- there are several places that are

      19   hotspots.    It may be challenging to do an in-person mediation.

      20   I know on the Debtor's side we are committed to make it

      21   happen.   I might just ask Ms. Patel if she has the number of

      22   the RV company she was going to -- because maybe that's an

      23   appropriate way to get there.

      24               THE COURT:   All right.   So, well, let's see.    I was

      25   going to say you'd be quarantined 14 days after, but you're in




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       1   California, not New York.     New York, you know, has quarantined

       2   --

       3              MR. POMERANTZ:    Yes.

       4              THE COURT:   -- people traveling from Texas.        Well,

       5   and remind me:    August 25th.      That was just sort of an

       6   internal target date you all had created?

       7              MR. POMERANTZ:    Yeah.    It was around, you know,

       8   again, the end of August, you know, that we'd, you know, do

       9   around that time.

      10              THE COURT:   Uh-huh.     All right.   You know, I'm --

      11   I've been talking to lawyers in different cases, where the

      12   topic of mediation is being discussed, about more and more

      13   mediators, and this is private mediators, are becoming very

      14   adept with Zoom mediation.     And what I thought was noteworthy

      15   -- I hadn't thought through this, you know.        I thought, well,

      16   you can do mediation like this.       You know, if you can do court

      17   by video, why can't you do mediation by video, what's the big

      18   deal?   But there are private mediators who apparently have

      19   become every adept very fast at having these separate caucus

      20   rooms, okay?    So when you have mediation involving, you know,

      21   12 different constituencies, you know, the mediator will close

      22   out all the other conference rooms and go to these three

      23   people, and then close that out and go to these eight people

      24   in this other room.     And it just really hadn't occurred to me

      25   that, oh, if you're not live and in person, how do you that,




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       1   you know, the going back and forth from room to room?         And

       2   they've got some tricks worked out where some of them are

       3   doing that.    And I just don't know that any sitting judges are

       4   going to have that all worked out.

       5        I have a couple of names in mind.      And I have not talked

       6   to either of these folks, but I had thought of these people.

       7   You know, they're going to cost you money.       They're not going

       8   to be free mediators like Judge Jones and Judge Isgur.         But

       9   two people.    One, I had thought of retired Judge Jim Peck.          I

      10   don't know if he has availability, or, you know, a conflict or

      11   anything like that, but he's someone I happened to have gone

      12   to baby judge school with back in 2006, and, you know, have

      13   somewhat of a friendship with him.      And I thought of him

      14   because not only does he have a personality that I think might

      15   fit this situation, but, as you know if you ever had a case

      16   with him, I mean, he's just so very smart.       You know, he dealt

      17   -- handled the Lehman case.     You know, he's not going to be --

      18   he'll be a very quick study, is what I'm thinking, as far as

      19   whatever factual background he would need to assemble to get

      20   up to speed.

      21        And, again, I just worry -- and I'm going to get on the

      22   phone and talk to Judge Jones and Judge Isgur -- but I'm just

      23   really worried if they will devote the amount of time for this

      24   to have a meaningful shot at settling.

      25        Another name I thought of is a lawyer in Houston who was




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       1   at Weil Gotshal many years, Sylvia Mayer.       I don't know if any

       2   of you know her, but she pretty much does mediation and

       3   arbitration full-time now, and she is one of the people I am

       4   aware has mastered this Zoom separate conference rooms.          So,

       5   once again, you know, a very quick study, I think, my

       6   impression from past dealings with her.

       7        There may be many other names we could add to that list,

       8   but you might want to all kind of talk offline about those as

       9   well.

      10        But here's what I want to do.

      11        (Audio interruption.)

      12                THE COURT:   Was someone wanting to speak up?

      13        Okay.    I am going to think on this more between now and

      14   the 14th.     And, again, I'm going to be reaching out to Isgur

      15   and Jones, and might reach out to Jim Peck and Sylvia Mayer as

      16   well, just to have a lot of options out there.       And then we'll

      17   talk on the 14th about what my research has revealed in

      18   talking to these folks.

      19        So, everyone, just let's continue to think on this

      20   mediation thing.     But, again, I want this to be meaningful.

      21   I'm very worried that, you know, if all you get is one day,

      22   even a long day, with these folks, that it's just not at all

      23   realistic that there would be a chance at settling.           So I've

      24   really got to think on this.

      25        As far as the motions before the Court, I'm going to grant




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       1   the motion to extend exclusivity for 30 days.        Okay?    So,

       2   August 12th.    And no potential add-ons for two 30-day

       3   additional extensions, which, you know, the mechanism, I think

       4   you were hoping not to have to come back to the Court, that if

       5   the Committee agreed, you know, you could just automatically

       6   get up to 90 days.      I'm not quite clear.    But the point is I'm

       7   just extending to August 12th, and for now that's all I'm

       8   going to do.    Okay?

       9              MR. POMERANTZ:    Understood, Your Honor.

      10              THE COURT:    And we didn't talk about the other

      11   motion.    That was sort of a no-brainer, I think, as far as

      12   everyone was probably concerned, the motion to extend the

      13   period to remove actions.        The current deadline is July 14th.

      14   You're wanting to extend that out to January 14th, 2021,

      15   correct?

      16              MR. POMERANTZ:    Correct, Your Honor.

      17              THE COURT:    All right.    Is there anyone who wanted to

      18   say anything about that one?

      19        (No response.)

      20              THE COURT:    All right.    So that -- I think there's

      21   good cause to grant that motion as well.

      22        The only other thing --

      23              MR. POMERANTZ:    Your Honor, one --

      24              THE COURT:    Okay.

      25              MR. POMERANTZ:    One comment on what Your Honor said




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       1   about mediation.    Again, I had a dialog with Albert, Judge

       2   Jones' clerk.    We may want to get him on the phone, Mr.

       3   Clemente and I.    Of course, we won't do it if Your Honor

       4   doesn't think it's helpful.       But it might be helpful.    And,

       5   again, I didn't know if that was going to be with Judge Jones

       6   or if it was going to be with just his clerk, to talk about

       7   days or whatnot.

       8        But we'd be happy to get on the phone in order to give him

       9   the parties' perspective, which, look, we all agree this has

      10   to be a meaningful mediation.       And perhaps hearing it also

      11   from us in terms of what we expect and what we contemplate and

      12   what we think the issues might be and whatnot could be

      13   helpful.

      14        If Your Honor doesn't want us to do that, that's fine.

      15   But since I suspect his clerk will get back to me and say "Are

      16   you available?" to Mr. Clemente and I, I just didn't want to

      17   step on any toes and I wanted to check with Your Honor whether

      18   you want us to take that call or not.

      19              THE COURT:   Okay.   I got a little confused.      You're

      20   asking for a blessing to kind of continue the dialogue you've

      21   already started with their offices?

      22              MR. POMERANTZ:    Well, I'm just asking.    Again, I

      23   don't want to be presumptuous.

      24              THE COURT:   Uh-huh.

      25              MR. POMERANTZ:    The fact that Your Honor is calling




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       1   Judge Jones is important.       But I expect Judge Jones' clerk to

       2   get back to us and say, "Are you available to have a

       3   conversation?"    And I just want to know what Your Honor's

       4   pleasure is in terms of whether we should have it or not.          I

       5   think it might be helpful, but if Your Honor says, okay,

       6   you've brought it here, you want to take it over from here, I

       7   would obviously respect that.       But just, just wanted to come

       8   out of this hearing clear on what your expectations are in

       9   terms of that communication.

      10              THE COURT:   Okay.    I'll take it from here.      And if

      11   they call back, just say, you know, I understand Judge

      12   Jernigan is going to be calling Judge Jones directly.          And so

      13   -- but I'll get on the phone this afternoon, so hopefully

      14   there won't be any awkwardness on that.

      15              MR. POMERANTZ:   Thank you, Your Honor.

      16              THE COURT:   All right.    Anything else?

      17        The only other thing I was going to tie back to is I fully

      18   expect that there would be across-the-board agreement to abate

      19   the Acis newly-filed adversary, so I hope I would -- I don't

      20   even remember who all the defendants are, but please make that

      21   a priority, talking about that in the next few days, and

      22   report to me on that on the 14th.      Okay?    Ms. Patel?

      23              MS. PATEL:   From Acis's perspective, yes, Your Honor,

      24   will do.   I'm on -- I'm all over it.

      25              THE COURT:   Okay.    All right.    Well, if there's




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       1   nothing else, we'll go ahead and adjourn for today.           And I'll

       2   keep -- if there's anything worthwhile to report on the

       3   mediation front before we have our hearing on the 14th, I'll

       4   have my courtroom deputy reach out to all counsel by email and

       5   let you know.    Okay?   All right.

       6              MR. POMERANTZ:    Thank you very much, Your Honor.

       7              MS. PATEL:    Thank you, Your Honor.

       8              THE COURT:    Thank you.   We stand adjourned.

       9              THE CLERK:    All rise.

      10        (Proceedings concluded at 3:00 p.m.)

      11                                  --oOo--

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                                        CERTIFICATE
      20
                 I certify that the foregoing is a correct transcript to
      21    the best of my ability from the electronic sound recording of
            the proceedings in the above-entitled matter.
      22
              /s/ Kathy Rehling                                 07/09/2020
      23
            ______________________________________            ________________
      24    Kathy Rehling, CETD-444                               Date
            Certified Electronic Court Transcriber
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                              UNITED STATES BANKRUPTCY COURT

                           FOR THE NORTHERN DISTRICT OF TEXAS

                  BEFORE THE HONORABLE STACEY G. JERNIGAN, JUDGE

        In Re:                                         )   Case No. 18-30264-SGJ-11
                                                       )   Case No. 18-30265-SGJ-11
                                                       )   (Jointly administered under
        ACIS CAPITAL MANAGEMENT, L.P.                  )    Case No. 18-30264-SGJ-11)
        and ACIS CAPITAL MANAGEMENT GP,                )
        LLC,                                           )   DEBTORS' MOTION to FILE
                                                       )   REDACTED QUARTERLY REPORTS
                                 Debtors.              )
                                                       )   September 23, 2020
                                                       )   Dallas, Texas

         Appearances via video and/or telephone:

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        Digital Court                    United States Bankruptcy Court
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                          Debtors' Motion to File Redacted Quarterly Reports                      3

    1   Wednesday, September 23, 2020                                    11:02 o'clock a.m.

    2                               P R O C E E D I N G S

    3               THE COURT:       Last on our 10:30 docket is an Acis

    4   Capital matter.       It's a motion of Acis to file redacted

    5   quarterly operating reports.              This is in Case Number 18-30264.

    6               Ms. Chiarello, I see you there for the reorganized

    7   debtor, correct?

    8               MS. CHIARELLO:         Yes.    Good morning, Your Honor.

    9   Annemarie Chiarello here on behalf of Acis Capital Management,

   10   L.P. and Acis Capital Management, GP, LLC, the reorganized

   11   debtors.

   12               We also have with us on the phone and video, Joshua

   13   Terry.   Mr. Terry is a principal of the reorganized debtors.

   14   And I believe Ms. Patel is also on the video.

   15               THE COURT:       All right.       Thank you very much.

   16               For the U.S. Trustee, I believe I see Ms. Lambert

   17   there.   Correct?

   18               MS. LAMBERT:        Yes, Your Honor.

   19               THE COURT:       All right.       Good morning to you.

   20               Do we have —

   21               MS. LAMBERT:        Good morning.

   22               THE COURT:       — anyone else wishing to appear this

   23   morning on this matter?

   24         (No audible response.)

   25               THE COURT:       All right.       So we have, it looks like,


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                          Debtors' Motion to File Redacted Quarterly Reports                         4

    1   several people on the phone.            They may just want to observe, but

    2   I always want to double check that someone may be on mute and

    3   think they're appearing but they're not.

    4               So, Mike, can you — can you make sure everyone's off

    5   mute for a minute?        Are you able to do that?

    6               THE REPORTER:        Yes, ma'am.

    7               THE COURT:       Okay.     So everyone's off mute now.                   If you

    8   wish to appear and you haven't, go ahead.

    9               MR. LYNN:      Your Honor, are you able to hear me?

   10               THE COURT:       I can now.

   11               MR. LYNN:      I fear I can barely hear you.                   I'm going to

   12   dial in a second time and see if I get better reception.

   13               THE COURT:       All right.       Well, that's Mr. Lynn for Mr.

   14   Dondero.

   15               I can recognize your voice.               So we heard you.              And it

   16   sounds like you were going to try to change your device to get

   17   better audio.

   18               All right.       Anyone else wishing to appear?

   19               All right.       Well, Ms. Chiarello, are you making the

   20   argument this morning?

   21               MS. CHIARELLO:         Yes, Your Honor.

   22         (Noise.)

   23               MS. CHIARELLO:         May I begin?

   24               THE COURT:       You may.      And I just realized I left my

   25   exhibit notebook back in chambers.


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                         Opening Statement on behalf of the Debtors/Movants                       5

    1               So, May, can you go grab that?

    2               Okay, the law clerk's going to grab that.                        Thank you.

    3           OPENING STATEMENT ON BEHALF OF THE DEBTORS/MOVANTS

    4               MS. CHIARELLO:         Thank you, Your Honor.

    5               Good morning again.           Annemarie Chiarello here on

    6   behalf of Acis Capital Management, L.P. and Acis Capital

    7   Management, GP, the reorganized debtors.                  We're here on Acis'

    8   motion to file its quarterly operating report under redaction.

    9   That motion was filed at Docket Number 1161.                     The two objecting

   10   parties that we have today are the United States Trustee's

   11   Office and we believe Mr. Dondero filed a comment rather than

   12   formal objection.

   13               And, before we get any further, this Court has heard

   14   days, weeks, months of testimony in this case.                      Undoubtedly

   15   you're aware that Mr. Dondero is not a creditor or an equity

   16   holder in the debtor, at least not the named equity holder,

   17   former or otherwise, in the debtor.                So we'd just like to

   18   reserve our right to object to Mr. Dondero's standing to be

   19   heard today.     I'm happy to go into that further.                     I thought it

   20   may make sense to present to you our opening argument and then

   21   address the standing as the last issue, but I'm happy to address

   22   it whichever way you'd like.

   23               THE COURT:       Let's defer that for now, so you may go

   24   ahead with your opening, your other issues.

   25               MS. CHIARELLO:         Your Honor, we're here on a 107(b)


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                         Opening Statement on behalf of the Debtors/Movants                        6

    1   motion, a motion to really file our quarterly operating reports

    2   with limited information available to — on the public docket.

    3   We don't believe there's any dispute as to the standard that's

    4   applicable.     And the United States Trustee, who has filed a

    5   substantive objection, we agree on the standard.                        We don't

    6   believe Mr. Dondero disagrees with the applicability of the

    7   standard here, but again it's under 107, at the request of a

    8   party-in-interest the Bankruptcy Court shall protect information

    9   that is confidential or commercial information.

   10               And, as a threshold matter, we're — we're sorry for

   11   wasting — or using the Court's time for this.                     I know Acis has

   12   taken up a lot of your time in the last few years.                         And we tried

   13   to reach a practical solution with respect to this issue.                             If

   14   Your Honor had looked through our exhibits or the docket, you

   15   will see that initially Highland Capital Management filed a

   16   lengthy objection to this — to this motion and ultimately they

   17   withdrew their objection after coming — after we worked on a

   18   stipulation that was agreeable to each party.                     It's in your

   19   exhibit notebook at Exhibit A.             And I really think that's

   20   demonstrative of what we're trying to do here.

   21               So as Your Honor is aware, Acis had limited creditors

   22   during its bankruptcy case and few remaining creditors that need

   23   to be paid through the plan of reorganization.                      There are really

   24   only four remaining creditors, three of which are disputed and

   25   subject to claim objection.            Those are Hunton Andrews Kurth,


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                          Opening Statement on behalf of the Debtors/Movants                       7

    1   Stinson Leonard, Highland Capital Management, and then the

    2   remaining nonobjected-to creditor is Mr. Terry's claim.                             So

    3   today we have no creditors who are objecting to the relief that

    4   we're requesting, but I do think the presence of Mr. Dondero,

    5   whether or not this Court decides to grant him — or decides to

    6   hear him on his — on his comment, is really illustrative of our

    7   problem.

    8              Mr. Dondero's objection highlights that noncreditors

    9   may misuse the information in Acis' quarterly operating reports.

   10   We know Mr. Dondero doesn't want this information in order to

   11   see if the plan is being complied with as an essential creditor

   12   or a party-in-interest.           We don't know why Mr. Dondero is

   13   objecting, but we don't believe his actions are benevolent.

   14              As a reminder, this case is postconfirmation and we

   15   only have four remaining creditors.                 And our motion does not

   16   request that the Court permit Acis to redact information on the

   17   QORs related to payments to creditors.                  We're asking the Court

   18   to permit Acis to redact information related to its business

   19   operation.     We are concerned that Dondero-controlled entities

   20   are going to misuse this information.

   21              We are concerned that the Donor Advised Fund; the

   22   Charitable DAF Devised Fund, L.P., which we've referred to as

   23   the DAF; and CLO HoldCo, again has been referred to as part of

   24   the DAF structure; and entities controlled by Grant Scott, Jim

   25   Dondero's college roommate, are going to use information in the


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                         Opening Statement on behalf of the Debtors/Movants                       8

    1   Acis unredacted QORs to sue parties related to the Acis CLOs,

    2   including U.S. Bank, Brigade, and Moody's.                   And this concern has

    3   come to fruition as multiple times in the last year U.S. Bank;

    4   Moody's; Acis Capital Management, L.P.; Brigade; and even Mr.

    5   Terry individually have been sued by the DAF, CLO HoldCo, or

    6   both.

    7               We understand the United States Trustee's concern

    8   about setting precedent for sealing QORs, but we do think here

    9   the facts matter.        And we'd like to highlight again that there

   10   are no objecting creditors.            The creditors remaining are two law

   11   firms who are capable of filing objections; Highland Capital

   12   Management, who we have agreed to provide this information in a

   13   form that we believe protects the confidentiality of the

   14   information.

   15               And, Your Honor, if you take a look at the

   16   stipulation, you will see that, generally speaking, we provide

   17   the — the — and that's at Exhibit A, we're providing that — the

   18   Acis QOR information to:           The Highland Capital Board; and

   19   Pachulski, debtors' counsel for Highland Capital Management; and

   20   their restructuring advisor, Development Specialists, Inc., but

   21   we have prevented that information from living on the Highland

   22   Capital Management server because we have — as Your Honor is

   23   aware in this Highland Capital Management case there have been

   24   some issues about what lived on the Highland Capital Management

   25   server, who has access to it, and which of the Highland entities


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                         Opening Statement on behalf of the Debtors/Movants                       9

    1   gets to control that information.               And ultimately we want to

    2   make sure that this information can't be misused by Mr.

    3   Dondero's entities.

    4               Again we're not trying to limit this information from

    5   other courts or actual creditors.               Our goal is to reduce

    6   frivolous and expensive litigation that is bad for the Acis CLOs

    7   and has aided Acis' ability to reorganize.                   We are not

    8   attempting to limit legitimate discovery in another court or we

    9   are not trying to limit the United States Trustee's access to

   10   this information.        If you take a look at our proposed order, it

   11   provides that it should be given to the United States Trustee's

   12   Office.

   13               And with that, Your Honor, unless you have any

   14   questions, I'd like to move to Mr. Dondero's standing or lack

   15   thereof.

   16               THE COURT:       All right.       Go ahead.

   17               MS. CHIARELLO:         So as Your Honor's aware, under

   18   Section 1109(b), there is a very broad party-in-interest

   19   standard with respect to being heard in a bankruptcy matter.

   20   And there are — there are enumerated parties including

   21   creditors, obviously the United States Trustee under a different

   22   statute, the debtor, certain parties-in-interest.                        But Mr.

   23   Dondero is not a creditor and he is not an equity holder in the

   24   debtor, nor is he former equity in the debtor.                      At this point he

   25   is merely a litigation counterparty.


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                         Opening Statement on behalf of the Debtors/Movants                         10

     1              And if you take a look at our Exhibits C through V,

     2   those are the debtors' schedules and — schedules and claims

     3   registry which show that Mr. Dondero is not a creditor or — and

     4   is not looked at as an equity holder, and has not filed a proof

     5   of claim against the debtor.

     6              Judge Bohm, faced with a similar situation in 2016,

     7   found that a litigation counterparty was not a party-in-interest

     8   has standing to be heard in a postconfirmation matter.                            So that

     9   case is In re Odin Demolition and it's at 544 B.R. 615.                            In that

    10   case Judge Bohm, was faced with a motion to reopen a bankruptcy

    11   case after litigation had been brought pursuant to a plan.                            The

    12   party that moved to reopen the bankruptcy case was actually the

    13   defendant in the matter, really seeking to make sure that they

    14   were to have an order clarifying whether certain claims and

    15   causes of action had been reserved properly under the plan.                            And

    16   in that case Judge Bohm denied the litigation counterparty's

    17   motion to reopen for, among other reasons, that they didn't have

    18   standing as a noncreditor to reopen the bankruptcy case and as a

    19   party — as an entity that was not a party-in-interest.                            And we

    20   believe that Mr. Dondero is in the same category.

    21              At the very — at the very least, I think Mr. Dondero's

    22   arguments should be — should be faced with some suspicion.                            And

    23   we'd like to highlight that although it was quite some time ago,

    24   we don't see Mr. Dondero on the video or the phone, and we do

    25   have a standing order in this case with respect to presenting


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                             Opening Statement on behalf of the U.S. Trustee                      11

     1   argument.    As you have — you at one point required under — under

     2   Order 36- — Docket Number 36 — 336, you required party

     3   representatives to be at every hearing if the parties were going

     4   to take a position.

     5               So for all of those reasons we don't believe Mr.

     6   Dondero's comments should be heard.                But to the extent that Your

     7   Honor does intend to indulge Judge Lynn and Mr. Dondero, we — we

     8   object and we dispute the contentions that Acis had or may

     9   misuse its role on the Highland Capital Management Committee to

    10   do anything nefarious.          I don't think there — there's no

    11   evidence that that's occurred and it's, frankly, particularly in

    12   light of concurrent events, it's rather insulting to insinuate

    13   that there's been any — anything nefarious going on there.

    14               THE COURT:       All right.       Thank you, Ms. Chiarello.

    15               I'll hear next from the U.S. Trustee, Ms. Lambert.

    16             OPENING STATEMENT ON BEHALF OF THE U.S. TRUSTEE

    17               MS. LAMBERT:        Judge Jernigan, —

    18               THE COURT:       Okay.

    19               MS. LAMBERT:        — as Acis has stated, the parties are in

    20   agreement about what the legal standards are and really about

    21   most of the facts, but not about what the legal conclusion here

    22   is or what the appropriate remedy is for the problem.

    23               Acis contends that none of the creditors are here.

    24   First, the United States Trustee contends that this is a public

    25   document that the public is entitled to have access to; that


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                           Opening Statement on behalf of the U.S. Trustee                       12

     1   professors, government agencies, Congress use to evaluate

     2   whether plans are being complied with and whether the Bankruptcy

     3   Code is being performed successfully as applied.

     4              Secondly, two of the creditors that are subject to

     5   objection are law firms, so they're in an awkward position to

     6   object to their former clients' position, number one.                            And,

     7   number two, because the information has been redacted, they

     8   don't really have the ability to assess what the information is

     9   or speak as to whether they need it.               And in the context of

    10   objected-to proofs of claim, where the plan contemplates

    11   payment, they are entitled to know whether there is a reserve

    12   for them or not.      This they cannot access and evaluate from the

    13   information that's been provided.

    14              This information is typically disclosed in bankruptcy

    15   cases, in large forfeit cases; confidential information is often

    16   disclosed in individual cases.            That information may lead to

    17   litigation.    The parties to contracts are entitled to know

    18   whether their contracts are being complied with.                       Undoubtedly,

    19   the DAF litigation has been a series of annoying and costly —

    20   costly litigation events.          We don't question that, but the

    21   proper remedy for that is to seek some relief in this Court by

    22   asking that the Court enforce the interpretation of its order

    23   and its prior interpretation of the DAF agreement — the DAF

    24   litigation issues and seek to have any complaint in another

    25   forum enjoined or require that the litigation be filed here in


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                            Opening Statement on behalf of the U.S. Trustee                         13

     1   the Acis bankruptcy case, not that the public be denied access

     2   to the information, because that does not comply with the

     3   standards that the Constitution requires for public access to

     4   the court as discussed in the Nixon case and as interpreted in

     5   the statutory context of 107 and 9018 and in the cases that

     6   discuss how those should be applied in a constitutional context

     7   such as a line — (brief garbled audio).

     8               Alternatively, if the Court is inclined to do this,

     9   and this started as a motion to seal, which was withdrawn, and

    10   then Acis filed a motion to redact, and we hoped that the

    11   redactions would be more limited, but the redactions go to the

    12   substantive information in the case.                You cannot evaluate

    13   compliance with the plan under the redactions that — that are

    14   set forth in the proposed orderly operating reports.                          You cannot

    15   tell from quarter to quarter where the money is or what's been

    16   paid or what has happened.            And that's where we get to.

    17               This is not information that can be tailored for this

    18   case.   And, therefore, it's not really a redaction.                         It's really

    19   a motion to seal.        The fact — the information that they provide

    20   is about the claims that have not been paid, but let's — that

    21   information is accessible otherwise in the bankruptcy reports,

    22   in the claims register, and in the objections to claims.                             The

    23   information that's not available to creditors and to the public

    24   is the information that's been redacted about the finances in

    25   the case.


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                             Opening Statement on behalf of the U.S. Trustee                       14

     1              So often fraudulent transfers, whether prepetition or

     2   postpetition, are disclosed in operating reports.                         The

     3   bankruptcy processes is not designed to cover up litigation

     4   issues.   Here, the allegation is that the litigation issues are

     5   frivolous, and that may be true, but the remedy for that is

     6   different than sealing the quarterly operating reports.

     7              And for these reasons we would ask that the motion be

     8   denied or, alternatively, if the Court is inclined to do this,

     9   that the Court define a period of time for unsealing the

    10   quarterly operating reports, because, as set forth in the case

    11   law and in the Federal Judicial Center Guide, generally, orders

    12   to seal should define a period for unsealing them; and — and

    13   also that the Court allow the United States Trustee to comply

    14   with its ethical and statutory obligations, in that the Court

    15   include the standard language that it would include in sealing

    16   orders for that purpose.

    17              However, we still contend that the evidence will

    18   reflect that the sealing should not occur and that this is bad

    19   precedent for bankruptcy cases and especially large corporate

    20   cases.    I'm available if the Court wants more.                     Thank you.

    21              THE COURT:         All right.       Ms. Lambert, I'm going to ask

    22   you a follow-up question.            You just said it would be bad

    23   precedent.     Have you ever seen either redaction of or sealing of

    24   either monthly operating reports or quarterly operating reports

    25   in a Chapter 11?        I've never, that I can remember, had anyone


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                           Opening Statement on behalf of the U.S. Trustee                       15

     1   ask me to do this, so I've never looked into it.                       Is this

     2   something that is occasionally happening and I'm just not

     3   experiencing it till now, or do you know?

     4              MS. LAMBERT:        No, Your Honor.         In fact, Mr. Neary,

     5   when I discussed this motion with him, said that he had never

     6   seen this before either.          We are aware of some circumstances

     7   where particular line items in quarterly operating reports have

     8   been redacted, but never something substantive or that caused an

     9   inability to access, to evaluate, or determine what had happened

    10   in accordance with the plan.

    11              Similarly, the Court asked about monthly operating

    12   reports, no, we have not seen that before.                  As is pointed out in

    13   other pleadings that were filed, the SEC also requires

    14   disclosure of this type of information in large corporate cases.

    15              I can, however, Your Honor, think of two Chapter 7

    16   cases where large settlements were sealed and the final reports

    17   were sealed.    Both of those resulted in discussions with the

    18   U.S. Trustee about this should not have occurred and we request

    19   that it not occur again.          And there were provisions for

    20   unsealing them at a subsequent date.               That is the only

    21   circumstance which I feel ethically I'm bound to disclose to the

    22   Court that I can think is analogous to this.

    23              THE COURT:       All right.       Well, I ask and I'll just tell

    24   you all what's dancing in my head.              I mean bankruptcy judges,

    25   we've been talking for a couple of decades now about, you know,


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                            Opening Statement on behalf of James Dondero                         16

     1   these motions to seal or motions to heavily redact.                         They seem

     2   to be coming with more and more frequency in the large Chapter

     3   11 complex cases.

     4              And, you know, I'm about to hear from Mr. Lynn, but in

     5   the Highland case of course I had a motion to seal the plan and

     6   disclosure statement because of pending mediation.                        And I

     7   approved that under the very unique situation that I thought it

     8   was, but I've never sealed a plan and disclosure statement

     9   before.

    10              And, again, it's a subject that causes I think all of

    11   us bankruptcy judges angst because we do have this general

    12   notion, not just a notion, a statute, 107, that presumes

    13   everything is publicly available, again unless commercial

    14   information, scandalous, confidential.                So there's kind of a

    15   perception that more and more and more people are wanting to

    16   avail themselves of 107 and say something's commercial, say

    17   something's sensitive, confidential.               But, you know, sometimes

    18   it's very questionable.

    19              All right.       So with that, Mr. Lynn, are you there?

    20   Your client's standing has been challenged, first and foremost.

    21   Why don't you start there and then we'll see where we go from

    22   there.

    23              MR. LYNN:      Your Honor, can you hear me?

    24              THE COURT:       I can, yes.

    25              OPENING STATEMENT ON BEHALF OF JAMES DONDERO


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    1               MR. LYNN:       Okay, good.        Well, I had hoped to break in

    2   earlier because I could have, I think, solved some of this

    3   problem.    Let me begin by saying Mr. Dondero is the portfolio

    4   manager for certain funds that have an interest in CLOs that

    5   Acis manages.       So indirectly he has an interest in there.

    6   However, he does not have a direct interest in this.                           And we

    7   filed the four comments rather than a response or an objection.

    8               We agreed with the United States Trustee, although we

    9   do not agree with some of her comments regarding DAF litigation

   10   that occurred after the confirmation of the Acis plan, which we

   11   think is probably beyond the jurisdiction of the Bankruptcy

   12   Court.

   13               We also don't agree with the rude characterizations of

   14   Mr. Dondero and the angelic characterizations of Mr. Terry that

   15   counsel for Acis mentioned.             However, we don't have any

   16   particular interest in whether or not this motion is granted

   17   other than on a precedential level.

   18               THE COURT:        All right.       Well, Ms. Chiarello, I'm going

   19   to ask you:      Do you — do you intend to put on any evidence

   20   today?     And you know you have a notebook full of exhibits, but

   21   is your client perhaps going to testify on this?

   22               All right.        We're — I guess you were muted.                      If you

   23   could unmute — go ahead.

   24               MS. CHIARELLO:          Oh, yeah.       Yes, Your Honor, we intend.

   25   As a threshold matter, we would move to admit Exhibits A through


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     1   W, which are in your binder and with the caveat being I believe

     2   Ms. Lambert wanted to make clear that Exhibits C through K are

     3   not admitted for the truth of the matter asserted therein but

     4   merely to show that they have been sent and the contents.                             But

     5   obviously, particularly with respect to the DAF complaint, we

     6   obviously would contest the truthfulness of the matters asserted

     7   in those.    And the same caveat for Exhibits Q through T.                           And,

     8   with that, we would move to admit Exhibits A through W.

     9               THE COURT:       All right.       Are there any objections, Ms.

    10   Lambert?    If you could unmute yourself.

    11               MS. LAMBERT:        The agreement is as stated by Ms.

    12   Chiarello so that the exhibits that she carved out are admitted

    13   for notice purposes but not for the truth of the matter

    14   asserted.    That includes the proof of claim register.                           And the

    15   other items are admitted for all purposes.

    16               THE COURT:       All right.       So to be clear for the record,

    17   I'm admitting A through W, but C through K and Q through T are

    18   being admitted for notice purposes only, not for the truth of

    19   the matter asserted.

    20         (Debtors'/Movants' Exhibits A through W received in

    21   evidence, as noted above by the Court.)

    22               THE COURT:       Ms. Chiarello, could you tell me, do we —

    23   were these filed on the docket so I can cross-reference that or

    24   do I just have the hard copies?

    25               MS. CHIARELLO:         Your Honor, they are filed with the


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     1   docket.   And I believe your hard copies, although it's hard to

     2   tell for the first few because there are things that were filed,

     3   the filings on filings, they should have the file mark copies as

     4   well on the top.      So, for example, if you go to Exhibit T, it

     5   should have the 1180-21.          So I believe then that these were all

     6   filed at Docket Number 1180.

     7              THE COURT:       Okay.

     8              MS. CHIARELLO:         So if it's 1180 —

     9              THE COURT:       All right, I gotcha.

    10              MS. CHIARELLO:         — 1180-1 through 26.

    11              THE COURT:       You know that I need to give the court

    12   reporter hard copies of all this, and the answer is no.                            These

    13   are all found at Docket Entry Number 1180 on the Acis docket.

    14              All right, with that, —

    15              MS. CHIARELLO:         Yes, Your Honor.

    16              THE COURT:       — call your witness.

    17              MS. CHIARELLO:         Yes, Your Honor.

    18              Your Honor, if it would — I believe Ms. Lambert has —

    19   doesn't have any objection to — or objection to the

    20   admissibility of our exhibits.            If you would be amenable to it,

    21   we'd like to walk through some of what those exhibits are to

    22   limit the amount of testimony from Mr. Terry.                    But if you'd like

    23   to hear from Mr. Terry first, we can offer you that.

    24              THE COURT:       No, that's fine.          You can walk through the

    25   exhibits first.


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     1               MS. CHIARELLO:          Okay.     Do you mind if I share my

     2   screen?

     3               THE COURT:        Go ahead.

     4               MS. CHIARELLO:          Okay.     Can you see it?

     5               THE COURT:        Um-hum.

     6               MS. CHIARELLO:          Okay.     So we've moved in as Exhibit A

     7   the stipulation between Acis and Highland Capital Management,

     8   refers us to the Acis QOR.             As I mentioned earlier, you will see

     9   in paragraph 3 that the parties that have the — or who the

    10   information is being made available on a confidential basis are

    11   Pachulski Stang Ziehl and Jones; Mr. Seery; Mr. Nelms; Mr.

    12   Dubel; and Highland's bankruptcy advisor, Development

    13   Specialists, Inc.; Mr. Dondero; the Charitable Donor Advised

    14   Fund; and CLO HoldCo are parties that the Viewing Parties are

    15   prohibited from disclosing this information to.

    16               Next, — next we'll move to Exhibit B, which is the

    17   Acis — and I'll put up in one moment — which is the proposed

    18   redacted exhibit — I'm sorry — redacted quarterly operating

    19   report with respect — showing the information that we are and

    20   are not redacting.         So, again, this is postconfirmation, so

    21   these operating reports are somewhat limited.                      But we'd be

    22   redacting information related to Acis' cash receipts, but for

    23   cash disbursements, creditors can see the payments made under a

    24   plan.     And — and then the remaining information would be

    25   redacted as it — again, this is the backup for, again, the cash


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     1   disbursement.

     2              So I'm going to move through Exhibit C through E and G

     3   all at once.    First, for purposes of today, I'll pull this up,

     4   but I know Your Honor has a — I'll pull up G, but you have all

     5   of them in front of you.          So these are the DAF lawsuits that we

     6   have been discussing.        There are a number of iterations of them,

     7   the most recent which is Exhibit G.

     8              So you take a look at these and the plaintiffs are

     9   either CLO HoldCo or the Donor Charitable Advised Fund.                            It

    10   sounds from Judge Lynn's comments that Mr. Dondero may serve in

    11   some capacity with respect to these entities, but you — you have

    12   heard these mentioned as the DAF.              They assert that they are

    13   interest — or they hold an interest in the Acis CLOs either

    14   directly or indirectly.         And, generally speaking, this

    15   litigation alleges misconduct related to the Acis CLOs and

    16   misconduct related to the Acis bankruptcy case.

    17              With respect to the mismanagement, it will sound

    18   familiar to Your Honor as it's quite similar to the

    19   mismanagement alleged by Highland Capital Management during

    20   Acis' bankruptcy case, an objection that this Court overruled

    21   when it confirmed Acis' plan of reorganization.

    22              So the parties to these lawsuits, which admittedly

    23   have changed, this is probably the most fulsome one, include

    24   U.S. Bank; Moody's; Acis Capital Management, which is of course

    25   our debtor, our reorganized debtor; Brigade Capital Management,


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     1   L.P., which is the debtors' subadvisor; and Mr. Terry

     2   individually.

     3              I think what's most notable — or maybe most

     4   interesting, maybe not most notable, just how — how interesting

     5   this litigation has become.             So one of the causes of action that

     6   is present here is actually a defamation claim against Moody's.

     7   And the defamation claim is quite surprising, particularly in

     8   light of who is bringing this cause of action.                       So the Acis, the

     9   DAF, and CLO HoldCo, who allege that they are noteholders in the

    10   Acis CLOs, are actually suing Moody's for not downgrading their

    11   investment.      So that's at page 26 of Exhibit G.

    12              And, again, this is — this is more — I mean it's

    13   really just litigation for whatever value it is.                         At some point

    14   this litigation was dismissed.              If you look at Exhibit H and F,

    15   those are dismissal orders.             I will note they were dismissed

    16   without prejudice in February of 2020.                  However, the — if you

    17   take a look at Exhibit J, you will see — now I have to

    18   understand how to switch between these exhibits — so Exhibit J

    19   is actually dated April 20 — 21, and it's a letter from Mr.

    20   Hurst, counsel for the DAF entities, to U.S. Bank, basically

    21   raising the same concerns related to the mismanagement of the

    22   Acis CLOs.     So this letter was sent after the litigation was

    23   dismissed, so I don't think we — we don't see the dismissal as

    24   anything other than a strategy, if you will.

    25              Again we have another letter now on this Exhibit K,


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     1   which is a letter from Grant Scott on behalf of the Donor

     2   Advised Fund, L.P.       So this is a letter from Mr. Scott to Seward

     3   and Kissel, who were counsel for U.S. Bank in this — actually in

     4   this bankruptcy case.        I believe they're on the telephone.

     5              And Mr. Scott is a patent lawyer.                    You can tell from

     6   his letterhead.      And he is Mr. Dondero's college roommate.                          And

     7   he is, again, alleging these same sort of issues related to the

     8   Acis CLOs and Acis' performance.             If you take a look at the

     9   third paragraph you can see his concerns.                 And — and all of

    10   these letters request an accounting from the Acis CLOs.                            We

    11   don't necessarily know why.           We obviously have suspicions, but

    12   we think they're — they're asking for certain information.

    13              And if you take a look at — this is — Exhibit L, you

    14   will see Mr. Kotwick's response to Mr. Scott with respect to the

    15   requested information.         Effectively Mr. Kotwick responds that

    16   under the documents, the DAF and CLO HoldCo aren't entitled to

    17   this information.       So we really see this as an end-run for Mr.

    18   Dondero and his entities to get information that they would not

    19   otherwise be entitled to under their documents.                      And,

    20   unfortunately, we believe that this is also bolstered by

    21   requests we have received previously from counsel to Highland

    22   Capital Management prior to the entry of the stipulation, and

    23   those are Exhibits I and M, again requesting really detailed

    24   financial information from Acis, which we believe is unrelated

    25   to plan performance.        And we can talk about plan compliance in a


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     1   moment.

     2              And, finally, Your Honor, I think it's worth noting

     3   that there are two transcripts at Exhibits N and O.                         Both are

     4   transcripts actually from the Highland Capital Management

     5   bankruptcy case.      And Exhibit N is a transcript from the

     6   February hearing on the motion to employ Lynn Pinker — I'm sorry

     7   — Foley Lardner, and it was originally intended to be a hearing

     8   on a motion to employ Lynn Pinker Cox and Hurst.                       And so at page

     9   59, Judge Nelms testifies that the Highland Capital Management

    10   Board was not aware of this DAF litigation.                     So we don't take a

    11   lot of comfort in knowing that the Board — it's not that the

    12   Board can control this litigation, at least that hasn't — and

    13   that's not what has been demonstrated.                We hope — we hope that

    14   they can exert their influence here, but we don't know that that

    15   necessarily is within their purview.

    16              And this is further illustrated by actually a comment

    17   from last week.      Now I'm in Exhibit O.            And so if you look at

    18   page 42, although I'm sure Your Honor remembers, we heard from

    19   counsel for Mr. — from Judge Lynn's firm, Mr. Assink makes

    20   statements on the record to this Court that Mr. Dondero was

    21   still working with entities that he controlled to file proofs of

    22   claim in the Highland bankruptcy case.                And I know that

    23   definitely was surprising to us, but really illustrates the fact

    24   that Mr. Dondero is still around, still has the same intentions,

    25   and we don't believe that the letter-writing campaign or


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    1   litigation has stopped.

    2              And, finally, Your Honor, we want to move to Exhibit

    3   W.   This is something I'm not sure the Court is aware of.

    4   Sorry.   This is the final judgment from the Guernsey Court with

    5   respect to Mr. Terry.        If you recall, Your Honor, Mr. Terry was

    6   sued on the Island of Guernsey, effectively contemporaneous with

    7   Acis' first confirmation hearing.              So Highland CLO Funding

    8   Limited, which we have called things like ALF, HCLO, CLOF, they

    9   sued Mr. Terry in Guernsey effectively for filing the Acis

   10   involuntary petition.        And ultimately that case was dismissed,

   11   and I'm probably to butcher the Guernsey term, but it does seem

   12   for lack of jurisdiction.

   13              And in connection with that case, the Guernsey Court

   14   found that testimony submitted by Mr. Sevilla, an Island —

   15   Exhibit W on page 8, so his information, particularly this

   16   confidential information was related to whether Mr. Terry's

   17   payment of his involuntary fees and expenses were — should be

   18   characterized as a bribe rather than an allowed administrative

   19   claim under the Bankruptcy Code, Mr. Sevilla's testimony was

   20   found to be inaccurate with respect to that and a number of

   21   other items with respect to jurisdiction over Mr. Terry, but I

   22   don't know that that's necessarily relevant.

   23              So with that, Your Honor, unless you have any

   24   questions, we'd move — we'd call Mr. Terry to the stand.

   25              THE COURT:       Let me ask one question before we do that.


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     1   So what pending satellite litigation remains at this point?                            If

     2   the DAF lawsuits were dismissed, granted without prejudice, and

     3   this Guernsey lawsuit is now resolved, what — what is left of

     4   what I'll call the satellite litigation?

     5              MS. CHIARELLO:         Your Honor, Mr. — I believe there is

     6   still pending litigation in state court and actually Mr. Terry

     7   can answer that question better than I can.                     But with respect to

     8   litigation that is not in front of Your Honor, I believe that

     9   there remains — Acis has state court litigation, but between

    10   Acis, on one hand, and the Highland-related entity on the other,

    11   I believe there is something still pending in state court, but I

    12   think Mr. Terry should speak to that.

    13              THE COURT:       Okay.     Because I'm understanding the heart

    14   of the argument here with your motion is that Dondero, Dondero-

    15   controlled entities have misused information in connection with

    16   lawsuits filed against —

    17              MS. CHIARELLO:         Um-hum.

    18              THE COURT:       — Mr. Terry and U.S. Bank, Brigade,

    19   Moody's, and so that's what I'm getting at:                     Are there pending

    20   lawsuits where that is still a concern?

    21              MS. CHIARELLO:         So I think that the answer to your

    22   question is the most recent DAF litigation has been dismissed.

    23   However, after that dismissal there have been letters —

    24              THE COURT:       Right.

    25              MS. CHIARELLO:         — from Mr. Scott asserting the same


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     1   causes of action.         And we don't — we have no reason to believe

     2   that that is over.         It just may not be occurring today.                       And we

     3   are concerned that providing this information emboldens that

     4   type of litigation.

     5               THE COURT:        Okay, got it.

     6               All right.        Well, Mr. Terry, I'll need to swear you

     7   in.    So if you could make sure you allow your video to capture

     8   you.    Do we have you, Mr. Terry?             Let's make sure you're not on

     9   mute and your video is activated.                I saw you earlier today.

    10                MR. TERRY:       Yes.     Can you see me, Your Honor, and can

    11   you hear me?

    12                THE COURT:       I can now.       Thank you.

    13          JOSHUA TERRY, DEBTORS'/MOVANTS' WITNESS, SWORN/AFFIRMED

    14                THE WITNESS:        I do.

    15                THE COURT:       All right.       Thank you.

    16                Ms. Chiarello.

    17                                  DIRECT EXAMINATION

    18   BY MS. CHIARELLO:

    19   Q.     Good afternoon — I'm sorry.            Good morning, Mr. Terry.                 We've

    20   got 13 minutes.        I know you testified a number of times before

    21   the Court, but would you introduce yourself?

    22   A.     I'm the president of Acis Capital Management, L.P. and also

    23   the ultimate owner of Acis Capital Management, L.P.

    24   Q.     And, Mr. Terry, I believe you had a copy of the exhibits

    25   electronically available to you, but to the extent if possible


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     1   I'm going to put them in front of the screen that form the share

     2   screen.     But as a threshold matter, I think it's probably

     3   important to address a few things that have been raised today.

     4                So with respect to how the plan works, can you explain

     5   how — what's required under the plan with respect to a reserve

     6   creditor, unsecured creditors, or disputed claims, and explain

     7   if there is a balance or how much is in that reserve?

     8   A.   Yes.    There is — under the plan, I believe, and I'm going

     9   off memory, but as I recall there is a requirement that the

    10   debtor or the reorganized debtor in this case keep an adequate

    11   reserve for potential future claims, and we have since we've

    12   emerged.

    13                MS. CHIARELLO:         And, Your Honor, there is a pending

    14   settlement with Highland Capital Management.

    15   BY MS. CHIARELLO:

    16   Q.   So I think it's prudent to take that into account, so

    17   accounting for that Highland Capital Management claim, do you

    18   believe that there are sufficient reserves to pay the remaining

    19   unsecured creditors to the extent that they would be allowed

    20   pursuant to the plan?

    21   A.   Yes.

    22   Q.   Okay.    And then you heard Judge Jernigan ask a question with

    23   respect to satellite litigation.               Can you — can you speak to

    24   what remaining litigation there is between Acis, on one hand, or

    25   you, on one hand, and Highland, on the other, or Dondero-related


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     1   entities, on the other?

     2   A.   Yeah.    As I understand it, in state court in the 162nd

     3   District there is still an open case between, on one hand,

     4   Highland Capital Management, L.P., which obviously this

     5   bankruptcy case stayed that party in that litigation, but James

     6   Dondero and Thomas Surgent as well, and then my wife and I as

     7   the plaintiffs.        And this relates to the stolen retirement money

     8   as well as some related other claims that we had.                         That

     9   litigation, originally Highland had filed claims against me

    10   individually, which were already rejected by the arbitrators.

    11   They sued me again for the same thing.

    12                In state court, we won a summary judgment hearing in

    13   March of 2019, which dismissed Highland's claims against me and

    14   left my wife and I as the plaintiffs regarding the retirement

    15   money.   That case, we did settle that on October 2nd, 2019,

    16   which was a few weeks prior to trial.                  And so that settlement

    17   was between Highland, Dondero and Surgent, and then my wife and

    18   I, on the other hand.          And so we had a rule and an agreement in

    19   place, which I think has been an exhibit in this Court before,

    20   but that case still remains open technically, I believe.

    21                Then Acis, on the other hand, does have a state court

    22   action against former attorneys of Acis.                    And that one is in the

    23   162nd district as well.           And then there are the pending

    24   adversaries which are in this Court.

    25                And I believe after the Guernsey judgment, I believe


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     1   that matter is closed pending a — there is still an assessment

     2   of cost or fees that can be awarded, given I was individually

     3   the prevailing party.

     4   Q.   Thank you, Mr. Terry.         So I am going to pull up what is

     5   Exhibit B, which is a — it's been filed with the docket, but it

     6   is the — it's Acis' quarterly operating reports, which have been

     7   filed with appeal — I'm sorry — filed with redactions.                            Can you

     8   explain kind of the narrow redactions that we have and what we

     9   are — or what Acis is not intending to redact?

    10   A.   Correct.   The — the items that we're not redacting are

    11   payments to creditors and essentially the U.S. Trustee fees on —

    12   on the QORs.    The other information is redacted.

    13   Q.   And how many remaining creditors does Acis have?

    14   A.   In terms of allowed claims, it's just me individually.                           In

    15   terms of disputed claims, it's Lackey Hershman, which while I

    16   believe it's now called Stinson Leonard, and then Andrews Kurth,

    17   and then Highland are the three remaining disputed claims.

    18   Q.   And are any of them objecting today?

    19   A.   No, not to my knowledge.

    20   Q.   And with respect to the cash receipts and cash disbursements

    21   and the information that's being redacted here, can you explain

    22   why that information is confidential or commercial information?

    23   A.   So certain — as I believe former Judge Lynn mentioned, Mr.

    24   Dondero has access as portfolio manager to certain CLO indenture

    25   trustee reports of the Acis CLOs and is able to get information


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     1   from those that the average creditor would not get.                           And it's my

     2   belief that Mr. Dondero or Grant Scott or other Dondero-related

     3   individuals or entities, believe they can discern information

     4   between our QORs and this other information that they have that

     5   might help them perpetuate this litigation that seems to be

     6   their agenda, unfortunately; that, you know, we don't believe

     7   necessarily they can discern what they think they can discern,

     8   but unfortunately that hasn't stopped them in the past from

     9   mischaracterizing information, such as the Guernsey lawsuit.

    10   And, you know, we're concerned that, you know, this information

    11   will then allow them a basis to continue to file lawsuits to the

    12   detriment of our CLOs, to the detriment of the service providers

    13   to our CLOs, and to the detriment of our business and our

    14   reorganization.

    15   Q.   Thank you.      So, Mr. Terry, can you explain to the Court who

    16   is the DAF or what we're referring to when we say the DAF?

    17   A.   Yeah.    There's a series of entities that are generally

    18   referred to as the DAF.           I think the two plaintiffs are the

    19   Charitable Donor Advised Fund, L.P., and then CLO HoldCo

    20   Limited, which as I understand it it's a subsidiary of the

    21   former entity.       Grant Scott serves as director of both of those

    22   entities.     Ultimately, these entities are owned by Highland

    23   Foundations, of which, as I understand, Mr. Dondero serves as

    24   president and Grant Scott serves as treasurer of the ultimate

    25   shareholders of these entities.


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     1   Q.   And, Mr. Terry, who is Grant Scott?

     2   A.   Grant Scott is Mr. Dondero's college roommate.                         He's a

     3   patent attorney in North Carolina with an electrical engineering

     4   degree that focuses on semiconductor and microelectronic

     5   patents.

     6   Q.   Okay.    So how has the DAF litigation and then the threatened

     7   continuation of the DAF litigation affected the Acis CLOs?

     8   A.   So in a number of ways, unfortunately.                   You know, I think

     9   the first — the first way is it really prevents resets or

    10   inhibits the ability to reset these CLOs, which we've tried to

    11   do since emerging.         We've requested that of HCLOF.                   We were

    12   hopeful when this independent board was put in place that we

    13   would be able to work with them to get the CLOs reset finally.

    14   And, you know, coincidentally or not, about a week after the

    15   conversation started with the new independent board back in

    16   February was when the lawsuit was amended to add Acis, me

    17   individually, and Brigade up in New York.                   So unfortunately it's

    18   kept resets from happening.

    19                I think additionally these — when everybody has to

    20   lawyer up, there's various indemnification provisions in place

    21   in these CLO documents.           And it's expensive to the CLOs.                     It

    22   becomes an administrative expense essentially of the CLOs.                              And

    23   the definition of administrative expense allows, within the

    24   indenturers, allows for the U.S. Bank, as indenture trustee,

    25   their counsel is paid — U.S. Bank's expenses are paid first


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     1   before any other vendors are paid in the CLO.

     2              So naturally when U.S. Bank is sued as indenture

     3   trustee, it leads to a big expense burden of the CLOs.                            And then

     4   when Acis, Brigade, myself, others are sued, it leads to

     5   indemnification issues of the CLOs, which ultimately are, you

     6   know, a burden on the CLO that we had hoped to try to minimize

     7   as much as we can.       So those are the two main ways.                    It's the

     8   resets and the expenses.

     9   Q.   All right.    So does the mere threat of litigation in — I

    10   think what I'd characterize as — a letter-writing campaign, does

    11   that — does that affect the Acis CLOs somewhat similarly to an

    12   actual filing of the complaint?

    13   A.   It does.     It's similar in a way on the expenses, on the

    14   expense front.      And it also will continue to be a cloud on a

    15   reset transaction.

    16   Q.   So what has been the effect of what I call the DAF

    17   litigation and the letter-writing campaign on Acis'

    18   reorganization?

    19   A.   Unfortunately, it — this litigation in general has been an

    20   impediment since we emerged.            I mean just broadly speaking, the

    21   effective date was February 15th, 2019.                   There were affidavits

    22   submitted in Guernsey on the 15th and 18th from Mr. Sevilla;

    23   from Bill Scott, the former chairman of Highland CLO Funding;

    24   Heather Bestwick, the other director of Highland CLO Funding,

    25   submitting this Court's ruling to the Guernsey Court saying,


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     1   'This is an offense, we can't get a fair trial in the United

     2   States.'

     3               The — after that we had a May 2019 hearing in

     4   Guernsey.    These letters started, the demand letters started in

     5   August of 2019 to U.S. Bank, Moody's, and S&P.                      The lawsuit

     6   occurred in October of 2019 and then was amended in November and

     7   amended in January and amended in February.                      And then we had a

     8   letter in April and another letter in May of 2020.                         And so it's

     9   just been a constant — obviously it's a distraction, but when

    10   all the service providers to Acis CLOs — or not all, but a lot

    11   are being sued, it's a cloud over other third parties'

    12   willingness to want to engage with Acis on their business.                             And,

    13   unfortunately, it's understandable.                So that — that's been an

    14   impediment.

    15               And then there have also been concerns raised and due

    16   diligence meetings, and whatnot, that, well, what if you did a

    17   CLO, and Mr. Dondero did acquire — and the secondary market

    18   acquired a position in that CLO just to sue all the service

    19   providers to that CLO initially, even if he wasn't involved in

    20   the initial transaction, just because, you know, he seems to

    21   have it out for me, and so that's just unfortunately constantly

    22   this cloud over trying to go out and get new business.                             It's

    23   just this unending, you know, litigation against Acis.

    24   Q.   All right.     So I think there was kind of — let me go back to

    25   my question.     So effectively you — you fought and — and won the


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     1   Guernsey litigation; is that — is that a correct assessment?

     2   A.   Yes.

     3   Q.   And ultimately it was dismissed after — how long had it been

     4   pending when it was dismissed for lack of jurisdiction?

     5   A.   Two — two years since the date it was filed, roughly.

     6   Almost two years.

     7   Q.   So even if you succeed in this litigation that's there, this

     8   type of litigation, it injures Acis; is that correct?

     9   A.   Yes.

    10               MS. LAMBERT:        Objection, leading.

    11               THE COURT:       Sustained.

    12               MS. LAMBERT:        Yeah, and I — I ask that the answer be

    13   stricken.

    14               THE COURT:       It will be stricken.

    15               MS. LAMBERT:        I'm sorry.       I had trouble unmuting.

    16               THE COURT:       All right.       It is so ordered.

    17               Continue.

    18   BY MS. CHIARELLO:

    19   Q.   Mr. Terry, what are the effects of the litigation on Acis?

    20   A.   Well, I mean it's problematic.              It continues to be a cloud.

    21   You know, as mentioned before, it continues to be a cloud over —

    22   over our business.

    23               MS. CHIARELLO:         Your Honor, I have nothing further.                    I

    24   prefer to redirect if there is a cross.

    25               THE COURT:       All right.       Any cross, Ms. Lambert?


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     1              Ms. Lambert?

     2              MS. LAMBERT:        Yes.    Yes, Your Honor, —

     3              THE COURT:       Go ahead.

     4              MS. LAMBERT:        — there is a cross.

     5                                 CROSS-EXAMINATION

     6   BY MS. LAMBERT:

     7   Q.   Mr. Dondero, you and I have met before —

     8              THE COURT:       You called him Mr. — you called him Mr.

     9   Dondero.   That is —

    10              MS. LAMBERT:        Mr. — I have questions about Mr.

    11   Dondero.

    12   BY MS. LAMBERT:

    13   Q.   Mr. Terry, you and I met before.              And sometimes we've been

    14   aligned, the U.S. Trustee and your individual interest, and

    15   sometimes we've been opposed; is that right?

    16   A.   Yes, I believe so.

    17   Q.   First I want to ask you about the reserve amount.                           The

    18   reserve amount is redacted in the two quarterly operating

    19   reports that are in evidence, right?

    20   A.   Well, technically I don't think the reserve — a reserve

    21   amount is one of the items on the operating report.                         The reserve

    22   amount, so I don't know how to exactly answer that question.

    23   Q.   You didn't disclose the reserved amount today, did you?

    24              You didn't —

    25   A.   That's — well, I don't know if that's correct either.                             If I


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     1   could, the outstanding claims, there's a Highland claim that

     2   might total eight million pending this settlement agreement that

     3   obviously has been reached.            I think that's what they have

     4   alleged their prepetition gap period and admin claim to be in

     5   total.   And then the other objected-to claims are about $400,000

     6   in terms of Lackey Hershman/Stinson Leonard, whatever, I forget

     7   how that's styled, and then Hunton Andrews Kurth.                        And then —

     8   and then there's my claim as well.               But the — which there is

     9   between 8- and 900,000 outstanding on that.                      So, in general,

    10   when I think of the reserved amount I think of those claims and

    11   how am I going to pay them over time with not just existing

    12   cashflow but future cashflow.

    13   Q.    You would agree with me that you have not disclosed today

    14   the amount that has been set aside from reserve, correct?

    15               MS. CHIARELLO:         Objection, asked and answered.

    16               THE COURT:       Overruled.

    17               THE WITNESS:        I don't think that is — I don't know how

    18   to answer your question because the reserved amount isn't an

    19   amount on the operating report, it's an amount that I need to

    20   reserve for both in cash and in future cashflow, as I understand

    21   it.

    22   BY MS. LAMBERT:

    23   Q.    Your counsel asked you if there was a reserve.                       You have not

    24   provided the dollar amount of the reserve to the Court today,

    25   have you?


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     1   A.   Well, the dollar amount of the reserve is all of these

     2   factors that we're talking about that can help take care of

     3   these claims that I just mentioned.               So the dollar amount of the

     4   reserve would be $8 million plus $400,000 plus somewhere between

     5   8- and $900,000 total, but then, for example, there's a Highland

     6   settlement that will take care of some of that, hopefully, there

     7   is cash onhand and then there's future cashflows that will take

     8   care of that amount that needs to be reserved for.

     9   Q.   You would agree with me that on today's date, Acis and the

    10   Stinson law firm do not currently agree on the amount owed to

    11   Stinson, right?

    12   A.   I believe that's correct.

    13   Q.   You would agree with me that on today's date Acis and

    14   Hunton, which you refer to as Andrews Kurth, do not agree on the

    15   amount owed to Hunton, right?

    16   A.   That's correct, I believe so.

    17   Q.   And if the reserve amount is redacted or the underlying

    18   information is not provided and the quart- — is redacted in the

    19   quarterly reports, they can't complain about whether there is a

    20   reserve or not, can they?

    21   A.   Respectfully, the question was based on a reserve amount

    22   that's in the QOR, and I don't think there is an item in the QOR

    23   that's a reserve amount.

    24   Q.   They can't evaluate the cashflow to determine whether they

    25   should ask for a reserve, can they?


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     1   A.    I feel like there's two parts to that question.                        The reserve

     2   is inherent in the plan, that I have to keep a reserve, I

     3   believe.    They can't — they could always ask for information.

     4   Q.    I'm going to shift from the reserve to Acis' compliance with

     5   the agreements.       You would agree with me that in or out of

     6   bankruptcy Acis has to comply with its management contractual

     7   obligations, wouldn't you?

     8   A.    Generally, yes.

     9   Q.    And — and the parties to your contractual obligations are

    10   entitled to compliance, right?

    11               MS. CHIARELLO:         Objection, Your Honor.               I think this

    12   is outside the scope of direct.

    13               THE COURT:       Well, she could always recall him, I

    14   guess, as her own witness, so I'm going to go ahead and allow

    15   it.    So overruled.

    16               THE WITNESS:        I'm sorry.       Can you repeat the question,

    17   Ms. Lambert?

    18   BY MS. LAMBERT:

    19   Q.    Complying with your contractual obligations is something

    20   that the parties to the contracts are entitled to evaluate,

    21   correct?

    22   A.    I believe so.

    23               MS. LAMBERT:        I have no further questions.

    24               THE COURT:       All right.       Any redirect, Ms. Chiarello?

    25               MS. CHIARELLO:         Just briefly.


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                                         Terry - Redirect/Chiarello                                40

     1                                 REDIRECT EXAMINATION

     2   BY MS. CHIARELLO:

     3   Q.   Mr. Terry, does the plan require — or did the plan have a

     4   bucket of money to pay unsecured creditors upon confirmation?

     5   Was there a set dollar amount of funds?

     6   A.   No.    There — there wasn't a set dollar amount of funds just

     7   to pay unsecured creditors upon confirmation.

     8   Q.   So how does the plan contemplate paying unsecured creditors?

     9   A.   I think in part from cash that was available upon

    10   confirmation and then in part from ongoing business operations.

    11   Q.   So to the extent that there were not funds available on the

    12   date that Acis emerged, creditors would be paid from Acis'

    13   future cashflows; is that correct?

    14   A.   Yes.

    15   Q.   Okay.    And have Hunton — Hunton Andrews Kurth asked you or

    16   requested any information from Acis regarding plan compliance?

    17   A.   No, not to my knowledge.

    18   Q.   Has Stinson Leonard requested any information from Acis

    19   related to plan compliance?

    20   A.   Not to my knowledge.

    21   Q.   Okay.    And to the extent that that information was requested

    22   from Hunton or Stinson Leonard or, I guess, Mr. Terry as an

    23   individual, would you be amenable to providing that information

    24   to them under some — the same or similar terms that you have

    25   provided that information to Highland Capital Management?


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     1   A.   Yes.

     2                MS. CHIARELLO:          I have no further questions, Your

     3   Honor.

     4                THE COURT:        Any recross, Ms. Lambert?

     5                Okay, I think that was a no.                Okay.

     6                MS. LAMBERT:         No, Your Honor.

     7                THE COURT:        I'm trying to figure out do I have a

     8   question for Mr. Terry or maybe it's a question for you, Ms.

     9   Chiarello.      As I was trying to keep track of what litigation was

    10   pending versus what is not, there was a reference to adversary

    11   proceedings in the Bankruptcy Court.                  Since I haven't had those

    12   before me yet I have not studied them.

    13                So could someone tell me — I mean I know about the

    14   biggie, if you will, the 34-count adversary proceeding involving

    15   Highland and Highland's claims in the alleged fraudulent

    16   transfers and whatnot, but are there others?                       If so, I haven't

    17   had reason to study those, so I'd like to know what those

    18   involve.

    19                MS. CHIARELLO:          Yes, Your Honor.          There are a few

    20   other adversary proceedings that are pending in front of Your

    21   Honor.      And you haven't — you're not familiar with them because

    22   they have largely been stayed or delayed given kind of the

    23   posture of the Highland Capital Management bankruptcy case.

    24   Those were filed on the eve of the 108 deadline, just to

    25   preserve causes of action.              So the first of which is what we


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     1   have been referring to as the officer adversary.                       I don't have

     2   the case number in front of me, but I can get it for you.                            And

     3   that is asserting similar — a similar factual scenario that's at

     4   issue in the big Highland — or the big adversary case that Your

     5   Honor is familiar with, but the causes of action are against

     6   Acis' former officers and directors, so Mr. Dondero, Mr.

     7   Waterhouse, an individual — it's really individuals including

     8   some Highland Capital employees.             We hope that that is in the

     9   midst of being resolved or — to some degree.                    And I think you —

    10   there hasn't been a 9019 filed by Highland Capital Management,

    11   so I'm — and I'm not sure where that stands, but I think some of

    12   that will be addressed or I'm hopeful some of it will be

    13   addressed, and when you are able to see that.

    14              And then there is one other adversary pending related

    15   to a preference in a fraudulent-transfer claim against Mr.

    16   Stinik.   Mr. Stinik was a Highland Capital — he had the Highland

    17   Capital Management email address but contends that he was a

    18   contractor for Acis.        The basis of the lawsuit is effectively

    19   there is — there was no contract between Mr. Stinik and Acis.

    20   And it's a relatively small dollar fraudulent-transfer and

    21   preference action, I think it was about $380,000 total.                            I may

    22   be — that may be a little high.             But, again, I think — I think

    23   that — it's not — it's not before Your Honor today and it's

    24   certainly — I believe we're working to move that trial — to a

    25   trial date out, but it's really in the discovery phase.


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     1              THE COURT:       All right.       Well, when you were describing

     2   the officer adversary proceeding against — or officer and

     3   director adversary proceeding against Dondero, Waterhouse, and

     4   some Highland employees, I was a little confused.                       Do you think

     5   that has been entirely settled or — because you mentioned the

     6   9019 motion.    I know that Acis and Highland have resolved your

     7   issues, but has this been resolved as well?

     8              MS. CHIARELLO:         Your Honor, if I may —

     9              Ms. PATEL:       Your Honor, —

    10              THE COURT:       Oh, Ms. — Ms. Patel is speaking up.                      She

    11   may be the point person on that.

    12              MS. PATEL:       Yes.

    13              THE COURT:       Go ahead.

    14              MS. PATEL:       Yes, Your Honor.          If I — if I can chime

    15   in.   With respect to the settlement.              The settlement involves

    16   certain of the defendants in the Dondero, et al. adversary, so

    17   the nonHighland adversary, but not all of them.                      There are

    18   certain employees who are contemplated to be included as a part

    19   of the resolution.       Now there are still developments that could

    20   happen and that will become a little bit more clear I think when

    21   the 9019 is filed.       It's anticipated that that 9019 — at least

    22   everyone's targeting that to be filed, frankly, today.                            That

    23   might get pushed out.        And, just as a full disclosure, it might

    24   get pushed out a couple of days, but the parties are working

    25   hard to get that 9019 on file.            But — so it's a little bit of a


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                          Debtors' Motion to File Redacted Quarterly Reports                        44

     1   hybrid answer as to what's going to happen with respect to it,

     2   but the resolution does not contemplate a full global resolution

     3   of the Dondero, et al. lawsuit, it's just a few — a few of the

     4   defendants, namely, certain Highland employees.

     5              THE COURT:       Okay.     Thank you.

     6              All right.       Well, that — that's really all I had as

     7   far as follow-up questions.

     8              So thank you, Mr. Terry, we appreciate your testimony

     9   today.

    10         (Witness excused.)

    11              THE COURT:       Is there anything else, Ms. Chiarello?

    12              MS. CHIARELLO:         Just by briefly, Your Honor.

    13              I think it's important to highlight that we are here

    14   truthfully near — past confirmation, and there is no absolute

    15   right for creditors —

    16              MS. LAMBERT:        Your Honor, I'm trying to determine have

    17   we closed the evidence, so we're submitting closing arguments?

    18              THE COURT:       Well, I'm trying to determine that as

    19   well.

    20              Ms. Chiarello, are you having — are you going to have

    21   any more evidence?

    22              MS. CHIARELLO:         No, Your Honor.         We rest on the

    23   evidence submitted.

    24              THE COURT:       Okay.     So I need to ask Ms. Lambert:                   Do

    25   you have evidence at this time?


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                           Closing Argument on behalf of the Debtors/Movants                      45

     1               MS. LAMBERT:        The U.S. Trustee's evidence has been

     2   admitted in the redacted quarterly reports that were admitted in

     3   the case in chief of Acis.            The U.S. Trustee has no additional

     4   evidence.    Thank you.

     5               THE COURT:       All right.       Thank you.

     6               All right, Ms. Chiarello, you may resume.

     7           CLOSING ARGUMENT ON BEHALF OF THE DEBTORS/MOVANTS

     8               MS. CHIARELLO:         I apologize, Your Honor.                Again

     9   Annemarie Chiarello on behalf of Acis, L.P.

    10               I think it's important to note here that we are post

    11   confirmation.      We are really almost nearly two years post

    12   confirmation.      And in a situation where a case has been closed

    13   pursuant to a final decree, creditors would not have access to

    14   this issue — this information.             This is not an absolute right of

    15   creditor to get this information.               Even though that is — that is

    16   the case, Acis is absolutely amenable to providing this

    17   information to creditors.

    18               Our concern is really having it available to

    19   litigation counterparties and parties who not only previously

    20   sued Acis but have — who have threatened to sue Acis, Brigade,

    21   U.S. Bank, and even Moody's, the rating agency.                       We believe we

    22   have met our burden with respect to 107(b).                      And given that we

    23   have demonstrated that the information is confidential, under

    24   107(b) the Court does not have discretion to permit this

    25   information to be publicized on the docket.


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                             Closing Argument on behalf of the U.S. Trustee                       46

     1               Like I have said, we have been amenable to Ms. Lambert

     2   in providing this information to her in whichever — including

     3   whatever revision she would like in the order with respect to

     4   her and the United States Trustee having access to this

     5   information, our concern is really related to litigation

     6   counterparties.       And I know that this is very unorthodox and

     7   it's not typical for operating reports to be redacted, however

     8   this is a very highly specific factual scenario that we don't

     9   expect to be the case in other — in other bankruptcies.

    10   Typically bankruptcies doesn't result in this type of satellite

    11   litigation, and we're well aware of that.                  And we hope that

    12   we're moving forward, where that isn't going to continue to be

    13   the case.    But given what's already occurred to — for Acis and

    14   even though — even though Acis has the ability to defeat some of

    15   these frivolous claims or suits filed in Guernsey, this doesn't

    16   — we don't want to embolden litigation counterparties with

    17   information that they should be able — if they think they're

    18   entitled to, they can get a legitimate discovery.

    19               So with that, Your Honor, we ask the Court to grant

    20   our motion for redact — to redact Acis' quarterly operating

    21   reports in a manner consistent with what you have seen of

    22   Exhibit B.

    23               THE COURT:       All right.       Thank you.

    24               Ms. Lambert, closing argument.

    25             CLOSING ARGUMENT ON BEHALF OF THE U.S. TRUSTEE


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                           Closing Argument on behalf of the U.S. Trustee                         47

    1              MS. LAMBERT:        Yes, Your Honor.

    2              On balance, the Court has two components here.                           One

    3   component is the public's access to information, information

    4   that is used to evaluate compliance with the Code and the rules

    5   and the plan.     And both the creditors and the public are

    6   entitled to that information.

    7              On this side, the debtor, Acis, or the

    8   postconfirmation debtor contends that Stinson and Hunton should

    9   not knock at their door and ask for information if they need it.

   10   Over here we have the component of the contention that the

   11   litigation against the debtor or the postconfirmation debtor

   12   regarding compliance with the management agreement, compliance

   13   with its fiduciary duties and similar, and the side effects for

   14   Moody's and for — for other entities is a reason to protect

   15   information that normally would be public in the bankruptcy

   16   case.

   17              The people over here should not have to knock on the

   18   door because there is an issue about compliance.                       Compliance is

   19   a requirement of the Bankruptcy Code and rules.                      And I know that

   20   the Court and I have experienced cases both personally and in

   21   observe where unfortunately people have gotten involved in

   22   ongoing years of litigation.

   23              Historically, Mr. Terry and Mr. Dondero and their

   24   related entities had a business marriage.                 Historically, that

   25   business marriage has come to an end, but they still have a


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                                       The Ruling of the Court                                    48

    1   child together, which is Acis.            And the reporting about that

    2   child and the financial information about that child does not

    3   change the obligation to comply with the legal requirements and

    4   to comply with the contractual requirements.                    If there is

    5   litigation that is being filed, it is frivolous.                       Federal rules

    6   and the common law provide remedies for that, including remedies

    7   that are sufficient to compensate for that.

    8              In addition, even with the third-party litigation, to

    9   the extent that it impacts the ability of Acis to do new

   10   contracts, there are also mitigation remedies for that.                            It's

   11   unfortunate, but that is the factual situation that we have.

   12   That factual situation is nonsufficient to limit the information

   13   that is normally publicly required in this context.

   14   Alternatively, the United States Trustee requests that the

   15   motion be denied in its entirety or, alternatively, that it be

   16   tailored in accordance with the prayer and the U.S. Trustee's

   17   objection.

   18                             THE RULING OF THE COURT

   19              THE COURT:       All right.       Thank you.

   20              Well, we're going — we're going to stop it right here.

   21   I think that Mr. Dondero technically did not have standing here

   22   today, that I think — I think Mr. Lynn weighed in and explained,

   23   you know, that he felt compelled to weigh in on a potentially

   24   precedential matter and so he's weighed in, and so we're going

   25   to cut it off there.


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                                        The Ruling of the Court                                     49

     1              I have found this to be a somewhat tough call, tough

     2   decision here today because, on the one hand, it sort of feels

     3   like in this context, at this very late juncture of Acis'

     4   Chapter 11, there's sort of a no-harm/no-foul situation.                            We are

     5   not only well past, more than a year and a half past

     6   confirmation and the effective date, but we only have a couple

     7   of creditors left at this point other than Highland and — who

     8   gets the information pursuant to an agreement, or at least its

     9   professionals and independent board members do and Mr. Terry

    10   himself.   So it sort of feels a little bit like, eh, if I would

    11   grant this motion, there are really likely only a couple of

    12   parties-in-interest who are impacted, and they have gotten

    13   notice, they haven't weighed in.             That is Hunton Andrews Kurth

    14   and Stinson.    But 107 governs this motion.                And, as has been

    15   noted, it talks in terms of everything being public record and

    16   open to examination to the public without any charge.                            And the

    17   Court can deviate from this public access only on motion of a

    18   party to protect a trade secret, or confidential research,

    19   development, or commercial information, or to protect a person

    20   with respect to scandalous or a defamatory matter contained in a

    21   paper filed.    So that's the governing statute.

    22              So looking at the evidence today, would these

    23   quarterly operating reports and the numbers they reflect for

    24   receipts and disbursements and whatnot, is this in the nature of

    25   any of those elements of 107(b), I don't think it is.                            The only


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                                        The Ruling of the Court                                  50

     1   thing that it might be is commercial information, but I really

     2   don't think there's been a showing that it is of the nature that

     3   107(b) is intended to address.

     4              Now don't get me wrong, I am very troubled by some of

     5   what I've heard today.         I doubt Mr. Dondero is listening in

     6   personally, but I'm going to say, and maybe it will get back to

     7   him, maybe it won't, but that I'm very troubled by hearing that

     8   Dondero-controlled entities, and I believe the DAF, based on

     9   what I've heard in the past, is Dondero controlled, I'm very

    10   troubled that Dondero-controlled entities are suing Acis and

    11   parties that have dealt with Acis, U.S. Bank, Brigade, and the

    12   Moody's one is really mind-boggling, but I'm very troubled that

    13   this could be hampering Acis' ability to do a reset and it's

    14   driving up expenses.

    15              And if these lawsuits were brought before me through a

    16   removal or any other mechanism, you know, first, I would have to

    17   look at subject matter jurisdiction of the Bankruptcy Court.

    18   Yes, we're way past the effective date of Acis' plan, but the

    19   Fifth Circuit case authority provides that if there is a dispute

    20   postconfirmation that bears on the interpretation,

    21   implementation, or execution of a confirmed plan, then the

    22   Bankruptcy Court has subject matter jurisdiction in that

    23   context.   And it sure sounds like, hearing Mr. Terry's version

    24   of things today, which sounded very credible, that this is

    25   potentially impinging on the reorganization and plan of Acis.


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                                        The Ruling of the Court                                    51

     1              So it's very troubling to me that — well, I've said it

     2   before in Highland hearings, that these battles just continue

     3   on, but if it's impairing with a plan I confirmed, it's

     4   impairing a plan I confirmed, it's impairing the ability to

     5   perform under that plan, then that is a problem for the

     6   plaintiffs.

     7              Now I've heard there is no pending litigation in that

     8   regard, but I'm troubled by the April 2020 letter I saw that is

     9   essentially a suggestion we may start this up again, the

    10   litigation that we dismissed.            It's just ridiculous, for lack of

    11   a better term, that Dondero and his entities would be doing some

    12   of the things it sounds like they're doing:                     Suing Moody's, for

    13   crying out loud, for not downgrading the Acis CLOs.                         If Mr.

    14   Dondero doesn't think that is so transparently vexatious

    15   litigation, yeah, I'm going out there and saying that.                            I

    16   haven't seen it, but, come on.

    17              So, bottom line, I don't find the 107 standard here is

    18   met today, so I am denying entirely the motion.                      I haven't been

    19   convinced that this is commercial information that 107(b)

    20   justifies redacting or sealing.             But, again, I am most troubled

    21   by what I've heard today.

    22              I have found Mr. Terry to be a very credible witness

    23   today on these points.         He's testified in this Court many times

    24   and I continue to find him a very credible witness.

    25              And so to the extent Mr. Dondero is listening or gets


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                                          The Ruling of the Court                                  52

     1   a transcript, I hope it's loud and clear to him that to the

     2   extent you are engaging in efforts surreptitious or overt to

     3   derail Acis in its reorganization, there is going to be a price

     4   to pay for that.        So I hope that message gets to him.

     5              Very troubled, very troubled by what I've heard today.

     6              All right.         Well, I think that concludes our business

     7   here today.      Is there anything else anyone wants to raise?

     8              MS. LAMBERT:          Judge Jernigan, Ms. Lambert for the U.S.

     9   Trustee.   Would you like me to prepare an order just as for the

    10   reasons stated?

    11              THE COURT:         I would like you to do that.                  Thank you

    12   very much.     All right.

    13              MS. LAMBERT:          And I think I will order the — I think I

    14   will order the transcript and have it sent to Mr. Lynn.

    15              THE COURT:         All right.       Thank you.

    16         (The hearing was adjourned at 5:21 o'clock p.m.)

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         State of California                    )
                                                )       SS.
         County of San Joaquin                  )




                    I, Susan Palmer, certify that the foregoing is a true

         and correct transcript, to the best of my ability, of the above

         pages, of the digital recording provided to me by the United

         States Bankruptcy Court, Northern District of Texas, Office of

         the Clerk, of the proceedings taken on the date and time

         previously stated in the above matter.

                    I further certify that I am not a party to nor in any

         way interested in the outcome of this matter.
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                            IN THE UNITED STATES BANKRUPTCY COURT
        1                     FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
        2
                                                 )      Case No. 19-34054-sgj11
        3   In Re:                               )
                                                 )
        4   HIGHLAND CAPITAL                     )      Dallas, Texas
            MANAGEMENT, L.P.,                    )      June 30, 2020
        5                                        )      9:30 a.m. Docket
                       Debtor.                   )
        6                                        )      MOTION FOR REMITTANCE OF FUNDS
                                                 )      HELD IN REGISTRY OF COURT
        7                                        )      FILED BY CLO HOLDCO, LTD.
                                                 )      (590)
        8         __                             )
        9                         TRANSCRIPT OF PROCEEDINGS
                         BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
      10                       UNITED STATES BANKRUPTCY JUDGE.

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         Recorded by:                         Michael F. Edmond, Sr.
   21                                         UNITED STATES BANKRUPTCY COURT
                                              1100 Commerce Street, 12th Floor
   22                                         Dallas, TX 75242
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        1                DALLAS, TEXAS - JUNE 30, 2020 - 9:37 A.M.

        2               THE CLERK:     All rise.

        3               THE COURT:     Good morning.      Please be seated.       This is

        4   Judge Jernigan, and I am ready to start our Highland setting.

        5   Let me start by getting appearances.            I see Mr. Kane there on

        6   the video for our Movant this morning on for CLO Holdco.                 Is

        7   that correct?

        8               MR. KANE:    Yes, Your Honor.       Thank you.

        9               THE COURT:     Good morning.      All right.     Who do we have

      10    for the Debtor?      Do we have Mr. Pomerantz or others from the

      11    Pachulski firm?

      12                MR. POMERANTZ:     Yes.     Good morning, Your Honor.         It's

      13    Jeff Pomerantz and John Morris, and also on the phone is Greg

      14    Demo, on behalf of the Debtors.

      15                THE COURT:     Okay.     Thank you.

      16                MR. MORRIS:     Good morning, Your Honor.

      17                THE COURT:     Good morning to all of you.           All right.

      18    What about for the Unsecured Creditors' Committee?                Do we have

      19    Mr. Clemente or Ms. Reid or others?

      20                MR. CLEMENTE:     Yes.    Good morning, Your Honor.

      21    Matthew Clemente from Sidley Austin on behalf of the

      22    Creditors' Committee.

      23                THE COURT:     Okay.     Good morning.

      24                MR. CLEMENTE:     Good morning.

      25                THE COURT:     All right.     I'll just say, do we have




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        1   some of our other usual participants, maybe someone from Acis,

        2   Ms. Patel or Ms. Chiarello?          No?

        3               MR. ANNABLE:     Your Honor, --

        4               THE COURT:     Oh.

        5               MR. ANNABLE:     -- this is Zachery Annable --

        6               THE COURT:     Oh.

        7               MR. ANNABLE:     Your Honor, --

        8               THE COURT:     Good morning.

        9               MR. ANNABLE:     -- this is Zachery Annable.

      10                THE COURT:     All right.      Good morning, Mr. Annable,

      11    also for the Debtor.       Any other --

      12                MS. ANDERSON:     Oh, sorry.

      13                THE COURT:     Oh.   Go ahead?

      14                MS. ANDERSON:     Yes.    Sorry, Your Honor.         I

      15    (inaudible).

      16                MS. PATEL:     Good morning, Your Honor.         Rakhee Patel

      17    on the phone.     I'm not planning on participating.             We're just

      18    listening in today.

      19                THE COURT:     All right.      Any other counsel wishing to

      20    appear this morning?

      21                MS. ANDERSON:     Good morning, Your Honor.          Oh.

      22                THE COURT:     Go ahead.

      23          (No response.)

      24                THE COURT:     Do we have -- is that maybe Ms. Anderson?

      25                MS. ANDERSON:     That was, Your Honor.         I apologize.




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        1   This is Amy Anderson with Jones Walker on behalf of the

        2   Issuers.    And Mr. James Bentley with Schulte Roth & Zabel is

        3   also on the phone this morning.

        4               THE COURT:     All right.     Good morning to you both.

        5   Any other people wishing to appear?

        6               MR. PLATT:     Your Honor, Mark Platt for the Redeemer

        7   Committee of the Highland Crusader Fund.             And Marc Hankin from

        8   Jenner & Block is on the phone as well.

        9               THE COURT:     Okay.     Good morning to you both.

      10                MR. HANKIN:     Good morning.

      11                THE COURT:     Anyone else?

      12                MR. CLARK:     Your Honor, this is Brian Clark from Kane

      13    Russell.    I'm here with Mr. Kane on behalf of CLO Holdco.

      14                THE COURT:     Okay.     Good morning.

      15                MR. CLARK:     Good morning.

      16                THE COURT:     All right.     Anyone else?

      17          All right.    Well, I'll start by asking:          Do we have any

      18    stipulations or agreements with regard to evidence or how

      19    we're going to proceed this morning?

      20                MR. KANE:    Yes, Your Honor.       This is John Kane for

      21    CLO Holdco.     We do.

      22                THE COURT:     All right.

      23                MR. KANE:    I would like to note on that question that

      24    we've actually worked very well together.             CLO Holdco has had

      25    a pretty open discourse with Committee's counsel and got on




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        1   the phone yesterday to go through any final evidentiary

        2   issues, and then had some follow-up late last night.                 And so

        3   what we'd like to announce to the Court is that there's a

        4   stipulation to the admissibility of all of the exhibits in

        5   both parties' witness and exhibit list.

        6               THE COURT:     All right.

        7               MR. KANE:    And on top of that, there are a number of

        8   factual stipulations.       And I can walk through that on our kind

        9   of case-in-chief presentation, or we can walk through that

      10    now, either way, whichever is most convenient for the Court.

      11          The actual stipulations are largely related to what is and

      12    isn't a dispute in this hearing.

      13          So, the Committee has stipulated that, for the purposes of

      14    this hearing, there is no contest about the amount in

      15    controversy.     CLO Holdco is claiming that it is entitled to

      16    the full amount of the funds in the registry, and there's

      17    really no dispute about the amount that CLO Holdco is

      18    asserting its interest in.           There's no accounting concerns

      19    here.

      20                THE COURT:     Okay.

      21                MR. KANE:    There is also a stipulation for the

      22    purposes of this hearing that I do believe bears reading into

      23    the record, and I'd like to do that on the case-in-chief, just

      24    to make sure that everything is clear, we're not overstating

      25    or understating any party's position.




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        1               THE COURT:     Okay.

        2               MR. KANE:    But, in summary of that, there's really no

        3   dispute that, upon CLO's obtaining the interests in the

        4   Dynamic and AROF Funds, it did not, after obtaining them,

        5   later transfer that interest to any other party.

        6               THE COURT:     Okay.

        7               MR. KANE:    And then, finally, Your Honor, this was

        8   reached late last night:        There is a stipulation between the

        9   parties for the purposes of this hearing to a statement made

      10    by the Debtor in a footnote that essentially states that there

      11    was a transfer of a note from the Dugaboy Trust, it's a note

      12    payable owed by the Dugaboy Trust, to the Get Good Trust, that

      13    that $24 million note was transferred to the Debtor, and that

      14    the principal paid down on that note has reduced the

      15    obligation from about $24 million to about $17.5 million in

      16    principal obligations, and that the Dugaboy Investment Trust

      17    has been paying amounts due and owing under that note to the

      18    Debtor.    We'll go into a little bit more detail about why

      19    that's relevant in our case-in-chief and in our closing

      20    argument.

      21                THE COURT:     All right.

      22                MR. KANE:    I think the way we'd like to proceed, Your

      23    Honor, is each side provide an opening statement, and then

      24    we'll transition to showing our case-in-chief and kind of a

      25    walk-through of the evidence, and then a closing argument to




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        1   kind of draw things to a conclusion, Your Honor.

        2         I will say that, given the stipulation reached last night

        3   on the payments on the Dugaboy Trust, we do not believe that

        4   the testimony of Mr. David Klos is going to be necessary any

        5   longer.

        6               THE COURT:     All right.     Let me recap a couple of

        7   things.    First, there was the stipulation as to the

        8   admissibility of each other's exhibits.            The Movant's

        9   exhibits, your exhibits, Mr. Kane, were filed at Docket Entry

      10    No. 782, so that's where I'm going to look today as exhibits

      11    are referenced.

      12          Now, I know there were some sealed documents in the list

      13    of exhibits.     I show Exhibits 11, 12, 13, 14, 15, and 16 are

      14    actually under seal.       All right.

      15                MR. KANE:    Yes, Your Honor.

      16                THE COURT:     So, then turning to the Creditors'

      17    Committee, their exhibits are at Docket Entry No. 789 on

      18    PACER.    They have three exhibits.

      19          So those are the exhibits for the record that we're

      20    talking about, correct?

      21                MR. KANE:    Yes, Your Honor.

      22                MR. CLEMENTE:     That's correct, Your Honor.

      23                THE COURT:     Okay.     Thank you.

      24          And then the last thing I wanted to clarify is your

      25    comment about there's no contest about the amount in




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        1    controversy.     So, dollars and cents, are we talking about

        2    $1,516,354.38 related to the Dynamic Fund and then $898,075.53

        3    regarding the Argentina Fund?

        4                MR. KANE:    Yes, Your Honor.

        5                THE COURT:    Okay.     Very good.

        6                MR. KANE:    John Kane for CLO.       Yes, Your Honor.

        7                THE COURT:    Okay.     Thank you.    All right.      Well, you

        8    may make your opening statement.

        9                MR. KANE:    Thank you, Your Honor.

       10             OPENING STATEMENT ON BEHALF OF CLO HOLDCO, LTD.

       11                MR. KANE:    So, I would like to begin with just making

       12    sure that we have -- we've set the stage for this dispute as

       13    well as I can here.      I want to look at, Your Honor, the

       14    requests for relief that are before this Court.

       15         So, CLO has requested that this Court remit funds from its

       16    registry.    And there is no other (inaudible) request for leave

       17    by any other party.

       18         There is no adversary proceeding against CLO Holdco filed

       19    by the Committee.       There are no claims or causes of action of

       20    any kind asserted by the Committee.           There is no objection to

       21    CLO Holdco's proof of claim on file.           There is no motion for a

       22    prejudgment writ of attachment, and there is no motion by the

       23    Committee for an injunction.         And we'd argue that that would

       24    be procedurally improper anyway.

       25         The only thing that the Committee has done is objected to




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       1    this Court's release of funds from the registry to CLO Holdco.

       2         Your Honor, this is a -- this is a registry dispute.                This

       3    is a dispute under Title 28 of the United States Code, Section

       4    2042.   And under that statute,         CLO Holdco has the burden of

       5    proof here to show by a preponderance of evidence that it has

       6    a valid legal claim to the funds in the registry of the Court.

       7         So, how does it prove by a preponderance of the evidence

       8    that it has that claim?       Courts looking at this issue show

       9    that CLO Holdco has to show that it has title to the funds, it

      10    has to provide evidence of ownership, and it has to show proof

      11    that that claim is current.         In other words, it's not an

      12    unliquidated claim, it's not a claim that's been transferred

      13    to somebody else or that's possessed by some other party.

      14         So, Your Honor, what is the evidence going to show in this

      15    case?   And as we walk you through our case-in-chief, we think

      16    it's going to be very clear that the evidence will show that

      17    CLO Holdco obtained an interest in what we are going to refer

      18    to as the Dynamic and the AROF Funds.            Those interests are

      19    evidenced by executed subscription agreements.              Once they were

      20    in CLO Holdco's possession, those interests weren't

      21    transferred to any other party.

      22         The Dynamic and the AROF Funds were liquidated.               The

      23    Debtor accounted for CLO Holdco's interests in those funds.

      24    The Debtor sought to distribute those funds to CLO Holdco.

      25    There is no dispute over the amount of CLO Holdco's liquidated




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       1    interests in those funds.           And now CLO Holdco is seeking a

       2    request for the remittance of those funds from the registry of

       3    the Court.

       4         Your Honor, our evidence will completely establish that

       5    CLO Holdco has a claim, a valid, legal claim well beyond the

       6    preponderance of the evidence standard.

       7         Your Honor, those, the facts, the evidence that proves up

       8    each of those elements are not subject to any objection and

       9    are not refuted.

      10         Based on that evidence, Your Honor, the bigger question to

      11    CLO Holdco is why are fighting in this contested matter?                   We

      12    have to look to the Committee's objection here.                  What are they

      13    really arguing?

      14         The Committee's argument is essentially a guilt-by-

      15    association argument.       There's a suggestion in the Committee's

      16    objections that James Dondero did bad things.              CLO Holdco is

      17    this related entity, and so it must have done bad things, too.

      18    The Committee needs time to investigate potential claims and

      19    causes of action, and because CLO Holdco is a Cayman entity,

      20    any judgment that it might hypothetically obtain in the future

      21    will be uncollectable unless these funds are seized and held

      22    in the registry of the Court and used as a surety against that

      23    later hypothetical judgment.

      24         So, Your Honor, this is an evidentiary hearing, and what

      25    we would ask the Court to do is scrutinize the evidence.




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        1         So, what is the Committee's evidence likely to show?

        2    Well, there are only three exhibits submitted by the

        3    Committee.    One of them is the Acis opinion that you issued on

        4    the involuntary file.       The second is the Acis opinion you

        5    issued confirming the plan of reorganization in that case.

        6    And those two opinions combine for a grand total of two total

        7    references to CLO Holdco.           And the third exhibit proposed by

        8    the Committee is a transcript of the March hearing on the

        9    distribution motion, in which there really were no evidentiary

       10    issues addressed associated with CLO Holdco at all.

       11         So the better question becomes, Your Honor, what elements

       12    is missing?     And as we go through our case-in-chief, we'd ask

       13    you to consider the following.           The Committee will provide no

       14    evidence that it pursued any discovery from CLO Holdco in the

       15    ten weeks since CLO Holdco filed its motion for remittance of

       16    funds from the registry.        There were no follow-up questions

       17    asserted by the Committee in response to CLO Holdco's

       18    deposition by written questions and David Klos' responses to

       19    those questions.      The Committee did not subpoena any witness

       20    to testify at this hearing, and they've presented no evidence

       21    of wrongdoing by CLO Holdco. And finally, the Committee will

       22    show that there is no evidence whatsoever regarding CLO's

       23    ability to satisfy a money judgment, should the Committee

       24    obtain that judgment in the future.

       25         So, if we look at the scope of the evidence that's




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        1    presented by the parties in this case, we have CLO Holdco

        2    presenting overwhelming evidence of a present valid legal

        3    claim to the funds in the registry of the Court, and no

        4    evidence submitted by the Committee to refute that fact, and

        5    no claim for affirmative relief by the Committee or any

        6    evidence that would be necessary to prove up any claim for

        7    relief.

        8         So, Your Honor, based on the evidence that you will hear

        9    today, we ask that this Court deny the Committee's objection

       10    and grant CLO Holdco's motion.

       11         You will see that there is no evidence supporting any kind

       12    of injunction or prejudgment writ of attachment, and that the

       13    -- that CLO Holdco has satisfied its burden of proof by a

       14    preponderance of the evidence to show ownership of the funds

       15    in the registry that this Court holds as a statutory trustee

       16    for its benefit.

       17         Thank you.

       18               THE COURT:     All right.      I am going to interject

       19    something here.      I'm glad that the March 4, 2020 transcript is

       20    part of the evidence here, because I have to say -- I had

       21    wanted to go back and look at that, and had not done it, and

       22    this is why -- your words, Mr. Kane, were, Why are we fighting

       23    this contested matter?       I have to say, I had the same reaction

       24    myself, but with a slightly different spin on it.               I thought

       25    this was a pragmatic solution that everyone agreed to on March




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        1    4th.    I don't think CLO Holdco, Ltd., your client, made a

        2    formal appearance at the hearing on March 4th, but I take it

        3    you all got notice of the hearing.

        4           Tell me why so quickly we're revisiting this issue.

        5    That's the way I look at it.         Maybe my perspective is not

        6    accurate and you're going to tell me it's not accurate.                  But

        7    it feels like to me we just were here on this issue with the

        8    Debtor's own motion filed February 24, wanting a court order

        9    blessing these disbursements to affiliated or potentially

       10    insider parties who were due to receive these funds, and then

       11    things just sort of evolved at the March 4th hearing where

       12    everyone would agree that the money -- I guess at least the

       13    money that was owed to your client, as well as Highland

       14    Capital Management Services, Inc. -- would be kept in the

       15    registry of the Court, just as a placeholder.             Okay?     So

       16    that's the perspective I come in with.            That is my memory of

       17    what happened.      Tell me why I'm not seeing it the way you're

       18    seeing it.

       19                MR. KANE:    Yes, Your Honor.       For the record, John

       20    Kane for CLO Holdco.       I'd be happy to address the Court's

       21    question.

       22           That motion was filed seeking relief on essentially an

       23    expedited basis.

       24           I'm sorry.   I don't know if I cut out there.            I had a

       25    little glitch on my screen.




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        1         But that hearing sought relief, in essence, on an

        2    expedited basis, and drew a vehement objection from both the

        3    Committee and also the Acis parties, Mr. Terry and the like.

        4         When we looked at that issue, we determined that there was

        5    likely a reasonable solution.          CLO Holdco's representative,

        6    Grant Scott, had conversations with Judge Nelms, one of the

        7    Independent Directors for the Debtor, discussing the

        8    resolution of a -- of a proposal that would resolve some of

        9    what we understood to be the Debtor's concerns about its

       10    duties to distribute those funds.

       11         It would not be a permanent solution.            At least, that was

       12    our understanding.      Putting funds into the registry of the

       13    Court would preserve the issue of CLO Holdco showing this

       14    Court that it had a legal entitlement to those funds, as

       15    opposed to proceeding with some dispute over the technical

       16    merits of the Debtor's right or need legally to distribute

       17    those funds to the parties.

       18         So we felt like it was a reasonable remedy to satisfy the

       19    Debtor's concerns and also to satisfy the Committee's

       20    concerns.    The Committee would have an opportunity to continue

       21    discovery and to take discovery following the filing of that

       22    motion, as we sought to prove to this Court that we have a

       23    right to the funds, to dispel any concerns that the Court

       24    might have.

       25         And frankly, Your Honor, I think that there is some case




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       1    law out there that would suggest that you had a right to

       2    deposit the funds in the registry of the Court.                 So we didn't

       3    think that there was any issue whatsoever with depositing the

       4    funds in the registry, understanding that that would allow us

       5    an opportunity to prove to you at a later date that we had a

       6    right to remove those funds from the registry.

       7         And Your Honor, I'm happy to try and dig through it real

       8    quick, but there's language in the transcript that talks about

       9    the preservation of the rights of the parties whose funds

      10    would be pled into the registry to then go seek the funds out

      11    of the registry as part of that agreement.             So that's exactly

      12    what we're doing.      The issue here for us, Your Honor, is that

      13    we can establish our burden of proof that we have a right to

      14    these funds.

      15         I understand that the Committee had concerns.                Right?    I

      16    mean, they're a little bit in the same position as the Debtor.

      17    I understand, as a practitioner, why the Committee had reason

      18    to want to scrutinize the transactions involving CLO Holdco as

      19    a related entity.      That doesn't mean that they have a

      20    (inaudible) right to preclude those distributions, and that's

      21    why we're here.

      22         So we've now had ten weeks for the Committee to perform

      23    discovery, to heavily scrutinize the nature of the

      24    transactions involving CLO Holdco.           Leading up to this

      25    presentation to the Court of our evidence that we have a legal




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        1    and factual right to have these funds back out of the registry

        2    under Title 28 of the U.S. Code, the Committee didn't do any

        3    discovery at all on these issues.           At least, not to CLO

        4    Holdco.

        5         So we believe that we're here trying to show the Court,

        6    okay, we want to dispel the Court's concerns.             The Committee

        7    has had an opportunity to scrutinize these transactions.                 But

        8    we'd like our money.       There are operational needs and the

        9    like.    We would like to have our funds.          And we believe that,

       10    unequivocally, the funds that are in the registry of the Court

       11    are CLO Holdco's.      They're not subject to a claim of any other

       12    party.

       13         So that, Your Honor, is why we've submitted our motion

       14    seeking a recovery of the funds from the registry.

       15               THE COURT:     All right.      So, I think what I hear you

       16    saying is that on March 4th you all were agreeable to this

       17    money being put into the registry of the Court, but everyone

       18    understood that you were, pretty promptly after March 4th,

       19    going to file a motion to get an adjudication on why you

       20    should get these funds.       Is that what you're saying?

       21               MR. KANE:     What I'm saying, Your Honor, is, at the

       22    time, we didn't have any problem with the funds being pled

       23    into the registry of the Court, understanding that we had

       24    reserved our right to later seek the funds from the registry.

       25               THE COURT:     Well, --




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        1               MR. KANE:     I'm not sure --

        2               THE COURT:     -- again, I --

        3               MR. KANE:     I'm not sure what the commitment says.

        4               THE COURT:     Maybe I'm splitting hairs, but we were

        5    here in March, and then April 15th you file the motion.                And,

        6    you know, I'm -- it just -- I guess I'm trying to understand.

        7    You know, we were here to litigate this in March, and then

        8    this, you know, kind of status quo agreement was reached.                 And

        9    then a month later, about a month later, you're filing the

       10    motion to tee up the issue all over again.

       11         It's just -- it's not what I anticipated.             Yes, I knew

       12    everyone was reserving their rights, but it wasn't what I was

       13    anticipating.     You know, if I had known a month later that one

       14    of the parties who was agreeing to this was going to be filing

       15    a motion, I would have just said, you know, why don't we do

       16    this today.

       17         So, again, I'm asking:         Am I just misremembering this?

       18    Did everyone but me have a clear idea that, pretty promptly

       19    after March 4th, you all were going to ask to come back on,

       20    you know, a non-expedited basis for the Court to adjudicate

       21    what was already teed up that day to be adjudicated?

       22               MR. CLEMENTE:      Your Honor, the --

       23               MR. KANE:     Your Honor, I can't speak to the other

       24    parties' understanding.

       25               THE COURT:     Okay.     Mr. Clemente was kind of raising




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        1    his hand to speak up.

        2               MR. CLEMENTE:      Yes.

        3               THE COURT:     Am I going down a trail here that I'm the

        4    only --

        5               MR. CLEMENTE:      No.

        6               THE COURT:     -- I'm the only one --

        7               MR. CLEMENTE:      No, you're not.

        8               THE COURT:     Okay.     Mr. Clemente?

        9               MR. CLEMENTE:      No.     No, you're not, Your Honor.         I

       10    have a couple comments, and I have much more to say,

       11    obviously.    But just direct on what Your Honor said:               Nothing

       12    has changed since March 4th.          I think that is fair to say.

       13    And interestingly, in the initial motion, you know, this idea

       14    of the 28 U.S. 2042 governing and it becoming a simple issue

       15    of taking the time regarding amounts or ownership of the money

       16    in the registry was not raised in the motion.               So I found that

       17    kind of interesting.

       18         But I was before you, Your Honor.            And you'll recall on

       19    March 4th that -- that's absolutely not.             I thought what we

       20    were doing was merely preserving the status quo for some

       21    period of time, which is what I believe Your Honor is

       22    suggesting that she recalls as well.

       23         It would have been, I think, a little counterintuitive for

       24    us to have all been there, ready to do that litigation, and

       25    then decide to put something in the registry, and then have




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        1    the argument that you can't look at the Bankruptcy Code to

        2    determine whether the money should come out of the registry or

        3    not, and then be back in front of you, you know, three or four

        4    weeks later to relitigate any of those issues.

        5         So that was absolutely my recollection and understanding,

        6    Your Honor, and I think from your comments I intuit that it

        7    was your understanding as well, that this was not something

        8    that we were going to deal with again very quickly, but was

        9    something to preserve the status quo, a reasonable solution,

       10    an equitable solution under Section 105.            And I believe that's

       11    what Your Honor ordered.

       12               THE COURT:     All right.      Well, I'll let you go ahead

       13    and make your opening statement.          I think Mr. Kane was

       14    finished before I started asking my questions.

       15               MR. CLEMENTE:      Okay.

       16               THE COURT:     Mr. Clemente, you may proceed.

       17               MR. CLEMENTE:      Thank you, Your Honor.        I appreciate

       18    that.   So, and I'll try and be brief on the opening.

       19        OPENING STATEMENT ON BEHALF OF THE OFFICIAL COMMITTEE OF

       20                               UNSECURED CREDITORS

       21               MR. CLEMENTE:      Your Honor, like it or not, CLO Holdco

       22    is not an independent, unrelated, third-party investor merely

       23    seeking distributions on account of its own arm's-length

       24    independent investments.        Instead, CLO is a related party in

       25    literally every sense of the word.           That's not in dispute.




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        1    That is part of the Jim Dondero or Mr. Dondero web of

        2    entities.

        3           CLO Holdco is effectively controlled by Mr. Dondero.              It

        4    was seeded and received assets transferred from the Debtor,

        5    including the assets giving rise to the distribution that's in

        6    the registry.     None of that is in dispute.          All of this at a

        7    time when Mr. Dondero controlled the Debtor as well as the

        8    parties through the various intermediate transactions that

        9    ultimately resulted in the assets arriving in CLO Holdco.

       10    That is not in dispute.

       11           Mr. Dondero's past fraudulent conduct, including

       12    fraudulent transfers, is also not in dispute.             He was on all

       13    sides of this transaction.          And therefore this transaction,

       14    along with many of the others, must be viewed with skepticism

       15    and scrutinized very closely by the Committee and by this

       16    Court.

       17           The Committee has only just begun such work, Your Honor.

       18    And given the Byzantine empire created by Mr. Dondero, it will

       19    take time and significant resources to fully and properly

       20    conduct an investigation.

       21           And Mr. Kane referred to, did we do discovery?             We did

       22    not.    Our reaction to this motion was the same as Your Honor.

       23    And as you can see by the stipulations that we have agreed to

       24    for purposes of this hearing, we didn't want this to be a

       25    situation where the estate would spend a tremendous amount of




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        1    resources to deal with something that we thought that was

        2    dealt with on March 4th.

        3          But aside from that, given the web that's been created

        4    here, we can't just isolate one piece of it.             We can't just be

        5    like, I'm going to look at the CLO Holdco documents and be

        6    able to develop a full theory.          This is a tapestry of

        7    interrelated entities that is opaque and vague and purposely

        8    so.   So you can't just focus on one piece and then try and

        9    say, well, I know what this piece is, because that piece has

       10    many interrelated complex ramifications and relationships

       11    where, frankly, you can't just say, okay, let's focus on this

       12    one issue, because you're going to miss the entire tapestry.

       13          We still need to examine, as I mentioned, the whole thing,

       14    and this takes time and it takes an investment.                 So while I

       15    understand CLO Holdco wants to receive its distribution, I

       16    also understand that my constituency wants to be paid, some of

       17    whom have been waiting for over a decade.

       18          To be clear, Your Honor, my constituency didn't choose to

       19    be here in the bankruptcy.          But CLO Holdco chose to associate

       20    itself with Mr. Dondero and to take assets from Highland in

       21    convoluted related-party transactions and reap the benefits of

       22    those transactions.      CLO Holdco can't now step away from that

       23    and try and suggest to Your Honor that this is about taking

       24    time under 28 U.S.C. 2042.          That was never what it was about

       25    on March 4th, and it's not what it's about today.




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        1         Instead, it's about the overall situation and why we find

        2    ourselves here.

        3         And Your Honor, I'm here to tell you, I think, and I

        4    believe Your Honor would agree, that the Bankruptcy Code and

        5    Section 105 and all the other provisions of the Code are alive

        6    and well in this courtroom, despite the distribution being put

        7    into the registry on March 4th.

        8         You clearly found you had the authority under Section 105

        9    to hold the funds, nothing has changed in the intervening

       10    time, and therefore the funds should remain in the registry.

       11         This is not a dispute under, you know, 28 U.S.C 2042 about

       12    ownership, again, or where somebody pleads an amount in the

       13    registry to let other people argue that they actually owned

       14    the money.    This was always about preserving the estate and

       15    maintaining the status quo.

       16         Such a result might be unfair if it was a different party,

       17    but CLO is a related party controlled by Mr. Dondero.                It's

       18    not an unaffiliated party.

       19         So, from our perspective, the motion should be denied,

       20    Your Honor.

       21               THE COURT:     All right.      Thank you.

       22         I assume no one else has an opening statement because

       23    there were no other pleadings filed regarding this motion.

       24         All right.     Mr. Kane, let's turn to your evidence.

       25               MR. KANE:     Thank you, Your Honor.        I'll tell you




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        1    what.    Just to make sure that we're hitting on the issue that

        2    was out in front of this Court a moment ago, I'd like to start

        3    by just directing the Court's attention to the Committee's

        4    Exhibit 3 or Exhibit C, which is a transcript of that hearing

        5    from March.

        6                THE COURT:    Okay.

        7                MR. KANE:    And Your Honor, Page 119, Lines 4 through

        8    11, are your statements about what you were doing entering the

        9    order.    And you know, when the funds are being pled into the

       10    registry of the Court, but I do think the Court has broad

       11    equitable powers to remedy, to fashion remedies that preserve

       12    the status quo.      And I think it is appropriate here to order

       13    that most of this money, that most of the $8.6 million that

       14    would go to related investors in these three Funds -- this is

       15    the important part -- be put into the registry of the Court

       16    pending further motions, orders, adversary proceedings anyone

       17    wants to file to make a claim to that money.

       18         So, Your Honor, that's what we did.            We -- the rights were

       19    reserved.    CLO Holdco made a motion, filed its essentially

       20    claim to the money that's in the registry of the Court.

       21         So, Your Honor, I'd like now to just briefly walk through

       22    the exhibits, because I think it's important to understand

       23    exactly what CLO Holdco's claim to the funds really is.

       24         So, Your Honor, first, I'd like to move for the admission

       25    of CLO Holdco's Exhibits 1 through 16 and all subparts.




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        1               THE COURT:     All right.      Well, I understood earlier

        2    there is a stipulation to the admissibility of these.                So, for

        3    the record, I am admitting CLO Exhibits 1 through 16 in their

        4    entirety, and they appear at Docket Entry 782.              All right?

        5               MR. KANE:     Thank you, Your Honor.

        6          (CLO Holdco's Exhibits 1 through 16 are received into

        7    evidence.)

        8               MR. KANE:     Your Honor, Exhibit 1A is the Highland

        9    Capital Loan Fund, LP subscription agreement.              Now, this

       10    subscription agreement is in the amount of $2,032,183.24 and

       11    is dated December 28, 2016.

       12          You'll notice that CLO Holdco obtains an interest in the

       13    Highland Capital I Fund through a transfer in kind.                Schedule

       14    1 to Exhibit 1A shows the progression of this interest,

       15    admittedly, from the Debtor to the Get Good Trust down through

       16    a series of charitable entities, through the Charitable DAF,

       17    to CLO Holdco.

       18          Your Honor, Exhibit 1B, we've included just make sure

       19    everybody's on the same page.          The Highland Capital Loan Fund,

       20    LP, in which H -- CLO had the subscription interest, had a

       21    name change to essentially what we were referring to as the

       22    Dynamic Fund.     It was changed to Highland Dynamic Income Fund,

       23    LP.   So when there are references to the Highland Capital Loan

       24    Fund subscription, it's really a reference to the subscription

       25    in the Dynamic Fund.




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        1         Exhibit 1C is Highland Argentina Regional Opportunity Fund

        2    Limited subscription documents.          This is a $2.5 million

        3    subscription dated June 6, 2018, showing that CLO Holdco

        4    obtained its $2-1/2 million subscription in the AROF Fund by

        5    payment.

        6         Exhibit 1D is a NAV statement dated November 11, 2019

        7    showing CLO Holdco's interest in the Dynamic Fund totaled

        8    $1.689 million and change.

        9         Exhibit 1E is the NAV statement from December 31, 2019

       10    from the AROF Fund showing that CLO Holdco's interests in that

       11    fund were valued at $918,905.82.

       12         Exhibits 1F and 1G are the investment management

       13    agreements for Dynamic and AROF.          And then Exhibits 1H and 1I

       14    are the Dynamic LP agreement and the AROF LP agreement.

       15         We can skim over Exhibits -- well, actually, I'd like to

       16    point to Exhibit 2 and note that there are no (inaudible)

       17    related to any CLO Holdco wrongdoing in the Committee's (audio

       18    gap) to the -- CLO Holdco's motion for remittance of funds

       19    held in the registry of the Court.

       20         Also, on Paragraph 10, the Committee acknowledges that, in

       21    exchange for the transfer of the Dynamic interests, the Get

       22    Good Trust transferred the Dugaboy Trust note of about $24

       23    million.

       24         And in Paragraphs 17 and 18, the Committee acknowledges

       25    that it had been pursuing discovery on CLO Holdco obtaining




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        1    interests in the Dynamic Fund since early February.

        2         Your Honor, Exhibit 3 is CLO Holdco's reply to the

        3    Committee.     Exhibit 4 is the notice of hearing.               Exhibit 5 is

        4    the Debtor's February 4th -- or, 24th distribution motion.

        5    And Your Honor, we have a stipulation between the Committee

        6    and CLO Holdco for the sake of this hearing to the facts

        7    included in Footnote 7.

        8         So, in Footnote 7, the Debtor states, I'll read it into

        9    the record for the Court:

       10           The limited partnership interests in Dynamic held by

       11           CLOH, CLO Holdco, were originally held by the Debtor.

       12           The Debtor transferred those interests to the Get

       13           Good    Nonexempt    Trust,        defined   as     Get    Good,     on

       14           December 28, 2016, in exchange for 97.6835 percent of

       15           Get    Good's    interest     in   a   promissory    note     in    the

       16           original     principal       amount     of   approximately          $24

       17           million issued by the Dugaboy Investment Trust.                     Get

       18           Good    subsequently         transferred     its    interests        in

       19           Dynamic     to     Highland        Dallas    Foundation,        which

       20           transferred      those   interests      to   CLO    Holdco.         The

       21           Dugaboy Investment Trust has been paying amounts due

       22           and owing under the $24 million note, and the current

       23           principal amount is approximately $17.5 million.

       24         Your Honor, that's an important fact, and I'll get to that

       25    in just a moment.       But one of the reasons why that's an




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        1    important fact is the Dugaboy Investment Trust note is

        2    actually (audio gap) note with a balloon payment due at

        3    maturity.    So, paydown of the principal means that the Dugaboy

        4    Trust is actually paying Highland Dallas Foundation principal

        5    payments on that note, despite not having a strict contractual

        6    obligation to do so until the maturity date, which expires in

        7    another 16 years.      So it's been paying principal that it

        8    doesn't have to pay, and interest on the note, which was

        9    exchanged for the Dynamic and other interests transferred to

       10    the Get Good Trust.

       11         Your Honor, the next exhibit is Exhibit 6.             This is the

       12    Committee objection to the distribution motion.                 We'd also

       13    note that there is no reference to any bad acts by the

       14    Committee alleged against CLO Holdco other than simply having

       15    a relationship with James Dondero and the fact that its

       16    investments were managed by Highland.            And that's included in

       17    Paragraph 11 of that pleading.

       18         7 is the Debtor's reply to the Committee's objection.

       19         8 is the Debtor's responses to CLO Holdco's deposition by

       20    written question.      Your Honor, this has been stipulated as

       21    admissible in full by the Committee.           And we think that this

       22    is important because, starting on Page 7 of this exhibit,

       23    David Klos, the chief accountant -- or, the chief accounting

       24    officer of Highland Capital Management, LP, the Debtor, walks

       25    through the Debtor's means for determining ownership, the




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        1    accounting for interests, the liquidation of Funds, and

        2    determining amounts due from the proceeds of those Funds to

        3    CLO Holdco for both the Dynamic and the AROF Funds.

        4         So, again, Your Honor, the Committee is not stipulating

        5    that the Debtor has appropriately performed this function and

        6    that the amounts that are purportedly due from the Debtor's

        7    liquidation of these Funds to the Committee is accurate.

        8         Number 9, Your Honor, is a stipulation regarding CLO

        9    Holdco's lack of a transfer of any interests in Dynamic and

       10    the AROF Funds.

       11         I noted for Your Honor at the beginning of my open that

       12    this was a stipulation I really did want to read into the

       13    record.    I want to be fair to the Committee, and there are

       14    some limitations on this stipulation.           So what I'd like to do

       15    is read this, then.      This is an email statement from Allison

       16    Stromberg of Sidley on behalf of the Committee.                 And Mr.

       17    Clemente is cc'd on this email dated June 22, 2020:                 "With a

       18    few edits, we can agree to the stipulation for the purposes of

       19    the June 30 hearing."       And this is the edited version that Ms.

       20    Stromberg proposed:

       21           "The Committee and CLO stipulate to the following,

       22           solely for the purposes of this hearing.             Grant Scott

       23           represented to the Committee that CLO Holdco, Ltd.

       24           did not, after obtaining the disputed interests in

       25           the entities commonly referred to as the Dynamic and




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        1           the AROF Funds, transfer those interests to any other

        2           party.     The Committee, solely for the purposes of

        3           this hearing, does not contest that assertion and

        4           stipulates to that fact.          This stipulation shall not

        5           be binding on the Committee in any future proceedings

        6           and shall not have any preclusive effect against the

        7           Committee in any future disputes, contested matters,

        8           adversary proceedings, or other legal matters between

        9           the Committee and CLO or any other party.                 Further,

       10           this stipulation shall not in any way preclude or

       11           limit the Committee from asserting claims or causes

       12           of action against CLO in the future, including but

       13           not limited to claims challenging the validity of

       14           CLO's disputed interest and/or transactions through

       15           which CLO Holdco obtained such disputed interests or

       16           claims to avoid and recover such disputed interests

       17           in the Dynamic and AROF Funds or their proceeds."

       18         Your Honor, for the sake of this hearing, no dispute that

       19    when CLO obtained those interests, it didn't transfer them to

       20    any other party.

       21         Exhibit 10 includes another stipulation between

       22    Committee's counsel and CLO Holdco's counsel.             And this

       23    relates to some of the exhibits that are already in the

       24    record.    And for that, Your Honor, we can skim over this.

       25         When the motion was initially filed, we had a signature




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        1    page issue on one of the exhibits and a metadata strip on

        2    another exhibit that we corrected.           We provided the corrected

        3    exhibits to the Committee.          The corrected exhibits were

        4    included with this motion.          And it's noted in our witness and

        5    exhibit list which corrected exhibits those are.                They'll be

        6    1A and 1C.

        7         Exhibit 11, Your Honor, is an important exhibit for us.

        8    And we would direct the Court's attention to Page 3 of this

        9    exhibit.    So, on Page 3, there is a list of debits and credits

       10    associated with the Highland Argentina Regional Opportunity

       11    Fund statement of accounts -- essentially, a bank statement

       12    from June 6, 2018 to June 30, 2018.

       13         You'll note, Your Honor, that there is an incoming source,

       14    an incoming wire transfer from CLO Holdco, Ltd., which

       15    credited the AROF account by $2.5 million.             That's the date of

       16    this subscription agreement, Your Honor, and it's consistent

       17    with the subscription agreement statement that shows that CLO

       18    Holdco obtained a subscription in the AROF Fund by a wire

       19    transfer.    So it's not a transfer from Highland of the

       20    interests like it was with the Dynamic Fund.

       21         Exhibit 12, Your Honor, is a purchase and sale agreement.

       22    Now, this is an exchange between the Get Good Trust and the

       23    Debtor.    It's dated December 28, 2016.          And I'll talk about

       24    this a little bit in our closing argument, but I did want to

       25    just have a brief walk through this.           Under this purchase and




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        1    sale agreement, there is an exchange.            This is not a one-sided

        2    agreement that denudes the Debtor of assets without anything

        3    in return.    This exhibits shows that the Debtor receives the

        4    Get Good interests in the Dugaboy note, which was

        5    approximately a $24 million note.           In exchange, Get Good

        6    received about $23 million worth of various interests.                It

        7    received a $2.032 million interest in the Highland Loan Fund.

        8    And Your Honor, if you'll recall, that's the Dynamic Fund.                    It

        9    received certain American Airlines call options that had a

       10    fair market value at the time of about $8.7 million.                And then

       11    it received various participation interests in Highland's

       12    interests in the Crusader Funds, which had a fair market value

       13    at the time of about $12.6 million.

       14         Now, Exhibit A, which is internally attached to Exhibit

       15    12, is a copy of the Dugaboy note.           And that, Your Honor,

       16    shows that this was an interest-only note, about $2.75 percent

       17    interest, with the principal due on a 20-year term.                So,

       18    annual interest payments, principal due at a later date, and

       19    there was no prepayment penalty on principal.              So, Your Honor,

       20    you've seen that the principal was paid down at least about

       21    $6-1/2 million, in addition to other interest payments made

       22    under the terms of that note.          So the Debtor did receive

       23    consideration in exchange.

       24         Exhibit 13 is an amendment to that purchase and sale

       25    agreement.    And we included this as what we call a full




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        1    disclosure agreement.       There is an adjustment to the deal

        2    terms in which the call options are revoked, and instead of

        3    the Get Good Trust receiving the call options in the American

        4    Airlines stock, it received participation interests.                There's

        5    no adjustment to the Dugaboy note, and there's no adjustment

        6    to the Crusader interests that were transferred.

        7         Your Honor, Exhibit 14, this is also just a full

        8    disclosure exhibit.      This shows that the Get Good Trust was

        9    identifying as a trust beneficiary the Highland Dallas

       10    Foundation, to make, in essence, the charitable donation that

       11    would then be pushed down to the Charitable DAF and then

       12    invested by CLO Holdco.

       13         Exhibit 15 is the Dynamic Fund side letter exhibit dated

       14    January 10, 2017.      And this really is included to show, in the

       15    last "Whereas," Your Honor, the series of transfers from the

       16    Debtor to the Get Good Trust down to CLO Holdco and how CLO

       17    Holdco came to acquire the interests in the Dynamic Fund.

       18         And finally, Your Honor, is Exhibit 16.             We think this is

       19    an important exhibit for a number of reasons.              First, the

       20    Debtor disclosed in correspondence with CLO Holdco and the

       21    Committee that this exhibit was produced in November of 2019

       22    by the Debtor to the Committee.          I notice that the Bates stamp

       23    was a significantly lower number than the rest of the exhibits

       24    we received in our discovery request.

       25         But this document shows a number of important facts.                If




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        1    you look at Page 2, Your Honor, this shows that the

        2    consolidated balance sheet for Highland Capital Management, LP

        3    showed a net -- a positive net worth at the time of about $418

        4    million.     And if you look at it on a cash flow basis, the

        5    consolidated income statement for year-end dated December 31,

        6    2016 shows about $39,356,000 of net income in 2016

        7    attributable to Highland Capital Management, LP.

        8         And then if you turn the Page 33, Your Honor, there is a

        9    heading called Investment Liability.               And the bottom paragraph

       10    on -- over on Page 33 of Exhibit 16 shows that, in this

       11    audited financial statement, PricewaterhouseCoopers had

       12    analyzed this transfer transaction.            It states:

       13           "On December 28, 2016, the Partnership" -- that's

       14           Highland      Capital   Management,         LP,    the    Debtor     --

       15           "entered into a purchase and sale agreement with the

       16           Get Good Nonexempt Trust.              In consideration for a

       17           note receivable from an affiliate, the Partnership

       18           sold or participated in certain investments that it

       19           already    held,     with     the     participated       investments

       20           carrying an aggregate market value of $21.3 million

       21           as of the date of the transaction.                The fair value of

       22           the agreement will fluctuate with the fair value of

       23           the securities throughout the term.                 As of December

       24           31,   2016"    --   that     was    three   days    later    --    "the

       25           participated investment value had reduced from $21.83




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        1           to $18.7 million."

        2         Again, Your Honor, this is in exchange for a $24 million

        3    note that it's been paying.

        4         So, Your Honor, given the stipulation of the Debtor, we no

        5    longer need to call David Klos, so what we would propose to do

        6    at this time is close our case-in-chief and allow Mr. Clemente

        7    to go forward with (audio gap).

        8               THE COURT:     All right.      Mr. Clemente, you may proceed

        9    with your evidence.

       10               MR. CLEMENTE:      Thank you, Your Honor.        Just a couple

       11    of things to note (indecipherable) into argument, though I

       12    would point Your Honor to the Committee's -- so, first of all,

       13    I'd move for the formal admission of the Committee's exhibits

       14    for purposes of this hearing, Exhibits 1 through 3, which are

       15    the two Acis opinions and the transcript from the March 4th

       16    hearing.    Again, it's subject to the stipulation Mr. Kane

       17    referenced earlier.

       18               THE COURT:     All right.      Committee Exhibits 1 through

       19    3 are admitted by stipulation, and they appear on the docket

       20    at Docket Entry No. 789.

       21         (Unsecured Creditors' Committee's Exhibits 1 through 3 are

       22    received into evidence.)

       23               MR. CLEMENTE:      Thank you, Your Honor.        And I'd like

       24    to point Your Honor to Page 43 of Exhibit 3, which is the

       25    transcript from the March 4th hearing, and read into the




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       1    record a statement by Mr. Lynn which says, "We'd like to

       2    suggest the following, should the Court determine" --

       3               THE COURT:     Okay.     Tell me --

       4               MR. CLEMENTE:      Yes?

       5               THE COURT:     I didn't hear what page again?

       6               MR. CLEMENTE:      Oh, I'm sorry, Your Honor.           It's Page

       7    43, starting at Line 14.

       8               THE COURT:     Okay.

       9               MR. CLEMENTE:      And Mr. Lynn states, "We'd like to

      10    suggest the following, should the Court determine that the

      11    motion be denied, and that is that instead of the Debtor

      12    retaining the funds, that the Debtor distribute the funds into

      13    the registry of the Court.          That way, they" -- meaning the

      14    Debtor, Your Honor -- "lose control over the funds and they

      15    can say they distributed them in accordance with their

      16    agreements and applicable law."

      17         So, the point, again, Your Honor, from the hearing was to

      18    simply preserve the status quo yet ensure that the funds would

      19    be safeguarded by depositing them within the registry of the

      20    Court.

      21         Additionally, Your Honor -- and Your Honor may be

      22    scratching her head as to why the Committee stipulated to all

      23    of this.    It's not about taking in kind and filing three

      24    documents.    That was never the issue at the March 4th hearing.

      25    Frankly, that's not the issue today.            The March 4th hearing




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        1    wasn't about ownership of the Funds, which is what the

        2    exhibits Mr. Kane just walked through purports to show.                The

        3    March 4th hearing was about the web and the circumstances

        4    surrounding the case and the circumstances surrounding CLO

        5    Holdco.

        6         What Mr. Kane's exhibits don't refute is the fact that all

        7    of the interests that CLO Holdco has on which it's here today

        8    and funds were deposited into the registry on account of came

        9    from the Debtor.      What Mr. Kane's factual record does not

       10    dispute is that, at that time, the Debtor was controlled by

       11    Mr. Dondero.     And the Dugaboy Trust and the Get Good Trust

       12    were at various times controlled by Mr. Dondero, Mr. Scott,

       13    and Nancy Dondero, Mr. Dondero's sister.

       14         So, again, Your Honor, it isn't about walking through

       15    account statements.      It's about the context in totality.

       16         Finally, Your Honor, and I believe the exhibits Mr. Kane

       17    referred to, including Exhibit 12, they make clear, and I

       18    think Mr. Kane admits that, that these interests did come from

       19    the Debtor.

       20         Finally, Your Honor, the other factual point I would like

       21    to make refers to Mr. Kane's Exhibit 16, which he finished up

       22    with.   These are the consolidated financial statements of

       23    Highland Capital Management.         I find it all very interesting

       24    what the book values of assets and liabilities are, but I do

       25    not believe that there's any reference in these financial




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        1    statements to contingent liabilities or litigation claims,

        2    including claims with respect to Redeemer or potential claims

        3    with respect to UBS.

        4         So, Your Honor, I would just suggest that this exhibit,

        5    although for purposes of the stipulation we agree with what

        6    the numbers, you know, that the numbers say what they are,

        7    it's entirely replete -- and I think Your Honor would know, of

        8    course, that any analysis of fraudulent transfer would have to

        9    take into a reasonable estimate of contingent liabilities.

       10         So that's the only other point I would like to make from

       11    the factual background, Your Honor.           Unless you have any

       12    questions for me, I'll just reserve the rest for argument.

       13               THE COURT:     All right.      I have no other questions at

       14    this time for you.

       15         All right.     Shall we go to closing arguments, then?

       16               MR. KANE:     Yes, Your Honor.       This is John Kane for

       17    CLO Holdco.     I did want to make one important clarification,

       18    because it was about a characterization of the exhibits that

       19    were presented by CLO Holdco.

       20         Mr. Clemente stated that we had no -- or, that the

       21    evidence that I've presented indisputably showed that all of

       22    the interests have been liquidated, so the funds that we're

       23    seeking here today came from the Debtor.            And what our Exhibit

       24    11 shows is that CLO Holdco used its cash that it wired to the

       25    AROF Fund to obtain its interests in AROF.




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        1         That was not a transfer by the Debtor.            There is no

        2    evidence suggesting whatsoever that that flowed down from a

        3    Highland interest to CLO Holdco.          That was a cash acquisition

        4    by CLO Holdco to AROF for its subscription interest in the

        5    Argentina Fund.

        6               THE COURT:     All right.      Well, Mr. Clemente, let me

        7    follow up on that.      Are you going back to 2011, and is that

        8    what you were referring to, that all of CLO Holdco's original

        9    seed money -- I guess it was a couple of levels up from CLO

       10    Holdco -- originated from Highland?

       11               MR. CLEMENTE:      That's correct, Your Honor.          And

       12    that's what Your Honor writes in the Acis opinions, --

       13               THE COURT:     Uh-huh.

       14               MR. CLEMENTE:      -- that ultimately the DAF and the CLO

       15    Holdco were seeded by the Debtor.           That's our position, that

       16    all of the assets that ultimately were used to seed the DAF

       17    came from the Debtor, and then obviously Mr. Kane's exhibits

       18    demonstrate that the particular interests with respect to

       19    Dynamic came from the Debtor.

       20               THE COURT:     All right.      Mr. Kane, any comment about

       21    that?

       22               MR. KANE:     Yes, Your Honor.       And this is -- we're

       23    back in an evidentiary hearing.          So whether or not there were

       24    seed funds that were contributed by Dondero or related trusts,

       25    that I think this Court has found that was the case in the




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        1    past, but that does not mean that there were not other viable

        2    investments, personal funding by Dondero individually,

        3    deposits by Mark Okada individually or other third parties

        4    through Dallas Foundation, that there were not legitimate

        5    funds, legitimate means of generating revenue by CLO Holdco

        6    that allowed it to reinvest money.

        7         And this is -- there's an inference made, Your Honor, by

        8    the Committee that because there was an initial seed of this

        9    CLO Holdco entity by Jim Dondero and various trusts, whether

       10    through Highland or other entities, that all of the funds that

       11    it forever uses are somehow inherently tied to Highland.

       12    We're talking about 2011, transitioning to 2018 for a cash

       13    investment made.      I think that is a huge stretch.

       14         I think it's important to know that there is zero evidence

       15    presented by the Committee to substantiate the statement that

       16    this $2.5 million somehow arose from Highland Capital

       17    Management, LP.

       18               THE COURT:     Okay.     All right.    Well, proceed with

       19    your closing argument, please.

       20               MR. KANE:     Yes, thank you, Your Honor.

       21             CLOSING STATEMENT ON BEHALF OF CLO HOLDCO, LTD.

       22               MR. KANE:     So, I do want to go back a little bit to

       23    what you had previously stated about the March hearing.                So,

       24    we acknowledge that the Court has a right to submit funds into

       25    the registry of the Court in a contested matter under rare




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        1    circumstances under Rule 67 and In re Kim.             But it is our

        2    position that once funds are pled into the registry of the

        3    Court, there is a material shift in how those funds are

        4    treated and what the Court can really do to adjudicate matters

        5    involving those funds.

        6         So, there are zero Bankruptcy Code references that relate

        7    to a Chapter 11 dispute and Bankruptcy Code statutes that

        8    address the registry of the Court.           The only Bankruptcy Code

        9    statute in the entirety of the Bankruptcy Code that references

       10    the registry of the Court or proceeding under 28 U.S.C. 2041

       11    and 2042 is Section 347(a) of the Bankruptcy Code, which

       12    applies to unclaimed funds only in Chapter 7, 12, and 13

       13    cases.

       14         So, Your Honor, we're looking at a situation here where

       15    funds are in the registry of the Court.            And once funds are in

       16    the registry of the Court, under 28 U.S.C. 2041, the Court

       17    holds money as a statutory trustee for the rightful owners.

       18         That's an issue that's been addressed by most circuits,

       19    Your Honor.     And as noted by the First Circuit, the funds that

       20    are deposited in the registry of the Court are not at the

       21    disposal of the judge but held in trust for the rightful

       22    owner.   That's the Alstom Caribe case from the First Circuit

       23    in 2007.

       24         The Fifth Circuit has addressed this issue on a number of

       25    occasions, and noted that once funds are deposited into the




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        1    Court's registry, the Court should determine ownership and

        2    make disbursements.      It's not suggesting a long hold.            That's

        3    from Craig's Stores, a Fifth Circuit decision in 2005.

        4         Your Honor, CLO Holdco acknowledges that the Fifth

        5    Circuit's decision in U.S. v. Cochran and 28 U.S.C. 2042 place

        6    the burden of proof of ownership squarely on the party seeking

        7    funds from the registry of the Court.           And so here, as shown

        8    in Craig's Stores and U.S. v. Beach, which is an Eleventh

        9    Circuit decision, CLO Holdco has to prove ownership by a

       10    preponderance of the evidence.          On that showing, the Fifth

       11    Circuit noted in Cochran that a court needs to remit the funds

       12    to the party that satisfied its burden of proof.

       13         So, how do I satisfy my burden of proof?             I have to show

       14    that -- I have to show that I have title to those funds or

       15    that CLO Holdco has title to those funds.

       16         Your Honor, a lot of courts have addressed what title

       17    means in a 28 U.S.C. 2042 dispute.           And proving title means

       18    demonstrating a present right to the funds.             A present right

       19    is a right that is not hypothetical, it's not unliquidated,

       20    and it isn't presently possessed by some other party.

       21         So, applying the evidence here, there is overwhelming

       22    evidence that CLO Holdco has a present right to these funds.

       23    The Dynamic subscription proves that CLO Holdco had an

       24    interest in the Dynamic Fund.          The AROF subscription proved

       25    that CLO Holdco had an interest in the AROF Fund.               We provided




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        1    proof to the Court of either how those interests were

        2    transferred to CLO Holdco or how they were acquired by cash

        3    payment by CLO Holdco.       The Committee has stipulated that,

        4    once obtained, CLO Holdco did not transfer those interests to

        5    any other party.      So, Your Honor, that hits the no other party

        6    presently possessing title.

        7         We can show Your Honor through Mr. Klos' testimony and

        8    testimony previously presented to the Court that the Debtor

        9    liquidated all of the parties that had an interest in the

       10    Dynamic and AROF Funds interests.           Those Funds are done.

       11         Mr. Klos' testimony and his deposition by written

       12    questions shows that the Debtor calculated the pro rata

       13    interest due to CLO Holdco, and the Committee has stipulated

       14    to those amounts.      They're not in dispute.

       15         So, Your Honor, frankly, I'm not entirely sure what else

       16    CLO Holdco would need to show to concretely establish that it

       17    has a present valid legal claim to the interests in the

       18    registry of the Court.       It's satisfied every element of its

       19    claim to the funds.

       20         And right there, under a 28 U.S.C. 2402 dispute, that

       21    should end the discussion about whether we're entitled to

       22    remittance of the funds from the registry amount.               We have a

       23    proven, current, valid legal title hold.            And that's all

       24    that's required for relief under Fifth Circuit case law,

       25    Fourth Circuit case law, Eleventh Circuit case law addressing




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        1    these registry motions.

        2         Your Honor, we understand that the Committee is arguing

        3    that the funds should just sit in the registry of the Court.

        4    We'd like to reiterate, we think it's very important that the

        5    Committee has not asserted any form of affirmative relief in

        6    this Court.     There is no adversary proceeding.           There is no

        7    motion for some kind of prejudgment writ of attachment or

        8    anything like that.      This is a defensive play by the

        9    Committee.    It is an -- it is solely an objection to CLO

       10    Holdco's position.      That objection wants to maintain the

       11    status quo.     That's it.

       12         So, what is maintaining the status quo?             Well, if we're

       13    going to address the Committee's objection, we need to look at

       14    Rosen v. Cascade, which is an Eleventh Circuit case that says,

       15    when a party issues this type of objection, or even a motion

       16    for (audio gap) relief, you need to look at the actual nature

       17    of the relief sought by the party, not necessarily just the

       18    description of the relief sought.

       19         Well, what is the nature of the relief?             The Committee has

       20    noted in its pleadings that it wants this Court to leave CLO

       21    Holdco's funds in the registry so that it can use those funds

       22    as security against a potential hypothetical future judgment

       23    because it believes that collection against CLO Holdco, a

       24    Cayman entity, may otherwise be difficult.

       25         Okay.    So the Committee wants this Court to keep CLO




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       1    Holdco's funds, after it's proven title to those funds, to

       2    serve as surety against a potential future judgment.                As we

       3    noted in our pleadings, Your Honor, Black's Law defines

       4    attachment as seizing of a person's property to secure a

       5    judgment.    We believe that that's exactly what's happening

       6    here.   The Committee wants the Court to hold CLO Holdco's

       7    property pending a potential future judgment.

       8         Your Honor, a prejudgment remedy like attachment invokes

       9    Bankruptcy Rule 7064, and at least here the Committee is

      10    willing to -- or, CLO Holdco is willing to acknowledge that

      11    7064 is applicable in a contested matter like the one before

      12    the Court.    But to obtain relief under 7064, the party would

      13    have to satisfy Texas law and the requirements for a

      14    prejudgment writ of attachment.

      15         Your Honor, that falls under Section 61 of the Texas Civil

      16    Practice and Remedies Code.         But importantly, Judge Houser has

      17    addressed that specific issue in the Atlas Financial Mortgage

      18    case.   And she hits the nail on the head.           She notes that, To

      19    prove a claim for a right to a writ of attachment, prejudgment

      20    writ of attachment, the party seeking that relief must have

      21    made, and this is a quote, "a certain and liquidated demand or

      22    a demand whose amount is reasonably certain."             And she cites

      23    the Fifth Circuit case In re Fredeman Litigation .

      24         There is no demand by the Committee, and there is

      25    certainly no demand for an amount certain.             There is no claim.




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        1    There is no cause of action asserted by the Committee against

        2    CLO Holdco.

        3         Judge Houser went on to state that, If the amount of

        4    damages can only be ascertained by the fact-finder, a writ of

        5    attachment is inappropriate.

        6         Your Honor, again, we have no idea what is asserted.

        7    Presumably, any damage model that the Committee asserts that

        8    it has would have to be thoroughly litigated and the damage

        9    modelled by the Court.

       10         Also, prejudgment writ of attachments are only available

       11    in liquidated claims that arise out of contract.                That doesn't

       12    exist in this case.

       13         So the Committee is just flat out ineligible for any kind

       14    of prejudgment writ of attachment.

       15         So, next, Your Honor, that flows to, well, is an

       16    injunction available?       Arguably, the Committee is defensively,

       17    not affirmatively, but defensively asking this Court to enjoin

       18    CLO Holdco from removing its funds from the registry of the

       19    Court or otherwise using those funds.           Well, that was what

       20    happened in Atlas Financial Mortgage.            Judge Houser said,

       21    well, you're not eligible for a prejudgment writ of

       22    attachment, but you actually are eligible for a preliminary

       23    injunction.     But she went into a very detailed analysis of

       24    when a preliminary injunction would be obtainable.

       25         And Your Honor, I think before I get to Judge Houser's




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        1    kind of final analysis on that issue, I'd like to look at what

        2    do the Bankruptcy Rules say?         Bankruptcy Rule 7001, Subsection

        3    7, notes that an adversary proceeding is a proceeding to

        4    obtain an injunction or other equitable relief other than when

        5    that relief is in the plan.         So, plan injunction, totally

        6    different animal.      And CLO Holdco readily admits that.            But an

        7    injunction against the assets of another party requires an

        8    adversary proceeding.

        9         Bankruptcy Rule 7065 incorporates Federal Rule of Civil

       10    Procedure 65, which is -- which addresses the means of

       11    obtaining a preliminary injunction.           Importantly, Bankruptcy

       12    Rule 9014 excludes 7065 in Bankruptcy Rules applicable in a

       13    contested matter.

       14         So, again, Your Honor, the Bankruptcy Rules essentially

       15    trickle down on this idea that if the Committee wants some

       16    form of injunctive relief, it must file an adversary

       17    proceeding to obtain that relief against CLO Holdco.

       18         And Judge Houser's analysis in the Atlas Financial

       19    Mortgage case is very consistent with that position.                The

       20    party seeking the injunction, she said, must assert a

       21    cognizable claim to specific assets or must seek an equitable

       22    remedy involving those assets in its adversary proceeding and

       23    complaint.

       24         There is no adversary proceeding here.            There is no

       25    complaint.    The Committee has not asserted any claim or cause




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        1    of action against any specific assets owned by CLO Holdco.

        2    And the Committee has not asserted any equitable remedy

        3    against any specific asset in an adversary proceeding against

        4    CLO Holdco.

        5         Your Honor, as Judge Houser noted, Federal Rule of Civil

        6    Procedure 65, as incorporated by 7065, enables a court to

        7    issue preliminary injunctions -- and I stress this -- pending

        8    trial.   It is a prejudgment, post-commencement of adversary

        9    proceeding remedy.

       10         And before Judge Houser is willing to issue -- and,

       11    really, any court under the Fifth Circuit -- is willing to

       12    issue a preliminary injunction, those courts consider four key

       13    factors that must be proven by the movant before the

       14    injunction can enter.       And that is:      A substantial likelihood

       15    of success on the merits; (2) a substantial threat of

       16    irreparable injury if the injunction does not issue; (3) that

       17    the threatened injury if the injunction is denied outweighs

       18    any harm that will result if the injunction is granted; and

       19    (4) that the grant of injunction will not disserve the public

       20    interest.

       21         That's from Janvey v. Alguire, which is a Fifth Circuit

       22    decision in 2011 and is incorporated into Judge Houser's Atlas

       23    Financial Mortgage decision.

       24         So, let's look at those elements, Your Honor, even

       25    assuming that the Committee is somehow asserting a claim for




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        1    injunctive relief.

        2         The Committee has the burden of proving that there is a

        3    likelihood of success on the merits of its claims against CLO

        4    Holdco.    The Committee has not asserted any claims against CLO

        5    Holdco.    Moreover, CLO Holdco is unable to identify any

        6    potential claim that the Committee could assert based on the

        7    facts that are in evidence.

        8         There is evidence of a $2.5 million cash payment by CLO

        9    Holdco to obtain a subscription in AROF.            There is evidence of

       10    an exchange of reasonably equivalent value between Highland

       11    and Get Good for the initial transfer of the Dynamic

       12    interests.    Your Honor, the Dugaboy Trust note has been paying

       13    down.   There is no evidence of insolvency at the time of the

       14    transfer as a result of the Dynamic transfer.              In fact,

       15    Exhibit 16 shows the Debtor had a very large equity value and

       16    made actually a million dollars.          And there's no evidence of

       17    any fraudulent intent at any time related to the Dynamic

       18    transfer.    There is simply no evidence whatsoever, and no

       19    attempt by CLO -- or, by the Committee to obtain any evidence

       20    from CLO Holdco.

       21         So, Your Honor, there is no substantial likelihood of

       22    success on the merits.       As Judge Houser noted in Atlas

       23    Financial, the Committee would have to prove the estate's

       24    entitlement -- or doesn't -- the Committee wouldn't have to

       25    prove the estate's entitlement to summary judgment on its




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        1    claim, but it would have present a prima facie case in support

        2    of its claim.     And in stating that, Judge Houser cited to

        3    Janvey's Fifth Circuit decision.

        4         So, Your Honor, is there a prima facie case presented by

        5    the Committee?     The answer is a resounding no.            It cannot

        6    satisfy the first element of the factor test required to issue

        7    an injunction against CLO Holdco.

        8         How about a substantial threat of irreparable injury if an

        9    injunction is not issued?           Your Honor, this goes back to the

       10    Committee performing no discovery against CLO Holdco.                 If the

       11    Committee wanted to prove up this point, presumably it would

       12    have to present evidence to the Court that CLO Holdco was

       13    either financially unable to satisfy a judgment or wouldn't

       14    satisfy a judgment for some other reason.             The simple fact

       15    that CLO Holdco is a Cayman entity does not mean that it is

       16    incapable of satisfying a judgment.            CLO Holdco, through its

       17    counsel, has had conversations with the Committee about the

       18    assets in CLO Holdco.       And, in fact, there's not a whole lot

       19    of dispute that CLO Holdco does possess a significant value of

       20    assets.

       21         It is not, inherently, Your Honor, some judgment-proof

       22    entity.

       23         But, again, CLO Holdco does not have the burden of proof

       24    on disproving this potential issue.            It would be the

       25    Committee's burden of proof.           The Committee can't satisfy




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        1    either of the first and most important elements of a test for

        2    an injunction.     Your Honor, that injunction simply cannot

        3    issue.

        4         Now, the Committee will say, well, the Court should be

        5    able to issue a naked injunction under Section 105(a) of the

        6    Bankruptcy Code because the Court has these broad, equitable

        7    powers.    And in its pleas, it cites to a number of decisions

        8    that it alleges support that position.

        9         It cites to King Louie Mining.          Well, King Louie Mining

       10    granted an injunction and cited to Section 105(a), but the

       11    injunction was granted against property that was subject to a

       12    pending adversary proceeding.          Again, injunction issued under

       13    7065.

       14         The Committee cites to In re Momentum Manufacturing.

       15    Well, in that case, 105(a) was used to grant equitable

       16    estoppel, not a preliminary injunction.

       17         The Committee cites to Caesar's Entertainment repeatedly

       18    for this proposition this Section 105(a) can be used by the

       19    Court to grant this naked injunction, but the injunction

       20    granted in Caesar's was granted against a third party where

       21    there was a pending adversary proceeding to claw back the

       22    assets of that third party.

       23         The Committee also cites to the DeLorean decision.                Well,

       24    in that case, there was a 105(a) statement by the Court when

       25    it entered an injunction in an adversary proceeding filed




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        1    seeking the injunction.       The Court went through the 7065

        2    factors before it issued the injunction.

        3         And then the Committee cites to Sire Plan.             Well, there

        4    was 105(a) relief granted, but it was also granted in an

        5    adversary proceeding, and the relief was consistent with the

        6    language of the Bankruptcy Act, albeit the Court even admitted

        7    that it was a liberal interpretation, again.

        8         So, what case law or actions have been cited by the

        9    Committee in support of this Court's ability to grant a 105(a)

       10    injunction outside of the parameters of a plan?                 Well, it

       11    cited to the Lewis v. Celotex decision, which is a Fifth

       12    Circuit case.     I think it's worth discussing, Your Honor,

       13    because we readily acknowledge that, in that case, there was a

       14    preliminary injunction that was incredibly broad in that it

       15    addressed five parties who were seeking to recover on

       16    supersedeas bonds after the case was commenced, after the

       17    Celotex bankruptcy case was commenced.

       18         And I want to note that there's a Supreme Court decision

       19    on a separate dispute called Edwards v. Celotex.                 Now, in the

       20    Edwards v. Celotex dispute, the Fifth Circuit disagreed with

       21    the lower court's decision and its ability to enter the

       22    injunction.     It did so -- officially made its ruling on

       23    jurisdictional grounds.       But the U.S. Supreme Court reviewed

       24    the Fifth Circuit's decision and overturned it.                 But when it

       25    overturned it, the Supreme Court did two things.                One, it




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        1    refused to address whether a court could actually enter the

        2    injunction under 105(a).        It addressed (audio gap)

        3    jurisdictional argument.

        4         But the Supreme Court also noted that while the Fifth

        5    Circuit allegedly ruled on a jurisdictional basis, it

        6    certainly appeared that the Fifth Circuit was partially ruling

        7    because it found the 105(a) injunction inappropriate at that

        8    position of the case.

        9         So there is at least some dicta from the Supreme Court and

       10    the Fifth Circuit that that 105(a) injunction issued in the

       11    Celotex case was inappropriate.

       12         Also, Your Honor, the Third Circuit notes in a footnote in

       13    its decision in Lewis v. Celotex that while it would uphold

       14    the injunction, it noted that the injunction was narrow in

       15    scope as far as what it actually did.           And once the bankruptcy

       16    judge reviewed the judgments against the debtor, the

       17    avoidability, if the judgments were voidable for one reason or

       18    another, the Court would have to lift the stay to allow the

       19    party in that case to proceed against the assets.

       20         And Your Honor, that's basically where we are in this

       21    case.   The Court used its equitable rights under 105(a) to

       22    deposit funds in the registry of the Court, and now the Court

       23    has an opportunity to review CLO Holdco's evidence to see if

       24    it can meet its preponderance standard to prove that it has a

       25    right to the funds in the registry of the Court.                And once it




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        1    does, it should release those funds to CLO Holdco.                That

        2    analysis is really pretty consistent with the Lewis v. Celotex

        3    decision, which is the only case that's cited by the Committee

        4    that includes an injunction outside of the scope of an

        5    adversary proceeding.

        6         So, Your Honor, there really is nothing here supporting

        7    the Committee's position.           The Committee hasn't proved up any

        8    right to a writ of attachment.           It hasn't satisfied any of the

        9    elements, procedurally or factually, to be able to obtain an

       10    injunction against CLO Holdco's assets.

       11         So, Your Honor, based on the evidence presented, we

       12    request this Court grant CLO Holdco's motion and allow us to

       13    withdraw funds from the registry of the Court.

       14               THE COURT:     Thank you, Mr. Kane.         All right.      Mr.

       15    Clemente, I hope that you will focus in your closing argument,

       16    I suspect you will, but the arguments, the primary arguments

       17    of Mr. Kane that this is -- this holding of money in the

       18    registry of the Court in this context is tantamount to a

       19    prejudgment remedy, there is no adversary there in order to

       20    have a preliminary injunction under 105, you really need an

       21    adversary under 7001:       I hope you'll address those arguments,

       22    among others.     All right.        Mr. Clemente?

       23               MR. CLEMENTE:      Yes.     Thank you, Your Honor.        Matt

       24    Clemente from Sidley on behalf of the Official Committee of

       25    Unsecured Creditors.




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        1        CLOSING ARGUMENT ON BEHALF OF THE OFFICIAL COMMITTEE OF

        2                               UNSECURED CREDITORS

        3                MR. CLEMENTE:     Well, Your Honor, I think Mr. Kane's

        4    arguments overall generally miss the point, and the issue is

        5    really about context.

        6         Mr. Kane referred to the monies being pled into the

        7    registry.    That is not the case at all.          Your Honor ordered

        8    them placed into the registry at the March 4 hearing.                That,

        9    in my view, distinguishes it almost entirely from all the

       10    cases that CLO Holdco cites in their papers.

       11         This is not a dispute about ownership.            This is not an

       12    interpleader.     This is not some party saying, I don't know

       13    what to do with these monies and so I'm pleading them into the

       14    Court and please, Court, give me direction.             That is

       15    absolutely not the circumstance or context in which the monies

       16    were ordered by this Court under Section 105 to be put into

       17    the registry.

       18         So, from my perspective, I think that, Your Honor,

       19    effectively distinguishes the current situation from the

       20    situations that Mr. Kane cites.

       21         Belatedly, Your Honor, and I'll touch on this in a moment,

       22    none of this about 28 U.S.C. was ever raised in the actual

       23    motion, which I found to be fairly interesting.

       24         So I wanted to start with those comments, but then I want

       25    to take a step back, because I do believe that the context and




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        1    background of this bankruptcy case is critical to this

        2    dispute.

        3         CLO Holdco would have the Court view it as an independent

        4    third-party investor merely requesting the release of proceeds

        5    of its investment that Mr. Kane referred to in his argument as

        6    another party.     It's not just another party.          I would do that

        7    as well and I would try and distance myself from Mr. Dondero,

        8    but the fact of the matter is CLO Holdco cannot.

        9         The Committee, as Your Honor knows, never objected to

       10    distributions to independent third parties, including in

       11    connection with the initial distribution motion, and the

       12    Committee is not doing that now.

       13         And recall just a bit of context around the March 4th

       14    motion, Your Honor.      Under the protocol that the Committee

       15    negotiated, the Debtor -- related-party transactions needed

       16    the consent of the Committee if they exceeded a certain

       17    threshold.    The Debtor came to us with respect to these

       18    distributions, and the Committee said, no, because of the

       19    related party involvement and given the web that Mr. Dondero

       20    has created.     And so the Debtor then filed a motion in front

       21    of Your Honor seeking Your Honor's authority to make the

       22    distribution.

       23         Again, this is entirely unlike the cases that Mr. Kane

       24    talks about.     This is about the context in which that

       25    distribution -- and these were funds that the Debtor




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        1    controlled -- I agree, weren't funds that the Debtor owned,

        2    but the Debtor controlled them, and I believe that is an

        3    important factor that I'll touch on later, Your Honor, in

        4    distinguishing it from the prejudgment cases and other things

        5    that Mr. Kane talks about.

        6         Importantly, Your Honor, CLO Holdco is not an independent

        7    third-party investor, and CLO Holdco and other related parties

        8    hold a special place in this case in the hearts and the minds

        9    of the Committee, and I think also of Your Honor.

       10         Again, and just a little bit of a background here, because

       11    I do need to sort of create the picture here.             Mr. Dondero has

       12    created a web of over 2,000 related entities, which includes a

       13    sub-web involving CLO Holdco.          At the outset of the cases,

       14    Your Honor, the Debtor's advisors could not even identify all

       15    the Debtor's affiliates.

       16         As we laid out in our papers, CLO Holdco, through its

       17    parent entity, and this is not disputed, and it's proven up --

       18    out by the documents that Mr. Kane walked through, controlled

       19    by a patent attorney, not an investment professional but a

       20    patent attorney that was a college roommate of Mr. Dondero, it

       21    has at all times, including when the transfers were made, been

       22    advised by the Debtor, which, when these transfers were made,

       23    then it was controlled by Mr. Dondero.

       24         Mr. Dondero credited and directed each of the beneficial

       25    owners, which are the foundations, and the assets and




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        1    interests gave rise to the distribution that CLO Holdco is

        2    seeking now that were Debtor assets that were either

        3    transferred through a series of conduit and intermediate

        4    transfers, which is what Mr. Kane's papers, you know, bear

        5    out, and which -- with which we agree with, into the hands of

        6    CLO Holdco, again, at a time when Mr. Dondero was in control

        7    of the Debtor and in control of the intermediate parties and

        8    in control of CLO Holdco.           So he therefore was on all sides of

        9    the transfer.

       10         Your Honor, to be specific -- and, again, there's no

       11    dispute over this; we lay this out in our papers -- the Debtor

       12    transferred its interest in what was ultimately renamed as the

       13    Dynamic Fund, along with other interests and assets, to

       14    something called the Get Good Nonexempt Trust, in exchange for

       15    not a hundred percent, but 97.6 percent of a $24 million note

       16    issued by something called the Dugaboy Investment Trust.                   That

       17    note itself, Your Honor, from Exhibit 12, if you read the

       18    introduction to the note, was a substitute for a previous note

       19    issued by Dugaboy to the Get Good Trust.             And at least on the

       20    (audio gap) note, (audio gap) unsecured note bearing interest

       21    at 2.75 percent.      We don't know whether that note in and of

       22    itself had been exchanged for a different note.                  We just don't

       23    know.

       24         We do know that there was a note with Get Good and

       25    Dynamic, or Get Good and Dugaboy, and that note was replaced




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        1    in a series of transactions, however, documented together,

        2    Your Honor.     The Get Good Trust then transferred the interests

        3    to the Highland Dallas Foundation, and then ultimately through

        4    the DAF entities into CLO Holdco.

        5         And, again, this is not in dispute, and it's bore out by

        6    the documents.     Both the Get Good Trust and the Dugaboy Trust

        7    are Dondero family trusts for which Nancy Dondero, the sister

        8    of Mr. Dondero, and/or Grant Scott are trustees, and for which

        9    it appears Mr. Dondero was at some point also a trustee.

       10    That's evidenced on Committee Exhibit 12, where it talks about

       11    that prior note.      It was issued or made by a Mr. Dondero as

       12    Trustee, I believe, for the Get Good Trust.

       13         And I just would note, these transactions also support the

       14    basis or form the basis for CLO Holdco's purported $11 million

       15    claim that they filed against the estate.

       16         Your Honor, from my perspective, this is all very

       17    confusing and it raises many questions, not the least of which

       18    is why was this done, what is the Dugaboy Trust, what did the

       19    Debtor actually receive relative to what transferred, and,

       20    frankly, what was the purpose of all this?             And did the

       21    Dugaboy Trust ultimately pay on the note?            And I'll address

       22    Mr. Kane's discussion about payments that were made on the

       23    note in a moment.

       24         Your Honor, I don't believe any of this is in dispute.

       25    And indeed, this Court previously found that CLO Holdco's




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        1    parent was seeded by the Debtor, managed by the Debtor, and

        2    CLO Holdco's quote/unquote independent trustee was a longtime

        3    friend of Mr. Dondero.       That's in the record.         That's where he

        4    makes his case.

        5         The key point of all this, Your Honor, is that CLO Holdco

        6    is anything but an independent third-party investor merely

        7    seeking the return of its invested funds, and its argument

        8    should not be viewed through that lens and instead should be

        9    viewed through the lens of Mr. Dondero being on all sides of

       10    the transactions and transfers and pulling the strings and

       11    controlling it all.      And this lens is clearly tainted by the

       12    previous documented conduct of Mr. Dondero.

       13         As the Court is well aware, (inaudible) as controlled by

       14    Mr. Dondero, has a history of engaging in misconduct, breaches

       15    of fiduciary duty, and fraudulent transactions in multiple

       16    settings, with its principal, Mr. Dondero, taking a central

       17    role.   And Your Honor, as you know, this bankruptcy case is

       18    the result of arbitration proceedings, awards, judgments, and

       19    other litigation against the Debtor arising from this

       20    misconduct.

       21         Therefore, the Committee and the Court must approach and

       22    consider each of the related-party Dondero-controlled

       23    transactions with skepticism, including the transactions with

       24    CLO Holdco.

       25         Now, Your Honor, CLO Holdco provided voluminous documents




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        1    and other information which Mr. Kane meticulously walked

        2    through, none of which, for purposes of this proceeding only,

        3    the Committee takes issue with.

        4         But Your Honor, as I've mentioned before, this discussion

        5    isn't about taking in kind, columns of numbers, and signatures

        6    on documents.     What it is about is the context in which CLO

        7    Holdco's interests arose and the relationship that it has with

        8    this Debtor prepetition.        And despite the documents and

        9    admissions, what CLO Holdco doesn't do and cannot do is refute

       10    any of that, including the fact that CLO Holdco was seeded by

       11    the Debtor, and the very interests which gave rise to the

       12    distributions came from the Debtor at a time when it was

       13    controlled by the Debtor.

       14         This is not new money third-party investment or anything

       15    close to it.     Instead, again, and as the Court found in the

       16    Acis case, CLO Holdco was seeded by the Debtor, and as its own

       17    exhibits demonstrate, the interests were transferred from the

       18    Debtor.

       19         Your Honor, I don't think I'm painting with too broad of a

       20    brush, then, to state that transactions with Dondero on both

       21    sides, as we have here, must be subject to scrutiny by the

       22    Committee and the creditors -- and, frankly, the Court -- to

       23    determine their legitimacy.

       24         And yes, Your Honor, the distributions are not property of

       25    the Debtor's estate.       We've never argued that they are.




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       1    However, allowing it to be distributed to this entity, through

       2    the holding company, a Cayman Island entity, controlled by Mr.

       3    Dondero, would have the effect of prejudicing the estates and

       4    rewarding Dondero for potentially fraudulent conduct, which is

       5    something we cited in the Sire Plan case, where a party should

       6    not be allowed to benefit from its fraudulent scheme.

       7         All the Committee is asking to do -- and, frankly, what

       8    the Court did at the March 4th hearing -- is something the

       9    Debtor should have done, and that is let's keep the status quo

      10    to allow the investigation to proceed to determine the

      11    legitimacy of the transfers to CLO Holdco.             This best balances

      12    the interests of all parties.          CLO Holdco's money is

      13    safeguarded.     As Mr. Dondero's attorney claimed, stated on the

      14    record at March 4th, the registry is, Your Honor, not

      15    surprisingly, a place that is safe.

      16         And Your Honor, the burden of keeping those distributions

      17    with the Court isn't that onerous at all on CLO Holdco, in

      18    particular relative to the burden that is on the creditors,

      19    some of whom have been seeking recompense for almost a decade.

      20    To be clear, Your Honor, the Committee and its constituencies

      21    did not ask to be in bankruptcy.          It was thrust upon them by

      22    the actions of Mr. Dondero and his team.            Now that they are in

      23    bankruptcy, the creditors are forced to deal with the

      24    consequences of that decision by Mr. Dondero.

      25         Similarly, CLO Holdco must deal with the consequences that




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        1    flow from being controlled by Mr. Dondero and having been

        2    seeded at the direction of Mr. Dondero and taking transfers of

        3    assets from the Debtor at the direction of Mr. Dondero, which

        4    I submit here should be having the distributions continue to

        5    be maintained in the Court registry.

        6         Your Honor, I will turn to some of the arguments raised by

        7    Mr. Kane.    First, the Bankruptcy Code and Section 105 continue

        8    to apply to these issues.           As I mentioned before, I was a bit

        9    surprised and, frankly, taken aback, Your Honor, when I saw

       10    CLO Holdco's response to our objection.             Their motion is

       11    completely silent on this argument that somehow the Bankruptcy

       12    Code doesn't apply and instead the only issue this Court would

       13    have to determine would be dictated by a non-bankruptcy

       14    statute, 28 U.S.C. 2042.

       15         Putting aside any discussion of whether this should have

       16    been in the motion to begin with, as I mentioned at the

       17    outset, Your Honor, I was before you pre-COVID when we

       18    addressed these issues, and I certainly did not view placement

       19    of the funds into the registry as some mechanism which would

       20    divest the Bankruptcy Code from continuing to be applied.

       21         Again, it's all about the context of that March 4th

       22    hearing.    This wasn't a dispute about ownership of the funds.

       23    This was about the Debtor coming in and doing something that

       24    the Committee took issue with under the protocols that it had

       25    negotiated.     That's entirely different and distinct from just




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        1    placing money into a registry and then allowing all parties to

        2    come in with their document to show that, based on my account

        3    statement, my book balance, this is my funds, these are my

        4    funds.    Which I agree with Mr. Kane on that.           It's not -- I

        5    mean, Your Honor has no stake in that fight from that

        6    perspective.

        7         But this is different.         Your Honor does have a stake in

        8    this fight because it was to preserve and protect the estate

        9    and maintain the status quo.

       10         As I mentioned earlier, I don't presume to speak for Your

       11    Honor, but I would suspect that Your Honor didn't think that

       12    she was divesting herself of discussion under Section 105 by

       13    placing the funds into the registry.           Instead, it was simply a

       14    mechanism to deal with them and maintain the status quo.                  They

       15    could have been held -- they could have been held in

       16    (inaudible) account, for example, but they weren't.                This

       17    seemed like a logical, practical solution to the issue that

       18    was presented to the Court.

       19         Had we understood that, Your Honor, had I understood that

       20    -- and, again, I was before you -- I wouldn't have agreed to

       21    that.    And, frankly, I wouldn't have -- wouldn't have

       22    understood -- if I understood that we'd be here today

       23    belatedly arguing about that, I would not have agreed to it,

       24    either.

       25         Additionally, Your Honor, the cases cited by CLO Holdco




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        1    are just not applicable on their facts.            Unlike the cases

        2    cited by CLO Holdco, this has never been a dispute about the

        3    ownership or pleading -- interpleader-type action regarding

        4    the funds.    This is all about preserving the estate and the

        5    status quo.     This is why the monies were placed into the

        6    registry, not as a mechanism to determine ownership.

        7         Therefore, the Bankruptcy Code and Section 105 clearly

        8    continue to -- continue to apply.           And Your Honor found on

        9    March 4th that you already had the authority under Section 104

       10    to do this, and nothing has changed in the interim, aside from

       11    Mr. Kane has come in with documents showing -- which we don't

       12    dispute -- that if you tick and tie everything, it adds up to

       13    the money that he asserts that CLO Holdco should be given,

       14    should be distributed.

       15         Your Honor, regarding the 105 issue, there is clearly an

       16    issue as to whether the seeding of CLO Holdco and transfers of

       17    Debtor assets to it involved transfers that are fraudulent or

       18    otherwise avoidable.       And I'll touch on the payment on the

       19    note in a moment.

       20         Those actions, of course, are assets of the estate for the

       21    benefit of the creditors, and in fact, under the governing

       22    protocol, the Committee negotiated to have standing to pursue

       23    those claims.     And CLO Holdco is just that, a holdco.             And a

       24    Cayman entity, to boot.       And despite Mr. Kane's references to

       25    conversations that may have been had about what it is CLO




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        1    Holdco has or doesn't have, we have no idea.             And it's

        2    controlled, ultimately, let us not lose sight of the fact, by

        3    Mr. Dondero.

        4         So, allowing CLO Holdco to take distributions will place

        5    them with an offshore entity, potentially outside the

        6    jurisdiction of this Court, or at the very least, placed in

        7    five or six entities removed or who knows where, including

        8    potentially other foreign entities.

        9         Therefore, exercising authority under Section 105 is

       10    consistent with preserving, protecting, and maximizing the

       11    value of the Debtor's estate, which estate includes claims,

       12    causes of action, and avoidance actions.

       13         As you know, 105 is the means and -- circumstances (audio

       14    gap) preserve and protect the estate.

       15         And to be sure, this is not inconsistent with any other

       16    provision of the Bankruptcy Code, and it's, in fact, from our

       17    perspective, in furtherance of the goals of the Code.

       18         Your Honor, regarding the payments that Mr. Kane (audio

       19    gap), the fact that a few payments were made on the note

       20    doesn't change the fact that Section 105 applies and the Court

       21    should deny the motion.

       22         As with all that is Highland, nothing is simple or easy.

       23    First, CLO Holdco received millions more in assets and

       24    transfers, aside from the interests giving rise to the

       25    distributions at issue.       So the fact that there were payments




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       1    on the notes really speak nothing to the fact of whether the

       2    overall transaction was for reasonably equivalent value or

       3    otherwise problematic, especially when there is nothing in the

       4    record regarding the Dugaboy Trust, its wherewithal to pay, or

       5    the fairness of the terms of the note, or any of that.                Or why

       6    the note was structured this way or, you know, what the Get

       7    Good Trust and the Dugaboy Trust do, how they interact, who

       8    makes decision on what gets paid and doesn't get paid.

       9         The few payments, while interesting, Your Honor, again, do

      10    not establish reasonably equivalent value or the propriety, in

      11    our view, of the transfers.

      12         Finally, as this Court knows, reasonably equivalent value

      13    is not determinative of whether the transfer was intentionally

      14    fraudulent or otherwise potentially avoidable or problematic.

      15    So, while deeds are interesting, Your Honor, I would submit

      16    that they don't move the needle in changing the fact that the

      17    motion should be denied.

      18         Now, Your Honor, to the point that you raised with me

      19    before I started my remarks here.           Much has been made about

      20    inappropriate prejudgment remedy or attachment or similar

      21    arguments.    I submit this case is moot, Your Honor.              Again, at

      22    the risk of repeating myself, I will emphasize that CLO Holdco

      23    is not an independent third party.           Like it or not, it is tied

      24    up in a ruinous web with Mr. Dondero, and that in and of

      25    itself makes this case unique and distinguishes it from the




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        1    other cases cited by CLO Holdco.

        2         Additionally, Your Honor, the current circumstances are

        3    distinguishable because the Debtor had control over these

        4    funds.   That's why we were in front of you on March 4th.                I

        5    agree, and I'm not arguing, that the Debtor did not own these

        6    funds.   But it clearly had control over them at the time that

        7    it sought to make the distributions on March 4th.               So, in my

        8    humble opinion, Your Honor, that means the Court had control

        9    over that.

       10         Having them held in a registry while an investigation

       11    occurs is not akin to slapping a lien on someone's house or

       12    taking possession of an automobile, like the cases cited by

       13    Mr. Kane where they require there's some -- an adversary

       14    proceeding or some type of complaint.

       15         The situation here, again, Your Honor, matters.               The

       16    Debtor was before you seeking your authority to make this

       17    distribution.     That is entirely different than if I were to

       18    walk in here and say my colleague, Mr. Twomey, I think that,

       19    you know what, I don't like him and so I have a claim against

       20    him, and I want Your Honor to enjoin him from being able to

       21    sell his automobile.       That is entirely different, and in my

       22    view completely distinguishes it from any of the cases that

       23    Mr. Kane cited, including, of course, I have much respect for

       24    Judge Houser, but including the case authored by Judge Houser.

       25         So, Your Honor, again, having them held in the registry is




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        1    not akin to the type of situation -- to the situation that Mr.

        2    Kane discussed in his cases.

        3         In fact, Your Honor, although the Board chose not to do

        4    so, a decision with which Your Honor knows I vehemently

        5    disagreed, I think the Debtor could have not and frankly

        6    should not have sought to make the distributions to CLO Holdco

        7    in the first place, and instead have come to this Court, and

        8    this Court clearly had the authority to provide them with the

        9    protection in doing so.       Because, again, the Debtor had

       10    control of the funds.

       11         And I understand there's contractual arrangements, and Mr.

       12    Kane walked through some of those.           But at the end of the day,

       13    if the Debtor has control over it, that means Your Honor has

       14    control over it.      And Your Honor clearly could have ordered --

       15    and, in fact, did, under Section 105 -- the authority to tell

       16    the Debtor, don't make the distribution.

       17         That is not the same as the Committee walking in and

       18    trying to argue it's entitled to some prejudgment remedy or

       19    something on a stranger to the case, where there was already

       20    the relationship and the establishment and the nexus that

       21    existed in this case was already there.            I'd submit those

       22    other cases that Mr. Kane cites are designed to protect

       23    against, and reasonably so:         This is not that situation, Your

       24    Honor.

       25         As a result, Your Honor, of what the Debtor did, the




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        1    Committee finds itself placed behind the proverbial eight

        2    ball.   Its constituencies have waited -- literally decades, in

        3    some cases -- for recompense from an entity with a documented

        4    history of fraudulent conduct.          And it's forced to deal with a

        5    bankruptcy it did not choose.          It must spend literally

        6    millions of dollars from the estate that could be part of its

        7    recovery investigating an intentional take and obfuscating

        8    whatever transaction with literally thousands of entities,

        9    while on the other hand the Cayman Island holding company that

       10    is controlled by Mr. Dondero, the funds over which the Debtor

       11    had control and came to this Court seeking authority to make

       12    the distribution, and seeded by the Debtor when Mr. Dondero

       13    controlled it, takes distributions on account of interests

       14    which were previously the Debtor's and the transfer of which

       15    may very well be avoidable.

       16         Your Honor, I'd submit this is precisely an appropriate

       17    use of Section 105.      And talk around prejudgment remedies and

       18    attachment, frankly, is simply not on point, Your Honor,

       19    because I think this situation is distinguishable.

       20         And to be clear, Your Honor, Rule 7064, which is cited by

       21    CLO Holdco, as I read it, does not preclude the use of Section

       22    105 to achieve this outcome.         To the contrary, Rule 7064 might

       23    even expand the tools available to the Court to include those

       24    available under state law.          It does not restrict them, in my

       25    view.




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       1         And there was a reference to Rule 7067, which does not

       2    apply, because the Court ordered the funds placed into the

       3    registry.    They weren't pled into the registry.               The Debtor

       4    didn't want them put in the registry.           The Debtor wanted to

       5    distribute them, which is why it came to the Court in the

       6    first place.

       7         So, Your Honor, I'm at the end of my remarks, and I would

       8    like to say that I think -- not that I think; I know -- what

       9    we are seeking is an equitable result which is clearly within

      10    this Court's authority and discretion under the Bankruptcy

      11    Code, including Section 105.

      12         CLO Holdco's motion cannot be viewed in a vacuum.                 The

      13    circumstances surrounding, the reason why the distribution

      14    motion was brought in the first place, including the Debtor's

      15    control over those funds, the circumstances surrounding CLO

      16    Holdco, Mr. Dondero's involvement, how it was seeded, how it

      17    obtained the interests giving rise to the distribution, all

      18    matter, Your Honor, as does the documented history of

      19    fraudulent transfers and inappropriate conduct of Mr. Dondero.

      20    Viewed appropriately in this context and the balancing of the

      21    harms resulting from keeping the distribution in the registry,

      22    I submit there is more than ample justification for this Court

      23    to deny the motion and order the continued holding of the

      24    distributions in the registry.

      25         With that, Your Honor, I've concluded my remarks.                 Am




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        1    happy to address any questions you may have.

        2               THE COURT:     Just one.      Could you remind me of the

        3    relevant provisions of what I'll call the protocol order that

        4    was negotiated with the Committee?           Because as you pointed

        5    out in your argument, the Debtor filed the motion to make

        6    these disbursements from the Dynamic Fund and the Argentina

        7    Fund because of concerns about the do's and don'ts of that

        8    protocol order.      So if there's relevant language in there you

        9    think I should be reminded of, could you --

       10               MR. CLEMENTE:      Yeah, that --

       11               THE COURT:     -- read it?

       12               MR. CLEMENTE:      Your Honor, that's exactly right.

       13    That's exactly correct.       I don't -- I'm pretty sure I have it

       14    somewhere, but I don't have it right in front of me.                But the

       15    point there was, Your Honor, when the Committee came to the

       16    case and it began to understand all of the related parties,

       17    the Committee clearly was concerned that value that either

       18    rightfully belonged to the Debtor or had been inappropriately

       19    transferred or siphoned away from the Debtor would be

       20    distributed to related parties, and then the Committee would

       21    be in the position of having to chase after that money.

       22         So we negotiated a series of very complicated protocols

       23    that Your Honor ultimately approved, and the protocol at issue

       24    here was, if distributions, I believe, from any fund where the

       25    Debtor managed it and maintained an entity in excess of $2




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        1    million was to be made, that the Debtor would come to the

        2    Committee and the Committee would have five days, I believe,

        3    to say, We think you -- you know, we agree with it or we

        4    don't.    And if the Committee didn't agree with it, that then

        5    the Debtor would go to Court before Your Honor to seek the

        6    authority to do it.

        7         And so, again, back to an argument I made earlier, that's

        8    how we found ourselves here on March 4th.            The Debtor had

        9    control over those funds in the sense of he was the party

       10    making distributions and doing other things.             They had to come

       11    to Your Honor to actually get Your Honor to rule one way or

       12    the other to make those distributions.            That, to me,

       13    distinguishes it from the cases Mr. Kane cites regarding

       14    prejudgment remedies and attachments and things of that

       15    nature.

       16               THE COURT:     Thank you.      All right.     Mr. Kane, the

       17    Movant always get the last word.          And in making whatever quick

       18    rebuttal you have, I'll just ask you to please address Mr.

       19    Clemente's argument that context matters.

       20         This is not as though someone requested an injunction

       21    without an adversary proceeding against CLO Holdco.                This

       22    order of the Court that money go into the registry of the

       23    Court resulted from a Debtor motion, several responses

       24    thereto, and then a suggestion that was made by Mr. Dondero's

       25    counsel that others embraced:          Let's just stick the disputed




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        1    money into the registry of the Court for now and we'll sort

        2    this out in due time.

        3         You know, you've made some very compelling legal

        4    arguments, I have to say, Mr. Kane, but we have this

        5    overarching issue of the context.           So, your response, please.

        6               MR. KANE:     Yes, Your Honor.       I'm happy to start with

        7    that.   I do think the context is important.            I think that Mr.

        8    Clemente and I would disagree about what elements of the

        9    context are most important.

       10         I would note that the portion of your order that I

       11    previously cited during this hearing, whether the -- that

       12    funds are to be pled into the registry of the Court and that

       13    that would allow parties seeking those funds to file whatever

       14    motions or to seek whatever orders were necessary to obtain

       15    those funds.     And so what we're looking at here is, right,

       16    there is a related-party entity.          But let's talk about

       17    generally what the context of this dispute is about.

       18         Mr. Clemente noted repeatedly in his closing argument that

       19    this is not a dispute about Debtor assets.             Okay?    And I think

       20    that's really important.        This is a dispute about funds that

       21    are not owned by the Debtor.         The Committee readily admits

       22    that.   The Debtor readily admits that.           And so what we're

       23    talking about here is tying up assets that are not assets of

       24    the Debtor's estate.

       25         And so an indefinite freeze on assets that are not assets




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        1    of the Debtor's estate is disturbing from a procedural

        2    perspective.

        3         So, I get the Committee's concerns about, hey, this is a

        4    related entity.      Right?    This is CLO Holdco.       There are ties

        5    to Jim Dondero.      We're not trying to hide that fact.            We're

        6    not trying to say, no, that's not really true.              But what I

        7    would also say is that there is no evidence that the seeding

        8    of CLO Holdco from Highland assets was necessarily a

        9    fraudulent transfer or effectuated by seedings of fraudulent

       10    conveyances.     Okay?

       11         Mr. Clemente even noted, as he was giving his

       12    presentation, that there is no factual investigation into the

       13    Dugaboy Trust by the Committee or anything like that.                These

       14    are baseless allegations, or at least allegations that

       15    entirely lack evidence.        So we're at a spot right now,

       16    contextually, Your Honor, where the Court has CLO Holdco's

       17    funds in its registry.        No other party is laying claim to

       18    those funds.     The Committee wants those funds to stick in the

       19    registry for an indefinite period of time, even though they're

       20    not assets of the Debtor's bankruptcy estate.              And the only

       21    reason it wants to do that is for the funds to serve as

       22    security against a potential future judgment or claim.

       23         And so, contextually for us, well, if there aren't -- if

       24    there's no competing claim for the assets and they're stuck in

       25    the Court's registry, you know, contrary to Mr. Clemente's




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        1    argument, a vacuous argument on the balancing of harms, we're

        2    deprived of the use of $2.4 million and change of assets that

        3    could go to additional investments or to satisfy operating

        4    costs.

        5         So there is real harm on a going forward basis from CLO

        6    Holdco's perspective.

        7         So that, Your Honor, is the context as we see this.                This

        8    is about non-debtor assets frozen to serve as potential

        9    security of a hypothetical judgment on claims that have never

       10    been ascertained, asserted, identified.

       11         So let me address a couple of issues on rebuttal, and I'll

       12    be pretty quick about this.

       13               THE COURT:     Please.

       14               MR. KANE:     Mr. Clemente was making hay about the fact

       15    that I said pled into the registry of the Court and that --

       16    because, Your Honor, pled into the registry of the Court, this

       17    isn't an interpleader action, that this was an order entered

       18    by the Court.     That's a distinction without difference.             And

       19    the reason that's the case is, if you look at 7067, which is

       20    the only Bankruptcy Rule that addresses pleading funds into

       21    the registry of the Court, 7067(b) notes, Money paid -- not

       22    pled, not ordered -- money paid into the registry of the Court

       23    is treated under 28 U.S.C. 2041 and withdrawn pursuant to 28

       24    U.S.C. 2042.

       25         So, you know, regardless of whether Mr. Clemente




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        1    appreciated how I had described the transition of funds from

        2    the Debtor's control into the Court's registry, the reality is

        3    that 28 U.S.C. 2042 does create the legal thresholds that are

        4    required to withdraw funds from the registry of the Court.

        5         Mr. Clemente argues that, well, cases where a car is

        6    repossessed or a lien is placed on a party's assets under a

        7    prejudgment writ of attachment or injunction are dissimilar

        8    from this case, is really legally -- it's inaccurate.                 Those

        9    are erroneous statements.           There is no difference.       If this

       10    Court retains CLO Holdco's assets, it's the exact same thing

       11    as another -- a third party's assets being held in a blocked

       12    account or a third party's assets being retained by a court or

       13    third party pending a future judgment.             We're in the exact

       14    same procedural position there.

       15         Mr. Clemente got into a balance of harm's analysis when he

       16    was discussing this Court's application of an injunction under

       17    Section 105(a), arguing that an adversary proceeding is

       18    unnecessary or that injunctive relief could be issued under

       19    7064.   Your Honor, 7064 and 7065 are there.             And there is a

       20    distinction from the courts between a prejudgment writ of

       21    attachment that would be applicable under 7064 and an

       22    injunction that would be issued under 7065.              Injunctive relief

       23    is addressed under 7001(7) and 7065.

       24         So you can't just say, well, no, you can do it as a -- as

       25    -- on a motion like you would a prejudgment writ of




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       1    attachment.     Bankruptcy Rules aren't structured like that.

       2         But importantly, Mr. Clemente presented no facts to

       3    support his balancing of harms argument and presented no facts

       4    to establish that he has any viable claims against CLO Holdco.

       5    Arguments that James Dondero participated in frauds does not

       6    mean that there's a claim or cause of action that the

       7    Committee can assert against CLO Holdco, which is what would

       8    be required to obtain an injunction.

       9         This is a big if.      If the Committee is seeking to obtain

      10    an injunction, it must satisfy its burden of proving under

      11    7065 and the four-factor test established by Janvey v. Alguire

      12    in the Fifth Circuit in 2011 and the many cases before that.

      13    And it just can't do it.

      14         So I want to leave the Court with one case citation,

      15    because if the Court is considering some means of entering a

      16    preliminary injunction outside of an adversary proceeding, I

      17    was able to find a grand total of one case that address that

      18    in the Fifth Circuit.       And that is the 1995 decision of In re

      19    Zale in which the Fifth Circuit noted that the only way a

      20    105(a) preliminary injunction could be issued, after a finding

      21    of these unusual circumstances and the like, was if all of the

      22    protections of an adversary proceeding had been afforded to

      23    the non-movant and if the party that was requesting the

      24    injunction satisfied the four-factor test that's found in

      25    7065.




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        1         There are no extraordinary circumstances or unusual

        2    circumstances here.      And if this Court believes that the

        3    context of this case warrants that, then the Committee would

        4    still have to satisfy that four-factor test for a preliminary

        5    injunction.     And it has the burden of proof on those four

        6    factors.    It hasn't presented any evidence whatsoever to

        7    support that it can meet the first, let alone the second,

        8    third, and fourth factors of that test.

        9         So, Your Honor, with that, I'll close our case, unless you

       10    have additional questions, and request that the Court grant

       11    CLO Holdco's motion.

       12               THE COURT:     A couple of follow-up questions.            I have

       13    certain facts in my brain, and I can't remember if they're in

       14    evidence or stipulated to or I read them in a pleading.                So, I

       15    just want to ask:      Somewhere I remember seeing that CLO

       16    Holdco, or, you know, maybe it's its parent, I think -- Mr.

       17    Clemente said we have a Byzantine structure here and we have a

       18    sub-web within a bigger web with regard to CLO Holdco.                But,

       19    anyway, CLO Holdco or its parent has assets of approximately

       20    $225 million?     Is that evidence or undisputed?

       21               MR. KANE:     Your Honor, that was contained in one of

       22    the pleadings asserted, I believe, by the Committee, and that

       23    was the Charitable DAF entities, not necessarily CLO Holdco.

       24    There hasn't been any evidence presented by the Committee of

       25    the assets held by CLO Holdco other than what we have before




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        1    the Court.

        2                THE COURT:    Okay.      So it's not something you would

        3    stipulate or offer one way or another?

        4                MR. KANE:    No, Your Honor, I think that's factually

        5    incorrect and I don't stipulate to that.

        6                THE COURT:    Okay.      I think my notes show that that

        7    was the alleged amount of assets as of September 30, 2019.

        8    But, again, that may have just been a pleading, not anything

        9    in evidence.

       10           All right.   And are Mr. Scott or Mr. Dondero on the phone

       11    today or on the video?       I'm just curious.

       12                MR. KANE:    Your Honor, I lost you on the video a

       13    little bit, but assuming you can hear me, though, Mr. Scott is

       14    not.    We had conversations with the Committee about various

       15    exhibits and whether or not Mr. Scott would be here to testify

       16    to prove up exhibits.       Once the exhibits were all stipulated

       17    as admissible, then there was no need for Mr. Scott to

       18    participate.

       19                THE COURT:    Okay.      I was not going to ask him

       20    anything.    I just was curious if he was listening in.               Or Mr.

       21    Dondero, for that matter.           I guess Mr. Dondero is not on the

       22    line, correct?      (Pause.)    All right.      I'll --

       23                MR. KANE:    Your Honor, I -- I think -- I'm sorry.

       24    I've had no conversations with Mr. Dondero.              I have no idea

       25    whether he's on the line.




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        1                THE COURT:    Okay.     I'll take silence to mean he's

        2    probably not, but --

        3         All right.     I asked that question for, I guess, a couple

        4    of reasons.     But the main reason I asked is -- and I'm going

        5    to say this as kindly as I can.          They're not here to hear it

        6    anyway.    But I feel like perhaps they are a little tone deaf,

        7    for lack of a better term, on how this all looks to the Court

        8    today.    And what I mean by that is, obviously, I assume it was

        9    their decision to bring this motion, at least Mr. Scott's, and

       10    likely Mr. Dondero as well had some involvement in that

       11    decision.    And the reason I say that it feels like they're a

       12    little tone deaf about how this looks is that we just had an

       13    extensive hearing and some very thorough pleadings, a lot of

       14    evidence uploaded, on a $2.5 million issue.             And I don't --

       15    you know, I appreciate that that is a significant sum of

       16    money, but we've used the word context a lot this morning:                   In

       17    the context of this reorganization, it seems like a very big

       18    deal was raised here, at the choice of Mr. Scott and Mr.

       19    Dondero, over a $2.5 million issue, in the context of a

       20    reorganization that involves at least hundreds of millions of

       21    dollars of debt, if not over a billion.            UBS says they're owed

       22    a billion.

       23         And I just asked my question a minute ago about the value

       24    of assets that the DAF or CLO Holdco or that sub-structure has

       25    managed, because while no one will commit, is it $225 million




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       1    or not, you know, I take it that the Committee had a good

       2    faith basis for saying that, and if it's not that, it's

       3    probably a quite sizable number.

       4         Again, so I'm kind of thinking out loud about the

       5    proportionality of this issue.          $2.5 million, not anything to

       6    sneeze at, but we're talking about a Charitable DAF that

       7    probably has many, many, many more times that of assets.                 And

       8    so there was certainly no equitable argument of hardship or,

       9    you know, significant detriment that's befalling CLO Holdco by

      10    the tying up of this money in the registry of the Court for

      11    this relatively short time period.           So, again, it feels a

      12    little tone deaf to be bringing this argument, occupying so

      13    much time from the parties, the lawyers, the Court, over this

      14    issue.

      15         And just to further elaborate on that, it matters to me,

      16    and I say this about the tone-deafness, partly because I

      17    thought -- I said this at the beginning of the hearing, and I

      18    still say it -- we already put this issue to rest, albeit

      19    temporarily, in March.       And in April, we get this new motion.

      20    Again, I recognize the language of the March order reserved

      21    everyone's rights to come back and argue about this, but,

      22    again, the buzzwords for this hearing are going to be context

      23    matters, I guess.      Mr. Clemente, you get credit for that buzz

      24    phrase, those buzzwords.

      25         Again, I issued the order with regard to putting these




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        1    monies in the registry of the Court at the suggestion of Mr.

        2    Dondero's very wonderful lawyer, retired Judge Lynn.                And,

        3    again, the context was we had a protocol order early in this

        4    case that the Committee negotiated heavily with regard to

        5    monies being disbursed out under the control of the Debtor,

        6    and heavily negotiated.       I remember the CLO Issuers, I think,

        7    had some pause and concerns and got their language into that

        8    order.

        9         So we had this protocol order.          Debtor was worried about

       10    violating the protocol order, so Debtor files the motion

       11    February 24th, wanting the blessing of a court order before it

       12    transferred these monies to CLO Holdco and some other

       13    Highland-affiliated entities.          There were vehement objections,

       14    and the Court issued the order saying, Let's put these monies

       15    into the registry of the Court, at the suggestion of very able

       16    counsel as to how we could resolve that contested matter we

       17    were there on on March 4th.

       18         So, you know, a month later, April, we have this new

       19    motion of CLO Holdco reviving the dispute, the $2.5 million

       20    dispute that we had just put to rest temporarily in March at

       21    the suggestion of lawyers.          I didn't issue a 105 injunction

       22    outside the context of an adversary proceeding just on my own,

       23    sua sponte.     It was suggested to me that this was a good

       24    solution.    People embraced it.        That's what we did.        And I

       25    sure didn't have in my brain that a month later we'd have a




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        1    brand new motion regarding whether these monies should be

        2    disbursed to CLO Holdco all over again, when that was the

        3    issue that was already before the Court in March.

        4         I, again, fully recognize that everybody reserved their

        5    rights, but I focus on this context because, again, I wish Mr.

        6    Dondero and Mr. Scott were on the call to hear this:                This

        7    almost feels like a good faith issue to me.             You know, maybe I

        8    would feel slightly different if there had been a broad

        9    emphasis, heavy emphasis, CLO Holdco standing up through a

       10    lawyer that day saying, We're just letting you know, we're

       11    going to get together a motion in very short order and tee

       12    this up again.     Because I would have probably said no.             You

       13    know, if -- let's just hear it right now today, if this is

       14    only a three-week mandate or whatever.            So, good faith is

       15    something that I can't help but scratch my head and be

       16    troubled by.

       17         So, I want to emphasize that CLO Holdco's lawyer has made

       18    perfect arguments regarding the potential legal issues here.

       19    There are some valid arguments here about is this tantamount,

       20    holding the money in the registry of the Court that a non-

       21    debtor asserts is its property, is that tantamount to a

       22    prejudgment remedy?      You know, did it require an adversary

       23    proceeding?     Did it require the traditional four-prong prove-

       24    up for a preliminary injunction?          And did the Court just give

       25    short shrift to those legal technicalities?




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        1         Again, these are compelling arguments, but I'm overruling

        2    the arguments because, again, I believe it ignores the context

        3    that CLO Holdco essentially consented, acquiesced, in this

        4    placeholder keep-the-status-quo solution.             And I question its

        5    good faith in, so quickly after consenting, bringing this

        6    motion.

        7         But moreover, I do find that in the unique context of the

        8    disputes before the Court on March 4th, I did have authority

        9    to issue a 105 injunction.          105, as we all know, at Subsection

       10    (a) gives a bankruptcy court authority to issue orders

       11    necessary or appropriate to carry out provisions of Title 11,

       12    and the last sentence even provides a mechanism for the Court

       13    to sua sponte take action to, among other things, prevent an

       14    abuse of process or just do what's necessary or appropriate to

       15    implement court orders or rules.

       16         So I think, again, in the context before the Court, it was

       17    not only a consensual thing, but the Court had authority.                  And

       18    the backdrop of this, again, cannot be overstated.                 Again, to

       19    use Mr. Clemente's word, we have this Byzantine structure

       20    here.   It's a lot for the Committee to get its arms around.

       21    And even the CLO Holdco structure -- again, I'm looking at my

       22    notes, my fancy chart -- we have CLO Holdco, a Cayman Island

       23    entity.    Its parent is Charitable DAF Fund, LP, another Cayman

       24    Island entity.     It, in turn, is owned by Charitable DAF

       25    Holdco, Ltd., yet another Cayman Island entity.                 Its general




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        1    partner happens to be a Delaware entity, Charitable DAF GP,

        2    LLC, but the beneficial owners of it are the three Highland

        3    Foundations, of which Dondero is president and director, and

        4    Mr. Scott the treasurer and director.

        5         So, I'm not saying the Byzantine structure is in and of

        6    itself problematic, although one might wonder why a charitable

        7    organization needs to have three offshore entities as part of

        8    its structure.     I digress.       But we all know a Byzantine

        9    structure and ties to Dondero do not mean something is

       10    attackable in and of itself, but we have had issues raised

       11    about the Dynamic Fund and the various transfers with regard

       12    to Dugaboy, the Dondero Family Trust, and Get Good Trust and

       13    the note.    All of that is worthy of examination, and the

       14    Committee has not had all that long in this case to

       15    investigate it.

       16         So, I'm going to say a couple of more things.               First, the

       17    motion is denied, but I'm going to put more strings on it than

       18    that.   I'm denying the motion, but as part of this ruling I'm

       19    going to order that the Committee has 90 days, unless the

       20    Court happens to extend that on motion or agreement of the

       21    parties, to file an adversary proceeding against CLO Holdco or

       22    the money shall be released.          Okay?

       23         So, again, I intended it, as I think everybody did, to be

       24    a placeholder, to keep the status quo little bit.               Again, Mr.

       25    Kane has raised good arguments that maybe an adversary




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        1    conceivably was necessary or might become necessary.                 So here

        2    we have a requirement of an adversary within 90 days or the

        3    money shall be released to Holdco -- again, unless someone

        4    moves to extend that or I get an agreement to extend that and

        5    I happen to decide to issue an order extending that.

        6         I presume that if an adversary is filed, then if the

        7    Committee wants that money to continue to be held in the

        8    registry of the Court, then they would have to file an

        9    application for injunctive relief, essentially, to keep the

       10    money in the registry of the Court pending the resolution of

       11    the adversary proceeding.

       12         So that is the ruling of the Court.             Mr. Clemente, I'll

       13    ask you to draft up the order.           And I reserve the right to

       14    supplement this oral ruling in that form of order.                And please

       15    run it by Mr. Kane before electronically submitting it to the

       16    Court.

       17         Now, I'm going to say a couple of other things, and then

       18    I'll, before closing, I'll ask if there are questions or other

       19    announcements.     I have told the parties and the lawyers to

       20    focus on a plan and problem-solving how we're going to pay

       21    creditors.    And I think I expressed my strong hope that people

       22    would stop litigating everything.            I think I'm remembering

       23    saying this most recently at the UBS hearing a few weeks ago

       24    on a motion to lift stay.           Once again, we had a very lengthy

       25    hearing that day.      I denied the motion.         And here we are




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        1    again.

        2         You know, I want certain people to understand that it's

        3    time to stop fighting everything.           The Debtor is in bankruptcy

        4    because of years and years and years and years and years of

        5    litigating everything to the nth degree.            I'm fed up with it,

        6    and I tend to believe that behind the scenes -- I have no

        7    doubt that behind the scenes there are people working hard

        8    towards crafting a plan, and I think we're coming up on an

        9    exclusivity deadline in late July, maybe.             What do I have to

       10    say to make it clear:       People need to stop litigating and

       11    start focusing on a plan to get creditors paid.                 I don't want

       12    to do something drastic like appoint a global mediator, but it

       13    is definitely dancing around in my brain if we keep having,

       14    again, sideshows.      Okay?

       15         So, Mr. Pomerantz, what do you want to tell me about

       16    what's going on behind the scenes?           Again, I am certainly not

       17    probing into settlement discussions, but do we have progress

       18    being made, or is everyone just threatening to file new

       19    litigation?

       20               MR. POMERANTZ:      Yes, Your Honor.       For the record,

       21    it's Jeff Pomerantz; Pachulski Stang Ziehl & Jones; on behalf

       22    of the Debtors.

       23         Your Honor, the Debtor took to heart the comments that

       24    Your Honor made at the conclusion of the UBS hearing.                 It's

       25    been the Board's desire to move this case forward, both in the




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        1    plan process and in terms of a claims resolution process.                 And

        2    I think I mentioned to Your Honor that at least with respect

        3    to the UBS hearing, I think that we needed to get by that

        4    hearing before until I think we can make any progress with

        5    them.

        6         Since that time, and in anticipation of the hearing that

        7    is going to occur on July 8th, when I indicated to Your Honor

        8    that we would hopefully present a structure and a mechanism to

        9    do exactly what Your Honor said, there has been a lot of work

       10    and a lot of effort, both at the Board level to come up with a

       11    concept, a structure, and a timing for the mediation process,

       12    and I personally have spoken to not only Mr. Clemente but

       13    counsel for every member of the Committee, to hopefully

       14    coalesce around a concept, identification of mediators, what

       15    would be mediated, and how that would take -- process.

       16         We understand the Committee is meeting today to discuss

       17    that.   Right after this hearing, we have a weekly meeting

       18    between the Board and the Committee.           We will discuss that

       19    further.    But your message was taken by the Debtor, and I

       20    believe by the other parties, loud and clear, that Your Honor

       21    would (audio gap).

       22         At the same time, we recognize that that might be

       23    impossible.     Since the last hearing, we filed our objection to

       24    the Acis claims.      UBS filed its claim on Friday, the 26th.               As

       25    Your Honor is aware, we're preparing an objection to that




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        1    claim as well, as well as others.

        2         We do not want to litigate while we mediate.                However,

        3    this case has progressed for a while, and I think it's going

        4    to be important for all parties to understand that if the

        5    mediation is not successful, they and I will be called on to

        6    make some difficult decisions on the claims that are asserted

        7    against the estate to go forward.

        8         At the same time, and separate and apart from the

        9    mediation process, the Debtor has been working on a plan with

       10    the Creditors' Committee.           It is in its advanced stages.         And

       11    while it's not ready to be imminently filed, we think in short

       12    order we will be able to file a plan.            What the plan says and

       13    whether it's just essentially putting assets in a monetization

       14    vehicle and resolving the claims after confirmation, or

       15    whether something can be done more globally, what has been

       16    referred to with the parties as a grand bargain, is still

       17    something that we are trying to flesh out.

       18         But make no mistake, Your Honor:            The Board has wanted to

       19    move this case forward.       Your comments, I think, have been

       20    extremely helpful in telegraphing what your thoughts are.                   I

       21    think the Committee understands that, the Creditors' Committee

       22    understand that, that it's just not sustainable on a number of

       23    levels to keep on fighting and litigating and have these types

       24    of hearings.

       25         So we will present, hopefully, on July 8th, as -- a game




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        1    plan.   Hopefully, we'll have everyone's approval.              But even if

        2    we don't have every -- anyone -- everyone's approval, it'd be

        3    the Debtor's thoughts to present to Your Honor how the Debtor

        4    believes we should proceed.

        5               THE COURT:     All right.      Well, thank you.       I had

        6    forgotten we were coming back so soon.            July 8th.     Next week.

        7    I had in my brain late July.         But that -- is it a status

        8    conference or an actual motion that's set?

        9               MR. POMERANTZ:      Your Honor, we have a couple of

       10    hearings on calendar for that day.

       11               THE COURT:     Okay.

       12               MR. POMERANTZ:      I believe one is exclusivity, --

       13               THE COURT:     Okay.

       14               MR. POMERANTZ:      -- which I do not think is going to

       15    be contested, based upon my conversations with Mr. Clemente,

       16    although I understand he'll want to explain to the Court what

       17    the Committee's position on any further extensions would be.

       18         There is also a motion to extend the removal deadline.

       19         So, thus far, there is nothing contested, but we intend to

       20    be able to use that, Your Honor, to present an approach that

       21    hopefully will resolve this.

       22         Your Honor, I have one other comment that I wanted to make

       23    in connection with the motion Your Honor just heard.

       24               THE COURT:     Okay.

       25               MR. POMERANTZ:      As Your Honor recalls and as we




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        1    mentioned today, there were distributions from a variety of

        2    different Funds to a variety of related parties.                In June,

        3    distributions were set to be made to those same parties.                 And

        4    with the consent of CLO Holdco and with the consent of HCM

        5    Services, those monies were not distributed to them, but are

        6    in the process of being submitted to the Court's registry.

        7               THE COURT:     Okay.

        8               MR. POMERANTZ:      The expectation would be that they

        9    were going to be treated the same way as the old funds, based

       10    upon Your Honor's ruling.

       11         We understand from the Court that we, Your Honor, that we

       12    probably need a separate order with respect to that, and

       13    that's with respect to the CLO and HCM Services.                So we would

       14    prepare that order.

       15         Whether both those distributions would be made to Mark

       16    Okada -- and if Your Honor recalls, at the last hearing, Your

       17    Honor only withheld the amount necessary to pay Mr. Okada's

       18    note, which was ultimately paid, and the remaining amounts

       19    were distributed to him.        And in light of that, we advised the

       20    Committee that we would distribute additional monies to Mr.

       21    Okada, and there was no objection.

       22         (Echoing.)

       23               MR. POMERANTZ:      So, in sum, Your Honor, we would

       24    submit to Your Honor a further order to Your Honor for the

       25    additional funds, otherwise payable from those funds to CLO




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       1    Holdco and to HCM Services, to be put in the Court's registry.

       2               THE COURT:     All right.      Someone needs to be put on

       3    mute.   I don't know who that is, but we're getting some

       4    background.     Okay.

       5               MR. CLEMENTE:      Again, Your Honor.       Your Honor, Matt

       6    Clemente, very, very quickly, Your Honor.

       7               THE COURT:     Okay.

       8               MR. CLEMENTE:      Again, the Committee obviously took to

       9    heart your comments at the last hearing and very much

      10    appreciate the comments you just gave in terms of where you're

      11    at and how you're viewing and feeling about things.                And so I

      12    will obviously discuss those very, very carefully with the

      13    Committee.

      14         Just to point out to Your Honor, Mr. Pomerantz talked

      15    about the distribution to Mr. Okada.           And, again, you talk

      16    about context and optics and understanding where we are.                 I

      17    read and understood -- I was in front of you -- regarding the

      18    ruling from the last time.          Remember, we objected to the

      19    distribution to Mr. Okada last time.           We did not do that this

      20    time, Your Honor.

      21         So the Committee does very much understand Your Honor's

      22    desire for this to not continue to be a litigation issue.                 We

      23    could have easily tried to object to Mr. Okada's distribution

      24    again, and we did not, Your Honor.

      25         So I want Your Honor to understand that the Committee very




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        1    much understands where Your Honor is thinking and how she's

        2    viewing things, and I suspect that the Committee will be very

        3    responsive and respectful of your comments, Your Honor.

        4               THE COURT:     Thank you.      All right.     Well, then, Mr.

        5    Pomerantz, I'll be on the lookout for your order that the

        6    Clerk's Office needs for more money to be deposited in the

        7    registry of the Court.       And, again, I understand that it is

        8    the newest disbursement that would otherwise be due to

        9    Highland Capital Management Services, Inc. and to CLO Holdco,

       10    Ltd., and that would certainly be my intention after today's

       11    ruling, that the newest distribution for those entities go

       12    into the registry of the Court.

       13         So, we'll be on the lookout for that.            And I guess I will

       14    see you on July 8th for other case matters, and we'll see

       15    where we are next week.

       16         All right.

       17               MR. CLEMENTE:      Thank you, Your Honor.

       18               MR. KANE:     Your Honor?

       19               THE COURT:     Thank you.

       20               MR. KANE:     Your Honor, this is John Kane.

       21               THE COURT:     Okay.

       22               MR. KANE:     Sorry.     I have mainly just a brief

       23    statement.    And I have no intention of trying to persuade you

       24    a different way from your ruling.           I understand that ruling is

       25    already there.




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        1         But I was -- I was on the phone representing CLO Holdco on

        2    the last Acis plan status conference and listened to your

        3    directives to the parties about the litigious nature that's

        4    been taking place in this case.          And I've had lengthy

        5    conversations with my client, Grant Scott, about those same

        6    concerns.

        7         So I did want to disclose to Your Honor, first, that

        8    nothing in our motion was trying to contradict the Court's

        9    ability to initiate plead funds into the registry of the Court

       10    or order that.     We weren't trying to relitigate the same

       11    proceeding a second time.

       12         But, importantly, at the outset of this, I had

       13    conversations with the Committee about our efforts to try and

       14    locate a feasible bond to put up as collateral to remove the

       15    funds from the registry so that we could satisfy both the

       16    Committee's concerns but also CLO Holdco's concerns about

       17    liquidity issues at the CLO Holdco level.

       18         Unfortunately, we were not able, after discussing with two

       19    different bond brokers, to locate a bond that we thought was

       20    going to be economically feasible, given the potential time

       21    period that the funds could be in the registry, given that

       22    there was no temporal limitation on how long the Committee

       23    would be investigating these claims, or, really, how long

       24    litigation could take, depending on the complexity of the

       25    claims and the number of parties included on that complaint.




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       1         We were looking at a potential even, you know, two percent

       2    cash bond on an annual basis was going to be hundreds of

       3    thousands of dollars, potentially.           And that's something that

       4    we decided really wasn't feasible.

       5         And I also want to make abundantly clear that I would not

       6    have attempted to relitigate any issue whatsoever.               I

       7    personally viewed that this is a separate and distinct legal

       8    issue.    I was not present at that March hearing.              So I

       9    apologize if this came across as some kind of litigation

      10    tactic.

      11         But the reason that our motion was filed is because of

      12    liquidity concerns at the CLO Holdco level relayed to me by

      13    Grant Scott.     There was no evidence presented of that because,

      14    Your Honor, we did not believe that we had the burden of

      15    proving any kind of harm issue because we were not the party

      16    seeking that injunction, and that wasn't an issue that had

      17    been subject to any kind of discovery whatsoever.

      18         So, I just -- I always get very uncomfortable when there

      19    are allegations of good faith, bad faith, the like.                  I want

      20    this Court to understand that CLO Holdco's counsel is advising

      21    CLO Holdco regarding your views on the litigious nature of

      22    proceedings in this case, this bankruptcy case, that that is

      23    something that is very real, that I have taken to heart, that

      24    I am using to influence my client's decision-making, and that

      25    this was not an attempt by CLO Holdco to unnecessarily address




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       1    or relitigate an issue for some small balance.

       2         CLO Holdco, most of its assets are either encumbered or

       3    are illiquid.     There is a large portion of illiquid assets

       4    that are not encumbered.        So we are able to pay any kind of

       5    judgment.    Let me restate that.        That we would -- we would

       6    likely have to liquidate considerable assets to do that, which

       7    is where the settlement gives a potential opportunity cost and

       8    appreciation of asset value, which is why we proceeded with

       9    this motion.

      10         I'm not intending any of those statements to be admitted

      11    into evidence or to persuade you to either rule differently

      12    for some reason or another, but I did think that, given your

      13    concerns, that it was important to provide the Court with

      14    context for why we took the tactic that we did to try and

      15    obtain funds from the registry of the Court.

      16         This, on the CLO Holdco level, was not a bad faith effort.

      17    We weren't trying to relitigate an issue that was already

      18    there, and certainly we weren't trying to litigate unless

      19    litigation we felt was necessary from a financial cost-benefit

      20    analysis.    And that was a real analysis that we discussed

      21    between me and my client.

      22         I just wanted to share that with the Court.                I've shared

      23    with the Committee counsel that we understand that there are

      24    major concerns about Jim Dondero, about his control over

      25    various entities, about transfers.           I'm trying to work as hard




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        1    as I can to distance CLO Holdco from that taint, because

        2    understanding that it's in what has been alleged as a

        3    Byzantine web, we think it's important to separate CLO Holdco

        4    and its operations to ensure that things are done in an

        5    appropriate fashion with square corners.

        6         That's all I have, Your Honor.           We have no objection to

        7    the additional funds being pled into the registry of the

        8    Court.   We can agree those funds would be adjudicated as part

        9    of this dispute.      We understand that we did not prevail, and

       10    we appreciate your Court hearing our argument.

       11         (Proceedings concluded at 12:06 p.m.)

       12                                        --oOo--

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       18
                                            CERTIFICATE
       19
                  I certify that the foregoing is a correct transcript to
       20    the best of my ability from the electronic sound recording of
             the proceedings in the above-entitled matter.
       21
               /s/ Kathy Rehling                                         07/02/2020
       22
             ______________________________________                   ________________
       23    Kathy Rehling, CETD-444                                      Date
             Certified Electronic Court Transcriber
       24

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   IN RE:                                )   Case No. 19-34054-sgj11
                                         )   Chapter 11
                                         )
   HIGHLAND CAPITAL                      )   Courtroom 1
   MANAGEMENT, L.P.,                     )   1100 Commerce Street
                                         )   Dallas, Texas 75242-1496
                                         )
                                         )   July 21, 2020
                                         )   1:38 p.m.


       TRANSCRIPT OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS
              EMERGENCY MOTION TO COMPEL PRODUCTION BY THE
      DEBTOR (808); DEBTORS MOTION FOR ENTRY OF (I) A PROTECTIVE
      ORDER, OR, IN THE ALTERNATIVE, (II) AN ORDER DIRECTING THE
   DEBTOR TO COMPLY WITH CERTAIN DISCOVERY DEMANDS TENDERED BY THE
    OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO FEDERAL
           RULES OF BANKRUPTCY PROCEDURE 7026 AND 7034 (810)
                BEFORE HONORABLE JUDGE STACEY G. JERNIGAN
                      UNITED STATES BANKRUPTCY JUDGE


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  1      (IN INSTANCES WHERE CONNECTION IS FADING IN AND OUT, AN

  2 INAUDIBLE RESULTED DUE TO THE LACK OF AUDIBILITY.                      IN INSTANCES

  3        OF MUFFLED VOICES OR REVERBERATION OF THE TELEPHONIC

  4        PARTICIPANTS ON CHANNEL 2, AN INDISCERNIBLE RESULTED)

  5              THE COURT:     This is Judge Jernigan, and we are ready

  6 to start a hearing today in Highland.                      Before I take

  7 appearances, let me just kind of say where I think we are.

  8              We have a document production dispute on the calendar

  9 today, primarily between the Unsecured Creditors’ Committee and

 10 the debtor.      Basically it’s an ESI protocol dispute, as I

 11 understand it.

 12              We have had eight other parties in interest weigh in

 13 on the dispute with pleadings.                So I’ll do a roll call.

 14      (The Court engaged in off-the-record unrelated colloquy)

 15              THE COURT:     I’m a little hamstrung here because I

 16 don’t have my glasses, but my law clerk is working on that.                       I

 17 guess I do have a magnifying glass here.

 18              All right, well, why don’t we do a roll call while

 19 he’s getting my glasses, of the different parties in interest.

 20 I’m going to call parties one-by-one to avoid talking overlap.

 21              For the Committee, it looks like we have Mr.

 22 Clemente, is that correct?

 23                        (No audible response heard)

 24              THE COURT:     Oh, you’re on mute.

 25              MR. CLEMENTE:       My apologies, Your Honor.              Matt




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  1 Clemente from Sidley on behalf of the Committee.                        My partner,

  2 Paige Montgomery, is also here with me, and she will be

  3 addressing the Court today, as well.

  4              THE COURT:     Okay.       Very good.             For the debtor, who do

  5 we have participating today?

  6              MR. KHARASCH:       Good morning, Your Honor.                It’s Ira

  7 Kharasch of Pachulski Stang, and we also have John Morris from

  8 Pachulski Stang, as well.

  9              THE COURT:     Okay; good afternoon.

 10              All right.     Mr. Dondero’s counsel weighed in.                  Who do

 11 we have appearing for Mr. Dondero this afternoon?

 12              MR. LYNN:    Yes, Your Honor.                 Michael Lynn and John

 13 Bonds for Jim Dondero.

 14              THE COURT:     Okay, very good.

 15              Now I’m going to go through the seven other parties

 16 that have weighed in.        For the party Atlas, do we have Paul

 17 Keiffer or some other lawyer participating?

 18              MR. KEIFFER:      Yes, Your Honor, Paul Keiffer here.

 19              THE COURT:     All right; good afternoon.

 20              For H.C. and Fund Advisors, who do we have appearing?

 21              MR. WRIGHT: Good afternoon, Your Honor.                     You have

 22 James Wright and Steve Topetzes at K&L Gates.

 23              THE COURT:     Okay; very good.

 24              All right, CCS Medical, who do we have appearing?

 25              MS. STRATFORD:        Your Honor, it’s Tracy Stratford from




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  1 Jones Day.

  2              THE COURT:     Okay; thank you.

  3              MS. STRATFORD:        Thank you.

  4              THE COURT:     CLO Holding, who do we have?

  5              MR. KANE:    Your Honor, John Kane for CLO Holdco,

  6 Limited.

  7              THE COURT:     Okay, Holdco, excuse me; thank you.

  8              What about NexPoint?

  9                        (No audible response heard)

 10              THE COURT:     Anyone appearing for NexPoint?            Jason

 11 Rudd, Lauren Drawhorn perhaps?

 12                        (No audible response heard)

 13              MR. WRIGHT:     Your Honor, this is James Wright again

 14 at K&L Gates.      We represent one of the NexPoint entities,

 15 NexPoint Advisors.       But I understand there are some other

 16 NexPoint entities that we don’t represent, and they may have a

 17 separate objection, just to be clear.

 18              THE COURT:     Okay.       Yes, there was a separate

 19 objection.     The same firm, Wick Phillips, filed an objection by

 20 MGM.

 21              So, again, I’ll ask, is there anyone on the phone for

 22 those clients?

 23                        (No audible response heard)

 24              THE COURT:     All right, well, we may -- oh, I see

 25 Lauren Drawhorn on the video; are you muted, Ms. Drawhorn?                    Ms.




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  1 Drawhorn, we can see you but we can’t hear you.                         Cannot hear

  2 you.    We definitely see you.

  3              If we can’t -- yes, if you could call on your cell

  4 phone, we can hear you that way, and you can keep your visual

  5 on, as well.

  6              Okay, I’ll go on.          What about HCLOF, do we have

  7 someone from King & Spalding?

  8                        (No audible response heard)

  9              THE COURT:     Okay.       I’m not hearing anyone from King &

 10 Spalding.

 11              MR. MALONE:     Your Honor, this is Mark Malone.                   I’m

 12 not sure if you can hear me, I’m only dialed in on my phone.

 13              THE COURT:     Okay, I --

 14              MR. MALONE:     Can you hear me?

 15              THE COURT:     I do hear you, Mr. Malone; thank you.

 16              MR. MALONE:     Yes, and Rebecca Matsumura is trying --

 17 I suspect feverishly, I don’t have the video.                         I know she’s

 18 plugged in on the video.           She’ll be handling any argument,

 19 assuming we can get her on.             If not, I’m happy to handle it.

 20 But we are here, Your Honor; thank you.

 21              THE COURT:     All right, thank you.

 22              MS. MATSUMURA:        Can y’all hear me now?

 23              THE COURT:     Yes.       Who is that?

 24              MS. MATSUMURA:        This is --

 25              THE COURT:     Was that Ms. Matsumura?




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  1              MS. MATSUMURA:        This is Rebecca Matsumura; sorry

  2 about that.

  3              THE COURT:     Okay, we hear you and we see you; very

  4 good.

  5              All right.     I’ll go back to Ms. Drawhorn, do we have

  6 you on the phone yet?

  7                        (No audible response heard)

  8              THE COURT:     All right.            Well, hopefully -- hopefully

  9 we can get whatever technical difficulties there worked out.

 10              I’ll ask, for the record, are there any other parties

 11 in interest wishing to make an appearance?                            And I’m going to

 12 forewarn you that I’m not going to be inclined to let any other

 13 party make an argument today unless you give me a reason I

 14 should that absolutely knocks my socks off.                            So I assume we

 15 might have people wanting to appear, but who are not going to

 16 make an argument.       If so, go ahead.

 17              MR. ANNABLE:      Your Honor, this is Zachary Annable and

 18 Melissa Hayward of Hayward & Associates, local counsel for the

 19 debtor.     We just wanted to let you know we’re here, too.

 20              THE COURT:     All right; thank you.

 21              Anyone else?

 22              MS. MASCHERIN:        Yes, Your Honor.                   Terri Mascherin and

 23 Marc Hankin from Jenner & Block on behalf of the Redeemer

 24 Committee of the Highland Crusader Fund.

 25              THE COURT:     All right; thank you, Ms. Mascherin.




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  1              MR. SLADE:     Your Honor, it’s Jared Slade and Jonathan

  2 Edwards of Alston & Bird.            We’re here on behalf of NexBank.

  3 And I’m not sure if it’s going to knock your socks off, but we

  4 were engaged just this week by NexBank as a party in interest,

  5 the issue about the ESI disclosures.                     We have been negotiating

  6 with the Creditors’ Committee about the issues, and we hope to

  7 have an opportunity to present a minute or two at the end about

  8 why we were differently situated than some of the other

  9 objectors, if the Court entertains it.

 10              THE COURT:     Okay.

 11              MR. SLADE:     Thank you.

 12              THE COURT:     Thank you.

 13              MR. CLUBOK:     And, Your Honor, Andrew Clubok and

 14 Kimberly Posin for UBS.

 15              THE COURT:     Okay; thank you.

 16              MS. PATEL:     Good afternoon, Your Honor.               Rakhee Patel

 17 and Annmarie Chiarello on behalf of Acis Capital Management,

 18 but we don’t intend on making any presentation, Your Honor,

 19 unless anyone specifically asks to address things.                     Our matters

 20 are after this.

 21              THE COURT:     Okay, correct.

 22              Anyone else?

 23                        (No audible response heard)

 24              THE COURT:     All right.            Well, let’s talk --

 25              MS. DRAWHORN:       Your Honor?




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  1              THE COURT:     Oh, go ahead.

  2              MS. DRAWHORN:       This is Lauren Drawhorn, I got my --

  3 I’m sorry, I got the audio -- the speaking to work.

  4              THE COURT:     Okay.

  5              MS. DRAWHORN:       I’m appearing on behalf of the

  6 NexPoint Real Estate entities, there’s 15 of them.                      I can go

  7 through them, if you want, or -- they’re listed on Docket 847.

  8              And then I’m also appearing on behalf of MGM

  9 Holdings, Inc.

 10              THE COURT:     Okay, thank you, Ms. Drawhorn.                We’ve got

 11 you loud and clear now.

 12              All right, well, I want to talk for a moment about

 13 how we are going to proceed here today, and I’m hoping we don’t

 14 go late, late, late with ten or so parties wanting to weigh in

 15 on document production because we do have the Acis status

 16 conference regarding the September 10th setting on the

 17 objection to Acis’s proof of claim, I want to make sure we get

 18 to that today.

 19              And then I do want to talk a little bit about where

 20 we stand on getting the mediation going.

 21              So for everyone’s benefit, I’m just going to let you

 22 know that I think I have a handle on the primary disputes

 23 between the Committee and the debtor.                      There’s a lot of finger-

 24 pointing that is going on in the papers.

 25              The UCC is suggesting that the debtor has been




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  1 dragging its heels; and the debtor saying no, it hasn’t.

  2              I really don’t want to get bogged down by that today.

  3 I really just want to focus on the handful of things that seem

  4 to be in dispute between the Committee and the debtor, and so

  5 we’re going to obviously start with the Committee and the

  6 debtor.     I want to hear about are we going to have evidence

  7 today.    I know there were a couple of declarations filed.

  8              And then I’m inclined to, thereafter, just give these

  9 eight or nine other parties five or ten minutes each to present

 10 any arguments that they think I need to hear.

 11              But I’ll tell you, I closely read the Committee’s

 12 pleadings, I closely read the debtor’s pleadings, Mr. Dondero’s

 13 pleading.

 14              And then, frankly, I skimmed very rapidly the other

 15 seven or so pleadings because of being pressed for time, but I

 16 do think I get the gist of them.                  And I think a lot of them

 17 kind of have the same theme.

 18              But before turning to the debtor and the Committee,

 19 let me just tell you what my understanding is that we’re going

 20 to primarily focus on:

 21              We’re obviously talking about emails of nine

 22 different custodians of the debtor, three of which I understand

 23 to be in-house lawyers.          And whether it’s the Committee’s

 24 protocol that should be ordered here, or the debtor’s protocol,

 25 and the way I see the two protocols differing is the debtor




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  1 wants independent contract -- or contract attorneys for the

  2 debtor to do a relevance review.                  UCC says no, that’s going to

  3 be time-consuming, and strangers can’t meaningfully do that.

  4              It looks like there’s a dispute about the search term

  5 request.     Committee thinks what debtor is wanting is too

  6 stringent.

  7              And then, of course, we have some competing views

  8 about how the privilege review process would work, and the

  9 debtor has obviously this overriding concern about

 10 confidentiality obligations it has, either contractually and/or

 11 shared services agreements, or through other law.

 12              So now I will, at long last, turn -- I’m going to, I

 13 guess, start with the Committee because it is first in time

 14 with its pleading the motion to compel.                        And then, of course,

 15 the debtor came quickly behind that pleading with its own

 16 motion for protective order.

 17              And so -- I don’t know, Mr. Montgomery, or Mr.

 18 Clemente, let me hear from you on how you --

 19              MR. MORRIS:     Your Honor?

 20              THE COURT:     -- want to go forward today.

 21              MR. MORRIS:     Your Honor, this is John Morris from

 22 Pachulski.     I greatly apologize for interrupting, but I have a

 23 slightly different suggestion.

 24              We had made a proposal to try to resolve our disputes

 25 with the Committee a few days ago.                    The Committee responded




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  1 with its own proposal about an hour before this hearing, and

  2 we’d like an opportunity to confer with them.                         But under --

  3 even under the -- even if we were to reach an agreement, I

  4 think the Court needs to rule on the other objections.

  5              So my suggestion, subject to the Committee’s

  6 acceptance and Your Honor’s acceptance, of course, is that we

  7 allow the Committee to proceed and let the --

  8                          (Technical interference)

  9              THE COURT:     Okay.

 10              MR. MORRIS:     Let the other objectors be heard.

 11              And then after the conclusion, and the resolution of

 12 those objections, some of which I understand may have been

 13 resolved already, we take a short break, and allow me to confer

 14 with Ms. Montgomery to see if we can resolve the balance of the

 15 issues, that’s my suggestion.

 16              THE COURT:     Okay.       So start with the Committee, hear

 17 their argument, and then any objectors who haven’t otherwise

 18 been taken care of through agreements, hear from them, all

 19 right.    Well, I am perfectly happy to go forward this way,

 20 especially if it means that we’ll save some time in court, and

 21 the debtor and Committee can get on the same page without the

 22 Court ordering something.

 23              So will it be Ms. Montgomery or Mr. Clemente?                      Which

 24 one of you wants to start us off?

 25              MR. CLEMENTE:       Your Honor, it’s Matt Clemente.                 My




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  1 colleague, Ms. Montgomery, will be handling it.                       So I’ll turn

  2 it over to her, please.

  3              THE COURT:     All right.            Ms. Montgomery?

  4                                  (Pause)

  5              MS. MONTGOMERY:         ... the objection that the debtor

  6 has filed --

  7              THE COURT:     All right.            Ms. Montgomery, I’m going to

  8 ask you to start from the beginning, we missed the first few

  9 seconds, okay?

 10              MS. MONTGOMERY:         Sure.        Can you hear me now?

 11              THE COURT:     Yes.

 12              MS. MONTGOMERY:         So consistent with the proposal that

 13 Mr. Morris laid out, I plan to reserve any arguments with

 14 regard to the dispute between the Committee and the debtors for

 15 now in the hopes that we can get those resolved at the

 16 conclusion, and we’ll just focus on the objections, if that

 17 works for the Court.

 18              THE COURT:     Okay, that’s fine.

 19              MS. MONTGOMERY:         We’ve been working diligently with

 20 all of the objectors that Your Honor is aware of, as well as a

 21 few that did not file objections over the last week or so in an

 22 attempt to resolve as many of their concerns as possible before

 23 today’s hearing.

 24              And we’re happy to tell the Court that we have

 25 resolved some of those objections.                    We were able to negotiate




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  1 an out-of-court resolution with regard to an entity called

  2 Omnimax International, Inc. without them filing an objection.

  3              And we have resolved the objection of Highland CLO

  4 Funding Ltd.      And pursuant to that agreement with Highland CLO

  5 Funding, Highland CLO Funding has requested that the Court

  6 order, at the end of today’s argument, include a statement that

  7 any documents that they produce pursuant to joint privilege

  8 aren’t subject to a privilege waiver by virtue of their

  9 production to the Committee.

 10              THE COURT:     Okay.

 11              MS. MONTGOMERY:         And if I missed anything there, I’m

 12 sure that counsel for Highland CLO will correct me at the end.

 13              THE COURT:     Okay.

 14              MS. MONTGOMERY:         We also have an agreement in

 15 principle with Highland Capital Management Fund Advisors, LP

 16 and the remaining entities that submitted their objections at

 17 Docket 841.

 18              Pursuant to that agreement in principle, we have no

 19 objection to those entities being treated as parties to a

 20 protective order or to having certain data being isolated from

 21 review as a preliminary matter subject to reservation of

 22 rights.

 23              What we don’t have an agreement on, Your Honor, is

 24 how those documents will be isolated.                      And we intend to

 25 continue working with Highland Capital Management Fund Advisors




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  1 and K&L Gates to try to knock out the details of that in the

  2 coming days.      We preliminarily don’t believe that it’s

  3 necessary for you to hear the details of that objection for

  4 today.

  5              THE COURT:     Okay.

  6              MS. MONTGOMERY:         So with regard to the remaining

  7 objections -- my apologies, Your Honor.

  8              There are essentially three categories of documents

  9 that make up the assorted objections -- the issues that are set

 10 forth in the objections.           There are some documents that are

 11 allegedly confidential, and I think that Your Honor has

 12 probably read quite a bit about that in the pleadings that have

 13 been submitted to the Court.

 14              It’s our position, Your Honor, that there’s a very

 15 strong protective order in place in this case.                        And that the

 16 protective order should be sufficient to handle any

 17 confidentiality concerns that have arisen pursuant to the

 18 objections.

 19              We also believe, Your Honor, that a number of the

 20 documents at issue are subject to a joint privilege, and we’ve

 21 briefed this, and it sounds like Your Honor is very familiar

 22 with the materials that we’ve submitted to the Court.                        And as a

 23 result of that joint privilege, we believe that many of the

 24 documents that are included in the ESI that we’ve requested

 25 should be made available to the Committee.




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  1              As you know, Your Honor, there are thousands of

  2 companies that have been identified as affiliates of the

  3 debtor.     Many of those affiliates have shared service

  4 agreements with the debtor, in which the debtor provided

  5 business functions for these purportedly separate entities.

  6              And if you look at my briefing, there isn’t any

  7 segregation of employees of the debtor that represent each of

  8 these affiliates.       And instead, the debtor maintains a

  9 centralized pool, and whoever can perform the service for the

 10 affiliate does so.

 11              The basis for most of the remaining objections that

 12 we’re talking about here today is that these shared service

 13 agreements include provision of legal services.                             And in some

 14 instances, for shared IT -- like shared service servers for

 15 emails and other documents.

 16              Under those shared service agreements, the debtor’s

 17 in-house legal department provides legal advice to these

 18 thousands of entities on as-needed basis.                             And you’re going to

 19 hear from the objectors in a moment some of those separate

 20 companies are objecting to production of their documents by the

 21 debtor, even though those documents are on the debtor’s

 22 servers, in the debtor’s employees’ files, and generally

 23 available to debtor personnel.

 24              We wanted to begin, Your Honor, with the objections

 25 to NexPoint Real Estate Advisors.                   We previously -- we




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  1 previously discussed NexPoint Advisors and its affiliates,

  2 represented by K&L Gates, but obviously there’s also a separate

  3 objection for NexPoint Real Estate Advisors and affiliated

  4 entities.

  5              NexPoint Real Estate Advisors argues that it would be

  6 unduly burdened if the debtor were to produce documents related

  7 to it to the Committee.          It’s unclear, however, how NexPoint

  8 would be burdened by the debtor producing documents, nor is it

  9 clear what expense NexPoint would incur as a result of that

 10 production.

 11              In fact, it appears that NexPoint is attempting to

 12 raise defenses that belong to the debtor instead.                          This may be

 13 because NexPoint shares many things with the debtor under the

 14 shared services agreement:

 15              First, they have shared employees who are employed

 16 both by the debtor and NexPoint Real Estate.                          Although pursuant

 17 to the shared service agreement, only the debtor pays the

 18 salaries of those shared employees.                    It shares back- and

 19 middle-office services, it shares administrative services,

 20 including cohabitating in the same office space on information

 21 and belief, and it also shares IT services, possibly including

 22 servers, and in-house counsel that provide assistance with

 23 advice with respect to legal issues.

 24              Despite all of the shared services, NexPoint is

 25 arguing that it should be given a separate and independent




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  1 opportunity to review all documents possibly related to it, and

  2 to decide what it relevant, responsive, and privileged.

  3              Your Honor, it’s the Committee’s position that

  4 NexPoint chose to commingle its data with that of the debtor;

  5 to share in-house counsel with the debtor; to co-office with

  6 the debtor; to share employees with the debtor; and to

  7 generally allow the debtor to provide many of its services.

  8 But now it believes it has a separate ability to review

  9 documents in the debtor’s possession before they’re produced to

 10 the Committee.      And this is the sort of gamesmanship that we’ve

 11 been trying to avoid through the motion to compel.

 12              NexPoint may very well be the subject of estate

 13 claims, it’s impossible for us to know at this point because we

 14 don’t have access to the data that’s necessary for us to

 15 determine what estate claims might exist.                             And we don’t believe

 16 that NexPoint should also have the ability to dictate to the

 17 estate which documents the estate -- that the estate already

 18 possesses and needs to investigate those claims.

 19              With regard to the various Rand entities and Atlas, I

 20 believe Your Honor referenced Atlas when we began.                             Essentially

 21 the same argument appears to apply with Rand, although to a

 22 somewhat lesser extent.

 23              The objection for Rand is slightly different in that

 24 it focuses on the shared IT infrastructure with the debtor, and

 25 not necessarily the custodial data for nine individuals that




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  1 were the subject of the motion to compel.

  2              Unlike with NexPoint, it doesn’t appear that Rand has

  3 legal services provided by the debtor.

  4              And their objection primarily focuses on the

  5 potential that there is Rand data on servers that are

  6 accessible by the debtor which, in itself is an indication that

  7 the data may not have been maintained separately as to Rand

  8 and, therefore, confidentially.                 And as such, any privilege

  9 related to data contained on that server as to Rand would be

 10 waived.

 11              That said, we are amenable to their request to be

 12 made party to the protective order.                    And that all data related

 13 to them be produced as highly confidential as a preliminary

 14 matter, subject, of course, to our ability to request a de-

 15 designation of that data where the default designation appears

 16 to be improper.

 17              The next objection is CLO Holdco.                        CLO Holdco also

 18 argues that there may be data among that of the nine

 19 custodians, all of whom are employees of the debtor, that

 20 relate to a privilege held exclusively by CLO Holdco.                           We don’t

 21 believe that that position is tenable.

 22              The briefing on this particular objection, Your

 23 Honor, includes some back and forth with regard to Teleglobe,

 24 and related cases.

 25              Teleglobe is one of the foundational cases on the




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  1 issue of privilege with regard to business affiliates.                         And it

  2 provides that communications between affiliates can maintain

  3 privilege because the members of a corporate family are joint

  4 clients, and this reflects both the separateness of the entity

  5 and the reality that they are all represented by the same in-

  6 house counsel.

  7              We don’t believe that Teleglobe stands for the

  8 position that there can be completely separate privileges held

  9 by affiliates with the in-house counsel that is employed by the

 10 parent company, or any other member of an affiliate family.

 11              As a result, either the communications are subject to

 12 a joint privilege, and the debtor having access to the

 13 communications isn’t a waiver of confidentiality requirements

 14 of privilege, or there is no common interest.                         There is no

 15 joint client interest, and the debtor having access to the

 16 documents is a waiver.         But either way, the Committee should be

 17 provided with the documents under the terms of the final term

 18 sheet because the Committee is standing in the debtor’s shoes

 19 with regard to those estate claims, and the debtor has

 20 conceded, and the Court has, you know, ordered that those

 21 documents should be -- that the privilege isn’t waived.                         The

 22 privilege should be shared with the Committee, it’s not

 23 waived.

 24              Separately, CLO Holdco has argued that it should be

 25 able to conduct an independent review of the documents.                         As you




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  1 know, and I think we referenced in our hearing last week, the

  2 impetus for the motion to compel is specifically the need for

  3 expedited access to documents related to CLO Holdco so that we

  4 can comply with the Court’s 90-day deadline.

  5              CLO Holdco entered into the shared service agreement,

  6 it agreed to allow the debtor have access to this material, the

  7 debtor has that data.        And we don’t think they can now seek to

  8 claw back access to the ESI that’s in the debtor’s possession.

  9              The remaining objectors, Your Honor, stand in a

 10 slightly different position.              CCS Medical and MGM, in

 11 particular, are bringing objections, not based on the shared

 12 service agreement, but based upon the facts that there are

 13 employees of the debtor that have served in board positions for

 14 each of those entities.

 15              But, you know, based on the information that we have

 16 to date, we understand that that -- that those board positions

 17 were obtained pursuant to investments or other relationships

 18 with the debtor, and that the debtor has or had relationship

 19 with those entities outside of the board position.                    And those

 20 additional relationships that are separate from board

 21 membership make it very difficult to craft searches that would

 22 exclude only outside information related to board service.

 23              And so while the Committee doesn’t necessarily have

 24 an objection to attempts to isolate the communications that are

 25 truly related to board service, we’ve had difficulty




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  1 negotiating the terms of what that would look like with MGM, at

  2 least.    We haven’t had an opportunity to speak with CCS Medical

  3 because -- because of its overlap, Your Honor.

  4              We also think -- and this is set forth in our

  5 documents -- that it’s possible that the documents that were

  6 shared with the debtor are -- have been waived, to the extent

  7 that there was any privilege associated with it because of the

  8 way that the debtor maintains its email servers.

  9              And then I believe finally, the last objection that

 10 has been filed with the Court for today is from Mr. Dondero.

 11 And he argues that any data related to information that’s being

 12 produced under the protocols should not be made available to

 13 Josh Terry, Acis Capital Management GP LLC, or Acis Capital

 14 Management LP.

 15              But there’s nowhere in Dondero’s briefing that sets

 16 forth a basis of law for a categorical restriction of that

 17 nature.     And as you know, Mr. Dondero and his affiliated

 18 entities are at the center of the Committee’s investigation of

 19 the estate claims.       And we believe imposing a categorical

 20 confidentiality ban against one member of a Committee would

 21 considerably complicate and impede that investigation.

 22              We understand a desire to have any documents that are

 23 created in connection with pending litigation between Acis and

 24 the debtor, Dondero, and other Dondero-related parties, that

 25 that information be marked as attorneys’ eyes only, highly




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  1 confidential so that only outside counsel has access to it, but

  2 that’s not really the basis for Mr. Dondero’s objection, and as

  3 a result, we don’t believe that objection has value.

  4              And then, Your Honor, I don’t know to the extent you

  5 intend to hear from NexBank Capital and its affiliates, and so

  6 if -- I would like to reserve any sort of response to them --

  7              THE COURT:     Okay.

  8              MS. MONTGOMERY:         -- to the extent that you allow them

  9 to speak.

 10              But, you know, in concluding, Your Honor, the debtor

 11 and its affiliates have interwoven so much of their operations,

 12 their legal services, and even their data storage, that it’s

 13 incredibly difficult to try to pick apart the data, with the

 14 exception of MGM and CCS, the objectors here today agreed to

 15 those shared services, and now they want to argue that what was

 16 shared was actually separate.

 17              The Committee has been tasked with investigating the

 18 estate’s claims against the very affiliates that now seek to

 19 unwind their information and said that unnecessary burdens to

 20 production.      And as a result, we request that those objections

 21 be overturned, that the motion be granted, and that the ESI

 22 subject to the motion to compel be produced to the Committee.

 23              THE COURT:     All right.            Well, let me -- I’m just

 24 going to go down the list of objectors.

 25              Let me start with the two that Ms. Montgomery




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  1 announced have been resolved:               Highland CLO Funding Limited.

  2 Matsumura, were you going to be the one to weigh in on

  3 confirming that?

  4              MS. MATSUMURA:        Yes, Your Honor.                   I can confirm we’ve

  5 reached an agreement with the Committee that the documents that

  6 are -- contain confidential and privileged information of HCLOF

  7 will be produced on a highly confidential designation under the

  8 protective order, so that will be only the Committee’s

  9 professionals.

 10              And that as Ms. Montgomery stated, any of the

 11 documents produced by the debtor pursuant to this agreement

 12 will not be construed as a waiver of any privilege that the

 13 funds share of those documents.

 14              THE COURT:     Okay; thank you.

 15              All right, what about HMC Fund Advisors?                         I

 16 understand that your issues have been resolved, you’re still

 17 working out a couple of things, but who wants to weigh in on

 18 that to confirm that?

 19              MR. WRIGHT:     Good afternoon, Your Honor.                      It’s James

 20 Wright at K&L Gates for -- actually a number of entities that

 21 are all at Docket 841.         There was an objection at 841 that’s

 22 HMC Fund Advisors, NexPoint Advisors, and then a number of

 23 individual funds, and I will not burden the record with listing

 24 each of them out.

 25              THE COURT:     Thank you.




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  1              MR. WRIGHT:     I agree with the Committee’s summary,

  2 that we have made a lot of progress.

  3              There are some technical things that we’re still

  4 working out, but I think that we’re -- you know, we’ve been --

  5 we’ve made a lot of progress, we’ve been working in good faith,

  6 and -- get there -- but we just need a minute to -- we were on

  7 the phone with them, frankly, ten minutes before this hearing

  8 started, I think we just need a little bit more time.

  9              THE COURT:     Okay; thank you.

 10              All right.     Well, why don’t we start with Mr.

 11 Dondero, and your objection which I understand deals mostly

 12 with Acis and Josh Terry.

 13              Go ahead.

 14              MR. LYNN:    Thank you, Your Honor.

 15              As you’ve gathered, our concerns are somewhat

 16 different from the other parties who are objecting.                   Mr.

 17 Dondero agreed to the arrangement involving shared privilege in

 18 allowing the Committee the kind of discovery that they’re

 19 seeking here.

 20              And accordingly, we would (indiscernible) object to

 21 what they’re doing.

 22              But as I understand the Committee’s response to the

 23 Dondero response to the motion to compel, (indiscernible)

 24 because, first, there is no basis in law (indiscernible) Acis

 25 and Mr. Terry (indiscernible) and participate (indiscernible)




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  1 in consideration of the estate claims.

  2              And second, (indiscernible) and I quote,

  3 "considerably complicate and impede the Committee’s

  4 investigation."

  5              Even assuming for a minute that Acis and Mr. Terry

  6 are so central to the investigation that their absence from it

  7 could not be tolerated by a Committee, just as there may be

  8 nothing in the statute that permits the Court specifically to

  9 restrict Mr. Terry and Acis’s access to information so, too,

 10 there’s nothing in the Bankruptcy Code or the Bankruptcy Rules

 11 that prevents the Court from doing so.

 12              There is (indiscernible) the authority for the

 13 Bankruptcy Court to grant what Mr. Dondero asks, which is that

 14 Acis and Mr. Terry be excluded from the information gained by

 15 the Committee during the course of its investigation.                 Section

 16 105, as this Court is acutely aware, is the problem-solving

 17 section of the Bankruptcy Code that allows the Court to fashion

 18 results that may be necessary to fill in gaps that the Code

 19 leaves open.

 20              There was nothing in the law that authorized it, even

 21 before the passage of Section (indiscernible) of the Code, it

 22 was common for (indiscernible) representatives are

 23 (indiscernible).       And, indeed, (indiscernible) representatives

 24 are also (indiscernible) in other (indiscernible).

 25              Similarly, I know of nothing in the Code or the Rules




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  1 that provides for the retention of a Chief Restructuring

  2 Officer.     Yet, Section 105 has allowed for that necessary post,

  3 as is true (indiscernible) which are also not provided for in

  4 the law.

  5              In this case, (indiscernible) Section 105 has been

  6 used to justify an independent board, and to justify the very

  7 same privilege that is at the root of the disputes.                    Section

  8 105 (indiscernible) to justify the removal by a court of a

  9 member of the Creditors’ Committee.                    That’s in the First

 10 Republic Bank Corporation case, Judge Felsenthal determined

 11 that he had the authority to remove, and he chose to remove, a

 12 member of the Creditors’ Committee.                    A similar result was

 13 reached in the MAP International case out of the Eastern

 14 District of Pennsylvania, and a similar result (indiscernible)

 15 following Judge Felsenthal was reached by the Bankruptcy Court

 16 for the District of Arizona in In Re America West Airlines.

 17              If the Bankruptcy Court has authority pursuant to

 18 Section 105 to remove a Committee member, clearly Section 105

 19 gives authority to the Court to eliminate a member’s access to

 20 and involvement in an investigation that will give that

 21 Committee member a leg-up in discovery in another case.

 22              In the litigation commenced by Acis is, indeed, in

 23 another case, not in this case, and the litigation is intended

 24 to provide a benefit -- a windfall to Mr. Terry, not to provide

 25 (indiscernible) who he is supposed to be representing as a




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  1 member of the Creditors’ Committee.

  2              As pointed out in an article in The Review of Banking

  3 and Financial Services in October of 2016, "Members of a

  4 Creditors’ Committee may not use their positions as Committee

  5 members to advance their individual interests."                             And I’m

  6 quoting there the MAP International case.                             Similarly, that

  7 fight has been made by Collier in Paragraph 1102.05[3] of the

  8 Collier treatise.

  9              Indeed, the Acis litigation may not only drain assets

 10 from Highland, it may reduce the (indiscernible) Dondero and

 11 other potential defendants in the same causes of action as to

 12 their ability to (indiscernible) any judgment that defendants

 13 may manage to obtain.

 14              Under those circumstances, unsecured creditors

 15 represented by Acis and Mr. Terry will have their recovery

 16 reduced by virtue of those judgments.

 17              It is clear that the Bankruptcy Court may restrict a

 18 committee member’s access to information, as Collier points

 19 out, where a member of a committee is a competitor of the

 20 debtor, as, indeed, Acis is, the member may be restricted as to

 21 the information that the member gets so it does not obtain

 22 competitive advantage.

 23              I recognize that the same claims may be, indeed, a

 24 central concern of the Committee, (indiscernible) with Acis and

 25 Mr. Terry creates serious problems, perhaps Mr. Terry should




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  1 resign from the Committee or be removed.

  2              In fact, in this case, when UBS filed the motion for

  3 relief from stay in order to pursue litigation in New York,

  4 very properly, UBS excluded itself -- recused itself from

  5 discussion of the motion for relief from stay.                        And Mr. Terry,

  6 I respectfully submit, should do the same here.

  7              Further, as far as complicating and repeating the

  8 Committee’s investigation, and the Committee did not elucidate

  9 how that would happen, whatever trouble or cost (indiscernible)

 10 Acis and Mr. Terry may cost is nothing compared to the trouble

 11 and cost to the debtor of complying with a request for millions

 12 and millions of communications.

 13              In conclusion, Your Honor, in litigation such as that

 14 being pursued by Acis in the Acis case, as courts have said,

 15 the Federal Rules were designed to create, quote, "a level

 16 playing field," end quote.

 17              A couple of those cases, the Hillsborough Holding

 18 decision of the Bankruptcy Court out of the Middle District of

 19 Florida; Allstate Insurance versus Electrolux out of the

 20 Northern District of Illinois; and Passlogix, Inc. versus 2FA

 21 Tech out of the Southern District of New York.

 22              Yet the motion to compel is brought without

 23 protection from (indiscernible) that Acis seeks, there clearly

 24 will be no level playing field in that litigation.                       And the

 25 commitment of this Court (indiscernible) in general to




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  1 (indiscernible) litigation processes will be undermined.

  2              Your Honor, if anybody wants cites to any of these

  3 authorities that I provided to the Court, I’ll be happy to

  4 provide them.

  5              THE COURT:     All right.            Thank you, I appreciate

  6 that.

  7              I’m going to go next to --

  8              MR. LYNN:    Your Honor, I didn’t hear you.

  9              THE COURT:     Pardon?         I thanked you for your argument,

 10 and I do not need those case cites.

 11              I’m going to go next to CLO Holdco.                          Mr. Kane, will

 12 you be making the argument there?

 13              MR. KANE:    Yes, Your Honor, I will; thank you for the

 14 time. This is John Kane for CLO Holdco, for the record.

 15              And first, I want to start by kind of acknowledging

 16 that we really did take to heart what you said previously in

 17 attempts to avoid unnecessary litigation.                             I’ve been working

 18 with Ms. Montgomery for over a week now in an effort to try and

 19 resolve some of our concerns about the discovery requests, at

 20 the same time trying to be mindful of what I believe to be my

 21 client’s privileges and our right (indiscernible) the party

 22 that reviews documents and produces them.

 23              We are -- CLO Holdco is subject to a request for

 24 production of documents from the Committee.                             We are working to

 25 prepare a review, to obtain all of the requisite documents to




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  1 have a fulsome production to the Committee.                           And Ms. Montgomery

  2 and I have had conversations about how that production will

  3 take place.      While we acknowledge that there are obviously some

  4 timing concerns here given the 90 days relating to that

  5 registry order that was relatively recently entered.

  6              So we’ve mindful of all of those issues, and our

  7 dispute here is about whether we’re giving up privileged

  8 documents or whether we aren’t.

  9              It’s our position that since that request for

 10 production of documents to CLO Holdco, CLO Holdco has a right

 11 to review those documents, and to produce documents in

 12 accordance with the Federal Rules.                    And that the request by the

 13 Committee to have all ESI produced by these various custodians

 14 basically provides an end around to the request for production

 15 of documents delivered to CLO Holdco.                      And it does look through

 16 the guise of this joint client privilege exception to the

 17 general privilege rules.

 18              But we’ve got a fundamental misunderstanding of the

 19 law by the Committee as the exception applies to the general

 20 rule of privilege.       And it basically breaks down to a simple

 21 analogy, one we can apply to the case of law.                           The analogy

 22 would be like if our firm, Kane Russell Coleman and Logan,

 23 represented Texas Capital Bank and Wells Fargo on a bunch of

 24 separate matters, and then because we had a great relationship

 25 with both, we are going to represent Texas Capital Bank in a




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  1 merger with Wells Fargo, and we are going to be retained as

  2 kind of a mutual third party counsel by both sides to help

  3 manage this merger.

  4              Now if that merger representation turned into a later

  5 dispute between the parties, the correspondence between Wells

  6 Fargo and Kane Russell Coleman and Logan, and the

  7 correspondence between Texas Capital Bank and Kane Russell

  8 Coleman and Logan would not be precluded from production to

  9 either party as long as it were (indiscernible) representation.

 10 They have the same counsel for the same representation.                 So

 11 that this idea of privilege doesn’t really apply the same way.

 12 Those documents pass back and forth, I have a duty to both of

 13 those clients equally.

 14              But what they wouldn’t be able to obtain is, let’s

 15 say, Texas Capital Bank’s request for production of documents

 16 to me, counsel, seeking all correspondence that I have ever had

 17 with Wells Fargo on any other matter, regardless of whether it

 18 was -- it was related to or unrelated to a joint

 19 representation.      And really, that’s what the Committee is

 20 trying to do here, they want all ESI, there are no parameters.

 21 So it doesn’t matter if there’s a joint representation on a

 22 specific matter between CLO Holdco and the debtor, what the

 23 Committee is asserting is because they use the same counsel,

 24 that all matters or all correspondence between counsel for the

 25 debtor, all internal counsel, and counsel for CLO Holdco, since




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  1 it was essentially the same person, the same people, all of

  2 that is subject to production.

  3              So here’s an example of how this plays out, Your

  4 Honor.    At our last hearing, you heard a bunch of testimony

  5 about a transfer of Highland, the debtor’s interest in the

  6 Dynamic fund, and how on December 28, 2016, with one document,

  7 we can trace -- I’m sorry -- we can trace this trail of

  8 transfers from Highland to CLO Holdco, and we know that

  9 Highland’s internal counsel was representing both sides of the

 10 deal.    They were representing the debtor, they were also

 11 representing CLO Holdco as the creation of those documents was

 12 done for both parties by the same entity and the same

 13 transaction, that’s critical.

 14              So do I have an assertion of privilege for CLO Holdco

 15 in that situation?       No, I don’t believe that I do.               I think

 16 that joint client exception that’s addressed in Teleglobe, and

 17 Nguyen, and in the Nester decision that’s cited by the

 18 Committee in their pleadings precludes me from stopping the --

 19 or the disclosure of documents that were between internal

 20 counsel and CLO Holdco as they’re related to that dynamic

 21 transaction because internal counsel at Highland represented

 22 both sides of the deal.

 23              But there are other representations taken up by

 24 internal counsel for Highland under the shared services

 25 agreement between CLO Holdco and Highland that really don’t




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  1 have anything to do with Highland.                    So much (indiscernible)

  2 litigation, we’ll say, between CLO Holdco and some other party

  3 like U.S. Bank that does not have Highland Capital Management

  4 as a party to that litigation, and could not have Highland

  5 Capital Management as a party to that litigation.

  6              (Indiscernible) under this joint client privilege

  7 exception that the Committee is asserting should control this

  8 entire deal.      So in a situation like that, I would still be

  9 able to review and withhold documents that were privileged,

 10 attorney-client communications, or work product communications

 11 without having to disclose those to the Committee even though

 12 the Committee stands in the debtor’s shoes.                           Because there is

 13 this isolation, Highland is not a party that is jointly

 14 represented in that transaction.

 15              So all of the documents that have been exchanged

 16 between CLO Holdco and the debtor in representations where the

 17 debtor is not an active participant as a party in a joint

 18 representation, all of that documentation is the sole property

 19 of CLO Holdco.      It shouldn’t be subject to disclosure simply

 20 because one of these custodians engaged in correspondence with

 21 CLO Holdco.

 22              So, for instance, the Argentina Bank, let’s say, if

 23 Highland is not being represented in a transaction with CLO

 24 Holdco related to the Argentina Bank, and Grant Scott, as

 25 trustee of CLO Holdco, inquires internally about a -- let’s say




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  1 a NAV statement related to its interest, that’s not necessarily

  2 a document that would have to be produced to the Committee

  3 because it is a potentially privileged communication if it was

  4 with one of the attorneys in-house.

  5              Now that doesn’t mean that everything is going to be

  6 privilege, or that there aren’t going to be a significant

  7 number of these joint client privilege exceptions where we have

  8 to disclose attorney-client communications because Highland was

  9 on the other side of the transaction, but that’s something that

 10 I should be reviewing as CLO Holdco’s attorney, and identifying

 11 documents for a privilege log, and then having a conversation

 12 with the Committee’s counsel about whether these are subject to

 13 the joint client privilege exception, or whether they are truly

 14 privileged documents or not.

 15              So we’ve already got a request for production out

 16 there.    I mean presumably, Your Honor, this is already -- you

 17 know, this is already underway.                 What we just want to do is try

 18 and protect the documents that are actually privileged

 19 communications or work product communications from disclosure

 20 to the Committee.

 21              THE COURT:     All right; thank you, Mr. Kane.

 22              Let me hear next from NexPoint Real Estate Financial.

 23                        (No audible response heard)

 24              THE COURT:     All right.            I can’t hear you.   Is this

 25 Ms. Drawhorn who will be addressing this one?




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  1              MS. DRAWHORN:       Can you hear me -- can you --

  2              THE COURT:     Yes.

  3              MS. DRAWHORN:       Can you hear me now?

  4              THE COURT:     I can.

  5              MS. DRAWHORN:       Okay.        I had to unmute both my phone

  6 and the -- and the computer, okay.

  7              Lauren Drawhorn on behalf of NexPoint Real Estate

  8 Finance and the 15 related entities and -- that are listed on

  9 Docket 847, I won’t go through them all.

 10              So our -- one of the -- we’ve got a couple issues

 11 with the motion to compel relative to our shared services

 12 agreement with the debtor, and largely because of the breadth

 13 of the request wanting ESI from all nine of these custodians.

 14 And we have concerns that because there are no limits on that

 15 request, that we’ve got our confidentiality and privilege

 16 issues that are concerned about.

 17              The real estate entities are -- NexPoint Real

 18 Estate entities are typically traded, and there are some

 19 regulatory constraints that we have on the dissemination of

 20 information and it being public.                  And so obviously we need to

 21 protect those interests and try and prohibit the disclosure of

 22 information.

 23              While there -- while the NexPoint Real Estate

 24 entities do -- did have a shared services agreement, it is the

 25 businesses unrelated to and separate from Highland, except for




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  1 the occasional times when they co-invested.

  2              So generally speaking, they were separate businesses.

  3 Any use of services from Highland employees under the shared

  4 services would be for separate deals.                      And so because they’re

  5 separate, we believe that it’s unlikely that they would be

  6 relevant to the estate claims.

  7              In other words, the request should be narrowed to

  8 limit the amount of information that’s not related to the

  9 Committee’s estate claims, (indiscernible) related to NexPoint

 10 Real Estate entities’ deals and confidential information and

 11 business information.

 12              The other issue we have in connection with

 13 confidentiality is in connection with NexPoint Real Estate’s

 14 entities business operations.               They continue to receive

 15 information electronically from third parties that have been

 16 the subject -- that information was provided subject to

 17 confidentiality agreements there.                   So under those agreements

 18 with other parties, there are requirements and obligations for

 19 NexPoint Real Estate entities to notify those parties and

 20 provide them an opportunity to object.

 21              So we are wanting the additional protections and

 22 limits on the discovery to protect this confidential

 23 information and our obligations to other parties, and to

 24 regulatory entities.

 25              We also have concerns on the privilege -- any




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  1 privilege information, again, since these custodians were

  2 counsel, and provided -- occasionally provided legal advice in

  3 connection with NexPoint Real Estate entities’ deals that,

  4 again, were unrelated to Highland and separate from the debtor.

  5 That information will be -- would be privileged and

  6 (indiscernible) NexPoint Real Estate entities’ privilege

  7 (indiscernible) position you just heard, and the Committee’s

  8 response is that that was waived or part of this joint client,

  9 and we disagree with that.             Where the legal advice was given on

 10 a separate matter, there would be no joint privilege between

 11 the NexPoint Real Estate entities and the debtor.                         We think

 12 that that privilege should be protected, and the privileged

 13 documents should be withheld from the production.

 14              The Committee responded by their -- that we -- that

 15 NexPoint Real Estate entities are not burden.                         We did argue in

 16 our objection that this request, under 26(b) (indiscernible)

 17 because it was also an undue burden because it’s so broad -- so

 18 broad.    And that burden (indiscernible), as you know, isn’t

 19 required to be the physical burden of us going through and

 20 producing documents.        An undue burden encompasses the invasion

 21 of confidential information and privilege concerns.                         So we

 22 think that there is a good basis to limit the information that

 23 is being produced to protect NexPoint Real Estate entities’

 24 confidential information and business information.

 25              So what we’re requesting we suggested in our




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  1 objection was to allow NexPoint -- the NexPoint Real Estate

  2 entities to have input on the search terms that would narrow

  3 the production and potentially exclude the NexPoint Real Estate

  4 entities’ confidential information, information that would be

  5 unrelated to the Committee’s estate claims.

  6              We also requested that NexPoint be given an

  7 opportunity to review the documents -- the NexPoint documents

  8 before produced -- and this is similar to what is my

  9 understanding the debtor would -- for all of the -- the

 10 previous production that was provided.                       So it is my

 11 understanding that before the debtor produced any document that

 12 instituted the shared services agreement, confidentiality

 13 privileges, they contacted that party and said "Here’s this

 14 document that we’re going to produce, are you okay with it?

 15 Are you okay with it, is there any objection?"

 16              And so that’s all we’re requesting is an opportunity

 17 that the NexPoint documents that -- that are potentially giving

 18 -- to make sure that they’re designated correctly under the

 19 protective order, so as highly confidential versus

 20 confidential, again, because of those confidentiality concerns

 21 that I mentioned earlier.            And then also to confirm the

 22 privilege designation and to make sure anything privileged is

 23 not being produced.

 24              And then the last request we have is just to make

 25 NexPoint a party to the protective order so that we are able to




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  1 obtain those protections as the highly confidential and

  2 confidential designations.

  3              THE COURT:     All right; thank you, Ms. Drawhorn.

  4              All right, let’s see.              How about we hear from Atlas

  5 IDF GP next.

  6              MR. KEIFFER:      Thank you, Your Honor.                 Paul Keiffer

  7 for the Atlas IDF entities and parties located at -- or I

  8 should say named at Docket Number 837, I won’t burden the

  9 Court, as others have not done, as well, with the full list of

 10 parties.

 11              And also taking in mind -- or keeping in mind what

 12 the Committee has done as far as discussing issues, I want to -

 13 - I have just a few points:

 14              First off is that my clients don’t have a specific

 15 concern with the ESI request.               The shared privileges and the

 16 joint privilege is supposed to hold, we want that to hold as it

 17 has been requested for everybody else, and I think that was the

 18 intent of the Committee in regard to that point.

 19              It’s also, as the Committee indicated, between the

 20 debtor and the -- I’m sorry -- between the Committee and the

 21 Rand Advisors’ related entities that they want to be expressly

 22 involved or brought into the agreed protective order.                        Lots of

 23 documents are being requested, not so much through the

 24 electronic -- the ESI, but through the fourth production of

 25 documents request that we got that -- which we received on the




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  1 9th of July that gave us six days to respond to, and that’s why

  2 we started talking and having discussions with the Committee

  3 about this.

  4              But there -- there there’s all these document

  5 requests, and we have our own fiduciary duties, we -- either

  6 contractually, statutorily, or regulatorily.                          And as the

  7 Committee noted, they’d be perfectly fine with having us being

  8 brought into (indiscernible) -- whatever you want to call the

  9 right under the coverage of agreed protective order.                          We’re not

 10 expressly under it because we’re -- we’re not a specific party

 11 to it, but we need to be -- we feel it’s the most appropriate

 12 for us, too, in this context, and they’ve acknowledged that

 13 it’s a reasonable step to be added to the agreed protective

 14 order, so we’re happy with that.

 15              As far as the documents being produced, the only --

 16 the principal attached -- the principal issue for Rand Advisors

 17 there is that it’s principally its email server issue.                          Rand

 18 Advisors, and the others, have their on documents on its own

 19 servers, as best as I understand.                   And so it’s really more

 20 documents that would be appended to emails and discussions

 21 between the parties, either in the context of                          (indiscernible)

 22 some of the nine individuals that are custodians, that they’re

 23 described as custodians or otherwise.

 24              But the UCC has agreed to let whatever documents are

 25 produced in that context, both through the ESI and through the




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  1 request for production that’s outlined there, that we’re having

  2 to respond to under the shared services agreement with the

  3 debtor.     But those would also be subject to highly confidential

  4 status, subject to the Committee seeking to downgrade to

  5 confidential, or not confidential at all.

  6              Now the other issue is the attorney-client privilege

  7 where Rand Advisors and the others were generally using

  8 RandAdvisors.com suffix, would have negotiations and

  9 discussions with its own private counsels.                            And the question

 10 here, we don’t -- I’m not sure whether or not the shared -- I

 11 mean the servers are or are not sufficiently silo’d or

 12 otherwise.

 13              But we really don’t have that hard of an issue here -

 14 - that difficult of an issue here as we only -- there’s only

 15 three defined suffixes that are out there that would be of

 16 concern to the Rand Advisor entities, and those are suffixes

 17 such as romclaw.com, our law firm, we didn’t realize that that

 18 was the case.      Also, there would be maybe Sadis -- Sadis or --

 19 another law firm, maybe three or five suffixes we need to have

 20 set aside for attorney-client privilege review.                            And if we have

 21 those, I think that the Rand Advisor group has gotten what they

 22 -- what they think is reasonably appropriate under the

 23 circumstances.

 24              And we’re not asking the Court to, you know -- well,

 25 we don’t see this as truly a request for production, it’s kind




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  1 of a hybrid kind of a (indiscernible).                       But under the shared

  2 services and the final term sheet, and that allows access, lets

  3 the Committee be the debtor and get to many things, but yet

  4 they use request for productions as a methodology to say what

  5 they’re looking for, but they’re not really requests for

  6 production, per se, because it’s -- I’ve already got it now,

  7 this is (indiscernible) debtor, it’s what we can look at.

  8              And so we’re wanting to make sure that we have under

  9 our side of this relationship under the shared service

 10 agreement some modicum of protection for its specific attorney-

 11 client issues that it has.             We recognize the joint privilege

 12 issue, that’s going to (indiscernible).                        But there are three to

 13 five very simple suffixes as we can give to the Committee for

 14 doing its search (indiscernible) romclaw.com, that’s my law

 15 firm, it would know not to go -- you know, set those aside.

 16 There’s one or two other law firms that they deal with

 17 specifically, and if they go through the next step, and it

 18 turns out that there’s three or four other people on the email

 19 that aren’t part of Rand Advisor that’s something with the

 20 debtor or some third party altogether, then sure, there’s no

 21 privilege there.

 22              But if it’s the discussions between Rand Advisor

 23 entities and its counsels specifically, then it should be

 24 something that’s set aside and reviewed in a different manner.

 25 And I don’t think it’s really even close to burdensome in the




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  1 context of how much is going on in this case, and how many

  2 documents are going to be reviewed.

  3              That’s principally our concern.                          We are -- that’s

  4 another suggested solution to deal with the two elements that

  5 we raised in our response on Pages 6 and 8 to a likely

  6 solution, which is to basically deal with attorney-client

  7 privileges, subpart C, is just to have these exclusion --

  8 exclusionary suffixes to address that, very simple.

  9              The rest of this, as far as having a log to keep

 10 produced items in its context, to be able to (indiscernible)

 11 what documents were produced, well, that’s probably a bridge

 12 too far.     We don’t need to have that, we don’t think that’s

 13 (indiscernible) concern for us.

 14              So keeping up with the few things, the agreed

 15 protective order being made expressly applicable to us so that

 16 for our purposes, when we have to deal with issues of

 17 confidentiality regarding our clients contractually,

 18 statutorily, or regulatorily, that’s the (indiscernible) I

 19 think there’s always a legal process (indiscernible).

 20              Two, that everything gets a highly confidential

 21 status initially, and subject to being downgraded, obviously

 22 with notice and opportunity to object.

 23              And then lastly, just that the three suffixes be

 24 added to the review standard so that -- three to five suffixes,

 25 and I’ll have those easily enough in the next few days to give




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  1 to the Committee to allow me to preserve its attorney-client

  2 privilege without having to go into the issue of whether or not

  3 this is a means by which Rule 34, or the other appropriate

  4 discovery rules, are really being invoked or not in this

  5 context, or whether this is just "I’m standing in the debtor’s

  6 shoes, and I should be able to do these things."                        It’s --

  7 that’s an odd -- we can bypass that oddity by dealing with

  8 those requested suffixes being set aside.

  9              THE COURT:     Okay; thank you.

 10              All right, let’s hear from CCS, please.

 11              MS. STRATFORD:        Good afternoon, Your Honor.               This is

 12 Tracy Stratford from Jones Day on behalf of CCS Medical.

 13              THE COURT:     Okay.

 14              MS. STRATFORD:        Our concern is relatively narrow and

 15 unique.     CCS is one of the country’s leading providers of home

 16 delivery medical services.             And so they deliver things like

 17 insulin pumps and orthotics to people in their homes.

 18              Two of Highland’s employees, Mr. Parker and Mr.

 19 Dondero, were directors of CCS Medical.                        And so CCS Medical

 20 sent information to them, sensitive business information about

 21 the strategic direction of the business, about pricing, about

 22 what the business would be doing or wouldn’t be doing, about

 23 decision-making that would happen within CCS Medical.                        That

 24 sensitive information was sent to the director, including these

 25 two individuals who were employed by Highland at their Highland




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  1 email addresses.

  2              All we’re asking is for the ability to look through

  3 these emails first so that we can identify anything that is

  4 competitively sensitive, so that we can identify anything that

  5 is privileged, and talk to the Committee about it separately.

  6              We don’t know, frankly, what the claims are that the

  7 Committee is looking to press, so I can’t say that none of it

  8 is relevant, although it doesn’t seem to be particularly

  9 relevant to what’s being discussed today.

 10              But to the extent that some of those documents might

 11 be relevant, the non-privileged ones, but commercially

 12 sensitive ones, we want to have that discussion.                        We would like

 13 the ability to look at those documents first, and that would be

 14 at our cost, so there’s no cost to the estate.                        We don’t think

 15 it would take particularly long.

 16              And we would have offered the solution directly to

 17 the Committee, but they wouldn’t return our phone calls.                        So

 18 we’ve sent emails, we’ve called them, and heard nothing back.

 19 We would have loved to have negotiated this, but that didn’t

 20 happen.

 21              The only argument that the Committee makes in

 22 response to our suggestion, which were laid out pretty clearly

 23 in our very short objection, is that there’s a privilege waiver

 24 here, or a waiver of confidentiality because we sent this

 25 information to these two board members who were employed by




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  1 Highland.     (Inaudible) as a matter of law.                         And the very case

  2 that they cite in their papers explains that.

  3              If you take a look at the In Re Royce Homes case that

  4 they cite in their response to the objection, what they say is

  5 that once you send confidential information to another

  6 corporation, the privilege is automatically waived.                           That’s not

  7 the case.

  8              In fact, if you look at that case, it’s very lengthy

  9 because the Court looks at a number of factors.                           And amongst

 10 those factors is the expectation that the sender has that the

 11 recipient will be able to maintain the information as

 12 confidential or protected.

 13              Here we have two executives at Highland who were

 14 receiving information as members of the board of directors,

 15 they controlled the company, they had the ability to control

 16 who reviewed their email, and CCS Medical had every reason to

 17 believe that those two directors would preserve their duty of

 18 loyalty to the company and maintain their individual emails as

 19 confidential.      There’s no waiver under that circumstance.

 20              But to the extent that this issue is one that needs

 21 to be decided, it can’t be decided on these papers because none

 22 of those facts are before the Court.                     None of the factors that

 23 are discussed in the In Re Royce Homes case are -- have been

 24 briefed.

 25              And so to the extent that we’re going to discuss a




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  1 waiver, we would like the opportunity to do that.                        We don’t

  2 think the Court ever needs to reach this issue because we think

  3 that we can, in a very efficient and effective way, screen the

  4 emails by just having the vendor search for particular domains,

  5 review them ourselves, identify what’s privileged.                        And what’s

  6 not privileged, we can turn over.

  7              To the extent there’s any dispute later on, we can

  8 bring it before the Court at that time, but we think this is an

  9 easy problem to solve, Your Honor.

 10              THE COURT:     Thank you.

 11              MS. STRATFORD:        Thank you.

 12              THE COURT:     All right.

 13              Well, let’s see who I missed.                     Ms. Drawhorn, did you

 14 have a separate argument for MGM?

 15              MS. DRAWHORN:       Yes, Your Honor.

 16              THE COURT:     Okay, go ahead.

 17              MS. DRAWHORN:       I do.

 18              THE COURT:     All right.

 19              MS. DRAWHORN:       And so MGM is in a similar situation

 20 to the party you just heard.              And the only reason that MGM is

 21 being pulled into the discovery dispute is because Mr. Dondero

 22 served as a director on the -- on the board of directors for

 23 MGM.

 24              So we also believe -- and we have been in discussions

 25 with the Committee about potentially pulling out or excluding




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  1 certain MGM information just by providing a list of the emails,

  2 the dot-com of the other executives, or executive assistants,

  3 or other board of directors members who would be sending

  4 confidential information that was circulated just because --

  5 for purposes of the board of directors of MGM and for MGM

  6 business matters.

  7              So we -- we agree and -- or disagree with the

  8 Committee, and agree with the position you just heard.                     The

  9 Committee’s response to our -- to MGM’s objection is that we

 10 waived by sending confidential MGM information to Mr. Dondero’s

 11 account at Highland, that waived conference or privilege, and

 12 we disagree with that.         We -- we just heard that sending to an

 13 employer’s email account in and of itself is not sufficient to

 14 waive privilege or confidentiality.                    There are a multitude of

 15 factors that need to be considered, including the expectation

 16 of privacy in considering the fiduciary duties of board of

 17 directors under California law, which is where MGM operates.

 18 That that confidentiality is one of the fiduciary duties.

 19              We would expect that sending information to our

 20 directors would remain confidential.                     And just the mere fact

 21 that he utilized his -- Mr. Dondero utilized his Highland email

 22 account would not be sufficient to waive any confidentiality or

 23 any privilege.

 24              And then I -- I -- it is hard to believe that

 25 anything MGM-related would be extremely relevant to the




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  1 Committee’s claims, but regardless, I think there’s an easy way

  2 to pull that information and make sure that nothing is being

  3 disclosed, which would be by providing these specific email

  4 addresses of outside counsel to MGM’s board of directors.

  5 We’ve got, you know, two -- two counsels that would not have

  6 provided any services to the debtor, that we can say anything

  7 at those email addresses should get excluded from production.

  8              Same with the outside advisors to the MGM board, we

  9 can easily provide that email address and have that information

 10 excluded.

 11              And then as to the other confidential MGM

 12 information, we have a list of the executives and their

 13 assistants, we would have provided -- and other board members,

 14 we would have provided that.              I just think it should be fairly

 15 easy to give those email addresses and exclude them from the

 16 production, and make sure that that confidentiality and

 17 privilege is maintained and protected.

 18              THE COURT:     All right; thank you, Ms. Drawhorn.

 19              Okay, NexBank’s counsel, you were going to try to

 20 knock my socks off with a reason why I should hear your

 21 argument today when you didn’t file an objection.                     So, Counsel,

 22 now’s your chance.

 23              MR. SLADE:     I appreciate it, Your Honor; thank you

 24 very much.     Jared Slade of Alston & Bird for NexBank.

 25              NexBank advances the same arguments about concern of




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  1 counterparty confidential information, as well as attorney-

  2 client privilege concerns.             And to that end, it’s requested

  3 some preview time to be able to review the documents and

  4 provide the appropriate search terms.

  5              I think there are three things which will happen in

  6 the next 50 seconds that make us differently situated:

  7              The first is unlike the other objectors, our shared

  8 services agreement provides expressly that debtor shall take

  9 all options, legal or otherwise, that are necessary to prevent

 10 the disclosure of confidential information by the receiving

 11 party or any of its representatives.                     So we have a different

 12 legal basis that was addressed in part in the debtor’s motion

 13 originally on this issue.

 14              The reason we have that is because we’re a bank, and

 15 we have two other categories of information that are

 16 particularly sensitive and we’re concerned about being

 17 disclosed:

 18              The first are bank examination materials.                 Privilege

 19 is a part of those, and we are very concerned about an issue or

 20 problem with our regulators in connection with the fact that we

 21 have, in fact, taken appropriate steps to try to protect those

 22 and treat those as privileged and confidential information.

 23              The other category of information is consumer

 24 information.      We’re talking about things protected by

 25 (indiscernible) and other consumer information which are




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  1 protected in the statutes.

  2              Again, we’re willing to go through the effort and

  3 expense to be given an opportunity to be able to review that

  4 because (indiscernible) that any of that is going to be

  5 relevant to what the Creditors’ Committee is looking at, that

  6 we understand where we are.             And provided that we are able to

  7 do that, and are also afforded an opportunity by the Court to

  8 be a party to the protective orders so we can take advantage of

  9 the designations and not be prohibited from the (indiscernible)

 10 third party beneficiary provision, we should be able to meet

 11 our obligation.

 12              Thank you, Your Honor.

 13              THE COURT:     All right; thank you.

 14              All right, Ms. Montgomery, I’m going to turn back to

 15 you.    And let me make sure I understand entirely your position

 16 on all of these objectors.

 17              You have said -- correct me if I’m wrong -- the

 18 Committee has no problem with making all of these objectors

 19 subject to the protective order that was negotiated with the

 20 debtor way back when in January, or did I overspeak -- overstep

 21 on that one?

 22                        (No audible response heard)

 23              THE COURT:     Ms. Montgomery, I can’t hear you.

 24                        (No audible response heard)

 25              THE COURT:     Ms. Montgomery, you must be on mute.




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  1              Michael, is she still on there?

  2              ECRO:   (Inaudible).

  3              THE COURT:     Okay.       Ms. Montgomery, we’re showing

  4 you’re on mute.      There you are, okay.

  5              MS. MONTGOMERY:         Can you -- can you understand me

  6 now?

  7              THE COURT:     Yes.

  8              MS. MONTGOMERY:         Okay.        I don’t know what happened, I

  9 didn’t touch anything.

 10              THE COURT:     That’s okay.

 11              MS. MONTGOMERY:         Technology.

 12              No, Your Honor, you’re accurate -- that is accurate.

 13 We don’t have any problem with any of the objectors being made

 14 parties to the protective order for purposes of, you know, for

 15 their clients to be subject to the same -- the same

 16 protections.

 17              THE COURT:     All right.            And then my next thing I

 18 wanted to confirm is that protective order, is it already

 19 worded that it’s UCC professionals’ eyes only or no?

 20              MS. MONTGOMERY:         So the current -- the current

 21 protective order has two tiers.

 22              THE COURT:     Okay.

 23              MS. MONTGOMERY        And the highly confidential tier has

 24 a very -- a much more limited disclosure group, it includes the

 25 Court, it includes the outside professionals, so I guess it




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  1 would be also FTI, etc.

  2              And then, you know, other parties that would be, you

  3 know, fundamentally necessary for us to use those -- that data,

  4 like court reporters.        It does not include the members of the

  5 Committee.

  6              THE COURT:     All right, so you said it’s two tiers.

  7 You mean like there’s highly confidential, that’s professionals

  8 and those people you named only; and then there’s a second

  9 tier, confidential, then the Committee members, the actual

 10 businesspeople could see it?

 11              MS. MONTGOMERY:         That’s absolutely right, but the

 12 confidential data would still be subject to protection.                 So we

 13 think it’s a strong protective order, and should meet the needs

 14 of all of the objectors.

 15              THE COURT:     Okay.       Let me -- I’m giving you the last

 16 word.    You can respond in any way you want to all of these

 17 eight or so separate arguments, but I would like you to start

 18 first with CCS Medical and MGM.                 I think you acknowledged at

 19 the beginning they’re in a little bit different category, but

 20 now that you’ve heard their lawyers articulate how they are

 21 different, do you think that at least with these two, their

 22 ability to first review anything you produce, or the debtor is

 23 going to produce, relating to CCS Medical and MGM might be

 24 reasonable?

 25              MS. MONTGOMERY:         Yes, Your Honor.




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  1              I’d even go a step further.                   I mean we were working

  2 to negotiate with MGM, and my apologies to Ms. Stratford

  3 because I must have missed her communications, it was not

  4 intentional; we would have happily negotiated the same with

  5 regard to her.      That those documents might even just be

  6 excluded from the review subject to some specific, you know,

  7 protections so that we can make sure that things aren’t being

  8 overly included.

  9              So I think that the UCC would be open to a limited

 10 review.     The devil’s in the details with all ESI, Your Honor,

 11 so it would really just be determining to make that as targeted

 12 as possible so it’s not -- you know, it’s not including

 13 documents that don’t have anything to do with the board’s

 14 service.

 15              THE COURT:     Okay.       It’s -- let me ponder what you

 16 just said.

 17              It would exclude anything not having to do with their

 18 board service, Dondero or Trey Parker’s board service.

 19              MS. MONTGOMERY:         Yes.       So we believe that because the

 20 debtor has separate relationships potentially with these other

 21 entities, we understand the concern with regard to the data

 22 that’s related to their role as a director.

 23              But, for example, if there is communications between

 24 Mr. Dondero and someone else at the debtor that just says like,

 25 you know, "MGM stock is trending up," I don’t know that that’s




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  1 necessarily related to his status as a director as I don’t know

  2 that it’s related to an estate claim.                      It’s perhaps a bad

  3 example, but the concept remains, Your Honor, we think that

  4 there has to be a way to slice that so that all the parties are

  5 getting the protection that they need for their confidential

  6 board communications without overly dipping into the data

  7 that’s otherwise in the debtor’s position.

  8              THE COURT:     All right.

  9              Well, let me -- let me go to Mr. Keiffer’s client.

 10 I’d like to hear your specific rebuttal to his idea that maybe

 11 you can come up with three or five categories, suffix as he

 12 called them, to just, at the outset, carve them out from the

 13 possibility of Committee review.

 14              MS. MONTGOMERY:         So I’m not entirely certain that I

 15 completely understood the proposal, Your Honor, and my

 16 apologies for that.       But I don’t know that Mr. Keiffer is

 17 suggesting that those categories be excluded from these nine

 18 custodians that are the subject to the motion to compel, or if

 19 he was requesting that there be some sort of exclusion that

 20 applies to data that’s otherwise produced related to his client

 21 by the debtor, so maybe it’s not in the nine custodians’ data.

 22              In any case, Your Honor, we’re open to discussions to

 23 try to resolve any of these objections.                        I don’t know that

 24 we’ve specifically discussed that with Mr. Keiffer, but we’re

 25 happy to do so.      If it’s limited in nature, and it’s not going




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  1 to unnecessarily slow down production, you know, we’re open to

  2 talking about it.

  3              THE COURT:     Okay.       Well, let me -- let me make sure I

  4 understand -- and I know this is subject to discussion with the

  5 debtor when we break, but the UCC’s proposed protocol here was

  6 -- let me go through a couple of mechanics.

  7              All the files of the nine custodians would be

  8 provided to this E discovery vendor to put in a repository.

  9 And then hopefully the debtor and the Creditors’ Committee

 10 would come up with a set of mutually agreeable privilege terms

 11 to hopefully identify what would -- you agree be attorney-

 12 client privilege or work product privilege so that the search

 13 terms don’t get to that privileged information.

 14              If you have disputes, you’re going to have a third

 15 party neutral, you’ve discussed, to resolve the disputes about

 16 those search terms.

 17              And then all documents, not including those agreed

 18 privilege terms, would get produced to the Committee, obviously

 19 subject to the earlier agreed upon protective order, and then

 20 the debtors contract attorneys would review the held back files

 21 to see if they’re really privileged, or not.                          And if not,

 22 they’d be produced.       And if they are, they would -- if they

 23 think they are, a privilege log would be produced, and then any

 24 disputes could be resolved by this neutral third party.

 25              I don’t know if that’s still your protocol on the




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  1 table, but that’s how I understood it to work from your papers.

  2              I guess what I’m getting at is -- I’m pondering Mr.

  3 Keiffer’s argument, and really a few others.                          I mean if this is

  4 what you’re still holding fast to, I mean there’s a lot of

  5 opportunities along the way to protect attorney-client

  6 privilege information of these affiliated entities, right?

  7 You’re going to first try to craft appropriate search terms so

  8 as not to get at privileged information.                         If you can’t get

  9 agreements on those, you’ll have the third party neutral weigh

 10 in.

 11              And then the documents that are turned up ultimately

 12 through the search, the debtor’s going to get a chance to

 13 review for privilege and hold back.

 14              I guess -- I guess the thought is the debtor’s only

 15 going to be looking towards its own privileged information,

 16 not necessarily NexPoint, or Highland, CLO Funding, and the

 17 others.

 18              So -- I mean if you could address -- first off, is

 19 that the protocol that’s still on the table?                          Did I correctly

 20 described the Creditors’ Committee’s proposed protocol?

 21              MS. MONTGOMERY:         Sorry.         Yes, Your Honor, that’s

 22 what’s set forth in our motion.                 We’ve been working with the

 23 debtors to try to make that more functional; we haven’t reached

 24 an agreement yet.       Perhaps we’ll be able to do that when we

 25 take a break in just a moment.




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  1              But, you know, we’ve been trying to figure out, Your

  2 Honor, if there are ways that we can further limit the

  3 production based on search terms in some way so that we can

  4 limit the privilege logging and review that has to occur.                  But

  5 like I said, that’s -- that’s outstanding at the moment, and I

  6 don’t know that the parties have an agreement or would be able

  7 to reach an agreement.         We’re hopeful, but I’m not entirely

  8 certain.

  9              But otherwise, yes, Your Honor, I think you’ve pretty

 10 well explained the protocol, with one exception, which is that

 11 the privilege review that was proposed, that review would be to

 12 determine whether or not the documents that were being produced

 13 -- that were, you know, presumptively privileged were related

 14 to estate claims.       And if they were related to estate claims,

 15 then those would be produced to the Committee under the terms

 16 of the final term sheet.

 17              If they are attorney-client privileged, and not

 18 related to estate claims, then those would be withheld and

 19 logged.

 20              THE COURT:     All right.

 21              Well, let’s go back to Mr. Keiffer’s suggestion.               I

 22 mean if he -- okay.       I was confused; I think Ms. Montgomery was

 23 confused, too.

 24              Mr. Keiffer, you had talked about these three or four

 25 suffixes, and one of them would be your law firm if -- I think




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  1 what I was understanding, communications that went between

  2 Atlas and your law firm; communications that went between Atlas

  3 and one or two other outside counsel.                      Is that encapsulating

  4 what you think could be crafted in here --

  5              MR. KEIFFER:      Yes, Your Honor.

  6              THE COURT:     -- and excluded?

  7              MR. KEIFFER:      Yes, Your Honor, that’s exactly what

  8 we’re talking about.

  9              The reason I used "suffixes" just as a term because

 10 after the act.      So it’s ROMCLAW.com is the suffix.                      And so if

 11 you look for that -- if that is the part of the search terms

 12 and, you know, you see that, and that means set aside, you see

 13 my law firm’s suffix on the email somewhere in that, then you

 14 know that that’s something you need to set aside, as well as

 15 another law firm that they had would be SGLawyers.com, those

 16 are the -- that’s what was referencing, it’s just an easy way.

 17              We don’t have a lot in our specific circumstance --

 18 and I think it was also some of the more attenuating parties

 19 that come in and -- complaining have been -- would be looking

 20 for something like that, so if they had a -- maybe that’s the

 21 same thing that they’re kind of looking for.                          But for us, it is

 22 very simple terms, it’s what the law firm email addresses are.

 23 And when they show up, that’s the search term that pushes them

 24 aside.

 25              THE COURT:     All right.




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  1              MR. KEIFFER:      Because that would okay, it’s probably

  2 something -- because before we even knew what was going on, we

  3 were working on putting that proof of claim together that we

  4 filed, we would have emails out there concerning circumstances

  5 between myself and my client.               And those would -- those

  6 ostensibly would be available under the -- under the -- if it

  7 were (indiscernible) litigated, and the Committee won that

  8 issue, those would be available.

  9              But we think the easier thing to do is just set them

 10 side, let’s not go down that road.

 11              The other -- we think there’s very few of those, and

 12 we’ll be happy to give them -- the suffixes in a few days.

 13 I’ll make sure Mr. Honis -- that my client representative gives

 14 me all of those.

 15              THE COURT:     All right.

 16              Well, Ms. Montgomery, again, I’m just looking through

 17 my notes of your early comments.                  I mean you had put Mr.

 18 Keiffer’s client in a little bit of a separate category, right?

 19 Saying it didn’t appear that Atlas or Rand entities -- they’re

 20 one in the same, right?          Or -- well, same group of clients or

 21 same group of entities:          Rand, Atlas --

 22              MR. KEIFFER:      They are, Your Honor, that’s all --

 23 they’re all in my group.

 24              THE COURT:     Okay.       So you had made the comment, Ms.

 25 Montgomery, that they did not appear to share legal counsel.




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  1              MS. MONTGOMERY:         I did.

  2              THE COURT:     In other words, the three in-house

  3 lawyers that are custodians, right?

  4              MS. MONTGOMERY:         That’s right, Your Honor.            And I

  5 think that our position would be because they don’t share legal

  6 counsel, if there were communications essentially from these

  7 three law -- like law firm email addresses that are in these

  8 nine custodial data, then those documents might not be

  9 privileged.

 10              If what Mr. Keiffer’s concerned about is

 11 communications not to these nine custodians that involve those

 12 three or four addresses where there isn’t sort of a debtor

 13 representative involved, then I think that’s a separate

 14 situation, and we’d be more than willing to reach an agreement

 15 regarding how those documents should be treated, whether it’s

 16 by review by Mr. Keiffer in logging or just exclusion from

 17 review.

 18              MR. KEIFFER:      Your Honor, may I ask for one quick

 19 clarification.      We still want to maintain that to the extent I

 20 don’t know for sure whether -- what extent legal services were

 21 or were not provided.

 22              And to the extent that their joint privileges waived,

 23 a way around those things, that’s the better way of doing it

 24 than to say that they’ve been waived and things.                      So let’s just

 25 let the joint client privilege point, which we previously




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  1 discussed, be the main means by which those go through.                         There

  2 might be (indiscernible) discussions with one of the nine folks

  3 that -- when Highland was involved in the transaction.                         There

  4 may be a common interest privilege, etc.                         I think it has to

  5 stay at that highly confidential level just because it’s

  6 (indiscernible) had it lowered in its tier -- I mean a tier --

  7 or possible references, whether it’s confidential, highly

  8 confidential, confidential or not confidential at all.

  9              THE COURT:     Okay.       I just --

 10              MR. KEIFFER:      That’s the only --

 11              THE COURT:     I just got very confused.                   I think we

 12 were discussing if -- if there are --

 13              MR. KEIFFER:      May I, Your Honor?

 14              THE COURT:     Yeah, I -- I -- well, if there are

 15 communications from folks at Highland to these three or so law

 16 firms that Atlas uses, then there could be an agreement those

 17 are cut out -- carved out.

 18              But if there is -- if there are communications from

 19 the six other custodians who are not lawyers to Rand entity --

 20 or -- or these law firms --

 21              MR. KEIFFER:      No, Your Honor --

 22              THE COURT:     I -- I --

 23              MR. KEIFFER:      Pardon me, Your Honor.                  The law firms

 24 aren’t really the issue here.               Only the issue with regard to

 25 seeking things through what is the shared server circumstance




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  1 in the email server.

  2              An example may be that when there’s an email that

  3 comes in from Isaac to my client saying "You’ve got some

  4 production requirements," and I’m on that email, I would

  5 initially show up on that email, but that wouldn’t be one that

  6 would be as part of a shared services type of potential legal

  7 discussions about current circumstances and telling me, "Oh, by

  8 the way, we’ve been requested for this information under a

  9 shared services agreement, you have X days to produce."

 10              If, on the other hand, it’s -- some years ago, back

 11 when things were happening, not current, but years ago when

 12 things were going on, that there was -- that there was an email

 13 between my client’s counsel and the debtor’s counsel, there

 14 would be the shared privilege or the joint privilege element

 15 that would keep it at a different level, even though there may

 16 be some other issues in regard to the shared services related

 17 to privilege.

 18              What we mentioned earlier -- and I think the

 19 Committee’s okay with this -- with the joint client privilege

 20 is not affected by the process.                 And so that -- the only thing

 21 that’s really, really out here that adds to the circumstance is

 22 where emails show the three to five dot-com addresses.                 That

 23 they get set aside to go through a different -- go through a

 24 process of review, you know, to see if they’re attorney client

 25 between myself and my client, or between previous counsels and




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  1 my clients, just as between them.

  2              THE COURT:     All right.

  3              MR. KEIFFER:      That’s all we’re really looking for in

  4 that.

  5              THE COURT:     Okay.

  6              Ms. Montgomery, again, I’m giving you the last word

  7 in rebuttal to any of this you want to say at this point.                           But

  8 I do hope you’ll address one more thing as part of that, and

  9 that is Mr. Dondero’s arguments about Acis.                           I just want to

 10 clarify I understand where you stand on that.

 11              MS. MONTGOMERY:         Yes, Your Honor.                 With regard to Mr.

 12 Dondero’s arguments regarding Acis, we have no qualms with the

 13 position that communications that are related to the Acis

 14 litigation should be treated as outside counsel or highly

 15 confidential -- at the highly confidential level, right?                           That

 16 makes sense, Your Honor, and we’re not trying to bypass

 17 discovery on behalf of any of the members of the Committee, or

 18 anything of that nature.

 19              Our concern with the objection was that’s not what’s

 20 being asked for.       If Mr. Dondero had asked that communications

 21 or documents that relate to the underlying litigation be not

 22 provided to the members of the Committee, and held at only the

 23 lawyers’ eyes only, we wouldn’t have had a problem with that.

 24              Instead, what he’s asking is that all documents not

 25 be shared with one of the members of the Committee, and we




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  1 think that’s overly broad.             And, frankly, I’m unclear as to why

  2 that would be necessary.

  3              THE COURT:     Okay; all right.                 Anything else you want

  4 to say?

  5              MS. MONTGOMERY:         Only to the extent that you have

  6 questions about any of the arguments that they made, Your

  7 Honor.    We don’t want to take up more of your time than

  8 necessary.

  9              THE COURT:     All right.            Well, I’m going to carve out

 10 three specific areas, and then I’ll just give you the more

 11 broad ruling.

 12              With regard to CCS Medical and MGM, I think they have

 13 shown themselves to be in a more unique -- a unique situation

 14 in contrast to the others since we certainly don’t have any

 15 issues of shared in-house lawyers, shared IT, and whatnot.                       We

 16 just have the board connection to Mr. Dondero and Trey Parker

 17 on CCS Medical, and with regard to Mr. Dondero and MGM.

 18              So I do think these objectors should have the

 19 independent ability to review before disclosure to the

 20 Creditors’ Committee, at their own cost, any information

 21 pertaining to those two entities to make sure there’s not any

 22 privileged information they want to argue should be held back

 23 or commercially sensitive information.

 24              So, again, hopefully you all can amicably work out

 25 the wording of that, but that is the concept of the ruling of




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  1 the Court.

  2              Second, with regard to the Atlas/Rand parties, I

  3 think that they should be entitled to a separate review of any

  4 items that involve those dot-com law firm names to weigh in on

  5 whether those are privileged.

  6              And, of course, these are all subject to further

  7 Court review and litigation before the Court if people cannot

  8 agree on that.      I say that, or the third party neutral, I guess

  9 that would hopefully be the first step before any of this comes

 10 to the Court.

 11              So that is the special category as to Atlas/Rand.

 12              As far as the Dondero argument, I do like the

 13 suggestion, Ms. Montgomery, that you made that if there is any

 14 documentation relating to Acis litigation that is produced to

 15 the Committee, that it should be considered in that first

 16 category that it’s highly confidential, so it’s for

 17 professional eyes only; Mr. Terry or Acis businesspeople cannot

 18 see that.     But that it -- that’s just a special category of

 19 documents, any ESI that pertains to the Acis litigation,

 20 wherever that litigation is pending, this Court, Guernsey,

 21 State Court, wherever.

 22              So all other objections are overruled except --

 23 obviously I do think it’s important to do, Ms. Montgomery, what

 24 you said you would do, and make all of these objectors

 25 expressly parties who are subject to the original agreed




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  1 protective order.       Okay, so I think that gives them some level

  2 of protection.      But I have been strongly persuaded in

  3 everything I’ve heard today that there is a very strong chance

  4 with regard to most of these entities that share legal counsel

  5 with Highland, and share IT, and servers that we have had a

  6 waiver of privilege, we have common interest privilege, joint

  7 privilege, something of that regard to have impaired their

  8 privilege arguments.        So I’m just throwing that out there for

  9 the benefit of everyone as far as future disputes that there

 10 might be.

 11              All right, Ms. Montgomery, do you have any questions

 12 about that ruling?

 13              MS. MONTGOMERY:         (No audible response heard).

 14              THE COURT:     No?      All right.

 15              MS. MATSUMURA:        Your Honor, may I make one brief

 16 comment?     This is Rebecca Matsumura for Highland CLO Funding.

 17              THE COURT:     Yes.

 18              MS. MATSUMURA:        I just wanted to clarify, we didn’t

 19 make it as an explicit part of our deal with the Committee that

 20 we also be made party to the protective order.                        But we’d also

 21 ask for that relief, as well as, you know, such being given to

 22 all of the objectors.

 23              THE COURT:     Okay, the Court grants that request.

 24              All right, Ms. Montgomery, anything else?

 25              MS. MONTGOMERY:         (No audible response heard).




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  1              THE COURT:     Shall we break now to let the Committee

  2 counsel and debtor counsel talk about their remaining

  3 unresolved issues?       How long of a break, Ms. Montgomery, do you

  4 think you will need?

  5              MS. MONTGOMERY:         (No audible response heard).

  6              THE COURT:     Okay.       I think you’re on mute.

  7              MR. MORRIS:     Your Honor, this is John Morris from

  8 Pachulski on behalf of the debtor.

  9              THE COURT:     Oh, okay.

 10              MR. MORRIS:     I just -- yeah, I just need to put some

 11 -- a couple of bells and whistles, it will probably take me two

 12 minutes to finish-up an email from Ms. Montgomery.                     And then if

 13 we could just -- I would suggest give us until -- 45 -- until I

 14 guess 3:45 --

 15              THE COURT:     All right.

 16              MR. MORRIS:     -- local time.

 17              THE COURT:     All right.            Well --

 18              MR. MORRIS:     And then see -- hopefully we’ll know --

 19 at least narrow the issues, if not reached a complete

 20 agreement, by that time.

 21              THE COURT:     Okay.       I’ll come back at 3:45.

 22              UNIDENTIFIED ATTORNEY:               Thank you, Your Honor.

 23                 (Recess 3:23 p.m./Reconvene 3:46 p.m.)

 24              THE COURT:     All right.            This is Judge Jernigan again.

 25 I’m going back on the record in Highland Capital.                     Do we have




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  1 at least Mr. Morris and Ms. Montgomery available from their

  2 session?

  3              MS. MONTGOMERY:         Can you guys -- can you hear me,

  4 Your Honor?

  5              THE COURT:     I can hear you now; thank you.

  6              MS. MONTGOMERY:         Okay, I have no idea why it keeps

  7 muting, so my apologies for that.

  8              We just briefly met.             We need just a few more

  9 minutes, Your Honor, to run one issue past our client, but we

 10 do believe we’re going to have at least one matter outstanding

 11 for the Court to consider hopefully, but we’ve managed to

 12 resolve everything else.

 13              THE COURT:     Okay.       So do you literally mean one

 14 minute, or were you being general?                    Do we need five minutes

 15 or --

 16              MS. MONTGOMERY:         I think five would be sufficient,

 17 Your Honor.

 18              THE COURT:     All right.            Well, I’ll take another

 19 break.    I’ll be back in five minutes.

 20              MS. MONTGOMERY:         My apologies.

 21              THE COURT:     Okay; no problem.

 22                 (Recess 3:47 p.m./Reconvene 3:59 p.m.)

 23              THE COURT:     All right.            This is Judge Jernigan, we’re

 24 back on the record in Highland after a break.

 25              Mr. Morris, I see you there.                    And do we have positive




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  1 news to report?

  2              MR. MORRIS:     I think we do.                We haven’t completely

  3 resolved every single issue, there is still one remaining one

  4 that we’d like to present to the Court.

  5              THE COURT:     Okay.

  6              MR. MORRIS:     But we have otherwise, I think, reached

  7 an agreement with respect to all other matters.

  8              Ms. Montgomery, I don’t know if you want to share

  9 with the Court or -- I don’t even know if Your Honor wants us

 10 to present the agreement to her or we’ll just submit it in a

 11 proposed order later.

 12              THE COURT:     Well, if you could just hit the

 13 highlights so we have it on the record that we have an

 14 agreement, and the pertinent points.

 15              MR. MORRIS:     Okay.        So I’ll just -- I’m just reading

 16 from the email.

 17              The Requested ESI will be securely delivered to

 18 Meta-e.     Meta-e is a third-party service provider,

 19 (indiscernible) the Committee.                So the requested ESI for the

 20 nine custodians will be delivered to Meta-e.

 21              Number two, the debtor will proceed with the

 22 production of the 800,000 e-mails previously identified by use

 23 of agreed search terms, subject to the Court’s prior rulings

 24 with respect to the third party objections, and subject further

 25 to a privilege review using terms agreed by the parties, with




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  1 the resolution of any disputes on those privileged terms

  2 resolved on an expedited basis in accordance with the

  3 Committee’s proposal in their motion to compel.                       And that

  4 really is just longhand, I guess, for a special master.

  5              If and when the UCC wants to conduct further searches

  6 on the requested e-mails, it will give the debtor with three

  7 business days to consent to the search terms, with such consent

  8 not to be unreasonably withheld.                  In the absence of any

  9 objection, the e-mails will be produced subject to the Court’s

 10 rulings on the third-party objections, as well as privilege

 11 review previously described.              Search terms need not necessarily

 12 be tied to formal requests for production, and may be provided

 13 to the debtor on a rolling basis.

 14              If debtor does not consent to search terms, it must

 15 lodge an objection with the Committee.                       The parties shall

 16 confer in good faith and if no resolution is reached within two

 17 business days, the debtor may seek judicial review on an

 18 expedited basis.       It will be debtor's burden to establish that

 19 the search terms are not reasonably designed to identify data

 20 relevant to Estate Claims.             Initial caps because the "Estate

 21 Claims" is from the governance settlement back in January.

 22              All ESI containing search terms not subject to

 23 objection will be produced to the Committee pending

 24 determinations on those terms, if any, as to which there is

 25 disagreement.




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  1              Next, Your Honor, taking into account the speed with

  2 which the parties intend to proceed and the volume of

  3 documents, all ESI produced that is not subject to the

  4 privilege term search shall be produced on a "highly

  5 confidential" basis under the protective order, and the debtor

  6 shall respond within two business days to any designation

  7 challenge by the UCC.        Documents that have been reviewed for

  8 privilege will be categorized by debtor in the first instance

  9 as either highly confidential, confidential, or not subject to

 10 confidentiality.

 11              Next, all persons or entities who objected to the

 12 UCC's motion to compel or who are otherwise identified in the

 13 debtor's motion for a protective order shall be deemed to be

 14 parties to the court-ordered protective order that was entered

 15 in January.

 16              All documents from any custodian -- any of the non-

 17 custodians that are related to or otherwise concern the pending

 18 Acis litigation shall be marked "highly confidential" and not

 19 subject to privilege challenge.

 20              And finally, any disputes regarding the privilege

 21 review process will be resolved by the special master and both

 22 parties expressly reserve their rights thereto.

 23              So there’s one last issue --

 24              THE COURT:     Can I -- before we --

 25              MR. MORRIS:     Of course.




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  1              THE COURT:     -- go on and I forget, can we call this

  2 human being a third party neutral instead of a special master?

  3 And I’m -- I’m splitting hairs on that because there is a rule

  4 somewhere -- is it -- is it in 105 or is it a rule that says a

  5 bankruptcy judge can’t appoint a special master?

  6              MR. MORRIS:     I don’t know, but let’s just call him or

  7 her a third party neutral.

  8              THE COURT:     Yeah, I’m not crazy, isn’t that -- I

  9 think it’s in one of the 9000 rules.

 10              MR. MORRIS:     I’m sure you’re right.,

 11              THE COURT:     I’m not sure how different this third

 12 party neutral is in substance from a special master, but it

 13 will just make me feel better.

 14              MR. MORRIS:     Yeah, it’s just somebody who can --

 15              THE COURT:     If the Fifth Circuit ever looks at it --

 16              MR. MORRIS:     Yeah, it’s just somebody who can help us

 17 resolve either issues of creating these privilege terms or

 18 resolving any other disputes so that we don’t have to burden

 19 the Court with such issues.

 20              THE COURT:     Okay; very good.

 21              Well, let’s hear the unresolved issue then.

 22              MR. MORRIS:     Okay.        So the last issue, Your Honor, is

 23 as Your Honor knows -- Your Honor, I need to, if I may, just

 24 provide some perspective here because these issues are very,

 25 very important to the debtor.               I take personal responsibility




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  1 for all discovery matters in this case.                        I’ve had the support

  2 of the independent board, and of all of Highland’s employees

  3 who have worked very hard to get these documents in this case.

  4              We produced -- really we were substantially complete

  5 with all (indiscernible), and we did it with the following

  6 principles in mind:       We wanted to, of course, eliminate or at

  7 least limit any potential liability exposure to the debtor, and

  8 that’s what prompted us to make the motion to compel.                            And as

  9 Your Honor saw, there were eight separate objections brought by

 10 40 or 50 different parties, and it’s exactly for that reason

 11 that we were seeking the ability to do the review initially

 12 because we have -- you know, we may have wound up disagreeing

 13 with some third parties as to the scope of their obligations,

 14 but we knew there were obligations that existed and the board

 15 was very specific in instructing me to make sure that we

 16 (indiscernible) liability (indiscernible).                            So I’m really

 17 pleased that the objecting party stepped up, and that the Court

 18 issued its rulings.       But that was really one of our

 19 (indiscernible) principles.

 20              Another one is to make sure that we protect the

 21 privilege to non-estate claims.                 We negotiated very

 22 (indiscernible) term sheet with the Committee.                            We gave the

 23 Committee standing to pursue estate claims.                            We gave the

 24 Committee a shared privilege to all privileged communications

 25 of estate claims.




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  1              But what we did not do, what we did not agree to was

  2 to waive the privilege with respect to non-estate claims.                              So

  3 that’s the second principle that we’ve been trying to protect

  4 because the board and (indiscernible) we have an obligation to

  5 the estate and to the Committee, so we’re trying to protect the

  6 estate’s privilege for non-estate claims.

  7              And the third thing is just to make sure this process

  8 runs as efficiently as it could.                  You know, I don’t know that

  9 going from 800,000 emails to eight million is -- can be

 10 categorized as a success, but that’s what the Committee’s

 11 wanted to do, and the board has been very specific not to be

 12 obstructionist here, but just to be guided by the principles

 13 that I’ve articulated.         And that’s kind of how we got here.

 14              And so the last issue here, Your Honor, touches on

 15 the principles that I just described, and that is the nine

 16 custodians at issue, three of them are lawyers:                           Scott

 17 Ellington, Isaac Leventon, and Mr. Surgent.                           They’re all

 18 lawyers, they’re all licensed to practice law, they all give

 19 legal advice, they give legal advice to the board, they give

 20 legal advice on countless issues that are completely unrelated

 21 to estate claims for which the Committee does not have standing

 22 to pursue, and for which the Committee does not have a shared

 23 privilege.

 24              So the third issue, Your Honor, is just to say that

 25 for those three out of nine custodians, we actually do a real




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  1 privilege review on a document-by-document basis.

  2              Now I’ll just leave it at that, that’s what the issue

  3 is.    And the Committee, I think -- I’ll let them speak for

  4 itself.

  5              THE COURT:     Okay.       I -- I didn’t know there was any

  6 disagreement about debtor lawyers or debtor contract lawyers

  7 doing a privilege review.            I thought it was just a -- you know,

  8 the two-tier, first a relevance review and then a privilege

  9 review.

 10              MR. MORRIS:     It’s in our objection, Your Honor.

 11              THE COURT:     Pardon?

 12              MR. MORRIS:     We did raise it -- we did raise the

 13 issue in our objection.

 14              THE COURT:     Oh.

 15              MR. MORRIS:     This isn’t the first time I --

 16              THE COURT:     Well, no, no, no, no, I thought --

 17              MR. MORRIS:     Maybe I’m mistaken.

 18              THE COURT:     I thought it was already part of the

 19 UCC’s proposed protocol that there be a privilege review by

 20 debtor’s lawyers.

 21              MR. MORRIS:     That’s right, and that’s just using kind

 22 of garden variety search terms.                 What I’m saying is that when

 23 it comes to -- and that’s fine to take the six non-lawyers,

 24 that’s fine for Mr. Dondero, that’s fine, you know, for Mr.

 25 Waterhouse, and for the other non-lawyers.                            But for a lawyer,




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  1 Your Honor, I think -- I think -- I mean this is of such vital

  2 importance, and is -- almost everything they do is -- not

  3 everything; I overstated.            Sometimes they’re engaged in

  4 business advice.       But for the most part, they’re practicing

  5 lawyers.

  6              And I think we just need a heightened standard of

  7 protection for those individuals, and it’s just the three of

  8 the nine.     I mean it’s for three of the nine who are licensed

  9 lawyers, and we’re asking for a wholesale privilege review for

 10 those three people, not just searching to see if their email

 11 says they privilege or work product, you know, there are other

 12 search terms that may come up.

 13              THE COURT:     Okay.       Ms. Montgomery, elaborate on where

 14 the difference is on your proposed procedure versus the

 15 debtor’s, all right?

 16              MS. MONTGOMERY:         Yes, Your Honor.

 17              The proposal that is before the Court, you’re

 18 correct, does provide for a privilege review.                         We’ve never

 19 argued that there shouldn’t be a privilege review.                         We

 20 understand that the creditors stand only in the shoes of the

 21 debtor with regard to the estate claims, and not more broadly.

 22              The dispute really here, Your Honor, is on the nature

 23 of the search when it comes down to these three custodians that

 24 are attorneys.      And Mr. Morris is suggesting that all of the

 25 documents -- every document that has a custodial file, is in




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  1 their custodian file should be touched by the debtor so that

  2 they could look at it and determine whether or not it is

  3 privileged.      And if it is privileged, whether or not it’s

  4 related to an estate claim.

  5              And our position, Your Honor, is that that’s

  6 unnecessary, and that it’s going to cost a lot of money, and

  7 also slow down the review process.

  8              And the basis, Your Honor, for our position is that

  9 this sort of assumption stands on the ground that every

 10 document a lawyer touches can be -- you know, is automatically

 11 privileged.      And as a general rule, we all know that that’s not

 12 the case.     Not every document a lawyer touches is protectable.

 13 And that’s particularly true with regard to in-house counsel.

 14 Their roles by their nature involve providing both legal advice

 15 and business advice, and only the legal advice is protectable.

 16              Several courts have held that the presumption might -

 17 - regarding privilege that might exist for law firm counsel is

 18 not the same presumption that should be held with regard to in-

 19 house counsel.      In fact, the presumption should be that the

 20 advice is business advice, unless it’s establishing legal

 21 advice.

 22              And of the three custodians that the debtor

 23 discussed, two of them -- they’re all, in fact, licensed

 24 attorneys.     But one of them is not in the legal department, he

 25 is acting as the head of compliance.                     And as you know, the case




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  1 law on compliance is fairly well-settled that there isn’t a

  2 presumption of privilege with regard to the compliance issues.

  3              And so as a result, we think it’s most appropriate to

  4 use robust privilege terms.             You know, think of things like

  5 privilege, lawyer, attorney-client, work product, etc., and

  6 we’ve proposed a list of those terms to the debtor, and we’re

  7 willing to continue to work that out with this third party

  8 neutral.

  9              But we don’t believe that it’s appropriate for every

 10 single document that is related to these three custodians be

 11 reviewed for privilege purposes, that’s just excessive and

 12 expensive.

 13              MR. MORRIS:     Your Honor, if I may?

 14              THE COURT:     You may.

 15              MR. MORRIS:     I dare say that not ten percent of what

 16 I write has the word "privilege," "attorney-client," "work

 17 product" in my emails.         That is -- you will never be able to

 18 create a list that’s sufficient to protect a lawyer from

 19 producing privileged communications.

 20              There’s no dispute here that the Committee’s rights

 21 extend no further than estate claims.                      And I might feel

 22 differently here, Your Honor, and maybe there’s some wiggle

 23 room here, but they can create six terms that are actually

 24 designed to elicit information relating to estate claims,

 25 right?    And we’ve asked them to do that for many months.                       And




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  1 if they’re -- if I thought that they were actually looking for

  2 information that related to estate claims for which the debtor

  3 has agreed the Committee would share the privilege, my concerns

  4 would be much more modest in scope.

  5              But here, you have individuals who have been acting

  6 as lawyers for five years.             To expect them to write the word

  7 "lawyer," or "privilege," or "work product" in every email, or

  8 to suggest that if they haven’t done that, then it’s fair game.

  9 Even if you have no idea if it relates to an estate claim is

 10 just -- it’s just (indiscernible).                    It’s just -- it’s not

 11 right.

 12              They’re getting the emails of six custodians.

 13 They’re getting the emails using the search terms with the six

 14 custodians.      It is costly, it will slow it down for three of

 15 the nine people, but that’s because they haven’t given us --

 16 they haven’t given us search terms that are designed to elicit

 17 estate claims.      They’re just -- they’re asking for everything.

 18 And I’ve never ever seen anybody -- any court allow, you know,

 19 the unfettered access subject to only search terms that may or

 20 may not be sufficient.         I just -- we feel very, very strongly

 21 about this.      They’re getting six out of nine custodians, and

 22 we’re not even saying that they won’t get the lawyers in these

 23 three custodians’ emails.            We’ll give them whatever relates to

 24 estate claims.

 25              MS. MONTGOMERY:         Very briefly.               I think what Mr.




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  1 Morris has raised is dealt with by virtue of the agreement that

  2 we just told you about, which is that we’re going to be using

  3 search terms that are aimed at identifying estate claims.                              And

  4 that the review and the production process to us would be only

  5 of the documents that contained that search term, and the

  6 privilege would be for the subset of documents that contain

  7 that search term and also contain a privilege term.

  8              And it’s not limited to just privilege, Your Honor.

  9 There are things in there like "lawsuit," or "litigation," or

 10 "claim," or -- and we’re open to continue to discuss those.

 11              Like I said, we only object to a wholesale review of

 12 every document, we don’t really think that that’s necessary.

 13              MR. MORRIS:     We’re -- we’re -- and I just want to

 14 clarify, we’re not talking about reviewing every document.

 15 We’re only talking about the documents that would come up using

 16 whatever search terms the Committee devises.

 17              So by our count, there’s between one point five and

 18 two million emails from the three lawyers.                            We’re not

 19 suggesting that we would look at every one of them, there would

 20 be no need to do that.

 21              But what we would do is review the emails that are

 22 the subject of search terms to make sure there (indiscernible).

 23              THE COURT:     Okay.       Let me -- at the risk of repeating

 24 myself -- go through the explicit protocol the UCC had in its

 25 pleading:




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  1              Number one, all files of the nine custodians,

  2 including those three lawyers, would be provided over to the E-

  3 discovery vendor to put in a repository.

  4              Then you come up with this robust list of privilege

  5 terms to ferret out what might be privileged.                         You try to agree

  6 on that robust set of privilege terms.                       If you can’t, you get

  7 the third party neutral to work out your disagreement,

  8 hopefully.

  9              So you get that resolved, and the search protocol is

 10 executed, and all documents, not including one of those

 11 robustly created privilege terms, get produced to the Committee

 12 subject to that agreed protective order from January, 2020

 13 where there’s carve out and, you know, ability to pull back,

 14 right, if there’s inadvertent production of privilege, right?

 15 That’s an essential term, right?                  If something accidentally

 16 gets produced that shouldn’t, then there’s always a mechanism

 17 to pull it back.

 18              And then the debtor’s contract attorneys would review

 19 all of the held back documents, the documents held back, you

 20 know, because the privilege terms were triggered, and they were

 21 held back, to determine if they are really privileged.                         If not,

 22 then they get produced.

 23              But if you decide they are, in fact, privilege, then

 24 you create a privilege log, and that gets shared with the

 25 Committee.     And if there are disputes about that, then you go




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  1 to the third party neutral to resolve those.

  2              Okay, is there anything I misstated about what the

  3 Committee has proposed?

  4                        (No audible response heard)

  5              THE COURT:     Is there anything I’ve misstated?                 Ms.

  6 Montgomery’s shaking her head no.

  7              MS. MONTGOMERY:         No, Your Honor, I don’t believe so.

  8              MR. MORRIS:     So --

  9              THE COURT:     So I really am -- if that’s the case, I’m

 10 not getting, Mr. Morris, why --

 11              MR. MORRIS:     Let me try one more time, because --

 12              THE COURT:     You’re going to get your chance to review

 13 stuff that’s --

 14              MR. MORRIS:     No, but -- but we’re not, and here’s --

 15 here’s the gap in what you have just described.                       Everything you

 16 have just described is perfectly fine for the six non-lawyers.

 17              Our concern is if you don’t have -- if -- there’s no

 18 question that the lawyers have engaged in the provision of

 19 legal services, there’s no question that the provision of legal

 20 services extended beyond estate claims.

 21              And the concern is no matter how hard you devise

 22 search terms, and this is just a matter of practice in my

 23 experience, you’re always going to get documents that don’t get

 24 captured by the search terms.

 25              And so what you’ve described works very well if the




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  1 document -- if the search terms actually work.

  2              What our concern is for lawyers only, that that’s not

  3 sufficient.      That we will lose too many documents that will not

  4 be captured using the search terms for which, you know,

  5 clawback -- clawback issues are just -- we’re talking about

  6 millions of documents that are going to be reviewed and

  7 produced.     Under these circumstances, more than any other, Your

  8 Honor, these lawyers privileged communications that do not

  9 relate to estate claims should be subject to protection.                        They

 10 should be subject to more protection than non-lawyers are

 11 getting.

 12              THE COURT:     The clawback --

 13              MR. MORRIS:     And given --

 14              THE COURT:     The clawback isn’t enough.                  The clawback

 15 isn’t enough.

 16              MR. MORRIS:     It’s not enough.                  You can’t unring the

 17 bell, Your Honor.

 18              And given the massive amount of information that the

 19 Committee is seeking that we are willing to provide, frankly, I

 20 don’t think it’s unreasonable to say, yeah, no, we’re going to

 21 treat lawyers like lawyers.

 22              THE COURT:     So balance is you think, you know, those

 23 lawyer eyes that can’t unsee what they see, okay, if they get

 24 it, yeah, you can claw it back, but they can’t unsee it.                        And

 25 so somehow, it’s going to, you know, be harmful.




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  1              But the flip side of that is -- well --

  2              MR. MORRIS:     I did try to create a little more --

  3              THE COURT:     A great delay and expense, right, for you

  4 all to first go through the gazillion documents, and then, you

  5 know, there’s a privilege log that might be --

  6              MR. MORRIS:     I --

  7              THE COURT:     -- much larger than --

  8              MR. MORRIS:     I did --

  9              THE COURT:     Go ahead.

 10              MR. MORRIS:     I did try to create a little space for

 11 Your Honor, a little comfort zone, and that is that the

 12 Committee actually use search terms that was designed to get

 13 communications related to estate claims, right?                         Because these

 14 lawyers have countless emails, for example, relating to the

 15 board’s deliberations on settlement with UBS, or with the

 16 Redeemer Committee, or with Acis, these things have been going

 17 on for months.      That shouldn’t be subject to clawback, they

 18 should never be produced.

 19              And so if there’s -- you know, if the Committee were

 20 to devise actual search terms that were intended to get estate

 21 claim information, like I said before, that may make more --

 22 that might provide a little bit more comfort.                         But to allow

 23 them to just use, you know, regular search terms on those

 24 emails when you have non-estate claim information, and they

 25 have -- I’m telling Your Honor, just countless emails over the




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  1 last six months with the board, responding to board inquiries,

  2 responding to claims dispute resolutions, responding to all

  3 kinds of things.

  4              You know, at a minimum, I would want -- I would want

  5 it to stop as of the petition date.                    But I think -- but I think

  6 even beyond that, they’re lawyers, they’re licensed

  7 practitioners who are rendering legal advice, and they’re doing

  8 so in the kind of context that have nothing to do with estate

  9 claims.     And you have six other custodians, six, with whom the

 10 Committee’s proposal is completely acceptable.

 11              THE COURT:     Well, this is a hard one.                 This is a very

 12 hard one, Ms. Montgomery.            What -- I mean what do you have to

 13 offer me other than delay/expense?                    And that’s -- you know,

 14 those are not small considerations, but that’s really what it

 15 boils down to, right?

 16              MS. MONTGOMERY:         Well, there’s delay, there’s

 17 expense, and then there’s the protections that are already put

 18 forth in the protective order, Your Honor, which we think are,

 19 as we’ve said already today, robust.

 20              We understand their concern with regard to clawback.

 21 They have an attorneys’ eyes only highly confidential

 22 designation that they can use, and that will be used under the

 23 agreement we’ve reached with regard to any document that they

 24 haven’t looked at.       So those will only be going to outside

 25 counsel and the Committee’s professionals.




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  1              And I just don’t know -- you know, I think the

  2 protections are there, and that the cost, you know, when

  3 balanced against what we’re really asking them to do and the

  4 protections that are in place for them, just -- they don’t --

  5 they don’t balance out, Your Honor.

  6              MR. MORRIS:     Your Honor, with all due respect, it’s a

  7 little -- it’s a little difficult for me to listen to cost

  8 being a concern when you have a Committee who’s asked for the

  9 emails of nine custodians over a five-year period.                    Actually

 10 they’ve asked for ESI, the eight million number is just emails.

 11 So it’s not -- it’s emails and attachments.

 12              So the notion that cost is now an impediment while

 13 we’ve gone from 800,000 emails to eight million doesn’t

 14 (indiscernible) with me.

 15              THE COURT:     All right.            Well, again, I don’t find

 16 this to be at all easy.          But I am going to sustain the debtor’s

 17 objection on this, if that’s the right way to say it.                    I’m

 18 going to accept the position, and order that these three

 19 custodians, Scott Ellington, Isaac Leventon, and Tom Surgent,

 20 that before any production, those three individuals’ files can

 21 go through, will go through separate review by the debtor.                      So

 22 they’re carved out of the rest of these protocols, and

 23 presumably as promptly as possible, there will be rolling

 24 production.      Debtor will produce non-privileged files and will

 25 create a privilege log.




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  1              And if there are disputes about that privilege log,

  2 either the third party neutral will work them out or I guess

  3 I’m the ultimate arbiter, if need be.                      I don’t know exactly how

  4 you have those mechanics.            Maybe you don’t have the judge

  5 involved; I don’t know.

  6              Why don’t you tell me so I can know whether to be

  7 expecting a request to weigh in.                  Do you have it set up where

  8 the third party neutral’s the final say on things like whether

  9 something belongs on a privilege log or if it’s really

 10 privileged?

 11              MR. MORRIS:     I don’t think we’ve addressed that, Your

 12 Honor.

 13              THE COURT:     Okay.

 14              MR. MORRIS:     But I’m sure we can --

 15              MS. MONTGOMERY:         I think it may be already be covered

 16 in the protective order, Your Honor; I’m just checking to see.

 17              THE COURT:     Okay.       And I just want to say that I

 18 understand very well from my months working on the Acis

 19 bankruptcy that these in-house lawyers -- I’m inclined to say

 20 they wear many hats.        I don’t know if that’s the right way -- I

 21 had Mr. Ellington on the witness stand once; I had Mr. Leventon

 22 on the witness stand many times.                  And I will tell you the

 23 Court’s impression is that they are both businesspeople, as

 24 well as lawyers.       And I never had Surgent, the compliance

 25 fellow, in here.




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  1              But I’m just letting you know I hope there aren’t,

  2 you know, umpteen disputes about things held back as privilege.

  3 The way I view it, there may be things that are privileged, and

  4 things that absolutely were not -- are not.                            I know we’ve got

  5 privilege related to estate causes of action versus attorney-

  6 client privilege or work product that doesn’t relate to causes

  7 of action.     And I’m already bracing myself for how hard is that

  8 going to be to ferret out is it related to an estate cause of

  9 action or not.

 10              I’m really -- while I feel good that we’ve worked out

 11 a lot today, I am really bracing myself because I don’t think

 12 this is the last discovery dispute I’m going to see.                            I just

 13 don’t.    We have a lot of things that kind of sound good when

 14 you say them fast, but just -- you know my view.                            Well, you

 15 know my views.      I’ve seen two of these in-house lawyers on the

 16 witness stand before.        And, again, part businessperson, part

 17 lawyer, and I know what the case law says.                            If it’s really a

 18 communication that is about rendering legal advice, that’s one

 19 thing.

 20              But if it has nothing to do with that, or little to

 21 do with that, it’s mainly in their role as a business

 22 consultant, or other capacities, there might not be a

 23 privilege.

 24              MR. PATEL:     Your Honor, this is --

 25              THE COURT:     Go ahead.




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  1              MS. PATEL:     Your Honor, this is Rakhee Patel.                   If I

  2 can briefly be heard on a point of clarification on the

  3 agreement.

  4              THE COURT:     Well, okay, what are you talking about on

  5 the agreement?

  6              MS. PATEL:     Well, Your Honor, what I heard as part of

  7 the agreement reached between the Committee and the debtor is

  8 that all Acis information will be designated as highly

  9 confidential determination, and certainly --

 10              THE COURT:     Okay.       Acis litigation.              If it’s related

 11 to Acis litigation.       If they misspoke, that’s what I ordered

 12 earlier.     You didn’t misspeak, right?

 13              MR. MORRIS:     I don’t believe so, Your Honor.                   I think

 14 that’s --

 15              THE COURT:     Okay.

 16              MR. MORRIS:       That’s what was --

 17              THE COURT:     Okay.

 18              MR. MORRIS:     I think it was relating to or concerning

 19 the Acis litigation matters.

 20              THE COURT:     Is that --

 21              MS. PATEL:     Understood, Your Honor.                   Yeah, and I just

 22 wanted to clarify because what I heard, and apologies if I

 23 caught a bit of it, but is that Acis litigation will be

 24 designated as highly confidential, and that it is not subject

 25 to further review.       And I wrote that down because I wanted to




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  1 just, again, clarify what "not subject to further review"

  2 means.

  3              My concerns, Your Honor, are kind of twofold:

  4              Number one is that certain documentation, as Your

  5 Honor just referenced, and you’ll recall Mr. Ellington and Mr.

  6 Leventon testify during the Acis bankruptcy case that during

  7 the involuntary and then during the case in chief, were

  8 generally testifying as fact witnesses.                        And my concern is is

  9 that there are other things, for example, in Acis’s bankruptcy

 10 case, the original schedules were signed by Mr. Leventon.

 11              THE COURT:     Right.

 12              MS. PATEL:     Well, some of these are Acis’s documents

 13 or Acis’s information, and Acis is the holder of the privilege

 14 on those.

 15              So to say that they’re highly confidential and

 16 they’re privileged, that they’re -- it’s our privilege, I

 17 should be allowed to assert my own privilege with respect to

 18 those documents, and waive my own privilege -- my client’s

 19 privilege with respect to that even though --

 20              THE COURT:     Okay.       Can I cut this off?             I -- I --

 21 what I believe is the deal, someone correct me if I’m wrong, is

 22 that with regard to documents produced, ESI produced to the

 23 Committee, if it pertains to Acis litigation matters, okay,

 24 litigation between Acis and any Highland -- Highland or

 25 Highland affiliate or Highland insiders, that is going to be




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  1 designated as highly confidential, meaning only professionals

  2 for the Committee get to see it, not Committee

  3 members/businesspeople.          That’s the whole agreement with regard

  4 to Acis, right?

  5              MR. MORRIS:     Yes.

  6              MS. PATEL:     And that was going to be my only point,

  7 Your Honor, was that we can -- Acis is obviously going to be

  8 able to go get it if necessary.                 In other words, we -- this

  9 isn’t about prejudice to Acis’s rights to even get it because

 10 it is our privileged information anyway; or, number two, we can

 11 get it in the ordinary discovery process.

 12              Obviously we’ve got a claim objection that may go to

 13 trial, and we may need to seek these documents separately.

 14              THE COURT:     Right.        That -- this doesn’t mean -- this

 15 does not mean Acis never gets to see it.

 16              MS. PATEL:     Okay.

 17              THE COURT:     If Acis requests something in discovery

 18 with regard to the claim objection or other litigation, then

 19 that’s subject to a whole different agreement or order, right,

 20 Mr. Morris?

 21              MR. MORRIS:     Yes.       Yes, Your Honor.

 22              THE COURT:     Okay.

 23              MS. PATEL:     Thank you, Your Honor.

 24              THE COURT:     All right.            Well, I -- I kind of lost my

 25 train of thought, but I guess I’m trying to signal, for




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  1 whatever it’s worth, that if there are disputes down the road

  2 regarding files from these three individuals -- Ellington,

  3 Leventon, Surgent -- and the debtor is saying they’re

  4 privileged, you know, and not related to estate causes of

  5 action, and the Committee is disagreeing, be prepared to make

  6 your best argument.       Because I am expecting that some

  7 communications, even if they’re unrelated to estate causes of

  8 action, may very well be in the nature of business type

  9 communications because I’ve seen with my two eyes that they

 10 fulfill different roles in that organization.

 11              So I hope we don’t get bogged down because of my

 12 ruling on this today.

 13              The other thing I wanted you to kind of keep dangling

 14 in your mind is as I was reading the pleadings, preparing for

 15 this afternoon, I was very much fixated on -- we had this

 16 protocol and a compromise worked out with the Committee way

 17 back, at the end of last year, finalized in January and, you

 18 know, the agreement was that the Committee would have standing

 19 to pursue the estate causes of action, and would get privileged

 20 documents related -- you know, communications related to these

 21 estate causes of action.           And that was to avoid a Chapter 11

 22 trustee, which we all know under case law, Weintraub would

 23 inherit all privileges, all attorney-client privilege

 24 information.

 25              So I guess what I’m getting at is I thought -- I




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  1 thought we had an agreement last January, and that we were

  2 going to be smoothly going down this road of document

  3 production.      And here we are in mid-July, and we’re having this

  4 fight.    That doesn’t make me very happy because I was happy not

  5 to appoint a Chapter 11 trustee last January because I thought,

  6 okay, we have this major compromise with the Committee, they’re

  7 going to go forward, and evaluate estate causes of action,

  8 they’re going to get documents that are subject to attorney-

  9 client privilege.       And, you know, it just -- again, I said

 10 earlier I didn’t want to get into the he said and she said, but

 11 the facts speak for themselves that were in July, and just now

 12 finalizing this protocol.

 13              And I guess the one more thing I will say on that is

 14 I know I gave a 90-day deadline for the Committee to either

 15 bring causes of action against CLO Holdco -- and I forget the

 16 other entity -- or the money in the registry of the Court would

 17 be released.

 18              I didn’t know we still had so far to go with document

 19 production when I ruled that.               So if someone asks for an

 20 extension after today, I think I’d probably be inclined to give

 21 an extension.      Not a huge, huge, huge extension, but I was a

 22 little bit -- not appreciating where the Committee was with

 23 regard to getting documents when I said that that day.

 24              All right.     So I’ll be looking for your form of

 25 order, hopefully in the next day or two on this.




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  1              Is there anything further on this topic?                 Or shall we

  2 go to the Acis status conference?

  3              MR. MORRIS:     Your Honor, just a couple of things.

  4              THE COURT:     Yes?

  5              MR. MORRIS:     Number one, I do want to give the Court

  6 some comfort of knowing that while Mr. Surgent is the Chief

  7 Compliance Officer, he’s also the Deputy General Counsel at

  8 Highland, so he is -- he is (indiscernible).

  9              Number two, as you may have seen from our papers, the

 10 board considered three outside vendors to do the document

 11 review, and ultimately selected one, and we had prepared a

 12 stipulation.      The Court should expect to see, hopefully in the

 13 next day or two, a stipulation pursuant to which the debtor

 14 seeks its authority to retain a third party vendor named Robert

 15 Hass (phonetic) to assist with the document review.                   This has

 16 all been discussed with the Committee, the Committee has

 17 consented to the theory of the retention, but I would ask them

 18 to go back perhaps and look at the stipulation so we can get

 19 that signed up and get people to work as quickly as possible.

 20              THE COURT:     Okay, very good.

 21              Now what about the third party neutral, do you have

 22 that person identified?

 23              MR. MORRIS:     No, we haven’t talked about that.              I’m

 24 sure we can get that resolved as we’re discussing the form of

 25 order.




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  1              THE COURT:     Okay, very good.

  2              All right, well, if there’s nothing further, again,

  3 let’s roll to Acis.

  4              And I guess actually -- maybe we should briefly talk

  5 about mediation, where things stand, in case there are people

  6 on the call who don’t want to stick around for the Acis

  7 discussion.      I don’t know, maybe everyone wants to hear the

  8 whole hearing today.

  9              So let me just tell you where things stand:              We have

 10 -- my courtroom deputy reached out to you all late last week,

 11 and let you all know that both Sylvia Mayer from Houston, as

 12 well as retired Bankruptcy Judge Allan Gropper, are interested

 13 in being co-mediators on this, and that was subject to doing

 14 their conflicts review.

 15              And then the next thing after that, they were going

 16 to reach out to the lawyer contacts, and give their, quote,

 17 "initial disclosures."

 18              I emailed about 9:30 last night with Sylvia Mayer,

 19 and she was making sure she had all the right contact people.

 20 I gave her lawyers for the debtor, for the Committee, for Acis,

 21 for UBS, for Dondero, and the Redeemer Committee -- Crusader

 22 Redeemer Committee.

 23              Right now, it’s my view that that is the universe of

 24 parties to participate, although I can see the co-mediators

 25 rolling in more people.          Like someone suggested Mark Okada, and




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  1 -- I think probably it would be premature in the beginning, but

  2 maybe he’ll be rolled in.            You know, if the UBS proof of claim

  3 is resolved in mediation, and the Acis -- and/or the Acis proof

  4 of claim are resolved in mediation, and then -- you know, I

  5 think those are kind of the highest priorities here of the

  6 mediation, then certainly he might be brought in, but right

  7 now, I’m not going to order that.

  8              So about 9:30 last night, I sent Sylvia Mayer the

  9 lawyer people to email, the co-mediators’ disclosures.                          And she

 10 was going to be in a mediation all day today, but I would

 11 suspect probably tonight, if y’all haven’t gotten anything yet

 12 -- I haven’t looked at my email during this hearing, but I

 13 would suspect maybe tonight or tomorrow you’re probably going

 14 to get that communication from Sylvia Mayer with whatever their

 15 disclosures are for the parties to consider.                          And, you know,

 16 assuming everyone gets comfortable with that, then the

 17 administrative people at the triple A, the American Arbitration

 18 Association, we’re going to get going with, you know, the

 19 administrative side of this, and you all would talk about

 20 scheduling.

 21              So all this to say I hope here in the next few days

 22 there is an active effort to get things scheduled and get the

 23 dialogue going with those co-mediators.

 24              The only other thing I would add is I don’t

 25 necessarily anticipate that Sylvia Mayer would mediate the,




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  1 say, Acis proof of claim, and Judge Gropper would mediate, say,

  2 the UBS proof of claim.          I think -- I don’t think it

  3 necessarily breaks down that way.                   I think you would probably

  4 just have co-mediators doing the whole ball of wax here

  5 because, among other things, the plan treatment discussion is

  6 probably going to roll into proof of claim allowance

  7 discussions.

  8              So that is, I think, what this would shape up to be.

  9 That you would have co-mediators working on all of this.

 10              So any questions at this point?

 11                        (No audible response heard)

 12              THE COURT:     Again, I know -- if you haven’t gotten an

 13 email by the end of today, it’s surely going to be in the next

 14 day or two that you’ll get their email reaching out about their

 15 disclosures.      Okay?

 16              UNIDENTIFIED ATTORNEY:               Yes, Your Honor.

 17              MR. CLUBOK:     Your Honor --

 18              MS. MASCHERIN:        Your Honor, this is Terri Mascherin

 19 on behalf of the Redeemer Committee.

 20              Just a quick question:               Did I hear correctly that you

 21 have given the mediators our contact information?                     Because we

 22 have not been copied on the email -- the emails that have gone

 23 around.

 24              In fact, we haven’t been copied on any of the emails

 25 that have gone around about the mediation.




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  1              THE COURT:     Okay; thank you, Ms. Mascherin.

  2              Let me make sure you’re completely in the loop.                 So I

  3 did have my courtroom deputy reach out to debtor, Committee,

  4 Dondero, UBS, and Acis last week, their counsel, regarding the

  5 interest of both Sylvia Mayer and former Judge Gropper.

  6              And at the time she did that, I was thinking since

  7 the Redeemer Committee had an agreement with the debtor, you

  8 all have announced at the last hearing or two you had an

  9 agreement that perhaps you all would not be participating.

 10              And I actually did have some lawyers respond to my

 11 courtroom deputy that, no, we think they very much need to be

 12 involved.

 13              So that was just a missed step, I would say, on my

 14 part, not having that email go out to you originally.                 So I

 15 will make sure when we get out of this hearing that my

 16 courtroom deputy forwards to you the little bit of email

 17 traffic there was.       There were not a lot of emails, but maybe

 18 her email and three or four responses of other lawyers.

 19              So the co-mediators have been given your name.               If

 20 others, besides you, want to be on her contact list, you know,

 21 certainly Mr. Hankin or Mr. Platt, you can let her know when

 22 you get the initial -- her, Sylvia Mayer, know when you get the

 23 initial email from her.          But you’re on the list now, and I --

 24 again, it was just a mistaken belief on my part that maybe you

 25 wouldn’t be part of the mediation since your claim had been




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  1 agreed to with the debtor, so --

  2              MS. MASCHERIN:        Okay.        I appreciate it, and thank you

  3 for clarifying, Your Honor.

  4              THE COURT:     Okay; thank you.

  5              MR. CLUBOK:     Your Honor --

  6              THE COURT:     All right --

  7              MR. CLUBOK:     Your Honor, this is -- Your Honor, may I

  8 speak briefly?

  9              THE COURT:     Certainly.

 10              MR. CLUBOK:     Thank you, Your Honor.                   This is Andrew

 11 Clubok on behalf of UBS.

 12              And I apologize if you did not see the email that we

 13 sent to Ms. Ellison this morning.                   But we -- our position is we

 14 very much are fine with Crusader, or frankly any other major

 15 creditor, involving the overall mediation.

 16              But the issue of reaching an overall plan, the so

 17 call grand bargain that Mr. (indiscernible) talked about.                         What

 18 we don’t -- and we just want to be sure that no one takes it

 19 that you’re ordering this or thinks it’s appropriate, because

 20 in the first instance to have a productive discussion on our

 21 specific claim with the debtor, it’s not going to be helpful

 22 and productive -- in fact, it would be counterproductive -- to

 23 have other creditors in our class sitting in listening to that,

 24 weighing in.      You know, obviously their position will all be

 25 make it as low as possible.             It’s not helpful to have a whole




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  1 nother set of lawyers doing that, and I just want to make sure

  2 people don’t come away thinking that you’ve ordered -- I hope

  3 you have not ordered that, and if you have, I would like to

  4 speak to that.

  5              But just like we wouldn’t be sitting in -- we were

  6 not permitted to sit in when the debtor spoke with Crusader

  7 about setting their claim, we’re not -- we have not been part

  8 of the discussion with Acis and if the debtors have discussions

  9 -- with Acis.      The other parties, we were actually told before

 10 they would not be involved in (indiscernible) first instance.

 11              There is a time -- an appropriate time for a creditor

 12 to object, but we don’t even know what the settlement is with

 13 Redeemer.     Once we hear it, we may have an objection; hopefully

 14 not.    Hopefully it will be perfectly fine.

 15              And we understand that once we reach an agreement

 16 with the debtor, that’s subject to an objection process, and

 17 everyone is going to have a chance to weigh in.                       It’s just not,

 18 we think, going to be effective, and I set this out in an email

 19 that I sent earlier but -- just today.                       And so I just want to

 20 make sure that, you know, people aren’t taking from what you

 21 said that Crusader is just going to be able to sit in our

 22 (indiscernible), Acis does or does not (indiscernible)

 23 specifically their claim, etc.

 24              THE COURT:     All right.            Well, let me tell you how I

 25 usually do this, and how I expect to do it here.




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  1              Once everything is nailed down with the mediators,

  2 and I say that because they’re going to send you their

  3 disclosures, and hopefully everybody’s going to be fine with

  4 everything.      When I get the green light that, yes, we’re going

  5 to go forward, I have a standard form of mediation order.                  And

  6 it pretty much gives discretion to the mediators to run this

  7 the way they want to.        And, for example, if they want

  8 participants to submit a white paper, you know, no more than 25

  9 pages in length, or whatever, you know, the mediators can

 10 instruct that.

 11              And it has all of the usual bells and whistles about

 12 confidentiality that nobody can subpoena the mediators, or

 13 compel them to testify.          And I’m not going to talk to them

 14 about the substance.

 15              I just want a report, either things settled or not.

 16 People negotiated in good faith or not.

 17              And so I don’t think there will be any ambiguity

 18 about the rules of the road, it’s just what I think is a fairly

 19 normal mediation order.

 20              And, therefore, you know, I think the confidentiality

 21 that you’re concerned about will be built into that order, and

 22 will be kind of the usual -- what I think is the usual

 23 protocol.     That if you want the mediator to keep something

 24 confidential, and not share it with another party, then it’s --

 25 that’s the way it’s going to be.




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  1              MR. CLUBOK:     Okay.        I believe -- we certainly agree

  2 the mediators will different roles.                    We just -- I just -- and

  3 the mediator may have different sessions, different breakout

  4 sessions.     But we just believe that if our claim, or any

  5 creditor’s claim, with the debtor in the first instance, to

  6 have a productive mediation, settlement should be done the way

  7 the (indiscernible) claim is (indiscernible), which is directly

  8 with the debtor.       And that we’d have a chance to see if that --

  9 if that gets somewhere and results in something.                          We’re --

 10 we’re -- that’s our input about about meeting our specific

 11 claim to maximize the chance of avoiding litigation and

 12 resolving it.

 13              THE COURT:     Well, again, I fully suspect they’re

 14 going to reach out to all of you all and get all of your ideas

 15 about the sequence of the mediation, you know, whether it’s all

 16 together with people in separate rooms on day one, or hey,

 17 let’s start with UBS, let’s start with Acis.                          I mean it would

 18 be expected that the co-mediators will reach out to you all

 19 from day one with everybody’s ideas about what would be the

 20 most productive format.          So I hope that answers your question.

 21              You know, to a large extent, this is to be

 22 determined.      But, you know, the ground rules I’m giving them is

 23 let’s try to get this UBS proof of claim resolved.                          Let’s try

 24 to get the Acis proof of claim resolved.                         Let’s try to get to a

 25 grand bargain on what a plan looks like, and the treatment of




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  1 all the unsecured creditors.

  2              So I think these are extremely experienced people who

  3 will be pretty skilled at how to proceed.

  4              MR. CLUBOK:     That does answer our question; thank

  5 you, Your Honor.

  6              THE COURT:     Okay.

  7              MR. CLUBOK:     That’s all I wanted to clarify.            That

  8 you weren’t directing them to do anything in terms of how they

  9 proceed, and we’ll pick it up with them.

 10              THE COURT:     Okay; very good.

 11              MR. CLUBOK:     Thank you.

 12              THE COURT:     Anyone else want to say anything about

 13 this?

 14                        (No audible response heard)

 15              THE COURT:     All right.            Well, let’s turn then to the

 16 status conference that both the debtor and Acis wanted to have

 17 today.    Back on the 14th, I guess it was, Mr. Pomerantz, I

 18 think, raised the issue that the Acis proof of claim, which at

 19 that point the debtor had objected to, and now Mr. Dondero has

 20 objected to, was set for hearing, I think, August 6th.                  But

 21 there had been a discussion about continuing that hearing to

 22 September 10th to hopefully focus primarily on mediation.

 23              But then we wanted to have a status conference today

 24 to kind of talk about what the September 10th hearing would

 25 look like.     We don’t want it to just be a status conference.




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  1              And, Mr. Pomerantz, I don’t know if you’re on the

  2 line, but you said there were legal issues as well as factual

  3 issues.     And so my brain was kind of going down the trail of

  4 are you suggesting motions for summary judgment might be a

  5 first step on September 10th?               I have no idea what you had in

  6 mind.

  7              So who -- is it going to be Mr. Morris taking the

  8 lead on this --

  9              MR. KHARASCH:       Your Honor --

 10              THE COURT:     -- or Mr. Pomerantz?

 11              MR. KHARASCH:       Your Honor, it’s Mr. Kharasch.

 12              THE COURT:     Oh.

 13              MR. KHARASCH:       It’s Ira Kharasch.

 14              THE COURT:     Oh, Mr. Kharasch.

 15              MR. KHARASCH:       Yeah.

 16              THE COURT:     Okay, there you are.

 17              MR. KHARASCH:       I --

 18              THE COURT:     You appeared earlier.

 19              MR. KHARASCH:       I did.         I did.         So two things, Your

 20 Honor:

 21              First, Mr. Pomerantz wanted me to express to Your

 22 Honor that he would have loved to have been here today, as he’s

 23 been here in the past, however, he is in the hospital with a

 24 medical condition, we think things will work out just fine,

 25 but --




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  1              THE COURT:     I’m sorry to hear that.

  2              MR. KHARASCH:       Thank you, Your Honor.

  3              THE COURT:     Please express my best wishes.

  4              MR. KHARASCH:       Absolutely.             But he just wanted to let

  5 you know why he’s not here.

  6              So, number two, I think, Your Honor, at the last

  7 week, I think we mentioned that the continued hearing on the

  8 claim objection would be September 17.                       There’s a little

  9 confusion about that versus September 10.                             I don’t know if Ms.

 10 Patel is in agreement about that.                   I think we’re both in

 11 agreement that it was September 17th, but I’m not completely

 12 sure of the different dates.

 13              THE COURT:     Okay.       I did not run that date by my

 14 courtroom deputy.       I just -- I looked at the transcript from

 15 the hearing.      Y’all said September 10th, but maybe someone

 16 misspoke.

 17              What do you think, Ms. Patel?

 18              MS. PATEL:     Your Honor, I think the confusion might

 19 be -- I believe the original hearing was August the 10th, and

 20 that’s what’s getting moved off.                  And so September 17th is --

 21 I’ve seen a September 19th date, as well, but I think that’s a

 22 Sunday or --

 23              MR. KHARASCH:       It’s a Saturday.                     I think it’s a

 24 Saturday.

 25              MS. PATEL:     Saturday.           So I think September 17th is




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  1 the day that Acis is amenable to -- to -- the process we’re

  2 about to discuss with the date being the 17th of September.

  3              THE COURT:     Okay; very good.

  4              MR. KHARASCH:       Thank you, Your Honor.

  5              THE COURT:     Okay.

  6              MR. KHARASCH:       And --

  7              THE COURT:     So 17th, okay.

  8              MR. KHARASCH:       Yeah.        And, Your Honor, I think the

  9 good news here is the debtor and Acis’s counsels are in

 10 agreement subject to your blessing of that agreement as to how

 11 we want to approach things.

 12              Again, we did continue the hearing to today and the

 13 purpose, Your Honor, is to give us a chance to discuss with the

 14 Acis team how we both thought -- how to proceed in a manageable

 15 way to make this September 17th hearing date a productive

 16 hearing, and manageable, and easily understandable, and easy

 17 for the Court to deal with, because we’re dealing with a

 18 massive claim, and a very big claim objection.

 19              So what we come up with is the following way that we

 20 think should be a productive way to handle it.                         We would like

 21 to have another status conference on or about August 14, which

 22 is, I think, just after Ms. Patel’s vacation.                         If it has to be

 23 a few days later, that’s fine.

 24              And during that time, we’ll also be seeing a draft

 25 response to our claim objection.                  But the purpose is before




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  1 that status conference on the 14th, Your Honor, we would

  2 propose the following:

  3              That a few days before, we file a joint statement

  4 that would propose the following to the Court:                        We would come

  5 up come up with respect to the September 17 hearing date, that

  6 we would come up with a list of issues for summary adjudication

  7 that both parties would like to deal with by summary

  8 adjudication on the September 17 hearing date.                        We would set

  9 those forth in the joint statement for the Court to review.

 10              We’d also set out a list of issues that are not

 11 subject -- we don’t believe are not subject to summary

 12 adjudication.      That would be dealt with later, if not through a

 13 trial or otherwise, if not dealt with by the summary

 14 adjudication proceeding, depending on how that goes.

 15              We would also propose for that status conference,

 16 that joint statement, Your Honor, a proposed discovery and

 17 pretrial schedule that would occur after the September 17

 18 summary adjudication, and a proposed trial date.

 19              Just for the record, both parties do want to move as

 20 quickly as possible after the September 17th hearing date in

 21 terms of discovery, and get to a trial as quickly as possible,

 22 maybe even before plan confirmation.                     But this would be part of

 23 the greater discussion, then we’d starting pinning down

 24 proposed dates for Your Honor to talk about at the next status

 25 conference here, Your Honor, on or about August 14th.




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  1              We’d also address the Acis request that the debtor

  2 file an answer to the Acis second amended complaint in the Acis

  3 case.    We had talked about that, that was a new topic of

  4 discussion.

  5              And that’s really the -- that’s what we would propose

  6 to get before the Court.           We’d file it -- it’s August 14, we’d

  7 file it two days before the hearing because that’s soon after

  8 Ms. Patel’s vacation.        If it’s a few days later, we’d give the

  9 Court -- we would file it a few days earlier to give the Court

 10 more time to look at the joint statement.

 11              To the extent we can’t agree on all of these issues

 12 that I just enumerated in the joint statement, the joint

 13 statement would address those issues that we haven’t agreed on,

 14 and the unilateral position of the parties to be discussed

 15 before the Court at the continued status conference.

 16              So we think in that way, Your Honor, we can make

 17 everyone’s life easier to go forward and get something done at

 18 the September 17 claim objection date.

 19              THE COURT:     All right.            Well, Ms. Patel, do you agree

 20 with everything you just heard?

 21              MS. PATEL:     Yes, generally speaking, Your Honor.

 22 Just a couple of things.

 23              THE COURT:     All right.            Mr. Bonds, I’m going to ask

 24 you to put your phone on mute.                I think we’re getting some

 25 disruption from your end.




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  1              MR. BONDS:     It is on mute; I’m sorry.

  2              THE COURT:     Okay.       Well, Mike, I don’t know where

  3 that’s coming from.

  4              ECRO:   I think it’s Mr. Ira’s phone.                      He’s on mute

  5 now.

  6              THE COURT:     Okay.

  7              ECRO:   That’s where it’s coming from.

  8              THE COURT:     Ms. Patel, go ahead.

  9              MS. PATEL:     Thank you, Your Honor.

 10              Just a couple of things, again, so the Court -- just

 11 so I can set the Court’s expectations a little bit on where

 12 we’re going to head, and these were discussions we had with Mr.

 13 Kharasch over the (indiscernible) yesterday.                          But I wanted to,

 14 again, reiterate the parties’ expectation is that if we’re

 15 going to go down this path -- a double (indiscernible) path

 16 while we’re doing things by summary adjudication at the

 17 September 17th hearing which issues -- you know, we’ll decide

 18 which buckets of issues are appropriate for September 17th,

 19 that nevertheless, that there would be an expeditious trial

 20 setting, and that’s what I think the parties are anticipating

 21 coming back to the Court and asking for in August.

 22              And that that trial setting would be at some

 23 juncture, preferably before plan confirmation.                          But if it has

 24 to go to trial, that’s certainly no (inaudible), so make that

 25 simultaneous with the plan confirmation.




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  1              But just -- that’s just a little bit of

  2 foreshadowing, I suppose, Your Honor, more than anything else.

  3              We also requested that basically we would just go

  4 through one -- what we’ll call summary adjudication process.

  5 And Your Honor hit on a great question of is this a motion for

  6 summary judgment?       I’m not sure that we really necessarily

  7 defined it as a motion for summary judgment, as much as this is

  8 intended to be a "there’s not going to be anymore motions to

  9 dismiss or motions for (indiscernible) pleading, etc."                 The

 10 September 17th hearing is intended to be the full shot of

 11 "let’s go through all the issues that can be determined on

 12 September 17th by agreement, and then that’s it, other than

 13 that, we’re going to be talking about trial."

 14              The other point that I would just raise again just to

 15 enlighten the Court, this isn’t -- the summary adjudication

 16 would not just be issues that Highland has raised in its

 17 objection to Acis’s claim, but it could also be summary

 18 adjudication with respect to Acis’s affirmative claims as

 19 against the estate.       So it’s a two-way street with respect to

 20 that.

 21              And then finally, Your Honor, Acis just requested

 22 that we at least have a discussion with respect to the Highland

 23 Capital Management filing an answer with respect to Acis’s

 24 complaint.     And as Your Honor recalls, the proof of claim that

 25 Acis filed is -- attaches the second amended complaint that’s




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  1 pending in the adversary.            That complaint has never had an

  2 answer filed with respect to it, so we need an answer really as

  3 kind of a responsive pleading.                And the hope was that that

  4 would help streamline the issues so -- and, frankly, I think it

  5 would be helpful from my perspective to decide what are the

  6 appropriate issues for the summary adjudication basket to be

  7 heard on September 17th, and what are the appropriate -- what’s

  8 the appropriate basket that is going to have to go trial.

  9              And that was -- that was my thinking with respect to

 10 that.    But we’ll continue to have those discussions, and foster

 11 that.

 12              But beyond that, that’s just some things that I

 13 wanted to sort of foreshadow, I guess, for the Court, just to

 14 (indiscernible) the Court’s expectations as to what’s going to

 15 happen at the August hearing, and where things are headed.

 16              THE COURT:     All right.            Well, just a couple of things

 17 I’ll throw in.

 18              Before we get off, I’ll make sure September 17th is

 19 available.

 20            (The Court engaged in off-the-record colloquy)

 21              THE COURT:     So we’ll circle back and make sure that’s

 22 good.

 23              As far as this process, I like everything I heard.

 24              As far as getting the summary adjudication on certain

 25 issues, I kind of like the idea of not cross-motions for




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  1 summary judgment, no, please.               Maybe instead, you just come up

  2 with a set of stipulated facts, and then based on these

  3 stipulated facts, we think you can rule as a matter of law on

  4 A, B, and C, and then the other side disagrees that you can

  5 based on A, B, and C.

  6              But on the other hand, you think we can -- you can

  7 rule in front of us because of D, E, F.                        And then the other

  8 side -- so I guess what I’m saying is -- hmmm, I’m trying to

  9 avoid the whole cumbersome summary judgment process, but -- can

 10 we --

 11              MR. KHARASCH:       Your Honor, can --

 12              THE COURT:     Mr. Kharasch, do you have an idea?

 13              MR. KHARASCH:       Yes.       We’ve been thinking about that

 14 very point, Your Honor, and that’s something I’m going to talk

 15 to Ms. Patel about, you know, prior to that status conference

 16 hearing.

 17              We agree with you, we don’t want to recreate the

 18 wheel on a bunch of paper that’s already before the Court.                          We

 19 might come up with a proposal, Your Honor, where we just submit

 20 a short statement of why we think -- you know, before the

 21 September hearing date, here’s what’s going to be argued on

 22 summary adjudication, we’ll cross-reference what’s already in

 23 front of the Court in terms of our claim objection, point you

 24 to different parts of it, rather than me filing things.

 25 Hopefully stipulate to certain facts to make your life easier,




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  1 and to, you know, just make sure everything’s easily directed.

  2              But that’s the kind of thing we’d like -- I think

  3 we’re going to be talking about to make things easier and more

  4 streamlined.

  5              THE COURT:     Okay.       Ms. Patel, you agree that’s a goal

  6 to shoot for?      Rather than cross motions for summary judgment,

  7 and responses, and replies, and giant appendixes, just have

  8 something like a set of stipulated facts, and here are the

  9 contested issues of law?

 10              MS. PATEL:     Yes, Your Honor.                 I think that would be

 11 sort of the general goal.

 12              THE COURT:     Okay, all right.                 Well, that -- that

 13 sounds like a good game plan.

 14              So I like this overall idea, we’ll kind of check in

 15 on August 14th.      A few days before that, you’ll file the joint

 16 statement of what you think the list of issues of law are that

 17 would be argued on the 17th.

 18              And then as far as the answer to the Acis adversary

 19 proceeding, that adversary proceeding is technically subject to

 20 the automatic stay, and there are other parties in the

 21 litigation.      So as I’ve mentioned before, we have drafted back

 22 in chambers a giant report and recommendation on a motion to

 23 withdraw the reference that was filed way long ago by -- I

 24 think it was jointly by Highland and HCLOF.                           But I may be

 25 wrong, it may have only been HCLOF, it’s been so long since




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  1 I’ve looked at it.

  2              But my point is it’s stayed.                    So I mean as a

  3 technical matter, if you want to agree that Highland will file

  4 an answer, I mean I guess you’ll have to do an agreed order

  5 lifting the stay, maybe just for the limited purpose of

  6 allowing Highland to do an answer with you all agreeing it’s

  7 not going to go any further than that at this juncture.                         Or --

  8 I mean I’m just asking, frankly, because we’ve got other

  9 parties involved who want to know the answer to that question

 10 maybe.

 11              And then I’ve got a report and recommendation that

 12 I’ve got to dust off, and finalize, and send in to the District

 13 Court if we’re lifting the stay for all purposes.

 14              I assume you just want to do a limited lifting the

 15 stay to let them file an answer, but everything else is still

 16 on hold?

 17              MS. PATEL:     Your Honor, I think that would be the

 18 general concept.       And to be fair, it’s a concept that I was,

 19 you know, late in the day yesterday with Mr. Kharasch, and so

 20 we haven’t really quite formulated exactly how we Proceed

 21 forward with it.       So I don’t -- I’m not trying to ambush him on

 22 the issue.

 23              But I think we can either craft something that to the

 24 extent that it is an answer, a very traditional answer, you

 25 know, concept in the adversary proceeding, then, yes, I agree




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  1 that I think it would be appropriate to do a very limited

  2 agreed order lifting the stay for the limited purpose of filing

  3 the answer, and that’s it.             Again, just so we have the

  4 pleading.

  5              Or if we -- that perhaps maybe Mr. Kharasch and I can

  6 come and put our creative brains together and see if we can

  7 come up with something that acts an awful lot like an answer,

  8 but is here and filed in the Highland bankruptcy case that kind

  9 of functions similarly.

 10              THE COURT:     Okay.

 11              MR. KHARASCH:       Yeah, just to be clear, Your Honor, we

 12 haven’t agreed to anything; we heard about this concept

 13 yesterday.     I have not really had a chance to think it through.

 14 I’m not -- I’m not saying absolutely no, we have to discuss it

 15 with our client.       (Indiscernible) but we have an open mind, and

 16 will continue our discussions.

 17              One thing, Your Honor, do we definitely have the

 18 August 14 date as a status conference?                       And if so, at what

 19 time?

 20              THE COURT:     It is available.                 Let’s do it at 9:30,

 21 and I’m not going to give you a ton of time that day because I

 22 have a bear of a trial that next week that I’m going to need to

 23 be in mostly hibernation preparing for.                        So let’s say 9:30 on

 24 Friday, August 14th.

 25              MR. KHARASCH:       That’s fine, Your Honor; thank you




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  1 very much.

  2              THE COURT:     And then I -- on September 17th at 9:30,

  3 I also have available.

  4              MR. KHARASCH:       That’s great.

  5              THE COURT:     The morning only, I’ve got a full

  6 afternoon.

  7              All right, so I was going to ask you to do sort of

  8 like a mini scheduling order, reflective of what we discussed

  9 today.    And it sounds like you’ll have a few things to iron out

 10 after we get off the phone, but I think we’ve got enough here

 11 to kind of have a partial scheduling order, or something to

 12 that effect, dealing with objections to Acis’s proof of claim.

 13              Mr. Bonds, you’re on there, I see now, for Mr.

 14 Dondero.     I think you’ve joined in the -- I don’t know if you

 15 call it a joint, or you filed your separate objection to the

 16 Acis proof of claim, correct?

 17              MR. BONDS:     (No verbal response).

 18              THE COURT:     Okay.       You’re on mute, if you could

 19 unmute yourself.

 20              MR. BONDS:     Your Honor --

 21              THE COURT:     We’re getting some echo, but is there

 22 anything you want to add to this discussion?

 23              MR. BONDS:     Your Honor, there is.                     We believe that we

 24 are entitled to participate in the Acis claim of because it’s

 25 so intertwined with the underlying lawsuit -- Your Honor, I’m




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  1 sorry.

  2              THE COURT:     All right.            Well, I understand you filed

  3 an objection.      Is there any -- is there any -- well, is there

  4 any objection to the Dondero -- I don’t know if he’s going to

  5 say anything separate from the debtor, but Dondero being

  6 involved as an objecting party.

  7              MR. BONDS:     (Indiscernible).                 I’m sorry.

  8              THE COURT:     Okay.       We’re having real terrible --

  9            (The Court engaged in off-the-record colloquy)

 10              THE COURT:     Okay.       We have two feeds that say D.

 11 Michael Lynn, and that’s causing a feedback loop, according to

 12 the younger smarter people here behind me.                            Like maybe you have

 13 a phone and a computer?            All right, well, I’ve actually turned

 14 to Mr. Kharasch and Ms. Patel, do you all have any problem with

 15 Dondero kind of joining in, and -- I haven’t reviewed his

 16 objection to see how it differs from the debtor’s.

 17              MR. KHARASCH:       Yeah, frankly, Your Honor -- Ira

 18 Kharasch.     We have not spent time reviewing that objection, as

 19 well, so we haven’t really thought about it.

 20              I mean it’s out there, I’m not sure I see the problem

 21 with it.     But we would like some time to see how -- what it

 22 looks like, and how it plays into it.                      I’m not -- I’d be

 23 surprised if -- well, I’m not even going to say anything as to

 24 what’s in it because I just haven’t read it.

 25              THE COURT:     Okay, all right.                 Ms. Patel?




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  1              MS. PATEL:     Your Honor, from Acis’s perspective,

  2 same.    I, frankly, have not given it enough consideration.                      And

  3 just out of the gate, I think one of the issues is going to be

  4 Mr. Dondero’s standing to kind of join in on the claim

  5 objection, but it’s something that, frankly, I just truly

  6 haven’t spent enough time thinking that issue through, or

  7 whether there’s going to be an issue.                      So I’m just not sure.

  8              THE COURT:     All right.            Well, I’ll try one more time.

  9 Mr. Bonds, do you have a good connection now?

 10              MR. BONDS:     (No audible response heard).

 11              THE COURT:     All right.            I’m just going to direct you

 12 all to visit with Mr. Bonds or Mr. Lynn, and see if you can

 13 come up with any agreements.              And if you can’t, then maybe Mr.

 14 Dondero’s counsel can request a status conference.                      I’m not

 15 inclined to want to do another one before August 14, but maybe

 16 we can just hear what they have to say on August 14th about the

 17 process.

 18              MR. KHARASCH:       I think that makes sense, Your Honor.

 19 And we’ll -- and we’ll talk to them.

 20              THE COURT:     Okay.

 21              MR. KHARASCH:       We’ll talk to them beforehand.

 22              THE COURT:     Okay, all right.

 23              MS. PRESTON:      Your Honor, may I briefly be heard?

 24              THE COURT:     Who is this?

 25              MS. PRESTON:      This is Katherine Preston from Winston




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  1 & Strawn, I represent Mr. Ellington, Mr. Leventon, and some of

  2 the other Highland employees.

  3              THE COURT:     Okay.

  4              MS. PRESTON:      And I apologize, I tried to appear

  5 earlier and had some technical difficulties.

  6              THE COURT:     Okay.

  7              MS. PRESTON:      We just wanted to ask regarding

  8 mediation.     We’ve discussed with some of the parties to that

  9 mediation dissipating, and so we just wanted to be included, as

 10 well, in any of those discussions and communications.

 11              THE COURT:     All right.            And I guess the party in

 12 interest status would be that you’ve been sued by Acis, is

 13 that -- is there any --

 14              MS. PRESTON:      That’s correct.

 15              THE COURT:     Okay.       Well, I think what I’m going to do

 16 is think about that one a bit.

 17              I almost put that one in the same category as Mark

 18 Okada.    I’m just trying to be as productive as possible in the

 19 way this goes forward where the primary issues are the UBS

 20 proof of claim and the Acis proof of claim.                           And granted,

 21 there’s a lot of satellite litigation out there, and -- and

 22 that might be a factor as far as -- let me think about that

 23 one, okay?

 24              Your request is duly noted, and I’m going to think

 25 about that, and I’ll let you all know through my courtroom




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  1 deputy what I decide on that.               But I’m leaning towards that

  2 might be a second stage of mediation if we have wonderful

  3 breakthroughs on the Acis and UBS proof of claim sides, so

  4 that’s my answer on that.

  5              MS. PRESTON:      Thank you.

  6              THE COURT:     Uh-huh.         Anything else?

  7              MS. PRESTON:      Thank you, Your Honor.

  8              THE COURT:     All right.            Well, it’s a little bit late,

  9 it’s 5:19 central time, and if there’s nothing further, we’re

 10 adjourned, and we’ll look for all the orders to be

 11 electronically submitted.

 12              Thank you.

 13              MULTIPLE SPEAKERS:           Thank you.

 14        (Whereupon, at 5:20 p.m., the hearing was adjourned.)

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  3                        CERTIFICATE OF TRANSCRIBER

  4        I, KAREN HARTMANN, a certified Electronic Court

  5 Transcriber, certify that the foregoing is a correct transcript

  6 from the electronic sound recording of the proceedings in the

  7 above-entitled matter.

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 11 Karen Hartmann, AAERT CET**D0475                    Date: July 24, 2020

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                            IN THE UNITED STATES BANKRUPTCY COURT
        1                     FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
        2
                                                 )      Case No. 19-34054-sgj11
        3   In Re:                               )
                                                 )
        4   HIGHLAND CAPITAL                     )      Dallas, Texas
            MANAGEMENT, L.P.,                    )      July 14, 2020
        5                                        )      1:30 p.m. Docket
                       Debtor.                   )
        6                                        )      APPLICATIONS TO EMPLOY JAMES
                                                 )      P. SEERY AND DEVELOPMENT
        7                                        )      SPECIALISTS, INC. (774, 775)
                  __                             )
        8
                                  TRANSCRIPT OF PROCEEDINGS
        9                BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                               UNITED STATES BANKRUPTCY JUDGE.
      10
            WEBEX/TELEPHONIC APPEARANCES:
      11
            For the Debtors:                     Jeffrey N. Pomerantz
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     1   APPEARANCES, cont'd.:
     2   For the Official Committee           Matthew A. Clemente
         of Unsecured Creditors:              SIDLEY AUSTIN, LLP
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   23

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     1   APPEARANCES, cont'd.:
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         Recorded by:                         Michael F. Edmond, Sr.
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                                              Shady Shores, TX 76208
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        1                DALLAS, TEXAS - JULY 14, 2020 - 1:34 P.M.

        2               THE COURT:     ... to get lawyer appearances.            First,

        3   for the Debtor, do we have some Pachulski lawyers on the

        4   phone?    Please make your appearance.

        5               MR. POMERANTZ:     Good morning, Your Honor.            It's

        6   Jeffrey Pomerantz; Pachulski Stang Ziehl & Jones.                 Also with

        7   me are John Morris, and then listening in are Greg Demo and

        8   Ira Kharasch.

        9               THE COURT:     All right.     Thank you all.         And do we

      10    have any Hayward lawyers on the phone?

      11                MR. ANNABLE:     Yes, Your Honor.

      12                THE COURT:     I presume that was Mr. Annable.

      13                MR. ANNABLE:     Yes, Your Honor.       Sorry.       My mic's not

      14    picking up.     It's Zachery Annable and Melissa Hayward --

      15                THE COURT:     All right.

      16                MR. ANNABLE:     -- as local counsel for the Debtor.

      17                THE COURT:     Okay.     Thank you.    For the Unsecured

      18    Creditors' Committee, who do we have from Sidley Austin?

      19                MR. CLEMENTE:     Good afternoon, Your Honor.            Matthew

      20    Clemente from Sidley Austin, and Paige Montgomery is also on

      21    the phone.

      22                THE COURT:     All right.     Thank you.     All right.        I'll

      23    go to some of our usual appearances.            Do we have lawyers for

      24    the Redeemer Committee this afternoon?            (No response.)        All

      25    right.




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        1               MS. MASCHERIN:     Yes.      Excuse me, Your Honor.

        2               THE COURT:     Yes?

        3               MS. MASCHERIN:     This is Terri Mascherin.           I wasn't

        4   sure whether I had the microphone on mute or not.

        5               THE COURT:     Okay.

        6               MS. MASCHERIN:     I apologize.        Terri Mascherin, Jenner

        7   & Block.    My colleague, Marc Hankin, is on the phone.                And I

        8   believe that Mark Platt is also on the line.

        9               THE COURT:     All right.      Thank you.     What about UBS?

      10    Anyone wanting to appear for UBS?

      11                MR. CLUBOK:     Yes.     Good afternoon, Your Honor.           This

      12    is Andrew Clubok from Latham & Watkins, LLP.               And my partner,

      13    Kimberly Posin, is on as well.

      14                THE COURT:     Okay.     Thank you.     What about for Acis?

      15    Any lawyers appearing for Acis?

      16                MS. PATEL:     Yes.      Good afternoon, Your Honor.        Rakhee

      17    Patel of the Winstead firm and Brian Shaw of the Rogge Dunn

      18    Group appearing on behalf of Acis.

      19                THE COURT:     All right.      Do we have Mr. Lynn or Mr.

      20    Bonds for James Dondero?          (No response.)      Maybe not.     All

      21    right.    Is there anyone else who wishes to appear for today's

      22    hearings?

      23                MR. NEIER:     Good afternoon, Your Honor.            David Neier

      24    of Winston & Strawn making a reappearance, but this time for

      25    several employees of Highland:           Mr. Leventon, Mr. Sevilla, Mr.




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        1   Ellington, several others.

        2               THE COURT:     Oh, okay.     Thank you.     Any other

        3   appearances today?

        4         (No response.)

        5               THE COURT:     All right.     I'll assume everyone else is

        6   just going to observe.

        7         Well, we have two employment applications.             Mr. Pomerantz,

        8   how did you want to proceed on those?

        9               MR. POMERANTZ:     So, Your Honor, we have the two

      10    motions to present, Your Honor.          I'm happy to say that neither

      11    of them are opposed.

      12          Before I present the motions to Your Honor, I wanted to

      13    ask if Your Honor would like to address the mediation issues

      14    at the conclusion of the hearing or prior to the presentation

      15    of the motions.

      16                THE COURT:     At the conclusion.       Thank you.

      17                MR. POMERANTZ:     Thank you, Your Honor.

      18          Your Honor, the first motion on the docket today is a

      19    Motion to Appoint James Seery as the Debtors' chief executive

      20    officer and chief restructuring officer, effective as of March

      21    15th, which is about the time that Mr. Seery began performing

      22    the services as the chief executive officer.

      23          While there's a good argument that the retention of a

      24    chief executive officer is in the ordinary course of business

      25    and does not require court approval, the Debtor, out of an




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        1   abundance of caution, filed the motion, and the motion seeks

        2   approval of the agreement which is attached to the motion.

        3         The second motion, Your Honor, is a Motion to Approve the

        4   Retention of DSI as the Debtors' Financial Advisor.                And as

        5   the Court is aware, Mr. Sharp, a managing director of DSI, was

        6   approved as the Debtors' Chief Restructuring Officer pursuant

        7   to this Court's January 10th order.

        8         Although Mr. Seery is proposed to replace Mr. Sharp as the

        9   Debtors' Chief Restructuring Officer, Mr. Seery still requires

      10    the financial assistance and advisory support that DSI has

      11    been providing to him, the Board, and the Debtor for several

      12    months.

      13          While each of these motions, as I mentioned, Your Honor,

      14    are unopposed, we plan to put on the testimony of James Seery,

      15    John Dubel, and Brad Sharp to provide the Court with the

      16    evidentiary basis to support the relief that is requested.

      17    And with the testimony, Your Honor, we intend to accomplish

      18    several things.

      19          First, Your Honor, in light of our exchange at the hearing

      20    on July 8th, we thought it'd be appropriate for Mr. Seery to

      21    provide a more fulsome response to Your Honor regarding the

      22    nature and extent of the Debtors' operations and assets and

      23    the variety of significant activities that the Board in

      24    general and Mr. Seery as the chief executive officer has been

      25    performing over the last several months.




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        1         We think this is very important, Your Honor, given that

        2   the Debtor has substantial and multiple complex business

        3   operations that it oversees that are in -- that are in

        4   subsidiaries outside of Chapter 11 or are in entities managed

        5   by the Debtor and also not in Chapter 11.             And the Court, we

        6   appreciate, especially in light of Your Honor's comments, does

        7   not have the benefit of seeing what is really going on.                 So

        8   we're hoping, by Mr. Seery's testimony, it will provide Your

        9   Honor with a much clear picture, and, quite frankly, a better

      10    job doing it than I was able to do last week.

      11          Mr. Seery's testimony will support the need for the

      12    retention of the chief executive officer and why his

      13    particular background and qualifications made him the

      14    appropriate choice for the role.

      15          Second, Mr. Dubel, as the chairman of the compensation

      16    committee of the Board, will testify regarding the process

      17    undertaken by the compensation committee that led to the

      18    conclusion to ask Mr. Seery to become the chief executive

      19    officer and the agreement -- under the terms and conditions

      20    set forth in the agreement.

      21          Lastly, Mr. Sharp will testify regarding the activities he

      22    and DSI have been performing since the commencement of the

      23    case, the assistance they have been providing to Mr. Seery

      24    over the last few months, and how the nature and extent of the

      25    services they are providing will essentially remain the same




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        1   if Your Honor approves the motion to employ Mr. Seery.

        2         Before I turn the virtual podium over to my partner, John

        3   Morris, to present the testimony, Your Honor, I thought I

        4   would provide the Court with a brief summary of the events

        5   leading to the Debtors' filing of the motion.

        6               THE COURT:     Okay.

        7               MR. POMERANTZ:     As Your Honor will recall, the Court

        8   entered an order on January 9th approving a settlement between

        9   the Debtor and the Committee, and a significant part of that

      10    settlement involved modifications to the Debtors' corporate

      11    governance that resulted in the installation of the

      12    Independent Board.

      13          The term sheet that was attached in the settlement motion

      14    specifically contemplated that the Independent Board, in

      15    consultation with the Committee, would determine whether it

      16    was appropriate to retain a chief executive officer, and

      17    further went on to say that the chief executive officer could

      18    be a member of the Board.

      19          And the retention of a chief executive officer was on

      20    everyone's minds from the beginning, because since Mr.

      21    Dondero's authority as the CEO of the Debtor was being

      22    terminated in connection with the settlement, the Debtor and

      23    the Committee contemplated that, in order to manage a dynamic

      24    and widespread asset management platform like Highland's, that

      25    the retention of a chief executive officer may very well be




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       1    necessary.

       2         I will leave it to Mr. Seery and Mr. Dubel to explain to

       3    the Court what transpired during the early stages of the case

       4    and the decision-making process that led to Mr. Seery starting

       5    to act as the Debtors' chief executive officer.                 And I would

       6    also leave it to Mr. Dubel to discuss the sequence of events

       7    which led from the appointment of him as the chief executive

       8    officer through the filing of the motion that brings us here

       9    today, which events will include the establishment of a

      10    compensation committee; the commissioning of a report from the

      11    Debtors' compensation expert, Mercer; the procurement of the

      12    Debtors' [sic] and officers insurance coverage to cover Mr.

      13    Seery and Mr. Dubel; the negotiations over the (inaudible) of

      14    Mr. Seery; and lastly, the negotiations with the Committee

      15    which has resulted in the motion being fully consensual.

      16         I'll also leave it to Mr. Seery to explain his personal --

      17    professional background and why he was qualified to fill that

      18    role.

      19         The agreement, Your Honor, between Mr. Seery and the

      20    Debtor includes the following material provisions.

      21         First, there would be base compensation at the rate of

      22    $150,000 a month, retroactive to March 15th.             And while Mr.

      23    Seery will remain on the Board as part of his role as the

      24    chief executive officer, the $150,000 per month would cover

      25    his services not only as a CEO but also a member of the Board.




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        1    In other words, the Board fees that were agreed to back in

        2    January of $60,000 a month, $50,000 a month, and $30,000 a

        3    month would be replaced by the $150,000 a month commencing on

        4    March 15th.

        5         While the compensation committee and Mr. Seery reached

        6    agreement on the structure of potential bonus compensation,

        7    the Committee has not agreed to that proposed structure.                 As a

        8    result, the compensation committee and Mr. Seery decided that

        9    approval sought in this motion would only be the monthly

       10    compensation and the other non-economic terms, but would not

       11    include the bonus compensation.          Any bonus compensation sought

       12    to be paid to Mr. Seery would be pursuant to a separate motion

       13    filed, if at all, a lot later in the case.

       14         The Committee was also uncomfortable with the open-ended

       15    nature of the agreement and wanted some control in being able

       16    to seek to terminate it.        To accommodate the Committee, Mr.

       17    Seery and the Debtor agreed to the following:              After 90 days

       18    from the date the Court enters an order approving this

       19    agreement, if the Court is inclined to do so, the Committee

       20    may provide the Debtor with notice that it does not want the

       21    agreement to continue.       The Debtor would then have two weeks

       22    to file a motion on normal notice seeking to extend the date

       23    of the agreement, and Mr. Seery would be entitled to his base

       24    compensation until the Court ruled on the motion.

       25         Also, the Committee asked us that be made clear in the




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        1    order, which we've done, that Mr. Seery's retention would

        2    terminate on the effective date on the plan, subject, of

        3    course, of his right to seek bonus compensation pursuant to a

        4    separate motion.      The agreement also contains standard

        5    reimbursement and indemnification provisions.

        6           Your Honor, those conclude my initial remarks.             I'm happy

        7    to take questions.       And then, at the appropriate time, I

        8    return it over to Mr. Morris, who will put on the testimony of

        9    Mr. Seery, Mr. Dubel, and Mr. Sharp.

       10                THE COURT:    All right.      I'd like to pretty quickly

       11    get to the evidence.       So, I'll ask:      Does anyone have a

       12    burning desire to make an opening statement?             If so, please

       13    let's keep it brief.

       14           (No response.)

       15                THE COURT:    All right.      I assume everyone is content

       16    to wait until the end and speak up in any way they want to

       17    speak up.

       18           Mr. Morris, are you ready to call your witness?

       19                MR. MORRIS:    I am, Your Honor.        Can you hear me right

       20    now?

       21                THE COURT:    I can.     Thank you.

       22                MR. MORRIS:    Okay.     Your Honor, this is John Morris

       23    from Pachulski Stang Ziehl & Jones for the Debtor.               As the

       24    Debtors' first witness, we call James Seery.

       25                THE COURT:    All right.      Mr. Seery, I need to swear




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        1    you in by video.      So could you take your phone off mute and

        2    please raise your right hand.          Can you say Testing 1, 2, so I

        3    know you're there?

        4                MR. SEERY:    Testing 1, 2.

        5                THE COURT:    All right.

        6                  JAMES P. SEERY, DEBTOR'S WITNESS, SWORN

        7                THE COURT:    All right.      Thank you.     Mr. Morris?

        8                MR. MORRIS:    Thank you, Your Honor.         Before I begin

        9    my questioning of Mr. Seery, the Debtor had filed its witness

       10    list and its exhibit list.          We provided copies of the exhibits

       11    to the Court and to the Committee, and I would like to just

       12    move into evidence Debtors' Exhibits 1 through 7 at this time.

       13                THE COURT:    All right.      So I have in front of me

       14    Docket Entry No. 822 with Exhibits 1 through 7.                 Any

       15    objection?    (No response.)        All right.    1 through 7 are

       16    admitted.

       17         (Debtors' Exhibits 1 through 7 are received into

       18    evidence.)

       19                MR. MORRIS:    Thank you, Your Honor.         And just as an

       20    overview, so you have a sense of where we're going with Mr.

       21    Seery's testimony, I am going to begin with some very brief

       22    background questionings and then have Mr. Seery answer some

       23    questions concerning the overview of the company and the

       24    corporate structure of the company.           You may have heard some

       25    of this before, but I think in the context of a motion such as




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        1    the appointment of a CEO, I think it would be helpful to hear

        2    it all.

        3           When I finish with that, we're going to move into the area

        4    of the Board and the work that the Board has done and Mr.

        5    Seery's work as a member of the Board.

        6           And then we'll transition into really the meat of the

        7    discussion here, and that is what has he done in his capacity

        8    as CEO.    And to be clear, he's not the CEO, he doesn't call

        9    himself the CEO, but he's functioned as the CEO, and I think

       10    that's the point that we want to present to the Court.                And we

       11    want to present to the Court the fact that he functioned as a

       12    CEO really from day one of the process.            And we're not going

       13    to get into, you know, every single thing he's done, because

       14    we'd be here for an awfully long time, but we do intend to

       15    highlight a couple of the transactions that he worked on and

       16    give you a sense of his role in trying to develop a plan and

       17    resolving claims.

       18           And I think, with that, you'll have a better understanding

       19    of Mr. Seery, his role, and why we believe it's a proper

       20    exercise of the Debtors' business judgment to appoint him as

       21    CEO.

       22                THE COURT:    All right.      Sounds good.

       23                MR. MORRIS:    All right.

       24                               DIRECT EXAMINATION

       25    BY MR. MORRIS:




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        1    Q    Mr. Seery, can you hear me?

        2    A    I can.    Can you hear me?

        3    Q    Yes, I can.

        4                 MR. MORRIS:    Your Honor, just one other point.           I

        5    have a legal assistant on the phone here.             She's participating

        6    in the WebEx.     Her name is La Asia Canty.          La Asia is going to

        7    handle the exhibits when and if we need to put them up on the

        8    screen.    So we've tried to practice that, and hopefully it

        9    will go smoothly, but I may turn to Ms. Canty from time to

       10    time with some help with the exhibits.

       11                 THE COURT:    All right.     Fine.

       12    BY MR. MORRIS:

       13    Q    Okay.    Mr. -- what is your current relationship to the

       14    Debtor?

       15    A    I'm an Independent Director of Strand, which is the

       16    general partner of the Debtor.

       17    Q    All right.     And when did you become the Independent

       18    Director of Strand?

       19    A    On January 9th, along with John Dubel and Russ Nelms.

       20    Q    The Court has previously heard about your background, but

       21    from a high level, can you just hit the highlights for the

       22    Court as to your experience, et cetera?

       23    A    To go swiftly -- and if Your Honor wants me to go further,

       24    I certainly can -- I was a restructuring and finance lawyer

       25    for 10 years, handling virtually every type of restructuring




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        1    matter as well as financing in distressed matters during that

        2    time.

        3         In 1999, I went to the business side and I began to manage

        4    distressed assets at Lehman Brothers as well as a leverage

        5    finance business.      That grew into my running the risky finance

        6    business as well as the loan business at Lehman globally,

        7    which included high-grade loans, high-yield loans, trading and

        8    sales of those products, a big part of distressed, all of

        9    restructuring, all of asset management, and all of the hedging

       10    of the portfolio that we had.

       11         From there, I left Lehman with a small group and sold it

       12    to Barclay's.     I moved on and ran a hedge fund with two former

       13    partners of mine who are the founding partners called River

       14    Birch Capital.     It was a long-short credit fund; mostly

       15    credit, though we did structured finance as well, and we also

       16    handled some equities.

       17    Q    Okay.    Let's spend a few minutes, as a preview, talking

       18    about the Debtor and its business.           And let's start with the

       19    basics.    Is there a way you can summarize the business of the

       20    Debtor?

       21    A    I think, from a high level, the best way to think about

       22    the Debtor is that it's a registered investment advisor.                 As a

       23    registered investment advisor, which is really any advisor of

       24    third-party money over $25 million, it has to register with

       25    the SEC, and it manages funds in many different ways.




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        1         The Debtor manages approximately $200 million current

        2    values -- it was more than that at the start of the case -- of

        3    its own assets.      It doesn't have to be a registered investment

        4    advisor for those assets, but it does manage its own assets,

        5    which include directly-owned securities; loans from mostly

        6    related entities, but not all; and investments in certain

        7    funds which it also manages.

        8         In addition, the Debtor manages about roughly $2 billion

        9    in -- $2 billion in total managed assets, around $2 billion in

       10    CLO assets, and then other entities, which are hedge funds or

       11    PE style.

       12         In addition, the Debtor provides shared services for

       13    approximately $6 billion of assets.           Those are assets that are

       14    owned by related entities but not owned by Debtor-owned or

       15    managed entities.      And those are a combination of back office

       16    services, which include timely reporting, asset management,

       17    legal and compliance support, trading and research support,

       18    but not the actual management of the assets.

       19         The Debtors run -- and I think the way to think about it

       20    is on a functional basis; at least, that's the way I think

       21    about it -- and there's really six areas.             There's corporate

       22    management; finance, accounting and tax; trading and research;

       23    private equity and fund investing; compliance and legal; and

       24    then structured equity, which really includes all of the CLO

       25    businesses.




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        1         The goals of the Debtor generally are what you'd expect

        2    out of an asset manager.        A little bit different than most

        3    because the Debtor does own assets, which is a little

        4    different than when money asset managers typically hold assets

        5    away from the asset manager.          But number one, discharge

        6    Highland's, which I'll call Highland (inaudible), LP, duties

        7    to investors in the funds.          Those are fiduciary duties under

        8    the Investment Advisors Act.          Each day, you've got to make

        9    sure that you do that first and foremost.

       10         Number two, create positive MPD in each of the funds that

       11    we manage, either through sales, purchases, or hedging.

       12         Next, make sure that we report timely finances of our own

       13    assets, including in the funds, but also, to the third-party

       14    investors.    Maximize the value of HCMLP's owned assets.               And

       15    then operate as efficiently as possible for the lowest cost.

       16         That's essentially how the Debtor -- how we think about

       17    the Debtor from a functional perspective.              It's got about 70

       18    employees laid out in those areas that I mentioned, and each

       19    of those employees every day usually think about those goals

       20    and try to discharge their duties by focusing on those goals.

       21    Q    Thank you, Mr. Seery.          And can you describe for the Court

       22    how those 70 or so employees are organized?              Is there an

       23    internal corporate structure that you're working with?

       24    A    Yeah.    The way -- the way -- I apologize.            The way we

       25    think about it is, as I said, corporate management, which is




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        1    really HR and overseeing the function that it's filling every

        2    day, that's been really -- because Mr. Dondero was removed

        3    from management.      It used to all roll up to him.              That's been

        4    effectively rolling up to me since February.

        5         Finance, accounting, and tax.           Each of these businesses

        6    every day require certain amounts of liquidity.                  Each of them

        7    have requirements that they have to pay out to investors.

        8    Each of them have expenses.          And all of them have different

        9    kinds of tax either obligations or reporting.               Those are

       10    managed by Frank Waterhouse as the CFO.             (inaudible), sorry.

       11         Trading and research.          With respect to the assets, they're

       12    not -- they're not static assets.            Many of them do get traded

       13    on a regular basis.      A gentleman, Joe Sowin, heads up the

       14    trading of the liquid assets.           John Povish (phonetic) heads up

       15    the research and the trading of the more illiquid assets, but

       16    not PE.    In addition, we have PE assets that require some

       17    management every day, including Board seats.              That's a

       18    gentleman by the name of Cameron Baynard, and also he will

       19    fund investments in that area.           J.P. Sevilla is responsible

       20    for working with Cameron on those investments and leading that

       21    team.

       22         Importantly, because of the nature of what the Debtor

       23    does, the fiduciary obligations, as well as the

       24    responsibilities to each investor and the legal overlay, we

       25    have a robust compliance and legal department.               That's headed




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       1    by Thomas Surgent and Scott Ellington.            Scott:    more focused

       2    on transactional issues with respect to legal.              He is actually

       3    general counsel.      Everything that has do with compliance, the

       4    interrelatedness of the funds, trading between funds or

       5    positions that are shared across funds, which are many, runs

       6    through Thomas Surgent and his team.

       7         And finally, structured equity.           Sitting on top of the

       8    structured finance business that we have, understanding those

       9    assets, particularly of two billion-ish assets in CLOs, that's

      10    headed by Hunter Covitz.

      11    Q    Can you describe for the Court your interaction with each

      12    of the department heads that you just identified?

      13    A    Well, depending on the nature of the issue each day, I

      14    have at least -- I'd say generally at least weekly contact

      15    with most, often daily contact with most.             So, for example,

      16    when there are trading issues, particularly as the market was

      17    extremely volatile with respect to unliquid securities, Joe

      18    Sowin and I were on the phone several times a day.

      19         Relating to the COVID issues, Brian Collins, who heads the

      20    HR group, and I were on the phone several times a day.

      21         Relating to structured equity, depending on what's

      22    happening with a particular fund or what's happening in loan

      23    prices, I speak to Hunter Covitz.           And it goes down the line.

      24         So it really depends on each of the areas and what's going

      25    on in the business, but I try to touch base with each of those




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       1    department heads on a regular basis.

       2         Frank Waterhouse, of course, is at least weekly.                 We have

       3    a standing call every week to make sure that we're focused on

       4    liquidity, which is always a concern in a Chapter 11, and

       5    Frank and his team are on that call and prepare weekly

       6    materials for us.

       7    Q    Okay.

       8                 MR. MORRIS:    Your Honor, before I move to the next

       9    area of questions, the work of the Board, I just wanted to see

      10    if the Court had any questions on the corporate organizational

      11    structure, the internal structure of the business, or any of

      12    the matters that Mr. Seery touched on?

      13                 THE COURT:    I do not.    And I do have in front of me a

      14    demonstrative aid that Mr. Annable sent over ahead of time, so

      15    I appreciate that as well.

      16                 MR. MORRIS:    Okay.    Your Honor, I think Mr. Seery

      17    covered much of what's on that document, but if you'd like him

      18    to go through that, we're happy to do it.

      19                 THE COURT:    No, that's fine.

      20                 MR. MORRIS:    Okay.

      21    BY MR. MORRIS:

      22    Q    Then let's shift gears a little bit and start talking

      23    about the work of the Independent Board itself.                 The

      24    Independent Board was appointed in mid-January; is that right?

      25    A    Yeah.    It was the first -- January 9th, the first week of




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        1    January, and we started working that afternoon.

        2    Q    Okay.    Can you describe for the Court what the -- the

        3    Board's initial focus?       What were you focused on?

        4    A    Well, if you think about the areas that I just mentioned

        5    previously, the Board initially, for lack of a better term,

        6    gang-tackled everything.        So we tried to make sure that we had

        7    a broad base of understanding among the three of us with

        8    respect to the business.

        9         I, because of my background, had a lot more familiarity

       10    with asset management, these type of asset security

       11    businesses.     But we wanted to make sure that each of us was at

       12    least facile with the main areas that we had to understand.

       13    First was operations.       How does the company run each day?

       14    Particularly, how was it going to run without Mr. Dondero?

       15    And I went through some of those functional areas and how we

       16    thought about those and who head each of those.

       17         Next in the -- I don't mean to say it's second, because

       18    it's always first, but liquidity.           What did the Debtors'

       19    liquidity look like?       How are we going to manage that

       20    liquidity, not just for the near-term, but also for the

       21    medium-term, and then even into the slightly longer-term?                 We

       22    had to think about what assets are there, what money those

       23    assets might need that we would have to invest in them, and

       24    whether there was liquidity in those assets that we can create

       25    liquidity in order to fund the Debtors' business.




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        1         Personnel, we needed a good opportunity to understand who

        2    did what, not just in the senior managers that I mentioned,

        3    but deeper into the staff, because we're going to rely on

        4    those folks.     Particularly worked through with DSI.

        5         As I mentioned, the Debtor, unlike a lot of other asset

        6    managers, owns a lot of assets.           It's a disparate group of

        7    assets, but getting a feel and understanding for what those

        8    assets were, what the critical issues surrounding those assets

        9    are, who managed them day-to-day:            We wanted to make sure that

       10    each of the directors had a good (inaudible) and understanding

       11    of those issues that might arise with respect to those assets,

       12    and a good sense of how quickly those issues could, you know,

       13    further arise.

       14         We also had to get a very good understanding of each of

       15    the funds that we manage.           As I said, the Investment Advisors

       16    Act puts a fiduciary duty on Highland Capital to discharge its

       17    duty to the investors.       So while we have duties to the estate,

       18    we also have duties, as I mentioned in my last testimony, to

       19    each of the investors in the funds.

       20         Now, some of them are related parties, and those are a

       21    little bit easier.      Some of them are owned by Highland.             But

       22    there are third-party investors in these funds who have no

       23    relation whatsoever to Highland, and we owe them a fiduciary

       24    duty both to manage their assets prudently but also to seek to

       25    maximize value.      And we wanted to make sure we had a good




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        1    understanding of that.

        2         Finally, with respect to the shared service arrangements,

        3    we needed to get an understanding of that $6 billion in assets

        4    and how our business, HCMLP, worked with those -- those shared

        5    service counterparties and exactly who did what for whom.

        6    It's very complicated because it had been run much more on a

        7    functional basis than on a line basis from each contract.                   So

        8    it's not as if your employees are allocated to NexBank.                 It's

        9    the whole panoply of businesses that we enter into, and

       10    providing those services to NexBank, not through a central

       11    point but through whatever requests come in from the counter-

       12    parties.    So we needed a good understanding of what those

       13    contracts looked and what those obligations were.

       14                A VOICE:    John, you're on mute.

       15                MR. MORRIS:    Thank you.

       16    BY MR. MORRIS:

       17    Q    All of that work was going on in the first weeks of the

       18    appointment of the Board?

       19    A    Yeah, it would not be fair to say we could do that in a

       20    couple weeks.     So it took far longer than that.              But that

       21    didn't mean that issues didn't start to arise immediately in

       22    February.    And so, while we were learning, we were also

       23    starting to get a feel for different things that could happen

       24    in the company.

       25         As in many companies, immediately, one of the first things




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        1    you have to deal with is, particularly at the beginning of the

        2    year, what does compensation look like; who are the -- what do

        3    promotions look like; are you going to be able to hold this

        4    team together to service these assets?            And yeah, we had that,

        5    with an additional wrinkle that Highland's payment structure

        6    defers a significant amount of compensation to its employees,

        7    and it vests over time, and it has the very typical provision

        8    that if you are not there when it vests -- when it is going to

        9    be paid, actually, not when it vests.            Even if you're vested,

       10    if you're not there when it gets paid, you're not entitled to

       11    it.   And so understanding who was owed what; how the vesting

       12    worked; what the compensation structure looked like compared

       13    to third parties, was one of the first things we had to do.

       14    And Highland has an extremely robust review process.                Brian

       15    Collins manages it.      It's first-rate.        It goes through both

       16    360 in terms of what other employees think of each other as

       17    well as bottoms up, in terms of performance.             And then it has

       18    a top-down component, which ultimately ran through Mr.

       19    Dondero.    Since he was effectively removed from that role, the

       20    Board had to jump in and get a full understanding with Brian

       21    about what the process looked like; how it was going to work;

       22    how it compared to other firms; and whether we could go

       23    forward with it.      And that was one of the motions that was

       24    brought early to the Court.

       25    A     Let's talk a minute about the transactional work that the




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        1    Board was called to focus on initially.            Are you familiar with

        2    the transactional protocols that the Debtor agreed to with the

        3    Committee?

        4    Q    I am.

        5    A    Can you describe for the Court the impact those protocols

        6    had on the Board's work?

        7    Q    Well, they make it extremely difficult.             And I understand

        8    the purposes behind the protocols.           Was not involved in

        9    negotiating them.      However, because of the limitations they

       10    put on the Debtor, they make it very difficult to manage

       11    certain of the assets.       So, if an asset needs money to invest

       12    in it, depending on the size, it may need Committee approval.

       13    If the -- if there are expenses that need to be paid from --

       14    in related entities, and the related entity does not have the

       15    capital to make the expense payment, the Debtor needs to put

       16    the money in.     Can the Debtor put that money in without the

       17    Committee's approval, and if the Committee doesn't approve,

       18    would we have to go to Court?

       19         So, the functioning on a day-to-day basis for how to deal

       20    with those assets became very difficult.            And that came up

       21    really early, as the market started to get a lot more

       22    volatility by mid-February.         We saw with respect to the

       23    internal accounts trades that we would have liked to put on,

       24    for example, short position, where we just weren't able to put

       25    the trades on.




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        1         Now, we could go to the Committee, and we did, but

        2    understanding why we wanted to put it on; explaining it;

        3    presenting that opportunity to the Committee; and then having

        4    them go to the full Committee with it:            It's very cumbersome.

        5    And the trading markets don't wait for a week to determine

        6    whether that offering that you want to -- that you want to

        7    access is available.

        8         So, early on, we got a sense of how difficult it would be

        9    to manage the business with the protocols.

       10         One of the areas I think that was significant and that we

       11    talked about significantly with the Committee was an entity

       12    called Multi-Strat.      Multi-Strat is a fund that is owned by

       13    the Debtor.     It's, in essence, a PUNY-style (phonetic) fund.

       14    It's an older fund.      And it's about 60 percent owned by the

       15    Debtor and roughly 30 percent owned by Dondero-related

       16    entities.

       17         However, there are 90 million, roughly 89 million,

       18    approximately, third-party redeemers who had redeemed in that

       19    fund but have yet to be paid, so they're treated like equity

       20    claims but they're a fixed dollar amount because they are set

       21    at the date that they redeemed based on the NAV at that time,

       22    the net asset claim.

       23         So, we were -- we were stuck with looking at that fund and

       24    trying to determine how do we best manage the fund to get up-

       25    side for the Debtor as well as the related entities that owned




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        1    the equity, making sure that we treated the redeemed entities

        2    as fiduciaries, so which we acted as their fiduciaries, but

        3    then also assuring that we managed the assets that that fund

        4    owns in a prudent way.

        5         One of the large assets in that fund were 13 life

        6    policies.    And these are, in essence, life insurance policies

        7    that the Debtor bought from third parties.             And there's a

        8    market that trades life policies, and they owned these

        9    policies on (inaudible).        The value at the time was marked

       10    around $32 million when -- when we took control.

       11         The problem with the policies and some of the other

       12    expenses at Multi-Strat is that they didn't -- Multi-Strat

       13    didn't have the funds to continue to pay premiums.               So, if the

       14    premiums weren't paid, that $32 million was at risk of going

       15    to zero.    Why?   Because if the premiums aren't paid, the

       16    policies lapse.      And once they lapse, the insurance company

       17    will pay you zero for them.         They don't them buy them back

       18    anywhere.    That's the market.        But we looked at those assets

       19    and began to consider how we would fund, from a liquidity

       20    perspective, monies going into Multi-Strat.

       21         The amounts required would require CC's approval under the

       22    protocols, and the Debtor prepetition had advanced monies to

       23    Multi-Strat to make premium payments and other expenses at

       24    Multi-Strat.     We went to the Committee and were able to get

       25    approval to put a couple million dollars in early on to keep




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        1    the policies alive while we analyzed the best opportunity for

        2    maximizing value with respect to those policies.

        3         But thereafter, we needed additional money to try to

        4    consider how to continue to maximize value, and the Committee

        5    balked.    So we went to Dondero-related entities, and they

        6    actually put equity into the Multi-Strats.             So we -- the

        7    Debtor had made a postpetition, in essence -- it wasn't a

        8    postpetition advance because it was going outside of the

        9    Debtor, but postpetition, the Debtor made a loan to Multi-

       10    Strat to service the policies, and then Dondero-related

       11    entities made an equity investment into Multi-Strat to

       12    continue to service the policies.

       13         Well, we understood as a Board but that wasn't going to

       14    work and that the protocols were going to continue to hinder

       15    us, so we entered into a sale process with respect to those

       16    policies.

       17    Q    And the work that you're describing with respect to Multi-

       18    Strat, is that -- just to transition to your work as

       19    functionary CEO, would it fall into that bucket as opposed to

       20    the Board work that we were talking about earlier?

       21    A    Yeah, absolutely.      I think the -- the initial assessment,

       22    as I said, we made as a group.          And we looked at what the

       23    opportunity set was, and determined that, because of the

       24    costs, we weren't going to be able to continue to fund money

       25    into Multi-Strat to make those payments.




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        1         So the Board asked me to take on trying to work out a

        2    process to sell those policies.          So, working with Fred Caruso

        3    of DSI, we hired a broker, after interviewing a couple

        4    different brokers.      We considered the views of the internal

        5    Highland team with respect to value and how to maximize that

        6    value.   We entered into a sale process for those policies, and

        7    we ended up with a number of bidders and broke it down to two

        8    bidders for the 13 policies, breaking up the policies to

        9    maximize the value.      They're only on eight lives, so it's not

       10    fair to call it a portfolio.         And so there's significant

       11    amounts of premiums that have to be paid on a monthly basis

       12    and going forward, and realizations on those policies are very

       13    uncertain because it's hard to take them over an actuarial

       14    methodology because there's only eight lives.

       15         We tried to consider other ways to finance those policies,

       16    but seven turned out to be, in our view, far and away the best

       17    net present value for the investors in the fund.

       18         The challenge that we had, as I mentioned, is the

       19    complexity of Multi-Strat was also layered with a loan from

       20    NexBank that was secured by four of the policies.               That $32

       21    million loan was also secured by the MGM stock owned by Multi-

       22    Strat.

       23         And then, as we got towards closing, we learned that one

       24    of the buyers wanted a more detailed title rep, and as we

       25    peeled through, we found a long-dormant UBS fraudulent




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        1    conveyance suit that had been brought against Multi-Strat.

        2    There was no lien on the policies, but it made it impossible

        3    for us to give the clean rep that the buyer wanted.

        4         And at this point, I was running that with Fred Caruso, at

        5    the request of the Board, and it became almost a full-time job

        6    except for the five other things that we have to do during

        7    April.   And we negotiated a variety of different -- well,

        8    considered a variety of different opportunities to try to

        9    complete the sale.

       10         First, I negotiated directly with UBS to see if they would

       11    agree to a release, and then when the funds, other than

       12    certain escrows which had to be paid out to NexBank as well as

       13    repayment of the Debtors' fund, (inaudible), that didn't -- it

       14    was very unfruitful in terms of those negotiations.

       15         I then moved towards a potential bankruptcy of Multi-

       16    Strat, where we would file Multi-Strat, have to do a 363 sale,

       17    have a DIP loan to service the NexBank monthly payments.                 That

       18    seemed very expensive.

       19         We also thought about doing it as not selling them, so

       20    perhaps we would a 360 -- a filing without a sale and try to

       21    maximize the value by holding onto the policies but have to

       22    get financing.

       23         Ultimately, we came up with a structure which was we

       24    escrowed funds for UBS, $10 million of funds, but they're not

       25    actually for UBS.      We preserved all of our rights to defend




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       1    the claims and we had paid down NexBank.             We allocated funds

       2    to make sure that we can pay NexBank for the next year before

       3    their loan comes due.       We allocated for all the expenses in

       4    Multi-Strat.     And then when we went back to the sellers, lo

       5    and behold, one of the two sellers balked.              Didn't -- or

       6    buyers, I'm sorry.      Balked.      Didn't want to complete the sale.

       7    And fortunately, our broker (inaudible) and Fred Caruso had

       8    had another buyer in the wings, kept them warm, and were able

       9    to complete the sale for $37 million.

      10           So that goes to:    How does this business function, what's

      11    the complexity of it, and what have I and the rest of the

      12    Board been doing?      That was virtually a month's worth of work.

      13    Q      And when did the Board ask you, if you recall, to

      14    undertake this project?       When did it begin and when did it

      15    end?

      16    A      Well, the initial project, around -- around Multi-Strat,

      17    we started analyzing it as a group in January, the first week

      18    we were there.     I started probably taking control of it

      19    sometime in mid-February, with Fred Caruso.              So, DSI was

      20    already on it.     We were looking to work with the Debtors' team

      21    as well as hire a broker.           We, as a group, as a Board, made

      22    the decision to sell the policies.            Ultimately, we sold them

      23    for about $37 million, which was -- which was more, a few

      24    million dollars more than the mark on the policies when we

      25    took them.




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        1    Q    Can you give the Judge a sense of your role, as distinct

        2    from the Board's role, how you went about completing or

        3    attempting to complete all of the tasks that you've described

        4    and the interaction with the Board and what the Board's role

        5    was in assessing all of that?

        6    A    With respect to the Multi-Strat policies?

        7    Q    Uh-huh.

        8    A    I think, you know, initially, it was a understand, for the

        9    three of us, understand the policies; understand the premium

       10    obligations; understand what the benefits, the potential up-

       11    sides to those policies were; and understand what the risks

       12    were if we were to fail to make a premium payment; what did

       13    the lapse period look like.         And we did that collectively.

       14    From there, all of the individual work around -- we came up

       15    with a strategy to sell the policies, and then the tactical

       16    work with Fred Caruso about how to execute sale of the

       17    policies and completing that sale through the issues NexBank,

       18    through the issues with UBS, resolving those issues, that

       19    became really my job.

       20    Q    Now, I do want to take a step back, because we kind of

       21    transitioned from the Board to the work that you were doing,

       22    and I wanted to ask:       You're seeking -- the Debtor is seeking

       23    to have you appointed as the CEO, right?

       24    A    Yes.

       25    Q    Can you just describe for Judge Jernigan your




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        1    understanding of the duties and responsibilities of the CEO

        2    position that we're seeking your appointment for?

        3    A    Sure.    From a high level, it's -- I apologize.             From a

        4    high level, it's what I said earlier, which is the Board sets

        5    the strategy, the CEO implements the strategy.              And so I work

        6    with the Highland team and the managers that I described

        7    earlier, whose function that is, to try to execute on that

        8    strategy.     So that's, that's the basic overlay of what we do.

        9    But that includes everything from, as I mentioned, personnel

       10    issues to COVID-19 protocol to determining whether we're going

       11    to sell certain assets and then how we're going to sell them,

       12    determining how we'll resolve issues like Multi-Strat.

       13         Another good example was the trading accounts that the

       14    Debtor had.     So, on the second or third week of January, or

       15    perhaps the third or fourth week, we determined as we were

       16    going through the asset review that the Debtor had two primary

       17    liquid or semi-liquid securities accounts, and those were in

       18    the Select account, which was a separate fund that had

       19    previously third-party investors but was effectively a hundred

       20    percent, 99 and change percent, owned by Highland at this

       21    point.   And an internal account, which was basically just

       22    HCMLP-owned and denominated securities.            These were generally

       23    at Jefferies.     Both of them employed significant margin.

       24                 THE WITNESS:    If this is too pedantic, Your Honor,

       25    please tell me if I'm going too deep.




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        1         But margin is, in essence, a way for a security purchaser

        2    to borrow money to facilitate the purchase and holding of the

        3    securities.     In essence, the lender, which in this case was

        4    Jefferies, a large, well-known, reputable financier and New

        5    York investment bank, was the Debtors' account holder.                The

        6    Debtor would select securities.          Jefferies would establish a

        7    haircut.    The haircut is really the -- how the lender

        8    determines how much they want to lend against the assets.                   So

        9    if there's a -- if there's a haircut of a hundred percent in

       10    use there, there would be no margin against that asset.                A

       11    haircut of 50 percent means the debtor will give you -- or,

       12    the lender will give you 50 percent of the funds you need to

       13    own and hold that asset and you put up 50 percent of the

       14    funds.

       15         And in a margin loan, the way that the lender protects

       16    itself is, each day, it assesses the value of the asset; it

       17    looks at the volatility of the asset; and then it asks for

       18    more margin if the asset value went down in the trading

       19    markets; and then you have a day or two or three, depending on

       20    the structure, to post the new margin.

       21         If you don't post the new margin, and this the way every

       22    margin loan works, the lender has the ability to seize the

       23    asset, sell it, and pay off its loan.           It will then give you

       24    the proceeds above the loan, if any.

       25         The debtor -- the lender does that by looking at both the




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        1    daily prices, to make sure that it can manage its exposure,

        2    but also it considers the volatility.            And what it does when

        3    it's looking at the volatility, and volatility is really a

        4    measure, the way -- the way that securities analysts look at

        5    it, is a forward year of the movement, potential movement of a

        6    security.    And that's how you set your haircut.               Because if

        7    the -- if the asset is very, very stable -- for example, your

        8    home -- if your home was a margin loan and your mortgage, say,

        9    is a margin loan, there wouldn't be much calling of margin

       10    every day, because if the lender loaned 80 percent of the

       11    value of your home, there may be house sales that go higher or

       12    lower, but they don't necessary move that much really quickly,

       13    particularly if these loans set what's called a threshold

       14    amount that allow a little bit of movement each way.

       15         The margin loans, though, are on securities that can move

       16    tremendously.     And what happened in February and then in early

       17    March, volatility spiked up, prices moved significantly,

       18    prices moved against the Highland positions.             So Jefferies did

       19    two things.     One is it called margin, because it was -- its

       20    equity cushion, in essence, was getting trimmed, and it wanted

       21    more protection.      Number two, it increased the haircuts, which

       22    it was entitled to do because it looked forward and said, The

       23    volatility in this market is worse than we thought.                 It will

       24    be a higher volatility and there's more risk to us that the

       25    asset could be worth less than the loan.




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        1         I started working with Joe Sowin, who's a head trader, a

        2    very accomplished trader at Highland.            He actually reports

        3    into the -- not on the Debtors' payroll but another payroll

        4    that we don't manage.       But he spends a ton of time working on

        5    Highland assets and trading those assets.             And Joe and I

        6    started working together to try to manage the Jefferies

        7    exposure.

        8         At one point, Jefferies actually seized the Select

        9    account.    Again, Select wasn't in bankruptcy, but Jefferies

       10    had safe harbor provisions or protections anyway and they

       11    could have done it.      We felt they were about to seize the

       12    internal account, and so we sent them a note that said that

       13    perhaps their safe harbors weren't as good as they thought.

       14    But, more importantly, here's our sale program.                 Jim Seery's

       15    going to take over the account, working with Joe, and we're

       16    going to manage it down.

       17         In the Select account, Jefferies took it over -- and this

       18    is not really a blame to Jefferies; it's part of the market --

       19    they sold out of that account pretty quickly.              They did work

       20    with us, but they were the selling position and covering their

       21    loan, and we lost virtually all of the value in that account.

       22         In the internal account, we effectively kept Jefferies

       23    from seizing it, gave them a sale program, and then day-to-day

       24    managed the sale of the more significant assets, as well as

       25    the hedges, which mean we traded pretty aggressively




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        1    throughout the day.      This was a full-day job, trading that

        2    account, with Joe as the trader and then me acting as the PM,

        3    effectively.

        4         We took that account, which if Jefferies had taken it over

        5    and done -- it had virtually the same securities, it had just

        6    a small number of securities, as well as some hedges which had

        7    significant basis risk related to the securities -- we took

        8    that account over.      If we'd gotten the same program as

        9    Jefferies, we would have lost $11 million.             We made about $23

       10    million.    So that swing, that swing was pretty significant.

       11    I'm sorry, we made about $11-1/2 million, about a $23 million

       12    swing than if Jefferies had taken it over.

       13         So that was another example of what I've been doing that

       14    the Board designated me to do to help run this business.

       15    Working with Joe, as well as research, as well as discussing

       16    these positions on a regular basis with Jefferies, weekly

       17    calls and daily e-mails, we were able to preserve that value

       18    in that account.

       19    Q    And so, just for context, this is happening in late

       20    February or early March, as COVID is hitting and the markets

       21    are volatile; is that fair?

       22    A    That's when we started taking it over.            The real -- the

       23    real -- the lay in the markets was about March 22nd or 23rd.

       24    Q    Uh-huh.

       25    A    And that's when it became a daily grind on those positions




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        1    for a solid month to make sure that we got it in a decent

        2    place.

        3           And remind you that we were trading those accounts within

        4    the strictures of the protocols.          So we didn't have the

        5    ability to -- the securities were -- rather less liquid.                 We

        6    didn't have the ability to just dump them, because we would

        7    have destroyed the market and taken significant losses.

        8           In addition, because of the protocols, we didn't have the

        9    ability to go out and buy hedges, even though we had a

       10    negative bias as to where the market was, particularly in

       11    those less-traded securities.

       12           And it's -- it was public that Highland (inaudible) and

       13    Highland (inaudible) was in bankruptcy, so you can be certain

       14    that the traders were leaning on those -- those securities

       15    from short decisions.       So it was a very difficult, time-

       16    consuming effort, and a great job by Joe.

       17    Q      When you talk about a time-consuming effort, how would

       18    you -- how would you characterize the amount of time you spent

       19    on this project in the month of March?            Was it a full-time

       20    job?

       21    A      Yeah.   Yeah.   I mean, full-time is relative, right, but it

       22    was -- it was a lot of time.         So we would start out, you know,

       23    like everybody else who is in those markets and do it the same

       24    way, it's pretty tried and true:          By 6:30 in the morning,

       25    you're starting to look at what the EOP, what Asia did, where




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        1    European markets were opened up, what the futures were looking

        2    like, looking at your own securities, checking all of the

        3    mail, talking to your research folks.            To the extent that you

        4    know that there's other investors in those investments, we

        5    reached out to those -- I have a number of contacts in the

        6    market who are in these kinds of assets -- to see what they're

        7    thinking and how they're looking at value.             And then set up a

        8    trading strategy with Joe, and then execute on it every day.

        9    And that trading strategy, again, was not static.               So during

       10    the day, a dynamic trading strategy has to be adjusted

       11    depending on what the market is doing, and Joe was excellent

       12    at it.

       13    Q    I think you mentioned the protocols earlier.               Can you just

       14    talk a little bit more about how you and the Debtor

       15    communicated with the Committee through this process of

       16    addressing the Jefferies mortgage -- mortgage defaults?

       17    A    Well, every day, we sent a report to -- to the Debtor -- I

       18    mean, to the Committee, I apologize -- with our positions in

       19    each of the accounts and tell them exactly what we're doing,

       20    what the plan is, what we're set up to do, where we think it's

       21    going, and what assistance we might need through the

       22    protocols.

       23         I think it became really difficult for the Debtors'

       24    professionals -- the Committee's professionals to deal with

       25    these issues, because it's just not what they were used to




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        1    doing every day.      So we would report to them.          The Committee

        2    met weekly.     We can -- provided direct information to

        3    Committee members when they -- you know, there's members on

        4    the Committee who are very versed in these types of assets.

        5    We would talk to them directly, I would talk to them directly,

        6    and tell them exactly what we're doing and why and get their

        7    input, because there was no magic special sauce as to exactly

        8    what to do.

        9    Q    And would you characterize the process as transparent and

       10    open between you and the Committee and its members?

       11    A    Oh, oh, absolutely.       You know, we were -- they were

       12    constructive.     I wouldn't say that the Committee wasn't

       13    constructive.     I think the difficulty the Committee had, which

       14    is what, you know, any third party would have, is that:                Why

       15    are we going to put more money into these accounts when the

       16    value is going down, and what's -- what's your -- what are

       17    your price targets?        How do you think about those assets;

       18    who's the analyst who's working on it; how do they compare to

       19    other assets?     So it wasn't an easy process for the Committee

       20    to get their arms around, either.

       21    Q    Okay.

       22                 MR. MORRIS:    Your Honor, we have other transactions

       23    that we could talk about if you think that would be useful, or

       24    we could continue to push this forward.

       25                 THE COURT:    You can continue to push it forward.




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        1    Thank you.

        2                 MR. MORRIS:   Okay.

        3    BY MR. MORRIS:

        4    Q    Then let's transition for a moment just about your

        5    recollection as to kind of when and how, you know, the

        6    discussions with the Board and the Committee evolved with

        7    respect to your taking over as CEO.           Did there come a point in

        8    time that you can recall when the Board asked you to consider

        9    that?

       10    A    Yeah.    The Board asked me to consider it I would say

       11    probably late January or early February.            And the initial

       12    discussions, even before, you know, before we were selected.

       13    So, as John Dubel and I had been selected by the Debtor and

       14    the Committee, we talked about the need for one central point

       15    of management for this company.          That it's 70 employees and

       16    diverse assets, diverse business practices.             How are we going

       17    to mold that as a Committee?         It really needed somebody to

       18    execute the strategic plan that the Board put in place.

       19         And so John had asked me about that even before we were

       20    selected.     Committee counsel asked me about it.              So there was

       21    -- there was some, at least away from me, there was some view

       22    that perhaps I was going to be the person that was most

       23    likely, if it was needed.

       24         My view in early February was that, you know, we were

       25    effectively, as the phrase goes, drinking from a fire hose,




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        1    and I wanted to get a better sense of who the folks were at

        2    Highland; what their responsibilities are; how they performed;

        3    what I thought of them as performers; how -- I had -- or,

        4    having some idea what the claims are and how that process

        5    would work; and could we make this a success?

        6         So, early on, in January and in February, as we started

        7    having these discussions, I was in the Highland offices at

        8    least three, usually four days a week.            And I was there from

        9    7:30 in the morning until 6:00 or 7:00 at night every day.

       10    And that gave me just a different feel for exactly how the

       11    organization was running and the issues that were coming up

       12    every day.

       13         That evolved into March where, after I took over the

       14    securities accounts in early March and then took over the

       15    Multi-Strat issues, that John and Russ Nelms pushed me to

       16    really consider stepping up fully to the CEO role.                So, by

       17    early April, I think it's the first week of April, we actually

       18    -- we put it forth and go to the Committee.             So we started

       19    negotiating what potential terms were, how it would work.

       20         You know, one of the concerns that I had, you know, we had

       21    no idea, and I suppose we still don't, how the COVID-19 issues

       22    will play out and how that would both -- because at the time

       23    they were really affecting New York, where I'm based and I

       24    live, and less so in Dallas.         But by mid-March, it was pretty

       25    clear that the whole country was being affected.                And now,




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        1    obviously, it's hitting all over.

        2         And hopefully that will settle, but what we did learn, and

        3    I think a lot of businesses learned, is that particularly

        4    these types of service businesses that function electronically

        5    in lot of respects, even when they are in an office, because

        6    you're in front of your screen, that we are very lucky to have

        7    these types of roles where we can really perform the job, if

        8    not equally well, pretty darn close to how you perform it when

        9    you're at the office.       And so that issue subsided a little bit

       10    in terms of how I would interrelate -- not the issue going

       11    away, obviously -- but how I could interrelate and work with

       12    the team to drive the business, even if I was doing it from

       13    New York.

       14    Q    And have you continued to play a leadership role from the

       15    time you spoke with your fellow Board members in early March

       16    until the present?

       17    A    I have.    And I think one of the things that the Committee,

       18    you know, recognized was that John and Russ, experienced

       19    professionals, were willing to step back and let me take the

       20    day-to-day working with the Committee or presenting to the

       21    Committee.     So we do have weekly Board meetings and we do have

       22    almost daily Board calls, and then, without an official

       23    meeting, we meet on the phone virtually every Saturday or

       24    Sunday, sometimes both, with the three of us, to go through

       25    what's happened every -- each week, how the plan has evolved




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        1    and where we're pushing it.

        2         But in terms of the presentations to the Committee, I took

        3    the lead on those in both designing and working with the Board

        4    then and then implementing them and laying them out for the

        5    Committee, as well as the individual negotiations.

        6         So, early on, we determined that we had to try to figure

        7    out a way to push this case forward, notwithstanding that we

        8    weren't getting -- we didn't see a lot of movement from any of

        9    the parties, frankly, on trying to figure out a way to

       10    coalesce around a direction.         So we designed a program that we

       11    laid out for the Committee in which we considered three main

       12    areas to consider for a plan.          And I took the lead on doing

       13    that.

       14    Q    So, let's talk a little bit about the claims resolution

       15    process and the formulation of a plan.            Have you played any

       16    role in the claims resolution process?

       17    A    Well, we haven't actually resolved any claims completely

       18    yet, but we're very close on one, and I've taken the lead on

       19    doing that.

       20         On the other two, I've been involved heavily with the --

       21    both counsel and with DSI in analyzing the claims.               As well as

       22    with the rest of the Board, frankly.           The -- you know, we've

       23    got a significant amount of expertise between John Dubel and

       24    Russ Nelms with respect to how to think about these issues in

       25    the context both of a bankruptcy, obviously, with Russ, and in




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        1    the context of both a restructuring and in the business with

        2    respect to John.

        3         So we've gang-tackled those, again, effectively, all

        4    analyzing the various issues with respect to these claims.

        5    But in terms of having the direct negotiations, particularly

        6    on two of them, I've taken -- I've taken more of the lead

        7    about where we could go.        And if you -- particularly with my

        8    background in restructuring, and having wrestled with

        9    substantive consolidation, alter ego, piercing the veil since

       10    1988 or '89, you know, some of the issues that have arisen in

       11    this case are very, very familiar to me.            I've spent a

       12    significant part of my career dealing with those.               So I've

       13    taken the lead on those types of issues.

       14         I think that where I was going was in terms of structuring

       15    potential outcomes for plans.          And we are -- you know, we've

       16    been slowed down, as I think Jeff Pomerantz mentioned last

       17    week, to a fair degree by COVID, in that the business impacts,

       18    we can go into, and Jeff touched on some of those, but the

       19    social impacts with respect to negotiating are hard to -- are

       20    hard to understate.      The -- you can run a business like this

       21    through your screen.       It's very difficult to simply negotiate

       22    by phone or by video.       The face-to-face, at least in my

       23    experience, makes a big difference in moving parties, and we

       24    haven't had as much of that.

       25         What we've tried to do recently, starting in May, is we've




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       1    put together a program for the Committee, and we'll walk them

       2    through what I think are the -- what we determine as a Board

       3    and then we laid out the specifics -- I didn't; DSI -- of what

       4    the options are in this case.

       5         And I think number one was the status quo.             Do we maintain

       6    this case status quo, continue to run the business, and then

       7    try to negotiate, resolve, mediate, or litigate, first through

       8    dispositive motions, then through something more significant

       9    if we can't do it through dispositive motions, these claims?

      10         The Debtor right now on an operating basis does burn cash.

      11    I can go into the specifics, but the Committee knows them, and

      12    I'd prefer to do those in camera if we -- if the Judge would

      13    like that.    We do burn cash on an operating basis, but not

      14    that much.    The Debtor has about $30 million (inaudible) and

      15    the business does run, and generally each year the operating

      16    burn, if you will, which is, in compensation, is filled by

      17    selling some assets that have appreciated in value.                And the

      18    Debtor runs real -- with those accretions, run roughly

      19    breakeven.

      20         The problem in this case is that we are burning a

      21    significant amount of bankruptcy professional fees.                And it's

      22    the lament of creditors and business operators and the

      23    bankruptcy bar.      I think, certainly, the judges that I see for

      24    a long time.     And the percentage -- the cost of the cases

      25    keeps going up and the percentage of the assets keeps going,




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        1    but particularly if the asset values are going down.

        2         So the status quo didn't make a lot of sense unless we

        3    were going to get very swift movement from the parties, and I

        4    mean all sides, to try to resolve the case.

        5         The other type of outcome we thought about in terms of a

        6    plan was a downsiding model.         Downsizing model, excuse me.            In

        7    that model, we would try to significantly cut headcount, try

        8    to significantly cut expenses.          Run the business as leanly as

        9    possible.    And then try to go through those steps with respect

       10    to resolving the claims.

       11         Again, the problem, the problem with that is resolution of

       12    those claims was uncertain and could take a long time, unless

       13    we had significant movement from either side.              But, moreover,

       14    in terms of operating the business, we determined that with

       15    respect to both the managed accounts and shared service

       16    agreements, we really couldn't effectively do the job that the

       17    Debtor does with a smaller staff.           Truth is, even at 70

       18    people, the HCMLP staff is pretty lean.            It's a really good

       19    team and they are very efficient and they've really proved it

       20    through working offsite, you know, through the pandemic.

       21         But we really thought that if we -- and analyzed it.                If

       22    we were to try to cut that team and provide the services, we

       23    would fall down.      So we would breach the duties or potentially

       24    incur liabilities under those various contracts.

       25         The third area that we took a look at, which was what we




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        1    called the subservicing model.          In this model, we would try to

        2    separate the business of the Debtor, which has a small

        3    operating loss, but it's still material money, from the asset

        4    management.     That way, you could hold onto the assets for the

        5    benefit of the creditors or the Debtor, depending on where the

        6    claims comes out, still provide the services to those third

        7    parties under the subservicing agreements or the management

        8    agreements.     You wouldn't make money on that, but you'd get

        9    rid of the operating burn.

       10           And that model had a number of issues, but we've sort of

       11    evolved that model to what I think has been referred to in

       12    court as the debtor-creditor monetization vehicle.               So a

       13    little bit of a cumbersome name, but the idea would be to try

       14    to separate the assets, which potentially are the ways to pay

       15    the creditors, depending on where claims come out, and then --

       16    and the operations, and make sure you can continue the

       17    operations without a heavy burn.

       18           That model also permits us to cut, we believe, bankruptcy

       19    operating expenses significantly.           So, right now, because of

       20    the nature of the case, we have two professionals doing every

       21    job:    Committee professionals and Debtor professionals.               We

       22    would be able to reduce that cost by putting those into one

       23    entity that'll be a trust-like structure to service the

       24    business, resolve the claims, monetize the assets.

       25           And, finally, something I started working on -- I'd say on




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       1    my own, but that wouldn't be true -- with the DSI team,

       2    particularly the two -- we have two excellent analysts on the

       3    case.   A very detailed model of what I think has been referred

       4    to maybe even in court as a potential grand bargain plan.                 And

       5    that plan looks at monetizing the assets over what period we

       6    believe that we could get that done.           (inaudible) we're

       7    looking at the values that we could achieve as well as setting

       8    out what we think are reasonable numbers for the claim

       9    distributions and then how they would be made.

      10          Now, on the asset side of the ledger, we have a pretty

      11    good understanding.      We obviously know where the assets are

      12    bought, and we have a pretty good sense of what the current

      13    market looks like for those assets.           We're not a forced

      14    seller, but we have -- we have been involved in processes

      15    around a number of the assets and have a good sense of where

      16    values are and how long it would take to achieve those values.

      17          You don't have to sell an asset as well to get money from

      18    it.   There might be ways to finance those assets.              Although,

      19    to be sure, in this environment, financing particularly these

      20    types of assets has become very, very difficult.

      21          The other side of the equation of the claims, and we're

      22    using our best estimate of where we think those claims come

      23    out in terms of payment, the creditors often have a different

      24    view as to what they would like those claims to come out with.

      25    So we're trying to figure out, through negotiation and




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        1    discussion, how we get those two sides closer together.                And

        2    that, that would be the grand bargain plan.

        3           And I think where we're really focused now is that status

        4    quo doesn't make sense.       We've gone that way too long.

        5    Downsizing doesn't work because of the complexity of these

        6    operations and the contractual obligations that the Debtor

        7    has.    And it's really a grand bargain plan or a Debtor

        8    monetization, a debtor-creditor monetization vehicle, which

        9    would be structured like a trust and still be able to service

       10    the business while resolving the claims.

       11    Q      Taking into account the uncertainty because there are

       12    still some options being considered, in your leadership role,

       13    have you -- do you have a sense of timing?             Is there a

       14    timeline by which certain milestones are at least

       15    aspirational, if not achievable?

       16    A      Well, I don't think I'm telling anyone what they don't

       17    know, that deadlines get people to act and make decisions.

       18    Sometimes they're good decisions, sometimes they're not, but

       19    we're going to push forward on both of these plan

       20    opportunities now.      So we intend to file a debtor-creditor

       21    monetization vehicle plan, and we'll keep pushing the parties

       22    towards settlements.

       23           You know, as we say on the Multi-Strat negotiations, until

       24    it was clear that we were either going to default, because we

       25    didn't have the money to pay those premiums, or we're going to




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        1    file Multi-Strat as a bankruptcy, it was hard to get folks to

        2    really come to the table and think about how to settle that

        3    issue.

        4           These issues in regard to the total case are much more

        5    complicated.     We're going to file a plan.          We believe that

        6    will set a bit of a crucible to folks to think about how to

        7    move forward with their claims.          We are, as Jeff Pomerantz

        8    mentioned last time, agreed in principle, but we have some

        9    issues to work through with Redeemer that we hope to be able

       10    to resolve by this week.        And so that's my internal goal, but

       11    I expect to be able to do it.

       12           The reason that's complex is not that it's simply a -- the

       13    arbitration award is not simply a money award; it actually

       14    requires certain offsets, it requires certain assets be sold

       15    and paid for.     And we're trying to carve our way around some

       16    of those, because they (inaudible) agreement, because they're

       17    -- they're more difficult than simply exchanging cash for

       18    assets, because we don't have the ability to do that right

       19    now.    We don't have the cash, and we're in bankruptcy.

       20           So I do believe that we can get these done.              And then if

       21    mediation is something that would work, great.              We're going to

       22    try to do it without mediation as well.            Going to try to do it

       23    before we get to mediation and resolve claims.              And if we're

       24    unable to do that, hopefully mediation will push it forward or

       25    we have to have a fallback, which will be dispositive motions




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        1    with respect to certain of the claims.

        2         But we expect to have and I think we have a number of

        3    claims objections that have (inaudible).            We've resolved

        4    those.   We're really down to three claims.            And one of them is

        5    almost done.

        6    Q    All right.     At the last hearing, --

        7                MR. MORRIS:    Your Honor, that really does finish the

        8    substance of the testimony with respect to this motion, but at

        9    the last hearing Your Honor raised some questions about PPP

       10    loans.

       11                THE COURT:    Yes.

       12                MR. MORRIS:    Would you like me to just take a moment

       13    with Mr. Seery to address that?

       14                THE COURT:    Yes, please.

       15                MR. MORRIS:    Okay.

       16    BY MR. MORRIS:

       17    Q    Mr. Seery, you're aware that the Judge raised some

       18    questions about whether and to what extent the Debtor may have

       19    been involved in any of the PPP loans?

       20    A    Yes.

       21    Q    And have you done any work to try to figure out the

       22    answers to the questions the Judge posed?

       23    A    Well, work in response to the question, but also work

       24    previously.     So, just a -- quickly, as I think we all know,

       25    the PPP program was put forth to try to give companies cash




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        1    that they had to use for employee payments, to continue to

        2    keep payroll supported and to continue to have folks hold

        3    their jobs.

        4         We have -- and I think the Business Insider article, which

        5    I'm not familiar, I know the publication is not something I

        6    seen much, but I'm not familiar with the specifics of that

        7    article, and -- but any PPP, away from the assets that HCMLP

        8    actually owns or controls.          And we've got -- we've got three

        9    -- and I think there's some substance to the article.                But

       10    we've got three businesses.          And these are -- this is public,

       11    but I'll go into the -- sort of the obvious reasons without

       12    going into the specifics of the business around the ones that

       13    I know of well.

       14         Carey Limousine is a business that transports folks in

       15    high-quality cars from airports or from events or between

       16    businesses.     It was hit severely by the COVID-19 pandemic.,

       17    particularly with respect to the air transportation, which was

       18    really one of its biggest areas.          The business,

       19    notwithstanding Uber and the other type of shared ride

       20    services, had actually done quite well, and Highland was an

       21    owner of a significant portion of that business related to

       22    some loans that it held in various funds.

       23         That business's management, with its own outside counsel,

       24    sought a PPP loan.      Then our director came to us and discussed

       25    with the Board the propriety of that loan.             We engaged outside




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        1    counsel, not bankruptcy counsel but counsel that had

        2    particularized expertise in PPP, and spent a ton of time

        3    really understanding both the law as well as the specific

        4    regs.   Carey did get a PPP loan.         It is potentially

        5    forgivable, depending on how it's used.

        6         The second entity that was similar but didn't come to the

        7    Board, we have a business called SSP, which is an excellent

        8    highway business that provides equip -- materials for a lot of

        9    different road construction, but primarily highway road

       10    construction.     Very well run business.         That entity got a PPP

       11    loan as well, primarily worried about whether the construction

       12    on the highways would shut down.

       13         So it's been -- I don't believe that's really happened in

       14    Texas, which is where most of their business is, but they

       15    qualified for that loan.        They did not come to the Board.           A

       16    very specific carve-out, because one of the interest holders

       17    that we share that position with is a Small Business

       18    Administration fund and, so it was very clear that it was

       19    entitled to that loan.

       20         Then there's a third entity called Roma that got a very

       21    small PPP loan.      We don't control the entity and we were not

       22    involved in its acquisition of that loan.            Again, it would

       23    have to be used as required.

       24         One of the things I want to make sure that is in the

       25    record and for Your Honor with respect to Carey, we spent a




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       1    lot of time as a Board focused on, one, whether it was legal

       2    to get that loan, first.        We're doing everything right, by the

       3    book.   We're not going to play in the gray.            There is no gray.

       4    There's black and white in these areas.

       5         Number two, was it ethical, was it appropriate that we

       6    went and got this loan or that Carey went and got this loan?

       7    Management, with the outside counsel, was sure that we could

       8    do it, but we didn't want to take their word for it, so we

       9    went out and got our own counsel, third-party counsel for the

      10    Board to make sure that this was appropriate.

      11         Three, the requirements around these loans are significant

      12    and the penalties for violating them are severe.                So if you

      13    get a loan by mistake, are you really required to pay it back?

      14    And if you're mistaken, that will be expensive, but it won't

      15    be a real penalty.      But if you get a loan that's really

      16    inappropriate, that you shouldn't have gotten, that was a

      17    material misstatement of any of the facts around it, the

      18    penalties are significant.          And not only in terms of the

      19    opprobrium that you'd suffer in the press, because that's

      20    coming, but in terms of how you use the funds.

      21         So they can only be used in very specific ways, and we

      22    were exceptionally careful around this program.

      23         The basis of the program is to keep people employed.                And

      24    with a business like Carey Limousine in particular, where

      25    there's a significant amount of debt, where the business is




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       1    shut down by COVID, where we didn't have the funds to put into

       2    Carey, nor even if we wanted to, we might not have been able

       3    to do it without the Committee's approval because of the

       4    protocol, a PPP loan was not only legal but it was

       5    appropriate.     And it's being used in that fashion, meaning to

       6    keep employees employed.

       7    Q    Thank you very much, Mr. Seery.

       8               MR. MORRIS:     Your Honor, I have no further questions

       9    of Mr. Seery.     Does the Court have any questions?

      10               THE COURT:     I actually have a follow-up question

      11    regarding the PPP, just to kind of put a bow on this.

      12                           EXAMINATION BY THE COURT

      13               THE COURT:     I'm looking at the demonstrative aide.             I

      14    don't know if you, Mr. Seery, have it there handy.

      15               THE WITNESS:      I do, Your Honor.

      16               THE COURT:     Okay.     So I'm turning to Page 6, the

      17    chart, the subchart, Investments and Subsidiaries.               The third

      18    column, Privately-Held Equity, Various Companies.               I mean,

      19    that would be the type of investment entity we're talking

      20    about here that got the PPP loan:           Carey Limousine, SSP, Roma?

      21    Nothing that was -- well, I'm going to say Highland affiliate.

      22    Affiliate, that's a dicey term, but that's the type of entity

      23    in the organizational structure we're talking about, correct?

      24               THE WITNESS:      Those are the ones -- I want to be very

      25    careful, because I know what I know and I know I won't




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        1    represent anything that I don't know.

        2         So, with respect to the entities that HCMLP, the Debtor,

        3    controls, that's absolutely the case.           I don't know, and I can

        4    try to find out, but they are not HCMLP-controlled entities.

        5    Whether other entities in the related-party complex received

        6    loans -- so, obviously, HCMLP did not receive a loan.                And the

        7    only entities that we were involved with is the ones I

        8    mentioned to you.

        9         And I should mention, there are other entities in the

       10    privately-held equity that got other government money, in the

       11    medical space, that they didn't even ask for.              HHS pushed

       12    forward payments to folks in the business, medical healthcare-

       13    providing businesses, to assure that they had liquidity to

       14    provide.    And so -- and this has been described to me exactly

       15    this way, that they woke up in the morning and found money in

       16    their account.     And with one of the companies, they actually

       17    returned a bunch of the money because it was from a dormant

       18    provider number and they didn't believe it was appropriate to

       19    keep that money.      So that was one of the entities that we

       20    control with other investors.

       21         But with respect to our HCMLP entities, these are the only

       22    ones I know.     With respect to other related entities that

       23    might be in the family of businesses, for lack of a better

       24    term, that were alluded to in the Business Insider article, I

       25    don't know that answer.       So, I -- if I -- I can try to find




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        1    out.    I just don't know the answer, Your Honor.

        2                THE COURT:    All right.      Thank you.     Well, this has

        3    been extremely helpful.

        4           I should ask does anyone have any questions of Mr. Seery?

        5    The Committee counsel, perhaps?          Anyone else?

        6                MR. CLUBOK:    Your Honor, this is Andrew Clubok.             In

        7    light of the testimony, I do have some questions on behalf of

        8    UBS.

        9                THE COURT:    All right.      Briefly.    Go ahead.

       10                MR. CLUBOK:    Okay.

       11                MR. MORRIS:    Your Honor?      Your Honor, I'm sorry to

       12    interrupt, but there's no objection lodged here.                If Your

       13    Honor wants to permit it, that's obviously the Court's

       14    prerogative.     But as just a point of order, having not lodged

       15    an objection, I don't know what right anybody has to cross-

       16    examine the witness.

       17                THE COURT:    All right.      Well, that's why I said

       18    briefly.    I think that Mr. Morris makes a good point, Mr.

       19    Clubok.    You could have filed a written objection, response,

       20    comment, or something.       So, you're a party in interest.           I'll

       21    give you a little bit of leeway here.            But please keep it

       22    brief.

       23                MR. CLUBOK:    Yeah.     Thank you, Your Honor.        It's just

       24    some of the things that Mr. Seery said which we didn't expect

       25    to hear that has raised a few questions that I just very




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        1    briefly will try to address.

        2                                CROSS-EXAMINATION

        3    BY MR. CLUBOK:

        4    Q    Mr. Seery, good afternoon.         I'm Andrew Clubok, Latham &

        5    Watkins, on behalf of UBS.

        6         Mr. Seery, you talked about the fiduciary duties you've

        7    understood yourself to have with respect to certain parties,

        8    and my question to you is:          Have you understood, since the

        9    beginning of your service as an Independent Director of

       10    Strand, that you had fiduciary duties to the unsecured

       11    creditors of the Debtor?

       12    A    It's a -- it's a -- the answer is I understand the

       13    fiduciary duties very well.         I think we have fiduciary duties

       14    to the estate.     So Highland -- what I tried to explain is that

       15    Highland, as an asset manager, has very specific fiduciary

       16    duties that are set forth in (inaudible) in the cases and the

       17    rules that have interpreted it.          We, as directors of Strand,

       18    have a duty to the estate.

       19         I don't think it's -- I don't think it's fair, and I'd

       20    have to subject myself to some education from counsel, I don't

       21    think it's fair to say we had a specific fiduciary duty to a

       22    particular creditor.

       23         So, for example, if I had a fiduciary duty to UBS, it

       24    would be very difficult for me to object to UBS's claim.                 It

       25    would be -- I don't know how I could do that as a fiduciary.




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        1    When the claim is crystalized in the estate, I believe that we

        2    have fiduciary duties to each and every interest holder in the

        3    estate.

        4    Q    My question is a little simpler, and I just -- well, I'm

        5    actually not asking legally whether you do or not.                I'm asking

        6    what your understanding has been since your role.                Have you

        7    conducted yourself in a way in which you have treated your

        8    obligations as though you have a fiduciary obligation to the

        9    unsecured creditors?

       10                 MR. MORRIS:    Objection to the form of the question.

       11                 THE COURT:    Sustained.

       12                 MR. CLUBOK:    Okay.

       13    BY MR. CLUBOK:

       14    Q    You said that you believe that you have, with respect to

       15    Multi-Strat, which is an entity that you manage, you said that

       16    you understood yourself to have fiduciary duties to the

       17    redeemers of Multi-Strat.           Do you recall that?

       18    A    Yes.

       19    Q    Yeah.    And Multi-Strat is outside of the estate, but HCM,

       20    the Debtor manages Multi-Strat.           And you said because of, you

       21    know, your role, you personally feel as if you have a

       22    fiduciary duty to the redeemers in Multi-Strat, correct?

       23    A    I --

       24                 MR. MORRIS:    Objection to the form of the question.

       25    Mischaracterizes the testimony.




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        1               THE COURT:     Sustained.

        2               MR. CLUBOK:     Your Honor, I believe that the

        3    transcript -- I believe Mr. Seery said in direct that he

        4    considered himself to have fiduciary duties with respect to

        5    the redeemers of Multi-Strat.          The transcript will show it.          I

        6    don't know what the objection is.           Maybe I misstated when I

        7    asked my question, but I'm just starting --

        8               THE COURT:     Okay.

        9               MR. CLUBOK:     I'm just trying to understand --

       10               THE COURT:     All right.      I'll let you rephrase the

       11    question, but this -- I've probably -- I may have made a

       12    mistake in letting you ask questions, because this is about

       13    the propriety of him being CEO and the reasonableness of

       14    compensation.     This isn't a discovery opportunity.            So I'm a

       15    little confused the relevance of what you're asking.                Could

       16    you address that for me?

       17               MR. CLUBOK:     Sure.     Your Honor, Mr. Seery on direct

       18    described what he understood his fiduciary duties to be.                 I

       19    think we -- it made me wonder, he didn't mention the unsecured

       20    creditors or what he believes his fiduciary relationship is,

       21    if any, with the creditors, unsecured creditors.                I would -- I

       22    think it's a fair question to ask what his understanding is,

       23    because now he's going to take on a new role as CEO, and I

       24    think it's appropriate for everyone to understand, so we know

       25    when we're dealing with Mr. Seery --




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        1               THE COURT:     Okay.

        2               MR. CLUBOK:     -- what his --

        3               THE COURT:     I think -- I think he --

        4               MR. CLUBOK:     -- he understands -- what he understands

        5    his fiduciary duties to be.

        6               THE COURT:     I think he answered the question, and

        7    frankly, I think he answered it correctly.             His fiduciary

        8    duties go to the estate, right?          And the creditors are the

        9    beneficiaries of his actions in that regard, right?                So I

       10    think he correctly answered the question already.               All right?

       11    Next question.

       12               MR. CLUBOK:     Okay.     He says that there's three

       13    aspects of the business he's been managing: $300 million,

       14    roughly, of Highland's own assets; the fact that they manage

       15    $3 billion in other assets, I think in managed assets; and

       16    then they have shared services for $6 billion in assets owned

       17    by related entities, mostly.

       18    BY MR. CLUBOK:

       19    Q    For those three separate businesses, I just want to

       20    briefly understand:      With respect to the first one, for

       21    example, there's $300 million, you said, roughly, of

       22    (inaudible) assets.      Roughly what were the value of the assets

       23    when you started your role in January of 2020?

       24    A    It's hard to compare apples to apples on this because

       25    there are certain assets that we've taken out that didn't




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        1    change in value.      So I would say they were carried on the

        2    balance sheet at different levels.           I think a good rough

        3    number would be in the $500 to $600 million area.

        4    Q    Okay.

        5    A    And the biggest -- the biggest movants in asset values

        6    have been on securities, both ones that we continue to own and

        7    the accounts that Jefferies -- that were levered, and those

        8    were shown as unlevered marks on the balance sheet and the

        9    losses that were incurred there.          And then with respect to

       10    certain of the PE assets and then a major movement on a

       11    related-party loan, where the Board, through analysis that we

       12    did with DSI and others, believes that loan is likely to be

       13    worthless.     Likewise, the claim of that entity we believe is

       14    likely to be worthless.

       15    Q    And then to the extent the assets, you say, have a rough

       16    value of $300 million, you alluded to significant professional

       17    fees, bankruptcy costs, administrative fees, the Debtor is

       18    burning cash.     My question is, If it's $300 million today

       19    roughly of total value of assets, what's your current best

       20    estimate of the total amount that will be available to be

       21    distributed to the creditors net of those -- that burning of

       22    cash and the admin fees and the other issue that you

       23    mentioned?     What is your current expectation of the total

       24    amount that will be able to be distributed to the creditors?

       25                 MR. MORRIS:   Your Honor, just -- I just object to




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        1    this line of inquiry.       It's like free discovery, as Your Honor

        2    suggested earlier.      I don't know what it has to do with Mr.

        3    Seery's work, his qualifications, the compensation

        4    arrangements.     And I think it's inappropriate.

        5               THE COURT:     Okay.     I'll overrule and allow this one

        6    remaining question, but that's going to be it, unless your

        7    next questions pertain to the employment or compensation

        8    structure.

        9               THE WITNESS:      Yeah, I don't have a crystal ball as to

       10    what the assets are going to be worth.            I think that they are

       11    fairly marked right now, and we have significant discovery

       12    that we've had with respect to a number of the assets and

       13    marked at views as to their value.           So I think that we're at a

       14    pretty good base value, assuming that we don't rush into

       15    forced sales of assets.

       16         So, as I know the Court is aware and I hope you're aware,

       17    when you look at asset values, and you look at them on a

       18    liquidation basis, the numbers are normally much lower than

       19    when you look at them as selling them on a more controlled

       20    basis.   If you have liquid securities, that's not the case.

       21    So if I have $500 million of Apple at $363 today, it's

       22    probably a good chance that it'll be worth something different

       23    in a month, something different in two months.              But if I need

       24    to move my position, I can do that.

       25         These assets are much more difficult to move.               And the act




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       1    of selling them often changes the value, which is why we

       2    engage professional bankers to help move, first, those assets.

       3         So I just don't have a good crystal ball.             I think the

       4    valuations that we have now are pretty good.             I think they've

       5    been scrubbed well.      But that doesn't mean that certain of

       6    these assets will maintain the exact value they have.                So, I

       7    gave a good example of Carey Limousine, which is a very small

       8    asset but it's an easy one to understand because everybody can

       9    relate to a car service company that does, you know, a little

      10    bit more high-end and is focused on the airport travel and how

      11    that's been impacted.

      12         That asset value has gone down precipitously, even though

      13    it was small, because of that.          So I don't -- I don't really

      14    have a great crystal ball as to what's going to happen.                If

      15    we're very successful in the fourth quarter and the economy

      16    stabilizes and the COVID vaccines are out in record time and

      17    move forward, then I think we've got potential for upside.

      18    But right now, in the current environment, I think we're

      19    marked fairly.

      20    BY MR. CLUBOK:

      21    Q    Yeah.    But my question really wasn't about the value of

      22    the assets.     I realize those could go up or down.            And you

      23    think they're fairly marked.         My question was, What's the

      24    total amount of setoff from those assets to the extent the

      25    bankruptcy fees you alluded to, the burning of cash on the




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        1    other businesses, you know, how much, you know, net -- what's

        2    the amount that will come off of those assets or that should

        3    be -- that we should assume will be deducted from those assets

        4    because of the professional fees that have been incurred or

        5    you predict will be incurred through the end of the year and

        6    the burn of cash that you mentioned, et cetera?

        7         I'm trying to understand how you supervised -- because

        8    you've managed those expenses as well as the assets, right?

        9    And so I just think it's important for us to understand, at

       10    the end of six months, and then how things are set for the

       11    rest of the year, what's the total amount of, you know, call

       12    it liabilities or costs associated with running the business,

       13    running the business and at a cash burn rate, bankruptcy fees,

       14    et cetera, that we --

       15               THE COURT:     Okay.     I'm going to cut it off.        I'm

       16    going to cut it off.       That, in my view, is going a little too

       17    far afield.     That's a discussion outside the courtroom.             So,

       18    thank you, and we're going to see:           Does the Committee have

       19    anything they want to ask?

       20               MR. CLEMENTE:      Your Honor, Matt Clemente on behalf of

       21    the Committee.

       22         I certainly do not have any questions to ask.               I do have a

       23    couple of statements that I want to make, but I don't know if

       24    now is the appropriate time or if there's going to be further

       25    testimony.




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        1                THE COURT:    Okay.     I think there might be another

        2    witness or two, but we'll let you make your comments at the

        3    appropriate time.

        4                           EXAMINATION BY THE COURT

        5                THE COURT:    Mr. Seery, I meant to ask, I forgot to

        6    ask:    You've mentioned a couple of times the Debtor, Highland,

        7    has 70-ish employees.       Has the number gone down since the case

        8    was filed, is Highland losing employees, or is it staying

        9    stable?

       10                THE WITNESS:     We lost -- we lost seven employees.

       11    There were some that were severed for performance reasons.

       12    That happens every year.        There were some that just moved on

       13    because they decided to move on.          And that some -- and then we

       14    had some that, because of the bankruptcy, we lost.               We added,

       15    I think, one or two employees that we're pretty excited about

       16    in the fund valuation area, which is a pretty critical area

       17    for the shared services.        Unfortunately, they haven't been

       18    able to go to the office, but fortunately, they've been able

       19    to work.

       20           So we're down, Your Honor, probably eight total, and so

       21    we're more of the low to mid-60 area right now.

       22                THE COURT:    Okay.     And --

       23                MR. SEERY:    And we were a little bit north of 70 when

       24    we took the case.

       25                THE COURT:    Okay.     And the COVID situation, I mean,




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        1    if you walked into the office, would there be people around in

        2    masks, or are people still working at home?

        3               MR. SEERY:     People -- so, in -- yeah.         So, in March,

        4    very early on, as things started to shut down, Brian Collins,

        5    who's the director of human resources and an accomplished

        6    professional, came to the Board and basically said, you know,

        7    yeah, Texas is better, but it's not immune.             We need to come

        8    up with a program.

        9         And with Russ Nelms and John Dubel and I, we developed a

       10    program, with Brian -- with Brian driving it, to figure out

       11    exactly how to approach going into the office; how we would

       12    maintain the office; and then, if something were to happen,

       13    what we would do.

       14         We had an employee who, with her family, got COVID in --

       15    we believe in New York, came back.           And as soon as we found

       16    out that person wasn't feeling good in the office, it was the

       17    first day they were back, a protocol with thermometers and --

       18    at that time, thermometers were thought to be valuable -- we

       19    immediately sent that employee home.           We then brought in a

       20    cleaning crew to clean up the office with EPA and FDA-approved

       21    materials, and then had several days off and brought folks

       22    back the following week.

       23         We found that to be, frankly, unwieldy as COVID started to

       24    continue to creep a bit through March and into April.                At that

       25    point, we did have other employees, not who came into the




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        1    office, but who had contracted COVID, so we shut down HCMLP.

        2    When we cleaned the office, we shut it down completely.

        3    Nobody could go in.

        4         When -- since then, we have set the office up where we had

        5    initial (inaudible) when things were pretty good, so we

        6    divided the move into -- into basically 20 percent could be in

        7    the office at any one time.          And then, since that time, as

        8    things have gotten worse, we found that we were, one, working

        9    extremely well offsite; and two, that it was just a better

       10    environment for the employees.          So we've been working

       11    continually offsite.

       12         If folks need to go in, because either they need more

       13    advanced systems that they can't go to plug-and-play at home,

       14    or because there's just materials that they want to get,

       15    they're able to do in.       We have tons of disinfectant

       16    everywhere.     We have masks available.         We put in dividers,

       17    Plexiglas dividers between the work stations to assure that if

       18    someone was at a station for a long time, it didn't -- it was

       19    less likely that you could have transmission.

       20         I will tell Your Honor that HCMLP is not reporting to the

       21    office.    Some of the affiliated businesses, and I don't know

       22    the percentage, have been.          So those businesses, which we

       23    don't control, are going in.

       24         From my perspective, as long as the numbers are where they

       25    are in Texas, from both a business perspective in terms of




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        1    making sure that the employee base doesn't contract COVID in

        2    material amounts -- first, any amount -- but in material

        3    amounts that would impact our ability to run the business.

        4    And then with respect to the civic part of it, which is we

        5    don't want to be a part of forcing the spread or causing the

        6    spread of this disease, we know we can work from home.                We're

        7    going to continue to do that until we believe it's very safe

        8    to go back.

        9         Notwithstanding that we have the ability and have been

       10    doing it with extensive cleaning, extensive disinfectant, and

       11    with dividers, until we are very comfortable that we can go

       12    back and protect our employees and that it's the right civic

       13    thing to do, we're not going to go back, particularly since it

       14    doesn't impact our ability to perform.

       15               THE COURT:     Okay.     I really want to, you know, get to

       16    the rest of our hearing soon, but I heard something that made

       17    me have a question.      You said there are other entities we

       18    don't control whose employees are going in.             Could you tell me

       19    exactly what you meant by that?

       20               THE WITNESS:      There's -- away from HCMLP, there's

       21    approximately another 75 to 80 -- it may be slightly more --

       22    employees at the other entities that are NexPoint, NexBank,

       23    NexPoint Advisors.      They are under different protocols that

       24    neither I nor Russ nor John control.           The office --

       25               THE COURT:     Let me just stop you.




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        1               THE WITNESS:      Please.

        2               THE COURT:     So it's just Nex -- well, NexPoint-

        3    related companies?

        4               THE WITNESS:      Uh-huh.

        5               THE COURT:     NexPoint and --

        6               THE WITNESS:      Yes.

        7               THE COURT:     -- affiliates of NexPoint?

        8               THE WITNESS:      Correct, Your Honor.        The office, the

        9    HCMLP offices are huge.       And when we were there pre-COVID,

       10    with the full complement of folks, it felt like they were

       11    relatively empty.      I shouldn't say -- they felt like there was

       12    plenty of space.

       13         What we found, with both sets, our employees and then the

       14    NexPoint-related employees, when 140 or 150 people were in

       15    that office, which pre-COVID felt comfortable, post-COVID

       16    didn't feel so comfortable.         So our employees, we started, as

       17    I mentioned, with the shift-working.           And then we decided to

       18    go completely mobile unless somebody feels they have to be in

       19    the office, and we want to make sure that they follow the

       20    protocols when they do.

       21         With respect to the non-HCMLP related entities, those

       22    entities, some percent of those employees are still going into

       23    the office.

       24         Now, when they're there, to be frank, what I said was a

       25    pretty comfortable place with 140 people is a pretty empty




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        1    place if there's only 50.           But our employees, we felt it was

        2    important, since we were able to execute from home, we didn't

        3    need, on most parts, the extra systems to be able to execute

        4    in the office, that we could largely perform from home to make

        5    sure that we weren't taking any risks with the business but

        6    also taking -- one, taking risks for the employees; two,

        7    taking any risks for the business; and three, as I mentioned,

        8    the civil perspective.

        9                THE COURT:    Okay.      We're going to have to take a

       10    five-minute break here in just a second, but let me kind of

       11    elaborate on why I was drilling down on that question about

       12    NexPoint.    I mean, isn't it Highland employees who service

       13    NexPoint?    Or am I wrong about that?

       14                THE WITNESS:     Highland employees service a lot of

       15    NexPoint.    But NexPoint, NexBank, the various funds, NXRT,

       16    there's a number of businesses:           They have their own employees

       17    as well.

       18                THE COURT:    Okay.

       19                THE WITNESS:     So the whole complex is about 150

       20    employees.

       21                THE COURT:    Okay.

       22                THE WITNESS:     Highland Management is about 70.

       23                THE COURT:    Okay.      All right.    Well, are we finished

       24    with Mr. Seery's testimony, Mr. Morris?

       25                MR. MORRIS:    Yes, Your Honor.        Our next witness after




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        1    the break will be John Dubel.

        2               THE COURT:     Okay.     Very good.

        3               MR. MORRIS:     And we --

        4               THE COURT:     Mr. Seery, again, this has been extremely

        5    helpful for me, and I hope for others.            I hope you'll stick

        6    around, because when we circle back to the mediation

        7    discussion at the end of today, I really would like you to be

        8    involved in that discussion.         I may want your input on one or

        9    two things.     So can you stick around?

       10               THE WITNESS:      Absolutely, Your Honor.        Other than

       11    getting some water and maybe turning the air conditioning back

       12    on in this room, I'll stay.

       13               THE COURT:     You must not be in Texas if you don't

       14    have your air conditioning on.          I assume you're in New York.

       15    All right.    Five-minute break.        We'll be back.

       16               THE WITNESS:      It's hot, but not Texas hot.

       17               THE COURT:     Okay.     Thank you.

       18               THE WITNESS:      Thank you, Your Honor.

       19               THE CLERK:     All rise.

       20         (A recess ensued from 3:16 p.m. until 3:22 p.m.)

       21               THE CLERK:     All rise.

       22               THE COURT:     All right.      Please be seated.       We're back

       23    on the record in Highland.

       24         Mr. Morris, you were going to call Mr. Dubel next?

       25               MR. MORRIS:     Yes, the Debtor calls John Dubel.




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        1               THE COURT:     Dubel?

        2               MR. DUBEL:     Your Honor, may I have just one minute to

        3    -- my air conditioner.

        4               THE COURT:     All right.      Mr. Dubel, I said your name

        5    wrong.   Could you say Testing 1, 2?

        6               MR. DUBEL:     I can do that, Your Honor.            Testing 1, 2.

        7               THE COURT:     Okay.     Very good.    Please raise your

        8    right hand.

        9                     JOHN DUBEL, DEBTORS' WITNESS, SWORN

       10               THE COURT:     All right.      Thank you.     Mr. Morris, you

       11    may proceed.

       12               MR. MORRIS:     Thank you, Your Honor.         As Mr. Pomerantz

       13    previewed, Mr. Dubel's testimony is going to largely cover the

       14    corporate governance-type issues concerning the evolution of

       15    the motion, the discussions or the, you know, beginning of the

       16    discussions, and how the proposal itself evolved.

       17         If I may, Your Honor, just to perhaps move this along, I

       18    might lead the witness a little bit.           If it's a problem,

       19    you'll let me know, okay?

       20               THE COURT:     Okay.     I will let you know if it's a

       21    problem.

       22               MR. MORRIS:     Okay.

       23                               DIRECT EXAMINATION

       24    BY MR. MORRIS:

       25    Q    Good afternoon, Mr. Dubel.         You're a member of the Board




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        1    of Strand today; is that right?

        2    A    I am.

        3    Q    And you've held that position since mid-January; is that

        4    right?

        5    A    Since January 9th, yes.

        6    Q    Okay.    And you understand that we're here today on the

        7    Debtors' motion to appoint Mr. Seery as the Debtors' CEO, CRO,

        8    and the Foreign Representative?

        9    A    I do understand that, yes, sir.

       10    Q    Does the Board unanimously support the motion?

       11    A    I think the Board does, and specifically the compensation

       12    committee, because of obviously the conflict that Mr. Seery

       13    might have, you know, but the Board fully supports it, and the

       14    compensation committee is comprised of Mr. -- Judge -- Judge

       15    Nelms and myself.

       16    Q    Okay.    And do you believe that -- withdrawn.             Does the

       17    Board believe that it's in the Debtors' best interests to

       18    retain Mr. Seery on the terms proposed?

       19    A    We do.

       20    Q    And why does the Board believe that?

       21    A    Well, as the Court has heard from the testimony of Mr.

       22    Seery today, he has a tremendous amount of skills and

       23    experience in the area of asset management.             He's effectively

       24    been serving as the CEO since -- well, in a lot of ways, since

       25    January 9th, when we asked him to step up and take on some




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        1    additional responsibilities, but very clearly since the middle

        2    of February, and specifically, the middle of March.

        3         And as the Court noted, he is -- knows these assets very

        4    well.   He knows the operations.         He's done an exemplary job of

        5    handling all of the issues.         He has spent a tremendous amount

        6    of time working with the Committee members, trying to develop

        7    good lines of communications.

        8         And, you know, Russ -- having, you know, served in a C

        9    Suite position for 25 years of my 30-plus years of

       10    restructuring experience, and 15 years as a CEO, we need a

       11    good leader, an operational leader to run the organization.

       12    So we can support him because you need to have someone in

       13    there who can make decisions; work quickly; obviously,

       14    communicate well with the Board, which he has been doing for

       15    quite some time.      So, all the -- all of the reasons why we are

       16    very pleased to have him take on this role.

       17    Q    Okay.    Let's talk a little bit about what led to this

       18    particular motion.      Do you recall when the idea of appointing

       19    a CEO first arose?

       20    A    I would say it was back in December, before the

       21    Independent Board was put together, when we first started

       22    intervening with the creditors and with the Debtor.                It was

       23    raised to me in my interview, would I be, you know, willing to

       24    step in as a CEO if asked to?          And I'm assuming it was also

       25    asked of Mr. Seery.      I didn't ask him that.         And it was all




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       1    obviously coming, you know, out of the protocols that were

       2    being developed where Mr. Dondero would step down as the CEO

       3    and the Independent Board would basically be responsible for

       4    the operations of the company.          But we had the opportunity to

       5    go out and seek either one of the three Independent Board

       6    Members as the CEO or go outside to the marketplace and try

       7    and find an independent or a third-party CEO.

       8    Q     And to the best of your recollection, was that flexibility

       9    built into the term sheet that was part of the corporate

      10    governance settlement?

      11    A     It was.

      12    Q     All right.

      13               MR. MORRIS:     Your Honor, this is where we're going to

      14    test our technological capabilities.           I'm going to ask Ms.

      15    Canty to put up and to share Exhibit 1, and let's see if we're

      16    able to do that.

      17               THE COURT:     Okay.     But if anything goes wrong, I

      18    actually do have the docket up on my screen.             I can pull them

      19    up.   But, oh, even better.         Even better.    Okay.

      20               MR. MORRIS:     All right.      It looks like it worked.

      21    Ms. Canty, if you could turn to Page 2, please.                 I think

      22    that's Page 1.

      23          (Pause.)

      24               MR. MORRIS:     I think it's stuck.

      25               THE COURT:     Hmm.




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        1                 THE WITNESS:    If need be, I have a teenager who could

        2    probably figure this out, because I sure can't.

        3                 MR. MORRIS:    I'm impressed that La Asia got to this

        4    point already.     Okay.    Good.    Just the one on the right.          Is

        5    there a way to focus in on the top paragraph on the right?

        6                 THE WITNESS:    I'll put my glasses on and I'll be able

        7    to read it.

        8                 MR. MORRIS:    Okay.    Right there.     Perfect.

        9    BY MR. MORRIS:

       10    Q    Is -- are you familiar with the provisions generally in

       11    the term sheet relating to the opening of CEO?

       12    A    I am.

       13    Q    And is this the provision that you were referring to

       14    earlier?

       15    A    It is.

       16    Q    And does this provision, to the best of your

       17    understanding, provide the Board with the flexibility, in

       18    consultation with the UCC, to exercise its business judgment

       19    and appoint a CEO if it determined that to be in the Debtors'

       20    best interest?

       21    A    It does.    It's consistent with the discussions had -- that

       22    were had prior to our appointment, and it obviously was

       23    incorporated in the term sheet that was approved by the Court

       24    on January 9th.

       25    Q    And this also reflects the understanding that you




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        1    described earlier, where one of the Independent Directors

        2    could, in fact, be selected as the CEO; is that right?

        3    A    That is correct.

        4                 MR. MORRIS:   All right.      Let's just take that down,

        5    please, Ms. Canty.

        6    BY MR. MORRIS:

        7    Q    Mr. Dubel, has Mr. Seery, in fact, taken on day-to-day

        8    operational responsibilities for the Debtor?

        9    A    Yeah.    Yes, he has.     And I think early on the Board

       10    realized that, between the three Board members, we would try

       11    and divvy up the responsibilities, as Mr. Seery referred to

       12    earlier, and it was definitely like drinking from a fire hose

       13    in the early stages of the case, where the new Board was put

       14    in place.     And we tried to divvy up our responsibilities,

       15    taking into consideration each of the Board Members'

       16    expertise.

       17         But it was pretty clear that the main business operations

       18    required somebody with the skill set that Mr. Seery had, and

       19    it would be much more efficient, as we progressed forward, to

       20    coalesce around one individual as a CEO.

       21                 MR. MORRIS:   Ms. Canty, can you pull up Exhibit 2?

       22    BY MR. MORRIS:

       23    Q    And while we're doing that, Mr. Dubel, do you recall early

       24    on that the Board asked Mr. Seery to become involved in the

       25    trading of the prime accounts?




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        1    A    I do, yes.

        2    Q    Okay.

        3                 MR. MORRIS:   La Asia, I don't know if you can scroll

        4    down just to --

        5         Your Honor, these are minutes from the Board's very first

        6    meeting.     And if we go to the next page, right here, you'll

        7    see there's a discussion in the second paragraph.

        8    BY MR. MORRIS:

        9    Q    Mr. Dubel, does that reflect the Board's deliberation and

       10    decision, really, on the first day, to give Mr. Seery, you

       11    know, the responsibility for dealing and overseeing the prime

       12    accounts?

       13    A    It does.    And what I was saying is, prior to the

       14    appointment, in doing all of our diligence prior to joining

       15    the Board, we realized there were all these issues that needed

       16    to be dealt with.      And so we came in on the very first day,

       17    ready to recognize that there were certain things that needed

       18    sort of expertise.      And they were presented to us by DSI and

       19    the management of HCMLP as areas that needed some additional

       20    handling and oversight.       And so we asked Mr. Seery to step

       21    into that role on the very first day, which he -- which he

       22    agreed to and the Board approved it.

       23    Q    Okay.    Let's get to the meat and potatoes here.             Did there

       24    come a time when the Board and Mr. Seery actually began

       25    discussing the possibility of his serving as the CEO?




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        1    A    Yes, there did.

        2    Q    And can you share with the Court your recollection of how

        3    that began?

        4    A    So, there were informal discussions, I would say, through

        5    the month of February, as we started to realize that there

        6    were -- the decision-making         was going to be cumbersome,

        7    having, you know, three parties involved.             As I said earlier,

        8    having spent 15 years or so my career as a chief executive

        9    officer, I understand where you really want to have one person

       10    be responsible for these issues.

       11         And so we were conversing with Mr. Seery to see if he

       12    would take on that role.        And, obviously, we had felt very

       13    comfortable, Mr. Nelms and I felt very comfortable with the

       14    communications that he was having with us on things that we

       15    had asked him to do.       There was a very free and open

       16    discussion with the Board members.           So we continued, you know,

       17    to look at opportunities where it might make sense.

       18         And then, you know, towards the beginning of March, it was

       19    pretty obvious that we were going to want to coalesce around

       20    the motion.     We thought about whether or not that would be

       21    some third party.      But having, again, experience of having to

       22    go out in the marketplace to find CEOs when I'd been either,

       23    you know, a director or involved in companies, we realized

       24    that can be very time-consuming, would take us months to find

       25    somebody.




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        1         And so we continued to discuss it with Mr. Seery.                And

        2    around the middle of March or so, right around the time that

        3    we had a Creditors' Committee meeting in New York, we asked

        4    Mr. Seery if he would take that role on, and he agreed to, to

        5    take that role.

        6    Q    And that's -- and is that why the Debtor is seeking

        7    authority to retain Mr. Seery nunc pro tunc back to March

        8    15th?

        9    A    We are.    I mean, effectively, he really started the role

       10    in the February time frame.         But we officially asked him about

       11    this in -- right after that meeting on March -- I think it was

       12    March 11th or so.

       13    Q    So, is it fair to say that's when the Board had a meeting

       14    of the minds with respect to not necessarily the terms but at

       15    least the engagement of Mr. Seery as CEO?

       16    A    Yes, that is fair to say.

       17    Q    Okay.

       18    A    And that's when he really did step up and take on all of

       19    those responsibilities, you know, with the acknowledgement and

       20    understanding that we would work out the appropriate terms for

       21    his engagement.

       22    Q    Okay.    And a couple of weeks later, do you recall that Mr.

       23    Seery made a written proposal to you and Mr. Nelms?

       24    A    He did make a written proposal after, you know, having

       25    discussions with us orally about various issues and roles and




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        1    responsibilities.      I think it was around April 4th or so that

        2    he presented us with a written proposal.

        3                  MR. MORRIS:   All right.     Ms. Canty, can you call up

        4    Exhibit 3, please?      (Pause.)      Okay.   If you'll scroll down.

        5    BY MR. MORRIS:

        6    Q     Mr. Dubel, is this the April, the early April e-mail that

        7    you were referring to in which Mr. Seery made a proposal for

        8    the terms of his engagement as CEO?

        9    A     Yes.    This document refreshes my recollection.            It wasn't

       10    April 4th.      It was April (audio gap).        But yes, that's the

       11    document I was referring to.

       12    Q     Okay.    What happened next, after -- after the -- after

       13    this was presented to you and Mr. Nelms?            What did you guys

       14    do?

       15    A     So, what we wanted to do is understand what was our

       16    responsibility as a board.          So we reached out to counsel to

       17    figure out how the process should work.            We set up a

       18    compensation committee.       It's called a comp committee; it's

       19    more I would call it a nomination committee or a governance

       20    committee also, because it was all about retaining Mr. Seery

       21    in that role.

       22          We got advice from counsel on what the process should be.

       23    We reached out to our compensation consultant at Mercer, who

       24    had been providing us assistance in other areas of the

       25    company's compensation program, to talk to them about what the




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        1    various market comps, you know, compensation programs were and

        2    what would be an appropriate market comp for Mr. Seery's

        3    compensation, and, you know, moved forward that way.

        4                MR. MORRIS:    Ms. Canty, can you pull up Exhibit 4,

        5    please?

        6    BY MR. MORRIS:

        7    Q    Do you know what this document is, Mr. Dubel?

        8    A    Yes.   This looks like the minutes from the meeting of our

        9    first compensation committee on April 8th, compensation

       10    committee of Strand Advisors.

       11    Q    And this was a meeting between you and Mr. Nelms, with

       12    counsel; is that right?

       13    A    That is correct.

       14    Q    And this was precipitated by Mr. Seery's written proposal

       15    that was made a few days before that; is that fair?

       16    A    Well, I would say it was precipitated by the advice we had

       17    gotten through counsel that we should set up a compensation

       18    committee and consider what would be the appropriate way of

       19    retaining Mr. Seery, you know, as a chief executive officer.

       20    His proposal came in a couple of days earlier than that, and

       21    so this was our first official time to get together as a

       22    committee and review it and discuss the issue.

       23    Q    And was this a contemporaneous record of the steps that

       24    the compensation committee took to do its due diligence with

       25    respect to the proposal?




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        1    A    It is.

        2    Q    Okay.    Did the compensation committee --

        3                 MR. MORRIS:    You can take that down, Ms. Canty.

        4    BY MR. MORRIS:

        5    Q    Did the compensation committee communicate with the

        6    Creditors' Committee with respect to these matters?

        7    A    We did.

        8    Q    Can you --

        9    A    As a part of the protocols, one of the things I -- and I'd

       10    go back and re-read the protocol language, but one of the

       11    things it said was work with the UCC to determine who would be

       12    an appropriate CEO.        And so we realized we would do that, and

       13    we started to reach out to the various members of the

       14    Creditors' Committee to discuss that.

       15    Q    Okay.    And do you recall whether the compensation

       16    committee or the Debtor generally shared Mr. Seery's proposal

       17    with the Committee?

       18    A    We did.    I don't recall the exact date, but we did share

       19    it with the UCC through the UCC counsel.

       20    Q    Do you recall if the report that was commissioned by the

       21    Debtor with respect to Mercer, the Mercer Report, was that

       22    shared with the Committee?

       23    A    It was.

       24    Q    Can you describe for Judge Jernigan your recollection as

       25    to, you know, the Committee's reaction and, you know, position




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        1    with respect to the proposed retention of Mr. Seery as CEO?

        2    A    We shared the report from Mercer with the Committee in --

        3    I think it was early May.           And we spent time with them in the

        4    April time frame talking about the fact that we were going to

        5    be seeking Mr. Seery's appointment as CEO and telling them

        6    that we were going to be commissioning a report to make sure

        7    we had what we thought was market compensation.

        8         The Committee was generally very supportive.                 They had

        9    been obviously experiencing Mr. Seery taking on that role of

       10    effectively the CEO for a period of time, so they understood

       11    where, you know, where he was coming from and what -- how he

       12    was going to operate the business.

       13         They understood, to my knowledge and in my discussions,

       14    they understood the benefits of having a single person as the

       15    CEO rather than trying to manage the business by committee.

       16    We discussed with them why it made sense.

       17         And so, you know, they were supportive of it.                 Obviously,

       18    we had to negotiate the terms of the compensation.

       19    Q    And did that take some time, to negotiate the compensation

       20    terms?

       21    A    It did.    Initially, it was being done through myself and

       22    Mr. Nelms, working directly with the Committee.                  But, again,

       23    having been in that position of having to negotiate with the,

       24    you know, the committee on terms of my own personal

       25    compensation -- not this committee, but in other cases -- we




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       1    recognized that it was probably more efficient for Mr. Seery

       2    to speak directly with the Committee, Committee members.                  And

       3    so we asked him to pick up that, you know, responsibility

       4    also.   And he did.       He kept us informed every step of the way.

       5    And I, as the de facto chairman of the compensation committee,

       6    also spoke directly with the various members of the Committee

       7    during this time frame, where there was (echoing)

       8    communication about compensation.

       9    Q    Mr. Pomerantz mentioned it in his opening remarks, but do

      10    you recall kind of what the bigger issues were with respect to

      11    the proposed compensation terms with the Committee?

      12    A    Sure.    The Committee -- well, there was always negotiation

      13    going on, obviously.       The Committee, at the end of it, they

      14    had no problems with the monthly compensation, recognizing

      15    that whatever his board compensation would be would

      16    effectively be wrapped into the monthly compensation.

      17         What the issues really came down to for them revolved

      18    around the restructuring fee that was being proposed, success

      19    fee, you know, what have you.           And there was a lot of

      20    different views, as you can imagine, between the four members

      21    of the Committee as to how that should be set up.

      22         Mr. Nelms and I were very cognizant that we did not want

      23    to have Mr. Seery (echoing) -- I'm sorry.              I'm getting a lot

      24    of background noise here.

      25                 THE COURT:    Yes.     I'm not sure who needs to mute




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        1    their phone, but someone needs to mute their phone.                Okay.

        2                THE WITNESS:     Thank you.

        3                THE COURT:    Uh-huh.

        4          (Echoing subsides.)

        5                THE WITNESS:     So we were very concerned that

        6    structures not be put in place that could cause the potential,

        7    the appearance of a conflict between the role that Mr. Seery

        8    was playing and his compensation.

        9          It's always a, you know, a challenging issue here, to make

       10    sure that, you know, a CEO of any company is looking out for

       11    the best interests of the estate and not looking out

       12    specifically for any particular creditor, equity, or group of

       13    creditors, just because that's the way the compensation was

       14    designed.    And so that was a challenge.

       15          At the end of the day, we wanted to have what we felt was

       16    fair compensation for the success fee and restructuring fee

       17    for Mr. Seery, because we wanted him incented to get the job

       18    done, as he has alluded to in his prior testimony as to what

       19    he's trying to do here.       And so there did come a point where

       20    we could not get to a meeting of the minds and so we chose to

       21    move forward on the compensation with just the monthly agreed

       22    to.   Mr. Seery was good enough to agree to that for just the

       23    monthly, and that we would put forward the restructuring fee

       24    at a later date.

       25    BY MR. MORRIS:




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        1    Q    Okay.    Thank you.    In addition to the CEO title, the

        2    Debtor is asking for the Court to appoint Mr. Seery as the CRO

        3    and the Foreign Representative; is that right?

        4    A    That is correct.

        5    Q    And why is the Debtor seeking that relief?

        6    A    Well, initially, the CRO was brought in, I believe it was

        7    the middle of October, when the case was filed and before the

        8    Independent Board was put in place.            And there were reasons

        9    why, you know, the Committee had asked for the CRO to have

       10    certain responsibilities.           Those carried through in the

       11    protocols.

       12         And obviously, you know, we had no issues with those, but

       13    what we also felt, Mr. Nelms and I, and in consultation with

       14    Mr. Seery, was that it would be more appropriate to have one

       15    person be responsible for all of the issues within the

       16    company.     And since there was an Independent Board, and since

       17    one of those Independent Board Members was becoming the CEO,

       18    the need for another individual to be the CRO might send

       19    conflicting signals inside the organization.              And so we

       20    decided that it would be appropriate to put those

       21    responsibilities into Mr. Seery's lap.             And we spoke with Mr.

       22    Sharp from DSI, and he agreed.           And so that's the reason why

       23    we moved it forward that way.

       24    Q    Okay.    I understood you to say that the meeting of the

       25    minds, at least conceptually, was somewhere around March 12th




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        1    in New York, or March 11th.         I think the Judge may have asked

        2    the question or at least implied that she wanted to know kind

        3    of why it took so long to get the motion on file.               I think

        4    you've discussed some of the issues, but just kind of in a

        5    bullet-point way, can you give the Judge an explanation as to,

        6    you know, why it took several months to get this motion in

        7    front of the Court if a meeting of the minds occurred back in

        8    March?

        9    A    Sure.    I believe the motion was filed on the -- I think it

       10    was the 22nd or so of June.

       11    Q    Okay.

       12    A    And so we -- we asked Mr. Seery.           He accepted the

       13    responsibility in the middle of March.            Right at that point in

       14    time was when the whole pandemic issue was, you know, really

       15    coming hot and heavy at the company.           As Mr. Seery testified

       16    earlier, he had -- he was spending a tremendous amount of time

       17    just focusing on the operations of the business, focusing on

       18    the assets, dealing with the prime accounts, the select

       19    accounts, working with Jeff Reeves, working with the other

       20    individual investments that we had, to make sure that those

       21    were under control.

       22         I would say I applaud him for putting the business first

       23    in front of him, and then I think probably at 1:00 o'clock in

       24    the morning he was able to finally sit down and put together

       25    his own compensation request.




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        1         We did need time to go through with the Mercer folks and

        2    get, you know, the market information, and that took a lot of,

        3    you know, a lot of time.

        4         And then, more importantly, we wanted to make sure we

        5    could get something in front of the Court that was agreed to

        6    by the Committee.      So we did share the information with the

        7    Committee.     We spent a lot of time in negotiations with the

        8    Committee, trying to get to a resolution.             As I said earlier,

        9    we asked Mr. Seery to step in and there be, you know, one-on-

       10    one discussions to maybe shortcut some of that.

       11         And finally, at the point in time where we realized we

       12    could not get a full, you know, fully-agreed compensation

       13    program, we asked him to just break it down into the monthly,

       14    and then come back for a restructuring bonus at the end of the

       15    case.

       16         And so all of that, while trying to manage the business in

       17    the COVID era, is what took such a long period of time.

       18    Q    Did it also take some time to obtain appropriate D&O

       19    insurance for Mr. Seery as the CEO?

       20    A    It did.    We had to, as the Board of Strand, we had to set

       21    up a D&O program for the Board members when we first got

       22    involved back in January.           That took a tremendous amount of

       23    time.   It was very difficult to obtain in the marketplace, for

       24    any number of reasons, but mainly because the insurance market

       25    understood what Highland was all about and the various




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        1    players, and they were very reticent to insure Highland.

        2         So, because we were Strand, because there were other

        3    protections that were afforded to the Independent Directors,

        4    we were able to obtain it.

        5         When we asked the various carriers to add Mr. Seery on as

        6    the CEO for HCMLP, it was very challenging to put folks on.

        7    We were eventually able to get our first layer to sign on, the

        8    first-layer insurer.       The second layer would not do it, and we

        9    had to go find a third carrier who would do it.                 And we

       10    actually got that done at some time in the latter part of

       11    June, right after we had filed the motion.

       12    Q    Okay.

       13                 MR. MORRIS:    Your Honor, I've got just a few more

       14    questions, but they're going to be devoted to the DSI motion.

       15    I don't know if you wanted to ask -- if you had any questions

       16    on the motion with respect to Mr. Seery or I should just

       17    continue on.

       18                 THE COURT:    I do not have questions.        You can

       19    continue.

       20                 MR. MORRIS:    Okay.

       21    BY MR. MORRIS:

       22    Q    Okay.    So, let's just finish up, Mr. Dubel.              There is a

       23    second motion in front of the Court, and this one is for the

       24    appointment of DSI as financial advisor.            Are you familiar

       25    with that motion?




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       1    A    I am.

       2    Q    Does the Board unanimously support that motion?

       3    A    We do.

       4    Q    Has the Board concluded, in an exercise of its independent

       5    business judgment, that the engagement of DSI as financial

       6    advisor is in the Debtors' best interests?

       7    A    We have.    Yes.

       8    Q    Can you explain to the Court why the Board reached that

       9    conclusion?

      10    A    Well, we do need the services of a financial advisor.

      11    It's very important in this case to have an independent, you

      12    know, restructuring, you know, financial advisor to assist us.

      13    As Mr. Seery testified earlier, they have been very

      14    instrumental in helping him prepare the financial analysis

      15    that has been part of what he's been using to start

      16    negotiating and working forward on the -- putting together a

      17    plan of reorganization.

      18         They've also spent a tremendous amount of time acting as a

      19    bridge to FTI, the Committee's financial advisors, which is

      20    very common in these types of cases.           And so that's been

      21    extremely helpful.      And that role needs to continue.

      22         They also are handling all of -- all the administrative

      23    bankruptcy issues, the SOFAs, the MORs.            They're doing a lot

      24    of work for us, not necessarily specifically on the large

      25    claims, but on helping us analyze and review all of the other




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        1    myriad of -- I think it's two hundred something claims that

        2    have been filed in the case.

        3         So they've been here since -- I guess they came in pre-

        4    filing.    They have a lot of history and knowledge, and we want

        5    to continue to utilize that knowledge as we continue to move

        6    forward.    So that's why.      And the Board is very comfortable

        7    with the job they've been doing, and so we felt it was

        8    appropriate to continue to use them as the financial advisor,

        9    just in a slightly different role.

       10               MR. MORRIS:     Your Honor, I have no more questions of

       11    Mr. Dubel.

       12               THE COURT:     All right.      Well, I'm going to just jump

       13    in and ask my own questions, and then I will -- I'll, you

       14    know, offer him up for cross if people will promise to

       15    restrict it to employment terms.

       16                           EXAMINATION BY THE COURT

       17               THE COURT:     So, what -- my question is about Mr.

       18    Sharp.    As I recall, the compensation is not going to change

       19    at all, even though the role is changing.            He won't be CRO

       20    anymore, Mr. Sharp.      He won't be the Foreign Representative

       21    anymore.    But obviously, he and his firm will remain very

       22    engaged as financial advisor.

       23         What I'm getting at is there was a $100,000 per month flat

       24    fee for Mr. Sharp, and then other professionals at DSI will

       25    bill by the hour.      Tell me why the Board thinks that's still




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        1    the appropriate compensation package with the modified role of

        2    Mr. Sharp.    I'm getting at, $100,000 a month, is that still

        3    the right thing, or hourly compensation, did you discuss that,

        4    and why is --

        5               THE WITNESS:      We did, Your Honor.       And I'll be

        6    (inaudible) with you.       I don't know who negotiated that

        7    originally for -- with, you know, with DSI, but I find it to

        8    be a very fair-to-the-Debtor compensation package of $100,000

        9    for Mr. Sharp, but it also includes Mr. Caruso, who Mr. Seery

       10    has referenced earlier.       I think it was a very good

       11    negotiation that was had by the Debtor.

       12         So when we looked at it, we said, if we switch to a

       13    straight hourly, based upon the amount of time and effort

       14    that's being put in by the two of those individuals, it might

       15    cost us a little bit more.          So we chose to continue it at that

       16    level.

       17         And I know Mr. Seery will continue to lean on those two

       18    folks and get his money's worth.          I'm confident of that.

       19               THE COURT:     Okay.     You just reminded me of something

       20    that I did not remember, I guess.           Mr. -- we're getting two

       21    for the price of one, is basically the -- Mr. Caruso does not

       22    bill by the hour?

       23               THE WITNESS:      They -- they work together.          It's their

       24    compensation.     I would imagine they keep hours internally,

       25    just to keep track of it, but what they bill us for the two




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        1    individuals, Mr. Caruso and Mr. Sharp, is a flat fee of

        2    $100,000 for the two of them.

        3               THE COURT:     Okay.     All right.    And do you remember,

        4    by comparison, the financial advisor to the Committee -- is it

        5    FDI?    Whoever it is.

        6               THE WITNESS:      It -- it --

        7               THE COURT:     How are they getting compensated?            Is it

        8    strictly on an hourly basis, or is there also a combo flat fee

        9    and hourly?

       10               THE WITNESS:      (echoing) on an hourly basis, and I

       11    have one of their most recent charts.            It was the May fee

       12    application that they just filed, and they -- they bill in a

       13    range from $1,245 an hour for, you know, senior managing

       14    directors, to $875 an hour for managing directors, down to,

       15    you know, $690 an hour for directors.            Yeah.   A very fair and

       16    appropriate marketplace compensation, but I think what we are

       17    incurring under the structure that we have for DSI is below

       18    that.

       19               THE COURT:     If those two guys were billing normal

       20    market hourly fees, you think it would be busting $100,000 a

       21    month, perhaps?

       22               THE WITNESS:      I think it -- I think it would be well

       23    in excess of $100,000, --

       24               THE COURT:     Okay.

       25               THE WITNESS:      -- based upon the hours that we have




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        1    seen to date from them, Your Honor.

        2                THE COURT:    Okay.     Now, does anyone else have

        3    questions for Mr. Dubel related to these employment

        4    arrangements proposed?

        5         (No response.)

        6                THE COURT:    I guess not.       I actually have one more

        7    question.    I think it will be for my benefit, but maybe for

        8    benefit of parties in interest, I hope.             You made a comment

        9    about getting insurance for Mr. Seery, and you said it was a

       10    bit of a challenge because insurers in the marketplace kind of

       11    knew what Highland was about.           I think those were your words.

       12                THE WITNESS:     Yes, Your Honor.

       13                THE COURT:    Here is my question.         As far as knowing

       14    what Highland is about, other persons, not me, have used the

       15    words that people were Mr. Dondero's puppet master, or he was

       16    the puppet master, had his hands all over this, here and

       17    there.   And we obviously endeavored to change that with the

       18    new Board in place.      What would you say if people out there

       19    think Dondero still might be a puppet master?               What -- I mean,

       20    is there any concern there that you could address?

       21                THE WITNESS:     Sure.     And let me, let me take it in

       22    two parts, because I think it's important for you to

       23    understand from a third-party insurer's point of view.                 The

       24    D&O marketplace has seen a lot of litigation surrounding the

       25    Highland Capital name.       And because of that, that obviously




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        1    causes them concern.       Their business is to write insurance and

        2    never pay a dime.      I ran an insurance company for six years,

        3    and you never want to pay a dime out, you just want to collect

        4    premiums.

        5                THE COURT:    Yes.      And I probably prefaced this in a

        6    confusing way.     I'm really not going back to the insurance.                  I

        7    just said that comment, when you were talking about insurance,

        8    made me want to ask, for my benefit and for other parties'

        9    benefit:    How much control, if any, does Dondero have?               In

       10    theory, he was not supposed to have any control over the

       11    Debtor anymore, but can you say something to make us all feel

       12    comfortable that, if he ever was a puppet master, he's not a

       13    puppet master anymore?

       14                THE WITNESS:     Well, I won't use that terminology.

       15    What I will say is, since January 9th --

       16                THE COURT:    Yes.      It was someone else's term, not

       17    mine.   I'm just repeating it.

       18                THE WITNESS:     That's okay.       Since January 9th, when

       19    the Independent Board was put in place, the Independent Board

       20    has had the responsibility, is responsible for the operations

       21    of this business.      Mr. Dondero, as Mr. Seery alluded to

       22    earlier in talking about the number of people in the

       23    organization, has other businesses that he's involved with

       24    that operate out of the offices through shared services.                  But

       25    it's very clear to all the employees that the Independent




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        1   Board is responsible for HCMLP and that since, really, you

        2   know, the early March time frame, that Mr. Seery is the CEO.

        3         So there is no concern on my part that Mr. Dondero is

        4   having undue influence.        He is still our portfolio manager,

        5   but Mr. Seery is working with him as appropriate, and I have

        6   no concern that Mr. Seery is not getting the job done and

        7   getting any undue influence from Mr. Dondero.

        8               THE COURT:     All right.     Thank you.

        9         Mr. Morris, do you have any redirect?

      10                MR. MORRIS:     I do not, Your Honor.        I appreciate the

      11    question, and I think Mr. Dubel answered it appropriately.

      12                THE COURT:     All right.     Thank you, Mr. Dubel.         I do

      13    appreciate your testimony today.           It was helpful.

      14          All right.    Mr. Morris, --

      15                THE WITNESS:     Thank you, ma'am.

      16                THE COURT:     -- what else do you have?            You have Mr.

      17    Sharp on your witness list.          Did you want to --

      18                MR. SHARP:     I'm here, Your Honor.

      19                THE COURT:     -- put him on?

      20                MR. MORRIS:     I'm intending to do that.           If Your Honor

      21    thinks it's not necessary, I don't need to ask more questions.

      22    It's a relatively brief examination that will just focus on

      23    the slight change in his role.

      24                THE COURT:     All right.     Well, if you feel the need to

      25    make a record, you may.        I just have one question I want to




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        1   ask him, to shore up the record.

        2               MR. MORRIS:     So perhaps, Your Honor, could we swear

        3   him in, you ask your question, and then I'll see if there's

        4   (echoing)?

        5               THE COURT:     All right.     Mr. Sharp, I see you there.

        6   Please raise your right hand.

        7         (Echoing.)

        8                  BRADLEY SHARP, DEBTORS' WITNESS, SWORN

        9               THE COURT:     Thank you.     We were getting some

      10    distortion there.       So, again, if you're not Mr. Sharp, please

      11    put your phone on mute.

      12                            EXAMINATION BY THE COURT

      13                THE COURT:     All right.     Mr. Sharp, I just wanted to

      14    hear from you how many hours a month do you think that you and

      15    Mr. Caruso are working on the Highland matter?

      16                THE WITNESS:     I don't have the hours in front of me,

      17    Your Honor, but I think Mr. Dubel unfortunately alluded to

      18    poor negotiating on DSI's part.           That'd be my responsibility,

      19    because I'm the one that did that.

      20          From October through May, if you look at the time for Mr.

      21    Caruso and myself, DSI has provided about a $730,000 discount.

      22    So if we were actually being paid on our hourly rate, our fees

      23    would be $730,000 more than the $100,000 a month.                We

      24    typically run -- my rate is $720 an hour.             I think Mr.

      25    Caruso's is about the same.          The time for the two of us each




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        1   month runs about $200,000, which we then write down to

        2   $100,000.

        3               THE COURT:     All right.

        4               THE WITNESS:     (echoing) a month.

        5               THE COURT:     Okay.    That answers my question.         Mr.

        6   Morris, is there anything you wanted to put on the record?

        7                               DIRECT EXAMINATION

        8   BY MR. MORRIS:

        9   Q     Mr. Sharp, are you the person who was (echoing) with the

       10   (echoing) CRO (echoing) Seery (echoing)?

       11   A     Yes, I am.    I think it's much more efficient, frankly.

       12   We've worked very well with Mr. Seery since the beginning,

       13   since January 9th.       That's going to continue.         I think it

       14   takes away some confusion, both internally and externally, in

       15   that, you know, Mr. Seery is the CEO, the CRO, and everyone

       16   knows that we are providing the analytical and support for him

       17   with whatever he needs.

       18   Q     And I want to focus just for a second on DSI's (echoing).

       19   Is DSI's responsibilities in the case changing at all?

       20   A     No.   No.   We have been working for the Board and

       21   responding directly to Mr. Seery.           You know, as Mr. Seery

       22   testified, he works directly with myself and directly with my

       23   team, and that's not going to change.

       24               MR. MORRIS:     I have no further questions, Your Honor.

       25               THE COURT:     All right.     Anyone have any questions




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        1   regarding the employment terms?

        2         (No response.)

        3               THE COURT:     All right.     Well, I thank you, Mr. Sharp.

        4   We appreciate it.

        5         All right.    Mr. --

        6               MR. MORRIS:      The Debtor rests, Your Honor.

        7               THE COURT:     Okay.    Well, I presume no one else had a

        8   witness to call.      Again, we didn't have any responsive

        9   pleadings on this.

      10          So, with that, I am going to turn to the Committee counsel

      11    at this point.      Mr. Clemente, I know you said early on that

      12    you wanted to make some comments, so this is your opportunity.

      13                MR. CLEMENTE:     Well, thank you, Your Honor.           Matt

      14    Clemente from Sidley on behalf of the Committee.

      15          And just very briefly, Your Honor, as you know, we did not

      16    file an objection.       It sounds from what we heard today that

      17    Mr. Seery and the Board are working hard, which is, frankly,

      18    what I think you expect and what we expect of them.

      19          We don't have an objection to the retention of Mr. Seery

      20    as CEO at $150,000 a month, which is inclusive of director

      21    fees.    And as Mr. Pomerantz said, the Committee does not agree

      22    -- in fact, that was the source of quite a bit of the

      23    negotiation of the last couple of months -- with the bonus

      24    proposal.     But, again, we understand that that will be

      25    addressed by a separate motion.




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        1         Your Honor, we appreciate Mr. Seery's testimony to advise

        2   you and to create the record for purposes of today's

        3   uncontested matter.       And obviously, the Committee -- there's

        4   no live objection.       And while the Committee may have different

        5   views of what Mr. Seery said -- for example, the working of

        6   the protocols, the sophistication of the advisors to the

        7   Committee -- again, for purposes of the matter before the

        8   Court today, we're not going to take any issue with any of

        9   those statements, Your Honor, but reserve the right to do so

       10   again in future if it becomes necessary.

       11         So, with that, Your Honor, I have no further comments, but

       12   I did want to make those couple comments for the record, to

       13   make sure Your Honor understood where the Committee is coming

       14   from.

       15               THE COURT:     Okay.    Thank you.     Does anyone else wish

       16   to make comments about the applications before the Court?

       17         (No response.)

       18               THE COURT:     All right.     Mr. Morris, I'll turn it back

       19   to you.

       20         I found in my notes one question that I had.              Looking at

       21   your Exhibit 3 is what made me decide I have this question.

       22   The Exhibit 3 was the e-mail exchange of Sunday, April 5th

       23   amongst the Board members.          Let me ask you this.        There was

       24   something in there regarding Mr. Seery, this would be a full-

       25   time position, but he would be permitted to serve on outside




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        1   boards of directors.       Is that a term that survived, or no?

        2   And if it did, I want to ask how many outside board

        3   memberships does he have?           Again, I expect, like I think

        4   everyone, that it's going to be very full-time, so I don't

        5   want to hear that he's on 12 other boards.              How did that --

        6               MR. POMERANTZ:      Your Honor, this is Jeff Pomerantz.

        7   Since I was the one who actually was involved in negotiations

        8   more than Mr. Morris, --

        9               THE COURT:     Okay.

       10               MR. POMERANTZ:      -- maybe I can answer.           I believe it

       11   was something that survived.           I am not aware of any other

       12   boards that Mr. Seery is on.           And if he has actually been able

       13   to do anything meaningful while performing what is I think

       14   probably 200 hours a month and being available 24/7, I take my

       15   hat off to him.      But I would ask him to confirm if he has any

       16   other material role, but I have not seen anything.

       17               THE COURT:     All right.      What about that, Mr. Seery?

       18               MR. SEERY:     I -- currently, I'm not on any other

       19   outside boards except two charities.

       20               THE COURT:     Okay.

       21               MR. SEERY:     One is a foundation called the

       22   (inaudible) Foundation, which is a charity for (inaudible)

       23   individuals, disabled folks, and -- most of whom are abused.

       24   And I'm also involved with a charity, I'm not on the board but

       25   on a funding committee for Team Rubicon, which is a reference




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        1   -- reference service, assistance in disasters.              So they don't

        2   take time like this, and so I'm not going to be involved in

        3   any --

        4               THE COURT:     Okay.    Thank you.     That's what I would

        5   hope to hear.      I didn't want to hear that you were on, you

        6   know, 12 other for-profit boards.

        7         So, all right.     So, Mr. Morris, Mr. Pomerantz, do you have

        8   anything to say before we wrap up this topic?

        9               MR. POMERANTZ:      Your Honor, I'm happy to give Your

       10   Honor a closing statement if you think it's necessary.                 I

       11   think you know what I would say, to summarize.              But I think

       12   we've been at this a while, so (inaudible).

       13         So unless Your Honor has any questions for me, I would

       14   just say that the evidentiary record, I believe, supports the

       15   entry of an order approving both the Motion to Employ Mr.

       16   Seery as the Chief Executive Officer, CRO, and Foreign

       17   Representative, and the Motion to Appoint DSI as the Financial

       18   Advisor.

       19               THE COURT:     All right.     Well, I am going to grant

       20   both of these motions.        Again, as for Mr. Seery, it's as

       21   modified per the agreements with the Committee, that

       22   modification being that, as for any bonuses, we're just

       23   deferring to another day whether Mr. Seery is going to get any

       24   bonuses related to a plan, what kind of plan it might be, a

       25   case resolution plan or a monetization vehicle plan.




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        1         You know, I really hope, frankly, Mr. Seery is before me

        2   seeking a bonus in the very near future and we're all happy

        3   about the prospect of paying him a bonus because a plan has

        4   been achieved, hopefully a case resolution plan.                I will just

        5   tell you right now, I will have a big smile on my face and

        6   will warmly consider that if we get a great result here.

        7         But it's deferred to another day.           So I do find it's --

        8   the evidence amply shows a sound business justification and

        9   reasonable business judgment on the part of the Debtor in

       10   proposing that Mr. Seery be CEO and CRO, essentially, and a

       11   foreign representative, where necessary, at the base pay of

       12   $150,000 per month, again, with bonuses to be considered at

       13   appropriate times down the road if we feel that that is a good

       14   thing for Mr. Seery to be paid.

       15         And I likewise find that, under 327, 328, 363, the amended

       16   application with regard to DSI Specialists and Mr. Sharp and

       17   Mr. Caruso should be granted, it appearing to be reasonable

       18   business judgment and in the best interests of the estate and

       19   appropriate in all ways under those Code sections.

       20         All right.    So we are going to look for orders on those

       21   two matters.

       22         Now, unless you have other housekeeping matters you want

       23   to talk about, I want to circle back to the mediation topic.

       24   Mr. Pomerantz, Mr. Morris, anything you wanted to raise?

       25               MR. POMERANTZ:      There is actually one other




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        1   housekeeping matter that Ms. Patel and I have been speaking

        2   about and we said we would raise before Your Honor.

        3         As Your Honor heard at the last hearing, we had filed an

        4   objection to the Acis claim.          We initially set the objection

        5   for August 6th.      Ms. Patel reached out to us, I understand, I

        6   remember at the last hearing indicated that August 6th was

        7   difficult for her.       And especially since we were having the

        8   mediation, we had talked to her about a rescheduling.                 So we

        9   are intending put the matter on the September 10th calendar.

       10   We have also granted Acis an extension to file a response to

       11   July 31st.

       12         What I think we would like the Court's input on, and not

       13   now, but we would suggest having it done at the next hearing,

       14   which is July 21st, as I'm sure Your Honor has not yet read

       15   our objection, but it's a quite lengthy objection, I think 55,

       16   60 pages.     There's a lot of issues there.          There are some

       17   factual issues, some -- there are some legal issues.                There

       18   are some combination of factual and legal issues.

       19         We think it would be helpful to the process to set up a

       20   status conference with Your Honor -- again, to be held perhaps

       21   on July 21st, because discovery motions are pending -- where

       22   we could walk through with Your Honor what exactly everyone

       23   would intend to accomplish on September 10th.              We don't

       24   believe it should just be a status conference.              We searched

       25   other dates.     On the other hand, I think both parties will




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        1   have different views on what exactly will be at issue.                 But I

        2   think it would be helpful, from both sides, to hear Your

        3   Honor's expectations and to get some ground rules so we can

        4   make a hearing, if necessary, on September 10th as productive

        5   as possible.

        6               THE COURT:     All right.     So, in writing down dates,

        7   did you tell me what -- a deadline you have given Acis, or

        8   what is the deadline that would apply under the Rules versus

        9   what you have agreed to?        Is there something different you've

       10   agreed to?

       11               MR. POMERANTZ:      Sure.    I believe, for a hearing on

       12   August 6th, based upon when we filed it, I believe their

       13   objection would have been due July 23rd or thereabouts.                 They

       14   have asked us for July 31st, and I don't want to be as

       15   presumptuous, Your Honor, to say that I have given them the

       16   extension.     I know that's up to you, Your Honor, to do so.

       17   The Debtor does not have any opposition to an extension in

       18   that respect, especially given the fact that we're not going

       19   to have a hearing until September, although it's obviously

       20   going to be important to be able to move forward with

       21   negotiations to understand what their specific position is,

       22   and, of course, for a mediator to look at both as well.

       23         So, again, it's July 31st, September 10th, and then

       24   setting up something with Your Honor, whether it be July 21st

       25   or some other date, to walk through Your Honor what that




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        1   hearing will look like so it could be most efficient.

        2               THE COURT:     All right.     Well, I am agreeable to that

        3   set of dates and deadlines.          Ms. Patel, did you want to say

        4   anything about it?

        5               MS. PATEL:     No, Your Honor.      Mr. Pomerantz hit the

        6   salient terms.      Yes, July 31st is the agreed response date.

        7   And that allows, frankly, parties to -- an opportunity --

        8   allows Acis the opportunity to meaningfully brief the issues,

        9   as Mr. Pomerantz indicated.

       10         It's a 60-page objection.         It's very weighty.       There's a

       11   lot of issues that require due consideration.              So we have

       12   agreed on that extended date.          It's in sufficient time to

       13   allow the parties time to read a response and analyze it ahead

       14   of a mediation in August.

       15         And as Mr. Pomerantz indicated, yes, the parties would

       16   like -- effectively, I think he -- he might have referred to

       17   it as a status conference.          Apologies, my WebEx is cutting in

       18   and out a little bit this afternoon.            But I think it's

       19   probably a status conference/scheduling conference so we can

       20   talk about what the trial of the claim objection is going to

       21   look like and how it should be structured.             And I think, as

       22   Mr. Pomerantz alluded to, parties may have very different

       23   contexts with respect to that, but we want to just run it by

       24   Your Honor, and ultimately it is going to be up to Your Honor

       25   with respect to how the trial goes forward.




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        1               THE COURT:     All right.      Well, I hope that you all are

        2   going to have lots of specific thoughts to share on what the

        3   hearing on September 10th would look like, because, holy cow,

        4   a $70 million proof of claim that -- I haven't looked at your

        5   proof of claim, but it is presumably based on the 34 counts in

        6   the adversary proceeding filed in the Acis case, and maybe

        7   then some.

        8         So, you know, I don't know how in the world, if we had to

        9   have a contested hearing on September 10th, we could get that

       10   all done in one day.

       11               MR. POMERANTZ:      Your Honor, Jeff Pomerantz again.

       12   Without getting ahead of ourselves, at least the Debtors' view

       13   is there are some threshold legal issues --

       14               THE COURT:     Okay.

       15               MR. POMERANTZ:      -- that are raised in the objection.

       16   And then there are, of course, a series of issues that are

       17   factual-intensive.

       18         So what we intend to present is how we think we can

       19   efficiently deal with it.           Again, it's not our expectation to

       20   have a lengthy trial on the entire claim objection.                 But,

       21   again, Ms. Patel and I agreed that what we weren't going to do

       22   is turn this into a status conference.

       23               THE COURT:     Okay.

       24               MR. POMERANTZ:      To the effect that neither party was

       25   ready.    I would just leave it at that --




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        1               THE COURT:     Okay.

        2               MR. POMERANTZ:      -- and say we'd be prepared to talk

        3   with you on the 21st.

        4               THE COURT:     Okay.    Well, we -- we'll use that setting

        5   partly as a status conference to talk about the September 10th

        6   hearing.    And, again, I hope you both will have some specific

        7   ideas to give me.

        8         So, July 21st, we have -- remind me what we have.               We are

        9   so busy, I haven't looked one week ahead to --

       10               MR. POMERANTZ:      I believe, and Mr. Morris could

       11   correct me if I get ahead of ourselves.             I know there's been

       12   discussions between us and the Committee on two very -- two,

       13   in some sense, the opposite sides of the coin -- discovery

       14   motions that are pending before Your Honor.              I thought July

       15   21st may have been pre-obtained.           Again, I could be ahead of

       16   my partner there.

       17               THE COURT:     Okay.    That sounds like something that

       18   I've set on an expedited basis in the past few days.                Mr.

       19   Morris, Mr. Clemente -- Mr. Clemente filed a motion, or

       20   someone from their shop filed a motion --

       21               MR. CLEMENTE:     Your Honor?      Your Honor?

       22               THE COURT:     -- during the middle of our last hearing,

       23   as I recall.     And I was kind of surprised to get out of court

       24   and learn about it.       But you're saying you haven't gotten

       25   information you've been asking for for months, and we also




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        1   have a motion for a protective order.

        2         So, just give me a short -- I'm trying to figure out how

        3   much time we're going to be in court next week on the 21st.

        4   It's a discovery dispute.

        5               MR. POMERANTZ:      And I'll --

        6               THE COURT:     So, Mr. Pomerantz?        Go ahead.

        7               MR. POMERANTZ:      Your Honor, if my colleague, Paige

        8   Montgomery, is on, she's in a better position to address that.

        9   I don't know if Ms. Montgomery is on.

      10                MS. MONTGOMERY:         I'm here.   I don't -- my WebEx has

      11    been cutting in and out, but I think (inaudible) hear me.

      12                THE COURT:     We can hear you, but we can't --

      13                MR. POMERANTZ:      Yes, we can.

      14                THE COURT:     Oh, there you are.        We can now see you as

      15    well.    So, --

      16                MS. MONTGOMERY:         Yes, Your Honor.     I think the amount

      17    of time that might be required for the discovery motions is

      18    going to be dependent on the number of third-party objections

      19    that may or may not be filed tomorrow.               We've been in

      20    communication with a number of different parties over the last

      21    couple of days, trying to resolve those.

      22          But I think, if it were just the two motions and the two

      23    parties that filed those, John, I don't know if you disagree,

      24    but I'd say that's probably an hour.             I just don't know how

      25    many other people -- I don't know how many other people will




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        1   want to participate, Your Honor.

        2               THE COURT:     Okay.    Well, it's going to be whatever

        3   it's going to be, but we're going to have -- the main event on

        4   the 21st is going to be this document discovery contest, and I

        5   guess there's a related motion for protective order.                But I

        6   don't know how much it's going to be about resisting producing

        7   documents versus we'll produce documents if we have a

        8   protective order.

        9         Mr. Morris, can you, in, you know, a few seconds, answer

       10   that?

       11               MR. MORRIS:     Sure.    As the Debtor, we're trying to --

       12   we've got certain interests to protect.             We thought we were in

       13   a different place in the middle of June, and, you know, this

       14   proposal that the Committee made for the first time on July --

       15   on June 26th is really what, from my perspective, prompted us

       16   to be here.

       17         But we've made a proposal to the Committee.               We haven't

       18   received a response to that.          We're trying to address these

       19   issues.    But it's not, you know, it's not contentious.               I

       20   think our interests are legitimate.            I think the motion that

       21   we made is either for a protective order or for an order

       22   directing us to produce the documents.            Because as the motion

       23   itself sets forth, Your Honor, the Debtor has certain

       24   contractual and other obligations to some third parties.                   We

       25   have given notice to those third parties of our -- of our




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        1   intent to make this motion, because we are kind of between a

        2   rock and a hard place.        We can't produce the documents

        3   without, you know, potentially violating obligations to third

        4   parties.

        5         And so we'd just ask the Court to be the referee here, to

        6   make the decision as to how it gets resolved.              And we've given

        7   notice to these third parties so that they fairly have an

        8   opportunity to be heard, too.          And I've been in communication

        9   with some of them as well, and I've encouraged them to speak

       10   with the Debtor, because ultimately, you know, if the Debtor

       11   and the third parties can come to an agreement on the

       12   production of the documents, you know, that will resolve, you

       13   know, a substantial piece of the issue.

       14               MR. POMERANTZ:      You mentioned the -- you meant the

       15   Committee, John, not the Debtor.

       16               MR. MORRIS:     I apologize.      Yes.   Thank you.

       17               MR. POMERANTZ:      Thank you, John.

       18               THE COURT:     Okay.    Well, I hope you have this largely

       19   worked out.     Obviously, I hope that.         You know, I just

       20   remember doing a very quick pass through the Committee's

       21   motion, but I do remember them saying they've been trying to

       22   get these documents for a very long time, and I think I recall

       23   there's pressure building now because I gave you a 90-day

       24   deadline to either file a lawsuit regarding the CLO Holdco

       25   issues that we had a hearing on a few weeks ago, a couple of




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        1   weeks ago, or I'm probably going to release the money in the

        2   registry of the Court.        And so that's part of why you're

        3   trying to get these documents as soon as possible, right, Ms.

        4   Montgomery?

        5               MS. MONTGOMERY:         Yes, Your Honor.

        6               THE COURT:     Okay.     All right.     You all try to work

        7   this out.     Okay?

        8               MR. CLEMENTE:     Thank you.

        9               THE COURT:     Well, I was partly pressing the issue of

       10   what's July 21st going to look like because I think we may

       11   carry over the discussion about mediation.              We're going to

       12   start it right now, but I think we may have to carry it over

       13   to the 21st, and I hope finally kind of get a game plan

       14   together on that day.

       15         So, I wanted Mr. Seery to be available.             Mr. Seery is --

       16   if you're still there somewhere.            You're very important, in my

       17   view, to mediation potentially being successful here -- and

       18   the whole Board is, for that matter -- because -- well, let me

       19   digress a minute.

       20         Mediation is going to be very tough here.              We all know

       21   that mediation tends to be more likely to succeed if we've got

       22   face-to-face, in-person participation.             And as I said last

       23   week, I just don't know how I can order people to be in face-

       24   to-face mediation right now.           I just -- we've got people

       25   spread out, and I think it would be very, very bad to order




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        1   face-to-face mediation right now.

        2          But on the topic of mediation, you know, I've heard some

        3   things that, you know, we all know, but I've heard some things

        4   from Mr. Seery that are important to stress today.                This isn't

        5   the type of case that needs to be in bankruptcy for months and

        6   months and months and months.          Okay?    We have the issue of the

        7   professional fees accruing, of course, like every case.                 But

        8   we have a company where -- it's a strange fit for bankruptcy,

        9   right, this kind of company.          And it's so dependent on people

       10   to provide value.       And people can bolt.        You know, people can

       11   get weary of the bankruptcy and want to be somewhere else

       12   where that taint is not there in the marketplace.

       13          The issue of the UCC protocols was brought up by Mr.

       14   Seery, and I know that is something that is going to be

       15   cumbersome, you know, for this company to be in bankruptcy

       16   long-term.

       17          So, I want to go to Mr. Seery, and it may be unusual for

       18   me to reach out to you and ask this, but I want to hear from

       19   you:    Do you think mediation is a waste-of-time pipe dream,

       20   for lack of a better term?          I really want mediation to happen,

       21   because I don't know how we quickly get a confirmed plan if we

       22   have, well, the voting issue, for one, right?              We have to, at

       23   a minimum, figure out what is UBS's voting claim.                What's its

       24   claim for voting purposes?          What is Acis's claim for voting

       25   purposes?     A looming, huge issue in my mind.           So I feel like




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        1   we've got to have mediation.          We've got to get a strong shot

        2   at getting these two claims liquidated, at least for voting

        3   purposes, if not overall.

        4         So, is this a pipe dream, Mr. Seery, in your view, that

        5   mediation might get to resolution on these two claims?                 What

        6   do you think about it?

        7               MR. SEERY:     The quick answer, Your Honor, is I don't

        8   think it's a pipe dream.        I think there's a legitimate shot to

        9   move parties together.

       10         Let me just say one thing that -- reflecting on what Mr.

       11   Clemente said.      I want to make clear for the record that, to

       12   the extent I misspoke, and it would have been misspeaking, I

       13   have no negative implication regarding the sophistication,

       14   professionalism, or focus of Sidley --

       15               THE COURT:     Uh-huh.

       16               MR. SEERY:     -- or FTI or any of the professionals.              I

       17   know these folks.       They're really good.        They're very

       18   sophisticated.      I have the highest professional and personal

       19   respect for them.       So, to the extent that I misspoke, I

       20   apologize.

       21               THE COURT:     I don't think you did, and that's not how

       22   I heard it --

       23               MR. SEERY:     Okay.

       24               THE COURT:     -- and that's certainly not how I meant

       25   it.   It's just a fact of bankruptcy that it's expensive.




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        1   Okay?    So, --

        2               MR. SEERY:     Yeah.

        3               THE COURT:     Right.

        4               MR. SEERY:     I just wanted that to be clear.

        5         I think, particularly with respect, Your Honor, to the

        6   Acis and UBS claims, our professionals have done a lot of work

        7   on them.    Obviously, the professionals for Acis and UBS have

        8   done a lot of work on them.          There may be things that we know,

        9   the perspectives that we have, and perspectives that the other

      10    side has, that may not be as well-founded as each side thinks.

      11    It could be very valuable to have a third-party objective

      12    observer, cajoler, somebody who's strong, to help move the

      13    parties off of certain positions.

      14          We would like to think, as a Board, Independent Board, and

      15    I'd like to think as an Independent Director and now as a CEO,

      16    I didn't really have a -- the proverbial dog in that fight for

      17    either of those claims.        I wasn't -- I'm not a Highland

      18    employee.     I don't have any animus towards any of the sides.

      19    I don't have any history with any of the sides.

      20          But I'm realistic that I take a perspective around certain

      21    claims and how they're brought, the factual and legal basis

      22    for them.     And I get a lot of that information from Highland

      23    employees, and we use that information to then perform the

      24    analysis with our professionals.

      25          Likewise, these parties have been involved in, on the




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        1   other side, very entrenched disputes with Highland and

        2   Highland employees.       And they've dug in on their positions.

        3         Having a third party hear each side and start to move

        4   could give us the chance to break it open.             I think there's --

        5   and there's two really important aspects.             One is the claim

        6   amount, and then, obviously, the distributions on the claims:

        7   How to make those, how much are they, when are they made?                   We

        8   can work on both of those, and I think we need some help

        9   moving us both on the claim amounts and on how to make the

       10   distributions.

       11         We've made progress with Redeemer because even though they

       12   had -- they had an arbitration award, so we knew what the

       13   outside would be.       Now, Redeemer and their attorneys are very

       14   good and very creative.        They could stretch the outside in

       15   those discussions.       I won't get into what they are.           But we

       16   were able to more easily fashion around the particulars of

       17   that claim because there was that judgment from the

       18   arbitrators that, while it hasn't been entered, gave us much

       19   more guidelines as to where we could look.             The other claims

       20   are much more amorphous, at least at this stage, and having a

       21   third party help us develop perhaps closer goal lines would be

       22   useful, in my opinion.

       23         But, again, I think it's very important that we do it

       24   quickly.    I think we -- you know, somebody who is focused,

       25   strong.    I'm sure they'll be highly intelligent and versed in




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        1   the field, but somebody who's got the opportunity and time to

        2   do it.    And then, if it's unsuccessful, then, as Mr. Pomerantz

        3   and Ms. Patel alluded to, then perhaps we may need some

        4   judicial help to move those goal lines a little bit.

        5         But I do think that mediation -- and I apologize for the

        6   length of my answer -- could be a very helpful way to do it,

        7   provided we get there quickly.

        8               THE COURT:     All right.     I guess my other question I

        9   wanted your view on is structure.           You know, when someone --

       10   Mr. Pomerantz, I think -- told me that he or others had

       11   reached out to our judges in Houston, Judge Jones and Judge

       12   Isgur, my initial reaction -- and, frankly, my continued

       13   thought on that -- is they just don't have meaningful time,

       14   because I don't think one day of cajoling is going to be

       15   enough to get -- you know, you're a billion dollars apart on

       16   UBS, right?     The Debtor, I guess, thinks zero is the amount of

       17   their claim, and UBS thinks it's a billion, and it's been

       18   litigated for 11 years.        And then I personally know, you know,

       19   how Acis feels about its positions.

       20         So, anyway, what I'm getting at is structure.              I in some

       21   ways think what we need here is sort of a master statesman-

       22   type person who would spend meaningful time, not just a day or

       23   two, but days or even weeks trying to reach a grand

       24   compromise.

       25         On the other hand, in my experience -- I've never done




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        1   that in a case as judge.        But as a lawyer, I felt like that

        2   kind of person can hijack a case, and we don't need that here.

        3   We have wonderful professionals, a wonderful Board, a

        4   wonderful CEO.      We don't need that kind of help, I worry.

        5         So, I guess where I'm evolving, you know, we've got the

        6   two-sitting-judge option that would be free mediators that

        7   could give you a day or two.          Maybe.    And then we have kind of

        8   the master statesman who might be in there for weeks, trying

        9   to help you reach a grand compromise.

      10          Another option, I think, is one or two mediators who just

      11    zero in, you know, on the UBS claim versus -- and the Acis

      12    claim.    And I have a couple of private mediators in mind that

      13    have very good video capabilities to have a sophisticated

      14    video mediation.

      15          So, all of this rambling to say, Do you think we need to

      16    just zero in on Acis and UBS and maybe have one or two people

      17    to do formal video mediation with those two parties, or do we

      18    need sort of more of a grand pooh-bah, grand compromise-type

      19    person?

      20                MR. SEERY:     My view, Your Honor, is that we should

      21    focus on the claims, but they're not just going to be two-

      22    party, because we do have other active constituents.                I think

      23    Redeemer, with their party in interest status, is going to

      24    want to be part of it.

      25          I think if we can focus on those, we have the




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        1   professionals to help drive the grander bargain that I've

        2   alluded to in some of those discussions we've been having.                  So

        3   they haven't progressed as far as I would like, but they have

        4   progressed.     We do need the bottom line number for where

        5   claims are going to come out.          But also that will help frame a

        6   little bit as to what parties expect in terms of distributions

        7   on their claims.

        8         And I think the reason that we had some impetus behind a

        9   sitting judge -- frankly, I didn't know that sitting judges

       10   couldn't be paid.       I think that's -- there should be a

       11   standard rate, because we shouldn't take people's time for

       12   free in these cases, and I know judges work extremely hard and

       13   if they're going to put in extra time, then they should maybe

       14   be compensated, but that's a whole different issue.

       15         I don't think we should get too hung up on the cost.                We

       16   are -- the costs of this case are extremely high, and we are,

       17   with best intents, sometimes getting ourselves wrapped up in

       18   things that should be, I think, more swiftly and economically

       19   dealt with and dispatched.

       20         So, if we can get a good mediator, and I think the reason

       21   folks think about a judge is -- a sitting judge, it's not just

       22   the vast experience that folks -- judges like yourself have,

       23   Your Honor, and in particular with these issues, but also the

       24   requirement that all the participants, notwithstanding the

       25   professionals and -- that you see here, the requirement that




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        1   all the participants know that they're dealing with a sitting

        2   judge, there's a certain decorum that's required.                But that, I

        3   think we get anyway.       But there's also a -- there's less

        4   willingness to go to the furthest reaches of your argument

        5   when you have someone who's on the bench who sees those types

        6   of positions taken frequently and can dispatch with them more

        7   readily.

        8         So, I think there are a number of individuals that I've

        9   dealt with in the past who would have the ability, the

       10   gravitas, for lack of a better term, to be able to help push

       11   the parties in the right direction.            And I think it's a matter

       12   of finding somebody, as you said, with both the capabilities,

       13   which we'll find, but also the capacity in terms of the time

       14   to do it.     And then, in the video age, maybe some facility in

       15   being able to make that happen both rapidly and effectively on

       16   screen.

       17               THE COURT:     Okay.

       18               MR. POMERANTZ:      Your Honor, this is Jeff Pomerantz.

       19   And I'd just make a couple of comments.

       20               THE COURT:     Okay.

       21               MR. POMERANTZ:      You know, as Mr. Seery said, we were

       22   predisposed towards a sitting judge.            And while we did share

       23   the same concerns about the timing of Judge Jones and Isgur,

       24   we understand you've probably been in communication with them,

       25   and if that's not going to work, we appreciate it.                We want




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        1   this mediation to be effective and we want someone to spend

        2   the time with it.       And if you didn't feel that they, you know,

        3   could commit to that, we totally appreciate that.

        4         We thought long and hard about the people that you

        5   identified at the last hearing, former Judge Peck and Sylvia

        6   Mayer.    We've done our diligence.         The Debtor would be willing

        7   to mediate before Sylvia Mayer.           We think that, based upon our

        8   diligence, the people we've spoken to, that she, if she

        9   otherwise had the time and the abil... the time to devote to

       10   it, that being a former big-firm lawyer in permanent practice

       11   now as a mediator, that the Debtor would find her acceptable.

       12               THE COURT:     All right.     Does anyone else wish to

       13   comment?    Because I have a very positive view of Sylvia Mayer,

       14   and certainly her video capabilities, I think, are far and

       15   away better than a few other people I've chatted with.

       16               MS. PATEL:     Your Honor?

       17               MR. CLEMENTS:     Your Honor?      Oh, I'm sorry.

       18               MS. PATEL:     Go ahead.

       19               MR. CLEMENTE:     Your Honor, --

       20               THE COURT:     Not that I would ever, you know, put that

       21   ahead of, you know, overall abilities, but it just is an added

       22   plus, a huge plus right now during COVID.

       23         Go ahead.

       24               MR. CLEMENTE:     Your Honor, Matt Clemente on behalf of

       25   the Committee.      Just a couple observations, building a little




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        1   bit on what Mr. Seery said.

        2         We had consensus among the Committee around Judge Isgur

        3   and Judge Jones.      I think the view, the consensus view -- and,

        4   again, I use the word consensus and not unanimity because I

        5   want Your Honor to understand that -- is that having a sitting

        6   judge, ideally, given the personalities as you've expressed

        7   and I think as Mr. Seery has expressed, provides the best

        8   possibility for a successful mediation.             It may not be that

        9   overlord that spends three weeks, but, you know, it is a

       10   strong personality that -- not that any of the names that have

       11   been raised aren't tremendously to be respected, but that

       12   would be respected by all of the parties simply by the fact

       13   that they're a sitting judge.

       14         With that said, Your Honor, and, again, the speed.               Again,

       15   I don't have unanimity from the Committee, but there is

       16   consensus to see if Sitting Judge Green from the Southern

       17   District of New York would have the time and the capability to

       18   spend.    And I know Your Honor has concerns about the time.                I

       19   think Judge Isgur and Judge Jones occupy a special place in

       20   terms of how busy they are, but at least among the Committee

       21   members, there's been discussion that that may be a suitable

       22   approach in terms of identifying a mediator and accomplishing

       23   the objectives of having a very strong mediation, mediator, on

       24   a timely basis, that has the best possibility of success.

       25         That being said, Your Honor, based on what Mr. Pomerantz




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        1   said, if Mr. Green is not acceptable or if Your Honor doesn't

        2   wish for us to go in that direction, I do have consensus among

        3   the Committee members to move forward with Ms. Mayer as

        4   mediator.

        5         So, a little -- maybe a little convoluted in my comments

        6   there, Your Honor, but the main thrust is I think there is

        7   consensus among the Committee to consider a sitting judge, and

        8   Judge Green would be someone who would be satisfactory.                 And

        9   if he's not acceptable, or I should say acceptable but not

       10   able to do it, Ms. Mayer would be acceptable to the Committee.

       11               THE COURT:     All right.     Well, let me put this out

       12   there.    I talked on a no-names basis with Ms. Mayer last

       13   Friday.    And it was actually more in the nature of making

       14   inquiries about how an organization she's connected with, the

       15   AAA -- you've heard of the American Arbitration Association;

       16   they, of course, do mediation -- what their experience and

       17   capabilities were with many, many parties and video mediation.

       18   And as you might guess, they have a lot of experience already

       19   -- you know, a number well in excess of a hundred; I can't

       20   remember -- of doing video mediations with many parties and

       21   having the different constituencies in this caucus room and

       22   that caucus room.       And, very importantly, having lots of IT

       23   staff to give instructions, to give help, to, you know, tackle

       24   technology problems.

       25         But in that discussion, I learned that there is a panel




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        1   that AAA has put together of 12 mediators that have bankruptcy

        2   expertise.     And, of course, Sylvia Mayer is one of those

        3   people.    But Retired Bankruptcy Judge Gropper -- is it Groper

        4   or Gropper from the Southern District of New York?                 I always

        5   forget which way he pronounces his name.              Anyway, he is on

        6   that.    He is on that panel of 12.

        7         Mr. Seery, you're grinning like you want to say something

        8   about this.

        9               MR. SEERY:     No.      Only on the Gropper/Groper, because

       10   there's a professional that I know that is similarly named,

       11   and I believe -- and I believe Judge Groper -- I may have it

       12   wrong, but I think it's -- it's Judge Groper and Dan Gropper.

       13   But that's the best I --

       14               MR. NEIER:     It's Dan Groper and Judge Gropper.             I

       15   actually had a mediation with the two of them when they argued

       16   about the pronunciation of their name.

       17               THE COURT:     Okay.     Well, Gropper.      So we -- it's

       18   Gropper.    Okay.

       19               A VOICE:    Yes.

       20               THE COURT:     My point was, without -- I've not talked

       21   to him at all.      And by the way, I haven't personally reached

       22   out to Jim Peck, but we'll stop that discussion about him.

       23   But after getting off the call with Sylvia Mayer and a couple

       24   of other people at the AAA Friday, I put together in my brain,

       25   maybe we could have a Sylvia Mayer/Allan Gropper tag team, two




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        1   mediators.     Okay?    I don't know how that would affect the

        2   cost, but that might be the way to go in such a complex case.

        3   You know, maybe they could divvy up among themselves.                 One

        4   would be the primary mediator on Acis, one would be the

        5   primary mediator on UBS, but they would both work together.

        6         If you all want to think on that, digest that a little,

        7   and we, you know, decide definitely next week on the 21st, we

        8   could do that.      Or we could just all say, yeah, that's a good

        9   game plan, and I can get on the phone after this.                Or it

       10   actually may be tomorrow, because I have a terrible hearing

       11   that I've got to prepare for at 9:30 in the morning tomorrow.

       12   It may be tomorrow.

       13         But do people want to let that soak in a little bit, or

       14   shall -- I mean, --

       15               MR. POMERANTZ:      Your Honor, this is Jeff Pomerantz.

       16               THE COURT:     -- frankly, I can order it either way.              I

       17   can order it.      But I just really want to be conciliatory to

       18   the parties who are owed the money and have to pay the money,

       19   if you want to think on it some.

       20               MR. POMERANTZ:      Your Honor, it's Jeff Pomerantz.

       21   Having my newly-minted CEO on the phone, Mr. Seery, I would

       22   ask him, and if he says that it would be okay, then it would

       23   be okay with me.

       24               MR. SEERY:     Be fine with me.

       25               THE COURT:     Okay.




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        1               MR. SEERY:     Yeah, I think the key is moving forward.

        2   I know it's much harder with a Committee, and I respect, you

        3   know, Matt Clemente's job there of having to get consensus.

        4   But from our perspective, if we were to push it off, you know,

        5   on the 21st, Your Honor, we -- we would request you to order

        6   something, because I don't want this to delay.

        7               THE COURT:     Okay.

        8               MR. CLUBOK:     Your Honor, if I may, speaking for UBS,

        9   it's Andrew Clubok.       You'll be happy to know I think that

       10   we're in agreement with Mr. Seery, and I guess, derivatively,

       11   Mr. Pomerantz.      We think the most important thing is to move

       12   it along quickly, and we trust -- you know, we're familiar

       13   with Judge -- or, with Mayer, and whether it's Groper or

       14   Gropper, I lost track, but I'm sure he is also going to be

       15   equally capable.      We do kind of think that two is probably

       16   necessary, given, you know, the sort of multi-layer

       17   (inaudible).

       18         But, really, our position has simply been we'll happily

       19   mediate with any, you know, effective mediator as quickly as

       20   possible, because we do think the sooner we do that, the

       21   sooner we might have a chance to get to yes.              So, I'm -- we're

       22   prepared to just say yes to the idea.

       23               THE COURT:     All right.     Does anyone else want to

       24   comment?

       25               MS. PATEL:     Your Honor?      And can you hear me?       I'm




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        1   sorry.    It's --

        2               THE COURT:     Yes.

        3               MS. PATEL:     Again, I'm still having WebEx problems.

        4               THE COURT:     Yes.

        5               MS. PATEL:     Your Honor, again, for the record, Rakhee

        6   Patel.

        7         Acis is fine with the proposal, Your Honor.               We've been

        8   amenable to virtually every proposal, and have been trying to

        9   hopefully be helpful with respect to getting this moved to

       10   mediation as quickly as possible.           We equally think that we

       11   should get to mediation as quickly as we can.

       12         And, you know, the only -- the only -- and I appreciate

       13   Your Honor's contemplativeness on this.             As you know, at least

       14   in connection with the Acis case, you know, we've been through

       15   two unsuccessful mediations so far.            So we're really hoping

       16   that the third time will go much better than the prior two.

       17         So, anyway, this is my very long way of saying we're fine

       18   with the proposal and are happy to kind of sign off on it.                   We

       19   don't need until July 21st to respond on that.

       20               THE COURT:     Okay.    Anyone else?

       21         (No response.)

       22               THE COURT:     All right.     Well, very good.        I'm going

       23   to move ahead on this and will confirm to you, hopefully

       24   before the 21st, through my courtroom deputy.              And, again,

       25   given the late hour, I think it's going to be tomorrow before




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        1   I pick up the phone and reach out to Sylvia Mayer and former

        2   Judge Gropper.

        3         But, again, I did, in speaking generically with Sylvia

        4   Mayer, asking her, Have you ever done like a two-mediator

        5   mega-mediation, and she said, Oh, sure.             You know, that's --

        6   she acted like it was quite common.            It's not something that I

        7   have seen very often, but I think we'll be in business with

        8   this game plan.

        9         Because, you know, I know everyone on this call knows

       10   this, but maybe not everyone's client knows this:                 If we don't

       11   -- if we don't have a successful mediation of both of these

       12   claims, or at least one of these claims, it's going to be

       13   years and years and years.          I mean, I know it's already been

       14   years for UBS, but it will -- it will be many, many more

       15   years.    And that's not what we're supposed to do in

       16   bankruptcy.     We're supposed to stop burdensome litigation and

       17   solve problems.      And I can't imagine your clients want to go

       18   on with three or four more years of litigation.                 But that's

       19   exactly what it will be, it's exactly what it will be, many

       20   more years of litigation, if we don't have mediated

       21   settlements.

       22         So, all right.

       23               MS. PATEL:     Your Honor, if I may very quickly.             I

       24   just wanted to make sure the Court was aware of something.                    In

       25   the context of mediation and as it relates to Acis's claim,




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        1   yesterday counsel for Mr. Dondero filed a joinder in the

        2   Debtors' objection to Acis's claim.            So, again, just thinking

        3   about this in the context of mediation, I think, with that

        4   joinder, they will be a necessary party.             So, going back to

        5   Mr. Seery's point, this is not just --

        6               THE COURT:     Oh, absolutely.      Mr. Dondero is --

        7               MS. PATEL:     -- a two-party --

        8               THE COURT:     -- going to be a required party in

        9   mediation.     Absolutely.     So, --

       10               MS. PATEL:     Thank you, Your Honor.

       11               THE COURT:     All right.     Well, if there's nothing

       12   further, we'll see you on the 21st.            And, again, my courtroom

       13   deputy may be reaching out before then if we've got things

       14   nailed down on mediation.

       15         (Proceedings concluded at 4:54 p.m.)

       16                                       --oOo--

       17

       18

       19

       20
                                            CERTIFICATE
       21
                 I certify that the foregoing is a correct transcript to
       22   the best of my ability from the electronic sound recording of
            the proceedings in the above-entitled matter.
       23
               /s/ Kathy Rehling                                        07/16/2020
       24
            ______________________________________                   ________________
       25   Kathy Rehling, CETD-444                                      Date
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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS


     IN RE:                   .         Case No. 19-34054-11(SGJ)
                              .
     HIGHLAND CAPITAL         .         Earle Cabell Federal Building
     MANAGEMENT, L.P.,        .         1100 Commerce Street
                              .         Dallas, TX 75242-1496
                              .
               Debtor.        .         March 4, 2020
     . . . . . . . . . . . . ..         1:31 p.m.


      TRANSCRIPT OF HEARING ON MOTION OF THE DEBTOR FOR ENTRY OF AN
        ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE
               DISTRIBUTIONS TO CERTAIN "RELATED ENTITIES"
                    BEFORE HONORABLE STACEY G. JERNIGAN
                   UNITED STATES BANKRUPTCY COURT JUDGE

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                                                                             3
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    1             THE COURT:    -- set a motion of the debtor for entry

    2 of an order authorizing but not directing the debtor to cause

    3 distributions to certain related entities.

    4             Let's get lawyer appearances in the courtroom.

    5             MR. POMERANTZ:     Good afternoon, Your Honor.         Jeff

    6 Pomerantz and Greg Demo, Pachulski Stang Ziehl & Jones, on

    7 behalf of the debtors.

    8             THE COURT:    Thank you.

    9             MS. HAYWARD:     Good afternoon, Your Honor.      Melissa

   10 Hayward and Zachary Annable of Hayward & Associates on behalf

   11 of the debtor.

   12             THE COURT:    Thank you.

   13             MR. CLEMENTE:     Good afternoon, Your Honor.      Matthew

   14 Clemente, Dennis Twomey, and Penny Reid from Sidley Austin on

   15 behalf of the Official Committee of Unsecured Creditors.

   16             THE COURT:    Thank you.

   17             MS. SHRIRO:     Good afternoon, Your Honor.      Michelle

   18 Shriro on behalf of CalPERS.        And I also have my co-counsel

   19 Louis Cisz from Nixon Peabody, and he is -- he should be on the

   20 line.

   21             THE COURT:    Okay.   Thank you.

   22             MR. LYNN:    Good afternoon, Your Honor.       Michel Lynn

   23 and John Bonds for James Dundero.

   24             THE COURT:    Okay.   Thank you.

   25             MS. PATEL:    Good afternoon, Your Honor.       Rakhee



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    1 Patel, Winstead PC, on behalf of Acis Capital Management, LP,

    2 and Acis Capital Management, GP, LLC.         Also, I have my co-

    3 counsel Mr. Brian Shaw of the Rogge Dunn Firm on behalf of the

    4 same clients.

    5              THE COURT:     Thank you.

    6              MR. PLATT:     Good afternoon, Your Honor.       Mark Platt

    7 firm Frost Brown Todd on behalf of the Redeemer Committee of

    8 the Highland Crusader Fund.       And I believe Terry Mascherin is

    9 on the phone, as well --

   10              THE COURT:   All right.

   11              MR. PLATT:   -- from Jenner & Block.

   12              THE COURT:   Thank you.

   13              MS. ANDERSON:    Good afternoon, Your Honor.       Amy

   14 Anderson with Jones Walker on behalf of the Issuers.            I believe

   15 Mr. James Bentley with Schulte Roth is also on the phone on

   16 behalf of the same parties.

   17              THE COURT:   Okay.   Thank you.

   18              All right.   We do have a large number of people on

   19 the phone.     I'm just going to go through the live lines and

   20 take roll.     Asif Attarwalla for UBS, are you there?

   21              MR. ATTARWALLA:    Here.    Yes, Your Honor.

   22              THE COURT:   All right.     James Bentley?

   23              MR. BENTLEY:    Yes, Your Honor.     I'm here.

   24              THE COURT:   Okay.   Also Jeff Bjork from Latham?

   25 Yes/no?



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                                                                               7
    1                                (No response)

    2             THE COURT:    All right.    Earnestiena Cheng for FTI?

    3             MS. CHENG:    Yes, Your Honor.

    4             THE COURT:    Okay, thank you.     And Louis Cisz, I think

    5 we heard he was CalPERS co-counsel.         Are you there?

    6             MR. CISZ:    Yes, I am, Your Honor.

    7             THE COURT:    All right.    Thank you.    Kimberly Gianis

    8 for Contrarian?      Yes/no?

    9                                (No response)

   10             THE COURT:    All right.    Terry Mascherin, I think we

   11 heard he was there for the Redeemer Committee.

   12             MR. MASCHERIN:     Yes, Your Honor.

   13             THE COURT:    Okay.   I'll just ask anyone else on the

   14 phone who wishes to appear, go ahead at this time.

   15                                (No response)

   16             THE COURT:    All right.    That may be it.

   17             All right.    Mr. Pomerantz, I see a 20-minute time

   18 estimate on our calendar.       I'm not sure where that came from,

   19 but that --

   20             MR. POMERANTZ:     I think that's quite aggressive.

   21             THE COURT:    Okay.

   22             MR. POMERANTZ:     Good afternoon again, Your Honor.

   23 Jeff Pomerantz, Pachulski Stang Ziehl & Jones.          First, I want

   24 to thank Your Honor for scheduling the hearing on shortened

   25 time.    I would also like to introduce once again the three



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    1 members of the independent board who have been appointed

    2 pursuant to the settlement, Your Honor, that Your Honor

    3 approved on January 9th.       That's James Seery, John Dubel, and

    4 Russell Nelms.

    5             THE COURT:    Okay.   Hello.

    6             MR. POMERANTZ:     I thought it might be helpful, Your

    7 Honor, to provide Your Honor with a brief background of each

    8 board member, how they have been approaching their duties as

    9 independent directors, and what the focus has been the first

   10 two months of the case.       And then I will go into the background

   11 of this present motion.

   12             THE COURT:    Okay.

   13             MR. POMERANTZ:     James Seery will be the debtor's

   14 witness at today's hearing, and he's a 30-year restructuring

   15 lawyer with extensive experience with high-yield and distressed

   16 investing both as a principal and manager which is precisely

   17 the business in which the debtors operate.          He is an attorney

   18 licensed to practice in New York who has passed and held the

   19 Series 7, 63, 79, SIE and Series 24 FINRA principal

   20 designations.

   21             From April 2012 to 2017, he was the president and

   22 senior investing manager of RiverBirch Capital.           And RiverBirch

   23 is an SEC-registered investment advisor managing a $1.3 billion

   24 global long short fund that focused on high yield loans, bonds,

   25 CLOs, and distressed investments.        Prior to that, Mr. Seery



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    1 spent ten years as a senior high yield manager at Lehman

    2 Brothers, and he was the global head of Lehman Brothers fixed-

    3 income loan business.

    4             Accordingly, Mr. Seery brings to his role as an

    5 independent director a unique combination of a legal

    6 background, restructuring experience, and a deep knowledge of

    7 the highly regulated business in which the debtor operates.

    8             Mr. Dubel brings 35 years' practice in the

    9 restructuring area.      His experience includes turnaround

   10 management, crisis management, operational restructurings, and

   11 corporate acquisitions and divestitures.          He's worked at both

   12 sides of the table, both on the company side and other side.

   13 And he brings a unique perspective to each situation, and he

   14 spent the last ten years being an independent director for a

   15 wide range of distressed companies including Purdue Pharma

   16 which obviously is the newest in current Chapter 11, WMC

   17 Mortgage, Wartaco (phonetic), FXI, and ResCap.

   18             And as an independent board member, he's plated a

   19 principle role in overseeing management, negotiating with

   20 creditors, supervising and investigating resolution, either

   21 consensually or through litigation of insider and affiliate

   22 claims, and also spearheading reorganization efforts.

   23             I'm sure Your Honor is familiar with Russell Nelms

   24 but briefly he was a distinguished bankruptcy litigator with

   25 Carrington Coleman for 20 years which followed a stint of six



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    1 years as a United States Army judge advocate, and also he sat

    2 with the bankruptcy court here in Fort Worth from 2004 to 2018.

    3             Your Honor, these individuals bring a complementary

    4 skill set to the independent board that have made them uniquely

    5 qualified to manage the debtor's restructuring efforts in this

    6 case, that bring a combination of sophisticated asset

    7 management experience, financial restructuring, a legal

    8 insolvency background, and judicial experience.           They've been

    9 involved in many cases on all sides of the aisle, whether it's

   10 been alleged wrongdoing or questionable conduct with people

   11 they've ever had to supervise as a board member, advise as a

   12 restructuring lawyer, work with as a financial advisor, or

   13 administer their cases as a judge.

   14             Mr. Seery and Dubel were selected by the Committee

   15 not only because of their relevant expertise but because of

   16 their commitment to independence and ability to stand up to

   17 strong personalities that exist on all sides of this case.             Mr.

   18 Nelms, while originally identified by the debtor, was scheduled

   19 by the Committee, and was ultimately chosen to be the third

   20 board member by Mr. Seery and Dubel from a group of highly-

   21 qualified candidates.

   22             Your Honor, I provide this background to stress that

   23 the independent board consists of individuals whose background

   24 and experience speak to their independence, experience, and

   25 strength, and who take their job seriously to do what they



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    1 believe is right for this debtor, and they're not bring

    2 influenced by any party in this case, be that the debtor, Jim

    3 Dondero, members of the management committee, members of the

    4 debtor's management, or the creditors' committee.           The

    5 reputations of each of these gentlemen at are stake in a case

    6 like this, and they take their attendance very seriously.

    7             Upon taking over on January 9th, 2020, the board

    8 quickly made a few observations about the current circumstances

    9 that have guided their actions today.         First, the board

   10 understood that the debtor was where it was in part due to many

   11 years of intense litigation arising out of sometimes aggressive

   12 management decisions or failure to settle certain employee

   13 disputes and that the litigation led to cost and diversion of

   14 time and energy for what the debtor did best which was manage

   15 assets.

   16             The board concluded that for case to succeed, the

   17 board would have to chance the culture from one of litigation

   18 to reconciliation and consensus building.          It doesn't mean that

   19 the debtor will back down from defending itself from claims

   20 that it doesn't believe are legitimate but rather the

   21 litigation that the company under their watch would be involved

   22 in would need to be carefully vetted by the independent board,

   23 outside advisors, and the results of which would guide the

   24 board's conduct.

   25             The board's focus has and continues to be operating



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    1 the debtor's business in accordance with its obligations of

    2 their debtor in possession in conformance with its statutory,

    3 contractual, and fiduciary obligations as an investment

    4 advisor.    By scrupulously meeting its obligations as an

    5 investment advisor, the debtor will continue to enhance the

    6 asset management business and avoid the litigation that

    7 contributed to this case.

    8             Second, the board understood the relationship between

    9 the debtor's largest creditors and senior management had

   10 materially deteriorated and that there was severe lack of trust

   11 that creditors had with respect to management.          The board

   12 initially determined, has determined to continue retaining the

   13 services of senior management because it believes that their

   14 historical background and deep knowledge of the debtor's assets

   15 provide material value to the estate.         However, the board's

   16 decisions thus far have and will continue to be based upon

   17 their independent review of the facts and circumstances and

   18 based upon consultation with outside advisors as appropriate.

   19             Third, the board believe that a lengthy stay in

   20 Chapter 11 only would serve to erode asset value while at the

   21 same time leading to extensive restructuring costs.           The Court

   22 and the board developed a timeline that will hopefully lead to

   23 a confirmed plan at the end of the year.

   24             Against this backdrop, the board is focused on the

   25 following things the first two months of the case.           Initially,



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                                                                              13
    1 the board met with all department heads and other members of

    2 senior management including Mr. Dondero and let them know that

    3 the board was now in charge and that all business decisions

    4 needed to be run by the board subject to the board delegating

    5 authority as it deemed appropriate.

    6             The board has had several calls with the committee

    7 and its professionals to discuss among other things the board's

    8 initial determination as to staffing levels and employee

    9 compensation, time-sensitive transactions that needed the

   10 committee's input under the Court's approved operating

   11 protocols, and the proposed timeline for achieving

   12 restructuring.     There is an in-person meeting scheduled next

   13 week in New York City between all the committee members and

   14 their professionals and the debtor and their professionals.

   15             Members of the board have also reached out to

   16 individual committee members and have had or will have meetings

   17 with them to understand their specific concerns with the debtor

   18 and to importantly have a dialogue about the claims they have

   19 against the debtor, as resolving the claims against the debtor

   20 is a key part of achieving a consensual restructuring in this

   21 case.

   22             The debtor's asset basis is also extremely complex,

   23 and the board has worked hard to get a grasp on how best to

   24 maximize their value.       The board has analyzed the debtor's

   25 liquidity needs and worked with the debtor's chief



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    1 restructuring officer to develop a 13-week cash flow and

    2 otherwise address how to enhance liquidity.          The board has also

    3 conducted a thorough review of the debtor's employee basis,

    4 including performance reviews and address ongoing staffing and

    5 compensation in a manner that the board believes will sustain

    6 the debtor's business operations and maximize value.

    7             Related to the motion before the Court, the board has

    8 evaluated the status of certain funds which were in the process

    9 of being wound down at the commencement of the case and has

   10 supervised their wind-down in a manner consistent with the

   11 debtors' fiduciary, statutory, contractual liabilities.             The

   12 board has also commissioned outside counsel to provide an

   13 independent analysis of the significant litigation claims that

   14 are facing the debtor.       And as I mentioned, the board

   15 anticipates engaging with these creditors to seek a resolution.

   16             The board is acutely aware that resolving

   17 consensually claims of creditors and claims the estate has

   18 against third parties is the only way to restructure this

   19 debtor efficiently and economically.         I'll now turn Your Honor

   20 to the background with respect to the motion, explain the

   21 relief requested, and address the two objections that are

   22 before the Court.

   23             Your Honor will hear testimony from Mr. Seery that

   24 the debtor is the asset manager of two hedge funds, Dynamic and

   25 ARF, that are in liquidation because of redemption requests



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    1 from large non-affiliated investors that render the funds

    2 economically not viable.       The term of the third fund, which is

    3 a private equity fund, Restoration Capital expired, and the

    4 governing board comprised of large institutional pension funds

    5 has refused to grant further extensions.

    6              Mr. Seery will testify that while these wind-downs

    7 were already in process and fully disclosed to the Court prior

    8 to the installation of the independent board, the board

    9 evaluated the decision to wind down the funds independently of

   10 the debtor's decision and decided that the prudent exercise of

   11 the debtor's business judgment was to continue with the wind-

   12 down.    Neither the committee nor Acis challenge the board's

   13 selection to continue with the wind-down.

   14              You will hear testimony from Mr. Seery that a

   15 priority of the independent board was to make sure that the

   16 debtor operated in accordance with applicable law to ensure

   17 that the debtor fills its obligations to investors and doesn't

   18 act or fail to act in a manner which could expose the debtor to

   19 liability.     After all, as I mentioned, Your Honor, a material

   20 reason why the debtor is before the Court is because of

   21 litigation claims that have plagued it over the last several

   22 years.

   23              Mr. Seery will testify that in evaluating the

   24 debtor's duties and obligations as an asset manager of these

   25 three funds, the board consulted with bankruptcy counsel with



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                                                                              16
    1 respect to the applicability of the operated protocols and

    2 domestic and Cayman counsel specializing in advising funds with

    3 respect to their obligations under the transactional documents,

    4 the Advisors Act, and general fiduciary duty obligations.

    5             Tim Silva, a partner of WilmerHale, the debtor's

    6 outside firm that provides fund advice, is present in the

    7 courtroom and will be available to answer any questions the

    8 Court or the parties have.       Dennis Olarou, a partner with Carey

    9 Olsen, is on the phone.       He is the debtor's Cayman counsel and

   10 also available.

   11             Importantly, Mr. Seery will testify that the

   12 independent board made the decisions that led to the filing of

   13 this motion based upon their own expertise and the advise of

   14 outside counsel and did not rely on the advice of the debtor's

   15 employees or any of the related parties.

   16             He will further testify that based upon the input of

   17 outside counsel, the independent board concluded, one, that the

   18 operating documents governing the funds did not permit the

   19 debtor to unilaterally withhold distributions from some

   20 investors and not others; that, two, the debtor risked

   21 breaching its fiduciary duty to investors under principles of

   22 common law if it withheld distributions on its own; and that,

   23 three, the debtor risked liability under the Advisors Act if it

   24 essentially attempted to use its position as an investment

   25 manager to gain leverage against investors in connection with



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    1 an unrelated matter, to wit, potential claims that the estate

    2 may have.

    3             The motion describes in detail the nature and extent

    4 of the debtor's obligations, and I think the substance of that

    5 is not challenged by either the Committee or Acis.           I didn't

    6 read their objections to challenge that the debtor has these

    7 obligations and seeks to fulfill them.

    8             Based upon the foregoing and to make sure that the

    9 debtor didn't expose itself to liability, Mr. Seery will

   10 testify that the board decided that it was obligated to

   11 exercise its authority as asset manager to distribute the funds

   12 to all investors.      After consultation with the bankruptcy

   13 counsel, Mr. Seery will testify that the independent board

   14 decided to provide the Committee with notice prior to making

   15 such distributions as were required by the operating protocols

   16 approved as part of the settlement.

   17             The Committee objected to the distributions which led

   18 to the filing of this motion.        The objections relate to

   19 distributions to be made as follows.         Mr. Seery will testify

   20 that Dynamic proposes to distribute $35 million of investor

   21 funds that are held by Dynamic of which CLO Holdco stands to

   22 receive $872,000 and Mr. Okada stands to receive $4,176,000.

   23             With respect to ARF, Mr. Seery will testify that they

   24 propose to distribute $22 million of investor funds held by

   25 ARF.    HoldCo stands to receive $1.5 million.        And with respect



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    1 to Restoration Capital Partners, it proposes to distribute

    2 $123,250,000 of which 2.1 million will be received by ACM

    3 Services and, importantly, the debtor will receive 18 and a

    4 half million dollars, the balance of approximately 121 million

    5 would be distributed to non -- or 103 million would be

    6 distributed to non-related parties, including CalPERS which

    7 filed the statement with the Court.

    8             The Committee and Acis argue that the Court should

    9 prohibit the debtor from making distributions to related

   10 parties, notwithstanding the debtor has contractual, fiduciary,

   11 statutory obligations to do so as an asset manager.           It is

   12 important for the Court to understand that the money to be paid

   13 to these related parties is not the debtor's money, it's not

   14 property of the estate.       It's actually funds that are the

   15 investors' funds that were invested in these various funds.

   16             Essentially, the Committee argues and Acis argues

   17 that because the debtor may assert claims against some of all

   18 of these related parties at some time in the future, the Court

   19 should prohibit the debtor from authorizing the distribution of

   20 non-debtor estate funds.       Essentially as we said in our papers,

   21 the objectors are asking this Court to issue a pre-judgment

   22 write of attachment adjoining these distributions without the

   23 filing of any complaint which would assert causes of action,

   24 without the need to satisfy applicable standards for a pre-

   25 judgment writ either under Federal Rule of Civil Procedure 64



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    1 estate law, and without appropriate notice to the parties and

    2 an opportunity to object.

    3             The objectors want to use the debtor's position as an

    4 asset manager to stop distribution of funds in which the debtor

    5 has no interest to gain a potential litigation advantage

    6 against these related parties.        The debtor just submits that is

    7 not appropriate.      The Committee and Acis spent a lot of time in

    8 their papers talking about the allegations and in some estate

    9 case findings against the debtor's prior management relating to

   10 the operation of the debtor's business, some of which have

   11 matured into claims against the estate.

   12             However, the fact that the debtor's actions taken by

   13 prior management led to claims against the debtor is not

   14 legally relevant as to whether the debtor should be permitted

   15 to make these distributions of non-estate funds.           Allegations

   16 of prior wrongdoing would not be sufficient in the context of a

   17 pre-judgment attachment, and it should not form the basis for

   18 essentially the injunctive relief the Committee and Acis urge

   19 to the Court.

   20             The Committee also argues that because the

   21 Committee's currently investigating claims against the released

   22 parties and other insiders that the distribution should be held

   23 up essentially indefinitely until the Committee completes its

   24 investigation.     Whether or not the estate has claims against

   25 the related parties and insiders is unknown at this point



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    1 except for the notes which I will address in a moment.

    2             Also, whether or not there are claims and how the

    3 related parties acquired their investment in the funds is also

    4 unknown at this time.       Since January 9th, the Committee has had

    5 standing to investigate and prosecute these claims and the

    6 debtor is cooperating with the Committee in its investigation.

    7 If legitimate claims exist, they should most certainly be

    8 prosecuted, and the independent board will cooperate with the

    9 Committee in its efforts.

   10             However, at this point other than with respect to the

   11 notes, there is no admissible evidence that any claims exist,

   12 and no claims have been clearly articulated other than some

   13 vague allegations of fraudulent conveyance, breach of fiduciary

   14 duty, the garden variety of claims you would expect to be

   15 asserted in a case like this.        Again, no bankruptcy court, no

   16 non-bankruptcy court would be authorized to enjoin payments on

   17 the basis of these vague and unasserted claims, and the Court

   18 shouldn't accept the invitation to do so wither.

   19             The Committee also points to certain demand notes

   20 executed by Jim Dondero, Mark Okada, and ACM Services in favor

   21 of the debtor as a basis for withholding the distributions.

   22 The debtor has made a demand on Mr. Okada to pay back the note,

   23 and he has asserted that he may have potential offsets and the

   24 nature of potential service obligations and expense

   25 reimbursements allegedly owed to.        At some point in time, we



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    1 suspect those issues will be resolved either consensually or

    2 there will be litigation to recover the demand.

    3             ACM Services which is owned 75 percent by Mr. Dondero

    4 and 25 percent by Mr. Okada, executed several notes in favor of

    5 the debtor of which 850,000 are demand notes.          The total amount

    6 is approximately seven and a half million.          The remaining notes

    7 are current and have been paid down over the years.

    8             The debtor has not made demand on ACM Services for

    9 payment of the notes, nor have they made demand on Mr. Dondero

   10 for payment of the notes he issued in favor of the debtor.             Mr.

   11 Seery will testify that the reason for that is that, as I

   12 indicated before, the board recognizes that in order for there

   13 to be a consensual restructuring in this case, it's going to

   14 involve not only resolution with the creditors and their claims

   15 but also resolution with Mr. Dondero or potential claims the

   16 estate has.

   17             The independent board at this early stage in the case

   18 does not believe that commencement of an adversary proceeding

   19 against Mr. Dondero at this time is in their best interest.               If

   20 this case turns into a litigation case, and as Your Honor

   21 experienced previously, then such litigation will be commenced.

   22 However, until the board has the opportunity to try to forge a

   23 consensual resolution, aggressive action is premature.              The

   24 last thing, Your Honor, CLO Holdco is not a party to any demand

   25 notes.



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    1             THE COURT:    Let me stop you.

    2             MR. POMERANTZ:     Sure.

    3             THE COURT:    You mentioned dollars on the notes.         The

    4 note receivable from Okada I think is 1.3 million.

    5             MR. POMERANTZ:     With credentials, yes.

    6             THE COURT:    And then you mentioned roughly seven and

    7 a half million of notes receivable from HCM Services.

    8             MR. POMERANTZ:     Of which 950 are demand notes.        The

    9 rest are currently before me in accordance with the terms.

   10             THE COURT:    Okay.   You didn't mention a dollar amount

   11 on the note receivable from Dondero.         My notes show 9.3

   12 million.

   13             MR. POMERANTZ:     Yeah, and so I think that's around

   14 that --

   15             THE COURT:    Is that a demand note or notes?

   16             MR. POMERANTZ:     That is a demand note and then the

   17 related party notes, yes --

   18             THE COURT:    Okay.

   19             MR. POMERANTZ:     -- Your Honor.     And, again, we're now

   20 the board knows, fully aware.        The board could have commenced a

   21 lawsuit.    Honestly, Your Honor, the Committee could have

   22 commenced a lawsuit in the last two months.          I suspect the

   23 Committee also would like to see a consensual restructuring.

   24             And I think parties are taking the view of, again,

   25 this can be a litigation case which would be like a lot of



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    1 money for all the professionals, not really do all that well

    2 for the creditors.      Or the parties could cooperatively work

    3 towards a restructuring to see based upon the leverage, based

    4 upon the claims everyone has that it makes more sense.             And the

    5 board's determination, again, made on its own coming into this

    6 case in the last two months is that proceeding aggressively now

    7 just does not make sense.

    8             Even though it has not commenced any litigation

    9 against the related parties nor presented any evidence of any

   10 claims against the related parties, the Committee asks this

   11 Court to use its equitable powers under Section 105 to enjoin

   12 the distribution again of non-estate funds to the related

   13 parties.    Your Honor, bankruptcy court -- bankruptcy

   14 practitioners in certain cases love to use 105, assert 105.             My

   15 experience has been when you assert 105 and that's all you

   16 assert 105, it really means you don't have much authority and I

   17 think that's the case here.

   18             The courts have held that 105 is not -- grant the

   19 court authority to be a roving commission to do equity because

   20 it has to be tethered to something in the Bankruptcy Code.

   21 Here the proper way for the Committee to obtain the relief they

   22 sought was to file a complaint and seek pre-judgment remedy,

   23 either an attachment under Rule 64 or an attachment under

   24 applicable provisions of Texas law or other applicable law, or

   25 an injunction under FRCP 65.



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    1             The debtor would not stand in the way if the

    2 Committee decided to do that.        That's what the debtor bargained

    3 for.    They gave the Committee the authority to do that.           The

    4 Committee has not yet done that.        And the Court should just not

    5 allow the debtor -- the Committee to use the debtor's position

    6 as fiduciary to its investors as leverage.          That's what's

    7 really happening.      The only reason we're here is because the

    8 debtor is the asset manager of these other funds, and the

    9 Committee and Acis want the debtor to use that leverage and

   10 somehow to gain an advantage.

   11             Your Honor, we would submit that the fiduciary duty

   12 of the estate is to act in accordance with its obligations, and

   13 that's the primary fiduciary duty and that the creditors are

   14 best served if the company complies with its obligations and

   15 doesn't expose the estate to any liability.

   16             Lastly, Your Honor, I want to address the Committee

   17 and Acis's allegations regarding the circumstances surrounding

   18 the sale of the MGM shares, the proceeds of which the debtors

   19 intend to use to distribute as part of the RCP fund.           Whether

   20 or not Mr. Dondero's authorized to make that trade, it's really

   21 irrelevant to the issues before the Court.          The independent

   22 board first learned about the trade only a few weeks ago, and

   23 the independent board -- and, again, this happened back in

   24 November, two months before the independent board took over.

   25 They promptly investigated the circumstances around the trade,



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    1 engaged counsel to advise whether it was binding and,

    2 importantly, evaluated whether the trade was a sound exercise

    3 in the debtor's business judgment at that time.

    4             The board concluded that the trade was binding and

    5 that it in fact was a good trade as of November 2019 and

    6 disclosed that information to the Committee and engaged the

    7 Committee in a dialogue to discuss the options that the debtor

    8 had with respect to that trade.        The Committee, while I

    9 understand was not unanimous, ultimately agreed with the

   10 independent board that it was in the debtor's best interest to

   11 consummate that trade.       While we understand that the Committee

   12 and Acis may want to investigate the circumstances surrounding

   13 that trade to determine whether the estate has any colorable

   14 claims that could be asserted, that doesn't provide a basis for

   15 enjoying the distribution of the funds.

   16             Moreover, the allegation in Acis papers that Mr.

   17 Dondero used his position on the board of MGM to facilitate the

   18 trade so that ACM Services could receive $2.1 million of 123

   19 and $250,000 sale, it just lacks and factual support.              And, in

   20 fact, Mr. Dondero has steadfastly encouraged the investment

   21 board not to sell the MGM shares because he believes they will

   22 continue to appreciate and the estate and its creditors would

   23 be benefitted thereby.

   24             The reason that the RCP shares were sold is as I

   25 mentioned before, the RCP, the term of that private equity fund



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    1 expired.    No more extensions were given, and the debtor as a

    2 fiduciary and as an asset manager needed to liquidate the

    3 assets in that estate which included the shares.           But, again,

    4 if there are claims surrounding how that happened, we

    5 understand there's concern that the creditors have about the

    6 circumstances, they can investigate them and the independent

    7 board will surely cooperate with such investigation.

    8              In conclusion, Your Honor, this independent board was

    9 installed because of its independence and sophistication in

   10 managing a business as complex as the debtor's.           As you will

   11 hear in the testimony, the independent board has been

   12 thoughtful and thorough in its approach to the issues raised by

   13 this motion and is trying to manage the debtor in a responsible

   14 way to maximize value and prevent the estate from incurring any

   15 liability.     The independent board understands and shares the

   16 Committee's and Acis's decision to hold other parties

   17 accountable for any liability they have against the debtor

   18 arising out of conduct that occurred pre- or post-bankruptcy.

   19 But trying to use the debtor's role as an independent asset

   20 manager and fiduciary duty to investors is inappropriate and

   21 create risks for the estate.

   22              For these reasons, Your Honor, the debtor

   23 respectfully requests that the Court approve the motion and

   24 overrule the objections.

   25              THE COURT:   All right, thank you.      Other opening



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    1 statements, Mr. Clemente?

    2             MR. CLEMENTE:     Yes, Your Honor.     You actually touched

    3 on a question that I had.       I assume I have more fulsome

    4 comments that I had anticipated making after testimony, but so

    5 I would reserve the opportunity to do that.          It was quite a

    6 lengthy opening there, so I didn't know whether there was going

    7 to be the opportunity for that after testimony, but --

    8             THE COURT:    Certainly.

    9             MR. CLEMENTE:     -- I certainly want to reserve that.

   10 Thank you, Your Honor.

   11             So I do have some opening remarks prepared, but I'm

   12 going to react a little bit to what I just heard.           I and the

   13 Committee do not dispute the credentials of the board.             We

   14 obviously were involved in choosing them.          I heard a lot about

   15 the duty to, quote/unquote, investors.         I don't think I heard a

   16 word about the duty to the creditors and to the estate.             And I

   17 think it's important when thinking about the investors that Mr.

   18 Pomerantz keeps referring to, the Committee is not talking

   19 about the legitimate third party investors, the CalPERS.             The

   20 Committee is talking about the very people that were in charge

   21 of this debtor while breaches of fiduciary duty were rampant

   22 and their related entities that resulted in the filing of this

   23 bankruptcy case.

   24             And I find it a little bit rich, Your Honor, that

   25 their debtor is using the duty to investors to include third



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    1 parties to try and come in here and passionately argue that

    2 distribution should be made at this time to these insider

    3 parties without a word at all about why it may actually be in

    4 the creditors' best interest or this estate's best interest to

    5 not make those distributions at this time.          So those were a

    6 couple of comments that struck me as I was listening to what

    7 Mr. Pomerantz said.

    8             But let me be clear, Your Honor, as Your Honor is

    9 aware the debtor is in bankruptcy because of the documented and

   10 egregious breaches of fiduciary duties and contractual

   11 obligations to its creditors and its propensity for fraudulent

   12 and litigious conduct as documented.         Mr. Dondero and until

   13 recently Mr. Okada dominated all aspects of the debtor and

   14 controlled all of its decision-making, including the decision-

   15 making that led various tribunals, including this Court, to

   16 conclude that the debtor had breached its fiduciary duty,

   17 engaged in fraudulent conduct, and employed persons who are not

   18 credible and not truthful.

   19             Against this backdrop, Your Honor, the debtor wants

   20 to make distributions to investors, again, the investors we're

   21 talking about here are Mr. Okada, and entities owned and/or

   22 controlled by Mr. Dondero and Mr. Okada without regard

   23 apparently because I didn't hear anything about that to the

   24 interest of creditors under the rubric of a fiduciary duty that

   25 is supposedly owed to those insider parties, the same insider



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    1 parties, Your Honor, who were found to have breached the duties

    2 to the creditors of this estate or to the investors which then

    3 resulted in them becoming creditors of this estate and led to

    4 the bankruptcy.

    5             Your Honor, I think the irony is fairly thick, and I

    6 don't think the Court should allow the distributions at this

    7 time.    These insider parties, and I'm glad Mr. Pomerantz

    8 mentioned it to you because their papers did not mention the

    9 notes that were owed, they owe the debtor millions of dollars.

   10 The numbers that Your Honor read are just the direct notes

   11 among those parties.      They do not include the notes that are

   12 owed by, for example, affiliated entities of Mr. Dondero.             So

   13 those numbers are even larger than what Mr. Pomerantz suggested

   14 to Your Honor.

   15             Second, as the debtors do finally disclose in their

   16 papers, the insider parties receive certain of the insider

   17 interests from the debtor pursuant to transactions that were

   18 only recently disclosed to the Committee and not have been

   19 examined by the Committee.       So in many of the circumstances,

   20 the very interests that are giving rise to the basis for these

   21 distributions once belonged to the debtor.

   22             Third, obviously, the insider parties are the focus

   23 of the Committee's ongoing investigation of the estate causes

   24 of action, and that's entirely appropriate given the long

   25 history and the findings made by this Court and others



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    1 regarding the behavior of this debtor prior to the bankruptcy.

    2              Your Honor, instead of allowing the distributions to

    3 be made, the Court should direct that the distributions that

    4 the debtor seeks to make to the insider parties to be placed

    5 into a segregated interest-bearing account pending the

    6 resolution of potential claims against the insider parties

    7 including the collection of notes owed by the insider parties

    8 and the investigation into the validity of the insider

    9 interests.

   10              If the insider parties have an issue with this,

   11 obviously, they can come before Your Honor, perhaps they'll

   12 come before Your Honor today, and explain to you why what is

   13 being proposed is unfair to them or why despite the

   14 circumstances surrounding this case, the rampant breaches of

   15 fiduciary duty, the questionable transactions, and the

   16 existence of the notes they owe the debtor they should receive

   17 those distributions now.       And we can do that after a fulsome

   18 discovery of those parties, a fulsome record, full opportunity

   19 to brief.

   20              I believe, the Committee believes this is a very

   21 sensible proposal, and it would seem to serve all interests.

   22 The interests of the estate would be protected.           Let's talk

   23 about those.     Obviously, we're more likely to recover on the

   24 notes and any potential claims, including claims that the

   25 insider interests were inappropriately obtained.



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    1              Mr. Pomerantz referred to the word "leverage."

    2 Again, it's the estate, the estate should be thinking about how

    3 it can actually collect on its claims and notes.           So the word

    4 "leverage" I don't think is appropriate here.          It just seems

    5 sensible.     The interest of the insider parties would also be

    6 protected.     The money will be placed in a segregated account,

    7 and the status quo would be preserved.         And legitimate third

    8 party investors, we are all fully in support of the legitimate

    9 third party investors receiving their distributions.           We've

   10 never had an issue with that, Your Honor.

   11              Mr. Pomerantz referred to the authority, Section 105.

   12 I do believe the Court has ample authority under Section 105 of

   13 the Bankruptcy Code to order the relief requested by the

   14 Committee.     Obviously, Section 105 is broad and, as we'll

   15 discuss further later, it's been interpreted by this Court and

   16 other courts to apply very broadly and in circumstances similar

   17 to this.

   18              Additionally, Your Honor, although I do not believe

   19 105 needs to be tethered, I believe is the word that was used,

   20 to other sections of the Code.        I do believe that other

   21 sections of the Code are implicated as the relief the Committee

   22 requests impacts property of the estate which includes the

   23 notes and potential claims against the insider parties as well

   24 as the rights and obligations of the debtor under the various

   25 contracts that Mr. Pomerantz referred to.



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    1              So, we have 105.    If we need to tether it to

    2 something, we can tether it to 541 and we can tether it to 363.

    3 What we're asking the Court to do impacts property of the

    4 estate, impacts the rights and obligations of the debtor.

    5              Finally, Your Honor, there was a long discussion or

    6 somewhat of a discussion about the fact that the Committee has

    7 not sought a preliminary injunction or has not filed claims

    8 against the insider parties.        First, again, I believe Section

    9 105 gives the Court the authority that it needs to provide the

   10 relief.    Second, the Court has the flexibility should it choose

   11 to construe or find it necessary to construe our objection as a

   12 request for a preliminary injunction and the request satisfies

   13 that standard.

   14              Third, Your Honor, this has been an expedited process

   15 initiated by the debtor.       If this Court believes that other or

   16 further proceedings or processes are necessary or appropriate,

   17 the Court should allow the parties the time for that.              We

   18 agreed to an expedited motion practice under the protocols.

   19 That's a fact.     The protocols cover a variety of circumstances

   20 designed with the exigencies of the debtor's business in mind,

   21 not designed with trying to speed distributions to Dondero,

   22 Okada, and the insider parties.        There simply is no exigencies

   23 surrounding that, and the Committee should not be prejudiced if

   24 this Court believes a further or other procedural vehicle is

   25 necessary.



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    1             And a moment, Your Honor, on the investigation, as

    2 Your Honor is aware the insider parties have dominated the

    3 debtor for years.      Only recently January 9th the Committee has

    4 gotten the ability to investigate.         And to date, we've been

    5 doing that.     I do dispute what Mr. Pomerantz said about the

    6 debtor's cooperation.       I believe that they've used words to

    7 that effect but we've not gotten the documents that we need.

    8 This is a complicated enterprise as Your Honor is aware.             It's

    9 unrealistic to think that we would be in a position to bring

   10 claims against insider parties at this particular time in the

   11 case.    And we cannot be prejudiced by saying we should have

   12 completed our investigation and had brought claims every time

   13 the debtor thinks it should make a distribution to Mr. Dondero

   14 or one of its related entities.

   15             And so, Your Honor, to sum up, we think that the most

   16 logical solution here and frankly the one that I assume the

   17 debtor would have agreed with me on would be to come to this

   18 Court, allow the distributions to be made to all the third

   19 party investors, to withhold the distributions to the related

   20 parties while the investigation occurs, while the notes are

   21 settled, and while the Committee determines and the Court may

   22 perhaps ultimately determine whether the interest that gave

   23 rise to those distributions were in fact appropriately with

   24 those parties.

   25             Instead, we're here talking about duties owed to,



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    1 quote/unquote, the investors without considering what it is

    2 that's owed to these creditors and to this estate.           And with

    3 that, Your Honor, we would ask that the motion be denied or

    4 however you'd look at it but that the relief we noticed in our

    5 paper be ordered by Your Honor.

    6              THE COURT:   Let me follow up and make sure I

    7 understand a couple of things.        You've said a couple of times

    8 that it's just the distributions that would go to related

    9 investors, Mark Okada, CLO Holdco, HCM Services.           And I got the

   10 impression from your pleadings as well as your oral statements

   11 that the Committee is not challenging in any way the decision

   12 to wind down these three funds, if you will.          You know, my

   13 reading of the pleadings was November 2019, you know, less than

   14 a month after the bankruptcy was filed or about a month after

   15 the bankruptcy was filed, you know, there were significant

   16 redemptions.     In the face of significant redemptions, the

   17 debtor decided it was appropriate to wind these down.

   18              Is that going to be the subject of evidence and

   19 testimony today?      Is the Committee at all concerned about how

   20 that all played out, whether it was legitimate unaffiliated

   21 investors seeking redemption or if it was by chance insider

   22 investors?

   23              MR. CLEMENTE:    No, Your Honor.     The Committee is not

   24 challenging the wind-down as I believe you're referring to.             We

   25 are not doing that, Your Honor.



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    1             THE COURT:    Okay.   And this may be one instance where

    2 it's kind of hard for me to separate what happened in the

    3 related case of Acis versus this where we had all of a sudden

    4 we don't want Acis to, you know, manage these in that case CLOs

    5 anymore until redemptions were happening.

    6             MR. CLEMENTE:     I understand, Your Honor.

    7             THE COURT:    And the business judgment of that --

    8 well, it's complicated, right.

    9             MR. CLEMENTE:     I completely understand.

   10             THE COURT:    It was, in the end of the day, depriving

   11 Acis debtor of management fees.        Same thing is happening here,

   12 right?    Highland is being deprived of management fees by the

   13 wind-down of these three funds, but you're not challenging the

   14 business judgment of the --

   15             MR. CLEMENTE:     That is correct, Your Honor.

   16             THE COURT:    -- whole process of the redemptions

   17 period?

   18             MR. CLEMENTE:     That is correct, Your Honor.

   19             THE COURT:    Okay.

   20             MR. CLEMENTE:     There is a pot of funds sitting in

   21 those funds, and there is a pot of funds sitting in RCP --

   22             THE COURT:    It was a legitimate non-affiliated

   23 entity's --

   24             MR. CLEMENTE:     We're not challenging it, Your Honor.

   25             THE COURT:    Okay.



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    1              MR. CLEMENTE:    What we are challenging obviously is

    2 now the distribution of those funds to the related entities.

    3 That's where we take issue with it at this particular moment in

    4 time.

    5              THE COURT:   Okay.

    6              All right.   Who else wishes to make an opening

    7 statement?     I know Acis had a joinder or a slightly different

    8 objection, I think.

    9              MS. PATEL:     Yes, Your Honor.    Good afternoon.

   10 Again, Rakhee Patel on behalf of Acis.         And I'll address Your

   11 Honor's question first.       Acis has concerns about the wind-down

   12 of these funds.      I'll just clear with respect to it.       And Your

   13 Honor referenced, you know, perhaps we need to separate what

   14 happened in the Acis case and whether that's happening here or

   15 not.

   16              Your Honor, I'm not sure from Acis's perspective that

   17 we don't object to the wind-down of these funds.           We just

   18 frankly don't have enough information to kind of take a

   19 position with respect to that whether these funds should be

   20 wound down.     But the fact of the matter is is in the lead-in

   21 into this motion -- and this is sort of the source and subject

   22 of Acis's additional objection and not just plain vanilla

   23 joinder and with the Committee -- is is that the transactions

   24 happened.     The sale of the stock has happened.       So whether it's

   25 in connection with the wind-down of the funds or whether it's



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    1 just a sale, it's happened now.

    2             So I'm not sure that we can unring that bell, but

    3 Acis's whole point and as we sort of set out in our joinder and

    4 our separate comment or objection was, Your Honor, the light of

    5 day needs to be cast on this transaction as a whole and we need

    6 to be talking about it that the transaction needs to be

    7 discussed here in open court.        And, frankly, the entire

    8 creditor body needs to have and the Court needs to have

    9 transparency with respect to that.

   10             So to that point, Your Honor, the debtor filed the

   11 motion to approve the distributions of the proceeds from the

   12 sale in accordance with the procedures approved as part of the

   13 broader settlement motion that Your Honor heard in January.

   14 Now the debtor incredibly takes the position that this Court

   15 and the creditors are effectively powerless to stop these

   16 distributions.     And here's the problems with that position.

   17             First, from a technical legal perspective, the debtor

   18 ignores the language of Section 363.         Frankly, it's easy to

   19 have a strong initial knee-jerk reaction that Section 363

   20 doesn't apply here because there's no sale of property to the

   21 estate.    The MGM stock was held down in a different entity.

   22 Your Honor, frankly, I did it myself.         But when you analyze the

   23 language of Section 363, it also prescribes the use of property

   24 of the estate outside of the ordinary course of business.             And

   25 here, the use of property of the estate is the debtor's



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    1 valuable management rights of the various entities, so Dynamic,

    2 AROF or AROF or NRCP.

    3             And let's just assume for argument's sake that the

    4 debtor's statement is correct and enforceable and there's no

    5 problem with it that the funds are in liquidation.           No one can

    6 rationally argue that that liquidation of a fund or a manager's

    7 actions in liquidating said fund are ordinary course.              So there

    8 is sort of the Section 363 hook for lack of a better term.

    9             Second, from an equity perspective, it is wholly

   10 inequitable for the debtor in an attempt to derail the Court

   11 and the creditors from inserting a Chapter 11 trustee -- and

   12 recall, Your Honor, that this case was filed on October 16th of

   13 2019 where the debtor filed to seek protection from the

   14 imminent within minutes if not hours of entry of $189 million

   15 judgment against the debtor.        And it's really frankly, and as

   16 Mr. Pomerantz acknowledged, the product of failed -- numerous

   17 other failed litigation strategies.         Acis, UBS, Pat Daugherty,

   18 quickly all -- and all of those the pieces of litigation

   19 quickly coming home to roost.

   20             Acis was clear right out of the gate, Your Honor, at

   21 the first day hearings held on October the 18th, 2019 that it

   22 would seek the appointment of a trustee.          And in an attempt to

   23 sort of take itself out of a trustee potentially being

   24 appointed or, you know, as to forestall that happening, the

   25 debtor filed an ordinary course protocol motion.           And this is



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    1 in October of 2019.      And as a part of that ordinary course

    2 protocol motion, the proposal was that Mr. Sharp, the CRO of

    3 the debtor, be appointed the CRO of the debtor and that he

    4 would be the gatekeeper, he would be in charge of all related

    5 party transactions, and he would oversee all of those

    6 transactions.

    7              And, Your Honor, indeed Mr. Sharp testified that he

    8 was the gatekeeper.      He was the guy in charge, and that was on

    9 I want to say like November 20th of 2019.          And commensurately,

   10 Mr. Waterhouse, the CFO for Highland Capital Management, also

   11 testified and Mr. Waterhouse was the first day declarant for

   12 Highland as well.      He testified that everyone understood that

   13 Mr. Sharp was to be the gatekeeper.         And, indeed, Mr. Sharp

   14 would -- they had training at Highland Capital Management to

   15 the effect that all employees knew if you've got a related

   16 party transaction, it's got to go through Brad Sharp.

   17              So in an attempt to sort of derail Acis from getting

   18 a trustee appointed, they affirmatively sought out these

   19 protocols and ultimately agreed to protocols that look similar,

   20 not exactly but similar to those proposed ordinary course

   21 protocols.     And the protocols that ultimately were approved

   22 required court approval.       And now we've got them coming back

   23 and saying, ha ha, just kidding, no one can do anything about

   24 it anyway and we have to make these distributions because we've

   25 got a fiduciary duty to do it.



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    1              On that note, the debtor who should be fully

    2 transparent during this process while it seeks the benefit of

    3 bankruptcy including the automatic stay, argues in its reply

    4 brief filed this morning at Footnote 9 that the underlying sale

    5 transaction in excess of $123.25 million is sacrosanct and

    6 irrelevant because the Committee blessed it.          Acis objected,

    7 Your Honor.     When that transaction was presented to the

    8 Committee, Acis objected.

    9              First, it would have its cake and eat it, too.          It

   10 can't take advantage of the protocols it likes while at the

   11 same time stiff-arming those that are inconvenient to it.             It

   12 can't say the transaction's good because the Committee blessed

   13 it, but the Committee didn't bless the distributions to the

   14 insiders and, oh well, you can't do anything about that anyway.

   15              Second, the broader transaction is violative of at a

   16 minimum traditional notions of transparency in bankruptcy and

   17 likely 363 along what the debtor's fiduciary duties to its

   18 creditors.     As Mr. Clemente pointed out, the debtor has dueling

   19 fiduciary duties, and we didn't hear nearly a word with respect

   20 to the debtor's fiduciary duties to its creditors.           And, Your

   21 Honor, we're not looking to generally micromanage what this

   22 debtor is doing, but this transaction is fundamentally flawed

   23 and at a minimum has red flags all over it.

   24              As we now know from the CalPERS objection, Mr.

   25 Dondero entered into a transaction with Highland Capital



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    1 Management buying CalPERS' interest and likely others'

    2 interests at June 30 prices or by giving over a set number of

    3 MGM shares to CalPERS.       That's the agreement that's attached to

    4 the CalPERS objection.       The agreement was always a win-win for

    5 Highland Capital Management because it could either make money

    6 on the arbitrage of the stock -- it bought it at a particular

    7 price, and if it's ordered at a different price, you got to

    8 keep the differential -- or give over the stock if the stock be

    9 valued and priced.      Win-win.

   10             He then immediately the very next day fraudulently

   11 transferred that agreement from Highland Capital Management to

   12 Highland Capital Management Services, an entity in which he is

   13 the 75-percent owner and Mr. Okada is the 25-percent owner.

   14 That is 15 days before filing this Chapter 11 bankruptcy case.

   15 The only purported consideration for the transfer, and I think

   16 this is Exhibit B, to the CalPERS objection, was an indemnity

   17 by Highland Capital Management Services.          That's the only

   18 consideration that was transferred as a part of that

   19 transaction, Your Honor.

   20             Then when the stock price rises in November, he seeks

   21 committee approval for a transaction that still benefits

   22 Highland Capital Management Services.         Despite not having a

   23 Committee response, he enters into a rogue unauthorized trade

   24 of MGM stock on whose board he serves on and is thus privy to

   25 information, violative of the very protocols that the debtor



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    1 was pressing so strenuously to avoid the appointment of a

    2 trustee.    Indeed, Brad Sharp testified the day before the rogue

    3 trade that this exact type of transaction had to go through

    4 him.    And Mr. Waterhouse's testimony came right after that to

    5 indicate that everybody at the debtor knew that Mr. Sharp had

    6 to approve it.

    7              Ultimately, the Committee rejected that transaction

    8 in November, but the trade was already done.          If Mr. Dondero

    9 had his way, Highland Capital Management Services would have

   10 benefitted from the transaction.        Frankly, every one of these

   11 transactions needs the light of day shed upon them here in

   12 court to determine what is in the best interest of creditors.

   13 The debtor's attempt to cloak itself in the Committee's non-

   14 objection, and I want to be clear on this, it was a non-

   15 objection.     I think reference was made that the Committee

   16 agreed to the sale of the MGM stock.         That's not what happened.

   17 The Committee just did not object to the transaction which can

   18 likely best be characterized frankly as everyone plugging their

   19 nose while simultaneously telling this Court it can't do

   20 anything about the proceeds is the exact reason why the Court

   21 should be inquiring into the transaction in the first place.

   22              And not so incidentally, that stock that Mr. Dondero

   23 traded without authority in November is trading approximately

   24 20 percent higher today, around the low 90s.

   25              THE COURT:   All right.    Thank you.



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    1             Thank you.    All right.

    2             Do we have any other opening statements?         I'm

    3 probably going to have to take a break before we do evidence

    4 and hear my 2:30 matter, which I don't think is going to take

    5 very long, at all.

    6             All right.    Judge Lynn.

    7             MR. LYNN:    Your Honor, thank you.

    8             We're not opposed to the motion, and we understand

    9 the concerns expressed both by the debtor, the debtor's

   10 independent board, which feels that it's compelled to make the

   11 distribution to insiders.       And while we don't necessarily agree

   12 with them, we understand the Creditors Committee's concerns as

   13 well.

   14             We'd like to suggest the following should the Court

   15 determine that the motion should be denied.          And that is that

   16 instead of the debtor retaining the funds, that the debtor

   17 distribute the funds into the registry of the Court.           That way,

   18 they lose control over the funds and they can say that they've

   19 distributed them in accordance with their agreements and

   20 applicable law.

   21             The funds would remain there until either a recipient

   22 or prospective recipient posts a bond or other suitable

   23 collateral or the Creditors Committee agrees to the

   24 distribution to the insider or there is a Court entered for

   25 another reason after a showing made before Your Honor.             The



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    1 debtor and the Creditors Committee would, of course, retain all

    2 rights to seek the funds they would have had, which rights they

    3 would have had immediately before the distribution to the

    4 registry, plus any rights that would be gained by reason of the

    5 distribution itself.

    6              The debtor thus distributes, the Creditors Committee

    7 retains its rights, the Court retains control, and this can all

    8 be done, we believe, by a Court order and we hope this may give

    9 the Court a suitable alternative.

   10              THE COURT:   Okay.    Let me make sure I understand.

   11 You said, if the Court is inclined to deny the motion.             Are you

   12 offering, I guess Mr. Dondero's proposal that -- I mean, these

   13 aren't disbursements that would all go to him, they would --

   14 some would go to Okada, and -- who's not objected or appeared.

   15 But -- let me cut to the chase.

   16              Are you trying to avoid a hearing and evidence

   17 altogether by saying, you know, these related entities agree

   18 their distributions will go into the registry of the Court

   19 right now?

   20              MR. LYNN:    Mr. Dondero supports this position.        We do

   21 not speak for Mr. Okada.

   22              THE COURT:   Right.

   23              MR. LYNN:    I understand that more than one of the

   24 entities -- and Your Honor must forgive me.          We're relatively

   25 new to this case.



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    1             THE COURT:    Yeah.    One is Holdco, and that is

    2 technically a DAF, a charitable entity that --

    3             MR. LYNN:    Yes.    I believe that's so, and I

    4 understand there may have been communications between the

    5 independent board and the trustee of a DAF, but I was not a

    6 party to those communications.        I'm just trying to give the

    7 Court an alternative -- Mr. Dondero is doing so -- that might

    8 be acceptable to the debtor and at the same time would

    9 accomplish what the Creditors Committee wants, which is to

   10 retain control of the funds.

   11             I must say, Your Honor, that having been there

   12 myself, I have a great deal more confidence in the registry of

   13 the Court protecting funds than I do in just about anyone else.

   14             THE COURT:    All right.    Well, that would certainly

   15 seem to give the Committee everything it's asking for, and --

   16             MR. POMERANTZ:      Your Honor, if I may interrupt.

   17             I understand from members of the debtor's independent

   18 board who have spoken to Grant Scott, who is the principal in

   19 charge of CLO Holdco, that CLO Holdco would also support the

   20 proposal that has just been made by Judge Lynn.           We do not have

   21 the agreement of Mr. Okada to support that proposal.

   22             THE COURT:    Okay.    Although, he has not weighed in

   23 with any sort of -- well, I don't know.           How do we feel about

   24 Mr. Okada's interest here?        I mean, he's obviously been given

   25 notice of all of that, and --



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    1             MR. POMERANTZ:     Well, actually we asked him --

    2             THE COURT:    Okay.

    3             MR. POMERANTZ:     -- when we heard last night that this

    4 might be a possibility.       He has rejected that.     And in light of

    5 his rejection of that proposal, we as the debtor feel we need

    6 to proceed with the motion.       I would think it substantially

    7 narrows the issues that are going to be in evidence, all the

    8 stuff we've heard about MGM Trade, which may at some point in

    9 time be something that people don't testify from the podium and

   10 that actually the subject of real evidence.          But with respect

   11 to Mr. Okada, we will have to go forward with the motion.

   12             MR. LYNN:    Yeah, so let me express that at this

   13 point, Mr. Dondero is of course not supporting the Acis

   14 suggestion that a trustee should be appointed.          We did not

   15 understand that this hearing would address that issue.

   16             THE COURT:    Yeah.   I'm not sure.      That's what they

   17 were suggesting today.       I think they were just saying at one

   18 point, they adamantly wanted a trustee, and these protocols

   19 alleviated their concerns and caused them to back off.             And

   20 now, they're upset that, you know, the debtor is resisting the

   21 protocols in a way.      So -- all right.

   22             Mr. Clemente, what say you?       I --

   23             MR. CLEMENTE:     Your Honor, I --

   24             MR. LYNN:    Thank you, Your Honor.

   25             THE COURT:    Thank you.



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    1             MR. CLEMENTE:     -- I think you can tell from our

    2 papers, this is effectively what we asked for.

    3             THE COURT:    Right.

    4             MR. CLEMENTE:     I don't even know why it took us to

    5 get to this point for that.        It seemed so obvious to me.       But

    6 when it was articulated by the former Judge here, it -- I think

    7 it just held more -- maybe it made more sense.

    8             As far as Mr. Okada's concerned, I think Your Honor

    9 could clearly deposit the funds in the registry of the Court,

   10 and he's free to come in.       I think that's what Counsel for

   11 Mr. Dondero was actually suggesting.         So I'm not sure that

   12 anything is required further with respect to Mr. Okada, unless

   13 he has a representative here that would like to raise something

   14 with Your Honor.      So, to me, on behalf of the Committee, I

   15 think that accomplishes what the Committee was trying to do

   16 with its objection.

   17             THE COURT:    All right.

   18             Anyone else wish to be heard?       Ms. Shriro, I know

   19 that you filed something for CalPERS, but obviously, your

   20 client is an unaffiliated investor in the private equity fund,

   21 RCP.    You just want to get paid.

   22             MS. SHRIRO:     That's correct.    We just want to get

   23 paid, and I would defer to my co-counsel on the phone.             If he

   24 has any comments, this would be the time to raise them.

   25             THE COURT:    All right.



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    1             Co-Counsel on the phone, I think it's Mr. Cisz.            Is

    2 that correct?

    3             MS. SHRIRO:     Yes.

    4             THE COURT:    Okay.    Anything you want to say about

    5 what's (indiscernible)?

    6             MR. CISZ:    That's correct, Your Honor.       This is Louis

    7 Cisz on behalf of CalPERS, and Ms. Shriro is correct.              So long

    8 as CalPERS receives its distribution relative to the sale of

    9 the MGM stock, CalPERS otherwise doesn't take a position with

   10 respect to the motion.

   11             THE COURT:    Okay.    Thank you.

   12             All right.    Well, turning to the literal terms of the

   13 motion, the relief the motion sought was simply an order

   14 authorizing distribution of the cash from these wind-downs of

   15 the three funds to insider investors.         And so we have the

   16 Committee objection, we have the Acis objection, we have

   17 Dondero's counsel here appearing.        I think I can, given this

   18 request for relief and the opposition of the Committee, as well

   19 as one of the Committee members, Acis, and due to these

   20 representations of Dondero's counsel and the board, I can order

   21 that the money that would otherwise go to insider investors --

   22 I think it's roughly about 8.6 million -- will, instead of

   23 going to the insider investors, will go into the registry of

   24 the Court with reservation of everyone's rights later to file

   25 motions requesting that it be disbursed to them.           So everyone



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    1 understands, this is just kind of a holding place for the funds

    2 right now.

    3              MR. POMERANTZ:    Your Honor, we do not have

    4 Mr. Okada's representation and the debtor is not modifying its

    5 motion.    The debtor would like to proceed with respect to

    6 Mr. Okada.     We asked him, he did not want to agree to the same

    7 things that would be in consideration by CLO Holdco, and for

    8 the reasons we've identified in the motion and I've expressed

    9 to Your Honor, we feel we have the obligation, we have the duty

   10 to proceed, and we would request the opportunity to put on

   11 evidence so you can hear from Mr. Seery and ultimately make a

   12 determination whether the Committee and Acis have laid out a

   13 legitimate basis for use of 105.        I'll reserve my comments and

   14 their comments until the end.

   15              But we would want to proceed in that limited matter

   16 because we don't have all agreements of the parties and the

   17 same reasons stand for why we filed the motion to proceed with

   18 the distribution for Mr. Okada.

   19              THE COURT:   Okay.   Well, I guess I misinterpreted

   20 everything that I thought was going on out there.           Mr. Okada, I

   21 guess, you said is owed 4.176 million from the Dynamic Hedge

   22 Fund, and then -- I don't know if that was the total amount

   23 from the three funds, but you feel like you have a fiduciary

   24 duty to pursue that disbursement.

   25              MR. POMERANTZ:    Absolutely, Your Honor.



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    1             THE COURT:    All right.

    2             MR. POMERANTZ:     And again, you know, we could get

    3 this into argument.      Mr. Okada is in a much different position

    4 than some of the other insiders.        We understand the comments

    5 about Mr. --

    6             THE COURT:    Well, I remember some of the dynamics

    7 here, but let me tell you what I'm going to feel the need to

    8 get into if we hear evidence.        And what we'll do is we're going

    9 to take a short break in a minute.         Let me ask the Barker

   10 people who I think are in the back.

   11        (Off record discussion 2:34:51 to 2:35:01)

   12             THE COURT:    Okay.   So we'll take a 10-minute break in

   13 a minute.

   14             But again, one reason I was sort of delighted to get

   15 the suggestion of Judge Lynn is I see this evidentiary hearing

   16 as being a little more involved than looking at contractual

   17 obligations and whatnot, and you know, the fact that these are

   18 non-property of the estate funds that we're talking about.             I

   19 have fundamental questions having read the pleadings about the

   20 decision to wind-down these funds that was made in November

   21 2019, days after Highland filed bankruptcy.

   22             Who made the decision?      Was it insider investors

   23 seeking redemption?      Or was it, you know, did we have large

   24 unaffiliated investors exercising redemptions, and so

   25 therefore, it was reasonable business judgment, you know, we



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    1 need to wind down?

    2             I know the issues are a little bit different with the

    3 two hedge funds versus the RCP fund that had the term.             And I

    4 understand, I read the pleadings, how the term expired in April

    5 2018, it was extended for one year, and then the advisory board

    6 didn't consent to an additional extension.

    7             Again, maybe the new board has thoroughly scrubbed

    8 this and you're going to tell me that in evidence.           And maybe

    9 the Committee has thoroughly scrubbed this, and you're going to

   10 tell me that with evidence.       But I -- I'll want to hear that.

   11 I'll want to hear that this was all legitimate, independent,

   12 non-affiliated investors pressing for the wind-down of these

   13 funds, and we didn't have what I refer to as the Acis situation

   14 where -- well --

   15             MR. POMERANTZ:     Your Honor, Mr. Seery is prepared to

   16 testify to each of those.       And as I mentioned, the board did

   17 thoroughly consider it and you will -- Your Honor will hear

   18 evidence that led Mr. Seery and the board to conclude that each

   19 of these were appropriate.        But we intended to get into that in

   20 the evidence.

   21             THE COURT:    Okay.

   22        (Proceedings recessed from 2:37 p.m. to 3:01 p.m.)

   23             THE COURT:    All right.    We're going back on the

   24 record in Highland.      Mr. Pomerantz, are you ready to call your

   25 witness?



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    1              MR. CLEMENTE:    Your Honor, if I might before.

    2              THE COURT:   Mr. Clemente?

    3              MR. CLEMENTE:    Matt Clemente on behalf of the

    4 Committee, again.

    5              I would just like to revisit the colloquy we had

    6 before we broke.

    7              THE COURT:   Okay.

    8              MR. CLEMENTE:    I'm still confused as to why Your

    9 Honor just can't enter or so order that the debtor has

   10 satisfied its duty upon depositing the money into the Court

   11 registry.     And we don't need to have any of this this

   12 afternoon.     I see it as similar to the Foley hearing where Your

   13 Honor expressed some frustration.        It's kind of maybe not the

   14 best use of time.      I'm not sure what exactly we're trying to

   15 accomplish here.

   16              If the debtor's concerned about its duty to a

   17 constituent who is not present in Court today, I think Your

   18 Honor can deal with that by entering an order that says, you

   19 know, based on the pleadings and the record so far, the debtor

   20 has satisfied its duty and placed the money in the Court

   21 registry.

   22              And if Mr. Okada has an issue with that, he can come

   23 back before Your Honor.       I'm just not quite sure what the point

   24 is here, Your Honor.

   25              THE COURT:   All right.    Well, let's turn back to



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    1 Mr. Pomerantz, and let's talk about what my, I guess, unrefuted

    2 evidence is.     I have -- Mr. Okada would be due for the Dynamic

    3 Hedge Fund, 4.176 million is what I read in the pleadings where

    4 you told me.

    5             And then, I don't know that I have written down what

    6 he would be owed from either the Argentina Fund or the RCP

    7 Fund.    Anything?

    8             MR. POMERANTZ:     Zero.

    9             THE COURT:    Zero.   So we're talking about the 4.176

   10 from termination of the Dynamic Fund.

   11             MR. POMERANTZ:     Right.

   12             THE COURT:    Meanwhile, we know there is a $1.3

   13 million demand note --

   14             MR. POMERANTZ:     Correct.

   15             THE COURT:    -- owing to Highland from Okada.         And I

   16 feel like I heard that there was more, but that's the only --

   17             MR. POMERANTZ:     That is the only note from Mr. Okada.

   18             Your Honor, I think part of it is I stood up and gave

   19 a lengthy presentation, and I told Your Honor what the

   20 testimony would show.       Now there's been a lot of issues in this

   21 case about what the board's doing, what it's not doing.             Part

   22 of our reason for being here today and part of my presentation

   23 was to get Your Honor comfortable with how the board is

   24 handling its duties.      I didn't want you to hear that just from

   25 me.    I wanted you to hear that from Mr. Seery.



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    1              There also have been allegations by Acis and concerns

    2 Your Honor has raised as to what went into the wind-down of

    3 these funds, given Your Honor's past experience with Acis.               And

    4 I'm sure Ms. Patel's past experience with Acis.

    5              I think it's important to hear from Mr. Seery because

    6 he has good explanations of why each of these funds are in

    7 wind-down.     And then, furthermore, look, Your Honor will decide

    8 what Your Honor decides and whether the Committee and Acis have

    9 met the showing under 105 to hold back the Okada funds.             If

   10 Your Honor decides that, of course we will abide by that

   11 decision.

   12              But we didn't want any implication that we were sort

   13 of laying down for that issue.        So I think it would be helpful

   14 maybe to hear some testimony from Mr. Seery.          If Your Honor

   15 then concludes that funds shouldn't be disbursed, Your Honor

   16 will conclude that funds shouldn't be disbursed.           I don't think

   17 this has to be very lengthy.        I think we've -- we've narrowed

   18 the issues, given that we don't have an issue with respect to

   19 RCP anymore.     We don't have the issue with HCM Services

   20 receiving money on account of a trade that Acis is very

   21 critical about.      Again, those issues at an appropriate time can

   22 be raised in appropriate form, and Your Honor will have a full

   23 evidentiary hearing, as opposed to a tail wagging the dog on

   24 this motion when it's not even relevant anymore.

   25              So what I would propose is that we allow Mr. Seery to



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    1 take the stand.      We allow him to address Your Honor's concerns.

    2 We allow him to testify to the things that I said he would

    3 testify to so it gives Your Honor some comfort, and hopefully

    4 the other parties comfort, exactly how Mr. Seery and the other

    5 board members are performing their duties.

    6             THE COURT:    Okay.   Can we all agree to some

    7 reasonable time limitations here?        I'm thinking we're done in

    8 an hour.    Maximum 30 minute direct of debtor, or redirect, and

    9 maximum 30 minute cross of all objectors.          Can we do that

   10 today?

   11             MR. POMERANTZ:     I think we can do that, Your Honor.

   12             THE COURT:    Okay.   Then that's --

   13             MR. CLEMENTE:     My only question, Your Honor -- Matt

   14 Clemente on behalf of the Committee -- is what are we still

   15 talking about here?      Are we just talking about the distribution

   16 to Mr. Okada?     And the other distributions are off the table as

   17 suggested by -- or as agreed to at least on behalf of

   18 Mr. Dondero?     I don't even know what we're talking about.

   19             MR. POMERANTZ:     That is correct, Your Honor.        It's

   20 only the distributions to Mr. Okada.

   21             THE COURT:    Although, I think he wanted the Court to

   22 get some testimony from Mr. Seery about sort of the business

   23 judgment of the three wind-downs, but I don't think that's

   24 going to --

   25             MR. POMERANTZ:     That shouldn't take a long time.



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    1             THE COURT:    -- be a probe today of MGM stock sales.

    2             MR. POMERANTZ:     No, it won't be at all, Your Honor.

    3 And again, look, we understand Your Honor has had experience

    4 with Acis, and we understand the concerns, Your Honor, coming

    5 in, seeing redemptions, and the questions you asked.

    6             Again, it's important for the debtor to be able to

    7 demonstrate to Your Honor that this board is doing its

    8 appropriate things and hearing from Mr. Seery why he made these

    9 decisions so Your Honor can get comfortable, not only in these

   10 matters, but in other matters that brought before Your Honor in

   11 the future that this board is doing exactly what they should be

   12 doing acting as an independent fiduciary.

   13             That's why I think some of our testimony, but we're

   14 happy to live within the time frame that Your Honor has given

   15 us.

   16             THE COURT:    Okay.   All right.    Thank you.

   17             MS. PATEL:    Your Honor, I just wanted to follow along

   18 with one of the comments that I made during my opening

   19 statement and hopefully, it will help further narrow the issues

   20 and keep us within the time limits, is is that when -- in

   21 responding to Your Honor's question about the wind-down of

   22 these funds, and I said Acis had concerns, I want to say we've

   23 got concerns with respect to the Argentina and the Dynamic

   24 fund.    We frankly just don't understand or have that much

   25 information with which to really evaluate the transaction, so



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    1 we're a little hamstrung today for purposes of cross-

    2 examination because that's not something that necessarily Acis

    3 has inquired into.

    4              But separate and apart from that, just again so

    5 everyone's clear, with respect to the wind-down of RCP, Acis

    6 does not take issue with respect to the genesis of the wind-

    7 down.    So the decision to wind it down is a find from Acis's

    8 perspective that should probably have been wound down.             Now,

    9 the methodology of how it's being wound-down, that's fair game.

   10              THE COURT:   I don't know what that meant --

   11              MS. PATEL:   Okay.

   12         (Laughter)

   13              THE COURT:   -- the methodology of how it's being

   14 wound-down.

   15              MS. PATEL:   Okay.   Let me --

   16              THE COURT:   Very quickly because, you know --

   17              MS. PATEL:   Yes.    Your Honor, what I meant by that

   18 was, in terms of the decision to wind-down RCP, that makes

   19 sense to Acis because it is a fund that should have been wound-

   20 down.    How it is going about being wound-down, that is open for

   21 dispute, and one of those things being here this MGM stock

   22 sale, etcetera.

   23              THE COURT:   We'll hear from Mr. Seery.       I thought

   24 there was a pile of cash at this point, but maybe I misread the

   25 pleadings.



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    1              Okay.

    2              MR. POMERANTZ:    Your Honor, let's remember what this

    3 motion is.     This motion wasn't a referendum on wind-down, it

    4 was the ability to make a distribution.

    5              THE COURT:   Right.

    6              MR. POMERANTZ:    Mr. Dondero's counsel, who is

    7 speaking on behalf of ACM Services, said they're prepared to

    8 hold those distributions in the registry of the Court.             The

    9 issues regarding what Ms. Patel testified from the podium, at

   10 some point, they may very well be the subject of a hearing in

   11 the Court.     We're happy to continue responding to the Committee

   12 and Ms. Patel's comments and questions about how, but it's just

   13 not relevant here.

   14              And, Your Honor, there is no way if Ms. Patel is

   15 going to go down that road that we will ever be here only an

   16 hour.    That is a much longer discussion.

   17              THE COURT:   And let me just clarify where I was

   18 coming from.

   19              I thought if we were evaluating whether insiders

   20 should get $8.6 million of distributions, the bona fides of the

   21 decision to go into wind-down mode needed to be explored a

   22 little bit and see if some of these insiders were improperly

   23 exercising control in that.

   24              So I agree with what you're saying.       Now, that we're

   25 just talking about deferring to another day all but maybe



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    1 Mr. Okada's disbursement, we don't need to hear great detail

    2 about the whole decision-making process for the wind-down of

    3 these three.     A little bit of background would be useful,

    4 but --

    5             MR. POMERANTZ:     Absolutely, Your Honor, and we

    6 will --

    7             THE COURT:    -- it doesn't need to be, you know --

    8             MR. POMERANTZ:     -- tailor our testimony to the issues

    9 that Your Honor was concerned about and the comments that I

   10 made, and we will keep within the time limit that Your Honor

   11 wants us to keep it to.

   12             THE COURT:    All right.    Very good.

   13             Mr. Seery?

   14             MR. SEERY:    Yes, Your Honor.

   15             THE COURT:    There you are.     If you could approach the

   16 witness stand.     I know I've been introduced to you before.          I'm

   17 not sure if you've taken the witness stand yet.

   18             MR. SEERY:    I have not.

   19             THE COURT:    I don't think you have.

   20             Please raise your right hand.

   21             JAMES P. SEERY, JR., DEBTOR'S WITNESS, SWORN

   22             THE COURT:    All right.    Please be seated.

   23             MS. HAYWARD:     Your Honor, may I approach with an

   24 exhibit binder?

   25             THE COURT:    You may.



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                                Seery - Direct/Hayward                         60
    1             MS. HAYWARD:     Or two?

    2             THE COURT:    Okay.   One for the Court.

    3             Thank you.

    4             MS. HAYWARD:     May I approach the witness?

    5             THE COURT:    You may.

    6                            DIRECT EXAMINATION

    7 BY MR. HAYWARD:

    8 Q      Well, good afternoon, Mr. Seery.       Since this is your first

    9 time testifying, would you introduce yourself to the Court and

   10 give her just a little bit of background?

   11 A      I'll go pretty quickly because of the time constraints.

   12 James P. Seery, Jr., for the record.         I am an independent

   13 director for Highland Capital.         I've been in the asset

   14 management restructuring business for about 32 years.

   15             I started as a restructuring lawyer handling

   16 everything from real estate to debtor's side to financial

   17 transactions.     From there, I moved into asset management and

   18 distressed investing.

   19             From there, I moved into managing a large global loan

   20 portfolio for a big investment bank.         That included teams of

   21 people who both underwrote, distributed, held, managed,

   22 restructured, and traded both loans, indicated loan assets,

   23 primarily, but also high end bonds, distressed assets, as well

   24 as CLO assets.

   25             After that, I went into a hedge fund.         We had a



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                                Seery - Direct/Hayward                        61
    1 billion, three long-short credit fund.         I was the senior

    2 investment partner and president of that firm.          We did similar

    3 types of investments, high yield, high yield loans, distressed

    4 loans, CLO assets, and some other structured products, long-

    5 shorts.    So we were domestic primarily, but we also had a

    6 global investment view and an office in London.

    7                Subsequent to that, I was a co-head of a credit

    8 business for an investment bank.        And then, in the last six

    9 months, I've decided to do this job.

   10 Q      So of the three board members, you're kind of the stock

   11 guy.    Would that be a fair --

   12 A      I think -- stock isn't really my stock and trade, but I do

   13 know my way a little bit around the stock market.           But it's

   14 primarily been credit products, but I do -- I am familiar with

   15 equities and equity trade.

   16 Q      Okay.    So since coming onto the board, give the Court a

   17 day in the life, if you don't mind, and maybe starting with the

   18 day that the board took over on January 9th.

   19 A      I think, as Your Honor will recall, when we left and we

   20 talked about what the role would be and what the compensation

   21 would be, I think your comment was, Your Honor, that it -- we

   22 wouldn't be 50,000 feet.       Well, we -- we're actually fully on

   23 the ground.      We're not even five feet above.      We don't keep

   24 track of our hours like lawyers, but probably logged about 190

   25 hours in January starting on the 9th, and then about 150 hours,



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    1 160 hours in February.       And I know my fellow board members are

    2 similar time commitments.

    3             We're involved day-to-day in each of the decisions

    4 that the debtor makes from assets management decisions,

    5 understanding how the funds are being managed and what the ways

    6 that they could either be walled off if they're in liquidation,

    7 or if what the proper way to treat them on a day-to-day basis

    8 is, evaluating assets that the debtor owns directly or through

    9 funds, be thinking about ways to monetize those assets;

   10 employee issues, what they're doing, who they're reporting to,

   11 how they're -- how they're performing, how they're being paid;

   12 claims issues.

   13             This case got started, as we all know, by three major

   14 litigations, and they're not all easy to understand.           They've

   15 got the redeemer arbitration, which I think is fairly

   16 straightforward in terms of liability and amount.           There's a

   17 number of offsets that are complicated.

   18             We've got the UVS litigation that is a lot more

   19 complicated because it's not against the debtor.           The judgment

   20 is against two offshore funds that are, in essence, shells, and

   21 there's a very complex history around the 10-year litigation

   22 that that is.

   23             Then we have the Acis litigation, which comes out of

   24 the Acis bankruptcy, but is an unliquidated claim.           So

   25 understanding those thinking about what the pros and cons of



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    1 those claims are, how we would manage them down the road, how

    2 we would go forward.      Thinking about how to resolve them has

    3 been a key part of what we're doing on a day-to-day basis.

    4 Q      So has the board done an independent analysis of all these

    5 various litigation claims?

    6 A      Not yet.    So we've -- we've done a preliminary analysis,

    7 and then we've gone further.        So with respect -- we haven't sat

    8 down with -- frankly with Redeemer, yet, although one of the

    9 board members has had a call with them separately.           But we have

   10 sat down with the Acis creditors, and we've done some

   11 significant analysis around that.        And we have sat down with

   12 UBS claimants, and we've done significant analysis around that.

   13             All three of those require a ton more work, and not

   14 because it's not easy to figure out what the numbers are.             It's

   15 really difficult to figure out what the liability is, how it

   16 rolls up to the debtor, and then how to satisfy it, and so

   17 we're trying to get our hands around that.          But that is a

   18 critical component of resolving this case.

   19 Q      When the board took over, did -- what types of things did

   20 you do immediately upon taking over control of this debtor?

   21 Did you meet with people at the facility?

   22 A      Oh, sure.   So the first thing we did, actually, is have

   23 lunch with the Committee and with Acis, and we wanted to get

   24 their perspective because they were here and it was easier to

   25 do that than to run back to the debtor and try to -- try to



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    1 then set up another meeting.

    2                And so we wanted to get their perspective.      They'd

    3 been living with the debtor from the litigations and through

    4 the time in Delaware and the litigation in this case.              So we

    5 got a feel for them of what their desires were, how they

    6 thought the case would work out or potentially resolve, and

    7 also, how they thought about our role.

    8                One of the things we stressed at that time, and I

    9 stressed when I was interviewed for the role, is that -- I know

   10 my fellow directors feel the same way, but I'm a pretty

   11 independent person, and I wasn't going to be certainly the

   12 management of Highlands guy, nor would I be the guy of the

   13 Committee.      So we're going to -- I'm going to work

   14 independently make decisions with the fellow board members in

   15 what I think is the best way.

   16                I'm going to try to exercise my duty in both care and

   17 loyalty to the estate, but then if the estate has duties, I'm

   18 going to make sure we exercise those.         And I feel very strongly

   19 about that because this is just one -- a decent sized matter,

   20 but one small piece of a career, and I'm not going to

   21 compromise myself to satisfy either people on the management

   22 side or people on the Committee side.

   23 Q      Yeah.    Well, and I want to talk a little bit about the

   24 duties since you mentioned them, because we heard I think the

   25 Committee say that we -- the debtor has not mentioned the



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    1 fiduciary duties to the estate in the opening statement.             Do

    2 you think that by presenting this motion the debtor -- does

    3 this motion contemplate protecting the fiduciary duties that

    4 the debtor owes to the estate?

    5 A      To me, it absolutely does.      But to be fair, I think that

    6 the rhetorical flair and opening remarks and missing the duties

    7 to the estate, we're very conscious as a board of our duties to

    8 the estate.     We're also very conscious of our duties as an

    9 asset manager.     And what is in the pleadings is absolutely the

   10 case, it's been -- it's my experience, my understanding of the

   11 law, and it's being confirmed by both Cayman counsel, and by

   12 fund counsel in the U.S. separate from bankruptcy counsel.

   13             We owe a duty under the Advisor's Act to the funds

   14 and to the investors in those funds.         That duty actually

   15 supercedes the benefit to the estate, but it doesn't undercut

   16 it because by vindicating the duty to the funds, you actually

   17 vindicate the duty to the estate.        If you create liability at

   18 the funds, it will roll to the estate.         So by exercising your

   19 duty correctly, you do in fact, vindicate the duty of the

   20 estate.

   21             And what's important in the Advisor's Act, and it's

   22 an interesting part of U.S. law.        At least my understanding,

   23 it's been confirmed by outside counsel, is if the manager,

   24 which would be Highland, has an interest, it's actually

   25 required to subordinate that interest to the interest of the



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    1 investors in the funds it managed.         And it makes sense.

    2                If you have funds invested in a fund with an outside

    3 investor, you want to make sure that that investor is not --

    4 that manager is not using your funds to aggrandize itself as

    5 opposed to looking out for your best interest.          And so, I think

    6 by vindicating our obligations with respect to the funds, we

    7 actually enhance our obligations with respect to the estate.

    8 Q      Let's talk a little bit about the funds now.         So

    9 originally, the motion pertained to three different funds.

   10 Could you just briefly explain to the Court the status of those

   11 funds and how they got there?

   12 A      Yeah.    I'll try to go quickly, and if I skip something or

   13 I go too quickly, Your Honor, please let me know.

   14                The Highland Dynamic Fund, which is the primary one

   15 we're talking about now, I think you'll see at the end of Tab 1

   16 how it's set up right before Tab 2.         And I haven't looked at

   17 these exhibits in a long time, so I apologize.          I didn't know I

   18 was getting this.      But it's really straightforward.

   19                These funds are set up, and this is a pretty typical

   20 structure.      It's a limited partnership structure.       It's got a

   21 master feeder structure.       And what does that mean?      The master

   22 is the main fund.      That's the King Exemptive Limited

   23 Partnership at the bottom.

   24                It's fed by two feeders, a domestic feeder and an

   25 offshore feeder.      Why is it done that way?      Purely tax.



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    1 Offshore investors, non-taxables in the U.S. who are worried

    2 about ECI or UVTI, or unrelated business income, we want to

    3 make sure that there's no withholding or any tax ramifications

    4 with respect to the distributions they get off the fund.             Since

    5 it's a pass-through entity, both of those investors, either

    6 domestic or foreign, are non-taxables in the U.S., will have

    7 their own tax treatment when it gets up to them.           So they don't

    8 want anything withheld.

    9              When you look at the left side of the page, Dynamic

   10 domestic feeder, the other investors is where you'd include

   11 Mark Okada.     This fund was founded originally under a different

   12 name.    I believe it was called the Highland Loan Fund.           It

   13 might have been CLO Loan Fund, I apologize.          And then that was

   14 in 2013.

   15              Mark Okada put $2 million cash into the fund at that

   16 time.    Why did he put it in?      This fund was designed to own CLO

   17 assets and loan assets.       Okada was the founder of that part of

   18 the business and the driver of that business.          It was pretty

   19 essential that he put some money in.

   20              However, in '13, they did get third-party investors,

   21 but this fund never got real scale.         I think it was only a bit

   22 over $100 million.      Not insignificant, but not a big fund.          And

   23 they went out looking for loan funds, loan opportunities, and

   24 CLO paper.     So the CLO papers, the debt of the CLOs, generally

   25 (indiscernible) type paper that was higher yielding unless



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    1 there was some interesting opportunity in the -- in the higher

    2 rated tranches.

    3             In 2018, the fund got restructured, and they -- I'm

    4 pretty sure that's when the name change occurred.           Okada put

    5 another two and a half million dollars of cash in.           So he

    6 didn't get this as free-carry or anything.          This was actually

    7 cash that he deposited in the fund.

    8             In 2019, Okada in the spring of 2019, determined that

    9 he was leaving Highland.       And his separation was finally

   10 completed in September of 2019.        So he is no longer an employee

   11 of the debtor.     He has no influence, say, discussion, he's not

   12 involved in anything.       He hasn't been since we've been there.

   13             The investor, I think it was late summer, either

   14 understood that or the fund hadn't performed that well.

   15 Frankly, it was undersized anyway.         Realdania, a third-party, I

   16 believe they're European, issued a redemption notice.              This was

   17 a hedge fund style fund.       So we've got three different funds

   18 here, two of them are hedge fund, and we explained a little bit

   19 in the papers, but the real dynamic, no pun intended,

   20 difference between the two is that Dynamic and Argentina are

   21 hedge funds which provide liquidity to the investor.

   22             What does that mean?      Monthly, quarterly, semi-

   23 annually, they can look for redemptions.          The fund manager

   24 sales assets because the assets are supposed to be a little bit

   25 more liquid, makes distributions per the redemptions.



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    1             If the redemptions are too big and the sales will

    2 somehow disadvantage the remaining investors, either gates come

    3 down or you put the fund into liquidation.          Realdania had made

    4 a, I believe it's a $65 million -- it was initially a smaller

    5 one, then there was a $65 million redemption, and it -- this is

    6 prepetition.     The debtor determined we've got to wind this fund

    7 up because we can't basically more than halve it and then

    8 continue to try to function.        It would have been far too

    9 undersized.

   10             So the debtor then went about selling the assets,

   11 creating a pool of cash, and then this motion is to liquidate

   12 it and pay the investors, including Okada.          When it's done,

   13 assuming they made the full distributions, about 80-something

   14 percent of the assets will have been distributed.           There's a

   15 few small assets that are left.        They're not particularly

   16 liquid, but they're small and I'm relatively certain we can

   17 unload those at decent prices, create cash for the investors,

   18 make the final distribution, so it would be a hold cash to

   19 wind-down and then dissolve the various little limited

   20 partnerships.

   21             Argentina is similar.      The basically different

   22 premise of why that fund existed, the original theory was post

   23 the Argentina crisis with the election of Macri in '15.             Late

   24 '15, Argentina started going through a number of changes in its

   25 economy and the thought was that Argentina would start to grow



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    1 and really be able to realize the potential of its people and

    2 its resources.     That didn't work out that well, and then at the

    3 end of, I think it was '18, Macri was voted out and the former

    4 Kirchner, effectively, government is going to back.           Argentina

    5 economy has slid into basically -- certainly recession over

    6 multiple quarters, but even some would say depression.

    7              Very difficult time.     This was not a unique fund for

    8 Highland.     There were a lot of these Argentina-type opportunity

    9 funds, and that -- that performance has not been particularly

   10 good.    The decision there was made to wind-down a third-party

   11 investor who made a 15 percent withdrawal, and that a number of

   12 other funds that I forget the percentage, but they're managed

   13 by UBS, third parties made a -- indicated that they were going

   14 to have full redemptions, as well, so that fund was put into

   15 liquidation.

   16              Importantly, I think something that was mentioned

   17 before, there's no benefit to keeping these funds around.             They

   18 don't make any fees.

   19 Q       Why is that?

   20 A       And once they've gone into liquidation, they're not paying

   21 any fees.     Similarly, RCP -- now, RCP is a different style of

   22 fund, and I think Your Honor, you mentioned it in the papers,

   23 you saw that it was a 10-year old fund.         That term was

   24 extended.     It was originally a 2008 fund.       It was done as a

   25 distressed for control.       Very different opportunity,



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    1 (indiscernible), at the time, they probably didn't see the

    2 global financial crisis, but saw it as distressed and the

    3 opportunity to do distressed for control positions had to be

    4 long term.     So that fund had no liquidity provisions for

    5 investors.     Typical PE-style fund.

    6              The -- when it got to the end of its life, the 10-

    7 year life, Highland didn't have the ability to extend the term.

    8 A steering committee of third-party institutional investors

    9 with no Highland influence whatsoever, Ontario Teachers,

   10 CalPERS, some of the biggest, most sophisticated investors in

   11 the world in both debt, equity, and distress were driving that.

   12 There was also a couple of other funds that are third parties

   13 on that steering group.       And they still exist.     They gave a

   14 one-year extension.      Highland had no ability to do anything

   15 about that.

   16              In exchange for the extension, Highland waived fees.

   17 So there are no fees being paid on the RCP Fund.           There was a

   18 series of one-month extensions that went -- was finished in

   19 November of 2019.      And with this distribution, there's still a

   20 lot of assets in RCP that have to be managed, about 175

   21 million.    And so we're going to -- after we make the

   22 distribution -- we've had a few calls and I've been on them,

   23 with the steering group.

   24              We've told them we're coming to Court to make the

   25 distribution.     We were confident that we would be able to -- to



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    1 be able to make a distribution to them subject to the Court's

    2 order, that we make that distribution and somewhere in the next

    3 two weeks we're going to have a steering group meeting to talk

    4 about the other assets and how we monetize them.

    5              They are different types of assets.       Some have more

    6 liquidity than others, so we're going to need to come up with a

    7 plan.    It's 85 percent, roughly, third parties.         Highland

    8 Capital Management, the debtor, actually has a roughly 15

    9 percent interest in HCM Services, has as a couple percentage,

   10 because I think there would have been about 2 percent of the

   11 distribution.

   12              So it's vast -- the vast majority of the owners of

   13 the fund are outsiders, and we're going to need to come up with

   14 a structured plan to get them their cash because they've been

   15 invested for 12 years in this fund.

   16 Q       Do you agree, having had the chance to come in and look

   17 over all these things, that these funds should be wound-down?

   18 A       Oh, absolutely.   So I think it's easiest to say,

   19 Dynamic -- Okada was the driver.        It never got to where it

   20 wanted.    The biggest investor wanted out.        It's not big enough

   21 to support itself.      Even if one were to look today, and say, it

   22 should have, frankly, owning CLO paper when this fund was

   23 started until today, there should have been good appreciation

   24 in it, and it just didn't -- I don't know the reasons it

   25 didn't, but it didn't perform the way it should have, and it



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    1 didn't attract the investors it should have.          Perhaps that had

    2 something to do with it, you know, the way the other cases or

    3 litigations were going on and the public nature of them.

    4             And frankly, coming out of the global financial

    5 crises, Highland had had a tough time of it, so it wasn't as if

    6 it was the easiest thing to raise funds.         Argentina, there's

    7 absolutely no question that the purpose and structure of that

    8 fund and what it set out to do doesn't work, just doesn't work.

    9 So it makes no sense to keep that going, and that's why the

   10 investors -- third-party investors sought redemptions.

   11             The insider interests, while not immaterial, are

   12 pretty small.     Okada's interest is about 12 percent in the

   13 fund, and he's not driving it.        Like I said, he's not even at

   14 the debtor.     These two -- but to be fair -- both the decisions

   15 to wind-down Dynamic and Argentina were made before the board

   16 was involved and before the petition was filed, and they really

   17 related to the withdrawals from third parties.

   18 Q      So why are we here today?      Do you -- do these funds wind-

   19 down in the ordinary course of their business?

   20 A      Well, it -- they all have life.       So I'd say in the case of

   21 RCP, it's pretty clearly in the ordinary course because it

   22 reached the end of its life.        And the investors were very clear

   23 that they wanted to be cashed out.         So the difficult part is

   24 that it -- because of its structure and in the way it was

   25 originally set up as a PE-style fund, it has illiquid, a number



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    1 of illiquid assets.

    2              And the challenge in any of the PE funds is to time

    3 your exit, and the timing on this hasn't been opportune because

    4 the opportunity to sale has not been as good as one might hope

    5 and the investors are just at the point where they want to get

    6 cashed out as we've heard today from CalPERS.          But we've seen

    7 it in the documents and our discussions -- and my discussions

    8 directly with them.

    9              The other funds, once they've reached this -- it's an

   10 ordinary course thing for funds.        When funds either they're --

   11 they've reached their life or investors redeem and they get to

   12 this state where they really can't support themselves, it's a

   13 very ordinary thing for managers to wind-down funds.

   14 Q      And as part of the winding down of the funds, is it also

   15 ordinary then to make distributions once the funds have become

   16 liquid?

   17 A      Well, I mean one of the questions you started to ask, or

   18 maybe did ask, and I didn't answer, was why are we here?

   19              Our view as an independent board, my view as an

   20 independent board member, is we have an obligation to all

   21 investors.     It would be really easy if the documents or the law

   22 said all investors, other than ones who might have been related

   23 somehow to the asset manager.        It just doesn't say that.       And

   24 as we talked about, this is -- these are not funds from

   25 Highland.     If they were funds from Highland, again, it would be



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    1 really easy.

    2             As I described for Highland Dynamic, I don't need to

    3 hold and carry water for Mark Okada.         But I do need to carry my

    4 own fiduciary duties and make sure that I exercise them well.

    5 The gentleman put $2 million in -- this is April 2013, put 2

    6 million -- 2.5 million in cash in 2018, and the fund is being

    7 wound down.     It's not the debtor's money.       If it was the

    8 debtor's money, it would be really easy to say, you know,

    9 Mr. Okada, I'm not going to give you the money because we may

   10 have claims against you, and a different discussion would

   11 ensue.

   12 Q      Well, I want to walk through that just a little bit.           You

   13 say it's not the debtor's money.        Where is the money?

   14 A      This money sits in funds or in bank accounts.         Its assets

   15 are denominated and they're held in trust.          And the cash that's

   16 in accounts, they're denominated in the name of the fund.             The

   17 asset manager, Highland, has the ability to access the accounts

   18 and use the funds in accordance with the fund documents.             It

   19 does not have the ability to access the accounts and use the

   20 funds however it see fit.

   21 Q      So it's like an authorized signer?

   22 A      It's certainly an authorized signer in terms of what its

   23 ability to do in terms of accessing the funds.          Typically,

   24 that's done through the trustee.        But it can manage the funds.

   25 It couldn't take the funds and make an unrelated investment.



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    1 It couldn't take the funds and use it for its own purposes and

    2 pay them back later.      It's just simply not permitted.

    3 Q      Well, taking that to the next level.        If the Court did not

    4 allow these distributions to be made, would the distributions

    5 then go to the debtor?

    6 A      No.

    7 Q      Where would they go?

    8 A      There's really no provision for it.        There are certain

    9 provisions in the underlying documents that would enable the

   10 manager to withhold funds.       If there was a change in law that

   11 didn't permit a distribution.        If there was some other reason

   12 that it became unfeasible to make the distribution.           If you

   13 couldn't find the investor, and sometimes that happens.             There

   14 are provisions of how you deal with those funds.           But they

   15 never would go to the manager.

   16 Q      So what is the -- why is the primary reason then that

   17 we're here today asking this Court for permission to distribute

   18 these funds?

   19 A      It's pretty straightforward.      We have a fiduciary duty and

   20 we've confirmed that with outside counsel, both Cayman and

   21 domestic fund counsel, to make distributions and treat all

   22 investors in the funds pro rata.        And we're here to make sure

   23 we vindicate our duties, not exercising our fiduciary duties,

   24 doing things that were not permitted.         One, we don't think

   25 that's right or appropriate.        Two, that's not going to help



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                                Seery - Direct/Hayward                        77
    1 resolve this case that probably contributes to some of the

    2 things that led to this case.        So we're not real interested as

    3 an independent board in doing things that are close to the

    4 edge, along the margin, try to use our positions to leverage

    5 investors.

    6 Q      Are you familiar with the protocols?

    7 A      I am.

    8 Q      Okay.    But for the protocols, do you believe that the

    9 debtor would need to obtain the Court's permission in order to

   10 makes these distributions on behalf of these funds?

   11 A      I don't think so, no.

   12 Q      So then, why are we asking the Court's permission?

   13 A      Well, the protocols require it, and I think the Committee,

   14 you know, with due respect and I mean that truly, would like us

   15 to withhold the funds, and that provides certain leverage

   16 potentially over insiders.       I think when I look at the

   17 protocols, I think the main function of the protocols is to

   18 assure that there isn't undue influence by insiders over the

   19 actions of the company, and that insiders are not somehow

   20 benefitting themselves by virtue of their control over the

   21 company.

   22                The independent board has control over the company.

   23 We're not naive and think we have control over every single

   24 persons every single second of every day, but we do have

   25 control over what happens with the accounts, how payments are



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                                 Seery - Direct/Hayward                       78
    1 made, when we wind something down, when an asset is sold, how

    2 the proceeds will be used.        That's the board.    That's not

    3 anybody in management.         The decision around these distributions

    4 was made by the board independently.         We did consult with the

    5 CCO, and that was important to make sure we got all the facts

    6 with respect to these funds.

    7                 We then sought outside counsel to inform our

    8 decision, both Cayman and domestic.         We didn't have any

    9 influence whatsoever and we didn't speak to Mr. Dondero nor

   10 Mr. Okada other than to tell Mr. Okada that we were coming to

   11 court and then to ask him if he would defer his distribution.

   12 And we know his response.

   13 Q       I want to ask you just a couple -- I know I'm almost at my

   14 30 minutes here, so I just want to ask you a few quick

   15 questions because one of the issues that came up were these

   16 demand notes.       I understand that Mr. Okada does have a demand

   17 note.

   18 A       He does.    We've --

   19 Q       And has the board --

   20 A       And we've sent a demand.

   21 Q       Okay.    And what was -- what is the status of that demand

   22 note?

   23 A       He acknowledges that he signed it and he said that he's

   24 owed certain things from the company.         He's asked how we work

   25 those through because he was severed -- or severed himself in



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                                 Seery - Direct/Hayward                       79
    1 September, and he has -- they reached a severance agreement

    2 according to Mr. Okada.       I haven't personally investigated it

    3 yet, but we will get to it quickly.         And he has some expenses

    4 that are owed, but I don't think those are material.

    5                 I'm quite confident.   He said his severance was

    6 agreement not money, but terms, was very standard.           We'll take

    7 a look at that and make sure there's agreement on that.

    8                 I think it would be covered by the protocol, but it's

    9 probably a transaction, so we'd have to talk to the Committee

   10 about it, but we'll work -- I'm confident that we can work our

   11 way through a standard severance agreement very quickly and

   12 resolve that issue and collect on the note.

   13 Q       Now, to be clear, the demand note is payable to whom?

   14 A       The demand note is payable to the debtor.

   15 Q       Okay.

   16 A       It was actually a note that was -- he didn't receive cash

   17 for the note.       It's basically a tax -- rather than gross-up

   18 salary sometime in the past, for whatever reason they decided

   19 not to gross it up to cover taxes.

   20                 Because of the structure of the limited partnership,

   21 they could have had taxable income without matching cash, and

   22 so they issued notes back to Highland to cover certain of those

   23 obligations rather than actually making a distribution.

   24 Q       To you knowledge, does Mr. Okada owe any money to the

   25 fund?



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                                Seery - Direct/Hayward                         80
    1 A      No.   Not a -- my knowledge is that he does not.        So I am

    2 knowledgeable of it, and he does not owe any money to the fund.

    3 Q      Okay.   Quickly, I just want to talk a little bit about

    4 Mr. Dondero.     One of I think the points that was made at the

    5 very beginning of opening statements was that Mr. Dondero is

    6 still around.     Why is that?

    7 A      He's around because he has incredible knowledge about the

    8 investments.     He is a portfolio manager for the fund.           He does

    9 work with respect to non-Highland unrelated funds, some of

   10 which Highland employees do work under shared services

   11 arrangement and we get paid for them.         But Mr. Dondero is

   12 around for those reasons and his knowledge about a number of

   13 the investments in which we're involved.

   14 Q      Does the Debtor -- or does the board have the power to

   15 terminate Mr. Dondero if it decides to?

   16 A      Yeah, he’s -- we could, he’s unpaid so there’s no cost to

   17 his involvement.      His expertise around certain investments,

   18 particularly the equity funds as well as some of the larger

   19 investments, including the PE investments, is really important.

   20 Q      And with respect to the Dondero notes, what are the status

   21 of those demand notes?

   22 A      We’ve done an investigation of the notes and I wouldn’t

   23 say it’s as exhaustive as -- it’s in similar stages as our

   24 examination of other assets.        We’ve looked at Dondero’s notes,

   25 we made a decision to send a demand letter to Okada because



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                                Seery - Direct/Hayward                         81
    1 he’s no longer a part of the company and there’s no real

    2 benefit that we saw strategically to not making that demand.

    3 It’s a small amount of money relative to the size of the case,

    4 it’s real money, but it’s a small amount of money relative to

    5 the size of the case.       We should clean that up and move on from

    6 Mr. Okada.

    7              With respect to the Dondero notes on Dondero entity

    8 notes, we want to think about those strategically.           They’re a

    9 sizable amount of money, not just the ones that are demand, but

   10 also there’s a number of the notes that ate notes with

   11 maturities and they’re actually current, they’re all current,

   12 but how can we use those cash, can we collect those, and I

   13 think that’s more strategic in terms of how we resolve this

   14 case.

   15              I agree with Mr. Pomerantz’s statement that I think

   16 it evolves into a pure litigation case and we really hope it

   17 doesn’t.    That then -- those can just be sued on and the demand

   18 notes are pretty clear as to how they work and even include

   19 cost of collection.      So they’re pretty straightforward notes.

   20 Q       But so for now the board --

   21 A       Well, we thought about it, we don’t think it makes sense

   22 to make that demand at this time.        There’s -- our initial --

   23 we’re not -- we haven’t come up with what the plan is for this

   24 case, but we have ideas.       We do think they involve Mr. Dondero

   25 and they involved contributions from Mr. Dondero whether in the



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    1 form of notes, whether in the form of cash, whether in the form

    2 of other assets.      We haven’t discussed those with him, but we

    3 do think that’s ultimately, at least preliminarily, where we’re

    4 going to end up somewhere.        So strategically we think that

    5 that’ll make sense to include in that sort of a resolution.

    6 Q      Okay.    And --

    7                THE COURT:   You have one minute.

    8                MS. HAYWARD:    Yes, thank you, Your Honor.

    9 BY MS. HAYWARD:

   10 Q      Last question I’m going to ask you, are you aware of any

   11 legal basis to withhold these funds now from Mr. -- from these

   12 investors and these related parties?

   13 A      I’m not aware of any, but as the Court has contemplating,

   14 as the Committee has said, perhaps now that Section 105, you

   15 know, grants that sort of authority, but that’ll be up to the

   16 Judge.

   17                MS. HAYWARD:   Your Honor, a housekeeping matter.       I

   18 move for the admission of Exhibits 1 through 12.           I don’t think

   19 any of them are controversial.        But I will let --

   20                THE COURT:   You want me to look through

   21                MS. HAYWARD:   Your Honor, they are --

   22                THE COURT:     -- all of these.

   23        (Laughter.)

   24                MS. HAYWARD:   Your Honor, just for the record, they

   25 are Number -- Exhibit 1 is the chart showing the structure of



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    1 the Dynamic Income Fund.

    2              THE COURT:     Right.    We looked at that.

    3              MS. HAYWARD:    Exhibit 2 is the partnership agreement,

    4 so I know they’re large documents, but they’re not numerous

    5 documents.     Exhibit 3 is just the chart of the Latin America

    6 Argentina Fund.      Four, the partnership agreement for that fund.

    7 Five, the chart (indiscernible) Third Fund.          Six would be the

    8 agreement, the limited partnership agreement for that fund.

    9 Seven, Your Honor, is Your Honor’s order on the ordinary course

   10 governance procedures.

   11              THE COURT:   Okay.

   12              MS. HAYWARD:    Eight is the final term sheet.        Nine is

   13 the notice of amended operating protocols that was filed last

   14 week.

   15              THE COURT:   All right.     And then CVs of our board

   16 members.

   17              MS. HAYWARD:    And then the CVs for the board members.

   18              THE COURT:   Any objections to these?

   19              MS. REID:    No objection, Your Honor.

   20              THE COURT:   Okay.      They’re admitted.

   21              MS. HAYWARD:    Okay.

   22              THE COURT:   All right.     Any cross-examination?

   23              MS. REID:    Yes, Your Honor.

   24              THE COURT:   Okay.

   25              MS. REID:    Good afternoon, Your Honor.      Penny Reid on



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    1 behalf of the Creditors Committee.

    2                             CROSS-EXAMINATION

    3 BY MS. REID:

    4 Q      Good afternoon, Mr. Seery.

    5 A      Good afternoon.

    6 Q      You are aware, Mr. Seery, aren’t you, of the Acis

    7 bankruptcy?

    8 A      I’m aware of it, yes.

    9 Q      Okay.   And you’re aware that prior to that bankruptcy Mr.

   10 Terry obtained an arbitration award in October of 2017.

   11 Correct?

   12 A      I’m aware of that, yes.

   13 Q      And, Mr. Seery, are you aware that four days after that

   14 arbitration award assets started being transferred away from

   15 Acis, stripping it of its value at that time?

   16 A      I’ve read the judge’s decision in the Acis case but I’m

   17 not aware of any of the underlying facts, other than from

   18 reading that case.

   19 Q      So you aren’t aware of all the assets that went out of

   20 Acis the day after an arbitration award was entered.

   21 A      No, I haven’t looked at any of those.

   22 Q      Okay.   And you’re not aware that the day after a final

   23 judgment was entered more assets were stripped from Acis.             Is

   24 that correct?

   25 A      Other than reading the Judge’s decision I’m not aware of



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                                    Seery - Cross/Reid                        85
    1 any of the specific assets, no.

    2 Q      Are you aware that two days after that, or entry of the

    3 final judgment was ordered, Acis’ entire risk retention

    4 structure was transferred away from it and into the ownership

    5 of Highland CLO Holdings?

    6 A      I’m aware of some of the facts relating to the Acis case

    7 from the decision and I’m aware of some of the facts from the

    8 Acis case because of my discussions with Ms. Patel and Mr.

    9 Terry.    I’m not aware of the specific transfers to which you’re

   10 referring without having -- looking at them.

   11 Q      Okay.    So you’re not aware that some of the assets that

   12 were stripped from Acis went to one of the entities you’re

   13 wanting to send money to today.        Is that right?

   14                MS. HAYWARD:   Objection.   Your Honor, I’m not sure

   15 how this is relevant to the Debtor’s distribution motion --

   16                MS. REID:    Well, it’s relevant to the distributions

   17 that you’re trying to give to the same entity.

   18                MS. HAYWARD:   Your Honor, I think right now Mr.

   19 Okada --

   20                THE WITNESS:   What I --

   21                THE COURT:   Just a minute.

   22                THE WITNESS:   Sorry.

   23                THE COURT:   We have an objection.    Let me hear the

   24 objection.

   25                MS. HAYWARD:   Your Honor, I think at this point Mr.



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                                  Seery - Cross/Reid                          86
    1 Okada is the only one getting a distribution at issue in this

    2 case as of now in light of the representation that was made by

    3 Judge Lynn.

    4             THE COURT:    All right.    Well, what is your response

    5 to the relevance objection?       She’s saying that this line of

    6 inquiry has kind of been taken off the table since -- I’m not

    7 sure which entity, I think you’re talking about the Holdco, CLO

    8 Holdco.    Right?

    9             MS. HAYWARD:     Yes, Your Honor.

   10             THE COURT:    Since now the disbursement that would

   11 have gone to it is being put off the table and would go into

   12 the registry of the Court.       So what is your response?

   13             MS. REID:    Well, Your Honor, and I can take it off,

   14 but currently it’s my understanding that Mr. Okada is a 25

   15 percent owner in Holdco.       But I can move on to the next

   16 question.

   17 BY MS. REID:

   18 Q      Which is, are you aware that Mr. Okada right after the

   19 final judgment was entered transferred their entire interest to

   20 Nutra Limited?

   21 A      Who transferred to whom?

   22 Q      Right after the final judgment --

   23 A      Right.

   24 Q       -- that Mr. Terry obtained, Mr. Okada transferred their

   25 entire limited partner interest in Acis, LP to Nutra.



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                                  Seery - Cross/Reid                            87
    1 A      So I apologize.    A couple of things.      One is it goes to

    2 what you said, I don’t believe Mr. Okada has any interest in

    3 sale of Holdco, but you’re saying Mr. Okada and their in your

    4 question, and so it doesn’t make sense.         He’s an individual.

    5 So I just don’t know what you’re asking me.          You said Mr. Okada

    6 transferred their interest.         Who’s their?

    7 Q      Are you aware that Acis -- that you’re aware that after

    8 the entry of the Acis judgment that Mr. Okada’s limited

    9 partners interest in Acis was transferred to Nutra?

   10              MS. HAYWARD:    Again, Your Honor, I lodge the same

   11 objection to relevance.

   12              THE COURT:   All right.    Again, what is your response

   13 to the relevance objection?

   14              MS. REID:    I think it’s very relevant because I mean

   15 he has been saying that they have a fiduciary duty to

   16 investors.     Mr. Okada is not your normal independent investor.

   17 It’s a related party that has engaged in prior improper acts in

   18 this court which you’re aware, aren’t you -- well.

   19              THE COURT:   Yeah, I’ll overrule the objection and

   20 allow a little latitude.

   21              THE WITNESS:    So I think what you’re referring to is

   22 the position in Nutra and I’m aware of some of those issues.

   23 Mr. Okada apparently owns 25 percent of Nutra, Mr. Dondero owns

   24 75 percent of it.      The control in Nutra is actually vested in

   25 Highland Capital Management through a control agreement.             So



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                                  Seery - Cross/Reid                          88
    1 I’m not -- I’m aware that they made a transfer and that Nutra

    2 owns that interest now, and I’m aware that that split is 75-25,

    3 I assume because of that split just like ATM Services, Mr.

    4 Okada doesn’t have any say in how it’s run.          And the control in

    5 that entity anyway is vested in Highland, the Debtor.

    6 BY MS. REID:

    7 Q      So you’re aware there were improper transfers made at --

    8 during -- before the Acis bankruptcy.         Is that correct?

    9 A      I’m aware --

   10 Q      You’re not aware?

   11 A      I’m aware of the decision and I’m aware of the transfers.

   12 The designation of it then as improper, I’m not sure that I can

   13 say one way or the other because I’ve looked at the transfers

   14 and I can’t tell you whether that transfer was improper.             So if

   15 you’re asking me if I’m aware that that transfer occurred, I

   16 think I said I was.      I don’t think it’s fair for you to color

   17 that the transfer was improper.        If somebody --

   18 Q      Are you aware of the Court’s decision --

   19 A      I am --

   20 Q       -- that they were improper?

   21 A       -- I don’t recall the Court’s decision with respect to

   22 that transfer.     There were a lot of transfers, a number of

   23 which the Judge ruled were improper.

   24 Q      Okay.   So you are aware that there were improper transfers

   25 made from Acis that the Judge found were improper.           Correct?



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                                  Seery - Cross/Reid                          89
    1 A      Yes, I am.

    2 Q      Okay.   And you’re aware that Mr. Okada was the Chief

    3 Investment Officer at the time those transfers were made.

    4 Correct?

    5 A      Of which entity?

    6 Q      Of Highland, of the Debtor.

    7 A      I believe he was -- I believe he was a co-CIO of the

    8 Debtor at that time, but I’m not positive.

    9 Q      So you don’t know.

   10 A      I’m not sure, no.

   11 Q      Okay.   Do you know he was -- he was the Debtor’s -- so you

   12 do not know one way or the other.

   13 A      I am aware that at some time he was the CIO and then the

   14 co-CIO.    I don’t know the specific time that he was the sole

   15 CIO.    I just don’t know.

   16 Q      Do you know if he was involved with the Debtor at the time

   17 these improper transfers were made?

   18 A      He definitely worked for the Debtor at that time.

   19 Q      Okay.   You -- the reply that was filed today by the --

   20 this morning by the Debtor states that the making of these

   21 distribution to Mr. Dondero and Mr. Okada is essential to

   22 rebuilding the Debtor’s reputation in the marketplace.             Is that

   23 correct?

   24 A      I believe that’s what it says, yes.        I assume you’re

   25 reading it?



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                                  Seery - Cross/Reid                             90
    1 Q      I am.

    2 A      Okay.

    3 Q      Aren’t you -- is the marketplace not well aware of

    4 Highland’s history including the Acis and the Redeemer

    5 Committee litigation?

    6 A      I believe the market is aware of the Acis and Redeemer

    7 litigations.

    8 Q      Okay.   And is the marketplace well aware of the extensive

    9 wrongdoing that Mr. Okada and Mr. Dondero engaged in as found

   10 by this Court and the other tribunals?

   11 A      I don’t know how the marketplace -- I know that they’re

   12 aware of the decisions, I can’t tell you whether the

   13 marketplace as a large general matter knows the specifics.             I

   14 don’t know.

   15 Q      Have any non-insider investors expressed concern to you

   16 over the possibility of Mr. Okada not receiving the

   17 distribution?

   18 A      No, I don’t believe so.      I think -- just to make sure I

   19 answered your question, have the non-insiders raised issues

   20 about Mr. Okada --

   21 Q      Not getting distribution.

   22 A      No, there won’t --

   23 Q      No one is really concerned about that except Mr. Okada.

   24 Correct?

   25 A      I think each investor is concerned about their own



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                                   Seery - Cross/Reid                         91
    1 distributions, so like with respect to RCP I don’t CalPERS

    2 referred at all to the distributions to Ontario, they probably

    3 don’t care, they care about their own distributions.

    4 Q      And the only one we’re talking about right now is the one

    5 to Mr. Okada.     Correct?

    6 A      That’s correct.    I hope so.    Right?    Meaning I’m under the

    7 impression that the Committee doesn’t object to the investment,

    8 to the release of funds and the distribution to third-party

    9 investors.

   10 Q      Mr. Seery, you testified that one of the reasons you’re

   11 seeking to distribute these funds is because the Debtor has

   12 fiduciary duties to investors.        Correct?

   13 A      Yes.

   14 Q      Okay.   But these funds aren’t being distributed to just

   15 regular investors.      Correct?    They’re being distributed to

   16 insiders.

   17 A      Again, unfortunately these are things one has to be

   18 precise with.     The question is insider under some securities

   19 law, or insider under the Bankruptcy Code?          So --

   20 A      Insider under the protocols.

   21 Q      I believe the term there, again, we should be precise, is

   22 related party.     So he’s a related party under the protocols.

   23 As far as I know there’s no separation under the Investment

   24 Advisors Act, under the Cayman law, under Delaware law, or

   25 under the contracts with respect to persons who might have



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                                  Seery - Cross/Reid                          92
    1 worked for the investment manager who made an investment in the

    2 fund.

    3 Q       Are you aware that the Debtor also has duties to the

    4 Creditors Committee?

    5 A       I don’t believe the Debtor has any duties to the Creditors

    6 Committee.

    7 Q       To the estate?

    8 A       I believe the Debtor has significant and overriding

    9 duties, but that’s what we’re here for, to the estate.

   10 Q       To the estate.   And were very conscious of those duties.

   11 Correct?

   12 A       I am indeed.

   13 Q       That’s what you testified.     Right?

   14 A       Yes.

   15 Q       Okay.   So can you explain to me what -- how you consider

   16 the estate’s considerations in deciding to distribute these,

   17 what was your consideration of the estates, how does this

   18 benefit the estate?

   19 A       This benefits the estate because we have an obligation to

   20 the funds and to the investors in the funds to perform

   21 according to the terms of the funds.         Unfortunately there is no

   22 provision in the fund documents or in the law that allows us to

   23 treat the investors in the funds in a disparate way.           And we

   24 believe, after consulting with outside counsel, domestic and

   25 Cayman, considering federal law under the Advisors Act, as well



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                                  Seery - Cross/Reid                            93
    1 as Delaware law, that the only way to make distributions, other

    2 than if there was a law change, was pro rata to all of the

    3 investors.

    4              So in order to vindicate our obligations to the

    5 outside investors, we also have to pay the inside investors.

    6 In addition, if we don’t pay the inside investors, there’s no

    7 basis not to do that.      Now there may ultimately be no liability

    8 because it will be hard to bring a case.         But it seems to me

    9 that incurring potentially liability is not in the best

   10 interest of the estate.       Holding up a distribution from non-

   11 estate property doesn’t seem to do anything to help the estate.

   12 In fact, it puts it at risk.

   13              And so we did the work and that’s how we determined,

   14 exercising what I think is our duty of care, which is really

   15 researching this, and we spent a lot of time and a lot of money

   16 making sure we got this right.        And our duty of loyalty.       Is

   17 there some good reason that the fund could hold up the

   18 distribution.     Until we have a claim is there a valid to attack

   19 these distributions.

   20              By the way, there were $8 million out of 180 million.

   21 Now if there had been 180 -- if there had been 172 out of 180,

   22 maybe we would come in here and say, We should something a

   23 little bit different because we’re really letting the small

   24 outside investors dictate us and force us to make distributions

   25 to related parties that the Committee has some concern about.



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                                  Seery - Cross/Reid                          94
    1               But while $8 million is real money, and I don’t deny

    2 that, again, it’s not huge in this case.         And it seemed to us,

    3 after doing the work, that we were putting the estate at risk

    4 by no exercising our fiduciary duties.         Moreover, we each have

    5 reputations, and they’re important to us, and they don’t

    6 override our fiduciary duties.        We’re not going to do things to

    7 aggrandize ourselves, to help our reputation versus the estate.

    8 But running this Debtor correctly seems to us, looking at the

    9 history, was the right thing to do.

   10 Q      Has anyone, Mr. Seery, threatened to bring a fiduciary

   11 duty claim against you if you don’t pay these funds?

   12 A      No.

   13 Q      Has any -- has Mr. Okada said he’s going to bring a claim

   14 against you if you don’t distribute these funds?

   15 A      No, and nor did I consult him about it.        We just told him

   16 what we were doing.      We’re not -- I’m not inviting someone to

   17 sue us.      That I think would be, you know, grossly wrong for us.

   18 Q      Now we’ve touched a little bit on this, Mr. Okada owes the

   19 Debtor 1.3 million.      Correct?    In the demand note?

   20 A      Approximately, yes.

   21 Q      All right.    And you have made a demand on Mr. Okada.

   22 Correct?

   23 A      That’s correct.

   24 Q      And he hasn’t paid it.       Right?

   25 A      No, he has not.



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                                   Seery - Cross/Reid                         95
    1 Q       And that’s money into the estate.      Correct?

    2 A       That will be, yes.

    3 Q       Now do you still think it’s okay to just hand him off, you

    4 know, $4 million and even though he’s not paying the estate

    5 that you have a duty to?

    6 A       There’s no such thing in my life as just handing off $4

    7 million.    This is fund money --

    8 Q       Distributable.

    9 A        -- that will be distributed to the owners of the fund pro

   10 rata.    We’re not handing off anything to Mr. Okada or anybody

   11 else.

   12 Q       But Mr. Okada has not agreed to pay back his note.

   13 Correct?

   14 A       He’s not agreed to pay it back, no.       Technically I would

   15 say no.

   16 Q       Okay.   And that’s because of some severance agreement that

   17 you’re not aware of what the terms are.          Is that right?

   18 A       I have not -- we have not -- I have not looked at the

   19 terms, I don’t believe many of my fellow directors yet have.

   20 It’s something that is on the burner for us to get to as soon

   21 as this is over.

   22 Q       And are --

   23 A       He’s pushing for it.

   24 Q       -- are you aware that the Committee has asked for that

   25 severance agreement?



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                                  Seery - Cross/Reid                           96
    1 A      I was not aware of that, no.

    2 Q      You’re not aware of that.

    3 A      I haven’t seen it.

    4 Q      And you don’t know that it hasn’t been produced to us.            Is

    5 that correct?

    6 A      I don’t -- I have not seen it myself, I don’t -- didn’t

    7 know that you’d asked for it, nor do I know that it hadn’t been

    8 produced.

    9 Q      Okay.   And you haven’t looked at it.

   10 A      I haven’t seen it.

   11 Q      So you don’t know if his failure to pay that money back is

   12 valid or not.     Is that correct?

   13 A      That’s -- I don’t -- he still owes the money whether he

   14 has appropriate setoffs and whether a settlement agreement

   15 would actually work as one.       I don’t -- haven’t really analyzed

   16 that and I don’t know that our counsel has either.           It may be

   17 that he owes the money and we’re holding a severance agreement,

   18 but those aren’t mutual obligations that are subject to setoff.

   19 Q      You don’t know one way or the other whether he has a right

   20 of setoff.     Correct?

   21 A      I don’t believe he -- other than perhaps expenses I

   22 don’t -- haven’t heard any articulated monetary setoff against

   23 the obligations he owes.

   24 Q      If the Court orders that his distribution be put into the

   25 Court registry, do you still think you’ve breached your duty to



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                                    Seery - Cross/Patel                       97
    1 the estate somehow by that?

    2 A      I think if the Court orders it, I don’t think we would be

    3 subject to a breach of liability.         I think that we’re here

    4 vindicating our responsibilities and our duties to investors.

    5 If there’s an interceding court order, we will follow it.

    6 Q      Thank you.

    7                MS. HAYWARD:    I have no further questions.

    8                THE COURT:   All right.   I think that was about 17

    9 minutes.    Any other examination?       Okay.    You’ll have 13

   10 minutes.

   11                MS. PATEL:   Just a few questions, Your Honor.

   12                               CROSS-EXAMINATION

   13 BY MS. PATEL:

   14 Q      Good afternoon, Mr. Seery.

   15 A      Good afternoon.

   16 Q      Mr. Seery, I think your testimony was that the fund, let’s

   17 use RCP -- or I’m sorry, that’s the wrong one --

   18 A      Dynamic?

   19 Q      I think it was the Dynamic --

   20 A      Dynamic.

   21 Q       -- Income Fund is the one that Mr. Okada has an

   22 investment in.      Correct?

   23 A      That’s correct.

   24 Q      Okay.    And the fund has duties to Mr. Okada including

   25 fiduciary duties as an investor.         Right?



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                                  Seery - Cross/Patel                          98
    1 A      That’s correct.

    2 Q      Okay.   Does Mr. Okada have duties to the fund?

    3 A      I don’t believe he does, no.

    4 Q      Okay.   Did he ever?

    5 A      I believe he did.

    6 Q      Okay.   That was during his tenure at Highland Capital

    7 Management.     Right?

    8 A      I think as an officer of Highland Capital Management, the

    9 investment manager, he would have had duties to the fund, yes.

   10 Q      Okay.   And have you investigated whether he’s breached any

   11 of his duties to the fund?

   12 A      We have looked, we have not seen anything.         We know that

   13 the redemptions came in without any objection.          We have not

   14 spoken to the individual investors.

   15 Q      Okay.   So would it be fair to say then that you haven’t

   16 concluded your investigation of whether Mr. Okada has breached

   17 any of his duties to the fund itself?

   18 A      I don’t think that would be fair.       I think what would be

   19 fair to say is we’ve taken a look, we see no evidence

   20 whatsoever that there were any breaches by Mr. Okada of his

   21 duty to that fund, so there would be no reason to undertake an

   22 investigation that we had yet to complete.

   23 Q      Okay.   And who undertook that investigation, was it just

   24 the board or did you have others involved?

   25 A      It was the board.



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                                   Seery - Cross/Patel                           99
    1 Q       Okay.   No one else?

    2 A       The investigation with respect to the -- we got data from

    3 other people but I’m the one who looked at whether there were

    4 any claims related to the redemptions, any objections to any of

    5 the other distributions, any objections to the fees, and we

    6 found none.

    7 Q       Okay.   So no outside counsel advised you with respect to

    8 whether Mr. Okada had potentially breached any duties to the

    9 fund?

   10 A       No, again, it’s not something that we would have looked at

   11 with no evidence whatsoever that there was any sort of

   12 complaint or breach.

   13 Q       Okay.   All right.   Mr. Seery, with respect to the, I’ll

   14 call it the agreement because I’m assuming that it is an

   15 agreement, that Mr. Dondero’s counsel announced on the record

   16 regarding putting the funds that would otherwise be payable to

   17 Mr. Dondero into the registry of the Court.          Do you have an

   18 understanding whether that agreement also extends to Highland

   19 Capital Management Services?

   20 A       Yeah, just to be clear because, again, we should be

   21 precise, Mr. Dondero was not going to receive any money.             The

   22 CLO Holdco, which is owned by the charitable DAF has

   23 investments in the Argentina Fund and the Dynamic Fund.             It was

   24 going to receive money.        Highland Capital Services has around a

   25 2 percent interest in RCP, it was going to receive money.



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                                   Seery - Cross/Patel                       100
    1                I understand that Mr. Dondero, through his counsel,

    2 directed that the distribution to Highland Capital Services

    3 would not be made.      Mr. Okada owns 25 percent of that, he was

    4 not consulted.      I know that because I spoke to Mr. Okada.         The

    5 distribution with respect to the CLO Holdco has been similarly

    6 treated, but that was done by Grant Scott talking to Mr. Nelms

    7 (phonetic) for the charitable DAF that controls the CLO Holdco.

    8 Q      Okay.    So, again, to be clear, Mr. Okada has not consented

    9 to the agreement that was announced on the record with respect

   10 to any distributions to Highland Capital Management Services.

   11 Correct?

   12 A      He has not, but since he doesn’t control it and Mr.

   13 Dondero does, the agreement is binding.

   14 Q      Okay.    And how do you know that Mr. Dondero controls

   15 Highland Capital Management Services?

   16 A      Mr. Okada told me.

   17 Q      Okay.    All right.   Mr. Seery, with respect to Mr. Okada, I

   18 believe your testimony was he separated from Highland Capital

   19 Management in September of 2019.        Correct?

   20 A      I believe I testified that he originally began his

   21 separation in the spring, I don’t know exactly when it was, and

   22 I believe his official resignation was some time around

   23 September.

   24 Q      Okay.    Would September 30 of 2019 sound about right?

   25 A      It -- approximately, I don’t know the date.



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                                  Seery - Cross/Patel                        101
    1 Q      Okay.   So it was towards the end of September though.

    2 Correct?

    3 A      I don’t -- I don’t know whether it was September 1,

    4 September 15 or September 30, I just don’t know the answer.

    5 Q      Okay.   And at the time Mr. Okada separated from Highland

    6 or any time before then, did Mr. Okada have a non-compete

    7 agreement?

    8 A      I have not looked at Mr. Okada’s contract.

    9 Q      Okay.

   10 A      So I don’t know.

   11 Q      All right.    Does -- did Mr. Okada have something called a

   12 non-solicit --

   13 A      I don’t know.

   14 Q       -- where he wouldn’t solicit clients for example of

   15 Highland Capital Management?

   16 A      I don’t know.

   17 Q      Okay.   Did Mr. Okada have what’s called a non-recruit

   18 where he wouldn’t come in and try and recruit employees of

   19 Highland Capital Management?

   20 A      Again, because I haven’t looked at his contract, if he had

   21 one, I don’t know that he did, and because I haven’t looked at

   22 it, and I testified that I haven’t seen this severance

   23 agreement he’s talking about, I don’t have any understanding of

   24 the terms of Mr. Okada’s employment with Highland Capital

   25 Management.



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                                    Seery - Cross/Patel                      102
    1 Q      Okay.    So you just haven’t looked at any of those things.

    2 A      That’s correct.

    3 Q      All right.    Are you aware -- well, did you have an

    4 opportunity to look at -- I believe there was a press release

    5 that was somewhere around September 2019 where Mr. Okada said

    6 he was actually retiring from Highland Capital Management?

    7 A      I would have no reason to have looked at such a thing in

    8 September.

    9 Q      Okay.    All right.    So you haven’t seen that.     Let me ask

   10 you another question, are you aware that Mr. Okada has a new

   11 business by the name of Sycamore Tree Capital?

   12 A      I’m aware that he intends to start a new fund, I have no

   13 idea what the name is and I’d have no idea what development --

   14 stage of development it’s in.

   15 Q      Okay.    Are you aware if any Highland employees have been

   16 engaged by Sycamore Tree Capital

   17 A      I’m aware that at least one maybe, I’d have no idea

   18 whether that employee, ex-employee now, is involved or not.

   19 Q      And isn’t that employee Troy Parker?

   20 A      That’s correct, yes.

   21 Q      Okay.    What did Troy Parker do for Highland Capital

   22 Management?

   23 A      Most recently he ran the PE book.

   24 Q      Okay.

   25                MS. PATEL:    No further questions, Your Honor.



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                                   Seery - By the Court                          103
    1               THE COURT:     All right.    We have seven minutes.     Do

    2 you have questions, Judge Lynn?           We have a little bit of time?

    3               JUDGE LYNN:    No, but I just want to make clear Mr.

    4 Dondero’s suggestion for resolving the motion was not a

    5 dickered agreement, it was a suggestion that we would hope

    6 would make life easier for the parties and the Court.

    7               THE COURT:     Okay.   Thank you.   Thank you.

    8               I had one or two questions.       Is there going to be

    9 redirect?     Well, no, you used all your time, you don’t get

   10 redirect.

   11        (Laughter.)

   12

   13               MS. HAYWARD:    And, Your Honor, I don’t have redirect.

   14               THE COURT:    Oh, very good.

   15                                  EXAMINATION

   16 BY THE COURT:

   17 Q      Let me ask you, sir, I want to revisit Dynamic, that’s the

   18 one I hear most about obviously since that’s the one that Mr.

   19 Okada --

   20 A      Yes.

   21 Q        -- has the distribution rights from.        You know, I was

   22 fixated before I came out here a little on the time line.

   23 Right?    So the pleadings said Dynamic, the termination date was

   24 November 15, 2019.

   25 A      Correct, Your Honor.



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                                 Seery - By the Court                        104
    1 Q       About 30 days after the Highland bankruptcy was filed.

    2 What I heard your testimony to be was that pre-petition the

    3 largest third-party investor -- I wrote it down phonetically --

    4 A       Realdania.

    5 Q        -- Realdania --

    6 A       I’m not sure if there’s someone in the courtroom who know

    7 them.

    8 Q       Sounds like a Spanish company maybe.

    9 A       I believe they’re a European company, it’s an investor I’m

   10 not familiar with, Your Honor, but I have seen the redemption

   11 notices.

   12 Q       Okay.   They issued a $65 million --

   13 A       I believe it was in the neighborhood of 65 million, yes.

   14 Q       And it was pre-petition?     You wouldn’t know?

   15 A       It was pre-petition, I think it was around 40 percent of

   16 the fund.

   17 Q       Okay.   I mean do you remember when?      Was I t --

   18 A       I believe it was in the spring and it followed a -- spring

   19 or early summer and it followed a separate redemption from a

   20 different investor.

   21 Q       Okay.   So there was another third-party investor, even

   22 before Realdania that --

   23 A       That’s my recollection, yes, Your Honor.

   24 Q       -- that was unaffiliated with Highland.

   25 A       That’s correct.



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                                 Seery - By the Court                         105
    1 Q       Okay.    So it’s your business judgment that once these two

    2 biggies issued their redemptions, it just wasn’t worthwhile to

    3 keep this fund going anymore.

    4 A       That’s correct, Your Honor.     And as I said, Mr. Okada was

    5 a driver to that fund and he had left.         He did not actually

    6 redeem, but he was being compulsory redeemed as the fund went

    7 into liquidation.      So all of the investors, redeemed and non,

    8 will be treated the same.

    9 Q       All right.    So I guess one thing I’m getting at is timing

   10 of Mr. Okada leaving versus timing of these third-party

   11 redemptions happening.

   12 A       Right.   I could --

   13 Q       Is there any --

   14 A       I see no connection whatsoever.      And, again, his piece of

   15 the fund was about -- I believe it was round 12 percent of the

   16 fund.

   17 Q       Yeah, his --

   18 A       And it’s a material amount of money I suppose to most

   19 folks, including myself, but it’s not -- it wasn’t a driver

   20 whatsoever that we could see, and he did not redeem.           So the

   21 third-party redeemed, Okada was leaving having been the driver

   22 of the fund, it was an undersized fund anyway, there was no

   23 real valid reason to keep a small fund trying to do this around

   24 after Mr. Okada left.

   25 Q       Okay.    I’m just wondering whether I should or not, you



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                                 Seery - By the Court                         106
    1 know, the timing of this.       So this is -- starts spring of 2019,

    2 but then a month post-petition let’s terminate this thing.             I

    3 mean who actually makes that decision?

    4 A      Well, the decision to continue forward is made by the

    5 board.    Before that it would have been made by the managers of

    6 the funds or the compliance group.         So I have not looked into

    7 specifically who said, Let’s terminate it.          To be perfectly

    8 frank, I don’t know --

    9 Q      But it would --

   10 A        -- the specifics.

   11 Q        -- the manager, Highland?

   12 A      It’s Highland who determines to terminate it.         Ultimately,

   13 if all the investors issued redemption notices, then the fund

   14 would have to liquidate --

   15 Q      Right.

   16 A        -- on its own.   So Highland --

   17 Q      Right.

   18 A        -- wouldn’t have any say about it.       But to put it into

   19 liquidation, I believe it was Highland that did it.           Some of

   20 the funds, it could be foreign directors, but that’s not what

   21 happened.

   22 Q      Uh-huh.   Okay.    So there are third-party non-affiliated

   23 investors still in it, there’s 35 million that would go out the

   24 door and --

   25 A      It’s about -- there’s a couple of assets that still have



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    1 to be liquidated.       Approximately 85 percent of the distribution

    2 is to third-party un-affiliated investors.          And then we --

    3 we’ll have -- we’ll retain some cash to make sure that we can

    4 manage the liquidation of the fund and the dissolution of the

    5 entities.       But we still have to get rid of a small amount of

    6 assets that are pretty liquid.

    7 Q       Okay.    Now I heard you also say that Highland isn’t owning

    8 any fees anymore on these refunds.         Did I not hear you say

    9 that?

   10 A       Yeah, certainly -- so I think on ours I think.        On Dynamic

   11 and on AROF, the Argentina Recovery Opportunity Fund, once they

   12 were put into liquidation they don’t earn any fees anymore.

   13 The --

   14 Q       Okay.    Let me -- okay, so when did that stop, when were

   15 they “put into liquidation” so the management fees stop?

   16 A       I believe that Dynamic would have been in the fall, I

   17 don’t know the exact date, and Argentina --

   18 Q       Well --

   19 A        -- was before that.

   20 Q        -- the Court termination date used in the pleadings was

   21 November 20, 2019.

   22 A       Yeah, but I don’t recall the exact date, Your Honor.          We

   23 can certainly figure that out, I just don’t recall off the top

   24 of my head.       When the fee cutoff date -- the fee cutoff date

   25 for RCP was I believe in April of 2018 when the one-year



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    1 extension was given.        That was the trade for the extension.

    2 Q      Okay.    But you don’t know for sure when the management fee

    3 cutoff was --

    4 A      No.

    5 Q        -- on either Argentina or Dynamic.

    6 A      No, that’s correct, Your Honor.

    7 Q      I mean would it have been in November 2019 you think?

    8 A      I think it was before that, but I don’t -- I believe so

    9 but I don’t know for sure.

   10 Q      Okay.

   11 A      If I’m wrong, I’ll figure that out and correct it to you.

   12 Q      Okay.    All right.     Thank you.   You’re --

   13 A      Thank you.

   14 Q        -- excused.

   15 A      Thank you.

   16                THE COURT:    Does anyone in the room know the answer

   17 to that?

   18                MS. HAYWARD:    Your Honor, we can figure it out very

   19 quickly I think.

   20                THE COURT:    Really?   Okay.

   21        (Pause in the proceedings.)

   22                THE COURT:    Actually I had one more question for Mr.

   23 Seery.

   24                THE WITNESS:    Yes.

   25 BY THE COURT:



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    1 Q       Do we have any other Highland managed funds out there that

    2 are imminently going to be going into wind-down mode?              Is that

    3 easy to answer?

    4 A       We have a number of CLO funds that are what we call 1.0

    5 CLOs.    They’re old and they’re effectively winding down.            And a

    6 number of those we don’t get fees off of, but they had --

    7 because they own very illiquid assets, we have to realize on

    8 those assets.     May of those have cross-ownership to funds that

    9 we do get fees on.      We need --

   10 Q       Let me back you up.    Why didn’t Highland get fees on

   11 those?

   12 A       Because sometimes in the CLO structure it depends on what

   13 kind of asset gets treated under the net asset value, so for

   14 example if it’s equity, it may not count, even if it has a

   15 value, you don’t get paid a fee on it.         So if you had a loan

   16 that converted to equity, some of those CLOs you           may not get a

   17 fee on because you don’t own any loans anymore.           So, but most

   18 of those assets, if a CLO owned equity for example in a PE

   19 company, we would have other funds that owned additional equity

   20 in that same PE company.

   21              We do have other assets where they aren’t necessarily

   22 wind-down, but there will be distributions to entities that may

   23 or may not be related parties under the protocols, and we are

   24 in the process, and the Committee’s aware of it, selling

   25 certain assets, and hopefully those sales will go the way we



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    1 want them to.     They’re valuable assets so we feel we have a

    2 good opportunity to realize good value for the estate.             There

    3 would be requirements on certain of them to pay off debt from

    4 certain entities before we can distribute money back up to

    5 Highland Capital.

    6 Q      All right.    Thank you.

    7 A      Thank you.

    8             THE COURT:    You’re excused.

    9             All right.    Anything else today?

   10             MR. POMERANTZ:     Do you want to hear closings, or have

   11 you heard enough, Your Honor?

   12             THE COURT:    I mean if you     have a quick one or two

   13 minute closing, I’ll hear that, to recap anything.           Did you

   14 have that quick answer that Ms. Hayward --

   15             MR. POMERANTZ:     We are --

   16             THE COURT:      -- was confident about?

   17             MR. POMERANTZ:     We are trying to find it.

   18             THE COURT:    Okay.

   19             MR. POMERANTZ:     We have a couple of emails out,

   20 hopefully by, we get a couple of answers.

   21             THE COURT:    Okay.   Okay.

   22               CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

   23             MR. POMERANTZ:     Your Honor, I just wanted the

   24 highlight the fiduciary duty as you -- I know it was a subject

   25 of discussion with Mr. Seery, cross-examination.           Again, as you



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    1 heard, and as the only evidence before Your Honor is, Mr.

    2 Seery, who as Your Honor knows is a restructuring lawyer,

    3 practice in it.      He’s fully aware of what the fiduciary duty

    4 requires.

    5              And first and foremost, I think it may even be 28 USC

    6 959, the Debtor has to operate in accordance with applicable

    7 law.    Every debtor before Your Honor has to act in accordance

    8 with applicable law, and if the debtor is not acting in

    9 accordance with applicable law, then they are creating

   10 liability.     As Mr. Seery testified, that is exactly what that

   11 the Debtor is doing. And this concept of dueling fiduciary

   12 duties or the board taking certain actions that just happened

   13 to benefit insiders as indicating that they are not looking out

   14 for the estate is just not accurate.         That’s not how the law

   15 works and I think Mr. Seery said it correctly, that the Debtor

   16 fulfills its fiduciary duty to the estate by operating in

   17 accordance with applicable law.

   18              With respect to 105, Your Honor, the cases cited by

   19 the Committee don’t support granting injunctive relief forward

   20 of attachment without going through the necessary process.

   21 They do cite the DeLorean case which at first blush sounds like

   22 a court authorized the holding of money, but if you read that

   23 case carefully, it was done because there was a complaint and

   24 because the Court ultimately determined that the evidence

   25 before the Court established grounds for preliminary



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    1 injunction.

    2             Mr. Clemente has asked Your Honor to hold that the

    3 objection filed satisfies the standard.         But the objection

    4 isn’t a legal document.       The Committee has not put on any

    5 evidence to support any claims that exist.          The testimony from

    6 Mr. Seery is that there’s a claim under a note and that there

    7 are defenses to the note.       So Your Honor does not have the

    8 sufficient evidentiary basis in order to meet the standards of

    9 the injunction of which irreparable harm -- there’s a whole

   10 host of reasons.

   11             So while we understand what the Committee wanted to

   12 do.    If they wanted to file an action, they could have.           We

   13 don’t expect them to have completed their investigation on all

   14 the types of claims they’re looking at.         But they’ve been aware

   15 of this Okada note for a couple of months.          It would not have

   16 been difficult for them to file, as they have standing, a

   17 lawsuit to recover any.       They asked us to issue a demand note,

   18 we did, and we got the answer.

   19             So, Your Honor, I don’t think there’s a basis under

   20 105, the way it’s being used here and the lack of evidentiary

   21 record to support it.       And for those reasons, Your Honor, we

   22 would ask that Your Honor support the motion and other than the

   23 distributions that are being held in the registry, allow the

   24 distribution to be made to Mr. Okada.

   25             THE COURT:    Okay.



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    1             MR. POMERANTZ:     Thank you, Your Honor.

    2             THE COURT:    All right.    Other quick closings?

    3             MR. CLEMENTE:     Your Honor, I’ll be very quick.

    4             CLOSING ARGUMENT ON BEHALF OF THE COMMITTEE

    5             MR. CLEMENTE:     There’s obviously a lot more that I

    6 could say, but I’ll be respectful and be very quick.

    7             First of all, Your Honor is the judge and you’re the

    8 one that determines what the law is and what the duties

    9 ultimately are for this Debtor.        Mr. Seery I think indicated in

   10 his testimony that, for what it’s worth, he does not believe

   11 that there would be a viable claim for breach of fiduciary duty

   12 if Your Honor ordered the distribution to Mr. Okada be put in

   13 the Court registry.

   14             I think the testimony was clear from Mr. Seery that

   15 Mr. Okada, at all times relevant, when all the things that

   16 happened that involved the Redeemer Committee, that involved

   17 Acis, that involved UBS, Mr. Okada was at least co-Chief

   18 Investment Officer and we all know he was co-founder of

   19 Highland.     I think Your Honor’s questions, and perhaps

   20 frustration with sort of trying to figure out some of the

   21 answers, show how interrelated all of these things are and the

   22 various capacities and roles that Mr. Okada had back at the

   23 time when all these different transactions occurred.

   24             I think the testimony we heard is that Mr. Seery did

   25 a lot of work around why we should pay Mr. Okada, but almost no



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    1 work around why we shouldn’t pay Mr. Okada.          And so I go back

    2 to what I said earlier, Your Honor, I think Mr. Okada is

    3 perfectly capable of coming into this court and arguing that

    4 once the monies that were put into this Court’s registry should

    5 be distributed to him, he can come in and do that.

    6             But I think for purposes of today, Your Honor has

    7 heard more than enough to come to the conclusion that the

    8 appropriate remedy here is to place the money within the

    9 registry of this Court.       It satisfies the fiduciary duty of the

   10 Debtor and it protects the interest of Mr. Okada, who is free

   11 to come into this court and make whatever argument he so

   12 chooses as to his entitlement to those funds.

   13             Unless Your Honor has any questions of me, I’ll sit

   14 down.

   15             THE COURT:    Thank you.

   16             MR. CLEMENTE:     Thank you.

   17             THE COURT:    Anything else?

   18             MR. POMERANTZ:     Your Honor, in answer to you

   19 question, November 11 was the date that the fees were no longer

   20 payable to the Debtor in the Dynamic Fund.

   21             THE COURT:    November 11 post-petition.

   22             MR. POMERANTZ:     Correct.

   23             THE COURT:    I like being transparent and I -- and so

   24 I sometimes share my thoughts hoping that it will help.             But

   25 I’m -- you all get why I’m fixated on this point?           Maybe I’m



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    1 sharing my thoughts when I don’t have to.          But the time line

    2 looks suspect, whether it should be or not, it looks maybe

    3 problematic.     Do you see what I’m saying?

    4             We had this fund that I understand never got to real

    5 scale and in spring 2019 we have a couple of big unrelated

    6 third-parties -- third-party investors issue redemptions and

    7 that makes it really not a very worthwhile fund, so maybe it

    8 should go into wind-down mode.        Nevertheless, Highland has been

    9 continuing to get its management fee.         I don’t know how much

   10 management fee, but it’s been getting a management fee until it

   11 files bankruptcy, and then, Oh, let’s wind this sucker down.

   12             Do you see what -- you know, I don’t know.         I mean

   13 again, a hearing for another day.        But this is the kind of

   14 thing I get concerned about, and maybe kind of want to look

   15 into the bona fides of the decision making process to wind

   16 down, let’s terminate this thing and make disbursements.             And,

   17 you know, did we have any fingerprints of this on insiders that

   18 should make me troubled.       I don’t know.    I mean if I’m going

   19 out on a lark here, just stop me.

   20             MR. POMERANTZ:     Well, look, Your Honor, I certainly

   21 understand why you’re concerned.        As you said at the first

   22 hearing, you have stuff in your head that you can’t forget, and

   23 I understand.     I wasn’t around but I understand the history and

   24 especially the history with certainly similar things that may

   25 have happened in the Acis case.



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    1              The facts are that Realdania made its redemption

    2 request on August 15, the fees that the -- August 15, but that

    3 the liquidation was the time where the management fees stopped,

    4 which incidentally were $12,000 a month based upon the level of

    5 this spot.

    6              THE COURT:   Okay.

    7              MR. POMERANTZ:    So, Your Honor, I understand your

    8 concerns, however, what I would say is, you have Mr. Seery here

    9 answering your questions.       You have Mr. Seery who said he’s

   10 conducted an thorough investigation.         At some point, and I’m --

   11 you know, obviously you brought up a couple of questions, at

   12 some point the creditors -- Your Honor has to accept that if

   13 the board has done a thorough analysis, and we’re coming into

   14 this hearing today, and before we filed the motion, as Mr.

   15 Seery said, we crossed all our Ts and dotted all our Is.

   16              We spent a lot of money collectively, the different

   17 firms that are involved, because we wanted to make sure it’s

   18 the right thing.      We understood that coming to Your Honor

   19 asking to pay investors who are related parties, given the

   20 context of this case and given the Committee’s opposition, was

   21 going to be a big challenge.        We thought it was the right thing

   22 to do, but we wanted to make sure Your Honor knows that the

   23 board actually did a thorough investigation, again, spearheaded

   24 by Mr. Seery, who is not just someone off the street, but as he

   25 testified, this is what he’s done over the last 10-15 years.



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    1             So I certainly understand Your Honor’s concerns.           Mr.

    2 Seery I think has testified about the thorough investigation,

    3 and that the 12,000 a month, that I think if he got back on the

    4 stand, he would testify that would be a breach of duty to the

    5 investors to continue on getting fees.         There’s an obligation

    6 at some point, when the redemptions happened, to either pay the

    7 redemptions, put the fund in liquidation, and that’s what

    8 happened.

    9             And just because it wasn’t done by the board, it was

   10 done before, it was important, as I mentioned in my opening,

   11 and as Mr. Seery testified, he looked at that carefully and

   12 thoroughly.     He didn’t want to be embarrassed, we didn’t want

   13 to be embarrassed coming in and not having those answers.             So,

   14 Your Honor, this is a long way of saying I think at some point

   15 the board is entitled to the deference of business judgment if

   16 they can demonstrate that they’ve gone through the process

   17 necessary to earn the deference to business judgment, which I

   18 think Mr. Seery has done.

   19             THE COURT:    Okay.   And while we’re on the subject, I

   20 mean 12,000 a month was the management fee to Highland from

   21 Dynamic.    What was the management fee from Argentina, do you

   22 have that off the top of your head?

   23             MR. SEERY:    It would have been in the same -- these

   24 are approximately --

   25             THE COURT:    The same range?



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    1              MR. SEERY:     -- the same neighborhood.

    2              THE COURT:   Okay.

    3              MR. SEERY:   That the meetings would be based upon

    4 fees.

    5              THE COURT:   Okay.

    6              MR. SEERY:   Or the redemptions (indiscernible)

    7 variable asset now (indiscernible).

    8              THE COURT:   Okay.

    9              MR. SEERY:   (indiscernible).

   10              THE COURT:   Okay.   All right.    Just a minute while I

   11 do some math.

   12         (Pause in the proceedings.)

   13              THE COURT:   All right.    I’m doing this math in my

   14 head.    There’s a $7.4 million note receivable from HCM Services

   15 of which Okada is the 25 percent owner of.

   16              MR. POMERANTZ:    Your Honor, 7.4 is not the demand

   17 notes.    Again, 985,000 is the demand notes.        The rest of those

   18 notes are performing and not in the fall.

   19              THE COURT:   Okay.   All right.    With regard to the

   20 motion and the objection and the Committee there’s been a lot

   21 of argument about 105 and what it permits the Court to do and

   22 what it doesn’t as far as fashioning an equitable remedy here.

   23 Here I mean it’s clear that this Debtor has receivables owed by

   24 these related parties, although they don’t necessarily match up

   25 perfectly with the amount of disbursements that are owed by



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    1 these funds and of course the funds are separate legal entities

    2 than the Debtor.      So I’m not glossing over that fact or

    3 ignoring that fact.

    4             But I do think the Court has broad equitable powers

    5 to remedy -- to fashion remedies that preserve the status quo

    6 and I think it is appropriate here to order that most of this

    7 money, that most of the 8.6 million that would go to related

    8 investors in these three funds, be put into the registry of the

    9 court pending further motions, orders, adversary proceedings

   10 anyone wants to file to make a claim to that money.           I said

   11 most of it.

   12             I am going to order that with regard to the amount

   13 that would be payable to Mr. Okada, the 4.176 million, we will

   14 subtract from that the 1.3 million that represents the demand

   15 note receivable that the Debtor has so that I’m essentially

   16 doing an equitable offset at that point.          So he can only be

   17 paid -- he should only be paid from the Dynamic Fund whatever

   18 4.176 million minus 1.3 million is, and the rest shall be put

   19 into the registry of the court.        And everybody’s rights are

   20 reserved on anything and everything with regarding to do tos

   21 and do froms.

   22             I reserve the right to supplement in more detail in a

   23 written form of order to justify the Court’s 105 action here.

   24 But, Mr. Pomerantz, I’d ask you to upload a form of order on

   25 this, please.



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    1             MR. POMERANTZ:     We’ll be happy to, Your Honor.        We’ll

    2 circulate it to the Committee and Ms. Patel as well.

    3             THE COURT:    All right.    Well, thank you all, and --

    4             MR. CLEMENTE:     Your Honor, but just to be clear

    5 though, the other amounts, correct, to HCM Services and CLO

    6 Holdco, would that be part of the order or what did Your Honor

    7 have in mind with respect to that?

    8             THE COURT:    Well --

    9             MR. CLEMENTE:     Because I believe those are to be

   10 deposited with the Court as well, yes.

   11             THE COURT:      -- all of -- everything gets deposited

   12 in the registry of the court, except Mr. Okada will get

   13 whatever the differential is of 4.176 minus 1.3.           Okay?

   14             MR. CLEMENTE:     Thank you, Your Honor.

   15             THE COURT:    All right.    Thank you.

   16             COURT SECURITY OFFICER:         All rise.

   17                                     *****

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                                                                             121
    1                        C E R T I F I C A T I O N

    2             We, DIPTI PATEL, KAREN WATSON and TERRI STARKEY,

    3 court approved transcriber, certify that the foregoing is a

    4 correct transcript from the official electronic sound recording

    5 of the proceedings in the above-entitled matter, and to the

    6 best of my ability.

    7

    8 /s/ Dipti Patel

    9 DIPTI PATEL

   10

   11 /s/ Karen Watson

   12 KAREN WATSON

   13

   14 /s/ Terri Starkey

   15 TERRI STARKEY

   16 J&J COURT TRANSCRIBERS, INC.             DATE:    March 6, 2020

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                          IN THE UNITED STATES BANKRUPTCY COURT
       1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
       2
                                          )    Case No. 19-34054-sgj11
       3    In Re:                        )
                                          )
       4    HIGHLAND CAPITAL              )    Dallas, Texas
            MANAGEMENT, L.P.,             )    June 15, 2020
       5                                  )    1:30 p.m. Docket
                     Debtor.              )
       6                                  )    UBS'S MOTION FOR RELIEF FROM
                                          )    THE AUTOMATIC STAY TO PROCEED
       7                                  )    WITH STATE COURT ACTION (644)
                __                        )
       8
                                TRANSCRIPT OF PROCEEDINGS
       9               BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                             UNITED STATES BANKRUPTCY JUDGE.
      10
            WEBEX/TELEPHONIC APPEARANCES:
      11
            For the Debtor:               Jeffrey N. Pomerantz
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      16                                  Greg Demo
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      23    For UBS Securities, LLC:      Martin A. Sosland
                                          BUTLER SNOW, LLP
      24                                  5430 LBJ Freeway, Suite 1200
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    1   APPEARANCES, cont'd.:
    2   For UBS Securities, LLC:      Andrew Clubok
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        Investment Manager,           GIBSON, DUNN & CRUTCHER, LLP
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   18   For Redeemer Committee of     Mark A. Platt
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                                      New York, NY 10022-3098
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   24

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        APPEARANCES, cont'd.:
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    6                                 Dallas, TX 75242
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                                      Shady Shores, TX 76208
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       1                DALLAS, TEXAS - JUNE 15, 2020 - 1:35 P.M.

       2               THE COURT:    Please be seated.   All right.    This is

       3   Judge Jernigan.     We have a hearing in Highland.    I've got

       4   problems with this chair.      Just a minute.    Here we go.    We

       5   have a motion to lift stay in the Highland Capital case, Case

       6   No. 19-34054.     It's a motion of UBS for relief from the stay

       7   to go forward with litigation in the New York state court.

       8        I'm going to do a roll call, hopefully as efficiently as

       9   possible.    I'm going to first call the names that I think are

      10   likely to be with us, and if I don't call your name, at the

      11   end of the roll call, if you wish to appear, I'll invite you

      12   to go ahead.

      13        All right.    First, for UBS, the Movant, I'm guessing we

      14   have some Latham & Watkins folks, and perhaps Marty Sosland as

      15   well.   I'll start with you.     Mr. Sosland, are you by chance on

      16   the phone?

      17               MR. SOSLAND:    I am, Your Honor.

      18               THE COURT:    Good afternoon.

      19               MR. SOSLAND:    I'm on WebEx.

      20               THE COURT:    You're on the video?

      21               MR. SOSLAND:    Good afternoon.

      22               THE COURT:    Good afternoon.   Who else do we have?       Do

      23   we have Mr. Clubok, Ms. Tomkowiak?      Who do we have from Latham

      24   & Watkins?

      25               MR. CLUBOK:    Good afternoon, Your Honor.     It's Andrew




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      1   Clubok from Latham & Watkins.     And I'm here with my partner,

      2   Sarah Tomkowiak.

      3              THE COURT:   Okay.   Good afternoon.    All right.    So I

      4   think we have four objectors in all.      I'll start with the

      5   Debtor.   Mr. Pomerantz, I'm assuming you're on the phone with

      6   some of your team?

      7              MR. POMERANTZ:   Yes, I am, Your Honor.     I'm also on

      8   the phone with Robert Feinstein, Alan Kornfeld, and Greg Demo.

      9              THE COURT:   All right.   Good afternoon to all of you.

     10              MR. FEINSTEIN:   Good afternoon, Your Honor.

     11              THE COURT:   All right.   Do we have your local

     12   counsel, Ms. Hayward or Mr. Annable?

     13              MR. ANNABLE:   Yes, Your Honor.    Zachery Annable and

     14   Melissa Hayward on behalf of the Debtor.       We're here.

     15              THE COURT:   All right. Very good.     Now I'll take --

     16              MR. POMERANTZ:   Your Honor, this is Jeff Pomerantz.

     17   Before we went to the relief from stay, there was one minor

     18   other item that Mr. Demo is going to handle that's resolved,

     19   Hunton & Williams' application.      So if he could put the

     20   resolution on the record before we go into what's likely going

     21   to be a lengthy hearing.     But I didn't mean to interrupt Your

     22   Honor from taking appearances.

     23              THE COURT:   All right.   Thank you.   You know, I

     24   didn't see that on our calendar and I thought in my brain, we

     25   continued that to today, I think.      So we'll start with that




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       1   once we finish the roll call.

       2        All right.   For the Unsecured Creditors' Committee, do we

       3   have Ms. Reed, Mr. Clemente?      Who do we have on the phone?

       4              MR. CLEMENTE:    Good afternoon, Your Honor.       Matthew

       5   Clemente from Sidley Austin on behalf of the Committee.

       6              THE COURT:    All right.   Anyone else from Sidley

       7   Austin?

       8              MR. CLEMENTE:    I think we're -- I think we're set,

       9   Your Honor.

      10              THE COURT:    All right.

      11              MR. CLEMENTE:    Thank you.

      12              THE COURT:    What about for the Redeemer Committee?

      13   Do we have Mr. Platt or others on the phone?

      14              MR. PLATT:    Yes, Your Honor.     Mark Platt is on, and I

      15   believe Terri Mascherin from Jenner & Block is on video as

      16   well, and Marc Hankin is on the phone --

      17              THE COURT:    All right.

      18              MR. PLATT:    -- from Jenner.

      19              THE COURT:    Ms. Mascherin, Mr. Hankin, are you there?

      20              MS. MASCHERIN:    Yes, Your Honor.     Terri Mascherin.

      21              THE COURT:    All right.

      22              MS. MASCHERIN:    Good afternoon.

      23              THE COURT:    All right.   Then --

      24              MR. HANKIN:    Marc Hankin, Your Honor.

      25              THE COURT:    Okay.   Very good.   All right.   We also




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       1   had a joinder in the objections by Acis.       Do we have Ms. Patel

       2   or others for Acis?

       3              MR. SHAW:    Yes, Your Honor.   Brian Shaw and Ms. Patel

       4   are on for Acis.

       5              THE COURT:   All right.     Well, those are all --

       6              MS. PATEL:   Good afternoon, Your Honor.

       7              THE COURT:   Oh, go ahead.

       8              MS. PATEL:   Good afternoon, Your Honor.      This is

       9   Rakhee Patel.

      10              THE COURT:   All right.    Thank you, Ms. Patel.

      11        Those were all of the most likely appearances.       If you

      12   want to appear and you've not appeared yet, you may go ahead.

      13   (Pause.)   All right.

      14              MR. ROSENTHAL:      Good afternoon, Your Honor.    Michael

      15   Rosenthal from Gibson Dunn on behalf of Alvarez & Marsal.

      16   They're the investment manager of the Highland Crusader Funds.

      17              THE COURT:   Okay.     Thank you, Mr. Rosenthal.

      18        Any other appearances?

      19        All right.    Well, Mr. Pomerantz, or I think you said --

      20              MR. DEMO:    Your Honor?

      21              THE COURT:    -- Mr. Demo wanted to present the

      22   resolution of Andrews Kurth Hunton & Williams' employment.

      23   You may go ahead.

      24              MR. DEMO:    Yes.    Thank you, Your Honor.   Greg Demo on

      25   behalf of Highland Capital Management.




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       1        We did work with the Committee to come to a resolution on

       2   this retention application.     We are looking to retain Hunton

       3   to help us with a tax situation arising from a 2008 tax audit.

       4   The Committee had some reservations, and we're able to resolve

       5   them.   The resolution that we have is that the engagement, at

       6   least in the first instance, will be limited to a certain time

       7   period, and that's between June 15th through September 30th.

       8   And it'll also be capped at a specific dollar amount, which is

       9   $65,000 a month that is calculated on an average rolling basis

      10   over the period.    So, total of fees of $227,500, although,

      11   obviously, everybody will work to keep those fees down.

      12        At the end of that period, the end of the September 30th

      13   period, the idea is that either we'll come to a further

      14   agreement with the Committee on how to expand the retention of

      15   Hunton, or else we'll come back to this Court and seek a

      16   further retention.

      17        The Committee would reserve all of their objections, if

      18   they had any, to the expanded retention, and the only

      19   objection that they would not retain would be objecting to

      20   Hunton's fees based on the fact that their retention was not

      21   expanded.

      22        All fees would be applied for under Section 330 and all

      23   the other applicable provisions of the Bankruptcy Code.

      24        And that is the resolution that we have with the

      25   Committee, Your Honor, on the Hunton retention.




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       1               THE COURT:    All right.   Very good.   Mr. Clemente,

       2   will you confirm that that reflects the deal?

       3               MR. CLEMENTE:    Your Honor, Matthew Clemente on behalf

       4   of the Committee.

       5        I will, Your Honor.     I will confirm that.    As Your Honor

       6   undoubtedly is aware, we're keenly focused on making sure that

       7   Debtor funds, you know, benefit only the Debtor estate and not

       8   other parties, and that was really the issue we had in dealing

       9   with Mr. Demo.    But he accurately reflected our agreement.

      10               THE COURT:    Okay.   Very good.   Well, I thank you all

      11   for working that out, and I'd be happy to sign an order to

      12   this effect.    So if you could please electronically submit it,

      13   Mr. Demo.

      14               MR. DEMO:    Will do, Your Honor.

      15               THE COURT:    All right.   Well, the main event today,

      16   as we have discussed, is the motion to lift stay of UBS.

      17   Before we talk about oral -- or, opening statements, are there

      18   any housekeeping matters or announcements, stipulations,

      19   anything of that nature that affects how we proceed this

      20   afternoon?

      21               MR. CLUBOK:    Yes, Your Honor.    Again, Andrew Clubok

      22   on behalf of UBS.

      23        The parties, all of the parties have agreed that all of

      24   the exhibits that are attached both to UBS's motion and to all

      25   of the Objectors' papers, all of them, with one exception,




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       1   which I'll explain, are to be admitted for purposes of this

       2   hearing only.    So, we've all stipulated to their admission.

       3   We won't (inaudible).     And they're -- they will be deemed

       4   admitted for all purposes, but just for this hearing.         We all

       5   reserve the right to object to their use in further

       6   proceedings or other matters.

       7        The one exception and -- is Exhibit D to the Redeemer's

       8   objection.    I believe that -- I believe the Debtor objected to

       9   Exhibit D.    And I think that Redeemer, can't speak for them,

      10   but I think everyone agreed that that would need to be

      11   admitted for purposes of this hearing.       So that's the one

      12   exception.

      13              THE COURT:    All right.   I'm going to ask people to

      14   speak up or forever hold your peace.      The Court is going to

      15   admit into evidence today, only for today's hearing, not for

      16   other hearings, all exhibits that were attached to the various

      17   parties' -- UBS's motion, the objections -- except Exhibit D

      18   to the Redeemer objection.

      19        Before I get people's confirmation, let me just clarify

      20   one thing.    All parties except the Debtor refer to Exhibit A,

      21   B, et cetera to their pleadings.      The Debtor actually filed a

      22   separate Appendix A of exhibits at Docket No. 688 with 12

      23   items.   I assume that was included in addition to the

      24   attachments to the motions and objections.

      25              MR. CLUBOK:    Yes, Your Honor.




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       1              THE COURT:    Okay.

       2              MR. CLUBOK:    Those were just duplicative of the

       3   exhibits, is my understanding, --

       4              THE COURT:    Oh, okay.

       5              MR. CLUBOK:    -- that were otherwise filed as part of

       6   the objection.

       7              THE COURT:    All right.    Thank you.   Anyone have

       8   anything to change about this announcement?

       9        All right.   Very good.      So the record is clear, the Court

      10   is considering all exhibits attached or submitted by the

      11   parties before the hearing, except Exhibit D to the Redeemer

      12   objection.

      13        All right.   Well, I thank you all.      That saves some time

      14   here today.

      15        (All parties' exhibits admitted into evidence except

      16   Exhibit D to Redeemer Objection.)

      17              THE COURT:    Anything else?

      18              MR. CLUBOK:    Your Honor?    Yes, there's one other

      19   housekeeping issue, and that is UBS filed a motion to request

      20   leave to file a reply brief.       And we submitted the reply brief

      21   along with that motion.     Oh, dear.     Did we lose -- can you

      22   still hear me, Your Honor?

      23              THE COURT:    Yes, I can.    Can you hear me?

      24              MR. CLUBOK:    Okay.    We had -- yes, we had a technical

      25   glitch for a second and it warned me that we were losing




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       1   video, but everything's worked out.

       2              THE COURT:    Okay.

       3              MR. CLUBOK:    So, Your Honor, UBS filed a motion for

       4   leave to file a reply.     And by the way, there were further

       5   exhibits attached to that, which are part of that stipulation

       6   that we just referenced.     Your Honor, I believe, has not yet

       7   technically ruled on that, but we -- we wanted to preview

       8   those arguments.    We could obviously have just made them all

       9   cold here, but there's a lot in there, so we thought it would

      10   be helpful to the parties and hopefully to the Court to seek

      11   leave to file a reply brief so that everyone can know, you

      12   know, plenty of time in advance our response as to many of the

      13   different arguments raised in the objection.

      14        Your Honor, I think, technically, because of the Rules, we

      15   were prohibited from providing you with an unredacted copy.

      16   So I think that all Your Honor may have before you right now

      17   is a redacted version.     There are some minor issues that to

      18   the extent we need to get into those details, we can certainly

      19   talk about them in open court.        But we do ask that the Court

      20   rule on our motion for leave to file a reply brief.

      21              THE COURT:    All right.    Do we have any objections to

      22   that?   It was filed, I think, about 6:15 Thursday night, and I

      23   saw the motion for leave on Friday.       Anyone have a problem

      24   with the Court considering the reply?

      25        It's something in our Rules, I think it's pretty common,




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       1   that -- you know, obviously, the motion, the average motion to

       2   lift stay that's filed in the bankruptcy court deals with a

       3   car or a house and we have very streamlined procedures to, you

       4   know, a motion and an objection and that's it.       This is

       5   obviously an atypical or something more complicated than usual

       6   motion to lift stay.     Anyone have a problem with me

       7   considering the reply?

       8        All right.   Leave is granted, then, on that.      I will

       9   consider the content of that reply.

      10              MR. CLUBOK:    Thank you, Your Honor.   And I believe

      11   those are all the housekeeping issues that I'm aware of.

      12        There was -- Ms. Tomkowiak reminded me -- I guess a motion

      13   -- motion to seal.      Some of the exhibits are -- I think both

      14   sides are impacted by confidentiality agreements and so forth.

      15   I don't think any of the motions to seal on any side are

      16   objected to.

      17        So perhaps those could all be agreed upon, particularly

      18   for our reply brief, and that would allow us to then get you

      19   an unredacted copy, if we're permitted, if the motion to seal

      20   is granted.    Then you'll be -- we'll be able to get you very

      21   quickly an unredacted copy of our reply brief.

      22              THE COURT:    All right.   Anyone have a problem with

      23   this?

      24        All right.   Let me be clear.    We're only talking about the

      25   reply and attachments to it?     We're not talking about anything




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       1   else out there?

       2              MR. CLUBOK:    That's correct, Your Honor.

       3              THE COURT:    All right.   Well, I will grant that

       4   motion to seal.

       5        So, again, I just want to make sure the Clerk's Office

       6   ends up being clear.      You'll end up filing the unredacted

       7   version, and then I'll -- I'll be able to, obviously, compare

       8   it to what was filed.      And I think -- I'm just thinking

       9   through the mechanics.     The Clerk's Office always wants

      10   clarity.    I'm giving you permission to file under seal an

      11   unredacted version.      It's as simple as that.    So, the Clerk's

      12   Office will follow up with you if they need any other piece of

      13   paper.

      14              MR. CLUBOK:    Thank you, Your Honor.     And would you

      15   like -- I think Mr. Sosland can arrange, either by, whatever's

      16   the easiest, to give you a courtesy copy, either by email or

      17   by messenger, so that you can just quickly look at the

      18   unredacted version, if that'll be helpful.

      19              THE COURT:    All right.   Well, yes, let's have him

      20   send it to my courtroom deputy.       So he should have that email

      21   address:    sgjsettings -- wait, is that it?       Or is it

      22   sgj_settings@txnb.uscourts.gov?       All right?

      23              MR. SOSLAND:    We have it, Your Honor.      Thanks.

      24              THE COURT:    Okay.   Very good.   Thanks.

      25              MR. CLUBOK:    Thank you very much, Your Honor.




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       1             THE COURT:    All right.   Well, are there any other

       2   housekeeping matters?    Otherwise, I presume you all want to

       3   make some opening statements to kind of tie this all together.

       4       All right.    Well, you may proceed with your opening

       5   statement.

       6          OPENING STATEMENT ON BEHALF OF UBS SECURITIES, LLC

       7             MR. CLUBOK:    Thank you very much, Your Honor, and

       8   good afternoon.

       9       Your Honor, we're here today seeking relief from the

     10    automatic stay provided by Section 362.      And we also ask that

     11    the Court enter a related order that will explicitly allow us

     12    to preserve UBS's rights to try the state court action, the

     13    entirety of the claims that are permitted.      Have a jury.

     14    Before a jury.    So we've asked the Court do that in one of two

     15    ways, either by noting that pursuant to Section 105(a) or

     16    simply by extending the times in the bar date past the trial

     17    that we expect to have in the state court.

     18        That's why we're here.     Now let me explain why we think

     19    that relief should be granted, if I may.

     20        Your Honor, very simply, to tie all -- you've got a

     21    mountain of paper in front of you.     It is a lot more than the

     22    usual motion --

     23              THE COURT:    Uh-huh.

     24              MR. CLUBOK:    -- for relief, as you noted.    And that

     25    paper that you have before you, that mountain of paper and




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       1   those many, many exhibits, are a tiny, tiny fraction of the

       2   paper that has been generated over 11 years of litigation in

       3   New York state courts.

       4        We are here seeking the relief to allow us to proceed and

       5   complete that litigation because right now we are literally in

       6   the middle of a trial that will finally resolve the claim that

       7   UBS brought more than 11 years ago against Highland and other

       8   non-debtor related entities.

       9        Those claims involve, like I said, not just Highland, but

      10   non-debtor entities that are not subject to the bankruptcy

      11   stay, against whom we have jury rights, and those claims have

      12   been litigated as extensively as certainly any case I've ever

      13   been involved with, and according to Justice Friedman, she

      14   said this in open court, it was the most complicated case

      15   she's ever dealt with, and she's a judge who has dealt with

      16   enormous complexity in the New York courts, including much

      17   litigation related to the aftermath of the fiscal crisis,

      18   Lehman Brothers, et cetera.

      19        But after 11 years of litigation, five trips to the

      20   appellate court in New York and back down, five different

      21   opinions from the appellate court, including a TRO at one

      22   point -- they found that we had a substantial likelihood of

      23   success on our fraudulent conveyance claims -- after all of

      24   that, we get to a trial.     We complete half of that trial.      The

      25   second half of the trial is ready to be completed -- granted,




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       1   as soon as the New York courts reopen, but we'll come back to

       2   that.   We expect that to certainly be within a matter of

       3   months, certainly not years.

       4         And we should be allowed to complete that trial, a trial

       5   that has already had the judge make credibility determinations

       6   about some 20 witnesses that she's seen either live or through

       7   videotape deposition designations, almost all of whom

       8   testimony will be relevant in the second phase of the trial,

       9   many of whom, certainly, Highland's key witness, witnesses and

      10   experts.   And she's literally in the middle of that trial.

      11   She's in the middle of deciding one of the so-called threshold

      12   issues.    Actually, she's already decided it, and we'll get to

      13   that.   But this is a case, if any case screams out for relief

      14   from the automatic stay, it's this one, to allow us to simply

      15   finish the trial that is right now literally in the middle of

      16   it.

      17         Now, over that 11 years of litigation, I am pretty sure

      18   that every single argument that could have been made has been

      19   made, ruled on, and/or waived.     And that includes these so-

      20   called two new threshold issues that, by my count, Highland's

      21   fourth set of lawyers that have touched this case over the

      22   years have now come up with and said, oh, gee, here's the key

      23   to the kingdom, some new -- two new supposed threshold issues.

      24   Those are their arguments in their papers, that if they could

      25   just convince Your Honor somehow that our claim for the breach




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       1   of implied duty of good faith and fair dealing that's directly

       2   against Highland, somehow that's affected in a way by res

       3   judicata that's not consistent with those five appellate court

       4   decisions and the countless decisions already by the trial

       5   court.

       6        And also they want you to rule right now on how the

       7   settlement with two prior Defendants in that litigation

       8   affects the -- or may potentially affect an offset against our

       9   total ultimate judgment.

      10        Now, mind you, that issue was already litigated and

      11   presented to Judge Friedman, and as reflected in her decision,

      12   she said that that -- that issue is properly to be dealt with

      13   as a post-trial motion.     She's already ruled on that.      A post-

      14   judgment motion, not right here in the middle of the case,

      15   where it's -- it's both too late and too early.        It's too late

      16   because it's after the deadline for summary judgments and they

      17   didn't make this argument.     In fact, they made a very

      18   inconsistent argument, and they will be estopped from making

      19   this argument.

      20        It's also too early because it's not yet at the -- what

      21   Justice Friedman ruled in her decision was the impact of that

      22   settlement will be decided once we have a final judgment,

      23   because Highland had argued that they should get a $70 million

      24   setoff and we've argued that they may or may not, depending on

      25   what claims we ultimately win at trial.       But it's a fairly




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       1   simple post-trial motion.

       2        Justice Friedman already said -- and Highland already

       3   urged her to rule on it upfront, in the first phase.          We had

       4   briefed the issue, both sides, extensively.       She said no, it

       5   can be decided later.

       6        But what's happened here is what we have seen time and

       7   time again over 11 years litigating with Highland.        As I

       8   mentioned, this is their fourth set of lawyers who have been

       9   -- whose thoughts have been brought to bear on this

      10   litigation.    And we noted in our brief, I think Mr.

      11   Pomerantz's firm has spent something like a million dollars by

      12   our estimate in developing these new thoughts.       At least

      13   according to their fee petition as of a couple months ago,

      14   they're already up to $800,000; I'm guessing they're pushing a

      15   million by now.

      16        And what they've done is simply reargue, tried to

      17   relitigate the same issues that have been litigated time and

      18   time again.    As we explain -- it's obviously quite familiar --

      19   on Page 4 of our reply brief, courts have routinely said you

      20   cannot use Chapter 11 to relitigate instead of reorganize.

      21   And this is a classic case of what the Debtor here is trying

      22   to do.

      23        Now, in terms of timeliness -- and I'm going to get to

      24   that in a moment -- but in terms of how to deal with those so-

      25   called threshold issues quickly, the very fastest way to deal




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       1   with those threshold issues is to give us relief from the stay

       2   and let's present those two issues to Justice Friedman.

       3   Because from experience that we've seen and how Justice

       4   Friedman dealt with this the last time it happened, and I'll

       5   talk about that in a moment, Justice Friedman could deal with

       6   those issues extremely quickly.      I would expect she wouldn't

       7   even require briefing by us, because she knows those issues

       8   extremely well, she's written decisions on both of them over

       9   the years, and there's a carefully-studied appellate court

      10   decision that relates to them.

      11        And Justice Friedman, what she's already done in that

      12   case, and Highland knows well, is that after we tried Phase I

      13   but before the decision was issued, Highland swapped out its

      14   attorneys and came on with I think by then its third set of

      15   lawyers.    And when the third set of lawyers came in, after we

      16   had already tried Phase I but before Phase II -- so,

      17   basically, where we are now -- this was, I've lost track of

      18   time, but maybe, you know, eight, nine months ago, or maybe

      19   even a year ago, as we were waiting for the decision -- that

      20   set of lawyers, they were brought on and they said, well, gee,

      21   we've got a brand-new theory that cracks this case wide open.

      22   Here's the new theory of Highland can avoid liability.         And

      23   Judge, if you just let us bring this up, you won't even have

      24   to bother with silly old Phase II and you can just end this

      25   thing right now.    It's a simple rifle shot.




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       1       Justice Friedman -- I wish it had been on video, I wish

       2   there had been a camera -- let's just say her reaction was

       3   clear, unmistakable, and key.     And very quickly she rejected

       4   Highland, in no uncertain terms, effort to do that.       Forced

       5   them to withdraw the motion.     Explained to them, this is not

       6   the proper time to bring new threshold motions, years after we

       7   litigated motions to dismiss, years after we litigated summary

       8   judgment, years after all those issues went up and down to the

       9   appellate courts.

     10              THE COURT:    Can I stop you?

     11              MR. CLUBOK:    So, Highland knows this.

     12              THE COURT:    Can I stop you right there?    I want to

     13    make sure I am clear on what the so-called threshold issues

     14    that you think Judge Friedman might be able to deal with

     15    better, more efficiently.    I have in my brain that you're

     16    talking about the res judicata issue, and then also this issue

     17    of whether UBS released Highland as to fraudulent transfers

     18    that might be related to Redeemer Fund assets.      Does that

     19    makes sense?   I'm not sure I said that as crisply as possible.

     20    They say that as to these fraudulent transfers you would be

     21    pursuing, 80 percent plus were released as part of the

     22    settlement with the Crusader Fund.     Are those the two

     23    threshold issues, or are there many that I'm not naming?

     24              MR. CLUBOK:    You've got them, Judge.    You've got

     25    them.   Those are the two issues.    The one, the impact of res




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       1   judicata, which literally we've had, you know, multiple

       2   different up-and-downs to the appellate court and summary

       3   judgment rulings that are unmistakable that those should be

       4   rejected.

       5        The other one, I would put it more broadly, a little bit.

       6   It's the impact of this prior settlement on our claim.          And

       7   Highland has a brand-new theory of how that settlement

       8   agreement supposedly impacts our claim.       I believe it's -- it

       9   appears from the papers and from what we've been told that

      10   this is coming from the Redeemer Committee primarily, because

      11   they make the same argument and it seems to be a new argument

      12   perhaps they came up with.     Perhaps, in the million-dollars-

      13   plus spent, Mr. Pomerantz's firm came up with it.        But

      14   regardless, it's a brand-new theory of supposedly how this

      15   settlement agreement operates to supposedly cut the legs out

      16   of most of our claim.

      17        Now, mind you, Highland has already argued to the Court

      18   how the settlement agreement operates, and what they've

      19   previously argued -- and by the way, these settlement

      20   agreements were signed, I believe, five years ago.        For four

      21   years and nine months or four years and ten months, we never

      22   heard this argument.     Instead, what we heard in the court in

      23   New York was, oh, the settlement agreement means that Highland

      24   gets $70 million of setoff to the total claim out of -- we

      25   were seeking $500 million plus interest.       They said, well, we




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       1   get a total of seventy million point five as a setoff.         And

       2   there was arguments back and forth and it was briefed in front

       3   of Justice Friedman, and they asked her to rule on that

       4   upfront in the first phase of the trial.

       5        After the briefing and after the argument that it was a

       6   $70.5 million setoff, Justice Friedman, agree with you, yes,

       7   and we said, look, it is possible they will get that $70.5

       8   million setoff.    We agree.   It depends on what total claims we

       9   win at trial.    For instance, if we won complete relief from

      10   all of our claims, I think UBS would agree that $70.5 million

      11   may well be an appropriate setoff, that amount.        However, if

      12   Highland only wins some of its claims, and depending on how we

      13   win the claims, they might not be entitled to that $70.5

      14   million setoff.

      15        Nowhere did Highland ever dream up that this contract we

      16   signed with them five years ago somehow meant that they got

      17   $200 million off or $400 million off or $800 million off or

      18   $950 million off, whatever the new theory is, that somehow

      19   that settlement agreement had some incredible destructive

      20   power of Highland -- of UBS's claims.      This is the first we

      21   have heard of it, you know, three months ago, after four years

      22   and nine months of living with the settlement agreement, a

      23   course of conduct, clear writing to the contrary, and parol

      24   evidence that we, if we ever had to litigate this, we would

      25   bring out.




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       1        But Justice Friedman would just look at, I predict -- it's

       2   always dangerous to predict what a judge will do -- but we

       3   have seen how Justice Friedman reacted to the last set of

       4   Highland lawyers who came in after the trial and tried to

       5   create a new argument that they hadn't raised before, post-

       6   summary judgment, post even the trial starting.       I suspect

       7   Justice Friedman would be able to handle this quickly.

       8        I've only given you, even on this one little issue, I've

       9   given you a very superficial statement about it, because it

      10   goes back years of having -- entering into this agreement,

      11   living with it for years, having a course of conduct that

      12   reflected how the parties interpreted this agreement and what

      13   it meant and how it didn't reduce -- if Highland had thought

      14   that that agreement reduced our claim from a billion to $950

      15   million, I'm pretty sure they would have argued it four and a

      16   half years ago or 4.11 -- four years and eleven months ago.

      17        The fact is, it's a brand-new argument.      We could prove

      18   that if we had to litigate it.      But if we had to litigate it,

      19   there's no one better, with all due respect, Your Honor, there

      20   is no judge in the country more equipped to handle that issue

      21   and every other issue relating to this case than Justice Marcy

      22   Friedman, who has been living with this case almost as long as

      23   I have.   I think she's on her eighth year now of overseeing

      24   this case, through all these different iterations, all these

      25   different efforts by Highland to delay proceedings and to




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       1   avoid ultimately getting to a jury, which will finally set our

       2   -- the liability they owe.

       3        So, and by the way, those two supposed threshold issues,

       4   what Highland tells you is, well, gee, Judge, if you just rule

       5   on them -- first of all, you learn about them and hear about

       6   how we characterize what was said in front of Justice

       7   Friedman, trying to tell you third-hand what we said,

       8   reconstruct what the parties have argued there, ask you to

       9   revisit her ruling.    If you do all that, and by the way, if

      10   you rule in their favor, then somehow there's going to be a

      11   significant reduction in our claim for fraudulent conveyance.

      12        It's not even true.    Their math is wrong.    Even if they

      13   were right about all that, we'd still have a claim for

      14   fraudulent conveyance of over $150 million.       So, again, I

      15   could write a whole brief explaining that to you.       Justice

      16   Friedman would know it off the top of her head.

      17        But even if all that happened, it would not impact our

      18   claim for breach of implied duty of good faith and fair

      19   dealing, a claim that has survived summary judgment, survived

      20   an interlocutory appeal, which, by the way, Highland obtained

      21   a stay from -- this trial would have been done years ago

      22   except Highland obtained a stay from the loss of summary

      23   judgment on our breach of duty of good faith and fair dealing.

      24   It went up to the appellate court and the dismissal -- denial

      25   of summary judgment was sustained and we finally got to go




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       1   forward with the trial.

       2        So, this little one issue that's supposedly a threshold

       3   issue, it alone has enough complexity to take up months of

       4   this Court's time.     And nine, you know, nine out of ten of the

       5   results of that is not going to impact Highland's argument --

       6   or, Highland's claim or Highland's defense in anything like

       7   the way they tell you it will.      And we'd have to brief that

       8   extensively and you'd be asked to decide it, you'd be asked to

       9   ignore what Justice Friedman already said about this very same

      10   issue.    All of that doesn't make sense when we're right in the

      11   middle of a trial.     And those are the two supposedly threshold

      12   issues.

      13        Now, what else will deciding those two supposedly

      14   threshold issues not get you?      Or not get any of the parties?

      15   What it won't get is, if we go forward as the Debtor now wants

      16   to do, we will be stuck with two parallel proceedings.         We

      17   have claims against non-debtor affiliates to the tune of well

      18   over a hundred million dollars, from non-judgment-proof

      19   defendants including in that.      We have these claims.      We have

      20   a right to a jury.     They are not subject to the automatic

      21   stay.    And we will proceed in front of a jury, as we're

      22   scheduled to do in New York state court.

      23        Now, what does Highland say to that?      They say, well, you

      24   know, we haven't done it yet, but one day we could try to

      25   remove those claims.     Then we could ask the federal court in




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       1   New York to transfer those claims to the federal court here in

       2   Texas.   Then we could ask the Texas court to refer it to Your

       3   Honor for a bunch of other proceedings, only so, at the end of

       4   the day, that referral then is withdrawn so that we could

       5   actually try it with a jury I guess in federal court in Texas.

       6       I mean, it doesn't get us to a different place, because

       7   ultimately we will have a right to -- even if they get what

       8   they dream of, we'll have a right to try those claims in front

       9   of a jury, and those claims substantially overlap in terms of

     10    witnesses, facts, you know, all the -- the total trial, with

     11    the claims that they're saying, well, gee, you could just try

     12    them here after the threshold motion.     Then you're going to

     13    have a trial here on the nonjury claims.

     14        And, you know, Your Honor, that's best-case scenario.

     15    Because what actually will happen, if they ever remove the

     16    case and if they try this maneuver of getting it to Your

     17    Honor, we will, as we've made clear in our reply brief, as we

     18    made clear in our opening brief and then clarified in our

     19    reply brief, we will seek mandatory abstention, or in the

     20    alternative, permissive abstention.     And those claims clearly

     21    fall within the rule for mandatory abstention.      They are --

     22    there is no independent basis for jurisdiction for those

     23    claims in this Court.    The claims are a non-core proceeding,

     24    the ones against the non-debtors.     The actions are obviously

     25    commenced in state court, about 11 years ago.      And they can be




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       1   timely adjudicated there.

       2        And basically all the Debtor said in response, this is --

       3   their whole defense boils down to this:       Um, we think, because

       4   of COVID and the unusual circumstances of COVID, the trial

       5   that you would theoretically have will be faster than a trial

       6   that the state court will have in New York.       And by the way,

       7   when I say you, I mean really the two trials.       That, at the

       8   end of the day, there'll be a trial of -- against Highland,

       9   and a jury trial against the non-debtor affiliates after the

      10   reference is withdrawn after all of the up and down.          And that

      11   will supposedly be faster than just finishing things up in New

      12   York as soon as the courts open up in a few months, being the

      13   first in line with Justice Friedman to finish this trial.

      14        Now, that is not -- there's no -- they have certainly not

      15   met their burden of proof that that is true, but moreover,

      16   it's also not the standard.     We don't have to show that our

      17   trial in New York will be two months after than the trial here

      18   or two months slower.     The rule and the cases we cite -- we

      19   cite these in our opening brief, and they were unresponded-to

      20   -- is that the action -- the ability of the Court to timely

      21   adjudicate is just something that you are required to analyze,

      22   not as a relative matter, not as a prediction of, gee, the

      23   state court could be four months and this Court could be two

      24   months, or the state court could be six months and this Court

      25   could be four months, even if that were possible.        No.    The




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       1   test is whether or not it is timely in and of itself.

       2        And the cases that we cite on this issue, you know, in our

       3   opening brief, you know, really make it clear the way the

       4   Court should look at this.       In re TransWorld Airlines and In

       5   re Legal Extranet, the latter being Bankruptcy Western

       6   District of Texas, the former being Bankruptcy District of

       7   Delaware, the courts both said, in effect, the issue is not

       8   whether the action could be more timely adjudicated

       9   theoretically here in bankruptcy court, but only that the

      10   matter can be timely adjudicated in state court.

      11        And Your Honor, as the Plaintiff in that state court

      12   action, who've spent 11 years getting halfway through trial,

      13   and now the only thing that's stopping us is the ability to

      14   ask the Court to set the next available trial deadline, we

      15   have hopes the courts will open in the fall.       Worst-case

      16   scenario, it'll open up in about six months, in the first

      17   quarter of next year, by all expectations.       A few extra months

      18   to allow us to decide our case is certainly not -- it's

      19   certainly timely.

      20              THE COURT:    Okay.

      21              MR. CLUBOK:    Because some of the cases we cited --

      22              THE COURT:    Mr. Clubok, I want to drill down on that

      23   just a bit.    The Phase II, which you hope will be a jury

      24   trial, there's the breach of implied covenant of good faith

      25   and fair dealing, but there's fraudulent conveyance and alter




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       1   ego.    Do I understand correctly those have actually not been

       2   pleaded yet, fraudulent conveyance and alter ego?       Did I

       3   misread, misunderstand, or is that correct?

       4               MR. CLUBOK:   No, Your Honor, that is incorrect.      It's

       5   not your fault that you misunderstand it, because, frankly,

       6   reading some of the objections makes it very confusing.         Okay?

       7          For example, alter ego?   Alter ego, the alter ego claim

       8   that has been properly pled and is the issue that we tried in

       9   that case, is an alter ego between two non-debtors, Highland

      10   Financial Partners and an entity called SOHC.       Acis, in their

      11   objection, spent a lot of time trying to explain to you how

      12   somehow that you're going to know more about the alter ego

      13   claim because since UBS's assets increased in value, somehow

      14   it affects the alter ego claim.      And I don't blame Acis.     They

      15   haven't lived with that case for 11 years.       I don't think

      16   their -- I am sure their counsel didn't do this intentionally.

      17   That has nothing to do with our case.      What it does is just

      18   demonstrate how confusing and complicated the proceedings are

      19   in New York and for some new lawyers, particularly ones from,

      20   you know, representing either Acis or the Redeemers, who don't

      21   really understand our case.      They start sending things, and

      22   then the next thing you know the Court is I'll just say

      23   misunderstanding the claim.

      24          The alter ego claim that is going to be litigated in Phase

      25   II is one that we have dealt with for years, and it's a part




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       1   of our TRO in which we showed a substantial likelihood of

       2   success in a decision that we received in the appellate court

       3   when we originally froze certain assets.

       4          It is -- again, I could write a whole 'nother four page --

       5   four -- you know, extended the briefing just on that part of

       6   our case.    But suffice it to say that alter ego claim has also

       7   gone up and down to the New York appellate courts, that not

       8   only was it pleaded, it was pleaded, it survived motions to

       9   dismiss.    It went up to the appellate court at least three

      10   times.    It was the subject of a summary judgment motion.          They

      11   lost the summary judgment motion.      The summary judgment motion

      12   was appealed.    They lost that.

      13          So that alter ego claim, not only was it pleaded, it's

      14   ready to be tried.

      15          And by the way, in all of the briefing that the parties

      16   did in New York -- I suspect Acis doesn't know this.          I

      17   suspect Redeemer -- why would they; it's not their

      18   responsibility to know this -- the parties all agreed:            That

      19   was a New York State law issue.      The test that the parties

      20   have agreed should apply is a New York state test for alter

      21   ego.    It, again, relates to two entities that are not the

      22   Debtor.    It's complicated by how that relates into the case.

      23   But it really just shows the perils of asking Your Honor to

      24   come along, after 11 years, and try to figure out what the

      25   heck is going on in that case, when Justice Friedman would




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       1   answer that in five seconds.

       2              THE COURT:    Okay.   You're probably getting to this,

       3   but you didn't answer the fraudulent conveyance question, and

       4   I'm guessing the answer is no, that has not been pleaded yet,

       5   and you have to win on the alter ego argument before you have

       6   standing to pursue that, or no?

       7              MR. CLUBOK:    I hate to say this, Your Honor, but

       8   that's incorrect.    Again, I don't like to say that to judges

       9   ever.   But what we pleaded from the beginning, or actually

      10   from -- I think from maybe 2011, not the -- you know, two

      11   years into the case, we amended our pleadings, subject -- and

      12   that briefing or those repleadings were subject to motions to

      13   dismiss, summary judgment, held argument, et cetera.          Both the

      14   fraudulent conveyance and the alter ego have all been pled.

      15   They've survived motions to dismiss.      They've survived summary

      16   judgments in New York, where you get interlocutory appeals of

      17   state court decisions.     They've survived multiple trips up and

      18   down in the courts.      And, again, like the alter ego, the

      19   fraudulent conveyance was already subject to a -- the TRO,

      20   which is -- which is the basis of our TRO.       We presented both

      21   the fraudulent conveyance evidence and the alter ego evidence

      22   already to the appellate court as a part of getting our TRO.

      23   We submitted it all to the trial court as part of defeating

      24   summary judgment.    And all of this has been upheld.

      25              THE COURT:    Okay.




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       1               MR. CLUBOK:    So, yes, all of that has already been

       2   litigated.    It's not --

       3        (Sound cuts out.)

       4               THE COURT:    Whoops.   What just happened?   What just

       5   happened?

       6        (Pause.)

       7               MR. CLUBOK:    ... issues.

       8               THE COURT:    Okay.   Here we are.   We lost you for

       9   about 30 seconds there, Mr. Clubok.

      10               MR. CLUBOK:    Those were my best 30 seconds, Your

      11   Honor.

      12               THE COURT:    Let me ask you something.    Maybe it's

      13   fate.    What I hear you saying, and you may have a lot more to

      14   say, but is that if I lifted the stay, there would be great

      15   efficiency, Judge Friedman would quickly, quickly deal with

      16   these threshold issues, and there has been so much already

      17   adjudicated and motions to dismiss and motions for summary

      18   judgment and appeals back and forth that you think you'd get

      19   to your jury pretty darn fast?       Nobody can say when, but you

      20   think you're going to get to a jury pretty fast if it goes

      21   back to the state court.      Yes or no?

      22               MR. CLUBOK:    Absolutely yes.

      23               THE COURT:    And so you -- okay.    Giving you, you

      24   know, the benefit of every doubt here, you think -- and I'm

      25   going to be as kind as I can be on this -- but a jury of 12




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       1   New Yorkers, you know, cab drivers, janitors, nurses, God love

       2   them, they are the best trier of fact on issues of credit

       3   default swaps and CLOs and offshore transfers?        I'm just

       4   trying to get that one, why you want a jury trial on this kind

       5   of subject matter.      That's a hard question for you to answer,

       6   I suspect.

       7              MR. CLUBOK:    No, Your Honor, it's not.    It's easy.

       8   All the hard issues, all the complicated questions of CEOs and

       9   credit default swaps and CSs, those were already decided by

      10   Judge Friedman, who was the finder of fact on the breach of

      11   contract claims.    The contract has a jury waiver clause.       So

      12   Justice Friedman is the -- she --

      13              THE COURT:    Right.

      14              MR. CLUBOK:    -- was the finder of fact on those

      15   complicated issues.      She's already made factual findings and

      16   credibility determinations on all those complicated issues.

      17   There are two sets of remaining issues that are -- were

      18   scheduled to be tried concurrently.      That is the relatively

      19   simple issues of fraudulent conveyance, alter ego, and

      20   punitive damages.      Those, we have a right to a jury, as

      21   Justice Friedman has already found, against all the

      22   Defendants.    Okay?    And we absolutely want our right to a

      23   jury.

      24        I don't -- Your Honor, we don't do it lightly.       I can't

      25   get into the jury research that's been done by both parties,




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       1   but suffice it to say we are one hundred percent (audio gap)

       2   we want a jury for the claim.      And we've already told Judge

       3   Friedman that's what we're going to do.

       4        The more complicated claims, the, gee, what's a credit

       5   default swap and all that other stuff, that has already been

       6   decided, all those issues, by Judge Friedman.

       7        And what happens in the second phase is Judge Friedman

       8   gets to say to the jury, I've already decided these following

       9   facts.   I will instruct you that you are to accept these facts

      10   as true because I've already found them.       That's the way it

      11   works in these bifurcated trials where you have a judge

      12   deciding some issues and then you have a judge and jury

      13   deciding others, in New York state court.

      14        We -- the parties spent months and months and months going

      15   through how to do this.     We agreed this is -- by the way, I

      16   think it was originally Justice Friedman's idea.       Something

      17   else in the papers and they try to -- I could write a whole

      18   'nother brief about how we ended up with that kind of

      19   proceeding.    But it was, I believe, originally Justice

      20   Friedman's idea.    Highland's lawyers were very much for it.

      21   In fact, they -- they were the ones originally who insisted on

      22   the jury.   Originally -- it is the case that long ago we had a

      23   noted issues years ago where we hoped that maybe the case

      24   would just go faster if we went to a jury and there was no

      25   position filed.    But Highland insists on a jury, and under the




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       1   law in New York, when any party insists on a jury, all parties

       2   have the right to it.

       3        We spent months and months going back and forth on that

       4   issue.   Many discussions, both on the record and in chambers.

       5   And we got to the point where what Justice Friedman said was,

       6   I'll do the hard stuff, I'll do all these hard issues in Phase

       7   I, the stuff that maybe we don't trust a jury to do.          But

       8   besides, we have a jury waiver.

       9        By the way, frankly, Your Honor, I believe in juries.

      10   I've had super-complicated cases and we try to make them

      11   simple if we can, and, you know, I think New Yorkers or

      12   Texans, whether we try -- whether we try these claims in New

      13   York or if the defense gets their way and they get to remove,

      14   to transfer, or refer down, then withdraw the reference, and

      15   we try it to a jury in Texas in federal court, I trust the

      16   jury will be able to understand it.      We'll make it simple and

      17   we'll make it clean for the jury to understand.        And we're

      18   sure as heck not going to waive our right to a jury because

      19   now Highland's fourth law firm suggests we could.

      20        What's really going on here, Judge, is that they've been

      21   in front of Justice Friedman for years.       They know how a lot

      22   of these issues are going to come out, because she's already

      23   ruled on all these issues.     And we're in the middle of a

      24   trial, and except for COVID and except for -- and I haven't --

      25   this is the one other issue that I've not really gotten to --




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       1   except for the detrimental reliance we had on the promise that

       2   Highland made to us back in December, late November/early

       3   December, when we first got this decision, we would have come

       4   right away to the bankruptcy court and said, hey, we're in

       5   middle of a trial.     Justice Friedman had promised us, as soon

       6   as she issued her first ruling, she would set the next

       7   available jury trial date immediately.       That was the deal we

       8   all had.

       9        We were ready to try the case, if not before Christmas,

      10   certainly in January of 2020.      Certainly, the first quarter.

      11   We would have done that.     We would have come to the bankruptcy

      12   court and we would have said, Give us relief from the

      13   automatic stay because, come on, we're in the middle of a

      14   trial.   There's a bunch of non-debtor affiliates.       This will

      15   go fast -- there's no possible way it could go faster.         And we

      16   were ready to do that, and Highland said to us, their general

      17   counsel, Scott Ellington, said to us, no, no, no, please don't

      18   do that.    There's all these reasons why we don't want you to

      19   do that.    We think it'll facilitate -- we'll work with you in

      20   good faith on settlement.     We want to keep the decision

      21   nonpublic for a while, while we have good-faith settlement

      22   discussions.    We -- we will enter into good-faith settlement

      23   discussions with you, and we will work with you over the next

      24   few months.    And don't you worry, because we will tell Justice

      25   Friedman that if you give us six months, we all agree that the




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       1   trial can happen in six months from now and we'll all push for

       2   a speedy trial as soon after what is now June of 2020 as

       3   possible.    That was the agreement we reached.

       4               THE COURT:    All right.   Mr. Clubok, I'm going to save

       5   you some time right here.      If you're arguing that there was a

       6   waiver of Highland's right to oppose the motion to lift stay,

       7   if you're arguing there's an agreement that should be binding

       8   on them to lift the stay, that's just not going to persuade

       9   me.   We have other parties in interest who are the

      10   beneficiaries of the 362 automatic stay.       So I'm just going to

      11   tell you right now, I don't think there's anything more you

      12   can say that's going to persuade me on that one.        Okay?

      13               MR. CLUBOK:    Appreciate it, Your Honor.   And I will

      14   take your advice and not continue, although I will reserve my

      15   right to reply to say one more thing about it, or -- if you

      16   let me.   But we -- I want to be clear.      We're not saying

      17   you're forced to hold -- uphold that agreement, even though we

      18   had it in writing and even though we told another -- a judge,

      19   a state court judge, that that was the deal.       We're not saying

      20   that you're forced to hold it.

      21         We are saying that you are entitled to consider, when you

      22   balance the equities, and you hear them now saying, gee,

      23   there's going to more -- several more months before you get to

      24   trial in New York:       Well, sure.   The reason we didn't have a

      25   trial back in January was because of that agreement.          That's




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       1   the only part we're saying.     We're not saying you're forced to

       2   now hold onto it.    But there was some serious detrimental

       3   reliance, because they said that they agreed with us that the

       4   right thing to do six months hence from now, after trying to

       5   settle, would be to tell Justice Friedman and to try to seek

       6   to lift the stay.

       7        That's the only reason we bring it up, not because you're

       8   bound by it, because we respectfully ask you to consider that

       9   when you hear their arguments of, gee, now it's going to take

      10   another six months or so, or three months or four months or

      11   six months or whatever it'll take in New York.       Yeah.    The

      12   reason we've waited six months was because of that agreement.

      13   Okay?   That's the only reason I bring it up.

      14        The final thing that I want to say, Your Honor, is just

      15   that I want to make it clear:      These so-called threshold

      16   motions, they are not threshold motions.       They are motions

      17   that are rehashing arguments that were made years ago,

      18   repeatedly, that they think, because they're not in front of

      19   Justice Friedman and because the New York Court of Appeal I

      20   guess wouldn't have jurisdiction over however you rule, that

      21   they can get away with relitigating issues that have already

      22   been decided in litigation, they've already been ruled upon,

      23   or they were long ago waived.      Or there's estoppel that

      24   applies.

      25        And we -- the threshold issues that we would argue about,




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       1   those so-called threshold issues, are -- is all of that stuff.

       2   But we'd be litigating whether they could even pursue those

       3   claims in front of Your Honor.     Then we'd litigate the merits

       4   of the claims.    Then, even if they were resolved, they don't

       5   take care of 95 percent of the claims that we have against the

       6   Debtor.

       7          If we were in front of Justice Friedman, she would know

       8   what I'm talking about in a heartbeat and she would be able to

       9   rule on this and she'd -- because she's done the same thing

      10   when they tried this.    They came up with some brand-new

      11   threshold issue about a year ago that they tried to present to

      12   her.    They said, hey, don't bother to issue your ruling; we

      13   have a new threshold issue that'll just cause us to win.         And

      14   she, you know, politely let them have it.      And that is because

      15   it's too late, it's past summary judgment, it's already been

      16   decided on by the appellate courts in New York, we shouldn't

      17   have to relitigate it, that alone is prejudicial, and by the

      18   way, won't even have the impact they say.

      19          So, Your Honor, I'd just like to conclude this opening.         I

      20   really appreciate you giving me all the time to make all of

      21   these arguments.    I realize you don't love our they got a

      22   promise argument, but I do, like I said, even on that one,

      23   there's a reason we raised it.

      24          But at the end of the day, there's no court better

      25   equipped to conclude these proceedings than Justice Friedman's




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       1   court in New York.     There's no judge in the country who could

       2   possibly ever catch up to her on this case.       There is

       3   definitely no judge in the country who's already made

       4   credibility determinations, in the middle of a trial, in

       5   which, by the way, she'll be called upon to be the fact-finder

       6   again in the second phase, because part of the claims are for

       7   a judge to decide.

       8        So she's in the middle of making these determinations.

       9   She's already seen witnesses.      There was no videotape of the

      10   trial so there's nobody who can now jump into the middle and

      11   make new credibility determinations.      And Highland, you know,

      12   at least the new Highland, the new folks in charge of Highland

      13   now, I guess they think a new bite at the apple, a chance to

      14   relitigate here in this Court, maybe a different result, maybe

      15   confusion will reign and the Court won't understand, you know,

      16   what the nature of the claims are or think that, you know,

      17   that we just pled these for the first time or they haven't

      18   been pled.    For, again, no fault of Acis, no fault of

      19   Redeemer, they don't seem to understand these claims, and

      20   there's no way they could because they haven't lived with

      21   them.   And again, our claims involve claims against non-

      22   debtors as well as the Debtor.

      23        All of those reasons are why it would be very prejudicial

      24   not to lift the automatic stay.      There has been no substantial

      25   showing to the contrary.     And UBS, having come forward with




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       1   this evidence of cause, showing that cause exists to lift the

       2   automatic stay, as Your Honor knows, the Debtor then bears the

       3   burden to show otherwise.        They haven't met that burden.     They

       4   can't meet that burden.     The things they say in their papers

       5   are all what-ifs and speculation and, gee, if we just do this,

       6   maybe we'll win this and maybe this will happen.       That is not

       7   satisfying the burden to overcome our request for relief from

       8   the automatic stay, so that after 11 years of litigation our

       9   case can finally finish, be brought to a closure, and we can

      10   get a -- one court to conclude this business of deciding the

      11   merits of these claims.

      12              THE COURT:    Okay.    Just one more question for now.

      13   The trial, the bench trial, was 13 days between July 9th and

      14   July 27th, 2018 in Phase I.       The judge issued her written

      15   ruling -- when was it?     Quite recently, right?

      16              MR. CLUBOK:    Well, November of 2019.    So, a little --

      17   it was actually issued originally in November of 2019.         The

      18   parties, as I said, as part of the deal, we agreed to keep it

      19   nonpublic for a while and it wasn't really issued until

      20   January because we, in good faith, Highland said they wanted

      21   to work with us on settlement, and that's what we started

      22   doing.

      23              THE COURT:    Okay.

      24              MR. CLUBOK:    So it was issued in November of 2019.

      25              THE COURT:    Okay.    My point is, does it help you or




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       1   hurt you that it took Judge Friedman almost a year and a half

       2   to issue the written ruling?     I mean, when I say does it help

       3   you or hurt you, help or hurt you, I'm thinking, whoa, the

       4   Fifth Circuit would really slap my wrist if I took a year and

       5   a half to get a written ruling out.      We have, you know, our

       6   slowpoke reports.    If I take more than 60 days to get a ruling

       7   out, you know, I'm going to get an embarrassing phone call,

       8   perhaps.   That sounds like a very long time.

       9        On the other hand, you might tell me, well, she was

      10   becoming such an expert during that 18 months that now she'll

      11   be really quick.

      12        So, what is your response to that?

      13              MR. CLUBOK:   Several things, Your Honor.     Originally,

      14   when Justice Friedman, we had the trial, she said, you know

      15   what, I'll have -- this is complicated.       It was enormously

      16   complicated.    And it did take a long time for her to digest

      17   the mountains of evidence.     It is not an easy case.        Okay?

      18   She said, it'll take me a while, but I'll finish up by about

      19   October and then we'll immediately -- then we'll be ready to

      20   try the case in the jury trial in October.       That's what she

      21   originally said.

      22        We had post-trial briefing, though, Your Honor, and the

      23   parties both wanted it.     And then, frankly, there was medical

      24   issues on the side of the Defendants that were raised, and we

      25   were asked to greatly extend the period for post-trial




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       1   briefing.    We did that, obviously, without a second question,

       2   without, you know, oh my gosh, is it going to delay the trial

       3   for another few months, our decision, even though it'd been

       4   ten years.    We didn't -- we -- and counsel, I'm sure, I'm a

       5   hundred percent certain, would confirm this.       They were very

       6   appreciative.    And we just said, you know, take whatever time

       7   you need.

       8        That significantly delayed the post-trial briefing.         So

       9   the post-trial briefing wasn't completed until, I believe, you

      10   know, after the original time she was going to do her trial.

      11   So that was a big delay.

      12        The other thing that happened was Highland then brought in

      13   new counsel.    And like I said, they all of a sudden -- so we'd

      14   already tried the case.     We'd already done the post-trial

      15   briefing.    Highland then brings in new counsel.     That was

      16   their third firm.    And those counsel said, hey, we've been

      17   looking at the record and we see a massive issue that the

      18   other two prior counsels missed and now we want to bring a new

      19   threshold motion.    That's what they call it, a new threshold

      20   motion.   And then we got deterred on that, with them seeking

      21   to bring -- file leave to bring new threshold motion and

      22   asking the judge and we got delayed on those things as well.

      23        The -- that motion that they brought, it took Judge

      24   Friedman one week, one week to rule on it once they brought

      25   that.




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       1        So, yes, she learned a lot during our trial.       She studied

       2   a lot.    She is a perfectionist, and she dug in like I've --

       3   you know, few judges I've had.      But that so-called new

       4   threshold motion, which was super-complicated and it had all

       5   kinds of new theories and was going to crack the case, one

       6   week, it took her, to opine.

       7        So I'm confident that these new so-called threshold

       8   motions, she would see them for what they are, not threshold

       9   motions, rehashed arguments, either too late or already

      10   overruled, and she would be able to deal with them quickly.

      11        Also, Your Honor, a jury, you know, the next phase, as

      12   soon as we can get a jury, the jury doesn't get -- juries,

      13   it's usually my experience, don't take weeks or months to

      14   deliberate.    You know, they're not going to take weeks or

      15   months.   We're going to go sit in front of a jury, we're going

      16   to present our case, and we're going to get a decision

      17   lickety-split from that jury, I'll bet.       Maybe in a few days.

      18   You know, any jury, I guess, could hold up.       But even the

      19   fastest judge, I daresay that jury will be faster than the

      20   fastest judge.

      21        It is funny how we trust 12 people, or New York may be

      22   fewer than 12, to make a decision very quickly, where a judge

      23   is given, at least in federal court, 60 days, and in state

      24   court sometimes more.     But juries somehow, with that

      25   collective group, figure out a way to do it, and they'll give




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       1   us a decision, you know, within a few days after the trial.

       2               THE COURT:    Okay.   I said that was the last question.

       3   This really is the last question, for right now.        Mediation.

       4   Did you all ever mediate this?

       5               MR. CLUBOK:    Yes, Your Honor.    That's a terrific

       6   question.    So, we did mediate this several times over the

       7   years.   Those mediations ultimately led to settlement with two

       8   of the other Defendants.      One of them, the Redeemer Committee.

       9   So those mediations were successful, then.        We did not get to

      10   a success point with Highland back then.

      11        However, in November, once we got the decision -- and by

      12   the way, for years, all we heard was:         You have no chance of

      13   winning, we have a million in setoffs, there's going to be

      14   this, that, and the other thing, your $500 million plus

      15   interest to a billion-dollar claim is going to be -- you're

      16   going to have lost money -- Highland.         That's what we had to

      17   hear for many years.      So we couldn't get to settlement.

      18        But after the judgment and after, I think, reality set in,

      19   prior to the new law firm and new set of directors taking

      20   their fourth fresh look at this, we -- we didn't lightly enter

      21   into the agreement in November.       We very much believed the

      22   people who were running Highland at that point, that we could

      23   have a very productive settlement discussion.        I don't really

      24   -- I think, if you were betting, I don't think you would bet

      25   that there's going to be a trial, regardless.         I think what




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       1   you'd bet is reasonable people, at this point, now that we

       2   have the guidance of Phase I, should be able to go have a

       3   mediation, figure out a value for the claim, and we wouldn't

       4   have to try this case anywhere.

       5        What Highland wants to do, though, what they're trying to

       6   do is naturally put their thumb on that scale of that

       7   mediation.    I mean, by the way, we thought that would have

       8   happened in the last six months.        We've asked for it

       9   repeatedly.    We've suggested mediators.      That's what we'd like

      10   to do.    We do think that the claim should be subject to a

      11   mediation.    And frankly, all the claims in this case could

      12   probably be -- could do with mediation and help from a --

      13   mediation or an arbitrator.

      14        We thought that would happen.       It hasn't happened.    We

      15   hope that it does happen.        But what Highland wants to do here

      16   now is put their thumb on that mediation by saying, hey, we

      17   already know how Justice Friedman would rule on these so-

      18   called threshold issues, and by the way, we know what we're

      19   probably faced with, because we probably did juror research

      20   too and we know what we're facing in front of a jury in New

      21   York.    So we just want this judge to help us out in our --

      22              THE COURT:    Okay.

      23              MR. CLUBOK:    -- settlement negotiations by making it

      24   more complicated for you to recover.

      25              THE COURT:    All right.    Thank you, Mr. Clubok.     All




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       1   right.   I will hear from Highland --

       2              MR. CLUBOK:    Thank you, Your Honor.

       3              THE COURT:    -- now.   Who is going to make the

       4   argument for Highland?

       5              MR. FEINSTEIN:    That'll be me, Your Honor, Robert

       6   Feinstein, Pachulski Stang Ziehl & Jones.

       7              THE COURT:    All right.   Thank you.   You may proceed,

       8   Mr. Feinstein.

       9                OPENING STATEMENT ON BEHALF OF THE DEBTOR

      10              MR. FEINSTEIN:    Thank you, Your Honor.     First, good

      11   afternoon.    Can you hear me and see me okay?

      12              THE COURT:    I can, perfectly.   Thanks.

      13              MR. FEINSTEIN:    And one of my colleagues, Elissa

      14   Wagner, is going to share her screen so that Your Honor can

      15   see just a few slides --

      16              THE COURT:    Okay.

      17              MR. FEINSTEIN:    -- while I talk.

      18        So, Your Honor, this is a very important day for Highland,

      19   the Debtor.    You know, my colleagues are on the call, and I

      20   believe some of our directors are on the phone as well.         The

      21   Debtor wants to make progress towards confirming a plan in

      22   this case and make distributions to creditors.         That's one of

      23   the principal goals of Chapter 11.      But here, the Debtor's

      24   ability to do that has been stymied by one creditor, by UBS,

      25   asserting a putative claim -- and I say putative literally --




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       1   putative claim so large as to dwarf every other claim in the

       2   estate.

       3        Mr. Clubok has argued since I've met him that he has got a

       4   way of showing that Highland is going to become liable for the

       5   billion-dollar judgment that was entered against the Funds,

       6   but there he leaves out a lot of the story.       He's testified

       7   quite a bit from the podium, Your Honor.       And while I can't

       8   cross-examine him along the way, I will tell you things that

       9   he said that are not consistent.      And there's a lot of

      10   testimony about what Judge Friedman said, what the client

      11   said, what previous lawyers said.      There's not enough time to

      12   go into it, Your Honor, and some of it, I think, is

      13   irrelevant.

      14        But after all this time, and Mr. Clubok in this case,

      15   since the beginning of Highland's bankruptcy, has said that

      16   UBS has a good claim against the Debtor for over a billion

      17   dollars.   On that basis it obtained a seat on the Creditors'

      18   Committee, which, by the way, opposes Highland's motion.         But

      19   it's now serving to gridlock the entire bankruptcy case.

      20   Nobody is going to negotiate a plan -- and this is not just

      21   Highland, but other creditors -- with a creditor who claims,

      22   without a judgment in hand, that he has got a claim of a

      23   billion dollars against the Debtor, and on theories that are

      24   atypical, unusual, and that should be rejected.

      25        But, you know, let's start with the fact that when Mr.




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       1   Clubok started the case, he brought a breach of contract claim

       2   against Highland, the Debtor, for the liability of the Funds

       3   that, you know, was the subject of the Phase I trial.         That

       4   breach of contract claim against Highland was dismissed.         But

       5   now what he's resorting to are a bunch of theories, and breach

       6   of implied covenant and alter ego.

       7          And Your Honor asked a question before.    It was a good

       8   one.    And that is:    What is the status of the alter ego claim?

       9   And Mr. Clubok answered about a different alter ego claim.

      10   Their fraudulent conveyance claims don't work, Your Honor,

      11   unless there's a link in the chain that's created, meaning

      12   that HFP and SOHC have to be alter egos.       Otherwise, Highland

      13   would not have standing -- excuse me, - UBS would not have

      14   standing to bring the alter ego -- to bring the fraudulent

      15   conveyance claim.

      16          But here's the point, Your Honor:    The alter ego claim

      17   against Highland, the Debtor, has never been asserted.         Never.

      18   What's going on here is -- and I'll testify, I guess, in this

      19   instance -- Mr. Clubok has said to me and others, hey, I

      20   didn't -- I never brought a pleaded claim against Highland,

      21   the Debtor, as the alter ego of the Funds, but I didn't -- I

      22   didn't have to.     I can do this later.   I can do this as a

      23   supplementary proceeding under New York practice.       And that's

      24   categorically wrong, there, as here.       Highland was a party to

      25   the initial case.      And we cited the Board of Managers case in




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       1   our brief, Your Honor, which I'll get to in a bit, to show

       2   that that claim had to be brought at the time or it's barred

       3   by res judicata.

       4        So, but the salient point here, Your Honor, is that one of

       5   the claims that Highland -- that UBS is asserting as a basis

       6   for a billion-dollar liability has never been pleaded, has

       7   never been brought, has never been tried.       So when Mr. Clubok

       8   says we'll be litigating, these are issues that were already

       9   rejected, that is categorially false as to the alter ego

      10   claim.

      11        And so much of what else he said in terms of what we're

      12   relitigating is simply inaccurate.      The trial court in New

      13   York never ruled on the effect of the credits from the

      14   fraudulent conveyance settlement.      What you heard Mr. Clubok

      15   say is that Justice Friedman said, we're not dealing with this

      16   now, we can deal with it later.      But to suggest that that's

      17   being relitigated is just categorically false.       Mr. Clubok may

      18   know more about the state court proceedings, but that doesn't

      19   give him the right to mischaracterize them.       This is why there

      20   are transcripts.    This is why there are opinions.      That's what

      21   we're relying upon, Your Honor, to make our case.

      22        So, Mr. Clubok has acknowledged that, on this motion, UBS

      23   has the burden of showing cause.      And that's a heavy burden,

      24   Your Honor.    And we don't think that's been established here,

      25   for a variety of reasons that I will try to relate.




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       1        As we've said, Your Honor, we do think that there are two

       2   threshold issues that have not been litigated in state court

       3   that, if decided, would take a lot of the mystery out of this

       4   case about whether UBS's claim is a billion dollars or $50

       5   million.    That's a huge difference.    And parties, the other

       6   creditors who hold substantial claims, who want their

       7   recoveries, aren't going to engage with a creditor who has a

       8   highly-disputed billion-dollar claim that they knew, as we do,

       9   is a small fraction of that, if it can be established.         And

      10   again, there are serious substantive defects with the

      11   fraudulent transfer claims that we think, Your Honor, on a

      12   threshold basis, Your Honor can dispose of the notion that

      13   there's a billion-dollar claim in this case relatively easy,

      14   easily.

      15        So I do want to just revisit a little bit of the

      16   background to this case, Your Honor, just to kind of set the

      17   record straight.    And, you know, as I said, the first time

      18   that UBS filed suit, it brought a contract claim against

      19   Highland, the Debtor, and that was dismissed.       And the basis

      20   for the dismissal is that the documents that were signed

      21   between UBS and Highland -- there was an engagement letter for

      22   the structuring of the CLO syndication, and then there were

      23   two warehouse agreements.     And Highland was a signatory to the

      24   warehouse agreement, but it was the Funds, it was the non-

      25   debtor Funds who were the parties who were ultimately liable




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       1   if there were investment losses.

       2        And when the state court dismissed Highland, the Debtor,

       3   from that case, it did so saying that Highland never, quote,

       4   undertook that liability.     It was not a guarantor of that

       5   liability.    So there's -- that is Mr. Clubok's first foray.

       6   It was a complaint that he started in February of 2009.         And

       7   while he's amended it to try to add different claims, it does

       8   not change the fundamental fact that, as a matter of contract,

       9   Highland, the Debtor, was found to be not liable for that

      10   billion-dollar judgment that was adjudicated in Phase I of the

      11   trial.

      12        And, as a result of the fact that Mr. Clubok put his --

      13   all his eggs in a basket in his complaint that he filed in

      14   2009, under res judicata, and the single action theory, which

      15   is -- I think it's true outside of New York as well as in --

      16   is that if you're going to sue somebody based on a set of

      17   facts, you need to put it all in there.       You need to put all

      18   of your claims in there.     You can't sue people seriatim.      You

      19   can't file certain claims and then, if you fail, come back

      20   later and try to add new claims based on the same underlying

      21   facts that were available to you when you first filed the

      22   complaint.

      23        That is the basis of an important ruling, Your Honor, by

      24   the Appellate Division on res judicata, which is that, having

      25   had his opportunity to plead claims based on the facts as he




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       1   knew them, Mr. Clubok chose certain causes of action and left

       2   others out.    And his claims were dismissed.      But now he can't

       3   come back and come up with new theories based upon facts,

       4   operative facts that were known to him when he filed his first

       5   complaint.

       6        So the upshot of the Appellate Division's ruling is that

       7   UBS is barred from bringing claims based on operative facts

       8   that occurred prior to the date of their first complaint.

       9        Now, Mr. Clubok tried to spin this in his opposition

      10   papers, in the reply, and I think mischaracterized it.         He

      11   said that it's simply untrue that he is barred from asserting

      12   claims based on pre-February 2009 conduct.        That's not what

      13   the Appellate Division ruled.       What the Appellate Division

      14   ruled was it may be possible to bring in evidence of stuff,

      15   the things that occurred prior to that date, but you're -- did

      16   I lose Your Honor?

      17              THE COURT:   No.

      18              MR. FEINSTEIN:     Oh, okay.    I see a little circle.

      19              THE COURT:   Oh.

      20              MR. FEINSTEIN:     I thought maybe you froze.

      21              THE COURT:   Okay.

      22              MR. FEINSTEIN:     I'm sorry.

      23              THE COURT:   I'm here.

      24              MR. FEINSTEIN:     Thank you.    Thank you.

      25        So, in order to bring a claim, you have to rely on




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       1   operative facts that form the basis for the cause of action

       2   from and after March of 2009.     Does it mean that evidence

       3   about things that happened before then is inadmissible?         No.

       4   My colleague has -- Elissa has put up on the screen, Your

       5   Honor, a portion of the Appellate Division's ruling in 2011.

       6   And it couldn't be clearer, Your Honor.      It says, "Here, to

       7   the extent that claims against Highland in the new complaint

       8   implicate events alleged to have taken place before the filing

       9   of the original complaint, res judicata applies."

      10        Okay?   So, for that decision to have meaning, and that

      11   decision has never been appealed, that means that operative

      12   facts that support causes of action from and after February of

      13   2009 are fair game.    But if any claim is based on operative

      14   facts that occurred before then, it's barred.

      15        And based on that, Your Honor, and that alone, there is no

      16   liability here, under contract or any other theory, for

      17   implied covenant or alter ego, for the breach of contract,

      18   which occurred in 2008, before the first complaint was filed.

      19        So it is a difficult, if not impossible, path for Mr.

      20   Clubok to try to conjure up a claim that fits within the res

      21   judicata bar by the Appellate Division that tries to go back

      22   in time and hold the Debtor liable for a breach of contract

      23   that happened in 2008.    It just doesn't work.

      24        So, let me address, Your Honor, there are three claims

      25   that they assert --




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       1        Elissa, will you put on Slide 2, please?       Thank you.

       2        There are three claims that --

       3              THE COURT:   Now, are you trying to share the content

       4   with me and others of what Elissa is putting up?

       5              MR. FEINSTEIN:    Yes.

       6              THE COURT:   Okay.   It's not --

       7              MR. FEINSTEIN:    I hope you're seeing it.

       8              THE COURT:   It's not working.     I just see you.    I

       9   don't see the shared content.

      10              MR. FEINSTEIN:    Ah, okay.   All right.   Well, it's no

      11   matter, Your Honor.     I'm going to plow through and we'll make

      12   like the slides don't exist.

      13              THE COURT:   Okay.

      14              MR. FEINSTEIN:    Sorry.

      15              THE COURT:   If you want me to look at one of the

      16   exhibits as you talk, I can do that.

      17              MR. FEINSTEIN:    Your Honor, oh, no.    It's okay, Your

      18   Honor.

      19              THE COURT:   Okay.

      20              MR. FEINSTEIN:    (garbled) document.    It's --

      21   technology in the last few months has been a challenge for

      22   counsel and the Court.

      23              THE COURT:   For all of us, uh-huh.

      24              MR. FEINSTEIN:    It really has.

      25        So, Your Honor, there are two pleaded claims and one




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       1   unpleaded claim by UBS against the Debtor, and we want to

       2   consider them one by one.

       3        So, one of them is the breach of the implied covenant of

       4   good faith and fair dealing.     That's been pleaded.

       5        Another is fraudulent conveyance.      That's been pleaded.

       6        And as I noted, Your Honor, the last theory is alter ego

       7   that Highland, the Debtor, is the alter ego of the Funds.

       8   That's never been pleaded.     And Mr. Clubok's view is, I don't

       9   need to do that, I can do that later.      The Board of Managers

      10   decision that we've cited shows that he had to do it already

      11   and he didn't.

      12        So the implied covenant claim, Your Honor, I think I've

      13   addressed, but there are a couple other things I want to say

      14   about it.   First of all, if Your Honor will allow us to move

      15   forward and brief this in the context of a claim objection, we

      16   think that very quickly we could impress upon Your Honor that

      17   this cause of action fails.     Again, the only basis that this

      18   claim can be brought forward, because it was pleaded after the

      19   initial complaint, it has to rely on post-February of 2009

      20   facts.   Let's be clear that this claim was not brought in

      21   Phase I.    And the only -- only breach of contract claim was

      22   litigated in Phase I.     There was no judgment rendered against

      23   Highland, because, again, they weren't -- they were found not

      24   to be liable under the contract.

      25        The implied covenant, as we, again, if you'll let us brief




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       1   this, Your Honor, the implied covenant theory can't be used to

       2   create obligations on a party that are inconsistent with the

       3   express terms of the party's contract.       And the Appellate

       4   Division decision in 2010 that dismissed the contract claim

       5   made it very clear that the contracts contain, quote, no

       6   promise by the Debtor to undertake liability with respect to

       7   UBS's losses.

       8        So you can't, under applicable law, Your Honor, use an

       9   implied covenant theory to contradict a contract, to create an

      10   obligation that's not in the contract.       But that's precisely

      11   what's being done here.     So, and to be clear, Your Honor, the

      12   -- well, let me move on.

      13        The next thing that they asserted is alter ego.          And as I

      14   said, Your Honor, that has never been pleaded.       The Board of

      15   Managers v. Hudson Condo case -- excuse me.       The Board of

      16   Managers v. Jeffrey Brown Associates, which we cited in our

      17   brief, is directly on point, that res judicata bars the

      18   assertion of an alter ego claim against a party that was

      19   initially named in the lawsuit.      So that the -- while you may

      20   be able under New York law -- and I've practiced here for 40

      21   years -- you may be able to use a supplementary proceeding to

      22   assert a judgment against a party who was not named in the

      23   lawsuit as the alter ego, but if that party was named in the

      24   lawsuit, you needed to assert this at the outset.        And they

      25   didn't, for whatever reason.      But that means that this claim




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       1   is also barred by res judicata.

       2        So then we get to fraudulent transfer, Your Honor.          And on

       3   fraudulent transfer, there are -- the issue really is one of

       4   simply acknowledgment that the ad damnum has to be reduced

       5   because there were settlements.      So, the initial fraudulent

       6   transfer claims -- which did occur, by the way, after February

       7   of 2009, so those are fair game under the time bar -- they

       8   assert that HFP transferred approximately $440 million of

       9   assets to a bunch of Highland funds and to the Debtor in March

      10   of 2009.

      11        In 2015, UBS settled with two -- on two of those counts.

      12   It settled with Crusader and Credit Strategies.       Those were 80

      13   percent of the amounts that were the subject of the fraudulent

      14   transfers, again, under -- there are two ways to look at the

      15   settlement, Your Honor.     One is that there should be a credit

      16   for the Defendants on account of the dollars that were paid to

      17   settle the claims.    But here, the dollars that were paid were

      18   for far less than the face amount of the ad damnum.           Out of

      19   the $240 million of ad damnum, oh, $180-or-so million were the

      20   subject of the two claims that were settled.

      21        So it just does not pass the straight-face test or any

      22   kind of logic for UBS to argue that it could still sue

      23   Highland, the Debtor, for $240 million, when it settled claims

      24   that Highland was named on or Highland signed the settlement

      25   agreement, like UBS did, leaving only $50 million worth of




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       1   transfers out there.

       2        So, even with post-petition interest, you would get to

       3   maybe $90 million on those claims.      That is a far cry than a

       4   billion-dollar claim.     And it's a game-changer in the context

       5   of a bankruptcy where parties need to negotiate with one

       6   another and the Debtor to try to come up with a consensual

       7   plan.   That's impossible when there is a chasm between what

       8   the estate and other creditors think UBS's claim is worth and

       9   UBS running around telling the world, I've got a billion-

      10   dollar claim.

      11        We need to bridge this gap, and we need to bridge it

      12   quickly or this Debtor is going to languish in bankruptcy for

      13   an indefinite period of time.

      14        And Your Honor, the -- Mr. Clubok, on the one hand, said,

      15   well, Justice Friedman is very familiar with this.        These --

      16   Phase I was a prelude to Phase II.      That's not true.      That's

      17   not true.    They're very different claims.     Phase I was just a

      18   breach of contract liability.      Phase II has got all sorts of

      19   theories and operative facts that occurred -- or, based on

      20   operative facts that occurred well after the breach of

      21   contract claim for fraudulent transfer.

      22        So it's a fallacy to say that another judge other than

      23   Justice Friedman couldn't decide these issues, because these

      24   facts have not been presented to Justice Friedman.        The legal

      25   theories have not been adjudicated by Justice Friedman.         We'll




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       1   guess at how long it might take to get in front of Justice

       2   Friedman in a moment.     But the point is, they are very

       3   different.    And in fact, as we've noted in our brief, UBS

       4   counsel said in state court that the remaining claims, quote,

       5   have little to do with the breach of contract claims.         They

       6   present new parties, new factual issues that were not

       7   addressed in Phase I.

       8        So, you know, we think that there is no efficiency in

       9   going to state court.     In fact, just the opposite.

      10        And let me just stop and talk about that, Your Honor.           I

      11   may be the only attorney on the phone who practices in New

      12   York.   I haven't been in my office in over three months

      13   because it's -- because of the shutdown order.       Lawyers are

      14   not essential services in New York City.       Probably a lot of

      15   people would agree.     So I haven't been able to go to my

      16   office.   And you can't go in the courthouse.

      17        Your Honor, I want to just cite to Your Honor the website

      18   of the New York court system:      www.newyorkcourts.gov/crest.

      19   The court, and this is the court administrator, issued a press

      20   release with regard to the status of the New York City court

      21   system.   So, the New York court system is now entering Phase

      22   I.   And again, this is all a matter of public record.        Phase I

      23   allows the judges and the clerk and security to go into the

      24   courthouse, but not the general public.       There are no hearings

      25   going on, as you -- as we would normally expect.        I mean, the




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       1   New York City courthouse is a very busy, bustling place that

       2   usually is overrun with people.      I saw a picture online this

       3   morning where the building was empty.      Why?   Because there are

       4   no proceedings going on.     The justices are now going to try to

       5   get up and running and maybe start doing video hearings.         But

       6   the idea of a jury trial in that courthouse this year is

       7   unimaginable for me, Your Honor.      Unimaginable.    Because

       8   before you get out of Phase I, you've got to go to Phase II.

       9   And Upstate New York, some of the courts have now gone into

      10   Phase II, where they're hearing only essential family matters:

      11   adoptions, child custody, things like that.       They're not

      12   hearing commercial cases.     That's Phase II.

      13          I don't know whether Phase III encompasses jury trials,

      14   but we're two phases off of that in New York City.

      15          So, I, you know, I continue to believe, Your Honor --

      16   again, this is my opinion -- that this case will not be tried

      17   this year, and I think there is a chance that it won't be

      18   tried next year.     And in his presentation, Mr. Clubok said,

      19   oh, this is going to happen in three months.       I wish.    I don't

      20   think it's going to happen in six months.       But then he says,

      21   And once the courthouse doors are open, we're going to be

      22   first in line.    There is no evidence.    I mean, this is one of

      23   those areas where Mr. Clubok is testifying with no basis at

      24   all.    Okay?   There's no basis to believe that the UBS-Highland

      25   case is first in line when the courthouse opens for a jury




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       1   trial.   The courts have -- even in a non-pandemic situation,

       2   Your Honor, I've been in practice here a long time, it takes a

       3   long time to try a case in New York.      And you can see that the

       4   11-year history of this case was a function of there being

       5   several lengthy delays, like the year and a half delay in

       6   having the Phase I trial decided.

       7        So, you know, there's just -- it's delay upon delay.        When

       8   are the courts going to open?      When are they going to open for

       9   jury trials, and where will this case be in the queue?         And

      10   then how long will it take to decide?      Your Honor, I submit to

      11   you that it's -- if it's not months, it could be years.

      12        And here's the problem.     This puts a freeze on Highland's

      13   bankruptcy case.    Highland wants to get out of bankruptcy.

      14   Highland wants to distribute its assets to creditors.         If the

      15   case is going to be held in suspense indefinitely while we

      16   wait for the court system in New York to reopen or the UBS-

      17   Highland case to make its way to the front of the queue, to

      18   pick a jury -- I don't know how you're going to conduct a jury

      19   trial in the age of pandemics, how people are going to

      20   evaluate the credibility of witnesses who are wearing face

      21   masks.   I mean, just a host of problems, Your Honor,

      22   conducting a jury trial, even in a system like New York's that

      23   wasn't already bogged down with delays and just a massive,

      24   massive caseload.    And the backlog could have only gotten

      25   worse during the shutdown.




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       1        So, having taking that personal privilege, Your Honor, as

       2   a New Yorker, let me just proceed with the argument on the

       3   merits in terms of stay relief.

       4        All right.   So, the burden is on UBS to show cause.        And

       5   UBS has argued in its papers, citing 362(g)(2), I think it is,

       6   that somehow the burden shifts to Highland.       Counsel just

       7   misreads the statute.    He's pointing to a provision that talks

       8   about lifting the stay where a secured creditor wants to

       9   foreclose, and the issue is who -- where there's a burden of

      10   showing equity in the property, which is a factor to deny stay

      11   relief.   Obviously, that has nothing to do with our situation.

      12   The burden is on UBS to show cause, and they haven't

      13   established it.

      14        So, what's the standard for the Court to apply?          Lifting

      15   the stay is up to the Court's discretion.      There is no mandate

      16   here that you must allow UBS to go to state court to litigate

      17   their claim in front of a jury whenever.      They're -- they have

      18   a claim against the Debtor.     Your Honor has the ability and

      19   jurisdiction to adjudicate claims as part of the ordinary

      20   bankruptcy process.

      21        And here, Your Honor should exercise the discretion to

      22   hear this claim and to see if these threshold issues carry

      23   weight, because the claim is so large that its disposition is

      24   really essential to the success or failure of Highland's plan.

      25   And to relegate this case to a freeze of unknown length,




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       1   months, years, before creditors can ever see recovery from the

       2   case is not judicial economy.      It's inflicting unnecessary

       3   delay and expense on the parties.

       4        And we're talking about claims, Your Honor, that are well

       5   within the expertise of this Court because they involve

       6   fraudulent transfer claims and typical things that bankruptcy

       7   courts resolve all the time.

       8        So, you know, we think that the hardship on the parties of

       9   being held in suspense while UBS goes on its jihad in state

      10   court for months, if not years, that the balance of hardships

      11   really tips in the favor of the estate and the other creditors

      12   in the estate to try to see this claim resolved through Your

      13   Honor's proceedings, rather than be subjected to indefinite

      14   delay.

      15        One moment, Your Honor, while I check my notes.

      16        (Pause.)

      17        I'm just going through my notes, Your Honor, because I

      18   went a little out of order, but I covered a lot of what I

      19   wanted to say.

      20        So, Your Honor, let me make a suggestion.       We -- the

      21   issues that we want to tee up in terms of these dispositive

      22   issues, one is whether or not there could be an alter ego

      23   claim against Highland.     It's never been alleged before.      We

      24   think that the state court rulings on res judicata as well as

      25   some very persuasive authority like Board of Managers means




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       1   that that claim can't be brought.

       2         That's something that has not been litigated in state

       3   court before.    I think Your Honor could very easily address

       4   it.

       5         The other issue is the impact of the settlements on the

       6   fraudulent transfers, because, again, it's very different if

       7   UBS has a $50 million claim on a good day as opposed to a

       8   billion-dollar claim.     And again, very straightforward.      It

       9   will involve the interpretation of the settlement agreements.

      10   We think it's very straightforward.      It's something that's

      11   well within Your Honor's experience, jurisdiction, to decide.

      12   It's a proof of claim.     And we think that that could really

      13   break the logjam in this case.

      14         And if those two issues are decided favorably for the

      15   estate, that the asserted claim of UBS will now be within a

      16   ballpark that other creditors and the Debtor can deal with, as

      17   opposed to the continued threat that there's a billion-dollar

      18   claim out there.

      19         That ruling, Your Honor, really could make the difference

      20   between whether or not this Debtor confirms a plan with you or

      21   not and whether creditors can get distributions or not.

      22         So -- and I would hasten to add, Your Honor, that I think

      23   that, while the matters are complex, I think the specific

      24   issues are not, and that they can be presented to Your Honor

      25   and that Your Honor could decide them before the New York




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       1   court system even opens up, let alone before a jury trial can

       2   be scheduled in this matter.     So we think that that is really

       3   the way to go, Your Honor, and that will avoid the prejudice

       4   to all the parties, not just the Debtor, but all the other

       5   creditors who'd like to see their distribution.

       6        So, Your Honor, I'm not going to address the agreement for

       7   stay relief based on Your Honor's comments.

       8        I just want to address, lastly, that if Your Honor does

       9   deny the motion, that Your Honor -- for stay relief, that Your

      10   Honor also deny the request by UBS for a further extension of

      11   its proof of claim.    There was an agreement between the

      12   parties that extended the bar date already for UBS and that

      13   provided that we would have this stay relief that (inaudible).

      14   There was never any discussion that, if stay relief was

      15   denied, that there would be further time for UBS to file a

      16   proof of claim.

      17        While this is cloaked in the desire to preserve a jury

      18   trial that we never had, the reality here, Your Honor, is that

      19   this is just more delay and posturing and trying to keep the

      20   notion that there's a big claim out there and a big trial in

      21   the future for leverage purposes, for UBS to be able to say to

      22   the other creditors, you know, I'm in control here, I've got a

      23   billion-dollar claim, I'm still going to pursue a jury trial.

      24   It is gumming up the case.     It is freezing the case.       And the

      25   only way to break the logjam, Your Honor, is for Your Honor to




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       1   do that.   It's for Your Honor to deny stay relief, to require,

       2   as they agreed, to require UBS to file a proof of claim within

       3   five days of Your Honor's ruling.     We will then proceed with

       4   an objection to claim that will lay out the issues, we think,

       5   very clearly, the (inaudible) very clearly.      And UBS will have

       6   their opportunity to be heard, and then Your Honor can decide.

       7       And if Your Honor sustains the objections based on the

       8   issues we've presented to the Court, like I said, that's going

       9   to clear a path for this case to move to confirmation.

     10        If Your Honor overrules the objection, then I guess what

     11    have we lost but a couple months' time trying to adjudicate

     12    that and spare the estate of being stuck in suspense for an

     13    indefinite period of time?

     14        So, on that basis, Your Honor, we would ask that you deny

     15    the stay relief motion and deny the extension on the proof of

     16    claim.   I'd be happy to answer any questions that Your Honor

     17    has and then I'd yield to the parties.

     18               THE COURT:    I have a question unrelated to the

     19    arguments.   Exclusivity in this case, I know there was an

     20    agreement regarding the most recent extension, and I can't

     21    remember what the deadline is.     I feel like it's late July,

     22    maybe.   Can someone remind me of that?

     23               MR. POMERANTZ:    Your Honor?   Yes, Your Honor.    This

     24    is Jeff Pomerantz.      So, the current exclusivity expires on

     25    July 13th.   We have since filed, I believe it was last Friday




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       1   night, a further motion to extend for an additional 30 days.

       2   We are in discussions with the Committee about various

       3   structures, about a plan and whether -- and how we would

       4   ultimately emerge from Chapter 11.      That matter will be heard,

       5   I believe, on July 8th.      And it asks for 30 days and an

       6   additional two -- additional 30 days, subject to Committee

       7   consent.

       8              THE COURT:    All right.   So you all are envisioning

       9   walking and chewing gum at the same time, basically going down

      10   a dual track if I deny the motion?      You know, you're wanting

      11   me to set a deadline five days from now or whatever it would

      12   be for them to file a proof of claim, you would envision a

      13   prompt objection, and going down that path at the same time as

      14   proposing a plan in July or August?

      15              MR. POMERANTZ:    Your Honor, look, there's a couple of

      16   ways this case could end, right?      We kick the can down the

      17   road, file some type of plan that shifts all the litigation

      18   post-confirmation.      That may be what happens in this case.

      19   That is not what the Debtor wants to happen in this case.

      20              THE COURT:    Uh-huh.

      21              MR. POMERANTZ:    The Debtor has been moving very

      22   quickly to try to engage with the various creditors.          Mr.

      23   Clubok said we spent a lot of time.      Yes, the Debtor and the

      24   independent directors did spend a lot of time dealing with

      25   this claim, dealing with the Acis claim, and dealing with the




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       1   Redeemer claim.    It's those three claims that are the primary

       2   obstacles towards being able to distribute money to creditors.

       3       So if, Your Honor, we are either litigating where we think

       4   we should in this Court on UBS's matter and the Acis matter,

       5   if we can't resolve it, Redeemer's matter, or elsewhere, we

       6   are going to try to move things forward.         But at the end of

       7   the day, unless these claims can be resolved, and UBS is the

       8   largest one, there will not be any distributions to creditors,

       9   which is what the Court wants to have happen as quickly as

     10    possible.

     11                THE COURT:   Okay.   Thank you.    All right.     I have no

     12    other questions for Debtor's counsel at this time, so how

     13    about we go to Committee counsel now.         Mr. Clemente?

     14        OPENING STATEMENT ON BEHALF OF THE CREDITORS' COMMITTEE

     15                MR. CLEMENTE:   Yes.   Thank you, Your Honor.      Matthew

     16    Clemente, Sidley Austin, on behalf of the Official Committee

     17    of Unsecured Creditors.

     18        Your Honor, as an initial matter, when I refer to the

     19    Committee, as we did in our papers, I am referring to the

     20    three non-UBS Committee members: --

     21                THE COURT:   Uh-huh.

     22                MR. CLEMENTE:   -- Acis, Meta (inaudible) and

     23    Redeemer.    UBS obviously did not participate in Committee

     24    discussions regarding this objection.         I just wanted to make

     25    sure that Your Honor understood that.




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       1        With that, Your Honor, the Committee does oppose the

       2   motion to lift stay.    I've been listening to Mr. Clubok and to

       3   the Debtor, and the merits, I think, you know, are probably

       4   very interesting, but I'm not sure they are necessarily

       5   terribly relevant to the determination that Your Honor has to

       6   make today.

       7        The issue is whether to lift the stay based on a showing

       8   of cause and after taking into consideration whether lifting

       9   the stay is in the best interest of the estate and the

      10   creditors.    I don't think it's whether, you know, one party or

      11   another is likely to prevail.     I think that's the

      12   consideration that Your Honor instead must look at, cause and

      13   the impact on the estate.

      14        The Committee submits lifting the stay is not in the best

      15   interests of the estate.     The Committee's focus remains on the

      16   efficient and quick resolution of these cases that provides

      17   for maximum recovery to its constituency, the general

      18   unsecured creditors.

      19        And while Mr. Pomerantz referred briefly to the plan,

      20   obviously, Your Honor, we have just seen the exclusivity

      21   extension motion.    I have not had an opportunity to discuss it

      22   with the Committee, you know, so I don't know what position we

      23   may take on that.    But as a general matter, we do believe it's

      24   imperative to push forward as quickly as possible with a plan.

      25        The asserted UBS claim, as Your Honor as heard, would




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       1   dwarf all other claims against the estate by far.        Resolution

       2   of that claim will therefore impact the size and timing of any

       3   distributions to the other general unsecured creditors.

       4   That's just, I think, a plain fact of math.

       5        Thus, the Committee believes having the UBS claim quickly

       6   resolved is in the best interest of the estate and the

       7   creditors.

       8        And the Committee further believes that this Court is the

       9   best forum and is in the best position to allow for the

      10   quickest resolution of the claim.

      11        Although I do not presume to speak for this Court's time

      12   or its calendar, I do know that this Court is used to hearing

      13   complicated matters and rendering decisions in a quick but

      14   fulsome fashion that allows for all parties to fully present

      15   their cases.

      16        Additionally, Your Honor, bankruptcy proceedings are

      17   designed for inclusion and public scrutiny, which will ensure

      18   that any creditors or other parties in interest will be able

      19   to participate in a process and forum that's accessible and

      20   that they can participate in.      This is particularly important,

      21   Your Honor, given the magnitude of the asserted UBS claim.

      22        Your Honor, the speed and efficiency is balanced against

      23   lifting the stay to allow the UBS claim to proceed forward in

      24   New York state court.     There is no visibility by creditors in

      25   terms of what the calendar looks like or when New York state




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       1   courts will resume in-person trials, let alone when they will

       2   have a jury trial, to the extent UBS is entitled to one.

       3        What information we do have clearly suggests that trials

       4   will not resume anytime soon and that there logically would be

       5   a backlog that would need to be worked through.

       6        I am not a New York state court litigator, Your Honor.          I

       7   am a bankruptcy attorney from the Midwest.       But I do know,

       8   from looking at the history of the UBS claim that it does have

       9   against the non-debtor affiliates, that the New York state

      10   court process previously took a long time, and therefore it

      11   can reasonably be expected to again take quite some time.

      12        And given the vagaries of a state court process, it will

      13   not provide for the level of transparency and participation

      14   and speed that I submit this Court can provide, and frankly,

      15   should provide, given the magnitude of the asserted claim,

      16   while also, and importantly, giving UBS a full and fair

      17   opportunity to advance its claim, Your Honor.

      18        Additionally, the sheer magnitude of the claim asserted by

      19   UBS dictates this Court should resist the motion to lift stay.

      20   While it is complex -- or excuse me -- while it is clearly not

      21   the only issue in this very complicated and very complex and

      22   very difficult case, it will perhaps have the most meaningful

      23   and material impact on creditor recoveries of any of those

      24   other issues.

      25        Given its central importance, Your Honor, the Committee




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       1   believes it is appropriate that the claim be adjudicated in

       2   this collective forum through an established process with

       3   which all other various stakeholders are familiar and provide

       4   for the appropriate transparency and participation in the

       5   adjudication of what is clearly the largest claim asserted

       6   against the estate.

       7        Finally, but not least, Your Honor, as I understand the

       8   UBS claim, and we heard the Debtor speak to it, and Mr. Clubok

       9   as well, it presents itself as the type of claim that is in

      10   this Court's wheelhouse -- namely, fraudulent transfer claims

      11   and other similar claims.     Although from reading the papers,

      12   as with all things Highland, there's obviously an overwhelming

      13   and significant degree of complexity, at bottom, it appears

      14   that Your Honor would simply be required to call balls and

      15   strikes on the kinds of claims which this Court has

      16   undoubtedly addressed many times before:       namely, fraudulent

      17   transfer and similar claims.

      18        To sum up, Your Honor, the Committee's position is simple

      19   and I think the analysis is simple.      It wants the UBS claim

      20   resolved as quickly as possible in a forum that provides for

      21   the appropriate level of transparency and participation, given

      22   the asserted size of the claim and its impact on creditor

      23   recoveries and therefore its centrality to this case.

      24   Bankruptcy courts in general and this Court in particular are

      25   designed to, and, frankly, are set up to efficiently yet




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       1   fairly adjudicate material claims in an expeditious and

       2   transparent fashion, which is in the best interest of the

       3   estate and its creditors.

       4        Your Honor, for these reasons, the Committee believes the

       5   lift stay motion should be denied.

       6              THE COURT:   Okay.

       7              MR. CLEMENTE:    With that, Your Honor, unless you have

       8   questions for me, those are my remarks.

       9              THE COURT:   Not at this time.    All right.   The

      10   Redeemer Committee filed a very lengthy objection.        Who will

      11   be presenting that objection today?

      12              MS. MASCHERIN:   Your Honor, I will.     This is Terri

      13   Mascherin on behalf of the Crusader Redeemer Committee.

      14              THE COURT:   All right.   Thank you.    You may proceed.

      15    OPENING STATEMENT ON BEHALF OF THE CRUSADER REDEEMER COMMITTEE

      16              MS. MASCHERIN:   Thank you, Your Honor.     Your Honor,

      17   the Redeemer Committee submits that there is -- there's

      18   similar showing for cause to lift the stay when lifting the

      19   stay would prejudice not only the estate but all other

      20   creditors in this bankruptcy proceeding and would

      21   substantially delay administration of the Debtor's estate and

      22   any meaningful distributions to creditors.

      23        I'd like to give Your Honor, if I may, just a couple words

      24   of background on who the Redeemer Committee is and why we

      25   believe we have some unique knowledge and -- that we'd -- that




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       1   we'd like to bring with respect to this objection.

       2        The Redeemer Committee is a committee consisting of nine

       3   individuals who serve as designated representatives of major

       4   investors in the Highland Crusader Fund.       The Highland

       5   Crusader Fund was Highland's flagship investment fund before

       6   the last recession.     It went into redemption in 2008, followed

       7   by an involuntary insolvency proceeding in Bermuda.           That

       8   court proceeding, the insolvency proceeding in Bermuda, was

       9   resolved by way of a scheme and plan of liquidation that was

      10   negotiated between Highland Capital Management, the Debtor

      11   here, and the two classes of redeeming investors.        And that

      12   scheme and plan was approved by the Bermuda court.

      13        The governance that is set up in the scheme and the plan

      14   provided for the election of an oversight Committee -- that

      15   is, the Redeemer Committee.

      16        The Redeemer Committee members were elected from amongst

      17   the consenting as opposed to the redeemers of the Crusader

      18   Fund.

      19        The scheme and plan permitted the Debtor, Highland, to

      20   remain as manager of the Crusader Fund to complete the

      21   liquidation of the fund, but the Redeemer Committee was given,

      22   among other powers, the power to remove Highland as manager

      23   for cause, or not for cause, and also to bring claims against

      24   Highland Capital Management under the plan and the scheme.

      25        The Redeemer Committee determined in July 2016 to remove




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       1   Highland as manager of the fund and simultaneously commence an

       2   arbitration before the International Center for Dispute

       3   Resolution.    That proceeding resulted in an arbitration award

       4   against the Debtor for $490 million in damages, inclusive of

       5   pre-judgment interest as of the petition date.

       6        Since the -- since Highland -- Highland filed, by the way,

       7   filed this proceeding, this bankruptcy proceeding, literally

       8   as we were on the steps of the courthouse in the Delaware

       9   Chancery Court for the hearing on the motion to confirm the

      10   arbitration award that was issued in favored of the Redeemer

      11   Committee.

      12        So UBS is not the only party who was denied access to its

      13   preferred court, shall we say, but the Redeemer Committee is

      14   cooperating in this bankruptcy.      The Redeemer Committee, like

      15   UBS, has been appointed a member of the Unsecured Creditors'

      16   Committee.    And the Redeemer Committee, we would submit, Your

      17   Honor, has a unique perspective to bring on this motion for

      18   two reasons.

      19        First of all, the Redeemer Committee is the holder of a

      20   very large liquidated though not-yet-allowed claim in this

      21   bankruptcy by virtue of the arbitration award.       We've

      22   essentially concluded our litigation against the Debtor.

      23        Second, the Redeemer Committee is uniquely knowledgeable

      24   about the litigation and the work between UBS and the Debtor

      25   because the Crusader Fund was a party to that suit.           In fact,




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       1   the settlement agreement, which contains a release provision

       2   which we submit and the Debtor submits ought to have a

       3   significant impact upon the size of the claims that the Debtor

       4   can -- or that UBS can prosecute now with respect to the

       5   fraudulent transfers and the breach of implied covenant, that

       6   was negotiated by my clients, the Redeemer Committee, and you

       7   will see their signatures at the very end of Exhibit H, which

       8   is -- to our objection, which is that settlement agreement.

       9        Your Honor, we submit there has been no showing of cause

      10   to lift the stay here.     I'd like to mention a couple of court

      11   decisions which I think bring important principles that the

      12   Court should consider in considering whether UBS has met its

      13   burden here to show cause.

      14        Courts have recognized, when relief from the automatic

      15   stay is sought, the party seeking the relief has an initial

      16   burden to demonstrate cause for the relief.       And where, as

      17   here, the movant seeking to lift the stay is an unsecured

      18   creditor, the burden on a movant is -- has been recognized as

      19   being especially heavy.     That's recognized in the Southern

      20   District Bankruptcy Court decision in the (inaudible) Energy

      21   Partners case, for example, which we cited in our papers.

      22        In fact, in the Residential Capital, LLC bankruptcy

      23   proceedings in the Southern District, the Court said, and I

      24   quote, "When the movant is an unsecured creditor, the policies

      25   of the automatic stay weigh against granting the relief




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       1   requested."

       2        And in In re Leibowitz, another Southern District

       3   bankruptcy decision, the Court said, and I quote, "The general

       4   rule is that claims that are not viewed as secured in the

       5   context of 362(d)(1) should not be granted relief from the

       6   stay unless extraordinary circumstances are established to

       7   justify such relief."

       8        We would submit, Your Honor, that UBS failed even to make

       9   a prima facie showing of cause here.      They point to prejudice,

      10   they say, to themselves if they can't go to New York and have

      11   a jury trial, and they point to judicial economy.        We would

      12   submit those factors actually argue very strongly against a

      13   finding of cause in this case.

      14        There would be substantial prejudice to other creditors in

      15   this proceeding if UBS is permitted to essentially get cause

      16   on large parts of this bankruptcy proceeding and go off to New

      17   York to litigate.    UBS barely acknowledges that the lifting of

      18   the stay to allow it to proceed in New York would have any

      19   impact on creditors.     We submit that the impact would be quite

      20   (inaudible).

      21        It can't seriously be disputed, we submit, Your Honor,

      22   that this Court could determine the validity and the amount of

      23   UBS's claim more expeditiously than UBS could get relief for a

      24   jury trial and the subsequent proceedings in New York.

      25        We agree with the Debtor's counsel that there is no




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       1   prospect of jury trials and hearings in the courts in

       2   Manhattan anytime certainly this year, and perhaps well into

       3   next year, and we've cited some commentators who've written

       4   pieces that have been published to that effect.

       5        Meanwhile, the sheer size of the claim that UBS is

       6   purporting to submit here -- of course, they haven't filed a

       7   claim -- but the sheer size of the claim as it has been

       8   described in this proceeding makes it central to these

       9   proceedings.    And for -- for a fact, in the Choice ATM

      10   Enterprises case, which was decided by Judge Lynn, Judge Lynn

      11   denied a motion to lift stay that was brought by a creditor

      12   where the creditor's claim at issue "would be the largest

      13   claim against the estate and thus critical to the

      14   reorganization."    That's very much the case here, and it's

      15   appropriate for you to consider that this claim, if allowed at

      16   the amount of roughly one billion dollars, which UBS is

      17   asserting is the value of its claim, would dwarf the rest of

      18   the estate.

      19        Bankruptcy, of course, is designed to provide an orderly

      20   liquidation procedure under which all creditors are treated

      21   equally.    Given those policies, the bankruptcy court ought to

      22   try to preserve a level playing field for all creditors.         And

      23   we cited in our papers the decision in In re Canejo

      24   Enterprises, which was a Ninth Circuit case from 1986, where

      25   the Court denied a motion to lift stay for that reason,




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       1   because the -- because the Court found that lifting the stay

       2   as to one large creditor in that case would in effect give

       3   that creditor oversized leverage with respect to resolution of

       4   the proceedings.

       5        The same is true here.     As both Committee counsel and

       6   Debtor counsel have pointed out, with the overhang of what we

       7   think is an oversized one billion dollar claim, it's very

       8   difficult to negotiate the way to see clear to a plan of

       9   reorganization here, where other creditors, like my clients,

      10   for example, don't know whether they stand to receive a

      11   quarter of the estate's proceeds or something much less than

      12   that.

      13        And we submit, Your Honor, that that is, in fact, what UBS

      14   wants to preserve here, is that leverage, that negotiating

      15   leverage, which thus far has really stymied efforts to move

      16   forward.

      17        As both Mr. Pomerantz and Mr. Clemente alluded to, the

      18   Creditors' Committee has been working hard on trying to get to

      19   a plan of reorganization.     That's what we want.    We want some

      20   certainty of how this proceeding will conclude, and it's just,

      21   as a practical matter, very difficult to come to anything

      22   close to certainty of a practical resolution with that one

      23   billion dollar gorilla sitting in the room.

      24        This Court, we would submit, as counsel for the Debtor

      25   argued, can resolve the claims that UBS has pending against




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       1   the Debtor quite efficiently and quite expeditiously under the

       2   rules that you have available to you under the Bankruptcy

       3   Court Rules.    So we submit the New York court really has no

       4   appreciable advantage in resolving these claims.

       5        As counsel for the Debtor pointed out, there are

       6   essentially -- there are two claims that are pending in the

       7   New York action against the Debtor.      One is a fraudulent

       8   transfer claim; the other is a claim for breach of the implied

       9   covenant of good faith and fair dealing.

      10        I won't get into whatever defenses the Debtor may have

      11   against that good faith and fair dealing claim, but I will say

      12   this much:    All of the claims, all of those claims arise from

      13   the fraudulent transfers that were alleged to have taken place

      14   in March of 2009.    So they essentially all stem from the

      15   fraudulent transfer claims.     Those claims are based upon

      16   entirely different facts, different witnesses, different legal

      17   issues, than the claims that were tried back in 2018 that

      18   resulted in that judgment that was entered against the CLO

      19   warehouse counterparty that was entered last fall.

      20        But you don't have to take my word for it that the

      21   fraudulent transfer-based claims are premised on an entirely

      22   different set of facts.     We can look at UBS's own words to

      23   establish that.     When it suited UBS's strategy, when UBS

      24   persuaded the Court to bifurcate the proceedings into what it

      25   now refers to as two phases of the same trial -- and this is




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       1   going back to the spring of 2018, Your Honor -- UBS persuaded

       2   the Court to bifurcate the proceedings, and UBS conceded at

       3   that time that the claims against the Debtor that remained to

       4   be adjudicated -- and I'm quoting from Exhibit J to our

       5   objection here, which is UBS's brief in support of bifurcation

       6   -- those claims, UBS argued, quote, "have minimal overlap in

       7   evidence and issues" with the claims that Judge Friedman has

       8   -- Justice Friedman has already tried in New York.

       9        UBS went on to say, and I quote, "The second trial, which

      10   will relate to new parties and different claims, will involve

      11   new factual issues that will not be addressed at all in the

      12   first trial."

      13        And in that same pleading, UBS argued, "The issues and

      14   evidence will be largely separate, and certainly will not be

      15   inextricably interwoven and intertwined" with the issues from

      16   the first case.

      17        I would submit, Your Honor, that Your Honor could resolve

      18   fraudulent transfer-based claims quite expeditiously.         Those

      19   -- fraudulent transfers are the bread and butter, are the

      20   kinds of claims that bankruptcy courts resolve every day.         And

      21   to the extent that it was necessary for you to look to any of

      22   the factual findings that Justice Friedman made, they're laid

      23   out in her judgment, which is a very lengthy opinion that was

      24   entered last fall and this Court could very easily find them

      25   there.




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       1        Now, a couple of moments about the -- what we've talked to

       2   about -- what we've talked -- what we've referred to as the

       3   threshold issues.    And I'll preface this by saying that, over

       4   the years, the Redeemer Committee and Highland Capital

       5   Management have not agreed on very many things, but we do

       6   agree that there are two threshold legal issues which we

       7   submit would seriously materially impact the amount of any

       8   claim that the -- that UBS can pursue in this bankruptcy

       9   against the Debtor.

      10        The first of those is the res judicata issue.       Mr. Clubok,

      11   I think, has been a little less than precise about exactly

      12   what the basis -- in his argument today about exactly what the

      13   basis is for the $1 billion claim that he referred to.         But if

      14   we look at UBS's motion to lift the stay at Page 10, UBS

      15   stated, "If found liable, the Debtor will be responsible for

      16   the judgment awarded to UBS in Phase I, in addition to any

      17   other amounts awarded to UBS in Phase II."

      18        So I think UBS stated quite clearly in its motion to lift

      19   the stay at Page 10 that what it intends to pursue in this

      20   bankruptcy court and what it purports to be intending to

      21   pursue in the New York court, at least in large part, is to

      22   hold the Debtor responsible for that $1 billion judgment that

      23   was entered on the warehouse transactions.

      24        It is that articulation of its claim which leads the

      25   Redeemer Committee and leads the Debtor to raise the issue of




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       1   res judicata.    And I won't go through again all of the

       2   analysis of the decisions, but I would direct Your Honor to

       3   the UBS Securities, LLC v. Highland Capital Management

       4   decision, which is cited in our papers.       It's found at 86

       5   A.D.3d 469 or 927 New York Supplement 2nd at 59.

       6        In that decision, when UBS first sought to bring the

       7   claims that are part of the lawsuit that's now become known as

       8   Phase II of the UBS proceedings, the Court ruled as follows,

       9   and I quote:    "To the extent the claims against Highland in

      10   the new complaint implicate events alleged to have taken place

      11   before the filing of the original complaint" -- that date was

      12   February 24th of 2009 -- "res judicata applies."

      13        The Court went on to explain that any claims against the

      14   Debtor arising from the restructured warehouse transaction are

      15   barred by res judicata.     Quote, "That is because UBS's claims

      16   against Highland in the original action and in this action all

      17   arise out of the restructured warehousing transaction, while

      18   the claim against Highland in the original action was based on

      19   Highland's alleged obligation to indemnify UBS for actions

      20   taken by the affiliate Fund, and the claims against Highland

      21   in the second action arose out of Highland's alleged

      22   manipulation of those Funds, i.e., alter ego.       They form a

      23   single factual grouping.     Both are related to the same

      24   business deal and to the diminution of the value of securities

      25   placed with UBS as a result of that deal."




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       1        So the Court held that to the extent that UBS in that

       2   second proceeding, which is now being referred to as Phase II,

       3   was asserting claims against Highland Capital Management that

       4   were based upon the warehouse transaction or any other conduct

       5   that occurred prior to February 24, 2009, those claims were

       6   barred by res judicata because they were not raised as part of

       7   the original action, which was a separate lawsuit, as we

       8   explain in our papers.

       9        So while we're not here to argue the merits of the res

      10   judicata issue right now, it comes to the fore because of the

      11   way UBS described its claim, because of the fact that UBS

      12   asserted in its motion that it intends to seek to hold the

      13   Debtor liable for that $1 billion judgment that was entered

      14   for breach of the warehouse facility.      And we submit that when

      15   the time comes for the Court to consider objections to UBS's

      16   claim, that the res judicata -- that res judicata as a result

      17   of the Appellate Division's decisions in New York will make

      18   quick action of any effort by UBS to hold the Debtor

      19   responsible for that $1 billion judgment.

      20        Now, in its reply, UBS makes an interesting statement with

      21   respect to this alter ego argument, this claim to hold the

      22   Debtor responsible for the $1 billion judgment.       And we think

      23   that the statement in the reply, Your Honor, is quite telling.

      24   It's found on Page 6 in a footnote, Footnote 5.

      25        In that footnote, UBS seems to try to preserve the right




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       1   to bring that $1 billion alter ego claim, to hold the Debtor

       2   responsible for the judgment that was entered last fall.         And

       3   this is the reply brief at Page 6, Footnote 5.       In that

       4   footnote, UBS stated as follows, quote -- and this is at the

       5   very end of the footnote, Your Honor -- that UBS, of course,

       6   reserves all rights to pursue any post-trial relief, including

       7   holding the Debtor liable as an alter ego.

       8        So, Your Honor, we would submit what that suggests is that

       9   what UBS wants to do here is to go to New York to get a jury

      10   trial on its pleaded claims against the Debtor, which are only

      11   fraudulent transfer and breach of the implied covenant of good

      12   faith and fair dealing claims, and then to initiate even

      13   further proceedings in New York, seeking to hold the Debtor

      14   liable for the 2018 $1 billion judgment.

      15        Your Honor, how long must all of the other creditors of

      16   this estate wait for that, for UBS to finish adjudicating its

      17   claims against Highland?     The delay, I submit, would be

      18   crippling.

      19        A few words about the issue of the release, and this is an

      20   issue that the Redeemer Committee is quite familiar with

      21   because the Redeemer Committee negotiated that settlement

      22   agreement.    The -- again, this isn't the time to argue the

      23   merits of the issue, but I raise the issue just to impress

      24   upon Your Honor that it is a serious gating issue, we believe,

      25   and an issue which ought to be addressed, because it could




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       1   have a material impact on the Debtor's exposure on any claims

       2   from UBS.

       3        Now, as I've said, the claims that UBS has stated in New

       4   York against the Debtor are claims for fraudulent transfers

       5   which were brought against the Debtor and certain of its

       6   affiliates, and a claim against the Debtor for breach of an

       7   implied covenant on fair dealing.      In its briefing with

       8   respect to bifurcation, UBS made clear that both of those

       9   claims against the Debtor relate to the fraudulent conveyances

      10   which -- by which UBS contends the Debtor's affiliate, which

      11   is a company called HLC, transferred certain assets to the

      12   Crusader Fund, to the Credit Strategy Fund, to the Debtor

      13   itself, and to other affiliates, including the fund that's

      14   currently known as the Multi-Strategy Fund.

      15        And again, you don't have to believe me when I say that

      16   those claims all arise out of the fraudulent transfers.         We

      17   can look at UBS's own arguments.      And this, again, is in

      18   Exhibit J to the Redeemer Committee's objection, where UBS

      19   described the implied covenant claim as follows:        "The implied

      20   covenant claim which involved Highland Capital Management's

      21   role in the March 2009 fraudulent conveyances overlaps

      22   factually with the fraudulent conveyance claim."

      23        Your Honor, as we've shown in Exhibits H and I, in 2015

      24   the Highland Crusader Fund and the Highland Credit Strategy

      25   Fund, which together were the recipient of over 80 percent of




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       1   the assets that comprised those claimed fraudulent transfers,

       2   those two funds entered into settlements with UBS.        Those two

       3   funds paid a total of approximately $70 million to settle the

       4   fraudulent transfer claim.     The value of the fraudulent

       5   transfer claims, as Mr. -- or as Debtor's counsel has pointed

       6   out, the value of the fraudulent transfers to those two funds

       7   was somewhere in the neighborhood of $180 to $200 million out

       8   of the $240 million of fraudulent transfers that UBS is

       9   seeking to recover from.

      10        As part of the settlement agreement, UBS agreed to release

      11   Highland Capital Management from any claim arising out of the

      12   fraudulent transfers that took place either to the Crusader

      13   Fund or the Credit Strategy Fund.      And I would direct Your

      14   Honor to Exhibits H and I.     The language of the two settlement

      15   agreements is quite similar.     If we look, for example, just at

      16   Exhibit H, Section 5.3, of the Highland Crusader Fund

      17   settlement, you will see that UBS released Highland Capital

      18   Management for "losses or other relief specifically arising

      19   from the fraudulent transfers to Crusader alleged in the UBS

      20   litigation."

      21        As we explained in our papers, the term that's used there,

      22   I believe, is HCM Released Parties, or something similar to

      23   that.   If you go back through the definitions, you'll see that

      24   Highland Capital Management was specifically released with

      25   respect to claims arising from the fraudulent transfers to




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       1   Crusader.

       2        The same language appears in Exhibit I, which is the

       3   settlement agreement between the Highland Credit Strategy Fund

       4   and UBS.

       5        So this is a threshold legal issue, Your Honor, which we

       6   submit has the potential to significantly reduce the amount of

       7   any allowable claims to UBS.     And because the Crusader Fund is

       8   a party to that settlement -- and the Crusader Fund's counsel,

       9   Mr. Rosenthal, I believe is listening to the proceedings today

      10   -- because the Redeemer Committee members were signatories to

      11   that settlement agreement, the Crusader Fund and Redeemer

      12   Committee ought to have an opportunity to be heard with

      13   respect to an objection to UBS's claim that is premised upon

      14   the settlement agreement involving those two parties.

      15        We submit, Your Honor, that you are well suited to

      16   deciding the res judicata and release issues.       They're issues

      17   that rely only upon what we think are very clear court

      18   decisions on the res judicata -- outlining the bounds of res

      19   judicata with respect to UBS's claim, and what we would submit

      20   is unambiguous settlement language.

      21        One final word I would like to express, Your Honor.        With

      22   regard to the last-ditch argument that UBS made, their

      23   argument that if you don't lift the stay you should at least

      24   extend the bar date indefinitely only for UBS or enter some

      25   sort of an order preserving UBS's right to jury trial:         Your




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       1   Honor, this case has been pending since October, this

       2   bankruptcy case.    UBS waited until May to file a motion to

       3   lift stay.    And I know they've made some arguments about why

       4   they waited, but we've been sitting around for quite some

       5   time, trying to make progress in this case.

       6        UBS has already had the benefit of a special delay in the

       7   bar date.    Everyone else filed their claims in April.       They

       8   agreed to a stipulation, which this Court entered as an order,

       9   which provides that UBS would file its claim within five

      10   business days after the Court's ruling in the event that the

      11   Court denies the motion to lift stay.

      12        They've had their delay.     They asked for extra time, in

      13   fact, to bring their motion to lift stay.       What UBS is

      14   suggesting now is that they should get yet even more delay,

      15   indefinite in length.     Your Honor, we're trying to get moving

      16   with this proceeding.     We'd like to see the Debtor submit a

      17   plan.   The Committee is trying to work with the Debtor on a

      18   plan.   I tell you, my clients, Redeemer Committee, are in

      19   serious discussions with the Debtor about resolving the

      20   allowable amount of their claim.      And this case ought to move

      21   forward.    But if Your Honor grants UBS's motion, what will

      22   happen is this case will stall, to the prejudice of the estate

      23   and to the prejudice of all other creditors.

      24        Thank you, Your Honor.

      25               THE COURT:   All right.   Thank you.




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       1        Ms. Patel, will you be making the argument for Acis?

       2              MR. SHAW:    Your Honor, Brian Shaw on behalf of Acis.

       3   I'll be very, very brief.

       4              THE COURT:    Okay.

       5        OPENING STATEMENT ON BEHALF OF ACIS CAPITAL MANAGEMENT

       6              MR. SHAW:    Judge, one of the foundational principals

       7   of the Bankruptcy Code is the policy of equal treatments of --

       8   treatment of creditors.     Granting stay relief here would be to

       9   prefer UBS over all other creditors.       And UBS is not unique.

      10   We have plenty of litigation creditors in this case.          We have

      11   Acis.   We have Mr. Daugherty.       We have the Redeemer Committee.

      12   We have UBS.   So, granting relief from stay treats UBS

      13   differently, makes them a super-creditor, and violates that

      14   fundamental foundational principle of bankruptcy law.

      15        The second and final point I'll make, Judge, is I think I

      16   heard Mr. Clubok, in reference to your question about

      17   mediation, say something like he did not expect to have to

      18   ultimately try this case.        And if I misquote him, I'm sure

      19   he'll let us know.      I think that tells you everything about

      20   the motivations here.     I think that tells us everything about

      21   the fact that this is about leverage and not about all of the

      22   parties in interest here.

      23        This is not a case just about UBS.       It's a case, a

      24   bankruptcy case about all the parties in interest, including

      25   the Debtor and creditors and other parties in interest.




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       1        That's all I have, Your Honor.

       2              THE COURT:    Thank you.    All right.   Mr. Clubok,

       3   you're the movant so you get the last word.

       4              MR. CLUBOK:    I appreciate that, Your Honor.      A lot to

       5   cover here.    Let me say, make this brief observation at the

       6   outset, and then I'm going to talk about some of the specific

       7   things that were said.

       8        Number one, this really proves the old adage, the enemy of

       9   my enemy is my friend.     I did hear Ms. Mascherin say, oh, gee,

      10   we've never agreed with Highland before in years and years;

      11   all of a sudden now we agree with them.       There is a reason why

      12   we're like the skunk at a picnic here, we're getting ganged

      13   up, and it's not, Your Honor, because the parties are trying

      14   to get to a speedier resolution.        It's because they think they

      15   can substantively impact our claim and get more -- each of the

      16   creditors think they get more amongst themselves if they can

      17   knock down our claim.

      18        I heard over and over again Ms. Mascherin and others say,

      19   oh, I'm not going to argue about the merits here, and then

      20   they went on in great detail to try to argue about the merits

      21   of our claim.

      22        So my second point, overall point that I want to make is

      23   -- and this is one where I've got to say at least one thing

      24   was said by all the objectors.        Mr. Clemente -- I agree with

      25   this.   What Mr. Clemente said was the merits aren't relevant




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       1   today.    And to Mr. Clemente's credit, I think he less than

       2   everyone else went on to then argue the merits, regardless of

       3   the fact that they're not relevant today.

       4        The merits aren't relevant to today, Your Honor.         What's

       5   relevant to today is who is going to be deciding those merits.

       6   Okay.    And it is so crystal clear from hearing the argument

       7   and how they lived with these arguments for years and years

       8   and years that what I'm hearing today is the same argument I

       9   heard in the I think third appeal, the fourth appeal, the

      10   summary judgment, and the fifth appeal.

      11        So much of what you were told today, Your Honor, dates

      12   back to some language, some stray language that was used in a

      13   2011 decision.    Okay?   And ever since that language was used

      14   in that 2011 decision that Mr. Feinstein cited and Ms.

      15   Mascherin cited, ever since that 2011 decision, Highland has

      16   argued over and over again, essentially, ha ha, this means you

      17   lose the bulk of your claim.

      18        That 2011 decision, they argued it, and we went up and

      19   down to the appellate court multiple times to demonstrate

      20   that's not true.

      21        And Your Honor, we lay out a little snippet of that on

      22   Page 5 of our reply brief.     I'm not going to get into all of

      23   the substance of decisions that happened since 2011, because

      24   that's what you were told matters here, but I'll just briefly

      25   quote that in rejecting summary judgment, denying summary




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       1   judgment that Highland had right before the trial, when they

       2   said, hey, there's no breach of duty of an implied good faith

       3   and fair dealing, hey, this 2011 decision kills your case,

       4   hey, most of your damages can't be asserted, the Court said --

       5   the district court rejected it.      And the appellate court said,

       6   talking about the district -- the trial court, I mean, the

       7   appellate court said, The Court correctly rejected Defendant's

       8   argument because neither our prior decisions nor the doctrine

       9   of res judicata bars Plaintiffs from introducing evidence of

      10   pre-February 24, 2009 conduct, to the extent necessary to

      11   prove with respect to post-[February] 24, 2009 conduct their

      12   alter ego, fraudulent conveyance, and breach of implied

      13   covenant claims.    That is, all three of those claims, the

      14   alter ego claims that actually exist, not that we're being

      15   told that -- and we've been supposedly -- with this, the

      16   fraudulent conveyance claims that are directly against

      17   Highland, and most importantly, because this will give up the

      18   cap, if we win, to the entirety of that $500 million in

      19   damages we suffered, a breach of implied duty of good faith

      20   and fair dealing.

      21        You just heard some terrific new arguments from Mr.

      22   Feinstein and then a little bit from Ms. Mascherin as to why

      23   we're going to probably supposedly lose that.

      24        And again, going back to what Mr. Clemente said, without

      25   getting into the merits, I'll just say we have defeated that




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       1   several times already in New York courts since 2011, that

       2   language they claim -- they tell you means what it doesn't

       3   mean.

       4        They just want a new forum.     They lost in front of Justice

       5   Friedman.   They lost in the appellate court in New York.        We

       6   defeated summary judgment, and we're in the middle of a trial

       7   where we are pursuing these claims.      And now they see this as

       8   a possibility to relitigate in a new forum those exact same

       9   claims.   That's what this comes down to.      We talk about

      10   motivations.    It's clear the motivation is to do what this

      11   Court should not do, which is use Chapter 11 to let them

      12   relitigate cases, not reorganize.

      13        And the third big-picture -- that brings me to my third

      14   big-picture point, Your Honor.      Your Honor, you were told by

      15   Mr. Feinstein the progress of confirming a plan is just

      16   stymied by this one debtor.     And then you were told many other

      17   things.   The success or failure of the plan all -- is all

      18   dependent on UBS's claim.     Ms. Mascherin asserted that she's

      19   having discussions.     And you're sort of being led to believe

      20   that if we just could resolve UBS's claims, if that were

      21   somehow possible in the next month or two, even though it's

      22   enormously complex and it's going to take months, whether they

      23   try and move it here or we finish up in New York City or --

      24   but you're told that, oh, that's just the one thing holding up

      25   the plan.   Your Honor, I can't get into the settlement




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       1   discussions we've had, although you were -- you know, maybe I

       2   can, because I have to rebut the false impression you've been

       3   given.    But I'll say this:   There was a motion filed by

       4   Debtor's counsel a couple days ago, I think maybe Friday,

       5   where they asked for further extensions for the exclusivity

       6   period so that they can continue with their plan.        And in

       7   that, they reference a term sheet that they had signed.         They

       8   said, hey, we've signed this term sheet, and because of that

       9   we're pretty close, give us another 30 days.       And by the way,

      10   that can be extended by two more 30 days.

      11        I can -- let's just leave it at this:      It's Highland's

      12   burden of proof.    They could not satisfy their burden of proof

      13   to honestly tell you that agreeing to that term sheet is

      14   dependent upon how we divvy up the proceeds from liquidating

      15   assets among the creditors.

      16        What I think is clear is that Highland has lots of non-

      17   liquid assets that I believe we're going to be told are going

      18   to take a year or two to turn into anything that would be

      19   available to creditors.     Okay?   It's not like the plan is all

      20   ready to go, they're ready to distribute all the money, and

      21   all the proceeds are getting taken care of, including all the

      22   claims.    That's kind of the impression they led you to

      23   believe.    I mean, Mr. Feinstein basically said it directly.

      24        It's just not true.     If it were true, let them show you

      25   the term sheet.    Let them satisfy what is, by the way, their




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       1   burden of proof.    The cases make it clear that it's our burden

       2   to come forward but then their burden of proof.

       3        They can't do it because it's not true.      And to sit here

       4   and listen to them try to tell you, oh, this is the one thing

       5   holding things up, it's just -- it's on its face -- I don't

       6   know how to characterize it other than to say -- let's just

       7   say politely they've not met their burden of proof to show you

       8   that they're all ready to go with a plan and the one thing

       9   holding it back is whether -- the value of UBS's claim.

      10        So those are the three big-picture things.       And then I'd

      11   just like to respond to some very specific things that were

      12   said and I believe misstated.

      13        Most importantly, I would ask you to look at, please, Page

      14   5 -- 4, 5, and 6 of our reply brief.      People kept saying,

      15   Don't get into the merits.     This is not about the merits.      But

      16   they just want you -- they want to ask you to relitigate the

      17   res judicata issues that have already been decided.

      18        And I say they've been decided.      They get up here and they

      19   tell you, oh, no, they're new issues, or we haven't been

      20   decided, or decided a different way.      Let's just go to Justice

      21   Freidman.   She will have -- she will be able to handle that in

      22   a week, like she did the last one, is my guess.

      23        By the way, Mr. Feinstein bragged that he's the --

      24   supposedly the only New York lawyer here.       That's not true.

      25   I'm barred in New York.     I practice in New York.    I'm barred




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       1   in Ohio.    But I litigate -- and New York and Washington, D.C.

       2   And I daresay I'm the only lawyer here, other than Ms.

       3   Mascherin, I imagine, who has practiced in front of Justice

       4   Friedman.    I practiced in front of Justice Friedman for years

       5   in not just in this case but in other cases, and the notion

       6   that she can't handle this very quickly and effectively and

       7   wouldn't do it very quickly and effectively, for people to

       8   start representing, gee, what it's like to be a New York

       9   lawyer or what happens in New York state court, I think

      10   there's a -- let's just say a difference of opinion.

      11          Certainly, my client -- my client, who is on the phone,

      12   Suzanne Forster, she's also a part of New York.       We're

      13   familiar with the New York courts.      We litigate there quite a

      14   bit.    And the dispar... I mean, it's easy to hit on New

      15   Yorkers, I guess even if you're a New Yorker you can claim to

      16   hit on it, but I'm confident that Justice Friedman will do as

      17   she promised and move this case along.      I can't guarantee you

      18   the trial date, because six months ago, when she -- we were

      19   ready to try the case and we agreed to the delay.        She said,

      20   Great, I'll work on that schedule for you.

      21          Now, COVID happened, right, and that's a crazy, unforeseen

      22   circumstance.    And so I can't predict that COVID will allow a

      23   trial to start back up in September or in January.        Some

      24   people have said different things.

      25          But when you're talking about a matter of months to




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       1   resolve a claim that is so complex that you've heard four

       2   different lawyers tell you totally different things than what

       3   the New York appellate courts have told us, and different from

       4   what Justice Friedman told us, and different than what

       5   Highland's last set of lawyers argued to Justice Friedman, all

       6   of those are the things that we'd get into and not on the

       7   merits if we actually had to deal with the merits of these so-

       8   called threshold issues, which aren't threshold issues, but

       9   that's again why that should be quickly resolved by Justice

      10   Friedman, who would not even let them proceed, I imagine, as

      11   opposed to asking for you to give them another bite at that

      12   apple.

      13        Now, I just want to make sure I address the other things

      14   that they say.

      15        You know, I never heard a single word, of all those

      16   objectors, Your Honor, we filed our reply brief to make sure

      17   that our position was clear.      I argued.   I just heard five

      18   other folks argue.     Not a single one of them told you what's

      19   going to happen to UBS to the extent that it is entitled to

      20   try these same claims against the other defendants that are

      21   still in the case that aren't in bankruptcy court.        I mean,

      22   might say some of the claims are exactly the same.        Fraudulent

      23   conveyance against Multi-Strat, for example, a nondebtor in

      24   New York that we have a $60 to $90 million claim against.

      25   Same facts.    Also, Highland is responsible just for that part




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       1   of the case.    And that's not affected in any way, shape, or

       2   form by any settlement agreement with anyone.

       3        So you've got the exact same claim, basically, the same

       4   facts.    That particular fraudulent transfer, transfer just to

       5   Multi-Strat, we can go after the transferee and we can go

       6   after the transferor.    We have the right to punitives.       All of

       7   it's a jury trial.    That's pending right now in New York.

       8   And how are we not going to be prejudiced if we're going to

       9   argue -- we're going to have to try that case in two separate

      10   courts?   That case is not affected in any way by these so-

      11   called threshold issues.     Not in any way, shape, or form.      Not

      12   by the settlement agreement, not by the res judicata argument.

      13   So, right there, that chunk of, you know, $60 to $90 million,

      14   just that one claim alone.

      15        There are other fraudulent transfers by Highland to itself

      16   and to other entities that also were not subject to the

      17   settlement.    We think there's something like $150 million, at

      18   least, in fraudulent transfers, even if you credited this

      19   settlement wipes out the rest of our fraudulent transfer

      20   claims, an argument that, by the way, is inconsistent with

      21   Highland's previous argument, and we'd be arguing that to you

      22   if we're forced to get to the merits, which, of course, we're

      23   not supposed to do today, even though many of the other

      24   lawyers argued on the merits.

      25        But then we get to breach of duty of good faith and fair




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       1   dealing.    And here is where, Your Honor, I agree, our

       2   language, that one sentence that they jump on in the opening

       3   brief was looser than it should have been.       We said something

       4   like, in the second phase, we'll find out if Highland is

       5   responsible for the $500 million judgment.       And they jumped on

       6   that and they're trying to tell you, aha, that means these

       7   guys have a secret plan to pursue a brand new alter ego theory

       8   and that's the whole plan and that's really what's going on

       9   here.

      10        Your Honor, all that means is, as a practical matter,

      11   Phase I, assess how much money, $500 million, was owed to UBS

      12   as of February 24, 2009, when we filed suit.       Every action

      13   that Highland took after that to ensure that those payments

      14   would not be made -- and there were hundreds of millions of

      15   dollars left after February 24th, 2009 where Highland could

      16   have paid UBS or caused UBS to be paid -- when Highland chose

      17   not to -- and by the way, not only did they choose not to, but

      18   we gave you a little taste of the kind of things they did.

      19   There's an email, I think it's Exhibit 5 to our opening.         I'm

      20   sorry.     Exhibit H.   It -- anyway, there's a -- as you'll see,

      21   there's a brief email chain where they talk about how they're

      22   going to (inaudible) court and then they're going to stymy all

      23   of our opportunity to recover the money.

      24        So the $500 million just is the amount that two of the

      25   Highland entities owed us under a contract that Highland had




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       1   signed.    We have already won, defeated summary judgment and

       2   many appellate decisions that say that every single thing that

       3   Highland did after February 2009 to not cause us to get paid

       4   is potentially a breach of implied duty of good faith and fair

       5   dealing.    That part of our claim is going forward.      That's not

       6   something that Your Honor can -- unless you want to overturn

       7   summary judgment and the appellate -- New York appellate

       8   courts on an issue of New York state law, no matter how much

       9   Mr. Feinstein or Ms. Mascherin would have liked that to be

      10   changed, that's just asking to relitigate a decision that's

      11   already been handed down by the appellate court in New York.

      12   Okay?

      13        And that's why this whole exercise is so terribly

      14   misguided and wrong and why we would suffer terrific prejudice

      15   to (a) have to relitigate those claims.       Assume we win, then

      16   we're going to litigate the rest of our claim, I guess, in

      17   their mind, here against Highland, while litigating a very

      18   similar claim, on similar facts, with the same witnesses, in

      19   front of a jury in New York.      They've apparently abandoned or

      20   were going to remove it and you're going to survive

      21   abstention, or because they didn't say it, maybe they're just

      22   hoping that you agree with them.      But for all the reasons we

      23   cite in our brief, mandatory abstention, leave permissive

      24   abstention, will apply to those claims against the non-

      25   debtors.




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       1        Turning to what Mr. Pomerantz said.      And I think it was

       2   Mr. Pomerantz.    I apologize if it was Mr. Feinstein.        But I

       3   think at one point Mr. Pomerantz jumped in and answered a

       4   question you asked, and that answer was pretty revealing to

       5   what's really going on here.     Okay?

       6        What's really going on here is this isn't just about how

       7   much gets paid to each creditor.      It's not about delaying the

       8   total plan.    It's not about not being able to -- it's not

       9   about getting people paid much faster, because it's going to

      10   take a year or two to liquidate the assets in order to pay any

      11   of the creditors a sufficient amount of money.       It's just

      12   about short-circuiting our right to get a fair determination

      13   of our claim when we're literally in the middle of a trial.

      14        And I daresay none of the cases they've cited to you where

      15   bankruptcy courts have decided to refuse to lift the automatic

      16   stay are ones like this, where a party, after 11 years of

      17   litigation, was in the middle of trial.       We cited those

      18   timeliness cases.    That's something else I didn't hear any

      19   response to by any of the Objectors.      We cite them on -- in

      20   our opening brief, I think on Page 5 of our opening brief.            We

      21   cite several cases that stand for the proposition that

      22   timeliness just means is there going to be a timely

      23   adjudication.    And in those cases, cases that were still in

      24   the summary judgment stage or in the middle of discovery, the

      25   Court said no.    In one case, it was a case that had just been




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       1   filed.   At the same time the bankruptcy was filed, in the

       2   state court, filed in bankruptcy about the same time, the

       3   Court said the bankruptcy -- that's going to move things

       4   along.

       5        Those cases specifically say things like -- we're talking,

       6   talking about a matter of months and not years with an S.         It

       7   easily satisfies the timely requirement.      And for us to be

       8   able -- Page 43 was -- Ms. Tomkowiak reminded me of the

       9   opening brief, we think our cases on timeliness.

      10        Ms. Mascherin.    Ms. Mascherin, by the way, throws out as

      11   an aside that she has a $190 million claim, that the Redeemer

      12   Committee has a $190 million claim.      Frankly, that's not -- we

      13   don't believe that's true.     That claim is not a secured claim.

      14   That claim is subject to many setoffs.      As an economic matter,

      15   frankly, that claim is worth about $90 million maybe at most,

      16   maybe even less.

      17        Now, that's going to be the subject of either a

      18   negotiation, which would be great if Ms. Mascherin is correct

      19   and Highland is working with her in good faith to come to a

      20   resolution of that claim.     If it's a fair number, then that

      21   will be great.    And if not, I guess people will object.

      22        Acis's claim, you know, it needs to be adjudicated or

      23   resolved.   Mr. Daugherty's claim needs to be adjudicated or

      24   resolved.

      25        There's a lot of things that need to happen in this Court,




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       1   along with seeing a plan.     And by the way, the plan that we

       2   expect to see is not going to be dependent on exactly which of

       3   the creditors gets which, based on what we understand as of

       4   this point.    Certainly, it hasn't been demonstrated to be the

       5   case by Highland in its argument.

       6        And so when you talk about doing two things at the same

       7   time, or walking and chewing gum at the same time, there's a

       8   lot of gum and a lot of walking to be chewed by all the other

       9   creditors in this estate and the directors in terms of

      10   figuring out how they're going to liquidate some of these

      11   long-term assets and how money is going to show up not a year

      12   or two years from now but hopefully sooner.

      13        Meanwhile, if you lift the stay, we can go to Judge

      14   Friedman.    We can say to her, hey, remember when you promised

      15   that we'd have a trial in six months?      We realized there's

      16   COVID, but let's do everything else to be all ready to be on

      17   the -- the first in your queue.      And by the way, I'm not

      18   guaranteeing.    I never -- if I -- if you thought I said it, I

      19   didn't, but I certainly would not guarantee we're going to be

      20   first in the queue, but I predict that if we tell Judge

      21   Friedman what's happened here and we ask her if we can be

      22   first in the queue, I suspect we'll have a pretty good shot at

      23   that.   We certainly should be entitled to give it a shot and

      24   to see before we just immediately lose all of our rights in

      25   these cases.




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       1        Your Honor, there are extraordinary circumstances here.

       2   You know, Ms. Mascherin said we have some kind of burden of

       3   proof to show extraordinary circumstances.       That's not the

       4   test.   You know, the test is cause, and then the burden

       5   shifts, as we know from cases.     But there are some pretty

       6   extraordinary circumstances.

       7              THE COURT:    What -- what --

       8              MR. CLUBOK:    We're in the middle of a fight.

       9              THE COURT:    I just -- I can't resist chiming in on

      10   that one, the burden shifting.      I mean, does the burden really

      11   ever shift in this context if we're not talking about assets,

      12   collateral, and equity/no equity?      I'm a little stumped on the

      13   burden shifting that you've argued here.

      14              MR. CLUBOK:    Well, Your Honor, Page 2 and 3 of our

      15   brief sets it out.      Under Section 362(d)(1) of the Bankruptcy

      16   Code, we have the initial burden of producing evidence

      17   establishing a prima facie case that cause exists.       That's the

      18   (inaudible) Self case.     Once that burden is met, however, the

      19   debtor "has the ultimate burden of persuasion or the risk of

      20   non-persuasion as to all stay issues under Section 362(d)(1)."

      21   That's that same case.     And we cite that on Page 2 and 3, and

      22   we also say See also a case from the Fifth Circuit.

      23        So that is the law that we've cited.      The Defendants --

      24   the Objectors, I should say, just hand-wave and just tell you

      25   it's not true, but that's the case law that we've cited that I




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       1   think will stand on the Fifth Circuit and the bankruptcy court

       2   decision that we cited.     But look.   So that will -- that is

       3   the case.    But in any event, we -- there is an inescapable

       4   fact here that we're in the middle of a trial, that there are

       5   non-debtor defendants in that trial, that there's a lot of

       6   overlapping facts.     And by the way, there's a level of

       7   complexity that is so great that the stuff you've heard today

       8   will take us a long, long time for us to explain to you why

       9   it's not true, it's rehashed, it's incorrect, it's already

      10   been decided, or it's been waived.      But it's not, as they say,

      11   in all of these snippet and out-of-context arguments you've

      12   heard while you hear lawyers telling you, hey, we're not

      13   getting into the merits, but now let's just give you a little

      14   preview of the merits, that's all the kind of stuff that

      15   Justice Friedman could deal with so quickly and easily, and

      16   they know it, and that's what's really going on here.

      17        In terms of, you know, what Mr. Shaw said, and I'll just

      18   briefly say, you know, it's not that you get -- you've got to

      19   have a -- you've got -- put it this way.       Because of the stage

      20   of the proceeding, Acis's claim, for example, which I had

      21   heard might be $5 million, but now I hear it might be $100

      22   million, I don't think that's even out of the gate in terms of

      23   litigating.    And if Acis thinks that Your Honor can handle

      24   that more quickly and efficiently, that's why it'll be here.

      25   Or they're happier with you making decisions about that case




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       1   than, you know, the judge behind door number two.       That's

       2   terrific.   That will move along the resolution of what their

       3   claim is, or maybe they'll settle it, ideally, with the

       4   Debtor.

       5        But that claim is so differently-situated than our claim,

       6   which is, after 11 years of litigation, literally in the

       7   middle of a trial, where the judge has already made

       8   credibility determinations, and she was the fact-finder under

       9   part of the case and is going to be the fact-finder under the

      10   second part of the case as well for some of the claims.         So

      11   that's why that's very different.

      12        The last thing I just want to say is we talk about

      13   motivation.   We talk about leverage.     I mean, we haven't been

      14   litigating with Highland for 11 years because it's fun.         I

      15   mean, it's not fun.    I promise you.    Litigating with anyone --

      16   and I will -- I think all the -- I think Ms. Mascherin even

      17   would agree with me that it's not super-fun always litigating

      18   with Highland.    Probably Acis would agree as well.

      19        We've done that not to -- as an ultimate plan to have

      20   leverage in the bankruptcy court.      We pursued that for 11

      21   years because they owed us $500 million in 2009 after we sued.

      22   They had hundreds of millions dollars that they controlled,

      23   and they breached their duty of good faith and fair dealing

      24   and caused fraudulent transfers, such that we've been paid not

      25   one penny, not one penny from Highland, even though this Court




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       1   has -- the New York court has already found that they were

       2   liable to us for $500 million as of that date.

       3        So that's why we've been pursuing them.      It wasn't some

       4   master plan so that one day we could be here in bankruptcy

       5   court and somehow get an unfair shake.      It was so that we

       6   could get a fair resolution of our claim.       And we fought

       7   through all the same arguments I heard today.       I have been in

       8   the New York Court of Appeals five times.       Or four times, I

       9   guess.

      10        By the way -- yeah, four times in the New York Court of

      11   Appeals.   At least three of them since 2011.      I've lost track

      12   of which ones came before or after.      But I've heard these same

      13   arguments over and over again.      I heard them at summary

      14   judgment briefing.    I heard them in the state court at the

      15   trial.   They've been rejected.

      16        To ask Your Honor to give them a new bite at the apple and

      17   to ask you to make an interpretation of these issues that are

      18   surely New York state law, that have been well resolved in New

      19   York state law, that Justice Friedman could decide in her

      20   sleep, and she proved the last time they did it she could

      21   decide in about a week, that's not -- that's not appropriate,

      22   and we've certainly showed good cause and we showed the

      23   prejudice we would be suffering if the Objectors are given the

      24   chance to just relitigate in a new forum issues that have

      25   already been litigated.




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       1              THE COURT:    All right.

       2              MR. CLUBOK:    Thank you.

       3              THE COURT:    Thank you.    Well, I want you all to know

       4   that I thought all of the briefing was spectacular.           It was

       5   extremely well done.     And I want you to know that I spent all

       6   weekend looking at it.     I'm telling you that both to

       7   compliment you and to let you know why I am going to go ahead

       8   and rule on this.

       9        I, my law clerk, we've spent a lot of time looking at your

      10   very wonderfully-prepared pleadings.        And if you saw me

      11   occasionally looking over at my computer when you were

      12   arguing, I was not drifting off, doing something else; I

      13   actually opened the email that Mr. Sosland sent my courtroom

      14   deputy earlier this afternoon with the unredacted UBS reply

      15   and attachments, to make sure I considered that, because that

      16   would have been the only thing that I hadn't reviewed before

      17   coming in here this afternoon.        So I greatly appreciate the

      18   complexity of this 11-year litigation dispute.        I guess the

      19   dispute started earlier than February 2009.

      20        But 362 is obviously the governing statute here.          I have

      21   subject matter jurisdiction, and I'm able to enter a final

      22   order on this motion of UBS.     And applying 362 and the cause

      23   standard, I find that UBS has not established cause to lift

      24   the stay, and I'm going to deny the motion.

      25        First, I will say that I believe the burden has been on




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       1   the Movant here, and the Movant never did get past the 50-yard

       2   line on showing cause.

       3        As many of you noted, cause is a discretionary, highly

       4   discretionary standard that governs the bankruptcy judge's

       5   decision.    Here, there are a number of factors that have made

       6   me decide there is just not cause to lift the stay here.

       7   Timing is, as you would guess, the most critical factor here.

       8   I don't believe UBS, as eloquent as its arguments were, met

       9   its burden of convincing me that things could more timely be

      10   resolved in the state court, or even timely be resolved.

      11        While I certainly have the utmost respect for Justice

      12   Friedman and all of the many years of scaling the learning

      13   curve that she no doubt has here, we have this very

      14   uncomfortable, unpleasant fact, I think we would all agree, of

      15   the COVID pandemic.     None of us can say when things will get

      16   back to normal in the New York state courts.       And the likely

      17   prospects of delay here, we just cannot ignore.        The judge

      18   will have a backlog for all of these months of not having

      19   court hearings, and then who knows when a jury trial can

      20   happen.   So that unpleasant fact does not work to UBS's

      21   advantage here.

      22        Also, the fact that this litigation has already been

      23   pending over 11 years and only very recently resulted in a

      24   written ruling in Phase I, I think is a very unpleasant fact

      25   here.   While all of the prior rulings may set things up for




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       1   Phase II to go more rapidly, I'm just not convinced that a

       2   state court anywhere would have the rapid focus that any

       3   bankruptcy court will have, this one or any bankruptcy court

       4   would have in getting a proof of claim resolved, especially an

       5   allegedly $1 billion proof of claim that the whole

       6   reorganization strategy hinges on.

       7        Here, this Court has the capacity to address even a very

       8   complicated proof of claim objection very fast.       We have been

       9   up and running, doing evidentiary video hearings for a couple

      10   of months now.    Even in this building in the past few months,

      11   there have been live in-person hearings on rare occasion in

      12   the bankruptcy court, but we have had a handful of them

      13   amongst the bankruptcy judges, and the criminal judges are

      14   still having live in-person hearings all through the pandemic,

      15   and I think our chief district judge is empaneling a jury for

      16   the first time this month.

      17        So, while anything can change here for the worst as far as

      18   the pandemic, I feel like the timing issues heavily weigh in

      19   favor of us being able to resolve a UBS proof of claim faster

      20   here with a bench trial.

      21        This Debtor cannot wait years for this UBS claim of

      22   liability of Highland to be resolved.      I will vow to get

      23   through this promptly and give you thorough attention, just as

      24   I'm sure Justice Freidman has done.      But we just cannot have

      25   the massive uncertainty of a potentially $1 billion proof of




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       1   claim delay this case.

       2        Someone called UBS the one billion dollar gorilla in the

       3   room.    That's, I think, an apt description.     So, timing here

       4   is the biggest problem for UBS.      I think a delay here that I

       5   believe would be inherent if the state court adjudicated Phase

       6   II would be very harmful to this Debtor's reorganization

       7   prospects and the other creditors.

       8        Other factors that the Court is, of course, supposed to

       9   consider in this context -- judicial economy, judicial

      10   efficiency, burden on the parties, equities -- I do not think

      11   that any of these have been shown here to obviously favor

      12   lifting of the stay.     So the motion is denied.

      13        I do want to reiterate to people, I am not going to

      14   relitigate anything that Justice Friedman has decided.         I will

      15   be careful not to do that.     And so be careful what you ask me

      16   to do.    I am going to respect the comity of the state court on

      17   matters that have already been decided by her.

      18        I'm also not going to litigate UBS's claims against non-

      19   debtor affiliates, unless somehow there's mass movement for me

      20   to do that that I'm convinced I should do that.        So this will

      21   just be UBS filing a proof of claim against the Debtor,

      22   Highland Capital Management, LP, and presumably the objection,

      23   and then the trial on the merits, a bench trial on the merits.

      24        I guess I should just reiterate for the record what I

      25   hinted at early on, that I'm overruling UBS's argument that




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       1   the Debtor's alleged agreement a few months ago through Scott

       2   Ellington to lift the stay in favor of this litigation going

       3   forward in the New York state court is binding on the Debtor

       4   or other creditors.      Waivers of the automatic stay are

       5   generally not enforceable unless there's an order of the Court

       6   on notice to all the creditors who are beneficiaries of the

       7   automatic stay.    So, no matter what he said, he didn't have

       8   the power, and the other creditors cannot be held to that

       9   alleged agreement.

      10        The last thing -- I mean, not the last thing, the next to

      11   the last thing I'm going to say is the proof of claim -- we'll

      12   say that UBS must file a proof of claim.       Someone threw five

      13   days out there.    We're already past the regular bar date.        So

      14   UBS, any argument you want to make that that's not enough

      15   time, to say -- and Friday is the 19th.

      16              MR. CLUBOK:    Yes, Your Honor.   We would like some

      17   more time on that.

      18        You know, I will say a couple things.      We are here six

      19   months later.    There's one thing I didn't address.      I know

      20   you're not giving us -- you're not going to credit us for the

      21   agreement that was made, but we did rely on that agreement and

      22   did not pursue preparing a proof of claim because we thought

      23   we were in a settlement posture.      I would ask the Court to

      24   give us -- you know, given the nature of this claim and the

      25   size of this, I think it's ambitious now to do it in five




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       1   business days, or June 22nd.      I know there was an original

       2   agreement with that, although I also will note that we were

       3   assured we'd get more time if we needed to for various

       4   reasons, if they were reasonable.

       5        I also, frankly, Your Honor, I hate to raise this, but I

       6   do think we need to look at our appellate options, because

       7   this is going to put us in a situation where we're necessarily

       8   going to be trying this case in two different courts with two

       9   different decisions, and it is fairly -- you know, it is not

      10   the case that there's some plan that's ready to go, that it's

      11   just being held up by UBS's proof of claim.       So I guess we

      12   would ask that we be given some period of time.        You know, I

      13   think we have -- I think we have two weeks to decide whether

      14   or not -- sorry.    Yeah, I think we have two weeks to decide

      15   whether to appeal.     We would like to have at least that long.

      16   Maybe we won't appeal.     That decision has not been made.      I

      17   have to talk to my client.     We'll see how it goes.

      18        We appreciate your ruling, and we -- you know, not --

      19   we're going to appeal, and we'll certainly talk to the Debtor

      20   and the other creditors about that and see if we can work

      21   something out.    But we'd like a fair amount of time to

      22   consider that as an option.     And then, if we do, we certainly

      23   don't want a situation being, which is so easy to fix, that to

      24   -- just like a proof of claim being filed, we lose our right

      25   to end up with a jury trial.      You know, it ultimately makes




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       1   more sense to try all of this in front of one jury, which is

       2   what's going to be the nature of our appeal.

       3         We can do other things like, you know, give the substance

       4   of what would be in a proof of claim, so we can keep moving

       5   things along in this court.     There's other ways to deal with

       6   it.   The Court can make decisions.      But it's a pretty big hit

       7   if we're just forced to do that right away.       And also, given

       8   the circumstances, and the reason we are six months later than

       9   we would be in dealing with all of this is because we did rely

      10   on that promise.    And even if you're not going to hold them to

      11   it, it certainly is why we're here.      We would ask that the

      12   Court issue a ruling that would help us out, given the

      13   circumstances.

      14              MR. FEINSTEIN:   Your Honor, may I be heard on this on

      15   behalf of the Debtor?

      16              THE COURT:   You may.

      17              MR. FEINSTEIN:   Thank you.    For the record, Robert

      18   Feinstein.

      19         Your Honor, there was a -- a briefing schedule that was

      20   fully negotiated with the Debtor and UBS, where it was agreed,

      21   and it's recited in the stipulation, that there would be an

      22   extension of the bar date until the later of June 22nd or five

      23   business days after resolution of this motion.       And we worked

      24   out a briefing schedule on this motion.

      25         So this was already embodied in the document submitted to




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       1   the Court.   So -- and that was prepared well after any notion

       2   that the putative agreement to lift the stay was going to move

       3   forward.

       4        We told Mr. Clubok months ago our position on that, and

       5   the stipulation -- the stipulation with the (garbled) bar date

       6   all came long after that.      Your Honor, we can't rely on the

       7   supposed agreement to buy more time now.      We negotiated with

       8   him to file a proof of claim five business days after Your

       9   Honor's ruling on the motion, if Your Honor denied the motion.

      10   And we think that that -- that we should stick to that.

      11              MR. CLUBOK:    If I may briefly respond.    Of course,

      12   it's ironic that, that agreement, we're to be held to, but the

      13   other agreement that put us in this mess, that should be just

      14   ignored.

      15        I also will say there was an oral assurance by Mr.

      16   Pomerantz toward many of my colleagues that, don't worry,

      17   we'll get more time if we need it, we'll work it out.

      18        I don't even want to get into the circumstances of where

      19   we were when we reached that agreement.      There were medical

      20   issues going on and everyone -- oh, and the other thing is,

      21   when we set that deadline, it was because we were assured by

      22   the Debtor that, well in advance of that, they would give us

      23   an actual offer of settlement that we could start negotiating

      24   settlement numbers.      That was the whole idea.   And they said,

      25   oh, putting it off to June 22nd will be plenty of time.         You




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       1   guys will get -- I think at that time they promised us -- I

       2   can't remember if it was April or early May.         You know, we've

       3   not even seen that.

       4        So that was the whole reason we agreed to set those dates,

       5   was on the representation that we were going to be having

       6   settlement discussions.      Instead, those were cut off, et

       7   cetera.

       8              THE COURT:     All right.    All right.

       9              MR. CLUBOK:     I don't really want to get into the

      10   whole back-and-forth.

      11              THE COURT:     With respect, I've heard enough.

      12        I do want to say, you know, we keep covering this ground

      13   again, but it is crystal clear that a debtor cannot enter into

      14   an agreement to lift the stay that is going to be binding on

      15   all of the creditors and other parties in interest.           It's just

      16   I can't -- you know, I don't know of one case that would be

      17   supportive here of that argument.        You know, maybe -- I don't

      18   know every case that gets decided, but it's -- I think it's

      19   crystal clear.

      20        And it's quite a different thing, informal agreements to

      21   extend deadlines and have scheduling orders.         That's a very

      22   different type of agreement.

      23        But I am going to give the Debtor -- I mean, excuse me,

      24   UBS two weeks.    Okay?    So, well, I'm going to make it close of

      25   business Friday, the 26th.      Okay.    So that will be the




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       1   deadline for UBS to file a proof of claim.        And that's just

       2   the way it's going to be here.

       3        Now, I don't think I have any other housekeeping matters.

       4   I'll just ask Debtor's counsel to draft the form of order and

       5   obviously run it by Mr. Clubok and his team and give them a

       6   reasonable --

       7              MR. FEINSTEIN:    We'll do that.

       8              THE COURT:   -- a reasonable time to respond.          But I

       9   can't imagine it's going to be a very lengthy order.          I

      10   obviously reserve the right to supplement in a written form of

      11   order anything I said orally today that I think I might need

      12   to clarify or elaborate on.

      13        Now, did anyone have any remaining housekeeping matters

      14   before I go into one last topic I want to address regarding

      15   mediation?

      16        All right.    Here's what I'm going to say.     We obviously

      17   have two gorillas, actually, in the room.        I've not studied

      18   the Redeemer Committee proof of claim.        I just know that I

      19   heard from day one that they had approximately a $200 million

      20   proof of claims or claim resulting from an arbitration and all

      21   they lacked was a judgment confirming it.        Okay?   So, you

      22   know, we all know what the courts say about arbitration.            You

      23   know, it's just pretty darn hard to set aside an arbitration

      24   award.   Okay?

      25        So the way I have been viewing this is Redeemer Committee




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       1   is a claim that has to be dealt with.       You know, I don't know,

       2   I haven't studied the proof of claim, I don't know what

       3   arguments, I don't what setoffs may be.      But my guess is

       4   there's not a lot of wiggle room with regard to that claim.

       5        But then you have this one, which I didn't know until the

       6   last few days that UBS didn't actually have a judgment against

       7   Highland.    I mean, at some point UBS comes in, we have a

       8   billion-dollar claim against Highland, and it was only in the

       9   last few days when I started looking at this I appreciated the

      10   fact that, oh, they have a billion-dollar claim against these

      11   two Funds, still, you know, contingent, unliquidated, unknown

      12   what liability Highland is going to have to UBS.

      13        So we've got that gorilla in the room that's making me

      14   think about mediation.     And then Acis.    I well understand the

      15   Acis issues, but oh my goodness, we have this giant adversary

      16   with -- how many counts was it, Tom?      34 counts?

      17               THE CLERK:   Yes.

      18               THE COURT:   Thirty-four counts in the adversary that

      19   Acis -- Reorganized Acis is pursuing against Highland and

      20   HCOLF.   And when the stay went into effect from the Highland

      21   bankruptcy, my law clerk and I had a giant report and

      22   recommendation to the district court that we were soon going

      23   to pull the trigger on, and, oh, well, this is all stayed.

      24        So I don't think Acis has asserted anywhere close to a

      25   billion dollars.    I don't know what the size of the Acis proof




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       1   of claim is.

       2        Mr. Shaw, what is the size of the Acis proof of claim

       3   that's been filed?

       4                MR. SHAW:    At least $70 million, Your Honor.

       5                THE COURT:   Okay.   I knew it made my eyes pop out a

       6   little.   You know, obviously, there are 34 counts and multiple

       7   defendants and unclear dollar amounts associated with each.

       8   But what are we going to do here?

       9        I'm going to start with you, Mr. Pomerantz.       We have too

      10   many years of litigation, too, too many years of litigation.

      11   And I think I said early on it's time to stop litigating and

      12   figuring out how we're going to pay creditors.       But obviously

      13   you have these two biggie unknown ones.       I am thinking about,

      14   do I order mediation (echoing) of the UBS claim?

      15        Someone may not have their phone on mute.       Please put your

      16   phone on mute or your device on mute if you don't have it on

      17   mute.

      18        Okay.    Good.

      19        Do I order mediation of the UBS proof of claim once it's

      20   filed?    Do I order mediation of the Acis proof of claim and

      21   adversary?     Do I get some sort of mediation czar to help with

      22   mediation of the plan?       I hate to go that route, and, you

      23   know, that's a lot of intermeddling with the Debtor-in-

      24   Possession, especially when you've got this fine new board of

      25   directors and whatnot.       But I'm just letting you know what's




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       1   going on in my head.     I don't -- I want people to get off

       2   their litigation mentality and get focused on the end game

       3   here of a plan and everybody getting paid what they're

       4   entitled to sooner rather than later.

       5        So, Mr. Pomerantz, what is your initial reaction to what's

       6   going through my brain?

       7              MR. POMERANTZ:   So, Your Honor, I think Your Honor is

       8   where the board was when it took over on January 9th.         I think

       9   I've appeared before Your Honor on several occasions and told

      10   you that the strategy and the game plan of this board was to

      11   break the culture of Highland, which is litigating, and

      12   attempt to resolve the litigation.

      13        Your Honor has mentioned the three large claims.         There

      14   are others, but these are the three large claims.        They're all

      15   people who sit on the Creditors' Committee.       And as you can

      16   imagine, sitting from a standing start on January 9th, it's

      17   taken -- it took the board quite a while to be in a position

      18   to understand each of the claims.

      19        They came to our firm.     They asked us to do an extensive

      20   analysis of the UBS claim.     We then started to engage UBS in

      21   negotiations.    And they didn't go anywhere.     And quite

      22   frankly, I think at least our side and other -- the Objectors

      23   felt that we needed to have this hearing, that Your Honor's

      24   determination of the relief from stay matter might be a

      25   catalyst to further discussions.      And we are, of course, open




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       1   to further discussions.     We obviously have a big difference in

       2   view of the UBS claim, as does UBS, but we're hoping that, as

       3   a result of this hearing, that that would spur on negotiations

       4   and allow the parties to sit down.

       5        Acis, we are actually going to be meeting with Acis for

       6   the first time on Wednesday in order to discuss their claim.

       7   We've prepared an extensive objection to the claim, which, if

       8   it hasn't already been forwarded to Mr. Shaw and Ms. Patel in

       9   advance of that meeting, will be today.       And we're hoping,

      10   after sitting down with them on Wednesday, that it will be the

      11   first time the board could let Acis know where the board

      12   believes are the concerns and issues with respect to the

      13   claim, that we could have meaningful settlement discussions.

      14        And with Redeemer, we are perhaps the furthest along,

      15   partly because it's the least complex of the three, and we've

      16   had several discussions back and forth.       We would not rule out

      17   mediation.    That may be necessary.    It is not the board's

      18   desire to spend the creditors' money litigating on multiple

      19   fronts with each of these creditors.

      20        However, I think at this point it might be a little

      21   premature.    It may be appropriate to set some kind of a status

      22   conference 30 days from now, where we can approach -- we could

      23   come back to the Court with a further thoughtful

      24   recommendation on whether we think mediation would be

      25   appropriate or whether it wouldn't be appropriate.




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       1         But we're hoping, with, again, this hearing, the meeting

       2   with Acis, and the discussions we had with Redeemer, that we

       3   will be able to make progress.       And if not, litigation may be

       4   necessary, but it may very well mean that some form of

       5   mediation with each of these creditors on their claims is

       6   helpful.

       7         But I would like the opportunity to sit down, talk to the

       8   board about that after the dust clears from this settlement --

       9   this hearing, as well as the further discussions we intend to

      10   have over the next couple of weeks.

      11              THE COURT:   All right.    Well, do you remember, or we

      12   can look it up, when our next hearing is in this case?

      13              MR. POMERANTZ:   I believe we have a hearing on July

      14   8th, Your Honor.

      15              THE COURT:   Okay.

      16              MR. POMERANTZ:   Perhaps we could report to the Court

      17   at that point and have a status conference and be able to

      18   address Your Honor's comments in more detail based upon where

      19   we are then.

      20              THE COURT:   All right.    So that's what we're going to

      21   do.   July 8th, whatever time it is, we're going to add to the

      22   calendar a status conference.      And just so you all know, we're

      23   going to talk about do we need mediation -- again, with regard

      24   to UBS or with regard to Acis or more globally?       So I hope

      25   that you all will give that a lot of thought.       I'm sure you




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       1   will.

       2        Is there anything else, Mr. Pomerantz?

       3              MR. POMERANTZ:    Nothing else, Your Honor.    Thanks for

       4   your time and effort and going through what was mounds of

       5   paper, and the time and effort you spent today as well as

       6   throughout the case.     Thank you, Your Honor.

       7              THE COURT:   All right.   Well, thank you all again.

       8   My compliments.    It was all very well done, so that made it

       9   easier to get through.      All right.   We stand adjourned.

      10        (Proceedings concluded at 4:43 p.m.)

      11                                  --oOo--

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      20                                CERTIFICATE
      21
                I certify that the foregoing is a correct transcript to
      22   the best of my ability from the electronic sound recording of
           the proceedings in the above-entitled matter.
      23      /s/ Kathy Rehling                                 06/17/2020
      24   ______________________________________             ________________
      25   Kathy Rehling, CETD-444                                Date
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  PHPRUDQGXPRIODZ WKH³0HPRUDQGXP´ LQVXSSRUWRIWKHDebtor’s Motion for a Temporary

  Restraining Order and Preliminary Injunction against Certain Entities Owned and/or Controlled

  by Mr. James Dondero WKH³0RWLRQ´ SXUVXDQWWRVHFWLRQV D DQG D RIWLWOHRIWKH

  8QLWHG6WDWHV&RGH WKH³%DQNUXSWF\&RGH´ DQG5XOHVDQGRIWKH)HGHUDO5XOHVRI

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  SUHOLPLQDU\LQMXQFWLRQHQMRLQLQJGHIHQGDQWV+LJKODQG&DSLWDO0DQDJHPHQW)XQG$GYLVRUV/3

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   &DSLWDOL]HGWHUPVQRWGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQWKHDeclaration of Mr. James P.
  Seery, Jr. in Support of the Debtor’s Motion for a Temporary Restraining Order Against Certain Entities Owned
  and Controlled by Mr. James DonderoEHLQJILOHGFRQWHPSRUDQHRXVO\KHUHZLWK WKH³6HHU\'HF´ 

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  OHJDO RU HTXLWDEOH ULJKW WR HQJDJH LQ²WKH 'HEWRU ZLOO EH XQDEOH WR IXOILOO LWV GXWLHV DQG WKH

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  The Advisors and the Funds




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  VXSSRUW RI WKH Motion for Order Imposing Temporary Restrictions on Debtor’s Ability, as

  Portfolio Manager, to Initiate Sales by Non-Debtor CLO Vehicles >'RFNHW 1R @ WKDW ZDV

  EURXJKWE\WKH$GYLVRUVDQG)XQGV WKH³5HVWULFWLRQ0RWLRQ´ 

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               2Q 'HFHPEHU   WKH 'HEWRU ILOHG WKDW FHUWDLQ Motion of the Debtor for

  Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course>'RFNHW1R

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  Debtor’s Motion for a Temporary Restraining Order Against James Dondero>$GY3UR1R

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  GXWLHVDVWKHSRUWIROLRPDQDJHURIFHUWDLQ&/2VE\LPSHGLQJDQ\DWWHPSWHGVDOHRIDVVHWV$IWHU

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  JUDQWHG WKH 'HEWRU¶V PRWLRQ IRU D GLUHFWHG YHUGLFW DQG VXEVHTXHQWO\ HQWHUHG DQ RUGHU GHQ\LQJ

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  &      'HIHQGDQWV,QWHUIHUHZLWKDQG,PSHGHWKH'HEWRU¶V%XVLQHVVDQG
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  LQLWLDWLQJ WKH SURFHVV IRU UHPRYLQJ WKH 'HEWRU DV WKH SRUWIROLR PDQDJHU RI WKH &/2V  6XFK




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  FRQGXFWDOVRYLRODWHVWKH2UGHUVDQG IORXWV WKH &RXUW¶V GHFLVLRQ RQ WKH 5HVWULFWLRQ 0RWLRQ DQG

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  0U'RQGHURSee Declaration of Mr. James P. Seery, Jr. in Support of Debtor’s Motion for a

  Temporary Restraining Order Against Mr. James Dondero>$GY3UR1R'RFNHW1R@

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  0DQDJHPHQW $JUHHPHQWV FDQQRW EH GLVSXWHG WKH\ DUH LQ ZULWLQJ  DQG VXFK LQWHUIHUHQFH LV

  FDXVLQJWKH'HEWRU¶VHVWDWHLUUHSDUDEOHGDPDJHV0RUHRYHUWKHUHOLHIVRXJKW²WKHSURWHFWLRQRI

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  HQJDJLQJLQWKH3URKLELWHG&RQGXFW,UUHSDUDEOHKDUPLV³DKDUPµIRUZKLFKWKHUHLVQRDGHTXDWH

  UHPHG\ DW ODZ¶´ OGA Charters,  %5 DW  TXRWLQJ Daniels Health Scis., L.L.C. v.

  Vascular Health Scis., L.L.C.  )G   WK &LU   see also Compass Bank v.

  Veytia (3&9350  :/  DW  :' 7H[ 6HSW    ³7KH

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  ODZ VXFK DV PRQHWDU\ GDPDJHV¶´  TXRWLQJ Janvey v. Alguire  )G   WK &LU

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  WKHLQWHUHVWRIDFUHGLWRURULUUHSDUDEOHKDUPWRWKHEDQNUXSWF\HVWDWH´In re Hunt%5

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  IDFW WKDW HFRQRPLF GDPDJHV PD\ EH DYDLODEOH GRHV QRW DOZD\V PHDQ WKDW D UHPHG\ DW ODZ LV

  µDGHTXDWH¶´ Compass Bank  :/  DW  FLWLQJ Janvey  )G DW  

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  ZLOO IDFH LPPLQHQW DQG LUUHSDUDEOH KDUP WKDW FDQQRW EH DGHTXDWHO\ UHPHGLHG  ,I 'HIHQGDQWV

  FRQWLQXH WR HQJDJH LQ WKH 3URKLELWHG &RQGXFW WKH 'HEWRU¶V DELOLW\ WR SHUIRUP XQGHU WKH &/2

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  WKH KDUP LV WKXV WKH QRW PHUHO\ ³VSHFXODWLYH WKHRUHWLFDO RU UHPRWH´ EXW LPPLQHQW DQG

  LUUHSDUDEOHFiberTower Network Services%5DW

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  )GDW LQWHUQDOTXRWDWLRQVRPLWWHG 0RUHRYHUWKHUHOHYDQW³PHULWV´TXHVWLRQLQWKLVFDVHLV

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  DUJXPHQW ZLOO WUDFN FORVHO\ WKH EDQNUXSWF\ ULJKW VRXJKW WR EH YLQGLFDWHG´  see also Hunt 

  %5 DW  ³>W@KH LQTXLU\ >IRU VXFFHVV RQ WKH PHULWV@ IRU D SUHOLPLQDU\ LQMXQFWLRQ QHFHVVDULO\

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  ZLOOEHGHFLGHG´UDWKHUWKDQVXFFHVVRQWKHPHULWV³VRWKDWUHRUJDQL]DWLRQHIIRUWVPDQGDWHGE\WKH

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  XQGHUO\LQJ FODLP  7R VXFFHHG RQ D FODLP IRU WRUWLRXV LQWHUIHUHQFH ZLWK FRQWUDFW WKH SODLQWLII

  PXVW VKRZ   WKH H[LVWHQFH RI D YDOLG FRQWUDFW   WKH GHIHQGDQW ZLOOIXOO\ DQG LQWHQWLRQDOO\

  LQWHUIHUHGZLWKWKHFRQWUDFW  WKHLQWHUIHUHQFHZDVDSUR[LPDWHFDXVHRIWKHSODLQWLII¶VLQMXULHV

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  SHUVXDGLQJDSDUW\WREUHDFKDFRQWUDFWRURWKHUZLVHFDXVLQJWKHFRQWUDFWWREHPRUHGLIILFXOWWR
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  $JUHHPHQWV E\ DPRQJ RWKHU WKLQJV   WKUHDWHQLQJ WR LQLWLDWH WKH SURFHVV IRU UHPRYLQJ WKH

  'HEWRUDVWKHSRUWIROLRPDQDJHURIWKH&/2V  UHIXVLQJWRDOORZWKHVDOHRIFHUWDLQ&/2DVVHWV

  DQG VHFXULWLHV LQ GLUHFW FRQWUDYHQWLRQ RI WKH %RDUG¶V H[SOLFLW EXVLQHVV MXGJPHQW DQG

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  GHFLVLRQV FRQFHUQLQJ WKH SXUFKDVH RU VDOH RI DQ\ DVVHWV RQ EHKDOI RI WKH &/2V  6XFK

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  ZDUUDQWHGIRUWKHSXUSRVHRISURWHFWLQJWKH%RDUG¶VDELOLW\WRPDQDJHWKH'HEWRU¶VDVVHWVDQGLQ

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  )XUWKHUPRUH DV QRWHG DERYH WKHUH FDQ EH QR FUHGLEOH GLVSXWH WKDW 'HIHQGDQWV HQJDJHG LQ WKH

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  &        7KH(TXLWLHV6WURQJO\)DYRUWKH'HEWRU

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  DQG DELOLW\ WR SHUIRUP DQG IXOILOO LWV GXWLHV DV SRUWIROLR PDQDJHU WR WKH &/2V XQGHU WKH &/2

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  Burman Assocs.)%5 %DQNU('1< ,QRWKHUZRUGV³>L@QEDQNUXSWF\

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  WKDWHVWDWH´OGA Charters%5DWsee also In re Hunt%5DW ³&KDSWHU

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  ³SLOODU RI EDQNUXSWF\ E\ SUHVHUYLQJ D GHEWRU¶V « DVVHWV WKDW FDQ EH SRWHQWLDOO\ XVHG WR VDWLVI\

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  UHOLHI LV JUDQWHG´ IXUWKHU QRWLQJ WKDW ³LI WKH 'HEWRUV ZHUH WR OLTXLGDWH WKHLU HPSOR\HHV DQG

  FXVWRPHUVZRXOGEHDGYHUVHO\DIIHFWHG´ %\FRQWUDVWWKHSXEOLFLQWHUHVWZRXOGQRWEHVHUYHG

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   December 22, 2020                                                           A. Lee Hogewood, III
                                                                               Lee.hogewood@klgates.com

                                                                               T: 1-919-743-7306




   Jeffrey N. Pomerantz
   Ira D. Kharasch
   John A. Morris
   Gregory V. Demo
   Hayley R. Winograd
   Pachulski Stang Ziehl & Jones, LLP
   10100 Santa Monica Blvd., 13th Floor
   Los Angeles, CA 90067

   Dear Counsel:

           I am writing to you on behalf of our clients Highland Capital Management Fund Advisors, L.P.
   (“HMCFA”) and NexPoint Advisors, L.P. (“NexPoint”, and together with HCMFA, the “Advisors”), and
   Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc. (together, the
   “Funds”). CLO Holdco, Ltd. ("CLO Holdco") whose counsel is copied below, joins in this notice and
   request.

           As you are aware, certain registered investment companies and a business development
   company managed by either NexPoint or HCMFA own preference shares in many of the CLOs. In the
   following cases those companies own a majority of such shares1:

       x    Stratford CLO, Ltd. 69.05%
       x    Grayson CLO, Ltd. 60.47%
       x    Greenbriar CLO, Ltd. 53.44%




   1
    These ownership percentages are derived from information provided by the Debtor. If the Debtor contends that
   the ownership percentages are inaccurate, please inform us of the Debtor’s differing calculations.


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                                                                                        December 22, 2020
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          In other cases, such companies in combination with CLO Holdco hold all, a super-majority, or a
  majority of the preference shares in the following CLOs:

         x   Liberty CLO, Ltd. 70.43%
         x   Stratford CLO, Ltd. 69.05%* 2
         x   Aberdeen Loan Funding, Ltd. 64.58%
         x   Grayson CLO, Ltd. 61.65%*
         x   Westchester CLO, Ltd. 58.13%
         x   Rockwall CDO, Ltd. 55.75%
         x   Brentwood CLO, Ltd. 55.74%
         x   Greenbriar CLO, Ltd. 53.44%*

             Additionally, such companies own significant minority stakes in the following CLO’s:

         x   Eastland CLO, Ltd. 41.69%
         x   Red River CLO, Ltd. 33.33%

          The ownerships described above represent in many cases the total remaining outstanding
  interests in such CLOs, because the noteholders have been paid in full. In others, the remaining
  noteholders represent only a small percentage of remaining interests. Thus, the economic ownership of
  the registered investment companies, business development company, and CLO Holdco largely
  represent the investors in the CLOs identified above.

            Contractually, the Debtor is obligated to maximize value for the benefit of the preference
  shareholders. Accordingly, we respectfully request that no further dispositions of CLO interests occur
  pending the confirmation hearing. While we recognize the Court denied the Advisor and Funds motion
  on this subject, the Court did not require liquidations occur immediately, and we reserve all rights to
  and remedies against the Debtor should the Debtor continue to liquidate CLO interests in contravention
  of this joint request. Given the Advisor, Funds, and CLO Holdco's requests, it is difficult to understand
  the Debtor's rationale for continued liquidations, or the benefit to the Debtor from pursuing those sales.

           As you know, HCMLP’s duties are set forth in the portfolio management agreements of the
  CLOs, which themselves have been adopted under the Investment Advisers Act of 1940 (“Advisers Act”).
  As HCMLP readily admits, it is: (i) terminating employees on January 31, 2021, which will result in a loss
  of the employees that have traditionally serviced those CLOs; (ii) ignoring the requests of the Advisors,
  Funds, and CLO Holdco, which together account for all or a majority of interests in certain CLOs, and
  selling assets of those CLOs prior to plan-confirmation; and (iii) adding a replacement manager as
  subadviser prior to January 31, 2021. The Advisors, Funds, and CLO Holdco assert that those actions run
  in contravention to HCMLP's duty to maximize value for the holders of preference shares and thus what
  HCMLP has agreed to under the portfolio management agreement, as well as its duties under the
  Advisers Act, which ultimately will adversely impact the economic owners noted above.


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      CLO’s marked with an asterisk (*) appear in the foregoing list as well.


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           For the forgoing and other reasons, we request that no further CLO transactions occur at least
  until the issues raised by and addressed in the Debtor’s plan are resolved at the confirmation hearing.



  Sincerely,

  A. Lee Hogewood, III
  A. Lee Hogewood, III




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                                         2722




  December 23, 2020                                                           A. Lee Hogewood, III
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  request.

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  company managed by either NexPoint or HCMFA own preference shares in many of the CLOs. In the
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          The ownerships described above represent in many cases the total remaining outstanding
  interests in such CLOs, because the noteholders have been paid in full. In others, the remaining
  noteholders represent only a small percentage of remaining interests. Thus, the economic ownership of
  the registered investment companies, business development company, and CLO Holdco largely
  represent the investors in the CLOs identified above.

           In pleadings filed with the Bankruptcy Court, you asserted that one or more of the entities
  identified above lacked the authority to seek a replacement of the Debtor as fund manager because of
  the alleged affiliate status of the beneficial owners of such entities. We disagree.

           Consequently, in addition to our request of yesterday, where appropriate and consistent with
  the underlying contractual provisions, one or more of the entities above intend to notify the relevant
  trustees and/or issuers that the process of removing the Debtor as fund manager should be initiated,
  subject to and with due deference for the applicable provisions of the United States Bankruptcy Code,
  including the automatic stay of Section 362. The basis for initiating the process for such removal
  includes, but is not limited to, the fact that HCMLP’s duties, as set forth in the portfolio management
  agreements of the CLOs, are subject to the requirements of the Investment Advisers Act of 1940
  (“Advisers Act”). HCMLP appears to be acting contrary to those duties under the agreements and where
  HCMLP is not fulfilling its duties under the portfolio management agreement it is therefore violating the
  Advisers Act. Thus, because HCMLP is (i) terminating employees on January 31, 2021, which will result in
  a loss of the employees that have traditionally serviced, including key investment professionals
  identified in the transactional documents for those CLOs (generally Mark Okada and Jim Dondero); (ii)
  ignoring the requests of the Advisors, Funds, and CLO Holdco, which together account for all or a
  majority of interests in certain CLOs, and selling assets of those CLOs prior to plan confirmation; (iii)


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      CLO’s marked with an asterisk (*) appear in the foregoing list as well.


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  adding a replacement manager as subadviser prior to January 31, 2021; and (iv) for other cause, the
  Advisors, Funds, and CLO Holdco have concluded that they have no choice but to initiate HCMLP’s
  removal as fund manager where such entities are contractually and legally permitted or obligated to do
  so.

          Because the process of removal is being initiated, subject to the applicable provisions of the
  Bankruptcy Code, we respectfully request that no further CLO transactions occur at least until the issues
  raised by and addressed in the Debtor’s plan are resolved at the confirmation hearing. To the extent
  there are CLO transactions prior to the confirmation, we intend to fully explore the business justification
  for doing so, as we do not believe there is any rational business reason to liquidate securities prior to
  that time.



  Sincerely,

  A. Lee Hogewood, III
  A. Lee Hogewood, III




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                                                Exhibit A




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   Dear Counsel:

           I am writing to you on behalf of our clients Highland Capital Management Fund Advisors, L.P.
   (“HMCFA”) and NexPoint Advisors, L.P. (“NexPoint”, and together with HCMFA, the “Advisors”), and
   Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital, Inc. (together, the
   “Funds”). CLO Holdco, Ltd. ("CLO Holdco") whose counsel is copied below, joins in this notice and
   request.

           As you are aware, certain registered investment companies and a business development
   company managed by either NexPoint or HCMFA own preference shares in many of the CLOs. In the
   following cases those companies own a majority of such shares1:

       x    Stratford CLO, Ltd. 69.05%
       x    Grayson CLO, Ltd. 60.47%
       x    Greenbriar CLO, Ltd. 53.44%




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    These ownership percentages are derived from information provided by the Debtor. If the Debtor contends that
   the ownership percentages are inaccurate, please inform us of the Debtor’s differing calculations.


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          In other cases, such companies in combination with CLO Holdco hold all, a super-majority, or a
  majority of the preference shares in the following CLOs:

         x   Liberty CLO, Ltd. 70.43%
         x   Stratford CLO, Ltd. 69.05%* 2
         x   Aberdeen Loan Funding, Ltd. 64.58%
         x   Grayson CLO, Ltd. 61.65%*
         x   Westchester CLO, Ltd. 58.13%
         x   Rockwall CDO, Ltd. 55.75%
         x   Brentwood CLO, Ltd. 55.74%
         x   Greenbriar CLO, Ltd. 53.44%*

             Additionally, such companies own significant minority stakes in the following CLO’s:

         x   Eastland CLO, Ltd. 41.69%
         x   Red River CLO, Ltd. 33.33%

          The ownerships described above represent in many cases the total remaining outstanding
  interests in such CLOs, because the noteholders have been paid in full. In others, the remaining
  noteholders represent only a small percentage of remaining interests. Thus, the economic ownership of
  the registered investment companies, business development company, and CLO Holdco largely
  represent the investors in the CLOs identified above.

            Contractually, the Debtor is obligated to maximize value for the benefit of the preference
  shareholders. Accordingly, we respectfully request that no further dispositions of CLO interests occur
  pending the confirmation hearing. While we recognize the Court denied the Advisor and Funds motion
  on this subject, the Court did not require liquidations occur immediately, and we reserve all rights to
  and remedies against the Debtor should the Debtor continue to liquidate CLO interests in contravention
  of this joint request. Given the Advisor, Funds, and CLO Holdco's requests, it is difficult to understand
  the Debtor's rationale for continued liquidations, or the benefit to the Debtor from pursuing those sales.

           As you know, HCMLP’s duties are set forth in the portfolio management agreements of the
  CLOs, which themselves have been adopted under the Investment Advisers Act of 1940 (“Advisers Act”).
  As HCMLP readily admits, it is: (i) terminating employees on January 31, 2021, which will result in a loss
  of the employees that have traditionally serviced those CLOs; (ii) ignoring the requests of the Advisors,
  Funds, and CLO Holdco, which together account for all or a majority of interests in certain CLOs, and
  selling assets of those CLOs prior to plan-confirmation; and (iii) adding a replacement manager as
  subadviser prior to January 31, 2021. The Advisors, Funds, and CLO Holdco assert that those actions run
  in contravention to HCMLP's duty to maximize value for the holders of preference shares and thus what
  HCMLP has agreed to under the portfolio management agreement, as well as its duties under the
  Advisers Act, which ultimately will adversely impact the economic owners noted above.


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      CLO’s marked with an asterisk (*) appear in the foregoing list as well.


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           For the forgoing and other reasons, we request that no further CLO transactions occur at least
  until the issues raised by and addressed in the Debtor’s plan are resolved at the confirmation hearing.



  Sincerely,

  A. Lee Hogewood, III
  A. Lee Hogewood, III




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  December 28, 2020                                                         A. Lee Hogewood, III
                                                                            Lee.hogewood@klgates.com

                                                                            T: 1-919-743-7306


  Via Email

  Gregory V. Demo
  Pachulski Stang Ziehl & Jones, LLP
  10100 Santa Monica Blvd., 13th Floor
  Los Angeles, CA 90067

  Dear Counsel:

           Thank you for your letters of December 24, 2020, demanding a reply by the afternoon of the 28th.
  To cut to the chase, we decline to withdraw the letters of December 22 and 23, 2020. The letter dated
  December 22, 2020 was a request from counsel for the Funds and Advisors, as well as Holdco, to you as
  counsel for the Debtor, asking that the Debtor cease further trading in property you have acknowledged
  is not an asset of the Debtor’s estate. The request is continuing. The letter dated December 23, 2020 was
  notification from counsel for the Funds and Advisors, as well as Holdco, to you as counsel for the Debtors
  that the process to remove the Debtor as manager of certain funds would be initiated, subject to
  applicable orders in the pending bankruptcy case, provisions of the Bankruptcy Code and, specifically the
  automatic stay.

           Neither letter was presented to, or constituted a request for relief from, any court. Thus, your
  threat to seek sanctions under Rule 9011 would not seem to be actionable or otherwise warranted by
  existing law. That said, if you believe there is authority for seeking 9011 sanctions against a party or a
  lawyer based upon either a request or a notification exclusively between counsel, please provide and we
  will certainly consider it. I would add that the demand to respond within a single business day, over an
  intervening holiday, is not in compliance with Rule 9011 in any event. Given that the rule is inapplicable,
  the procedural infirmity of your demand is immaterial.

           Substantively, please consider the following:




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           First, there is no confusion on the part of our Firm or our client that our motion was denied. Thus,
  the Debtor is not prohibited from engaging in sales of CLO assets. Because the Debtor is free to do so,
  however, does not mean that the Debtor must engage in such transactions. The Debtor has acknowledged
  that the assets it has sold and may sell are expressly not property of the estate. Thus, any benefits of such
  transactions to the estate are not evident. On the other hand, the parties holding a majority of the
  beneficial interests in the assets have requested, and continue to request, that the Debtor refrain from
  selling those assets for a short time. What is the harm in refraining?

           Second, in order to pursue the trades over the last several days, the Debtor has initiated the
  trades, as we understand it, by giving instructions to a trading desk other than Highland Capital
  Management Fund Advisors (“HCMFA”). The Debtor has demanded that employees of HCMFA “book” or
  “settle” the trades. Having not initiated the trades and with the trades executed outside of compliance
  protocols including HCMLP’s order management system, HCMFA employees have been reluctant to do so
  because, among other reasons, they did not initiate them and cannot be sure such trades were properly
  pre-cleared. The Debtor presently has adequate staff and resources to process and settle trades without
  requiring involvement of HCMFA employees. In short, if the Debtor wishes to make trades, it has the
  ability to make them without HCMFA’s assistance. If the Debtor desires or requires the continued support
  of HCMFA to make such trades, we should discuss an appropriate protocol and payment for such support.

          Third, the Debtor’s view that the historic affiliate relationship between it, the Funds, the Advisors
  and Holdco precludes those entities from replacing management is misplaced. While Mr. Dondero was
  never a control person of Holdco, we acknowledge he was once a control person in connection with many
  of the relevant entities. There is no doubt that Mr. Dondero no longer has control over the activities of
  the Debtor as fund manager, and thus the affiliate status that might have precluded the Funds and
  Advisors from seeking the removal and replacement of the fund manager no longer exists. Indeed, in the
  transcript of the hearing of December 16, at which the Court denied my clients’ motion, Debtor’s counsel
  made crystal clear that the Debtor’s board had no interest in speaking with Mr. Dondero and further that
  Mr. Seery viewed discussions with Mr. Dondero as “a waste of time.” Once Mr. Dondero ceased to be a
  control person or employee of the Debtor, any affiliate status between the Debtor on the one hand and
  the Advisers and the Funds on the other also terminated. This termination was effective pursuant to both
  Investment Company Act of 1940 (the “1940 Act”) and the Indentures governing the CLOs. Having
  reviewed these facts with the 1940 Act experts in our Firm, we are confident that affiliate status is no
  longer an impediment to removal.

           In view of the foregoing, I suggest that the parties could benefit from a call this week to discuss
  our competing communications and perhaps broader questions as well. Please let me know your
  availability over the next few days and I will work to coordinate a call.

  Warm regards,

  A. Lee Hogewood, III
  A. Lee Hogewood, III


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  Cc: (via email)

  Jeffrey N. Pomerantz
  Ira D. Kharasch
  John A. Morris
  Hayley R. Winograd

  John J. Kane

  George Zornado
  R. Charles Miller




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 Counsel for Highland Capital Management, L.P.

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   In re Life Partners Holdings, Inc.
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   In re OGA Charters, LLC
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   Janvey v. Alguire
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   Justin Indus., Inc. v. Choctaw Sec., L.P.
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   La Union Del Pueblo Entero v. Fed. Emergency Mgmt. Agency
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   Lake Charles Diesel, Inc. v. Gen. Motors
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   Lazarus Burman Assocs. v. Nat'l Westminster Bank U.S.A. (In re Lazarus Burman Assocs.)
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   MacArthur Co. v. Johns–Manville Corp. (In re Johns–Manville Corp.)
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   Martinez v. Matthews
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   Miss. Power & Light Co. v. United Gas Pipe Line
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   Pipkin v. JVM Operating, L.C.
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   RoDa Drilling Co. v. Siegal
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   Rush v. Nat'l Bd. of Med. Examiners
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   SAS Overseas Consultants v. Benoit
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   Texas v. Ysleta Del Sur Pueblo
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  PHPRUDQGXPRIODZ WKH³0HPRUDQGXP´ LQVXSSRUWRIWKHDebtor’s Motion for a Mandatory

  Injunction Requiring the Advisors to Adopt and Implement a Plan for the Transition of Services

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   &DSLWDOL]HGWHUPVQRWGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQWKHDeclaration of Mr. James P.
  Seery, Jr. in Support of the Debtor’s Motion for a Mandatory Injunction Requiring the Advisors to Adopt and
  Implement a Plan for the Transition of Services by February 28, 2021 WKH ³6HHU\ 'HFODUDWLRQ´  EHLQJ ILOHG
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   The Debtor’s Shared Services Agreement with HCMFA

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   WHUPLQDWHWKLV$JUHHPHQWZLWKRUZLWKRXWFDXVHXSRQDWOHDVWGD\VDGYDQFHZULWWHQQRWLFHDW

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   The Debtor’s Shared Services Agreement with NPA

                7KH 'HEWRU DQG 13$ DUH SDUWLHV WR WKDW FHUWDLQ Amended and Restated Shared

   Services AgreementHIIHFWLYHDVRI-DQXDU\6HHU\'HF([KLELW&




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   UHGXFH VWDII UHMHFW FHUWDLQ FRQWUDFWV DQG PRQHWL]H LWV DVVHWV FRQVLVWHQW ZLWK PD[LPL]LQJ YDOXH

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   VHUYLFHV WR WKRVH 5HODWHG (QWLWLHV  7KH 'HEWRU EHOLHYHV WKDW WKH FRQWLQXHG SURYLVLRQ RI WKH VHUYLFHV XQGHU VXFK
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  $JUHHPHQWVZKLFKLVZK\LWSXEOLFO\VWDWHGLWVLQWHQWLRQLQWKH7KLUG$PHQGHG3ODQ DQGHDFK

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   FDWDVWURSKLF FRQVHTXHQFHV IRU WKH )XQGV DQG WKHLU LQYHVWRUV WKDW ZRXOG UHVXOW IURP DQ DEUXSW

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   QHFHVVDU\ WR ³SURWHFW WKH LQWHJULW\ RI WKH EDQNUXSWF\ HVWDWH´ DQG WR ³HQMRLQ DFWLRQV WKDW µPLJKW

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   LQMXQFWLRQ DV OLNHOLKRRG RI VXFFHVV LUUHSDUDEOH KDUP EDODQFH RI WKH HTXLWLHV DQG WKH SXEOLF

   LQWHUHVW In re Commonwealth Oil Ref. Co., Inc.)G WK&LU  VDPH La

   Union Del Pueblo Entero v. Fed. Emergency Mgmt. Agency)G WK&LU 

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                $PDQGDWRU\SUHOLPLQDU\LQMXQFWLRQ²WKDWLVDSUHOLPLQDU\LQMXQFWLRQWKDWRUGHUV

   DSDUW\WR³WDNHDFWLRQ´RUSHUIRUPDVRSSRVHGWRDSURKLELWRU\SUHOLPLQDU\LQMXQFWLRQ²VHHNVWR

   DOWHU WKH status quo SULRU WR OLWLJDWLRQ UDWKHU WKDQ PDLQWDLQ LW. See Davis v. Angelina College

   Board of Trustees1R&9:/ ('7H[ Texas v. Ysleta Del

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                 7KH IDFWRUV IRU DVVHVVLQJ D PDQGDWRU\ RU SURKLELWRU\ LQMXQFWLRQ DUH WKH VDPH

   DOWKRXJKDSODLQWLIIVHHNLQJDPDQGDWRU\LQMXQFWLRQPXVWVKRZD³FOHDUHQWLWOHPHQW´WRWKHUHOLHI

   VRXJKW  Texas, :/DW  FLWLQJ Justin Indus., Inc. v. Choctaw Sec., L.P. 

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   EHDUVWKHEXUGHQRIVKRZLQJDFOHDUHQWLWOHPHQWWRWKHUHOLHIXQGHUWKHIDFWVDQGWKHODZ´ see

   also Martinez v. Matthews  )G   WK &LU   QRWLQJ WKDW LQ RUGHU IRU

   PDQGDWRU\ LQMXQFWLRQV WR LVVXH SODLQWLII PXVW VKRZ WKDW WKH ³IDFWV DQG WKH ODZ FOHDUO\ IDYRUV´

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   LQMXQFWLRQLVZDUUDQWHGWKH)LIWK&LUFXLWKDVFDXWLRQHGWKDWWKHIRFXVPXVWEHRQWKHSUHYHQWLRQ

   RILQMXU\UDWKHUWKDQSUHVHUYLQJWKH³VWDWXVTXR´

            ,WPXVWQRWEHWKRXJKWKRZHYHUWKDWWKHUHLVDQ\SDUWLFXODUPDJLFLQWKHSKUDVH
            µVWDWXV TXR¶  The purpose of a preliminary injunction is always to prevent
            irreparable injury so as to preserve the court’s ability to render a meaningful
            decision on the merits  ,W RIWHQ KDSSHQV WKDW WKLV SXUSRVH LV IXUWKHUHG E\
            SUHVHUYDWLRQRIWKHVWDWXVTXREXWQRWDOZD\V,IWKHFXUUHQWO\H[LVWLQJVWDWXVTXR
            LWVHOI LV FDXVLQJ RQH RI WKH SDUWLHV LUUHSDUDEOH LQMXU\ LW LV QHFHVVDU\ WR DOWHU WKH
            VLWXDWLRQ VR DV WR SUHYHQW WKH LQMXU\ HLWKHU E\ UHWXUQLQJ WR WKH ODVW XQFRQWHVWHG
            VWDWXVTXREHWZHHQWKHSDUWLHVE\WKHLVVXDQFHRIDPDQGDWRU\LQMXQFWLRQRUE\
            DOORZLQJWKHSDUWLHVWRWDNHSURSRVHGDFWLRQWKDWWKHFRXUWILQGVZLOOPLQLPL]HWKH
            LUUHSDUDEOHLQMXU\The focus always must be on prevention of injury by a proper
            order, not merely on preservation of the status quo

   Canal Auth. of State of Fla. v. Callaway)G WK&LU  HPSKDVHVDGGHG 

   see alsoRush v. Nat'l Bd. of Med. Examiners)6XSSG 1'7H[  ³$Q

   LQGLVSHQVDEOH SUHUHTXLVLWH WR LVVXDQFH RI D SUHOLPLQDU\ LQMXQFWLRQ LV SUHYHQWLRQ RI LUUHSDUDEOH

   LQMXU\´ In re Life Partners Holdings, Inc.5)1:/DW  1'

   7H['HF  QRWLQJWKDW³PDQGDWRU\SUHOLPLQDU\LQMXQFWLRQVµWKDWJRHVEH\RQGWKHVWDWXV




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   TXR¶«PD\EHDSSURSULDWHWRµNHHS>@LQHIIHFWDFRQWUDFWXDOUHODWLRQVKLS¶WRPDLQWDLQWKHVWDWXV

   TXR´ TXRWLQJLake Charles Diesel, Inc. v. Gen. Motors)G WK&LU  

                   )RU WKH UHDVRQV VHW IRUWK DERYH DQG EHORZ WKH IDFWV DQG WKH ODZ VKRZ WKDW WKH

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   WKHWUDQVLWLRQRIEDFNRIILFHDQGPLGGOHRIILFHVHUYLFHVIURPWKH'HEWRULVQHFHVVDU\WRSUHYHQW

   LPPLQHQWDQGLUUHSDUDEOHKDUPWRWKH)XQGVWKHLULQYHVWRUVDQGWKH'HEWRUWKDWZRXOGEHFDXVHG

   E\WKH$GYLVRUV¶FRQWLQXHGIDLOXUHWRDGRSWDQGLPSOHPHQWVXFKDSODQ

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   KDUPµIRUZKLFKWKHUHLVQRDGHTXDWHUHPHG\DWODZ¶´OGA Charters,%5DW TXRWLQJ

   Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C.)G WK&LU 

   see also Compass Bank v. Veytia(3&9350:/DW  :'7H[

   6HSW  ³7KHJHQHUDOUXOHLQWKH)LIWK&LUFXLWLVWKDWµKDUPLVLUUHSDUDEOHZKHUHWKHUHLV

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    See also RoDa Drilling Co. v. Siegal)G WK&LU  ³:KLOHZHUHFRJQL]HWKDWPDQGDWRU\
   SUHOLPLQDU\LQMXQFWLRQVDUHWUDGLWLRQDOO\GLVIDYRUHG«ZKHQWKHPRYLQJSDUW\GHPRQVWUDWHVWKDWWKHµH[LJHQFLHVRI
   WKH FDVH UHTXLUH H[WUDRUGLQDU\ LQWHULP UHOLHI¶ WKH GLVWULFW FRXUW PD\ JUDQW WKH PRWLRQ XSRQ VDWLVIDFWLRQ RI WKH
   KHLJKWHQHG EXUGHQ´  LQWHUQDO FLWDWLRQV RPLWWHG  Hernandez v. Sessions  )G   WK &LU  
    ³0DQGDWRU\ LQMXQFWLRQV DUH PRVW OLNHO\ WR EH DSSURSULDWH ZKHQ µWKH VWDWXV TXR  LV H[DFWO\ ZKDW ZLOO LQIOLFW WKH
   LUUHSDUDEOHLQMXU\XSRQFRPSODLQDQW¶´ FLWLQJFriends for All Children, Inc. v. Lockheed Aircraft Corp.)G
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  Pipkin v. JVM Operating, L.C.  %5   (' 7H[   QRWLQJ WKDW ³>D@Q LQMXU\ LV

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  LV LQMXU\ WR D SDUW\¶V RSHUDWLRQV UHSXWDWLRQ DQG JRRGZLOO´  LQWHUQDO TXRWDWLRQV RPLWWHG 

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  RSHUDWLRQV JRRGZLOO HVWDWH DQG DELOLW\ WR LPSOHPHQW WKH 3ODQ  See Pipkin  %5 DW 

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   DUJXPHQW ZLOO WUDFN FORVHO\ WKH EDQNUXSWF\ ULJKW VRXJKW WR EH YLQGLFDWHG´  see also Hunt 

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   GLVSXWHWKDWWKH'HEWRUWLPHO\DQGSURSHUO\SURYLGHGVXFKZULWWHQQRWLFHLQFRQIRUPLW\ZLWKWKH

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   VXEVWDQWLDO FRVWV DQG GLVUXSWLRQ LQKHUHQW LQ EHLQJ IRUFHG WR FRQWLQXH LWV UHODWLRQVKLS ZLWK WKH

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   v. Nat'l Westminster Bank U.S.A. (In re Lazarus Burman Assocs.)  %5   %DQNU

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  The following constitutes the ruling of the court and has the force and effect therein described.




 Signed February 24, 2021
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              7KLV PDWWHUKDYLQJFRPHEHIRUHWKH&RXUW RQWKHEmergency Motion for a Mandatory

  Injunction Requiring the Advisors to Adopt and Implement a Plan for the Transition of Services by

  February 28, 2021 >'RFNHW1R@ WKH³0RWLRQ´ ILOHGE\+LJKODQG&DSLWDO0DQDJHPHQW/3

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  FRQVLGHUHG L WKH0RWLRQ LL Plaintiff Highland Capital Management, L.P.’s Verified Original

  Complaint for Damages and for Declaratory and Injunctive Relief >'RFNHW 1R @ WKH

  ³&RPSODLQW´  LLL WKHDUJXPHQWVDQGODZFLWHGLQWKH'HEWRU¶VMemorandum of Law in Support of

  its Motion for a Mandatory Injunction Requiring the Advisors to Adopt and Implement a Plan for

  the Transition of Services by February 28, 2021>'RFNHW1R@ WKH³0HPRUDQGXPRI/DZ´DQG

  WRJHWKHUZLWKWKH0RWLRQDQG&RPSODLQWWKH³'HEWRU¶V3DSHUV´  LY WKHObjection to Mandatory

  Injunction and Brief in Support Thereof>'RFNHW1R@ WKH³2EMHFWLRQ´ ILOHGRQ)HEUXDU\

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                          IN THE UNITED STATES BANKRUPTCY COURT
       1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
       2
                                       )      Case No. 19-34054-sgj-11
       3   In Re:                      )      Chapter 11
                                       )
       4   HIGHLAND CAPITAL            )      Dallas, Texas
           MANAGEMENT, L.P.,           )      Tuesday, February 23, 2021
       5                               )      9:00 a.m. Docket
                    Debtor.            )
       6                               )
                                       )
       7   HIGHLAND CAPITAL            )      Adversary Proceeding 20-3190-sgj
           MANAGEMENT, L.P.,           )
       8                               )
                    Plaintiff,         )      PLAINTIFF'S MOTION FOR ORDER
       9                               )      REQUIRING JAMES DONDERO TO
           v.                          )      SHOW CAUSE WHY HE SHOULD NOT
      10                               )      BE HELD IN CIVIL CONTEMPT FOR
           JAMES D. DONDERO,           )      VIOLATING THE TRO [48]
      11                               )
                    Defendant.         )
      12                               )
                                       )
      13   HIGHLAND CAPITAL            )      Adversary Proceeding 21-3010-sgj
           MANAGEMENT, L.P.,           )
      14                               )
                    Plaintiff,         )      DEBTOR'S EMERGENCY MOTION FOR
      15                               )      MANDATORY INJUNCTION REQUIRING
           v.                          )      THE ADVISORS TO ADOPT AND
      16                               )      IMPLEMENT A PLAN FOR THE
           HIGHLAND CAPITAL MANAGEMENT )      TRANSITION OF SERVICES BY
      17   FUND ADVISORS, L.P.,        )      FEBRUARY 28, 2021 [2]
           et al.,                     )
      18                               )
                    Defendants.        )
      19                               )
      20                        TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
      21                     UNITED STATES BANKRUPTCY JUDGE.
      22   WEBEX/TELEPHONIC APPEARANCES:

      23   For the Debtor/Plaintiff:      Jeffrey N. Pomerantz
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      24                                  10100 Santa Monica Blvd.,
                                            13th Floor
      25                                  Los Angeles, CA 90067-4003
                                          (310) 277-6910




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    1
        APPEARANCES, cont'd.:
    2
        For the Debtor/Plaintiff:     John A. Morris
    3                                 PACHULSKI STANG ZIEHL & JONES, LLP
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                                      (212) 561-7700
    5
        For the Official Committee    Matthew A. Clemente
    6   of Unsecured Creditors:       SIDLEY AUSTIN, LLP
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                                      (312) 853-7539
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        For the Advisor               Davor Rukavina
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        Defendants:                   K&L GATES, LLP
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   15
        For Defendant James D.        John T. Wilson
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                                        Suite 1000
   18                                 Fort Worth, TX 76102
                                      (817) 405-6900
   19
        Recorded by:                  Michael F. Edmond, Sr.
   20                                 UNITED STATES BANKRUPTCY COURT
                                      1100 Commerce Street, 12th Floor
   21                                 Dallas, TX 75242
                                      (214) 753-2062
   22
        Transcribed by:               Kathy Rehling
   23                                 311 Paradise Cove
                                      Shady Shores, TX 76208
   24                                 (972) 786-3063
   25         Proceedings recorded by electronic sound recording;
                 transcript produced by transcription service.




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       1             DALLAS, TEXAS - FEBRUARY 23, 2021 - 9:07 A.M.

       2               THE COURT:    This is Judge Jernigan, and we have

       3   Highland settings this morning.        We have a couple of settings

       4   in adversary proceedings, one in Adversary 21-3010, Debtor's

       5   Emergency Motion for a Mandatory Injunction Requiring the So-

       6   Called Advisors to Adopt and Implement a Plan for Transition

       7   of Services; and then, second, in Adversary 20-3190, a Motion

       8   to Hold James Dondero in Contempt for Violating a Previous

       9   TRO, allegedly.

      10        So, let's go ahead and get our lawyer appearances.        First,

      11   for the Debtor, Highland, who is appearing this morning?

      12               MR. POMERANTZ:    Good morning, Your Honor.    It's Jeff

      13   Pomerantz and John Morris of Pachulski Stang Ziehl & Jones.

      14   Mr. Morris will be handling the hearings today.

      15               THE COURT:    All right.    Thank you.

      16        All right.    For the Advisors, who do we have appearing?

      17               MR. RUKAVINA:    Davor Rukavina and my co-counsel, Lee

      18   Hogewood.    We are appearing for the two Defendants in

      19   Adversary Proceeding 21-03010.         We are not appearing in the

      20   other adversary and contempt matter.

      21               THE COURT:    All right.    For Mr. Dondero, who do we

      22   have appearing this morning?

      23               MR. WILSON:    Your Honor, John Wilson with the law

      24   firm of Bonds Ellis Eppich Schafer Jones.        And with me is

      25   Bryan Assink.




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       1        (Interruption.)

       2              THE COURT:    All right.   I didn't hear what you said,

       3   Mr. Wilson, after appearing for yourself and Mr. Assink.

       4   Would you repeat that?

       5              MR. WILSON:    That was all I said, Your Honor.      I

       6   don't know what that other noise was.

       7              THE COURT:    Oh, okay.

       8        (Court confers with Clerk.)

       9              THE COURT:    Okay.   Someone came in as a PC user, is

      10   what my court reporter said.

      11        All right.    Well, do we have the Committee appearing

      12   today?

      13              MR. CLEMENTE:    Yes.   Good morning, Your Honor.

      14   Matthew Clemente; Sidley Austin; on behalf of the Committee.

      15              THE COURT:    All right.   Thank you.

      16        All right.    Well, that's all the appearances I will ask

      17   for right now.    I know we have interested observers, parties

      18   in interest observing today.

      19        Mr. Morris, how did you want to proceed this morning?

      20              MR. MORRIS:    John Morris; Pachulski Stang Ziehl &

      21   Jones.

      22        What I thought we'd do, Your Honor, is begin with the

      23   Debtor's Motion for the Mandatory Injunction.       I thought it

      24   would -- may make sense to begin with some opening statements

      25   and proceed right to the evidence.      The Debtor has two




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       1   witnesses to call, Mr. Seery and then Mr. Dondero.          And then

       2   we would rest after the admission into evidence of our

       3   exhibits.    The Advisors, you know, can certainly cross-examine

       4   Mr. Seery.    You know, and then we'll have closing statements

       5   and hopefully finish that part of the proceeding up.

       6        And then we'll move on to the contempt proceeding.          Mr.

       7   Dondero has a motion in limine to exclude certain evidence.

       8   The Debtor has agreed -- I don't know if I've seen an order

       9   from the Court -- but the Debtor has agreed to have that heard

      10   today, if Your Honor would like to do that.       The Debtor is

      11   certainly prepared to argue that motion prior to the

      12   commencement of the contempt proceeding.       And then after that

      13   motion is decided, we could just do the same drill:           Some

      14   opening statements, hopefully hear from a few witnesses, put

      15   in our evidence, and finish up.

      16               THE COURT:    All right.   Well, that was the sequence I

      17   had envisioned.    Since you're looking for an injunction, you

      18   know, immediately, you're wanting to transition services by

      19   February 28th, I thought that it made sense to take that one

      20   up first.    So, with that, I'll hear your opening statement.

      21               MR. MORRIS:    Okay.   Thank you, Your Honor.

      22               MR. RUKAVINA:    Your Honor, Davor Rukavina, briefly.

      23   I just would like for the record to be clear.       Are we having a

      24   combined record for both adversaries, or is the -- first the

      25   one and then the other, which would be my strong preference?




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      1              THE COURT:    No, I did not envision a combined record.

      2              MR. RUKAVINA:    Okay.

      3              THE COURT:    Mr. Morris, was that what you were

      4   suggesting and I didn't understand?

      5              MR. MORRIS:    No.

      6              THE COURT:    No, he was not.

      7              MR. MORRIS:    Not at all.

      8              THE COURT:    Okay.    So we're just --

      9              MR. RUKAVINA:    Okay.   Thank you.

     10              THE COURT:    -- focusing on the Advisor-Debtor dispute

     11   this morning with the evidence.       Okay.

     12        Mr. Morris, go ahead.

     13              MR. RUKAVINA:    Thank you, Your Honor.

     14              OPENING STATEMENT ON BEHALF OF THE PLAINTIFF

     15              MR. MORRIS:    Okay.   Thank you, Your Honor.     John

     16   Morris; Pachulski Stang Ziehl & Jones.

     17        Before I begin, I just want to tell the Court that the

     18   lawyers -- this has been a very difficult week.       We had three

     19   depositions yesterday.     And I just, I think it's important for

     20   the Court to know that the lawyers have cooperated really

     21   quite well.    It's difficult circumstances.     Not every

     22   conversation is polite and perfect.        But for Your Honor's

     23   purposes, I do appreciate everybody's cooperation getting to

     24   this point.

     25              THE COURT:    Well, I'm glad you told me that, because




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       1   I was wrongly thinking I might hear this morning that you all

       2   worked it out overnight.

       3               MR. MORRIS:    No.

       4               THE COURT:    I will let you know, I cannot for the

       5   life of me figure out why this couldn't be worked out, but I'm

       6   going to hear the evidence and argument and better understand

       7   that, I guess.

       8               MR. MORRIS:    You are.    And let me try to explain

       9   that.   And what I'd like to do in my opening is just give you

      10   some background as to how we got here, what the Debtor's

      11   interest was in bringing the motion, and what the Debtor is

      12   seeking from the Court today.         And I think, with that, perhaps

      13   we'll fill in any of the blanks that may be appearing on your

      14   page.

      15               THE COURT:    Okay.

      16               MR. MORRIS:    And I think the best place to start,

      17   Your Honor, is just -- I know that the Court is familiar with

      18   the relationship of the parties, but for the record in this

      19   particular case I think that it's important to just put that

      20   out there.    I've got a small demonstrative deck that I think

      21   would be helpful, and I would just ask that we put up on the

      22   screen --

      23               THE COURT:    All right.

      24               MR. MORRIS:    -- the first slide of the deck.

      25               THE COURT:    Okay.




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       1               MR. MORRIS:   And this slide, Your Honor, you'll hear

       2   testimony and I don't think there will be any dispute about

       3   the substance of this particular slide.       But as Your Honor is

       4   aware, HCMLP, the Debtor, has certain shared services

       5   agreements with the two Defendants here that are the two

       6   Advisors.    That's HCM Fund Advisors, NexPoint Advisors.

       7   Pursuant to those shared services agreements, the Debtor

       8   provided certain back- and middle-office services.        And the

       9   shared services for purposes of this hearing contain some very

      10   important termination clauses.

      11        The evidence will show that the Advisors provide advisory

      12   services to certain investment funds.      There's about ten or

      13   twelve investment funds to which they provide advisory

      14   services pursuant to these advisory service agreements.         Some

      15   of those funds are publicly traded.      As Your Honor has heard

      16   previously, some of those funds have thousands of individual

      17   investors, mom-and-pop investors and retail investors.         So

      18   that is the -- kind of the -- how this all fits together, and

      19   we'd just like to keep that in context.

      20        The agreements themselves, as I mentioned, have certain

      21   termination clauses.

      22        If we could just go to the next slide, please.

      23        The agreement between the Debtor and Highland Capital

      24   Management Fund Advisors had their shared services agreement,

      25   and you can see in the footnote where I cite to the exhibit.




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       1   This is Debtor's Exhibit 2 that appears at the adversary

       2   proceeding Docket No. 10.     It's a very straightforward

       3   termination clause.     It's a clause that says the agreement is

       4   for a period of a year, with automatic renewals.       And then

       5   Section 7.02 provides that either party may terminate this

       6   agreement with or without cause upon at least 60 days' written

       7   notice.

       8        If we could go to the next slide, you'll see that this is

       9   the excerpt from the NexPoint Advisors shared services

      10   agreement.    And this provision is slightly different because

      11   it requires only 30-day written notice.       That -- and that

      12   particular agreement can be found at Debtor's Exhibit No. 4.

      13        So that's kind of the nature of the parties and that's the

      14   important part of the agreement, at least from the Debtor's

      15   perspective.

      16        And how does this -- how is this all particularly relevant

      17   today?    The Debtor filed for bankruptcy back in October of

      18   2019.    As the Court is aware, Mr. Dondero was in control of

      19   both the Debtor and the Advisors at that time.       The Advisors

      20   had certainly prior notice that the Debtor would be filing for

      21   bankruptcy.    And indeed, I think you'll hear some testimony

      22   today from Dustin Norris that the Advisors had begun to think

      23   about what would happen to the shared services agreements, you

      24   know, a year and a half ago, prior to the bankruptcy filing.

      25        Fast forward to August, August of 2020.      The Debtor had




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       1   been in bankruptcy at that point for about ten months.         And if

       2   Your Honor will recall, at around that time the Debtor filed

       3   its first plan of reorganization.

       4        And if we could just go to the next slide, please.

       5        This was an important event for the Debtor at the time,

       6   because while the Debtor did not yet have the support of any

       7   meaningful constituency, it did make a public statement for

       8   the first time that unless executory contracts were assumed or

       9   otherwise treated in the manner provided in Article 5 of the

      10   plan, they would be deemed rejected.      So, as of August 2020,

      11   this was the marker that the Debtor laid.

      12        And certainly, discussions continued about a potential

      13   grand bargain.    You've heard a lot about that.     They morphed

      14   later on into discussions about a pot plan.       But for purposes

      15   of, you know, public disclosure, there is no question that by

      16   August 2020 everybody should have been on notice that, in the

      17   absence of an assumption of the executory contracts, they

      18   would be deemed to be rejected.

      19        You'll hear from Mr. Seery today.      Mr. Seery will testify

      20   as to the events that took place in the weeks following the

      21   filing of this document.     He'll -- he will describe for you at

      22   a high level but just in general how the parties began

      23   discussing the possibility of a transition of services

      24   agreement, the form of which was not certain at the time.

      25   There were a couple of possibilities, including a Dondero-




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       1   related entity taking it over.      There was the possibility of a

       2   -- what's been referred to and what will be referred to as

       3   Newco, which was going to be a new entity formed by some of

       4   the Debtor's employees upon consummation of the plan.         I think

       5   there was discussion about the possibility of just leaving

       6   things in place if somehow a grand bargain could be achieved.

       7   But discussions ensued in the fall.

       8        And as Your Honor will also recall, you know, we had the

       9   mediation.    The mediation wasn't successful in resolving the

      10   grand bargain.    The mediation did result in the agreement with

      11   Acis, and that's when, you know, tensions began to increase

      12   with Mr. Dondero and the board.

      13        Mr. Seery will testify that through the fall, while

      14   discussions continued, you know, it became a little bit more

      15   -- it became a little bit more difficult.       And Your Honor will

      16   recall that in October the board asked for Mr. Dondero's

      17   resignation, which he complied with, pursuant to the corporate

      18   governance provisions.

      19        But it was in this time that Mr. Seery will also testify

      20   that Mr. Dondero made it clear, in a call that there were

      21   numerous people on, that if, you know, we could get to a grand

      22   bargain, that would be great, but if that we couldn't, nobody

      23   should assume that the transition of services would be easy.

      24        Now, you know, Mr. Seery will testify that he found that

      25   interesting because the transition of services really should




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       1   have been more of the Advisors' concern than the Debtor's, but

       2   it was a point that Mr. Seery noted, and he'll tell you about.

       3        By November, the Debtor had reached a consensus with the

       4   Creditors' Committee on the formulation of a plan.        If you'll

       5   recall, in late October, there was a contested disclosure

       6   statement hearing during which the Committee objected to the

       7   releases and to certain corporate governance provisions.         And

       8   those -- those objections led to negotiations, and those

       9   negotiations led to an amended plan, which was the Third

      10   Amended Plan.

      11        And if we could go to the next slide, this is also, from

      12   our perspective, an important marker in the narrative here,

      13   because in mid-November, we'd gone beyond just saying that if

      14   the contracts aren't assumed they would be deemed rejected to

      15   making a public statement that shared services agreements are

      16   not going to be assumed.     And they're not going to be assumed

      17   because they're not cost-effective.      And Mr. Seery will

      18   testify as to why the contracts were not cost-effective.         But

      19   there was no doubt by mid-November that the contracts weren't

      20   going to be assumed by the Debtor.

      21        A couple of weeks later, to remove any doubt, the Debtor

      22   exercised its right under the shared services agreement and

      23   gave notice of termination.

      24        If we can go to the next slide, please.       You'll see in

      25   this, in this slide, you've got -- yeah, there you go.




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       1   There's a letter dated November 30th.      And this can be found,

       2   this is Debtor's Exhibit 3.     There is a letter notifying the

       3   Fund Advisors that the Debtor intended to terminate the shared

       4   services agreement on January 31, 2021.       In other words, the

       5   Debtor gave the 60-day notice that we just looked at under the

       6   shared services agreement of its intention to terminate the

       7   shared services agreement.

       8        Can we go to the next slide, please?

       9        On the same day, the Debtor also gave notice of its

      10   intention to terminate the shared services agreement with

      11   NexPoint Advisors.     And I would note that, notwithstanding the

      12   fact that the shared services agreement with NexPoint Advisors

      13   only required a 30-day notice period, the Debtor, in fact,

      14   gave 60 days' notice, just to keep them on the same track.

      15        And as Your Honor knows, in the subsequent weeks, the

      16   Debtors pushed ahead with their plan of reorganization.         They

      17   amended it a couple of times.      Those amendments didn't have

      18   anything -- have any impact on the termination notices.

      19   You'll hear no evidence today that the Debtor rescinded the

      20   termination notices.     You'll hear no evidence today that the

      21   Debtor ever considered rescinding the termination notices.

      22        And so we fast-forward now a couple of months later to

      23   January, and what's happening?      Mr. Seery will testify that,

      24   you know, the Debtor really was using its best efforts to try

      25   to engage, to try to finish this up.      And he'll tell you what




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       1   the Debtor's motivations were here.      While the Debtor doesn't

       2   owe any obligations directly to the Funds, while the Debtor

       3   doesn't owe any obligations directly to the retail fund

       4   investors, the Debtor was very, very concerned that it be able

       5   to implement its plan of reorganization.      And that plan of

       6   reorganization, which Your Honor just approved very recently,

       7   and in fact entered the order yesterday, pursuant to that plan

       8   the Debtor is going to and has begun the process of downsizing

       9   substantially.    And they were going to eliminate a lot of the

      10   employees, and they knew in January that there was no way the

      11   Debtor was ever going to have the ability to provide any

      12   services at any time after February 28th.      I mean, they gave

      13   notice of January 31st.

      14        So, the Debtor wanted to make sure that it could proceed

      15   in the future without any obligation, without any claim that

      16   there's obligations.    So the Debtor was really focused on

      17   trying to try to finish up this transition services agreement.

      18   And the negotiations picked up a little bit in late January,

      19   but here we were, with a January 31st deadline, and the Debtor

      20   -- the Debtor [sic] asked for an extension of time.           And the

      21   Debtor [sic] asked for an extension of time presumably because

      22   they weren't prepared to assume the back-office and the

      23   middle-office services that the Debtor was providing.

      24        And so the Debtor agreed and the parties agreed, pursuant

      25   to a written agreement, to extend the deadline by two more




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       1   weeks.    And the parties continued to negotiate during those

       2   two weeks, but there were difficulties.      And threats were

       3   made.    And Mr. Seery will testify that those threats caused

       4   the Debtor to insist that the negotiations basically be

       5   chaperoned by outside counsel.

       6        It didn't last long.    It was really just for the purpose

       7   of trying to get the temperatures down to a degree where

       8   people could engage in a more cooperative fashion.       But that's

       9   what we were dealing with in late January and early February.

      10   We couldn't get to yes.

      11        And parties negotiated.    Terms sheets went back and forth.

      12   You're going to hear this testimony, not from Mr. Seery, but

      13   you'll hear it, ironically, from the Advisors, that last week

      14   an agreement was reached.     The only sticking point was Mr.

      15   Dondero's insistence that he be permitted access to the

      16   Debtor's offices.    It is the only thing that prevented the

      17   parties from reaching an agreement.

      18        And they say that the Debtor was unreasonable in not

      19   allowing him into their offices.     And Mr. Seery will testify

      20   that we'd already been through this process, that we'd already

      21   obtained a TRO, that we'd already obtained a preliminary

      22   injunction that bars him from the offices, and we just,

      23   admittedly, we would not agree to that provision.       But we

      24   would not be here today if the Advisors simply said, we'll

      25   leave that for another day, we've been operating for two




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       1   months without Mr. Dondero in the offices, we've otherwise got

       2   an agreement that accomplishes everything we need to do.

       3   Instead, they said no.

       4        And here's another interesting point.      You're going to

       5   hear the testimony from Mr. Norris, and he's going to tell you

       6   that the so-called independent boards of the funds, they were

       7   fully supportive of the Advisors' position.       They thought that

       8   it was a really smart idea to walk away from a fully-

       9   negotiated transition services agreement because the Debtor

      10   wouldn't let Mr. Dondero into the office.       They thought that

      11   was a great idea and they fully supported it.       Nobody -- none

      12   of the board members are going to be here today to testify to

      13   that, but Mr. Norris is going to -- I'm going to make sure

      14   that Mr. Norris informs the Court that that was the boards'

      15   view.

      16        And so, instead of saying yes, they said no.       And we had

      17   told them last Tuesday, if you don't agree to this, we're

      18   going to commence the lawsuit.      So they didn't agree to it, so

      19   we commenced the lawsuit.

      20        But negotiations continued.     And you know, I think the

      21   lawyers for the Advisors acted in very good faith here, Your

      22   Honor.   They did the best they could.     We continued to

      23   negotiate.    On Friday, they presented to the Debtor two

      24   options, Option A and Option B.      And at one point, they said,

      25   we're not -- we may have to tweak Option B, so hold off for




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       1   now.    And you're going to see this in the emails.     It was just

       2   black and white.    And we said okay, fine.    And then they came

       3   back and they said no, no, no, Option B is good, Option B is

       4   good, so tell us what you want to do.      And at 1:00 o'clock on

       5   Friday, there was a phone call.     The Debtor informed the

       6   Advisors' lawyers that they choose Option B.       We're done.    And

       7   we started talking about wire transfers.      We started talking

       8   about documenting this for the Court in a consensual order.

       9   And we would be done.

      10          And we had a call scheduled, I think at first at 3:30.

      11   Again, this will be -- this will all be in the evidence.         This

      12   is what the evidence is going to show.      We had a call at 3:30.

      13   They asked for an extension of time.      Then they told us they

      14   were trying to get the consent of the person whose consent

      15   they needed.    They pushed it off further.    And then, you know,

      16   then we got the bad email from Mr. Hogewood that said, we're

      17   not going to have a group call, I'm just going to call by

      18   myself.    And we knew what that meant.

      19          And so he called up.   He informed the Debtor that Plan B

      20   was off the table, the one that we had just accepted like for

      21   the second time.    So Plan B was now off the table, and we

      22   said, we're done.    I mean, we can't continue to negotiate

      23   this.

      24          A couple of hours later, they send an email and they say,

      25   Plan B is back now on the table, but we're taking back the




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       1   million dollars that we had previously agreed to.        And we

       2   said, no, thank you.

       3        They continued to make offers over the weekend, Mr. Seery

       4   will testify, offers pursuant to which they were seeking I

       5   think what they called the a la carte services from the

       6   Debtor.   And we weren't able to reach that agreement.         And,

       7   again, I think what Mr. Dondero is going to tell you, Your

       8   Honor, is that -- well, you're going to hear two different

       9   stories, actually.     Mr. Dondero is going to tell you that when

      10   we wouldn't let him back in the office on Tuesday, he

      11   disengaged.    So he didn't -- he didn't really care.         He didn't

      12   really have anything to do with it.      He doesn't know what plan

      13   the Debtor has today.     He doesn't know how the services are

      14   being transitioned.     He really doesn't know anything after

      15   last Wednesday as regards to this matter.

      16        But Mr. Norris will tell you that it was, in fact, Mr.

      17   Dondero who pulled Plan B on Friday afternoon because he

      18   didn't understand it.     There was a misunderstanding, they

      19   said, even though Mr. Dondero will tell you that he

      20   specifically authorized Mr. Norris and D.C. Sauter to

      21   negotiate the agreement.     Okay?   That's a -- it's not a pretty

      22   story.    I don't know that there's going to be a lot of dispute

      23   about the facts, to be honest with you, because they're

      24   reflected in documents.     This is as much a document case as it

      25   is anything else.




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       1         So, you know, where does that leave us?     Because there are

       2   certain developments that have happened in the last 24 hours,

       3   you know, that I'll -- that guess I'll share with you now.             We

       4   did take discovery yesterday.      As I mentioned, we did have a

       5   number of depositions.     And during one of those depositions,

       6   Mr. Norris disclosed that the Advisors do, in fact, have a

       7   plan, or at least they assert that they have a plan.          And the

       8   plan has, I think, what I would characterize as four legs to

       9   it.

      10         Number one is they hired yesterday on a contract basis

      11   somebody to perform audit and accounting services.        I think

      12   his name is Mr. Palmer.     And he started yesterday.

      13         They took in-house the payroll issues and are utilizing --

      14   to supplement that, they're now going to utilize a firm called

      15   Paylocity.    And Paylocity is a firm that the parties use

      16   regularly now.    So that's the second leg of their plan.

      17         The third leg is an IT company called Siepe.      I think

      18   Siepe is run by a former Highland employee.       And Siepe will

      19   provide -- and I think Mr. Norris is going to testify -- has

      20   been providing for a couple of weeks on a shadow basis certain

      21   IT functions.

      22         And, finally, they're still trying to negotiate with

      23   Newco.   Newco would be the entity that would be formed with

      24   some of the Highland employees.      But those negotiations aren't

      25   finished.




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       1        So, I appreciated the objection that was filed yesterday.

       2   They basically said that this is moot, that they've got a

       3   plan, so there is nothing for the Court to do.       We still have

       4   concerns.   I think Mr. Seery will testify as to those

       5   concerns.

       6        But it does -- it does go, you know, much further than we

       7   thought, even though it was just adopted.       I mean, I guess the

       8   lawsuit had its intended effect, and in the last 24, 48, 72

       9   hours, they're -- they're engaging in the process of

      10   transition.

      11        So, you know, why are we here and what are we hoping to

      12   accomplish now that we've gotten news of that development?            I

      13   think it's pretty simple, Your Honor.      We simply want the

      14   Court to make sure that the Debtor is protected here, that the

      15   Debtor -- that there is a plan in place pursuant to which the

      16   Debtor will not be obligated to provide any services and it

      17   will be allowed to implement its plan in a way that not only

      18   protects the Debtor but really will protect the public

      19   marketplace, it will protect the funds and the investors, and,

      20   frankly, the Advisors as well.

      21        We wanted this to be a smooth transition.       We tried very

      22   hard to make it a smooth transition.      Unfortunately, that

      23   didn't come to pass.     But we do believe that the Debtor needs

      24   the comfort of an order.

      25        And the Advisors are simply wrong in their papers when




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       1   they say we're asking the Court to dictate terms.        I don't

       2   care if they have an agreement with the Debtor.       I don't care

       3   who they have an agreement with.      I don't care what the

       4   agreement says.    I don't think the Court has to order any

       5   particular terms.    We just want to make sure that they have a

       6   plan in place and that plan is implemented before the end of

       7   the month, because we will not be able to do anything for them

       8   after that time.

       9        Thank you very much, Your Honor.

      10               THE COURT:   Thank you.   Mr. Rukavina?

      11               MR. HOGEWOOD:   Good morning, Your Honor.    Lee

      12   Hogewood.    I'm going to take on the opening statement, if the

      13   Court please.

      14               THE COURT:   All right.   Thank you.

      15         OPENING STATEMENT ON BEHALF OF THE ADVISOR DEFENDANTS

      16               MR. HOGEWOOD:   And let me, let me begin by saying

      17   that I agree with Mr. Morris that counsel, I think, have

      18   cooperated throughout this process.      And I also -- and in

      19   particular thank them for asking that the hearing be pushed

      20   back for 30 minutes, which was at my request, as an earlier

      21   start.

      22        One other housekeeping matter that I would like to request

      23   is I will not have a further speaking role after the opening

      24   statement, and if it would be permissible for me to listen to

      25   the rest of the hearing by telephone, that would be much




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       1   appreciated, if there's not an objection to that.

       2              THE COURT:    All right.   I assume there's no

       3   objection.

       4              MR. MORRIS:    No.

       5              THE COURT:    All right.   Permission granted.

       6              MR. HOGEWOOD:    Thank you, Your Honor.

       7        I think the theme of perhaps this hearing is a theme of

       8   divorce.   It's a divorce that is long overdue.      The lawsuit

       9   filed last week, it seems to be an effort of one of the

      10   divorcing parties, the Debtor, to employ the power of this

      11   Court to be sure that the Debtor is absolved of all

      12   consequences of the divorce.

      13        Divorces are often messy.     This one is particularly so.

      14   Presently, I think there are three or four other adversary

      15   proceedings among these parties that will have to be sorted

      16   out over the coming many months.

      17        But on the issue before the Court today, the Advisors need

      18   very little from the Debtor in this divorce in the final

      19   analysis, other than access to data and books and records that

      20   the Advisors own and which will remain on formerly-shared

      21   systems.

      22        To carry the divorce analogy further, like many divorcing

      23   couples, there are so-called children at risk.       In this case,

      24   the children are the employees of the Debtor, the Advisors,

      25   the funds and their investors.




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       1        The Debtor's other purpose seems to be that they -- to be

       2   absolved of responsibility for the children.       And just to be

       3   clear, the Advisors need no child support from the Debtor for

       4   the funds or others beyond the access to data, books and

       5   records that belong to our client and remain comingled with

       6   the Debtor's data.

       7        But we didn't seek any relief.      We are merely defending

       8   ourselves in this action.     And I think what I say about what

       9   the evidence will show is not going to be altogether that

      10   different from what Mr. Morris has said.       There's absolutely

      11   no dispute that the parties failed to reach an agreement.         I

      12   also think there's no dispute that the parties worked

      13   diligently to reach one.     They overcame very -- a large number

      14   of very difficult business issues to make the orderly

      15   transition happen.    But in the end, they could not complete a

      16   deal.

      17        And for the Debtor, you know, the question of who drew the

      18   hard line in the sand about no, I think we see it a little bit

      19   differently.    For the Debtor, it would not agree for Mr.

      20   Dondero to have access, even if and only after the Advisors

      21   paid for the construction of a wall to segregate the remaining

      22   Debtor employees from Advisor employees and even if the Debtor

      23   employees had separate access to the Debtor's section of the

      24   premises, where the Advisors would be essentially subleasing

      25   the remainder of the space.




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       1        For the Advisors, the prospect of its leader, the leader

       2   of the enterprise, being prohibited from working in the same

       3   office as the employees of the Advisors made no business sense

       4   and was likely to become an ongoing logistical nightmare.

       5        The gap could not be bridged in time, and so the Advisors

       6   moved out on the 19th, as directed by the Debtor.

       7        As the Court knows, there's no provision in the Bankruptcy

       8   Code or any other statute that required these parties to agree

       9   on a transition of shared services.      There's no legal

      10   obligation on either party to reach an agreement on how to

      11   divorce and separate.     Neither can be compelled to reach an

      12   agreement if an agreement is not ultimately in their mutual

      13   respective business interests, as determined by each of them.

      14        The Debtor claims to have terminated the contract pursuant

      15   to its terms.    It amended the termination date twice in

      16   exchange for agreed advance payments to try to reach a deal.

      17        In the meantime, the Advisors had to be aware of the

      18   possibility that a deal might not be reached, and so they

      19   began working in earnest on an alternative plan to be able to

      20   continue to service their clients, their funds and investors,

      21   as needed after the services were terminated.

      22        So it is not clear exactly what the Debtors really seek

      23   here.   A mandatory injunction to do what?      To have a plan?

      24   The evidence will show, I think as Mr. Morris suggested, that

      25   our clients have a plan.     It was implemented -- it began to be




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       1   implemented this past weekend, but it had been worked on for

       2   some time in advance.     It's -- based on this, there's no

       3   jurisdiction for or purpose in a court order directing us to

       4   do that which we are determined to do anyway and have -- and

       5   have already done.

       6        The evidence will show that there's no meaningful

       7   irreparable harm to the Debtor based on the current

       8   circumstances.    Mr. Seery would be expected to testify, based

       9   on yesterday's deposition, of some vague notion of confusion

      10   among the employees, but there was no meaningful discussion of

      11   irreparable harm to the Debtor.

      12        So the -- and, indeed, the confusion of the employees, in

      13   the context of a Chapter 11 debtor that has just confirmed a

      14   plan of liquidation, I think confusion could be -- the source

      15   of confusion could be a large number of things, not merely the

      16   transition issues.

      17        To carry the divorce analogy further, the requested

      18   mandatory injunction is somewhat like requiring a divorcing

      19   spouse who has left the home to explain the details of his or

      20   her post-divorce life.     And there's -- there's no purpose in

      21   that.   In our papers, we've explained the lack of jurisdiction

      22   over this matter as a core proceeding, and certainly even

      23   under the related-to jurisdiction of the Court, as well as a

      24   constitutional -- lack of a constitutional basis for

      25   jurisdiction under Stern v. Marshall.      And I know Mr. Rukavina




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       1   will take those issues up in his closing arguments.

       2        We've also indicated -- made an arbitration demand, which

       3   is provided for under one of the two advisory agreements.         And

       4   in the context of seeking, in this case, seeking a permanent

       5   injunction, as we stated in our papers, there's really no --

       6   there's no proper exception from the arbitration demand.

       7        So there's really, as we sit here today, there's really no

       8   case or controversy, and the timeline that Mr. Morris

       9   described is pretty much not in dispute.       The evidence is

      10   going to show that there was a developing consensus among the

      11   business teams in January to meet a January 31 deadline with a

      12   transition.    On January 27th, the -- 27, the Debtor demanded

      13   as a condition of transition nearly $5 million in what they

      14   allege to be postpetition underpayments under the shared

      15   services agreement.     This was a new and difficult issue.      The

      16   amounts, we're disputing.     And the Debtor had not circulated a

      17   term sheet, only a proposed schedule of services.        The term

      18   sheet came on the 28th.

      19        On the 29th, we were able to agree to the first two-week

      20   extension to allow these discussions over a 13- or 14-page

      21   term sheet to be continued and discussed.       That extension

      22   required the advance payment of an agreed amount to cover that

      23   two-week period of extension of services.       Negotiations

      24   continued, as discussed, and a further extension through the

      25   19th was granted.




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       1        Negotiations broke down at the time a suit was filed, and

       2   were renewed and ultimately broke down again, as Mr. Morris

       3   described.

       4        In the end, the Court should dismiss the proceeding for

       5   lack of jurisdiction.     The bankruptcy court is not a divorce

       6   court, nor is it a place where every perceived ill that the

       7   Debtor may incur may be resolved by injunction.       The Court is,

       8   after all, a court of limited jurisdiction.       If the Court does

       9   proceed, we simply ask that the claims be rejected and

      10   dismissed on the facts.

      11        The Defendants have asked for nothing from the Debtor

      12   other than continued access to data, books and records to

      13   which they're entitled.     We've moved out of the house.      We

      14   have plans that will allow us to continue to serve our

      15   clients.   And we would ask that you not order us to do so.

      16   Thank you.

      17              THE COURT:    All right.    Well, I realize, you know,

      18   legal arguments have been hinted at here, and of course were

      19   briefed.   I want to hear the evidence, and then we'll talk

      20   more about legal arguments at the close of the evidence.

      21        All right.   Mr. Morris, you may call your witness.

      22              MR. MORRIS:    All right.    Your Honor, before I call my

      23   witness, I think just for efficiency purposes I would like to

      24   move my documents into evidence so that we don't have to do

      25   that on a document-by-document basis.




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       1              THE COURT:    All right.

       2              MR. MORRIS:     And the Court will find -- unlike some

       3   of the prior proceedings, there actually aren't an

       4   overwhelming number.     But the Court will find Exhibits 1

       5   through 16 at the adversary proceeding docket, Docket No. 10,

       6   --

       7              THE COURT:    Uh-huh.

       8              MR. MORRIS:     -- the original witness and exhibit list

       9   that the Debtors filed.      And then we added a few more

      10   documents I think late yesterday.         There was a supplement that

      11   included Exhibits 17 through 21, and that can be found at the

      12   adversary proceeding Docket No. 19.

      13        So the Debtor would respectfully move into evidence

      14   Exhibits 1 through 21 on those lists.

      15              THE COURT:    All right.   Any objection?

      16              MR. RUKAVINA:    Your Honor, I believe Mr. -- well, not

      17   necessarily an objection, Your Honor.        I believe Mr. Morris

      18   and I have an agreement that my Exhibits A through N as in

      19   Nancy will also be admitted.       And if that agreement holds,

      20   then I have no objection to his exhibits.

      21              MR. MORRIS:    And it does, Your Honor.

      22              THE COURT:    Okay.   And --

      23              MR. RUKAVINA:    Then I would -- I would move for

      24   admission at this time as well, Your Honor.

      25              THE COURT:    All right.   And let's make sure I know




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       1   where A through N appear.       It looks like they are -- are they

       2   all at 18, Docket Entry 18?

       3               MR. VASEK:     Correct, Your Honor.

       4               THE COURT:     All right.   So I will admit 1 through 21

       5   of the Debtor, which appear at Docket Entry No. 10 and 19, and

       6   Exhibits A through N of the Advisors, which appear at Docket

       7   Entry No. 18.     All right.

       8        (Debtor's Exhibits 1 through 21 are received into

       9   evidence.     Advisors' Exhibits A through N are received into

      10   evidence.)

      11               MR. MORRIS:     Okay.   And with that, the Debtor calls

      12   James Seery as its first witness.

      13               THE COURT:     All right.   Mr. Seery, I think I saw you

      14   earlier on the video.       If you could --

      15               MR. SEERY:     Good morning, Your Honor.

      16               THE COURT:     Good morning.   All right.   Please raise

      17   your right hand.

      18        (The witness is sworn.)

      19               THE COURT:     All right.   Thank you.   Mr. Morris?

      20               MR. MORRIS:     Thank you, Your Honor.

      21               JAMES P. SEERY, JR., DEBTOR'S WITNESS, SWORN

      22                              DIRECT EXAMINATION

      23   BY MR. MORRIS:

      24   Q    Can you hear me okay, Mr. Seery?

      25   A    I can.    Yes, sir.




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       1   Q    Okay.   Let's just cut right to the chase.      Was the Debtor

       2   party to certain shared services agreements with Highland

       3   Capital Management Fund Advisors and NexPoint Fund Advisors?

       4   A    Yes.

       5   Q    And I'm going to refer to those two entities as the

       6   Advisors; is that okay?

       7   A    That's fine.    Thank you.

       8   Q    And pursuant to the shared services agreements, did the

       9   Debtor historically provide back- and middle-office services

      10   to the Advisors?

      11   A    Yes.

      12   Q    Okay.   And is it your understanding that the Advisors

      13   provide advisory services to certain investment funds?

      14   A    That's my understanding, yes.

      15   Q    Okay.   Do you have any understanding as to whether or not

      16   the Advisors provide those services to the funds pursuant to

      17   written agreements?

      18   A    I believe they have agreements with each of the funds.

      19   Q    Okay.   And do you understand that some of those investment

      20   funds are publicly traded?

      21   A    I believe most of those are, the -- those '40 Act funds

      22   are retail funds, yes.

      23   Q    And what does it mean, you know, in your -- in your world,

      24   what does it mean to be a retail fund?

      25   A    There are institutional-type investments which are only




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       1   available to institutional investors or credit investors,

       2   depending on the type of investment it is, and there's

       3   particular rules around what types of investors can engage in

       4   certain types of investing activity, designed to, really, have

       5   more sophisticated investors engage, if they desire, in more

       6   risky endeavors and less who's believed to be sophisticated

       7   investors engage in more what are referred to as retail

       8   activities.

       9        That's not saying that the retail activities aren't

      10   sophisticated and risky.    They can be.    But there's a division

      11   in how certain types of investors are able to access certain

      12   types of investments, and retail funds typically are open to

      13   any investor that wants to invest, and they can buy those on a

      14   -- or sell them on a regular basis.

      15   Q    Are you aware of any agreement of any kind between the

      16   Debtor and any of the funds that are advised by the Advisors?

      17   A    No, there are no -- no such agreements.

      18   Q    Okay.    Let's turn our attention to August 2020.        Did there

      19   come a time in August when the Debtor filed its initial plan

      20   of reorganization?

      21   A    Yes.

      22   Q    And can you just describe generally for the Court what the

      23   structure of that plan was?

      24   A    As we've discussed before, that was the monetization plan.

      25   It was at this point that the Debtor determined that it had to




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       1   file a monetization plan to effectively distribute the assets

       2   to the stakeholders, depending on how their claims were

       3   ultimately resolved.       And the monetization plan was the plan

       4   we came up with.

       5   Q    Okay.    And do you recall that that initial plan provided

       6   for the treatment of certain executory contracts?

       7   A    Yes.

       8                MR. MORRIS:   Can we just put up on the screen Exhibit

       9   12, please?     And if we could focus in on that first paragraph.

      10   BY MR. MORRIS:

      11   Q    Is it your understanding that the initial plan filed by

      12   the Debtors provided that unless an executory contract was

      13   subject to one of those provisions in the first paragraph,

      14   that it would be deemed rejected?

      15   A    Yes.    It was a pretty integral part of the plan, that we

      16   were going to downsize the operations of the business

      17   considerably, and many of the operating businesses, the

      18   servicing of shared service counterparties, were going to be

      19   eliminated, and we would either terminate those agreements

      20   pursuant to their terms or they would be deemed rejected.

      21   Q    Okay.    And what were the consequences for the shared

      22   services agreements for a provision such as this?

      23   A    Well, the counterparties would no longer have those

      24   services and have to seek them, to the extent they needed

      25   them, elsewhere.




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       1   Q    Okay.   Was this the only plan that the Debtor was pursuing

       2   at this time?

       3   A    It was the only plan that we filed.      We were considering

       4   other options, which at that point was the so-called grand

       5   bargain, which we were attempting to negotiate alongside the

       6   monetization plan.

       7   Q    Did the Debtor engage in any discussions with the Advisors

       8   after filing this plan about a possible transition of

       9   services?

      10   A    Yes.

      11   Q    Can you describe for the Court your recollection about

      12   those discussions in the fall of 2020?

      13   A    Well, initially, it started in the summer.       And knowing

      14   that this was a significant possibility, I gathered the

      15   Highland operating team, many of whom are responsible for

      16   servicing the counterparties under the shared service

      17   arrangements, and they knew that they were not going to be

      18   part of the continuing Debtor if the monetization plan was

      19   confirmed.    And I described that there's a corporate carve-

      20   out, that there would be significant work that had to be done,

      21   that that team would have to accomplish, you'd have to

      22   allocate responsibilities and know exactly how you're going to

      23   perform these services, indeed, if the counterparties wanted

      24   those services performed post-confirmation.

      25        And we started with a Zoom meeting in August and tried to




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       1   replicate a similar meeting each week so that we stayed on a

       2   timetable.

       3        By the early fall, or mid-fall, I'm sorry, I guess it was

       4   November 24th, I had a conversation directly with Mr. Dondero

       5   by phone.    And on that phone call, I described very much to

       6   him the same situation.

       7        It was Mr. Dondero, Mr. Ellington, Mr. Lynn, Mr.

       8   Pomerantz, Mr. Demo, and Mr. James Romey from DSI on the call.

       9   And on that call, I know we went through several issues, and

      10   some of them were becoming particularly heated, especially the

      11   settlement with Acis, because that was problematic for Mr.

      12   Dondero.

      13        We advised Mr. Dondero that he would have to resign from

      14   the board if he was going to take antagonistic -- not the

      15   board, the portfolio manager position -- if he was going to

      16   take antagonistic positions versus the Debtor.

      17        Mr. Lynn indicated that he was going to depose me with

      18   respect to the 9019 settlements and was -- wanted to be able

      19   to object to those, as well as the Acis settlement as well as

      20   the Redeemer settlement.

      21        We also talked about the potential of the grand bargain

      22   plan, and we talked very specifically about the filed plan,

      23   the monetization plan, and the transition that would have to

      24   be accomplished.    And I walked through, again, my comparison

      25   to a corporate carve-out and the difficulty of achieving those




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       1   kind of transactions even if all parties were working hard to

       2   get them done and wanted to get them done.

       3        And I recall very specifically Mr. Dondero telling me that

       4   I should be prepared, if his grand bargain plan wasn't

       5   accepted, that my transition plan wouldn't be very easy and he

       6   would make it difficult.     And I recall very specifically

       7   saying that I was a Boy Scout for a long time and that the

       8   Debtor would, in fact, be prepared.      While we thought it was

       9   going to be in his economic best interest to come to

      10   agreement, that we would not be left unprepared and the Debtor

      11   would move forward even if he didn't agree.

      12   Q    During the negotiations that you're talking about, was the

      13   form of -- just to focus on the transition part, was a form or

      14   structure of a successor to the Debtor, at least in terms of a

      15   provider of the back- and middle-office services, discussed?

      16   A    Yes.

      17   Q    And what was the -- what was the substance of those

      18   discussions concerning the form of the successor?

      19   A    The initial substance was that it would be some subsidiary

      20   of NPA or a Dondero related-party entity.       I picked NPA just

      21   as a -- because it was a registered investment advisor, it

      22   would be an easy transition over, and that's where the

      23   employees could go, that's where the services could be

      24   provided from, it would be rather seamless, and they were

      25   sharing certain services already -- for example, HR services




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       1   like medical insurance, health insurance, et cetera.          And so I

       2   thought that that would be the easiest entity.       It would

       3   obviously require Mr. Dondero's agreement.

       4        Subsequently, the idea of a Newco became an idea that was

       5   developed originally by Mr. Ellington.       At least, his

       6   representation to me was that the -- he and other employees

       7   didn't want to work directly for Mr. Dondero because he's

       8   already retraded them on the compensation.       Deferred

       9   compensation.

      10   Q    As time moved on, by November, was the Debtor gaining any

      11   momentum with respect to its asset monetization plan?

      12   A    Well, the asset monetization plan began to gain

      13   considerable traction as the possibility of either a grand

      14   bargain or a pot plan fell away.      There were significant

      15   negotiations that we had already discussed in respect -- or,

      16   at the confirmation hearing in respect of the terms of that

      17   plan, and it began to gain significant momentum towards the

      18   voting and the confirmation deadlines.

      19   Q    And did the Debtor make a decision in November to

      20   specifically disclose that it intended to reject all of the

      21   shared services agreements?

      22   A    Well, prior to that time, I had been in front of the

      23   retail boards by phone a couple times and explained basically

      24   the overview of the bankruptcy, what was happening.

      25   Initially, the attempts at a grand bargain, then the filing of




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       1   the monetization plan, and the -- and the possibility of a

       2   grand bargain and the competition between the two and the

       3   likely scenarios for each.

       4        In addition, we talked about, if there wasn't a grand

       5   bargain, what the transition would look like and my

       6   expectation, as I described earlier, that it was in everyone's

       7   economic best interest -- meaning NPA's, HCMFA's, as well as

       8   the funds -- to transition these services from the Debtor,

       9   because we weren't going to continue them, to a Dondero-

      10   related entity to perform those services for the funds.

      11        There were -- there came a time when the disputes with Mr.

      12   Dondero became significant enough where the Advisors and the

      13   funds were actually objecting to certain things that I and the

      14   Debtor were doing in the case, and I told one of the retail

      15   board members that I would no longer participate in any of

      16   their calls.    And he understood why, and I was very specific

      17   that it had to do with their antagonistic actions versus the

      18   estate.

      19        So, as we moved forward towards November, the monetization

      20   plan became clear, it became more and more clear that the

      21   monetization plan was the only plan on the table.        And by mid-

      22   to late November, we had settled on terminating the shared

      23   service agreements and send out termination notices at the end

      24   of November.

      25   Q    Before you send out the termination notices, do you recall




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       1   the Debtor filed their Third Amended Plan --

       2   A     Yes.

       3   Q     -- in particular?

       4                 MR. MORRIS:   And can we just put up on the screen,

       5   please, Exhibit 13?

       6   BY MR. MORRIS:

       7   Q     Do you recall if that's the plan that provided the notice

       8   that the shared services agreements would be terminated?

       9   A     That -- that -- well, the plan continued the position that

      10   if agreements weren't specifically assumed they would be

      11   deemed rejected.

      12         It also made clear that we weren't going to continue to

      13   provide any services for the Advisors and their managed funds.

      14         And then we actually sent specific termination notices

      15   under the agreements.       So those agreements were terminated

      16   pursuant to their terms.       They didn't need to wait for the

      17   confirmation of a plan to be deemed rejected.

      18   Q     Okay.

      19                 MR. MORRIS:   Can we scroll down just a little bit?

      20   Okay.   Keep going.     Yeah, right there.

      21   BY MR. MORRIS:

      22   Q     Do you see the provision beginning on the bottom of Page

      23   24?   Again, this is Exhibit 13.      Continuing to the top of the

      24   next page.      That's the provision that put the world on notice

      25   that the Debtor was not going to assume or assume and assign




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       1   the shared services agreements, right?

       2   A    Well, this is another one of the provisions.       The original

       3   plan made clear that that's what we were going to do, the

       4   original filing that we did in August.

       5   Q    Okay.

       6   A    We were very clear that we would not be assuming these

       7   agreements.

       8        This filing made clear that we were, again, but with even

       9   more specificity, not going to continue to provide these

      10   services, and then subsequently we filed or delivered the

      11   termination notices.

      12   Q    Okay.    And I see the last sentence of the paragraph ending

      13   at the top of Page 25 states that the contracts "will not be

      14   cost-effective."    Do you see that?

      15   A    Yes.

      16   Q    What is that a reference to?

      17   A    Well, I think we've had discussions before, around

      18   confirmation and prior to that, those hearings, that the

      19   Debtor was run at a loss.     And the more work we do, the more

      20   losses we find.

      21        Basically, the Debtor ran at an operating loss, and then

      22   had to sell assets to pay deferred compensation or other

      23   expenses.    The Debtor has been run that -- it appears the

      24   Debtor has been run that way for a long time, and many of the

      25   services that the Debtor provides to the shared services, the




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       1   cost of those services exceed the amount that we receive under

       2   those contracts.

       3        In addition, there's other entities that services -- and

       4   persons for whom significant services are provided and nobody

       5   pays anything.     They're not even contracts.

       6        So, these contracts, the Debtor as an operating entity was

       7   run at a loss.     These contracts were negative.    And that

       8   doesn't even deal with the fact that many times these entities

       9   didn't pay what they did, in fact, owe under the contract.            So

      10   there are significant receivables that are owed by these

      11   entities that haven't been paid.

      12        In addition, the Debtor advances funds on a regular basis

      13   for effectively the operating expenses of the Advisors and is

      14   often not repaid timely.

      15   Q    Okay.    A couple of weeks -- I think you referred to

      16   termination notices.       Did the Debtor send termination notices

      17   to the Advisors shortly after filing this Third Amended Plan?

      18   A    Yes.    They were sent at the end of November.

      19   Q    Okay.    Let's just look at the termination provisions, and

      20   then we'll quickly at the termination notices.

      21                MR. MORRIS:   Can we put on the screen Trial Exhibit

      22   2, which was part of the deck of my opening?

      23   BY MR. MORRIS:

      24   Q    Are you generally familiar, Mr. Seery, with the shared

      25   services agreements with the Advisors?




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       1   A    I am.

       2   Q    And are you aware that the shared services agreements

       3   contain termination clauses?

       4   A    Yes.

       5   Q    All right.    So this is -- what I've put on the screen is

       6   the Debtor's Exhibit No. 2, and it's the shared services

       7   agreement with Highland Capital Management Fund Advisors.         Do

       8   you see that?

       9   A    I do.

      10                MR. MORRIS:   Can we just focus in on Section 7,

      11   please?

      12   BY MR. MORRIS:

      13   Q    Okay.    And is it your understanding that's the termination

      14   clause?

      15   A    Yes.    There's the term.   It's in 7.01.   And the

      16   termination provision is in 7.02.

      17   Q    Okay.    And can you just describe for the Court your

      18   understanding of how Article 7 works?

      19   A    Article 7 works that the agreement will automatically

      20   renew on an annual basis unless one or the other parties

      21   terminates the agreement.      And so each party is entitled to

      22   terminate the agreement on 60 days' advance written notice.

      23   Q    All right.

      24                MR. MORRIS:   If we can take that down and put up

      25   Debtor's Exhibit No. 4, please.




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       1   BY MR. MORRIS:

       2   Q      And do you see this is the shared services agreement

       3   between the Debtor and NexPoint Advisors, LP?

       4   A      Yes.

       5   Q      And are you generally familiar with this document?

       6   A      I am.

       7                  MR. MORRIS:   Can we go to Article 7, please?   Thank

       8   you.

       9   BY MR. MORRIS:

      10   Q      Can you tell the Court your understanding of what Article

      11   7 provides?

      12   A      It's a little bit different than the last one.      This is a

      13   later agreement.       The other one was a document that was

      14   clearly cribbed from another agreement that wasn't exactly a

      15   shared service arrangement.        But this one doesn't have the

      16   automatic renewal.       It just puts the agreement into operation,

      17   and then either party may terminate it at any time on 30 days'

      18   written notice.

      19   Q      And did the Debtor rely on the two Article 7 provisions

      20   that we just looked at to give notice of termination of the

      21   shared services agreements?

      22   A      I'm sorry.    Somebody clicked in.     Did you say did the

      23   Debtor rely on?

      24   Q      Yes.

      25   A      Yeah, those are the governing provisions that we relied




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       1   on, yes.

       2   Q    Okay.

       3                MR. MORRIS:   So can we put up on the screen Exhibit

       4   3, please?

       5   BY MR. MORRIS:

       6   Q    And is this the Debtor's written notice to Highland

       7   Capital Management Fund Advisors of its termination of the

       8   shared services agreement effective as of January 31, 2021?

       9   A    Yes.    That's our notice of termination.

      10   Q    Did the Debtor ever rescind this notice?

      11   A    No.

      12   Q    Okay.    Did the Debtor ever tell the Advisors, to the best

      13   of your knowledge, that the Debtor was considering rescinding

      14   this notice?

      15   A    No.

      16                MR. MORRIS:   Thank you.   Can you take that down and

      17   put up Trial Exhibit No. 5, please?

      18   BY MR. MORRIS:

      19   Q    And is this the Debtor's written notice to NexPoint

      20   Advisors dated November 30, 2020 that it was terminating the

      21   shared services agreement as of January 31, 2021?

      22   A    Yes.    That's the Debtor's termination notice to NPA.

      23   Q    Did the Debtor ever rescind this notice?

      24   A    No.

      25   Q    To the best of your knowledge, did the Debtor ever tell




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       1   anybody at the Advisors that it was considering rescinding

       2   this notice?

       3   A    No.

       4   Q    Okay.    The Debtor --

       5                MR. MORRIS:   We can take that down now.   Thank you.

       6   BY MR. MORRIS:

       7   Q    The Debtor amended their plan of reorganization after

       8   November; is that right?

       9   A    Yes.    There were a couple of different amendments.

      10   Q    To the best of your knowledge, did any amendment ever have

      11   any impact at all on the Debtor's statement that it would not

      12   be assuming or assuming and assigning the shared services

      13   agreements?

      14   A    No.    It goes beyond the best of my knowledge:     It didn't

      15   happen, because it was an integral part of the plan.

      16   Q    Okay.    And can you describe the Debtor's overall view of

      17   the plan and the impact that it had or was expected to have on

      18   the shared services agreements?

      19   A    The basic nature of the plan, as I discussed earlier,

      20   going back to August, but as refined, is that the Debtor will

      21   no longer be in the business of providing shared services to

      22   these Advisors.

      23   Q    Okay.    So the notices are sent on November 30th.       They're

      24   60-day notices.     What do you recall happening in December with

      25   respect to negotiations over the transition of services, if




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       1   anything?

       2   A    The short answer is not much.      So, we did, as I said,

       3   start the transition analysis and discussions and put together

       4   detailed spreadsheets with the various agreements that might

       5   be necessary for each side.     And some agreements would be

       6   required for the Debtor to go forward, some contracts.         Other

       7   contracts were not necessary for the Debtor but were deemed to

       8   be necessary for the Advisors.      And we were working through

       9   that analysis continually through the fall and through

      10   December.    But there weren't -- at that point, there wasn't

      11   very much going on with direct negotiations as to how this was

      12   going to happen.    And my analogy for the Debtor was like

      13   pushing on a string.

      14        Frank Waterhouse in particular had been told by Jim

      15   Dondero that he did not have authority to negotiate for him.

      16   So once we had laid out what the contracts were, and we had an

      17   original structure that the rent would be divided 75/25 and

      18   paid by the Advisors, and then the costs of the contracts

      19   would be divided 60/40, with the majority paid by the

      20   Advisors, we really didn't get much traction other than trying

      21   to put together that term -- that schedule so we knew what

      22   those costs were, and then also to figure out what was unpaid

      23   by the counterparties.

      24        In addition, at that time, because it was pretty clear

      25   that the monetization plan was going to go forward and go into




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       1   the confirmation, right around that time, and it may have been

       2   the beginning of January, the Advisors stopped paying on

       3   certain of the notes, and then we accelerated those notes.

       4   Q    And do you have an understanding as to who was the -- who

       5   was the negotiating leader on behalf of the Advisors in the

       6   December-January time period, if anybody?

       7   A    Well, for the Advisors, it was a combination of the

       8   Highland team that would transition over and their counsel.

       9   And the -- meaning the counsel for the Advisors.

      10   Q    So now, moving into -- withdrawn.      Were the Debtor's

      11   professionals engaged in this process, not just you?

      12   A    Oh.   Oh, yes.   Very deeply.   We spent literally hundreds

      13   of hours with both DSI and your firm, the Pachulski firm,

      14   negotiating provisions, the structure, how this would work,

      15   what the transition would look like.

      16        As I said earlier, corporate carve-out is very

      17   complicated, and there are -- there are often transition

      18   services that have to be carried through for a period of time

      19   where both sides will use certain services.       And then there

      20   are shared services which will be carried through for a longer

      21   period of time.

      22        We came up with a structure that we think worked really

      23   well in light of the term of the lease or the tenor of the

      24   lease, so that we knew how that would work between the

      25   parties, as well as certain IT contracts specifically that




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       1   were required for both parties to function and when their

       2   renewals would come up and then how those businesses -- how

       3   those functions would transition or be subject to renewal of

       4   additional contracts.

       5   Q    As the calendar turns into January and January 31st is

       6   approaching, do you recall the tenor of discussions or what's

       7   happening in the last two weeks of January, if anything, with

       8   respect to --

       9   A    Well, --

      10   Q    -- the negotiations?

      11   A    Yeah.    I mean, we started really pushing it, particularly

      12   after confirmation, to try to get this done, because either

      13   the funds and the Advisors had alternative arrangements or

      14   they didn't.    And if they didn't, we thought that would be

      15   very difficult for, obviously, for them and their funds, but

      16   also for the Debtor, because we had kept their records

      17   previously, we had done the work previously, we had sent in

      18   terminations, and these are SEC-regulated funds.        So we became

      19   very concerned that there was not going to be a responsible

      20   transition.     And in fact, we had gotten very little feedback

      21   -- no feedback, frankly, from the boards -- but very little

      22   feedback from anybody as to whether they were going to accept

      23   the terms that we had put forth or whether they were going to

      24   find an alternative arrangement.

      25   Q    As the calendar got closer to January 31st, was there a




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       1   request by the Advisors for an extension of the termination

       2   deadline?

       3   A    It became clear that they did not and had not done

       4   virtually anything.      I sent, I think, three or four letters

       5   and emails directly to board members imploring them to pay

       6   attention, to take action, and if they had an alternative

       7   plan, to tell us.    By the end of January, it was clear that

       8   they didn't have any alternative plan and needed more time.

       9               MR. RUKAVINA:    Your Honor, I'll move to strike that.

      10   Clear that they had no alternative plan.       There's no

      11   foundation for him to make that statement.

      12               THE COURT:   I overrule.

      13   BY MR. MORRIS:

      14   Q    You mentioned the SEC.      Was the Debtor concerned about the

      15   SEC's position if the Debtor had simply terminated services

      16   under the contracts as of January 31st?

      17   A    Very much so.    So, my own personal experience, as well as

      18   the experience of our fund counsel, is that while the SEC

      19   keeps a close eye on a number of issues related to investing

      20   and fund management, retail funds get particular focus because

      21   of the individuals who can invest in those and at least the

      22   perception that they may not be as able to defend their rights

      23   as others.    So the SEC does keep a particularly close watch on

      24   those kinds of funds.

      25        We were concerned that, even though we had done everything




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       1   we believe correctly to terminate the agreements pursuant to

       2   their terms, and in fact had negotiated for months in good

       3   faith and spent millions of dollars trying to get a

       4   transition, that if the funds were to simply stop providing

       5   information to their investors or were to stop being able to

       6   service their investors, that a SEC investigation would ensue

       7   and that it would cost the Debtor time and considerable money

       8   to deal with those issues.

       9        Notwithstanding that, we felt it was important to notify

      10   the SEC, and so we reached out through our counsel and advised

      11   them of what we believed was going on and our view, based upon

      12   the actual discussions and the request from the Advisors for

      13   an extension, that nothing had been done up into the first

      14   weeks of February.

      15   Q    Thank you.    And ultimately, the Debtor and the Advisors

      16   agreed to a two-week extension of time; do I have that right?

      17   A    We agreed to a two-week extension in the first extension.

      18   Q    Uh-huh.

      19   A    And during that time, we tried to get, in particular, the

      20   employees that would be transitioning and become the Newco to

      21   really focus on trying to get an agreement nailed down.         And

      22   so we had our -- our advisors take the agreement that was

      23   largely structured in terms of knowing what the contracts were

      24   and the costs that -- and work on trying to nail down the

      25   final terms with respect to how the shared services would work




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       1   over a period of time, including working with third-party

       2   vendors.

       3   Q    I just want to follow up on a couple of things that were

       4   in your prior answer to make sure that the record is clear.

       5   Does the Debtor have special fund counsel?

       6   A    Yes.

       7   Q    And who is the Debtor's fund counsel?

       8   A    WilmerHale.

       9   Q    And is it your understanding that they have the expertise

      10   with respect to the securities and the management of funds of

      11   the type that are at issue in this case?

      12   A    Yes.    They're one of the top firms in the country in this

      13   area.

      14   Q    Okay.   And did -- well, I'll just leave it at that.        Do

      15   you recall during this time if the Debtor informed the

      16   Advisors that it would participate in negotiations only if

      17   outside counsel were present?

      18   A    Not negotiations.    I think we would always have been

      19   willing to engage ourselves in negotiations.       What we were

      20   concerned with were the employees who were forming Newco being

      21   put in what we thought were untenable positions with respect

      22   to negotiations involving certain members of the Advisors'

      23   team and the board -- of the funds' boards of directors.          And

      24   that came from very specific concerns that employees raised

      25   with us about threatening conduct and statements from some of




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       1   those folks.

       2        There were a few employees that had shared service

       3   responsibilities that were actually deemed employees or deemed

       4   officers at some of the Advisors.      And so there was what I

       5   will call a blame game going on, and the -- as soon as we came

       6   to the end of January and there wasn't an ability to get a

       7   deal done, certain members of the Advisor team or the fund

       8   boards took very strident positions vis-à-vis those Debtor

       9   employees.    And we were very concerned that, if there wasn't

      10   someone there, counsel and taking notes, that those employees

      11   would be at a disadvantage.

      12        We also recommended that those employees resign those

      13   positions because the negotiation and the positions of the

      14   parties had separated such that we thought that having the

      15   shared responsibility was untenable.

      16        We made clear that we would have one of our counsel sit on

      17   the phone and they would be there to listen and take notes and

      18   nothing else.    And so that was something that I put in place

      19   after advice of counsel that we were leaving our employees in

      20   a very untenable space.

      21   Q    And with respect to the notion of resigning, do you recall

      22   if you gave the employees the option of resigning from one

      23   entity or the other, or was it just from the Advisors?

      24   A    From the Advisors.    But they obviously could have always

      25   resigned from the Debtor.     We don't have any, with those




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       1   employees, any contracts, and certainly it was -- I think I've

       2   always made clear that if someone has a better opportunity,

       3   they should go take it.

       4   Q    And is it fair to say that during this two-week period,

       5   notwithstanding some of the things that you described, the

       6   parties did, in fact, make progress towards getting to a final

       7   transition services agreement?

       8   A    Yeah.   I think -- I think we made -- we made good

       9   progress.    And even on the resignation issue, my understanding

      10   -- and I didn't have these discussions directly -- was that

      11   the Advisors agreed and I think the funds agreed that those

      12   employees could resign, and if they ended up at Newco and

      13   Newco was providing services, they could reassume those

      14   positions post-termination from the Debtor.

      15        So I think there was considerable progress around those

      16   items.

      17        The operational items, there was considerable progress

      18   around.

      19        There was already, I think, really good understanding and

      20   agreement on the cost split.

      21        And then there was considerable discussion around the

      22   shared -- some of the shared items going forward, and then how

      23   the transition mechanics would work in the event that one

      24   party wanted to continue a contract and the other didn't.

      25        So there was -- there was -- by the end of the two-week




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       1   period, we'd started to make enough progress that we -- we

       2   thought we'd actually get there.      It really shouldn't have

       3   taken as long as it did.     It was -- it was, you know, one step

       4   forward, one and a half steps back, quite often.        But I think

       5   we had a -- largely had an idea that we were very close

       6   towards the end of that two-week period.

       7   Q    And was that the reason why the Debtor agreed to a short

       8   further extension of the termination deadline to February

       9   19th?

      10   A    Yes.   The original concept that I had come up with with

      11   one of the employees who was negotiating for the Newco was

      12   that there was no reason that we would have any -- we

      13   shouldn't be able to get it done in two weeks, particularly

      14   since the economics had largely been agreed to and deemed fair

      15   by the financial staff as well as the operators in the

      16   business.    That we would use the next week to cross T's and

      17   dot I's and get in a position to transition the employee team.

      18        We also at that time extended the time for the employees

      19   by a week, to make sure that, just in case we didn't get a

      20   deal done, we had the staff to be able to clean up, if you

      21   will, if negotiations completely fell apart.

      22        But we did, we did agree to an extension at that point.

      23   The counterparties paid for that extension.       They paid the

      24   costs, not fully loaded, but costs of the employees, to help

      25   defray the costs that we were carrying for them.        And that we




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       1   hoped we'd have it completed by that final week.

       2   Q    Did you have concerns, as the CEO, that the employees have

       3   sufficient time to transition and wind down other aspects of

       4   the Debtor's business that were being adversely impacted by

       5   this process?

       6   A    Oh, absolutely.    And if the deal was done, then we would

       7   have a shared service arrangement.      And just to be clear, the

       8   way that typically works is that -- we'll use the actual

       9   parties -- the Debtor would still stay in its space, use its

      10   systems, have its contracts.     The Newco or NPA entity would

      11   stay in its space and use its contracts, most of which are in

      12   the Debtor's name, but under the same arrangement that we had

      13   previously, and we would be sharing a lot of services, so that

      14   the transition issues that the Debtor has we would be able to

      15   accomplish because the team would still be with us but they

      16   would be part of the Newco or NPA as a shared resource.

      17        In the event that we weren't able to reach agreement, I

      18   needed to make accommodation with those employees to continue

      19   to provide those services in order for the Debtor to complete

      20   its transition.

      21   Q    All right.    So let's take -- let's take this back a week,

      22   to last Tuesday.    As of that time, did the Debtor believe that

      23   it had reached an agreement on all material terms with the

      24   Advisors?   With one exception?

      25   A    Cautiously, yes.    I think at that point we felt that we




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       1   were -- we were close, but there was a material open issue

       2   that we had in terms of trying to get the final agreement

       3   done.

       4        And frankly, we were very concerned -- and this is borne

       5   by history, not just of my own but the other folks on our team

       6   who've been around a lot longer -- that there was a

       7   considerable risk that the deal that was agreed to wouldn't

       8   actually be signed and it would be retraded as we went

       9   forward.

      10   Q    As of Tuesday, did the Debtor inform the lawyers for the

      11   Advisors that it was prepared to sign a fully-negotiated term

      12   sheet, or, in the absence of that, it would seek judicial

      13   relief?

      14   A    Well, I gave instruction to counsel -- and this was -- you

      15   know, we had reviewed this with both your firm and with

      16   Wilmer, the WilmerHale firm -- as to how we should go about

      17   making sure that the estate was protected in the event that

      18   there was either a retrade or we simply couldn't come to a

      19   final agreement.    And we had -- I advised your firm to tell

      20   counsel on the other side that the agreement was done, that we

      21   were prepared to sign it, but if they were unwilling to sign

      22   it we were going to seek Court intervention to make sure that

      23   we had approval of what we had done to date, declaratory

      24   judgments setting forth or approving what we had done with

      25   respect to the negotiations.




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       1   Q    Was there -- was -- was there one issue that was -- one

       2   meaningful issue that dividing the parties at that point in

       3   time?

       4   A    Well, the new -- the new issue that was surfaced, and it

       5   was a new issue, was this idea that, notwithstanding the

       6   preliminary injunction and notwithstanding how the business

       7   has been run for the last couple months, that Mr. Dondero

       8   would be able to come back into the office.       It didn't seem,

       9   frankly, like a real business issue, but it became a

      10   significant sticking issue.     Because for the Debtor, it's a

      11   very significant issue.

      12   Q    Why didn't the Debtor just agree to allow Mr. Dondero back

      13   into the offices?

      14   A    Well, as the Court has heard before in prior hearings, Mr.

      15   Dondero's conduct through the fall, once the monetization plan

      16   had been put in place, has been extremely difficult, to say

      17   the least.    Threatening email or texts to me.     Obstreperous

      18   litigation, I would say vexatious litigation, with respect to

      19   every aspect of the transition.      Numerous retrading of

      20   provisions in this negotiation.      And statements and

      21   effectively, I think, threats to other employees, including

      22   while he was on the stand, you know, in the court.        And I

      23   found, from my seat, that that would be really difficult to

      24   bring employees back into the Debtor to help implement the

      25   plan while Mr. Dondero was in that space.       There was really no




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       1   need for him to have to be in that space from an operational

       2   perspective, as the funds and the Advisors had proved for the

       3   prior two months.

       4   Q    Is it your understanding that, but for the issue of Mr.

       5   Dondero's access, the Advisors and the Debtor had otherwise

       6   agreed to all material terms of a transition services

       7   agreement as of last Tuesday evening?

       8   A    Yes.

       9   Q    Did the Advisors sign the term sheet that the Debtor had

      10   tendered that reflected what you just described?

      11   A    I don't recall if the Advisors did.      I certainly did.      But

      12   there were -- there were additional changes.       So we -- we had

      13   reached that agreement earlier in the week.       We didn't get

      14   agreement on the final point of Mr. Dondero's access.         We

      15   filed our pleadings in the Court, and I believe that was

      16   Tuesday or Wednesday, and then moved forward towards this

      17   hearing.

      18        And during that time, the negotiations continued.        So

      19   there were a number of different changes, but we -- we were

      20   very clear that we had an arrangement, we had a deal that was

      21   fully negotiated, we had a deal that we thought was extremely

      22   beneficial to the Advisors, that it worked well for the

      23   Debtor, that it worked well for the Debtor's employees, who

      24   would then be Newco employees, or NPA employees, depending on

      25   how they ended up splitting it, and that the flexibility of




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       1   that agreement served all the parties' interests and we didn't

       2   intend to change it.

       3   Q    Did -- do you know whether the Debtor provided to the

       4   Advisors' counsel a copy of the complaint and the motion that

       5   it was intending to file prior to the time that it actually

       6   filed the documents?

       7   A    Yes, we did.

       8   Q    Okay.   So the Debtor gave -- is it fair to say the Debtor

       9   gave the Advisors specific notice, and, indeed, copies of the

      10   documents before the action was commenced?

      11   A    Well, I think we -- part of the strategy we'd come up with

      12   with WilmerHale was that we should do everything we can to be

      13   accommodative, within the reason -- within what we thought was

      14   reasonable for the Debtor being able to implement its plan.

      15   And I believe we did that.     And out of caution and

      16   frustration, both with respect to the inability to get TS, if

      17   you will, as well as the concern that you could have a

      18   retrade, based on past experience, we told him if we didn't

      19   have an agreement that was signed and that was binding, that

      20   we would move forward with the court hearing.

      21        The reason this is structured, by the way, as a binding

      22   term sheet, it was a scramble in January to try to put it

      23   together.    Otherwise, we would have had a binding agreement.

      24   It actually reads more like an agreement than a term sheet,

      25   and has a significant Schedule A on the back.       But the amount




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       1   of time that's been spent on this, it's probably not fair to

       2   call it a term sheet.     It's an agreement.

       3   Q    After the Debtor commenced the action, do you recall that

       4   last Friday the Advisors made a written proposal through their

       5   counsel with two options, an Option A and an Option B?

       6   A    Yes, I do.

       7   Q    Did the Debtor perceive at that time that the Advisors'

       8   attorneys were authorized to make that offer?

       9   A    Well, they represented that they were.      We were at a -- we

      10   were at a crossroads.     We had spent so much time on this

      11   agreement and trying to get to a final shared service

      12   arrangement that the last day for employees, which was

      13   scheduled to be the last day of the month, was coming on us

      14   very quickly.     And if we weren't going to get this shared

      15   arrangement done, we had to make significant decisions with

      16   respect to how to transition, with whom to transition, and how

      17   to move forward to implement the plan.      So we couldn't,

      18   frankly, waste any more time on this agreement.       And I say

      19   "waste" with thought, because we thought it was productive,

      20   but the amount of time, literally months, is astounding for

      21   something that is not that complicated.

      22        We got to Friday, and the new arrangement or proposal from

      23   the Debtor was -- was basically you can -- I mean, from the

      24   funds, Advisors, was you can take A or B.       A was, in essence,

      25   the same arrangement we had prior in the week, but Mr. Dondero




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       1   could come in the office.     We'd already told them that was

       2   untenable, it didn't work.

       3        B was you could -- we could do the same arrangement except

       4   the Advisors would not be responsible for any of the rent.

       5   Recall that I mentioned that this was a 75/25 split on the

       6   rent.   Roughly, that's about a million dollars to the estate.

       7        We spent time Friday morning with the IT folks and with

       8   the operations folks on can this be done?      Can we actually

       9   provide -- can you provide the services?      Can these funds be

      10   run if they're not in the office?      And the answer was so long

      11   as the operations people can have access to the office and so

      12   long as the IT people can have access to the office, we could

      13   largely run it.    So this was just really a retrade on

      14   economics.

      15        We determined that, fine, we'll take Option B, even though

      16   it cost the estate.    We didn't have the luxury of being able

      17   to continue to waste time and negotiate this with the

      18   impending dates coming up.     So we agreed to Option B on

      19   Friday.   I, in fact, sent my term sheet to counsel to deliver,

      20   and it was scheduled, I think, as you mentioned earlier in

      21   your opening, for the afternoon of Friday for a call to go

      22   through wire transfers, which included an initial payment plus

      23   a deferred payment, a monthly payment, plus the cost payments

      24   that would be made under the agreement, and certain offsets

      25   that we had previously agreed to.




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       1   Q     And are you aware, did the Debtor, through counsel, inform

       2   the Advisors, through counsel, that the Debtor had accepted

       3   Option B?

       4   A     Yes.   My counsel told me that they had sent over notice to

       5   them, that the call to walk through the final points and to

       6   assure that wires were being sent and to engage in the

       7   exchange of signatures was set up and everything was agreed

       8   to.

       9   Q     And what happened later in the day?

      10   A     I would say shockingly, but it wasn't, we were told that

      11   the call was off.    Mr. Hogewood advised that, through email,

      12   that there would no longer be a necessity of a call and he

      13   would be reaching out directly to Debtor's counsel.

      14   Q     And did you learn after -- after -- in the afternoon that

      15   the Advisors had withdrawn Option B, the one that the Debtor

      16   had accepted?

      17   A     Initially, it was withdraw Option B, and then it was

      18   accompanied I think with a basic statement that we don't

      19   really need you anymore, which was surprising, only because it

      20   --

      21         (Interruption.)

      22   A     -- a transition like this, you would -- you would run

      23   systems side by side, make sure that your IT folks were

      24   heavily involved.    You would assure that your -- your human

      25   resources and operations folks were involved.       And none of




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       1   that had been done because it was assumed that the transition

       2   would happen.

       3   Q    Is it your understanding that the Advisors were still at

       4   that time willing to do Option A, the one that would allow Mr.

       5   Dondero back in the office?

       6   A    I believe they were, yes.

       7   Q    Do you know if the Advisors made any further offers in

       8   respect of a transition of services over the weekend?

       9   A    Well, that was one of the things that was odd and belied

      10   their statement that they could operate without any assistance

      11   from the Debtor, is that they left Option A on the table.         If

      12   they had alternate arrangements, why was Option A still on the

      13   table?   So that was puzzling, but counsel made the

      14   representation to us and we took it.       And then other counsel

      15   over the weekend just started lobbing in proposals.

      16   Q    Did those proposals contemplate in any way the continued

      17   provision of services by the Debtor to the Advisors?

      18   A    That's -- that's what they were, yes.

      19   Q    Okay.   All right.   Why did the Debtor commence this

      20   lawsuit?

      21   A    Well, I -- as I explained earlier, we believe that we've

      22   done everything we were supposed to do or required to do under

      23   the contracts, the shared service arrangements, in terms of

      24   both operating under those agreements and terminating them

      25   according to their terms.     We believe we've done everything




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       1   that we'd be required to do under the Bankruptcy Code with

       2   respect to filing a plan, making clear what the provisions are

       3   with respect to executory contracts, and making that plan --

       4   making it even more clear what the provisions dealt with, how

       5   the provisions of the plan would impact executory contracts

       6   and how those contracts would be deemed rejected if they

       7   weren't explicitly accepted and assumed.       And we made clear,

       8   we wanted to make clear that we'd properly terminated the

       9   agreements in accordance with their terms.

      10        So we filed this action because of the, frankly, the back-

      11   and-forth negotiations as well as the accusations and threats

      12   from earlier in the negotiations that I previously described,

      13   where we're seeking now a declaration that the shared services

      14   were properly terminated in accordance with their terms, that

      15   the shared services were not assumed pursuant to the contract,

      16   and although they'd been terminated, even if they had not been

      17   terminated, they would -- they would be deemed rejected.         That

      18   the Debtor is permitted, because of the terms of both the plan

      19   and the contracts, which have been terminated, to cease all

      20   access and support and has no further responsibility for

      21   providing any services to the shared service counterparties

      22   under those terminated agreements, and that the shared service

      23   parties, the Advisors, come forth and tell the Court, tell the

      24   world, tell the investors, and tell the SEC that they have an

      25   alternative arrangement.




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       1        And, again, our concern is while, yes, we are good

       2   corporate citizens and we want to make sure that we don't

       3   leave, if you will, a mess because of the actions that are

       4   happening in the court, we're very concerned that our

       5   counterparties may not be as concerned about the mess they

       6   leave.

       7        And we -- one of the reasons we reached out to the SEC was

       8   to make sure that they were on notice of this proceeding and

       9   the potential impact on retail investors, and we think that

      10   it's something that the Court should require these Advisors,

      11   who have been in antagonistically fighting the case, knowing

      12   the specific provisions of the case, and not making

      13   arrangements until the last 24-48 hours, we do -- we do

      14   believe that, as corporate citizens and as responsible

      15   fiduciaries in a bankruptcy, we have some responsibility to

      16   make sure these terminations are handled correctly.           While we

      17   may not be able to force them to do so, we should have them

      18   tell us how they're doing it.

      19   Q    Does -- did the Debtor have any concerns that the failure

      20   of the Advisors to adopt and implement a transition plan, that

      21   that might have negative impacts on the Debtor's ability to

      22   implement its plan of reorganization?

      23   A    Well, as I said earlier, the SEC, in our experience and

      24   our counsel's experience, takes a particular focus on retail

      25   funds.   And where those funds have blown up for various




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       1   reasons, whether they are unable to make a redemption or

       2   they're caught in some kind of security that doesn't match the

       3   investment parameters of the fund or whatever those are, the

       4   SEC takes a particular focus, and investigations can take

       5   significant time and have significant cost for all parties who

       6   are anywhere near the retail funds.      And, clearly, as the

       7   provider of shared services to the Advisors, while we didn't

       8   have any agreement with the funds, if the SEC came in to

       9   investigate or if they do come in to investigate what's gone

      10   on here, there will be a significant cost, and it will, if not

      11   derail, it will certainly slow down our implementation of our

      12   plan.

      13   Q    What exactly does the Debtor want the Court to -- what

      14   relief is the Debtor seeking now that the Debtor has learned

      15   of the four-legged plan that was described yesterday in the

      16   deposition?

      17   A    The declaratory relief that I just stated would be

      18   essential for the Debtor.     One, that the contracts were

      19   properly terminated, in accordance with their terms.          Two,

      20   that they were not assumed pursuant to the plan.        And three,

      21   that the Debtor is permitted to cease all services and all

      22   access to the shared service counterparties.

      23        To the extent that they need assistance, we'll help them

      24   out, we'll give them information.      If they have third-party

      25   professionals that they want to send over, we'll help them




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       1   with data retrieval.     But we do have a plan to implement, and

       2   we don't have necessarily the full staff to provide services

       3   that they were otherwise receiving from us.       So we would like

       4   a declaration that we do not owe them any of those prior

       5   services from the terminated contracts.

       6   Q    Did you hear in the opening Mr. Hogewood mention that the

       7   Advisors do want continued access to the Debtor's books and

       8   records?   Or to their, I guess, to their own books and

       9   records?

      10   A    They'll be able to get access, but that doesn't mean that

      11   it's access 24 hours a day.     That doesn't mean they get to

      12   continue to use the systems without paying for them.          That

      13   doesn't mean they get to use employees without paying for

      14   them.   If they have data requests, we would certainly get to

      15   them, but we have to maintain and employ people to do that.

      16   Q    And is part of the injunction that the Debtor seeks here

      17   is to have the Court direct the Advisors to implement and

      18   adopt a transition plan that would include taking -- taking

      19   their books and records so that the Debtor isn't in that

      20   position for a long-term -- on a long-term basis?

      21   A    Well, we certainly don't want to be in that position for a

      22   long-term basis.    We -- we're certainly not going to be the

      23   party that has to maintain their records.       If they can lift

      24   them off, we will do that.

      25        The challenge has been, according to our IT professionals,




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       1   who are quite good, separating the data is difficult.

       2          Now, we know that the Advisors' employees were extracting

       3   a lot of data off the system over the last week.       And whether

       4   it was on thumb drives or direct transfers, we know that a lot

       5   of data has been taken, which is fine.      We just don't -- we

       6   don't know what else they might need and we're not in a

       7   position to provide a full level of service to them at --

       8   after today.

       9   Q      Is the Debtor asking the Court to force the Advisors to

      10   adopt any particular plan?

      11   A      Not at all.   If they -- if their plan works, that's great.

      12   If they went to a third-party service, some other fund --

      13   outside fund advisors or shared service providers that can do

      14   the job, that's fine.     We would like to just have the least

      15   amount of burden on our estate going forward, and a

      16   declaration that we have no responsibility to provide any

      17   particular services, I think, is essential.

      18   Q      And would the mandatory injunction that required the

      19   Advisors to adopt and implement a transition services plan,

      20   would that -- how does that advance the Debtor's goals?

      21   A      Well, it sets forth exactly what the Advisors and the

      22   funds think they need.     And if it's something other than that,

      23   then they're going to have to come talk to us, and we'll

      24   figure out whether we can provide it and then how it gets paid

      25   for.




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       1               MR. MORRIS:    Your Honor, I have no further questions

       2   of Mr. Seery right now.

       3               THE COURT:    All right.     Pass the witness.   Mr.

       4   Rukavina?

       5               MR. MORRIS:    Your Honor, may I just ask for a short

       6   break?

       7               THE COURT:    All right.     Does everyone need a break?

       8               MR. RUKAVINA:    Your Honor, I won't -- Your Honor, I

       9   won't have much for this witness, so I might suggest if Mr.

      10   Morris can wait five or ten minutes.         But whatever is good for

      11   the Court.

      12               MR. MORRIS:    Go right ahead, sir.

      13               THE COURT:    All right.

      14               MR. MORRIS:    Thank you.

      15               THE COURT:    Ten minutes.     If you take more than ten,

      16   we're going to break.       Thank you.

      17               MR. RUKAVINA:    Yes.

      18                               CROSS-EXAMINATION

      19   BY MR. RUKAVINA:

      20   Q    Mr. Seery, very quickly, I just want to make sure that the

      21   record here is complete.       You were discussing Option A and B

      22   that was put on the table on Friday, and you were discussing

      23   then how Option B was taken off.         Do you recall that?

      24   A    Yes.

      25   Q    And you did mention to the judge that Option A was that my




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       1   clients would take all of the leasehold space, correct?

       2   A    I don't think I mentioned that, no.

       3   Q    Okay.    Well, I just want to make sure the judge

       4   understands that Option A, my clients would have paid for a

       5   hundred percent of the rent going forward.           Correct?

       6   A    I don't believe that's how Option A worked, no.            I believe

       7   that Option A was structured that, in essence, the Debtor

       8   would get out and the shared -- the Advisors would keep all of

       9   the space as well as all of the systems and all of the

      10   records.

      11   Q    Correct.    But the Advisors would pay a hundred percent --

      12   okay.

      13                MR. RUKAVINA:    Let's just pull up Exhibit 19, Mr.

      14   Vasek, please.

      15   BY MR. RUKAVINA:

      16   q    And I just want the -- I just the record to be clear here,

      17   Mr. Seery.

      18                MR. RUKAVINA:    Mr. Vasek, are you there?     (Pause.)

      19   And then scroll down to Page 5 of 7.         Okay.   Stop there.

      20   BY MR. RUKAVINA:

      21   Q    Mr. Seery, can you see this to refresh your memory?

      22   A    Yes.    I didn't need it to be refreshed.        That's what I

      23   said.

      24   Q    Well, doesn't Option -- doesn't Option A here say NexPoint

      25   parties take one hundred percent of the leased premises and




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                                        Seery - Cross                       70


       1   one hundred percent of the rental cost?

       2   A      It does, but the key part of it is that the Debtor gets

       3   out.

       4   Q      I understand that.

       5   A      It gives up control of that stuff.

       6   Q      I understand that.    I was just trying to clarify for the

       7   record, because you didn't mention it before, that NexPoint

       8   would pay a hundred percent of the rent.       And I am correct

       9   about that, right?

      10   A      That's correct.

      11   Q      Okay.   And Option B, you mentioned in your direct

      12   testimony that in Option B my clients would pay no rent.         Do

      13   you recall that?

      14   A      Yes.

      15   Q      But do you also recall that under Option B my clients

      16   would vacate the premises?

      17   A      I believe -- yes.    I think I said that, yes.

      18   Q      Okay.   I believe you also mentioned that the Dondero

      19   access issue was a last-second issue.        In fact, that had been

      20   a lingering issue for weeks, had it not?

      21   A      I don't believe so.    I don't think it came in until after

      22   January 31st.

      23   Q      Are you not aware that with each turn of the draft

      24   agreement your lawyers would change it to make it clear that

      25   Dondero couldn't have access while the Advisors' lawyers would




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       1   change it to make clear that Dondero could have access?

       2   A    I'm aware that those went on, but I believe that was after

       3   January 31st.

       4   Q    Okay.    I think I have very few questions, since Mr. Morris

       5   really, I think, went over it in quite some detail.           Please

       6   confirm for the Court that my clients' employees have vacated

       7   the premises as of last Friday?

       8   A    That's my understanding, but they still are accessing

       9   services.

      10   Q    Okay.    And please confirm for the Court that the Debtor

      11   has not and will not provide any transition services after

      12   last Friday, February 19th.

      13   A    We actually have provided assistance, and certain of the

      14   employees of the Debtor are doing things for the -- your

      15   clients.

      16        So, for example, trades were conducted yesterday by

      17   clients of HCMLP for your clients.      Data was accessed by your

      18   clients.     Equipment was taken from the office and used by your

      19   clients.     The systems were maintained by the Debtor and

      20   accessed by your clients.     It's a pretty extensive list.

      21   Q    But that's because you have decided to allow that to

      22   facilitate the transition, correct?

      23   A    That's correct.

      24   Q    Yeah.    You're not doing that because there's an agreement

      25   in place; you're doing it out of good faith but not because




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       1   there's any kind of requirement to do that, correct?

       2   A    That's correct.

       3   Q    Okay.   As of February 19th, the Debtor is no longer

       4   required to provide any of the shared services, and it will

       5   not, unless you on a one-by-one basis agree to permit it,

       6   correct?

       7   A    I haven't been doing it on a one-by-one basis.       We did it

       8   on a blanket basis.

       9   Q    Okay.   And as of the end of today, that's over, right?

      10   A    I hope so.    We'll have an order that will give us the

      11   declarations we desire and we can move forward.

      12   Q    Well, let me clarify my question.      If the judge does not

      13   enter a mandatory injunction, the Debtor has nevertheless told

      14   the Advisors that any of the shared services are done as of

      15   the end of the day, correct?

      16   A    I don't believe that's the case.      We'll consult with our

      17   counsel, both bankruptcy and regulatory.

      18   Q    I think you mentioned this, but you can confirm for the

      19   Court that some of the data held by the Debtor is actually the

      20   property of the Advisors, correct?

      21   A    I don't -- I don't know that it's the property of the

      22   Advisors.    I think they're entitled to receive it, but we're

      23   entitled to keep a copy.

      24   Q    Okay.   Well, I'm not going to waste the Court's time by

      25   reading the transition services agreement, but if that -- I'm




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       1   sorry, the shared services agreement -- but if that agreement

       2   provides that my clients' data is its property, you wouldn't

       3   disagree with that, would you?

       4   A    No, I wouldn't --

       5                MR. MORRIS:    Objection.

       6                THE WITNESS:     If that's what it says, I wouldn't

       7   disagree with it.

       8   BY MR. RUKAVINA:

       9   Q    Okay.    And in fact, the Advisors have already copied a

      10   large amount of data and have taken that copy for their own

      11   use, correct?

      12   A    That's what I've been advised.

      13   Q    Okay.    And with respect to their own data, not the

      14   Debtor's data, you will continue to, with reasonable access,

      15   permit them to copy the balance of whatever their own data

      16   remains, correct?

      17   A    To the extent that we can, yes.

      18   Q    Yeah.    Yeah.   Okay.    And just to confirm, other than the

      19   employees that you determined will be retained by the

      20   Reorganized Debtor, the remaining employees will be terminated

      21   effective February 28th?

      22   A    Not -- not all, no.       There's a -- there are some changes

      23   to that.

      24   Q    Okay.    Well, some employees are going to be terminated on

      25   February 28th, correct?




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       1   A    Yes.

       2   Q    Okay.    And the Debtor doesn't have a problem with my

       3   clients either directly or indirectly retaining those

       4   employees, correct?

       5   A    No problem at all.

       6   Q    Okay.    Thank you.

       7                MR. RUKAVINA:    Your Honor, I'll pass the witness.

       8   Thank you.

       9                THE COURT:    Any redirect?

      10                MR. MORRIS:    I have no redirect, Your Honor.

      11                THE COURT:    All right.   Thank you, Mr. Seery.

      12        We'll take a ten-minute break.        It's 10:51 Central.    We'll

      13   come back a minute or two after 11:00.

      14                THE CLERK:    All rise.

      15                MR. MORRIS:     Thank you, Your Honor.

      16                MR. POMERANTZ:    Thank you, Your Honor.

      17        (A recess ensued from 10:51 a.m. until 11:05 a.m.)

      18                THE CLERK:    All rise.

      19                THE COURT:    All right.   Please be seated.   All right.

      20   We're back on the record in the Highland-Advisors matter.           Mr.

      21   Morris, you may call your next witness.

      22                MR. MORRIS:     Thank you, Your Honor.   The Debtor calls

      23   (audio gap) Dondero.

      24                THE COURT:    I'm sorry.   Did you say Mr. Dondero?

      25                MR. MORRIS:    Yes.




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      1               THE COURT:    All right.   Mr. Dondero, could you speak

      2   up?   Please say, "Testing, one, two" so we pick up your video.

      3               MR. DONDERO:    Testing, one, two, three.

      4         (Feedback.)

      5               THE COURT:    All right.   Well, I heard you.    I don't

      6   see the video yet.       There you are.   Okay.    We're going to hope

      7   we've got some good audio.      I was hearing a little bit of

      8   feedback.    Please raise your right hand.

      9               MR. DONDERO:    Oops, I'm sorry.      I can't hear anybody.

     10               THE COURT:    All right.   I need you to please raise

     11   your right hand to be sworn in.        Well, this is a problem.       Mr.

     12   Dondero, --

     13               MR. DONDERO:    Take off the headphones?

     14               MR. WILSON:    Judge, we're trying to get his

     15   headphones to get the sound through them.          Should just be just

     16   a second.

     17         (Pause.)

     18               THE COURT:    All right.   Do I need to be speaking to

     19   see if they can hear me clearly?

     20               A VOICE:   How's it going?

     21               THE COURT:    All right.   What's going on?

     22               MR. WILSON:    I can hear you, Judge.      We're just

     23   working through a technical issue with Mr. Dondero's

     24   headphones.

     25               THE COURT:    All right.




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       1                MR. WILSON:    Hopefully we can resolve that

       2   momentarily.     (Pause.)    We can try that.

       3        (Pause.)

       4                MR. WILSON:    Your Honor, we're going to move Mr.

       5   Dondero to another room so that we can get this issue resolved

       6   without the need for headphones.

       7        (Pause.)

       8                MR. DONDERO:    Testing, one, two, three.

       9                THE COURT:    All right.   We got you.   Well, we've got

      10   your sound.     Can you hear us okay, Mr. Dondero?

      11                MR. DONDERO:    Yes.

      12                THE COURT:    All right.   Please raise your right hand.

      13        (The witness is sworn.)

      14                THE COURT:    All right.   Mr. Morris, go ahead.

      15                MR. MORRIS:    Thank you, Your Honor.    John Morris;

      16   Pachulski, Stang, Ziehl & Jones; for the Debtor.

      17                 JAMES D. DONDERO, DEBTOR'S WITNESS, SWORN

      18                               DIRECT EXAMINATION

      19   BY MR. MORRIS:

      20   Q    Can you hear me okay, Mr. Dondero?

      21   A    Yes.

      22   Q    Okay.    Just a few questions.     You were aware in November

      23   that the Debtor had given notice of termination of the shared

      24   services agreements with the Advisors, correct?

      25   A    Yes.




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       1   Q    Okay.    And you understood that the Debtor was going to

       2   terminate all shared services to the Advisors as of January

       3   31, 2021, correct?

       4   A    Yes.

       5   Q    And were Dustin Norris and D.C. Sauter authorized by you

       6   to try to negotiate with the Debtor the terms of a transition

       7   services agreement?

       8   A    Yes.

       9   Q    And had the Debtor adopted a transition plan as of January

      10   31, 2021 pursuant to which it would not need any services from

      11   the Debtor?

      12   A    I don't know.

      13   Q    Okay.    You're not aware of the Advisors having a plan in

      14   place as of the termination date that would have allowed the

      15   Advisors to obtain back-office and middle-office services from

      16   somebody other than the Debtor, correct?

      17   A    I don't know.    They were always working on a Plan A and a

      18   Plan B.

      19   Q    Okay.    Are you -- did you become aware that the Debtor had

      20   agreed to extend the termination deadline by a couple of

      21   weeks?

      22   A    Yes.

      23   Q    And is it your understanding that that extension was

      24   granted in order to give the Advisors more time to develop a

      25   transition services plan?




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       1   A    I -- I think it was to continue negotiations.       I don't --

       2   I don't know if the plan was part of the reason.

       3   Q    Okay.    Did you learn at some point early last week that

       4   the Debtor and the Advisors had reached an agreement on all

       5   material terms of a transition services agreement but for your

       6   access to the Debtor's offices?

       7   A    Yes.    I believe over a thousand line items.

       8   Q    Okay.    And did you learn that the Debtor had tendered a

       9   term sheet that reflected the entirety of the parties'

      10   agreement but for your access, with a demand that the

      11   agreement get signed or the Debtor would commence a lawsuit?

      12   A    I became aware of that Wednesday, in the middle of the ice

      13   storm, middle of the day.

      14   Q    Okay.    Let's pull up Exhibit 17 and see if I can refresh

      15   your recollection as to the timing and the substance.

      16                MR. MORRIS:   And if we could go to the bottom of the

      17   email string.

      18   BY MR. MORRIS:

      19   Q    This is an email string between lawyers for the debtor

      20   and the Advisors.     Do you see that there's an email from Mr.

      21   Demo there dated Tuesday, February 16th?

      22   A    Yes.

      23   Q    Okay.    And the lawyers on this email from K&L Gates, those

      24   were the lawyers who were representing the interests of the

      25   Advisors; is that right?




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       1   A    Yes.

       2   Q    And do you understand that Timothy Silva of WilmerHale and

       3   my colleague, Mr. Demo, were representing the interests of the

       4   Debtor?

       5   A    Yes.

       6   Q    And do you see in the first paragraph that Mr. Demo

       7   informs Mr. Hogewood that the Debtor is prepared to sign the

       8   attached term sheet, in the absence of which it would be

       9   filing an adversary proceeding?

      10   A    Yes.

      11   Q    Okay.    And does that reflect your recollection that, in

      12   fact, it was on Tuesday afternoon that the Debtor made the

      13   demand to either sign the term sheet or there would be

      14   litigation?

      15   A    It doesn't change my testimony.      The first time I heard

      16   about it was -- about a suit coming at 6:00 was on Wednesday.

      17   Q    Okay.    Let's go up to the -- Mr. Hogewood's response.       Did

      18   you learn that -- did you have any communications with anybody

      19   on Tuesday about the possibility of the Debtor filing a

      20   lawsuit?

      21   A    No.

      22   Q    Okay.    Can you go -- can you go to the email above?      Do

      23   you see -- let me see if this refreshes your recollection.            Do

      24   you see that Mr. Demo sent to Mr. Hogewood on Tuesday, just

      25   before 5:00 p.m., drafts of the Debtor's adversary proceeding




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       1   papers?

       2   A    Yeah, I've never -- except for I think you gave me these

       3   emails yesterday, but until yesterday I've never seen these

       4   emails before.

       5   Q    So, so the lawyers who were representing the Advisors'

       6   interests weren't keeping you informed last week about the

       7   status of negotiations; is that your testimony?

       8   A    Generally.    Again, I delegated it to Dustin and D.C. to

       9   handle the details.

      10   Q    Okay.

      11                MR. MORRIS:   And scroll up to the -- to Mr.

      12   Hogewood's response.

      13   BY MR. MORRIS:

      14   Q    Did you learn that Mr. Hogewood had asked for an extension

      15   of the deadline from 6:00 p.m. to midnight at any time last

      16   week?

      17   A    No.

      18                MR. MORRIS:   Let's go -- let's go -- let's go to Mr.

      19   Silva's email, the next one up.

      20   BY MR. MORRIS:

      21   Q    Were you aware that the parties were negotiating and

      22   trying to finish up the agreement last Tuesday as the Debtor's

      23   deadline for filing a lawsuit was drawing near?

      24   A    I knew they were in negotiations on Tuesday and Wednesday,

      25   but I didn't know the deadline was growing near until




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       1   Wednesday.

       2   Q    Did you learn -- did you learn what the open issue or open

       3   issues were as of that time?

       4   A    I believe there was only one open issue.      It was regarding

       5   my occupancy.

       6   Q    And what is your understanding of what the issue was as of

       7   that time last week?

       8   A    Since the beginning of the case, the Highland employees

       9   have been told to work from home so that the estate didn't

      10   have any COVID liability.     There hasn't been a Highland

      11   employee in the office in a year except for occasional visits.

      12   NexPoint employees have worked every day through COVID, full

      13   staff every day.

      14        With us taking over either a hundred percent or 75 percent

      15   of the lease, and the supervisory leadership strategy that I

      16   deserve, and on a regulatory basis have a responsibility to

      17   provide for the RIAs, I needed to be in the office on a going-

      18   forward basis.    And I believe grand efforts were made on the

      19   part of Dustin and D.C. to create a wall for a section of the

      20   office for the Highland employees -- who have never come in

      21   for the last year, probably aren't coming in for the next year

      22   -- but if they were to come in, they would have private egress

      23   and ingress, and nobody else in the office, including myself,

      24   would ever see them come and go.

      25        And I know there were clear negotiating representations




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       1   made on their part, but there's never anything that I've been

       2   accused of that's been in-person activity.       There have been a

       3   couple texts, a couple emails, but nothing ever in-person.            So

       4   the separation for employees who probably were never going to

       5   come in the office, and as NexPoint was paying 75 or a hundred

       6   percent of the lease, it made inordinate sense -- in fact, it

       7   was only tenable -- if I was able to come in and provide

       8   leadership and oversight to the (audio gap) Advisors.

       9   Q    Did you testify last night that it was Judge Jernigan who

      10   ordered the Debtor's employees to stay out of the office

      11   because of COVID?

      12   A    That's what I remember from early in the case, so that

      13   there wouldn't be any COVID liabilities in the estate, but

      14   that's why the Highland employees haven't been around for a

      15   year.

      16   Q    So it's your -- it's your memory that Highland employees

      17   haven't been around for a year and that the reason for that is

      18   because Judge Jernigan issued an order telling them to stay

      19   out of the office because of the COVID risk; is that right?

      20   A    That's -- that was my recollection.

      21   Q    Okay.   You haven't been in the office in the calendar year

      22   2021 except for the day that you went to give your deposition

      23   early in January; is that right?

      24   A    Yes.

      25   Q    And have the Advisors functioned, notwithstanding your




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       1   absence from the office?

       2   A    Yes.

       3   Q    Okay.    And in fact, at the end of the day, notwithstanding

       4   everything you just said, is it fair to say that the only

       5   issue that you're aware of that separated the Debtor and the

       6   Advisors as of last Wednesday was your access to the offices?

       7   A    I believe that's the case.

       8                MR. MORRIS:   And can we just scroll up a little bit

       9   to Mr. Hogewood's -- the next email on the next page?         Yeah.

      10   Right there.

      11   BY MR. MORRIS:

      12   Q    In fact, that's -- to put a fine point on it, the

      13   Advisors' lawyer says specifically is keeping Jim Dondero away

      14   from the office worth losing out on the financial advantages?

      15   Is that the position that the Advisors took at that time?

      16   A    Again, I've never seen these emails before and I'm not

      17   aware of the specific back-and-forth negotiations.

      18   Q    Okay.    But that's consistent with your understanding, that

      19   the only issue that was outstanding as of that moment in time,

      20   the only material issue, was your access to the office.

      21   Right?

      22   A    As of that moment in time, yes.

      23   Q    And otherwise, the Advisors, but for your desire to have

      24   access, the Advisors would have had a fully-negotiated

      25   complete transition services agreement with the Debtor and




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       1   there would have been no lawsuit, fair?

       2   A      I believe, yeah, I believe that's largely what -- the

       3   status at that point.

       4   Q      Okay.   And so -- and so, because you weren't given access,

       5   the Advisors didn't agree to the proposal that was otherwise

       6   acceptable, correct?

       7   A      Yes.

       8   Q      Okay.   And did you lose interest in the negotiations after

       9   the Debtor made it clear that they wouldn't provide access to

      10   you?

      11   A      Lose interest?   Yeah, but I mean, the two parallel paths

      12   for discretion I had given Dustin and D.C. to work on was

      13   either complete the negotiated settlement that really would

      14   have been, I think, the best transition for everybody and a

      15   win-win for everybody, but if not, be prepared for us to go it

      16   alone or the Advisors to be able to go it alone and operate

      17   without Highland and without being in the space.

      18   Q      And did you give that instruction last Thursday after the

      19   -- after the Debtor refused to give you access?

      20   A      Yeah.   They knew that that -- those were -- those were the

      21   only two -- the only two -- the only two that I had approved.

      22   They were the only two directions I had approved.

      23   Q      Are you aware that on Friday -- withdrawn.     On Friday, the

      24   lawyers at K&L Gates made a proposal to the Debtor that

      25   contained two options; is that correct?




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       1   A    Yes.

       2                MR. MORRIS:   Can we please put up on the screen

       3   Exhibit #19, please?       And if we could go to the bottom.

       4   BY MR. MORRIS:

       5   Q    Mr. Hogewood wrote to my colleague, Mr. Demo, just before

       6   noon on Friday, February 19th.      Do you see that?

       7   A    Yes.

       8   Q    And this -- Mr. Hogewood presented two options.          You were

       9   -- were you aware on Friday morning that Mr. Hogewood was

      10   going to be presenting two options?

      11   A    I was generally aware, which I think is what I testified

      12   to in my depo yesterday, that D.C. and Dustin were

      13   enthusiastically trying to come up with a settlement.          They

      14   believed it was close enough to try and get something done,

      15   and they were going to work, you know, an A and a B, but

      16   consistent with my direction that there was really only two

      17   alternatives, but they were still optimistic, because, besides

      18   it being a win-win for everybody, it would be less risk and

      19   less work for the Advisors if something like the original

      20   transaction could get done.

      21   Q    Okay.    Do you see --

      22                MR. MORRIS:   If we could take a look at Option B.

      23   BY MR. MORRIS:

      24   Q    Option B, as written by Mr. Hogewood, would have had the

      25   Debtor assume the entire lease and have NexPoint vacate at the




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       1   end of the month.     Do you see that?

       2   A    Yes.

       3   Q    And that's an offer that was made by Mr. Hogewood on

       4   behalf of the Advisors on Friday just around noontime; is that

       5   fair?

       6   A    I believe so.

       7   Q    Okay.    Do you know --

       8                MR. MORRIS:   Can we scroll up, please?

       9   BY MR. MORRIS:

      10   Q    And Mr. Demo responds just a few moments later by saying

      11   that he would discuss the options, right?

      12   A    Yes.

      13   Q    Okay.    And then the very next moment, if you scroll to the

      14   next one, Mr. Hogewood actually informs Mr. Demo that he had

      15   been informed, "There may be an edit needed to Option B, so I

      16   need to pull that back momentarily."      Do you see that?

      17   A    Yes.

      18   Q    Do you know what edit was being considered by the Advisors

      19   early in the afternoon on Friday?

      20   A    No.

      21   Q    Okay.

      22                MR. MORRIS:   Let's scroll up to the next email,

      23   please.

      24   BY MR. MORRIS:

      25   Q    And Mr. Demo just responds and he says, "Understood."




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       1   Fair?

       2   A    (garbled)

       3   Q    Let's -- okay.    And then the next email from Mr. Hogewood

       4   says, "I am authorized to put Option B back on the table as

       5   stated below.    Both A and B are on the table for your

       6   consideration."    Do you see that?

       7   A    Yes.

       8   Q    Do you believe that Mr. Hogewood was acting without

       9   authority when he made that statement to the Debtor?

      10   A    I don't know.

      11   Q    Did you ever ask Mr. Sauter or Mr. Norris whether Mr.

      12   Hogewood was acting outside the scope of his authority when he

      13   made this offer?

      14   A    No.

      15               MR. MORRIS:   Can we scroll up to the email -- the

      16   next email, please?

      17   BY MR. MORRIS:

      18   Q    Do you see that Mr. Silva on behalf of the Debtor was

      19   looking for a time to discuss?

      20   A    Yes.

      21   Q    And then if we go to the next email in this string,

      22   they're asking for dial-in.     Did you learn early in the

      23   afternoon on Friday that the Debtor had accepted Option B as

      24   presented by Mr. Hogewood on behalf of the Advisors?

      25   A    I -- I don't know when I became aware of that.




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       1   Q    Did you learn --

       2                MR. MORRIS:   Let's go ahead and take this down and go

       3   to the next exhibit, please.      And start at the bottom.

       4   BY MR. MORRIS:

       5   Q    Do you see that Mr. Hogewood is writing to my colleagues

       6   again, and in the middle paragraph he says, "As you know, the

       7   term sheet preserves everyone's rights on various claims and

       8   other litigation, and Davor suggested it would be appropriate

       9   to track that language in the body of the agreed settlement

      10   order in addition to attaching the term sheet to the order"?

      11        Were you aware early Friday afternoon that the lawyers for

      12   the parties were discussing the form of an agreed settlement

      13   order that would embody the Option B approach?

      14   A    No.

      15   Q    Do you see in the next paragraph there's a question as to

      16   whether John is preparing the order or an offer for the K&L

      17   Gates firm to take that on?      Do you see that?

      18   A    Yes.

      19   Q    Were you aware that the law firm representing the Advisors

      20   that you own and control were offering to prepare a settlement

      21   offer -- a settlement order that would include the Option B

      22   approach that had been accepted by the Debtor?

      23   A    Nope.    I wasn't involved in any of these details, nor had

      24   I seen any of these emails.

      25   Q    Okay.    Let's go to the next email and see if you know




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       1   anything about the facts or the assertions in that email.         Do

       2   you see Mr. Demo responds, and at the end of his first

       3   sentence, there is enough -- there's a reference to having

       4   enough room on the wires.      Do you see that?

       5   A    Yes.

       6   Q    Are you aware -- were you aware on Friday afternoon that

       7   the lawyers for the Advisors that you own and control and the

       8   lawyers for the Debtor were having discussions about how to

       9   timely effectuate a wire transfer?

      10   A    No.

      11                MR. MORRIS:   Can we go up to the 3:33 p.m. email?

      12   BY MR. MORRIS:

      13   Q    And just to move this along, did you learn that the

      14   parties -- that lawyers for the parties were expecting to go

      15   through the final draft of the document?

      16   A    No.

      17   Q    Were you aware that the lawyers representing the entities

      18   that you own and control wanted more time to be able to do

      19   that?

      20   A    I wasn't involved in this at all.

      21   Q    Okay.

      22                MR. MORRIS:   Can we scroll up to the email at 3:43

      23   p.m.?

      24   BY MR. MORRIS:

      25   Q    And do you see where Mr. Hogewood informs Mr. Demo that he




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       1   needs to push the call further because he is "having trouble

       2   connecting with someone to be sure they are in a position to

       3   review."    Do you see that?

       4   A    Yes.

       5   Q    Was Mr. Hogewood trying to reach you on the afternoon of

       6   February 19th in order to make sure you had the opportunity to

       7   review the term sheet that was about to be signed?

       8   A    I don't know.

       9   Q    Do you see, if you scroll up, Mr. Demo asks Mr. Hogewood

      10   if he needs a little bit more time?

      11   A    Yes.

      12   Q    And then, finally, the last email in this deck, do you see

      13   at 4:15 Mr. Hogewood says to Mr. Demo, "We should cancel this

      14   call and I should just call you and John."       Do you see that?

      15   A    Yes.

      16   Q    And that's because the Advisors pulled Option B that the

      17   Debtor had agreed to; is that right?

      18   A    Yes.

      19   Q    And it's your testimony that you had nothing to do with

      20   that decision; is that right?

      21   A    No.    It -- no.   I didn't say that.   Once I became fully

      22   aware of what A and B were, I had no interest in A or B, and I

      23   pointed the team back to the conversations we had had on

      24   Wednesday regarding either it's the win-win scenario for

      25   everybody and continuity and the office and me being in the




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       1   office or it's a -- it's a divorce.      And -- but I didn't have

       2   an interest in A or B.

       3   Q    And yet it is fair to say, though, that the Advisors'

       4   outside counsel and the Debtor's counsel spent the whole day

       5   on Friday pursuing Options A and B, including preparing

       6   settlement orders and for wire transfers, right?

       7   A    They'd been working tirelessly Wednesday, Thursday,

       8   Friday, Saturday, Sunday, trying to strike a deal, trying to

       9   be reasonable, but to no avail.      I think now it's --

      10   everybody's comfortable with the divorce and being out of the

      11   office.

      12   Q    Did -- do you know whether the Advisors made any proposals

      13   to the Debtor over the weekend for an a la carte menu of

      14   services that might be considered?

      15   A    Yes.    I believe -- yes.

      16   Q    Okay.   Does the Debtor -- withdrawn.     Do the Advisors have

      17   a plan pursuant to which it will obtain all of the back-office

      18   and middle-office services that it needs that were previously

      19   provided by the Debtor in order to fully perform under the

      20   advisory agreements with the funds?

      21   A    I believe they have a plan.

      22   Q    And is that plan sufficient to enable the Advisors to

      23   fully perform their services under the advisory agreements

      24   with the funds?

      25   A    I believe so.    The major gating item, which I think




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       1   changed over the weekend, was the historic data for the funds

       2   was being held hostage, and I think over the weekend, for the

       3   first time, it was agreed that the funds could have their

       4   historic data that they were entitled to.       And I think that

       5   improved the quality of their alternative plans.

       6   Q    Does the -- do the Advisors need anything from the Debtor

       7   today?

       8   A    I believe very little, if nothing.       They just need data

       9   and information and software that they're entitled to that

      10   they've paid for, paid for in full over the years.

      11   Q    And does the -- do the Advisors have a plan in place to

      12   obtain that information that it contends it's entitled to?

      13   A    I don't have the specific -- specifics.      Dustin is your

      14   person there.

      15   Q    Do you personally believe that the Debtor had the right to

      16   terminate the shared services agreement as of last Friday?

      17              MR. RUKAVINA:    Your Honor, I'll object to that

      18   question as that calls for a legal conclusion.       And I will

      19   note for the record that we are not trying today their

      20   declaratory action Count One, and we do not consent to that

      21   being tried.

      22              THE COURT:   Okay.   I overrule.    He can answer if he

      23   has an answer.

      24              THE WITNESS:    I don't know.

      25   BY MR. MORRIS:




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       1   Q    Do you believe that there is anything defective about the

       2   termination notices that you testified being aware to as of

       3   last November 30th?

       4   A    I don't know.

       5   Q    Do you have any reason to believe that those termination

       6   notices are unenforceable?

       7   A    I don't know.

       8   Q    Do you have any reason to believe that the Debtor has any

       9   continuing obligation to the Advisors following last Friday,

      10   after last Friday?

      11   A    I do believe there's an overall industry standard practice

      12   in terms of transitioning.     I do think there's a

      13   responsibility of all parties to do things in a regulatorily-

      14   compliant way.    So I do believe that that overrides and

      15   supersedes some of this contract dancing.

      16   Q    How much -- what regulatory regime are you referring to?

      17   A    The SEC.

      18   Q    Are you aware of any particular rule that would require

      19   the Debtor to provide services of any kind to the Advisors

      20   after the termination of the shared services agreements?

      21   A    No.   I'm going based on experience.

      22   Q    Okay.   So you don't have anything specific in mind; is

      23   that fair?

      24   A    I have specific historic experience --

      25   Q    All right.    I'm asking you --




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       1   A    -- of the --

       2   Q    I'm sorry.

       3   A    And then, I mean, I do have in mind, you know, based on

       4   our historic experience, like when we moved from State Street

       5   to SCI, I think it took nine months longer than anybody

       6   expected, and there wasn't a hard break in anybody's

       7   activities or attitudes toward each other.       It was -- it

       8   delayed for issues that were -- some were beyond everybody's

       9   control, some of them were faults of the different parties,

      10   but in no case did anybody try and cause damage or allow

      11   damage to happen to regulated funds.

      12   Q    How long is the Debtor, in your view, how long is the

      13   Debtor obligated to make the data available to the Advisors?

      14   How long does this obligation stay in effect?

      15   A    I don't have a specific timeline.      I did hear Seery say a

      16   few minutes ago that you would give it all and they would just

      17   keep a copy.    I think to the extent that that happened, that

      18   cures quite a bit of it.     But, again, the data had been held

      19   hostage as a negotiating point up until this weekend.

      20   Q    Hmm.   Have the Advisors made arrangements to make the copy

      21   of the data that you just referred to?

      22   A    I don't know.

      23   Q    Do you know if there is a monetary amount that the Debtor

      24   is required to incur in order to continue to maintain the data

      25   until the Advisors can get a copy?




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       1   A      I don't know, but I -- I don't believe it's material at

       2   all.

       3   Q      Okay.   Have you done any analysis to -- if you don't know

       4   how long it's going to take to get the copy, how do you know

       5   how much it's going to cost to maintain the copy until it's

       6   retrieved?

       7   A      I don't, but large files up on the cloud in general are

       8   not that complicated to move around.

       9   Q      But it's your view, as the owner and controller of the

      10   Advisors, that the Debtor has a continuing obligation,

      11   notwithstanding the termination of the shared services

      12   agreement, to maintain the data for some indefinite period of

      13   time until the Advisors obtain a copy.       Is that right?

      14   A      I'm saying there needs to be reasonable business

      15   transition in these circumstances.      And I don't -- I don't --

      16   I'm not the systems person, I don't know the details, but I

      17   know the costs are minimal.     The monthly storage charge and --

      18   what, is the Debtor going to delete everything to save $100 of

      19   storage charge on the cloud to intentionally harm investors?

      20   I mean, that's -- that's an alternative, but none of that

      21   makes any sense to me.

      22   Q      Let me ask you this.   Under the shared -- under the

      23   transition services agreement that was fully negotiated as of

      24   last Tuesday or Wednesday, but for your access, was the whole

      25   issue of data access addressed in that document?




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       1   A    I don't know.    I assume so.

       2   Q    Okay.    And do you also assume that the data issue would

       3   have been fully and completely addressed under the Option B

       4   that the Debtor accepted on Friday afternoon?

       5   A    I have no idea what was in Option -- I mean, I have no

       6   idea what was in Option B regarding the data.

       7   Q    Okay.

       8                MR. MORRIS:     Your Honor, I have nothing further.

       9                THE COURT:    All right.   Pass the witness.   Mr.

      10   Wilson?

      11                MR. RUKAVINA:    I think, actually, Your Honor, he's my

      12   witness on this one, since we're the Defendants.

      13                THE COURT:    Oh, I'm sorry.   He's in Mr. Wilson's

      14   office.     I got confused.     Go ahead, Mr. Rukavina.

      15                MR. RUKAVINA:    No problem.   No problem.

      16        Mr. Vasek, if you'll please pull up Debtor Exhibit 2, and

      17   if you'll please go to Section 6.02.        Well, make it so we can

      18   see 6.03 as well.

      19                                CROSS-EXAMINATION

      20   BY MR. RUKAVINA:

      21   Q    Okay.    Mr. Dondero, can you hear me?

      22   A    Yes.

      23   Q    Mr. Morris was asking you about data and return of data.

      24   I'd like for you to read with me Section 6.02, the second

      25   half, where it starts, "For the avoidance of doubt."          Can you




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       1   see that, sir?

       2   A    Yes.

       3   Q    (reading)    "For the avoidance of doubt, all books and

       4   records kept and maintained by Service Provider on behalf of

       5   Recipient shall be the property of Recipient, and Service

       6   Provider will surrender promptly to Recipient any such books

       7   or records upon Recipient's request."      And then there's a

       8   parenthetical about retaining a copy.      Do you see that, sir?

       9   A    Yes.

      10   Q    Did I read that correctly?

      11   A    Yes.

      12   Q    Okay.   And Service Provider here is the Debtor, and

      13   Recipient is one of the Advisors, correct?

      14   A    Yes.

      15   Q    Okay.   And now let's quickly read Section 6.03.         (reading)

      16   "Upon expiration or termination of this agreement, Service

      17   Provider will be obligated to return to Recipient as soon as

      18   is reasonably practicable any equipment or other property or

      19   material of Recipient that is in Service Provider's control or

      20   possession."     Did I read that correctly?

      21   A    Yes.

      22   Q    Okay.   And are the Advisors relying on these provisions

      23   when you mentioned in response to Mr. Morris that the Debtor

      24   had some obligation to provide them their own data?

      25   A    Yes.    I -- again, I'm not involved in the details or the




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       1   specifics, but that's a very standard clause you'd expect to

       2   see in a service agreement, and I'm -- in some form or

       3   fashion, I'm sure D.C. and Dustin are aware of that and have

       4   negotiated accordingly.

       5   Q     Well, let's talk about that briefly.     Mr. Morris asked you

       6   several questions with respect to the negotiations in the last

       7   few weeks on the transition services agreement and with

       8   respect to the weekend's events, to which you responded that

       9   you don't know the answer.     Do you recall those questions

      10   generally?

      11   A     Yes.

      12   Q     And is that because you delegated those decisions to both

      13   D.C. and Dustin and outside counsel, or is that because you're

      14   incompetent?

      15   A     I've found that I am mischaracterized whenever I talk to

      16   Seery directly or deal with things directly, and there's too

      17   much of an intent in this case to make this personalized about

      18   me.   And there was over a thousand line items to negotiate.

      19   Dustin and D.C. are very capable executives.       And again, to

      20   avoid mischaracterization and personalization of this stuff, I

      21   let them handle it.

      22   Q     Okay.   And you were also asked by Mr. Morris about the

      23   Advisors' current backup plan or divorce plan, whatever we

      24   want to call it, and you didn't know some of those answers.

      25   Is that also because you delegated that to Mr. Norris, Dustin




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       1   Norris?

       2   A    Yes.

       3   Q    Okay.    It's not because you don't take an interest in it;

       4   it's because you delegated it to someone that you just called

       5   a very capable executive, correct?

       6   A    Yes.

       7   Q    Okay.    And Mr. Morris asked you about certain events of

       8   last Tuesday and Wednesday.       What was going on, sir, here in

       9   North Texas last Tuesday and Wednesday?

      10   A    Well, it was the ice storm.      I couldn't get in touch with

      11   my lawyers on Wednesday, including yourself, you know, and

      12   people didn't have electricity, they didn't have coverage.

      13   Q    Is it fair to say, sir, --

      14   A    I couldn't --

      15   Q    Is it fair to say, sir, just to speed this up, that last

      16   Tuesday, Wednesday, and Thursday, the Advisors and you and

      17   outside counsel, primarily me, were having a very hard time

      18   getting in touch, and in fact, we really couldn't get in

      19   touch?

      20                MR. MORRIS:    Objection to the form of the question.

      21   I mean, if Mr. Rukavina wants to testify, he's welcome to do

      22   that, but I think he's leading.

      23                THE COURT:    I'll overrule.

      24                THE WITNESS:    The answer is yes.   The world wasn't

      25   functioning --




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                                     Dondero - Cross                        100


       1   BY MR. RUKAVINA:

       2   Q    Okay.

       3   A    -- in Dallas, Texas, or in my legal ecosystem.

       4   Q    Is it possible that, as a result of that, certain

       5   miscommunications between all of us took place?

       6   Misunderstandings?

       7   A    Lack of --

       8   Q    Misunderstandings?

       9   A    Yeah.    A lack of communication, period.

      10   Q    And Mr. Morris discussed your physical presence on the

      11   premises.     In fact, other than that one time that was

      12   mentioned when you went to the office for the deposition, you

      13   have not been at NexPoint or the other Advisor's corporate

      14   offices for almost two months now; is that correct?

      15   A    Correct.

      16   Q    Has that caused disruption to the business of the

      17   Advisors?

      18   A    It's definitely affected the efficiency.        And again, I

      19   don't think it's compliant on a long-term basis for a

      20   registered investment advisor to not have its oversight

      21   employees, you know, or oversight most senior employee on

      22   staff.

      23   Q    Thank you, Mr. Dondero.

      24                MR. RUKAVINA:   Your Honor, I'll pass the witness.

      25                THE COURT:   All right.   Mr. Morris?




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                                      Dondero - Redirect                     101


       1                              REDIRECT EXAMINATION

       2   BY MR. MORRIS:

       3   Q    Sir, notwithstanding last week's weather, you knew that

       4   the lawyers for both the Advisors and the Debtor had reached

       5   an agreement on every single material term except for your

       6   access to the office, correct?

       7   A    Yes.

       8   Q    The weather doesn't change anything about that, right?

       9   A    Correct.

      10   Q    And the only reason that the Advisors refused to sign the

      11   agreement and this lawsuit was commenced is because you

      12   personally would not reach an agreement that didn't allow you

      13   into the offices, correct?

      14   A    I mean, yes, largely.

      15   Q    Okay.

      16                MR. MORRIS:     No further questions, Your Honor.

      17                THE COURT:    Any --

      18                MR. RUKAVINA:    Isn't it --

      19                THE COURT:    -- recross?

      20                MR. RUKAVINA:    Thank you, Your Honor.

      21                              RECROSS-EXAMINATION

      22   BY MR. RUKAVINA:

      23   Q    Isn't it also true, Mr. Dondero, that the same can be said

      24   about Mr. Seery, that the only reason why the Debtor didn't

      25   enter into that agreement was because he would not permit you




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                                     Dondero - Recross                       102


       1   to be on the premises for the next couple of years?

       2   A    Yes.

       3               MR. RUKAVINA:    Thank you, Your Honor.

       4               THE COURT:    All right.   That concludes Mr. Dondero's

       5   testimony for now.

       6        Mr. Morris, any more witnesses?

       7               MR. MORRIS:     No, Your Honor.   The Debtor rests.

       8               THE COURT:    All right.   Mr. Rukavina, you may call

       9   your first witness.

      10               MR. RUKAVINA:    Your Honor, just to give you a heads

      11   up, I'm probably going to have an hour, hour and a half with

      12   Mr. Norris.     So I don't know what the Court's plan is for

      13   working through lunch or not, but I'll just give you that so

      14   that you can make the appropriate decision.

      15               THE COURT:    All right.   Well, I would like to go

      16   ahead and get started and get some of that accomplished before

      17   lunch.    My situation is I'm hoping to get an update, but I

      18   have another 1:30 matter that I think is going to be very,

      19   very short, but I'm waiting to -- you know, my courtroom

      20   deputy was going to reach out to the lawyers involved in that

      21   matter.     So my point is I may have to break from this for a

      22   few minutes at 1:30, so I'd like to time our lunch break so

      23   that it occurs a little bit before 1:30.        I think that'll make

      24   this easier.

      25        So let's go ahead and get started.       You wanted to call Mr.




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                                       Norris - Direct                         103


       1   Norris?

       2                MR. RUKAVINA:    Yes, Your Honor.     Dustin with a D,

       3   Norris.

       4                THE COURT:    All right.   Dustin Norris, would you

       5   please say, "Testing, one, two"?

       6                MR. NORRIS:    Testing, one, two.

       7                THE COURT:    All right.

       8                MR. NORRIS:    Testing, one, two.

       9                THE COURT:    I hear you loud and clear.     I'm not

      10   seeing you yet.     Oh, there you are.     Okay.     Please raise your

      11   right hand.

      12                MR. NORRIS:    Hello.

      13        (The witness is sworn.)

      14                THE COURT:    All right.   Thank you.    Mr. Rukavina?

      15                 DUSTIN NORRIS, DEFENDANT'S WITNESS, SWORN

      16                              DIRECT EXAMINATION

      17   BY MR. RUKAVINA:

      18   Q    Mr. Norris, can you hear me?

      19   A    Yes, I can.

      20   Q    Okay.    Are you able to close the blinds behind you or

      21   somehow make that room a little darker?

      22   A    Let me reposition.      Is that better?

      23   Q    Yes, thank you.       For the record, sir, what is your name?

      24   A    Dustin Norris.

      25   Q    And what is your educational background?




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                                    Norris - Direct                         104


       1   A    I have a bachelor's and master's degree in accounting from

       2   Brigham Young University.

       3   Q    Okay.    Do you hold any professional licenses or

       4   certifications?

       5   A    Yes.    CPA license, as well as FINRA License Series 7, 63,

       6   and 24.

       7   Q    Have you ever been disciplined by any regulatory body with

       8   respect to your licenses?

       9   A    No.

      10   Q    Have you ever had a crime, even a speeding ticket?

      11   A    No, never -- never had a crime.      Not even a speeding

      12   ticket.     For the record, I did get pulled over for not coming

      13   to a complete stop at a stop sign, but was dismissed through

      14   defensive driving.    This is actually my first experience or

      15   interaction with a court other than the same interaction with

      16   the Court in December of last year.

      17   Q    Have you ever had your honesty or integrity challenged or

      18   questioned?

      19   A    No, I haven't.

      20   Q    Okay.    And are you familiar with the two Advisors who are

      21   my clients here today?

      22   A    I am.

      23   Q    And how are you or why are you familiar with them?

      24   A    So, I am the executive vice president of each Advisor.

      25   Q    Okay.




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                                    Norris - Direct                         105


       1   A    And --

       2   Q    Go ahead.

       3   A    I've been working for the Advisors since 2012.

       4   Q    So you have been employed by the Advisors since 2012?

       5   A    That's correct.

       6   Q    Okay.    And what does your role as executive vice president

       7   entail?

       8   A    So, I oversee the marketing, sales, distribution, business

       9   development for our investment products, private placements,

      10   registered products, the funds that we've -- been talked about

      11   in this, this hearing.

      12   Q    Okay.    And who do you report to?

      13   A    To Mr. Dondero.

      14   Q    Okay.    And briefly, for the record, what is the business

      15   of these two Advisors that are Defendants today?

      16   A    Yeah.    So, they primarily provide investment advice and

      17   management of various investment vehicles.       That's private

      18   investment vehicles, it's public investment vehicles,

      19   publicly-registered closed-end funds, REITs, BDC, ETFs, and

      20   mutual funds.

      21   Q    Can you give the judge an estimate of the order of

      22   magnitude of all of the underlying investments managed or

      23   advised through all these vehicles that you mentioned?

      24   A    It's several billion dollars under management for NexPoint

      25   and Highland Capital Management Fund Advisors.




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       1   Q    And is Mr. Dondero the fund manager, the guy in charge for

       2   all those investments?

       3   A    Most of them, yes.

       4   Q    Okay.    And do you understand yourself to be a fiduciary?

       5   A    I do, both to the funds and to our Advisors.

       6   Q    Okay.    What do you mean, the funds?    And in particular,

       7   what -- what are the retail funds that Mr. Seery talked about

       8   earlier?

       9   A    Yeah.    So, we have a number of publicly-registered mutual

      10   funds, closed-end funds, and ETF.      And those are, as Mr. Seery

      11   pointed out, available to anyone that really wants to buy

      12   them, anybody that has a brokerage account or the ability to

      13   buy them through a financial advisor.      And so those are the

      14   funds that I'm talking about.      Primarily, they're 1940 Act--

      15   registered mutual funds and closed-end funds.

      16   Q    Do any of those funds have their own boards?

      17   A    Yes.    All of the '40 Act funds have their own board.      It's

      18   an independent board of trustees.

      19   Q    What do you mean by an independent board of trustees?

      20   A    Yeah.    So the majority of the board members are

      21   independent, and it's actually a -- 75 percent of the board

      22   members are independent trustees, as defined by the rules and

      23   regulations of the SEC.     And so they actually hire us as the

      24   advisor.     On an annual basis, they review our advisory

      25   agreements.     And they control the day-to-day operation -- not




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       1   the daily operations, but control the oversight of those

       2   funds.   And on an annual basis, they renew or choose not to

       3   renew our advisory agreements.

       4        And so it is an independent process and an independent

       5   board.   And each one of them have independent legal counsel as

       6   well that advises them on all matters that they incur,

       7   including everything we're talking about today.

       8   Q    Who is that independent legal counsel, if you know?

       9   A    Yeah.   Blank Rome is the name of the law firm, and Stacy

      10   Louizos is the partner that represents them.

      11   Q    Does Mr. Dondero sit now, or since this bankruptcy case

      12   was filed, has he sat on any of these independent boards?

      13   A    He has not, no.

      14   Q    Okay.   For these funds with independent boards, are you

      15   also any kind of employee or officer of them?

      16   A    Yeah.   So, the funds themselves don't have individual

      17   employees.    They have officers that oversee the operations.

      18   And I am executive vice president of each of the funds.

      19   Q    Okay.   And as the executive vice president of each of

      20   those funds, who do you report to?

      21   A    So, I regularly report to the board on matters pertaining

      22   to the funds.    I'm the liaison between the funds and the board

      23   on a number of matters.     So I've been attending board meetings

      24   since December 2012 for these funds.

      25   Q    Okay.   Have those boards met and had meetings in the last




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       1   couple of months regarding the shared services agreements and

       2   any transition thereof?

       3   A    Extensive meetings.     They've held eight meetings since the

       4   beginning of the year, board meetings.      And those weren't just

       5   short.   Some of them were very long.      Last year, there were 24

       6   recorded board meetings, and a number of conversations in

       7   between, a number of discussions with their legal counsel, a

       8   number of discussions with the chairman of the board.         So it's

       9   -- they've been extensively involved through the process.

      10              MR. MORRIS:     Your Honor, I move to strike the hearsay

      11   that we're hearing here about discussions that the boards had

      12   with other folks.    If Mr. Norris has personal knowledge,

      13   that's one thing, but I think he's gone well beyond that.

      14              THE COURT:    Okay.   Response, Mr. Rukavina?

      15              MR. RUKAVINA:    I'm not sure what testimony Mr. Morris

      16   is talking about, third-party testimony.       I think the witness

      17   just said that the board has met many, many times to discuss

      18   the issues that are up for today.

      19              THE COURT:    Okay.

      20              MR. MORRIS:    And I think to the extent that the

      21   witness participated in such meetings, that's fine, he can

      22   specifically testify about that, but I don't think he should

      23   be otherwise testifying about what other people did who aren't

      24   here today to testify as to their own personal conduct.

      25              THE COURT:    Okay.   Okay.




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       1                MR. RUKAVINA:   I can rephrase the question, Your

       2   Honor.

       3                THE COURT:   I sustain.   Rephrase.

       4   BY MR. RUKAVINA:

       5   Q    Have you personally participated in meetings of those

       6   boards, Mr. Norris, at which those boards and you discussed

       7   the transition services agreement potentially being negotiated

       8   with the Debtor and the shared services agreements that were

       9   being terminated by the Debtor?

      10   A    Yes.    I participated in eight board meetings this year.

      11   There's been five of them in February alone.       And there were

      12   24 board meetings last year, and I was a participant in each

      13   one of those meetings.

      14   Q    Okay.    And did you advise those boards at some point in

      15   time about the termination of the shared services agreements?

      16   A    Yes, we did.

      17   Q    When did you start advising those boards that that was

      18   something that may happen or that has actually been noticed as

      19   happening?

      20   A    So, throughout the fall last year, I think the expectation

      21   was that there would be a -- I mean, obviously, there had been

      22   a plan filed with the Court.      That was discussed with the

      23   board.   Mr. Seery testified that he joined the board meetings

      24   in the fall and in the summer and talked about those.          The

      25   discussions were around the transition of services.           There was




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       1   discussion about a new company.      And so the discussions were

       2   ongoing.

       3        When the filing actually -- from when the filing actually

       4   happened, that was ongoing, of how would we be able to

       5   continue the services.     And so, from the beginning, those were

       6   discussions that were had.

       7        We did notify the board when the termination occurred.         As

       8   well, we had a board meeting, a one-and-a-half day board

       9   meeting on December -- I think the dates were December 10th

      10   and 11th -- where the termination was discussed in detail.

      11   Q    Now, obviously, the Debtor sent notices of termination of

      12   these shared services agreements in late November.        You're

      13   obviously familiar with that, right?

      14   A    Correct.

      15   Q    Separate and apart from the Debtor's decision to terminate

      16   these agreements, were you and the Advisors considering

      17   terminating these agreements?

      18   A    We were.   We had discussion --

      19   Q    Let me ask -- let me ask the next question.       I appreciate

      20   you answering, but let me -- let me do my job.       When were the

      21   Advisors considering making such a move, and why?

      22   A    This was in the October-November time frame of last fall,

      23   as the -- particularly around the services we had been

      24   receiving related to the shared services agreement and the

      25   payroll reimbursement agreements.      We didn't think that the




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       1   service was fulsome, we didn't think we were getting the

       2   service that was under the agreements, and the service had

       3   dropped off.

       4        And in particular, the -- there was -- there were

       5   conflicts involved between the Debtor and between the service

       6   providers, particularly legal and compliance services, given

       7   all that was going on.     And there were a number of matters

       8   they couldn't participate on.      Historically used their legal

       9   and compliance services significantly.

      10        And that, in addition to discovering that there were a

      11   number of employees we were reimbursing for in payroll

      12   reimbursement agreements that were no longer employed by the

      13   Debtor, yet we were paying for the full services.

      14        So, with that, we had discussions internally about if and

      15   when or how we could terminate them, and --

      16   Q    Let me stop you.

      17   A    -- termination --

      18   Q    Let me stop you.    Ultimately, I take it, the Advisors

      19   never tried to terminate these shared services agreements,

      20   correct?

      21   A    That's correct.

      22   Q    Why?

      23   A    There was an order specifically that Jim or anybody

      24   related to Jim could not terminate an agreement with the

      25   Debtor.     And he specifically pointed that out to us when we




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       1   discussed this, and so we knew we couldn't take action.         There

       2   was also -- counsel discussed that the stay with the Court --

       3   Q    Let's not -- let's not talk about counsel.       Let's not talk

       4   about counsel, --

       5   A    Sorry.

       6   Q    -- Mr. Norris.    Okay.   But the point is, at least as of

       7   last October, would you agree, that the notion that these

       8   agreements would be terminated by one or the other parties was

       9   known to you?

      10   A    Yeah.    So, the -- we expected that at some point there

      11   would need to be a termination.      I -- that was discussed.     And

      12   there was a plan, and I'm sure we'll talk about it, but a plan

      13   to transition the employees and the services to a new company

      14   and to new service providers.      And I think both sides had been

      15   working for quite a while to ensure there was a smooth

      16   transition, and we expected that to happen.       But there would

      17   need to be a termination of that agreement -- either a

      18   transfer of that agreement or a termination to a new company

      19   that would be providing new services, or transferred those

      20   services directly to us.

      21   Q    So I'd like you to pick what word you'd like to use, but

      22   what I've called a backup plan in my objection or what Jim

      23   called a divorce plan in his testimony, how -- what shall we

      24   call this backup plan?

      25   A    All-contingency plannings.     Or we'll call it backup plan.




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       1   Q    Okay.

       2   A    I think that works.

       3   Q    So is it fair to conclude that since at least last

       4   October, the Advisors have known about the possibility of

       5   having to do a backup plan?

       6   A    Yeah.   And I think even before then we knew there was a

       7   possibility.    But the plan, the strong Plan A of everything

       8   that had been communicated to us by the Debtor and their

       9   employees was that the intent was to transfer all those

      10   services to a new company, with the same individuals providing

      11   the same services.     There was no significant indication to us

      12   that that would be any different.

      13        Yet we still had then begun planning, well, what if,

      14   right, Plan B was implemented or began many months ago and in

      15   recent weeks, in recent months, it's been expedited to be able

      16   to ensure that we have a solid Plan B.       But yes, it's been

      17   ongoing for months.

      18   Q    So if there is an implication or allegation made that the

      19   Advisors were negligent with respect to transitioning from the

      20   shared services agreements because they didn't start taking it

      21   seriously last August or September, would you agree or

      22   disagree with that allegation?

      23   A    I would disagree, because there were assurances or

      24   discussions that made it very clear that everybody was working

      25   together towards a Plan A.     Yet we were still discussing -- I




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       1   know Mr. Seery mentioned he's a Boy Scout.      I agree in that.

       2   Be prepared.    I'm an Eagle Scout.   And so we have been

       3   preparing, but the preparations weren't needed in the manner

       4   that we thought they were needed until in the last month,

       5   right, and -- because everything was moving in the right

       6   direction for a clean transition plan, and even up until last

       7   week.

       8       However, the last month and a half we've had to prepare in

       9   earnest for Plan B, and that involved a tremendous amount of

     10    effort.   And I'm happy to go into that now.     But yes, there's

     11    -- there has been -- we have 80 employees across our Advisors,

     12    and almost every single one of them have been involved in Plan

     13    B, and a group of about 18 of us for several weeks, planning,

     14    game-planning, and thinking through all the contingency plans.

     15    Q   Well, let's round off the discussion about these boards.

     16    Did you make the boards aware since last fall and into this

     17    year about both the ideal plan, which was, I guess, you know,

     18    an agreement with the Debtor, but also a backup plan, in case?

     19    A   Yeah.   So, in -- in August, --

     20    Q   When --

     21    A   -- when the Court -- oh, sorry, yeah.

     22    Q   No, no.    Well, go ahead.

     23    A   Go ahead.

     24    Q   I was going to ask you how and when, but you -- you -- go

     25    ahead.




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       1   A    Yeah.    Yeah.   So, up until August, there was, I think, a

       2   view that there would be a negotiation, a negotiation reached.

       3   Things had been pushing along.     We know that in August there

       4   was a plan filed with the Court.      And Mr. Seery even joined

       5   our board meeting.     And so in that meeting he discussed with

       6   us, as well as the legal team of the Debtor, discussed with us

       7   the Plan B at that point, which was defined with the Court.

       8   That the goal and objective was a grand bargain, as he

       9   explained it, and that he -- that was the Plan A.       But even

      10   under either plan, there would be a transition of services.

      11   He joined again, I believe, one or two more times, to

      12   additional board calls that fall.      There was mediation we were

      13   aware of and had discussed with the board to help resolve some

      14   of these items.

      15        And so, you know, just in the same time frame Mr. Seery

      16   shared earlier, it corresponded with those discussions that we

      17   were having.

      18        In addition, D.C. Sauter and other individuals at our

      19   firm, as well as individuals from the Debtor, were working

      20   throughout the fall and into the winter on the various

      21   discussions on transition.     And so that's --

      22   Q    Did you hear Mr. Dondero testify about over a thousand

      23   line items?

      24   A    Yeah, I did.

      25   Q    Do you know what -- what is he referring to, do you know?




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       1   A    So, within the transition services agreement, there --

       2   there's about 11 or 12 pages in an exhibit that are a number

       3   of agreements.     That's -- that's the remaining agreements that

       4   we've agreed that are needed.      He may have had a little

       5   hyperbole in his thousand, but there is -- there were -- there

       6   was at least a thousand points of discussion that had to be

       7   resolved.     Most of them were minor, right, and we came to a

       8   quick agreement on most of those, and there was only a handful

       9   of things that needed to be resolved.      And because of that, I

      10   felt comfortable and confident, particularly from the middle

      11   of January on, where I became much more involved, that there

      12   would be an orderly agreement on those points.

      13   Q    Did you tell the boards that the Debtor would enter into

      14   the agreement that had been negotiated only on the condition

      15   that Mr. Dondero not be permitted to be on the premises?

      16   A    Sorry.    You said the Debtor would enter into or -- oh,

      17   that he wouldn't be permitted onto the premises?

      18   Q    Well, we'll go more -- we'll go in detail later, but I

      19   want to round off the board discussion here.       Obviously, you

      20   heard from Mr. Seery and in my paper that we had an agreement

      21   done except for one issue, right?

      22   A    Yes.   Yes.

      23   Q    And that issue was whether Mr. Dondero would be on the

      24   premises or not, right?

      25   A    Yes.




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       1   Q    Did you discuss that with the board, that issue?

       2   A    We did.    We --

       3   Q    And did you get any instructions from the board that have

       4   led you to do anything other than you've actually done?

       5   A    No.    No, we -- they -- the board, as I mentioned, we've

       6   had eight board meetings this year discussing in detail our

       7   backup planning.     They understood the Jim access issue and

       8   they felt comfortable with our backup planning.       But also, you

       9   know, our view, and I think that they shared that, that he

      10   should have access --

      11   Q    Well, let's stop there.     Let's stop there.   Let's stop

      12   there.     I'll ask -- I'll ask more of those questions later.        I

      13   don't -- I don't want to invite Mr. Morris's objections here

      14   based on you talking outside the scope --

      15   A    Yeah.

      16   Q    -- of my question.    Let's move on now to the shared

      17   services agreements themselves.     You heard Mr. Seery's

      18   characterization of them from a top level.       Would you agree

      19   with his characterization, or how would you characterize what

      20   the shared services agreements actually did?

      21   A    Yeah.    I think he called them middle- and back-office

      22   services.    I think, to add a little bit more to that, it's IT

      23   services, including the systems and computers that we all use.

      24   It's HR.     It is accounting and back-office services, many of

      25   those for our advisors and some of them for our funds.         We do




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       1   outsource a number of accounting functions to other service

       2   providers, and have for years, and they provide an oversight

       3   function for the accounting and the books and records for our

       4   funds.    They also provide tax services and things like that

       5   for our advisors and funds.

       6   Q    Now, in --

       7   A    And as well legal and compliance services.       Legal and

       8   compliance services as well.

       9   Q    In our exhibits that have been admitted are two employee

      10   or payroll reimbursement agreements.       We don't have to go

      11   through those in detail, but you're -- are you aware of those

      12   agreements?

      13   A    I am, yes.    And I would add that -- and those are in

      14   addition to the services that are provided under the shared

      15   services agreement.     Those are front-office or investment

      16   services.

      17   Q    Okay.    Now, did there come a time when a dispute arose

      18   between the Debtor and the Advisors as to how much an amount

      19   was owing by the Advisors to the Debtor under the shared

      20   services agreement?

      21   A    That's correct.

      22   Q    What was the basis of that dispute?

      23   A    Yeah.    So, in particular, as I mentioned earlier, certain

      24   of the services we believe we are no longer receiving.         Many

      25   of those related to legal and compliance.       We've had to shift




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       1   a lot of those responsibilities in-house and to outside

       2   counsel.

       3       And particularly related to the payroll reimbursement

       4   agreements, we hadn't realized that we were overpaying for

       5   employees that -- and again, they're payroll reimbursement

       6   agreements for employees that are dual-hat employees, dual

       7   employees of the Debtor and our Advisors, providing investment

       8   services.   And there's a list or exhibit that shows the number

       9   -- the actual employees with their names and the allocations

     10    of their time.    And so two-thirds of those employees, when we

     11    realized or saw the list or received the list on the exhibit

     12    in the agreement, which was around the end of November or

     13    early December, two-thirds of them are no longer employed by

     14    the Debtor.    And we continue -- and they continue to bill us

     15    based on historical averages, not based on the actual amounts.

     16        So we inquired of that, we asked for email --

     17    Q   Let me -- let me pause you.

     18    A   Oh, sorry.

     19    Q   Let me pause you.

     20    A   Yeah.

     21    Q   Let me pause you.     So, during the negotiations with the

     22    Debtor in December, January, and February, did you ask for any

     23    kind of clarification or reconciliation of these amounts?

     24    A   Yeah.     So, on multiple occasions, we asked for the detail

     25    of what they were invoicing us for, and then, in particular,




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       1   in late January and again a couple times in February, I asked

       2   multiple employees for reconciliation.      Two reconciliations.

       3   One was a reconciliation of the employees that they were

       4   charging under the expense -- I'm sorry -- payroll

       5   reimbursement agreement, to the actual amounts that they

       6   charged us, and then separately I asked for a reconciliation

       7   of amounts billed to us under the shared services agreement to

       8   what they actually incurred on their end.

       9        And the rationale for the latter was because the expense

      10   reimbursement -- or, sorry, the shared services agreement for

      11   Highland Capital Management Fund Advisors is actually a cost

      12   plus a margin of five percent.     So they are to charge us what

      13   their costs are plus a margin of five percent, yet they

      14   continue to bill us the same amounts based on historical

      15   averages.

      16        And so the amounts in dispute were particularly in the

      17   last few months, where those amounts hadn't changed and where

      18   we raised this concern.

      19   Q    Did you get a response or a reconciliation from the Debtor

      20   on these overpayment issues?

      21   A    No.

      22   Q    Okay.   Now, when did you become -- well, you heard Mr.

      23   Dondero say that he delegated the primary responsibility for a

      24   transition of services to you, correct?

      25   A    Yes.




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       1   Q    When was that?

       2   A    Yeah.   So, January -- in mid-January, I became very

       3   involved.    I had less of authorization prior to that.       I was

       4   involved in some of the negotiations on contracts and things

       5   like that in early December.     Had a meeting with Debtor

       6   employees on that, and that they had been working on for

       7   months, along with Mr. Sauter.      Mr. Sauter had taken more of

       8   an active role prior, in December and October and even

       9   September, and before -- before all that.

      10        So, in January, mid-January, they actually came to me on

      11   January 12th with permission from Mr. Seery to interact

      12   directly with me and to negotiate the additional terms of the

      13   transition with me.     And Jim authorized me at that time to

      14   move forward.

      15   Q    Okay.   Did you discuss with Mr. Seery whether you would be

      16   permitted to talk to Debtor employees as part of this?

      17   A    So, I did not talk to Mr. Seery, but I talked to J.P.

      18   Sevilla, Brian Collins, David Klos, and Frank Waterhouse, who

      19   they had told me explicitly that Mr. Seery had authorized them

      20   to negotiate with me.

      21   Q    Okay.   Was there some impediment prior to that

      22   authorization to being able to discuss Newco issues with the

      23   Debtor's employees?

      24   A    So, there were a number of things.      And as this Court is

      25   very well aware, that three weeks prior to that, there were a




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       1   number of events.    There was a TRO for Mr. Dondero and our

       2   Advisors, there was a preliminary injunction for Mr. Dondero,

       3   and there were claims of interference.       And we took a very

       4   cautious approach and didn't want to interfere in any manner.

       5   And so in these regards, and in many, I mean, everyone was

       6   very cautious.    And so those were -- those were steps that it

       7   was challenging.

       8        In addition, I should note that Mr. Scott Ellington was

       9   helping the Debtor and negotiating this transition agreement

      10   before he was let go in early January.

      11        And so with all those events, we had to take a more

      12   cautious approach to communication.

      13   Q    Okay.   And approximately when did Mr. -- did the Debtor,

      14   to your satisfaction, authorize direct interaction with the

      15   employees so that you could negotiate a more fulsome

      16   agreement?

      17   A    Yeah.   It was when they called me on January 12th --

      18   Q    Okay.   And is it fair to say --

      19   A    -- and notified me of that.

      20   Q    Is it fair to say that that's the date when the

      21   negotiations really got going?

      22   A    Absolutely, yes.    Yeah.

      23   Q    Okay.   Did you ever ask the Debtor for a draft agreement

      24   or term sheet or whatever you want to call it as far as a

      25   transition of services would be?




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       1   A    I did, on multiple occasions.

       2   Q    When did you finally receive one?

       3   A    So, it was on January 28th, which was the last business

       4   day of the shared services agreement term.       Sorry, January

       5   29th, a Friday.    And January 12th, we engaged, as I mentioned.

       6   We came to quick resolution on various items.       And we began

       7   asking for a term sheet.     I actually asked them whether they

       8   -- who they wanted to draft it, their counsel or our counsel.

       9   They checked with their counsel.      I thought it was a good idea

      10   and agreed that it was a good idea for their counsel to draft

      11   it, because, as they put it, this was their baby for many

      12   months.   They had -- because the Debtor employees and DSI,

      13   their consultants, had been very involved, in taking 15 months

      14   to that point, in figuring out what contracts were needed,

      15   analyzing what needed on a --

      16   Q    Let me stop you.

      17   A    -- go-forward basis --

      18   Q    Let me stop you, --

      19   A    Yeah.

      20   Q    -- Mr. Norris.    The point being, it was agreed between you

      21   and the Debtor that the Debtor would take the first stab at a

      22   term sheet, and you received that on or about January 29th of

      23   this year?

      24   A    Correct.

      25   Q    Okay.   Now, obviously, the Debtor extended the




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       1   termination, first to February the 14th, and then, second, to

       2   February 19.    Correct?

       3   A    That is correct.

       4   Q    Okay.    Did the Advisors pay the Debtor for those delays,

       5   pay cash money to the Debtor for those delays?

       6   A    We did.    And we -- yes, we did.

       7   Q    Okay.    And without belaboring the point or taking any more

       8   time than necessary, the numbers that I have in my objection

       9   are that, for the first extension, we paid --

      10   A    I believe it was around $560,000.

      11   Q    Thank you.   Thank you.    And for the second extension, do

      12   you recall?

      13   A    Around two hundred -- just over $200,000.

      14   Q    Okay.    Why were those extensions necessary?

      15   A    They were necessary for multiple reasons, but it was

      16   necessary to get a transition agreement completed, and that

      17   was our goal and intent.      It was also necessary to protect our

      18   funds and our investors, to have a smooth transition.         But

      19   primarily, we were in a great spot until -- up until January

      20   29th, we hadn't received a term sheet.       So we couldn't

      21   negotiate a term sheet that was pages long, with schedules

      22   that were 10 or 15 pages long, in a day, and so we asked, in

      23   good faith, can we have an extension?        And they also were

      24   agreeable to that, and it made sense for all parties.

      25        Prior to that receiving the term sheet, though, there were




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       1   concerns that we would lose those services.       They threatened

       2   to pull those services.     However, at the end, all parties

       3   agreed.

       4        And then the extension, the second extension was needed in

       5   order to continue those -- those agreements, negotiations as

       6   well, as they had pushed the termination date of the employees

       7   from the anticipated January 31st to January 19th, and so we

       8   asked that they moved the termination date of the shared

       9   services in line with the termination of the employees,

      10   because our understanding was those employees would be

      11   transitioning to a new company providing those same services.

      12   Q    Okay.   Maybe I misunderstood something because of the

      13   video nature of this, but you mentioned something like pushing

      14   the termination of the employees from January 30th to January

      15   19th.   Just for the record to be clear, because, again, I

      16   might have misunderstood or misheard, but when was the Debtor

      17   going to terminate nonessential employees originally and up to

      18   what date was that pushed?

      19   A    Yeah.   So our understanding is they were going to

      20   terminate them on the 31st of January.      They did end up

      21   receiving termination notices that said January 19th.         And so

      22   that was pushed from what our understanding was, but that was

      23   the first time I believe the employees received termination

      24   notices for the 19th.     Thereafter, after we negotiated an

      25   extension of our shared services agreement one more week




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       1   before the 14th, to the 19th, the very next day they extended

       2   the termination dates to the 28th for all employees, which

       3   would extend it one week beyond the negotiated termination

       4   date for the shared services agreement.

       5   Q    Well, here's my fundamental question.      To your knowledge,

       6   was that the Debtor's separate business decision as to when to

       7   terminate employees or did you request that the Debtor extend

       8   it to February 28th?

       9   A    That was their separate business decision.       Um, --

      10   Q    That's fine.

      11   A    That was -- that was their separate business decision to

      12   extend it.    We didn't even anticipate them extending it --

      13   Q    I just want the record to --

      14   A    (overspoken)

      15   Q    I just want the -- I just want the record to be clear, Mr.

      16   Norris.     Let me direct you, please.

      17   A    Yes.

      18   Q    That that decision to extend the employee termination was

      19   not at our request?

      20   A    Correct.

      21   Q    Now, let's talk about these negotiations a little bit.          To

      22   go back to this agreement that we had other than the Dondero

      23   access issue as of last Tuesday, you agree that there was an

      24   agreement other than the Dondero access issue as of last

      25   Tuesday, right?




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       1   A    Yes, that's correct.

       2   Q    Okay.    How, if at all, was the amount of money that we

       3   owed to the Debtor issue resolved between you and your

       4   counterparts at the Debtor?

       5   A    Yeah.    So, they, at the end of January, demanded that --

       6   and this was the first time that I was aware of the extent of

       7   the amounts or that they were going to include payment of

       8   past-due or disputed amounts as part of this agreement.         That

       9   came in on, I believe, January 27th.       And they demanded we pay

      10   it or they would cut off all shared services effective Friday,

      11   the 29th.    And that included our access to the -- to our

      12   websites, our domains, our emails.      It would include access to

      13   the office.    And so that was a major item.

      14        They demanded five point -- approximately $5.2 million in

      15   payments from our Advisors and a number of other entities.

      16   And so, as part of that, that was a -- that was a problem,

      17   because we can't speak for the other entities.

      18        In addition, now we were commingling a financial dispute

      19   with the peaceful transition of services.       And so that was

      20   resolved.    We agreed with the Debtor and ultimately agreed

      21   that, okay, we would pay these disputed amounts as part of

      22   this, reserving our rights for any additional -- any

      23   additional argument of that for another time, but we would

      24   agree to pay our portion, which is approximately $3 million,

      25   our disputed portion of what they were billing, with $1




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       1   million up front.    They wanted it all up front, but they were

       2   willing to allow us to pay $1 million up front and the

       3   remainder over 14 months.

       4   Q    Okay.    Going back to this agreement save the one issue,

       5   how was the employee issue resolved?

       6   A    Yeah.    So, the employee issue was an important one, and it

       7   had been.    These employees had been working hard providing

       8   service for our funds and advisors for a very long time.           The

       9   plan all along was to transition them, as Mr. Seery said, to a

      10   new entity.    It would either by controlled by Mr. Dondero or

      11   by the employees themselves.

      12        And so we needed -- we need those services, right, in the

      13   long run.    And so that was resolved in that there would be a

      14   new company formed, which we've been calling Newco.           It would

      15   be employee-owned.    Initially, would be providing services

      16   exclusively to our Advisors, but then would have the ability

      17   to go out and provide the same services to other companies.

      18   And so we found that as -- from the beginning a great

      19   solution.    And the principals of what would become Newco have

      20   been interfacing with us and with Mr. Dondero regarding the

      21   combination of those services.

      22        So, as part of this agreement, the services would

      23   transition directly to Newco, with the same people providing

      24   the same services in the same seats.

      25   Q    Okay.    What about -- just so that the record is clear,




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       1   there's a large corporate office over at Crescent Court here

       2   in Uptown Dallas, right?

       3   A    That's correct.

       4   Q    And the lease, obviously, just to speed things up, the

       5   lease is in the name of the Debtor, but for many years

       6   NexPoint and other employees have been on premises, correct?

       7   A    Yes.    We've been there since they opened the space.       I

       8   believe it was February 2012 when we moved there.        Maybe

       9   February 2011.    But our Advisors have been there in that space

      10   since then.

      11   Q    Okay.    So how was the future of this lease and resulting

      12   lease payments resolved as part of this tentative agreement as

      13   of last Tuesday?

      14   A    Yeah.    So, it was a 75/25 split, where the Debtor would

      15   pay 25 percent and we would pay 75 percent for the remaining

      16   lease term, which was approximately 14 months.

      17   Q    And approximately how much would our 75 percent over 14

      18   months have amounted to?

      19   A    I believe that's approximately one -- between $1-1/2 and

      20   $2 million.

      21   Q    Okay.    Now, we'll talk about this in some detail later,

      22   but there are certain third-party software and information

      23   providers -- Bloomberg, for example -- that the Debtor uses

      24   that we have access to under the agreements but that the

      25   Debtor must pay the third parties for, correct?




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       1                MR. MORRIS:    Your Honor, I just object.   Again, if

       2   Mr. Rukavina wants to testify -- this is not a question.         This

       3   is testimony.

       4                MR. RUKAVINA:    Your Honor, --

       5                MR. MORRIS:    I mean, there's no foundation.    There's

       6   nothing.

       7                THE COURT:    Sustained.

       8                MR. RUKAVINA:    Okay.   Very well.

       9   BY MR. RUKAVINA:

      10   Q    Mr. Norris, does the Debtor -- or, did the Debtor provide,

      11   pursuant to shared services agreements, access to third-party

      12   software platforms?

      13   A    Yes.    They did.     There was a number of agreements --

      14   Q    Stop.    Stop.

      15   A    -- that were --

      16   Q    Stop.    Stop.   Stop.   Were these some of the things that

      17   you were negotiating with the Debtor as you were negotiating

      18   that transition of services?

      19   A    Yes.

      20   Q    Name a few of the most important of these third-party

      21   service providers that you were negotiating with the Debtor.

      22   A    Yeah.    Bloomberg, particularly the order management system

      23   of Bloomberg.     Oracle, which is an accounting system, to name

      24   a few.   Those were the most important ones.

      25   Q    Describe with some more specificity, please, what the




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       1   order management system is.     OMS.

       2   A    Yeah.    An order management system is an operating system

       3   that allows you to trade various funds and asset classes all

       4   through one system.     And so we have a number of funds, we have

       5   a number of asset classes we trade, which include loans,

       6   bonds, and equities.     And so trading all of that through a

       7   system that then sorts it, allocates it, and does it all in an

       8   efficient manner -- in addition, it incorporates various rules

       9   and metrics for trading and efficiency -- so it's very

      10   customized, it's very customized for the rules related to our

      11   funds, very customized for the rules related to what we trade

      12   for our Advisors, and it's been used primarily by the traders

      13   from our Advisors or employed by our Advisors.

      14        So that's what the OMS is.     And it's Bloomberg that has

      15   the software, and it's been customized directly with

      16   Bloomberg.

      17   Q    Okay.    Did you come to an agreement with the Debtor as to

      18   how the future costs or license fees for these platforms and

      19   services would be allocated between the Debtor and the

      20   Advisors?

      21   A    We did.    It would be, for most of them, which is

      22   approximately a hundred contracts, is about -- is a 60/40

      23   allocation.     We would pay 60 percent and they would pay 40

      24   percent.     There are some of them that they said they didn't

      25   use that we agreed we would pay a hundred percent of.         But




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       1   most of them are a 60/40 split.

       2   Q    Okay.   And did you calculate approximately how much in

       3   payments pursuant to that formula we would make, the Advisors

       4   would make in the future under the draft agreement?

       5   A    Yeah.   So, it is approximately $240,000 per month,

       6   inclusive of the lease.     So, exclusive of the lease, it was

       7   about $120,000 per month.

       8        In addition, there were one-time payments for annual

       9   payments, which I think was around $200,000 or $300,000.

      10        So it is a -- it's a couple million dollars over the life

      11   of the contract.

      12   Q    Okay.   And to fast forward to last Tuesday, the one issue

      13   that had not been resolved was Mr. Dondero's physical presence

      14   on the premises, correct?

      15   A    That's right.    That's right.

      16   Q    Was this a last-second issue or had this been discussed

      17   for some time?

      18   A    No, it wasn't a last-second issue.      We actually included

      19   it in our first multiple drafts or responses to their term

      20   sheet.   We got the term sheet on the 29th of January and it

      21   did not include any specifics around Mr. Dondero's access, but

      22   we added that in early drafts of the term sheet and it was

      23   removed by their counsel and reinserted in the -- I know there

      24   was discussion between counsel on various aspects of it.         It

      25   was removed from what was their final version, and maybe even




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       1   the draft before that, but it was added in by us again as --

       2   for all the reasons we mentioned before.       We thought it needed

       3   to be stated explicitly in the agreement.       And the attorneys

       4   had discussed that it could be handled --

       5   Q    Let's not talk about -- yeah, let's not talk about the

       6   attorney discussions.

       7   A    Okay.

       8   Q    You heard Mr. Seery say that the Debtor refused to permit

       9   Mr. Dondero onto the premises and you heard him say why.         Did

      10   the Advisors offer any compromise on this access issue?

      11   A    We did.

      12   Q    What was that offer?

      13   A    So, we offered to -- and in all this, it's thinking, what

      14   are the employees from the Debtor that are going to be using

      15   this?   We haven't even really received a good understanding of

      16   who that is.

      17        However, we offered to take approximately 25 percent of

      18   the office.    And there is a clear area where we could build a

      19   wall.   They could have their own separate access, their own

      20   separate restrooms, their own separate entrance, where they

      21   wouldn't have any involvement or connection to us.        And so we

      22   also offered with that, whenever you need access to the other

      23   portion, let us know.     We can even have Jim Dondero leave, if

      24   you're concerned.

      25        And so that was one option.     We could build a wall.      And




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       1   we even put that in the written agreement.         We will build a

       2   wall at our expense.        That was the -- that was the -- what our

       3   offer was.

       4   Q    How did the Debtor respond to that offer?

       5   A    They removed it from the agreement and they told us that

       6   we had until 6:00 p.m. to sign their agreement with no Dondero

       7   access or they would file a lawsuit.

       8   Q    And this was last Tuesday?

       9   A    This was Tuesday.

      10   Q    Okay.    Were you able to respond by their deadline, which

      11   they -- then they later moved to midnight of that same day?

      12   A    I'm not sure if there was a response.         It was handled

      13   between attorneys.     Our counsel.     I had -- just as Mr. Dondero

      14   stated, I had rolling blackouts in my home from 2:00 a.m. on

      15   Monday until Thursday.       I -- I and D.C. were aware of the

      16   offer, as was our counsel, and I believe there was a -- and I

      17   believe there was a response from our counsel in time, but I'm

      18   not -- I wasn't certain at the time.          I knew that, as well,

      19   there was an extension, but I didn't find out until the next

      20   day because I did not have power.

      21   Q    And ultimately, the Debtor either rejected that last offer

      22   or let the offer expire by not accepting it.         It doesn't

      23   matter which.     But is that accurate?

      24                MR. MORRIS:    Objection to the form --

      25                THE WITNESS:    Yes.




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       1                 MR. MORRIS:     -- of the question.

       2                 MR. RUKAVINA:    Your Honor, I'll ask it a different

       3   way.

       4                 THE COURT:    Sustained.

       5                 MR. RUKAVINA:    I'll ask it a different way.

       6   BY MR. RUKAVINA:

       7   Q      Did the Advisors accept the Debtor's last offer made on

       8   Tuesday of last week, the one you just referenced?

       9   A      No.

      10   Q      Why?

      11   A      As explained, I think, clearly by Mr. Dondero as well, it

      12   did not have the provisions that we thought necessary.          And

      13   when you think about this, we were going to be required to pay

      14   significant dollars for an office space where our president

      15   and principal was not permitted.

      16          We had an option to go other -- elsewhere, right?        Here,

      17   we're in a separation experience.         This agreement that they

      18   had, they had told us early on it was fill-or-kill.           They told

      19   us early on that it was not a la carte.         When we pushed them

      20   on that a couple weeks later, they said, well, the only thing

      21   that's not negotiable is the office, right?         If you want

      22   everything else, you've got to have the office.        That was in a

      23   discussion with various attorneys on the phone.

      24          And so, with this, we knew this was a kind of take-it-or-

      25   leave-it offer, and we could have gone elsewhere.         And we had




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       1   already been preparing, in the event that we couldn't have a

       2   deal, to go elsewhere.     And so, with that, if they were not

       3   going to permit -- which we thought was very reasonable,

       4   specifically with all of the additions, you know, the

       5   consideration -- sorry, my battery is about to die on my

       6   computer.    I'm plugging in the charger here.

       7        So, with all of those considerations, we couldn't sign

       8   that deal, especially as -- without that key access.

       9   Q    You personally, Dustin Norris, now, personally, as an

      10   officer and a fiduciary, did you think that it was appropriate

      11   or inappropriate that Mr. Dondero be allowed on the premises

      12   in the future?

      13   A    I thought it would be appropriate for him to be there.

      14   Q    Why?

      15   A    So, I've been working for Mr. Dondero for a long time.         I

      16   know the way he operates, and I know that the way that he

      17   manages his organization, which is a complex organization, he

      18   needs to be there in person.      We haven't been in the office

      19   because of a -- a disregard for COVID.       We are an essential

      20   business, and we have been, as a financial services business.

      21   But the way we operate is very in-person, and that's how Jim

      22   operates.

      23        In addition, I've never heard of a situation where the

      24   principal or the control person of a company -- there's no

      25   question that Mr. Dondero controls the organization -- cannot




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       1   be there in person.

       2        And so, from that perspective, given and knowing all of

       3   our other plans, given the ability for many people to

       4   relocate, given the abundance of office space elsewhere, if we

       5   were forced to accept an agreement that did not allow Mr.

       6   Dondero for the next 14 months to be there in person, it was

       7   -- it was going to be a challenge for us from a business

       8   perspective.

       9   Q    Do customers or investors or prospective customers and

      10   investors come to the offices historically to meet with the

      11   Advisors and their personnel?

      12   A    Pre-COVID, yes.    Regularly.

      13   Q    Okay.   Would Mr. Dondero participate in those meetings?

      14   A    He would, yes.

      15   Q    Were you concerned that him being unable to participate in

      16   those meetings would affect future business and profitability?

      17   A    Yeah.   I think if you look at this -- key investors come

      18   in and see this big cavernous open office and ask why the

      19   manager of the funds is not even allowed to be in your office,

      20   you know, or is that impacting the way you operate, then yes,

      21   I think he needs to interact with people that are coming

      22   through the office.

      23   Q    He has not been in the office since about the beginning of

      24   this year; is that correct?

      25   A    Correct.




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       1   Q    Do you feel like that has caused any harm or disruption to

       2   the Advisors' business?

       3   A    Yeah.    I don't know that I would characterize it as harm,

       4   but it has been disruption, right?      I'm -- the way that we

       5   operate, having Jim there, being able to have consistent,

       6   regular meetings in person, which for me were multiple times

       7   per day on a regular basis, and many others, it was

       8   disruptive.    Being able to reach him, how to reach him.       Do I

       9   need to get in my car and drive to another location where he's

      10   at, which I did on many occasions.      We typically get people

      11   together very quickly in groups:      Let's go talk to Jim.     And

      12   that becomes a challenge to get things done quickly and in an

      13   efficient manner.

      14        So it has been a disruption, and it's not something that

      15   we would desire to do, if we had the choice, for another 14

      16   months.

      17   Q    Okay.    Now let's talk about the backup plan, please.      I

      18   guess let's start with:     What is our backup plan?     Well, let

      19   me start with this.

      20   A    Yeah.

      21   Q    Do we have a backup plan?

      22   A    And I think the key now, instead of calling it a backup

      23   plan, is an operating plan.

      24   Q    Okay.

      25   A    For --




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       1   Q      Do --

       2   A      -- several weeks, --

       3   Q      Let me -- let me -- that's a very good point.     Prior to a

       4   few days ago, did we have a backup plan in place for what we

       5   would do if we were not able to enter into a transition

       6   services agreement with the Debtor?

       7   A      We did, yes.   And --

       8   Q      Since when -- let me -- let me direct you.     Let me direct

       9   you.    Since when did we have that backup plan?

      10   A      Yeah.   So, the backup plan -- the backup plan began many

      11   months ago, but as I mentioned earlier, it began in earnest in

      12   the end of January, right?     And over the last month

      13   especially, we've been putting in place all of the required

      14   systems and processes and procedures in order to continue

      15   doing all the duties under our advisory agreements.           And that

      16   includes all of the services that are provided for the Debtor

      17   -- by the Debtor.

      18          And our backup plan, a big part of that included the

      19   transition, and it still includes the transition of those

      20   employees to Newco.     We are in active negotiations and believe

      21   that Newco, once those employees are terminated on the 28th,

      22   they will be able to perform their same duties on March 1st of

      23   this year.

      24          And so we expect those services to happen.     In the

      25   interim, we've prepared for and have contingency plans in




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       1   place in order to do all that we need to do.       We have systems

       2   and servers that are set up in an SEC-compliant manner.          We

       3   are operating on a new email system.       We have our files --

       4   Q    Let's go --

       5   A    -- that are essential.

       6   Q    Let's go step by step here so that the judge --

       7   A    Yeah.

       8   Q    -- has a very clear picture of what all is involved.         So

       9   I'm going to try to break it down.      I think both you and Mr.

      10   Seery talked about back-office and middle-office services.

      11   What are those?    What does that refer to in the industry?

      12   A    Yeah.   So, back-office -- back-office and middle-office

      13   includes HR, IT.    Accounting is a big part of that back-office

      14   services.    And in regards to our funds, it is the oversight of

      15   the accounting process on a day-to-day basis and on a monthly

      16   and quarterly basis, for annual reports, for audits.          It's the

      17   day-to-day valuation services that are provided to our funds.

      18   And so those are the key functions.      It's legal and compliance

      19   as well --

      20   Q    So let's --

      21   A    -- the Debtor has been providing for our funds.

      22   Q    Let's go step by step.     So let's assume that I'm -- I want

      23   to invest in your fund.     In a retail fund, pardon me.       Am I

      24   able to pop up daily or almost instant information regarding

      25   its assets, its valuations, et cetera?




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       1   A    Yes.    So, most of our --

       2   Q    Is that -- is that --

       3   A    -- funds --

       4   Q    Is that part of what you were just describing about

       5   valuation and accounting services on a real-time basis?

       6   A    Yes, it's part.    It's more of the oversight function.

       7   Q    Okay.

       8   A    We outsource the daily processing and NAV-striking, or the

       9   actual accounting, day-to-day accounting, to an outside third

      10   party called SEI.    And the Debtor had provided oversight

      11   function as well as valuation services for that daily

      12   accounting process.

      13   Q    Okay.    So the Debtor, for accounting, wasn't actually

      14   crunching the numbers every day; it'll -- supervising third

      15   parties.     And that's been the historical norm, correct?

      16   A    That's correct.    I actually --

      17   Q    Now, let's --

      18   A    -- years ago filled that function.

      19   Q    Okay.    So let's -- so how are we, the Advisors, today,

      20   compensating for the lack of the Debtor's back-office and

      21   middle-office services, or how are we transitioning from that

      22   today?

      23   A    Yeah.    So, a key part of that is the transition to Newco,

      24   right, and as well that is planned for next week.        However, in

      25   the interim, we have very good plans and processes in place.




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       1   We have -- on the accounting front, on a day-to-day basis, we

       2   have added our key personnel, our accounting teams, which has

       3   been actually bulked up in recent years.       We have a number of

       4   publicly-traded REITS that have SOX-compliant processes and

       5   procedures.

       6        And the CFO of our real estate platform, Brian Mitts, used

       7   to be the principal financial officer of all of these funds.

       8   He continues to be and operates as the principal financial

       9   officer for one of them, or had been throughout all of this

      10   time, and is a participant in all of the board meetings and

      11   regular valuation processes.     In addition, he has a team of

      12   accountants.

      13        And so they are now copied on all the day-to-day

      14   accounting emails from our third-party providers.        They have

      15   been for several days.

      16        In addition, as a backup measure, we hired on a consulting

      17   basis the former senior accounting manager who worked until

      18   April of about two years ago for the Debtor, providing these

      19   same services to our funds.     And so, on a contract basis, he's

      20   there as needed.

      21        In addition, we have received from the Debtor a list of

      22   employees, if they're needed, that we could hire.        There's

      23   about seven of them in the accounting and operations

      24   functions.    They gave us permission last week to do so.       And

      25   one for valuation.




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       1        So, those functions, if they're needed in the interim

       2   period before Newco is in place, we'll have those.

       3        In addition, from an IT perspective, which is an important

       4   part here, they maintain -- the Debtor maintained our systems

       5   and servers.    We have contracted --

       6   Q    Let's not -- let's not -- we'll talk --

       7   A    Yeah.

       8   Q    We'll talk about -- we'll talk about IT momentarily.

       9   A    Yeah.

      10   Q    You mentioned -- so you just discussed accounting.        What

      11   about -- and I think you -- did your discussion right now

      12   include transition of the valuation services?

      13   A    Yeah.    So, in that regard, --

      14   Q    Okay.    What about -- what about -- what about legal,

      15   transition of legal services and compliance, regulatory

      16   compliance?

      17   A    Yeah.    That -- as I had mentioned before, the services we

      18   had been receiving from the Debtor have slimmed down

      19   dramatically, and particularly around legal services.         We

      20   still had been receiving significant support from Lauren

      21   Thedford, who is a very reliable team member of the Debtor.

      22   She was also serving as an officer of the funds, of our funds,

      23   until Friday, when she resigned.       But we have in place with

      24   SEI, they provide admini... regulatory and legal admin

      25   services to us, and have all along.      They're prepared to step




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       1   up in her absence.

       2         And also K&L Gates, who already serves as advisor counsel

       3   and fund counsel, is set and has been already picking up the

       4   slack and prepared to do anything that Lauren was doing.         She

       5   is a valuable team member.     We hope that as we transition to

       6   Newco that she'll be able to, as mentioned earlier, step back

       7   on as an officer of the funds.

       8   Q     Now let's talk about IT, information technology.        What

       9   services was the Debtor providing to the Advisors in the

      10   nature of IT under the shared services agreements?

      11   A     Yeah.   So, our IT equipment, our computers, our screens,

      12   were their property, or at least that's -- that's the --

      13   that's what -- it's in their name.      Not all of it, but some of

      14   it.   In addition, they provide IT support.      So if we have an

      15   IT problem, we need to call the IT guy, they provide that.

      16   They provide support for the servers.      They own the servers.

      17   They own the system.     Or at least that's what -- that's what

      18   their -- their claim is.     And so they provide all of those

      19   kind of IT functions for us, or had until this past weekend.

      20   Q     Does that include email?

      21   A     That's right.   They -- they --

      22   Q     Does that include -- hold on.

      23   A     We have a number of --

      24   Q     Hold on.   Hold on.   Does that include Internet -- does

      25   that include Internet connectivity?




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       1   A    It included the Internet connections at work.       It included

       2   the phones.    It included our emails and email servers and the

       3   --

       4   Q    What about --

       5   A    -- domain that, even though they're in our names -- yeah.

       6   Q    That's what I was going to ask next.      What about domain

       7   names?   How are those handled?

       8   A    They have claimed that those are theirs as well, that the

       9   domains we use for our websites and for our emails are theirs.

      10   Q    Okay.    And what about electronic data, just a wealth of

      11   internal books and records, kind of corporate data?           Did the

      12   Debtor provide --

      13   A    Yeah.

      14   Q    -- any services with respect to that?

      15   A    Yeah.    So, they retain all of the data that we use on

      16   their networks and servers, and all of that is stored on

      17   shared drives and on their system or on the computers that are

      18   owned by them.    And so even though they're our books and

      19   records, I believe you read earlier the provisions of the data

      20   provision, and so that is all stored on their systems.

      21   Q    Okay.    So we just kind of discussed the universe of the IT

      22   services that the Debtor provided.      Did we miss anything or is

      23   that kind of the stuff that really matters?

      24   A    I think that -- I think that covers the --

      25   Q    Okay.




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       1   A   -- the main items.

       2   Q   How is that being handled by the Advisors today, or how is

       3   that -- or has it been transitioned from the Debtor?

       4   A   Yeah.    So, largely, we are handling it on our own and

       5   through a third-party provider.     So, we have bought and

       6   purchased our own domain names.     We've transitioned our emails

       7   to those new domain names.    We have made copies of our data,

       8   or a lot of our data.    There's still some stuff we need.      But

       9   our essential data.    And we have transitioned to a new server

     10    and systems that are -- that are secured and perform through

     11    this third party who does this for a number of asset managers,

     12    for endowments.   And the way he has set it up is in an SEC-

     13    compliant matter.   So, dual authentication.     All of the things

     14    that you would expect from a security standpoint are in place.

     15    And we are operating starting on -- we were mirroring for a

     16    couple weeks, but on our own beginning on Saturday, when the

     17    shared services were terminated, and have been sending those

     18    emails from those -- the new systems and servers.

     19    Q   So that was going to be my next question.       Is it that we

     20    just did this (snaps fingers) Saturday like that, or did we

     21    actually have a mirroring in place for quite some time?

     22    A   Yeah, we have for -- been working on this for multiple

     23    weeks with the outside IT service provider, and it's been done

     24    in phases.   And so we've been -- we had a certain small

     25    portion of the people start early, they tested it out, and




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       1   then we rolled it out more broadly over the last couple of

       2   weeks.

       3   Q    Who is that third-party IT provider?      What was that --

       4   A    Siepe.

       5   Q    Is that -- that's not proprietary information, is it?

       6   A    It's not.

       7   Q    Okay.    Who is the third-party provider?

       8   A    It's Siepe.    And they're a outsource --

       9   Q    Well, let me -- let me -- let me --

      10   A    -- provider --

      11   Q    Let me --

      12   A    Yeah.

      13   Q    Let me direct you.    Will you please spell Siepe?       I'm not

      14   even sure how to spell it.     And then tell the Court what Siepe

      15   is and what it does.

      16   A    Siepe, it's S-I-E-P-E, and I believe it's Italian for

      17   hedge, and they are an outsourced IT and IT development

      18   provider.     And it was actually started by a former member of

      19   -- a former employee of Highland about a decade ago, I

      20   believe.     He spun out and created his own firm.     And they do

      21   this for a number of asset managers, including for Highland.

      22   So they understand our systems.      They understand their

      23   systems.     They're intimately familiar with what we need.

      24   They've been servicing our Advisors for years and have created

      25   a lot of the connections that we have with outside service




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       1   providers.

       2   Q    This ain't their first rodeo?

       3   A    No.   I would think -- it would be -- have been challenging

       4   to do it without Siepe, and -- but they were able to execute

       5   very quickly because they knew and were already operating with

       6   us for years.

       7   Q    So can investors, clients, in these funds today get on the

       8   Internet and get whatever information they were able to get a

       9   week ago, can they still get that today regarding their

      10   investments?

      11   A    Yes, they can.    And I would add one other thing here,

      12   important, is the investors, all of their books and records

      13   and the data related to our advi... to our funds, the

      14   accounting data and the client data, are held at third

      15   parties.   So we have a third-party transfer agent that has all

      16   of the information on client records.      That is -- they don't

      17   come to us for their client statements.       They go to our

      18   transfer agent.

      19        In addition, our accounting functions, those data and

      20   files are all on their systems.

      21        And so as far as we're talking about data and what they

      22   can come to us, they never come to us for their systems and

      23   their data.    If they want to know what the value is, they can

      24   go to   Morningstar.com or Yahoo Finance and see daily the

      25   pricing of our funds, which are published daily, even




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       1   yesterday, published there for them.         But their actual client

       2   data is held at third-party administrators.

       3   Q    The point being, do you, other than maybe a change in the

       4   email address, the point being do you think that investors or

       5   clients or customers are even aware of the transition away

       6   from the Debtor in the last few days?

       7   A    Based on business interaction --

       8                MR. MORRIS:    Object to the form of the question.

       9                THE COURT:    I'm sorry, was there an objection?

      10                MR. MORRIS:     There is an objection.   To the extent

      11   the question is asking for what other people think or believe

      12   or perceive, I think that's improper.        No foundation.

      13                THE COURT:    All right.   I sustain.

      14   BY MR. RUKAVINA:

      15   Q    Have you received any complaints from investors or

      16   customers or clients in the last few days about their ability

      17   to do anything with respect to their investments?

      18   A    Not that I'm aware of, no.

      19   Q    Okay.

      20                THE COURT:    All right.   Mr. Rukavina, it's about

      21   1:00.   How many more minutes do you have?

      22                MR. RUKAVINA:    I don't think I have more than ten

      23   minutes, Your Honor.       Fifteen minutes, tops.

      24                THE COURT:    Okay.   Well, we need to take a lunch

      25   break, so we're just going to break here.        It is 1:00 o'clock.




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       1   I'm advised that my 1:30 matter is going to take maybe ten

       2   minutes.    So we will convene -- let me get a clarification.

       3        If we reconvene at 1:45, Mike, do we need to hang up?          Do

       4   we need to terminate this and --

       5               THE CLERK:    Yes.    We need to terminate this because

       6   she's already gotten one set up at 1:30, the other one.

       7               THE COURT:    Okay.

       8               THE CLERK:    So they could probably just call in to

       9   that one.    We just need to get them the information.         Let me

      10   see if I can contract Traci, see what the best way.           Because,

      11   like I said, we've already got one for them.

      12               THE COURT:    Okay.

      13               THE CLERK:    So this one is going to end.

      14               THE COURT:    All right.    So just stay, I guess,

      15   connected.    Is that what you're saying?

      16               THE CLERK:    Yes, stay connected.

      17               THE COURT:    Yes, stay connected.    We'll come back at

      18   1:45.   And my staff will let you know if by chance we need to

      19   terminate this and reconnect.         But I think you can just stay

      20   connected.    Operate under that assumption for now.

      21        All right.    So I will see you at 1:45.

      22               MR. MORRIS:    Thank you, Your Honor.

      23               THE CLERK:    All rise.

      24               MR. POMERANTZ:    Thank you.

      25        (A luncheon recess ensued from 1:01 p.m. to 2:14 p.m.)




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       1                THE COURT:   Mr. Rukavina was examining Mr. -- I was

       2   about to say Dustin -- Mr. Norris.          So, are you ready to

       3   proceed, Mr. Rukavina?       You said you had a few more minutes.

       4                MR. RUKAVINA:    Your Honor?    Pardon me.   Your Honor,

       5   I'm ready.     Mr. Norris, can you hear me?

       6                THE WITNESS:    Yes, I can.    Thank you.

       7                THE COURT:   All right.   Mr. Norris, I'll remind you

       8   you are still under oath from your prior swearing in.

       9        All right.    You may proceed.

      10                THE WITNESS:    Thank you.

      11                        DIRECT EXAMINATION, RESUMED

      12   BY MR. RUKAVINA:

      13   Q    Mr. Norris, I think before we broke we rounded off a

      14   discussion about the previously backup/now-operational plan

      15   for IT and electronic data.       I'd like to move on now to office

      16   space.

      17   A    Okay.

      18   Q    What is the current status and plan for the Advisors to

      19   have office space, both for their current employees and for

      20   the Newco employees?

      21   A    Yeah.    So, from our perspective, we've been in talks with

      22   an organization that's willing to sublease a space that is

      23   approximately -- close to our current space.         And that is the

      24   current plan.

      25        In the interim period, all of our employees are working




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       1   remotely, and are doing so without any major issues.          They're

       2   able to -- in this COVID environment, fortunately, there are

       3   systems and processes that have already been built out and

       4   we've been able to transition to that without any issues.

       5   Major issues.     Without any major issues.

       6   Q    Is there any temporary office space available this week

       7   for, you know, meetings or anything that might have to happen

       8   in-person?

       9   A    Yeah.    So, I'm actually sitting in a temporary office

      10   space for a meeting.       A company we have a relationship with is

      11   allowing -- and -- office space here.

      12   Q    Okay.    What about hardware, like computers, routers, all

      13   of that stuff you testified earlier, most of which was the

      14   Debtor's property that I'm taking it we left on the Debtor's

      15   premises when we vacated Friday?        What's the status of --

      16                MR. MORRIS:    Your Honor, objection.   Again, I don't

      17   know what the testimony is and the references to "we".

      18   There's no -- there's no evidence in the record that anything

      19   was left behind.     There's no evidence of any of this.

      20                MR. RUKAVINA:    I'll start again, Your Honor.

      21                THE COURT:    All right.   Sustained.

      22   BY MR. RUKAVINA:

      23   Q    Mr. Norris, you've heard Mr. Dondero testify or Mr. Seery

      24   testify that the employees of the Advisors that were onsite at

      25   Crescent Court vacated.       Did you hear that testimony?




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       1   A    Yes.

       2   Q    Is that accurate testimony?

       3   A    That is accurate.    We all moved out by the end of day on

       4   Friday.

       5   Q    That's Friday, the 19th of February?

       6   A    Correct.

       7   Q    Did any employees, to your knowledge, or did you see

       8   anyone take any equipment, machinery, et cetera, that was not

       9   property of the Advisors?

      10   A    Yeah.   So, we were informed that we would have access to

      11   the systems, as they testified to earlier, until today.         So we

      12   held onto those.    They never told us they needed our laptops.

      13   They never told us to leave our stuff, or their stuff.         And so

      14   we're prepared to provide those and return those.        And we are

      15   actually operating now independent of those IT resources,

      16   being laptops, et cetera, and screens.

      17        So, there were a number of laptops that were assigned to

      18   us that we purchased just in the last few months, about 15 of

      19   them.   A number of screens as well.     We took those, and those

      20   continue to be used.

      21        For essential personnel, we had, over the last several

      22   weeks, purchased additional laptops.       As you know, laptops --

      23   you may know laptops are in short supply, and so we ordered

      24   them for the essential people that did not have a computer at

      25   home, so that they could be operating.       Those were outfitted




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       1   and ready, many of them picked up last week, some picked up

       2   this morning.    And those that didn't have a laptop ready, we

       3   ensured that they had home access and are able to log in

       4   through the cloud.    So, all of our systems are hosted by AWS,

       5   which is an Amazon system, set up so that we can remote login

       6   through a VPN connection.     So, our employees are able to

       7   access their email and our systems through there.

       8   Q    Okay.    To the extent any of the Advisors' employees are in

       9   possession of computer equipment that belongs to the Debtor,

      10   will that be returned promptly?

      11   A    Yes.    As they request it, it will be, yes.

      12   Q    Okay.    Have the Advisors offered to purchase for cash

      13   money those used laptops and other equipment?

      14   A    We have, yes.

      15   Q    Did the Debtor accept?

      16   A    It was part of our, as we referred to earlier, a slimmed-

      17   down proposal over the weekend, which was very minimal, and it

      18   included the laptops.     And we offered a sum for that, and the

      19   OMS system.     The sum we offered was $300,000, and we also

      20   offered to take one hundred percent of the OMS invoice going

      21   forward, and offered the Debtor to continue using that, as we

      22   know they -- we believe they may or may not need use for it.

      23   But we offered that over the weekend, and they simply

      24   responded with, We don't even know why you need this.         And the

      25   answer was their offer was still on the table, with no access




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       1   to Jim, and the whole agreement.

       2   Q    So, the Debtor wouldn't negotiate on an a la carte

       3   purchase?

       4   A    No.    We offered, actually, last Thursday as well, once we

       5   had received the -- kind of the -- Wednesday or Thursday, I

       6   can't remember the exact date, after the court filing had been

       7   made, for a small, very slimmed-down, which was primarily the

       8   OMS and certain data items, which they came back with some

       9   counters which weren't workable.      And then again, throughout

      10   the weekend, I worked all day Saturday.       They said they would

      11   be willing to consider a slim-down, but send them an

      12   agreement, and -- something that Jim Dondero had explicitly

      13   agreed to.    And we spent all day, discussed with Jim, and sent

      14   them to them Sunday morning, to which they -- they did not

      15   agree to.

      16   Q    Okay.   Did they counter, or did they just say no?

      17   A    I think that the -- the counter was the offer from Friday,

      18   and I can't remember which one it was.      But there was a

      19   counter, but it was not what Jim had authorized.

      20   Q    Okay.   Let's move onto the third-party software that we

      21   discussed before, Bloomberg, OMS, or Oracle.       What is the

      22   current status of that vis-à-vis our transition plan?

      23   A    Yeah.   So, from a trading perspective, trading has been

      24   done outside of OMS in the past, right?       And if you look at --

      25   it's not as easy.    There's also -- so, we have a manual




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       1   process in place that we're able to, and that we've tested,

       2   that we're able to perform from a trading perspective, where

       3   our traders interface directly with the brokers, where they're

       4   able to manually input the trade.      They're able to be

       5   communicated to our custodians and our accountants, and then

       6   that is able to be settled manually.

       7          So, that's not ideal.   We would like to have an order

       8   management system.    That said, I know there's discussions with

       9   the Debtor, more employees of DSI, about getting copies of

      10   their OMS for the data that is ours within the OMS, or

      11   allowing us to get that data in order to actually enter into

      12   an agreement separately with Bloomberg, which we've been

      13   discussing with Bloomberg.     And Bloomberg is willing, with

      14   their approval, to get that copy and set it up without any

      15   setup fees for us, and we would have a new instance of that

      16   OMS.

      17          Separately, there are some other free off-the-shelf OMS

      18   solutions that our outside service providers have said they

      19   can quickly implement.     And so it's just determining based on,

      20   really, the events today, and the discussions going on on the

      21   OMS, what our path forward is.      But we have a plan, which

      22   we're executing on, to execute trades.

      23          As the Debtor said, they are still providing access to our

      24   -- their systems through the end of the case today.           And I

      25   think, as Mr. Seery said, there's -- they still see trades




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       1   going through the system.      That's at their goodwill, and I

       2   think that's great.

       3        But the OMS is an area of continued focus.       Again, we have

       4   a plan to go forward or without it, but ideally we would have

       5   a smooth transition there.

       6   Q    So, if the OMS purchase -- the OMS system can't be

       7   purchased from the Debtor, you mentioned a potential agreement

       8   with Bloomberg where a new OMS system would be purchased or

       9   built?   Or explain more what you mean by that.

      10   A    Yeah.   So, Bloomberg has -- and this is their software,

      11   the order management system through Bloomberg -- but it has

      12   been highly customized over many years and has our historical

      13   data in there, our rules, our Advisors' rules set up that we

      14   use for trading.    And so it would take several months for us

      15   to go in and code exactly how we would like it.       However, my

      16   understanding is there's a backup where Bloomberg, with the

      17   authorization from the Debtor, could transfer the underlying

      18   data and setup.

      19        Or alternatively, like I said, we offered over the weekend

      20   to pay them a monetary sum to take over the Bloomberg

      21   contract, and not just the OMS, but others that I think it was

      22   approximately $450,000 a year in ongoing costs we would take

      23   one hundred percent of and still provide them access.

      24   Q    Access for a fee or access for free?

      25   A    Free.   Free of charge.




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       1   Q    Okay.   So just so that the judge knows, are we able to

       2   execute trades today?

       3   A    Yes.

       4   Q    Will we be able to execute trades tomorrow?

       5   A    Yes.

       6   Q    Will we be able to execute trades into the future until we

       7   either purchase or develop an OMS electronic system?

       8   A    Yes.

       9   Q    And in the meantime, it's being done manually, I think you

      10   said?

      11   A    Yep, manually.

      12   Q    And do you have confidence that the manual system is going

      13   to be safe and accurate?

      14   A    I do.   There's -- there is multiple people involved.

      15   They've actually run tests -- not test trades, but actual

      16   trades, over the last couple of weeks through this system.

      17   And our trader has been trading for over two decades, and this

      18   is a system he used years ago before we put in place the OMS.

      19   There is some --

      20   Q    Stop, stop, stop, stop, stop.     What system did he use

      21   years ago?    I want you to be specific.

      22   A    This manual system --

      23   Q    Okay.

      24   A       -- that we're using today.   We call it manual. It's a

      25   direct with -- with a process that we used previously.




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       1   Q    Okay.   Thank you.   I just wanted that clarification.

       2        Do we have -- the Advisors, that is -- do the Advisors

       3   have insurance in place for whatever it's called in your

       4   business, but for basically messing up a trade?       Whether it's

       5   professional negligence or O&E or whatever it is.        E&O.

       6   A    Yes.    Our funds have insurance that is through ICI, which

       7   is a -- they do this specifically for investment companies.

       8   So, we have a -- I think it's an errors and omissions

       9   insurance that covers, for example, if there was a NAV error.

      10   A NAV error is if a fund made a mistake.       In addition, we have

      11   NAV error correction policies, where, if it's the Advisors'

      12   fault, then the Advisor would have to kick in.       But the

      13   Advisor has insurance as well, as well, to cover things of

      14   that nature.

      15   Q    What's the policy limit?

      16   A    I believe it's $5 million.     I'm not certain, but I believe

      17   it's $5 million.

      18   Q    Okay.   So, over the course of the last several questions,

      19   I've gone through kind of various processes and services that

      20   the Debtor used to provide.     Have I missed anything big-ticket

      21   that you feel is of importance?

      22   A    As far as essential items, no.      There are some smaller

      23   items like HR, which is recruiting and hiring, those types of

      24   smaller things.    Cash management, communicating with

      25   custodians, where those are smaller, minor items, but aren't




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       1   -- we're able to cover internally but you didn't mention in

       2   particular.    But those are -- those are the big items.

       3   Q    And do you have confidence or a lack of confidence that

       4   your backup plan, now the operating plan, is going to succeed?

       5   A    I do.    It's not the path that we all wanted to go down,

       6   right, as we wanted to have a transition.       We wanted to have

       7   all these systems and software, as evidenced by trying again

       8   to have the Bloomberg OMS through the weekend.       It's not going

       9   to be perfect, but I feel like we have everything in place to

      10   do the job that we're required to do.

      11        And we've tried to put in place, you know, controls to

      12   mitigate risks wherever possible, and so I feel confident in

      13   the plan.    I've spent weeks and weeks losing sleep,

      14   coordinating, you know, stressing over these items as a backup

      15   plan, in addition to trying to negotiate an agreement.         I've

      16   had a team of senior people across our firm who are from each

      17   area of our firm.    I have spoken with Debtor employees to

      18   consider what additional risks do we need to consider.         And so

      19   I think it's been very well-thought-out.       And I mentioned the

      20   last several weeks, that was when, again, when it became an

      21   earnest necessity to ensure we had something.

      22        Prior to that, you know, in December and November, we

      23   received a list of all agreements.      We reviewed a list of all

      24   of our agreements, all the Debtor's agreements.        And so we

      25   were thoughtful already then what we needed.       And so as we had




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       1   to then execute quickly, we knew exactly what was necessary

       2   and what the Debtor was providing us.      And so, as well, with

       3   this transition agreement, there's about a hundred or so

       4   services in there, and discussing what were essential and what

       5   were not, what we could enter into by ourselves and what we

       6   couldn't.    And almost every one of them we could have entered

       7   into ourselves.    We would have loved to -- and I think we

       8   would have had a cost savings, and it would have been a

       9   benefit to them -- to reach this broad agreement, but for the

      10   one remaining issue that neither Jim would approve.

      11        So, we tried.    We went through the, as I said earlier, a

      12   thousand line items.     We negotiated, I believe, in good faith

      13   all along the way.     Whenever -- an ultimatum was given to us

      14   on Tuesday.     I continued pushing all the way through Friday,

      15   all the way through the weekend, and this is what I wanted.

      16   But along the way, we were preparing in every way for the

      17   backup, because I have '40 Act registered mutual funds, I have

      18   a board who's demanded it, and we were trying in every way to

      19   be able to continue these services in the event that HCMLP

      20   would no longer provide them.

      21   Q    I think we've established that the Debtor will be

      22   terminating the employees, some employees as of February the

      23   28th.   Do you expect to hire those employees through Newco

      24   come March 1?

      25   A    Yeah.    So, to make an adjustment there, there are about




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       1   eight to ten employees that are investment professionals that

       2   we would need to hire directly at our Advisor.       Earlier on in

       3   the process, there was a question of whether we hire all

       4   employees directly, whether Newco hires them, whether Newco is

       5   owned by Jim or whether it's an independent business.         The

       6   current plan, which has been the last couple of months, is

       7   that Newco would be independent, they'd be run by an

       8   independent management team.      We would -- we would be --

       9   provide -- providing them or entering into a shared services

      10   agreement.

      11        And so our full understanding and expectation is that

      12   those employees for Newco will be hired or anticipated to be

      13   hired after they're terminated on the 28th.       All of that, I

      14   know, is in negotiations, but I believe that is what the

      15   Debtor is willing to do, and that those eight or ten employees

      16   will be hired by us once they're terminated.

      17   Q    So, approximately how many employees, through Newco or

      18   directly, do you expect to hire on or about March 1?

      19   A    I think there's approximately fifty or so.       I know that

      20   the Debtor is considering adding, I believe, somewhere around

      21   five to ten employees, or taking those.       I think we have -- we

      22   have not heard or been told.      We've been asked -- we've asked

      23   several times.    They haven't told us who those employees are.

      24   But I think we have a pretty good idea.

      25        But at this point, we think that the majority of the




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       1   people providing services to us in the back office and middle

       2   office, again, because they'll want -- I believe they'll want

       3   or are going to be handful of front-office people that help

       4   with private equity and winding down those assets.        But the

       5   bulk, if not all, of the back-office personnel will transfer

       6   over to Newco, with a handful of the investment professionals

       7   to us.

       8   Q    Do you have any concern or is there anything outstanding

       9   that would give you concern that that will not happen on or

      10   about March 1?

      11   A    I sure hope it does, but one thing that may cause me --

      12   maybe the only thing that may cause me concern is they have

      13   twice moved back or maybe three times moved back the

      14   termination dates.     Now clearly know that our plan is to

      15   involve Newco and all those employees to continue providing

      16   services.

      17        In the event that happens, we're prepared to continue.

      18   The items that we're covering in the interim period are the

      19   essential items.    There's a number of services that -- that

      20   Newco would provide that are not essential for the operations

      21   of our funds.    They include things like tax services for our

      22   advisor or the books and records of our advisor, like the HR

      23   recruiting services.     You know, those could wait, or we could

      24   contract them elsewhere.

      25        And so -- but I do hope -- and our -- we don't anticipate




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       1   any disruption here.     I know that they've said that Newco can

       2   hire whoever they want.     I think that that's going to be

       3   smooth and orderly.

       4   Q    Well, so let me ask, let me ask -- I'm down to two or

       5   three more questions, but let me ask a worst-case scenario

       6   question.    Come tomorrow or come Friday, you realize that you

       7   can't do OMS manually; for some reason, the Debtor doesn't

       8   release its employees; all of your planning turns out to have

       9   been inadequate, and essential functions are not able to get

      10   done:   Are there third-party providers that could immediately

      11   step in and provide basically every service that the Debtor is

      12   currently providing to the Advisors in such an event?

      13   A    There are.    I think the trading -- I think we have a good

      14   plan.   But to your point, your promise, if we couldn't pull it

      15   off or there were issues, you can outsource trading.          You can

      16   outsource that.    It's not a turn-on-the-switch, but we do have

      17   and have had discussions with service providers there.

      18        In the end, if Newco didn't work out, there are other

      19   service providers, which I know that people in our team and

      20   the Debtor have talked to, to provide outsourced accounting

      21   oversight.    There are -- there's multiple options.      We just

      22   have not --

      23   Q    So is it fair to say, is it fair to say that you have

      24   currently a Plan B to your Plan B?

      25   A    Yeah, well, there is, yes, but I feel very good about our




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       1   current Plan B that we've implemented, to the extent I don't

       2   think we're going to need that.      But if there is a lack of

       3   cooperation for some reason, we do have other options to

       4   outsource those services.

       5   Q    Okay.   My final question --

       6   A    Again, I don't anticipate -- I don't -- I don't -- I don't

       7   think that's going to be the case, but --

       8   Q    My final question, Mr. Norris.      This backup plan and now

       9   the operational plan that you have, was it in any way

      10   motivated, sped up, anything by the filing of this lawsuit?

      11   A    No.   I think one thing the finalization -- the filing of

      12   the lawsuit did was make us realize that the backup plan we

      13   had been working on was absolutely needed.       I felt very good

      14   about where we were at that point, and we were prepared to

      15   move forward.

      16        It did change that I, over the next six days, me and

      17   several other of the critical employees that have been working

      18   on the backup plan would be involved in preparing for this

      19   exact situation.    Instead of continuing those discussions, I'd

      20   rather be boots on the ground, dealing with my employees, the

      21   senior management team and everyone else.       Luckily, you know,

      22   after my deposition, before my deposition yesterday, I was

      23   involved in how is everything going.       We had checkpoints and

      24   touchpoints.    We had calls in the afternoon.

      25        Fortunately, there were no significant issues, but there




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       1   were a lot of minor issues.        There were things that needed to

       2   be approved or people had questions.          But that, I think, is

       3   the only thing that changed here.        It's -- we had to -- now we

       4   knew that, okay, they're going to pull the plug because of

       5   this.

       6        At that point, I was not expecting that really to happen

       7   at that point, that that would be the issue.

       8   Q    Well, Mr. Norris, --

       9   A    But luckily, we had planned for it.

      10   Q    Mr. Norris, if an allegation is made that it was the

      11   filing of this lawsuit that somehow spurred us into taking our

      12   responsibilities seriously, would you agree with any such

      13   allegation?

      14   A    No.   I would disagree.

      15   Q    Thank you.

      16                MR. RUKAVINA:    I'll pass the witness.

      17                THE COURT:   All right.   Mr. Morris?

      18                THE WITNESS:    I can't hear you.    I think you might be

      19   on mute, Mr. Morris.

      20        (Pause.)

      21                                CROSS-EXAMINATION

      22   BY MR. MORRIS:

      23   Q    Got it.    Can you hear me now?

      24   A    I can, yes.

      25   Q    Okay.    Super.   I have a few questions, sir.




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       1   A    Yes.

       2   Q    You spent a fair amount of time testifying about how

       3   poorly the Debtor was performing under the shared services

       4   agreements last October and November.      Do you remember that?

       5   A    I remember I testified.     I wouldn't say it was some time,

       6   but yes.

       7   Q    You specifically mentioned the October and the November

       8   time frame, right?

       9   A    Correct.   I believe so.

      10   Q    And you said that during that October and November time

      11   frame, there were lots of conflicts of interest that were

      12   arising; is that right?

      13   A    I don't remember my specific wording, but if it's part of

      14   the record, then yes.

      15   Q    Uh-huh.    And you said that the Advisors weren't getting

      16   the same level of services that they thought they were

      17   entitled to; isn't that right?

      18   A    That's correct.

      19   Q    And you thought -- and the Advisors thought long and hard

      20   about terminating, about taking the initiative and terminating

      21   the shared services agreement, right?

      22   A    I don't know if I used the word "long and hard", but yes,

      23   we did consider and discuss the termination of the shared

      24   services agreements.

      25   Q    And the reason that you decided in October and November




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       1   not to do that is because you knew there was an order in place

       2   that prevented a Dondero-related entity from terminating an

       3   agreement.     Isn't that right?

       4   A      That's -- that's one of the reasons, yes.

       5   Q      That's the only reason you identified before; isn't that

       6   right?

       7   A      I believe so.

       8   Q      And that --

       9   A      That was a determining -- that was a make-or-break point,

      10   yes.

      11   Q      And it was a -- and that was false testimony; isn't that

      12   right?

      13   A      No.

      14   Q      Well, just a month later, in December, the Advisors sent a

      15   letter to the Debtor threatening to terminate the CLO

      16   management agreement; isn't that right?

      17                MR. RUKAVINA:    Your Honor, I'll object to that, it's

      18   not in the evidence, and I'll object on the basis of the best

      19   evidence rule.

      20                THE COURT:    Response?

      21                MR. MORRIS:     You can answer, sir.

      22                THE COURT:    Response?

      23                MR. RUKAVINA:    Your Honor, I didn't hear a response.

      24                MR. MORRIS:     The witness is the executive vice

      25   president of the Advisors.        The Advisors were the subject of a




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       1   preliminary injunction proceeding.        During that proceeding,

       2   against these very same Defendants, this letter was admitted

       3   into evidence where they -- where the Advisors did exactly

       4   what Mr. Norris said they would never do because they didn't

       5   think they had the authority to do that.        Mr. Norris is the

       6   best evidence right now, Your Honor.

       7                THE COURT:    Okay.   I overrule the objection.

       8                MR. MORRIS:    Your Honor, that's not --

       9                THE COURT:    I overrule the objection.    I remember the

      10   evidence from the December hearing.        So he can answer.

      11                THE WITNESS:    Yeah, so can you repeat the question,

      12   just so I make sure I answer appropriately?

      13   BY MR. MORRIS:

      14   Q    Sure.    In December, the funds and the Advisors for which

      15   you serve as the executive vice president, on, I think,

      16   December 23rd, sent a letter to the Debtor threatening to

      17   terminate, right?     Threatening to use what authority they

      18   thought they had to go in and terminate the CLO management

      19   agreements.     Isn't that right?

      20   A    I was not involved in the drafting of the letter, but my

      21   understanding is there was no threat.        It was -- and I believe

      22   the letter even said, subject to court approval or stay or

      23   process.     I would love for -- if there is a letter, if you

      24   want to bring it up, but I wasn't directly involved with the

      25   letter.




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       1   Q    And the Advisors didn't send a letter to the Debtor in

       2   October or November saying, We want to terminate the agreement

       3   subject to whatever you just said.       In fact, you concluded

       4   that you couldn't do it because of the injunction, right?

       5   A    Correct.

       6   Q    Yeah.    You've spent an awful lot of time talking about

       7   this operational plan that the Advisors have today.           It was a

       8   much more modest plan during your deposition yesterday; isn't

       9   that right?

      10   A    I wouldn't --

      11                MR. RUKAVINA:    Your Honor, I'll object --

      12                THE COURT:   I'm sorry?

      13                MR. RUKAVINA:    I object to that characterization.

      14                THE COURT:   You object to --

      15                MR. RUKAVINA:    Your Honor, I'll --

      16                THE COURT:   -- the charac...

      17                MR. RUKAVINA:    I'll withdraw that.    I'll withdraw

      18   that objection, Your Honor.

      19                THE COURT:   All right.   Go ahead.

      20                THE WITNESS:    No, I answered the questions in the

      21   manner that you asked them in the deposition.         I don't think

      22   that you asked for detailed descriptions.          In fact, I know you

      23   didn't.   And so there was a lot more than what I discussed in

      24   my deposition yesterday.

      25   BY MR. MORRIS:




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       1   Q    Okay.

       2   A    Nothing -- there's nothing that -- nothing that conflicts

       3   with what I said yesterday.

       4   Q    James Palmer was hired to provide accounting and audit

       5   services yesterday on a contract basis, correct?

       6   A    He was hired yesterday, yes.       And that was, yes, part of

       7   the additional oversight for our accounting function.         We're

       8   handling a lot of that internally, but Mr. Palmer was

       9   experienced with our platform and with our funds, and we

      10   thought it was prudent, in the -- if needed, to have somebody

      11   on call.     And our board actually requested it.    And so that's

      12   a -- you know, that is someone who we feel very comfortable

      13   with providing those services.

      14                MR. MORRIS:    I move to strike everything after "Yes,"

      15   Your Honor.

      16                THE COURT:    Sustained.

      17   BY MR. MORRIS:

      18   Q    Okay.    I'm going to ask you, sir.     This is cross-

      19   examination.     I'm going to ask you leading questions that are

      20   intended to elicit a yes or no answer.

      21   A    Got it.

      22   Q    Your counsel will have the opportunity to redirect if he

      23   think it's necessary.

      24        So, let me ask the question again.       Mr. Palmer was hired

      25   by the Advisors to provide audit and accounting services




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       1   yesterday.    Isn't that correct?

       2   A    No.

       3   Q    Yesterday was his first day on the job.      Isn't that right?

       4   A    He is a contract employee.     So we didn't hire him.

       5   Q    Okay.    You did testify yesterday that yesterday was the

       6   first day he was providing services that had been provided by

       7   the Debtor.     Is that fair?

       8   A    Yes.

       9   Q    Okay.    And Siepe is another entity that the Debtor had a

      10   -- that the Advisors had a prior relationship, right?

      11   A    Correct.

      12   Q    And you don't have an agreement with Newco today, do you?

      13   A    Not yet.

      14   Q    So, Newco is not providing any services today, right?

      15   A    No.

      16   Q    And you don't have office space today, right?

      17   A    Not yet.

      18   Q    Okay.    So, when the sun rose on Saturday morning, to use

      19   the same analogy, I guess, you'd been kicked out of the house

      20   and you had no place to go.     Is that fair?

      21   A    No.

      22   Q    Everybody's working remotely right now, right?

      23   A    Yes.

      24   Q    And the Advisors have no lease for any office space on a

      25   long-term basis, right?




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       1   A    No, but we've toured space and have a -- we are ready to

       2   sign a sublease as soon as we're ready.

       3   Q    Okay.   But you didn't have that as of Friday; is that

       4   fair?

       5   A    No.

       6   Q    Okay.   And you -- and you're doing trading now on --

       7   A    Actually, can I make a -- can I make a correction?        I --

       8   you said you didn't have that.      I said we had done a tour, and

       9   I had done a tour before Friday, and that we had a lot lined

      10   up, and I had them asking us, Are you ready to execute, will

      11   you be here Monday?

      12        So, that was there.    Again, realizing we were going to be,

      13   hopefully, the plan was to reach a full agreement with you,

      14   but having that backup plan in place, not to sign a lease and

      15   spend the money unless we knew we weren't going to be able to

      16   be in the office space.     So that's why.

      17   Q    All right.   So let me ask the question again.      As of

      18   Friday, the Advisors had no place to go at the end of the

      19   extended shared services period, correct?

      20   A    I disagree with that.

      21   Q    Okay.   They don't have an -- does the Advisors have an

      22   address today?

      23   A    We have an address, yes.

      24   Q    Yeah?   Where is the address?

      25   A    So, we -- we have been -- we have a -- so we have a -- our




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       1   NexPoint Securities has an office on McKinney Avenue in

       2   Dallas, which is where we -- we have an ability to send our

       3   mail to and to have an office, which is where we intend to

       4   actually be subleasing.

       5   Q    Okay.   But you don't have a sublease today, and that

       6   address isn't the address of the Advisors, right?

       7   A    It is all but in place, waiting to not spend the

       8   significant expenditure in the event that we could, which our

       9   plan was to hope to reach an agreement.

      10   Q    Okay.   And you're doing trades manually?      Do I have that

      11   right?

      12   A    It is -- we call it a manual process, but it involves like

      13   -- there's a certain -- it doesn't involve the OMS system.

      14   That's right.

      15   Q    And when your operational plan is fully in place, would

      16   you expect it to have an OMS system?

      17   A    Yes.

      18   Q    But your operational plan today doesn't have one of the

      19   pieces that you expect it to have in the future; is that

      20   right?

      21   A    It has -- it has a usable option, but no.       We're close to

      22   entering into an OMS, and that's not the long term.           Yeah.    We

      23   aren't going to be doing a manual -- our manual process

      24   forever.

      25   Q    Yeah.   But you're very, very, very happy with your




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       1   operational plan, right?     You're very proud of it?

       2   A    Given the constraints we were working under, I feel it's

       3   -- it is a plan that works.     Would I think that the

       4   alternative with what we were negotiating would be better?

       5   Probably.    Would it be better to have access to our systems,

       6   to our computers, without having to turn them back into you?

       7   Yes, absolutely.

       8        So I don't remember the word you just used, but I think

       9   very happy or very pleased, I wouldn't say that.        I would say

      10   it is functional, it helps us do our duty and our job, and

      11   we're going to get back to that ideal.       And the reason I

      12   negotiated all the way through the week and all the way

      13   through the weeks and all the way through the weekend is

      14   because there was a better alternative, which was a negotiated

      15   settlement.

      16   Q    All right.    We'll talk about that in a moment.     But

      17   notwithstanding the fact that there may have been a better

      18   alternative, as of today the Advisors have adopted and

      19   implemented an operating plan for the provision of all of the

      20   same back-office and middle-office services that the Debtor

      21   previously provided, correct?

      22   A    To cover -- and I would say they do, yes.

      23   Q    Okay.

      24   A    Yes.

      25   Q    And as of today, the Advisors are fully able to perform




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       1   under their shared -- under their advisory agreements with the

       2   funds; is that correct?

       3   A    Yes.

       4   Q    There is nothing the Debtor has done that has prevented

       5   the Advisors from fully performing under their advisory

       6   committee -- advisory agreements with the funds, correct?

       7   A    It took great effort over the last several months, but no,

       8   not that I'm aware of.

       9   Q    Okay.   Other than access to the data, there are no

      10   services that the Advisors need from the Debtor.       Is that

      11   correct?

      12   A    No, but the peaceful transition of the data is important,

      13   right?   We have, as you mentioned, we have most of the data we

      14   need, but the peaceful transition of the data and the files in

      15   the systems -- not the systems, but the data backups of the

      16   systems -- will be critical, yes.

      17   Q    Okay.   But other than data, there are no services that the

      18   Debtor needs to provide to the Advisors as of today, correct?

      19   A    Not that I know of.

      20   Q    And having been as involved in the process as you've been,

      21   you would know if there was a service that the Debtor had to

      22   provide to the Advisors today; isn't that right?

      23   A    Yes.

      24   Q    Okay.   And you don't know of any service that the Debtor

      25   needs to provide to the Advisors as of today, right?




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       1   A    I don't.     We mentioned data.   I think one of those --

       2   well, I'll leave it as yes.

       3   Q    Okay.

       4   A    Yeah.

       5   Q    Did you have this plan in place, this operational plan,

       6   was that -- were all of the pieces in place last Tuesday

       7   night?     No.   Withdrawn.

       8        Were all of those pieces in place as of January 31st,

       9   2021?

      10   A    No.

      11   Q    So is it fair to say that the Debtor didn't -- that the

      12   Advisors did not have an operational plan that would permit

      13   them to obtain all of the same services that the Debtor had

      14   been providing under the shared services agreement as of

      15   October -- as of January 31st?

      16   A    No.

      17   Q    They did have a plan in place at that time to get those

      18   services?    Is that what you're saying?

      19   A    Yes.    There was a plan, a Plan B.    It wasn't nearly what

      20   Plan B is today because we've -- we've had multiple additional

      21   weeks to ensure that everything's in place, but we had Plan B.

      22   But at the time -- maybe I'll leave it there.       But at the

      23   time, there was good faith negotiations up to that point,

      24   where Plan A looked like it was going to happen.       And so that

      25   was the full expectation with a backup plan which was not as




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       1   intricate.

       2   Q    Did the Advisors ever inform the Debtor at any time during

       3   the negotiations that they had an operational plan pursuant to

       4   which it could obtain the same middle- and back-office

       5   services that the Debtor had been providing?

       6   A    If you include your Debtor employees, then yes.

       7   Q    Did you ever use it as a point of negotiation?       Did you

       8   ever try to tell the Debtor, you know, if you guys don't agree

       9   to our terms, we're going to walk away, because we've got this

      10   fully-operational plan to get the same services that you guys

      11   are providing?      You're not the only game in town?

      12   A    I never used that kind of exact approach, no.

      13   Q    Did you use any approach where you relied on the

      14   operational plan as leverage to try to drive a better deal

      15   with the Debtor?

      16   A    No.    I don't think so.

      17   Q    No?    Okay.   And fast-forward to that Tuesday night when

      18   the Debtor said take the plan without Mr. Dondero or we're

      19   going to sue you.      You remember that, right?

      20   A    Yes.

      21   Q    And every aspect of the agreement was in place except for

      22   Mr. Dondero, right?

      23   A    Except for his access to the office, --

      24   Q    And the --

      25   A    -- yes.




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       1   Q     And the Debtor had told you time and time again, every

       2   time it appeared in a document, they removed it, and they told

       3   you every single time no access for Mr. Dondero, right?

       4   A     No.

       5   Q     Did you have any reason to believe that that was ever

       6   going to change?

       7   A     I did.   And I said no to your last question, right?      I

       8   didn't say yes.    I said no to your last question, that --

       9   Q     And did the Advisors make a decision to reject the

      10   Debtor's offer for the sole reason that Mr. Dondero wouldn't

      11   be permitted access?

      12   A     That was the last point.    As mentioned, every other point

      13   was agreed to.

      14   Q     And why didn't the -- why didn't the Advisors -- did the

      15   Advisors -- withdrawn.

      16         Did the Advisors say to the Debtor, we get it, you're not

      17   going to let Mr. Dondero in, but that's a line in the sand for

      18   us?   But please, there's no need for a lawsuit.      We've got a

      19   wonderful operating plan ready to go.      You're asking the Court

      20   to force us to adopt and implement the plan, we have one right

      21   here, so let's not litigate.     Let's just walk away and let

      22   bygones be bygones.     Did you ever offer to get rid of the

      23   lawsuit by showing the Debtor your plan?

      24   A     We would have loved to have gotten rid of the lawsuit, but

      25   I didn't see it until it was filed.      When the ultimatum was




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       1   given, we had rolling blackouts.       My home didn't have

       2   electricity rolling from 2:00 a.m. on Monday until Thursday.

       3   And so by the time there was -- and everybody else, inclusive

       4   of our attorney, Mr. Rukavina.       And so to say that I -- I

       5   received it Thursday or Wednesday morning, when one of your

       6   employees forwarded it to us.        I hadn't seen drafts.    Maybe

       7   our counsel had.      But we didn't even have a chance to say, oh,

       8   let us -- let us pull this because we read what your report

       9   was.    The Advisors didn't even have a chance to respond.        At

      10   least that is my understanding.       I never had a chance to

      11   respond.    I never saw it.   Maybe counsel did.

      12   Q      Well, you saw the lawsuit eventually, didn't you?

      13   A      I did.

      14   Q      Did you ever -- did the Advisors -- after you saw the

      15   lawsuit, did the Advisors ever call up the Debtor and say,

      16   hey, look, let's not litigate?       We have exactly what you want.

      17   We've got this fully-operational plan that provides us with

      18   everything we need.     You don't need to do anything further.

      19   Did you ever say that to the Debtor?

      20   A      No, because the back -- the -- we still wanted to reach an

      21   agreement.      That was the goal.   And it was a surprise for us

      22   to have a shock, we're going to pull this or we're going to

      23   sue you on Tuesday evening.     And so, no, we still -- I -- and

      24   that's why I negotiated and continued to work all the way

      25   through the end of the week and through the weekend on




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       1   something, because I still felt like that was the better plan

       2   for everybody.

       3        I don't know why we had to be sued, I don't know why it

       4   had to be urgent, because at that point we had been working

       5   for weeks and months.     And the weeks -- really good.       And the

       6   only difference was Jim Dondero's access.      And it was Tuesday.

       7   And they didn't even ask us, you know.

       8        Anyway, so that was -- I just -- I just disagree with your

       9   characterization of the process.

      10              MR. MORRIS:    I move to strike, Your Honor.       It really

      11   is a very simple question.

      12              THE COURT:    Sustained.

      13   BY MR. MORRIS:

      14   Q    Did the Advisors, after the commencement of the lawsuit,

      15   did the Advisors ever tell the Debtor that there was no need

      16   for litigation because the Advisors had a fully-operational

      17   plan that they had adopted and were prepared to implement,

      18   which is exactly what the Debtor was seeking from the Court?

      19   A    I don't know.

      20   Q    You're not aware of that, right?

      21   A    I'm not.

      22   Q    You don't -- you never thought that maybe we could avoid

      23   this whole thing by just sharing with the Debtor this

      24   operational plan that you've described in great detail, right?

      25   A    Well, on Friday, I know you put in, in a response to our




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       1   board and Advisors, that you were made aware that we had a

       2   plan that felt good, yet there was no consideration or

       3   discussion on removing the lawsuit.

       4        So, I'll leave that to what counsel happened, but I would

       5   have loved to not be involved.         I'm not a legal expert.      There

       6   were many attorneys involved.         I wish that if that were an

       7   option, it would have been raised.         But here we are today.

       8   Q    Sir, not only did the Advisors not tell the Debtor that

       9   they had an operational plan that could avoid the lawsuit,

      10   instead, the Advisors made proposals on Friday, one of which

      11   did not even include having access to the office by Mr.

      12   Dondero.     Isn't that right?

      13                MR. RUKAVINA:    Your Honor, I object to that question

      14   as it mischaracterizes the evidence.          The question began with

      15   that the Advisors never told the Debtor that they had a backup

      16   plan.   I think the witness --

      17                MR. MORRIS:    Your Honor, --

      18                THE COURT:    Okay.    Sustained.    Rephrase.

      19                MR. MORRIS:    Yeah.   No problem.

      20   BY MR. MORRIS:

      21   Q    So, so to the best of your knowledge, the Advisors never

      22   told the Debtor that they thought litigation could be avoided

      23   because they had an operational plan.            Is that right?

      24   A    That's my -- that -- yeah, that's right.

      25   Q    Okay.    And instead, on Friday, the Advisors continued to




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       1   try to pursue an agreement with the Debtor.       Is that right?

       2   A    I don't know about the "instead."      But, yes, we tried to

       3   continue reaching an agreement.

       4   Q    And are you familiar with the offer that was made by the

       5   Advisors to the Debtor on Friday morning?

       6   A    I am.

       7   Q    Did you authorize the sending of that offer to the Debtor?

       8   A    The request, yes.     Me and D.C. Sauter were involved with

       9   counsel, so we -- we did -- we did.

      10                MR. MORRIS:   All right.   Can we please put up on the

      11   screen Exhibit 19?     Can we start at the bottom, please?

      12   BY MR. MORRIS:

      13   Q    So, are these the Options A and B that were presented to

      14   the Debtor on Friday morning?

      15   A    Based on the email, yes.

      16   Q    Okay.    And Option B contemplated that the Advisors would

      17   completely vacate the space by the end of the month, right?

      18   A    Correct.

      19   Q    And that's an option that you and Mr. Sauter authorized

      20   the lawyers to send to the Debtor, correct?

      21   A    Yes.

      22   Q    Okay.    And you had that authority from Mr. Dondero, right?

      23   Mr. Dondero gave you the authority to negotiate; is that

      24   correct?

      25   A    He gave me the authority to negotiate in those final




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       1   couple of days.     There were certain things he gave me

       2   authority to negotiate on.       And specifically -- and to things

       3   that shouldn't be included on this point, we discussed this

       4   beforehand as well.       But we had authority to negotiate.

       5   Q    And you had authority to make this proposal, right?

       6   Option B?

       7   A    Ultimately, no.

       8   Q    At the time you made it, you thought you had it, right?

       9   A    Yes.

      10   Q    You weren't acting outside of what you knew to be your

      11   scope of authority, were you?

      12   A    No.

      13   Q    Okay.    Did you discuss with Mr. Sauter these two options

      14   before they were delivered by your lawyers to the Debtor?

      15   A    Yes.

      16                MR. RUKAVINA:    Your Honor?     Your Honor?   Hold on.

      17        Your Honor, Mr. Sauter is an attorney.         He's in-house

      18   counsel.     So I think that to the extent that they're

      19   discussing business, that's not privileged.          To the extent

      20   they're discussing legal strategy, that is privileged.           So I

      21   would instruct the witness to be conscious of that --

      22                THE COURT:   All right.

      23                MR. RUKAVINA:    -- and to not disclose attorney-client

      24   privileged communications.

      25                THE COURT:   All right.




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       1   BY MR. MORRIS:

       2   Q    Sir, did you discuss these two proposals with Mr. Sauter

       3   before it was delivered by your lawyers to the Debtor?

       4   A    Yes.

       5   Q    And did Mr. Sauter also agree with the substance of these

       6   two offers that were being presented to the Debtor?

       7               MR. RUKAVINA:    Mr. Norris, can you answer that

       8   question without invading the attorney-client privilege?

       9               MR. MORRIS:    I'm just asking about the offers.     I'm

      10   not asking about any legal advice or anything.       I just want to

      11   be that clear.

      12               MR. RUKAVINA:    That's why I'm asking Mr. Norris.     If

      13   they discussed business, I don't think we have a problem.         But

      14   if they discussed legal strategy, I think it's a problem.         So

      15   I think the witness just has to tell us whether --

      16               THE WITNESS:    There --

      17               MR. RUKAVINA:    -- they discussed business or legal.

      18               THE WITNESS:    There -- there was a -- there was some

      19   legal -- legal strategy as well, yeah.

      20               MR. RUKAVINA:    Your Honor, I would -- I would ask

      21   that that -- I would object to that question on that basis,

      22   that it calls for the invasion of the attorney-client

      23   privilege.

      24               THE COURT:    All right.   I sustain.

      25               MR. MORRIS:    I'll try -- I'll try and ask the




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       1   question again, then.

       2   BY MR. MORRIS:

       3   Q      Mr. Norris, did Mr. Sauter agree and authorize the sending

       4   of these two proposals by the Advisors' lawyers to the Debtor

       5   on Friday morning?

       6   A      We both agreed with that approach.

       7   Q      Okay.    And you both -- is it fair to say that you both

       8   believed that you were acting within the scope of authority

       9   that Mr. Dondero had given you?

      10   A      We thought so, and -- well, I'm sure your questions will

      11   lead me to the -- to the ultimate of what happened here, but

      12   yes.

      13   Q      Yeah.    And this proposal didn't permit Mr. Dondero back

      14   into the Highland office space; is that right?

      15   A      It didn't prevent him?        Is that what you said?

      16   Q      Didn't permit him.     Didn't allow him.

      17   A      Option A just above did and Option B did not.

      18   Q      Okay.    So, you and Mr. Sauter, as the Advisors' designated

      19   negotiators, authorized the Advisors' lawyer to present as

      20   Option B an option that did not permit Mr. Dondero access to

      21   the Debtor's offices, right?

      22   A      Yes, but gave us full access to everything else.

      23   Q      Okay.    It was really --

      24          (Pause.)

      25                  THE COURT:   Uh-oh.




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       1   BY MR. MORRIS:

       2   Q    How does Option B -- how does Option B, if you know, --

       3   A    Sorry, you froze.        You froze there for a minute, I think.

       4                THE COURT:    Yes.    I think you did.

       5                MR. MORRIS:    No, I think I just paused.

       6                THE WITNESS:     Oh, you were just thinking?     Oh, that

       7   was really talented.        Wow.

       8   BY MR. MORRIS:

       9   Q    No, it's -- it's not that good.         Do you know how Option B

      10   differs from the term sheet that the Debtor provided on

      11   Tuesday night?

      12   A    It would not include the access -- it wouldn't include

      13   access to the office for anybody.         The, as it says there, the

      14   Debtor would take a hundred percent of the lease.

      15   Q    Okay.    So, it was going to be complete walkaway?        The

      16   Advisors were going to completely walk away at the end of the

      17   month, right?

      18   A    Correct.

      19   Q    And that was -- that was an offer that you believed you

      20   were authorized to make to the Debtor, right?

      21   A    Yes.

      22   Q    Okay.

      23                MR. MORRIS:    Can we go two emails up to Mr.

      24   Hogewood's?     Oh.   Yeah.    The one at 12:04.      Yeah.

      25   BY MR. MORRIS:




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       1   Q    Were you aware that there came a time early in the

       2   afternoon that the Debtor was informed that there may need to

       3   be an edit to Option B, so they pulled that back for a bit?

       4   A    I wasn't aware, no.

       5   Q    No?    All right.     Do you have any knowledge as to what edit

       6   Mr. Hogewood was referring to in his email there?

       7   A    I don't.

       8   Q    Okay.    Were you aware -- did you get a copy of Mr.

       9   Hogewood's email?     Was it forwarded to you?     Do you know --

      10   withdrawn.     Let me ask a better question.

      11        Do you know if Mr. Hogewood delivered -- withdrawn.

      12        Did you know on Friday morning that Mr. Hogewood had

      13   delivered the two options, the two proposals, that you and Mr.

      14   Sauter had authorized?

      15   A    Yes.

      16   Q    Okay.

      17                MR. MORRIS:    Can we go up an email or two, please?

      18   BY MR. MORRIS:

      19   Q    And then Mr. Hogewood wrote back and he said that he was

      20   authorized to put Option B back on the table, as stated above.

      21   Do you see that?

      22   A    I do.

      23   Q    Do you know who authorized Mr. Hogewood to put Option B

      24   back on the table?

      25   A    I don't remember.      I don't know.    I wasn't on the chain.




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       1   Q    Okay.   But it's fair to say at this point in time, midday

       2   on Friday, as far as you knew, your lawyer had communicated

       3   Option A and Option B to the Debtor, and they were authorized

       4   to do that, right?

       5   A    Yes.

       6   Q    Okay.   And did you learn subsequently that there was a

       7   phone call between the lawyers for the Advisors and the lawyer

       8   for the Debtor during which the Debtor indicated that it was

       9   prepared to accept Option B?

      10   A    I don't know, no, I don't know about that.

      11   Q    You were never told that?

      12   A    No.    Not that there was a phone call.

      13   Q    Uh-huh.    Did you learn at any point on Friday that the

      14   Debtor had accepted Option B, the Option B that you and Mr.

      15   Sauter had authorized the Advisors' lawyers to make?

      16   A    Yes.

      17   Q    Okay.   So, there did come a time when you knew that the

      18   Debtor had accepted Option B, right?

      19   A    Yes.

      20   Q    And are you aware that, after accepting Option B, the

      21   lawyers discussed turning the agreement into a settlement

      22   order to resolve the litigation?

      23   A    No.    I wasn't aware of that.

      24   Q    Are you aware that the lawyers were discussing plans for

      25   the transfer of -- by wire of cash that would be due under the




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       1   agreement?

       2   A    I was not.

       3   Q    Okay.   After the Debtor accepted Option B, the Advisors

       4   withdrew it, correct?

       5   A    I don't know if we with... we did withdraw it, yes.

       6   Q    And after it was presented, Mr. Dondero said that he

       7   hadn't personally approved it, correct?

       8   A    In the terms of which -- the actual offer, yes, that's

       9   correct.

      10   Q    So, Mr. Dondero, having given you and Mr. Sauter the

      11   authority to negotiate, learned that the Debtor had agreed to

      12   your proposal pursuant to which he wouldn't be allowed access

      13   to office space and he made the decision to withdraw the

      14   offer, correct?

      15   A    I wouldn't agree with exactly the phrasing, no.

      16   Q    Sir, Mr. Dondero is the person who decided that he had not

      17   approved of Option B, and that's why it was retracted,

      18   correct?

      19   A    That's right.

      20   Q    So, on Tuesday night, the Advisors had a fully-negotiated

      21   agreement for the provision -- for the transition of all of

      22   the back-office and middle-office services, but for access to

      23   Mr. Dondero, correct?

      24   A    Correct.

      25   Q    And the only reason that didn't get signed is because of




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       1   that issue, right?

       2   A    That's my understanding, yes.

       3   Q    And the Debtor continued to negotiate with the Advisors,

       4   even after filing the lawsuit, correct?

       5   A    Yes.

       6   Q    The Debtor was never told that the Advisors had a fully-

       7   operational plan pursuant to which it had an alternative to

       8   obtain the same services, correct?

       9   A    That's incorrect.

      10   Q    After negotiations broke down, is that the moment that a

      11   reference was made to alternative plans?

      12   A    No.

      13   Q    Sir, on Friday, you personally reached an agreement with

      14   the Debtor on Plan B, right?       You authorized the making of an

      15   offer that the Debtor accepted, correct?

      16               MR. RUKAVINA:    Your Honor, I'm going to object at

      17   this time based on a legal conclusion.       The witness is not a

      18   lawyer and he's not qualified to opine on whether an

      19   agreement, which to me suggests is something binding and

      20   enforceable, was ever reached.

      21               THE COURT:    Response?

      22               MR. MORRIS:    Your Honor, I'm not looking to enforce

      23   any agreement, so let me try and restate and --

      24               THE COURT:    All right.   Sustained.

      25               MR. MORRIS:     -- address Mr. Rukavina's --




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       1               THE COURT:    He'll rephrase.

       2               MR. MORRIS:    Yeah.

       3   BY MR. MORRIS:

       4   Q    Even as late as Friday, after starting the lawsuit, you

       5   had made an offer.       You had authorized the making of an offer

       6   that the Debtor had agreed to again, correct?

       7   A    I had auth... I had said we should -- yes, I had

       8   authorized the offer and then your fax saying on the

       9   acceptance.     I wasn't involved in the back-and-forth

      10   communication among the attorneys.

      11   Q    But you knew it was accepted, subject, let's say, subject

      12   to the execution of definitive documentation.       How's that?

      13   A    I was told that they were willing to take the offer.         And

      14   so, yes.    And --

      15   Q    And sometime later that day, it got pulled because of Mr.

      16   Dondero, correct?

      17   A    Correct.

      18   Q    And even on Saturday, the Advisors made proposals on an a

      19   la carte basis for the provision of services, correct?

      20   A    Yes.   And we have made very similar a la carte provisions

      21   on Thursday and Wednesday, which were also rejected by the

      22   Debtor.

      23   Q    And -- okay.    So it wouldn't have been the full kind of

      24   deal that was contemplated in the term sheet; it would have

      25   been a selection of very specific services.       Do I have that




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       1   right?

       2   A    That's right.    On Wednesday, it was Oracle and Bloomberg,

       3   which was authorized by Mr. Dondero.       We were to offering to

       4   continue with our offer to take over the lease and all the

       5   other terms, or a slim-down, which would include no disputed

       6   amounts or payments, which at that time I think we called Plan

       7   B or Option B.    And that was -- I believe that was Thursday.

       8   Or Wednesday night.     So, yes, those continued.    And then we

       9   had a similar, very similar proposal again on Sunday, with the

      10   same -- very similar services to what we asked for on

      11   Wednesday night or Thursday.     And those were rejected both

      12   times.

      13   Q    And is it fair to say that the services that the Debtor

      14   was seeking -- withdrawn.

      15        Is it fair to say that the services of the Advisors were

      16   seeking from the Debtor on Thursday, Friday, and Saturday were

      17   services that the Advisors had not yet engaged anybody else to

      18   provide?

      19   A    The two -- we already talked about Bloomberg and where our

      20   status is there.     And on Oracle, it would be a nice to have

      21   instead of transitioning, and that is more for the Advisors'

      22   books and records and would be nice to have.

      23   Q    So, --

      24   A    Yes.

      25   Q    Okay.    You have a Plan B for the new operational plan.




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       1   Did I hear that part right?

       2   A    As I mentioned -- oh, I said our operating plan was a

       3   hypothetical from -- from Mr. Rukavina, that in these other

       4   events fall through, are there other people that you could

       5   hire to do these services?     And I said yes.

       6   Q    Okay.   So if any part of the operational plan fails, the

       7   Advisors would look to third parties to provide, you know,

       8   whatever service they wouldn't obtain and they wouldn't look

       9   to the Debtor to provide any services, correct?

      10   A    That's correct.

      11   Q    Is it fair to say that, other than access to the data, the

      12   Advisors will never seek any services of any kind from the

      13   Debtor going forward?

      14   A    As we sit here today, I believe your employees are set to

      15   have three more operating business days and then will be

      16   terminated, those -- the employees that services our accounts.

      17   So, with the expectation that Newco will be formed, I have no

      18   expectation we'll be asking for any significant services,

      19   other than data, transfer of emails, et cetera.

      20   Q    Well, that's a pretty qualified answer.      What do you mean

      21   by no significant services?

      22   A    Most of them -- well, the data, emails, et cetera, are all

      23   minor items, and I think they're -- you say data, but I think

      24   there's -- there's a handful of things that probably fall

      25   under that data and books and records that are what I'm




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       1   talking about, yes.

       2   Q    You know, one of the things that the Debtor is very

       3   concerned about here is having no future obligation.          The

       4   Debtor -- do you understand that the Debtor believes that it

       5   has terminated the shared services agreements as of Friday?

       6   A    I do, yes.

       7   Q    Do you understand that, other than the data that it holds,

       8   the Debtor wants the comfort of knowing that it has no future

       9   obligations to the Advisors of any kind, other than to provide

      10   access to the data?

      11   A    Yeah, that's fair.    Yes, I understand that.

      12   Q    As the executive vice president of the Defendants, as the

      13   executive vice president of the Advisors, can you, under oath,

      14   give the Debtor comfort that the Advisors will not look to the

      15   Debtor for any services of any kind after today?       Other than

      16   the access to the data?

      17   A    Data and books and records, yes.

      18   Q    Okay.   So access to data and books and records is the only

      19   thing that the Advisors will look to the Debtor for at any

      20   time in the future after today; is that fair?

      21   A    I would say it's not fair, because to say there's not

      22   other significant -- insignificant or minor items -- as Mr.

      23   Dondero testified, there's usually a smooth transition.             I

      24   don't anticipate there will be significant items that would

      25   take a lot of your time or we need to invade you, but I would




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       1   hope there would be a fair and orderly transition.        And I

       2   can't predict the minor items, but I don't think -- I can't

       3   envision anything significant.

       4   Q     Do you believe, as the executive vice president of the

       5   Advisors, that the Debtor has an obligation to perform any

       6   services for the Advisors after today, other than giving

       7   access to the data and the books and records?

       8   A     No.

       9   Q     What happens if Newco isn't formed?     Is there any scenario

      10   that you're aware of where the Advisors would look to the

      11   Debtor for any services in the event that Newco is not formed?

      12   A     No.   Not that I'm aware of.   I don't know.    I don't think

      13   so.

      14   Q     I think you mentioned earlier about the transfer of data.

      15   What does the Debtor need to do, from your perspective, in

      16   order to transfer the data and the books and records?

      17   A     We need the Debtor to authorize its IT director to

      18   transfer the data.    We stand by ready.    I sent an email to

      19   your IT team asking for him to get the required approvals on

      20   Friday morning, and our -- CFA, the outsource team, stands by

      21   ready, at our cost, to transfer any remaining data.

      22         So we just need you and Mr. Seery and -- to authorize the

      23   free transfer of data.     Not necessarily you, but Mr. Seery,

      24   and then your IT team and your employees can feel comfort.

      25   Because over the last few weeks they have not provided any




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       1   data or any assistance providing data because they're

       2   concerned.     They're concerned about their liability, they're

       3   concerned about things that the Debtor has told them.          And so

       4   I just -- if you and Mr. Seery can tell them any data that is

       5   -- I mean, yeah, we're prepared to send a request of what we

       6   need, but they need Mr. Seery, because he has been holding

       7   that over them.

       8   Q    And what data are you referring to specifically?

       9   A    Yeah.    We're talking about historical emails, emails that

      10   are held in what's called the vault.         It is files in our

      11   systems.     We've been able to copy, we think, most of what we

      12   have, but there is a number of records.         We would like a copy

      13   of the database that backs up home (phonetic).         We'd like a

      14   copy of the Bloomberg OMS, which I mentioned before.          The data

      15   that backs up our data.       Just a backup copy.

      16        And there's a number of other items which we'll request,

      17   but these are all very simple items that don't take very long.

      18   I would imagine, with proper approval, and almost no work from

      19   your end, maybe your one IT guy, these can be transferred in a

      20   very efficient, effective, quick manner, most of it this week

      21   or within a couple days.

      22   Q    Okay.

      23                MR. MORRIS:    I have no further questions, Your Honor.

      24                THE COURT:    All right.   Redirect?

      25                THE WITNESS:    Thank you, Mr. Morris.




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       1                MR. MORRIS:    Thank you.

       2                              REDIRECT EXAMINATION

       3   BY MR. RUKAVINA:

       4   Q    Mr. Norris, you mentioned that Debtor employees knew of

       5   our backup plan.     Give some more specificity, meaning how and

       6   why you think they knew that and who did you talk to about

       7   that and when.

       8   A.   Yeah.    So, the individuals authorized to discuss with me

       9   were David Klos, Frank Waterhouse, Brian Collins, and J.P.

      10   Two of those individuals are members of the -- well, one's

      11   still an officer, two or both were officers of our funds.          And

      12   so in our discussions as well throughout, I mentioned, hey,

      13   we're working on backup plans.       There were aspects of those

      14   they couldn't be involved in because they were negotiating for

      15   the other side.     But they were aware that we were working on

      16   things.

      17        In addition, Mr. Seery represented they knew we were

      18   taking data off or copying data off the system, leaving it all

      19   on their system, and that we were backing up emails and that

      20   we were working on a backup plan.

      21        So I don't think it was a surprise to anybody.       Their IT

      22   team knew and was very aware.       We purchased new domains.    We

      23   requested domains.     We even had requested if they would

      24   forward domains to ours, which I think the answer was no.          If

      25   they would forward emails.




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       1        And so I don't think there was any surprise that there was

       2   backup planning going on.      And so there were discussions.     It

       3   wasn't -- we didn't discuss the details.        We didn't discuss

       4   the details because we were entered into a negotiation with

       5   millions of dollars at stake, and if I show or we discuss all

       6   of our alternative plans, then there is less ability to

       7   negotiate.

       8   Q    Okay.

       9                MR. RUKAVINA:   Mr. Vasek, if you will please pull up

      10   that letter that I sent you.

      11   BY MR. RUKAVINA:

      12   Q    Okay.    If we have to scroll down, Mr. Norris, we can, but

      13   are you familiar with this letter from the Debtor's attorneys

      14   to the boards and us the evening of February 19th, Friday?

      15   A    I am.

      16   Q    Okay.    Is this the letter that you referenced when Mr.

      17   Morris was asking you about why we didn't just tell the Debtor

      18   that we had a backup plan and therefore we could dismiss this

      19   litigation?

      20   A    I believe so, yes.

      21   Q    Okay.

      22                THE COURT:   Is this an exhibit?

      23                MR. RUKAVINA:   No, Your Honor.    I'm about to move for

      24   its admission.     Your Honor, I'd ask that this be admitted as

      25   my Exhibit O.




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       1                 THE COURT:    All right.   Any objections?

       2                 MR. MORRIS:    Sorry.   No, Your Honor.

       3                 THE COURT:    All right.   It'll be admitted.

       4         (Advisors' Exhibit O is received into evidence.)

       5                 MR. RUKAVINA:    And Your Honor, we will --

       6                 THE COURT:    You'll have to supplement the docket with

       7   it.

       8                 MR. RUKAVINA:    Thank you.   We will.

       9                 THE COURT:    Okay.

      10                 MR. RUKAVINA:    Mr. Vasek, if you'll please scroll

      11   down to Page 3 of 4, the paragraph that begins, "During the

      12   course of this conversation."         Actually, the next paragraph

      13   that says, "We understand."

      14   BY MR. RUKAVINA:

      15   Q     Do you see that there, Mr. Norris?

      16   A     Yes.

      17   Q     Okay.

      18                 MR. RUKAVINA:    What is that there, Mr. Vasek?    I'm

      19   seeing a square.      Okay.

      20   BY MR. RUKAVINA:

      21   Q     So that paragraph begins, "We understand, based on this

      22   conversation, that HCMFA and NPA have made arrangements to

      23   obtain the resources they need to provide the services on a

      24   continuous and seamless basis to their clients, including the

      25   registered investment companies to which they serve as




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       1   investment advisor.        We plan to proceed with our request for a

       2   mandatory injunction at the February 23rd, '21 hearing."           And

       3   then it keeps going.

       4        Did I read that accurately?

       5                MR. MORRIS:    Can you please --

       6                THE WITNESS:    Yes.

       7                MR. MORRIS:     -- keep going, because I think it's

       8   important?

       9                MR. RUKAVINA:    Well, you get to ask him next.

      10   BY MR. RUKAVINA:

      11   Q    Did I read that accurately, Mr. Norris?

      12   A    Yes.

      13   Q    Okay.    So tell me, then --

      14                MR. RUKAVINA:    Well, strike that.   I'll move on.

      15        You can leave that up, Mr. Vasek, if Mr. Morris needs to

      16   use it.

      17   BY MR. RUKAVINA:

      18   Q    Now, do you recall you were asked about that Option A and

      19   Option B from last Friday, and Option B had been withdrawn?

      20   Do you recall that?

      21   A    Yes.

      22   Q    And do you recall that, under that Option B that was

      23   withdrawn, that the Debtor accepted that Mr. Dondero wouldn't

      24   be on the premises, right?

      25   A    Yes.




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       1   Q    Okay.    But would NexPoint have been on the -- on the

       2   premises?

       3   A    No.    No.

       4   Q    So, under both Option A and Option B, would Mr. Dondero

       5   have been with his employees?

       6   A    Yes.

       7   Q    Okay.

       8                MR. RUKAVINA:   I'll pass the witness.     Thank you.

       9                THE COURT:    Recross?

      10                MR. MORRIS:    Can we put that exhibit back up on the

      11   screen, please?

      12                              RECROSS-EXAMINATION

      13   BY MR. MORRIS:

      14   Q    First of all, sir, you have no idea what was discussed in

      15   the conversation that's referenced in the first sentence,

      16   correct?

      17   A    I don't.     I was not a part of it.

      18   Q    Okay.    Do you know if the Debtor in this instance was

      19   trying to hold the Advisors' feet to the fire?

      20   A    Again, I was not part of the conversation.

      21   Q    So you don't know the motivation for sending this letter;

      22   is that fair?

      23   A    I don't.

      24   Q    Can you read out loud the letter -- the --

      25                MR. MORRIS:    I can't see it, actually.   Can you just




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       1   push it down a little bit, because I've got the little box in

       2   the upper right corner?     No, the other way.    I'm sorry.     Yeah.

       3   Perfect.

       4   BY MR. MORRIS:

       5   Q    Do you see -- can you read out loud the sentence that

       6   begins, "We plan to proceed"?

       7   A    (reading)   "We plan to proceed with our request for a

       8   mandatory injunction at the February 23rd, 2021 hearing and

       9   hope that we can submit to the Bankruptcy Court a consensual

      10   order incorporating HCMFA's and NPA's acknowledgment of

      11   HCMLP's right to terminate services under the shared services

      12   agreement as provided for herein and their commitment to

      13   provide services to their clients on a go-forward basis."

      14   Q    So in fact, as of -- do you know when this -- do you know

      15   when on Friday this letter was sent?

      16   A    I don't know the time.

      17   Q    Okay.    It's -- it's -- based on what you just saw, the

      18   reference to the conversation, is it fair to say that this

      19   occurred after the Debtor was informed that the Advisors were

      20   withdrawing Option B?

      21   A    I believe so.

      22   Q    Right.    And here, in fact, the Debtor is asking the

      23   Advisors to join it in providing a consensual order that would

      24   resolve this motion, right?

      25   A    I don't know.    They're -- it said, "hope that we can




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       1   submit a consensual order incorporating HCMFA's and NPA's."

       2   This was sent to our counsel.       So it was hoping that counsel

       3   would agree to that, yes.

       4   Q    Well, counsel is not going to agree to anything without

       5   the client's authorization; --

       6   A    Correct.

       7   Q    -- is that fair?

       8   A    Correct.

       9   Q    And did the Advisors ever authorize their counsel to try

      10   to negotiate a consensual order?

      11                MR. RUKAVINA:    Your Honor, I object to that.     That's

      12   clearly attorney-client privilege.

      13                THE COURT:    Sustained.

      14                MR. MORRIS:    All right.   I'll ask a different

      15   question.

      16   BY MR. MORRIS:

      17   Q    Did the Advisors ever engage in negotiations with the

      18   Debtor over a consensual order, as was offered by the Debtor

      19   in this letter?

      20   A    I defer to legal counsel on that.

      21   Q    Okay.    You're not aware of any such negotiations, right?

      22   A    I know there were discussions, particularly around our

      23   plans over the weekend, where there were offers of something

      24   related to the lawsuit.       Removal or what -- I don't know the

      25   specific terms, but there were offers made, and I deferred to




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       1   counsel on that.

       2   Q    But we're here today because there is no consensual order

       3   pursuant to which the Advisors would present their plan to the

       4   Court and state specifically that the Debtor had no further

       5   obligation, correct?

       6               MR. RUKAVINA:    Your Honor, that's an irrelevant

       7   question.    And again, it's litigation strategy and attorney-

       8   client privilege.    And we're here today on a mandatory

       9   injunction.

      10               THE COURT:    Sustained.

      11               MR. RUKAVINA:    Not because --

      12               THE COURT:    Sustained.

      13               MR. MORRIS:    Withdrawn.    I have no further questions,

      14   Your Honor.

      15               THE COURT:    All right.    That concludes Mr. Norris's

      16   testimony.    Thank you.

      17               THE WITNESS:    Thank you, Your Honor.

      18               THE COURT:    All right.    What else do you have, Mr.

      19   Rukavina?    Your next witness?

      20               MR. RUKAVINA:    I have nothing further, Your Honor.

      21   The Defendants rest on this motion.

      22               THE COURT:    All right.    Mr. Morris, anything further

      23   from you?

      24               MR. MORRIS:    No, Your Honor.    I'm prepared to proceed

      25   to closing argument.




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       1              THE COURT:    All right.   I'll hear it.

       2               CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

       3              MR. MORRIS:    Okay.   Your Honor, thank you for taking

       4   the time to listen today.     We regret that we had to come down

       5   this path, but the Debtor felt that it had no choice at the

       6   time that it filed the action.

       7       We think the evidence conclusively establishes that the

       8   Debtor had the contractual right to terminate the shared

       9   services agreements.     It exercised that right.     It exercised

     10    that right after putting the world on notice that it wouldn't

     11    be providing shared services after a specified period of time.

     12        The Court is fully familiar with the Debtor's plan of

     13    reorganization, the asset monetization plan, the downsizing of

     14    employees that was expected.      And it was the Debtor who had

     15    concerns about the funds, the investors, the marketplace, and,

     16    frankly, the Debtor's ability to implement its own plan of

     17    reorganization, as Mr. Seery so fully testified to.

     18        You know, trying to do the right thing here, the Debtors

     19    extended the termination date by a couple of weeks.       They

     20    engaged in earnest negotiations.      I don't think there is any

     21    dispute at all that the parties actually reached an agreement

     22    on every single business term, every single business term,

     23    except Mr. Dondero's insistence for access to the Debtor's

     24    offices.

     25        I think the Court is familiar with the record in this




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       1   case.    There's already an injunction in place barring him from

       2   the Debtor's offices.     The reasons for that are also familiar

       3   to the Court.    I don't think the Debtor was at all

       4   unreasonable in taking the position that it did.

       5        They did what they could, but they came to a point where

       6   they couldn't continue to provide services consistent with the

       7   plan of reorganization that had been presented to the Court.

       8   And in order to avoid the substantial risk of being impeded

       9   from executing on its plan, in order to avoid the substantial

      10   risk that would have occurred had it simply exercised its

      11   right and walked away -- the risk of market disruption, the

      12   risk of potential involvement by the SEC -- it had no choice

      13   but to file this lawsuit.

      14        And honestly, Your Honor, for the life of me, I don't know

      15   why they didn't try to use this wonderful operating plan as

      16   negotiating leverage.     I've never heard of such a thing.      But

      17   that's their choice.     We're not here today because they failed

      18   to do that.     But had they done that, this lawsuit wouldn't

      19   exist.

      20        Had Mr. Dondero not injected himself on Wednesday and

      21   decided that his access was more important than the rest of

      22   it, we wouldn't be here today.

      23        Had the Advisors said, when we gave them the take-it-or-

      24   leave-it option on Wednesday, we're leaving it, thanks for the

      25   effort, we tried hard, this stuff means a whole lot to us, but




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       1   we have a great plan here, let's not litigate, there's no

       2   reason to do this, we wouldn't be here today.

       3        We wouldn't be here today had they not withdrawn Option B

       4   on Friday.

       5        I don't think -- again, this is summary judgment

       6   territory.   There's no dispute about the facts.      There's no

       7   dispute that, for the fourth time, the reason that we're here

       8   is because Mr. Dondero completely undermined the people who he

       9   had authorized to negotiate on behalf of the Advisors and the

      10   lawyers who did diligent work, who tried very hard to bring

      11   this to fruition, who were engaged in negotiations, as the

      12   record shows, not just getting to a deal but going further and

      13   preparing settlement documents, preparing wire transfers, only

      14   to have the rug pulled out from under them again.

      15        The Debtors had no knowledge of any plan whatsoever for

      16   the transition of services.     I think -- I have respect for Mr.

      17   Norris.   I think that he overstates things, but that's okay.

      18   Everybody's allowed to -- their perspective.       But clearly,

      19   there's a lot of pieces to that operating plan that aren't in

      20   place.    But here, at the end of the day, Your Honor, we don't

      21   care.

      22        What we want to do is complete the divorce, as Mr.

      23   Hogewood said.    And I've got a proposal now that, you know, I

      24   hope will be acceptable to both the Court and to Mr. Rukavina.

      25   And the proposal would be to allow us to submit to Your Honor




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       1   by the end of the day tomorrow a proposed form of order that

       2   will contain a limited number of factual findings and will

       3   render this motion moot.     And it would be moot because the

       4   Advisors have now put into evidence an operational plan that

       5   they have -- that they are committed to.       They have said on

       6   the record that they no longer need any services of any kind

       7   from the Debtor, except access to the data, and we would be

       8   good with that.    We would be prepared to just say this is moot

       9   because of the operational plan that Mr. Norris described in

      10   such great detail.

      11        I don't want to burden the Court with a lot more.        I think

      12   that that's a way to just resolve this to the satisfaction,

      13   really, of everybody.

      14        I'll just briefly say on the jurisdictional issue and the

      15   arbitration, because they are issues out there, it's

      16   inconceivable that the Court doesn't have jurisdiction here.

      17   This matter concerns the Debtor greatly.       You know, we're here

      18   precisely because we need the relief that we requested

      19   initially, and that -- and that, apparently, the -- that was

      20   the adoption and the implementation of a plan so that the

      21   Debtor knew it would have no further liability.       It was the

      22   Debtor's plan of reorganization that was at issue here, its

      23   ability to downsize in the way it told this Court and its

      24   creditors that it would do.

      25        So I don't think -- I don't think there's a question of




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       1   jurisdiction at all.

       2       And with respect to arbitration, you know, I'll note,

       3   firstly, of course, that the Advisors, they filed the claim

       4   against the Debtor.    They didn't move to lift the stay.      They

       5   haven't relied on the arbitration clause when -- when it's

       6   good for them.

       7       But more importantly, Your Honor, I don't think a motion

       8   of this type in particular is the subject of any arbitration

       9   provision.   It only applies to one of the agreements, as I

     10    understand it, in any event.     But it's the arbitration clause.

     11        This isn't about the interpretation of the agreement.         I

     12    don't think there's any dispute about the Debtor's right to

     13    terminate.   I don't think there's any dispute about any, you

     14    know, language in the agreement.     There's no interpretive

     15    provision of the agreement that we're talking about here.

     16    What we're -- all we're talking about is making sure that, you

     17    know, the Debtor wouldn't be taking on a potential liability.

     18    And I've gotten comfort from Mr. Norris that we're not,

     19    because, you know, Mr. Norris said that the Debtor -- that the

     20    Advisors can fully perform under the advisory services

     21    agreement, that there's nothing that the Debtor did to prevent

     22    the Advisors from fully performing under the Advisors'

     23    agreement, that they don't need any services from the Debtor

     24    going forward.   And I think that's -- that really is what I

     25    think appropriately does render this motion moot.




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       1         And what I would propose, again, just to be clear, is that

       2   we could give a proposed order to Your Honor tomorrow at the

       3   end of the day, give Mr. Rukavina until the end of the day

       4   Thursday to make whatever edits he believes are appropriate,

       5   and then Your Honor will do whatever Your Honor thinks is

       6   best, as always.

       7              THE COURT:    All right.   Well, while I like the

       8   concept, and I haven't heard from Mr. Rukavina yet, I'm really

       9   worried about false hope that you would prepare something, Mr.

      10   Rukavina would be fine, and I'd simply sign it without much

      11   time spent on it.

      12         Let me start with this.    You said the order, it would be

      13   something like an order resolving the motion.       It'll contain

      14   certain findings of fact, you said, such as the Advisors have

      15   an operating plan, the Advisors need no services from the

      16   Debtor going forward except access to data.       Okay.   Would I

      17   really get an order that has 14 additional findings, and if

      18   so, what would those be?

      19              MR. MORRIS:    I think we would just go through -- I

      20   don't think that there's really any dispute as to these facts.

      21   There would be no findings in there about, you know,

      22   withdrawal of Plan B or we gave them an ultimatum or any --

      23   there would be nothing like that, Your Honor.       It would simply

      24   be:   The parties were signatories to shared services

      25   agreements.   The Debtor exercised its right of termination.




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       1   The parties have agreed to extend the termination date twice.

       2   The Debtor -- the Advisors have prevented -- I'm doing this

       3   off the top of my head, of course -- but the Advisors have

       4   prevented -- has -- have prevented -- presented uncontroverted

       5   testimony that they have an operational plan pursuant to which

       6   they will obtain all of the back-office and middle-office

       7   services that were previously provided by the Debtor.         And in

       8   case there's any failure in their plan, they have got

       9   alternative arrangements with third parties and won't look to

      10   the Debtor in the future for any services of any kind other

      11   than the retrieval of their data.       I think that's about what

      12   it would say.

      13              THE COURT:    Okay.    My next question is this:   Are we

      14   going to have a fight in a few days about the retrieval of the

      15   data issue?    I mean, I just heard Mr. Norris say it was a no-

      16   big-deal exercise, that the Debtor just needed to make its IT

      17   director available and they would be standing ready to receive

      18   it, and he made it sound like a no-big-deal task.

      19              MR. MORRIS:    Yeah.   I guess my hope is that we would

      20   be able to iron out that last wrinkle, but I think the

      21   solution to that is to simply say, if the parties have a

      22   dispute on that narrow issue, they come back to the Court,

      23   that the Court has continuing jurisdiction to resolve any

      24   dispute over -- I think it was the provision that Mr. Rukavina

      25   had put up on the screen, I forget, I think it was with Mr.




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       1   Dondero, where the Debtor has some obligation with respect to

       2   books and records.

       3              THE COURT:    Well, and Mr. Seery said earlier today

       4   that the Advisors can have access to the records and data, but

       5   not 24 hours a day and not without a cost.       So is that going

       6   to be an issue, the cost?

       7              MR. MORRIS:    You know what, I have just I guess one

       8   other alternative that I'm just thinking off the top of my

       9   head.   Maybe put in some type of third-party neutral who can,

      10   you know, to the extent that it's even necessary, and I hope

      11   that it won't be because I think we've gotten a lot of

      12   assurances about the lack of services that are needed going

      13   forward, but perhaps we can -- perhaps the Court can appoint

      14   some third party who would take the burden off of the Court of

      15   any future dispute and try to resolve it that way, you know,

      16   with the parties splitting the cost.      That's an alternative.

      17              THE COURT:    All right.   Mr. Rukavina, what do you

      18   say?

      19              MR. RUKAVINA:    Your Honor, I'd like to give a

      20   closing, please.

      21              THE COURT:    Yes.

      22               CLOSING ARGUMENT ON BEHALF OF THE ADVISORS

      23              MR. RUKAVINA:    And please understand, Your Honor,

      24   this is going to be a difficult closing for me to give because

      25   I'm going to be rather blunt.      My bluntness should never,




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       1   never substitute my deep respect for this Court and for

       2   bankruptcy courts and for bankruptcy jurisdiction.        I'm a

       3   bankruptcy nerd.    Hopefully Your Honor knows that.      And my

       4   closing is also going to be made a little bit more difficult

       5   because I honestly don't understand why we're here today.

       6        We are here in a lawsuit, not a negotiation before the

       7   Court.   Mr. Morris and I had days to negotiate, we spoke, and

       8   we didn't reach an agreement.      We are here on a six-day notice

       9   mandatory injunction where now the Debtor wants to have some

      10   order with some findings.     We are here today on a motion for a

      11   mandatory injunction that compels my client to do something

      12   where we're not told what it is to do.

      13        We are not here today, Your Honor, on Count One, their

      14   declaratory relief that they've terminated appropriately and

      15   done nothing wrong.     We're not here today on that.     It is

      16   inappropriate to make any findings on that.       That issue will

      17   be resolved in due course.

      18        We're not here today on any future duties.       I heard the

      19   record, too.    I heard the evidence.     I can't imagine there

      20   being any future duties.     But that is an advisory ruling that

      21   we're not here on today.

      22        So, again, we are here today on whether my client is going

      23   to be enjoined to do something.      And the reason why we will

      24   not agree to that --

      25              THE COURT:   Can I stop you?    What I hear from the




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       1   Debtor is, in light of everything we have all heard the past

       2   seven hours, and apparently things the Debtor was not

       3   expecting to hear -- that is, we're ready to cut it off

       4   tomorrow, today; all we need is the data -- he's happy to say,

       5   okay, my request for an injunctive -- a mandatory injunction

       6   is moot now.    I'm not asking the Court for that.

       7        So, you know, I feel compelled to start with the pragmatic

       8   possible resolution of this.       Why --

       9              MR. RUKAVINA:    Your Honor?

      10              THE COURT:   Why is that not an acceptable way of

      11   resolving this?    He doesn't --

      12              MR. RUKAVINA:    Because --

      13              THE COURT:   He doesn't need an injunction, he says,

      14   if we can have an order.

      15              MR. RUKAVINA:    It's not -- Your Honor, I would then

      16   humbly submit that why doesn't he withdraw his motion?         I

      17   mean, the problem that I have, Your Honor, is that anything

      18   that I agree to is going to submit my clients' internal

      19   business affairs to this Court's oversight.

      20        I think Your Honor asked very important questions.        What

      21   happens in two or three days' time if something happens?           What

      22   about these findings?      I am -- I think that this whole motion

      23   is moot, but I am very worried that even a finding of mootness

      24   is an exercise of jurisdiction over my clients' internal

      25   affairs.




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       1        What I think the Court should do is dismiss this motion --

       2   I'm sorry, deny this motion without commentary, without

       3   findings, without conclusions.      There's still Count One and

       4   Count Two which will be resolved in due course.       And you know

       5   what?   If my client messes up somehow in this transition --

       6   not to mention that my clients are highly reputable, they're

       7   governed, they're regulated, there's other people looking at

       8   this -- they can come back to Your Honor.

       9        But please understand my perspective, please understand my

      10   clients' perspective, because I think it's important.         We have

      11   been hauled in front of this Court on allegations that we have

      12   willfully failed and refused to adopt and effectuate a plan.

      13   The allegations here are extreme.      They've been shared with

      14   the creditors.    They've been shared with our boards, who knew

      15   about this all along.     They've been shared with the SEC.

      16   They've been shared publicly.

      17        So I am glad that the record is now clear that these

      18   allegations were baseless when made, but even if they were

      19   made in good faith, they are baseless today.

      20        But I don't even want the Court exonerating my clients'

      21   plan.   I don't want the Court commenting on the wisdom of my

      22   clients' plan.    Because we will not agree, as a nondebtor

      23   party, with all respect, Your Honor, to have this Court take

      24   any oversight over our affairs.      It'll lead to some future

      25   dispute, some future contempt, some future sanctions, and




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       1   that's just not something that we as nondebtors are going to

       2   consent to.

       3        The Court doesn't have jurisdiction.      The Court doesn't

       4   have core jurisdiction.

       5        But let's put all that aside.     The four elements of an

       6   injunction, Your Honor.     Where is any evidence of harm?       Mr.

       7   Seery did not --

       8              THE COURT:    You know what?   As long as we're not

       9   going to have a consensual order here, we need to take the

      10   issues you've raised, starting with subject matter

      11   jurisdiction.    Okay?   If I don't have consensus, I've got to

      12   examine my own subject matter jurisdiction.

      13        So, on that point, do you say I apply the Fifth Circuit's

      14   pre-confirmation test of bankruptcy subject matter

      15   jurisdiction or post-confirmation test?

      16              MR. RUKAVINA:    Your Honor, the plan has --

      17              THE COURT:    Okay.   I signed the confirmation order,

      18   but it's one day old.      It's still appealable.   And it's

      19   nowhere close --

      20              MR. RUKAVINA:    Your Honor?

      21              THE COURT:    -- to going effective, I fear.       So, under

      22   either test, tell me why I don't have subject matter

      23   jurisdiction first.

      24              MR. RUKAVINA:    I would like to argue that the pre-

      25   confirmation -- that the post-confirmation test applies, but I




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       1   can't, in good faith.      The plan has not gotten -- gone

       2   effective.    There still is an estate.    So, as of today, I

       3   think Your Honor is dealing with the pre-confirmation

       4   jurisdiction, --

       5              THE COURT:   Okay.

       6              MR. RUKAVINA:    -- which is definitely broader.

       7              THE COURT:   Okay.

       8              MR. RUKAVINA:    There is no jurisdiction, because you

       9   have heard no evidence of any effect on this estate as a

      10   result of this injunction being issued or not issued.         Mr.

      11   Seery had every opportunity to be asked about harm,

      12   interference, how does this affect the reorganization?         He did

      13   not give you any.    This does not increase --

      14              THE COURT:   Well, what I think I heard, and I may be

      15   mixing up written pleadings, declarations, versus what he said

      16   today, but what I know I heard in either the papers or his

      17   oral testimony today was that the Debtor is worried about

      18   exposure to liability from who knows who.

      19              MR. RUKAVINA:    Okay.

      20              THE COURT:   The investors in the private funds or

      21   someone else for not having a smooth transition plan here and

      22   cutting things off on February 28th without knowing there's a

      23   plan.   Okay?   So if the estate is exposed to potential

      24   liability, is that an impact on the estate being administered,

      25   per Wood v. Wood?




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       1               MR. RUKAVINA:   Of course it is, Your Honor.      But we

       2   have to go to evidence.     That's not in the evidence.       That's

       3   in the brief that they filed.      It is not in Mr. Seery's

       4   declaration.    It is conclusory.    It is not evidence.      There is

       5   no evidence today of anyone that could sue the Debtor.         I have

       6   no idea of anyone who could sue the Debtor -- pardon me --

       7   regarding this.

       8               THE COURT:   He did say in testimony he was worried

       9   about the SEC if this was not done right.

      10               MR. RUKAVINA:   Well, Your Honor, with due respect,

      11   his worry is conclusory and his worry does not rise to an

      12   effect.    He didn't tell you that the SEC has investigated or

      13   is threatening anything.     It's a purely hypothetical worry.

      14   So I do not think that Your Honor has even related-to

      15   jurisdiction now that Your Honor has heard all of the

      16   evidence.

      17        Now, let me be clear.     Your Honor has jurisdiction over

      18   Counts One and Counts Two in this lawsuit, subject to

      19   arbitration, right?      That's the declaratory action as to

      20   whether they terminated correctly.      That's a legitimate

      21   exercise of jurisdiction.     And their monetary claim for unpaid

      22   amounts:    Clearly, the Court has jurisdiction.     All I'm

      23   talking about is whether the Court has jurisdiction to enjoin

      24   a nondebtor party to do something.      Not -- not to not do

      25   something, not a status quo injunction, but a mandatory




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       1   injunction.

       2        And you have heard no evidence, Your Honor, no nexus as to

       3   how the injunction that Your Honor has been asked to order is

       4   going to affect the estate.     None.

       5              THE COURT:   Okay.   But you say a nondebtor third

       6   party.   It's not just any nondebtor third party.      Among other

       7   things, it's a counterparty to executory contracts that the

       8   Debtors say, you know, we either terminated these during the

       9   case or they're deemed rejected, and we're wanting some

      10   cooperation from the counterparty.

      11        I mean, doesn't that give --

      12              MR. RUKAVINA:   Okay.

      13              THE COURT:   -- subject matter jurisdiction, because

      14   we're talking about a counterparty to an agreement that would

      15   have been governed by 365?

      16              MR. RUKAVINA:   I think, Your Honor, if there is some

      17   duty in those contracts or some duty in the law to act in a

      18   particular manner upon termination or rejection, there would

      19   be jurisdiction.

      20        But just like when Your Honor ruled against us in December

      21   -- Your Honor said, I find nothing in this contract that

      22   provides for such a duty -- there's nothing in these contracts

      23   that provides any obligation on my client.

      24              THE COURT:   That is a different agreement.        That was

      25   a different agreement, for the record.




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       1              MR. RUKAVINA:   Fair enough.

       2              THE COURT:   That was --

       3              MR. RUKAVINA:   Your Honor, fair enough.

       4              THE COURT:   That was the CLO agreements that your

       5   clients were not parties to.

       6              MR. RUKAVINA:   But Your Honor asked the right

       7   question then, and that's still the right question:           Point me

       8   to some statutory or contractual right for what you want.

       9   They have not pointed you to any.

      10        So, yes, hypothetically, if these agreements -- let's just

      11   assume that these agreements required post-termination good-

      12   faith unwinding.    There would be jurisdiction.     But these

      13   agreements don't provide any of that.      The only thing that's

      14   provided is that, post-termination, the Debtor shall promptly

      15   return to us our property.     And that -- there's no problem

      16   with that.    We trust that the Debtor -- we heard Mr. Seery --

      17   the Debtor's not going to mess that up.       It'll be done quickly

      18   and painlessly, I hope.

      19        That's not what they're asking for.      They're asking for

      20   Your Honor to tell my client how to conduct its internal

      21   business affairs, and there's nothing in these contractual

      22   rights.

      23        So, hypothetically, let's just assume that the Court has

      24   some related-to jurisdiction.      Okay.   It's still not core

      25   jurisdiction.    And these contracts have been terminated, Your




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       1   Honor.   There is no live contract.     No one has shown you any

       2   statute or regulation that governs.      So, that's jurisdiction.

       3        The same fact of no harm, the same fact of no right, goes

       4   to the elements of an injunction, recalling that a mandatory

       5   injunction requires a much greater, much clearer burden.

       6   Again, Mr. Seery did not testify as to any harm.       He said he

       7   was worried about the SEC and he said something like it might

       8   make plan implementation more difficult.      Again, conclusory

       9   allegations.    Those are not -- that's not evidence of

      10   immediate and imminent injury.     It is certainly not evidence

      11   of irreparable injury, and it is certainly not evidence of a

      12   nonmonetary injury.

      13        So, again, I ask -- I understand Your Honor has been in

      14   this case for a long time.     I understand Your Honor has been

      15   in the Acis case before that.     I understand from Your Honor's

      16   confirmation ruling that you have formed certain opinions

      17   about my clients, opinions that I think are unfair, quite

      18   frankly, that basically conclude that we are a vexatious

      19   litigant and that we are the tentacles of Mr. Dondero.        I ask

      20   you to put all that aside.     Because that's what the Debtor

      21   wants you -- the Debtor wants you to just reflexively conclude

      22   that somehow we're nincompoops and incompetents and we need

      23   court supervision.    Put all that aside, Your Honor, and just

      24   ask yourself:    What am I being asked to do?     I'm being asked

      25   to order a nondebtor as to how to conduct its own internal




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       1   business -- not even business related to the Debtor, but how

       2   to conduct its own internal business -- even if we are the

       3   biggest nincompoops, which absolutely is not borne out by the

       4   record.

       5        This is the wrong court for any such relief.       It's the

       6   wrong court.

       7        The reason why I showed you that letter from last Friday

       8   was I thought it was -- I think Mr. Morris is an excellent

       9   lawyer and I've worked very well with him, but I think that

      10   the allegation is so fundamentally unfair, that somehow this

      11   is our fault because we didn't tell them about a backup plan

      12   and we wouldn't just consent to the entry of an order that

      13   gives Your Honor jurisdiction over us.      That's unfair, Your

      14   Honor.    This is an inquisition in that respect.     In that

      15   respect, it's an inquisition.

      16        We were sued.    We defended ourselves.    We're not -- this

      17   is the fourth lawsuit, by the way, that the Debtor filed

      18   against us, Your Honor.

      19        And as I asked you at the confirmation hearing, what

      20   evidence is there that we're vexatious?       Okay, we filed a

      21   motion in front of Your Honor that was frivolous.        It

      22   happened.   And we're glad that the Court didn't sanction us.

      23   We're glad.    Perhaps the Court still will.     But that's it.

      24   Nothing else that we've done.

      25        We've been quiet in this case.      We've been minding our own




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       1   business.    We've been preparing a backup plan.     We've done

       2   everything right.    And the Debtor comes to you shocked,

       3   shocked, alleging that we don't have any plan, alleging that

       4   the sky is falling.       And even when the Debtor learns that

       5   that's not the case, we still had to go through today.

       6        Why did we go through today, Your Honor?       Why did my

       7   client -- why did my client have to sit here like someone that

       8   had done something wrong, like a criminal defendant, and be

       9   inquired as to all of its internal business practices, with

      10   implications made that my client doesn't know what it's doing?

      11   Why did we go through today just to have some order that's a

      12   -- that provides for something?

      13        They want a mandatory injunction, Your Honor.       You should

      14   thumbs-up it or thumbs-down it.      And if you thumbs-up it,

      15   it'll be without jurisdiction, without basis, and it'll be

      16   extraordinary.

      17        I can just keep talking and talking, but I'll repeating

      18   the same points, Your Honor, so I thank you.

      19               MR. MORRIS:    Can I just have five minutes, Your

      20   Honor?

      21               THE COURT:    You can.

      22            REBUTTAL CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      23               MR. MORRIS:    You know, I think the Court can issue an

      24   order finding that the motion is moot on its own accord.         It

      25   doesn't need a consensual order to do that.       I think the Court




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       1   -- I would believe that the Court would have a factual finding

       2   to support the finding of mootness.

       3        But I don't really get the righteous indignation at all.

       4   It's as if Mr. Rukavina didn't hear anything I said.          Because

       5   we're most certainly not asking the Court -- we weren't even,

       6   in the motion, asking the Court to do anything specific other

       7   than direct the Advisors to adopt and implement a plan.         It

       8   didn't have to be with us.     We didn't care who it was with.

       9   We didn't care what the elements were.       The fact of the matter

      10   is Mr. Seery testified extensively, not just about the

      11   potential impact this would have on the Debtor's plan of

      12   reorganization, but he testified that certain of the Debtor's

      13   employees had received threats.      He testified, based on his

      14   experience, that this is a highly-regulated industry, and if

      15   there was -- if we walked away without any plan in place,

      16   which is exactly why he said we filed this motion, that it

      17   would be -- that it would be potentially catastrophic and that

      18   undoubtedly the SEC would be involved.       And Mr. Rukavina

      19   cannot give the Debtor any assurances that it would have no

      20   liability.    Mr. Rukavina, I'm sure, is not going to allow his

      21   client to indemnify the Debtor for any damages that may have

      22   occurred in the future.

      23        We're a little far afield here, Your Honor.       We simply

      24   wanted to make sure that there was a plan in place to avoid a

      25   catastrophe.    That was the irreparable harm that we were




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       1   looking at.    And at the end of the day, they came in -- you

       2   know, I wish they had done it last week.       I wish they had told

       3   us last Thursday.     I wish they had told us last Wednesday.      I

       4   wish they had told us during the negotiations.       I wish they

       5   had told us last Friday, instead of pulling Plan B.       I wish

       6   they -- you know.     But it doesn't matter.    They don't have an

       7   obligation to do that and I'm not, you know, I'm not going to

       8   pretend that they do.     It would have been better if they had.

       9   They didn't.    But they did, they did what the Debtor needed

     10    them to do today, and that is present their plan to the Court.

     11           And while we, you know, have questions about when it was

     12    prepared, whether it's fulsome, they like it, and that's the

     13    important part.     And they're not going to look to the Debtor

     14    for any services in the future.      That's the important part.

     15           The risk that Mr. Seery was concerned about has been

     16    eliminated, and I, you know, appreciate that.       And that's why

     17    I thought we came in here with a very rational and pragmatic

     18    solution, to just -- to just -- you know, they've done what

     19    we've asked for.     We've gotten the relief that we've asked

     20    for.    The Advisors have sworn under oath that they have an

     21    operating plan to obtain the essential services that the

     22    Debtor used to provide.     That's the relief we were asking for.

     23    I'm not quite sure what there is left here.

     24                THE COURT:   Okay.   Thank you.

     25           All right.   The first thing I'm going to say is that the




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       1   Court believes it has subject matter jurisdiction, bankruptcy

       2   subject matter jurisdiction, over the requested relief.         If

       3   it's a pre-confirmation test that I am supposed to apply here

       4   -- that is, the Wood v. Wood, could this dispute have a

       5   conceivable effect on an estate being administered -- I find

       6   that that test is met.

       7        I think the concern of potential liability and exposure on

       8   the part of the Debtor is well-founded, even if it was not

       9   articulated to the Advisors' satisfaction today.       I think,

      10   based on the litigious history here between these parties and

      11   the contentiousness, I should say, between these parties

      12   during this case, there is certainly a well-founded concern,

      13   and certainly I think the Debtor is just being prudent,

      14   worried about the SEC, investors, the Advisors, the funds,

      15   someone else pointing fingers at the way the Debtor did or did

      16   not act in transitioning services over.       I think that is a

      17   basis for subject matter jurisdiction under the pre-

      18   confirmation test.

      19        If the post-confirmation test applies here, we know that

      20   Fifth Circuit cases such as In re Craig's Stores, In re Case,

      21   National Gypsum, among others, articulate the test of

      22   bankruptcy subject matter jurisdiction being could the outcome

      23   of the dispute bear on the implementation, the execution, or

      24   the interpretation of a confirmed plan?       I think that test is

      25   likewise met here.




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       1        Obviously, the plan contemplated a separation, and this

       2   request for relief appears to be basically seeking some

       3   supplemental -- a supplemental order to supplement the

       4   confirmation order, to supplement the Debtor's attempt at

       5   divorcing these parties as part of the monetization plan.

       6        So I think bankruptcy subject matter jurisdiction does

       7   exist here.

       8        I didn't hear in oral arguments, closing arguments,

       9   anything about the arbitration, but I think there's a real

      10   question here whether the Advisors may have waived their right

      11   to invoke the arbitration clause that's in one of the shared

      12   services agreements, not both of them, by filing pleadings so

      13   often, participating in this bankruptcy case so often, without

      14   invoking that.

      15        But again, as I see it, this adversary proceeding is

      16   largely -- essentially, I should say -- asking for an order

      17   supplementing the confirmation order, and it doesn't really

      18   seem like a dispute per se under the shared services

      19   agreements that have already been terminated.

      20        So I think an argument can be made that there's been

      21   waiver here, but even if there's not, that this is core in

      22   that it bears on the plan confirmation, certainly more than a

      23   dispute arising under the literal terms of the shared services

      24   agreement.

      25        I reserve the right to supplement and amend this, if I




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       1   need to, in a more thorough written ruling.

       2        But anyway, based on the Court determining it does have

       3   subject matter jurisdiction here, I see it appropriate to

       4   enter an order that, based on the Court's several hours of

       5   testimony today from three different witnesses -- Mr. Seery,

       6   Mr. Dondero, Mr. Norris -- and based on many documents that

       7   have been submitted into the evidence, the Court finds that

       8   the shared services agreements were already terminated

       9   pursuant to their terms and can also be deemed rejected under

      10   365 of the Code previously.

      11        The Court will find that the Advisors do not need any

      12   further services from the Debtor under these agreements as of

      13   today's date, except access to data and records, which, based

      14   on the testimony of Dustin Norris, can be easily effectuated,

      15   Mr. Norris's testimony being that what the Debtor would need

      16   to do to allow access to the data is authorize the Debtor's IT

      17   director to transfer data and we stand ready to receive it.

      18   And data would include historical emails, vault emails, files

      19   in the system, and a number of other items, but, quote, there

      20   would almost be no work from the Debtor's end.

      21        So, believing that to be the case, I would order that the

      22   Debtor stand ready between now and the 28th to provide that

      23   access and that the Advisors stand ready to receive that

      24   access.   And if the process extends beyond February 28th, then

      25   it will have to be subject to further orders of this Court,




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       1   but the Court would expect there to be a cost if it extends

       2   past February 28th.       And again, the Court would consider that

       3   in a further hearing, how much cost should be imposed on the

       4   Advisors.    But the advisors have represented to me through Mr.

       5   Norris it's easy, it can be accomplished easily, so therefore

       6   I would think it could happen between now and the 28th, and if

       7   it does, no cost imposed on anyone.

       8        I will further find that the Advisors have represented and

       9   the Court therefore finds that there is an operating plan in

      10   place for the Advisors to continue to operate uninterrupted

      11   beyond today.    And again, the only thing I would envision that

      12   needs to happen between today and February 28th is the access

      13   to data.

      14        So, having made these findings, the Court believes that

      15   the request for a mandatory injunction is moot and is

      16   therefore denied.

      17        Are there any questions?       Mr. Morris, I want you to be the

      18   scrivener, and, of course, run it by Mr. Rukavina.        But are

      19   there any questions or concerns about what I've just

      20   articulated?

      21               MR. MORRIS:    I just have one, Your Honor.

      22               THE COURT:    Uh-huh.

      23               MR. MORRIS:    You made reference to rejection of the

      24   contract.    From our perspective, it's not rejection.        We don't

      25   want to open this up to a rejection claim of any kind.         It




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       1   really was just a termination of the agreement, in accordance

       2   with the terms.    And I had put the provisions up before the

       3   Court during my opening and walked Mr. Seery through.         That's

       4   the basis for the --

       5              THE COURT:    Okay.

       6              MR. MORRIS:     -- termination of the agreement.     It's

       7   not rejection at all.

       8              THE COURT:    Fair point.

       9              MR. RUKAVINA:    And Your Honor, there's no -- there's

      10   no -- yeah, there's no problem.        There's no problem on that.

      11   We do not disagree.      We do not disagree with Mr. Morris.

      12              THE COURT:    Fair point.    I made the mistake of belts

      13   and suspenders, trying to fill in any hole there might be.

      14   But yes, I had the evidence that there was a termination of

      15   both agreements on November 30th.        One of them had a 60-day

      16   window before it became effective, the other a 30-day.          So

      17   they are terminated.

      18        All right.    Mr. Morris, anything else from you?

      19              MR. MORRIS:    No.    We'll prepare a form of order.

      20              THE COURT:    All right.    Mr. Rukavina, anything

      21   further from you?

      22              MR. RUKAVINA:    Your Honor, obviously, I have

      23   questions.    I have reservations.     I need to look at whether

      24   the Court's findings are going to be binding in this adversary

      25   proceeding.    So, at this point in time, I'm just not prepared




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       1   to really say anything lest I get myself in trouble.          But I

       2   thank you for your time today.

       3              THE COURT:   All right.   Well, they are what they are,

       4   and I hope we're not in an argument about that down the road.

       5   But it seems like my hopes are always dashed when I want

       6   things to be worked out.

       7        I don't want you to think my calm demeanor means I am a

       8   happy camper.    I am not.    I am beyond annoyed.   I mean, I

       9   can't even begin to guesstimate how many wasted hours were

      10   spent on the drafting Option A, Option B.       Wait.   Let me pull

      11   up the exact words.     Mr. Norris confirming, We withdrew Option

      12   B after the Debtor accepted it.

      13        I mentioned fee-shifting once before in a different

      14   context, and, of course, we haven't even gotten to the motion

      15   for a show cause order declaring Mr. Dondero in contempt.          I

      16   don't know if the lawyers fully appreciate how this looks.

      17   Mr. Rukavina, you said that I have formed opinions that you

      18   don't think are fair and made comments about vexatious

      19   litigation and whatnot.      But while I continue, I promise you,

      20   to have an open mind, it is days like this that make me come

      21   out with statements that Mr. Dondero, repeating his own words,

      22   apparently, he's going to burn the house down if he doesn't

      23   get his baby back.

      24        I mean, it seems so obviously transparent that he's just

      25   driving the legal fees up.     It's as though he doesn't want the




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       1   creditors to get anything, is the way this looks.       If he wants

       2   me to have a different impression, then he needs to start

       3   behaving differently.     I mean, I can't even imagine how many

       4   hundreds of thousands of dollars of legal fees were probably

       5   spent the past two weeks on Option A, Option B, and all the

       6   different sub-agreements and whatnot.      And as recently as

       7   Friday afternoon, the K&L Gates lawyer saying we have a deal,

       8   and then, oh, wait, maybe not, maybe we do, maybe we don't.

       9   And then Mr. Dondero acting like he had no clue what the K&L

      10   Gates lawyers were saying as far as we have a deal.          And Mr.

      11   Norris distancing himself from having seen any of that, and I

      12   didn't have power.      You know, I'm sure he had a cell phone,

      13   like the rest of us, that gets emails.        I'm making a

      14   supposition.   I shouldn't make that.     But it just feels like

      15   sickening games.

      16        And again, if this keeps on, if this keeps on, one day,

      17   one day, there may be an enormous attorney fee-shifting order.

      18   And, of course, I would have to find bad faith, and I wouldn't

      19   be surprised at all if I get there.

      20        So I don't know if Mr. Dondero is listening.       I suspect,

      21   if he is, he doesn't care much.     But I am --

      22              MR. DONDERO:    I'm on the line, Judge.

      23              THE COURT:    Okay.

      24              MR. DONDERO:    I'm on the line.

      25              THE COURT:    I'm glad you're on the line.    I cannot




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       1   overstate how very annoyed I am by hearing all these hours of

       2   testimony and to feel like none of it was necessary.          None of

       3   it was necessary.     Okay?     There could have been a consensual

       4   deal --

       5               MR. DONDERO:      Judge, you have to pay attention --

       6   Judge, you have to pay attention to what's going on, okay?

       7               THE COURT:    I am --

       8               MR. DONDERO:      When I was president of Highland, --

       9               THE COURT:    -- razor-sharp focused on what is going

      10   on.   Okay?   I read every piece of paper.       I listen to every

      11   sentence of testimony.        And what is going on --

      12               MR. DONDERO:      Okay.   How about this, Your Honor?

      13               THE COURT:    -- is an enormous waste of parties and

      14   lawyer time and resources.        People need to get their eye on

      15   the ball.     Well, certain people do have their eye on the ball,

      16   but certain people do not.        Okay?   So we're done.   You've got

      17   your divorce now.     Okay?     And if the operating plan is all

      18   shored up, as Mr. Norris testified, it sounds like you're in

      19   good shape.      All right?

      20         Mr. Morris, I'll look for the order from you.

      21               MR. MORRIS:    Thank you, Your Honor.

      22               THE CLERK:    All rise.

      23         (Pause.)

      24               THE COURT:    Oh, Michael?

      25         (Court confers with Clerk.)




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       1               THE CLERK:    Hello?   Hang on.   Mr. Morris?

       2               THE COURT:    Is anyone still there?

       3               THE CLERK:    Mr. Rukavina is still there.      Mr.

       4   Rukavina, Mr. Morris, are you all still there?

       5               MR. RUKAVINA:    Judge, this is Davor.

       6               THE COURT:    All right.

       7               MR. RUKAVINA:    I think we're all wondering whether

       8   we're going to have the contempt hearing.

       9               THE COURT:    Well, yes, that's why I came back in.

      10               MR. RUKAVINA:    I can't hear you, Judge.    We can't

      11   hear you.

      12               THE COURT:    I realized I -- it's 4:19 Central time.

      13   We are not starting the contempt hearing.

      14        Mr. Morris, are you there now?

      15               MR. MORRIS:    I am.   I did have one suggestion.

      16               THE COURT:    All right.   I neglected to mention our

      17   other setting, but we are not going to start at 4:19 Central

      18   time.   Do we want to talk about scheduling on that?

      19               MR. MORRIS:    I did, Your Honor.   And it's just an

      20   idea, and I understand we've had a long day.         But I was going

      21   to suggest if there was any way to just get their motion in

      22   limine out of the way today, so that when we come back for the

      23   evidentiary hearing parties are fully prepared.         If you don't

      24   want to do it, that's fine.        Otherwise, I'm available at Your

      25   Honor's convenience.




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       1               THE COURT:    All right.    I am going to have you all

       2   communicate with Ms. Ellison about rescheduling that.         I have

       3   no idea what my calendar looks like next week, but I'm not

       4   going to do it this week.         I've got a backlog of other case

       5   matters that I need to get to this week.

       6               MR. MORRIS:    Okay.

       7               THE COURT:    So, you know, maybe we'll do it next

       8   week.   On the motion in limine, you've not filed a response?

       9   It was just filed yesterday, so I'm guessing there's no

      10   response.

      11               MR. MORRIS:    Yeah.    I was going to do -- I was going

      12   to do it orally.    I'm happy to do a written response, and I'm

      13   happy to just proceed on the papers.        I just think it would be

      14   helpful to have that, you know, or if we could put aside an

      15   hour later this week to do that, because then preparing, if we

      16   know the evidence is in or out, I think it'll just make the

      17   trial a lot more smooth.

      18               THE COURT:    All right.    I barely had time to pore

      19   over it, so let me have Traci reach out to you all tomorrow

      20   and let you know do I want a hearing on it or not.         I have an

      21   initial reaction.    I don't know if Mr. Dondero's counsel is on

      22   the phone.    I don't want to talk about this too much if he's

      23   -- do we have Dondero's counsel?

      24               MR. WILSON:    I'm present, Your Honor.    John Wilson.

      25               THE COURT:    Okay.    I will tell you right now that,




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       1   having done a quick review of it, I didn't feel inclined to

       2   grant it.    I'm going to have the TRO in front of me and I'm

       3   going to hear the evidence of what happened, and it's either

       4   going to match up as a violation of the provisions of the TRO

       5   or not.   You know, I feel -- I'm not a jury.       I can decide

       6   whether it is violative of the TRO or not.        The theme of it

       7   was, oh, it's going to have a prejudicial effect.        I mean,

       8   I've already heard about a lot of this.        So I'm inclined not

       9   to grant it.    But, again, I did a very quick look at it at

      10   5:00 o'clock last night.       And that's why I asked Mr. Morris,

      11   was he going to have a response, because --

      12               MR. MORRIS:    Yeah.    I was planning to do it orally

      13   today, Your Honor.       If I may just have until 5:00 o'clock

      14   tomorrow, I'll submit an opposition that won't exceed five

      15   pages.

      16               THE COURT:    Okay.    So that's what we'll do.   And then

      17   once I've looked at the motion more carefully, as well as the

      18   response, I'll decide if I need oral argument or if I'm just

      19   going to rule on the pleadings, okay, and Traci will let you

      20   all know.    All right?    And again, Traci will coordinate with

      21   you tomorrow or sometime this week about a resetting on the

      22   contempt motion.

      23        All right.    Thank you.

      24               MR. MORRIS:    Thank you, Your Honor.

      25               MR. WILSON:    Thank you, Your Honor.




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       1              THE CLERK:   All rise.

       2        (Proceedings concluded at 4:23 p.m.)

       3                                  --oOo--

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      20                                CERTIFICATE

      21         I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
      22    above-entitled matter.
      23      /s/ Kathy Rehling                                   02/24/2021

      24    ______________________________________            ________________
            Kathy Rehling, CETD-444                               Date
      25    Certified Electronic Court Transcriber




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                       UNITED STATES BANKRUPTCY COURT FOR THE
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  IN RE:                                              *            Chapter 11
                                                      *
                                                      *            Case No. 19-34054sgj11
  HIGHLAND CAPITAL MANAGEMENT, L.P.                   *
                                                      *
                  Debtor                              *


            MOTION TO APPOINT EXAMINER PURSUANT TO 11 U.S.C. § 1104(c)

           NOW INTO COURT, through undersigned counsel, comes The Dugaboy Investment

  Trust and Get Good Trust (jointly, “Movers”) and respectfully move this Court for the

  appointment of an Examiner for the reasons set forth herein:

                                                 I.

                                         BACKGROUND

      1. On December 23, 2019, the United States Trustee filed its United States Trustee’s Motion

           for an Order Directing the Appointment of a Chapter 11 Trustee [Dkt. No. 271]. The

           United States Trustee's motion was denied by this Court's Order Denying United States

           Trustee's Motion for an Order Directing the Appointment of a Chapter 11 Trustee [Dkt.




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           No. 428].    Since around that time, the Debtor has been operating as a debtor-in-

           possession at the direction of an appointed independent board of directors.

      2. On November 24, 2020, the Court approved the Debtor’s Disclosure Statement for the

           Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (the

           "Disclosure Statement") [Dkt. No. 1476]. As detailed in Article II.B. of the Disclosure

           Statement, the value of the Debtor's Assets has decreased by more than $235 million, or

           about 42%, from the commencement of the case to September 30, 2020. The Debtor’s

           Monthly Operating Report for November of 2020 reports a loss in value of $248 million

           [Dkt. No. 1710].

      3. The Plan of Reorganization proposed by the Debtor and set for hearing on January 26,

           2021 contains significant release and exculpation provisions for the management of the

           Debtor and the Independent Directors that are not allowable under applicable 5th Circuit

           law (Opposition to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization

           filed by The Dugaboy Investment Trust and Get Good Trust [Dkt. No. 1667] and the

           United States Trustee’s Limited Objection to Confirmation of Debtors’ Fifth Amended

           Plan of Reorganization filed by the United States Trustee [Dkt. No. 1671]).

      4. At a hearing held on January 8, 2021, this Court voiced a concern about costs and

           expenses in connection with this case. The Court noted that it believed over sixty (60)

           lawyers attended the hearing and that a mere Preliminary Injunction hearing, based upon

           a back of the envelope calculation, cost the estate and parties in interest in excess of

           $300,000.00.

      5. On January 12, 2021, counsel for Movers sent a letter to various counsel enlisting their

           support to the appointment of an Examiner to investigate various issues in this case and



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           to author a report that could be used by the Court and parties in interest. It was suggested

           by The Dugaboy Investment Trust that the appointment of an Examiner was a less costly

           means to resolve issues, as opposed to full blown litigation between the various parties

           and their legions of lawyers. The letter suggested that an Examiner be appointed to

           provide to the Court and the parties in interest a report that would address key matters.

           The Examiner’s investigation and report would address issues and items that would not

           delay or cause a continuance of the confirmation hearing on the Debtor’s Plan.

      6. The appointment of a neutral, third party Examiner who would serve as an independent

           agent for the estate would be in the best interests of the Debtor and its creditors. The

           Examiner’s investigation would alleviate the need for discovery disputes and litigation by

           getting to the bottom of the legitimacy of the allegations made by the parties and

           potential claims that may exist on behalf of the estate or against persons acting on behalf

           of the estate.   The present claims retention statement filed by the Debtor is merely a

           laundry list of potential claims and parties and provides no real guidance or explanation

           as to the retained claims.

      7. Movers will fully cooperate with the Examiner with respect to any examination of

           potential issues concerning the claims of or against Movers.

                                                   II.

                                        REQUEST FOR RELIEF

      8. Movers request that this Court appoint an Examiner in this case under section 1104(c) of

           the Bankruptcy Code in order to perform investigations and to prepare a report under

           section 1106(b). Section 1104(c) of the Bankruptcy Code states, in pertinent part:

           If the court does not order the appointment of a trustee under this section, then at
           any time before the confirmation of a plan, on request of a party in interest or the

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             United States trustee, and after notice and a hearing, the court shall order the
             appointment of an examiner to conduct such an investigation of the debtor as is
             appropriate, including an investigation of any allegations of fraud, dishonesty,
             incompetence, misconduct, mismanagement, or irregularity in the management of
             the affairs of the debtor of or by current or former management of the debtor…
             11 U.S.C. § 1104(c) (emphasis added).

        9. The express language of section 1104(c) and c(2) makes clear that where, as in this case,

             a party has previously moved for the appointment of a Chapter 11 trustee and the fixed

             liquidated unsecured debts exceed $5 million, the court shall appoint an Examiner at the

             request of a party in interest. Id. Even so, other courts note that an application to appoint

             a trustee is not a prerequisite for the appointment of an Examiner, only that no such

             trustee has been appointed in the case. Keene Corp. v. Coleman (In re Keene Corp.), 164

             B.R. 844, 855 (Bankr. S.D.N.Y. 1994) (looking to identical language in § 1104(b),

             finding that the denial of a motion to appoint a trustee is not a prerequisite to appointing

             an Examiner); See also In re Residential Capital, LLC, 474 B.R. 112, 118, 121 (Bankr.

             S.D.N.Y. 2012) (requiring only that a chapter 11 trustee must not have been appointed).

        10. Here, all elements for the appointment of an Examiner have been met under section

             1104(c)(2) of the Bankruptcy Code: (i) the Court has not previously appointed a trustee in

             this case; (ii) Movers, parties in interest, move for the appointment of an Examiner prior

             to plan confirmation; and (iii) it is indisputable that the Debtor's fixed, liquidated,

             unsecured debts, other than debts for goods, services, or taxes, or owing to an insider,

             exceed $5,000,000.1

        11. When all such elements are met, courts have no discretion whether to grant relief, and

             must appoint an Examiner. In re Erickson Retirement Communities, LLC, 425 B.R. 309,

             313 (Bankr. N.D. Tex. 2010). This Court in Erickson Retirement Communities stated:


  1
      See Debtor's Amended Schedules E-F, Dkt. No. 1082-1, and Dkt. Nos. 1273 and 1302.

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           "This court agrees with such courts that, where the $5 million unsecured debt threshold is

           met, a bankruptcy court ordinarily has no discretion. This Court has complete discretion

           as to the matters that are examined.”

      12. The Court in Erickson denied the appointment of an Examiner due to the fact that “there

           was no allegations of wrongdoing on the part of the Debtor” at 313. In Erickson the

           Examiner was requested to report on an “appropriate value allocation”. In this case

           Movers are requesting, and the Court should want, an explanation from a neutral third

           party as to why the assets of the Debtor had such a significant reduction in value during

           the case. Was it due to mismanagement or negligence? The reason for the decline in

           value is not an investigation that the Debtor or its counsel can make (they are not

           disinterested) but one that must be made by an independent third party. The discussion in

           the Debtor’s Disclosure Statement [Dkt. No. 1473, pgs. 28-29] is conclusory and only

           accounts for $90 million of the decline in value. The balance is not explained except to

           assert that Covid was in part responsible. Leading market indicators for the period

           between October of 2019 and October of 2020 reflect annualized growth rate for the Dow

           of 4.67%, the S&P 14.95% and Nasdaq 43.11%.             In light of these market gains,

           questions exist as to why the Debtor’s Assets declined in value and whether the Debtor’s

           management acted in a prudent fashion.

                                                   III.

                  SUGGESTED AREAS OF INQUIRY AND METHODOLOGY

      13. Movers have received responses from the Debtor and the Creditors‘ Committee relative

           to Movers’ letter of January 12, 2021, wherein the Debtor and the Creditors’ Committee

           rejected joining in the Examiner motion and contended that the request was designed to



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           delay confirmation and that the Litigation Trustee would investigate the claims possessed

           by the estate. The letters received from the Debtor and the Creditors’ Committee assert

           that the claims that have been made against the Debtor and the parties it seeks to have

           released and exculpated in its Plan are frivolous. The letters go on to state that the claims

           will be investigated by Marc Kirschner who is a highly qualified professional.

      14. The areas of inquiry suggested by Movers below will not delay confirmation of the

           Debtor’s Plan and the suggestion that the Litigation Trustee, through the use of its

           counsel, will investigate the claims in a more efficient manner than a highly qualified

           Examiner would misses the entire point of Movers’ letter.           The assertion that the

           Litigation Trustee will investigate all claims is inaccurate since claims against the

           Debtor’s management are released and exculpated and are not included in any retained

           claims. It is difficult to believe that the Creditors’ Committee does not want to know

           why there is a loss of over $200 million in Asset value and whether any of that loss could

           be recovered from responsible parties. Secondly, this Court, under the Plan, will have no

           control over the costs and expenses of the Litigation Trustee and its counsel in pursuing

           such litigation, and the only means of ensuring benefit to the estate for the activities of

           the Litigation Trustee would be to require that counsel pursing the claims on behalf of the

           Litigation Trustee work on a contingent fee basis.

      15. The Plan filed by the Debtor contains significant releases and exculpations for the

           persons overseeing the Debtor’s activities in the case. Movers are troubled by the fact

           that the Debtor’s Assets have declined in value with only a portion of the loss explained

           by “reserves” and forced stock sales due to margin issues.    The Court, at the Preliminary

           Injunction hearing, indicated that it was concerned with the dissipation in the value of



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           assets.   A neutral Examiner could provide an independent view as to the loss in value

           and avoid costly fights over production of documents. Is the Debtor afraid to allow a

           third party to review and answer the question “Why”?

      16. The Debtor should welcome an Examiner viewing the claims that it and the Litigation

           Trustee have against various parties. An Examiner’s report would be difficult to rebut

           and, in all likelihood, would bring about settlement of claims without the need for

           multiyear and costly litigation.

      17. Movers suggest that each party provide the Court with a written submission suggesting

           areas of inquiry for an Examiner’s report. The Court can then fashion the areas of

           inquiry such that they do not slow down the confirmation process but provide a

           meaningful cost savings to the creditors of the estate and the potential party litigants.

                                                    IV.

                                        PRAYER FOR RELIEF

           WHEREFORE, The Dugaboy Investment Trust and Get Good Trust request that this

  Court grant this motion and appoint an Examiner under section 1104(c) of the Bankruptcy Code

  to conduct an investigation of the propriety of the Debtor’s post-petition operations, sales, and

  trades in accordance with section 1106(b) of the Bankruptcy Code.

   January 14, 2021




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                                               Respectfully submitted,


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                                  CERTIFICATE OF SERVICE
      I do hereby certify that on the 14th day of January, 2021, a copy of the above and foregoing
  Motion to Appoint Examiner Pursuant to 11 U.S.C. § 1104(c) has been served electronically to
  all parties entitled to receive electronic notice in this matter through the Court’s ECF system as
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                           UNITED STATES BANKRUPTCY COURT FOR THE
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

   IN RE:                                               *               Chapter 11
                                                        *
                                                        *               Case No. 19-34054sgj11
   HIGHLAND CAPITAL MANAGEMENT, L.P.                    *
                                                        *
                       Debtor                           *

                              ORDER GRANTING THE MOTION TO
                        APPOINT EXAMINER PURSUANT TO 11 U.S.C. § 1104(c)

            Upon consideration of the Motion to Appoint Examiner Pursuant to 11 U.S.C. § 1104(c)

   (the “Motion”) filed on January 14, 2021, by The Dugaboy Investment Trust and Get Good Trust

   (jointly, “Movers”) seeking an order appointing an examiner; and the Court having jurisdiction

   to consider the Motion and all relief requested therein, as well as all related proceedings; and due

   and sufficient notice of the Motion having been given under the circumstances; and the Court

   having convened a hearing at which counsel for all interested parties had an opportunity to

   appear and be heard; and good and sufficient cause appearing, the Court finds that the Motion

   should be, and thereby is, Granted.

   It is, therefore,

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         1.       ORDERED that an Examiner be appointed for Highland Capital Management,
                  L.P. in the captioned matter for the purposes set forth herein; and it is further

         2.       ORDERED that the United States Trustee for the Northern District of Texas
                  (Dallas Division) (the “United States Trustee”), shall timely file its Application
                  for Order Approving the Appointment of an Examiner and a proposed Order
                  thereon (the “UST Appointment Application Order”); and it is further

         3.       ORDERED that immediately upon the entry of the UST Appointment Application
                  Order, the Examiner is authorized to investigate the matters identified in a futher
                  order issued by this Court; and it is further

         4.       ORDERED that within three (3) days of the entry of this Order, any party wishing
                  to have a matter investigated by the Examiner shall submit in writing to this Court
                  the following: a) identification of the matter to be investigated; b) a reason why
                  such investigation is necessary; and c) why such investigation of the matter
                  identified will not delay confirmation of a plan in this Case; and it is further

         5.       ORDERED that the Examiner shall have the duties, powers and responsibilities of
                  an examiner under Section 1106(b) of the Bankruptcy Code; provided, however,
                  that the scope of the Examiner’s duties, unless expanded or limited by further
                  order of this Court, shall be limited to the investigations identified by this Court in
                  a Supplemental Order to be entered ; and it is further

         6.       ORDERED that the Examiner shall be a “party in interest” under Section 1109 of
                  the Bankruptcy Code with respect to matters that are within the scope of the
                  duties set forth in this Order and shall be entitled to appear at hearings held in
                  these cases and to be heard at such hearing with respect to matters that are within
                  the scope of the Examiner’s duties; and it is further

         7.       ORDERED that nothing contained in this Order shall diminish the powers and
                  authority of the Debtor , Committee, Reorganized Debtor and Litigation Trust
                  under the Bankruptcy Code, including the powers to investigate transactions and
                  entities, commence contested matters and adversary proceedings, and object to
                  claims, and it is further

         8.       ORDERED that neither communications between the Examiner and Debtor nor
                  communications between the Examiner and the Committee shall be deemed a
                  waiver of any attorney–client or work product privilege otherwise belonging to
                  the Examiner, the Debtor or the Committee; and it is further

         9.       ORDERED that any and all objections to the relief granted herein are overruled;
                  and it is further

         10.      ORDERED that this Court shall retain exclusive jurisdiction over any dispute
                  concerning this Order.

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                                      ### End of Order ###


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                          IN THE UNITED STATES BANKRUPTCY COURT
       1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
       2
                                          )    Case No. 19-34054-sgj-11
       3    In Re:                        )    Chapter 11
                                          )
       4    HIGHLAND CAPITAL              )    Dallas, Texas
            MANAGEMENT, L.P.,             )    Tuesday, February 2, 2021
       5                                  )    9:30 a.m. Docket
                     Debtor.              )
       6                                  )    CONFIRMATION HEARING [1808]
                                          )    AGREED MOTION TO ASSUME [1624]
       7                                  )
       8                        TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
       9                     UNITED STATES BANKRUPTCY JUDGE.

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                                                              Exhibit C
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       1             DALLAS, TEXAS - FEBRUARY 2, 2021 - 9:38 A.M.

       2             THE COURT:   Good morning.     Please be seated.     All

       3   right.   We are ready to get started now in Highland Capital.

       4   We have a confirmation hearing as well as a motion to assume

       5   the non-residential real property lease at the headquarters.

       6   All right.   This is Case No. 19-34054.     I know we're going to

       7   have a lot of appearances today.      I think we're just down to a

       8   handful of objections, but I'm nevertheless going to go ahead

       9   and get formal appearances from our key parties that we've had

     10    historically in this case.

     11        First, for the Debtor team, do we have Mr. Pomerantz and

     12    your crew?

     13              MR. POMERANTZ:    Yes.   Good morning, Your Honor.      Jeff

     14    Pomerantz, along with John Morris, Ira Kharasch, and Greg

     15    Demo, on behalf of the Debtor-in-Possession, Highland Capital.

     16              THE COURT:   All right.    Good morning.   All right.

     17    For the Unsecured Creditors' Committee team, do we have Mr.

     18    Clemente and others?

     19              MR. CLEMENTE:    Yes.    Good morning, Your Honor.

     20    Matthew Clements; Sidley Austin; on behalf of the Official

     21    Committee of Unsecured Creditors.

     22              THE COURT:   All right.    I'm actually going to call a

     23    roll call for the Committee members who have obviously been

     24    very active during this case.      For the Redeemer Committee and

     25    Crusader Fund, do we have Ms. Mascherin and her team?




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       1   (Pause.)    Okay.   We're -- if -- you must be on mute.

       2              MS. MASCHERIN:    Your Honor, I apologize.

       3              THE COURT:    Okay.   Go ahead.

       4              MS. MASCHERIN:    I apologize, Your Honor.    I was on

       5   mute and could not figure out how to unmute myself quickly.

       6   Terri Mascherin; Jenner & Block; on behalf of the Redeemer

       7   Committee.

       8              THE COURT:    All right.    Good morning.

       9        All right.     What about Acis?   Do we have Ms. Patel and

      10   others for the Acis team?

      11              MS. PATEL:    Good morning, Your Honor.     Rakhee Patel

      12   on behalf of Acis Capital Management.

      13              THE COURT:    Good morning.

      14        All right.     Mr. Clubok, I see you there for the UBS team,

      15   correct?

      16              MR. CLUBOK:    Yes.   Good morning, Your Honor.

      17              THE COURT:    Good morning.

      18        All right.     For Patrick Daugherty, I think I see Mr.

      19   Kathman out there, correct?

      20              MR. KATHMAN:    Good morning, Your Honor.    Jason

      21   Kathman on behalf of Patrick Daugherty.

      22              THE COURT:    All right.    Good morning.

      23        All right.     What about HarbourVest?   Anyone on the line

      24   for HarbourVest?

      25              MS. WEISGERBER:    Good morning, Your Honor.       Erica




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       1   Weisgerber for HarbourVest.

       2              THE COURT:    All right.   Very good.

       3        All right.   Well, I'll now, I guess, turn to some of the

       4   Objectors that I haven't hit yet.      Who do we have appearing

       5   for Mr. Dondero this morning?

       6              MR. TAYLOR:    Good morning, Your Honor.    Clay Taylor

       7   of the law firm of Bonds Ellis Eppich Schaefer & Jones

       8   appearing on behalf of Mr. Dondero.      I have with me, of

       9   course, Mr. Dondero, who is in the room with me.        Dennis

      10   Michael Lynn, John Bonds, and Bryan Assink are also appearing

      11   on behalf of Mr. Dondero.

      12              THE COURT:    All right.   Thank you, Mr. Taylor.

      13        All right.   For the Dugaboy Trust and Get Good Trust, do

      14   we have Mr. Draper and others?

      15              MR. DRAPER:    Yes, Your Honor.   This is Douglas Draper

      16   on the line.

      17              THE COURT:    All right.   Good morning.

      18              MR. DRAPER:    Good morning, Your Honor.

      19              THE COURT:    All right.   What about what I'll call

      20   Highland Fund, the Highland Funds and Advisors?       Do we have

      21   Mr. Rukavina this morning, or who do we have?

      22              MR. RUKAVINA:    Your Honor, good morning.    Davor

      23   Rukavina and Julian Vasek for the Funds and Advisors.         I can

      24   make a full appearance, but it's the parties listed on Docket

      25   1670.




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       1               THE COURT:   All right.    Thank you, Mr. Rukavina.

       2        All right.   What about --

       3               MR. HOGEWOOD:   Your Honor?

       4               THE COURT:   Go ahead.

       5               MR. HOGEWOOD:   Your Honor, Lee Hogewood.    I'm sorry,

       6   Your Honor.    Lee Hogewood is also here on behalf of the same

       7   parties.

       8               THE COURT:   All right.    Thank you, sir.

       9        All right.   What about NexPoint Real Estate Partners, HCRE

      10   Partners?

      11               MS. DRAWHORN:   Good morning, Your Honor.    Lauren

      12   Drawhorn with Wick Phillips on behalf of NexPoint Real Estate

      13   Partners, LLC.    I'm also here on behalf of the NexPoint Real

      14   Estate entities which are listed on Docket 1677, and NexBank,

      15   which is -- their objection is 1676.

      16               THE COURT:    All right.    Thank you.

      17        All right.   Let's cover some of the employees.      I think I

      18   see Ms. Smith out there.     Are you appearing for Mr. Ellington

      19   and Mr. Leventon?

      20               MS. SMITH:   Yes, Your Honor.    Frances Smith with Ross

      21   & Smith, along with Debra Dandeneau of Baker McKenzie, on

      22   behalf of Scott Ellington, Isaac Leventon, Thomas Surgent, and

      23   Frank Waterhouse.

      24               THE COURT:   All right.    Could you spell the last name

      25   of your co-counsel from Baker McKenzie?       I didn't clearly get




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       1   that.

       2              MS. SMITH:   Yes, Your Honor.       It's Debra Dandeneau,

       3   D-A-N-D-E-N-N-A-U [sic].

       4              THE COURT:   Okay.   Thank you.

       5        All right.   CLO Holdco, do we have you appearing this

       6   morning?

       7              MR. KANE:    Your Honor, John Kane on behalf of CLO

       8   Holdco.

       9              THE COURT:   Thank you, Mr. Kane.

      10        All right.   I know we had a different group of current or

      11   former employees -- Brad Borud, Jack Yang -- and some joining

      12   parties:   Kauffman, Travers, Deadman.       Who do we have

      13   appearing for those?      (Pause.)   Anyone?    If you're appearing,

      14   we're not hearing you.     Go ahead.

      15              MR. KATHMAN:    Good morning, Your Honor.     Jason

      16   Kathman.   I represent Mr. Deadman, Mr. Travers, and Mr.

      17   Kauffman as well.

      18              THE COURT:   Okay.   Thank you.      And I can't remember

      19   who represents Mr. Borud and Yang.      Someone separately.

      20              MR. KATHMAN:    It's Mr. Winikka, Your Honor.

      21              THE COURT:   Oh, Mr. Winikka.

      22              MR. KATHMAN:    And I haven't scrolled through to see

      23   whether he's with -- in the 120 people signed in this morning.

      24   But I believe that objection has been resolved.         I think Mr.

      25   Pomerantz will probably address that later.         So Mr. Winikka




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       1   may not be appearing.

       2               THE COURT:   Okay.   All right.   Well, anyone for the

       3   IRS?

       4               MR. ADAMS:   Good morning, Your Honor.    David Adams,

       5   Department of Justice, on behalf of the United States and its

       6   agency, the Internal Revenue Service.

       7               THE COURT:   Thank you, Mr. Adams.

       8          For the U.S. Trustee, who do we have appearing this

       9   morning?    (No response.)    I'm not hearing you.    If you're

      10   trying to appear, you must be on mute.        (No response.)    All

      11   right.    Well, I suspect at some point we'll hear from the U.S.

      12   Trustee, even though I don't hear anyone now.

      13          At this point, I will open it up to anyone else who wishes

      14   to appear who I failed to call.

      15               MS. MATSUMURA:   Your Honor, this is Rebecca Matsumura

      16   from King & Spalding representing Highland CLO Funding, Ltd.

      17   Thank you.

      18               THE COURT:   All right.   Thank you, Ms. Matsumura.

      19   HCLOF.

      20          Anyone else?

      21               MR. HELD:    Your Honor, this is Michael Held with the

      22   law firm of Jackson Walker, LLP on behalf of the office

      23   landlord, Crescent TC Investors, LP.

      24               THE COURT:   All right.   Thank you, Mr. Held.

      25               MR. HELD:    Thank you, Your Honor.




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       1              THE COURT:   Okay.   Any other lawyer appearances?

       2        All right.    Well, again, if there's anyone out there who

       3   did not get to appear, maybe we'll hear from you at some point

       4   as the day goes on.

       5        All right.    Mr. Pomerantz, this is an important day,

       6   obviously.    How did you want to begin things?

       7              MR. POMERANTZ:    So, Your Honor, I have a brief

       8   opening to talk about what I plan to do, and a little more

       9   lengthy opening, and it'll be come clear.       So if I may

      10   proceed, Your Honor?

      11              THE COURT:   You may.

      12              MR. POMERANTZ:    Your Honor, we're here to request

      13   that the Court confirm the Debtor's Fifth Amended Plan of

      14   Reorganization, as modified.       The operative documents before

      15   Your Honor are the Fifth Amended Plan, as modified, that was

      16   filed along with our pleadings in support of confirmation on

      17   January 22nd and the minor amendments that we filed on

      18   February 1st.

      19        Here is my proposal on how we can proceed this morning.          I

      20   would intend to provide the Court with an opening statement

      21   that would last approximately 20 minutes.       And then after any

      22   other party who desires to make an opening statement, I would

      23   propose that the Debtor put on its evidence that it intends to

      24   rely on in support of confirmation.      The evidence consists of

      25   the exhibits that the Debtor filed with its witness and




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       1   exhibit list on January 22nd and certain amendments that we

       2   filed yesterday.

       3        We would also put on the testimony of the following

       4   witnesses:    Jim Seery, the Debtor's chief executive officer,

       5   who Your Honor is very familiar with, and also a member of

       6   Strand's board of directors; John Dubel, a member of Strand's

       7   board of directors; and Mark Tauber, a vice president with Aon

       8   Financial Services, the Debtor's D&O broker.

       9        We have also submitted the declaration of Patrick Leatham,

      10   who is with KCC, the Debtor's balloting agent.        And we don't

      11   intend to put Mr. Leatham on the stand, but he is available on

      12   the WebEx for cross-examination, to the extent necessary.

      13        I propose that I would leave the bulk of my argument,

      14   which includes going through the Section 1129 requirements for

      15   plan confirmation, as well as responding to the remaining

      16   outstanding objections, until my closing argument.

      17        With that, Your Honor, I will pause and ask the Court if

      18   Your Honor has any questions before I proceed.

      19              THE COURT:   I do not have questions, so your method

      20   of going forward sounds appropriate.      You may go ahead.

      21              MR. POMERANTZ:    Thank you, Your Honor.

      22                OPENING STATEMENT ON BEHALF OF THE DEBTOR

      23              MR. POMERANTZ:    As I indicated, Your Honor, we stand

      24   here side by side with the Creditors' Committee asking that

      25   the Court confirm the Debtor's plan of reorganization.




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       1        As Your Honor is well aware, this case started in December

       2   in -- October 2019, was transferred to Your Honor's court in

       3   December 2019, and has been pending for approximately 15

       4   months.

       5        On January 9, 2020, I stood before Your Honor seeking the

       6   approval of the independent board of directors of Strand, the

       7   general partner of the Debtor, pursuant to a heavily-

       8   negotiated agreement with the Committee.       And as the Court has

       9   remarked on occasions throughout the case, the economic

      10   stakeholders in this case believed that the installation of a

      11   new board consisting of highly-qualified restructuring

      12   professionals and a bankruptcy judge, a former bankruptcy

      13   judge, was far more attractive than the alternative, which was

      14   appointment of a trustee.     And upon approval of the

      15   settlement, members of the board -- principally, Mr. Seery --

      16   testified that one of the board's goals was to change the

      17   culture of litigation that plagued Highland in the decade

      18   before filing and threatened to embroil the Debtor in

      19   continued litigation if changes were not made.

      20        And as Your Honor is well aware, the last 14 months have

      21   not been easy.    The board took its role as an independent

      22   fiduciary extremely seriously, much to the consternation of

      23   the Committee at times, and more recently, to the

      24   consternation of Mr. Dondero and his affiliated entities.

      25        And what has the Debtor, under the leadership of the




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       1   board, been able to accomplish during this case?       The answer

       2   is a lot more than many parties believed when the board was

       3   installed.

       4        The Debtor reached a settlement with the Redeemer

       5   Committee, resolving disputes that had been litigated for many

       6   years, in many forums, and that resulted in an arbitration

       7   award that was the catalyst for the bankruptcy filing.

       8        Participating in a court-ordered mediation at the end of

       9   August 2020 and September, the Debtor reached agreement with

      10   Acis and Josh Terry.     The Court is all too familiar with the

      11   years of disputes between the Debtor and Acis and Josh Terry,

      12   which spanned arbitration proceedings and an extremely

      13   combative Chapter 11 that Your Honor presided over.

      14        The Debtor next reached an agreement with HarbourVest

      15   regarding their assertion of over $300 million of claims

      16   against the estate.     The HarbourVest litigation stemmed from

      17   its investment in the Acis CLOs and would have resulted in

      18   complex, fact-intensive litigation which would have forced the

      19   Court to revisit many of the issues addressed in the Acis

      20   case.

      21        And perhaps most significantly, Your Honor, the Debtor was

      22   able to resolve disputes with UBS, disputes which took the

      23   most time of any claim in this case, through a contested stay

      24   relief motion, a hotly-contested summary judgment motion, and

      25   a Rule 3018 motion.




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       1         While the Debtor and UBS hoped to file a 9019 motion prior

       2   to the commencement of the hearing, they were not able to do

       3   so.   However, I am now in a position to disclose to the Court

       4   the terms of the settlement, which is the subject of

       5   documentation acceptable to the Debtor and UBS.       The

       6   settlement provides for, among other things, the following

       7   terms:

       8         UBS will receive a $50 million Class 8 general unsecured

       9   claim against the Debtor.

      10         UBS will receive a $25 million Class 9 subordinated

      11   general unsecured claim against the Debtor.

      12         UBS will receive a cash payment of $18.5 million from

      13   Multi-Strat, which was a defendant and the subject of

      14   fraudulent transfer claims.

      15         The Debtor will use reasonable efforts to assist UBS to

      16   collect its Phase I judgment against CDL Fund and assets CDL

      17   Fund may have.

      18         The parties will also agree to mutual and general

      19   releases, subject to agreed carve-outs.

      20         And, of course, the parties will not be bound until the

      21   Court approves the settlement pursuant to a 9019 motion we

      22   would hope to get on file shortly.

      23         I am also pleased to let the Court know -- breaking news

      24   -- that this morning we reached an agreement to settle Patrick

      25   Daugherty's claims.     I would now like to, at the request of




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       1   Mr. Kathman, read into the record the Patrick Daugherty

       2   settlement.

       3       Under the Patrick Daugherty settlement, Mr. Daugherty will

       4   receive a $750,000 cash payment on the effective date.        He

       5   will receive an $8.25 million general unsecured claim, and he

       6   will receive a $2.75 million Class 9 subordinated claim.

       7       The settlement of all claims against the Debtor and its

       8   affiliates -- and affiliates will be defined in the documents

       9   -- with the exception of the tax claim against the Debtor, Mr.

     10    Dondero, and Mr. Okada -- and for the avoidance of doubt,

     11    except as I describe below, nothing in the settlement is

     12    intended to affect any pending litigation Mr. Daugherty has

     13    against Mr. Dondero, Scott Ellington, Isaac Leventon, Marc

     14    Katz, Michael Hurst, and Hunton Andrew Kurth.

     15        Mr. Daugherty will release the Debtor and its affiliates

     16    and current employees for all claims and causes of action,

     17    except for the agreements I identify below, and dismiss all

     18    current employees as to pending actions.      We believe this only

     19    applies to Thomas Surgent and no other employee is implicated.

     20        Mr. Surgent and other employees, including but not limited

     21    to David Klos, Frank Waterhouse, Brian Collins, Lucy Bannon,

     22    and Matt Diorio, will receive releases similar to the covenant

     23    in Paragraph 1D of the Acis settlement agreement, which

     24    essentially provided the release would go away if they

     25    assisted anyone in pursuing claims against Mr. Daugherty.




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       1        Highland and the above-mentioned parties will accept

       2   service of any subpoenas and acknowledge the jurisdiction of

       3   the Delaware Chancery Court for the purposes of accepting any

       4   subpoenas.    And for the avoidance of doubt, Highland will

       5   accept service on behalf of the employees only in their

       6   capacity as such.

       7        Highland will also use material -- will use reasonable

       8   efforts at no material cost to assist Daugherty in vacating a

       9   Texas judgment that was issued against him.       We've also looked

      10   at a form of the motion and believe we have agreed on the form

      11   of the motion.

      12        Highland, its affiliates, and current employees will

      13   covenant and agree they will not pursue or seek to enforce the

      14   injunction and the Texas judgment against Daugherty.

      15        And lastly, Daugherty will not be able to settle any

      16   claims for negligence or other claims that might be subject to

      17   indemnification by the Debtor or any successor.

      18        Accordingly, Your Honor, other than the claims of Mr.

      19   Dondero and his related entities, and the unliquidated claims

      20   of certain employees, substantially all claims have been

      21   resolved in this case, a truly remarkable achievement.

      22        Separate and apart, Your Honor, from the work done

      23   resolving the claims, the Debtor, under the direction of the

      24   independent board, has worked extremely hard to develop a plan

      25   of reorganization.




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       1        After the independent board got its bearings, it started

       2   to work on various plan alternatives.      And the board received

       3   a lot of pressure from the Committee to go straight to a plan

       4   seeking to monetize assets like the one before Your Honor

       5   today.   However, the board believed that before proceeding to

       6   do so and go down an asset monetization path, it should

       7   adequately diligence all alternatives, including a

       8   continuation of the current business model, a reorganization

       9   sponsored by Mr. Dondero and his affiliates, a sale of the

      10   Debtor's assets, including a sale to Mr. Dondero.

      11        In June 2020, plan negotiations proceeded in earnest, and

      12   the Debtor started to negotiate an asset monetization plan

      13   with the Committee, while still pursuing other alternatives.

      14        Preparation of an asset monetization plan is not typically

      15   a complicated process.     However, creating the appropriate

      16   structure for a business like the Debtor's was extremely

      17   complicated, because of the contractual, regulatory, tax, and

      18   governance issues that had to be carefully considered.

      19        At the same time the Committee negotiations were

      20   proceeding down that path, Mr. Seery continued to spend

      21   substantial time trying to negotiate a grand bargain plan with

      22   Mr. Dondero.    It is not an exaggeration to say that over the

      23   last several months Mr. Seery has dedicated hundreds of hours

      24   towards a potential grand bargain plan.

      25        And why did he do it?     Because he has always believed that




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       1   a global restructuring among all parties was the best

       2   opportunity to fully and finally resolve the acrimony that

       3   continued to plague the Debtor.

       4        Notwithstanding Mr. Seery's and the independent board's

       5   best efforts, they were not able to reach consensus on a grand

       6   bargain plan, and the Debtor filed the plan, the initial plan,

       7   on August 12th, which ultimately evolved into the plan before

       8   the Court today.

       9        The Court conducted an initial hearing on the disclosure

      10   statement on October 27th, and then ultimately approved -- the

      11   Court approved the disclosure statement at a hearing on

      12   November 23rd.

      13        While the Debtor continued to work towards resolving

      14   issues with the Committee with the filed plan, Mr. Dondero,

      15   beginning to finally see that the train was leaving the

      16   station, started to do whatever he could to get in the way of

      17   plan confirmation.

      18        He objected to the Acis settlement.      When his objection

      19   was overruled, he filed an appeal.

      20        He objected to the HarbourVest settlement.       When his

      21   objection was overruled, he had Dugaboy file an appeal.

      22        He started to interfere with the Debtor's management of

      23   its CLOs, stopping trades, refusing to provide support, and

      24   threatening Mr. Seery and the Debtor's employees.

      25        He had his Advisors and Funds that he owned and controlled




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       1   file motions that Your Honor said was a waste of time.

       2          He had those same Funds and Advisors threaten to terminate

       3   the Debtor as a manager, in blatant violation of the Court's

       4   January 9, 2020 order.

       5          His conduct was so egregious that it warranted entry of a

       6   temporary restraining order and preliminary injunction against

       7   him.    And of course, he has appealed that ruling as well.

       8          But that was not all.   He brazenly threw out his phone, in

       9   what the Court has remarked was spoliation of evidence, and he

      10   violated the TRO in other ways, actions for which he will

      11   answer for at the contempt hearing scheduled later this week.

      12          And, of course, he and his pack of related entities have

      13   filed a series of objections.     We have received 12 objections

      14   to the plan, Your Honor, excluding three joinders.       And as I

      15   mentioned, we have been pleased to report that we've been able

      16   to resolve six of them:     those of the Senior Employees, those

      17   of Patrick Daugherty, those of CLO Holdco, those of the IRS,

      18   those of Texas Taxing Authorities, and those of Jack Young and

      19   Brad Borud.

      20          The CLO Holdco objection was withdrawn in connection with

      21   the settlement reached with them in connection with the

      22   preliminary injunction hearing that the Court heard -- started

      23   to hear last week.

      24          The Taxing Authorities' objections have been resolved by

      25   the Debtor agreeing to make certain modifications to the plan




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       1   that were included in our filing yesterday and to include

       2   certain provisions in the confirmation order to address other

       3   concerns.

       4        The group of employees who are referred to as the Senior

       5   Employee are comprised of four individuals -- Frank

       6   Waterhouse, Thomas Surgent, Scott Ellington, and Isaac

       7   Leventon -- although Mr. Ellington and Mr. Leventon are no

       8   longer employed by the Debtor.

       9        On January 22nd, Your Honor, we filed executed

      10   stipulations with Frank Waterhouse and Thomas Surgent.         These

      11   stipulations were essentially the Senior Employee stipulations

      12   that were referred to in the plan and the disclosure

      13   statement.

      14        And as part of those stipulations, the Debtor, in

      15   consultation with and agreement from the Committee, agreed to

      16   certain modifications of the prior version of the Senior

      17   Employee stipulation with both Mr. Waterhouse and Mr. Surgent

      18   that effectively reduced the compensation they needed to

      19   provide for the release from 40 percent to five percent of

      20   their claims.

      21        The Debtor and the Committee believed the resolution with

      22   Mr. Surgent and with Mr. Waterhouse was fair, given the

      23   importance of these two people to the transition effort and

      24   the increased reliance upon them that the Debtor would have

      25   with the departure of Mr. Ellington and Mr. Leventon.         And as




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       1   a result of that agreement, Your Honor, on January 27th, Mr.

       2   Waterhouse and Mr. Surgent withdrew from the Senior Employee

       3   objection.

       4        Subsequently, we reached agreement with Mr. Ellington and

       5   Mr. Leventon to resolve the objections they raised with

       6   confirmation.    And at Ms. Dandeneau's request, I would like to

       7   read into the record the agreement reached with both of them,

       8   and I know she will correct me if I get anything wrong.

       9              THE COURT:   Okay.

      10              MR. POMERANTZ:   Among other things, Mr. Ellington and

      11   Mr. Leventon asserted in their objection that they were

      12   entitled to have their liquidated bonus claims treated as

      13   Class 7 convenience claims under the plan, under their reading

      14   of the plan, and their understanding of communications with

      15   Mr. Seery.    The Debtor disputed the entitlement to elect Class

      16   7 based upon the terms of the plan, the disclosure statement,

      17   and applicable law.     But as I said, the parties have resolved

      18   this dispute.

      19        Mr. Ellington asserts liquidated bonus claims in the

      20   aggregate amount of $1,367,197, which, to receive convenience

      21   class treatment under anybody's analysis, would have had to be

      22   reduced to a million dollars.

      23        Mr. Leventon asserts a liquidated bonus claim in the

      24   amount of $598,198.

      25        If Mr. Ellington and Mr. Leventon were entitled to be




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       1   included in the convenience class, as they claimed, they would

       2   be entitled to receive 85 percent of their claim as and when

       3   the claims were allowed under the plan.

       4        To settle the dispute regarding whether, in fact, they

       5   would be entitled to the convenience class treatment, they

       6   have agreed to reduce the percentage they would otherwise be

       7   entitled to receive from 85 percent to 70.125 percent.         And as

       8   a result, Mr. Ellington's Class 7 convenience claim would be

       9   entitled to receive $701,250 if allowed, and Mr. Leventon's

      10   Class 7 convenience claim would be entitled to receive

      11   $413,175.10 if allowed.

      12        Mr. Ellington and Mr. Leventon would reserve the right to

      13   assert that a hundred percent of their liquidated bonus claims

      14   are entitled to administrative priority, and the Debtor, the

      15   Committee, the estate and their successors, would reserve all

      16   rights to object.

      17        If anyone did object to the allowance of the liquidated

      18   bonus claims and Mr. Ellington and/or Mr. Leventon prevailed

      19   in such disputes, then the discount that was previously agreed

      20   to -- 85 percent to 70.125 percent -- would go away and they

      21   would be entitled to receive the full 85 percent payout as

      22   essentially a penalty for litigating against them on their

      23   allowed claims and losing.

      24        As an alternative to the estate preserving the right to

      25   object to the allowance of Mr. Ellington and Mr. Leventon's




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       1   liquidated bonus claims, the Debtor and the Committee have an

       2   option to be exercised before the effective date to just agree

       3   that both their claims will be allowed, and allowed as Class 7

       4   convenience claims.     And if that agreement was reached, then

       5   the amount of such liquidated bonus claims, they would receive

       6   a payment equal to 60 percent of their allowed convenience

       7   class claim.

       8        In exchange, Mr. Ellington and Mr. Leventon would waive

       9   their right to assert payment of a hundred percent of their

      10   liquidated bonus claims as an administrative expense.

      11        So, under this circumstance, Mr. Ellington would receive

      12   an allowed claim of $600,000, which is 60 percent of a million

      13   dollars, and Mr. Leventon will receive a payment on account of

      14   his Class 7 claim of $358,918.80.

      15        Under both scenarios, Mr. Ellington and Mr. Leventon would

      16   preserve their paid time off claims that are treated in Class

      17   6, and they would preserve their other claims in Class 8,

      18   largely unliquidated indemnification claims, subject to the

      19   rights of any party in interest to object to those claims.

      20        Mr. Ellington will change his vote in Class 8 from

      21   rejecting the plan to accepting the plan, and Mr. Leventon

      22   would change his votes in Class 8 and Class 7 from rejecting

      23   the plan to accepting the plan.      And Mr. Ellington and Mr.

      24   Leventon would withdraw any remaining objections to

      25   confirmation of the plan, and we intend to put this settlement




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       1   in the confirmation order.

       2        Your Honor, six objections to the plan remain outstanding.

       3   One objection was filed by the Office of the United States

       4   Trustee, and the remaining five objections are from Mr.

       5   Dondero and his related entities.     And I would like to put up

       6   a demonstrative on the screen which shows how all of these

       7   objections lead back to Jim Dondero.

       8              THE COURT:   All right.

       9              MR. POMERANTZ:   You see on the top left, Your Honor,

      10   there's a box in white that says A through E, which are the

      11   five remaining objections.     And you can see how they relate.

      12   But all of it goes back to that orange box in the middle, Jim

      13   Dondero.

      14        These objections, which I will address in my closing

      15   argument in detail, are not really focused on concerns that

      16   creditors are being treated unfairly, and that's because Mr.

      17   Dondero and his entities don't really have any valid claims.

      18   Mr. Dondero owns no equity in the Debtor.      He owns the

      19   Debtor's general partner, Strand, which in turn owns a quarter

      20   percent of the total equity in the Debtor.      Mr. Dondero's only

      21   other claim is a claim for indemnification.      And as Your Honor

      22   would expect, the Debtor intends to fight that claim

      23   vigorously.

      24        Dugaboy and Get Good have asserted frivolous

      25   administrative and unsecured claims, which I will discuss in




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       1   more detail later.

       2       Dugaboy does have an equity interest in the Debtor, but it

       3   represents eighteen-hundredths of a percent of the Debtor's

       4   total equity.

       5       And Mr. Rukavina's clients similarly have no general

       6   unsecured claims against the Debtor.     Either his clients did

       7   not file proofs of claim or filed claims and then agreed to

       8   have them expunged.    The only claims that his clients assert

       9   is a disputed administrative claim filed by NexPoint Advisors.

     10        And the objections aren't legitimately concerned about the

     11    post-confirmation operations of the estate, to preserve equity

     12    value, how much people are getting, whether Mr. Seery is

     13    really the right person to run these estates.      That's because

     14    Mr. Dondero has repeatedly told the Court that he believes his

     15    offer, which doesn't come close to satisfying claims in full

     16    in this case, is for fair value and that creditors, who are

     17    owed more than $280 million, will not receive anywhere close

     18    to the amount of their claims.

     19        Rather, Mr. Dondero and his entities are concerned with

     20    one thing and one thing only:     how to preserve their rights to

     21    continue their frivolous litigation after confirmation against

     22    the independent directors, the Claimant Trustee, the

     23    Litigation Trustee, the employees, the Claimant Trust

     24    Oversight Board, and anyone who will stand in their way.        For

     25    Mr. Dondero, the decision is binary:     Either give him what he




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       1   wants, or as he has told Mr. Seery, he will burn down the

       2   place.

       3        Your Honor will hear a lot of argument today about how the

       4   -- and tomorrow, in closing -- about how the injunction, the

       5   gatekeeper, and the exculpation provisions of the plan are not

       6   appropriate under applicable law.      The Debtor, of course,

       7   disagrees with these arguments, and I will address them in

       8   detail in my closing argument.

       9        But I do think it's important to focus the Court at the

      10   outset on the January 9, 2020 order that the Court entered

      11   which addressed some of these issues.      This order, which has

      12   not been appealed, which was actually agreed to by Mr.

      13   Dondero, has no expiration by its terms and will continue

      14   post-confirmation, did some things that the Objectors just

      15   refuse to recognize and accept.

      16        It approved an exculpation for negligence for the

      17   independent directors and their agents.       It provided that the

      18   Court would be the gatekeeper to determine whether any claims

      19   asserted for them -- against them for gross negligence and

      20   willful misconduct could be pursued, and if so, provided that

      21   this Court would have exclusive jurisdiction to adjudicate

      22   those claims.    And it prevented Mr. Dondero and his related

      23   entities from causing any related entity to terminate any

      24   agreements with the Debtor.

      25        I also note, Your Honor, that the Court's July 16, 2020




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       1   order approving Mr. Seery as chief executive officer and chief

       2   restructuring officer included the same exculpation and

       3   gatekeeping provision as contained in the January 29th --

       4   January 9th order.

       5        Your Honor, we have all come too far to allow Mr. Dondero

       6   to make good on his promise to Mr. Seery to burn down the

       7   place if he didn't get what he wanted.      The Debtor deserves

       8   better, the creditors deserve better, and this Court deserves

       9   better.

      10        That concludes my opening argument, Your Honor.

      11              THE COURT:   All right.   Thank you.    I had one follow-

      12   up question about the Daugherty settlement.       You did not

      13   mention, is it going to be reflected in the confirmation

      14   order, is it going to be the subject of a 9019 motion, or

      15   something else?

      16              MR. POMERANTZ:   It'll be subject to a -- it'll be

      17   subject to a 9019 motion, Your Honor.

      18              THE COURT:   All right.

      19              MR. POMERANTZ:   I apologize for leaving that out.

      20              THE COURT:   All right.   Thank you.    Well, --

      21              MR. KATHMAN:   Your --

      22              THE COURT:   -- I appreciate that you stuck closely to

      23   your 20-minute time estimate.

      24        As far as other opening statements today, I'm going to

      25   start with the objections that were resolved.       Mr. Kathman, I




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       1   see you there.    Who will speak on behalf of Patrick Daugherty

       2   and the announced settlement?

       3            OPENING STATEMENT ON BEHALF OF PATRICK DAUGHERTY

       4              MR. KATHMAN:   Good morning, Your Honor.     Jason

       5   Kathman on behalf of Mr. Daugherty.

       6        Mr. Pomerantz correctly recited the bullet points of the

       7   settlement that we agreed to in principle this morning.          There

       8   was one that he did leave off that I do want to make sure that

       9   I mention and that it's read into the record.       And he read at

      10   the top end that Mr. Daugherty does maintain his ability to

      11   pursue his 2008 tax refund bonus claim, or tax refund

      12   compensation claim.     If the Court will recall, there's a

      13   contingent liability out there based on how compensation was

      14   paid back in 2008 that's the subject of an IRS audit.         And so

      15   the settlement expressly contemplates that those -- that that

      16   claim will be preserved and Mr. Daugherty may pursue that

      17   claim.   Should the IRS have an adverse ruling and we have to

      18   pay money back, we get to preserve that claim.

      19        And so the one thing that is preserved, Your Honor -- and

      20   the same way that Mr. Pomerantz read verbatim the words, I'm

      21   going to read verbatim the words that we've agreed to:

      22   Daugherty maintains and may pursue the 2008 tax refund

      23   compensation portion of his claim that is currently a disputed

      24   contingent liability.     The Debtor and all successors reserve

      25   the right to assert any and all defenses to this portion of




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       1   the Daugherty claim.      The litigation of this claim shall be

       2   stayed until the IRS makes a final determination, provided,

       3   however, Daugherty may file a motion with the Bankruptcy Court

       4   seeking to have the amount of his tax claim determined for

       5   reservation purposes as a "disputed claim" under the Debtor's

       6   plan.   The Debtor and all successors reserve the right to

       7   assert any and all defenses to any such motion.

       8        So the Debtor's plan says that they can make estimations

       9   for disputed claims.      There is not currently something

      10   reserving this particular claim, so we wanted to make sure we

      11   reserve our rights to be able to have that amount reserved

      12   under the Debtor's plan.      And the Debtor obviously preserves

      13   their ability to object to that.

      14        With that, Your Honor, it is going to be papered up in a

      15   9019, and we'll have some further things to say at the 9019

      16   hearing, but didn't want to derail the Debtor's confirmation

      17   hearing this morning.

      18              THE COURT:   All right.   And --

      19              MR. POMERANTZ:    And Mr. Kathman is -- Mr. Kathman is

      20   correct.    I neglected to mention that provision, but he is --

      21   he read it, and that's agreed to.

      22              THE COURT:   All right.   And I did not hear anything

      23   about Mr. Daugherty's vote on the plan.       Is there an agreement

      24   to change or a motion to change the vote from no to yes?

      25              MR. KATHMAN:    Your Honor, that wasn't, I think,




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       1   directly -- and Mr. Pomerantz can correct me if I'm wrong, or

       2   Mr. Morris, actually, probably more could -- that wasn't

       3   directly addressed, but I think the answer to that is probably

       4   they don't need our vote.

       5               THE COURT:   Okay.

       6               MR. KATHMAN:   I think they have enough votes in that

       7   class to carry.

       8               THE COURT:   Okay.

       9               MR. KATHMAN:   But the answer directly is that that

      10   wasn't specifically addressed one way or the other.

      11               THE COURT:   All right.

      12               MR. POMERANTZ:   That is correct, Your Honor.     We

      13   would, of course, not oppose Mr. Daugherty changing his vote,

      14   but as Your Honor saw in the ballot summary, we are way over

      15   the amount in dollar amounts of claims.       But if they wanted to

      16   change their vote, we wouldn't oppose.

      17               THE COURT:   All right.    Well, --

      18               MR. KATHMAN:   Your Honor, I have -- I have the

      19   benefit of Mr. Daugherty.        He is on -- I should note, Mr.

      20   Daugherty is on the hearing this morning.         He just let me know

      21   that he is willing to change his vote.       If the Debtor were to

      22   so make a motion, we're fine changing our vote to in favor of

      23   the plan.

      24               THE COURT:   All right.    All right.   Well, we'll get

      25   the ballot agent declaration or testimony later.        At one time




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       1   when I had checked, there was a numerosity problem but not a

       2   dollar amount problem.       And it sounds like that is no longer

       3   an issue, perhaps because of the employee votes, or I don't

       4   know.

       5        But, all right.     Well, thank you.

       6               MR. POMERANTZ:    Your Honor, there is still a

       7   numerosity problem.

       8               THE COURT:   Okay.

       9               MR. POMERANTZ:    There's not a dollar amount problem.

      10               THE COURT:   Okay.

      11               MR. POMERANTZ:    But we'll address that and cram-down

      12   in closing.

      13               THE COURT:   All right.   Very good.

      14        All right.    Well, I want to hear from the -- what we've

      15   called the Senior Employee group.       Is Ms. Dandeneau going to

      16   confirm the announcement of Mr. Pomerantz?

      17               MS. DANDENEAU:    Yes, Your Honor.   I confirm that Mr.

      18   Pomerantz's recitation of the terms to which we've agreed is

      19   accurate.

      20               THE COURT:   All right.   Very good.

      21        All right.    I suppose I should circle back to UBS.      We've,

      22   of course, heard in prior hearings the past few weeks that

      23   there was a settlement with UBS, but Mr. Clubok, could I get

      24   you to confirm what Mr. Pomerantz announced earlier about the

      25   UBS settlement?




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       1              MR. CLUBOK:    Yes.   Good morning again, Your Honor.

       2        Yes, we have reached a settlement, and it's just -- and

       3   it's been approved internally at UBS and obviously by the

       4   Debtor.    It's just subject to the final documentation.       And we

       5   are working very closely with the Debtor to try to do that as

       6   quickly as possible.

       7              THE COURT:    All right.   Thank you.

       8        All right.   Well, let me go, then, to other opening

       9   statements.    Is there anyone else who at this time wishes to

      10   make an opening statement?       And, you know, for the pending

      11   objectors, please, no more than 20 minutes.

      12              MR. CLEMENTE:    Your Honor?   Your Honor, if I may,

      13   it's Matt Clemente on behalf of the Committee.

      14              THE COURT:    Okay.

      15              MR. CLEMENTE:    I'd be very brief, but I would like to

      16   make some remarks to Your Honor.       It'll be less than five

      17   minutes.

      18              THE COURT:    All right.   Go ahead.

      19              MR. CLEMENTE:    Thank you, Your Honor.

      20    OPENING STATEMENT ON BEHALF OF THE UNSECURED CREDITORS' COMMITTEE

      21              MR. CLEMENTE:    Again, for the record, Matt Clemente;

      22   Sidley Austin; on behalf of the Official Committee of

      23   Unsecured Creditors.

      24        Your Honor, to be clear, the Committee fully supports

      25   confirmation of the Debtor's plan and believes the plan is




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       1   confirmable and should be confirmed.

       2        Although it has taken us quite some time to get to this

       3   point, Your Honor, and as Mr. Pomerantz referred, the Debtor's

       4   business is somewhat complex, the plan is remarkably

       5   straightforward, Your Honor, and has only been made

       6   complicated by the various objections filed by Mr. Dondero's

       7   tentacles.

       8        At bottom, Your Honor, the plan is designed to recognize

       9   the reality of the situation that the Committee has

      10   continually been expressing to Your Honor, and that is the

      11   overwhelming amount of creditors in terms of dollars are

      12   litigation creditors, creditors who are here entirely because

      13   of the fraudulent and other conduct of Mr. Dondero and his

      14   tentacles.

      15        The other third-party creditors, Your Honor, by and large

      16   are those collateral to these litigation claims in terms of

      17   true trade creditors and service providers.

      18        Recognizing this fact, Your Honor, the plan contains an

      19   appropriate convenience class, which, in the Committee's view,

      20   provides a fair way to capture a large number of claims and

      21   appropriately recognizes the distinction between those claims

      22   and the large litigation claims.      And the holders of these

      23   large litigation claims, including now Mr. Daugherty, have

      24   voted in favor of allowing this convenience class treatment.

      25        Your Honor, after distributions are made to the




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       1   administrative creditors, the priority creditors, the secured

       2   creditors, and the convenience creditors, the remainder goes

       3   to general unsecured creditors who will control how this value

       4   is realized.    These are the large litigation creditors.

       5        Additionally, Your Honor, recognizing the possibility of

       6   recovery in excess of general unsecured claims plus interest,

       7   and to thwart, from the Committee's perspective, what would

       8   have undoubtedly been an argument by one of the Dondero

       9   tentacles that the general unsecured creditors could be paid

      10   more than they are owed, the plan provides for a contingent

      11   interest to kick in after payment in full for interests of all

      12   prior claims.

      13        Your Honor, this is the sum and substance of the plan.           At

      14   bottom, fairly straightforward.      And the true creditors, Your

      15   Honor, have voted overwhelmingly in favor of the plan.         Class

      16   8 has voted to support the plan.      Class 7 has voted to accept

      17   the plan.   And now I believe, with Mr. Daugherty's settlement,

      18   one hundred percent in amount of Class 8, non-insider, non-

      19   Dondero-controlled or (audio gap) have voted in favor of the

      20   plan.

      21        To be clear, as Your Honor pointed out and as Mr.

      22   Pomerantz referenced, there is not numerosity in Class 8, Your

      23   Honor, but that is driven, as Your Honor will see, from

      24   approximately 30 no-votes of current employees who the

      25   Committee believes are not owed any amounts and therefore they




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       1   will not be receiving payments under the plan, yet they voted

       2   against the plan.    So although we have a technical cram-down

       3   plan from the Class 8 perspective, Your Honor, the plan voting

       4   reflects the reality that the economic parties in interest

       5   overwhelmingly support the plan.

       6        So, Your Honor, cutting through the machinations of the

       7   Dondero tentacles, we do have a fairly straightforward plan

       8   and a plan that the Committee believes is confirmable and

       9   should be confirmed.

      10        Your Honor, since I've been in front of you for over a

      11   year now, I've referred to the goals of the Committee in this

      12   case, and the goals are straightforward in terms of expressing

      13   them but can be difficult in reality to implement them.         The

      14   Committee's goals have been two-fold:      to maximize the value

      15   of the estate and therefore the recoveries for its

      16   constituency, and to disentangle from the Dondero (audio gap).

      17        As with all things Highland, although these goals are

      18   straightforward, they're remarkably difficult to achieve,

      19   given the Dondero tentacles.      However, the Committee strongly

      20   believes the plan achieves these two goals.

      21        First, the plan provides a credible path to maximize

      22   recovery with Mr. Seery, who has gotten to know the assets and

      23   who has performed skillfully and credibly throughout this very

      24   difficult process.     It is a difficult set of assets and

      25   complex set of assets, as Your Honor knows very well.




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       1        To be sure, there is uncertainty associated with the

       2   Debtor's projections, but that is inherent in the nature of

       3   the assets of the Debtor, and frankly, is inherent in the

       4   nature of projections themselves.      And Mr. Dondero and his

       5   tentacles will point to the downside, potentially, in those

       6   projections, but the Court will be reminded that there is also

       7   potential upside in those projections, an upside that would

       8   inure to the benefit of the general unsecured claims.

       9        Second, Your Honor, although it is seemingly impossible to

      10   free yourself from the Dondero web until every single one of

      11   the 2,000 barbed tentacles is painfully removed, if that's

      12   even possible, Your Honor, the Reorganized Debtor, the

      13   Claimant Trust, the Claimant Trustee, the Litigation Sub-

      14   Trust, the Litigation Trustee, and the Oversight Board

      15   construct and mechanisms is a structure that the Committee

      16   believes provides the creditors with the best possibility to

      17   do so, and that is to deal with what will undoubtedly be a

      18   flurry of attacks from Mr. Dondero and his tentacles.

      19        This is a virtual certainty, Your Honor.       The creditors

      20   have seen this movie before and Your Honor has seen this movie

      21   before.   They have seen Mr. Dondero make and break promises.

      22   They have seen Mr. Dondero attempt to bludgeon adversaries

      23   into submission in order to accept his offerings, and they

      24   have heard Mr. Dondero say that which he has said in this

      25   court during the preliminary injunction hearing --




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       1   specifically, that the Debtor's plan "is going to end up in a

       2   myriad of litigation."

       3        The creditors are steeled in their will to be rid of Mr.

       4   Dondero, and they're confident in this structure to do so.

       5        To be clear, Your Honor, what is before the Court today

       6   for confirmation is the Debtor's plan, not some other plan

       7   that no one supports other than Mr. Dondero and his tentacles.

       8   The question isn't whether Mr. Dondero has a better proposal

       9   -- and footnote, Your Honor, the answer is he does not, both

      10   from a qualitative and quantitative perspective -- but whether

      11   the plan before the Court is in the best interest of creditors

      12   and should be confirmed.     The Committee strongly believes it

      13   is, and should, and all the Committee members support

      14   confirmation of the Debtor's plan.

      15        Recognizing Mr. Dondero's behavior, Your Honor, and

      16   threats regarding how he will behave in the future, there are

      17   certain provisions in the plan that are of critical importance

      18   to the creditors.    Of course, all provisions in the plan are

      19   extremely important, Your Honor, but as Mr. Pomerantz

      20   referenced, the creditors need the gatekeeper, exculpation,

      21   and injunction provisions.

      22        The reason is obvious, and is emphasized by the

      23   supplemental objection filed just yesterday by some of Mr.

      24   Dondero's tentacles -- namely, the Dugaboy and the Get Good

      25   Trusts.   And I quote, Your Honor:     "It is virtually certain




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       1   that, under the Debtor's plan, there will be years of

       2   litigation in multiple adversary proceedings, appeals, and

       3   collection activities, all adding substantial uncertainty and

       4   delay."

       5        Additionally, Your Honor has seen from the proceedings in

       6   this case and has expressed frustration at numerous times at

       7   the myriad and at times baseless and borderline frivolous and

       8   out of touch with reality suits and objections and proceedings

       9   that the Dondero tentacles bring.     The creditors need the

      10   gatekeeper, exculpation, and injunction provisions to preserve

      11   and protect value.     And the record, I think, to this point is

      12   clear, and will be further made clear through the confirmation

      13   proceedings, that the protections are appropriate and entirely

      14   within this Court's authority to grant.

      15        In sum, Your Honor, the Committee fully supports

      16   confirmation of the plan.     The Committee believes it is

      17   confirmable and should be confirmed, and two classes of

      18   creditors and the overwhelming amount of creditors in terms of

      19   dollars agree.

      20        That's it, Your Honor.    Unless you have questions for me,

      21   I have nothing further at this time.

      22             THE COURT:    All right.   Thank you, Mr. Clemente.

      23             MR. CLEMENTE:    Thank you, Your Honor.

      24             THE COURT:    All right.   Who else wishes to be heard?

      25             MR. DRAPER:    Your Honor, this is Douglas Draper.      I'd




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       1   like to be heard.    I have a few -- I'll take five minutes, at

       2   most --

       3               THE COURT:    All right.   Go ahead.

       4               MR. DRAPER:    -- and just focus on a few things.

       5    OPENING STATEMENT ON BEHALF OF THE GET GOOD TRUST AND DUGABOY

       6                              INVESTMENT TRUST

       7               MR. DRAPER:    I'm going to focus my opening remarks on

       8   the releases, the exculpations, and channeling injunctions in

       9   the plan.    I'm not waiving my other objections, but, rather,

      10   trying not to subject the Court to hearing the same argument

      11   from multiple lawyers.

      12        The good thing about the law is that it's absolute in

      13   certain respects.    It does not matter who is asserting a legal

      14   protection, the law applies it.        For example, a serial killer

      15   is entitled to a Miranda warning and a protection against

      16   unlawful search and seizure.      The law does not allow tainted

      17   evidence or an unlawful admission into evidence,

      18   notwithstanding the fact that the lack of admission of that

      19   evidence may lead to the freeing of that serial killer.

      20        Today, you must make an independent evaluation as to

      21   whether the plan complies with 1129 and applicable law.         The

      22   decision must be made notwithstanding the fact that it is

      23   being made by a Dondero entity.        It's not being -- it must be

      24   applied notwithstanding the fact that it's being made by me.

      25        We contend that the plan does not meet the hurdle and




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       1   confirmation should be denied, notwithstanding the fact that

       2   the infirmity with the plan is asserted by me and

       3   notwithstanding the fact that Mr. Pomerantz and the unsecured

       4   creditors have overwhelming support.

       5        We all know 1141, the Barton Doctrine, and 544 -- 524

       6   provide injunctions and protections for certain parties

       7   associated with the Debtor.     Had the plan merely referenced

       8   these sections and stated that the injunction, et cetera,

       9   shall not exceed those allowed pursuant to Pacific Lumber, I

      10   would not be making this argument.

      11        Instead, we see a plan that has a definition of Exculpated

      12   Parties, Released Parties, Related Parties, that exceed the

      13   protections afforded by the Bankruptcy Code, the Barton

      14   Doctrine, and 524.

      15        We have a grant of jurisdiction and oversight that exceeds

      16   that allowed under Craig's Store, the Craig's Store line of

      17   cases.

      18        We have releases of claims against non-debtor parties,

      19   such as Strand, who is, under the Bankruptcy Code, under 723,

      20   liable for the debts of the Debtor.

      21        The plan, with its expansive releases, released parties,

      22   grant of injunctions, exculpations and channeling injunctions,

      23   are impermissible under Fifth Circuit case law.       And I would

      24   ask the Court to look closely at those definitions, who is --

      25   who the law allows to be exculpated and released and who the




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       1   law specifically prohibits being exculpated and released, and,

       2   in fact, apply the Pacific Lumber line of -- case, as well as

       3   524 and the Bankruptcy Code when you look at these issues.

       4        Notwithstanding the overwhelming so-called support by the

       5   creditors at issue, the law must be applied, and it must be

       6   applied pursuant to what the Fifth Circuit requires.

       7               THE COURT:   All right.   Thank you, Mr. Draper.

       8        Other Objectors with opening statements?

       9               MR. RUKAVINA:   Your Honor, Davor Rukavina.       Briefly?

      10               THE COURT:   Okay.

      11       OPENING STATEMENT ON BEHALF OF CERTAIN FUNDS AND ADVISORS

      12               MR. RUKAVINA:   Your Honor, I represent various funds,

      13   including three of which have independent boards.        The Debtor

      14   manages more than $140 million of those funds, and the Debtor

      15   manages around a billion dollars in CLOs.

      16        Whether I am a tentacle of Mr. Dondero or not -- I'm not,

      17   since there's an independent board -- the fact remains that

      18   the Debtor wants to manage these assets and my clients' money

      19   post-assumption and post-confirmation with effective judicial

      20   immunity.    So our fundamental problem with this plan is the

      21   assumption of those contracts under 365(c) and (b).           I think

      22   we'll have to wait for the evidence to see what the Debtor

      23   proposes and has, and I will reserve, I guess, the balance of

      24   my arguments on that to closing, depending on what the

      25   evidence is.




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       1        But I don't want the Court to lose sight of the fact that

       2   what the Debtor wants to do is, in contravention of our

       3   desires, continue managing our assets post-confirmation, even

       4   as it liquidates, just to make a buck.       It's our money, Your

       5   Honor, and whether we're Dondero or not, we're a couple

       6   hundred million, probably, or more, of third-party investment

       7   professionals, pension funds, et cetera, and we should not be

       8   all tainted without evidence as a tentacle of someone whom,

       9   I'll remind everyone here, built a multi-billion dollar

      10   company and made a lot of money for people.

      11        The second objection, Your Honor, goes to the Class 8

      12   rejection.    It sounds like there's still a problem with the

      13   number of creditors, even though certain creditors have

      14   switched their votes.     That raises now the fair and equitable

      15   standard, together with the undue discrimination and the

      16   absolute priority rule.     I think we'll have to let the

      17   evidence play out, and I'll reserve the balance of my closing

      18   or the balance of my remarks to closing on that issue.

      19        The third issue, Your Honor, is the same exculpation and

      20   release and injunction provisions that Mr. Draper raised.

      21   Those are legal matters that I'll discuss at closing, but I do

      22   note that the Debtor purports to prevent my clients from

      23   exercising post-assumption post-confirmation rights, period.

      24   And that's just inappropriate, because if the Debtor wants the

      25   benefits of these agreements, well, then of course it has to




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       1   comply with the burdens.     And to say a priori that anything

       2   that my clients might do post-confirmation would be the result

       3   of a bad-faith Mr. Dondero strategy, there's no basis for that

       4   and that's not the basis on which my clients' rights in the

       5   future, when there is no bankruptcy estate and there is no

       6   bankruptcy jurisdiction, can be enjoined.

       7        And the final point, Your Honor, entails this channeling

       8   injunction.    I'll talk about it during closing.      It is

       9   inappropriate under 28 U.S.C. 959.      This is not a Barton

      10   Doctrine trustee issue, this is a debtor-in-possession, and a

      11   channeling injunction, the Court will have no jurisdiction

      12   post-confirmation.

      13        Thank you, Your Honor.

      14              THE COURT:    All right.   Thank you.

      15        Does Mr. Dondero's counsel have an opening statement?

      16              MR. TAYLOR:    I do, Your Honor.   I'll keep it brief.

      17   This is Clay Taylor on behalf of Mr. Dondero.

      18              THE COURT:    Okay.

      19            OPENING STATEMENT ON BEHALF OF JAMES D. DONDERO

      20              MR. TAYLOR:    Your Honor, the plan is clear in some

      21   respects, and I'm not going to belabor these points, as other

      22   objecting counsel have already addressed this.       But the plan

      23   does provide for non-debtor releases, and it provides for non-

      24   debtor releases for parties beyond that which is allowed by

      25   Pacific Lumber and under the Code.




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       1        It also provides for exculpations of non-debtor parties in

       2   excess of that which is allowed under the Code and applicable

       3   case law.

       4        Finally -- or, not finally, but third, it requires this

       5   Court to keep a broad retention of post-confirmation

       6   jurisdiction that could go on for years, and that is improper.

       7        Finally, it requires the parties to submit to the

       8   jurisdiction of this Court via a channeling injunction, which

       9   we believe is beyond that which is allowed under applicable

      10   Fifth Circuit precedent.

      11        What is clear, what the evidence will show -- and I

      12   thought it was interesting that none of the proponents of plan

      13   confirmation ever talk about what the evidence is going to

      14   show.    They testified a lot before Your Honor, but they didn't

      15   ever talk about what the evidence would show.       What the

      16   evidence will show is this plan was solicited via a disclosure

      17   statement that told all the unsecured creditors, we project

      18   that you're going to receive 87 cents on the dollar on your

      19   claim.

      20        About two months later, and this was Friday of this past

      21   week, they changed those projections, and those projections

      22   then showed unsecured creditors, under a plan analysis, that

      23   they were going to receive 62 cents on the dollar.        That is in

      24   contrast to the liquidation analysis that had been prepared

      25   just two months prior showing that, under a hypothetical




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       1   Chapter 7 liquidation analysis, that the unsecured creditors

       2   would receive 65 cents on the dollar.      Obviously, 62 cents is

       3   less than 65 percent.

       4        Realizing they had a problem, I guess, over the weekend,

       5   they changed last night, the night before confirmation, and

       6   sent us some new projections that now show that the unsecured

       7   creditors under a plan would receive 71 cents on the dollar.

       8        Your Honor, what the evidence will show, and it is

       9   Highland's burden to show this, is that -- that they meet the

      10   best interests of the creditors.      And part of that is that

      11   they will do better under a plan rather than under a

      12   hypothetical Chapter 7.

      13        Quite simply, they don't have the evidence, nor have they

      14   done the analysis to be able to prove that to this Court.

      15        What the evidence will also show is clear is that Mr.

      16   Seery, under the plan analysis, is scheduled to receive at

      17   least $3.6 million over just the first two years of this plan

      18   if it doesn't go any further.      And that's just for monthly

      19   payouts of $150,000 per month.      That's not including a to-be-

      20   agreed-upon success fee structure, which hasn't been

      21   negotiated yet.    And if it hasn't been negotiated yet, it

      22   can't be analyzed yet to see if those costs would exceed their

      23   benefits and therefore drive the return down such that a

      24   hypothetical Chapter 7 trustee could do better.

      25        There is also going to be additional costs for the




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       1   Litigation Trustee and the fees that they are going to charge.

       2   There's going to be an Oversight Committee, and those fees are

       3   also to be negotiated.     There's also U.S. Trustee fees, which

       4   Mr. Seery tells us that he has calculated within the

       5   liquidation and plan analysis numbers, albeit both myself and

       6   Mr. Draper, as the evidence will show, have asked for the

       7   rollups that come behind the liquidation and plan analysis in

       8   each instance of the three iterations that have been done in

       9   two months, and we have been denied that information.         That

      10   evidence is not going to come in before this Court, and

      11   without that rollup information, this Court can't make an

      12   independent verification that this meets the best interests of

      13   the creditor and better than a hypothetical Chapter 7 trustee.

      14        What the evidence will also show, make an assumption that,

      15   under a plan analysis, that Mr. Seery will be able to generate

      16   higher returns on the sale of the assets of the Highland

      17   debtor and its subsidiaries, to the neighborhood of $60

      18   million higher.    There is no independent verification of this.

      19   There has been no due diligence done.      It was merely an

      20   assumption done by Mr. Seery and his advisors, and we submit

      21   that they will not have the evidence to show that they can

      22   beat a Chapter 7 trustee.

      23        This Court does have an alternative before it.       There is

      24   an alternative plan that has been filed under seal.       The Court

      25   is aware of it.    And it guarantees that creditors will receive




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       1   at least 65 cents on the dollar.        Moreover, those claims are

       2   guaranteed -- and they're going to be secured that they will

       3   be paid that money.

       4              MR. POMERANTZ:    Your Honor, this is under -- this is

       5   under seal.    And I never interrupt somebody's argument, but

       6   this plan is under seal for a reason, Your Honor, and I object

       7   to any description of the terms of a plan that's not before

       8   Your Honor and is under seal.

       9              THE COURT:    Okay.    I sustain that objection.

      10              MR. TAYLOR:    Your Honor has a means to cut the

      11   Gordian knot of the litigation and appeals before it and to

      12   ensure that there is certainty for creditors.       It would

      13   massively reduce the administrative fee burn that is

      14   contemplated under the proposed plan before the Court.         As

      15   I've mentioned, it's at least $3.6 million just in monthly

      16   fees for Mr. Seery alone.        All of the rest of the fees are yet

      17   to be determined and to be negotiated.       I don't see how any

      18   analysis could have been done regarding the administrative fee

      19   burn that is going to happen over the two years and

      20   potentially much further as this case draws on.

      21        For those reasons alone, Your Honor, we believe that the

      22   plan confirmation should be denied and this Court should look

      23   at the alternatives before it.

      24              MR. KATHMAN:    Can I say something before --

      25              MR. TAYLOR:    Thank you, Your Honor.




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       1              THE COURT:   All right.   Thank you.

       2        All right.    Have I missed any Objectors?

       3              MR. KATHMAN:    Your Honor?

       4              MS. DRAWHORN:    Yes, Your Honor.

       5              THE COURT:   Okay.   Ms. --

       6              MR. KATHMAN:    Your Honor, if I could spend just one

       7   minute, and I -- we -- I -- we filed a joinder on behalf of

       8   Mr. -- or, Jason Kathman on behalf of Davis Deadman, Todd

       9   Travers, and Paul Kauffman.

      10              THE COURT:   Uh-huh.

      11      OPENING STATEMENT ON BEHALF OF DAVIS DEADMAN, TODD TRAVERS,

      12                              AND PAUL KAUFFMAN

      13              MR. KATHMAN:    Mr. Pomerantz had noted, I think, at

      14   the front end that the Debtor amended their plan that resolved

      15   those objections.    I just want to say for the record that

      16   those had been resolved.

      17        And with that, Your Honor, may I be dismissed?

      18              THE COURT:   Yes, you may.    Thank you.

      19              MR. KATHMAN:    Thank you, Your Honor.

      20              THE COURT:   All right.   Was Ms. Drawhorn speaking up

      21   to make an opening statement?

      22              MS. DRAWHORN:    Yes.

      23              THE COURT:   Go ahead.

      24              MS. DRAWHORN:    Yes, Your Honor.

      25              THE COURT:   Go ahead.




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       1          OPENING STATEMENT ON BEHALF OF THE NEXPOINT PARTIES

       2              MS. DRAWHORN:    Just very briefly, Lauren Drawhorn on

       3   behalf of NexPoint Real Estate Partners, the NexPoint Real

       4   Estate entities, and NexBank.

       5        Just a very brief opening.     Just wanted to note that it

       6   seems that the Debtor's and the Committee's position seems to

       7   be if there's some way, any way, to connect an entity to Mr.

       8   Dondero, then they don't need to perform any true evaluation

       9   of potential claims or that party's rights or their concerns,

      10   and that results in ignoring not only the merits of many

      11   claims but also the basic requirements of due process and the

      12   statutes, the Bankruptcy Code, and the case law.

      13        We filed objections that were focused largely on the

      14   injunctions and the releases, and then also the proposed

      15   subordination provisions.

      16        Two of my clients, one of them has a proof of claim, and

      17   while it is being disputed, that claim is out there and should

      18   get -- be entitled to be pursued and defended, and many of the

      19   injunctions appear to prevent my client from doing so.

      20        Similarly, it was mentioned that NexBank, in the

      21   demonstrative, had a terminated service agreement, but there's

      22   periods of time for which no services were provided but

      23   payment was made, and that's a potential admin claim that has

      24   been raised.    And the injunction, again, appears to prevent my

      25   clients from pursuing these claims.




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       1          So I think, despite the general response to any connection

       2   to Dondero means there's no merit, that's not what we're here

       3   for today.       We need to really look at the merits of all

       4   potential claims and all -- the rights of all parties and the

       5   -- how the injunction and release provisions prevent that and

       6   how they don't comply with the required law.

       7          And, of course, we join in with many of the other

       8   objections, but that's my main point for the opening today.

       9                  THE COURT:    All right.   Thank you.

      10          All right.    I think I have covered all of the at least

      11   pending objections except the U.S. Trustee.            I'll check again

      12   to see if someone is out there for the U.S. Trustee.           (No

      13   response.)       All right.     If you're there, we're not hearing

      14   you.    You're on mute.

      15          Okay.    Any other attorneys out there who wish to make an

      16   opening statement?

      17          All right.    Well, I'll turn back to Mr. Pomerantz.       You

      18   may call your first witness.

      19                  MR. POMERANTZ:    Okay.    I will turn the virtual podium

      20   over to my partner, John Morris, who will be putting on our

      21   witnesses.

      22                  THE COURT:    All right.   Mr. Morris, you may call your

      23   first witness.

      24                  MR. MORRIS:    Good morning, Your Honor.    John Morris

      25   from Pachulski Stang Ziehl & Jones on behalf of the Debtor.




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       1   Can you hear me okay?

       2              THE COURT:    I can.

       3              MR. MORRIS:    Okay.    Thank you very much.

       4        The Debtor calls James Seery as its first witness.

       5              THE COURT:    All right.     Mr. Seery, if you could say,

       6   "Testing, one, two," please.

       7              MR. SEERY:    Testing, one, two.

       8              THE COURT:    All right.    Hmm, I've not picked up your

       9   video yet.    Let's try it again.

      10              MR. SEERY:    Testing, one, two.    Testing.

      11              MR. MORRIS:    We have the audio.

      12              THE COURT:    We have the audio.

      13              MR. SEERY:    Oh.

      14              MR. MORRIS:    There we go.

      15              THE COURT:    There you are.

      16              MR. SEERY:    The video should be working.

      17              THE COURT:    All right.

      18              MR. POMERANTZ:      Yeah.   Actually, one -- Your Honor,

      19   one thing before we start.        We have Patrick Leatham from KCC.

      20   He is prepared to sit on the line for the whole day until his

      21   time comes.    I would just like to know if anyone intends to

      22   cross-examine him or object to his declaration.        Because if

      23   they don't, we could excuse Mr. Leatham.

      24              THE COURT:    All right.    What about that?   Anyone

      25   want to cross-examine the balloting agent?




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       1               MR. RUKAVINA:    Your Honor, Davor Rukavina.      I do not.

       2   If the Debtor would just state, with the change of votes in

       3   Class 8, what the final tally is, I see no reason to dispute

       4   that, and then we can dismiss this gentleman.         But I do think

       5   that we should all know, with the change of votes, what it now

       6   is.

       7               THE COURT:    All right.

       8               MR. POMERANTZ:   We will -- we will work on that, Your

       9   Honor, with the changes as a result of the settlements today,

      10   and including Mr. Daugherty's client.          We can get that

      11   information sometime today.

      12               THE COURT:    All right.   So, Mr. Rukavina, do you

      13   agree that he can be excused with that representation, or do

      14   you want --

      15               MR. RUKAVINA:    Yes, Your Honor.

      16               THE COURT:    Okay.   All right.    So, it's Mr. Leatham?

      17   You are excused if you want to drop off this video.

      18         All right.   Mr. Seery, please raise your right hand.

      19                 JAMES P. SEERY, DEBTOR'S WITNESS, SWORN

      20               THE COURT:    All right.   Thank you.    Mr. Morris, go

      21   ahead.

      22               MR. MORRIS:    Thank you, Your Honor.

      23         If I may, I'd like to just begin by moving my exhibits

      24   into evidence so that it'll make this all go a little bit

      25   smoother.




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       1              THE COURT:    All right.

       2              MR. MORRIS:    And if you'll indulge me just a little

       3   patience, please, because the Debtor's exhibits are found in

       4   three separate places.

       5              THE COURT:    Uh-huh.

       6              MR. MORRIS:    And I would just take them one at a

       7   time.

       8        First, at Docket No. 1822, the Court will find Debtor's

       9   Exhibits A through what I'm referring to as 6Z.       Six Zs.     So

      10   the Debtor respectfully moves into evidence Exhibits A through

      11   6Z on Docket No. 1822.

      12              THE COURT:    All right.   Are there any objections?

      13              MR. RUKAVINA:    Your Honor, I have a number of

      14   targeted objections to all of the exhibits.       Did I hear Mr.

      15   Morris say 6Z?

      16              THE COURT:    Yes.

      17              MR. MORRIS:    Yes.

      18              MR. RUKAVINA:    Or six -- then, Your Honor, I can go

      19   through my limited objections, if that pleases the Court.

      20              THE COURT:    All right.   Go ahead.

      21              MR. RUKAVINA:    Your Honor, Exhibit B, a transcript, B

      22   as in boy.    Exhibit D, an email, D as in dog.     Exhibit E as in

      23   Edward.   Moving on, Your Honor, 4D as in dog.      4E as in

      24   Edward.

      25              MR. MORRIS:     Slow down, please.




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       1              THE COURT:    Okay.

       2              MR. RUKAVINA:    I'm sorry.

       3              THE COURT:    You said 4D as in dog, correct?

       4              MR. RUKAVINA:    Then -- yes, Your Honor.     Then 4E as

       5   in Edward.

       6              THE COURT:    Okay.

       7              MR. RUKAVINA:    4G as in George.      Your Honor, one,

       8   two, three, four, five T.        5T as in Tom.   And then, Your

       9   Honor, one, two -- 6R.      6S.   6T as in Tom.    And 6U as in

      10   under.   That's it.

      11              THE COURT:    All right.    Well, Mr. Morris, do you want

      12   to carve those out for now and just offer them the old-

      13   fashioned way and I can rule on the objections then?

      14              MR. MORRIS:     Why don't we do that?     I may just deal

      15   with it at the end of the case.       But subject to those

      16   objections, the Debtor then moves into evidence the balance of

      17   the exhibits on Docket 1822.

      18              THE COURT:    All right.    So, for the record, the Court

      19   will admit all exhibits at Docket No. 1822 at this time except

      20   B, D, E, 4D, 4E, 4G, 5T, 6R, 6S, 6T, and 6U.

      21        (Debtor's Docket 1822 exhibits, exclusive of Exhibits B,

      22   D, E, 4D, 4E, 4G, 5T, 6R, 6S, 6T, and 6U, are received into

      23   evidence.)

      24              THE COURT:    All right.    Mr. Morris, continue.

      25              MR. MORRIS:    Thank you, Your Honor.




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       1        Next, at Docket 1866, you'll find Debtor's Exhibits 7A

       2   through 7E, and the Debtor respectfully moves those dockets --

       3   documents into evidence.

       4               THE COURT:    All right.   Any objection?   (No

       5   response.)    Are there any objections?

       6               MR. RUKAVINA:    Your Honor, not from -- not from me.

       7               THE COURT:    All right.   Hearing no objections, the

       8   Court will admit all Debtor exhibits appearing at Docket Entry

       9   No. 1866.

      10               MR. MORRIS:    Thank you, Your Honor.

      11        (Debtor's Docket 1866 exhibits are received into

      12   evidence.)

      13               MR. MORRIS:    And finally, at Docket 1877, the Court

      14   will find Debtor's Exhibits 7F through 7Q, and the Debtor

      15   respectfully moves for the admission of those documents into

      16   evidence.

      17               THE COURT:    All right.   Any objection?

      18               MR. RUKAVINA:    Your Honor, I might have to talk about

      19   this with Mr. Morris, but I have 7F as any document entered in

      20   the case, 7G as any document to be filed, et cetera.          Mr.

      21   Morris, am I wrong about that?

      22               MR. MORRIS:    I don't have that list in front of me.

      23   So I'll reserve on those documents and we can talk about them

      24   at a break, Your Honor.

      25               THE COURT:    All right.




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       1              MR. DRAPER:    Your Honor, this is Douglas Draper.      I

       2   object, and I don't have the number in front of me, it's the

       3   liquidation analysis and the plan summary.       It's a summary

       4   exhibit, and we've not been given the underlying documentation

       5   with respect to them.     I'd ask Mr. Morris to deal with that

       6   separately also.

       7              MR. MORRIS:    All right.   Well, we're certainly going

       8   to be moving that into evidence, so we can deal with that at

       9   the time, Your Honor.

      10              THE COURT:    Okay.    Which documents are they?   Which

      11   exhibits are those?

      12              MR. DRAPER:    I don't have the number in front -- Mr.

      13   Morris, do you have the number for that exhibit?

      14              MR. MORRIS:    I do, but why don't we just deal with it

      15   when I -- when I get into --

      16              THE COURT:    Okay.

      17              MR. MORRIS:    -- into the testimony?

      18              THE COURT:    I just wanted the record clear what I am

      19   admitting at this time at Docket Entry No. 1877.       Or do you

      20   want to just --

      21              MR. MORRIS:    Okay.

      22              THE COURT:    -- hold all those --

      23              MR. MORRIS:    Mr. Rukavina, other than F and G, which

      24   you noted, is there any objection to any of the other

      25   documents on that witness and exhibit list?




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       1               MR. RUKAVINA:    Well, I also have H as impeachment/

       2   rebuttal, I as any document offered by any other party.             So I

       3   would suggest, Mr. Morris, that I have my associate confirm

       4   that I have the right -- the right stuff here, and we can take

       5   it up maybe during a break.        But I have F, G, H, I as so-

       6   called catchalls, not any discrete exhibits.

       7               MR. MORRIS:    All right.    All right, Your Honor.

       8   Let's, let's just proceed.         We've got -- we took care of

       9   Docket No. 1822 and 1866, and the balance we'll deal with at a

      10   break, --

      11               THE COURT:    All right.

      12               MR. MORRIS:     -- unless they come up through

      13   testimony.

      14               THE COURT:    All right.    That sounds good.

      15               MR. MORRIS:    Okay.    Thank you very much.    May I

      16   proceed?

      17               THE COURT:    You may.

      18               MR. MORRIS:    Okay.

      19                             DIRECT EXAMINATION

      20   BY MR. MORRIS:

      21   Q    Good morning, Mr. Seery.

      22   A    (no response)

      23   Q    Can you hear me?

      24   A    Apologies.    I went on mute.      Can you hear me now?   I

      25   apologize.




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       1   Q    Yes.    Good morning.

       2                MR. MORRIS:    So, let's begin, Your Honor, with just a

       3   little bit of background of Mr. Seery and how he got involved

       4   in the case.

       5   BY MR. MORRIS:

       6   Q    Mr. Seery, what's your current position with the Debtor?

       7   A    I am the CEO, the CRO -- the chief restructuring officer

       8   -- as well as an independent director on the Strand Advisors

       9   board of directors.

      10   Q    Okay.

      11                MR. MORRIS:    Your Honor, I'm going to ask Mr. Seery

      12   to describe a bit for his background.        For the record, you'll

      13   find that Exhibits 6X, 6Y, and 6Z, on the Debtor's exhibit

      14   list at Docket 1822, the resumes and C.V.s of the three

      15   independent members of the board.       If Your Honor has any

      16   question about their qualifications and their experience, that

      17   evidence is already in the record.

      18                THE COURT:    Okay.

      19   BY MR. MORRIS:

      20   Q    But Mr. Seery, without going into the detail of everything

      21   that's on your C.V., can you just describe for the Court

      22   generally your professional background, starting, well, with

      23   your time as a lawyer?

      24   A    I've been involved in the restructuring, finance,

      25   investing and managing of assets and banking-type assets for




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       1   over 30 years.

       2        I began in restructuring in real estate.       Became a lawyer,

       3   and was a lawyer in private practice dealing with

       4   restructuring and finance for approximately ten years, in

       5   addition to time before that on the real estate side.

       6        I joined Lehman Brothers on the business side in 1999,

       7   where I immediately began working on the -- with a distress

       8   team as a team member investing off the balance sheet, Lehman

       9   Brothers assets in various types of distressed financing

      10   investments.    Bonds, loans, equities.    In addition, then I

      11   became the head of Lehman's loan business globally.           I ran

      12   that business for the number of years.      Was one of the key

      13   players in selling Lehman Brothers to Barclays in a very

      14   difficult situation and structure.

      15        After that, joined some of my partners, we formed a hedge

      16   fund called RiverBirch Capital, about a billion and a half

      17   dollar hedge fund in -- operating in -- globally, but mostly

      18   U.S. stressed/distressed assets that we invested in.

      19   Oftentimes, though, we would run from high-grade assets all

      20   the way down to equities, different types of investors,

      21   different types of investments.

      22        Thereafter, I left -- was -- joined Guggenheim.          I left

      23   Guggenheim, and shortly thereafter became a director at

      24   Strand.

      25   Q    Prior to acceptance of the positions that you described




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       1   earlier, were you at all familiar with Highland or Mr.

       2   Dondero?

       3   A    Yeah.    I was, yes.

       4   Q    Can you just describe for the Court how you became

       5   familiar with Highland and Mr. Dondero?

       6   A    Highland was a customer of Lehman Brothers, and it was --

       7   particularly in the loan business.          And the CLO businesses.

       8   Highland was run by Mr. Dondero, and I knew of that business

       9   through that --

      10        (Interruption.)

      11                MR. MORRIS:    Can somebody please put their device on

      12   mute?

      13                A VOICE:   That's Mr. Taylor.

      14                THE COURT:    Mr. Taylor, you were off mute,

      15   apparently, for a moment.          Make sure you're staying on mute.

      16   Thank you.

      17                MR. TAYLOR:    Yes.    Sorry, Your Honor.   I thought we

      18   might have a hearsay objection.          I wasn't sure what the answer

      19   was going to be, so I wanted to be prepared to object.

      20                THE COURT:    All right.    Thank you.

      21   BY MR. MORRIS:

      22   Q    Did you know or meet Mr. Dondero in the course of what you

      23   just described?

      24   A    Yes, I did.    I believe we met once or twice over the

      25   years.   There was a senior team member who handled the




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       1   Highland relationship.      He was quite good, quite experienced,

       2   and he handled most of the Highland relationship issues.         But

       3   Highland, we came across a number of times, whether it be in

       4   -- I came across a number of times, whether it be in specific

       5   investments we had where they would be either a competing

       6   party or holding a similar interest, whether they were a

       7   customer purchasing loans or securities, whether they were a

       8   potential CLO customer where we were structuring some assets

       9   for them.

      10   Q    Okay.   And who are the two other members of the

      11   independent board at Strand?

      12   A    John Dubel and Russel Nelms.

      13   Q    And had you had any personal experience with either of

      14   those gentleman prior to this case?

      15   A    I knew of Mr. Nelms and his experience as a bankruptcy

      16   judge in the Northern District of Texas, and I had worked on

      17   one matter with Mr. Dubel, but very, very briefly, while he

      18   was the CEO of FGIC, which is a large insurer in the financial

      19   insurance space that he was responsible for reorganizing and

      20   ultimately winding down.

      21   Q    Okay.   How did you learn about this particular case?        How

      22   did you learn about the opportunity or the possibility of

      23   becoming an independent director?

      24   A    Initially, I was contacted by some of the creditors and

      25   asked whether I was interested, and I indicated that I was.




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       1   Subsequently, I received a call from the Debtor's

       2   representatives as well meeting the counsel as well as the

       3   financial advisor as well as specific members of the Debtor's

       4   senior management.

       5   Q    Do you know how long in advance of the January 9th

       6   settlement you were first contacted?

       7   A    Probably four, four or five days at the most, but started

       8   working immediately at that time because it was a pretty

       9   complicated matter and the interview process would be quick

      10   because of the hearing date that was coming up.

      11   Q    Do you recall the names of any of the creditors who

      12   reached out to you?

      13   A    I spoke to counsel for UBS.     Certainly, Committee counsel.

      14   I don't recall if I spoke to anybody from Jenner Block in the

      15   initial interview.    And then I spoke to representatives from

      16   your firm as well as Mr. Leventon and ultimately Mr.

      17   Ellington.

      18   Q    Did you do any due diligence before accepting the

      19   appointment?

      20   A    I did, yes.

      21   Q    Can you describe for the Court the due diligence you did

      22   before accepting your appointment as independent director?

      23   A    Well, I got the petition, I read the petition, as well as

      24   the first day, as well as the venue-changing motion.          In

      25   addition, I went through the schedules.      Ultimately, I took a




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       1   look at and examined the limited partnership agreement of the

       2   Debtor, with particular focus on the indemnity provisions.            I

       3   then sat down with the Committee to get their views as part of

       4   the interview process, as well as the Debtor's counsel and

       5   Debtor's representatives.

       6   Q    Did you -- in the course of your diligence, did you come

       7   to an understanding or did you form a view as to why an

       8   independent board was being sought at that time?

       9   A    Yes, I did.

      10   Q    And what view or understanding did you come to?

      11   A    There was extreme antipathy from the creditors, as

      12   evidenced by the venue motion and the documents around that

      13   venue motion.

      14        In addition, in the first day order, or affidavit, you

      15   could see the issues related to Redeemer and the length of

      16   time that litigation has been gone on, going on.

      17        The creditors became extremely concern with Mr. Dondero

      18   having any control over the operations of the Debtor and

      19   wanted to make sure that either he was removed from that or

      20   that -- and someone else was brought in, or that the case was

      21   somehow taken over by a trustee.

      22   Q    Did you form any views as to the causes of the Debtor's

      23   bankruptcy filing?

      24   A    The initial cause was the entry or the soon-to-be-entered

      25   order related to the arbitration with Redeemer, but it was




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       1   pretty clear from looking at the first day that there was a

       2   number of litigations.     The bulk of the creditor body was made

       3   up of -- on the liquidated side was made up of litigation

       4   creditors.    And then the other creditors, the Committee

       5   members, other than Meta-e, were significant litigation

       6   creditors.

       7              MR. MORRIS:    Your Honor, I think Mr. Seery was sworn

       8   in, but unless -- unless you -- if you think there's a need,

       9   I'm happy to have you swear Mr. Seery in again just to make

      10   sure his testimony is under oath.

      11              THE WITNESS:    I was sworn in.

      12              THE COURT:    Yes, I swore him in.

      13              MR. MORRIS:    That's what I thought.    That's what I

      14   thought.    Somebody had made the suggestion to me, so I was

      15   just trying to make sure, because I didn't want any unsworn

      16   testimony here today.

      17              THE COURT:    We did.

      18              MR. MORRIS:    Okay.

      19              THE COURT:    We did.

      20              MR. MORRIS:    Thank you.   Thank you.

      21   BY MR. MORRIS:

      22   Q    Ultimately, sir, just to move this along a little bit, do

      23   you recall that an agreement was reached with the UCC and Mr.

      24   Dondero and the Debtor concerning governance issues?

      25   A    Yes, I do.




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       1   Q    And did you accept your position as an independent

       2   director at Strand as part of that corporate governance

       3   settlement?

       4   A    That, that was part of the appointment.      We -- the

       5   independent directors were brought in to take -- really, to

       6   take control of the company as independent fiduciaries.         And

       7   the idea, I think, was that there was a Chapter 7 motion that

       8   was about to be filed by the Committee, or at least that was

       9   the representation, and the Debtor had a choice, they could

      10   either accept the independent directors or they could face the

      11   motion.

      12        What actually happened was a little bit more complicated.

      13   The creditors and the Debtor agreed on the selection of Mr.

      14   Dubel and myself.    And then because they couldn't agree on the

      15   third member of the independent board, they left it to Mr.

      16   Dubel and myself to actually come up with a process, interview

      17   candidates, and make that selection, which we did, which

      18   ultimately became Mr. Nelms.

      19   Q    And did all of this take place during that four- or five-

      20   day period prior to January 9th?

      21   A    It did, yes.

      22   Q    Okay.    And let's talk about the makeup of the board.

      23   You've identified the other individuals.       How would you

      24   characterize the skillset and the capability of the

      25   individual?




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       1   A    Well, on paper, I think it's a pretty uniquely-constructed

       2   board for this type of asset management business with the

       3   diversity of these types of assets and the diversity of issues

       4   that we had.

       5        So, former Judge Nelms, obviously skilled in bankruptcy

       6   and the law around bankruptcy, but also very skilled in

       7   mediation, conflict resolution, and in particular his

       8   prepetition or maybe pre-judicial experience in litigation and

       9   litigation involving fiduciary duties we thought could be

      10   very, very important because of the myriad of interrelated

      11   issues that we could see that might arise.

      12        John Dubel is an extremely well-known and respected

      13   restructuring professional.     He has been dealing these kinds

      14   of assignments as an independent fiduciary for, gosh, as long

      15   as I can recall, but at least going back 15 to 20 years.         He

      16   had experience in accounting, but he's also been the leader of

      17   these kinds of organizations going through restructuring in

      18   many operational type roles, and so he was a perfect fit.

      19        And my experience in both restructuring as well as asset

      20   management and investment I think dovetailed nicely with the

      21   experience that Mr. Nelms and Mr. Dubel have.

      22   Q    Okay.   Let's talk for just a moment at a high level of the

      23   agreement that was reached.     Do you remember that there were

      24   several documents that embodied the terms of the agreement?

      25   A    Yes, I do.




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       1   Q    And do you remember one of them was an order that the

       2   Court entered on January 9th?

       3   A    Yes.

       4               MR. MORRIS:   All right.   Your Honor, just for the

       5   record, and we'll be looking at this, but that would be

       6   document Exhibit 5Q as in queen, and that's at Docket No.

       7   1822.

       8   BY MR. MORRIS:

       9   Q    Do you remember there was a separate term sheet, Mr.

      10   Seery, that was also part of the agreement among the

      11   constituents?

      12   A    Yes.   There were -- I think there were a couple of term

      13   sheets and stipulations, but I do recall that there was some

      14   very specific term sheets with the terms.

      15               MR. MORRIS:   All right.   And we'll look at that one

      16   as well, Your Honor, but that can be found at Exhibit 5O as in

      17   Oscar.

      18   BY MR. MORRIS:

      19   Q    And then, finally, do you recall that Mr. Dondero signed a

      20   stipulation that was also part of the agreement?

      21   A    Yes.   That was absolutely key to the agreement for the

      22   creditors and perhaps the Court.       But it was really -- it

      23   needed to be clear that he was signed on to this transaction.

      24               MR. MORRIS:   Okay.   And we'll look at that as well.

      25   That's Exhibit 7Q.    And remind me, we'll move that one into




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       1   evidence.

       2   BY MR. MORRIS:

       3   Q    Did you and the other prospective independent directors

       4   actually participate in the negotiation of any aspect of this

       5   agreement that you've generally described?

       6   A    Absolutely.    Although we hadn't been appointed yet, these

       7   agreements were going to be the structure with which -- or

       8   under which we would come in as independent fiduciaries.         They

       9   would govern a lot of our relationships.       They would provide

      10   for the protections that we required and that I required.          So

      11   they were exceedingly important to me.

      12   Q    Can you describe for the Court at a general level your

      13   understanding of the overall structure of the corporate

      14   governance settlement?

      15   A    From a very high level, the settlement was -- Highland

      16   Capital Partners is a limited partnership.       It's managed by

      17   its general partner, Strand Advisors.      Although Strand is the

      18   GP, its effective interest in Highland is minimal, about .25

      19   percent of the effective partnership interest.       But it is the

      20   general partner.    So it does govern the -- the partnership.

      21        We came in as an independent board that would oversee and

      22   control Strand Advisors and thereby, through the general

      23   partner position, oversee and control HCMLP, the Debtor.

      24        In addition, the Committee then overlaid what we could do

      25   with respect to how we operated the business in the ordinary




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       1   course in Chapter 11 with a specific set of protocols that

       2   governed certain transactions that we would have to get

       3   permission from either the Committee or the Court to engage

       4   in.

       5         And in addition, Mr. Dondero, notwithstanding the

       6   insertion of the independent board at Strand, also had a set

       7   of restrictions around him, because, of course, not only was

       8   he the former control entity at Highland and Strand, he also

       9   had a hundred percent of the ownership -- indirectly, of

      10   course -- of Strand and could have removed the board.         So

      11   there were restrictions around what he could do with respect

      12   to the board.      There were also restrictions around what he

      13   could do through various entities to terminate contracts and

      14   --

      15   Q     All right.    We'll look at some of those in detail.     Did,

      16   to the best of your recollection, did Mr. Dondero give up his

      17   position as president or CEO of the Debtor?

      18   A     He did, yes.

      19   Q     And did he nevertheless stay on as an employee of the

      20   Debtor and retain a position as portfolio manager?

      21   A     He did.   At the last second, I believe it was the night

      22   before, when we were actually in Dallas preparing for the

      23   hearing, but Mr. Ellington raised the concern that if Dondero

      24   was removed from not only the presidency but also the

      25   portfolio management position, potentially there would be some




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       1   agreements that might or might not be subject to Court

       2   approval that could be terminated and value would be lost.           So

       3   this was a very last-second provision.      Obviously, the -- as

       4   new estate fiduciaries, we didn't want value to be lost

       5   instantly for key man or some other reason.       And the Committee

       6   ultimately, or I guess you'd say reluctantly, agreed to that

       7   because we just didn't have time to look at any of -- any such

       8   agreements.

       9              MR. MORRIS:   All right.   Let's -- can we put up on

      10   the screen, Ms. Canty, Debtor's Exhibit 5Q?

      11        And this is in evidence, Your Honor.      This is the January

      12   9th order.

      13        And can we please go to Paragraph 8?

      14   BY MR. MORRIS:

      15   Q    Mr. Seery, you had mentioned just a few minutes ago that

      16   there were certain restrictions that were placed on Mr.

      17   Dondero.   Does Paragraph 8, to the best of your recollection,

      18   provide for the substance of at least some of those

      19   restrictions?

      20   A    It does, yes.

      21   Q    And can you just describe for the Court your understanding

      22   of the restrictions that were imposed on Mr. Dondero pursuant

      23   to Paragraph 8?

      24   A    Well, as I recall, when Mr. Ellington came in with the

      25   last-minute request, the Committee was extremely upset about




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       1   it.   We talked about it.       Obviously, we, as an independent

       2   board that was going to come in, didn't know the underlying

       3   contracts and couldn't really render any judgment as to

       4   whether there would be value lost.         So, the Committee agreed,

       5   but they wanted to make sure that Mr. Dondero still reported

       6   to -- directly to the board, and if the board asked Mr.

       7   Dondero to leave, he would do so.

       8   Q     Okay.    Just looking at this paragraph, is it your

       9   understanding that the scope and responsibilities of Mr.

      10   Dondero would be determined by the board?

      11   A     Yes.

      12   Q     And was it your understanding that Mr. Dondero would serve

      13   without compensation?

      14   A     Yes.

      15                 MR. DRAPER:    Objection.   Leading, Your Honor.

      16                 THE COURT:    Overruled.

      17   BY MR. MORRIS:

      18   Q     Was it your understanding that Mr. Dondero's role would be

      19   subject to the direct supervision, direction, and authority of

      20   the board?

      21   A     That's, you know, that's what the order says and that's

      22   what the agreement was.        In practice, that was really going to

      23   have to evolve because we were coming in very cold and

      24   obviously he'd been there for --

      25         (Interruption.)




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       1               THE COURT:   All right.   Someone needs to put their

       2   phone on mute.    I don't know who it is.

       3   BY MR. MORRIS:

       4   Q    Was it also part of the agreement that Mr. Dondero would

       5   (garbled) upon the board's request?

       6   A    I think I got you, but yes, that's contained in this

       7   paragraph, and Mr. Dondero agreed to that.

       8               THE COURT:   All right.   Whoever LC is, your phone

       9   needs to be put on mute.      Okay.   Please be sensitive to

      10   keeping your device on mute except for Mr. Morris and Mr.

      11   Seery.

      12        All right.   Go ahead.

      13   BY MR. MORRIS:

      14   Q    Do you recall, Mr. Seery, whether there were any

      15   restrictions placed on Mr. Dondero's ability to terminate

      16   agreements with the Debtor?

      17   A    Yes.   That was a very specific provision as well.

      18   Q    Can we take a look at Paragraph 9 below?      Is that the

      19   provision that you're referring to?

      20   A    That's the provision in the order.      I believe there were

      21   other agreements -- certainly, discussion around it -- because

      22   it was an important provision because it had been borne out of

      23   some experience that Acis and Mr. Terry had had in particular.

      24   So it was supposed to be broad and prevent both direct and

      25   indirect termination of agreements.




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       1   Q    Okay.    And do you know, do you recall that the definition

       2   of related entity is contained within the term sheet that you

       3   referred to earlier?

       4   A    It's a pretty extensive -- I recall the definition not

       5   specifically, but it's a pretty extensive definition.         It

       6   includes any of the entities that he owns, that Mr. Dondero

       7   owns, that Mr. Dondero controls, that Mr. Dondero manages,

       8   that Mr. Dondero owns indirectly, that Mr. Dondero manages

       9   indirectly, and it really covers a wide swath of those

      10   entities in which he has interests and control.

      11                MR. MORRIS:   All right.   Let's see if we could just

      12   look at the definition specifically at Exhibit 5O as in Oscar.

      13   And if we could just scroll down to the next page.

      14        Now, this was -- this is part of the term sheet that was

      15   filed at Docket 354.

      16   BY MR. MORRIS:

      17   Q    At Definition I(d), is that the definition of related

      18   entity that you were referring to?

      19   A    That's correct.

      20   Q    Okay.    In addition to what you've described, I think you

      21   also mentioned that there was a separate stipulation that Mr.

      22   Dondero entered into as part of the corporate governance

      23   settlement.     Do I have that right?

      24   A    That's my recollection, yes.       And I believe he signed it,

      25   and that was a key gating issue to the hearing that we had on




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       1   January 9th.

       2   Q      And what do you recall about that document as being a key

       3   gating issue?

       4   A      The key gating issue that I recall is that it had to be

       5   signed.    And I don't believe it was signed until that very

       6   morning.

       7                  MR. MORRIS:    All right.    Can we call up Exhibit 7Q as

       8   in queen?

       9   BY MR. MORRIS:

      10   Q      All right.    Is this the stipulation that you were

      11   referring to?       We can scroll down to any portion you want.

      12   A      I believe that is, yes.

      13                  MR. MORRIS:    Okay.   Can we just scroll down to see

      14   Mr. Dondero's signature?         Yeah.     That's -- okay.

      15          So, that's dated January 9th.         This was filed at Docket

      16   338.    It's on the Debtor's exhibit list as Exhibit 7Q.              And

      17   the Debtor would respectfully move Exhibit 7Q into evidence.

      18                  THE COURT:    Any objection?    All right.    7Q is

      19   admitted.

      20          (Debtor's Exhibit 7Q is received into evidence.)

      21                  MR. MORRIS:    Okay.   And if we could just scroll up a

      22   page or two to the four bullet points.           Yeah, right there.          A

      23   little more.

      24   BY MR. MORRIS:

      25   Q      Okay.    So, do you see Paragraph 10 contains the




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       1   stipulation?

       2   A    Yes.

       3   Q    And as you recall, Mr. Seery, in the events leading up to

       4   the entry of the order approving the settlement, was this one

       5   of the documents that was being negotiated among -- among the

       6   parties?

       7   A    Yes, it was.

       8   Q    Okay.    You mentioned that there were certain provisions of

       9   the January 9th order that were important to you and the other

      10   independent directors.      Do I have that right?

      11   A    Yes.

      12                MR. MORRIS:   Let's see if we can back to Exhibit 5Q,

      13   please, Paragraph 4.

      14   BY MR. MORRIS:

      15   Q    Okay.    Paragraph 4, can you tell me what Paragraph -- what

      16   Paragraph 4 is and why it was important to you?

      17   A    Well, there really were four key, I guess I'll use the

      18   term gating items again, for my involvement, and ultimately in

      19   discussions with Mr. Nelms and Mr. Dondero -- Mr. Dubel, their

      20   involvement in the matter.

      21        Because of the litigious nature of the Highland operations

      22   and the expectations we had for more litigation after taking a

      23   look at the Acis case, we wanted to make sure that, as

      24   independents coming into a situation with really no stake in

      25   the particular outcome, other than trying to achieve a




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       1   successful reorganization, that we were protected.        So, number

       2   one, I looked at the limited partnership agreement.           I wanted

       3   to make sure that the LPA contained broad and at least

       4   standard indemnification provisions and that they would apply

       5   to the board.

       6        Number two, because -- that then requires you to look at

       7   the indemnification provisions at Strand, because you're a

       8   director of Strand, the GP.     So then we looked at those.       I

       9   took a close examination of those.      They looked okay, except

      10   Strand didn't have any assets other than its equity interest

      11   in Highland, and if that equity interest turned out to be

      12   zero, that indemnity wouldn't be very valuable.

      13        So I wanted to make sure that Highland, the Debtor,

      14   guaranteed the indemnity (garbled) on a postpetition basis, so

      15   that if there were a failure of D&O, which I'll get to in a

      16   second, or it wasn't enough, that we would have a senior claim

      17   in the case, an admin claim in the case.

      18        I then, of course, wanted to make sure that we had D&O

      19   insurance.    This was very difficult to get, because, frankly,

      20   there's a Dondero exclusion in some of the markets, we've been

      21   told by our insurance brokers, and so getting the right policy

      22   that would cover the independent board was difficult.          We did

      23   get that.

      24        And then ultimately there'll be another provision in the

      25   agreement here -- I don't see it off the top of my head -- but




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       1   a gatekeeper provision.       And that provision --

       2   Q    Hold on one second, Mr. Seery, because we'd want to

       3   scroll.     So Paragraph 4 and Paragraph 5, were those, were

       4   those provisions put in there at the insistence of the

       5   prospective independent directors?

       6   A    Yes.    And remember, so the Paragraph 4, as I said, is the

       7   guarantee of Strand's obligations for its indemnity.          Again,

       8   Strand didn't have any money, so the Debtor had to be the one

       9   purchasing the D&O for the directors and for Strand.          So those

      10   are the two provisions that really worked to address my

      11   concerns about the indemnities and then the D&O.

      12               MR. MORRIS:     Okay.   Can we go to Paragraph 10,

      13   please?     There you go.

      14   BY MR. MORRIS:

      15   Q    Is this the other provision that you were referring to?

      16   A    This is.    It's come to be known as the gatekeeper

      17   provision, but it's a provision that I actually got from other

      18   cases.    Again, another very litigious case that I thought it

      19   was appropriate to bring in to this case.

      20        And the concept here is that when you're dealing with

      21   parties that seem to be willing to engage in decade-long

      22   litigation in multiple forums, not only domestically but even

      23   throughout the world, it seemed important and prudent for me

      24   and a requirement that I set out that somebody would have to

      25   come to this Court, the court with jurisdiction over these




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       1   matters, to determine whether there was a colorable claim.

       2   And that colorable claim would have to show gross negligence

       3   and willful misconduct, i.e., something that would not

       4   otherwise be indemnified.

       5         So it basically sets an exculpation standard for

       6   negligence.      It exculpates the directors from negligence.     And

       7   if somebody wants to bring a cause against the directors, they

       8   have to come to this Court first and get a finding that

       9   there's a colorable claim for gross negligence or willful

      10   misconduct.

      11   Q     Would you have accepted the engagement as an independent

      12   director without the Paragraphs 4, 5, and 10 that we just

      13   looked at?

      14   A     No.    These were very specific requests.   The language here

      15   has been 'smithed, to be sure, but I provided the original

      16   language for 10 and insisted on the guaranty provision above

      17   to assure that the indemnity would have some support.

      18   Q     And ultimately, did the Committee and the Debtor agree to

      19   provide all of the protection afforded by Paragraphs 4, 5, and

      20   10?

      21   A     Yes.

      22   Q     Okay.

      23                 MR. MORRIS:   Your Honor, we're going to move on now

      24   to good faith, Section 1129(e)(3), just to give you a little

      25   bit of a roadmap of where we're going.




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       1   BY MR. MORRIS:

       2   Q    Let's talk about the process that led to the plan that the

       3   Debtor is asking the Court to confirm today.       Real basic stuff

       4   at the beginning.    Can you tell me your understanding of the

       5   makeup of the UCC, of the Creditors' Committee?

       6   A    The Creditors' Committee in this case has four members.

       7   It's UBS, the Redeemer Committee, which are former holders of

       8   interests in a fund called the Crusader Fund, which was a

       9   Highland fund, who had redeemed and then had a dispute with

      10   Highland.

      11        And the next creditor is Mr. Terry and Acis.       We generally

      12   group them as one, but the creditor is Acis.

      13        And the fourth creditor is an entity called Meta-e, and

      14   they provide litigation support and technical support and

      15   discovery support in litigations for the Debtor, including in

      16   this case now.

      17   Q    All right.   Just focusing really on the early period, the

      18   first few months, can you describe the early stages of the

      19   negotiations with the UCC as best as you can recall?

      20   A    Well, I think the early stage of the case wasn't directly

      21   a negotiation; it was really trying to understand as best we

      22   could the myriad of assets that we had here, the various

      23   businesses that the Debtor either owned, controlled, or

      24   managed, as well as the claims.

      25        We went through a process of trying to understand each of




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       1   the claims that the Debtor -- or against the Debtor that were

       2   represented by the Committee, as well as some other claims

       3   that were not on the Committee.

       4   Q    Was the Debtor -- I mean, was the Committee initially

       5   pushing the independent board to go to a monetization plan, an

       6   asset monetization plan?

       7   A    Very quickly and early on, the Debtor -- the Committee

       8   took a pretty aggressive approach with the Debtor and the

       9   independent board.     I think the Committee's perspective, as

      10   articulated to me, and where -- at least how we took it, was

      11   that they'd been litigating for years and they sort of knew

      12   the situation and the value of their claims, that the Debtor

      13   was insolvent, in their view, and that we should be operating

      14   the estate in essence for the benefit of the creditors.

      15   Q    And what was the board's view in reaction to that?

      16   A    We disputed it.    And the reason we disputed it was very

      17   straightforward.    Save for the Redeemer claim, which at least

      18   had an arbitration award, Acis and Mr. Terry didn't have any

      19   specific awards, notwithstanding the results of the Acis

      20   bankruptcy, and UBS, while it had a judgment, that judgment

      21   was not against the Debtor.

      22        So our view was, until we have our hands around these

      23   claims and we determine what the validity is in our estate,

      24   that we would treat the Debtor as if it were solvent.         We also

      25   wanted to assess the value of the assets.       So, looking at the




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       1   assets not just from a book value but what they might be

       2   really worth in the market.

       3   Q    And did the board in the early portion of the case

       4   consider all strategic alternatives?

       5   A    I don't know if we considered every strategic alternative,

       6   but we certainly considered a lot of alternatives.

       7   Q    Can you describe for the Court the alternatives that were

       8   considered by the board before settling on the asset

       9   monetization plan?

      10   A    Well, early on, you know, we looked at each of the -- what

      11   we would think of the large category types of ways to resolve

      12   a case.   Number one, could we go through a very traditional

      13   reorganization with either stretching out claims to creditors

      14   after settlement or converting some of those to equity,

      15   getting new equity infusions?      We considered those

      16   alternatives.

      17        Number two, we considered whether we should simply sell

      18   the assets.     That's one of the things that the Committee was

      19   pushing for.    They could be sold to third parties.      They could

      20   be sold individually.     Mr. Dondero potentially could buy some

      21   of the assets.    That'd be a reasonable reorganization in this

      22   case.

      23        We also considered whether that, you know, we would just

      24   do a straight liquidation.     Is there some value to doing --

      25   converting the case to a 7 and doing a straight liquidation?




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       1        We also considered a grand bargain plan, and this was

       2   something that I worked on quite a bit.      The phrase is mine,

       3   although no pride of authorship, certainly, since it didn't

       4   work out.   But that perhaps we could come to an agreement with

       5   the major creditors and with Mr. Dondero and then shift some

       6   of the expenses in the case out further to litigate some of

       7   the other claims while reorganizing around the base business.

       8        And then, finally, we considered the asset monetization

       9   plan, and ultimately that evolved into what we have today.

      10   Q    Were there guiding principles or factors that the board

      11   was focused on as it assessed these different options?

      12   A    Well, the number one guiding principle was overall

      13   fairness and equitable treatment of the various stakeholders.

      14   So, again, at that point, we didn't know exactly what, if

      15   anything, we would owe to claimants like UBS or HarbourVest or

      16   even Mr. Terry and Acis.     We had a good sense of where we

      17   would end up with Redeemer, I think, but we still had some

      18   options and wanted to negotiate the issues related to

      19   potential appeal rights that we had.      So I think that was the

      20   number one overall concern.

      21        But that did evolve over time.     Costs of the case were

      22   exceptionally high.    And the reason they're so high is that

      23   Highland was run for a long time, at least from what we can

      24   tell, at an operating deficit.     Typically, what it would do is

      25   run at a deficit and then sell assets to cover the shortfall,




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       1   and it would defer a whole bunch of employee -- potential

       2   employee compensation.     And because of the way the environment

       3   was going, particularly in the first half of the year, it

       4   didn't look to us like there was going to be any great asset

       5   increase that would somehow save us from the hole that was

       6   being dug, the considerable amount of expenses to run the

       7   case.

       8   Q    Did changing the culture of litigation factor into the

       9   path that the board considered?

      10   A    Well, we certainly looked at the way the company had run

      11   and why it got to where it is in terms of litigating.         And not

      12   just litigating valid claims, but litigating any claim to the

      13   nth degree.    And stories are legion, I won't talk about them,

      14   but of Highland taking outrageous positions and then pursuing

      15   them, hoping that the other side caves.

      16        We determined that this estate couldn't bear that kind of

      17   expense, and it wasn't fair and equitable to do that anyway.

      18   So we wanted to attack the claims that we could -- and I say

      19   attack; try to resolve them as swiftly as we could --

      20   protecting the Debtor's interests but trying to find an

      21   equitable resolution.

      22        I'm not averse to litigating.      And I think when there are

      23   claims that are legitimate, the Debtor should pursue them.

      24   There's always -- a good settlement is always better than a

      25   bad litigation.    But if there (indecipherable) to resolve




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       1   them, we should -- we should pursue those.       And if we have

       2   defenses, we should pursue those, and not just be held up

       3   because someone else is willing to, you know, take a more

       4   difficult position than we are.

       5        But in this case, it really did cry out for some sort of

       6   resolution on many of these cases because they were far beyond

       7   -- far beyond the facts and far beyond the dollars.           There was

       8   personal antipathy involved in virtually every one of the

       9   unlitigated or unliquidated Committee cases.

      10   Q    Did the board, as it was assessing the various strategic

      11   alternatives, consider maximization of the value?

      12   A    Always number one was, can we maximize value?       But that

      13   has to be done within the context of the risk you're taking

      14   and the time it takes.     So, not all wine ages well in a cave

      15   and not all investments get to be more valuable over time.             We

      16   wanted to look at each individual asset that the Debtor had,

      17   each claim that the Debtor had, each defense that the Debtor

      18   had, and consider the time and the costs and then try to find

      19   the best way to maximize value with those multiple

      20   considerations.

      21   Q    How about the role and support of the UCC, how did that

      22   factor into the decision-making, the Debtor's decision-making

      23   as to what plan to pursue?

      24   A    Well, you know, the decision-making with the UCC was

      25   cumbersome and oftentimes difficult.       Sometimes our relations




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       1   were very contentious, and sometimes they continue to be.         But

       2   the Committee had significant oversight because of the

       3   protocols that had been agreed to.      Some of the disputes we

       4   had with the Committee found their way into the court.         Those

       5   time and that cost, some of which we won, some of which we

       6   lost, but those factored into our analysis.

       7        But eventually we knew that we were going to need to get,

       8   you know, some significant portion of the Committee to agree,

       9   because, at minimum, Meta-e had a liquidated claim, and

      10   Redeemer was very close to fully liquidated, so we were going

      11   to need support from the Committee with whatever we tried to

      12   push through.    And so that's how we negotiated with the

      13   Committee from that perspective.

      14   Q    Is it fair to say that the Debtor and the Committee's

      15   interests because aligned upon approval of the disclosure

      16   statement back at the end of November?

      17   A    I don't think they became perfectly aligned, because we

      18   still have, you know, some disputes around, you know,

      19   implementation and things like the employee releases, which

      20   were very important to me.     But I think we're largely aligned

      21   and that the Committee is supportive, as Mr. Clemente said at

      22   the start of this hearing, of the plan.       We negotiated at

      23   arm's length with them about most of the provisions.          I would

      24   say virtually everything was a relatively significant

      25   negotiation, or at least there was a good faith exchange of




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       1   views on each side and assessment of legal and financial

       2   risks.   And I think at this point they're largely in support

       3   of the plan.

       4   Q    All right.    Let's -- you mentioned the grand bargain, and

       5   I just want to spend a few minutes talking about that, how

       6   that evolved.     Focusing your attention in the kind of late

       7   spring/early summer, can you tell me what efforts you and the

       8   board made in trying to achieve a grand bargain in that early

       9   part of the case?

      10   A    Well, we had -- at that point, we had reached agreement,

      11   at least in principle, with Redeemer.      And the thought was --

      12   my thought was that we could construct a plan, understanding

      13   what the cash flows looked like and what we thought the base

      14   value of the asset looked like -- and those are not just the

      15   assets that are tangible assets, but the notes that are

      16   collectible by the Debtor as well -- and then engage with UBS

      17   in particular.    Redeemer.   To some degree, Mr. Terry.      We had

      18   not yet reached any agreement with him.       But UBS, we thought

      19   of as a slightly -- I don't mean this to be disparaging -- but

      20   a slightly more commercial player than Acis because of the

      21   history that Acis had to deal with and endure.

      22        And we were hoping that we could get some sort of

      23   coalescence around an agreed distribution that would require

      24   those creditors to take a lot less than they might have

      25   otherwise agreed, Mr. Dondero to put in more than he otherwise




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       1   thought he could put in or would be willing to put in, and

       2   then we would get out to Acis and the other creditors with a

       3   plan.

       4          And so I built, with the team at DSI, a detailed model on

       5   how the distributions could work and what the potential timing

       6   could be, trying to, each time, move in a multidimensional way

       7   with UBS, Redeemer, Mr. Dondero, and to some degree Acis,

       8   around the respective issues for their claims.

       9          Again, UBS and Acis had not been resolved and weren't

      10   close, but the thought was if we could get dollar agreements

      11   for distribution, perhaps we could then figure out how to

      12   construct settlements of their claims.

      13   Q      During this time period, did you work directly with Mr.

      14   Dondero in the formulation of a potential grand bargain?

      15   A      I did, yes.

      16   Q      And the model that you described, did that go through a

      17   number of iterations?

      18   A      It went through multiple iterations.    I don't believe I

      19   ever shared the model with anybody.      One of the reasons for

      20   that is I didn't want -- I felt I had -- if I was going to

      21   share it with Mr. Dondero, for example, I'd have to share it

      22   with UBS and I'd have to share it with Redeemer.        And I wanted

      23   it to be -- I wanted it to be a working model with the team at

      24   DSI.    In particular, we would make, you know, adjustments on

      25   an almost-daily basis.




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       1        Mr. Dondero had -- remember, he was still portfolio

       2   manager at that time.     He also had a related-party interest,

       3   as people have seen from some of the litigation around the

       4   sales of securities.     He had access and was receiving emails

       5   from the team as well as from the finance team.       So he had

       6   access to the information at that point and had a view around

       7   the value.    And this was more trying to adjust what those

       8   distributions would look like depending on the amounts that he

       9   would be willing to contribute.

      10   Q    Moving on in time, did there come a time when the Debtor

      11   participated in a mediation with certain of the major

      12   constituents in the case?

      13   A    Yes.    That was towards the end of the summer.

      14   Q    And during that mediation, did the concept of a grand

      15   bargain, was that put on the table?      Without discussing any

      16   particulars about it, just as a matter of process, was the

      17   grand bargain subject to the mediation discussions?

      18   A    Well, the mediation had multiple components, so the answer

      19   to the question in short is yes, but I'll go longer because I

      20   tend to.    The grand bargain plan stayed in place, and that was

      21   going to be an overall settlement.      The mediation was

      22   initially, I think, as a main course, focused on Acis, UBS,

      23   and then the third piece being the grand bargain.        And if you

      24   could settle one of those claims, perhaps -- obviously, if you

      25   could settle both of them, you could get to then focusing on




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       1   the grand bargain.

       2        But even before we got to mediation, the idea of the

       3   monetization plan had also been put forth.       Notwithstanding

       4   that it wasn't my idea, I actually thought that it was a good

       5   idea, ultimately.    Didn't initially.    And the reason for that

       6   is that it set a marker for what a base expectation could be

       7   for the creditors and just for Mr. Dondero.       And knowing that

       8   that was out there, at least with them, that could hopefully

       9   be a catalyst in the mediation for folks to say, let's see if

      10   we can get our claims done and get a grand bargain done,

      11   because if we don't we have this Debtor monetization plan.

      12   And by that -- at that point, I don't think we had much

      13   agreement with the Committee on anything, and certainly with

      14   Mr. Dondero, on -- on a monetization plan.

      15   Q    All right.   And let's just bring it forward from the fall,

      16   post-mediation, to the present.     Has -- has -- have you and

      17   the board continued discussing with Mr. Dondero the

      18   possibility of a grand bargain?

      19   A    Well, it's shifted.    So, the grand bargain discussions

      20   really -- you had multiple phases.      So, you had pre-mediation.

      21   There was the grand bargain discussions that I just described

      22   previously that also involved UBS and Redeemer, and to some

      23   degree Acis and Mr. Terry.     Then you have the mediation, which

      24   is much more focused on the claims and whether they can fit

      25   into the grand bargain with Mr. Dondero.




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       1        And the way that was conducted was a little bit more

       2   separated, meaning the parties would talk to the mediator, the

       3   mediator would then go and talk to other parties and try to

       4   work a settlement on each of those components.

       5        Subsequent to the mediation where we reached the agreement

       6   with Acis and Mr. Terry, and we ultimately in that timeframe

       7   banged out the final terms of our agreement with Redeemer, we

       8   engaged with Mr. Dondero around -- I wouldn't call it the

       9   grand bargain, but a different plan.       By that point, the

      10   monetization plan had started to gain some traction with the

      11   creditor group, and Mr. Dondero and his counsel, I believe,

      12   focused on the potential of what was referred to as a pot

      13   plan.   And while it has the -- it could have the ability of

      14   being a resolution plan, it wasn't the grand bargain plan that

      15   I had initially envisioned.     And pot plan was really a

      16   misnomer, because it didn't have a whole pot, so -- so it's a

      17   little bit of a hybrid.

      18   Q    Did the board spend time during its meetings discussing

      19   various pot plan proposals that had been put forth by Mr.

      20   Dondero?

      21   A    Oh, absolutely.    And not only the board.     I mean, we did

      22   our own work as an independent board and then brought in our

      23   professional advisors, both your firm and the DSI folks, to go

      24   through analytics around the pot plan, and even before that,

      25   the other plan alternatives, but we had direct discussions




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       1   with Mr. Dondero and his counsel.

       2   Q    And in the last couple of months, has the board listened

       3   to presentations that were made by Mr. Dondero and his counsel

       4   concerning various forms of the pot plan?

       5   A    Yes.    At least two or three.

       6   Q    And during this time, has the board and the Debtor

       7   communicated with the Committee concerning different

       8   iterations of the proposed pot plan?

       9   A    Yes.    We've had continual discussions with the Committee

      10   regarding the various iterations of the potential grand

      11   bargain all the way through the pot plan.

      12   Q    And during this process, did the Debtor provide Mr.

      13   Dondero and his counsel with certain financial information

      14   that had been requested?

      15   A    Yes.    As I said, up 'til the point where he resigned and

      16   was then ultimately, at the end of the year, removed from the

      17   office, he had access to financial information related to the

      18   Debtor and even got the information from the financial group.

      19   Subsequent to that, we've provided him with requests -- with

      20   financial information that was requested by his counsel.

      21   Q    Okay.   Were your efforts at the grand bargain or the

      22   pursuit of the pot plan successful?

      23   A    No, they were not.

      24   Q    Do you have an understanding as to -- just, again, without

      25   going into -- into details about any particular proposal, do




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       1   you have an understanding as to what the barrier was to

       2   success?

       3   A    The grand bargain, we just never got the traction that we

       4   needed to get that going and the sides were just far -- too

       5   far apart.    And the pot plan, similarly.     Our discussions with

       6   Mr. Dondero and the Committee, they're -- they're very far

       7   apart.

       8   Q    And is it fair to say that the Committee's lack of support

       9   in either the grand bargain or the pot plan is the principal

      10   cause as to why we're not talking about that today?

      11   A    Well, it's -- it -- right now, we've got the plan that's

      12   on file, the monetization plan.      The monetization plan has

      13   gone out for creditor vote and has received support.          It

      14   distributes, we think, equitably, as well as a significant

      15   amount of distributions to unsecured creditors.       And there

      16   really isn't an alternative that we see, based upon the

      17   numbers I've seen, that competes with it or has any traction

      18   with the largest creditors.

      19   Q    All right.   So, now we've talked about various proposals

      20   or alternatives that were considered by the board, including

      21   the grand bargain and the pot plan.      Let's spend some time

      22   talking about the plan that is before the Court today and how

      23   we got here.    And I'd like to take you really back to the

      24   beginning, if I may.

      25        Tell us, tell the Court just what the board was doing in




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       1   the early months after getting appointed, because I think

       2   context is important here.     What were you all doing the first

       3   few months of the case?

       4   A    Well, the first few months, we really were drinking from

       5   the proverbial fire hose, trying to get an understanding of

       6   the business, how it had been managed previously, what the

       7   issues related to the different parts of the business were.

       8   And then an understanding of each of the employees that were

       9   working under us, what their roles were, how they performed

      10   them, who sat where with respect to each of the assets, what

      11   the contracts looked like, whether they be shared service or

      12   management agreements.     And then we started looking at the

      13   individual assets in terms of value.

      14        At the same time, we were trying to get up to speed on the

      15   complex nature of the claims that were in the case.           The

      16   liquidated claims were relatively easy, but there had been a

      17   significant amount of transfers in and out of the Debtor, and

      18   then there's a myriad of relationships involving related

      19   entities that we had to understand, both with respect to the

      20   claims as well as with respect to the assets.

      21        And so that -- those were the main things we were doing

      22   for those first few months in the case.

      23   Q    Just a couple months into the case, the COVID pandemic

      24   reared its head.    Do you recall that?

      25   A    Yes.   We had been in Dallas every day working up 'til the




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       1   time of the COVID and some of the shutdown orders,

       2   particularly in the Northeast, and so that changed the dynamic

       3   of how we could function every day.

       4        Notwithstanding that, we -- we were able to manage from

       5   afar, and ultimately, when there were some cases in the office

       6   of COVID, we -- on the Highland side, not the related entity

       7   side, but on the Highland side -- we determined that the staff

       8   and the team should work from home, which they were able to do

       9   quite well.

      10   Q    Okay.    In those early months, do you recall that there was

      11   a substantial erosion of value, at least as of the time you

      12   were appointed in those first three or four months?

      13   A    There was.    And I think we've heard some -- some noise

      14   about what that value was and the drop in the asset value as

      15   opposed to net value.     But the asset value did, did drop

      16   significantly.

      17   Q    Can you describe for the Court your recollection as to the

      18   causes of the drop in the value that you just descried?

      19   A    Yes.    The number one drop was a reservation that the board

      20   took for a receivable from an entity called Hunter Mountain.

      21   The quick version of this is that Hunter Mountain owns

      22   Highland.    As I mentioned, while Strand is the GP, it only has

      23   a quarter-percent interest in Highland.       The vast majority of

      24   the interests are owned by an entity called the Hunter

      25   Mountain Investment Trust in a very complicated, tax-driven




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       1   structure.

       2        Dondero and Okada transferred their interests in Highland

       3   at a high valuation to Hunter Mountain.       Hunter Mountain then

       4   didn't have the money, so it, in essence, borrowed the money

       5   from the Debtor in a note to pay for those interests.         There's

       6   a circular running of the cash, but we were not sure where, if

       7   any, where any assets are, if they would be sufficient.         So we

       8   took a reservation of $58 million for that note.

       9        The second biggest piece of the reduction in value was the

      10   equity that was lost in the Select Equity account.        This is a

      11   Debtor trading account that was managed by Mr. Dondero.         $54

      12   million was lost in that account.      Basically, it was really

      13   highly margined, very high leverage in that account when the

      14   market volatility came in.     As it grew through January,

      15   February, March, more and more margin calls.       Ultimately,

      16   Jefferies, which had Safe Harbor protections -- technically,

      17   the account was not a Debtor account, but they would have had

      18   it anyway -- they seized that account.      $54 million in equity

      19   was lost in that account.

      20        The next highest amount is about $35 million, but it's

      21   higher now.    That's just the bankruptcy costs, where we have

      22   spent cash and Debtor assets in the case.       It was about $36 to

      23   $40 million through the end of the year.       That's now higher.

      24        About $30 million was lost in paying back Jefferies on the

      25   asset side of the ledger in the Highland internal equity




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       1   account.    This was similar to the equity -- the Select Equity

       2   account, also managed by Mr. Dondero.      Extremely highly-

       3   levered coming into the market volatility of the first

       4   quarter, which was exacerbated, obviously, by the COVID.         That

       5   was about $30 million that was repaid in margin loan in that

       6   account.

       7        In addition, $25 million of equity was lost in that

       8   account while Mr. Dondero was managing it.       I took over

       9   effectively managing it in mid-March and worked with Jefferies

      10   to keep them from seizing the account.       We've since gotten a

      11   bunch of value coming back from that account, but that was the

      12   amount that was lost.

      13        About $10 million was lost in the Carey Limousine loan

      14   transaction.    That is a -- an interesting little company.         Has

      15   done a nice job -- management did a very good job coming into

      16   the year, and it actually had real value, notwithstanding the

      17   changeover to Uber in people's preferences.       But with the

      18   COVID, it really relied on events, airport travel, executive

      19   travel, and that really took a bite out of it, although, you

      20   know, we're hoping to be able to restructure, we have

      21   restructured it to some degree, and we're hoping that there

      22   could be value there.

      23        And then about $7 million was lost in equity in an entity

      24   called NexPoint Hospitality Trust.      This is another extremely

      25   highly-levered hospitality REIT that NexPoint manages.         It




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       1   trades on the Toronto Stock Exchange.      And I think likely that

       2   -- it's got a lot of issues with respect to its mortgage debt.

       3   And because it was hospitality, it was really hurt by the

       4   COVID.

       5        And I think that's probably -- those numbers add up to

       6   north of $200 million of the loss.

       7   Q    All right.   Thank you for that recitation, Mr. Seery.          So,

       8   turning to the spring, after all of those issues were

       9   addressed, at the same time you were working on the grand

      10   bargain, did the Debtor and its professionals begin

      11   formulating the monetization plan that we have today?

      12   A    I'm sorry, in the spring?     I lost that question.      I

      13   apologize.

      14   Q    That's okay.    After you dealt with everything that you

      15   just described, were you doing two things at once?       Were you

      16   working on the grand bargain and the asset monetization plan

      17   at the same time?

      18   A    Yes, that's correct.

      19   Q    All right.   Can you just describe for the Court kind of,

      20   you know, how the asset monetization plan evolved up until the

      21   point of the mediation?

      22   A    Yes.    I alluded to it earlier, but because the Debtor was

      23   running an operating deficit, we were very concerned about

      24   liquidity.    Highland typically runs, from a liquidity

      25   perspective and a cash perspective, very close to the edge.              I




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       1   don't feel particularly comfortable helping lead an

       2   organization that's running that close to the edge.           And I was

       3   very focused on the burn that we had on an operating basis, as

       4   well as the professional cost burn, because for a case this

       5   size it was significant.

       6        The rest of the board felt similarly, and one of the

       7   directors, and I'm not sure if it was Mr. Nelms or Mr. Dubel,

       8   came up with the idea that we needed an alternative to

       9   continuing to just burn assets while we were in this case.

      10   There had to be some sort of catalyst to get the parties, both

      11   Mr. Dondero as well as the creditors -- at that point, as I

      12   said, we weren't settled with Acis or UBS, and we weren't,

      13   frankly, close with either of them.      And so we needed what --

      14   what I think the -- the idea was that we needed a catalyst to

      15   have people focus on what the alternative was.       Because

      16   continuing to run the case until we ran out of money was not

      17   an acceptable alternative.

      18        What I didn't like about the plan was it didn't have

      19   anybody's support, and so I wasn't sure how we made progress

      20   with it without having some Committee member or Mr. Dondero in

      21   support of it.    I was outvoted, although maybe I came around

      22   in the actual vote.     But ultimately, I think it was actually a

      23   quite smart idea, because it did set the basis for what the

      24   case would be.    Either there would be some resolution or it

      25   would push towards the monetization plan, and parties could




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       1   then assess whether they liked the monetization plan or not.

       2   That if I was going to be the Claimant Trustee or the --

       3   defending the, you know, against the claims, they would have

       4   the pleasure of litigating with me for some period of time.

       5   Or they could come to some either grand bargain or ultimately

       6   some other resolution.

       7        And as we started to develop a plan and put more of a

       8   framework -- more flesh around the framework, it actually

       9   started to look more and more like a real viable alternative

      10   to either long-term litigation or some other grand bargain if

      11   we couldn't get there.

      12   Q    And ultimately, did the board authorize the Debtor to file

      13   its initial version of the asset monetization plan at around

      14   the time of the mediation?

      15   A    Yeah.    We developed it over the summer and really fleshed

      16   it out in terms of how the structure would work, what the tax

      17   issues were, what the governance issues were.       We did that

      18   largely negotiating with ourselves, so we -- we were extremely

      19   successful.    And then we filed, we filed that plan right

      20   before the mediation.

      21        And my recollection is that there was some concern from

      22   the mediators that they thought that putting that plan out in

      23   the public could upset the possibility of a grand bargain, so

      24   we ended up filing that under seal.

      25   Q    Do you recall what the Committee's initial reaction was to




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       1   the asset monetization plan that you filed under seal?

       2   A    Well, initially, they -- the Committee didn't like it.

       3   They didn't like the governance.      They didn't like the fact

       4   that it set up for those creditors who didn't litigate the

       5   prospect of litigations to try to resolve their claims.          It

       6   effectively cut out some of the advisory that the Committee

       7   currently had.    The -- one of the driving forces behind the

       8   asset monetization plan and how we initially started it is we

       9   can't continue these costs, as I said.      Well, an easy way to

      10   get rid of -- to reduce the costs is to get rid of half of

      11   them.

      12        So if you could get rid of the Committee, effectively, and

      13   coalesce around an asset monetization vehicle, then if folks

      14   wanted to resolve their claim, you could.       If you had to

      15   litigate it, you could, but you'd have one set of lawyers that

      16   the estate was paying for, one set of financial advisors the

      17   estate was paying for, as opposed to multiple sets.

      18   Q    In addition to the corporate governance issues that you

      19   just described, did the Committee and the Debtor quickly reach

      20   an agreement on the terms of the treatment of employee claims

      21   and the scope of the releases for the employees?

      22   A    No.   Not very quickly at all.

      23   Q    Yeah.

      24   A    You know, again, one of the issues in this case that

      25   drives perspectives is the history that creditors have in




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       1   dealing with Highland and in dealing with many of the

       2   employees at Highland, you know, who had worked for Mr.

       3   Dondero and served at his pleasure for a long time, and how

       4   they had been treated in various of their attempts to collect

       5   their claims.    So the idea of giving any sort of releases to

       6   the employees was anathema to -- to many of the Committee

       7   members.

       8        From my perspective, you know, releases are particularly

       9   important because there's a quid pro quo leading up to the

      10   confirmation of a plan, particularly with a monetization plan

      11   where it's clear that the employees are all going to be or

      12   largely going to be either transitioned or terminated.         If

      13   they're going to keep working towards that, we either have to

      14   have some sort of financial incentive or some sort of

      15   assurance that their actions which are done in good faith to

      16   try to pursue this give them the benefit of more than just

      17   their paycheck.

      18        And so we thought we were setting up the quid pro quo in

      19   terms of work towards the monetization, bring the case home,

      20   and you're entitled to a release, so long as you haven't done

      21   something that was grossly negligent or willful misconduct.

      22   And the Committee, I think, wanted to have a more aggressive

      23   posture.

      24   Q    And did those disagreements over corporate governance and

      25   the employee releases kind of spill out into the public at




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       1   that disclosure statement hearing in October?

       2   A     I think they spilled out at that hearing as well as in the

       3   hearing either the next day or two days later around Mr.

       4   Daugherty's claim.    And again, it was -- it was contentious.

       5   I tend to try to reach resolution, but I tend to hold firm

       6   when I think that there's a good reason, an equitable reason

       7   to do so, and compromising that issue was very difficult for

       8   me.

       9   Q     But in the weeks that followed, did the Committee and the

      10   Debtor indeed negotiate to resolve to their mutual

      11   satisfaction the issues surrounding corporate governance and

      12   employee releases?

      13   A     We did, yes.

      14   Q     And were -- was the Debtor able to get its disclosure

      15   statement approved with Committee support in late November?

      16   A     We did, yes.

      17   Q     Can you describe for the Court generally kind of the

      18   process by which the Debtor negotiated with the Committee?

      19   I'll ask it as broadly as I can, and I'll focus if I need to.

      20   A     Yeah.   The process was usually in group settings with the

      21   independent directors, professionals, and the Committee

      22   members and their professionals.      Oftentimes, then, there

      23   would be certain one-off conversations if there was a

      24   particular issue that was more important to one Committee

      25   member or another, or if they were designated by the Committee




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       1   to be the point on that.     And so I negotiated on behalf of the

       2   Debtor, both collectively and individually, around these

       3   points.

       4        The biggest issues related to governance of the Claimant

       5   Trust, the separation of the Claimant Trust and the Litigation

       6   Trust, which was important to me, the treatment of employees

       7   between the filing -- the time we came up with the case and

       8   when we were going to exit, and then how that release

       9   provision would work.

      10   Q    Is it fair to say that numerous iterations of the various

      11   documents that embodied the plan were exchanged between the

      12   Debtor and the Committee?

      13   A    Yes.    There were -- there were dozens.

      14   Q    Fair to say that the negotiations were arm's length?

      15   A    Absolutely.    Often contentious, always professional, but I

      16   do think that there were, you know, well -- good-faith views

      17   held by folks on both sides.     And I think we were fortunate to

      18   be able to get resolution of those, because they were

      19   strongly-held views.

      20   Q    Okay.   And ultimately, I think you've already testified,

      21   and Mr. Clemente certainly made it clear:       Is the Debtor --

      22   does the Debtor have the Committee on board for their plan

      23   today?

      24   A    My understanding is again -- and you heard Mr. Clemente --

      25   both the Committee and each of the individual members are




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       1   supportive of the plan.

       2   Q    All right.    Let's switch to Mr. Dondero and his reaction

       3   to the asset monetization plan.       Can you describe for the

       4   Court based on your experience and your interaction with him

       5   what you interpreted Mr. Dondero's position to be?

       6              A VOICE:   Objection, hearsay, or --

       7              MR. DRAPER:    Objection, hearsay.   Calls for

       8   speculation, Your Honor.

       9              THE COURT:    Overruled.

      10              THE WITNESS:    Yeah.   I had direct discussions with

      11   Mr. Dondero regarding the plan, the asset monetization plan,

      12   as I mentioned, direct discussions regarding a potential grand

      13   bargain.    The initial view from Mr. Dondero was, and he told

      14   me, that if he didn't get a plan that he agreed to, if he

      15   didn't have a specific control or agreement around what got

      16   paid to Acis and Mr. Terry and what got paid to Redeemer

      17   specifically, that he would, quote, burn the place down.         I

      18   know that because it is, excuse the pun, seared into my mind,

      19   but I also wrote it down.     And that was, you know, in the

      20   early summer.

      21        We had subsequent discussions around the plan, and as we

      22   were talking about the -- about the grand bargain or -- the

      23   pot plan hadn't come out at that point -- even on a large call

      24   -- the plan initially called for a transition, and still does,

      25   of employees of the Debtor to a related entity to continue




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       1   performing services that were under the prior shared service

       2   agreements that we were going to terminate.

       3        But that transition is wholly dependent on Mr. Dondero.

       4   And we had a call with at least five to seven people on it

       5   where I said to Mr. Dondero, look, this is going to be in your

       6   financial interest to agree to a smooth transition.           These

       7   people have worked for you for a long time.       It's for their

       8   benefit.    You portfolio-manage these funds.     It's to the

       9   benefit of those funds to do this smoothly.       And if there's

      10   litigation between you and the estate later, then those chips

      11   will fall where they may.

      12        And he told me to be prepared for a much more difficult

      13   transition than I envisioned.

      14        And I specifically said to him, and this one sticks in my

      15   mind because I recall it, I said, don't worry, Mr. Dondero --

      16   I think I used Jim -- I will be prepared.       I was a Boy Scout

      17   and we spend time preparing for these kinds of things.          So

      18   we're -- we would love to get done the best transition we can,

      19   but we will be prepared for a difficult one.

      20        So, from the start, the idea of the monetization plan was

      21   not something that obviously he supported.       We did agree with

      22   -- after his inquiry or request with the mediators, to file it

      23   under seal while we went into the mediation.

      24   BY MR. MORRIS:

      25   Q    And after, after that was filed in September, early




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       1   October, did Mr. Dondero start to act in a way that the board

       2   perceived to be against the Debtor's interests?

       3   A    Certainly.    I mean, he previously had shown inclinations

       4   of that, but that -- it got very aggressive as he interfered

       5   with the trades we were trying to do in terms of managing the

       6   CLO assets.    He took a position that postpetition, which was

       7   really one of his entities taking a position, that

       8   postposition a sale of life policy assets was somehow not in

       9   the best interests of the funds and that we had abused our

      10   position, notwithstanding that he turned it over to us with no

      11   liquidity to maintain those life policies.       There were several

      12   other instances.    And those led to the decision to, one, have

      13   him resign, and then ultimately, after the text to me that I

      14   perceived as threatening, and we've had subsequent hearings on

      15   it, we asked him to leave the office.

      16   Q    Okay.    Let's move back to the plan here.     Can you

      17   describe, you know, generally, if you can, the purpose and

      18   intent of the asset monetization plan?

      19   A    Well, very simply, the main purpose is to maximize value.

      20   This is not a competition between Mr. Dondero and myself.         I

      21   have no stake in getting more money out of the maximization

      22   other than my duty to do the job that I was hired to do.

      23        So our goal is to manage the assets in what we think is

      24   the best way to do that over time, and find opportunities

      25   where the market is right to monetize the assets, primarily




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       1   through sales.    There may be other instances, depending on the

       2   type of asset, whether a sale makes sense, if we can structure

       3   it through some kind of distribution that's more structured.

       4   Q    We've used the phrase a bunch of times already.          Can you

       5   describe in your own words what an asset monetization plan is

       6   in the context of the Debtor's proposal?

       7   A    Well, it may be slightly an awkward moniker, but I think

       8   it's not completely different than what you'd see, in some

       9   respects, to a regular plan, where you equitize debt and you

      10   operate the business for the benefit of the equitized debt.

      11   Here, it's a little different in that we know exactly how

      12   we're going to move forward.      We've effectively -- we'll

      13   effectively turn the debt obligations into trust interests and

      14   we will pay those as we sell down assets.       So we've got it

      15   structured in a way where we can pivot depending on market

      16   conditions and we'll be managing certain funds that the assets

      17   sit in.

      18        So there's really four assets where the assets sit, and

      19   we'll manage those.     First are the ones that the Debtor owns

      20   directly.    Second will be the ones that are in Restoration

      21   Capital -- Restoration Capital Partners.       Third are the assets

      22   in a fund called Multi-Strat.      Fourth is the direct ownership

      23   interest in Cornerstone, and technically (garbled) would be

      24   the -- would be the next one.

      25        So we have the ability to manage these individual assets




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       1   and then be able to sell them in what we determine to be the

       2   best way to maximize value, depending on the timing.

       3   Q    And when you say that you're going to continue to operate

       4   the business, do you mean that the Debtor will continue to

       5   manage the assets you've just described in the same way that

       6   it had prior to the petition date?

       7   A    It'll be a smaller team, but that's the Debtor's business.

       8   So what we won't be doing are the shared services anymore.

       9   That was part of the Debtor's business.      But we will be

      10   managing the assets.    So the 1.0 CLOs, we'll manage those

      11   assets.   The RCP assets, we'll manage those assets.      The

      12   Trussway Holdings assets, we'll managing those assets.        Each

      13   of them is a little bit different.     There's things as diverse

      14   as operating companies to real estate.      We'll operate, subject

      15   to final agreement, but the Longhorn A and B, which are

      16   separate accounts that are -- were funded and are controlled

      17   by the largest -- one of the largest investors in the world.

      18   And so they have agreed that we should manage those assets for

      19   them.

      20        So we're -- that's the business that the Debtor is in.          It

      21   won't be doing all of the businesses that the Debtor was in

      22   before, like the shared services, but the management of the

      23   assets will be very similar.

      24   Q    And why do these funds and these assets need continued

      25   management?   Why aren't you just selling them?




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       1   A    Well, in some respects, they could just be sold, but the

       2   -- we believe that the value would be a lot lower.        So, a lot

       3   of them are complex.     The time to sell them may not be now.

       4   Some will require restructuring in some way, whether -- not

       5   through a reorganization process, but some sort of structural

       6   treatment to how the obligations at the individual asset are

       7   treated, or the equity at the individual asset.        So we're

       8   going to manage each of them and look for market opportunities

       9   where we think the value can be maximized.

      10              MR. MORRIS:    Your Honor, I'm about to switch to

      11   another topic.    We have been going for a little bit more than

      12   two and a half hours.     I'm happy to just continue if you and

      13   the witness are, but I just wanted to give you a head's up

      14   that I'm about to switch topics.      If you wanted to take a

      15   short break, we could.     If you want me to continue, I'm happy

      16   to do that, too.

      17              THE COURT:    Well, let me ask you, how much longer do

      18   you think you're going to take overall with Mr. Seery?

      19              MR. MORRIS:    I think I'll probably have another hour

      20   to an hour and a half, Your Honor.      We want to make a complete

      21   factual record here.

      22              THE COURT:    All right.   Well, it's 12:07 Central

      23   time.   Why don't we take a 30-minute lunch break, okay?        Can

      24   everybody do their lunch snack that fast?

      25              MR. MORRIS:    Sure.




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       1              THE COURT:    I think that would probably be the way to

       2   go.   So we'll come back -- it's now 12:08.      We'll come back at

       3   12:38 Central time and resume --

       4              MR. MORRIS:    Okay.

       5              THE COURT:    -- resume this direct testimony, okay?

       6   So, see you in 30 minutes.

       7              MR. MORRIS:    Thank you very much.

       8              THE COURT:    Okay.

       9              THE CLERK:    All rise.

      10         (A recess ensued from 12:08 p.m. to 12:44 p.m.)

      11              THE COURT:    We are going back on the record in the

      12   Highland confirmation hearing.       It's 12:44 Central time.     I

      13   took a little bit longer break than I said we would.

      14         Mr. Morris and Mr. Seery, are you ready to resume?

      15              MR. MORRIS:    I am, Your Honor.

      16              THE WITNESS:    Yes, Your Honor.

      17              THE COURT:    Okay, good.   A couple of things.    I'm

      18   required to remind you you're still under oath, Mr. Seery.

      19   And also, just for people's planning purposes, what I intend

      20   to do is, when the direct examination of Mr. Seery is

      21   finished, I'm going to allow cross-examination of the

      22   Objectors in the same amount of time in the aggregate that the

      23   Debtor got, okay?    So, Objectors, in the aggregate, you can

      24   spend as long cross-examining as the Debtor spent examining.

      25   I can figure out this is the most significant witness, so I'm




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       1   assuming that Debtor's other witnesses are going to be a lot

       2   shorter than this, but --

       3                MR. MORRIS:    Yes, I promise.

       4                THE COURT:    -- that's how we'll proceed.    And I

       5   expect to finish Mr. Seery today.

       6        So, all right.       With that, you may proceed, Mr. Morris.

       7                MR. MORRIS:    Okay.

       8                        DIRECT EXAMINATION, RESUMED

       9   BY MR. MORRIS:

      10   Q    Can you hear me okay, Mr. Seery?

      11   A    Yes, sir.

      12   Q    Okay.    Before we move on to the next topic, you spent some

      13   time describing the asset monetization plan.         Would it be fair

      14   to describe that as a long-term going-concern liquidation?

      15   A    Long-term is subjective.       We anticipate that we'll be able

      16   to monetize the assets in two years.          We could go out longer

      17   to three.     There's no absolute restriction that we couldn't

      18   take longer, depending on what we see in the market, but the

      19   objective would be to find maximization opportunities within

      20   that time period.

      21   Q    Okay.    So let's turn now to the post-confirmation

      22   corporate governance structure.

      23        (Interruption.)

      24                THE WITNESS:    Mr. Golub (phonetic), you should mute.

      25                THE COURT:    Yes.   I don't know -- I didn't catch who




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       1   that was.     But anyway, anyone other than --

       2                A VOICE:   It's someone named Garrett Golub.

       3                THE COURT:    -- Morris and Seery, please mute.     All

       4   right.   Go ahead.

       5                MR. MORRIS:    Okay.

       6   BY MR. MORRIS:

       7   Q    At a high level, Mr. Seery, can you please describe for

       8   the Court the post-confirmation structure that's envisioned

       9   under the proposed plan?

      10   A    At a high level, we anticipate reorganizing HCMLP such

      11   that the current parties of interest will be extinguished and,

      12   in exchange, creditors will get trust interests.        There'll be

      13   a trust that will sit on top of HCMLP and it will have an

      14   overall responsibility for the Claimant Trust, which will be

      15   the HCMLP assets plus the assets that we move into the

      16   Claimant Trust, depending on structural considerations.          And

      17   then a Litigation Trust, which will be a separate trust, and

      18   that will roll up into the main trust.       And the main trust

      19   will be where the creditors hold their interests.        And those

      20   interests take the form of senior interests or junior

      21   interests.

      22   Q    All right.    You mentioned a Claimant Trust.     Who is

      23   proposed to serve as the Claimant Trustee?

      24   A    I am.

      25   Q    And you mentioned a Litigation Trust.       Is there someone




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       1   proposed to serve as the Litigation Trustee?

       2   A    A gentleman named Marc Kirschner.      He's been doing these

       3   kinds of things for a long time.

       4   Q    Is there going to be any kind of oversight group or

       5   committee?

       6   A    There is an oversight committee that sits at the main

       7   trust.    Into it will report Mr. Kirschner and myself.       It has

       8   oversight responsibilities similar to a board of directors in

       9   terms of the operations of the Claimant Trust and the

      10   Litigation Trust.

      11   Q    Do you have an understanding as to who the initial members

      12   of the Claimant Oversight Committee?

      13   A    The initial members will be each of the members of the

      14   Creditors' Committee.    So, UBS, Acis, Redeemer, a

      15   representative from Redeemer, and Meta-e, as well as an

      16   independent named David Pauker.     So that's the initial

      17   structure.

      18   Q    And can you describe for the Court, how did Mr. Pauker get

      19   involved in this?

      20   A    He was selected by the Committee.

      21   Q    Okay.   Is there -- Meta-e is a convenience class claim

      22   holder.   Do I have that right?

      23   A    Yeah.   They're -- they -- as I went through earlier, they

      24   had a liquidated claim for litigation services.       So we

      25   expected that they'll be paid off rather early in the process.




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       1   At that point, we suspect they wouldn't -- they would no

       2   longer be an Oversight Committee member and they would be

       3   replaced by an independent.

       4   Q    And do you have any understanding as to how that

       5   independent will be chosen?

       6   A    I believe it's chosen by the other members.

       7   Q    Okay.   Can you describe your proposed compensation

       8   structure as the proposed Claimant Trustee?

       9   A    My compensation will be $150,000 a month, which is the

      10   same compensation I have now.      In addition, we'll negotiate a

      11   bonus structure with the Oversight Committee.       And that will

      12   likely be a bonus not just for myself but for the entire team,

      13   depending on performance.

      14   Q    Okay.   And that -- and who is that negotiation going to be

      15   had with?

      16   A    The Oversight Committee.

      17   Q    Okay.   Are you familiar with Mr. Pauker's compensation

      18   structure?

      19   A    I -- I've seen it.    I don't recall specifically.       I think

      20   his -- from the models, I think he's about 40 or 50 grand a

      21   month, something along those lines.

      22   Q    Okay.   How about Mr. Kirschner?      Do you recall -- let me

      23   just ask you this.    Does it refresh your recollection at all

      24   if I said that 250 in year one for Mr. Pauker?

      25   A    Yeah.   So maybe closer to $20,000 to $25,000 a month.        And




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       1   then Mr. Kirschner is a lower amount, but he would get a

       2   contingency fee arrangement somewhere dependent on the

       3   recoveries from his litigations.

       4   Q    Okay.   You mentioned earlier that the Debtor intends to

       5   continue operations at least for some period of time post-

       6   effective date.     Do you have a view as to whether the post-

       7   confirmation entity will have sufficient personnel to manage

       8   the business?

       9   A    I do, yes.

      10   Q    And why is that?    What makes you believe that the Debtor

      11   will have -- the post-confirmation Debtor will have sufficient

      12   personnel to manage the business?

      13   A    Well, we've gone through and looked at each of the assets

      14   and what is required to manage those assets.       We have a lot of

      15   experience doing it during the case.       The bulk of the

      16   employees, who do a fine job, are really doing shared service

      17   arrangements.     The direct asset management group is a smaller

      18   group, and we'll be able to manage those with the team we're

      19   putting together.

      20   Q    Okay.   How does the ten employees compare to the original

      21   plan that was set forth in the disclosure statement, if you

      22   recall?

      23   A    Well, we had less, and I believe the number was either two

      24   or three, along with me, and then using a lot of outside

      25   professional help.     But we determined that we wanted to have a




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       1   much more robust team, based on the litigation that we're

       2   seeing around the case and we expect to continue post-exit, so

       3   that the team can manage those assets unfettered.

       4        In addition, we were taking on the CLO management, the 1.0

       5   CLO contracts.    These one -- as I've mentioned before, they're

       6   not traditional CLOs in the sense that they require the same

       7   hands-on management, but they do require an experienced team

       8   to help manage the exposures, most of which are cross-holdings

       9   in different -- in different entities or different investments

      10   that Highland also has exposure to.

      11   Q    In addition to the assumption of the CLO management

      12   agreements, has the Debtor made any decisions regarding the

      13   possibility of hiring a sub-servicer?

      14   A    We have, yes.

      15   Q    And did that factor into the Debtor's decision to increase

      16   the number of personnel it was going to retain?

      17   A    Well, we determined we weren't going to hire a sub-

      18   servicer.   And I'm not sure exactly when we made that

      19   determination.    We do have a TPA, which is SEI, and that's a

      20   third-party administrator, to sift through the funds and

      21   provide accounting supporting to those, to those funds.          So

      22   that -- they will help.     We also have an outside consultant

      23   that we're using, Experienced Advisory Consultants, who are

      24   financial consultants who've worked in the business.          So we do

      25   have those.




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       1        But we didn't think that we would get a third-party sub-

       2   servicer, as was the case in Acis, and determined that wasn't

       3   in the best interest of the estate.

       4   Q    Can you just shed a little light on what factors the

       5   Debtor took into account in deciding not to hire a sub-

       6   servicer?

       7   A    Well, we primarily looked at cost, as well as control of

       8   the assets, and determined that that was -- those were in the

       9   best interests of the estate, to keep them managed internally.

      10   We reviewed that with the Committee, and they agreed.

      11   Q    Okay.

      12                MR. MORRIS:   Let's turn now to the best interests of

      13   creditors' test, Your Honor, 1129(a)(7), and let's talk about

      14   whether the plan is in the best interests of creditors.

      15   BY MR. MORRIS:

      16   Q    Has the Debtor done any analysis to determine the likely

      17   value to be realized in a Chapter 7 liquidation?

      18   A    We have, yes.

      19   Q    And has the Debtor done any analysis to determine the

      20   likely recoveries under the plan?

      21   A    Yes.

      22   Q    Okay.    Do you recall when these projections were first

      23   prepared?

      24   A    We started working on projections in the fall, as we were

      25   developing the monetization plan.      We filed projections, I




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       1   believe, in November.        We've subsequently updated those

       2   projections based on the claims, market condition, and value

       3   of the assets.

       4   Q     And were those updates provided to plan objectors last

       5   week?

       6   A     Yes, they were.

       7   Q     Okay.    Can we refer to the projections that were in the

       8   disclosure statement as the November projections?

       9   A     That'd be fine.

      10   Q     And can we refer to the projections that were provided to

      11   the objectors last week as the January projections?

      12   A     Yes.

      13   Q     And as --

      14   A     I think they're actually -- I think they're actually dated

      15   February 1, is the most recent update.

      16   Q     Okay.    And then was a further update provided yesterday

      17   and filed on the docket, to the best of your knowledge?

      18   A     Yes.

      19   Q     All right.    We'll talk about some of the changes in those

      20   projections.

      21                 MR. MORRIS:    Can we call up on the screen Debtor's

      22   Exhibit 7D as in dog?        And this document is in evidence.     Um,

      23   --

      24                 THE COURT:    No, this is -- oh, wait.   How many Ds is

      25   it?   Seven?




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       1                MR. MORRIS:    It's 7D, so that would be on Docket

       2   1866, all of which has been admitted.

       3                THE COURT:    Okay.    You're right.

       4                MR. MORRIS:    Okay.

       5        And if we could just, I'm sorry, go to Page 3.

       6   BY MR. MORRIS:

       7   Q    Is there any way to look at this, Mr. Seery?        Is this the

       8   January projections that were provided last week?

       9   A    Yes.

      10   Q    Okay.    Can you describe for the Court the process by which

      11   this set of projections and the November projections were

      12   prepared?     How did the Debtor go about preparing these

      13   projections?

      14   A    Yeah.    These are prepared what I would call bottoms-up.

      15   So what we did was we looked at each of the assets that the

      16   Debtor owns or manages or has a direct or indirect interest

      17   in, used the values that we have for those assets, because we

      18   do keep valuations for each of the assets that the Debtor owns

      19   or manages in the ordinary course of business.         We then

      20   adjusted those depending on what we saw as the outcomes for

      21   the case, either a plan outcome or a liquidation outcome, and

      22   then rolled those into the -- into the numbers that you see

      23   here.

      24        So the 257 and change.         And please excuse my eyesight.

      25   I'm going to make this bigger.         The 257 is the estimated




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       1   proceeds from monetization.       Above that, you see cash.    That's

       2   our estimated cash at 131.       And we monitor those, those values

       3   daily.

       4   Q    And were these projections prepared under your

       5   supervision?

       6   A    They were, yes.

       7   Q    Okay.    And who was involved in the preparation of this

       8   document and other iterations of the projections?

       9   A    The team at DSI.       Obviously, myself; the team at DSI; as

      10   well as the, at least from a review perspective, counsel.

      11   Q    All of these contain various assumptions.       Do I have that

      12   right?

      13   A    Yes.

      14                MR. MORRIS:    Can we go to the prior page, please, I

      15   think is where the assumptions are?        And let's just look at a

      16   few of them.     Okay.     Can we make that a little bigger, La

      17   Asia?    Okay.   Good.

      18   BY MR. MORRIS:

      19   Q    Why does the Debtor's projections and liquidation analysis

      20   contain any assumptions?       Why, why include assumptions?

      21   A    Well, all projections contain assumptions.       So an

      22   assumption -- I was strangely asked the question at

      23   deposition, what does that mean?       It's a thing or fact that

      24   one accepts as true for the purposes of analysis.        And so in

      25   terms of looking out into the future as to what the potential




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       1   operation expenses will be and what the potential recoveries

       2   will be, one has to make assumptions in order to be able to

       3   compare apples to apples.

       4   Q    And do you believe that these assumptions are reasonable?

       5   A    Yes.    It would make no sense to have assumptions that

       6   aren't reasonable.    I mean, and we've all seen that with

       7   analysis through our respective careers.       It really should be

       8   grounded in some fact and a reasonable projection on what can

       9   happen in the future, based upon experience.

      10   Q    Okay.   And have you personally vetted each of the

      11   assumptions on this page?

      12   A    Yes.

      13   Q    Okay.   Let's just look at a few of them.      Let's start with

      14   B.   It says, All investment assets are sold by December 31,

      15   2022.   Do you see that?

      16   A    Yes.

      17   Q    Why did the Debtor make that assumption?

      18   A    We looked at a two-year projection horizon.       We thought

      19   that that was a reasonable amount of time, looking at these

      20   assets, to monetize the assets.      Remember that we did go

      21   through a process of the case over the last year, and we did

      22   consider monetization asset events for certain of the assets

      23   throughout the case, some of which we were successful on, some

      24   of which we weren't, some we just determined to pull back.

      25   But we do believe that, based upon our view of the market and




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       1   where we think these assets will be positioned, that

       2   monetizing them over a two-year period makes sense.

       3   Q    And is it possible that it takes longer than that?

       4   A    It's possible.    The -- you know, we would be wrong about

       5   the market.    The -- we could go into a full-blown recession.

       6   Capital could dry up.     The financing markets could turn

       7   negative.    But they're extremely positive right now.        Those

       8   things could happen.     But we're assuming that they won't.

       9   Q    And is it possible that you complete the process on a more

      10   accelerated timeframe?

      11   A    That's always possible.     It's not, in my experience, a

      12   good way to plan.     Luck really isn't a business strategy.          But

      13   if good opportunity shows up and folks want to pay full value

      14   for an asset, we certainly wouldn't turn them away just so we

      15   could stretch out the time period.

      16   Q    Is it fair to say that this projected time period is your

      17   best estimate on the most likely timeframe needed?

      18   A    It's -- I think it's the best estimate that we have based

      19   upon our experience with the assets, again, and our projection

      20   of the marketplace that we see now.      If things change, we'll

      21   adjust it, but this is a fair estimate of when we can get the

      22   monetization accomplished.

      23   Q    Okay.    The next assumption relates to certain demand

      24   notes.   Do you see that?

      25   A    Yes.




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       1   Q    Can you explain to the Court what that assumption is and

       2   why the Debtor believed that it was reasonable?

       3   A    Well, the Debtor has certain notes that are demand notes.

       4   These are all from related entities.        Most of the notes, the

       5   demand notes, we have demanded, and we've commenced litigation

       6   to collect.     And we assume that we're going to be able to

       7   collect those.

       8        Three notes that were long-term notes -- these were notes

       9   with maturities in 2047 that had been stretched out a couple

      10   years ago -- were defaulted recently.        And we have accelerated

      11   those notes and we've asserted demands and we have commenced

      12   litigation, I believe, on each of those last week to collect.

      13   So we do estimate that we will collect on all of the notes

      14   that we've demanded and that we've commenced action on.         So

      15   the demand notes as well as the accelerated notes.

      16        The next, the next bullet shows there's one Dugaboy note

      17   that has not defaulted.      That also has a 2047 maturity.     I

      18   believe it's about $18 million.      And we expect that one to

      19   stay current, because now I think the relater parties learned

      20   that when you don't pay a long-dated note, it accelerates,

      21   provided the holder, which is us, wishes to accelerate it,

      22   which we did.     And so that note we do not expect to be

      23   collected in the time period.

      24   Q    Okay.

      25                MR. MORRIS:   Let's go down to M.




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       1   BY MR. MORRIS:

       2   Q    M relates to certain claims.     Do you see that?

       3   A    Yes.

       4   Q    Can you just describe at a high level what assumption was

       5   made with which -- with respect to which particular claims?

       6   A    Well, we've summarized them there.      And what we've assumed

       7   is that, with respect to Class 8, IFA, which is a derivative

       8   litigation claim that seeks to hold, loosely, HCMLP liable for

       9   obligations of NexBank, is worth zero.      I think that's pretty

      10   close to settling.    We assumed here $94.8 million for UBS,

      11   which was the estimated amount, and $45 million for

      12   HarbourVest.

      13   Q    And when you say the estimated amount, are you referring

      14   to the 3018 order on voting?

      15   A    Yes.    We just use the estimated amount in this projection

      16   based upon the 3018 order.

      17   Q    Okay.   And finally, let's look at P.     P has a payout

      18   schedule.    Do I have that right?

      19   A    That's an estimated payout schedule, yes.

      20   Q    And what do you mean by that, that it's estimated?

      21   A    Based upon our projections and how we perceive being able

      22   to monetize the assets and reach the valuations that we want

      23   to reach, we believe we could make these distributions.

      24   However, there's no requirement to make them.

      25        So the first and foremost objective we have, as I said




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       1   earlier, is to maximize value, and not -- it's not based on a

       2   payment schedule, it's based upon the market opportunity.          And

       3   we've estimated for our purposes here that we'll be able to

       4   meet these distribution amounts, but there's no requirement to

       5   do so.

       6   Q    Okay.

       7                MR. MORRIS:    Let's go to Page 3 of the document,

       8   please.

       9   BY MR. MORRIS:

      10   Q    Can you just describe generally what this page reflects?

      11   A    This is a comparison of the plan analysis and what we

      12   expect to achieve under the plan and the liquidation analysis

      13   if a trustee, a Chapter 7 trustee, were to take over.         And it

      14   compares those two distribution amounts based upon the

      15   assumptions on the prior page.

      16   Q    All right.    Let's just look at some of the -- some of the

      17   data points on here.       If we look at the plan analysis, what is

      18   -- what is projected to be available for distribution, the

      19   value that's available for distribution?

      20   A    $222.6 million.

      21   Q    Okay.    So, 222?     And on a claims pool that's estimated to

      22   be, for this purpose, how much?

      23   A    $313 million.

      24   Q    And what is the distribution, the projected distribution

      25   to general unsecured creditors on a percentage basis?




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       1   A    On this analysis, to general unsecured creditors, it's

       2   62.14 percent.    But remember, that backs out the payment to

       3   the Class 7 creditors of 85 cents above.

       4   Q    Okay.   And does this plan analysis include any value for

       5   litigation claims?

       6   A    No, it does not.

       7   Q    And is that true for all forms of the Debtor's

       8   projections?

       9   A    That's correct, yes.

      10   Q    Okay.   And let's look at the right-hand column for a

      11   moment.   It says, Liquidation Analysis.      What does that column

      12   represent?

      13   A    That represents our estimate of what a Chapter 7 trustee

      14   could achieve if it were to take over the assets, sell them,

      15   and make distributions.

      16   Q    Okay.   And let's just look at the comparable data points

      17   there.    Under the liquidation analysis, as of -- the January

      18   liquidation analysis as of last week, what was projected to be

      19   available for distribution?

      20   A    A hundred and -- approximately $175 million.

      21   Q    Okay.   And what was the claims pool?

      22   A    The claims pool was $326 million.      Recall that that's a

      23   slightly larger claims pool because it doesn't back out the

      24   Class 7 claims.

      25   Q    Okay.   The convenience class claims?




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       1   A    Correct.

       2   Q    Okay.    And what's the projected recovery for general

       3   unsecured claims under the liquidation analysis?

       4   A    Based on this analysis and the assumptions, 48 (audio

       5   gap).

       6   Q    Okay.    Based on the Debtor's analysis, are creditors

       7   expected to do better under this analysis in the -- under the

       8   Debtor's plan versus the hypothetical Chapter 7 liquidation?

       9   A    Yes.    Both -- both Class 7 and Class 8.

      10   Q    Okay.    Now, this set of projections differs from the

      11   projections that were included in the disclosure statement; is

      12   that right?

      13   A    That's correct.

      14   Q    Okay.    Can we just talk about what the differences are

      15   between the November projections that were in the disclosure

      16   statement and the January projections that are up on the

      17   screen?     Let's start with the monetization of assets, the

      18   second line.     Do you recall if there was an increase, a

      19   decrease, or did the value from the monetization of assets

      20   stay the same between the November projections and the January

      21   projections?

      22   A    They increased from November 'til -- 'til now.

      23   Q    Okay.    Can you explain to the judge why the value from the

      24   monetization of assets increased from November to January?

      25   A    Well, really, it's the composition of the assets and their




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       1   value.    So there's four main drivers.

       2        The first is HarbourVest.     We had a settlement with

       3   HarbourVest, which include HarbourVest transferring to the

       4   Debtor $22-1/2 million of HCLOF interests.       Those have a real

       5   value, and we've now included them in the -- in the asset

       6   pool.    We've also included HarbourVest in the claims pool.

       7        The second was we talked a little bit earlier on the

       8   assumptions on the notes.     We previously had anticipated that,

       9   on the long-dated notes, a collection, we -- we'd receive

      10   principal and interest currently, but we wouldn't receive the

      11   full amount of the principal that was due well off in the

      12   future, and we would sell it a discount.

      13        So the amount of the asset pool has been increased by $24

      14   million, and that reflects the delta between or the change

      15   between what was in the prior plan, the notes paying and then

      16   being sold at a discount, and what's in the current plan,

      17   which include the accelerated notes, which is a $24 million

      18   note that Advisors defaulted on that we have accelerated and

      19   brought action on, as well as two six -- roughly $6 million

      20   notes, one from Highland Capital Real Estate and the other

      21   from HCM Services.     So that's, that's additional 24.

      22        In addition, Trussway, we've reexamined where Trussway is

      23   in the market, both its marketplace and its performance, and

      24   reassessed where the value is.      So that has increased by about

      25   $10.6 million.




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       1        That doesn't mean that we would sell it today.       It means

       2   that, when you look at the performance of the company, what we

       3   think are the best opportunities in the market.       As we see the

       4   marketplace with managing the company over time, we think that

       5   that asset has appreciated considerably since November.

       6        And then, finally, there were additional revenues that

       7   flow into the model from the November analysis which would be

       8   distributable, and those include revenues from the 1.0 CLOs.

       9   Q    Okay.    So that accounts for the difference and the

      10   increase in value from the monetization of assets.        Is there

      11   also an increase in expenses from the November projections to

      12   the January projections?

      13   A    Yeah.    It's -- it's about -- it's around $25 million

      14   additional increase.

      15   Q    And can you explain to the Court what is the driver behind

      16   that increase in expenses?

      17   A    Yeah.    There's several drivers to that.    The first one is

      18   head count.    So our head count, we've increased.      As I

      19   mentioned earlier, we determined that we wanted to have a much

      20   more robust management presence.      So we've increased the head

      21   count, so we have a base comp, compensation, about $5 million

      22   more than we initially thought.

      23        Secondly, we have bonus comp.     So we've back-ended --

      24   structured a backend bonus performance bonus for the team, and

      25   that will run another $5 million, roughly.




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       1        Previously, we had thought about, as you mentioned

       2   earlier, the sub-servicing, but we've now talked about and we

       3   have engaged a TPA, SEI, as well as experienced advisors.

       4   That's another $1 to $2 million.

       5        Operating expenses have increased by about $8 million,

       6   based upon our assessment.     The biggest driver there is D&O,

       7   which is up about $3 million.     In addition, we've gotten -- we

       8   determined to keep a bunch of agreements related to data

       9   collection and operations.     Those were requested by the

      10   Committee, but they also serve us in performing our functions.

      11   That's another couple million dollars.

      12        My comp, my bonus comp was not in the prior model.         So I

      13   have a bonus that has not been agreed to by the Court for the

      14   bankruptcy performance.     This is not a future bonus.       And we

      15   built that into the model.     Obviously, it's subject to Court

      16   approval and Committee objection, and I suppose anybody else's

      17   objection, but we'll -- we'll be before the Court for that.

      18   But we wanted to build that into the model so that we had it

      19   covered in the event that it was approved.

      20   Q    Was there also a change in the assumption from November to

      21   January with respect to the size of the general unsecured

      22   claim pool?

      23   A    Yes.   There have been -- there have been several changes

      24   that have happened, and we've added those and refined the

      25   claim pool numbers.




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       1   Q    And are those changes reflected in the assumption we

       2   looked at earlier, Exhibit -- Assumption M, which went through

       3   certain claims that have been liquidated?

       4   A    Some, some are.       That assumption, I don't believe, was --

       5   it's not in front of me, but wasn't up to date.        So, that one,

       6   for example, assumed UBS at the 3018 estimated amount.         We've

       7   since refined that number to reflect the agreed-upon

       8   transaction with UBS, which is subject to Court approval.

       9   Q    Right.    But before we get to that, for purposes of the

      10   January model, the one that's up on the page -- and if we need

      11   to look at the prior page --

      12                MR. MORRIS:    Let's go to the prior page, the

      13   assumption.     Assumption M.

      14   BY MR. MORRIS:

      15   Q    Assume the UBS, the UBS claim at the $94.8 million, the

      16   3018 number.     Do you remember that?

      17   A    Yeah.    That's, that -- that's the assumption in this

      18   model.   I think back in November we assumed HarbourVest at

      19   zero and UBS at zero.       So we've since -- we've since refined

      20   those numbers, obviously, through both the 3018 process as

      21   well as the settlement with HarbourVest.

      22   Q    And did the -- did the inclusion -- withdrawn.       At the

      23   time that you prepared the November model -- withdrawn.         At

      24   the time the Debtor prepared the November model, did it know

      25   what the UBS or the HarbourVest claims would be valued at?




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       1   A    No.    We just had our assumption back then, which was zero.

       2   And now, obviously, we know.

       3   Q    And so the January model took into account the settlement

       4   with HarbourVest and the 3018 motion; do I have that right?

       5   A    That's correct.      That's in the assumptions.

       6   Q    And what was the impact on the projected recoveries to

       7   general unsecured creditors from the changes that you've just

       8   described, including the increase in the claims amount?

       9   A    Well, when -- like any fraction, the distribution will go

      10   down if the claimant pool goes up.       So, with the denominator

      11   going up by the UBS and the UBS amount -- the UBS and the

      12   HarbourVest amounts, the distribution percentage went down.

      13   Q    Okay.    I want to focus your attention on the second line

      14   where we've got the monetization of assets under the plan at

      15   $258 million but under the liquidation analysis it's $192

      16   million.     Do you see that?

      17   A    Yes.

      18   Q    Can you tell Judge Jernigan why the Debtor believes that

      19   under the plan the Debtor or the post-confirmation Debtor is

      20   likely to receive or recover more for the --

      21        (Interruption.)

      22                THE COURT:   All right.   Hang on a minute.   Where is

      23   that coming from, Mike?

      24                THE CLERK:   Someone is calling in.

      25                THE COURT:   Okay.




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       1                MR. MORRIS:    Thank you.

       2                THE COURT:    Mr. --

       3                MR. MORRIS:    Let me restate the question.

       4                THE COURT:    Yes.   Restate.

       5   BY MR. MORRIS:

       6   Q    Can you explain to Judge Jernigan why the Debtor believes

       7   that the -- under the plan corporate structure, the Debtor is

       8   likely to recover more from the monetization of assets than a

       9   Chapter 7 liquidation trustee would?

      10   A    Sure.    My experience is that Chapter 7 trustees will

      11   generally try to move quickly to monetize assets.          They will

      12   retain their own professionals, they will examine the assets,

      13   and they will look to sell those assets swiftly.

      14        The monetization plan does not plan to do that.          I've got

      15   a year's of experience -- a year now of experience with these

      16   assets, as well as we'll have a team with several years at

      17   least each of experience with the assets.       We intend to look

      18   for market opportunities, and think we'll be able to do it in

      19   a much better fashion than a liquidating Chapter 7 trustee.

      20        The nature of these assets is complex.      Many of them are

      21   private equity investments in operating businesses.           Certain

      22   of them are complicated real estate structures that need to be

      23   dealt with.     Some of them are securities that, depending on

      24   when you want to sell them, we believe there'll be better

      25   times than moving quickly forward to sell them now.




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       1        So, with each of them, we think that we'll be able to do

       2   better than a Chapter 7 trustee based upon our experience.

       3   The only thing that we're level-set with a Chapter 7 trustee

       4   on is that cash is cash.

       5   Q    Do you have any concerns that a Chapter 7 trustee might

       6   not be able to retain the same personnel that the Debtor is

       7   projected to retain?

       8   A    Well, again, in my experience, it would be very difficult

       9   for a Chapter 7 trustee to retain the same professionals, and

      10   typically they don't.

      11        Secondly, retaining the individuals, I think, would be

      12   very difficult for a Chapter 7 trustee, would not have a

      13   relationship with them, and that gap of time and the risks

      14   that they would have to take to join a Chapter 7 trustee I

      15   think would lead most of them to look for different

      16   opportunities.

      17   Q    Okay.    One of the other things, one of the other changes I

      18   think you mentioned between the November and the January

      19   projections was the decision to assume the CLO management

      20   contracts.    Do I have that right?

      21   A    That's correct.

      22   Q    And why has the Debtor decided to assume the CLO

      23   management contracts?     How does that impact the analysis on

      24   the screen?

      25   A    Well, it does add to the expense, but it also adds to the




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       1   proceeds.

       2        When we did the HarbourVest settlement, we ended up with

       3   the first significant interest in HCLOF.       HCLOF owns the vast

       4   majority of the equity in Acis 7, and also owns significant

       5   preferred share interests in the 1.0 CLOs.       And we think it's

       6   in the best interest of the estate to keep the management of

       7   those assets where we have an interest in the outcome of

       8   maximizing value with the estate.

       9        In addition, we're going to have employees who are going

      10   to work with us to manage those specific assets, so we feel

      11   like that will be something where we can control the

      12   disposition much better.

      13        There's also cross-interests that these CLOs have in --

      14   the 1.0 CLOs have in a number of other investments that

      15   Highland has.    As in all things Highland, it's interrelated,

      16   and so many of the companies have direct loans from the CLOs.

      17   We intend to refinance that, but we feel much more comfortable

      18   and feel that there would be value maximization if we're able

      19   to work directly with the Issuers as a manager while we seek

      20   in those underlying investments to refinance the CLO debt.

      21   Q    Has the Debtor -- has the Debtor reached an agreement with

      22   the Issuers on the assumption of the CLO management

      23   agreements?

      24   A    Yes, we have.

      25   Q    Can you describe for the Court the terms of the




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       1   assumption?

       2              MR. RUKAVINA:    Your Honor, this --

       3              THE WITNESS:    Yes.

       4              MR. RUKAVINA:    Your Honor, this is Davor Rukavina.            I

       5   would object to this as hearsay.

       6              THE COURT:    Well, he has not --

       7              MR. MORRIS:    It's --

       8              THE COURT:    He's not said an out-of-court statement

       9   yet, so I overrule.

      10        Go ahead.

      11              THE WITNESS:    Yeah, we -- we are going to assume the

      12   CLO contracts.    We have had direct discussions with the

      13   Issuers.   They have agreed.

      14        The basic terms are that we're going to cure them by

      15   satisfying about $500,000 of cure costs related to costs that

      16   the CLO Issuers have incurred in respect of the case, and

      17   we'll be able to pay that over time.

      18              MR. RUKAVINA:    Your Honor, this is Davor Rukavina.            I

      19   would renew my objection and move to strike his answer that

      20   they've agreed.    That is hearsay, an out-of-court statement

      21   offered to prove the truth of the matter asserted.

      22              THE COURT:    Okay.    Mr. Morris, what is your response?

      23              MR. MORRIS:    He's describing an agreement.       I

      24   actually think it's in the Debtor's plan that's on file

      25   already.   But he's describing the terms of an agreement.            He's




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       1   not saying what anybody said.       There's no out-of-court

       2   statement.     It's an agreement that's being described.

       3                THE COURT:    All right.    Thank you.   I overrule the

       4   objection.

       5                MR. MORRIS:    Okay.

       6   BY MR. MORRIS:

       7   Q    Does the Debtor believe that the CLO agreements will be

       8   profitable?

       9   A    Yes.

      10   Q    And why does the Debtor believe that the CLO agreements

      11   will be profitable to the post-confirmation estate?

      12   A    Well, we don't -- we don't break out profitability on a

      13   line-by-line basis.        But the simple math is that the revenues

      14   from the CLO contracts which will roll in to the Debtor from

      15   the management fees are more than what we anticipate the

      16   actual direct costs of monitoring and managing those assets

      17   would be.

      18   Q    Okay.    Are you aware that yesterday the Debtor filed a

      19   further revised set of projections?

      20   A    I am, yes.

      21   Q    All right.    Let's call those the February projections.

      22                MR. MORRIS:    Can we put those on the screen?

      23        It's Exhibit 7P, Your Honor.

      24                THE COURT:    Okay.

      25                MR. MORRIS:    All right.    I think that for some reason




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       1   -- yeah, okay.    There we go.   Perfect.   Right there.

       2        Your Honor, these are the projections that were filed

       3   yesterday.    I'm going to move for the admission into evidence

       4   of these projections.

       5              THE COURT:    All right.

       6              MR. TAYLOR:    Your Honor, this is Clay Taylor.

       7              THE COURT:    Go ahead.

       8              MR. TAYLOR:    We object.   These were -- these were not

       9   previously provided.     They were provided on the eve of the

      10   confirmation hearing, after the Debtors had already revised

      11   them once and provided those on -- after close of business on

      12   a Friday before Mr. Seery's deposition.      And these were

      13   provided even later, certainly not within the three days

      14   required by the Rule.     And therefore we move to -- that these

      15   should not be allowed into evidence.

      16              THE COURT:    Mr. Morris, what is your response to

      17   that?

      18              MR. MORRIS:    Your Honor, first of all, the January

      19   projections were provided in advance of Mr. Seery's deposition

      20   and he was questioned extensively on it.       These projections

      21   have been updated since then, I think for the singular purpose

      22   of reflecting the UBS settlement.

      23        As Your Honor just saw, the prior projections included an

      24   assumption based on the 3018 motion.       Since Mr. Seery's

      25   deposition, UBS and the Debtor have agreed to publicly




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       1   disclose the terms of the settlement, and that's reflected in

       2   these revised numbers.     I think there was one other change

       3   that Mr. Seery can testify to, but those are the only changes

       4   that were made.

       5              THE COURT:    All right.    Mr. Seery, what besides the

       6   UBS settlement do you think was put in these overnight ones?

       7              THE WITNESS:    I believe the only other change, Your

       8   Honor, was correcting a mistake.       In Assumption M, the second

       9   line is assumes RCP claims will offset against HCMLP's

      10   interest in the fund and will not be paid from the Debtor's

      11   assets.   That hasn't changed.

      12        Basically, the Debtor got an advance from RCP that was to

      13   -- for tax distributions, and did not repay it.        The RCP

      14   investors are entitled to recovery of that.        So we had

      15   previously backed that out.      It's about four million bucks.

      16   What happened was it was just double-counted.

      17              THE COURT:    Okay.

      18              THE WITNESS:    So, as an additional claim, it was

      19   counted as $8 million.     I think that's the only other change.

      20              THE COURT:    All right.    I overrule the objection.

      21   You may go forward.      I admit 7P.

      22              MR. MORRIS:    Thank you, Your Honor.

      23        (Debtor's Exhibit 7P is received into evidence.)

      24              MR. MORRIS:    Can you just -- if we can go to the next

      25   page, please.




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       1   BY MR. MORRIS:

       2   Q    So, with -- seeing that the claims pool under the plan

       3   previously was $313 million, and what's the claims pool under

       4   the projections up on the screen under the plan?

       5   A    Two -- well, remember, there's 273 for Class 8, and then

       6   you'd add in the Class 7 as well, which is the $10.2 million.

       7   So the 273 went from 313 to 273 with that settlement.

       8   Q    And is there any -- is there any reason for the decrease

       9   other than the change from the 3018 settlement -- order figure

      10   to the actual settlement amount?

      11   A    For the UBS piece, no.     And then, as I mentioned, I

      12   believe the other piece would have been that four million --

      13   that additional $4 million that was taken out.

      14   Q    And did those two changes have a -- did those two changes

      15   have an impact on the projected recoveries under the plan?

      16   A    Sure, particularly with respect to -- to the Class 8.

      17   Those recoveries went up significantly because the denominator

      18   went up.

      19   Q    Okay.   Does the Debtor believe that its plan is feasible?

      20   A    Yes, absolutely.

      21   Q    And do you know whether the administrative priority and

      22   convenience class claims will be paid in full under the

      23   Debtor's plan?

      24   A    Yes.    We monitor the cash very closely, so we do have

      25   additional cash to raise, but we're set to reach or exceed




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       1   that target, so we do believe we'll be able to pay all the

       2   administrative claims when they come in.      Obviously, we have

       3   to see what they are.    We will be able to pay Class 7 on the

       4   effective date.    Any other distributions, we expect to be able

       5   to make as well.

       6        So, and then it's -- then it's a question of going forward

       7   with a few other claims that we have to pay over time.          We

       8   have the cash flow to pay those.      Frontier, for example, we'll

       9   be able to pay that claim over time in accordance with the

      10   restructured terms.    If the assets that secure that claim are

      11   sold, they would be paid when those assets are sold.

      12   Q    Frontier, will the plan enable the Debtor to pay off the

      13   Frontier secured claim?

      14   A    Yes.    That's what I was explaining.    The cash flow is

      15   sufficient to support the current P&I on that claim.          We will

      16   be able to satisfy it from other assets if we determine not to

      17   sell the asset securing the Frontier claim, or if we sell the

      18   asset securing the Frontier claim we could satisfy that claim.

      19   The asset far exceeds the value of the claim.

      20   Q    Has the plan been proposed for the purpose of avoiding the

      21   payment of any taxes?

      22   A    No.    We expect all tax claims to be paid in accordance

      23   with the Code, and to the extent that there are additional

      24   taxes generated, we would pay them.

      25   Q    Okay.   Let's just talk about Mr. Dondero for a moment




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       1   before we move on.     Are you aware that Mr. Dondero's counsel

       2   has requested the backup to, you know, these numbers,

       3   including the asset values?

       4   A    It -- I'm not sure if it was his counsel or one of the

       5   other related-entity counsels.

       6   Q    Okay.    But you're aware that a request was made for the

       7   details regarding the asset values and the other aspects of

       8   this?

       9   A    Yes.

      10   Q    Those were -- were those formal requests or informal

      11   requests?

      12   A    They were certainly at my deposition.

      13   Q    Right.    But you haven't seen a document request or

      14   anything like that, have you?

      15   A    No.

      16   Q    Did the Debtor make a decision as to whether or not to

      17   provide the rollup, the backup information to Mr. Dondero or

      18   the entities acting on his behalf?

      19   A    Yes.

      20   Q    And what did the Debtor decide?

      21   A    We would not do that.

      22   Q    And why did the Debtor decide that?

      23   A    Well, I think that's pretty standard.      The underlying

      24   documentation and the specific terms of the model are very

      25   specific, and they are -- they are confidential business




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       1   information that runs through what we expect to spend and what

       2   we expect to receive and when we expect to sell assets and

       3   then receive proceeds, and the prices at which we expect to

       4   sell them.

       5        To the extent that any entity wants to have that

       6   information as a potential bidder, that would be very

       7   detrimental to our ability to maximize value.       So, typically,

       8   I wouldn't expect that to be given out, and I would not

       9   approve it to be given out here.

      10   Q    Did the Debtor disclose to Mr. Dondero's counsel or

      11   counsel for one of his entities the agreement in principle

      12   with UBS before the updated plan analysis was filed last

      13   night?

      14   A    I believe that disclosure was done a while ago, to Mr.

      15   Lynn.

      16   Q    So, to the best of your -- so, to the best of your

      17   knowledge, the Debtor actually shared the specifics of the

      18   agreement with UBS with Mr. Dondero and his counsel before

      19   last night?

      20   A    Yes.    I have specific personal knowledge of it because we

      21   had to ask UBS for their permission, and they agreed.

      22   Q    Okay.

      23                MR. MORRIS:   All right.   Let's move on to 1129(b),

      24   Your Honor, the cram-down portion.

      25   BY MR. MORRIS:




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       1   Q    Are you aware, Mr. Seery, how various classes have voted

       2   under the plan?

       3   A    I am generally, yes.

       4   Q    Okay.    Did any class vote to reject the plan, to the best

       5   of your knowledge?

       6   A    I don't -- I guess it depends on how you define the class.

       7   I think the answer is that I don't believe that, when you

       8   count the full votes of the -- the allowed claims and the

       9   votes in any class, I don't believe any of the classes voted

      10   to reject the plan.

      11   Q    What type of claims are in Class 8?

      12   A    General unsecured claims.

      13   Q    And what percentage of the dollar amount of Class 8 voted

      14   to accept?

      15   A    It's -- I think it's near -- now with the Daugherty

      16   agreements, it's near a hundred percent of the third-party

      17   dollars.     I don't know the individual employees' claims off

      18   the top of my head.

      19   Q    All right.    And what about the number in Class 8?      Have a

      20   majority voted to accept or reject in Class 8?

      21   A    If you include the employee claims -- which, again, we

      22   think have no dollar amounts -- then I think it's a majority

      23   would have rejected.    The vast dollar amounts did accept.

      24   Q    Okay.    Let's talk about those employees claims for a

      25   moment.    Do you have an understanding as to the basis of the




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       1   claims?

       2   A    Yes.

       3   Q    What's your understanding of the basis of the claims?

       4   A    Most of the claims are based on deferred compensation, and

       5   that's the 2005 Highland Capital Management bonus plan.          And

       6   that bonus plan provides certain deferred payment amounts to

       7   the employees to be paid over multiple-year periods, provided

       8   that they are in the seat when the payment is due.        That's the

       9   vesting date.

      10   Q    Okay.

      11                MR. MORRIS:    Your Honor, just as a note-keeping

      12   matter, the deferred compensation plan and the annual bonus

      13   plan are Exhibits 6F and 6G, respectively, and they're on

      14   Docket 1822.

      15                THE COURT:    All right.

      16   BY MR. MORRIS:

      17   Q    And Mr. Seery, are you generally familiar with those

      18   plans?

      19   A    I am, yes.

      20   Q    In order to receive benefits under the plans, are the

      21   employees required to be employed at the time of vesting?

      22   A    Yeah.    Our counsel refers to them, various terms, but

      23   generally -- our outside labor counsel.       They're referred to

      24   as seat-in-the-seat plans, meaning that your seat has to be in

      25   a seat at the office at the day that the payment is due.         If




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       1   you're terminated for cause or if you resign, you're not

       2   entitled to any payment.

       3        So either you're there and you receive it or you're not

       4   and you don't.    The only exception to that, I believe, is

       5   death and disability.     Or disability.

       6   Q    All right.    Did the Debtor terminate the annual bonus

       7   plan?

       8   A    Yes, we did.

       9   Q    And in what context did the Debtor terminate the annual

      10   bonus plan?

      11   A    Well, we had discussion on it last week.       As Mr. Dondero

      12   had also testified, the plan was to terminate all the

      13   employees prior to the transition.      That's well known among

      14   the employees.    The board terminated the 2005 bonus plan and

      15   instead replaced it with a KERP plan that was approved by this

      16   Court.

      17   Q    And what was your understanding of the consequences of the

      18   termination of the bonus plan for -- for purposes of the

      19   claims that have been asserted by the employees who rejected

      20   in Class 8?

      21   A    It's clear that, under the 2005 HCMLP bonus plan, no

      22   amounts are due because the plan has been terminated.

      23   Q    All right.    Do you have an understanding as to when

      24   payments become due under the deferred compensation -- under

      25   the compensation plan?




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       1   A    I do, yes.

       2   Q    And when are they due?

       3   A    The next payments are due in May.

       4   Q    And what is the Debtor intending to do with respect to the

       5   objecting employees?

       6   A    The Debtor will have terminated all those employees before

       7   that date.

       8   Q    All right.    So, what's -- what are the consequences of

       9   their termination vis-à-vis their claims under the deferred

      10   compensation plan?

      11   A    They won't have any claims.

      12   Q    Okay.    So is it the Debtor's view that the employees who

      13   voted to reject in Class 8 have no valid claims under the

      14   annual comp -- annual bonus plan or the deferred compensation

      15   plan?

      16                MR. RUKAVINA:    Your Honor, this is Davor Rukavina.

      17   With due respect, Your Honor, these employees have voted.          The

      18   voting is on file.        There has been no claim objections to

      19   their claims filed.       There's been no motion to designate their

      20   votes filed.     So Mr. Seery's answer to this is irrelevant.

      21   They have votes -- pursuant to this Court's disclosure

      22   statement order, they have votes and they have counted, and

      23   now Mr. Seery is attempting to basically impeach his own

      24   balloting summary.

      25                THE COURT:    Mr. Morris, what is your response?




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       1              MR. MORRIS:    The point of cram-down, Your Honor, is

       2   it fair and equitable.     Does -- does -- is it really fair and

       3   equitable to the 99 percent of the economic interests to allow

       4   24 employees who have no valid claims to carry the day here?

       5   And this is -- that's what cram-down is about, Your Honor.

       6              THE COURT:    All right.   I overrule the objection.

       7   BY MR. MORRIS:

       8   Q    Let's talk about Class 7 for a moment, Mr. Seery.        That's

       9   the convenience class; is that right?

      10   A    That's correct.

      11   Q    How and why was that created?

      12   A    Well, initially, that was created because we had two types

      13   of creditors in the case, broadly speaking.       We had liquidated

      14   claims, which were primarily trade-type creditors, and we had

      15   unliquidated claims, which were the litigation-type creditors.

      16   And so that class was created to deal with the liquidated

      17   claims, and the Class 8 would deal with the unliquidated

      18   claims, which were expected to, as we talked about earlier

      19   with respect to the monetization plan, take some time to

      20   resolve.

      21   Q    Was the creation of the convenience class a product of

      22   negotiations with the Committee?

      23   A    The initial discussion on how we set it up I believe was

      24   generated by the Debtor's side, but how it evolved and who

      25   would be in it and how it was treated in terms of




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       1   distributions was a product of negotiation with the Committee.

       2   Q    Okay.   So how was the dollar threshold figure arrived at?

       3   How did you actually determine to create a convenience class

       4   at a million dollars?

       5   A    It was through negotiation with the Committee.       So this

       6   was one of those items that moved a fair bit, in my

       7   recollection, through the many negotiations we had, heated

       8   negotiations on some of these items, with the Committee.

       9   Q    And are all convenience class -- all holders of

      10   convenience class claims holders of claims that were

      11   liquidated at the time the decision was made to create the

      12   class?

      13   A    I believe so.    I don't think there's been -- other than --

      14   well, there -- we just had some settlements today, and I think

      15   that relates to the employees, but those would be the only

      16   ones that there would be disputes about, and that would roll

      17   into the liquidat... the convenience class.

      18   Q    Okay.   Finally, is there any circumstance under which

      19   holders of Class 10 or 11, Class 10 or Class 11 claims will be

      20   able to obtain a recovery under the plan?

      21   A    Theoretically, there's a circumstance, and that is if

      22   every other creditor in the case were to be paid in full, with

      23   interest at the federal judgment rate, including Class 9,

      24   which are the subordinated claims.      If those all got paid in

      25   full, then theoretically the junior interest holders could




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       1   receive distributions.

       2        However, based upon our projections, that would be wholly

       3   dependent on a significant recovery in the Litigation -- by

       4   the Litigation Trustee.

       5   Q    Okay.   Let's move now to questions of the Debtor release

       6   and the plan injunction.     Is the Debtor providing a release

       7   under the plan?

       8   A    Yes.

       9   Q    Is anyone other than the Debtor providing a release under

      10   the plan?

      11   A    No.

      12   Q    Who is the Debtor proposing to release under the plan?

      13   A    The release parties are pretty similar to what you

      14   typically would see, in my experience, in most plans.          You

      15   have the independent board, myself as CEO and CRO, the

      16   professional -- the Committee members, the professionals in

      17   the case, and the employees that we reached agreement with

      18   respect to certain of them who have signed on to a

      19   stipulation, and others, get a broader release for negligence.

      20   Q    Okay.   Is the Debtor aware of any facts that might give

      21   rise to a colorable claim against any of the proposed release

      22   parties?

      23   A    Not with respect to any of the release parties.          So the --

      24   obviously, I don't think there's any claims against me.          But

      25   the same is true with respect to the oversight board, the




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       1   independent board.

       2        The Committee has been, you know, working with us hand-in-

       3   glove, and I think if they thought we -- there was something

       4   there, we would have heard it.

       5        With respect to the professionals, we haven't seen

       6   anything as an independent board.

       7        And with respect to the employees' that -- general

       8   negligence release, these are current employees and we have

       9   been monitoring them for a year and we don't have any evidence

      10   or anything to suggest that there would be a claim against

      11   them.

      12   Q    Are there conditions to the employees' release?

      13   A    There are.    So, the employee release, as we talked about

      14   earlier, was highly negotiated with the Committee.        It

      15   requires that employees assist in the monetization efforts,

      16   which is really on the transition and the monetization.          They

      17   don't have to assist in bringing litigations against anybody,

      18   so that's not part of what the provision requires.        But it

      19   does require that they assist generally in our efforts to

      20   monetize assets.

      21        We don't think that's going to be significant, but if

      22   there are individual questions or help we need, we certainly

      23   would reach out to them.     If it's significant time, that will

      24   be a different discussion.

      25        And then with respect to the two senior employees who




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       1   signed the stipulation, they have to give up a part of their

       2   distribution for their release.

       3   Q    All right.    I think you just alluded to this, but has the

       4   release been the subject of negotiation with the Creditors'

       5   Committee?

       6   A    Yeah.    We've touched on it a bunch of times, and we

       7   certainly, unfortunately, let it spill over into the court a

       8   couple times.     It was a hotly-negotiated piece of the plan.

       9   Q    Okay.    Has the Committee indicated to the Debtor in any

      10   way that anybody subject to the release is the subject of a

      11   colorable claim?

      12   A    Anyone subject to the release?      No.

      13   Q    Yeah.    All right.   Let's talk about the plan injunction

      14   for a moment.     Are you familiar with the plan injunction?

      15   A    Broadly, yes.

      16   Q    And what is your broad understanding of the plan

      17   injunction?

      18   A    Anybody who has a claim or thinks they have a claim will

      19   broadly be enjoined from bringing that, other than as it's

      20   satisfied under the plan or else ultimately bringing it before

      21   this Court.    And that's the gatekeeper part, which is a little

      22   bit of combining the two pieces.

      23   Q    And what's your understanding of the purpose of the

      24   injunction?

      25   A    It's really to prevent vexatious litigation.       We, as




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       1   independent directors, stepped into what I think most people

       2   would fairly say is one of the more litigious businesses and

       3   enterprises that they've seen.      And we have a plan that will

       4   allow us to monetize assets for the benefit of the creditor

       5   body, provided we're able to do that and not have to put out

       6   fires every day on different fronts.       So what we're hoping to

       7   do with the injunction is ensure that we can actually fulfill

       8   the purposes of the plan.

       9   Q    All right.    Let's talk about some of the litigation that

      10   you're referring to.

      11              MR. MORRIS:   Can we put up on the screen the

      12   demonstrative for the Crusader litigation?

      13   BY MR. MORRIS:

      14   Q    And Mr. Seery, I would just ask you to kind of describe

      15   your understanding in a general way about the history of the

      16   Crusader litigation.

      17              MR. MORRIS:   And, Your Honor, just to be clear here,

      18   this is a demonstrative exhibit.      As you can see in the

      19   footnotes, it's heavily footnoted to the documents and to --

      20   and, really, to the court cases themselves.       The documents on

      21   the exhibit list include the dockets from each of the

      22   underlying litigations.     And I just want to just have Mr.

      23   Seery describe at an extremely high level some of the

      24   litigation that the Debtor has confronted over the years, you

      25   know, as the driver, as he just testified to, for the decision




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       1   to seek this gatekeeper injunction.

       2                THE COURT:   All right.

       3   BY MR. MORRIS:

       4   Q    So, Mr. Seery, can you just describe kind of in general

       5   terms the Crusader litigation?

       6   A    Yeah.    I apologize to the Redeemer team for maybe not

       7   doing this justice.       But this is litigation that came out of a

       8   financial crisis upheaval related to this fund.       Disputes

       9   arose with respect to the holders of the interests, which were

      10   the -- ultimately became the Redeemers, and Highland as the

      11   manager.

      12        That went through initial litigation, and then into the

      13   Bermuda courts, where it was subject to a scheme.        The scheme

      14   required or allowed for the liquidation of the fund and then

      15   distributions to the -- to the holders, and then deferred many

      16   of the payments to Highland.

      17        At some point, Highland, frustrated that it wasn't able to

      18   get the payments, decided to just take them, and I think, you

      19   know, fairly -- can be fairly described, at least by the

      20   arbitration panel, as coming up with reasons that may not have

      21   been wholly anchored in reality as to what its reasons were

      22   for taking that money.

      23        That led to further disputes with the Redeemers, who then

      24   terminated Highland and brought an arbitration action against

      25   Highland.     They were successful in that arbitration and




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       1   received a $137 arbitration award.      And right up to the

       2   petition date, that arbitration pursued.      When they finally

       3   got their -- the arbitration award, they were going to

       4   Delaware Chancery Court to file it and perfect it, and the

       5   Debtor filed.

       6   Q    Okay.

       7                MR. MORRIS:   Let's go to the next slide, the Terry/

       8   Acis slide.     If we could just open that up a little bit.      It's

       9   -- as you can imagine, Your Honor, it's a little difficult to

      10   kind of summarize the Acis/Terry saga in one slide, but we've

      11   done the best we can.

      12   BY MR. MORRIS:

      13   Q    Mr. Seery, can you describe generally for Judge Jernigan,

      14   who is well-versed in the matter, the broad overview of this

      15   litigation?

      16   A    There's clearly nothing I can tell the Court about the

      17   bankruptcy that it doesn't already know.      But very quickly,

      18   for the record, Mr. Terry was an employee at Highland.         He

      19   also has a partnership interest in Acis, which was, in

      20   essence, the Highland CLO business.      He -- and he got into a

      21   dispute with Mr. Dondero regarding certain transactions that

      22   Mr. Dondero wanted to enter into and Mr. Terry didn't believe

      23   were appropriate for the investors.

      24        Strangely, the assets that underlie that dispute are still

      25   in the Highland portfolio, both Targa (phonetic) and Trussway.




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       1   Mr. Terry was terminated, or quit, depending on whose side of

       2   the argument you take.     Mr. Terry then sought compensation in

       3   the arbitration pursuant to the partnership agreement.

       4   Ultimately, he was awarded an arbitration award of roughly $8

       5   million.

       6        When he went to enforce that -- that was against Acis.

       7   When he went to enforce that against Acis, which had all the

       8   contracts, Highland went about, I think, terribly denuding

       9   Acis and moving value.     Mr. Terry ultimately was able to file

      10   an involuntary against Acis, and after a tremendous amount of

      11   litigation had a plan confirmed that gave him certain rights

      12   in Acis and any ability to challenge certain transactions with

      13   respect to Highland that formed the basis of his claims in the

      14   Highland bankruptcy.

      15        That wasn't the end of the saga, because Highland

      16   commenced a litigation -- well, not Highland, but HCLOF and

      17   others, directed by others -- commenced litigation against Mr.

      18   Terry in Guernsey, an island in the English Channel.          That

      19   litigation wound its way for a couple -- probably close to two

      20   years, at least a year and a half, and ultimately was -- it

      21   was dismissed in Mr. Terry's favor.

      22        While that was pending, litigation was commenced in New

      23   York Supreme Court against Mr. Terry and virtually anybody who

      24   had ever associated with him in the business, including --

      25   including some of the rating agencies.       That was withdrawn as




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       1   part of our efforts working with DAF to try to bring a little

       2   bit of sanity to the case.       But it was withdrawn without

       3   prejudice.

       4        But ultimately, you know, we've agreed to a claims

       5   settlement, which was approved by this Court, with Acis and

       6   Mr. Terry.

       7   Q    All right.

       8                MR. MORRIS:    How about UBS?   Can we get the UBS

       9   slide?

      10                THE WITNESS:   I should mention that there's other

      11   litigations involving Mr. Terry and Highland individuals that

      12   are outstanding, I believe, in Texas court.        We have not yet

      13   had to deal with those.

      14   BY MR. MORRIS:

      15   Q    Okay.    Can you describe for the Court your general

      16   understanding of the UBS litigation?

      17   A    Again, UBS comes out of the financial crisis.       It was a

      18   warehouse facility that UBS had established for Highland.          It

      19   actually was a pre-crisis facility that was restructured in

      20   early '08, while the markets were starting to slide but before

      21   they really collapsed.       That litigation started after Highland

      22   failed to make a margin call.       UBS foreclosed out -- or it

      23   wasn't really a foreclosure, because it's a warehouse

      24   facility, but basically closed out all the interest and sought

      25   recovery from Highland for the shortfall.




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       1        Highland was one of the defendants, but there are numerous

       2   defendants, including some foreign subsidiaries of Highland.

       3        That case wend its way through the New York Supreme Court,

       4   up and down between the Supreme and the Appellate Division,

       5   which is the intermediate appellate court in New York.

       6   Incredibly litigious effort over virtually every single item

       7   you could possibly think of.

       8        Ultimately, UBS got a judgment for $500-plus million and

       9   -- plus prejudgment interest against two of the Highland

      10   subsidiaries.    It then sought to commence action up -- enforce

      11   its judgment through various theories against Highland.         That

      12   is part of the settlement that we have -- it's been part of

      13   the lift stay motion here, the 3019, as well as the 3018, and

      14   as well as the ultimate settlement we've discussed today.

      15   Q    Okay.   Moving on to Mr. Daugherty, can you describe for

      16   the Court your understanding of the Daugherty litigation?

      17   A    The Daugherty litigation goes back even further.         It did

      18   -- I think the original disputes were -- or, again, started to

      19   happen between Mr. Daugherty and Mr. Dondero even prior to the

      20   crisis, but Mr. Dondero -- Daugherty certainly stayed with

      21   Highland post-crisis.     And then when Mr. Daugherty was severed

      22   or either resigned or terminated from his position, there was

      23   various litigations that began between the parties very

      24   intensely in state court, one of the more nasty litigations

      25   that you can imagine, replete with salacious allegations and




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       1   press releases.

       2          That litigation then led to an award originally for Mr.

       3   Daugherty from HERA, which was an entity that had assets that

       4   Mr. Daugherty alleges were stripped.       Mr. Daugherty had to pay

       5   a judgment against Highland.      Ultimately, litigations were

       6   commenced in both the state court and the Delaware Chancery

       7   Court.    Those litigations, many of those continue, because

       8   they're not just against the entities but specific

       9   individuals.    Mr. Daugherty got a voting -- a claim allowed

      10   for voting purposes in our case of $9.1 million, and we've

      11   since reached an agreement with Mr. Daugherty on his claim,

      12   save for a tax case which we announced earlier that relates to

      13   compensation, claimed compensation with respect to a tax

      14   distribution, which we have defenses for and he has claims

      15   for.

      16               MR. MORRIS:   All right.   We can take that down,

      17   please.

      18   BY MR. MORRIS:

      19   Q      And let's just talk for a few minutes about some of the

      20   things that have happened in this case.       Did Mr. Dondero

      21   engage in conduct that caused the Debtor to seek and obtain a

      22   temporary restraining order?

      23   A      Yes, he did.

      24   Q      And did the Debtor -- did Mr. Dondero engage in conduct

      25   that caused the Debtor to seek and obtain a preliminary




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       1   injunction against him?

       2   A    Yes.

       3   Q    And has the Debtor filed a motion to hold Mr. Dondero in

       4   contempt for violation of the TRO?

       5   A    Yes.

       6   Q    Are you aware that -- of the CLO-related motion that was

       7   filed in mid-December?

       8   A    It's similar in that these are controlled entities that

       9   brought similar types of claims against the Debtor and

      10   interfered in similar ways, albeit not as directly threatening

      11   with respect to the personnel of the Debtor.

      12   Q    Okay.   And you're aware of how that -- that motion was

      13   resolved?

      14   A    I know we resolved it, and I'm drawing a blank on that.

      15   But --

      16   Q    All right.    Are you aware, did Mr. Daugherty also object

      17   to the Acis and HarbourVest settlements, or at least either

      18   him or entities acting on his behalf?

      19   A    I think you meant Mr. Dondero.      I don't believe Mr.

      20   Daugherty did.

      21   Q    You're right.    Thank you.   Let me ask the question again.

      22   Thank you for the clarification.      We're almost done.      To the

      23   best of your knowledge, did Mr. Dondero or entities that he

      24   controls file objections to the Acis and HarbourVest

      25   settlements?




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       1   A    Yes, they did.

       2   Q    And we're here today with this long recitation because the

       3   remaining objectors are all Mr. Dondero or entities owned or

       4   controlled by him; is that right?

       5   A    That's correct.

       6   Q    All right.

       7                MR. RUKAVINA:    Your Honor, I didn't have a chance to

       8   object in time.     Entities owned or controlled by Mr. Dondero.

       9   There's no evidence of that with respect to at least three of

      10   my clients, and this witness has not been asked predicate

      11   questions to lay a foundation.          Mr. Dondero does not own or

      12   control the three retail (inaudible).          So I move to strike

      13   that answer.

      14                MR. MORRIS:    Your Honor, I withdraw with respect to

      15   the three funds.     It's fine.

      16                THE COURT:    All right.    With that withdrawal, then I

      17   think that resolves the objection.

      18                MR. MORRIS:    Uh, --

      19                THE COURT:    Or I overrule the remaining portion.

      20        Okay.    Go ahead.

      21                MR. RUKAVINA:    That does, Your Honor.    Thank you.

      22   BY MR. MORRIS:

      23   Q    Are -- are -- is everything that you just described, Mr.

      24   Seery, the basis for the Debtor's request for the gatekeeper

      25   and injunction features of the plan?




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       1   A    Well, everything I described are a part of the basis for

       2   that.   I didn't describe every single basis with respect to

       3   why those --

       4   Q    So what are -- what are the other reasons that the Debtor

       5   is seeking the gatekeeper and injunction provisions in the

       6   plan?

       7   A    We really do need to be able to operate the business and

       8   monetize the assets without direct interference and litigation

       9   threats.   We didn't go through some of the specifics, and I

      10   hesitate to burden the Court again, but the email to me, the

      11   email to Mr. Surgent, the testimony threatening -- effectively

      12   threatening Mr. Surgent, in my opinion, by Mr. Dondero, in the

      13   court in previous weeks, statements by his counsel indicating

      14   that Mr. Dondero is going to sue me for hundreds of millions

      15   of dollars down the road.

      16        I mean, this is nonstop.     I'm an independent fiduciary.

      17   I'm trying to maximize value for the estate.       I've got some

      18   guy who's threatening to sue me?      It's absurd.

      19              MR. MORRIS:    Your Honor, I have no further questions,

      20   but what I would respectfully request is that we take just a

      21   short five-minute break.     I'd like to just confer with my

      22   colleagues before I pass the witness.

      23              THE COURT:    All right.   Five-minute break.

      24              MR. MORRIS:    Thank you, Your Honor.

      25              THE CLERK:    All rise.




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       1        (A recess ensued from 1:58 p.m. to 2:06 p.m.)

       2                THE CLERK:    All rise.

       3                THE COURT:    All right.    Please be seated.   We're back

       4   on the record in Highland.          Mr. Morris, anything else?

       5                MR. MORRIS:    All right, Your Honor.    Can you hear me?

       6                THE COURT:    I can, uh-huh.

       7                MR. MORRIS:    Okay.    Mr. Seery, are you there?

       8                THE WITNESS:    I am, yes.

       9                MR. MORRIS:    I just have a few follow-up questions,

      10   Your Honor, if I may.

      11                THE COURT:    Okay.

      12                        DIRECT EXAMINATION, RESUMED

      13   BY MR. MORRIS:

      14   Q    Okay.    Mr. Seery, we talked for a bit about the difference

      15   between the convenience class and the general unsecured

      16   claims.     Do you recall that?

      17   A    Yes.

      18   Q    And that's the difference between Class 7 and 8; do I have

      19   that right?

      20   A    Yes.

      21   Q    And what is the recovery for claimants in Class 7, to the

      22   best of your recollection, the convenience class?

      23   A    It's 85 cents.

      24   Q    And under --

      25   A    On the dollar.




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       1   Q    And under the projections that were filed last night, and

       2   we can call them up on the screen if you don't have total

       3   recall, do you recall what Class 8 is projected to recover now

       4   that we've taken into account the UBS settlement?

       5   A    Approximately 71.

       6   Q    Okay.

       7   A    Percent.    71 cents on the dollar.

       8                THE COURT:   Okay.   The answer --

       9   BY MR. MORRIS:

      10   Q    Okay.    Do I this right --

      11                THE COURT:   The answer was a little garbled.    Can you

      12   repeat the answer, Mr. Seery?

      13                THE WITNESS:   Approximately 71 cents on the dollar,

      14   Your Honor.

      15                THE COURT:   Okay.   Thank you.

      16   BY MR. MORRIS:

      17   Q    Okay.    And do I have that right, that that 71 cents

      18   includes no value for potential litigation claims?

      19   A    That's correct.      We didn't even put that in our

      20   projections at all.

      21   Q    So is it possible, depending on Mr. Kirschner's work, that

      22   holders of Class 8 claims could recover an amount in excess of

      23   85 percent?

      24   A    It's possible, yes.

      25   Q    Okay.    Are you aware that Dugaboy has suggested that the




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       1   Debtor should resolicit because their -- their -- the

       2   projections in the November disclosure statement were

       3   misleading?

       4   A      I'm aware that they've made allegations along those lines,

       5   yes.

       6   Q      Okay.   Do you think the November projections were

       7   misleading in any way?

       8   A      No, not at all.

       9   Q      And why not?

      10   A      Well, the plan was -- the projections are for the plan,

      11   and they contain assumptions.      And it was clear in the plan

      12   that those assumptions could change.       So the value of the

      13   assets, which aren't static, does change.       The costs aren't

      14   static.    They do change.   The amount of the claims, the

      15   denominator, was not static and would change.

      16   Q      Okay.   And were the -- were the changes in the claims, for

      17   example, changes that were all subject to public viewing, as

      18   the Court ruled on 3018, as the settlement with HarbourVest

      19   was announced?

      20   A      Well, the plan -- the terms of the plan made clear that

      21   the Class 8 claims would -- would be whatever the final

      22   amounts of those claims were going to be.       We did resolve the

      23   claims of HarbourVest and then ultimately the settlement

      24   announced today, but in front of -- in front of the world, in

      25   front of the Court, with a 9019 motion.




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       1   Q    Okay.   We had finished up with some questioning about the

       2   gatekeeper and the injunction provision.      Do you recall that?

       3   A    Yes, I do.

       4   Q    And you had testified as to the reasons why the Debtor was

       5   seeking that particular protection.      Do you recall that?

       6   A    Yes.

       7   Q    In the absence of that protection, does the Debtor have

       8   any concerns that interference by Mr. Dondero could adversely

       9   impact the timing of the Debtor's plan?

      10   A    Well, that's my opinion and what I testified to before.          I

      11   think the -- the injunction -- the exculpation, the

      12   injunction, and the gatekeeper are really critical and

      13   essential elements of this plan, because we have to have the

      14   ability, unfettered by litigation, particularly vexatious

      15   litigation in multiple jurisdictions, we have to be able to

      16   avoid that and be able to focus on monetizing the assets and

      17   try to maximize value.

      18   Q    Is there a concern that that value would erode if

      19   resources and time and attention are diverted to the

      20   litigation you've just described?

      21   A    Absolutely.   The focus of the team has to be on the

      22   assets' monetization, creative ways to get the most value out

      23   of those assets, and not on defending itself, trying to paper

      24   up some sort of litigation defense against vexatious

      25   litigation, and also spending time actually defending




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       1   ourselves in various courts.

       2   Q    Okay.    Last couple of questions.       If there was no

       3   gatekeeper provision in the plan, would you accept appointment

       4   as the Claimant Trustee?

       5   A    You broke up.    No which provision?

       6   Q    If there was no gatekeeper provision in the -- in the

       7   confirmation order, would you accept the position as Claimant

       8   Trustee?

       9   A    No, I wouldn't.       Just -- just like when I came on, there

      10   were -- there are some pretty essential elements that I

      11   mentioned before.     One is indemnification.      Two is directors

      12   and officers insurance.        And three was a gatekeeper function.

      13   I want to make sure that we're not at risk, that I'm not at

      14   risk, for doing my job.

      15   Q    And I think you just said it, but if you were unable to

      16   obtain D&O insurance, would you accept the position as

      17   Claimant Trustee?

      18   A    No, I would not.

      19                MR. MORRIS:    I have no further questions, Your Honor.

      20                THE COURT:    All right.   So, you went two hours and 34

      21   minutes in total with your direct.        So we'll now pass the

      22   witness for cross.        And the Objectors get an aggregate of two

      23   hours and 34 minutes.

      24        Who's going to go first?

      25                MR. RUKAVINA:    Your Honor, Davor Rukavina.       I will.




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       1                 THE COURT:    Okay.   Go ahead.

       2                 MR. RUKAVINA:    Mr. Vasek, if you can pull up Exhibit

       3   6N, the ballot summary, Page 7 of 15 on the top.

       4                 MR. POMERANTZ:    Mr. Morris, you're not on mute.

       5                 MR. MORRIS:    Thank you, sir.

       6                 MR. RUKAVINA:    Mr. Vasek, did you hear me?    There it

       7   is.

       8                                 CROSS-EXAMINATION

       9   BY MR. RUKAVINA:

      10   Q     Mr. Seery, are you familiar with this ballot tabulation

      11   that was filed with the Court and that has been admitted into

      12   evidence?

      13   A     Yes, I believe I've seen this.

      14   Q     Okay.    And this says that 31 Class 8 creditors rejected

      15   and 12 Class 8 creditors accepted the plan, correct?

      16   A     That's correct.

      17   Q     And since then, I think we've heard that Mr. Daugherty and

      18   maybe two other employees have changed their vote to an

      19   accept; is that correct?

      20   A     That's correct, yes.

      21   Q     Okay.    Other than three, those three employees that are

      22   changing, do you know of any other Class 8 creditors that are

      23   changing their votes?

      24   A     Mr. Daugherty is not an employee.

      25   Q     I apologize.    Other than those three Class 8 creditors




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                                     Seery - Cross                          170


       1   that are changing their votes, do you know of any other ones

       2   that are changing their votes?

       3   A    No.

       4   Q    Okay.   You didn't tabulate the ballots, did you?

       5   A    No, I did not.

       6   Q    Do you have any reason to question the accuracy of this

       7   ballot summary that's been filed with the Court?

       8   A    No, I do not.

       9   Q    Okay.   You mentioned that many of the people that rejected

      10   the plan are former employees who you don't think will

      11   ultimately have allowed claims, correct?

      12   A    Not ultimately.    I said they don't have them now.

      13   Q    Okay.   Are you aware that the Court ordered that

      14   contingent unliquidated claims be allowed to vote in an

      15   estimated amount of one dollar?

      16   A    I'm aware of that, yes.

      17   Q    Okay.   All right.   Now, no motion to reconsider that order

      18   has been filed, correct?

      19   A    Not to my knowledge.

      20   Q    Okay.   No objection to these rejecting employees' claims

      21   have been filed yet, correct?

      22   A    Correct.

      23   Q    Okay.   And no motion to strike or designate their vote has

      24   been filed as of now, correct?

      25   A    Correct.




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                                        Seery - Cross                       171


       1                MR. RUKAVINA:    You can take down that exhibit, Mr.

       2   Vasek.

       3   BY MR. RUKAVINA:

       4   Q    Mr. Seery, the Debtor itself is a limited partnership; I

       5   think you confirmed that earlier, correct?

       6   A    Correct.

       7   Q    And its sole general partner is Strand Advisors, Inc.,

       8   correct?

       9   A    Correct.

      10   Q    And to your understanding, the Debtor, as a limited

      11   partnership, is managed by its general partner, correct?

      12   A    Correct.

      13   Q    Okay.    And Strand, that's where the independent board of

      14   you, Mr. Nelms, and Mr. Dubel -- or I apologize if I'm

      15   misspelling, misstating his name -- that's where the board

      16   sits, at Strand, correct?

      17   A    Yes.

      18   Q    Okay.    And that board has been in place since about

      19   January 9, 2020?

      20   A    Yes.

      21   Q    Okay.    Strand is not a debtor in bankruptcy, correct?

      22   A    No.

      23   Q    Okay.    Do you have any understanding as to whether, under

      24   non-bankruptcy law, a general partner is liable for the debts

      25   of the limited partnership that it manages?




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                                       Seery - Cross                        172


       1   A    I do.

       2   Q    Okay.    What's your understanding?

       3   A    Typically, a general partner is liable for the debts of

       4   the partnership.

       5   Q    Okay.    And under the plan, Strand itself is an exculpated

       6   party and a protected party and a released party for matters

       7   arising after January 9, 2020, correct?

       8   A    Yes.

       9   Q    Okay.    You mentioned that you're the chief executive

      10   officer and chief restructuring officer in this case for the

      11   Debtor, correct?

      12   A    For the Debtor, yes.

      13   Q    Yeah.    You are not a Chapter 11 trustee, right?

      14   A    No.

      15   Q    Okay.    You are one of the principal authors of this plan,

      16   correct?

      17   A    Consultant.

      18                MR. MORRIS:    Objection to the form of the question.

      19                THE COURT:    Sustained.

      20   BY MR. RUKAVINA:

      21   Q    You are --

      22                THE COURT:    Sustained.

      23   BY MR. RUKAVINA:

      24   Q    You are --

      25                THE COURT:    Rephrase.




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                                        Seery - Cross                      173


       1   BY MR. RUKAVINA:

       2   Q    -- one of the principal --

       3                MR. RUKAVINA:    I apologize.

       4   BY MR. RUKAVINA:

       5   Q    You had input in creating this plan, didn't you?

       6   A    I did, yes.

       7   Q    Okay.    And you're familiar with the plan's provisions,

       8   aren't you?

       9   A    Yes.

      10   Q    Okay.    And you, of course, approve of the plan, correct?

      11   A    Yes.

      12   Q    Okay.    And you are, of course, familiar generally with

      13   what the property of the estate currently is, correct?

      14   A    Yes.

      15   Q    Okay.    And part of the purpose of the plan, I take it, is

      16   to vest that property in the Claimant Trust in some respects

      17   and the Reorganized Debtor in some respects, correct?

      18   A    I don't -- I don't know if that's a fair characterization.

      19   Some property -- maybe some property will stay with the

      20   Debtor, some will be transferred directly to the Trust.

      21   Q    Okay.    All property of the estate as it currently exists

      22   will stay with the Debtor or go to the Trust, correct?

      23   A    Yes.

      24   Q    Okay.    And under the plan, the Creditor Trust will be

      25   responsible for payment of prepetition claims, correct?




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       1   A    Yes.

       2   Q    And under the plan, the Creditor Trust will be responsible

       3   for the payment of postpetition pre-confirmation claims,

       4   correct?

       5   A    Do you mean admin claims?      I don't --

       6   Q    Sure.

       7   A    I don't understand your question.       I'm sorry.

       8   Q    Yes.    We can call them admin claims.

       9   A    Yeah.    Those -- they'll be -- they will be paid on the

      10   effective date or in and around that time.          So I'm not sure if

      11   that's actually going to be from the Trust, but I think it's

      12   actually from the Debtor, as opposed to from the Trust.

      13   Q    Okay.    But after the creation of the Claimant Trust, --

      14   A    Uh-huh.

      15   Q    -- whatever administrative claims are not paid by that

      16   time will be assumed by and paid from the Claimant Trust,

      17   correct?

      18   A    I don't recall that specifically.

      19   Q    Is it your testimony that the Reorganized Debtor will be

      20   obligated post-effective date of the plan to pay any admin

      21   claims that are then unpaid?

      22                MR. MORRIS:    Objection to the form of the question.

      23                THE COURT:    Sustained.   Rephrase.

      24   BY MR. RUKAVINA:

      25   Q    Who pays unpaid admin claims under the plan once the plan




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       1   goes effective?

       2   A    I believe the Debtor does.         The Reorganized Debtor.

       3   Q    Okay.    The Reorganized Debtor also gets a discharge,

       4   correct?

       5   A    Yes.

       6   Q    Okay.    And there is no bankruptcy estate left after the

       7   plan goes effective, correct?

       8                MR. MORRIS:    Objection to the form of the question.

       9                THE COURT:    Overruled.

      10                MR. RUKAVINA:    Your Honor, I have the right to know

      11   what the objection to my question is.

      12                THE COURT:    I overruled.

      13                MR. MORRIS:    Okay.

      14                THE COURT:    I overruled the objection.

      15                MR. RUKAVINA:    Thank you.

      16   BY MR. RUKAVINA:

      17   Q    Mr. Seery, do you remember my question?

      18   A    That whether there was a bankruptcy estate after the

      19   effective date?

      20   Q    Yes.

      21   A    There wouldn't be a bankruptcy estate anymore, no.

      22   Q    Okay.    Under the plan, the creditors, to the extent that

      23   they have their claims allowed, the prepetition creditors,

      24   they're the beneficiaries of the Claimant Trust, correct?

      25   A    They are some of the beneficiaries, yes.




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       1   Q    Okay.   And you would be the Trustee, I think you said, of

       2   the Claimant Trust?

       3   A    Of the Claimant Trust, yes.

       4   Q    Okay.   And you will have fiduciary duties to the

       5   beneficiaries of the Claimant Trust, correct?

       6   A    I believe I have some, yes.

       7   Q    Okay.   Well, as the Trustee, you will have some fiduciary

       8   duties; you do agree with that?

       9   A    That's what I said, yes.

      10   Q    Okay.   What's your understanding of what those fiduciary

      11   duties to the beneficiaries of the Claimant Trust will be?

      12   A    I think they'll be -- they are cabined to some degree by

      13   the provisions of the agreement, but generally there will be a

      14   duty of care and a duty of loyalty.

      15   Q    Do you feel like you'll have a duty to try to maximize

      16   their recoveries?

      17   A    That depends.

      18   Q    On what?

      19   A    My judgment on what's the -- if I'm exercising my duty of

      20   care and my duty of loyalty.

      21   Q    Okay.   But surely you'd like to, whether you have a duty

      22   or not, you'd like to maximize their recoveries as Trustee,

      23   wouldn't you?

      24   A    Yes.

      25   Q    Okay.   Now, in addition to the beneficiaries, which I




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       1   believe are the Class 8 and Class 9 creditors, the plan

       2   proposes to give non-vested contingent interests in the Trust

       3   to certain holders of limited partnership interests, correct?

       4   A    Yes.

       5   Q    Okay.    And those non-vested contingent interests would

       6   only be paid and would only vest if and when all unsecured

       7   creditors and subordinated creditors are paid in full, with

       8   interest, correct?

       9   A    Yes.

      10   Q    Okay.    And those non-vested contingent interests are a

      11   property interest, although they're an inchoate property

      12   interest, correct?

      13   A    I don't know.    I think I testified in my deposition that I

      14   -- I reached for inchoate, but I'm not an expert in the

      15   definitions of property interests.         I don't know if they're

      16   too ethereal to be considered a property interest.

      17   Q    Okay.

      18                MR. RUKAVINA:    Mr. Vasek, will you please pull up Mr.

      19   Seery's deposition at Page 215?        And if you'll go to Page 200

      20   -- can you zoom -- can you zoom that in a little bit?         Mr.

      21   Vasek, can you zoom on that?

      22                MR. VASEK:   Just a moment.     There's some sort of

      23   issue here.

      24                MR. RUKAVINA:    Okay.   And then go to Page 216.

      25   Scroll down to 216, please.




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       1                MR. VASEK:   Okay.   I can't see it, so --

       2                MR. RUKAVINA:    Okay.   Stay, stay where you are.   Go

       3   down one more row.

       4   BY MR. RUKAVINA:

       5   Q    Okay.    Mr. Seery, can you see this?

       6   A    Yes.

       7   Q    Okay.    So, I ask you on Line 21, "They may be a property

       8   interest, but inchoate only, correct?"        And you answer, "That

       9   is my belief.     I don't claim to be an expert on the different

      10   types of property interests," --

      11                MR. RUKAVINA:    Mr. Vasek, can you go to the next

      12   page?

      13   BY MR. RUKAVINA:

      14   Q    (continues) "-- whether they be inchoate, reversionary,

      15   ethereal.     I don't claim to be an expert on the different

      16   types of property interests."

      17        Do you see that answer, sir?

      18   A    Yes.

      19   Q    And do you stand by your answer given on Lines 23 through

      20   Line 4 of the next page?

      21   A    Yes.

      22   Q    Okay.     And these non-vested contingency -- contingent

      23   interests in the Claimant Trust, they may have some value in

      24   the future, correct?

      25   A    Yes.




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       1                MR. RUKAVINA:    Okay.   You can take that down, Mr.

       2   Vasek.

       3   BY MR. RUKAVINA:

       4   Q    Have you tried to see whether anyone outside this case, or

       5   anyone at all, would pay anything for those unvested

       6   contingent interests to the Claimant Trust?

       7   A    No.

       8   Q    Okay.    Now, the Debtor is a registered investment advisor

       9   under the Investment Advisers Act of 1940; is that correct?

      10   A    That's correct.

      11   Q    And under that Act, the Debtor owes a fiduciary duty to

      12   the funds that it manages and to the investors of those funds,

      13   correct?

      14   A    Clearly to the funds, and generally to the investors more

      15   broadly, yes.

      16   Q    Okay.    And would you agree that that duty compels the

      17   Debtor to look for the interests of the funds and the

      18   investors of those funds ahead of its own interests?

      19   A    Generally, but it's a much more fine line than what you're

      20   describing.     It means you can't -- the manager can't put its

      21   own interests in front of the investors and the funds.         It

      22   doesn't mean that the manager subordinates its interest in the

      23   -- to the investors and the funds.

      24                MR. RUKAVINA:    Well, Mr. Vasek, please pull up the

      25   October 20th transcript at Page 233.




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       1              MR. MORRIS:    What transcript is this?

       2              MR. RUKAVINA:    October 20, 2019.   Mr. Vasek has the

       3   docket entry.

       4              MR. MORRIS:    Oh, so it's the -- Your Honor, I just do

       5   want to point out that Mr. Rukavina objected, in fact, to the

       6   use of trial transcripts, but we'll get to that when we put on

       7   our evidence, when we finish up.

       8              MR. RUKAVINA:    Well, Your Honor, I believe that

       9   you're allowed to use a trial transcript to impeach testimony,

      10   which is what I'm going to do now.

      11        So, for that purpose, Mr. Vasek, if you could -- are you

      12   on Page 233?

      13              THE COURT:    And just so the record is clear, this is

      14   from October 2020, not October 2019, which is, I think, what I

      15   heard.   Continue.

      16              MR. MORRIS:    Your --

      17              MR. RUKAVINA:    Your Honor, I apologize, you did hear

      18   that and I did make a mistake.      Yes, this is at Docket 1271.

      19        Mr. Vasek, if you'll scroll down, please.       Okay.    No, stop

      20   there.

      21   BY MR. RUKAVINA:

      22   Q    And you see on Line 16, sir, you're asked your

      23   understanding, and then you answer, "Okay."       "And in

      24   exercising those duties, the manager, under the Advisers Act,

      25   has a duty to subordinate its interests to the interests of




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       1   those investors in the CLOs, correct?"       And you answer --

       2                MR. RUKAVINA:    Go down, Mr. Vasek.

       3   BY MR. RUKAVINA:

       4   Q    -- "I think -- I think, generally, when you think about

       5   the fiduciary duty, and I think that we -- I want to make sure

       6   I'm very specific about this, is that the manager has a duty,

       7   fiduciary duties -- there's a whole bunch of legal analysis of

       8   what they are, but they are significant -- that the manager

       9   owes to the investors.       And to the extent" --

      10                MR. RUKAVINA:    Scroll down, please.

      11   BY MR. RUKAVINA:

      12   Q    "And to the extent that the manager's interests would

      13   somehow be -- somehow interfere with the investors' in the

      14   CLO, he is supposed to -- he or she is supposed to subordinate

      15   those to the benefit of the investors."

      16        Did I read that accurately, Mr. Seery?

      17   A    You did.

      18   Q    Was that your testimony on October 20th last?

      19   A    Yes.

      20   Q    Okay.    Are you willing to revise your testimony from a few

      21   minutes ago that the manager does not have to subordinate its

      22   interests to the interests of the investors?

      23   A    No.    I think that's very similar.

      24   Q    Okay.

      25   A    You left out the part about garbled up top where I said it




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       1   was nuanced, almost exactly what I just said.          On Line 9, I

       2   believe, on the prior page.

       3   Q      Well, I heard you say a couple of minutes ago, and maybe I

       4   misunderstood because of the WebEx nature, that the manager

       5   does not have to subordinate its interests to the interests of

       6   the investors.       Did I misheard you say that a few minutes ago?

       7   A      I think you misheard it.      I said it's a nuanced analysis,

       8   and it's -- it's pretty significant.           But the manager does

       9   subordinate his general interest and assures that the CLO or

      10   any of the investors' interests are paramount, but he doesn't

      11   subordinate every single interest.

      12          For example, and I think it's in this testimony, the

      13   manager, if the fund isn't doing well, doesn't just have to

      14   take his fee and not get paid.         He's allowed -- entitled to

      15   take his fee.       He doesn't subordinate every single interest of

      16   his.    He doesn't give up his home and his family.        So it's --

      17   it's a nuanced analysis.         The interests of the manager are

      18   subordinated to the interests of the investors and the fund.

      19   I don't -- I don't disagree with anything I said there.           I

      20   think I'm consistent.

      21   Q      Okay.

      22                  MR. RUKAVINA:    You can take that down, Mr. Vasek.

      23   BY MR. RUKAVINA:

      24   Q      So, how do you describe, sir, the fiduciary duty that the

      25   Debtor owes to the funds that it manages and to the investors




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       1   in those funds?

       2                MR. MORRIS:    Objection to the -- to the extent it

       3   calls for a legal conclusion, Your Honor.         I just want to make

       4   sure we're -- we're asking a witness for his lay views.

       5                THE COURT:    Okay.    I overrule the objection.   He can

       6   answer.

       7                THE WITNESS:    Yes.   As a manager of a fund, the

       8   manager is a fiduciary to the fund, and sometimes to the

       9   investors, depending on the structure of the fund.         Some funds

      10   are purposely set up where the investors are actually debt-

      11   holders, and their interests are much more cabined by the

      12   terms of the contract, as opposed to straight equity holders.

      13   But the manager has a duty to seek to maximize value of the

      14   assets in the best interests of the underlying -- of the fund

      15   and the underlying investors, to the extent that it can,

      16   within the confines and structure of the fund.

      17   BY MR. RUKAVINA:

      18   Q    Okay.    And these duties as you just described them, they

      19   would apply to the Reorganized Debtor, correct?

      20   A    They would apply to the Reorganized Debtor to the extent

      21   that it's a manager for a fund, not, for example, with respect

      22   to necessarily interests -- the inchoate interests that we

      23   talked about earlier.

      24   Q    Sure.    And I apologize, I meant just for the fund.        And if

      25   the manager, the Reorganized Debtor, breaches those duties,




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                                     Seery - Cross                          184


       1   then it's possible that there's going to be liability,

       2   correct?

       3   A    It's possible.

       4   Q    Okay.   Now, under the plan, the limited partnership

       5   interests in the Reorganized Debtor will be owned by the

       6   Claimant Trust, correct?

       7   A    Yes.

       8   Q    Okay.   And there's a new entity called New GP, LLC that

       9   will be created or already has been created, correct?

      10   A    Yes.

      11   Q    Okay.   And that entity will hold the general partnership

      12   interest in the Reorganized Debtor, correct?

      13   A    I believe that's correct.

      14   Q    Okay.   And that entity -- that being New GP, LLC -- will

      15   also be owned by the Claimant Trust, correct?

      16   A    Yes.

      17   Q    Okay.   Who will manage the Reorganized Debtor?

      18   A    The G -- the GP will manage the Reorganized Debtor.

      19   Q    Okay.   And will there be an officer or officers of the

      20   Reorganized Debtor, or will it all be managed through the GP?

      21   A    It'll be managed through the GP.

      22   Q    Okay.   And who will manage the GP?

      23   A    Likely, I will.

      24   Q    Okay.   That's the current plan, that you will?

      25   A    I'll be the Claimant Trustee, and I believe that I'll be




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       1   responsible for any assets that remain in the Reorganized

       2   Debtor, yes.

       3   Q    Okay.   Right now, the Debtor is managing its own assets as

       4   the Debtor-in-Possession, right?

       5   A    Yes.

       6   Q    And it is managing various funds and CLOs, right?

       7   A    Yes.

       8   Q    Okay.   And right now, the Debtor is attempting to reduce

       9   some of its assets to money, like the promissory notes that

      10   you mentioned earlier that the Debtor filed suit on, correct?

      11   A    Yes.

      12   Q    And the Debtor is trying to reduce some of its assets to

      13   money, like the promissory notes, to benefit its creditors,

      14   correct?

      15   A    Yes.

      16   Q    Okay.   And correct me if I'm wrong, but the Committee has

      17   filed various claims and causes of action against Mr. Dondero,

      18   correct?

      19   A    They -- they've filed some.     I haven't -- I haven't looked

      20   at their (indecipherable) closely, but --

      21   Q    Okay.

      22   A    -- some are preserved in the case.

      23   Q    You understand --

      24   A    In the plan.    I'm sorry.

      25   Q    You understand that the Committee is doing that for the




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       1   benefit of the estate, correct?

       2   A    Yes.

       3   Q    And you understand that they're also doing that for the

       4   benefit of creditors, correct?

       5   A    Yes.

       6   Q    Okay.   And under the plan, just so that I'm clear, those

       7   claims that the Committee has asserted will be preserved and

       8   will vest in either the Claimant Trust or the Litigation Sub-

       9   Trust, correct?

      10   A    Yes.

      11   Q    Okay.   And under the plan, the Reorganized Debtor would

      12   continue to manage its assets, correct?

      13   A    Yes.

      14   Q    And it would continue to manage the Funds and the CLOs,

      15   correct?

      16   A    Yes.

      17   Q    And the Claimant Trust would attempt to liquidate and

      18   distribute to its beneficiaries the assets that are

      19   transferred to it, correct?

      20   A    Yes.

      21   Q    Okay.   And you mentioned that the Claimant Trust will have

      22   an Oversight Board comprised of five members, right?

      23   A    Yes.

      24   Q    And four of them will be the people that are currently on

      25   the Committee, right?




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       1   A    Yes.

       2   Q    And the fifth is David Pauker, and I think you mentioned

       3   that he's independent.     David Pauker is the fifth member,

       4   right?

       5   A    Yes.

       6   Q    Who -- who is he?

       7   A    David Pauker is a very well-known professional in the

       8   restructuring world.     He's a long-time financial advisor in --

       9   in reorganizations.     He's served on numerous boards in

      10   restructuring -- restructurings.

      11   Q    Okay.   So, other than a different corporate structure and

      12   the Claimant Trust, the monetization of assets for the benefit

      13   of creditors would continue post-confirmation as now, correct?

      14   A    I -- I believe so.    I'm not exactly sure what you asked

      15   there.

      16   Q    No one is putting in any new money under the plan, are

      17   they?

      18   A    No.    No.

      19   Q    Okay.   There's no exit financing contingent on the plan

      20   being confirmed, right?

      21   A    You mean no exit -- the plan is not contingent on exit

      22   financing.    I think you just mixed up your -- your financing

      23   and your plan.

      24   Q    I apologize.    There's no exit financing in place today,

      25   correct?




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       1   A    No.

       2   Q    Okay.   So, post-confirmation, you are basically going to

       3   continue managing the CLOs and funds and trying to monetize

       4   assets for creditors the same as you are today, correct?

       5   A    Similar, yes.

       6   Q    Okay.   And just like the Committee has some oversight role

       7   in the case, the members of the Oversight Board will have some

       8   oversight role post-confirmation, correct?

       9   A    Yes.

      10   Q    Okay.   You don't need anything in the plan itself to

      11   enable you to continue managing the Debtor and its assets,

      12   correct?

      13   A    I don't need anything in the plan?

      14   Q    Correct.

      15   A    I don't -- I don't understand the question.       Can you

      16   rephrase it?

      17   Q    Well, you are managing the Debtor and its assets today,

      18   correct?

      19   A    Yes.

      20   Q    Okay.   Nothing in the plan is going to change that,

      21   correct?

      22   A    Well, it's going to change it a lot.

      23   Q    Okay.   Well, with respect to you managing the Funds and

      24   the CLOs, you don't need anything in the plan that you don't

      25   have today to keep managing them, do you?




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       1   A    No.    The Debtor manages them, and I will -- I'm the CEO

       2   and I'll be in a similar position with a different team.

       3   Q    Okay.   And I believe you told me that you expect the

       4   Debtor to administer the CLOs for two or three years, maybe?

       5   A    However long it takes, but we expect -- our projections

       6   are that we'd be able to monetize most of the assets within

       7   two years.

       8   Q    Does that include the CLOs?

       9   A    It does, yes.

      10   Q    Okay.   Now, you're going to be the person for the

      11   Reorganized Debtor in charge of managing the CLOs, correct?

      12   A    I'll be the person responsible for managing the

      13   Reorganized Debtor.     The Reorganized Debtor will be the

      14   manager of the CLOs.

      15   Q    Okay.   But the buck will stop with you at the Reorganized

      16   Debtor, right?

      17   A    Yes.

      18   Q    Okay.   You're going to have a team of employees and

      19   outside professionals helping you, but ultimately, on behalf

      20   of the Reorganized Debtor, you're going to be the one in

      21   charge of managing the CLOs, correct?

      22   A    Yes.

      23   Q    Okay.   That means that you'll also be making decisions as

      24   to when to sell assets of the CLOs, correct?

      25   A    Yes.




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       1   Q    Okay.    And to be clear, the CLOs, they own their own

       2   assets, whatever they are, and the Debtor just manages those

       3   assets, right?

       4   A    Correct.

       5   Q    The Debtor doesn't directly own those assets, right?

       6   A    No.

       7   Q    And currently there's more than one billion dollars in CLO

       8   assets that the Debtor manages?

       9   A    Approximately.

      10   Q    Yeah.    And the Debtor receives fees for its services,

      11   correct?

      12   A    Yes.

      13   Q    Can you generally describe how the amount of those fees is

      14   calculated and paid, if you have an understanding?

      15   A    How the fees are calculated and paid?

      16   Q    Yes, sir.

      17   A    It's a percentage of the assets.

      18   Q    Assets administered or assets sold in any given time

      19   period?

      20   A    Administered.

      21   Q    Okay.    So the sale of CLO assets does not affect the fees

      22   that the Reorganized Debtor would receive under these

      23   agreements?

      24                MR. MORRIS:    Objection to the form of the question.

      25                THE COURT:    Over --




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       1                THE WITNESS:    That's not correct.

       2                THE COURT:   Overruled.

       3   BY MR. RUKAVINA:

       4   Q    Okay.    What is not correct about that?

       5   A    When you sell the assets, the amount administered shrinks,

       6   so you have less fees.

       7                MR. RUKAVINA:    Your Honor, the answer cut out at the

       8   very end.     You have less--?

       9                THE WITNESS:    Fees.

      10   BY MR. RUKAVINA:

      11   Q    Fees?    I understand.    Okay.   So are you saying that there

      12   is a disincentive to the Reorganized Debtor to sell assets in

      13   the CLOs?

      14   A    No.

      15   Q    Okay.    Is there an incentive to the Reorganized Debtor to

      16   sell assets in the CLOs?

      17   A    To do their job correctly, yes.

      18   Q    Okay.    And the Debtor wishes to assume those contracts

      19   because the Debtor will get those fees going forward and

      20   there'll be a profit, even after the expenses of servicing

      21   those contracts are taken out, correct?

      22   A    They are profitable. That's one of the reasons that we're

      23   assuming, yes.

      24   Q    Okay.    Now, over my objection, you testified that the CLOs

      25   have agreed to the assumption of these contracts, right?




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       1   A    Yes.

       2   Q    Okay.    Is there anything in the record other than your

       3   testimony here today demonstrating that?

       4   A    I believe there is, yes.

       5   Q    What do you believe there is in the record other than your

       6   testimony?

       7   A    I believe we filed a notice of assumption.

       8   Q    Okay.    My question is a little bit different.     You

       9   testified that the CLOs, over my objection, have agreed to the

      10   assumption.    You did testify so, right?

      11   A    Yes.

      12   Q    Okay.    What is there in the record, sir, from the CLOs

      13   confirming that?

      14   A    You mean today's record?

      15   Q    Yes, sir.

      16   A    I'm the only one who's testified so far.

      17   Q    Okay.    Are you aware of anything in the exhibits that

      18   would confirm your testimony?

      19   A    Not that I know of.

      20   Q    Has there been an agreement with the CLOs that's been

      21   reduced to writing?

      22   A    Yes.

      23   Q    So there is a written agreement with the CLOs providing

      24   for assumption?

      25   A    Yes.




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       1   Q    A signed, written agreement?

       2   A    No, it's -- it's email.

       3   Q    Okay.    When was this email agreement reached?

       4   A    Within the last couple weeks.         There's a number of back

       5   and forths where that was agreed to, and I believe we filed a

       6   notice of assumption.

       7                MR. RUKAVINA:    Mr. Vasek, if you will please pull up

       8   Mr. Seery's January 29th deposition.

       9   BY MR. RUKAVINA:

      10   Q    Mr. Seery, you remember me deposing you last Friday,

      11   correct?

      12   A    Yes.

      13   Q    And you remember me asking you if there was a written

      14   agreement in place with the CLOs?

      15   A    I don't recall specifically.

      16                MR. RUKAVINA:    Okay.   Mr. Vasek, if you would please

      17   scroll to that.     Okay.    Stop there.

      18   BY MR. RUKAVINA:

      19   Q    Sir, you'll recall I also deposed you January 20th, right?

      20   A    Yes.

      21   Q    Okay.    And do you remember that we had some discussion

      22   regarding whether the CLOs would consent or not?

      23   A    Yes.

      24   Q    Okay.    And do you remember telling me something like that

      25   like you think that they will and that's still in the works on




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       1   January 20th?

       2   A    I don't recall specifically, but if you say that's what it

       3   says.

       4   Q    Okay.    Well, here I'm asking you on January 29th, Line 17,

       5   "I asked you before and you didn't have anything in writing by

       6   then, so let me ask now.       As of today, do you have anything in

       7   writing from the CLOs consenting to the assumption of those

       8   management agreements?"       I'm sorry.     Contracts.   Answer, "I

       9   don't believe that I do.       It could be on my email I opened.        I

      10   don't recall."

      11                MR. RUKAVINA:    Scroll down, Mr. Vasek.

      12   BY MR. RUKAVINA:

      13   Q    Okay.    Then I ask, "Do you have an understanding of

      14   whether those CLOs have consented in writing to the assumption

      15   of the management agreements?"       And you answer, "I believe

      16   they have.     The actual final docs haven't been completed, but

      17   I believe they have agreed in writing, yes."

      18        Then I ask --

      19                MR. RUKAVINA:    Scroll down a little bit more.

      20   BY MR. RUKAVINA:

      21   Q    I ask, "Do you expect the final docs to be completed

      22   before Tuesday's confirmation hearing?"         Answer, "I don't know

      23   whether they will be done by Tuesday."

      24        Did I read all of that correctly, sir?

      25   A    Other than your misstatement.         The word was "unopened."




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       1   Q     Thank you.    So, let me ask you again today.     As of today,

       2   is there a written agreement that has been signed by the

       3   parties providing for the assumption of the CLO agreements?

       4   A     When phrased the way you did, is it signed by the parties,

       5   no.

       6   Q     Okay.

       7                 MR. RUKAVINA:    You can take that down, Mr. Vasek.

       8   BY MR. RUKAVINA:

       9   Q     I think -- I'm not sure if you quantified this earlier,

      10   but it might help.      I believe that the Reorganized Debtor

      11   projects that it will generate revenue of $8.269 million post-

      12   reorganization from managing the CLO contracts, correct?

      13   A     It's in that neighborhood.       I did not testify to that

      14   earlier.

      15   Q     That's what I meant.       And when I asked you at deposition,

      16   you were able to give me an estimate of how much it would cost

      17   to generate that revenue, correct?

      18   A     I was not?

      19   Q     You were?    I'm sorry.     Let me --

      20   A     Did you say I wasn't or I was?

      21   Q     Let me -- I apologize.       Let me ask again.   I talk too fast

      22   and I have an accent.         You have been able to give an estimate

      23   of how much the Reorganized Debtor will expend to generate

      24   that revenue, correct?

      25   A     Yes.




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       1   Q    Okay.   Do you remember what your estimate is?

       2   A    I -- I think it was around $2 million a year.       It was a

       3   portion of our employees plus the contracts.

       4   Q    Okay.   So, over the life of the projection at $8.2

       5   million, do you remember that you projected costs of about

       6   $3.5 to $4 million to generate that revenue?

       7   A    If -- if you are representing that to me, I'd accept it.

       8   Yes, that sounds about right.

       9   Q    Well, suffice it to say you're projecting at least $4

      10   million in net profit over the next two years for the

      11   Reorganized Debtor from managing the CLO agreements, correct?

      12   A    Net profit is not a fair, fair way to analyze it, no.

      13   Q    Okay.   Are you projecting any profit for the Reorganized

      14   Debtor from managing the CLO agreements post-confirmation?

      15   A    Yes.

      16   Q    Okay.   Do you have an estimate of what that profit is?

      17   A    General overview are the contracts are profitable to about

      18   the tune of $4 million over that period.

      19   Q    Okay.   Thank you.   If the Reorganized Debtor makes a

      20   profit post-confirmation, is it fair to say that that would

      21   then be dividended up or distributed up to the partners,

      22   ultimately to the Claimant Trust?

      23   A    I don't think that's fair to say, no.

      24   Q    Okay.   So, if the Reorganized Debtor makes a profit post-

      25   confirmation, where does that profit go?




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       1   A    The Reorganized Debtor -- what kind of profit?       I don't

       2   understand your question.

       3   Q    Okay.    I apologize if I'm being too simplistic about it.

       4   If a business, after it takes account of its expenses to

       5   generate revenue, has any money left over, would that be

       6   profit to you?

       7   A    Yes.

       8   Q    Okay.    Do you think that the Reorganized Debtor, post-

       9   confirmation, will make a profit?

      10   A    I don't know.

      11   Q    Okay.    Do you think that the Reorganized Debtor, post-

      12   confirmation, will lose money?

      13   A    I think there will be costs, and the costs will exceed the

      14   -- the amount that it generates on an income basis, yes.

      15   Q    Okay.    Thank you.

      16                MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

      17   the plan, the injunctions, and releases.       9F.

      18        (Pause.)

      19   BY MR. RUKAVINA:

      20   Q    I apologize, Mr. Seery.

      21                MR. RUKAVINA:    So, Mr. Vasek, if you'll go to the

      22   bottom of the Page 51.       Stop there.

      23   BY MR. RUKAVINA:

      24   Q    So, I'm going to read just the first couple sentences

      25   here, Mr. Seery, if you'll read it along with me.        Subject --




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       1   this is the bottom paragraph:     Subject in all respects to

       2   Article 12(b), no enjoined party may commence or pursue a

       3   claim or cause of action of any kind against any protected

       4   party that arose or arises from or is related to the Chapter

       5   11 case, the negotiation of the plan, the administration of

       6   the plan, or property to be distributed under the plan, the

       7   wind-down of the business of the Debtor or Reorganized Debtor.

       8       I'd like to stop there.     Do you see that clause there, Mr.

       9   Seery, talking about the wind-down of the business of the

     10    Debtor or Reorganized Debtor?     Do you see that, sir?

     11    A   Yes.

     12    Q   Okay.     Do I understand correctly that this provision we've

     13    just read means that, upon the assumption of these CLO

     14    management agreements, if the counterparties to those

     15    agreements want to take any action against the Reorganized

     16    Debtor, they first have to go through this channeling

     17    injunction?

     18    A   I believe that's what it says, yes.

     19    Q   Okay.     Because the wind-down of the business of the

     20    Reorganized Debtor will include the management of these CLO

     21    portfolio management agreements, correct?

     22    A   Yes.

     23    Q   Okay.     As well as the management of various funds that the

     24    Debtor owns, correct?

     25    A   Yes.




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       1   Q    Okay.    And would you agree with me that the new general

       2   partner, New GP, LLC, is also a protected party under the

       3   plan?

       4   A    I assume it is.    I don't recall specifically.

       5   Q    I believe you discussed to some degree postpetition

       6   losses.     I'd like to visit a little bit about those.       Since

       7   January 9th, 2020, Mr. Dondero was not an officer of the

       8   Debtor, correct?

       9   A    Correct.

      10   Q    And since January 9th, 2020, he was no longer a director

      11   of Strand, correct?

      12   A    That's correct.

      13   Q    Since January 9th, 2020, until he was asked to resign, he

      14   was an employee, correct?

      15   A    Yes.

      16   Q    And about -- I'm trying to remember.       About when did he

      17   resign?     October something of 2020?     Do you remember?

      18   A    I don't recall.

      19   Q    Okay.    Do you recall if it was in October 2020?

      20   A    It was in the fall.

      21   Q    Okay.    And he resigned because the independent board asked

      22   him to resign, correct?

      23   A    Yes.

      24   Q    Okay.    And you mentioned that the estate has had a

      25   postpetition drop in the value of its assets and the assets




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       1   that it manages.    Right?

       2   A    I believe I went through the estate's assets.       The only

       3   asset that wasn't a direct estate asset was the hundred

       4   percent control of Select Equity Fund.      I didn't talk about

       5   the Fund assets.

       6   Q    Okay.   Do you recall that the disclosure statement that

       7   the Court approved states that, postpetition, there was a drop

       8   from approximately $566 million to $328 million in the value

       9   of Debtor assets and assets under Debtor management?

      10   A    Yes.    That's the $200 million I walked through earlier.

      11   Q    Okay.   And I believe you mentioned some of it was due to

      12   the pandemic, right?

      13   A    It certainly impacted the markets.      The pandemic didn't

      14   cause a specific loss.     It impacted the markets and the

      15   ability to work within those markets.

      16   Q    But you also believe that Mr. Dondero was responsible for

      17   something like a hundred million dollars of these losses,

      18   right?

      19   A    Probably more.

      20   Q    Okay.   Mr. Dondero is not being released or exculpated for

      21   that, is he?

      22   A    No.

      23   Q    And while Mr. Dondero was an employee during the period of

      24   these losses, he answered to you as CEO and CRO, correct?

      25   A    Not during that period.     I wasn't (audio gap) until later.




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       1   Q    I'm sorry.    As of January 9th, 2020, were you the CEO of

       2   the Debtor?

       3   A    No.

       4   Q    When did you become the CEO of the Debtor?

       5   A    I believe the order was July 9th, retroactive to a date in

       6   March.

       7   Q    July 9th, 2020?

       8   A    Correct.

       9   Q    Okay.    And when did you become the CRO of the Debtor?

      10   A    At the same time.

      11   Q    Okay.    So, between January and July 2020, you were one of

      12   the independent directors, correct?

      13   A    Yes.

      14   Q    Okay.    So, during that period of time, would Mr. Dondero

      15   have answered to that independent board?

      16   A    Yes.

      17   Q    Okay.    Now, if someone alleges that that independent board

      18   has any liability on account of Mr. Dondero's losses, that's

      19   released under this plan, isn't it?

      20   A    Yes.

      21   Q    Okay.    And if someone alleges that Strand has any

      22   liability on account of Mr. Dondero's losses, that's released

      23   under this plan, correct?

      24   A    Yes.

      25   Q    Okay.    And if someone believes that the Debtor -- that the




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       1   way that the Debtor has managed the CLOs or its funds

       2   postpetition gives rise to a cause of action in negligence,

       3   that's also released and exculpated in the plan, correct?

       4   A    I believe it would be.     I'm not positive, but I believe it

       5   would be.

       6   Q    Well, let's be clear.     The plan does not release or

       7   exculpate you or Strand or the board for willful misconduct,

       8   gross negligence, fraud, or criminal conduct, correct?

       9   A    No, it does not.

      10   Q    Okay.    And I'm not, just so we're clear, I'm not alleging

      11   that, okay?    So I want the judge to understand I'm not

      12   alleging that.    But the plan does release and exculpate for

      13   negligence, right?

      14   A    Yes.

      15   Q    Okay.    Where do you have an understanding a cause of

      16   action for breach of fiduciary duty lies on the spectrum of

      17   negligence all the way to criminal conduct?

      18   A    It's -- it's not -- generally not criminal, although I

      19   suppose that breach of fiduciary duty could be criminal.

      20   Typically, it's negligence, and that you would breach a duty

      21   for either duty of care, duty of loyalty.       But it could slide

      22   to willful.    And probably most of the instances where they

      23   come up are where someone has done something willfully or

      24   grossly negligent.

      25   Q    Okay.    But -- and I would agree with you.     But there are




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       1   certain breaches of fiduciary duty that are possible based on

       2   simple negligence, correct?

       3   A    They are, and in these instances, they don't -- they don't

       4   rise to actionable claims because they're indemnified by the

       5   funds.

       6   Q    Okay.   You have to explain that to me.     So, the negligence

       7   claim is not actionable because someone is indemnifying it?

       8   A    Typically, there's no way to recover because it's

       9   indemnified by the fund that the investor might be in.         If it

      10   goes beyond that, then it wouldn't be.

      11   Q    Okay.   So there are potential negligence breach of

      12   fiduciary duty claims that might be subject to these

      13   exculpations and releases that would not be indemnified?

      14   A    Gross negligence and willful misconduct, certainly.

      15   Q    Okay.   Now, post-confirmation, post-confirmation, if the

      16   Debtor, or the Reorganized Debtor, rather, engages in

      17   negligence or any actionable conduct, that's when the

      18   channeling injunction comes into play, right?

      19   A    I don't quite understand your question.

      20   Q    Okay.

      21   A    Can you repeat that?

      22   Q    Sure.   To your understanding, does the channeling

      23   injunction we're looking at right now -- and you can read it

      24   if you need to -- does it apply to purely post-confirmation

      25   alleged causes of action?




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       1   A    It does apply to those, yes.

       2   Q    Okay.   And it says that the Bankruptcy Court will have

       3   sole and exclusive jurisdiction to determine whether a claim

       4   or cause of action is colorable, and, only to the extent

       5   legally permissible and as provided for in Article 11, shall

       6   have jurisdiction to adjudicate the underlying colorable claim

       7   or cause of action.

       8        Do you see that, sir?

       9   A    I do.

      10   Q    Okay.   And this -- the Bankruptcy Court's exclusive

      11   jurisdiction here, that would continue after confirmation?         Is

      12   that the intent behind the plan?

      13   A    It has -- it says what it says.      Will have the sole and

      14   exclusive jurisdiction to determine whether a claim is

      15   colorable, and then, to the extent permissible, it'll have

      16   jurisdiction to adjudicate.

      17   Q    Okay.   Nothing in this plan limits the period of the

      18   Bankruptcy Court's inquiry to the pre-confirmation time frame,

      19   correct?

      20   A    I don't believe it does, no.

      21   Q    Okay.   Have you taken into account the potential that this

      22   bankruptcy case will eventually be closed with a final decree?

      23   A    Have I taken that into account?

      24   Q    Well, do you know what a final decree in Chapter 11 is?

      25   A    I do.




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       1   Q    Okay.    So, help me understand.      If there's a final decree

       2   and the bankruptcy case is closed, then who do I go to,

       3   because the Bankruptcy Court has exclusive jurisdiction, to

       4   get this clearing injunction cleared?

       5                MR. MORRIS:    Objection to the form of the question,

       6   Your Honor.

       7                THE COURT:    Sustained.    Rephrase.

       8                MR. RUKAVINA:    Okay.

       9   BY MR. RUKAVINA:

      10   Q    Is it the plan's intent, Mr. Seery, that this channeling

      11   injunction that we just looked at would continue to apply even

      12   after a point in time in which the bankruptcy case is closed?

      13   A    I don't believe so.

      14                MR. RUKAVINA:    Again, Your Honor, someone -- I heard

      15   someone's phone right when he answered, and I didn't hear his

      16   answer, if he could please re-answer.

      17                THE WITNESS:    I don't -- I don't think if the case is

      18   closed that's the intention.

      19   BY MR. RUKAVINA:

      20   Q    Okay.    What about if there's a final decree entered?

      21                MR. MORRIS:    Objection, Your Honor.   You know, the

      22   document kind of speaks for itself.

      23                THE COURT:     Overruled.   He can answer if he knows.

      24                THE WITNESS:     Yeah.   I don't -- I don't -- I'm not

      25   making a distinction between the case being closed and the




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       1   final decree.     I believe in both instances they'll be pretty

       2   close to the same time and we'll make a judgment then as to

       3   how to close the case in accordance --

       4   Q    Okay.

       5   A    -- with the rules.

       6                MR. RUKAVINA:    Mr. Vasek, if you'll please scroll up

       7   to the beginning of this injunction.         A little bit higher.

       8   Right there.     Right there.

       9   BY MR. RUKAVINA:

      10   Q    The very first clause, Mr. Seery, if you'll read with me,

      11   says, Upon entry of the confirmation order -- pardon me --

      12   all enjoined parties are and shall be permanently enjoined on

      13   and after the effective date from taking any actions to

      14   interfere with the implementation or consummation of the

      15   plan.

      16        Do you see that, sir?

      17   A    I do, yes.

      18   Q    What does interfering with the implementation or

      19   consummation of the plan mean?

      20   A    It means in some way taking actions to upset, distract,

      21   stop, or otherwise prohibit or hurt the estate from

      22   implementing or consummating the plan.

      23   Q    Okay.     And is that intended -- is that clause we just

      24   read and you described intended to be very broad?

      25   A    I -- I think it's -- if the words have meaning, yes, that




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       1   it should -- it's pretty broad.

       2   Q    Okay.    Is the Debtor not able to state with more

       3   specificity what it would believe interference with the

       4   implementation or consummation of the plan would mean?

       5                MR. MORRIS:    Objection to the form of the question.

       6                THE COURT:     Sustained.

       7                THE WITNESS:     I think it's -- I think it's --

       8                THE COURT:     Sustained.

       9                MR. RUKAVINA:     Okay.

      10                THE WITNESS:     I'm sorry.

      11   BY MR. RUKAVINA:

      12   Q    Well, you just gave us four or five examples of what

      13   interfering with the implementation or consummation of the

      14   plan might be.     Why isn't that, those four or five examples,

      15   why aren't they listed here?

      16                MR. MORRIS:    Object to the form of the question.

      17                MR. RUKAVINA:     Well, Your Honor, I'll withdraw it

      18   and I'll argue this at closing argument.

      19                THE COURT:     Okay.

      20   BY MR. RUKAVINA:

      21   Q    When did the Committee agree to you serving as the

      22   Claimant Trustee?

      23   A    In the late -- in the late fall.        I've been contemplated

      24   to be the Claimant Trustee.         I'm willing to take -- if we can

      25   come to an agreement.        They have their options open if we




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       1   can't come to an agreement on compensation.

       2   Q      Okay.   And since the Committee agreed to you being the

       3   Claimant Trustee, you have reached a resolution with UBS,

       4   correct?

       5   A      I don't think so.    I think that that was before UBS, the

       6   UBS resolution was reached.

       7   Q      I'm sorry.   When did you reach the UBS resolution in

       8   principle with UBS?

       9   A      I don't recall the exact date, but I do recall specific

      10   conversations where some of the Committee members were

      11   supportive.     I didn't know that UBS wasn't, but I assumed

      12   that some meant not all.      And that was UBS, because I don't

      13   think we had a deal yet.

      14   Q      Well, let me ask the question in a little bit of a

      15   different way.      Whenever the Debtor reached the agreement in

      16   principle with UBS that your counsel described this morning,

      17   whenever that point in time was, the Committee had already

      18   agreed before that point in time to you serving as Claimant

      19   Trustee, correct?

      20   A      I believe so, yes.

      21   Q      And is the answer the same with respect to the

      22   HarbourVest settlement?

      23   A      I believe so.   With HarbourVest, I believe so as well,

      24   yes.

      25   Q      What about the Acis settlement?




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       1   A    I don't believe so.       I think Acis came first.   I don't

       2   think we settled on an agreement on Claimant Trustee until

       3   after the Acis -- certainly after the Acis agreement, maybe

       4   not after the Acis 9019.        I just don't recall.

       5   Q    Okay.    And the million-dollar cutoff for convenience

       6   class creditors, that number was a negotiated amount with the

       7   Committee, correct?

       8   A    Yes.

       9   Q    Okay.     Thank you, Mr. Seery.

      10                MR. RUKAVINA:    Your Honor, I'll pass the witness.

      11                THE COURT:    All right.   Just for purposes of time,

      12   it's 3:00 o'clock, so you went 48 minutes.

      13        Who's next?

      14                MR. DRAPER:     Mr. Taylor is.

      15                THE COURT:    All right.   Mr. Taylor, go ahead.

      16                MR. TAYLOR:   Yes, Your Honor.   At this time, what we

      17   would like the Court to do, we are asking for a brief

      18   continuance and to go into tomorrow, and there is a reason

      19   for that and I would like to explain it.

      20        Mr. Dondero has communicated an offer which we believe to

      21   be a higher and better offer than what the plan analysis,

      22   even in its most recent iteration that was just changed last

      23   night, will yield significantly higher recoveries.            Those are

      24   guaranteed recoveries.        There is a cash component to that

      25   offer.   There are some debt components, but they would be




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       1   secured by substantially all of the assets of Highland.

       2        We believe it's a higher and better offer, that the

       3   creditors and the Creditors' Committee, Mr. Seery, who

       4   obviously has been testifying all day on the stand, may have

       5   heard some -- some inkling of it via a text or an email he

       6   might have been able to glance at, or maybe not, because he's

       7   been too busy, and that's understandable.

       8        But we do believe it is a material offer.       It is a real

       9   offer.   And for that reason, we would like to request the

      10   Court's indulgence.     This has gone rather fast.     We believe

      11   that in the event that it does not gain any traction, then we

      12   could complete this confirmation hearing tomorrow, or it's

      13   more than likely that we could.        And therefore we would

      14   request a continuance until tomorrow morning beginning at

      15   9:30 so all the parties can confer, consider that offer, and

      16   see if it gains any traction.

      17              THE COURT:   All right.

      18              MR. POMERANTZ:    Your -- Your --

      19              THE COURT:   Go ahead.    Mr. Morris?   Or who is going

      20   to respond --

      21              MR. POMERANTZ:    Your --

      22              THE COURT:   -- to that?

      23              MR. POMERANTZ:    Your Honor, this is Jeff --

      24              THE COURT:   Mr. Pomerantz?

      25              MR. POMERANTZ:    This is Jeff Pomerantz. I will




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       1   respond.

       2        I think right at the beginning of the hearing, or

       3   slightly after, I did receive an email from Michael Lynn

       4   extending this offer.       The email was also addressed to Mr.

       5   Clemente.    As we have told Your Honor before, if the Committee

       6   is interested in continuing negotiations with Mr. Dondero, far

       7   be it from us to stand in the way.

       8        So what I would really ask is for Mr. Clemente to respond

       9   to think if -- to see if he thinks that this offer is worthy.

      10   If it's worthy and the Committee wants to consider it, we

      11   would by all means support a continuance.         If it is not, I

      12   think this is just a last-minute delay without a reason.         And

      13   if there is no likelihood of that being acceptable or the

      14   Committee wanting to engage, we would want to continue on.

      15               THE COURT:   All right.     Mr. Clemente, what say you?

      16               MR. CLEMENTE:    Yes.    Yes, Your Honor.   Matt Clemente

      17   on behalf of the Committee.

      18        Obviously, I haven't had a chance to confer with my

      19   Committee members, but there's no reason to not continue the

      20   confirmation hearing today.         I will be able to confer with

      21   them over email, et cetera, this evening.        There's simply no

      22   reason to not continue going forward at this particular point

      23   in time, Your Honor.

      24        So, although I haven't conferred with the Committee

      25   members, that would be what I would recommend to them.         And so




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       1   my view, the Committee's view, I believe, would be let's

       2   continue forward and we'll discuss Mr. Dondero's proposal that

       3   I know came across after opening statements this morning, you

       4   know, in due course.       But I do not believe that a continuance

       5   here is necessary or appropriate.

       6                THE COURT:    All right.   Mr. Taylor, that request is

       7   denied, so you may cross-examine.

       8                MR. TAYLOR:    Yes.   (Pause.)   I'm sorry, Your Honor.

       9   I have a couple people that are in my ear.         But yes, I'm ready

      10   to proceed.

      11                THE COURT:    Okay.

      12                               CROSS-EXAMINATION

      13   BY MR. TAYLOR:

      14   Q    Mr. Seery, I believe you can probably largely testify from

      15   your memory of the various iterations of the plan analysis

      16   versus the liquidation analysis.        But to the extent that

      17   you're unable to, we can certainly pull those up.

      18        Mr. Seery, you put forth or Highland put forth on November

      19   24th of 2020 a plan analysis versus a liquidation analysis,

      20   correct?

      21   A    I think that's the approximate date, yes.

      22   Q    Okay.    And do you recall what the plan analysis predicted

      23   the recovery to general unsecured creditors in Class 8 would

      24   be at that time?

      25   A    I believe it was in the 80s.




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       1   Q    And approximately 87.44 percent?

       2   A    That sounds close, yes.

       3   Q    Okay.    And then just right before -- the evening before

       4   your deposition that took place on January 29th, I believe a

       5   revised plan analysis versus a liquidation analysis was

       6   provided.     Do you remember that?

       7   A    Yes.

       8   Q    Okay.    And what was the predicted recovery to general

       9   unsecured creditors under that analysis?

      10   A    I believe that was --

      11                MR. MORRIS:    Object to the form of the question.     I

      12   just want to make sure that we're talking about the -- and

      13   maybe I misunderstood the question -- plan versus liquidation.

      14                THE COURT:    Okay.   Could you restate --

      15                MR. TAYLOR:    I said plan analysis.

      16                THE COURT:    Plan.

      17                THE WITNESS:    I believe that that initially was in

      18   the -- in the high 60s.

      19   BY MR. TAYLOR:

      20   Q    It was --

      21   A    Might have been --

      22   Q    -- 62.14 percent; is that correct?

      23   A    Okay.    Yeah.    That sounds -- I'll take your

      24   representation.       That's fine.

      25   Q    Okay.    And going back to the November 28th liquidation




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       1   analysis, what did Highland believe that creditors in Class 8

       2   would get under a liquidation analysis?

       3   A    I don't recall the -- if you just tell me, I'll -- I'll --

       4   if you're reading it, I'll agree with -- because I -- from my

       5   memory.

       6   Q    62.6 percent?    Is that correct?

       7   A    That sounds about right.

       8   Q    You would agree with me, would you not, that 62.6 cents on

       9   the dollar is higher than 62.14 cents, correct?

      10   A    Yes.

      11   Q    And so at least comparing the January 28th versus -- of

      12   2021 versus the November 24th of 2020, the liquidation

      13   analysis actually ended up being higher than the plan

      14   analysis, correct?

      15   A    Yes.

      16   Q    But there was -- there was some changes also in the plan

      17   analysis.    I'm sorry.   There were some subsequent changes that

      18   were done over the weekend that were provided on February 1st.

      19   Is that correct?

      20   A    Yes.

      21   Q    Okay.   And what were -- give us an overview of what those

      22   changes were.

      23   A    What are -- what are you comparing?      What would you like

      24   me to compare?

      25   Q    Okay.   The January to February plan analysis, what were




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       1   the changes?     Why did it go up from 62.6 to 71.3?

       2   A    The main changes, as we discussed earlier, and maybe the

       3   only major change, was the UBS claim amount, which went down

       4   significantly from the earlier iteration.       And then there was

       5   the small change related to the RCP recovery, which was a

       6   double-count.

       7   Q    Okay.    And you talked about earlier about what assumptions

       8   went into these analyses, correct?

       9   A    Yes.

      10   Q    And you said these assumptions were always done after

      11   careful consideration.      Is that a correct summation of what

      12   you said?

      13   A    I think that's fair.

      14   Q    Okay.

      15                MR. TAYLOR:   Mr. Assink, could you pull up the

      16   November assumptions?

      17   BY MR. TAYLOR:

      18   Q    I believe that's coming up, Mr. Seery.      The Court.

      19        (Pause.)

      20                MR. TAYLOR:   And go down one page, please, Mr.

      21   Assink.     Roll up.   The Assumption L.

      22   BY MR. TAYLOR:

      23   Q    So, these are the November assumptions, correct, Mr.

      24   Seery?

      25   A    I believe so, yes.




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       1   Q    Okay.    And what was the assumption that you made after

       2   careful consideration regarding the claims for UBS and

       3   HarbourVest?

       4   A    The plan assumes zero, that was L, for those claims.

       5   Q    Okay.    And ultimately what did -- and I believe you just

       6   announced this today and made this public today -- what is

       7   UBS's claim?     What are you proposing that it be allowed at?

       8   A    $50 million in Class 8, and then they have a junior claim

       9   as well.

      10   Q    Okay.    And what about HarbourVest?    What kind of allowed

      11   claim did they end up with?

      12   A    $45 million in Class 8 and a $35 million junior claim.

      13   Q    So your well-reasoned assumption, carefully considered,

      14   was off by $95 million; is that correct?

      15                MR. MORRIS:    Objection to the form of the question.

      16                THE COURT:    Overruled.

      17                THE WITNESS:    The difference between zero and those

      18   numbers is $95 million, yes.

      19   BY MR. TAYLOR:

      20   Q    You solicited creditors of the Highland estate based upon

      21   the November plan analysis and liquidation analysis that was

      22   provided and that we're looking at right now, correct?

      23   A    It was one of the bases, yes.      It's the plan is what --

      24   what we solicited votes for, not the projections.

      25   Q    But this was included within the disclosure statement; is




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       1   that correct?

       2   A    It's one of the bases.    It was included, yes.

       3   Q    And this is the bases by which you believe that the best

       4   interests of the creditors have been met better than a Chapter

       5   7 liquidation, correct?

       6   A    I believe this evidences that the best interest test would

       7   be satisfied, yes.

       8   Q    And so the record is very clear, for this Court and

       9   anybody looking at the record, no solicitation was done of the

      10   creditor body after the disclosure statement was sent out?         No

      11   updates were sent, correct?

      12   A    Updated projections were filed, but no solicitation was --

      13   was -- there was only one solicitation.      We did not resolicit.

      14   That's correct.

      15   Q    Okay.   Mr. Seery, how much are you -- after this plan, or

      16   if this plan is confirmed, how much are you going to be paid

      17   per month to be the Trustee?

      18   A    For the Trustee role, $150,000 per month is the base.

      19   Q    It's a base amount?    On top of that, you're going to

      20   receive some sort of bonus amount, correct?

      21   A    There's two bonuses.    There's a bonus for the bankruptcy

      22   case, which I'd need Court approval for, and then I'm going to

      23   seek a bonus for the Trustee work, which would be a

      24   combination of myself and the team for a performance bonus.

      25   That's to be negotiated.




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       1        To be fair, the Committee or the Oversight Group may not

       2   agree to any change, in which case we would not have an

       3   agreement.

       4   Q    And what would happen if you don't come to an agreement,

       5   Mr. Seery?

       6   A    They would have to get a different Plan Trustee.

       7   Q    Okay.   So it's certainly going to have to be greater than

       8   zero, correct?

       9   A    Typically.

      10   Q    Is it going to be in the nature of three or four percent

      11   of the sales proceeds, or have you considered that?

      12   A    Oh, I'm sorry.    Yeah, you mean the bonus?     No.   I've been

      13   thinking -- my apologies.     I misunderstood.    I thought you

      14   meant any number.     I haven't -- I haven't had negotiation with

      15   them.   I'm thinking about looking at the full recovery of the

      16   team -- for the team, looking at expected performance numbers,

      17   and then trying to negotiate a structure of bonus compensation

      18   that would be payable to the whole team, and then allocated by

      19   the CEO (garbled) which would be made.

      20   Q    When predicting the expenses of the Trust going forward in

      21   your projections, did you build in an amount for a bonus fee?

      22   A    No.   It wouldn't be part of the expenses.      It would come

      23   out at the end.

      24   Q    Okay.   So those additional expenses are not shown in the

      25   plan analysis, correct?




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       1   A    No, they're not.    It's just not going to be an expense.

       2   It'll be a -- as an operating expense.      It'll be an

       3   expenditure at the end out of distributions.

       4   Q    Okay.    And did you subtract those from the distributions?

       5   A    No.

       6   Q    Okay.    A Chapter 7 trustee is not going to charge $150,000

       7   or more to monetize these assets, is he?

       8   A    No.

       9   Q    Have you priced how much D&O insurance is going to be on a

      10   go-forward basis post-confirmation?

      11   A    I'm sorry.    I couldn't -- couldn't hear you.

      12   Q    Sorry.    Let me get closer to my mic.    Have you priced what

      13   D&O insurance is going to run the Trust on a go-forward basis

      14   post-confirmation?

      15   A    Yes.

      16   Q    Okay.    And what are you projecting that to run?

      17   A    About $3-1/2 million.

      18   Q    And is that per annum for over the two-year life of this

      19   plan?

      20   A    Well, it's the two-year projection period, not life.        But

      21   I expect that that's for the two-year projection period.

      22   Q    Okay.    So approximately one point -- I'm sorry, you said

      23   $3.5 million, correct?

      24   A    Yes.

      25   Q    Okay.    So, $1.75 million per year?




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       1   A    Yes.

       2   Q    On top of the minimum $1.8 million per year that you're

       3   going to be paid, correct?

       4   A    Well, that's -- that's the base compensation.       But, again,

       5   to be fair to the Oversight Committee, they haven't approved

       6   it yet.     So the Committee, the Committee reserves their rights

       7   to negotiate a total package.

       8   Q    And there's going to be a Litigation Trustee, correct?

       9   A    Yes.

      10   Q    And that Litigation Trustee is going to be paid some

      11   amount of compensation, correct?

      12   A    Yes.

      13   Q    That has not been negotiated yet, correct?

      14   A    No, I believe -- I believe the base piece has.       But his --

      15   I don't know what the contingency fee or if that's been

      16   negotiated yet.     I don't know.

      17   Q    And what is the base fee for the Litigation Trustee?

      18   A    My recollection is it was about $250,000 a year, some

      19   number in that area.

      20   Q    Thank you.    So, at this point, over the two-year period,

      21   we're looking at approximately $3.6 million to you, $3.5

      22   million to the D&O insurance, and approximately $500,000 base

      23   fee to the Litigation Trustee, plus a contingency.        Is that

      24   correct?

      25   A    That's probably real close, yes.




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       1   Q    Okay.   And how about U.S. Trustee fees?      You've estimated

       2   of how much those are going to be during the two-year period,

       3   correct?

       4   A    They're built into the plan up 'til -- I think it's only

       5   up until the actual effective date, but I don't recall the

       6   specifics.

       7   Q    Okay.   And U.S. Trustee fees, the case is going to stay

       8   open and those are going to continue to have to be paid, even

       9   after confirmation, correct?

      10   A    Yes.

      11   Q    Okay.   And do you have an estimate of how much those are

      12   going to run per annum or over that two-year period?

      13   A    I don't recall, no.

      14   Q    Okay.   Well, they're provided within your projections,

      15   correct?

      16   A    Yes.

      17   Q    Okay.   A Chapter 7 trustee would not have to incur any of

      18   these costs, would they?

      19   A    I don't think they'll have to incur Chapter -- U.S.

      20   Trustee fees.    I don't know whether they would bring on a

      21   litigation trustee or not.     I would assume, since there's --

      22   appear to be valuable claims, they probably would, but perhaps

      23   they would do it themselves.      So I don't know the specifics of

      24   what they would do.

      25   Q    In preparing your liquidation analysis, did you ask




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       1   Pachulski if they would be willing to work for a Chapter 7

       2   trustee if one was appointed?

       3   A    I didn't specifically ask, no.

       4   Q    Did you ask DIS, your, for lack of a better word,

       5   financial advisors in this case, if they would be willing to

       6   work with a Chapter 7 trustee?

       7   A    DSI.    No, I did not specifically ask them.

       8   Q    Okay.   All right.   Any of the accountants that you're

       9   working with, did you ask them if they would be willing to

      10   work with a Chapter 7 trustee?

      11   A    I didn't specifically ask them, no.

      12   Q    Okay.   The proposed plan has no requirements that you

      13   notice any potential sale of either Highland assets or

      14   Highland subsidiary assets; is that correct?

      15   A    Do you mean after the effective date?

      16   Q    Yes.

      17   A    No, it does not.

      18   Q    In the SSP sale, which is a subsidiary of Trussway, which

      19   is a subsidiary of Highland, or actually it's a sub of a sub

      20   of Highland, you conducted the sale of SSP, correct?

      21   A    The team did, yes.    I was part.

      22   Q    All right.    That was not noticed to the creditor body; is

      23   that correct?

      24   A    That's correct.

      25   Q    And it is the Debtor's and your position that no notice




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       1   was required because this was a sub of a sub and therefore

       2   this was in the ordinary course?

       3   A    Not exactly, no.

       4   Q    Okay.   Then what is your position?

       5   A    It was in the ordinary course.      It was -- I believe it's a

       6   sub of a sub of a sub, and a significant portion of the

       7   interests are owned by third parties.

       8   Q    It is possible, is it not, that had you noticed this to

       9   the larger creditor body, that you might have engendered a

      10   competitive bidding situation that might have reached a higher

      11   return for investors, correct?

      12   A    The same possibility is it could have gone lower.

      13   Q    But it is possible, correct?

      14   A    Certainly possible.

      15   Q    In fact, there is normally requirements under the

      16   Bankruptcy Code and the Rules that asset sales are noticed out

      17   to the creditor body, correct?

      18   A    Asset sales that -- property of the estate, yes.         Other

      19   than in the ordinary course, of course.

      20   Q    I believe you have described Mr. Dondero as being very

      21   litigious within this case; is that correct?

      22   A    I believe so, yes.

      23   Q    Okay.   Did Mr. Dondero initiate any litigation in this

      24   case prior to September 2020?

      25   A    Prior to September?    I don't believe so.     I don't know




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       1   when he filed the claim from NexPoint.        It certainly indicated

       2   that -- I believe it was from NexPoint.        My memory is slightly

       3   off here.    He filed a claim in -- administrative claim, which

       4   effectively is like you're bringing a complaint, against HCMLP

       5   for the management of Multi-Strat and the sale of the life

       6   settlement policies out of Multi-Strat, which was conducted in

       7   the spring.

       8   Q    And wasn't Mr. Dondero seeking document production related

       9   to that sale?

      10   A    No.

      11   Q    Okay.    I believe that the preliminary injunction that you

      12   talked about and were questioned earlier, the plan asks to

      13   enjoin (garbled) party from allowing the plan to go effective.

      14   Is that correct?

      15   A    I'm sorry.    I didn't understand you question.     There was a

      16   -- there was a bunch of interference.

      17   Q    Okay.    Sure.   I'm sorry about that.    I don't know if

      18   that's -- I don't think that's me, but --

      19   A    It may not be.    It sounded like someone else.

      20   Q    The injunction prohibits anybody from interfering with the

      21   plan going effective, correct?

      22   A    The plan injunction?

      23   Q    Yes.

      24   A    Yes.

      25   Q    Okay.    Just so I'm clear, is the plan injunction




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       1   attempting to strip appellate rights of Mr. Dondero?

       2   A    No.

       3   Q    Okay.    So, if, for instance, if he were to file any appeal

       4   of an order confirming this plan, he wouldn't be in violation

       5   of that plan injunction?

       6   A    I don't think so, because the order wouldn't be final.

       7   Q    Okay.    But it -- it says upon entry of a confirmation

       8   order, you're enjoined from doing so.      So that's not the

       9   intent?

      10   A    It certainly would not be my intent.      I don't think that

      11   anybody had that in mind.

      12   Q    Okay.    And if Mr. Dondero were to seek a stay pending

      13   appeal either during that 14-day period or afterwards, is that

      14   plan injunction attempting to stop that -- that sort of

      15   action?

      16   A    I apologize.    You're breaking up.    But I think I

      17   understood your question.     No, it was -- it was your screen as

      18   well.   No.   If either this Court stays its own order or a

      19   higher court says that the order is stayed, then there would

      20   be no way there could be any allegation that it's interfering

      21   with an order if it's not effective.

      22   Q    Mr. Dondero opposed the Acis sale, correct?

      23   A    The Acis settlement?

      24   Q    Correct.

      25   A    Yes.




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       1   Q    After he opposed the Acis settlement, the next filing Mr.

       2   Dondero made was requesting that the Debtor notice the sale of

       3   any assets or any major subsidiary assets.       Is that correct?

       4   A    I don't recall the sequence of his filings.       I think that

       5   Judge Lynn at least sent a letter to that effect.        I don't

       6   recall if there is a filing to that effect.

       7   Q    Did Mr. Dondero, through his counsel, attempt to resolve

       8   that motion without filing anything further?

       9   A    I don't recall the specifics of the motion.       I know they

      10   asked for some sort of relief that -- that we thought was

      11   inappropriate.

      12   Q    When the Court postponed any hearing on Mr. Dondero's

      13   request for relief until the eve of the confirmation hearing,

      14   and Mr. Pomerantz announced that no sales were expected before

      15   confirmation, did Mr. Dondero withdraw his motion?

      16   A    Again, I don't recall the specifics of the motion.        I only

      17   recall the letter from Judge Lynn.

      18   Q    Did Mr. Dondero do anything more than object to the

      19   HarbourVest deal?

      20   A    Not that I know of.

      21   Q    Did Mr. Dondero do anything more than respond to the

      22   Defendants' injunction suit?

      23              MR. MORRIS:    Objection to the form of the question.

      24   I mean, -- objection to the form.

      25              THE COURT:    Overruled.




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       1              MR. TAYLOR:    I apologize.    I should have said the

       2   Debtor's injunction suit.

       3              THE WITNESS:   Yeah, the -- I'm not sure of the

       4   specific order, but certainly the communications with me,

       5   which I think are prior to the order.       The communications with

       6   Mr. Surgent, which I believe are after the order.        Certain

       7   communications with Mr. Waterhouse, which were oral.          Those

       8   were all similarly difficult and obstreperous actions.

       9   BY MR. TAYLOR:

      10   Q    Has Mr. Dondero commenced any adversary proceeding or

      11   litigation in this case other than filing a competing plan?

      12              MR. MORRIS:    Objection to the form of the question.

      13              THE COURT:    Over --

      14              THE WITNESS:   Yeah, I don't --

      15              THE COURT:    -- ruled.

      16              THE WITNESS:    I don't believe he's commenced an

      17   adversary.    I'm sorry, Judge.      I don't believe he's commenced

      18   an adversary proceeding, no.

      19   BY MR. TAYLOR:

      20   Q    Mr. Dondero didn't file any opposition to the life

      21   settlement sale, did he?

      22   A    We didn't do the life settlement (garbled) Court.

      23   Q    Right.   Again, that wasn't noticed through the -- this

      24   Court, was it?

      25   A    It was an -- the reason was it was an asset of Multi-Strat




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       1   Fund.   It wasn't an asset of the Debtor's.

       2   Q    Okay.   Mr. Dondero did have concerns regarding the life

       3   settlement sale, correct?

       4   A    Yes.

       5   Q    In fact, he believed that they were being sold for

       6   substantially less than what could have otherwise been

       7   received, correct?

       8   A    He may have.

       9   Q    And if you conduct any subsequent sales for less than

      10   market value that might ultimately prevent the waterfall from

      11   ever reaching Mr. Dondero, he would have no recourse under

      12   this proposed plan to object to this sale or otherwise have

      13   any comment on it.    Is that correct?

      14   A    I clearly object to the thinking that that was less than

      15   market value.    It was -- it was more than market value.       So I

      16   don't -- I disagree with the premise of your question.

      17   Q    So, I don't believe that was the question that was asked.

      18   The question that was asked is, as you move forward with your

      19   -- what I will characterize as a wind-down plan, not putting

      20   that word in your mouth -- but as you execute forward on your

      21   plan, as these sales of these assets go through, no notice is

      22   going to be provided, correct?

      23   A    Not necessarily.    It depends on the asset and what we

      24   think of the, you know, the -- the position of the parties at

      25   the time.




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       1        If we have a -- if we have a transaction that's pending

       2   that wouldn't be hurt by a notice and that we'd be able to get

       3   the Court's imprimatur to maybe more better insulate, if you

       4   will, against Mr. Dondero's attacks, then we may well come to

       5   the Court to seek that.

       6        The problem with noticing sales is that -- that it often

       7   depresses value.    That's just not the way folks outside of the

       8   bankruptcy world (audio gap) sales.

       9   Q    So there's no requirement that either public or private

      10   notice be provided, correct?

      11   A    No.   Meaning it is correct.

      12   Q    Okay.   And if Mr. Dondero had objections either to the

      13   pricing of the sale or the manner and means by which the sale

      14   was being conducted, he would be prohibited by the plan

      15   injunction from bringing any objection to such sale, correct?

      16   A    I believe so, yes.

      17   Q    Mr. Dondero also had concerns regarding the OmniMax sale,

      18   correct?

      19   A    Mr. Dondero did not go along with the OmniMax sale with

      20   the assets that he managed.     I don't know if he had concerns

      21   with -- with our sale or OmniMax's interests.

      22   Q    Did Mr. Dondero ever express to you any concern that the

      23   value wasn't being maximized regarding the sale of those

      24   assets?

      25   A    He thought he could get more.      I don't know that he




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       1   thought that he could get more for his assets that he was

       2   managing or whether he thought he could get more for all of

       3   the assets.

       4   Q    Other than voicing those concerns, did Mr. Dondero file

       5   any pleading with this Court attempting to block that sale?

       6   A    Pleading with the Court?      No.

       7              MR. TAYLOR:     Your Honor, I would like to confer with

       8   my colleagues just very briefly and see if they have anything

       9   further.   And even if they don't, Mr. Lynn of my firm would

      10   like a very brief moment to address the Court prior to me

      11   passing the witness.

      12        So, if I may have a literally hopefully one-minute break

      13   where I can turn my camera off and my microphone off to confer

      14   with my colleagues, and then move forward?

      15              THE COURT:     Okay.   Well, you can have a one-minute

      16   break, but we're going to continue on with cross-examination

      17   at this point.    Okay?    I'm not sure what you meant by Mr. Lynn

      18   wants to raise an issue at this point.         Could you elaborate?

      19              MR. TAYLOR:     I will get some elaboration during our

      20   30-second to one-minute break, Your Honor.         I was just passed

      21   a note.

      22              THE COURT:     All right.     So, but I'll just you know,

      23   --

      24              A VOICE:   Your Honor?

      25              THE COURT:     -- I'm inclined to continue with the




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       1   cross-examination.      You know, this isn't a time for, you know,

       2   arguments or anything like that.      All right?

       3        So, we'll take a one-minute break.       You can turn off your

       4   audio and video for one minute, and come back.

       5        (Off the record, 3:33 p.m. to 3:34 p.m.)

       6              THE WITNESS:    Your Honor?

       7              THE COURT:    Yes?

       8              THE WITNESS:    It's Jim Seery.    Can I turn it into

       9   just a two-minute break, since I've sat in my seat, and it

      10   would be better for him to just continue straight through.            I

      11   could use one or two minutes.

      12              THE COURT:    Okay.

      13              THE WITNESS:    I apologize.

      14              THE COURT:    All right.   Well, it's been more than

      15   minute.   Let's just say a five-minute break for everyone, and

      16   we'll come back at 3:39 Central time.        Okay.

      17              THE WITNESS:    Okay.   Thank you, Your Honor.     I

      18   appreciate that.

      19        (A recess ensued from 3:35 p.m. until 3:40 p.m.)

      20              THE CLERK:    All rise.

      21              THE COURT:    Please be seated.    All right.   We are

      22   back on the record.      Mr. Taylor, are you there?

      23              MR. TAYLOR:    I am, Your Honor.    My video is not

      24   wanting to start, but my -- I believe my audio is on.

      25              THE COURT:    Okay.   After you went offline for your




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       1   one-minute break, Mr. Seery asked for a five-minute bathroom

       2   break, or a couple-minute.       Anyway, we've been gone on a

       3   bathroom break.    We're back now.

       4              MR. TAYLOR:    Thank you.   I was actually -- I was

       5   still listening with one ear, --

       6              THE COURT:    Okay.

       7              MR. TAYLOR:    -- Your Honor, so I understand.

       8              THE COURT:    All right.

       9              MR. TAYLOR:    So, thank you.

      10              THE COURT:    Are you finished with cross, or no?

      11              MR. TAYLOR:    Just a little bit of a follow-up.

      12                        CROSS-EXAMINATION, RESUMED

      13   BY MR. TAYLOR:

      14   Q    Mr. Seery, you had previously testified that Mr. Dondero's

      15   counsel had threatened you and/or the independent board, I was

      16   not exactly sure who you were referring to, with suits, and I

      17   believe you said a hundred million dollars' worth of suits and

      18   getting dragged into litigation.

      19        Is that still your testimony today, that you were -- you

      20   were threatened with suit by this firm of a suit of over a

      21   hundred million dollars?

      22   A    I believe what I was told by my counsel was that, not Mr.

      23   Dondero's, but one of the other counsel, who I can name, said

      24   specifically that Dondero will sue Seery for hundreds of

      25   millions of dollars.     We're going to take it up to the Fifth




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       1   Circuit, get it reversed, and he'll go after him.

       2   Q    Okay.    So it was not Mr. Dondero's counsel, and you were

       3   not -- is that correct?

       4   A    No.    It was one of the other counsel on the phone today.

       5   Q    Okay.    And you base that not upon your own personal

       6   knowledge but based on some -- something else that you were

       7   told, correct?

       8   A    Yes.    By my counsel.

       9   Q    Thank you.

      10                MR. TAYLOR:    Yes, Your Honor.    We can pass the

      11   witness.

      12                THE COURT:    Okay.   So, you've gone, or you and Mr.

      13   Rukavina collectively have gone one hour and 17 minutes.            Mr.

      14   Draper, you're next.

      15                MR. DRAPER:    Yes, Your Honor.    Thank you.   I

      16   basically have no more than ten questions, so I gather the

      17   Court will welcome that.

      18                THE COURT:    Okay.

      19                               CROSS-EXAMINATION

      20   BY MR. DRAPER:

      21   Q    Mr. Seery, has the new general partner been formed yet?

      22   A    I don't know if they've been -- we've actually done the

      23   formation, but it -- it would be in process.

      24   Q    So it either has been formed or has not been formed?

      25   A    I don't -- I don't know the answer.




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       1   Q    Okay.   Now, going forward, Judge Nelms and Mr. Dubel will

       2   have nothing to do with the Reorganized Debtor, correct?

       3   A    Not necessarily, but they don't have a specific role at

       4   this time.

       5   Q    They won't be officers or directors of the new general

       6   partner or the Reorganized Debtor, correct?

       7   A    I don't -- I don't believe so, but it's not set in stone.

       8   Q    All right.    Has any finance -- has any party who is the

       9   beneficiary of an exculpation, a release, or the channeling

      10   injunction contributed anything to this plan of reorganization

      11   in terms of money?

      12   A    No.

      13   Q    Have you ever interviewed a trustee as to how they would

      14   liquidate the assets or monetize the assets in this case?

      15   A    No.

      16   Q    And last question is, is there any bankruptcy prohibition

      17   that you're aware of that a Chapter 7 trustee could not do

      18   what you're doing?

      19   A    Which -- which -- what do you mean, under the plan?

      20   Q    No.   Could not monetize the assets of the estate in the

      21   manner that you're attempting to monetize them.

      22   A    I don't think there's a specific rule, but I just haven't

      23   -- I haven't seen that before, no.      So I don't think there's a

      24   specific rule that I know of.

      25   Q    Okay.




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       1              MR. DRAPER:    I have nothing further for this witness.

       2              THE COURT:    All right.    I should have asked, we had a

       3   couple of other objectors.       Ms. Drawhorn, did you have any

       4   questions?

       5              MS. DRAWHORN:    I have no questions, Your Honor.

       6              THE COURT:    All right.    Were there any other

       7   objectors out there that I missed that might have questions?

       8        All right.   Any redirect?

       9              MR. MORRIS:    Your Honor, if I may, can I -- can I

      10   just take a short minute to confer with my colleagues?

      11              THE COURT:    Sure.   You can --

      12              MR. MORRIS:    Thank you.

      13              THE COURT:    -- put you --

      14              MR. MORRIS:    Two -- two minutes, Your Honor.

      15              THE COURT:    Okay.

      16        (Pause, 3:45 p.m. until 3:48 p.m.)

      17              THE COURT:    All right.    We've been a couple of

      18   minutes.   Mr. Morris?

      19              MR. MORRIS:    Yes, Your Honor.

      20              THE COURT:    What are --

      21              MR. MORRIS:    Just, just a few points, Your Honor.

      22              THE COURT:    Okay.

      23              MR. MORRIS:    Hold on a sec.   You ready, Mr. Seery?

      24              THE WITNESS:    I am, yes.

      25                            REDIRECT EXAMINATION




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       1   BY MR. MORRIS:

       2   Q    You were asked a number of questions about your

       3   compensation.     Do you recall all that?

       4   A    Yes, I do.

       5   Q    And you testified to the $150,000 a month.       Do you recall

       6   that?

       7   A    Yes.

       8   Q    Under the -- under the documentation right now, your

       9   compensation is still subject to negotiation with the

      10   Committee; is that right?

      11   A    Yes, it is.

      12   Q    Okay.   You were asked a couple of questions about the

      13   conduct of Mr. Dondero.     Earlier, you testified that the

      14   monetization plan was filed under seal at around the time of

      15   the mediation.     Do I have that right?

      16   A    Yes.    Right at the start of the mediation.

      17   Q    Okay.   And is that the first time that the Debtor made the

      18   constituents aware, including Mr. Dondero, that it intended to

      19   use that as a catalyst towards getting to a plan?

      20   A    That's the first time that we filed it, but that plan had

      21   been discussed prior to that.

      22   Q    And do you recall that there came a point in time where

      23   you -- when the Debtor gave notice that it intended to

      24   terminate the shared services agreements with the Dondero-

      25   related entities?




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       1   A    Yes.

       2   Q    And when did that happen?

       3   A    That was about 60 -- now it's like 62 days ago.

       4   Q    Uh-huh.   And you know, from your perspective, from the

       5   filing of the monetization plan in August through the notice

       6   of shared services, is that what you believe has contributed

       7   to the resistance by Mr. Dondero to the Debtor's pursuit of

       8   this plan?

       9   A    Well, I think there's a number of factors that

      10   contributed, but the evidence that I've seen is that when we

      11   started talking about a transition, if there wasn't going to

      12   be a deal, if Mr. Dondero couldn't reach a deal with the

      13   creditors, we were going to push forward with the monetization

      14   plan.   And the monetization plan required the transition of

      15   the employees.    And indeed, it called specifically, and we had

      16   testimony regarding it all through the case, about the

      17   employees being terminated or transferred.

      18        In order to transfer them over to an entity that's

      19   related, Mr. Dondero pulls all of those strings.        And he

      20   refused to engage on that.      We started in the fall.       We

      21   specifically told employees of the Debtor not to engage.             They

      22   couldn't spend his money, which made sense --

      23               MR. TAYLOR:    Objection, Your Honor.

      24               THE WITNESS:    So, very -- that --

      25               THE COURT:    Just -- there's an objection.




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       1               MR. MORRIS:    There's an objection.

       2               THE WITNESS:    I'm sorry.

       3               THE COURT:    There was an objection.

       4               MR. TAYLOR:    Yes, Your Honor.    Object --

       5               THE COURT:    Go ahead.

       6               MR. TAYLOR:    Yes, Your Honor.    This is Clay, Clay

       7   Taylor.   Objection.      He's directly said Mr. Dondero told other

       8   employees x, and that is purely hearsay, not based upon his

       9   personal opinion, or his personal knowledge, and therefore

      10   that part of the answer should be struck.

      11               MR. MORRIS:    Your Honor, it's a statement against

      12   interest.

      13               THE COURT:    Overrule the objection.    Go ahead.

      14               THE WITNESS:    Yeah.    The difficulty of transitioning

      15   this business, I've equated it to doing a corporate carve-out

      16   transaction on an M&A side.         It's hard, and you need

      17   counterparties on the other side willing to engage.           And what

      18   we went through over the weekend, on Friday, was seemingly

      19   that the Funds, you know, directed by Mr. Dondero, just

      20   haven't engaged.

      21        We actually gave them an extra two weeks to engage,

      22   because it's -- they've really been unable to do anything.           I

      23   mean, hopefully, we've got the employees working in a way that

      24   can -- that can foster and get around some of this

      25   obstreperousness, and I've used that word before, but that's




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       1   what it is.    It's really an attempt to just prevent the plan

       2   from going forward.

       3        And at some point, the plan will go forward.       And if we

       4   are unable to transition people, we will simply have to

       5   terminate them.    And that is not a good outcome for those

       6   employees, but it's not a good outcome for the Funds, either.

       7   And the Funds, Mr. Dondero, the Advisors, the boards, nobody

       8   wants to do anything except come in this court.

       9   BY MR. MORRIS:

      10   Q    Do you recall being asked about Mr. Dondero and certain

      11   things that he didn't do and certain actions that he hadn't

      12   taken?

      13   A    Yes.

      14   Q    By Mr. Taylor?    To the best of your recollection, did Mr.

      15   Dondero personally object to the HarbourVest settlement?

      16   A    I -- I don't recall if he did or if it was one of the

      17   entities.

      18   Q    It was Dugaboy.    Does that refresh your recollection?

      19   A    Dugaboy certainly objected, yes.

      20   Q    And do you understand that Dugaboy has appealed the

      21   granting of the 9019 order in the HarbourVest settlement?

      22   A    Yes.

      23   Q    And Mr. Taylor asked you to confirm that Mr. Dondero

      24   hadn't taken any action with respect to the life settlement

      25   deal.    Do you remember that?




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       1   A    I do.

       2   Q    But are you aware that Dugaboy actually filed an

       3   administrative claim relating to the alleged mismanagement of

       4   the life settlement sale?

       5   A    Yes, I did, I did allude to that.        I wasn't sure it was

       6   Dugaboy, but -- but that was very --

       7   Q    Uh-huh.

       8   A    -- very early on, an objection filed in the form of an

       9   administrative claim or complaint against, if you will,

      10   against Highland for the management of Multi-Strat.

      11   Q    Uh-huh.    And Mr. Dondero didn't personally file any motion

      12   seeking to inhibit the Debtor from managing the CLO assets; is

      13   that right?

      14   A    No, not the CLO assets, no.

      15   Q    Yeah.    But the Funds and the Advisors did.     That was the

      16   hearing on December 16th.      Do you recall that?

      17   A    Yeah.    That was the -- the Funds.      K&L Gates, the Funds,

      18   and the various Advisors.

      19   Q    All right.    Do you recall Mr. Rukavina asking you whether

      20   there was any evidence in the record to support your testimony

      21   that there was an agreement in place to assume the CLO

      22   management agreements?

      23   A    I recall the question, yes.

      24   Q    Okay.

      25                MR. MORRIS:   Your Honor, I'm going to ask Ms. Canty




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       1   to put up on the screen the Debtor's omnibus reply to the plan

       2   objections.

       3                  THE COURT:    Okay.

       4                  MR. MORRIS:    It was filed -- it was filed on January

       5   22nd.    And if we can go, I think, to -- I think it's Paragraph

       6   -- I think it's Paragraph 135 on Page 71.            Yeah.   Okay.

       7   BY MR. MORRIS:

       8   Q      Take a look at that, Mr. Seery.          Does that -- does that

       9   statement in Paragraph 135 accurately reflect the

      10   understanding that's been reached between the Debtor and the

      11   CLO Issuers with respect to the Debtor's assumption of the CLO

      12   management agreements?

      13   A      Yes.    I think that's consistent with what I testified to

      14   earlier, the substance of the agreement.

      15                  MR. MORRIS:    And if we can just scroll to the top,

      16   just to see the date.          Or the bottom.    I guess the top.

      17                  THE WITNESS:    Do you mean the date of this pleading?

      18   BY MR. MORRIS:

      19   Q      Yeah.    So, it was filed on January 22nd, right, ten days

      20   ago?    Okay.

      21   A      That's correct.

      22                  MR. MORRIS:    I'd like to put up on the screen an

      23   email, Your Honor, that I'd like to mark as Debtor's Exhibit

      24   10A.    And this is --

      25   BY MR. MORRIS:




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       1   Q    Do you recall, Mr. Seery, you testified that the agreement

       2   was reflected in an email?

       3   A    Yes.

       4   Q    Is this the email that you're referring to?

       5                MR. MORRIS:    If we could scroll down.   Right there.

       6                THE WITNESS:    Yes.

       7                MR. MORRIS:    Okay.   One -- the email below.   Okay.

       8   Right there.

       9   BY MR. MORRIS:

      10   Q    Is that the -- is that the email you had in mind?

      11   A    It was the series of emails.       We -- we had a -- I think I

      12   testified in the prior testimony, or my -- one of my

      13   depositions, that we had had a number of conversations with

      14   the Issuers and their counsel, and this was the summary of the

      15   agreement that was contained in these emails.

      16   Q    Okay.    And this is, this is the same date as the omnibus

      17   reply that we just looked at, right, January 22nd?

      18   A    That's correct.

      19   Q    Okay.    You were asked a question, I think, late in your

      20   cross-examination about a Chapter 7 trustee's ability to sell

      21   the assets in the same way as you are proposing to do.         Do you

      22   recall that testimony?

      23   A    Yes.

      24   Q    And I think, if I understood correctly, the question was

      25   narrowly tailored to whether there was any legal impediment to




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       1   a trustee doing -- performing the same functions as you.          Do I

       2   have that right?

       3   A    That's the question I was asked, whether the Bankruptcy

       4   Code had a specific prohibition.

       5   Q    Okay.   And I think, I think you testified that you weren't

       6   aware of anything.     Is that right?

       7   A    That's correct.

       8   Q    All right.    But let's talk about practice.     Do you think a

       9   Chapter 7 trustee will realize the same value as you and the

      10   team that you're assembling will, in terms of maximizing value

      11   and getting the maximum recovery for the assets?

      12   A    No.   As I testified earlier, you know, I've been working

      13   with these assets now for a year.       It's a complicated

      14   structure.    The assets are all slightly different.      And

      15   sometimes much more than slightly.      And the team that we're

      16   going to have helping managing is familiar with the assets as

      17   well.   We believe we'll be able to execute very well in the

      18   markets that we (garbled).

      19   Q    Do you think a Chapter 7 trustee will have a steep

      20   learning curve in trying to even begin to understand the

      21   nature of the assets and how to market and sell them?

      22   A    I think anybody coming into this, the way this company is

      23   set up, as an asset manager, and the diversity of the assets,

      24   would have a steep learning curve, yes.

      25   Q    Do you have any view as to whether the perception in the




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       1   marketplace of a Chapter 7 trustee taking over to sell the

       2   assets will have an impact on value as compared to a post-

       3   confirmation estate of the type that's being proposed under

       4   the plan?

       5   A    Yes, I do, and it certainly would be negative, in my

       6   experience.    Typically, assets are not conducted -- asset

       7   sales are not conducted through a bankruptcy court, and

       8   certainly not with a Chapter 7 trustee that has to sell them,

       9   and generally is viewed as having to sell them quickly.         So we

      10   -- we approach each asset differently, but certainly in a way

      11   that would be much more conducive to maximizing value than a

      12   Chapter 7 trustee could, just by the nature of their role.

      13   Q    Is it -- is it your understanding that, under the proposed

      14   plan and under the proposed corporate governance structure,

      15   that the Claims Oversight Committee will -- will manage you?

      16   That you'll report to that Committee and that they'll have the

      17   opportunity to make their assessment as to the quality of your

      18   work?

      19   A    Yeah, absolutely.    And that's consistent with what we've

      20   done before in this case.     Even where it wasn't an asset of

      21   the estate or was being sold in the ordinary course, we spent

      22   time with the Committee and the Committee professionals before

      23   selling assets.

      24   Q    And you've worked with the Committee for over -- for a

      25   year now, right?




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       1   A    It's over a year.

       2   Q    And the Committee is comfortable with you taking this

       3   role; is that right?

       4   A    I think they're supportive of it.      Comfortable might be

       5   not the right word choice.

       6   Q    Okay.   I appreciate the clarification.     And do you have

       7   any reason to believe that the -- that the Oversight Committee

       8   is going to allow you the unfettered discretion to do whatever

       9   you want with the assets of the Trust?

      10   A    Not a chance.    Not with this group.    Nor would I want to.

      11   There's no right or wrong answer for most of these things, and

      12   the collaborative views from professionals and people who have

      13   an economic stake in the outcome will be helpful.

      14   Q    Okay.   You were asked some questions about the November

      15   projections and the -- and the assumption that was made that

      16   valued the HarbourVest and the UBS claims at zero.        Do you

      17   recall that?

      18   A    Yes.

      19   Q    As of that time, was the Debtor still in active litigation

      20   with both of those claim holders?

      21   A    Very much so.

      22   Q    And after the disclosure statement was issued, do you

      23   recall that the Court entered its order on UBS's Rule 3018

      24   motion?

      25   A    Yes.




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       1   Q    And do you recall what the -- what the claims estimate was

       2   for voting purposes under that order?

       3   A    It was about $95 million.     That was -- it was together

       4   with the summary judgment orders of that date.       They were

       5   separate orders, but that was the lone hearing.

       6   Q    And was that public information, that order was publicly

       7   filed on the docket; isn't that right?

       8   A    Yes, it was.

       9   Q    Is there anything in the world that you can think of that

      10   would have prevented any claim holder from doing the math to

      11   try to figure out the impact on the estimated recoveries from

      12   the -- by using that 3018 claims estimate?

      13   A    No.   It would have -- it would have been quite easy to do.

      14   Q    And, in fact, that's what you wound up doing with respect

      15   to the January projections, right?

      16   A    That's correct.

      17   Q    And do you recall when the HarbourVest settlement, when

      18   the 9019 motion was filed?

      19   A    I don't recall the actual filing.      It was subsequent to

      20   the UBS, though.

      21              MR. MORRIS:   Ms. Canty, if you have it, can we just

      22   put it on the screen, to see if we can refresh Mr. Seery's

      23   recollection?    If we could just look at the very top.

      24   BY MR. MORRIS:

      25   Q    Does that refresh your recollection that the 9019 motion




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       1   was filed on December 23rd?

       2   A    Yes, it does.    The agreement was reached before that, but

       3   it took a little bit of time to document the particulars and

       4   then to -- to get it filed.

       5   Q    And this wasn't filed under seal, to the best of your

       6   recollection, was it?

       7   A    No, no.   This was -- this was open, and we had a very open

       8   hearing about it, because it was a related-party objection.

       9   Q    And to the best of your recollection, did this 9019 motion

      10   publicly disclose all of the material terms of the proposed

      11   settlement?

      12   A    Yes, it did.

      13   Q    Can you think of anything in the world that would have

      14   prevented any interested party from doing the math to figure

      15   out how this particular settlement would impact the claim

      16   recoveries set forth in the Debtor's disclosure statement?

      17   A    No.   And just again, to be clear, the plan and the

      18   projections had assumptions, but the plan was very clear that

      19   the denominator was going to be determined by the total amount

      20   of allowed claims.

      21   Q    And, again, at the time that that was filed, you hadn't

      22   reached a settlement with HarbourVest, had you?

      23   A    No.

      24   Q    And the order on the 3018 motion hadn't yet been filed; is

      25   that right?




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       1   A    That's correct.

       2   Q    Okay.   Has -- are you aware of any creditor expressing any

       3   interest in trying to change their vote as a result of the

       4   updates of the forecasts?

       5   A    Only Mr. Daugherty.    And actually, they have a stipulation

       6   with the two -- the two former employees.

       7   Q    All right.   But to be fair, that wasn't -- had nothing to

       8   do with the revisions to the projections?       That was just in

       9   connection with their settlement; is that right?

      10   A    That's correct.    As was, I suspect, Mr. Daugherty's, but

      11   he'd been aware of the settlements, just like everyone else.

      12   Q    Okay.   You were asked a couple of questions, I think, by

      13   Mr. Rukavina about whether there is anything that you need to

      14   do your job on a go-forward basis.      And I think you said no.

      15   Do I -- do I have that right?      Nothing further that you need?

      16   A    I -- I'm not really sure what your question means, to be

      17   honest.

      18   Q    Okay.   Fair enough.   To be clear, is there any chance that

      19   you would accept the position as the Claimant Trustee if the

      20   gatekeeper and injunction provisions of the proposed plan were

      21   extracted from those documents?

      22   A    No.   As I said earlier, they're integral in my view to the

      23   entire plan, but they're absolutely essential to my bottom.

      24   Q    Okay.   And through -- through the date of the effective

      25   date, are you relying on the exculpation clause of the -- have




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      1   you been relying on the exculpation clause in the January 9th

      2   order that you testified to at the beginning of this hearing?

      3   A    Yeah.    Both the January 9th order as well as the July

      4   order with respect to my CEO/CRO positions.

      5   Q    Okay.

      6                MR. MORRIS:    I've got nothing further, Your Honor.

      7                THE COURT:    All right.   Any recross on that redirect?

      8                A VOICE:   I believe Mr. Rukavina is speaking but is

      9   muted, Your Honor.

     10                THE COURT:    Mr. Rukavina, do you have any recross?

     11                MR. RUKAVINA:    Your Honor, I do, yes.    Thank you.   I

     12   apologize.

     13                THE COURT:    Okay.

     14                MR. RUKAVINA:    Can you hear me now?

     15                THE COURT:    Yes.

     16                THE WITNESS:    Yes.

     17                MR. RUKAVINA:    Thank you.

     18        Mr. Vasek, if you'll please pull up the Debtor's Omnibus

     19   Reply, Docket 1807.        And if you'll go to Exhibit C.     Do a word

     20   search for Exhibit C.        It's attached to it.    Okay.   Now scroll

     21   down.   Stop there.

     22                               RECROSS-EXAMINATION

     23   BY MR. RUKAVINA:

     24   Q    Mr. Seery, do you see what's attached as Exhibit C to the

     25   Omnibus Reply, which is proposed language in the confirmation




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       1   order?

       2   A    I see the exhibit.       I didn't know if this was -- I don't

       3   know exactly what it's for.       If it's proposed language, I'll

       4   accept your representation.

       5                MR. RUKAVINA:    Well, scroll back up to Exhibit C, Mr.

       6   Vasek.    I want to make sure that I understand what you're

       7   saying.     Scroll back up.    Do the word search for where Exhibit

       8   C appears first.     Start again.    Okay.   So scroll up.

       9   BY MR. RUKAVINA:

      10   Q    So, you'll recall Mr. Morris was asking you about the

      11   paragraph in here where you outlined the terms of the

      12   agreement with the CLOs.       Do you recall that testimony?

      13   A    Yes.

      14   Q    Okay.    And then you see it says, The Debtor and the CLOs

      15   agreed to seek approval of this compromise by adding language

      16   to the confirmation order.       A copy of that language is

      17   attached hereto as Exhibit C and will be included in the

      18   confirmation order.

      19        Do you see that, sir?

      20   A    I do.

      21   Q    Okay.

      22                MR. RUKAVINA:    Mr. Vasek, go back to Exhibit C.

      23   BY MR. RUKAVINA:

      24   Q    So it's correct that this Exhibit C is the referenced

      25   agreement that the Debtor and the CLOs will seek approval of,




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      1   correct?

      2   A    The -- the -- it may be word-splitting, but I believe it

      3   says that they've reached agreement and this is the language

      4   that will evidence that agreement or embody that agreement.

      5   Q    Okay.

      6                MR. RUKAVINA:   Scroll down, Ms. Vasek, to the next

      7   page, please.

      8   BY MR. RUKAVINA:

      9   Q    Real quick, do the CLOs owe the Debtor any money for the

     10   management fees?

     11   A    I don't -- well, the answer is there are accrued fees that

     12   haven't been paid, but when they have cash they run through

     13   the waterfall and pay them.

     14   Q    And I believe you mentioned to me those accrued fees

     15   before.    They're several million dollars, correct?

     16   A    It -- I don't know right off the top of my head.          They can

     17   aggregate and then they get paid down in the quarter depending

     18   on the waterfall.     And it's -- it's not a fair statement by

     19   either of us to say the CLOs, as if they're all the same.

     20   Each one is different.

     21   Q    I understand.    But as of today, you agree that the CLOs

     22   collectively owe some amount of money to the Debtor in accrued

     23   and unpaid management fees?

     24   A    I believe that's the case.

     25   Q    Okay.    And do you believe it's north of a million dollars?




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       1   A    I don't recall.

       2   Q    Okay.

       3                MR. RUKAVINA:   Well, scroll down a couple of more

       4   lines, Mr. Vasek.     Stay there.

       5   BY MR. RUKAVINA:

       6   Q    Sir, if you'll read with me, isn't the Debtor releasing

       7   each Issuer, which is the CLOs, for and from any and all

       8   claims, debts, et cetera, by this provision?

       9   A    Claims.    Not -- not fees, but claims.    I don't believe

      10   there's any release of fees that the CLOs might owe and would

      11   run through the waterfall here.

      12   Q    Okay.    For and from any and all claims, debts,

      13   liabilities, demands, obligations, promises, acts, agreements,

      14   liens, losses, costs, and expenses, including without

      15   limitation attorneys' fees and related costs, damages,

      16   injuries, suits, actions, and causes of action, of whatever

      17   kind or nature, whether known or unknown, suspected or

      18   unsuspected, matured or unmatured, liquidated or unliquidated,

      19   contingent or fixed.

      20        Are you saying that that does not release whatever fees

      21   have accrued and the CLOs owe?

      22   A    I don't believe it would.      If it did, your client should

      23   be ecstatic.     But I don't believe it does that.

      24   Q    And you don't believe that it releases the CLOs of any and

      25   all other obligations that they may have to the Debtor and the




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       1   estate?

       2   A    I -- again, I don't believe there are any, but I think

       3   it's a broad release of claims away from the actual fees that

       4   are generated by the Debtor.         I don't believe there's an

       5   intention to release fees that have accrued.

       6   Q    Have you seen this language before I showed it to you

       7   right now?

       8   A    I believe I have, yes.

       9   Q    Okay.    Take a minute.    Can you point the Court to anywhere

      10   where present or future fees under the CLO agreements are

      11   excepted from the release?

      12   A    I could go through, I'll take your representation, but I

      13   don't believe that that's what it -- it's supposed to release

      14   fees.   Again, if the fees are owed, they get paid, if there

      15   are assets there to pay them.

      16   Q    Okay.    This release and this settlement was never noticed

      17   out as part of a 9019, was it?

      18   A    I don't believe so, no.

      19   Q    Okay.    So, other than bringing it up here today, this is

      20   the first that the Court, at least, has heard of this,

      21   correct?

      22   A    Yeah, again, I don't --

      23                MR. MORRIS:    Objection to the form of the question.

      24                THE WITNESS:    Yeah.   I just stated before that I

      25   don't think this is a -- that there claims.




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       1              THE COURT:    Wait.   Slow down.    I think --

       2              MR. SEERY:    Oh, I'm sorry, Your Honor.

       3              THE COURT:    -- there was an objection.     Go ahead, Mr.

       4   Morris.

       5              MR. MORRIS:    The notion that this is the first time

       6   the Court has heard of this is just factually incorrect.

       7   First of all, it's in the document from January 22nd.           Second

       8   of all, Mr. Seery testified to it last week at the preliminary

       9   injunction hearing.      I mean, --

      10              THE COURT:    I -- I --

      11              MR. MORRIS:    -- I don't know what the point of the

      12   inquiry is, but there's -- this is not new news.

      13              THE COURT:    Okay.   I sustain the objection.

      14   BY MR. RUKAVINA:

      15   Q    And Mr. Seery, can you point me to any document where

      16   counsel for the CLOs has signed this particular confirmation

      17   order or any other document agreeing to this language in the

      18   confirmation order?

      19   A    I don't think there's any document that's signed.          I think

      20   we already went over that.       I think the email is evidence

      21   their agreement to the general terms.         I don't see any

      22   agreement with respect to this particular language.

      23   Q    Well, you have no personal information?        You're going on

      24   what your lawyers told you that the CLOs agreed to, correct?

      25   A    That's correct.




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       1   Q    Okay.    You didn't personally --

       2   A    Excuse me.    That's correct with respect to this language,

       3   not with respect to the agreement.        I was on the phone when

       4   they agreed.

       5   Q    Okay.    And they agreed orally, you're saying, to basically

       6   the assumption of the CLO management agreements?

       7   A    Correct.

       8   Q    Okay.

       9                MR. RUKAVINA:    Thank you, Your Honor.     I'll pass the

      10   witness.

      11                THE COURT:    All right.   Other recross?

      12                MR. TAYLOR:    Yes, Your Honor, I do.

      13                THE COURT:    Go ahead.

      14                              RECROSS-EXAMINATION

      15   BY MR. TAYLOR:

      16   Q    Mr. Seery, Clay Taylor again.       You worked -- I'm sorry,

      17   let me restart.     I believe you testified earlier, in response

      18   to questions by Mr. Morris, that you didn't believe a Chapter

      19   7 trustee would be very effective in monetizing these assets,

      20   correct?

      21   A    I think I said I didn't believe that the Chapter 7 trustee

      22   would be as effective at monetizing the assets as the

      23   Reorganized Debtor would be, and me in the role as Claimant

      24   Trustee.

      25   Q    And one of the reasons that you gave is you believe that




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       1   the Chapter 7 trustee had to liquidate assets so quickly that

       2   it could not be effective; is that correct?

       3   A    Typically, that's the case, yes.

       4   Q    You worked for the Lehman trustee, correct?

       5   A    That's incorrect.

       6   Q    Okay.   Did you work on the Lehman case?

       7   A    Did I work in the case?     No.

       8   Q    Okay.   Did you -- how were you involved within -- within

       9   the Lehman case?

      10   A    It's a long history, but I was a relatively senior person,

      11   not senior level, not senior management level person at

      12   Lehman.    I ran the loan businesses and I helped a number of

      13   other places and I -- in the organization.       I helped construct

      14   the sale of Lehman to Barclays out of the broker-dealer and

      15   then helped consummate that sale.

      16   Q    Okay.   I believe, in that case, it was a SIPC -- the

      17   trustee was a SIPC trustee, correct?

      18   A    With respect to the broker-dealer.

      19   Q    Okay.   And you believe that a SIPC trustee is very -- has

      20   very similar rules with respect to asset sales; is that

      21   correct?

      22   A    There are some similarities, absolutely.

      23   Q    Okay.   And so in that case, the trustee was in place for

      24   seven years, yet you believe -- you want this Court to believe

      25   that a Chapter 7 trustee has to liquidate assets in a very




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       1   short time frame, is that correct?

       2               MR. MORRIS:    Objection to the form of the question.

       3               THE WITNESS:    Yeah, in the Lehman case, --

       4               THE COURT:    Overruled.

       5               THE WITNESS:    I'm sorry, Judge.

       6               THE COURT:    Go ahead.

       7               THE WITNESS:    In the Lehman case, the SIPC trustee

       8   spent years litigating, not liquidating.        The broker-dealer

       9   was sold in our structured deal to Barclays, and then the SIPC

      10   trustee liquidated the remainder of the estate, which was the

      11   broker-dealer, but most of it had been sold to Barclays.           It

      12   was really a litigation case.

      13   BY MR. TAYLOR:

      14   Q    But it did -- that trustee did sell off subsequent assets

      15   after the initial sale, correct?

      16   A    That trustee, I don't think, managed -- I don't know about

      17   that.   The trustee didn't really manage any assets.          Other

      18   than litigations.

      19   Q    You've also testified that you didn't believe or that you

      20   would not take on this role without the gatekeeper and

      21   injunction -- gatekeeper role and injunction being in place;

      22   is that correct?

      23   A    Yes.

      24   Q    And you're also familiar with the Barton Doctrine,

      25   correct?




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       1   A    I'm not.

       2   Q    Okay.    Do you believe that a Chapter 7 trustee could be

       3   sued by third parties without obtaining either relief from

       4   this Court -- let me just stop there.        Do you believe that a

       5   Chapter 7 trustee could be sued without seeking leave of this

       6   Court?

       7   A    I think it would be difficult.       I know that Chapter 7

       8   trustees have qualified immunity, so I think, whether it would

       9   be leave of this Court or it's just that there's a very high

      10   bar to suing them, I'm not exactly sure.        It's not something

      11   I've spent time on.

      12   Q    Okay.    So a hypothetical Chapter 7 trustee would have no

      13   need of the gatekeeper role or injunction if this case were

      14   converted to one under Chapter 7, correct?

      15   A    That's probably true.

      16   Q    Thank you.

      17                MR. TAYLOR:    No further questions.

      18                THE COURT:    All right.   Any other recross?

      19                MR. DRAPER:    Your Honor, I have nothing --

      20                THE COURT:    All right.

      21                MR. DRAPER:    -- further.

      22                THE COURT:    All right.   I think we're done, but

      23   anyone I've missed?

      24        All right.    Mr. Seery, it's been a long day.     You are

      25   excused from the virtual witness stand.




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       1              THE WITNESS:    Thank you, Your Honor.

       2              THE COURT:    All right.   Mr. Morris, let's see if

       3   there's anything else we can accomplish today.       It's 4:18

       4   Central time.    Who would be your next witness?

       5              MR. MORRIS:    My next witness would be John Dubel,

       6   Your Honor.

       7              THE COURT:    All right.   Can you give us a time

       8   estimate for direct?

       9              MR. MORRIS:    I wouldn't expect Mr. Dubel to be more

      10   than 20 minutes or so, but I would offer the Court, if you

      11   think it would be helpful, counsel for the CLO Issuers is on

      12   the call, and I believe that they would be prepared to just

      13   confirm for Your Honor that there is an agreement in

      14   principle, just as Mr. Seery has testified to, and maybe you

      15   want to hear from her.     I know she's not really a witness, but

      16   she might be able to make some representations to give the

      17   Court some comfort that everything Mr. Seery has said is true.

      18              THE COURT:    I think that would be useful.    Is it Ms.

      19   Anderson or who is it?

      20              MS. ANDERSON:    That is -- it is, Your Honor.     And you

      21   know, I appreciate the testimony given.      I certainly do not

      22   want to testify, but thought it might be useful for the Court

      23   to hear from us.

      24        Amy Anderson on behalf of the Issuers from Jones Walker.

      25   Schulte Roth also represents the Issuers.      And I can represent




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       1   to the Court that the agreement as it's represented on Docket

       2   1807, as more particularly described in Exhibit C, which Your

       3   Honor has seen, is the agreement reached between the Issuers

       4   and the Debtor.

       5        There was some testimony about fees owed, accrued fees

       6   owed to the Debtor.      I certainly cannot speak to the substance

       7   of each particular management agreement with each CLO.          They

       8   are all distinct and unique and very lengthy documents.          I

       9   will -- I can represent to the Court that any accrued fees

      10   that are owed were not intended to be included in the release.

      11   It is -- it is not meant to release fees owed to Highland

      12   under the particular management agreements.

      13        Of course, if the Court has any questions or if I can

      14   provide anything further, I'm happy to.       And I will be on the

      15   hearing today and tomorrow, but I thought it might be useful,

      16   given the topic of the testimony this afternoon.

      17              THE COURT:    All right.   That was useful.   Thank you,

      18   Ms. Anderson.

      19        All right.   Well, Mr. Morris, shall we go ahead and hear

      20   from Mr. Dubel today, perhaps finish up a second witness?

      21              MR. MORRIS:    Yeah.    I think we have the time.     I

      22   think Mr. Dubel is here.     Are you here, Mr. Dubel?

      23              MR. DUBEL:    I am.    Can you hear me, Your Honor?

      24              THE COURT:    I can hear you, but I cannot see you.

      25   Oh, now I can see you.     Please raise your right hand.




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       1                  JOHN S. DUBEL, DEBTOR'S WITNESS, SWORN

       2                THE COURT:    All right.   Thank you.   Mr. Morris, go

       3   ahead.

       4                MR. MORRIS:    Thank you very much, Your Honor.

       5                              DIRECT EXAMINATION

       6   BY MR. MORRIS:

       7   Q    Mr. Dubel, can you hear me?

       8   A    I can, Mr. Morris.

       9   Q    Okay.    Do you have a position today with the Debtor, sir?

      10   A    I am a director of Strand Advisors, Inc., which is the

      11   general partner of the Debtor.

      12   Q    Okay.    And can you --

      13                MR. MORRIS:    Your Honor, just as a reminder, I'm

      14   going to ask Mr. Dubel to describe his professional experience

      15   in some detail, to put into context his testimony, but his

      16   C.V. can be found at Exhibit 6Y as in yellow on Docket No.

      17   1822.

      18                THE COURT:    All right.

      19   BY MR. MORRIS:

      20   Q    Mr. Dubel, can you describe your professional background?

      21   A    Yes.    I have approximately, almost, and I hate to say it

      22   because it's making me feel old, but I have almost 40 years of

      23   experience working in the restructuring industry.

      24        I have served in many roles in that, both as an advisor,

      25   an investor in distressed debt, and also a member of




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       1   management teams, and as a director, both an independent

       2   director and a non-independent director.

       3        My executive roles have included the -- both an executive

       4   director, chief executive officer, president, chief

       5   restructuring officer, chief financial officer.        And I have

       6   been involved in some of the largest Chapter 11 cases over the

       7   last several decades, including cases like WorldCom and

       8   SunEdison.

       9   Q    Let's focus your attention for a moment just on the

      10   position of independent director.      Have you served in that

      11   capacity before this case?

      12   A    I have.

      13   Q    Can you describe for the Court some of the cases in which

      14   you've served as an independent director?

      15   A    Sure.   I've served as an independent director in several

      16   cases that were I'll call post-reorg cases.       Werner Company,

      17   which was the largest climbing equipment manufacturer in the

      18   world, manufacturer of ladders, Werner Ladders.        You'll see

      19   them on every pickup truck running around the countryside.

      20        FXI Corporation, which is a -- one of the largest foam

      21   manufacturers.    Everybody's probably slept or sat on one of

      22   their products.

      23        Barneys New York, back in 2012, when they did an out-of-

      24   court restructuring.     I had previously been involved with

      25   Barneys 15 years before that, and so I was called upon because




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       1   of my knowledge to be an independent director in that

       2   situation.    Have had no relationship with Barneys since it

       3   emerged from Chapter 11 back in 1998.

       4        I have been the independent director in WMC Mortgage,

       5   which was a mortgage company owned by General Electric.

       6        And I am currently serving as an independent director in a

       7   company -- in two companies.     One, Alpha Media, which is a

       8   large radio station chain that recently filed Chapter 11, I

       9   believe it was late Sunday night, and I am also an independent

      10   director in the Purdue Pharma bankruptcy, and have served

      11   prior to the bankruptcy and am the chair of the special

      12   independent committee of directors -- special committee of

      13   independent directors in that particular situation.

      14   Q    That sounds like a lot.     In terms of other fiduciary

      15   capacities, I think your C.V. refers to Leslie Fay.           Were you

      16   involved in that case, and if so, how?

      17   A    I was.   That was -- for those people who may remember it,

      18   that goes back into the 1993 era.      Leslie Fay was a large

      19   apparel manufacturer, and at the time was one of the largest

      20   companies that had gone through an extensive fraud.           I say at

      21   the time because it was about a $180 million fraud, which

      22   pales by some of the ones that have followed it.

      23        I was brought in as the executive vice president in charge

      24   of restructuring, chief financial officer, and was also added

      25   to the board of directors.     Even though I wasn't independent,




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       1   I was added to the board of directors to have the fresh face

       2   on the board in that particular situation because of the fraud

       3   that had taken place.

       4   Q    And --

       5   A    Sun --

       6   Q    Go ahead.

       7   A    SunEdison, I was brought in as the CEO.       Actually,

       8   initially, as the chief restructuring officer, with a mandate

       9   to replace the CEO, which took place shortly after I was

      10   brought on board and -- because of various issues surrounding

      11   investigations by the SEC, DOJ, and allegations by the

      12   creditors of fraud.     And so I was brought in to run the

      13   company through its Chapter 11 process.

      14        As I'd mentioned earlier, WorldCom, I was brought in at

      15   the beginning of the case as the fresh chief financial

      16   officer.    And I think everybody is familiar with what happened

      17   in the WorldCom situation.

      18   Q    All right.    Based on that experience, do you have a view

      19   as to whether the appointment of independent directors is

      20   unusual?

      21   A    It is not.    More recently, it has -- it had been in the

      22   past.   Usually, you know, they would try and take the existing

      23   directors and form a special committee of the existing

      24   directors.    But I think the state of the art has become more

      25   where independent directors are brought in, mainly because the




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       1   cases have become a lot more complex in nature, and larger,

       2   and the transactions themselves are much more sophisticated.

       3   And so having somebody independent has been important for

       4   analyzing the various transactions.      And also, quite often,

       5   it's just bringing a fresh, independent voice to the company

       6   on the board.

       7   Q    Do you have an understanding as to the purpose and the

       8   role of independent directors generally in restructuring and

       9   bankruptcy cases?

      10   A    Sure.   As I kind of alluded to a little bit earlier, the

      11   -- probably the most critical thing is for restoring

      12   confidence in the company and in the management in terms of

      13   corporate governance, especially when there have been troubled

      14   situations, where -- whether it's been fraud or allegations

      15   made against the company and its prior management or when

      16   management has left under difficult situations.

      17        Also, you know, independent thought process being brought

      18   to the board is very important for helping guide companies.

      19   It's quite often the existing management team or the existing

      20   board may get stuck in a rut, as you can say, you know, in

      21   terms of their thinking on how to manage it, and having

      22   somebody with restructuring experience who provides that

      23   independent voice is very important to the operations.

      24        In addition, having someone who can look at conflicts that

      25   might arise between shareholders or shareholders and the board




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       1   members is important.     As I mentioned earlier, the WMC

       2   Mortgage situation was one where I was brought on to -- as an

       3   independent member of the board to effectively negotiate an

       4   agreement or a settlement between WMC and its parent, General

       5   Electric.    That entity was being -- WMC was being sued for

       6   billions of dollars, and there were issues as to whether or

       7   not General Electric should fund those obligations.           And so

       8   that was a role that is quite often occurring in today's day

       9   and age.

      10        In addition, evaluating transactions for companies is

      11   important, whereby either the shareholders who sit on the

      12   board or board members may be involved in those transactions,

      13   needing an independent voice to review it.       And, you know, I

      14   have served in situations.     Again, Barneys New York and Alpha

      15   Media is another example where, as an independent director, I

      16   am one of the parties responsible for evaluating those

      17   transactions and making recommendations to the entire board.

      18        And then, again, you know, situations where it's just

      19   highly-contentious and having, as I said, having that

      20   independent view brought to the table is something that is

      21   very helpful in these cases.

      22   Q    I appreciate the fulsomeness of the answer.       During the

      23   time that you served in these various fiduciary capacities, is

      24   it fair to say you spent a lot of time considering and

      25   addressing issues relating to D&O and other executive




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       1   liability issues?

       2   A    It's usually one of the things that you get involved with

       3   thinking about prior to taking on the role because you want to

       4   make sure that there are the appropriate protections for the

       5   director.

       6   Q    Can you describe for the Court some of the protections

       7   that you've sought or that you've seen employed in some of the

       8   cases you've worked on, including this one, by the way?

       9   A    Sure.   I mean, one of the first things you look to is does

      10   the company -- will the company indemnify the director for

      11   serving in that capacity?     And if the company will not

      12   indemnify, then there's always a question as to why not, and

      13   it's probably something you don't want to get involved with.

      14        Generally, that is something that I don't think I've ever

      15   seen a case where there has not been indemnification.

      16   Obviously, it would, you know, cause great pause or concern if

      17   they weren't willing to indemnify.     But that is important.

      18        Providing D&O insurance is very important.      And in most

      19   situations, you know, over the last 10-15 years, if there's

      20   not adequate D&O insurance -- quite often, the D&O insurance

      21   has been tapped out because of claims that will -- have been

      22   brought or are anticipated to be brought -- new D&O insurance

      23   is something that's front and center for the minds of

      24   independent directors such as myself.

      25        As you -- that gets you into the case and gets you moving.




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       1   As you start to look towards the confirmation and exit from

       2   the case, things that would be appropriate, that, you know,

       3   would always be something you would want to look at would be

       4   exculpation language, releases.      And in this particular case,

       5   the injunction, or what Mr. Seery earlier referred to as the

       6   gatekeeper clause, is something that is very important for

       7   directors, both, you know, as they're thinking through it and

       8   as they emerge.

       9   Q    All right.    Let's shift now to this case, with that

      10   background.    How did you learn about this case?

      11   A    I had a party who was involved in the case reach out to me

      12   in early part of December of 2019 to see if I would be

      13   interested in getting involved.      I think that was about the

      14   time -- it was after -- as I recall, it was after the case had

      15   been moved to Dallas and when there was a -- consideration of

      16   either a Chapter 11 or a Chapter 7 trustee.       I can't remember

      17   exactly which it was.     But there was talk about a motion to

      18   bring on a trustee and get rid of all the management and the

      19   like and such.

      20   Q    Can you describe in as much detail as you can recall the

      21   facts and circumstances that led to your appointment as an

      22   independent director?

      23   A    Sure.    I, as I said, I had -- early December, I had an --

      24   one of the parties involved -- had, probably within the next

      25   week, probably two or three others -- that reached out to see




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       1   if I would be interested in participating.       I met with the

       2   Creditors' Committee or -- I'm not sure if it was all the

       3   members, but representatives of the Creditors' Committee,

       4   along with counsel, and I believe financial advisors were

       5   involved.    They walked me through the issues.     They wanted to

       6   hear about my C.V.     Quite a few of them knew me, knew me well,

       7   but others wanted to hear about my background and how I would

       8   look at things as an independent director.

       9        That went through into the latter part of December.         I

      10   knew that they were talking to other parties.       I think it was

      11   probably right around the first of the year or so that I was

      12   informed, maybe a little bit earlier than that, that I was

      13   informed that Mr. Seery was one of the other parties that they

      14   were talking to, and Mr. Seery and I were put in touch with

      15   each other.    I had worked with Mr. Seery back probably nine

      16   years earlier when I was the CEO of FGIC.       He was involved in

      17   a matter that we were restructuring, and so knew him a little

      18   bit and was comfortable working with him as a, you know,

      19   another independent director.

      20        Then we took the time that we had to to -- or, I took the

      21   time to -- from the beginning, you know, the early part of

      22   December, look at the docket, understand what was taking

      23   place.   I -- in addition, I met with the company and its

      24   advisors, in-house counsel, the folks at DSI who were at the

      25   time the CRO and the company's counsel to better understand




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       1   some of the issues.

       2        Mr. Seery and I, as I said, were both selected, and we

       3   went through the process of, I guess, breaking the tie, I

       4   think, if I could say it that way, amongst the creditors and

       5   the Debtor as to who would be the third member of the board.

       6   And we were given the opportunity to go out, interview, and

       7   select the third member, which resulted in Russell Nelms'

       8   appointment to the board.     And also during that time, we were

       9   given the opportunity to have some input -- not a hundred

      10   percent input, but some input -- on the January 9th order that

      11   -- the January 9, 2020 order that was put in place appointing

      12   us and giving us some of the protections that we felt were

      13   appropriate and necessary in this case.

      14   Q    All right.   We'll get to that in a moment, but during this

      15   diligence period, did you form an understanding as to why an

      16   independent board was being formed, why it was being sought?

      17   A    Yes.   There was, my words, there was a lot of distrust

      18   between the creditors and the management -- not the CRO, but

      19   the prior management of the company -- and there had been a

      20   motion brought both to obviously bring the case back to Dallas

      21   from I think it was originally in Delaware and then there was

      22   a motion to seek, you know, to remove management and put in a

      23   trustee.

      24        There had been a dozen years of litigation with one party,

      25   about eight or nine years with another major party, and




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       1   several other of the major creditors were litigants.          The

       2   other, as I understood, the other creditors, main creditors in

       3   the case were all lawyers who had not yet gotten paid for the

       4   litigation work that they had done.      And so it was obvious

       5   that this was a very -- a highly-litigious situation.

       6   Q    In addition to speaking with the various constituents, did

       7   you do any diligence on your own to try to understand the case

       8   before you accepted the appointment?

       9   A    Yes.    I went to the docket to look at all the -- not every

      10   single thing that had been filed, but to try and look at all

      11   the key, relevant items that had been filed, get a better

      12   understanding of what was out there.       Looked at some of the

      13   initial filings of the company in terms of the, you know, the

      14   creditors, to understand who the creditor base was per the

      15   schedules that had been filed.      Looked at the -- some of the

      16   various pleadings that had been put in place.

      17   Q    Did you form a view as to the causes of the bankruptcy

      18   filing?

      19   A    Litigation.    That was my clear view.    This company had

      20   been in litigation with multiple parties, various different

      21   parties, since around 2008.     Generally, you would see

      22   litigation like the types that were, you know, that were here,

      23   you know, you'd litigate for a while, then you'd try and

      24   settle it.

      25        It did not appear to me that there was any intention on




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       1   the -- the Debtor to settle these litigations, but would

       2   rather just continue the process and proceed forward on the

       3   litigation until the very last minute.      And so it was obvious

       4   that this was going to -- that the Debtor was a, as I said, a

       5   highly-litigious shop, and that was one of the causes,

       6   obviously, the cause of the filing, along with the fact that

       7   judgments were about to be entered against the Debtor.

       8   Q    All right.    And in January 2020, do you recall that's when

       9   the agreement was reached between the Debtor, the Committee,

      10   and Mr. Dondero?

      11   A    Yeah, it was the first week or so, which resulted in a

      12   hearing on I believe it was January 9th in front of Judge

      13   Jernigan.

      14   Q    And as a part of that -- I think you testified at that

      15   hearing.    Do I have that right?

      16   A    I don't recall if I did.     I might have.   I might have

      17   testified at a subsequent hearing.      But --

      18   Q    But was --

      19   A    -- I was in the courtroom for that hearing, yes.

      20   Q    Was it part of that process by which you accepted the

      21   appointment as independent director?

      22   A    I accepted it based upon the order that had been

      23   negotiated amongst the parties, the creditors, the Debtor, Mr.

      24   Dondero, and others.     And that was the key thing that was --

      25   and approved by the Court on that date.       And that was key for




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       1   my acceptance of the role as an independent director.

       2   Q    And did you and the other prospective independent

       3   directors participate in the negotiation of the substance of

       4   the agreement?

       5   A    We did.   We didn't have a hundred percent say over it, but

       6   we were able to get our voices heard.      As Mr. Seery testified

       7   earlier, he was instrumental in coming up with an idea about

       8   how to put in place the injunction, you know, the -- I think

       9   he referred to it as the gatekeeper injunction, which was

      10   obviously in this case very critical to all three of us:         Mr.

      11   Seery, Mr. Nelms, and myself.

      12   Q    Can you describe for the Court kind of the issues of

      13   concern to you and the other prospective board members?         What

      14   was it that you were focused on in terms of the negotiations?

      15   A    Well, obviously, indemnification was important, but that

      16   was something that was going to be granted.       Having the right

      17   to obtain separate D&O insurance just for the three directors

      18   was important.    We were concerned that Strand Advisors, Inc.

      19   really had no assets, and so we wanted to make sure that the

      20   Debtor was going to get -- was going to basically guarantee

      21   the indemnification.

      22        The -- because of the litigious nature and what we had

      23   heard from all of the various parties involved, including

      24   people inside the Debtor who we had talked with, that it would

      25   be something that was important for us to make sure that the




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       1   injunction, the gatekeeper injunction was put in place.

       2   Q    And can you elaborate a little bit on I think you said you

       3   had done some diligence and you had formed a view as to the

       4   causes of the bankruptcy filing, but did this case present any

       5   specific concerns or issues that you and the board members had

       6   to address perhaps above and beyond what you experienced in

       7   some of the other cases you described?

       8   A    Well, as I said earlier, the fact that the litigation --

       9   the various litigations with the creditors have been going on

      10   for what I viewed as an inordinate amount of years, and that

      11   it was clear from my diligence that I had done that this had

      12   been directed by Mr. Dondero, to keep this moving forward in

      13   the litigation, and to, in essence, just, you know, never give

      14   up on the litigation.

      15        It was important that the types of protections that we

      16   were afforded in the January 9th order were put in place,

      17   because we -- none of us -- none of the three of us, and

      18   myself in particular, did not want to be in a position where

      19   we would be sued and harassed through lawsuits for the next,

      20   you know, ten years or so.     That's not something anybody would

      21   want to sign up for.

      22   Q    All right.    Let's look at the January 9th order and the

      23   specific provisions I think that you're alluding to.

      24              MR. MORRIS:    Can we call up Exhibit 5Q, please?

      25              THE WITNESS:   Pardon me while I put my glasses on to




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       1   read this.

       2                MR. MORRIS:   All right.   And if we can go to

       3   Paragraph 4.

       4   BY MR. MORRIS:

       5   Q    Is that the paragraph, sir, that was intended to address

       6   the concern that you just articulated about Strand not having

       7   any assets of its own?

       8   A    Yes, it is.

       9   Q    And can you just describe for the Court how that

      10   particular provision addressed that concern?

      11   A    Sure.    Since we were directors of Strand, which is the

      12   general partner of the Debtor, we felt it was important that

      13   the general -- that Highland, the Debtor, would provide the

      14   guaranty on indemnification, because Highland had the assets

      15   to back up the indemnification.

      16        It was also pretty clear, from my experience in having

      17   placed D&O insurance, you know, over the last 25-30 years,

      18   that if there was no, you know, opportunity for

      19   indemnification, putting in place insurance would be very

      20   difficult or exorbitantly expensive.        So having this

      21   indemnification by Highland was a very important piece of the

      22   order that we were seeking.

      23   Q    And the next piece is the insurance piece in Paragraph 5.

      24   Do you see that?

      25   A    I do.




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       1   Q    Did you have any involvement in the Debtor's efforts to

       2   obtain D&O insurance for the independent board?

       3   A    I did.

       4   Q    Can you just describe for the Court what role you played

       5   and what issues came up as the Debtor sought to obtain that

       6   insurance?

       7   A    Sure.    The Debtors had been looking to get an insurance

       8   policy in place.     They were not able to do that.    I happen to

       9   have worked with an insurance broker on D&O situations in some

      10   very difficult situations over the years and brought them into

      11   the mix.     They were able to go out to the market and find a

      12   policy that would cover us, the -- kind of the key components

      13   of that policy, though, were, number one, the guaranty that

      14   HCMLP would give -- I'm sorry, the guaranty that HCMLP would

      15   give to Strand's obligations, and also the -- I'll call it the

      16   gatekeeper provision was very important because these parties

      17   did not want to have -- they wanted to have what was referred

      18   to, commonly referred to as the Dondero Exclusion.

      19        So while we were -- we purchased a policy that covered us,

      20   it did have an exclusion, unless there were no assets left,

      21   and then the what I'll call -- we refer to as kind of a Side A

      22   policy would kick in.

      23   Q    Okay.    What do you mean by the Dondero Exclusion?

      24   A    The insurers did not want to cover the -- any litigation

      25   that Mr. Dondero would bring against directors.       It was pretty




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       1   commonly known in the marketplace that Mr. Dondero was very

       2   litigious, and insurers were not willing to write the

       3   insurance without the protections that this order afforded

       4   because they did not want to be hit with frivolous -- hit with

       5   claims on the policy for frivolous litigation that might be

       6   brought.

       7              MR. TAYLOR:    Your Honor, this is Mr. Taylor.     I've

       8   got to object to the last answer.       He testified as to what the

       9   insurers' belief was and what they would or would not do based

      10   upon their own knowledge.     It's not within his personal

      11   knowledge.    And therefore we'd move to strike.

      12              THE COURT:    I overrule that objection.

      13              MR. MORRIS:    Your Honor?

      14              THE COURT:    I overrule the objection.

      15              MR. MORRIS:    Thank you.    Thank you, Your Honor.

      16   BY MR. MORRIS:

      17   Q    Mr. Dubel, can you explain to the Court, in your work in

      18   trying to secure the D&O insurance, what rule the gatekeeper

      19   provision played in the Debtor's ability to get that?

      20   A    Based upon my discussions with the insurance broker, who I

      21   have worked with for 25-plus years, had that gatekeeper

      22   provision not been put in place, we would not have been able

      23   to get insurance.

      24   Q    All right.   Let's look at the gatekeeper provision.

      25              MR. MORRIS:    Can we go down to Paragraph 10, please?




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       1   Perfect.     Right there.

       2   BY MR. MORRIS:

       3   Q    Is this gatekeeper provision, is this also the source of

       4   the exculpation that you referred to?

       5   A    Yes.

       6   Q    And what's your understanding of how the exculpation and

       7   gatekeeper functions together?

       8   A    Well, my apologies, I'm not an attorney, so just from a

       9   business point of view, the way I look at this is that, you

      10   know, obviously, we're -- you know, the directors are not

      11   protected from willful misconduct or gross negligence, but any

      12   negligence -- you know, claims brought under negligence and

      13   the likes of such, and things that might be considered

      14   frivolous, would have to first go to Your Honor in the

      15   Bankruptcy Court for a review to determine if they were claims

      16   that should be entitled to be brought.

      17   Q    If you take a look at the provision, right, do you

      18   understand that nobody can bring a claim without -- in little

      19   i, it says, first determining -- without the Court first

      20   determining, after notice, that such claim or cause of action

      21   represents a colorable claim of willful misconduct or gross

      22   negligence against an indirect -- independent director.         Do

      23   you see that?

      24   A    I do.

      25   Q    Is it your understanding that parties can only bring




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       1   claims for gross negligence or willful misconduct if the Court

       2   makes a determination that there is a colorable claim?

       3   A    That's my understanding.

       4   Q    And the second --

       5   A    I think they have the right -- I think they have the right

       6   to go to the Court to ask if they can bring the claim, but the

       7   Court has to make the determination that it's a colorable

       8   claim for willful misconduct or gross negligence.

       9   Q    And if the Court -- is it your understanding that if the

      10   Court doesn't find that there is a colorable claim of willful

      11   misconduct or gross negligence, then the claim can't be

      12   brought against the independent directors?

      13   A    That is my understanding, yes.

      14   Q    And was -- taken together, Paragraphs 4, 5, and 10, were

      15   they of importance to you and the other independent directors

      16   before accepting the position?

      17   A    They were absolutely critical to me and definitely

      18   critical to the other directors, because we all negotiated

      19   that together, and it would -- I don't -- I don't think any of

      20   the three of us would have taken on this role if those

      21   paragraphs had not been included in the order.

      22   Q    Okay.   Just speaking for yourself personally, is there any

      23   chance you would have accepted the appointment without all

      24   three of those provisions?

      25   A    I would not have.




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       1   Q    And why is that?    In this particular case, why did you

       2   personally believe that you needed all three of those

       3   provisions?

       4   A    Well, you know, people like myself, you know, someone

       5   who's coming in as an independent director, come in in a

       6   fiduciary capacity.     And, you know, we take on risks.      Now,

       7   granted, in a Chapter 11 case, as the saying goes, you know,

       8   it's a lot safer because everything has to be approved by the

       9   Court, but there are still opportunities for parties to, in

      10   essence, have mischief going on and bring nuisance lawsuits

      11   that would take a lot of time and effort away from either the

      12   role of our job of restructuring the entity or post-

      13   restructuring, would just be nuisance things that would cost

      14   us money.    And we, you know, I did not want to be involved in

      15   that situation, knowing the litigious nature of Mr. Dondero

      16   from the research that I had done, you know, the diligence

      17   that I had done.    I did not want to subject myself to that.

      18   And it has proven an appropriate and very solid order because

      19   of the conduct of Mr. Dondero, as Mr. Seery has testified to

      20   earlier.

      21   Q    Do you have a view as to what the likely effect would be

      22   on future corporate restructurings if you and your fellow

      23   directors weren't able to obtain the type of protection

      24   afforded in the January 9th order?

      25   A    I think it would be very difficult to find qualified




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      1   people who would be willing to serve in these types of

      2   positions if they knew they had a target on their backs.         You

      3   know, it was something that was clear to us, to Mr. Seery, Mr.

      4   Nelms, myself at the time, that if we had a target -- we felt

      5   like we would have a target on our back if we didn't have

      6   these protections.

      7        It just wasn't worth the risk, the stress, the

      8   uncertainty, the potential cost to us.        And so I don't think

      9   anybody else would be, you know, willing to take on the roles

     10   as an independent director with the facts and circumstances

     11   and the players involved in this particular case.

     12              MR. MORRIS:    I have no further questions, Your Honor.

     13              THE COURT:    All right.   Pass the witness.   Let's see.

     14   You went -- I'm going to give a time.      You went 32 minutes.

     15   So, for cross of this witness, I'm going to limit it to an

     16   aggregate of 32 minutes.     Who wants to go first?

     17              MR. DRAPER:    Your Honor, this is Douglas Draper.

     18   I'll be happy to go first.

     19              THE COURT:    All right.

     20                             CROSS-EXAMINATION

     21   BY MR. DRAPER:

     22   Q    Mr. Dubel, prior to your engagement, did you happen to

     23   read the case of Pacific Lumber?

     24   A    I did not.

     25   Q    And were you advised about Pacific Lumber by somebody




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       1   other than a -- your lawyer?

       2   A    I'm not familiar with the case at all, Mr. Draper.

       3   Q    Are you aware, and you've been around a long time, that

       4   different circuits have different rules for liabilities of

       5   officers, directors, and people like that?

       6   A    I am aware that there are different, I don't know what the

       7   right term is, but precedents, I guess, in different circuits

       8   for any number of things, whether it's a sale motion or

       9   protections of officers and directors or anything.        So each

      10   circuit has its own unique situations.

      11   Q    And one last question.     On a go-forward, after -- if this

      12   plan is confirmed and on the effective date, you will not have

      13   any role whatsoever as an officer or director of the new

      14   general partner, correct?

      15   A    I have not been asked to.     As Mr. Seery testified, he may

      16   ask for assistance or just -- in most situations that I'm

      17   involved with, I may have a continuing role just as a -- I'll

      18   call it an advisor or somebody to provide a history.          But at

      19   this point in time, I have not been asked to have any

      20   involvement.

      21   Q    And based on your experience, you know that there's a

      22   different liability for a director and an officer versus

      23   somebody who is an advisor?

      24              MR. MORRIS:   Objection to the form of the question.

      25   No foundation.




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       1              THE COURT:    Overruled.

       2              MR. DRAPER:    Mr. Dubel has shown --

       3              THE COURT:    Mr. Dubel, you can answer if you know.

       4              MR. DRAPER:     Mr. Dubel, you can answer.

       5              THE WITNESS:    I'm sorry, Your Honor, I didn't hear

       6   you say overruled.      Thank you.

       7        Mr. Draper, I apologize, could you repeat the question?

       8   BY MR. DRAPER:

       9   Q    The question is you know from your experience that there's

      10   a different liability for somebody who is an officer or

      11   director versus somebody who's an advisor?

      12   A    Yes, that's my experience, which is why in several

      13   situations post-reorganization, while I have not been involved

      14   per se, and I use the term involved meaning, you know, on a

      15   day-to-day basis, if someone asks me to assist, I'll usually

      16   ask them to bring me in as a non -- an unpaid employee or a,

      17   you know, a nominally-amount-paid employee, so that I would be

      18   protected by whatever protections the company might provide.

      19              MR. DRAPER:    I have nothing further for this witness,

      20   Your Honor.

      21              THE COURT:    All right.   Other cross?

      22              MR. TAYLOR:    Yes, Your Honor.

      23              MR. RUKAVINA:    Yes, Your Honor.

      24              MR. TAYLOR:    Oh, go ahead, Davor.

      25              MR. RUKAVINA:    No, Clay, go ahead.




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       1                            CROSS-EXAMINATION

       2   BY MR. TAYLOR:

       3   Q    Mr. Dubel, this is Clay Taylor here on behalf on Mr.

       4   Dondero.     I believe you had previously testified in response

       5   to questions from Mr. Morris that Mr. Dondero had engaged in a

       6   pattern of litigious behavior; is that correct?

       7   A    I believe that's the testimony I gave, yes.

       8   Q    Okay.    And please give me the specific examples of which

       9   cases you believe he has engaged in overly-litigious behavior.

      10   A    Well, all of the cases that resulted in creditors, large

      11   creditors in our bankruptcy.     That would be the UBS situation,

      12   the Crusader situation which became the Redeemer Committee,

      13   litigation with Mr. Daugherty, with Acis and Mr. Terry.         And

      14   as I mentioned earlier, I'd, you know, been informed by

      15   members of the management team that it was Mr. Dondero's style

      16   to just litigate until the very end to try and grind people

      17   down.

      18   Q    Okay.    Was Mr. Dondero or a Highland entity the plaintiff

      19   in the UBS case?

      20   A    No, but what was referred -- what I was referring to was

      21   the nature in which he defended it and went overboard and

      22   refused to ever, you know, try and settle things in a manner

      23   that would have gotten things done.       And just looking at,

      24   having been involved in the restructuring industry for the

      25   last 40 years, as I said, almost 40 years, and been involved




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       1   in many, many litigious situations, it's obvious when someone

       2   is litigious, whether they're the plaintiff or the defendant.

       3   Q      So are you personally familiar with the settlement

       4   negotiations in the UBS case that happened pre-bankruptcy,

       5   then?

       6   A      I have been informed that there were settlement

       7   negotiations, and subsequently determined, through discussions

       8   with the parties, that they weren't really close to -- to a

       9   settlement.

      10   Q      But are you aware of --

      11   A      Mr. Dondero might have thought they were, but they were

      12   not.

      13   Q      Okay.   Would you be surprised to learn if UBS had offered

      14   to settle pre-bankruptcy for $7 million?

      15   A      As I understand, settlements -- settlement offers pre-

      16   bankruptcy had a tremendous number of -- I don't know what the

      17   right term is -- things tied to it and that clearly were never

      18   going to get done.

      19   Q      Okay.   When you say things were tied to it, what things

      20   were tied to it?

      21   A      I don't know all of the settlement discussions that took

      22   place, but what I was informed was that there were a lot of

      23   conditions that were included in that.       And it's -- if it had

      24   been an offer of $7 million and Mr. Dondero didn't settle for

      25   that, there must have been a reason why.       So, you know, since




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       1   the entities -- all of the entities within the Highland

       2   Capital empire, if you'd call it that, were being sued for

       3   almost a billion dollars.

       4   Q    Okay.   And you say there was lots of conditions that were

       5   tied to that.    What were the conditions?

       6   A    As I said earlier, I wasn't informed of them on all the

       7   prepetition settlements.     That's just what I was told, there

       8   was conditions.

       9   Q    Okay.   And who were you told these things by?

      10   A    Both external counsel and internal counsel.       Mr.

      11   Ellington, Scott Ellington, and Isaac -- the litigation

      12   counsel.

      13   Q    Okay.   So --

      14   A    That's -- sorry.

      15   Q    Okay.   In each of these cases, you were informed by your

      16   views by statements that were made to you by other people?

      17   A    Yes.

      18   Q    Okay.

      19   A    Made -- and particularly made by members of management of

      20   the Debtor, which is pretty informed.

      21   Q    Okay.   Which members of management were those?

      22   A    As I just testified, it was Mr. Ellington, who was the

      23   general -- the Debtor's general counsel, and Mr. Leventon,

      24   Isaac Leventon, who was the -- I believe his title was

      25   associate general counsel in charge of litigation.




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       1   Q      Okay.    Thank you.

       2                  MR. TAYLOR:    No further questions.

       3                  THE COURT:    All right.   Mr. Rukavina?

       4                                 CROSS-EXAMINATION

       5   BY MR. RUKAVINA:

       6   Q      Mr. Dubel, we've never met, although I think we were on

       7   the phone once together.         I know you're a director, so you're

       8   at the top, but having been in this case for more than a year,

       9   you probably have some understanding of the assets that the

      10   Debtor has, don't you?

      11   A      I do, but I'm not as facile with it as Mr. Seery,

      12   obviously.

      13   Q      Sure.    Is it true, to your understanding, that the Debtor

      14   owns various equity interests in third-party companies?

      15   A      Either directly or indirectly.       That's my understanding,

      16   yes.

      17   Q      Okay.    Have you heard of an entity called Highland Select

      18   Equity Fund, LP?

      19   A      I have.

      20   Q      And is that a publicly-traded company?

      21   A      I'm not familiar with its nature there, no.

      22   Q      Do you know how much of the equity of that entity the

      23   Debtor owns?

      24   A      I don't know off the top of my head, no.

      25   Q      And again, these may be unfair questions because you're at




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       1   the top, so I'm not trying to make you look foolish.          I'm just

       2   trying to see.    Let me ask one more.      Have you heard of

       3   Wright, W-R-I-G-H-T, Limited?

       4              MR. MORRIS:    Objection, Your Honor.    Beyond the

       5   scope.

       6              MR. RUKAVINA:    Your Honor, I can recall him on my

       7   direct, then.

       8              THE COURT:    Yeah.    I'll --

       9              MR. RUKAVINA:    But I'd just rather get it over with.

      10              THE COURT:    I'll allow it.

      11              MR. MORRIS:    All right.   If we're going to get rid of

      12   --

      13              THE COURT:    Overruled.

      14              MR. MORRIS:     No, that's fine.

      15   BY MR. RUKAVINA:

      16   Q    Have you heard of Wright, W-R-I-G-H-T, Limited?

      17   A    I think I have, but I just don't recall it, Mr. Rukavina.

      18   I'm sorry, Rukavina.     Sorry.

      19   Q    It's okay.    It's a --

      20   A    I'm looking at your chart here, at your name here, and it

      21   looks like Drukavina, so I really apologize.

      22   Q    Believe it or not, it's actually a very famous name in

      23   Croatia, although it means nothing here.

      24        So, all of the entities that the Debtor owns equity in, I

      25   guess you probably, just because, again, you're not in the




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       1   weeds, you can't tell us how much of that equity the Debtor

       2   owns, can you?

       3   A    I can't individually, no.     You know, Mr. Seery is our CEO

       4   and he's responsible for the day-to-day, you know, issues.         So

       5   usually we look at it more on a consolidated basis and not in

       6   the, you know, down in the weeds, as you refer to it, unless

       7   something specific came up.

       8   Q    Well, would you remember whether, when Mr. Seery or the

       9   prior CRO would provide you, as the board member, financial

      10   reports, whether that included P&Ls and balance sheets and

      11   financial reports for the entities that the Debtor owned

      12   interests in?

      13   A    We might -- we would have seen certain consolidating

      14   reports that might -- that would be, you know, consolidating

      15   financial statements that would be P&Ls.       Where we didn't

      16   consolidate them, I'm not sure we saw the actual individual-

      17   entity P&Ls on a regular basis.      We might have seen them if

      18   there was a transaction taking place.      But again, you know, I

      19   don't have -- I don't remember every single one of them, no.

      20   Q    And you would agree with me, sir, that the Pachulski law

      21   firm is an excellent restructuring, reorganization, insolvency

      22   law firm, wouldn't you?

      23   A    Yes, I would agree with you there.

      24   Q    Okay.   And you would expect them to ensure that anything

      25   that has to be filed with Her Honor is timely filed, wouldn't




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      1   you?

      2   A      I would expect that they would follow the rules.

      3   Q      Okay.    And you have the utmost of confidence, I take it,

      4   in your CRO, don't you?

      5   A      I have a tremendous amount of confidence in our CEO, who

      6   also happens to hold the title of CRO, yes, if that's what

      7   you're referring to as, Mr. Seery.

      8          (Interruption.)

      9                  MR. RUKAVINA:    John.

     10   BY MR. RUKAVINA:

     11   Q      Okay, I think -- yeah, I think I heard that you have

     12   tremendous confidence in the CEO, who happens to be the CRO,

     13   right?

     14   A      Yes, that's the case.

     15                  MR. RUKAVINA:    Thank you, Your Honor.   I'll pass the

     16   witness.

     17                  THE COURT:    All right.   Any other cross of Mr. Dubel?

     18          All right.    Mr. Morris, redirect?

     19                  MR. MORRIS:    Yeah, just very briefly, Your Honor.

     20                                REDIRECT EXAMINATION

     21   BY MR. MORRIS:

     22   Q      You were asked about that Pacific Lumber case, Mr. Dubel;

     23   do you remember that?

     24   A      I do remember being asked about it.

     25   Q      And you weren't familiar with that case, right?




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       1   A      I'm not familiar with the name of the case, no.

       2   Q      But you did know that the exculpation and gatekeeping

       3   provisions were going to be included in the order; is that

       4   fair?

       5   A      I did.

       6   Q      And did you testify that you wouldn't have accepted the

       7   position without it?

       8   A      I did testify that way.

       9   Q      And if you knew that you couldn't get those provisions in

      10   the Fifth Circuit, would you ever accept a position as an

      11   independent director in the Fifth Circuit on a go-forward

      12   basis?

      13   A      Not in a situation such as this, no.

      14   Q      Okay.    Okay.

      15                  MR. MORRIS:    No further questions, Your Honor.

      16                  THE COURT:    All right.   Any recross on that narrow

      17   redirect?

      18          All right.    Well, Mr. Dubel, you are excused from the

      19   virtual witness stand.

      20                  THE WITNESS:    Thank you, Your Honor.

      21                  THE COURT:    All right.   I want to go ahead and --

      22                  MR. DUBEL:    Do you mind if I turn my video off?

      23                  THE COURT:    I'm sorry, what?

      24                  MR. DUBEL:    I said, do you mind if I turn my video

      25   off?




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       1              THE COURT:    No, you may.    That's fine.

       2              MR. DUBEL:    Thank you, Your Honor.

       3              THE COURT:    All right.    I want to break now, unless

       4   there's any quick housekeeping matter.       Anything?

       5               MR. MORRIS:    No, Your Honor, but I would just ask

       6   all parties to let me know by email if they have any

       7   objections to any of the exhibits on the witness list that was

       8   filed at Docket No. 1877, because I want to begin tomorrow by

       9   putting into evidence the balance of our exhibits.

      10              MR. RUKAVINA:    And Your Honor, I was responsible for

      11   this due to an internal mistake.        The only ones I have an

      12   objection to are -- is that 7?        John, is that 7, right, 7OO --

      13              MR. MORRIS:    Yes.

      14              MR. RUKAVINA:    Your Honor, I only have an objection

      15   to 7O and 7P, although I think -- think the Court has already

      16   admitted 7P, so my objection is moot.

      17              THE COURT:    I have.

      18              MR. RUKAVINA:    Okay.

      19              THE COURT:    So, what --

      20              MR. RUKAVINA:    Then it would just be --

      21              THE COURT:    Go ahead.

      22              MR. RUKAVINA:    I'm sorry.    It would just be 7O.

      23   Septuple O or whatever the word is.

      24              THE COURT:    All right.    So I will go ahead and admit

      25   7F through 7Q, with the exception of 7O.       Again, these appear




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       1   at Docket Entry 1877.      And Mr. Morris, you can try to get in

       2   7O the old-fashioned way if you want to.

       3               MR. MORRIS:    Yeah, I'll deal with 7O and the very

       4   limited number of other objections at the beginning of

       5   tomorrow's hearing.

       6               THE COURT:    All right.

       7        (Debtor's Exhibits 7F through 7Q, with the exception of

       8   7O, are received into evidence.)

       9               THE COURT:    So we will reconvene at 9:30 Central time

      10   tomorrow.    I think we're going to hear from the Aon, the D&O

      11   broker, Mr. Tauber; is that correct?

      12               MR. MORRIS:    That's right.    And that should be

      13   shorter than even Mr. Dubel.

      14               THE COURT:    All right.   Well, we will see you at 9:30

      15   in the morning.    We are in recess.

      16               MR. MORRIS:    Thank you so much.

      17               THE CLERK:    All rise.

      18        (Proceedings concluded at 5:09 p.m.)

      19                                   --oOo--

      20                                 CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23      /s/ Kathy Rehling                                  02/04/2021

      24   ______________________________________              ________________
           Kathy Rehling, CETD-444                                 Date
      25   Certified Electronic Court Transcriber




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                     DQG WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV WKH 6HUYLFHU VKDOO VXSHUYLVH DQG GLUHFW WKH
                     DGPLQLVWUDWLRQDFTXLVLWLRQDQGGLVSRVLWLRQRIWKH&ROODWHUDODQGVKDOOSHUIRUPRQEHKDOI
                     RI WKH ,VVXHU WKRVH GXWLHV DQG REOLJDWLRQV RI WKH 6HUYLFHU UHTXLUHG E\ WKH ,QGHQWXUH DQG
                     WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DQG LQFOXGLQJ WKH IXUQLVKLQJ RI ,VVXHU 2UGHUV ,VVXHU
                     5HTXHVWVDQGRIILFHU¶VFHUWLILFDWHVDQGVXFKFHUWLILFDWLRQVDVDUHUHTXLUHGRIWKH6HUYLFHU
                     XQGHU WKH ,QGHQWXUH ZLWK UHVSHFW WR SHUPLWWHG SXUFKDVHV DQG VDOHV RI WKH &ROODWHUDO
                     2EOLJDWLRQV(OLJLEOH,QYHVWPHQWVDQGRWKHUDVVHWV DQGRWKHUPDWWHUVDQGWRWKHH[WHQW
                     QHFHVVDU\ RU DSSURSULDWH WR SHUIRUP VXFK GXWLHV WKH 6HUYLFHU VKDOO KDYH WKH SRZHU WR
                     H[HFXWHDQGGHOLYHUDOOQHFHVVDU\DQGDSSURSULDWHGRFXPHQWVDQGLQVWUXPHQWVRQEHKDOIRI
                     WKH,VVXHUZLWKUHVSHFWWKHUHWR7KH6HUYLFHUVKDOOVXEMHFWWRWKHWHUPVDQGFRQGLWLRQVRI
                     WKLV$JUHHPHQWDQGWKHRWKHU7UDQVDFWLRQ'RFXPHQWVSHUIRUPLWVREOLJDWLRQVKHUHXQGHU
                     DQGWKHUHXQGHUZLWKUHDVRQDEOHFDUHXVLQJDGHJUHHRIVNLOODQGDWWHQWLRQQROHVVWKDQWKDW
                     ZKLFKWKH6HUYLFHUH[HUFLVHVZLWKUHVSHFWWRFRPSDUDEOHDVVHWVWKDWLWVHUYLFHVRUPDQDJHV
                     IRU RWKHUV KDYLQJ VLPLODU REMHFWLYHV DQG UHVWULFWLRQV DQG LQ D PDQQHU FRQVLVWHQW ZLWK
                     SUDFWLFHV DQG SURFHGXUHV IROORZHG E\ LQVWLWXWLRQDO VHUYLFHUV RU PDQDJHUV RI QDWLRQDO
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                     WKHIRUHJRLQJWKH6HUYLFHUVKDOOIROORZLWVFXVWRPDU\VWDQGDUGVSROLFLHVDQGSURFHGXUHV
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                     DPHQGPHQWWRDQ\7UDQVDFWLRQ'RFXPHQWXQWLOLWKDVUHFHLYHGZULWWHQQRWLFHWKHUHRIDQG
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                     KRZHYHU WKDW WKH 6HUYLFHU VKDOO QRW EH ERXQG E\ DQ\ DPHQGPHQW WR DQ\ 7UDQVDFWLRQ
                     'RFXPHQWWKDWDIIHFWVWKHULJKWVSRZHUVREOLJDWLRQVRUGXWLHVRIWKH6HUYLFHUXQOHVVWKH
                     6HUYLFHUVKDOOKDYHFRQVHQWHGWKHUHWRLQZULWLQJ7KH,VVXHUDJUHHVWKDWLWVKDOOQRWSHUPLW
                     DQ\DPHQGPHQWWRWKH,QGHQWXUHWKDW [ DIIHFWVWKHULJKWVSRZHUVREOLJDWLRQVRUGXWLHV
                     RIWKH6HUYLFHURU \ DIIHFWVWKHDPRXQWRUSULRULW\RIDQ\IHHVSD\DEOHWRWKH6HUYLFHUWR
                     EHFRPH HIIHFWLYH XQOHVV WKH 6HUYLFHU KDV EHHQ JLYHQ SULRU ZULWWHQ QRWLFH RI VXFK
                     DPHQGPHQWDQGFRQVHQWHGWKHUHWRLQZULWLQJ

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                     KHUHLQDQGLQWKH,QGHQWXUH

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                     SURYLGHWRWKH,VVXHUDOOUHSRUWVFHUWLILFDWHVVFKHGXOHVDQGRWKHUGDWDZLWKUHVSHFWWRWKH
                     &ROODWHUDOZKLFKWKH,VVXHULVUHTXLUHGWRSUHSDUHDQGGHOLYHUXQGHUWKH,QGHQWXUHLQWKH
                     IRUPDQGFRQWDLQLQJDOOLQIRUPDWLRQUHTXLUHGWKHUHE\DQGLQUHDVRQDEOHWLPHIRUWKH,VVXHU
                     WRUHYLHZVXFKUHTXLUHGUHSRUWVFHUWLILFDWHVVFKHGXOHVDQGGDWDDQGWRGHOLYHUWKHPWRWKH
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                     WKH,QGHQWXUHPD\DWDQ\WLPHSHUPLWWHGXQGHUWKH,QGHQWXUHDQGVKDOOZKHQUHTXLUHGE\
                     WKH,QGHQWXUHGLUHFWWKH7UXVWHH [ WRGLVSRVHRID&ROODWHUDO2EOLJDWLRQ(TXLW\6HFXULW\
                     RU(OLJLEOH,QYHVWPHQWRURWKHUVHFXULWLHVUHFHLYHGLQUHVSHFWWKHUHRILQWKHRSHQPDUNHWRU
                     RWKHUZLVH \ WRDFTXLUHDVVHFXULW\IRUWKH1RWHVLQVXEVWLWXWLRQIRURULQDGGLWLRQWRDQ\
                     RQHRUPRUH&ROODWHUDO2EOLJDWLRQVRU(OLJLEOH,QYHVWPHQWVLQFOXGHGLQWKH&ROODWHUDORQH
                     RUPRUHVXEVWLWXWH&ROODWHUDO2EOLJDWLRQVRU(OLJLEOH,QYHVWPHQWVRU ] GLUHFWWKH7UXVWHH
                     WR WDNH WKH IROORZLQJ DFWLRQV ZLWK UHVSHFW WR D &ROODWHUDO 2EOLJDWLRQ RU (OLJLEOH
                     ,QYHVWPHQW

                                                        UHWDLQVXFK&ROODWHUDO2EOLJDWLRQRU(OLJLEOH,QYHVWPHQW
                              RU

                                                     GLVSRVH RI VXFK &ROODWHUDO 2EOLJDWLRQ RU (OLJLEOH
                              ,QYHVWPHQWLQWKHRSHQPDUNHWRURWKHUZLVHRU

                                                     LI DSSOLFDEOH WHQGHU VXFK &ROODWHUDO 2EOLJDWLRQ RU
                              (OLJLEOH,QYHVWPHQWSXUVXDQWWRDQ2IIHURU




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                                                     LI DSSOLFDEOH FRQVHQW WR DQ\ SURSRVHG DPHQGPHQW
                              PRGLILFDWLRQRUZDLYHUSXUVXDQWWRDQ2IIHURU

                                                       UHWDLQ RU GLVSRVH RI DQ\ VHFXULWLHV RU RWKHU SURSHUW\
                               LIRWKHUWKDQFDVK UHFHLYHGSXUVXDQWWRDQ2IIHURU

                                                      ZDLYH DQ\ GHIDXOW ZLWK UHVSHFW WR DQ\ 'HIDXOWHG
                              &ROODWHUDO2EOLJDWLRQRU

                                                      YRWH WR DFFHOHUDWH WKH PDWXULW\ RI DQ\ 'HIDXOWHG
                              &ROODWHUDO2EOLJDWLRQRU

                                                       H[HUFLVH DQ\ RWKHU ULJKWV RU UHPHGLHV ZLWK UHVSHFW WR
                              VXFK &ROODWHUDO 2EOLJDWLRQ RU (OLJLEOH ,QYHVWPHQW DV SURYLGHG LQ WKH UHODWHG
                              8QGHUO\LQJ,QVWUXPHQWVLQFOXGLQJLQFRQQHFWLRQZLWKDQ\ZRUNRXWVLWXDWLRQVRU
                              WDNHDQ\RWKHUDFWLRQFRQVLVWHQWZLWKWKHWHUPVRIWKH,QGHQWXUHZKLFKLVLQWKH
                              EHVWLQWHUHVWVRIWKH+ROGHUVRIWKH6HFXULWLHVDQG

                                       YL  WKH 6HUYLFHU VKDOO D  RQ RU SULRU WR DQ\ GD\ ZKLFK LV D
                     5HGHPSWLRQ 'DWH GLUHFW WKH 7UXVWHH WR HQWHU LQWR FRQWUDFWV WR GLVSRVH RI WKH &ROODWHUDO
                     2EOLJDWLRQDQGDQ\RWKHU&ROODWHUDOSXUVXDQWWRWKH,QGHQWXUHDQGRWKHUZLVHFRPSO\ZLWK
                     DOO UHGHPSWLRQ SURFHGXUHV DQG FHUWLILFDWLRQ UHTXLUHPHQWV LQ WKH ,QGHQWXUH LQ RUGHU WR
                     DOORZWKH7UXVWHHWRHIIHFWVXFKUHGHPSWLRQDQG E FRQGXFWDXFWLRQVLQDFFRUGDQFHZLWK
                     WKHWHUPVRIWKH,QGHQWXUH

                                 E     ,QSHUIRUPLQJLWVGXWLHVKHUHXQGHUWKH6HUYLFHUVKDOOVHHNWRSUHVHUYHWKH
   YDOXHRIWKH&ROODWHUDOIRUWKHEHQHILWRIWKH+ROGHUVRIWKH6HFXULWLHVWDNLQJLQWRDFFRXQWWKH&ROODWHUDO
   FULWHULDDQGOLPLWDWLRQVVHWIRUWKKHUHLQDQGLQWKH,QGHQWXUHDQGWKH6HUYLFHUVKDOOXVHUHDVRQDEOHHIIRUWVWR
   VHOHFW DQG VHUYLFH WKH &ROODWHUDO LQ VXFK D ZD\ WKDW ZLOO SHUPLW D WLPHO\ SHUIRUPDQFH RI DOO SD\PHQW
   REOLJDWLRQVE\WKH,VVXHUXQGHUWKH,QGHQWXUHSURYLGHGWKDWWKH6HUYLFHUVKDOOQRWEHUHVSRQVLEOHLIVXFK
   REMHFWLYHVDUHQRWDFKLHYHGVRORQJDVWKH6HUYLFHUSHUIRUPVLWVGXWLHVXQGHUWKLV$JUHHPHQWLQWKHPDQQHU
   SURYLGHGIRUKHUHLQDQGSURYLGHGIXUWKHUWKDWWKHUHVKDOOEHQRUHFRXUVHWRWKH6HUYLFHUZLWKUHVSHFWWR
   WKH1RWHVRUWKH3UHIHUHQFH6KDUHV7KH6HUYLFHUDQGWKH,VVXHUVKDOOWDNHVXFKRWKHUDFWLRQDQGIXUQLVK
   VXFKFHUWLILFDWHVRSLQLRQVDQGRWKHUGRFXPHQWVDVPD\EHUHDVRQDEO\UHTXHVWHGE\WKHRWKHUSDUW\KHUHWR
   LQ RUGHU WR HIIHFWXDWH WKH SXUSRVHV RI WKLV $JUHHPHQW DQG WR IDFLOLWDWH FRPSOLDQFH ZLWK DSSOLFDEOH ODZV
   DQGUHJXODWLRQVDQGWKHWHUPVRIWKLV$JUHHPHQW

                               F      7KH6HUYLFHUKHUHE\DJUHHVWRWKHIROORZLQJ

                                       L      7KH 6HUYLFHU DJUHHV QRW WR FDXVH WKH ILOLQJ RI D SHWLWLRQ LQ
                     EDQNUXSWF\DJDLQVWWKH,VVXHURUWKH&R,VVXHUXQWLOWKHSD\PHQWLQIXOORIDOO1RWHVLVVXHG
                     XQGHU WKH ,QGHQWXUH DQG WKH SD\PHQW WR WKH 3UHIHUHQFH 6KDUHV 3D\LQJ $JHQW RI DOO
                     DPRXQWVSD\DEOHZLWKUHVSHFWWRWKH3UHIHUHQFH6KDUHVLQDFFRUGDQFHZLWKWKH3ULRULW\RI
                     3D\PHQWV DQG WKH H[SLUDWLRQ RI D SHULRG HTXDO WR WKH JUHDWHU RI $  WKH DSSOLFDEOH
                     SUHIHUHQFH SHULRG SOXV RQH GD\ RU %  RQH \HDU DQG RQH GD\ IROORZLQJ WKH SD\PHQW
                     1RWZLWKVWDQGLQJWKHIRUHJRLQJWKH6HUYLFHUPD\FRPPHQFHDQ\OHJDODFWLRQWKDWLVQRWD
                     EDQNUXSWF\ LQVROYHQF\ OLTXLGDWLRQ RU VLPLODU SURFHHGLQJ DJDLQVW WKH ,VVXHU RU WKH &R
                     ,VVXHURUDQ\RIWKHLUSURSHUWLHVDQGPD\WDNHDQ\DFWLRQLWGHHPVDSSURSULDWHDWDQ\WLPH
                     LQ DQ\ EDQNUXSWF\ LQVROYHQF\ OLTXLGDWLRQ RU VLPLODU SURFHHGLQJ DQG DQ\ RWKHU
                     3URFHHGLQJ YROXQWDULO\ FRPPHQFHG E\ WKH ,VVXHU RU WKH &R,VVXHU RU LQYROXQWDULO\
                     FRPPHQFHGDJDLQVWWKH,VVXHURUWKH&R,VVXHUE\DQ\RQHRWKHUWKDQWKH6HUYLFHURUDQ\



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                      $IILOLDWHRIWKH6HUYLFHU7KHSURYLVLRQVRIWKLV6HFWLRQ F L VKDOOVXUYLYHWHUPLQDWLRQ
                      RIWKLV$JUHHPHQW

                                       LL 7KH 6HUYLFHU VKDOO FDXVH HDFK VDOH RU SXUFKDVH RI DQ\ &ROODWHUDO
                      2EOLJDWLRQRU(OLJLEOH,QYHVWPHQWWREHFRQGXFWHGRQDQDUP¶VOHQJWKEDVLV

                              G        7KH 6HUYLFHU VKDOO QRW DFW IRU WKH ,VVXHU LQ DQ\ FDSDFLW\ H[FHSW DV
   SURYLGHG LQ WKLV 6HFWLRQ  ,Q SURYLGLQJ VHUYLFHV KHUHXQGHU WKH 6HUYLFHU PD\ HPSOR\ WKLUG SDUWLHV
   LQFOXGLQJLWV$IILOLDWHVWRUHQGHUDGYLFH LQFOXGLQJDGYLFHZLWKUHVSHFWWRWKHVHUYLFLQJRIWKH&ROODWHUDO 
   DQGDVVLVWDQFHSURYLGHGKRZHYHUWKDWWKH6HUYLFHUVKDOOQRWEHUHOLHYHGRIDQ\RILWVGXWLHVRUOLDELOLWLHV
   KHUHXQGHU UHJDUGOHVV RI WKH SHUIRUPDQFH RI DQ\ VHUYLFHV E\ WKLUG SDUWLHV  1RWZLWKVWDQGLQJ DQ\ RWKHU
   SURYLVLRQRIWKLV$JUHHPHQWWKH6HUYLFHUVKDOOQRWEHUHTXLUHGWRWDNHDQ\DFWLRQUHTXLUHGRILWSXUVXDQWWR
   WKLV$JUHHPHQWRUWKH,QGHQWXUHLIVXFKDFWLRQZRXOGFRQVWLWXWHDYLRODWLRQRIDQ\ODZ

                                H       1RWZLWKVWDQGLQJDQ\RWKHUSURYLVLRQRIWKLV$JUHHPHQWRUWKH,QGHQWXUH
    L DQ\JUDQWHGVLJQDWRU\SRZHUVRUDXWKRULW\JUDQWHGWRWKH6HUYLFHURQEHKDOIRIWKH,VVXHUZLWKUHVSHFW
   WRWKH6SHFLDO3URFHGXUHV2EOLJDWLRQV DVGHILQHGLQ$QQH[ VKDOOEHFRQGLWLRQHGXSRQWKHSULRUZULWWHQ
   DSSURYDO RI WKH ,QGHSHQGHQW $GYLVRU DV GHILQHG LQ $QQH[   DQG LL  QHLWKHU WKH 6HUYLFHU QRU DQ\
   $IILOLDWHRIWKH6HUYLFHUVKDOOKDYHDQ\DXWKRULW\WRHQWHULQWRDJUHHPHQWVRUWDNHDQ\DFWLRQRQEHKDOIRI
   WKH ,VVXHU ZLWK UHVSHFW WR WKH 6SHFLDO 3URFHGXUHV 2EOLJDWLRQV ZLWKRXW WKH SULRU ZULWWHQ DSSURYDO RI WKH
   ,QGHSHQGHQW$GYLVRU 

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                      7KH6HUYLFHUVKDOOVHHNWRREWDLQWKHEHVWSULFHVDQGH[HFXWLRQIRUDOORUGHUVSODFHGZLWK
   UHVSHFWWRWKH&ROODWHUDOFRQVLGHULQJDOOUHDVRQDEOHFLUFXPVWDQFHV6XEMHFWWRWKHREMHFWLYHRIREWDLQLQJ
   EHVWSULFHVDQGH[HFXWLRQWKH6HUYLFHUPD\WDNHLQWRFRQVLGHUDWLRQUHVHDUFKDQGRWKHUEURNHUDJHVHUYLFHV
   IXUQLVKHGWRWKH6HUYLFHURULWV$IILOLDWHVE\EURNHUVDQGGHDOHUVZKLFKDUHQRW$IILOLDWHVRIWKH6HUYLFHU
   6XFK VHUYLFHV PD\ EH XVHG E\ WKH 6HUYLFHU RU LWV $IILOLDWHV LQ FRQQHFWLRQ ZLWK LWV RWKHU VHUYLFLQJ RU
   DGYLVRU\ DFWLYLWLHV RU RSHUDWLRQV 7KH 6HUYLFHU PD\ DJJUHJDWH VDOHV DQG SXUFKDVH RUGHUV RI VHFXULWLHV
   SODFHG ZLWK UHVSHFW WR WKH &ROODWHUDO ZLWK VLPLODU RUGHUV EHLQJ PDGH VLPXOWDQHRXVO\ IRU RWKHU DFFRXQWV
   VHUYLFHGRUPDQDJHGE\WKH6HUYLFHURUZLWKDFFRXQWVRIWKH$IILOLDWHVRIWKH6HUYLFHULILQWKH6HUYLFHU¶V
   UHDVRQDEOHMXGJPHQWVXFKDJJUHJDWLRQVKDOOUHVXOWLQDQRYHUDOOHFRQRPLFEHQHILWWRWKH,VVXHUWDNLQJLQWR
   FRQVLGHUDWLRQWKHDGYDQWDJHRXVVHOOLQJRUSXUFKDVHSULFHEURNHUDJHFRPPLVVLRQDQGRWKHUH[SHQVHV,Q
   WKHHYHQWWKDWDVDOHRUSXUFKDVHRID&ROODWHUDO2EOLJDWLRQRU(OLJLEOH,QYHVWPHQW LQDFFRUGDQFHZLWKWKH
   WHUPV RI WKH ,QGHQWXUH  RFFXUV DV SDUW RI DQ\ DJJUHJDWH VDOHV RU SXUFKDVH RUGHUV WKH REMHFWLYH RI WKH
   6HUYLFHU DQGDQ\RILWV$IILOLDWHVLQYROYHGLQVXFKWUDQVDFWLRQV VKDOOEHWRDOORFDWHWKHH[HFXWLRQVDPRQJ
   WKH DFFRXQWV LQ DQ HTXLWDEOH PDQQHU DQG FRQVLVWHQW ZLWK LWV REOLJDWLRQV KHUHXQGHU DQG XQGHU DSSOLFDEOH
   ODZ

                     ,QDGGLWLRQWRWKHIRUHJRLQJDQGVXEMHFWWRWKHSURYLVLRQVRI6HFWLRQDQGWKHOLPLWDWLRQV
   RI6HFWLRQWKHREMHFWLYHRIREWDLQLQJEHVWSULFHVDQGH[HFXWLRQDQGWRWKHH[WHQWSHUPLWWHGE\DSSOLFDEOH
   ODZ WKH 6HUYLFHU PD\ RQ EHKDOI RI WKH ,VVXHU GLUHFW WKH 7UXVWHH WR DFTXLUH DQ\ DQG DOO RI WKH (OLJLEOH
   ,QYHVWPHQWV RU RWKHU &ROODWHUDO IURP RU VHOO &ROODWHUDO 2EOLJDWLRQV RU RWKHU &ROODWHUDO WR WKH ,QLWLDO
   3XUFKDVHUWKH7UXVWHHRUDQ\RIWKHLUUHVSHFWLYH$IILOLDWHVRUDQ\RWKHUILUP




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                            $GGLWLRQDO$FWLYLWLHVRIWKH6HUYLFHU

                      1RWKLQJKHUHLQVKDOOSUHYHQWWKH6HUYLFHURUDQ\RILWV$IILOLDWHVIURPHQJDJLQJLQRWKHU
   EXVLQHVVHV RU IURP UHQGHULQJ VHUYLFHV RI DQ\ NLQG WR WKH 7UXVWHH WKH +ROGHUV RI WKH 6HFXULWLHV RU DQ\
   RWKHU3HUVRQRUHQWLW\WRWKHH[WHQWSHUPLWWHGE\DSSOLFDEOHODZ:LWKRXWSUHMXGLFHWRWKHJHQHUDOLW\RIWKH
   IRUHJRLQJ WKH 6HUYLFHU DQG SDUWQHUV GLUHFWRUV RIILFHUV HPSOR\HHV DQG DJHQWV RI WKH 6HUYLFHU RU LWV
   $IILOLDWHVPD\DPRQJRWKHUWKLQJVDQGVXEMHFWWRDQ\OLPLWVVSHFLILHGLQWKH,QGHQWXUH

                             D        VHUYHDVGLUHFWRUV ZKHWKHUVXSHUYLVRU\RUPDQDJLQJ RIILFHUVSDUWQHUV
   HPSOR\HHVDJHQWVQRPLQHHVRUVLJQDWRULHVIRUDQ\LVVXHURIDQ\REOLJDWLRQVLQFOXGHGLQWKH&ROODWHUDORU
   WKHLUUHVSHFWLYH$IILOLDWHVWRWKHH[WHQWSHUPLWWHGE\WKHLU*RYHUQLQJ,QVWUXPHQWVDVIURPWLPHWRWLPH
   DPHQGHGRUE\DQ\UHVROXWLRQVGXO\DGRSWHGE\WKH,VVXHULWV$IILOLDWHVRUDQ\LVVXHURIDQ\REOLJDWLRQV
   LQFOXGHG LQ WKH &ROODWHUDO RU WKHLU UHVSHFWLYH $IILOLDWHV SXUVXDQW WR WKHLU UHVSHFWLYH *RYHUQLQJ
   ,QVWUXPHQWV SURYLGHG WKDW LQ WKH UHDVRQDEOH MXGJPHQW RI WKH 6HUYLFHU VXFK DFWLYLW\ VKDOO QRW KDYH D
   PDWHULDODGYHUVHHIIHFWRQWKHHQIRUFHDELOLW\RI&ROODWHUDORUWKHDELOLW\RIWKH,VVXHUWRFRPSO\ZLWKHDFK
   2YHUFROODWHUDOL]DWLRQ 5DWLR DQG HDFK ,QWHUHVW &RYHUDJH 7HVW SURYLGHG IXUWKHU WKDW QRWKLQJ LQ WKLV
   SDUDJUDSKVKDOOEHGHHPHGWROLPLWWKHGXWLHVRIWKH6HUYLFHUVHWIRUWKLQ6HFWLRQKHUHRI

                              E       UHFHLYH IHHV IRU VHUYLFHV RI DQ\ QDWXUH UHQGHUHG WR WKH LVVXHU RI DQ\
   REOLJDWLRQV LQFOXGHG LQ WKH &ROODWHUDO RU WKHLU UHVSHFWLYH $IILOLDWHV SURYLGHG WKDW LQ WKH UHDVRQDEOH
   MXGJPHQWRIWKH6HUYLFHU VXFKDFWLYLW\VKDOOQRWKDYHD PDWHULDO DGYHUVHHIIHFWRQWKHHQIRUFHDELOLW\RI
   &ROODWHUDORUWKHDELOLW\RIWKH,VVXHUWRFRPSO\ZLWKHDFK&RYHUDJH7HVWDQGSURYLGHGIXUWKHUWKDWLIDQ\
   SRUWLRQ RI VXFK VHUYLFHV DUH UHODWHG WR WKH SXUFKDVH E\ WKH ,VVXHU RI DQ\ REOLJDWLRQV LQFOXGHG LQ WKH
   &ROODWHUDOWKHSRUWLRQRIVXFKIHHVUHODWLQJWRVXFKREOLJDWLRQVVKDOOEHDSSOLHGWRWKHSXUFKDVHSULFHRI
   VXFKREOLJDWLRQVDQG

                                 F      EH D VHFXUHG RU XQVHFXUHG FUHGLWRU RI RU KROG DQ HTXLW\ LQWHUHVW LQ WKH
   ,VVXHU LWV $IILOLDWHV RU DQ\ LVVXHU RI DQ\ REOLJDWLRQ LQFOXGHG LQ WKH &ROODWHUDO SURYLGHG WKDW LQ WKH
   UHDVRQDEOH MXGJPHQW RI WKH 6HUYLFHU VXFK DFWLYLW\ VKDOO QRW KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH
   HQIRUFHDELOLW\ RI &ROODWHUDO RU WKH DELOLW\ RI WKH ,VVXHU WR FRPSO\ ZLWK HDFK &RYHUDJH 7HVW SURYLGHG
   IXUWKHU WKDW QRWKLQJ LQ WKLV SDUDJUDSK VKDOO EH GHHPHG WR OLPLW WKH GXWLHV RI WKH 6HUYLFHU VHW IRUWK LQ
   6HFWLRQKHUHRI

                    ,W LV XQGHUVWRRG WKDW WKH 6HUYLFHU DQG DQ\ RI LWV $IILOLDWHV PD\ HQJDJH LQ DQ\ RWKHU
   EXVLQHVV DQG IXUQLVK VHUYLFLQJ LQYHVWPHQW PDQDJHPHQW DQG DGYLVRU\ VHUYLFHV WR RWKHUV LQFOXGLQJ
   3HUVRQVZKLFKPD\KDYHSROLFLHVVLPLODUWRWKRVHIROORZHGE\WKH6HUYLFHUZLWKUHVSHFWWRWKH&ROODWHUDO
   DQGZKLFKPD\RZQVHFXULWLHVRIWKHVDPHFODVVRUZKLFKDUHWKHVDPHW\SHDVWKH&ROODWHUDO2EOLJDWLRQV
   RURWKHUVHFXULWLHVRIWKHLVVXHUVRI&ROODWHUDO2EOLJDWLRQV7KH6HUYLFHUVKDOOEHIUHHLQLWVVROHGLVFUHWLRQ
   WRPDNHUHFRPPHQGDWLRQVWRRWKHUVRUHIIHFWWUDQVDFWLRQVRQEHKDOIRILWVHOIRUIRURWKHUVZKLFKPD\EH
   WKHVDPHDVRUGLIIHUHQWIURPWKRVHHIIHFWHGZLWKUHVSHFWWRWKH&ROODWHUDO

                     8QOHVV WKH 6HUYLFHU GHWHUPLQHV LQ LWV UHDVRQDEOH MXGJPHQW WKDWVXFK SXUFKDVH RU VDOH LV
   DSSURSULDWHWKH6HUYLFHUPD\UHIUDLQIURPGLUHFWLQJWKHSXUFKDVHRUVDOHKHUHXQGHURIVHFXULWLHVLVVXHGE\
    L 3HUVRQVRIZKLFKWKH6HUYLFHULWV$IILOLDWHVRUDQ\RILWVRUWKHLURIILFHUVGLUHFWRUVRUHPSOR\HHVDUH
   GLUHFWRUV RU RIILFHUV LL  3HUVRQV IRU ZKLFK WKH 6HUYLFHU RU LWV $IILOLDWHV DFW DV ILQDQFLDO DGYLVHU RU
   XQGHUZULWHURU LLL 3HUVRQVDERXWZKLFKWKH6HUYLFHURUDQ\RILWV$IILOLDWHVKDYHLQIRUPDWLRQZKLFKWKH
   6HUYLFHUGHHPVFRQILGHQWLDORUQRQSXEOLFRURWKHUZLVHPLJKWSURKLELWLWIURPWUDGLQJVXFKVHFXULWLHVLQ
   DFFRUGDQFH ZLWK DSSOLFDEOH ODZ 7KH 6HUYLFHU VKDOO QRW EH REOLJDWHG WR KDYH RU SXUVXH DQ\ SDUWLFXODU
   VWUDWHJ\RURSSRUWXQLW\ZLWKUHVSHFWWRWKH&ROODWHUDO




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                             D       7KH 6HUYLFHU VKDOO QRW GLUHFW WKH 7UXVWHH WR DFTXLUH DQ REOLJDWLRQ WR EH
   LQFOXGHGLQWKH&ROODWHUDOIURPWKH6HUYLFHURUDQ\RILWV$IILOLDWHVDVSULQFLSDORUWRVHOODQREOLJDWLRQWR
   WKH6HUYLFHURUDQ\RILWV$IILOLDWHVDVSULQFLSDOXQOHVV L WKH,VVXHUVKDOOKDYHUHFHLYHGIURPWKH6HUYLFHU
   VXFKLQIRUPDWLRQUHODWLQJWRVXFKDFTXLVLWLRQRUVDOHDVLWPD\UHDVRQDEO\UHTXLUHDQGVKDOOKDYHDSSURYHG
   VXFKDFTXLVLWLRQZKLFKDSSURYDOVKDOOQRWEHXQUHDVRQDEO\ZLWKKHOG LL LQWKHFRPPHUFLDOO\UHDVRQDEOH
   MXGJPHQW RI WKH 6HUYLFHU VXFK WUDQVDFWLRQ LV RQ WHUPV QR OHVV IDYRUDEOH WKDQ ZRXOG EH REWDLQHG LQ D
   WUDQVDFWLRQFRQGXFWHGRQDQDUP¶VOHQJWKEDVLVEHWZHHQWKLUGSDUWLHVXQDIILOLDWHGZLWKHDFKRWKHUDQG LLL 
   VXFKWUDQVDFWLRQLVSHUPLWWHGE\WKH8QLWHG6WDWHV,QYHVWPHQW$GYLVHUV$FWRIDVDPHQGHG

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   LQFOXGHGLQWKH&ROODWHUDOGLUHFWO\IURPDQ\DFFRXQWRUSRUWIROLRIRUZKLFKWKH6HUYLFHUVHUYHVDVVHUYLFHU
   RULQYHVWPHQWDGYLVHURUGLUHFWWKH7UXVWHHWRVHOODQREOLJDWLRQGLUHFWO\WRDQ\DFFRXQWRUSRUWIROLRIRU
   ZKLFK WKH 6HUYLFHU VHUYHV DV VHUYLFHU RU LQYHVWPHQW DGYLVHU XQOHVV VXFK DFTXLVLWLRQ RU VDOH LV L  LQ WKH
   FRPPHUFLDOO\UHDVRQDEOHMXGJPHQWRIWKH6HUYLFHURQWHUPVQROHVVIDYRUDEOHWKDQZRXOGEHREWDLQHGLQD
   WUDQVDFWLRQ FRQGXFWHG RQ DQ DUP¶V OHQJWK EDVLV EHWZHHQ WKLUG SDUWLHV XQDIILOLDWHG ZLWK HDFK RWKHU DQG
    LL SHUPLWWHGE\WKH8QLWHG6WDWHV,QYHVWPHQW$GYLVHUV$FWRIDVDPHQGHG

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   WKLV 6HFWLRQ XQOHVV VXFK WUDQVDFWLRQ LV H[HPSW IURP WKH SURKLELWHG WUDQVDFWLRQ UXOHV RI (5,6$ DQG
   6HFWLRQRIWKH&RGH

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                     7KH6HUYLFHUVKDOOPDLQWDLQDSSURSULDWHERRNVRIDFFRXQWDQGUHFRUGVUHODWLQJWRVHUYLFHV
   SHUIRUPHG KHUHXQGHU DQG VXFK ERRNV RI DFFRXQW DQG UHFRUGV VKDOO EH DFFHVVLEOH IRU LQVSHFWLRQ E\ D
   UHSUHVHQWDWLYHRIWKH,VVXHUWKH7UXVWHHWKH&ROODWHUDO$GPLQLVWUDWRU WKH+ROGHUVRIWKH6HFXULWLHV DQG
   WKH,QGHSHQGHQWDFFRXQWDQWVDSSRLQWHGE\WKH,VVXHUSXUVXDQWWRWKH,QGHQWXUHDWDPXWXDOO\DJUHHGWLPH
   GXULQJQRUPDOEXVLQHVVKRXUVDQGXSRQQRWOHVVWKDQWKUHH%XVLQHVV'D\V¶SULRUQRWLFH$WQRWLPHVKDOO
   WKH6HUYLFHUPDNHDSXEOLFDQQRXQFHPHQWFRQFHUQLQJWKHLVVXDQFHRIWKH1RWHVRUWKH3UHIHUHQFH6KDUHV
   WKH6HUYLFHU¶VUROHKHUHXQGHURUDQ\RWKHUDVSHFWRIWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKLV$JUHHPHQWDQG
   WKHRWKHU7UDQVDFWLRQ'RFXPHQWV7KH6HUYLFHUVKDOONHHSFRQILGHQWLDODQ\DQGDOOLQIRUPDWLRQREWDLQHG
   LQ FRQQHFWLRQ ZLWK WKH VHUYLFHV UHQGHUHG KHUHXQGHU DQG VKDOO QRW GLVFORVH DQ\ VXFK LQIRUPDWLRQ WR
   QRQDIILOLDWHGWKLUGSDUWLHVH[FHSW L ZLWKWKHSULRUZULWWHQFRQVHQWRIWKH,VVXHU LL VXFKLQIRUPDWLRQDV
   HLWKHU 5DWLQJ $JHQF\ VKDOO UHDVRQDEO\ UHTXHVW LQ FRQQHFWLRQ ZLWK WKH UDWLQJ RI DQ\ &ODVV RI 6HFXULWLHV
    LLL DV UHTXLUHG E\ ODZ UHJXODWLRQ FRXUW RUGHU RU WKH UXOHV RU UHJXODWLRQV RI DQ\ VHOI UHJXODWLQJ
   RUJDQL]DWLRQ ERG\ RU RIILFLDO KDYLQJ MXULVGLFWLRQ RYHU WKH 6HUYLFHU LY  WR LWV SURIHVVLRQDO DGYLVHUV
    Y VXFKLQIRUPDWLRQDVVKDOOKDYHEHHQSXEOLFO\GLVFORVHGRWKHUWKDQLQYLRODWLRQRIWKLV$JUHHPHQWRU
    YL VXFKLQIRUPDWLRQWKDWZDVRULVREWDLQHGE\WKH6HUYLFHURQDQRQFRQILGHQWLDOEDVLVSURYLGHGWKDW
   WKH6HUYLFHUGRHVQRWNQRZRUKDYHUHDVRQWRNQRZRIDQ\EUHDFKE\VXFKVRXUFHRIDQ\FRQILGHQWLDOLW\
   REOLJDWLRQVZLWKUHVSHFWWKHUHWR)RUSXUSRVHVRIWKLV6HFWLRQWKH7UXVWHHWKH&ROODWHUDO$GPLQLVWUDWRU
   DQGWKH+ROGHUVRIWKH6HFXULWLHVVKDOOLQQRHYHQWEHFRQVLGHUHG³QRQDIILOLDWHGWKLUGSDUWLHV´

                     1RWZLWKVWDQGLQJ DQ\WKLQJ LQ WKLV $JUHHPHQW RU WKH ,QGHQWXUH WR WKH FRQWUDU\ WKH
   6HUYLFHUWKH&R,VVXHUVWKH7UXVWHHDQGWKH+ROGHUVRIWKH6HFXULWLHV DQGWKHEHQHILFLDORZQHUVWKHUHRI 
    DQG HDFK RI WKHLU UHVSHFWLYH HPSOR\HHV UHSUHVHQWDWLYHV RU RWKHU DJHQWV  PD\ GLVFORVH WR DQ\ DQG DOO
   3HUVRQVZLWKRXWOLPLWDWLRQRIDQ\NLQGWKH86WD[WUHDWPHQWDQG86WD[VWUXFWXUHRIWKHWUDQVDFWLRQV
   FRQWHPSODWHGE\WKLV$JUHHPHQWDQGDOOPDWHULDOVRIDQ\NLQG LQFOXGLQJRSLQLRQVRURWKHUWD[DQDO\VHV 
   WKDW DUH SURYLGHG WR WKHP UHODWLQJ WR VXFK 86 WD[ WUHDWPHQW DQG 86 WD[ VWUXFWXUH DV VXFK WHUPV DUH
   GHILQHGXQGHU86IHGHUDOVWDWHRUORFDOWD[ODZ


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                       8QOHVV RWKHUZLVH VSHFLILFDOO\ UHTXLUHG E\ DQ\ SURYLVLRQ RI WKH ,QGHQWXUH RU WKLV
   $JUHHPHQWRUE\DSSOLFDEOHODZWKH6HUYLFHUVKDOOXVHLWVEHVWUHDVRQDEOHHIIRUWVWRHQVXUHWKDWQRDFWLRQ
   LV WDNHQ E\ LW DQG VKDOO QRW LQWHQWLRQDOO\ RU ZLWK UHFNOHVV GLVUHJDUG WDNH DQ\ DFWLRQ ZKLFK ZRXOG
    D PDWHULDOO\ DGYHUVHO\ DIIHFW WKH ,VVXHU RU WKH &R,VVXHU IRU SXUSRVHV RI &D\PDQ ,VODQGV ODZ 8QLWHG
   6WDWHV IHGHUDO RU VWDWH ODZ RU DQ\ RWKHU ODZ NQRZQ WR WKH 6HUYLFHU WR EH DSSOLFDEOH WR WKH ,VVXHU RU WKH
   &R,VVXHU E  QRW EH SHUPLWWHG XQGHU WKH ,VVXHU¶V 0HPRUDQGXP DQG $UWLFOHV RI $VVRFLDWLRQ RU WKH
   &R,VVXHU¶V &HUWLILFDWH RI ,QFRUSRUDWLRQ RU %\/DZV F  YLRODWH DQ\ ODZ UXOH RU UHJXODWLRQ RI DQ\
   JRYHUQPHQWDO ERG\ RU DJHQF\ KDYLQJ MXULVGLFWLRQ RYHU WKH ,VVXHU RU WKH &R,VVXHU LQFOXGLQJ ZLWKRXW
   OLPLWDWLRQ DQ\ &D\PDQ ,VODQGV RU 8QLWHG 6WDWHV IHGHUDO VWDWH RU RWKHU DSSOLFDEOH VHFXULWLHV ODZ WKH
   YLRODWLRQRIZKLFKKDVRUFRXOGUHDVRQDEO\EHH[SHFWHGWRKDYHDPDWHULDODGYHUVHHIIHFWRQWKH,VVXHUWKH
   &R,VVXHU RU DQ\ RI WKH &ROODWHUDO G  UHTXLUH UHJLVWUDWLRQ RI WKH ,VVXHU WKH &R,VVXHU RU WKH SRRO RI
   &ROODWHUDO DV DQ ³LQYHVWPHQW FRPSDQ\´ XQGHU WKH ,QYHVWPHQW &RPSDQ\ $FW H  FDXVH WKH ,VVXHU RU WKH
   &R,VVXHUWRYLRODWHWKHWHUPVRIWKH,QGHQWXUHLQFOXGLQJZLWKRXWOLPLWDWLRQDQ\UHSUHVHQWDWLRQVPDGHE\
   WKH ,VVXHU RU &R,VVXHU WKHUHLQ RU DQ\ RWKHU DJUHHPHQW FRQWHPSODWHG E\ WKH ,QGHQWXUH RU I QRW EH
   SHUPLWWHG E\ $QQH[  KHUHWR DQG ZRXOG VXEMHFW WKH ,VVXHU WR 86 IHGHUDO RU VWDWH LQFRPH RU IUDQFKLVH
   WD[DWLRQ RU FDXVH WKH ,VVXHU WR EH HQJDJHG LQ D WUDGH RU EXVLQHVV LQ WKH 8QLWHG 6WDWHV IRU 86IHGHUDO
   LQFRPHWD[SXUSRVHV7KH6HUYLFHUFRYHQDQWVWKDWLWVKDOOFRPSO\LQDOOPDWHULDOUHVSHFWVZLWKDOOODZV
   DQGUHJXODWLRQVDSSOLFDEOHWRLWLQFRQQHFWLRQZLWKWKHSHUIRUPDQFHRILWVGXWLHVXQGHUWKLV$JUHHPHQWDQG
   WKH ,QGHQWXUH 1RWZLWKVWDQGLQJ DQ\WKLQJ LQ WKLV $JUHHPHQW WR WKH FRQWUDU\ WKH 6HUYLFHU VKDOO QRW EH
   UHTXLUHG WR WDNH DQ\ DFWLRQ XQGHU WKLV $JUHHPHQW RU WKH ,QGHQWXUH LI VXFK DFWLRQ ZRXOG YLRODWH DQ\
   DSSOLFDEOHODZUXOHUHJXODWLRQRUFRXUWRUGHU

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                            D       7KH ,VVXHU VKDOO SD\ WR WKH 6HUYLFHU IRU VHUYLFHV UHQGHUHG DQG
   SHUIRUPDQFHRILWVREOLJDWLRQVXQGHUWKLV$JUHHPHQWWKH6HUYLFLQJ)HHZKLFKVKDOOEHSD\DEOHLQVXFK
   DPRXQWVDQGDWVXFKWLPHVDVVHWIRUWKLQWKH,QGHQWXUH7KHSURYLVLRQVRIWKH,QGHQWXUHZKLFKUHODWHWR
   WKH DPRXQW DQG SD\PHQW RI WKH 6HUYLFLQJ )HH VKDOO QRW EH DPHQGHG ZLWKRXW WKH ZULWWHQ FRQVHQW RI WKH
   6HUYLFHU,IRQDQ\3D\PHQW'DWHWKHUHDUHLQVXIILFLHQWIXQGVWRSD\WKH6HUYLFLQJ)HH DQGRUDQ\RWKHU
   DPRXQWVGXHDQGSD\DEOHWRWKH6HUYLFHU LQIXOOWKHDPRXQWQRWVRSDLGVKDOOEHGHIHUUHGDQGVKDOOEH
   SD\DEOHRQVXFKODWHU3D\PHQW'DWHRQZKLFKIXQGVDUHDYDLODEOHWKHUHIRUDVSURYLGHGLQWKH,QGHQWXUH

                  :LWKUHVSHFWWRDQ\3D\PHQW'DWHWKH6HUYLFHUPD\LQLWVVROHGLVFUHWLRQDWDQ\WLPH
   ZDLYHDSRUWLRQ RUDOO RILWV6HUYLFLQJ)HHVWKHQGXHDQGSD\DEOH$OOZDLYHGDPRXQWVZLOOEHSDLGWR
   WKH&ODVV,,3UHIHUHQFH6KDUHVDV&ODVV,,3UHIHUHQFH6KDUH6SHFLDO3D\PHQWVSXUVXDQWWRWKH,QGHQWXUH
   )RUSXUSRVHVRIDQ\FDOFXODWLRQXQGHUWKLV$JUHHPHQWDQGWKH,QGHQWXUHWKH6HUYLFHUVKDOOEHGHHPHGWR
   KDYHUHFHLYHGWKH6HUYLFLQJ)HHLQDQDPRXQWHTXDOWRWKHVXPRIWKH6HUYLFLQJ)HHDFWXDOO\SDLGWRWKH
   6HUYLFHUDQGWKHDPRXQWGLVWULEXWHGWRWKH+ROGHUVRIWKH&ODVV,,3UHIHUHQFH6KDUHVDV&ODVV,,3UHIHUHQFH
   6KDUH6SHFLDO3D\PHQWV

                  ,QDGGLWLRQQRWZLWKVWDQGLQJDQ\WKLQJVHWRXWDERYHWKH6HUYLFHUPD\LQLWVVROH
   GLVFUHWLRQZDLYHDOORUDQ\SRUWLRQRIWKH6XERUGLQDWHG6HUYLFLQJ)HHRU6XSSOHPHQWDO6HUYLFLQJ)HHDQ\
   IXQGVUHSUHVHQWLQJWKHZDLYHG6XERUGLQDWHG6HUYLFLQJ)HHVDQG6XSSOHPHQWDO6HUYLFLQJ)HHVWREH
   UHWDLQHGLQWKH&ROOHFWLRQ$FFRXQWIRUGLVWULEXWLRQDVHLWKHU,QWHUHVW3URFHHGVRU3ULQFLSDO3URFHHGV DV
   GHWHUPLQHGE\WKH6HUYLFHU SXUVXDQWWRWKH3ULRULW\RI3D\PHQWV

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   WKH SHUIRUPDQFH RI LWV REOLJDWLRQV XQGHU WKLV $JUHHPHQW WKH ,QGHQWXUH DQG WKH RWKHU 7UDQVDFWLRQ
   'RFXPHQWV SURYLGHG KRZHYHU WKDW DQ\ H[WUDRUGLQDU\ H[SHQVHV LQFXUUHG E\ WKH 6HUYLFHU LQ WKH


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   SHUIRUPDQFH RI VXFK REOLJDWLRQV LQFOXGLQJ EXW QRW OLPLWHG WR DQ\ IHHV H[SHQVHV RU RWKHU DPRXQWV
   SD\DEOHWRWKH5DWLQJ$JHQFLHVWKH&ROODWHUDO$GPLQLVWUDWRUWKH7UXVWHHDQGWKHDFFRXQWDQWVDSSRLQWHG
   E\WKH,VVXHUWKHUHDVRQDEOHH[SHQVHVLQFXUUHGE\WKH6HUYLFHUWRHPSOR\RXWVLGHODZ\HUVRUFRQVXOWDQWV
   UHDVRQDEO\ QHFHVVDU\ LQ FRQQHFWLRQ ZLWK WKH HYDOXDWLRQ WUDQVIHU RU UHVWUXFWXULQJ RI DQ\ &ROODWHUDO
   2EOLJDWLRQRURWKHUXQXVXDOPDWWHUVDULVLQJLQWKHSHUIRUPDQFHRILWVGXWLHVXQGHUWKLV$JUHHPHQWDQGWKH
   ,QGHQWXUH DQ\ UHDVRQDEOH H[SHQVHV LQFXUUHG E\ WKH 6HUYLFHU LQ REWDLQLQJ DGYLFH IURP RXWVLGH FRXQVHO
   ZLWK UHVSHFW WR LWV REOLJDWLRQV XQGHU WKLV $JUHHPHQW EURNHUDJH FRPPLVVLRQV WUDQVIHU IHHV UHJLVWUDWLRQ
   FRVWVWD[HVDQGRWKHUVLPLODUFRVWVDQGWUDQVDFWLRQUHODWHGH[SHQVHVDQGIHHVDULVLQJRXWRIWUDQVDFWLRQV
   HIIHFWHGIRUWKH,VVXHU¶VDFFRXQWDQGWKHSRUWLRQDOORFDWHGWRWKH,VVXHURIDQ\RWKHUIHHVDQGH[SHQVHVWKDW
   WKH 6HUYLFHU FXVWRPDULO\ DOORFDWHV DPRQJ DOO RI WKH IXQGV RU SRUWIROLRV WKDW LW VHUYLFHV RU PDQDJHV
   LQFOXGLQJUHDVRQDEOHH[SHQVHVLQFXUUHGZLWKUHVSHFWWRDQ\FRPSOLDQFHUHTXLUHPHQWVLQFOXGLQJEXWQRW
   OLPLWHGWRFRPSOLDQFHZLWKWKHUHTXLUHPHQWVRIWKH6DUEDQHV2[OH\$FWUHODWHGVROHO\WRWKHRZQHUVKLS
   RUKROGLQJRIDQ\6HFXULWLHVE\+)3RUDQ\RILWVVXEVLGLDULHV VKDOOEHUHLPEXUVHGE\WKH,VVXHUWRWKH
   H[WHQWIXQGVDUHDYDLODEOHWKHUHIRULQDFFRUGDQFHZLWKDQGVXEMHFWWRWKH3ULRULW\RI3D\PHQWVDQGRWKHU
   OLPLWDWLRQVFRQWDLQHGLQWKH,QGHQWXUH

                               F       ,I WKLV $JUHHPHQW LV WHUPLQDWHG SXUVXDQW WR 6HFWLRQ 6HFWLRQ RU
   RWKHUZLVH WKH IHHV SD\DEOH WR WKH 6HUYLFHU VKDOO EH SURUDWHG IRU DQ\ SDUWLDO SHULRGV EHWZHHQ 3D\PHQW
   'DWHVGXULQJZKLFKWKLV$JUHHPHQWZDVLQHIIHFWDQGVKDOOEHGXHDQGSD\DEOHRQWKHILUVW3D\PHQW'DWH
   IROORZLQJ WKH GDWH RI VXFK WHUPLQDWLRQ DQG RQ DQ\ VXEVHTXHQW 3D\PHQW 'DWHV WR WKH H[WHQW UHPDLQLQJ
   XQSDLGDQGLQDFFRUGDQFHZLWKDQGWRWKHH[WHQWSURYLGHGLQWKH,QGHQWXUH

                           %HQHILWRIWKH$JUHHPHQW

                       7KH6HUYLFHUDJUHHVWKDWLWVREOLJDWLRQVKHUHXQGHUVKDOOEHHQIRUFHDEOHDWWKHLQVWDQFHRI
   WKH ,VVXHU WKH 7UXVWHH RQ EHKDOI RI WKH 1RWHKROGHUV RU WKH UHTXLVLWH SHUFHQWDJH RI 1RWHKROGHUV RU WKH
   +ROGHUV RI WKH 3UHIHUHQFH 6KDUHV DV DSSOLFDEOH DV SURYLGHG LQ WKH ,QGHQWXUH RU WKH 3UHIHUHQFH 6KDUHV
   3D\LQJ$JHQF\$JUHHPHQWDVDSSOLFDEOH

                          /LPLWVRI6HUYLFHU5HVSRQVLELOLW\,QGHPQLILFDWLRQ

                                D       7KH6HUYLFHUDVVXPHVQRUHVSRQVLELOLW\XQGHUWKLV$JUHHPHQWRWKHUWKDQ
   WRUHQGHUWKHVHUYLFHVFDOOHGIRUKHUHXQGHUDQGXQGHUWKHWHUPVRIWKHRWKHU7UDQVDFWLRQ'RFXPHQWVPDGH
   DSSOLFDEOH WR LW SXUVXDQW WR WKH WHUPV RI WKLV $JUHHPHQW LQ JRRG IDLWK DQG VXEMHFW WR WKH VWDQGDUG RI
   OLDELOLW\GHVFULEHGLQWKHQH[WVHQWHQFHVKDOOQRWEHUHVSRQVLEOHIRUDQ\DFWLRQRIWKH,VVXHURUWKH7UXVWHH
   LQ IROORZLQJ RU GHFOLQLQJ WR IROORZ DQ\ DGYLFH UHFRPPHQGDWLRQ RU GLUHFWLRQ RI WKH 6HUYLFHU  7KH
   6HUYLFHULWVGLUHFWRUVRIILFHUVVWRFNKROGHUVSDUWQHUVDJHQWVDQGHPSOR\HHVDQGLWV$IILOLDWHVDQGWKHLU
   GLUHFWRUV RIILFHUV VWRFNKROGHUV SDUWQHUV DJHQWV DQG HPSOR\HHV VKDOO QRW EH OLDEOH WR WKH ,VVXHU WKH
   &R,VVXHU WKH 7UXVWHH WKH 3UHIHUHQFH 6KDUHV 3D\LQJ $JHQW WKH +ROGHUV RI WKH 6HFXULWLHV RU DQ\ RWKHU
   SHUVRQ IRU DQ\ ORVVHV FODLPV GDPDJHV MXGJPHQWV DVVHVVPHQWV FRVWV RU RWKHU OLDELOLWLHV FROOHFWLYHO\
   ³/LDELOLWLHV´ LQFXUUHGE\WKH,VVXHUWKH&R,VVXHUWKH7UXVWHHWKH3UHIHUHQFH6KDUHV3D\LQJ$JHQWWKH
   +ROGHUVRIWKH6HFXULWLHVRUDQ\RWKHUSHUVRQWKDWDULVHRXWRIRULQFRQQHFWLRQZLWKWKHSHUIRUPDQFHE\
   WKH6HUYLFHURILWVGXWLHVXQGHUWKLV$JUHHPHQWDQGXQGHUWKHWHUPVRIWKHRWKHU7UDQVDFWLRQ'RFXPHQWV
   PDGHDSSOLFDEOHWRLWSXUVXDQWWRWKHWHUPVRIWKLV$JUHHPHQWH[FHSWE\UHDVRQRI L DFWVRURPLVVLRQV
   FRQVWLWXWLQJ EDG IDLWK ZLOOIXO PLVFRQGXFW JURVV QHJOLJHQFH RU EUHDFK RI ILGXFLDU\ GXW\ LQ WKH
   SHUIRUPDQFHRUUHFNOHVVGLVUHJDUGRIWKHREOLJDWLRQVRIWKH6HUYLFHUKHUHXQGHUDQGXQGHUWKHWHUPVRIWKH
   RWKHU7UDQVDFWLRQ'RFXPHQWVPDGHDSSOLFDEOHWRLWSXUVXDQWWRWKHWHUPVRIWKLV$JUHHPHQWRU LL ZLWK
   UHVSHFWWRDQ\LQIRUPDWLRQLQFOXGHGLQWKH2IIHULQJ0HPRUDQGXPLQWKHVHFWLRQHQWLWOHG³7KH6HUYLFHU´
   WKDWFRQWDLQVDQ\XQWUXHVWDWHPHQWRIPDWHULDOIDFWRURPLWVWRVWDWHDPDWHULDOIDFWQHFHVVDU\LQRUGHUWR
   PDNH WKH VWDWHPHQWV WKHUHLQ LQ WKH OLJKW RI WKH FLUFXPVWDQFHV XQGHU ZKLFK WKH\ ZHUH PDGH QRW
   PLVOHDGLQJ WKH SUHFHGLQJ FODXVHV L  DQG LL  FROOHFWLYHO\ EHLQJ WKH ³6HUYLFHU %UHDFKHV´   )RU WKH


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   DYRLGDQFHRIGRXEWWKH6HUYLFHUVKDOOKDYHQRGXW\WRLQGHSHQGHQWO\LQYHVWLJDWHDQ\ODZVQRWRWKHUZLVH
   NQRZQ WR LW LQ FRQQHFWLRQ ZLWK LWV REOLJDWLRQV XQGHU WKLV $JUHHPHQW WKH ,QGHQWXUH DQG WKH RWKHU
   7UDQVDFWLRQ'RFXPHQWV7KH6HUYLFHUVKDOOEHGHHPHGWRKDYHVDWLVILHGWKHUHTXLUHPHQWVRIWKH,QGHQWXUH
   DQGWKLV$JUHHPHQWUHODWLQJWRQRWFDXVLQJWKH,VVXHUWREHWUHDWHGDVHQJDJHGLQDWUDGHRUEXVLQHVVLQWKH
   8QLWHG 6WDWHV IRU 86IHGHUDO LQFRPH WD[ SXUSRVHV LQFOXGLQJ DV WKRVH UHTXLUHPHQWV UHODWH WR WKH
   DFTXLVLWLRQ LQFOXGLQJPDQQHURIDFTXLVLWLRQ RZQHUVKLSHQIRUFHPHQWDQGGLVSRVLWLRQRI&ROODWHUDO WR
   WKHH[WHQWWKH6HUYLFHUFRPSOLHV ZLWKWKHUHTXLUHPHQWVVHWIRUWKLQ$QQH[KHUHWR XQOHVV WKH6HUYLFHU
   NQRZVWKDWDVDUHVXOWRIDFKDQJHLQODZWKHLQYHVWPHQWUHVWULFWLRQVVHWIRUWKLQ$QQH[PD\QRORQJHUEH
   UHOLHGXSRQ 

                               E        7KH ,VVXHU VKDOO LQGHPQLI\ DQG KROG KDUPOHVV WKH ,VVXHU LQ VXFK FDVH
   WKH ³,QGHPQLI\LQJ 3DUW\´  WKH 6HUYLFHU LWV GLUHFWRUV RIILFHUV VWRFNKROGHUV SDUWQHUV DJHQWV DQG
   HPSOR\HHV VXFKSDUWLHVFROOHFWLYHO\LQVXFKFDVHWKH³,QGHPQLILHG3DUWLHV´ IURPDQGDJDLQVWDQ\DQGDOO
   /LDELOLWLHV DQG VKDOO UHLPEXUVH HDFK VXFK ,QGHPQLILHG 3DUW\ IRU DOO UHDVRQDEOH IHHV DQG H[SHQVHV
    LQFOXGLQJUHDVRQDEOHIHHVDQGH[SHQVHVRIFRXQVHO  FROOHFWLYHO\WKH³([SHQVHV´ DVVXFK([SHQVHVDUH
   LQFXUUHGLQLQYHVWLJDWLQJSUHSDULQJSXUVXLQJRUGHIHQGLQJDQ\FODLPDFWLRQSURFHHGLQJRULQYHVWLJDWLRQ
   ZLWKUHVSHFWWRDQ\SHQGLQJRUWKUHDWHQHGOLWLJDWLRQ FROOHFWLYHO\WKH³$FWLRQV´ FDXVHGE\RUDULVLQJRXW
   RI RU LQ FRQQHFWLRQ ZLWK WKH LVVXDQFH RI WKH 6HFXULWLHV WKH WUDQVDFWLRQV FRQWHPSODWHG E\ WKH 2IIHULQJ
   0HPRUDQGXPWKH,QGHQWXUHRUWKLV$JUHHPHQWDQGRUDQ\DFWLRQWDNHQE\RUDQ\IDLOXUHWRDFWE\VXFK
   ,QGHPQLILHG3DUW\SURYLGHGKRZHYHUWKDWQR,QGHPQLILHG3DUW\VKDOOEHLQGHPQLILHGIRUDQ\/LDELOLWLHV
   RU([SHQVHVLWLQFXUVDVDUHVXOWRIDQ\DFWVRURPLVVLRQVE\DQ\,QGHPQLILHG3DUW\FRQVWLWXWLQJ6HUYLFHU
   %UHDFKHV1RWZLWKVWDQGLQJDQ\WKLQJFRQWDLQHGKHUHLQWRWKHFRQWUDU\WKHREOLJDWLRQVRIWKH,VVXHUXQGHU
   WKLV6HFWLRQVKDOOEHSD\DEOHVROHO\RXWRIWKH&ROODWHUDOLQDFFRUGDQFHZLWKDQGVXEMHFWWRWKH3ULRULW\
   RI3D\PHQWVDQGVKDOOVXUYLYHWHUPLQDWLRQRIWKLV$JUHHPHQW

                               F      :LWK UHVSHFW WR DQ\ FODLP PDGH RU WKUHDWHQHG DJDLQVW DQ ,QGHPQLILHG
   3DUW\RUFRPSXOVRU\SURFHVVRUUHTXHVWRURWKHUQRWLFHRIDQ\ORVVFODLPGDPDJHRUOLDELOLW\VHUYHGXSRQ
   DQ ,QGHPQLILHG 3DUW\ IRU ZKLFK VXFK ,QGHPQLILHG 3DUW\ LV RU PD\ EH HQWLWOHG WR LQGHPQLILFDWLRQ XQGHU
   WKLV 6HFWLRQ VXFK ,QGHPQLILHG 3DUW\ VKDOO RU ZLWK UHVSHFW WR ,QGHPQLILHG 3DUWLHV WKDW DUH GLUHFWRUV
   RIILFHUV VWRFNKROGHUV DJHQWV RU HPSOR\HHV RI WKH 6HUYLFHU WKH 6HUYLFHU VKDOO FDXVH VXFK ,QGHPQLILHG
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                                       L       JLYH ZULWWHQ QRWLFH WR WKH ,QGHPQLI\LQJ 3DUW\ RI VXFK FODLP
                     ZLWKLQ WHQ   GD\V DIWHU VXFK ,QGHPQLILHG 3DUW\¶V UHFHLSW RI DFWXDO QRWLFH WKDW VXFK
                     FODLP LV PDGH RU WKUHDWHQHG ZKLFK QRWLFH WR WKH ,QGHPQLI\LQJ 3DUW\ VKDOO VSHFLI\ LQ
                     UHDVRQDEOHGHWDLOWKHQDWXUHRIWKHFODLPDQGWKHDPRXQW RUDQHVWLPDWHRIWKHDPRXQW RI
                     WKHFODLPSURYLGHGKRZHYHUWKDWWKHIDLOXUHRIDQ\,QGHPQLILHG3DUW\WRSURYLGHVXFK
                     QRWLFH WR WKH ,QGHPQLI\LQJ 3DUW\ VKDOO QRW UHOLHYH WKH ,QGHPQLI\LQJ 3DUW\ RI LWV
                     REOLJDWLRQVXQGHUWKLV6HFWLRQXQOHVVWKH,QGHPQLI\LQJ3DUW\LVPDWHULDOO\SUHMXGLFHG
                     RURWKHUZLVHIRUIHLWVULJKWVRUGHIHQVHVE\UHDVRQRIVXFKIDLOXUH

                                          LL  DW WKH ,QGHPQLI\LQJ 3DUW\¶V H[SHQVH SURYLGH WKH ,QGHPQLI\LQJ
                     3DUW\ VXFK LQIRUPDWLRQ DQG FRRSHUDWLRQ ZLWK UHVSHFW WR VXFK FODLP DV WKH ,QGHPQLI\LQJ
                     3DUW\PD\UHDVRQDEO\UHTXLUHLQFOXGLQJEXWQRWOLPLWHGWRPDNLQJDSSURSULDWHSHUVRQQHO
                     DYDLODEOH WR WKH ,QGHPQLI\LQJ 3DUW\ DW VXFK UHDVRQDEOH WLPHV DV WKH ,QGHPQLI\LQJ 3DUW\
                     PD\UHTXHVW

                                        LLL  DWWKH,QGHPQLI\LQJ3DUW\¶VH[SHQVHFRRSHUDWHDQGWDNHDOOVXFK
                     VWHSV DV WKH ,QGHPQLI\LQJ 3DUW\ PD\ UHDVRQDEO\ UHTXHVW WR SUHVHUYH DQG SURWHFW DQ\
                     GHIHQVHWRVXFKFODLP




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                                       LY  LQ WKH HYHQW VXLW LV EURXJKW ZLWK UHVSHFW WR VXFK FODLP XSRQ
                     UHDVRQDEOH SULRU QRWLFH DIIRUG WR WKH ,QGHPQLI\LQJ 3DUW\ WKH ULJKW ZKLFK WKH
                     ,QGHPQLI\LQJ3DUW\PD\H[HUFLVHLQLWVVROHGLVFUHWLRQDQGDWLWVH[SHQVHWRSDUWLFLSDWHLQ
                     WKHLQYHVWLJDWLRQGHIHQVHDQGVHWWOHPHQWRIVXFKFODLP

                                       Y     QHLWKHULQFXUDQ\PDWHULDOH[SHQVHWRGHIHQGDJDLQVWQRUUHOHDVH
                     RUVHWWOHDQ\VXFKFODLPRUPDNHDQ\DGPLVVLRQZLWKUHVSHFWWKHUHWR RWKHUWKDQURXWLQHRU
                     LQFRQWHVWDEOHDGPLVVLRQVRUIDFWXDODGPLVVLRQVWKHIDLOXUHWRPDNHZKLFKZRXOGH[SRVH
                     VXFK,QGHPQLILHG3DUW\WRXQLQGHPQLILHGOLDELOLW\ QRUSHUPLWDGHIDXOWRUFRQVHQWWRWKH
                     HQWU\RIDQ\MXGJPHQWLQUHVSHFWWKHUHRILQHDFKFDVHZLWKRXWWKHSULRUZULWWHQFRQVHQWRI
                     WKH,QGHPQLI\LQJ3DUW\DQG

                                           YL  XSRQ UHDVRQDEOH SULRU QRWLFH DIIRUG WR WKH ,QGHPQLI\LQJ 3DUW\
                     WKH ULJKW LQ LWV VROH GLVFUHWLRQ DQG DW LWV VROH H[SHQVH WR DVVXPH WKH GHIHQVH RI VXFK
                     FODLPLQFOXGLQJEXWQRWOLPLWHGWRWKHULJKWWRGHVLJQDWHFRXQVHOUHDVRQDEO\DFFHSWDEOH
                     WRWKH,QGHPQLILHG3DUW\DQGWRFRQWURODOOQHJRWLDWLRQVOLWLJDWLRQDUELWUDWLRQVHWWOHPHQWV
                     FRPSURPLVHVDQGDSSHDOVRIVXFKFODLPSURYLGHGWKDWLIWKH,QGHPQLI\LQJ3DUW\DVVXPHV
                     WKHGHIHQVHRIVXFKFODLPLWVKDOOQRWEHOLDEOHIRUDQ\IHHVDQGH[SHQVHVRIFRXQVHOIRU
                     DQ\ ,QGHPQLILHG 3DUW\ LQFXUUHG WKHUHDIWHU LQ FRQQHFWLRQ ZLWK VXFK FODLP H[FHSW WKDW LI
                     VXFK ,QGHPQLILHG 3DUW\ UHDVRQDEO\ GHWHUPLQHV WKDW FRXQVHO GHVLJQDWHG E\ WKH
                     ,QGHPQLI\LQJ3DUW\KDVDFRQIOLFWRILQWHUHVWLQFRQQHFWLRQZLWKLWVUHSUHVHQWDWLRQRIVXFK
                     ,QGHPQLILHG 3DUW\ VXFK ,QGHPQLI\LQJ 3DUW\ VKDOO SD\ WKH UHDVRQDEOH IHHV DQG
                     GLVEXUVHPHQWV RI RQH FRXQVHO LQ DGGLWLRQ WR DQ\ ORFDO FRXQVHO  VHSDUDWH IURP LWV RZQ
                     FRXQVHO IRU DOO ,QGHPQLILHG 3DUWLHV LQ FRQQHFWLRQ ZLWK DQ\ RQH DFWLRQ RU VHSDUDWH EXW
                     VLPLODU RU UHODWHG DFWLRQV LQ WKH VDPH MXULVGLFWLRQ DULVLQJ RXW RI WKH VDPH JHQHUDO
                     DOOHJDWLRQV RU FLUFXPVWDQFHV SURYLGHG IXUWKHU WKDW SULRU WR HQWHULQJ LQWR DQ\ ILQDO
                     VHWWOHPHQW RU FRPSURPLVH VXFK ,QGHPQLI\LQJ 3DUW\ VKDOO VHHN WKH FRQVHQW RI WKH
                     ,QGHPQLILHG 3DUW\ DQG XVH LWV FRPPHUFLDOO\ UHDVRQDEOH HIIRUWV LQ WKH OLJKW RI WKH WKHQ
                     SUHYDLOLQJ FLUFXPVWDQFHV LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DQ\ H[SUHVV RU LPSOLHG WLPH
                     FRQVWUDLQW RQ DQ\ SHQGLQJ VHWWOHPHQW RIIHU  WR REWDLQ WKH FRQVHQW RI VXFK ,QGHPQLILHG
                     3DUW\ DV WR WKH WHUPV RI VHWWOHPHQW RU FRPSURPLVH  ,I DQ ,QGHPQLILHG 3DUW\ GRHV QRW
                     FRQVHQW WR WKH VHWWOHPHQW RU FRPSURPLVH ZLWKLQ D UHDVRQDEOH WLPH XQGHU WKH
                     FLUFXPVWDQFHVWKH,QGHPQLI\LQJ3DUW\VKDOOQRWWKHUHDIWHUEHREOLJDWHGWRLQGHPQLI\WKH
                     ,QGHPQLILHG3DUW\IRUDQ\DPRXQWLQH[FHVVRIVXFKSURSRVHGVHWWOHPHQWRUFRPSURPLVH

                            G        ,Q WKH HYHQW WKDW DQ\ ,QGHPQLILHG 3DUW\ ZDLYHV LWV ULJKW WR
   LQGHPQLILFDWLRQ KHUHXQGHU WKH ,QGHPQLI\LQJ 3DUW\ VKDOO QRW EH HQWLWOHG WR DSSRLQW FRXQVHO WR UHSUHVHQW
   VXFK,QGHPQLILHG3DUW\QRUVKDOOWKH,QGHPQLI\LQJ3DUW\UHLPEXUVHVXFK,QGHPQLILHG3DUW\IRUDQ\FRVWV
   RIFRXQVHOWRVXFK,QGHPQLILHG3DUW\

                             H     7KH 86 IHGHUDO VHFXULWLHV ODZV LPSRVH OLDELOLWLHV XQGHU FHUWDLQ
   FLUFXPVWDQFHVRQSHUVRQVZKRDFWLQJRRGIDLWKDFFRUGLQJO\QRWZLWKVWDQGLQJDQ\RWKHUSURYLVLRQRIWKLV
   $JUHHPHQW QRWKLQJ KHUHLQ VKDOO LQ DQ\ ZD\ FRQVWLWXWH D ZDLYHU RU OLPLWDWLRQ RI DQ\ ULJKWV ZKLFK WKH
   ,VVXHURUWKH+ROGHUVRIWKH6HFXULWLHVPD\KDYHXQGHUDQ\86IHGHUDOVHFXULWLHVODZV

                          1R3DUWQHUVKLSRU-RLQW9HQWXUH

                     7KH,VVXHUDQGWKH6HUYLFHUDUHQRWSDUWQHUVRUMRLQWYHQWXUHUVZLWKHDFKRWKHUDQGQRWKLQJ
   KHUHLQVKDOOEHFRQVWUXHGWRPDNHWKHPVXFKSDUWQHUVRUMRLQWYHQWXUHUVRULPSRVHDQ\OLDELOLW\DVVXFKRQ
   HLWKHU RI WKHP 7KH 6HUYLFHU¶V UHODWLRQ WR WKH ,VVXHU VKDOO EH GHHPHG WR EH WKDW RI DQ LQGHSHQGHQW
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                           7HUP7HUPLQDWLRQ

                                D      7KLV$JUHHPHQWVKDOOFRPPHQFHDVRIWKHGDWHILUVWVHWIRUWKDERYHDQG
   VKDOO FRQWLQXH LQ IRUFH DQG HIIHFW XQWLO WKH ILUVW RI WKH IROORZLQJ RFFXUV L  WKH SD\PHQW LQ IXOO RI WKH
   1RWHV WKH WHUPLQDWLRQ RI WKH ,QGHQWXUH LQ DFFRUGDQFH ZLWK LWV WHUPV DQG WKH UHGHPSWLRQ LQ IXOO RI WKH
   3UHIHUHQFH6KDUHV LL WKHOLTXLGDWLRQRIWKH&ROODWHUDODQGWKHILQDOGLVWULEXWLRQRIWKHSURFHHGVRIVXFK
   OLTXLGDWLRQWRWKH+ROGHUVRIWKH6HFXULWLHVRU LLL WKHWHUPLQDWLRQRIWKLV$JUHHPHQWLQDFFRUGDQFHZLWK
   VXEVHFWLRQ E  F  G RU H RIWKLV6HFWLRQRU6HFWLRQRIWKLV$JUHHPHQW

                             E      6XEMHFWWR6HFWLRQ H EHORZWKH6HUYLFHU PD\UHVLJQXSRQGD\V¶
   ZULWWHQQRWLFHWRWKH,VVXHU RUVXFKVKRUWHUQRWLFHDVLVDFFHSWDEOHWRWKH,VVXHU ,IWKH6HUYLFHUUHVLJQV
   WKH,VVXHUDJUHHVWRDSSRLQWDVXFFHVVRUVHUYLFHUWRDVVXPHVXFKGXWLHVDQGREOLJDWLRQVLQDFFRUGDQFHZLWK
   6HFWLRQ H 

                              F      7KLV $JUHHPHQW VKDOO EH DXWRPDWLFDOO\ WHUPLQDWHG LQ WKH HYHQW WKDW WKH
   ,VVXHU GHWHUPLQHV LQ JRRG IDLWK WKDW WKH ,VVXHU RU WKH SRRO RI &ROODWHUDO KDV EHFRPH UHTXLUHG WR EH
   UHJLVWHUHG XQGHU WKH SURYLVLRQV RI WKH ,QYHVWPHQW &RPSDQ\ $FW DQG WKH ,VVXHU QRWLILHV WKH 6HUYLFHU
   WKHUHRI

                             G      ,IWKLV$JUHHPHQWLVWHUPLQDWHGSXUVXDQWWRWKLV6HFWLRQQHLWKHUSDUW\
   VKDOOKDYHDQ\IXUWKHUOLDELOLW\RUREOLJDWLRQWRWKHRWKHUH[FHSWDVSURYLGHGLQ6HFWLRQV F L DQG
   RIWKLV$JUHHPHQW

                                H       1RUHPRYDORUUHVLJQDWLRQRIWKH6HUYLFHUVKDOOEHHIIHFWLYHXQOHVV

                                          L        $  WKH ,VVXHU DSSRLQWV D VXFFHVVRU VHUYLFHU DW WKH ZULWWHQ
                      GLUHFWLRQRID0DMRULW\RIWKH3UHIHUHQFH6KDUHV H[FOXGLQJDQ\3UHIHUHQFH6KDUHVKHOGE\
                      WKHUHWLULQJ6HUYLFHUDQ\RILWV$IILOLDWHVRUDQ\DFFRXQWRYHUZKLFKWKHUHWLULQJ6HUYLFHU
                      RULWV$IILOLDWHVKDYHGLVFUHWLRQDU\YRWLQJDXWKRULW\RWKHUWKDQZLWKUHVSHFWWRWKH&ODVV,,
                      3UHIHUHQFH6KDUHVRZQHGE\+)3RULWVVXEVLGLDULHVSURYLGHGWKDWZLWKUHVSHFWWRWKH
                      YRWLQJDXWKRULW\RI&ODVV,,3UHIHUHQFH6KDUHVRZQHGE\+)3RUDQ\RILWVVXEVLGLDULHV
                      VXFKYRWHVKDOOQRWEHH[FOXGHGRQO\LIVXFKYRWHLVGHWHUPLQHGE\DYRWHRIWKHPDMRULW\
                      RIWKH³LQGHSHQGHQWGLUHFWRUV´ GHWHUPLQHGLQDFFRUGDQFHZLWKWKHJRYHUQLQJGRFXPHQWV
                      RI +)3 RU VXFK VXEVLGLDULHV DQG FHUWLILHG LQ ZULWLQJ WR WKH 3UHIHUHQFH 6KDUHV 3D\LQJ
                      $JHQWE\DQ\RIWKH³LQGHSHQGHQWGLUHFWRUV´RI+)3 RI+)3RUVXFKVXEVLGLDULHV  HDFK
                      VXFK QRQH[FOXGHG 3UHIHUHQFH 6KDUH D ³9RWLQJ 3UHIHUHQFH 6KDUH´  %  VXFK VXFFHVVRU
                      VHUYLFHU KDV DJUHHG LQ ZULWLQJ WR DVVXPH DOO RI WKH UHWLULQJ 6HUYLFHU¶V GXWLHV DQG
                      REOLJDWLRQVSXUVXDQWWRWKLV$JUHHPHQWDQGWKH,QGHQWXUHDQG & VXFKVXFFHVVRUVHUYLFHU
                      LV QRW REMHFWHG WR ZLWKLQ  GD\V DIWHU QRWLFH RI VXFK VXFFHVVLRQ E\ HLWKHU [  D 6XSHU
                      0DMRULW\ RI WKH &RQWUROOLQJ &ODVV RI 1RWHV H[FOXGLQJ DQ\ 1RWHV KHOG E\ WKH UHWLULQJ
                      6HUYLFHU LWV $IILOLDWHV RU DQ\ DFFRXQW RYHU ZKLFK WKH UHWLULQJ 6HUYLFHU RU LWV $IILOLDWHV
                      KDYH GLVFUHWLRQDU\ YRWLQJ DXWKRULW\ RWKHU WKDQ +)3 SURYLGHG WKDW ZLWK UHVSHFW WR WKH
                      YRWLQJDXWKRULW\RI1RWHVRZQHGE\+)3RUDQ\RILWVVXEVLGLDULHVVXFKYRWHVKDOOQRWEH
                      H[FOXGHG RQO\ LI VXFKYRWH LV GHWHUPLQHG E\ DYRWHRI WKH PDMRULW\ RI WKH ³LQGHSHQGHQW
                      GLUHFWRUV´ GHWHUPLQHG LQ DFFRUGDQFH ZLWK WKH JRYHUQLQJ GRFXPHQWV RI +)3 RU VXFK
                      VXEVLGLDULHVDQGFHUWLILHGLQZULWLQJWRWKH7UXVWHHE\DQ\RIWKH³LQGHSHQGHQWGLUHFWRUV´
                      RI+)3 RI+)3RUVXFKVXEVLGLDULHV  HDFKVXFKQRQH[FOXGHG1RWHD³9RWLQJ1RWH´ RU
                       \ D0DMRULW\LQ$JJUHJDWH2XWVWDQGLQJ$PRXQWRIWKH9RWLQJ1RWHV YRWLQJDVDVLQJOH
                      FODVV RU




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                                         LL     LID0DMRULW\RIWKH9RWLQJ3UHIHUHQFH6KDUHVKDVQRPLQDWHGWZR
                     RUPRUHVXFFHVVRUVHUYLFHUVWKDWKDYHEHHQREMHFWHGWRSXUVXDQWWRWKHSUHFHGLQJFODXVH
                      L & RUKDVIDLOHGWRDSSRLQWDVXFFHVVRUVHUYLFHUWKDWKDVQRWEHHQREMHFWHGWRSXUVXDQW
                     WR WKH SUHFHGLQJ FODXVH L &  ZLWKLQ  GD\V RI WKH GDWH RI QRWLFH RI VXFK UHPRYDO RU
                     UHVLJQDWLRQ RI WKH 6HUYLFHU $  WKH ,VVXHU DSSRLQWV D VXFFHVVRU VHUYLFHU DW WKH ZULWWHQ
                     GLUHFWLRQRID6XSHU0DMRULW\RIWKH&RQWUROOLQJ&ODVVRI1RWHV H[FOXGLQJDQ\1RWHVWKDW
                     DUHQRW9RWLQJ1RWHV  % VXFKVXFFHVVRUVHUYLFHUKDVDJUHHGLQZULWLQJWRDVVXPHDOORI
                     WKH UHWLULQJ 6HUYLFHU¶V GXWLHV DQG REOLJDWLRQV SXUVXDQW WR WKLV $JUHHPHQW DQG WKH
                     ,QGHQWXUHDQG & VXFKVXFFHVVRUVHUYLFHULVQRWREMHFWHGWRZLWKLQGD\VDIWHUQRWLFHRI
                     VXFK VXFFHVVLRQ E\ HLWKHU [  D 0DMRULW\ RI WKH 9RWLQJ 3UHIHUHQFH 6KDUHV YRWLQJ DV D
                     VLQJOH FODVV  RU \  D 0DMRULW\ LQ $JJUHJDWH 2XWVWDQGLQJ $PRXQW RI WKH 9RWLQJ 1RWHV
                      YRWLQJDVDVLQJOHFODVV SURYLGHGWKDW LI D 0DMRULW\ RI WKH 9RWLQJ 3UHIHUHQFH 6KDUHV
                     DQGD6XSHU0DMRULW\RIWKH&RQWUROOLQJ&ODVV H[FOXGLQJDQ\1RWHVWKDWDUHQRW9RWLQJ
                     1RWHV KDYHHDFKQRPLQDWHGWZRRUPRUHVXFFHVVRUVHUYLFHUVWKDWKDYHEHHQREMHFWHGWR
                     SXUVXDQWWRWKHSUHFHGLQJFODXVHV L & DQG LL & RUKDYHRWKHUZLVHIDLOHGWRDSSRLQWD
                     VXFFHVVRUVHUYLFHUWKDWKDVQRWEHHQREMHFWHGWRSXUVXDQWWRWKHSUHFHGLQJFODXVH L & RU
                      LL &  ZLWKLQ  GD\V RI WKH GDWH RI QRWLFH RI VXFK UHPRYDO RU UHVLJQDWLRQ RI WKH
                     6HUYLFHU $  DQ\ +ROGHU RI WKH &RQWUROOLQJ &ODVV H[FOXGLQJ DQ\ 1RWHV WKDW DUH QRW
                     9RWLQJ1RWHV DQ\+ROGHURI9RWLQJ3UHIHUHQFH6KDUHVRUWKH7UXVWHHSHWLWLRQVDFRXUWRI
                     FRPSHWHQWDXWKRULW\WRDSSRLQWDVXFFHVVRUVHUYLFHU % VXFKFRXUWDSSRLQWVDVXFFHVVRU
                     VHUYLFHUDQG & VXFKVXFFHVVRUVHUYLFHUKDVDJUHHGLQZULWLQJWRDVVXPHDOORIWKHUHWLULQJ
                     6HUYLFHU¶VGXWLHVDQGREOLJDWLRQVSXUVXDQWWRWKLV$JUHHPHQWDQGWKH,QGHQWXUH

                     ,Q DGGLWLRQ DQ\ VXFFHVVRU VHUYLFHU PXVW EH DQ HVWDEOLVKHG LQVWLWXWLRQ ZKLFK L  KDV
   GHPRQVWUDWHGDQDELOLW\WRSURIHVVLRQDOO\DQGFRPSHWHQWO\SHUIRUPGXWLHVVLPLODUWRWKRVHLPSRVHGXSRQ
   WKH 6HUYLFHU KHUHXQGHU LL  LV OHJDOO\ TXDOLILHG DQG KDV WKH FDSDFLW\ WR DFW DV 6HUYLFHU KHUHXQGHU DV
   VXFFHVVRUWRWKH6HUYLFHUXQGHUWKLV$JUHHPHQWLQWKHDVVXPSWLRQRIDOORIWKHUHVSRQVLELOLWLHVGXWLHVDQG
   REOLJDWLRQVRIWKH6HUYLFHUKHUHXQGHUDQGXQGHUWKHDSSOLFDEOHWHUPVRIWKH,QGHQWXUH LLL VKDOOQRWFDXVH
   WKH,VVXHURUWKHSRRORI&ROODWHUDOWREHFRPHUHTXLUHGWRUHJLVWHUXQGHUWKHSURYLVLRQVRIWKH,QYHVWPHQW
   &RPSDQ\$FW LY VKDOOSHUIRUPLWVGXWLHVDVVXFFHVVRUVHUYLFHUXQGHUWKLV$JUHHPHQWDQGWKH,QGHQWXUH
   ZLWKRXWFDXVLQJWKH,VVXHUWKH&R,VVXHURUDQ\+ROGHURI3UHIHUHQFH6KDUHVWREHFRPHVXEMHFWWRWD[LQ
   DQ\ MXULVGLFWLRQ ZKHUH VXFK VXFFHVVRU VHUYLFHU LV HVWDEOLVKHG DV GRLQJ EXVLQHVV DQG Y  HDFK 5DWLQJ
   $JHQF\ KDV FRQILUPHG WKDW WKH DSSRLQWPHQW RI VXFK VXFFHVVRU VHUYLFHU VKDOO QRW FDXVH LWV WKHQFXUUHQW
   UDWLQJ RI DQ\ &ODVV RI 1RWHV WR EH UHGXFHG RU ZLWKGUDZQ  1R FRPSHQVDWLRQ SD\DEOH WR D VXFFHVVRU
   VHUYLFHUIURPSD\PHQWVRQWKH&ROODWHUDOVKDOOEHJUHDWHUWKDQWKDWSDLGWRWKHUHWLULQJ6HUYLFHUZLWKRXWWKH
   SULRUZULWWHQFRQVHQWRID6XSHU0DMRULW\RIWKH&RQWUROOLQJ&ODVVRI1RWHVD0DMRULW\RIWKH1RWHKROGHUV
   DQG D 0DMRULW\ RI WKH 3UHIHUHQFH 6KDUHV  7KH ,VVXHU WKH 7UXVWHH DQG WKH VXFFHVVRU VHUYLFHU VKDOO WDNH
   VXFK DFWLRQ RU FDXVH WKH UHWLULQJ 6HUYLFHU WR WDNH VXFK DFWLRQ  FRQVLVWHQW ZLWK WKLV $JUHHPHQW DQG WKH
   WHUPVRIWKH,QGHQWXUHDSSOLFDEOHWRWKH6HUYLFHUDVVKDOOEHQHFHVVDU\WRHIIHFWXDWHDQ\VXFKVXFFHVVLRQ

                              I      ,QWKHHYHQWRIUHPRYDORIWKH6HUYLFHUSXUVXDQWWRWKLV$JUHHPHQWWKH
   ,VVXHUVKDOOKDYHDOORIWKHULJKWVDQGUHPHGLHVDYDLODEOHZLWKUHVSHFWWKHUHWRDWODZRUHTXLW\DQGZLWKRXW
   OLPLWLQJWKHIRUHJRLQJWKH,VVXHURUWRWKHH[WHQWVRSURYLGHGLQWKH,QGHQWXUHWKH7UXVWHHPD\E\QRWLFH
   LQZULWLQJWRWKH6HUYLFHUDVSURYLGHGXQGHUWKLV$JUHHPHQWWHUPLQDWHDOOWKHULJKWVDQGREOLJDWLRQVRIWKH
   6HUYLFHU XQGHU WKLV $JUHHPHQW H[FHSW WKRVH WKDW VXUYLYH WHUPLQDWLRQ SXUVXDQW WR 6HFWLRQ  G  DERYH 
   8SRQH[SLUDWLRQRIWKHDSSOLFDEOHQRWLFHSHULRGZLWKUHVSHFWWRWHUPLQDWLRQVSHFLILHGLQWKLV6HFWLRQRU
   6HFWLRQRIWKLV$JUHHPHQWDVDSSOLFDEOHDOODXWKRULW\DQGSRZHURIWKH6HUYLFHUXQGHUWKLV$JUHHPHQW
   ZKHWKHUZLWKUHVSHFWWRWKH&ROODWHUDORURWKHUZLVHVKDOODXWRPDWLFDOO\DQGZLWKRXWIXUWKHUDFWLRQE\DQ\
   SHUVRQRUHQWLW\SDVVWRDQGEHYHVWHGLQWKHVXFFHVVRUVHUYLFHUXSRQWKHDSSRLQWPHQWWKHUHRI




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                    7KLV $JUHHPHQW DQG DQ\ REOLJDWLRQV RU GXWLHV RI WKH 6HUYLFHU KHUHXQGHU VKDOO QRW EH
   GHOHJDWHGE\WKH6HUYLFHULQZKROHRULQSDUWH[FHSWWRDQ\HQWLW\WKDW L LVFRQWUROOHGE\DQ\RI-DPHV
   'RQGHUR0DUN2NDGDDQG7RGG7UDYHUVDQG LL LVRQHLQZKLFKDQ\RI-DPHV'RQGHUR0DUN2NDGDDQG
   7RGG7UDYHUVLVLQYROYHGLQWKHGD\WRGD\PDQDJHPHQWDQGRSHUDWLRQV DQGLQDQ\VXFKFDVHSXUVXDQWWR
   DQ LQVWUXPHQW RI GHOHJDWLRQ LQ IRUP DQG VXEVWDQFH VDWLVIDFWRU\ WR WKH ,VVXHU  ZLWKRXW WKH SULRU ZULWWHQ
   FRQVHQWRIWKH,VVXHUD6XSHU0DMRULW\RIWKH&RQWUROOLQJ&ODVVRI1RWHV H[FOXGLQJDQ\1RWHVWKDWDUH
   QRW9RWLQJ1RWHV DQGD0DMRULW\RIWKH9RWLQJ3UHIHUHQFH6KDUHVDQGQRWZLWKVWDQGLQJDQ\VXFKFRQVHQW
   QRGHOHJDWLRQRIREOLJDWLRQVRUGXWLHVE\WKH6HUYLFHU LQFOXGLQJZLWKRXWOLPLWDWLRQWRDQHQWLW\GHVFULEHG
   DERYH VKDOOUHOLHYHWKH6HUYLFHUIURPDQ\OLDELOLW\KHUHXQGHU

                      6XEMHFW WR 6HFWLRQ DQ\ DVVLJQPHQW RI WKLV $JUHHPHQW WR DQ\3HUVRQ LQ ZKROH RU LQ
   SDUWE\WKH6HUYLFHUVKDOOEHGHHPHGQXOODQGYRLGXQOHVV L VXFKDVVLJQPHQWLVFRQVHQWHGWRLQZULWLQJ
   E\ WKH ,VVXHU D 0DMRULW\ RI 1RWHKROGHUV DQG WKH +ROGHUV RI D 0DMRULW\ RI WKH 3UHIHUHQFH 6KDUHV
    H[FOXGLQJ1RWHVDQG3UHIHUHQFH6KDUHVKHOGE\WKH6HUYLFHURUDQ\RILWV$IILOLDWHVRWKHUWKDQ+)3 DQG
    LL WKH5DWLQJ&RQGLWLRQLVVDWLVILHGZLWKUHVSHFWWRDQ\VXFKDVVLJQPHQW$Q\DVVLJQPHQWFRQVHQWHGWR
   E\ WKH ,VVXHU D 0DMRULW\ RI 1RWHKROGHUV DQG WKH +ROGHUV RI 3UHIHUHQFH 6KDUHV VKDOO ELQG WKH DVVLJQHH
   KHUHXQGHULQWKHVDPHPDQQHUDVWKH6HUYLFHULVERXQG,QDGGLWLRQWKHDVVLJQHHVKDOOH[HFXWHDQGGHOLYHU
   WRWKH,VVXHUDQGWKH7UXVWHHDFRXQWHUSDUWRIWKLV$JUHHPHQWQDPLQJVXFKDVVLJQHHDV6HUYLFHU8SRQWKH
   H[HFXWLRQDQGGHOLYHU\RIVXFKDFRXQWHUSDUWE\WKHDVVLJQHHDQGFRQVHQWWKHUHWRE\WKH,VVXHUD0DMRULW\
   RI 1RWHKROGHUV DQG WKH +ROGHUV RI WKH 3UHIHUHQFH 6KDUHV WKH 6HUYLFHU VKDOO EH UHOHDVHG IURP IXUWKHU
   REOLJDWLRQVSXUVXDQWWRWKLV$JUHHPHQWH[FHSWZLWKUHVSHFWWRLWVREOLJDWLRQVDULVLQJXQGHU6HFWLRQRI
   WKLV$JUHHPHQWSULRUWRVXFKDVVLJQPHQWDQGH[FHSWZLWKUHVSHFWWRLWVREOLJDWLRQVXQGHU6HFWLRQV F L 
   DQGKHUHRI7KLV$JUHHPHQWVKDOOQRWEHDVVLJQHGE\WKH,VVXHUZLWKRXWWKHSULRUZULWWHQFRQVHQWRIWKH
   6HUYLFHU DQG WKH 7UXVWHH H[FHSW LQ WKH FDVH RI DVVLJQPHQW E\ WKH ,VVXHU WR L  DQ HQWLW\ ZKLFK LV D
   VXFFHVVRUWRWKH,VVXHUSHUPLWWHGXQGHUWKH,QGHQWXUHLQZKLFKFDVHVXFKVXFFHVVRURUJDQL]DWLRQVKDOOEH
   ERXQG KHUHXQGHU DQG E\ WKH WHUPV RI VDLG DVVLJQPHQW LQ WKH VDPH PDQQHU DV WKH ,VVXHU LV ERXQG
   WKHUHXQGHURU LL WKH7UXVWHHDVFRQWHPSODWHGE\WKH,QGHQWXUH,QWKHHYHQWRIDQ\DVVLJQPHQWE\WKH
   ,VVXHUWKH,VVXHUVKDOOFDXVHLWVVXFFHVVRUWRH[HFXWHDQGGHOLYHUWRWKH6HUYLFHUVXFKGRFXPHQWVDVWKH
   6HUYLFHU VKDOO FRQVLGHU UHDVRQDEO\ QHFHVVDU\ WR HIIHFW IXOO\ VXFK DVVLJQPHQW  7KH 6HUYLFHU KHUHE\
   FRQVHQWVWRWKHPDWWHUVVHWIRUWKLQ$UWLFOHRIWKH,QGHQWXUH

                           7HUPLQDWLRQE\WKH,VVXHUIRU&DXVH

                      6XEMHFWWR6HFWLRQ H DERYHWKLV$JUHHPHQWVKDOOEHWHUPLQDWHGDQGWKH6HUYLFHUVKDOO
   EHUHPRYHGE\WKH,VVXHUIRUFDXVHXSRQGD\V¶SULRUZULWWHQQRWLFHWRWKH6HUYLFHUDQGXSRQZULWWHQ
   QRWLFH WR WKH +ROGHUV RI WKH 6HFXULWLHV DV VHW IRUWK EHORZ EXW RQO\ LI GLUHFWHG WR GR VR E\ WKH 7UXVWHH
   DFWLQJDWWKHGLUHFWLRQRI  D6XSHU0DMRULW\RIWKH&RQWUROOLQJ&ODVVRI1RWHV H[FOXGLQJDQ\1RWHVWKDW
   DUHQRW9RWLQJ1RWHV RU  D0DMRULW\RIWKH9RWLQJ3UHIHUHQFH6KDUHV H[FOXGLQJDQ\3UHIHUHQFH6KDUHV
   WKDW DUH QRW 9RWLQJ 3UHIHUHQFH 6KDUHV   )RU SXUSRVHV RI GHWHUPLQLQJ ³FDXVH´ ZLWK UHVSHFW WR DQ\ VXFK
   WHUPLQDWLRQRIWKLV$JUHHPHQWVXFKWHUPVKDOOPHDQDQ\RQHRIWKHIROORZLQJHYHQWV

                            D      WKH6HUYLFHUZLOOIXOO\EUHDFKHVLQDQ\UHVSHFWRUWDNHVDQ\DFWLRQWKDWLW
   NQRZVYLRODWHVLQDQ\UHVSHFWDQ\SURYLVLRQRIWKLV$JUHHPHQWRUDQ\WHUPVRIWKH,QGHQWXUHDSSOLFDEOHWR
   LW

                             E       WKH 6HUYLFHU EUHDFKHV LQ DQ\ PDWHULDO UHVSHFW DQ\ SURYLVLRQ RI WKLV
   $JUHHPHQWRUDQ\WHUPVRIWKH,QGHQWXUHRUWKH&ROODWHUDO$GPLQLVWUDWLRQ$JUHHPHQWDSSOLFDEOHWRLWRU
   DQ\ UHSUHVHQWDWLRQ ZDUUDQW\ FHUWLILFDWLRQ RU VWDWHPHQW JLYHQ LQ ZULWLQJ E\ WKH 6HUYLFHU VKDOO SURYH WR
   KDYHEHHQLQFRUUHFWLQDQ\PDWHULDOUHVSHFWZKHQPDGHRUJLYHQDQGWKH6HUYLFHUIDLOVWRFXUHVXFKEUHDFK


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   RUWDNHVXFKDFWLRQVRWKDWWKHIDFWV DIWHUJLYLQJHIIHFWWRVXFKDFWLRQ FRQIRUPLQDOOPDWHULDOUHVSHFWVWR
   VXFKUHSUHVHQWDWLRQZDUUDQW\FHUWLILFDWHRUVWDWHPHQWLQHDFKFDVHZLWKLQGD\VRIEHFRPLQJDZDUHRI
   RU UHFHLYLQJ QRWLFH IURP WKH 7UXVWHH RI VXFK EUHDFK RU PDWHULDOO\ LQFRUUHFW UHSUHVHQWDWLRQ ZDUUDQW\
   FHUWLILFDWHRUVWDWHPHQW

                                F        WKH6HUYLFHULVZRXQGXSRUGLVVROYHG RWKHUWKDQDGLVVROXWLRQLQZKLFK
   WKHUHPDLQLQJPHPEHUVHOHFWWRFRQWLQXHWKHEXVLQHVVRIWKH6HUYLFHULQDFFRUGDQFHZLWKLWV*RYHUQLQJ
   ,QVWUXPHQWV  RU WKHUH LV DSSRLQWHGRYHU LW RU D VXEVWDQWLDO SRUWLRQRI LWV DVVHWV D UHFHLYHU DGPLQLVWUDWRU
   DGPLQLVWUDWLYH UHFHLYHU WUXVWHH RU VLPLODU RIILFHU RU WKH 6HUYLFHU L FHDVHV WR EH DEOH WR RU DGPLWV LQ
   ZULWLQJLWVLQDELOLW\WRSD\LWVGHEWVDVWKH\EHFRPHGXHDQGSD\DEOHRUPDNHVDJHQHUDODVVLJQPHQWIRU
   WKHEHQHILWRIRUHQWHUVLQWRDQ\FRPSRVLWLRQRUDUUDQJHPHQWZLWKLWVFUHGLWRUVJHQHUDOO\ LL DSSOLHVIRU
   RU FRQVHQWV E\ DGPLVVLRQ RI PDWHULDO DOOHJDWLRQV RI D SHWLWLRQ RU RWKHUZLVH  WR WKH DSSRLQWPHQW RI D
   UHFHLYHUWUXVWHHDVVLJQHHFXVWRGLDQOLTXLGDWRURUVHTXHVWUDWRU RURWKHUVLPLODURIILFLDO RIWKH6HUYLFHU
   RU RI DQ\ VXEVWDQWLDO SDUW RI LWV SURSHUWLHV RU DVVHWV RU DXWKRUL]HV VXFK DQ DSSOLFDWLRQ RU FRQVHQW RU
   SURFHHGLQJVVHHNLQJVXFKDSSRLQWPHQWDUHFRPPHQFHGZLWKRXWVXFKDXWKRUL]DWLRQFRQVHQWRUDSSOLFDWLRQ
   DJDLQVWWKH6HUYLFHUDQGFRQWLQXHXQGLVPLVVHGIRUGD\V LLL DXWKRUL]HVRUILOHVDYROXQWDU\SHWLWLRQLQ
   EDQNUXSWF\RUDSSOLHVIRURUFRQVHQWV E\DGPLVVLRQRIPDWHULDODOOHJDWLRQVRIDSHWLWLRQRURWKHUZLVH WR
   WKH DSSOLFDWLRQ RI DQ\ EDQNUXSWF\ UHRUJDQL]DWLRQ DUUDQJHPHQW UHDGMXVWPHQW RI GHEW LQVROYHQF\ RU
   GLVVROXWLRQRUDXWKRUL]HVVXFKDSSOLFDWLRQRUFRQVHQWRUSURFHHGLQJVWRVXFKHQGDUHLQVWLWXWHGDJDLQVWWKH
   6HUYLFHU ZLWKRXW VXFK DXWKRUL]DWLRQ DSSOLFDWLRQ RU FRQVHQW DQG DUH DSSURYHG DV SURSHUO\ LQVWLWXWHG DQG
   UHPDLQXQGLVPLVVHGIRUGD\VRUUHVXOWLQDGMXGLFDWLRQRIEDQNUXSWF\RULQVROYHQF\RU LY SHUPLWVRU
   VXIIHUVDOORUDQ\VXEVWDQWLDOSDUWRILWVSURSHUWLHVRUDVVHWVWREHVHTXHVWHUHGRUDWWDFKHGE\FRXUWRUGHU
   DQGWKHRUGHUUHPDLQVXQGLVPLVVHGIRUGD\V

                               G     WKH RFFXUUHQFH RI DQ\ (YHQW RI 'HIDXOW XQGHU WKH ,QGHQWXUH WKDW UHVXOWV
   IURP DQ\ EUHDFK E\ WKH 6HUYLFHU RI LWV GXWLHV XQGHU WKH ,QGHQWXUH RU WKLV $JUHHPHQW ZKLFK EUHDFK RU
   GHIDXOWLVQRWFXUHGZLWKLQDQ\DSSOLFDEOHFXUHSHULRGRU

                               H       [ WKHRFFXUUHQFHRIDQDFWE\WKH6HUYLFHUUHODWHGWRLWVDFWLYLWLHVLQDQ\
   VHUYLFLQJ VHFXULWLHV ILQDQFLDO DGYLVRU\ RU RWKHU LQYHVWPHQW EXVLQHVV WKDW FRQVWLWXWHV IUDXG \  WKH
   6HUYLFHUEHLQJLQGLFWHGRUDQ\RILWVSULQFLSDOVEHLQJFRQYLFWHGRIDIHORQ\FULPLQDORIIHQVHUHODWHGWRLWV
   DFWLYLWLHVLQDQ\VHUYLFLQJVHFXULWLHVILQDQFLDODGYLVRU\RURWKHULQYHVWPHQWEXVLQHVVRU ] WKH6HUYLFHU
   EHLQJLQGLFWHGIRUDGMXGJHGOLDEOHLQDFLYLOVXLWIRURUFRQYLFWHGRIDYLRODWLRQRIWKH6HFXULWLHV$FWRU
   DQ\RWKHU8QLWHG6WDWHV)HGHUDOVHFXULWLHVODZRUDQ\UXOHVRUUHJXODWLRQVWKHUHXQGHU

                    ,IDQ\RIWKHHYHQWVVSHFLILHGLQWKLV6HFWLRQVKDOORFFXUWKH6HUYLFHUVKDOOJLYHSURPSW
   ZULWWHQQRWLFHWKHUHRIWRWKH,VVXHUWKH7UXVWHHDQGWKH+ROGHUVRIDOORXWVWDQGLQJ1RWHVDQG3UHIHUHQFH
   6KDUHVXSRQWKH6HUYLFHU¶VEHFRPLQJDZDUHRIWKHRFFXUUHQFHRIVXFKHYHQW

                           $FWLRQ8SRQ7HUPLQDWLRQ

                              D       )URP DQG DIWHU WKH HIIHFWLYH GDWH RI WHUPLQDWLRQ RI WKLV $JUHHPHQW WKH
   6HUYLFHU VKDOO QRW EH HQWLWOHG WR FRPSHQVDWLRQ IRU IXUWKHU VHUYLFHV KHUHXQGHU EXW VKDOO EH SDLG DOO
   FRPSHQVDWLRQDFFUXHGWRWKHGDWHRIWHUPLQDWLRQDVSURYLGHGLQ6HFWLRQKHUHRIDQGVKDOOEHHQWLWOHGWR
   UHFHLYH DQ\ DPRXQWV RZLQJ XQGHU 6HFWLRQ KHUHRI  8SRQ WKH HIIHFWLYH GDWH RI WHUPLQDWLRQ RI WKLV
   $JUHHPHQWWKH6HUYLFHUVKDOODVVRRQDVSUDFWLFDEOH

                                       L     GHOLYHUWRWKH,VVXHUDOOSURSHUW\DQGGRFXPHQWVRIWKH7UXVWHHRU
                     WKH,VVXHURURWKHUZLVHUHODWLQJWRWKH&ROODWHUDOWKHQLQWKHFXVWRG\RIWKH6HUYLFHUDQG




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                                      LL    GHOLYHUWRWKH7UXVWHHDQGWKH3UHIHUHQFH6KDUHV3D\LQJ$JHQWDQ
                     DFFRXQWLQJ ZLWK UHVSHFW WR WKH ERRNV DQG UHFRUGV GHOLYHUHG WR WKH 7UXVWHH DQG WKH
                     3UHIHUHQFH 6KDUHV 3D\LQJ $JHQW RU WKH VXFFHVVRU VHUYLFHU DSSRLQWHG SXUVXDQW WR
                     6HFWLRQ H KHUHRI

                     1RWZLWKVWDQGLQJVXFKWHUPLQDWLRQWKH6HUYLFHUVKDOOUHPDLQOLDEOHWRWKHH[WHQWVHWIRUWK
   KHUHLQ EXWVXEMHFWWR6HFWLRQKHUHRI IRULWVDFWVRURPLVVLRQVKHUHXQGHUDULVLQJSULRUWRWHUPLQDWLRQ
   DQG IRU DQ\ H[SHQVHV ORVVHV GDPDJHV OLDELOLWLHV GHPDQGV FKDUJHV DQG FODLPV LQFOXGLQJ UHDVRQDEOH
   DWWRUQH\V¶IHHV LQUHVSHFWRIRUDULVLQJRXWRIDEUHDFKRIWKHUHSUHVHQWDWLRQVDQGZDUUDQWLHVPDGHE\WKH
   6HUYLFHULQ6HFWLRQ E KHUHRIRUIURPDQ\IDLOXUHRIWKH6HUYLFHUWRFRPSO\ZLWKWKHSURYLVLRQVRIWKLV
   6HFWLRQ

                               E       7KH 6HUYLFHU DJUHHV WKDW QRWZLWKVWDQGLQJ DQ\ WHUPLQDWLRQ RI WKLV
   $JUHHPHQW LW VKDOO UHDVRQDEO\ FRRSHUDWH LQ DQ\ 3URFHHGLQJ DULVLQJ LQ FRQQHFWLRQ ZLWK WKLV $JUHHPHQW
   WKH,QGHQWXUHRUDQ\RIWKH&ROODWHUDO H[FOXGLQJDQ\VXFK3URFHHGLQJLQZKLFKFODLPVDUHDVVHUWHGDJDLQVW
   WKH 6HUYLFHU RU DQ\ $IILOLDWH RI WKH 6HUYLFHU  XSRQ UHFHLSW RI DSSURSULDWH LQGHPQLILFDWLRQ DQG H[SHQVH
   UHLPEXUVHPHQW

                          5HSUHVHQWDWLRQVDQG:DUUDQWLHV

                               D      7KH,VVXHUKHUHE\UHSUHVHQWVDQGZDUUDQWVWRWKH6HUYLFHUDVIROORZV

                                       L         7KH ,VVXHU KDV EHHQ GXO\ LQFRUSRUDWHG DQG LV YDOLGO\ H[LVWLQJ
                     XQGHUWKHODZVRIWKH&D\PDQ,VODQGVKDVIXOOSRZHUDQGDXWKRULW\WRRZQLWVDVVHWVDQG
                     WKHVHFXULWLHVSURSRVHGWREHRZQHGE\LWDQGLQFOXGHGLQWKH&ROODWHUDODQGWRWUDQVDFWWKH
                     EXVLQHVV LQ ZKLFK LW LV SUHVHQWO\ HQJDJHG DQG LV GXO\ TXDOLILHG XQGHU WKH ODZV RI HDFK
                     MXULVGLFWLRQ ZKHUH LWV RZQHUVKLS RU OHDVH RI SURSHUW\ RU WKH FRQGXFW RI LWV EXVLQHVV
                     UHTXLUHVRUWKHSHUIRUPDQFHRILWVREOLJDWLRQVXQGHUWKLV$JUHHPHQWWKH,QGHQWXUHRUWKH
                     6HFXULWLHV ZRXOG UHTXLUH VXFK TXDOLILFDWLRQ H[FHSW IRU IDLOXUHV WR EH VR TXDOLILHG
                     DXWKRUL]HGRUOLFHQVHGWKDWZRXOGQRWLQWKHDJJUHJDWHKDYHDPDWHULDODGYHUVHHIIHFWRQ
                     WKHEXVLQHVVRSHUDWLRQVDVVHWVRUILQDQFLDOFRQGLWLRQRIWKH,VVXHU

                                         LL     7KH ,VVXHU KDV IXOO SRZHU DQG DXWKRULW\ WR H[HFXWH GHOLYHU DQG
                     SHUIRUPLWVREOLJDWLRQVSXUVXDQWWRWKLV$JUHHPHQWWKHRWKHU7UDQVDFWLRQ'RFXPHQWVDQG
                     WKH 6HFXULWLHV DQG DOO REOLJDWLRQV UHTXLUHG KHUHXQGHU DQG WKHUHXQGHU DQG KDV WDNHQ DOO
                     QHFHVVDU\DFWLRQWRDXWKRUL]HWKLV$JUHHPHQWWKHRWKHU7UDQVDFWLRQ'RFXPHQWVDQGWKH
                     6HFXULWLHVRQWKHWHUPVDQGFRQGLWLRQVKHUHRIDQGWKHUHRIDQGWKHH[HFXWLRQE\WKH,VVXHU
                     GHOLYHU\ DQG SHUIRUPDQFH RI LWV REOLJDWLRQV SXUVXDQW WR WKLV $JUHHPHQW WKH RWKHU
                     7UDQVDFWLRQ 'RFXPHQWV DQG WKH 6HFXULWLHV DQG WKH SHUIRUPDQFH RI DOO REOLJDWLRQV
                     LPSRVHG XSRQ LW KHUHXQGHU DQG WKHUHXQGHU  1R FRQVHQW RI DQ\ RWKHU SHUVRQ LQFOXGLQJ
                     ZLWKRXW OLPLWDWLRQ VKDUHKROGHUV DQG FUHGLWRUV RI WKH ,VVXHU DQG QR OLFHQVH SHUPLW
                     DSSURYDORUDXWKRUL]DWLRQRIH[HPSWLRQE\QRWLFHRUUHSRUWWRRUUHJLVWUDWLRQILOLQJRU
                     GHFODUDWLRQZLWKDQ\JRYHUQPHQWDODXWKRULW\RWKHUWKDQWKRVHWKDWPD\EHUHTXLUHGXQGHU
                     VWDWH VHFXULWLHV RU ³EOXH VN\´ ODZV DQG WKRVH WKDW KDYH EHHQ RU VKDOO EH REWDLQHG LQ
                     FRQQHFWLRQ ZLWK WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DQG WKH 6HFXULWLHV LV UHTXLUHG E\ WKH
                     ,VVXHU LQ FRQQHFWLRQ ZLWK WKLV $JUHHPHQW WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DQG WKH
                     6HFXULWLHV RU WKH H[HFXWLRQ GHOLYHU\ SHUIRUPDQFH YDOLGLW\ RU HQIRUFHDELOLW\ RI WKLV
                     $JUHHPHQW WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DQG WKH 6HFXULWLHV RU WKH REOLJDWLRQV
                     LPSRVHG XSRQ LW KHUHXQGHU RU WKHUHXQGHU 7KLV $JUHHPHQW FRQVWLWXWHV DQG HDFK
                     LQVWUXPHQW RU GRFXPHQW UHTXLUHG KHUHXQGHU ZKHQ H[HFXWHG DQG GHOLYHUHG KHUHXQGHU
                     VKDOOFRQVWLWXWHWKHOHJDOO\YDOLGDQGELQGLQJREOLJDWLRQRIWKH,VVXHUHQIRUFHDEOHDJDLQVW


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                     WKH,VVXHULQDFFRUGDQFHZLWKLWVWHUPVVXEMHFWWR D WKHHIIHFWRIEDQNUXSWF\LQVROYHQF\
                     RU VLPLODU ODZV DIIHFWLQJ JHQHUDOO\ WKH HQIRUFHPHQW RI FUHGLWRUV¶ ULJKWV DQG E  JHQHUDO
                     HTXLWDEOHSULQFLSOHV

                                       LLL  7KH H[HFXWLRQ E\ WKH ,VVXHU GHOLYHU\ DQG SHUIRUPDQFH RI WKLV
                     $JUHHPHQWDQGWKHGRFXPHQWVDQGLQVWUXPHQWVUHTXLUHGKHUHXQGHUVKDOOQRWYLRODWHDQ\
                     SURYLVLRQRIDQ\H[LVWLQJODZRUUHJXODWLRQELQGLQJRQWKH,VVXHURUDQ\RUGHUMXGJPHQW
                     DZDUGRUGHFUHHRIDQ\FRXUWDUELWUDWRURUJRYHUQPHQWDODXWKRULW\ELQGLQJRQWKH,VVXHU
                     RU WKH *RYHUQLQJ ,QVWUXPHQWV RI RU DQ\ VHFXULWLHV LVVXHG E\ WKH ,VVXHU RU RI DQ\
                     PRUWJDJH LQGHQWXUH OHDVH FRQWUDFW RU RWKHU DJUHHPHQW LQVWUXPHQW RU XQGHUWDNLQJ WR
                     ZKLFKWKH,VVXHULVDSDUW\RUE\ZKLFKWKH,VVXHURUDQ\RILWVDVVHWVPD\EHERXQGWKH
                     YLRODWLRQ RI ZKLFK ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH EXVLQHVV RSHUDWLRQV
                     DVVHWVRUILQDQFLDOFRQGLWLRQRIWKH,VVXHUDQGVKDOOQRWUHVXOWLQRUUHTXLUHWKHFUHDWLRQRU
                     LPSRVLWLRQRIDQ\OLHQRQDQ\RILWVSURSHUW\DVVHWVRUUHYHQXHVSXUVXDQWWRWKHSURYLVLRQV
                     RI DQ\ VXFK PRUWJDJH LQGHQWXUH OHDVH FRQWUDFW RU RWKHU DJUHHPHQW LQVWUXPHQW RU
                     XQGHUWDNLQJ RWKHUWKDQWKHOLHQRIWKH,QGHQWXUH 

                                          LY  7KH,VVXHULVQRWLQYLRODWLRQRILWV*RYHUQLQJ,QVWUXPHQWVRULQ
                     EUHDFKRUYLRODWLRQRIRULQGHIDXOWXQGHUWKH,QGHQWXUHRUDQ\FRQWUDFWRUDJUHHPHQWWR
                     ZKLFK LW LV D SDUW\ RU E\ ZKLFK LW RU DQ\ RI LWV DVVHWV PD\ EH ERXQG RU DQ\ DSSOLFDEOH
                     VWDWXWHRUDQ\UXOHUHJXODWLRQRURUGHURIDQ\FRXUWJRYHUQPHQWDJHQF\RUERG\KDYLQJ
                     MXULVGLFWLRQRYHUWKH,VVXHURULWVSURSHUWLHVWKHEUHDFKRUYLRODWLRQRIZKLFKRUGHIDXOW
                     XQGHUZKLFKZRXOGKDYHDPDWHULDODGYHUVHHIIHFWRQWKHYDOLGLW\RUHQIRUFHDELOLW\RIWKLV
                     $JUHHPHQWRUWKHSHUIRUPDQFHE\WKH,VVXHURILWVGXWLHVKHUHXQGHU

                                     Y     7UXH DQG FRPSOHWH FRSLHV RI WKH ,QGHQWXUH DQG WKH ,VVXHU¶V
                     *RYHUQLQJ,QVWUXPHQWVKDYHEHHQGHOLYHUHGWRWKH6HUYLFHU

                   7KH ,VVXHU DJUHHV WR GHOLYHU D WUXH DQG FRPSOHWH FRS\ RI HDFK DPHQGPHQW WR WKH
   GRFXPHQWV UHIHUUHG WR LQ 6HFWLRQ D Y  DERYH WR WKH 6HUYLFHU DV SURPSWO\ DV SUDFWLFDEOH DIWHU LWV
   DGRSWLRQRUH[HFXWLRQ

                               E       7KH6HUYLFHUKHUHE\UHSUHVHQWVDQGZDUUDQWVWRWKH,VVXHUDVIROORZV

                                         L      7KH6HUYLFHULVDOLPLWHGSDUWQHUVKLSGXO\RUJDQL]HGDQGYDOLGO\
                     H[LVWLQJDQGLQJRRGVWDQGLQJXQGHUWKHODZVRIWKH6WDWHRI'HODZDUHKDVIXOOSRZHUDQG
                     DXWKRULW\ WRRZQ LWV DVVHWV DQG WR WUDQVDFW WKH EXVLQHVV LQ ZKLFK LW LV FXUUHQWO\ HQJDJHG
                     DQGLVGXO\TXDOLILHGDQGLQJRRGVWDQGLQJXQGHUWKHODZVRIHDFKMXULVGLFWLRQZKHUHLWV
                     RZQHUVKLSRUOHDVHRISURSHUW\RUWKHFRQGXFWRILWVEXVLQHVVUHTXLUHVRUWKHSHUIRUPDQFH
                     RI WKLV $JUHHPHQW ZRXOG UHTXLUH VXFK TXDOLILFDWLRQ H[FHSW IRU WKRVH MXULVGLFWLRQV LQ
                     ZKLFK WKH IDLOXUH WR EH VR TXDOLILHG DXWKRUL]HG RU OLFHQVHG ZRXOG QRW KDYH D PDWHULDO
                     DGYHUVHHIIHFWRQWKHEXVLQHVVRSHUDWLRQVDVVHWVRUILQDQFLDOFRQGLWLRQRIWKH6HUYLFHURU
                     RQ WKH DELOLW\ RI WKH 6HUYLFHU WR SHUIRUP LWV REOLJDWLRQV XQGHU RU RQ WKH YDOLGLW\ RU
                     HQIRUFHDELOLW\RIWKLV$JUHHPHQWDQGWKHSURYLVLRQVRIWKHRWKHU7UDQVDFWLRQ'RFXPHQWV
                     DSSOLFDEOHWRWKH6HUYLFHU

                                       LL    7KH6HUYLFHUKDVIXOOSRZHUDQGDXWKRULW\WRH[HFXWHGHOLYHUDQG
                     SHUIRUPWKLV$JUHHPHQWDQGDOOREOLJDWLRQVUHTXLUHGKHUHXQGHUDQGXQGHUWKHSURYLVLRQV
                     RI WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WR WKH 6HUYLFHU DQG KDV WDNHQ DOO
                     QHFHVVDU\DFWLRQWRDXWKRUL]HWKLV$JUHHPHQWRQWKHWHUPVDQGFRQGLWLRQVKHUHRIDQGWKH
                     H[HFXWLRQ GHOLYHU\ DQG SHUIRUPDQFH RI WKLV $JUHHPHQW DQG DOO REOLJDWLRQV UHTXLUHG



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                     KHUHXQGHU DQG XQGHU WKH WHUPV RI WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WR WKH
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                     6HUYLFHU DQG QR OLFHQVH SHUPLW DSSURYDO RU DXWKRUL]DWLRQ RI H[HPSWLRQ E\ QRWLFH RU
                     UHSRUW WR RU UHJLVWUDWLRQ ILOLQJ RU GHFODUDWLRQ ZLWK DQ\ JRYHUQPHQWDO DXWKRULW\ LV
                     UHTXLUHG E\ WKH 6HUYLFHU LQ FRQQHFWLRQ ZLWK WKLV $JUHHPHQW RU WKH H[HFXWLRQ GHOLYHU\
                     SHUIRUPDQFH YDOLGLW\ RU HQIRUFHDELOLW\ RI WKLV $JUHHPHQW RU WKH REOLJDWLRQV UHTXLUHG
                     KHUHXQGHU RU XQGHU WKH WHUPV RI WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WR WKH
                     6HUYLFHU  7KLV $JUHHPHQW KDV EHHQ DQG HDFK LQVWUXPHQW DQG GRFXPHQW UHTXLUHG
                     KHUHXQGHU RU XQGHU WKH WHUPV RI WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WR WKH
                     6HUYLFHUVKDOOEHH[HFXWHGDQGGHOLYHUHGE\DGXO\DXWKRUL]HGSDUWQHURIWKH6HUYLFHUDQG
                     WKLV $JUHHPHQW FRQVWLWXWHV DQG HDFK LQVWUXPHQW DQG GRFXPHQW UHTXLUHG KHUHXQGHU RU
                     XQGHU WKH WHUPV RI WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WR WKH 6HUYLFHU ZKHQ
                     H[HFXWHG DQG GHOLYHUHG E\ WKH 6HUYLFHU KHUHXQGHU RU XQGHU WKH WHUPV RI WKH RWKHU
                     7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WRWKH 6HUYLFHU VKDOO FRQVWLWXWH WKH YDOLG DQG OHJDOO\
                     ELQGLQJ REOLJDWLRQV RI WKH 6HUYLFHU HQIRUFHDEOH DJDLQVW WKH 6HUYLFHU LQ DFFRUGDQFH ZLWK
                     WKHLUWHUPVVXEMHFWWR D  WKHHIIHFWRI EDQNUXSWF\LQVROYHQF\RUVLPLODUODZVDIIHFWLQJ
                     JHQHUDOO\WKHHQIRUFHPHQWRIFUHGLWRUV¶ULJKWVDQG E JHQHUDOHTXLWDEOHSULQFLSOHV

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                     GRFXPHQWV DQG LQVWUXPHQWV UHTXLUHG KHUHXQGHU RU XQGHU WKH WHUPV RI WKH RWKHU
                     7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WR WKH 6HUYLFHU VKDOO QRW YLRODWH RU FRQIOLFW ZLWK DQ\
                     SURYLVLRQ RI DQ\ H[LVWLQJ ODZ RU UHJXODWLRQ ELQGLQJ RQ RU DSSOLFDEOH WR WKH 6HUYLFHU RU
                     DQ\RUGHUMXGJPHQWDZDUGRUGHFUHHRIDQ\FRXUWDUELWUDWRURUJRYHUQPHQWDODXWKRULW\
                     ELQGLQJRQWKH6HUYLFHURUWKH*RYHUQLQJ,QVWUXPHQWVRIRUDQ\VHFXULWLHVLVVXHGE\WKH
                     6HUYLFHURURIDQ\PRUWJDJHLQGHQWXUHOHDVHFRQWUDFWRURWKHUDJUHHPHQWLQVWUXPHQWRU
                     XQGHUWDNLQJWRZKLFKWKH6HUYLFHULVDSDUW\RUE\ZKLFKWKH6HUYLFHURUDQ\RILWVDVVHWV
                     PD\ EH ERXQG WKH YLRODWLRQ RI ZKLFK ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH
                     EXVLQHVVRSHUDWLRQVDVVHWVRUILQDQFLDOFRQGLWLRQRIWKH6HUYLFHURULWVDELOLW\WRSHUIRUP
                     LWV REOLJDWLRQV XQGHU WKLV $JUHHPHQW DQG WKH SURYLVLRQV RI WKH RWKHU 7UDQVDFWLRQ
                     'RFXPHQWV DSSOLFDEOH WR WKH 6HUYLFHU DQG VKDOO QRW UHVXOW LQ RU UHTXLUH WKH FUHDWLRQ RU
                     LPSRVLWLRQRIDQ\OLHQRQDQ\RILWVPDWHULDOSURSHUW\DVVHWVRUUHYHQXHVSXUVXDQWWRWKH
                     SURYLVLRQV RI DQ\ VXFK PRUWJDJH LQGHQWXUH OHDVH FRQWUDFW RU RWKHU DJUHHPHQW
                     LQVWUXPHQWRUXQGHUWDNLQJ

                                       LY  7KHUH LV QR FKDUJH LQYHVWLJDWLRQ DFWLRQ VXLW RU SURFHHGLQJ
                     EHIRUHRUE\DQ\FRXUWSHQGLQJRUWRWKHEHVWNQRZOHGJHRIWKH6HUYLFHUWKUHDWHQHGWKDW
                     LI GHWHUPLQHG DGYHUVHO\ WR WKH 6HUYLFHU ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW XSRQ WKH
                     SHUIRUPDQFH E\ WKH 6HUYLFHU RI LWV GXWLHV XQGHU RU RQ WKH YDOLGLW\ RU HQIRUFHDELOLW\ RI
                     WKLV$JUHHPHQWDQGWKHSURYLVLRQVRIWKHRWKHU7UDQVDFWLRQ'RFXPHQWVDSSOLFDEOHWRWKH
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                     LQ EUHDFK RU YLRODWLRQ RI RU LQ GHIDXOW XQGHU DQ\ FRQWUDFW RU DJUHHPHQW WR ZKLFK LW LV D
                     SDUW\RUE\ZKLFKLWRUDQ\RILWVSURSHUW\PD\EHERXQGRUDQ\DSSOLFDEOHVWDWXWHRUDQ\
                     UXOH UHJXODWLRQ RU RUGHU RI DQ\ FRXUW JRYHUQPHQW DJHQF\ RU ERG\ KDYLQJ MXULVGLFWLRQ
                     RYHUWKH6HUYLFHURULWVSURSHUWLHVWKHEUHDFKRUYLRODWLRQRIZKLFKRUGHIDXOWXQGHUZKLFK
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                     RU WKH SURYLVLRQV RI WKH RWKHU 7UDQVDFWLRQ 'RFXPHQWV DSSOLFDEOH WR WKH 6HUYLFHU RU WKH
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                    8QOHVV H[SUHVVO\ SURYLGHG RWKHUZLVH KHUHLQ DOO QRWLFHV UHTXHVWV GHPDQGV DQG RWKHU
   FRPPXQLFDWLRQVUHTXLUHGRUSHUPLWWHGXQGHUWKLV$JUHHPHQWVKDOOEHLQZULWLQJ LQFOXGLQJE\WHOHFRS\ 
   DQGVKDOOEHGHHPHGWRKDYHEHHQGXO\JLYHQPDGHDQGUHFHLYHGZKHQGHOLYHUHGDJDLQVWUHFHLSWRUXSRQ
   DFWXDOUHFHLSWRIUHJLVWHUHGRUFHUWLILHGPDLOSRVWDJHSUHSDLGUHWXUQUHFHLSWUHTXHVWHGRULQWKHFDVHRI
   WHOHFRS\QRWLFHZKHQUHFHLYHGLQOHJLEOHIRUPDGGUHVVHGDVVHWIRUWKEHORZ

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   WKHLUUHVSHFWLYHKHLUVSHUVRQDOUHSUHVHQWDWLYHVVXFFHVVRUVDQGSHUPLWWHGDVVLJQVDVSURYLGHGKHUHLQ7KH
   6HUYLFHUKHUHE\FRQVHQWVWRWKHFROODWHUDODVVLJQPHQWRIWKLV$JUHHPHQWDVSURYLGHGLQWKH,QGHQWXUHDQG
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   KHUHWR ZLWK UHVSHFW WR WKH VXEMHFW PDWWHU KHUHRI DQG VXSHUVHGHV DOO SULRU DQG FRQWHPSRUDQHRXV
   DJUHHPHQWV XQGHUVWDQGLQJV LQGXFHPHQWV DQG FRQGLWLRQV H[SUHVV RU LPSOLHG RUDO RU ZULWWHQ RI DQ\
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   7KLV$JUHHPHQWPD\QRWEHPRGLILHGRUDPHQGHGRWKHUWKDQE\DQDJUHHPHQWLQZULWLQJH[HFXWHGE\WKH
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   UHTXLUHVDQ\DFWLRQWREHWDNHQZLWKUHVSHFWWRDQ\PDWWHUDQGWKH,QGHQWXUHUHTXLUHVWKDWDGLIIHUHQWDFWLRQ
   EH WDNHQ ZLWK UHVSHFW WR VXFK PDWWHU DQG VXFK DFWLRQV DUH PXWXDOO\ H[FOXVLYH WKH SURYLVLRQV RI WKH
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   $JUHHPHQWDQGWKH,QGHQWXUHVKDOOEHGXHDQGSD\DEOHRQO\LQDFFRUGDQFHZLWKWKHSULRULWLHVVHWIRUWKLQ
   WKH ,QGHQWXUH DQG RQO\ WR WKH H[WHQW IXQGV DUH DYDLODEOH IRU VXFK SD\PHQWV LQ DFFRUGDQFH ZLWK VXFK
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   UHPHG\SRZHURUSULYLOHJHXQGHUWKLV$JUHHPHQWVKDOORSHUDWHDVDZDLYHUWKHUHRIQRUVKDOODQ\VLQJOHRU



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   SDUWLDOH[HUFLVHRIDQ\ULJKWUHPHG\SRZHURUSULYLOHJHSUHFOXGHDQ\RWKHURUIXUWKHUH[HUFLVHRIWKHVDPH
   RU RI DQ\ RWKHU ULJKW UHPHG\ SRZHU RU SULYLOHJH QRU VKDOO DQ\ ZDLYHU RI DQ\ ULJKW UHPHG\ SRZHU RU
   SULYLOHJH ZLWK UHVSHFW WR DQ\ RFFXUUHQFH EH FRQVWUXHG DV D ZDLYHU RI VXFK ULJKW UHPHG\ SRZHU RU
   SULYLOHJHZLWKUHVSHFWWRDQ\RWKHURFFXUUHQFH1RZDLYHUVKDOOEHHIIHFWLYHXQOHVVLWLVLQZULWLQJDQGLV
   VLJQHGE\WKHSDUW\DVVHUWHGWRKDYHJUDQWHGVXFKZDLYHU

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                   ([FHSWDVPD\RWKHUZLVHEHDJUHHGLQZULWLQJWKHFRVWVDQGH[SHQVHV LQFOXGLQJWKHIHHV
   DQGGLVEXUVHPHQWVRIFRXQVHODQGDFFRXQWDQWV LQFXUUHGE\HDFKSDUW\LQFRQQHFWLRQZLWKWKHQHJRWLDWLRQ
   DQGSUHSDUDWLRQRIDQGWKHH[HFXWLRQRIWKLV$JUHHPHQWDQGDOOPDWWHUVLQFLGHQWWKHUHWRVKDOOEHERUQHE\
   VXFKSDUW\

                          7LWOHV1RWWR$IIHFW,QWHUSUHWDWLRQ

                    7KH WLWOHV RI SDUDJUDSKV DQG VXESDUDJUDSKV FRQWDLQHG LQ WKLV $JUHHPHQW DUH IRU
   FRQYHQLHQFH RQO\ DQG WKH\ QHLWKHU IRUP D SDUW RI WKLV $JUHHPHQW QRU DUH WKH\ WR EH XVHG LQ WKH
   FRQVWUXFWLRQRULQWHUSUHWDWLRQKHUHRI

                          ([HFXWLRQLQ&RXQWHUSDUWV

                     7KLV $JUHHPHQW PD\ EH H[HFXWHG LQ DQ\ QXPEHU RI FRXQWHUSDUWV E\ IDFVLPLOH RU RWKHU
   ZULWWHQ IRUP RI FRPPXQLFDWLRQ HDFK RI ZKLFK VKDOO EH GHHPHG WR EH DQ RULJLQDO DV DJDLQVW DQ\ SDUW\
   ZKRVHVLJQDWXUHDSSHDUVWKHUHRQDQGDOORIZKLFKVKDOOWRJHWKHUFRQVWLWXWHRQHDQGWKHVDPHLQVWUXPHQW
   7KLV $JUHHPHQW VKDOO EHFRPH ELQGLQJ ZKHQ RQH RU PRUH FRXQWHUSDUWV KHUHRI LQGLYLGXDOO\ RU WDNHQ
   WRJHWKHUVKDOOEHDUWKHVLJQDWXUHVRIDOORIWKHSDUWLHVUHIOHFWHGKHUHRQDVWKHVLJQDWRULHV

                          3URYLVLRQV6HSDUDEOH

                      ,Q FDVH DQ\ SURYLVLRQ LQ WKLV $JUHHPHQW VKDOO EH LQYDOLG LOOHJDO RU XQHQIRUFHDEOH DV
   ZULWWHQVXFKSURYLVLRQVKDOOEHFRQVWUXHGLQWKHPDQQHUPRVWFORVHO\UHVHPEOLQJWKHDSSDUHQWLQWHQWRI
   WKHSDUWLHVZLWKUHVSHFWWRVXFKSURYLVLRQVRDVWREHYDOLGOHJDODQGHQIRUFHDEOHSURYLGHGKRZHYHUWKDW
   LIWKHUHLVQREDVLVIRUVXFKDFRQVWUXFWLRQVXFKSURYLVLRQVKDOOEHLQHIIHFWLYHRQO\WRWKHH[WHQWRIVXFK
   LQYDOLGLW\ LOOHJDOLW\ RU XQHQIRUFHDELOLW\ DQG XQOHVV WKH LQHIIHFWLYHQHVV RI VXFK SURYLVLRQ GHVWUR\V WKH
   EDVLVRIWKHEDUJDLQIRURQHRIWKHSDUWLHVWRWKLV$JUHHPHQWWKHYDOLGLW\OHJDOLW\DQGHQIRUFHDELOLW\RIWKH
   UHPDLQLQJSURYLVLRQVKHUHRIRUWKHUHRIVKDOOQRWLQDQ\ZD\EHDIIHFWHGRULPSDLUHGWKHUHE\

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                   :RUGV XVHG KHUHLQ UHJDUGOHVV RI WKH QXPEHU DQG JHQGHU VSHFLILFDOO\ XVHG VKDOO EH
   GHHPHGDQGFRQVWUXHGWRLQFOXGHDQ\RWKHUQXPEHUVLQJXODURUSOXUDODQGDQ\RWKHUJHQGHUPDVFXOLQH
   IHPLQLQHRUQHXWHUDVWKHFRQWH[WUHTXLUHV

                          :ULWWHQ'LVFORVXUH6WDWHPHQW

                      7KH,VVXHUDQGWKH7UXVWHHDFNQRZOHGJHUHFHLSWRI3DUW,,RIWKH6HUYLFHU¶V)RUP$'9
   ILOHG ZLWK WKH 6HFXULWLHV DQG ([FKDQJH &RPPLVVLRQ DV UHTXLUHG E\ 5XOH XQGHU WKH ,QYHVWPHQW
   $GYLVHUV$FWPRUHWKDQKRXUVSULRUWRWKHGDWHRIH[HFXWLRQRIWKLV$JUHHPHQW




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                                D      ,Q WKH HYHQW WKDW DQ\ YRWH LV VROLFLWHG ZLWK UHVSHFW WR DQ\ &ROODWHUDO
   2EOLJDWLRQWKH6HUYLFHURQEHKDOIRIWKH,VVXHUVKDOOYRWHRUUHIUDLQIURPYRWLQJDQ\VXFKVHFXULW\LQDQ\
   PDQQHUSHUPLWWHGE\WKH,QGHQWXUHWKDWWKH6HUYLFHUKDVGHWHUPLQHGLQLWVUHDVRQDEOHMXGJPHQWVKDOOEHLQ
   WKHEHVWLQWHUHVWVRIWKH+ROGHUVRIWKH6HFXULWLHV,QDGGLWLRQZLWKUHVSHFWWRDQ\'HIDXOWHG&ROODWHUDO
   2EOLJDWLRQ WKH 6HUYLFHU RQ EHKDOI RI WKH ,VVXHU PD\ LQVWUXFW WKH WUXVWHH IRU VXFK 'HIDXOWHG &ROODWHUDO
   2EOLJDWLRQ WR HQIRUFH WKH ,VVXHU¶V ULJKWV XQGHU WKH 8QGHUO\LQJ ,QVWUXPHQWV JRYHUQLQJ VXFK 'HIDXOWHG
   &ROODWHUDO 2EOLJDWLRQ DQG DQ\ DSSOLFDEOH ODZ UXOH RU UHJXODWLRQ LQ DQ\ PDQQHU SHUPLWWHG XQGHU WKH
   ,QGHQWXUHWKDWWKH6HUYLFHUKDVGHWHUPLQHGLQLWVUHDVRQDEOHMXGJPHQWVKDOOEHLQWKHEHVWLQWHUHVWVRIWKH
   +ROGHUVRIWKH6HFXULWLHV,QWKHHYHQWDQ\2IIHULVPDGHZLWKUHVSHFWWRDQ\&ROODWHUDO2EOLJDWLRQWKH
   6HUYLFHU RQ EHKDOI RI WKH ,VVXHU PD\ WDNH VXFK DFWLRQ DV LV SHUPLWWHG E\ WKH ,QGHQWXUH DQG WKDW WKH
   6HUYLFHU KDV GHWHUPLQHG LQ LWV UHDVRQDEOH MXGJPHQW VKDOO EH LQ WKH EHVW LQWHUHVWV RI WKH +ROGHUV RI WKH
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                            E     ,QFRQQHFWLRQZLWKWDNLQJRURPLWWLQJDQ\DFWLRQXQGHUWKH,QGHQWXUHRU
   WKLV$JUHHPHQWWKH6HUYLFHUPD\FRQVXOWZLWKFRXQVHODQGPD\UHO\LQJRRGIDLWKRQWKHDGYLFHRIVXFK
   FRXQVHORUDQ\RSLQLRQRIFRXQVHO

                     $Q\FRUSRUDWLRQSDUWQHUVKLSRUOLPLWHGOLDELOLW\FRPSDQ\LQWRZKLFKWKH6HUYLFHUPD\EH
   PHUJHG RU FRQYHUWHG RU ZLWK ZKLFK LW PD\ EH FRQVROLGDWHG RU DQ\ FRUSRUDWLRQ SDUWQHUVKLS RU OLPLWHG
   OLDELOLW\FRPSDQ\UHVXOWLQJIURPDQ\PHUJHUFRQYHUVLRQRUFRQVROLGDWLRQWRZKLFKWKH6HUYLFHUVKDOOEHD
   SDUW\RUDQ\FRUSRUDWLRQSDUWQHUVKLSRUOLPLWHGOLDELOLW\FRPSDQ\VXFFHHGLQJWRDOORUVXEVWDQWLDOO\DOORI
   WKH DVVHW VHUYLFLQJ DQG FROODWHUDO PDQDJHPHQW EXVLQHVV RI WKH 6HUYLFHU VKDOO EH WKH VXFFHVVRU WR WKH
   6HUYLFHU ZLWKRXW DQ\ IXUWKHU DFWLRQ E\ WKH 6HUYLFHU WKH &R,VVXHUV WKH 7UXVWHH WKH 3UHIHUHQFH 6KDUHV
   3D\LQJ$JHQWWKH+ROGHUVRIWKH6HFXULWLHVRUDQ\RWKHUSHUVRQRUHQWLW\

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                     7KH,VVXHU¶VREOLJDWLRQVKHUHXQGHUDUHVROHO\WKHFRUSRUDWHREOLJDWLRQVRIWKH,VVXHUDQG
   WKH 6HUYLFHU VKDOO QRW KDYH DQ\ UHFRXUVH WR DQ\ RI WKH GLUHFWRUV RIILFHUV VKDUHKROGHUV PHPEHUV RU
   LQFRUSRUDWRUV RI WKH ,VVXHU ZLWK UHVSHFW WR DQ\ FODLPV ORVVHV GDPDJHV OLDELOLWLHV LQGHPQLWLHV RU RWKHU
   REOLJDWLRQV LQ FRQQHFWLRQ ZLWK DQ\ WUDQVDFWLRQV FRQWHPSODWHG KHUHE\  7KH REOLJDWLRQV RI WKH ,VVXHU
   KHUHXQGHUVKDOOEHOLPLWHGWRWKHQHWSURFHHGVRIWKH&ROODWHUDOLIDQ\DQGIROORZLQJUHDOL]DWLRQRIWKH
   &ROODWHUDODQGLWVDSSOLFDWLRQLQDFFRUGDQFHZLWKWKH,QGHQWXUHDQ\RXWVWDQGLQJREOLJDWLRQVRIWKH,VVXHU
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      GHILQHGKHUHLQZLOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQWKH,QGHQWXUH

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                               ³$IILOLDWH´PHDQVZLWKUHVSHFWWRDVSHFLILHG3HUVRQ D DQ\RWKHU
               3HUVRQWKDWGLUHFWO\RULQGLUHFWO\WKURXJKRQHRUPRUHLQWHUPHGLDULHVFRQWUROVRULV
               FRQWUROOHGE\RULVXQGHUFRPPRQFRQWUROZLWKWKHVSHFLILHG3HUVRQDQG E DQ\
               3HUVRQWKDWLVDPHPEHUGLUHFWRURIILFHURUHPSOR\HHRI L WKHVSHFLILHG3HUVRQRU
                LL D3HUVRQGHVFULEHGLQFODXVH D RIWKLVGHILQLWLRQDQG

                               ³3HUVRQ´ PHDQV DQ LQGLYLGXDO D FRUSRUDWLRQ D OLPLWHG OLDELOLW\
               FRPSDQ\DSDUWQHUVKLSDQDVVRFLDWLRQDWUXVWRUDQ\RWKHUHQWLW\RURUJDQL]DWLRQ
               LQFOXGLQJ D JRYHUQPHQW RU SROLWLFDO VXEGLYLVLRQ RU DQ DJHQF\ RU LQVWUXPHQWDOLW\
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      6HFWLRQ,       *HQHUDO,QYHVWPHQW5HVWULFWLRQV

                      ([FHSWDVPD\RWKHUZLVHEHSURYLGHGLQWKLV$QQH[WKH,VVXHU DQGWKH
      6HUYLFHUDFWLQJRQWKH,VVXHU¶VEHKDOI VKDOORQO\SXUFKDVHGHEWVHFXULWLHVLQWHUHVWVLQORDQV
      DQGRWKHUDVVHWV HDFKD³3RUWIROLR2EOLJDWLRQ´ RQO\LQVHFRQGDU\PDUNHWWUDQVDFWLRQVDQG
      VKDOOQRWHQJDJHLQDQ\OHQGLQJRUXQGHUZULWLQJDFWLYLWLHVRURWKHUZLVHSDUWLFLSDWHLQWKH
      VWUXFWXULQJRURULJLQDWLRQRIDQ\3RUWIROLR2EOLJDWLRQ

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               WKH REOLJRU RI D 3RUWIROLR 2EOLJDWLRQ RU D 5HIHUHQFH 2EOLJDWLRQ GLUHFWO\ RU
               LQGLUHFWO\WKURXJKDQLQWHUPHGLDU\VXFKDVWKHVHOOHURIVXFK3RUWIROLR2EOLJDWLRQRU
               WKH6\QWKHWLF6HFXULW\ LQFRQQHFWLRQZLWKWKHLVVXDQFHRUIXQGLQJRIVXFK3RUWIROLR
               2EOLJDWLRQRU5HIHUHQFH2EOLJDWLRQRUFRPPLWPHQWVZLWKUHVSHFWWKHUHWRH[FHSW
               IRU FRPPXQLFDWLRQV RI DQ LPPDWHULDO QDWXUH RU FXVWRPDU\ GXH GLOLJHQFH
               FRPPXQLFDWLRQVSURYLGHGWKDWWKH6HUYLFHUPD\SURYLGHFRPPHQWVDVWRPLVWDNHV
               RULQFRQVLVWHQFLHVLQORDQGRFXPHQWV LQFOXGLQJZLWKUHVSHFWWRDQ\SURYLVLRQVWKDW
               DUHLQFRQVLVWHQWZLWKWKHWHUPVDQGFRQGLWLRQVRISXUFKDVHRIWKHORDQE\WKH,VVXHU 

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               EXWDUHQRWOLPLWHGWR D DWWHQGDQFHDWDQREOLJRU¶VJHQHUDO³URDGVKRZ´RURWKHU
               SUHVHQWDWLRQV WR LQYHVWPHQW SURIHVVLRQDOV E  GLUHFW SULYDWH GLVFXVVLRQV ZLWK
               SHUVRQQHORIWKHREOLJRUDUUDQJHGE\DVSRQVRUOHDGEDQNRURWKHUDUUDQJHUDQG F 
               RWKHUGXHGLOLJHQFHDFWLYLWLHVRIWKHNLQGFXVWRPDULO\SHUIRUPHGE\RIIHUHHVRIWKH
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               ZLWKWKHREOLJRUHPSOR\HHVRUDJHQWVRIWKHREOLJRURIDQ\WHUPVRUFRQGLWLRQVRI
               WKH3RUWIROLR2EOLJDWLRQEHLQJRIIHUHG

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               DJHQWRUEURNHURID3RUWIROLR2EOLJDWLRQDUHSHUPLWWHGVROHO\WRWKHH[WHQWWKDWWKH\
               DUH OLPLWHG WR UHVSRQVHV WR FXVWRPDU\ SUHRIIHULQJ SHULRG DQG RIIHULQJ SHULRG
               LQTXLULHVE\WKHXQGHUZULWHURUSODFHPHQWDJHQW HJ³,IZHRIIHUHG\RX\HDU
               VHQLRU VXERUGLQDWHG ERQGV RI ;<= FRPSDQ\ ZKDW VSUHDG ZRXOG LW UHTXLUH WR
               LQWHUHVW\RX"´RU³,I\RXZLOOQRWEX\WKHERQGVDVRIIHUHGZRXOG\RXEX\LIZH
               FRQYLQFHGWKHREOLJRUWRDGGDIL[HGFKDUJHFRYHUDJHWHVW"´ )RUSXUSRVHVRIWKLV
               6HFWLRQ ,$ ³QHJRWLDWLRQV´ VKDOO QRW LQFOXGH L  FRPPHQWLQJ RQ RIIHULQJ
               GRFXPHQWV WR DQ XQUHODWHG XQGHUZULWHU RU SODFHPHQW DJHQW ZKHQ WKH DELOLW\ WR
               FRPPHQWZDVJHQHUDOO\DYDLODEOHWRRWKHURIIHUHHVRU LL FRPPXQLFDWLQJFHUWDLQ
               REMHFWLYHFULWHULD VXFKDVWKHPLQLPXP\LHOGRUPDWXULW\ WKH,VVXHUJHQHUDOO\XVHV
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               2EOLJDWLRQ RWKHUWKDQD6XEVLGLDU\2EOLJDWLRQ DVGHILQHGLQ6HFWLRQ,,, UHTXLULQJ
               FRQVHQWRUDFWLRQDIWHUWKHGDWHRQZKLFKDQ\VXFK3RUWIROLR2EOLJDWLRQLVDFTXLUHG
               E\ WKH ,VVXHU LI D  VXFK DPHQGPHQW VXSSOHPHQW RU PRGLILFDWLRQ ZRXOG QRW
               FRQVWLWXWHD6LJQLILFDQW0RGLILFDWLRQ DVGHILQHGEHORZ  E  L LQWKHUHDVRQDEOH
               MXGJPHQW RI WKH 6HUYLFHU WKH REOLJRU LV LQ ILQDQFLDO GLVWUHVV DQG VXFK FKDQJH LQ
               WHUPVLVGHVLUDEOHWRSURWHFWWKH,VVXHU¶VLQWHUHVWDQG LL WKH3RUWIROLR2EOLJDWLRQLV
               GHVFULEHG LQ FODXVH  E  RI WKLV 6HFWLRQ ,$ F  WKH DPHQGPHQW RU PRGLILFDWLRQ
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               SDUDJUDSK  RI WKLV 6HFWLRQ ,$ RU G  RWKHUZLVH LI LW KDV UHFHLYHG DGYLFH RI
               FRXQVHOWKDWLWVLQYROYHPHQWLQVXFKDPHQGPHQWVXSSOHPHQWRUPRGLILFDWLRQZLOO
               QRWFDXVHWKH,VVXHUWREHWUHDWHGDVHQJDJHGLQDWUDGHRUEXVLQHVVZLWKLQWKH8QLWHG
               6WDWHV
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                     $³6LJQLILFDQW0RGLILFDWLRQ´PHDQVDQ\DPHQGPHQWVXSSOHPHQWRURWKHU
               PRGLILFDWLRQWKDWLQYROYHV D DFKDQJHLQWKHVWDWHGPDWXULW\RUDFKDQJHLQWKH
               WLPLQJRIDQ\PDWHULDOSD\PHQWRIDQ\3RUWIROLR2EOLJDWLRQ LQFOXGLQJGHIHUUDORI
               DQLQWHUHVWSD\PHQW WKDWZRXOGPDWHULDOO\DOWHUWKHZHLJKWHGDYHUDJHOLIHRIWKH
               3RUWIROLR2EOLJDWLRQ E DQ\FKDQJH ZKHWKHUSRVLWLYHRUQHJDWLYH LQWKH\LHOGRQ
               WKH 3RUWIROLR 2EOLJDWLRQ LPPHGLDWHO\ SULRU WR WKH PRGLILFDWLRQ LQ H[FHVV RI WKH
               JUHDWHU RI L   EDVLV SRLQWV RU LL   SHUFHQW RI VXFK XQPRGLILHG \LHOG F  DQ\
               FKDQJHLQYROYLQJDPDWHULDOQHZH[WHQVLRQRIFUHGLW G DFKDQJHLQWKHREOLJRURI
               DQ\3RUWIROLR2EOLJDWLRQRU H DPDWHULDOFKDQJHLQWKHFROODWHUDORUVHFXULW\IRU
               DQ\ 3RUWIROLR 2EOLJDWLRQ LQFOXGLQJ WKH DGGLWLRQ RU GHOHWLRQ RI D FRREOLJRU RU
               JXDUDQWRU WKDW UHVXOWV LQ D PDWHULDO FKDQJH LQ SD\PHQW H[SHFWDWLRQV DOO DV
               GHWHUPLQHGIRUSXUSRVHVRIVHFWLRQRIWKH&RGH 
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                           ,QWKHHYHQWWKH,VVXHURZQVDQLQWHUHVWLQD3RUWIROLR2EOLJDWLRQWKH
               WHUPVRIZKLFKDUHVXEVHTXHQWO\DPHQGHGRUPRGLILHGRULQWKHFDVHRIDZRUNRXW
               VLWXDWLRQ QRW GHVFULEHG LQ 6HFWLRQ ,,, KHUHRI ZKLFK 3RUWIROLR 2EOLJDWLRQ LV

                                                   $QQH[
      2+6:HVW
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               VXEVHTXHQWO\H[FKDQJHGIRUQHZREOLJDWLRQVRURWKHUVHFXULWLHVRIWKHREOLJRURIWKH
               3RUWIROLR2EOLJDWLRQVXFKDPHQGPHQWVRUPRGLILFDWLRQVRUH[FKDQJHZLOOQRWEH
               WUHDWHGDVWKHDFTXLVLWLRQRIDQLQWHUHVWLQDQHZ3RUWIROLR2EOLJDWLRQIRUSXUSRVHVRI
               WKLV$QQH[SURYLGHGWKDW D WKH,VVXHUGRHVQRWGLUHFWO\RULQGLUHFWO\ WKURXJK
               WKH6HUYLFHURURWKHUZLVH VHHNWKHDPHQGPHQWVRUPRGLILFDWLRQVRUWKHH[FKDQJH
               RUSDUWLFLSDWHLQQHJRWLDWLQJWKHDPHQGPHQWVRUPRGLILFDWLRQVRUWKHH[FKDQJHDQG
                E DWWKHWLPHRIRULJLQDODFTXLVLWLRQRIWKHLQWHUHVWLQWKH3RUWIROLR2EOLJDWLRQLW
               ZDVQRWUHDVRQDEO\DQWLFLSDWHGWKDWWKHWHUPVRIWKH3RUWIROLR2EOLJDWLRQZRXOG
               SXUVXDQWWRDZRUNRXWRURWKHUQHJRWLDWLRQVXEVHTXHQWO\EHDPHQGHGRUPRGLILHG

              %        )HHV7KH,VVXHUZLOOQRWHDUQRUUHFHLYHIURPDQ\3HUVRQDQ\IHHRURWKHU
      FRPSHQVDWLRQIRUVHUYLFHVKRZHYHUGHQRPLQDWHGLQFRQQHFWLRQZLWKLWVSXUFKDVHRUVDOH
      RID3RUWIROLR2EOLJDWLRQRUHQWHULQJLQWRD6\QWKHWLF6HFXULW\WKHIRUHJRLQJSURKLELWLRQ
      VKDOOQRWEHFRQVWUXHGWRSUHFOXGHWKH,VVXHUIURPUHFHLYLQJ L FRPPLWPHQWIHHVIDFLOLW\
      PDLQWHQDQFHIHHVRURWKHUVLPLODUIHHVWKDWDUHUHFHLYHGE\WKH,VVXHULQFRQQHFWLRQZLWK
      UHYROYLQJRUGHOD\HGGUDZGRZQ/RDQVRUV\QWKHWLFRUSUHIXQGHGOHWWHURIFUHGLW/RDQV LL 
      \LHOG PDLQWHQDQFH DQG SUHSD\PHQW SHQDOW\ IHHV LLL  IHHV RQ DFFRXQW RI WKH ,VVXHU¶V
      FRQVHQWLQJWRDPHQGPHQWVZDLYHUVRURWKHUPRGLILFDWLRQVRIWKHWHUPVRIDQ\3RUWIROLR
      2EOLJDWLRQV LY IHHVIURPSHUPLWWHGVHFXULWLHVOHQGLQJRU Y XSIURQWSD\PHQWVLQOLHXRI
      SHULRGLFSD\PHQWVXQGHUD6\QWKHWLF6HFXULW\7KH,VVXHUZLOOQRWSURYLGHVHUYLFHVWRDQ\
      3HUVRQ WKH IRUHJRLQJ SURKLELWLRQ VKDOO QRW EH FRQVWUXHG WR SUHFOXGH WKH ,VVXHU IURP
      DFWLYLWLHV UHODWLQJ WR WKH UHFHLSW RI LQFRPH GHVFULEHG LQ L  WKURXJK Y  RI WKH SUHFHGLQJ
      VHQWHQFH

      6HFWLRQ,,      /RDQVDQG)RUZDUG3XUFKDVH&RPPLWPHQWV

              $      $Q\XQGHUVWDQGLQJRUFRPPLWPHQWWRSXUFKDVHDORDQDSDUWLFLSDWLRQRUD
      ORDQVXESDUWLFLSDWLRQ FROOHFWLYHO\³/RDQV´ IURPDVHOOHUEHIRUHFRPSOHWLRQRIWKHFORVLQJ
      DQGIXOOIXQGLQJRIWKH/RDQE\VXFKVHOOHUVKDOORQO\EHPDGHSXUVXDQWWRDIRUZDUGVDOH
      DJUHHPHQWDWDQDJUHHGSULFH VWDWHGDVDGROODUDPRXQWRUDVDSHUFHQWDJH  D³)RUZDUG
      3XUFKDVH &RPPLWPHQW´  XQOHVV VXFK DQ XQGHUVWDQGLQJ RU FRPPLWPHQW LV QRW OHJDOO\
      ELQGLQJ DQG QHLWKHU WKH ,VVXHU QRU WKH 6HUYLFHU LV HFRQRPLFDOO\ FRPSHOOHG HJ ZRXOG
      RWKHUZLVHEHVXEMHFWWRDVLJQLILFDQWPRQHWDU\SHQDOW\ WRSXUFKDVHWKH/RDQIROORZLQJWKH
      FRPSOHWLRQ RI WKH FORVLQJ DQG IXOO IXQGLQJ RI WKH /RDQ LH WKH 6HUYLFHU ZLOO PDNH DQ
      LQGHSHQGHQW GHFLVLRQ ZKHWKHU WR SXUFKDVH VXFK /RDQ RQ EHKDOI RI WKH ,VVXHU DIWHU
      FRPSOHWLRQRIWKHFORVLQJRIWKH/RDQ  D³1RQ%LQGLQJ$JUHHPHQW´ 

             %      1R )RUZDUG 3XUFKDVH &RPPLWPHQW RU 1RQ%LQGLQJ $JUHHPHQW VKDOO EH
      PDGHXQWLODIWHUWKHVHOOHU RUDWUDQVIHURUWRVXFKVHOOHURIVXFK/RDQ KDVPDGHDOHJDOO\
      ELQGLQJFRPPLWPHQWWRIXOO\IXQGVXFK/RDQWRWKHREOLJRUWKHUHRI VXEMHFWWRFXVWRPDU\
      FRQGLWLRQV ZKLFKFRPPLWPHQWFDQQRWEHFRQGLWLRQHGRQWKH,VVXHU¶VXOWLPDWHSXUFKDVHRI
      VXFK/RDQIURPVXFKVHOOHU

             &     ,Q WKH HYHQW RI DQ\ UHGXFHG RU HOLPLQDWHG IXQGLQJ WKH ,VVXHU VKDOO QRW
      UHFHLYHDQ\SUHPLXPIHHRURWKHUFRPSHQVDWLRQLQFRQQHFWLRQZLWKKDYLQJHQWHUHGLQWR
      WKH)RUZDUG3XUFKDVH&RPPLWPHQWRU1RQ%LQGLQJ$JUHHPHQW



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              '      7KH ,VVXHU VKDOO QRW FORVH DQ\ SXUFKDVH RI D /RDQ VXEMHFW WR D )RUZDUG
      3XUFKDVH&RPPLWPHQWRUD1RQ%LQGLQJ$JUHHPHQWHDUOLHUWKDQKRXUVDIWHUWKHWLPHRI
      WKHFORVLQJRIWKH/RDQ LHH[HFXWLRQRIGHILQLWLYHGRFXPHQWDWLRQ DQGLQWKHFDVHRID
      )RUZDUG3XUFKDVH&RPPLWPHQWWKH,VVXHU¶VREOLJDWLRQWRSXUFKDVHVXFK/RDQLVVXEMHFWWR
      WKHFRQGLWLRQWKDWQRPDWHULDODGYHUVHFKDQJHKDVRFFXUUHGLQWKHILQDQFLDOFRQGLWLRQRIWKH
      /RDQ¶VREOLJRURUWKHUHOHYDQWPDUNHWRQRUEHIRUHWKHUHOHYDQWSXUFKDVHGDWH

              (     7KH ,VVXHU FDQQRW KDYH D FRQWUDFWXDO UHODWLRQVKLS ZLWK WKH REOLJRU ZLWK
      UHVSHFWWRD/RDQXQWLOWKH,VVXHUDFWXDOO\SXUFKDVHVWKH/RDQ

              )     7KH ,VVXHU FDQQRW EH D VLJQDWRU\ RQ WKH RULJLQDO OHQGLQJ DJUHHPHQW DQG
      FDQQRWEHREOLJDWHGWRIXQGDQDVVLJQPHQWRIRUDSDUWLFLSDWLRQLQD/RDQSULRUWRWKHWLPH
      VSHFLILHGLQVXEVHFWLRQ'DERYH

              *     ,QDGGLWLRQWRWKHUHVWULFWLRQVRWKHUZLVHDSSOLFDEOHWR/RDQVWKH,VVXHUVKDOO
      QRWDFTXLUHDQ\V\QWKHWLFRUSUHIXQGHGOHWWHURIFUHGLW/RDQXQOHVV  WKHFDVKFROODWHUDO
      GHSRVLWZLWKUHVSHFWWRVXFK/RDQZDVIXOO\IXQGHGE\DSUHGHFHVVRULQLQWHUHVWZLWKUHVSHFW
      WRVXFK/RDQ  WKH/RDQLVSDUWRIDFUHGLWIDFLOLW\WKDWLQFOXGHVDQRWKHU/RDQ RWKHUWKDQ
      DV\QWKHWLFRUSUHIXQGHGOHWWHURIFUHGLW/RDQ WRWKHVDPHREOLJRUDQGLVEHLQJDFTXLUHGLQ
      FRQQHFWLRQZLWKWKHDFTXLVLWLRQRIVXFKRWKHU/RDQDQGIURPWKHVDPHVHOOHUDVVXFKRWKHU
      /RDQ ZLWK WKH LQWHQW WR KROG ERWK SDUWV DQG ZLWK WKH DPRXQW RI WKH RWKHU /RDQ EHLQJ
      VLJQLILFDQWO\LQH[FHVVRIWKHDPRXQWRIWKHV\QWKHWLFRUSUHIXQGHGOHWWHURIFUHGLW/RDQ  
      VXFK V\QWKHWLF RU SUHIXQGHG OHWWHU RI FUHGLW /RDQ VDWLVILHV WKH UHTXLUHPHQWV VHW IRUWK LQ
      6HFWLRQ9,%WUHDWLQJWKHV\QWKHWLFRUSUHIXQGHGOHWWHURIFUHGLW/RDQIRUWKLVSXUSRVHDV
      WKRXJKLWZHUHDGHOD\HGGUDZGRZQRUUHYROYLQJ/RDQDQG  DWQRWLPHPD\PRUHWKDQ
       RI WKH DJJUHJDWH SULQFLSDO DPRXQW RI 3RUWIROLR 2EOLJDWLRQV FRQVLVW RI V\QWKHWLF RU
      SUHIXQGHGOHWWHURIFUHGLW/RDQV

      6HFWLRQ,,,     'LVWUHVVHG'HEW

             $     7KH,VVXHUPD\RQO\SXUFKDVHD'HEW,QVWUXPHQWWKDWLVD3RWHQWLDO:RUNRXW
      2EOLJDWLRQWRWKHH[WHQWSHUPLWWHGE\WKLV6HFWLRQ,,,

             %    1HLWKHUWKH,VVXHUQRUWKH6HUYLFHURQEHKDOIRIWKH,VVXHUVKDOOSXUFKDVHD
      6XEVLGLDU\2EOLJDWLRQIURPDQ\,VVXHU6XEVLGLDU\

               &      6SHFLDO3URFHGXUHVIRU6XEVLGLDU\2EOLJDWLRQV

                          3RWHQWLDO :RUNRXW 2EOLJDWLRQV  2Q RU SULRU WR WKH GDWH RI
               DFTXLVLWLRQ WKH 6HUYLFHU RQ EHKDOI RI WKH ,VVXHU VKDOO LGHQWLI\ HDFK 3RUWIROLR
               2EOLJDWLRQWKDWLVD3RWHQWLDO:RUNRXW2EOLJDWLRQ

                           7UDQVIHURI6XEVLGLDU\2EOLJDWLRQV)URPDQGDIWHUWKHRFFXUUHQFH
               RID:RUNRXW'HWHUPLQDWLRQ'DWHZLWKUHVSHFWWRD6XEVLGLDU\2EOLJDWLRQQHLWKHU
               WKH,VVXHUQRUWKH6HUYLFHURQEHKDOIRIWKH,VVXHUVKDOONQRZLQJO\WDNHDQ\DFWLRQLQ
               UHVSHFWRIVXFK6XEVLGLDU\2EOLJDWLRQWKDWPD\UHVXOWLQWKH,VVXHUEHLQJHQJDJHG
               RUGHHPHGWREHHQJDJHGLQDWUDGHRUEXVLQHVVZLWKLQWKH8QLWHG6WDWHVIRU8QLWHG
               6WDWHVIHGHUDOLQFRPHWD[SXUSRVHV$VVRRQDVSUDFWLFDEOHEXWLQDQ\HYHQWZLWKLQ

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               FDOHQGDUGD\VIROORZLQJD:RUNRXW'HWHUPLQDWLRQ'DWHWKH6HUYLFHUVKDOOFDXVH
               WKH,VVXHUHLWKHU L WRVHOORUGLVSRVHRIDQ\6XEVLGLDU\2EOLJDWLRQLGHQWLILHGRQ
               VXFK:RUNRXW'HWHUPLQDWLRQ'DWHWRD3HUVRQWKDWLVQRWDQ$IILOLDWHRIWKH,VVXHU
               RU6HUYLFHURU LL WRDVVLJQDQ\6XEVLGLDU\2EOLJDWLRQLGHQWLILHGRQVXFK:RUNRXW
               'HWHUPLQDWLRQ'DWHWRDQ,VVXHU6XEVLGLDU\

                           )RU SXUSRVHV RI WKLV $QQH[  DQ ³,VVXHU 6XEVLGLDU\´ PHDQV DQ\
               ZKROO\RZQHG FRUSRUDWH VXEVLGLDU\ RI WKH ,VVXHU WR ZKLFK D 6SHFLDO :RUNRXW
               2EOLJDWLRQPD\EHWUDQVIHUUHGLQDFFRUGDQFHZLWKWKLV$QQH[

                            &RQVLGHUDWLRQ IRU $VVLJQPHQW RI 6XEVLGLDU\ 2EOLJDWLRQV
               &RQVLGHUDWLRQJLYHQE\DQ,VVXHU6XEVLGLDU\IRUWKHDVVLJQPHQWWRLWRI6XEVLGLDU\
               2EOLJDWLRQVPD\EHLQWKHIRUPRIFDVKRULQWKHIRUPRILQGHEWHGQHVVRIRUHTXLW\
               LQWHUHVWVLQVXFK,VVXHU6XEVLGLDU\

                          &ODVVLILFDWLRQRI,VVXHU6XEVLGLDULHV(DFK,VVXHU6XEVLGLDU\VKDOO
               EHDQHQWLW\WUHDWHGDVDFRUSRUDWLRQIRU8QLWHG6WDWHVIHGHUDOLQFRPHWD[SXUSRVHV

               $VXVHGKHUHLQ

                     ³3RWHQWLDO :RUNRXW 2EOLJDWLRQ´ PHDQV DQ\ GHEW LQVWUXPHQW DQ\ VXFK
               LQVWUXPHQWLQFOXGLQJDQLQWHUHVWLQD/RDQD³'HEW,QVWUXPHQW´ ZKLFKDVRIWKH
               GDWH RI DFTXLVLWLRQ E\ WKH ,VVXHU RU DQ ,VVXHU 6XEVLGLDU\ EDVHG RQ LQIRUPDWLRQ
               VSHFLILFWRVXFK'HEW,QVWUXPHQWRUWKHFLUFXPVWDQFHVRIWKHREOLJRUWKHUHRILVD
               :RUNRXW 2EOLJDWLRQ RU LQ WKH UHDVRQDEOH GHWHUPLQDWLRQ RI WKH 6HUYLFHU KDV D
               PDWHULDOO\ KLJKHU OLNHOLKRRG RI EHFRPLQJ D :RUNRXW 2EOLJDWLRQ DV FRPSDUHG WR
               GHEWREOLJDWLRQVWKDWSDURURWKHUQRQGLVWUHVVHGGHEWSXUFKDVHUVRUIXQGVUHODWLQJWR
               WKDWDVVHWW\SHFXVWRPDULO\SXUFKDVHDQGH[SHFWWRKROGWRPDWXULW\

                        ³6XEVLGLDU\2EOLJDWLRQ´PHDQVDQ\3RWHQWLDO:RUNRXW2EOLJDWLRQ D DVWR
               ZKLFKWKH,VVXHURQDQ\:RUNRXW 'HWHUPLQDWLRQ'DWHHLWKHU L  RZQV PRUH WKDQ
                RI WKH DJJUHJDWH SULQFLSDO DPRXQW RI VXFK FODVV RI 3RWHQWLDO :RUNRXW
               2EOLJDWLRQRXWVWDQGLQJRU LL LVRQHRIWKHWZRODUJHVWKROGHUVRIDQ\FODVVRIGHEW
               RI WKH REOLJRU RI VXFK 3RWHQWLDO :RUNRXW 2EOLJDWLRQ EDVHG RQ WKH RXWVWDQGLQJ
               SULQFLSDODPRXQWRIVXFKFODVVRIGHEWRZQHGE\WKH,VVXHUDVDSHUFHQWDJHRIWKH
               DJJUHJDWHRXWVWDQGLQJSULQFLSDODPRXQWRIVXFKFODVVRIGHEW XQOHVVQRWIHZHUWKDQ
               WKUHHRWKHUKROGHUVDQGWKH,VVXHUFROOHFWLYHO\RZQDWOHDVWRIVXFKFODVVRI
               GHEWDQGLIWKH,VVXHULVWKHODUJHVWKROGHURIVXFKFODVVWKH,VVXHU¶VSHUFHQWDJHRI
               VXFKFODVVGRHVQRWH[FHHGWKHSHUFHQWDJHKHOGE\WKHQH[WODUJHVWKROGHURIWKHGHEW
               E\PRUHWKDQRIVXFKFODVVRU E WKDWZRXOGXSRQIRUHFORVXUHRUH[HUFLVHRI
               VLPLODU OHJDO UHPHGLHV UHVXOW LQ WKH ,VVXHU GLUHFWO\ RZQLQJ DVVHWV RWKHU WKDQ
               VHFXULWLHVWUHDWHGDVGHEWHTXLW\LQDSDUWQHUVKLSQRWHQJDJHGLQDWUDGHRUEXVLQHVV
               ZLWKLQWKH8QLWHG6WDWHVRUFRUSRUDWHHTXLW\IRU8QLWHG6WDWHVIHGHUDOLQFRPHWD[
               SXUSRVHV SURYLGHG LQ WKH FDVH RI FRUSRUDWH HTXLW\ WKDW WKH FRUSRUDWLRQ LV QRW D
               ³8QLWHG 6WDWHV UHDO SURSHUW\ KROGLQJ FRUSRUDWLRQ´ ZLWKLQ WKH PHDQLQJ RI VHFWLRQ
                RI WKH &RGH  ZKLFK DUH ³8QLWHG 6WDWHV UHDO SURSHUW\ LQWHUHVWV´ ZLWKLQ WKH
               PHDQLQJRIVHFWLRQRIWKH&RGHRUZKLFKWKH6HUYLFHUUHDVRQDEO\H[SHFWVLW


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               ZRXOGRQEHKDOIRIWKH,VVXHUEHUHTXLUHGWRDFWLYHO\PDQDJHWRSUHVHUYHWKHYDOXH
               RIWKH,VVXHU¶VLQWHUHVWWKHUHLQSURYLGHGWKDWD3RWHQWLDO:RUNRXW2EOLJDWLRQVKDOO
               QRWEHWUHDWHGDVD6XEVLGLDU\2EOLJDWLRQLIWKH,VVXHUREWDLQVD7D[2SLQLRQWKDW
               EDVHG RQ DOO WKH VXUURXQGLQJ FLUFXPVWDQFHV WKH DFWLYLWLHV LQ ZKLFK WKH ,VVXHU
               LQWHQGVWRHQJDJHZLWKUHVSHFWWRVXFK3RWHQWLDO:RUNRXW2EOLJDWLRQZLOOQRWFDXVH
               WKH,VVXHUWREHWUHDWHGDVHQJDJHGLQDWUDGHRUEXVLQHVVIRU8QLWHG6WDWHVIHGHUDO
               LQFRPHWD[SXUSRVHV

                       ³:RUNRXW 'HWHUPLQDWLRQ 'DWH´ PHDQV DQ\ GDWH RQ ZKLFK LQ FRQQHFWLRQ
               ZLWKWKHRFFXUUHQFHRIDQ\HYHQWGHVFULEHGLQFODXVHV D WKURXJK F LQFOXVLYHRI
               WKHGHILQLWLRQRI:RUNRXW2EOLJDWLRQHLWKHU D DQ\PDWHULDODFWLRQE\WKH,VVXHULV
               UHTXLUHG WR EH WDNHQ E  WKH 6HUYLFHU UHFHLYHV ZULWWHQ QRWLFH WKDW VXFK PDWHULDO
               DFWLRQVKDOOEHUHTXLUHGRU F WKH6HUYLFHUUHDVRQDEO\GHWHUPLQHVWKDWWKHWDNLQJRI
               VXFKPDWHULDODFWLRQLVOLNHO\WREHUHTXLUHG

                      ³:RUNRXW2EOLJDWLRQ´PHDQVDQ\'HEW,QVWUXPHQWDVWRZKLFKWKH6HUYLFHU
               RQEHKDOIRIWKH,VVXHU D FRQVHQWVWRD6LJQLILFDQW0RGLILFDWLRQLQFRQQHFWLRQZLWK
               WKHZRUNRXWRIDGHIDXOWHG3RUWIROLR2EOLJDWLRQ E SDUWLFLSDWHVLQDQRIILFLDORU
               XQRIILFLDO FRPPLWWHH RU VLPLODU RIILFLDO RU XQRIILFLDO ERG\ LQ FRQQHFWLRQ ZLWK D
               EDQNUXSWF\UHRUJDQL]DWLRQUHVWUXFWXULQJRUVLPLODUSURFHHGLQJRU F H[HUFLVHVRU
               KDVH[HUFLVHGRQLWVEHKDOIULJKWVRIIRUHFORVXUHRUVLPLODUMXGLFLDOUHPHGLHV

      6HFWLRQ,9      3XUFKDVHVIURPWKH6HUYLFHURULWV$IILOLDWHV

               $     ,I WKH 6HUYLFHU RU DQ $IILOLDWH RI WKH 6HUYLFHU DFWHG DV DQ XQGHUZULWHU
      SODFHPHQWRURWKHUDJHQWDUUDQJHUQHJRWLDWRURUVWUXFWXURURUUHFHLYHGDQ\IHHIRUVHUYLFHV
       LWEHLQJXQGHUVWRRGWKDWUHFHLSWVGHVFULEHGLQFODXVHV L WKURXJK Y RI6HFWLRQ,%DUHQRW
      FRQVWUXHG DV VR WUHDWHG  LQ FRQQHFWLRQ ZLWK WKH LVVXDQFH RU RULJLQDWLRQ RI D 3RUWIROLR
      2EOLJDWLRQRUZDVDPHPEHURIWKHRULJLQDOOHQGLQJV\QGLFDWHZLWKUHVSHFWWRWKH3RUWIROLR
      2EOLJDWLRQ DQ\VXFK3RUWIROLR2EOLJDWLRQD³6SHFLDO3URFHGXUHV2EOLJDWLRQ´ WKH,VVXHU
      ZLOOQRWDFTXLUHDQ\LQWHUHVWLQVXFK6SHFLDO3URFHGXUHV2EOLJDWLRQ LQFOXGLQJHQWHULQJLQWR
      DFRPPLWPHQWRUDJUHHPHQWZKHWKHURUQRWOHJDOO\ELQGLQJRUHQIRUFHDEOHWRDFTXLUHVXFK
      REOLJDWLRQGLUHFWO\RUV\QWKHWLFDOO\ IURPWKH6HUYLFHUDQ$IILOLDWHRIWKH6HUYLFHURUD
      IXQG PDQDJHG E\ WKH 6HUYLFHU XQOHVV L  WKH 6SHFLDO 3URFHGXUHV 2EOLJDWLRQ KDV EHHQ
      RXWVWDQGLQJIRUDWOHDVWGD\V LL WKHKROGHURIWKH6SHFLDO3URFHGXUHV2EOLJDWLRQGLGQRW
      LGHQWLI\WKHREOLJDWLRQRUVHFXULW\DVLQWHQGHGIRUVDOHWRWKH,VVXHUZLWKLQGD\VRILWV
      LVVXDQFH LLL WKHSULFHSDLGIRUVXFK6SHFLDO3URFHGXUHV2EOLJDWLRQE\WKH,VVXHULVLWVIDLU
      PDUNHWYDOXHDWWKHWLPHRIDFTXLVLWLRQE\WKH,VVXHUDQG LY WKHWUDQVDFWLRQLVSURSRVHGWR
      DQGWKHXOWLPDWHSXUFKDVHLVDSSURYHGRQEHKDOIRIWKH,VVXHUE\RQHRUPRUH,QGHSHQGHQW
      $GYLVRUV WR WKH ,VVXHU LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI 6HFWLRQ ,9% EHORZ  7KH
      ,VVXHUZLOOQRWDFTXLUHDQ\6SHFLDO3URFHGXUHV2EOLJDWLRQLILPPHGLDWHO\IROORZLQJVXFK
      DFTXLVLWLRQWKHIDLUPDUNHWYDOXHRIDOO6SHFLDO3URFHGXUHV2EOLJDWLRQVRZQHGE\WKH,VVXHU
      ZRXOGFRQVWLWXWHPRUHWKDQRIWKHIDLUPDUNHWYDOXHRIDOORIWKH,VVXHU¶VDVVHWVDWVXFK
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               WKH6HUYLFHURUDQ\IXQGPDQDJHGE\WKH6HUYLFHU

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                             7KH ,VVXHU PD\ QRW SXUFKDVH RU FRPPLW WR HQWHU LQWR DQ\ VXFK
               6SHFLDO3URFHGXUHV2EOLJDWLRQZLWKRXWSULRUDSSURYDOE\DQ,QGHSHQGHQW$GYLVRU
               ,I WKH ,QGHSHQGHQW $GYLVRU GHFOLQHV WR DSSURYH D SURSRVHG 6SHFLDO 3URFHGXUHV
               2EOLJDWLRQDWOHDVWWKUHHPRQWKVPXVWHODSVHEHIRUHDQ\SURSRVDOZLWKUHVSHFWWR
               WKH DFTXLVLWLRQ RI GHEW RU RWKHU REOLJDWLRQV RI WKH VDPH REOLJRU DUH SURSRVHG RU
               FRQVLGHUHG
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                          7KH,VVXHUVKDOOHQJDJHWKH,QGHSHQGHQW$GYLVRULQDQDJUHHPHQW
               WKHWHUPVRIZKLFKVKDOOLQVXEVWDQWLDOIRUPVHWIRUWK
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                          D WKHUHSUHVHQWDWLRQRIWKH,QGHSHQGHQW$GYLVRUZKLFKWKH6HUYLFHUVKDOO
                        QRWNQRZWREHLQFRUUHFWWKDWLWKDVVLJQLILFDQWILQDQFLDODQGFRPPHUFLDO
                        H[SHUWLVHLQFOXGLQJVXEVWDQWLDOH[SHUWLVHDQGNQRZOHGJHLQDQGRIWKHORDQ
                        PDUNHWDQGUHODWHGLQYHVWPHQWDUHQDV
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                          E  WKH DJUHHPHQW EHWZHHQ WKH ,QGHSHQGHQW $GYLVRU WKH ,VVXHU DQG WKH
                        6HUYLFHUJHQHUDOO\WRWKHHIIHFWWKDW L WKH,QGHSHQGHQW$GYLVRUZLOORSHUDWH
                        SXUVXDQWWRSURFHGXUHVFRQVLVWHQWZLWKPDLQWDLQLQJKLVRUKHULQGHSHQGHQFH
                        IURPWKH6HUYLFHUDQGLWV$IILOLDWHV LL WKH,QGHSHQGHQW$GYLVRUZLOOKDYH
                        WKH VROH DXWKRULW\ DQG GLVFUHWLRQ WR DSSURYH RU UHMHFW SXUFKDVH SURSRVDOV
                        PDGHE\WKH6HUYLFHUZLWKUHVSHFWWRDQ\6SHFLDO3URFHGXUHV2EOLJDWLRQ LLL 
                        DOO SURSRVDOV IRU WKH ,VVXHU WR DFTXLUH DQ\ 6SHFLDO 3URFHGXUHV 2EOLJDWLRQ
                        ZLOO EH ILUVW VXEPLWWHG WR WKH ,QGHSHQGHQW $GYLVRU LLL  WKH 6HUYLFHU ZLOO
                        SUHSDUHWKHPDWHULDOVLWGHHPVQHFHVVDU\WRGHVFULEHWKH6SHFLDO3URFHGXUHV
                        2EOLJDWLRQWRWKH,QGHSHQGHQW$GYLVRU LY WKH,QYHVWPHQW$GYLVRUZLOOQRW
                        EHUHTXLUHGWRPDNHDQ\GHFLVLRQWRDFFHSWRUGHFOLQHD6SHFLDO3URFHGXUHV
                        2EOLJDWLRQDWWKHSULFHRIIHUHGSULRUWRLWVUHYLHZRIWKHPDWHULDOVSUHSDUHG
                        SOXVDQ\DGGLWLRQDOLQIRUPDWLRQUHTXHVWHGE\WKH,QGHSHQGHQW$GYLVRUDQG
                          Y QR,QGHSHQGHQW$GYLVRUPD\EHSURSRVHGWREHUHSODFHGE\WKH6HUYLFHU
                        XQOHVV IRU FDXVH RU LQ WKH HYHQW RI D UHVLJQDWLRQ RI VXFK ,QGHSHQGHQW
                        $GYLVRUDQG
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                          F  VXFK RWKHU FRPPHUFLDOO\ UHDVRQDEOH WHUPV DQG FRQGLWLRQV LQFOXGLQJ
                        WHUPVDQGFRQGLWLRQVWRWKHHIIHFWWKDW L WKH,QGHSHQGHQW$GYLVRUZLOOEH
                        SDLGDUHDVRQDEOHIHHIRULWVVHUYLFHVSOXVUHLPEXUVHPHQWRIDQ\UHDVRQDEOH
                        H[SHQVHV LQFXUUHG LQ SHUIRUPDQFH RI KLV RU KHU UHVSRQVLELOLWLHV LL  WKH
                        ,QGHSHQGHQW $GYLVRU PD\ EH UHPRYHG RU UHSODFHG RQO\ E\ D PDMRULW\
                          ZKHWKHUE\SRVLWLYHDFWRUIDLOXUHWRREMHFW RIWKHSUREDEOHHTXLW\RZQHUV
                          DVGHWHUPLQHGIRU8QLWHG6WDWHVIHGHUDOLQFRPHWD[SXUSRVHV RIWKH,VVXHU
                          LLL LIDWDQ\WLPHWKHUHLVPRUHWKDQRQH,QGHSHQGHQW$GYLVRUWRWKH,VVXHU
                        D PDMRULW\ RI VXFK ,QGHSHQGHQW $GYLVRUV PXVW DSSURYH DQ\ 6SHFLDO
                        3URFHGXUHV 2EOLJDWLRQ VXEMHFW WR ,QGHSHQGHQW $GYLVRU DSSURYDO LY  DQ
                        ,QGHSHQGHQW $GYLVRU PD\ QRW HQJDJH GLUHFWO\ RU LQGLUHFWO\ LQ WKH
                        QHJRWLDWLRQ RI WKH WHUPV RI DQ\ 6SHFLDO 3URFHGXUHV 2EOLJDWLRQ WR EH
                        DFTXLUHGE\WKH,VVXHU SURYLGHGKRZHYHUWKDWDQ,QGHSHQGHQW$GYLVRUPD\


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                        QHJRWLDWHZLWKWKH6HUYLFHURUWKHVHOOHUZLWKUHVSHFWWRWKHSULFHDQGWHUPV
                        RI WKH ,VVXHU¶V SXUFKDVH RI WKH 6SHFLDO 3URFHGXUHV 2EOLJDWLRQ SURYLGHG
                        IXUWKHU WKDW WKH ,QGHSHQGHQW $GYLVRU ZLOO QRW PDNH VXJJHVWLRQV WR WKH
                        6HUYLFHU RU DQ\ RWKHU SHUVRQ DERXW DOWHUQDWLYH RU PRGLILHG WHUPV RI WKH
                        XQGHUO\LQJ6SHFLDO3URFHGXUHV2EOLJDWLRQRQZKLFKWKH\PLJKWEHZLOOLQJ
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                          $Q\ VHUYLFLQJ DJUHHPHQW RU RWKHU GRFXPHQW XQGHU ZKLFK WKH
               6HUYLFHULVJUDQWHGVLJQDWRU\SRZHUVRURWKHUDXWKRULW\RQEHKDOIRIWKH,VVXHUZLOO
               SURYLGH WKDW VXFK SRZHUV RU DXWKRULW\ ZLWK UHVSHFW WR 6SHFLDO 3URFHGXUHV
               2EOLJDWLRQV DUH FRQGLWLRQHG XSRQ WKH SULRU ZULWWHQ DSSURYDO RI WKH ,QGHSHQGHQW
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               ,QGHSHQGHQW$GYLVRUXQWLODWOHDVWGD\VKDYHHODSVHGVLQFHWKHODWHURI D WKH
               H[HFXWLRQRIILQDOGRFXPHQWDWLRQDQG E WKHIXQGLQJLQZKROHRUSDUWRIWKH6SHFLDO
               3URFHGXUHV 2EOLJDWLRQ DQG WKHUH ZLOO KDYH EHHQ QR FRPPLWPHQW RU DUUDQJHPHQW
               SULRU WR WKDW WLPH WKDW WKH ,VVXHU ZLOO DFTXLUH DQ\ VXFK 6SHFLDO 3URFHGXUHV
               2EOLJDWLRQSURYLGHGIXUWKHUWKDWWKH6SHFLDO3URFHGXUHV2EOLJDWLRQZLOOQRWEH
               WUHDWHG DV RXWVWDQGLQJ IRU DQ\ GD\ RQ ZKLFK WKH ,VVXHU HQMR\V WKH EHQHILWV DQG
               EXUGHQV RI RZQHUVKLS IRU H[DPSOH EHFDXVH DQ\ 3HUVRQ KDV KHGJHG LWV FUHGLW
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               UHIXQGUHLPEXUVHRULQGHPQLI\DQ\SHUVRQ LQFOXGLQJDQ$IILOLDWHRIWKH6HUYLFHU 
               GLUHFWO\RULQGLUHFWO\IRU³EUHDNDJH´FRVWVRURWKHUFRVWVRUH[SHQVHVLQFXUUHGE\
               VXFKSHUVRQLIWKH,QGHSHQGHQW$GYLVRUGHWHUPLQHVWKDWWKH,VVXHUVKRXOGGHFOLQHWR
               SXUFKDVHDQ\6SHFLDO3URFHGXUHV2EOLJDWLRQ
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               DXWKRULW\WRHQWHULQWRDJUHHPHQWVRUWDNHDQ\DFWLRQRQEHKDOIRIWKH,VVXHUZLWK
               UHVSHFWWR6SHFLDO3URFHGXUHV2EOLJDWLRQVZLWKRXWWKHSULRUZULWWHQDSSURYDORIDQ
               ,QGHSHQGHQW $GYLVRU   ([FHSW DV PD\ EH FRQGLWLRQHG XSRQ  VXFK SULRU ZULWWHQ
               DSSURYDOQHLWKHUWKH6HUYLFHUQRUDQ\$IILOLDWHRIWKH6HUYLFHUPD\KROGLWVHOIRXW
               DV KDYLQJ VLJQDWRU\ SRZHUV RQ EHKDOI RI WKH ,VVXHU RU DXWKRULW\ WR HQWHU LQWR
               DJUHHPHQWVZLWKUHVSHFWWR6SHFLDO3URFHGXUHV2EOLJDWLRQVRQEHKDOIRIWKH,VVXHU
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             $      7KH ,VVXHU VKDOO QRW L  DFTXLUH RU HQWHU LQWR DQ\ 6\QWKHWLF 6HFXULW\ ZLWK
      UHVSHFW WR DQ\ 5HIHUHQFH 2EOLJDWLRQ WKH GLUHFW DFTXLVLWLRQ RI ZKLFK ZRXOG YLRODWH DQ\
      SURYLVLRQRIWKLV$QQH[RU LL XVH6\QWKHWLF6HFXULWLHVDVDPHDQVRIPDNLQJDGYDQFHVWR
      WKH6\QWKHWLF6HFXULW\&RXQWHUSDUW\IROORZLQJWKHGDWHRQZKLFKWKH6\QWKHWLF6HFXULW\LV
      DFTXLUHG RU HQWHUHG LQWR IRU WKH DYRLGDQFH RI GRXEW WKH HVWDEOLVKPHQW RI 6\QWKHWLF
      6HFXULW\FROODWHUDODFFRXQWVDQGWKHSD\PHQWRI6\QWKHWLF6HFXULW\&RXQWHUSDUWLHVIURPWKH
      DPRXQWVRQGHSRVLWWKHUHLQVKDOOQRWFRQVWLWXWHWKHPDNLQJRIDGYDQFHV 


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             %     :LWKUHVSHFWWRHDFK6\QWKHWLF6HFXULW\WKH,VVXHUZLOOQRWDFTXLUHRUHQWHU
      LQWR DQ\ 6\QWKHWLF 6HFXULW\ WKDW GRHV QRW VDWLVI\ DOO RI WKH IROORZLQJ DGGLWLRQDO FULWHULD
      XQOHVVWKH6HUYLFHUKDVILUVWUHFHLYHGDGYLFHRIFRXQVHOWKDWWKHRZQHUVKLSDQGGLVSRVLWLRQ
      RIVXFK6\QWKHWLF6HFXULW\ZRXOGQRWFDXVHWKH,VVXHUWREHHQJDJHGLQDWUDGHRUEXVLQHVV
      ZLWKLQWKH8QLWHG6WDWHVIRU8QLWHG6WDWHVIHGHUDOLQFRPHWD[SXUSRVHV

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               6\QWKHWLF 6HFXULW\ ZDV VLPLODU WR WKH FULWHULD XVHG E\ WKH 6HUYLFHU LQ PDNLQJ
               SXUFKDVHGHFLVLRQVZLWKUHVSHFWWRGHEWVHFXULWLHV

                            WKH6\QWKHWLF6HFXULW\LVDFTXLUHGE\RUHQWHUHGLQWRE\WKH,VVXHUIRU
               LWV RZQ DFFRXQW DQG IRU LQYHVWPHQW SXUSRVHV ZLWK WKH H[SHFWDWLRQ RI UHDOL]LQJ D
               SURILWIURPLQFRPHHDUQHGRQWKHVHFXULWLHV DQGDQ\SRWHQWLDOULVHLQWKHLUYDOXH 
               GXULQJWKHLQWHUYDORIWLPHEHWZHHQWKHLUSXUFKDVHDQGVDOHRUKHGJLQJSXUSRVHVDQG
               QRWZLWKDQLQWHQWLRQWRWUDGHRUWRVHOOIRUDVKRUWWHUPSURILW

                            WKH,VVXHUHQWHUVLQWRWKH6\QWKHWLF6HFXULW\ZLWKDFRXQWHUSDUW\WKDW
               LVQRWDVSHFLDOSXUSRVHYHKLFOHDQGLVDEURNHUGHDOHURUWKDWKROGVLWVHOIRXWDVLQ
               WKHEXVLQHVVRIHQWHULQJLQWRVXFKFRQWUDFWV

                           QHLWKHU WKH ,VVXHU QRU DQ\ 3HUVRQ DFWLQJ RQ EHKDOI RI WKH ,VVXHU
               DGYHUWLVHVRUSXEOLVKHVWKH,VVXHU¶VDELOLW\WRHQWHULQWR6\QWKHWLF6HFXULWLHV

                           H[FHSW ZLWK UHVSHFW WR [  FUHGLWOLQNHG QRWHV RU VLPLODU 6\QWKHWLF
               6HFXULWLHV DQG \  DQ\ RWKHU 6\QWKHWLF 6HFXULWLHV ZKHUH VWDQGDUG IRUP ,6'$
               GRFXPHQWDWLRQLVQRWDSSOLFDEOHWKH6\QWKHWLF6HFXULW\LVZULWWHQRQVWDQGDUGIRUP
               ,6'$GRFXPHQWDWLRQ

                          WKH QHW SD\PHQW IURP WKH ,VVXHU WR WKH 6\QWKHWLF 6HFXULW\
               &RXQWHUSDUW\LVQRWGHWHUPLQHGEDVHGRQDQDFWXDOORVVLQFXUUHGE\WKH6\QWKHWLF
               6HFXULW\&RXQWHUSDUW\RUDQ\RWKHUGHVLJQDWHGSHUVRQ

                           WKHUHH[LVWVQRDJUHHPHQWDUUDQJHPHQWRUXQGHUVWDQGLQJWKDW L WKH
               6\QWKHWLF6HFXULW\&RXQWHUSDUW\LVUHTXLUHGWRRZQRUKROGWKHUHODWHG5HIHUHQFH
               2EOLJDWLRQ ZKLOH WKH 6\QWKHWLF 6HFXULW\ UHPDLQV LQ HIIHFW RU LL  WKH 6\QWKHWLF
               6HFXULW\&RXQWHUSDUW\LVHFRQRPLFDOO\RUSUDFWLFDOO\FRPSHOOHGWRRZQRUKROGWKH
               UHODWHG SK\VLFDO 5HIHUHQFH 2EOLJDWLRQ ZKLOH WKH 6\QWKHWLF 6HFXULW\ UHPDLQV LQ
               HIIHFW

                             WKH 6\QWKHWLF 6HFXULW\ SURYLGHV IRU L  DOO FDVK VHWWOHPHQW LL  DOO
               SK\VLFDO VHWWOHPHQW RU LLL  WKH RSWLRQ WR HLWKHU FDVK VHWWOH RU SK\VLFDOO\ VHWWOH
               SURYLGHGWKDWLQWKHODWWHUWZRFDVHVSK\VLFDOVHWWOHPHQWSURYLGHVWKHVHWWOLQJSDUW\
               WKHULJKWWRVHWWOHWKH6\QWKHWLF6HFXULW\E\GHOLYHULQJGHOLYHUDEOHREOLJDWLRQVZKLFK
               mayLQFOXGHWKH5HIHUHQFH2EOLJDWLRQDQGWKHVHWWOLQJSDUW\PXVWQRWEHUHTXLUHGWR
               GHOLYHU WKH UHODWHG 5HIHUHQFH 2EOLJDWLRQ XSRQ WKH VHWWOHPHQW RI VXFK 6\QWKHWLF
               6HFXULW\



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                              1RWZLWKVWDQGLQJ WKH SUHFHGLQJ SDUDJUDSK D 6\QWKHWLF 6HFXULW\
               SURYLGLQJ IRU SK\VLFDO VHWWOHPHQW PD\ UHTXLUH D SDUW\ WR GHOLYHU WKH UHODWHG
               5HIHUHQFH2EOLJDWLRQLIHLWKHU

                                       L    DW WKH WLPH WKH ,VVXHU HQWHUV LQWR VXFK 6\QWKHWLF
                        6HFXULW\ VXFK 5HIHUHQFH 2EOLJDWLRQ LV UHDGLO\ DYDLODEOH WR SXUFKDVHUV
                        JHQHUDOO\LQDOLTXLGPDUNHWRU

                                        LL   WKHDGYLFHRIERWK8QLWHG6WDWHVIHGHUDOLQFRPHWD[
                        DQG LQVXUDQFH FRXQVHO RI QDWLRQDOO\ UHFRJQL]HG VWDQGLQJ LQ WKH 8QLWHG
                        6WDWHV H[SHULHQFHG LQ VXFK PDWWHUV LV WKDW XQGHU WKH UHOHYDQW IDFWV DQG
                        FLUFXPVWDQFHV ZLWK UHVSHFW WR VXFK 6\QWKHWLF 6HFXULW\ WKH DFTXLVLWLRQ RI
                        VXFK6\QWKHWLF6HFXULW\ZLOOQRWFDXVHWKH,VVXHUWREHHQJDJHGRUGHHPHG
                        WREHHQJDJHGLQDWUDGHRUEXVLQHVVZLWKLQWKH8QLWHG6WDWHVIRU8QLWHG
                        6WDWHV IHGHUDO LQFRPH WD[ SXUSRVHV RU RWKHUZLVH WR EH VXEMHFW WR 8QLWHG
                        6WDWHVIHGHUDOLQFRPHWD[RQDQHWEDVLVDQGVKRXOGQRWFDXVHWKH,VVXHUWREH
                        WUHDWHGDVZULWLQJLQVXUDQFHLQWKH8QLWHG6WDWHVXQGHUWKHODZRIWKHVWDWHLQ
                        ZKLFKWKH6\QWKHWLF6HFXULW\&RXQWHUSDUW\LVRUJDQL]HG

                           WKH6\QWKHWLF6HFXULW\LVQRWWUHDWHGE\WKH,VVXHUDVLQVXUDQFHRUD
               ILQDQFLDO JXDUDQWHH VROG E\ WKH ,VVXHU IRU 8QLWHG 6WDWHV RU &D\PDQ ,VODQGV
               UHJXODWRU\SXUSRVHV

                        $VXVHGKHUHLQ

                      ³5HIHUHQFH 2EOLJDWLRQ´ PHDQV D GHEW VHFXULW\ RU RWKHU REOLJDWLRQ XSRQ
               ZKLFKD6\QWKHWLF6HFXULW\LVEDVHG

                       ³6\QWKHWLF6HFXULW\´PHDQVDQ\VZDSWUDQVDFWLRQRUVHFXULW\RWKHUWKDQD
               SDUWLFLSDWLRQLQWHUHVWLQD/RDQWKDWKDVSD\PHQWVDVVRFLDWHGZLWKHLWKHUSD\PHQWV
               RILQWHUHVWDQGRUSULQFLSDORQD5HIHUHQFH2EOLJDWLRQRUWKHFUHGLWSHUIRUPDQFHRID
               5HIHUHQFH2EOLJDWLRQ

                      ³6\QWKHWLF6HFXULW\&RXQWHUSDUW\´PHDQVDQHQWLW\ RWKHUWKDQWKH,VVXHU 
               UHTXLUHGWRPDNHSD\PHQWVRQD6\QWKHWLF6HFXULW\ LQFOXGLQJDQ\JXDUDQWRU 

      6HFWLRQ9,      2WKHU7\SHVRI$VVHWV

             $      (TXLW\ 5HVWULFWLRQV  7KH ,VVXHU ZLOO QRW SXUFKDVH DQ\ DVVHW GLUHFWO\ RU
      V\QWKHWLFDOO\ WKDWLV

                            QRW WUHDWHG IRU 86 IHGHUDO LQFRPH WD[ SXUSRVHV DV GHEW LI WKH
               LVVXLQJHQWLW\LVD³SDUWQHUVKLS´ ZLWKLQWKHPHDQLQJRI6HFWLRQ D  RIWKH
               &RGH XQOHVVVXFKHQWLW\LVQRWHQJDJHGLQDWUDGHRUEXVLQHVVZLWKLQWKH8QLWHG
               6WDWHVRU

                          D³8QLWHG6WDWHVUHDOSURSHUW\LQWHUHVW´DVGHILQHGLQVHFWLRQRI
               WKH&RGHDQGWKH7UHDVXU\5HJXODWLRQVSURPXOJDWHGWKHUHXQGHU

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                          D UHVLGXDO LQWHUHVW LQ D  ³5(0,&´ RU DQ RZQHUVKLS LQWHUHVW LQ D
               ³)$6,7´ DVVXFKWHUPVDUHDVGHILQHGLQWKH&RGH 

      7KH,VVXHUPD\FDXVHDQ,VVXHU6XEVLGLDU\WRDFTXLUHDVVHWVVHWIRUWKLQFODXVH L RU LL 
      DERYH HDFKDQ³(7%$VVHW´ LQFRQQHFWLRQZLWKWKHZRUNRXWRIGHIDXOWHG3RUWIROLR
      2EOLJDWLRQVVRORQJDVWKHDFTXLVLWLRQRI(7%$VVHWVE\VXFK,VVXHU6XEVLGLDU\ZLOO
      QRWFDXVHWKHVWRFNRIVXFK,VVXHU6XEVLGLDU\WREHGHHPHGWREHDQ(7%$VVHW

             %     5HYROYLQJ/RDQVDQG'HOD\HG'UDZGRZQ/RDQV$OORIWKHWHUPVRIDQ\
      DGYDQFHUHTXLUHGWREHPDGHE\WKH,VVXHUXQGHUDQ\UHYROYLQJRUGHOD\HGGUDZGRZQ/RDQ
      ZLOOEHIL[HGDVRIWKHGDWHRIWKH,VVXHU¶VSXUFKDVHWKHUHRI RUZLOOEHGHWHUPLQDEOHXQGHUD
      IRUPXODWKDWLVIL[HGDVRIVXFKGDWH DQGWKH,VVXHUDQGWKH6HUYLFHUZLOOQRWKDYHDQ\
      GLVFUHWLRQ H[FHSWIRUFRQVHQWLQJRUZLWKKROGLQJFRQVHQWWRDPHQGPHQWVZDLYHUVRURWKHU
      PRGLILFDWLRQVRUJUDQWLQJFXVWRPDU\ZDLYHUVXSRQGHIDXOW DVWRZKHWKHUWRPDNHDGYDQFHV
      XQGHUVXFKUHYROYLQJRUGHOD\HGGUDZGRZQ/RDQ

             &     6HFXULWLHV/HQGLQJ$JUHHPHQWV7KH,VVXHUZLOOQRWSXUFKDVHDQ\3RUWIROLR
      2EOLJDWLRQSULPDULO\IRUWKHSXUSRVHRIHQWHULQJLQWRDVHFXULWLHVOHQGLQJDJUHHPHQWZLWK
      UHVSHFWWKHUHWR

              '     ([FHSWLRQ)URP6HFRQGDU\0DUNHW5XOHIRU'HEW6HFXULWLHV$Q\SXUFKDVH
      RID3RUWIROLR2EOLJDWLRQRWKHUWKDQD/RDQ D³'HEW6HFXULW\´ SXUVXDQWWRDFRPPLWPHQW
      DUUDQJHPHQWRURWKHUXQGHUVWDQGLQJPDGHEHIRUHRUFRQWHPSRUDQHRXVO\ZLWKFRPSOHWLRQ
      RIWKHFORVLQJDQGIXQGLQJRIVXFK'HEW6HFXULW\LVVXDQFHVKDOOEHPDGHRQO\LQFRQQHFWLRQ
      ZLWKRQHRIWKHIROORZLQJ

                        L      DQXQGHUZULWLQJRIDUHJLVWHUHGSXEOLFRIIHULQJLQZKLFKWKHVHOOHU
               KDV PDGH D ILUP XQGHUZULWLQJ FRPPLWPHQW WR WKH LVVXHU RI VXFK 'HEW 6HFXULW\
               ZKHUH QRQH RI WKH 6HUYLFHU RU DQ\ $IILOLDWH WKHUHRI DFWHG DV DQ XQGHUZULWHU RU
               SODFHPHQWDJHQWRUSDUWLFLSDWHGLQQHJRWLDWLQJRUVWUXFWXULQJWKHWHUPVRIWKH'HEW
               6HFXULW\ RWKHUWKDQWRFRPPHQWRQRIIHULQJGRFXPHQWVWRDQXQUHODWHGXQGHUZULWHU
               RU SODFHPHQW DJHQW ZKHUH WKH DELOLW\ WR FRPPHQW ZDV JHQHUDOO\ DYDLODEOH WR
               LQYHVWRUV DQG WR XQGHUWDNH GXH GLOLJHQFH RI WKH NLQG FXVWRPDULO\ SHUIRUPHG E\
               LQYHVWRUVLQVHFXULWLHV 

                         LL   DSULYDWHSODFHPHQWWRTXDOLILHGLQYHVWRUV SXUVXDQWWR5XOH$RU
               6HFWLRQ  XQGHUWKH6HFXULWLHV$FWRURWKHUVLPLODUDUUDQJHPHQW LQZKLFKVXFK
               'HEW 6HFXULW\ ZDV RULJLQDOO\ LVVXHG SXUVXDQW WR DQ RIIHULQJ FLUFXODU SULYDWH
               SODFHPHQWPHPRUDQGXPRUVLPLODURIIHULQJGRFXPHQWDQGQRQHRIWKH6HUYLFHURU
               DQ\$IILOLDWHWKHUHRIDFWHGDVDSODFHPHQWDJHQWRUXQGHUZULWHURUSDUWLFLSDWHGLQ
               QHJRWLDWLQJRUVWUXFWXULQJWKHWHUPVRIWKH'HEW6HFXULW\ RWKHUWKDQWRFRPPHQWRQ
               RIIHULQJ GRFXPHQWV WR DQ XQUHODWHG XQGHUZULWHU RU SODFHPHQW DJHQW ZKHUH WKH
               DELOLW\ WR FRPPHQW ZDV JHQHUDOO\ DYDLODEOH WR LQYHVWRUV DQG WR XQGHUWDNH GXH
               GLOLJHQFHRIWKHNLQGFXVWRPDULO\SHUIRUPHGE\LQYHVWRUVLQVHFXULWLHV RU

                       LLL  DQDFTXLVLWLRQRIRUHQWU\LQWRD6\QWKHWLF2EOLJDWLRQLQDFFRUGDQFH
               ZLWK6HFWLRQ9DERYH


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                      ,IDQ$IILOLDWHRIWKH6HUYLFHULVDFWLQJDVDQXQGHUZULWHURUSODFHPHQWDJHQW
      RUDQ$IILOLDWHRIWKH6HUYLFHURUDQHPSOR\HHRIDQ$IILOLDWHRIWKH6HUYLFHUSDUWLFLSDWHGLQ
      WKH VWUXFWXULQJ RI DQ LVVXDQFH RWKHUZLVH GHVFULEHG LQ FODXVH L  RU FODXVH LL  RI WKLV
      SDUDJUDSK'RQHRIWKHIROORZLQJDGGLWLRQDOFRQGLWLRQVPXVWEHPHW

                       [     WKH 6HUYLFHU GLG QRW SDUWLFLSDWH LQ QHJRWLDWLQJ RU VWUXFWXULQJ WKH
               WHUPVRIWKHREOLJDWLRQRUVHFXULW\ RWKHUWKDQWRFRPPHQWRQRIIHULQJGRFXPHQWVWR
               DQ XQUHODWHG XQGHUZULWHU RU SODFHPHQW DJHQW ZKHUH WKH DELOLW\ WR FRPPHQW ZDV
               JHQHUDOO\ DYDLODEOH WR LQYHVWRUV DQG WR XQGHUWDNH GXH GLOLJHQFH RI WKH NLQG
               FXVWRPDULO\SHUIRUPHGE\LQYHVWRUVLQVHFXULWLHV DQGWKH,VVXHUSXUFKDVHVQRPRUH
               WKDQRIWKHDJJUHJDWHSULQFLSDODPRXQWRIWKHWUDQFKHRIVHFXULWLHV RURWKHU
               LQVWUXPHQWV  RI ZKLFK VXFK 'HEW 6HFXULW\ LV D SDUW DQG PRUH WKDQ  RI WKH
               DJJUHJDWH SULQFLSDO DPRXQW RI VXFK WUDQFKH LV VXEVWDQWLDOO\ FRQWHPSRUDQHRXVO\
               VROGWRRQHRUPRUH3HUVRQVXQUHODWHGWRWKH6HUYLFHU DQGZKRKDYHQRWJLYHQWKH
               6HUYLFHUGLVFUHWLRQDU\WUDGLQJDXWKRULW\ RQWHUPVDQGFRQGLWLRQVVXEVWDQWLDOO\WKH
               VDPHDVWKRVHRQZKLFKWKH,VVXHULVWRSXUFKDVH

                       \      WKH 6HUYLFHU GLG QRW SDUWLFLSDWH LQ QHJRWLDWLQJ RU VWUXFWXULQJ WKH
               WHUPVRIWKHREOLJDWLRQRUVHFXULW\ RWKHUWKDQWRFRPPHQWRQRIIHULQJGRFXPHQWVWR
               DQ XQUHODWHG XQGHUZULWHU RU SODFHPHQW DJHQW ZKHUH WKH DELOLW\ WR FRPPHQW ZDV
               JHQHUDOO\ DYDLODEOH WR LQYHVWRUV DQG WR XQGHUWDNH GXH GLOLJHQFH RI WKH NLQG
               FXVWRPDULO\SHUIRUPHGE\LQYHVWRUVLQVHFXULWLHV DQGWKH,VVXHUSXUFKDVHVOHVVWKDQ
                RI WKH DJJUHJDWH SULQFLSDO DPRXQW RI DOO WUDQFKHV LVVXHG DV SDUW RI WKH
               WUDQVDFWLRQ LQ ZKLFK WKH 'HEW 6HFXULW\ ZDV LVVXHG DQG PRUH WKDQ  RI WKH
               DJJUHJDWHSULQFLSDODPRXQWRIVXFKWUDQFKHVDUHVXEVWDQWLDOO\FRQWHPSRUDQHRXVO\
               VROGWRRQHRUPRUH3HUVRQVXQUHODWHGWRWKH6HUYLFHU DQGZKRKDYHQRWJLYHQWKH
               6HUYLFHUGLVFUHWLRQDU\WUDGLQJDXWKRULW\ RQWHUPVDQGFRQGLWLRQVVXEVWDQWLDOO\WKH
               VDPHDVWKRVHRQZKLFKWKH,VVXHULVWRSXUFKDVHRU

                      ]       VXFKVHFXULW\RUREOLJDWLRQVDWLVILHVWKHUHTXLUHPHQWVDQGSURFHGXUHV
               DSSOLFDEOH WR 6SHFLDO 3URFHGXUHV 2EOLJDWLRQV LQ 6HFWLRQ ,9 DV WKRXJK LW ZHUH D
               /RDQ

      SURYLGHG KRZHYHU LQ HLWKHU RI [  RU \  WKH $IILOLDWH RI WKH 6HUYLFHU ZDV RU WKH
      HPSOR\HHVRIWKH$IILOLDWHRIWKH6HUYLFHUZHUH DFWLQJDVDQXQGHUZULWHURUSODFHPHQW
      DJHQW RURWKHUZLVHSDUWLFLSDWHGLQWKHVWUXFWXULQJRIVXFKLVVXDQFH VROHO\DVRUVROHO\DV
      DQHPSOR\HHRID3HUPLWWHG$IILOLDWH DVGHILQHGEHORZ 

                      ³3HUPLWWHG$IILOLDWH´PHDQVDQ\$IILOLDWH L WKDWLVDVHSDUDWHOHJDOHQWLW\
      WKDWLVRSHUDWHGLQGHSHQGHQWO\RIWKH6HUYLFHU LL ZKRVHSHUVRQQHODUHQRWPDQDJHGE\DQG
      ZKR GR QRW UHSRUW WR WKH SHUVRQQHO RI WKH 6HUYLFHU DQG LLL  ZKRVH SHUVRQQHO DUH QRW
      FRPSHQVDWHGEDVHGXSRQWKHSHUIRUPDQFHRIWKH6HUYLFHU

      6HFWLRQ9,, *HQHUDO5HVWULFWLRQVRQWKH,VVXHU7KH,VVXHULWVHOIVKDOOQRW

             $     KROG LWVHOI RXW WKURXJK DGYHUWLVLQJ RU RWKHUZLVH DV RULJLQDWLQJ /RDQV
      OHQGLQJIXQGVRUPDNLQJDPDUNHWLQRUGHDOLQJLQ/RDQVRURWKHUDVVHWV


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                          IN THE UNITED STATES BANKRUPTCY COURT
       1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
       2
                                          )    Case No. 19-34054-sgj-11
       3    In Re:                        )    Chapter 11
                                          )
       4    HIGHLAND CAPITAL              )    Dallas, Texas
            MANAGEMENT, L.P.,             )    Wednesday, February 3, 2021
       5                                  )    9:30 a.m. Docket
                     Debtor.              )
       6                                  )    CONFIRMATION HEARING [1808]
                                          )    AGREED MOTION TO ASSUME [1624]
       7                                  )
                                          )    Continued from 02/02/2021
       8                                  )
       9                        TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
      10                     UNITED STATES BANKRUPTCY JUDGE.

      11    WEBEX APPEARANCES:

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      24                                  (312) 853-7539

      25




                                                           Exhibit D
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        Dugaboy Investment Trust:     HELLER, DRAPER & HORN, LLC
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                                        TRUSTEE
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   18                                 (214) 767-8967
   19   For Scott Ellington,          Debra A. Dandeneau
        Isaac Leventon, Thomas        BAKER & MCKENZIE, LLP
   20   Surgent, and Frank            452 Fifth Avenue
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   22   For Certain Funds and         A. Lee Hogewood, III
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   24                                 Raleigh, NC 27609
                                      (919) 743-7306
   25




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    1   Recorded by:                  Michael F. Edmond, Sr.
                                      UNITED STATES BANKRUPTCY COURT
    2                                 1100 Commerce Street, 12th Floor
                                      Dallas, TX 75242
    3                                 (214) 753-2062
    4   Transcribed by:               Kathy Rehling
                                      311 Paradise Cove
    5                                 Shady Shores, TX 76208
                                      (972) 786-3063
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   24         Proceedings recorded by electronic sound recording;
                 transcript produced by transcription service.
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       1              DALLAS, TEXAS - FEBRUARY 3, 2021 - 9:38 A.M.

       2              THE CLERK:    All rise.    The United States Bankruptcy

       3   Court for the Northern District of Texas, Dallas Division, is

       4   now in session, the Honorable Stacey Jernigan presiding.

       5              THE COURT:    Good morning.    Please be seated.   All

       6   right.    We are ready for Day Two of the confirmation hearing

       7   in Highland Capital Management, LP, Case No. 19-34054.         I'll

       8   just make sure we've got the key parties at the moment.          Do we

       9   have Mr. Pomerantz, Mr. Morris, for the Debtor team?

      10              MR. POMERANTZ:    Yes.    Good morning, Your Honor.     Jeff

      11   Pomerantz for the Debtors.

      12              MR. MORRIS:    And I'm here as well, Your Honor.

      13              THE COURT:    All right.   Good.

      14        All right.    For our objecting parties, do we have Mr.

      15   Taylor and your crew for Mr. Dondero?

      16              MR. TAYLOR:    Yes, Your Honor.

      17              THE COURT:    Good morning.

      18        All right.    For Dugaboy Trust and Get Good Trust, do we

      19   have Mr. Draper?    (No response.)     All right.   I do see Mr.

      20   Draper.   I didn't hear an appearance.        You must be on mute.

      21              MR. DRAPER:    I'm present, --

      22              THE COURT:    Okay.

      23              MR. DRAPER:    -- Your Honor.

      24              THE COURT:    Okay.   Good morning.

      25              MR. DRAPER:    I'm present, Your Honor.




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       1              THE COURT:    Good morning.   I heard you that time.

       2   Thank you.

       3        All right.    And now for what I'll call the Funds and

       4   Advisors Objectors, do we have Ms. Rukavina present?

       5              MR. RUKAVINA:    Yes, Your Honor.     Good morning.

       6              THE COURT:    Good morning.   All right.   And I will

       7   check.    Do we have Mr. Clemente or your team there?

       8              MR. CLEMENTE:    Yes.   Good morning, Your Honor.      Matt

       9   Clemente from Sidley Austin on behalf of the Committee.

      10              THE COURT:    All right.   Ms. Drawhorn, do we have you

      11   there for the NexPoint Real Estate Partners and related funds?

      12              MS. DRAWHORN:    Yes, Your Honor.     Good morning.

      13              THE COURT:    Good morning.   All right.   Did I miss --

      14   I think that captured all of our Objectors.        Anyone who I've

      15   missed?

      16        All right.    Well, when we recessed yesterday, Mr. Morris,

      17   I think you were about to call your third witness; is that

      18   correct?

      19              MR. MORRIS:    It is, Your Honor.     But if I may, I'd

      20   like to just address the objections to the remaining exhibits,

      21   since I hope that won't take too long.

      22              THE COURT:    All right.   You may.

      23              MR. POMERANTZ:    Actually, Your Honor, before we go

      24   there, we filed the supplemental declaration of Patrick

      25   Leatham, as we indicated we would do yesterday.        We just




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       1   wanted to get confirmation again that nobody intends to cross-

       2   examine him, so that he doesn't have to sit through the

       3   festivities today.

       4              THE COURT:    All right.   Well, I did see that you

       5   filed that.

       6        Does anyone anticipate wanting to cross-examine Mr.

       7   Leatham, the balloting agent?

       8              MR. RUKAVINA:    Your Honor, I take it that that

       9   declaration is part of the record.      As long as the Court

      10   confirms that, I do not intend to call the gentlemen.

      11              THE COURT:    All right.   Well, I will take judicial

      12   notice of it and make it part of the record.       It appears at

      13   Docket Entry No. 1887.      Again, it was filed -- well, it was

      14   actually filed early this morning, I think.       So, all right.

      15   So, with --

      16              MR. MORRIS:    And to avoid --

      17              THE COURT:    Go ahead.

      18              MR. MORRIS:     To -- I was just going to say, to avoid

      19   any ambiguity, Your Honor, the Debtor respectfully moves that

      20   document into the evidentiary record.

      21              THE COURT:    All right.   The Court will --

      22        (Interruption.)

      23              THE COURT:    Someone needs to put their phone on mute,

      24   perhaps.   Unless someone was intentionally speaking.

      25        All right.   So, I will grant that request.      Docket Entry




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       1   No. 1887 will be part of the confirmation evidence of this

       2   hearing.

       3        (Debtor's Patrick Leatham Declaration at Docket 1887 is

       4   received into evidence.)

       5              THE COURT:    All right.    Anything else?   There were

       6   other exhibits I think you were going to talk about?

       7              MR. MORRIS:    Yeah.   Let me just go through them one

       8   at a time, if I may, Your Honor.

       9              THE COURT:    Okay.

      10              MR. MORRIS:    All right.    So, I'm going to deal with

      11   the transcripts that have been objected to one at a time.            And

      12   I'll just take them in order.      The first one can be found at

      13   Exhibit B.    It is on Docket No. 1822.

      14              THE COURT:    Okay.

      15              MR. MORRIS:    Exhibit B is the deposition transcript

      16   from the December 16, 2020 hearing on the Advisor and the

      17   Funds' motion for an order restricting the Debtor from

      18   engaging in certain CLO-related transactions.

      19        During that hearing, the Court heard the testimony of

      20   Dustin Norris.    Mr. Norris is an executive vice president for

      21   each of the Funds and each of the Advisors.

      22        We would be offering the transcript for the limited

      23   purposes of establishing Mr. Dondero's ownership and control

      24   over the Advisors.

      25        Mr. Norris also gave some pretty substantial testimony




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       1   concerning the so-called independent board of the Funds.

       2          And as a general matter, Your Honor, to the extent that

       3   the objection is on hearsay grounds, the transcript -- at

       4   least the portions relating to Mr. Norris's testimony --

       5   simply are not hearsay under Evidentiary Rule 801(d)(2).

       6   These are statements of an opposing party, and I think we fall

       7   well within that.

       8          So, we would respectfully request that the Court admit

       9   into the record the transcript from December 16th, at least

      10   the portions of which are Mr. Norris's testimony.

      11               THE COURT:    All right.   And, again, these appear at

      12   -- I think I heard you say B and then E.       Is that correct?

      13               MR. MORRIS:    Just B.   Just B at the moment.    B as in

      14   boy.

      15               THE COURT:    Okay.   Just B at the moment?

      16          All right.   Any objections to that?

      17               MR. RUKAVINA:    Your Honor, I had objected, but now

      18   that it's offered for that limited purpose, I withdraw my

      19   objection.

      20               THE COURT:    All right.   Then B -- I'm sorry.    Was

      21   there anyone else speaking?

      22          B will be admitted.   And, again, it appears at Docket

      23   Entry 1822.

      24          (Debtor's Exhibit B, Docket Entry 1822, is received into

      25   evidence.)




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       1              MR. MORRIS:    Okay.   Next, the next transcript can be

       2   found at Exhibit 6R, and that's Docket 1866.       Exhibit 6R is

       3   the transcript of the January 9, 2020 hearing where the Court

       4   approved the corporate governance settlement.       We think that

       5   that transcript is highly relevant, Your Honor, because it

       6   reflects not only Mr. Dondero's notice and active

       7   participation in the consummation of the corporate governance

       8   agreement, but it also reflects the Court and the parties'

       9   views and expectations that were established at that time,

      10   such that if anybody contends that there's any ambiguity about

      11   any aspect of the order, I believe that that would be the best

      12   evidence to resolve any such disputes.

      13        So, for the purpose of establishing Mr. Dondero's notice,

      14   Mr. Dondero's participation, and the parties' discussions and

      15   expectations with regard to every aspect of the corporate

      16   governance settlement, including Mr. Dondero's stipulation,

      17   the order that emerged from it, and the term sheet, we think

      18   that that's properly into evidence.

      19              THE COURT:    Any objection?

      20        All right.    6R will be admitted.    Again, at Docket Entry

      21   1822.

      22        (Debtor's Exhibit 6R, Docket Entry 1822, is received into

      23   evidence.)

      24              MR. MORRIS:    Next, Your Honor, we've got Exhibits 6S

      25   as in Sam and 6T as in Thomas.      They're companions.       And they




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       1   can be found at Docket 1866.     And those are the transcripts.

       2   The first one is from the October 27th disclosure statement

       3   hearing, and the second one actually is from the Patrick

       4   Daugherty, I believe, lift stay motion.

       5        I'll deal with the first one first, Your Honor.          We

       6   believe that the transcript of the October 27th hearing goes

       7   to the good faith nature of the Debtor's proposed plan.             It

       8   shows that the Debtor and the Committee were not always

       9   aligned on every interest.     It shows that the Committee, in

      10   fact, strenuously objected to certain aspects of the then-

      11   proposed plan by the Debtors.      And we just think it goes to

      12   the heart of the good faith argument.

      13        The transcript for the 28th, we would propose to offer for

      14   the limited purpose of the commentary that you offered at the

      15   end of that hearing, where Your Honor made it clear that

      16   employee releases would not be -- would not likely be

      17   acceptable to the Court unless there was some consideration

      18   paid.

      19        And it was really, frankly, Your Honor's comments that

      20   helped spur the Committee and the Debtor to discuss over the

      21   next few weeks the resolution of the issues concerning the

      22   employee releases.

      23        So we're not offering Exhibit 6T for anything having to do

      24   with Mr. Daugherty or his claim, but just the latter portion

      25   relating to the discussion about the employee releases.             And,




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       1   with that, we'd move those transcripts into evidence.

       2              THE COURT:    Any objection?

       3              MR. RUKAVINA:    Your Honor, yes, I do object.      6S is

       4   hearsay, and under Rule 804(b)(1) it's admissible only if the

       5   witnesses are unavailable to be called.       There's been no

       6   suggestion that they're not.

       7        As far as 6T, what Your Honor says is not hearsay, so as

       8   long as it's just what Your Honor was saying, I do not object

       9   to 6T.   I object to the balance of it.

      10              THE COURT:    Okay.    What about that objection on 6S?

      11              MR. MORRIS:    Yeah.   One second, Your Honor.     I would

      12   go to the residual exception to the hearsay rule under 807.

      13   807 specifically applies if the statement being offered is

      14   supported by sufficient guarantees of trustworthiness and it's

      15   more probative on the point -- and the point here is simply to

      16   help buttress the Debtor's good faith argument -- and it's

      17   more probative on the point than any other evidence.          And I'm

      18   not sure what better evidence there would be than an on-the-

      19   record discussion between the Debtor and the Committee as to

      20   the disputes they were having on the disclosure statement.

      21              THE COURT:    All right.   I'm going to overrule the

      22   objection and accept that 807 exception as being valid here.

      23   So, I am admitting both 6S and 6T.        And for the record, I

      24   think you said they appeared at 1866.       They actually appear at

      25   1822.




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       1              MR. MORRIS:    Okay, Your Honor.    I am corrected.     It

       2   is 6S and 6T, and they are indeed at 1822.       Forgive me.

       3              THE COURT:    Okay.

       4        (Debtor's Exhibits 6S and 6T, Docket Entry 1822, is

       5   received into evidence.)

       6              MR. MORRIS:    The next transcript and the last one is

       7   6U, which is also at 1822.       6U is the transcript from the

       8   December 10th hearing on the Debtor's motion for a TRO against

       9   Mr. Dondero.   We believe the entirety of that transcript is

      10   highly relevant, and it relates specifically to the Debtor's

      11   request for the exculpation, gatekeeper, and injunction

      12   provisions of their plan.        And on that basis, we would offer

      13   that into evidence.

      14              THE COURT:    Any objection?

      15              MR. TAYLOR:    Yes, Your Honor.    This is Clay Taylor on

      16   behalf of Mr. Dondero.

      17        We do object, on the same basis that it is hearsay.          There

      18   has certainly been plenty of testimony before this Court and

      19   on the record as to why the Debtor believes that its plan

      20   provisions are appropriate and allowable, and there's no need

      21   to allow hearsay in for that.        All of the witnesses were

      22   available to be called by the Debtor.        The Debtor is in the

      23   midst of its case and can call whoever else it needs to call

      24   to get these into evidence or to get those docs into evidence.

      25   And therefore, we don't believe that any residual exception




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       1   should apply.

       2              THE COURT:    Mr. Morris, your response?

       3              MR. MORRIS:    First, Your Honor, any statements made

       4   by or on behalf of Mr. Dondero would not be hearsay under

       5   801(d)(2).

       6        And secondly, there is no other evidence of the Debtor's

       7   motion of the -- of the argument that was had.        There is no

       8   other evidence, let alone better evidence, than the transcript

       9   itself.   And I believe 807 is certainly the best rule to

      10   capture that.

      11        It is a statement that's supported by sufficient

      12   guarantees of trustworthiness.        Again, these are the litigants

      13   appearing before Your Honor.      It may not be sworn testimony,

      14   but I would hope that everybody is doing their best to comply

      15   with the guarantee of trustworthiness in that regard, putting

      16   aside advocacy.

      17        And it is more probative on the point for which we're

      18   offering -- and that is on the very issues of exculpation,

      19   gatekeeper, and injunction -- than anything else we can offer

      20   in that regard.

      21              THE COURT:    All right.    I overrule the objection and

      22   I will admit 6U.    Okay.

      23        (Debtor's Exhibit 6U, Docket Entry 1822, is received into

      24   evidence.)

      25              MR. MORRIS:    All right.    Going back to the top, Your




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       1   Honor, Companions Exhibit D as in David and E as in Edward,

       2   which are at Docket 1822.

       3        Exhibit D is an email string that relates to the Debtor's

       4   communications with the Creditors' Committee concerning a

       5   transaction known as SSP, which stands for Steel Products --

       6   Structural and Steel Products.      So that was an asset that the

       7   Debtor was selling, trying to sell at a particular point in

       8   time.   And Exhibit E is a deck that the Debtor had prepared

       9   for the benefit of the UCC.

      10        And if we looked that those documents, Your Honor, you'd

      11   see that the Debtor was properly following the protocols that

      12   were put in place in connection with the January 9th corporate

      13   governance settlement.     And the Committee is being informed by

      14   the Debtor of what the Debtor intends to do with that

      15   particular asset.

      16        And the reason that it's particularly relevant here, Your

      17   Honor, is Dustin Norris had submitted a declaration in support

      18   of their motion that was heard on September -- on December

      19   16th.   That declaration is an exhibit to what is Exhibit A on

      20   Docket 1822.    Exhibit A on the docket is the Advisor and the

      21   Funds' motion.    Okay?   So, Exhibit A is the motion.        Attached

      22   to that Exhibit A is an exhibit, which is Mr. Norris's

      23   declaration.

      24        At Paragraph 9 of Mr. Norris's declaration, he takes issue

      25   with the Debtor's process for the sale of that particular




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       1   asset.

       2        And so, having admitted already into the record Mr.

       3   Norris's declaration, we believe that these documents rebut

       4   the statements made in Mr. Norris's declaration, and indeed,

       5   were part of the transcript that has now already been admitted

       6   into evidence.    So we think the documents are needed because

       7   they were exhibits during that hearing.

       8              THE COURT:    All right.   Any objection?

       9              MR. RUKAVINA:    Your Honor, yes, I object based on

      10   authenticity.    This document has not been authenticated, nor

      11   has the attachment.      And on hearsay.   And I don't think that

      12   the Debtor can introduce one exhibit just to introduce another

      13   to rebut the first.

      14              THE COURT:    Your response?

      15              MR. MORRIS:    You know, in all honesty, I wish that

      16   the authenticity objection had been made yesterday and I might

      17   have been able to deal with that.

      18        These documents have already been admitted by the Court

      19   against these very same parties.      I think it would be a little

      20   unfair for them now to exclude the document that they had no

      21   objection to the first time around.        They clearly relate to

      22   Paragraph 9 of Mr. Norris's declaration, which was admitted

      23   into evidence in this case without objection.

      24              THE COURT:    All right.   I overrule the objection.       D

      25   and E are admitted.




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       1        (Debtor's Exhibits D and E, Docket Entry 1822, is received

       2   into evidence.)

       3              MR. MORRIS:   Next, Your Honor, we have Exhibits 4D as

       4   in David, 4E as in Edward, and 4G as in Gregory.       And those

       5   can all be found on Docket 1822.      And to just cut to the

       6   chase, Your Honor, these are the K&L Gates letter that were

       7   sent in late December and my firm's responses to those

       8   letters.

       9        Those letters are being offered, again, to support --

      10   well, the Debtor contends that, in the context of this case,

      11   and at the time and under the circumstances, the letters

      12   constituted interference and evinces a disregard for the

      13   January 9th order, for Mr. Dondero's TRO, and for the Court's

      14   comments at the December 16th hearing.      And they go

      15   specifically to the Debtor's request for the gatekeeper,

      16   exculpation, and injunction provisions.

      17        To the extent that those exhibits contain the letters that

      18   were sent on behalf of the Funds and on behalf of the

      19   Advisors, they would simply not be hearsay under 801(d)(2).

      20   And to the extent the objection goes to my firm's response, I

      21   think just as a matter of completeness the Court -- I won't

      22   offer them for the truth of the matter asserted.       I'll simply

      23   offer the Pachulski responses at those exhibits for the

      24   purpose of stating the Debtor's position, without regard to

      25   the truth of the matter asserted.




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       1               THE COURT:    All right.   Any objection?

       2               MR. RUKAVINA:    Your Honor, with that understanding,

       3   I'll withdraw my objection to these exhibits.

       4               THE COURT:    All right.   So, 4D, 4E, and 4G are

       5   admitted.

       6        (Debtor's Exhibits 4D, 4E, and 4G, Docket Entry 1822, are

       7   received into evidence.)

       8               MR. MORRIS:    Next, Your Honor, we've got Exhibit 5T

       9   as in Thomas.    That document can be found at Docket No. 1822.

      10   Your Honor, that document is a schedule of a long list of

      11   promissory notes that are owed to the Debtor by the Advisors,

      12   Dugaboy, and Mr. Dondero.      But I think that, upon reflection,

      13   I'll withdraw that exhibit.

      14               THE COURT:    All right.

      15        (Debtor's Exhibit 5T is withdrawn.)

      16               MR. MORRIS:    And then, finally, just one last one.       I

      17   think Mr. Rukavina objected to Exhibit 7O as in Oscar, which

      18   can be found at Docket No. 1877.       Exhibit 7O are the documents

      19   that were admitted in the January 21st hearing, and I believe

      20   that they all go -- they're being offered to support the

      21   Debtor's application for the gatekeeper, exculpation, and

      22   injunction provisions.

      23               THE COURT:    All right.   7O is being offered.    Any

      24   objection?

      25               MR. RUKAVINA:    Yes, Your Honor.   I do object.    Those




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       1   are exhibits from a separate adversary proceeding that has not

       2   been concluded.    In fact, my witness is still on the stand in

       3   that.

       4        And I'll note that that's another 20,000 pages that's very

       5   duplicative of the current record, and we already are going to

       6   have an unwieldy record.       So I question why Mr. Norris -- why

       7   Mr. Morris would even need this.

       8        So that's my objection, Your Honor.

       9              MR. MORRIS:    You know what?    That's a fair point,

      10   Your Honor.    And -- that is a fair point, and I guess what I'd

      11   like to do is at some point this morning see if I can single

      12   out documents that are not duplicative and come back to you

      13   with very specific documents.        I think that's a very fair

      14   point.

      15              THE COURT:    All right.

      16              MR. MORRIS:    And with that, Your Honor, I think we've

      17   now addressed every single document that the Debtor has

      18   offered into evidence, and I believe, other than the

      19   withdrawal of --

      20              THE COURT:    5T.

      21              MR. MORRIS:    -- 5T --

      22              THE COURT:    Uh-huh.

      23              MR. MORRIS:    -- and the open question on 7O, I

      24   believe every single document at Docket 1822, 1866, and 1877

      25   has been admitted.      Do I have that right?




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       1              THE COURT:    All right.   Yes, because I did admit

       2   yesterday 7F through 7Q, minus 7O, at 1877.        So, yes, I agree

       3   with what you just said.

       4              MR. RUKAVINA:    Your Honor, I apologize.     And Mr.

       5   Morris.   I have that 5S -- or six -- that 5S and 6C, Legal

       6   Entities List, have not been admitted.         But if I'm wrong on

       7   that, then I apologize.

       8              THE COURT:    Okay.   5S was part of 1866, which I

       9   admitted entirely.

      10        And what was the other thing?

      11              MR. RUKAVINA:    I'm counting letters, Your Honor.

      12   One, two, three, four.      6D, Legal Entities List, Redacted.

      13              THE COURT:    Okay.   6B would have been --

      14              MR. RUKAVINA:    D, Your Honor, as in dog.     I'm sorry.

      15   6-dog.

      16              THE COURT:    Okay.   6D, yeah, that was part of 1822

      17   that I admitted en masse yesterday.

      18              MR. MORRIS:     Yeah, I didn't hear an objection to that

      19   one yesterday, and I agree, Your Honor.        My records show that

      20   it was already admitted.

      21              MR. RUKAVINA:    Then I apologize to the Court.

      22              THE COURT:    All right.   Any --

      23              MR. MORRIS:    No worries.   Let's get --

      24              THE COURT:    Any other housekeeping matters before we

      25   go to the next witness?




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       1               MR. MORRIS:    No, Your Honor.    Not from the Debtor.

       2               THE COURT:    Anyone else?

       3       All right.    Well, let's hear from the next witness.

       4               MR. MORRIS:    All right, Your Honor.    The Debtor calls

       5   as its next and last witness Marc Tauber.

       6               THE COURT:    All right.    Mr. --

       7               MR. MORRIS:    Mr. Tauber, if you're on the phone,

       8   please identify yourself.

       9       (No response.)

     10                THE COURT:    Mr. Tauber, we're not hearing you.

     11    Perhaps you are on mute.         Could you unmute your device?

     12        (No response.)

     13                THE COURT:    All right.    If it's a phone, you need to

     14    hit *6.

     15        Hmm.    Any -- do you know which caller he is?

     16                THE CLERK:    I'm trying to find out.

     17                THE COURT:    All right.    We've got well over a hundred

     18    people, so we can't easily identify where he is at the moment.

     19        All right.    Mr. Tauber, Marc Tauber?       This is Judge

     20    Jernigan.    We cannot hear you, so -- all right.       Well, maybe

     21    we can --

     22                MR. MORRIS:    Can we just take a three-minute break

     23    and let me see if I can track him down?

     24                THE COURT:    Yes.    Why don't you do that?   So let's

     25    take a three-minute break.




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       1              MR. MORRIS:    Thank you, Your Honor.

       2              THE COURT:    Okay.

       3        (A recess ensued from 10:02 a.m. until 10:04 a.m.)

       4              MR. MORRIS:    Your Honor, if we may, he'll be dialing

       5   in in a moment.    But I've been reminded that there is one more

       6   exhibit.    It's the exhibit I used on rebuttal yesterday with

       7   Mr. Seery.    There was the one document that was on the docket,

       8   and that was the Debtor's omnibus reply to the plan

       9   objections, where we looked at Paragraph 135, I believe.         And

      10   we would offer that into evidence for the purpose of just

      11   establishing that the Debtor had given notice no later than

      12   January 22nd of its agreement in principle to assume the CLO

      13   management contracts.

      14        And then the second exhibit that we had offered that I

      15   think I suggested could be marked as Exhibit 10A was the email

      16   string between my firm and counsel for the CLO Issuers where

      17   they agreed to the agreement in principle for the Debtor's

      18   assumption of the CLO management contracts.

      19        And we would offer both of those documents into evidence

      20   as well.

      21              THE COURT:    All right.   Any objections?

      22        All right.    Well, I will admit them.

      23        As far as this email string with the CLO Issuers that you

      24   called 10A, does that appear on the docket?        I remember you

      25   putting it on the screen, but, if not, you'll need to file a




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       1   supplement to the record, a supplemental exhibit.

       2              MR. MORRIS:    We will, Your Honor.   We'll do that for

       3   both of those exhibits.

       4              THE COURT:    And then as -- okay, for both?       Because I

       5   -- I've read that reply, and I could reference the docket

       6   number if we need to.

       7              MR. MORRIS:    We'll clean that up, Your Honor.

       8              THE COURT:    Okay.

       9        (Debtor's Exhibit 10A is received into evidence.)

      10        (Clerk advises Court re new caller.)

      11              THE COURT:    Oh, okay.    Just a minute.   I was looking

      12   up something.

      13        (Pause.)

      14              THE COURT:    All right.    Well, you're going to file --

      15   hmm, I really wanted to just reference where that reply brief

      16   appears on the record.     There were a heck of a lot of things

      17   filed on January 22nd.

      18        (Interruption.)

      19              THE COURT:    Okay.   We'll --

      20              MR. MORRIS:    All right.    We're just going to need one

      21   more minute with Mr. Tauber.      It's my fault, Your Honor.

      22              THE COURT:    Okay.

      23              MR. MORRIS:    I didn't send him easily-digestible

      24   dial-in instructions.     He'll be just a moment.

      25              THE COURT:    Okay.




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      1        (Court confers with Clerk regarding exhibit.)

      2               THE COURT:    Oh, it's at 1807?    Okay.   So, the reply

      3   brief that we talked about Paragraph 35, that is at Docket No.

      4   1807.   Okay?   All right.

      5        (Debtor's Omnibus Reply to Plan Objections, Docket 1807,

      6   is received into evidence.)

      7        (Pause.)

      8               MR. TAUBER:    Hi.    It's Marc Tauber.

      9               THE COURT:    All right.

     10               MR. MORRIS:    Excellent.

     11               THE COURT:    Mr. Tauber, this is Judge Jernigan.      I

     12   can hear you, but I can't see you.        Do you have a video --

     13               MR. TAUBER:    Yeah, I don't know why it's not working.

     14               THE COURT:    Hmm.

     15               MR. TAUBER:    I'm on WebEx all day.      Usually it works

     16   no problem.

     17               THE COURT:    Okay.    Well, do you want to give it

     18   another try or two?

     19               MR. TAUBER:    Yeah.    It looks like it's starting to

     20   come up.    It's all -- pictures, so --

     21               THE COURT:    Okay.

     22               MR. TAUBER:    -- hopefully you'll be able to see me in

     23   a second.

     24               THE COURT:    Okay.    The first thing I'm going to need

     25   to do is swear you in, so we'll see if the video comes up here




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       1   in a minute.

       2              MR. TAUBER:    Okay.

       3              THE COURT:    Can you see us, Mr. Tauber?

       4              MR. TAUBER:    I can see four people.     The rest are

       5   just names still.

       6              THE COURT:    Okay.

       7              MR. TAUBER:    I can go out and try to come back in, if

       8   you think that's --

       9              THE COURT:    I'm afraid of losing you.     So, your

      10   audio, is it on your phone or is it on --

      11              MR. TAUBER:    No.

      12              THE COURT:    -- a computer?

      13              MR. TAUBER:    On the computer.   Yeah.

      14              THE COURT:    Okay.    So you're coming through loud and

      15   clear on your computer.

      16              MR. TAUBER:    Yeah.   Like I said, we use WebEx for

      17   work, so I have them on all day long without any issues,

      18   typically.

      19              THE COURT:    Okay.

      20        (Court confers with Clerk.)

      21              THE COURT:    Okay.    Our court reporter thinks it's a

      22   bandwidth issue on your end, so I don't --

      23              MR. TAUBER:    There's only two of us here at home on

      24   the line right now, so I don't know why.       It looks like it's

      25   trying to come in, and then just keeps --




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       1              THE COURT:    I at least see your name on the screen

       2   now, which I did not before.

       3              MR. TAUBER:    Yeah.

       4              THE COURT:    So hopefully we're going to -- ah.      We

       5   got you.

       6              MR. TAUBER:    There it is.

       7              THE COURT:    All right.

       8              MR. TAUBER:    Yeah.

       9              MR. MORRIS:    There we go.

      10              MR. TAUBER:    I might lose you, though.      Give me one

      11   second, because I have a thing saying the WebEx meeting has

      12   stopped working.     Let me close that.

      13              THE COURT:    Okay.    We've still got you.   Please raise

      14   your right hand.

      15              MR. TAUBER:    Okay.

      16                  MARC TAUBER, DEBTOR'S WITNESS, SWORN

      17              THE COURT:    All right.   Thank you.   Mr. Morris?

      18              MR. MORRIS:    Thank you, Your Honor.

      19                            DIRECT EXAMINATION

      20   BY MR. MORRIS:

      21   Q    Good morning, Mr. Tauber.

      22   A    Good morning.

      23   Q    I apologize for the delay in getting you the information.

      24   Are you currently employed, sir?

      25   A    Yes, sir.




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       1   Q      By whom?

       2   A      Aon Financial Services.

       3   Q      And does Aon Financial Services provide insurance

       4   brokerage services among its services?

       5   A      Yes.

       6   Q      And what position do you currently hold?

       7   A      Vice president.

       8   Q      How long have you been a vice president at Aon?

       9   A      Since October of 2019.

      10   Q      Can you just describe for the Court generally your

      11   professional background?

      12   A      Sure.   I spent about 20 years on Wall Street, working in a

      13   variety of jobs, in research, trading, and as the COO of a

      14   hedge fund.       And then in 2010 I switched to the insurance

      15   world.    I was an underwriter for ten-plus years for Zurich and

      16   QBE.    And then in 2019 switched to the brokering side for Aon.

      17   Q      And what are your duties and responsibilities as a vice

      18   president at Aon?

      19   A      Well, we're responsible or my team and I are responsible

      20   for creating bespoke insurance programs, focusing on D&O and

      21   E&O insurance for our insureds.

      22   Q      And what is, for the benefit of the record, what do you

      23   mean by bespoke insurance program?

      24   A      Well, each client is different, so the programs and the

      25   policies that we put in place might be off-the-shelf policies,




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       1   but we endorse and amend them as needed to meet the needs of

       2   the individual client.

       3   Q    And during your work, both as an underwriter and now as a

       4   broker, have you familiarized yourself with the market for D&O

       5   and E&O insurance policies?

       6   A    Yes.

       7   Q    All right.   Let's talk about the early part of this case.

       8   Did there come a time in early 2020 when Aon was asked to

       9   place insurance on behalf of the board of Strand Advisors?

      10   A    Yes.

      11   Q    Can you describe for the Court how that came about?

      12   A    Sure.   One of our account executives, a man by the name of

      13   Jim O'Neill, had a relationship with a man named John Dubel,

      14   who was one of the appointees to serve on -- as a member of

      15   Strand, which was being appointed, as we understood it, to be

      16   the general partner of Highland Capital Management by the

      17   Bankruptcy Court.    And they -- we had done -- or, Jim and John

      18   had a longstanding relationship.      I had actually underwritten

      19   an account for a previous appointment of John's when I was an

      20   underwriter, so I had some familiarity with John as well, and

      21   actually brokered a subsequent deal for John at Aon.

      22        So I had, again, some familiarity with John, and we were,

      23   you know, tasked with going out and finding a program for

      24   Strand.

      25   Q    Can you describe what happened next?      How did you go about




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       1   accomplishing that task?

       2   A    So, there are a number of markets or insurance companies

       3   that provide management liability insurance, which this was a

       4   management liability-type policy.      D&O is a synonym for

       5   management liability, I guess you'd say.       And we approached

       6   the, I think, 14 or 15 markets that we knew to provide

       7   insurance in this space and that would be willing to buy the

       8   type of policy we were seeking and have interest in a risk

       9   like this, which had a little hair on it.       Obviously, there

      10   was the Dondero involvement, as well as the bankruptcy.

      11   Q    As part of that process, did you and your firm put

      12   together a package of information for prospective interested

      13   parties?

      14   A    Yes.

      15   Q    Can you describe for the Court what was contained in the

      16   package?

      17   A    Had the C.V.s, some relevant pleadings from the case,

      18   court order.    I'd have to go back and look exactly.         But sort

      19   of just general, you know, general information that was

      20   available about the situation at hand and Strand's

      21   appointment.

      22   Q    And the court order that you just mentioned, is that the

      23   one that had that gatekeeper provision in it?

      24   A    Correct.

      25   Q    And can you explain to the Court why you and your team




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       1   decided to include the order with the gatekeeper provision in

       2   the package that you were delivering to prospective carriers?

       3   A    Sure.   In our initial conversations to discuss our

       4   engagement, the gatekeeper function was explained to us by

       5   John.    And I'm not sure who else was on the initial call.

       6   And, but it was explained to us that I guess Judge Jernigan

       7   would sit as the gatekeeper between any potential claimant

       8   against the insureds and, you know, would basically have to

       9   approve any claim that would be made against (indecipherable),

      10   which would thereby prevent any frivolous claims from

      11   happening.

      12   Q    All right.   Let's just talk for a moment.      How did you and

      13   your firm decide which underwriters to present the package to?

      14   A    Again, you know, I -- my background, or my Wall Street

      15   background, obviously, sort of made me have a -- it was very

      16   unique for the insurance world when I switched over, so I had

      17   sort of risen to a certain level of expertise within the

      18   space.    And, you know, our team also is very experienced, and

      19   decades of experience in the insurance world.       So we're very

      20   familiar with the markets that are willing to provide these

      21   types of policies and the markets that would be likely to take

      22   a look at a risk such as this.

      23   Q    Okay.   You mentioned that there was -- I think your words

      24   were a little hair on this, and one of the things you

      25   mentioned was bankruptcy.     How did the fact that Strand was




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       1   the general partner of a debtor in bankruptcy impact your

       2   ability to solicit D&O insurance?

       3   A    Well, it's just not a plain vanilla situation, so people

       4   are somewhat, you know, are -- I think -- so, the type of

       5   insurance, D&O insurance, that we write is very different from

       6   auto insurance, as an example.     Auto insurance, people expect

       7   there to be a certain amount of claims, and they expect the

       8   premiums to cover the claims plus the expenses and then

       9   provide them a reasonable profit on top of that.

      10        Our insurance is really much more by binary.       The

      11   expectation for underwriters is that they will be completing

      12   ignoring -- or, avoiding risk at all costs, wherever possible.

      13   So anytime there is a situation that looks a little risky, so

      14   the premium might be a little higher, the deductible might be

      15   a little higher, but, again, the underwriters are really

      16   making a bet that they will not have a claim.       Because the

      17   premiums pale in comparison to the limits that are available

      18   to the policyholder.

      19   Q    And so --

      20   A    So, -- I'm sorry.    What were you going to say?

      21   Q    I didn't mean to interrupt.

      22   A    Yeah.

      23   Q    Have you finished your answer?

      24   A    Sure.

      25   Q    Okay.   So, were some of the 14 or 15 markets that you




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       1   contacted reluctant to underwrite because there was a

       2   bankruptcy ongoing?

       3   A    Well, I think that probably -- I mean, there are certain

       4   markets that we didn't go to in the beginning because they

       5   would be very reluctant to write a risk that had that kind of

       6   hair on it, based on our experience from dealing with them.

       7   And, you know, I think the bankruptcy was certainly a little

       8   bit of an issue.    And then, obviously, as people did their

       9   research and -- or if they weren't already familiar with

      10   Highland and got to know, you know, got -- I will just say for

      11   a simple Google search and learned a little bit about Mr.

      12   Dondero, I think there was definitely some significant

      13   reluctance to write this program.

      14   Q    Was the fact that the Debtor -- was the fact that the

      15   Debtor is a partnership an issue that came up, in your -- in

      16   your process?

      17   A    There are certainly some carriers who won't write what's

      18   known as general partnership liability insurance.        So, yes,

      19   that is part of that.     It was part of the limiting factor in

      20   terms of who we went to.

      21   Q    Okay.   And, finally, you mentioned Mr. Dondero.         What role

      22   did he play in your ability to obtain insurance for the Strand

      23   board?

      24   A    Well, that's a very significant role.      As, you know, as

      25   mentioned, the underwriters are very risk-averse, so the




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       1   litigiousness of Mr. Dondero is a very strong red flag

       2   prohibiting a number of people from writing the insurance at

       3   all.    And the ones that were writing, that were willing to

       4   provide options, were looking for protections from Mr.

       5   Dondero.

       6   Q      And what kind of protections were they looking for?

       7   A      Well, the gatekeeper function was a key factor.        That was

       8   really the only way we could even start a conversation with

       9   any of the people that we were able to engage.       And in

      10   addition, they wanted a, you know, sort of a belts and

      11   suspenders additional protection of having an exclusion

      12   preventing any litigation brought by or on behalf of Mr.

      13   Dondero.

      14   Q      Were you able to identify any carrier who was prepared to

      15   underwrite D&O insurance for Strand without the gatekeeper

      16   provision or without a Dondero exclusion?

      17   A      We were not.

      18   Q      Okay.   Let's fast-forward now.   Has your firm been

      19   requested to obtain professional management insurance for the

      20   contemplated post-confirmation debtor entities and individuals

      21   associated with those entities?

      22   A      Yes.

      23   Q      Okay.   So let's just talk about the entities first, the

      24   Claimant Trust and the Litigation Trust.       In response to that

      25   request, have you and your team gone out into the marketplace




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       1   to try to find an underwriter willing to underwrite a policy

       2   for those entities?

       3   A    Yes.

       4   Q    And have you been able to find any carrier who's willing

       5   to provide coverage for the Claimant Trust and the Litigation

       6   Trust?

       7   A    Yes.

       8   Q    And how many -- how many have expressed a willingness to

       9   do that?

      10   A    Two.

      11   Q    And have those two carriers indicated that there would be

      12   conditions to coverage for the entities?

      13   A    Both will require a -- the continuation of the gatekeeper

      14   function, as well as a Dondero exclusion.

      15   Q    Okay.   Have you also been tasked with the responsibility

      16   of trying to find coverage for the individuals associated with

      17   the Claimant Trust and the Litigation Trust, meaning the

      18   Claimant Trustee, the Litigation Trustee, and the Oversight

      19   Board?

      20   A    Yes.    So we did it concurrently.

      21   Q    Okay.   So, are the two firms that you just mentioned

      22   willing to provide insurance for the individuals as well as

      23   the entities?

      24   A    Correct.    With the same stipulations.

      25   Q    They require -- they both require the gatekeeper and the




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       1   Dondero exclusion?

       2   A    That's correct.

       3   Q    Is there any other firm who has indicated a willingness to

       4   consider providing D&O insurance for the individuals?

       5   A    There is one that is willing to do so, as long as the

       6   gatekeeper function remains in place.       They have indicated

       7   that if the gatekeeper function was to be removed, that they

       8   would then add a Dondero exclusion to their coverage.

       9   Q    So is there any insurance carrier that you're aware of who

      10   is prepared to insure either the individuals or the entities

      11   without a gatekeeper provision?

      12   A    No.

      13   Q    And that last company, I just want to make sure the record

      14   is clear:    If the gatekeeper provision is overturned on appeal

      15   or is otherwise not effective, do you have an understanding as

      16   to what happens to the insurance coverage?

      17   A    They will either add an exclusion for any claims brought

      18   by or on behalf of Mr. Dondero or cancel the coverage

      19   altogether.

      20               MR. MORRIS:    I have no further questions, Your Honor.

      21               THE COURT:    All right.   Cross of this witness?

      22                              CROSS-EXAMINATION

      23   BY MR. RUKAVINA:

      24   Q    Mr. Tauber, I'm a little confused.        So, the insurance

      25   that's being written now for the post-bankruptcy entities, did




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       1   I hear you say that there is one carrier that would give that

       2   insurance subject to having a Dondero exclusion?

       3   A    So, first of all, there's nothing currently being written.

       4   We have solicited quotes.        So, just to make sure that that --

       5   I want to make sure that's clear.

       6        We have three carriers that are willing to provide varying

       7   levels of coverage.        All three will only do so with the

       8   existence of the gatekeeper function continuing to be in

       9   place.     One of the three has -- two of those three will also

      10   provide the coverage with -- even with the gatekeeper function

      11   and the Dondero exclusion.       The third one was not requiring a

      12   Dondero exclusion unless the gatekeeper function goes away.

      13   Q    Okay.    So the third one, you believe, will, whatever the

      14   term is, write the insurance or provide the coverage without a

      15   gatekeeper, as long as there is a strong Dondero exclusion?

      16   A    No.    Their initial requirement is that the gatekeeper

      17   function remains in place.       That is their preferred option.

      18   If the gatekeeper function is removed, then they will add a

      19   Dondero exclusion in place of the gatekeeper exclusion.          In

      20   addition, that carrier is only willing to provide coverage for

      21   the individuals, not for the entities.

      22   Q    Okay.    Thank you.

      23                MR. RUKAVINA:    I'll pass the witness, Your Honor.

      24                THE COURT:    All right.   Other cross?

      25                MR. TAYLOR:    Clay Taylor on behalf of Mr. Dondero.




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       1                THE COURT:   Okay.

       2                              CROSS-EXAMINATION

       3   BY MR. TAYLOR:

       4   Q    Good morning, Mr. Tauber.

       5   A    Good morning.

       6   Q    Are you generally familiar with placing D&O insurance at

       7   distressed debt level private equity firms?

       8   A    I am familiar with it probably more from the underwriting

       9   side, and I also worked at a fund that was distressed and had

      10   to be liquidated, so I -- as the COO, so I have a fair amount

      11   of familiarity, yes.

      12   Q    Okay.    Before taking this to market for the first time for

      13   the pre-confirmation policies that you have in place, did your

      14   firm conduct any due diligence or analysis of comparing the

      15   amount of litigation the Highland entities and Mr. Dondero

      16   were involved in as compared to other comparable firms in the

      17   marketplace?     Say, you know, Apollo, Fortress, Cerberus, other

      18   similar market participants?

      19   A    Well, it wouldn't really be our role as the broker.

      20   That's the role of the underwriter.

      21   Q    Are you familiar if any of the underwriters undertook any

      22   such analysis?

      23   A    I would assume that they did, since they all had concerns

      24   about Mr. Dondero almost immediately.

      25   Q    Do you have any -- you didn't conduct any personal due




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       1   diligence on comparing the amount of litigation that the

       2   Highland entities were involved in as compared to, say,

       3   Fortress, do you?

       4   A    Well, again, that wouldn't really be my role as the

       5   broker.   But I will say that I used to write the primary

       6   insurance for Fortress Investment Group when I was at Zurich.

       7   So I'm extremely familiar with Fortress, to use your example,

       8   and I would say that the level of litigation at Fortress was

       9   much, just out of personal knowledge, was significantly less

      10   than I had encountered or than I had read about at Highland.

      11   Q    That you have read about?     Is that based upon a number of

      12   cases where Fortress was a plaintiff as compared to Highland

      13   was a plaintiff?    Over what time period?

      14   A    Again, not my role.    Not something that I've done.      I'm

      15   just generally familiar with Fortress and I'm generally

      16   familiar with Highland.

      17   Q    All right.    So you're generally familiar and you say that

      18   -- you're telling me and this Court that Fortress is involved

      19   in less litigation.     Could you quantify that for me, please?

      20   A    No, but it's really irrelevant to the situation at hand.

      21   The issue is not my feelings whatsoever.       The issue is the

      22   underwriters' feelings and their concern with Mr. Dondero, not

      23   mine or anybody else's.

      24   Q    So, I appreciate your answer and thank you for that, but I

      25   believe the question that was before you is, have you




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       1   quantitatively -- do you have any quantitative analysis by

       2   which you can back up the statement that Fortress is less

       3   litigious than Highland?

       4   A    I wouldn't even try, no.

       5   Q    Okay.   Do you have any quantitative analysis for -- that

       6   Cerberus is any less litigious than Highland?

       7   A    I don't have any real knowledge of Cerberus's

       8   litigiousness.

       9   Q    Same question as to Apollo.

      10   A    Again, the Fortress, you just happened to mention

      11   Fortress, which was a special case because I used to be their

      12   primary underwriter.     I don't have any specific -- I'm not a

      13   claims attorney.    I don't have any specific knowledge of the

      14   level of litigiousness.

      15        And, again, it's not up to me, my decision.       It's the

      16   underwriters' decision of whether or not they're willing to

      17   write the coverage, not mine.

      18   Q    You mentioned that the -- when you took this out to

      19   market, it had a little hair on it.      Correct?

      20   A    Correct.

      21   Q    And you put together a package of materials that you sent

      22   out to 14 or 15 market participants; is -- did I get that

      23   correct?

      24   A    Yes.

      25   Q    And in that package, you had certain pleadings, including




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       1   the court order, correct?

       2   A    Yes.    I believe that's correct.

       3   Q    And that was after your initial conversation with John and

       4   -- where he pointed out the gatekeeper role.       Correct?

       5   A    Correct.

       6   Q    And so when you went out to market, presumably you

       7   highlighted the gatekeeper role to all the people you

       8   solicited offers from because you thought it included less

       9   risk, correct?

      10   A    It offered a level of protection that was not -- that's

      11   not common.     So it's, yes, it's a huge selling point for the

      12   risk.

      13   Q    Okay.    So, to be clear, you never went out to the market

      14   to even see if you could get underwriting the first time

      15   without the gatekeeper function; is that correct?

      16   A    Well, it's my job as a broker to present the risk in the

      17   best possible light.     So if we have a fact that makes the risk

      18   a better write for the underwriters, we, of course, will

      19   highlight it.    So, no, I did not do that.

      20   Q    Okay.    So, the quick answer to the question is no, you did

      21   not go out and solicit any bids without the gatekeeper

      22   function?

      23   A    Correct.

      24   Q    When you have approached the market for the post-

      25   confirmation potential coverage, did you approach the same 14




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       1   or 15 parties that you did before?

       2   A    I don't have the two lists in front of me.        They would

       3   have been vastly similar, yes.

       4   Q    Okay.    And so, again, all of the 14 or 15 parties or the

       5   lists that you solicited were already familiar with the

       6   gatekeeper function, correct?

       7   A    Yes.

       8   Q    And so therefore they already had that right; they're not

       9   going to trade against themselves and therefore say that,

      10   without it, we'll go ahead and write coverage.         Correct?

      11   A    I -- I -- it'd be hard to answer that question.          I don't

      12   know.

      13   Q    Okay.    Because you didn't try that, did you?

      14   A    I would have had no reason to, no.

      15   Q    Okay.    So you don't know if a market exists without the

      16   gatekeeper function because you haven't asked, have you?

      17   A    I guess that's fair, yeah.

      18                MR. TAYLOR:    I have no further questions.

      19                THE COURT:    All right.   Any other Objectors with

      20   cross-examination?

      21                MR. DRAPER:    I have no questions for the witness,

      22   Your Honor.

      23                THE COURT:    All right.   Anyone else?   Mr. Morris,

      24   redirect?

      25                MR. MORRIS:    Just one.




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                                    Tauber - Redirect                       41


       1                            REDIRECT EXAMINATION

       2   BY MR. MORRIS:

       3   Q     One question, Mr. Tauber.    Is there any -- do all

       4   underwriters -- any underwriters for Fortress require, as a

       5   condition to underwriting the D&O insurance, require a

       6   gatekeeping provision?

       7   A     In my, you know, 11, 12 years of experience in this

       8   industry, in this space, I have never seen that gatekeeper

       9   function be available, as an underwriter or as a broker.         So,

      10   no.

      11              MR. MORRIS:    No further questions, Your Honor.

      12              THE COURT:    Any recross on that redirect?

      13         All right.   Well, Mr. Tauber, you are excused.     We thank

      14   you for your testimony today.      So you can log off.

      15              THE WITNESS:    Thank you.

      16              THE COURT:    Okay.

      17         (The witness is excused.)

      18              THE COURT:    Mr. Morris, does the Debtor rest?

      19              MR. MORRIS:    The Debtor does rest, Your Honor.

      20              THE COURT:    All right.   Well, what are we going to

      21   have from the Objectors as far as evidence?

      22              MR. RUKAVINA:    Your Honor, I will be very short.      I

      23   will call Mr. Seery for less than ten minutes.       I will call

      24   Mr. Post for less than ten minutes.      I will have one exhibit.

      25   And I think that that's it for all the Objectors, unless I'm




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       1   mistaken, gentlemen.

       2             MR. TAYLOR:    Your Honor, I had one witness, Mr.

       3   Sevilla, under subpoena to testify, and needed a brief moment

       4   to discuss with my colleagues whether we're going to call him,

       5   and if so, put him on notice that he would be coming up

       6   probably about -- I don't know your schedule, Your Honor, but

       7   probably, I'm guessing, either before lunch or after, and I

       8   need to let him know that also.

       9        So I do need a brief three to five minutes to confer with

      10   my colleagues and some direction from the Court to, if we

      11   decide to call him, as to when we would tell him to be

      12   available.

      13             THE COURT:    All right.   Well, before I get to that,

      14   Mr. Draper, do you have any witnesses?

      15             MR. DRAPER:    I do not.

      16             THE COURT:    All right.   Well, let's see.    It's 10:34.

      17   We're making good time this morning.      If Seery is truly ten

      18   minutes of direct, and Post is truly ten minutes of direct,

      19   and I don't know how long the documentary exhibits are going

      20   to take, it sounds to me like we are very likely to get to Mr.

      21   Sevilla before a lunch break.

      22        So if you want to -- you know, I don't know what that

      23   involves, you sending text messages or making a quick phone

      24   call.   Do you need a five-minute break for that?

      25             MR. TAYLOR:    Yes, Your Honor.   It involves a phone




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       1   call and an email.      Just a confirmatory phone call just to

       2   make sure that the guy -- just so you know who he is, he is

       3   actually a Highland employee, but he's represented by separate

       4   counsel, and so we do need to go through him just because

       5   that's the right thing to do.

       6              THE COURT:    All right.   Well, again, I mean, I never

       7   know how long cross is going to take, but I'm guessing, you

       8   know, we're going to get to him in an hour or so, if not

       9   sooner, it sounds like.      So, all right.   So, do we need a

      10   five-minute break?

      11              MR. RUKAVINA:    And Your Honor, it might make more

      12   sense to make it a ten-minute break.      I suspect that Mr.

      13   Taylor will be able to release his witness if he and I will

      14   just be able to talk.      So I would ask the Court's indulgence

      15   for a ten-minuter.

      16              THE COURT:    Okay.   We'll take a ten-minute break.

      17   We'll come back at 10:46 Central time.

      18              THE CLERK:    All rise.

      19        (A recess ensued from 10:36 a.m. until 10:46 a.m.)

      20              THE CLERK:    All rise.

      21              THE COURT:    Please be seated.    We're going back on

      22   the record in the Highland confirmation hearing.        Are the

      23   Objectors ready to proceed?

      24              MR. RUKAVINA:    Your Honor, Davor Rukavina.       We are.

      25              THE COURT:    All right.   Well, Mr. Rukavina, are you




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       1   going to call your witnesses first?

       2              MR. RUKAVINA:    Yes, I will.    Before that, if it might

       3   help the Court and Mr. Morris:        Mr. Morris, with respect to

       4   that last exhibit, I do not object to the admission of any of

       5   the exhibits that were admitted at that PI hearing.

       6        But I do think, Your Honor, for the record, that -- and I

       7   would ask Mr. Morris that he should refile those exhibits here

       8   in this case, except for those that are duplicative.          Because,

       9   again, there's 10,000 pages of indentures, et cetera.

      10              MR. MORRIS:    Thank you very much, sir.

      11        Your Honor, if that's acceptable to you, we'll do that as

      12   soon as possible.

      13              THE COURT:    All right.    And let me make sure the

      14   record is clear.    Are we talking about what you've described

      15   as 7O?   I'm getting mixed up now.       Am I --

      16              MR. MORRIS:     Yes, Your Honor.

      17              THE COURT:    Okay.

      18              MR. MORRIS:    It's 7O, which is the documents that

      19   were introduced into evidence in the prior hearing.           And Mr.

      20   Rukavina is exactly right, that there is substantial overlap

      21   between that and other documents that have already been

      22   admitted in the record in this case.       So we'll just file an

      23   abridged version of Exhibit O that only includes non-

      24   duplicative documents.

      25              THE COURT:    All right.    So that will be admitted, and




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       1   we'll look for your filed abridged version to show up on the

       2   docket.   7O.

       3         (Debtor's Exhibit 7O is received into evidence as

       4   specified.)

       5              THE COURT:   All right.   What's next?

       6              MR. RUKAVINA:    Your Honor, Jim Seery, please.     Mr.

       7   James Seery.

       8              THE COURT:   All right.   Mr. Seery, welcome back.

       9   Please raise your right hand.

      10              MR. SEERY:   Can you -- can you hear me, Your Honor?

      11              THE COURT:   I can now.

      12       JAMES P. SEERY, CERTAIN FUNDS AND ADVISORS' WITNESS, SWORN

      13              THE COURT:   All right.   Thank you.

      14         Mr. Rukavina, go ahead.

      15                            DIRECT EXAMINATION

      16   BY MR. RUKAVINA:

      17   Q     Mr. Seery, --

      18              MR. RUKAVINA:    Thank you.

      19   BY MR. RUKAVINA:

      20   Q     Mr. Seery, good morning.

      21              MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

      22   the schedules.

      23         What we have here, Your Honor, is Docket 247, the Debtor's

      24   schedules.    I'd ask the Court to take judicial notice of it.

      25              THE COURT:   All right.   The Court will do so.




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                                     Seery - Direct                         46


       1   BY MR. RUKAVINA:

       2   Q     Mr. Seery, are you familiar with these entities listed

       3   here on the Debtor's schedules?

       4   A     Generally.   Each one a little bit different.

       5   Q     Okay.   Do you agree that the Debtor still owns equity

       6   interests in these entities?

       7   A     I believe it does, yes.

       8   Q     Okay.   Is it true that none of these entities are publicly

       9   traded?

      10   A     I don't believe any of these are publicly-traded entities,

      11   no.

      12   Q     Okay.   And none of these, to your knowledge, are debtors

      13   in this bankruptcy case, right?

      14   A     No.   We only have one debtor in the case.

      15   Q     Okay.   So, Highland Select Equity Fund, LP, the Debtor

      16   owns more than 20 percent of the equity in that entity, right?

      17   A     I believe the Debtor owns the majority of that entity.

      18   That is a fund with an on- and offshore feeder.       And I, off

      19   the top of my head, don't recall exactly how the allocations

      20   of equity work.    But I believe we do.

      21   Q     Does 67 percent refresh your memory?     Are you prepared to

      22   say that the Debtor owns 67 percent of that equity?

      23   A     I'm not prepared to say that, no.

      24   Q     Okay.   Wright, Ltd.   Does the Debtor own more than 20

      25   percent of that equity?




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       1   A    There's about -- I don't recall.      There's about at least

       2   25 artist, designers, or designs.      Wright, AMES, Hockney,

       3   Rothco, all own in different places, and they all own in turn

       4   some other thing.    So I don't know what each of them, off the

       5   top of my head, own.     There's -- they're part of a myriad of

       6   corporate structures here.

       7   Q    Strak, Ltd.    Do you know whether the Debtor owns more than

       8   20 percent of the equity of that entity?

       9   A    Stark?    I don't know.

      10   Q    Okay.    I don't know how to pronounce the next one.      Eamis

      11   (phonetic) Ltd.    Do you know whether the Debtor owns more than

      12   20 percent of that equity?

      13   A    Off the top of my head, I don't recall.

      14   Q    What about Maple Avenue Holdings, LLC?

      15   A    I believe, I don't know if it's directly or indirectly,

      16   that we own a hundred percent of that entity.       But I'm not

      17   sure.

      18   Q    What about Highland Capital Management Korea, Ltd.?

      19   A    Effectively, Highland Capital Management is owned a

      20   hundred percent.

      21   Q    What about Highland Capital Management Singapore Pte.

      22   Ltd.?

      23   A    We are in the process of shutting it down, so I don't know

      24   that -- what the equity percentages are.       It's really just a

      25   question -- it's -- it's dissolved save for a signature from a




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       1   Singaporean.

       2   Q    Okay.    But did the Debtor own more than 20 percent of that

       3   entity?

       4   A    I don't know the specific allocations of equity ownership.

       5   Q    Okay.    What about Pennant (phonetic) Management, LP?       Do

       6   you know whether the Debtor owns or owned more than 20 percent

       7   of that entity?

       8   A    I don't recall, no.

       9                MR. RUKAVINA:    You can take that exhibit down, Mr.

      10   Vasek.

      11   BY MR. RUKAVINA:

      12   Q    Mr. Seery, very quick, are you familiar with Bankruptcy

      13   Rule 2015.3?

      14   A    I am, yes.

      15   Q    Okay.    Has the Debtor filed any Rule 2015.3 statements in

      16   this case?

      17   A    I don't believe we have.

      18   Q    Okay.

      19                MR. RUKAVINA:    Thank you, Your Honor.   I'll pass the

      20   witness.

      21                THE COURT:   All right.   Any other Objector

      22   questioning?     None from Mr. Taylor, none from Mr. Draper, none

      23   from Ms. Drawhorn?

      24        All right.    Any cross -- any examination from you, Mr.

      25   Morris?




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                                       Seery - Cross                         49


       1               MR. MORRIS:    Just one question.

       2               THE COURT:    Go ahead.

       3                              CROSS-EXAMINATION

       4   BY MR. MORRIS:

       5   Q    Mr. Seery, do you know why the Debtor has not yet filed

       6   the 2015.3 statement?

       7   A    I have a recollection of it, yes.

       8   Q    Can you just describe that for the Court?

       9   A    When we -- when we initially filed, when the Debtor filed

      10   and it was transferred over, we started trying to get all the

      11   various rules completed.      There are, as the Court is aware, at

      12   least a thousand and maybe more, more like three thousand,

      13   entities in the total corporate structure.

      14        We pushed our internal counsel to try to get that done,

      15   and were never able to really get it completed.        We did not

      16   have -- we were told we didn't have separate consolidating

      17   statements for every entity, and it would be difficult.          And

      18   just in the rush of things that happened from the first

      19   quarter into the COVID into the year, we just didn't complete

      20   that filing.    There was no reason for it other than we didn't

      21   get it done initially and I think it fell through the cracks.

      22               MR. MORRIS:    Nothing further, Your Honor.

      23               THE COURT:    All right.   Anything further, Mr.

      24   Rukavina?

      25                             REDIRECT EXAMINATION




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                                      Seery - Redirect                        50


       1   BY MR. RUKAVINA:

       2   Q    Mr. Seery, I appreciate that answer.       But you never sought

       3   leave from the Bankruptcy Court to postpone the deadlines for

       4   filing 2015.3, did you?

       5   A    No.   If it hadn't fallen through the cracks, it would have

       6   been something we recalled and we would have done something

       7   with it.     But, frankly, it just fell off the -- through the

       8   cracks.    We didn't deal with it.

       9   Q    Okay.

      10                MR. RUKAVINA:    Thank you, Your Honor.   Thank you, Mr.

      11   Seery.

      12                THE COURT:    All right.   Any other Objector

      13   examination?

      14        Mr. Morris, anything further on that point?

      15                MR. MORRIS:    No, thank you, Your Honor.   No further

      16   questions.

      17                THE COURT:    All right.   Mr. Seery, thank you.    You're

      18   excused once again from the witness stand.

      19        (The witness is excused.)

      20                THE COURT:    Your next witness?

      21                MR. SEERY:    Thank you, Your Honor.

      22                THE COURT:    Uh-huh.

      23                MR. RUKAVINA:    Your Honor, I'll call Jason Post.      Mr.

      24   Post, if you're listening, which I believe you are, if you'll

      25   please activate your camera.




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       1               THE COURT:   Mr. Post, we do not see or hear you yet.

       2               MR. RUKAVINA:    Talk, Mr. Post, and I think it'll

       3   focus on you.

       4               MR. POST:    Yes.   Can you hear me now?

       5               THE COURT:   We can hear you.     We cannot see you yet.

       6   Could you say, "Testing, one, two; testing, one, two"?

       7               MR. POST:    Testing, one, two.    Testing, one, two.

       8               THE COURT:   There you are.     Okay.   Please raise your

       9   right hand.

      10        JASON POST, CERTAIN FUNDS AND ADVISORS' WITNESS, SWORN

      11               THE COURT:   All right.   Thank you.    You may proceed.

      12                             DIRECT EXAMINATION

      13   BY MR. RUKAVINA:

      14   Q    Mr. Post, good morning.      State your name for the record,

      15   please.

      16   A    Robert Jason Post.

      17   Q    How are you employed?

      18   A    I'm employed by NexPoint Advisors, LP.

      19   Q    What is your title?

      20   A    Chief compliance officer.

      21   Q    Were you ever employed by the Debtor here?

      22   A    Yes.

      23   Q    Between when and when?      Approximately?

      24   A    I believe it was July of '08 through October of 2020.

      25   Q    What was your last title while you were employed at the




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       1   Debtor?

       2   A    Still chief compliance officer.      For the retail funds.

       3   Q    Okay.    Very, very quickly, what does a chief compliance

       4   officer do?    Or what do you do?

       5   A    It's multiple things.     Interaction with the regulators.

       6   Adherence to prospectus and SAI limitations for the funds.

       7   And then establishment of written policies and procedures to

       8   prevent and detect violations of the federal securities laws

       9   and then testing those on a frequent basis.

      10   Q    And I believe you mentioned you're the CCO for NexPoint

      11   Advisors and Highland Capital Management Fund Advisors.         Are

      12   you also the CCO for any funds that they advise?

      13   A    Yes.    For all the funds that they advise.

      14   Q    Okay.    Does that include so-called retail funds?

      15   A    Yes.    They're all retail funds.

      16   Q    What is a retail fund?

      17   A    It typically constitutes funds that are subject to the

      18   Investment Company Act of 1940, such as open-end mutual funds,

      19   closed-end funds, ETFs.

      20   Q    Obviously, you know who my clients are.       Are any of my

      21   clients so-called retail funds that you just described?

      22   A    Yes.

      23   Q    Name them, please.

      24   A    You've got NexPoint Capital, Inc., Highland Income Fund,

      25   and NexPoint Strategic Opportunities Fund.




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       1   Q    Do those three retails funds hold any voting preference

       2   shares in the CLOs that the Debtor manages?

       3   A    Yes.

       4               MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

       5   Exhibit 2.

       6        Your Honor, I believe I have a stipulation with Mr. Morris

       7   that this exhibit can be admitted, so I'll move for its

       8   admission.

       9               MR. MORRIS:    No objection, Your Honor.

      10               THE COURT:    All right.    Exhibit 2 will be admitted.

      11   And let's be clear.       That appears at -- is it Docket No. --

      12   let's see.    Is it 1673 that you have your -- no, no, no, no.

      13   1670?   Is that where your exhibits are?

      14               MR. RUKAVINA:    No, Your Honor.    It's 1863.    I think

      15   we did an amended one because we numbered our exhibits instead

      16   of having seventeen Os and Ps.         So it's 1863.

      17               THE COURT:    1863?   Okay.   All right.   There it is.

      18   Okay.   Again, this is -- I'm sorry.        I got sidetracked.    What

      19   exhibit?    It's Exhibit 2, is admitted.       Okay.

      20               MR. RUKAVINA:    Thank you, Your Honor.

      21        (Certain Funds and Advisors' Exhibit 2 is received into

      22   evidence.)

      23   BY MR. RUKAVINA:

      24   Q    Real quick, Mr. Seery.       What do these HIF, NSOF, NC, what

      25   do they stand for?       Do they stand for the retail funds you




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       1   just named?

       2                MR. SEERY:    I don't think he meant me.

       3                THE WITNESS:    Yeah.

       4   BY MR. RUKAVINA:

       5   Q    I'm sorry, Mr. Post.      I didn't hear you.

       6   A    You addressed me as Mr. Seery.

       7   Q    Oh.    I apologize.     What do those initials stand for?

       8   A    The names of the funds that I mentioned.

       9   Q    Okay.    And what do these percentages show?

      10   A    The percentages show the amount of shares outstanding and

      11   the preference shares that each of the respective funds hold

      12   of the named CLOs.

      13   Q    And those CLOs on the left there, those are the CLOs that

      14   the Debtor manages pursuant to agreements, correct?

      15   A    Yes.    Those are some of them, correct.

      16   Q    Yes.    The ones that the retail funds you mentioned have

      17   interests in, correct?

      18   A    Correct.

      19   Q    And what does the far-right column summarize or show?

      20   A    That would be the aggregate across the three retail funds.

      21   Q    In each of those CLOs?

      22   A    Correct.

      23   Q    Thank you.

      24                MR. RUKAVINA:    Mr. Vasek, you may pull this down.

      25   BY MR. RUKAVINA:




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       1   Q     Mr. Post, in the aggregate, how much do those three retail

       2   funds have invested in those CLOs, ballpark?

       3   A     I believe it's approximately $130 million, give or take.

       4   Q     Is it closer to 140 or 130?

       5   A     A hundred -- I think it's 140, actually.

       6   Q     Okay.    Thank you.     Who controls those three retail funds?

       7   A     Ultimately, the board --

       8   Q     And what --

       9   A     -- of the funds.

      10   Q     What is -- what do you mean by the board?       Do they have

      11   independent boards?

      12   A     Yes.    They have a majority independent board, the funds

      13   do.

      14   Q     Do you report to that board?

      15   A     Yes.

      16   Q     Does Mr. Dondero sit on those boards?

      17   A     He does not.

      18   Q     Okay.

      19                 MR. RUKAVINA:    I'll pass the witness, Your Honor.

      20   Thank you, Mr. Post.

      21                 THE COURT:    All right.   Any other Objector

      22   examination of Mr. Post?

      23         All right.    Mr. Morris, do you have cross?

      24                 MR. MORRIS:    Yes, Your Honor, I do.

      25                 THE COURT:    Okay.




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       1                             CROSS-EXAMINATION

       2   BY MR. MORRIS:

       3   Q    Mr. Post, can you hear me okay, sir?

       4   A    Yes, I can hear you.

       5   Q    Okay.    Nice to see you again.   When did you first join

       6   Highland?

       7   A    I believe it was July of '08.

       8   Q    So you've worked with the Highland family of companies for

       9   about a dozen years now; is that right?

      10   A    Yes.

      11   Q    And you were actually employed by the Debtor from 2008

      12   until October 2020; is that right?

      13   A    Correct.

      14   Q    And you left at that time and went to join Mr. Dondero as

      15   the chief compliance office of the Advisors; do I have that

      16   right?

      17   A    Yes.    I transitioned to NexPoint Advisors shortly, I

      18   believe, after Mr. Dondero left, but I was already the named

      19   CCO for that entity.

      20   Q    Right, but your employment status changed from being an

      21   employee of the Debtor to being an employee of NexPoint; is

      22   that right?

      23   A    Correct.

      24   Q    And that happened shortly after Mr. Dondero resigned from

      25   the Debtor and went to NexPoint Advisors, correct?




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       1   A    Correct.

       2   Q    Okay.    You mentioned that the funds are controlled by

       3   independent boards; do I have that right?

       4   A    It's a majority independent board, correct.

       5   Q    Okay.    There's no independent board member testifying in

       6   this hearing, is there?

       7   A    I --

       8                MR. RUKAVINA:    Your Honor, Mr. Post wouldn't know

       9   that, but I'll stipulate to that as a fact.

      10                THE COURT:    All right.

      11                MR. MORRIS:    Okay.

      12   BY MR. MORRIS:

      13   Q    Did you -- do you speak with the board members from time

      14   to time?

      15   A    Yes.

      16   Q    Did you tell them that it might be best if they came and

      17   identified themselves and helped persuade the Court that they

      18   were, in fact, independent?

      19   A    They have counsel to assist them with that determination.

      20   I never mentioned anything along those line to them.

      21   Q    Okay.    Can you tell me who the board members are?

      22   A    Yes.    Ethan Powell, Bryan Ward, Dr. Bob Froehlich, John

      23   Honis, and then Ed Constantino.         He is only a board member,

      24   though, for NSOF.     NexPoint Strategic Opportunities Fund.

      25   Q    All right.    Mr. Honis, is he -- has he been determined to




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       1   be an interested director, for purposes of the securities

       2   laws?

       3   A    Yes.

       4   Q    Okay.    Mr. Froeh..., do you know much about his

       5   background?

       6   A    I believe he worked at Deutsche Bank and a couple of the

       7   other -- or maybe a couple of other investment firms in the

       8   past.    And he also owns a minor league baseball team.

       9   Q    Do you know how long he served as a director of the funds?

      10   A    I don't know, approximately.     I think maybe seven -- six,

      11   seven years.

      12   Q    Okay.    How about Mr. Ward?   Did Mr. Froehlich ever work

      13   for Highland?

      14   A    Not that I can recall.

      15   Q    Did Mr. Ward ever work for Highland?

      16   A    Not that I can recall.

      17   Q    Do you recall how long he's been serving as a director of

      18   the funds?

      19   A    Mr. Ward?

      20   Q    Yes.

      21   A    I believe -- I'd be -- I don't recall specifically.        I

      22   think it's been, you know, 10 to 12 years, give or take.

      23   Q    He was a director when you got to Highland; isn't that

      24   right?

      25   A    He was on the board of directors.




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       1   Q    Yeah.   So fair to say that Mr. Ward has been a director

       2   since at least the mid to late oughts?       2005 to 2008?

       3   A    I'm sorry, you cut out.    Late what?

       4   Q    The late oughts.    Withdrawn.   Is it fair to say that Mr.

       5   Ward's been a director of the funds since somewhere between

       6   2005 and 2008?

       7   A    Again, I don't recall specifically.      You know, I joined

       8   the complex, the retail complex as the named CCO in 2015, and

       9   he had been serving in that role prior to that, and I believe

      10   it was for probably a period of five to seven years, so that

      11   sounds in line.

      12   Q    Did you have a chance to review Dustin Norris's testimony

      13   from the December 16th hearing?

      14   A    I did not.

      15   Q    Do you know -- are you aware that he testified at some

      16   length regarding the relationship of each of these directors

      17   to Mr. Dondero and Highland?

      18   A    I didn't review anything, so I don't know what he said or

      19   how long it took.

      20   Q    Do you know if Mr. Powell's ever worked for Highland?

      21   A    He has.

      22   Q    Do you know in what capacity and during what time periods?

      23   A    He was -- I think his last title was -- I believe was

      24   chief product strategist, I believe.      And he was also the

      25   named PM for one of -- or, a suite of ETF funds.       I think he




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       1   was last employed maybe --from my recollection, 2014,

       2   possibly.    Or 2015.   Somewhere around in there.

       3   Q    Okay.   And to the best of your knowledge, did Mr. Dondero

       4   appoint Mr. Powell to be the chief product strategist?

       5   A    I don't -- I don't know.     I wasn't involved in the

       6   decision for his appointment.      I don't know how he attained

       7   that role.

       8   Q    To the best of your knowledge, did Mr. Dondero appoint Mr.

       9   Powell as the PM of the ETF funds?

      10   A    Again, I wasn't involved in that determination, but he

      11   probably would have had a role in making the determination on

      12   who was the PM, along with probably some other investment

      13   professionals.

      14   Q    Okay.   And did Mr. Powell join the board of the funds

      15   before or after he left Highland around 2015?

      16   A    I can't recall specifically if he was already on the board

      17   or was an interested member, but I believe he, you know, I

      18   believe he joined shortly after he left.

      19   Q    Okay.   So he went from being an employee and being a

      20   portfolio manager at Highland to being on the board of these

      21   funds.   Do I have that right?

      22   A    Again, I can't recall specifically.      He may have already

      23   been on the board as an interested board member.       But, you

      24   know, I believe, you know, if that wasn't the case, he would

      25   have joined the board shortly after leaving.




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       1   Q    And Mr. Ward, I think you said, has been on the funds'

       2   board since somewhere between 2005 and 2008.       Does that sound

       3   right?

       4   A    I think that was a time frame you referenced, and I think

       5   that was kind of in line, walking it back.       But I don't recall

       6   specifically when he joined.

       7   Q    And to the best of your knowledge, have the Advisors for

       8   which you serve as the chief compliance officer managed the

       9   Funds for which Mr. Ward has served as a director since the

      10   time he became a director?

      11   A    I'm sorry.   Can you repeat the question?

      12   Q    Yeah.    I'm just trying to understand if the advisors --

      13   withdrawn.    The Advisors manage the Funds; do I have that

      14   right?

      15   A    They provide investment advice on behalf of the Funds.

      16   Q    And they do that pursuant to written agreements; do I have

      17   that right?

      18   A    Correct.

      19   Q    And is it your understanding that, for the entire time

      20   that Mr. Ward has served as a member of the board of the

      21   Funds, the Advisors have provided the investment advice to

      22   each of those Funds?

      23   A    Yes, in one form or fashion.     I believe at one period in

      24   time, historically, the Advisor may have changed its name, but

      25   it would have been, you know, at the end of the day, one or




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       1   more -- one of either NexPoint Advisors or Highland Capital

       2   Management Fund Advisors would have advised those Funds.

       3   Q    Is it fair to say that each of the Advisors for which you

       4   serve as the chief compliance officer has always been managed

       5   by an Advisor owned and controlled by Mr. Dondero?

       6   A    I believe so, yes.

       7               MR. MORRIS:     I have no further questions, Your Honor.

       8               THE COURT:    All right.   Any redirect?

       9               MR. RUKAVINA:    Yes.

      10               THE COURT:    Okay.   Mr. Rukavina?

      11               MR. RUKAVINA:    Your Honor, was I on mute?   I

      12   apologize.

      13               THE COURT:    Yes.

      14                             REDIRECT EXAMINATION

      15   BY MR. RUKAVINA:

      16   Q    Mr. Post, why did you leave Highland?

      17   A    It -- because I was a HCMLP employee and it was --

      18   basically, there was conflicts that were created by being an

      19   employee of the Debtor and by also serving as the CCO to the

      20   named Funds and the Advisors, and it coincided with Jim

      21   toggling over from HCMLP to NexPoint.       It just made sense more

      22   functionally and from a silo perspective for me to be the

      23   named CCO for that entity since he was no longer an employee

      24   of HCMLP.

      25   Q    And by Jim, you mean Jim Dondero?




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       1   A    Yes, sorry.    Jim Dondero.

       2   Q    You're not some kind of lackey for Mr. Dondero, where you

       3   go wherever he goes, are you?

       4                MR. MORRIS:    Objection to the question.

       5                THE WITNESS:    No.

       6                THE COURT:    Overruled.   He can answer.

       7                MR. RUKAVINA:    Okay.

       8                THE WITNESS:    No.

       9                MR. RUKAVINA:    Okay.   Thank you, Your Honor.   I'll

      10   pass the witness.

      11                THE COURT:    Any other Objector examination?

      12        All right.    Any recross, Mr. Morris?

      13                               RECROSS-EXAMINATION

      14   BY MR. MORRIS:

      15   Q    Just one question, sir.       The conflicts that you just

      16   mentioned, they were in existence for the one-year period

      17   between the petition date and the date you left; isn't that

      18   right?

      19   A    I think -- I believe so, and I think they became more

      20   evident as, you know, time progressed.

      21   Q    Okay.    But they existed on day one of the bankruptcy

      22   proceeding; isn't that right?

      23   A    Yes, I believe so.

      24   Q    All right.

      25                MR. MORRIS:     No further questions, Your Honor.




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       1               THE COURT:    All right.     Thank you, Mr. Post.     You're

       2   excused from the virtual witness stand.

       3        (The witness is excused.)

       4               THE COURT:    All right.     Your next witness?

       5               MR. RUKAVINA:    Your Honor, my exhibit has been

       6   admitted, I promised I'd be short, and my evidentiary

       7   presentation is done.       Thank you.

       8               THE COURT:    All right.     Well, Mr. Taylor, your

       9   evidence?

      10               MR. TAYLOR:    First of all, given the testimony that

      11   we have received just recently, we have released Mr. Sevilla

      12   from his subpoena and are not going to call him.

      13        With that being said, we do have some documents that we

      14   would like to get into evidence.         We filed our witness and

      15   exhibit list at Docket No. 1874.         I don't believe any of these

      16   are controversial.       I'm trying to keep from duplicating those

      17   that are already into evidence by the Debtor.         And therefore I

      18   would like to offer into evidence Exhibits No. 6 through 12

      19   and 17.   And that is it, Your Honor.

      20               THE COURT:    Okay.   Is there any objection to Dondero

      21   Exhibits 6 through 12 and 17, appearing at Docket 1874?

      22               MR. MORRIS:    I just want to be clear that Exhibits 6

      23   and 7, which are letters, I believe, from Mr. Lee (phonetic)

      24   are not being offered for the truth of the matter asserted in

      25   either letter.




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       1              MR. TAYLOR:    That is correct, Your Honor.    Just

       2   merely that those requests and the words that were stated in

       3   there were indeed sent on those dates.

       4              MR. MORRIS:    And the same comment, Your Honor, with

       5   respect to Exhibits 9 through 12, that those documents are not

       6   being offered for the truth of the matter asserted.

       7              MR. TAYLOR:    Again, just that those requests were

       8   sent and those responses as stated were sent.

       9        And I apologize.    I missed one, Your Honor.     Also No. 15.

      10   6 through 12, 15, and 17.

      11              MR. MORRIS:    Your Honor, the Debtor has no objection

      12   to Exhibits 15, 16, and 17.

      13              THE COURT:    All right.    So, so they are all admitted

      14   with the representation that 6 and 9 through 12 are not being

      15   offered for the truth of the matter asserted.       With that

      16   representation, you have no objection, Mr. Morris?

      17              MR. MORRIS:    That's right.    I do just want to get

      18   confirmation that Exhibits 1 through 5 and 13 through 16 -- 13

      19   and 14 are not being offered at all.

      20              THE COURT:    Mr. Taylor?

      21              MR. TAYLOR:    So, that -- that is correct.    1 through

      22   5 would be duplicative of what has already been introduced

      23   into the record by Mr. Morris, so I am not offering those.

      24   And do not believe that 13 and 14 are relevant anymore, and so

      25   therefore did not offer those.




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       1               THE COURT:    Okay.   So, with that, I have admitted 6

       2   through 12, 15, 16, and 17 at Docket Entry 1874.

       3          (Dondero Exhibits 6 through 12 and 15 through 17 are

       4   received into evidence.)

       5               THE COURT:    All right.    Anything else, Mr. Taylor?

       6               MR. TAYLOR:    No, Your Honor.    We are not calling any

       7   witnesses.

       8               THE COURT:    All right.    Mr. Draper, what about you?

       9   Any evidence?

      10               MR. DRAPER:    No evidence or witnesses.   The evidence

      11   that's been introduced by Mr. Taylor and Mr. Rukavina are

      12   sufficient for me.

      13               THE COURT:    All right.    Ms. Drawhorn, anything from

      14   you?

      15               MS. DRAWHORN:    No additional evidence, Your Honor.

      16               THE COURT:    All right.    Well, then, Mr. Morris, did

      17   you have anything in rebuttal?

      18               MR. MORRIS:    No, Your Honor.    I think we can proceed

      19   to closing statements.      I would just appreciate confirmation

      20   by the Objecting Parties that they rest.

      21               THE COURT:    All right.    Well, I guess we'll get that

      22   clear if it is isn't clear.       All of the Objectors rest.

      23   Confirm, yes, Mr. Rukavina?

      24               MR. RUKAVINA:    Confirm.

      25               THE COURT:    And Mr. Taylor?




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       1              MR. TAYLOR:     Confirmed, Your Honor.

       2              THE COURT:    Okay.   And Draper and Drawhorn?

       3              MR. DRAPER:    Yes, Your Honor.

       4              MS. DRAWHORN:    Confirmed, Your Honor.

       5              THE COURT:    All right.   By the way, I assume Mr.

       6   Dondero has been participating this morning.          I didn't

       7   actually get that clarification before we started.         Mr.

       8   Taylor, is he there with you this morning?

       9              MR. TAYLOR:    Your Honor, he is.   He has been

      10   participating.    He is sitting directly to my left about

      11   slightly more than six feet apart.

      12              THE COURT:    Okay.   All right.   Good.

      13        All right.    Well, let's talk about our closing arguments

      14   and let me figure out, do we have -- should we break a bit

      15   before starting?    I have an idea in my brain about a time

      16   limitation, but before I do that, let me ask.          Mr. Morris,

      17   first I'll ask you.      How much time do you think you need for a

      18   closing argument?

      19              MR. MORRIS:    Your Honor, --

      20              MR. POMERANTZ:    Your Honor?

      21              MR. MORRIS:     -- I'll defer to Mr. Pomerantz, who's

      22   going to deliver that portion of our presentation today.

      23              THE COURT:    All right.   Mr. Pomerantz?

      24              MR. POMERANTZ:    Your Honor, I will be making -- yes,

      25   Your Honor.    I will be making the majority portion of the




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       1   argument.    Mr. Kharasch will be making the portion of the

       2   argument dealing with the Advisor and Funds' objection.          But I

       3   expect my closing to be quite lengthy, given the 1129

       4   requirements, all the legal issues, which I plan to spend a

       5   fair amount of time.     So I would anticipate a range of an hour

       6   and 45 minutes.

       7               THE COURT:   An hour and 45 minutes?    All right.

       8   Well, --

       9               MR. POMERANTZ:   Correct.

      10               THE COURT:   I'm getting an echo.

      11               MR. CLEMENTE:    Your Honor, it's Matt Clemente on

      12   behalf on the Committee.      I'll have 15 minutes or less, Your

      13   Honor.   Just some things I would like to touch on.

      14               THE COURT:   All right.   So, two hours.   If I were to

      15   --

      16               MR. POMERANTZ:   And then you need, Your Honor, to add

      17   Mr. Kharasch.    I think he's on.     He can indicate how long his

      18   part of the closing will be.

      19               THE COURT:   Mr. Kharasch?

      20               MR. KHARASCH:    Yes.   I would figure my argument would

      21   probably be about 20 minutes to 30 minutes.

      22               THE COURT:   Okay.

      23               MR. RUKAVINA:    Your Honor, let me interject something

      24   that I think will help everyone out.       With the CLOs having

      25   consented through their counsel to the assumption, the bulk of




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       1   my objection is now moot.        We no longer can and will argue

       2   that the contracts are unassignable under 365(b) or (c)

       3   because we do have now their consent.       So that will hopefully

       4   help the Debtor on that issue.

       5              MR. KHARASCH:    Your Honor, Ira Kharasch again.        I was

       6   not anticipating that.      I believe that that will take away the

       7   bulk of my argument.     I'm still going to be dealing with some

       8   of the other non-assumption-type arguments raised by the CLO

       9   Objectors, kind of dovetailing with Mr. Pomerantz's arguments

      10   on the injunction.      But that will greatly reduce, Your Honor,

      11   my argument.

      12              THE COURT:    All right.    So if I say two hours of

      13   argument for the Debtor and Creditors' Committee, Rukavina,

      14   Taylor and Draper and Drawhorn, can you collectively manage to

      15   share that two hours?      Have a two-hour argument in the

      16   aggregate?    That seems fair to me.

      17              MR. RUKAVINA:    Your Honor, I think -- I think that's

      18   fine, Your Honor.

      19              THE COURT:    All right.    And I guess I'll --

      20              MR. TAYLOR:    This is Mr. Taylor.       And yes, I agree.

      21              THE COURT:    Okay.    And Mr. Draper?

      22              MR. DRAPER:    This is Douglas Draper.      I agree.    I

      23   agree also, Your Honor.

      24              THE COURT:    All right.    And I'm going to ask --

      25              MR. POMERANTZ:    Your Honor, I --




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       1              THE COURT:   Go ahead.

       2              MR. POMERANTZ:   Your Honor, we -- I think we may need

       3   like two hours and ten minutes, because mine was 1:45, Mr.

       4   Clemente was 15, and then Mr. Kharasch.        But we'll be around

       5   that.   And I tend to speak fast, so I might even shorten mine.

       6              THE COURT:   Okay.   You negotiated me up to two hours

       7   and ten minutes, Debtors/Objectors, each.

       8        I'm going to ask one more time.     The U.S. Trustee lobbed a

       9   written objection, but we've not heard anything from the U.S.

      10   Trustee.   Are you out there wanting to make an oral argument?

      11              MS. LAMBERT:   Yes, Your Honor.     The United States

      12   Trustee is on the line.     And we've been listening to the

      13   hearing.   I can turn my video on.     I think you're --

      14              THE COURT:   Yes.    I can hear you.   I can't see you.

      15              MS. LAMBERT:   Okay.   All right.    And so the U.S.

      16   Trustee feels that the issues about the releases have been

      17   adequately joined and raised by the other parties and that

      18   it's an issue of law.     The U.S. Trustee does not feel that we

      19   can add to that dialogue by, you know, wasting more of the

      20   Court's time.    I think it's been adequately briefed and it's

      21   been adequately argued here today.

      22              THE COURT:   Okay.

      23              MS. LAMBERT:   And we do have an agreement to include

      24   governmental release language in the order.       I understand that

      25   agreement is still being honored.      That's a separate agreement




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       1   than the issue of whether the releases are precluded.         But

       2   we're going to let the other people carry the water on that.

       3              THE COURT:   Okay.

       4              MR. POMERANTZ:    Yeah.   And that is correct.     That is

       5   correct, Your Honor.     They asked for some information -- a

       6   provision on government releases.      They also asked for a

       7   provision regarding joint and several liability for Trustee

       8   fees.

       9        As I mentioned previously, the IRS has asked for a

      10   provision in the confirmation order, as have the Texas Taxing

      11   Authorities.

      12        We have not uploaded a proposed confirmation order, but I

      13   will state right now on the record that, before we do so, we

      14   will, of course, give Ms. Lambert, Mr. Adams, and the Texas

      15   Taxing Authorities the opportunity to review.       We expect there

      16   won't be any issue because the language has already been

      17   agreed to.

      18              THE COURT:   All right.   Well, how about this.      It's

      19   11:23 Central time.     Let's break until 12:00 noon Central

      20   time, okay, so that gives everyone a little over 30 minutes to

      21   have a snack and get their notes together, and we'll start

      22   with closing arguments at 12:00 noon.      All right?    So we're in

      23   recess until then.

      24              THE CLERK:   All rise.

      25        (A recess ensued from 11:24 a.m. until 12:05 p.m.)




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       1               THE COURT:    All right.    Please be seated.   All right.

       2   This is Judge Jernigan.      We are back on the record in

       3   Highland.    Let me make sure we have the people we need.         Do we

       4   have the Pachulski team there?         Mr. Pomerantz, Mr. Kharasch?

       5               MR. POMERANTZ:    Yes, you do, Your Honor.

       6               THE COURT:    All right.    For our Objectors, Mr.

       7   Taylor, are you there?

       8               MR. TAYLOR:    Yes, Your Honor, I am.

       9               THE COURT:    All right.    I see Mr. Draper there on the

      10   video.   You're there.

      11               MR. DRAPER:    I'm here.    Can you hear me?

      12               THE COURT:    I can hear you loud and clear, yes.

      13               MR. DRAPER:    Great, because I didn't -- I'm not

      14   hearing, something so I apologize.

      15               THE COURT:    All right.    So we have Mr. Rukavina, and

      16   I think I see Mr. Hogewood there as well.        Is that correct?

      17   You're ready to go forward?

      18               MR. RUKAVINA:    Yes, Your Honor.

      19               THE COURT:    All right.

      20               MR. RUKAVINA:    Yes, Your Honor.    Good afternoon.

      21               THE COURT:    All right.    And Ms. Drawhorn, you're

      22   there?

      23               MS. DRAWHORN:    Yes, Your Honor.

      24               THE COURT:    Okay.   Committee.   Mr. Clemente, are you

      25   there?




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       1               MR. CLEMENTE:    Yes, Your Honor.   I'm here, Your

       2   Honor.

       3               THE COURT:   Okay.   Very good.   All right.   So, let me

       4   reiterate.    We've given two-hour and 10-minute time

       5   limitations for the Debtor, and that'll be both any time you

       6   reserve for rebuttal and your closing, initial closing

       7   argument.    Mr. Clemente, you're going to be in that time frame

       8   as well.    Okay?

       9               MR. CLEMENTE:    Yes, Your Honor.

      10               THE COURT:   And so, as supporters of the plan.

      11        And then, of course, the Objectors, they have collectively

      12   two hours and ten minutes.

      13        A couple of things.     I'm going to have my law clerk, Nate,

      14   who you can't see but he's to my right, he's going to keep

      15   time.    I promise I won't be a jerk and cut anyone off

      16   midsentence, but please don't push the limit if I say, you

      17   know, "Time."

      18        The other thing I will tell you is I'll probably have some

      19   questions here or there.      And I've told Nate, cut off the

      20   timer if we're in a question-answer session.       I won't count

      21   that as part of the two hours and ten minutes.

      22        All right.     So, with that, Mr. Pomerantz, you may begin.

      23                CLOSING STATEMENT ON BEHALF OF THE DEBTOR

      24               MR. POMERANTZ:   Thank you, Your Honor.    As Your Honor

      25   is aware, the Debtor has been able to resolve all objections




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       1   to confirmation other than the objection by Mr. Dondero or his

       2   entities and the United States Trustee.

       3        Your Honor, I have a very lengthy closing argument, given

       4   the number of issues that are raised in the objections, and I

       5   want to make a complete record, since I understand that

       6   there's a good likelihood that (garbled) appeal.

       7        With that in mind, Your Honor, I'm prepared to go through

       8   each and every confirmation requirement in Section 1129.

       9   However, as an alternative, I might propose that I can go

      10   through each of the Section 1129 requirements that are the

      11   subject of pending objections or otherwise depend upon

      12   evidence that Your Honor has heard.

      13              THE COURT:   Okay.

      14              MR. POMERANTZ:   And of course, I'll be happy to

      15   answer any questions that you have in the process.

      16              THE COURT:   Okay.

      17              MR. POMERANTZ:   And after my closing argument, I will

      18   turn it over to Mr. Kharasch to address the Advisor and Funds'

      19   objections.

      20              THE COURT:   Okay.

      21              MR. POMERANTZ:   Before I walk the Court through the

      22   confirmation requirements, I did want to note for the Court,

      23   as I did previously, that we filed an updated ballot summary

      24   at Docket No. 1887.     And as reflected in the summary, Classes

      25   2 and 7 have voted to accept the plan with the respective




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       1   numerosity and amounts required.      In fact, the votes are a

       2   hundred percent.

       3        Class 8, however, has voted to reject the plan.          Seventeen

       4   creditors in Class 8 voted yes and 24 objectors, which are, I

       5   think, all but one the employees with one-dollar claims for

       6   voting purposes, voted against.

       7        In dollar amount, Class 8 has accepted the plan by 99.8

       8   percent of the claims.     And I will address the issues of the

       9   cram-down over that class a little bit later on.

      10        Lastly, during the course of my presentation, I will

      11   identify for the Court certain modifications we have made to

      12   address the objections that were filed on January 22nd and

      13   then also on February 1st.     And at the end of my presentation,

      14   I will raise a couple of other modifications that I won't get

      15   to during my presentation and will explain to the Court why

      16   all the modifications do not require resolicitation and are

      17   otherwise appropriate under Section 1127.

      18        Your Honor, as Your Honor is aware, Section 1129 requires

      19   the Debtors to demonstrate to the court that the plan

      20   satisfies a number of statutory requirements.       1129(a)(1)

      21   provides that the plan requires -- complies with all statutory

      22   provisions of Title 11, and courts interpreted this provision

      23   as requiring the debtor to demonstrate it complies with

      24   Section 1122 and 1123.

      25        With respect to classification, Your Honor, there has been




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       1   one objection that was raised to essentially a classification,

       2   and that was raised by Mr. Dondero to Article 3C of the plan

       3   on the grounds that it purports to eliminate a class that did

       4   not have any claims in it as of the effective date but which

       5   may later have a claim in that class.

       6        I think he was primarily concerned about Class 9

       7   subordinated claims.     But Mr. Dondero misunderstands the

       8   provision.    It only eliminates a claim for voting purposes,

       9   and if there's later a claim in that class, it will be treated

      10   as the plan provides the treatment.

      11        In any event, Class 9, as we know now, will be populated

      12   by the HarbourVest claims, as well as the UBS claims and the

      13   Patrick Daugherty claims, if the Court approves the settlement

      14   approving those claims.

      15        Next, Your Honor, Section 1123(a) contains seven mandatory

      16   requirements that a plan must include.      Sections 1, 2, and 3

      17   of 1123(a) apply to the classification of claims and where

      18   they're impaired and treatment.      The plan does that.

      19        There has been an objection to 1123(a)(3) raised by

      20   several parties with respect to the classification and

      21   treatment of subordinated claims.      The concerns stem from the

      22   mistaken belief that the Debtor reserved the right to

      23   subordinate claims without providing parties with notice and

      24   without obtaining a court order.

      25        The Debtor never intended to have unilateral ability to




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       1   subordinate claims without affording parties due process

       2   rights, and we've added some clarificatory language to so

       3   provide.

       4        We made changes to the plan on January 22nd, and then on

       5   February 1st, and the plan addresses all those issues in

       6   Article 3(j) and it talks about when a claim is going to be

       7   subordinated as a non-creditor.     We've also redefined the

       8   definition of subordinated claims to make clear that a claim

       9   is only subordinated upon entry of an order subordinating that

      10   claim.

      11        Mr. Dondero also objected on the grounds that the plan did

      12   not contain a deadline pursuant to which the Debtor would be

      13   required to seek any subordination, and we have revised

      14   Article 7(b) of the plan to provide that any request to

      15   subordinate a claim would have to be made on or before the

      16   claim objection deadline, which is 180 days after the

      17   effective date.

      18        Lastly, certain former employees, Mr. Yang and Borud,

      19   objection also joined by Mr. Deadman, Travers, and Kauffman,

      20   objected to the inclusion of language in the definition of

      21   "Subordinated Claims" that a claims arising from a Class A, B,

      22   or C limited partnership is deemed automatically subordinated.

      23   The concerns were that the language could broadly apply to any

      24   potential claims by a former partner, and could be also read

      25   to encompass claims outside the statutory scope of 510(b) or




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       1   otherwise relating to limited partnership interests.

       2        While the Debtor does reserve the right to seek to

       3   subordinate the claims on any basis, we have modified the plan

       4   to address that concern and to address the concern that we're

       5   not attempting to create any new causes of action for

       6   subordination that don't otherwise exist under applicable law,

       7   but it just preserves the parties' rights with respect to

       8   subordination and deals with that at a later date.

       9        Next, Your Honor, Section 1123(a)(5).      I skipped over

      10   1123(a)(4) because there are no objections to that provision.

      11               THE COURT:   Okay.

      12               MR. POMERANTZ:   Section 1123(a)(5), a plan must

      13   provide for adequate means of implementation.       And the plan

      14   provides a detailed structure and blueprint how the Debtor's

      15   operations will continue, how the assets will be monetized,

      16   including the establishment of the Claimant Trust,

      17   establishment of the Litigation Sub-Trust, the Reorganized

      18   Debtor, the Claimant Trust Oversight Board.       And the documents

      19   precisely describing how this will occur were filed as part of

      20   the various plan supplements.

      21        1123(a)(7), Your Honor, requires that the plan only

      22   contain provisions that are consistent with the interest of

      23   equity holders and creditors with respect to the manner,

      24   selection, and -- of any director, officer, or trustee under

      25   the plan.    And as discussed in the plan, at the disclosure




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       1   statement, and as testified to by Mr. Seery, the Committee and

       2   the Debtor had arm's-length negotiations regarding the post-

       3   effective date corporate governance and believe that the

       4   selection of the claimant Trustee, the Litigation Sub-Trustee,

       5   and the Claimant Trust Oversight Board are in the best

       6   interest of stakeholders.

       7        HCMFA has raised a particular objection, I think, to these

       8   issues, but I will address it in the context of the

       9   requirement under Section 1129(a)(5).

      10        Your Honor, Section 1129(a)(2) requires that the plan

      11   comply with the disclosure and solicitation requirements under

      12   the plan.   Section 1125 requires that the Debtor only solicit

      13   with a court-approved disclosure statement.       The Court

      14   approved the disclosure statement on November 23rd, and

      15   pursuant to the proofs of service on file, the plan and

      16   disclosure statement were mailed, along with solicitation

      17   materials that the court approved.

      18        Now, there has been an objection raised by Dugaboy, and

      19   also alluded to by Mr. Taylor in some of his comments before,

      20   that the plan does violate 1129(a)(2) because the Debtor's

      21   disclosure statement was deficient.

      22        In support of that argument, Dugaboy points to the

      23   reduction in the anticipated distribution to creditors from

      24   the November plan analysis to the January plan analysis, and

      25   argues that that reduction requires resolicitation.           However,




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       1   those arguments are not well-taken.

       2        First, none of the people making these objections were

       3   solicited for their vote on the plan, or if they had been,

       4   they didn't vote or decided to reject the plan.       And to the

       5   extent that Class 8 creditors, the distribution has gone down

       6   -- that's the class that Mr. Taylor and Mr. Draper are

       7   concerned about -- you don't hear the Committee, Acis,

       8   Redeemer, UBS, HarbourVest, Daugherty, or the Senior Employees

       9   making their argument, this argument, and they represent over

      10   99 percent of the claims in that class.      And in fact, of the

      11   17 Class 8 creditors that have accepted the plan, 15 are

      12   represented by the parties I just mentioned.

      13        So who are the two creditors that they're so concerned

      14   about?   One is Contrarian, which is a claims trader that

      15   actually elected to be treated in Class 7, and one is one of

      16   the employees who voted to accept the plan.

      17        Second, Your Honor, the argument conflates the difference

      18   between adverse change to the treatment of a claim or interest

      19   that would require a resolicitation under Section 1127 and a

      20   change to the distribution that would not.

      21        More importantly, Your Honor, the argument is specious.

      22   As Mr. Seery testified yesterday, the material differences

      23   between the analysis contained on November and late January

      24   and the one we filed on February 1st were based on three types

      25   of changes:   an update regarding the increased value of assets




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       1   based upon events that had transpired during this period,

       2   which included an increase in asset value, no recoveries, and

       3   revenues expected to be generated by the CLO management

       4   agreements; an update to the expected costs of the Reorganized

       5   Debtor and the Claimant Trust as a result of the continued

       6   evaluation of staffing needs, operational expenses, and

       7   professional fees; and an update to reflect resolution of the

       8   HarbourVest and UBS claims.

       9        In the filing Monday, Your Honor, we updated the plan

      10   projection, a liquidation analysis which revised the unsecured

      11   claims based upon the UBS settlement that I was able to

      12   disclose to Your Honor.     And in the filing, the distribution

      13   now revised to Class 8 creditors is now 71 percent, compared

      14   to the 87 percent that was in the disclosure statement that

      15   went out for solicitation.

      16        Your Honor, there can be no serious argument that the

      17   creditors in this case were not fully aware of the potential

      18   for the UBS and HarbourVest creditors receiving claims.         Your

      19   Honor's UBS 3018 order granting its claim for voting purposes

      20   was entered right around the time that the disclosure

      21   statement was approved.     And, in fact, a last-minute addition

      22   to the disclosure statement disclosed the 3018 amount,

      23   although the amount did not make it to the attachment to the

      24   disclosure statement.     And that reference, Your Honor, to the

      25   UBS claim being allowed for voting purposes can be found at




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       1   Page 41 of Docket No. 1473.

       2        And the HarbourVest settlement was filed on about December

       3   23, two weeks before the voting deadline, sufficient time for

       4   people to take that into consideration.

       5        And as Your Honor surely knows, the hearings in this case

       6   have been very well-attended by the major parties, and I

       7   believe that if we went back and looked at the records of who

       8   was on the WebEx system during the HarbourVest and UBS

       9   hearings, you would find that representatives of basically

      10   every creditor, every major creditor in this case in Class 8

      11   participated.

      12        Moreover, Your Honor, creditors were not guaranteed any

      13   percentage recovery under the plan and disclosure statement,

      14   which clearly identified the size of the claims pool as a

      15   material risk.

      16        Article 4(a)(7) of the disclosure statement, which is at

      17   Docket 1473, is entitled "Claims Estimation" and warns

      18   creditors that there can be no assurances that the Debtor's

      19   claims estimates will prove correct, and that the actual

      20   amount of the allowed claims may vary materially.

      21        And if Dugaboy is arguing it was misled as the holder of a

      22   disputed administrative claim and general unsecured claim,

      23   that argument is simply preposterous.

      24        Dugaboy cites several cases for the proposition that

      25   deficient disclosure may warrant resolicitation, and the




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       1   Debtor agrees with the proposition as a general matter.         But

       2   if one looks at the cases that were filed -- that Dugaboy

       3   cited to, it will see that they are clearly inapposite and

       4   distinguishable.

       5        In re Michaelson, the Bankruptcy Court for the Eastern

       6   District of California, revoked confirmation because the

       7   debtor failed to disclose in the disclosure statement a mail

       8   fraud indictment of the turnaround specialist who was to lead

       9   the reorganization effort and a prior Chapter 7 company he

      10   drove into the ground.

      11        In In re Brotby, the Ninth Circuit BAP affirmed a decision

      12   of the Bankruptcy Court that the individual debtor's decision

      13   to modify its financial projections on the eve of confirmation

      14   did not require a resolicitation.      And there, the financial

      15   projections were off by 75 percent.

      16        And in Renegade Holdings, the Bankruptcy Court granted a

      17   motion by a group of states to revoke confirmation by the

      18   debtors, who manufactured and distributed tobacco products,

      19   because the debtors failed to disclose in its disclosure

      20   statement that the debtor and its principals were under

      21   criminal investigation for unlawful trafficking in cigarettes,

      22   which was not disclosed to creditors.

      23        Your Honor, none of these cases are remotely analogous to

      24   this case, and they certainly do not stand for the proposition

      25   that the Debtor was required to resolicit.




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       1        Next, Your Honor, the next requirement is 1129(a)(3),

       2   which requires that any plan be proposed in good faith.         As

       3   Mr. Seery testified at length, and the Court has personal

       4   knowledge of, having presided over this case for a year, the

       5   plan is the result of substantial arm's-length negotiations

       6   with the Committee over a period of several months.

       7        Mr. Seery testified yesterday that, soon after the board

       8   was appointed, the Committee wanted to immediately pursue down

       9   the path of an asset monetization plan.       However, as Mr. Seery

      10   testified, the board decided that it was inappropriate to rush

      11   to judgment and that it should consider all potential

      12   restructuring alternatives for the Debtor.       And Mr. Seery

      13   testified what those alternatives were:       a traditional

      14   restructuring and continuation of the Debtor's business; a

      15   potential sale of the Debtor's assets in one or more

      16   transactions; an asset monetization plan like the one before

      17   the Court today; and, last but not least, a grand bargain plan

      18   that would involve Mr. Dondero sponsoring the plan with a

      19   substantial equity infusion.

      20        As Mr. Seery testified, by the early summer of 2020, the

      21   Debtor decided that it was appropriate to start moving down

      22   the path of an asset monetization plan while it continued to

      23   work on the grand bargain plan.      Accordingly, Mr. Seery

      24   testified that the Debtor commenced good-faith negotiations

      25   with the Committee regarding the asset monetization plan, and




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       1   that those negotiations took several months, were hard-fought

       2   and at arm's-length, and involved substantial analysis of the

       3   appropriate post-confirmation corporate structure, governance,

       4   operational, regulatory, and tax issues.       And on August 12th,

       5   Your Honor, the plan was filed with the Court.

       6        And although the Debtor at that time had not reached an

       7   agreement with the Committee on some of the most significant

       8   issues, Mr. Seery testified that the independent board

       9   believed that it was important to file that plan at that time,

      10   a proverbial stake in the ground to act as a catalyst for

      11   reaching a consensual plan with the Committee or others, which

      12   it has done.

      13        As Mr. Seery testified, he continued to work with Mr.

      14   Dondero to try to achieve a grand bargain plan, while at the

      15   same time proceeding down the path of the filed plan.

      16        He testified that the parties participated in mediation at

      17   the end of August and early September to try to reach an

      18   agreement on a grand bargain plan, but were unsuccessful.         And

      19   the Debtor proceeded on the path of the August 12th plan and

      20   sought approval of its disclosure statement on August 27th,

      21   2020.

      22        Mr. Seery testified that, at that time, the Debtor still

      23   had not reached an agreement with the Committee on certain

      24   significant issues involving post-confirmation governance and

      25   the scope of releases.     And as a result, after a contested




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       1   hearing, Your Honor, Your Honor did not approve the disclosure

       2   statement on October 27th, but asked us to go back again to

       3   try to work out the issues, and we came back on November 23rd.

       4       Mr. Seery testified that the Debtor continued to negotiate

       5   with the Committee to resolve the material disputes leading --

       6   which led up to the November 23rd hearing, where we came in

       7   with the support of the Committee.     But as Mr. Seery has also

       8   testified, he has continued to try to reach a consensus on a

       9   global plan, notwithstanding the approval of the disclosure

     10    statement.   And he spent personally several hundred hours

     11    since his appointment trying to build consensus.

     12        As part of this process, Mr. Seery testified that Mr.

     13    Dondero received access to substantial information regarding

     14    the Debtor's assets and liabilities, most recently in

     15    connection with a series of informal document requests which

     16    were made at the end of December.

     17        And after the Court asked the parties to again reengage in

     18    efforts to try to reach a global hearing after the Debtor's

     19    preliminary injunction motion, Mr. Seery testified that he and

     20    the board participated in calls with Mr. Dondero and his

     21    advisors and the Committee to see if common ground could be

     22    attained.

     23        Unfortunately, as Mr. Seery testified, the Committee and

     24    Mr. Dondero were not able to reach an agreement.

     25        Accordingly, Your Honor, the testimony unequivocally and




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       1   overwhelmingly demonstrates that the plan was proposed in good

       2   faith.

       3        I expect the Objectors may argue in closing that they have

       4   filed a plan under seal that is a better alternative than that

       5   being proposed by the plan that the Debtor seeks to confirm.

       6   Your Honor, as a threshold matter, yesterday I said any

       7   mention of the specifics of the recent plan would be

       8   inappropriate.    We are not here today to debate the merits of

       9   Mr. Dondero's plan, which the Court permitted him to file

      10   under seal.    He had ample opportunity to file this plan after

      11   exclusivity was terminated, seek approval of a disclosure

      12   statement, and, if approved, solicit votes in connection with

      13   a confirmation hearing, but he failed to do so.

      14        What matters today, Your Honor, is whether the Debtor's

      15   plan, the plan that has been accepted by 99.8 percent of the

      16   amount of creditors, and opposed only by Mr. Dondero, his

      17   related entities, and certain employees, meets the

      18   confirmation requirements of Section 1129, which we most

      19   certainly argue it does.

      20        And perhaps most importantly, Your Honor, the Court

      21   remarked at the last hearing that, without the Committee's

      22   support for a competing plan, Mr. Dondero's plan would be dead

      23   on arrival.    And as you have heard from Mr. Clemente, Mr.

      24   Dondero does not yet have the Committee's support.

      25        Next, Your Honor, is Section 1129(a)(5).       That requires




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       1   that the plan disclose the identity of any director,

       2   affiliate, officer, or insider of the debtor, and such

       3   appointment be consistent with the best interest of creditors

       4   and equity holders.     Courts have held that this section

       5   requires the disclosure of the post-confirmation governance of

       6   the reorganized entity.

       7        HCMFA objects to the plan, arguing that it did not comply

       8   with Section 1129(a)(5) because it didn't disclose the people

       9   who would control and manage the Reorganized Debtor and who

      10   might be a sub-servicer.     HCMFA's objection is off-base.

      11   Under the plan, Mr. Seery will be the claimant Trustee and

      12   Marc Kirschner will be the Litigation Trustee.       Mr. Seery

      13   testified extensively about his background, and he has

      14   appeared before the Court many times and the Court is familiar

      15   with him.    We have also introduced his C.V. into evidence.

      16        As he testified, he will be paid $150,000 per month,

      17   subject to further negotiations with the Claimant Trust

      18   Oversight Committee regarding the monthly amount and any

      19   success fee and severance fee, which negotiation is expected

      20   to be completed within the 45 days following the effective

      21   date.

      22        Mr. Seery also testified regarding the names of the

      23   members of the Claimant Trust Oversight Committee, which

      24   information was also contained in the plan supplement and it

      25   generally includes the four members of the Committee and David




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       1   Pauker, a restructuring professional with decades of

       2   restructuring experience.

       3        The members of the Oversight Committee will serve without

       4   compensation, except for Mr. Pauker, who Mr. Seery testified

       5   will receive $250,000 in the first year and $150,000 for

       6   subsequent years.

       7        As set forth in the Claimant Trust agreement, if at any

       8   time there is a vacant seat to be filled by another

       9   independent member, their compensation will be negotiated by

      10   and between the Claimant Trust Oversight Board and them.

      11        Mr. Seery has also testified that he believed the Claimant

      12   Trust will have sufficient personnel to manage its business.

      13   Specifically, he has testified that he intends to employ

      14   approximately ten of the Debtor's employees, who will be

      15   sufficient to enable him to continue to operate the Debtor's

      16   business, including as an advisor to the managed funds and the

      17   CLOs, until the Claimant Trust is able to effectively and

      18   efficiently monetize its assets for fair value, whether that

      19   takes two years or whether that takes 18 months or whether

      20   that takes longer.

      21        Mr. Seery further testified that he believes that the

      22   operations can be best conducted by the Debtor's employees.

      23   And while he did consider the retention of a sub-servicer, he

      24   ultimately decided, in consultation with the Committee, that

      25   the monetization would be a lot more effective if done with a




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       1   subset of the Debtor's current employees.

       2        The proposed corporate governance is also consistent with

       3   the interests of the Debtor and its stakeholders.        The Court

       4   is very familiar with Mr. Seery and the Debtor, and I believe

       5   that Mr. Clemente, when he comments, will say the Committee

       6   can think of no better person to continue managing the

       7   Claimant Trust than Mr. Seery.

       8        Mr. Kirschner is also well qualified to be the Litigation

       9   Trustee.   His C.V. is part of the evidence that's been

      10   admitted and contains additional information regarding his

      11   background.    And he will receive $40,000 a month for the first

      12   three months and $20,000 a month thereafter, plus a to-be-

      13   negotiated success fee.

      14        There just simply can be no challenge to Mr. Seery's or

      15   Mr. Kirschner's qualifications or abilities to act in a manner

      16   contemplated by the plan or that their involvement is not in

      17   the best interest of the estate and its creditors.

      18        Your Honor, the next requirement that is objected to is

      19   Section 1129(a)(7).     That, of course, requires the Debtor to

      20   demonstrate that creditors will receive not less under the

      21   plan than they would receive if the Debtor was to be

      22   liquidated in Chapter 7.     And on February 1st, Your Honor, we

      23   filed our updated liquidation analysis, which contains the

      24   latest-and-greatest evidence to support that.

      25        These documents, the updated documents, in connection with




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       1   the prior analysis, was provided to objecting parties in

       2   advance of the January 29th deposition, and Your Honor has

       3   heard the differences between the January 29th and the

       4   February 1st documents being very minimal.

       5        The Court heard extensive evidence and testimony from Mr.

       6   Seery regarding the assumptions that went into the preparation

       7   of the liquidation analysis and the differences of what

       8   creditors are projected to receive under the plan as compared

       9   to what they are projected to receive in a Chapter 7.

      10        Such testimony also included a comparison between the

      11   liquidation analysis that was filed with the plan in November,

      12   the updated liquidation analysis filed on the -- or, provided

      13   to parties on January 28th, and the last version, filed on

      14   February 1st.

      15        Mr. Seery testified that, on the revenue side, the

      16   liquidation analysis was updated to include the HCLOF

      17   interest, which was required as part of the settlement with

      18   HarbourVest; the increase in value of certain assets,

      19   including Trussway; revenue expected to be generated from

      20   continued management of the CLOs; and increased recovery on

      21   notes as a result of the acceleration of certain related

      22   notes.

      23        On the expense side, Mr. Seery testified regarding his

      24   best estimate of the likely expenses to be incurred by a

      25   Chapter 7 trustee -- by the Claimant Trust, including




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       1   personnel costs; professional costs, which increase because of

       2   the litigious nature this case has become; and operating

       3   expenses.

       4        And lastly, on the claim side, Your Honor, Mr. Seery

       5   testified that the claims numbers have been updated to include

       6   the settlement from HarbourVest and initially the amount

       7   approved to UBS pursuant to the 3018 order and then the

       8   reduction at $50 million based upon the settlement announced.

       9   And like the prior liquidation analysis, the current analysis

      10   demonstrates that creditors will fare substantially better

      11   under in Chapter -- under the plan than in Chapter 7.         In

      12   fact, the projected recovery under the plan is 85 percent for

      13   Class 7 creditors and 71.32 percent for Class 8 creditors, as

      14   compared to 54.96 percent for all unsecured creditors in a

      15   Chapter 7.

      16        Mr. Seery also testified that expenses are expected to be

      17   more under Chapter 11 than under Chapter 7, but he also

      18   testified that the tens of millions of dollars in greater

      19   revenue and asset recoveries under the plan will more than

      20   offset the additional expenses.

      21        As a result, the Court has more than sufficient

      22   evidentiary basis to conclude that the Debtor has carried its

      23   burden to prove that it meets the best interest of creditors

      24   best.

      25        But Mr. Dondero's counsel spent a lot of time crossing --




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       1   cross-examining Mr. Seery, in a vain attempt to demonstrate to

       2   the Court that a Chapter 7 actually would be much better for

       3   creditors.   And this argument has also been made by Dugaboy

       4   and the Advisors and the Funds.

       5        Before I address these arguments on its merits, Your

       6   Honor, I just wanted to remind the Court of the Objectors --

       7   these Objectors' interest in this case.      Mr. Dondero owns no

       8   equity in the Debtor.    He owns a general partner.     Strand, in

       9   turn, owns a quarter-percent -- a quarter of one percent of

      10   the total equity in the Debtor.     And Mr. Dondero's claim, it's

      11   only a claim for indemnification.      Dugaboy asserts two claims:

      12   a frivolous administrative claim relating to the postpetition

      13   management of a Multi-Strat, which, as an administrative

      14   claim, if it's valid, would not even be affected by the best

      15   interest of creditors test, because it would have to be paid

      16   in full.   And he also asserts a claim that the Debtor's

      17   subsidiary -- against the Debtor's subsidiary for which it

      18   tries to pierce the corporate veil.

      19        Just think about it.    Dugaboy, Mr. Dondero's entity, is

      20   arguing that he should be able to pierce the corporate veil to

      21   get at the entity that was his before the bankruptcy.

      22        Dugaboy's only other interest in this case relates to a --

      23   a one -- point eighteen and several-hundredths percent of the

      24   equity interest of the Debtor, and that is out of the money.

      25        And as I mentioned previously, Your Honor, Mr. Rukavina's




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       1   clients either didn't file any general unsecured claims or

       2   filed them and withdrew them.      Their only claim is a disputed

       3   administrative claim against the Debtor that was filed a week

       4   ago and which, at the appropriate time, the Debtor will

       5   demonstrate is without merit.

       6        And I understand that, just today, NexPoint Advisors also

       7   filed administrative claim.

       8        So I'm not going to argue to Your Honor that these parties

       9   do not have standing, although their standing is tenuous, at

      10   best, to assert this argument.      The Court should keep their

      11   relative interests in mind when evaluating the merits and the

      12   good faith of this objection.

      13        The principal objection, as I said, is that creditors will

      14   do better in a Chapter 7.     Essentially, they argue that a

      15   Chapter 7 trustee can liquidate the assets just as well as Mr.

      16   Seery can and not require the cost structure that is included

      17   in the Debtor's plan projections.      Yes, they argue that a

      18   Chapter 7 will be more efficient.

      19        Mr. Seery's testimony, the only testimony on the topic,

      20   however, establishes that this preposterous proposition has no

      21   basis in reality.    Mr. Seery testified that a Chapter 7

      22   trustee's mandate would be to reduce Debtor's assets as fast

      23   as possible, while he will monetize assets as and when

      24   appropriate to maximize the value.

      25        But even if you can assume that the Chapter 7 trustee




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       1   could get court authority in a Chapter 7 to operate, there are

       2   several reasons Mr. Seery testified why a liquidation by a

       3   Chapter 7 trustee would be far worse than the plan.

       4        First, Your Honor, no matter how competent the Chapter 7

       5   trustee is -- and Mr. Seery did not say he is more competent

       6   than anyone else out there -- the lack of a learning curve

       7   that Mr. Seery established through the 13 months in this case

       8   puts Mr. Seery at such a major advantage compared to a Chapter

       9   7 trustee.

      10        Second, Mr. Seery questioned whether the Chapter 7 trustee

      11   would be able to retain the Debtor's existing professionals,

      12   even assuming they were willing to be retained.       I'm not sure

      13   what's the Court's practice or the practice in the Northern

      14   District, but in many districts around the country debtor's

      15   counsel and professionals cannot be retained by Chapter 7

      16   trustee, as general counsel, at least.

      17        And I could just imagine, Your Honor, Mr. Dondero's

      18   position if the Chapter 7 trustee actually sought to hire

      19   Pachulski Stang and DSI.

      20        Third, Your Honor, regardless of whether the Chapter 7

      21   trustee obtained some operating authority, the market

      22   perception will be that a Chapter 7 trustee will sell assets

      23   for less value than would Mr. Seery as claimant Trustee.         Mr.

      24   Seery testified to that.

      25        The argument that the Objectors make that a Chapter 7




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       1   process, whereby the trustee would seek court approval of

       2   assets, is better for value than a process overseen by the

       3   Claimant Trust Board lacks any evidentiary basis and also is

       4   contradicted by Mr. Seery's testimony.

       5        In fact, Mr. Seery testified that the Chapter 7 process,

       6   the public process of it, would very likely result in less

       7   recovery than a sale conducted in the Claimant Trust.

       8        And lastly, Mr. Seery testified that it's unlikely that

       9   the ten or so valuable employees who Mr. Seery is planning to

      10   heavily rely on to assist him with post-confirmation would

      11   agree to a work for Chapter 7 trustee.      Your Honor is all too

      12   familiar with the fights in the Acis case and Chapter 7

      13   trustee, and it's just hard to believe that any of the

      14   Highland employees would go work for the Chapter 7 trustee.

      15        So why is Mr. Dugaboy -- why is Dugaboy and Mr. Dondero

      16   actually making this objection and advocating for a Chapter 7?

      17   It's because they would expect to buy the Debtor's assets on

      18   the cheap from a Chapter 7 trustee, exactly what they've been

      19   trying to do in this case.

      20        Your Honor, moving right now to Section 1129(a)(11), that

      21   requires the debtor to demonstrate that the plan is feasible.

      22   In other words, it's not likely to be followed by a further

      23   liquidation or restructuring.     Under the Fifth Circuit law,

      24   the debtor need only demonstrate that the plan will have a

      25   reasonable probability of success to satisfy the feasibility




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       1   requirement, and the Debtor has easily met this standard.

       2        As Mr. Seery testified, the Debtor's plan contemplates

       3   continued operations through which time the assets will be

       4   monetized for the benefit of creditors.       The plan contemplates

       5   that Class 7 creditors will be paid off shortly after the

       6   effective date.    Class 8 creditors are not guaranteed any

       7   recovery but will receive pro rata distributions over a period

       8   of time.   Class 2, Frontier secured claim, will be paid off

       9   over time, and the projections demonstrate that it will -- the

      10   Debtor will have money to do so.

      11        Mr. Seery testified at length regarding the assumptions

      12   that went into the preparation of the projections most

      13   recently filed on February 1, and based on that testimony, the

      14   Debtor has clearly demonstrated that the plan is feasible.

      15        Your Honor, I think that brings us to Section 1129(b).           Of

      16   course, again, Your Honor, if Your Honor has any other

      17   questions with the sections I'm skipping over.       I believe

      18   we've adequately covered them in the briefs and I don't think

      19   there's any objection.

      20        But as I mentioned before, we have three classes that have

      21   voted to reject the plan.     Class 8 is the general unsecured

      22   claims.    They voted to reject the plan.     Yes.   Even though,

      23   based upon the ballot summary, 99 percent of the amount of

      24   claims in that class voted to accept the plan, approximately

      25   24 employees voted to reject the plan.      And accordingly, the




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       1   Debtor cannot satisfy the numerosity requirement of Section

       2   1126(c).

       3        I do want to briefly recount for Your Honor Mr. Seery's

       4   testimony regarding the nature of the claims of the 24

       5   employees who voted to reject the plan.      And I'm not doing

       6   this to argue that the votes from these contingent creditors

       7   are not valid or that the Debtor doesn't need to satisfy the

       8   cram-down requirements.    The Debtor understands it needs to

       9   demonstrate to the Court that Section 1129(b) is satisfied for

      10   the Court to confirm the plan.

      11        Rather, why I do this, Your Honor, is to provide the Court

      12   with context about the nature and extent of the creditors in

      13   this class as the Court determines whether the plan is, in

      14   fact, fair and equitable and can be crammed down to a

      15   dissenting vote.

      16        Mr. Seery testified that these employees originally had

      17   claims under the annual bonus plan and the deferred

      18   compensation plan.    And as he testified, in order for claims

      19   under each of those plans to vest -- I think he referred to

      20   them as be-in-the-seat plans -- the employee was required to

      21   remain employed as of that date.

      22        Mr. Seery testified that the Debtor terminated the annual

      23   bonus plan in the middle of January and replaced it with the

      24   key employee retention plan that the Court previously

      25   approved.




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       1          Accordingly, Mr. Seery testified that no employee who

       2   voted to reject the plan anymore has a claim on the annual

       3   bonus plan.    He also testified that, with respect to the

       4   deferred compensation plan, people have contingent claims

       5   under that plan and that no payments are due until May 20 --

       6   2021.

       7          As Mr. Seery testified, if the employees who would be

       8   entitled to receive payments under the deferred compensation

       9   plan do not agree to enter into a separation agreement that

      10   was approved by the Court, they will be terminated before May

      11   and there will no -- not longer be any deferred compensation

      12   due.

      13          Accordingly, while the 24 employees who voted to reject

      14   the plan do technically have claims at this time they have

      15   voted, Mr. Seery testified the claims will go away soon.

      16          I do want to point out something that's obviously

      17   painfully obvious at this point, that while Class 8 voted to

      18   reject the plan, the Committee, the statutory fiduciary for

      19   all unsecured creditors, supports the plan enthusiastically

      20   and I believe it does so unanimously.

      21          The other classes to reject the plan, Your Honor, are

      22   Class 11, the A limited partnerships, and none of the holders

      23   in Class B and C limited partnerships voted on the plan, so

      24   cram-down is required over those classes as well.        So Your

      25   Honor is able to confirm the plan pursuant to the cram-down




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       1   procedures under 1129(b) if the Court determines that the plan

       2   is fair and equitable and does not discriminate unfairly

       3   against the rejecting classes.

       4        Let's first turn to the fair and equitable requirement.           A

       5   plan is fair and equitable if it follows the absolute priority

       6   rule, meaning that if a class does not receive payment in

       7   full, no junior class will receive anything under the plan.

       8   With respect to Class 8, no junior class -- junior class to

       9   Class 8 will receive payment, and here is the key point,

      10   unless Class 8 is paid in full, with appropriate interest.

      11   NPA and Dugaboy -- Dugaboy in a brief filed on Monday -- argue

      12   that the plan does not satisfy the absolute priority rule

      13   because Class 10 and Class Equity Interests have a contingent

      14   right to receive property under the plan.

      15        Your Honor, this argument misunderstands the absolute

      16   priority rule.    Class 10 and Class Creditors will only receive

      17   payment after distribution to 8 and 9, the unsecured claims

      18   and the subordinated claims, are all paid in full, plus

      19   interest.

      20        And, in fact, Dugaboy, in its brief, to its credit, admits

      21   that the argument is contrary to the Bankruptcy Court's

      22   decision of Judge Gargotta in the Western District case of In

      23   re Introgen Therapeutics.     There, the Court was faced with a

      24   similar argument by a group of unsecured creditors who argued

      25   that the debtor's plan violated the absolute priority rule




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       1   because equity was retaining a contingent interest that would

       2   only be payable if general unsecured claims were paid in full.

       3        In rejecting the argument, the Court reasoned, and I

       4   quote, "The only way Class 4 will receive anything is if Class

       5   3, in fact, gets paid in full, in satisfaction of

       6   1129(b)(2)(B)(i)," meaning that the absolute priority rule

       7   would not be an issue.     If Class 3 is not paid in full, Class

       8   4's property interest is not -- is just -- is not just

       9   valueless, it just doesn't exist.

      10        Your Honor, this is precisely the situation in this case.

      11   Equity interests will only receive a recovery if Class 8 and 9

      12   are paid in full.

      13        But Dugaboy attempts to escape the logical reading of the

      14   absolute priority rule by claiming that Introgen was wrongly

      15   decided and goes against the Supreme Court's decision in

      16   Ellers (phonetic).    Dugaboy argues that because the Supreme

      17   Court decided that property given to a junior class without

      18   paying a senior class in full is property, even if it's

      19   worthless.

      20        But Dugaboy misses the point.     Like the debtor in the

      21   Introgen, the Debtor here is not arguing that the property         --

      22   the absolute priority rule is not violated because the

      23   contingent trust is worthless.      Rather, the argument is that

      24   the absolute priority rule is not violated; it's, in order to

      25   receive anything on account of the junior -- of the equity,




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       1   the senior creditors have to be paid a hundred percent plus

       2   interest.

       3        In fact, Your Honor, if the plan just didn't give any

       4   recovery to the equity Class 10 and 11, I bet you Dugaboy and

       5   Mr. Dondero would be arguing that it violated the absolute

       6   priority rule because senior classes, unsecured creditors,

       7   could potentially receive more than a hundred percent of their

       8   interest.    And there's a case in the Southern District of

       9   Texas, In re MCorp, where the Bankruptcy Court said that for a

      10   plan to be confirmed, its stockholders eliminated, creditors

      11   must not receive more than payment in full.

      12        Excess proceeds, Your Honor, if any, have to go somewhere.

      13   They can't go to creditors, so they have to go to equity.         And

      14   the absolute priority rule is not violated.

      15        And how is Dugaboy harmed?     They say they may want to buy

      16   the contingent interests, and the lack of a marketing effort

      17   violates the LaSalle opinion as well.      And who holds the Class

      18   B and Class C partnership interests that come before Dugaboy

      19   that Dugaboy is concerned may have this opportunity rather

      20   than them?   Yes, it's Hunter Mountain, Your Honor, an entity,

      21   like Dugaboy, that's owned and controlled by Mr. Dondero.

      22        Accordingly, the argument that the plan violates the

      23   absolute priority rule is actually a frivolous argument.

      24        Turning now to unfair discrimination, Your Honor, Dugaboy

      25   argued in its brief Monday that because the projected




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       1   distribution to unsecured creditors has gone down in the

       2   recent plan projections, the discrepancy between Class 7 and

       3   Class 8 is so large that that amounts to unfair

       4   discrimination.

       5        Again, the Court should first ask why is Dugaboy even the

       6   right party to be making the objection.       Its claim against the

       7   Debtor to pierce the corporate veil, as I mentioned, is

       8   frivolous.    It's subject to objection.     It didn't even bother

       9   to have the claim temporarily allowed for voting purposes, as

      10   did other creditors who thought they had a valid claim.          Yet

      11   this is another example of Mr. Dondero, through Dugaboy,

      12   trying to throw as many roadblocks in front of confirmation as

      13   he can.

      14        But this argument, like the other ones, fails as well.

      15   Class 8 contains the general unsecured creditor claims,

      16   predominately litigation claims that have been pending against

      17   the Debtor for years.     The Debtor was justified in treating

      18   the other unsecured creditors differently.

      19        Class 6 consists of the PTO claims in excess of the cap,

      20   which are of different quality and nature than the other

      21   claims.

      22        Class 7 consists of the convenience class.       And it's

      23   appropriate to bribe convenience class creditors with a

      24   discount option for smaller claims to be cashed out for

      25   administrative convenience.




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       1        Mr. Seery testified that when the plan was formulated, the

       2   concept was to separately classify liquidated claims in small

       3   amounts in Class 7 and unliquidated claims in Class 8.         Mr.

       4   Seery also testified that there's a valid business

       5   justification to treat the -- hold business 7 -- Class 7

       6   claims differently.     These creditors had a reasonable

       7   expectation of getting paid promptly, as compared to

       8   litigation creditors, who would expect to be paid over time.

       9        As the Court is aware, the litigation claims in Class 8

      10   involve litigation that has been pending for several years in

      11   the case of Acis, Daugherty, Redeemer, and more than a decade

      12   in UBS.

      13        And most importantly, as Mr. Seery testified, the

      14   Committee and the Debtor had significant negotiation regarding

      15   the classification and treatment provisions of the plan for

      16   Class 7.

      17        The Committee does have one constituent who is a Class 7

      18   creditor.   However, the other three creditors are all in Class

      19   8 and hold claims in excess of $200 million and supported the

      20   separate classification and the different treatment.

      21        So, Your Honor, discrimination, different treatment among

      22   Class 7 and 8 is appropriate, and the different treatment is

      23   not unfair.    In the February 1 projections, the Class 8

      24   creditors are estimated to receive 71.32 percent of their

      25   claims, but that's just an estimate.      As Mr. Seery testified,




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       1   the number can go up based upon the value he can generate from

       2   the assets and, importantly, from litigation claims.          Class 8

       3   creditors could up end up receiving a hundred percent on

       4   account of their claims.     Class 7 creditors are fixed at 85

       5   percent.

       6        Giving Class 8 creditors the opportunity to roll the dice

       7   and potentially get more or less than the 85 percent offered

       8   to Class 7 is not at all unfair.

       9        For these reasons, Your Honor, the Court has the ability

      10   and should confirm the plan pursuant to the cram-down

      11   provisions of 1129(b).

      12        Your Honor, I'm now going to switch from the statutory

      13   requirements to all the issues raised by the release,

      14   injunction, and exculpation provisions.

      15        I'd just like to take a brief sip of water.

      16        Dugaboy -- I will first deal with the Debtor release

      17   provided in Article 9(f) of the plan, which we claim is

      18   appropriate.    Dugaboy and the U.S. Trustee have objected to

      19   the release contained in Article 9(f).       Dugaboy objects

      20   because it believes that the Debtor release releases claims

      21   that the Claimant Trust or Litigation Trust have that have not

      22   yet arisen, and the U.S. Trustee objects because it believes

      23   that the release is a third-party release.

      24        These objections have no merit, and they should be

      25   overruled.




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       1       I would like to ask Ms. Canty to put up a demonstrative

       2   which contains the provision Article 9(f) of the plan.

       3       Your Honor, as set forth in this Article 9(f), only the

       4   Debtor is granting any release.        While that --

       5              THE COURT:   And for the record, it's 9(d)?        9(d),

       6   right?

       7              MR. POMERANTZ:   9(d)?   9(d), correct, Your Honor.

       8              THE COURT:   Yes.   Okay.

       9              MR. POMERANTZ:   Sorry about that.

     10               THE COURT:   Uh-huh.

     11               MR. POMERANTZ:   While the release is broad, it does

     12    not purport to release the claims of any third party.          The

     13    Claimant Trust and the Litigation Trust are only included in

     14    the release as successors of the Debtor.       The release is

     15    specifically only for claims that the Debtor or the estate

     16    would have been legally entitled to assert in their own right.

     17        Section 1123(b)(3)(A) of the Bankruptcy Code provides that

     18    a plan may provide for the settlement or adjustment of any

     19    claims or interests belonging to the debtor or the estate, and

     20    that's exactly what the Debtor release provides.

     21        Accordingly, Dugaboy is wrong that the release effects a

     22    release of claims that the Claimant Trust or the Litigation

     23    Sub-Trust have that won't arise until after the effective

     24    date.    And the U.S. Trustee is simply wrong; there's no third-

     25    party release aspect under the release.




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       1        The last point I will address on the release, Your Honor,

       2   is who is being released and why and what does the evidence

       3   show.   The Debtor release extends to release parties which

       4   include the independent directors, Strand, for actions after

       5   January 9th, Jim Seery as the CEO and CRO, the Committee,

       6   members of the Committee, professionals, and employees.

       7        You have heard Mr. Seery's testimony that the Debtor does

       8   not believe that any claims against the parties that are

       9   proposed to be released actually exist.       You have heard Mr.

      10   Seery's testimony that he worked closely with the employees

      11   and believes that not only have they all been instrumental in

      12   getting the Debtor to the -- be on the cusp of plan

      13   confirmation, but that also Mr. Seery is not aware of any

      14   claims against them.

      15        Moreover, as Mr. Seery testified, the release for the

      16   employees is only conditional.      He testified that the

      17   employees are required to assist in the monetization of assets

      18   and the resolution of claims, and if they do not like -- if

      19   they do not lose their release, then any Debtor claims are

      20   tolled, such that could be pursued by the Litigation Trustee

      21   at a future time.

      22        Lastly, I'm sure that the Dondero entities will argue that

      23   someone needs to investigate claims against Mr. Seery for

      24   mismanagement or for, God forbid, having failed to file the

      25   2015.3 statements.    Such claims are part of the continuing




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       1   harassment of Mr. Seery that the Dondero entities have

       2   embarked on after it was apparent that nobody would support

       3   their plan.

       4        There is no evidence of any claims that exist, Your Honor.

       5   In fact, the Committee and its professionals have watched the

       6   Debtor through this case like a hawk.      They have not been

       7   afraid to challenge the Debtor's actions in general and Mr.

       8   Seery's in particular.    FTI has worked on a daily basis with

       9   DSI and the company, had access to information.       When COVID

      10   was happening, they were looking at trades going on on a daily

      11   basis.

      12        So if the Committee, whose members hold approximately $200

      13   million of claims against the estate, are okay with the

      14   release against the independent directors and Mr. Seery, that

      15   should provide the Court with comfort to approve the releases

      16   as part of the plan.

      17        In summary, Your Honor, the Debtor release is entirely

      18   appropriate and does not affect the release of third-party

      19   claims that have not yet arisen.

      20        Next, Your Honor, I want to go to the discharge.         There's

      21   been objections to the discharge.     Dugaboy and NexPoint have

      22   objected that the Debtor receiving a discharge under the plan

      23   -- argue a debtor is liquidating.     The objection is not well

      24   taken based upon Mr. Seery's testimony regarding what it is

      25   the Claimant Trust and the Reorganized Debtor plan to do after




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       1   the effective date, as compared to what the limitations of a

       2   discharge are under 1141(d)(3).

       3       Your Honor, Article 9 of the -- 9(b) of the plan provides

       4   that as -- except as otherwise expressly provided in the plan

       5   or the confirmation order, upon the effective date, the Debtor

       6   and its estate will be discharged or released under and to the

       7   fullest extent provided under 1141(d)(A) [sic] and other

       8   applicable provisions of the Bankruptcy Court.      Bankruptcy

       9   Code.

     10        Section 1141(d)(3) provides an exception to the discharge,

     11    and I'd like to have that section put up for Your Honor at

     12    this point.   Ms. Canty?

     13        As this -- as the section reflects, and as the Fifth

     14    Circuit has ruled in the TH-New Orleans Limited Partnership

     15    case cited in our materials, in order to deny the debtor a

     16    discharge under 1141(d)(3), three things must be true:        (1)

     17    the plan provides for the liquidation of all or substantially

     18    all of the property in the estate; (2) the debtor does not

     19    engage in business after consummation of the plan; and (3) the

     20    debtor would be denied a discharge under 727(a) of this title

     21    if the case was converted to Chapter 7.      Here, only C applies.

     22        With respect to A, Your Honor, while the plan does project

     23    that it will take approximately two years to monetize the

     24    Debtor's assets for fair value, the Debtor is just not

     25    liquidating within the meaning of Section A.




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       1        As Mr. Seery testified, during the post-confirmation

       2   period, post-effective date period, the Debtor will continue

       3   to manage its funds and conduct the same type of business it

       4   conducted prior to the effective date.      It'll manage the CLOs.

       5   It'll manage Multi-Strat.     It'll manage Restoration Capital.

       6   It'll manage the Select Fund, and it'll manage the Korea Fund.

       7        The Bankruptcy Court for the Southern District of New

       8   York's 2000 opinion in Enron, cited in our materials, is on

       9   point.   There, the Court found that a debtor liquidating its

      10   assets over an indefinite period of time that is likely to

      11   take years is not liquidating within the meaning of Section

      12   1141(b)(3)(A), justifying a denial of discharge.

      13        But even if we failed A, based upon Mr. Seery's testimony,

      14   we would not fail B.    The Debtor will be continuing to do what

      15   it has done during the case, as it did before, as I said,

      16   managing its business.     B says the debtor does not engage in

      17   the business after management.     So while Mr. Seery testified

      18   that it would take approximately two years, it could take

      19   more, it could take less, and there is no requirement to

      20   liquidate assets over a period of time.

      21        Accordingly, Your Honor, the Debtor is conducting the type

      22   of business contemplated by Section B so as not to just deny a

      23   discharge.

      24        As the Fifth Circuit said in the TH-New Orleans case, the

      25   court granted a discharge there because it was likely that the




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       1   debtor would be liquidating its assets and conducting business

       2   (indecipherable) years following a confirmation date.          And

       3   this result makes sense, Your Honor, because the Debtor will

       4   need the discharge and the tenant injunctions, which I'll get

       5   to in a moment, in order to prevent interference with the

       6   Debtor's ability to implement the terms of the plan and make

       7   distributions to creditors.

       8        I would now like, Your Honor, to turn to the exculpation

       9   provisions, which there's been -- there's been a lot of

      10   briefing on it, and I know Your Honor is very aware of the

      11   exculpation provisions and the Pacific Lumber case.           And

      12   several parties have objected to the exculpation contained in

      13   the plan, based primarily on the Fifth Circuit ruling in

      14   Pacific Lumber.

      15        The exculpation provision, which is not dissimilar to what

      16   is found in many plans around the country, including in plans

      17   confirmed in bankruptcy courts in the Fifth Circuit, acts to

      18   exculpate the exculpated parties for negligent-only acts as it

      19   contains the standard carve-outs for gross negligence,

      20   intentional conduct, and willful misconduct.

      21        I do want to bring to the Court's attention a deletion we

      22   made to the parties protected by the exculpation in the plan

      23   and now -- were filed on February 1st.      The definition of

      24   exculpated parties included, before February 1, not only the

      25   Debtor but its direct and indirect majority-owned subsidiaries




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       1   and the managed funds.     In the plan amendment, we have deleted

       2   the Debtor's direct and indirect majority-owned subsidiaries

       3   and managed funds from the definition and are not seeking

       4   exculpation for those entities.

       5        But before, Your Honor, I address Pacific Lumber and why

       6   the Debtor believes it does not preclude the Court from

       7   approving the exculpation in this case, I do want to focus on

       8   something that the Objectors conveniently ignore from their

       9   argument.

      10        As I mentioned in my opening argument, Your Honor, the

      11   independent directors were appointed pursuant to the Court's

      12   order on January 9, 2020.     They have resolved many issues

      13   between the Debtor and the Committee, and avoided the

      14   appointment of a Chapter 11 trustee.

      15        The January 9th order was specifically approved by Mr.

      16   Dondero, who was in control of the Debtor at the time, and I

      17   believe the transcripts that are admitted into evidence will

      18   demonstrate that he was fully behind the approval of the

      19   January 9th order.

      20        In addition to appointing the independent directors into

      21   what was sure to be a contentiously litigious case, the

      22   January 9th order set the standard of care for the independent

      23   directors, and specifically exculpated them from negligence.

      24        You have heard Mr. Seery and Mr. Dubel testify that they

      25   had input into what the order said and would have not agreed




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       1   to be appointed as independent directors if it did not include

       2   Paragraph 10, as well as the provisions regarding

       3   indemnification and D&O insurance.

       4        I would like to put a demonstrative on the screen, which

       5   is actually Paragraph 10 of that order.       Your Honor, Paragraph

       6   10, there's two concepts embedded here.       First, it requires

       7   any parties wishing to sue the independent directors or their

       8   agents to first seek such approval from the Bankruptcy Court.

       9   Secondly, and importantly for purposes of the independent

      10   directors and their agents, who would include the employees,

      11   it set the standard of care for them during the Chapter 11 and

      12   entitled them to exculpation for negligence.       Paragraph 10

      13   says the Court will only permit a suit to go forward if such

      14   claim represents a colorable claim for willful misconduct or

      15   gross negligence.

      16        And Your Honor, Paragraph 10 does not expire by its terms.

      17        By not including negligence in the definition of what a

      18   colorable claim might be, the Court has already exculpated the

      19   independent directors and their agents, which include the

      20   employees acting at their direction.

      21        And because the independent directors and their agents are

      22   exculpated under Paragraph 10, Strand needs to be exculpated

      23   as well for actions occurring after January 9th.       This is

      24   because a suit against Strand for conduct after the

      25   independent board was appointed is effectively a suit against




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       1   the independent directors, who were the only people in control

       2   of Strand at that time.

       3        After the effective date, Mr. Dondero will regain control

       4   of Strand, as the independent directors will be discharged.

       5   And for parties able to sue Strand essentially for negligence

       6   for conduct conducted by the independent directors after

       7   January 9th, Strand will then be able to seek indemnification

       8   from the Debtor under the Debtor's partnership agreement

       9   because the partnership agreement does provide the general

      10   partner is entitled to indemnification.

      11        Accordingly, an exculpation for Strand is really the

      12   functional equivalent of an exculpation for the independent

      13   directors and the Debtor.

      14        The January 9th order was not appealed, and an objection

      15   to exculpation at this point as it relates to the independent

      16   directors, their agents, and Strand is a collateral attack on

      17   this order.    So, Your Honor, Your Honor does not even need to

      18   get to the thorny issues addressed by Pacific Lumber.

      19        However, even in the absence of the January 9th order,

      20   exculpation of the independent directors and their employees,

      21   as well as the other exculpated parties, is not prohibited by

      22   Pacific Lumber.    In Pacific Lumber, the Fifth Circuit reversed

      23   a bankruptcy court order confirming a plan because the

      24   exculpation provision was too broad and included parties that

      25   the Fifth Circuit thought could not be exculpated under




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       1   Section 524(e) of the Code.

       2        A close look at the issue before the Court, Your Honor,

       3   the reasoning for the Court's ruling and why certain parties

       4   like Committee and its members were entitled to exculpation,

       5   reflects that this case does not prevent the Court from

       6   approving exculpation of this case.

       7        A careful read of the underlying briefs and opinions in

       8   Pacific Lumber reveals that the concern that the Appellants

       9   had in that case was the application of exculpation to non-

      10   fiduciary sponsors.     There were two competing plans in the

      11   case.   The first was filed by the indenture trustee.         The

      12   second was filed by the debtor's parent and lender, and was

      13   deemed -- called the Marathon Plan.      The Court confirmed the

      14   Marathon Plan, and the indenture trustee appealed, and the

      15   indenture trustee argued that the plan sponsors could not be

      16   exculpated.

      17        After determining that the appeal of the exculpation

      18   provisions were not equitably moot, the Fifth Circuit

      19   determined that exculpation was not authorized under 524(e) of

      20   the Code because that section provides a discharge of the

      21   debtor does not affect the liability of any other entity on

      22   such debt.

      23        However, and here's the important part, Your Honor:            The

      24   Fifth Circuit did not say that all exculpations are prohibited

      25   under the Code and authorized the exculpation of the Committee




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       1   and its members.    And why did the Court do that?     Because it

       2   looked at the Committee's qualified immunity under 1103 and

       3   also reasoned that Committee members are essentially

       4   disinterested volunteers that should be entitled to

       5   exculpation on negligence.

       6        The Court also cited approvingly Colliers for the

       7   proposition that if Committee members were not exculpated for

       8   negligence and subject to suit by people who are unhappy with

       9   them, they just would not serve.

      10        Accordingly, the Fifth Circuit based its willingness to

      11   exculpate Committee members on the strong public policy that

      12   supports exculpation for those parties under those

      13   circumstances.    And against this backdrop, Your Honor, there

      14   are several reasons why the Court should authorize exculpation

      15   in this case, notwithstanding Pacific Lumber.

      16        First, Your Honor, the independent directors in this case

      17   are analogous -- much more analogous to the Committee members

      18   that the Fifth Circuit ruled were entitled to than the

      19   incumbent officer and directors.

      20        Your Honor has the following facts before the Court, based

      21   upon the testimony of Mr. Seery and Mr. Dubel and other

      22   evidence in the record.     The independent board members were

      23   not part of the Highland enterprise before the Court appointed

      24   them on January 9th.     The Court appointed the independent

      25   directors in lieu of a Chapter 11 trustee to address what the




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       1   Court perceived as the serious conflicts of interest and

       2   fiduciary duty concerns with current management, as identified

       3   by the Committee.

       4       The independent directors would not have agreed to accept

       5   their role without indemnification, insurance, exculpation,

       6   and the gatekeeper function provided by the January 9th order.

       7       And Mr. Dubel testified regarding the significant

       8   experience he has as an independent director during his 30-

       9   plus years in the restructuring community, including several

     10    engagements as an independent director in Chapter 11 cases.

     11    And he testified that independent directors have become

     12    commonplace in complex restructurings over the last several

     13    years and have been appointed in many cases, including high-

     14    profile cases.   We've cited to just a few of those cases in

     15    our brief, but we could go on and on.

     16        Mr. Dubel testified that the independent directors are a

     17    critical tool in proper corporate governance and restoring

     18    creditor confidence in management in modern-day

     19    restructurings, and he testified that, based upon his

     20    experience, independent directors expect to be indemnified by

     21    the company, expect to obtain directors and officers

     22    insurance, and expect to be exculpated from claims of

     23    negligence when they agree to be appointed.

     24        He further testified that if independent directors cannot

     25    be assured that they will be exculpated for simple negligence,




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       1   he believes they will be unwilling to serve in contentious

       2   cases like the one we have here, which will have a material

       3   adverse effect on the Chapter 11 restructuring process as we

       4   know it.

       5        Based upon the foregoing testimony, Your Honor, which is

       6   uncontroverted, the Court should have no problem finding that

       7   the independent directors are much more analogous to the

       8   Committee members in Pacific Lumber who the Fifth Circuit said

       9   could be exculpated.

      10        The facts, these facts also distinguish this case from the

      11   Dropbox v. Thru case which Your Honor decided and which was

      12   reversed on this issue by the District Court.       In neither

      13   Pacific Lumber or Thru was there an argument that the policy

      14   reasons that supported exculpation of Committee members also

      15   supported the exculpation of the parties sought to be

      16   exculpated.

      17        Moreover, Your Honor, the independent directors in this

      18   case were pointed as essentially as substitute for a Chapter

      19   11 trustee.    There was a Chapter 11 trustee motion filed a few

      20   days before, I believe, and the Court, in approving this, said

      21   that you -- better than a Chapter 11 trustee.       And Chapter 11

      22   Trustees are entitled to qualified immunity.       So, while, yes,

      23   the independent directors aren't truly Chapter 11 trustees,

      24   they are analogous.

      25        Second, Your Honor, while there is language in Pacific




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       1   Lumber that says that the directors and officers of the debtor

       2   are not entitled to exculpation, the issue before the Court

       3   really on appeal was the plan sponsors and whether they were.

       4   So I would argue that any discussion of the exculpation not

       5   being available for directors and officers in the Fifth

       6   Circuit opinion in Palco is actually dicta.

       7        Third, Your Honor, as I discussed before, the Pacific

       8   Lumber decision was based solely on 524(e) of the Bankruptcy

       9   Code, which only says that the discharge of a claim against

      10   the debtor does not affect the discharge of a third party.

      11   However, the Debtor is not relying on 524(e) as the basis of

      12   their exculpation.    As we outline in our brief, Your Honor, we

      13   believe that the exculpation is appropriate under Section 105

      14   and 1123(b)(6) as a means -- part of an implementation of the

      15   plan.

      16        Importantly, Your Honor, as other courts hostile to third-

      17   party releases have determined, exculpation only sets a

      18   standard of care for parties and is not an effort to relieve

      19   fiduciaries of liability.

      20        Other courts that have aligned with the Fifth Circuit and

      21   rejected third-party releases, like the Ninth Circuit, have

      22   recently determined exculpation has nothing to do with 524(e).

      23   In In re Blixseth, a Ninth Circuit case decided at the end of

      24   2020 cited in our materials, they examined several of their

      25   circuit cases that had strongly prohibited non-consensual




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       1   third-party releases under 524(e).      But again, the Court

       2   concluded that 524(e) only prohibits third parties from being

       3   released from liability of a prepetition claim for which the

       4   debtor receives a discharge.      The Court reasoned that the

       5   exculpation clause, however, protects parties from negligence

       6   claims relating to matters that occurred during the Chapter 11

       7   case and has nothing to do with 524(e).

       8        The Ninth Circuit, which along with the Fifth Circuit has

       9   been notorious for prohibiting third-party releases, issued

      10   its ruling against this backdrop and said that exculpations

      11   are appropriate.

      12        Your Honor, the Objectors made a point yesterday of

      13   pointing out that Strand, as the Debtor's general partner, is

      14   liable for the debts under applicable law.       To the extent they

      15   intend to argue that the exculpation is seeking to discharge

      16   any such prepetition liability, they would be wrong.          The

      17   exculpation only applies to postpetition matters.        And to the

      18   extent they argue that the exculpation seeks to discharge

      19   Strand's potential postpetition liability, for the reasons I

      20   discussed, a claim against Strand will essentially be a claim

      21   against the Debtor because the Debtor will be obligated to

      22   indemnify them.

      23        Accordingly, Your Honor, we submit that if this matter

      24   goes up to appeal to the Fifth Circuit, which it may very well

      25   do, that the Fifth Circuit may very well come out the same way




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       1   as the Ninth Circuit and start relaxing the standard or

       2   otherwise provide that the independent directors are much more

       3   like Committee members.

       4        Lastly, Your Honor, if the Court does confirm the plan,

       5   which we certainly hope it will do, it will have made a

       6   finding that the plan has been proposed in good faith, and in

       7   doing so, the Court essentially finds that the independent

       8   directors and their agents have acted appropriately and

       9   consistent with their fiduciary duties, and it makes --

      10   exculpation for negligence naturally flows from that finding.

      11        Your Honor, I would now like to go to the injunction

      12   provisions, and my argument is that the injunction provisions

      13   as amended are appropriate.

      14              THE COURT:   Can I stop you?

      15              MR. POMERANTZ:    We received several of -- yes.

      16              THE COURT:   I want to just recap a couple of things I

      17   think I heard you say.      You're not asking this Court, you say,

      18   to go contrary to Pacific Lumber per se.       You have thrown out

      19   there the possibility that Pacific Lumber mistakenly relied on

      20   524(e) in rejecting exculpations of plan sponsors.        You're

      21   saying, eh, as a technical matter, I think they were wrong in

      22   focusing on that statute because that statute seems to deal

      23   with prepetition liability.      Okay?   Its actual wording, 524(e)

      24   states, discharge of a debt of a debtor does not affect the

      25   liability of any other entity on such debts.




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       1        And reading between the lines, I think you're saying --

       2   well, maybe this isn't what you're saying, but here's what I

       3   inferred -- "debt" is defined in 101(12) to mean liability on

       4   a claim, and then "claim" is defined in 101(5) of the

       5   Bankruptcy Code as meaning right to payment.       It doesn't say

       6   as of the petition date, but I think if you look at, then,

       7   Section 502 of the Bankruptcy Code that addresses claims and

       8   interests, clearly, it seems to be referring to the

       9   prepetition time period, you know, claims and interest as of

      10   the petition date.     And then -- that's 502.    And then 503

      11   speaks of, for the most part, postpetition administrative

      12   expenses.

      13        So that was my rambling way of saying I'm understanding

      14   you to say, eh, as a technical matter, we think the Fifth

      15   Circuit was wrong to focus on 524(e) because when you're

      16   talking about exculpation you're talking about postpetition

      17   liability, not prepetition liability.      And 524(e) is talking

      18   more about prepetition liability.

      19        But I think what I also hear you saying is, at bottom,

      20   Pacific Lumber was sort of a policy-driven holding where, you

      21   know, we're worried about no one would ever sign up for being

      22   on an unsecured creditors' committee if they could be exposed

      23   to lawsuits.    They're fiduciaries, we think, for policy

      24   reasons.    Exculpation is appropriate for this one group.       And

      25   you're saying, well, they didn't have an independent board




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       1   that they were considering.       They were just considering non-

       2   fiduciary plan sponsors.     And so the rationale presented by

       3   Pacific Lumber applies equally here, and just they didn't make

       4   a holding in this factual context.

       5        Have I recapped what you're saying?

       6               MR. POMERANTZ:   Your Honor, that's generally --

       7   generally correct, with a couple of nuances.       So, yes, first,

       8   I think, on a policy basis, Your Honor -- again, putting aside

       9   the January 9th order, because we don't see --

      10               THE COURT:   Right.   Right.

      11               MR. POMERANTZ:   -- Your Honor even needs to get to

      12   this issue.

      13               THE COURT:   I understand.

      14               MR. POMERANTZ:   But if Your Honor does get to this

      15   issue, we think, as a first point, Your Honor could be totally

      16   consistent with Pacific Lumber because there's policy reasons

      17   and there was not a categorical rejection of exculpation.

      18   Okay.   So if there was a categorical rejection, then it

      19   wouldn't have been okay for committee members.       Okay.

      20        Second argument, yes, we don't think -- we think it's part

      21   of dicta.    It's not part of the holding.     We understand that

      22   other courts may have not agreed, maybe your Thru case, which

      23   Your Honor was appealed on.

      24        But the third issue, our argument is all they looked at

      25   was 524(e).    They said 523 -- 4(e) does not authorize it.




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       1   They did not say 524(e) prohibits it.

       2        We think there's other provisions in the Code.       And then

       3   when you basically add in the analysis that Your Honor

       4   provided, which we agree with, and what 524 was -- to do,

       5   524(e) just says that discharge doesn't affect.       It doesn't

       6   say that under another provision of the Code or for another

       7   reason you are authorized to give an exculpation.        I think

       8   it's a nuance and it's a difference there.

       9        And my point of bringing up the Blixseth case -- which, of

      10   course, is Ninth Circuit and it's not binding on Your Honor,

      11   it's not binding on the Fifth Circuit -- is to say, when that

      12   was presented to them, they saw the distinction that 524(e)

      13   has nothing to do with an exculpation.      And while, yes, the

      14   Fifth Circuit hasn't ruled on that, and if the Fifth -- if

      15   that argument is made to the Fifth Circuit, we don't know how

      16   they would rule, I think that, based upon their analysis --

      17   which, again, Your Honor, is no more than a page and a half of

      18   their opinion, right, of a long, lengthy opinion on the

      19   confirmation issues.     So I think, Your Honor, with the Fifth

      20   Circuit, there is a good chance that based upon the developing

      21   case law of exculpation, based upon the sister circuit in

      22   Blixseth making that distinction, that there is a very good

      23   chance that the Fifth Circuit would change.

      24        But look, I recognize that argument requires Your Honor to

      25   say, okay, this is outside and -- and what Pacific Lumber did




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       1   or didn't do.    But I think, Your Honor, there's several

       2   potential reasons, there's several potential arguments that

       3   you can get to the same place.

       4              THE COURT:    Okay.   Thank you.

       5              MR. POMERANTZ:   Okay.   If I may just get another

       6   glass of -- sip of water before my time starts?

       7              THE COURT:    Okay.

       8              MR. POMERANTZ:   Okay, Your Honor.    We're now turning

       9   to the injunction provision.      The Debtor received several

      10   objections to the injunction provisions in -- I think I have

      11   it right now -- Article 9(f) to the plan.       And we've modified

      12   Article 9(f) to address certain of those concerns, and we

      13   believe that, as modified, that the injunction provision

      14   implements and enforces the plan's discharge, release, and

      15   exculpation provisions to prevent parties from pursuing claims

      16   in interest that are addressed by the plan and otherwise

      17   interfering with consummation and implementation of the plan.

      18        I'd like to put up the first paragraph of the injunction

      19   on the screen now.

      20        Okay, Your Honor.    The first paragraph, all it does is

      21   prohibits the enjoined parties from taking action to interfere

      22   with consummation or implementation of the plan.       I suspect a

      23   sentence like that is probably in hundreds of plans in the

      24   Fifth Circuit and elsewhere.

      25        Initially, to address a concern that it applied to too




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       1   many parties, the Debtor added a definition in the revised

       2   plan that defines "enjoined parties," which I'd like to now

       3   put that definition up on the screen.

       4        The changes -- it's a little hard to read there, but you

       5   have it in the -- oh, there you go.      The changes made clear

       6   that only parties who have a relationship to this case, either

       7   holding a claim or interest, having appeared in the case, be a

       8   -- or be a party in interest, Jim Dondero, or related entity,

       9   or related person of the foregoing are covered.       The claim

      10   objectors argue that the word "implementation and

      11   consummation" is vague, or vague and unclear.       Your Honor,

      12   these terms are both defined in the Bankruptcy Code and under

      13   the case law, and they're, as I said, common features of many

      14   plans.

      15        Section 1123(a)(5) of the Code provides that a plan shall

      16   provide for its implementation, and identifies a list of items

      17   that the plan can include.     Article 4 of our plan is defined

      18   as "Means of Implementation of This Plan," and describes the

      19   various corporate steps required to implement the provisions

      20   of the plan, including canceling equity interests, creation of

      21   new general partners and a limited part of the Reorganized

      22   Debtor, the restatement of the limited partnership agreement,

      23   and the establishment of the various trusts.

      24        Paragraph 1 rightly and appropriately enjoins efforts to

      25   interfere with these steps.




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       1        Nor is the term "consummation of the plan" vague.

       2   "Consummation" also is a commonly-used term and has been

       3   defined by the Fifth Circuit and the Code.       1102 -- 1101(2)

       4   defines "Substantial Consummation" to be the transfer of

       5   assets to be transferred under the plan, the assumption by the

       6   debtor of the management of all the property dealt with by the

       7   plan, and the commencement of distributions under the plan.

       8        Section 1142 gives the Court authority to direct a party

       9   to perform any act necessary for consummation of a plan.         And

      10   as the Fifth Circuit, in United States Brass Corp., which is

      11   said in our material, states, said the Bankruptcy Court had

      12   post-confirmation jurisdiction to enforce the unperformed

      13   terms of a plan with respect to a matter that could affect the

      14   parties' post-confirmation rights because the plan had not

      15   been fully consummated.

      16        And Your Honor just wrote on this issue last year in the

      17   Senior -- the Texas -- the TXMS Real Estate v. Senior Care

      18   case, and you cited to U.S. Brass to find that, in that case,

      19   post-confirmation jurisdiction existed to resolve a dispute

      20   relating to an assumed contract because the matter related to

      21   interpretation, implementation, and execution of the plan.

      22        Accordingly, Your Honor, neither implementation or

      23   consummation are vague, and the first paragraph of the

      24   injunction is necessary and appropriate to enforce the

      25   Debtor's discharge.




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       1        As I said before, I will leave it to Mr. Kharasch to

       2   address specifically the concerns that the Advisor and the

       3   Funds have with the injunction.

       4        The second and third paragraphs of the injunction, Your

       5   Honor, certain parties have objected to them on the ground

       6   that they constitute an improper release of the independent

       7   directors as well as the release of claims against the

       8   Reorganized Debtor, the Claimant Trust, and the Litigation

       9   Sub-Trust, entities that will not have come into existence

      10   until after the effective date.

      11        We believe we have addressed these concerns by

      12   modifications to the second and third paragraphs of the

      13   injunction, which I would now like to put the second and third

      14   paragraphs on the screen.

      15        (Pause.)

      16              MR. POMERANTZ:    As that is happening, Your Honor, I

      17   will -- there we go.

      18        We believe that the changes that were made to these

      19   paragraphs should address the Objectors' concerns.

      20        First, as with the first paragraph, we have created a

      21   defined term of "Enjoined Parties" who are subject to the

      22   injunction which is narrower than all persons, I believe, or

      23   all entities that was included in the prior plan.        So we've

      24   narrowed that.

      25        "Enjoined Parties" are generally defined, as I mentioned




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       1   before, as entities involved in this case or related to Jim

       2   Dondero, or have appeared in this case.

       3        Second, we have removed independent directors from these

       4   paragraphs to address the concern that the injunction was a

       5   disguised third-party release.

       6        Third, we have removed the Reorganized Debtor and the

       7   Claimant Trust from the second paragraph and moved them to the

       8   third paragraph.    We did this to make clear that the

       9   Reorganized Debtor and Claimant Trust were only getting the

      10   benefit of the injunction as the successors to the Debtor.         As

      11   the Reorganized Debtor and the Claimant Trust receives the

      12   property from the Debtor free and clear of all claims and

      13   interests and equity holders under 1141(c), they are entitled

      14   to the benefit of the injunction.

      15        Fourth, we have addressed the concern that the injunction

      16   improperly affected set-off rights.      We added language to make

      17   clear that the injunction would only affect the parties' set-

      18   off of an obligation owed to the Debtor to the extent that

      19   that was permissible under 553 and 1141 of the Bankruptcy

      20   Code.

      21        In other words, we are punting the issue for another day,

      22   and there's nothing in the plan that gives the Debtor any more

      23   set-off rights than it otherwise has under the Bankruptcy

      24   Code.

      25        Lastly, Your Honor, certain Objectors have argued that the




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       1   injunction somehow prevents them from enforcing the rights

       2   they have under the plan or the confirmation order.           We don't

       3   really understand this concern, as the language leading into

       4   the second paragraph of the injunction says, except as

       5   expressly provided in the plan, the confirmation order, or a

       6   separate order of the Bankruptcy Court.

       7        With these modifications, Your Honor, the provisions do

       8   nothing more than implement 1123(b)(6) and 1141 by preventing

       9   parties from taking actions to interfere with the Debtor's

      10   plan.

      11        The Court has also heard testimony from Mr. Seery

      12   regarding the importance of the injunction to implementation

      13   of the plan.    He testified that he intends to monetize assets

      14   in a way that will maximize value.      And to effectively do

      15   that, he has testified that the Claimant Trust needs to be

      16   able to pursue its objectives without interference and

      17   continued harassment from Mr. Dondero and his related

      18   entities.

      19        In fact, Mr. Seery testified that if the Claimant Trust

      20   were subject to interference by Mr. Dondero, it would take him

      21   more time to monetize assets, they would be monetized for less

      22   money, and creditors would be harmed.

      23        If Your Honor doesn't have any questions for me on the

      24   injunction provisions, I'd like to turn to the last part of

      25   the injunction, which is really the gatekeeper provision.




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       1              THE COURT:   All right.   You may.

       2              MR. POMERANTZ:    Your Honor, the last paragraph in

       3   Article 9(f) is really not an injunction but is rather a

       4   gatekeeper provision.     And as originally drafted, it'd do two

       5   things:   first, it'd require that before any entity, which is

       6   defined very broadly, could file an action against a protected

       7   party relating to certain specified matters, the entity would

       8   have to seek a determination from this Court that the claim

       9   represented are colorable claim of bad faith, criminal

      10   conduct, willful misconduct, fraud, or gross negligence.          The

      11   specified matters to which the gatekeeper provision would

      12   apply included the Chapter 11 case, negotiations regarding the

      13   plan, the administration of the plan, the property to be

      14   distributed under the plan, the wind-down of the Debtor's

      15   business, the administration of the Claimant Trust, or

      16   transactions related to the foregoing.

      17        Subject to certain exceptions for Dondero-related parties,

      18   protected parties were defined to include the Debtor, its

      19   successors and assigns, indirect and direct, majority-owned

      20   subsidiaries and managed funds, employees, Strand, Reorganized

      21   Debtor, the independent directors, the Committee and its

      22   members, the Claimant Trust, the Claimant Trustee, the

      23   Litigation Trust, the Litigation Sub-Trustee, the members of

      24   the Oversight Committee, retained professionals, the CEO and

      25   CRO, and persons related to the foregoing.       Essentially,




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       1   parties related to the pre-effective-date administration of

       2   the estate or the post-confirmation implementation of the

       3   plan.

       4        Second, the gatekeeper provision as originally presented

       5   gave the Bankruptcy Court exclusive jurisdiction to adjudicate

       6   any cause of action that it determined would pass through the

       7   gate.   The gatekeeper provision, Your Honor, is not a release

       8   in any way.    Rather, it permits enjoined parties who believe

       9   they have a claim against the protected parties to pursue such

      10   a claim, provided they first make a showing that the claim is

      11   colorable to the Bankruptcy Court.

      12        Several parties, Your Honor, objected to the Bankruptcy

      13   Court having exclusive jurisdiction to adjudicate the claims

      14   that pass through the gate.     The Debtor believes that the

      15   Bankruptcy Court would ultimately have jurisdiction of any of

      16   those claims that pass through the gate.       However, the Debtor

      17   did, upon reflection, appreciate the concern that if the Court

      18   agreed to that now, it would essentially be determining its

      19   jurisdiction before a claim was filed.

      20        Accordingly, in the January 22nd plan, Your Honor, we

      21   amended the provision to provide that the Bankruptcy Court

      22   will only have jurisdiction over such claims to the extent it

      23   was legally permissible to do so, essentially deferring the

      24   issue to a later time.

      25        And as Your Honor, I believe, in one of cases called the




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       1   Icing on the Cake, the retention and jurisdiction provisions

       2   in the plan only are to the extent under applicable law and

       3   are quite broad and include the things that we would have the

       4   Court -- have jurisdiction for the Court, otherwise

       5   determined.

       6        The Court made some other changes to the gatekeeper

       7   provision, and I would like to place the amended gatekeeper

       8   provision on the screen right now.      In addition to the change

       9   I mentioned, the Debtor made the following changes:           the

      10   provision is limited now to apply only to enjoined parties,

      11   rather than any entity.     Than any entity.    Much narrower.       The

      12   provision added the administration of the Litigation Sub-Trust

      13   to the matters to which the provision would apply.        The

      14   provision makes clear now that any claim, including

      15   negligence, is a claim that could be sought and pursued

      16   through the gatekeeper function.      And the provision made some

      17   other syntax changes.

      18        We believe, Your Honor, with these changes, we believe

      19   that the gatekeeper provision is within the Court's

      20   jurisdiction and it's appropriate to include under the plan.

      21        But certain parties have argued that the Court does not

      22   have the authority, the jurisdictional authority to perform

      23   the gatekeeper function, separate and apart from whether it

      24   has jurisdiction to adjudicate the claims that pass through

      25   the gate.




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       1        Your Honor, we submit that these arguments represent a

       2   fundamental misunderstanding of Bankruptcy Court jurisdiction

       3   and the Court's authority to make sure the Debtor is free of

       4   interference in carrying out the plan which I'll get to in a

       5   couple moments.

       6        As a preliminary matter, Your Honor, it is important for

       7   the Court to remember that Paragraph 10 of the January 9 order

       8   already contains a gatekeeper provision as it relates to the

       9   independent directors and their agents.       And as I mentioned on

      10   a couple of occasions, that order is not going away, it

      11   doesn't expire by its terms, and it cannot be collaterally

      12   attacked in this forum.

      13        The Debtor does acknowledge, though, that the gatekeeper

      14   provision in the plan is broader in terms of the people it

      15   protects and it applies to post-confirmation matters.

      16        Before I address the Court's authority to approve the

      17   gatekeeper provision, I want to summarize the evidence that it

      18   has heard from Mr. Seery and Mr. Tauber regarding why the

      19   gatekeeper is so important a provision to the success of the

      20   plan.

      21        Although the Court is all too familiar with the history of

      22   litigation initiated by and filed against Mr. Dondero and his

      23   related affiliates, Mr. Seery spent some time on the stand

      24   testifying about the litigation so the Court would have a

      25   complete record for this hearing.      He testified that prior to




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       1   the petition date, the Debtor faced years of litigation from

       2   Mr. Terry and Acis that led to the Acis bankruptcy case, which

       3   Your Honor has said many times it's still in your mind.        Years

       4   of litigation with the Redeemer Committee which precipitated

       5   the filing of a bankruptcy case and resulted in an award very

       6   critical of the Debtor's conduct.     Years of litigation with

       7   UBS.    Years of litigation with Patrick Daugherty.     And we

       8   placed all the dockets for all these matters before the Court.

       9          Also, during the bankruptcy and after the Committee

     10    essentially rejected the Debtor's pot plan proposal and

     11    indicated -- and the Debtor indicated it would be terminating

     12    the shared service agreements with Mr. Dondero and his related

     13    entities, the Debtor was the subject of harassment from Mr.

     14    Dondero and related entities which resulted in the temporary

     15    restraining order against him, a preliminary injunction

     16    against him, a contempt motion, which Your Honor is scheduled

     17    to hear Friday, a motion by the Debtor's controlled -- by the

     18    Dondero-controlled investors and funds in CLO managed --

     19    managed by the Debtor, which the Court referred to that motion

     20    as being frivolous and a waste of the Court's time.       Multiple

     21    plan objections, most of which are focused on allowing the

     22    Debtors to continue their litigation crusade against the

     23    Debtor and its successors post-confirmation.      An objection to

     24    the Debtor approval of the Acis order and a subsequent appeal.

     25    An objection to the HarbourVest settlement and subsequent




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       1   appeal.   A complaint and injunction against the Advisors and

       2   the Funds to prevent them from violating Paragraph 9 of the

       3   January 9th order.    And a temporary restraining order against

       4   those parties, which was by consent.

       5        Mr. Dondero's counsel tends to argue that he is the victim

       6   here and that the litigation is being commenced against him

       7   and -- instead of by him.     That response does not even deserve

       8   a response, Your Honor.     It is disingenuous.

       9        Mr. Tauber testified that he was part of the team at Aon

      10   that sourced coverage for the independent directors after

      11   their appointment in January 2020 and that he has over 20

      12   years of underwriting experience.      He testified that at Aon he

      13   builds bespoke insurance programs which are not cookie-cutter

      14   programs for his clients, with an emphasis on D&O and E&O.

      15   And he was asked by the independent board to obtain D&O and

      16   E&O insurance after the board's appointment on January 9th.

      17        Based upon the process Aon conducted in reaching out to

      18   insurance carriers, Mr. Tauber testified that Aon was only

      19   able to obtain D&O insurance based upon the inclusion of

      20   Paragraph 10 of the January 9 order, the gatekeeper provision.

      21   I know Mr. Taylor said that that was spoon-fed to the

      22   insurers, but Mr. Tauber's testimony is they knew about Mr.

      23   Dondero and they knew about his litigation tactics, so it is

      24   not a good inference to be made from the testimony that they

      25   would not have required something.      They probably would have




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       1   just said no.

       2        Aon has now been -- Mr. Tauber testified that Aon has now

       3   been asked to obtain D&O coverage for the Claimant Trustee,

       4   the Litigation Trustee, the Oversight Committee, the members,

       5   the Claimant Trust, and the Litigation Sub-Trust.        He

       6   testified that he and Aon have approached the insurance

       7   carriers that they believe might be interested in underwriting

       8   coverage.

       9        And no, he hasn't approached every D&O and E&O carrier out

      10   there, and there may be, just like an investment banker

      11   doesn't have to approach everyone.      They are experts in the

      12   field, and he testified they approached the people they

      13   thought would likely be willing or interested and potentially

      14   be willing to extend coverage.      And as a result of Aon's

      15   efforts, Mr. Tauber has determined that there's a continued

      16   resistance to provide any coverage that does not contain an

      17   exclusion for actions relating to Mr. Dondero or his related

      18   entities.    And he further believes that all carriers that will

      19   -- that have discussed a willingness to provide coverage will

      20   only do so if there is a gatekeeper provision, and only one

      21   carrier will agree to provide coverage without a Dondero

      22   exclusion.

      23        Mr. Tauber testified that he believes that any ultimate

      24   policy will provide that if at any time the gatekeeper

      25   provision is not in place, either the carrier will not cover




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       1   any actions related to Mr. Dondero or his affiliates or that

       2   the coverage will be vacated or voided.

       3        Based upon the foregoing record, Your Honor, which is

       4   uncontroverted, there's ample justification on a factual basis

       5   for approval of the gatekeeper provision.

       6        I will now turn to the Court's authority to approve the

       7   gatekeeper provision.

       8        There are three alternative bases upon which the Court can

       9   approve the gatekeeper provision.      First, several provisions

      10   of the Bankruptcy Code give broad authority to approve a

      11   provision like the gatekeeper provision.

      12        Second, the Court can analogize to the Barton Doctrine the

      13   facts and circumstances in this case and authorize the Court

      14   to act as a gatekeeper to prevent frivolous litigation from

      15   being filed against court-appointed officers and directors and

      16   those that will lead the post-confirmation monetization of the

      17   estate's assets.

      18        And third, Your Honor, the Court can find that Mr. Dondero

      19   and his entities are vexatious litigants, and use the

      20   gatekeeper provision as a sanction to prevent the filing of

      21   baseless litigation designed merely to harass those in charge

      22   of the estate post-confirmation.

      23        So, Bankruptcy Court authority.      Your Honor, there are

      24   several provisions in the Bankruptcy Code which we rely on to

      25   support the Court's authority.      First, Section 1123(a)(5)




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       1   permits the plan to approve adequate means of implementation,

       2   and contains a long, non-exclusive list.       Mr. Seery's

       3   testimony is uncontroverted that a gatekeeper provision is

       4   necessary for the adequate implementation of the plan.

       5        Second, Your Honor, 1123(b)(6) authorizes a plan to

       6   include any appropriate provision in a plan not inconsistent

       7   with any other provision in this Code.      There are not any

       8   provisions and none have been cited by the Objectors that

       9   would prohibit a gatekeeper provision.      Section 1141

      10   effectively holds that the terms of a plan bind the debtor and

      11   its creditors and vest property in a reorganized debtor, free

      12   and clear of the interests of third parties.

      13        If nothing else, Your Honor, the spirit of 1141 allows the

      14   Court to prevent, in appropriate cases, vexatious litigation

      15   by unhappy creditors and parties in interest from torpedoing

      16   the plan.

      17        1142(b), Your Honor, provides that the confirmation --

      18   that, after confirmation, the Court may direct any parties to

      19   perform any act necessary for the consummation of the plan,

      20   and requiring the party to seek court-approval before filing

      21   an action is certainly an act.

      22        And lastly, Your Honor, Section 105 allows the Court to

      23   enter orders necessary to order other things, enforce orders

      24   of the Court like the confirmation order, and prevent an abuse

      25   of process which would certainly occur if baseless litigation




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       1   were filed against the parties in charge of the Reorganized

       2   Debtor and the trust vehicles entrusted with carrying out the

       3   plan.

       4        Your Honor, gatekeepers are not a novel concept and have

       5   been approved by courts in appropriate circumstances.         In the

       6   Madoff cases, the Court has been the gatekeeper post-

       7   confirmation to determine whether investor claims are

       8   derivative or direct claims.

       9        In General Motors, the Court has been the gatekeeper post-

      10   confirmation to determine whether product liability claims are

      11   proper claims against the reorganized debtor.

      12        Closer to home, Judge Lynn, Mr. Dondero's counsel,

      13   approved a gatekeeper provision, arguably even more far-

      14   reaching than the provision here, in the Pilgrim's Pride case.

      15   In that case, Judge Lynn held that Pacific Lumber prevented

      16   him -- prevented the Court from approving the exculpation

      17   provision in the plan.     However, he did hold that it was

      18   appropriate for the Court to ensure that debtor

      19   representatives are not improperly pursued for their good-

      20   faith actions by requiring that any actions against the debtor

      21   or its representatives, and further, on the performance of

      22   their obligations as debtor-in-possession, be heard

      23   exclusively before the Bankruptcy Court.

      24        And Pilgrim's Pride is not the only case in this district

      25   to include a gatekeeper provision, as Judge Houser approved




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       1   one in the CHC Group in 2016, which is cited in our materials.

       2       The theme in all these cases, Your Honor, is that there

       3   are circumstances where it is necessary and appropriate for

       4   the Bankruptcy Court to act as a gatekeeper as a means of

       5   reducing litigation that could interfere with a confirmed plan

       6   and that a Court has the authority to approve such provisions.

       7       The Objectors argue that the Bankruptcy Court does not

       8   have jurisdiction to approve that provision.      The Debtor

       9   understands the argument as it related to the prior provision,

     10    which gave the Court exclusive jurisdiction over any claim it

     11    found colorable, and we've amended the plan to address that

     12    issue.   The jurisdiction to deal with those claims could be

     13    left to a later day.

     14        But to the extent the Objectors still pursue the

     15    jurisdiction argument in light of the current provision,

     16    they're really conflating two very different things:          the

     17    ability to determine whether a claim is colorable and the

     18    ability to adjudicate that claim if the Court determines it's

     19    colorable.

     20        None of the authorities cited by the Objectors hold that

     21    the Court is without jurisdiction to approve a gatekeeper

     22    provision like the one here.     So, rather, what they do is they

     23    try to -- they argue, based upon the Craig's Stores case,

     24    which is narrower than other circuits of post-confirmation

     25    jurisdiction in the Bankruptcy Court, and argue that the




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       1   gatekeeper provision doesn't fall within that.       But that --

       2   such reliance is misplaced, Your Honor.

       3        Craig held that the Bankruptcy Court did not have

       4   jurisdiction to adjudicate a post-confirmation dispute over a

       5   private-label credit card agreement between the debtor and the

       6   bank.   In declining to find jurisdiction, the Fifth Circuit

       7   remarked that there was no antagonism or claim pending between

       8   the parties as of the reorganization and no facts or law

       9   deriving from the reorganization or the plan was necessary to

      10   the claim asserted by the debtor.

      11        However, in so ruling, Your Honor, the Fifth Circuit did

      12   reason that post-confirmation jurisdiction in the Bankruptcy

      13   Court continues to exist for matters pertaining to

      14   implementation and execution of the plan.       Requiring parties

      15   to seek Bankruptcy Court determination the claim is colorable

      16   before embarking on litigation that will impact

      17   indemnification rights and affect distributions to creditors

      18   is not an expansion of jurisdiction and fits well within the

      19   Craig reasoning.

      20        Unlike the credit card agreement dispute in Craig, Mr.

      21   Dondero and his entities have demonstrated tremendous

      22   antagonism towards the Debtor.      And while the Debtor's plan

      23   may be confirmed, further litigation has been threatened by

      24   Mr. Dondero.    It's in the pleadings.    That's one of the

      25   reasons Mr. Dondero says his plan is better.       It'll avoid




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       1   tremendous amount of litigation.

       2        After Craig, the Fifth Circuit again examined the

       3   bankruptcy court's post-confirmation jurisdiction in the

       4   Stoneridge case in 2005.     In that case, the Fifth Circuit

       5   ruled that a bankruptcy court has post-confirmation

       6   jurisdiction to resolve a dispute between two nondebtors that

       7   could trigger indemnification claims against a liquidating

       8   trust formed as a result of a confirmed plan.

       9        And lastly, as I mentioned Your Honor's decision before,

      10   the TXMS Real Estate case, I think just a couple of months

      11   ago, it stands for the proposition that post-confirmation

      12   jurisdiction exists for matters bearing on the implementation,

      13   interpretation, and execution of a plan.       In that case, Your

      14   Honor ruled that Your Honor had jurisdiction to resolve a

      15   post-confirmation dispute between a liquidating trust formed

      16   under a plan and a landlord, the result of which could

      17   significantly and adversely affect the value of the

      18   liquidating trust and monies available for unsecured

      19   creditors.

      20        And you have heard Mr. Seery testify that litigation will

      21   have an adverse effect on the ability to make distributions to

      22   creditors.

      23        So, Your Honor, under these authorities, the Court

      24   undoubtedly would have jurisdiction to act as the gatekeeper

      25   for the litigation.




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       1        There's also an independent basis for the gatekeeper

       2   provision, Your Honor, the Barton Doctrine, which the Court is

       3   very familiar from your opinion in the In re Ondova case in

       4   2017 and which provides that before a suit may be brought

       5   against a trustee, leave of Court is required.       In Ondova, the

       6   Court reviewed the history of the doctrine in connection with

       7   litigation brought by a highly-litigious debtor against a

       8   trustee and his professionals.      This Court noted that there

       9   are several important policies followed by the doctrine,

      10   including a concern for the overall integrity of the

      11   bankruptcy process and the threat of trustees being distracted

      12   from or intimidated from doing their jobs.       And Your Honor's

      13   language still:    For example, losers in the bankruptcy process

      14   might turn to other courts to try to become winners there by

      15   alleging the trustee did a negligent job.

      16        Your Honor, this is precisely what the Debtor is trying to

      17   prevent here, Mr. Dondero and his entities from putting the

      18   bad experience before Your Honor in this case behind it and

      19   going to try to find better luck in a more hospitable court.

      20        Your Honor, the Barton Doctrine originally only applied to

      21   receivers, and over the course of time has been extended to

      22   apply to various court-appointed fiduciaries, as we have cited

      23   in our materials:    trustees, debtors-in-possession, officers

      24   and directors, employees, and attorneys representing the

      25   debtor.




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       1        And I expect the Objectors to argue that there is a

       2   statutory exception to the Barton Doctrine under 28 U.S.C. 959

       3   and it does not apply to acts or transactions in carrying out

       4   business conducted with a property.      The exception, Your

       5   Honor, is very narrow and was meant to apply for things like

       6   slip-and-fall cases.     In fact, the Eleventh Circuit in the

       7   Carter v. Rodgers case, 220 F.3d 1249 in 2000, held that

       8   Section 11 -- 28 U.S.C. 959(a) does not apply to suits against

       9   trustees for administering or liquidating the bankruptcy

      10   estate.

      11        The Objectors also argue that the gatekeeper provision

      12   violates Stern v. Marshal.     However, as the Court acknowledged

      13   in Ondova, the Fifth Circuit in Villegas v. Schmidt has

      14   recognized that the Barton Doctrine remains viable post-Stern

      15   v. Marshal.    The Fifth Circuit reasoned that while Barton

      16   Doctrine is jurisdictional in that a court does not have

      17   jurisdiction of an action if preapproval has not been

      18   obtained, it does not implicate the extent of a bankruptcy

      19   court's jurisdiction to adjudicate the underlying claim,

      20   precisely the distinction we're making here.       The bankruptcy

      21   court would be the gatekeeper for deciding whether the claim

      22   passes through the gate, and then after will decide if it has

      23   jurisdiction to rule on the underlying claim.

      24        And this is important especially in a case like this, Your

      25   Honor, where Your Honor has had extensive experience with the




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       1   parties and is in the best position to determine whether the

       2   claims are valid or attempted to be used as harassment.

       3        The Objectors will complain about the open-ended nature of

       4   the gatekeeper provision, whether it will or won't apply after

       5   the case is closed or a final decree is issued, and the unfair

       6   burden of their rights.

       7        Your Honor has a previous reported opinion where basically

       8   jurisdiction does extend after a case is closed or a final

       9   decree is entered, so that issue is a red herring.

      10        As Your Honor is well aware, it's a decade-long -- a

      11   decade of litigation against the Dondero-controlled entities

      12   that caused the Highland bankruptcy.      And the Court is very

      13   well aware of the litigation that occurred in Acis, very well

      14   aware of the litigation that's occurred here that I mentioned

      15   a few minutes ago.    Your Honor, it is not over, you'll be

      16   presiding over the contempt hearing.

      17        And if the Court needs yet another ground to approve the

      18   gatekeeper provision, the Debtor submits that the procedure is

      19   an appropriate sanction for Dondero's vexatious litigation

      20   activities.   We cited the In re Carroll case in the Fifth

      21   Circuit of 2017 that held that a bankruptcy court has the

      22   authority to enjoin a litigant from filing any pleading in any

      23   action without the prior authority from the bankruptcy court.

      24        And in affirming the decision of the bankruptcy court, the

      25   Fifth Circuit commented on the reasons the bankruptcy court




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       1   gave for its ruling.     After recounting the bad faith of

       2   appellants, the bankruptcy court determined that the Carrolls'

       3   true motives were to harass the trustee and thereby delay the

       4   proper administration of the estate, in the hope that they

       5   would be able to retain their assets or make pursuit of the

       6   assets so unappealing that the trustee would be compelled to

       7   settle on terms favorable to appellants.

       8        Sounds familiar, Your Honor.     The same can certainly be

       9   said about what Mr. Dondero is doing in this case.

      10        And to make a showing that a party is vexatious litigant,

      11   the Court must find that the party has a history of vexatious

      12   and harassing litigation, whether the party has a good faith

      13   -- the litigation or has filed it as a means to harass, the

      14   burden to the Court and other parties, and the adequacy of

      15   alternative sanctions.

      16        And as Your Honor is well aware from all the litigation,

      17   Your Honor is well, well able to make the finding required for

      18   the vexatious litigation finding.

      19        But here, we don't ask for the drastic sanction of

      20   enjoining from any further filings.      Rather, we just ask for a

      21   less-severe sanction, requiring Mr. Dondero and his entities

      22   to first make a showing that he has a colorable claim.

      23        The Fifth Circuit in Baum v. Blue Moon, 2007, did exactly

      24   that.   In Baum, the district court barred a vexatious litigant

      25   from initiating litigation without first obtaining the




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       1   approval of the district court.      Ultimately, the matter

       2   reached the Fifth Circuit after the district court had

       3   modified the pre-filing injunction to limit it to a certain

       4   case, and then broadened it again based upon continued bad

       5   faith conduct.

       6        On appeal, the Fifth Circuit, citing several prior cases,

       7   noted that a district court has the authority to impose a pre-

       8   filing injunction to defer vexatious, abusive, and harassing

       9   litigation.

      10        And for those reasons, Your Honor, the Debtor asks the

      11   Court to overrule any objections to the gatekeeper provision.

      12        Your Honor, I was just going to then go to the plan

      13   modification provisions, but I wanted to stop and see if you

      14   had any questions at this point.

      15              THE COURT:   I do not.    Let's give him a time

      16   estimate, Nate.    About how --

      17              THE CLERK:   Twenty.

      18              MR. POMERANTZ:   I have another five or six minutes, I

      19   think, based upon --

      20              THE COURT:   Okay.

      21              MR. POMERANTZ:   And then I'll be ready to turn it

      22   over to --

      23              THE COURT:   Okay.

      24              MR. POMERANTZ:   -- to Mr. Kharasch.

      25              THE COURT:   All right.    Yes.   You've got -- you've




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       1   done an hour and 33 minutes.     So you have about, I guess, 37

       2   minutes left.   Okay.   Go ahead.

       3             MR. POMERANTZ:    Thank you, Your Honor.

       4       I would like to address the modifications of the plan that

       5   were contained in our January 22nd plan and the additional

       6   changes filed on February 1, several of which I have referred.

       7       As a preliminary matter, Your Honor, under 1127(b), the

       8   Debtor can modify a plan at any time prior to confirmation if

       9   -- and not require resolicitation if there's no adverse change

     10    in the treatment of claim or interest of any equity holder.

     11        With that background, I won't go through the changes we

     12    made that I've already discussed, but I will point out a

     13    couple, Your Honor, that I would like to point out now.        We

     14    have modified the plan with respect to conditions of the

     15    effective date in Article 8.     First, a condition to the

     16    effective date will now be entry of a final order confirming a

     17    plan, as opposed just to entry of order.      And final order is

     18    defined as the exhaustion of all appeals.

     19        In addition, the ability to obtain directors and officers

     20    insurance coverage on terms acceptable to the Debtor, the

     21    Committee, the Claimant Trustee, the Claimant Trustee

     22    Oversight Board, and the Litigation Trustee is now a condition

     23    to the effective date.

     24        The Court heard testimony today and has experienced

     25    firsthand the litigiousness of Mr. Dondero and his related




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       1   entities.    And the Court heard testimony from Mr. Tauber and

       2   Aon that the D&O insurance will not be available post-

       3   effective date without assurances that the gatekeeper

       4   provision will be in effect for the duration of the policy and

       5   any run-off period.

       6        Mr. Tauber further testified that he expected the final

       7   terms from the insurance carrier to provide that if the

       8   confirmation order was reversed on appeal and the gatekeeper

       9   was removed, it would void -- it would either void the

      10   directors and officers coverage or it'd result in a Dondero

      11   exclusion.

      12        Mr. Dondero and his entities are no strangers to the

      13   appellate process, as Your Honor knows.       They appealed several

      14   of your orders, and continue the tack in this case, having

      15   appealed the Acis and the HarbourVest orders and the

      16   preliminary injunction.     It would not surprise the Debtor if

      17   Mr. Dondero and his entities appealed your confirmation order,

      18   if Your Honor decides to confirm the plan.

      19        The Debtor is confident that it will prevail on any appeal

      20   in the confirmation order, as we believe the Debtor has made a

      21   compelling case for confirmation.

      22        The Debtor also believes a compelling case exists that if

      23   the plan went effective without a stay pending appeal, that

      24   the appeal would be equitably moot, but we understand we are

      25   facing headwinds from the courts, bankruptcy court have




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       1   addressed that issue before.

       2        However, given the effect a reversal would have on the

       3   availability of insurance coverage, the Claimant Trustee, the

       4   Claimant Oversight Committee, and the Litigation Trustee are

       5   just not willing to take that risk.

       6        We are hopeful that Mr. Dondero and his entities will

       7   recognize that any appeal is futile and step aside and let the

       8   plan proceed and become effective.

       9        If Mr. Dondero and his related entities do appeal the

      10   confirmation order, preventing it from becoming final and

      11   preventing the effective date from the occurring, the Debtor

      12   intends to work closely with the Committee to ratchet down

      13   costs substantially and proceed to operate and monetize assets

      14   as appropriate until an order becomes final.

      15        None of these modifications adversely affect the treatment

      16   of claims or interests under the plan, Your Honor, and for

      17   those reasons, Your Honor, we request that the Court approve

      18   those modifications.

      19        And with that, I would like to turn the podium over to Mr.

      20   Kharasch to briefly address the remaining CLO objections.

      21              THE COURT:   All right.   Mr. Kharasch?

      22                CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      23              MR. KHARASCH:    Good afternoon, Your Honor.       I'll be

      24   as brief as possible.      I know we're under a deadline.

      25        As you've heard yesterday, you've heard before in other




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       1   proceedings, Your Honor, the CLO Objecting Parties, the so-

       2   called investors, do have rights under the CLO management

       3   agreements and indentures, including contractual rights to

       4   terminate the management agreements under certain

       5   circumstances.

       6        What they complain about today, Your Honor, is that the

       7   injunction language in the plan, including the language

       8   preventing actions to interfere with the implementation and

       9   consummation of the plan, is so broad and ambiguous that their

      10   rights are or may be improperly impacted, especially any

      11   rights to remove the manager for acts of malfeasance.

      12        But the Debtor is primarily relying, Your Honor, not so

      13   much on the plan injunctions but on the clear provisions of

      14   the January 9 order, to which Mr. Dondero consented and which

      15   provides that Mr. Dondero shall not cause any of his related

      16   entities to terminate any agreements with the Debtor.

      17        Yes, that is a broad provision, but it is very clear, and

      18   it does not even allow the CLO Objecting Parties to come to

      19   court under a gatekeeper-type provision.       But that is what Mr.

      20   Dondero consented to on behalf of himself and his related

      21   entities.

      22        Important to note, Your Honor, we are not here today to

      23   litigate who is and who is not a related entity.        That will be

      24   left for another day.     However, Your Honor, we have considered

      25   these issues, including last night and this morning, and we




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       1   are going to propose -- well, we will modify our plan through

       2   a provision in the confirmation order to provide the

       3   following:    Notwithstanding anything in the plan or the

       4   January 9 order, the CLO Objecting Parties will not be

       5   precluded from exercising their contractual or statutory

       6   rights in the CLOs based on negligence, malfeasance, or any

       7   wrongdoing, but before exercising such rights shall come to

       8   this Court to determine whether those rights are colorable and

       9   to also determine whether they are a related entity.          If the

      10   Court has jurisdiction, the Court can determine the underlying

      11   colorable rights or claims.

      12        This does not impact the separate settlement we have with

      13   CLO Holdco, Your Honor.

      14        We think that such modification addresses some of the

      15   concerns raised yesterday by the objecting parties by

      16   providing more clarity as to what the plan is doing and not

      17   doing with respect to the plan and the January 9 order, and we

      18   think it is also a fair resolution of some legitimate

      19   concerns.

      20        So, with that, Your Honor, we think that, with that

      21   clarification that we did not have to make but are willing to

      22   make, that this should fully satisfy the CLO Objecting Parties

      23   with regard to their objections to the injunction and the

      24   gatekeeper.

      25        Thank you, Your Honor.




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       1              THE COURT:    All right.   Mr. Clemente?

       2        CLOSING ARGUMENT ON BEHALF OF THE CREDITORS' COMMITTEE

       3              MR. CLEMENTE:    Yes, Your Honor.   And I actually am

       4   going to be brief.      Mr. Pomerantz's discussion, obviously, was

       5   very, very thorough, so I'm able to cut out a lot of stuff.

       6        Thank you, Your Honor.     Matt Clemente, Sidley Austin, on

       7   behalf of the Committee.

       8        The plan, Your Honor, meets the confirmation standards and

       9   should be confirmed.     Mr. Pomerantz covered a lot of ground,

      10   and I will endeavor not to repeat that, but there are a few

      11   points that I think the Committee wishes to emphasize.

      12        Your Honor, since I first appeared in front of you, I have

      13   maintained consistently that no plan can or should be

      14   confirmed without the consent of the Committee.       Your Honor,

      15   in her wisdom, understood this immediately, as it was obvious

      16   -- it was the obvious conclusion, given the makeup of the

      17   creditor body, the asset pool, and the impetus for the filing

      18   of the case.

      19        Unfortunately, not everyone came to this conclusion so

      20   easily, and it took much hard-fought negotiations as well as a

      21   defeated disclosure statement, among other things, and

      22   tireless dedication and commitment by each individual

      23   Committee member to drive for a value-maximizing plan that is

      24   in the best interests of its constituencies and for us to get

      25   to where we are today.




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       1          And where we are today, Your Honor, is at confirmation for

       2   a plan that the Committee unanimously supports, which was the

       3   inevitable outcome for this case from the very beginning.

       4          I've also said, Your Honor, that context is critical in

       5   this case.    It has been from the beginning, and it remains so

       6   now.    Mr. Draper, interestingly, began his comments yesterday

       7   by saying that even a serial killer is entitled to Miranda

       8   rights.    While I will admit that at times the rhetoric in this

       9   case has been heated, I have never certainly likened Mr.

      10   Dondero to a serial killer.     But the record shows, and Mr.

      11   Dondero's own words and actions show, that he is, in fact, a

      12   serial litigator who has no hesitation at all to take any

      13   position in an attempt to leverage an outcome that suits his

      14   self-interest.    And he has no hesitation at all to use his

      15   many tentacles in a similar fashion.

      16          That is a very important context in which the Court should

      17   view the remaining objections of the Dondero tentacles and

      18   weigh confirmation of the Debtor's plan.

      19          Against this context of a serial litigator, Your Honor, we

      20   have a plan supported by each member of the Official Committee

      21   of Unsecured Creditors, accepted by two classes of claims,

      22   Class 2 and Class 7, and holders of almost one hundred percent

      23   in amount of non-insider claims in Class 8.

      24          The parties that have voted against the plan are either

      25   employees who are not receiving distributions under the plan




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       1   or are insiders or parties related to Mr. Dondero.

       2        The overwhelming number and amount of creditors who are

       3   receiving distributions under this plan, therefore, have

       4   accepted the plan.     The true creditors and economic parties in

       5   interest have spoken, they have spoken loudly, and they have

       6   spoken in favor of confirming the plan.

       7        Your Honor, I'm not going to address the technical

       8   requirements, as Mr. Pomerantz did that.       So I'm going to skip

       9   over my remarks in that regard, except I do want to emphasize

      10   the remarks regarding the gatekeeper, exculpation, and

      11   injunction provisions as they're of critical importance to the

      12   plan.

      13        The testimony has shown and the proceedings of this case

      14   has shown, again, Mr. Dondero is a serial litigator with a

      15   stated goal of causing destruction and delay through

      16   litigation.

      17        The testimony has further shown that none of the

      18   independent board members would have signed onto the role

      19   without the gatekeeper and injunction provisions and the

      20   indemnity from the Debtor.

      21        Therefore, it follows that such provisions are necessary

      22   to entice parties to serve in the Claimant Trustee and other

      23   roles under the plan, which, as I remarked in my opening

      24   comments, are integral to providing the structure that the

      25   creditors believe is necessary to unlocking the value and




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       1   unlocking themselves from the Dondero web.

       2        Regarding the exculpation and injunction provisions

       3   specifically, Your Honor, the Court will recall that the

       4   Committee raised objections to them in connection with the

       5   first disclosure statement hearing.      In response, the Debtor

       6   narrowed the provisions, and the Committee believes they

       7   comply with the Fifth Circuit precedent, as Mr. Pomerantz ably

       8   walked Your Honor through.

       9        And to be clear, Your Honor, not only does the Committee

      10   believe the exculpation and injunction provisions comply with

      11   Fifth Circuit law, the Committee does not believe the estate

      12   is harmed by such provisions, as the Committee does not

      13   believe there are any cognizable claims that could or should

      14   be raised that would otherwise be affected by the exculpation

      15   or injunction, and, frankly, with respect to the release that

      16   Mr. Pomerantz walked Your Honor through with respect to the

      17   directors and the officers.

      18        Regarding the gatekeeper, Your Honor, Your Honor

      19   presciently approved it in her January 9th order, and the

      20   developments since then only serve as further justification

      21   for including it in the plan and confirmation order.          Mr.

      22   Dondero is a serial and vexatious litigator, and the

      23   instruments put in place under the plan to maximize value for

      24   the creditors and to oversee that value-maximizing process

      25   must be protected, and the gatekeeper function serves that




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       1   protection while also, importantly, as Mr. Pomerantz pointed

       2   out, providing Mr. Dondero with a forum to advance any

       3   legitimate claims he and his tentacles may have.

       4        In short, Your Honor, the gatekeeper provision is

       5   necessary to the implementation to the plan, is fair under the

       6   circumstances of the case, and is therefore within this

       7   Court's authority, and it is appropriate to approve.

       8        Your Honor, in sum, it has been a long road to get here

       9   today, but we are finally here.       And we are here, Your Honor,

      10   I believe in large part as a result of the tireless efforts of

      11   the individual members of my Committee, and for that I thank

      12   them.

      13        The Committee fully supports and unanimously supports

      14   confirmation of the plan.       As demonstrated by the evidence,

      15   the plan meets all the requirements of the Bankruptcy Code.

      16   The Committee believes the plan is in the best interests of

      17   its constituencies.     And therefore the Committee, along with

      18   two classes of creditors and the overwhelming amount of

      19   creditors in terms of dollars, urge you to confirm the plan.

      20        That's all I have, Your Honor, but I'm happy to answer any

      21   questions you may have for me.

      22              THE COURT:   Okay.    Not at this time.

      23        Nate, how much time --

      24        (Clerk advises.)

      25              THE COURT:   Twenty-five minutes remaining?        All




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       1   right.    Just so you know, you've got a collective Debtor's

       2   counsel/Committee's counsel 25 minutes remaining for any

       3   rebuttal, if you choose to make it.

       4        Let's take a five-minute break, and then we'll hear the

       5   Objectors' closing arguments.        Okay.

       6              THE CLERK:    All rise.

       7        (A recess ensued from 2:00 p.m. until 2:06 p.m.)

       8              THE COURT:    All right.    Please be seated.   We're

       9   going back on the record in Highland.        We're ready to hear the

      10   Objectors' closing arguments.        Who wants to go first?

      11              MR. DRAPER:    Your Honor, this -- this is Douglas

      12   Draper.   I get the joy of going first.

      13              THE COURT:    Okay.

      14    CLOSING ARGUMENT ON BEHALF OF THE GET GOOD AND DUGABOY TRUSTS

      15              MR. DRAPER:    We've heard a great deal of testimony

      16   about the Debtor's belief that the circumstances in this case

      17   warrant an exception to existing Fifth Circuit case law, the

      18   Bankruptcy Code, and Court's post-confirmation jurisdiction.

      19        I would not be standing here today objecting to the plan

      20   if the Debtor didn't attempt to extend, move past and beyond

      21   the Barton Doctrine, move beyond 1141, move beyond Pacific

      22   Lumber.   In fact, I think I heard an argument that Pacific

      23   Lumber is not applicable and this Court should disregard Fifth

      24   Circuit case law.

      25        Let's start with the exculpation provision.       And the focus




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       1   of this case has been, and what we've heard over the last few

       2   days, is about the independent directors.       I understand there

       3   was an order entered earlier, the order stands, and the order

       4   is applicable in this case.     It cuts off, however, when we

       5   have a Reorganized Debtor, because these independent directors

       6   are no longer independent directors.      It cuts off when we have

       7   a new general partner.

       8        And so the protections that were afforded by that order do

       9   not need to be afforded to the new officers and new directors

      10   of the new general partner.     And in fact, the protections that

      11   they're entitled to are completely different than the

      12   protections that were entitled -- that are covered by the

      13   order that the Court has looked at.

      14        Let's first focus on, however, the exculpation provision.

      15   And I wanted to ask the Court to look at the exculpated

      16   parties.   Have to be very careful and very interest -- and

      17   focus solely on the independent directors.       But if you look at

      18   the parties covered by exculpation provision, it includes the

      19   professionals retained by the Debtor.      My reading of Pacific

      20   Lumber is that neither the Creditors' Committee counsel nor

      21   the Debtor can be covered by an exculpation provision.         This

      22   in and of itself makes the plan non-confirmable.       This

      23   exculpation provision is unwarranted and unnecessary.

      24        Two, --

      25              THE COURT:   Well, let's drill down on that.




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       1              MR. DRAPER:    -- we have --

       2              THE COURT:    Let's drill down on that.    Mr. Pomerantz

       3   says that this wasn't what they considered one way or another

       4   by Pacific Lumber.      Debtor, debtor professionals.    Okay?     Do

       5   you disagree with that?

       6              MR. DRAPER:    I disagree with that.    Pacific Lumber

       7   said you could only have releases and exculpations for the

       8   Creditors' Committee members.        And the rationale behind that

       9   was that those people volunteered to be part and parcel of the

      10   bankruptcy process, that those parties did not get paid.

      11   Here, we have two professionals who both volunteered and are

      12   being paid, and are not entitled to an exculpation under

      13   Pacific Lumber.    They're not entitled to a --

      14              THE COURT:    Okay.   So you say Pacific --

      15              MR. DRAPER:    -- release.    Now, ultimately, they --

      16              THE COURT:    -- Pacific Lumber categorically rejected

      17   all exculpations except to Creditors' Committee and its

      18   members.   That's your --

      19              MR. DRAPER:    I agree.    That's --

      20              THE COURT:    -- interpretation of Pacific Lumber?

      21              MR. DRAPER:    Yes.

      22              THE COURT:    Okay.   All right.   So you just absolutely

      23   disagree, one by one, with every one of the arguments, that it

      24   was really -- the only thing before the Fifth Circuit was plan

      25   sponsors, okay?    A plan proponent that I think was like a




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       1   competitor previously of the debtor, and I think a large

       2   creditor or secured creditor.      I think those were the two plan

       3   proponents.

       4        So you disagree -- I'm going to, obviously, go back and

       5   line-by-line pour through Pacific Lumber, but you disagree

       6   with Mr. Pomerantz's notion that, look, it was really a page

       7   and a half or two of a multipage opinion where the Fifth

       8   Circuit said, no, I don't think 524(e) is authority to give

       9   exculpation from postpetition liability for negligence as to

      10   these two plan sponsors.     And I guess it was also -- I don't

      11   know.   They say, Pachulski's briefing says it was really only

      12   looking at these two plan sponsors and the Committee and its

      13   members on appeal, you know, going through the briefing, and

      14   in such, you can see that these were all that was presented

      15   and addressed by the Fifth Circuit.      You disagree with that?

      16              MR. DRAPER:    Look, I know the facts of Pacific Lumber

      17   and they -- I know what the posture of the case was.          However,

      18   the literal language by the opinion in it, it transcends just

      19   a dispute in the case.     And I think the U.S. Trustee's

      20   position that this exculpation provision is correct as a

      21   matter of law support -- is further evidence of the fact that

      22   the U.S. Trustee, as watchdog of this process, and Pacific

      23   Lumber say this cannot be done, period, end of story.

      24              THE COURT:    Okay.   So you, at bottom, just totally

      25   disagree with Mr. Pomerantz?      You say Pacific Lumber is




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       1   actually a very broad holding, and I guess, if such, there's a

       2   conflict among the Circuits, right?

       3              MR. DRAPER:    Well, that's okay.

       4              THE COURT:    So, --

       5              MR. DRAPER:    I mean, quite frankly, Pacific Lumber is

       6   binding on you.

       7              THE COURT:    Understood.

       8              MR. DRAPER:    There may be a conflict in the Circuits,

       9   and ultimately the Supreme Court may make a decision and

      10   decide who's right and who's wrong.

      11        But for purposes of today and for purposes of this

      12   exculpation provision and for purposes of this confirmation,

      13   Pacific Lumber is the applicable law.

      14              THE COURT:    Okay.    Well, again, this is a hugely

      15   important issue, although in many ways I don't understand why

      16   it is, because we're just talking about postpetition acts and

      17   negligence, okay?    You know, many might say it's much ado

      18   about nothing, but it's front and center of your objection.

      19   So I guess I'm just thinking through, if the Fifth Circuit was

      20   presented these exact facts and was presented with the

      21   argument, you know, the Blixseth case says 524(e) has nothing

      22   to do with exculpation because exculpation is a postpetition

      23   concept, and it's just talking about standard liability --

      24   these people aren't going to be liable for negligence; they

      25   can be liable for anything and everything else -- if presented




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       1   with that Blixseth case, you know, there are several arguments

       2   that Mr. Pomerantz has made why, if you accept that 524(e)

       3   might not apply here, let's look at the reasoning, the little

       4   bit of reasoning we had of Pacific Lumber, that it was really

       5   a policy rationale, right?        These independent fiduciaries,

       6   strangers to the company and case, they'd never want to do

       7   this if they knew they were vulnerable for getting sued for

       8   negligence.    Mr. Pomerantz's argument is that these

       9   independent board members are exactly analogous to a

      10   Committee, more than prepetition officers and directors.          What

      11   do you have to say about that policy argument?

      12               MR. DRAPER:    Well, I think there's a huge distinction

      13   between the members of a Creditors' Committee who are

      14   volunteers and are not paid versus a paid independent

      15   director.    And more importantly, I think there's a huge

      16   difference between a member of a Creditors' Committee who's

      17   not paid and counsel for a Debtor and counsel for a Creditors'

      18   Committee.

      19               THE COURT:    Okay.

      20               MR. DRAPER:    Look, you have -- you've --

      21               THE COURT:    So, at bottom, it was all about

      22   compensation to the Fifth Circuit?

      23               MR. DRAPER:    Well, no.   The Fifth Circuit policy

      24   decision was we want to protect a party who wants to serve and

      25   do their civic duty to serve on a Creditors' Committee for no




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       1   compensation.    I agree with that.      I think it's a laudable

       2   policy decision.    I think it makes sense.

       3        However, the Fifth Circuit in its language basically said,

       4   nobody else gets it.      It didn't say, look, you know, if there

       5   are circumstances that are different, we may look at it

       6   differently.    The language is absolute in the opinion.       And

       7   that's what I think is binding and I think that's what the

       8   case stands for.

       9        And look, just so the Court is very clear, when Pachulski

      10   files its fee application and the Court grants the fee

      11   application, any claim against them is res judicata.          So, in

      12   fact, they do have -- they do have protection.        They do have

      13   the ability to get out from under.        The Court -- they're just

      14   not -- they just can't get out from under through an

      15   exculpation provision.      And the same goes for Mr. Clemente and

      16   his firm.

      17               THE COURT:    Which, --

      18               MR. DRAPER:    And the same goes for DSI.

      19               THE COURT:    Which, by the way, that's one reason I

      20   think sometimes this is much ado about nothing.         It goes both

      21   ways.   The Debtor professionals, the Committee professionals,

      22   estate professionals, they're going to get cleared on the day

      23   any fee app is approved, right?        I mean, there's Fifth Circuit

      24   law that says --

      25               MR. DRAPER:    I -- I --




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       1              THE COURT:    -- says that's res judicata as to any

       2   future claims.

       3        But I guess I'm really trying to understand, you know, at

       4   bottom, I feel like the Fifth Circuit was making a holding

       5   based on policy more than any directly applicable Code

       6   provision.

       7        I mean, it's been said, for example, that Committee

       8   members, they're entitled to exculpation because of, what,

       9   1103, some people argue, 1103, which subsection, (c)?           That's

      10   been quoted as giving, quote, qualified immunity to

      11   Committees.    But it doesn't really say that, right?         It's just

      12   something you infer.

      13              MR. DRAPER:    No.   Look, what I think, if you really

      14   want to put the two concepts together, I think what the Fifth

      15   Circuit, when they told lawyers and professionals that you

      16   can't get an exculpation, was very mindful of the fact that

      17   you can get released once your fee app is approved.           So, as a

      18   policy, they didn't need to do it in a exculpation provision.

      19   There was another methodology in which it could be done.

      20              THE COURT:    Uh-huh.

      21              MR. DRAPER:    And so that's -- you have to look at it

      22   as holistic and not just focus on the exculpation provision.

      23   Because, in fact, they recognize and they -- I'm sure they

      24   knew their existing case law on res judicata, and that's why

      25   they read it out.




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       1        So, honestly, there's no reason for Pachulski to be in

       2   here.   There's no reason for Mr. Clemente to be in here.

       3   There's no reason for the professionals employed by the Debtor

       4   to be in here.    They have an exit not by virtue of the plan.

       5              THE COURT:    But so then it boils down to the

       6   independent directors and Strand post January 9th?

       7              MR. DRAPER:    It boils down somewhat to them, but

       8   quite frankly, there are two parts to this.       One is you have

       9   an order that's in place.      I am not asking the Court to

      10   overturn the order.      And quite frankly, this provision could

      11   have been written to the effect that the order that was in

      12   place on -- that's been presented to the Court is applicable

      13   and applied.

      14        However, let's parse that down.     Let's look at Mr. Seery.

      15   The order that's in place solely protects the independent

      16   directors acting in their capacities as independent directors.

      17   If somebody's acting as -- and if you want to liken it to a

      18   trustee, their protection is afforded by the Barton Doctrine,

      19   and that's how the protection arises.

      20        What's going on here is they're extending the provisions,

      21   first of all, of the Court's order, and number two, of the

      22   Barton Doctrine, which are -- which cannot be -- which should

      23   not be extended.    The law limits what protections you have and

      24   what protections you don't have.      And we, as lawyers -- look,

      25   I'll give you the best example.     Think of all the times you




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       1   had somebody write in the concept of superpriority in a cash

       2   collateral order.    And how many times have you had a lawyer

       3   rewrite the concept of the issue as to diminution in value?

       4   The Code says diminution in value, and quite frankly, a cash

       5   collateral order should just say if, to the extent there's

       6   diminution in value, just apply the Code section.       It's

       7   written there.   Smart people put it in, and Congress approved

       8   it.   And once you start getting beyond that, those things

       9   should be limited.

     10          And what we have are lawyers trying to extend out by

     11    definitions things that the Code limits by its reach.         That

     12    goes for post-confirmation jurisdiction.      That goes for the

     13    injunction.    That goes for the so-called gatekeeper provision.

     14          And so, again, I would not be here if, in fact, they had

     15    said, we have an injunction to the full extent allowed by the

     16    Bankruptcy Code and Pacific Lumber.     We have an exculpation

     17    provision that's allowed by virtue of the Court's order.         We

     18    have the full extent and full reach of the Barton Doctrine.

     19    Those are legitimate.    Once you start expanding upon that,

     20    you're reaching into matters that are not authorized and not

     21    allowed.

     22          And then you get into 105 territory, which is always very

     23    dangerous.    And that's really what's going on here.     And

     24    that's the tenor of my argument and what I'm trying to say.

     25    The Code gives protections.    It is not for us to extend the




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       1   protections.    It's not for us to enlarge them, even under a,

       2   gee, the other party's litigious.

       3        And so that's -- let's take Craig's Store.       Attempted to

       4   limit its reach.    Craig's Store says once you have a confirmed

       5   plan, any dispute between the parties, for -- let's take an

       6   executory contract.     If there's a breach of the executory

       7   contract, that's a matter to be handled aft... by another

       8   court.    It's not a matter to be handled by this Court.       This

       9   Court lets the parties out.

      10        And in this case, it's even worse, because you basically

      11   have a new general partner coming in, you have an assumption

      12   of various executory contracts, and you have a -- Strand is no

      13   longer present.

      14        If you adopted Mr. Seery's argument, anybody who appeals a

      15   decision, questions what he does or how he does it, is a

      16   vexatious litigator.     That's not the case.    And the fact that

      17   we are appealing a decision is a right that we have.          It

      18   shouldn't be limited, and it shouldn't be held against us.

      19   Courts can rule against us.     That's fine.

      20        And so that's really what the focus is here and that's why

      21   I gave the opening that I had.      We are willing to be bound by

      22   applicable law.    And quite frankly, the concept that the

      23   exigencies of a case allow a court to change what applicable

      24   law is is problematic.     I gave the criminal example as a

      25   reason.   And the reason was that, in certain instances, the




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       1   application of law may allow a criminal to go free.           It's a

       2   problem with our system and how we work, but that's what the

       3   law does, and it is absolute in its application.

       4        Let me address the so-called gatekeeper provision.          The

       5   gatekeeper provision, in a certain sense, is recognized in the

       6   Barton Doctrine.    It's jurisdictional, and it says, to the

       7   extent you're going to litigate with somebody who served

       8   during the bankruptcy, who was a trustee, then you have to

       9   come to the bankruptcy court and pass through a gate.          It

      10   doesn't say you have to pass through a gate for a reorganized

      11   debtor who does something after a plan is confirmed and going

      12   forward.   And so that's -- there's a distinction.

      13        And if you look at Judge Summerhays' decision, which I

      14   will be happy to send to the Court, in WRT involving -- it's

      15   kind of (indecipherable) and Mr. Pauker, where, in that case,

      16   the trustee, the litigation trustee, spent more litigating

      17   than it had in recoveries, and Baker Hughes filed suit.             Judge

      18   Summerhays said, look, the Barton Doctrine only applies to a

      19   certain extent.    It is limited once you get into post-

      20   confirmation matters and related-to jurisdiction.

      21        And so, again, the Barton Doctrine is what it stands for.

      22   We agree with it, we recognize it, and it should be applied.

      23   The Barton Doctrine, however, should not be extended, should

      24   not go past its reach, and should not go past the grant of

      25   jurisdiction for this Court.




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       1        And so you have in here, though they have -- they have

       2   tried to hide it in a limited fashion, this gatekeeper

       3   provision.    The gatekeeper provision, as currently written,

       4   covers post-confirmation claims that somebody has to come

       5   before this Court to the extent there's a breach of a

       6   contract.    That's not proper, and it's not covered by your

       7   post-confirmation jurisdiction.      To the extent there's an

       8   interpretation of an existing contract and an interpretation

       9   of the order, you do have authority, and I don't question

      10   that.

      11               THE COURT:    But address Mr. Pomerantz's statement

      12   that there's a difference between saying you have to go to the

      13   bankruptcy court and make an argument, we have a colorable

      14   claim that we would like to pursue, and having that

      15   jurisdictional step required.      There's a difference between

      16   that and the bankruptcy court adjudicating the claim.

      17               MR. DRAPER:    Well, there are two parts to that.

      18   Number one is there's an injunction in place from an action

      19   taken post-confirmation against property of the estate.         We

      20   all agree at that, correct?      And we believe that the

      21   injunction applies to post-confirmation action against

      22   property of the pre-confirmation estate.       We all agree to

      23   that.

      24        However, if in fact there's a breach of a contract

      25   postpetition that the parties have a dispute about, that




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       1   contract is now no longer under your purview once the contract

       2   has been assumed.    And so they shouldn't have to make a

       3   colorable claim to you that a breach of the contract has

       4   occurred.    That should be the determining factor for another

       5   court.

       6        That's, in essence, what Craig's Store says.       Your

       7   jurisdiction and the jurisdiction of a bankruptcy court is

       8   limited.    It's limited by Stern vs. Marshall.      It's limited by

       9   your ability to render findings of fact and conclusions of law

      10   versus render a final decision.        That decision has been made

      11   not by us, it's been made by Congress and it's been made by

      12   the United States Constitution.

      13               THE COURT:    All right.   And I think we all agree with

      14   you regarding the holding of Craig's Stores and some of the

      15   other post-confirmation bankruptcy subject matter jurisdiction

      16   holdings.    But Mr. Pomerantz is arguing that this gatekeeping

      17   function is warranted by, among other things, you know, there

      18   was a district court holding, Baum v. Blue Moon, or a Fifth

      19   Circuit case, that upheld a district court having the ability

      20   to impose pre-filing injunctions in the context of a vexatious

      21   litigator.    So, you know, that's a strong analogy he makes to

      22   what's sought here.       What is your response to that?

      23               MR. DRAPER:    My response to that is a district court

      24   can do that.    A district court has jurisdiction to make that

      25   decision.    And quite frankly, a district court can sanction a




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       1   vexatious litigator under Rule 11.

       2          So, in fact -- again, you have to bifurcate your power

       3   versus the power that a district court has.       And that

       4   gatekeeper provision is allowed by a district court because

       5   they had authority over the case.      You may not have authority

       6   over being the gatekeeper for a post-confirmation matter that

       7   you had no jurisdiction over to start with.

       8               THE COURT:    Okay.

       9               MR. DRAPER:    That, that's the distinction between

      10   here.    That's -- what's going on here is they are -- they are

      11   mashing together a whole load of concepts under the vexatious

      12   litigator and the anti-Dondero function that fundamentally

      13   abrogate the distinction between what your jurisdiction is

      14   pre-confirmation versus your jurisdiction post-confirmation.

      15   And that --

      16               THE COURT:    Do you think --

      17               MR. DRAPER:    -- is sacrosanct.

      18               THE COURT:    Do you think Judge Lynn got it wrong in

      19   Pilgrim's Pride?    Do you think Judge Houser got it wrong in

      20   CHC?    Or do you think this situation is different?

      21               MR. DRAPER:    There are two parts to that.   I have

      22   told Judge Lynn, since I have been working with him, that I

      23   think Pilgrim's Pride is wrongfully decided.       However, having

      24   said that, Pilgrim's Pride and those cases dealt with claims

      25   against the -- the channeling injunction affected actions




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       1   during the bankruptcy.     It did not serve as a post-

       2   jurisdictional grant of jurisdiction to the bankruptcy court.

       3   It did not pose as an ability -- as a limitation on a post-

       4   confirmation litigator or a post-effective date litigator to

       5   address a wrong done to them by an independent director of a

       6   general partner.

       7        In a sense, Judge Lynn's determination, and Judge Houser,

       8   is consistent somewhat with the Barton Doctrine.        Now, do I

       9   agree that they're right?     No.   But I understand the decision

      10   and I understand the context in which it was rendered and I

      11   don't have a huge problem with it.

      12        So, again, let's parse what we're trying to do here.

      13   Number one, we are -- we have to bifurcate post-confirmation

      14   jurisdiction or post-effective date jurisdiction and what you

      15   can do as a post-effective date arbiter versus what you could

      16   do pre-effective date and pre-effective date claims.          And

      17   again, that's the problem with what's written here.           It is

      18   designed one hundred percent to expand your post-effective

      19   date jurisdiction through both the gatekeeper provision and

      20   the jurisdictional grant that's here from your pre-effective

      21   date capability, your pre-effective date jurisdiction, and

      22   your pre-effective date ability to either curb a claim or not

      23   to curb a claim.    And that, that's the issue.

      24        And again, let's start talking about the independent

      25   directors.    I recognize, again, that there's an order there.




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       1   But if Mr. Seery -- let's take Mr. Seery -- is acting as a

       2   director of Strand but is also an accountant for the Debtor

       3   and makes a mistake, he would be sued in his capacity as the

       4   accountant for the Debtor, not as an independent director of

       5   Strand.    That distinction needs to be made.

       6        What we are doing here under this plan, and what's been

       7   argued by Mr. Pomerantz, is too broad a brush.       It needs to be

       8   cut back.    The Court needs to take a very hard look at what's

       9   being presented here.

      10        And again, the Court's order is very clear.       And this is

      11   binding.    I recognize that.   But the protection they got was

      12   serving as an independent director.      The protection they

      13   didn't get was -- let's take Mr. Seery, if Mr. Seery was

      14   serving as an accountant and blew a tax return.        Those are

      15   distinctions that warrant analysis and warrant looking at

      16   here.   And again, it is too broad a brush that's touted here,

      17   and that is why this plan on its face is not confirmable with

      18   respect to both the post-confirmation jurisdiction, the

      19   gatekeeper provision, the exculpation provisions.

      20        And so let me address a few other things, just to address

      21   them.   Number one, the argument has been made with respect to

      22   the creditors and the resolicitation issue and that creditors

      23   could have come in looking, seen, followed the case, and

      24   basically calculated and made the same calculation that the

      25   Debtor made when they filed this and put forth the new plan




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       1   analysis versus liquidation analysis.      And then they've also

       2   made the argument, well, nobody came and complained.          Well,

       3   two parts to that.

       4        Number one, as you know, a disclosure statement needs to

       5   be on its face and should not require a creditor to go back in

       6   and monitor the record -- and quite frankly, in this record,

       7   there are thousands of pages -- and do the calculation

       8   himself.    This was incumbent upon the Debtor to possibly

       9   resolicit when these material changes took place.

      10        Number two, the recalculation has not been subject to the

      11   entire creditor body seeing it.      And anybody who wanted to

      12   call them would have had to have seen the document they filed

      13   on February 1st and made a telephone call basically

      14   contemporaneous with seeing it.

      15        Those are two things.     The argument that they didn't call

      16   me is just nonsensical.     There's nobody -- you, you are

      17   sitting here -- and I've had a number of battles over the

      18   years with Judge (indecipherable), who was -- who -- and her

      19   view was, I'm here to protect the little guy who's not --

      20   didn't hire counsel, who's not represented by Mr. Clemente and

      21   his huge clients who have voted in favor of the plan.         It's

      22   the little person, i.e., the employees who would vote against

      23   a plan that they so -- so desperately tried to get out from

      24   under.

      25              THE COURT:   Well, --




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       1               MR. DRAPER:    It's really a function --

       2               THE COURT:    -- Mr. Pomerantz argues it's not as

       3   though there was a materially adverse change in treatment; it

       4   was the disbursement estimate.      And doesn't every Chapter 11

       5   plan -- most Chapter 11 plans, not every -- they make an

       6   estimate.    I mean, and it's, frankly, it's very often a big

       7   range of recovery, right, a big range of recovery, because we

       8   don't know what the allowed claims are going to compute to at

       9   the end of the day.       There's obviously liquidation of assets.

      10   We don't know.    Isn't this sort of like every -- not, again,

      11   not every other plan, but most other plans -- where there's a

      12   big range of possible estimated distributions?         I mean, this

      13   wasn't a change in treatment, right?

      14               MR. DRAPER:    Well, let me address that.    There are

      15   two parts to that.       Most plans I see that contain some sort of

      16   analysis have a range.      This one doesn't have a range.     What

      17   they've done is they've buried in a footnote or assumption

      18   that these numbers may change.      So had they said, look, your

      19   recovery can go from 60 cents to 85 cents, God bless, they

      20   probably would have been right.

      21        Number two, which is more problematic to me, to be honest

      22   with you, is the fact that, number one, the operating expenses

      23   have increased over a hundred percent.       And number two, the

      24   Debtor has made a determination post-disclosure statement and

      25   pre-hearing that they're going to change their model of




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       1   business.

       2        The original disclosure statement said we're not going to

       3   get into the managing CLO part of the business and we're going

       4   to let these contracts go.     However, at some point along the

       5   way, they made a change.     I don't know to this day, because I

       6   was never furnished the backup to the expense side.           I

       7   understand what they said why they didn't give me the asset

       8   side, but the expense side, they should have given me, and I

       9   did ask for.

      10        But, you know, what we have now is a more fundamental

      11   problem with the execution of the plan and the expectation

      12   that creditors -- what they're going to get, because, in fact,

      13   the expense items have doubled.

      14        I think creditors were entitled to know that, rather than

      15   it having been sprung upon everybody, when I got it the day

      16   before a deposition.     And so those are things that I think

      17   warranted a change in solicitation.      Now, the result may have

      18   been the same.    I don't know.    More people may have voted

      19   against the plan.    More people may have opted in from Class 8

      20   to Class 7, I mean, based upon that information.        That

      21   information was not provided to them.

      22        And so I look at two -- three things.      One is a range

      23   could have been given, and they probably would have been a

      24   whole lot better off.     Two, you have a material change in

      25   expenses.    And three, you have a material change in business




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       1   model.   Three things that occurred between November and this

       2   confirmation hearing.     Three things that were not known by the

       3   creditor body and not told to them.

       4              THE COURT:    Mr. Draper, I --

       5              MR. DRAPER:    Now, it may have been told --

       6              THE COURT:    I don't want to belabor this any more

       7   than I think we need to, but I've got a Creditors' Committee

       8   with very sophisticated professionals, very sophisticated

       9   members.   They're fiduciaries to this constituency.      You know,

     10    you mentioned the little guy.       I'm not quite sure who is the

     11    little guy in this case.        I think it's a case of all big guys.

     12    But, I mean, they're fine with what's happened here.

     13    Meanwhile, you -- I mean, clarify your standing here for

     14    Dugaboy and Get Good.     I mean, --

     15               MR. DRAPER:    I have --

     16               THE COURT:    -- I know you have standing.    Mr.

     17    Pomerantz did not say you don't have standing.        But in

     18    pointing out the economic interests here, I think he said your

     19    clients only have asserted a postpetition administrative

     20    expense.   Is that correct?

     21               MR. DRAPER:    No.    I have a post -- I have an -- I

     22    have a claim that's been objected to.       I don't think my

     23    economic --

     24               THE COURT:    A claim of what amount?

     25               MR. DRAPER:    I think it's $10 million.    But Mr.




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       1   Pomerantz is right, it requires a looking through the --

       2   through the entity that I had a loan relationship with.

       3        I recognize all of those things.      I don't think that's

       4   relevant to whether my argument is correct or incorrect.          I

       5   have standing to do it.     I don't think whether my claim is 50

       6   cents or $50 million should change the Court's view of whether

       7   the claim is good or bad.

       8              THE COURT:    Well, I do want to understand, though.

       9   Okay.   So you have not asserted an administrative expense,

      10   correct?

      11              MR. DRAPER:    No.    There's been an administrative

      12   expense that's been asserted, --

      13              THE COURT:    For what?

      14              MR. DRAPER:    -- but that --

      15              THE COURT:    For what?

      16              MR. DRAPER:    I don't have the number in front of me,

      17   Your Honor.    I don't -- I don't have those numbers --

      18              THE COURT:    Okay.   Well, then, --

      19              MR. DRAPER:    -- in front of me.   I have asserted --

      20              THE COURT:    -- what is the concept?    What is the

      21   basis for it?

      22              MR. DRAPER:    It deals with -- Mr. Pomerantz is

      23   absolutely right as to how he's articulated it.

      24              THE COURT:    I can't remember what he said.

      25              MR. DRAPER:    It deals with -- it deals with a




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       1   transaction that's unrelated to the Debtor that deals with

       2   Multi-Strat.    I agree with that.

       3              THE COURT:    Okay.   So I remember him saying piercing

       4   the corporate veil.      Your trusts -- both of them, one of them,

       5   I don't know -- engaged in a transaction with Multi-Strat that

       6   you say --

       7              MR. DRAPER:    No, that --

       8              THE COURT:    -- gave -- okay.    Well, you say Multi-

       9   Strat is liable and the Debtor is also liable?

      10              MR. DRAPER:    No.    Let me make two things.   The

      11   administrative claim deals with a Multi-Strat transaction that

      12   took place during the bankruptcy.       My unsecured claim deals

      13   with a transaction that took place prior to the bankruptcy,

      14   where we lent money to another entity that then funneled money

      15   out into the Debtor.     We're -- our contention is that the

      16   Debtor is liable for that loan.

      17              THE COURT:    All right.   So both the administrative

      18   expense as well as the prepetition claim require veil-piercing

      19   to establish liability of the Debtor?

      20              MR. DRAPER:    Or single business enterprise.      I don't

      21   necessarily have to veil-pierce.

      22              THE COURT:    Okay.   I'm not even sure that single

      23   business enterprise is completely available anymore in Texas,

      24   by the Texas legislature doing different things, assuming

      25   Texas law applies.      I don't know, maybe Delaware does.       But I




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       1   -- sorry.    Just let me let that sink in a little bit.        You're

       2   -- okay.    Okay.   Let me let it --

       3               MR. DRAPER:    Your Honor, I --

       4               THE COURT:    -- sink in a little bit.

       5               MR. DRAPER:    Okay.

       6               THE COURT:    These trusts -- of which Mr. Dondero is

       7   the beneficiary ultimately, right?

       8               MR. DRAPER:    Yes.    Well, and to --

       9               THE COURT:    So, your --

      10               MR. DRAPER:    Again, I have not gone up --

      11               THE COURT:    The beneficiary of your client --

      12               MR. DRAPER:    Mr. Dondero is --

      13               THE COURT:    The beneficiary of your client is

      14   ultimately hoping to succeed on the administrative expense and

      15   the claim on the basis that you should disregard the

      16   separateness of Highland and these other entities?

      17               MR. DRAPER:    Well, let's take the --

      18               THE COURT:    When he's resisted that --

      19               MR. DRAPER:    -- unsecured claim.       The --

      20               THE COURT:    -- in multiple pieces of litigation?

      21   Right?    I'm sorry.     I'm just trying to let this sink in.

      22   Okay.    If you could elaborate.      I'm sorry.     I'm talking too

      23   much.    You answer me.

      24               MR. DRAPER:    Okay.   What we are saying is that, in

      25   essence, the party we lent the money to was a conduit for the




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       1   Debtor.

       2               THE COURT:    Okay.   And who was that entity that

       3   either --

       4               MR. DRAPER:    Highland Select.

       5               THE COURT:    -- Dugaboy or Get Good lent money to?

       6               MR. DRAPER:    The Get Good claim is completely

       7   different.    The Get Good claim is written as a tax claim.

       8   Honestly, I haven't taken a hard look at it.         I will, once we

       9   get through this, and it may be withdrawn.         The Dugaboy claim

      10   is a claim that arises through a conduit loan.

      11               THE COURT:    Okay.   But to which entity?

      12               MR. DRAPER:    Highland Select.

      13               THE COURT:    Okay.   All right.   Well, continue with

      14   your argument.    I'll get my flow chart out and --

      15               MR. DRAPER:    Well, let me -- again, I think I've made

      16   the points that I needed to make.       I think I've done it in a

      17   sense that you -- what I think the Court needs to do is take a

      18   very hard look at the jurisdictional extension that's being

      19   granted here.    I think the exculpation provision, in and of

      20   itself, just by the mere inclusion of Pachulski and the

      21   Debtor's professionals and the Committee professionals, is

      22   just unconfirmable.       It has to be stricken.

      23        And I think the injunction and the juris... the gatekeeper

      24   provision are not allowed by applicable law.         If this plan

      25   merely said, we will enforce the Barton Doctrine, we will




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       1   abide -- and this order the Court has entered stands, the

       2   injunction that's provided and the rights that we have under

       3   1141 stand, nobody would be objecting.      That's why the U.S.

       4   Trustee has objected, because of the expansive nature of what

       5   the -- what's been done in this plan.

       6        And with that, I'll turn it over to Mr. Taylor or Davor.

       7              THE COURT:   All right.   Who's next?

       8              MR. RUKAVINA:   Your Honor, Davor Rukavina.        Can you

       9   hear me?

      10              THE COURT:   I can.

      11       CLOSING ARGUMENT ON BEHALF OF CERTAIN FUNDS AND ADVISORS

      12              MR. RUKAVINA:   Your Honor, thank you.     I'll try not

      13   to repeat the arguments from Mr. Draper, but I do want to

      14   point out a couple bigger-picture issues, I think.

      15        One, the issue today is not Mr. Dondero, what he has been

      16   alleged to have done, what he is alleged to do in the future.

      17   The Debtor has gone out of its way to create the impression

      18   that we're all tentacles, we're vexatious litigants, we're

      19   frivolous litigants.     The issue today is whether this plan is

      20   confirmable under 1129(a) and 1129(b).      And I think that that

      21   has to be the focus.

      22        Nor is the issue, I think, today any motivation behind my

      23   objection or Mr. Draper's or anything else.

      24        And I do take issue that my motivation or my client's

      25   motivation has some ulterior motive for a competing plan or




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       1   burning down the house or anything like that.       It's very, very

       2   simple.    My clients do not want $140 million of their money

       3   and their investors' money, to whom they owe fiduciary duties,

       4   to be managed by a liquidating debtor under new management

       5   without proper staffing and with an obvious conflict of

       6   interest in the form of Mr. Seery wearing two hats.

       7        I respect very much that Mr. Seery wants to monetize

       8   estate assets for the benefit of the estate creditors.         That's

       9   his job.   That's incompatible with his job under the Advisers

      10   Act and, as he said, to maximize value to my clients and over

      11   a billion dollars of investments in these CLOs.

      12        That should not be, Your Honor, a controversial

      13   proposition.    I should not be described as a tentacle or

      14   vexatious because my clients don't want their money managed by

      15   someone that they, in effect, did not contract with.          I may be

      16   -- I may lose that argument.     The CLOs have obviously

      17   consented to the assumption.     But my argument should not be

      18   controversial.    It should not be painted with a broad brush of

      19   somehow being done in bad faith by Mr. Dondero.

      20        And in fact, Mr. Seery has admitted that the Debtor and he

      21   are fiduciaries to us.     The fact that today they call us

      22   things like tentacles and serial litigants and vexatious

      23   litigants -- we all know what a vexatious litigant is.         We've

      24   all dealt with those.     The fact that our fiduciary would call

      25   us that just reconfirms that it should have no business




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       1   managing our or other people's money.

       2        And then for what?    Mr. Seery has basically said that the

       3   Debtor will make some $8.5 million in revenue from these

       4   contracts, net out $4 million of expenses.       That's net profit

       5   of $4.5 million.    But then they have to pay $3.5 million for

       6   D&O insurance and $525,000 in cure claims.       But it's the

       7   Debtor's business decision, not ours.

       8        Your Honor, the second issue is the cram-down of Class 8.

       9   There are two problems here:     the disparate treatment between

      10   Class 7 and Class 8, which also raises classification, and

      11   then the absolute priority rule.      Class 7 is a convenience

      12   class claim -- is a convenience claim, Your Honor, with a $1

      13   million threshold.    Objectively, that is not for

      14   administrative convenience, as the Code allows.       And the only

      15   evidence as to how that million dollars was arrived at was,

      16   oh, it was a negotiation of the Committee.

      17        There is no evidence justifying administrative

      18   convenience.    Therefore, there is no evidence justifying

      19   separate classification.     And on cram-down, the treatment has

      20   to be fair and equitable, which per se it is not if there is

      21   unfair discrimination.     And there is unfair discrimination,

      22   because Class 8 will be paid less.

      23        On the absolute priority rule, Your Honor, I think that

      24   it's very simple.    I think that the Code is very clear that

      25   equity cannot retain anything -- I'm sorry, equity cannot




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       1   retain any property or be given any property.       Property is the

       2   key word in 1129(b), not value.      It doesn't matter that this

       3   property may not have any value, although Mr. Seery said that

       4   it might.    What matters is whether these unvested contingent

       5   interests in the trust are property.      And Your Honor, they are

       6   property.    They have to be property.    They are trust

       7   interests.

       8        So the absolute priority rule is violated on its face.

       9   There is no evidence that unsecured creditors in Class 8 will

      10   receive hundred-cent dollars.      The only evidence is that

      11   they'll receive 71 cents.     Mr. Seery said there's a potential

      12   upside from litigation.     He never quantified that upside.      And

      13   there is zero evidence that Class 8 creditors are likely to be

      14   paid hundred-cent dollars.     So, again, you have the absolute

      15   priority rule issue.

      16        And this construct where, okay, well, equity won't be in

      17   the money unless everyone higher above is paid in full, that

      18   is just a way to try to get around the dictate of the absolute

      19   priority rule.    If that logic flies, then the next time I have

      20   a hotel client or a Chapter 11 debtor-in-possession client

      21   where my equity wants to retain ownership, I'll just create

      22   something like, well, here's a trust, creditors own the trust,

      23   I won't distribute any money to equity, and equity can just

      24   stay in control.

      25        The point again is that this is property and it's being




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       1   received on account of prepetition equity.

       2        And there's also the control issue.      The absolute priority

       3   rule, the Supreme Court is clear that control of the post-

       4   confirmation equity is also subject to the absolute priority

       5   rule.   Here you have the same prepetition management

       6   postpetition controlling the Debtor and the assets.

       7        Your Honor, the Rule 2015.3 issue, someone's going to say

       8   that it's trivial.    Someone's going to accuse me of pulling

       9   out nothing to make something.      Your Honor, it's not trivial.

      10   That's part of the problem in this case, that this Debtor owns

      11   other entities that own assets, and there's been precious

      12   little window given into that during the case, during this

      13   confirmation hearing, and in the disclosure statement.

      14        Rule 2015.3 is mandatory.     It's a shall.    I respect very

      15   much Mr. Seery's explanation that there was a lot going on

      16   with the COVID and with everything and that it just fell

      17   through the cracks.     That's an honest explanation.     But the

      18   Rule has not been complied with.      And 1107(a) requires that

      19   the debtor-in-possession comply with a trustee's duties under

      20   704(a)(8).    Those duties include filing reports required by

      21   the Rules.

      22        So we have an 1129(a)(3) problem, Your Honor, because this

      23   plan proponent has not complied with Chapter 11 and Title 11.

      24   I'll leave it at that, because I suspect, again, someone will

      25   accuse me of being trivial on that.      It is not trivial.     It is




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       1   a very important rule.

       2        On the releases and exculpations, Your Honor, I'm not

       3   going to try -- I'm not going to hopefully repeat Mr. Draper.

       4   But there's a couple of huge things here with this exculpation

       5   that takes it outside of any possible universe of Pacific

       6   Lumber.

       7        First, you have a nondebtor entity that is being

       8   exculpated.    I understand the proposition that, during a

       9   bankruptcy case, the professionals of a bankruptcy case might

      10   be afforded some protection.      I understand that proposition.

      11   But here you have Strand and its board that's a nondebtor.

      12        The other thing you have that takes this outside of any

      13   plausible case law is that the Debtor is exculpated from

      14   business decisions, including post-confirmation.        I understand

      15   that professionals in a case make decisions, and

      16   professionals, at the end of the case, especially if the Court

      17   is making findings about a plan's good faith, that

      18   professionals making decisions on how to administer an estate

      19   ought to have some protection.

      20        That does not hold true for whether a debtor and its

      21   professionals should have protection for how they manage their

      22   business.    GM cannot be exculpated for having manufactured a

      23   defective product and sold it during its bankruptcy case.

      24        Here, I asked Mr. Seery whether this language in these

      25   provisions, talking about whether the administration of the




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       1   estate and the implementation of the plan includes the

       2   Debtor's management of those contracts and funds.        He said

       3   yes.    He said yes.   So if you look at the exculpation

       4   provision, it is not limited in time.      It affects, Your Honor,

       5   I'm quoting, it affects the implementation of the plan.

       6   That's going forward.

       7          So you are exculpating the Debtor and its professionals

       8   from business decisions, including post-confirmation, from

       9   negligence.    Well, isn't negligence the number one protection

      10   that people that have invested a billion dollars with the

      11   Debtor have?    It's cold comfort to hear, well, you can come

      12   after us for gross negligence or theft.       I get that.     What

      13   about negligence?      Isn't that what professionals do?      Isn't

      14   that why professionals have insurance, liability insurance?

      15   It's called professional negligence for malpractice.

      16          So this exculpation, let there be no mistake -- I heard

      17   Your Honor's view and discussion -- this is a different

      18   universe, both in space and in time.

      19          And we don't have to worry about Pacific Lumber too much

      20   because we have the Dropbox opinion in Thru, Inc.        We have

      21   that opinion.    Whether it's sound law or not, I don't wear the

      22   robe.    But the exculpation provision in that case was

      23   virtually identical.     And Your Honor, that's a 2018 U.S. Dist.

      24   LEXIS 179769.    In that opinion, Judge Fish -- I don't think

      25   anyone could say that Judge Fish was not a very experienced




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       1   district court judge -- Judge Fish found that the exculpation

       2   violated Fifth Circuit precedent.      That exculpation covered

       3   the debtor's attorneys, the debtor, the very people that Mr.

       4   Pomerantz is now saying, well, maybe the Fifth Circuit would

       5   allow an exculpation for.

       6              THE COURT:   Well, I think he is relying heavily on

       7   the analogy of independent directors to Creditors' Committee

       8   members, saying that's a different animal, if you will, than

       9   prepetition officers and directors.      And he thinks, given the

      10   little bit of policy analysis put out there by the Fifth

      11   Circuit, they might agree that that's analogous and worthy of

      12   an exculpation.

      13              MR. RUKAVINA:    And they might.   And they might.     And

      14   again, I usually do debtor cases.      You know that.    I'd love to

      15   be exculpated.

      16              THE COURT:   But --

      17              MR. RUKAVINA:    And I think, again, I do -- I do --

      18              THE COURT:   -- I really want people to give me their

      19   best argument of why, you know, that's just flat wrong.         And

      20   Mr. Draper just said it's, you know, there's a categorical --

      21              MR. RUKAVINA:    Yeah.

      22              THE COURT:   -- rejection of exculpations except for

      23   Committee members and Committee in Pacific Lumber.        And I'm

      24   scratching my head on that one.      And partly the reason I am,

      25   while 524(e) was thrown out there, the fact is there's nothing




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       1   explicitly in the Bankruptcy Code, right, that explicitly

       2   permits exculpation to a Committee or Committee members.

       3   There's just sort of this notion, you know, allegedly embodied

       4   in 1103(c), or maybe there are cases you want to cite to me,

       5   that they're fiduciaries, they're voluntary fiduciaries, they

       6   ought to have qualified immunity.

       7        And again, I see it as more of a policy rationale the

       8   Fifth Circuit gave than pointing to a certain statute.         So if

       9   it's really a policy rationale, then I think the analogy given

      10   here to a newly-appointed independent board is pretty darn

      11   good.

      12        So tell me why I'm all wrong, why Mr. Pomerantz is all

      13   wrong.

      14              MR. RUKAVINA:   I am not going to tell you that you're

      15   all wrong.    I'm not going to tell Mr. Pomerantz that he's all

      16   wrong.   Although I am, I guess, a Dondero tentacle, I am not a

      17   Mr. Draper tentacle, and I happen to disagree with him.

      18   That's my right.    I respect the man very much.     I thought he

      19   did a very honorable and ethical job explaining his position

      20   to Your Honor.    I believe that the Fifth Circuit would approve

      21   exculpations for postpetition pre-confirmation matters taken

      22   by estate fiduciaries.     I do believe that they would.      And I

      23   do believe that that should be the case.

      24        But again, I'm telling you that this one is different.

      25   It's -- Mr. Pomerantz is misdirecting you.       The estate




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       1   professionals manage the estate.       The Debtor manages its

       2   business.    It goes out into the world and it manages business.

       3   And as Your Honor knows, under that 1969 Supreme Court case,

       4   of course I blanked, and under 28 U.S. 959, a debtor must

       5   comply, when it's out there, with all applicable law.

       6        So if the Debtor -- and I'm making this up, okay?         I am

       7   making this up.    I'm not alleging anything.     But if the

       8   Debtor, through actionable neglect, lost $500 million of its

       9   clients' or its investor clients' money, I'm telling you that

      10   under no theory can that be exculpated, and I'm telling you

      11   that that's what this provision does.

      12        The estate and the Debtor can release their claims.         It

      13   happens all the time.       Whatever -- whatever claims the estate

      14   may have against professionals, those can be released.          It's a

      15   9019.   I'm not complaining about that.      Although I do think

      16   that it's premature in this case, because we don't know

      17   whether there's any liability for the $100 million that Mr.

      18   Seery told you Mr. Dondero lost.       But in no event can business

      19   -- business --

      20               THE COURT:   I don't understand what you just said.

      21               MR. RUKAVINA:    Your Honor, I --

      22               THE COURT:   Mr. Dondero is not released --

      23               MR. RUKAVINA:    -- went through Mr. Seery's --

      24               THE COURT:   -- by the estate.

      25               MR. RUKAVINA:    I understand.   I understand.    But we




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       1   all have to also understand that a board of directors and

       2   officers can be liable, breaches of fiduciary duty by not

       3   properly managing an employee.     So I'm not suggesting -- I

       4   mean, I know that there's been an examiner motion filed.         I'm

       5   not suggesting that we have a mini-trial.      I'm not suggesting

       6   there's actionable conduct.     What I'm telling you is that the

       7   evidence shows that there's a large postpetition loss.        And

       8   it's premature to prevent third parties that might have claims

       9   from bringing those.

     10        And then I think -- I'm not sure that Your Honor

     11    understood my point.    Let me try to make it again.     This

     12    exculpation is not limited in time.     This exculpation is

     13    expressly not limited in time and applies to the

     14    administration of the plan post-confirmation.      I don't think

     15    under any theory would the Fifth Circuit or any court at the

     16    appellate level allow an exculpation for purely post-

     17    reorganization post-bankruptcy matters.      I have nothing more

     18    to tell Your Honor on exculpation.

     19              THE COURT:   Well, again, I -- perhaps I go down some

     20    roads I really don't need to go down here, but I'm not sure I

     21    read it the way you did.    I thought we were just talking about

     22    pre -- postpetition, pre-confirmation.      Or pre-effective date.

     23              MR. RUKAVINA:    Your Honor, Page --

     24              THE COURT:   The --

     25              MR. RUKAVINA:    Page 48 of the plan, Section C,




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       1   Exculpation.    Romanette (iv).     The implementation of the plan.

       2   And I -- and that's -- that's part of why I asked Mr. Seery

       3   that yesterday.    Does the implementation of the plan, in his

       4   understanding, include the Reorganized Debtor's management and

       5   wind-down of the Funds, and he said yes.

       6              THE COURT:   Okay.

       7              MR. RUKAVINA:    So that's right there in black and

       8   white.

       9        It also includes the administration of the Chapter 11

      10   case.    If that is defined broadly, as Mr. Seery wants it to

      11   be, to define business decisions, then that also exceeds any

      12   permissible exculpation.

      13        So, again, I'm telling Your Honor, with due respect to you

      14   and to Mr. Pomerantz, that the focus of Your Honor's

      15   questioning is wrong.      The focus of Your Honor's questioning

      16   should be on exculpation from what?       From business -- i.e., GM

      17   manufacturing and selling the car -- or from management of the

      18   bankruptcy case?    Management of the bankruptcy case?        Okay.

      19   Postpetition pre-confirmation managing business, never okay.

      20        Your Honor, on the channeling -- and let me add, I think

      21   it's very clear, there is no Barton Doctrine here.       This is

      22   not a Chapter 11 trustee.       The Barton Doctrine does not

      23   extend to debtors-in-possession.       And I can cite you to a

      24   recent case, In re Zaman, 2020 Bankr. LEXIS 2361, that

      25   confirms that the Barton Doctrine does not apply to a debtor-




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       1   in-possession.

       2        I want to --

       3              THE COURT:   Remind me of that --

       4              MR. RUKAVINA:   -- discuss, Your Honor, the --

       5              THE COURT:   Remind me of the facts of that case.       I

       6   feel like I read it, but -- or saw it in the advance sheets,

       7   maybe.

       8              MR. RUKAVINA:   I honestly do not recall.     I read it a

       9   few days ago, and since then, I hope Your Honor can

      10   appreciate, I've been up very late trying to negotiate

      11   something good in this case.

      12              THE COURT:   I'd like to know --

      13              MR. RUKAVINA:   So, I mean, I have the case in front

      14   of me.

      15              THE COURT:   I'd like to know about a holding that

      16   says Barton Doctrine can't be applied in a Chapter 11 post-

      17   confirmation context, if that's --

      18              MR. RUKAVINA:   Well, I have it --

      19              THE COURT:   -- indeed the holding.

      20              MR. RUKAVINA:   I have it right in front of me here,

      21   Your Honor, and I can certainly -- all I know is that this

      22   case held that -- it rejected the notion that the Barton

      23   Doctrine applies to a debtor-in-possession.

      24              THE COURT:   Okay.

      25              MR. RUKAVINA:   And maybe --




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       1              THE COURT:   That --

       2              MR. RUKAVINA:    There it is, right there.

       3              THE COURT:   What judge?

       4              MR. RUKAVINA:    Your Honor, it is the Southern

       5   District of Florida, and it is the Honorable -- Your Honor, it

       6   is the Honorable Mindy Mora.

       7              THE COURT:   Okay.

       8              MR. RUKAVINA:    M-O-R-A.

       9              THE COURT:   Okay.

      10              MR. RUKAVINA:    I have not had the pleasure of being

      11   in front of that judge.

      12        Your Honor, let me discuss the channeling injunction.

      13   This is the big one for me.       This is the big one.   And I think

      14   we have to begin -- and it's the big one, as I'll get to,

      15   because Your Honor knows that the CLO management agreements

      16   give my clients certain rights, and this injunction would

      17   prevent those rights from being exercised post-confirmation.

      18   It's not dissimilar from the PI hearing that we're in the

      19   middle of in an adversary.

      20        But I begin my analysis, again, with 28 U.S.C. 959.         Your

      21   Honor, that -- the first sentence of that statute makes it

      22   very clear that when it comes to carrying on a business, a

      23   debtor-in-possession may be sued without leave of the court

      24   appointing them.

      25        So the first thing that this channel -- gatekeeper,




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       1   channeling, I don't mean to miscall it -- the first thing that

       2   this gatekeeping injunction does is it stands directly

       3   opposite to 28 U.S.C. 959.

       4        28 U.S.C. 959 also says that jury rights must be

       5   preserved.    As I'll argue in a moment, this injunction also

       6   affects those rights.

       7        In addition to 959, we have the fundamental issue of post-

       8   confirmation jurisdiction.     As Mr. Draper said, here, this

       9   channeling injunction applies to post-confirmation matters.

      10   Similar to my answer to you on exculpation, I can see there

      11   being a place for a channeling injunction during the pendency

      12   of a case or for claims that might have arisen during the

      13   pendency of a case.     I cannot see that, and I don't know of

      14   any court that, at least at a circuit level, that would agree

      15   that this can apply post-confirmation.

      16        It is, again, the equivalent of GM manufacturing a car

      17   post-confirmation and having to go to bankruptcy court because

      18   someone's wanting to sue it for product negligence or

      19   liability.    It's unthinkable.    The reason why a debtor exits

      20   bankruptcy is to go back out into the community.        It's no

      21   longer under the protection of the bankruptcy court.          That's

      22   what the media calls Chapter 11, it calls it the protection of

      23   the court.    There's no such protection post-reorganization.

      24   So, --

      25              THE COURT:   Is that really analogous, Mr. Rukavina?




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       1   Let's get real.      Is this really analogous --

       2               MR. RUKAVINA:   It is.

       3               THE COURT:   -- to GM --

       4               MR. RUKAVINA:   It is.

       5               THE COURT:   -- manufacturing thousands of cars?

       6               MR. RUKAVINA:   It absolutely is analogous.       Because

       7   this Debtor is going to assume these contracts and it is going

       8   to go out there and it is going to make daily decisions

       9   affecting a billion dollars of other people's money.          Each of

      10   those decisions hopefully will be done correctly and make

      11   everyone a lot of money, but each of those decisions is the

      12   potential for claims and causes of action.

      13        So it is analogous, Your Honor.      They want my clients and

      14   others to come to you for purely post-confirmation matters.

      15   The Court will not have that jurisdiction.       There will be no

      16   bankruptcy estate, nor can the Court's limited jurisdiction to

      17   ensure the implementation of the plan go to and affect a post-

      18   confirmation business decision.

      19        That's the distinction.     The Debtor's post-confirmation

      20   business is not the implementation of a plan.       As Mr. Draper

      21   said, there's a new entity.     There's a new general partner.

      22   There's a new structure.     Go out there and do business,

      23   Debtor.   That's what they're telling you.      They're telling you

      24   this is not a liquidation because they're going to be in

      25   business.    Okay.   Well, the consequence of that is that




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       1   there's no post-confirmation jurisdiction.

       2        Now, Mr. Pomerantz says, and I think you asked Mr. Draper,

       3   well, the jurisdiction to adjudicate whether something is

       4   colorable is different from the jurisdiction to adjudicate the

       5   underlying matter.    Your Honor, I don't understand that

       6   argument, and I don't see a distinction.       If the Court has no

       7   jurisdiction to decide the underlying matter, then how can the

       8   Court have any jurisdiction to pass on any aspect of that

       9   underlying matter?

      10        And whether something is colorable is a fundamental issue

      11   in every matter.    That's the thing that courts look at in a

      12   12(b)(6), in a Rule 11 issue, in a 1927 issue.       So they're

      13   going to come -- or someone is going to have to come to Your

      14   Honor and present evidence and law that something is

      15   colorable.    Let's say that we've said there's a breach of

      16   contract.    Aren't we going to have to show you, here's the

      17   contract, here's the language, here's the facts giving rise to

      18   the breach, here's the elements?      And Your Honor is going to

      19   have to pass on that.     And if Your Honor decides that

      20   something is not colorable, then there ain't no step two.

      21        And if Your Honor decides that something is colorable,

      22   then isn't that going to be binding on the future proceeding?

      23   And if it's going to be binding on the future proceeding, then

      24   of course you're exercising jurisdiction to adjudicate an

      25   aspect of that lawsuit.




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       1        I don't think that that -- I don't know I can be clearer

       2   than that, Your Honor, unless the Debtor has some other

       3   understanding of what a colorable claim or cause of action is

       4   that I'm misunderstanding.

       5        And Your Honor, I would ask, when Your Honor is in

       6   chambers, to look at one of these CLO management agreements.

       7   I'm sure Your Honor has already.      I just pulled one out of the

       8   Debtor's exhibits, Exhibit J as in Jason.       And Section 14, 14

       9   talks about termination for cause.      Most of these contracts

      10   are for cause.    So, Your Honor, cause includes willfully

      11   breaching the agreement or violating the law, cause includes

      12   fraud, cause includes a criminal matter, such as indictment.

      13        So let's imagine, Your Honor, that I come to you a year

      14   from now and I say, I would like to terminate this agreement

      15   because I don't want the Debtor managing my $140 million

      16   because of one of these causes.      What am I going to argue to

      17   Your Honor?    I'm going to argue to Your Honor that those

      18   causes exist.    And Your Honor is going to have to pass on

      19   that.

      20        And if Your Honor says they don't exist, again, I'm done.

      21   I just got an effective final ruling from a federal judge that

      22   my claim is without merit.     I'm done.   Your Honor has decided

      23   the matter effectively, legally, and finally.

      24        That's why, when Mr. Pomerantz says that the jurisdiction

      25   to adjudicate the colorableness of a claim is different from




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       1   adjudicating that claim, it's not correct.       They're part of

       2   the same thing, Your Honor.

       3        We strenuously object to that injunction, we think it's

       4   unprecedented, and we strenuously object to that injunction

       5   because we are not Mr. Dondero.

       6        I understand the January 9th order.      I'll let Mr.

       7   Dondero's counsel talk about why that was never intended to be

       8   a perpetual order.     I'll let Mr. Dondero's counsel argue as to

       9   why the extension of that order ad infinitum in the plan is

      10   illegal.

      11        But even if Mr. Dondero is enjoined in perpetuity from

      12   causing the related parties to terminate these agreements,

      13   Your Honor, the related parties themselves are not subject to

      14   that injunction.    That's why you have the preliminary

      15   injunction proceeding impending in front of you on ridiculous

      16   allegations of tortious interference.

      17        So whether the Court enjoins Mr. Dondero or not in

      18   perpetuity is a separate matter.      The question is, as you've

      19   heard, at least my retail clients, they have boards.          Those

      20   boards are the final decision-makers.      Mr. Dondero is not on

      21   those boards.

      22        In other words, it is wrong to conclude a priori that

      23   anything that my clients do has to be at the direction of Mr.

      24   Dondero.    There is no evidence of that.     The evidence is to

      25   the contrary.




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       1        Yes, a couple of my clients, the Advisors are controlled

       2   by Mr. Dondero.    Mr. Norris testified to that.     You'll not

       3   find Mr. Norris anywhere testifying in that transcript that

       4   Your Honor allowed into evidence that the funds, my retail

       5   fund clients are controlled by Mr. Dondero.       You won't find

       6   that evidence.    There was no evidence yesterday or today that

       7   Mr. Dondero controls those retail funds.       The only evidence is

       8   that they have independent boards.

       9        So I ask the Court to see that it's a little bit of a

      10   sleight of hand by the Debtor.      If I am to be enjoined or if I

      11   am to have to come to Your Honor in the future as a vexatious

      12   litigant or a tentacle or a frivolous litigant, whatever else

      13   I've been called today, then let it be because of something

      14   that I've done or failed to do, something that my client has

      15   done to warrant such a serious remedy, not something that Mr.

      16   Dondero is alleged to have done.

      17        And what have my clients done, Your Honor?       What have we

      18   done to be called vexatious litigants and serial litigants?

      19   We've done nothing in this case, pretty much, until December

      20   16th, when we filed a motion that was a poor motion,

      21   unfortunately, the Court found it to be frivolous, and the

      22   Court read us the riot act.

      23        We refused, on December 22nd, we, my clients' employees,

      24   to execute two trades that Mr. Dondero wanted us to execute.

      25   We had no obligation to execute them.      We knew nothing about




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       1   them.   And Mr. Seery -- I'm sorry.     Not Mr. Dondero, that Mr.

       2   Seery wanted to execute.     And Mr. Seery closed those

       3   transactions that same day.     And then a professional lawyer at

       4   K&L Gates, a seasoned bankruptcy lawyer, sent three letters to

       5   a seasoned professional lawyer at Pachulski, and the letters

       6   were basically ignored.

       7        Okay.   Those are the things that we've done.      Other than

       8   that, we've defended ourselves against a TRO, we've defended

       9   ourselves against a preliminary injunction, we will continue

      10   to defend ourselves against a preliminary injunction, and we

      11   defend ourselves against this plan because it takes away our

      12   rights.   Is that vexatious litigation?      Is that, other than

      13   the frivolous motion, is that frivolous litigation?

      14        And we heard you loud and clear when you read us the riot

      15   act on December 16th.     And I will challenge any of these

      16   colleagues here today to point me to something that we have

      17   filed since then that is in any way, shape, or form arguably

      18   meritless.

      19        So where is the evidence that my retail funds are

      20   tentacles or vexatious litigants or anything else?        There is

      21   no evidence, Your Honor, and the Debtor is doing its best to

      22   give you smoke and mirrors to just make that mental jump from

      23   Mr. Dondero to my clients, effectively an alter ego, without a

      24   trial on alter ego.

      25        Once these contracts are assumed, the Debtor must live




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       1   with their consequences.     It's as simple as that.     Your Honor

       2   has so held.    Your Honor has so held forcefully in the Texas

       3   Ballpark case.    And the Court, I submit respectfully, cannot

       4   excise by an injunction a provision of a contract.

       5        Also, this injunction will -- is a permanent injunction.

       6   We know from Zale and other cases the Fifth Circuit does

       7   permit certain limited plan injunctions that are temporary in

       8   hundred-cent plans.     This is a permanent one.    It doesn't even

       9   pretend to be a temporary one.

      10        It's also a permanent one because the Debtor knows and I

      11   think the Debtor is banking on me being unable to get relief

      12   in the Fifth Circuit before Mr. Seery is finished liquidating

      13   these CLOs.

      14        So what we are talking about today is effectively excising

      15   valuable and important negotiated provisions of these

      16   contracts, provisions that, although my clients are not

      17   counterparties to these contracts, you've heard from at least

      18   three of them we do control the requisite vote, the voting

      19   percentages, to cause a termination, to remove the Debtor, or

      20   to seek to enforce the Debtor's obligations under those

      21   contracts.

      22        And again, Your Honor, it's very simple.       Where those

      23   contracts require cause, there either is cause or is not

      24   cause.   If there is not cause, the Debtor has its remedies.

      25   If there is cause, I'll have my remedies.       But it's not for




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       1   this Court post-confirmation to be making that determination.

       2   That's not my decision.      That's Congress's decision.

       3        So, Your Honor, for those reasons, we object, and we

       4   continue to object, and we'd ask that the Court not confirm

       5   this plan because it is patently unconfirmable.        Or if the

       6   Court does confirm the plan, that it excise those provisions

       7   of the releases, exculpations, and injunction that I just

       8   mentioned as being not in line with the Fifth Circuit or

       9   Supreme Court precedent.

      10        Thank you.

      11              THE COURT:    All right.   Can I -- I meant to ask Mr.

      12   Draper this.    Can we all agree that we do not have third-party

      13   releases per se in this plan?      Can we all agree on that?

      14              MR. DRAPER:     I don't know.    I have to look at that.

      15   I think what you have are exculpations and channeling

      16   injunctions for third parties who have not paid for those

      17   channeling injunctions or those exculpations.

      18              THE COURT:    All right.

      19              MR. RUKAVINA:    Your Honor, was that question -- was

      20   that question solely to Mr. Draper?

      21              THE COURT:    Well, no, it was to all of you.      I

      22   thought we could all agree that we don't have third party

      23   releases per se.    Okay.    There was --

      24              MR. RUKAVINA:    Your Honor, we --

      25              THE COURT:    -- a little bit of glossing over that in




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       1   some of the briefing, I can't remember whose.        But we have

       2   Debtor releases, we have --

       3              MR. RUKAVINA:   Yes.

       4              THE COURT:   -- exculpations that deal with

       5   postpetition negligence only, we have injunctions, which I

       6   guess the Debtor would say merely serve to implement the plan

       7   provisions and are commonplace, but Mr. Draper would say maybe

       8   are tantamount to third-party releases.       Is that --

       9              MR. RUKAVINA:   Your Honor, I don't think --

      10              THE COURT:   -- where we are?

      11              MR. RUKAVINA:   -- there's any question -- I don't

      12   think there's any question that the exculpation is a third-

      13   party release, and that that's also what Judge Fish held in

      14   the Dropbox case.    It says that none of the exculpated parties

      15   shall have any liability on any claim.      So, --

      16              THE COURT:   All right.

      17              MR. RUKAVINA:   -- that necessarily --

      18              THE COURT:   I get what you're saying, but I just

      19   think, in common bankruptcy lingo, most people regard a third-

      20   party release as when third parties are releasing -- third

      21   parties meaning, for example, creditors, interest holders --

      22   are releasing officers and directors and other third parties

      23   for anything and everything.

      24        Exculpation, I get it, it's worded in a passive voice, but

      25   it is third parties releasing third parties, but for a narrow




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       1   thing, postpetition conduct that is negligent.       Okay.    So I

       2   think -- while there's technically something like a third-

       3   party release there, it's not in bankruptcy lingo what we call

       4   a third-party release.     It's an exculpation means no liability

       5   of the exculpated parties for postpetition conduct that's

       6   negligent.    So I -- anyway, I think we all agree that, I mean,

       7   can we all agree there aren't any per se third-party releases

       8   as that term is typically used in bankruptcy parlance?

       9              MR. RUKAVINA:     I apologize, Your Honor, and I'm not

      10   trying to try your patience, but I cannot agree to that.

      11   Whatever claims my client, a nondebtor, has against Strand, a

      12   nondebtor, are gone.     Whether it's a release or exculpations,

      13   they're gone.    So I apologize, I cannot agree to that, Your

      14   Honor.

      15              MR. DRAPER:    Your Honor, this is Douglas Draper.        I

      16   can't agree, either.     I think it's definitional.     And quite

      17   frankly, I think I'm looking at the functional effect of

      18   what's here, and they appear to be third-party releases.

      19              THE COURT:    Okay.   All right.   Who is making the

      20   argument for Mr. Dondero?

      21              MR. TAYLOR:    Your Honor, Clay Taylor appearing on

      22   behalf of Mr. Dondero.

      23              THE COURT:    Okay.

      24             CLOSING ARGUMENT ON BEHALF OF JAMES D. DONDERO

      25              MR. TAYLOR:    Your Honor, first of all, as this Court




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       1   is well aware, this Court sits, as a bankruptcy court, as a

       2   court of equity.    It has many different tools available to it.

       3   One of those, of course, is denying confirmation of this plan

       4   because of the laws that we have discussed today and that we

       5   believe the evidence has shown, and I won't go into those.           Of

       6   course, of course, Your Honor could confirm that plan.         Yet

       7   another tool available to this Court is it can take it under

       8   advisement.

       9        To the extent that this Court decides to confirm this plan

      10   and decides to confirm it today, it certainly takes a lot of

      11   options off the table for all parties.      There are ongoing

      12   discussions, I'm not going to go into any of the particulars

      13   of those discussions, but a ruling on confirmation today would

      14   effectively end that, because, absent, then, an order vacating

      15   confirmation, there's a lot of eggs that can't become

      16   unscrambled after a confirmation order is entered.

      17        So we would respectively ask that, to the extent that the

      18   Court is even considering confirmation, we don't believe it to

      19   be appropriate, but at least take it under advisement for 30

      20   days, or at least, in the very alternative, that it announce

      21   some date which it is going to give a ruling, so that we kind

      22   of know when that is going to come down, to see if any

      23   positive ongoing discussions can result in more of a global

      24   resolution that all parties can agree upon.

      25        Addressing more the merits of the case, Your Honor, Mr.




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       1   Dondero does indeed object to the nondebtor releases, the

       2   exculpations, the injunction.      I believe those have been

       3   covered rather extensively in the prior argument, so I wasn't

       4   going to go into those here because they've been addressed.

       5   Of course, I will endeavor to answer any questions that Your

       6   Honor may have on those.

       7        I will say I think Your Honor asked for everybody's best

       8   shot as to why this is different for a Committee member versus

       9   the independent trustees here.      I will say my best shot is,

      10   first of all, Pacific Lumber says what it says.        I believe Mr.

      11   Pomerantz has indicated their position that that language is

      12   dicta and therefore not binding upon this Court.        I

      13   respectfully disagree with that.      But to the extent, more

      14   directly answering Your Honor's question, to me, the

      15   difference is clear.     Chapter 7 trustees are a creature of

      16   statute.    So are Chapter 11 trustees.    And -- as are members

      17   of a Committee that are seated pursuant to the Bankruptcy

      18   Code.   Those are all creatures of statute.      And the

      19   independent board of trustees, while there are certainly --

      20   there are some analogies that can be made, undoubtedly, but

      21   they are not a creature of statute.      There is no provision for

      22   them under the Bankruptcy Code.      And therefore I don't believe

      23   that they should and can receive the same protections under

      24   Pacific Lumber.

      25        And so hopefully that -- that is my best shot at




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      1   answering, directly answering the question that Your Honor

      2   posed.

      3               THE COURT:    Okay.

      4               MR. DRAPER:    Mr. Dondero also has issue with the

      5   overbroad continuing jurisdiction of this Court.       I believe

      6   Mr. Rukavina has stated that rather succinctly, too.       Merely

      7   ruling upon whatever claim is colorable or not certainly has

      8   definite impacts.    If this Court has jurisdiction to do that

      9   when it otherwise wouldn't have jurisdiction, it enacts an

     10   expansion, a potentially impermissible expansion of this

     11   Court's jurisdiction.      And for that reason, the plan should --

     12   confirmation should be denied.

     13        Getting into the particulars of 1129, Your Honor, there is

     14   problems under 1129(a)(2).        Those are the solicitation

     15   problems.    Let's just kind of look at what the evidence

     16   showed.   On November 28th, there was a disclosure statement,

     17   it was published to all creditors, and it said, under this

     18   plan, you're going to get 87 cents.       It wasn't a range.   Now,

     19   there was some assumptions that went in there, but they said,

     20   under a liquidation of all these assets, you're going to get

     21   62 cents.

     22        The Debtors came back approximately two months later, on

     23   January 28th, and said, oh, wait, we missed the boat here, and

     24   actually, under the plan, you're going to get 61 cents.        And

     25   under a liquidation, though, you'd only get 48.




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       1       Well, the problem is, already, two months later, they've

       2   already told you they missed the boat on what the liquidation

       3   analysis was just two months ago.     And two months ago, they

       4   told you under a liquidation you'd get 62 cents, and now we're

       5   telling you you're going to get less.     That's at least some

       6   very good evidence that the best interests of the creditors

       7   isn't being met, and potentially a liquidation is much better.

       8       They then came back, potentially maybe realizing that

       9   problem, also because some new information came in with the

     10    employees, and also with UBS, which adjusted the overall

     11    general unsecured claims pool, and said, well, under the plan

     12    you're going to get 71 cents, and under a liquidation you're

     13    going to get 55 cents.

     14        In between those iterations from November to February,

     15    they found $67 million more in assets.      So Mr. Seery testified

     16    he believed some of that's as to market increases in values,

     17    and some (garbling) investment, market -- securities.         And

     18    some were just in these private equity investments.

     19        There are indeed some rollups behind all of these numbers.

     20    I do understand why they wouldn't want to make some of these

     21    numbers public, because they might not be able to get --

     22    create the upside for any particular asset class that they're

     23    seeking to monetize.

     24        However, we and others, including Mr. Draper, asked for

     25    those rollups to be provided, and we certainly could have




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       1   taken those under seal or a confidentiality agreement, could

       2   have also put those before this Court under seal and the

       3   Debtor could have put those rollups before this Court under

       4   seal.   It elected not to do so.

       5        So, rather, what you have is the naked assumptions of this

       6   is what we think we can monetize the assets, or we're not

       7   going to tell you what it is, but trust me, Creditors, and

       8   cool, we found $67 million worth of value in the past two

       9   months, so therefore we're going to beat the liquidation

      10   analysis that we previously told you just two months ago.

      11        They also acknowledge that, in those two months, that

      12   there was going to be about $26 million in increased costs

      13   from their November analysis to their February analysis.         And

      14   they included that in their projections.

      15        Finally, they acknowledged, in those two months, that we

      16   had previously estimated -- and they even have it in their

      17   assumptions in November liquidation and plan analysis -- that

      18   UBS, HarbourVest, and I believe it was Acis, were all going to

      19   be valued at zero dollars, and that's what the claims were

      20   going to be.    Well, they kind of missed the boat on those, and

      21   they missed it by a lot.     They -- it increased all the claims

      22   in the pool from $195 million to $273 million, or sorry, I

      23   don't -- look at that again, but it was an increase of $95

      24   million.   I'm sorry, 190 -- the claims pool increased from

      25   $194 million to -- I'm sorry, Your Honor, I have too many




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       1   papers in front of me -- on November, the claims pool was 176

       2   and it increased by February 1st to 273.       Therefore,

       3   approximately $95, almost $100 million worth of claims that

       4   they weren't anticipating that actually came in.

       5        That tells you about the quality of the assumptions that

       6   went into the analysis to begin with.      They missed it by 50

       7   percent on what the overall claims pool was going to be.

       8   That's significant.     It's material.

       9        There is a lot of other assumptions that could go into

      10   this document, and one of those assumptions are how much are

      11   we going to be able to monetize these assets for?        One other

      12   assumption is, well, how much is it going to cost during the

      13   two-year life of this wind-down?      Another assumption is going

      14   to be, are we actually going to be able to wind down in two

      15   years?    Because if we're not, well, guess what, all those

      16   costs are going to go up.     Another assumption is, well, how

      17   much are those fee claims going to be over the two-year

      18   period?   Again, if it goes over two years, they're going to be

      19   significantly higher.     Moreover, you might have just missed

      20   what the burn rate is.

      21        So I think it's rather telling that the assumptions made

      22   of -- all the way back of over two -- of only two months ago

      23   were off by $100 million, and therefore it skewed all of the

      24   plan-versus-liquidation analysis all over the board.

      25        That's the only evidence that the Debtor has put forth as




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       1   to why it's in the best interest of the creditors.        And quite

       2   frankly, we don't believe they have met their burden.          And it

       3   is their burden to prove to Your Honor that the plan is better

       4   than what a Chapter 7 trustee will -- can do.

       5        What the evidence does show, as far as what the plan would

       6   do as compared to a hypothetical Chapter 7 trustee, is that we

       7   know for sure that the Claimant Trust base fee, just over the

       8   two years, is going to be $3.6 million.

       9        (Interruption.)

      10              MR. TAYLOR:    I'm sorry.

      11              THE COURT:    Someone needs to put their device on

      12   mute.   I don't know who that was.

      13              MR. TAYLOR:    Oh, I'm sorry.   I thought you said

      14   something, Your Honor.

      15              THE COURT:    No.

      16              MR. TAYLOR:    So what we do know is the Claimant

      17   Trustee base fee is going to be $3.6 million.       What we don't

      18   know and what was not put into evidence because they are still

      19   negotiating it is there's going to be a bonus fee on top of

      20   that that's going to be paid to Mr. Seery.       Is that $2

      21   million?   Is that $4 million?     Is that $10 million?       Well, we

      22   don't know.    We can't perform that analysis as compared to

      23   what a hypothetical Chapter 7 trustee could be.       Nor can Your

      24   Honor, based upon the evidence presented.

      25        And quite frankly, I don't see how one could ever conclude




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       1   -- and there are some other unknowns that we're about to go

       2   over, including the Litigation Trust base fee and there are

       3   collection fees, contingency fees.      Those are also to be

       4   negotiated.     To be negotiated and unknown.    You can't perform

       5   the analysis.    The Debtor couldn't perform the analysis

       6   because those are to be negotiated, so you can't tell whether

       7   a Chapter -- hypothetical Chapter 7 trustee might come out

       8   better because he's not going to incur all these costs.          We

       9   know that they're going to incur D&O costs.

      10              THE COURT:    Let me interject right now.

      11              MR. TAYLOR:    Sure.

      12              THE COURT:    Again, I'm going to go back to

      13   understanding who your client is arguing for.        Okay?    Again,

      14   as we've said before, Mr. Pomerantz did not technically say no

      15   standing, but he thought it was important to point out the

      16   economic interests that our Objectors either have or don't

      17   have.   Okay?

      18        So I'm looking through my notes to see exactly what the

      19   Dondero economic interest is.     I have something written in my

      20   notes, but I'm going to let you tell me.        Tell me what his

      21   economic interests are with regard to this Debtor, this

      22   reorganization.

      23              MR. TAYLOR:    Your Honor, I believe he has been placed

      24   into Class 9, Subordinated Claims.      So to the extent that

      25   there is recovery available to Class 9, he can recover on




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       1   those claims.

       2              THE COURT:    But what proof of claim --

       3              MR. TAYLOR:    We also have --

       4              THE COURT:    What proof of claim does he have pending

       5   at this juncture?

       6              MR. TAYLOR:    Your Honor, I would have to go back and

       7   look.   I don't have the proofs of claim register in front of

       8   me.   And I'm sorry, if I tried to speculate, I would be doing

       9   a disservice to my client and this Court by trying to

      10   speculate.    I did not prepare those proofs of claim.        People

      11   in my firm did.    But I would be merely speculating if I tried

      12   to give you an answer off the spot.        And I apologize.    I'm

      13   happy to submit a post-confirmation hearing letter --

      14              THE COURT:    No, no, no.

      15              MR. TAYLOR:    -- as to that.

      16              THE COURT:    I'm not going to allow one more piece of

      17   paper in connection with confirmation.       I thought you would be

      18   able to answer that.

      19              MR. TAYLOR:    I'm sorry.   I just don't want to lie to

      20   Your Honor.

      21              THE COURT:    What about his -- what would be an

      22   indirect equity interest?

      23              MR. TAYLOR:    Well, again, there are a lot of people

      24   that know this org chart a lot better than me.        This is me

      25   going on hearsay myself.     But I understand he also owns a lot




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       1   of indirect interests in subsidiaries, some of which are

       2   majority, some of which are minority, and some of which he

       3   owns maybe directly, some of which through other entities.         So

       4   the way in which these assets could be monetized at the sub-

       5   debtor level could certainly impact his economic rights and

       6   could impact him greatly.     For instance, if the --

       7              THE COURT:    I really wanted an exact answer.

       8              MR. TAYLOR:    Mr. Seery --

       9              THE COURT:    I really wanted an exact answer, not just

      10   he has an indirect interest in, you know, some of the 2,000 --

      11   I'm not going to say tentacles, but --

      12        I'm going to interrupt briefly, because I really want to

      13   nail down the answer as best I can.      Mr. Pomerantz, can you

      14   just remind me of what your answer was or statement was

      15   regarding Mr. Dondero, individually, his economic stake in all

      16   this?

      17              MR. POMERANTZ:    He has an indemnification claim

      18   that's been objected to, --

      19              THE COURT:    That's the one and only --

      20              MR. POMERANTZ:    -- although it's not before --

      21              THE COURT:    That's the one and only pending proof of

      22   claim, right?

      23              MR. POMERANTZ:    That's my understanding.    And while

      24   it's not before the Court, we could all imagine whether Mr.

      25   Dondero's going to be entitled to indemnification.




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       1        He has an interest in Strand, which is the general

       2   partner.

       3              THE COURT:    Right.

       4              MR. POMERANTZ:    And Strand owns a quarter-percent --

       5   a quarter of one percent of the equity.       I believe that is all

       6   of Mr. Dondero's economic interest in the Debtor.

       7              THE COURT:    Okay.    So, again, I'm just trying to, you

       8   know, understand who he's looking out for, for lack of a

       9   better way of saying it, Mr. Taylor, in making these

      10   arguments.

      11              MR. TAYLOR:    So, there is also, and this is -- I'm

      12   not involved in what are these going to be filed collection

      13   suits, or some of which have been filed, some of which have

      14   not been filed, none of which I believe the answer date has

      15   been -- has passed or come to be yet.

      16        But he is also a defendant in collection suits on these

      17   notes, as you are undoubtedly aware.

      18              THE COURT:    Okay.    He's a defendant in adversary

      19   proceedings.    Okay?    That makes him a party in interest to --

      20   well, I keep -- that makes him have standing to make an

      21   1129(a)(7) argument?     That's why I'm going down this trail.

      22   Because you've spent the last five minutes talking about, you

      23   know, creditors could do better in a Chapter 7 liquidation.

      24   I'm not sure he has standing to make that argument, so I'm

      25   wanting you to address that squarely.




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       1              MR. TAYLOR:    Your Honor, I believe he has economic

       2   interests up and down the capital structure.       And I cannot

       3   describe to you, without wildly speculating and potentially

       4   lying to this Court, which I'm not going to do, without some

       5   time to have looked at that, because I was -- I was not

       6   involved in the proofs of claim and I am not his accountant.

       7   So I could not do that without wildly speculating, so I just

       8   -- I would like to more directly answer your question, Your

       9   Honor.   I am not trying to avoid the question.      But I can't

      10   honestly answer your question with true facts as we sit here

      11   right now.

      12              THE COURT:    All right.   But do you agree or disagree

      13   with me that only parties -- the only parties that really can

      14   make an 1129(a)(7) argument are holders of claims or interests

      15   in impaired classes?

      16              MR. TAYLOR:    Your Honor, I believe that Mr. Dondero

      17   has standing to do so by virtue of claims for indemnification

      18   --

      19              THE COURT:    Okay.

      20              MR. TAYLOR:    -- if these -- if these -- if this

      21   Debtor (indecipherable) able to meet its obligations to

      22   indemnify him.    And some of those are significant claims that

      23   are being brought against him that could total millions, if

      24   not tens of millions of dollars, just in defense costs alone,

      25   that I do believe give some standing.




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       1               THE COURT:    Okay.   So, assuming you're right, you

       2   think the evidence does not show this is better than a Chapter

       3   7 liquidation where we would have a stranger trustee come in

       4   and just, yeah, I guess, cold-turkey liquidate it all.

       5               MR. TAYLOR:    Your Honor, I do believe that the

       6   evidence shows that the Debtor hasn't met its burden as to

       7   this.   A Chapter 7 trustee doesn't necessarily have to

       8   liquidate immediately.      It can run these -- these assets.        I

       9   mean, Mr. Seery is going to do it with ten people.        At one

      10   time, just two months ago, he said he was going to do it with

      11   three people.    A Chapter 7 trustee could certainly have a

      12   limited runway, or even an extended runway, if it so asked for

      13   it, to liquate these Debtors.

      14        Moreover, there would be at least the requirements that

      15   the Chapter 7 trustee would request the sale, tell creditors

      16   about it.    And, as many courts have said, the competitive

      17   bidding process is the best way to make sure that you ensure

      18   the highest and best offer that you can get.

      19        Mr. Seery has not committed to providing notice of sales

      20   to creditors and other parties in interest, potentially

      21   bringing them in as bidders.       They -- he could name a stalking

      22   horse, but he has not indicated any desire to do so.          A

      23   Chapter 7 trustee would endeavor to do so.

      24        So I do believe that there are some advantages.          And

      25   you've heard no testimony that they've performed any analysis




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       1   or conducted any interviews with any Chapter 7 trustees as to

       2   whether or not this was possible or not.       They just made the

       3   naked assumption that they would do work based upon what they

       4   said was their experience.        And Mr. Seery's deposition, when

       5   it was taken and noticed as a 30(b)(6) deposition, and I

       6   believe it has been entered into evidence here, he said the

       7   last time he dealt with a Chapter 7 trustee was 11 or 13 years

       8   ago, and it was the Lehman case, and that was the -- a SIPC

       9   trustee.    So --

      10               THE COURT:    Well, --

      11               MR. TAYLOR:    -- that's the last time he had any

      12   experience with it.

      13               THE COURT:    -- again, I don't mean to belabor this

      14   point, just like I didn't mean to belabor a few others.         But,

      15   you know, there is a mechanism, yes, in Chapter 7, Section

      16   704, for a trustee to seek court authority to operate a

      17   business.    But it's not a statute that contemplates long-term

      18   operation.    Okay?   It's just, oh, we've got a little bit of --

      19   you know, we have some assets here that really require a

      20   short-term operation here.

      21        If it's long-term, then you convert to Chapter 11.        Okay?

      22   It's just a temporary tool, Section 704.        Right?   Would you

      23   agree with me?

      24               MR. TAYLOR:    That's typically how it has been used.

      25               THE COURT:    Okay.




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       1              MR. TAYLOR:    But that's not to say that it's limited

       2   in time by the statute itself.      It doesn't say that it can't

       3   go for one year or two years.      That can be a short wind-down

       4   period.

       5              THE COURT:    But hasn't your client's argument been

       6   this past several weeks that Mr. Seery is moving too fast,

       7   he's wanting to sell things and he needs to hold them longer?

       8   I mean, these two argument seem inconsistent to me.

       9              MR. TAYLOR:    So, just because a Chapter 7 trustee has

      10   been appointed doesn't mean that he has to sell them any

      11   faster than Mr. Seery.

      12        I think what the -- the problem with the process that has

      13   been going on with Mr. Seery, my client's problem with it, is

      14   not necessarily the timing but the process that Mr. Seery is

      15   going through with these sales.      Provide notice, allow more

      16   bidders to come in, make sure that he's getting the highest

      17   and best price.    And if that happens to be Mr. Dondero who

      18   offers the highest and best price, great.       And if Mr. Dondero

      19   gets outbid by somebody, well, that's all the more better for

      20   the estate.

      21              THE COURT:    Okay.   Continue your argument.

      22              MR. TAYLOR:    I believe we covered a lot of it, Your

      23   Honor, and the plan analysis is all based upon their

      24   assumptions that there's $257 million worth of value.         Again,

      25   there's no rollup provided as to how that asset allocation is




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       1   broken out, but they consist of a couple of items.

       2          First, there's the notes; and second, there's the assets.

       3   The notes are either long-term or demand notes.       Those long-

       4   term notes, Mr. Seery will tell you some have been validly

       5   accelerated and therefore are now due and payable.        I think

       6   there's arguments to the contrary.      But those long-term notes

       7   probably have some both time value of money and collection

       8   costs.    And then, of course, you have to discount them by

       9   collectability issues, too.

      10          I don't believe any analysis went into it, or at least the

      11   Court was not provided any data or analysis as to what

      12   discounts were applied to those notes.      And, therefore, I

      13   don't think that this Court can make any determination that

      14   the best interests of the creditors have been met.

      15          As far as the assets that are to be monetized, again,

      16   there's two sub-buckets of those assets.       There's securities

      17   that are to be sold.     Some of those are semi-public securities

      18   that have markets.    Those are somewhat more readily

      19   ascertained.    The others are holdings in private equity

      20   companies, and sometimes holdings in companies that own other

      21   companies.

      22          There's no evidence of the value -- empirical evidence of

      23   the value of those companies, nor of the assumptions that went

      24   into as to when they should be sold, how much they'd be sold

      25   for.




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       1        Again, I do realize the sensitive nature of such

       2   information, but that could have been placed under seal.            And

       3   without that information, I don't believe that the Court can

       4   conduct the due diligence it's necessary to say the best

       5   interest of the creditors have been met.

       6        To sum up, Your Honor -- oh, I'm sorry.      One other point

       7   that I did want to talk about before I summed up is, you know,

       8   Mr. Pomerantz and I were listening to a different record or I

       9   was totally confused as to the testimony that was put forth

      10   regarding the directors and officers.      I believe the testimony

      11   in the record is extremely clear that the Debtor made no

      12   effort to go out and find out if it could obtain directors and

      13   officers insurance without a gatekeeping injunction or a

      14   channeling injunction, whatever you want to call it.          I

      15   believe that his testimony was extremely clear.       He didn't

      16   shop it.   He doesn't know.    And that's what the record is

      17   before this Court.

      18        To the extent that the Debtor wants to rely upon we can't

      19   get Debtor -- or, directors and officers insurance because

      20   without this gatekeeping function we just can't get it, I

      21   believe the record just wholly does not support that.         The

      22   testimony was at least extremely clear, as how I heard it.

      23   Your Honor will have to review the record herself, but I don't

      24   believe that there was much argument about it.

      25        I'm sure -- as I stated in the beginning, Your Honor, this




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       1   is a court of equity.     It could deny confirmation, as I

       2   believe Your Honor should, based upon the flaws in the plan.

       3        If Your Honor finds that the plan as written is

       4   impermissible because of any of the exculpation or the

       5   gatekeeping functions that they're asking, the testimony is

       6   equally clear that the independent directors would not serve

       7   in -- as officers of the Reorganized Debtor.       Any plan that is

       8   put forth by the Debtor has to tell the people who are going

       9   to be officers going forward.      And with that naked testimony

      10   before the Court, that it's simply not feasible, and I don't

      11   think it is one of the possible -- where the Court can come

      12   back and say, well, I can't confirm this plan as written, but

      13   if you change it and rewrite it to get rid of the certain

      14   offensive parts of the exculpation or the gatekeeping

      15   functions, then we can confirm this plan.       And I think the

      16   evidence before this Court is it's not feasible because none

      17   of the directors will serve in that capacity, and therefore

      18   this plan should be dead on arrival if Your Honor agrees the

      19   proposed provisions do not meet Pacific Lumber.

      20        We would ask the Court to deny confirmation, but in the

      21   alternative, to at least take this under advisement.          Give us

      22   a time frame -- we'd ask for 30 days -- but give us a time

      23   frame of when the Court is going to rule, to allow the

      24   positive conversations to move forward.

      25        To that end, Your Honor, there is, indeed, a hearing on




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       1   the extension of a temporary injunction and contempt that is

       2   scheduled for Friday.     I understand that the parties, at least

       3   the joint parties, will not -- will agree to, I'm sorry, will

       4   agree to the extension of the temporary injunction until such

       5   time as the Court can rule on confirmation.        I do see that

       6   there could be a lot of harm done at the Friday hearing.          We

       7   would ask that the Court additionally continue that hearing on

       8   that motion and on the injunction, and contempt, until such

       9   time as confirmation has been ruled upon.      It will be both

      10   efficient and allow discussions to continue regarding

      11   potential global resolution.

      12          And so that is the end of my argument, Your Honor.

      13               THE COURT:   All right.   Thank you.   All right.    Mr.

      14   Pomerantz, do you have any rebuttal?

      15            REBUTTAL CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      16               MR. POMERANTZ:   Yes, I do, Your Honor.    I want to

      17   address a couple of comments that Mr. Taylor made towards the

      18   end.    First of all -- and, actually, the beginning.

      19          We think Your Honor should rule on confirmation.       Ruling

      20   on confirmation and having an entered confirmation order are

      21   two separate things.     We understand that a new offer was made.

      22   Whether that's acceptable to the Committee -- I actually think

      23   it will enhance the ability of the parties to see if they

      24   could reach a deal if there's (audio gap) that Your Honor is

      25   going to confirm the plan.




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       1        Again, doesn't mean a confirmation order has to be

       2   entered, but I think, based upon my personal experience in

       3   negotiating with Mr. Dondero, that your clear communication to

       4   the parties that, unless something happens, you will enter a

       5   confirmation order, I think will change things.        Okay?

       6   Without getting into settlement discussions, things have

       7   changed over the last several days, and we wish you would have

       8   -- wish things would have happened sooner.       But we totally

       9   disagree that Your Honor should hold your ruling for 30 days

      10   or any other period of time.

      11        Part of the reason I think they are making that argument

      12   is because they have an examiner motion and they recognize

      13   that, upon confirmation, the examiner motion is moot.          So I

      14   think there's strategic reasons as well.

      15        We don't think there should be a continuance of the TRO

      16   hearing and of the contempt hearing.      As Your Honor recalls,

      17   the contempt motion was specifically set for this time to give

      18   Mr. Dondero enough time to prepare.      Your Honor was sensitive

      19   to his due process concerns.      We set the TRO, the preliminary

      20   injunction hearing against the Advisors and the Funds, we set

      21   that, again, knowing that it would be after confirmation.

      22        So we do not agree that either should be continued.

      23   Again, we think the more direct, unequivocal answers Your

      24   Honor can give to the parties, the better off we'll be.

      25        I guess -- Mr. Taylor and I do agree that the record was




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       1   clear.   I guess we just disagree on the clarity of it.         I

       2   heard Mr. Tauber testify that when he went out to people, to

       3   insurance carriers, after he and Aon were engaged, they all

       4   talked about a Dondero exclusion.      Okay?    They weren't

       5   convinced into a gatekeeper provision because it was provided

       6   as part of the normal materials you would provide in a

       7   bankruptcy court and trying to get D&O liability in the

       8   context of a bankruptcy case.      Mr. Tauber's testimony was

       9   pretty clear, that carriers wanted to have a Dondero

      10   exclusion.    And, in fact, the only reason we were able to get

      11   any coverage was because of the gatekeeper.

      12        So, yes, the record was clear.      We just disagree.

      13        I'd like to go back to Mr. Draper's comments going -- and

      14   a couple of things, obviously, overlap.        I guess one of the

      15   things here, it's great that everyone is coming in here as

      16   different interests and different parties or whatnot.          But as

      17   I mentioned, Your Honor, at the outset, and I've repeated a

      18   few times, these are all -- the only people we have not been

      19   able to resolve issues with are the Dondero parties and the

      20   related parties.    And I recall the tentacles.      Mr. Davor

      21   questioned that.    Mr. Clemente, his comments.      But the fact of

      22   the matter is, Your Honor, Your Honor has heard testimony.

      23   Your Honor has had hearings.      Mr. Rukavina represents the

      24   Advisors and the Funds.     Your Honor has never seen the

      25   independent board member testify in this case to demonstrate




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       1   how these entities are really different.       So while Mr.

       2   Rukavina does -- you know, tries his best, and I think he has

       3   limited stuff to work with, but I give him credit for doing

       4   the best he can, these are all Dondero-related entities and

       5   Your Honor has seen that.

       6        So, Your Honor, going to the resolicitation argument, it

       7   actually has taken up a lot more time than the argument is

       8   worth, for one very simple reason.      As I said in my argument,

       9   and as Mr. Taylor and Mr. Draper totally ignored, there were

      10   17 creditors who voted yes, 17 creditors who were apparently

      11   misled, that Mr. Draper is looking out for the little guy and

      12   Mr. Taylor is fumbling over his reason for why that's

      13   important to Dondero.     And of those 17 creditors that voted

      14   yes, Your Honor, they were either the employees related to

      15   HarbourVest, UBS, Redeemer, or Acis, except for two.          And you

      16   know the other two?     One was Contrarian, a claim buyer, who,

      17   yeah, elected to be in Class 7, and the other was an employee

      18   with a dollar claim.

      19        So the whole argument that there should be a

      20   resolicitation is preposterous, Your Honor.       But to go to some

      21   of the specifics in what they argued, we didn't require

      22   creditors to monitor recovery.      The footnote -- as I

      23   indicated, the UBS 3018 was in the disclosure statement that

      24   went out.    It didn't make it to the projections.      It was

      25   clearly -- and they characterize it, I think Mr. Draper




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       1   characterized it as buried in the document.       There is a

       2   section that every disclosure statement is required to have

       3   called Risk Factors.    This disclosure statement had that.        And

       4   in the disclosure statement, it talked about the amount of

       5   claims being a risk factor.

       6        Mr. Draper also said that the Debtor totally changed its

       7   business model from the first to the second analysis.         That is

       8   incorrect.    The Debtor was always going to manage funds.        Yes,

       9   did they add the CLOs?     But before, they were going to manage

      10   Multi-Strat, they were going to manage Restoration Capital,

      11   they were going to oversee Korea, they were going to be doing

      12   the management of the funds.     So there wasn't a big change in

      13   the business model, Your Honor.

      14        Mr. Taylor, on the solicitation issue, says we found $67

      15   million in assets.    You know, that's a disingenuous statement.

      16   I think over $20 million was found because his client and

      17   related entities didn't make a payment on notes and they got

      18   accelerated.    So while before we would have had to wait over

      19   time if they were paid, it's not surprising that Mr. Dondero

      20   and his related entities just failed to basically pay the

      21   notes.

      22        So that was, I think, over $20 million.      And then there

      23   was the HCLOF asset.    That was acquired in the HarbourVest

      24   settlement.    And then there was basically an increase in some

      25   value to some assets.




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       1        So there wasn't anything mysterious here.       There wasn't

       2   anything that the Debtor was trying to hide.       There weren't

       3   any found assets.    It was based upon different circumstances.

       4        Mr. Taylor complains about the lack of rollup of assets,

       5   the lack of evidence on the best interests of creditors test.

       6   Your Honor, you've had extensive testimony from Mr. Seery

       7   about what would happen in a Chapter 7 and what would happen

       8   in a Chapter 11.    And you know why we didn't provide the

       9   information to Mr. Taylor and his client on what the rollup of

      10   the assets would be, and do you know why he wants them?         He

      11   wants to know what the assets are so he can try to bid.

      12        And there also was the allegation that the failure to

      13   allow them to bid means we're going to get less in a Chapter

      14   11 than a 7.    Two comments to that, Your Honor.      Number one,

      15   if that was the case, a debtor would never be able to satisfy

      16   the best interests of creditors test.      If the existence of a

      17   public process de facto meant you would get more value than

      18   outside, you would never be able to satisfy that.        And, quite

      19   honestly, that's just not the law, Your Honor.

      20        You have an Oversight Committee with over $200 million of

      21   creditors who are going to watch Mr. Seery like a hawk, like

      22   they have watched him during the case.       And the concern that

      23   somehow, because these assets are not put into full view to

      24   sell, that they will get less value, it's just not -- it's not

      25   supported by the evidence at all, Your Honor.       And Mr. Seery




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       1   will make the determination.      If it makes sense to notice up

       2   and provide Mr. Dondero with notice, he will.       If he doesn't,

       3   he won't.

       4        Your Honor, going -- oh, and then the last comment on the

       5   -- that I'll make on the resolicitation and the liquidation

       6   analysis is Mr. Taylor chides us and we've been criticized for

       7   not disclosing more about the HarbourVest and the UBS

       8   settlements and that we were off substantially.        Your Honor,

       9   you've heard testimony that we were in pending litigation with

      10   HarbourVest and UBS at the time.      What kind of litigant would

      11   we be if we came in and said, you know, Your Honor, you know,

      12   Creditors, we think the UBS claim is going to be allowed at

      13   $60 million and we think the HarbourVest claim is going to be

      14   allowed at $30 million?     Would that really have benefited

      15   creditors and this estate, to basically, after we took the

      16   position, hard negotiations and hard pleadings that we

      17   prepared, and in some cases filed, that we didn't have any

      18   liability?    It would have made no sense, and it would have

      19   been a dereliction of our duty to actually come out and say

      20   what the claims -- the claims were, or what we thought they

      21   could be settled for.

      22        Your Honor, going back to Mr. Draper's comments.         He

      23   started with the exculpation.      First he made a comment that I

      24   don't think he intended what he said, but he said that the

      25   exculpation order, the January 9th order, cuts off when the




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       1   independent directors go away.     I think what he meant to say

       2   is that since the three people are not going to be independent

       3   directors anymore, that basically any actions going forward by

       4   any of those three are not covered.      But let's be clear.         The

       5   January 9th order is in effect, and if at some point in the

       6   future somebody has a claim against those three gentleman, or

       7   their agents, for what they did as independent directors or

       8   their agents, that order will apply.

       9        Your Honor, we next had a discussion, or Mr. Draper and

      10   you had a discussion on professionals.      I'm aware of the Fifth

      11   Circuit law that says res judicata, fee applications.          I think

      12   that only applies to claims that the Debtor and estate would

      13   have.   It doesn't really apply to an exculpation.      But there's

      14   Texas state law that I identified in our brief and we cited to

      15   that limits third parties' ability to go after professionals.

      16        But the bottom line is the Fifth Circuit, in Pacific

      17   Lumber, didn't deal with professionals.      Your Honor was

      18   correct in pushing both Mr. Taylor and Mr. Rukavina.          What

      19   really that was was a policy case.      And professionals have

      20   nothing to do with 524(e).     So the Palco and the Pacific

      21   Lumber reference and explanation of 524(e) doesn't have

      22   anything to do with professionals.      And we would submit, Your

      23   Honor, that an exculpation, especially in a case like this, is

      24   important for professionals.

      25        I understand Your Honor's comments that maybe it's much




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       1   ado about nothing, but I'm not really sure it's much ado about

       2   nothing when we have Mr. Dondero and his affiliates who,

       3   notwithstanding their efforts to just claim that all they are

       4   doing is trying to get a fair shake, Your Honor knows better.

       5   Your Honor knows better from the years you've been litigating

       6   with them, and we know better and the Debtor knows better from

       7   what the independent directors have been dealing with.

       8               THE COURT:   Let me ask you this, though.     I came into

       9   the hearing with the impression we were just talking about

      10   postpetition pre-confirmation, or pre-effective date maybe I

      11   should say, was the expanse of time covered by exculpation.

      12   And Mr. Rukavina said no, no, no, go back, look at, I don't

      13   know, Subsection 4 of something.      It is a post-confirmation

      14   concept.    What is your response to that?

      15               MR. POMERANTZ:   I believe it's implementation.      And,

      16   again, --

      17               THE COURT:   Implementation?   Yes.

      18               MR. POMERANTZ:   -- I think Mr. Rukavina -- right.        I

      19   think Mr. Rukavina and Mr. Taylor and Mr. Draper have done a

      20   great job trying to muddy the issues.      They talk about our

      21   sleight of hand and how we're trying to do things that are way

      22   beyond the bankruptcy court's jurisdiction.       We are not.     I

      23   think they are trying -- what they have done throughout the

      24   case is throw up enough mud.     And here's, here's the answer to

      25   that question, Your Honor.     Implementation.    Okay?   We know




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       1   what implementation means.     The plan says implementation is

       2   cancelation of the equity interests, creation of new general

       3   partners, restatement of the limited partners, establishment

       4   of the Claimant Trust and Litigation Sub-Trust.       That's the

       5   implementation.

       6          We are not trying to get exculpation for post-confirmation

       7   activity.    Actually, my partner, Mr. Kharasch, in specifically

       8   addressing Mr. Rukavina's concern, said, look, if you have a

       9   problem with cause, if you have a problem, want to exercise

      10   your rights, we're only asking you to come back to the Court.

      11   We are not stopping you.

      12          So the whole argument that the exculpation is really broad

      13   and is not really -- does not really cover just the plan, the

      14   approved plan, I think is a red herring.       Implementation is

      15   implementation in the context of the plan.

      16          And also Mr. Rukavina tries to argue that, well, it's

      17   administration, it's not really you acting any operation of

      18   business.    I just don't think there's any support in the case

      19   law.    Your Honor has overseen this case, overseen this

      20   Debtor's activities, overseen the independent directors'

      21   activities, overseen Strand's activities, overseen the

      22   employees' activities.     And those activities have been

      23   (indecipherable) administration of the case.       And his attempt

      24   to create a different category for, well, it's not

      25   administration, it's operation and so it doesn't apply, I just




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       1   think is wrong.

       2         Your Honor made a couple of comments about what was

       3   Pacific Lumber doing.    It was a policy decision.     If there was

       4   a bright-line rule, then nobody would be entitled to

       5   exculpation.   The very fact that the Fifth Circuit said that

       6   Committee members are different made -- makes it clear it was

       7   -- it was policy.

       8         And Mr. Taylor's comments that, well, their creation of

       9   statute, Chapter 11 trustees and Committee members, that's not

      10   what basically the case said.     If you look at the citation to

      11   touters in the case, it was we want people to volunteer and

      12   who are needed for the process.     Committee members are needed

      13   for the process.    We don't want to discourage them from coming

      14   in.   And the only testimony you have on the independent

      15   directors is from Mr. Dubel, and he testified the importance

      16   of independent directors to modern-day Chapter 11 practice,

      17   the importance of exculpation, indemnification, and D&O

      18   insurance.   And his testimony:    uncontroverted.    The Objectors

      19   could have brought in someone to say something different, but

      20   the only testimony before Your Honor is, if Your Honor does

      21   not approve exculpations in cases like this, you will not get

      22   independent directors and it will have an adverse effect on

      23   the Chapter 11 process.

      24         So, while I appreciate all the Objectors trying to say

      25   bright line, trying to say Pacific Lumber, that is the gut




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       1   reaction, right?    That's -- it's easy to say.     But Your Honor

       2   will know better, from reading the cases, that's not what

       3   Pacific Lumber says.     And for the several reasons I gave, it's

       4   the reason why Pacific Lumber does not govern the decision in

       5   this case.

       6        Your Honor, Mr. Draper then started to talk about Craig.

       7   And everyone cites Craig as this, you know, limiting

       8   jurisdiction.    Now, we acknowledge that Craig and the Fifth

       9   Circuit has a more limited post-confirmation jurisdiction

      10   approach than the other Circuits, but it's not nonexistent.

      11   And just because the Debtor is going out post-confirmation and

      12   acting does not mean that the conduct that they are engaging

      13   in is not -- and disputes that arise, doesn't come within the

      14   Court's jurisdiction.     If that was the case, and I think Your

      15   Honor recognized this, in your case it was the TXMS case,

      16   while it's limited, more limited after confirmation, and I

      17   think you even, in the case -- or, in one case of yours, said

      18   that even after the case is closed there could be

      19   jurisdiction.    So their just trying to argue Craig is just --

      20   is just too much.

      21        Going out of the gatekeeper, Mr. Draper tried to say we

      22   are Barton, and that's it, and Barton has its limitations, et

      23   cetera.   First of all, with respect to Barton, it is not

      24   limited and doesn't include debtors-in-possession.        We have

      25   cited cases in our materials where it has been applied to




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       1   debtors-in-possession.

       2        So, you know, look, maybe this is a provision -- this is a

       3   proposition like many in bankruptcy, you could find a

       4   bankruptcy court to agree with a proposition, but there's

       5   cases all over the place on that.      There's cases applying to

       6   post-confirmation.    The trend has been to expand Barton.        But

       7   the beauty of it is, Your Honor, you don't have to rely on

       8   Barton.    Barton was one of our arguments.     We gave Barton as,

       9   you know, somewhat of an analogy but somehow applying because

      10   in the -- because the independent directors were like the

      11   trustees.

      12        But we recognize it may be going farther than Barton has

      13   previously gone.    But the case law is clear, it is being

      14   extended.   But we -- I gave you several provisions of the

      15   Bankruptcy Code that authorized you to enter a gatekeeper

      16   order.    None of the Objectors objected on any of those

      17   grounds.    They didn't say the statutes that I cited.        And it

      18   wasn't only 105, I know bankruptcy practitioners love to cite

      19   105, but there were three or four others that I mentioned, and

      20   they're in our brief.     There's no case that they cited that

      21   said that there is no authority on the gatekeeper.

      22        But what was the argument that was raised?       And I think

      23   Mr. Rukavina raised it, saying, you know, look, I don't

      24   understand the argument of no jurisdiction, of jurisdiction

      25   for a gatekeeper but no jurisdiction for underlying cause of




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       1   action.   Well, Mr. Rukavina should read and Your Honor should

       2   read, when you're considering the plan, the case, the Villegas

       3   case in the Fifth Circuit as it dealt with Stern.        That was

       4   particularly a case.     Does Barton -- is Barton impacted from

       5   Stern?    By Stern?   And Stern, we know, limits the bankruptcy

       6   court's jurisdiction.     But, no, the Fifth Circuit said, in

       7   that case, no.    Even though the bankruptcy court's

       8   jurisdiction is limited to hear the claim, there is nothing

       9   inconsistent with that and allowing the bankruptcy court to

      10   act as a gatekeeper.

      11        So Mr. Rukavina's argument that, well, he'll present to

      12   you that there's cause and you'll find there's no cause and

      13   then he will be without a remedy by someone that had

      14   jurisdiction, that really sounds good but it just doesn't

      15   withstand analytic scrutiny.      There is a distinction.     They

      16   are glossing over the distinction.      They don't like the

      17   distinction.

      18        And why is that distinction -- and why is it important in

      19   this case?    Again, we're not talking about garden-variety

      20   people who are just involved with a debtor and will get caught

      21   up in a bankruptcy.     We narrowly tailored the gatekeeper to

      22   enjoined parties.     Enjoined parties are the people before Your

      23   Honor, some of the people that have made the Debtor's life

      24   miserable over the last few months.

      25        We have every interest and desire, as does the Committee,




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       1   to go out post-confirmation and monetize these assets.         But we

       2   see the clouds on the horizon.     We see all the pleadings that

       3   have been filed by the Objectors saying how, if there's no

       4   deal, there will be an unending amount of costs and appeals.

       5   It's, you know, the point, not too subtle.       It wasn't lost on

       6   us.

       7          Your Honor, going to Mr. Rukavina's arguments on Class 8

       8   cram down, again, it's really a hard argument to understand,

       9   but first I want to make a point.      He sort of mentioned -- and

      10   I'm not sure if he intends to preserve this on appeal, but it

      11   was not objected to and I'll ask for a ruling on it, Your

      12   Honor -- he said that there was inappropriate separate

      13   classification.    That was not raised in any of the objections.

      14   We don't think it was properly before the Court.       We

      15   understand there's a component of that in unfair

      16   discrimination in connection with a cram down, but there is no

      17   objection, there was no filed objection, to the separate

      18   classification of the deficiency claims and the Class 8

      19   unsecured claims.

      20          And if you look at the voting, you realize it wasn't done

      21   for gerrymandering, because if you put both claims together,

      22   both classes together, you would have had one class that voted

      23   yes.

      24          So I don't believe the separate classification under the

      25   1129 standards is appropriate for Your Honor to consider,




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       1   other than in connection with the cram down.

       2        Now, Mr. Rukavina complains that the only way the

       3   convenience class was decided was by way of negotiation.         Your

       4   Honor, how else do provisions like that get decided?          And who

       5   was the negotiation between?      It was between the Committee.

       6   And one of the benefits of a Committee process, and I

       7   represent a lot of Committees, you put people in a Committee

       8   that have diverse interests and they can come up with an

       9   appropriate result.     And here you have that.    You had one

      10   creditor who was a convenience creditor.       You have three other

      11   creditors who would lose liquidity if convenience payments are

      12   made.

      13        Do you think that UBS, Acis and Redeemer, do you think

      14   they had a desire just to pay people off?       No.   It was part of

      15   a collaborative process.     So to say that there was no basis

      16   and no testimony on the appropriateness to have -- and how the

      17   convenience class was put together just would be wrong.

      18        And with respect to the absolute priority rule, Your

      19   Honor, again, there's a missing link here, okay?        These are

      20   contingent interests.     They are property.    No doubt they are

      21   property.    But if I did not allow those creditors or those

      22   equity to have a contingent interest, the argument would have

      23   been made that the plan violates the absolute priority rule.

      24   And I said that in my argument.      And why would it have

      25   violated the absolute priority rule?      Because there's a




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       1   potential that creditors could get over a hundred cents on the

       2   dollar, plus interest.     So it's a game of gotcha, right?

       3        And why do they really care?     Mr. Dugaboy said in his --

       4   Mr. Draper said in his brief that Dugaboy cares because they

       5   may have wanted to buy the interest.      Well, I'm sure they can

       6   go to Hunter Mountain, you know, Mr. Dondero's left hand can

       7   go to his right hand, and I'm sure he'd be happy to sell the

       8   contingent interests.

       9        And with respect to the argument that Mr. Rukavina made

      10   about control, equity be in control, yeah, control is a right.

      11   No doubt.   You've got -- if you're giving control to the post-

      12   confirmation Debtor, that could be a right and implicate the

      13   absolute priority rule.     But what is the control here?      Equity

      14   is not given any rights.     Your Honor heard how the post-

      15   confirmation entity is structured.      It's going to be Mr.

      16   Seery, overseen by an Oversight Board.      So I really don't

      17   understand the concept of control.      There just is no violation

      18   of the absolute priority rule.

      19        Your Honor, Mr. Rukavina then took us to task for 2000 --

      20   or, for not filing the 2015.3 statement.      And if you take his

      21   argument to the logical conclusion -- well, we didn't file it,

      22   we didn't comply with that Rule, so we're not in compliance

      23   with the Bankruptcy Code, so we can never basically get our

      24   plan confirmed, right, because it's a violation and we didn't

      25   file and seek an extension.




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       1        That's just a preposterous argument, Your Honor.         Mr.

       2   Seery poignantly told the Court, in the rush of things that

       3   were going on, it wasn't filed.        Did Mr. Rukavina, before

       4   yesterday, having Mr. Dubel on the stand, did he ever ask

       5   where is our 2015.3 report?        He probably didn't ask it because

       6   the answer -- when I told him the reason why it wasn't filed

       7   before January 9 was because I don't think Mr. Dondero wanted

       8   it filed, and I think that's why, as Mr. Seery testified, we

       9   were having a challenging time getting that information from

      10   the in-house -- in-house.

      11        But, yes, should it have been filed?       Yes.   But if that is

      12   all they could point to through the course of the case that

      13   Mr. Seery or Mr. -- or the rest of the board did wrong, you

      14   know, I think that just demonstrates they did a fine job.

      15              THE COURT:   All right.

      16              MR. POMERANTZ:    Your Honor?

      17              THE COURT:   You've got four minutes left.

      18              MR. POMERANTZ:    Oh.    Okay.   Your Honor, going to Mr.

      19   Rukavina and the Strand argument that it's a nondebtor entity,

      20   as I explained in my argument, the Strand -- Strand needs to

      21   get exculpation or else that's a backdoor way to the Debtor.

      22   Forget about the independent directors, it's a backdoor way to

      23   the Debtor.    Because Mr. Dondero will be in control.        If

      24   Strand is sued for post-January 9th activities, he will assert

      25   an administrative claim.     And one thing from Pacific Lumber is




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       1   clear, the Debtor is entitled to an exculpation as part of the

       2   injunction and the -- and the discharge.

       3        Your Honor, Mr. Kharasch adequately addressed Mr.

       4   Rukavina's comments with the gatekeeper and the gatekeeper

       5   problem.   We are not seeking to stop his clients, however

       6   related they may be, from exercising their rights.        We are

       7   seeking a process that will not embroil the Debtor in

       8   litigation going forward.        There is no problem with Your Honor

       9   acting as the gatekeeper to do so.        And to the extent that

      10   they are bound by the January 9th order is not really an issue

      11   for today.    That'll be an issue at the temporary -- the

      12   temporary -- at the preliminary injunction hearing.

      13        I -- just one minute, Your Honor.

      14        (Pause.)

      15              MR. POMERANTZ:   Your Honor, I think I covered a lot.

      16   If there's anything that any of the Objectors have mentioned

      17   that I failed to respond to, I'd be happy to answer questions

      18   Your Honor has.

      19              THE COURT:    All right.    I guess there's, what, about

      20   two minutes left, if Mr. Clemente had anything.

      21        Mr. Clemente, have you drifted off?       I doubt it.    But

      22   anything else from you, Mr. Clemente?

      23              MR. TAYLOR:    Your Honor, I show him talking -- this

      24   is Clay Taylor -- but no one's hearing him.

      25              THE COURT:    Okay.    Mr. Clemente, we are not hearing




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       1   you, or I'm not seeing you.      Make sure you're not on mute.

       2               THE CLERK:   He's not on mute, Judge.

       3               THE COURT:   He's not on mute?   So we must have a

       4   bandwidth issue or something else.

       5        All right.   Mr. Clemente, still not hearing or seeing you.

       6   We'll give him another 30 seconds.

       7               THE CLERK:   He's coming up.

       8               THE COURT:   He's coming up?   Ah, I see his name now.

       9               MR. CLEMENTE:   Your Honor, can you hear me?

      10               THE COURT:   I can hear you now.

      11               MR. CLEMENTE:   Okay, Your Honor.      I don't know what

      12   happened.    I just switched another camera, so you may not be

      13   able to see me, but can you hear me?       I'll be very quick.

      14               THE COURT:   Okay.   I can hear you.

      15               MR. CLEMENTE:   Can you hear me?

      16               THE COURT:   Yes.

      17               MR. CLEMENTE:   Okay.   Thank you, Your Honor.

      18   CLOSING ARGUMENT ON BEHALF OF THE UNSECURED CREDITORS' COMMITTEE

      19               MR. CLEMENTE:   Two things I want to say.     First, just

      20   on Class 8, I think what's important, as my comments

      21   emphasized earlier, the structure of Class 8.         We must

      22   remember what it is.     It's really designed so that Class 8

      23   holders receive their pro rata share of what's left after

      24   prior claims are paid.      That's really what Class 8 creditors

      25   voted on.    That's what the disclosure provided.       They did not




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       1   vote on receiving a specific dollar or a specific recovery

       2   percentage.

       3        And regarding the projections and estimates, Your Honor,

       4   we're talking about large litigation claims that were asserted

       5   and then settled.    And given the nature of these assets, the

       6   values fluctuate.    It's perfectly expected, Your Honor, and

       7   indeed disclosed, that there could be wide swings in the

       8   amount of claims.    That does not lead to the conclusion that

       9   the plan needs to be resolicited.

      10        And then, finally, Your Honor, again, Mr. Pomerantz

      11   adequately addressed all the points, as he did with his

      12   earlier presentation, so I'm not going to touch on them, but I

      13   did want to respond to one thing that Mr. Taylor said.         And I,

      14   of course, agree with Mr. Pomerantz.      The Committee believes

      15   there's no reason for you to delay a ruling and would in fact

      16   urge you to rule as soon as Your Honor is ready to rule.

      17   Confirmation of the plan, to the extent that there are

      18   conversations occurring, is not going to prevent those

      19   conversations from taking place, and they can continue after

      20   the plan is confirmed.     There's simply nothing inherent in

      21   Your Honor confirming the plan that would prevent those

      22   conversations from occurring or would ultimately prevent

      23   parties from pivoting to a deal on the off-chance that one

      24   should be reached.

      25        So I just wanted to emphasize, Your Honor, again, Your




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       1   Honor is going to rule when Your Honor rules, but the

       2   Committee would urge you to rule, and certainly the idea that

       3   there may or may not be discussions with Mr. Dondero should

       4   not at all in any way lead you to the conclusion that you

       5   shouldn't rule or that those conversations cannot continue

       6   after plan confirmation.

       7        Thank you, Your Honor.       Unless you have questions for me.

       8   And my apologies with the technology.

       9              THE COURT:    No problem.    All right.    Here's what I'm

      10   going to do.    We can see you now, Mr. Clemente.

      11              MR. CLEMENTE:    Oh.    I'm sorry, Your Honor.     I

      12   switched to another camera again because it wasn't working.

      13   So, I apologize.

      14              THE COURT:    All right.    I am going to call you back

      15   Monday.   What day of the week will that be?         Is that -- I

      16   mean, Monday, what date, I should say.       That'll be the 8th,

      17   right?    I am going to call you back Monday, this coming

      18   Monday, February 8th, at 9:30 Central time, and I am going to

      19   give you my ruling.     It will be a detailed oral bench ruling.

      20   And I'm not going to leave you hanging on the edge of your

      21   seat over the next few days.       I will tell you I'm inclined to

      22   confirm this plan.      I think it meets all of the requirements

      23   of 1129 and 1123 and 1122.

      24        The thing that I am going to spend some time thinking

      25   about between now and Monday morning is, no surprise, the




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       1   propriety of the exculpations, the propriety of the plan

       2   injunctions, the propriety of the gatekeeper provisions.           I

       3   certainly am duty-bound to go back and reread Pacific Lumber,

       4   to go back and read Thru, Inc., and to really think hard about

       5   what is happening here.

       6        So, I'm pretty much down, I think, to just those three

       7   issues here.    I'll talk to my law clerk.     He may remind me of

       8   something else that I'm not articulating right now.           But I

       9   think I'm just down to those issues.      Okay?   So it's not going

      10   to be a mystery very long.      We will come back Monday, 9:30.

      11   My courtroom deputy will post on the docket the WebEx

      12   connection instructions as usual, and we'll go from there.

      13   Now, --

      14              MR. POMERANTZ:   Your Honor?    Your Honor, this is Jeff

      15   Pomerantz.    I have a question, and it's going to sound odd

      16   coming from someone on the West Coast, but I was wondering if

      17   you could do it earlier.     And the only reason I say that is,

      18   the night before, I have to call in to see if I'm on jury duty

      19   on Monday, and it would be helpful to me -- I assume your

      20   reading the ruling would be within a half hour, 45 minutes.

      21   That if you started at 9:00, if that was possible, I could

      22   then get in a car, and if I'm actually called to jury duty, I

      23   can get there.    Of course, I don't know if I will be called,

      24   but I'd hate to miss it.

      25              THE COURT:   Okay.   Well, I don't want to make you




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       1   miss jury duty.    Okay.    We will do 9:00 o'clock.

       2              MR. POMERANTZ:    Thank you, Your Honor.

       3              THE COURT:   Hopefully no one will be, you know, hung

       4   over from watching the Super Bowl.      Personally, I don't like

       5   Tom Brady, so I may be boycotting the Super Bowl.        But maybe

       6   I'll watch it.    Maybe I'll -- I'll watch it.     So we'll do it

       7   9:00 o'clock.    So 9:00 o'clock next Monday.

       8        Now, let's talk about next the currently-set hearing this

       9   Friday, February 5th, on the injunction and contempt of court

      10   motion as to Mr. Dondero and the other entities.        I want to

      11   continue that, and here is what I am struggling with.          The

      12   only day I have next week is Friday, the 12th, and I would

      13   rather not use that date because I'm pretty jam-packed Monday

      14   through Thursday, unless stuff has been settled that I haven't

      15   become aware of.    So let me ask two things.     First, when is

      16   the examiner motion set?      I'm just wondering if there's a

      17   block of time we have coming up that --

      18              MR. POMERANTZ:    I believe that's March 2nd, Your

      19   Honor, so that's not for another month.

      20              THE COURT:   Oh, that's not for another month?        All

      21   right.

      22        Traci, are you on the line?     I want to ask you --

      23              THE CLERK:   Yes, I am.

      24              THE COURT:   What about the following week?        I know

      25   Monday, the 15th, is a federal holiday, but do we have




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       1   availability for -- I fear a full day is going to be needed

       2   for continuing this Friday setting.

       3              THE CLERK:    Wednesday, February 17th, is available.

       4              THE COURT:    We've got all day on Wednesday, February

       5   17th?

       6              THE CLERK:    Yes.

       7              THE COURT:    All right.   What about that?   I think I

       8   heard Mr. Rukavina, I think he's the one who threw it out

       9   there -- or maybe it was Mr. Taylor; I'm getting mixed up --

      10   the possibility that they would agree to a continuation of the

      11   preliminary injunction through -- well, I think you said

      12   through confirmation.      Until the Court enters a confirmation

      13   order.   And if I were to rule and approve confirmation Monday,

      14   then we're talking about an order that might be entered sooner

      15   than the 17th.    So, do you all have any --

      16              MR. RUKAVINA:    Your Honor?

      17              THE COURT:    -- mutually-agreeable suggestions?     If

      18   not, I'm just going to set it the 12th and I'll, you know, I'm

      19   killing myself, but I'll --

      20              MR. TAYLOR:     Your Honor?

      21              MR. RUKAVINA:    No, Your Honor.    I think Your Honor is

      22   wise to do what's she's proposing.        The agreed TRO against my

      23   clients expires on the 15th of February.

      24              THE COURT:    Uh-huh.

      25              MR. RUKAVINA:    We can easily move that back a week or




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       1   a sufficient amount of time so that there's no prejudice by

       2   going on the 17th, if that would be acceptable to the Debtor,

       3   and then we can just pick a date that's sufficiently after the

       4   PI hearing so that there's protection for everyone.

       5              THE COURT:    All right.    Mr. Taylor, do you agree?

       6              MR. TAYLOR:    Yes, Your Honor.    That is acceptable to

       7   Mr. Dondero.

       8              THE COURT:    Okay.

       9              MR. TAYLOR:    We can also push it back.    Can you hear

      10   me?

      11              THE COURT:    Yes, I can.    Uh-huh.

      12              MR. TAYLOR:    Okay.

      13              THE COURT:    All right.

      14              MR. POMERANTZ:    I just want to make -- I just want to

      15   make sure Mr. Morris, John Morris, is on, since he's taking

      16   the lead in those matters.        I don't see his picture.

      17              MR. MORRIS:    I am, Jeff, and I appreciate that.        I'm

      18   available, Your Honor.      We were supposed to take the

      19   depositions of Mr. Leventon and Mr. Ellington tomorrow.         I

      20   don't know if their counsel is on the phone.       But given Your

      21   Honor's decision to adjourn the hearing from Friday, I would

      22   respectfully request at this time that counsel for those two

      23   individuals work with me to find a date next week in order to

      24   take those depositions.

      25              THE COURT:    All right.    That's --




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       1               MS. DANDENEAU:    Debra Dandeneau from --

       2               THE COURT:    Go ahead.

       3               MS. DANDENEAU:    This is Debra Dandeneau from Baker

       4   McKenzie.    We agree, and we're happy to work with you on a

       5   rescheduled time.

       6               MR. MORRIS:    Thank you very much.

       7               THE COURT:    All right.   All right.   So, someone had

       8   filed a motion to continue Friday's hearing.        I think it was

       9   your firm, Mr. Taylor.       I already had a motion pending for a

      10   few days now.    So I'm going to direct you to upload an order,

      11   Mr. Taylor, or someone at your firm, continuing the hearing to

      12   the 17th at 9:30, with language in there that your -- the

      13   injunction is continuing at least through that date.          And,

      14   again, it's a continuance of the motion for contempt as well

      15   as the setting on the preliminary injunction.        And, of course,

      16   run that by Mr. Morris and Mr. Rukavina.

      17               MR. TAYLOR:    Sure.   Your Honor, this is -- I'm not

      18   handling the injunction hearing, or at least I don't think I

      19   am.   But just so that I'm clear, should maybe the injunction

      20   continue through the next day or something, so depending on

      21   how Your Honor rules, there's not a rush to try and get an

      22   order to you?

      23               MR. RUKAVINA:    Your Honor, I think that Mr. Morris

      24   and I can work this out.       Mr. Taylor is not involved in that

      25   adversary, that's true, but Mr. Morris and I will be able to




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       1   very quickly enter a proposed agreed order that extends that

       2   TRO for some period of time.

       3              THE COURT:    Okay.

       4              MR. RUKAVINA:    I'm not going to be difficult.

       5              THE COURT:    Okay.   So we'll shift to you and Mr.

       6   Morris to be the scriveners.      I just -- I suggested that

       7   because I thought there was a motion to link the order to that

       8   had been filed by Bonds Ellis.      I may be --

       9              MR. MORRIS:    There was, Your Honor.    There was an

      10   emergency motion to continue.      We filed an opposition, and

      11   Your Honor has not yet ruled on that motion.        You're exactly

      12   right.

      13              THE COURT:    Okay.   All right.

      14              MR. TAYLOR:    Your Honor, this is Clay Taylor.       I will

      15   make sure the right people confer with Davor and John, and

      16   we'll get -- we'll link it to that motion, because that makes

      17   sense, to have something to link it to.

      18              THE COURT:    Okay.   Yes.    And it can be a two-

      19   paragraph order, I would think.

      20        All right.   And then so I'm going to see you Monday at

      21   9:00 o'clock Central time with the ruling.

      22        Please, don't anyone file anymore paper.       I threw that out

      23   earlier today.    I've got all the paper I need.      And I will see

      24   you Monday at 9:00 o'clock.      Okay?    We're adjourned.

      25              MR. POMERANTZ:   Thank you, Your Honor.




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       1              THE CLERK:    All rise.

       2              MR. MORRIS:    Thank you, Your Honor.

       3        (Proceedings concluded at 4:34 p.m.)

       4                                  --oOo--

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      20                                CERTIFICATE

      21         I certify that the foregoing is a correct transcript from
            the electronic sound recording of the proceedings in the
      22    above-entitled matter.
      23      /s/ Kathy Rehling                                 02/05/2021

      24    ______________________________________            ________________
            Kathy Rehling, CETD-444                               Date
      25    Certified Electronic Court Transcriber




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                                Holdings of Preference Shares1 in CLOs


              CLO                HIF                NSOF          NC      Total
       Aberdeen                  0%                 30.21%         0%    30.21%
       Brentwood                 0%                 40.06%         0%    40.06%
       Eastland                31.16%               10.53%         0%    41.69%
       Gleneagles               9.74%                8.52%         0%    18.26%
       Grayson                 49.10%               10.75%       0.63%   60.48%
       Greenbriar                0%                 53.44%         0%    53.44%
       Jasper                    0%                 17.86%         0%    17.86%
       Liberty                   0%                 10.64%         0%    10.64%
       Red River                 0%                 10.49%         0%    10.49%
       Rockwall                 6.14%               19.57%         0%    25.71%
       Rockwall II             14.56%                5.65%         0%    20.21%
       Southfork                 0%                  7.30%         0%     7.30%
       Stratford                 0%                 69.05%         0%    69.05%
       Loan Funding VII          0%                  1.83%         0%
                                                                         1.83%
       (aka Valhalla)
       Westchester                0%                44.38%        0%     44.38%




   1
       Class E Certificates for Liberty CLO, Ltd.


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     FILING      DOCKET                                                                                      DONDERO’S                        DISPOSITION OF
                                                           DOCUMENT
     DATE          NO.                                                                                       RESPONSE                       MOTION/APPLICATION
           Applications and Motions 1 filed in In re: Highland Capital Management, L.P., Case No.19-bk-34054
     FILING      DOCKET                                                                                      DONDERO’S                        DISPOSITION OF
                                                           DOCUMENT
     DATE          NO.                                                                                       RESPONSE                       MOTION/APPLICATION

    01/09/20        340        Application to employ Hayward & Associates PLLC as Attorney                   No Response                      Granted by Dkt. 435
       20

                    281        Motion to compromise controversy with Official Committee of                   No Response                      Granted by Dkt. 339
                               Unsecured Creditors, filed by Debtor Highland Capital
                               Management, L.P.)

    01/13/20        351        Motion to extend time to (Debtor's Motion for Entry of an Order               No Response                      Granted by Dkt. 459
       20                      Extending the Period Within Which It May Remove Actions
                               Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal Rules of
                               Bankruptcy Procedure)

    01/15/20        359        Agreed Motion to continue hearing on (related                                 No Response                      Granted by Dkt. 361
       20                      documents 218 Motion for relief from stay)

    01/17/20        370        Joint Motion for Continuance of Hearing on (i) Debtor's Application           No Response                      Granted by Dkt. 371
       20                      for an Order Authorizing the Employment of Foley Gardere, Foley
                               & Lardner LLP as Special Texas Counsel, Nunc Pro Tunc to the
                               Petition Date, and (ii) Debtor's Application for an Order Authorizing
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                               the Retention and Employment of Lynn Pinker Cox & Hurst LLP as
                               Special Texas Litigation Counsel, Nunc Pro Tunc to the Petition
                               Date) Filed by Debtor Highland Capital Management, L.P.

    01/23/20        389        First and Final Application for Compensation and Reimbursement                No Response                      Granted by Dkt. 458
       20                      of Expenses on behalf of Young Conaway Stargatt & Taylor, LLP
                               as Co-Counsel for Official Committee of Unsecured Creditors,
                               Creditor Comm.

    01/24/20        395        -Motion to extend or limit the exclusivity period Filed by Debtor             No Response                      Granted by Dkt. 460
       20                      Highland Capital Management, L.P.

                               -Motion for expedited hearing on Exclusivity Motion
                    396                                                                                      No Response                      Granted by Dkt. 410
                               -Motion to enforce (Motion of the Debtor for the Entry of an Order
                    397        Concerning the "Sealing Motion" and for a Conference Concerning               No Response
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                               the Substance, Scope and Intent of Certain Recent
                               Rulings) (related document(s):




1
    Motions for Pro Hac Vice admission and motions to seal have been excluded. Effort was made to include all other substantive motions and applications.
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DATE         NO.                                                                           RESPONSE         MOTION/APPLICATION




01/31/20    419     - Agreed Motion to Extend by One Hundred Twenty Days the               No Response        Granted by Dkt. 429
   20               Deadline to Assume or Reject Unexpired Nonresidential Real
                    Property Lease) Filed by Debtor Highland Capital Management,
                    L.P.

            421     - Debtor's Motion for an Order (i) Establishing Bar Dates for Filing   No Response        Granted by Dkt. 488
                    Claims, Including 503(b)(9) Claims; and (ii) Approving the Form
                    and Manner of Notice Thereof) Filed by Debtor Highland Capital
                    Management, L.P.
                                                                                           No Response
                    -Motion for expedited hearing
            422                                                                                               Granted by Dkt. 427

02/14/20    451     Motion for relief from stay Filed by Jennifer G. Terry, Joshua         No Response        Granted by Dkt. 519
   20               Terry

02/24/20    474     - Motion of the Debtor for Entry of an Order Authorizing, but Not      No Response        Granted by Dkt. 477
   20               Directing, the Debtor to Cause Distributions to Certain "Related
                    Entities") Filed by Debtor Highland Capital Management, L.P.
            475     -Motion for expedited hearing
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02/27/20    483     Application to employ Deloitte Tax LLP as Other                        No Response        Granted by Dkt. 551
   20               Professional Filed by Debtor Highland Capital Management, L.P.

03/23/20    545     -Motion to extend time to file objection (Agreed Motion) (RE:          No Response        Granted by Dkt. 548
   20               related document(s)483 Application to employ) Filed by Creditor
                    Committee Official Committee of Unsecured Creditors

03/31/20    557     Motion to extend time to (Debtor's Emergency Motion for an Order       No Response        Granted by Dkt. 560
   20               Extending Bar Date Deadline for Employees to File Claims) (RE:
                    related document(s)488 Order on motion for leave) Filed by
                    Debtor Highland Capital Management, L.P.

04/07/20    569     -Application for compensation Sidley Austin LLP's First Interim        No Response        Granted by Dkt. 661
   20               Application for Compensation and Reimbursement of
                                                                                                                                             Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




                    Expenses for Official Committee of Unsecured Creditors, Creditor                     (Amended) Granted by Dkt. 666
                    Comm. Aty, Period: 10/29/2019 to 2/29/2020                                                Granted by Dkt. 662

            570     -Application for compensation First Interim Application for            No Response   (Amended) Granted by Dkt. 665
                    Compensation and Reimbursement of Expenses for FTI
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                    Consulting, Inc., Financial Advisor, Period: 10/29/2019 to
                    2/29/2020

04/13/20    582     Motion for relief from stay - agreed Filed by Interested Party           No Response            Granted by Dkt. 623
   20               Hunton Andrews Kurth LLP

04/15/20    590     Motion to reclaim funds from the registry [Motion for Remittance of      No Response             Denied by Dkt. 825
   20               Funds Held in Registry of Court] Filed by Creditor CLO Holdco,
                    Ltd.

04/17/20    593     Motion for relief from stay Filed by Acis Capital Management GP,      617 Response              Granted by Dkt. 764
   20               LLC, Acis Capital Management, L.P. Objections due by 5/1/2020.        unopposed to motion
                                                                                          filed by Interested
                                                                                          Party James Dondero.

                                                                                          (05/01/2020)

04/28/20    602     - First Interim Application for Compensation of Foley & Lardner          No Response             Granted by Dkt. 670
   20               LLP as Special Texas Counsel to the Debtor for the Period from
                    October 16, 2019 through March 31, 2020 for Foley Gardere,
                    Foley & Lardner LLP, Special Counsel,                                                           Granted by Dkt. 763

            604     -Application to employ Hunton Andrews Kurth LLP as Special               No Response
                                                                                                                                                                                           of 2723




                    Counsel
                                                                                                                    Granted by Dkt. 669
                    -Application to employ Wilmer Cutler Pickering Hale and Dorr LLP
            605     as Special Counsel (                                                     No Response

                    -Motion to extend or limit the exclusivity period (RE: related                                  Granted by Dkt. 668
                    document(s)460 Order on motion to extend/shorten time) Filed by
            606                                                                              No Response
                    Debtor Highland Capital Management, L.P. Objections due by
                    5/22/2020.

                    - First Interim Application for Compensation and Reimbursement           No Response            Granted by Dkt. 663
                    of Expenses of Pachulski Stang Ziehl & Jones LLP, as Counsel for
            607     the Debtor and Debtor in Possession, for the Period From October
                    16, 2019 Through March 31, 2020
                                                                                                                    Granted by Dkt. 664
                    - First Interim Application for Compensation and Reimbursement
            608                                                                              No Response
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                    of Expenses of Mercer (US) Inc., as Compensation Consultant to
                    the Debtor for the Period From November 15, 2019 Through
                    February 29, 2020 for Mercer (US) Inc., Consultant,
                                                                                                                    Granted by Dkt. 667
                    -Application for compensation (Hayward & Associates PLLC's First
            609     Interim Application for Compensation and Reimbursement of                No Response
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                    Expenses for the Period from December 10, 2019 through March
                    31, 2020) for Hayward & Associates PLLC, Debtor's Attorney,
                    Period: 12/10/2019 to 3/31/2020

04/29/20    615     Motion to extend time to Assume or Reject Unexpired                   No Response      Granted by Dkt. 616
   20               Nonresidential Real Property Lease (RE: related
                    document(s)429 Order on motion to extend/shorten time) Filed by
                    Debtor Highland Capital Management, L.P.

05/20/20    644     Motion for relief from stay (UBS's Motion for Relief From the         No Response       Denied by Dkt. 765
   20               Automatic Stay to Proceed With State Court Action) Fee amount
                    $181, Filed by Interested Parties UBS AG London Branch, UBS
                    Securities LLC Objections due by 6/3/2020.

06/11/20    733     -Motion for leave to File an Omnibus Reply to Objections to UBS's     No Response      Granted by Dkt. 910
   20               Motion for Relief from the Automatic Stay to Proceed With State
                    Court Filed by Interested Parties UBS AG London Branch, UBS
                    Securities LLC Objections due by 7/2/2020.

06/12/20    737     Motion to extend or limit the exclusivity period Filed by Debtor      No Response      Granted by Dkt. 820
   20               Highland Capital Management, L.P.

06/15/20    747     Motion to extend time to (Debtor's Motion for Entry of an Order       No Response      Granted by Dkt. 816
                                                                                                                                                                                  of 2723




   20               Further Extending the Period Within Which It May Remove Actions
                    Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal Rules of
                    Bankruptcy Procedure) (RE: related document(s)459 Order on
                    motion to extend/shorten time) Filed by Debtor Highland Capital
                    Management, L.P.

06/23/20    774     -Application to employ James P. Seery, Jr. as Other                   No Response      Granted by Dkt. 854
   20               Professional Debtors Motion Under Bankruptcy Code Sections
                    105(a) and 363(b) for Authorization to Retain James P. Seery, Jr.,
                    as Chief Executive Officer, Chief Restructuring Officer and Foreign
                    Representative Nunc Pro Tunc to March 15, 2020 Filed by Debtor
                    Highland Capital Management, L.P.
            775     -Application to employ Development Specialists, Inc. as Other         No Response      Granted by Dkt. 853
                    Professional Amended Motion of the Debtor Pursuant to 11 U.S.C.
                                                                                                                                           Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




                    §§ 105(a) and 363(b) to Employ and Retain Development
                    Specialists, Inc. to Provide Financial Advisory and Restructuring-
                    Related Services, Nunc Pro Tunc to March 15, 2020 Filed by
                    Debtor Highland Capital Management, L.P.
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07/08/20    808     Motion to compel Production by the Debtor. Filed by Creditor            -832 Response                           Dkt. 942
   20               Committee Official Committee of Unsecured Creditors Objections          opposed to (related
                    due by 7/29/2020.                                                       document(s): 808 Moti    The Discovery Motions are GRANTED
                                                                                            on to compel            to the extent specifically set forth herein
                                                                                            Production by the        and are otherwise DENIED. Except to
                                                                                            Debtor. filed by         the extent specifically set forth herein,
                                                                                            Creditor Committee          the Objections are OVERRULED
                                                                                            Official Committee of
                                                                                            Unsecured Creditors)
                                                                                            filed by Interested
                                                                                            Party James Dondero.
                                                                                            (07/14/2020)

07/09/20    810     -Motion for protective order (Debtor's Motion for Entry of (i) a           No Response                          Dkt. 942
   20               Protective Order, or, in the Alternative, (ii) an Order Directing the
                    Debtor to Comply with Certain Discovery Demands Tendered by                                      The Discovery Motions are GRANTED
                    the Official Committee of Unsecured Creditors Pursuant to Federal                               to the extent specifically set forth herein
                    Rules of Bankruptcy Procedure 7026 and 7034) Filed by Debtor                                     and are otherwise DENIED. Except to
                    Highland Capital Management, L.P.                                                                the extent specifically set forth herein,
                                                                                                                        the Objections are OVERRULED
            814     -Motion for expedited hearing (related documents 808 Motion to
                    compel) Filed by Creditor Committee Official Committee of
                                                                                                                                                                                                          of 2723




                    Unsecured Creditors

07/13/20            Proof of Claim 23 filed by Acis Capital Management, LP and Acis         827-Objection to Acis                      N/A
   20               Capital Management GP, LLC                                                 Claim Filed by
                                                                                              Interested Party
                                                                                              James Dondero.

07/14/20    831     -Application for compensation Sidley Austin LLP's Second Interim           No Response                   Granted by Dkt. 1048
   20               Application for Compensation and Reimbursement of
                    Expenses for Official Committee of Unsecured Creditors, Creditor
                    Comm. Aty, Period: 3/1/2020 to 5/31/2020

07/21/20    883     Application for compensation Second Interim Application for                No Response                   Granted by Dkt. 1051
   20               Compensation and Reimbursement of Expenses for FTI
                    Consulting, Inc., Financial Advisor, Period: 3/1/2020 to 5/31/2020
                                                                                                                                                                   Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




07/22/20    886     -Motion to extend time to assume or reject unexpired                       No Response                    Granted by Dkt. 909
   20               nonresidential real property lease Filed by Debtor Highland Capital
                    Management, L.P.
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08/03/20    914     -Motion for leave [CLO Holdco, Ltd.'s Motion for Clarification of   No Response      Resolved by Dkt. 935
   20               Ruling] Filed by Creditor CLO Holdco, Ltd.



08/06/20    924     - Second Interim Application for Compensation and for               No Response      Granted by Dkt. 1045
   20               Reimbursement of Expenses of Foley & Lardner LLP as Special
                    Texas Counsel to the Debtor for the Period from April, 2020
                    through July 31, 2020

08/12/20    944     Chapter 11 plan filed by Debtor Highland Capital Management,        No Response
   20               L.P.

                    -Disclosure statement filed by Debtor Highland Capital
            945     Management, L.P.

08/13/20    947     - Joint Motion to continue hearing on (related                      No Response      Granted by Dkt. 951
   20               documents 771 Objection to claim) (Joint Motion to Continue
                    Status Conference) Filed by Debtor Highland Capital
                    Management, L.P. (Annable, Zachery)

            949     - Motion to extend or limit the exclusivity period (RE: related     No Response      Granted by Dkt. 1092
                    document(s)820 Order on motion to extend/shorten time) Filed by
                    Debtor Highland Capital Management, L.P. (Attachments:
                                                                                                                                                                                of 2723




                    # 1 Exhibit A--Proposed Order) (Annable, Zachery)

08/18/20    964      Hayward & Associates PLLC's Second Interim Application for         No Response      Granted by Dkt. 1047
   20               Compensation and Reimbursement of Expenses for the Period
                    from April 1, 2020 through June 30, 2020

08/19/20    971     - Second Interim Application for Compensation and for               No Response      Granted by Dkt. 1043
   20               Reimbursement of Expenses of Pachulski Stang Ziehl & Jones
                    LLP as Counsel for the Debtor and Debtor in Possession for the
                    Period from April 1, 2020 through July 31, 2020

                    - Second Interim Application for Compensation and for               No Response      Granted by Dkt. 1046
            972
                    Reimbursement of Expenses of Mercer (US) Inc. as
                    Compensation Consultant for the Debtor for the Period from
                                                                                                                                         Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




                    March 1, 2020 through May 31, 2020 for Mercer (US) Inc.,
                    Consultant
            975                                                                         No Response
                    - Consolidated Monthly and First Interim Application of Wilmer
                    Cutler Pickering Hale and Dorr LLP for Allowance of                                  Granted by Dkt. 1044
                    Compensation for Services Rendered and Reimbursement of
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                    Expenses as Regulatory and Compliance Counsel for the Period
                    November 1, 2019 through June 30, 2020

09/04/20    1025     Motion to compromise controversy with Carey International,             No Response            Granted by Dkt. 1123
   20               Inc. Filed by Debtor Highland Capital Management, L.P.



09/16/20    1214    Motion for partial summary judgment on proof of claim(s) 190 and        No Response            Granted by Dkt. 1526
   20               191 of UBS Securities LLC and UBS AG, London Branch filed by
                    Debtor Highland Capital Management, L.P.

09/23/20    1087    -Motion to compromise controversy with (A) Acis Capital              -1121 Response            Granted by Dkt. 1302
   20               Management, L.P. and Acis Capital Management GP LLC (Claim           opposed to Acis 9019
                    No. 23), (B) Joshua N. Terry and Jennifer G. Terry (Claim No.        Motion filed by
                    156), and (C) Acis Capital Management, L.P. (Claim No.               Interested Party
                    159). Filed by Debtor Highland Capital Management, L.P.              James Dondero.
                                                                                         (10/05/2020)
                     -Motion to compromise controversy with (a) the Redeemer
            1089    Committee of the Highland Crusader Fund (Claim No. 72), and (b)      No Response               Granted by Dkt. 1273
                    the Highland Crusader Funds (Claim No. 81). Filed by Debtor
                    Highland Capital Management, L.P. Objections due by
                    10/19/2020.
                                                                                                                                                                                          of 2723




09/24/20    1099    Motion for relief from stay - Daugherty's Motion to Confirm Status      No Response            Granted by Dkt. 1327
   20               of Automatic Stay, or alternatively to Modify Automatic Stay Fee
                    amount $181, Filed by Creditor Patrick Daugherty Objections due
                    by 10/8/2020.

09/28/20    1108    Motion to Approve Disclosure Statement Filed by Debtor Highland         No Response            Granted by Dkt. 1476
   20               Capital Management, L.P.



10/02/20    1118    - Motion to extend time to Assume or Reject Unexpired                   No Response            Granted by Dkt. 1122
   20               Nonresidential Real Property Lease Filed by Debtor Highland
                    Capital Management, L.P.
                                                                                            No Response            Granted by Dkt. 1168
                                                                                                                                                   Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




                    -Motion to extend time to Deadline To File An Adversary
            1119    Proceeding Against CLO Holdco, Ltd. (EMERGENCY) Filed by
                    Creditor Committee Official Committee of Unsecured Creditors


            1120                                                                            No Response
                                                                                                                                                                                       Page 2710




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                    -Motion for expedited hearing (related documents 1119 Motion to
                    extend/shorten time) Filed by Creditor Committee Official
                    Committee of Unsecured Creditors

10/09/20    1154    -Motion for leave to Amend Certain Proofs of Claim Filed by            No Response                    N/A
   20               Creditor The Dugaboy Investment Trust Objections due by
                    10/30/2020.

10/16/20    1179    Omnibus Objection to claim(s) of Creditor(s) Crescent Research;     1502 Stipulation by            Dkt. 1537
   20               Hedgeye Risk Management, LLC; James D. Dondero; NexVest,            James Dondero and
                    LLC; James D. Dondero.. Filed by Debtor Highland Capital            Highland Capital
                    Management, L.P. Responses due by 11/18/2020.                       Management, L.P..
                                                                                        filed by Interested
                                                                                        Party James Dondero
                                                                                        (RE: related
                                                                                        document(s)1179 Obj
                                                                                        ection to
                                                                                        claim). (12/03/2020)

10/18/20    1207    Motion to allow claims of HarbourVest Pursuant to Rule 3018(A) of      No Response
   20               the Federal Rules of Bankruptcy Procedure for Temporary
                    Allowance of Claims for Purposes of Voting to Accept or Reject
                                                                                                                                                                                         of 2723




                    the Plan Filed by Creditor HarbourVest et al Objections due by
                    11/9/2020.

10/16/20    1215    -Redeemer Committee of the Highland Crusander Fund and the             No Response           Resolved by Dkt. 1526
   20               Crusader Funds' Motion for partial summary judgment on proof of
                    claim(s) 190 and 191 of UBS AG, London Branch and UBS
                    Securities LLC filed by Interested Party Redeemer Committee of
                    the Highland Crusader Fun and the Crusader's Funds'

10/20/20    1244    - Third Interim Application for Compensation and Reimbursement         No Response            Granted by Dkt. 1685
   20               of Expenses for FTI Consulting, Inc., Financial Advisor, Period:
                    6/1/2020 to 8/31/2020.

10/21/20    1263    Emergency Motion to continue hearing on (related                       No Response            Granted by Dkt. 1266
   20               documents 1080 Disclosure statement) Filed by Debtor Highland
                    Capital Management, L.P.
                                                                                                                                                  Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




10/23/20    1281    -Motion for leave - Daugherty's Motion for Temporary Allowance of      No Response            Granted by Dkt. 1474
   20               Claim for Voting Purposes Pursuant to Bankruptcy Rule
                    3018 Filed by Creditor Patrick Daugherty
                                                                                                                                                                                      Page 2711




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10/25/20    1289    Amended disclosure statement filed by Debtor Highland Capital           No Response                         N/A
   20               Management, L.P. (RE: related document(s)945 Disclosure
                    statement, 1080 Disclosure statement).

10/27/20    1296    Application for compensation Sidley Austin LLP's Third Interim          No Response                 Granted by Dkt. 1684
   20               Application for Compensation and Reimbursement of
                    Expenses for Official Committee of Unsecured Creditors, Creditor
                    Comm. Aty, Period: 6/1/2020 to 8/31/2020,

11/06/20    1338    Motion for Temporary Allowance of Claims for voting Purposes            No Response                 Granted by Dkt. 1518
   20               Pursuant to Federal Rule of Bankruptcy Procedure 3018) Filed by
                    Interested Parties UBS AG London Branch, UBS Securities LLC

11/09/20    1348    Motion to continue hearing on (related documents 1207 Motion to         No Response                 Granted by Dkt. 1352
   20               allow claims) Filed by Creditor HarbourVest et al

11/13/20    1384    Amended disclosure statement filed by Debtor Highland Capital           No Response                         N/A
   20               Management, L.P. (RE: related document(s)945 Disclosure
                    statement, 1080 Disclosure statement, 1289 Disclosure
                    statement).

11/18/20    1424    - Motion for leave (Motion of the Debtor Pursuant to 11 U.S.C.      1447 WITHDRAWN               Granted by Dkt. 1436 & 1475
   20               105(a) and 363(b) for Authority to Enter into Sub-Servicer          per # 1460 Response
                                                                                                                                                                                               of 2723




                    Agreements) Filed by Debtor Highland Capital Management, L.P.       opposed to (related
                                                                                        document(s): 1424 Mo
                    - Motion for expedited hearing (related documents 1424 Motion for   tion for leave (Motion
            1425    leave) (Debtor's Motion for an Expedited Hearing on the Motion of   of the Debtor                   Granted by Dkt. 1436
                    the Debtor Pursuant to 11 U.S.C. 105(a) and 363(b) for Authority    Pursuant to 11 U.S.C.
                    to Enter into Sub-Servicer Agreement) Filed by Debtor Highland      105(a) and 363(b) for
                    Capital Management, L.P.                                            Authority to Enter into
                                                                                        Sub-Servicer
                                                                                        Agreements) filed by
                                                                                        Debtor Highland
                                                                                        Capital Management,
                                                                                        L.P.) filed by
                                                                                        Interested Party
                                                                                        James Dondero.
                                                                                        (11/20/2020)
                                                                                                                                                        Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




11/19/20    1439    - WITHDRAWN per docket # 1622 Motion for leave (James                        N/A              Withdrawn by Dondero by Dkt. 1622
   20               Dondero's Motion for Entry of an Order Requiring Notice and
                    Hearing for Future Estate Transactions Occurring Outside the
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                    Ordinary Course of Business) Filed by Interested Party James
                    Dondero

                    - Motion for expedited hearing(related documents 1439 Motion for
            1443    leave) (Request for Emergency Hearing on James Dondero's                             Denied by Bankruptcy Court on the
                    Motion for Entry of an Order Requiring Notice and Hearing for                        Record during hearing on November
                    Future Estate Transactions Occurring Outside the Ordinary                            23, 2020
                    Course of Business) Filed by Interested Party James Dondero

11/25/20    1483     Third and Final Application for Compensation and                      No Response          Granted by Dkt. 1691
   20               Reimbursement of Expenses of Foley & Lardner LLP as Special
                    Texas Counsel to the Debtor for the Period from October 16, 2019
                    through October 31, 2020

11/30/20    1491    Motion for relief from stay Filed by Creditor Patrick Daugherty        No Response           Denied by Dkt. 1612
   20

12/08/20    1528    Motion for order imposing temporary restrictions on Debtor's           No Response           Denied by Dkt. 1605
   20               ability, as portfolio manager, to initiate sales by non-debtor CLO
                    Vehicles. Highland Capital Management Fund Advisors, L.P.,
                    Highland Fixed Income Fund, NexPoint Advisors, L.P., NexPoint
                    Capital, Inc., NexPoint Strategic Opportunities Fund.
                                                                                                                                                                                        of 2723




12/09/20    1530    Motion to extend time to Time to File An Adversary Proceeding          No Response          Granted by Dkt. 1534
   20               Against CLO Holdco, Ltd. (Agreed) (RE: related
                    document(s)1168 Order (generic)) Filed by Creditor Committee
                    Official Committee of Unsecured Creditors Objections due by
                    12/30/2020.

12/11/20    1544    -Application for compensation (First Interim Application) for Hunton   No Response          Granted by Dkt. 1686
   20               Andrews Kurth LLP, Special Counsel

                    - (Hayward & Associates PLLC's Third Interim Application for
            1545                                                                           No Response          Granted by Dkt. 1728
                    Compensation and Reimbursement of Expenses for the Period
                    from July 1, 2020 through September 30, 2020) for Hayward &
                    Associates PLLC, Debtor's Attorney

                    - Third Interim Application for Compensation and for
            1547                                                                           No Response          Granted by Dkt. 1687
                    Reimbursement of Expenses of Pachulski Stang Ziehl & Jones
                                                                                                                                                 Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




                    LLP as Counsel for the Debtor and Debtor in Possession for the
                    Period from August 1, 2020 through November 30, 2020
                                                                                           No Response          Granted by Dkt. 1715
                    - Consolidated Monthly and Second Interim Application of Wilmer
                    Cutler Pickering Hale and Dorr LLP for Allowance of
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                    Compensation for Services Rendered and Reimbursement of
                    Expenses as Regulatory and Compliance Counsel for the Period
           1552     from July 1, 2020 through November 30, 2020)

12/14/20    1564    -Motion to quash (Debtor's Emergency Motion to Quash                 1571 Objection to        Resolved by Dkt. 1603
   20               Subpoena and for Entry of a Protective Order or, in the             Motion to Quash filed
                    Alternative, for an Adjournment) Filed by Debtor Highland Capital   by Interested Party
                    Management, L.P.                                                    James Dondero, .
                                                                                        (12/14/2020)
            1565    - Motion for protective order (Debtor's Emergency Motion to                                   Resolved by Dkt. 1603
                    Quash Subpoena and for Entry of a Protective Order or, in the
                    Alternative, for an Adjournment) Filed by Debtor Highland Capital
                    Management, L.P.

12/16/20    1583    -Motion to extend time to Remove Actions Pursuant to 28 U.S.C.          No Response            Granted by Dkt. 1725
   20               1452 and Rule 9027 of the Federal Rules of Bankruptcy
                    Procedure (RE: related document(s)816 Order on motion to
                    extend/shorten time) Filed by Debtor Highland Capital
                    Management, L.P

12/17/20    1590    Motion to pay (Debtor's Motion Pursuant to the Protocols for            No Response            Granted by Dkt. 1746
   20               Authority for Highland Multi Strategy Credit Fund, L.P. to Prepay
                    Loan) Filed by Debtor Highland Capital Management, L.P.
                                                                                                                                                                                          of 2723




12/23/20    1623    -- Motion to extend time to assume unexpired nonresidential real    No Response                Granted by Dkt. 1636
   20               property lease Filed by Debtor Highland Capital Management, L.P.
                                                                                        -1697 Objection to
                    -Motion to compromise controversy with HarbourVest 2017 Global      HarbourVest 9019
            1625    Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover                                 Granted by Dkt. 1788
                                                                                        Motion filed by
                    Street IX Investment L.P., HV International VIII Secondary L.P.,    Interested Party
                    HarbourVest Skew Base AIF L.P., and HarbourVest Partners            James Dondero
                    L.P. Filed by Debtor Highland Capital Management, L.P.              (01/06/2021)




12/31/20    1649    Joint Motion to continue hearing on (related                            No Response            Granted by Dkt. 1652
   20               documents 1207 Motion to allow claims) Filed by Creditor
                                                                                                                                                   Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




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FILING     DOCKET                                                                            DONDERO’S                 DISPOSITION OF
                                              DOCUMENT
DATE         NO.                                                                             RESPONSE                MOTION/APPLICATION


01/04/20    1655    Application for compensation Fourth Interim Application for              No Response                      N/A
   21               Compensation and Reimbursement of Expenses for FTI
                    Consulting, Inc., Financial Advisor, Period: 9/1/2020 to
                    11/30/2020, Fee: $710,280.45, Expenses: $1,479.47. Filed by
                    Attorney Juliana Hoffman Objections due by 1/25/2021.

01/11/20    1719    Notice (Second Notice of (I) Executory Contracts and Unexpired       1784 WITHDRAWN                       N/A
   21               Leases to Be Assumed by the Debtor Pursuant to the Fifth             PER # 1876.
                    Amended Plan, (II) Cure Amounts, If Any, and (III) Related           Objection to (related
                    Procedures in Connection Therewith) filed by Debtor Highland         document(s): 1719 No
                    Capital Management, L.P. (RE: related                                tice (generic) filed by
                    document(s)1606 Support/supplemental document (Debtor's              Debtor Highland
                    Notice of Filing of Plan Supplement to the Fifth Amended Plan of     Capital Management,
                    Reorganization of Highland Capital Management, L.P.) filed by        L.P.) filed by
                    Debtor Highland Capital Management, L.P. (RE: related                Interested Party
                    document(s)1472 Chapter 11 plan).                                    James Dondero.
                                                                                         (01/20/2021)

01/14/20    1745    Motion to appoint trusteeMotion to Appoint Examiner Pursuant to      1756 Joinder by filed        Denied by Dkt. 1960
   21               11 U.S.C. § 1104(c) Filed by Get Good Trust, The Dugaboy             by Interested Party
                    Investment Trust                                                     James Dondero
                                                                                         (01/15/2021)
                                                                                                                                                                                             of 2723




01/19/20    1777     Motion of the Debtor for Entry of an Order Authorizing the Debtor       No Response              Granted by Dkt. 1849
   21               to Implement a Key Employee Retention Plan with Non-Insider
                    Employees and Granting Related Relief) Filed by Debtor Highland
                    Capital Management, L.P.

01/27/20    1853    Sidley Austin LLP's Fourth Interim Application for Compensation          No Response                      N/A
   21               and Reimbursement of Expenses for Official Committee of
                    Unsecured Creditors, Creditor Comm. Aty, Period: 9/1/2020 to
                    11/30/2020.

02/01/20    1878    Motion to compel an Order Requiring James D. Dondero to              1969 Objection to                    N/A
   21               Preserve Documents and to Identify Measures Taken to Ensure          UCC’s Preservation
                    Document Preservation. Filed by Creditor Committee Official          Motion filed by
                    Committee of Unsecured Creditors                                     Interested Party
                                                                                         James Dondero.
                                                                                                                                                      Case 19-34054-sgj11 Doc 3445-3 Filed 08/15/22 Entered 08/15/22 16:45:41




                                                                                         (03/03/2021)

02/08/20    1914     Motion for leave (Motion for Status Conference) Filed by                     N/A                 Denied by Dkt. 1929
   21               Interested Party James Dondero
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FILING     DOCKET                                                                       DONDERO’S         DISPOSITION OF
                                              DOCUMENT
DATE         NO.                                                                        RESPONSE        MOTION/APPLICATION


02/28/20    1955    Motion to stay pending appeal (related documents 1943 Order         No Response            N/A
   21               confirming chapter 11 plan) Filed by Interested Parties Highland
                    Capital Management Fund Advisors, L.P., NexPoint Advisors, L.P.

03/01/20    1958    Motion for expedited hearing (related documents 1955 Motion to      No Response            N/A
   21               stay pending appeal) Filed by Interested Parties Highland Capital
                    Management Fund Advisors, L.P., NexPoint Advisors, L.P.

03/03/20    1967    Motion to stay pending appeal (related documents 1943 Order         No Response            N/A
   21               confirming chapter 11 plan) Filed by Interested Parties Highland
                    Global Allocation Fund, Highland Income Fund, NexPoint Capital,
                    Inc., NexPoint Strategic Opportunities Fund (Hogewood, A.)

03/04/20    11973   -Joinder by filed by Interested Party James Dondero (RE: related        N/A                N/A
   21               document(s)1955 Motion to stay pending appeal (related
                    documents 1943 Order confirming chapter 11 plan))
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                                                                                           HighlandCapitalManagement,L.P.v.Dondero20Ͳ03190Ͳsgj
FILINGDATE DOCKETNO.                                                            DOCUMENT                                                                 DONDERO’SRESPONSE                                               DISPOSITIONOFMOTION/APPLICATION
                2      ͲMotionforpreliminaryinjunction(PlaintiffHighlandCapitalManagement,L.P.'sEmergencyMotionforaTemporary              52Responseopposedto(relateddocument(s):2Motionfor GrantedbyDkt.59
                       RestrainingOrderandPreliminaryInjunctionagainstMr.JamesDondero)filedbyPlaintiffHighlandCapitalManagement,            preliminaryinjunction(PlaintiffHighlandCapitalManagement,
                       L.P.                                                                                                                                L.P.'sEmergencyMotionforaTemporaryRestrainingOrderand
                                                                                                                                                           PreliminaryInjunctionagainstMr.JamesDondero)filedby
                   5       ͲMotionforexpeditedhearing(relateddocuments2Motionforpreliminaryinjunction)(PlaintiffHighlandCapital             PlaintiffHighlandCapitalManagement,L.P.)filedbyDefendant
                           Management,L.P.'sMotionforExpeditedHearingonItsEmergencyMotionforaTemporaryRestrainingOrderand                  JamesD.Dondero.(01/07/2021)                                                 GrantedbyDkt.9
12/07/2020
                           PreliminaryInjunctionagainstMr.JamesDondero)filedbyPlaintiffHighlandCapitalManagement,L.P.(Annable,Zachery).
                           Relateddocument(s)6MotionforprotectiveorderfiledbyPlaintiffHighlandCapitalManagement,L.P

                           ͲMotionfortemporaryrestrainingorderfiledbyPlaintiffHighlandCapitalManagement,L.P.                                  NoResponse
                   6                                                                                                                                                                                                                      GrantedbyDkt.10

                  24       WITHDRAWNper#29Motionforleave(JamesDondero'sEmergencyMotiontoModifyTemporaryRestrainingOrder)                  29WithdrawalfiledbyDefendantJamesD.Dondero(RE:
                           (relateddocument(s)10Orderonmotionforprotectiveorder)filedbyDefendantJamesD.Dondero                               relateddocument(s)24Motionforleave(JamesDondero's
12/16/2020                                                                                                                                                 EmergencyMotiontoModifyTemporaryRestrainingOrder)
                                                                                                                                                           (relateddocument(s)10Orderonmotionforprotectiveorder)).

                  32       Motionforprotectiveorder(JamesDondero'sEmergencyMotionforEntryofaProtectiveOrder) filedbyDefendantJamesD. 34Objectionto(relateddocument(s):32Motionforprotective DeniedbyDkt.38
                           Dondero                                                                                                                     order(JamesDondero'sEmergencyMotionforEntryofa
12/28/2020                                                                                                                                             ProtectiveOrder)filedbyDefendantJamesD.Dondero)filedby
                  33       ͲMotionforexpeditedhearing(relateddocuments32Motionforprotectiveorder)(RequestforEmergencyHearing)filedby PlaintiffHighlandCapitalManagement,L.P.(12/28/2020)
                           DefendantJamesD.Dondero

                  48       MotionforcontemptagainstJamesDonderoregardingViolationoftheTemporaryRestrainingOrder(Plaintiff'sMotionfor 110Objectionto(relateddocument(s):48Motionfor                                    N/A
                           anOrderRequiringMr.JamesDonderotoShowCauseWhyHeShouldNotBeHeldinCivilContemptforViolatingtheTRO) contemptagainstJamesDonderoregardingViolationofthe
                           filedbyPlaintiffHighlandCapitalManagement,L.P.                                                                        TemporaryRestrainingOrder(Plaintiff'sMotionforanOrder
                                                                                                                                                       RequiringMr.JamesDonderotoShowCauseWhyHeShould
                                                                                                                                                                                                                                                                                                               of 2723




                  49       ͲBriefinsupportfiledbyPlaintiffHighlandCapitalManagement,L.P.(RE:relateddocument(s)48Motionforcontempt    NotBeHeldinCivilContemptforViolatingtheTRO)filedby                            N/A
                           againstJamesDonderoregardingViolationoftheTemporaryRestrainingOrder(Plaintiff'sMotionforanOrderRequiringMr.PlaintiffHighlandCapitalManagement,L.P.)(JamesDondero's
01/07/2021
                           JamesDonderotoShowCauseWhyHeShouldNotBeHeldinCivilContemptforViolatingtheTRO))                             ObjectionandResponsetoPlaintiff'sMotionforanOrder
                                                                                                                                                       RequiringMr.JamesDonderotoShowCauseandBriefin
                           ͲMotionforexpeditedhearing(relateddocuments48MotionforContempt)filedbyPlaintiffHighlandCapitalManagement, Support)filedbyDefendantJamesD.Dondero.(02/21/2021)
                  51       L.P.                                                                                                                                                                                                               N/A


                  64       Motionforleavetoappeal(relateddocument(s):59Orderonmotionforpreliminaryinjunction,60Noticeofappealfiledby NoResponse                                                          DeniedbyDkt.111
01/13/2021                 DefendantJamesD.Dondero)filedbyDefendantJamesD.

                  75       EmergencyMotiontocontinuehearingon(relateddocuments48MotionforContempt,49Brief)filedbyDefendantJames 77Objectionto(relateddocument(s):75EmergencyMotionto                                   N/A
                           D. Dondero                                                                                                             continuehearingon(relateddocuments48Motionfor
                                                                                                                                                  Contempt,49Brief)filedbyDefendantJamesD.Dondero)filed
01/27/2021                                                                                                                                        byPlaintiffHighlandCapitalManagement,L.P..
                                                                                                                                                  (01/29/2021)


                  95       Motiontocontinuehearingon(relateddocuments48MotionforContempt,49Brief)filedbyDefendantJamesD.Dondero NoResponse                                                                 GrantedbyDkt.97
02/10/2021

                  102      Motiontocontinuehearingon(relateddocuments48MotionforContempt)filedbyPlaintiffHighlandCapitalManagement, NoResponse                                                              GrantedbyDkt.104
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02/17/2021                 L.P

                  107      Motiontostrike(relateddocument(s):48MotionforcontemptagainstJamesDonderoregardingViolationofthe               115Objectionto(relateddocument(s):107Motiontostrike                           N/A
                           TemporaryRestrainingOrder(Plaintiff'sMotionforanOrderRequiringMr.JamesDonderotoShowCauseWhyHeShould           (relateddocument(s):48MotionforcontemptagainstJames
                           NotBeHeldinCivilContemptforViolatingtheTRO)filedbyPlaintiffHighlandCapitalManagement,L.P.,49Brieffiledby   DonderoregardingViolationoftheTemporaryRestraining
                           PlaintiffHighlandCapitalManagement,L.P.)(JamesDondero'sEmergencyMotioninLimineandtoExcludeEvidenceand           Order(Plaintiff'sMotionforanOrderRequiringMr.James
02/20/2021                 Argument)filedbyDefendantJamesD.Dondero.                                                                                  DonderotoShowCauseWhyHeShouldNotBeHeldifiledby
                                                                                                                                                           DefendantJamesD.Dondero)filedbyPlaintiffHighlandCapital
                  108      ͲMotionforexpeditedhearing(relateddocuments107Motiontostrikedocument)filedbyDefendantJamesD.Dondero            Management,L.P.(02/24/2021)
                                                                                                                                                                                                                                              N/A
                                                                                                                                                                                                                                                                                                            Page 2717




                  119      Motiontocontinuehearingon(relateddocuments48MotionforContempt)filedbyPlaintiffHighlandCapital                NoResponse                                                        GrantedbyDkt.120
03/02/2021
                           Management,L.P.

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             126   Motiontocontinuehearingon(relateddocuments48MotionforContempt,49Brief,125Certificateofservice)(Motionfor NoResponse           N/A
03/10/2021         ContinuanceofContemptHearing)filedbyDefendantJamesD.Dondero(Attachments:#1Ex.AͲMandamus#2Ex.BͲ                              
                   Letter#3ProposedOrder)
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   Counsel for Movants

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           )HEUXDU\7UDQVFULSWRI3URFHHGLQJV
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              6HUYLFLQJ$JUHHPHQW±([KLELW1WRWKH)HEUXDU\7UDQVFULSW            $33
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              RI3URFHHGLQJV                                                               $33


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               6HUYLFLQJ$JUHHPHQW±([KLELW-WRWKH)HEUXDU\7UDQVFULSWRI $33
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  VW\OHGIn the Acis Capital Management, L.P. and Acis Capital Management GP, LLC&DVH1R

  6*-LQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH1RUWKHUQ'LVWULFWRI7H[DV'DOODV

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  Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., et al.

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  Highland Capital Management, L.P. v. James D. Dondero$GYHUVDU\3URFHHGLQJ1R

  VJMLQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ


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  Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P., et al.

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